                                             09-50026-mg                 Doc 7123-44   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                             Address2             Address3          Address4          City             State Zip

COLLEEN M FITZPATRICK                             6295 CARPATHIAN CT                                                                            WEST BLOOMFIELD MI     48324‐1303

COLLEEN M FITZPATRICK & KEVIN M FITZPATRICK JT TEN 6295 CARPATHIAN CT                                                                           WEST BLOOMFIELD MI     48324‐1303

COLLEEN M GRADY                                   1001 CLIFTON LN                      APT 2                                                    NASHVILLE        TN    37204‐3237
COLLEEN M HARRIS                                  3117 IDAHO AVE N                                                                              CRYSTAL          MN    55427‐2930
COLLEEN M HAY                                     C/O CREASEY                          132 DELAWARE ST                                          TONAWANDA        NY    14150‐3421
COLLEEN M HEFFERNAN                               2540 EDGEWOOD DR                                                                              PITTSBURGH       PA    15241
COLLEEN M HUSON TR HUSON FAMILY SURVIVING         5812 N CAMELLIA AVE                                                                           TEMPLE CITY      CA    91780‐2101
SPOUSE'S TRUST UA 10/26/93
COLLEEN M ISON TOD KARI AUEL SUBJECT TO STA TOD   12 IRONWOOD COURT                                                                             CROSSVILLE       TN    38571
RULES
COLLEEN M JOHNS                                   5365 MARSH RD                                                                                 CHINA            MI    48054‐3905
COLLEEN M KENNEDY                                 74 TUDOR PL                                                                                   KENILWORTH       IL    60043‐1225
COLLEEN M KINDLER                                 2790 DARLEY AVE                                                                               BOULDER          CO    80305‐6306
COLLEEN M LOOMIS                                  1005 SPRINGFIELD CT                                                                           CLAYTON          NC    27520‐8177
COLLEEN M MCGOWAN                                 316 W RIVER TRAIL DR                                                                          EAGLE            ID    83616‐7116
COLLEEN M MILLER                                  5657 RAWLINGS AVE                                                                             WOODLAND HILLS   CA    91367‐5547

COLLEEN M PAINTER                               121 TREEHAVEN ROAD                                                                              WEST SENECA      NY    14224‐3638
COLLEEN M PHILLIPS                              172 PLEASANT STREET                                                                             COLCHESTER       CT    06415‐1270
COLLEEN M SMALL & JEROME J WILLIAMS & MICHALE D 379 N ANN ST                                                                                    FOWLERVILLE      MI    48836‐7905
WILLIAMS JT TEN
COLLEEN M VAN ALSTINE                           5015 COSHOCTON                                                                                  WATERFORD        MI    48327‐3327
COLLEEN M WALES                                 4622 VALLEY VIEW RD                                                                             PRAIRIE GROVE    IL    60012‐2118
COLLEEN MARIE KENNEDY                           17 GATES RD                                                                                     SHREWSBERRY      MA    01545‐2328
COLLEEN MARIE WUTKE                             31901 BALMORAL                                                                                  GARDEN CITY      MI    48135‐1704
COLLEEN MARY ROOTH                              27 CHARLES ST                          CHELTENHAM VIC                         3192 AUSTRALIA
COLLEEN MC MAHON & ROSEMARY FITZPATRICK JT TEN APT P‐4                                 11643 BURT                                               OMAHA            NE    68154‐1547

COLLEEN MESSANA                             7537 CAMERON CIR                                                                                    FORT MYERS       FL    33912‐5664
COLLEEN MORRIS GILL                         8 FORMAT LANE                                                                                       SMITHTOWN        NY    11787‐5539
COLLEEN MORRISON CUST CAMERON MORRISON UTMA 141 NORTH COBBLE HILL RD                                                                            WARWICK          RI    02886
RI
COLLEEN MURPHY TAULBEE                      138 HEARTWOOD CIRCLE                                                                                LAFAYETTE        LA    70503
COLLEEN O'CALLAGHAN                         2680 OREGON CITY BLVD                                                                               WEST LINN        OR    97068
COLLEEN OHMIT                               2531 MT SALEM RD                                                                                    PFAFFTOWN        NC    27040‐8529
COLLEEN OSGOD‐DYKEMA                        626 N IVY ST                                                                                        ARLINGTON        VA    22201‐2206
COLLEEN P DWENGER                           11895 AMHERST CT                                                                                    PLYMOUTH         MI    48170‐5229
COLLEEN P LOUGHLIN                          107‐10 SHOREFRONT PARKWAY                                                                           ROCKAWAY PARK    NY    11694‐2637
COLLEEN P RODGERS                           59B BETHANY DR                                                                                      PITTSBURGH       PA    15215‐1207
COLLEEN P SIPIORA                           10537 NORTH HIDDEN CREEK CT                                                                         MEQUON           WI    53092‐8543
COLLEEN Q MC NAMEE                          118 TAVERN ROAD                                                                                     MARTINSBURG      WV    25401‐2842
COLLEEN QUINN                               25 TAILOR ST                               MARKHAM ON                             L3P 6M8 CANADA
COLLEEN R DAVIDSON                          10801 PINE GROVE RD                                                                                 VESTABURG        MI    48891‐9481
COLLEEN R EBERSOLE                          1725 NANTUCKETT                                                                                     PLYMOUTH         MI    48170‐1055
COLLEEN R FIORE                             228 3RD AVE                                                                                         MANISTEE         MI    49660‐1206
COLLEEN R MITCHELL                          431 AVENIDA SEVILLA                        UNIT B                                                   LAGUNA WOODS     CA    92637‐8072
COLLEEN R QUINLAN                           70 BERNHARDT DR                                                                                     SNYDER           NY    14226‐4445
COLLEEN REKERS CUST JACK REKERS UTMA CA     6224 ARCTIC LOON WAY                                                                                ROCKLIN          CA    95765‐4778
COLLEEN S BROWN                             2666 RIDGEWAY AVE                                                                                   ROCHESTER        NY    14626‐4209
COLLEEN S DAY                               854 WHISPERWOOD TRAIL                                                                               FENTON           MI    48430‐2276
COLLEEN S PHIPPS & DAVID G PHIPPS JT TEN    3613 MACON AVE                                                                                      SCHERTZ          TX    78154‐2656
COLLEEN S SCHARR                            501 SOUTH EAGLE RD                                                                                  HAVERTOWN        PA    19083‐3318
COLLEEN SANTORA CAIN                        108 DANIKA DR NW                                                                                    HUNTSVILLE       AL    35806‐2274
COLLEEN SIMS                                1415 MEADOWGREEN LANE                                                                               LINDEN           MI    48451‐9402
COLLEEN SLATE                               3973 DAY RD                                                                                         LOCKPORT         NY    14094‐9451
COLLEEN SMITH                               41 LAUREL CREST RD                                                                                  MADISON          CT    06443‐3323
COLLEEN SUE DUPONT & GENE T DUPONT JT TEN   1284 SWIFT CIRCLE                                                                                   SHAKOPEE         MN    55379‐3369
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COLLEEN TEBEAU                                    72‐795 SOMERA BLVD                                                                             PALM DESERT       CA    92260‐6042
COLLEEN V LOVISKA                                 953 LAUREN DR                                                                                  DEXTER            MI    48130‐9401
COLLEEN W CRIDER                                  1150 FAIRFIELD SCHOOL ROAD                                                                     COLUMBIANA        OH    44408‐9464
COLLEEN WOROPAY CUST TYLER NICHOLAS WOROPAY       452 BERESFORD                                                                                  REDWOOD CITY      CA    94061‐4203
UTMA CA
COLLEEN WRIGHT                                    11453 S WASHTENAW                                                                              CHICAGO           IL    60655‐1921
COLLEGE OF NOTRE DAME MD                          4701 NORTH CHARLES ST                                                                          BALTIMORE         MD    21210
COLLEN G FRIDENMAKER                              2602 SHAWN RD SW                                                                               PORT ORCHARD      WA    98367‐9328
COLLENE SMITH TAYLOR                              11401 N SCIOTO AVE                                                                             TUCSON            AZ    85737‐7210
COLLETTA L KOWALCZYK                              9947 GIFFORD ROAD                                                                              AMHERST           OH    44001‐9679
COLLETTE BELIVEAU MONTGOMERY                      133 ISLAND DR                                                                                  PONTE VEDRA       FL    32082‐3639
                                                                                                                                                 BEACH
COLLETTE C SLEMP CUST ANDREW THOMAS SLEMP         577 LOGTOWN RD                                                                                 LUGOFF            SC    29078‐9740
UTMA VA
COLLETTE CARROLL‐DUNKLEY VAUXHALL MOTORS LTD      GRIFFIN HOUSE OSBORNE RD              LUTON BEDS LU1                         GREAT BRITAIN

COLLETTE FORD                                     2636 ETNA ST                                                                                   BERKELEY          CA    94704‐3458
COLLETTE H SEVERIN                                124 DEVOE AVE                                                                                  YONKERS           NY    10705‐2728
COLLIEN HINTON                                    17 MISSION ST                                                                                  MONTCLAIR         NJ    07042‐4517
COLLIN MC NEAL                                    208 ELIZABETH AVE APT A‐2D                                                                     LINDEN            NJ    07036‐3096
COLLIN MILLER                                     742 E PARKWAY                                                                                  FLINT             MI    48505‐2962
COLLIN REDLEY                                     11 CLAREMONT PL                                                                                MOUNT VERNON      NY    10550
COLLINS R ALLRED                                  C/O RONALD SWALLOW                    2440 SOUTH STATE RTE 201                                 TROY              OH    45373
COLLINS WHITFIELD                                 48 FOREST GATE CIR                                                                             OAK BROOK         IL    60523‐2129
COLMAN D O SHAUGHNESSY                            9401 STAPLES MILL DR                                                                           JACKSONVILLE      FL    32244‐6336
COLONEL J MOTLEY                                  3211 MARTHAROSE                                                                                FLINT             MI    48504‐1271
COLONEL R LAKE                                    612 VINEWOOD                                                                                   DURAND            MI    48429‐1729
COLONIAL COURT SERVICE STATION                    43 S RANDOLPH AVE                                                                              ELKINS            WV    26241‐3747
COLQUITT CAIN & VICKI L CAIN JT TEN               815 N GULF AVE                                                                                 CRYSTAL RIVER     FL    34429‐7618
COLSON D COLE                                     3 ANAHID ST                           MONCTON NB                             L5C 2E6 CANADA
COLSTIN G LAWSON                                  72 BRYAN DR                                                                                    CORBIN            KY    40701‐4181
COLSTON RUTLEDGE JR                               258 ANNA STREET                                                                                DAYTON            OH    45417‐2319
COLUM P MAHONY                                    224 BUDDINGTON RD                                                                              HUNTINGTON        CT    06484‐5308
COLUMBIA D SARTORIS                               233 MCCUTCHEON LN                                                                              PITTSBURGH        PA    15235‐1639
COLUMBIA J BOBO                                   585 NOTRE DAME                                                                                 YOUNGSTOWN        OH    44515‐4116
COLUMBIA M KRENZER TR LIVING TRUST 10/16/89 U‐A   1028 COUNTRY CLUB DR                                                                           ST CLAIR SHORES   MI    48082‐2937
COLUMBIA M KRENZER
COLUMBIA METHODIST CHURCH INC                     25453 ROYALTON RD                                                                              COLUMBIA STATION OH     44028‐9404

COLUMBUS BROOKS                                   G 2015 DARON PLACE                                                                             FLINT             MI    48505
COLUMBUS CHANDLER & CATHY CHANDLER JT TEN         3312 12TH ST SE                                                                                WASH              DC    20032‐4503

COLUMBUS DIXON                                    19429 SUSSEX                                                                                   DETROIT           MI    48235‐2052
COLUMBUS LOVE                                     9306 5TH AVENUE                                                                                INGLEWOOD         CA    90305‐3008
COLUMBUS N WOMBLE                                 68 WATSON DRIVE                                                                                FLORENCE          AL    35633‐7114
COLUMBUS O GILLESPIE                              6007 JOHNNETTE DRIVE                                                                           CHARLOTTE         NC    28212‐2322
COLUMBUS ROBINSON                                 3240 BRIDLE PATH                                                                               FLINT             MI    48507‐1202
COLUMBUS S WILLIAMS & JUDITH A WILLIAMS JT TEN    405 CLINTON RIVER DR                                                                           MT CLEMENS        MI    48043‐7800

COLUMBUS S WILLIAMS JR & JUDITH A WILLIAMS JT TEN 405 CLINTON RIVER DR                                                                           MT CLEMENS        MI    48043‐7800

COLUMBUS TAYLOR JR                                41 CLARKSVILLE RD                     BOX 412                                                  WAYNESVILLE       OH    45068‐0412
COLUMBUS WILLIAMS JR                              11248 NASHVILLE DR                                                                             DETROIT           MI    48205‐3235
COLVYN G MITCHELL                                 2 SUNSTONE DR                                                                                  POUGHKEEPSIE      NY    12603‐1068
COMER L LEE                                       688 NORTH PETERMAN ROAD                                                                        GREENWOOD         IN    46142‐7323
COMER MARTIN & OLGA N MARTIN JT TEN               48315 KEYSTONE CT                                                                              SHELBY TWP        MI    48315
COMER W TAYLOR & BARBARA J TAYLOR JT TEN          4305 LETART ST                                                                                 WATERFORD         MI    48329‐1938
COMERICA BANK CUST DEWEY BEAVERS IRA UA           24616 ALMOND                                                                                   E DETROIT         MI    48021‐4231
10/17/95
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COMERICA BANK CUST FBO MARLIN MASON IRA          C/O MERENDA RUTLEDGE                      29940 MARSHALL                                           SOUTHFIELD       MI    48076
COMERICA TR CUST FBO RENEE LIAGKOS IRA           2429 PEARL ST                                                                                      DETROIT          MI    48209
COMERICA TR FBO KATHY PLACIDO IRA                19302 SKYLINE DR                                                                                   ROSEVILLE        MI    48066‐4544
COMMISSION FOR HANDICAPPED CHILDREN              310 WHITTINGTON PKWY                      STE 200                                                  LOUISVILLE       KY    40222‐4915
COMMODORE MILLS JR                               1559 ACADEMY PLACE                                                                                 DAYTON           OH    45406‐4719
COMMUNITY BANK & TRUST CUST JOHN O MITCHELL I‐R‐ PO BOX 22                                                                                          WATKINSVILLE     GA    30677‐0001
A DTD 02‐15‐89
COMMUNITY CARE OF WESTERN NEW YORK INC           C/O SUE NELSON CEO                        1225 WEST STATE STREET                                   OLEAN            NY    14760
COMMUNITY CHOICE CREDIT UNION CUST FBO ELAINE 7229 ANGLE RD                                                                                         NORTHVILLE       MI    48168
SERENBERG KOLO IRA
COMMUNITY CHURCH                                 C/O CREST COMMUNITY CHURCH                5901 PACIFIC AVE                                         WILDWOOD CREST   NJ    08260‐4233

COMMUNITY OF ST PAUL THE APOSTLE CHURCH                405 WEST 59TH ST                                                                             NEW YORK         NY    10019
COMMUNITY PRESBYTERIAN CHURCH                          519 RODGERS ROAD                                                                             NEW CASTLE       DE    19720
COMMUNITY STATE BANK CUST CAROL L BRAY IRA UA          3335 WEIGL RD                                                                                SAGINAW          MI    48609‐9792
04/01/96
COMODIE FREEMAN JR                                     6823 SARAH JANE LN                                                                           RIVERDALE        GA    30296‐2600
CON D NGUYEN                                           5182 KIMBERLY DRIVE                                                                          GRAND BLANC      MI    48439‐5156
CON E VIRGIN JR                                        5812 HUGHES RD                                                                               LANSING          MI    48911‐4716
CON MIMS 3RD                                           540 N GETTY                                                                                  UVALDE           TX    78801‐4317
CONAL OSCAR REEVES                                     11913 S BLOCK RD                                                                             BIRCH RUN        MI    48415‐9467
CONCEPCION GARCIA                                      14206 BAY AVE                                                                                P C BEACH        FL    32413‐2713
CONCEPCION M KIVARI                                    40 CEMETERY LANE                                                                             LAWRENCEBURG     TN    38464‐6914
CONCEPCION R GONZALES                                  516 BLUEBONNET DR                                                                            LA MARQUE        TX    77568‐4412
CONCEPCION RAMIREZ                                     2207 LYRIC AVE                                                                               LOS ANGELES      CA    90027‐4751
CONCEPCION REYES                                       1119 CARINGTON DR                                                                            ST PETERS        MO    63376‐5503
CONCEPCION VIRELLA                                     11151 URBAN RD                                                                               DUNKIRK          NY    14048
CONCETTA A ANZALONE                                    205 FIFTH ST                                                                                 W PITTSTON       PA    18643‐2128
CONCETTA A CALI PHILIP C CALI & PHILIP A CALI JT TEN   5 RIVERSIDE DR                      APT 401                                                  BINGHAMTON       NY    13905‐4686

CONCETTA A GEEHAN                                      313 FISKE ST                                                                                 HOLLISTON        MA    01746‐2048
CONCETTA ANGELA RANIERI                                34 CROMWELL CIR                                                                              STATEN ISLAND    NY    10304‐1102
CONCETTA CALLAHAN TOD                                  TIMOTHY J CALLAHAN                  3119 HICKORY BEND                                        HOUSTON          TX    77084
CONCETTA CASELLA                                       155 MAPLEHURST AVENUE                                                                        SYRACUSE         NY    13208‐2413
CONCETTA CATENACCI & CONRAD CATENACCI JT TEN           P O BOX 88320                                                                                HONOLULU         HI    96830‐8320

CONCETTA CENTRILLO                                     78 STEVENS AVE                                                                               YONKERS          NY    10704‐3112
CONCETTA DIONISIO                                      511 EMERSON AVE                                                                              FARRELL          PA    16121‐1831
CONCETTA F BATTISTELLA                                 39 SUGNET AVE                                                                                CHEEKTOWAGA      NY    14215‐2031
CONCETTA FONTANA                                       35680 GROVEWOOD DRIVE                                                                        EASTLAKE         OH    44094
CONCETTA LEDBETTER                                     23025 NEWBERRY ST                                                                            CLAIR SHORES     MI    48080‐3437
CONCETTA M FRIDAY                                      152 CROWN ST                                                                                 BRISTOL          CT    06010‐6159
CONCETTA M LEARY                                       336 SHARON DR                                                                                PITTSBURGH       PA    15221‐4030
CONCETTA MARIE COFSKY                                  566 8 ST                                                                                     WEST HEMPSTEAD   NY    11552‐1132

CONCETTA MARTINELLI                                    7119 PHOEBE PLACE                                                                            PHILADELPHIA     PA    19153‐3009
CONCETTA OAKES                                         6479 CLOVERLEAF DR                                                                           LOCKPORT         NY    14094‐6120
CONCETTA PESALE                                        2552 43RD STREET                                                                             ASTORIA          NY    11103‐2539
CONCETTA R SOMMA CUST JODI J SOMMA UGMA NJ             402 COVE COURT                                                                               ORTLEY BEACH     NJ    08751‐1105

CONCETTA R SOMMA CUST KERRI M SOMMA UGMA NJ 402 COVE CT                                                                                             ORTLEY BEACH     NJ    08751‐1105

CONCETTA R WENDEL                                      28 GAFFNEY RD                                                                                LOCKPORT         NY    14094‐5536
CONCETTA S THEOBALD                                    46 SUMMER AVE                                                                                READING          MA    01867
CONCEZIO DILORENZO                                     30 DEPOT STREET                                                                              MILFORD          MA    01757‐3613
CONDIE MIRACLE                                         3873 MINTON RD                                                                               ORION            MI    48359‐1555
CONDIE PONTIAC BUICK LTD                               PO BOX 130                          STATION A                KINGSTON ON   K7M 6P9 CANADA
CONEALIOUS TILLMAN                                     C/O JUNE TILLMAN                    261 BONDALE                                              PONTIAC          MI    48341‐2721
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Name                                             Address1                               Address2                  Address3     Address4          City              State Zip

CONECETTA GADECKI TR CONCETTA GADECKI TRUST UA   3201 TRENTON PL SW                                                                              DECATUR           AL    35603‐1291
02/10/97
CONERY WILLIAMS                                  2491 OLT ROAD                                                                                   DAYTON            OH    45418‐1753
CONG LEV SIMCHA                                  28 MAPLE TER                                                                                    MONSEY            NY    10952‐2733
CONGREGATION TIKVOH CHADOSHOH                    180 STILL RD                                                                                    BLOOMFIELD        CT    06002‐2272
CONIA HALTERMAN JR & PATTY J HALTERMAN JT TEN    18712 EVERGREEN LN                                                                              COUNCIL BLUFFS    IA    51503‐8172

CONLEY C BRIDGES                                 7153 E GOUGH ST                                                                                 BALTIMORE         MD    21224‐1808
CONLEY C CULBERT                                 2301 INTERLACKIN NW CI                                                                          CLEVELAND         TN    37312‐2231
CONLEY C LEE                                     3083 E RAMSEY ST                                                                                INVERNESS         FL    34453‐0610
CONLEY CINNAMON                                  12 ENNISMORE DRIVE                                                                              MIDDLESBORO       KY    40965‐9435
CONLEY N COLLINS                                 PO BOX 126                                                                                      ELDORADO          OH    45321‐0126
CONLEY S MASSENGILL                              PO BOX571                                                                                       BIG STONE GAP     VA    24219‐0571
CONLEY SMITH                                     513 E WARREN ST                                                                                 LEBANON           OH    45036
CONMY F OAMEK & CAROLE L OAMEK JT TEN            606 VALLEY VIEW DRIVE                                                                           REDLANDS          CA    92373‐7358
CONNAN E KING                                    981 GUERRERO ST                                                                                 SAN FRANCISCO     CA    94110‐2225
CONNELL J BLANKENBECKLER JR                      1773 LEICESTER RD                                                                               RICHMOND          VA    23225‐2525
CONNELUIS LEE HAYES                              120 MAPLE                                                                                       VASSAR            MI    48768
CONNIE A BALLEW                                  1524 JOHNSON RD                                                                                 CHICKAMAUGA       GA    30707‐3001
CONNIE A BARROW                                  3941 E FAIR BROOK CIRCLE                                                                        MESA              AZ    85205‐5100
CONNIE A CLAYTON EX UW RUTH E FERGUSON           570 STERLING RD                                                                                 HARMON            IL    61042‐9760
CONNIE A DANIELS                                 21522 COUNTY RD                        #265                                                     RIDGEWAY          OH    43345‐9313
CONNIE A EWING                                   403 RIVERBEND BLVD                                                                              LONGWOOD          FL    32779‐2333
CONNIE A GREEN                                   13201 S CORK RD                                                                                 PERRY             MI    48872‐8530
CONNIE A HESS                                    9320 CASTLE COURT                                                                               OTISVILLE         MI    48463‐9408
CONNIE A HESS & MARSHA L ARION JT TEN            9320 CASTLE CT                                                                                  OTISVILLE         MI    48463‐9408
CONNIE A KNOBLOCK                                ATTN CONNIE A BROWN                    601 E LINDEN AVE                                         MIAMISBURG        OH    45342‐2407
CONNIE A VANCE & DONALD E VANCE JT TEN           14032 BARGER RD                                                                                 LEESBURG          OH    45135‐9685
CONNIE ANN GOSSETT                               ATTN CONNIE ANN VROOMAN                4024 VALLEY DR                                           PUEBLO            CO    81008‐1752
CONNIE ANN KINNSON                               4485 A MONTECITO AVE                                                                            SANTA ROSA        CA    95404‐1931
CONNIE ANN SHEFFIELD                             6930 FOUR MILE RD                                                                               MARYVILLE         TN    37803‐0709
CONNIE B HALL                                    C/O CONNIE B PICKELSIMO                2414 N BRIERWOOD APT 18                                  ALBANY            GA    31705‐3473
CONNIE B LEMANSKI                                82 WEBSTER RIDGE                                                                                BERLIN            CT    06037‐2439
CONNIE BACHMAN                                   359 CATOCTIN AVE                                                                                FREDERICK         MD    21701‐6307
CONNIE BARBER                                    2918 W BERWYN AVE                      #2                                                       CHICAGO           IL    60625‐4002
CONNIE BARGER                                    2196 STATE RT 222                                                                               BETHEL            OH    45106‐9436
CONNIE C CHIODO                                  854 GREENWOOD COURT                                                                             ROSELLE           IL    60172‐3037
CONNIE C KNAPPENBERGER                           9600 NOOK RD                           LOT 14                                                   CLAY              MI    48001‐4674
CONNIE C LINDSTROM                               234 EAST ELM                                                                                    FREMONT           MI    49412‐1242
CONNIE C MORRILL                                 12000 CAPRI CIRCLE SOUTH #4                                                                     TREASURE ISLAND   FL    33706‐4942
CONNIE COE                                       1511 N SHARON AVE                                                                               INDIANAPOLIS      IN    46222‐3053
CONNIE CRAWFORD                                  2381 ARCHWOOD LN                       UNIT 177                                                 SIMI VALLEY       CA    93063‐5097
CONNIE CRAWFORD CUST KALEE CRAWFORD UTMA CA      2381 ARCHWOOD LN                       UNIT 177                                                 SIMI VALLEY       CA    93063‐5097

CONNIE D BARR                                    5430 E COLDWATER RD                                                                             FLINT             MI    48506‐4510
CONNIE D CAUDLE                                  775 E DELAVAN AVE                                                                               BUFFALO           NY    14215‐3043
CONNIE D COOK                                    36129 SUMMERSET ST                                                                              WESTLAND          MI    48186‐4192
CONNIE D COUNTS TOD CHARLES M COUNTS SUBJECT     2905 SMOKETREE CIRCLE                                                                           HUNTSVILLE        AL    35811
TO STA TOD RULES
CONNIE D COUNTS TOD STEVEN D COUNTS SUBJECT TO   2905 SMOKETREE CIRCLE                                                                           HUNTSVILLE        AL    35811
STA TOD RULES
CONNIE D CROPSEY                                 940 WATERFORD                                                                                   CASPER            WY    82609‐3232
CONNIE D GOODLOW                                 PO BOX 156                                                                                      HILLSBORO         AL    35643‐0156
CONNIE DI ELSI                                   25 HICKORY PL APT G‐22                                                                          CHATHAM           NJ    07928‐3010
CONNIE DIANE BOWDOIN                             141 BAILEY LANE                                                                                 COBB              GA    31735
CONNIE DORENE HADDEN                             3011 E COPAS RD                                                                                 OWOSSO            MI    48867‐9609
CONNIE DUNN                                      3953 N ALGER                                                                                    WHITE CLOUD       MI    49349‐9436
CONNIE E BEDGOOD                                 PO BOX 377                                                                                      DURAND            MI    48429‐0377
CONNIE E CARETTI‐GAWEL                           29337 CAMPBELL DR                                                                               WARREN            MI    48093‐5232
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CONNIE E CLIFTON                                 312 FIRST AVE                                                                                   YPSILANTI       MI    48197‐5226
CONNIE E GOULD                                   STONEYBROOK                            11958 PEBBLE LN          PO BOX 368                      ZANESVILLE      IN    46799‐0368
CONNIE ELLEN MALTBIE                             3 LAUREL LANE                                                                                   BAYVILLE        NJ    08721‐3066
CONNIE F ERNSKE                                  493 S WILHELM ST                                                                                HOLGATE         OH    43527‐9746
CONNIE F GUTHRIE                                 2049 S 600 E                                                                                    MARION          IN    46953‐9545
CONNIE F HAINER                                  136 TURQUOISE DR                                                                                CORTLAND        OH    44410‐1935
CONNIE F KONECNY                                 4126 MOUNTAIN VIEW CT                                                                           FREELAND        MI    48623
CONNIE G DERR                                    2916 CARRIAGE HILL DR                                                                           BOWLING GREEN   KY    42104‐4394
CONNIE G WEAVER                                  348 MARBLEGATE CI                                                                               ALVATON         KY    42122‐8748
CONNIE H EVETT                                   205 GERANIUM DR                        OFALLON                                                  O FALLON        MO    63366
CONNIE H PENNINGTON                              413 DEEPWOOD PL                                                                                 NORTH AUGUSTA   SC    29841‐3101
CONNIE I ANDERSON                                20904 NE 83RD ST                                                                                VANCOUVER       WA    98682‐9527
CONNIE J BLACKWOOD                               14612 SKYBIRD RD                                                                                CHESTERFIELD    VA    23838‐6154
CONNIE J BRAKEFIELD CUST ALLISON C BRAKEFIELD    4980 DELISLE‐FOURMAN RD                                                                         GREENVILLE      OH    45331‐8741
UTMA OH
CONNIE J BRAKEFIELD CUST AMY L BRAKEFIELD UTMA   4980 DELISLE FOURMAN RD                                                                         GREENVILLE      OH    45331‐8741
OH
CONNIE J BRAKEFIELD CUST ANDREW T BRAKEFIELD     4980 DELISLE FOURMAN RD                                                                         GREENVILLE      OH    45331‐8741
UTMA OH
CONNIE J CARRIERO                                174 CHESTNUT CIRCLE W                                                                           DAVIDSON        MI    48423‐9189
CONNIE J DECHER                                  2900 N ORR RD                                                                                   HEMLOCK         MI    48626‐8406
CONNIE J DIGGS                                   9390 N TURNER ROAD                                                                              GULFPORT        MS    39503‐8907
CONNIE J FAUL                                    6597 SUN RIDGE DR                                                                               WAYNESVILLE     OH    45068‐8488
CONNIE J JAQUA                                   3315 W 900 N                                                                                    ALEXANDRIA      IN    46001‐8425
CONNIE J JOHNSON JR & CRUSETTA JOHNSON JT TEN    PO BOX 308                                                                                      BETHLEHEM       GA    30620‐0308

CONNIE J KLEMM                                   4433 BURCHDALE ST                                                                               KETTERING       OH    45440‐1446
CONNIE J MILLIKEN                                2137 NIAGARA DRIVE                                                                              TROY            MI    48083‐5667
CONNIE J MORENO                                  30475 PELICAN DR                                                                                LEBANON         MO    65536‐7333
CONNIE J NOLD                                    CONNIE J SCARPONE                      1442 IVYWOOD DRIVE                                       OKEMOS          MI    48864‐0305
CONNIE J PEACOCK                                 2586 CORVUS ST                                                                                  HENDERSON       NV    89044‐1594
CONNIE J SCHEIDEL                                4636 SIXTEEN MILE ROAD                                                                          KENT CITY       MI    49330‐9454
CONNIE J SCHNEIDER & JEROME G SCHNEIDER JT TEN   12524 WILSON STREET                                                                             LEAVENWORTH     WA    98826‐9373

CONNIE J SCHULTZ                                 230 RUMSEY AVE                                                                                  LANSING         MI    48912‐2833
CONNIE J WRIGHT                                  11 FILBERT AVE                                                                                  BROWNS MILLS    NJ    08015‐4228
CONNIE J YANICK                                  389 ROSEWAE AVE                                                                                 CORTLAND        OH    44410‐1268
CONNIE JANE GUESS                                3737 MASON RD                                                                                   JAMESTOWN       OH    45335‐9522
CONNIE JO GOOD                                   506 CHERRY LN                                                                                   GAS CITY        IN    46933‐1209
CONNIE JONES CUST JELANI M JONES UTMA WA         510 RITTENHOUSE ST NW                                                                           WASHINGTON      DC    20011‐1237
CONNIE K ARNETT                                  5002 ARROWHEAD BLVD                                                                             KOKOMO          IN    46902‐5315
CONNIE K SOVEY & GARY R SOVEY JT TEN             6473 MARBLE LN                                                                                  FLUSHING        MI    48433‐2587
CONNIE K TWOMEY                                  ATTN CONNIE K LAFAYETTE                17173 ORCHARD RIDGE RD                                   NORTHVILLE      MI    48167‐4370
CONNIE KARAMBELAS                                571 CLOVER DR                                                                                   ALGONQUIN       IL    60102‐6521
CONNIE KOTT & BONNIE KOTT JT TEN                 1944 SUNSET DR                                                                                  HANOVER PARK    IL    60133
CONNIE L BARTLETT                                75 E HOWELL RD                                                                                  MASON           MI    48854‐9641
CONNIE L BRANDON & MICHAEL G BRANDON JT TEN      29401 N W 182ND AVE                                                                             HIGH SPRINGS    FL    32643

CONNIE L BURKET                                  1138 DRY POWDER CIRCLE                                                                          MECHANICSBURG   PA    17055‐7330
CONNIE L COOK                                    981 RIDDLEWOOD LN                                                                               LITTLETON       CO    80129‐6987
CONNIE L CRENSHAW                                140 BARTO DR                                                                                    SAINT LOUIS     MO    63135‐1005
CONNIE L CURTIS                                  9813 COLEMAN RD                                                                                 HASLETT         MI    48840‐9328
CONNIE L CUTHBERTSON                             351 SPEIGHT BOULEVARD                  LONDON ON                              N5V 3J8 CANADA
CONNIE L FALOR                                   2761 SHORTER AVE SW                                                                             ROME            GA    30165‐8201
CONNIE L FOX                                     C/O CONNIE L LANGDON                   696 SHAWHAN RD                                           MORROW          OH    45152‐9562
CONNIE L GREEN                                   119 S 3RD ST                                                                                    STERLING        KS    67579‐2118
CONNIE L HAYNES                                  PO BOX 289                                                                                      MISSOURI CITY   MO    64072‐0289
CONNIE L HISS                                    22049 NEWBRIDGE DR                                                                              LAKE FOREST     CA    92630‐6512
CONNIE L KEENE                                   C/O EMMA H KANE                        18703 WOODINGHAM                                         DETROIT         MI    48221‐4110
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CONNIE L KYES                                     6078 W CUTLER RD                                                                               DEWITT         MI    48820‐9196
CONNIE L LEGG                                     1803 AUSTIN RD                                                                                 KOKOMO         IN    46901
CONNIE L LYMAN                                    2804 E 6TH ST                                                                                  KANSAS CITY    MO    64124‐2555
CONNIE L MCCANN                                   1555 LAY ST                                                                                    DES MOINES     IA    50317‐6435
CONNIE L MILLER                                   1470 HOUGHTON TRAIL                                                                            ORTONVILLE     MI    48462
CONNIE L OWENS                                    325 A WESTBROOK DRIVE                                                                          OSHKOSH        WI    54904
CONNIE L PADDEN                                   1565 CLUB VIEW DRIVE                                                                           LOS ANGELES    CA    90024
CONNIE L PEABODY                                  1259 S ARCH ST                                                                                 JANESVILLE     WI    53546‐5518
CONNIE L PEDERI & LOUIS A PEDERI JR JT TEN        1461 PAGE RD                                                                                   AURORA         OH    44202‐6604
CONNIE L REED                                     10125 BEYER RD                                                                                 BIRCH RUN      MI    48415‐8427
CONNIE L ROBERTSON & FRANCES L ROBERTSON JT TEN   212 VICTORIA LANE                                                                              HAPEVILLE      GA    30354‐1550

CONNIE L SCHREEL TR CONNIE L SCHREEL REV TRUST UA 217 DENWOOD TRL                                                                                CLAYTON        OH    45315‐9644
10/12/00
CONNIE L SHAFFER                                  303 NATIONAL AVE                                                                               BROWNSVILLE    PA    15417‐8658
CONNIE L TOPPI                                    7023 WINDRIDGE LN                                                                              FLINT          MI    48507‐4693
CONNIE L TURLEY                                   8203 W 200 S                                                                                   RUSSIAVILLE    IN    46979‐9166
CONNIE L VARNER                                   540 RIO GRANDE                                                                                 EDGEWATER      FL    32141‐7660
CONNIE L WERNER                                   935 W. OAK STREET                                                                              FORT COLLINS   CO    80521‐2515
CONNIE L WHITLOCK EX UW WILLIAM H WHITLOCK        1604 NEW HAVEN RD                                                                              PIQUA          OH    45356‐2738

CONNIE L WILMOT                                   10385 MILLIMAN RD                                                                              MILLINGTON     MI    48746‐9749
CONNIE LEE GARCIA CUST NICOLAS LEE GARCIA UGMA    915 OLD FARM RD                                                                                COLUMBUS       OH    43213‐2674
OH
CONNIE LOU TURNER TR CONNIE LOU TURNER FAMILY     1083 LISLIN CT                                                                                 PITTSBURG      CA    94565‐4406
TRUST UA 09/02/98
CONNIE LOUISE GALDIERI                            W299N957 SAINT JAMES WAY                                                                       WAUKESHA        WI   53188‐9327
CONNIE LOUISE HEISNER                             2071 W ROUNDBUNCH RD 222W                                                                      ORANGE          TX   77630‐9069
CONNIE LYNN RIPLEY                                PO BOX 206                                                                                     BATTLE MOUNTAIN NV   89820‐0206

CONNIE M ALVAREZ                             548 POMONA STREET                                                                                   SAN LORENZO    CA    94580‐1048
CONNIE M COCHRAN                             15896 SPEAKER RD                                                                                    IMLAY CITY     MI    48444‐9302
CONNIE M DEMSKO                              671 E CEDAR DRIVE                                                                                   BAYFIELD       CO    81122
CONNIE M FLORIAN                             642 SAMANTHA ST                                                                                     LANSING        MI    48910‐5408
CONNIE M FONDREN                             8363 N MCKINLEY RD                                                                                  FLUSHING       MI    48433‐8844
CONNIE M HAWKEN                              9819 WHITE HILL CT                                                                                  FORT WAYNE     IN    46804‐5983
CONNIE M HEBERT                              C/O CONNIE KAZEWYCH                        1503 RAINBOW ST                                          SOUTHLAKE      TX    76092‐8826
CONNIE M KEARNS MCCARTHY CUST KATHLEEN       128 ROGER SMITH                                                                                     WILLIAMSBURG   VA    23185‐8228
MCCARTHY UGMA VI
CONNIE M KEARNS MCCARTHY CUST SEAN MCCARTHY 128 ROGER SMITH                                                                                      WILIAMSBURG    VA    23185‐8228
UGMA VI
CONNIE M KNIGHT & DONALD H KNIGHT JT TEN     1022 CAMPO CT                                                                                       WEIDMAN        MI    48893‐9334
CONNIE M LONG                                11515 FOX HILL DR                                                                                   CHAROLETTE     NC    28269‐3167
CONNIE M MICHAELIS                           1950 2ND ST                                APT H104                                                 SPRINGFIELD    OR    97477‐7111
CONNIE M SINNOTT & MAURICE J SINNOTT JT TEN  103 A AVE E                                #2                                                       ALBIA          IA    52531‐1804
CONNIE M WHIPPLE                             274 CHESTNUT AVE                                                                                    ORANGE CITY    FL    32763‐6021
CONNIE M WU                                  3024 DARTMOUTH DR                                                                                   JANESVILLE     WI    53545‐6704
CONNIE MOBILIO                               721 FRANKLIN DR                                                                                     PERTH AMBOY    NJ    08861‐1815
CONNIE MOORE                                 5300 COXSON RD                                                                                      RICHMOND       VA    23231‐4508
CONNIE MUSTARDO                              493‐3 STOWELL DR                                                                                    ROCHESTER      NY    14616
CONNIE MUSTARDO CUST CHRISTINA HONAN UGMA NY 3515 5TH W AV                                                                                       PALMETTO       FL    34221‐9786

CONNIE MUSTARDO CUST OMAR K MUSTARDO UGMA         PO BOX 164                                                                                     PITTSTOWN      NJ    08867‐0164
DC
CONNIE O'BANNON                                   1639 S BRENTWOOD ST                                                                            LAKEWOOD       CO    80232‐6786
CONNIE POWERS                                     11100 PANSING RD                                                                               BROOKVILLE     OH    45309‐9640
CONNIE R BESS                                     C/O CONNIE R MARTIN                   PO BOX 174                                               SANDIA PARK    NM    87047‐0174
CONNIE R COLEMAN                                  6386 N CR 930E                                                                                 FOREST         IN    46039‐9644
CONNIE R FELTON                                   1039 24 1/2 ST                                                                                 CHETEK         WI    54728‐7918
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CONNIE R HENDERSON                              4902 DOVE DR                        # 4C                                                     ZEPHYRHILLS      FL    33541‐7184
CONNIE RIEGER                                   232 BREAKERS LANE                                                                            STRATFORD        CT    06615
CONNIE S ALLEN                                  534 VISTA AV                                                                                 VANDALIA         OH    45377‐1846
CONNIE S ARNOLD                                 PO BOX 574                                                                                   BLANCHARD        OK    73010‐0574
CONNIE S BARNES                                 4679 UNION RD                                                                                CHEEKTOWAGA      NY    14225‐1803
CONNIE S BURNS                                  209 JOHNSON FLAT RD                                                                          HILLSBORO        KY    41049‐8400
CONNIE S GARRETT                                7701 W CR 550S                                                                               DALEVILLE        IN    47334‐8856
CONNIE S JOHNSON                                3148 BROOKS STREET                                                                           DAYTON           OH    45420‐1958
CONNIE S KOPACEK                                3202 HILLSDALE DRIVE                                                                         URBANDALE        IA    50322‐6832
CONNIE S MESSICK                                598 HORNETTOWN RD                                                                            MORGANTOWN       IN    46160‐8629
CONNIE S SCHREIBER                              1170 SEQUOYA TRAILE                                                                          COLUMBIA         TN    38401‐8468
CONNIE S TINUCCI                                C/O CONNIE S DZIUBEK                615 CHIPPEWA                                             DARIEN           IL    60561‐4807
CONNIE S WATJEN                                 3436 N OLD HWY 41                                                                            VINCENNES        IN    47591‐9341
CONNIE S WRIGHT                                 2366 HOLTON ROAD                                                                             GROVE CITY       OH    43123
CONNIE SCHINDLER                                3205 EMMONS AVE                     APT 3D                                                   BROOKLYN         NY    11235‐1118
CONNIE SILLS                                    3935 GLORIA                                                                                  WAYNE            MI    48184‐1956
CONNIE SLAGLE                                   8‐067 RD W                                                                                   LIBERTY CENTER   OH    43532
CONNIE SROGI & ROBERT D SROGI JT TEN            6683 PLUM                                                                                    CLARKSTON        MI    48346‐2150
CONNIE STAVROS                                  194 SPRINGDALE LANE                                                                          BLOOMINGDALE     IL    60108‐3025
CONNIE STEVENS                                  3100 MORNING PARK CRT                                                                        LOUISVILLE       KY    40220
CONNIE STOVER                                   21596 COUNTY ROAD 37491                                                                      CLEVELAND        TX    77327‐5781
CONNIE SUE KAINES                               ATTN CONNIE S AULSEYBROOK           6369 DELLWOOD                                            WATERFORD        MI    48329‐3129
CONNIE SUE SHARTLE CUST ROBERT MICHAEL SHARTLE 21829 SHARTLE RD                                                                              MEADVILLE        PA    16335‐5025
UGMA PA
CONNIE THOMAS & PATRICIA STRAW JT TEN           HCI 1A202                                                                                    LACKAWAHEN       PA    18435
CONNIE VALERDE                                  25394 NORMANDY                                                                               ROSEVILLE        MI    48066‐5750
CONNIE W AGEE                                   518 WOODBINE AVE                                                                             ROCHESTER        NY    14619‐1724
CONNIE W COWAN                                  3032 OAKCROFT DR                                                                             MATTHEWS         NC    28105‐1148
CONNIE WAITS                                    6 E CRESCENT AVE                                                                             NEWPORT          KY    41071‐2517
CONNIE WHITAKER                                 C/O CONNIE REDING                   4245 GUN BARN ROAD                                       ANDERSON         IN    46011‐8795
CONNIE YEAGER & BOYCE YEAGER JT TEN             6674 CREEKSIDE WAY                                                                           HAMILTON         OH    45011‐7936
CONNIFF FAMILY LIMITED PARTNERSHIP              111 STATE ST                                                                                 BOSTON           MA    02109‐2905
CONNLAN KEARNEY                                 2209 LEMA RD SE                                                                              RIO RANCHO       NM    87124‐3963
CONNOR BRIDGER EGLIN                            5035 WHITEHAVEN ST                                                                           BATON ROUGE      LA    70808‐8670
CONNOR DAVIS TROTT                              11 HONEYSUCKLE LN                                                                            FAIRHOPE         AL    36532‐1136
CONNOR H CHISMIRE                               4265 SCHRUBB DR                                                                              KETTERING        OH    45429‐1346
CONNOR J FOX                                    1010 CRESTFIELD AVE                                                                          LIBERTYVILLE     IL    60048‐3022
CONNOR JONES                                    2 FOREST PARK AVE                                                                            LARCHMONT        NY    10538
CONNOR LEMMONS & CARLA LEMMONS JT TEN           6443 FAWN LN                                                                                 NEW HOPE         PA    18938‐9642
CONOR F HANDLEY & MICHAEL L HANDLEY JT TEN      6 S 201 MARBLEHEAD CT                                                                        NAPERVILLE       IL    60540‐3640
CONOR O'BRIEN                                   366 6TH AVE                         # 4D                                                     BROOKLYN         NY    11215‐3330
CONRAD ADAMS                                    6960 N GENOA CLAY CENTER            PO BOX 126                                               CURTICE          OH    43412
CONRAD B SKORC                                  840 VIENNA RD                                                                                PALMYRA          NY    14522‐9718
CONRAD BARLOW TR UA 09/11/81 CONRAD BARLOW AS 103 VIA MESA GRANDE                                                                            REDONDO BEACH    CA    90277‐5538
TRUSTOR
CONRAD BERNARD                                  114 SUCKERBROOK ROAD                                                                         WINSTED          CT    06098‐2917
CONRAD BUYOFSKY                                 445 CHARLES PL                                                                               FREEHOLD         NJ    07728‐3403
CONRAD C BISHOP JR & CONRAD C BISHOP III JT TEN 411 N WASHINGTON                                                                             PERRY            FL    32347‐2732

CONRAD C JENSEN                                43095 DIFRANK CT                                                                              ASHBURN          VA    20147‐4442
CONRAD C MORRISON                              PO BOX 79                                                                                     SHAFTSBURG       MI    48882‐0079
CONRAD CHRISTIANO                              622 HIGHLAND AVE NW                                                                           WASHINGTON       DC    20012‐2412
CONRAD D LYNN                                  19864 WHITE OAKS                                                                              MOUNT CLEMENS    MI    48036‐1895
CONRAD DILOLLO                                 131 JUPITOR AVE                                                                               CLARK            NJ    07066‐3020
CONRAD DOUGLAS WILHELM                         1108 ORIOLE CIRCLE                                                                            FILLMORE         CA    93015‐1601
CONRAD E GERNT                                 1257 PONDVIEW CIRCLE                                                                          COOKEVILLE       TN    38506‐7344
CONRAD E PYTLIK                                3358 S FELDSPAR AVE                                                                           TUCSON           AZ    85735‐9080
CONRAD F POHLMANN                              15 HIGHWOOD DRIVE                                                                             NORTHPORT        NY    11768
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CONRAD G TARNACKI                               42041 DUXBURY DR                                                                            STERLING HEIGHTS   MI    48313‐3473

CONRAD G VORWERCK                               68 SALZBURG RD                                                                              BAY CITY           MI    48706‐3455
CONRAD GOLASKI PROFIT SHARING TRUST UA 01/01/93 22 WINTER ST #204                                                                           HOLBROOK           MA    02343‐1033

CONRAD GRUNFELDER & PATRICIA D GRUNFELDER JT    1706 GRIDLEY LANE                                                                           SILVER SPRING      MD    20902‐3816
TEN
CONRAD H DOIG                                   336 NORTHWEST SHOREVIEW DRIVE                                                               ST LUCIE WEST      FL    34986‐2904
CONRAD I SANWICK                                RT 3 PO BOX 67                                                                              WESTBY             WI    54667‐9307
CONRAD J BARNAS                                 96 BRENTWOOD DR                                                                             CHEEKTOWAGA        NY    14227‐3248
CONRAD J BERGHOEFER                             465 RIVARD BLVD                                                                             WATERFORD          MI    48327‐2665
CONRAD J JAGER                                  2366 SCRIBNERS MILL RD                                                                      CULLEOKA           TN    38451‐2170
CONRAD J KOCH                                   30 THOMAS DR                                                                                MANALAPAN          NJ    07726‐3443
CONRAD J MODEN                                  1825 EAST GORMAN                                                                            ADRIAN             MI    49221
CONRAD J SWEET CUST RANDY L SWEET UGMA IL       PO BOX 155                                                                                  BEECHER            IL    60401‐0155
CONRAD J WASHINGTON                             252 RICHTON ST                                                                              HIGHLAND PARK      MI    48203‐3478
CONRAD K ANDREWS                                5441 MCKINLEY RD                                                                            FLUSHING           MI    48433‐1184
CONRAD L PARKER                                 2399 SE CYPRESS POINT ROAD                                                                  KINARD             FL    32449‐2701
CONRAD M BLACK                                  26 PARK LANE CIR                   DON MILLS ON                           M3B 1Z7 CANADA
CONRAD M OSBORN                                 1021 WESTMORE MEYERS RD APT 105                                                             LOMBARD            IL    60148‐3744
CONRAD M TOTH                                   25514 FARRO CT                                                                              WARREN             MI    48089‐1011
CONRAD MONTALTO & MRS MARY KATHERINE            1560 N SANDBURG TER APT 2402                                                                CHICAGO            IL    60610‐7721
MONTALTO JT TEN
CONRAD N WEBER                                  921 LINWOOD PLACE                                                                           MANSFIELD          OH    44906‐2955
CONRAD P CARLSON & PATRICIA J CARLSON JT TEN    403 S EAST ST                                                                               KINGSLAND          GA    31548

CONRAD P LEVESQUE                               45 OLD KINGS HWY                                                                            SALEM              NJ    08079‐2006
CONRAD P SCHWARTZ                               30144 BUCKINGHAM                                                                            LIVONIA            MI    48154‐4428
CONRAD PEARL & BARBARA PEARL JT TEN             6545 PASTOR CT                                                                              W BLOOMFIELD       MI    48322‐1349
CONRAD R HUSS                                   3 HILLSIDE PL                                                                               CARMEL             NY    10512‐2003
CONRAD R KAROL                                  31486 RUSH                                                                                  GARDEN CITY        MI    48135‐1708
CONRAD R STRANDBERG JR                          105 POTEAU TRACE                                                                            LOUDON             TN    37774‐2867
CONRAD RATTAY                                   8401 S BALDWIN RD                                                                           ASHLEY             MI    48806‐9736
CONRAD ROSIAK                                   855 WINCHESTER CT                                                                           MANCHESTER         NJ    08759‐5230
CONRAD S POPRAWA                                29160 GERTRUDE COURT                                                                        INKSTER            MI    48141‐1102
CONRAD S TRUMP                                  11 HAGEMAN ST                                                                               BERKELY SPRINGS    WV    25411
CONRAD T E PAPPAS                               218 HATHAWAY CT                                                                             SACRAMENTO         CA    95864‐5718
CONRAD T SCHMIDT                                341 CLAYTON MANOR DR                                                                        MIDDLETOWN         DE    19709
CONRAD W BIXBY                                  PO BOX 55                                                                                   NEWFANE            NY    14108‐0055
CONRAD W GREEN & PATRICIA A GREEN JT TEN        6260 LAKE WALDON DR                                                                         CLARKSTON          MI    48346‐2282
CONRAD W HOFFMAN & ANNA L HOFFMAN & KEVIN W 402 MORNINGSIDE DR                                                                              RICHMOND           MO    64085‐1938
HOFFMAN JT TEN
CONRAD W KOZLO & DELPHINE J KOZLO JT TEN        15715 CHAMPAIGN                                                                             ALLEN PARK         MI    48101‐1729
CONRAD W SUCHARSKI                              2326 BEACHWOOD DRIVE                                                                        LAKEVIEW           NY    14085‐9747
CONRAD W TRAUGHBER                              2400 WORTHINGTON DR                                                                         TROY               OH    45373‐8455
CONRADO L CUESTA                                26 CUCUMBER ST                     VALLE VERDE 5 PASIG     METRO MANILA   PHILIPPINES
CONRADO M PADILLA                               RITA PEREZ DE MORENO #40           SAN JUAN DE LOS LAGOS   JAL            CP 47000 MEXICO
CONRADO T RAMOS & RENIE A RAMOS JT TEN          1461 CARLOS WAY                                                                             UPLAND             CA    91786‐2463
CONSAUSIEN M RODRIGUEZ                          25160 PATRICIA LN                                                                           RAYMOND            CA    93653‐9520
CONSEPCION N VILLA                              296 ROCKWELL                                                                                PONTIAC            MI    48341‐2452
CONSIGLIA A MILLER                              3380 E CO RD 150 N                                                                          KOKOMO             IN    46901
CONSOLIDATED ELECTRIC CONSTRUCTION CO INC       369 LEXINGTON AVE #15FL                                                                     NEW YORK           NY    10017
CONSOLIDATED STOCK A PARTNERSHIP                C/O W R MC LAMHORN                 PO BOX 428                                               BURGAW             NC    28425‐0428
CONSTANC M HOADLEY                              PO BOX 861                                                                                  LEWISTON           MI    49756‐0861
CONSTANCE A ADAMS                               28437 NIEMAN                                                                                NEW BOSTON         MI    48164‐9640
CONSTANCE A ARNOLD                              3218 VILLAGE RUN DR                                                                         DES MOINES         IA    50317‐4965
CONSTANCE A BOHN                                1814 RIDGESIDE COURT                                                                        ARLINGTON          TX    76013‐4209
CONSTANCE A BOHO TOD JOSEPH M KARPINSKI SUBJECT 1506 TULIP LANE                                                                             WAUSAU             WI    54401
TO STA TOD RULES
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CONSTANCE A BUCHER                                1409 REED PLACE                                                                               BRONX           NY       10465‐1222
CONSTANCE A CLAYBAKER                             7078 N MERRYBROOK DR                                                                          WEST BLOOMFIELD MI       48322‐4063

CONSTANCE A CONFER                                5417 DON SHENK                                                                                SWARTZ CREEK       MI    48473
CONSTANCE A EVANS                                 PO BOX 3319                                                                                   TAOS               NM    87571‐3319
CONSTANCE A FRONCZEK                              4817 EDDY DRIVE EAST                                                                          LEWISTON           NY    14092‐1135
CONSTANCE A JASINSKI                              #2O                                  2411 BRANDENBERRY                                        ARLINGTON          IL    60004‐5181
                                                                                                                                                HEIGHTS
CONSTANCE A KANELAS & PENELOPE KANELAS JT TEN     6620 WHYSALL                                                                                  BLOOMFIELD HILLS   MI    48301‐2852

CONSTANCE A KASHAY                               8848 KINGS‐GRAVE RD N E                                                                        WARREN             OH    44485
CONSTANCE A KELLEY                               656 HARRIS HILL ROAD                                                                           LANCASTER          NY    14086‐9759
CONSTANCE A LAHMAN                               56424 CHERRY TREE RD                  PO BOX 124                                               ASTOR              FL    32102‐0124
CONSTANCE A MCALINDON                            1340 N HURON                                                                                   TAWAS CITY         MI    48763‐9427
CONSTANCE A MCGEE                                12656 COUNTY HWY                                                                               LAMBERTON          MN    56152
CONSTANCE A MOSHER & AMY L MOORE JT TEN          12255 MOORISH RD                                                                               BIRCH RUN          MI    48415‐8790
CONSTANCE A MOTZ                                 1186 S 200 E                                                                                   KOKOMO             IN    46902‐4138
CONSTANCE A MRACNA                               3647 OAKMONTE BLVD                                                                             ROCHESTER          MI    48306‐4791
CONSTANCE A MULHERIN                             58 HAWTHORNE COURT                                                                             CUMBERLAND         ME    04021‐9362
CONSTANCE A ROCKE                                PO BOX 648                                                                                     TOWNSEND           DE    19734‐0648
CONSTANCE A WOODS                                1331 CAMINITO SEPTIMO                                                                          CARDIFF            CA    92007‐1043
CONSTANCE A ZALEWSKI & MICHAEL G ZALEWSKI JT TEN 8400 ENGLEMAN APT 241                                                                          CENTER LINE        MI    48015

CONSTANCE ANGELA KARAGIAS                         1505 FORREST TRAIL CIR                                                                        TOMS RIVER         NJ    08753‐2880
CONSTANCE ANN HAMLIN                              5242 CR 413                          MCMILLIAN                                                MC MILLAN          MI    49853
CONSTANCE APAP & MARY J APAP JT TEN               636 OLDE IVY LN                                                                               HOWELL             MI    48843
CONSTANCE B ARCHAMBAULT & ARMAND R                3501 FOUR LAKES AVENUE                                                                        LINDEN             MI    48451‐9448
ARCHAMBAULT JT TEN
CONSTANCE B BERTSCH                               22 NAAS PL                                                                                    DAYTON             OH    45404‐2054
CONSTANCE B CASELLA                               APT 111                              200 GLENNES LN                                           DUNEDIN            FL    34698‐5921
CONSTANCE B DETUERK TR CONSTANCE B DETUERK        10150 N OCEAN DR                                                                              CITRUS SPRGS       FL    34434‐3157
FAM TRUST UA 03/9/95
CONSTANCE B FLOYD                                 24650 MANISTEE                                                                                OAK PARK           MI    48237‐1712
CONSTANCE B HRYNKOW                               1056 TRUMAN STREET                                                                            NOKOMIS            FL    34275‐4401
CONSTANCE B M KORZUCH                             1608 BARKWOOD DR                                                                              OREFIELD           PA    18069‐8923
CONSTANCE B MC CLURE                              2491 COUNTRY VIEW LANE               APT 1123                                                 MCKINNEY           TX    75069‐7435
CONSTANCE B PESEK                                 9068 HIGHLAND DRIVE                                                                           BRECKSVILLE        OH    44141‐2430
CONSTANCE B PRICE TR UW OF HELEN A BARTH          APT 320                              4615 NORTH PARK AVENUE                                   CHEVY CHASE        MD    20815‐4512
CONSTANCE BASHORE                                 1063 PARKWAY DR                                                                               GREENVILLE         OH    45331
CONSTANCE BEVINS                                  4 SAXER AVE                                                                                   SPRINGFIELD        PA    19064‐2331
CONSTANCE BLACHUT                                 787 DEER COURT                                                                                PLYMOUTH           MI    48170‐1743
CONSTANCE BOUCHER                                 7 GREENVALE RD                                                                                VERNON HILLS       IL    60061‐1809
CONSTANCE BROCKWELL                               6030 HARRIS ROAD                                                                              PADUKAH            KY    42001‐9626
CONSTANCE BROWN BERKLEY                           5609 MAIDSON ST                                                                               BETHESDA           MD    20817‐3727
CONSTANCE C ANDERSON                              9 EAST 14TH ST                                                                                NORTH BEACH        NJ    08008‐2213
                                                                                                                                                HAVEN
CONSTANCE C DERK                                  175 W 11TH AVE                                                                                SHAMOKIN DAM       PA    17876
CONSTANCE C ROSENBERG & FRED ROSENBERG JT TEN     97 COOLEY DR                                                                                  LONGMEADOW         MA    01106‐1303

CONSTANCE C SAUNDERS                              4041 TREE CHOP CIRCLE                                                                         VIRGINIA BEACH     VA    23455‐5647
CONSTANCE CARR LUETKEMEYER                        13807 VALLEY COUNTRY DRIVE                                                                    CHANTILLY          VA    20151‐3640
CONSTANCE CETINSKY                                21931 NICHOLAS AVE                                                                            EUCLID             OH    44123‐3059
CONSTANCE CHIMILESKI & JOHN CHIMILESKI JT TEN     C/O KENNETH CHIMILESKI               22 WALNUT TREE HILL RD                                   SANDY HOOK         CT    06482‐1001

CONSTANCE CHRISTIAN                               9021 VALLEY DR                                                                                BON AQUA           TN    37025‐9745
CONSTANCE COE MILLER                              6353 THORNHILLS CT SE                                                                         GRAND RAPIDS       MI    49546‐7115
CONSTANCE CRANE                                   206 3RD STREET PO BOX 169                                                                     OOLITIC            IN    47451‐0169
CONSTANCE CUNNINGHAM                              3609 SO VILLAGE DRIVE                                                                         AVENEL             NJ    07001‐1021
CONSTANCE CUPPY                                   201 LAFAYETTE AVE E                  # 123                                                    MATTOON            IL    61938‐4641
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CONSTANCE CUTTING                                 3261 WITHERBEE                                                                               TROY               MI    48084‐2716
CONSTANCE D BECOATS TOD LEWIS J BECOATS 3RD       5810 OXLEY DR                                                                                FLINT              MI    48504
SUBJECT TO STA TOD RULES
CONSTANCE D BECOATS TOD LONNIE J BECOATS SR       5810 OXLEY DR                                                                                FLINT              MI    48504
SUBJECT TO STA TOD RULES
CONSTANCE D NIKOKIRAKIS                           24604 HILLIARD                                                                               WESTLAKE           OH    44145‐3519
CONSTANCE D NIKOKIRAKIS & TONY E NIKOKIRAKIS JT   24604 HILLARD ROAD                                                                           WESTLAKE           OH    44145‐3519
TEN
CONSTANCE D SCHOBY                                4906 PAVALION DR                                                                             KOKOMO             IN    46901‐3655
CONSTANCE D STIEFEL                               6 BROOKMONT DR                                                                               WILBRAHAM          MA    01095‐1737
CONSTANCE DE ZELLER & DALE E DE ZELLER JT TEN     1086 35TH AVE NE                                                                             SAUK RAPIDS        MN    56379‐9654
CONSTANCE E BODI                                  1570 ORCHARD LN                                                                              BLOOMFIELD HILLS   MI    48301‐4017

CONSTANCE E GUNDERSON                             2464 SKYLINE DR                                                                              MINNEAPOLIS        MN    55425‐2188
CONSTANCE E HILL                                  21 POTTERSVILLE RD                                                                           LITTLE COMPTON     RI    02837‐1931
CONSTANCE E JOHNSON                               19975 GREENWALD DR                                                                           SOUTHFIELD         MI    48075‐3956
CONSTANCE E KONTYKO & GAIL L HALE JT TEN          4040 N WASHBURN RD                                                                           DAVISON            MI    48423‐8024
CONSTANCE E MILLER                                PO BOX 160                                                                                   CORFU              NY    14036‐0160
CONSTANCE E SALERNO TR UA 02/27/85 CONSTANCE E    9124 37TH ST N                                                                               PINELLAS PARK      FL    33782‐5917
JOHNSON TRUST
CONSTANCE E SCHABITZER & DIANE L KEEFER JT TEN    THE GARDENS AT WESTLAKE            27569 DETROIT RD     APT 304                              WESTLAKE           OH    44145

CONSTANCE E WALSH                                 APT 920                            8350 GREENSBORO DR                                        MC LEAN            VA    22102‐3549
CONSTANCE EDSALL HOWARD & CONSTANCE HOWARD        448 WHITEHALL ST                                                                             LYNBROOK           NY    11563‐1031
SMITH JT TEN
CONSTANCE F LOMONTE                               52 RANDALL RD                                                                                WADING RIVER       NY    11792
CONSTANCE G HAGADORN & LEON G HAGADORN JT         4465 W FRANCES RD                                                                            CLIO               MI    48420‐8516
TEN
CONSTANCE G HERMAN & RUBIN HERMAN JT TEN          21 MOJAVE DR                                                                                 SHAVNEE            OK    74801‐5527
CONSTANCE G INGRAM                                1635 N ARKANSAS AVE                                                                          ATLANTIC CITY      NJ    08401‐1603
CONSTANCE G IVES                                  351 SKYCREST RD                                                                              LAHABRA HTS        CA    90631‐8327
CONSTANCE G NOWAKOWSKI                            86 KNOB HILL RD                                                                              SOUTH MERIDEN      CT    06451‐4977
CONSTANCE G SASSO                                 95 KELLY RD                                                                                  HAMDEN             CT    06518‐2021
CONSTANCE GOLDSMITH                               2875 LAKELAND DR                   APT A                                                     TOCCOA             GA    30577
CONSTANCE GREENBERG                               17940 3RD AVE N                                                                              PLYMOUTH           MN    55447‐3475
CONSTANCE H EIKNER                                SUNRISE HILL RD                                                                              FISHKILL           NY    12524
CONSTANCE H KISSNER                               2700 N BEACH RD                    APT C105                                                  ENGLEWOOD          FL    34223‐9177
CONSTANCE H LITTELL                               2248 OVERLAND                                                                                WARREN             OH    44483‐2815
CONSTANCE H MCDEVITT                              43 JANEBAR CIR                                                                               FRAMINGHAM         MA    01701‐3176
CONSTANCE H NORWOOD                               12704 ENCINCO DR                                                                             MANACHCA           TX    78652‐5611
CONSTANCE HERNANDEZ                               18 PEQUOT RD                                                                                 RINGWOOD           NJ    07456‐2808
CONSTANCE HISLE                                   C/O CONSTANCE D MATTHEWS           RR 1 BOX 141                                              JACKSONVILLE       MO    65260‐9735
CONSTANCE HOLKO QUALLS                            4150 MEADOW WOOD DR                                                                          EL DORADO HILLS    CA    95762‐7527
CONSTANCE I SAVITSKY                              9858 BIG PINE ST                                                                             ATLANTA            MI    49709‐9234
CONSTANCE I STOBO                                 41 HURLEYS LANE                                                                              LINCROFT           NJ    07738
CONSTANCE I WARD & KAREN L REYMANN JT TEN         300 BEACH RD                       APT 306                                                   TEQUESTA           FL    33469‐2823
CONSTANCE J DELANEY                               940 S WESTCHESTER PK DRIVE                                                                   YORKTOWN           IN    47396‐9320
CONSTANCE J DUPUIS                                16400 DIX‐TOLEDO HWY               APT 611                                                   SOUTHGATE          MI    48195‐6810
CONSTANCE J FINNEY                                5027 RIDGE RD                                                                                CORTLAND           OH    44410‐9759
CONSTANCE J GREENLEE & WILLIAM PAUL GREENLEE JT   5647 HIDDEN RIDGE LN                                                                         BATON ROUGE        LA    70816
TEN
CONSTANCE J HOLCZMAN                              730 KNOLLWOOD DR                                                                             BATTLE CREEK       MI    49015‐4612
CONSTANCE J HYDE                                  4418 WINTERS DRIVE                                                                           FLINT              MI    48506‐2001
CONSTANCE J KELLY                                 1116 BARKSDALE AVE                                                                           PERU               IN    46970‐8707
CONSTANCE J KONKOL                                2644 CHAPEL DR W                                                                             SAGINAW            MI    48603‐2807
CONSTANCE J KOROSEC & KENNETH D KOROSEC JT TEN    11919 CAVES RD                                                                               CHESTERLAND        OH    44026‐1711

CONSTANCE J MCCOMB                                781 VISTA SERENO COURT                                                                       HENDERSON          NV    89015
CONSTANCE J NUNN                                  121 AUTUMN POINTE DR                                                                         MADISON            AL    35757‐7314
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CONSTANCE J THERN                                6061 WESTBOURGH DR                                                                             NAPLES           FL    34112‐8802
CONSTANCE J WALTZ CUST ROSS ELWOOD WALTZ         669 CAUGHLIN GLEN                                                                              RENO             NV    89509‐0643
UGMA CA
CONSTANCE JEAN CRANE & DOUGLAS J RAUSCH JT TEN   447 TARRYMORE AVE                                                                              MINNEAPOLIS      MN    55419‐1401

CONSTANCE JOHNSON & DOUGLAS R MERKLE JT TEN      9124 37TH ST NORTH                                                                             PINELLAS PARK    FL    33782‐5917

CONSTANCE K FESTA & LAWRENCE A FESTA JT TEN      56 PIPER ROAD                                                                                  HAMDEN           CT    06514‐3334
CONSTANCE K HILLER & DONALD R HILLER JT TEN      102 JAVELIN COURT                                                                              CARY             NC    27513‐5110
CONSTANCE KARMEL                                 6458 ASPEN GLEN CIR #203                                                                       BOYNTON BEACH    FL    33437‐1821
CONSTANCE KAY GILLETTE                           1593 FRANKLIN STREET                                                                           HASLETT          MI    48840‐8470
CONSTANCE KELLY FLETCHER                         121 ASHLAND RD                                                                                 SUMMMIT          NJ    07901‐3239
CONSTANCE KEMPEES                                4138 S 950E                                                                                    OGDEN            UT    84403‐2968
CONSTANCE L BLUE                                 150 CANTERBURY LN                                                                              PALM BEACH       FL    33480‐3601
CONSTANCE L BONNER                               203 WINDMILLE POINTE CT UNIT 2C                                                                ABINGDON         MD    21009‐3132
CONSTANCE L BOONE                                N12698 CARDINAL AVE                                                                            OWEN             WI    54460‐8249
CONSTANCE L CHRISTIAN                            7153 CATLIN RD                                                                                 MECHANICSVILLE   VA    23111‐1909
CONSTANCE L DICK                                 1019 EAST MARKET STREET                                                                        GEORGETOWN       DE    19947‐2227
CONSTANCE L DINNER & JEFFRY W DINNER JT TEN      2038 MAPLE GROVE RD                                                                            CHEBOYGAN        MI    49721‐9018
CONSTANCE L ELLIS                                PO BOX 20521                                                                                   DETROIT          MI    48221
CONSTANCE L ESSENMACHER                          4121 ALLEGHENY DR                                                                              TROY             MI    48085‐3641
CONSTANCE L GIST                                 6805 DARYLL DR                                                                                 FLINT            MI    48505‐1967
CONSTANCE L GLOVER                               1744 HICKORY BARK LN                                                                           NASHVILLE        TN    37211‐8585
CONSTANCE L GUERIN TR JEREMY A GUERIN TR UA      12118 CHANCERY STATION CIRCLE                                                                  RESTON           VA    20190‐5800
12/3/76
CONSTANCE L KASSON & CONSTANTINE D KASSON JT     755 ELM ST                                                                                     GLEN ELLYN       IL    60137
TEN
CONSTANCE L MCLAVEY                              1115 LEONARD                                                                                   MOUNTAIN HOME    AR    72653‐4833

CONSTANCE L MILES                                311 SPRING RD                                                                                  MILLINGTON       MD    21651‐1455
CONSTANCE L MILLER & JAMIE WILLIAM CARL JT TEN   437 W SCHLEIER ST #8                                                                           FRANKENMUTH      MI    48734‐1084

CONSTANCE L PRATT                               211 8TH ST                                                                                      FRANKLIN         PA    16323‐1140
CONSTANCE L RITTENBURY TR UA 01/12/93 CONSTANCE BOX 408                               11296 RUNYAN LAKE RD                                      FENTON           MI    48430‐2458
L RITTENBURY TRUST
CONSTANCE L ROACH                               11730 STRASBURG RD                                                                              ERIE             MI    48133‐9798
CONSTANCE L SHOEMAKER                           96 SENTRY DRIVE                                                                                 BRIDGETON        NJ    08302‐4128
CONSTANCE L TROTTIER                            4503 HAMLETS GROVE DR                                                                           SARASOTA         FL    34235‐2233
CONSTANCE L TURPIN CUST JANET C TURPIN UGMA NJ 2908 BENTE WAY                                                                                   VIRGINIA BCH     VA    23451‐1239

CONSTANCE L VANBELLEGHEM                         4181 BRIDGEPORT RD                                                                             SANTA MARIA      CA    93455‐3498
CONSTANCE L WELLMAN                              1352 N VAN VLEET RD                                                                            FLUSHING         MI    48433‐9732
CONSTANCE L WILLIAMS                             4601 S CO RD 500 EAST                                                                          PLAINFIELD       IN    46168‐8609
CONSTANCE LEE JERMAN                             20020 PACIFIC COAST HWY                                                                        MALIBU           CA    90265‐5422
CONSTANCE LOUISE WELLS & VICTOR J WELLS JT TEN   BOX 44                                                                                         NAPOLEON         MI    49261‐0044

CONSTANCE M BACH                                 6385 AIKEN RD                                                                                  LOCKPORT         NY    14094‐9618
CONSTANCE M BARNES                               1216 PAUL BLVD                                                                                 LAKE ORION       MI    48362
CONSTANCE M BAUER                                103 CHATHAM DR                                                                                 KETTERING        OH    45429‐1405
CONSTANCE M BETZ CUST JONATHAN HENDERSON         4811 CLEARWATER LN                                                                             NAPERVILLE       IL    60564‐5397
UTMA IL
CONSTANCE M BROTHERS                             3948 GREENCASTLE AVE SW                                                                        OXFORD           IA    52322‐9344
CONSTANCE M CHESMORE                             9 WILD FLOWER LANE                                                                             YARMOUTHPORT     MA    02675‐1474
CONSTANCE M CIRESI                               3261 ALPINE WARWAW RD                                                                          CINCINNATI       OH    45211
CONSTANCE M CIRESI & CHARLES M CIRESI JT TEN     3261 ALPINE                                                                                    CINCINNATI       OH    45211‐3528
CONSTANCE M DICKIE                               2458 GENA ANN LANE                                                                             FLINT            MI    48504‐6525
CONSTANCE M ELLSWOOD                             39291 AVONDALE                                                                                 WESTLAND         MI    48186‐3756
CONSTANCE M FEIGHTNER                            1617 HAYNES AVE                                                                                KOKOMO           IN    46901‐5238
CONSTANCE M FOSTER                               511 CROSSMAN STREET                                                                            WILLIAMSTON      MI    48895‐1521
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Name                                           Address1                           Address2               Address3         Address4          City            State Zip

CONSTANCE M FREY                               19 CAROLINE COURT                                                                            IOWA CITY       IA    52245‐5609
CONSTANCE M GARBUS                             404 HARTHORN COURT                 INDIAN HARBOR BEACH                                       SATELLITE BCH   FL    32937
CONSTANCE M LAADT TR UA 01/13/2010 CONSTANCE M 203 N KENILWORTH AVENUE UNIT 4F                                                              OAK PARK        IL    60302
LAADT REVOCABLE TRUST
CONSTANCE M LEWIS & CADRIENNE E LEWIS JT TEN   38821 GARDENSIDE DR                                                                          WILLOUGHBY      OH    44094‐7905

CONSTANCE M LITTLE                             32625 BOCK                                                                                   GARDEN CITY     MI    48135‐1266
CONSTANCE M MC GOWAN                           C/O NOREEN KEATING                 3551 LEXINGTON DRIVE                                      AUBURN HILLS    MI    48326‐3978
CONSTANCE M NORMAN                             1064 CRESCENT LK RD                                                                          WATERFORD       MI    48327‐2408
CONSTANCE M PELTIER                            130 CHURCH                                                                                   MT CLEMENS      MI    48043‐2214
CONSTANCE M POTTER                             401 DORRANCE ST                                                                              BRISTOL         PA    19007‐3902
CONSTANCE M ROMANINI                           6702 KAREN DR                                                                                SEVEN HILLS     OH    44131‐3711
CONSTANCE M SARTORIO                           2001 WILLOW BROOK DR NE                                                                      WARREN          OH    44483‐4656
CONSTANCE M SCIABUCCHI                         177 LEWIS ST                                                                                 PITTSTON        PA    18640‐3453
CONSTANCE M TOOLE                              177 LEWIS ST                                                                                 PITTSTON        PA    18640‐3453
CONSTANCE M WEIGLE & SUSANNE A BRZAKOWSKI JT   970 E M‐55                                                                                   WEST BRANCH     MI    48661‐9036
TEN
CONSTANCE M WRIGHT                             6682 W 600 N                                                                                 FRANKTON        IN    46044‐9545
CONSTANCE MABELLE WEEKS                        327 34TH AVE NORTH                 APT 204                                                   ST PETERSBURG   FL    33704‐1352
CONSTANCE MAE GERRARD                          417‐1ST ST SE                                                                                WASH            DC    20003‐1827
CONSTANCE MARTIN                               10515 FORBES AVE                                                                             GRANADA HILLS   CA    91344‐6306
CONSTANCE MARTYNUSKA                           16205 MUNN RD                                                                                CLEVELAND       OH    44111‐2010
CONSTANCE MCGILLICUDDY                         HILL TOP PL                                                                                  RYE             NY    10580
CONSTANCE MEURER WOOD                          4550 S CALAROGA DR                                                                           WEST LINN       OR    97068‐1021
CONSTANCE MEYER                                4 MEDWELL LN                                                                                 WESTPORT        CT    06880‐5116
CONSTANCE MODRCIN                              HCR 77 BOX 321‐1                                                                             SUNRISE BEACH   MO    65079‐9208
CONSTANCE MOISA                                PO BOX 815                         WESTVIEW DRIVE                                            MATTITUCK       NY    11952‐0815
CONSTANCE O HARDING                            111 WARRENVILLE ROAD                                                                         GREEN BROOK     NJ    08812‐2328
CONSTANCE O HOPSON                             348 SOUTHEND ROAD                                                                            KNOTTS ISLAND   NC    27950‐9635
CONSTANCE OTTER SMITH                          336 E 300 N                                                                                  ANDERSON        IN    46012‐1208
CONSTANCE P COULOPOULOS                        6 SHAW RD                                                                                    BELMONT         MA    02478
CONSTANCE P FRANCIS                            5148 EDENHURST ROAD                                                                          LYNDHURST       OH    44124‐1217
CONSTANCE P KAPPAS                             5480 PHILLIPS RICE RD                                                                        CORTLAND        OH    44410‐9675
CONSTANCE P MEECH                              629 HICKORY LANE                                                                             ST LOUIS        MO    63131‐4712
CONSTANCE P PERRY                              3112 PARADISE TRAIL                                                                          OXFORD          MI    48371
CONSTANCE PALMER                               5705 WILLOW CREEK LN                                                                         DELRAY BEACH    FL    33484‐6929
CONSTANCE PANZERI                              CORSO GALILEO GALILEI 34           TORINO                                  10126 ITALY
CONSTANCE POWELL                               12961 WOODMONT AV                                                                            DETROIT         MI    48227‐1217
CONSTANCE Q DOW EX UW MARY R QUIRK             2886 SANDERS CT                                                                              MELBOURNE       FL    32935‐4566
CONSTANCE R AXT                                7321 CAMPBELL RD                                                                             DALLAS          TX    75248‐1630
CONSTANCE R BLANCHARD                          8700 CARSON CITY RD                                                                          CARSON CITY     MI    48811‐9553
CONSTANCE R BLOMGREN                           1116 MAYFAIR PL                                                                              ROCKFORD        IL    61107‐3651
CONSTANCE R BOBROSKI                           2141 PONTICELLO DR                                                                           HENDERSON       NV    89052
CONSTANCE R LEITNAKER                          7079 OLD MILLERSPORT ROAD                                                                    BALTIMORE       OH    43105‐9734
CONSTANCE R MILLER                             185 MARLBOROUGH RD                                                                           ROCHESTER       NY    14619‐1409
CONSTANCE R MONNIN & LOUIS E MONNIN JT TEN     5639 MARKEY ROAD                                                                             DAYTON          OH    45415‐3446

CONSTANCE R OSBORN & WAYNE R WITHERS JT TEN    9347 STATE RD                                                                                MILLINGTON      MI    48746‐9426

CONSTANCE R SANDERS                            55 EARLMOOR BLVD                                                                             PONTIAC         MI    48341‐2817
CONSTANCE REID COLLEY                          318 KNIPP RD                                                                                 HOUSTON         TX    77024‐5023
CONSTANCE RHEA WILSON CONSERVATOR FOR ELLEN    3601 E COOLIDGE ST                                                                           PHOENIX         AZ    85018‐3513
ALEGRA WILSON
CONSTANCE RHEA WILSON CONSERVATOR FOR HELEN    3601 E COOLIDGE ST                                                                           PHOENIX         AZ    85018‐3513
ANGELA WILSON
CONSTANCE RHEA WILSON CONSERVATOR FOR JOHN     3601 E COOLIDGE ST                                                                           PHOENIX         AZ    85018‐3513
KENNETH WILSON
CONSTANCE RIVERS WIMBERLEY                     2619 TANGLEWOOD LANE                                                                         CHARLOTTE       NC    28211‐1644
CONSTANCE ROGE DUPLESSIS                       1609 DUNDEE WAY                                                                              LOUISVILLE      KY    40205‐2469
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CONSTANCE ROSE                                     565 E BEECH ST                                                                                                     LONG BEACH      NY    11561‐3717
CONSTANCE RUTH EATON                               10730 COUNTY FARM                                                                                                  PARMA           MI    49269‐9751
CONSTANCE S CONLON                                 56 CONLON RD                                                                                                       LANSING         NY    14882‐9008
CONSTANCE S DAVIS                                  130 LEE'S OVERLOOK                                                                                                 FAYETTEVILLE    GA    30214‐3527
CONSTANCE S EATON                                  6 ABINGTON RD                                                                                                      DANVERS         MA    01923‐3663
CONSTANCE S NEUMANN                                14430 RUE DE GASCONY CT                                                                                            BALLWIN         MO    63011
CONSTANCE S RAMSEY                                 12 SUPAWNA RD                                                                                                      PENNSVILLE      NJ    08070‐9612
CONSTANCE S RAMSEY                                 12 SUPAWNA ROAD                                                                                                    PENNSVILLE      NJ    08070‐9612
CONSTANCE S WAGSTER GOENAGA                        951 W ORANGE GROVE RD 30204                                                                                        TUCSON          AZ    85704‐4032
CONSTANCE S WILLIAMS                               5856 CALLOWAY CIR                                                                                                  YOUNGSTOWN      OH    44515‐4198
CONSTANCE SAUVE                                    4912 HEPBURN                                                                                                       SAGINAW         MI    48603‐2927
CONSTANCE SCHROEDER & GERALD SCHROEDER JT TEN      3507 S SCOVILLE AVE                                                                                                BERWYN          IL    60402‐3854

CONSTANCE SCHWINGHAMER                             7314 MARTHA DR                                                                                                     HUNTSVILLE      AL    35802‐2414
CONSTANCE SCIOLI                                   160 HOWE ST                                                                                                        MARLBORO        MA    01752‐2866
CONSTANCE SEMANIC                                  15741 REVINIA AVE                     UNIT 2E                                                                      ORLAND PARK     IL    60462‐4567
CONSTANCE STURGIS WHITE                            7065 WICK LN                          APT 307                                                                      CHAGRIN FALLS   OH    44023‐1176
CONSTANCE SULLIVAN                                 96 LINCOLN PK RD                                                                                                   PEQUANNOCK      NJ    07440‐1546
CONSTANCE T AEBERSOLD                              241 HIDE‐A‐WAY LN E                                                                                                LINDALE         TX    75771‐5027
CONSTANCE T HODGE & TED J HODGE JT TEN             1484 WATCH HILL DRIVE                                                                                              FLINT           MI    48507‐5661
CONSTANCE T RANDAZZO                               4015 HIGHGATE DR                                                                                                   VALRICO         FL    33594‐5311
CONSTANCE TITKA                                    21 SOUTH TERRACE                                                                                                   FISHKILL        NY    12524‐2412
CONSTANCE V MATTSON                                2921 CUMBERLAND BLVD                                                                                               CAMP HILL       PA    17011‐2821
CONSTANCE V POWER                                  EDGEMERE APT 1105                     8523 THACKERY                                                                DALLAS          TX    75225‐3909
CONSTANCE V RAMEY                                  2487 WINSHIRE DRIVE                                                                                                DECATUR         GA    30035‐4227
CONSTANCE W CHOW                                   6787 MCALPINE ST                                                                                                   LYONS FALLS     NY    13368
CONSTANCE W MAYNOR                                 4501 BRANDON LANE                                                                                                  BELTSVILLE      MD    20705‐2602
CONSTANCE WALK                                     1732 DEEPWOOD CIRCLE                                                                                               ROCHESTER       MI    48307
CONSTANCE ZOLA                                     3756 CALIFORNIA AVE                                                                                                PITTSBURGH      PA    15212‐1860
CONSTANT F SKALUBA                                 332 STAFFORD AVE                                                                                                   SCRANTON        PA    18505
CONSTANT H HAUSBECK                                988 GERMAN RD                                                                                                      BAY CITY        MI    48708‐9642
CONSTANTIN A PAPADOPOULOS                          511 FOUR SEASONS DR                                                                                                WAYNE           NJ    07470
CONSTANTIN J ZEFFERYS                              9136 HAAS DR                                                                                                       HUDSON          FL    34669‐1844
CONSTANTIN KOSMAS                                  7300 GATES ROAD                                                                                                    JAMESVILLE      NY    13078‐9633
CONSTANTINE C BARANOFF & SERGEI C BARANOFF JT      640 BRYTE AVE                                                                                                      W SACRAMENTO    CA    95605‐1805
TEN
CONSTANTINE J HARVALIS                             1430 W STONEHENGE DR                                                                                               SYCAMORE        IL    60178‐2647
CONSTANTINE KYTHAS                                 1218 POINSETT HIGHWAY                                                                                              GREENVILLE      SC    29609‐3630
CONSTANTINE RALLIS                                 150TH PL                                                                                                           FLUSHING        NY    11354
CONSTANTINE T VALIS II                             105 LOOKOUT PT                                                                                                     ZEBULON         NC    27597‐9318
CONSTANTINE V PAPOUTSIS                            541 IRVINGTON RD                                                                                                   DREXEL HILL     PA    19026‐1322
CONSTANTINO DASILVA CUST ALAN ROBERT DASILVA       60 LAFAYETTE DR                                                                                                    BRISTOL         RI    02809‐5013
UGMA RI
CONSTANTINO L DEMOS                                C/O SALVADOR LAMBROS                  PRADO DE LOS LAURELES   270 COL PRADOS TEPEYAC   ZAPOPAN JALISCO C P 45050
                                                                                                                                          MEXICO
CONSTANTINO SCARINCI & STELLA SCARINCI JT TEN      21 HAROLD STREET                                                                                                   NANUET          NY    10954‐3749

CONSTANTINOS A PETROS                              5245 SNOWDEN DRIVE                                                                                                 TOLEDO          OH    43623
CONSTANTINOS A PHILLIPS & JEAN M PHILLIPS JT TEN   58 EUGENE BLVD                                                                                                     S AMBOY         NJ    08879‐1969

CONSTANTINOS KYTHREOTIS                            DIMONIKOU 10 FLAT 401                 AGIOI OMOLOGITES        1086 NICOSIA             CYPRUS
CONSTANTINOS M LOUKAS CUST ANTONIOS C LOUKAS       487 BROWNS RD                                                                                                      MANSFIELD       CT    06268‐2703
UTMA CT
CONSTINE SCHOLL                                    412 N 1ST ST                                                                                                       BISMARCK        ND    58501‐3815
CONSUELA M LITZA                                   503 BEAR LAKE LANE                                                                                                 HATLEY          WI    54440‐9411
CONSUELLA J BOSWELL                                5024 8TH B ST E                                                                                                    BRADENTON       FL    34203‐4619
CONSUELLA WILLIAMS                                 1282 ARROWHEAD DR                                                                                                  BURTON          MI    48509‐1424
CONSUELO BLIESZE                                   1034 WARNER AVE                                                                                                    LEMONT          IL    60439‐4254
CONSUELO CALDERON                                  9976 VENA AVE                                                                                                      ARLETA          CA    91331‐4547
                                           09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
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CONSUELO MENDOZA GONZALEZ                       5530 KATHERINE CT                                                                                    SAGINAW         MI    48603‐3623
CONSUELO SANCHEZ                                BOX 121                               4515 GRAHAM ROAD                                               HARLINGEN       TX    78552‐2006
CONSUELO TY ANCOG                               20391 MANSARD LN                                                                                     HUNTINGON BEACH CA    92646‐5136

CONTINENTAL AMERICAN INSURANCE CO               55 SOUTH STATE AVE                                                                                   INDIANAPOLIS    IN    46201‐3876
CONTINENTAL TRAFFIC SERVICE INCORPORATED        CLARK TOWER                           5100 POPLAR 15TH FLOOR                                         MEMPHIS         TN    38137‐5015
CONWAY ELLIS                                    2213 CLEMENT                                                                                         FLINT           MI    48504
CONWAY LONGSON                                  2706 E MICHIGAN AVE                                                                                  LANSING         MI    48912‐4015
CONWAY T MAGEE & JOYCE A MAGEE JT TEN           4263 WEST AVE                                                                                        ELBA            NY    14058
COOLIDGE W ISBELL                               843 BROOKLINE RD                                                                                     GARDENDALE      AL    35071‐4693
COOPER MEHLHOFF                                 BOX 19204                                                                                            SACRAMENTO      CA    95819‐0204
COOPER P REDMOND                                822 CONOWINGO CIR                                                                                    OXFORD          PA    19363‐1490
COOPER R MC QUILKIN                             6433 MARTINSBURG PIKE                                                                                SHEPHERDSTOWN   WV    25443‐4658

COOPER W DELOACH JR                             1701 GREENSPRING DR                                                                                  LUTHERVILLE     MD    21093‐4909
COOROS JIMMIE KHAVARIAN                         17 SUNRISE CIR                                                                                       HOLMDEL         NJ    07733‐1114
COPLEY OPERATING INC                            C/O SAUNDERS PRES BILL KELLY          CONTROLLER               47 HUNTINGTON AVE                     BOSTON          MA    02116‐5732
CORA A DELANO & CHARLES RICHARD DELANO JT TEN   290 BENJAMIN DR                       APT 12                                                         YPSILANTI       MI    48198‐3098

CORA A WILLIAMS                                 645 BERG AVE                                                                                         TRENTON         NJ    08610‐5005
CORA BELL BREWER                                5869 BASSWOOD DR                                                                                     LORAIN          OH    44053‐3703
CORA CRANFORD ALMOND                            32086 CANTON RD                                                                                      ALBEMARLE       NC    28001‐8055
CORA DAVIS & CAROL DAVIS ST CLAIR JT TEN        RR 2 BOX 2604                                                                                        FACTORYVILLE    PA    18419‐9305
CORA DIEPSTRA                                   1515 LOGAN SE                                                                                        GRAND RAPIDS    MI    49506‐2708
CORA DUDLEY                                     1291 PEACHTREE DRIVE                                                                                 MOUNT MORRIS    MI    48458‐2846
CORA E BUDDEN & RICHARD BUDDEN JT TEN           5076 POTOMAC DR                                                                                      ROCKFORD        IL    61107‐2430
CORA E COULTER                                  625 E MCCLELLAN ST                                                                                   FLINT           MI    48505‐4262
CORA E MC ADAM                                  152 TREMONT STREET                                                                                   MANSFIELD       MA    02048‐1718
CORA E MOORE                                    1842 S R 534 N W                                                                                     SOUTHINGTON     OH    44470‐9525
CORA E ROBERTS & TINA SPECK JT TEN              26724 OAK                                                                                            ROSEVILLE       MI    48066‐3564
CORA F DAVIS                                    PO BOX 163                                                                                           VANDALIA        MI    49095‐0163
CORA F HERSHEY                                  11468 NORTH ST RD 37                                                                                 ELWOOD          IN    46036‐9020
CORA FULTON                                     5800 FENWICK ROAD                                                                                    BRYANS ROAD     MD    20616‐3136
CORA GEISEL & PATRICIA GEISEL JT TEN            RR 1 BOX 3547                                                                                        PITTSFIELD      NH    03263‐9138
CORA H DOUGLAS                                  106 MEADOW ROAD                                                                                      EAST            MA    01028‐1339
                                                                                                                                                     LONGMEADOW
CORA HALL RILEY                                  BOX 53                                                                                              SULPHUR SPG     IN    47388‐0053
CORA J BRIDGES                                   15863 WISCONSIN                                                                                     DETROIT         MI    48238‐1121
CORA J METCALF TR CORA J METCALF REVOCABLE TRUST 13018 MORNINGSIDE LANE                                                                              SILVER SPRING   MD    20904‐3156
UA 11/17/97
CORA JEAN STARR                                  902 FAULKNER ST                                                                                     NEW SMYRNA      FL    32168‐6203
                                                                                                                                                     BEACH
CORA K MCCARTY                                  4712 BROOKWOOD NE                                                                                    ALBUQUERQUE     NM    87109‐2806
CORA K SAY & CALVIN SAY TEN ENT                 1822 10TH AVE                                                                                        HONOLULU        HI    96816‐2908
CORA L BOZMAN CUST ABBY BOZMAN UTMA MD          6011 KEMPTON CIR                                                                                     SALISBURY       MD    21801‐1821
CORA L BOZMAN CUST ROBERT W BOZMAN IV UTMA      6011 KEMPTON CIR                                                                                     SALISBURY       MD    21801‐1821
MD
CORA L BUTLER                                   19241 LYNDON                                                                                         DETROIT         MI    48223‐2254
CORA L GORDON                                   10702 LEE AVE                                                                                        CLEVELAND       OH    44106‐1231
CORA L JACKSON                                  7805 DAYTON LIBERTY ROAD                                                                             DAYTON          OH    45418
CORA L LEMEN                                    204 N TALAMORE AVE                                                                                   YORKTOWN        IN    47396‐9361
CORA L MCCLURE & MARYMARTHA I MCCLURE JT TEN    1326 SANTA BARBARA                                                                                   MOUNT MORRIS    MI    48458‐1323

CORA L MUNSEY & KENDRIC RICHARD MUNSEY JT TEN   252 CODFISH HILL ROAD                                                                                CANAAN          NH    03741‐7421

CORA L RICHARDSON                               570 LAKE SHORE DR                                                                                    MONTICELLO      GA    31064‐3414
CORA L SNYDER                                   1520 SUNSET PLAZA                                                                                    SANDUSKY        OH    44870‐6267
CORA L STEVENS                                  856 E 3RD ST                                                                                         XENIA           OH    45385‐3343
CORA M AMADOR                                   12937 FALCON PLACE                                                                                   CHINO           CA    91710‐3807
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CORA M BAILOR & PAUL L BAILOR & GARY L BAILOR & 855 W JEFFERSON #143                                                                           GRAND LEDGE        MI    48837‐6400
GORDON E BAILOR &
CORA MARIE HYSO                                 804 W 1ST ST                                                                                   ALBANY             IN    47320‐1504
CORA N SIDWELL                                  433 GOLDEN GATE AVE                                                                            RICHMOND           CA    94801
CORA S DAVIS                                    2297 OLD HIGHWAY 68                                                                            SWEETWATER         TN    37874‐6547
CORA S MARSHALL                                 6219 APACHE CT                                                                                 INDIANAPOLIS       IN    46254‐1971
CORA S TRICE                                    4248 SUNSET AVENUE                                                                             INDIANAPOLIS       IN    46208‐3766
CORA T SHRUM                                    3 MILL BRIDGE DR                                                                               SAINT PETERS       MO    63376‐7005
CORA VIRGINIA STIFF                             11328 WOODBRIDGE DR                                                                            GRAND BLANC        MI    48439‐1023
CORAINE P MC ARTHUR                             514 KENILWORTH AVE                                                                             KENILWORTH         IL    60043‐1026
CORAL A CURELL                                  380 HUNTER RD                                                                                  JEFFERSON          GA    30549‐5042
CORAL C GOSNELL                                 24 POWER HORN RD                                                                               NORWALK            CT    06851
CORAL E CHAPMAN                                 276 CHESTNUT ST                                                                                PAINESVILLE        OH    44077‐2719
CORALENE K ROBINSON                             193 ROUND HILL RD                                                                              BRISTOL            CT    06010‐2645
CORALIE E MAGOON                                1015 MAIN STREET                                                                               COLCHESTER         VT    05446‐1161
CORALIE STOUSE ATKINSON                         PO BOX 436                                                                                     TRUCHAS            NM    87578‐0436
CORALMAE STENSTROM TR CORALMAE STENSTROM        1444 ROSEWOOD CRT                                                                              NEW BRIGHTON       MN    55112
REVOCABLE TRUST UA 10/28/97
CORAM ACUFF STINER                              3566 BROCK DR                                                                                  TOLEDO             OH    43623‐1306
CORAZON C ODUCADO                               39 HORSESHOE DR                      WHITBY ON                               L1N 8G1 CANADA
CORAZON R MARSIK                                4304 RAMBLING CREEK COURT                                                                      ARLINGTON          TX    76016
CORBETT D CLARK                                 PO BOX 693                                                                                     DOVER              TN    37058‐0693
CORBETT N CASTLE                                4421 ARDONNA LANE                                                                              DAYTON             OH    45432‐1809
CORBETT R SMITH                                 2038 TRIPP ROAD                                                                                WOODSTOCK          GA    30188‐1920
CORBETT THORNTON                                1609 DERBY LN SE                                                                               OLYMPIA            WA    98501‐6895
CORBID TACKETT                                  8350 GROGER RD                                                                                 ONSTED             MI    49265‐9548
CORBIN J GILLIAM                                12920 PERCIVAL RD                                                                              WALTON             KY    41094‐8785
CORBIN R IMAI                                   1029 CORVETTE DRIVE                                                                            SAN JOSE           CA    95129‐2904
CORBIN REAM & ALICE H REAM JT TEN               620 DEER RUN BLVD                                                                              PRUDENVILLE        MI    48651‐9551
CORBIN STONE                                    1620 BOXWOOD                                                                                   BLACKSBURG         VA    24060
CORBIT COLLINS & MRS INEZ M COLLINS JT TEN      536 BRICK MILL RD                                                                              MIDDLETOWN         DE    19709‐8956
CORBITT D SIGMON                                1124 N TOWNE COMMONS BLVD                                                                      FENTON             MI    48430‐2690
CORBY CASLER DICKSON                            794 BIG TREE DR NW                                                                             ISSAQUAH           WA    98027‐5616
CORDA H PULLINS TR CORDA H PULLINS TRUST UA     500 HILLCLIFF DR                                                                               WATERFORD          MI    48328‐2518
10/19/94
CORDELIA E HAYES & DOROTHY HAYES HOFFMAN JT TEN 965 LATERN LANE                                                                                VERO BEACH         FL    32963

CORDELIA H BROWN & PHILLIP S BROWN & BEVERLY E   1365 JOLIET                                                                                   DETROIT            MI    48207‐2833
BROWN JT TEN
CORDELIA M FIGG                                  3561 LA MANNA                                                                                 STERLING HEIGHTS   MI    48310‐6147

CORDELIA MACKLIN                                 12953 MONTBATTEN CT                                                                           STERLING HTS       MI    48313‐4149
CORDELL A KRAUSS CUST NATALIE B KRAUSS UGMA MI   4952 SHADY OAK DR                                                                             HILLIARD           OH    43026‐9349

CORDELL A KRAUSS CUST NICHOLAS A KRAUSS UGMA MI 4952 SHADY OAK DR                                                                              HILLIARD           OH    43026‐9349

CORDELL SELBY                                711 W 38TH ST                                                                                     ANDERSON           IN    46013‐4025
CORDELL SPURLIN JR                           9081 S DRY RUN RD                                                                                 LEAVENWORTH        IN    47137‐8300
CORDIA W NEELY                               2701 WINCHESTER DR                                                                                SELLERSBURG        IN    47172‐9104
COREANE SCARBER & JEROME SCARBER JT TEN      14655 INDIANA                                                                                     DETROIT            MI    48238‐1772
COREANE SCARBER & JEROME SCARBER JT TEN      14655 INDIANA                                                                                     DETROIT            MI    48238‐1772
COREEN NOWAK OSUCHA                          211 COUNTY LINE RD                                                                                ALDEN              NY    14004‐9101
CORENE ABERNATHY                             PO BOX 224                                                                                        CRESCENT           OK    73028‐0224
CORENE E MURPHY                              140 CARVER LOOP APT 4G                                                                            BRONX              NY    10475‐2967
CORENE HENAGE CUST CAMERON LOUIS HENAGE UTMA 7207 S GARRISON CT                                                                                LITTLETON          CO    80128‐4106
CO
CORENE WILLIAMS                              PO BOX 54953                                                                                      OKLAHOMA CITY      OK    73154‐1953
COREY A POWELL & DEBRA L PIORNACK JT TEN     899 ANDOVER WOODS                                                                                 FENTON             MI    48430‐4131
COREY C ANDERSON                             4655 LA ESPADA                                                                                    SANTA BARBARA      CA    93111‐1301
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COREY COLE LINTHICUM                             15201 CLEAR SPRING RD                                                                           WILLIAMSPORT     MD    21795‐3060
COREY E ROWE                                     707 KELLY DR                                                                                    LEBANON          TN    37087‐9078
COREY J SANGSTER                                 1008 12TH ST NE                                                                                 EAST WENATCHEE   WA    98802‐4500
COREY J WONG                                     958 PACIFIC AVE                                                                                 SAN FRANCISCO    CA    94133‐4227
COREY L GRAHAM                                   65706 STATE ROAD 15                                                                             GOSHEN           IN    46526‐5481
COREY LARSEN CUST JACOB CHRISTOPHER LARSEN       6913 S PRESCOTT ST                                                                              LITTLETON        CO    80120‐3624
UTMA CO
COREY M TURNQUIST & STACEE JO TURNQUIST JT TEN   W1725 DOVE RD                                                                                   LOYAL            WI    54446‐9607

COREY PORCH & JUDITH SUE PORCH JT TEN            301 EAST 16TH ST                                                                                RUPERT           ID    83350‐1104
COREY SAMUEL FRIEDMAN                            5327 GROVEMONT DR                                                                               ELKRIDGE         MD    21075‐5564
COREY T JOSEPH                                   7139 FM 565 S                                                                                   BAYTOWN          TX    77520
COREY T KURICA                                   15 HODGSON LN                                                                                   BEACH HAVEN      NJ    08008‐4055
CORI SUEANNE CASEY                               5842 DOVER LN                                                                                   TRAVERSE CITY    MI    49684‐8011
CORIENA E HAYNES                                 1571 BERKLEY DR                                                                                 HOLT             MI    48842‐1878
CORIENE PARSON                                   1227 HEMLOCK DRIVE                                                                              FAIRBORN         OH    45324‐3641
CORINA SANCHEZ                                   1663 S COLE DR                                                                                  HIGLEY           AZ    85236‐4816
CORINDA L COTTOM                                 1542 HUNTSHIRE DR                                                                               HOLT             MI    48842‐2020
CORINE B FITCHETT                                341 FAIRWOOD DR                                                                                 RICHMOND         VA    23235‐5111
CORINE J PERU                                    260 PATTINGHILL                                                                                 WESTLAND         MI    48185
CORINE M WOODY                                   PO BOX 681 GENERAL DLY                                                                          CHIMAYO          NM    87522‐0681
CORINE PICKETT                                   15458 APPOLINE                                                                                  DETROIT          MI    48227‐4008
CORINNA J JARRETT                                818 E LAKESHORE CV                                                                              JONESBORO        AR    72401‐4378
CORINNE A GRISWOLD TOD JOHN J CRISWOLD SUBJECT   3609 SOUTH 95TH STREET                                                                          MILWAUKEE        WI    53228‐1407
TO STA TOD RULES
CORINNE A MILLER                                 204 WELLS AVE W                                                                                 NORTH SYRACUSE   NY    13212‐2244
CORINNE ANN JOHNSON & ANNA MARIE JOHNSON JT      5005 17TH ROAD                                                                                  ESCARABA         MI    49829‐9428
TEN
CORINNE C BREWER                                 161 SCATACOOK LN                                                                                SOUTHBURY        CT    06488‐1021
CORINNE C KLIKOWICZ                              136 NAVARRE RD                                                                                  ROCHESTER        NY    14621‐1025
CORINNE D MINHINNICK                             4345 MEIGS AVE                        STE A1                                                    WATERFORD        MI    48329‐1877
CORINNE E CALLAHAN & EUGENE H CALLAHAN JT TEN    8100 HALTON RD                                                                                  TOWSON           MD    21204‐1817

CORINNE E MACHEN                                 11916 GROVEDALE DR                                                                              WHITTIER         CA    90604‐3752
CORINNE G WARNICA                                507 HAMPTON HEIGHT LANE                                                                         FRANKLIN         TN    37064‐5334
CORINNE G WARNICA CUST NANCY L WARNICA UGMA      507 HAMPTON HEIGHT LN                                                                           FRANKLIN         TN    37064‐5334
MI
CORINNE GUDDAL                                   4465 VICKSBURG LANE                                                                             PLYMOUTH         MN    55446‐2509
CORINNE J GROUTEN & PAMELA JOY BROWN JT TEN      4615 S PERRY ST                                                                                 SPOKANE          WA    99223‐6334

CORINNE KRAFT                                    64 MARTA RD                                                                                     DEBARY           FL    32713‐3112
CORINNE L HAGERMAN                               39 BURGESS STREET                     CARLETON PLACE ON                       K7C 4E1 CANADA
CORINNE L KURICA CUST CORINNE C KURICA UGMA NJ   316 NORWOOD AVE                                                                                 BEACH HAVEN      NJ    08008‐1558

CORINNE L POST                                   15 AGATE RD                                                                                     EAST BRUNSWICK   NJ    08816‐1301
CORINNE M BENT                                   10162 VANCOUVER ROAD                                                                            SPRING HILL      FL    34608‐6576
CORINNE M ROME                                   3103 WILLOW POND DR                                                                             RIVERHEAD        NY    11901‐7207
CORINNE MARCUS                                   180 EAST END AVE                                                                                NEW YORK         NY    10028‐1317
CORINNE R RIDOLPHI                               1011 ISLAND PARK DRIVE                                                                          MEMPHIS          TN    38103‐8865
CORINNE ROSEN & PHYLLIS LIBBIN JT TEN            640 BALLANTRAE                                                                                  NORTHBROOK       IL    60062‐2775
CORINNE SHIRLEY ROSS                             PO BOX 911                                                                                      YORK HARBOR      ME    03911‐0911
CORINTHIA SCOTT                                  2801 HADDINGTON TRCE                                                                            DACULA           GA    30019‐1721
CORKY R SMITH & HELEN M SMITH JT TEN             9601 E CATALINA DR                                                                              PRESCOTT VLY     AZ    86314‐7605
CORLANA J MCCARTNEY CUST WILLIAM J WARD UTMA     11668A NORTHERN BLVD                                                                            WATERTOWN        NY    13603‐3137
TN
CORLISS A SPRAGUE                                2651 WILLOW LANE                                                                                HIGHLAND         MI    48356‐2242
CORLYN F SMITH & PATRICIA S SANDERS JT TEN       154 HIGHLAND AVE                                                                                ROCHESTER        MI    48307‐1511
CORN 4‐H CLUB                                    C/O SANDY MCCLURE                     3052 ISIM RD                                              NORMAN           OK    73026‐8623
CORNEILIOUS K BUNDY JR                           10240 AGAVE ROAD                                                                                JACKSONVILLE     FL    32246‐8622
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CORNEL BONCA                                    2534 CORNERSTONE LN                                                                             COSTA MESA       CA    92626‐6794
CORNEL IONEL                                    21890 CASS ST                                                                                   FARMINGTN HLS    MI    48335‐4740
CORNEL PARKER & GERRIE B PARKER JT TEN          109 CHIEFTIAN WAY                                                                               GADSDEN          AL    35903‐3615
CORNELIA A COMEDY                               1996 GREENWAY N                                                                                 COLUMBUS         OH    43219‐2916
CORNELIA A DRUMM                                551 COUNTY RD 2909                                                                              HUGHES SPRINGS   TX    75656‐5403
CORNELIA A WALKER                               16969 E STATE ROUTE 114                                                                         MOMENCE          IL    60954‐3815
CORNELIA B COLIANO                              1113 PEACHTREE RD                                                                               FALLSTON         MD    21047‐1901
CORNELIA B COLLINS                              7775 E MARQUISE DR                                                                              TUCSON           AZ    85715‐3777
CORNELIA BALOGH & CORNELIA O BALOGH JT TEN      303 GRAND AVE                                                                                   SOUTH PASADENA   CA    91030‐1632

CORNELIA C BORELLI                              231 HIGHLAND ST                                                                                 WALLINGFORD      CT    06492‐2134
CORNELIA COMEDY                                 1996 GREENWAY AVE N                                                                             COLUMBUS         OH    43219‐2916
CORNELIA D COOPER                               PO BOX 183                                                                                      SOMERSET         KY    42502‐0183
CORNELIA E COLEMAN                              8912 ROCKY CREEK DR                                                                             TAMPA            FL    33615‐4308
CORNELIA G ZELENUK                              1104 COKE DRIVE                                                                                 ARLINGTON        TX    76010‐1908
CORNELIA J BOS                                  9550 OAK STREET APT 703                                                                         BELLFLOWER       CA    90706‐5235
CORNELIA J MINCKS                               120 YORKSHIRE DRIVE                                                                             WILLIAMSBURG     VA    23185‐3983
CORNELIA L RHODES                               626 GRANADA                                                                                     PONTIAC          MI    48342‐1730
CORNELIA L RHODES & PAUL L ROSS JR & DARRELL D  626 GRANADA DR                                                                                  PONTIAC          MI    48342‐1730
RHODES JT TEN
CORNELIA LYA PECKMAN                            3Q SPARTA ROAD                                                                                  SHORT HILLS      NJ    07078‐1330
CORNELIA M WALKER & WINFIELD J WALKER & KARIN W 121 TALMEDA TRAIL                                                                               MAITLAND         FL    32751‐4869
BRUCE JT TEN
CORNELIA MADELINE YOUNG                         10727 LOCUST CT                                                                                 CARMEL           CA    93923‐8048
CORNELIA OCONNOR                                2 STONY FARM LANE                                                                               BROOKFIELD       CT    06804‐3971
CORNELIA R PETERSON                             309 CHAPPLE AVE                     APT 5                                                       ASHLAND          WI    54806‐1446
CORNELIA S EICHOLTZ                             11 MAJOR STREET                     DONCASTER EAST       MELBOURNE VICTORIA   3109 AUSTRALIA
CORNELIOUS MARTIN                               482 THORS                                                                                       PONTIAC          MI    48342‐1967
CORNELIUS A BENSON & MRS MARILYN H BENSON JT    539 WILDCAT CREEK LN                                                                            NEW HAVEN        MO    63068‐2251
TEN
CORNELIUS B COUGHLAN                            235 W 22ND ST APT 3G                                                                            NEW YORK         NY    10011‐2759
CORNELIUS BRAAT                                 27 FLOYD ST SW                                                                                  WYOMING          MI    49548‐3119
CORNELIUS BRAAT & LORRAINE D BRAAT JT TEN       27 FLOYD ST SW                                                                                  GRAND RAPIDS     MI    49548‐3119
CORNELIUS BROSNAN TR MARY C BROSNAN FAMILY      BOX 60334                                                                                       WORCESTER        MA    01606‐0334
TRUST UA 04/15/02
CORNELIUS BROWN JR                              16041 PEBBLEWOOD ST                                                                             DUMFRIES         VA    22026‐1246
CORNELIUS BROWN JR                              17751 SPRINGFIELD AVE                                                                           CNTRY CLB HLS    IL    60478‐4848
CORNELIUS C CROSLEY & THERESA CROSLEY JT TEN    13 NORGE AVE                                                                                    NANUET           NY    10954‐1726

CORNELIUS C FOXWELL                             12 SECRETARIAT CIR                                                                              MEDIA            PA    19063‐5261
CORNELIUS C JOHNSON JR                          2030 WILLISTON RD                                                                               AIKEN            SC    29803‐2325
CORNELIUS COOPER                                141 E HENRY ST                                                                                  RIVER ROUGE      MI    48218‐1633
CORNELIUS D JUPREE                              609 W ALMA                                                                                      FLINT            MI    48505‐2021
CORNELIUS DE KOKER                              32932 OUTLAND TRAIL                                                                             BINGHAM FARMS    MI    48025
CORNELIUS E NICELY                              143 POWELL VALLEY SHORES                                                                        SPEEDWELL        TN    37870‐9802
CORNELIUS F DELESTON                            26 PETERSON PL                                                                                  BEAR             DE    19701‐3082
CORNELIUS FRANCIS ROCHE JR                      6165 CASE AVE                                                                                   GRAND BLANC      MI    48439‐8153
CORNELIUS FRENCH                                22 GUNNING LN                                                                                   LANGHORNE        PA    19047‐8513
CORNELIUS G VAN WILLIGAN                        31631 PASEO DON JOSE                                                                            SAN JUAN         CA    92675‐3018
                                                                                                                                                CAPISTRANO
CORNELIUS GEELHOED                              3308 FALLASBURG PK DR                                                                           LOWELL           MI    49331‐9717
CORNELIUS GIVENS                                111 PRISCILLA DR                                                                                LINCROFT         NJ    07738‐1239
CORNELIUS GRIFFIN                               35927 CANYON DR                                                                                 WESTLAND         MI    48186‐4161
CORNELIUS H SULLIVAN                            235 NORTH ADDISON AVENUE                                                                        ELMHURST         IL    60126‐2722
CORNELIUS HANRAHAN                              1976 CURRY RD                       # A108                                                      SCHENECTADY      NY    12303‐3943
CORNELIUS HOLLIS JR                             2269 E MT MORRIS RD                                                                             MOUNT MORRIS     MI    48458‐8801
CORNELIUS INGRAM                                621 E BALTIMORE BLVD                                                                            FLINT            MI    48505‐6404
CORNELIUS J BONETTI                             15 WASHINGTON ST                    APT 4                                                       PLAINVILLE       MA    02762‐2659
CORNELIUS J BORGHELLO                           57 PRINCETON ST                                                                                 SAN FRANCISCO    CA    94134‐1163
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CORNELIUS J ERICKSON                              392 BRIAR LANE                                                                                 NEWARK           DE    19711‐3612
CORNELIUS J KENNEY & EILEEN M KENNEY JT TEN       RD 2 31 DOGWOOD DR                                                                             KENNETT SQUARE   PA    19348‐2306
CORNELIUS J PEEL & HELEN A PEEL JT TEN            1310 CLAIRWOOD DR                                                                              BURTON           MI    48509‐1508
CORNELIUS J PEEL JR & HELEN A PEEL JT TEN         1310 CLAIRWOOD DRIVE                                                                           BURTON           MI    48509‐1508
CORNELIUS J VAESSEN TR CORNELIUS J VAESSEN REV    200 HALLE ST P O BOX 169                                                                       SUBLETTE         IL    61367‐0169
TRUST UA 8/17/94
CORNELIUS J VAN COTT                              16 ALLEN ROAD                                                                                  CLINTON          CT    06413
CORNELIUS L DRAKE & DELORIS DRAKE JT TEN          3914 FOREST HILL                                                                               FLINT            MI    48504‐3518
CORNELIUS L GLOTH TOD RUSSELL C GLOTH & MELISSA L 107 STEALEY RD                                                                                 WENTZVILLE       MO    63385‐6313
SCHULTE
CORNELIUS L HARRIS & GWENDOLYN S HARRIS JT TEN    105 PIEDMONT AVEUE                                                                             ROCKY MOUNT      NC    27804‐5030

CORNELIUS M MANUEL                             332 ELDRIDGE AVE                                                                                  SAINT LOUIS      MO    63119‐1651
CORNELIUS MORROW                               100 CARNINE AVE                                                                                   TRENTON          NJ    08638‐2304
CORNELIUS N HUNTER                             2324 HAVARD OAK                                                                                   PLANO            TX    75074‐3149
CORNELIUS N HUNTER JR                          2324 HAVARD OAK                                                                                   PLANO            TX    75074‐3149
CORNELIUS N MURRAY & DOMINIQUE L MURRAY JT TEN 750 CENTRAL                                                                                       INKSTER          MI    48141‐1196

CORNELIUS N NATHANIEL                             1910 HOWARD AVE # BLG                                                                          FLINT           MI     48503
CORNELIUS N WOOD                                  4 TECHNOLOGY DR                      UNIT 232                                                  N CHELMSFORD    MA     01863‐2437
CORNELIUS NANTZ & LILLIAN M NANTZ JT TEN          707 S DUNSTAN CT                                                                               WEST CARROLLTON OH     45449

CORNELIUS NUGTEREN & LIANE NUGTEREN JT TEN        114 HOLLY DR                                                                                   WARNER ROBINS    GA    31088‐6615

CORNELIUS O'REILLY & BARBARA O'REILLY JT TEN      414 14TH AVE N                                                                                 SURFSIDE         SC    29575‐4216
CORNELIUS P BROWN                                 1256 CLAIRMOUNT ST                                                                             DETROIT          MI    48202‐1557
CORNELIUS P HENCYE                                1471 BELVO ESTATES DRIVE                                                                       MIAMISBURG       OH    45342
CORNELIUS P LYONS & BEVERLY J LYONS JT TEN        20016 BARTEL ST                                                                                BURNEY           CA    96013‐4220
CORNELIUS P SOCHAY                                2000 BOSTON BLVD #A9                                                                           LANSING          MI    48910‐2475
CORNELIUS R MOSBY                                 19312 CHAREST ST                                                                               DETROIT          MI    48234‐1646
CORNELIUS T HARTNETT                              7516 STARY DRIVE                                                                               CLEVELAND        OH    44134‐5866
CORNELIUS T PARKES                                723 BENDING OAK TRL                                                                            WINTER GARDEN    FL    34787‐2454
CORNELIUS V KILBANE                               33 OAK RIDGE LANE                                                                              ALBERTSON        NY    11507‐1415
CORNELIUS WHITTHORNE                              9222 MORRISH RD                                                                                MONTROSE         MI    48457‐9134
CORNELIUS WILLIAMS                                1282 ARROWHEAD DR                                                                              BURTON           MI    48509‐1424
CORNELL B PERRY                                   15817 GLYNN ROAD                                                                               CLEVELAND        OH    44112‐3530
CORNELL BREAZ & JOYCE P BREAZ JT TEN              2721 SAN MARCOS                                                                                LAS VEGAS        NV    89115‐4227
CORNELL C MITCHELL                                3569 DEACON                                                                                    DETROIT          MI    48217‐1527
CORNELL COLEMAN                                   15674 LENORE                                                                                   REDFORD TWP      MI    48239‐3573
CORNELL FOSTER                                    2539 HOOD AVE N W                                                                              ATLANTA          GA    30318‐6143
CORNELL HOLMAN JR                                 845 MALLORY DRIVE                                                                              ROCK HILL        SC    29730‐6058
CORNELL J SEEDYKE                                 9403 WILDOAK DR                                                                                BETHESDA         MD    20814‐1740
CORNELL LETMAN                                    586 EMERALD COURT                                                                              AURORA           OH    44202‐7869
CORNELL M FLORINKI                                414 DUNLAP ST                                                                                  LANSING          MI    48910‐0820
CORNELL N PFOHL 3RD                               169 DERRICK ROAD                                                                               BRADFORD         PA    16701‐3366
CORNELL SASS                                      3829 SOUTHWOOD DR S E                                                                          WARREN           OH    44484‐2653
CORNELL SECOSAN TR CORNELL SECOSAN TRUST UA       154 TSISDU CT                                                                                  BREVARD          NC    28712‐6415
04/09/91
CORNELL SPRAGGINS                                 PO BOX 268                                                                                     FAYETTE          AL    35555‐0268
CORNELL TABBS                                     12802 BROADRIDGE LN                                                                            FLORISSANT       MO    63033‐4608
CORNELL WHITE                                     3520 N 47TH ST                                                                                 KANSAS CITY      KS    66104‐1259
CORNELLA D BACON                                  C/O CORNELLA D MULHERN               3919 MARY ST                                              DREXEL HILL      PA    19026
CORNELLA LAURA COVINGTON                          43501 S INTERSTATE 94 SERVICE DR                                                               BELLEVILLE       MI    48111‐2464
CORNETT L BERNEZ                                  4729 EAST DRY CREEK ROAD                                                                       PHOENIX          AZ    85044‐6214
CORNIAL H CRUM                                    9665 CAPRICE DR                                                                                WHITE LAKE       MI    48386‐3923
CORNIE L LEICY                                    C/O CORNIE L LEICY‐HEUSS             3417 MABEE RD                                             MANSFIELD        OH    44903‐8953
CORONA M JOHNSON                                  6234 POLLARD AVE                                                                               E LANSING        MI    48823‐6200
CORPUS CHRISTI CHURCH                             369 GEORGETOWN RD                                                                              CARNEYS POINT    NJ    08069‐2507
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CORRALL RUTH MEEKER & GARY M MEEKER JT TEN       4676 CR 318 RD                                                                                BONO               AR    72416‐7568

CORREAN JOHNSON                                  5005 17TH ROAD                                                                                ESCARABA           MI    49829‐9428
CORRELL R PARSON                                 4505 N SHERMAN DR                                                                             INDIANAPOLIS       IN    46226‐3084
CORRIE CHIU                                      3 PEBBLEWOOD AVENUE                 SCARBOROUGH ON                          M1V 2A7 CANADA
CORRIE H YOUNG                                   1607 E MORGAN                                                                                 KOKOMO             IN    46901‐2549
CORRINA F CHAMBERS                               1910 LINBERG ROAD                                                                             ANDERSON           IN    46012
CORRINA M HALL                                   5320 W HERBISON RD                                                                            DEWITT             MI    48820‐9213
CORRINE A BOONE                                  317 GLENDALE DRIVE                                                                            SHIREMANSTOWN      PA    17011‐6514

CORRINE A JOHNSON                                317 GLENDALE DRIVE                                                                            SHIREMANSTOWN      PA    17011‐6514

CORRINE A WINBIGLER                              12836 TAKOMA                                                                                  STERLING HEIGHTS   MI    48313‐3374

CORRINE E AUMANN TR CORRINE E AUMANN TRUST UA 3633 BEDFORD ST                                                                                  NEW PORT RICHEY    FL    34652‐6278
2/23/99
CORRINE M DESENTZ                             7825 FARRIER RD                                                                                  HILLMAN            MI    49746‐8010
CORRINE M SCHNEBLE                            2366 ST JOSEPH DR                                                                                SCHENECTADY        NY    12309‐2215
CORRINE MORSE PERS REP EST MARTHA SUSAN MORSE 14 SEMINOLE AVE                                                                                  CLAYMONT           DE    19703

CORRINE RENEE THOMAS                             262 OLD PARTRIDGE LAKE RD                                                                     LITTLETON          NH    03561‐3201
CORRINE S ASTRUP                                 1905 B BURR OAK DR                                                                            AUSTIN             MN    55912‐2933
CORRINE S CRAWFORD                               10604 TROUT ST                                                                                GRAYLING           MI    49738‐9367
CORRINE THOMAS & VALERIE C SAVANAH JT TEN        90 KIBBEE ST                                                                                  MT CLEMENS         MI    48043‐2443
CORRINE UNDERWOOD                                4249 CORTLAND                                                                                 DETROIT            MI    48204‐1507
CORRINE V PRIDAY & RICHARD M PRIDAY JT TEN       2667 WOLFSPRING RD                                                                            SCIO               NY    14880‐9731
CORRINGTON FIKE                                  828 EASTERN AVE                                                                               MARENGO            IA    52301‐1710
CORRINNE W DICKEY                                9250 KIMBERLY WAY                                                                             BATON ROUGE        LA    70814‐2862
CORRY THIBAULT                                   55 SPRING ST                        #A                                                        REHOBOTH           MA    02769‐2407
CORSTIAAN ANNE VOOGT                             1004 WEST MAIN                                                                                BROWNSVILLE        TN    38012‐2433
CORTEZ N KELLY                                   592 NEVADA                                                                                    PONTIAC            MI    48341‐2553
CORTEZ S SMITH                                   6738 BRITTANY CHASE CT                                                                        ORLANDO            FL    32810‐3613
CORTIS AMYX                                      3259 RAVENWOOD ROAD                                                                           FAIRBORN           OH    45324‐2227
CORTLAND GLASS CO INC                            ATTN GERALD A POLLOCK               BOX 90                                                    CORTLAND           NY    13045‐0090
CORULI INC                                       2401 MCDONALD STREET                                                                          SIOUX CITY         IA    51104‐3739
CORVAL L ZEABART                                 5532 IDELLA DR                                                                                ANDERSON           IN    46013‐3024
CORWIN C BIEHL                                   1100 ALAKEA ST                      STE 2300                                                  HONOLULU           HI    96813‐2826
CORWIN C BIEHL & KATHRYN J BIEHL JT TEN          1100 ALAKEA ST                      STE 2300                                                  HONOLULU           HI    96813‐2826
CORWIN H MOORE & S NADINE MOORE JT TEN           5303 CRISP                                                                                    RAYTOWN            MO    64133‐2909
CORWIN JAMES IVERSON                             518 EAST FULTON ST                                                                            EDGERTON           WI    53534‐1926
CORWIN R DAY                                     4171 S 50 W                                                                                   ANDERSON           IN    46013‐3521
CORY A STEVENS & SARAH B STEVENS JT TEN          180 SUNUP RANCH RD                                                                            SEDONA             AZ    86351‐7502
CORY BOUCK                                       329 ST CLAIR AVE                                                                              SHEBOYGAN          WI    53081‐3560
CORY D COOK                                      15416 INDIANAPOLIS RD                                                                         YODER              IN    46798‐9720
CORY DEAN PETTY & SCOTT ALLEN PETTY JT TEN       3100 COUNTRY CREEK LN               APT 3                                                     HOLLAND            MI    49424‐2919
CORY E CLIFFORD                                  4081 COLONY RD                                                                                SO EUCLID          OH    44121‐2619
CORY E SIMMONS                                   1501 FIR                                                                                      ST LOUIS           MO    63136‐1916
CORY IRENE SULLIVAN CUST JANETTE G SULLIVAN UGMA 1775 MAIN STREET                                                                              EAST HARTFORD      CT    06108
CT
CORY J SYNNESTVEDT                               3004 VICHY AVE                                                                                NAPA               CA    94558
CORY LASICA                                      904 PIKES PEAK LN                                                                             LOUISVILLE         CO    80027‐3109
CORY VELZEN                                      7490 SOUTHWOOD DR SW                                                                          BYRON CENTER       MI    49315‐8276
COSBY E SNOW                                     PO BOX 44                                                                                     DANVILLE           IN    46122‐0044
COSIMA MASTROSIMONE                              284 WAHL RD                                                                                   ROCHESTER          NY    14609‐1865
COSIMO VITALE                                    41855 HAYES RD                                                                                STERLING HTS       MI    48313‐3647
COSME CASTANON                                   7070 CROSSWINDS DR                                                                            SWARTZ CREEK       MI    48473‐9778
COSMO D SALAMIDO                                 5030 WESTMINSTER DR                                                                           FORT MYERS         FL    33919‐1923
COSMO J RECUPARO JR                              8070 N HOBBY HORSE CT                                                                         TUCSON             AZ    85741‐4013
COSMO UTTARO                                     36 ALGER DR                                                                                   ROCHESTER          NY    14624‐4841
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COSMO VIVINETTO                                 36 MERCER AVE                                                                                ROCHESTER        NY   14606‐4120
COSSIE M MARTIN                                 338 FAIRFIELD DR                                                                             JACKSON          MS   39206‐2607
COSTA BUTKA & MARGUERITE B BUTKA JT TEN         16 BELLVIEW AVE                                                                              MARLBOROUGH      MA   01752‐1213
COSTA KATSAKAS & FLORA KATSIKAS JT TEN          4 SPRUCE ST                                                                                  MARLBORO         MA   01752‐3204
COSTANCE DERSHAU                                PO BOX 27                                                                                    COLUMBUS         MT   59019‐0027
COSTANTINA C COSCIONE                           30253 NEWPORT                                                                                WARREN           MI   48093‐3112
COSTANTINO CICCARELLI                           25932 MIDWAY ST                                                                              DEARBORN HEIGHTS MI   48127‐2972

COSTANTINO SCARPULLA                            3433 YORKWAY                                                                                 BALTIMORE       MD    21222‐6050
COSTAS H BASDEKIS TR UA 09/07/90 COSTAS H       57 WARWICK ST                                                                                LONGMEADOW      MA    01106‐1046
BASDEKIS TRUST
COSTELLO VILLALPANDO                            278 BROWN CITY RD                                                                            IMLAY CITY      MI    48444‐9410
COTIE MARIE JACKSON                             606 E RIDGEWAY AVE                                                                           FLINT           MI    48505‐2964
COTTEN C MORGAN                                 3901 SE SAINT LUCIE BLVD           APT 65                                                    STUART          FL    34997‐6155
COTTER FAMILY LP                                1875 BRANDON DR SW                                                                           LOS LUNAS       NM    87031
COTTON W S BOWEN & JUDITH A BOWEN JT TEN        401 DREW CRT                                                                                 STERLING        VA    20165‐5833
COTY M ETHRIDGE                                 1968 TUXEDO                                                                                  DETROIT         MI    48206‐1219
COUNCIL FOR LOGISTICS RESEARCH INC WILLIAM T    1111 JEFFERSON DAVIS HWY 800                                                                 ARLINGTON       VA    22202‐4306
FARRELL PRES
COURT BERRY‐TRIPP                               960 E TIENKEN                                                                                ROCHESTER HLS   MI    48306
COURTENAY M WILSON TR UA 11/16/2006 COURTENAY   PO BOX 2006                                                                                  LA PLATA        MD    20646
M WILSON REVOCABLE TRUST
COURTENY SUAREZ CUST NATALIA SUAREZ UGMA TX     2721 SUNSTONE DR                                                                             FORT COLLINS    CO    80525‐5689

COURTLAND B COX                                 2900 MADISON AVE                   APT D‐11                                                  FULLERTON       CA    92831‐2251
COURTLAND M JAMES JR                            109 W FERGUSON RD                                                                            FORT WAYNE      IN    46819‐2601
COURTLAND M RIZER JR                            218 AZALEA RD                                                                                WALTERBORO      SC    29488‐2607
COURTLAND M RIZER JR CUST CAROLYN DIANE RIZER   ATTN CAROLYN RIZER KIGHT           21 COURTNEY CT                                            SUMTER          SC    29154‐9075
UGMA SC
COURTLAND T KELLEY                              1920 BRIARCLIFF DRIVE                                                                        OWOSSO          MI    48867‐9084
COURTLAND T SMYTHE                              7928 SHALLOWMEADE LN                                                                         CHATTANOOGA     TN    37421
COURTLAND TROUTMAN & MRS PATRICIA TROUTMAN      666 ESPLANADE                                                                                PELHAM MANOR    NY    10803‐2403
JT TEN
COURTNEY ANN JOHNSTON CYPHER                    75 ORCHARD LANE                                                                              RYE             NY    10580‐3620
COURTNEY ANNE LANGE                             PO BOX 88                                                                                    CUBA            MO    65453‐0088
COURTNEY BEDELL                                 4728 E CENTER                      APT A PO BOX 16                                           MILLINGTON      MI    48746‐0016
COURTNEY BOATNER                                4000 ACE LN                        TRLR 219                                                  LEWISVILLE      TX    75067‐8029
COURTNEY BROWN                                  2032 N BRITTON DR                                                                            LONG BEACH      CA    90815‐3201
COURTNEY BROWN                                  107 ROBERT LANE                                                                              XENIA           OH    45385‐2635
COURTNEY C BURKE                                210 FACTORS WALK                                                                             SUMMERVILLE     SC    29485‐5814
COURTNEY D AVERY                                591 STRAUB RD W                                                                              MANSFIELD       OH    44904‐1837
COURTNEY E GREENE                               3316 HIDDEN RIDGE                                                                            LAS VEGAS       NV    89129‐6937
COURTNEY F NELSON                               8129 CEDAR ST                                                                                OMAHA           NE    68124‐2205
COURTNEY F RYNNE                                703 W FERRY ST                     APT C10                                                   BUFFALO         NY    14222‐1672
COURTNEY J CAINE                                53 APPLEWOOD                                                                                 CHILLICOTHE     OH    45601‐1906
COURTNEY JAMES EBENER                           939 27TH ST                                                                                  PERU            IL    61354‐1415
COURTNEY JENNINGS                               580 SW 51ST AVE                                                                              MARGATE         FL    33068‐3006
COURTNEY K ELY                                  PO BOX 3789                                                                                  TRUCKEE         CA    96160‐3789
COURTNEY KLUCENS                                1301 W LONG LAKE RD                SUITE 340                                                 TROY            MI    48098
COURTNEY KRASNOR                                5212 ROOSEVELT ST                                                                            HOLLYWOOD       FL    33021‐3942
COURTNEY L DENNIS                               2505 BROWNSBORO RD APT A5                                                                    LOUISVILLE      KY    40206‐2345
COURTNEY L GEBHART                              1165 E EL ALAMEDA                                                                            PALM SPRINGS    CA    92262‐5817
COURTNEY L MINER & MARILYN S MINER JT TEN       8350 W HILL ROAD                                                                             SWARTZ CREEK    MI    48473‐7603
COURTNEY L MOODY                                27680 SPRING VALLEY RD                                                                       FARMINGTON      MI    48336‐3863
COURTNEY MICHELE JOHNSON                        205 PINE CREEK DR                                                                            CARLISLE        PA    17013‐9675
COURTNEY SUAREZ & JOSE LUIS SUAREZ JT TEN       2721 SUNSTONE                                                                                FORT COLLINS    CO    80525‐5689
COURTNEY SUAREZ CUST SEBASTIAN SUAREZ UTMA CO   2721 SUMATON DR                                                                              FORT COLLINS    CO    80525

COURTNEY T DON                                  C/O COURTNEY TAYLOR HYDE           5506 JOHNSON AVE                                          BETHESDA        MD    20817‐3518
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COURTNEY V ROCKWELL                              5129 MIRROR LAKES DRIVE                                                                         EDINA           MN    55436‐1341
COURTNIE G ROBINSON                              105 THORNWOOD LN                                                                                RUSSELLVILLE    AR    72802‐6912
COVENTRYVILLE METHODIST CHURCH                   1521 OLD RIDGE RD                                                                               POTTSTOWN       PA    19465‐8509
COVERT G FRANZEN                                 6201 PADRE BLVE UNIT 302                                                                        SOUTH PADRE     TX    78597
                                                                                                                                                 ISLAND
COX FINANCIAL CORP                              105 E 4TH ST STE 600                                                                             CINCINNATI      OH    45202‐4015
COY D ANDERSON                                  2955 HAINES RD                                                                                   LAPEER          MI    48446‐8307
COY E BOVIER                                    RR 3 BOX 245                                                                                     COL X RDS       PA    16914‐9416
COY H LEDBETTER                                 ROUTE 1                                                                                          ALLONS          TN    38541‐9801
COY J MARSHALL                                  9342 CHARLOTTE HIGHWAY                                                                           PORTLAND        MI    48875‐8415
COY L THOMASON & RUTH K THOMASON JT TEN         4426 ASHLAWN DR                                                                                  FLINT           MI    48507‐5656
COY L WHITTEN                                   711 S GRANT AVE                                                                                  THREE RIVERS    MI    49093‐1953
COY R DOCKERY                                   325 HADLEY RD                                                                                    ORTONVILLE      MI    48462
COY R PERKINS                                   128 HIGH AVE                                                                                     NYACK           NY    10960‐2527
COY W BURGESS                                   11143 MISSY FALLS DR                                                                             HOUSTON         TX    77065‐5337
COY W COLQUITT JR CUST MITCHELL A COLQUITT UGMA 1507 S KIMBREL AVE                                                                               PANAMA          FL    32404‐9010
TX
COY W PENROD                                    22062 COUNTY ROAD 126                                                                            MALDEN           MO   63863‐8254
COYE ELLIOTT                                    65 SHANKLE RD                                                                                    FARMINGTON       KY   42040
COYE T CARVER                                   PO BOX 2180                                                                                      FARMINGTON HILLS MI   48333‐2180

COZETT BELOCH                                    5836 S ARTESIAN AV                                                                              CHICAGO         IL    60629‐1112
COZETTA LONG                                     6663 ROBERT STREET                                                                              DETROIT         MI    48213‐2747
COZIE A MAXWELL                                  1309 WEST 12TH STREET                                                                           ATHENS          AL    35611‐4103
COZZIE T STEELE                                  1319E PARISH ST                                                                                 SANDUSKY        OH    44870‐4361
CRAGER F SHURGER                                 PO BOX 17346                          PALM BEACH                                                WEST PALM BCH   FL    33416
CRAIG A BERO                                     504 RIDGE CT                                                                                    CRANBERRY TWP   PA    16066‐3364
CRAIG A BOROWSKI                                 426 MERION DR                                                                                   CANTON          MI    48188‐3011
CRAIG A CAMPBELL                                 6605 HAMBURG RD                                                                                 BRIGHTON        MI    48116‐5102
                                                                                                                                                 TOWNSHIP
CRAIG A COLE                                     4700 OLD HICKORY PL                                                                             DAYTON          OH    45426‐2102
CRAIG A COLES                                    684 WALTON AVE                                                                                  MOUNT LAUREL    NJ    08054‐9584
CRAIG A CONNELL                                  1471 MOLLY COURT                                                                                MANSFIELD       OH    44905‐1313
CRAIG A DOVE                                     #7 DAVIS CT                           BOX 11               HAMPTON ON         L0B 1J0 CANADA
CRAIG A EWERS                                    ATTN NED EWERS                        12320 DOHONEY RD                                          DEFIANCE        OH    43512‐8842
                                                                                                                                                 JUNCTION
CRAIG A FIEHLER                                  2363 BIRCH TRACE                                                                                AUSTINTOWN      OH    44515‐4914
CRAIG A FREEMAN                                  4407 THUNDERMUG RD                                                                              GRAYLING        MI    49738‐7176
CRAIG A GARBARINI                                20 PUCKEY DRIVE                                                                                 CORTLANDT       NY    10567‐6206
                                                                                                                                                 MANOR
CRAIG A GUTZEIT & JANELLE M GUTZEIT JT TEN       3386 BALTOUR                                                                                    DAVISON         MI    48423‐8578
CRAIG A GUTZEIT CUST OWEN S GUTZEIT UTMA MI      3386 BALTOUR                                                                                    DAVISON         MI    48423‐8578
CRAIG A GUTZEIT CUST PAIGE M GUTZEIT UTMA MI     3386 BALTOUR                                                                                    DAVISON         MI    48423‐8578

CRAIG A HAGGADONE                                4579 MIDDLE ST                                                                                  COLUMBIAVILLE   MI    48421‐9132
CRAIG A HEBER & CHERYL A HEBER JT TEN            111 ARDSDALE CT                                                                                 LONGWOOD        FL    32750‐3921
CRAIG A HUMPHREYS                                5750 RIVERSIDE DR                                                                               LYONS           MI    48851‐9793
CRAIG A JOHNSON                                  1496 EAGLE RIDGE RD                                                                             PRESCOTT        AZ    86301‐5414
CRAIG A KASTER                                   15638 RIVER BIRCH RD                                                                            WESTFIELD       IN    46074‐8049
CRAIG A KINSMAN                                  4342 CAPTAINS LN                                                                                FLINT           MI    48507‐5603
CRAIG A LAMBERT                                  880 SCHOOL RD                                                                                   CAMBRIDGE       VT    05444‐9519
CRAIG A MALONE                                   SHERWOOD PARK II                      19 FOUNTAIN COURT                                         WILMINGTON      DE    19808‐3012
CRAIG A MARKS                                    23965 ARROYO PARK DR #93                                                                        VALENCIA        CA    91355‐2049
CRAIG A MCMANUS & TERRI A MCMANUS JT TEN         2760 JEWELL                                                                                     TOPEKA          KS    66611‐1614
CRAIG A MITCHELL                                 26212 SUNBURST CT                                                                               WARREN          MI    48091‐4084
CRAIG A NELSON                                   5501 AVON LIMA RD                                                                               AVON            NY    14414‐1408
CRAIG A OAKES                                    8314 N CO RD 400W                                                                               MIDDLETOWN      IN    47356‐9467
CRAIG A OATTEN                                   1645 MAPLERIDGE RD                                                                              SAGINAW         MI    48604‐1717
CRAIG A PELLERSELS                               2781 SHASTA AVE                                                                                 SAC CITY        IA    50583‐7549
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Name                                            Address1                              Address2             Address3           Address4          City               State Zip

CRAIG A PHILLIPS                                115 BUTTERMERE COURT                                                                            ALPHARETTA         GA    30022
CRAIG A PINKELMAN                               4089 WEST WIND CIRCLE                                                                           NEWPORT            MI    48166‐9037
CRAIG A POLLOCK                                 17795 VAN BUREN ST                                                                              DECATUR            MI    49045‐8914
CRAIG A PRATT                                   9 INDEPENDENCE CT                                                                               SWEDESBORO         NJ    08085‐3151
CRAIG A RICHARDS CUST BRAD RICHARDS UGMA WA     34444 8TH AVE S W                                                                               FEDERAL WAY        WA    98023‐8400

CRAIG A RISKEY                                  909 NW 117TH ST                                                                                 VANCOUVER          WA    98685
CRAIG A ROGERS                                  139 CLINMAR                                                                                     CENTRALIA          IL    62801‐5414
CRAIG A ROTH                                    12121 GLENMARK TRL                                                                              MONTROSE           MI    48457‐9767
CRAIG A RUBIN                                   421 GARLAND STREET                    ROOM # 303                                                FLINT              MI    48503‐2525
CRAIG A SHIMKO                                  PO BOX 141                                                                                      NEW ALEXANDRIA     PA    15670‐0141

CRAIG A SMITH & RUTH LOGSDON SMITH JT TEN       #1‐B                                  823 FAIRVIEW                                              ARCADIA            CA    91007‐6651
CRAIG A STOUGH & BARBARA H STOUGH JT TEN        4416 VICKSBURG DR                                                                               SYLVANIA           OH    43560‐3210
CRAIG A SUCHANEK                                1398 MORRISH                                                                                    FLINT              MI    48532
CRAIG A THOMPSON                                1535 HOUGHTON TRL                                                                               ORTONVILLE         MI    48462‐8611
CRAIG A THORNBURY                               30 FEENEY DRIVE                                                                                 ROHNERT PARK       CA    94928‐1380
CRAIG A TOLLEY                                  515 MARLIN FARM RD                                                                              STEWARTSVILLE      NJ    08886‐3251
CRAIG A VAUGHN                                  525 HIDDEN CREEK TRL                                                                            CLIO               MI    48420‐2037
CRAIG A WADE                                    4200 HARDY RIDGE DR                                                                             WOODBRIDGE         VA    22192‐6642
CRAIG A WHITE                                   23254 HARRELSON                                                                                 MOUNT CLEMENS      MI    48042‐5461
CRAIG A WILLIAMS                                3482 ROCKHAVEN CIR NE                                                                           ATLANTA            GA    30324‐2533
CRAIG A WOLFE                                   220 HARRISONVILLE RD                                                                            MULLICA HILL       NJ    08062‐2828
CRAIG A WOODFORD                                1307 HARVEY RD                                                                                  KNOXVILLE          TN    37922‐5326
CRAIG ALAN BERTOCCI                             3352 HARVARD DR                                                                                 CARSON CITY        NV    89703‐7310
CRAIG ALAN BROOKS                               513 S MCQUEEN ST                                                                                FLORENCE           SC    29501‐5119
CRAIG ALAN KIRKWOOD                             7227 MOELLIER ROAD APT 260                                                                      FORT WAYNE         IN    46806
CRAIG ALAN PEOPLES                              903 JACKSON                                                                                     LAMAR              MO    64759
CRAIG ALLAN BOWMAN                              1936 FIRST STREET NW                                                                            WASHINGTON         DC    20001‐1060
CRAIG ALLEN SMIDDY                              3630 E HWY 92                                                                                   PINE KNOT          KY    42635‐7122
CRAIG ANDERSON & EUNICE ANDERSON JT TEN         660 THACHER ST                        APT 1                                                     ATTLEBORO          MA    02703‐3435
CRAIG B ADAMS                                   P O BOX 261                                                                                     CASCO              ME    04015
CRAIG B BAILEY                                  9879 CHAPEL TRAIL                                                                               FRISCO             TX    75034
CRAIG B CORE                                    110 BENTLEY ST                                                                                  HUBBARD            OH    44425‐2004
CRAIG B LATHER & LOUISE M LATHER JT TEN         2481 MARLBANK                                                                                   STERLING HEIGHTS   MI    48310‐6948

CRAIG B MURPHY                                  22509 RAYMOND CT                                                                                ST CLAIR SHRS      MI    48082‐2735
CRAIG B TYSON                                   706 SUMMERFORD RD                                                                               DANVILLE           AL    35619‐6953
CRAIG BAKER A MINOR U/GDNSHIP OF JEAN BAKER     1734 BONNIE VIEW DR                                                                             ROYAL OAK          MI    48073‐3808

CRAIG BOULDIN                                   18166 KESWICK                                                                                   RESEDA             CA    91335‐2041
CRAIG BROWN CUST ADDIE BROWN UTMA VA            2412 BROOK RD                                                                                   CHARLOTTESVILLE    VA    22901‐2911

CRAIG BULLEN                                    520 N AURELIUS                                                                                  MASON              MI    48854‐9528
CRAIG C BARLOW                                  3201 CANES WAY                                                                                  RALEIGH            NC    27614
CRAIG C CUFFIE                                  25 SPENCER HOLLOW RD                                                                            JEWETT CITY        CT    06351‐2666
CRAIG C ECKERT                                  63 CAPE COD WAY                                                                                 ROCHESTER          NY    14623‐5401
CRAIG C MCLEAN                                  2280 PEAR TREE DR                                                                               BURTON             MI    48519‐1568
CRAIG C MCSURDY                                 4315 SHIRE LANDING RD                                                                           HILLIARD           OH    43026‐2484
CRAIG C PRATT & DONNA E PRATT JT TEN            1550 W SAN ANNETTA                                                                              TUCSON             AZ    85704‐1973
CRAIG C YOUNG                                   1093 CEDARVIEW LANE                                                                             FRANKLIN           TN    37067‐4074
CRAIG CARTER CUST MICHAEL E CARTER UTMA OK      12016 BLUE WAY AVE                                                                              OKLAHOMA CITY      OK    73162‐1054
CRAIG CASEMIER                                  17041 LLOYDS BAYOU DR                 APT H                                                     SPRING LAKE        MI    49456‐9096
CRAIG COLLINS                                   13912 W STARDUST BLVD SUITE 100                                                                 SUN CITY WEST      AZ    85375‐5572
CRAIG CUMMING                                   612 N GATEWAY AVE                                                                               CLOVIS             CA    93611‐6788
CRAIG CUMMINGS CUST MARK STEVEN CUMMINGS        6502 SHERBOURNE DR                                                                              LOS ANGELES        CA    90056‐2122
UTMA CA
CRAIG D ALLAN                                   14174 SEMINOLE                                                                                  REDFORD            MI    48239‐3036
CRAIG D AUSTIN                                  2596 COOMER ROAD                                                                                BURT               NY    14028‐9738
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Name                                             Address1                            Address2                        Address3   Address4            City              State Zip

CRAIG D FRENCH                               2273 HEIDI AVE                          BURLINGTON ON                              L7M 3W4 CANADA
CRAIG D HAYNES                               609 W BUNDY                                                                                            FLINT             MI    48505‐2042
CRAIG D HOTMANN CUST JAMES B HOTMANN UTMA TX PO BOX 1509                                                                                            WIMBERLEY         TX    78676‐1509

CRAIG D MILLIKEN                                 27 MEADOW DR                                                                                       WHEELING          WV    26003
CRAIG D PETTINGER                                6272 W MT HOPE HWY                                                                                 GRAND LEDGE       MI    48837‐9411
CRAIG D SCHWIEFERT                               4768 SANDHILL RD                                                                                   BELLEVUE          OH    44811‐9797
CRAIG D SHANTZ SR                                54059 BIRCHFIELD DR                                                                                SHELBY TOWNSHIP   MI    48316

CRAIG D SMITH                                    1174 PENFIELD CENTER RD                                                                            PENFIELD          NY    14526‐9729
CRAIG D WALL                                     10 SASSAFRAS TRAIL                                                                                 CARTERSVILLE      GA    30121‐6024
CRAIG D WHITMAN                                  1237 LORI LANE                                                                                     FENTON            MI    48430‐3402
CRAIG D WOODS                                    RR 1                                NEWTONVILLE ON                             L0A 1J0 CANADA
CRAIG D ZLOTNICK                                 126 PINES BRIDGE RD                                                                                KATONAH           NY    10536‐3602
CRAIG DAILY & NAIR DAILY JT TEN                  13014 E 57TH ST                                                                                    KANSAS CITY       MO    64133
CRAIG DANIELS                                    74 E 900 N                                                                                         PRICE             UT    84501
CRAIG DEXHEIMER                                  54 ELMWOOD AVE                                                                                     CHATHAM           NJ    07928‐2529
CRAIG DOERGE                                     1280 EL MIRADOR DR                                                                                 PASADENA          CA    91103‐2722
CRAIG DOUGLAS BURCHELL                           9200 COTTAGE PARK N                                                                                MOBILE            AL    36695
CRAIG E ALDRIDGE CUST JACOB E ALDRIDGE UTMA ME   1620 FLAT IRON CIR                                                                                 LINCOLN           NE    68521‐9080

CRAIG E ALDRIDGE CUST TYLER R ALDRIDGE UTMA NE   1620 FLAT IRON CIR                                                                                 LINCOLN           NE    68521‐9080

CRAIG E BAGDON                                   11658 BROOKVIEW LANE                                                                               ORLAND PARK       IL    60467‐7149
CRAIG E BAKER EX EST GEORGE W BAKER              2723 WHITTIER AVE                                                                                  DAYTON            OH    45420
CRAIG E CORBIN                                   4230 EASLEY ROAD                                                                                   GOLDEN            CO    80403‐1661
CRAIG E ERVIN                                    3261 PARTAIN RD NW                                                                                 MONROE            GA    30656‐8808
CRAIG E GEBHART                                  1165 E EL ALAMEDA                                                                                  PALM SPRINGS      CA    92262‐5817
CRAIG E HANLON                                   13 MANOR HOUSE RD                                                                                  BUDD LAKE         NJ    07828‐2305
CRAIG E HEATHCO                                  1816 FOXCLIFF N                                                                                    MARTINSVILLE      IN    46151‐8010
CRAIG E KELLY                                    11 N JEFFREY RD                     # TP‐D5                                                        ALDAN             PA    19018‐3007
CRAIG E KIRSHMAN                                 PO BOX 737                                                                                         LINDEN            MI    48451‐0737
CRAIG E LANTIS                                   PO BOX 727                                                                                         GLENROCK          WY    82637‐0727
CRAIG E LEFF                                     CALLE ARGENTINA 3 POZUELO DE A      MADRID 28224 ESPANA                        SPAIN
CRAIG E MATSON & DEBORAH A MATSON JT TEN         150 GORDON BLVD                                                                                    FLORAL PARK       NY    11001‐3721
CRAIG E SHILLING                                 1705 PARKVIEW HTS                                                                                  KEOKUK            IA    52632‐2921
CRAIG E SHINNERS                                 1530 KINER AVE                                                                                     SAN JOSE          CA    95125‐4846
CRAIG E SLOCUM                                   4848 KNIGHT HWY                                                                                    ADRIAN            MI    49221‐8517
CRAIG E WADE                                     101 GYPSY LN                                                                                       YOUNGSTOWN        OH    44505‐2543
CRAIG E WALKER                                   3635 PINGREE AVE                                                                                   FLINT             MI    48503‐4594
CRAIG E WRIGHT & JANICE A WRIGHT JT TEN          4760 TEMPLETON ST 3224                                                                             LOS ANGELES       CA    90032‐2180
CRAIG F BOLTON                                   PO BOX 925                          GALL AVE                                                       BELINGTON         WV    26250‐0925
CRAIG F MEARS CUST JUSTIN MEARS UGMA MI          5869 ROLLING HIGHLAND DR NE                                                                        BELMONT           MI    49306‐9110
CRAIG F RICHA & SANDRA K RICHA JT TEN            16339 NOLA DR                                                                                      LIVONIA           MI    48154
CRAIG FATTIBENE & PAMELA TICE JT TEN             33 BLUE MOUNTAIN RD                                                                                NORWALK           CT    06851‐2202
CRAIG FINESILVER                                 1051 S HIGHSCHOOL RD                                                                               INDIANAPOLIS      IN    46241‐3119
CRAIG FLOCH CUST JUSTIN FLOCH UTMA CT            21 EASTON RD                                                                                       WESTPORT          CT    06880‐2210
CRAIG FOX                                        PO BOX 1709                                                                                        CARNELIAN BAY     CA    96140‐1709
CRAIG FREDERICK CARR                             5803 W 10TH ST                                                                                     INDPLS            IN    46224‐6112
CRAIG FRITZ & BRIAN FRITZ JT TEN                 17684 W HICKORY                                                                                    SPRING LAKE       MI    49456‐9709
CRAIG G BRIGGS                                   12001 HERRINGTON RD                                                                                BYRON             MI    48418‐9545
CRAIG G COLLINS                                  935 LAURELWOOD                                                                                     LANSING           MI    48917‐7725
CRAIG G PELINI                                   2848 CARRINGTON STREET N W                                                                         NORTH CANTON      OH    44720‐8175
CRAIG G TRAUTMAN                                 4967 HATTRICK ROAD                                                                                 RAVENNA           OH    44266‐8868
CRAIG G TUCKER                                   34451 HARROUN                                                                                      WAYNE             MI    48184‐2318
CRAIG G ZAHARES                                  980 ALEWIVE                                                                                        KENNEBUNK         ME    04043‐6026
CRAIG GOLDSWORTHY A MINOR                        185 WILMINGTON ST                   CAMBRIDGE ON                               N1R 3Y8 CANADA
CRAIG GONCI                                      209 SOUTH FIVE POINTS ROAD          WESTCHESTER                                                    WEST CHESTER      PA    19382‐5298
CRAIG H BIVINS                                   OIL AND GAS PRODUCTION              4925 GREENVILLE AVE SUITE 814                                  DALLAS            TX    75206‐4017
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Name                                            Address1                               Address2             Address3           Address4          City              State Zip

CRAIG H CROSBY                                  11389 PAJARO WAY                                                                                 SAN DIEGO         CA    92127‐1031
CRAIG H HATCH                                   2932 CORUNNA RD                                                                                  FLINT             MI    48503‐3256
CRAIG H RICE                                    4245 ROLAND RD                                                                                   INDIANAPOLIS      IN    46228‐3236
CRAIG H RICE & SUE S RICE JT TEN                4245 ROLAND RD                                                                                   INDIANAPOLIS      IN    46228‐3236
CRAIG H SAULS                                   1029 WEST KENDALL RD                                                                             KENDALL           NY    14476‐9720
CRAIG H SMITH                                   5330 CHERLANE                                                                                    CLARKSTON         MI    48346‐3507
CRAIG H THAME                                   157 STONEHOUSE RD                                                                                GLEN RIDGE        NJ    07028‐1815
CRAIG H WEERTS                                  22617 SOUTHSHORE DRIVE                                                                           LAND O LAKES      FL    34639‐4751
CRAIG HARRIS                                    77338 SIOUX DR                                                                                   INDIAN WELLS      CA    92210‐9066
CRAIG IRA POLISKY                               29360 CASTELHILL DRIVE                                                                           AGOURA HILLS      CA    91301‐4431
CRAIG J BRADANINI                               53 OLD BLUE HILLS RD                                                                             DURHAM            CT    06422‐3005
CRAIG J DOBRY                                   9736 HORSESHOE BND                                                                               DEXTER            MI    48130‐9535
CRAIG J FINDLEY                                 906 W STATE                                                                                      JACKSONVILLE      IL    62650‐1912
CRAIG J HARNISCHFEGER                           25 GILEAD HILL                                                                                   NORTH CHILI       NY    14514‐1239
CRAIG J HART                                    319 OLD STATE RD                                                                                 PENDLETON         IN    46064‐8984
CRAIG J HOWARD                                  973 COUNTRY LN                                                                                   PETOSKEY          MI    49770‐9718
CRAIG J LAYMAN                                  10222 RICHFIELD RD                                                                               DAVISON           MI    48423‐8404
CRAIG J ROCQUIN                                 201 ORMOND OAKS DR                                                                               DESTREHAN         LA    70047‐3529
CRAIG J STEARN & JEAN T STEARN JT TEN           362 RICHLAND DR                                                                                  LANCASTER         PA    17601‐3645
CRAIG J STUDER                                  3297 MYERS RD                                                                                    SHELBY            OH    44875‐9497
CRAIG JACOBSON CUST ROBERT S JACOBSON UTMA IL   1116 SANDHURST CT                                                                                BUFFALO GROVE     IL    60089‐6822

CRAIG JEROME OPPERMAN & MARGENE C OPPERMAN      9558‐A STATE ROUTE 125                                                                           W PORTSMOUTH      OH    45663‐9014
JT TEN
CRAIG JOHNSON & CAROL G JOHNSON JT TEN          93 BUCKTHORN DR                                                                                  LITTLETON         CO    80127‐4341
CRAIG JOHNSON & CONNIE JOHNSON JT TEN           9018 NANTWICK RIDGE                                                                              BROOKLYN PARK     MN    55443‐3928
CRAIG JOHNSTON                                  2421 WEST 36TH STREET                                                                            ERIE              PA    16506‐3565
CRAIG JOSEPH POFF                               98 POINT COMFORT RD                                                                              HILTON HEAD       SC    29928
CRAIG K RANDALL                                 4518 EILERS AVE                        #B                                                        AUSTIN            TX    78751‐4028
CRAIG K RATHBUN                                 145 S ROSLYN                                                                                     WATERFORD         MI    48328‐3554
CRAIG KALISZEWSKI                               28 GREEN GABLES CT                                                                               WENTZVILLE        MO    63385‐1838
CRAIG KROLL                                     APT 6E                                 25 GRAND AVENUE                                           HACKENSACK        NJ    07601‐4645
CRAIG L BYRON                                   C/O KIMBERLY K BYRON                   6430 HACKETT RD                                           FREELAND          MI    48623‐8616
CRAIG L DOLDER                                  2620 N FALCON DR                                                                                 INDIANAPOLIS      IN    46222‐1444
CRAIG L DORN                                    1483 TOWN HALL RD                                                                                DAYTON            OH    45432‐2648
CRAIG L DYMOND                                  6838 S KREPPS RD                                                                                 SAINT JOHNS       MI    48879‐9118
CRAIG L EGAN                                    6225 LOCKHILL RD                                                                                 SAN ANTONIO       TX    78240‐2016
CRAIG L HOBSON                                  921 BURLINGTON DR                                                                                FLINT             MI    48503‐2922
CRAIG L MORGAN                                  10721 AIRVIEW DR                                                                                 N HUNTINGDON      PA    15642‐4283
CRAIG L NEDERVELD                               10388 HOMERICH AVE SW                                                                            BYRON CENTER      MI    49315‐8636
CRAIG L POSA                                    7657 E MEADOWBROOK AVE                                                                           SCOTTSDALE        AZ    85251‐1522
CRAIG L SCHIEVE                                 4058 MARINE AVE                                                                                  LAWNDALE          CA    90260
CRAIG L SIMMONS                                 27410 WEST 83RD                                                                                  SHAWNEE MISSION   KS    66227‐3509

CRAIG L SMITH                                   2306 LAKE PARK DR                                                                                ANACORTES         WA    98221‐8732
CRAIG L ST JOHN                                 1082 DEEP VALLEY CT                                                                              MILFORD           MI    48381
CRAIG L STEFANKO                                4171 ATLAS RD                                                                                    DAVISON           MI    48423‐8635
CRAIG L STEFANKO                                4171 ATLAS RD                                                                                    DAVISON           MI    48423‐8635
CRAIG L STURZA & MARY V STURZA JT TEN           2455 CORRELL DR                                                                                  LAKE ORION        MI    48360‐2259
CRAIG L WILLIAMS & AMANDA R WHORTON JT TEN      2600 BROWNLEE RD                                                                                 BOSSIER CITY      LA    71111‐2014

CRAIG L WRIGHT PERS REP EST BESSIE L NORRIS   624 S GRAND TRAVERSE                                                                               FLINT             MI    48502‐1230
CRAIG LAMOREAUX                               1221 TURRILL ROAD                                                                                  LAPEER            MI    48446‐3722
CRAIG LAVELLE WATERS                          14 SPINET RD                                                                                       NEWARK            DE    19713‐3512
CRAIG LEE GILLIKIN                            7420 NE 30TH ST                                                                                    HIGH SPRINGS      FL    32643‐5213
CRAIG LEE WHITE                               426 HIGHWAY 475                                                                                    LECOMPTE          LA    71346‐8762
CRAIG LOUGH                                   6263 MCMULLEN ALLEN RD                                                                             NEWTON FALLS      OH    44444‐9209
CRAIG LUDWICK CUST HUNTER BRYANT LUDWICK UTMA 7741 YANKEY STREET                                                                                 DOWNEY            CA    90242‐2241
CA
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Name                                              Address1                              Address2             Address3           Address4          City              State Zip

CRAIG LUTTERMOSER                                 7956 BRIGHTON ROAD                                                                              BRIGHTON          MI    48116‐1308
CRAIG M ANDERSON                                  5218 QUEENSBRIDGE RD                                                                            MADISON           WI    53714‐3430
CRAIG M BALLEW                                    151‐1 TALSMAN DR                                                                                CANFIELD          OH    44406‐1238
CRAIG M DAHL                                      10012 CEDAR SHORES DR                                                                           WHITE LAKE        MI    48386‐2821
CRAIG M ELLIOTT & MRS GLADYS M ELLIOTT JT TEN     2763 KINGSTON AVE                                                                               GROVE CITY        OH    43123‐3327

CRAIG M GIBSON                                    2589 CUNNINGHAM DR                                                                              LANSING           MI    48911‐8434
CRAIG M GRAY                                      5163 WOODCLIFF                                                                                  FLINT             MI    48504‐1256
CRAIG M LOFTON                                    17221 ROBERT                                                                                    SOUTHFIELD        MI    48075‐2944
CRAIG M MCKOWN                                    512 BRET HARTE DR                                                                               COPPERUPOLIS      CA    95228‐9763
CRAIG M RENNEKER                                  46103 GREENRIDGE DR                                                                             NORTHVILLE        MI    48167‐3012
CRAIG M RICHARDS                                  33147 MARTIN ST                                                                                 LIVONIA           MI    48154‐4175
CRAIG M STEFFEN                                   3258 N NEWHALL STREET                                                                           MILWAUKEE         WI    53211‐3042
CRAIG M WATSON                                    23001 CALLE AZORIN                                                                              MISSION VIEJO     CA    92692‐1404
CRAIG M WEST                                      666 MAYER RD                                                                                    COLUMBUS          MI    48063‐2101
CRAIG MARK ZELEZNIK                               18757 STATE RD                                                                                  N ROYALTON        OH    44133‐6429
CRAIG MICHAEL CHUHRAN                             2409 W TILGHMAN ST                                                                              ALLENTOWN         PA    18104
CRAIG MOCKBEE                                     226 PECAN DR                                                                                    HARTWELL          GA    30643‐1468
CRAIG N DUKES                                     1105 S MAIN ST                                                                                  EATON RAPIDS      MI    48827‐1735
CRAIG N GLOGER                                    42451 MALBECK                                                                                   STERLING HTS      MI    48314‐3050
CRAIG N WARD                                      875 ROXBURY DR                                                                                  PASADENA          CA    91104‐4022
CRAIG NELSON TALBERT                              902 W STATE AVE                                                                                 PHOENIX           AZ    85021‐8087
CRAIG NEWMAN CUST ALYCE JENAE NEWMAN UGMA         705 PINE AVE                                                                                    HERKEMER          NY    13350‐1542
NY
CRAIG OLIVER                                      7534 ARBORCREST ST                                                                              PORTAGE           MI    49024‐5002
CRAIG P ALLEN                                     1340 GULF BLVD                        #10B                                                      CLEARWATER        FL    33767‐2811
CRAIG P BENNETT                                   1618 DOAK BLVD                                                                                  RIPON             CA    95366‐9581
CRAIG P DOUGLASS                                  14063 SOUTH 4TH STREET                                                                          SCHOOLCRAFT       MI    49087‐9450
CRAIG P HEURING CUST DANI J HEURING UTMA IN       59 KILMARTIN CT                                                                                 VALPARAISO        IN    46385‐9304

CRAIG P HEURING CUST SAM P HEURING UTMA IN        59 KILMARTIN CT                                                                                 VALPARAISO        IN    46385‐9304
CRAIG P MARQUIS                                   1861 BAYARD AVE                                                                                 SAINT PAUL        MN    55116‐1212
CRAIG P MCGLONE                                   1261 S PACKARD AVE                                                                              BURTON            MI    48509‐2339
CRAIG P MONAHAN                                   1608 WILDWOOD TRL                                                                               SALINE            MI    48176‐1653
CRAIG P PEARCE & TROY W PEARCE JT TEN             20320 BALLANTRAE DR                                                                             MACOMB            MI    48044‐5908
CRAIG P QUILLAN & EDITH E QUILLAN JT TEN          330 PARADISE DR                                                                                 SALISBURY         NC    28146‐2522
CRAIG P WILSON                                    8241 DRYBANK DRIVE                                                                              HUNTINTON BEACH   CA    92646‐3811

CRAIG PIERS                                       7818 WESTMINSTER DR SW                                                                          BYRON CENTER      MI    49315‐9348
CRAIG R CHORMANN EX EST RUTH CHORMANN             3 PRITCHARD COURT                                                                               FAIRPORT          NY    14450
CRAIG R FROST                                     418 GUSRYAN ST                                                                                  BALTIMORE         MD    21224‐2919
CRAIG R FUSSNER                                   830 ROCK CREEK DR                                                                               AURORA            OH    44202‐7603
CRAIG R HARRINGTON                                9115 EMILY DR                                                                                   DAVISON           MI    48423‐2894
CRAIG R ILK                                       2222 BEECHWOOD BLVD                                                                             PITTSBURGH        PA    15217‐1846
CRAIG R LOZAK                                     2044 CARMEL DR                                                                                  JAMISON           PA    18929‐1437
CRAIG R MILLS                                     1654 PRATT LAKE RD                                                                              GLADWIN           MI    48624‐9623
CRAIG R MILLS & KATHLEEN E MILLS JT TEN           1654 PRATT LAKE ROAD                                                                            GLADWIN           MI    48624
CRAIG R MURRAY                                    300 N SEYMOUR RD                                                                                FLUSHING          MI    48433‐1535
CRAIG R NEWMAN                                    8524 MOONSTONE CT                                                                               FLORENCE          KY    41042‐7728
CRAIG R PALMER                                    5916 TIPSICO LAKE RD                                                                            HOLLY             MI    48442‐8908
CRAIG R POTTER                                    34 PEPPERMINT DR                                                                                LUMBERTON         NJ    08048‐4276
CRAIG R SANDERS & TORRI J SANDERS JT TEN          268 W HOLLAND DR                                                                                STANSBURY PK      UT    84074
CRAIG R SCHMELZER                                 6299 DANA ROSE DR                                                                               WASHINGTON        MI    48094
CRAIG R SEDORIS                                   6494 FORFAR LN                                                                                  DUBLIN            OH    43017‐8790
CRAIG R SHANKWITZ                                 3113 HUMBOLDT AVE S                                                                             MINNEAPOLIS       MN    55408‐2559
CRAIG R SIMKINS                                   6189 N GENESEE RD                                                                               FLINT             MI    48506‐1121
CRAIG R STECYK                                    2620 ARMACOST AVE                                                                               LOS ANGELES       CA    90064‐3502
CRAIG R STEVENSON                                 76425 ROSEMARY CT                                                                               ROMEO             MI    48065‐2632
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Name                                              Address1                               Address2                        Address3          Address4          City              State Zip

CRAIG R STEVENSON & MARGARET L STEVENSON JT TEN 76425 ROSEMARY CT                                                                                            ROMEO             MI    48065‐2632

CRAIG RABIEGA                                     505 EARL DR                                                                                                NORTHFIELD        IL    60093‐1105
CRAIG REAP                                        4814 LOST CREEK RD                                                                                         ANACONDA          MT    59711
CRAIG REILLY                                      8170 GRAND CT                                                                                              MANASSAS          VA    20111‐2593
CRAIG RICHARDSON & KURT RICHARDSON & CATHY        5732 WHITE LAKE RD                                                                                         CLARKSTON         MI    48346‐2656
ALBERT TEN COM
CRAIG RICHLEN                                     1339 SW 351ST ST                                                                                           FEDERAL WAY       WA    98023‐6942
CRAIG RITCHIE                                     4062 OVERTURE CIR                                                                                          BRADENTON         FL    34209‐5884
CRAIG ROSATI                                      93 OLD ORCHARD LANE                                                                                        WAYSIDE           NJ    07712‐2573
CRAIG S ALFRED                                    122 S ALICE                                                                                                ROCHESTER         MI    48307‐2500
CRAIG S CHAPIN                                    1477 MURPHY LK RD                                                                                          FOSTORIA          MI    48435‐9537
CRAIG S DIETZ                                     6071 MARTINI RD                                                                                            WATERLOO          IL    62298‐3135
CRAIG S FREDENBURG                                380 FREDERICK DRIVE                                                                                        WAYLAND           MI    49348‐9026
CRAIG S GOLDBERG                                  824 LILAC WY                                                                                               LOS GATOS         CA    95032‐3527
CRAIG S HARRINGTON                                4 EXETER PL                                                                                                NEWARK            DE    19711‐2989
CRAIG S JARVIS                                    52 FOREST LN                                                                                               ELK GROVE VILLAGE IL    60007‐1402

CRAIG S JENNINGS                                  19785 W 12 MILE RD #548                                                                                    SOUTHFIELD        MI    48076‐2584
CRAIG S KNOX                                      29929 MERIDIAN PL                      APT 18203                                                           FARMINGTN HLS     MI    48331‐5873
CRAIG S LANDRY                                    806 FARMINGTON DR                                                                                          LAFAYETTE         LA    70503‐8427
CRAIG S MALEK                                     24 EMILY LN                                                                                                LEMONT            IL    60439‐6403
CRAIG S MARTIN                                    15574 GALEMORE DR                                                                                          CLEVELAND         OH    44130‐3535
CRAIG S MCGINNIS                                  1085 LAKE PARK DRIVE                                                                                       GRAND BLANC       MI    48439‐8073
CRAIG S MYERS                                     3529 BERKSHIRE ST                                                                                          NEW PORT RICHEY   FL    34652‐6203

CRAIG S PATTON                                    1 TERRY COURT                                                                                              FLORISSANT        MO    63031
CRAIG S REYNOLDS                                  966 17TH PL SW                                                                                             VERO BEACH        FL    32962‐6906
CRAIG S ROCKAFELLOW                               4714 PORT AUSTIN RD                                                                                        CASEVILLE         MI    48725‐9668
CRAIG S ROCKOFELLOW & RAE ROCKOFELLOW JT TEN      4714 PORT AUSTIN ROAD                                                                                      CASEVILLE         MI    48725‐9668

CRAIG S TEBO                                      617 W GREENWOOD AVE                                                                                        WOODSTOCK         IL    60098‐2393
CRAIG S TUTHILL                                   PO BOX 5012                                                                                                MONTAUK           NY    11954‐0012
CRAIG S WHITE                                     5588 W 900 N                                                                                               MCCORDSVILLE      IN    46055‐9794
CRAIG S WHITE                                     309 WORTHINGTON CT                                                                                         ABERDEEN          MD    21001‐1120
CRAIG SCATURRO CUST NICHOLAS J SCATURRO UTMA      315 LINTON AVE                                                                                             LINDENHURST       NY    11757
NY
CRAIG SCHMIDT                                     2 MUSGRAVE COURT                       GULFVIEW HEIGHTS                SOUTH AUSTRALIA   5096 AUSTRALIA
CRAIG SCOTT MCALISTER & KERRI ANN MCALISTER JT    10040 FIG TREE LN                                                                                          PINE GROVE        CA    95665
TEN
CRAIG SINGER                                      1825 NW 103 AVE                                                                                            PLANTATION        FL    33322‐3528
CRAIG SKUPNY                                      28605 GRATIOT                                                                                              ROSEVILLE         MI    48066‐4212
CRAIG SPOON                                       10993 COUNTY RD 26                                                                                         FINDLAY           OH    45840
CRAIG STEPHEN CARTER & KATHY D CARTER JT TEN      870 E MCMURRY RD                                                                                           VENETIA           PA    15367‐1003

CRAIG STEPHEN HARRISON                            6008 GOLF VILLAS DRIVE                                                                                     BOYNTON BEACH     FL    33437‐4116
CRAIG STEVEN NAGDEMAN & JUDITH MILLUS JT TEN      2700 BOGEY BLVD                                                                                            CHESTERTON        IN    46304‐9176

CRAIG SUMMERS                                     1101 IROQUOIS AVE #2428                                                                                    NAPERVILLE        IL    60563
CRAIG T BATTEY                                    PO BOX 43452                                                                                               CHARLOTTE         NC    28215‐0039
CRAIG T CASSIDY & MARY M CASSIDY JT TEN           HC1 BOX 824                                                                                                SCIOTA            PA    18354‐9711
CRAIG T CUDEN                                     10172 HERONWOOD LN                                                                                         WEST PALM BCH     FL    33412‐1521
CRAIG T ERQUHART                                  18457 NORTH DR                         APT 47                                                              SOUTHFIELD        MI    48076‐1123
CRAIG T FOSTER                                    4931 4TH AVENUE                                                                                            GRANDVILLE        MI    49418‐9403
CRAIG T IWASE CUST DAVIN H IWASE UTMA HI          94‐1131 POLINAHE PL                                                                                        WAIPAHU           HI    96797‐4035
CRAIG T KINGSBURY CUST ELIZABETH LAUREN TIBBITS   1109 LODGE HILL RD                                                                                         LOUISVILLE        KY    40223‐5511
KINGSBURY UGMA KY
CRAIG T MILLER & KIMBERLY A MILLER JT TEN         628 PRAIRIE ROSE DR                                                                                        PERRYSBURG        OH    43551
CRAIG T MONAGHAN                                  ASBURY AUTOMOTIVE GRP                  2905 PREMIERE PKWY NW STE 300                                       DULUTH            GA    30097
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CRAIG T NOTEBAERT                               13510 HILLTOP DR W                                                                                                        PLYMOUTH          MI    48170‐5318
CRAIG T OLIVER                                  3529 GLEN BROOK RD                                                                                                        FAIRFAX           VA    22031‐3208
CRAIG T SALISBURY                               PO BOX 1681                                                                                                               DUNDEE            FL    33838‐1681
CRAIG T WATSON                                  2438 FAIR OAKS ROAD                                                                                                       DECATUR           GA    30033
CRAIG THOMAS HEENAN                             1416 CEDARWOOD DR                                                                                                         FLUSHING          MI    48433‐1809
CRAIG TODD PAPPIN                               800 N WISNER ST                                                                                                           JACKSON           MI    49202‐3141
CRAIG TOULON                                    4639 79 ST NW                         CALGARY AB                                                 T3B 2P1 CANADA
CRAIG V RUSSELL & DIANNE E RUSSELL JT TEN       285 SPRING HILL LANE                                                                                                      MOUNTVILLE       PA     17554‐1009
CRAIG W ALBERTSON                               42764 ELIZABETH CIR                                                                                                       CLINTON TOWNSHIP MI     48038‐1724

CRAIG W BUTKO & MILDRED T BUTKO JT TEN          6236 W 66TH AVE                                                                                                           ARVADA            CO    80003‐4638
CRAIG W FENELEY                                 58 ELLWOOD                                                                                                                PONTIAC           MI    48342‐2409
CRAIG W FOBEAR                                  5401 EASTMAN AVE                                                                                                          MIDLAND           MI    48640‐2513
CRAIG W GRANTZ                                  6512 PONTIAC LAKE ROAD                                                                                                    WATERFORD         MI    48327‐1753
CRAIG W HOLMAN                                  13088 WELLESLEY DR                                                                                                        PICKERINGTON      OH    43147‐8442
CRAIG W KEISNER                                 2230 NINA ST                                                                                                              HAYWARD           CA    94541‐6917
CRAIG W LACROSS                                 2491 LAKE ST                                                                                                              ST HELEN          MI    48656‐9634
CRAIG W LAUBE                                   1351 S CLEVELAND MASSILLON RD         STE 4                                                                               COPLEY            OH    44321‐1667
CRAIG W MCDADE                                  6113 W MONTEBELLO WAY                                                                                                     FLORENCE          AZ    85232‐6778
CRAIG W PARKER                                  5 LANTERN CIR                                                                                                             PARKTON           MD    21120‐9477
CRAIG W SEAMAN                                  724 LAKESHORE DR                                                                                                          TUSCOLA           IL    61953‐9244
CRAIG W SEARIGHT                                706 SOUTH EAST STREET                                                                                                     FENTON            MI    48430‐2904
CRAIG W SMITH                                   410 LAMB ST                                                                                                               PERRY             MI    48872‐8521
CRAIG W TUFTY                                   2301 CHESHIRE LANE                                                                                                        ALEXANDRIA        VA    22307‐1848
CRAIG WALTERS SR                                144 OWL CREEK RD                                                                                                          TAMAQUA           PA    18252‐4226
CRAIG WIDMAIER CUST LINDSEY WIDMAIER UTMA NJ    39 MADISON AVE                                                                                                            RED BANK          NJ    07701

CRAIG WILLIAM SHUMAN                            703 GEETING DR                                                                                                            ANDERSON          IN    46012‐3912
CRAIG WILLIAMS                                  23 BYRON AVE                          WINCHESTER                                                 SO22 5AT GREAT BRITAIN
CRAIG WINTER                                    5336 BROOKBANK ROAD                                                                                                       DOWNERS GROVE     IL    60515‐4508
CRAIG YARNELL                                   12 THORNRIDGE DRIVE                                                                                                       STAMFORD          CT    06903‐5120
CRAIGE P KEEN                                   3150 LANSDOWNE ROAD                                                                                                       WATERFORD         MI    48329‐2957
CRAIGE P KEEN & ILENE KEEN JT TEN               3150 LANSDOWNE                                                                                                            WATERFORD         MI    48329‐2957
CRANDELL S SUTTON & CARRIE E SUTTON & LINDA     120 LANGE ST                                                                                                              TROY              MI    48098‐4667
KILBURN & RICK C SUTTON &
CRANFIELD HOLDINGS LIMITED                      ATTN ANITA YANG/TRANSFER DEPT         RBC DOMINION SECURITIES INC   PO BOX 50 ROYAL BANK PLAZA   TORONTO ON M5J 2W7
                                                                                                                                                 CANADA
CRANNEL E LOUALLEN                              4036 RILEY ST                                                                                                             SOUTH LEBANON     OH    45065‐1050
CRANSTON G JONES CUST WILLIAM LAWRENCE          15000 MARSHFIELD                                                                                                          HICKORY CORNERS   MI    49060‐9729
BROGGER UGMA MI
CRANSTON L WILLIS                               1187 HOWE RD                                                                                                              BURTON            MI    48509‐1702
CRAS M MC NEAL                                  1047 W 124 ST                                                                                                             LOS ANGELES       CA    90044‐2931
CRAWFORD A STEPHENS                             50 MILLMANOR PL                       PO BOX 237                    DELAWARE ON                  N0L 1E0 CANADA
CRAWFORD C WESTBROOK                            50 KNOLLWOOD RD                                                                                                           E HARTFORD        CT    06118‐1732
CRAWFORD C WESTBROOK TR L C WESTBROOK TRUST     50 KNOLLWOOD RD                                                                                                           E HARTFORD        CT    06118‐1732
UA 09/01/95
CRAWFORD COWART                                 485 WILLOW LN                                                                                                             PALM HARBOR       FL    34683‐5828
CRAWFORD D THORNTON                             10420 BALMORAL CIR                                                                                                        CHARLOTTE         NC    28210‐7839
CRAYTON QUEEN                                   1216 E HENRY CLAY AVE                                                                                                     FT WRIGHT         KY    41011‐3720
CRECENSIO O VASQUEZ                             2817 LYONS RD                                                                                                             LYONS             MI    48851‐9708
CREDA GLADYS PETION                             1524 OCEAN AVE APT 3G                                                                                                     BROOKLYN          NY    11230‐4523
CREED HALL                                      574 E MANSFIELD AVE                                                                                                       PONTIAC           MI    48340‐2942
CREIGHTON A SMITH                               18211 MUIRLAND                                                                                                            DETROIT           MI    48221‐2756
CREIGHTON BRIGHT                                941 NE TEE LAKE RD                                                                                                        TAHUYA            WA    98588‐9508
CREIGHTON J HASELHUHN                           18966 PLANTATION DR                                                                                                       MACOMB            MI    48044‐1240
                                                                                                                                                                          TOWNSHIP
CREIGHTON L LYTLE                               APT 6                                 13775 SW SCHOLLS FERRY RD                                                           BEAVERTON         OR    97008
CREIGHTON M CALFEE                              550 HICKORY LANE                                                                                                          SAINT LOUIS       MO    63131‐4737
CREIGHTON W SWALLOW                             68 E DRIVE                                                                                                                HARTVILLE         OH    44632
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CREIGHTON WESLEY SLOAN                            102 INDIAN CREEK TRAIL                                                                           AIKEN           SC    29803‐9284
CREOLA SIBERT                                     PO BOX 20663                                                                                     FERNDALE        MI    48220‐0663
CRESCENCIA RAMOS                                  62 NO BROADWAY                                                                                   YONKERS         NY    10701‐2727
CRESCIENZO BOCCANFUSO CUST GIUSEPPE D             84 HARBOR RD                                                                                     WESTPORT        CT    06880‐6717
BOCCANFUSO UGMA CT
CRESENCIO VALDEZ                                  2404 14TH AVE                                                                                    MENOMINEE       MI    49858‐2363
CRESSEL D KIRK                                    771 WEST RAHN RD                                                                                 DAYTON          OH    45429‐2042
CRESSMAN L WILLIAMS                               4847 N CR 700E                                                                                   UNION CITY      IN    47390‐9711
CRESTON F OTTEMILLER JR                           822 SOUTHERN RD                                                                                  YORK            PA    17403‐4138
CRESTON L DISHON                                  206 DIVISION ST                                                                                  ERLANGER        KY    41018‐1725
CRICKETT KERSENS                                  259 TEAKWOOD DR                                                                                  BAYVILLE        NJ    08721‐3122
CRIS W MAY                                        2510 S COUNTY LINE RD W                                                                          YODER           IN    46798‐9703
CRISPEN F LIJEK CUST JENNIFER ANN LIJEK UGMA MI   8659 E LIBERTY NORTH RD N                                                                        MARENGO         OH    43334‐9303

CRISPULO LOPEZ‐FLORES                             7430 GRANDVILLE                                                                                  DETROIT         MI    48228‐4505
CRISTA MARDENE STOCKWELL                          112 CLARICE COURT                                                                                STATESVILLE     NC    28625
CRISTA MARDENE STOCKWELL & JOHN H STOCKWELL JT    112 CLARICE COURT                                                                                STATESVILLE     NC    28625
TEN
CRISTELO G RESENDEZ                               151 W SHEFFIELD                                                                                  PONTIAC         MI    48340‐1851
CRISTIE A GUDES                                   6575 BRISTOL DR                                                                                  WEST BLOOMFIELD MI    48322‐3241

CRISTIN MAGUIRE                                   48 HANSEN AVE                                                                                    NEW CITY        NY    10956‐3133
CRISTIN R RIOUX                                   40 CROSSMEADOW RD                                                                                S PORTLAND      ME    04106
CRISTIN S PANZARELLA                              2140 STONY HILL RD                                                                               BOULDER         CO    80305‐6829
CRISTINA A MARINEZ                                1920 W MAPLE                                                                                     LANSING         MI    48915‐1454
CRISTINA C ZALDIVAR                               9210 SW 134TH PLACE                                                                              MIAMI           FL    33186‐1536
CRISTINA CARRILLO CHILTON                         1919 S KIRKWOOD RD                     APT 218                                                   HOUSTON         TX    77077‐6219
CRISTINA DE VIDAL CUST NANCY R VIDAL UGMA IL      BOX 278                                                                                          PERCY           IL    62272‐0278
CRISTINA DE VIDAL CUST PATRICIA P VIDAL UGMA IL   BOX 278                                                                                          PERCY           IL    62272‐0278

CRISTINA L HSIAO                                  23 AUDEN AVE                                                                                     MELVILLE        NY    11747
CRISTINA MOEDER                                   219 CASCADE RD                                                                                   STAMFORD        CT    06903‐4224
CRISTINA TREVINO & JAIME TREVINO JT TEN           2109 NORMA LN                                                                                    EDINBURG        TX    78539‐6910
CRISTOBAL G CARDENAS                              2326 ARDEN WAY                                                                                   SAN JOSE        CA    95122‐3914
CRISTOBAL S HERNANDEZ                             10343 LYNX CROSSING                                                                              SAN ANTONIO     TX    78251‐4074
CRISTOFORO R GERACI                               216 WAHL RD                                                                                      ROCHESTER       NY    14609‐1812
CRISTY DOCKTER                                    9 COUNTY RD 1738                                                                                 FARMINGTON      NM    87401‐9621
CRIT S FORD                                       20 UHL RD                                                                                        COLD SPRINGS    KY    41076‐9076
CROCHEN H RIVERS                                  PO BOX 17032                                                                                     EUCLID          OH    44117‐0032
CROCKETT BAILEY                                   28906 KING RD                                                                                    ROMULUS         MI    48174‐9448
CROFTON CAPITAL GENERAL PARTNERSHIP               3102 W END AVE SUITE 650                                                                         NASHVILLE       TN    37203‐1498
CROOM BEATTY 4TH & MERIWETHER T BEATTY TEN        3 FOREST ROAD                                                                                    ASHEVILLE       NC    28803‐2907
COM
CROSBY L FLAKES JR                                1223 VERNON DRIVE                                                                                DAYTON          OH    45407‐1715
CROSS J SANSONE & LEAH M SANSONE JT TEN           700 CHICKERING RD                      APT 267                                                   NORTH ANDOVER   MA    01845‐1970
CROWN ASSOCIATES INC                              PO BOX 30143                                                                                     INDIANAPOLIS    IN    46230‐0143
CRUZ A MORADO                                     1997 GRANGE HALL RD                                                                              FENTON          MI    48430‐1625
CRUZ C VELASQUEZ & DANIEL S VELASQUEZ JT TEN      506 SOUTH JACKSON STREET                                                                         BAY CITY        MI    48708‐7369
CRUZ F RAMOS                                      7722 E YOUNG AVE                                                                                 S SAN GABRIEL   CA    91770‐3440
CRUZ J CARDENAS                                   3016 S CLEGERN                                                                                   OKLAHOMA CITY   OK    73109‐2325
CRUZ M GUZMAN                                     L‐17 ZARAGOZA VILLA ESPANA             BAYAMON                                 961 PUERTO RICO
CRUZ OQUENDO                                      305 COOK AVE                                                                                     MERIDEN         CT    06451‐6267
CRUZ RODRIGUEZ & JOSEPH C PECORARO JT TEN         2716 CUCKOO SHRIKE AVE                                                                           N LAS VEGAS     NV    89084
CRUZ TONCHE                                       4805 S HUGHES RD                                                                                 LANSING         MI    48910‐5126
CRUZ ZARAZUA                                      11387 ZIEGLER                                                                                    TAYLOR          MI    48180‐4368
CRYSTAL A FORBIS                                  13441 HUISACHE WA                                                                                HELOTES         TX    78023‐3607
CRYSTAL A POLLACK                                 890 MINNESOTA DRIVE                                                                              TROY            MI    48083‐4435
CRYSTAL BEVERLY                                   6233 LANCASTER DR                                                                                FLINT           MI    48532‐3218
CRYSTAL C WRIGHT                                  1622 CLEAR LAKE RD                                                                               WEST BRANCH     MI    48661‐9498
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CRYSTAL CALLAWAY CUST GORDON CALLAWAY A       1117 MISTY MEADOWS LN                                                                        HAMPTON         GA    30228‐6304
MINOR UNDER THE LAWS OF GA
CRYSTAL DAWN BEGLEY                           40 STACY LN                                                                                  FREDERICKSBRG   VA    22406‐5211
CRYSTAL E BEACH                               124 HUDSON MILL RD                                                                           LINCOLN         DE    19960‐9601
CRYSTAL E KOCH                                PO BOX 189                                                                                   EAST TEXAS      PA    18046
CRYSTAL HAMILL & KEITH VOGEL JT TEN           10420 WINDYHILL RD                                                                           MCKEAN          PA    16426‐2148
CRYSTAL JENKINS                               10812 EMERALD PARK LN                                                                        HASLET          TX    76052‐5147
CRYSTAL L VOELCKER                            689 BUTTS HOLLOW RD                                                                          DOVER PLAINS    NY    12522‐6001
CRYSTAL LEE COLBURN                           7815 HOBGOOD ROAD                                                                            FAIRBURN        GA    30213‐2673
CRYSTAL M MERCER                              20458 PINE LAKE RD                                                                           BATTLE CREEK    MI    49014‐8114
CRYSTAL PATEL                                 6038 W WAYWARD WIND LOOP                                                                     HOMOSASSA       FL    34448‐3206
CRYSTAL PEARL MILLER                          968 LINCOLN DRIVE                                                                            SOUTH           WV    25309‐2323
                                                                                                                                           CHARLESTON
CRYSTAL R WOLF                                3711 S ALBRIGHT RD                                                                           KOKOMO          IN    46902‐4455
CRYSTAL RUSTIN                                1700 N TULLY RD                    F209                                                      TURLOCK         CA    95380
CRYSTAL SCHOEN CUST BRANDON SCHOEN UTMA IL    2401 W ALTA RD                     APT 3102                                                  PEORIA          IL    61615‐4612

CRYSTAL SUMSKI CUST MATHEW DENNIS SUMSKI UGMA 19776 STATE RT EE                                                                            FARMINGTON      MO    63640‐7472
MO
CRYSTAL WARD CUST DAUNTE WARD UTMA MD          13203 POPPY HILL COURT                                                                      BRANDYWINE      MD    20613
CSABA F KNIZNER                                11099 OLDE ORCHARD CT                                                                       ROSCOMMON       MI    48653‐8907
CSH MAINTENANCE                                2570 NEW MARKET RD                #A                                                        RICHMOND        VA    23231‐7012
CUBIE HADLEY SELBY                             711 W 38TH ST                                                                               ANDERSON        IN    46013‐4025
CUC T STEVENS                                  16909 WILLOW WOOD DR                                                                        STRONGSVILLE    OH    44136‐7535
CUCECIL E BANKS                                241 S AIRPORT ROAD                                                                          SAGINAW         MI    48601‐9459
CUDD & CO                                      C/O JP MORGAN CHASE BANK NA       PO BOX 35308                                              NEWARK          NJ    07101‐8006
CULA B MELLON                                  #8                                450 LIBERTY ST                                            SAN FRANCISCO   CA    94114‐2954
CULA C GOODWIN                                 3709 SUMTER AVE                                                                             CHATTANOOGA     TN    37406‐2230
CULLEN B MCGLOIN                               37 GARNET RD                                                                                BUFFALO         NY    14226‐2550
CULLEN CRIGGER                                 14883 BAUMHART RD                                                                           OBERLIN         OH    44074‐9679
CULLEN G REEVES & CULLEN G REEVES JR JT TEN    4409 AUDUBON PARK DR                                                                        JACKSON         MS    39211‐6136
CULLEN MCKINNEY                                2601 DEACON                                                                                 DETROIT         MI    48217‐1549
CULTUS CAMPBELL                                501 J‐H DEMPS RD                                                                            SPARTA          TN    38583‐4916
CUNEGUNDA M KNAPP                              P O BOX 3683                                                                                BALLWIN         MO    63022
CUONG V NGO                                    1113 SW 129TH ST                                                                            OKLAHOMA CITY   OK    73170‐6991
CUONG X NGHIEM                                 30270 ROSEMOND DR                                                                           FRANKLIN        MI    48025‐1476
CURLEE NELSON                                  6409 FLEMING RD                                                                             FLINT           MI    48504‐3617
CURLEY TURNER                                  721 ELLSWORTH DR                                                                            DAYTON          OH    45426‐2515
CURMIT C CASEY                                 5901 W 107TH ST APT 356                                                                     OVERLAND PARK   KS    66207‐3857
CURNETUS OWENS                                 1401 N ROMINE                                                                               URBANA          IL    61801‐1335
CURRIN E COMBITHS                              2844 TALISMAN CT NE                                                                         ATLANTA         GA    30345‐2029
CURRY D COOK                                   1920 CLIFTON AVE                                                                            SPRINGFIELD     OH    45505‐4020
CURT A MENDENHALL                              606 S ARMSTRONG ST                                                                          KOKOMO          IN    46901‐5371
CURT A SHIRLEY                                 4729 EARLHAM DR                                                                             INDIANAPOLIS    IN    46227‐4481
CURT ALVIN CEDERLEAF                           1026 GALWAY LN                                                                              CLOVER          SC    29710‐9341
CURT ALVIN CEDERLEAF & CLIFFORD A CEDERLEAF JT 1026 GALWAY LN                                                                              CLOVER          SC    29710‐9341
TEN
CURT ANTHONY BROWN                             BOX 86797                                                                                   SAN DIEGO       CA    92138‐6797
CURT ANTHONY RODGERS                           25 DAVALOS CT                                                                               SAN RAMON       CA    94583‐2133
CURT CALLAHAN                                  1296 BLACK MOUNTAIN                                                                         BOULDER         NV    89005‐2006
CURT CLAFLIN & CYNTHIA CRANE JT TEN            1054 EAGLE RIDGE DRIVE                                                                      EL PASO         TX    79912‐7436
CURT D BOWERS                                  2158 GREER                                                                                  SLVAN LAKE      MI    48320‐1467
CURT D WEEKS                                   3203 E 3300 N                                                                               TWIN FALLS      ID    83301‐0547
CURT DIEFENBACH & BRENT DIEFENBACH JT TEN      42 CLARENDON ROAD                                                                           SAVANNAH        GA    31410‐4105
CURT E WARNER                                  325 CHEROKEE DR                                                                             BROWNS MILLS    NJ    08015‐6446
CURT E WISE                                    2707 HARVARD DR                                                                             WARRINGTON      PA    18976‐2371
CURT G LANG JR                                 410 LORUP                                                                                   FORT WRIGHT     KY    41011‐3624
CURT J CAMERUCI                                10647 EAST DE AVE                                                                           RICHLAND        MI    49083‐9605
CURT J HOTEN                                   17737 CORUNNA RD                                                                            CHESANING       MI    48616‐9708
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CURT J STASZUK                                 6750 S KREPPS RD                                                                               SAINT JOHNS       MI    48879‐9118
CURT J WEBER                                   108 FENEIS STREET BOX 384                                                                      WESTPHALIA        MI    48894‐0384
CURT JOHNSON                                   2355 NORTHSIDE DRIVE 300                                                                       SAN DIEGO         CA    92108
CURT L BRETZMAN & KIMBERLY L BRETZMAN JT TEN   1078 HORNADAY ROAD                                                                             BROWNSBURG        IN    46112‐1972

CURT L MASTOS                                   61315 TIMBERLANE DRIVE                                                                        JONES             MI    49061‐9701
CURT M RAIN                                     5568 SEYBOLD RD                                                                               BROOKVILLE        OH    45309‐8241
CURT P CROWTHER & MARY C CROWTHER JT TEN        1354 STRATFORD AVE                                                                            SALT LAKE CITY    UT    84106‐3165
CURT RITTER                                     130 WOODLAWN RD                                                                               WATERLOO          IA    50701‐4248
CURT STAAB                                      3408 SUMMER LN                                                                                HAYES             KS    67601‐1537
CURTIS A BALDWIN                                7625 HONNEN S DR                                                                              INDIANAPOLIS      IN    46256‐3233
CURTIS A BOLLING                                7505 HORIZON HILL DR                                                                          SPRINGBORO        OH    45066
CURTIS A BUTTERFIELD                            402 S FRANKLIN                                                                                FLINT             MI    48503‐5326
CURTIS A DELAGARDELLE CUST LAURA K DELAGARDELLE 540 COLORADO ST                                                                               WATERLOO          IA    50703‐5220
UTMA IA
CURTIS A DUBIN                                  5930 MCMILLAN                                                                                 DEARBORN HGTS     MI    48127‐2434
CURTIS A GOBER                                  1902 WINEWOOD                                                                                 ARLINGTON         TX    76013‐4843
CURTIS A HALL & MRS DEBRA S HALL TEN COM        1066 W 43RD RD                                                                                HOUSTON           TX    77018‐4302
CURTIS A HARRISON                               3552 WEDGEWOOD DR                                                                             ROCHESTER HILLS   MI    48306‐3775
CURTIS A O JACKSON                              311 GARSON AVENUE                                                                             ROCHESTER         NY    14609‐6232
CURTIS A OLSON                                  5413 SUGARMAPLE                                                                               TOLEDO            OH    43623‐1658
CURTIS A VOHWINKLE                              12077 HOGAN ROAD                                                                              GAINES            MI    48436‐9745
CURTIS A WALKER                                 1041 HEATHWOOD DR                                                                             ENGLEWOOD         OH    45322‐2430
CURTIS A WHITTED                                3034 BLUE GRASS LANE                                                                          SWARTZ CREEK      MI    48473‐7930
CURTIS A YAPCHAI                                2180 LOST OAK CT                                                                              GRAND BLANC       MI    48439‐2522
CURTIS ARMSTEAD                                 2200 E 70 TH ST                                                                               CLEVELAND         OH    44103‐4708
CURTIS ARTHUR WONG                              46285 SHOAL DR                                                                                MACOMB            MI    48044‐3641
CURTIS ASHBY                                    34 FAIRWAY DR                                                                                 POPLAR BLUFF      MO    63901‐2994
CURTIS B ALLIAUME JR                            2006 WALTON CT                                                                                NAPERVILLE        IL    60565‐2231
CURTIS B HUTCHISON                              141 FREDERICKSBERG DR                                                                         AVON LAKE         OH    44012‐1863
CURTIS B PARHAM                                 28399 IDENSBROOK CT                                                                           SOUTHFIELD        MI    48034‐5625
CURTIS BARNES                                   670 CHINA GROVE RD                                                                            JAYESS            MS    39641‐3700
CURTIS BARNES                                   6751S EAST END ST                                                                             CHICAGO           IL    60649
CURTIS BEARD                                    193 BURNS RD                                                                                  ELYRIA            OH    44035‐1531
CURTIS BRASWELL                                 3975 MONTCLAIR                                                                                DETROIT           MI    48214‐1602
CURTIS BROOKS ROBERTS                           40812 N CONGRESSIONAL DR                                                                      PHOENIX           AZ    85086‐1801
CURTIS BROUGHTON                                329 WOODSIDE CRT                                                                              BATESVILLE        IN    47006
CURTIS BROWN                                    15810 BEECH DALY RD                 TRLR 405                                                  TAYLOR            MI    48180‐6124
CURTIS BROWN                                    2429 S JIM MINOR RD                                                                           MEBANE            NC    27302‐9185
CURTIS C BEARD                                  193 BURNS ROAD                                                                                ELYRIA            OH    44035‐1531
CURTIS C DEARDORFF                              3201 BRITTANY POINT                                                                           LANSDALE          PA    19446‐6527
CURTIS C GAUSE                                  400 TYLER DRIVE                                                                               PLEASANT HILL     IA    50327‐2050
CURTIS C HOLMES & GLORIA B HOLMES TR HOLMES FAM 952 HICKORY RIDGE DR                                                                          HERNANDO          MS    38632‐8028
TRUST UA 08/29/97
CURTIS C J BLOSS                                1955 BONNIE BRAE NE                                                                           WARREN            OH    44483‐3515
CURTIS C KNIGHT                                 1337 BLUFF                                                                                    BELOIT            WI    53511‐4201
CURTIS C MCCLURE                                13401 MARLOWE                                                                                 DETROIT           MI    48227‐2880
CURTIS C NEAL                                   55 DIEHL DR                                                                                   MOUNT CLEMENS     MI    48043‐2319
CURTIS C WATSON                                 1305 HADLEY                                                                                   ARLINGTON         TX    76011‐4711
CURTIS C WHITE JR                               1504 WALNUT ST                                                                                GREENVILLE        TX    75401‐2545
CURTIS C WILLIAMS                               19131 BERKELEY                                                                                DETROIT           MI    48221‐1801
CURTIS C WINTERS                                6900 HERZOG                                                                                   BRIDGEPORT        MI    48722‐9791
CURTIS CALDWELL                                 1022 MEANDERING WAY                                                                           FRANKLIN          TN    37067‐4042
CURTIS CALHOUN                                  16 PADEREWSKI DR                                                                              BUFFALO           NY    14212‐1041
CURTIS CLARK                                    738 CLARK RD                                                                                  SARDIS            AL    36775‐2807
CURTIS CLEMENS CUST ALEXIS F CLEMENS UGMA MI    1874 PERKINS NE                                                                               GRAND RAPIDS      MI    49505‐5606

CURTIS COMEGYS PIPPIN                          50 AIKEN STREET UNIT 104                                                                       NORWALK           CT    06851‐2003
CURTIS CRAIG                                   C/O NAOMI CRAIG                      632 ROXBURY RD                                            ROCKFORD          IL    61107‐5089
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CURTIS D ANDERSON                            3043 LAKE W RD                                                                               ASHTABULA       OH      44004‐2309
CURTIS D ASHTON                              2412 E 40TH                                                                                  ANDERSON        IN      46013‐2610
CURTIS D BLAKE & LEONA M BLAKE JT TEN        2714 S OLIVE AVE                                                                             WEST PALM BEACH FL      33405‐1249

CURTIS D FUELBERG CUST WILLIAM BENJAMIN      1108 LAVACA ST                     STE 300                                                   AUSTIN            TX    78701‐2173
FUELBERG UNDER TX U‐G‐M‐A
CURTIS D LAUBE                               5916 F41                                                                                     SPRUCE            MI    48762‐9569
CURTIS D MARSCHNER                           1424 HAWTHORNE                                                                               GROSSE POINTE     MI    48236‐1467
                                                                                                                                          WOOD
CURTIS D MC CALL                             1509 MONTCLAIR                                                                               DETROIT           MI    48214‐4622
CURTIS D OWENS                               4783 PETIBONE                                                                                SAGINAW           MI    48601‐6666
CURTIS DUANE BELL                            24794 LORNA DR                                                                               MORENO VALLEY     CA    92553‐5881
CURTIS DWORKEN TR DEVON DWORKEN A MINOR      10724 STAPLEFORD HALL DR                                                                     POTOMAC           MD    20854‐4449
U/DEC OF TRUST 12/23/57
CURTIS DWORKEN TR DUDLEY DWORKEN A MINOR     7824 CADBURY AVE                                                                             POTOMAC           MD    20854
U/DEC OF TRUST 12/23/57
CURTIS E BARLOW                              37 OLD MANOR RD                                                                              NEWARK            DE    19711‐8011
CURTIS E BOOKER                              15371 MARK TWAIN                                                                             DETROIT           MI    48227‐2919
CURTIS E GILLEYLEN                           1118 BARRINGTON DR                                                                           FLINT             MI    48503‐2949
CURTIS E GOODMAN                             4375 E COURT                                                                                 BURTON            MI    48509‐1815
CURTIS E GROCE                               PO BOX 36                                                                                    STOCKBRIDGE       GA    30281‐0036
CURTIS E LOAFMAN                             9435 PATRICIA DR                                                                             OTISVILLE         MI    48463‐9406
CURTIS E NOE                                 1140 DUBOIS RD                                                                               CARLISLE          OH    45005‐3793
CURTIS E PINNER                              4554 CHATHAM PL                                                                              INDIANAPOLIS      IN    46226‐3281
CURTIS E RUSH                                1565 STIRLING AVE                                                                            PONTIAC           MI    48340‐1335
CURTIS E SARRATT                             4522 W LOOP 281 LOT 87                                                                       LONGVIEW          TX    75604
CURTIS E SONGER                              10570 CREST RD                                                                               WEXFORD           PA    15090‐9444
CURTIS E STEPHENS                            1932 E MORAY CT                                                                              INDIANAPOLIS      IN    46260‐2420
CURTIS E THACKER                             PO BOX 58                                                                                    COLLINS           OH    44826‐0058
CURTIS E TURNER                              654 SHERYL DR                                                                                WATERFORD         MI    48328‐2362
CURTIS E TWITTY                              500 BOWIE DR                       APT 120                                                   DAYTON            OH    45417‐3165
CURTIS E WILBANKS                            4476 SUNDERLAND PL                                                                           FLINT             MI    48507‐3720
CURTIS E WOOD                                808 S FOREST                                                                                 INDEPENDENCE      MO    64052‐4031
CURTIS EARNEST JR                            6832 NORTH MERERIMAN               BUILDING 10 APT 177‐S                                     WESTLAND          MI    48185
CURTIS ERIC HARVEY                           1041 RAMSER DR                                                                               BOGART            GA    30622
CURTIS EUGENE THOMPSON                       14885 HOUSTON WHITTIER                                                                       DETROIT           MI    48205‐4124
CURTIS EVANS                                 4521 THISTLE DR                                                                              DAYTON            OH    45427‐2837
CURTIS F DAVIS                               11182 N STATE RD 37                                                                          ELWOOD            IN    46036‐9016
CURTIS F DAVIS JR                            PO BOX 92                                                                                    FRANKTON          IN    46044‐0092
CURTIS F DETERS                              5229 ELLINGTON                                                                               WESTERN SPRINGS   IL    60558‐2036

CURTIS F GORN                                8649 HART DRIVE                                                                              WINDLAKE          WI    53185‐1361
CURTIS F JESSIE                              221 WAYSIDE DR                                                                               PLAINFIELD        IN    46168‐1778
CURTIS F JOHNSON                             865 CORNISH DR                                                                               ENCINITAS         CA    92024‐4517
CURTIS F JOHNSON                             3079 WOLVERINE DR                                                                            ANN ARBOR         MI    48108‐2041
CURTIS F SMITH                               4924 VICKI                                                                                   FT WORTH          TX    76117‐3101
CURTIS FORRY                                 554 NEW BRIDGEVILLE RD                                                                       WRIGHTSVILLE      PA    17368‐8809
CURTIS G CAMPBELL                            421 SOUTHLAWN                                                                                AUBURN            MI    48611‐9451
CURTIS G CLEMENS                             330 WILLINGHAM DR                                                                            LENOIR CITY       TN    37771
CURTIS G DRULEY                              8660 S DURAND RD                                                                             DURAND            MI    48429
CURTIS G GAVETTE                             234 CANTERBURY CT                                                                            LINDEN            MI    48451‐9125
CURTIS G GOLDING                             12405 S 44TH CT                                                                              ALSIP             IL    60803‐2654
CURTIS G SIMON                               21 NURSERY RD                                                                                TITUSVILLE        NJ    08560‐1222
CURTIS G ZODY                                2100 LARITA LANE                                                                             ANDERSON          IN    46017‐9522
CURTIS H BARKER                              303 VISTA AVE                                                                                VANDALIA          OH    45377‐1841
CURTIS H BLUHM                               9022 OYSTER ROAD                                                                             NORTH BENTON      OH    44449‐9611
CURTIS H EDWARDS                             11115 HILL ROAD                                                                              SWARTZ CREEK      MI    48473‐7604
CURTIS H HASELHORST                          79 BELLVILLE RD                                                                              HIGH HILL         MO    63350‐2205
CURTIS H LANDES & RUTH M LANDES JT TEN       418 HARLEYSVILLE PIKE                                                                        SOUDERTON         PA    18964‐2188
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Name                                             Address1                           Address2             Address3           Address4          City            State Zip

CURTIS H TOLLIVER                               4757 GRAFTON RD                                                                               BRUNSWICK       OH    44212‐2027
CURTIS HALL                                     231 STOCKDALE ST                                                                              FLINT           MI    48503‐1194
CURTIS HAMILTON                                 46900 W 11 MILE RD                                                                            NOVI            MI    48374‐2310
CURTIS HAYDEN                                   612 BRITTANY DR                                                                               CHAMPAIGN       IL    61822‐8521
CURTIS HELTON                                   752 HARRISON ST                                                                               DEFIANCE        OH    43512‐2024
CURTIS HENDERSON                                553 W HIGHLAND AV                                                                             WOOSTER         OH    44691‐1339
CURTIS HOLMES                                   110 BLACK OAK TRAIL                                                                           WARNER ROBINS   GA    31088‐6519
CURTIS HOLMES                                   150 KARLYN DR                                                                                 NEW CASTLE      DE    19720‐1309
CURTIS HORNAGE                                  800 E NICHOLS BLVD #3                                                                         SPARKS          NV    89434‐5328
CURTIS I SMITH                                  1001 W 7TH STREET                                                                             WILMINGTON      DE    19805‐3217
CURTIS J JENISON                                10210 60TH AVE                                                                                ALLENDALE       MI    49401‐9312
CURTIS J MCCASTER                               8139 BLUEBERRY LN                                                                             SAINT LOUIS     MO    63134‐1563
CURTIS J NYBERG & LON KAREN NYBERG JT TEN       400 MAIN ST SOUTH                                                                             DEER PARK       WI    54007‐9706
CURTIS J NYBERG CUST TERA LYNN UTMA WI          400 MAIN ST SOUTH                                                                             DEER PARK       WI    54007‐9706
CURTIS JACKSON                                  18444 MANSFIELD ST                                                                            DETROIT         MI    48235‐2930
CURTIS JAMES SAWAN & DALE LORRAINE SAWAN JT TEN 1660 KING WILLIAM WOODS RD                                                                    MIDLOTHIAN      VA    23113‐9121

CURTIS JAMES SHORE                               121 PEACOCK LN                                                                               LINN CREEK      MO    65052‐2047
CURTIS JAY RAMSEY                                9802 S 150 W                                                                                 BUNKER HILL     IN    46914‐9518
CURTIS K PENNELL                                 6323 STATE RD                                                                                VASSAR          MI    48768‐9215
CURTIS K TUCKER                                  6117 SOUTH CARLOVE STREET                                                                    CHICAGO         IL    60629
CURTIS KELLY                                     4522 DIXIE DRIVE                                                                             JACKSON         MS    39209‐5805
CURTIS L ANDRESKI                                5404 BRISTOL PARKE DR                                                                        CLARKSTON       MI    48348‐4800
CURTIS L ASHFORD                                 PO BOX 362                                                                                   COURTLAND       AL    35618‐0362
CURTIS L BAILEY                                  11201 COLLEGE                                                                                DETROIT         MI    48205‐3203
CURTIS L BLACK                                   1003 STONE COURT                                                                             JOPPA           MD    21085‐3743
CURTIS L BLASINGGAME                             8561 WINDING LN                                                                              PENSACOLA       FL    32514
CURTIS L BROWN                                   4020 CARROLL RD                                                                              FORT WAYNE      IN    46818‐9528
CURTIS L BYNES                                   1246 BROOKSIDE ROAD                                                                          PISCATAWAY      NJ    08854‐5119
CURTIS L CARTER                                  5581 SAVOY DR                                                                                WATERFORD       MI    48327‐2772
CURTIS L CHILES                                  215 CREEK POINT LN                                                                           ARLINGTON       TX    76002
CURTIS L CHRISTNER                               4301 LAPEER RD                                                                               BURTON          MI    48509‐1805
CURTIS L COX                                     99 COOPER LN                                                                                 TROY            MO    63379‐5359
CURTIS L EDWARDS                                 14453 VAUGHN RD                                                                              BENTONVILLE     AR    72712‐8736
CURTIS L FORDHAM                                 948 IDLEWOOD AVE                                                                             E CARNEGIE      PA    15106‐1242
CURTIS L GREATHOUSE                              3103 JACK PINE DR                                                                            LIBRARY         PA    15129‐9201
CURTIS L GRUENEBERG                              1445 AINTREE                                                                                 FLORISSANT      MO    63033‐3116
CURTIS L HALL                                    4610 N HAVEN AVE                                                                             TOLEDO          OH    43612‐2339
CURTIS L HART                                    15521 WABASH                                                                                 DETROIT         MI    48238‐1533
CURTIS L HAWKINS                                 3803 DUBOIS ST                                                                               DETROIT         MI    48207‐1424
CURTIS L HOLBROOK & SHEILA S HOLBROOK JT TEN     6112 TIFFIN AVE                    PO BOX 164                                                CASTALIA        OH    44824‐0164

CURTIS L JACKSON                                 W9239 COUNTY ROAD C                                                                          ARGYLE          WI    53504‐9601
CURTIS L JACOBI                                  11156 DODGE RD                                                                               MONTROSE        MI    48457‐9010
CURTIS L JOHNSON                                 510 OLD BRIDGE RD                                                                            GRAND BLANC     MI    48439‐1156
CURTIS L KENYON                                  13801 HINMAN RD                                                                              EAGLE           MI    48822‐9657
CURTIS L KENYON & MARTHA J KENYON JT TEN         13801 HINMAN RD                                                                              EAGLE           MI    48822‐9657
CURTIS L KOETH                                   726 EAST 266TH ST                                                                            EUCLID          OH    44132‐1912
CURTIS L MILLS                                   4455 COOK RD                                                                                 SWARTZ CREEK    MI    48473‐9105
CURTIS L NEALY                                   C/O IDELLA NEALY                   6206 RED BIRD CT                                          DALLAS          TX    75232‐2734
CURTIS L PEARSON                                 18442 INDIANA                                                                                DETROIT         MI    48221‐2026
CURTIS L PETERSON                                10000 WINTHROP                                                                               DETROIT         MI    48227‐1687
CURTIS L POSEY                                   1518 ALPINE DR                                                                               AIKER           SC    29803‐5741
CURTIS L POSTLETHWAIT                            ATTN BARBARA L THOMPSON            206 DAVIS ST                                              BRIDGEPORT      WV    26330‐1704
CURTIS L PUGH                                    26298 FIELDSTONE DR                                                                          NOVI            MI    48374‐2150
CURTIS L ROE                                     517 WESTMOUNT ST                                                                             ROCHESTER       NY    14615‐3219
CURTIS L SMITH                                   399 DAVE DR                                                                                  SENECA          SC    29672
CURTIS L SMITH                                   1427 LAKEMIST LN                                                                             CLERMONT        FL    34711‐5378
CURTIS L TAYLOR                                  9081 FAVERSHAM CT                                                                            LAS VEGAS       NV    89123‐3025
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CURTIS L TAYLOR                               HC 89 BOX 480                                                                                   BARBOURVILLE    KY    40906‐8104
CURTIS L TRAVIS                               6541 LYNMONT DR                                                                                 CHARLOTTE       NC    28212
CURTIS L VAUGHAN                              248 E SANTEE HWY                                                                                CHARLOTTE       MI    48813‐7603
CURTIS L WALKER                               2203 N 68TH ST                                                                                  KANSAS CITY     KS    66109‐2605
CURTIS LAWSON                                 902 HOYT AV                                                                                     SAGINAW         MI    48607‐1718
CURTIS LEWIS                                  176 WESTWAY                                                                                     PONTIAC         MI    48342‐2568
CURTIS LEWIS & FRANCES LEWIS JT TEN           18246 SAN JUAN                                                                                  DETROIT         MI    48221‐2140
CURTIS LUCAS                                  4650 NEWCASTLE CIRCLE                                                                           LITHONIA        GA    30038‐3517
CURTIS M ALSPAUGH                             9493 W CO RD 300 N                                                                              SHIRLEY         IN    47384‐9661
CURTIS M BUYRN                                9436 W 104TH CT                                                                                 WESTMINSTER     CO    80021‐3885
CURTIS M CRANDALL                             260 OAKRIDGE AVE                                                                                KENNMORE        NY    14217‐1165
CURTIS M FIELD                                22 RONALD LANE                                                                                  SYOSSET         NY    11791‐3517
CURTIS M GARNER                               2996 HWY 101 SOUTH                                                                              VILLA RICA      GA    30180‐3583
CURTIS M GRANT                                PO BOX 8                                                                                        KENDALL         WI    54638‐0008
CURTIS M GRECH                                5056 PLEASANT HILL DR                                                                           FENTON          MI    48430‐9336
CURTIS M HELLENBRAND JR                       26842 FOND DU LAC RD                                                                            PAL VRDS        CA    90275‐2359
                                                                                                                                              PENINSULA
CURTIS M KITADA                                 4385 LAMPLIGHTER LN                                                                           PINCKNEY        MI    48169‐8501
CURTIS M REEVES CUST ASHLEY MARIE REEVES UGMA 2760 WOODMONT DRIVE                                                                             BEVERCREEK      OH    45434‐6453
OH
CURTIS M REEVES CUST EMILY MICHELLE REEVES UGMA 2760 WOODMONT DRIVE                                                                           BEVERCREEK      OH    45434‐6453
OH
CURTIS M REEVES CUST NATHAN ALAN REEVES UGMA 2760 WOODMONT DRIVE                                                                              BEAVERCREEK     OH    45434‐6453
OH
CURTIS M STANDLEY                               PO BOX 324                                                                                    MARINE CITY     MI    48039‐0324
CURTIS M SUMERA                                 1215 W GENESEE                                                                                SAGINAW         MI    48602‐5452
CURTIS MANGRUM                                  108 W 19TH ST                                                                                 LOMBARD         IL    60148‐4971
CURTIS MARTIN JR                                3051 TULLY PLACE                                                                              OAKLAND         CA    94605‐3508
CURTIS MERICA                                   3517 E PLANKINTON                                                                             CUDAHY          WI    53110
CURTIS MERRIFIELD GDN ALLISTER LYNN MERRIFIELD  BOX 1422                            ROSETOWN SK                             S0L 2V0 CANADA

CURTIS MERRIFIELD GDN JORDAN ALEXANDER        BOX 1422                              ROSETOWN SK                             S0L 2V0 CANADA
MERRIFIELD
CURTIS MILNER WARREN                          6765 LANDOVER CIRCLE                                                                            TALLAHASSEE     FL    32311‐8493
CURTIS MORGAN                                 1149 RANSOM DR                                                                                  FLINT           MI    48507‐4217
CURTIS N HARRIS                               8130 CHRISTIAN LANE                                                                             INDIANAPOLIS    IN    46217‐4409
CURTIS N RUSSELL                              4879 LIVE OAK DR                                                                                DAYTON          OH    45427‐3233
CURTIS N WILSON                               6122 SINGING HILLS DR                                                                           DALLAS          TX    75241‐2629
CURTIS O CHAMBERLAIN                          3816 LEE STREET                                                                                 ANDERSON        IN    46011‐5037
CURTIS O DOWNING                              PO BOX 72                                                                                       RAPID RIVER     MI    49878‐0072
CURTIS O FLETCHER                             2110 CARLETON DR SW                                                                             DECATUR         AL    35603‐1856
CURTIS O WEST                                 221 1/2 MILLER ST                                                                               SOUTH BELOIT    IL    61080‐1244
CURTIS O WILSON                               1939 COLONY CT #3                                                                               BELOIT          WI    53511‐1868
CURTIS ODNEAL                                 375 WARREN                                                                                      FLINT           MI    48505‐4349
CURTIS P HESTER                               1717 CULLASAJA DR                                                                               HIGHLANDS       NC    28741‐8219
CURTIS P MOORE                                3595 LIDDESDALE                                                                                 DETROIT         MI    48217‐1116
CURTIS P ODOM                                 5246 S SANGAMON ST                                                                              CHICAGO         IL    60609‐6140
CURTIS PARISH                                 3002 DARTMOUTH DR                                                                               JANESVILLE      WI    53548
CURTIS PEARSON‐PETERSON                       2440 BIG DADDY'S ROAD                                                                           PIKEVILLE       NC    27863‐8928
CURTIS POWER                                  163 STEWART DRIVE                                                                               WARNER ROBINS   GA    31093‐6647
CURTIS PURDUE CUST JOHN PURDUE UTMA OK        1521 CAMBRIDGE DR                                                                               ALTUS           OK    73521‐4759
CURTIS R BAINS                                ROUTE 1                               3494 HIGHWAY 92                                           HOTCHKISS       CO    81419‐9558
CURTIS R BURCHFIELD                           271 RYAN RD                                                                                     WINDER          GA    30680‐3564
CURTIS R DIXON                                16565 N SR63                                                                                    COVINGTON       IN    47928
CURTIS R JOHNSON                              246 STATION CIRCLE N                                                                            HUDSON          WI    54016‐9557
CURTIS R JOHNSON                              1613 KENT STREET                                                                                FLINT           MI    48503‐4283
CURTIS R KELLEY                               6355 MILLER RD                                                                                  SWARTZ CREEK    MI    48473‐1520
CURTIS R MERRIFIELD                           PO BOX 1422                           ROSETOWN SK                             S0L 2V0 CANADA
CURTIS R RITENOUR                             10601 SEVEN MILE                                                                                NORTHVILLE      MI    48167‐9116
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CURTIS R SAUER                                   9850 E BOYD ST                                                                                NORMAN             OK    73026‐8227
CURTIS R SHOPE                                   PO BOX 1524                                                                                   RAYMORE            MO    64083‐1524
CURTIS R STANKE                                  2494 OAKRIDGE ROAD                                                                            FLINT              MI    48507‐6211
CURTIS R STONE                                   9233 NORTH CHURCH DR #813                                                                     PARMA HTS          OH    44130‐4706
CURTIS R THIRY                                   409 RHOADES CT                                                                                NORMAN             OK    73072‐3807
CURTIS REED                                      945 BROOKWOOD RUN DR SW                                                                       LILBURN            GA    30047‐7626
CURTIS RICHARDSON                                1925 BADER AVE SW                                                                             ATLANTA            GA    30310‐5027
CURTIS RIGGINS                                   5250 HOLLAND                                                                                  SAGINAW            MI    48601‐9409
CURTIS S LOVELUND                                29 GREEN CREEK LANE                                                                           GLEN MILLS         PA    19342‐1525
CURTIS S READ                                    36 PROSPECT ST                                                                                FOXBORO            MA    02035‐1724
CURTIS S READ & BEVERLY S READ JT TEN            36 PROSPECT ST                                                                                FOXBORO            MA    02035‐1724
CURTIS S WALKER                                  PO BOX 80                                                                                     GRAIN VALLEY       MO    64029‐0080
CURTIS SHORT                                     10314 BRUCE DR                                                                                FLORENCE           KY    41042‐4527
CURTIS SIEBERT                                   19189 LESURE ST                                                                               DETROIT            MI    48235‐1723
CURTIS SKUPNY                                    1226 SW 51ST ST                                                                               CAPE CORAL         FL    33914‐7052
CURTIS SMITH                                     15711 FREELAND                                                                                DETROIT            MI    48227‐2914
CURTIS SPEARS                                    3616 WEDGEWOOD DR                                                                             HARVEY             LA    70058‐7426
CURTIS STEPHEN GIBSON                            2609 TRENTHAM WAY                                                                             RENO               NV    89509‐2355
CURTIS T MOTLEY                                  801 CAMPBELL APT 26                                                                           YPSILANTI          MI    48198‐3859
CURTIS T MOY                                     23019 AVALON                                                                                  ST CLAIRSHS        MI    48080‐2481
CURTIS V ARMSTRONG                               1031 PERSIMMON CREEK DR                                                                       BISHOP             GA    30621‐1372
CURTIS V CARLOUGH                                229 REA AVE EXTENSION                                                                         HAWTHORNE          NJ    07506‐3323
CURTIS V MCNAMEE                                 PO BOX 437                                                                                    FRANKTON           IN    46044‐0437
CURTIS V WILLIAMS CUST KENNETH V WILLIAMS JR     10301 TOPEKA DR                                                                               NORTHRIDGE         CA    91326‐3323
UTMA CA
CURTIS V WILLIAMS CUST MICHEL L WILLIAMS UTMA CA 10301 TOPEKA DR                                                                               NORTHRIDGE         CA    91326‐3323

CURTIS VALENTINE & MRS THERESA VALENTINE JT TEN   9863 PONDSIDE CT                                                                             CINCINNATI         OH    45241‐3830

CURTIS W BARNER                                   1559 S HILLS BLVD                                                                            BLOOMFIELD         MI    48304‐1125
CURTIS W BAUERLE                                  2737 ROCKINGTON DR                                                                           LA VEGAS           NV    89120
CURTIS W FRANKLIN                                 1250 CEDARS ROAD                                                                             LAWRENCEVILLE      GA    30045‐5121
CURTIS W HOLBROOK                                 PO BOX 549                                                                                   VIRGIE             KY    41572‐0549
CURTIS W JOHNSON                                  19 WEST MAIN ST                                                                              NEWTON FALLS       OH    44444‐1107
CURTIS W JONES                                    826 BISHOPS CT                                                                               BIRMINGHAM         AL    35242‐7017
CURTIS W LOWE                                     4411 TANBARK                                                                                 BLOOMFIELD HILLS   MI    48302‐1652

CURTIS W MCFARLING JR                             PO BOX 98538                                                                                 LUBBOCK            TX    79499‐8538
CURTIS W MYERS                                    145 WEST EDINBURGH DR                                                                        NEW CASTLE         DE    19720‐2358
CURTIS W NODOLF & KAY F E NODOLF JT TEN           164 EAST MANOGUE ROAD                                                                        JANESVILLE         WI    53545‐9657
CURTIS W SAUVAGE                                  7680 DAVIS RD                                                                                SAGINAW            MI    48604‐9259
CURTIS W SHATLEY                                  1354 MONTEREY CT                                                                             MORROW             GA    30260‐1014
CURTIS W SIEGEL & MRS PAMELA S SIEGEL JT TEN      219 S CEDAR STREET                                                                           PALATINE           IL    60067‐6062
CURTIS W SMITH                                    1760 BARCLEY                                                                                 ST PAUL            MN    55109‐4504
CURTIS W THOMPSON                                 2355 SE HEATHWOOD CIR                                                                        PORT ST LUCIE      FL    34952‐6929
CURTIS W VAN DE MARK                              485 KIMBERLY                                                                                 BIRMINGHAM         MI    48009‐1114
CURTIS WATTS                                      16 N STREET RD 129                                                                           MILAN              IN    47031‐9190
CURTIS WATTS                                      125 TERRACE PARK                                                                             ROCHESTER          NY    14619‐2418
CURTIS WHITE                                      C/O PEARLIE M WHITE                12415 WYOMING                                             DETROIT            MI    48204‐5435
CURTIS WILLIAMS                                   685 GORDON PLACE S W                                                                         ATLANTA            GA    30310‐2739
CURTIS WILLIAMS                                   2563 ROBB ST                                                                                 BALTIMORE          MD    21218‐4831
CURTIS WILLIS                                     102 BRUCE DR                                                                                 VIVIAN             LA    71082‐9721
CURTIS YOSHIMOTO                                  809 KELAWEA STREET                                                                           LAHAINA            HI    96761‐1420
CURTISS L DAVIS                                   2586 E COUNTY RD                   1100 S                                                    CLOVERDALE         IN    46120‐9791
CURTISS S MILLER                                  1928 S SHILOH                                                                                WICHITA            KS    67207‐5797
CURTISS V STELLA                                  201 RIDGE RD                                                                                 BRISTOL            CT    06010‐7363
CURTISTINE GIBBS                                  4384 KNIGHTSBRIDGE LN                                                                        W BLOOMFIELD       MI    48323‐1625
CURWOOD A DONNELLY                                12962 STAMFORD AVE                                                                           WARREN             MI    48089‐1331
CUSADOKI                                          C/O PAUL B SNYDER JR               4928 COUNTRY RD 125                                       WESTCLIFFE         CO    81252
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CUSTODIA I FEIJO                                 725 S OLDS BLVD                                                                                FAIRLESS HILL      PA    19030‐2415
CUSTODIO FAMILY LIVING TRUST UA 12/08/2005       1780 WATERLOD RD                                                                               MOGADORE           OH    44260
CUSTOM RESEARCH INC                              PO BOX 27900                                                                                   MINNEAPOLIS        MN    55427‐0900
CUSTOM TYPOGRAPHERS INC                          7344 N 122 AVENUE                                                                              OMAHA              NE    68142
CUSTY A BRALSKI                                  48 CRAIG RD                                                                                    BEAR               DE    19701‐1127
CUTHBERT A HEYLIGER & MONICA HEYLIGER JT TEN     SHARYK UPTON                         ST MICHAEL                              BARBADOS

CUTHBERT R CHARLES                               3510 MOUNTAIN VIEW AVE                                                                         PASADENA        CA       91107‐4616
CUTHBERT RANDOLPH COUNTY LIBRARY                 C/O FRANCES MESSER                   913 FORRESTER DR SE                                       DAWSON          GA       31742‐2106
CVETA SEKULOVSKA                                 6019 GLEN EAGLES DR                                                                            WEST BLOOMFIELD MI       48323‐2211

CVIJO JELOVIC                                    7763 DEBONAIRE DRIVE                                                                           MENTOR             OH    44060‐5340
CWO‐GEE LIANG                                    3630 BURNING TREE DR                                                                           BLOOMFIELD HILLS   MI    48302‐1511

CYD GALLARDO                                     1372 ENCHANTED TRL                                                                             SAN JACINTO        CA    92582‐4233
CYD PAULINE ESSOCK & THEODORE S ESSOCK JT TEN    17105 GULF BLVD APT 223                                                                        N REDDINGTON       FL    33708‐1488
                                                                                                                                                BEACH
CYDE E RANKIN III                                10 WEST 66TH ST                                                                                NEW YORK           NY    10023‐6206
CYNDI C BAIGIS                                   6 PROVIDENCE CT                                                                                DELRAN             NJ    08075‐1371
CYNDI H BRANDLE                                  2120 MEMORIAL PKWY                                                                             MINNEAPOLIS        MN    55412‐1164
CYNDI J PAVEGLIO                                 1818 3 RD ST                                                                                   BAY CITY           MI    48708‐6213
CYNDY A MONZYK                                   25645 HIGHWAY U                                                                                WARRENTON          MO    63383‐5451
CYNETHIA C JOHNSON                               PO BOX 2334                                                                                    MUNCIE             IN    47307‐0334
CYNETTE A SCHUCKER                               ATTN CYNETTE S CAVALIERE             5 SPLIT RAIL RUN                                          PENFEILD           NY    14526‐9556
CYNETTE S CAVALIERE & THOMAS M CAVALIERE JR JT   5 SPLIT RAIL RUN                                                                               PENFIELD           NY    14526‐9556
TEN
CYNTHA HVAMB                                     5216 3RD AVE S                                                                                 MINNEAPOLIS        MN    55419‐1416
CYNTHANEE R GREEN                                20776 STAHELIN                                                                                 SOUTHFIELD         MI    48075‐4142
CYNTHIA A ALEVAS                                 166 GROVE AVENUE                                                                               PATCHOGUE          NY    11772‐4134
CYNTHIA A ARDEN                                  2729 ENOCH AVE                                                                                 ZION               IL    60099
CYNTHIA A BEDORE                                 818 ODA ST                                                                                     DAVISON            MI    48423‐1067
CYNTHIA A BORON                                  31608 JUNIPER LN                                                                               WARREN             MI    48093‐7904
CYNTHIA A BOWERS                                 31 TICHENOR PL                                                                                 MONTCLAIR          NJ    07042‐2428
CYNTHIA A CASSADAY                               1810 BEAVER CREEK CT                                                                           DUNCANVILLE        TX    75137‐3709
CYNTHIA A COON                                   6136 HEDGEROW CIRCLE                                                                           GRAND BLANC        MI    48439‐9787
CYNTHIA A COX                                    1556 HIGH RIDGE                                                                                WESTCHESTER        IL    60154‐3429
CYNTHIA A CRONIN                                 45A JORDAN AVE                                                                                 WAKEFIELD          MA    01880‐2629
CYNTHIA A DEJULES                                12364 BERLIN RD                                                                                S ROCKWOOD         MI    48179‐9748
CYNTHIA A DIETRICH                               1319 WESTWOOD CT                                                                               FLINT              MI    48532‐2660
CYNTHIA A DINKINS                                3715 MARGARET AV                                                                               INDIANAPOLIS       IN    46203‐4742
CYNTHIA A FAIRBANKS                              8023 NORTH OAK ROAD                                                                            DAVISON            MI    48423‐9346
CYNTHIA A GARCIA                                 2408 S E 51ST                                                                                  OKLAHOMA CITY      OK    73129‐8922
CYNTHIA A GARMAN SQUIER & DAN E SQUIER JT TEN    104 COVE POINT LN                                                                              WILLIAMSBURG       VA    23185‐8613

CYNTHIA A GERSTLER                               ATTN CYNTHIA SCHAEDIG                8854 WATERLOO MUNITH RD                                   GRASS LAKE         MI    49240‐9251
CYNTHIA A GILLIATT                               1362 CUMBERLAND DRIVE                                                                          HARRISONBURG       VA    22801‐8677
CYNTHIA A GOMEZ                                  3575 KAREN PKWY                      APT 304                                                   WATERFORD          MI    48328‐4627
CYNTHIA A HERNDON                                184 CARVER LANE                                                                                FOREST CITY        NC    28043‐9601
CYNTHIA A HOHN                                   7361 S VASSAR RD                                                                               GRAND BLANC        MI    48439‐7406
CYNTHIA A HOLBUS                                 8495 MOUNTAIN BELL DRIVE                                                                       ELK GROVE          CA    95624‐4205
CYNTHIA A HORTOLA                                20811 N NUNNELEY RD                                                                            CLINTON TWP        MI    48036‐2594
CYNTHIA A HUDSON & KENNETH W HUDSON JT TEN       7877 MCCREERY DRIVE                                                                            PRESQUE ISLE       MI    49777‐8511

CYNTHIA A HYLTON                                 18566 40TH RUN N                                                                               LOSAHATCHEE        FL    33470‐2362
CYNTHIA A JACOBSON                               26222 STOCKDICK SCHOOL RD                                                                      KATY               TX    77493‐6400
CYNTHIA A JAMES                                  2653 COUNTY STREET 2960                                                                        ALEX               OK    73002‐2225
CYNTHIA A JONES                                  5274 COMMONWEALTH ST                                                                           DETROIT            MI    48208‐1725
CYNTHIA A JORDAN                                 1108 SUMMERHILL DR                                                                             JANESVILLE         WI    53546‐3723
CYNTHIA A KARNS                                  4983 SCHEUNER'S WAY                                                                            HOWELL             MI    48843‐7898
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CYNTHIA A KEIFER TOD DAVID W KEIFER               5132 OLDE SAYBROOKE RD                                                                         GRAND BLANC       MI    48439
CYNTHIA A KOLIS                                   25615 LARAMIE DR                                                                               NOVI              MI    48374‐2365
CYNTHIA A KREBS                                   1704 DUNRAVEN DRIVE                                                                            KNOXVILLE         TN    37922‐6236
CYNTHIA A KROLL                                   16476 WALTER                                                                                   SOUTHGATE         MI    48195‐2920
CYNTHIA A LAVAN                                   2093 LAHACIENDA DR                                                                             SPARKS            NV    89431
CYNTHIA A LOCKHART                                1900 SPENCER RD                                                                                NEW LENOX         IL    60451‐2638
CYNTHIA A MAHER                                   45A JORDAN AVE                                                                                 WAKEFIELD         MA    01880‐2629
CYNTHIA A MARSHALL                                1410 N CLEVELAND AVE APT 1N                                                                    CHICAGO           IL    60610‐1176
CYNTHIA A MCDONNELL CUST GABRIELLE A MANNAIN 410 HOBBS LN                                                                                        CLINTO CORNERS    NY    12514‐2504
UTMA NY
CYNTHIA A MCDONNELL CUST TAYLER LEIGH BROWN       410 HOBBS LANE                                                                                 CLINTON CORNERS   NY    12514‐2504
UTMA NY
CYNTHIA A MILLER                                  8732 DEER RUN DR                                                                               BELVIDERE         IL    61008‐9049
CYNTHIA A MILLER & RICHARD J MILLER JT TEN        734 SAINT GEORGES AVE                                                                          RAHWAY            NJ    07065‐2518
CYNTHIA A MOLLET                                  166 GROVE AVENUE                                                                               PATCHOGUE         NY    11772‐4134
CYNTHIA A NAWOSCHIK                               151 BREWERY ROAD                                                                               NEW CITY          NY    10956‐6033
CYNTHIA A NOTTOLI                                 2042 OSCEOLA ST                                                                                DENVER            CO    80212‐1147
CYNTHIA A OGHIGIAN AJABI                          1618 RIDGEWAY DR                                                                               GLENDALE          CA    91202‐1219
CYNTHIA A PEASE                                   48 COLONIAL RD                                                                                 STAMFORD          CT    06906‐1621
CYNTHIA A PICKLO                                  1940 PAWNEE TRAIL                                                                              OKEMOS            MI    48864‐2119
CYNTHIA A PLUNGIS CUST CAROLYN M PLUNGIS UTMA 5815 E CAMPO BELLO DR                                                                              SCOTTSDALE        AZ    85254‐5945
AZ
CYNTHIA A PLUNGIS CUST JENNIFER E PLUNGIS UTMA AZ 5815 E CAMPO BELLO DR                                                                          SCOTTSDALE        AZ    85254‐5945

CYNTHIA A PLUNGIS CUST KIMBERLY J PLUNGIS UTMA   5815 E CAMPO BELLO DR                                                                           SCOTTSDALE        AZ    85254‐5945
AZ
CYNTHIA A POORT                                  2261 IROQUOIS TRL                                                                               HASTINGS          MI    49058‐9761
CYNTHIA A PRESTON                                1041 PALOMINO DR                                                                                FAIRBORN          OH    45324‐9745
CYNTHIA A RANDT & GERALD R RANDT JT TEN          2178 E OAK RIDGE DR                                                                             WEST POINT        MS    39773‐8605
CYNTHIA A RAYMOND                                2978 ALPER                                                                                      LINCOLN PK        MI    48146‐3251
CYNTHIA A REAUX                                  274 C R 494SOUTH                                                                                CHILTON           TX    76632
CYNTHIA A RIES TR UA 01/25/2007 IVY R WALKER     5901 PRESTON                                                                                    HOWELL            MI    48855
REVOCABLE TRUST
CYNTHIA A RILEY‐GLASSBURN                        2060 E WILKINSON RD                                                                             OWOSSO            MI    48867‐9606
CYNTHIA A RINGELBERG                             6520 SUMMER SHORES DR SE                                                                        GRAND RAPIDS      MI    49548‐6992
CYNTHIA A ROBERTSON                              1205 GREENMONT HILLS DR                                                                         VIENNA            WV    26105
CYNTHIA A RODDY                                  3607 ARCHWOOD AVE                                                                               CLEVELAND         OH    44109‐2541
CYNTHIA A ROODY                                  3607 ARCHWOOD AVE                                                                               CLEVELAND         OH    44109‐2541
CYNTHIA A SCHIFF                                 18132 MEDLEY DR                                                                                 ENCINO            CA    91316‐4446
CYNTHIA A SCHUL                                  72 INDIAN TRL                                                                                   LAKE ORION        MI    48362‐1258
CYNTHIA A SCOTT                                  3627 HAZELHURST                                                                                 TOLEDO            OH    43612‐1020
CYNTHIA A SERAFINI                               6522 N TAHOMA                                                                                   CHICAGO           IL    60646‐2825
CYNTHIA A SHAFFER & FREDRIC W SHAFFER JT TEN     1218 SECOND RD                                                                                  BALTIMORE         MD    21220‐5516

CYNTHIA A SIGLINSKY                              2202 W VAN BECK AVE                                                                             MILWAUKEE         WI    53221‐1949
CYNTHIA A SIWULEC                                181 RUMSON RD                                                                                   RUMSON            NJ    07760‐1032
CYNTHIA A SKELTON                                22398 SUNNYHILL DRIVE                                                                           ROCKY RIVER       OH    44116‐3725
CYNTHIA A SLAUGHTER                              7833 CPAE COD CRT                                                                               WEST CHESTER      OH    45069
CYNTHIA A SLOTHOWER CUST JENNIFER R SLOTHOWER    18 DICKS LANE                                                                                   SCHROON LAKE      NY    12870‐2320
UGMA NY
CYNTHIA A SLOWIK                                 28643 HENNEPIN ST                                                                               GARDEN CITY       MI    48135‐2877
CYNTHIA A SLUTZKER                               2 CASTLE HILL CLOSE                                                                             DOBBS FERRY       NY    10522‐2422
CYNTHIA A SMALLEY & FREDERIC C SMALLEY JT TEN    841 MILFORD RD                                                                                  HOLLY             MI    48442‐1663

CYNTHIA A SREDZINSKI                             1064 CHEMUNG                                                                                    HOWELL            MI    48843‐9136
CYNTHIA A STANISCH                               7502 VOSS PARKWAY                                                                               MIDDLETON         WI    53562‐3662
CYNTHIA A SUTTMAN                                5372 LYTLE RD                                                                                   WAYNESVILLE       OH    45068‐9147
CYNTHIA A SUTTON                                 6 FOX RUN ROAD                                                                                  DOVER             MA    02030‐1707
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CYNTHIA A THIELEN CUST SAMANTHA M THIELEN UTMA 33247 N VALLEYVIEW DRIVE                                                                           GRAYSLAKE          IL    60030
IL
CYNTHIA A TISHKOWSKI                           C/O CYNTHIA LEEMON                       2660 MANDALE TERRACE                                      WEST BLOOMFIELD MI       48033

CYNTHIA A TONKAVICH                              PO BOX 342                                                                                       EAST JORDAN        MI    49727‐0342
CYNTHIA A TROST                                  1600 LOCKWOOD                                                                                    HIGHLAND           MI    48356‐2837
CYNTHIA A VICTORSON & JERRY VICTORSON JT TEN     5732 BELLSHIRE LANE                                                                              CLARKSTON          MI    48346‐4743

CYNTHIA A WERNIG                                 PO BOX 310                                                                                       FENTON             MI    48430‐0310
CYNTHIA A WILK                                   4 ICKER AVE                                                                                      SOUTH RIVER        NJ    08882
CYNTHIA A WYNN & PAUL J WYNN JT TEN              1313 WARWICK DRIVE                                                                               LUTHVLE TIMON      MD    21093
CYNTHIA A YARBRO                                 4017 ROSE GARDEN DR                                                                              TOLEDO             OH    43623‐3416
CYNTHIA A ZINK                                   43801 PINOT NOIR DRIVE                                                                           STERLING HEIGHTS   MI    48314‐1801

CYNTHIA ADER CUST RICHARD ADER UGMA NY           16553 S WHITE OAKS DR                                                                            STRONGSVILLE       OH    44136‐7444
CYNTHIA ALLISON CHASE                            260 RACE ST                                                                                      DENVER             CO    80206‐4652
CYNTHIA ANDREWS JENNINGS                         5305 CARNEIA COURT                                                                               CARMICHAEL         CA    95608‐5009
CYNTHIA ANN BOWMAN                               816 E LANESFIELD ST                                                                              GARDNER            KS    66030‐1937
CYNTHIA ANN CARSON                               3402 SYRACUSE DR                                                                                 GARLAND            TX    75043‐2232
CYNTHIA ANN DIFFIN                               8 CAMBRIDGE PARK                                                                                 FRANKENMUTH        MI    48734
CYNTHIA ANN HAMILTON                             11 ADENA HILLS DR                                                                                JEFFERSONVILLE     KY    40337‐9371
CYNTHIA ANN HARPER                               6860 TANGLE WOOD                                                                                 WATERFORD          MI    48327‐3513
CYNTHIA ANN HORN                                 34716 FOUNTAIN BLVD                                                                              WESTLAND           MI    48185‐9434
CYNTHIA ANN HUFFHINES                            11531 EVESBOROUGH                                                                                HOUSTON            TX    77099‐2013
CYNTHIA ANN HUMPHREY                             3885 ATHERTON LN                                                                                 GREENWOOD          IN    46143‐8363
CYNTHIA ANN KEUTER                               11441 BEECHGROVE LANE                                                                            POTOMAC            MD    20854‐1802
CYNTHIA ANN KILLINGS                             1108 WEST 18TH STREET                                                                            LORAIN             OH    44052
CYNTHIA ANN KUENZI & ROBERT SAMUEL KUENZI JT     8203 HASKINS                                                                                     LENEXA             KS    66215‐2538
TEN
CYNTHIA ANN MERIVIRTA                            9372 SHARP RD                                                                                    SWARTZ CREEK       MI    48473‐9117
CYNTHIA ANN MITCHELL                             3010 N ROOSEVELT ST                                                                              ARLINGTON          VA    22207‐1131
CYNTHIA ANN MORGAN                               71 SOUTH DEEPLANDS                                                                               GROSSE POINTE      MI    48236‐2643
                                                                                                                                                  SHOR
CYNTHIA ANN PATTILLO                             4059 BARTLETT FERRY COVE                                                                         BUFORD             GA    30519
CYNTHIA ANN STALLWORTH                           14280 WINDING POND LN                                                                            BELLEVILLE         MI    48111‐7106
CYNTHIA ANN THOMAS                               PO BOX 372                                                                                       WINDHAM            OH    44288‐0372
CYNTHIA ANN WESEMANN                             1790 HOLLYWOOD AVE                                                                               HANOVER PARK       IL    60103‐3380
CYNTHIA ANNE HOUPT                               368 OAK DRIVE                                                                                    ARNOLD             MD    21012
CYNTHIA ANNE MITCHELL CUST KATHRYN RENEE         103 MALLARD WAY                                                                                  PIEDMONT           SC    29673‐8395
MITCHELL UTMA VA
CYNTHIA ANNE MITCHELL CUST MICHAEL AARON         103 MALLARD WAY                                                                                  PIEDMONT           SC    29673‐8395
MITCHELL UTMA VA
CYNTHIA ARLENE KOPPELMAN                         69 E STEVENSON DR                                                                                GLENDALE HEIGHTS IL      60139‐2070

CYNTHIA ASTORGA                                  1209 JULIETTE PLACE                                                                              FALLBROOK          CA    92028‐3523
CYNTHIA AUSTIN                                   2048 ALSUP                                                                                       COMMERCE           MI    48382‐3712
                                                                                                                                                  TOWNSHIP
CYNTHIA B GIGANTINO                             2787 W CANYON AVE                       APT 223                                                   SAN DIEGO          CA    92123‐4725
CYNTHIA B HAIGH                                 42 FORGE ROAD                                                                                     KINGSTON           MA    02364‐1091
CYNTHIA B HALLMAN                               1600 PIKELAND RD                                                                                  CHESTER SPRGS      PA    19425
CYNTHIA B KARUBA                                1715 NEST PL                                                                                      PLANO              TX    75093‐6032
CYNTHIA B ROBERTSON                             7920 N COLLEGE                                                                                    INDIANAPOLIS       IN    46240‐2506
CYNTHIA B SADTLER CUST KELLY RENEA SADTLER UGMA 3505 RUNKLES DRIVE                                                                                MONROVIA           MD    21770‐8810
MD
CYNTHIA B WALKER                                2801 MERRILL MOUNTAIN RD                                                                          GRANT              AL    35747‐8520
CYNTHIA BALDWIN & WILLIS BALDWIN JT TEN         603 GALLEGOS ST                                                                                   ERIE               CO    80516
CYNTHIA BECHER STROUT CUST SARA ELIZABETH       1168 HOLLY BEND DR                                                                                MOUNT PLEASANT     SC    29466‐7957
STROUT UGMA IN
CYNTHIA BENNETT                                 128 SE DALLAS ST                                                                                  GRAND PRAIRIE      TX    75051‐1750
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CYNTHIA BLOOM CUST ADAM JASON BLOOM UGMA NJ 403 WOODHAVEN DR                                                                                                   EDISON            NJ    08817‐3774

CYNTHIA BOIS                                      6401 N MCKINLEY RD 420                                                                                       FLUSHING          MI    48433‐1129
CYNTHIA BRIDGES                                   3617 PROVIDENCE ST                                                                                           FLINT             MI    48507
CYNTHIA C ASHBURNE                                16 TOP O HILL RD                                                                                             DARIEN            CT    06820‐3231
CYNTHIA C BRACKEN                                 3503 SENATE COURT                                                                                            VALENCIA          PA    16059
CYNTHIA C LOCKLIN                                 3099 RIVERWOODS                                                                                              ROCKFORD          MI    49341‐9290
CYNTHIA C MERCADO                                 C/O CYNTHIA C MERCADO               1708 FANTASIA CIRCLE                                                     HERNDON           VA    20170‐2937
CYNTHIA C NELSON                                  5024 HUDDERSFIELD DR                                                                                         HARRISBURG        NC    28075‐6659
CYNTHIA C RAHN & JOYCE B CROSBY JT TEN            136 ANDOVER DR                                                                                               SAVANNAH          GA    31405‐5407
CYNTHIA C REDDISH                                 PO BOX 1033                                                                                                  PALM CITY         FL    34991‐1033
CYNTHIA C SEARS TR UA 09/13/2008 THE HAZEL CLAUSE 5738 JOHN ANDERSON HWY                                                                                       FLAGLER BEACH     FL    32136
REVOCABLE TRUST
CYNTHIA C WALKER                                  PO BOX 359                                                                                                   WARETOWN          NJ    08758‐0359
CYNTHIA C ZYWICKI                                 47288 RED OAK DR                                                                                             NORTHVILLE        MI    48167‐1864
CYNTHIA CAMBIAS FURNISH                           8715 STARCREST DR APT 24                                                                                     SAN ANTONIO       TX    78217‐4708
CYNTHIA CARPETTO                                  1041 SHORE PKWY                                                                                              BROOKLYN          NY    11228‐3919
CYNTHIA CECIL                                     801 ROSEGILL RD                                                                                              RICHMOND          VA    23236‐3844
CYNTHIA CESARSKI                                  249 HOFFMAN ST                                                                                               FRANKLIN SQUARE   NY    11010‐2301

CYNTHIA CHERYL SLAWSON                            2806 SUGAR WOOD DR                                                                                           LEAGUE CITY       TX    77573‐5726
CYNTHIA CLARE SPENCER                             C/O CYNTHIA S TRACEY                PO BOX 160                                                               LA CONNER         WA    98257‐0160
CYNTHIA COLLINS                                   1158 COOK RD                                                                                                 GRAND BLANC       MI    48439
CYNTHIA CORT NICKEL                               PO BOX 1270                                                                                                  OROVILLE          CA    95965‐1270
CYNTHIA COUCH                                     36693 MELTON                                                                                                 WESTLAND          MI    48186‐4045
CYNTHIA COWAN WARD                                5778 WHISPERING WOODS DR                                                                                     PACE              FL    32571‐8327
CYNTHIA COX GENTRY TR CYNTHIA COX GENTRY LIVING   112 KINGS MILL DR                                                                                            LOGANSPORT        IN    46947‐2436
TRUST UA 11/10/94
CYNTHIA D BARTLEY & RUBY C NJOROGE & NGANGA       PO BOX 60933                                                                                                 SANTA BARBARA     CA    93160
NJOROGE JT TEN
CYNTHIA D BLANE                                   PO BOX 341                                                                                                   ST JOHN           IN    46373‐0341
CYNTHIA D BOND                                    35253 WICK RD                                                                                                ROMULUS           MI    48174‐1658
CYNTHIA D BRAGER                                  1508 WEST RAMSEY AVE                                                                                         MILWAUKEE         WI    53221‐5031
CYNTHIA D BRIDGES                                 6275 PETTIFORD DRIVE EAST                                                                                    JACKSONVILLE      FL    32209‐1825
CYNTHIA D BYBERNEIT & SANDRA K BYBERNEIT JT TEN   1467 SUN TERRACE DRIVE                                                                                       FLINT             MI    48532

CYNTHIA D FAIRFIELD TR                            UA 07/08/2008                       DONALD G SMITH RESIDUARY   TRUST NO 106‐08‐01   17236 BALBOA POINT WAY   BOCA RATON        FL    33487
CYNTHIA D GAMES CUST JUSTIN CHASE GAMES UTMA      625 POST OAK CIR                                                                                             BRENTWOOD         TN    37027‐5188
TN
CYNTHIA D GAMES CUST TYLER BENJAMIN GAMES         625 POST OAK CIR                                                                                             BRENTWOOD         TN    37027‐5188
UTMA TN
CYNTHIA D GLOVER                                  5344 CARTER RD                                                                                               LAKE MARY         FL    32746‐4036
CYNTHIA D HOELTING                                13436 PLANTERS ROW DR                                                                                        CHARLOTTE         NC    28278‐0014
CYNTHIA D JOHNSON                                 2006 INDICA TRL                                                                                              ALBANY            GA    31707‐5235
CYNTHIA D JONES                                   1758 GALES ST NE                                                                                             WASHINGTON        DC    20002‐7206
CYNTHIA D KALUZNY & ROBERT J KALUZNY JT TEN       8389 EMERALD LN W                                                                                            WESTLAND          MI    48185‐7660
CYNTHIA D MARTIN                                  1848 E WEBB RD                                                                                               DEWITT            MI    48820‐8366
CYNTHIA D MCNALLY                                 140 CEDAR STREET                                                                                             BRAINTREE         MA    02184‐1834
CYNTHIA D MIELKE                                  22502 FOX CROFT                                                                                              WOOODHAVEN        MI    48183‐1467
CYNTHIA D ROPER                                   5608 34TH AVE N                                                                                              ST PETERSBURG     FL    33710‐1908
CYNTHIA D RUSSELL                                 70 CAMBRIDGE DR                                                                                              CHESHIRE          CT    06410
CYNTHIA D SHELTON                                 9509 COUNTY RD 434                                                                                           TRINITY           AL    35673‐3026
CYNTHIA D SILJESTROM                              2697 CHERRY LANE                                                                                             WALNUT CREEK      CA    94596‐2155
CYNTHIA D SMITH                                   67 MARNE RD                                                                                                  CHEEKTAWAGA       NY    14215‐3611
CYNTHIA D STAHL                                   ATTN CYNTHIA D GAMES                625 POST OAK CIRCLE                                                      BRENTWOOD         TN    37027‐5188
CYNTHIA D THOMPSON                                13110 LAMAR AVE                                                                                              OVERLAND PARK     KS    66209‐3800
CYNTHIA D WASHINGTON                              12 IZLAR ST                                                                                                  BLACKVILLE        SC    29817‐2628
CYNTHIA D YANKURA                                 610 GENERAL GEORGE PATTON RD                                                                                 NASHVILLE         TN    37221‐2455
CYNTHIA DAVIS & JAMES ODOARDO JT TEN              5021 NW 54TH ST                                                                                              COCONUT CREEK     FL    33073‐3733
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CYNTHIA DAY                                        C/O CYNTHIA DAY WITHERS             67 CACHE CAY DR                                           VERO BEACH        FL    32963‐1211
CYNTHIA DIRCKS                                     2902 VOORHEIS RD                                                                              WATERFORD         MI    48328‐3257
CYNTHIA DOLE REDEKER                               PECKVILLE RD                                                                                  SHELBURNE FALLS   MA    01370

CYNTHIA DORSEY                                     5124 ROYALWOOD RD                                                                             N ROYALTON        OH    44133‐4020
CYNTHIA DUFOUR                                     4220 BEN GUNN RD                                                                              VIRGINIA BCH      VA    23455‐2120
CYNTHIA DUN HALEGUA                                13834 PACKARD TE                                                                              DELRAY BEACH      FL    33484‐1562
CYNTHIA E BONCELLA                                 2297 LAMBERTON ROAD                                                                           CLEVELAND         OH    44118‐3517
                                                                                                                                                 HEIGHTS
CYNTHIA E BOYKINS                              3910 RACE ST                                                                                      FLINT             MI    48504‐2295
CYNTHIA E CANADY                               5928 KENSINGTON                                                                                   KANSAS CITY       MO    64130‐4642
CYNTHIA E CHOPE                                4208 W SCHIMMER DRIVE                                                                             GRAND ISLAND      NE    68803‐9627
CYNTHIA E EDMONDSON & THOMAS W EDMONDSON JT 32621 BIDDISTONE LN                                                                                  FARMINGTON        MI    48334
TEN
CYNTHIA E EDWARDS                              1020 WEST MAIN ST                                                                                 LOVELAND          OH    45140‐2409
CYNTHIA E HAMMERSMITH                          13351 FAIRFIELD CIRCLE DR                                                                         CHESTERFIELD      MO    63017
CYNTHIA E HENRY                                2712 RAINWATER TRL                                                                                CONYERS           GA    30094‐3952
CYNTHIA E HODGES                               2613 LANDON                                                                                       FLINT             MI    48504‐2789
CYNTHIA E KELLEY                               300 TAKORA A AVENUE                                                                               GREENEVILLE       TN    37744‐0758
CYNTHIA E MARTIN                               1717 N PARKER DR                                                                                  JANESVILLE        WI    53545‐0769
CYNTHIA E MCINTYRE                             308 THIRD ST                                                                                      HAZARD            KY    41701‐2164
CYNTHIA E OCHS                                 8714 S TRIANGLE L RANCH PL                                                                        VAIL              AZ    85641‐8930
CYNTHIA E OTTEWELL & WILLIAM A OTTEWELL JT TEN 10 MCGREGOR WAY                                                                                   BEL AIR           MD    21014‐5631

CYNTHIA E PEIRCE                                   7 UPLAND RD                                                                                   NEWBURYPORT       MA    01950‐1925
CYNTHIA E PERRY                                    2526 PIONEER OAKS                                                                             FRESNO            TX    77545‐2070
CYNTHIA EDGERLEY                                   ATTN CYNTHIA E TEEGARDEN            1704 CARR COURT                                           BETAVIA           IL    60510‐8650
CYNTHIA ENGLEFIELD                                 ATTN CYNTHIA ENGLEFIELD LIPAJ       1731 TIMBERLAKE DR                                        DELAWARE          OH    43015‐8897
CYNTHIA EVANS                                      1929 CIVIETOWN RD SW                                                                          SUPPLY            NC    28462‐3175
CYNTHIA F BREZINSKI & JAMES J BREZINSKI JT TEN     64 THOMAS DR                                                                                  MANCHESTER        CT    06040‐2634
CYNTHIA F FLORES                                   23844 EDWARD                                                                                  DEARBORN          MI    48128‐1224
CYNTHIA F SUTTON                                   5172 W LAKE RD #311                                                                           CAZENOVIA         NY    13035‐9633
CYNTHIA F WILSON                                   1060 CRABAPPLE TRACE                                                                          ALPHARETTA        GA    30004‐1016
CYNTHIA FAIRFAX BOUTON                             BOX 27                                                                                        SALISBURY MILLS   NY    12577‐0027
CYNTHIA FIELD                                      178 HALL DR                                                                                   ORINDA            CA    94563‐3655
CYNTHIA FOOTE                                      15 FIR TOP DRIVE                                                                              ORCHARD PARK      NY    14127‐3516
CYNTHIA FRANK                                      APT 1912                            1560 N SANDBURG TER                                       CHICAGO           IL    60610‐7716
CYNTHIA FREDICK NORRIS                             106 W BUTTONWOOD ST                                                                           WENONAH           NJ    08090‐1739
CYNTHIA FRENCH                                     3655 SULLIVAN RD                                                                              MARLETTE          MI    48453‐8980
CYNTHIA FRIEDEL CUST ANDREW FRIEDEL UTMA OH        531 WEST ARCHER PARKWAY                                                                       CAPE CORAL        FL    33904‐2848

CYNTHIA FULLER                                 120N CONRAD ST                                                                                    BENTON            AR    72015‐3582
CYNTHIA G CHATTMAN                             C/O CYNTHIA G HAYES                     2455 ARCHWOOD STREET                                      DAYTON            OH    45406‐1402
CYNTHIA G GIER                                 2860 RIVER TRL                                                                                    ROCHESTER HILLS   MI    48309‐3201
CYNTHIA G HAYES                                2443 BAY WOOD ST                                                                                  DAYTON            OH    45406‐1408
CYNTHIA G HENSEL                               PO BOX 65                                                                                         ORCAS             WA    98280‐0065
CYNTHIA G KAPLAN‐ROONEY CUST STEPHEN C KAPLAN‐ 165 GORDONHURST AVE                                                                               MONTCLAIR         NJ    07043‐1722
ROONEY UTMA NY
CYNTHIA G KNEISLEY                             6644 KINGS HWY S                                                                                  ZIONSVILLE        PA    18092‐2065
CYNTHIA G LEE‐FONG & GLENICE J LEE JT TEN      134 EL CERRITO AVE                                                                                PIEDMONT          CA    94611
CYNTHIA G NEWBERRY                             1764 S 750 E                                                                                      GREENTOWN         IN    46936‐9133
CYNTHIA G PRICE                                46 HARLEY CIRCLE                                                                                  FAIRFIELD GLADE   TN    38558‐2659
CYNTHIA G SHUMAN                               3 MESA LN                                                                                         MALVERN           PA    19355‐2921
CYNTHIA G WELLINGTON                           7452 CHILLICOTHE ROAD                                                                             MENTOR            OH    44060‐7006
CYNTHIA G WINTERSTEEN                          507 WINSTON DR                                                                                    ENDICOTT          NY    13760‐2427
CYNTHIA GAIL BUSTER                            6245 BALDWIN CIRCLE                                                                               BRIGHTON          MI    48116‐9552
CYNTHIA GAIL MURPHY                            5921 WILLOWROSS WAY                                                                               PLANO             TX    75093‐4778
CYNTHIA GAIL TAYLOR CUST MICHAEL ANDREW TAYLOR 108 WELDON DRIVE                                                                                  CLAYTON           NC    27520‐4991
JR UTMA NC
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CYNTHIA GAIL TAYLOR CUST SANDRA BROOKE TAYLOR      108 WELDON DR                                                                                    CLAYTON          NC    27520‐4991
UTMA NC
CYNTHIA GARDNER VANCE TR UA 04/21/1989 CYNTHIA     1801 BALLARD MILL LANE                                                                           LOUISVILLE       KY    40207‐1723
GARDNER VANCE TRUST
CYNTHIA GARVIN                                     9725 S BEVERLY                                                                                   CHICAGO          IL    60643‐1339
CYNTHIA GERARD KANDEL                              8620 NW 13TH ST LOT 205                                                                          GAINESVILLE      FL    32653‐7938
CYNTHIA GILBERT & VERLE B GILBERT JR JT TEN        9051 SEYMOUR RD                                                                                  SWARTZ CREEK     MI    48473‐9161
CYNTHIA GOLD CUST ROBYN ELIZABETH GOLD UTMA FL     2461 NE 199 STREET                                                                               MIAMI            FL    33180‐1829

CYNTHIA GOULD                                      PO BOX 2657                                                                                      GEARHART         OR    97138
CYNTHIA GYIMAH                                     95 VITYORIO DELUCA DRIVE               WOODBRIDGE ON                           L4L 0A8 CANADA
CYNTHIA H BACHELDER                                105 GRANBY RD                                                                                    SOUTH PORTLAND   ME    04106‐4015

CYNTHIA H DOWNS                                    21507 HYERWOOD                                                                                   SAN ANTONIO      TX    78259‐2121
CYNTHIA H HARRIS                                   3523 MORNING DOVE RD                                                                             ROANOKE          VA    24018‐5011
CYNTHIA H MANGUM                                   3724 SAWGRASS DR                                                                                 TITUSVILLE       FL    32780‐5487
CYNTHIA H OLMSTEAD                                 4224 N HENDERSON RD                                                                              DAVISON          MI    48423‐8401
CYNTHIA H RUSE                                     23 WEBSTER PLACE                                                                                 BROOKLYN         NY    11215‐5507
CYNTHIA H VINCENT CUST LISA M VINCENT UTMA WI      3313 SOUTH 46TH STREET                                                                           GREENFIELD       WI    53219‐4825

CYNTHIA H WHITE                                    1120 E 31ST ST                                                                                   ANDERSON         IN    46016‐5618
CYNTHIA HEJCL DILLON                               8478 SEATON PL                                                                                   MENTOR           OH    44060‐6022
CYNTHIA HOLLIS                                     241 HILLCREST DR                                                                                 DOYLESTOWN       PA    18901‐3333
CYNTHIA I TURNER                                   83 FOX HOLLOW DRIVE                                                                              CROSSVILLE       TN    38571‐3244
CYNTHIA J ADAMSON                                  3556 DODD HOLW                                                                                   NUNNELLY         TN    37137‐2718
CYNTHIA J ARMSTRONG                                2193 S ELMS                                                                                      SWARTZ CREEK     MI    48473‐9729
CYNTHIA J BADE                                     1286 N RIVERSIDE DR                                                                              MOMENCE          IL    60954‐3452
CYNTHIA J BARBER                                   61495 GLENWOOD TRL                                                                               WASHINGTON       MI    48094‐1518
CYNTHIA J BASIL                                    27 HOLLY MAR HILL RD                                                                             NORTHFORD        CT    06472‐1120
CYNTHIA J BENNETT                                  3601 EAST STATE ROAD 236                                                                         ANDERSON         IN    46017
CYNTHIA J BLANKENSHIP                              915 WHITE OAK CIRCLE                                                                             MEDINA           OH    44256‐3207
CYNTHIA J BRONNER                                  ATTN CYNTHIA J KAWKA                   8370 CHESTERTON DR                                        BYRON CENTER     MI    49315‐9063
CYNTHIA J CLOUSE                                   15433 BREWSTER RD                                                                                CLEVLAND         OH    44112‐3505
CYNTHIA J COPE                                     2769 WESTON PL                                                                                   FAYETTEVILLE     AR    72703‐6580
CYNTHIA J DANIELS KOSLOSKI                         33 WILLOW ST                                                                                     W HARWICH        MA    02671‐1322
CYNTHIA J FERRIER                                  1860 CARPENTER DR                                                                                TROY             MI    48098‐4364
CYNTHIA J HANCOCK WAKELAND                         1118 LINDEN CT                                                                                   DECATUR          IL    62522‐1332
CYNTHIA J HAWKINS                                  115 N 600 E                                                                                      GREENTOWN        IN    46936‐9709
CYNTHIA J HULLINGS                                 314 N ARMOUR                                                                                     WICHITA          KS    67206‐2031
CYNTHIA J JENKS                                    1672 DUGGIN SWITCH RD                                                                            VINE GROVE       KY    40175‐9626
CYNTHIA J KALINSKI & RANDALL E KALINSKI JT TEN     203 WEST LAKE                                                                                    SOUTH LYON       MI    48178‐1305

CYNTHIA J LANGHURST GUARDIAN FOR KATHERINE J       140 HILLSIDE LANE                                                                                SHAWAND          WI    54166‐3714
LANGHURST
CYNTHIA J MIDDLETON                                13127 66TH AVE S                                                                                 SEATTLE          WA    98178‐5004
CYNTHIA J MISAMORE                                 25841 ARCADIA DR                                                                                 NOVI             MI    48374‐2446
CYNTHIA J MORELAND                                 6400 U S RTE 11                                                                                  HOMER            NY    13077
CYNTHIA J MURPHY                                   345 NIBLICK LN                                                                                   OXFORD           CT    06478‐3113
CYNTHIA J NEWTON                                   3025 CODY HILL RD                                                                                NASHVILLE        TN    37211‐7903
CYNTHIA J OBOCZKY                                  36 N 7TH AVE                                                                                     IRON RIVER       MI    49935‐1602
CYNTHIA J OLSON                                    5008 BUCKEYE RD                                                                                  MADISON          WI    53716‐2224
CYNTHIA J ONEGLIA                                  138 BALDWIN HILL RD                                                                              WASHINGTON       CT    06794‐1002
                                                                                                                                                    DEPOT
CYNTHIA J PALMER                                   3700 S WRESTPORT                                                                                 SIOUX FALLS      SD    57106
CYNTHIA J PANKE TR UA 05/29/92 CYNTHIA J PANKE     27613 LARRY                                                                                      ROSEVILLE        MI    48066‐2723
TRUST
CYNTHIA J PHELPS                                   1377 HOMESTEAD CT                                                                                FLINT            MI    48507‐0501
CYNTHIA J SCHMID                                   48331 CENTRAL PARK DRIVE                                                                         CANTON           MI    48188‐1494
CYNTHIA J SEALS                                    3432 W COUNTY ROAD 1400 S                                                                        KOKOMO           IN    46901
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CYNTHIA J SMITH & CHARLES D SMITH JT TEN           2980 FIFTH BOX 46                                                                                  TWIN LAKE       MI    49457‐9348
CYNTHIA J SOLOMON & MICHAEL G SOLOMON JT TEN       2503 DEWBERRY COURT                                                                                MELISSA         TX    75154

CYNTHIA J STRAATMEYER                              664 RIDGE LOOP                                                                                     NORTH POLE      AK    99705‐5344
CYNTHIA J STULTS                                   ATTN CYNTHIA J MILLER                  3489 E 600 N                                                ANDERSON        IN    46012‐9529
CYNTHIA J SZWAJDA & STEPHANIE M SZWAJDA JT TEN     27 SANDY LANE                                                                                      CHEEKTOWAGA     NY    14227‐1330

CYNTHIA J VAN BRUNT                                9661 OAKBROOKE LN APT 9                                                                            HOWELL          MI    48843
CYNTHIA J VITTERS CUST HOLLY K VITTERS UGMA FL     2226 HERON CIR                                                                                     CLEARWATER      FL    33762‐3309

CYNTHIA J WEBER                                    204 MAIN ROAD                                                                                      MONTEREY        MA    01245
CYNTHIA J WORKMAN                                  1910 19TH HW                                                                                       PBG             FL    33418‐3565
CYNTHIA JANE MC CARTNEY                            8882 LAKEFIELD COURT                   C/O CYNTHIA J GEARY                                         GALLOWAY        OH    43119‐9474
CYNTHIA JAUCH                                      2505 FALCONBRIDGE DRIVE                                                                            CINCINNATI      OH    45238‐1824
CYNTHIA JAYNE PRESLEY                              755 SWAN LAKE RD                                                                                   STOCKBRIDGE     GA    30281
CYNTHIA JEAN BADER                                 4091 GARDNER ROAD                                                                                  METAMORA        MI    48455‐9782
CYNTHIA JEAN BUZZARD                               113 MARIE DR                                                                                       KING            NC    27021‐8724
CYNTHIA JEAN LITTLE                                4444 SEMINOLE DR                                                                                   ROYAL OAK       MI    48073‐6319
CYNTHIA JEAN STEMPLE                               23710 E HOXEYVILLE RD                                                                              WELLSTON        MI    49689‐9769
CYNTHIA JEAN WAKELAND                              1118 LINDEN CT                                                                                     DECATUR         IL    62522‐1332
CYNTHIA JEANNE CAMLIN                              921 N HICKORY ST                                                                                   SCOTTDALE       PA    15683‐1049
CYNTHIA JO SHRYOCK                                 8263 YUKON CT                                                                                      ARVADA          CO    80005‐2535
CYNTHIA JOHNSON                                    12 BRANDON STREET                                                                                  LEXINGTON       MA    02420‐2904
CYNTHIA K ADAMS                                    105 OVERLOOK CT                                                                                    MONROEVILLE     PA    15146‐2034
CYNTHIA K CARPENTER                                1657 MISSOURI AVE                                                                                  FLINT           MI    48506‐3506
CYNTHIA K COLEMAN                                  99 BRETTWOOD DR                                                                                    WASHINGTON      WV    26181
CYNTHIA K FOLSOM                                   902 N 82ND TER                                                                                     KANSAS CITY     KS    66112‐1979
CYNTHIA K FORSYTHE                                 10658 E HENDERSON RD                                                                               CORUNNA         MI    48817‐9791
CYNTHIA K HEATH                                    2035 FAIRFAX AVE                                                                                   LAS CRUCES      NM    88001‐1514
CYNTHIA K HETLER                                   173 WOOD LANE                                                                                      FORD CITY       PA    16226
CYNTHIA K HICKOK                                   523 BRIAR PATH                                                                                     HOUSTON         TX    77079‐6551
CYNTHIA K KORCZAK                                  23956 S LAKEVIEW DRIVE                                                                             MINOOKA         IL    60447‐9234
CYNTHIA K KORCZAK & NICHOLAS A KORCZAK JT TEN      23956 S LAKEVIEW DRIVE                                                                             MINOOKA         IL    60447‐9234

CYNTHIA K MAWSON                                   253 ATHENS BLVD                                                                                    BUFFALO         NY    14223‐1603
CYNTHIA K MAZENKO                                  2 TEAROSE LN                                                                                       LEVITTOWN       PA    19054‐2210
CYNTHIA K SCHULZE                                  42 BLUE BIRCH DR                                                                                   ROCHESTER       NY    14612‐6004
CYNTHIA K TEMPLETON                                6620 S PRIMROSE PKY                                                                                MUNCIE          IN    47302‐8753
CYNTHIA K ZENAS                                    2532 EATON GATE RD                                                                                 LAKE ORION      MI    48360‐1849
CYNTHIA KATHRYN VAUGHAN                            PO BOX 1093                                                                                        SALEM           VA    24153‐1093
CYNTHIA KAY CARON                                  2461 GANNON                                                                                        HOWELL          MI    48843‐9339
CYNTHIA KAY LAWRENCE HESTON                        215 PHILOSOPHERS TERR                                                                              CHESTERTOWN     MD    21620‐1613
CYNTHIA KAY RECTOR                                 2726 SHELTER IS DR 309                                                                             SAN DIEGO       CA    92106
CYNTHIA KAYE ACKERMAN CUST DEBBIE LYNN             1411 KEY WEST DRIVE                                                                                TROY            MI    48083‐1055
ACKERMAN UGMA MI
CYNTHIA KIM DIXON                                  44980 W 11 MILE ROAD                                                                               NOVI            MI    48375‐1504
CYNTHIA KINCAID CUST KELSEY KINCIAD UTMA IN        12454 LIMBERLOST DR                                                                                CARMEL          IN    46033
CYNTHIA KOTSIS                                     2341 PLEASANT VIEW DR                                                                              ROCHESTER HLS   MI    48306‐3146
CYNTHIA L ABBATE                                   3616 MARQUETTE                                                                                     DALLAS          TX    75225‐5125
CYNTHIA L ALPERN                                   3497 AVENIDA LADERA                                                                                THOUSAND OAKS   CA    91362‐1133
CYNTHIA L ARMSTRONG & THOMAS A DORRANCE JT         4517 VAN ETTAN DAM RD                                                                              OSCODA          MI    48750‐9602
TEN
CYNTHIA L BARR                                     3101 WEST MAIN ST                                                                                  MUNCIE          IN    47304‐3938
CYNTHIA L BOND                                     7630 COUNY ROAD 50                                                                                 CARVER          MN    55315
CYNTHIA L BRADY                                    305 BRYANT LN                                                                                      CEDAR HILL      TX    75104‐1743
CYNTHIA L BURROWS HICKMAN                          11512 FLINT GROVE LANE                                                                             GAITHERSBURG    MD    20878‐2469
CYNTHIA L BUTRICO                                  1561 SUNRAY DRIVE                                                                                  PALM HARBOR     FL    34683‐3963
CYNTHIA L CAMPBELL                                 ATTN CYNTHIA BARANOWSKI                18705 MOUNTAIN PLOVER CIRCLE                                ANCHORAGE       AK    99516‐6124
CYNTHIA L CARROLL                                  922 SAYBROOK DR                                                                                    WATERFORD       MI    48327‐2587
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CYNTHIA L CHRISTIANSEN                           5482 SHALE DR                                                                                 TROY            MI    48098‐3973
CYNTHIA L DARBY                                  3577 COMPTON PKWY                                                                             SAINT CHARLES   MO    63301‐4078
CYNTHIA L DONLEY & KEVIN C DONLEY JT TEN         2039 SE VILLAGE CT                                                                            HILLSBORO       OR    97123‐6138
CYNTHIA L DREWS                                  1410 BRADLEY CT                                                                               DOWNERS GROVE   IL    60516‐3200
CYNTHIA L DYER                                   1642 SCOTTSDALE RD                                                                            BEAUMONT        CA    92223‐8552
CYNTHIA L ECHEVARRIA TR UW ANNABELLE ROBINETTE   25 MATHESON RD                                                                                WIITEHOUSE      NJ    08889‐5007
                                                                                                                                               STATION
CYNTHIA L FERGUSON                               1421 MANCHESTER DR                                                                            EUGENE          OR    97401‐4400
CYNTHIA L FINKE‐LEACH                            7667 QUETZAL DR                                                                               DUBLIN          OH    43017‐8235
CYNTHIA L FISHER                                 1515 S 17TH ST                                                                                KOKOMO          IN    46902‐2408
CYNTHIA L FRANKS                                 4332 FAIRGROUND RD                  BOX 38                                                    RANDOPLH        OH    44265‐0038
CYNTHIA L FULMER & JAMES A FULMER JT TEN         159 BELMONT STREET                                                                            NORTH           PA    15642‐2522
                                                                                                                                               HUNTINGDON
CYNTHIA L GLASER                                 ATTN CYNTHIA L TAGESON              4912 E 775 S                                              HAMILTON        IN    46742‐9603
CYNTHIA L GROSS                                  ATTN CYNTHIA L WEBSTER              20 WINDEMERE CT                                           DOWNINGTOWN     PA    19335‐1113
CYNTHIA L HENMON U/GDNSHIP OF LUISE M HENMON     20 BIRNHAM LN                                                                                 DURHAM          NC    27707‐5174

CYNTHIA L HILL                                   8145 N LINDEN RD                                                                              MOUNT MORRIS    MI    48458‐9488
CYNTHIA L HOFFMANN                               220 AL DON DRIVE                                                                              PINCKNEY        MI    48169‐9169
CYNTHIA L HOLT                                   4650 TIFFANY WOOD CIRCLE                                                                      OVIEDO          FL    32765‐7570
CYNTHIA L J SHEPHERD                             642 HIGH ST                                                                                   HANSON          MA    02341‐1640
CYNTHIA L KALSON                                 C/O MS JENSEN                       625 N WRIGHT ROAD                                         JANESVILLE      WI    53546‐1957
CYNTHIA L KRAATZ TOD MARK D KRAATZ SUBJECT TO    6953 NORTHVIEW DRIVE                                                                          LOCKPORT        NY    14094
STA TOD RULES
CYNTHIA L LARISH                                 6520 SOUTH PARK DR                                                                            WISC RAPIDS     WI    54494
CYNTHIA L LECKY                                  217 HAMILTON ST                                                                               ROSELLE         NJ    07203‐1615
CYNTHIA L LENTZ                                  25988 BYRON DR                                                                                NORTH OLMSTED   OH    44070‐1911
CYNTHIA L LISTER                                 60 S WEST ST                                                                                  BELLBROOK       OH    45305‐1919
CYNTHIA L LUMLEY & WILLIAM L LUMLEY JT TEN       40317 WORTHINGTON COURT                                                                       CANTON          MI    48188‐1510
CYNTHIA L MASON                                  1495 VANSTONE DR                                                                              COMMERCE        MI    48382‐1982
                                                                                                                                               TOWNSHIP
CYNTHIA L MERCER                                 108 SOUTHWICK DR                                                                              WILMINGTON      DE    19810‐4415
CYNTHIA L MEYERS                                 10714 LOOKING GLASS AVE                                                                       PORTLAND        MI    48875‐8471
CYNTHIA L MOORE                                  2157 C HIDDEN MEADOWS                                                                         WALLED LAKE     MI    48390‐2574
CYNTHIA L MUELLER                                4240 BARTH LANE                                                                               KETTERING       OH    45429‐1307
CYNTHIA L PAVLITSA                               1206 FOREST OAK CT                                                                            BEL AIR         MD    21015‐6170
CYNTHIA L PEARSON                                50 LINCOLN AVE                                                                                WHITE PLAINS    NY    10606‐1608
CYNTHIA L PELLETIER                              21 HIDE‐A‐WAY LANE                                                                            FALMOUTH        ME    04105
CYNTHIA L POPILEK                                3322 S CENTER RD                                                                              BURTON          MI    48519‐1458
CYNTHIA L REXIUS                                 1111 STONE ROWE RD                                                                            MILFORD         MI    48380‐1529
CYNTHIA L REXIUS & FRED J REXIUS JT TEN          1111 STONE ROWE RD                                                                            MILFORD         MI    48380‐1529
CYNTHIA L ROLLA                                  966 UNION                                                                                     MANCHESTERY     NH    03104‐2541
CYNTHIA L SALTER                                 12531 CONNELL DR                                                                              OVERLAND PARK   KS    66213‐1872
CYNTHIA L SAYLES & ROBERT D SAYLES JT TEN        1119 SYCAMORE                                                                                 ROCHESTER       MI    48307
CYNTHIA L SHEEHAN                                132 E SOMERSET AVE                                                                            TONAWANDA       NY    14150
CYNTHIA L SMITH                                  514 E 4TH STREET S                                                                            NEWTON          IA    50208
CYNTHIA L STARIN                                 6917 W GRAND RIVER                                                                            LAINGSBURG      MI    48848‐8709
CYNTHIA L STUMPFIG                               239 PINE HOV CIR C‐1                                                                          GREEN ACRES     FL    33463‐9125
CYNTHIA L TREIS                                  PO BOX 51                                                                                     DUANESBURG      NY    12056‐0051
CYNTHIA L TREIS CUST FALON E TREIS UGMA NY       PO BOX 51                                                                                     DUANESBURG      NY    12056‐0051
CYNTHIA L WADE                                   24644 MADISON CT                    APT 227                                                   FARMINGTN HLS   MI    48335‐1841
CYNTHIA L WALDNER                                3202 HOMEWOOD RD                    C/O CYNTHIA MCFARLAND                                     DAVIDSONVILLE   MD    21035‐1268
CYNTHIA L WATSON                                 2650 ST SIMONS                                                                                TUSTIN          CA    92782‐1229
CYNTHIA L WHEELER & EDWARD G WHEELER JT TEN      2588 HAVANA TRL                                                                               THE VILLAGES    FL    32162‐5065

CYNTHIA L WOODROW                                32630 OLD POST RD                                                                             BEVERLY HILLS   MI    48025‐2843
CYNTHIA LAMARRE                                  60 N MAIN ST                                                                                  TERRYVILLE      CT    06786‐5318
CYNTHIA LAPINSKI                                 25242 W CHIAGO                                                                                REDFORD         MI    48239‐2043
CYNTHIA LAWRENCE                                 69 CHERRYWOOD DRIVE                                                                           SOMERSET        NJ    08873‐4231
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CYNTHIA LAWSON                                      4305 BROCKWOOD DR                                                                              MORRISTOWN        TN    37813‐7705
CYNTHIA LEE BERTONI                                 3401 SANDY SHORE DRIVE                                                                         METAMORA          MI    48455‐8974
CYNTHIA LEE CROTHERS‐HYATT                          1188 OLD LANCASTER RD                                                                          BERWYN            PA    19312‐1250
CYNTHIA LEE FALVO & VIRGINIA LEE MILLER JT TEN      1511 FALLEN LEAF TR                                                                            WEBSTER           NY    14580‐8556

CYNTHIA LEE GLICKMAN                                295 PINE BROOK BLVD                                                                            NEW ROCHELLE     NY     10804‐3908
CYNTHIA LEE RIESENBERG                              827 BLUEJAY LANE                                                                               MISHAWAKA        IN     46545
CYNTHIA LEE SMITH                                   737 SHORE DRIVE                                                                                JOPPA            MD     21085‐4544
CYNTHIA LENTZ FREER                                 27 CLIFTON RD                                                                                  LAWRENCEBURG     TN     38464‐6568
CYNTHIA LEVESQUE                                    2025 PALA VISTA                                                                                CAMARILLO        CA     93012‐4079
CYNTHIA LEWIS & BURT G LEWIS 3RD JT TEN             PO BOX 1035                                                                                    BRISTOL          RI     02809‐0991
CYNTHIA LILLARD                                     2650 ORO BLANCO DR                                                                             COLORADO SPRINGS CO     80917

CYNTHIA LINDAUER & MATTHEW LINDAUER TEN COM         23559 WILLOW DR                                                                                MILLSBORO         DE    19966

CYNTHIA LINT‐TAFT                                   HIGHWAY 90E BOX 102A                                                                           DEL RIO           TX    78840
CYNTHIA LO MINOR                                    2607 CREEK BEND                                                                                TROY              MI    48098‐2321
CYNTHIA LOU FATA                                    949 DAME ST                          LONDON ON                               N5Z 1M6 CANADA
CYNTHIA LOUISE CARRIER & RICHARD T CARRIER JT TEN   2748 SALEM HILLS CT                                                                            PICKERINGTON      OH    43147‐9517

CYNTHIA LOUISE PERRY FISHER                         PO BOX 1177                                                                                    NANTUCKET         MA    02554‐1177
CYNTHIA LOUISE TURUNEN                              C/O CYNTHIA T GOODMAN                8680 JACOT LANE                                           MISSOULA          MT    59808‐9449
CYNTHIA LUISE WHITE                                 7370 LOCUST LAKE WEST DR                                                                       SPENCER           IN    47460‐5512
CYNTHIA LUISE WHITE & ROBERT L WHITE JT TEN         7370 LOCUST LAKE WEST DR                                                                       SPENCER           IN    47460‐5512
CYNTHIA LYNN POWE                                   314 MCDOWELL DR                                                                                WINCHESTER        KY    40391‐9733
CYNTHIA LYNN SCHULER                                1 WILMONT AVE                                                                                  WASHINGTON        PA    15301‐3536
CYNTHIA LYNN SMITH                                  1737 AVENIDA SEVILLA                                                                           OCEANSIDE         CA    92056‐6205
CYNTHIA LYNN WHITE                                  11575 S MEMORIAL PKW #115                                                                      HUNTSVILLE        AL    35803‐2167
CYNTHIA LYNNE FINCHUM                               9873 N JUDSON DR                                                                               MOORESVILLE       IN    46158‐7021
CYNTHIA M ANDERSON                                  100 S PADDOCK                                                                                  PONTIAC           MI    48342‐2626
CYNTHIA M ARNOLD                                    1003 TREE TRAILS LN                                                                            FENTON            MO    63026‐3641
CYNTHIA M ATHYA                                     619 BONNIE BRAE AVE NE                                                                         WARREN            OH    44483‐5236
CYNTHIA M BALINT                                    31 VINE STREET                       THOROLD ON                              L2V 1S8 CANADA
CYNTHIA M BLAIR                                     42301 WATERWHEEL RD                                                                            NORTHVILLE        MI    48168
CYNTHIA M BLOUNT CUST VANESSA M BLOUNT UTMA         PO 3066                                                                                        ASHLAND           OR    97520‐0303
WI
CYNTHIA M BODNAR                                    4085 YOUNGSTOWN KINGSVILLE RD                                                                  CORTLAND          OH    44410
CYNTHIA M BROWN                                     6330 W CO RD 5505                                                                              KNIGHTSTOWN       IN    46148‐9589
CYNTHIA M BULLOCK & NEL E BULLOCK JT TEN            3 FIFTH AVE                                                                                    ISALE OF PALMS    SC    29451‐2103
CYNTHIA M CALCAGNO                                  29882 VAN HORN                                                                                 NEW BOSTON        MI    48164‐9720
CYNTHIA M CHESTON                                   1 TIMBER FARE                                                                                  SPRING HOUSE      PA    19477‐1108
CYNTHIA M CLEVES                                    211 WATCH HILL RD                                                                              FT MITCHELL       KY    41011‐1822
CYNTHIA M DICLAUDIO                                 191 CHARLES AVE NE                                                                             WARREN            OH    44483‐5822
CYNTHIA M DOAN                                      6209 DAVID BERGER                                                                              MT MORRIS         MI    48458‐2711
CYNTHIA M DRUMSTA                                   ATTN CYNTHIA M LAFRINERE             835 WITTER GULCH RD                                       EVERGREEN         CO    80439‐4331
CYNTHIA M FRANKOWSKI                                3195 NICKELBY DR                                                                               SHELBY TWP        MI    48316‐4833
CYNTHIA M GREEN                                     9838 OLD BAYMEADOWS RD #163                                                                    JACKSONVILLE      FL    32256‐8101
CYNTHIA M HALL                                      3675 MCLAIN RD                                                                                 CLYDE             MI    48049‐3614
CYNTHIA M HOUGH                                     531 LAWSON WAY #102                                                                            ROCKVILLE         MD    20850‐5834
CYNTHIA M JACOBSON                                  611 E CHURCH ST                                                                                ORFORDVILLE       WI    53576‐9622
CYNTHIA M JOHNSON                                   9635 TERRY                                                                                     DETROIT           MI    48227‐2474
CYNTHIA M KEEZER                                    2350 KANELL BLVD                     #2                                                        POPLAR BLUFF      MO    63901‐4036
CYNTHIA M LEAVY                                     106 KATHY DRIVE                                                                                HUNKER            PA    15639‐9742
CYNTHIA M LEE CUST SAMANTHA R LEE UGMA NJ           830 APACHE RD                                                                                  FRANKLAND LAKES   NJ    07417‐2802

CYNTHIA M LENSINK & BRIAN L LENSINK JT TEN          5626 SMALLER ROAD                                                                              JOHNSTOWN         OH    43031‐9514
CYNTHIA M MAXEY TOD KENNETH J JOHNSON               546 FLAME TREE DR                                                                              APOLLO BEACH      FL    33572‐2516
CYNTHIA M MC KNIGHT                                 1919 W CENTER STREET                                                                           MILWAUKEE         WI    53206‐2114
CYNTHIA M MEGREY                                    9171 GREGORY COURT                                                                             MENTOR            OH    44060‐4455
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CYNTHIA M MELICHER                                 1302 OAK ST NORTH                                                                              FARGO              ND    58102‐2709
CYNTHIA M MORAN                                    8122 COLORADO ST                     UNIT A                                                    OSCODA             MI    48750‐2310
CYNTHIA M NELSON                                   115 WALNUT LANE                                                                                MORRISVILLE        PA    19067‐2027
CYNTHIA M NORTON                                   459 W WINDSOR                                                                                  MONTPELIER         IN    47359‐1057
CYNTHIA M OLIVER                                   C/O CYNTHIA JONES                    102 NIBLICK CT                                            FRANKLIN           TN    37064‐6770
CYNTHIA M OSMUN                                    2626 WYNTERCREST LN                                                                            DURHAM             NC    27713‐4515
CYNTHIA M PEARSON                                  5213 W RAY RD                                                                                  LINEDEN            MI    48451‐9400
CYNTHIA M PERRY                                    PO BOX 151                                                                                     VANDERBILT         MI    49795‐0151
CYNTHIA M PETERS & MICHELE M DEVITO &              9832 S NOTTINGHAM AVE #18                                                                      CHICAGO RIDGE      IL    60415‐2501
CONSTANCE L ROBY JT TEN
CYNTHIA M POTESTIVO                                11443 PLUMRIDGE                                                                                STERLING HEIGHTS   MI    48313‐4960

CYNTHIA M RUDOLF                                    2855 ROCK CREEK CIRCLE              UNIT 101                                                  SUPERIOR           CO    80027‐4612
CYNTHIA M SCHNEIDER                                 835 PORTAGE EASTERLY N E                                                                      CORTLAND           OH    44410‐9558
CYNTHIA M SCIBILIA                                  243 SOUTH HILLSIDE AVE                                                                        SUCCASUNNA         NJ    07876‐1025
CYNTHIA M SCIBILIA CUST NICHOLAS J SCIBILIA UTMA NJ 243 S HILLSIDE AVE                                                                            SUCCASUNNA         NJ    07876‐1025

CYNTHIA M SCOTT                                    38248 FAIRMOUNT BLVD                                                                           CHAGRIN FALLS      OH    44022‐6620
CYNTHIA M SEU CUST NICOLE W K SEU UGMA HI          2040 KUHIO AVE PH C                                                                            HONOLULU           HI    96815‐2101
CYNTHIA M SHAFFER                                  1806 MAUMEE DR                                                                                 DEFIANCE           OH    43512‐2523
CYNTHIA M SIMON                                    1819 27TH AVE S                                                                                FARGO              ND    58103‐6621
CYNTHIA M STOKER                                   505 WESTAGE AT THE HARBOR                                                                      ROCHESTER          NY    14617‐1003
CYNTHIA M STRAUGHN & ROBERT D STRAUGHN JT TEN      20286 PIERSON                                                                                  DETROIT            MI    48219‐1311

CYNTHIA M SURRATT                               609 WENDOVER WAY                                                                                  RIDGELAND          MS    39157‐4186
CYNTHIA M SWENSON                               1616 CHATTERTON CT NE                                                                             ATLANTA            GA    30329‐4704
CYNTHIA M TERWILLIGER                           6657 CRESTVIEW DR                                                                                 LAINGSBURG         MI    48848‐9447
CYNTHIA M TRUDELL                               13 N LAKE RD                                                                                      ARMONK             NY    10504‐2232
CYNTHIA M WATSON                                17587 ARDMORE                                                                                     DETROIT            MI    48235‐2604
CYNTHIA M WHITFIELD                             525 OVERBROOK LN SE                                                                               GRAND RAPIDS       MI    49507‐3521
CYNTHIA M WILL                                  491 ROSEMONTE AVE                                                                                 SALINE             MI    48176‐1528
CYNTHIA M WILLIAMS                              2626 WYNTERCREST LN                                                                               DURHAM             NC    27713‐4515
CYNTHIA M YOUNG                                 60 OLD BOLTON RD                                                                                  HUDSON             MA    01749
CYNTHIA M ZDANOWICZ                             711 HEMINGWAY RD                                                                                  LAKE ORION         MI    48362‐2634
CYNTHIA MANTELL                                 20411 ALMADEN RD                                                                                  SAN JOSE           CA    95120‐3604
CYNTHIA MARIE DUNCAN                            429 HARRIET APT 1                                                                                 FLINT              MI    48505
CYNTHIA MARIE JORDAN                            373 KENYON DRIVE                                                                                  WILMINGTON         OH    45177‐1108
CYNTHIA MARIE NELMS                             693 BLUEROCK RD                                                                                   GARDNERVILLE       NV    89410‐8408
CYNTHIA MARIE SCHMIDT                           1934 WESTRIDGE TER                                                                                LOS ANGELES        CA    90049‐2219
CYNTHIA MAU SEU                                 C/O WAIKIKI BUSINESS PLAZA BLDG         3663 DIAMOND HEAD CIRCLE                                  HONOLULU           HI    96815‐4430
CYNTHIA MAY HAGUE                               8113 ORDINARY KEEPERS WAY                                                                         MECHANICSVLLE      VA    23111‐2275
CYNTHIA MC CARTHY CUST DANIEL PATRICK MC CARTHY 2834 JERMANTOWN ROAD                                                                              OAKTON             VA    22124‐2512
UGMA VA
CYNTHIA MC CLURE                                587 ROSEDALE CT                                                                                   DETROIT            MI    48202
CYNTHIA MCCARTHY CUST DANIEL PATRICK MCCARTHY 2834 JERMANTOWN RD                                                                                  OAKTON             VA    22124‐2512
UTMA VA
CYNTHIA MCCARTHY CUST MARILYN ELAINE MCCARTHY 2834 JERMANTOWN ROAD                                                                                OAKTON             VA    22124‐2512
UTMA VA
CYNTHIA MCCULLEY THEBAUD                        PSC 809 BOX 2267                                                                                  FPO                AE    09626‐2267
CYNTHIA MITCHELL                                1202 E 36TH STREET                                                                                BALTIMORE          MD    21218‐2117
CYNTHIA ODDI                                    111 GRANT ST                                                                                      LOCKPORT           NY    14094‐5032
CYNTHIA OKONKOWSKI TOD CHERYL LAKE SUBJECT TO 24930 WARRINGTON STREET                                                                             EASTPOINTE         MI    48021‐4223
STA TOD RULES
CYNTHIA P FORRESTER                             1112 COUNTRY LN                                                                                   ORLANDO            FL    32804‐6934
CYNTHIA P JONES                                 120 HANA HIGHWAY #9‐112                                                                           PAIA               HI    96779‐9745
CYNTHIA P MUELLER                               4240 BARTH LANE                                                                                   KETTERING          OH    45429‐1307
CYNTHIA P NOCON                                 5396 N MOCCASIN TRL                                                                               TUCSON             AZ    85750‐7000
CYNTHIA P PEACHEY                               2116 CAROL LN                                                                                     STEVENSVILLE       MI    49127‐9524
CYNTHIA P ROBBINS                               P O BOX 232                                                                                       CABOT              VT    05647
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CYNTHIA P ROSEDALE                               3501 SAN PASQUAL ST                                                                            PASADENA          CA    91107‐5418
CYNTHIA P ROSEDALE CUST KATHERINE ROSEDALE       3501 SAN PASQUAL ST                                                                            PASADENA          CA    91107‐5418
UGMA CA
CYNTHIA P SHADY                                  126 BRADLEY ST                                                                                 SCOTTSBORO        AL    35769‐6207
CYNTHIA P STEWART                                2977 EAGLE DR                                                                                  ROCHESTER HILLS   MI    48309‐2852
CYNTHIA PAWLAK SACKO & TERRY SACKO JT TEN        10212 FORESTWOOD LANE                                                                          NORTH ROYALTON    OH    44133‐3372

CYNTHIA PERKINS                                  BOX 515                                                                                        OGUNQUIT          ME    03907‐0515
CYNTHIA PLEVIN CUST REBECCA E PLEVIN UTMA CA     6017 MARGARIDO DR                                                                              OAKLAND           CA    94618‐1836

CYNTHIA PRENTICE & STEPHEN G PRENTICE JT TEN     314 FRISCO RD NW                                                                               PIEDMONT          OK    73078‐9480
CYNTHIA PUSZKA                                   28 N 2ND ST                                                                                    MERIDEN           CT    06451‐4021
CYNTHIA R BARTELS                                172 MARY COBURN RD                                                                             SPRINGFIELD       MA    01129‐2042
CYNTHIA R BILLEADEAUX & EVANN KILCHERMANN JT     2126 BOSTON BLVD                                                                               LANSING           MI    48910‐2458
TEN
CYNTHIA R BRCKER                                 3201 VILLAGE DR                                                                                ARLINGTON         TX    76017
CYNTHIA R BROWN                                  9342 DALE                                                                                      REDFORD           MI    48239‐1208
CYNTHIA R CARTER                                 540 TURKEY TRL                                                                                 SHREVEPORT        LA    71115‐9537
CYNTHIA R CENTER                                 2410 STONESAGE RD                                                                              SODDY DAISY       TN    37379‐3648
CYNTHIA R ENGLE                                  2033 HUNT CLUB DR                                                                              GROSSE POINTE     MI    48236
CYNTHIA R GOUDILOCK                              627 QUAIL HOLLOW DR                                                                            ORLANDO           FL    32825‐7847
CYNTHIA R GRASSL                                 307 SHORE DR E                                                                                 OLDSMAR           FL    34677‐3915
CYNTHIA R HILES                                  1292 CHESTNUT RIDGE RD                                                                         SPRING CITY       TN    37381‐8907
CYNTHIA R KOLKIN & PHYLLIS Z KOLKIN JT TEN       28314 S ROTHROCK DR                                                                            RANCHO PALOS      CA    90275‐3041
                                                                                                                                                VERDE
CYNTHIA R LUXON                                  6620 TAMERLANE DR                                                                              WEST BLOOMFIELD   MI    48322‐3757

CYNTHIA R MILSTEAD                               245 E 93RD ST                        APT 4 H                                                   NEW YORK          NY    10128‐3963
CYNTHIA R OSBORNE                                2641 OSPREY CIRCLE N                                                                           FLAGLER BEACH     FL    32136‐2758
CYNTHIA R SHAW                                   PO BOX 130                           3686 JOY LANE                                             PETOSKEY          MI    49770‐0130
CYNTHIA R SWAIN                                  39 EVANS AVE                                                                                   AUSTINTOWN        OH    44515‐1622
CYNTHIA R TIPPING                                4095 AUGUSTA AVE                                                                               COOPER CITY       FL    33026‐4967
CYNTHIA R TREMBLAY                               280 ORTMAN RD                                                                                  GREENWOOD         VA    22943‐1611
CYNTHIA R WINDER                                 PO BOX 7994                                                                                    WILMINGTON        DE    19803‐0994
CYNTHIA RANKIN & CHRISTOPHER M RANKIN JT TEN     9351 BIANCA                                                                                    SAN ANTONIO       TX    78254

CYNTHIA REENE CUMMINS                            724 SHAFTSBURY RD                                                                              TROY              OH    45373‐6704
CYNTHIA RICHARDSON                               3736 W 82ND PL                                                                                 CHICAGO           IL    60652‐2408
CYNTHIA ROBERTS                                  1178 ST JEROME CRESCENT              ORELEANS ON                             K1C 2A8 CANADA
CYNTHIA ROGOFF                                   28436 SHRIKE DRIVE                                                                             LAGUNA NIGUEL     CA    92677‐1348
CYNTHIA ROSE CUST ERIN ELAINE ROSE UTMA GA       1256 OVERLAND PARK DR                                                                          BRASELTON         GA    30517
CYNTHIA ROSE GARDNER                             209 N 4TH ST                         #A                                                        ROSCOMMON         MI    48653‐9004
CYNTHIA ROSS & ZACHARY ROSS & TARA ROSS JT TEN   34925 WEST SIX MILE                                                                            LIVONIA           MI    48152‐2991

CYNTHIA S AGRESTA                             918 SNOW DR                                                                                       MARTINEZ          CA    94553
CYNTHIA S BINDOO                              3008 SOUTHWEST DR                                                                                 INDIANAPOLIS      IN    46241‐6200
CYNTHIA S BURKE                               708 51ST AVENUE                                                                                   EAST MOLINE       IL    61244‐4447
CYNTHIA S BURLIN                              C/O MRS BILL R KRENEK                   7207 HWY 71                                               GARWOOD           TX    77442‐4185
CYNTHIA S CREWS                               10126 HARTLAND RD                                                                                 FENTON            MI    48430‐8706
CYNTHIA S DAFLER                              RR 1 BOX 513                                                                                      VOLANT            PA    16156‐9707
CYNTHIA S ESTERLINE                           8671 HUNTERS CREEK DR                                                                             CLARKSTON         MI    48348‐2881
CYNTHIA S FEARNOW                             1616 S 820 WEST                                                                                   RUSSIAVILLE       IN    46979‐9743
CYNTHIA S FLINT                               1133 BOUGHTONVILLE RD                                                                             GREENWICH         OH    44837‐9415
CYNTHIA S GERMAN CUST JOSEPH B GERMAN UTMA MO 504 MONROE                                                                                        RAYMORE           MO    64083‐9722

CYNTHIA S HUBBARD                                8586 GROGER RD                                                                                 ONSTED            MI    49265‐9443
CYNTHIA S KELLY                                  30453 ADAMS DR                                                                                 GIBRALTAR         MI    48173
CYNTHIA S KING                                   ATTN CYNTHIA KING ESTERLINE          6671 HUNTERS CREEK DR                                     CLARKSTON         MI    48348‐2881
CYNTHIA S LYTTLE                                 1400 WOODNOLL DRIVE                                                                            FLINT             MI    48507‐4718
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CYNTHIA S MARTIN                               1205 E 101ST ST                                                                                 KANSAS CITY        MO    64131‐3313
CYNTHIA S METTLEN                              14390 EWING DR                                                                                  HARLINGEN          TX    78552
CYNTHIA S SIGLINSKY                            2202 W VAN BECK AVE                                                                             MILWAUKEE          WI    53221‐1949
CYNTHIA S SMITH                                109 TORTOISE LANE                                                                               GEORGETOWN         TX    78628‐2246
CYNTHIA S SOMMERVILLE & RONALD SOMMERVILLE JT 32506 SHAWN DR                                                                                   WARREN             MI    48088‐1457
TEN
CYNTHIA S STAHL                                42215 CRESCENDO DR S                                                                            STERLING HTS       MI    48314‐3406
CYNTHIA S STREAM CUST RACHEL ANNE STREAMS UTMA 3009 HAMPTON COVE WAY                                                                           HAMPTON COVE       AL    35763‐9390
AL
CYNTHIA S STREAMS CUST GRANT W STREAMS UTMA AL 3009 HAMPTON COVE WAY                                                                           HAMPTON COVE       AL    35763‐9390

CYNTHIA S TILLMAN                               14301 GLASTONBURYST                                                                            DETROIT            MI    48223‐2925
CYNTHIA SCHUSTER SMILKA                         14214 BANGOR DR                                                                                STERLING HEIGHTS   MI    48313‐5408

CYNTHIA SCOTT CUST JONATHAN LAMAR ANDRES SCOTT 1984 GLORIA CIR                                                                                 PALM BAY           FL    32905
UTMA FL
CYNTHIA SMITH                                   3618 CONNOR COURT                                                                              HAMILTON           OH    45011‐6486
CYNTHIA SOMMER & WARREN SOMMER JT TEN           3137 N CRAMER                                                                                  MILWAUKEE          WI    53211‐3004
CYNTHIA SPECIALE                                3 DENISE DR                                                                                    MACEDON            NY    14502‐8927
CYNTHIA STANLEY                                 1203 N MAPLE AVE                                                                               ROYAL OAK          MI    48067‐1221
CYNTHIA SUE HUNTER & JUDITH L WILLIAMSON JT TEN 7240 FOWLER ROAD                                                                               HORTON             MI    49246‐9543

CYNTHIA SUE WRIGHT                              17140 WOODSON VIEW LN                                                                          RAMONA             CA    92065‐6813
CYNTHIA SUZANN WILSON MORRIS                    15 SOUTHWOOD DR                      APT 107                                                   STAMFORD           CT    06902‐6077
CYNTHIA T TEGEL                                 53540 JEWELL RD                                                                                SHELBY TWP         MI    48315‐1727
CYNTHIA TAYLOR REVOCABLE TRUST UA 05/12/2008    1004 ABERCORN PLACE                                                                            SHERWOOD           AR    72120

CYNTHIA TERRY TYNAN                             PO BOX 438                                                                                     WEST FALMOUTH      MA    02574‐0438
CYNTHIA THOMAS                                  6410 OAKLEAF LANE                                                                              MORROW             GA    30260‐1766
CYNTHIA TINSLEY CUST REED FORREST TINSLEY UNDER 50 PORTER RD                                                                                   WEST PARIS         ME    04289‐5213
ME U‐T‐M‐A
CYNTHIA TRINGER CUST NICOLE MICHELE TRINGER     50813 SHENANDOAH                                                                               MACOMB TWP         MI    48044‐1353
UGMA MI
CYNTHIA TRISLER AEBISCHER                       5612 DEEPDALE DR                                                                               ORLANDO            FL    32821‐7633
CYNTHIA TRUMAN‐REYNOLDS                         209 SANDHURST                                                                                  LAPEER             MI    48446‐8718
CYNTHIA TURNER                                  22815 VASSAR                                                                                   DETROIT            MI    48219‐1717
CYNTHIA V PARRISH                               HAMILTON COMMUNITY FDN               319 N 3RD ST                                              HAMILTON           OH    45011‐1624
CYNTHIA V URIBE                                 C/O CYNTHIA MARIE VEGA               2970 REYES LN                                             TRACY              CA    95376‐0754
CYNTHIA VAN DEUSAN                              841 N SHERMAN RD                                                                               OWOSSO             MI    48867‐9360
CYNTHIA VARIAN                                  5705 CORONADA BLVD                                                                             PENSACOLA          FL    32507‐8408
CYNTHIA W ELDER                                 22 RIVER ROAD                                                                                  WINDHAM            ME    04062‐4046
CYNTHIA W HUPPER                                59 CHAPEL STREET                                                                               YALESVILLE         CT    06492‐2214
CYNTHIA W THOMPSON & JOHN W THOMPSON III &      75 AVISTA CIRCLE                                                                               ST AUGUSTINE       FL    32080‐3806
CYNTHIA C THOMPSON JT TEN
CYNTHIA WAGNER CUST DANIEL RODNEY WAGNER        3737 SW COUNCIL CREST DR                                                                       PORTLAND           OR    97239‐1521
UGMA WA
CYNTHIA WAGNER CUST PATRICK LAWRENCE WAGNER 3737 SW COUNCIL CREST DR                                                                           PORTLAND           OR    97239‐1521
UGMA WA
CYNTHIA WELDON                                  PO BOX 2416                                                                                    RAINSVILLE         AL    35986‐2416
CYNTHIA WILCOX NEILL                            509 EAST AMHERST                                                                               TYLER              TX    75701‐8821
CYNTHIA WILDER                                  200 E END AVE APT 14E                                                                          NEW YORK           NY    10128‐7891
CYNTHIA WINKELSAS                               9118 POTTER HILL RD                                                                            CATTARAUGUS        NY    14719‐9525
CYNTHIA Y TYSON CUST CHRISTIAN C MCDADE UTMA MI 12941 W WYNDRIDGE DR                 APT 207                                                   NEW BERLIN         WI    53151‐8323

CYNTHIA Z TUASON                                11976 TEMPLE COURT                                                                             SEMINOLE           FL    33772‐3437
CYNTHIA ZAGUMNY                                 2047 EDGEWOOD SE                                                                               GRAND RAPIDS       MI    49546
CYNTHIAJ SZWAJDA & STEPHEN D SZWAJDA JT TEN     27 SANDY LANE                                                                                  CHEEKTOWAGA        NY    14227‐1330

CYRIAKI LIALIOS                                 21250 OLIVE GREEN CT                                                                           ASHBURN            VA    20147‐4875
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Name                                             Address1                              Address2               Address3         Address4               City              State Zip

CYRIL A AKPOM                                     1305 AUTUMN WIND WAY                                                                                HENDERSON         NV    89052‐3007
CYRIL A DEMEULEMEESTER                            28211 RUEHLE                                                                                        ST CLAIR SHRS     MI    48081‐3534
CYRIL A OOSTERLINCK                               2810 GLENVIEW                                                                                       ROYAL OAK         MI    48073‐3119
CYRIL C CLEMENTS                                  4322 LINDER BAY LANE                                                                                MADISON LAKE      MN    56063‐9519
CYRIL C THOMAS                                    SS10 BOX 4316                        BELLEVILLE ON                           K8N 4Z3 CANADA
CYRIL C THOMAS                                    4112 QUEEN STREET EAST               SAULT STE MARIE ON                      P6A 5K9 CANADA
CYRIL D PATRICK                                   8404 OVERLOOK DR                                                                                    CLARKSBURG        WV    26301‐9683
CYRIL HRICKO CUST JOHN PETER HRICKO U/THE FLORIDA 899 NW 208 WAY                                                                                      PEMBROKE PINES    FL    33029‐2158
GIFTS TO MINORS ACT
CYRIL HRICKO CUST MARY HRICKO U/THE FLORIDA GIFTS 2252 S W 180 AVE                                                                                    MIRANHAR          FL    33029‐5100
TO MINORS ACT
CYRIL IRWIN CROWTHER JR                           169 SHERBROOKE AVE                                                                                  WILLIAMSVILLE     NY    14221‐4609
CYRIL J LEHNHARDT                                 6 FOREST VIEW DR                                                                                    COAL VALLEY       IL    61240‐9411
CYRIL J MILLS                                     138 CUTENHOE ROAD                    LUTON BEDFORDSHIRE                      GREAT BRITAIN
CYRIL J MURPHY III                                517 WYCLIFF WAY                                                                                     ALEX              LA    71303‐2943
CYRIL K HARRIS JR                                 55584 STATE RD 35                                                                                   GENOA             WI    54632‐9779
CYRIL L WILSON                                    11096 MAIN ROAD                                                                                     FENTON            MI    48430‐9717
CYRIL M KINANE & JOSEPHINE M KINANE JT TEN        10218 S SNOW IRIS WY                                                                                SANDY             UT    84092‐4392
CYRIL MOORE JR                                    308 SKIFF MOUNTIAN RD                                                                               KENT              CT    06757
CYRIL S KONDEL & REBECCA A KONDEL JT TEN          12455 TELLING RD                                                                                    BYRON             MI    48418‐9012
CYRIL STOKMANIS & BIRGIT STOKMANIS JT TEN         1040 APPOLLO WAY                                                                                    SACRAMENTO        CA    95822‐1709
CYRIL T KROCHMAL & MARTHA KROCHMAL JT TEN         7258 EMERSON DR                                                                                     CANTON            MI    48187‐2402

CYRIL V ZALAR                                    24370 WILDWOOD AVE                                                                                   EUCLID           OH     44123‐1425
CYRISSE R HOUSTON ALLEN                          25414 SKYE DR                                                                                        FARMINGTON HILLS MI     48336‐1674

CYRUS ABRAHAM & NORMA J ABRAHAM JT TEN           2358 MELODY LANE                                                                                     BURTON            MI    48509‐1158
CYRUS B NORGAN                                   728 WOODLAWN AVE                                                                                     SEAFORD           DE    19973‐1238
CYRUS CHVALA                                     228 ROSEMONT AVE                                                                                     BUFFALO           NY    14217‐1051
CYRUS E SIPES                                    PO BOX 474                                                                                           MEDORA            IN    47260‐0474
CYRUS GAETA & MRS BARBARA GAETA JT TEN           168 CONCORD DR                                                                                       MADISON           CT    06443‐1860
CYRUS H FLIPPO                                   1581 CO RD 48                                                                                        LEXINGTON         AL    35648‐3428
CYRUS H GLOVER                                   37250 SIBLEY RD                                                                                      NEW BOSTON        MI    48164‐9794
CYRUS J SEARS                                    PO BOX 1131                                                                                          FRANKLIN          VA    23851‐1131
CYRUS J SETOODEH                                 8551 N HEARTLAND WAY                                                                                 FRESNO            CA    93720‐5347
CYRUS KENELY                                     7993 S GLEN LAKE RD                                                                                  GLEN ARBOR        MI    49636‐9722
CYRUS L HARRIS                                   6889 ROBIN DRIVE                                                                                     CHATTANOOGA       TN    37421‐1752
CYRUS MARK ZALUSKE                               1286 ROUTE 40                                                                                        PILES GROVE       NJ    08098‐3108
CYRUS R KNISELY                                  C/O HATTIE KNISELY                    5303 IVAN ST APT 117                                           LANSING           MI    48917‐3340
CYRUS WILLIAM JARRETT                            32145 HUNTLY CIRCLE                                                                                  SALISBURY         MD    21804‐1471
CYTHIA A MCDONNELL CUST KADEN MANNAIN UTMA       410 HOBBS LANE                                                                                       CLINTON CORNERS   NY    12514‐2504
NY
CZESLAWA M BRAUN                                 909 NEWKIRK AVE                                                                                      BROOKLYN          NY    11230‐1404
D & D REAL ESTATE LP                             15 BLUE RIDGE LN                                                                                     WOODSIDE          CA    94062
D A CRAWFORD                                     LOT #5                                TIMBERLAND ESTATE                                              WARRENTON         MO    63383‐4912
D A MEDLOCK                                      240 S SHIRLEY                                                                                        PONTIAC           MI    48342‐3155
D A PEAT                                         43 381 CHAPELTON DR                                                                                  BERMUDA DUNES     CA    92201
D A ROOS                                         21206 LITTLE SIERRA                                                                                  BOYDS             MD    20841‐9037
D A SEBASTIAN & THERESIA SEBASTIAN JT TEN        PO BOX 8618                           DUBAI                                   UNITED ARAB EMIRATES
D A SHEETS                                       10113 CYCLONE AVE                                                                                    YUMA              AZ    85365‐6178
D A SHINAVER                                     42366 DEQUINDRE                                                                                      STERLING HTS      MI    48314‐2711
D A WARNER                                       5238 SHERMAN                                                                                         ZILWAUKEE         MI    48604‐1147
D A ZIMMERMAN                                    14502 FIRETHORNE PATH                                                                                FORT WAYNE        IN    46804‐8910
D ANNE C CHRABOWSKI                              10105 CLARK ROAD                                                                                     DAVISBURG         MI    48350‐2710
D ANNE LOMBARDO CUST ALEXANDER TROSTORFF JR      1414 ELEONORE ST                                                                                     NEW ORLEANS       LA    70115‐4318
UTMA LA
D ANNETTE CLINE TR UW ROBERT W CLINE             BOX 1987                                                                                             PONCA CITY        OK    74602‐1987
D B STARNES JR                                   242 RIVERSIDE DR                                                                                     MOUNT CLEMENS     MI    48043‐2515
D B VAN ARSDALL JR                               2025 HILLCREST ST                                                                                    LANSING           MI    48910‐0315
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D B WINSLOW                                        41 C ST                                                                                        ATHOL           MA    01331‐2052
D BRADFORD ARMSTRONG                               500 SPRINGDALE RD                                                                              STERLING        CO    80751‐8604
D BRENNER BROWN                                    218 E WALDHEIM RD                                                                              PITTSBURGH      PA    15215‐1933
D BRIAN JENNINGS & VICKI A JENNINGS JT TEN         905 S BRIARWOOD LANE                                                                           CENTRALIA       MO    65240‐1601
D BROOK MIDDLETON TR LEESBURG ROCK SPRING REV      121 NORTH HATCHER AVE                                                                          PURCELLVILLE    VA    20132‐3107
TRUST UA 09/22/04
D BRUCE MATHIASON                                  6308 WATERMAN AV                                                                               HOPKINS         MN    55343‐8570
D BRUCE MATHIASON & ELAIN MATHIASON JT TEN         6308 WATERMAN AV                                                                               HOPKINS         MN    55343‐8570

D BRUCE MORRIS & JANET L BETZ TEN COM              1125 DALTON AVE                                                                                PITTSFIELD      MA    01201‐2914
D BRYAN WILLIAMS & CANDICE C WILLIAMS JT TEN       222 KAREN DRIVE                                                                                ELIZABETH       PA    15037‐2407

D BRYAN WILLIAMS CUST D SEAN WILLIAMS UGMA PA      222 KAREN DR                                                                                   ELIZABETH       PA    15037‐2407

D C BANKS                                          4815 WHIPPLE LAKE RD                                                                           CLARKSTON       MI    48348‐2253
D C BERG & SUSAN F BERG TR UA 10/30/2007 D C AND   9636 S 203RD STREET                                                                            KENT            WA    98031
SUSAN F BERG TRUST
D C BULLARD                                        262 BASIN SPRINGS                                                                              SADLER          TX    76264‐3714
D C DYER                                           3177 MERIDIAN PARKE DR               #303                                                      GREENWOOD       IN    46142
D C PATELLA                                        4881 RIDGLEA AVENUE                                                                            BUENA PARK      CA    90621‐1434
D CARMILETA WILSON                                 C/O CLARENCE SPROULLS                510 TENNESSEE ST                                          DETROIT         MI    48215‐3231
D CARRATURO                                        13 COONLEY COURT                                                                               STATEN ISLAND   NY    10303‐2216
D D CASEY                                          12313 HARRIS RD                                                                                LEES SUMMIT     MO    64086‐9447
D D ROMICK                                         5158 CENTRAL CHURCH RD                                                                         DOUGLASVILLE    GA    30135‐4114
D D VAUGHN                                         420 BUCKINGHAM PL                                                                              DESOTO          TX    75115‐5606
D DAVID WEIKERT III CUST MELLISSA LYNNE WEIKERT    19 BLOOMFIELD DRIVE                                                                            WESTAMPTON      NJ    08060‐2474
UGMA NJ
D E MALINOFF TR UW A C HUMBARGER                   BOX 1208                                                                                       GILROY          CA    95021‐1208
D E PACHOLSKI                                      35556 GLENWOOD                                                                                 WESTLAND        MI    48186‐5426
D E WALLEN                                         4472 ELMSHAVEN DR                                                                              DAYTON          OH    45424‐4726
D E WEAVER                                         630 MEADOW ST                        PO BOX 107                                                RONCO           PA    15476‐0107
D EASTER                                           5671 DEERFIELD PL NW                                                                           KENNESAW        GA    30144‐5209
D ELAINE BURROUGHS JANICE E HINDMAN & JEANNE M     805 BAKER STREET                     LOT1                                                      PLYMOUTH        IN    46563‐1896
BURROUGHS JT TEN
D F ACKER                                          PO BOX 834                                                                                     DESOTO          TX    75115
D F ZARNOW                                         264 SHERWOOD ST                                                                                COSTA MESA      CA    92627‐2160
D FRED MILLER                                      1450 5TH AVENUE                                                                                CORAOPOLIS      PA    15108‐2026
D G KRUSKA                                         4065 WOODMAN CANYON                                                                            SHERMAN OAKS    CA    91423‐4738
D G REID                                           20220 FAUST                                                                                    DETROIT         MI    48219‐1552
D G SPENCER LUDGATE                                7205 HOLLYWOOD BLVD APT 322                                                                    LOS ANGELES     CA    90046
D G STOCK GROUP                                    C/O CECERE                           51 MAC DOUGAL ST                                          NY              NY    10012‐2921
D GARY BOGGS                                       30521 E RUSTIC DR                                                                              SALISBURY       MD    21804‐2736
D GAVIN TACKNEY                                    315 ROYAL OAK CIR                    CALGARY AB                              T3G 5L9 CANADA
D GENE JERNIGAN                                    309 E CONCORD ST                                                                               ORLANDO         FL    32801‐1311
D GERALDINE PARSONS                                178 BAKER ST                                                                                   WALPOLE         MA    02081‐4122
D GOODLOE LOVE & MARY JOYCE LOVE JT TEN            315 TRI HILL RD                                                                                YORK            PA    17403‐3838
D GRACE BURNEKA                                    5473 NAUGHTON DR                                                                               DAYTON          OH    45424‐6001
D GRACE BURNEKA & JEROME W BURNEKA JT TEN          5473 NAUGHTON DR                                                                               DAYTON          OH    45424‐6001
D GREGORY KOLBE                                    1257 HUDSON AVE                                                                                ROCHESTER       NY    14621‐2529
D GUENTHER BOYD                                    61 WALDO AVE                                                                                   ROCHESTER       NY    14609‐4307
D H COBURN                                         359 1ST NH TPKE                                                                                NORTHWOOD       NH    03261‐3409
D H MEYLER                                         15 LE VALLEY DR                                                                                MANALAPAN       NJ    07726‐8040
D H MINSON                                         1731 SPRING LAKE DR                                                                            ARLINGTON       TX    76012‐2316
D H ROEHRIG                                        701 NORTH STREET                                                                               DEFIANCE        OH    43512‐2317
D H WILSON                                         734 S SYLVAN ST                                                                                ANAHEIM         CA    92804‐3223
D J BYINGTON                                       4399 JEFFERSON DR                                                                              HILLSBORO       MO    63050‐3600
D J BZDYL                                          138 FLAMINGO                                                                                   BEECHER         IL    60401‐9723
D J DUPREE                                         501 RUSHMORE DR                                                                                COLUMBIA        TN    38401‐6124
D J HOMNICK                                        11 QUIAD AVENUE                                                                                SAYREVILLE      NJ    08872‐1258
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D J LUNDBERG & C J LUNDBERG TR LUNDBERG FAMILY    18655 WEST BERNARDO DR #353                                                                   SAN DIEGO       CA    92127‐3019
TRUST AGREEMENT UA
D J MIGLIO                                        26729 KASIER                                                                                  ROSEVILLE       MI    48066‐7129
D J SMITH                                         10306 DRIVER AVE                                                                              OVERLAND        MO    63114‐2234
D J VONA                                          287 LACKAWANNA AVE                                                                            BUFFALO         NY    14212‐2111
D J WENTYKIER                                     108 MAX RD                                                                                    RICHFORD        VT    05476‐9545
D JANE HENKHAUS TR UA 03/18/83 D JANE HENKHAUS    1755 E LAKE RD 220                                                                            TARPON SPGS     FL    34688

D JAY COONEY                                      PO BOX 9022                                                                                   WARREN          MI    48090‐9022
D JEAN LAPENNA TR D JEAN LAPENNA TRUST UA         690 PINE NEEDLES DR                                                                           DAYTON          OH    45458‐3386
06/03/98
D JEAN WILSON                                     5016 DELTA DR                                                                                 FLINT           MI    48506‐1845
D JEFFRY BENOLIEL                                 520 EAST GRAVERS LN                                                                           WYNDMOOR        PA    19038‐8411
D JOAN COYER                                      2329 COCONUT PALM DR N E                                                                      PALM BAY        FL    32905‐3340
D JOAN NEFF TR D JOAN NEFF REVOCABLE TRUST UA     14035 W91ST TER                                                                               LENEXA          KS    66215‐3209
5/18/99
D JOHANNA DERRICK                                 2612 BONNIE CT                                                                                MISSOULA         MT   59803‐2543
D JOSEPH PERRONE & SUSAN J PERRONE JT TEN         664 PO BOX                                                                                    LUDINGTON        MI   49431
D JOSEPH SPARKS CUST SALLY ANN SPARKS UGMA KY     817 SQUIRE HILL DR                                                                            CRESCENT SPRINGS KY   41017‐1335

D JUNE DYKE                                  3216 E RANDAL DR                                                                                   MUNCIE          IN    47303‐9554
D K BINKHOELTER                              225 ROSEBUD AVE                                                                                    ROSEBUD         MO    63091‐1220
D K BROWN CUST KARA U BROWN UNDER MT UNIFORM 5100 HUCKLEBERRY RD                                                                                MISSOULA        MT    59803‐1735
TRANSFERS TO MINORS ACT
D K NICHOLSON                                9298 LIPPINCOTT BLVD                                                                               DAVISON         MI    48423‐8331
D K STEWART                                  10442 N FRONTAGE RD 394                                                                            YUMA            AZ    85365
D KEAT LEXA CUST COLIN R LEXA UTMA NJ        459 PHEASANT LANE                                                                                  SANTA ROSA      CA    95403‐1372
D KEAT LEXA CUST KATRINA W LEXA UTMA NJ      459 PHEASANT LANE                                                                                  SANTA ROSA      CA    95403‐1372
D KENT ZIMMERMAN & KATHRYN ZIMMERMAN JT TEN 332 W WASHINGTON                                                                                    PITTSFIELD      IL    62363‐1361

D KEVIN HUTCHINSON                                14304 W ST MORITZ LN                                                                          SURPRISE        AZ    85379‐5784
D KIMBERLY HARRISON                               9309 CROCKETT FARM RD                                                                         SOUTH LYON      MI    48178‐9660
D KRINGAS                                         147 WEBBER AVE                                                                                NORTH           NY    10591‐2012
                                                                                                                                                TARRYTOWN
D L BEERBOWER                                     05031 COUNTY RD 1150                                                                          BRYAN           OH    43506‐8935
D L DILL                                          13620 S DEER CREEK AVENUE                                                                     KOKOMO          IN    46901‐9431
D L JOHNSON                                       11852 WEXFORD PL DR                                                                           MARYLAND HGTS   MO    63043‐1763
D L NOLAM                                         4404 DAYTON LIBERTY RD                                                                        DAYTON          OH    45418‐1904
D L NOLAN                                         4404 DAYTON LIBERTY ROD                                                                       DAYTON          OH    45418‐1904
D L TALLEY                                        11 HUDSON                                                                                     OXFORD          MI    48371‐4829
D L TRIGG                                         720 CINCINNATI ST                                                                             DAYTON          OH    45408‐2060
D L WELLS                                         3190 S LAPEER                                                                                 METAMORA        MI    48455‐8903
D L WILSON                                        492 CLEVELAND ST                                                                              ELYRIA          OH    44035‐4058
D LEE MATTHEWS                                    6522 TAMARACK DRIVE                                                                           TROY            MI    48098‐1900
D LEIGH GERNERT                                   615 S DESERT VIEW DR                                                                          PALM SPRINGS    CA    92264‐1013
D LEROY GEPHART                                   772 FAWCETT DR                                                                                DAYTON          OH    45434
D LESLIE CARVER                                   228 ELLERSLIE RD                    LONDON ON                               N6M 1B6 CANADA
D LESLIE HILL                                     449 SKYVIEW LANE                                                                              LEXINGTON       KY    40511‐8810
D LUCIA KLOSE                                     1539 HUMPHREY AVE                                                                             BIRMINGHAM      MI    48009‐7186
D LYLE JARRETT 3RD                                6540 QUANTICO RD                    PO BOX 120                                                QUANTICO        MD    21856‐0120
D M DORIA                                         12 WOODBERRY WAY                                                                              GREENVILLE      SC    29609‐1548
D M SCHERMESSER                                   628 SOUTH FILLMORE                                                                            KIRKWOOD        MO    63122‐6215
D M WOODS                                         6 MIDVALE AVE                                                                                 BUFFALO         NY    14215‐2722
D MAINES                                          2173 CLEARVIEW AVE NW                                                                         WARREN          OH    44483‐1331
D MATTHEW JURUSIK & WENDY LYN JURUSIK JT TEN      121 OAKWOOD AVE                                                                               ELMIRA HGTS     NY    14903‐1611

D MICHAEL DENBOW                                  4725 PRESTON FOREST DRIVE                                                                     BLACKSBURG      VA    24060‐8957
D MICHAEL FORESTER & PATRICIA P FORESTER JT TEN   1606 CLEVELAND AVE                                                                            WYOMISSING      PA    19610‐2310
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Name                                              Address1                            Address2               Address3         Address4          City              State Zip

D MICHAEL ROBERTS                              2981 WHEAT RIDGE RD                                                                              WEST UNION        OH    45693‐9726
D MILTON MARKEY                                310 HOPI TRAIL                                                                                   YUCCA VALLEY      CA    92284‐1418
D MITCHELL MUEHRING & VERONICA MUEHRING JT TEN 1315 MILL GLEN DR                                                                                DUNWOODY          GA    30338‐2719

D MOTTA                                           225 ELMWOOD TERRACE                                                                           LINDEN            NJ    07036‐4937
D MUNN STEELMAN & MRS MARY P STEELMAN JT TEN      230 HOLMECREST RD                                                                             JENKINTOWN        PA    19046‐3818

D NEIL JOHNSON & PHYLLIS ANN JOHNSON JT TEN       57 ROSLYN BEND CT                                                                             SPRING            TX    77382‐1361

D NICH ANIC                                       13264 NICK RD                                                                                 MCCALLA           AL    35111‐1427
D O SCOTT                                         727 UPLAND STREET                                                                             CHESTER           PA    19013‐6007
D P KUDLAWIEC & NANCY KUDLAWIEC JT TEN            215 DARRYL ST                                                                                 LIVINGSTON        AL    35470‐5641
D P PRABAKAR                                      2819 BIRCH HARBOR LANE                                                                        WEST BLOOMFIELD   MI    48324‐1909

D PARISI                                          3209 BERRY BROW DR                                                                            CHALFONT          PA    18914‐1066
D PATRICIA FUREY                                  304 PENNSYLVANIA AVE                                                                          SPRING LAKE       NJ    07762‐1035
D PATRICIA GOODMAN                                C/O D PATRICIA SORRENTINO           304 PENNSYLVANIA AVE                                      SPRING LAKE       NJ    07762‐1035
D PRESTAGE & PRESTAGE FAMILY TRUST UA 12/28/99    3702 E DESERT COVE AVE                                                                        PHOENIX           AZ    85028‐3428

D R BERLIN                                        6382 WAGNER AVE                                                                               GRAND BLANC       MI    48439‐9115
D R HUNSINGER                                     93 HAGAMAN STREET                                                                             CARTERET          NJ    07008‐2036
D R MEANS TR UA 05/29/80 MEANS FAMILY TRUST FOR   80 COREY RD                                                                                   SALINAS           CA    93908‐8727
DORIS R MEANS
D R ORMOND                                        3 COILA CT                                                                                    TIJERAS           NM    87059‐7850
D R SANTUCCI                                      2010 CRESTWOOD BLVD                                                                           YOUNGSTOWN        OH    44505‐1704
D R SCOTT                                         12 EXETER DRIVE                                                                               AUBURN            MA    01501‐2517
D RANDALL BENN                                    1005 N TUCKAHOE STREET                                                                        FALLS CHURCH      VA    22046‐3646
D RANDALL BENNETT                                 11826 CONNERS CT                                                                              BAKERSFIELD       CA    93306‐9716
D REED                                            1440 FARIS                                                                                    ST LOUIS          MO    63130‐1803
D REED                                            165 VERNON PLACE                                                                              CARLISLE          OH    45005‐3779
D REID BARTON                                     2115 LAWSON RD                                                                                MARION            IN    46952‐9283
D RICHARD LA BARBERA CUST JOHN FRANCIS LA         3211 SEGURA CT                                                                                SPARKS            NV    89436
BARBERA UGMA NJ
D RICHARD SMITH & VIRGINIA L SMITH JT TEN         223 N GUADALUPE BOX 304                                                                       SANTA FE          NM    87501‐1850
D ROBERT & STEPHANIE S DUNN JT TEN                6549 EL PASO DR                                                                               INDIANAPOLIS      IN    46214‐3385
D ROBERT BEYER                                    684 WENDOVER RD                                                                               LA CANADA         CA    91011‐4129
D ROBERT CAMPBELL JR & JILL A COMAPBELL JT TEN    1719 THOMAS CIRCLE                                                                            MANHATTAN         KS    66502

D ROGER SUNNQUIST & MRS E CATHERINE SUNNQUIST     BOX 101                                                                                       OKAWVILLE         IL    62271‐0101
JT TEN
D ROY BARACKMAN & MARGARET A BARACKMAN JT         16552 BEAVER CENTER RD                                                                        LINESVILLE        PA    16424‐6704
TEN
D SCALES JR                                       14161 ASHTON                                                                                  DETROIT           MI    48223‐3560
D SCOTT FERGUSON & DEE ANN FERGUSON JT TEN        1308 WOODLAKE CT                                                                              CORINTH           TX    76210‐2808
D SCOTT RICHARDSON                                2646 MANOR DR SE                                                                              GRAND RAPIDS      MI    49506‐3524
D SCOTT RIZER CUST EMMA HALLMAN RIZER UGMA SC     113 CAMELIA DR                                                                                WALTERBORO        SC    29488‐3501

D SCRUGGS                                         104 HILLTOP LN                                                                                WILMINGTON        NC    28443‐2223
D STACY ALLEN                                     308 ISABELLA AVE                                                                              N CHARLEROI       PA    15022‐2307
D SUSAN LANCUSKI                                  249 BROOKFIELD RD                                                                             AVON LAKE         OH    44012‐1506
D TODD DETAR                                      3649 MOONGLOW DRIVE                                                                           JOHNS ISLAND      SC    29455
D VAL STROUGH                                     2 SEAVIEW AVE                                                                                 PIEDMONT          CA    94611‐3519
D VINCENT DEAN                                    7970 EASTLAWN                                                                                 FRANKLIN          OH    45005
D VIRGINIA JOHNSON                                4329 MCGINN DR                                                                                LITTLE RIVER      SC    29566
D W BORING                                        4865 WARREN SHARON RD                                                                         VIENNA            OH    44473‐9635
D W DEWROCK                                       1898 BIG BILL RD                                                                              ARNOLD            MO    63010‐1967
D WAYNE A CLARK                                   20136 SHEFFIELD RD                                                                            DETROIT           MI    48221‐1314
D WAYNE BAREFOOT & LINDA A BAREFOOT JT TEN        6300 DEERVIEW DR                                                                              RALEIGH           NC    27606‐8803
D WAYNE FLEMING                                   205 THE PARKWAY                                                                               ITHACA            NY    14850‐2246
                                               09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
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D WILLIAM FAKE                                     8 OAK ST                                                                                                DOLGEVILLE          NY    13329‐1208
D WILLIAM FAKE & ALICE E FAKE JT TEN               8 OAK ST                                                                                                DOLGEVILLE          NY    13329‐1208
D WILLIAM RAFFENSPERGER & KAY J RAFFENSPERGER      115 CRESTVIEW AVE                                                                                       NEW HOLLAND         PA    17557‐1523
TEN ENT
D'ARCY R DANIELSON                                 9440 E CONARD DR                                                                                        BLOOMINGTON         IN    47401‐9145
D0NALD C LEE                                       216S LINCOL PO BOX 716                                                                                  CENTRAL LAKE        MI    49622‐0716
D0NALD L PITTMAN                                   1445 MYERS RD                                                                                           NEEDMORE            PA    17238
DA CRUZ DAVID                                      97 RUE DE L ABBAYE                     AMIENS                                         80 000 FRANCE
DACHUN ZHENG                                       421‐55TH ST                                                                                             WNY                 NJ    07093‐2007
DACRON ASSOCIATES INC EMPLOYEE PROFIT SHARING      69 GATHERING RD                                                                                         PINEBROOK           NJ    07058‐9518
PLAN DTD 03‐31‐83
DAEL B LINDSAY                                     7165 SIERRA TRL                                                                                         SAN ANGELO          TX    76905‐8973
DAFANG W LIN & JAMES H LIN JT TEN                  3492 GENTLE KNOLL ST                                                                                    CARLSBAD            CA    92010‐5550
DAFNE CARUSO                                       20 DARTMOUTH ST                                                                                         LAWRENCE            MA    01841‐3250
DAGABERTO A CANALES                                6612 KELLY DR                                                                                           MILLERSBURG         MI    49759‐9574
DAGMAR E DILLNER                                   11150 KILARNEY DR                                                                                       WASHINGTON          MI    48095‐2509
                                                                                                                                                           TOWNSHI
DAGMAR HILDEBRANDT                                 CORDESSTRASSE 8                        D‐14055              BERLIN                    GERMANY
DAGMAR L KAUAHI                                    926 11TH AVE                                                                                            HONOLULU            HI    96816‐2241
DAGMAR M MALSTROM                                  2375 LEXINGTON CIR S                                                                                    CANTON              MI    48188‐5907
DAGMAR TOMLINSON TR UA TOMLINSON FAMILY            1325 CHAUTAUQUA BLVD                                                                                    PACIFIC PALISADES   CA    90272‐2607
TRUST 08/03/88
DAGNY SWIGERT WETHERILL                            301 NORRISTOWN RD                      APT C204                                                         AMBLER              PA    19002‐2770
DAH‐LAIN TANG                                      1337 GREEN TRAILS                                                                                       NAPER VILLE         IL    60540‐7032
DAHL R MCCORMICK                                   PO BOX 81                                                                                               HANNAWA FALLS       NY    13647‐0081
DAHLENE BROWNING CUST LAUREN C BROWNING            24174 ZANCON STREET                                                                                     MISSION VIEJO       CA    92692‐2222
UTMA CA
DAHLIA D MILLER                                    1372 BROWN RD                                                                                           HEPHZIBAH           GA    30815‐4527
DAHLIA GABERT                                      5318 DARNELL                                                                                            HOUSTON             TX    77096‐1202
DAHLIA JUDITH DANA                                 FURZENS                                ROSEMARY LANE        ALFOLD CRANLEIGH SURREY   GREAT BRITAIN
DAHLIA M ROOP & JAMES DAVID ROOP JT TEN            1237 S GRAHAM RD                                                                                        FLINT               MI    48532‐3536
DAHN E BJORKMAN & JOYCE E BJORKMAN JT TEN          PO BOX 553                                                                                              LAKE CITY           MI    49651‐0553
DAHN PAREKH & KASHMIRA PAREKH JT TEN               101 CASCADE RD                                                                                          COLUMBUS            GA    31904‐2808
DAHYABHAI M PATEL & CHANDRIKA D PATEL JT TEN       RTE 9 COUNTRY SIDE MOTEL                                                                                COLD SPRING         NY    10516

DAILEEN L S ANKER CUST SARAH LESLIE ANKER UGMA     500 W INDIANA                                                                                           BAY CITY            MI    48706‐4309
MI
DAIMON C POWERS                                    4541 COBBLESTONE CI                                                                                     KNOXVILLE           TN    37938‐3206
DAIN P WILHELM                                     12282 S HEMLOCK                                                                                         BRANT               MI    48614‐9712
DAISY A KATTIC                                     2127 NAOMI AVE                                                                                          GLASSPORT           PA    15045‐1217
DAISY B ALEXANDER                                  1215 APPLEBY DR                                                                                         SILVER SPRING       MD    20904‐3220
DAISY B PECK                                       2768 MONTGOMERY N W                                                                                     WARREN              OH    44485‐1428
DAISY BROWN                                        3750 W CERMAK                                                                                           CHICAGO             IL    60623‐3013
DAISY C BELLAMY                                    714 E JACKSON                                                                                           KOKOMO              IN    46901‐4742
DAISY CHENG                                        4022 MILAN DR                                                                                           IRVING              TX    75038
DAISY D BERRY TR DAISY D BERRY TRUST UA 11/17/97   11515 22ND AVE                                                                                          PLEASANT PRAIRIE    WI    53158‐4535

DAISY E COLLINS                                    BOX 674                                                                                                 HEPPNER             OR    97836‐0674
DAISY E LAMBERTON                                  3432 CAPITAL AVE SW                                                                                     BATTLE CREEK        MI    49015
DAISY E RHODES                                     503 LAKESIDE VILLA DR                                                                                   HAMPTON             GA    30228‐6358
DAISY J MARLIN & DONALD H MARLIN JT TEN            317 CHURCH LN                                                                                           SEWICKLEY           PA    15143‐1013
DAISY JANE GRZEJKA & MARGARET A RAUMIKAITIS JT     PO BOX 63                                                                                               DANVILLE            NH    03819
TEN
DAISY KARKOSKI                                     5453 TIPPERARY LANE                                                                                     FLINT               MI    48506‐2264
DAISY L COTTON                                     26045 MOUNTAIN RIDGE RD                                                                                 ALBEMARLE           NC    28001‐7695
DAISY L ENGLISH                                    445 N MONTGOMERY ST                                                                                     TRENTON             NJ    08618‐3914
DAISY L HARRIS                                     33 ORCHARD ST                                                                                           MANSFIELD           OH    44903‐1325
DAISY L OWENS                                      2940 WINGATE AVE                                                                                        AKRON               OH    44314‐1069
DAISY L WARNER                                     1221 W 11TH ST                                                                                          ANDERSON            IN    46016‐2921
                                          09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DAISY LISTER DAVENPORT                         9418 NONA KAY                                                                                   SAN ANTONIO      TX    78217‐5023
DAISY M BROWN                                  3808 FISHER RD                                                                                  MIDDLETOWN       OH    45042‐2822
DAISY M BRYANT                                 5418 GIST AVE                                                                                   BALTIMORE        MD    21215‐4504
DAISY M DAVIS                                  1622 WEST 30TH ST                                                                               RIVIERA BEACH    FL    33404‐3522
DAISY M FREDERICKS TOD WENDELL K FREDRICKS     30096 SPRING RIVER DR                                                                           SOUTHFIELD       MI    48076‐1045
DAISY M HARVILL                                24319 LEEWIN                                                                                    DETROIT          MI    48219‐4504
DAISY M HINCHMAN                               2338 MALIBU CT                                                                                  ANDERSON         IN    46012‐4718
DAISY M WILSON                                 6233 HAAG ROAD                                                                                  LANSING          MI    48911‐5453
DAISY MCCLUNG BOCCETTI                         5230 WYSE FORK RD                                                                               DOVER            NC    28526‐8842
DAISY PAYNE                                    622 LINDA VISTA                                                                                 PONTIAC          MI    48342‐1649
DAISY S MCCOLLUM                               8290 HUNLEY RIDGE RD                                                                            MATTHEWS         NC    28104‐2946
DAISY SANTORUVO CUST LAWRENCE C SANTORUVO      279 CROCUS AVE                                                                                  FLORAL PARK      NY    11001‐2333
UGMA NY
DAISY SMELTZER MCBANE                          5810 S 50 W                                                                                     ATLANTA          IN    46031‐9566
DAISY THOMPSON                                 826 MAYFAIR BLVD                                                                                TOLEDO           OH    43612‐3145
DAISY W JINKS                                  851 GERTRUDE PL NW                                                                              ATLANTA          GA    30318‐4836
DAISY WALLACE OSBORNE                          1103 BLACKBERRY CR 1                                                                            BURTON           MI    48519‐1919
DAIVD M SAFFORD                                50704 EAST SHAMROCK                   CHESTERFIELD TWNSP                                        NEW BALTIMORE    MI    48047‐1873
DAL H CHO                                      2700 ELIZABETH LAKE RD APT 336                                                                  WATERFORD        MI    48328‐3284
DAL L BURTON                                   PO BOX #1054                                                                                    ROCKAWAY BEACH   MO    65740‐1054

DALBERT G BUTTERFIELD & MARILYN M BUTTERFIELD JT 48 ROBINDALE DR                                                                               PLANTSVILLE      CT    06479‐1338
TEN
DALE A BENWAY                                    4436 E CARPENTER RD                                                                           FLINT            MI    48506‐1048
DALE A BETTS & SHIRLEY A BETTS JT TEN            4280 SE 20TH PLACE                  APT 703                                                   CAPE CORAL       FL    33904‐5440
DALE A BINGLEY                                   8134 BRISTOL RD                                                                               DAVISON          MI    48423‐8716
DALE A BLASER                                    138 BUTEN ST                                                                                  MILTON           WI    53563‐1272
DALE A CABLE                                     2614 TIFFIN AVE #95                                                                           SANDUSKY         OH    44870‐5380
DALE A CLEMENS                                   4617 DAVISON RD                                                                               LAPEER           MI    48446‐3503
DALE A CLEMENTS                                  4544 NORTH CANDLEWOOD DR                                                                      BEVERLY HILLS    FL    34465
DALE A CLEMENTS & THOMAS J CLEMENTS JT TEN       4544 NORTH CANDLEWOOD DR                                                                      BEVERLY HILLS    FL    34465
DALE A CLEVELAND                                 1009 S CLOUDAS AVE                                                                            SIOUX FALLS      SD    57103‐2827
DALE A CLINE                                     3850 ORCHARD GROVE RD                                                                         SABINA           OH    45169‐9160
DALE A CRISPINO                                  5701 FAIROAKS AVENUE                                                                          BALTIMORE        MD    21214‐1631
DALE A DEBOER                                    10762 STRASBURG RD                                                                            ERIE             MI    48133‐9727
DALE A FOLKS                                     18717 SAVAGE RD                                                                               BELLEVILLE       MI    48111‐9673
DALE A FOSTER                                    124 STOVER ROAD                                                                               ROCHESTER        NY    14624‐4452
DALE A GACKSTATTER                               338 SUNSET DR                                                                                 JANESVILLE       WI    53545‐3251
DALE A GRECH                                     PO BOX 146                                                                                    MILAN            MI    48160‐0146
DALE A GREEN                                     2143 BELLE MEADE DRIVE                                                                        DAVISON          MI    48423‐2059
DALE A GURZYNSKI                                 59 WEST LOGAN                                                                                 LEMONT           IL    60439‐3852
DALE A HACKENBERG                                82716 28TH ST                                                                                 LAWTON           MI    49065‐9644
DALE A HAMMOND & ELSA H HAMMOND JT TEN           3781 LINCOLNSHIRE ROAD                                                                        WATERFORD        MI    48328‐3540
DALE A HARNER                                    1887 HILLTOP RD                                                                               XENIA            OH    45385‐8572
DALE A HENDERSON                                 PO BOX 73                                                                                     VERNON           MI    48476
DALE A HOBERMAN                                  14956 CREEK EDGE DR                                                                           HOLLAND          MI    49424‐1690
DALE A HOYT                                      10 ORCHARD KNOLL DR                                                                           CINCINNATI       OH    45215‐3966
DALE A IRISH                                     759 FIVE LAKES RD                                                                             ATTICA           MI    48412
DALE A JAKEL                                     1553 RIDGESIDE AVE                                                                            BOWLING GREEN    KY    42104‐4711
DALE A JOLLY                                     1324 CRESCENT AVE                                                                             IDAHO FALLS      ID    83402
DALE A KING                                      6736 NORBORNE AVE                                                                             DEARBORN HEIGHTS MI    48127‐2083

DALE A LEE                                     6745 ASHTON AVE                                                                                 DETROIT          MI    48228‐3422
DALE A LEE                                     6745 ASHTON AVE                                                                                 DETROIT          MI    48228‐3422
DALE A LEWIS                                   4545 BLOOMINGROVE RD                                                                            MANSFIELD        OH    44903‐7215
DALE A MANN                                    594 KEELER DR                                                                                   AVON             IN    46123‐9689
DALE A MASTERS                                 1010 BALDWIN AVE                                                                                JENISON          MI    49428‐9716
DALE A MCCOY                                   488 GUNNISON GORGE                                                                              BALLWIN          MO    63011‐1739
DALE A MILLER                                  646 N ALMAR CIR                                                                                 MESA             AZ    85213‐6968
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DALE A MILLER                                   13021 BRENNAN RD                                                                                CHESANING       MI      48616‐9534
DALE A MILNER                                   5907 E GROSS DR                                                                                 TERRE HAUTE     IN      47802‐9576
DALE A MOORE & THERESA K MOORE TR MOORE FAM     74 FALCON HILLS DR                                                                              HIGHLANDS RANCH CO      80126‐2901
TRUST UA 05/31/96
DALE A MULLER                                   411 NORTH 6TH STREET                  APT 409                                                   EMERY             SD    57332‐2124
DALE A NELSON                                   14927 E DESERT WILLOW DR C‐1                                                                    FOUNTAIN HILLS    AZ    85268‐5920
DALE A POMEROY                                  4488 CHANDY                                                                                     GRAND RAPIDS      MI    49525‐1310
DALE A POTTEBAUM & JEAN L POTTEBAUM JT TEN      1112 NORTH E                                                                                    LOMPOC            CA    93436‐3412
DALE A POWELL                                   9712 US HIGHWAY 301                                                                             DADE CITY         FL    33525‐1850
DALE A ROGERS                                   5925 CHAUNCEY DR NE                                                                             BELMONT           MI    49306‐9195
DALE A SAVAGE                                   11033 CARR RD                                                                                   DAVISON           MI    48423‐9317
DALE A SCHMIDT & ROBERTA G MERTZ JT TEN         833 E MAPLE                                                                                     HOLLY             MI    48442‐1752
DALE A SEELEY                                   7541 SWAN CREEK                                                                                 SAGINAW           MI    48609‐5392
DALE A SIEB                                     8601 STATE RD                                                                                   BANCROFT          MI    48414‐9744
DALE A SMITH                                    PO BOX #1                             BLYTHESWOOD ON                          N0P 1B0 CANADA
DALE A SMITH                                    PO BOX 1                              BLYTHESWOOD ON                          N0P 1B0 CANADA
DALE A STEELE                                   8501 DILLON ROAD                                                                                CHARLESTOWN       IN    47111‐9666
DALE A STUART                                   7336 MUSTANG DRIVE                                                                              CLARKSTON         MI    48346‐2624
DALE A THOMAS JR                                1134 CARMEL RD N                                                                                HAMPDEN           ME    04444‐3208
DALE A VERONESI                                 4361 SE SCOTLAND CAY WAY                                                                        STUART            FL    34997‐8280
DALE A WELCH                                    PO BOX 30                                                                                       STUTTGART         AR    72160‐0030
DALE A WELLS                                    3389 AQUARIOUS CIR                                                                              OAKLAND           MI    48363‐2714
DALE A WITTMANN                                 108 GRANT STREET                                                                                LINDEN            NJ    07036‐1737
DALE A WORM                                     1843 ELM AVE                                                                                    SO MILW           WI    53172‐1442
DALE ABERNATHY                                  252 ZANDALE DR                                                                                  LEXINGTON         KY    40503‐2645
DALE ADAMIC                                     30375 OVERLOOK DRIVE                                                                            WICKLIFFE         OH    44092‐1146
DALE ALAN ZESKIND                               BOX 278                                                                                         WAYLAND           MA    01778‐0278
DALE ALLAN KASTNING                             8072 BARBERRY HILL DR                                                                           MENTOR            OH    44060‐5640
DALE ALLAN WILLIS                               3026 KETZLER DR                                                                                 FLINT             MI    48507‐1222
DALE ANDREWS ELDRIDGE                           1700 GREAT PLAIN AVE                                                                            NEEDHAM           MA    02492‐1212
DALE ANN FRANKEL                                700 ARDMOOR                                                                                     BLOOMFIELD TWP    MI    48301‐2416

DALE ANNA DEAN                                  25 REVERE ST                                                                                    BOSTON            MA    02114‐3769
DALE ANNA S HERMSEN                             2567 N HUGHES ROAD                                                                              HOWELL            MI    48843‐9749
DALE B CROSTON                                  1900 HEMLOCK RD                                                                                 EDGEWOOD          MD    21040‐2423
DALE B FOX                                      9919 GLADIOLUS PRESERVE CIR                                                                     FORT MYERS        FL    33908‐9723
DALE B HENDLER CUST ERIC D HENDLER UTMA CA      2440 LEIMERT BLVD                                                                               OAKLAND           CA    94602‐2020
DALE B HENDLER CUST STEPHEN J HENDLER UTMA CA   2440 LEIMERT BLVD                                                                               OAKLAND           CA    94602‐2020

DALE B JETT                                     910 BERKLEY ST                                                                                  CARPENTERSVLE     IL    60110‐1570
DALE B LANCASTER                                320 S CORL ST                                                                                   STATE COLLEGE     PA    16801‐4178
DALE B MCMILLIN                                 145 MILLCREEK LN                                                                                MORELAND HILLS    OH    44022‐1266
DALE B PRESTON JR                               4670 DEWEY DRIVE                                                                                LEBANON           OH    45036‐8408
DALE B SIMON                                    14080 W CENTERLINE RD                                                                           PEWAMO            MI    48873‐9642
DALE B STOVER                                   685 MEYERSVILLE RD                                                                              GILLETTE          NJ    07933‐1338
DALE B THOMA                                    792 LAKESHORE DR                                                                                LEXINGTON         KY    40502‐3119
DALE BAJER                                      763 MEGAN LANE                                                                                  WEBSTER           NY    14580
DALE BALIS                                      W 14275 CO HWY D                                                                                WEYERHAEUSER      WI    54895
DALE BASIL LEE                                  2737 BROADWAY                                                                                   HUNTINGTON PARK   CA    90255‐6347

DALE BERNARD WYCKOFF                            PO BOX 479                                                                                      E BRUNSWICK       NJ    08816‐0479
DALE BOURNE                                     2052 SWENSBERG NE                                                                               GRAND RAPIDS      MI    49505‐6259
DALE BRADWAY                                    1124 CTY RD 39 NE                                                                               MONTICELLO        MN    55362‐3277
DALE C ALLEN                                    1155 PAUL ST                                                                                    MT MORRIS         MI    48458‐1104
DALE C BARLOWE                                  C/O BARBARA A SMITH                   4039 LEDAN EXTENSION                                      GAINESVILLE       GA    30506‐2024
DALE C BERLAU                                   PO BOX 8154                                                                                     PRAIRIE VLG       KS    66208‐0154
DALE C BOYCE                                    7811 SOUTH FORTY‐ONE RD               PO BOX 206                                                CADILLAC          MI    49601‐0206
DALE C BUTZIN                                   13570 APPLE ST                                                                                  CARLETON          MI    48117‐9470
DALE C COGGINS                                  9232 NAVAJO TRAIL                                                                               FLUSHING          MI    48433‐1021
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Name                                               Address1                               Address2                Address3        Address4          City             State Zip

DALE C ENGEBRETSEN                                 PO BOX 756                                                                                       DENMARK          WI    54208‐0756
DALE C ERRICO & DONNA ERRICO JT TEN                20 DEERFIELD TRL                                                                                 MONMOUTH         NJ    08852‐2675
                                                                                                                                                    JUNCTION
DALE C FLOWNEY & MICHELLE K FLOWNEY JT TEN         3512 BRENTWOOD DRIVE                                                                             FLINT            MI    48503‐2354
DALE C GILLUM                                      16303 CHELSEA PL                       APT 322                                                   SELMA            TX    78154‐1884
DALE C GRIEB TR DALE C GRIEB TRUST UA 11/17/98     2027 FALLSGROVE WAY                                                                              FALLSTON         MD    21047‐1509

DALE C GUETZLOFF                                   152 DOROTHY LANE                                                                                 CAMDENTON        MO    65020‐4102
DALE C HACKER                                      97 INDIAN RD                                                                                     CHEEKTOWAGA      NY    14227‐1633
DALE C HAVILAND                                    4540 CUTLER RD R 2                                                                               DEWITT           MI    48820‐9124
DALE C HAYNES                                      PO BOX 1437                                                                                      WESTERVILLE      OH    43086
DALE C KING                                        2161 BRINGOLD AVE                                                                                HARRISON         MI    48625‐9782
DALE C MC CAFFERY                                  16616 RIDGE ROAD W                                                                               HOLLEY           NY    14470‐9366
DALE C MILLER                                      1529 GENEVA ROAD                       BLDG 9                                                    ANN ARBOR        MI    48103‐4489
DALE C MILLIKEN                                    10364 S BRAMBLEWOOD                                                                              PERRYSBURG       OH    43551‐3630
DALE C NORRIS                                      600 S LAKE AVE STE 404                                                                           PASADENA         CA    91106‐3955
DALE C OSMUNDSON                                   3102 MONTANA                                                                                     FLINT            MI    48506‐2540
DALE C PLESEA                                      9395 PENNSYLVANIA AVE                  APT 3                                                     BONITA SPGS      FL    34135‐3503
DALE C RICHMOND                                    2300 HOULIHAN RD                                                                                 SAGINAW          MI    48601‐9756
DALE C SAUNDERS                                    11800 MEIS AVE                                                                                   MIDLOTHIAN       VA    23112‐3615
DALE C SILER                                       5401 NEWELL DR                                                                                   KETTERING        OH    45440‐2850
DALE C SMITH                                       9246 BAKEWAY DR                                                                                  INDIANAPOLIS     IN    46231‐3106
DALE C SPENCER                                     1546 JOSLYN                                                                                      PONTIAC          MI    48340‐1313
DALE C SWANSON                                     1522 CENTRAL                                                                                     WILMETTE         IL    60091‐2402
DALE C WARD TOD MICHAEL D WARD                     505 MAPLE LANE                                                                                   STERLING         IL    61081‐3153
DALE CARL COLLINS                                  2610 E 8TH ST                                                                                    ANDERSON         IN    46012‐4404
DALE CHARLES MATZNICK                              4146 MITCHELL RD                                                                                 HADLEY           MI    48440‐9782
DALE CLARENCE WORKMAN & LINDA R WORKMAN JT         3844 HOLLY BERRY                                                                                 KNOXVILLE        TN    0ZZZZ
TEN
DALE COLE                                          10620 BECLAN DR                                                                                  RNCHO CORDOVA    CA    95670‐3807
DALE COLE                                          12007 N LAMAR BLVD #1411                                                                         AUSTIN           TX    78753
DALE CRIBLEY                                       13289 AKRON CANFIELD RD                                                                          N JACKSON        OH    44451‐9723
DALE CUSHMAN & JOYCE CUSHMAN JT TEN                1327 SEMORE                                                                                      KALAMAZOO        MI    49001‐7403
DALE D BELL                                        4709 JAMM RD                                                                                     ORION            MI    48359‐2221
DALE D BENNETT                                     PO BOX 214                             6701 STRAWBERRY LK RD                                     HAMBERG          MI    48139‐0214
DALE D BRETERNITZ                                  3340 WESTBROOK                                                                                   SAGINAW          MI    48601‐6985
DALE D COLLINS                                     4367 WATSON RD                                                                                   BEAVERTON        MI    48612‐8350
DALE D DEMARAY JR                                  PO BOX 81                                                                                        BENICIA          CA    94510‐0081
DALE D DONELSON                                    10140 BROOKS RD                                                                                  LENNON           MI    48449‐9640
DALE D DYSON                                       1535 SW 9TH ST                                                                                   MIAMI            FL    33135‐5221
DALE D DYSON                                       2177 S W 16TH TER                                                                                MIAMI            FL    33135
DALE D EARLEY                                      55 ASHWOOD AVE                                                                                   DAYTON           OH    45405‐2641
DALE D EMERY                                       G 3437 E CARPENTER RD                                                                            FLINT            MI    48506
DALE D FALK                                        2167 MONTANA                                                                                     SAGINAW          MI    48601‐5314
DALE D GRIM                                        42 MARLA LANE                                                                                    GIRARD           OH    44420‐1330
DALE D JESSOP                                      620 LINDEN LANE                                                                                  PRATTVILLE       AL    36066‐7364
DALE D JONES                                       1043 KIMBERLY                          APT 10                                                    LANSING          MI    48912‐4834
DALE D LATHER                                      1537 TERRAWENDA DR                                                                               DEFIANCE         OH    43512‐3709
DALE D LONG TR LONG FAM TRUST UA 02/13/98          1116 POWDERHORN DR                                                                               LANSING          MI    48917‐4069
DALE D MINTZMYER                                   PO BOX 42                                                                                        HILLMAN          MI    49746‐0042
DALE D NORWICH                                     178 CONTINENTAL DR                                                                               LOCKPORT         NY    14094‐5224
DALE D SPEAR                                       8023 S JENNINGS                                                                                  SWARTZ CREEK     MI    48473‐9147
DALE D STOKES                                      4129 SEQUOIA AVE                                                                                 GROVE CITY       OH    43123
DALE D TURSO                                       3877 RIVER OAK CIRCLE                                                                            VIRGINIA BEACH   VA    23456‐8143
DALE D VAUGHAN & ROSE M VAUGHAN JT TEN             52 VAUNHOLM ROAD                                                                                 MCVEYTOWN        PA    17051‐8998
DALE D VERMILLION                                  2814 PLAINFIELD AVE                                                                              FLINT            MI    48506‐1855
DALE D WHITE                                       421 W WITHERBEE                                                                                  FLINT            MI    48503‐1083
DALE DEAN MILLER                                   2413 E 200 SOUTH                                                                                 ANDERSON         IN    46017
DALE DRIESENGA                                     4316 41 ST                                                                                       GRANDVILLE       MI    49418‐2304
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Name                                              Address1                              Address2             Address3           Address4          City               State Zip

DALE E ANDERSON                                   12389 MEANDERLINE                                                                               CHARLEVOIX         MI    49720‐1072
DALE E ANTHONY EX UW ALTA S ANTHONY               RR 1 BOX 87C                                                                                    SAYRE              PA    18840‐9706
DALE E ARTZ & ELEANOR E ARTZ TR ARTZ FAM TRUST UA 2222 N REVERE RD                                                                                AKRON              OH    44333‐1954
03/31/95
DALE E ATHERTON                                   10271 RAY RD                                                                                    GAINES             MI    48436‐9756
DALE E BARR & JUDY S BARR JT TEN                  2960 MILLER HWY                                                                                 OLIVET             MI    49076‐9653
DALE E BAXTER                                     10358 IRISH RD                                                                                  GOODRICH           MI    48438‐9447
DALE E BEARDSLEE                                  5932 OLD E M 72 RD                                                                              CURRAN             MI    48728‐9798
DALE E BENEDICT                                   3255 TROY‐SIDNEY ROAD                                                                           TROY               OH    45373‐9799
DALE E BISHOP CUST RONALD A BISHOP UGMA OH        1801 SKYLINE DR                                                                                 N FT MYERS         FL    33903‐4715

DALE E BISHOP CUST THOMAS L BISHOP UGMA OH        4711 GULF AVE                                                                                   NORTH FORT MYERS FL      33903‐4675

DALE E BOLLIG                                     10175 CHAUCER AVE                     APT 4                                                     SAINT LOUIS        MO    63114‐2345
DALE E BOUGH & MRS MAXINE BOUGH JT TEN            116 CREIGHTON ROAD                                                                              WEST LAFAYETTE     IN    47906‐2101
DALE E BUCHKO & PENNY L BUCHKO JT TEN             2479 WATERFRONT DR                                                                              BRIGHTON           MI    48114‐7312
DALE E BURNETT & NANCY O BURNETT JT TEN           6263 HATHAWAY ROAD                                                                              LEBANON            OH    45036‐9725
DALE E BURNEY                                     53420 MARIAN DR                                                                                 SHELBY TWP         MI    48315‐1912
DALE E BUSH                                       8601 COUNTY RD EE                                                                               LIBERTY            MO    64068
DALE E BUTCHER & AGATHA T BUTCHER JT TEN          5193 OXBOW RD SMOKE RISE                                                                        STONE MOUNTAIN     GA    30087‐1220

DALE E CAMP & JUDITH L CAMP JT TEN                1495 JENNINGS AVE                                                                               COUNCIL BLUFFS     IA    51503‐8759
DALE E CANNADAY                                   17555 N GRAY RD                                                                                 NOBLESVILLE        IN    46060‐9263
DALE E CAVANAUGH                                  21593 STANTON RD                                                                                PEIERSON           MI    49339‐9676
DALE E CHLUMSKY & MRS KATHERINE K CHLUMSKY JT     1199 THIRD STREET SOUTH                                                                         NAPLES             FL    34102‐7056
TEN
DALE E COOK & JANE H COOK TR UA 03/24/2009 DALE E 1217 EAGLE VIEW COURT                                                                           GREENWOOD          IN    46143
COOK TRUST
DALE E CORSAUT                                    3125 SANDLEWOOD DRIVE                                                                           DEFIANCE           OH    43512‐9664
DALE E CRANDELL                                   575 WORCHESTER                                                                                  WESTLAND           MI    48186‐3826
DALE E DODSON                                     1769 FAIRVIEW DR                                                                                BERKELEY SPRINGS   WV    25411‐3229

DALE E DOSTER                                     11466 PLAZA DR                                                                                  CLIO               MI    48420‐1702
DALE E DRESSEL                                    906 FERNWAY LANE                                                                                ST LOUIS           MO    63141‐6144
DALE E FALB                                       53 W EIGHTH ST                                                                                  NEWTON FALLS       OH    44444‐1551
DALE E FISHER                                     31531 LONNIE                                                                                    WESTLAND           MI    48185‐1690
DALE E FOLSOM                                     11203 BLYTHVILLE ROAD                                                                           SPRING HILL        FL    34608‐2036
DALE E FULKERSON                                  5455 WEST LAKE ROAD                                                                             CLIO               MI    48420‐8237
DALE E FULLER                                     337 CHICAGON MINE RD                                                                            IRON RIVER         MI    49935‐8689
DALE E GILLIM                                     22014 KOTHS                                                                                     TAYLOR             MI    48180‐3644
DALE E GRAHAM                                     RT 6 BOX 247‐M                                                                                  DUNCAN             OK    73533‐9205
DALE E GRIESMEYER & MARIE F GRIESMEYER JT TEN     4809 ALGOOD PL                                                                                  KETTERING          OH    45429‐5523

DALE E GYNN                                      3923 RICHLAWN RD                                                                                 RICHFIELD          OH    44286‐9787
DALE E HARDING                                   33603 CALUMET                                                                                    WESTLAND           MI    48186‐4604
DALE E HAVRILLA & BEATRICE W HAVRILLA JT TEN     5974 PT AUSTIN ROAD                                                                              CASEVILLE          MI    48725
DALE E HENDERSON                                 106 YALE AVE                                                                                     DAYTON             OH    45406‐5021
DALE E HERBST                                    117 7TH ST N                           UNIT 27                                                   BRADENTON BCH      FL    34217‐3312
DALE E HERTZ                                     1062 AMELITH                                                                                     BAY CITY           MI    48706‐9335
DALE E HINTERMEIER                               2221 SE 16TH ST                                                                                  CAPE CORAL         FL    33990‐3884
DALE E HISSONG TR DALE E HISSONG REVOCABLE TRUST 726 HALL BLVD                                                                                    MASON              MI    48854‐1706
UA 06/12/02
DALE E HUDSON                                    1506 DENIES ST                                                                                   BURTON             MI    48509‐2169
DALE E HUNTER                                    PO BOX 642                                                                                       DOWNIVELLE         CA    95936‐0642
DALE E JOHNSON                                   700 JUDY AVE                                                                                     EATON              OH    45320‐1219
DALE E JOHNSON                                   10512 MOWHAWK LANE                                                                               SHAWNEE MISSION    KS    66206‐2553

DALE E KASTNER & SUZANNE M KASTNER JT TEN         1295 CRY RD G                                                                                   MILLTOWN           WI    54858
DALE E KINKAID                                    3518 MARIAN DR                                                                                  HAMILTON           OH    45013‐7607
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DALE E KUCINSKI                                  9312 PRIVATE RD 2413                                                                            CLYDE             TX    79510‐6723
DALE E LANGE                                     4500 HERITAGE DRIVE                                                                             STEVENS POINT     WI    54481‐5073
DALE E LAYTON                                    13 NEWWORTH CRT                                                                                 COLUMBIA          SC    29229
DALE E LERTOLA                                   1000 WALKER ST                        LOT 292                                                   DAYTONA BEACH     FL    32117‐2558
DALE E LOCK                                      3150 CRAWFORD RD                                                                                BROOKVILLE        OH    45309‐9753
DALE E LUETTKE                                   4651 MAYBEE RD                                                                                  CLARKSTON         MI    48348‐5124
DALE E MAIN & BARBARA JOAN MAIN JT TEN           9878 KINNEVILLE ROAD                                                                            EATON RAPIDS      MI    48827‐8550
DALE E MASON                                     2830 W DESHONG DRIVE                                                                            PENDLETON         IN    46064‐9529
DALE E MC MULLEN                                 3908 N LAPEER RD                                                                                LAPEER            MI    48446‐8775
DALE E MILLER & STANLEY R MILLER JT TEN          PO BOX 112                                                                                      STARKE            FL    32091‐0112
DALE E MINNICK                                   108 HUFFMAN STREET                                                                              BELLEVUE          OH    44811‐1016
DALE E MITCHELL II                               PO BOX 162                                                                                      CENTRAL LAKE      MI    49622‐0162
DALE E MYERS & JANICE A MYERS CONSERVATORS FOR   6244 E HILL RD                                                                                  GRAND BLANC       MI    48439‐9190
ERICA MICHELE BITTNER
DALE E NELSON                                    8627 W 130TH ST                                                                                 PALOS PARK        IL    60464‐1801
DALE E NORMAN                                    7157 ADELLE ST                                                                                  FLUSHING          MI    48433‐8818
DALE E PALKA & LILLIAN E PALKA JT TEN            864 SOUTH VALLEY LANE                                                                           PALATINE          IL    60067‐7185
DALE E PETERSON                                  9407 FARRAND RD                                                                                 OTISVILLE         MI    48463‐9776
DALE E PETERSON & KENNETH D PETERSON JT TEN      2649 BULLARD RD                                                                                 HARTLAND          MI    48353‐3005
DALE E PIOTROWSKI                                6265 EAST ROAD                                                                                  SAGINAW           MI    48601‐9771
DALE E RANDALL                                   624 STONEYBROOK DR                                                                              DAYTON            OH    45429‐5320
DALE E RAPCAN                                    1505 CLYDE DR                                                                                   NAPERVILLE        IL    60565‐1307
DALE E REASON                                    PO BOX 63                                                                                       WAVELAND          IN    47989‐0063
DALE E ROPER                                     5537 CENTENARY SHRS                                                                             SODUS             NY    14551‐9611
DALE E ROSENGARTEN                               12799 RD 10‐L RR 3                                                                              OTTAWA            OH    45875‐9513
DALE E ROZEMA                                    295 7 MILE RD                                                                                   COMSTOCK PARK     MI    49321
DALE E SCHMOLINSKY                               520 FITZOOTH DRIVE                                                                              MIAMISBURG        OH    45342‐5904
DALE E SCHOMAKER                                 8847 SWANCREST DR                                                                               SAGINAW           MI    48609‐9225
DALE E SCOTT & ROSE M SCOTT JT TEN               806 49TH A AVE E                                                                                BRADENTON         FL    34203‐4816
DALE E SEE                                       1916 S HIGHGATE CT                                                                              DAYTON            OH    45432‐1880
DALE E SHAW                                      1116 3RD AVE                                                                                    DUNCANSVILLE      PA    16635‐1349
DALE E SIDERS                                    909 PARKVIEW DRIVE                                                                              RUSHVILLE         IN    46173‐1050
DALE E SKELTON                                   1232 HEYDEN                                                                                     WATERFORD         MI    48328‐1218
DALE E SOUTHWELL                                 RR 3                                  BANCROFT ON                             K0L 1C0 CANADA
DALE E TALCOTT                                   PO BOX 87                                                                                       SOUTH BRANCH      MI    48761‐0087
DALE E THOMAS                                    8524 E RICHFIELD RD                                                                             DAVISON           MI    48423‐8581
DALE E TONEY                                     5557 DEBRA                                                                                      SHELBY TOWNSHIP   MI    48316‐2467

DALE E TREW                                       13645 MAIN ST                                                                                  BATH              MI    48808‐9465
DALE E ULTZ                                       65790 MIDDLE COLON RD                                                                          BURR OAK          MI    49030‐9660
DALE E VAILLANCOURT                               198 BROOK MEADOW LANE N APT 7                                                                  GRANDVILLE        MI    49418
DALE E VANBROCKLIN                                5211 FOREST VIEW CT                                                                            HUDSONVILLE       MI    49426‐9727
DALE E WELLS                                      3766 CRESTON DR                                                                                INDIANAPOLIS      IN    46222
DALE E WIGHT                                      4988 S IONIA RD                                                                                BELLEVUE          MI    49021‐9436
DALE E WILCOX & LILLIAN O WILCOX & DAVID D WILCOX 6235 BALMY LANE                                                                                ZEPHYSHILLS       FL    33540‐6472
JT TEN
DALE E WISEHART                                   RD 234                               11689 E ST                                                SHIRLEY           IN    47384
DALE E WISKUR CUST JOSHUA J LAVIGNE UTMA SD       20410 SD HWY 1806                                                                              FORT PIERRE       SD    57532‐5403

DALE E WOLFROM                                   9703 GARRISON ROAD                                                                              LAINGSBURG        MI    48848‐9645
DALE E WYLIE                                     1647 LIBERTY RD                                                                                 NEW CARLISLE      OH    45344‐9554
DALE E ZIMMERMAN                                 RT 2 BOX 27 55H                                                                                 WHEATLAND         MO    65779
DALE EDDINGTON BUCK                              1000 S CINCH LAKE PARK #16                                                                      FROSTPROOF        FL    33843
DALE EDWARD RICHARDSON & JUDITH ANN              3353 W CHENANGO AVE                                                                             ENGLEWOOD         CO    80110
RICHARDSON JT TEN
DALE ENDRESS                                     10350 LOVERS LANE                                                                               MOUNT CARROLL     IL    61053
DALE EUGENE SMITH                                RR 2 BOX 232                                                                                    ADRIAN            MO    64720‐9423
DALE EUGENE WHIPP                                712 BENNERT DR                                                                                  VANDALIA          OH    45377‐2514
DALE F BERNABEI                                  2615 3RD ST                                                                                     PERU              IL    61354‐3152
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DALE F BICKFORD JR                                 539 N MAIN ST                      PO BOX 621                                                PERRY            MI    48872‐0621
DALE F BOUNDS                                      385 EAST 3600 SOUTH                                                                          SALT LAKE CITY   UT    84115‐4632
DALE F BRENNAN                                     3605 BRICKER RD                                                                              AVOCA            MI    48006‐4001
DALE F BROWN                                       5880 M‐33                                                                                    ALGER            MI    48610‐9301
DALE F CORNELIUS                                   833 WESTHAFER RD                                                                             VANDALIA         OH    45377‐2838
DALE F DE LONGPRE                                  3736 WALNUT SPRINGS DR N E                                                                   GRAND RAPIDS     MI    49525‐9698
DALE F DEEMER                                      302 CONNECTICUT DR                                                                           PORTAGE          MI    49024‐1306
DALE F ELLIOTT                                     841 SWAN DR                                                                                  MARCO ISLAND     FL    34145‐5737
DALE F FITZGERALD                                  391 WALNUT ST                                                                                LOCKPORT         NY    14094‐3819
DALE F HARVEY                                      5550 ADRIAN                                                                                  SAGINAW          MI    48603‐3659
DALE F HUDLER CUST BRENTLEY H HUDLER UTMA NC       102 COLLEGE AVE                                                                              WEST JEFFERSON   NC    28694‐9115

DALE F KREGOSKI                                    3349 READY RD                                                                                SOUTH ROCKWOOD MI      48179‐9315

DALE F LARSON                                      2 DEERPATH LANE                                                                              SAVANNAH         GA    31411‐1620
DALE F MARTIN                                      14871 GARFIELD AVE                                                                           ALLEN PARK       MI    48101‐2117
DALE F RIGGS                                       BOX 502                                                                                      BUCKHANNON       WV    26201‐0502
DALE F RUSH                                        1102 S MAIN ST                     APT 129                                                   TIPTON           IN    46072‐8201
DALE F SHOEMAKER                                   739 DAFFODIL DR                                                                              HOWARD           OH    43028‐9202
DALE F SMITH                                       71 BURGESS ROAD                                                                              SOMERSET         MA    02726‐3559
DALE F SMITH & JANICE L SMITH JT TEN               12202 E R AVE                                                                                SCOTTS           MI    49088‐9337
DALE F SPIEKERMAN                                  7735 N MASON                                                                                 MERRILL          MI    48637‐9620
DALE FOSTER                                        250 SHENANDOAH DR                  APT 33                                                    LAFAYETTE        IN    47905‐5931
DALE FULLER                                        4151 COUNTY ROAD 3SW               PO BOX 162                                                BAUDETTE         MN    56623
DALE G BROWN                                       3233 POWHATTAN PLACE                                                                         KETTERING        OH    45420‐1242
DALE G DURHAM                                      RR 1 BOX 158A                                                                                ODESSA           MO    64076‐9310
DALE G DURHAM & PATRICA A DURHAM JT TEN            R 1 BOX 158A                                                                                 ODESSA           MO    64076‐9310
DALE G EHLE                                        2215 N PONTIAC DR                                                                            JANESVILLE       WI    53545‐0657
DALE G FOGUS                                       915 CECELIA DR                                                                               ESSEXVILLE       MI    48732
DALE G HILL                                        4606 N PLATEAU DR                                                                            SPRINGFIELD      OH    45502‐9236
DALE G HUNT                                        2334 KING LAKE BLVD                                                                          NAPLES           FL    34112‐5306
DALE G JENKINS                                     2425 S MEDWAY‐CARLISLE RD                                                                    MEDWAY           OH    45341‐9726
DALE G KLOFTA                                      PO BOX 204                                                                                   S ROCKWOOD       MI    48179‐0204
DALE G KRATSCH                                     1021 MANCHESTER DR                                                                           RALEIGH          NC    27609‐5152
DALE G NUSZ                                        1571 DOYLE RD                      LOT 166                                                   DELTONA          FL    32725‐8552
DALE G PARMENTIER                                  216 VALLEY DRIVE                                                                             WASHINGTON       MO    63090‐5234
DALE G PARRISH                                     38348 TYLER                                                                                  ROMULUS          MI    48174‐1387
DALE G RUNKLE                                      10455 SE JEFF RD                                                                             MONTPELIER       IN    47359‐9521
DALE G TRIERWEILER                                 PO BOX 368                                                                                   ELISE            MI    48831‐0368
DALE GILBERT CALDWELL                              16 GOODALE CIR                                                                               NEW BRUNSWICK    NJ    08901‐1608
DALE GOLDBERG & TERRY GOLDBERG JT TEN              11 CARLETON PLACE                                                                            MORGANVILLE      NJ    07751‐1356
DALE GRIFFIN                                       2329 CHENANGO RD                                                                             WAKEMAN          OH    44889
DALE H BROWN                                       1970 LORAINE                       WINDSOR ON                              N8W 1P4 CANADA
DALE H CHAPMAN                                     5592 STANLEY                                                                                 COLUMBIAVILLE    MI    48421‐8912
DALE H CHRISTIAN CUST CURTIS E CHRISTIAN UTMA WI   N10523 HWY 175                                                                               LOMIRA           WI    53048‐9705

DALE H DURUSSEL                                    6772 S VASSAR RD                                                                             VASSAR           MI    48768‐9698
DALE H EDLUND & KATHERINE EDLUND JT TEN            15957 XENIA ST NW                                                                            ANOKA            MN    55304‐2347
DALE H GRISWOLD                                    825 ERICH RD                                                                                 RICHMOND         VA    23225‐4337
DALE H HEISER                                      4427 WINDIATE PK DR                                                                          WATERFORD        MI    48329‐1268
DALE H HOWARD                                      725 E VIA MARIA DR                                                                           GOODYEAR         AZ    85338
DALE H JONES & MEREDITH L JONES JT TEN             6890 BRIAR ROSE TR                                                                           LITTLETON        CO    80125‐9752
DALE H KIETZMAN                                    5370 PINNACLE DRSW                                                                           WYOMING          MI    49509‐9648
DALE H KRACK                                       1531 N 73RD WAY                                                                              HOLLYWOOD        FL    33024‐5469
DALE H LA LONDE                                    3423 PINESTREAM RD N W                                                                       ATLANTA          GA    30327‐2205
DALE H MINDEL                                      4469 MOUNT OLIVET RD                                                                         BOWLING GREEN    KY    42101‐6525
DALE H MOONE                                       5099 FOWLER PLACE                                                                            ODESSA           NY    14869‐9788
DALE H NICHOLAS                                    4 EAST MONROE DR                                                                             LEBANON          OH    45036‐1436
DALE H SPENCER                                     1120 NORTH BALL                                                                              OWOSSO           MI    48867‐1710
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DALE H TECHENTIEN & RUTH W TECHENTIEN JT TEN     2305 LIBERTY ROAD                                                                            SAGINAW          MI    48604‐9221

DALE H VANBARG & DOROTHY G VAN BARG JT TEN       5902 DEANE DR                                                                                TOLEDO           OH    43613‐1124

DALE H VINTON                                    1125 THORNWYK DR NW                                                                          GRAND RAPIDS     MI    49544‐7965
DALE H WALKER                                    376 HELENA DRIVE                                                                             TALLMADGE        OH    44278‐2671
DALE H WALKER & MARJORIE WALKER JT TEN           376 HELENA DRIVE                                                                             TALLMADGE        OH    44278‐2671
DALE H YEASTER                                   LOT #103                           2692 NE HWY 70                                            ARCADIA          FL    34266‐9762
DALE H YEASTER & JEAN L YEASTER JT TEN           2692 NE HWY #70                    UNIT 103                                                  ARCADIA          FL    33821
DALE HAUGAN                                      4616 CANTER LN                                                                               WARRENTON        VA    20187‐8915
DALE HOFERKO                                     W 171 N 10316 WILDROSE LANE                                                                  GERMANTOWN       WI    53022‐4781
DALE HOGGATT                                     5290 67TH ST                                                                                 VERO BEACH       FL    32967‐5989
DALE HUDSON                                      3531 DAVI COURT                                                                              ANTIOCH          CA    94509‐5454
DALE IRVIN ZIMMERMAN                             8704 BROWER LAKE DR NE                                                                       ROCKFORD         MI    49341‐8321
DALE ISAACS                                      330 MUTTON CREEK DRIVE                                                                       SEYMOUR          IN    47274‐4042
DALE J BISHOP                                    3453 RIDGECLIFFE DR                                                                          FLINT            MI    48532‐3764
DALE J BLACK                                     1447 FAIRWAYS EAST                                                                           FLUSHING         MI    48433‐2273
DALE J CRAIG                                     3232 MCCLUSKEY                                                                               PINCKNEY         MI    48169‐9317
DALE J FINK & LLYN FINK JT TEN                   2711 WOODSIDE DR                                                                             ARLINGTON        TX    76016‐1818
DALE J MAGATO                                    2310 CARA DRIVE                                                                              TROY             OH    45373‐8446
DALE J MOHN                                      239 N 22ND ST                                                                                KENILWORTH       NJ    07033‐1227
DALE J PARNAPY                                   77 VAN DUSEN DR                                                                              NORTH BANGOR     NY    12966‐2104
DALE J PIETENPOL & SARAH R PIETENPOL JT TEN      S40 W28170 HIGHWAY 59                                                                        WAUKESHA         WI    53188‐9717
DALE J REED                                      11289 SUMMERFIELD RD                                                                         PETERSBURG       MI    49270‐9310
DALE J SATKOWIAK                                 514 HESS ST                                                                                  SAGINAW          MI    48601‐3702
DALE J SMITH                                     #4 DRESSER ROAD                                                                              SPENCER PORT     NY    14559‐9546
DALE J STADEL                                    9287 LAKE HWY                                                                                VERMONTVILLE     MI    49096‐9781
DALE J SWAN                                      2380 HARVESTER DR                                                                            STOW             OH    44224‐7015
DALE J TROLLMAN                                  3955 KEHOE DR NE                                                                             ADA              MI    49301‐9641
DALE J WAWRZON & BETTY WAWRZON JT TEN            3015 HANNAH ST                                                                               MARINETTE        WI    54143‐1409
DALE J WEIMER                                    1932 NUB GARLAND RD                                                                          TOCCOA           GA    30577‐0713
DALE J WIESMORE                                  P O BOX 136                                                                                  DARIEN CENTER    NY    14040
DALE JOHN BOSETTI                                19233 BRODY                                                                                  ALLEN PARK       MI    48101‐3441
DALE JOHN DORNACKER                              13415 W WILBUR DRIVE                                                                         NEW BERLIN       WI    53151‐5353
DALE JUNKIN                                      205 ATHABASCA ST                   OSHAWA ON                               L1H 7J2 CANADA
DALE K BOERIO                                    PO BOX 542                                                                                   CANFIELD         OH    44406
DALE K BOUGHNER & JUDITH A BOUGHNER JT TEN       8735 W SAPPHIRE AVENUE                                                                       LAKE CITY        MI    49651‐8637

DALE K COLE                                      426 OAK LANE                                                                                 YALE             MI    48097‐3336
DALE K JAMES                                     9228 FREDERICKSBURG RD                                                                       FREDERICKSBURG   OH    44627‐9526
DALE K JOHNSTON                                  14615 OAKWOOD RD                                                                             MINNETONKA       MN    55345‐2322
DALE K JUNE                                      141 DAVIS LAKE RD                                                                            LAPEER           MI    48446‐1468
DALE K LAMAY                                     3112 RAYWOOD                                                                                 FLINT            MI    48504‐1819
DALE K LEDGER                                    PO BOX 31                                                                                    GAASTRA          MI    49927‐0031
DALE K WILDE                                     5457 N TERRA DR                                                                              MILTON           WI    53563‐9451
DALE KLEMBECKI TR DALE KLEMBECKI TRUST UA        829 SYLVIA STREET NW                                                                         GRAND RAPIDS     MI    49504‐2844
01/09/06
DALE L AUSTIN                                    4105 SOUTH STATE RD                                                                          DURAND           MI    48429‐9121
DALE L BALDAUF                                   44 SHARA PL                                                                                  PITTSFORD        NY    14534‐2673
DALE L BARATH & CONSTANCE J BARATH JT TEN        14472 SAVANNAH CT                                                                            STRONGSVILLE     OH    44136‐8182
DALE L BEACH                                     PO BOX 1416                                                                                  ELYRIA           OH    44036‐1416
DALE L BENJAMIN                                  4906 LOOKOUT LN/PO BOX 472                                                                   AURORA           IN    47001‐0472
DALE L BITELY                                    134 SNOWDEN LANE                                                                             BLUE EYE         MO    65611‐5624
DALE L CADDICK                                   631 JOHNSON DR                                                                               LAKE ORION       MI    48362‐1653
DALE L CHRISTENSEN                               6346 WEST MAPLE AVE                                                                          SWARTZ CREEK     MI    48473‐8230
DALE L COLLIVER                                  3337 SPRUCE ST                                                                               COLUMBUS         IN    47203‐1667
DALE L DIEHL                                     2267 DOWN PATRICK                                                                            DAVISON          MI    48423‐9511
DALE L FLATER                                    5900 N CR 375 E                                                                              PITTSBORO        IN    46167‐9342
DALE L FLESHER                                   130 LAKEWAY DR                                                                               OXFORD           MS    38655‐9666
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DALE L FOLKINS & SARA E FOLKINS JT TEN             8790 RADFORD LN                                                                                 SUWANEE          GA   30024‐6200
DALE L FOX & FAYE J FOX JT TEN                     4752 WALTAN RD                                                                                  VASSAR           MI   48768‐8904
DALE L GILLETTE                                    1205 SW PACIFIC DR                                                                              LEES SUMMIT      MO   64081‐3227
DALE L GREEN                                       1309 FAIRWAY CT                                                                                 MIAMISBURG       OH   45342‐3319
DALE L HAMILTON                                    1815 RANDOLPH ROAD                                                                              JANESVILLE       WI   53545‐0925
DALE L HENDERSON                                   388 PLEASANT HILL PLACE                                                                         BLUFF CITY       TN   37618‐4034
DALE L HISKE                                       4455 ROOSEVELT                                                                                  DEARBORN HEIGHTS MI   48125‐2534

DALE L HOSTETLER                                   5454 CORAL RIDGE DR                                                                             GRAND BLANC     MI    48439‐9526
DALE L HURSH                                       7786 GAYLE DRIVE                                                                                FRANKLIN        OH    45005‐3869
DALE L JACKSON                                     512 VALLEY HILL RD                                                                              STOCKBRIDGE     GA    30281‐2433
DALE L JASPER & JOAN R JASPER JT TEN               6123 NILES RD                                                                                   ST JOSEPH       MI    49085‐9681
DALE L JONES & JUDITH M JONES JT TEN               6020 BEAVER DAM LN                                                                              CHARLOTTE       NC    28227‐5214
DALE L JORAE                                       1107 S OAKLAND ST                                                                               SAINT JOHNS     MI    48879‐2307
DALE L JUHL                                        16129 HILLSIDE RD                                                                               SPAULDING       MI    49886
DALE L LEY & TREVA E LEY JT TEN                    44 ROUNDSTONE TERR                                                                              FAIRFIELDGLD    TN    38558‐2882
                                                                                                                                                   CROSS
DALE L LISTER                                      8482 S BRENNAN                                                                                  ST CHARLES      MI    48655‐9740
DALE L LOMASON                                     329 N FORCE RD                                                                                  ATTICA          MI    48412‐9741
DALE L MARTELL & BEVERLY K MARTELL JT TEN          8 RYAN LN                                                                                       WEAVERVILLE     NC    28787‐9022
DALE L MATTISON                                    4209 MOUNT READ BLVD                                                                            ROCHESTER       NY    14616‐2953
DALE L MAURER                                      11 MAPLE CT                                                                                     CHELSEA         MI    48118‐9419
DALE L MAYES                                       163 COWARD RD                                                                                   AIKEN           SC    29803‐9009
DALE L MC CLEERY                                   3811 MAPLELEAF RD                                                                               WATERFORD       MI    48328‐4056
DALE L MUSKE                                       9284 65TH ST SE                                                                                 LAMOURE         ND    58431‐9647
DALE L NEWMAN                                      139 HOWARD ST                                                                                   LARKVILLE       PA    18704‐1415
DALE L RAMSEY                                      4806 E 775 S                                                                                    PERU            IN    46970‐7896
DALE L REECE                                       3520 ALEXANDER CIRCLE                                                                           CUMMING         GA    30041‐8220
DALE L REICHERT                                    86 LAKESHORE DR                                                                                 EMMETSBURG      IA    50536‐1424
DALE L SHRADER                                     2312 S HILLWOOD DR                                                                              MOBILE          AL    36605‐3345
DALE L SMITH                                       132 BRADSTREET RD                                                                               CENTERVILLE     OH    45459‐4551
DALE L SPICKLER                                    20005 SW WRIGHT ST                                                                              BEAVERTON       OR    97007‐3780
DALE L TRIBFELNER & DONNA J TRIBFELNER & DALE L    124 E WALNUT ST                                                                                 ST CHARLES      MI    48655‐1312
TRIBFELNER JR JT TEN
DALE L TRIBFELNER & DONNA J TRIBFELNER & SUSAN K   124 E WALNUT ST                                                                                 ST CHARLES      MI    48655‐1312
WALKER JT TEN
DALE L VANPATTEN                                   6632 REDHAWK AV                                                                                 KALAMAZOO       MI    49048‐6116
DALE L WAGNER                                      502 FULTON LANE                                                                                 MIDDLETOWN      OH    45044‐5023
DALE L WALKER                                      8708 IRISH RIDGE RD                                                                             CASSVILLE       WI    53806‐9616
DALE L WIBERT                                      2271 DREHER ISLAND RD                                                                           PROSPERITY      SC    29127‐9082
DALE L WOLFORD                                     1904 N OHIO ST                                                                                  KOKOMO          IN    46901‐2524
DALE L ZABEL                                       9221 S SCOTT CABIN RD                                                                           WARREN          IN    46792‐9453
DALE LEROY GAYLOR                                  210 SOUTHLAND STA DR #155                                                                       WARNER ROBINS   GA    31088
DALE LOHR MITCHELL                                 893 S MAIN ST                         PMB 391                                                   ENGLEWOOD       OH    45322
DALE LOYD                                          1143 MELODY LN                                                                                  ROANOKE         TX    76262‐9336
DALE M AMUNDSON                                    10706 S SMYTHE SCHOOL ROAD                                                                      BELOIT          WI    53511‐9666
DALE M BEERS                                       1222 S WASHBURN RD                                                                              DAVISON         MI    48423‐9155
DALE M BURGESS                                     9405A 7TH ST N                                                                                  LAUREL          MD    20723
DALE M CHELLEVOLD                                  4048 STATE RD 23                                                                                DODGEVILLE      WI    53533‐8907
DALE M COHOON                                      11240 WEST BALDWIN ROAD                                                                         GAINES          MI    48436‐9755
DALE M CONE                                        11134 W WISCONSIN AVE                                                                           YOUNGTOWN       AZ    85363‐1029
DALE M DIEDRICK                                    351 NAPLES DRIVE                                                                                ELYRIA          OH    44035‐1524
DALE M DOSS                                        3034 PARTRIDGE                                                                                  WIXOM           MI    48393‐1552
DALE M ELEK                                        12641 DURKEE RD                                                                                 GRAFTON         OH    44044‐9120
DALE M FEENEY                                      2801 BARBARA DRIVE                                                                              HIGH RIDGE      MO    63049
DALE M HALDA TR DALE M HALDA FAMILY TRUST UA       1044 ROMANUS DR                                                                                 VANDALIA        OH    45377‐1144
04/26/05
DALE M LARSON & MARION A LARSON TR DALE M          15401 W ENCANTADA DR                                                                            SURPRISE        AZ    85374‐5479
LARSON TRUST UA 04/18/95
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DALE M LARSON & MARION A LARSON TR MARION A    15401 W ENCANTADA DR                                                                           SURPRISE       AZ    85374‐5479
LARSON TRUST UA 04/18/95
DALE M LOHONE                                  3840 E SNAVELY PL                                                                              KINGMAN        AZ    86409‐0802
DALE M MC KENZIE                               115 FREDERICK RD                                                                               TONAWANDA      NY    14150‐4216
DALE M MCKIM CUST MICHAEL STOTTLER UGMA NY     2119 WILLOW ST                                                                                 WANTAGH        NY    11793‐4220

DALE M MCLAUGHLIN                              495 FLAGSTONE CT                     OSHAWA ON                               L1K 2Z7 CANADA
DALE M PALMER                                  5095 KENDALL DR                                                                                BURTON         MI    48509‐1907
DALE M RADFORD                                 801 MARQUETTE ST                                                                               FLINT          MI    48504‐7715
DALE M RENEAU                                  6166 E BOSTON ST                                                                               WICHITA        KS    67218‐3622
DALE M TAFLER                                  2121 SHORE PKWY                      5D                                                        BROOKLYN       NY    11214‐7229
DALE M WALTER                                  600 N ST RD                                                                                    OWOSSO         MI    48867‐1935
DALE M WHEELER                                 31025 BIRCHWOOD                                                                                WESTLAND       MI    48186‐5082
DALE M WINGER                                  2969 GABRIEL DR                                                                                COMMERCE       MI    48382‐4491
                                                                                                                                              TOWNSHIP
DALE M WORMSTADT                               12777 BLACK FOREST ROAD                                                                        RAPID CITY     SD    57702‐6045
DALE MCKEE                                     1839 ELLIOTT RD                                                                                CROWN CITY     OH    45623‐9336
DALE MILLER                                    4054 HERNER COUNTY LINE RD                                                                     SOUTHINGTON    OH    44470‐9551
DALE MITCHELL                                  415 S SYCAMORE                       LOT 7 BOX 128                                             GASTON         IN    47342‐9791
DALE N BIGGER                                  1125 BLOOR                                                                                     FLINT          MI    48507‐4817
DALE N HONOLD                                  4157 S BADOUR                                                                                  MERRILL        MI    48637‐9311
DALE N KNOTTS                                  3024 S GRANT STREET                                                                            MUNCIE         IN    47302‐5367
DALE NICHOLS ROBERTSON                         5036 55B ST                          DELTA BC                                V4K 3B9 CANADA
DALE O CARSON                                  1895 E SUSAN ST                                                                                CHINO VALLEY   AZ    86323‐6073
DALE O HARGRAVES                               107 W ARDMORE                                                                                  PHOENIX        AZ    85041‐8410
DALE O KOWITZ                                  2580 W BARNES RD                                                                               MILLINGTON     MI    48746‐9024
DALE O PALMER                                  1316 ANTHONY CT                                                                                ADRIAN         MI    49221‐3106
DALE O WAGAR                                   5660 E M21 R 6                                                                                 ST JOHNS       MI    48879‐9010
DALE P BEACH                                   RT 3 BOX 190                                                                                   DEKALB         MS    39328‐9531
DALE P LATTY                                   2935 REPPUHN DR                                                                                SAGINAW        MI    48603‐3179
DALE P MASON                                   505 WALBRIDGE AVENUE                                                                           TOLEDO         OH    43609‐2846
DALE P MCCURLEY CUST REBECCA G MCCURLEY UGMA   PO BOX 868                                                                                     MIDLOTHIAN     TX    76065‐0868
TX
DALE P MURRAY                                  23 GARDNER ST                                                                                  SALISBURY      MA    01952‐1919
DALE P VISH & CEAL ADAMS VISH JT TEN           2922 MEADOWVIEW CIR                                                                            LOUISVILLE     KY    40220‐1484
DALE P WIEDEMANN & PAULA D WIEDEMANN JT TEN    RT 1 BURDICK RD                                                                                FRIENDSHIP     NY    14739‐9801

DALE PATRICK ORNAT                             29 MICHAEL ANTHONY LN                                                                          DEPEW          NY    14043‐4921
DALE PITTARD                                   205 TRANQUIL DRIVE                                                                             OXFORD         NC    27565
DALE R BAUER JR                                3088 SETTING SUN BLVD                                                                          SAGINAW        MI    48603‐5214
DALE R BEAN                                    1552 DIAMOND BLVD                                                                              VALPARAISO     IN    46385‐2880
DALE R BEBB                                    1010 HARIDING RD                                                                               ESSEXVILLE     MI    48732‐1754
DALE R BENSINGER                               955 BOWERS RD                                                                                  MANSFIELD      OH    44903‐8657
DALE R BIRCH                                   2199 SULLIVAN                                                                                  OXFORD         MI    48371‐3445
DALE R BROWN                                   2070 LYCAN DRIVE                                                                               YORK           PA    17404‐4216
DALE R BROWN & JONI M BROWN JT TEN             2070 LYCAN DRIVE                                                                               YORK           PA    17404‐4216
DALE R BUCKLES & BETTY ANN BUCKLES JT TEN      8625 BERKLEY DR FL                                                                             HUDSON         FL    34667‐6943
DALE R CALLAWAY                                7763 KING RD                                                                                   RAVENNA        OH    44266‐9129
DALE R CARSON                                  18 MORRIS RD                                                                                   LEICESTER      NY    14481
DALE R CHAPMAN & CATHERINE A CHAPMAN JT TEN    598 N 17TH ST                                                                                  SAN JOSE       CA    95112‐1734

DALE R CHIN & JOY O CHIN JT TEN                95‐707 KAULULENA ST                                                                            MILILANI       HI    96789‐2948
DALE R COOPER                                  797 NAVAHOE                                                                                    DETROIT        MI    48215‐2940
DALE R DANCY                                   1436 ROE HUNT RD                                                                               LAUREL SPGS    NC    28644‐8657
DALE R DELLOSSO                                PO BOX 468                                                                                     EUREKA         CA    95502‐0468
DALE R EISERMAN & JERI E EISERMAN JT TEN       2326 NEWPORT AVE                                                                               CARDIFF        CA    92007‐2026
DALE R GALBRAITH                               4110 DELESPINE RD                                                                              COCOA          FL    32927‐8620
DALE R GILBERTSON                              10755 LINCOLN                                                                                  HUNTINGTON     MI    48070‐1532
                                                                                                                                              WOODS
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DALE R GILBERTSON & BARBARA W GILBERTSON JT TEN 10755 LINCOLN                                                                                      HUNTINGTON        MI    48070‐1532
                                                                                                                                                   WOODS
DALE R GILMER                                     10915 E GOODALL RD                     UNIT 35                                                   DURAND            MI    48429‐9774
DALE R GILMORE                                    5975 RILEY RD                                                                                    DEFORD            MI    48729‐9615
DALE R GOUBEAUX                                   5580 ENON XENIA ROAD                                                                             FAIRBORN          OH    45324‐9615
DALE R GRABOW                                     9363 WEST DELPHI PIKE                                                                            CONVERSE          IN    46919‐9592
DALE R HOFFMAN                                    4405 MAUS RD                                                                                     FULTS             IL    62244
DALE R HUGHES                                     PO BOX 1621                                                                                      CICERO            NY    13039
DALE R HUGHES & BARBARA L HUGHES JT TEN           PO BOX 1621                                                                                      CICERO            NY    13039
DALE R IMS                                        926 LITTLE POND WAY                                                                              WEBSTER           NY    14580‐8920
DALE R JENRICH                                    3169 S 24TH ST                                                                                   MILWAUKEE         WI    53215‐4412
DALE R KITTS                                      8620 RIVER ROAD                                                                                  FREELAND          MI    48623‐8716
DALE R KRAMER                                     9271 STATE RD                                                                                    PORTLAND          MI    48875‐9761
DALE R LEVY                                       2406 MIDWOOD                                                                                     LANSING           MI    48911‐3416
DALE R LUND                                       130 ROUGE RD                                                                                     ROCHESTER         NY    14623‐4141
DALE R MANSSUR                                    455 WINDY BLF                                                                                    FLUSHING          MI    48433‐2613
DALE R MAY                                        1706 DONORA ST                                                                                   LANSING           MI    48910‐1700
DALE R MC DOWELL                                  6270 PONTIAC LAKE RD                                                                             WATERFORD         MI    48327‐1865
DALE R MCMINN                                     5930 STODDARD HAYES RD                                                                           FARMDALE          OH    44417‐9610
DALE R MENDENHALL TOD DONNA L MENDENHALL          600 ZION ROAD                                                                                    COOKVILLE         TN    38501‐9286
SUBJECT TO STA TOD RULES
DALE R METCALF                                    3400 S IRONWOOD DR                     LOT 17                                                    APACHE JCT       AZ     85220‐7104
DALE R MILLIGAN II                                33250 FREEDOM ROAD APT 12                                                                        FARMINGTON HILLS MI     48336‐4676

DALE R MROSKO                                     2725 KEITH RD                                                                                    BRETHREN          MI    49619‐9773
DALE R NEUMANN                                    5129 GLENWOOD DR                                                                                 HARRISON          MI    48625‐9659
DALE R OSBAHR                                     46901 BRAIR TOWNE                                                                                CHESTERFIELD      MI    48051‐3201
DALE R PERSELLO                                   2900 SLATER RD                                                                                   SALEM             OH    44460‐9588
DALE R PITTS                                      105 JACEE CIR                                                                                    CANTON            GA    30115‐8613
DALE R REICHER & SHIRLEY J REICHER JT TEN         54274 BARTRAM                                                                                    MACOMB            MI    48042‐2203
DALE R RIZZO                                      86 CRESTFIELD DR                                                                                 ROCHESTER         NY    14617‐1904
DALE R SCHILDKNECHT                               17751 PANAMA CITY BEACH PKWY           UNIT 5F                                                   P C BEACH         FL    32413‐2028
DALE R SCHLESSMAN CUST ALEX D SCHLESSMAN UTMA     8519 CAMP RD                                                                                     HURON             OH    44839‐9389
OH
DALE R SCHROEDER                                  680 OWN ROAD                                                                                     ARNOLD          MO      63010‐3163
DALE R SCHUETTE                                   7235 A FRANKLIN STREET                                                                           FOREST PARK     IL      60130‐1103
DALE R SIGMAN                                     14 GOULD STREET                                                                                  NORTH ATTLEBORO MA      02760‐1602

DALE R SMITH                                     4139 W COUNTY RAOD 900 S                                                                          STILESVILLE       IN    46180‐9719
DALE R STELMACH                                  557 BERRIDGE CIR                                                                                  LAKE ORION        MI    48360‐1239
DALE R STREHLE PER REP EST ROBERT ARTHUR STREHLE 4146 MCCANDLISH                                                                                   GRAND BLANC       MI    48439

DALE R TRASK                                      3827 EUNICE AVENUE                                                                               WILMINGTON        DE    19808‐4614
DALE R WEST                                       660 E EDGWOOD DR                                                                                 DANVILLE          IN    46122‐8446
DALE R WHEELER                                    2430 RIVERSIDE DR                      APT 3                                                     TRENTON           MI    48183‐2734
DALE R WILLIAMSON                                 324 OLD NATIONAL PIKE                                                                            BROWNSVILLE       PA    15417‐9335
DALE R WOOD                                       2300 GRAFF ROAD                                                                                  BELDING           MI    48809‐9541
DALE RICHARD HAFER                                22848 POPLAR BEACH                                                                               ST CLAIR SHORES   MI    48081‐1320
DALE RICHARD SCHUMACHER                           BOX 293                                                                                          METAMORA          IL    61548‐0293
DALE ROBERT MILLER                                BOX 10                                                                                           KETTLE FALLS      WA    99141‐0010
DALE ROBERT REICHER                               54274 BARTRAM                                                                                    MACOMB            MI    48042‐2203
DALE ROBERT STELTER                               9808 SOLERA COVE POINTE 101                                                                      FORT MYERS        FL    33908
DALE ROBERT URBANEK                               42706 OTIS LN                                                                                    SOUTH RIDING      VA    20152‐3963
DALE ROHRER & NANCY ROHRER JT TEN                 84 FERGUSON VALLEY RD                                                                            MOUNT UNION       PA    17066‐9120
DALE ROSE & DOLORES ROSE TR DALE & DOLORES ROSE   74 ENDICOTT                                                                                      HOWELL            MI    48843‐8602
TRUST UA 11/20/02
DALE ROSS SURINCK                                 8467 BENT CREEK WAY                                                                              NAPLES            FL    34114‐9423
DALE S BITTERMAN                                  3275 CHESANING RD RT#3                                                                           CHESANING         MI    48616‐9727
DALE S BOGUS                                      7911 HEATHER ROAD                                                                                ELKINS PARK       PA    19027‐1207
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DALE S CLARK                                   5799 BEUNA PARKWAY                                                                              HASLETT           MI    48840‐8206
DALE S ELLIOTT                                 999 E KINNEY RD                                                                                 MUNGER            MI    48747‐9772
DALE S HERSCH                                  192 E JOHNSTONE RD                                                                              OAKLEY            MI    48649‐9607
DALE S LOOMIS                                  188 CASSANDRA DR                                                                                NILES             OH    44446‐2035
DALE S PETO                                    4183 COLUMBIA ROAD APT 223                                                                      NORTH OLMSTED     OH    44070‐2008
DALE S SCHULTZ                                 PO BOX 1273                                                                                     JANESVILLE        WI    53547‐1273
DALE S URCHECK                                 26816 FORD RD                                                                                   DEARBORN HGTS     MI    48127‐2855
DALE S WILLETT                                 9003 PRESTON RUN                                                                                GOODLETTSVLLE     TN    37072‐1943
DALE SAKCRISKA                                 1835 S LINVILLE                                                                                 WESTLAND          MI    48186‐4262
DALE SALMIN                                    1135 S KINGSLEY DR                                                                              LOS ANGELES       CA    90006‐2419
DALE SCHMITZ                                   3410 HOGBACK RD                                                                                 FOWLERVILLE       MI    48836‐8543
DALE SIKORSKI                                  3768 S 91ST ST                                                                                  MILWAUKEE         WI    53228‐1608
DALE SLAGLE & LORRAINE SLAGLE JT TEN           6840 SWAN CREEK RD                                                                              SAGINAW           MI    48609‐7075
DALE SMITH                                     1024 SMITH RD                                                                                   PHELPS            NY    14532‐9310
DALE STOTHERS                                  1025 DONALD AVE                                                                                 ROYAL OAK         MI    48073‐2087
DALE SWINDLE                                   PO BOX 325                                                                                      BRANSON           MO    65615‐0325
DALE T ADAMCZYK                                4661 EAST DONATO DR                                                                             GILBERT           AZ    85298
DALE T ANDERSON                                132 NEW ST                                                                                      STATEN ISLAND     NY    10302‐1433
DALE T FLUENT                                  921 FLORIDA AVE                                                                                 MCDONALD          OH    44437‐1611
DALE T FREEBORG & DORA B FREEBORG JT TEN       10615 GLENN AVE                                                                                 ST HELEN          MI    48656‐9608
DALE T KUEHN & MRS ARDELLE G KUEHN JT TEN      9410 WEST RIVER RD                                                                              BROOKLYN PARK     MN    55444‐1120
DALE T LEHMANN CUST ASHLEY JAN DESHETLER UTMA 414 DOWNING DRIVE                                                                                CHARDON           OH    44024‐1028
OH
DALE T LEHMANN CUST CASSANDRA MAY GRUBER       113 S RIDGE E                                                                                   GENEVA            OH    44041‐9301
UTMA OH
DALE T LEHMANN CUST HAYLEY P DESHETLER UTMA OH 414 DOWNING DR                                                                                  CHARDON           OH    44024‐1028

DALE T LEHMANN CUST JACOB ALAN GRUBER UTMA OH 113 S RIDGE E                                                                                    GENEVA            OH    44041‐9301

DALE T LEHMANN CUST RACHEL JO GRUBER UTMA OH   113 S RIDGE E                                                                                   GENEVA            OH    44041‐9301

DALE T LUND                                    2008 N LEXINGTON DR R                                                                           JANESVILLE        WI    53545‐0536
DALE T MARSHALL CUST HEATHER L MARSHALL UGMA   861 NORTH OXFORD                                                                                GROSSE POINTE     MI    48236‐1860
MI                                                                                                                                             WDS
DALE T PETERSON                                4130 CLEMATIS                                                                                   SAGINAW           MI    48603‐1101
DALE T RAPSON                                  2050 E FOX DR                                                                                   COLUMBIA CITY     IN    46725‐8932
DALE T TUCKER                                  2110 HERON DR                                                                                   LAKE WALES        FL    33859
DALE T WADE                                    RR 1 BOX 107                                                                                    THORN HILL        TN    37881‐9601
DALE T ZWISLER                                 6075 SHADY OAK STREET                                                                           HUBER HEIGHTS     OH    45424‐4030
DALE TERRYBERRY                                05795 BARNARD RD                                                                                CHARLEVOIX        MI    49720‐9758
DALE THARPE                                    1511 HIGHLANDS DR                                                                               FRANKFORT         KY    40601
DALE THOMPSON                                  2527 REDWOOD DRIVE                                                                              FLUSHING          MI    48433‐2443
DALE THOMPSON                                  2015 LONGHORN                                                                                   HOUSTON           TX    77080‐6310
DALE UNITED METHODIST CHURCH                   PO BOX 292                                                                                      DALE              IN    47523‐0292
DALE V BUZZARD & RUTH E BUZZARD JT TEN         PO BOX 578                                                                                      LINWOOD           MI    48634‐0578
DALE V CLARK                                   706 SPARKS AVE                                                                                  AUSTIN            TX    78705‐3103
DALE V HUBER                                   1438 EDGEWATER DR                                                                               FENTON            MI    48430‐1112
DALE V KIBLIN                                  38 ALBERT AVE                                                                                   BUFFALO           NY    14207‐2120
DALE V LEATCH & MARY A LEATCH JT TEN           4405 14TH AVE EAST                                                                              BRADENTON         FL    34208‐5811
DALE V ROOT                                    66 LARRY LN                                                                                     CORTLAND          OH    44410‐9325
DALE V SERGENT & BONNIE L SERGENT JT TEN       8785 E CRONK RD                                                                                 CORUNNA           MI    48817‐9736
DALE V SHERMAN                                 5441 SUNNYCREST                                                                                 WEST BLOOMFIELD   MI    48323‐3862

DALE VAN SICKLE                                1330 WETTERS RD                                                                                 KAWKAWLIN         MI    48631‐9428
DALE VERNON KRAMER CUST BRINLEE KRAMER UGMA    7720 SW 174TH PL                                                                                BEAVERTON         OR    97007‐6768
IL
DALE VERNON KRAMER CUST JANA KRAMER UGMA IL    5708 PILLSBURY AVE                                                                              MINNEAPOLIS       MN    55419‐1811
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DALE W & LINDA S STOL TR UA 05/22/02 THE DALE W   2777 BOLINGBROKE                                                                               TROY              MI    48084‐1007
STOL &
DALE W ANDERSON                                   48710 N GROSSE POINT                                                                           HANCOCK           MI    49930
DALE W BALLARD & LESLIE J BALLARD JT TEN          378 LEETONIA AVE                                                                               TROY              MI    48098‐5514
DALE W BOWMAN & ELIZABETH E BOWMAN JT TEN         1212 MARTIN AVE                                                                                ALBION            NE    68620‐1155

DALE W BROWN                                      22330 CEDAR                                                                                    SAINT CLAIR SHORES MI   48081‐2066

DALE W BROWN                                      6065 SPRINGDALE BLVD                                                                           GRAND BLANC       MI    48439‐8521
DALE W BRUCKNER CUST JUSTIN BRUCKNER UTMA IL      2 N 730 ANDERSEN CT                                                                            WEST CHICAGO      IL    60185‐1581

DALE W CHAMBERLIN                                 1827 KINGSTON DR                                                                               PINCKNEY          MI    48169‐8548
DALE W CLARK                                      912 TIMBERLAND TRAIL                                                                           ALTAMONTE         FL    32714‐1222
                                                                                                                                                 SPRINGS
DALE W COOK                                       930 N MAIN                                                                                     NASHVILLE         MI    49073‐9786
DALE W DEWITT                                     836 ASH ST                                                                                     SAGINAW           MI    48602‐5729
DALE W DIETZ                                      942 CR 2320                                                                                    CLARKSVILLE       AR    72830‐6045
DALE W DONLEY                                     6145 BROFIELD DR                                                                               HAMILTON          OH    45011‐5182
DALE W DUNLAP                                     23373 M 60                                                                                     MENDON            MI    49072‐9501
DALE W GROVERT                                    629 ANHINGA RD                                                                                 WINTER SPRINGS    FL    32708‐2382
DALE W HEARTH                                     17221 WESTGROVE DRIVE                                                                          MACOMB            MI    48042‐3530
DALE W HENDRICKSON                                1407 HIDDA OAKS CIR                                                                            CORINTH           TX    76205
DALE W HERRINGTON                                 7672 N BAREKMAN CT                                                                             MONTICELLO        IN    47960‐7547
DALE W JENSEN                                     9404 ARBOR LN                                                                                  GOODRICH          MI    48438‐8714
DALE W JOHNSON & DEBORAH J JOHNSON JT TEN         1672 CONNOR DR                                                                                 LIBRARY           PA    15129‐9035
DALE W KARL                                       4512 LARAMIE ST                                                                                CHEYENNE          WY    82001‐2138
DALE W KLEMBECKI                                  829 SYLVIA ST NW                                                                               GRAND RAPIDS      MI    49504‐2844
DALE W LANNERS                                    4431 S AIRPORT RD                                                                              BRIDGEPORT        MI    48722‐9524
DALE W LAWTON                                     41870 U S HIGHWAY 63                                                                           CABLE             WI    54821‐4874
DALE W LEMMON                                     801 S MCCLELLAND                                                                               W FRANKFORT       IL    62896‐2835
DALE W LOOMIS                                     3333 METAMORE ROAD                                                                             METAMORA          MI    48455‐9303
DALE W MCALISTER                                  804 S 2ND ST                                                                                   ODESSA            MO    64076‐1368
DALE W MIEKIS                                     2017 MARYLAND                                                                                  NORTHWOOD         OH    43619‐1213
DALE W MILLER                                     6302 GUNNELL RD                                                                                MILLINGTON        MI    48746‐9767
DALE W MOLESWORTH                                 PO BOX 415                                                                                     SWARTZ CREEK      MI    48473‐0415
DALE W MUSOLF                                     7800 CHASE LAKE ROAD                                                                           FOWLERVILLE       MI    48836‐9344
DALE W MUSOLF & BEVERLY W MUSOLF JT TEN           7800 CHASE LAKE ROAD                                                                           FOWLERVILLE       MI    48836‐9344
DALE W RADKA                                      1067 S 9TH ST                                                                                  AU GRES           MI    48703‐9560
DALE W ROBBINS                                    1528 VERMONT ST                                                                                LANSING           MI    48906‐4635
DALE W ROGERS                                     821 FAULKNER PL                                                                                RALEIGH           NC    27609‐5943
DALE W SAEMAN & LINDA J SAEMAN JT TEN             6326 HERITAGE POINT SOUTH                                                                      LOCKPORT          NY    14094‐6366
DALE W SMITH                                      11201 N VIRGINIA AVE                                                                           ALEXANDRIA        IN    46001‐8164
DALE W SOBER                                      6250 S MORRICE RD                                                                              PERRY             MI    48872‐9305
DALE W STICKLEY                                   553 EAGLE DR                                                                                   WINCHESTER        VA    22601‐5101
DALE W STRATTON                                   15336 WEXFORD LN                                                                               ORLAND PARK       IL    60462‐6710
DALE W TELLEFSEN & CYNTHIA S TELLEFSEN JT TEN     PO BOX 28                            5 OLD RD                                                  ELIOT             ME    03903‐1327

DALE W VIEL                                       312 NORTH HILL ST                                                                              HARRISON          OH    45030‐1217
DALE W WRIGHT                                     54 NORTH ST                                                                                    BARGERSVILLE      IN    46106‐8745
DALE W WYKES                                      HC 1 BOX 359                                                                                   ELGIN             AZ    85611
DALE W ZATTAU                                     1694 AVALON AVE                                                                                LK HAVASU CTY     AZ    86404‐1129
DALE WAYNE CROCKETT                               855 GREENS RD #242                                                                             HOUSTON           TX    77060‐1440
DALE WILCOX & MRS GERTRUDE WILCOX JT TEN          #216                                 21239 GARY DR                                             CASTRO VALLEY     CA    94546‐6147
DALE WILLIAM KING                                 1250 PEACH ST D                                                                                SAN LUIS OBISPO   CA    93401‐2872
DALE WILLIAM RENKE                                3725 CULLEN CT                                                                                 NEWBURY PARK      CA    91320‐5334
DALE WINSTON BARNHART & CINDY ANN BARNHART JT     141 WOODCREEK CT                                                                               COMMERCE          MI    48390‐1272
TEN                                                                                                                                              TOWNSHIP
DALENE J SMITH                                    14300 N SAN PEDRO RIVER RD                                                                     BENSON            AZ    85602‐8401
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DALIA VIVAS STERN TR UA 03/22/89 U‐W OF LESTER      865 CENTRAL AVE APT K308                                                                         NEEDHAM          MA    02492‐1386
MARVIN STERN TRUST
DALICE T CORDY                                      144 POST ROAD                                                                                    RISING SUN       MD    21911‐2420
DALILA SOTO                                         34 EAST 16TH ST                                                                                  BAYONNE          NJ    07002‐4422
DALINDA A HOPKINS                                   25 CHRISTINA WOODS CT                                                                            NEWARK           DE    19702‐2724
DALINE B AUGERI                                     300 BRIDLE PATH RD                                                                               NORTH AUGUSTA    SC    29860
DALIP SINGH SETHI                                   8200 AUTO DR                                                                                     RIVERSIDE        CA    92504
DALLAS A LOGAN                                      11645 WASHBORN                                                                                   DETROIT          MI    48204‐1947
DALLAS A MCMANES                                    7139 SR 56 E                                                                                     CIRCLEVILLE      OH    43113‐9412
DALLAS ANN LAGERQUIST                               4 OLD STONEWAY                                                                                   BEDFORD          NH    03110‐4640
DALLAS B MULLINS                                    1217 NEW JASPER PAINTERSVLLE                                                                     XENIA            OH    45385
DALLAS BRANHAM                                      1735 CIMMARON LN                                                                                 DEFIANCE         OH    43512‐3676
DALLAS BUCKNER JR                                   4605 US 19 HWY                                                                                   MARS HILL        NC    28754‐7054
DALLAS C HAHN                                       8445 ILENE DR                                                                                    CLIO             MI    48420‐8552
DALLAS C SEABOLT                                    35 PATRICK MILL RD SW                                                                            WINDER           GA    30680‐3884
DALLAS C SHULTS JR                                  1600 JESSAMINE ROAD                                                                              LEXINGTON        SC    29073‐9103
DALLAS C WEBBER                                     7585 OLD POND ROAD                                                                               CLARKSTON        MI    48348‐4105
DALLAS D FOSTER                                     2734 WEST MAPLE ST                                                                               ANDERSON         IN    46013‐9766
DALLAS D HAYES                                      244 WEST 900 NORTH                     ALEXZANDRA                                                ALEXANDRIA       IN    46001
DALLAS D MCKONE                                     105 N CLARK ST                                                                                   CRESANDING       MI    48616‐1222
DALLAS D ROBINSON                                   2427 CLAYWARD DR                                                                                 BURTON           MI    48509‐1057
DALLAS DAY                                          310 VALLEY VIEW DR EAST                                                                          JORDAN           MN    55352‐1025
DALLAS E BAILEY                                     PO BOX 91                                                                                        RANDOLPH         OH    44265‐0091
DALLAS E LEWIS                                      1127 W 27TH ST                                                                                   INDEPENDENCE     MO    64052‐3221
DALLAS E MC DANIEL                                  1620 BAILEY LN                                                                                   TUSCUMBIA        AL    35674‐7513
DALLAS E SOUTHARD                                   5326 AVE C                                                                                       CORPUS CHRISTI   TX    78410‐4723
DALLAS G CANFIELD & LUANNE V CANFIELD JT TEN        3329 EAST 15O NORTH                                                                              ANDERSON         IN    46012

DALLAS G GRITTON                                    2819 SILVERWOOD LANE                                                                             GREENWOOD        IN    46143‐9296
DALLAS G MCLEAN                                     4128 13TH ST LOUTH                     JORDAN STATION ON                       L0R 1S0 CANADA
DALLAS I HESS                                       670 S CANFIELD‐NILES                                                                             YOUNGSTOWN       OH    44515‐4026
DALLAS J DUKES                                      724 W 60TH ST                                                                                    ANDERSON         IN    46013‐3322
DALLAS J MARKS & PATRICIA A MARKS JT TEN            559 VETO CIRCLE                                                                                  BELPRE           OH    45714‐8174
DALLAS K BANGHART                                   7127 NICHOLS RD                                                                                  SWARTZ CREEK     MI    48473‐8517
DALLAS L BERSACK TR BERSACK LIV TRUST UA 10/22/98   9604 ALTA VISTA TERR                                                                             BETHESDA         MD    20814‐5701

DALLAS L BIGELOW                                    490 TRACY ST                                                                                     MANSFIELD        OH    44903‐1056
DALLAS L CARTRIGHT                                  1918 FT BLOUNT FERRY                                                                             GAINESBORO       TN    38562‐6139
DALLAS L ESCUE                                      1805 CALICO RD                                                                                   MARION           IL    62959‐5933
DALLAS L HESTER                                     18319 ATLANTIC RD                                                                                NOBLESVILLE      IN    46060‐9461
DALLAS L HOUSE                                      31 NEW MELLE WOODS                                                                               WENTZVILLE       MO    63385‐6300
DALLAS L MILLS & CARROL A MILLS JT TEN              1049 FOXGLOVE LANE                                                                               DAVISON          MI    48423‐7905
DALLAS M ADKINS                                     6604 E GLADWIN RD                                                                                HARRISON         MI    48625‐9379
DALLAS M JOHNSON                                    507 W OLSON DR                                                                                   GRANTSBURG       WI    54840‐7803
DALLAS O PRINCE                                     1612 CASTLEBERG AVE                                                                              CHATTANOOGA      TN    37412
DALLAS P DEAN                                       6040 NEBRASKA AVE NW                                                                             WASHINGTON       DC    20015‐1108
DALLAS P POWERS                                     8721 N ST 48                                                                                     WAYNESVILLE      OH    45068
DALLAS R EICHMEIER                                  40711 E 212TH ST                                                                                 POLO             MO    64671‐8614
DALLAS R MC KINNEY                                  9770 E 64TH ST                                                                                   CHASE            MI    49623‐9786
DALLAS R ROBINSON                                   1891 COUNTY ROUTE 38                                                                             NORFOLK          NY    13667‐3240
DALLAS R SMITH III & AUDREY S SMITH JT TEN          2159 S MCKENZIE ST 304                                                                           FOLEY            AL    36535
DALLAS SPARKS & LORRAINE SPARKS JT TEN              9345 BRISTOL RD                                                                                  SWARTZ CREEK     MI    48473‐8559
DALLAS SPARKS & LORRAINE T SPARKS JT TEN            9345 BRISTOL RD                                                                                  SWARTZ CREEK     MI    48473‐8559
DALLAS T HARDING                                    6699 S COUNTY RD 350W                                                                            CLAYTON          IN    46118‐8918
DALLAS TOWNSEND                                     427‐25TH STREET                                                                                  DUNBAR           WV    25064‐1613
DALLAS U LAMASTUS                                   3916 GERALDINE                                                                                   ST ANN           MO    63074‐1937
DALLAS W HERBRUCK                                   910 OLD ERIN WAY                                                                                 LANSING          MI    48917‐4113
DALLAS W JACKSON                                    767 DAWNRIDGE LN                                                                                 TROUTVILLE       VA    24175‐6819
DALLAS W JACKSON & ILA K JACKSON JT TEN             150 LOVERS LANE                                                                                  WYTHEVILLE       VA    24382‐5100
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DALLAS W MCKEE                                   BOX 94                                                                                          SULPHUR SPRGS   IN    47388‐0094
DALLAS W MENZ                                    6386 N SWEDE RD                                                                                 RHODES          MI    48652‐9611
DALLAS W MONTGOMERY                              18610 BELMONT DR                                                                                CUTLER BAY      FL    33157‐6912
DALLEN M POSEY                                   319 CYPRESS GLEN DR                                                                             MOUNT JULIET    TN    37122‐3083
DALLIS CHANNEL                                   341 MARTIN LUTHER KING DR                                                                       MARKSVILLE      LA    71351‐2705
DALLIS L VANDYKE                                 1150 ROSEBERRY ROAD                                                                             CLIO            MI    48420‐1727
DALMAH H SAUNDERLIN                              55 QUINTON‐ALLOWAY RD                                                                           SALEM           NJ    08079‐9549
DALMAS R PHILPOTT                                2115 DILLMAN RD                                                                                 MARTINSVILLE    IN    46151‐9108
DALPHINE MCCURTIS                                6386 WARWICK ST                                                                                 DETROIT         MI    48228‐3937
DALROY M WARD & ARDITH J WARD JT TEN             144 POLK DRIVE S E                                                                              WINTER HAVEN    FL    33884‐1952
DALTON ANDERSON                                  BOX 921                               ESTON SK                                S0L 1A0 CANADA
DALTON BRIGGS DONALDSON                          BOX 51990                                                                                       MIDLAND         TX    79710
DALTON COLE PERRY                                1358 JP PERRY RD                                                                                NORMAN PARK     GA    31771
DALTON E SCOTT                                   19138 ELKTON ROAD                                                                               ATHENS          AL    35614‐6733
DALTON HILDRETH & AUDREY HILDRETH JT TEN         CADBURY APT 263                       2150 RT 38                                                CHERRY HILL     NJ    08002‐4302
DALTON J BROOKS JR                               3339 UPPER MOUNTAIN RD                                                                          SANBORN         NY    14132‐9105
DALTON KAUFMAN                                   719 OLD 122                                                                                     LEBANON         OH    45036‐8634
DALTON L BOYD JR                                 PO BOX 327                                                                                      MAYFIELD        KY    42066‐0327
DALTON L FLOWERS                                 G6355 N BELSAY RD                                                                               FLINT           MI    48506
DALTON M MOFFITT                                 28988 BARTON ST                                                                                 GARDEN CITY     MI    48135‐2706
DALTON R HENDERSON                               5307 VERA ST                                                                                    ZEPHYRHILLS     FL    33542‐3143
DALTON R JENKINS                                 18491 STANSBURY ST                                                                              DETROIT         MI    48235‐2527
DALTON VERNE BECKLEY                             G 5262 GEORGE ST                                                                                FLINT           MI    48505
DALTON W HIGGS                                   50 SHEPHERD LANE                                                                                MANITOU         KY    42436‐9788
DALVIN E BAEHLER                                 7016 TANGLEWOOD DRIVE                                                                           MUSTANG         OK    73064‐9544
DAM SITE INVESTORS‐CAROL KNABE TREASURER         W 2372 COUNTY RD D                                                                              NELSON          WI    54756‐8300
DAMARIS BERRIOS                                  301 WEYL ST                                                                                     ROCHESTER       NY    14621‐3619
DAMER WILLIAMS                                   PO BOX 2122                                                                                     HAMILTON        AL    35570‐2122
DAMIAN A MATTOS                                  17 LELE ST                                                                                      HILO            HI    96720‐2002
DAMIAN AGUILAR                                   9801 RAINIER CIR                                                                                HUNTINGTON      CA    92646
                                                                                                                                                 BEACH
DAMIAN B SMITH                                   14017 W 55TH TER                                                                                SHAWNEE         KS    66216‐4900
DAMIAN C TESLEVICH                               12094 WATERFORD DR                                                                              IRWIN           PA    15642‐6348
DAMIAN J KURCZEWSKI                              S4981 CLIFTON PKWY                                                                              HAMBURG         NY    14075‐5503
DAMIAN J KURCZEWSKI & DEBORAH A KURCZEWSKI JT    4981 CLIFTON PKWY                                                                               HAMBURG         NY    14075‐5503
TEN
DAMIAN J NASSIRI & CAMRAN NASSIRI JT TEN         3256 E CAMBRIDGE DR                                                                             HAYDEN LAKE     ID    83835‐7442
DAMIAN MANCUSO                                   15 BUSH POND RD                                                                                 NORFOLK         MA    02056‐1911
DAMIAN R GERKE                                   1800 14TH STREET NORTH                                                                          ST PETERSBURG   FL    33704
DAMIAN S HAMBLEY                                 WINDY CREST LN                                                                                  BOYERS          PA    16020
DAMIANOS BALANOS                                 13762 WINDEMERE ST                                                                              SOUTHGATE       MI    48195‐2427
DAMIEN MARCHIONE CUST DAMIEN NICHOLAS            920 24TH ST NE                                                                                  CANTON          OH    44714‐1906
MARCHIONE UGMAOH
DAMIEN MARCHIONE CUST FRANCESCO MARCHIONE        920‐24TH ST NE                                                                                  CANTON          OH    44714‐1906
UGMA OH
DAMION ROBERSON                                  1757 GREEN CANYON RD                                                                            FALLBROOK       CA    92028‐4331
DAMON A WILT                                     104 SHEMAN ST                                                                                   SABINA          OH    45169
DAMON D PANELS                                   6804 DUTCH HILL ROAD                                                                            FAYETTEVILLE    NY    13066‐1717
DAMON E ATKINSON                                 17 EL PERRO                                                                                     ST PETERS       MO    63376‐1126
DAMON E VOGLER & WILMA B VOGLER JT TEN           6730 DEER BLUFF DR                                                                              HUBER HGTS      OH    45424‐7033
DAMON E WISE                                     578 PARRY AVE                                                                                   MANSFIELD       OH    44905‐2144
DAMON ELMORE CUST NOAH LLOYD UTMA GA             4505 MEADOW AVE                                                                                 SAVANNAH        GA    31405
DAMON G DELORENZIS                               176 1/2 ST JOSEPH AVE                                                                           LONG BEACH      CA    90803‐3165
DAMON I C CRATE                                  812 THE QUEENSWAY                     TORONTO ON                              M8Z 1N5 CANADA
DAMON IAN LAPOINT & KATHERINE PATRICIA LAPOINT   19711 30TH AVE NE                                                                               SEATTLE         WA    98155‐1505
JT TEN
DAMON J GIRTY                                    162 OCALA DR                                                                                    ANTIOCH         TN    37013‐4146
DAMON J NEWMAN                                   5887 BARBANNA LANE                                                                              DAYTON          OH    45415‐2416
DAMON L NELSON                                   313 WILSHIRE DRIVE                                                                              EULESS          TX    76040
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DAMON L SHAHAN                                   2113 GEORGETOWN RD NW                                                                             CLEVELAND        TN    37311
DAMON M CHAPPELL                                 251 IVY CIR                                                                                       ELKIN            NC    28621‐3028
DAMON M KINCER                                   2602 FULLER AVE NE                                                                                GRAND RAPIDS     MI    49505‐3744
DAMON MICHAEL OSBOURN                            21 SEAGRAVE RD                                                                                    CAMBRIDGE        MA    02140‐1640
DAMON NELSON CUST KIX WILLIAM NELSON UNIF        BOX 391                               AVONLEA SASKATCHEWAN SK                   S0H 0B0 CANADA
TRANS MIN ACT WA
DAMON ROY DUHON                                  3945 STRAND DR                                                                                    BATON ROUGE      LA    70809‐2335
DAMOS E ATKINSON                                 415 EAST STEWART AVE                                                                              FLINT            MI    48505‐3421
DAN A ALTBACH                                    6901 N KNOX AVE                                                                                   LINCOLNWOOD      IL    60712
DAN A BILLMAN                                    PO BOX 567                                                                                        MARS             PA    16046‐0567
DAN A CLAUDEPIERRE CUST STEPHANIE M              720 BELLAIRE AVE                                                                                  DAYTON           OH    45420‐2308
CLAUDEPIERRE UGMA OH
DAN A FINDLAY                                    6798 W LOWE ROAD                                                                                  SAINT JOHNS      MI    48879‐8527
DAN A FOX & MRS ANNA MARY FOX TEN ENT            16469 PARK AVE EXT                                                                                MEADVILLE        PA    16335‐5371
DAN A GILBERT                                    1855 S SPARTAN ST                                                                                 GILBERT          AZ    85233
DAN A GILBERT & CAROL L GILBERT JT TEN           1855 S SPARTAN ST                                                                                 GILBERT          AZ    85233‐8903
DAN A MCCASSON                                   2084 ARTHUR AVE                                                                                   LAKEWOOD         OH    44107‐5741
DAN A NEWTON                                     2200 NW 2ND AVE                                                                                   WILTON MANORS    FL    33311‐3871
DAN A PAYSEUR & ANITA PAYSEUR JT TEN             3217 SOUTHRIDGE                                                                                   STOCKBRIDGE      GA    30281‐5668
DAN A SAUER                                      14053 WOODVIEW DR                                                                                 FENTON           MI    48430‐3312
DAN ARTHUR MC PARTLIN                            6312 STONEGATE WAY                                                                                LAS VEGAS        NV    89146‐3013
DAN B WRIGHT                                     3950 N COCHRAN                                                                                    CHARLOTTE        MI    48813‐9704
DAN BAKER CUST JOSHUA SHAWN ELLIOT UTMA MI       92266 OAKDALE                                                                                     LAINGSBURG       MI    48848

DAN BALDWIN                                      314 W WILLOW ST                                                                                   CHICAGO          IL    60614‐5717
DAN BECKWITH & LARA BECKWITHJT TEN COM           3163 BAYSHORE OAKS DR                                                                             TAMPA            FL    33611
DAN BUFFINGTON                                   4250 DUNAGAN RD                                                                                   GILLSVILLE       GA    30543
DAN C EVANS                                      6173 FLODDEN DR                                                                                   MEMPHIS          TN    38119‐7509
DAN C GATTO & MRS PEGGY A GATTO JT TEN           140 WELLINGTON LANE                                                                               ALAMO            CA    94507‐1755
DAN C GATTO CUST CHRISTOPHER M GATTO UGMA CA     C/O F H DAILEY                        800 DAVIS STREET                                            SAN LANDRO       CA    94577‐1512

DAN C GATTO CUST DAN M GATTO UGMA CA             C/O F H DAILEY                        800 DAVIS STREET                                            SAN LEANDRO      CA    94577‐1512
DAN C HOGAN                                      8690 LAKEVIEW DRIVE                                                                               BARKER           NY    14012‐9645
DAN C POPMA & JUANITA F POPMA TR POPMA FAMILY    585 E CAPE HORN RD                                                                                COLFAX           CA    95713‐9457
TRUST UA 07/26/00
DAN C RACH                                       PO BOX 45                                                                                         HEMPHILL         TX    75948
DAN C RAWSON                                     1296 SOUTH BEYER                                                                                  SAGINAW          MI    48601‐9437
DAN C STRNAD                                     7079 WILSON RD                                                                                    BANNISTER        MI    48807‐9780
DAN C THOMPSON                                   9395 ANN HARBOR DR                                                                                GAINESVILLE      GA    30506‐4017
DAN C VAUGHT                                     4801 ELMONT PL                                                                                    GROVEPORT        OH    43125
DAN CAGLE                                        7007 BUTLER RD                                                                                    SHERRILLS FORD   NC    28673
DAN CESEN                                        6099 BISHOP RD                                                                                    GENEVA           OH    44041‐9690
DAN D DALEY & BRENDA J DALEY JT TEN              401 W PAYNE ST                                                                                    MARLOW           OK    73055‐1644
DAN D HARKINS & MRS MARJORIE C HARKINS TEN COM   5523 CARNOUSTIE CT                                                                                DUBLIN           OH    43017‐8746

DAN D STIEFLER                                   S 3660 FULLER STREET                                                                              BLASDELL         NY    14219‐2556
DAN DANOVITZ                                     6347 MORROWFIELD AVE                                                                              PITTSBURGH       PA    15217‐2504
DAN DE VITO                                      RR 1                                  HARROWSMITH ON                            K0H 1V0 CANADA
DAN E BROWN                                      2606 QUEEN ST                                                                                     DEARBORN         MI    48124‐3346
DAN E CAMPBELL                                   8661 ALLEN RD                                                                                     CLARKSTON        MI    48348‐2714
DAN E CRISP                                      4351 SHERWOOD RD                                                                                  PRTONVILLE       MI    48462‐9273
DAN E HUSS                                       8629 ALTHAUS RD                                                                                   CINCINNATI       OH    45247‐2567
DAN E KAMPERMAN                                  PMB 351                               25 HIGHLAND PARK VILLAGE 100                                DALLAS           TX    75205‐2726
DAN E SCHEER                                     68 PECAN DR S                                                                                     KERRVILLE        TX    78028‐8208
DAN E UNGER                                      7810 COOK JONES DRIVE                                                                             WAYNESVILLE      OH    45068‐8826
DAN E WHITESIDES HEIR TO THE ESTATE OF DAN E     758 WARE RD                                                                                       SHELBY           NC    28152‐7951
WHITESIDES JR
DAN E WILLIAMS                                   3304 WERNER AVE                                                                                   AUSTIN           TX    78722‐2246
DAN ELDRIDGE FARMS INC                           2824 YODER RD                                                                                     STUTTGART        AR    72160‐5015
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DAN F STEEDLY                                   5070 HUNTERS CHAPEL RD                                                                          BAMBERG          SC    29003‐9462
DAN G GARRETT                                   1808 N 16TH ST                                                                                  NEW CASTLE       IN    47362‐4324
DAN G ONEILL & RITA M ONEILL JT TEN             49 SHADY DR                                                                                     INDIANA          PA    15701‐3206
DAN G PUCKETTE                                  5990 ROCKY SHOALS CT                                                                            TUCKER           GA    30084‐1600
DAN GALLAGHER CUST HUGHES HAYNES GALLAGHER      25 N BUCK LN                          UNIT 10                                                   HAVERFORD        PA    19041‐1482
UGMA NY
DAN GRISHAM                                     1012 SCARLETT DRIVE                                                                             OXFORD           MS    38655‐6182
DAN H IREDELL                                   8504 DRISCOLL DRIVE                                                                             BOWIE            MD    20720‐4416
DAN H MATTESON                                  17902 CHEROKEE DR                                                                               SPRING LAKE      MI    49456‐9019
DAN HALL                                        2537 WOODSTOCK DR                                                                               HIGHLAND PARK    MI    48203‐1062
DAN HARDY JR                                    13601 WASHBURN                                                                                  DETROIT          MI    48238‐2370
DAN HOUSTON                                     C/O JACQELINE HOUSTON                 1725 WOODLAND                                             KANSAS CITY      MO    64108‐1631
DAN HUGHES                                      6415 WALROND                                                                                    KANSAS CITY      MO    64132‐1259
DAN I SUMMITT                                   3377 TIMBERBROOK CT                                                                             DANVILLE         IN    46122‐8515
DAN I WILLIAMS                                  7248 ST ANDREWS                                                                                 GLEN ECHO PARK   MO    63121‐5046
DAN IZAWA                                       1919 ST LOUIS DR                                                                                HINOLULU         HI    96816‐1934
DAN J FORKNER                                   1314 A ARMSTRONG                                                                                KOKOMO           IN    46902‐6307
DAN J HEIGHTON                                  PO BOX 52                                                                                       TROY             OH    45373‐0052
DAN J HELKA                                     1203 GILMAN                                                                                     GARDEN CITY      MI    48135‐3075
DAN J RETZLOFF                                  2366 JORDANS WAY                                                                                MIDLAND          MI    48640‐8708
DAN J TARCA                                     58 SURREY DR                                                                                    CHESHIRE         CT    06410‐2813
DAN JACKSON JR                                  229 FARRAND PARK                                                                                HIGHLAND PARK    MI    48203‐3353
DAN JAMES KORN & KRISTINE KORN JT TEN           1125 1ST AVE E                                                                                  KALISPELL        MT    59901‐5603
DAN JOHNSON & PAULA JOHNSON JT TEN              7416 OGELSBY AVE                                                                                LOS ANGELES      CA    90045‐1359
DAN K MATZENBACH                                1440 HILLSDALE                                                                                  DAVISON          MI    48423‐2326
DAN K NEWMYER                                   2708 WRIGHT AVE                                                                                 NORTH PLATTE     NE    69101‐4459
DAN K WOOD                                      201 MOORE AVE                                                                                   PENDLETON        IN    46064‐1323
DAN KIM                                         812 LEYDEN LN                                                                                   WILMETTE         IL    60091‐2159
DAN KNAPPENBERGER CUST ALEXIS D KNAPPENBERGER   1198 CLEAR CREEK DR                                                                             BOISE            ID    83709‐1228
UTMA KS
DAN KNAPPENBERGER CUST SKYLER J KNAPPENBERGER   1198 CLEAR CREEK DR                                                                             BOISE            ID    83709‐1228
UTMA KS
DAN L GIULIANI                                  12590 HAWKINS RD                                                                                BURT             MI    48601‐5528
DAN L GYSLING                                   763 CHESTNUT HILL RD                                                                            GLASTONBURY      CT    06033‐4115
DAN L HAWKINS                                   3324 VILLAGE WOODS DR                                                                           ATWATER          CA    95301‐2051
DAN L HUTSON                                    PO BOX 216                                                                                      NEW SMYRNA       FL    32170‐0216
                                                                                                                                                BEACH
DAN L ISAACS                                    431 WAVERLY RD                                                                                  TALLAHASSEE      FL    32312‐2856
DAN L JONES                                     G4074 NORTH CENTER ROAD                                                                         FLINT            MI    48506
DAN L MOFFIT                                    2575 EATON RAPIDS RD                                                                            LANSING          MI    48911‐6308
DAN L NOFFSINGER                                2115 E 7TH ST                         STE 103                                                   CHARLOTTE        NC    28204‐3300
DAN L SIMPSON                                   740 LAKEVIEW DR                                                                                 WEST JEFFERSON   OH    43162‐9682
DAN L WEITZEL                                   1263 WIGTON RD                                                                                  LUCAS            OH    44843‐9706
DAN L WHITTEN                                   58 LINWOOD PLACE                                                                                EAST ORANGE      NJ    07017‐1719
DAN L WINES                                     10344 E 500 S                                                                                   WINDFALL         IN    46076‐9606
DAN LANDERHOLM                                  4518 WAITSFIELD CIR                                                                             MATHER           CA    95655
DAN LAWSON                                      4711 E 281ST ST                                                                                 ATLANTA          IN    46031‐9631
DAN M BRUNER                                    8291 DOLMAN DRIVE                                                                               POWELL           OH    43065
DAN M KEEFE                                     8490 ENGLEWOOD                                                                                  CLARKSTON        MI    48346‐1160
DAN M LINTS                                     58272 RIVER MANOR BLVD                                                                          ELKHART          IN    46516‐6074
DAN MARINKOV                                    31966 MARK ADAM LANGE DRIVE                                                                     WARREN           MI    48093‐1278
DAN MASTROIANNI CUST KATELYN MASTROIANNI        75 ELY ROAD                                                                                     MONSON           MA    01057‐9785
UTMA MA
DAN MICHAEL MYERS                               2500 GRELYN DR                                                                                  TOLEDO           OH    43615‐2930
DAN MULLIGAN                                    6242 HICKORY TR                                                                                 NORTH RIDGEVILLE OH    44039

DAN P FAGAN                                     6901 MARSHALL FOCH ST                                                                           NEW ORLEANS      LA    70124‐4034
DAN P WOODARD                                   1005 N FARRA DR                                                                                 OKLAHOMA CITY    OK    73107‐6046
DAN P YANCEY                                    4111 YANCEY RD                                                                                  DOUGLASVILLE     GA    30135‐4005
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DAN PAMPREEN                                    1125 ARLINGTON BLVD                                                                            ANN ARBOR        MI    48104‐4023
DAN PAPA                                        239 YORKTOWN CT                                                                                VOORHEESVILLE    NY    12186‐9590
DAN PATRICK                                     928 S 12TH ST                                                                                  SAGINAW          MI    48601‐2203
DAN PEARL III                                   14615 TURNER                                                                                   DETROIT          MI    48238‐1982
DAN PEARL JR                                    14615 TURNER                                                                                   DETROIT          MI    48238‐1982
DAN PEARSON                                     202 RITTER AVE                       REGINA SK                               S4T 7A4 CANADA
DAN R ARGUE                                     5177 ROBERTS DRIVE                                                                             FLINT            MI    48506‐1592
DAN R BLUMBERG                                  1726 BOGGS ROAD                                                                                FOREST HILL      MD    21050‐2500
DAN R BUCKLER                                   1208 N WILLIAMS ST                                                                             JOLIET           IL    60435‐4146
DAN R CHRISTIANSEN                              800 BRENDON DRIVE                                                                              SCHAUMBERG       IL    60194‐2415
DAN R HUGHES                                    4615 CLAY CT LANE                                                                              ARLINGTON        TX    76017‐1619
DAN R PFEIFFER & SHARON A PFEIFFER JT TEN       5159 GENESEE RD                                                                                GRAND BLANC      MI    48439‐7913
DAN R RICHARDS & STEPHANIE ANN RICHARDS TEN ENT 2504 S DUNDEE                                                                                  TAMPA            FL    33629‐6411

DAN ROBERSON                                    4443 ELMWOOD ST                                                                                DETROIT          MI    48207‐1535
DAN ROSSOK                                      27 GEORGE ST                                                                                   WEST PALM BCH    FL    33405‐2417
DAN S HABER                                     2666 WALKER LAKE RD                                                                            MANSFIELD        OH    44903‐8941
DAN S LOO                                       2509 WILDHORSE DRIVE                                                                           SAN RAMON        CA    94583‐2438
DAN S LOO & EVELYN O HOM LOO JT TEN             2509 WILDHORSE DRIVE                                                                           SAN RAMON        CA    94583‐2438
DAN SHARON                                      14313 SPYGLASS HILL CIR                                                                        CHESTERFIELD     VA    23832
DAN SIEBENEICHER                                11303 MAIDENSTONE DRIVE                                                                        AUSTIN           TX    78759
DAN SKAGGS                                      20617 LOGAN RD                                                                                 MANCHESTER       MI    48158
DAN SMITH                                       1980 HAZELWOOD                                                                                 DETROIT          MI    48206‐2237
DAN T KIRKWOOD                                  2649 LINCOLN NW                                                                                GRAND RAPIDS     MI    49504‐1850
DAN T NICHOLS & JUDITH M NICHOLS JT TEN         586 MINEOLA AVE                                                                                AKRON            OH    44320‐1936
DAN TILLMAN                                     2551 E 127TH ST                                                                                CLEVELAND        OH    44120‐1022
DAN U CEBALLOS III                              1023 N 23RD                                                                                    MC ALLEN         TX    78501‐7451
DAN V LEBENTA                                   3095 S PLATEAU DR                                                                              SALT LAKE CITY   UT    84109‐2360
DAN VOLLE                                       PO BOX 170                                                                                     MT PULASKI       IL    62548‐0170
DAN W BAILEY & ANNA LOUISE BAILEY JT TEN        2026 RHEAM RD                                                                                  CLINTON          OH    44216‐8701
DAN W DURHAM                                    8043 MERCER CT NE                                                                              LACEY            WA    98516
DAN W KENNEDY                                   610 NORTHVIEW                                                                                  OLATHE           KS    66061‐2821
DAN W KENNEDY & SHIRLEY A KENNEDY JT TEN        610 NORTHVIEW                                                                                  OLATHE           KS    66061‐2821
DAN W LETSON                                    14882 MARKET                                                                                   MOULTON          AL    35650‐1158
DAN W LYKE                                      499 ALBION ROAD                                                                                EDGERTON         WI    53534‐9376
DAN W SMITH                                     6845 ST RT 95W                                                                                 BUTLER           OH    44822‐9709
DAN W SMITH TOD JOHN R SMITH                    639 C.R 3462                                                                                   BROADDUS         TX    75929
DAN W TALIAFERRO                                9664 LOCHFIELD DR                                                                              PIKE ROAD        AL    36064‐2262
DAN W WINTERS                                   3781 HINTZ ROAD                                                                                OWOSSO           MI    48867
DAN WALLACE CLARK                               16 HAXTON PL                                                                                   SALT LAKE CITY   UT    84102‐1410
DAN WELCHECK                                    1440 FALLS AVE                                                                                 CUYAHOGA FALLS   OH    44223‐2443
DAN WIEDYK                                      1340 CEDAR LN                                                                                  ADRIAN           MI    49221‐8752
DAN ZANDERS                                     8636 ELLSWORTH                                                                                 DETROIT          MI    48238‐1741
DANA A BROWN                                    972 MUTZ DRIVE                                                                                 COLUMBUS         IN    47201‐5073
DANA A GRAVES                                   APT 123B                             24024 EVERGREEN                                           SOUTHFIELD       MI    48075‐5517
DANA A JAMES                                    4950 HAVERSTICK WAY                                                                            ANDERSON         IN    46012‐9560
DANA ALU KENNEDY CUST COLEEN KENNEDY UTMA MA    17 GATES RD                                                                                    SHREWSBURY       MA    01545‐2328

DANA ANN RICHARD                                2722 PINEDALE ST                                                                               JACKSON          MS    39204‐5131
DANA B BEALL                                    BOX 289B WAVERLY RD                                                                            WILLIAMSTOWN     WV    26187‐0289
DANA B ELDER                                    207 WAYNE STREET                                                                               ATHENS           AL    35611‐2247
DANA B JOHNS                                    1414 CHATSWORTH TRCE                                                                           LAWRENCEVILLE    GA    30044‐6069
DANA BRAMBLE THUMANN & SCOTT WILLIAM            86 E WALNUT ST                                                                                 METUCHEN         NJ    08840‐2706
THUMANN JT TEN
DANA C BINION                                   344 PINE ST                                                                                    GALION           OH    44833‐3343
DANA C BISHOP                                   2048 HONEYDEW LANE NW                                                                          KENNESAW         GA    30152‐5855
DANA C BURGESS & KERMIT LEE BURGESS TEN COM     RR 2 BOX 67B                                                                                   PHILIPPI         WV    26416‐9676
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DANA C CHANCELLOR CUST ASHLEY CHANCELLOR UTMA 110 EARLY STREET                                                                                      SAVANNAH          GA    31405‐5603
IN
DANA C VERRILL                                    3419 WESTMINSTER STE 214                                                                          DALLAS            TX    75205‐1387
DANA CHANCELLOR                                   211 SAWGRASS DRIVE                                                                                DOTHAN            AL    36303‐6806
DANA COLLINS WOOD                                 PO BOX 91241                                                                                      ALBUQUERQUE       NM    87199‐1241
DANA D JENISCH                                    55 RICE FARM DRIVE                                                                                JEFFERSONVILLE    VT    05464‐9760
DANA DENISE JENISCH CUST ASHLEY ELIZABETH JENISCH 55 RICE FARM ROAD                                                                                 JEFFERSONVILLE    VT    05464‐9760
UGMA VT
DANA DENISE JENISCH CUST EMILY ROSE JENISCH UGMA 55 RICE FARM DRIVE                                                                                 JEFFERSONVILLE    VT    05464‐9760
VT
DANA DEPREE                                       PO BOX 1383                                                                                       HOLLAND           MI    49422‐1383
DANA DUIS                                         ATTN DANA DUIS‐MORAN                 10220 EAST RIO DE ORO PLACE                                  TUCSON            AZ    85749‐9491
DANA DUMAS FIELDS & DAVID ALAN FIELDS JT TEN      294 S POINSETTIA TR                                                                               CRYSTAL RIVER     FL    34429‐8128

DANA E STRAIT                                   1916 HIGH POINT RD                                                                                  FOREST HILL       MD    21050‐2202
DANA G CRAIG                                    5164 W COLDWATER RD                                                                                 FLINT             MI    48504‐1037
DANA G CUNNINGHAM                               2012 EVAN S ROAD                                                                                    COLUMBIA          MO    65203
DANA G ROBINSON TR DANA G ROBINSON TRUST UA     11327 CAMBRAY CREEK LOOP                                                                            RIVERVIEW         FL    33579‐3920
03/27/02
DANA GEER DAVISON                               1100 BRUCEMONT DR                                                                                   GARNER            NC    27529‐4505
DANA GERTUDE TRUDY HOLT HOLLEMAN                2801 ALEXANDRA DR 1013                                                                              ROSEVILLE         CA    95661‐6027
DANA HALL                                       PO BOX 619                             14 FIRST ST                   HALLS POND                     BERWICK           ME    03901‐2610
DANA HUTSON WOOD                                1424 CONSTANCE AVE                                                                                  DAYTON            OH    45409‐1806
DANA IZUMI                                      1037 IIWI ST                                                                                        HONOLULU          HI    96816‐5110
DANA J BEAUVAIS                                 1343 JEFFWOOD                                                                                       WATERFORD         MI    48327‐2031
DANA J CICCONE                                  3433 CHESHIRE RD                                                                                    DELAWARE          OH    43015‐9426
DANA J DREUTH                                   634 7TH ST                                                                                          OWOSSO            MI    48867
DANA J HENDRIX                                  1080 CRAWFORD RD                                                                                    WEST UNION        OH    45693‐8949
DANA J PURDON                                   3941 JAMES AVE                                                                                      FORT WORTH        TX    76110‐6020
DANA J SCHMIDT                                  339 RAWSON AVE                                                                                      FREMONT           OH    43420‐2329
DANA K DERING                                   3982 N HIGH ST                                                                                      COLUMBUS          OH    43214
DANA KERN                                       789 EAST THIRD STREET UNIT #1                                                                       BOSTON            MA    02127‐2336
DANA L ABNER                                    DANA YIN                               11907 MAPLE CREST ST                                         MOORPARK          CA    93021
DANA L BUDD                                     6012 PARIDISE POINT DR                                                                              MIAMI             FL    33157‐2634
DANA L CARRIG                                   3621 SOUTH 96TH STREET                                                                              OMAHA             NE    68124‐3733
DANA L FOWLER                                   193 GLEN WINKLES DR                                                                                 SHARPSBURG        GA    30277‐9029
DANA L FRAIM                                    3186 BENDING BROOK DR                                                                               FLUSHING          MI    48433
DANA L GOWEN & BARBARA S GOWEN JT TEN           152 CEDAR LANE                                                                                      NEW HARTFORD      CT    06057‐2925
DANA L MCCUEN                                   6360 ROCHESTER ROAD                                                                                 ROCHESTER HILLS   MI    48306‐3455
DANA L PERRY                                    3800 SW BLVD                                                                                        FORT WORTH        TX    76116
DANA L SHICK                                    1110 TANGLEWOOD DR                                                                                  CHARLESTON        IL    61920‐9090
DANA L STORINGE                                 6377 E SENECA TURNPIKE                                                                              JAMESVILLE        NY    13078
DANA L SULLIVAN                                 ATT DANA L WEHRLY                      9480 EDWARD DR                                               BRIGHTON          MI    48114
DANA LA BRUYERE CUST STEPHEN LA BRUYERE UTMA FL 9615 TRIVOLA PL                                                                                     BOCA RATON        FL    33434‐5628

DANA LESLIE KELLERMAN                            1299 FOX CHAPEL RD                                                                                 PITTSBURGH        PA    15238‐1800
DANA LYN LINK                                    22 RIDGELY RD                                                                                      SMITHTOWN         NY    11787‐5301
DANA LYNN CAMPBELL                               8715 STROUP LN                                                                                     MORRIS            AL    35116‐1025
DANA LYNN CLOY & MICHAEL J CLOY JT TEN           2019 ELIZABETH ST                                                                                  BROWNWOOD         TX    76801
DANA M KOMIN                                     45 SPRING LAKE DR                                                                                  OXFORD            MI    48371‐5110
DANA M MONDA                                     ATTN DANA M SCHAU                     5804 CHAROLAIS DR SW                                         WYOMING           MI    49418‐8715
DANA M MORGAN                                    248 CANTERBURY TRAIL                                                                               ROCHESTER HILLS   MI    48309‐2007
DANA M ORSINI                                    1009 MILLRACE DR                                                                                   MARTINSBURG       WV    25401‐9210
DANA M PUTNAM                                    103 LEBANON ROAD                                                                                   NO BERWICK        ME    03906‐5706
DANA M THOMAS                                    10705 GLEN CT                                                                                      GLEN ALLEN        VA    23060
DANA M WARNEZ                                    428 NORMANDY RD                                                                                    ROYAL OAK         MI    48073
DANA MARIE MCGREW                                20126 MAYFAIR PARK LN                                                                              SPRING            TX    77379‐2436
DANA MARIE PEDLAW                                7 JACKSON AVENUE                                                                                   BOSTON            MA    02113
DANA MCGLORY                                     2548 FIELD                                                                                         DETRFOIT          MI    48214‐1781
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DANA MCGLORY PERS REP EST CECILE MCGLORY        2548 FIELD ST                                                                                 DETROIT         MI    48214‐1781
DANA MERKUR                                     12 CIRCLE DR                                                                                  CORTLAND        NY    13045‐1820
DANA MERRILL MILLER                             2303 SEATON PARK                                                                              MONTGOMERY      AL    36116‐7262
DANA MORISSE                                    207 HUCKLEBERRY DR                                                                            LAKE JACKSON    TX    77566‐4414
DANA N MORMANDO & ROBERT V MORMANDO JT TEN      185 CAROLJEAN WAY                                                                             BRANCHBIRD      NJ    08876‐3301

DANA R BLASBERG                                 2054 ALTA WEST ROAD                                                                           MANSFIELD       OH    44903‐8637
DANA R BRACKINS                                 7452 W DODGE RD                                                                               MONTROSE        MI    48457‐9193
DANA R GREENLEE                                 33827 CLARK ST                                                                                N RIDGEVILLE    OH    44039‐4110
DANA R GROSS                                    2650 ASH ST SW                                                                                DEMING          NM    88030‐7467
DANA R HUGHES & MRS IRIS F HUGHES JT TEN        1661 OLD COUNTRY RD                 LOT #224                                                  RIVERHEAD       NY    11901‐4407
DANA R LEE                                      RT 3 BOX 400                                                                                  BLANCHARD       OK    73010‐9560
DANA R SCHERER                                  12810 UPTON ROAD RR#2                                                                         BATH            MI    48808‐8449
DANA R WEATHERLY                                40340 CALLE TORCIDA                                                                           TEMECULA        CA    92591‐1784
DANA RAE RIGGS                                  3196 BURKLEY                                                                                  WILLIAMSTON     MI    48895‐9765
DANA ROBERT WHITE                               1463 W SUMMERDALE AVE               APT 2B                                                    CHICAGO         IL    60640‐2150
DANA ROCHELL CUST GREYSON ROACHELL UTMA TX      787 CR 318                                                                                    CLEVELAND       TX    77327‐7266

DANA ROSS                                       3029 N GRANDE VIEW COVE                                                                       MAYLENE         AL    35114‐6020
DANA RUTH FIELD                                 265 FARM TRACK                                                                                ROSWELL         GA    30075‐4218
DANA S CLARK                                    144 RIVER RD                                                                                  TEWKSBURY       MA    01876‐1087
DANA S HARDEN                                   1210 KNOX CHAPEL ROAD                                                                         SOCIAL CIRCLE   GA    30025‐4506
DANA S ZAPANTA                                  4452 GRAYWHALER LN                                                                            ROHNERT PARK    CA    94928
DANA STALEY                                     4 HARRINGTON AVE                                                                              CORTLAND        NY    13045‐1921
DANA STEELE                                     2800 CORNSTALK AVE                                                                            ASHEVILLE       OH    43103‐9447
DANA T ECKHOUT                                  19445 CHALK DR                                                                                MACOMB          MI    48044‐1767
DANA T EDBERG                                   4840 HILTON CT                                                                                RENO            NV    89509‐2925
DANA T STEVEN                                   ATTN DANA T ECKHOUT                 19445 CHALK DR                                            MACOMB          MI    48044‐1767
DANA THERESE WASIELEWSKI                        6524 W 60TH PLACE                                                                             CHICAGO         IL    60638
DANA TURNER                                     BOX 9274                                                                                      COLUMBUS        MS    39705
DANA W BRECKINRIDGE                             3582 UNIVERSITY AVE                                                                           HIGHLAND PARK   IL    60035‐1153
DANA W MILES                                    630 PLEASANT SE                                                                               GRAND RAPIDS    MI    49503‐5531
DANA W MOX & EVELYN M MOX JT TEN                410 WHITE OAK LN                                                                              BARRINGTON      IL    60010‐6224
DANA WAXLER                                     9375 ROOSEVELT                                                                                TAYLOR          MI    48180‐3682
DANA Y LOPEZ                                    85 PORTER PLACE                                                                               GLEN COVE       NY    11542‐3521
DANAE I CORUM                                   3912 S OCEAN BLVD UNIT 108                                                                    HIGHLAND BCH    FL    33487
DANAE K PROUSIS                                 321 WARWICK RD                                                                                KENILWORTH      IL    60043‐1143
DANAHER M DEMPSEY JR                            9101 STEILACOOM RD SE               UNIT 105                                                  LACEY           WA    98513‐6135
DANALEE BUNTING                                 34 SOUTH WILLIAMS ST                                                                          SELBYVILLE      DE    19975‐9653
DANCEY BRASS CO                                 537 N MORGAN                                                                                  DECATUR         IL    62523‐1126
DANDREA PARENTE                                 PO BOX 941                                                                                    BELLPORT        NY    11713‐0941
DANE A CARNELL                                  4042 SOUTH MEADOW LANE                                                                        MT MORRIS       MI    48458‐9310
DANE COLLINS                                    4532 NEWTON ST                                                                                TORRANCE        CA    90505‐5536
DANE CORY DEWEESE                               307 N ROGERS ST                                                                               ABILENE         KS    67410‐3423
DANE D WADE JR CUST DANE D WADE III UTMA VA     3892 DEERFIELD VALLEY RD                                                                      DEERFIELD       VA    24432‐2308

DANE G ANDERSON                                 63601 ROMEO PLANK                                                                             RAY TWP         MI    48096‐2326
DANE G LUCAS                                    3090 W 1100 N                                                                                 HUNTINGTON      IN    46750‐9755
DANE H SMITH SEPARATE PROPERTY                  10401 CR 137                                                                                  FLINT           TX    75762‐9573
DANE M WOOLSON                                  4953 N JEFFERSON ST                                                                           PULASKI         NY    13142‐4112
DANE PROCK                                      165 BRIARCLIFF                                                                                BOLINGBROOK     IL    60440
DANE R COLE                                     302 SABAEL RD                                                                                 INDIAN LAKE     NY    12842‐1605
DANE R SMITH                                    256 HARTSHORN DRIVE                                                                           VANDALIA        OH    45377‐2947
DANE R WERT                                     4287 DILLINGHAM DRIVE                                                                         TECUMSEH        MI    49286‐9690
DANE SELBY                                      5343 OXFORD CREST DR                                                                          JACKSONVILLE    FL    32258
DANE VUNJAK                                     11615 AVENUE H                                                                                SOUTH CHICAGO   IL    60617‐7470
DANEEN MEMKE                                    3309 NOTTINGHAM ROAD                                                                          OCEAN SPRINGS   MS    39564
DANELLA A BYERS                                 3611 N CHELSEA                                                                                KANSAS CITY     MO    64117‐2746
DANELLE L KOSMAL                                512 W BARRY AVE                     APT 503                                                   CHICAGO         IL    60657‐5406
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DANELLE L WRIGHT                                   2133 LAKESIDE DRIVE NORTH                                                                             FERNANDINA        FL    32034
DANELLE R NIXON & COLIN D NIXON JT TEN             7068 CR 669                                                                                           ALVIN             TX    77511‐1094
DANENE J NICHOLSON                                 7795 RUSSELLHURST DRIVE                                                                               WILLOUGHBY        OH    44094‐9219
DANES VLAZ & SHIRLEY A VLAZ JT TEN                 13900 HANNAN RD                                                                                       ROMULUS           MI    48174‐1094
DANETTE ARNEECHER                                  1573 COLUSA PLACE                                                                                     SALINAS           CA    93906‐2512
DANETTE K FLYNN                                    618 YALE AVE                                                                                          TERRACE PARK      OH    45174‐1136
DANETTE M STOUT                                    215 DEERPATH DR                                                                                       OSWEGO            IL    60543‐8895
DANEY J DAVIS                                      189 BEECH ST                                                                                          ROSLINDALE        MA    02131‐2707
DANEY K JETER                                      1976 RINIEL ROAD                                                                                      LENNON            MI    48449‐9316
DANG T LU                                          1068 RIDGE CREST ST                                                                                   MONTERY PARK      CA    91754‐4547
DANIA DEBS SAKKA                                   15 CHEYNE WALK                        LONDON                                  SW3 5RB GREAT BRITAIN
DANIAL M BAILEY                                    271 SHADOW LAKE RD                                                                                    CONCORD           VT    05824‐9677
DANIE J SUTKAITIS                                  2770 GLEN HEATHER DR                                                                                  SAN JOSE          CA    95133‐1415
DANIE L TICE                                       11390 N LOOMIS RD                                                                                     CLARE             MI    48617‐9507
DANIE M DEAKIN                                     9035 ORCHID LEDGE S                                                                                   CLARENCE          NY    14031‐1417
DANIE V ZGOL & JUDITH T ZGOL JT TEN                41599 BELVIDERE                                                                                       HARRISON          MI    48045
                                                                                                                                                         TOWNSHIP
DANIEL A ABRAHAMS                                  8707 MEADOWS PKWY                                                                                     OMAHA             NE    68138‐3431
DANIEL A ALLEN                                     28 WILLOW RD                                                                                          CHURCHVILLE       PA    18966‐1434
DANIEL A ANDRUCZYK                                 12904 RUNDEL ROAD                                                                                     ALDEN             NY    14004‐9642
DANIEL A ATWELL                                    PO BOX 5067                                                                                           MANSFIELD         OH    44901‐5067
DANIEL A BABCOCK                                   15005 EATON RAPIDS RD                                                                                 SPRINGPORT        MI    49284‐9768
DANIEL A BALL                                      3219 ARTHUR BLVD                                                                                      ANDERSON          IN    46012
DANIEL A BARTOLD                                   55586 OMNI DR                                                                                         SHELBY TWP        MI    48315‐6641
DANIEL A BITAR                                     720 1ST STREET                                                                                        HOQUIAM           WA    98550
DANIEL A BOMBERGER & MRS GAYLE M BOMBERGER JT      BOX 316                                                                                               MYERSTOWN         PA    17067‐0316
TEN
DANIEL A BONIKOWSKI                                2011 S OGEMAW TRL                                                                                     WEST BRANCH       MI    48661‐9067
DANIEL A BURCH                                     PO BOX 81602                                                                                          BILLINGS          MT    59108‐1602
DANIEL A CANTER                                    3029 COURTLAND AVE                                                                                    DAYTON            OH    45420‐2152
DANIEL A CECIL JR                                  5701 KIRKWOOD HYWY                                                                                    WILMINGTON        DE    19808‐4810
DANIEL A CINOTTI & MRS JEANNE M CINOTTI JT TEN     2621 BOSTON POST RD                                                                                   GUILFORD          CT    06437‐1356

DANIEL A CLENDENING                                2387 OLD SALEM RD                                                                                     AUBURN HILLS      MI    48326‐3431
DANIEL A CRAWFORD                                  2251 RIDGEMOOR CT                                                                                     BURTON            MI    48509‐1391
DANIEL A CRUZ                                      20950 WAHRMAN                                                                                         NEW BOSTON        MI    48164‐9426
DANIEL A DALEY & CASSIE DALEY JT TEN               1158 S LOMBARD AVE                                                                                    OAK PARK          IL    60304‐2246
DANIEL A DEAL TR DANIEL A DEAL TRUST UA 11/16/98   1325 MARABOG LANE                                                                                     VISTA             CA    92083

DANIEL A DEC                                       25 HIGHLAND RIDGE ROAD                                                                                BARRINGTON        NH    03825‐3005
DANIEL A DEITSCH                                   1079 CLUB HOUSE DR                                                                                    PONTIAC           MI    48340‐1485
DANIEL A DIBBLE                                    3362 LOON LAKE SHORES                                                                                 WATERFORD         MI    48329‐4229
DANIEL A DIETER                                    2126 SOUTH TERR                                                                                       JANESVILLE        WI    53546‐6120
DANIEL A DOROUGH                                   PO BOX 8848                                                                                           EMERYVILLE        CA    94662
DANIEL A DUHAN                                     2 WOODSPRING COURT                    RR #2 HAMILTON ONTORIO                  L8N 2Z7 CANADA
DANIEL A EASON & JANET A EASON JT TEN              7974 TROXLER MILL RD                                                                                  GIBSONVILLE       NC    27249‐9770
DANIEL A ESKRIDGE CUST AMANDA MICHAEL ESKRIDGE     159 CLAY DR                                                                                           WINSTON SALEM     NC    27107‐8846
UTMA NC
DANIEL A ESKRIDGE CUST JENNIFER SUSAN ESKRIDGE     159 CLAY DR                                                                                           WINSTON SALEM     NC    27107‐8846
UTMA NC
DANIEL A FEYS                                      405 CANAL DRIVE                                                                                       BROOKLYN          MI    49230‐9240
DANIEL A FLORES                                    760 S JACKSON AVE                                                                                     SAN JOSE          CA    95116‐3626
DANIEL A FRANDSEN                                  157 WESTGATE                                                                                          ELGIN             IL    60123‐4940
DANIEL A FRANDSEN                                  1453 W IRVING PARK RD                 APT 405                                                         CHICAGO           IL    60613‐5613
DANIEL A FRANK & HILDA FRANK JT TEN                710 56TH PL                                                                                           CLARENDON HILLS   IL    60514‐1539

DANIEL A FRYDRYK & REGINA M FRYDRYK JT TEN         145 ELMAR DR                                                                                          FEEDING HILLS     MA    01030
DANIEL A GALLAGHER                                 8417 RIDGE RD                                                                                         RICHMOND          VA    23229‐7281
DANIEL A GAMBLE                                    2211 OLD FALLS DR                                                                                     ANN ARBOR         MI    48103‐8305
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DANIEL A GAMBLE & MARSHA A GAMBLE JT TEN            2211 OLD FALLS DR                                                                               ANN ARBOR       MI    48103‐8305
DANIEL A GLOR                                       115 THURSTON AVE                                                                                KENMORE         NY    14217‐1321
DANIEL A HARRINGTON III                             3468 SHADDICK                                                                                   WATERFORD       MI    48328‐2560
DANIEL A HARRY                                      9 WOOD GATE DRIVE                                                                               LANCASTER       NY    14086‐3268
DANIEL A HERCULA                                    417 MARILYN CIR                                                                                 SPRING HILL     TN    37174‐7587
DANIEL A HUNTLEY                                    209 STALEY RD                                                                                   UNIONVILLE      TN    37180‐8593
DANIEL A JAROSLAW                                   3216 HOLBROOK ST                                                                                DETROIT         MI    48212‐3518
DANIEL A JOHNSON                                    799 LAKE SIDE RD                                                                                ADDISON         PA    15411‐2248
DANIEL A KARPIE & MARIE C KARPIE JT TEN             RD 1 841 HOLMDEL RD                                                                             HOLMDEL         NJ    07733‐2067
DANIEL A KEIDAN TR MARTIN J KEIDAN TR UA 12/19/67   1133 BROADMOOR PL                                                                               DEERFIELD       IL    60015‐2701

DANIEL A KENDZIERSKI                                24437 HARBORVIEW RD                   LOT 101                                                   PUNTA GORDA     FL    33980‐2365
DANIEL A KLAWER                                     26017 LAGUNA COURT                                                                              VALENCIA        CA    91355‐3324
DANIEL A KOLB                                       1494 WESTGATE AVE                                                                               DEFIANCE        OH    43512‐3251
DANIEL A KOWKABANY                                  2117 CAPUCHIN WAY                                                                               CLAREMONT       CA    91711‐1809
DANIEL A KRESS                                      2580 RACINE AVE                                                                                 WINTHROP        IA    50682‐9528
DANIEL A KUSKOWSKI                                  3273 POPLAR DRIVE                                                                               WARREN          MI    48091‐5524
DANIEL A LABNON                                     10 12TH ST                                                                                      BERLIN          NH    03570‐3842
DANIEL A LASEK                                      22109 TANYARD RD                      PO BOX 98                                                 BETHLEHEM       MD    21609‐0098
DANIEL A MAGSIG                                     13073 APPLETREE                                                                                 DEWITT          MI    48820‐9638
DANIEL A MARS                                       3348 SHADDICK                                                                                   WATERFORD       MI    48328‐2559
DANIEL A MC INTYRE                                  290 W RIVERGLEN DRIVE                                                                           WORTHINGTON     OH    43085‐3870
DANIEL A MCMILLEN                                   6521 ALLVIEW DRIVE                                                                              COLUMBIA        MD    21046‐1047
DANIEL A METIVA                                     11820 GEDDES RD                                                                                 SAGINAW         MI    48609‐9496
DANIEL A MILLER                                     405 VERONA CT                                                                                   MILLERSVILLE    MD    21108‐1918
DANIEL A MORRIS                                     2522 56ST S                                                                                     GULFPORT        FL    33707‐5229
DANIEL A MOYA                                       PO BOX 938                                                                                      SMITHVILLE      TX    78957‐0938
DANIEL A MOYER                                      5506 MAPLE PARK DR                                                                              FLINT           MI    48507‐3915
DANIEL A MRAZ CUST ALEXANDER D MRAZ UGMA MI         10358 HEGRL ROAD                                                                                GOODRICH        MI    48439

DANIEL A MULCAHEY                             178 W 7TH ST                                                                                          OSWEGO          NY    13126‐2537
DANIEL A NEAS                                 3247 S VASSAR RD                                                                                      DAVISON         MI    48423‐2426
DANIEL A NEUMANN & JEANNETTE M NEUMANN JT TEN 6292 KELLY RD                                                                                         FLUSHING        MI    48433‐9029

DANIEL A NOLAN & LORRAINE NOLAN JT TEN              131 TAYLORS TRAIL                                                                               ANDERSON        SC    29621
DANIEL A NORRICK                                    1488 LONG LAKE RD                                                                               SAINT PAUL      MN    55112‐5522
DANIEL A NOTEWARE                                   PO BOX 525                                                                                      WINNSBORO       TX    75494‐0525
DANIEL A OVERCAST                                   8455 HWY 69 N                                                                                   COTTAGE GROVE   TN    38224‐5282
DANIEL A PARKER                                     1646 N 58TH ST                                                                                  MESA            AZ    85205‐3523
DANIEL A PELCHER                                    162 SHORT TRACT ROAD                                                                            HUNT            NY    14846
DANIEL A PFUHL                                      3681 RICHES CORNERS RD                                                                          ALBION          NY    14411‐9710
DANIEL A PICCIANO                                   800 PORTION RD                                                                                  LAKE            NY    11779‐1997
                                                                                                                                                    RONKONKOMA
DANIEL A RUBANO JR & DONNA M RUBANO JT TEN          644 LAUREL AVE                                                                                  HOLMDEL         NJ    07733‐1004

DANIEL A RUNKLE                                     1443 ALTON DARBY CREEK RD                                                                       COLOMBUS        OH    43228‐9654
DANIEL A RYDZINSKI                                  939 BRYN MAWR                                                                                   WICKLIFFE       OH    44092‐2251
DANIEL A SCHWARTZ                                   6 TYSON TER                                                                                     LAFAYETTE HL    PA    19444‐2334
DANIEL A SHARRARD                                   9518 BAY SHORE DR                                                                               GLADSTONE       MI    49837‐8800
DANIEL A SLIGHTOM                                   4358 N 600 E                                                                                    FRANKLIN        IN    46131‐7865
DANIEL A SLIVINSKI & ALICE K SLIVINSKI JT TEN       27W431 OAK CT                                                                                   WINFIELD        IL    60190‐1424
DANIEL A SOLTIS                                     2065 WILLOW ST                                                                                  ERIE            PA    16510‐1801
DANIEL A STOCKFISH                                  9727 E PRESIDIO RD                                                                              SCOTTSDALE      AZ    85260‐1420
DANIEL A TOMCZAK                                    1607 S KIESEL ST                                                                                BAY CITY        MI    48706‐5296
DANIEL A TOMKIEWICZ & DAWN TOMKIEWICZ JT TEN        520 BARRINGTON DR W                                                                             ROSWELL         GA    30076‐2303

DANIEL A TOMKIEWICZ & RENEE C TOMKIEWICZ JT TEN     15226 LEGENDS OAKS COURT                                                                        FORT MILL       SC    29715

DANIEL A VANDERPLOEG                                4981 SPENCER ST                                                                                 ATTICA          MI    48412‐9322
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DANIEL A WOOD & DAVID J WOOD JT TEN                601 RUTGERS ST                                                                                VACAVILLE       CA    95687‐4610
DANIEL A ZAMORA                                    2633 GORHAM                                                                                   SAGINAW         MI    48601‐1337
DANIEL AARON MOROS                                 19 MAPLE AVE                                                                                  LARCHMONT       NY    10538‐4145
DANIEL ABRAHAM                                     C/O YALE UNIVERSITY                 5821 N WHIPPLE ST                                         CHICAGO         IL    60659‐3708
DANIEL ADAMSKI                                     160 OLD RIVER RD                                                                              LINCOLN         RI    02865‐1150
DANIEL ALEXANDER                                   6907 BRIDGEPOINT                                                                              PROSPECT        KY    40053
DANIEL ALFRED LEVEILLE                             309 CLAYBURN                                                                                  WATERFORD       MI    48327‐2617
DANIEL AND KAREN PETERMAN                          71 TIMBERLINE DR                                                                              NASHVILLE       TN    37221‐4316
DANIEL ANDRE                                       PO BOX 254                                                                                    KINGSTON        OH    45644‐0254
DANIEL ANTHONY ZAWADZKI                            18910 MALLARD CV                                                                              CLEVELAND       OH    44130‐6200
DANIEL ANZURES                                     3989 AIRPORT RD                                                                               WATERFORD       MI    48329‐1310
DANIEL ARMIN ROZMAN                                6 JAMES SPRING CT                                                                             ROCKVILLE       MD    20850‐2949
DANIEL AUER PER REP EST BARBARA AUER               1188 FINLANDIA WAY                                                                            ALBION          IN    46701
DANIEL AUGUSTINE KOWALSKI                          108 N WASHINGTON                                                                              LAKE ORION      MI    48362‐3269
DANIEL B ABBOTT TR DANIEL B ABBOTT LIVING TRUST    2890 E HUCKLEBERRY TRAIL                                                                      FARWELL         MI    48622‐9762
UA 09/18/97
DANIEL B ANTHONY & BARBARA J ANTHONY JT TEN        799 SUNSET RDG                                                                                CHARLEVOIX      MI    49720‐8971

DANIEL B BAILEY CUST CATHERINE CLARE HAND BAILEY   1442 WHITMAN                                                                                  LARAMIE         WY    82070
UTMA WY
DANIEL B BALANGUE                                  8049 5 POINT HW                                                                               EATON RAPIDS    MI    48827‐9061
DANIEL B BENARCIK                                  1826 MARSH RD                                                                                 WILMINGTON      DE    19810‐4506
DANIEL B BENARCIK & CATHERINE M BENARCIK JT TEN    1826 MARSH ROAD                                                                               WILMINGTON      DE    19810‐4506

DANIEL B BENARCIK CUST SUSAN D BENARCIK UGMA DE 1826 MARSH ROAD                                                                                  WILMINGTON      DE    19810‐4506

DANIEL B BORK                                      544 GRANT AVE                                                                                 LOUISVILLE      CO    80027‐1909
DANIEL B BROOKS                                    3427 SANDLEWOOD LN                                                                            AUSTINTOWN      OH    44511‐2530
DANIEL B BUCKLEY                                   6805 THOMPSON LN                                                                              WHITE LAKE      MI    48383‐3073
DANIEL B CAST                                      407 S MAIN                                                                                    HOLDEN          MO    64040‐1417
DANIEL B CAST & THERESA A CAST JT TEN              407 S MAIN                                                                                    HOLDEN          MO    64040‐1417
DANIEL B EAGLE                                     26 WHITE OAK ROAD                                                                             BAKERSVILLE     NC    28705
DANIEL B FROWNFELTER                               9470 FAIR OAKS DR                                                                             GOODRICH        MI    48438‐9474
DANIEL B GABIE                                     13 FELLOWSHIP CIR                                                                             SANTA BARBARA   CA    93109‐1210
DANIEL B GROCHOLA                                  7356 S BELOIT AVE                                                                             BRIDGEVIEW      IL    60455‐1132
DANIEL B HANSEN                                    9879 EDGEWOOD SHORES RD                                                                       EDGERTON        WI    53534‐8960
DANIEL B JACHLEWSKI                                75 JOHNSON PARK                                                                               BUFFALO         NY    14201‐2349
DANIEL B JOHN                                      3574 W 65TH ST                                                                                CLEVELAND       OH    44102‐5410
DANIEL B KELLEY                                    69 WEST GRANADA AVE                                                                           HERSHEY         PA    17033‐1477
DANIEL B LA BEFF                                   2444 HIHIWAI ST #1602                                                                         HONOLULU        HI    96826‐5110
DANIEL B LEASK                                     4415 SPRUCE                                                                                   WARREN          MI    48092‐6113
DANIEL B LEHMAN                                    724 FLORENCE ST                                                                               FORT ATKINSON   WI    53538‐1933
DANIEL B LEHMAN & MRS DONNA M LEHMAN JT TEN        724 FLORENCE ST                                                                               FORT ATKINSON   WI    53538‐1933

DANIEL B MC CANN                                   5 HADDINGTON RD                                                                               LUTHVLE TIMON   MD    21093‐5716
DANIEL B MC CANN & ELLA MARY J MC CANN JT TEN      5 HADDINGTON RD                                                                               LUTHERVILLE     MD    21093‐5716

DANIEL B MC MURDY                                  2334 WESTSIDE DR                                                                              ROCHESTER       NY    14624‐1934
DANIEL B MCMAHON                                   10418 JEWELL RD                                                                               GAINES          MI    48436‐9721
DANIEL B MESSINA                                   159 SUNRISE RIDGE DR                                                                          HENDERSONVLLE   NC    28792‐8190
DANIEL B MILLER                                    ROUTE 1 BOX 301                                                                               MCLEANSBORO     IL    62859‐9789
DANIEL B NOLAN & ANNA MARIE NOLAN JT TEN           2526 OAK VIEW DR                                                                              MOBILE          AL    36606‐1804
DANIEL B O'CONNELL                                 6985 HACKNEY CIRCLE                                                                           VICTOR          NY    14564‐9570
DANIEL B O'CONNOR                                  1133 FOXWORTH CT                                                                              BALLWIN         MO    63011‐4223
DANIEL B PANKIW & MARIANNE K PANKIW JT TEN         2073 FAIRWAY LN                                                                               HARRISBURG      PA    17112‐1566
DANIEL B PEDERSON                                  7501 5TH AVE S                                                                                RICHFIELD       MN    55423‐4336
DANIEL B RIDER                                     1202 KANSAS                                                                                   CHICKASHA       OK    73018‐3123
DANIEL B ROBERTS                                   1745 S ALCONY CONOVER RD                                                                      TROY            OH    45373‐9620
DANIEL B SCHEERER                                  6130 SOUTHVIEW DR                                                                             NASHPORT        OH    43830‐9011
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DANIEL B SMITH                                   86 DOE RUN ROAD                                                                               HOLLAND          PA    18966‐2873
DANIEL B SPALL                                   2904 E 350 NORTH                                                                              ANDERSON         IN    46012‐9415
DANIEL B SUTHERLAND III                          711 CAROLYN LANE                                                                              GALLATIN         TN    37066‐4816
DANIEL B TAIT                                    5953 SCOTT CIR                                                                                CLARKSTON        MI    48348‐5172
DANIEL B THORNE                                  2669 PICKERINGTON WAY                                                                         HUDSON           OH    44236‐4922
DANIEL B TORRES                                  626 14TH ST                                                                                   BAY CITY         MI    48708‐7200
DANIEL B WAYSON                                  816 COACH WAY                                                                                 ANNAPOLIS        MD    21401‐6417
DANIEL B WHITE                                   710 CLINTON PLACE                                                                             RIVER FOREST     IL    60305‐1914
DANIEL B WILLIAMSON                              496 HAMPTON RD                                                                                KNG OF PRUSSA    PA    19406
DANIEL B WOELKE                                  103 OAK BLVD                                                                                  WILDWOOD         FL    34785‐9701
DANIEL BARNES                                    7047 BISSONNET #6                                                                             HOUSTON          TX    77074‐6016
DANIEL BARNES                                    2917 MC CLELLAN                                                                               DETROIT          MI    48214‐2019
DANIEL BARYSHEV & KLARA BARYSHEV JT TEN          13904 WAGON WAY                                                                               SILVER SPRING    MD    20906‐2169
DANIEL BECKETT                                   900 CHANDLER AVE                                                                              LINDEN           NJ    07036‐2064
DANIEL BENDER                                    47450 AHUIMANU PL                                                                             KANEOHE          HI    96744‐4650
DANIEL BENJAMIN ULBRICHT                         4266 CABRETTA DR SE                                                                           SMYRNA           GA    30080‐6479
DANIEL BERNHEIMER                                1365 CHURCH ST                                                                                SAN FRANCISCO    CA    94114‐3924
DANIEL BLASKOVICH                                914 TROON CT                                                                                  SCHERERVILLE     IN    46375‐2923
DANIEL BOESCH & CHERYL BOESCH JT TEN             12 DUSTY TRAIL                                                                                TRABUCO CANYON   CA    92679‐5344

DANIEL BORCHERT                                  PO BOX 21165                                                                                  COLUMBUS         OH    43221‐0165
DANIEL BRAY JR                                   3335 BRISTOL RD                                                                               DOYLESTOWN       PA    18901‐7037
DANIEL BRENT HULLS & LESLIE ANN HULLS JT TEN     8080 N COLT DR                                                                                FLAGSTAFF        AZ    86004
DANIEL BRYAN WEISER                              2133 DEER RUN RD                                                                              DELAVAN          WI    53115‐3940
DANIEL BUCKLER                                   92 ALSEK RD                         WHITEHORSE           YT TERR            Y1A 3K4 CANADA
DANIEL BUDNER                                    916 VALLEYBROOK DR                                                                            LEWISVILLE        TX   75067
DANIEL BURG                                      8003 LYONS                                                                                    NILES             IL   60714‐1331
DANIEL C AKERLEY & NANCY L AKERLEY JT TEN        6643 SE SEVEN OAKS LANE                                                                       STUART            FL   34997‐4703
DANIEL C ALLOR                                   3524 TRENTWOOD DR                                                                             COMMERCE          MI   48382‐1371
                                                                                                                                               TOWNSHIP
DANIEL C ALTOBELLO                               2530 HAYMOND                                                                                  RIVER GROVE       IL   60171‐1724
DANIEL C ANTONSON                                1684 PONDVIEW DR NE                                                                           BOLIVAR           OH   44612‐8672
DANIEL C BARBARINO                               1185 CARTERS CREEK PIKE                                                                       COLUMBIA          TN   38401‐7327
DANIEL C BAUER & CYNTHIA L BAUER JT TEN          102 VIRGINIA ST                                                                               WHEELERSBURG      OH   45694‐8793
DANIEL C BEAVER                                  3514 HOLLY AVE                                                                                FLINT             MI   48506‐4716
DANIEL C BRACCIANO                               72 BLAIRMOOR CT                                                                               GROSSE POINTE SHS MI   48236‐1222

DANIEL C BRUNING                                 1406 DOEBLER DR                                                                               NORTH            NY    14120‐2208
                                                                                                                                               TONAWANDA
DANIEL C BRYAN                                   25442 R DR N                                                                                  OLIVET           MI    49076‐9539
DANIEL C CLOSSEY                                 518 WILLOW AVENUE                                                                             LYNDHURST        NJ    07071‐2619
DANIEL C CRAMER TR UA 05/15/2007 DANIEL CRAMER   1124 WATERBURY RD                                                                             HIGHLAND         MI    48356
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DANIEL C DAVIS & FRANCES B BIRGE JT TEN          1110 TARA STREET                                                                              SAVANNAH         GA    31410‐1840
DANIEL C DIAZ                                    642 TOPAWA DR                                                                                 FREMONT          CA    94539‐7134
DANIEL C DOOLEY                                  2900 BRYN MAWR                                                                                DALLAS           TX    75225
DANIEL C DUFFY                                   210 OSWALD DRIVE                                                                              UNION            OH    45322‐3049
DANIEL C ELLIS & MARY A ELLIS JT TEN             18 NE 72ND                                                                                    PLEASANT HILL    IA    50327
DANIEL C ENGLISH                                 604 N HAMPTON RD                                                                              SENECA           SC    29672
DANIEL C ERICKSON                                2735 E WINEGAR RD                                                                             BANCROFT         MI    48414‐9756
DANIEL C FERGUSON                                16177 PINE LAKE FOREST DR                                                                     LINDEN           MI    48451‐9093
DANIEL C FISHER                                  2609A MUSCATEL AVE                                                                            ROSEMEAD         CA    91770‐3320
DANIEL C FREITAS                                 62 REGIS ST                                                                                   E FALMOUTH       MA    02536‐4248
DANIEL C GINGERICH                               17118 JACKSON AVE                                                                             HOLT             MO    64048‐8853
DANIEL C GRINSTEAD                               6119 LATONA AVE NE                                                                            SEATTLE          WA    98115‐6550
DANIEL C GUTKIN & MRS EDITH C GUTKIN JT TEN      2605 SUMMERSON RD                                                                             BALTIMORE        MD    21209‐2517
DANIEL C HAINES                                  4900 OLD STATE RD                                                                             N BRANCH         MI    48461‐8980
DANIEL C HANSEN                                  7525 PETERSON RD                                                                              ROCKFORD         MI    49341
DANIEL C HARGRAVES                               9611 JUNIPER                                                                                  WHITE LAKE       MI    48386‐2479
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DANIEL C HAUG                                  7661 ROUTE 2A                                                                                 ST GEORGE          VT    05495‐7650
DANIEL C HOGAN & ELIZABETH A HOGAN JT TEN      8690 LAKEVIEW DRIVE                                                                           BARKER             NY    14012‐9645
DANIEL C JACKSON                               4853 E COUNTY ROAD 150 N                                                                      AVON               IN    46123‐8627
DANIEL C JOHNSON                               5 THORNTON ST                                                                                 HILLSBOROUGH       NJ    08844‐7007
DANIEL C KAMINSKI                              8306 CROMWELL PL                                                                              MELBOURNE          FL    32940‐2176
DANIEL C KROLL                                 436 GOLDSMITH RD                                                                              PITTSBURGH         PA    15237‐3766
DANIEL C LYNCH                                 G 5305 W PASADENA AVENUE                                                                      FLUSHING           MI    48433
DANIEL C MANDZIARA                             43206 HILLCREST                                                                               STERLING HEIGHTS   MI    48313‐2361

DANIEL C MARTIN                                26056 ROGELL                                                                                  NEW BOSTON         MI    48164‐9526
DANIEL C MARTINEZ                              1501 E AVENUE I                     SPC 134                                                   LANCASTER          CA    93535‐2248
DANIEL C MARTINEZ                              1130 OLDE ROSWELL GRV                                                                         ROSWELL            GA    30075‐7200
DANIEL C MCKEITH & ANITA E MCKEITH JT TEN      7895 N GLEANER                                                                                FREELAND           MI    48623‐9299
DANIEL C MILLER & LEANN K MILLER JT TEN        411 MARY LANE                                                                                 CANONSBURG         PA    15317‐2277
DANIEL C MORAN                                 2857 PINE AVENUE                                                                              RONKONKOMA         NY    11779‐5103
DANIEL C MORAN & ANNA M MORAN JT TEN           2857 PINE AVE                                                                                 RONKONKOMA         NY    11779‐5103
DANIEL C MORRIS & JENNIFER A MORRIS JT TEN     7717 N US HIGHWAY 23                APT 23                                                    OSCODA             MI    48750‐9744
DANIEL C PETERSON                              PO BOX 656                                                                                    MAGGIE VALLEY      NC    28751‐0656
DANIEL C PHILLIPS                              5841 AKINS RD                                                                                 N ROYALTON         OH    44133‐4961
DANIEL C PHILLIPS JR                           6609 BIG CREEK PARKWAY                                                                        PARMA HTS          OH    44130‐2813
DANIEL C PISTELLI                              410 HI TOR DRIVE                                                                              PITTSBURGH         PA    15236‐4202
DANIEL C ROBERTS                               NUMBER 32 IMOGENE CRES              PARADISE NL                             A1L 1H4 CANADA
DANIEL C ROBERTS                               32 IMOGENE CRESCENT                 PARADISE NL                             A1L 1H4 CANADA
DANIEL C SCHENNBERG                            112 N LINCOLN AVE                                                                             PARK RIDGE         IL    60068‐3120
DANIEL C SCHULER                               2364 PARKER BLVD                                                                              TONAWANDA          NY    14150‐4504
DANIEL C SOULES                                PO BOX 740                                                                                    ROCKFORD           MI    49341‐0740
DANIEL C SPRAUER                               2805 PALO ALTO NE                                                                             ALBUQUERQUE        NM    87112‐2124
DANIEL C STIMSON                               C/O DIANA O'TOOLE                   6 LLOYD ROAD                                              TEWKSBURY          MA    01876‐2915
DANIEL C TIEBERT & BETTY J TIEBERT JT TEN      1982 ALTON STREET                                                                             BEECH GROVE        IN    46107‐1616
DANIEL C TONY                                  4348 N VASSAR ROAD                                                                            FLINT              MI    48506‐1741
DANIEL C URBANIK & JUDITH U MIKULA JT TEN      951 GABBY AVE                                                                                 WASHINGTON         PA    15301‐5911
DANIEL C VILLASENOR                            42840 PHILADELPHIA PL                                                                         FREMONT            CA    94538‐5531
DANIEL C WILLIAMSON                            425 WEST 20TH PLACE                                                                           GARY               IN    46407‐2525
DANIEL C ZUKOWSKI                              324 NW 105TH TER                                                                              CORAL SPRINGS      FL    33071‐7913
DANIEL CANFIELD                                101 ROYAL N DEVON                                                                             WILLIAMSBURG       VA    23188‐7473
DANIEL CASIMER LEWANDOWSKI                     1316 SCOTT ST                                                                                 MAUMEE             OH    43537‐3122
DANIEL CATALDO & TERESA CATALDO JT TEN         162 FARMINGDALE RD                                                                            CHESTER            NY    10918‐4604
DANIEL CHAPLIN LESESNE JR                      1545 WITSELL ROAD                                                                             SEABROOK           SC    29940‐3702
DANIEL CHARLES BURNETTE                        50676 JEFFERSON                     E3 VILLA DULAC                                            NEW BALTAMORE      MI    48047‐2372
DANIEL CHARLES STAMBOR                         3806 W ARMOUR ST                                                                              SEATTLE            WA    98199
DANIEL CIAMPA                                  18 ALBION AVE                                                                                 AMHERST            NY    14226‐2321
DANIEL COLLINS TR 09/10/04 DANIEL L COLLINS    562 CORTE COLINA                                                                              CAMARILLO          CA    93010‐1858
IRREVOCABLE TRUST
DANIEL COOKE & ALICIA A COOKE JT TEN           4902 KELSO ST                                                                                 LEESBURG           FL    34748‐8575
DANIEL COOLEY UGGLA                            1400 JEWELL DRIVE                                                                             COLUMBIA           TN    38401‐5211
DANIEL COPE                                    1232 APPALOOSA ROAD                                                                           ANGELS CAMP        CA    95222‐9651
DANIEL COPPELMAN CUST JEFFERY MARC COPPELMAN   623 POPES ISLAND RD                                                                           MILFORD            CT    06460‐1742
UGMA CT
DANIEL CREMIN                                  102 LEWISBURG AVE                                                                             FRANKLIN           TN    37064
DANIEL CUBA                                    729 E PHILADELPHIA BLVD                                                                       FLINT              MI    48505‐3552
DANIEL CUNNINGHAM                              98 MADISON ST                                                                                 ISELIN             NJ    08830‐1917
DANIEL CWIEKOWSKI                              30 BRAINARD AVE                     APT 108                                                   MEDFORD            MA    02155‐5107
DANIEL CZARNEY                                 6640 YINGER                                                                                   DEARBORN           MI    48126‐2094
DANIEL D ARRASMITH                             7545 PETERS PIKE                                                                              DAYTON             OH    45414‐1709
DANIEL D BASHI                                 7061 CANDILLAC AVE                                                                            WARREN             MI    48091‐2624
DANIEL D BECKETT                               1203 MALLWOOD DRIVE                                                                           EDGERTON           WI    53534‐8718
DANIEL D BERTIN                                BOX 38                                                                                        PENNINGTON         NJ    08534‐0038
DANIEL D BINTING                               3806 SCOTTLEY DR                                                                              SANDUSKY           OH    44870‐5456
DANIEL D BOUCHER                               3803 COMMERCE ST                                                                              DALLAS             TX    75226
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DANIEL D CASSELS & NATALIE I CASSELS JT TEN       122 E CONDOT RD                                                                                           ST MARYS         PA    15857‐3643
DANIEL D CHUKUROV                                 50 PARKWAY PLACE                                                                                          RED BANK         NJ    07701‐5659
DANIEL D DAVILA                                   VAUXHALL MTR HOOTON HOUSE N RD        ELESMRE PT MAIL PT EK 16   UNITED KINGDOMCH65   GREAT BRITAIN
DANIEL D DEMMER & MARY C DEMMER JT TEN            159 E BISSELL AVE                                                                                         OIL CITY         PA    16301‐1972
DANIEL D DENKINS                                  2377 MAPLELAWN DR                                                                                         BURTON           MI    48519‐1337
DANIEL D DOMENICO                                 4117 W 30TH AVE                                                                                           DENVER           CO    80212‐1407
DANIEL D FLECK                                    PO BOX 546                                                                                                MANCHESTER       MI    48158‐0546
DANIEL D FRIEL                                    BOX 4319                                                                                                  GREENVILLE       DE    19807‐0319
DANIEL D GREGG                                    3467 CUMBERLAND RD                                                                                        BATES CITY       MO    64011‐8429
DANIEL D HARRISON                                 570 TROY LOOP                                                                                             THE VILLAGES     FL    32162‐6131
DANIEL D JARONESKI                                6224 N HUBBARD LAKE RD                                                                                    SPRUCE           MI    48762‐9777
DANIEL D JONES                                    359 STONEHENGE                                                                                            GRANDVILLE       MI    49418‐3234
DANIEL D KILEY                                    PO BOX 214                                                                                                BROWNSBURG       IN    46112‐0214
DANIEL D LARSON & MRS BARBARA B LARSON JT TEN     2111 S 153 STREET                                                                                         OMAHA            NE    68144‐1917

DANIEL D LIESTMAN                                 33318 18TH LN S                       APT F201                                                            FEDERAL WAY      WA    98003‐8924
DANIEL D MACADAM                                  7882 E CUTLER RD                                                                                          BATH             MI    48808‐9439
DANIEL D MCDONALD                                 601 WILLIAMS BURG DR                                                                                      KOKOMO           IN    46902‐4959
DANIEL D MOORE JR                                 108 MIDHURST RD                                                                                           BALTIMORE        MD    21212‐2215
DANIEL D MUTCHLER & RONALD D PURINTON JT TEN      114 SILL LN                                                                                               OLD LYME         CT    06371

DANIEL D NYMBERG                                  182 COUNTRY CLUB LANE                                                                                     CANTON           MI    48188‐3036
DANIEL D OLES                                     9299 DUFFIELD                                                                                             GAINES           MI    48436‐9743
DANIEL D OLSON                                    RR #4 BOX 302                                                                                             BELOIT           WI    53511‐9804
DANIEL D PESKI                                    9005 SE 168TH TAILFER                                                                                     THE VILLAGES     FL    32162‐2872
DANIEL D PIERCE                                   591 DAUGHDRILL RD                                                                                         MOUNT OLIVE      MS    39119‐5440
DANIEL D QUER                                     AV DE ROMA 110 6 1                    08015 BARCELONA                                 SPAIN
DANIEL D REED                                     9760 CABLE LINE RD                                                                                        DIAMOND          OH    44412‐9713
DANIEL D RITTER                                   953 LAKEPOINTE                                                                                            GROSSE POINTE    MI    48230
                                                                                                                                                            PARK
DANIEL D SANNER JR                                2503 COLUMBINE DR N                                                                                       JACKSONVILLE     FL    32211‐4021
DANIEL D SMITH                                    PO BOX 251                                                                                                SUMMITVILLE      IN    46070‐0251
DANIEL D SPEHAR                                   966 BECKY DRIVE                                                                                           MANSFIELD        OH    44905‐2326
DANIEL D STAFFORD                                 7604 SUGAR MAPLE CIRCLE                                                                                   LANSING          MI    48917‐8823
DANIEL D STUBBENDICK                              1200 ELIDA ST                                                                                             JANESVILLE       WI    53545‐1808
DANIEL D SUTTLE                                   4748 KEMPF                                                                                                WATER FORD       MI    48329‐1808
DANIEL D SVELLER                                  24838 PORTSMOUTH AVE                                                                                      NOVI             MI    48374‐3136
DANIEL D WEISS                                    30561 NORTHGATE DR                                                                                        SOUTHFIELD       MI    48076‐1030
DANIEL D WILSON                                   4413 N JACKSON AVE                                                                                        KANSAS CITY      MO    64117‐1839
DANIEL DACHILLE                                   721 NOWARK POMPTON TURNPIKE                                                                               POMPTON PLATS    NJ    07444‐1330
DANIEL DACHILLE & REBECCA DACHILLE JT TEN         721 NOWARK POMPTON TURNPIKE                                                                               POMPTON PLAINS   NJ    07444‐1330

DANIEL DALE ANDERSON & SAMUEL J ANDERSON JT TEN 702 OVERHILL DR                                                                                             BRANDON          FL    33511‐6920

DANIEL DANTZIC                                    34 KRISTEN LANE                                                                                           RED HOOK         NY    12571
DANIEL DARANCOU                                   6490 SHORELINE DR                                                                                         TROY             MI    48085
DANIEL DAVID PISARCIK & BARBARA PISARCIK JT TEN   33 BIRCH ST                                                                                               WILKES‐BARRE     PA    18702‐1708

DANIEL DAVISSON                                   BOX 59097                                                                                                 PITTSBURGH       PA    15210‐0097
DANIEL DAWSON                                     59 FRENCH ST                                                                                              BUFFALO          NY    14211‐1312
DANIEL DE STEFANO & PATRICIA DE STEFANO JT TEN    C/O DANIEL DESTEFANO                  38‐25 PARSON BLVD                                                   FLUSHING         NY    11354‐5837

DANIEL DEAN STAMBAUGH                             1028 E MARKET ST                                                                                          YORK             PA    17403‐1106
DANIEL DEL PIVO & LILLIAN DEL PIVO JT TEN         244 BRADLEY BLVD                                                                                          SCHENECTADY      NY    12304‐1001
DANIEL DELLAPENTA                                 115 LORNA LANE                                                                                            TONAWANDA        NY    14150‐2806
DANIEL DELLAPENTA & MARIE DELLAPENTA JT TEN       115 LORNA LANE                                                                                            TONAWANDA        NY    14150‐2806

DANIEL DERROW                                     808 W FRONT ST                        APT 31                                                              BUCHANAN         MI    49107‐1180
DANIEL DESTEFANO                                  38‐25 PARSON BLVD                                                                                         FLUSHING         NY    11354‐5837
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DANIEL DEVRIES                                    2232 THISTLEDOWNE DR NE                                                                        GRAND RAPIDS      MI    49505
DANIEL DI FILIPPO                                 20 DARK LEAF DRIVE                                                                             TRENTON           NJ    08610‐1310
DANIEL DI FRANCESCO                               3769 NORTHAMPTON RD                                                                            CLEVELAND         OH    44121‐2026
                                                                                                                                                 HEIGHTS
DANIEL DI MEGLIO                                  368 WALNUT ST                                                                                  RIDGEFIELD        NJ    07657‐2622
DANIEL DICARLO                                    30249 WESTMORE                                                                                 MADISON HEIGHTS   MI    48071‐2212

DANIEL DIGIOVINE                                  99 OSCAR AVENUE                                                                                BROCKTON          MA    02302‐1053
DANIEL DIMORA                                     14 BRANDY BROOK LANE                                                                           ROCHESTER         NY    14612‐3059
DANIEL DONATY & MRS IRIS DONATY JT TEN            3149 DONA SOFIA DR                                                                             STUDIO CITY       CA    91604‐4349
DANIEL DREVANIK                                   25 FRANKLIN AVE                                                                                STRATFORD         CT    06614‐5248
DANIEL DUGGAN                                     16 THERESA DRIVE                                                                               WEST NYACK        NY    10994‐1918
DANIEL DWORK                                      54 LIVINGSTON AVE                                                                              EDISON            NJ    08820‐2360
DANIEL DZIEWISZ                                   1017 MYRTLE AVE                                                                                WATERTOWN         NY    13601‐4607
DANIEL E AMIANDA                                  10 CAMP PULASKI RD                                                                             BUDD LAKE         NJ    07828‐1207
DANIEL E ANDERSON                                 11205 N CENTER RD                                                                              CLIO              MI    48420‐9750
DANIEL E ARNOLD & DIANE M ARNOLD JT TEN           3330 REGENT DR                                                                                 WOODLAND PARK     CO    80863‐7406

DANIEL E BARTKOWSKI                             5 PINYON PINE CIRCLE                                                                             WILMINGTON        DE    19808‐1008
DANIEL E BAYLEY & MARIE K BAYLEY JT TEN         3009 ANDERSON DR APT 101                                                                         RALEIGH           NC    27609‐7740
DANIEL E BAYLEY & MARIE K BAYLEY JT TEN         CONDO 101                              3009 ANDERSON DR                                          RALEIGH           NC    27609‐7739
DANIEL E BENDER CUST DANIEL JOHN BENDER UTMA PA RD 5                                   VALLEY PARK RD                                            DOYLESTOWN        PA    18901‐9805

DANIEL E BENDER CUST KATHERINE ELIZABETH BENDER   RD 5                                 VALLEY PARK RD                                            DOYLESTOWN        PA    18901‐9805
UTMA PA
DANIEL E BEZDEK                                   5674 WILSON ROAD                                                                               FORT WORTH        TX    76140‐7610
DANIEL E BOCKOVER                                 2316 GRAYWOOD ROAD                                                                             WILMINGTON        DE    19810‐2722
DANIEL E BOONE                                    2011 GOLDEN MORNING DR                                                                         BOWIE             MD    20721‐2968
DANIEL E BROWN                                    513 RIVER RIDGE DR                                                                             WATERFORD         MI    48327‐2888
DANIEL E CECH                                     1530 SOUTH M‐52                                                                                OWOSSO            MI    48867‐8915
DANIEL E CLARK                                    1347 DITCH ROAD                                                                                NEW LOTHROP       MI    48460‐9648
DANIEL E CORKRAN JR                               PO BOX 84                                                                                      RHODESDALE        MD    21659‐0084
DANIEL E CRANE                                    PO BOX 646                                                                                     UPLAND            IN    46989‐0646
DANIEL E CRANE & SUSAN L CRANE JT TEN             PO BOX 646                                                                                     UPLAND            IN    46989‐0646
DANIEL E CUMMINGS                                 5570 MAPLE PARK DR                                                                             FLINT             MI    48507‐3905
DANIEL E DAWSON                                   10146 N 650 E                                                                                  BROWNSBURG        IN    46112
DANIEL E DE YEAR                                  6613 OAKMONT CT                                                                                PLANO             TX    75093‐6334
DANIEL E DEPOALO                                  6517 HARBOR DR                                                                                 HUDSON            FL    34667‐1321
DANIEL E DOWD & BETTY J DOWD JT TEN               5291 WILSON MILL RD                                                                            RICHMOND HGTS     OH    44143‐3028
DANIEL E EDLINGER                                 1750 JORDAN                                                                                    SAGINAW           MI    48602‐1117
DANIEL E EDLINGER & NANCY A EDLINGER JT TEN       1750 JORDAN ST                                                                                 SAGINAW           MI    48602‐1117
DANIEL E EMERSON                                  113 MORNINGSIDE DR                                                                             GRAND PRAIRIE     TX    75052‐4800
DANIEL E FELIX                                    5416 FERN DR                                                                                   FENTON            MI    48430‐9374
DANIEL E FULTON                                   BOX 70                                                                                         DEKALB            MS    39328‐0070
DANIEL E GARRY                                    52380 ROYAL FOREST                                                                             SHELBY TOWNSHIP   MI    48315‐2422

DANIEL E GEROW JR                                 BOX 8252                                                                                       NEW FAIRFIELD     CT    06812‐8252
DANIEL E GINGELL                                  2210 BROKER ROAD                                                                               LAPEER            MI    48446‐9415
DANIEL E GREENE                                   125 STOLI CT                                                                                   ONSTED            MI    49265
DANIEL E GRIFFIN JR                               5130 SILVER SPRING ROAD                                                                        PERRY HALL        MD    21128‐9013
DANIEL E GRIFFIN JR & MARY M GRIFFIN JT TEN       5130 SILVER SPRING ROAD                                                                        PERRY HALL        MD    21128‐9013
DANIEL E HAHN                                     5909 61ST AVE                                                                                  RIVERDALE         MD    20737‐2556
DANIEL E HAHN & FERN L HAHN JT TEN                5909 61 ST AVE                                                                                 RIVERDALE         MD    20737‐2556
DANIEL E HAYWARD                                  404 LUCE AVE                                                                                   FLUSHING          MI    48433‐1717
DANIEL E HEREK                                    PO BOX 249                                                                                     EAST TAWAS        MI    48730‐0249
DANIEL E HORVATH                                  934 RED HILL DR                                                                                LORAIN            OH    44052‐5229
DANIEL E HUBIS CUST DANIEL E HUBIS JR UGMA MD     14 KUPALAIKI LOOP                                                                              KIHEI             HI    96753‐8118

DANIEL E HUSTED                                   1825 NEMOKE CT                       APT 4                                                     HASLETT           MI    48840‐8627
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DANIEL E JENNINGS                                  22212 HILLSIDE DR                                                                              NORTHVILLE         MI    48167‐9146
DANIEL E KADEL                                     2457 JEFFERSON TERRACE                                                                         EAST POINT         GA    30344‐2717
DANIEL E KNISKA TR UA 03/11/91 DANIEL E KNISKA     711 BRISCOE RD                                                                                 PARKERSBURG        WV    26104‐1027

DANIEL E KODRIC                                    38335 DOLORES DR                                                                               EASTLAKE           OH    44095‐1252
DANIEL E KOHLER                                    1542 HILTON‐PARMA RD                                                                           SPENCERPORT        NY    14559‐9548
DANIEL E KOWALLEK                                  6401 NW REGAL CR                                                                               PORT ST LUCIE      FL    34983‐5359
DANIEL E LAKE                                      2098 VALLEY FORGE                                                                              BURTON             MI    48519‐1320
DANIEL E LAUB                                      238 SENCA AVE                                                                                  DIX HILLS          NY    11746‐8028
DANIEL E LEKKI                                     8645 COLOGNE DR                                                                                STERLING HEIGHTS   MI    48314‐1635

DANIEL E LOEBER                                    1736 WESTOVER LN                                                                               MANSFIELD          OH    44906‐3369
DANIEL E LOVEGROVE                                 2030 KENT DR                                                                                   DAVISON            MI    48423‐2388
DANIEL E MARTYN                                    18 BRIARCLIFF LANE                                                                             GLEN COVE          NY    11542‐3100
DANIEL E MC AMOIL                                  RT 1 BOX 154                                                                                   PENOKEE            KS    67659‐9706
DANIEL E MC LEOD                                   PO BOX 265                                                                                     OTISVILLE          MI    48463‐0265
DANIEL E MEYER                                     711 PATRICIA                                                                                   SAN ANTONIO        TX    78216‐3042
DANIEL E MIEKOWSKI                                 14120 LACHENE AVE                                                                              WARREN             MI    48088‐5845
DANIEL E MOHR                                      3380 CROOKED TREE ROAD                                                                         MASON              OH    45040‐7961
DANIEL E MOMBER                                    2728 13 MILE ROAD                                                                              SPARTA             MI    49345‐9735
DANIEL E MOORE & JOYCE A LEES JT TEN               4055 LONGBRANCH RD                                                                             LIVERPOOL          NY    13090
DANIEL E NICHOLSON                                 PO BOX 9022                          C/O ADAM OPEL IPC S3‐01                                   WARREN             MI    48090‐9022
DANIEL E OSLIN                                     2651 FENTON RD                                                                                 HARTLAND           MI    48353‐3113
DANIEL E PENROD                                    815 LOCHAVEN                                                                                   WATERFORD          MI    48085
DANIEL E POBUDA                                    5 FURMAN HEIGHTS DRIVE                                                                         FAIRPORT           NY    14450‐9190
DANIEL E POIRIER JR                                300 INGONISH COURT                                                                             CONWAY             SC    29527
DANIEL E POLK                                      26600 BELL ROAD                                                                                NEW BOSTON         MI    48164‐9329
DANIEL E PROPHETER                                 9822 FIVE OAKS RD                                                                              FAIRFAX            VA    22031
DANIEL E ROLLINS                                   380 COLUMBUS AVE                     APT 4                                                     BOSTON             MA    02116‐6075
DANIEL E ROSAS                                     9415 SHERIDAN                                                                                  BURT               MI    48417‐9601
DANIEL E SAUGSTAD                                  3271 SITKA ST                                                                                  GREEN BAY          WI    54311‐7652
DANIEL E SCHOESSLER                                17970 LINCOLN DR                                                                               ROSEVILLE          MI    48066‐7424
DANIEL E SCHULTZ                                   541 S TECUMSEH RD                                                                              SPRINGFIELD        OH    45506‐4229
DANIEL E SCHWASS                                   18283 SW LOTHLORIEN WAY                                                                        LAKE OSWEGO        OR    97034‐7337
DANIEL E SHAW & DONNA SHAW JT TEN                  7998 UPPER 145TH ST WEST                                                                       APPLE VALLEY       MN    55124‐7458
DANIEL E SHAW CUST ADAM J SHAW UTMA MN             7998 UPPER 145TH W                                                                             APPLE VALLEY       MN    55124
DANIEL E SHEAHAN                                   3108 N MONROE ST                                                                               ARLINGTON          VA    22207‐5314
DANIEL E SHIELDS                                   410 HICKORY HOLLOW                                                                             CANFIELD           OH    44406‐1049
DANIEL E SMITH                                     10020 E 700 S                                                                                  UPLAND             IN    46989‐9775
DANIEL E SMITH                                     1208 DONSON DR                                                                                 DAYTON             OH    45429‐5770
DANIEL E STANLEY                                   204 E 6TH ST                                                                                   ALEXANDRIA         IN    46001‐2609
DANIEL E STEED                                     818 E EMERSON ST                                                                               ITHACA             MI    48847‐1332
DANIEL E TABOR & TRUDY M TABOR JT TEN              2040 WALNUT CREEK DRIVE                                                                        FLINT              MI    48532‐2255
DANIEL E TEAZE                                     7313 ALVERSTONE AVENUE                                                                         LOS ANGELES        CA    90045‐1307
DANIEL E TELFORD                                   1115 HIGHLAND OAKS CRT                                                                         BALLWIN            MO    63021
DANIEL E TIMMONS                                   986 HARWOOD DRIVE                                                                              COLUMBUS           OH    43228‐3553
DANIEL E TRAYWICK                                  3271 ROLSTON RD                                                                                FENTON             MI    48430‐1031
DANIEL E VAISE                                     826 UMBRA STREET                                                                               BALTIMORE          MD    21224‐4611
DANIEL E WALSH                                     30 DUNSMERE DR                                                                                 ROCHESTER          NY    14615‐2116
DANIEL E WILLIAMS                                  6801 CRANBERRY LAKE ROAD                                                                       CLARKSTON          MI    48348‐4415
DANIEL E WILLIAMS                                  758 OAK HILLS DR                                                                               BROOKLYN           MI    49230‐9018
DANIEL E WILSON                                    13 LEIGHS WAY                                                                                  REHOBOTH BEACH     DE    19971‐9506

DANIEL E WISENBAUGH                                10966 HAVEN DR                                                                                 SEBEWAING          MI    48759‐9765
DANIEL EDWARD KUEBRICH                             PO BOX 315                                                                                     ELIZABETH          LA    70638‐0315
DANIEL EDWARD VERRAL                               3903 LUCILLE DRIVE                                                                             LAMBERTVILLE       MI    48144‐9503
DANIEL ERNEST DALTON                               3763 SANDPIPER COVE RUN                                                                        SOUTH BEND         IN    46628‐3876
DANIEL ESPINOZA                                    805 N VALLEYWIND CT                                                                            OFALLON            MO    63366‐3147
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DANIEL EUGENE WHITE & JOANNE R WHITE JT TEN        2865 BONNEVILLE COURT NE                                                                       GRAND RAPIDS    MI    49525‐1319

DANIEL F ALVAREZ                                    759 RUE VIMY                        SHERBROOKE QC                           J1J 3N8 CANADA
DANIEL F ARNOLD                                     2207 W BRISTOL RD                   # 119                                                     FLINT           MI    48507‐3227
DANIEL F BANDY                                      895 TOLEDO ST                                                                                 DUBUQUE         IA    52001‐8611
DANIEL F BENDIG                                     PO BOX 116                                                                                    HARRISVILLE     MI    48740‐0116
DANIEL F BERKOWITZ                                  1110 HACIENDA PL                    102                                                       W HOLLYWOOD     CA    90069‐2738
DANIEL F BILLINGSLEY                                233 PLYMOUTH RD                     FAIRFAX                                                   WILMINGTON      DE    19803‐3116
DANIEL F BILLINGSLEY & ELEANOR M BILLINGSLEY JT TEN 233 PLYMOUTH RD                                                                               WILMINGTON      DE    19803‐3116

DANIEL F BOSCHERT & BETTY S BOSCHERT JT TEN        701 LONGVIEW DR                                                                                ST CHARLES      MO    63301‐0718
DANIEL F BOTTOMS                                   4300 NW 79TH TER                     APT 19                                                    KANSAS CITY     MO    64151‐4219
DANIEL F BOURNE                                    1908 MAC ARTHUR LANE                                                                           INDIANAPOLIS    IN    46224‐5353
DANIEL F BRENNAN CUST ANNETTE BRENNAN UTMA NJ      366 AVE E                                                                                      BAYONNE         NJ    07002‐4611

DANIEL F BUKOWSKI                                310 S LINCOLN RD                                                                                 BAY CITY        MI    48708‐9195
DANIEL F CALEF                                   4115 WOODRUFF AVE                                                                                OAKLAND         CA    94602‐1309
DANIEL F CASE                                    244 N AVALON STREET                                                                              MEMPHIS         TN    38112
DANIEL F CESENE                                  156 HAGER ST                                                                                     HUBBARD         OH    44425‐2028
DANIEL F CHOY CUST DANIEL F CHOY JR UGMA NY      8155 E FAIRMOUNT DR 1021E                                                                        DENVER          CO    80230‐6833
DANIEL F CLAWSON & TERRY L CLAWSON TR UA 6/30/95 2018 NE 28TH PL                                                                                  RENTON          WA    98056
CLAWSON FAMILY TRUST
DANIEL F COLE & MARLENE A BIELEK JT TEN          8325 DALEPOINT RD                                                                                INDEPENDENCE    OH    44131‐6656
DANIEL F COLE & THOMAS J COLE JT TEN             8325 DALEPOINT RD                                                                                INDEPENDENCE    OH    44131‐6656
DANIEL F CROWLEY & LOIS A CROWLEY JT TEN         14444 TANAGER WOOD TRAIL                                                                         MIDLOTHIAN      VA    23114‐4658
DANIEL F CROWLEY & LOIS A CROWLEY JT TEN         14444 TANAGER WOOD TRAIL                                                                         MIDLOTHIAN      VA    23114‐4658
DANIEL F CUSICK                                  1413 TERRACE DR                                                                                  PITTSBURGH      PA    15228‐1608
DANIEL F DANIELS                                 4403 W CLEVELAND                                                                                 TAMPA           FL    33609
DANIEL F DE BLOIS & MAUREEN J DE BLOIS JT TEN    20 GREEN PASTURES RD                                                                             BETHEL          CT    06801‐1258
DANIEL F DUNCAN                                  2387 BAY RIDGE DR                                                                                AU GRES         MI    48703‐9483
DANIEL F FULTON & ROBERTA L FULTON JT TEN        1303 E 36TH AVE                                                                                  SPOKANE         WA    99203‐3061
DANIEL F GILLARD                                 901 E CENTER                                                                                     ESSEXVILLE      MI    48732‐9769
DANIEL F HELPAP                                  10635 SWAN CREEK                                                                                 SAGINAW         MI    48609‐9783
DANIEL F HESS                                    2764 72ND ST SW                                                                                  BYRON CENTER    MI    49315‐8725
DANIEL F JAMES                                   5803 CAROLYN                                                                                     N RIDGEVILLE    OH    44039‐2141
DANIEL F KABASIN                                 2288 RIDGEWAY AVE                                                                                ROCHESTER       NY    14626‐4110
DANIEL F KEHOE                                   9030 S CHICAGO CT                                                                                OAK CREEK       WI    53154‐4243
DANIEL F KOWITZ                                  10345 SHERIDAN CT                                                                                MILLINGTON      MI    48746‐9337
DANIEL F LABOUVE                                 18050 ARLEE DRIVE                                                                                MONTE SERENO    CA    95030‐4208
DANIEL F LARKIN                                  1042 CARMEN ROAD                                                                                 BARKER          NY    14012‐9663
DANIEL F LAST                                    11090 KILARNEY                                                                                   WASHINGTON      MI    48095‐2508
DANIEL F LAST & SUE A LAST JT TEN                11090 KILARNEY                                                                                   WASHINGTON      MI    48095‐2508
DANIEL F LAZOWSKI                                12798 SEYMOUR ROAD                                                                               BURT            MI    48417‐9775
DANIEL F LOFFT                                   110 FORBES TERRACE                                                                               N TONAWANDA     NY    14120‐1855
DANIEL F LUCIANO & BEVERLY P LUCIANO JT TEN      50 EDGEWOOD AVE                                                                                  OAKDALE         NY    11769‐2016
DANIEL F MALARKY                                 2304 MATTERHORN LANE                                                                             AUSTIN          TX    78704
DANIEL F MARTIN                                  520 JAMES P CASEY RD                                                                             BRISTOL         CT    06010‐2942
DANIEL F MCNALLY                                 1245 VALLEY VIEW DR                                                                              YOUNGSTOWN      OH    44512‐3745
DANIEL F NELSON                                  4305 ALMOND LA                                                                                   DAVIS           CA    95616‐5034
DANIEL F NISSLY                                  2624 RAMSBURY DR                                                                                 TROY            MI    48098‐2144
DANIEL F NIX                                     9895 MONTSFORD COVE ROAD                                                                         MARION          NC    28752‐9024
DANIEL F OBRYANT & PHYLLIS J O BRYANT JT TEN     14399 WARNER ROAD                                                                                HASLETT         MI    48840‐9218
DANIEL F PELAK                                   4770 CORDES NW                                                                                   COMSTOCK PARK   MI    49321‐9702
DANIEL F PELL                                    1183 COOK                                                                                        LAKEWOOD        OH    44107‐2544
DANIEL F POLUS & CLARA V POLUS JT TEN            26723 RIDGEFIELD AVE                                                                             WARREN          MI    48089‐4570
DANIEL F POLUS & ELIZABETH A POLUS JT TEN        26723 RIDGEFIELD                                                                                 WARREN          MI    48089‐4570
DANIEL F RIORDAN                                 10812 ADMIRALS WAY                                                                               POTOMAC         MD    20854‐1231
DANIEL F ROSATO                                  16 HARVEY ST                                                                                     CLOSTER         NJ    07624‐1132
DANIEL F SLAYDEN                                 PO BOX 302                                                                                       LINCOLN         MI    48742‐0302
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DANIEL F STANLEY & KAREN A STANLEY JT TEN         4280 FARM MEADOWS COURT                                                                      OKEMOS          MI    48864‐2956
DANIEL F STASA                                    6591 HUNTERS CREEK RD                                                                        IMLAY CITY      MI    48444‐9723
DANIEL F SULLIVAN                                 56 GROVE AVE                                                                                 WILMINGTON      MA    01887‐2036
DANIEL F VOIT JR                                  2214 WINCHESTER DR                                                                           BELOIT          WI    53511‐1951
DANIEL F VOSS                                     13767 DEER CHASE PL                                                                          JACKSONVILLE    FL    32224
DANIEL F WALLACE                                  27 SENTRY WAY                                                                                MERRIMACK       NH    03054‐4410
DANIEL F WARRAS                                   222 NORTH 5TH STREET                                                                         PALMYRA         WI    53156‐9321
DANIEL F WIELKOPOLAN                              865 SHADOWLAWN                                                                               INKSTER         MI    48141‐1332
DANIEL FABER                                      9 BELLFIELD ST                     OTTAWA ON                               K2B 6K6 CANADA
DANIEL FAGAN TR UA 10/28/78 DANIEL FAGAN TRUST    960 RAND RD #210                                                                             DES PLAINES     IL    60016

DANIEL FEBRES                                     44 S WASHINGTON ST                                                                           TARRYTOWN       NY    10591‐3924
                                                                                                                                               HEIGHTS
DANIEL FEE                                       225 E LAUREL AVE                                                                              NEW CASTLE      PA    16101‐2370
DANIEL FIELD                                     293 FERN HILL DR                                                                              GRANVILLE       OH    43023‐9103
DANIEL FIELDS JR                                 6407 NORBURN WAY                                                                              LANSING         MI    48911‐6040
DANIEL FITZGERALD                                45 CHASE FARM ROAD                                                                            SOUTH WINDSOR   CT    06074
DANIEL FITZPATRICK CUST AILEEN FITZPATRICK UGMA 33‐57 162ND ST                                                                                 FLUSHING        NY    11358‐1326
NY
DANIEL FITZPATRICK CUST CORMAC FITZPATRICK UGMA 33‐57 162ND ST                                                                                 FLUSHING        NY    11358‐1326
NY
DANIEL FITZPATRICK CUST DARA FITZPATRICK UGMA NY 252 MARCELLUS RD                                                                              MINEOLA         NY    11501‐2414

DANIEL FITZPATRICK CUST SINEAD FITZPATRICK UGMA   33‐57 162ND ST                                                                               FLUSHING        NY    11358‐1326
NY
DANIEL FITZPATRICK CUST TERRENCE FITZPATRICK      33‐57 162ND ST                                                                               FLUSHING        NY    11358‐1326
UGMA NY
DANIEL FIX                                        436 ENRIGHT PL                                                                               THE VILLAGES     FL   32162‐1103
DANIEL FORD JR                                    33 CAROLINA AVENUE                                                                           NEWARK           NJ   07106‐2079
DANIEL FRANK GLOSS                                5259 CONNORS LN                                                                              HIGHLAND         MI   48356‐1517
DANIEL FRANK SPECHT                               2305 GROBERG ST                    APT 4                                                     SAINT PAUL       MN   55112‐1321
DANIEL FREDERICK                                  5048 CTH J                                                                                   ROCKLAND         WI   54653
DANIEL FRIED & DENISE FRIED JT TEN                41 JAMES ST                                                                                  HUDSON           NY   12534‐1309
DANIEL G ALYEA                                    3024 W OLIVE BRANCH RD                                                                       GREENWOOD        IN   46143‐8798
DANIEL G ARNDT                                    6167 WILSON ST                                                                               WATERFORD        MI   48329‐3170
DANIEL G BRENNAN                                  2939 NOVIK LANE                                                                              BRIGHTON         MI   48114‐8173
DANIEL G BURNS                                    1500 VAL VERDE CT                                                                            DENTON           TX   76210‐3455
DANIEL G DEC                                      1531 ARROW WOOD LANE                                                                         DOWNERS GROVE IL      60515‐1337
DANIEL G DOWNARD                                  8278 MADRID BLVD                                                                             WAYNESVILLE      OH   45068‐8333
DANIEL G DUCHAM                                   9180 EASTON                                                                                  NEW LOTHRUP      MI   48460‐9709
DANIEL G DULOHERY                                 17618 EMERALD VIEW DRIVE                                                                     RAYMORE          MO   64083‐9769
DANIEL G FOWLER                                   562 HERALD                                                                                   PLYMOUTH         MI   48170‐1537
DANIEL G GEORGE                                   12135 MIDDLEFORK RD                                                                          AMANDA           OH   43102‐9401
DANIEL G GOBLE                                    4382 BRIDGEFIELD RD                                                                          PLAINFIELD       IN   46168
DANIEL G GORMAN                                   1847 SHORE DRIVE SOUTH             UNIT 801                                                  ST PETERSBURG    FL   33707‐4730
DANIEL G GRUDZINSKI                               67887 WOLCOTT RD                                                                             RAY              MI   48096‐1237
DANIEL G HALPERN                                  717 CARDINAL COURT                                                                           CROWLEY          TX   76036‐3913
DANIEL G HOLMES                                   2020 QUEEN ST #57                                                                            NORTH FORT MYERS FL   33917‐2953

DANIEL G HUHN                                     27044 GROVELAND                                                                              MADISON HEIGHTS MI    48071‐3304

DANIEL G KERNAGHAN                                PO BOX 129                                                                                   BLUFF DALE      TX    76433‐0129
DANIEL G LISEE                                    1704 FARM LANE                                                                               REESE           MI    48757‐9545
DANIEL G LUBINSKI                                 4872 CHARLES RD                                                                              NORTH RIDGEVL   OH    44039‐1704
DANIEL G MATHEY                                   2916 CARLTON DR NW                                                                           WARREN          OH    44485‐1220
DANIEL G MAYO                                     4068 SCHOLTZ RD                                                                              NORTH BRANCH    MI    48461‐9747
DANIEL G MCMASTERS                                929 SALEM ROAD                                                                               MINOR HILL      TN    38473‐5054
DANIEL G MEAD & NORMA JEAN MEAD JT TEN            2129 SUPERIOR AVE                                                                            SOUTH           WV    25303‐2037
                                                                                                                                               CHARLESTON
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DANIEL G MINIER                                 3193 CREEKSIDE DR                                                                             NORTON           OH    44203
DANIEL G MORGAN                                 2 LUKE STREET                                                                                 SO AMBOY         NJ    08879‐2236
DANIEL G MULLINS                                4605 W CURTIS RD                                                                              COLEMAN          MI    48618‐9347
DANIEL G PARSONS                                5432 TIMBERLAND                                                                               SEARS            MI    49679
DANIEL G PEREZ                                  33573 COLGATE DR                                                                              UNION CITY       CA    94587‐3205
DANIEL G RUDE                                   5106 E WILSON RD                                                                              CLIO             MI    48420‐9712
DANIEL G RUTHERFORD & BRENDA J RUTHERFORD JT                                                                                                  FARM ROAD        NY    13796‐1180
TEN 232 POTATO                                                                                                                                LAURENS
DANIEL G SCHULTZ                                11728 OWENS GLEN WAY                                                                          NORTH POTOMAC    MD    20878‐2359
DANIEL G SEPER                                  7353 GOLDENROD DR                                                                             MENTOR O LAKE    OH    44060‐3113
DANIEL G SULLIVAN                               1050 HENRY TERRACE                                                                            LAWRENCEVILLE    GA    30045‐7369
DANIEL G THARP                                  1716 CONTI LANE                                                                               KOKOMO           IN    46902‐6117
DANIEL G THELEN                                 3000 WESTWOOD                                                                                 LANSING          MI    48906‐2865
DANIEL G WALLACE                                1857 EAST SUNBURST LANE                                                                       TEMPE            AZ    85284
DANIEL G WALTMAN                                1563 SQUIRLE HILL RD                                                                          GLENCOE          AR    72539‐9535
DANIEL G ZAMBORSKY & LAURA A ZAMBORSKY JT TEN   24 PERKINS CIRCLE                                                                             BRUNSWICK        OH    44212

DANIEL GALESWICZ II                             29439 E NOTTINGHAM CIR                                                                        WARREN           MI    48092‐4223
DANIEL GANGER                                   16024 MORAN DR                                                                                LINDEN           MI    48451‐8715
DANIEL GAUTHIER                                 2945 GARFIELD                                                                                 WATERFORD        MI    48329‐3135
DANIEL GELET                                    5317 COPELAND AVE NW                                                                          WARREN           OH    44483‐1200
DANIEL GENSLER                                  85 CAMPBELL ST                                                                                NEW HYDE PARK    NY    11040‐1758
DANIEL GINAL                                    2527 KOPER DR                                                                                 STERLING HGTS    MI    48310‐5238
DANIEL GIPE                                     PO BOX 111                                                                                    BEDFORD          IN    47421‐0111
DANIEL GLEN FEENSTRA                            16803 SHREWSBURY CT                                                                           LIVONIA          MI    48154‐3155
DANIEL GM ROBERTS                               10 WINTERSET DRIVE                                                                            ROBBINSVILLE     NJ    08690‐1116
DANIEL GOERSS                                   150 STENZIL STREET                                                                            NORTH            NY    14120‐2610
                                                                                                                                              TONAWANDA
DANIEL GOLDFINGER CUST MICHELLE L GOLDFINGER    14 MEADOWLARK CT                                                                              NOVATO           CA    94947‐3750
UGMA CA
DANIEL GOLDIE                                   139 W OAKWOOD                                                                                 BUFFALO          NY    14214‐2339
DANIEL GOMEZ                                    2909 HILLCREST ST                                                                             LANSING          MI    48911‐2382
DANIEL GOODWIN                                  2393 CHAMPION TRAIL                                                                           TWINBURG         OH    44087‐3213
DANIEL GRACE                                    428 S CHAUNCEY #9                                                                             WEST LAFAYETTE   IN    47906
DANIEL H BONNER                                 4815 COPAS ROAD                                                                               CORUNNA          MI    48817‐9706
DANIEL H BOOKWALTER                             425 BEACON COURT                                                                              GRIFFIN          GA    30223
DANIEL H COMSTOCK                               2418 AURELIUS ROAD                                                                            ONONDAGA         MI    49264‐9724
DANIEL H DEATON & LOIS Y DEATON JT TEN          3106 MUSE LANE                                                                                MC KEESPORT      PA    15131‐2743
DANIEL H DRISCOLL & HARRIET M DRISCOLL JT TEN   C/O H. SEIFERT                      10 HAMPTON ROAD                                           SOUND BEACH      NY    11789

DANIEL H ELEY                                   1932 CEDAR POINT DR                                                                           JANESVILLE       WI    53546‐5364
DANIEL H FEIL                                   2131 SUNSET HWY                                                                               EAST WENATCHEE   WA    98802‐4141
DANIEL H GANG                                   STOCKERAUERSTR 11                   2003 WIESEN                             AUSTRIA
DANIEL H GRANT                                  PO BOX 1359                                                                                   RICHMOND HILL    GA    31324‐1359
DANIEL H HASSELBECK & CYNTHIA M OLDENDICK       6006 CLEVES WARSAW                                                                            CINCINNATI       OH    45233‐4935
HASSELBECK JT TEN
DANIEL H HURST                                  864 BOWMAN ST                                                                                 NILES            OH    44446‐2712
DANIEL H JONES                                  3095 BERKSHIRE MANOR DR                                                                       ALPHARETTA       GA    30022‐5022
DANIEL H KAZMIERCZAK                            495 ISABELLE LN                                                                               PRESCOTT         AZ    86301‐6579
DANIEL H LITOFF                                 3742 N BELL AVE                                                                               CHICAGO          IL    60618
DANIEL H LONG                                   1040 CYPRESS RIDGE PL                                                                         COLUMBUS         OH    43228‐6306
DANIEL H LOPEZ                                  544 STORRS SE                                                                                 GRAND RAPIDS     MI    49507‐2638
DANIEL H MARTIN                                 75 HUNTINGWOOD DR                                                                             E AMHERST        NY    14051‐2162
DANIEL H MC INDOO                               12200 TAYLOR RD                                                                               LAWTONS          NY    14091‐9610
DANIEL H MULLINS                                4711 W PERE MARQUETTE                                                                         COLEMAN          MI    48618‐9408
DANIEL H OTTO & C KAY OTTO JT TEN               16330 E CRYSTAL POINT DRIVE                                                                   FOUNTAIN HILLS   AZ    85268‐8419
DANIEL H OWENS & ADA E OWENS TR OWENS FAMILY    110 STONEGATE COURT                                                                           BEDFORD          IN    47421‐6705
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DANIEL H PECKHAM & JOHN MARK PECKHAM JT TEN        413 DEER LAKE DR                                                                              FT WORTH         TX    76140‐6500

DANIEL H PROULX                                    1112 E BAY SHORE DRIVE                                                                        VIRGINIA BEACH   VA    23451‐3868
DANIEL H REYES                                     9200 W VERMON APT 126                                                                         DETROIT          MI    48209‐1410
DANIEL H STEPHENSON JR                             1501 W COUNTY LINE RD                                                                         GREENWOOD        IN    46142‐5153
DANIEL H STEPPKE                                   3268 W 50TH ST                                                                                CLEVELAND        OH    44102‐5838
DANIEL H SUNG                                      131 N KIMBERLY AVE                  APT 21                                                    YOUNGSTOWN       OH    44515‐1845
DANIEL H SZOTT                                     1540 MAPLERIDGE                                                                               SAGINAW          MI    48604‐1716
DANIEL H TACEY                                     4126 E LAKE ROAD                                                                              CLIO             MI    48420‐9121
DANIEL H VINCKE                                    6845 STRAWBERRY LANE                                                                          CLARKSTON        MI    48348‐2884
DANIEL H WHEELER                                   RTE 2 BOX 12                                                                                  NEBO             WV    25141
DANIEL H WINTER                                    4850 TONAWANDA CRK RD                                                                         NORTH            NY    14120‐9528
                                                                                                                                                 TONAWANDA
DANIEL H WYSZCZELSKI                               907 SIDNEY TERR NW                                                                            PT CHARLOTTE     FL    33948
DANIEL HALL & LAURIE HALL JT TEN                   49534 LEONARD CT                                                                              MACOMB           MI    48044‐1815
DANIEL HALL & LAURIE HALL JT TEN                   49534 LEONARD CT                                                                              MACOMB           MI    48044‐1815
DANIEL HALPINE                                     1139 EASTON RD                      STE B                                                     WILLOW GROVE     PA    19090‐1925
DANIEL HAMPEL                                      196 HERITAGE COURT                                                                            LITTLE SILVER    NJ    07739‐1817
DANIEL HARK                                        54 BENEFIELD PL                                                                               TONAWANDA        NY    14150‐7937
DANIEL HARRELD BANCHIU & GEORGE BANCHIU JT TEN     1900 ALASKAN WAY                    UNIT 316                                                  SEATTLE          WA    98101‐1067

DANIEL HARRY RYE                                   6151 SMITH RD NE                                                                              RAPID CITY       MI    49676‐9105
DANIEL HARTMAN                                     1807 SPRUCE ST                                                                                HAMILTON         NJ    08610‐2234
DANIEL HARVEY & SHIAN‐HUAR ANNE CHEN JT TEN        2801 SEPULVEDA BLVD                 #11                                                       TORRANCE         CA    90505‐2842

DANIEL HASSETT                                     C/O PATRICK STREET                  DURROW COUNTY        LAOIS              IRELAND
DANIEL HAYDEN                                      5037 S STATE RD 75                                                                            JAMES TOWN       IN    46147‐9269
DANIEL HELTON                                      9281 NEW HARMONY RD                                                                           MARTINSVILLE     IN    46151‐8255
DANIEL HERNANDEZ                                   8306 PARK AVE                                                                                 ALLEN PK         MI    48101‐1736
DANIEL HIBEN                                       PO BOX 3344                                                                                   CENTERLINE       MI    48015‐0344
DANIEL HOGAN JR                                    195‐10 104TH AVE                                                                              HOLLIS           NY    11412‐1102
DANIEL HOLBROOK                                    923 SOMERSET LANE                                                                             FLINT            MI    48503‐2941
DANIEL HOLBROOK & LUCY D HOLBROOK JT TEN           923 SOMERSET LANE                                                                             FLINT            MI    48503‐2941
DANIEL HOM & SHIRLA HOM JT TEN                     1263 84TH ST                                                                                  BROOKLYN         NY    11228‐3023
DANIEL HORANEY                                     10001 W FRONTAGE RD SP 98                                                                     SOUTH GATE       CA    90280‐5401
DANIEL HORATH                                      PO BOX 1632                                                                                   RIVERTON         WY    82501‐1632
DANIEL HORODYSKY                                   4205 DONALD STREET                                                                            EUGENE           OR    97405
DANIEL HUFFMAN & ELFRIEDE HUFFMAN JT TEN           46572 DONAHUE                                                                                 MT CLEMENS       MI    48044‐3426
DANIEL I HOLLIDAY                                  146 WOODS DRIVE                                                                               MARIETTA         GA    30060‐1785
DANIEL I KING                                      21101 RIDGEVIEW RD                                                                            LAGO VISTA       TX    78645‐4617
DANIEL IZYK                                        115 AZALEA TRL                                                                                LEESBURG         FL    34748‐8825
DANIEL J ADAMCHECK                                 5 BOULDER CREEK RD                                                                            NEWTOWN          CT    06470‐5703
DANIEL J ALBANESE                                  419 W SENEACQUOTEEN RD                                                                        PRIEST RIVER     ID    83856‐9464
DANIEL J ALLARD & NICOLE C ALLARD JT TEN           9059 RIVERVIEW CT                                                                             FLUSHING         MI    48433‐9303
DANIEL J ARMSTRONG                                 323 PARK AVE                                                                                  LAKE ORION       MI    48362‐2346
DANIEL J ARNOLD                                    3815 S CLAYBRIDGE DR                                                                          BLOOMINGTON      IN    47401‐4789
DANIEL J ASMONDY                                   2414 CUMMINGS AVE                                                                             FLINT            MI    48503‐3544
DANIEL J AVERILL & PATRICIA M AVERILL & DANIEL P   3711 GREENWAY AVE                                                                             ROYAL OAK        MI    48073‐2290
AVERILL JT TEN
DANIEL J AVERILL & PATRICIA M AVERILL & DIANE A    3711 GREENWAY AVE                                                                             ROYAL OAK        MI    48073‐2290
AVERILL JT TEN
DANIEL J AVERILL & PATRICIA M AVERILL & DORIS A    3711 GREENWAY AVE                                                                             ROYAL OAK        MI    48073‐2290
AVERILL JT TEN
DANIEL J BARLAGE                                   PO BOX 2222                                                                                   RIVERVIEW        MI    48193‐1222
DANIEL J BARNES JR                                 18477 KENTUCKY                                                                                DETROIT          MI    48221‐2029
DANIEL J BATISTE                                   9101 WHITESTONE CT                                                                            CULPEPER         VA    22701‐8187
DANIEL J BAUDER                                    11 STRAUSS WY                                                                                 NEWARK           DE    19702‐3014
DANIEL J BEACHNER                                  3407 DEWEY AVE                                                                                ROCHESTER        NY    14616‐3240
DANIEL J BEARD                                     407 S RIDGE ROAD                                                                              MUNCIE           IN    47304‐4253
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DANIEL J BEDNARSKI                                5607 FAIRWAY DR                                                                                VASSAR            MI    48768‐8705
DANIEL J BENEFIEL                                 603 GREENLEE DR                                                                                INDIANAPOLIS      IN    46234‐2236
DANIEL J BIRCHFIELD                               1796 E HIGHLAND ST                                                                             AURORA            MO    65605
DANIEL J BLACK                                    671 BRANDON                                                                                    WESTLAND          MI    48185‐3208
DANIEL J BLAND EX UW WILBUR BLAND                 11726 GREENFIELD DRIVE                                                                         ORLAND PARK       IL    60467‐7573
DANIEL J BLIK                                     5776 EQUADOR WAY                                                                               BUENA PARK        CA    90620
DANIEL J BOCKLAGE                                 6616 GRAND RIDGE DR                                                                            EL PASO           TX    79912‐7463
DANIEL J BOULT                                    1960 39TH STREET SW                                                                            WYOMING           MI    49519
DANIEL J BRAMLAGE                                 7223 WILSON ST                                                                                 DEXTER            MI    48130
DANIEL J BRANTNER                                 4806 ARTHURS DR                                                                                EDGERTON          WI    53534‐9404
DANIEL J BRAVO                                    5458 JONATHON DR                                                                               NEWARK            CA    94560‐2506
DANIEL J BUECHEL                                  4614 ROYAL COURT                                                                               ALLISON PARK      PA    15101‐1052
DANIEL J BUGNACKI                                 15111 OLD HAM ST                                                                               TAYLOR            MI    48180‐5069
DANIEL J BUTALA & ELINORA M BUTALA JT TEN         11805 LAMBERT AVE                                                                              EL MONTE          CA    91732‐2029
DANIEL J CARRIG                                   3621 SOUTH 96TH STREET                                                                         OMAHA             NE    68124‐3733
DANIEL J CARTER                                   411 MAIN ST                                                                                    OGDENSBURG        NY    13669‐1122
DANIEL J CASEY                                    216 SOMERWORTH DR                                                                              ROCHESTER         NY    14626‐3640
DANIEL J CAVENEY GENERAL MOTORS CORPORATION       1191 SPRINGWOOD LANE                                                                           ROCHESTER HILLS   MI    48309‐2602

DANIEL J CHAPMAN                                  949 WINDY MEADOW DR                                                                            PLANO             TX    75023‐4952
DANIEL J CHASE & LUCILLE E CHASE JT TEN           803 CARROLL CREEK RD                                                                           JOHNSON CITY      TN    37601‐2918
DANIEL J CIAPA                                    1113 LOVEJOY ST                                                                                BUFFALO           NY    14206‐1100
DANIEL J CICCONE                                  402 SEBRING COURT                                                                              BELMONT           NC    28012‐8870
DANIEL J CLARK & ANNA MAE CLARK JT TEN            28 GREENBURY RD                                                                                POTTSVILLE        PA    17901‐8814
DANIEL J CLARK & REGINA A CLARK JT TEN            133‐59 117 STREET                                                                              SO OZONE PARK     NY    11420‐3126
DANIEL J CLOSE                                    12315 BIRCH RUN ROAD                                                                           BIRCH RUN         MI    48415‐9472
DANIEL J COFFIELD CUST ANDREW N COFFIELD UGMA     1336 KINGS POINTE RD                                                                           GRAND BLANC       MI    48439‐8615
MI
DANIEL J CRADDOCK                                 7159 AKRON RD                                                                                  LOCKPORT          NY    14094‐6238
DANIEL J DAILEY                                   334 BURROUGHS AVE                                                                              FLINT             MI    48507‐2709
DANIEL J DELANEY & CAROL A DELANEY JT TEN         19 ISLAND POND RD                                                                              ATKINSON          NH    03811‐2130
DANIEL J DIXON                                    97 LORDAN DRIVE                                                                                CHEEKTOWAGA       NY    14227‐3431
DANIEL J DOBRUSE                                  1130 WENONAH                                                                                   OAK PARK          IL    60304‐1815
DANIEL J DOLAN                                    7529 MANNHEIM CT                                                                               HUDSON            OH    44236‐4602
DANIEL J DOWD                                     4838 E SHAFFER RD                                                                              MIDLAND           MI    48642‐9743
DANIEL J DRAPIEWSKI EX EST JOSEPH DRAPIEWSKI      C/O EQUISEARCH SERVICES INC          11 MARTINE AVE SUITE 665                                  WHITE PLAINS      NY    10606

DANIEL J DROPPS                                   755 LEGAULT CT                                                                                 ROCHESTER HLS     MI    48307‐2442
DANIEL J DUCKRO                                   4395 LAC LAMEN DR                                                                              DAYTON            OH    45458‐5401
DANIEL J DUMAS                                    4685 E STATE RD                                                                                HALE              MI    48739‐8101
DANIEL J DUVELIUS & JEANNE A DUVELIUS JT TEN      10442 SNAPPER COURT                                                                            INDIANAPOLIS      IN    46256‐9772
DANIEL J ELIZONDO                                 3336 S VASSAR RD                                                                               BURTON            MI    48519‐1673
DANIEL J ELSENHEIMER                              145 GILEAD LN                                                                                  STATESVILLE       NC    28625‐2792
DANIEL J ERNST                                    641 W CARSON                                                                                   MUSTANG           OK    73064‐3545
DANIEL J FICHTER                                  2630 HONEY CREEK RD SW                                                                         CONYERS           GA    30094‐3457
DANIEL J FILICICCHIA                              15 TYLER DR                                                                                    LONDONDERRY       NH    03053‐2503
DANIEL J FISHER                                   1519 SHERWOOD DRIVE                                                                            BOWLING GREEN     KY    42103‐1435
DANIEL J FISHER & VIRGINIA E FISHER JT TEN        1519 SHERWOOD                                                                                  BOWLING GREEN     KY    42103‐1435
DANIEL J FOLTZ & SUSAN D FOLTZ JT TEN             311 W LONG LAKE DR                                                                             HARRISON          MI    48625‐8718
DANIEL J FOSTER                                   44 CANYON HILLS PL                                                                             SAN RAMON         CA    94582‐4628
DANIEL J FOUNTAIN                                 7 BEAR ST                                                                                      MIDDLETOWN        CT    06457‐4550
DANIEL J FREDERICK & SARAH A FREDERICK JT TEN     71 COVE DR                                                                                     NEWNAN            GA    30263‐5991

DANIEL J FRESHOUR JR                              29 W SOUTH ST                                                                                  W ALEXANDRIA      OH    45381‐1116
DANIEL J FULLER                                   4484 BRADFORD DR                                                                               SAGINAW           MI    48603‐3040
DANIEL J GARDINER                                 PO BOX 1112                                                                                    RADFORD           VA    24143‐1112
DANIEL J GEHRMAN                                  310 SHADOWOOD DR                                                                               SIMPSONVILLE      SC    29681‐4524
DANIEL J GERING                                   1531 ELECTRIC AVE                                                                              LINCOLN PARK      MI    48146‐1911
DANIEL J GILL                                     708 BOWEN ST                                                                                   LONGMONT          CO    80501‐4414
                                              09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DANIEL J GILL                                       25 SOUTH 21 STREET                                                                              SAN JOSE         CA    95116‐2220
DANIEL J GILLES                                     6173 OAK PARK TRAIL                                                                             HASLETT          MI    48840‐8985
DANIEL J GILSON                                     12874 ROUGET RD                                                                                 DEERFIELD        MI    49238‐9782
DANIEL J GOLDBERG                                   601 LONGVIEW DR                                                                                 SUGARLAND        TX    77478‐3749
DANIEL J GONZALES                                   3545 CATTERFIELD LANE                                                                           SAGINAW          MI    48601‐7123
DANIEL J GOUGH                                      1303 MILLSBORO RD                     APT E                                                     MANSFIELD        OH    44906‐4119
DANIEL J GRIESHABER                                 1458 COVINGTON WOODS LN                                                                         LAKE ORION       MI    48360‐1215
DANIEL J GRUBER                                     12456 S LINDEN RD                                                                               LINDEN           MI    48451‐9455
DANIEL J GRZYBOWSKI                                 1418 STONEGATE RD                                                                               LA GRANGE PARK   IL    60526‐1047
DANIEL J GUGLIUZZA                                  6381 ERNA DR                                                                                    LOCKPORT         NY    14094‐6523
DANIEL J HAGGERTY                                   189‐14 STATION ROAD                                                                             FLUSHING         NY    11358‐2832
DANIEL J HALEY                                      3019 DRUVOR ST                                                                                  IDAHO FALLS      ID    83402‐5165
DANIEL J HARRIS                                     602 S MAIN STREET APT 299                                                                       CRESTVIEW        FL    32536
DANIEL J HARRIS                                     5617 KECK RD                                                                                    LOCKPORT         NY    14094‐9307
DANIEL J HEALY JR                                   7559 BISHOPS WAY                                                                                FRANKLIN         WI    53132‐1844
DANIEL J HEBERT                                     BOX 42                                MAIDSTONE ON                            N0R 1K0 CANADA
DANIEL J HEITZMAN                                   BOX 12                                                                                          CONTINENTAL      OH    45831‐0012
DANIEL J HENDERSON                                  30140 ANNAPOLIS TERRACE                                                                         INKSTER          MI    48141‐2856
DANIEL J HERMER                                     C/O: CANADA 02                        P O BOX 9022                                              WARREN           MI    48090
DANIEL J HOFFMAN                                    4129 SW 325TH                                                                                   FEDERAL WAY      WA    98023‐2427
DANIEL J HOGAN JR                                   895 NEW BRIDGE RD                                                                               AIKEN            SC    29805‐8528
DANIEL J HOLAHAN                                    212 NORTH CREEK CROSSING                                                                        ROCHESTER        NY    14612‐2742
DANIEL J HOLUBA                                     BOX 1697                                                                                        CLEARWATER       FL    33757‐1697
DANIEL J HORGEA & JEAN L HORGEA JT TEN              24341 ROCKFORD                                                                                  DEARBORN         MI    48124‐1329
DANIEL J HORRIGAN                                   44 NEWMAN ST                                                                                    LACKAWANNA       NY    14218
DANIEL J HURTH                                      304 SCHOOL RD                                                                                   MILWAUKEE        WI    53217‐4230
DANIEL J JAJKOWSKI                                  135 KETTERING DR                                                                                TN OF TON        NY    14223‐2228
DANIEL J JAKIMOW                                    9394 OAKMONT DR                                                                                 GRAND BLANC      MI    48439‐9513
DANIEL J JANUS                                      15000 ROOSEVELT HWY                                                                             KENT             NY    14477‐9779
DANIEL J JAROSEK                                    10430 COLWORTH PL                                                                               KEITHVILLE       LA    71047‐9063
DANIEL J JENARAS CUST LYDIA JENARAS UGMA MI         2330 LAKE ANGELUS LN                                                                            LAKE ANGELUS     MI    48326‐1008
DANIEL J KAELIN                                     3258‐21 VIA MARIN                                                                               LA JOLLA         CA    92037‐2940
DANIEL J KANE                                       615 SOUTH BLVD                        UNIT A                                                    OAK PARK         IL    60302‐4606
DANIEL J KARWATH                                    17733 1ST ST E                                                                                  REDINGTON SHORES FL    33708‐1217

DANIEL J KENNEDY                                    466 ORATIOT ST                                                                                  HEMLOCK          MI    48626‐9615
DANIEL J KIMMEL                                     309 W HIGH ST                                                                                   HUNTINGTON       IN    46750‐3354
DANIEL J KLOTZ                                      6605 CHESTER AVE                                                                                HODGKINS         IL    60525‐7610
DANIEL J KOBUS JR                                   5667 BUSINESS 20 W                                                                              FREEPORT         IL    61032‐8743
DANIEL J KOWALEWSKI                                 337 BEACHWAY ST                                                                                 WHITMORE LAKE    MI    48189‐9590
DANIEL J KRENTZ                                     67‐96 CLYDE ST                                                                                  FOREST HILLS     NY    11375‐4111
DANIEL J KRZESINSKI & DOLORES M KRZESINSKI JT TEN   801 TINKHAM RD                                                                                  ATTICA           NY    14011‐9546

DANIEL J LAIRD & DIANE LAIRD JT TEN                 4784 MARIAN                                                                                     WARREN           MI    48092‐2589
DANIEL J LAMB                                       85 BRADLEY AVENUE                                                                               HAMDEN           CT    06514
DANIEL J LAMM                                       8230 COUNTY ROAD                                                                                EAST AMHERST     NY    14051‐2334
DANIEL J LANGENDERFER                               11256 BANCORFT STREET                                                                           SWANTON          OH    43558‐8913
DANIEL J LARABELL                                   23298 MYSTIC FRST                                                                               NOVI             MI    48375‐4014
DANIEL J LAVERDIERE                                 3352 HOPCROFT DR                                                                                METAMORA         MI    48455‐9384
DANIEL J LAWLESS                                    890 MARSHALL ST                                                                                 PORTLAND         MI    48875‐1374
DANIEL J LEARY                                      518 THORNELL RD                                                                                 PITTSFORD        NY    14534‐9741
DANIEL J LECHOTA                                    10228 PRIMROSE DR                                                                               DAVISON          MI    48423‐7908
DANIEL J LECKVARCIK                                 41177 DUNBOYNE CIR                                                                              CLINTON TOWNSHIP MI    48038‐1852

DANIEL J LEE                                        1015 NOTTINGHAM LN NE                                                                           ATLANTA          GA    30319‐6002
DANIEL J LEE JR                                     17933 SYLVIA DR                                                                                 BROOK PARK       OH    44142‐1427
DANIEL J LENNON                                     892 TROY SCHENECTADY RD               STE 3                                                     LATHAM           NY    12110‐1635
DANIEL J LEWIS                                      142 MASTRO DRIVE                                                                                FRANKLIN         MA    02038‐4120
DANIEL J LILLARD                                    4203 S CHIPPENDALE DR                                                                           BELOIT           WI    53511‐8801
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DANIEL J LOMBARDO                                   627 S VELARE ST 31                                                                              ANAHEIM            CA    92804‐3348
DANIEL J LOSBY                                      390 E HIGH POINT RD                                                                             PEORIA             IL    61614‐3039
DANIEL J LOVISA                                     7178 VISTA                                                                                      SHELBY TOWNSHIP    MI    48316‐5863

DANIEL J LYNCH                                      1360 MAPLEWOOD ST NE                                                                            WARREN             OH    44483‐4164
DANIEL J MAC PHEE & LOIS A MAC PHEE JT TEN          BOX 13                                                                                          BARRINGTON         RI    02806‐0013
DANIEL J MACAK                                      1468 SUNFLOWER WAY                                                                              HUDSONVILLE        MI    49426‐8420
DANIEL J MAHER                                      2 AMBUSH LA                                                                                     CHURCHVILLE        NY    14428‐9222
DANIEL J MAREK                                      5702 W 82ND PL                                                                                  BURBANK            IL    60459‐2021
DANIEL J MARKU                                      8014 E US HIGHWAY 33                                                                            CHURUBUSCO         IN    46723‐9701
DANIEL J MARTIN                                     4570 LOYOLA DRIVE                                                                               MCHENRY            IL    60050‐0509
DANIEL J MARTIN                                     6554 CROSS CREEK TRL                                                                            BRECKSVILLE        OH    44141‐3137
DANIEL J MARTINEK                                   BOX 85                                                                                          HAWK POINT         MO    63349‐0085
DANIEL J MARTINEZ                                   3027 STEVENSON ST                                                                               SANTA CLARA        CA    95051‐5506
DANIEL J MATTHEWS                                   4126 HELENA AVE                                                                                 YOUNGSTOWN         OH    44512‐1205
DANIEL J MC CUE & VIRGINIA K MC CUE JT TEN          97 REIST ST                                                                                     BUFFALO            NY    14221‐5321
DANIEL J MC CUSKER                                  717 ARNOLD ST                                                                                   PHILA              PA    19111‐1326
DANIEL J MC GINTY                                   311 PARSONS AVE                                                                                 BALA CYNWYD        PA    19004‐2816
DANIEL J MC GLASHAN                                 20651 S ACORN RIDGE DR                                                                          FRANKFORT          IL    60423‐8143
DANIEL J MCINTYRE                                   199 KILBURN RD SO                                                                               GARDEN CITY SO     NY    11530‐5628
DANIEL J MCMILLEN                                   12 WINDSOR DR                                                                                   GREENVILLE         PA    16125‐9767
DANIEL J MCQUEEN                                    4159 MUIRFIELD LOOP                                                                             LAKE WALES         FL    33859‐5723
DANIEL J MIHOCES                                    1026 MARIPAT DR                                                                                 SOUTH PARK         PA    15129
DANIEL J MOLLOY                                     125 HARNESS TRAIL                                                                               ROSWELL            GA    30076‐1056
DANIEL J MONVILLE SR                                4155 W ELMWOOD RD                                                                               AKRON              MI    48701‐9703
DANIEL J MOSER                                      4324 E STREET ROAD 124                                                                          BLUFFTON           IN    46714
DANIEL J MULLANE III                                7441 DULANY DR                                                                                  MC LEAN            VA    22101‐2716
DANIEL J MURPHY                                     65 WALNUT ST                                                                                    OAKLAND            NJ    07436‐2615
DANIEL J MURPHY & JOAN MURPHY JT TEN                5840 S FOREST ST                                                                                GREENWOOD VLG      CO    80121‐2139

DANIEL J MURPHY & MRS RAE ELLEN MURPHY JT TEN       65 WALNUT ST                                                                                    OAKLAND            NJ    07436‐2615

DANIEL J MURRAY & BETSY J MURRAY JT TEN             98 MACKERLEY RD                                                                                 NEWTON           NJ      07860‐5456
DANIEL J NELSON                                     107 HIGH VIEW TERRACE                                                                           WEST SENECA      NY      14224
DANIEL J NICELY                                     5203 GENTLE WIND RD                                                                             COLORADO SPRINGS CO      80922‐2363

DANIEL J NIEC                                       11416 N VASSAR RD                                                                               OTISVILLE          MI    48463‐9427
DANIEL J NYQUIST & LAURIE E NYQUIST JT TEN          43776GUNNISON                                                                                   CLINTON TWP        MI    48038
DANIEL J O'BRIEN                                    1818 ARGOSY COURT                                                                               BLOOMFIELD HILLS   MI    48302‐2500

DANIEL J O'BRIEN & ELEANOR M O'BRIEN JT TEN         48 HALF HOLLOW RD                                                                               COMMACK            NY    11725‐1108
DANIEL J O'CONNOR                                   124 LIBERTY LANE                                                                                WEST SENECA        NY    14224‐3737
DANIEL J OCONNELL                                   2227 CHESTNUT ROAD                                                                              YORK               PA    17404‐4111
DANIEL J OHEA                                       7 OPAL ST                                                                                       HOLBROOK           NY    11741‐4709
DANIEL J OLSON                                      W330N6309 HASSLINGER DR                                                                         NASHOTAH           WI    53058
DANIEL J PACKIS TR PACKIS A‐B TRUST UA 01/23/00     25777 YEOMAN DR                                                                                 WESTLAKE           OH    44145‐4745

DANIEL J PAHL                                       28489 BOWMAN RD                                                                                 DEFIANCE           OH    43512‐8975
DANIEL J PARADA                                     9880 MOUNTAIN RD                                                                                MIDDLEPORT         NY    14105‐9648
DANIEL J PEGG                                       8776 CHARBANE                                                                                   WHITE LAKE         MI    48386‐4013
DANIEL J PEREZ                                      11827 DERBYSHIRE DR                                                                             TAMPA              FL    33626‐2643
DANIEL J PETCOFF & ALTA J PETCOFF JT TEN            1805 PLUTO DR                                                                                   LAS VEGAS          NV    89108‐2732
DANIEL J PICKLO                                     8532 ROYAL WOODS DRIVE                                                                          CLARKSTON          MI    48348‐3497
DANIEL J PLOEG & PATRICIA A PLOEG JT TEN            829 BASSETT LAKE RD                                                                             MIDDLEVILLE        MI    49333
DANIEL J POLIDAN                                    12169 JEFFERS LANE                                                                              FENTON             MI    48430‐2434
DANIEL J POPMA                                      2505 EAST LAKE COURT                                                                            GRANDVILLE         MI    49418‐1123
DANIEL J POZAREK & SUDIE K POZAREK JT TEN           503 GREENWAY DR                                                                                 DAVISON            MI    48423‐1232
DANIEL J PURMAN                                     3190 JULIE DRIVE                                                                                REESE              MI    48757‐9556
DANIEL J QUEEN                                      RR1 BOX 447A                                                                                    BONE CAVE          TN    38581‐9622
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Name                                                Address1                              Address2             Address3           Address4          City             State Zip

DANIEL J RACETTE                                    1565 N CHEVROLETE AVE                                                                           FLINT            MI    48504‐3166
DANIEL J REARDON III                                9 MT VERNON DR                                                                                  CLAYMONT         DE    19703
DANIEL J REED                                       9222 SHARP RD                                                                                   SWARTZ CREEK     MI    48473‐9117
DANIEL J REEDER                                     PMB 202                               3350 E 7TH ST                                             LONG BEACH       CA    90804‐5003
DANIEL J REID & MARGARET C REID JT TEN              1873 COUNTRY PL                                                                                 OJAI             CA    93023‐4144
DANIEL J RICHMOND                                   1 SAMOSET RD                                                                                    WORCESTER        MA    01604‐3927
DANIEL J RICHTER                                    7060 S LINDEN ROAD                                                                              FENTON           MI    48430‐9324
DANIEL J RIZZONELLI                                 2730 FIELD POST CT                                                                              HILLIARD         OH    43026‐9501
DANIEL J ROSSI JR & RUBY M ROSSI TR ROSSI LIVING    41 OVERLOOK AVE                                                                                 BASKING RIDGE    NJ    07920‐2660
TRUST UA 11/04/04
DANIEL J ROTHWELL                                   193 HIGHLAND DR                                                                                 ROCKFORD         MI    49341‐1121
DANIEL J RUSSO                                      334 ALLENVIEW DR                                                                                MECHANICSBURG    PA    17055‐6149
DANIEL J RYBSKI                                     5258 S MCVICKER AVE                                                                             CHICAGO          IL    60638‐1425
DANIEL J SAILOR                                     60138 S US HIGHWAY 131                                                                          THREE RIVERS     MI    49093‐8270
DANIEL J SALAK                                      421 VALLEY MEADOW CI A1                                                                         REISTERSTOWN     MD    21136‐1518
DANIEL J SAVAGE                                     907 SO 16TH ST                                                                                  ELWOOD           IN    46036‐2408
DANIEL J SCHNEIDER                                  2414 LYMAN                                                                                      LANSING          MI    48912‐3420
DANIEL J SCIOLINO                                   1408 PLANTING CT                                                                                VIRGINIA BEACH   VA    23453‐1913
DANIEL J SEIGHMAN                                   6024 FOREST RIDGE                                                                               NORTH OLMSTED    OH    44070‐4120
DANIEL J SENKO                                      2630 LOOPRIDGE DR                                                                               ORANGE PARK      FL    32065‐6278
DANIEL J SEWELL                                     10366 ANDERSONVILLE RD                                                                          DAVISBURG        MI    48350‐3101
DANIEL J SHARP                                      6932 W CRANDALL                                                                                 WORTH            IL    60482‐1431
DANIEL J SIMMONDS                                   467 SIMMONDS DR                                                                                 OTISVILLE        MI    48463‐9749
DANIEL J SMITH                                      605 33RD ST NE                                                                                  CEDAR RAPIDS     IA    52402‐4213
DANIEL J SPRINGSTEEN                                125 BEECHER ST                                                                                  OTISVILLE        MI    48463
DANIEL J SPURR                                      175 WHITE RD                                                                                    BROCKPORT        NY    14420‐9749
DANIEL J STAINTON                                   7255 S FORK DR                                                                                  SWARTZ CREEK     MI    48473‐9759
DANIEL J STEVENS & PAMELA C STEVENS JT TEN          5314 KNIGHTSBRIDGE RD                                                                           MADISON          WI    53714‐3422
DANIEL J STREITFERDT                                4363 RAMBLER AVENUE                                                                             NEWTON FALLS     OH    44444‐1131
DANIEL J SULLIVAN                                   155 WARD PLACE                                                                                  SO ORANGE        NJ    07079‐2516
DANIEL J SULLIVAN & MRS FRANCES Z SULLIVAN JT TEN   6 DIAMOND DR                                                                                    ENFIELD          CT    06082‐5605

DANIEL J SWAIN & BARBARA SWAIN JT TEN               5546 MT ACARA DR                                                                                SAN DIEGO        CA    92111‐4010
DANIEL J TALBOT                                     4132 FAIRLAKE LN                      APT E                                                     GLEN ALLEN       VA    23060‐2709
DANIEL J TAYLOR                                     1873 MILLBROOK RD                                                                               GROVE CITY       PA    16127‐7201
DANIEL J THELEN                                     13200 SHADYBROOK LANE                                                                           DE WITT          MI    48820‐9292
DANIEL J THIBAUT                                    PO BOX 1002                                                                                     HOUSTON          TX    77251‐1002
DANIEL J THOMAS                                     514 BRAD AVE                                                                                    ALBERTVILLE      AL    35950‐2184
DANIEL J TIMM                                       2740 COLGATE CT SW                                                                              WYOMING          MI    49509‐3168
DANIEL J TIMM & ANITA M TIMM JT TEN                 2740 COLGATE CT SW                                                                              WYOMING          MI    49509‐3168
DANIEL J TINDOL JR                                  2700 ELIZABETH DR                                                                               BROWNWOOD        TX    76801‐5724
DANIEL J TOBIN                                      PO BOX 192                                                                                      MOSCOW MILLS     MO    63362‐0192
DANIEL J TONER                                      4117 DOERR RD                                                                                   CASS CITY        MI    48726‐9309
DANIEL J TRIANDAFILOU                               46 ONEIDA AVE                                                                                   WORCESTER        MA    01606‐1636
DANIEL J TRUHAN                                     7841 BROOKWOOD S E                                                                              WARREN           OH    44484‐1544
DANIEL J URECHE                                     18550 45TH AVE                                                                                  BARRYTON         MI    49305‐9732
DANIEL J VALKO & MARIE VALKO JT TEN                 699 DE SOTA PL                                                                                  PONTIAC          MI    48342‐1619
DANIEL J VENZUCH                                    4264 W ELDER RD                                                                                 MANCELONA        MI    49659‐7838
DANIEL J WALLS                                      808 MAIN ST                                                                                     OCONTO           WI    54153‐1748
DANIEL J WEGESIN                                    4901 S EDGEWOOD DR                                                                              MUNCIE           IN    47302‐9475
DANIEL J WEGIENKA                                   960 COLDSPRING                                                                                  NORTHVILLE       MI    48167‐1082
DANIEL J WESTERFIELD                                1121 W 1300 SO                                                                                  SALT LAKE CITY   UT    84104‐2071
DANIEL J WIESE                                      4106 BENSON RD                                                                                  CADILLAC         MI    49601‐9306
DANIEL J WILLIAMS                                   5801 78TH PL NE                                                                                 MARYSVILLE       WA    98270‐3937
DANIEL J WINQUIST & DEBRA WINQUIST JT TEN           36870 N JAMES DR                                                                                LAKE VILLA       IL    60046‐9359
DANIEL J WRAY                                       5312 EAST FLETCHER AVE                                                                          INDIANAPOLIS     IN    46219‐7019
DANIEL J ZEMITES                                    610 PARKSIDE N W                                                                                GRAND RAPIDS     MI    49544‐3413
DANIEL JAMES CALLAN                                 34 CALLINGWOOD DR                                                                               ROCHESTER        NY    14621‐1013
DANIEL JAMES GUTTMAN                                2737 DEVONSHIRE PLACE N W                                                                       WASHINGTON       DC    20008‐3479
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DANIEL JAMES HAYMOND CUST GABRIELLE I HAYMOND     41810 FRIARTUCK DR                                                                              MONTGOMERY      TX    77316‐3708
UTMA TX
DANIEL JAMES HURRY                                2084 DELANEY STREET                                                                             BURTON          MI    48509‐1023
DANIEL JAMES ROGERS                               10045 INDIGO TRAIL NORTH                                                                        GRANT           MN    55115‐2157
DANIEL JASON WIBERT                               8635 W BEARD RD                                                                                 PERRY           MI    48872‐8114
DANIEL JEFFREY SHAPIRO                            5908 JOHNS WOOD DR                                                                              PLANO           TX    75093
DANIEL JEREMIAH SPILLMAN                          2655 W RICE ST                                                                                  CHICAGO         IL    60622
DANIEL JOE POLLETT                                2208 N OLD TOWNE LN                                                                             MUNCIE          IN    47304‐9559
DANIEL JOHN ABRASHOFF                             6464 S ROUTT ST                                                                                 LITTLETON       CO    80127‐5852
DANIEL JOHN MC NAMARA                             100 LOGAN LANE                                                                                  WYCKOFF         NJ    07481‐3430
DANIEL JOHN WNEK                                  417 STUART CIRCLE                                                                               ANDERSON        IN    46012‐3860
DANIEL JOSEPH CLIFFORD                            NEW PARK LODGE                       COBH                 CO CORK             IRELAND
DANIEL JOSEPH GAFFKA TR DANIEL JOSEPH GAFFKA      1422 E HIBMA RD                                                                                 MARION          MI    49665‐8164
TRUST NO 1UA 10/08/92
DANIEL JOSEPH LABELLE                             214 S WEBSTER AVE 1                                                                             GREEN BAY       WI    54301‐4440
DANIEL JOSEPH MILLER                              4879 YELLOW PINE LN                                                                             KALAMAZOO       MI    49004‐3726
DANIEL JOSEPH ONEILL                              30640 RAPIDS HOLW                                                                               GRAVOIS MILLS   MO    65037‐5121
DANIEL JOSEPH TOREK                               17515 MADISON AVE                    APT 303                                                    LAKEWOOD        OH    44107‐3574
DANIEL JOSEPH VANDERLOOP                          317 W 13TH ST                                                                                   KAUKAUNA        WI    54130‐3159
DANIEL JOSEPH YOUNG                               3796 W PRATHER RD                                                                               ELLETTSVILLE    IN    47429‐9507
DANIEL JUNIOR MICHAEL                             113 WILLOW LN                                                                                   ANDERSON        IN    46012‐1025
DANIEL JUSTIN MAX                                 53 CHERRY DR E                                                                                  PLAINVIEW       NY    11803‐2016
DANIEL K BEAUDRY                                  76 WOODBURY COURT                                                                               CLARKSBORO      NJ    08020
DANIEL K BENNETT                                  125 TANGLEWOOD DRIVE                                                                            ANDERSON        IN    46012‐1056
DANIEL K BURKE                                    10 WILSON AVE                                                                                   MASSENA         NY    13662‐2516
DANIEL K CALLAHAN                                 9404 SEYMOUR RD                                                                                 MONTROSE        MI    48457‐9122
DANIEL K FISHER                                   1104 CO ROUTE 23                                                                                CONSTANTIA      NY    13044‐3714
DANIEL K FOSTER                                   77 NAOMEE CR                         LONDON ON                                N6H 3T3 CANADA
DANIEL K FOSTER                                   77 NAOMEE CR                         LONDON ON                                N6H 3T3 CANADA
DANIEL K FOX & LINDA FOX JT TEN                   919 COLUMBIA AVE                                                                                FORT WAYNE      IN    46805‐4307
DANIEL K FREYMEYER & LUCINDA H FREYMEYER JT TEN   PO BOX 128                                                                                      GRASONVILLE     MD    21638‐0128

DANIEL K GERSLEY                                  18 MONTCALM DRIVE                                                                               ROCHESTER       NY    14617‐1718
DANIEL K HARDY                                    7884 SADSBURY DR                                                                                W BLOOMFIELD    MI    48322‐5017
DANIEL K HELTON                                   806 BROOKWOOD DRIVE                                                                             TRENTON         OH    45067‐1810
DANIEL K HORVATH & ALICE S HORVATH JT TEN         11694 RIVERSIDE DR E                 WINDSOR ON                               N8P 1A6 CANADA
DANIEL K JAMISON                                  88 CHARBONIER BLUFFS DR                                                                         FLORISSANT      MO    63031‐5659
DANIEL K KUK                                      10425 W TITTABAWASSEE RD                                                                        FREELAND        MI    48623
DANIEL K LOWERY                                   8555 COBBLESTONE CT                                                                             PORTLAND        MI    48875‐1885
DANIEL K MARTIN                                   PO BOX 273                                                                                      WHEATLAND       MO    65779‐0273
DANIEL K MCKIE                                    PMB 20054                            PO BOX 2577                                                PENSACOLA       FL    32513
DANIEL K PHELPS                                   24548 HAMPTON HILL                                                                              NOVI            MI    48375‐2617
DANIEL K PICKRELL                                 524 WHITE OAK TR                                                                                SPRING HILL     TN    37174‐7540
DANIEL K SIKTBERG                                 829 S 500 WEST                                                                                  ANDERSON        IN    46011‐9122
DANIEL KENNETH NELSON                             62 WENDOVER RD                                                                                  YONKERS         NY    10705‐2547
DANIEL KERL                                       BOX 68                                                                                          LANCASTER       NY    14086‐0068
DANIEL KING                                       420 SPENCER RD                       THORNLIE             WESTERN AUSTRALIA   6108 WA AUSTRIA
DANIEL KLINE                                      1404 N RICHMOND AVE                                                                             HANFORD         CA    93230‐2735
DANIEL KOEHLER                                    31740 RD N                                                                                      HARVARD         NE    68944‐3118
DANIEL KONDEJ                                     10 CIDER MILL RD                                                                                BURLINGTON      CT    06013‐1622
DANIEL KONOPACKI                                  6208 OLD BROOK DRIVE                                                                            FORT WAYNE      IN    46835‐2440
DANIEL KOZA                                       1836 CICOTTE                                                                                    LINCOLN PARK    MI    48146‐1307
DANIEL KRIVIT                                     111 3RD AVE                          APT 9K                                                     NEW YORK        NY    10003‐5521
DANIEL KUKANIC & ARLENE E KUKANIC JT TEN          3254 E OQUENDO RD                                                                               LAS VEGAS       NV    89120‐3411
DANIEL KURTIS REID                                60 LORA LANE                                                                                    HAMILTON        OH    45013‐5004
DANIEL L ADAMS                                    4612 VANBUREN                                                                                   HUDSONVILLE     MI    49426‐9321
DANIEL L AGEE                                     RR 3 BOX 142                                                                                    NEVADA          MO    64772‐9423
DANIEL L AGEE & VERSA L AGEE JT TEN               RR 3 BOX 142                                                                                    NEVADA          MO    64772‐9423
DANIEL L AHEARN                                   514 N SE BOUTELL RD                                                                             BAY CITY        MI    48708
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DANIEL L ALEXANDER                               1403 FRANKLIN ST                                                                                NEWTON          NC    28658‐9297
DANIEL L ALLEN JR                                206 MILLER ST                                                                                   GREER           SC    29650‐1928
DANIEL L BARTLEY                                 2704 LEE HILL RD                                                                                CARO            MI    48723‐9447
DANIEL L BAXTER                                  7031 BRAY RD                                                                                    VASSAR          MI    48768‐9637
DANIEL L BEAUCHAMP                               7506 N CAMPBELL ST                                                                              KANSAS CITY     MO    64118‐2670
DANIEL L BECKER                                  14225 E 37TH TERR                                                                               INDEPENDENCE    MO    64055‐3437
DANIEL L BIA                                     6538 SETTLEMENT SQ                                                                              CLARKSTON       MI    48348‐4632
DANIEL L BISHOP                                  12640 S M‐52                                                                                    ST CHARLES      MI    48655‐9655
DANIEL L BLANDFORD                               8060 FARMERSVILLE‐W CARROLLT                                                                    GERMANTOWN      OH    45327‐9644
DANIEL L BLAZEJEWSKI                             210 COMANCHE AVE                                                                                HOUGHTON LAKE   MI    48629‐9363
DANIEL L BLOSS                                   306 MILL STREET                                                                                 FLUSHING        MI    48433‐2013
DANIEL L BOOR                                    75200 SMYRNA ROAD                                                                               FREEPORT        OH    43973‐9315
DANIEL L BORZILLERI                              156 RALSTON AVENUE                                                                              TN OF TONA      NY    14217‐1312
DANIEL L BRADNEY                                 22603 LIMESTONE CT                                                                              FRANKFORT       IL    60423‐8859
DANIEL L BROCK                                   8605 W‐550 NORTH                                                                                SHARPSVILLE     IN    46068‐9734
DANIEL L BUTLER CUST NICHOLAS L BUTLER UTMA GA   1814 DURAND MILL DR NE                                                                          ATLANTA         GA    30307‐1170

DANIEL L BUXTON                                  4530 LOFTY OAKS LN                                                                              DAYTON          OH    45415‐3544
DANIEL L CHARLES                                 3271 S OGEMAW TRL                                                                               WEST BRANCH     MI    48661‐9733
DANIEL L CHILDS                                  9574 W MOUNT HOPE HWY                                                                           VERMONTVILLE    MI    49096‐8778
DANIEL L COMEGYS JR                              5560 SHEPHERDESS CT                                                                             COLUMBIA        MD    21045‐2423
DANIEL L COOK                                    3263 S KLIPSCH DR                                                                               NEW CASTLE      IN    47362‐9695
DANIEL L COPPINS & ELLEN L COPPINS JT TEN        8955 DELLWOOD DR                                                                                ELMIRA          MI    49730‐9366
DANIEL L CORBET CUST PATRICK D CORBET UGMA PA    99 TREASURE LAKE                                                                                DUBOIS          PA    15801‐9002

DANIEL L COURTNEY                                19020 GILLMAN                                                                                   LIVONIA         MI    48152‐3738
DANIEL L CUNNINGHAM                              8420 ELMHURST CIR                     APT 3                                                     BIRCH RUN       MI    48415‐9273
DANIEL L DATHE                                   417 CARLISLE NE BL                                                                              ALBUQUERQUE     NM    87106‐1320
DANIEL L DEHRING                                 31771 STRICKER                                                                                  WARREN          MI    48093‐2994
DANIEL L DEN HOUTER                              11177 HALL RD                                                                                   WHITMORE LAKE   MI    48189‐9768
DANIEL L DRIVER                                  2303 N LEXINGTON DRIVE                                                                          JANESVILLE      WI    53545‐0537
DANIEL L DUDLEY                                  5805 FOLKSTONE                                                                                  TROY            MI    48098‐3148
DANIEL L EDELMAN & JEAN S EDELMAN TR EDELMAN     207 N WAUSAU RD                                                                                 MIDDLEBURG      PA    17842‐1129
FAM TRUST UA 09/06/96
DANIEL L GAMBLE                                  33720 GERTRUDE                                                                                  WAYNE           MI    48184‐2719
DANIEL L GOODRICH                                411 WALLACE ST                                                                                  ASHLEY          MI    48806
DANIEL L GORTHY                                  55 SALISBURY                                                                                    BLASDELL        NY    14219‐1629
DANIEL L GREEN                                   301 RIPPY RD                                                                                    WEATHERFORD     TX    76088‐1006
DANIEL L GRIMES                                  467 ALISA AVE                                                                                   SEYMOUR         IN    47274‐3485
DANIEL L HALE                                    9082 SAYLES RR 2                                                                                SARANAC         MI    48881‐9410
DANIEL L HANSON                                  287 SOUTH 14TH STREET                                                                           MIDDLETOWN      IN    47356‐9342
DANIEL L HAYES CUST CLAIRE ANN HAYES UGMA MD     4174 WATERWAY DR                                                                                DUMFRIES        VA    22026‐1603

DANIEL L HESS                                    1309 NORTH FORTY                                                                                WICKENBURG      AZ    85390
DANIEL L HOLLENBACK                              11329 ROLLING SPRINGS DR                                                                        CARMEL          IN    46033‐3633
DANIEL L HOWELL                                  286 CARRIAGE CT                                                                                 WASHINGTON      MO    63090‐4617
DANIEL L HURST                                   5006 94TH ST                                                                                    LUBBOCK         TX    79424
DANIEL L JOHNSON                                 15765 SUSSEX ST                                                                                 DETROIT         MI    48227‐2658
DANIEL L JOHNSON                                 3962 WINCHESTER AVE                                                                             MARTINSBURG     WV    25401‐2543
DANIEL L KELLY                                   4400 TULIP DR N                                                                                 MARTINSVILLE    IN    46151‐7596
DANIEL L KINTNER                                 2903 PORT SHELDON ST                                                                            HUDSONVILLE     MI    49426‐9314
DANIEL L KLINGLER                                3063 PRATT RD                                                                                   METAMORA        MI    48455‐9710
DANIEL L KURZ CUST ARYEH YEHUDA KURZ UGMA NY     11 DOVER TER                                                                                    MONSEY          NY    10952‐2108

DANIEL L LAGUNA & LEONA B LAGUNA JT TEN          13421 NORTH 43RD AVE                  APT#2014                                                  PHOENIX         AZ    85029‐1035
DANIEL L LANDWERLEN                              1906 S TALBOT                                                                                   INDIANAPOLIS    IN    46225‐1743
DANIEL L LAWRENCE                                4387 HALLOCK YOUNG RD                                                                           NEWTON FALLS    OH    44444‐8719
DANIEL L LONGMIRE                                9372 SHERMAN LN                                                                                 CLEVELAND       OH    44133‐2800
DANIEL L LUCAS & NANCY A LUCAS JT TEN            1345 32ND AVE NW                                                                                NEW BRIGHTON    MN    55112‐6385
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DANIEL L MANEKIN CUST THEODORE L MANEKIN U/THE 3000 BENDIX LN                                                                                       BOWIE           MD    20715
MARYLAND U‐G‐M‐A
DANIEL L MANYWEATHER                           PO BOX 4499                                                                                          MONROE          LA    71211‐4499
DANIEL L MARQUARDT & DELLA L MARQUARDT JT TEN 3980 IMLAY CITY RD                                                                                    ATTICA          MI    48412‐9642

DANIEL L MARTIN                                    3205 PEACHTREE ROAD N E                                                                          ATLANTA         GA    30305‐2401
DANIEL L MCCARTY                                   2344 HARVARD AVE E                                                                               SEATTLE         WA    98102‐4069
DANIEL L MCCOY                                     2204 REEVER ST                                                                                   ARLINGTON       TX    76010‐8108
DANIEL L MCKINLEY                                  4037 S 235 W                                                                                     WINAMAC         IN    46996‐8566
DANIEL L MEDINA                                    7603 N 25TH ST                                                                                   MCALLEN         TX    78504‐5519
DANIEL L MILLER                                    LOT 378                                8775 20TH ST                                              VERO BEACH      FL    32966‐6914
DANIEL L MILLER & MRS BETTY L MILLER JT TEN        8775 20TH ST                           LOT 378                                                   VERO BEACH      FL    32966‐6914
DANIEL L MURPHY & DONNA M MURPHY JT TEN            23415 THORNTON                                                                                   CLINTON TWP     MI    48035‐1965
DANIEL L NAVARRE                                   6990 LEMON RD                                                                                    BANCROFT        MI    48414‐9723
DANIEL L NIESE                                     11946 SR 613                                                                                     OTTAWA          OH    45875‐9318
DANIEL L O'MARA                                    5543 W ISABELLA                                                                                  MT PLEASANT     MI    48858‐9302
DANIEL L PALMER                                    17270 SUNBIRD LANE                                                                               RENO            NV    89506‐6480
DANIEL L PEYROLO                                   35525 GEORGETOWN DR                                                                              STERLING HTS    MI    48312‐4419
DANIEL L PILLSBURY                                 5841 SINROLL ROAD                                                                                ORTONVILLE      MI    48462‐9509
DANIEL L PINKOWSKI                                 363 E POPLAR ST                                                                                  NANTICOKE       PA    18634‐1123
DANIEL L PORTER                                    5808 SE RIVERBOAT DR #UNIT 302                                                                   STUART          FL    34997‐1507
DANIEL L POZSGAY                                   925 COLUMBIAVILLE RD                                                                             COLUMBIAVILLE   MI    48421‐9701
DANIEL L PRATER                                    1811 S 700 W                                                                                     ANDERSON        IN    46011‐9492
DANIEL L PURVIANCE & MELANIE P PURVIANCE JT TEN    14766 CALEDONIA RD                                                                               CALEDONIA       IL    61011‐9708

DANIEL L RAGLIN                                    6825 TEXTILE                                                                                     YPSILANTI       MI    48197‐8991
DANIEL L RANSOM                                    118 W 109TH ST APT 3R                                                                            NEW YORK        NY    10025‐9800
DANIEL L RICE                                      318 NORTH DR                                                                                     DAVISON         MI    48423‐1627
DANIEL L RICE                                      3959 OREGON RD                                                                                   LAPEER          MI    48446‐7708
DANIEL L ROBERTSON                                 1159 EAST SOUTH STREET                                                                           FRANKFORT       IN    46041‐2619
DANIEL L RODKEY & MARTHA N RODKEY JT TEN           2040 W 550 N                                                                                     FRANKFORT       IN    46041
DANIEL L SCHARETT                                  2719 FLAGAMI LN                                                                                  NORTH PORT      FL    34286‐6113
DANIEL L SCHUYLER                                  9616 WEST 100 SOUTH                                                                              LAPEL           IN    46051‐9623
DANIEL L SHANK & DIANNE E BAILEY EX EST DANIEL J   1000 ARROYO VISTA LN                                                                             MATTHEWS        NC    28104
SHANK
DANIEL L SNOW                                      10127 MILLIMAN RD                                                                                MILLINGTON      MI    48746‐9747
DANIEL L STEVENS                                   1704 DOWNEY                                                                                      LANSING         MI    48906‐2821
DANIEL L TAPP                                      4178 DILLINGHAM                                                                                  TECUMSEH        MI    49286‐9689
DANIEL L TATU                                      8164 ELLIS CREEK CT                                                                              CLARKSTON       MI    48348‐2620
DANIEL L TAYLOR                                    13352 N JENNINGS RD                                                                              CLIO            MI    48420‐8854
DANIEL L THEISEN                                   PO BOX 647                                                                                       LAKE ORION      MI    48361‐0647
DANIEL L VIA                                       2000 HUNTINGTON AVE APT 1521                                                                     ALEXANDRIA      VA    22303
DANIEL L WARREN                                    49725 VALLEY DRIVE                                                                               SHELBY TWNSHP   MI    48317‐1580
DANIEL L WEBB                                      9828 ROSEDALE                                                                                    ALLEN PARK      MI    48101‐1308
DANIEL L WILHELM                                   904 CANNON RD                                                                                    SILVER SPRING   MD    20904‐3326
DANIEL L YORK                                      PO BOX 275                                                                                       YORKTOWN        IN    47396‐0275
DANIEL L ZUNIGA                                    19004 W 117TH ST                                                                                 OLATHE          KS    66061‐6563
DANIEL LAINO & EDDA LAINO JT TEN                   2512 DITAS CRT                                                                                   VIRGINIA BCH    VA    23456
DANIEL LAM & KIM W LAM JT TEN                      36 APPLETREE DR                                                                                  HAUPPAUGE       NY    11788‐2511
DANIEL LAMB                                        104 MAEDER AVE                                                                                   DAYTON          OH    45427‐1933
DANIEL LAMBERT                                     3912 HERON SW                                                                                    WYOMING         MI    49509‐3851
DANIEL LARAY GOODWIN                               PO BOX 75693                                                                                     WASHINGTON      DC    20013‐0693
DANIEL LEE HELVEY CUST CHRISTIAN LEE HELVEY UTMA   6739 PARK SHORE ESTATES                                                                          OSAGE BEACH     MO    65065
MO
DANIEL LEE HILLS                                   4107 GARNER RD                                                                                   AKRON           MI    48701‐9750
DANIEL LEE HOWARD                                  224 SOUTH G ST                                                                                   LIVINGSTON      MT    59047
DANIEL LEE KURZ CUST JEREMY KURZ UGMA NY           200 EDGEMONT PLACE                                                                               TEANECK         NJ    07666‐4619
DANIEL LEE OWENS & DANIEL C OWENS JT TEN           4120 DICKINSON DR                                                                                SAGINAW         MI    48603‐2162
DANIEL LEMARBE                                     6498 MONROVIA DR                                                                                 WATERFORD       MI    48329‐3161
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DANIEL LEON STOPPER                              6508 AGATE LN NW                                                                              ALBUQUERQUE       NM    87120‐3047
DANIEL LEONARD                                   2151 EAST LINCOLN HWY APT Q2                                                                  LEVITTOWN         PA    19056‐1207
DANIEL LEROY NEELEY                              728 RIDGE RD APT 29                                                                           LANTANA           FL    33462‐1529
DANIEL LEUNG TR YANNIE LEUNG TRUST UA 05/19/95   111 S MARGUERITA AVE #201                                                                     MONTEREY PARK     CA    91754‐2550

DANIEL LEUSSING                                  2412 N QUEBEC ST                                                                              ARLINGTON         VA    22207‐5004
DANIEL LEWIS KALO                                2253 6TH AVE SE                                                                               VERO BEACH        FL    32962‐8301
DANIEL LOCKETT                                   601 E 8TH ST                                                                                  OCILLA            GA    31774‐1303
DANIEL LOREK                                     9573 RAINSFORD DR                                                                             HUNTLEY           IL    60142‐2473
DANIEL LOWERY                                    14113 FAGAN RD                                                                                HOLLY             MI    48442
DANIEL LUKE ANTONELLI                            11873 AZTECA LN                                                                               FRISCO            TX    75034‐0256
DANIEL M ADAMSKI                                 2691 22ND ST                                                                                  BAY CITY          MI    48708‐7662
DANIEL M ARNOLD                                  7 CLIFFMONT DR                                                                                BLOOMFIELD        CT    06002‐2225
DANIEL M BARRETT                                 2 ROSEBANK CRT                                                                                COLUMBIA          SC    29209
DANIEL M BASSO                                   7 FREEDOM RD                                                                                  NO WHITE PLAINS   NY    10603‐2503
DANIEL M BAVARO                                  393 EVERGREEN                                                                                 TN TONAWANDA      NY    14150‐5501
DANIEL M BROWN CUST ROBERT HOWARD BROWN          APT 3817                            2800 N LAKE SHORE DR                                      CHICAGO           IL    60657‐6254
U/THE ILLINOIS U‐G‐M‐A
DANIEL M BUTLER                                  1015 MARGUERITE ST                                                                            FLUSHING          MI    48433‐1750
DANIEL M CLARK                                   515 MEADOW LN                                                                                 OSSIAN            IN    46777‐9001
DANIEL M DIOMEDES                                12 HILLSIDE CT                                                                                WENTZVILLE        MO    63385‐3021
DANIEL M ENOS                                    2683 BELLWOOD                                                                                 ANN ARBOR         MI    48104‐6613
DANIEL M FACCHIN                                 20‐03 124TH ST                                                                                COLLEGE POINT     NY    11356‐2217
DANIEL M FAILLA                                  4338 N WOOD RD                                                                                LINCOLN           MI    48742‐9618
DANIEL M GENOVESE                                56 KEARSARGE MOUNTAIN RD                                                                      WARNER            NH    03278‐4038
DANIEL M GOLDFARB                                1 IRVING PL                         GRAMERCY TOWER 16F                                        NEW YORK          NY    10003‐9701
DANIEL M GREENBERG CUST EMILY RADNER             5885 HIGHGATE                                                                                 EAST LANSING      MI    48823‐2330
GREENBERG UGMA MI
DANIEL M HANSELMAN                               7851 LEE ROAD                                                                                 BRIGHTON          MI    48116
DANIEL M HERMAN                                  9294 PARK CT                                                                                  SWARTZ CREEK      MI    48473‐8537
DANIEL M HERMAN & MRS LINDA F HERMAN JT TEN      9294 PARK CT                                                                                  SWARTZ CREEK      MI    48473‐8537

DANIEL M HURLEY                                  1106 BARNEGAT LN                                                                              MANTOLOKING       NJ    08738‐1602
DANIEL M JANZER                                  PO BOX 1136                                                                                   NORTH BEND        OR    97459‐0203
DANIEL M JOHNSON                                 504 N CLEMENS AVE                                                                             LANSING           MI    48912‐3106
DANIEL M KING & MRS JUDITH M KING JT TEN         2898 BEEBE RD                                                                                 NEWFANE           NY    14108‐9630
DANIEL M KINNEE                                  PO BOX 583                                                                                    OXFORD            MI    48371‐0583
DANIEL M KOWALCZYK                               1223 MOLL ST                                                                                  NORTH             NY    14120‐2254
                                                                                                                                               TONAWANDA
DANIEL M KWIATKOWSKI                             12851 RIVERDALE                                                                               DETROIT           MI    48223‐3044
DANIEL M LEAMAN                                  4320 NORTH STEELE                                                                             MERRILL           MI    48637‐9516
DANIEL M LEE                                     1125 DICKENS ST                                                                               BOWLING GREEN     KY    42101‐8600
DANIEL M LEE & TRUDY L LEE JT TEN                1125 DICKENS ST                                                                               BOWLING GREEN     KY    42101‐8600
DANIEL M LOZIER                                  226 E WASHINGTON RD                                                                           TERRYVILLE        CT    06786‐6820
DANIEL M MACEK & MARION E MACEK JT TEN           RT 2 BOX 152 AVE                                                                              FRENCH CREEK      WV    26218‐9630
DANIEL M MCCONVILLE                              19 LAURELTON AVE                                                                              JACKSON           NJ    08527‐2435
DANIEL M MCMAHON & LINDA M MCMAHON JT TEN        PO BOX 629                                                                                    AMAWALK           NY    10501‐0629

DANIEL M MICHALSKY                               1641 KAISER TOWER ROAD                                                                        PINCONNING        MI    48650‐7451
DANIEL M NECKER                                  62211 RED DR                                                                                  WASHINGTON        MI    48094
DANIEL M NIPPLE                                  4667 W RUTLAND RD                                                                             BROOKLYN          WI    53521‐9427
DANIEL M NOLD                                    3008 HONEY TREE LN                                                                            AUSTIN            TX    78746
DANIEL M PATCHIN                                 4215 S E REGNER RD                                                                            GRESHAM           OR    97080‐9464
DANIEL M PATER III                               212 EAST SPRINGS RD                                                                           COLUMBIA          SC    29223‐7052
DANIEL M PEYTON                                  178 GLENVIEW RD                                                                               SOUTH ORANGE      NJ    07079‐1135
DANIEL M PFUNDT                                  2383 H MORRISH RD                                                                             FLUSHING          MI    48433‐9410
DANIEL M PIERCE                                  2 RUPPRECHT CT                                                                                FRANKENMUTH       MI    48734‐9778
DANIEL M RAMIREZ                                 6705 BASSWOOD DR                                                                              FORT WORTH        TX    76135‐1527
DANIEL M RENCHER III                             4813 RAVINE CT                                                                                MOBILE            AL    36608‐2414
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Name                                             Address1                             Address2             Address3           Address4                City            State Zip

DANIEL M ROSE                                    7893 RAMPART                                                                                         WATERFORD       MI    48327‐4148
DANIEL M ROSEBERRY                               PO BOX 264                                                                                           MARKLEVILLE     IN    46056‐0264
DANIEL M ROTH                                    1137 BOWER ST                                                                                        ELKHART         IN    46514‐2436
DANIEL M RUSTIN                                  1923 W 10TH ST                                                                                       LAUREL          MS    39440‐2538
DANIEL M SCOTT                                   311 DOVER RD                                                                                         WATERFORD       MI    48328‐3573
DANIEL M SHAPIRO & SHIRLEY A SHAPIRO JT TEN      495 EAST LAKE ROAD                                                                                   HAMLIN          NY    14464‐9702
DANIEL M SHIENTAG                                1056 PEBBLE BCH CIR E                                                                                WINTER SPGS     FL    32708‐4232
DANIEL M SHINE                                   127 IRVING PL                                                                                        RUTHERFORD      NJ    07070‐1608
DANIEL M SPOHN JR                                PO BOX 28                                                                                            SWARTZ CREEK    MI    48473‐0028
DANIEL M STACY                                   5480 N MCKINLEY ROAD                                                                                 FLUSHING        MI    48433‐1128
DANIEL M STEHLE                                  19577 META RD                                                                                        CORNELIUS       NC    28031‐6238
DANIEL M TALBOT                                  764 WOLVERINE DR                                                                                     WALLED LAKE     MI    48390‐2373
DANIEL M TEGER                                   25350 KINGSHIRE                                                                                      SOUTHFIELD      MI    48075‐2016
DANIEL M THOMAS & BETTY J THOMAS JT TEN          7760 S 300 E                                                                                         BROWNSBURG      IN    46112
DANIEL M TIERI                                   7907 COMMODORE CT                                                                                    SPOTSYLVANIA    VA    22553‐2546
DANIEL M WALKER                                  RT 4 BOX 121                                                                                         CHARLESTON      WV    25312‐9317
DANIEL M WENDROW                                 4624 LANSING RD                                                                                      LANSING         MI    48917‐4458
DANIEL M WHITLER                                 1807 BRANDON                                                                                         JOLIET          IL    60436‐9507
DANIEL MAHLEBASHIAN                              45584 IRVINE DRIVE                                                                                   NOVI            MI    48374‐3773
DANIEL MARK OUIMET                               E4577 SHERWOOD DRIVE                                                                                 SPRING GREEN    WI    53588‐9279
DANIEL MARKHAM                                   100 OLD PALISADE RD                  APT 1507                                                        FORT LEE        NJ    07024‐7016
DANIEL MARTINEZ                                  4710 S LATROBE                                                                                       STICKNEY        IL    60638‐1811
DANIEL MARTINEZ                                  10781 RD 87                                                                                          PAULDING        OH    45879‐9164
DANIEL MARTINEZ                                  4943 WATERPORT WAY                                                                                   DULUTH          GA    30096‐2928
DANIEL MATHEW BORK                               13 WILLIAMSTOWNE CT APT 2                                                                            CHEEKTOWAGA     NY    14227‐3932
DANIEL MATUSCHKA CUST JORDYN MATUSCHKA UTMA      4020 N 47TH PLACE                                                                                    SHEBOYGAN       WI    53083‐2553
WI
DANIEL MATUSOW CUST HARLAN J MATUSOW UGMA        27 HEWITT AVENUE                                                                                     WHITE PLAINES   NY    10605‐3929
NJ
DANIEL MATUSZEWSKI                               11447 S LAWLER                                                                                       ALSIP           IL    60803‐4925
DANIEL MAXEMOW                                   284 JACKSON MILLS RD                                                                                 FREEHOLD        NJ    07728‐8060
DANIEL MAY & ELEANOR MAY JT TEN                  5374 DEPOT RD                                                                                        SALEM           OH    44460‐9430
DANIEL MAYBERRY CUST JARED MAYBERRY UTMA OH      2070 MICHELLE COURT                                                                                  MIAMISBURG      OH    45342‐6440

DANIEL MCFARLAND DUNKLE                          2171 PEMBROKE                                                                                        BIRMINGHAM      MI    48009‐7506
DANIEL MCLAUGHLIN                                2920 N BAYVIEW LANE                                                                                  SANDUSKY        OH    44870‐5909
DANIEL MEDINA JR                                 908 N ADAMS                                                                                          OWOSSO          MI    48867‐1649
DANIEL MENDOZA                                   1138 RATTLER GAP                                                                                     SAN ANTONIO     TX    78251‐4081
DANIEL MENNECKE & SUSAN MENNECKE JT TEN          268 CUMNOR AVE                                                                                       GLEN ELLYN      IL    60137
DANIEL MICHALEC                                  6457 PEBBLE CT                                                                                       MEDINA          OH    44256‐5561
DANIEL MILING CUST HILARY EILIS MILING UGMA MI   2155 CHURCHILL                                                                                       ANN ARBOR       MI    48103‐6008

DANIEL MILLNER & AGNES M MILLNER JT TEN       126 59TH STREET                                                                                         WILLOWBROOK     IL    60527‐1718
DANIEL MILLNER & AGNES MILLNER JT TEN         126 59TH STREET                                                                                         WILLOWBROOK     IL    60527‐1718
DANIEL MONDEAU                                10221 E RICHFIELD RD                                                                                    DAVISON         MI    48423
DANIEL MONTEFUSCO & EUGENIA MONTEFUSCO JT TEN 204 LAWRENCE HILL ROAD                                                                                  COLD SPRING     NY    11724‐1910
                                                                                                                                                      HARBOR
DANIEL MONTI                                     PO BOX 20                                                                                            WESTTOWN        NY    10998‐0020
DANIEL MORGAN                                    20 FOSNOT DR                                                                                         ANDERSON        IN    46012‐3116
DANIEL MORIN                                     2124 BOULEVARD                       LAFONTAINE QC                           J7Y 1V1 CANADA
DANIEL MORNINGSTAR JR                            565 N MIDLAND ST BOX 167                                                                             MERRILL         MI    48637‐0167
DANIEL MORRONE                                   5 STAGECOACH DR                                                                                      HOLMDEL         NJ    07733
DANIEL MOSIELLO & G LYNN MOSIELLO JT TEN         32301 RENOIR RD                                                                                      WINCHESTER      CA    92596‐9055
DANIEL MOSS & KRISTIN MOSS JT TEN                17875 WINDSOR DR                                                                                     STILLWELL       KS    66085‐9036
DANIEL MUELLER                                   629 N MAIN ST                                                                                        CHELSEA         MI    48118‐1257
DANIEL MULHOLLAND                                15 KEMP AVE                                                                                          RUMSON          NJ    07760‐1043
DANIEL MULLIN                                    RR 6                                 MARKDALE ON                             NOC 1HO GREAT BRITAIN
DANIEL MUNCIE                                    101 QUEENS KNOLL CT                                                                                  CARY            NC    27513‐5174
DANIEL MURPHY                                    18238 W ONYX CT                                                                                      WADDELL         AZ    85355‐4376
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DANIEL MURPHY                                     1645 GOVER LN                                                                                  SAN CARLOS       CA    94070
DANIEL MURRAY JONES & JULIE MELPOLDER JONES JT    7301 SADDLEWOOD DR                                                                             WESTERVILLE      OH    43082‐9372
TEN
DANIEL MUSTILLO JR                                PO BOX 94496                                                                                   LAS VEGAS        NV    89193‐4496
DANIEL MYERS                                      RD 2 BOX 203                                                                                   MONTROSE         PA    18801‐9030
DANIEL N CAMPBELL                                 3152 HARDWOOD HEIGHTS RD R                                                                     PRESCOTT         MI    48756‐9306
DANIEL N COLLOPY                                  5474 NIAGARA ST EXT                                                                            LOCKPORT         NY    14094‐1802
DANIEL N GARY                                     3282 E 128TH ST                                                                                GRANT            MI    49327‐8874
DANIEL N GOOD                                     9630 MILESTONE WAY                   APT 1096                                                  COLLEGE PARK     MD    20740‐4300
DANIEL N HOFFENBERG                               5251 JOAQUIN DRIVE                                                                             SANTA ROSA       CA    95409‐2843
DANIEL N KOSAREO                                  1378 CROYDEN ROAD                                                                              LYNDHURST        OH    44124‐1463
DANIEL N LENNOX                                   223 DELLWOOD RD                                                                                ROCHESTER        NY    14616‐1436
DANIEL N MAIBAUM                                  3830 CONNORS COVE                                                                              MELBOURNE        FL    32934‐8413
DANIEL N MUSTILLO CUST LINDA MUSTILLO UGMA NY     C/O LINDA DELVECCHIO                 31 SOUTHGATE                                              FAIRPORT         NY    14450‐8779

DANIEL N OSABEN                                   2950 ZINGY RD                                                                                  MILLSTADT       IL     62260‐2806
DANIEL N PARIS JR                                 2036 EASTRIDGE DRIVE                                                                           ANCHORAGE       AK     99501‐5720
DANIEL N PEVOS CUST HARRY PEVOS UGMA MI           5327 HIGH CT WAY                                                                               WEST BLOOMFIELD MI     48323‐2515

DANIEL N PHILLIPS JR                              5716 MCGUIRE ROAD                                                                              EDINA            MN    55439‐1347
DANIEL N SCALIA & MRS MARY LOUISE SCALIA JT TEN   3857 W 83RD ST                                                                                 CHICAGO          IL    60652‐2439

DANIEL N ZELAZNY                                  234 W ANN ARBOR TRL                  APT 4                                                     PLYMOUTH         MI    48170‐1672
DANIEL NAPOLEON                                   116 OLIVER AVE                                                                                 TRENTON          NJ    08618‐2831
DANIEL NEAVERTH JR                                130 CURLEY                                                                                     ORCHARD PARK     NY    14127‐3447
DANIEL NELSON                                     4305 ALMOND LANE                                                                               DAVIS            CA    95661
DANIEL NELSON CARNAHAN                            601 NORTH M‐30                                                                                 GLADWIN          MI    48624‐8027
DANIEL NIMETZ                                     PO BOX 90                                                                                      HARRIMAN         NY    10926‐0090
DANIEL NITAHARA                                   850 TIMOTHY LN                                                                                 DES PLAINES      IL    60016‐1116
DANIEL NIXON WOOD                                 5119 W CREEK CT                                                                                SUFFOLK          VA    23435‐3523
DANIEL NOLAN                                      8605 BENTON DR                                                                                 PORT RICHEY      FL    34668‐3001
DANIEL NORIEGA                                    1816 S 61ST CT                                                                                 CICERO           IL    60804‐1625
DANIEL O ALLEN                                    19 JANA DR                                                                                     MONROE           LA    71203‐2737
DANIEL O GEARY JR                                 8909 CALUMET BLVD                                                                              PORT CHARLOTTE   FL    33981‐3357
DANIEL O MORGANTI                                 29 PINE HILL ROAD                                                                              SPENCERPORT      NY    14559‐1032
DANIEL O RAMOS & MRS MARTINA A RAMOS JT TEN       1024 ORMOND AVE                                                                                DREXEL HILL      PA    19026‐2618

DANIEL OC RISNER                                  150 PRESERVE BL                                                                                CANFIELD         OH    44406‐8794
DANIEL OKEEFE                                     1028 N UNION ST                                                                                LIMA             OH    45801‐2943
DANIEL ONTIVEROS                                  3960 STUDOR                                                                                    SAGINAW          MI    48601‐5745
DANIEL ORTEGA                                     685 1/2 NORTH CENTER ROAD                                                                      SAGINAW          MI    48603‐5854
DANIEL P ALDRICH                                  2191 AVONDALE                                                                                  SYLVAN LAKE      MI    48320‐1711
DANIEL P BEJIN                                    3 DEER PATH                                                                                    LONG VALLEY      NJ    07853‐3232
DANIEL P BRANOFF                                  6828 GULLEY                                                                                    DEARBORN HTS     MI    48127‐2035
DANIEL P BRUSKY                                   6726 W WILDLIFE LN                                                                             JANESVILLE       WI    53548‐8427
DANIEL P BURROWS                                  5349 N IRISH RD                                                                                DAVISON          MI    48423‐8972
DANIEL P C ALDRICH & KATHERINE E ALDRICH JT TEN   2191 AVONDALE                                                                                  SYLVAN LAKE      MI    48320‐1711

DANIEL P CASSIDY                                  625 RANIER COURT                                                                               HIGHLAND VILLAGE TX    75077‐7068

DANIEL P COLUCCI                                  156 SEYMOUR ST                                                                                 WATERBURY        CT    06708‐3754
DANIEL P COYLE                                    145 CHIROC RD                                                                                  HENDERSONVILLE   TN    37075‐3847
DANIEL P DANISH                                   1945 BUCK DANIEL RD                                                                            CULLEOKA         TN    38451‐2701
DANIEL P DUGGAN & RICHARD J DUGGAN JT TEN         9 DUNCAN AVE                                                                                   PEQUANNOCK       NJ    07440‐1809
DANIEL P ELSTON CUST DANIEL ELSTON UGMA MI        10290 DUFFIELD ROAD                                                                            MONTROSE         MI    48457‐9117
DANIEL P GARZA                                    4128 W ROLLING MEADOWS BLV                                                                     DEFIANCE         OH    43512‐9662
DANIEL P GELL                                     3579 HIDDEN LAKE LANE                                                                          GRAND RAPIDS     MI    49546
DANIEL P GEORGE                                   5328 TERRITORIAL                                                                               GRAND BLANC      MI    48439‐1917
DANIEL P GOGGINS                                  7831 E HAMPSHIRE RD                                                                            ORANGE           CA    92867‐1504
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DANIEL P GREENE                                    5035 MAYBEE RD                                                                                  CLARKSTON         MI    48346‐4334
DANIEL P HANCHETT                                  768 FOOTHILL                                                                                    CANTON            MI    48188‐1565
DANIEL P HAYES PERS REP EST JOHN P HAYES           3449 BURLINGTON DR                                                                              ORLANDO           FL    32837
DANIEL P HAYES TR DANIEL P HAYES TRUST UA 09/07/99 28490 WESTLAKE VILLAGE DR             APT C106                                                  WESTLAKE          OH    44145‐6725

DANIEL P KARDASZ & SUZANNE KARDASZ JT TEN         14412 EDSHIRE DR                                                                                 STERLING HTS      MI    48312‐4348
DANIEL P KEHOE                                    620 PINELLAS DR                                                                                  SAINT LOUIS       MO    63126‐1033
DANIEL P KELLEY                                   504 S KENSINGTON AVE                                                                             LA GRANGE         IL    60525‐2703
DANIEL P LABRIE                                   372 FORDCROFT DR                                                                                 ROCHESTER HILLS   MI    48309‐1145
DANIEL P LENNEMAN                                 10380 HINMAN ROAD                                                                                EAGLE             MI    48822‐9758
DANIEL P LOMAN                                    788 N HACKER RD                                                                                  HOWELL            MI    48843‐9028
DANIEL P MARSH & GERDA MARSH JT TEN               3827 TURKEY FOOT RD                                                                              WESTMINSTER       MD    21158
DANIEL P MC CULLOCH & DOROTHY G MC CULLOCH JT     1411 W ANN ARBOR TRAIL                                                                           PLYMOUTH          MI    48170‐1505
TEN
DANIEL P MC GRATH                                 8553 SHORTCUT RD                                                                                 FAIR HAVEN        MI    48023‐2009
DANIEL P MC NULTY & JOYCE A MC NULTY JT TEN       50 MAPLE WAY                                                                                     SAN CARLOS        CA    94070‐4336
DANIEL P MCCANTS                                  1357 RAILFENCE DRIVE                                                                             COLUMBIA          SC    29212‐1542
DANIEL P MCCARTHY                                 4509 SHARON DR                                                                                   LOCKPORT          NY    14094‐1313
DANIEL P MCCARTHY                                 2177 PARK SPRINGS BLVD                                                                           ARLINGTON         TX    76013‐4436
DANIEL P MICHELS                                  881 ZEHNDER DR                                                                                   FRANKENMUTH       MI    48734‐1017
DANIEL P MILKOWSKI                                4700 FOX POINTE DR                     UNIT 133                                                  BAY CITY          MI    48706‐2841
DANIEL P MILLER & PATRICIA E MILLER JT TEN        7742 PARKCREST CIRCLE                                                                            CLARKSTON         MI    48348‐2967
DANIEL P O CONNELL & JILL M OCONNELL JT TEN       3952 STONEHAVEN DR                                                                               TROY              MI    48084‐1510
DANIEL P O'SULLIVAN                               18 ABBOTT STREET                                                                                 WEST BABILON      NY    11704‐8014
DANIEL P OLECHOWSKI & ROSE M OLECHOWSKI TEN       89 STANLEY DR                                                                                    BAY CITY          MI    48708‐9118
ENT
DANIEL P REVETTE                                  2203 SCHAUMAN CT                                                                                 BAY CITY          MI    48706‐9494
DANIEL P ROUNDS                                   580 N ROYSTON RD                                                                                 CHARLOTTE         MI    48813‐7612
DANIEL P RUSSELL                                  333 W ST JOE HWY                                                                                 GRAND LEDGE       MI    48837
DANIEL P SCHNEIDER                                725 53RD AVENUE                                                                                  WINONA            MN    55987‐1285
DANIEL P SCHWABEROW                               4948 TIMBERVIEW DR                                                                               DAYTON            OH    45424‐2533
DANIEL P SECHRIST                                 RR 1 BOX 143‐G                                                                                   MCVEYTOWN         PA    17051‐9734
DANIEL P SHAMBAUGH                                10503 CAMPBELL RD                                                                                TITUSVILLE        PA    16354
DANIEL P SMITH                                    12287 S MULLEN                                                                                   OLATHE            KS    66062‐5801
DANIEL P TENCZA                                   736 BUCKHORN DRIVE                                                                               LAKE ORION        MI    48035
DANIEL P TICE                                     111 E 53RD ST                          #A                                                        SAVANNAH          GA    31405‐3310
DANIEL P TRAVERS                                  112 DORNOCK DR                         ST CHARLES                                                SAINT CHARLES     MO    63301
DANIEL P TYSZKIEWICZ                              2419 W 52ND ST                                                                                   CHICAGO           IL    60632‐1521
DANIEL P VOS                                      21891 VOS DRIVE                                                                                  PIERSON           MI    49339‐9651
DANIEL P WALSH                                    39500 WARREN RD TRLR 36                                                                          CANTON            MI    48187‐4343
DANIEL P WOLFE                                    2958 CANFIELD RD                                                                                 YOUNGSTOWN        OH    44511‐2805
DANIEL PADILLA                                    792 W DAMION LO                                                                                  CHINO VALLEY      AZ    86323‐6306
DANIEL PARIS                                      423 W MISSION                                                                                    STRAWBERRY PT     IA    52076
DANIEL PARISH                                     4127 BRETTON BAY LN                                                                              DALLAS            TX    75287
DANIEL PATRICK CRONIN                             7516 FOXGLOVE PLACE                                                                              MACUNGIE          PA    18062‐9340
DANIEL PATRICK CRONIN & GAIL L CRONIN JT TEN      7516 FOXGLOVE PLACE                                                                              MACUNGIE          PA    18062‐9340
DANIEL PATRICK KOZLOWSKI                          25248 WAGNER                                                                                     WARREN            MI    48089‐4671
DANIEL PATRICK MACMILLAN                          5673 MARSH RD                                                                                    CHINATOWNSHIP     MI    48054‐4509
DANIEL PATRICK O'CONNOR                           4516 GULLFOOT CIRCLE                   MISSISSAUGA ON                          L4Z 2J8 CANADA
DANIEL PATTERSON                                  100 28B ELGAR PL BLDG 35                                                                         BRONX             NY    10475
DANIEL PAUL COMLY JR                              690 BEVERLY RD                                                                                   HOLLAND           PA    18966‐2102
DANIEL PAUL NEELON                                325 COTUIT RD                                                                                    MARSTONS MLS      MA    02648‐1838
DANIEL PAUL O'HEREN                               42354 FOREST LN                                                                                  HAMMOND           LA    70403
DANIEL PEARSON                                    1627 MIRAMAR CT                                                                                  CINCINNATI        OH    45237‐2717
DANIEL PEIXOTTO                                   241 KNIGHT DR                                                                                    SAN RAFAEL        CA    94901‐1429
DANIEL PENA                                       1616 LILLIAN CR                                                                                  COLUMBIA          TN    38401‐5418
DANIEL PERKINS                                    537 RUBY RD                                                                                      LIVERMORE         CA    94550‐5158
DANIEL PETER JEROSE                               4083 ABBEY RD                                                                                    SYRACUSE          NY    13215‐9782
DANIEL PETRILLI                                   3506 ALDINE ST                                                                                   PHILADELPHIA      PA    19136‐3806
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DANIEL PHILLIP BETTIS                             234 MORELOCK DR                                                                                BLOUNTVILLE      TN    37617‐6016
DANIEL PILACHOWSKI                                6850 N GULLEY RD                                                                               DEARBORN HTS     MI    48127‐2035
DANIEL PISARCIK & MRS BARBARA PISARCIK JT TEN     33 BIRCH ST                                                                                    WILKES BARRE     PA    18702‐1708

DANIEL POLGLAZE                                 16820 25TH AVE NORTH                                                                             PLYMOUTH         MN    55447‐2228
DANIEL QUINN DUFFY                              788 HEATHER LANE                                                                                 BARTLETT         IL    60103‐5746
DANIEL QUINTANILLA                              9019 HEMPHILL DR                                                                                 FORT WAYNE       IN    46819‐2321
DANIEL R ABBATOY                                4018 S PIPESTONE RDAD                                                                            SODUS            MI    49126‐9762
DANIEL R ALBRECHT                               7534 W PALATINE                                                                                  CHICAGO          IL    60631‐1823
DANIEL R ARBAN CUST AUSTIN D ARBAN UTMA MI      1395 COLONY DR                                                                                   SALINE           MI    48176‐1097
DANIEL R ARBAN CUST RYAN M ARBAN UTMA MI        1395 COLONY DR                                                                                   SALINE           MI    48176‐1097
DANIEL R ARBAN CUST TARYN M ARBAN UTMA MI       1395 COLONY DR                                                                                   SAINE            MI    48176‐1097
DANIEL R BAIN                                   4790 LONSBERRY ROAD                                                                              COLUMBIAVILLE    MI    48421‐9351
DANIEL R BATES                                  10841 HASTINGS AVE                                                                               WESTCHESTER      IL    60154‐5039
DANIEL R BIERER                                 624 TAYLOR RD                                                                                    BRIGHTON         MI    48114‐7613
DANIEL R BLAKE                                  RR 6 BOX 608                                                                                     SPENCER          IN    47460‐8623
DANIEL R BOWMAN                                 706 PLEASANT DRIVE                                                                               GREENSBORO       NC    27410‐5336
DANIEL R BRADLEY                                O‐13724 NORTHPOINTE DR NW                                                                        GRAND RAPIDS     MI    49544‐1063
DANIEL R CALE & CINDY CALE JT TEN               38415 GRANDVIEW RD                                                                               SCIO             OH    43988
DANIEL R CHAPMAN                                5923 SHADOW OAK DR                                                                               CITRUS HTS       CA    95621‐6337
DANIEL R COLLINS                                11653 NORTH HILBRAND RD                                                                          MANTON           MI    49663‐9381
DANIEL R CRAFT                                  31050 LANDS END LN                                                                               WESTLAKE         OH    44145‐6802
DANIEL R CRICKMORE & DOROTHY A CRICKMORE JT TEN PO BOX 1602                                                                                      NEWPORT          TN    37822‐1602

DANIEL R CUMPER                                   5125 W WILSON RD                                                                               CLIO             MI    48420‐9461
DANIEL R CZAJKOWSKI                               311 PAMELA CIR                                                                                 BROOKLYN         MI    49230‐8908
DANIEL R DEEDS                                    7498 CHERRY HILL RD                                                                            YPSILANTI        MI    48198‐9623
DANIEL R DILTS                                    1207 SUNSET ROAD KENTON HILLS                                                                  COVINGTON        KY    41011‐1129
DANIEL R DOUBLEDAY                                812 SENTINEL DRIVE                                                                             JANESVILLE       WI    53546‐3710
DANIEL R DOUGHERTY                                3860 LONE PINE DR                    APT 5                                                     HOLT             MI    48842‐8797
DANIEL R DUESTERBECK                              1225 N MARTIN RD                                                                               JANESVILLE       WI    53545‐1952
DANIEL R ELLABARGER                               11095 HUNTINGTON CT                                                                            CARMEL           IN    46033‐5946
DANIEL R ELLABARGER & THERESA L ELLABARGER JT TEN 11095 HUNTINGTON COURT                                                                         CARMEL           IN    46033‐5946

DANIEL R ELLER                                    227 PO BOX 300                                                                                 BARRYTON         MI    49305‐0300
DANIEL R FERNANDES                                721 COUNTY ST                                                                                  TAUNTON          MA    02780‐3701
DANIEL R FISCHER CUST GRANT W FISCHER UTMA IN     1304 RICHARDS ST                                                                               LAFAYETTE        IN    47904‐2659

DANIEL R FLEMING & MRS BERYL J FLEMING JT TEN     5 S WESTWOOD AVE                                                                               BURLINGTON       WI    53105‐7946

DANIEL R GATENA                                   256 HERALDRY DRIVE                                                                             PICKENS          SC    29671
DANIEL R GRAY                                     2156 ALLERTON                                                                                  AUBURN HILLSLL   MI    48326‐2502
DANIEL R HACKEL & JOSEPH F HACKEL JT TEN          2121 S AUSTIN BLVD                                                                             CICERO           IL    60804‐2013
DANIEL R HERSHBERGER                              11324 TERRY                                                                                    PLYMOUTH         MI    48170‐4520
DANIEL R HERTZ                                    1200 SOUTHWEST 4TH AVE                                                                         POMPANO BEACH    FL    33060‐8744
DANIEL R HERTZ & JACQUELINE HERTZ JT TEN          1200 SW 4TH AVE                                                                                POMPANO BEACH    FL    33060‐8744
DANIEL R HICKEY                                   1911 WALNUT                                                                                    HOLT             MI    48842‐1615
DANIEL R HINKLE                                   8963 NEW LOTHROP RD                                                                            DURAND           MI    48429‐9447
DANIEL R HITCHCOCK                                1173 A NAVAHO DR                                                                               LEBANON          OH    45036‐8746
DANIEL R HITZEMAN & BONNIE P HITZEMAN JT TEN      OS 506 SUMMIT DR                                                                               WINFIELD         IL    60190‐1489

DANIEL R HOBBINS                                  1309 PIERCE RD                                                                                 LANSING          MI    48910‐5270
DANIEL R HORNINGER & LAURA A HORNINGER JT TEN     1201 E STRASBURG AVE                                                                           WEST CHESTER     PA    19380‐5681

DANIEL R HUBBERT                                  1251 EDMUNDTON DR                                                                              GROSSE POINTE    MI    48236‐1232
                                                                                                                                                 WOOD
DANIEL R HUPP                                     7006 SAN FELIPE RD                                                                             SAN JOSE         CA    95135‐1610
DANIEL R HYDE                                     2950 HUMMERLAKE RD BOX 43                                                                      ORTONVILLE       MI    48462‐9789
DANIEL R JUDSON                                   32 BISSON ST                                                                                   BEVERLY          MA    01915‐4607
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DANIEL R KISTLER                                  4361 SW TERWILLIGER                                                                         PORTLAND        OR    97201‐2874
DANIEL R LERITZ & RETTA LERITZ JT TEN             1 CRICKET LANE                                                                              ST LOUIS        MO    63144‐1021
DANIEL R LIPPERT                                  1911 HEWITT GIFFORD RD SW                                                                   WARREN          OH    44481‐9707
DANIEL R LUMB                                     55 W COOKINGHAM DR                                                                          STAATSBURG      NY    12580‐5649
DANIEL R MAC DONALD                               PO BOX 269                                                                                  BRIDGTON        ME    04009‐0269
DANIEL R MANN                                     907 WASHINGTON ST                                                                           EATON           OH    45320‐1551
DANIEL R MCMINN                                   4348 N LAKESHORE DR                                                                         CROWN POINT     IN    46307
DANIEL R MEADOWS                                  3812 W STOUTES CREEK RD                                                                     BLOOMINGTON     IN    47404‐1328
DANIEL R MOSS                                     5459 STATE ROUTE 305                                                                        FOWLER          OH    44418‐9779
DANIEL R MURPHY                                   1748 N US HIGHWAY 23                                                                        EAST TAWAS      MI    48730‐9445
DANIEL R NAVARRO                                  131 BLAINE                                                                                  PONTIAC         MI    48342‐1102
DANIEL R NEWLAND                                  737 E 113TH ST                                                                              LOS ANGELES     CA    90059‐2318
DANIEL R NEYMAN                                   4607 NOWAK AVE                                                                              HUBER HEIGHTS   OH    45424‐5820
DANIEL R O'CONNOR JR                              5165 BILLY BLAIR LANE                                                                       CRISFIELD       MD    21817‐2653
DANIEL R ORSINI                                   1009 MILL RACE DR                                                                           MARTINSBURG     WV    25401‐9210
DANIEL R PAGEL                                    5024 HARBOR OAKS                                                                            WATERFORD       MI    48329‐1724
DANIEL R PAVLICA                                  5995 MORRICE RD                                                                             OWOSSO          MI    48867‐8716
DANIEL R PERRY                                    10450 BEARD RD                                                                              BYRON           MI    48418‐9737
DANIEL R PETKE                                    815 STAFFORD AVE APT A15                                                                    BRISTOL         CT    06010‐3851
DANIEL R PETSCH                                   285 CONOVER CT                                                                              HOWELL          MI    48843‐6536
DANIEL R PRICE                                    2130 W MARSHALL RD                                                                          ST JOHNS        MI    48879‐9420
DANIEL R PUNG                                     9175 STONE RD                                                                               FOWLER          MI    48835‐8701
DANIEL R RANEY                                    10251 E 12 3/4 RD                                                                           MANTON          MI    49663‐9771
DANIEL R RICHARDS                                 2705 RIDGEMERE DR                                                                           FLOWER MOUND    TX    75028‐7531
DANIEL R RIOS JR                                  5101 STARWOOD DRIVE                                                                         FORT WAYNE      IN    46835‐2358
DANIEL R RITTER                                   602 W GILES                                                                                 ST JOHNS        MI    48879‐1260
DANIEL R SCHLATTERER & CLAUDIA SCHLATTERER JT TEN 1000 MOUNT VERNON ESTATES DR                                                                DUNWOODY        GA    30338‐3959

DANIEL R SCHWEITZER                             470 W COYOTE DR                                                                               SILVERTHORNE    CO    80498‐9215
DANIEL R SEBALD                                 2229 WHITEMORE PL                                                                             SAGINAW         MI    48602‐3528
DANIEL R SHEA JR                                4336 WORTH DR E                                                                               JACKSONVILLE    FL    32207‐7502
DANIEL R SHELBURNE                              1121 GIBRALTAR POINT DRIVE                                                                    SAINT CHARLES   MO    63304‐5041
DANIEL R SIEG                                   6460 SOUTHPARK DR                                                                             GEORGETOWN      IN    47122‐9243
DANIEL R SMITH                                  870 LONE PINE ROAD                                                                            BLOOMFIELD      MI    48302
DANIEL R SMUDSKI                                2548 NYE DRIVE                                                                                MINDEN          NV    89423‐7012
DANIEL R SOMALSKI & LOUISE A SOMALSKI JT TEN    1014 NEBOBISH                                                                                 ESSEXVILLE      MI    48732‐1606
DANIEL R SPITZLEY                               BX 66                                                                                         WESTPHALIA      MI    48894‐0066
DANIEL R STANFORD                               294 FLORENCEWOOD DRIVE                                                                        COLLIERVILLE    TN    38017
DANIEL R STURGIS                                9133 HALF ACRE DR                                                                             WHITE LAKE      MI    48386‐3324
DANIEL R TAGGART                                59 SMITHTOWN RD                                                                               PITTSTON        ME    04345
DANIEL R THATCHER                               2156 WEST 104 ST                                                                              CLEVELAND       OH    44102‐3533
DANIEL R THOMAS                                 1009 BRITTANY DR                                                                              DELAWARE        OH    43015‐7642
DANIEL R THOMAS & MRS JOANNE P THOMAS TEN ENT   1 HURON RD                                                                                    ACTON           MA    01720‐2309

DANIEL R TOPLOSKI SR                            2525 CHURCH RD                                                                                CINNAMINSON      NJ   08077‐3140
DANIEL R TOTH                                   315 N WYOMISSING AVE                                                                          READING          PA   19607‐1934
DANIEL R TYKOSKI                                1761 LESLIE                                                                                   WESTLAND         MI   48186‐9719
DANIEL R WARTH                                  C/O MARY LYYN RICHARDSON            541 WARFIELD                                              WELLSTON         MI   49689
DANIEL R WATERS & JANET I WATERS JT TEN         12942 MONTBATTEN                                                                              STERLING HTS     MI   48313‐4148
DANIEL R WERVEY & BARBARA J WERVEY JT TEN       5811 GROVEWOOD DR                                                                             MENTOR           OH   44060‐2049
DANIEL R WHITE                                  1775 BRALEY RD                                                                                YOUNGSTOWN       NY   14174‐9733
DANIEL R WILLIAMS                               2023 WEST 9TH STREET                                                                          CHESTER          PA   19013‐2720
DANIEL R WITHUN                                 916 DAVISON LAKE RD                                                                           OXFORD           MI   48371‐1120
DANIEL RAH                                      3202 S EMERALD AVE                                                                            CHICAGO          IL   60616‐3406
DANIEL RALICH                                   5431 GARFIELD RD                                                                              SALEM            OH   44460‐8297
DANIEL RALPH ROBERTS                            435 HIDDEN BROOK CT                                                                           HENDERSON        NV   89015‐6709
DANIEL RAMELLI                                  20 BAYBERRY LANE                                                                              REHOBOTH BCH     DE   19971
DANIEL RAMOS                                    24053 CURRIER ST                                                                              DEARBORN HEIGHTS MI   48125‐2035
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DANIEL RAY SHAAK                                   PO BOX 1391                                                                                       GRAHAM          WA    98338‐1391
DANIEL RECANATI                                    16 PROFESSOR SCHOR ST                TEL AVIV                                ISRAEL
DANIEL REDDY                                       4924 N ORCHARDVIEW DR                                                                             JANESVILLE      WI    53545‐9644
DANIEL REILERT                                     BOX 402                                                                                           SIMSBURY        CT    06070‐0402
DANIEL RHONDA CUST MATTHEW CLAUS UTMA IL           13030 70TH CT                                                                                     PALOS HEIGHTS   IL    60463‐2108
DANIEL RHYAND                                      12504 BENNINGTON AVE                                                                              CLEVELAND       OH    44135‐3738
DANIEL RINGEL                                      18 ROSE COURT WAY                                                                                 EAST WALPOLE    MA    02032‐1185
DANIEL ROBERT COHN                                 3 HAWK DR                                                                                         RIGOES          NJ    08551‐1119
DANIEL ROBERT MOLLOY                               443 CHATEAU DR NW                                                                                 ATLANTA         GA    30305
DANIEL ROBERT PETERS CUST JARED ROBERT PETERS      23576 SUTTON BAY                                                                                  MT CLEMENS      MI    48036‐1270
UGMA MI
DANIEL ROBERT RODGERS                              530 GRAVEL HILL RD                                                                                PALMYRA         PA    17078
DANIEL ROBERT SOUCH                                861 ROYAL ORCHARD DR                 OSHAWA ON                               L1K 2A1 CANADA
DANIEL ROCCO                                       76 TULIP LN                                                                                       COLTS NECK      NJ    07722‐1171
DANIEL ROSEBOOM CUST ELIJAH A ROSEBOOM UTMA        2714 HARLAN ST                                                                                    DENVER          CO    80214‐8174
CO
DANIEL ROSENBLATT                                  2106 SNOWDROP DR                                                                                  BAKERSFIELD     CA    93311‐3753
DANIEL ROWE                                        13720 23RD PLACE SE                                                                               SEATTLE         WA    98125
DANIEL ROYCE KRANTZ                                43 HICKORY LN                                                                                     STOW            MA    01775‐2129
DANIEL RUSSEL RYAN                                 49 BURROUGH RD                                                                                    BRAINTREE       MA    02184‐1515
DANIEL S BORLAZA                                   49483 COOKE AVE                                                                                   PLYMOUTH        MI    48170‐2883
DANIEL S BROUGH                                    ATTN DAN BROUGH CARPET               2360 S VASSAR RD                                             BURTON          MI    48519‐1349
DANIEL S CASO                                      886 WOODMERE DRIVE                                                                                CLIFFWOOD BCH   NJ    07735‐5542
DANIEL S FROCK                                     1448 BAUGHER RD                                                                                   WESTMINSTER     MD    21158‐3636
DANIEL S GAMEZ                                     2203 WOODVIEW CT APT 3                                                                            MADISON         WI    53713‐1938
DANIEL S GEIGER                                    897 S 900 W                                                                                       ANGOLA          IN    46703‐9621
DANIEL S GOBLE                                     4382 BRIDGEFIELD RD                                                                               PLAINFIELD      IN    46168
DANIEL S GONCALVES                                 8 ALLEN RD                                                                                        MILFORD         MA    01757‐1802
DANIEL S HARPER                                    109 MEADOW COVE                                                                                   CLINTON         MS    39056‐5805
DANIEL S HARRETT TR UA 09/07/95                    11356 GRAND OAK DR                                                                                GRAND BLANC     MI    48439‐1219
DANIEL S JESIEK                                    G‐4264 BRANCH ROAD                                                                                FLINT           MI    48506‐1345
DANIEL S KORDICH                                   BOX 429                                                                                           PERRYOPOLIS     PA    15473‐0429
DANIEL S KOSACK & SHELLY F KOSACK JT TEN           4914 WILBUR AVE                                                                                   BALTIMORE       MD    21205
DANIEL S KOWALCZEWSKI JR                           28 GABRIELLE DRIVE                                                                                CHEEKTOWAGA     NY    14227‐3410
DANIEL S KURTY                                     3924 LA TIERRA LINDA TRL                                                                          MCKINNEY        TX    75070‐6079
DANIEL S LANDMAN                                   29747 ENGLISH WY                                                                                  NOVI            MI    48377‐2034
DANIEL S LIJEWSKI                                  4841 WINDSWEPT DR                                                                                 MILFORD         MI    48380‐2779
DANIEL S LYNCH                                     453 FOSTER RD                                                                                     ASHBY           MA    01431‐1939
DANIEL S MAY                                       2620 NASSAU CIR                                                                                   MODESTO         CA    95355‐4624
DANIEL S MOORE JR                                  218 BROAD ST                                                                                      BERLIN          MD    21811
DANIEL S MUICH                                     4587 HWY H H                                                                                      CATAWISSA       MO    63015‐1239
DANIEL S NELLIST                                   38 S MAIN ST                         PO BOX 97                                                    LYNDONVILLE     NY    14098‐0097
DANIEL S NOVALIS                                   245 E 19TH ST                        APT 2R                                                       NEW YORK        NY    10003‐2640
DANIEL S NOWAK                                     4259 FLAJOLE RD                                                                                   MIDLAND         MI    48642‐9245
DANIEL S ODONNELL                                  88 WEST STREET                                                                                    RANDOLPH        MA    02368‐4020
DANIEL S PATTERSON                                 19944 KENTUCKY                                                                                    DETROIT         MI    48221‐1137
DANIEL S RACHWAL                                   37320 BENNETT                                                                                     LIVONIA         MI    48152‐2797
DANIEL S RETHMEIER                                 4125 6TH STREET                                                                                   ST CLOUD        MN    56301‐8512
DANIEL S SANCHEZ                                   1025 PEACOCK CT                                                                                   TRACY           CA    95376‐5319
DANIEL S SHELOR                                    23003 CLAYLICK RD                                                                                 LOGAN           OH    43138‐9601
DANIEL S SMITH & SHARON D SMITH JT TEN             1023 W MAIN ST                                                                                    EATON           OH    45320‐8528
DANIEL S TURNER TR UA 12/28/71 ALICE G TURNER ET   218 FISHER RD                                                                                     JENKINTOWN      PA    19046‐3812
AL
DANIEL S URAM                                      51989 MONACO DR                                                                                   MACOMB          MI    48042‐6023
DANIEL S URAM & EILEEN V URAM JT TEN               51989 MONACO DR                                                                                   MACOMB          MI    48042‐6023
DANIEL S WEBSTER                                   1305 NE COUNTRY LN                                                                                LEES SUMMIT     MO    64086‐3501
DANIEL S WILSON                                    818 W CENTER STREET                                                                               MEDINA          NY    14103‐1038
DANIEL S ZAMBORSKY & FLORENCE S ZAMBORSKY JT       8853 FALLS LANE                                                                                   BROADVIEW       OH    44147‐1713
TEN                                                                                                                                                  HEIGHTS
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DANIEL SALINAS                                    1681 BAIRD AVE                                                                               GALESBURG        IL    61401‐6303
DANIEL SALLUS                                     12500 ARBORHILL                                                                              MOORPARK         CA    93021‐3178
DANIEL SAMPSON KOPLOWITZ                          468 MAGELLAN                                                                                 SAN FRANCISCO    CA    94116‐1921
DANIEL SAVAGE                                     2004 GRAND CAYMAN WAY                                                                        MESQUITE         TX    75149‐5447
DANIEL SCHOOK                                     8830 BRIDGEPORT AVE                                                                          BRENTWOOD        MO    63144‐1720
DANIEL SHIPPEE                                    19065 HERRICK                                                                                ALLEN PARK       MI    48101‐1466
DANIEL SHUFF CUST THOMAS SHUFF UTMA LA            20535 CARPENTER RD                                                                           SPRINGFIELD      LA    70462
DANIEL SIMON                                      PO BOX 355                                                                                   AMBRIDGE         PA    15003
DANIEL SINGER                                     100 UNITED NATIONS PLAZA           APT 8D                                                    NEW YORK         NY    10017
DANIEL SMAGA                                      505 HUGHART LN                                                                               VAL PARAISO      IN    46383‐1459
DANIEL SMITH                                      16523 INDIANA                                                                                DETROIT          MI    48221‐2903
DANIEL SPECTOR                                    9711 LUBAO AVE                                                                               CHATSWORTH       CA    91311‐5511
DANIEL SPRINGER                                   1710 HIGHLAND PARK RD                                                                        DENTON           TX    76205
DANIEL STACHOW                                    33952 FOUNTAIN BLVD                                                                          WESTLAND         MI    48185‐9423
DANIEL STAHLECKER & GERALDINE STAHLECKER JT TEN   20401 ALLPORT LANE                                                                           HUNTINGTON       CA    92646‐5103
                                                                                                                                               BEACH
DANIEL STAMOS & MARGARET A STAMOS JT TEN          1836 GOLFVIEW DR                                                                             TARPON SPRINGS   FL    34689‐6124
DANIEL STAMOS & MARGARET ANN STAMOS JT TEN        1836 GOLFVIEW DR                                                                             TARPON SPRINGS   FL    34689‐6124

DANIEL STANLEY SZYBALA                            43 PULASKI ST                                                                                BUFFALO          NY    14206‐3223
DANIEL STAUNER & DIANE E STAUNER JT TEN           8424 E MEADOW LAKE ROAD                                                                      NEW HOPE         MN    55428‐3142
DANIEL STEPHEN WHITLOCK                           653 EDLAWN ST                                                                                WOOD RIVER       IL    62095‐1536
DANIEL STEVEN ALDERMAN                            7210 TOM CRESWELL RD                                                                         SAGINAW          MI    48601
DANIEL STEVEN BLINCOE                             107 CAMBRON DR                                                                               BRADSTOWN        KY    40004‐2245
DANIEL STONE                                      1202 AVE U                                                                                   BROOKLYN         NY    11229‐4107
DANIEL SWEDA                                      8141 BURKEY RD NW                                                                            N CANTON         OH    44720‐5608
DANIEL SWEITZER GILLETTE                          309 NEWBURN DR                                                                               PITTSBURGH       PA    15216‐1215
DANIEL SWIFT                                      709 MEADE ST                                                                                 DUNMORE          PA    18512‐3038
DANIEL T ABEZETIAN                                1520 GREEN VALLEY BLVD                                                                       BROOKFIELD       WI    53045‐5440
DANIEL T ADAMS                                    4495 ST CLAIRE AVE                                                                           NORTH FORT MYERS FL    33903‐5832

DANIEL T BERNARD                                  1159 KETTERING                                                                               BURTON           MI    48509‐2369
DANIEL T BOSY                                     1893 CLINTON AVE NO                                                                          ROCHESTER        NY    14621‐1451
DANIEL T BROWN                                    2891 E TOWNSEND RD                                                                           ST JOHNS         MI    48879‐8004
DANIEL T BUDNIK                                   3500 S KING ST                     LOT 10                                                    DENVER           CO    80236‐6166
DANIEL T BURNS                                    PO BOX 712                                                                                   SANDOVAL         IL    62882‐0712
DANIEL T CASADY                                   505 THEO AVE                                                                                 LANSING          MI    48917‐2651
DANIEL T CASADY & WENDY J CASADY JT TEN           505 THEO AVE                                                                                 LANSING          MI    48917‐2651
DANIEL T CHRISTIANSON                             1220 DEEP HOLE DR                                                                            MATTITUCK        NY    11952‐2609
DANIEL T CRUSE                                    275 MT MORIAH RD                                                                             AUBURN           GA    30011‐2944
DANIEL T FIORENTINO                               2220 WINSTON DRIVE                                                                           COCOA            FL    32926‐2541
DANIEL T GERARD                                   R ROUTE 2                          ESSEX ON                                N8M 2X6 CANADA
DANIEL T GIAFSKI                                  LUTHER TOWERS                                                                                WILMINGTON       DE    19806
DANIEL T GROHOSKI                                 959 MANITOU LN                                                                               LAKE ORION       MI    48362‐1562
DANIEL T HAMILTON                                 708 TOURNAMENT CIR                                                                           MUSKEGON         MI    49444‐8745
DANIEL T HUNT                                     1563 BANBURY RD                                                                              TROY             OH    45373‐1107
DANIEL T JEZ                                      300 CRISPELL LAKE ROAD                                                                       CLARK LAKE       MI    49234‐9633
DANIEL T JOHNSON JR                               601 WILHELM RD APT 159                                                                       HARRISBURG       PA    17111‐2155
DANIEL T KACZMAREK                                2000 THOMAS ROAD                                                                             VARYSBURG        NY    14167‐9772
DANIEL T KESTEN                                   5234 LIPPINCOTT BLVD                                                                         BURTON           MI    48519‐1254
DANIEL T KUCERA                                   391 FAIRWAYS LN                                                                              CHELSEA          MI    48118‐2122
DANIEL T KUZUPAS                                  30344 PINTO DR                                                                               WARREN           MI    48093‐5022
DANIEL T LEUNG                                    1404 OLYMPIA DR                                                                              ROCHESTER HLS    MI    48306‐3740
DANIEL T LIU                                      1564 EDDINGTON PL                                                                            SAN JOSE         CA    95129‐3728
DANIEL T MACZIK                                   2613 THISTLEWOOD DRIVE                                                                       HOWELL           MI    48843‐7276
DANIEL T MCDONALD                                 719 OAKMONT COURT                                                                            DANVILLE         CA    94526‐6217
DANIEL T MOSKAL                                   1765 HANCOCK                                                                                 HANCOCK          MI    48353‐3308
                                                                                                                                               HARTLAND
DANIEL T NIESPIAL                                 13467 MARKET ST                                                                              CARLETON         MI    48117
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DANIEL T O'ROURKE                               2215 WYNNEWOOD CIR                                                                          LOUISVILLE      KY    40222‐6341
DANIEL T PICKETT                                387 E 900S                                                                                  CLAYTON         IN    46118‐9806
DANIEL T ROUGHTON                               4625 SALINE‐WATERWORKS RD                                                                   SALINE          MI    48176‐8808
DANIEL T SEIBER                                 126 VERNE AVE                                                                               BELLEVILLE      IL    62226‐6640
DANIEL T SELVEY                                 1000 BARCLAY DR                                                                             GALLOWAY        OH    43119‐9511
DANIEL T SERAFIN & DEBRA M SERAFIN JT TEN       22366 FAIRFAX                                                                               TAYLOR          MI    48180‐2774
DANIEL T SIDDOCK                                2431 MORRICE RD                                                                             OWOSSO          MI    48867‐8982
DANIEL T STINE                                  6012 LAMIE HWY R 5                                                                          CHARLOTTE       MI    48813‐8875
DANIEL T SWANSON                                24700 WINONA                                                                                DEARBORN        MI    48124‐1589
DANIEL T TESTA                                  9 TIMBER LAKE DR                                                                            HUBBARD         OH    44425‐8718
DANIEL T WOOD                                   3447 BETHFORD DR                                                                            BUFFALO         NY    14219
DANIEL T ZOLTON                                 7045 HOSPITAL RD                                                                            FREELAND        MI    48623‐8648
DANIEL TAYLOR JR                                14256 WOODMONT                                                                              DETROIT         MI    48227‐4708
DANIEL TERAN                                    6380 CREST FOREST CT W                                                                      CLARKSTON       MI    48348‐4584
DANIEL THOMPSON                                 1121 NORTHRUP NW                                                                            GRAND RAPIDS    MI    49504‐3839
DANIEL THURMER                                  402 MAXWELL AVE                   APT 3                                                     BOULDER         CO    80304‐4508
DANIEL TIJERINA                                 1046 CRYSTAL WOOD DR                                                                        DAVISON         MI    48423‐3404
DANIEL TOMS                                     3852 LA ROSE CIR R1               CAMPBELLCROFT ON                        L0A 1B0 CANADA
DANIEL TRIPP                                    5 YATES COURT                     BELLEVILLE ON                           K8P 4V5 CANADA
DANIEL TRIPP CUST AMANDA TRIPP UGMA MI          2060 21ST ST SW                                                                             NAPLES          FL    34117‐4610
DANIEL TRUE ANDREWS                             3325 CREWS LAKE DR                                                                          LAKELAND        FL    33813
DANIEL TULLY                                    9628 ROCKY BRANCH                                                                           DALLAS          TX    75243‐7529
DANIEL U GOMEZ                                  PO BOX 580                                                                                  EAST DETROIT    MI    48021‐0580
DANIEL V BROW                                   PO BOX 1804                                                                                 RICHMOND HILL   GA    31324‐1804
DANIEL V BUCZKOWSKI                             2708 WILSON CAMBRIA ROAD                                                                    WILSON          NY    14172‐9603
DANIEL V CHASZAR                                25790 PINEVIEW                                                                              WARREN          MI    48091‐3891
DANIEL V GARZA                                  4757 HESS                                                                                   SAGINAW         MI    48601‐6924
DANIEL V ISAACSON                               7283 SOUTHDALE AVE                                                                          BRIGHTON        MI    48116‐9151
DANIEL V LEVINE                                 10109 N 29TH CT                                                                             OMAHA           NE    68112‐1404
DANIEL V MC FALL                                21795 MCPHALL ROAD                                                                          ARMADA          MI    48005‐1326
DANIEL V MCNAIR                                 7687 LAKEVIEW RD                                                                            LEXINGTON       MI    48450‐9603
DANIEL V REVUELTA                               173 AMITY ST                                                                                BROOKLYN        NY    11201‐6273
DANIEL V TAYLOR                                 37 N EIFEET                                                                                 MASON           MI    48854‐9550
DANIEL VAIL                                     25571 CLOIE DRIVE                                                                           WARREN          MI    48089‐1301
DANIEL VASQUEZ                                  9704 AVE L                                                                                  CHICAGO         IL    60617‐5513
DANIEL VAUGHN                                   4974 HENNESSEE BRIDGE RD                                                                    ROCK ISLAND     TN    38581‐3653
DANIEL VERNIERO                                 1231 HIGHLAND AVE                                                                           UNION           NJ    07083‐6250
DANIEL VIOLANTE                                 900 CHERRY RIDGE BLVD             APT 315                                                   WEBSTER         NY    14580‐4822
DANIEL W ARGUE                                  1220 SUMNER ST                                                                              KISSIMMEE       FL    34741‐4830
DANIEL W BARTLETT                               2400 WILLOWDALE CT                                                                          BURTON          MI    48509‐1318
DANIEL W BATTISTA                               2791 HIGHLAND RD                                                                            BROOMALL        PA    19008‐1709
DANIEL W BAUMAN                                 15395 SPARTA AVENUE                                                                         KENT CITY       MI    49330‐9763
DANIEL W BENARCIK                               117 CAMBRIDGE DRIVE                                                                         WILMINGTON      DE    19803‐2605
DANIEL W BENDER                                 1040 FOX TERRIER DR                                                                         BETHEL PARK     PA    15102‐3226
DANIEL W BRIGHTON & SUSAN BRIGHTON JT TEN       6255 CAMBRIDGE ST                                                                           DEARBORN HTS    MI    48127‐2801
DANIEL W BRODERICK                              15 WILSHIRE DRIVE                                                                           DELMAR          NY    12054‐3914
DANIEL W BRUNETTI                               294 WILLOW DR                                                                               NEWTOWN         PA    18940‐2448
DANIEL W BUSHEY                                 8930 MAPLEWOOD AVE                                                                          CLARKSTON       MI    48348‐3432
DANIEL W CURTISS                                1173 INDIAN RD                                                                              LAPEER          MI    48446‐8050
DANIEL W DANHAUER                               117 BALDWIN STREET                                                                          BELTON          MO    64012‐2306
DANIEL W DOUBLEDAY                              18479 HEARTHSIDE LN                                                                         CLINTON TWP     MI    48038‐2152
DANIEL W DOUGHERTY                              1948 WITCHER CREEK RD                                                                       BELLE           WV    25015
DANIEL W ERNSBERGER & BARBARA J ERNSBERGER JT   5116 BAYARD ST                                                                              PITTSBURGH      PA    15232‐1417
TEN
DANIEL W FABISZEWSKI                            18179 MARQUETTE                                                                             ROSEVILLE       MI    48066‐3400
DANIEL W FAVA JR                                4251 ROLLING HILLS DR                                                                       BRUNSWICK       OH    44212
DANIEL W FENN CUST NICKOLAS DANIEL FENN UTMA WI 2302 2ND AVE WEST                                                                           MONROE          WI    53566‐2708

DANIEL W GOODENOUGH JR                         PO BOX 748                                                                                   BIG HORN        WY    82833‐0748
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DANIEL W GROSSO                                   2609 W BLACKMORE RD                                                                            MAYVILLE         MI    48744‐9765
DANIEL W HALL                                     407 BINSTEAD AVE                                                                               WILMINGTON       DE    19804‐3605
DANIEL W HALL                                     7960 CEMETERY RD                                                                               BOWLING GREEN    KY    42103
DANIEL W HARRIS                                   1611 HAZELWOOD DR                                                                              YOUNGSTOWN       OH    44505‐1417
DANIEL W HILL                                     63 N BASSETT RD                                                                                LAPEER           MI    48446‐2862
DANIEL W JACOBS JR & DONNA S JACOBS JT TEN        540 DRAYCOTT CT                                                                                ATLANTA          GA    30331‐7675
DANIEL W KELLER & JOSIE A KELLER JT TEN           35 MCKENNA TRL                                                                                 PENFIELD         NY    14526
DANIEL W KONKOLY & SHARON E KONKOLY JT TEN        13597 ROYALTON RD                                                                              STRONGSVILLE     OH    44136‐4645

DANIEL W KUKRAL                                   106 CHELSEA PLACE                                                                              MOUNT LAUREL     NJ    08054‐1406
DANIEL W LEE                                      609 MOON ROAD                                                                                  LAWRENCEVILLE    GA    30045‐6107
DANIEL W LOEHR                                    817 E 14 STREET                                                                                OAK GROVE        MO    64075‐9551
DANIEL W MAGUIRE                                  4587 PINCH HWY                                                                                 POTTERVILLE      MI    48876‐9719
DANIEL W MC KENZIE                                202 N 58TH ST                                                                                  SUPERIOR         WI    54880‐6206
DANIEL W MCCOLL                                   18 CANADIAN OAKS DRIVE               WHITBY ON                               L1N 6W8 CANADA
DANIEL W MCMAHON                                  1401 DEZAREA NUMBER 2                                                                          SAN ANTONIO      TX    78253‐5986
DANIEL W MERCHANT                                 9000 S HONEYCREEK RD                                                                           MUNCIE           IN    47302‐8141
DANIEL W MEYERS                                   4271 EDGEWATER DR                                                                              VERMILION        OH    44089‐2122
DANIEL W MOSHIER                                  3757 FARMERS CREEK RD                                                                          METAMORA         MI    48455‐9729
DANIEL W NAGALSKI                                 14519 COLPAERT                                                                                 WARREN           MI    48093‐2914
DANIEL W O'NEILL                                  651 PEARL AVE                                                                                  KIRKWOOD         MO    63122‐2721
DANIEL W OBRIEN                                   40 HOLCOMB ST                                                                                  ROCHESTER        NY    14612‐5418
DANIEL W ORRILL                                   6852 PARK VISTA                                                                                ENGLEWOOD        OH    45322‐3717
DANIEL W PANGBURN & MRS DONNA L PANGBURN JT       5641 W SPUR DR                                                                                 PHOENIX          AZ    85083‐1264
TEN
DANIEL W PANTALEO & NANCY M PANTALEO JT TEN       607 DELSEA DR                        PO BOX 27                                                 MALAGA           NJ    08328‐0027

DANIEL W PATTAN CUST AUSTIN J PATTAN UGMA MI      5473 GREENBACK DR                                                                              GRAND BLANC      MI    48439‐9573

DANIEL W PAXTON                                   433 PAXTON POND RD                                                                             GILBERT          SC    29054‐8731
DANIEL W RAIKES                                   11364 CARRIER                                                                                  WARREN           MI    48089‐1072
DANIEL W RIFFLE                                   2697 TEMPLETON RD                                                                              LEAVITTSBURG     OH    44430‐9430
DANIEL W RISNER                                   7315 CHEYENNE                                                                                  WESTLAND         MI    48185‐5654
DANIEL W ROBERTS                                  8546 BOSTON RD                                                                                 CLEVELAND        OH    44133‐6152
DANIEL W ROSS                                     57555 SUFFIELD DR                                                                              WASHINGTON TWP   MI    48094‐3558

DANIEL W RUSH EX EST YVONNE M RUSH                  602 SOUTH SANDUSKY                                                                           CATLIN           IL    61817
DANIEL W SCHMIDT                                    516 W HIGH ST                                                                                FENTON           MI    48430‐2261
DANIEL W SCHNEDER                                   8945 S STATE ROUTE 202                                                                       TIPP CITY        OH    45371‐9425
DANIEL W SCOFIELD                                   3041 WOODSIDE DR                                                                             FAIRFIELD        OH    45014‐5035
DANIEL W SEIFERT                                    32602 GRINSELL                                                                               WARREN           MI    48092‐3104
DANIEL W SHADRICK                                   13629 W PARK DR                                                                              MAGALIA          CA    95954‐9502
DANIEL W SIMPSON CUST JONATHAN F SIMPSON UTMA 1401 BURNS DR                            7                                                         RAPID CITY       SD    57702‐3117
SD
DANIEL W SLOT & STEVEN D SLOT JT TEN                3235 EAGLE PARK DRIVE NE                                                                     GRAND RAPIDS     MI    49525‐7017
DANIEL W SPINDLER                                   1033 PEALE                                                                                   PARK RIDGE       IL    60068‐4974
DANIEL W STEELE                                     3 SHERWOOD CIRCLE                                                                            CLAY             NY    13041‐9608
DANIEL W SULLIVAN & LU ANN SULLIVAN JT TEN          1333 BLOSSOM LANE                                                                            ASHLAND          OH    44805‐4400
DANIEL W SWEENEY                                    7521 INDIANA AVE                                                                             DEARBORN         MI    48126‐1675
DANIEL W THOMAS                                     3796 ABBEY RD                                                                                SYRACUSE         NY    13215‐9715
DANIEL W THYBERG                                    12037 DISTANT THUNDER TRL                                                                    CLARKSVILLE      MD    21029‐1690
DANIEL W WADDELL                                    16712 HELEN STREET                                                                           SOUTHGATE        MI    48195‐2173
DANIEL W WELCH                                      2069 GLENCOVE                                                                                WOLVERINE LAKE   MI    48390‐2419
DANIEL W WESEN & MARLA C WESEN JT TEN               117 BOGART DR                                                                                BOZEMAN          MT    59718‐9307
DANIEL W ZEMKO                                      BOX 163                                                                                      VAN VOORHIS      PA    15366‐0163
DANIEL W ZIEGFELD III                               701 IVY HILL ROAD                                                                            COCKEYSVILLE     MD    21030‐1508
DANIEL W ZIEGFELD III & CONSTANCE L ZIEGFELD JT TEN 701 IVY HILL ROAD                                                                            COCKEYSVILLE     MD    21030‐1508

DANIEL WAGNER                                     3037 LINCOLN B                                                                                 BOCA RATON       FL    33434‐4651
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DANIEL WALTER ENGLAND                             2069 CATHERINE LAKE RD                                                                           RICHLANDS          NC    28574‐8122
DANIEL WALTERS                                    3420 TROUGH SPRINGS RD                                                                           CLARKSVILLE        TN    37043
DANIEL WARZALA & JONI WARZALA JT TEN              20824 GREYSTONE AVE N                                                                            FOREST LAKE        MN    55025‐8059
DANIEL WEBB                                       476 EAST 114 ST                                                                                  CLEVELAND          OH    44108‐1465
DANIEL WECHSLER                                   800 AVE H                                                                                        BROOKLYN           NY    11230‐2248
DANIEL WEISBERGER                                 3614 ENGLISH RD APT D                                                                            LAKE WORTH         FL    33467‐3127
DANIEL WEISDORF                                   110 BANK STREET SE #2101                                                                         MINNEAPOLIS        MN    55414‐3905
DANIEL WELCHECK CUST EDWARD DETTMAN JR UTMA       1440 FALLS AVE                                                                                   CUYAHOGA FALLS     OH    44223‐2443
OH
DANIEL WESCOTT & LINDA A WESCOT JT TEN            15 WINDY HILL                                                                                    EQUINUNK           PA    18417
DANIEL WESLEY NOVAK & DANIEL WILLIAM NOVAK JT     34069 DRYDEN                                                                                     STERLING HEIGHTS   MI    48312‐5001
TEN
DANIEL WHITE                                      PO BOX 1760                                                                                      LEONARDTOWN        MD    20650
DANIEL WHITLOCK                                   653 EDLAWN ST                                                                                    WOOD RIVER         IL    62095‐1536
DANIEL WICK                                       235 ALCAZAR AVE                                                                                  CORAL GABLES       FL    33134
DANIEL WILLIAM SHERWOOD                           41 SEAVIEW AVE                                                                                   MARBLEHEAD         MA    01945‐1731
DANIEL WILLIAMS                                   10704 LEE AV                                                                                     ADELANTO           CA    92301‐2135
DANIEL WILSON                                     PO BOX 21094                                                                                     CHEYENNE           WY    82003‐7022
DANIEL WITMER & JOANNE WITMER JT TEN              21 BIG OAK RD                                                                                    DILLSBURG          PA    17019‐9122
DANIEL WRIGHT                                     8224 ELIZABETH                                                                                   CHICAGO            IL    60620‐3954
DANIEL WRONEK                                     3925 HEREFORD RD                                                                                 ERIE               PA    16510‐2461
DANIEL YANCHISIN                                  8000 CARRIAGE LANE                                                                               RICHMOND           VA    23229‐6546
DANIEL YENCHO                                     3091 F HARDIES ROAD                                                                              GIBSONIA           PA    15044‐8425
DANIEL ZAKOVIC                                    37621 LEGGETT LN                                                                                 LADY LAKE          FL    32159‐4713
DANIEL ZAWLOCKI                                   75 CHATEAUX DU LAC                                                                               FENTON             MI    48430‐9140
DANIEL ZIELASKOWSKI                               625 SOUTH SECOND ST                                                                              ROGERS CITY        MI    49779‐1907
DANIELA ARBOLEDA CUST GIANCLAUDIO ARBOLEDA        267 SEIDMAN PL                                                                                   FRANKLIN SQUARE    NY    11010‐3029
UTMA NY
DANIELA CYN                                       5635 BELMONT                                                                                     DEARBORN HEIGHTS MI      48127‐2406

DANIELE M HADORN                                  5813 RICHMOND RD                                                                                 SOLON              OH    44139‐2121
DANIELL LEWIS MATTERN                             BOX 1256                                                                                         UNIVERSITY         MS    38677‐1256
DANIELL R SMITH                                   6844 STONE GAP COVE                                                                              MEMPHIS            TN    38141‐8564
DANIELLA WILLIAMS                                 16842 FERGUSON                                                                                   DETROIT            MI    48235‐3358
DANIELLE A ALLPORT                                21 GROVE STREET                                                                                  HILTON             NY    14468‐1222
DANIELLE A TIVY HOLT                              5031 POINTE DR                                                                                   EAST CHINA         MI    48054‐3511
DANIELLE B SCHREIER                               124 E 24TH ST                           APT 4K                                                   NEW YORK           NY    10010‐3615
DANIELLE BLAIR HERSHMAN                           200 E 66TH ST                                                                                    NEW YORK           NY    10021‐6728
DANIELLE BURNS THOMPSON                           2044 SABLE LN NE                                                                                 OLYMPIA            WA    98506
DANIELLE D ALLMANN                                83 TAHLULAH LANE                                                                                 WEST ISLIP         NY    11795‐5220
DANIELLE D HAWKINS                                5840 CAVANAUGH DR                                                                                RALEIGH            NC    27614‐7243
DANIELLE D WHITE                                  14735 PLYMOUTH RD APT 4                                                                          DETROIT            MI    48227‐2756
DANIELLE E DEEG                                   2957 WEST DEEG ROAD                                                                              AMERICAN FALLS     ID    83211‐5554
DANIELLE E RUSS                                   6355 FENN RD                                                                                     MEDINA             OH    44256‐9462
DANIELLE ELIZABETH TODD                           41502 W VILLAGE GREEN BLVD              APT 206                                                  CANTON             MI    48187‐3867
DANIELLE J GOLDMAN                                1311 BENNINGTON AVE                                                                              PITTSBURGH         PA    15217‐1136
DANIELLE J KELLY                                  115 BOXWOOD DR                                                                                   KINGS PARK         NY    11754‐2913
DANIELLE L ARCHDALE & DOLORES A ARCHDALE JT TEN   175 W OLYMPIA DR                                                                                 GRASS VALLEY       CA    95945‐5258

DANIELLE L CASTELLI                               4140 N CENTRAL AV 2062                                                                           PHOENIX            AZ    85012‐1866
DANIELLE L MILKIEWICZ                             9232 MORRISH RD                                                                                  SWARTZ CREEK       MI    48473‐9126
DANIELLE LANDAU CUST JACQUELINE NICOLE LANDAU     48 PITNEY AVE                                                                                    STATEN ISLAND      NY    10309
UGMA NY
DANIELLE LEE NEWCOMB                              166 TERRY CV                                                                                     KYLE               TX    78640‐5116
DANIELLE M SWAN                                   1987 GLENWOOD DR                                                                                 TWINSBURG          OH    44087‐1256
DANIELLE MARIE BUNKE                              29508 OCEANPORT RD                                                                               RANCHO PALOS       CA    90275‐5702
                                                                                                                                                   VERDE
DANIELLE MARIE PADAVIC                            2158 E 1150TH ST                                                                                 MENDON             IL    62351
DANIELLE MORGAN                                   7474 BELLFLOWER RD                                                                               MENTOR             OH    44060‐3947
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DANIELLE MURR                                   476 PURITAN RD                                                                               SWAMPSCOTT      MA    01907
DANIELLE N CATO                                 6144 SENECA                                                                                  DETROIT         MI    48213‐2512
DANIELLE N GRACE CUST ERIN E GRACE UTMA MD      2914 MONTCLAIR DR                                                                            ELLICOTT CITY   MD    21043
DANIELLE R JOHNSON                              4951 YELLOWSTONE PARK DR                                                                     FREMONT         CA    94538‐3963
DANIELLE RICE                                   ATTN DANIELLE BAUER                 2425 ORCHARD DR                                          UPPR ST CLAIR   PA    15241‐2305
DANIELLE SCHMITTLE                              42245 OBERLIN RD                                                                             ELYRIA          OH    44035‐7413
DANIELLE SKLAREW                                6208 POINDEXTER LANE                                                                         N BETHESDA      MD    20852‐3643
DANIELLE THORNTON                               21218 LEMOYNE RD                                                                             LUCKEY          OH    43443
DANIELLE WING CUST NICHOLAS WING UTMA NY        5633 CARRIAGE CT                                                                             ONTARIO         NY    14519‐8992
DANIELM HARTZOG III & SHARON G HARTZOG JT TEN   4009 ROYAL OAK CT                                                                            BIRMINGHAM      AL    35243‐5819

DANILO C SALAZAR                                4149 MARLWOOD DR                                                                             W BLOOMFIELD    MI    48323
DANILO FANTIN                                   2133 NORTH BRANCH RD                                                                         NORTH BRANCH    MI    48461‐9340
DANITA E WADDY                                  2619 WOODLAND AVE                                                                            BALTIMORE       MD    21215‐6523
DANITA K CARTER                                 616 HEIDI LN                                                                                 MANSFIELD       OH    44904‐1680
DANITA K DAVIS                                  5450 WINDFERN CT                                                                             STONE MTN       GA    30088‐3330
DANN D HART                                     4486 S SHORE STREET                                                                          WATERFORD       MI    48328‐1160
DANN L SHAPIRO                                  8 LANE AVE                                                                                   GREENLAND       NH    03840‐2305
DANN P VESSELL                                  9680 BOUCHER DRIVE                                                                           OTTER LAKE      MI    48464‐9415
DANN W JACKSON                                  12539 FROST RD                                                                               MANTUA          OH    44255‐9316
DANNA A ALEXANDER                               47274 WHIPPOORWILL DRIVE                                                                     MACOMB TWP      MI    48044‐2827
DANNA K ISAAC                                   101 DEETER DR                                                                                CLAYTON         OH    45315‐8832
DANNA LOVE                                      9242 S EUCLID                                                                                CHICAGO         IL    60617‐3750
DANNA LYNN TALBOTT                              9357 EAGLE HILL                                                                              CLARKSTON       MI    48346‐1827
DANNA PRINE                                     2417 GRAHAM DR N                                                                             ARLINGTON       TX    76013‐1360
DANNES BLAINE MUELLER                           3251 DEL MAR DRIVE                                                                           STOW            OH    44224
DANNEY L BENEFIEL                               3079 HWY M                                                                                   CABOOL          MO    65689‐9623
DANNIE BARNES                                   PO BOX 6301                                                                                  GRAND RAPIDS    MI    49516‐6301
DANNIE D BLOOM                                  16945 SUNSET LANE                                                                            THREE RIVERS    MI    49093‐9008
DANNIE E CAMERON                                498 ALLISON AVE                     PO BOX 5440                                              MANSFIELD       OH    44903‐1002
DANNIE E SHROUT                                 1334 SHEFFIELD DR                                                                            AVON            IN    46123‐8063
DANNIE J BRANCH                                 3711 TIKI DRIVE                                                                              HOLIDAY         FL    34691‐3221
DANNIE J HUMMEL                                 23929 26 MILE RD                                                                             CHARLOTTE       MI    48813‐9003
DANNIE J SMITH                                  1762 REGENE ST                                                                               WESTLAND        MI    48186‐9726
DANNIE L SANDERS                                1362 GRASSLAND ROAD                                                                          BROWNSVILLE     KY    42210
DANNIE MYERS                                    3426 PIEDMONT AVE                                                                            DAYTON          OH    45416‐2112
DANNIE P CUMBERWORTH                            3591 N SMITH RD                                                                              DIMONDALE       MI    48821‐9796
DANNIE T HARKINS & GLORIA E HARKINS JT TEN      5531 STATE ROUTE 283                                                                         ROBARDS         KY    42452‐9713
DANNIS E HOOD                                   302 BROOKWOOD LANE                                                                           LAFAYETTE       GA    30728‐2533
DANNY A CASEY                                   1841 WATERFIELD LANE                                                                         BLUE SPRINGS    MO    64014‐1825
DANNY A HAZELL                                  4633 HANOVER                                                                                 KALAMAZOO       MI    49002‐2237
DANNY A KINNEY                                  12126 BLACK RIVER SCHOOL RD                                                                  HOMER           OH    44235‐9746
DANNY A PEMBERTON                               592 DIXIE HWY                                                                                MITCHELL        IN    47446‐6732
DANNY A SMITH                                   6321 S E 57TH                                                                                OKLAHOMA CITY   OK    73135‐5509
DANNY A SPURLOCK                                19 S CLIFFWOOD CIR                                                                           BELTON          TX    76513‐6328
DANNY AL DRENNON                                7737 36 MILE RD                                                                              BRUCE           MI    48065‐1811
DANNY ALEXANDER                                 7563 E VILLANUEVA DR                                                                         ORANGE          CA    92867‐6426
DANNY B MONTGOMERY                              33 CARL CEDAR HILL RD                                                                        WINDER          GA    30680‐7248
DANNY B SPARKMAN                                801 SIMMONS                                                                                  EULESS          TX    76040‐5218
DANNY BAKER                                     5832 SHIPP DR                                                                                WATAUGA         TX    76148‐3528
DANNY BARBUCCI                                  4360 DU CATAMARAN                   APT 103 QC                             H7R 6H5 CANADA
DANNY BARBUCCI                                  4360 DU CATAMARAN                   APT 103              LAVAL QC          H7R 6H5 CANADA
DANNY C BROOKS                                  6255 CRESTVIEW DR SE                                                                         COVINGTON       GA    30014‐3211
DANNY C DAVIS                                   30415 ROSSLYN ST                                                                             GARDEN CITY     MI    48135‐1314
DANNY C FOLDS                                   217 RIVER LANDING DR                                                                         MONROE          GA    30656‐8101
DANNY C GRAVIET                                 27554 GATLIN RD                                                                              ARDMORE         AL    35739‐7706
DANNY C HOUSEHOLDER                             1308 SW 105TH PL                                                                             OKLAHOMA CITY   OK    73170‐4201
DANNY C LUDLAM                                  308 NW 400                                                                                   WARRENSBURG     MO    64093‐7656
DANNY C MEAD                                    3909 HIGGIN RD                                                                               VASSAR          MI    48768‐9781
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DANNY C MULLINS                                619 S SNYDER ROAD                                                                                NEW LEBANON       OH    45345
DANNY C SEITZ                                  5508 HUBBARD DRIVE                                                                               FLINT             MI    48506‐1154
DANNY C SHELTON                                624 WINDING WAY                                                                                  WEST MILTON       OH    45383‐1335
DANNY CASTELLON                                3346 W JEFFERSON RD                                                                              ALMA              MI    48801‐9310
DANNY COOK                                     9840 DEAN DR                                                                                     MANASSAS          VA    20110‐4115
DANNY CROUCH                                   275 ORCHARD HILL DRIVE                                                                           WEST CARROLLTON   OH    45449‐2232

DANNY D BENASSI                                103 DEER CREEK HLS                                                                               GREENCASTLE       IN    46135‐9265
DANNY D BRANDOW                                2745 ELKTON RD                                                                                   OWENDALE          MI    48754‐9762
DANNY D GREGORY & MRS ROBERTA L GREGORY JT TEN 1306 E ISLANDVIEW DR                                                                             WARSAW            IN    46580‐5078

DANNY D HUFFER                                  6334 KELLUM DR                                                                                  INDIANAPOLIS      IN    46221‐4613
DANNY D LYONS                                   419 S KENWOOD                                                                                   ROYAL OAK         MI    48067‐3943
DANNY D MONTGOMERY                              582 W LOCUST ST                                                                                 WILMINGTON        OH    45177‐2113
DANNY D REDMAN                                  2935 PLEASANT VALLEY                                                                            BRIGHTON          MI    48114‐9217
DANNY D SCHUYLER & MARY D SCHUYLER JT TEN       14 RANCH OAK DR                                                                                 WEST MONROE       LA    71291‐7809
DANNY D VAUGHN                                  6576 EAST AB AVENUE                                                                             RICHLAND          MI    49083‐9521
DANNY DALLAS                                    621 E 29TH ST                                                                                   BALTIMORE         MD    21218‐4227
DANNY DANIELS                                   101 EAST 9TH AVE                       UNIT 3A                                                  ANCHORAGE         AK    99501‐3651
DANNY DAVIS                                     23141 BEVERLY                                                                                   OAK PARK          MI    48237‐4300
DANNY E AKERS                                   1432 HILLSIDE DR                                                                                FLINT             MI    48532‐2411
DANNY E BLACK                                   PO BOX 165                                                                                      CAMDEN POINT      MO    64018‐0165
DANNY E COOK                                    PO BOX 383                                                                                      MC KINNEY         TX    75070‐0383
DANNY E DECESARE                                4921 SIMON RD                                                                                   BOARDMAN          OH    44512‐1739
DANNY E FLANNERY                                16290 S SEYMOUR                                                                                 LINDEN            MI    48451‐9736
DANNY E HUBBARD                                 8115 BROWNS BRIDGE RD                                                                           GAINESVILLE       GA    30506‐4033
DANNY E KYLE                                    429 CHESTNUT                                                                                    JACKSON           MI    49202‐3907
DANNY E MAINES                                  7425 HOFFMAN ROAD                                                                               APPLETON          NY    14008‐9616
DANNY E MARTIN                                  9881 SELTZER                                                                                    LIVONIA           MI    48150‐3253
DANNY E MC INTYRE                               400 MORROW                                                                                      KALAMAZOO         MI    49001‐9575
DANNY E MCDIRMIT                                227 KEY LARGO AVE                                                                               DAVENPORT         FL    33897‐3621
DANNY E O'KELLEY                                20548 CLARK                                                                                     BELLEVILLE        MI    48111‐9173
DANNY E PLICHOTA                                27943 SUTHERLAND                                                                                WARREN            MI    48093‐4850
DANNY E REATHERFORD                             480 AUTUMN LN                                                                                   SAVANNAH          TN    38372‐5055
DANNY E ROSS                                    44617 FOXTAIL RD                                                                                COARSEGOLD        CA    93614‐9590
DANNY E TROUT                                   57 HIDDEN BAY                                                                                   CICERO            IN    46034‐9342
DANNY F BIGGS                                   359 BARNETTE DRIVE                     LOT #118                                                 KINGSPORT         TN    37660
DANNY F KING                                    3640 BRAEMORE DRIVE                                                                             JANESVILLE        WI    53545‐9153
DANNY F MARCHESI                                29761 MERRICK                                                                                   WARREN            MI    48092‐2116
DANNY F NELSON                                  5228 MIDDLETON ST                                                                               COLUMBIA          SC    29203‐6060
DANNY F PUCKETT                                 325 SHORES DR                                                                                   SPEEDWELL         TN    37870‐8253
DANNY FRANKLIN                                  3314 EUCLID HTS BLVD                                                                            CLEVELAND HTS     OH    44118‐1822
DANNY G DANE & LINDA LEE DANE COMMUNITY         BOX 9997                                                                                        BAKERSFIELD       CA    93389‐1997
PROPERTY
DANNY G GEORGE                                  370 COUNTY ROAD 156                                                                             ANDERSON          AL    35610‐3760
DANNY G HAYDEN                                  4049 S CR 800E                                                                                  SELMA             IN    47383‐9617
DANNY G LEIGHTON                                21552 AUDETTE ST                                                                                DEARBORN          MI    48124‐3026
DANNY G MARTIN                                  5113 BONNY BRIDGE DR                                                                            INDIANAPOLIS      IN    46241‐9206
DANNY G O'NEIL & SANDRA P O'NEIL JT TEN         2904 CHEW STREET                                                                                ALLENTOWN         PA    18104‐5314
DANNY G TAYLOR                                  28576 DUNEVANT DR                                                                               WEST HARRISON     IN    47060‐9201
DANNY G TURNER                                  3325 SAINT EVANS ROAD                                                                           CHARLOTTE         NC    28214‐9048
DANNY GARCIA CUST DANIEL ESTEBAN GARCIA UTMA FL 9804 SW 161ST PL                                                                                MIAMI             FL    33196‐6624

DANNY GENE HAYDEN                              4049 S CR 800 E                                                                                  SELMA             IN    47383‐9617
DANNY H ALVAREZ                                35253 MUDD LN                                                                                    ASTORIA           OR    97103‐8337
DANNY H BAGGETT                                4229 AMBASSADOR WAY                                                                              BALCH SPRINGS     TX    75180‐2911
DANNY H HART                                   5008 N TILLOTSON                                                                                 MUNCIE            IN    47304‐6508
DANNY H RIFENBARK                              5242 NORTH HURON ROAD                                                                            PINCONNING        MI    48650‐6401
DANNY HARDY & JULIANNA E HARDY JT TEN          24698 MURRAY DR                                                                                  MT CLEMENS        MI    48045‐3352
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DANNY HAYES                                      1101 SAVANNAH TR                                                                            TALLAHASSEE       FL    32312‐3136
DANNY J BOYKINS & DIANNE M BOYKINS TR BOYKINS    5118 MCHENRY LANE                                                                           INDIANAPOLIS      IN    46228‐2368
LIVING TRUST UA 12/08/04
DANNY J BYRAM                                    560 GARDEN HEIGHTS DR                                                                       WINTER GARDEN     FL    34787‐2216
DANNY J CORNELL                                  1309 PINEHURST AVE                                                                          FLINT             MI    48507‐2365
DANNY J CRAIG                                    PO BOX 712                                                                                  OWOSSO            MI    48867
DANNY J DATWEILER                                15708 E 42ND PLACE                                                                          INDEPENEDENCE     MO    64055‐5008
DANNY J DENISON                                  220 MILL OAK LN                                                                             HOLLY             MI    48442‐8999
DANNY J FRITZINGER                               2218 S COUNTY RD 800 W                                                                      COATESVILLE       IN    46121‐9185
DANNY J KELLERMEYER & MICHAELLE L KELLERMEYER JT 610 N ORTONVILLE ROAD                                                                       ORTONVILLE        MI    48462‐8576
TEN
DANNY J KINCZKOWSKI & SUSAN E KINCZKOWSKI JT TEN 1047 WOODRUFF LAKE DRIVE                                                                    HIGHLAND          MI    48357‐2633

DANNY J LAWRENCE                                4061 PRINGLE ST                                                                              BURTON            MI    48529‐2319
                                                                                                                                             SOUTHEAST
DANNY J MATZKE                                  12933 CIMARRON DR                                                                            BIRCH RUN         MI    48415‐9300
DANNY J ONEY CUST CHAD M ONEY UGMA OH           6079 ARLYNE LN                                                                               MEDINA            OH    44256‐6810
DANNY J ONEY CUST DANA M ONEY UGMA OH           904 QUEENS WAY                                                                               CANTON            MI    48188‐1195
DANNY J PLOEG                                   829 BASSETT LK                                                                               MIDDLEVILLE       MI    49333
DANNY J SELF                                    7872 HICKORY RIDGE LANE                                                                      MOORESVILLE       IN    46158‐8567
DANNY J SEYMOUR                                 42862 NEWPORT DR                                                                             FREMONT           CA    94538‐5530
DANNY J TAYLOR                                  7401 CAMBY RD                                                                                CAMBY             IN    46113‐9252
DANNY JERGENS                                   36 WOODS DRIVE                                                                               WESTMILTON        OH    45383‐1136
DANNY JOE BARRETT                               6316 ADEL RD                                                                                 SPENCER           IN    47460‐5207
DANNY JOHN FARRELL                              65 1ST ST                           #2                                                       N ARLINGTON       NJ    07031‐4921
DANNY JUDY                                      931 SEMINOLE RD                                                                              FREDERICK         MD    21701‐4640
DANNY K BOBO                                    2241 BOSTON STREET SE                                                                        GRAND RAPIDS      MI    49506‐4165
DANNY K COOPER                                  1030 MAYBERRY COURT                                                                          COPPER CANYON     TX    75077‐8552
DANNY K HALL                                    809 MEADOWRIDGE DR                                                                           MIDWEST CITY      OK    73110‐7008
DANNY K MUSIC                                   6605 AGENBROAD RD                                                                            TIPP CITY         OH    45371‐8756
DANNY K PHILPOT                                 PO BOX 653                                                                                   CAMERON           SC    29030‐0653
DANNY KING                                      P O BOX 619                                                                                  LA CROSSE         VA    23950
DANNY L ALLISON                                 7610 N 1325 EAST RD                                                                          GEORGETOWN        IL    61846‐7537
DANNY L BIRD & JANE M BIRD JT TEN               13835 SE 97TH AVE                                                                            SUMMERFIELD       FL    34491‐9304
DANNY L BRAGG                                   4840 SALINE WATERWORKS RD                                                                    SALINE            MI    48176‐8807
DANNY L BRAHAM                                  3841 JONES RD                                                                                DIAMOND           OH    44412‐9752
DANNY L BRENNER                                 4787 SKYLINE DRIVE                                                                           PERRINTON         MI    48871‐9757
DANNY L BRIGGS                                  7331 REDRIFF                                                                                 WEST BLOOMFIELD   MI    48323‐1060

DANNY L CAPPS                                   6032 GORDON ST                                                                               ST JOSEPH         MO    64504‐1502
DANNY L EASON                                   31423 34 MILE RD                                                                             RICHMOND          MI    48062‐4623
DANNY L FANNING CUST JAYSON L FANNING UTMA CA   3632 PORTSMOUTH CT                                                                           PLEASANTON        CA    94588‐3594

DANNY L FIELDS                                  PO BOX 273                                                                                   CHESAPIAKE        OH    45619‐0273
DANNY L GARRISON                                435 BENTON BLVD                                                                              KC                MO    64124‐1966
DANNY L GRIFFIN                                 2049 TAMARACK DR                                                                             OKEMOS            MI    48864‐3909
DANNY L HALL                                    200 HARTMAN LANE                                                                             GRANTS PASS       OR    97527‐7718
DANNY L HOUSE                                   5021 REEDER ST                                                                               INDIANAPOLIS      IN    46203‐3722
DANNY L HUBEK                                   59 LAKEVIEW STREET                                                                           LAKE MILTON       OH    44429‐9614
DANNY L JACKSON                                 1947 KIMBELL RD                                                                              TERRY             MS    39170‐9442
DANNY L JEWELL                                  2605 MCKNIGHT RD                                                                             CULLEOKA          TN    38451‐2602
DANNY L JOHNSON                                 11296 N 200 E                                                                                ALEXANDRIA        IN    46001‐9052
DANNY L JOHNSON                                 16244 COVE DRIVE                                                                             LINDEN            MI    48451‐8717
DANNY L KELLY                                   9486 FAIRGROVE RD                                                                            FAIRGROVE         MI    48733‐9719
DANNY L KNAPP                                   2551 KEUYKA VISTA ROAD                                                                       DUNDEE            NY    14837‐9773
DANNY L KODAT                                   6477 LAPEER RD                                                                               BURTON            MI    48509‐2429
DANNY L MCCLOSKEY                               2605 S NIAGARA ST                                                                            SAGINAW           MI    48602‐1051
DANNY L MCHATTON & ALYSON G MCHATTON JT TEN     BOX 705                                                                                      ADKINS            TX    78101
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DANNY L NELMS                              106 STRATFORD DR                                                                              FITZGERALD      GA    31750‐9803
DANNY L PHILLIPS                           PO BOX 52                                                                                     MUSTANG         OK    73064‐0052
DANNY L PIWOWARCZYK                        PO BOX 50892                                                                                  PHOENIX         AZ    85076‐0892
DANNY L POWELL                             15213 S E 136TH ST                                                                            NEWALLA         OK    74857‐7833
DANNY L RICHARDS                           4622 W HERRICK                                                                                FARWELL         MI    48622‐9243
DANNY L ROSS                               2163 GLENCOE/PO BOX 32                                                                        CULLEOKA        TN    38451‐0032
DANNY L SANBORN                            9503 E MOUNT MORRIS RD                                                                        DAVISON         MI    48423‐9371
DANNY L SARADPON                           5114 S ROLLING RD                                                                             BALTIMORE       MD    21227‐4943
DANNY L SHEPHERD                           4210 RYBOLT ROAD                                                                              CINCINNATI      OH    45248‐2114
DANNY L SMITH                              137 E VAN BUREN                                                                               EUREKA SPGS     AR    72632‐3653
DANNY L SPRAGUE                            245 W LARCH RD #3                                                                             HARRISON        MI    48625‐8104
DANNY L THOMPSON                           5062 WINANS                                                                                   DOWLING         MI    49050
DANNY L TIMBS                              865 E 10 MILE RD                                                                              DAFTER          MI    49724‐9400
DANNY L WANAMAKER                          8540 NORMAN RD                                                                                IMALY CITY      MI    48444‐9434
DANNY L WEISS                              6820 HUPFER ROAD                                                                              FREELAND        MI    48623‐8903
DANNY L WILLIAMS                           235 CALIFORNIA PIKE                                                                           BEAVER          OH    45613‐9778
DANNY L WILSON                             301 S 32ND STREET                                                                             MOORE           OK    73160‐7554
DANNY L WOOD                               2742 DOUGLAS LN                                                                               THOMPSONS       TN    37179‐5001
                                                                                                                                         STATION
DANNY LEE DICKERSON                        4098 SQUIRE HILL DR                                                                           FLUSHING        MI    48433‐3105
DANNY LEE DUNLAP                           192 LAKEWOOD DR                                                                               MINSTER         OH    45865‐1332
DANNY LEE F PAUL                           101 PILGRIM AVE                                                                               COVENTRY        RI    02816‐4212
DANNY LINTZ                                810 HICKS BLVD                                                                                FAIRFIELD       OH    45014‐2820
DANNY LOPEZ                                35031 LIDO BLVD                                                                               NEWARK          CA    94560‐1115
DANNY M BAILEY                             609 PROSPECT ROAD                                                                             ROCKMART        GA    30153‐3534
DANNY M BRIGMAN                            485 BARLOW RD                                                                                 PARKTON         NC    28371‐0275
DANNY M DAVIS                              1225 SUGARBUSH DR                                                                             LAPEER          MI    48446‐9425
DANNY M DEBARR                             413 MAPLE                                                                                     OWOSSO          MI    48867
DANNY M FREDERICK                          4628 TAFT RD                                                                                  CLAY            MI    48001‐4391
DANNY M HARDAKER                           6245 E WILSON RDVE                                                                            CLIOT           MI    48420‐9710
DANNY M MOORE                              34608 WHITTAKER                                                                               CLINTON TWP     MI    48035‐3383
DANNY M TURPEN                             2104 N HAWTHORN CT                                                                            DANVILLE        IN    46122‐8205
DANNY M TURPEN & LINDA F TURPEN JT TEN     2104 N HAWTHORN CT                                                                            DANVILLE        IN    46122‐8205
DANNY MARTIN STEIB                         111 LONGWOOD DR                                                                               MANDEVILLE      LA    70471‐1744
DANNY MCKIBBIN                             16212 PINE LAKE FOREST DR                                                                     LINDEN          MI    48451‐9092
DANNY MERRIL RING                          3100 W BROOK DR                                                                               MUNCIE          IN    47304‐2913
DANNY MIKI YAMAMURA                        PO BOX 433                                                                                    HAIKU           HI    96708‐0433
DANNY N ANDERSON                           107 ELLIOTT CT                                                                                COLUMBIA        TN    38401‐5500
DANNY N MYERS                              6425 THORNAPPLE RIVER DR SE                                                                   ALTO            MI    49302‐9131
DANNY N SHAFFER                            21295 RD 82                                                                                   OAKWOOD         OH    45873‐9403
DANNY N URTON                              471 BROADWAY                                                                                  MAINEVILLE      OH    45039‐9653
DANNY O BARRETT                            230 JANE STREET                                                                               TAYLORSVILLE    MS    39168‐9520
DANNY O CLINE                              BOX 457                                                                                       SUTTON          WV    26601‐0457
DANNY O ELKINS                             1383 LAKE FRONT DRIVE                                                                         DANDRIDGE       TN    37725‐6620
DANNY O EVERETT                            6637 S MINERVA AVE                                                                            CHICAGO         IL    60637‐4309
DANNY O FIDLER                             16 HAMILTON PLACE                                                                             CHARLESTON      WV    25314‐2300
DANNY O LATHAM                             7186 W VON DETTE CIR                                                                          DAYTON          OH    45459‐5042
DANNY O ROSE                               15800 COUNTY RD 400                                                                           HILLSBORO       AL    35643‐3928
DANNY O SHELTON                            4205 ROSE LANE                                                                                GLADWIN         MI    48624‐7215
DANNY P DIMAURO                            9405 E 16TH ST S                                                                              INDEPENDENCE    MO    64052‐1803
DANNY P MCLAUGHLIN                         PO BOX 3185                                                                                   APPLEGATE       OR    97530‐3185
DANNY R ARMSTRONG                          10480 ALABAMA HIGHWAY 33                                                                      MOULTON         AL    35650‐5075
DANNY R BRANHAM                            19664 POWERS RD                                                                               DEFIANCE        OH    43512‐8055
DANNY R COLFLESH                           1646 BURNS LINE RD                                                                            CROSWELL        MI    48422‐9749
DANNY R COLLINS                            7924 THISTLEWOOD CT                                                                           HUBER HEIGHTS   OH    45424‐1930
DANNY R DAVIS                              315 E FREMONT RD                                                                              SHEPHERD        MI    48883‐9532
DANNY R DICKERSON                          280 RAINBOW CIR                                                                               SCOTTSVILLE     KY    42164‐6091
DANNY R ELLIOTT                            9 MAPLE HILLS TOWNHOUSE                                                                       WARRENTON       MO    63383‐2909
DANNY R FELTON                             793 SLATER RD                                                                                 SALEM           OH    44460‐9731
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DANNY R FINLEY                                  4448 BLUEHAVEN DRIVE                                                                           DAYTON             OH    45406‐3333
DANNY R FULTZ                                   104 MAURI CV                                                                                   CLINTON            MS    39056‐5707
DANNY R MOORE                                   14687 ANNAPOLIS                                                                                STERLING HEIGHTS   MI    48313‐3617

DANNY R MULLINS                                 13123 WOODLAND DR                                                                              LOCKPORT           IL    60441‐8725
DANNY R PAINTER                                 127 S 5TH ST                                                                                   MIDDLETOWN         IN    47356‐1405
DANNY R PERKINS                                 6089 SOUTHERN OAKS DR SE                                                                       WINTERHAVEN        FL    33884‐2750
DANNY R ROBINSON                                14886 ARLINGTON                                                                                ALLEN PARK         MI    48101‐2904
DANNY R TAYLOR                                  2487 DEPOT ST                                                                                  SPRING HILL        TN    37174‐2423
DANNY R THOMPSON                                505 COLEMAN LANE                                                                               BOWLING GREEN      KY    42103‐9736
DANNY R VAUGHN                                  1705 W CHRISTI LANE                                                                            RAYMORE            MO    64083
DANNY R WHITEHEAD                               5130 E STANLEY RD                                                                              COLUMBIAVILLE      MI    48421‐8963
DANNY RAY CURRY                                 1536 GLASS DR                                                                                  INDIANAPOLIS       IN    46214
DANNY RAY HARNER                                2191 W WHITEHALL RD                                                                            STATE COLLEGE      PA    16801‐2332
DANNY RILEY RAY                                 6862 WRIGHT CT                                                                                 ARVADA             CO    80004‐2355
DANNY S JAVOROWSKY & JENNIFER L JAVOROWSKY JT   833 EAST OAK ST                                                                                APOPKA             FL    32703‐4434
TEN
DANNY S MALLINSON                               1157 BAY RIDGE                                                                                 HIGHLAND           MI    48356‐1105
DANNY S MALLINSON & KATHLEEN M MALLINSON JT     1157 BAY RIDGE                                                                                 HIGHLAND           MI    48356‐1105
TEN
DANNY S SINE                                    5856 WILLOW DALE ROAD                                                                          SPRINGFIELD        OH    45502‐8912
DANNY SMITH                                     134 MARINA CIR                                                                                 JACKSON            GA    30233
DANNY T MCELWAIN                                13016 SE HOWARD RD                                                                             GREENWOOD          MO    64034‐9353
DANNY T THOMAN                                  RR 2 BOX 226                                                                                   HIGGINSVILLE       MO    64037‐9420
DANNY W ADAMS                                   200 IDAHO                                                                                      YOUNGSTOWN         OH    44515‐3702
DANNY W BOOS                                    548 OAKDALE DR                                                                                 HASLETT            MI    48840‐9718
DANNY W BROITZMAN                               1518 E MILWAUKEE                                                                               JANESVILLE         WI    53545‐2638
DANNY W CALDWELL                                104 BELL GROVE DR                                                                              COLUMBIA           TN    38401‐5286
DANNY W COLE                                    1843 LES ROBINSON RD                                                                           COLUMBIA           TN    38401‐1329
DANNY W JERGENS CUST DAVID W JERGENS UTMA OH    36 WOODS DR                                                                                    W MILTON           OH    45383‐1136

DANNY W SEXTON                                  299 INAH AVE                                                                                   COLUMBUS           OH    43228‐1709
DANNY W STEWART                                 24286 EUREKA AVE                                                                               WARREN             MI    48091‐1702
DANNY W TATUM                                   8300 S HILLCREST DR                                                                            OKLAHOMA CITY      OK    73159‐4831
DANNY W WESTBROOK                               PO BOX 1315                                                                                    DAWSONVILLE        GA    30534
DANNY WHITAKER SHEPPARD                         1144 W OUTER DR                                                                                OAK RIDGE          TN    37830‐8611
DANNY WYCHE                                     1336 PINEVIEW LN                                                                               CONCORD            CA    94521‐4248
DANNY YOOK ENG & LILY BIG FONG ENG JT TEN       110 14 SAULTELL AVE                                                                            CORONA             NY    11368‐4010
DANOLA POE                                      1029 MAGIC AVE                                                                                 FAIRFIELD          OH    45014‐1821
DANON ERVICK                                    PO BOX 94                                                                                      AU TRAIN           MI    49806‐0094
DANON M BELL                                    8348 BURDENO                                                                                   DETROIT            MI    48209‐2723
DANREL KERRY DEMPSEY                            ATTN GENE A DEMPSEY                   1050 CORNER KETCH RD                                     NEWARK             DE    19711‐2305
DANSAMART ASSOCIATES A PARTNERSHIP              C/O D DAVID                           3 GLENSW DR                                              BOYTON BEACH       FL    33436
DANSON KELII & DANALLE KELII JT TEN             54 LOGAN                                                                                       IRVINE             CA    92620
DANTE ANDREANA TOD DAN ANDREANA SUBJECT TO      10777 W SAMPLE RD APT 1108                                                                     CORAL SPRINGS      FL    33065‐3772
STA TOD RULES
DANTE ANDREANA TOD JEANNE ANDREANA SUBJECT TO 10777 W SAMPLE RD APT 1108                                                                       CORAL SPRINGS      FL    33065‐3772
STA TOD RULES
DANTE ANDREANA TOD KAREN LEFFLER SUBJECT TO STA 10777 W SAMPLE RD APT 1108                                                                     CORAL SPRINGS      FL    33065‐3772
TOD RULES
DANTE ANDREANA TOD LAURENA LIGHTOWLER           10777 W SAMPLE RD APT 1108                                                                     CORAL SPRINGS      FL    33065‐3772
SUBJECT TO STA TOD RULES
DANTE CRETARA                                   51 LAUREL HILL RD                                                                              CROTON HDSN        NY    10520‐1209
DANTE E GUAZZO TR DANTE E GUAZZO LIVING TRUST   3212 WAMATH DR                                                                                 CHARLOTTE          NC    28210‐4861
UA 03/17/95
DANTE F RANKART CUST NATALIE RANKART UTMA GA    1054 WINDERMERE XING                                                                           CUMMING            GA    30041‐7097

DANTE IANIRO                                    6559 HIDDEN WOODS TRAIL               MAYFIELD HEIGHTS                                         CLEVELAND          OH    44143‐3500
DANTE J AMOROSO                                 APT 13                                1263 ROBINSON AVE                                        SAN DIEGO          CA    92103‐4464
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DANTE J ANTONINI                               16 MAURICE AVE                                                                                   OSSING           NY    10562‐5205
DANTE J CALDERA & DOROTHY S CALDERA JT TEN     8850 EAST ROSEMONT ST                                                                            INVERNESS        FL    34450‐7372
DANTE RAVETTI JR                               3630 IRWIN AVE                                                                                   BRONX            NY    10463‐2214
DANTE V D'EMIDIO                               188 RICE DRIVE                                                                                   MORRISVILLE      PA    19067‐5964
DANTE WHITT                                    5501 FIESTA RD                                                                                   FREMONT          CA    94538‐3279
DANTON A PONZOL                                BOX 82                                                                                           DURHAM           PA    18039‐0082
DANUTA BIELSKI                                 70 PALMER RD                                                                                     YONKERS          NY    10701‐5817
DANUTA C GARBINSKI CUST MARK GARBINSKI UGMA MI 9360 PARK LANE                                                                                   COMMERCE         MI    48382‐4367

DANUTA GROSZEK                                   29 NORTEN ST                                                                                   BRISTOL          CT    06010‐4149
DANUTE ANONIS & VYTAUTAS ANONIS JT TEN           98‐41 64TH ROAD                       APT 6F                                                   REGO PARK        NY    11374‐3408
DANUTE LIAUBA                                    3344 FOREST LAKE DR                                                                            MEDINA           OH    44256‐8733
DANY M POIRIER                                   409 POINTE‐AUX ANGLAIS                SAINT‐PLACIDE QC                       J0V 2B0 CANADA
DANY M POIRIER                                   409 POINTE‐AUX ANGLAIS                SAINT‐PLACIDE QC                       J0V 2B0 CANADA
DANYETTE R HAMLIN                                24941 COUNTY RD 48                                                                             ANGLETON         TX    77515‐8883
DANZIEL N HOCKETT                                C/O JOAN M HOCKETT                    862 N TOUSSAINT SOUTH RD                                 OAK HARBOR       OH    43449‐9798
DAPHANE A BRUNELAS                               84 LINDEN ST                                                                                   EXETER           NH    03833‐4107
DAPHENE BLEDSOE                                  34 PALENCIA LANE                                                                               HOT SPRING       AR    71909‐3338
                                                                                                                                                VILLAGE
DAPHINE PAGE HOEKVELD                            32000 RIVERPOINT                                                                               CHESTERFIELD     MI    48047‐2256
DAPHNA M CHANDLER                                2796 E HARDY LN                                                                                FAYETTEVILLE     AR    72703‐4344
DAPHNE F HENDERSON JR                            159 SUNSET ROAD                                                                                CARLISLE         MA    01741‐1326
DAPHNE L STONEBRAKER & EDWARD C LIDDELL JT TEN   102 WEST ADAMS ST                                                                              HOMER            MI    49245‐1002

DAPHNE L TURPIN                                  13217 SAINT JAMES SANCTUARY DR                                                                 BOWIE            MD    20720‐6372
DAPHNE M MORAITIS                                24342 THATCHER CT                                                                              NOVI             MI    48375‐2353
DAPHNE O CRAWFORD                                505 E FRANKLIN ST                                                                              FAYETTEVILLE     NY    13066‐2348
DAPHNE REED ALCOCK                               PO BOX 1223                                                                                    ROUND MOUNTAIN   NV    89045‐1223

DAPHNEY H GROSS                                  RR 1 BOX 218‐A                                                                                 HILLSBORO        KY    41049‐9750
DARA HOUDEK                                      858 MORRILL LN                                                                                 ELBURN           IL    60119‐7104
DARA KLEIMAN SCHWARTZ                            8732 LITZSINGER DR                                                                             SAINT LOUIS      MO    63144‐2306
DARA L BURDETTE                                  15715 CASTLEWOODS DR                                                                           SHERMAN OAKS     CA    91403‐4808
DARA L HOUSER                                    PO BOX 814                                                                                     ALMA             MI    48801‐0814
DARA L HOUSER CUST DAVID G FISHER UGMA MI        PO BOX 814                                                                                     ALMA             MI    48801‐0814
DARA L HOUSER CUST MEGHAN R NELSON UGMA MI       PO BOX 814                                                                                     ALMA             MI    48801‐0814

DARA L NELSON                                    PO BOX 814                                                                                     ALMA             MI    48801‐0814
DARA L NELSON CUST DAVID G FISHER UGMA MI        PO BOX 814                                                                                     ALMA             MI    48801‐0814
DARALA WHITE EXECUTRIX U‐W ALAN G WHITE          647 MIDDLE DR                                                                                  INDPLS           IN    46201‐1929
DARALD H SHRIDER                                 3653 N MILFORD RD                                                                              HIGHLAND         MI    48357‐2838
DARALENE M NERO                                  14368 GRANDEVILLE AVE                                                                          DETROIT          MI    48223‐2943
DARAYUS R ELAVIA & ARNAVAZ D ELAVIA JT TEN       1314 IVY COURT                                                                                 WESTMONT         IL    60559‐2825
DARBY WOLF                                       48 STONEYBROOK DRIVE                                                                           BROWNSBURG       IN    46112‐1092
DARCELLE Y RANDOLPH                              114 1ST ST E WINGTOWN RD                                                                       CHESTER TOWN     MD    21620‐1983
DARCEY E ROGERS                                  1155 NW 111TH AVE                                                                              PLANTATION       FL    33322‐7826
DARCEY WINN CORY CUST SAMUEL LYLE CORY UTMA FL   1004 21ST ST                                                                                   GOLDEN           CO    80401

DARCHELLE MANGUM                             1302 ARCH ST                                                                                       NORRISTOWN       PA    19401‐3504
DARCHELLE R MANGUM U/GDNSHP OF EARLENE YOUNG 1302 ARCH                                                                                          NORRISTOWN       PA    19401‐3504
& WILLA M MANGUM
DARCIA JANE TURNER                           ATTN DARCIA MUNRO                         108 SHEPPARD RD NW                                       LAKE PLACID      FL    33852‐8804
DARCIE H SCHLOTT                             PO BOX 545                                16 NEW STREET                                            GREAT RIVER      NY    11739‐0545
DARCIE SHERWOOD                              38588 MENTOR AVE                                                                                   WILLOUGHBY       OH    44094‐7713
DARCY A BELLINGER                            5164 E MOUNT MORRIS RD                                                                             MOUNT MORRIS     MI    48458‐9721
DARCY ANNE BROWN                             510 SYCAMORE DR                                                                                    CIRCLEVILLE      OH    43113‐1138
DARCY BENEDICT                               764 CORALTREE LN                          APT 253                                                  OAK PARK         CA    91377‐5450
DARCY E KENT                                 3134 PLAZA DR NE                          APT A13                                                  GRAND RAPIDS     MI    49525‐2942
DARCY RHODE CUST MARK RHODE UTMA WI          PO BOX 895                                                                                         EAST TROY        WI    53120‐0895
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DARCY STE MARIE                                  21 THORNDYKE CRESCENT                BROOKLIN ON                            L1M 1G5 CANADA
DARDA G HULS & BARBARA L HULS JT TEN             265 GREENWOOD DR                                                                              HOLLAND         MI    49424‐2675
DARDEN R RODDEN                                  614 LOVEVILLE RD APT B4I                                                                      HOCKESSIN       DE    19707‐1604
DAREL A TOEBE                                    2122 FAIRMONT ST                                                                              MANITOWOC       WI    54220‐2523
DAREL J HAMILTON                                 1420 SPRUCE ST                                                                                DENVER          CO    80221
DAREL J HEBELER                                  6363 FARAGHER RD                                                                              OVID            MI    48866‐9663
DAREL L AMAKER                                   184 WOODWARD AVE                                                                              BUFFALO         NY    14214‐2312
DARELL R KECSKES                                 24930 CARLYSLE                                                                                DEERBOURNE      MI    48124‐4435
DARELLE J DESOTELL                               2441 ORCHARD LN                                                                               WHITE LAKE      MI    48386‐1550
DAREN DRUDY CUST MATTHEW DRUDY UTMA TN           2375 ANTIOCH CHURCH RD                                                                        CLARKSVILLE     TN    37040
DAREN E BREEDLOVE                                460 RUSHING RIDGE RD                                                                          HARRISON        AR    72601‐5693
DAREN M SCULLY & DEANNA C SCULLY JT TEN          9293 BENNETT LK RD                                                                            FENTON          MI    48430‐9000
DAREN S LUCAS                                    1259 LAKE SHORE BLVD                                                                          LAKE ORION      MI    48362‐3909
DAREY R SCHWALM                                  107 STONE CREEK RD                                                                            GREER           SC    29650‐3322
DARIA G BALDYGA                                  112 SPRING GLN                                                                                SHELTON         CT    06484‐3874
DARIA L BULLOCK                                  3315 NW 44TH PLACE                                                                            GAINSVILLE      FL    32605‐1474
DARIA L KRAUSS                                   742 FAWCETT DRIVE                                                                             BEAVERCREEK     OH    45434‐6106
DARIA M HEBEN & MAUREEN E HEBEN JT TEN           10081 HOBART ROAD                                                                             KIRTLAND        OH    44094‐9723
DARIAN K RICH                                    21550 RABBIT RUN DR                                                                           BATON ROUGE     LA    70817‐8133
DARICE D WILLIAMS                                2 PORTSMOUTH TOWNE                                                                            SOUTHFIELD      MI    48075
DARIENE E EIGENBERG                              2150 SO LINCOLN ST                                                                            DENVER          CO    80210‐4409
DARILYN J COPELAND                               60 NETHERWOOD AVENUE                                                                          PLAINFIELD      NJ    07062‐1104
DARILYN TRUBEE                                   326 FIRST ST #27                                                                              ANNAPOLIS       MD    21403‐2675
DARIN A JOHNSON                                  PO BOX 637                                                                                    SOUTH RANGE     MI    49963‐0637
DARIN BURNS                                      655 AVENUE DE LAFAYETTE                                                                       MONROE          MI    48162‐3545
DARIN C RAMBO                                    4565 SOMERSET PLACE SE                                                                        BELLEVUE        WA    98006‐3053
DARIN DAVID BRANDT                               7256 HOLCOMB RD                      LAKE DRION                                               CLARKSTON       MI    48346
DARIN J EPPICH & RICHARD J EPPICH JT TEN         3828 E FAIRMOUNT AVE                                                                          PHOENIX         AZ    85018‐5214
DARIN JAMES OBERG                                988 DEBORAH CIRCLE                                                                            BOUNTIFUL       UT    84010‐2325
DARIN L O'SHEA                                   8834 PEARSON RD                                                                               MIDDLEPORT      NY    14105
DARIN PEROW                                      3437 TAFT SW                                                                                  WYOMING         MI    49509‐3359
DARIN W WARD                                     16702 PARK ISLAND CT                                                                          TOMBALL         TX    77377‐9066
DARINA LUMAR & SAM LUMAR JT TEN                  11825 BAYPORT LN                     UNIT 504                                                 FORT MYERS      FL    33908‐4125
DARING WADE                                      6039 KELLY RD                                                                                 FLUSHING        MI    48433‐9037
DARINKA MEDVED                                   2797 TRABAR DRIVE                                                                             WICKLIFFE       OH    44092‐2619
DARIO BENEDETTI                                  18115 KINROSS AVE                                                                             BEVERLY HILLS   MI    48025‐3152
DARIO E LOPEZ                                    2719 CEDAR KEY DRIVE                                                                          LAKE ORION      MI    48360‐1894
DARIO SALAZAR                                    16262 ETNA DR                                                                                 WESTFIELD       IN    46074‐8416
DARIS METHENEY JR                                127 MYERS STREET                                                                              CRESTON         OH    44217‐9428
DARIS W GATRELL                                  4770 BEDELL RD                                                                                BERLIN CENTER   OH    44401‐9729
DARIUS C MATONIS                                 1291 LILAC LN                                                                                 CAROL STREAM    IL    60188‐3370
DARIUS D VARNER                                  14000 S HURON RIVER DR                                                                        ROMULUS         MI    48174‐3692
DARIUS ELLISON                                   1260 ROTHWELL                                                                                 TROY            MI    48084‐1576
DARIUS L JACKSON                                 C/O JAMES E JACKSON                  387 ALPHONSE STREET                                      ROCHESTER       NY    14621‐4915
DARIUS L KESECKER                                547 PLATEAU DRIVE                                                                             HEDGESVILLE     WV    25427‐3867
DARIUS M PATERKOWSKI                             398 WESTWOOD RD                      NANAIMO BC                             V9R 6S5 CANADA
DARIUS M PATERKOWSKI                             398 WESTWOOD RD                      NANAIMO BC                             V9R 6S5 CANADA
DARIUS R DIRMANTAS                               2651 NORTH SAINT LOUIS                                                                        CHICAGO         IL    60647
DARIUS R LITTLEJOHN                              5312 LAZARD ST                                                                                CHATTANOOGA     TN    37412‐3004
DARIUS SCHWARTZ                                  158 W SHORE RD                                                                                GREAT NECK      NY    11024‐1729
DARIVS S WADE                                    328 COMSTOCK ST NE                                                                            WARREN          OH    44483‐3208
DARL A ROHAS                                     25260 DOGWOOD DRIVE                                                                           SEAFORD         DE    19973
DARL E MOURY                                     1352 E FREDERICK STREET                                                                       LANCASTER       OH    43130‐2755
DARL F GRANT                                     21844 RD B                                                                                    CONTINENTAL     OH    45831‐9402
DARL L BROWN                                     10387 MANN STREET                                                                             THREE RIVERS    MI    49093‐9403
DARL L SMITH                                     11835 KADER DR                                                                                PARMA           OH    44130‐7258
DARL O MILLER                                    209 GREENLEAF DR                                                                              CROSS JNCT      VA    22625‐2563
DARL S JOHNSON                                   518 NANCY RD BOX 39                                                                           SWEETSER        IN    46987‐0039
DARLA A STEFFES CUST KEVIN M STEFFES UGMA IL     4 DOANE DR                                                                                    MANSFIELD       IL    61854‐6966
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DARLA A STEFFES CUST KIMBERLY H STEFFES UGMA IL   1903 BURRY CIRCLE                                                                               CREST HILL      IL    60435‐2003

DARLA BENDER FOUSEK                               2840 GENTILE RD                                                                                 FORT PIERCE     FL    34945‐2211
DARLA BLUM FENT                                   PO BOX 1636                                                                                     STEPHENVILLE    TX    76401‐0016
DARLA D BARTOLIN                                  692 GROVER ST N E                                                                               MASURY          OH    44438‐9720
DARLA D BENEDICT                                  10365 GREENBRIER                                                                                BRIGHTON        MI    48114‐9662
DARLA D BRAFFORD                                  14213 SUN FOREST DRIVE                                                                          PENN VALLEY     CA    95946‐9106
DARLA J BEAKE                                     34925 N CEMETARY ROAD                                                                           GURNEE          IL    60031‐2465
DARLA J ELLIOTT‐MIRTO                             3189 WOODLAND TRL UNIT A                                                                        CORTLAND        OH    44410‐9244
DARLA J LEWIS                                     10460 BEERS ROAD                                                                                SWARTZ CREEK    MI    48473‐9125
DARLA J SNYDER & RICHARD A SNYDER JT TEN          1810 WALNUT GROVE DR                                                                            STATE COLLEGE   PA    16801‐8440
DARLA J WILLIAMS                                  2250 AUSTINTOWN WRRN RD                                                                         WARREN          OH    44481
DARLA JEAN STRONG                                 4382 EATON RD                                                                                   HAMILTON        OH    45013‐9682
DARLA K BOYER                                     6181 SENATE CIRCLE                                                                              EAST AMHERST    NY    14051‐1979
DARLA K FLATT                                     6181 SENATE CIRCLE                                                                              EAST AMHERST    NY    14051‐1979
DARLA L LEE                                       1122 ELM ST                                                                                     BELOIT          WI    53511‐4321
DARLA LOT RICK                                    1618 WELLINGTON AVE                                                                             YOUNGSTOWN      OH    44509‐1147
DARLA M WHITE                                     110 COMPASS RD                                                                                  BALTIMORE       MD    21220‐4504
DARLA MAE RICE CO MULTI PURE CORP                 7251 CATHEDRAL ROCK DR                                                                          LAS VEGAS       NV    89128‐0434
DARLA O HOOVER                                    5121 ST RT 45 N W                                                                               BRISTOLVILLE    OH    44402‐9608
DARLA R CRADDOCK                                  21 WILLOW BEND EST                                                                              MANSFIELD       TX    76063‐2799
DARLA S DAY                                       DARLA S BROCKER                        3992 S CANFIELD NILES                                    CANFIELD        OH    44406‐8696
DARLA SIMS                                        2765 E 3300 N                                                                                   TWIN FALLS      ID    83301‐0413
DARLA VAN HOEY CUST CHRISTINA M VAN HOEY UGMA     23886 BEECH RD                                                                                  SOUTHFIELD      MI    48034‐2829
MI
DARLA VAN HOEY CUST STEPHANIE C VAN HOEY UGMA     23886 BEECH RD                                                                                  SOUTHFIELD      MI    48034‐2829
MI
DARLANN MORRIS                                    1755 PIPER LN                          APT 205                                                  DAYTON          OH    45440
DARLE A DALY                                      G6135 TORREY RD                                                                                 FLINT           MI    48507
DARLEA MATTHEW                                    BOX 188                                                                                         WALLOON LAKE    MI    49796‐0188
DARLEEN AMOBI                                     514 CABOT DR                                                                                    HOCKESSIN       DE    19707‐1137
DARLEEN BLAIR                                     2165 E CENTRAL AVE                                                                              MIAMISBURG      OH    45342‐3626
DARLEEN DELK                                      1750 ADAMS STREET SE                                                                            GRAND RAPIDS    MI    49506‐3977
DARLEEN EUKEN & VICKI EUKEN JT TEN                327 49TH                                                                                        DES MOINES      IA    50312‐2507
DARLEEN HIGGINS                                   722 CAMPBELL ST                                                                                 FLINT           MI    48507‐2423
DARLEEN HOUCK                                     6449 FOOTHILLS TRAIL                                                                            GAYLORD         MI    49735‐9055
DARLEEN M BOOZER                                  1563 HALIFAX DR                                                                                 SPRING HILL     TN    37174‐9280
DARLEEN M SPURLIN & ROBERT L SPURLIN JT TEN       51 RANSOM ST                                                                                    NORTH           NY    14120‐7326
                                                                                                                                                  TONAWANDA
DARLEEN P BINNEY                                  94‐1151 MOPUA LOOP L8                                                                           WAIPAHU         HI    96797‐4124
DARLEEN S WESTENDORF                              1133 HOLLY DR                                                                                   CARROLLTON      TX    75010‐1073
DARLEENE M THOMAS                                 1345 SHIRE CT                                                                                   HOWELL          MI    48843‐8505
DARLENE A BANACH                                  606 SHERMAN AVE                                                                                 SOUTH MILWAUKEE WI    53172‐3908

DARLENE A BANACH & DIANE S BANACH JT TEN          606 SHERMAN AVENUE                                                                              S MILWAUKEE     WI    53172‐3908
DARLENE A BANACH & RICHARD J BANACH JR JT TEN     606 SHERMAN AVENUE                                                                              S MILWAUKEE     WI    53172‐3908

DARLENE A BANACH & RICHARD J BANACH SR JT TEN     606 SHERMAN AVENUE                                                                              S MILWAUKEE     WI    53172‐3908

DARLENE A BROWN                                   1239 JEROME AVE                                                                                 JANESVILLE      WI    53546‐2510
DARLENE A BURKHART                                21230 ELLEN DRIVE                                                                               FAIRVIEW PARK   OH    44126‐3002
DARLENE A COOK & KENNETH COOK JT TEN              367 WELLINGTON DR                                                                               DIMONDALE       MI    48821‐9778
DARLENE A CZYZYK                                  216 MAGELLAN ST                                                                                 FORT MYERS      FL    33913‐7557
DARLENE A DAVIS                                   232 W HOWE RD                                                                                   TALLMADGE       OH    44278‐1060
DARLENE A HEATH & WILLIAM R HEATH JT TEN          9117 W REDBUD LN                                                                                MUNCIE          IN    47304‐8909
DARLENE A HOLTZ                                   385 GILLETT RD                                                                                  SPENCER PORT    NY    14559‐2040
DARLENE A JOHNSTON & JAMES R JOHNSTON JT TEN      1100 CRYSTAL WOOD DR                                                                            DAVISON         MI    48423‐3404

DARLENE A LINDBLOM                                ATTN DARLENE A HENWOOD                 185 EAST F 30                                            MIKADO          MI    48745‐9709
                                          09-50026-mg               Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DARLENE A LOUDON                               8490 NIGHTINGALE                                                                             DEARBORN HTS     MI    48127‐1204
DARLENE A MATTHEWS                             2823 S ATLANTIC AVE                                                                          DAYTONA BEACH    FL    32118‐5801
DARLENE A NORRIS                               809 CHEVROLET AVE                                                                            FLINT            MI    48504‐4803
DARLENE A SCHULTZ‐TOY & DENNIS M TOY JT TEN    4929 N LAKE DR                                                                               MILWAUKEE        WI    53217
DARLENE A STRAYER                              152 HARPER ROAD                                                                              STREETSBORO      OH    44241‐5722
DARLENE A WOJCIK                               224 LAKE                                                                                     NORTHVILLE       MI    48167‐1214
DARLENE ANN STIEBER                            7975 PEPPER RD                                                                               HOLLY            MI    48442‐8566
DARLENE B FALL                                 4364 W ROUNDHOUSE RD                APT 1                                                    SWARTZ CREEK     MI    48473‐1455
DARLENE B HEIM                                 490 NORTH AVE                                                                                N TOMAWANDA      NY    14120‐1724
DARLENE B NILES                                2002 CEDARCREST CT                                                                           LAS VEGAS        NV    89134‐6209
DARLENE BARTUCCO‐LEFEVRE                       249 ALDBOURNE DR                                                                             BRISTOL          CT    06010‐2317
DARLENE BROWN                                  501 DAVIS RD                        APT B103                                                 LEAGUE CITY      TX    77573‐2836
DARLENE BUCKLE                                 12183 NW 32ND COURT                                                                          CORAL SPRINGS    FL    33065‐3211
DARLENE BUDZEAK                                51150 HOOKER 301                                                                             NEW BALTIMORE    MI    48047‐1509
DARLENE BURGOS                                 4540 N W 6TH ST                                                                              MIAMI            FL    33126‐5306
DARLENE C BARTOLINI                            615 WARBURTON AVE                                                                            YONKERS          NY    10701‐1658
DARLENE C INOUYE & ROBERT H INOUYE JT TEN      2014 ASH COURT                                                                               YUBA CITY        CA    95993‐8323
DARLENE C MONG                                 6373 E HADLEY RD                                                                             MOORESVILLE      IN    46158
DARLENE C RODRIGUEZ TR DARLENE C RODRIGUEZ     413 5TH ST N                                                                                 CLAIRTON         PA    15025‐2006
TRUST UA 11/16/92
DARLENE C WOODMAN                              523 ORCHARD AVE                                                                              CLARE            MI    48617‐9712
DARLENE CARDWELL                               4216 W DETROIT ST                                                                            BROKEN ARROW     OK    74012‐8622
DARLENE CECELIA SLEDZIONA                      7 CHESTERBROOK LANE                                                                          PITTSFORD        NY    14534‐4723
DARLENE CHOYCE                                 3800 SW BLVD                                                                                 FORT WORTH       TX    76116
DARLENE CROFT                                  2898 WARREN ST                                                                               LAKE STATION     IN    46405‐2751
DARLENE D HARPER                               14481 NORTHFIELD                                                                             OAK PARK         MI    48237‐1522
DARLENE D LITTLE                               35727 FLORANE                                                                                WESTLAND         MI    48186‐8226
DARLENE D TAYLOR                               5900 DOWNS RD NW                                                                             WARREN           OH    44481‐9417
DARLENE DORGAN                                 240 CARLETTA CT                                                                              PARAMUS          NJ    07652‐4716
DARLENE E ADAMS                                PO BOX 274                                                                                   MORGANTOWN       IN    46160‐0274
DARLENE E BROWN                                3304 KILMER DR                                                                               PLANT CITY       FL    33566‐0741
DARLENE E CLARK                                1107 N RIVER CT                                                                              TECUMSEH         MI    49286‐1108
DARLENE E GRIFFIN                              6038 LONG MEADOW BLVD N                                                                      SAGINAW          MI    48603
DARLENE E HAMILTON                             1298 TUNEBERG PARKWAY                                                                        BELVIDERE        IL    61008
DARLENE E HEREFORD                             24740 TIOGA DRIVE                                                                            SOUTHFIELD       MI    48034‐7040
DARLENE E KISSINGER                            279 MORRIS ROAD                                                                              OLNEY            TX    76374
DARLENE E KOTRBA                               11240 74TH ST                                                                                BURR RIDGE       IL    60527‐7702
DARLENE E LITTLE                               421 STRATFORD SQUARE BLVD           APT#9                                                    DAVISON          MI    48423‐1665
DARLENE E SLEMMER                              55 BLACKS LN                                                                                 FREDONIA         PA    16124‐1201
DARLENE E SMITH                                805 SR 165                                                                                   EAST PALESTINE   OH    44413‐9797
DARLENE E TATGE                                2107 LANDINGS LANE                                                                           DELAVAN          WI    53115‐3992
DARLENE E WALLACE                              4196 COUNTY RD 28                                                                            CARDINGTON       OH    43315‐9578
DARLENE E ZIMMER                               1512 N CLAREMONT                                                                             JANESVILLE       WI    53545‐1351
DARLENE ELISSE MILLER                          14823 WILLARD ST                                                                             PANORAMA CITY    CA    91402‐4613
DARLENE ESTELL                                 1600 SENECA BLVD A 104                                                                       BROADVIEW HTS    OH    44147
DARLENE ESTES                                  29979 HWY 6                                                                                  RIFLE            CO    81650‐9453
DARLENE F MOLNAR                               539 WENDEL AVENUE                                                                            TN TONAWANDA     NY    14223‐2213
DARLENE F MURCKO                               718 VERNON RD                                                                                GREENVILLE       PA    16125‐8642
DARLENE F SIMS & JAMES H SIMS JT TEN           721 S 5TH ST                                                                                 SAINT CHARLES    IL    60174
DARLENE F WELLS                                6 SETTLERS PATH                                                                              PORT JEFFERSON   NY    11777‐1414
DARLENE FROST                                  3800 SW BLVD                                                                                 FORT WORTH       TX    76116
DARLENE G BULLOCK                              8915 BRIGGS WY                                                                               INDIANAPOLIS     IN    46256‐9718
DARLENE G JESSE                                1150 NORTH LAKE SHORE DRIVE         UNIT #16E                                                CHICAGO          IL    60611‐5229
DARLENE G MALLORY                              8835 HOLLAND RD                                                                              SAGINAW          MI    48601‐9477
DARLENE GAIL JESSE                             1150 NORTH LAKE SHORE DRIVE         UNIT #16E                                                CHIGACO          IL    60611‐5229
DARLENE GOFF & DONALD GOFF TR DARLENE M GOFF   930 DOMINION DRIVE                                                                           KATY             TX    77450‐2910
LIVING TRUST UA 09/16/94
DARLENE GOINS                                  4264 TOM LUNN RD                                                                             SPRING HILL      TN    37174‐2137
DARLENE H BAIRD                                4440 OHEREN DR                                                                               BURTON           MI    48529‐1829
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Name                                              Address1                             Address2                    Address3   Address4          City             State Zip

DARLENE H CHRIS                                   13 NOTTINGHAM DR                                                                              HOWELL           NJ    07731‐1816
DARLENE H KACZYNSKI                               6352 ROUNDS ROAD                                                                              NEWFANE          NY    14108‐9771
DARLENE H KALFAHS                                 751 MILLBROOK DRIVE                                                                           NEENAH           WI    54956‐1250
DARLENE H KELLEY                                  4415 RUPPRECHT                                                                                VASSER           MI    48768‐9108
DARLENE HAGEN                                     21470 CLOVER PL                                                                               PIEDMONT         SD    57769‐7242
DARLENE HERNDEN                                   5461 SANDHILL                                                                                 ALMONT           MI    48003‐9741
DARLENE I ELKINS                                  191 W CORNELL                                                                                 PONTIAC          MI    48340‐2723
DARLENE I LOONEY                                  APT B6                               6505 HWY 301                                             ELLENTON         FL    34222‐3032
DARLENE I MORRISON                                239 LAUREL ST                                                                                 YOUNGSTOWN       OH    44505‐1923
DARLENE J BANASIAK                                2601 VAIL DR                                                                                  MC KINNEY        TX    75070‐4789
DARLENE J DEILY                                   4424 SMOKERISE DR                                                                             STOW             OH    44224‐2834
DARLENE J DURCH                                   5240 SABRINA LN NW                                                                            WARREN           OH    44483
DARLENE J JONES                                   102 CORONADO CT                                                                               BROOKVILLE       OH    45309‐1100
DARLENE J OBRIEN                                  DARLENE J REYNOLDS                   201 E WAY TO TIPPERARY ST                                SHELTON          WA    98584‐7525
DARLENE J RYNKOWSKI                               9892 FREEPORT AVE                                                                             ALTO             MI    49302‐9616
DARLENE J SHARPE                                  9695 STONEYPOINTE DR                                                                          IRA              MI    48023‐2800
DARLENE J SHAVER                                  3801 SOUTH CLARA                                                                              CLARA            MI    48617‐8603
DARLENE J SWANGER                                 2521 WEDGEWOOD DRIVE                                                                          MANSFIELD        OH    44903‐7404
DARLENE J TRESCOTT & DAVID R TRESCOTT JT TEN      12520 ROBINWOOD ST                                                                            BROOKFIELD       WI    53005‐6500
DARLENE J WASHBURN                                6420 W BERTHA                                                                                 INDIANAPOLIS     IN    46241‐1010
DARLENE JACKSON                                   9507 EASTERN AVE                                                                              KANSAS CITY      MO    64134‐1618
DARLENE JACKSON                                   96 CEMETARY RD                                                                                HARWICH          MA    02645‐2127
DARLENE JOHNSON GILMORE                           5940 AUGUSTA LN                                                                               GRAND BLANC      MI    48439‐9473
DARLENE K BROWN                                   1626 PINGREE AVE                                                                              LINCOLN PARK     MI    48146‐2147
DARLENE K HARTLOFF TR LIVING TRUST 04/17/87 U‐A   7748 N HENDERSON FORD RD                                                                      MOORESVILLE      IN    46158‐6637
DARLENE K HARTLOFF
DARLENE K KETTERMAN                               12173 BERLIN STATION RD                                                                       BERLIN CENTER    OH    44401‐9772
DARLENE K LOOMIS                                  ATTN DARLENE MILLER                  2605 TARPON ROAD                                         NAPLES           FL    34102‐1558
DARLENE K MC SOLEY                                PO BOX 294                                                                                    BEDFORD          IN    47421‐0294
DARLENE K PRESTON                                 4702 SUMMIT AVE                                                                               SIMI VALLEY      CA    93063‐1415
DARLENE K STUART                                  5969 EVERETT HULL RD                                                                          FOWLER           OH    44418‐9750
DARLENE K VASSER                                  32801 GATEWAY DR                                                                              ROMULUS          MI    48174‐6379
DARLENE K WEITZ                                   130 MACARTHUR DRIVE                                                                           WILLIAMSVILLE    NY    14221‐3762
DARLENE L BOOTH                                   4079‐A VIA ZORRO                                                                              SANTA BARBARA    CA    93110‐1812
DARLENE L BROWN                                   R R 1 BOX 344                                                                                 ALTAMONT         MO    64620‐9635
DARLENE L BUDZISZEWSKI                            127 ROOSEVELT DR                                                                              LOCKPORT         NY    14094‐5752
DARLENE L BURNETT                                 4010 HAWK DR                                                                                  DAVISON          MI    48423‐8522
DARLENE L ESTELA CUST KEVIN J ESTELA UGMA CT      94 BELLEVUE AVENUE                                                                            BRISTOL          CT    06010‐5816
DARLENE L ESTELA CUST WENDY M ESTELA UGMA CT      94 BELLEVUE AVENUE                                                                            BRISTOL          CT    06010‐5816

DARLENE L FRAZIER                               8023 SILVER SPRINGS PL                                                                          FT WAYNE         IN    46825‐6551
DARLENE L HEWITT                                41 SOUTHAMPTON DR                                                                               ROCHESTER        NY    14616‐5205
DARLENE L HUNTER                                12497 PALOMINO PLACE                                                                            WOODBRIDGE       VA    22192‐6265
DARLENE L KOTTERMAN                             PO BOX 62                                                                                       DANVILLE         OH    43014‐0062
DARLENE L MARTIN TR DARLENE LAURA MARTIN LIVING 6044 HAYTER AVE                                                                                 LAKEWOOD         CA    90712‐1022
TRUST UA 05/26/95
DARLENE L SEIVERS                               600 N HARDING                                                                                   HARRISON         MI    48625‐7403
DARLENE LAUSAS                                  26 LAUGHRY LN                                                                                   PALOS PARK       IL    60464‐2251
DARLENE M ALOOT                                 585‐45TH AVENUE                                                                                 SAN FRANCISCO    CA    94121‐2420
DARLENE M BRADLEY                               165 WOODLEAF                                                                                    PITTSFORD        NY    14534
DARLENE M DEWITT                                RT 1 BOX 563                                                                                    HARRAH           OK    73045‐8998
DARLENE M FIGLEY                                13425 SAN RAFAEL DR                                                                             LARGO            FL    33774‐4636
DARLENE M GOCH & JEFFREY D ROPPONEN JT TEN      19012 PEMBRIDGE ST                                                                              MACOMB           MI    48042‐6230
DARLENE M HERRON                                PO BOX 5132                                                                                     NORCO            CA    92860‐8004
DARLENE M KEEN                                  5455 KING ARTHUR CIR                                                                            ROSEDALE         MD    21237‐4018
DARLENE M KLEMAN                                7346 CHARTER CUP LN                                                                             WEST CHESTER     OH    45069‐1593
DARLENE M MESSNER                               72 S HURON DR                                                                                   JANESVILLE       WI    53545‐2263
DARLENE M MOORE                                 47‐182 KAMEHAMEHA HWY                                                                           KANEOHE          HI    96744‐4754
DARLENE M OSIPUK                                420 BOULEVARD                          SUITE 106                                                MOUNTAIN LAKES   NJ    07046‐1733
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Name                                             Address1                                Address2             Address3          Address4          City              State Zip

DARLENE M PHILLIPS                               8543 SQUIRES LANE                                                                                WARREN            OH    44484‐1645
DARLENE M SCHERRET & WILLIAM H SCHERRET JT TEN   3970 DUTTON ROAD                                                                                 ROCHESTER HILLS   MI    48306‐2232

DARLENE M SHENK                                  37660 KNOLL DR                                                                                   WAYNE             MI    48184‐1075
DARLENE M VALLEY                                 2010 BIRCH DR                                                                                    LUPTON            MI    48635‐9616
DARLENE M VAN NORMAN                             7429 GRANDWOOD DRIVE                                                                             SWARTZ CREEK      MI    48473‐9454
DARLENE M WARD                                   1634 NEVERY RD                                                                                   MASON             MI    48854
DARLENE M WRIGHT & RHONDA RAMBERG JT TEN         4347 S DYE RD                                                                                    SWARTZ CREEK      MI    48473‐8226

DARLENE MACK                                     851 B FAIRDALE ROAD                                                                              SALINA            KS    67401‐8430
DARLENE MAE MANELI                               14631 BISHOP                                                                                     OAK PARK          MI    48237‐1985
DARLENE MARGARET KOWAL                           123 WILLIAM PENN                                                                                 PENNSVILLE        NJ    08070‐1852
DARLENE MARIE STECKER                            507 PALMER STREET                                                                                STEWARTSVILLE     NJ    08886‐2130
DARLENE MESSISCO                                 3424 MARSHRUN DR                                                                                 GROVE CITY        OH    43123‐1878
DARLENE MOORE                                    95 KINGSGATE ROAD                                                                                ROCHESTER         NY    14617
DARLENE MOORE CUST JAMES P MOORE UTMA MA         510 REVERE BEACH BLVD                   UNIT 101                                                 REVERE            MA    02151‐4748

DARLENE MUZILA                                   2068 WYANDOTTE AVE                                                                               LAKEWOOD          OH    44107‐6136
DARLENE NEAL                                     4755 CIRCLE SHORE DR SE                                                                          GRAND RAPIDS      MI    49508‐5174
DARLENE NIELAND & VELMA D TAYLOR JT TEN          2301 E 25TH                                                                                      DES MOINES        IA    50317‐3035
DARLENE O SANGER                                 3002 N COATS RD                                                                                  MARION            IN    46952‐1052
DARLENE OLIVERA                                  C/O JOSE OLIVERA                        PO BOX 397                                               MARATHON          FL    33050‐0397
DARLENE P JAMROZ                                 47191 ADMIRALS COVE LN                                                                           CHESTERFIELD      MI    48051
DARLENE POWLENZUK                                139 STOKELY CRES                        WHITBY ON                              L1N 9S9 CANADA
DARLENE R BURKE                                  201 PLACID DR                                                                                    SCHENECTADY       NY    12303‐5120
DARLENE R FARINA                                 53 TERRACE HILL DR                                                                               PENFIELD          NY    14526‐9566
DARLENE R FINK & DAVID E DUGUAY JT TEN           10322 STANLEY DR                                                                                 CLIO              MI    48420
DARLENE R GAAL                                   4807 SHERIDAN RD                                                                                 YOUNGSTOWN        OH    44514‐1132
DARLENE R KOLTER & JOSEPH R KOLTER JT TEN        617 INDIAN RIDGE RD                                                                              FALLS OF ROUGH    KY    40119‐6619
DARLENE R MATEYAK                                1175 DUCK CREEK LANE                                                                             ORTONVILLE        MI    48462‐9049
DARLENE R MATEYAK CUST LANCE ROGER MATEYAK       1175 DUCK CREEK LANE                                                                             ORTONVILLE        MI    48462‐9049
UGMA MI
DARLENE R SCOTT                                  729 S PLATE                                                                                      KOKOMO            IN    46901‐5638
DARLENE R SMITH                                  914 COMMERCIAL                                                                                   WARSAW            MO    65355
DARLENE RICKENS                                  63 SHELBY AVE                                                                                    SHELBY            OH    44875‐9597
DARLENE RYAN TR DARLENE RYAN REVOCABLE LIVING    2170 DAVISBURG ROAD                                                                              HOLLY             MI    48442‐8673
TRUST UA 10/17/05
DARLENE S ARMOUR                                 938 E DEWEY AVE                                                                                  YOUNGSTOWN        OH    44502‐2342
DARLENE S CODDINGTON                             219 W PARKWOOD ST                                                                                SIDNEY            OH    45365‐1494
DARLENE S FOSNAUGHT                              6892 SARAH DR                                                                                    TEMPERANCA        MI    48182‐1263
DARLENE S HOLLOBAUGH                             78 MIDLAND DRIVE                                                                                 NEWARK            DE    19713‐1769
DARLENE S KELLEY                                 5585 LAKE GROVE DR                                                                               WHITE LAKE        MI    48383‐1222
DARLENE S QUEEN & CHERYL L WOLVERTON TR FURL     219 W PARKWOOD ST                                                                                SIDNEY            OH    45365‐1494
FAMILY TRUST UA 02/23/91
DARLENE SELMA                                    26471 WEST HILLS DRIVE                                                                           INKSTER           MI    48141‐1983
DARLENE SUMME & ANTHONY SUMME JT TEN             2500 BUTTERMILK PIKE                                                                             VILLA HILLS       KY    41017‐1102
DARLENE THORNTON CUST JESSICA THORNTON UTMA      21218 LEMOYNE RD                                                                                 LUCKEY            OH    43443
OH
DARLENE TIBBETTS & ROY W TIBBETTS III JT TEN     321 MUSCADINE WAY                                                                                CHEYENNE          WY    82009‐3501
DARLENE TONEY                                    1871 S ETHEL                                                                                     DETROIT           MI    48217‐1652
DARLENE U MURPHY                                 1143 E NORTHERN PKWY                                                                             BALTIMORE         MD    21239‐1932
DARLENE V DZUBAK                                 47436 CONCORD RD                                                                                 MACOMB            MI    48044‐2538
                                                                                                                                                  TOWNSHIP
DARLENE VAUGHN                                   356 S 15TH                                                                                       RICHMOND          CA    94804‐2512
DARLENE WOODS CUST DARNESE WOODS UTMA GA         12652 E ROBIN HOOD DR                                                                            BATON ROUGE       LA    70815‐6638

DARLENE WOODS CUST J NEAL WOODS UTMA GA          12652 E ROBIN HOOD DR                                                                            BATON ROUGE       LA    70815‐6638
DARLENE Y WARGO & BERNARD J WARGO TEN ENT        111 E FELL ST                                                                                    SUMMIT HILL       PA    18250‐1205
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DARLIE BALMER & NORMA J CLEMENT JT TEN           6836 LEIB CT                                                                                   CLARKSTON       MI    48346‐2737
DARLIENE N STOWASSER                             2944 LORENCITA DR                                                                              SANTA MARIA     CA    93455‐1912
DARLINDA VANETTEN                                15834 ELMIRA ST                                                                                LANSING         MI    48906‐1107
DARLINE J BERG                                   1645 WALDORF                                                                                   GRAND RAPIDS    MI    49544‐1429
DARLINE SHULTS                                   2109 HICKORY TRCE                                                                              MABANK          TX    75156‐7021
DARLIS D GAULT & WANDA K GAULT JT TEN            BOX 1153                                                                                       DAYTON          VA    22821‐1153
DARLIS J WILLIAMS                                4458 WILLIAMSON DR                                                                             DAYTON          OH    45416‐2150
DARLYN A MORITZ                                  3803 SKYROS                                                                                    DAYTON          OH    45424‐1814
DARLYN J REDD                                    11306 HAZELDELL ROAD                                                                           CLEVELAND       OH    44108‐1518
DARLYNE ENGELMAN TR UA 01/15/1991 SYLVIA E DAVIS 6203 N ROCKWELL ST                                                                             CHICAGO         IL    60659
TRUST
DARLYNN F SULLIVAN                               5376 N KENRICK PARKE DR               APT 108                                                  SAINT LOUIS      MO   63119‐5088
DARLYNNE M HUDDLESTON                            6317 HIGHLAND DR                                                                               VANCOUVER        WA   98661‐7634
DARLYS M FOSTER                                  3388 N US HIGHWAY 27                                                                           ST JOHNS         MI   48879‐9402
DARLYSSE J JONES                                 2412 N MARKET ST APT 308                                                                       WILMINGTON       DE   19802
DARNAE BOBETTE REGENTHAL                         1848 BAIRD RD                                                                                  PENFIELD         NY   14526‐1046
DARNEECE A MC GHEE                               18110 BIRCHCREST DR                                                                            DETROIT          MI   48221‐2737
DARNELL ANTIONO HEARST                           6472 WASHINGTON ST                                                                             ROMULUS          MI   48174
DARNELL C O'TOOLE                                C/O DARNELL C PIAZZA                  12498 NEFF RD                                            CLIO             MI   48420‐1823
DARNELL D HARRIS                                 556 BLOOMFIELD                                                                                 PONTIAC          MI   48341‐2808
DARNELL DAWSON SR                                3501 N WALLACE                                                                                 INDIANAPOLIS     IN   46218‐1660
DARNELL F MURCHISON                              3300 RISDALE                                                                                   LANSING          MI   48911‐2674
DARNELL J BUTLER                                 26050 FRANKLIN POINTE DR                                                                       SOUTHFIELD       MI   48034‐1563
DARNELL J HICKS                                  PO BOX 261                                                                                     ROCKY POINT      NC   28457‐0261
DARNELL J SIMPSON                                3040 DIXIE CT                                                                                  SAGINAW          MI   48601‐5904
DARNELL MOORE                                    7115 HILL RD                                                                                   CANAL WINCHESTER OH   43110‐1315

DARNELL R BELL                                   4733 STRATSBURG DR                                                                             DAYTON          OH    45427‐2701
DARNELL T PETERSON                               302 BRISTAL PLACE                                                                              NEW CASTLE      DE    19720‐8831
DARNICE ADAMS                                    1225 E EDWARDS ST                                                                              SPRINGFIELD     IL    62703
DAROLD G DEXTER                                  4084 BENNETT LAKE RD                                                                           FENTON          MI    48430‐8709
DAROLD H LUETTKE                                 1869 DALEY RD                                                                                  LAPEER          MI    48446‐8311
DAROLD H OPPERMAN                                3975 MILLINGTON RD RFD 2                                                                       MILLINGTON      MI    48746‐9607
DAROLD J VINCENT & JUDITH C VINCENT JT TEN       135 CHENEY STREET                                                                              IMLAY CITY      MI    48444‐1417
DAROLD L MCCOY                                   2125 CHARLES ST                                                                                ANDERSON        IN    46013‐2729
DAROLD PIERRON                                   476 W WARD ST                                                                                  VERSAILLES      OH    45380‐1136
DAROLD RICHARDSON CUST LOGAN D RICHARDSON        285 HARCOURT RD                                                                                GLENDALE        KY    42740‐9779
UTMA KY
DARON THOM & ADELMA THOM JT TEN                  11581 CALDICOT DR                                                                              LAS VEGAS       NV    89138‐1541
DARRA C LA GEST                                  12405 CRAWFORD RD                                                                              OTISVILLE       MI    48463‐9767
DARRAH S BROWN                                   3259 HAYDEN STREET                    APT 1                                                    HONOLULU        HI    96815‐4376
DARREL A ANDERSON & MRS SHIRLEY M ANDERSON JT    311 OSCAR DR                                                                                   BROCKPORT       PA    15823‐3933
TEN
DARREL A MARTIN                                  108 MCTIGHE                                                                                    BELLAIRE        TX    77401‐4203
DARREL B KELSEY                                  753 DECORAH LANE                                                                               SAINT PAUL      MN    55120‐1619
DARREL B NOLFF                                   2330 MARJORIE LANE                                                                             CLIO            MI    48420‐9161
DARREL D BRANHAM                                 704 ARIANNE CT                                                                                 LEHIGH ACRES    FL    33936‐6900
DARREL D COLLINS                                 5523 EAGLE CREEK RD                                                                            LEAVITTSBURG    OH    44430‐9416
DARREL D LINDOW                                  5925 STATE RT 140                                                                              MORO            IL    62067‐1905
DARREL DAY                                       30 ELM STREET                                                                                  W ALEXANDRIA    OH    45381‐1240
DARREL E FROLIN                                  12204 E 48 TERR                                                                                INDEPENDENCE    MO    64055‐5709
DARREL E MARTIN                                  713 SWALLOW LA                                                                                 JANESVILLE      WI    53546‐2970
DARREL E MC DANIEL                               1512 SUNVALE TERRACE                                                                           OLATHE          KS    66062‐2105
DARREL E NOURIE                                  4392 REYNOLDS RD                                                                               DELTON          MI    49046‐7696
DARREL EVANS                                     149 SHERMAN STREET                                                                             HIGHLAND        MI    48357‐2738
DARREL F ADAIR                                   12030 EAST U AVE                                                                               VICKSBURG       MI    49097‐9579
DARREL G EWALD                                   7282 NORTH LAKE RD                                                                             MILLINGTON      MI    48746‐9017
DARREL H BERRY                                   907 W BROAD ST                                                                                 LINDEN          MI    48451‐8767
DARREL J GROCE                                   31 ADAIR COURT                                                                                 MALVERNE        NY    11565‐1006
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DARREL J TAYLOR                                G1047 MC KINLEY BLVD                                                                            FLINT           MI    48507
DARREL J WALTER                                73534 GOULD RD                                                                                  BRUCE TWP       MI    48065
DARREL JAGGERS                                 PO BOX 1179                                                                                     KOLOA           HI    96756‐1179
DARREL JONES & PATRICIA JONES JT TEN           2310 LINWALD LANE                                                                               DAYTON          OH    45459‐1377
DARREL K FRASER                                1400 HUNTCLIFF WAY                                                                              CLINTON         MS    39056‐3430
DARREL L KREUTZER                              2610 S 31ST ST                                                                                  KANSAS CITY     MO    66106
DARREL L KUGLER                                3788 EVERSHOLT ST                                                                               CLEARMONT       FL    34711‐5210
DARREL L MAYLE                                 17526 VACRI LN                                                                                  LIVONIA         MI    48152‐3120
DARREL L RUNYON                                G 6455 N DORT                                                                                   MT MORRIS       MI    48458
DARREL L SCHARRER                              12361 CREEKSIDE DR                                                                              CLIO            MI    48420‐8227
DARREL N WILSON                                RT 1 BOX 415A                                                                                   GRAFTON         WV    26354‐9767
DARREL R BOESE                                 5759 CROFOOT RD                                                                                 HOWELL          MI    48843‐9629
DARREL R SAND                                  4777 OTTAWA DRIVE                      PO BOX 244                                               OKEMOS          MI    48864‐2057
DARREL R SHYNE                                 2889 COUNTY ROUTE 47                                                                            NORWOOD         NY    13668‐4101
DARREL V BLOOMER                               7310 NEW ENGLAND RIDGE RD                                                                       WASHINGTON      WV    26181‐5310
DARREL W BOYLES                                20 SILVER CT                                                                                    BAYVILLE        NJ    08721‐3801
DARREL W HISLE                                 699 W 200 N                                                                                     GREENFIELD      IN    46140‐8603
DARREL WELDON                                  105 BRITT DRIVE                                                                                 ENTERPRISE      AL    36330‐7873
DARRELL A AGLER                                1483 LA LOMA ROAD                                                                               PASADENA        CA    91105‐2194
DARRELL A CORDER                               8817 RUSHIDE DR                                                                                 PINCKNEY        MI    48169
DARRELL A DAHLQUIST                            11012 S BLAIR RD                                                                                ASHLEY          MI    48806‐9760
DARRELL A GARLOCK                              10950 W UNION HILLS DR #1912                                                                    SUN CITY        AZ    85373‐1558
DARRELL A GARLOCK & MILDRED D GARLOCK JT TEN   10950 W UNION HILLS DR #1912                                                                    SUN CITY        AZ    85373‐1558

DARRELL A MARTIN                               8049 W CR 950 N                                                                                 DALEVILLE       IN    47334‐9502
DARRELL A ROPER                                7167 RIDGEVIEW DRIVE                                                                            GENESEE         MI    48437
DARRELL A ROWE                                 311 HAMILTON                                                                                    PLYMOUTH        MI    48170‐1670
DARRELL A SPILKER                              881 FRANKLIN TRACE                                                                              ZIONSVILLE      IN    46077‐1170
DARRELL A WARD                                 6125 SANDY LANE                                                                                 BURTON          MI    48519‐1309
DARRELL ANTHONY DILL JR                        255 GOLDEN AVE                                                                                  OAK GROVE       KY    42262
DARRELL B BULVONY                              1538 DADEYVILLE RD                                                                              AUSTINBURG      OH    44010‐9722
DARRELL B CHRISTOFF                            12 48TH WESTBROOK PLACE                                                                         LIVERMORE       CA    94550
DARRELL B JACKSON                              945 HUBBARD                                                                                     FLINT           MI    48503‐4937
DARRELL B LASHLEY                              PO BOX 105                                                                                      SEAVIEW         WA    98644‐0105
DARRELL B WEST                                 4136 PEPPERMILL RD                                                                              ATTICA          MI    48412‐9744
DARRELL BROUGHTON                              1871 MAIN ST                                                                                    GOSHEN          OH    45122‐9284
DARRELL C COPENHAVER                           234 MANGO ST                                                                                    LAKE JACKSON    TX    77566‐5130
DARRELL C DAVIS                                1224 W 24TH ST                                                                                  INDEPENDENCE    MO    64052‐3204
DARRELL C DURHAM & PATRICIA M DURHAM TEN ENT   PO BOX 576                                                                                      BLUE SPRINGS    MO    64013‐0576

DARRELL C HOLBROOK                             479N BRIDLE LANE                                                                                W CARROLLTON    OH    45449‐2119
DARRELL C JOHNSON                              71 OLIVE ST                                                                                     CHAGRIN FALLS   OH    44022
DARRELL C MABRY                                2390 ALTA WEST ROAD                                                                             MANSFIELD       OH    44903‐8249
DARRELL C RUTLEDGE                             4240 NORTH 700 EAST                                                                             FRANKLIN        IN    46131‐8768
DARRELL C SMITH                                319 PROSPECT STREET                                                                             OVID            MI    48866‐9581
DARRELL C SMITH & NANCY M SMITH JT TEN         319 PROSPECT STREET                                                                             OVID            MI    48866‐9581
DARRELL C TURMAN                               27593 WINCHESTER TERR                                                                           TRENTON         MI    48183‐5935
DARRELL C WILSON & DIANA L WILSON JT TEN       1316 FM 473                                                                                     BOERNE          TX    78006‐7308
DARRELL CRAW CUST ANTHONY B CRAW UGMA MI       11101 S LINDEN RD                                                                               LINDEN          MI    48451‐9466

DARRELL CRAW CUST REBECCA R CRAW UGMA MI       11101 S LINDEN RD                                                                               LINDEN          MI    48451‐9466
DARRELL D ANDRUS                               9203 PARKE RD                                                                                   ALANSON         MI    49706‐9621
DARRELL D FOGELBERG                            120 E LAKEVIEW ST                                                                               FLINT           MI    48503‐4153
DARRELL D GARRISON                             8710 E MORRELL AVE                                                                              INDEPENDENCE    MO    64053
DARRELL D INGRAM                               12260 HIGHWAY K68                                                                               LOUISBURG       KS    66053‐8212
DARRELL D LAKE                                 853 N 145TH LN                                                                                  SEATTLE         WA    98133‐6443
DARRELL D LOGER                                4309 PARTRIDGE LANE                                                                             NEWPORT         MI    48166
DARRELL D MCAFEE                               1642 WEST 186TH                                                                                 WESTFIELD       IN    46074‐9214
DARRELL D NEWBY                                923 N COTTONWOOD                                                                                FAIRMOUNT       IN    46928‐1035
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DARRELL D RICHMOND                                 11640 NATURE TRAIL                                                                             PORT RICHEY     FL    34668‐1232
DARRELL D SEEGRAVES                                481 TILLMAN AVE SW                                                                             PALM BAY        FL    32908‐7590
DARRELL D SHEPHERD                                 2900 KINGS CORNERS RD E                                                                        LEXINGTON       OH    44904‐9535
DARRELL D TRUBEY                                   4215 N 97TH ST                                                                                 KANSAS CITY     KS    66109‐3214
DARRELL D WEIGELT                                  14525 HAMILTON RD                                                                              ROANOKE         IN    46783‐9604
DARRELL DIXON                                      2571 CHAPEL DR W                                                                               SAGINAW         MI    48603‐2808
DARRELL DONAKOWSKI                                 1315 MONROE ST APT 41                                                                          DEARBORN        MI    48124‐2838
DARRELL E BYRD                                     563 HALFMILE ROAD                                                                              ELKIN           NC    28621
DARRELL E DAVIS                                    113 PENNSYLVANIA DR                                                                            DECATUR         IL    62526‐2351
DARRELL E DOLLIVER                                 13030 W COUNTY ROAD 550 S                                                                      DALEVILLE       IN    47334‐9678
DARRELL E DOWDY                                    4481 MIDLAND                                                                                   WATERFORD       MI    48329‐1834
DARRELL E ELKINS                                   5702 GRAY RD                                                                                   INDIANAPOLIS    IN    46237‐2451
DARRELL E ELKINS                                   17767 SR 15                                                                                    CONTINENTAL     OH    45831
DARRELL E HIGHFIELD                                112 DETROIT AVE                                                                                LEVELLAND       TX    79336‐5112
DARRELL E KENNEDY                                  12249 GRAFTON                                                                                  CARLETON        MI    48117‐9305
DARRELL E MULLEN                                   4625 FRISCO BRANCH RD                                                                          SUMTER          SC    29154‐9294
DARRELL E OWEN                                     6471 E EDNA MILLS DR                                                                           CAMBY           IN    46113‐9699
DARRELL E SHOCK                                    HC 73 BOX 150                                                                                  SANDRIDGE       WV    25234‐9503
DARRELL E THOMAS                                   1903 COTTONWOOD DRIVE                                                                          JANESVILLE      WI    53545‐0672
DARRELL E UPPER                                    1246 CHATWELL DR                                                                               DAVISON         MI    48423‐2722
DARRELL E WILLIAMS                                 2123 COLTON DRIVE                                                                              KETTERING       OH    45420‐1410
DARRELL EVANS & JULIE EVANS JT TEN                 307 E ARMITAGE                                                                                 THREE RIVERS    MI    49093‐1447
DARRELL F ALBEE                                    32 BROAD ST                                                                                    WALPOLE         MA    02081‐1724
DARRELL F GUYNES                                   6956 S KIMBERLEE WAY                                                                           CHANDLER        AZ    85249‐5026
DARRELL F KELLEY                                   7680 TARLTON ROAD                                                                              AMANDA          OH    43102‐9540
DARRELL F RATH                                     4620 REAN MEADOW DR                                                                            KETTERING       OH    45440‐1924
DARRELL FARLOUGH                                   2888 WINDSOR DRIVE                    APT 304                                                  LISLE           IL    60532
DARRELL FERRIS PATTERSON                           2005 BAIRD AVENUE                                                                              WILMINGTON      DE    19808‐5201
DARRELL FORSYTHE HOLMES                            2310 WOODLAND DR                                                                               REIDSVILLE      NC    27320‐5925
DARRELL FORSYTHE HOLMES III                        2310 WOODLAND DRIVE                                                                            REIDSVILLE      NC    27320‐5925
DARRELL FRANCIS                                    7399 JUDD ROAD                                                                                 YPSILANTI       MI    48197‐8913
DARRELL G BERGOR                                   2249 S LIMA CENTER RD                                                                          CHELSEA         MI    48118‐9623
DARRELL G DINKINS                                  PO BOX 4505                                                                                    AUBURN HILLS    MI    48326
DARRELL G DINKINS & LINDA M DINKINS JT TEN         PO BOX 4505                                                                                    AUBURN HILLS    MI    48326
DARRELL G FULLER                                   1595 PARKWAY DR                                                                                CARO            MI    48723‐1336
DARRELL G GRANTHAM                                 1360 N 250 E                                                                                   KOKOMO          IN    46901‐3429
DARRELL G KNISLEY                                  9822 E MAIN ST                        UNIT 2                                                   MESA            AZ    85207‐8924
DARRELL G MASCHKE                                  16 CAVANAH LK RD                                                                               CHELSEA         MI    48118
DARRELL G MORTON                                   800 E 600 S                                                                                    ANDERSON        IN    46013‐9545
DARRELL G OLWINE                                   11 SEMINOLE LANE                                                                               ARCANUM         OH    45304‐1349
DARRELL G STINSON                                  6386 W FRANCES ROAD                                                                            CLIO            MI    48420‐8549
DARRELL G TSCHURWALD                               6503W CATHERINE AVE APT 520                                                                    CHICAGO         IL    60656‐2589
DARRELL GERHART                                    6341 CASE RD                                                                                   N RIDGEVILLE    OH    44039
DARRELL GILLETTE & MRS CAROL A GILLETTE JT TEN     5148 N MONTEREY DR                                                                             NORRIDGE        IL    60656‐3246

DARRELL H BECK                                     2045 NORTH BAY DR                                                                              WILLOUGHBY      OH    44094‐8056
DARRELL H JONES                                    1268 BELL COURT                                                                                ELYRIA          OH    44035‐3108
DARRELL H RENEKER                                  300 HAMPSHIRE ROAD                                                                             AKRON           OH    44313‐4328
DARRELL HARPER                                     20615 HUNT CLUB DR                                                                             HARPER WOODS    MI    48225‐1741
DARRELL HAWKES JR                                  3593 FM 196 N                                                                                  PARIS           TX    75460
DARRELL J CANNON                                   PO BOX 2914                                                                                    INDIANAPOLIS    IN    46206‐2914
DARRELL J GIDES                                    52714 OVERLOOK TRAIL                                                                           NEW BALTIMORE   MI    48047‐1484
DARRELL J HENSON                                   6832 SALINE                                                                                    WATERFORD       MI    48329‐1255
DARRELL J JENKINS & MRS GRACE E JENKINS JT TEN     4011 BEAVER DRIVE                                                                              MICHIGAN CITY   IN    46360‐7427

DARRELL J KENNEDY                                  19055 STONEWOOD RD                                                                             RIVERVIEW       MI    48192‐7817
DARRELL J PALMER & KATHLEEN PALMER JT TEN          6217 GARNER COURT                                                                              PLEASANTON      CA    94588‐3956
DARRELL JAY PATTERSON & KYE CHOE PATTERSON JT      106 CAROLINA CIR                                                                               JACKSONVILLE    NC    28546‐7622
TEN
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Name                                               Address1                             Address2             Address3          Address4          City              State Zip

DARRELL JURY                                       216 HUBBARD ST                                                                                BAD AXE           MI    48413‐1504
DARRELL K AULT                                     11861 ALA HIGHWAY 9                                                                           PIEDMONT          AL    36272‐7735
DARRELL K RANDOLPH                                 1455 ANNABELLE                                                                                DETROIT           MI    48217‐1201
DARRELL K WILSON & JONITA D SNELL COMMUNITY        19951 TEA ST SW                                                                               ROCHESTER         WA    98579‐9397
PROPERTY
DARRELL L BAILEY                                   5324 IROQUOIS CT                                                                              CLARKSTON         MI    48348‐3014
DARRELL L CLERE                                    6850 STATE RD                                                                                 PARMA             OH    44134‐4659
DARRELL L DAHLBERG & JOSEPHINE J DAHLBERG JT TEN   BOX 97                                                                                        BROCKTON          MT    59213‐0097

DARRELL L DEMROW                                   BOX 1220                                                                                      GRANBY            CO    80446‐1220
DARRELL L DOLIN                                    24831 ARVILLA LANE                                                                            HAYWARD           CA    94544‐2001
DARRELL L ELLIOTT                                  5908 BARNETT LN                                                                               INDIANAPOLIS      IN    46221‐4001
DARRELL L FLANERY                                  6440 WIND RIVER PT                                                                            COLORADO SPGS     CO    80923
DARRELL L JERDINE                                  7332 SUGARLOAF DR                                                                             ANTIOCH           TN    37013‐4616
DARRELL L NUNLEY                                   1257 SLEEPY HOLLOW RD                                                                         SEVERN            MD    21144‐3502
DARRELL L OLIVER                                   20299 MURRAY HILL                                                                             DETROIT           MI    48235‐2130
DARRELL L PATTERSON                                7040 LOU MAC DR                                                                               SWARTZ CREEK      MI    48473‐9718
DARRELL L REEL                                     784 RANDY SUE CT                                                                              BROOKVILLE        OH    45309‐1377
DARRELL L SHAW                                     231 MULBERRY ST                                                                               CHESTERFIELD      IN    46017‐1720
DARRELL L SIEVE                                    4821 MONROE DR                                                                                MIDLOTHIAN        TX    76065‐7082
DARRELL L STEVENSON                                310 HIGHLAND AVE                                                                              KANSAS CITY       MO    64106‐1327
DARRELL L TIPTON                                   ATTN GARRELL DAVIS TIPTON            302 COLUMBUS AVE                                         NEW SMYRNA        FL    32169‐2623
                                                                                                                                                 BEACH
DARRELL L VANDUSEN                                 1604 LILLIAN CIRCLE                                                                           COLUMBIA          TN    38401‐5418
DARRELL L YATES                                    250 RIDGEWATER WAY                                                                            MT JULIET         TN    37122‐5723
DARRELL LEE AMMONS                                 4393 TOWNLINE HWY                                                                             ADRIAN            MI    49221‐9532
DARRELL M BUEHRER                                  717 SUZETTE DR                                                                                OCOEE             FL    34761‐1949
DARRELL MONDEAU                                    1725 NEBRASKA AVE                                                                             FLINT             MI    48506
DARRELL P BARLOW                                   2995 M LAKE SHORE DRIVE                                                                       HARRISVILLE       MI    48740‐9768
DARRELL P JOHNSON                                  5141 N 65TH STREET                                                                            MILWAUKEE         WI    53218‐4008
DARRELL P SPICKLER JR                              87 CASHMERE DRIVE                                                                             MARTINSBURG       WV    25401
DARRELL P WALDECK                                  3616 ST RT 534                                                                                SOUTHINGTON       OH    44470‐9701
DARRELL PEEBLES                                    2‐401ST AFS BN‐KV                                                                             APO               AE    09366
DARRELL Q TEAL                                     PO BOX 27                                                                                     ATLANTA           IN    46031‐0027
DARRELL R ALLEN                                    6334 LESOURDSVILLE                   WESTCHESTER ROAD                                         HAMILTON          OH    45011‐8416
DARRELL R BENT                                     3931 PLAINVIEW DRIVE                                                                          BEAVERCREEK       OH    45431‐2320
DARRELL R BIRCHETT                                 17158 PENNY DR                                                                                PONCHATOULA       LA    70454‐2469
DARRELL R BRILINSKI                                740 WALDMAN                                                                                   FLINT             MI    48507‐1768
DARRELL R CARRICO                                  839 GRACELAND DR                                                                              WEST CARROLLTON   OH    45449‐1528

DARRELL R DEVAULT                                  6429 EARLINGTON LN APT 228                                                                    LANSING           MI    48917
DARRELL R PERKINS                                  49 NORDALE AVE                                                                                DAYTON            OH    45420‐1735
DARRELL R WILLIAMS                                 3555 SLEEPY FOX DR                                                                            ROCHESTER HILLS   MI    48309‐4518
DARRELL SNYDER                                     1988 N MAHONIA PL                                                                             BELLINGHAM        WA    98229‐6939
DARRELL T CAMERON                                  410 TENTREE                                                                                   SPARTA            MI    49345‐1438
DARRELL T CHAFFINS                                 8131 TOWNSHIP ROAD 55                                                                         MANSFIELD         OH    44904‐9223
DARRELL T GREESON                                  318 VINEWOOD DR N                                                                             BROWNSBURG        IN    46112‐2040
DARRELL T ROBINSON                                 9551 CHEYENNE ST                                                                              DETROIT           MI    48227‐3703
DARRELL T TAYLOR                                   125 LAKESIDE DR                                                                               COLUMBIA          TN    38401‐6092
DARRELL VIRGLE SLINKARD                            1857 YELLOWSTONE                                                                              FULTON            KS    66738‐8116
DARRELL W ALLEN                                    3510 ROOSEVELT                                                                                DEARBORN          MI    48124‐3628
DARRELL W COOMER & MARIE E COOMER JT TEN           27250 M60                                                                                     MENDON            MI    49072‐9727
DARRELL W FAITH                                    1279 MAIN STREET                                                                              CORYDON           IN    47112‐2102
DARRELL W GILLISPIE                                PO BOX 70                                                                                     GLENCOE           KY    41046‐0070
DARRELL W HARGISS                                  7679 NORTH 350TH ST                                                                           ALEXANDRIA        IN    46001‐0406
DARRELL W KIRBY                                    2126 STATE ROUTE 430                                                                          MANSFIELD         OH    44903‐8747
DARRELL W NICHOLS                                  180 OLD CHESAPEAKE DR                                                                         WENTZVILLE        MO    63385‐2783
DARRELL W PULLEN                                   PO BOX 22                                                                                     MARTHASVILLE      MO    63357‐0022
DARRELL W RAMP                                     29 WILLIAMS DR                                                                                W MIDDLESEX       PA    16159‐3525
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DARRELL W REYNOLDS                             11475 S COUNTY LINE SE                                                                           FIFE LAKE        MI    49633‐9268
DARRELL W RIVERS & SHU MIN H RIVERS JT TEN     6 WOODSIDE RD E                                                                                  APALACHIN        NY    13732‐4209
DARRELL W SNYDER                               601 SMITH RD                                                                                     BRASHER FALLS    NY    13613‐3242
DARRELL W TUFTS                                502 S MEADE ST                                                                                   FLINT            MI    48503‐2276
DARRELL WARNOCK & JUANITA WARNOCK JT TEN       6912 DUNCAN CIRCLE                                                                               FORT SMITH       AR    72903‐2820
DARRELL WINKLER                                1193 E WOOD                                                                                      PARIS            IL    61944‐1926
DARRELL Z RADABAUGH                            355 PECAN CT                                                                                     NEVADA           TX    75173‐7013
DARRELL Z SMITH                                213 REVSON AVENUE                                                                                SEBRING          FL    33876‐6705
DARREN A BORTON                                PO BOX 14                                                                                        MITCHELL         GA    30820‐0014
DARREN B JACOBS                                4317 HERMLEIGH LN                                                                                MECHANICSVILLE   VA    23111‐6841
DARREN C POST                                  1068 BLUE RIDGE CIRCLE                                                                           CLARKSTON        MI    48348‐5212
DARREN CHMELIK                                 9255 E RIDGE RD                                                                                  HOBART           IN    46342‐2610
DARREN D FISH                                  1200 FULLER WISER RD APT 1527                                                                    EULESS           TX    76039‐8304
DARREN D TROTTER                               13545 STONEGATE DR                      APT 7                                                    STERLING HTS     MI    48312‐6487
DARREN DAY CUST DYLAN DAY UTMA IL              1649 W 93RD ST                                                                                   CHICAGO          IL    60620‐5110
DARREN DAY CUST SAMANTH DAY UTMA FL            30 CHERRYTREE CT                                                                                 PALM COAST       FL    32137‐9050
DARREN E JACKSON                               2247 VAN BRUNT                                                                                   KANSAS CITY      MO    64127‐2928
DARREN J DREWNO                                1270 TRIBBLE RD                                                                                  SHERMAN          TX    75090‐7597
DARREN J MEYERS                                15 LENOX PLACE                                                                                   SCARSDALE        NY    10583‐7210
DARREN J WALKER                                4001 GARLAND AVE                                                                                 LEAVENWORTH      KS    66048‐5568
DARREN K MANESS                                2817 BARMETTLER ST                                                                               RALEIGH          NC    27607‐4129
DARREN L MOYER                                 33 LLOYD STREET                                                                                  WILMINGTON       DE    19804‐2819
DARREN LEWIS                                   2016 LITTLE OAK WAY                                                                              MODESTO          CA    95355‐1420
DARREN M BARR                                  2102 MARSHFIELD BLVD                                                                             CLEVELAND        OH    44145‐1763
DARREN M GOLD                                  1419 NORTH GARDNER                                                                               LOS ANGELES      CA    90046‐4156
DARREN N RUCKER                                1500 HAMPSHIRE PIKE                     APT D5                                                   COLUMBIA         TN    38401‐5602
DARREN PAUL WILLEY                             4732 WRIGHTWIND DR SE                                                                            GRAND RAPIDS     MI    49546
DARREN R WRIGHT                                39 HEMMINGWAY DR                        COURTICE ON                            L1E 2C7 CANADA
DARREN ROSE                                    700 10TH ST                                                                                      SECAUCUS         NJ    07094
DARREN S HOFFMAN                               2155 PINE POINT DR                                                                               LAWRENCEVILLE    GA    30043‐2494
DARREN S WINTER                                PO BOX 236                                                                                       ALMA             MO    64001‐0236
DARREN T WHITE                                 1526 PARKSIDE TRL                                                                                LEWISVILLE       TX    75077‐2738
DARRIA ELIZABETH LONG                          7525 SAWYER PIKE                                                                                 SIGNAL MTN       TN    37377‐1617
DARRICK BROCK                                  321 W WITHERBEE                                                                                  FLINT            MI    48503‐1071
DARRICK R WOODS                                70 RIDGEVIEW CIR                                                                                 MILAN            OH    44846‐9519
DARRICK TAYLOR                                 3050 SERENADE CT                                                                                 ALPHARETTA       GA    30004‐4963
DARRIK R MILLER                                3427 SANTA CLARA CT                                                                              FLINT            MI    48504‐3234
DARRIL L GETTEL                                2540 NEW COLUMBIA HWY                                                                            LEWISBURG        TN    37091‐6728
DARRIN LAMONT MC CLELLAND                      600 ADMIRAL BLVD                        APT 905                                                  KANSAS CITY      MO    64106‐1572
DARRIS P MCCORD                                6160 W SURREY RD                                                                                 BLOOMFIELD       MI    48301‐1661
DARRIUS E HART                                 1450 N PEASE RD                                                                                  VERMONTVILLE     MI    49096‐9510
DARROL E ROAT                                  6339 SHERIDAN AVE                                                                                DURAND           MI    48429‐9311
DARRON CLAUSON                                 1125 VOORHEIS ROAD                                                                               PONTIAC          MI    48341‐1879
DARRON KEITH DANIELS                           169 OVERLOOK CIRCLE                                                                              JACKSON          MS    39213‐2302
DARROW KENNEDY                                 2246 S 20TH AVE                                                                                  BROADVIEW        IL    60153‐3912
DARROW R FISHER                                340 S WHITE RIVER PKWY WEST DR                                                                   INDIANAPOLIS     IN    46222‐4514
DARRY B MCDOWELL                               119 ROOSEVELT DR                                                                                 POUGHQUAG        NY    12570‐5233
DARRYL A DELGADO                               29520 SHARON LN                                                                                  SOUTHFIELD       MI    48076‐5213
DARRYL B ANDREWS & SAMANTHA L ANDREWS JT TEN   51 WIND SONG AVE                                                                                 MANCHESTER       NH    03104‐4123

DARRYL BOYD                                    3175 DARTMOUTH                                                                                   DETROIT          MI    48217‐1020
DARRYL C EDDINGS                               5629 E OUTER DR                                                                                  DETROIT          MI    48234‐3778
DARRYL C JOHNSON                               4482 CROCUS DR                                                                                   SAN JOSE         CA    95136‐1921
DARRYL C NORDENTOFT                            335 S SPRING AVE                                                                                 LA GRANGE        IL    60525‐6207
DARRYL C ROCKWITT                              1853 VININGS MILL WALK                                                                           SMYRNA           GA    30080‐6344
DARRYL D EDMONSON                              3092 SKANDER DR                                                                                  FLINT            MI    48504‐1243
DARRYL D JOHNSON & MARSHA J JOHNSON JT TEN     340 SWANTE AHO RD                                                                                CRYSTAL FALLS    MI    49920‐9496

DARRYL D RONCONI                               PO BOX 5548                                                                                      NAPERVILLE       IL    60567‐5548
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DARRYL D WALKER                                 720 ROUNDTREE CT                                                                                  SACRAMENTO        CA    95831‐2678
DARRYL E COOVERT                                6447 HUMMINGBIRD LN                                                                               EDEN PRAIRIE      MN    55346‐1837
DARRYL E DAVIS                                  2176 FOX HILL DRIVE #10                                                                           GD BLANC          MI    48439‐5218
DARRYL E MC CLAIN                               13445 RAWSONVILLE                                                                                 BELLEVILLE        MI    48111‐9400
DARRYL E ROCKFIELD                              1531 MCKELVEY RD                                                                                  MARYLAND          MO    63043‐2852
                                                                                                                                                  HEIGHTS
DARRYL E WILSON                                 4601 ST JAMES AVENUE                                                                              DAYTON            OH    45406‐2324
DARRYL E ZOCH                                   38647 PINEBROOK DRIVE                                                                             STERLING HGTS     MI    48310‐2912
DARRYL F DU REE                                 9034 YOUNGDALE ST                                                                                 SAN GABRIEL       CA    91775‐2036
DARRYL F WHEELER                                107 PLANTATION TRACE                                                                              WOODSTOCK         GA    30188‐2270
DARRYL G CHAFIN                                 32 CHERDON CIR                                                                                    WAKEMAN           OH    44889‐8970
DARRYL G SCOTT                                  637 GREEN ST                                                                                      ATLANTIC CITY     NJ    08401‐2270
DARRYL G SUTTON                                 111 HARRIS COURT                                                                                  MOSCOW MOLLS      MO    63362‐2514
DARRYL G TRACY                                  205 OAK ST                                                                                        FLUSHING          MI    48433‐2635
DARRYL G WILLIAMS                               7605 NW 11TH AVE                                                                                  MIAMI             FL    33150‐3264
DARRYL GERHART                                  6341 CASE RD                                                                                      N RIDGEVILLE      OH    44039
DARRYL H KREITZER                               976 KENBROOK DRIVE                                                                                VANDALIA          OH    45377‐2639
DARRYL HANY CUST LESLIE HANY UTMA FL            678 S LOSROBLES                                                                                   PASADENA          CA    91106‐3739
DARRYL J BINGNER                                1014 FLEMING ST                                                                                   COLUMBIA          TN    38401‐2421
DARRYL J CAMPBELL                               8793 ANCHOR BAY DR                                                                                ALGONAC           MI    48001‐3511
DARRYL J CHIMKO CUST MICHAEL J CHIMKO UGMA MI   1613 SCENIC HOLLOW                                                                                ROCHESTER HILLS   MI    48306‐3249

DARRYL J CHIMKO CUST PAUL R CHIMKO UGMA MI      1613 SCENIC HOLLOW                                                                                ROCHESTER HILLS   MI    48306‐3249

DARRYL J ENGLISH                                602 BELVEDERE CT S                                                                                CANTON            MI    48188‐6263
DARRYL J FLORKEY                                13197 HAWK DR                                                                                     SHELBY TOWNSHIP   MI    48315‐1392

DARRYL J FULMER                                2008 NETHERY RD                                                                                    HARTSELLE         AL    35640‐7353
DARRYL J GUST                                  1055 TAURUS CT                                                                                     FRANKLIN          IN    46131‐7371
DARRYL J PEGG                                  BOX 7                                                                                              MEXICO            IN    46958‐0007
DARRYL JAY LAMBERTSON                          4509 INDIANWOOD ROAD                                                                               CLARKSTON         MI    48348‐2235
DARRYL JOHNSON                                 16603 RUTHERFORD                                                                                   DETROIT           MI    48235‐3667
DARRYL K FEEMSTER                              680 WINSTON DRIVE                                                                                  RENO              NV    89512‐4435
DARRYL K LEE                                   3126 BERTHA AVE                                                                                    FLINT             MI    48504‐1817
DARRYL K TISON                                 8834 ORRICK                                                                                        COMMERCE TWP      MI    48382‐3775
DARRYL K WATSON                                PO BOX 495                                                                                         BUFFALO           NY    14207‐0495
DARRYL KENNEBREW                               APT 1                                     41 ANGELL ST                                             DORCHESTER        MA    02124‐1511
DARRYL L CRANE                                 39 FAIRBANKS RD                                                                                    CHURCHVILLE       NY    14428‐9757
DARRYL L HALE                                  352 E MAIN                                                                                         VERMONTVILLE      MI    49096‐9302
DARRYL L HARRIS                                4223 HUMBOLDT                                                                                      DETROIT           MI    48208‐2520
DARRYL L JONES                                 189 PEDRETTI                                                                                       CINCINNATI        OH    45238‐6024
DARRYL L WHITAKER                              15501 MURRAY HILL                                                                                  DETROIT           MI    48227‐1945
DARRYL M DIXSON                                11473 WHITTIER AVE                                                                                 LOMA LINDA        CA    92354‐4105
DARRYL M SMITH                                 126 GILLESPIE RD                                                                                   FIVE POINTS       TN    38457‐5226
DARRYL M SYKES                                 1927 OX BOW LN                                                                                     SAINT LOUIS       MO    63138‐1529
DARRYL MAC DONALD & BEATRICE MAC DONALD JT TEN 17060 WAKENDEN                                                                                     REDFORD           MI    48240‐2400

DARRYL MADDOX                                   3203 ALDRIDGE CT                                                                                  BOWIE             MD    20716‐3884
DARRYL N LANDRUM                                19924 BRIARCLIFF                                                                                  DETROIT           MI    48221‐1321
DARRYL P MITCHELL                               200 CRESTWOOD ST                                                                                  PONTIAC           MI    48341‐2730
DARRYL P RAY                                    103 REDBUD DR                                                                                     SHELBYVILLE       TN    37160‐4346
DARRYL R BECKTEL                                6565 WOOD CREST DRIVE                                                                             AVON              IN    46123‐7301
DARRYL R BROWN                                  14260 WEIR ROAD                                                                                   CLIO              MI    48420‐8853
DARRYL R GRACE                                  4352 QUARRY RD                                                                                    AFTON             MI    49705‐9731
DARRYL R LEM                                    924 MUIRFIELD CT                                                                                  SCHERERVILLE      IN    46375‐2972
DARRYL R MOSS                                   2185 HELEN                                                                                        DETROIT           MI    48207‐3620
DARRYL R WILLIAMS                               6626 N 114TH ST                                                                                   MILWAUKEE         WI    53224‐5011
DARRYL R WISE                                   1304 HARBOR ISLAND DR                                                                             PORT ISABEL       TX    78578‐2523
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DARRYL S BALL                                  9 AVENUE I                                                                                      MONROE          NJ    08831‐2212
                                                                                                                                               TOWNSHIP
DARRYL S FOLDING                               9372 LAKE CREST DRIVE                                                                           WHITMORE LAKE   MI    48189‐9387
DARRYL S PETERS                                35414 LAKE EDWARD DR                                                                            ZEPHYRHILLS     FL    33541‐1911
DARRYL S PODCZERVINSKI                         7825 TRESTLEWOOD DR                    APT 3A                                                   LANSING         MI    48917‐8791
DARRYL SAMARJIA                                270 SCOTTSDALE SQ                                                                               WINTER PARK     FL    32792‐5310
DARRYL SILBERMAN                               3382 N SHORELINE CIR                                                                            LAYTON          UT    84040‐7128
DARRYL STALLION                                8821 ARCADIA                                                                                    DETROIT         MI    48204‐2375
DARRYL T POWLISON                              4113 MORGAN RD                                                                                  LAKE ORION      MI    48359‐1949
DARRYL T ROSS                                  3213 9TH PLACE SE                                                                               WASHINGTON      DC    20032
DARRYL TRAINOR                                 2942 FITCH DR                                                                                   MT PLEASANT     MI    48858‐8021
DARRYL V CHRISTISEN                            10507 BEAVER LAKE TRL                                                                           FORISTELL       MO    63348‐1460
DARRYL W DROTLEFF                              1534 HARDING AVE                                                                                ASHLAND         OH    44805‐3552
DARRYL W DUHOW                                 7966 RIDGE RD                                                                                   GASPORT         NY    14067‐9317
DARRYL W JOHNSON                               PO BOX 2912                                                                                     SOUTHFIELD      MI    48037‐2912
DARRYL WARREN HUTER & SANDRA K HUTER JT TEN    4805 GOLDENRAIN CT                                                                              INDIANAPOLIS    IN    46237‐2564

DARRYLL M PINGLETON                              327 LANSDOWNE RD                                                                              INDIANAPOLIS    IN    46234‐2510
DARTHA F GILMORE                                 101 WOODCLIFF DR                                                                              JACKSON         MS    39212‐2255
DARTON M KENNY                                   46 BRIDGEHAMPTON AVENUE                                                                       SANDUSKY        MI    48471‐1250
DARVIN A JENNER                                  393 E QUARTERHORSE LN                                                                         CAMP VERDE      AZ    86322‐6862
DARVIN H WILLIAMS                                1449 WEST 123RD ST                                                                            LOS ANGELES     CA    90047‐5314
DARVIN HUDSON & ORVILLE HUDSON JT TEN            1836 SANTA ROSA                                                                               ST CHARLES      MO    63303‐5142
DARVIN R RIEGER                                  3566 HIGHWAY 80                                                                               RAYVILLE        LA    71269‐7067
DARVON L PAPCKE                                  N7137 COUNTY P                                                                                WHITEWATER      WI    53190‐4471
DARWIN A HINDMAN JR                              1223 FRANCES DRIVE                                                                            COLUMBIA        MO    65203‐2317
DARWIN A MORRISON JR                             PO BOX 546                                                                                    ELLSWORTH       ME    04605‐0546
DARWIN A SIMONS                                  5281 GENESEE OAKS CT                                                                          GRAND BLANC     MI    48439‐7646
DARWIN B TRIPLETT                                8437 SOUTH MAY ST                                                                             CHICAGO         IL    60620‐3318
DARWIN C BROENEN                                 1211 SOUTH EADS #106                                                                          ARLINGTON       VA    22202‐2886
DARWIN C HUNT                                    5815 GLOBE                                                                                    WESTLAND        MI    48185‐2250
DARWIN C JAMES                                   16230 GORDON AVE                                                                              FRASER          MI    48026‐3220
DARWIN C RAFFLER                                 R#1 10320 CARLTON CENTER                                                                      WOODLAND        MI    48897‐9710
DARWIN C SEYMOUR                                 321 BELE FIELD AVE                                                                            LAKE PLACID     FL    33852
DARWIN D EVERMAN                                 1501 MAPLEWOOD DR                                                                             SLIDELL         LA    70458‐3135
DARWIN D GROFF                                   679 TAWAS BEACH RD                                                                            EAST TAWAS      MI    48730
DARWIN D HAWKINSON                               4743 W NOSS RD                                                                                BELOIT          WI    53511‐9327
DARWIN D HENGESBACH                              4880 LUNNS STORE RD                                                                           CHAPEL HILL     TN    37034‐2606
DARWIN D STIER                                   507 BARK LANE                                                                                 MIDLAND         MI    48640‐4192
DARWIN D STOUT                                   3848 THUNDERBIRD AVE SW                                                                       GRANDVILLE      MI    49418‐2245
DARWIN D THOMPSON                                3418 TWO MILE ROAD                                                                            BAY CITY        MI    48706‐9222
DARWIN E ALLEN                                   512 HANNA                                                                                     BIRMINGHAM      MI    48009‐1616
DARWIN E DIEHL & CHERIE B DIEHL JT TEN           4433 WINTERGREEN DR                                                                           TROY            MI    48098‐4372
DARWIN E SCHUSTER                                2036 E VIENNA RD                                                                              CLIO            MI    48420‐7912
DARWIN E TUBBS                                   6847 FLOCK ROAD                                                                               BEAVERTON       MI    48612‐8403
DARWIN G DORMIRE                                 8935 95TH AVE                                                                                 EVART           MI    49631‐8486
DARWIN G GOWEN                                   9 BECKER DR                                                                                   ST LOUIS        MO    63135‐1008
DARWIN G GRACEY                                  3510 CUMBER RD                                                                                UBLY            MI    48475‐8750
DARWIN GERVAIS TR ST FRANCIS CHARITABLE TRUST UA 7305 S SERENOA DR                                                                             SARASOTA        FL    34241‐9138
11/10/93
DARWIN GUSTAVSON                                 8382 SW 203RD CT                                                                              DUNNELLON       FL    34431‐5763
DARWIN H BOHON                                   305 ADAIR                                                                                     TERRA ALTA      WV    26764‐1150
DARWIN H SEVERSON                                19320 HICKORY RIDGE                                                                           FENTON          MI    48430‐8529
DARWIN HUDSON                                    10334 BRIAR HOLLOW DR 3                                                                       SAINT LOUIS     MO    63146‐5782
DARWIN J HENNI & MRS WYOTA E HENNI JT TEN        31199 E 151ST AVE                                                                             BRIGHTON        CO    80603
DARWIN K PREVO                                   10218 N SEYMOUR RD                                                                            MONTROSE        MI    48457‐9014
DARWIN K TIELBUR                                 301 N ELDERS                                                                                  GRAETTINGER     IA    51342‐1008
DARWIN L BORROUSCH                               5514 COLUMBIAVILLE ROAD                                                                       COLUMBIAVILLE   MI    48421‐8980
DARWIN L CAMPBELL                                6414 HARTWOOD LDG                                                                             FENTON          MI    48430‐8939
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DARWIN L DELANEY                                987 CENTER RD                                                                                  ESSEXVILLE        MI    48732
DARWIN L EX & AUDREY A EX JT TEN                3302 N IRISH RD                                                                                DAVISON           MI    48423‐9559
DARWIN L HULTGREN                               2041 FRIENDSHIP LN                                                                             CHAPEL HILL       TN    37034‐2501
DARWIN L THOMAS                                 6740 PICKETTS WAY                                                                              LANSING           MI    48917‐9674
DARWIN M BRADY                                  5428 MARSH                                                                                     CHINA             MI    48054‐3914
DARWIN M MCNORTON                               BOX 708                                                                                        PORTLAND          IN    47371‐0708
DARWIN MONDEAU                                  5186 REMINGTON DRIVE                                                                           LAPEER            MI    48446
DARWIN O ELLIOTT                                498 HINTZ RD                                                                                   OWOSSO            MI    48867‐9689
DARWIN S RENNER                                 1326 COUNTY ROAD 650                                                                           TUSCOLA           TX    79562‐3634
DARWIN SATOR                                    114 LOWRY DR                                                                                   WEST MILTON       OH    45383‐1321
DARWIN SKOLNICK                                 5182 RHINE DR                                                                                  FLINT             MI    48507‐2915
DARWIN W BROWN                                  2361 VALLEY VIEW                                                                               TROY              MI    48098‐2403
DARWIN W GROSS                                  8090 DAVID BOX 112                                                                             MONTROSE          MI    48457
DARWYN ADKINS                                   291 DAVIS AVE                                                                                  KEARNY            NJ    07032‐3417
DARY R SPECK                                    PO BOX 9022                                                                                    WARREN            MI    48090‐9022
DARYCK H BROWN                                  34 GREEN MEADOW DR                                                                             TINTON FALLS      NJ    07724‐2768
DARYEL L PECK                                   10129 FRANCIS                                                                                  DEWITT            MI    48820‐9171
DARYL A BROWN                                   26721 BERG RD                         APT 121                                                  SOUTHFIELD        MI    48033‐5305
DARYL A DARLING                                 7166 TERRELL                                                                                   WATERFORD         MI    48329‐1155
DARYL A DUBISKY & WILLARD R BOEHM JT TEN        10859 ALPINE DR                                                                                LAKE              MI    48632‐9746
DARYL A KNIGHT                                  420 W ALLEGAN ST                                                                               OTSEGO            MI    49078‐1014
DARYL A MITTELMAN & ANITA B MITTELMAN JT TEN    115 ARROWWOOD DRIVE                                                                            NORTHBROOK        IL    60062

DARYL A SCHOMAKER                               3600 S AIRPORT RD                                                                              BRIDGEPORT        MI    48722‐9558
DARYL A THOMPSON                                928 W WASHINGTON ST                                                                            NEW CASTLE        PA    16101‐1940
DARYL A TINDALE                                 17303 RUNYON                                                                                   DETROIT           MI    48234‐3820
DARYL A YOUNG                                   5959 SKYFARM DR                                                                                CASTRO VALLEY     CA    94552‐1636
DARYL ANN BANCKS                                26 GRAMERCY RD                                                                                 OLD BRIDGE        NJ    08857
DARYL C STANBOROUGH                             132 AUTUMN TERRACE                                                                             LAKE PLACID       FL    33852
DARYL D DEGRAFFENREID                           R R 2 550 W 80 S                                                                               RUSSIAVILLE       IN    46979‐9802
DARYL DANYLAK                                   2271 WEST CREEK                                                                                NEWFANE           NY    14108‐9747
DARYL DENKMANN                                  9 OLDE WARWICK CT                                                                              ST CHARLES        MO    63304‐6984
DARYL E BOOZER                                  13431 VASSAR                                                                                   DETROIT           MI    48235‐1265
DARYL E CASE                                    4105 WOODCROFT                                                                                 WHITE LAKE        MI    48383‐1780
DARYL E CLEMENT                                 1046 ALHI                                                                                      WATERFORD         MI    48328‐1500
DARYL E CRAWFORD                                6911 N WISE RD                                                                                 COLUMBIA CITY     IN    46725‐8114
DARYL E DAVIS                                   24070 COOLIDGE HW                                                                              OAK PARK          MI    48237‐1655
DARYL E FULLEN                                  7716 KENNETH CT                                                                                BROWNSBURG        IN    46112‐8404
DARYL E FULLEN & CAROLYN S FULLEN JT TEN        7716 KENNETH COURT                                                                             BROWNSBURG        IN    46112‐8404
DARYL E LEIS                                    3611 SWISHER MILL RD                                                                           LEWISBURG         OH    45338‐9562
DARYL E MCELWAIN                                405 N HAVANA ST                                                                                BUTLER            MO    64730‐1531
DARYL E SHOCKEY                                 4276 RIVER RIDGE RD                                                                            DAYTON            OH    45415‐1647
DARYL F CRIST                                   161 NEIL ST                                                                                    SARANAC LAKE      NY    12983‐1565
DARYL F DEDWYLDER                               PO BOX 346                                                                                     QUITMAN           MS    39355‐0346
DARYL F MOYER                                   672 DEVONSHIRE WAY                                                                             THE VILLAGES      FL    32162‐1109
DARYL F RODABAUGH                               4850 SWAFFER RD                                                                                MILLINGTON        MI    48746‐9115
DARYL F THREADGILL                              61932 CAMEL BAY DR                                                                             STURGIS           MI    49091‐9385
DARYL FOX                                       13311 DONNELLY AVENUE                                                                          GRANDVIEW         MO    64030‐3544
DARYL GRAHAM                                    550 OKLAHOMA AVENUE NE                                                                         WASHINGTON        DC    20002‐4814
DARYL H COLWELL                                 1320 GORDON TE                                                                                 DEERFIELD         IL    60015‐4737
DARYL HUTER CUST ERIK HUTER UTMA KS             2101 SUMMERSET ST                                                                              DERBY             KS    67037‐7901
DARYL J CHIMKO CUST KATHLEEN M CHIMKO UGMA MI   1613 SCENIC HOLLOW                                                                             ROCHESTER HILLS   MI    48306‐3249

DARYL J DARAK                                   1306 KENZIE DRIVE                                                                              PITTSBURGH        PA    15205‐9783
DARYL J MARSHALL                                PO BOX 56                                                                                      WAMPSVILLE        NY    13163‐0056
DARYL J NAES                                    APT G                                 9016 VILLARIDGE                                          ST LOUIS          MO    63123‐7424
DARYL J ROCK                                    232 MAPLE DR                                                                                   EAST TAWAS        MI    48730‐9752
DARYL J RODDEWIG                                8941 N CALLE LOMA LINDA                                                                        TUCSON            AZ    85737‐3543
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DARYL J WENNEMANN & JAMES F WENNEMANN JT TEN 526 SARAH LANE UNIT 18                                                                                                    ST LOUIS        MO    63141‐6944

DARYL JONES                                    3 PERSHING CIRCLE                                                                                                       OFALLON         MO    63366‐3819
DARYL JUSTIN HOLLINGER                         3955 BIGELOW BLVD #212                                                                                                  PITTSBURGH      PA    15213
DARYL L BANAZWSKI                              11080 FURNESS PKWY                                                                                                      MEDINA          NY    14103‐9545
DARYL L CHAMPAGNE                              45878 RIVIERA DRIVE                                                                                                     NORTHVILLE      MI    48167‐8485
DARYL L CHAPIN                                 16177 MEREDITH CT                                                                                                       LINDEN          MI    48451‐9095
DARYL L COLBERT                                1132 WEST PATTERSON                                                                                                     KALAMAZOO       MI    49007‐1765
DARYL L DEVEREAUX                              5333 FERGUS RD                                                                                                          ST CHARLES      MI    48655‐9695
DARYL L DITMYER                                9476 FERRY RD                                                                                                           WAYNESVILLE     OH    45068‐9074
DARYL L DYMOND                                 6124 BALFOUR DR                                                                                                         LANSING         MI    48911‐5436
DARYL L GIBSON                                 4624 KAYTLAIN AVENUE                                                                                                    BAKERSFIELD     CA    93313
DARYL L GRUNSTRA                               9615 KLINE DRIVE                                                                                                        LA PLATA        MD    20646‐3716
DARYL L HECK & SANDY W HECK JT TEN             119 MICHELSON RD                                                                                                        ROCHESTER HLS   MI    48307‐5333
DARYL L JOHNSON                                5835 HELENWOOD DR                                                                                                       DAYTON          OH    45431‐2961
DARYL L JOHNSON                                22433 GLENDALE                                                                                                          DETROIT         MI    48223‐3109
DARYL L MCGILL                                 1423 AZTEC AVE                                                                                                          INDEPENDENCE    MO    64056‐1223
DARYL L NOVOTONY                               204 N CEDAR                                                                                                             STOCKTON        KS    67669‐1638
DARYL L SHANK                                  3076 LINCOLNVIEW                                                                                                        AUBURN HILLS    MI    48326‐3239
DARYL L TOWNSEND                               2187 SOUTH ELECTRIC                                                                                                     DETROIT         MI    48217‐1121
DARYL L WAITS                                  2100 N HOLLOWTOWN RD                                                                                                    LYNCHBURG       OH    45142‐9696
DARYL L WOODWARD                               PO BOX 345                                                                                                              NORTH WEBSTER   IN    46555‐0345
DARYL LECROY CUST RACHAEL A LECROY UTMA CO     4609 WIEUCA RD                                                                                                          ATLANTA         GA    30342‐3307

DARYL LYN ROTH                                 888 7TH AVE #8TH FL                                                                                                     NEW YORK        NY    10106‐0001
DARYL M MICHAEL                                11825 MILE RD                                                                                                           NEW LEBANON     OH    45345‐9143
DARYL M MORRIS & WENDY C MORRIS JT TEN         3817 N SHERWOOD DR                                                                                                      PROVO           UT    84604‐5399
DARYL M PORTMAN                                1180 S EATON CIR                      APT 3C                                                                            CASTLE ROCK     CO    80104‐2385
DARYL MEAKIN                                   WOODSTOCK LE BAUGY ESTATE             JERBOURGE                      GUERNSEY CHANNEL ISLANDS   GY4 6BE GREAT BRITAIN
DARYL PIERCE                                   PSC 473 BOX 14                                                                                                          FPO             AP    96349
DARYL R COHEN                                  4377 KIRKWOOD HWY                                                                                                       WILMINGTON      DE    19808‐5113
DARYL R WEBSTER                                4801 BILL SIMMONS RD                                                                                                    COLLEYVILLE     TX    76034
DARYL R WIEDMANN                               7249 MUNGER ROAD                                                                                                        YPSILANTI       MI    48197‐9322
DARYL RONALD BAUMAN                            21512 DICKINSON                                                                                                         NEW BOSTON      MI    48164‐9100
DARYL S BROWN                                  20 W PLUM ST                                                                                                            TIPP CITY       OH    45371‐1811
DARYL S SITAR                                  10233 OTTER DR                                                                                                          SOUTH LYON      MI    48178‐8868
DARYL V GOTTSCHALK                             529 PARK AVE                                                                                                            HOWELL          MI    48843
DARYL W FREEMAN                                48820 WOODHAM CT                                                                                                        CANTON          MI    48187‐1242
DARYL W HEBERT                                 15738 CHICKAMAUGA AVE                                                                                                   BATON ROUGE     LA    70817‐3107
DARYL W STEWART                                HC 80 BOX 88                                                                                                            MAYSVILLE       WV    26833‐9704
DARYL W SWINDLEHURST                           5360 BALDWIN RD                                                                                                         OXFORD          MI    48371‐1000
DARYL WELCH                                    525 CASLER AVE                                                                                                          CLEARWATER      FL    33755
DARYLE B HORNBERGER                            205 NEIL ST                                                                                                             NILES           OH    44446‐1750
DARYLL A JONES                                 398 MINNESOTA AVE                                                                                                       BUFFALO         NY    14215‐1032
DARYLL ABNER                                   BOX 1059                              HATTON CREEK DR                                                                   STANTON         KY    40380‐1059
DARYLN J REDD & REGINALD E REDD JT TEN         11306 HAZELDELL ROAD                                                                                                    CLEVELAND       OH    44108‐1518
DASHURI G ALIKO                                2115 WOODHEAD ST                                                                                                        HOUSTON         TX    77019
DAT M NGUYEN                                   13480 WENTWORTH LN                    UNIT 125C                                                                         SEAL BEACH      CA    90740‐4651
DAT V TRAN                                     701 N WALNUT ST                                                                                                         LANSING         MI    48906‐5108
DATHAN M BOOTH                                 500 KINGS HWY                                                                                                           SALEM           NJ    08079‐4210
DAUID H FISCHER                                3722 EAST GRAND RIVER AVENUE                                                                                            PORTLAND        MI    48875‐8612
DAUN M MULLER                                  8914 LAMONT ST                                                                                                          LIVONIA         MI    48150‐5427
DAVA L SULEMAN                                 ATTN DAVA L HIRSCH                    1800 NORTH DUCK CREEK ROAD                                                        NORTH JACKSON   OH    44451‐9613
DAVAL Q EUBANKS                                5028 SINGING HILLS DRIVE                                                                                                ANTIOCH         TN    37013‐5647
DAVE A SCHENKER                                622 POWERS AVE                                                                                                          GIRARD          OH    44420‐2348
DAVE A SILVERIA                                1648 ORCHARD WAY                                                                                                        PLEASANTON      CA    94566‐5516
DAVE A ZICKGRAF                                238 MCCALL ROAD                                                                                                         GERMANTOWN      OH    45327‐8311
DAVE ALMEIDA                                   PO BOX 557 BELCONNEN                  AUSTRALIAN CAPITAL TERRITORY                              2616 AUSTRALIA
DAVE ANDERSON                                  30 GLADSTONE SQUARE                   BRAMPTON ON                                               L6S 2H5 CANADA
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DAVE B CLERMONT                                 22208 EVERGREEN                                                                               ST CLAIR SHORES   MI    48082‐1941
DAVE BEANES CUST WILLIAM COVEY UTMA CA          100 UNIVERSAL CITY PLAZA                                                                      UNIVERSAL CITY    CA    91608‐1002
DAVE BOYD JR                                    2772 WINTEGREEN                                                                               FLORISSANT        MO    63033‐1131
DAVE BRADY                                      1364 HOLLOWAY DRIVE                  PETERBOROUGH ON                        K9J 6G2 CANADA
DAVE BRASSINE                                   6604 THORNTREE DR                                                                             MC KINNEY         TX    75070‐8744
DAVE BRIM                                       10515 SO THROOP                                                                               CHICAGO           IL    60643‐3072
DAVE C FARNSWORTH & MRS BONNIE H FARNSWORTH     1900 HAWAII AVE NE                                                                            ST PETERSBURG     FL    33703‐3418
JT TEN
DAVE C SINGH                                    201 BURNS FARMS BLVD N                                                                        EDWARDSVILLE      IL    62025
DAVE D HOLLIS                                   PO BOX 29596                                                                                  SHREVEPORT        LA    71149‐9596
DAVE DALAL SMITH                                7880 WEAVER                                                                                   BEAUMONT          TX    77706
DAVE DESJARDINS                                 185 MAIN STREET                                                                               SAINT AGATHA      ME    04772‐6144
DAVE E BAKER                                    27 FERNCLIFFE DR                                                                              ROCHESTER         NY    14621‐4205
DAVE E DUPREE                                   21425 WARDHAM AVE                                                                             LAKEWOOD          CA    90715‐2331
DAVE E KALINGER & HELEN F KALINGER JT TEN       601 SUNSET BLVD                      # 316                                                    ARCADIA           CA    91007‐6319
DAVE ESCH                                       168 TUSCANY RAVINE VIEW NW           CALGARY AB                             T3L 2W2 CANADA
DAVE G LAMPLEY                                  081 NORTH 600 WEST                                                                            ANDERSON          IN    46011‐8744
DAVE GREENFIELD                                 C/O REEDER HEATING                   4621 W 63RD STREET                                       CHICAGO           IL    60629‐5504
DAVE H MATAYOSHI                                3985 ALBRIGHT AVE                                                                             LOS ANGELES       CA    90066‐5001
DAVE HARAF CUST MEGAN C HARAF UGMA MI           4123 HERRINGTON RD N                                                                          WEBBERVILLE       MI    48892‐9524
DAVE HENRY YOUNG JR                             2981 DELORES ST                                                                               SAGINAW           MI    48601‐6132
DAVE HILDEBRAND                                 C/O CARDINAL HEATING                 415 S ATLANTIC AVE                                       PITTSBURGH        PA    15224‐2312
DAVE IVY JR                                     12504 REVERE AVE                                                                              CLEVELAND         OH    44105‐2954
DAVE J SOWA                                     6055 KINMORE                         DEARBORN HGTS                                            DEARBORN HTS      MI    48127
DAVE KRANGLE                                    16 NEW ST                                                                                     PURCHASE          NY    10577‐2202
DAVE KUNZMAN CUST LOGAN KUNZMAN UTMA IA         232 27TH ST SW                                                                                MASON CITY        IA    50401

DAVE L BOTKA & JEAN C BOTKA JT TEN              27 WALTER DR                                                                                  SARATOGA SPGS     NY    12866‐9233
DAVE L FISHER                                   116 SHETLAND LANE                                                                             WARRENTON         MO    63383‐7608
DAVE L LAURITZEN                                876 AMBER VIEW DR                                                                             BYRON CENTER      MI    49315‐8459
DAVE L MALLETT                                  1512 S KOMENSKY ST                                                                            CHICAGO           IL    60623‐1948
DAVE L SOUZA                                    38565 OLIVER WAY                                                                              FREMONT           CA    94536‐4427
DAVE M CENTERS                                  RR 2 BOX 502                                                                                  BRANCHLAND        WV    25506‐9756
DAVE MCCALLEN & JUNE R MCCALLEN JT TEN          21175 CR 1291                                                                                 FLINT             TX    75762‐9217
DAVE MITCHELL DAVIS CUST MARY CAROLINE DAVIS    4733 COUNTRYSIDE DR                                                                           FLOWERY BRANCH    GA    30542‐3675

DAVE N CURTIS CUST TANNER OWEN CURTIS UTMA CA   309 ALVISO WAY                                                                                DANVILLE          CA    94526‐5426

DAVE O PATE                                     9535 W BEARD RD                                                                               LANSING           MI    48848‐9318
DAVE P PASICHNYK                                1040 E GENEVA DR                                                                              DEWITT            MI    48820‐9569
DAVE POTTER                                     6723 KENNON CT                                                                                FORT WAYNE        IN    46835‐2665
DAVE R BROWN                                    6202 E 103RD ST                                                                               KANSAS CITY       MO    64134‐1445
DAVE R RILEY                                    622 E 9TH ST                                                                                  NEWPORT           KY    41071‐2257
DAVE R WALBURN                                  9659 HEDGESVILLE RD                                                                           HEDGESVILLE       WV    25427‐6027
DAVE RAMSDEN                                    1937 BRISTOL PIKE                    TRLR 10                                                  MORRISVILLE       PA    19067‐6508
DAVE RANDALL                                    5321 W 77TH ST                                                                                PRAIRIE VILLAGE   KS    66208‐4722
DAVE RESSLER                                    7406 B SHEDHORN                                                                               BOZEMAN           MT    59718‐8172
DAVE ROGOWSKI                                   6742 DAIRY AVE                                                                                NEWARK            CA    94560‐2906
DAVE ROGOWSKI & SUZANNE M ROGOWSKI JT TEN       6742 DAIRY AVE                                                                                NEWARK            CA    94560‐2906

DAVE RUTKOSKI                                   PO BOX 8551                                                                                   LA VERNE          CA    91750‐8551
DAVE S HOOPS                                    6067 E FRANCES RD                                                                             MONT MORRIS       MI    48458‐9754
DAVE S REMIAS                                   248 ELMHURST CIRCLE                                                                           CRANBERRY TWP     PA    16066‐2820
DAVE STEWART                                    7050 CAMP ST                                                                                  NEW ORLEANS       LA    70118‐4808
DAVE T HEMMINGER                                90 HOLLOWAY RD                                                                                MC DONOUGH        GA    30253‐4209
DAVE TRIPP                                      960 E TIENKEN                                                                                 ROCHESTER HILLS   MI    48306
DAVE V MORANTES                                 1728 LEXINGTON                                                                                MILFORD           MI    48380‐3112
DAVE W FLEMING                                  4808 TENKILLER PL                                                                             OKLAHOMA CITY     OK    73165‐7353
DAVE W KAUBLE                                   2342 S 300 EAST                                                                               KOKOMO            IN    46902‐4243
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DAVE W THELEN                                     8630 HOWE RD                                                                                   EAGLE            MI    48822‐9792
DAVE WARE                                         118 W LORADO AVE                                                                               FLINT            MI    48505‐2014
DAVEDA SCHUSTER                                   5 REVERE DR                           STE 350                                                  NORTHBROOK       IL    60062‐1569
DAVEE BASH                                        3553 GLENCAIRN                                                                                 SHAKER HTS       OH    44122‐5028
DAVELYN MORELAND & SHAWN MORELAND JT TEN          708 FORREST COVE COURT                                                                         CLARKSVILLE      TN    37040‐5984

DAVENPORT FAMILY FARMS INC                        10 KENYON CRT                                                                                  BLOOMINGTON      IL    61701‐3320
DAVEY E MARKLEY & ELIZABETH M MARKLEY JT TEN      9105 MORRAINE                                                                                  DYER             IN    46311‐2917

DAVEY F CROWTHER & SUSAN F CROWTHER JT TEN        27 WORTHINGTON DRIVE                                                                           FARMINGTON       CT    06032‐1427

DAVEY G GUTHRIE                                   382 E DEXTER TRAIL                                                                             MASON            MI    48854‐9630
DAVEY G WHITMILL                                  2131 SE CARNATION                                                                              PORT ST LUCIE    FL    34952‐4924
DAVEY L BROOKS                                    4025 HAZELWOOD                                                                                 DETROIT          MI    48204‐2409
DAVEY REYES                                       98 MORT VINING RD                                                                              SOUTHWICK        MA    01077‐9410
DAVI SCHILL                                       118 CANFIELD AVE                      APT C                                                    SANTA CRUZ       CA    95060‐5138
DAVID A ABRAMS                                    PO BOX 422                                                                                     KANAB            UT    84741‐0422
DAVID A ACAMPORA                                  105 RICHARDS AVE UNIT 1203                                                                     NORWALK          CT    06854‐1673
DAVID A ACKLEY                                    1423 DYE MEADOW LN                                                                             FLINT            MI    48532‐2324
DAVID A AGUILAR                                   ATTN G E DEL CARIBE                   CARR 2 #3005         MARAGUEZ          PUERTO RICO
DAVID A ALBARRAN                                  1604 TREE TRUNK LANE                                                                           CHAPEL HILL      TN    37034‐2064
DAVID A ALBRECHT                                  2270 REIDSVIEW E                                                                               WHITE LAKE       MI    48383‐3937
DAVID A ALLEMON JR & VIOLA ALLEMON JT TEN         10905 MILFORD RD                                                                               HOLLY            MI    48442‐8904
DAVID A AMICANGELO                                7514 PINEAPPLE LN                                                                              PORT RICHEY      FL    34668‐4029
DAVID A ANDERSON                                  1625 CONNOR DR                                                                                 SOUTH PARK       PA    15129‐9036
DAVID A ANDERSON                                  4023 S CEDAR LAKE ROAD                                                                         SHERIDAN         MI    48884‐9748
DAVID A ANISANSEL                                 400 BROKEN RIDGE TRL                                                                           WEST END         NC    27376‐8774
DAVID A ARLEN & SUSAN J ARLEN JT TEN              PO BOX 1190                                                                                    POWDER SPRINGS   GA    30127‐7190

DAVID A BACON                                     2654 TIFT WAY                                                                                  KENNESAW         GA    30152‐6001
DAVID A BAILEY                                    2036 BLUFF ST                                                                                  EAST LIVERPOOL   OH    43920‐2037
DAVID A BAKER                                     R 8 BX 298 ST R314                                                                             LEXINGTON        OH    44904‐9808
DAVID A BATES                                     18512 LYNTON ROAD                                                                              SHAKER HEIGHTS   OH    44122‐3426
DAVID A BATHGATE                                  11 WENTWORTH COURT                                                                             TROPHY CLUB      TX    76262‐5467
DAVID A BAXTER & ANNE M BAXTER JT TEN             3994 CAMPINITO PATRICIA                                                                        SAN DIEGO        CA    92111‐3040
DAVID A BEAUREGARD                                PO BOX 935                                                                                     WENTZVILLE       MO    63385‐0935
DAVID A BELL JR                                   3434 TOD AVE NW                                                                                WARREN           OH    44485‐1361
DAVID A BENNETT                                   2471 VELTEMA DRIVE                                                                             HOLT             MI    48842‐9740
DAVID A BERES                                     R R #1                                MCGREGOR ON                            N0R 1J0 CANADA
DAVID A BERGH                                     19175 ELDRIDGE LANE                                                                            SOUTHFIELD       MI    48076‐1002
DAVID A BERTELSEN & MRS RHEA M BERTELSEN JT TEN   4356 CAHILL                                                                                    TROY             MI    48098‐4484

DAVID A BIEBERICH                                 3834 FINCHLEY CT                                                                               FORT WAYNE       IN    46815‐5356
DAVID A BILGER & BERNADETTE J BILGER JT TEN       313 E CHOWNINGS CT                                                                             FRANKLIN         TN    37064‐3212
DAVID A BILKO                                     1065 COLONY DR                                                                                 HIGHLAND HGTS    OH    44143‐3121
DAVID A BOLCHALK                                  137 ELMWOOD DRIVE                                                                              HUBBARD          OH    44425‐1604
DAVID A BOLTON                                    5674 HINMAN RD                                                                                 LOCKPORT         NY    14094‐9275
DAVID A BOND                                      PO BOX 334                                                                                     WASHINGTON       MI    48094‐0334
DAVID A BONTA                                     PO BOX 11193                                                                                   POMPANO BEACH    FL    33061‐7193
DAVID A BOSCARINO                                 4 OSTROM AVE                                                                                   ROCHESTER        NY    14606‐3338
DAVID A BOUFFARD                                  6103 INNES TRACE RD                                                                            LOUISVILLE       KY    40222‐6006
DAVID A BOWEN                                     11136 W COLDWATER RD                                                                           FLUSHING         MI    48433‐9748
DAVID A BOWEN                                     13422 JENNIFER DRIVE                                                                           PERRY            MI    48872
DAVID A BRACEY                                    16219 OHIO                                                                                     DETROIT          MI    48221‐2953
DAVID A BRADLEY                                   PO BOX 147                                                                                     ROMNEY           IN    47981‐0147
DAVID A BRATT                                     110 BRADDINGTON COURT                                                                          DELAWARE         OH    43015‐7000
DAVID A BRATTON                                   2050 UPLAND DR                                                                                 FRANKLIN         TN    37067‐5037
DAVID A BRECKER                                   4518 MAGNOLIA                                                                                  WYOMING          MI    49548‐4102
DAVID A BRIGGS                                    4391 WEATHERBY LN                                                                              TRAVERSE CITY    MI    49684‐9628
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DAVID A BROOKS                                  5311 HOMELAND                                                                                 TOLEDO            OH    43611‐1529
DAVID A BROWER                                  128 SAKONNET RIDGE DRIVE                                                                      TIVERTON          RI    02878‐4459
DAVID A BROWN                                   13395 WOLF RD                                                                                 DEFIANCE          OH    43512‐8973
DAVID A BROWN                                   681 PARKWOOD RD                      # 165                                                    MANSFIELD         OH    44905‐2221
DAVID A BRUMBAUGH                               8060 PITTSBURG LAURA RD                                                                       ARCANUM           OH    45304‐9494
DAVID A BRUNS                                   3116 SOUTHERN BLVD                                                                            KETTERING         OH    45409‐1442
DAVID A BRYAN JR                                5064 ROTTERDAM                                                                                HOLT              MI    48842‐9561
DAVID A BURROLA                                 607 NORTH AVENUE C                                                                            BURKBURNETT       TX    76354
DAVID A BUTTERFIELD                             41 ROLLING RIDGE                                                                              AMHERST           MA    01002‐1420
DAVID A BUTTS                                   216 PROSPECT                                                                                  BASSAR            MI    48768‐1612
DAVID A CALVERT                                 359                                  161 COUNTY RD                                            CRANE HILL        AL    35053‐3019
DAVID A CALVERT                                 4708W 850N                                                                                    MIDDLETOWN        IN    47356
DAVID A CAMARDESE                               6465 LAKESHORE DR                                                                             WEST BLOOMFIELD   MI    48323‐1426

DAVID A CAMERON                                 2505 HAMILL RD                                                                                HIXSON            TN    37343‐4036
DAVID A CAMPBELL                                228 EAST ST                                                                                   PORTLAND          MI    48875‐1525
DAVID A CAPOBIANCO & LOLA V CAPOBIANCO JT TEN   UNIT G‐3                             11 THOMAS ST                                             SAUGUS            MA    01906‐3289

DAVID A CAPPER & KAREN L CAPPER JT TEN          1238 GOLDENROD DR                                                                             IOWA CITY         IA    52246‐8629
DAVID A CARMAN                                  29133 GERKEN RD                                                                               DEFIANCE          OH    43512
DAVID A CERVANTES                               5675 HANLEY AVE                                                                               WATERFORD         MI    48327‐2565
DAVID A CHARCHAN                                5484 KATHY DRIVE                                                                              FLINT             MI    48506‐1550
DAVID A CHARCHAN & JANICE K CHARCHAN JT TEN     5484 KATHY DRIVE                                                                              FLINT             MI    48506‐1550

DAVID A CHEN                                    1493 AMBERWOOD DR S                                                                           ANNAPOLIS         MD    21409‐5413
DAVID A CHEVELA                                 31337 CYRIL                                                                                   FRASER            MI    48026‐2602
DAVID A CIFONE                                  PO BOX 923                                                                                    HEREFORD          AZ    85615‐0923
DAVID A CLAY                                    23041 GILBAR DR                                                                               NOVI              MI    48375‐4254
DAVID A COHEN                                   80 WALNUT ST                         APT 310                                                  CANTON            MA    02021‐3156
DAVID A COLEMAN & KATHY J COLEMAN TR COLEMAN    3848 CASTLE RD                                                                                FOSTORIA          MI    48435‐9763
FAMILY TRUST UA 02/19/93
DAVID A COLLINS                                 17925 KIRKSHIRE                                                                               BEVERLY HILLS     MI    48025‐3142
DAVID A COON                                    9416 CHIDSEY RD                                                                               NUNDA             NY    14517‐9625
DAVID A COPP                                    1015 E MERIDIAN ST                                                                            SHARPSVILLE       IN    46068‐9294
DAVID A COPP & DEBRA L COPP JT TEN              1015 E MERIDIAN                                                                               SHARPSVILLE       IN    46068‐9294
DAVID A COVINGTON                               119 S WILLOW AVE                                                                              SUGAR CREEK       MO    64053‐1448
DAVID A COX                                     9118 LARSEN DR                                                                                OVERLAND PARK     KS    66214‐2123
DAVID A COX & LARRY D COX JT TEN                327 ESSEX AVE                                                                                 BALTIMORE         MD    21221‐4711
DAVID A CREECH                                  921 VERMONT ST                                                                                SMITHFIELD        NC    27577‐3725
DAVID A CREMI                                   8 YORK WAY                                                                                    HOCKESSIN         DE    19707‐1346
DAVID A CROWL                                   6352 HERON PKWY                                                                               CLARKSTON         MI    48346‐4802
DAVID A CROWNER                                 6472 LAWRENCE HIGHWAY                                                                         CHARLOTTE         MI    48813‐9553
DAVID A CRUM                                    11633 FAIRFAX COMMONS DR                                                                      FAIRFAX           VA    22030‐8523
DAVID A CUNNINGHAM                              132 EAST DRIVE                                                                                CENTERVILLE       OH    45458‐2415
DAVID A DALY & MARGARET M DALY JT TEN           1345 KING GEORGE BLVD                                                                         ANN ARBOR         MI    48108‐3214
DAVID A DAMEROW                                 2594 RAMBLIN DR                                                                               BATTLE CREEK      MI    49014
DAVID A DARE                                    1612 EASTWOOD AVE                                                                             JANESVILLE        WI    53545‐2632
DAVID A DARR                                    412 NW 66TH TER                      APT 7                                                    KANSAS CITY       MO    64118‐3232
DAVID A DAVERT                                  684 HIGHVILLE                                                                                 LAKE ORION        MI    48362‐2639
DAVID A DEBNAR                                  1820 GORDON ST                                                                                LANSING           MI    48910‐2428
DAVID A DEGROOT                                 16129TH ST                                                                                    SAN FRANCISCO     CA    94110
DAVID A DERUVO & FRANCES M DERUVO JT TEN        46 SHORE DR BOX 871                                                                           DENNIS            MA    02638‐1146
DAVID A DESCUTNER                               PO BOX 132                                                                                    HICKORY           PA    15340‐0132
DAVID A DEVOE                                   9256 GRAYTRAX RD                                                                              GRAND BLANC       MI    48439‐8004
DAVID A DIAS                                    821 YANKEE RUN RD                                                                             MASURY            OH    44438‐8722
DAVID A DILL                                    10845 GARFIELD RD                                                                             FREELAND          MI    48623‐9734
DAVID A DIMLER & MARY LOU DIMLER TEN ENT        1572 STONE CHAPEL ROAD                                                                        NEW WINDSOR       MD    21776‐8814
DAVID A DINKINS & CINDI L DINKINS JT TEN        33522 OAK POINT CIR                                                                           FARMINGTN HLS     MI    48331‐2704
DAVID A DISHAW                                  8090 CRESTON DR                                                                               FREELAND          MI    48623‐8731
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DAVID A DIXON                                      PO BOX 48                                                                                       HEATERS            WV    26627‐0048
DAVID A DODGE                                      207 SOUTH ST                                                                                    UNION CITY         MI    49094‐9351
DAVID A DONNAN TR DONNAN FAMILY TRUST UA           15 BRIGDEN LN                                                                                   PITTSFORD          NY    14534‐3821
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DAVID A DROWNE                                     45 WILLIAMS ST                                                                                  REHOBOTH           MA    02769‐2607
DAVID A DROWNE & BONNIE DROWNE JT TEN              45 WILLIAMS ST                                                                                  REHOBOTH           MA    02769‐2607
DAVID A DRUMHELLER                                 509 EMERSON AVENUE                                                                              READING            PA    19605‐2511
DAVID A DRUMMOND                                   4812 N TERRITORIAL E                                                                            ANN ARBOR          MI    48105‐9322
DAVID A DRUMMOND & OLGA DRUMMOND JT TEN            4812 N TERRITORIAL E                                                                            ANN ARBOR          MI    48105‐9322

DAVID A DURANTI & PAMELA DURANTI JT TEN            ROUTE 2 1941 RED CEDAR DR                                                                       JANESVILLE         WI    53545‐9076
DAVID A DYE                                        548 50 TH STREET                                                                                SANDUSKY           OH    44870‐4926
DAVID A DYKAL                                      17906 FALL DR                                                                                   INDEPENDENCE       MO    64055‐6901
DAVID A E WOOD                                     15143 VANTAGE HILLROAD                                                                          SILVER SPRING      MD    20906‐1536
DAVID A EADS & NANCY E EADS JT TEN                 RT 1 BOX 90                                                                                     W COLUMBIA         WV    25827
DAVID A EDMONDS CUST ANNE MARIE EDMONDS            706 SOUTH COURT ST                                                                              MEDINA             OH    44256‐2802
UGMA OH
DAVID A EDMONDS CUST BRIAN J EDMONDS UGMA OH       706 SOUTH COURT STREET                                                                          MEDINA             OH    44256‐2802

DAVID A ELLINGER & SANDRA S ELLINGER JT TEN        1154 N RIVER RD                                                                                 GRANVILLE          PA    17029‐9720
DAVID A ELLISTON                                   28262 NORWOOD                                                                                   WARREN             MI    48092‐5626
DAVID A EMIL                                       67 RIVERSIDE DRIVE                                                                              NEW YORK           NY    10024‐6135
DAVID A ENGEL                                      5825 FIFTH AVENUE                                                                               PITTSBURGH         PA    15232‐2749
DAVID A ENGLAND                                    1035 SEVILLE RD                                                                                 ROCHESTER HILLS    MI    48309‐3026
DAVID A ENGLISH                                    67 BROWNELL RD                                                                                  CAMBRIDGE          NY    12816
DAVID A ERICKSON & MRS CATHRYN LEE ERICKSON JT     403 BON AVENTURE ROAD                                                                           SAINT SIMONS       GA    31522‐1758
TEN                                                                                                                                                ISLAN
DAVID A EVANS                                      18944 ST MARY                                                                                   DETROIT            MI    48235‐2948
DAVID A EVERETT                                    6109 GLEN IRIS RD                                                                               CASTILE            NY    14427‐9711
DAVID A EVERHART                                   5378 E ALWARD ROAD                                                                              LAINGSBURG         MI    48848‐9425
DAVID A EVERS                                      12900 MAPLE LEAF DR                                                                             GARFIELD HEIGHTS   OH    44125‐4033

DAVID A EVERTS                                     4166 LITCHFIELD DR                                                                              DORR               MI    49323‐9405
DAVID A FABY & SUZZETT FABY JT TEN                 3702 DENTON COURT                                                                               ABINGDON           MD    21009‐2055
DAVID A FEIGHAN & PATRICIA A FEIGHAN JT TEN        6173 ROBIN HILL                                                                                 WASHINGTON         MI    48094‐2189
DAVID A FERWERDA                                   5909 E BUSS RD                                                                                  CLINTON            WI    53525‐8809
DAVID A FIELD TR DAVID A FIELD LIVING TRUST UA     1732 NORFOLK                                                                                    BIRMINGHAM         MI    48009‐3070
06/17/97
DAVID A FOLK                                       1728 PLANTERS WAY                                                                               BOWLING GREEN      KY    42104‐4456
DAVID A FOLKERT                                    6600 SE DAKOTA TRL                                                                              SAINT JOSEPH       MO    64507‐5247
DAVID A FOSTER                                     5605 DEBRA DRIVE                                                                                CASTALIA           OH    44824‐9721
DAVID A FOSTER & SANDRA J FOSTER JT TEN            5605 DEBRA DRIVE                                                                                CASTALIA           OH    44824‐9721
DAVID A FRANK                                      1181 S ADAMS RD                                                                                 ROCHESTER          MI    48309‐2804
DAVID A FREEMAN                                    3857 KOSSUTH RD                                                                                 LAKE ORION         MI    48360‐2510
DAVID A FULTON                                     4517 GOLFVIEW DR                                                                                ANDERSON           IN    46011‐1601
DAVID A FUNK                                       2400 CENTER ST EXTN                                                                             WHITE OAK          PA    15131‐3004
DAVID A GARVER                                     6239 SENECA DR                                                                                  SHARPSVILLE        PA    16150‐9668
DAVID A GEBBIE                                     9414 MACHADO DR                                                                                 INDIAN TRAIL       NC    28079‐7717
DAVID A GIBLER                                     1327 N BALDWIN ST                                                                               PORTLAND           OR    97217‐5503
DAVID A GILMORE & BETH E GILMORE JT TEN            9233 SUNSET LAKE DR                                                                             SALINE             MI    48176‐9460
DAVID A GLEMMING & KAREN L GLEMMING JT TEN         3630 PORTAGE POINT BLVD                                                                         AKRON              OH    44319‐2219

DAVID A GLIBBERY                                   7724 SEVILLA RD                                                                                 POWELL             TN    37849‐3445
DAVID A GOIN                                       1016 CHICAGO AVE                                                                                OAK PARK           IL    60302
DAVID A GOLDTHWAIT                                 2181 AMBLESIDE DR                                                                               CLEVELAND          OH    44106‐4645
DAVID A GOSS                                       5058 W STANLEY RD                                                                               MT MORRIS          MI    48458‐9427
DAVID A GRAHAM                                     1312 N BITTERSWEET LN                                                                           MUNCIE             IN    47304‐2967
DAVID A GRANT                                      5860 BAKER DR                                                                                   THE COLONY         TX    75056‐4447
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DAVID A GREENE TR CLAUDE GREENE TRUST UA       2211 SE 2ND PL                                                                                           RENTON         WA    98056‐8866
08/15/03
DAVID A GREGG                                  506 BRADFORD PKWY                                                                                        SYRACUSE       NY    13224‐1804
DAVID A GREGORY                                BOX 3044                                                                                                 LA CROSSE      WI    54602‐3044
DAVID A GRENAWALT                              12448 W BEL‐NEW RD                                                                                       BELOIT         WI    53511
DAVID A GRONER                                 414 ZACHARY DR                                                                                           VACAVILLE      CA    95687‐7841
DAVID A GUDOVITZ                               PO BOX 639                                                                                               ELBERTA        AL    36530‐0639
DAVID A GUILES                                 11003 LAKE SHORE DR                                                                                      FENTON         MI    48430‐2460
DAVID A GUILFOYLE                              26 JADE HILL RD                                                                                          AUBURN         MA    01501‐3215
DAVID A GUY                                    5612 BELMONT AVE                                                                                         YOUNGSTOWN     OH    44505‐1040
DAVID A HAGLER                                 RT 1 BOX 123                                                                                             PATTERSON      MO    63956‐9733
DAVID A HANSEN                                 5986 STOW RD                                                                                             HUDSON         OH    44236‐3536
DAVID A HARKINS                                2110 STEVENSON ST                                                                                        FLINT          MI    48504‐4031
DAVID A HARRIS TR UA 06/17/98 ROLLO HARRIS REV 2520 STAR DR                                                                                             REDDING        CA    96001‐5013
LIVING TRUST
DAVID A HARTWIG                                3571 HIDDEN FOREST CT                                                                                    LAKE ORION     MI    48359‐1477
DAVID A HASKELL                                1315 MANOR DR                                                                                            DECATUR        IL    62526‐9300
DAVID A HASSLER                                93 GREENLEAF AVE                                                                                         TONAWANDA      NY    14150‐8314
DAVID A HAUTH                                  20601 FRUITFULL DR                                                                                       ESTERO         FL    33928
DAVID A HAWKINS                                1070 HIGHSPIRE RD                                                                                        HARRISBURG     PA    17111‐2327
DAVID A HAYES                                  346 MORNING CREEK CIR                                                                                    APOPKA         FL    32712‐8145
DAVID A HAZLETT                                PO BOX 425                                                                                               HESSEL         MI    49745‐0425
DAVID A HEAD                                   1256 KERWIN LANE                                                                                         MANTECA        CA    95336‐6414
DAVID A HEAKINS                                9427 E OLLA AVE                                                                                          MESA           AZ    85212‐1407
DAVID A HEALY                                  2539 PARKER BLVD                                                                                         TN TONAWANDA   NY    14150‐4529
DAVID A HEDSTROM & MARILLYNE C HEDSTROM JT TEN FOREST RD                                                                                                GREENFIELD     NH    03047

DAVID A HENRY JR                                  R R 3BOX 117A                                                                                         CHRISMAN       IL    61924‐9803
DAVID A HERALD                                    210 PELLY RD                                                                                          COVINGTON      KY    41051‐9329
DAVID A HERGENREDER                               9317 RIDGE RD                                                                                         GOODRICH       MI    48438‐9448
DAVID A HERRON                                    921 ONTARIO ST                                                                                        SHREVEPORT     LA    71106‐1120
DAVID A HIBLER                                    PO BOX 67                                                                                             MANLEY         NE    68403‐0067
DAVID A HICKS & RAE ELLEN HICKS JT TEN            3564 MAPLE SPRING DR                                                                                  CANFIELD       OH    44406‐9261
DAVID A HIGBY & BETTY L HIGBY JT TEN              6538 BECK AVE                                                                                         NORTH          CA    91606‐2515
                                                                                                                                                        HOLLYWOOD
DAVID A HILL                                      PO BOX 241                                                                                            LEMITAR        NM    87823‐0241
DAVID A HILL JR                                   2172 NW 135TH ST                                                                                      CLIVE          IA    50325‐8521
DAVID A HILLS & HELEN M HILLS JT TEN              370 BAYSHORE DRIVE                                                                                    CICERO         IN    46034‐9476
DAVID A HIRSCHBERG & MRS RONNIE S HIRSCHBERG JT   8620 WILD OLIVE DR                                                                                    POTOMAC        MD    20854‐3438
TEN
DAVID A HLAUDY                                    17397 LAKEWOOD AVE                                                                                    LAKE MILTON    OH    44429‐9761
DAVID A HODGE                                     1132 PEACHCREEK RD                                                                                    CENTERVILLE    OH    45458‐3261
DAVID A HODGE CUST GORDON WESLEY HODGE UTMA       2185 BENWICKE DR                                                                                      PFAFFTOWN      NC    27040‐9214
NC
DAVID A HOLMES                                    868 TOM OSBORNE RD                                                                                    COLUMBIA       TN    38401‐6736
DAVID A HOLTMAN                                   7206 RIVER WALK DRIVE APT E                                                                           INDIANAPOLIS   IN    46214‐4608
DAVID A HOOPER                                    16 STOKE RD                           COBHAM SURREY                          KT11 3BD GREAT BRITAIN
DAVID A HORNGREN                                  4906 BASSWOOD LN                                                                                      IRVINE         CA    92612‐2802
DAVID A HOVELL JR                                 PO BOX 309                                                                                            DOVER          PA    17315‐0309
DAVID A HUDLEMEYER                                32760 BERRY BEND AVE                  LOT 29                                                          WARSAW         MO    65355‐4698
DAVID A HUDOCK                                    7017 HIGHLAND CREEK DRIVE                                                                             BRIDGEVILLE    PA    15017‐3440
DAVID A HUGHES                                    245 N GRACE ST                                                                                        LANSING        MI    48917‐4909
DAVID A HUNT                                      8640 LYNNEHAVEN DR                                                                                    CINCINNATI     OH    45236‐1420
DAVID A HYMAN & JACQUELINE S HYMAN JT TEN         302 N CHERRY ST                                                                                       PAULDING       OH    45879‐1213
DAVID A INGBER                                    311 HARVEST COMMONS                                                                                   WESTPORT       CT    06880‐2809
DAVID A JACKSON                                   1911 SAINT NEVIS DR                                                                                   MANSFIELD      TX    76063‐8516
DAVID A JANKOWSKI                                 5015 W SUNNYSIDE AVE                  #2                                                              CHICAGO        IL    60630‐3923
DAVID A JANZER                                    3756 STILLWATER CIRCLE                                                                                WAUKESHA       WI    53189‐6838
DAVID A JOHNSON                                   9553 E MARSHALL DR                                                                                    GALVESTON      IN    46932‐8878
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Name                                                Address1                              Address2             Address3          Address4          City              State Zip

DAVID A JOHNSON                                     1372 WEST LAWRENCE HWGY                                                                        CHARLOTTE         MI    48813‐8843
DAVID A JOHNSON                                     32455 SUSANNE DR                                                                               FRANKLIN          MI    48025‐1150
DAVID A JOHNSON                                     412 W SEVENTH ST                                                                               FLINT             MI    48503‐3782
DAVID A JOLLS                                       PO BOX 303                                                                                     GRAND LEDGE       MI    48837‐0303
DAVID A JONAS                                       1813 REDWOOD DR                                                                                JENISON           MI    49428‐8554
DAVID A JONES                                       1028 RAIDER ST                                                                                 LANSING           MI    48912‐1026
DAVID A KAHN                                        2 SOUTH END AVE                       APT 7C                                                   NEW YORK          NY    10280‐1087
DAVID A KAVANAGH                                    148 HOLIDAY LN                                                                                 CANANDAIGUA       NY    14424‐1428
DAVID A KAY & LAURIE F KAY JT TEN                   2635 GOOSE CREEK BYPASS                                                                        FRANKLIN          TN    37064‐1203
DAVID A KEBER                                       29557 COUNTY ROAD 424                                                                          DEFIANCE          OH    43512
DAVID A KEEGAN TR CAROL L CLANCY FAM TRUST UA       313 FERNDALE DR                                                                                SYRACUSE          NY    13205‐2330
12/01/95
DAVID A KEITH                                       10720S 400W                                                                                    BUNKER HILL       IN    46914‐9463
DAVID A KELLER                                      110 RALPH AVE                                                                                  HILLSDALE         NJ    07642‐1529
DAVID A KELLY                                       5455 RIDGE TRAIL N                                                                             CLARKSTON         MI    48348‐2174
DAVID A KETTLER                                     900 S 7TH ST                                                                                   PARAGOULD         AR    72450‐5015
DAVID A KIMMEY                                      3 NE 10TH ST                                                                                   MILFORD           DE    19963‐1362
DAVID A KING                                        5951 OAK AVE                                                                                   INDIANAPOLIS      IN    46219‐7220
DAVID A KING & DIXIE L KING TR DAVID A KING TRUST   3305 HANCOCK LAKE RD                                                                           HARSHAW           WI    54529‐9671
UA 4/06/99
DAVID A KIRK                                        1305 JACKSON RD                                                                                KERRVILLE         TX    78028‐4005
DAVID A KIRVAN                                      17417 BROOKVIEW DR                                                                             LIVONIA           MI    48152‐3488
DAVID A KLAPINSKI                                   408 LAKE MONROE PL                                                                             ST AUGUSTINE      FL    32092‐2495
DAVID A KLINE                                       1969 WEST 950 SOUTH                                                                            PENDLETON         IN    46064‐9365
DAVID A KLINE & PATRICIA A KLINE JT TEN             1969 WEST 950 SOUTH                                                                            PENDLETON         IN    46064‐9365
DAVID A KNAGGS                                      2582 SUMMERFIELD                                                                               PETERSBURG        MI    49270‐9594
DAVID A KOHN                                        102 STATE PARK DR                                                                              BAY CITY          MI    48706‐2142
DAVID A KOPPERS                                     237 FIRST ST                                                                                   LAWTON            MI    49065‐9743
DAVID A KOTELES                                     2770 N STATE HIGHWAY 360                                                                       GRAND PRAIRIE     TX    75050‐6409
DAVID A KOZAK                                       39771 SCOTTSDALE DR                                                                            CANTON            MI    48188‐1555
DAVID A KRAUSE                                      5661 STEVEN DR                                                                                 CICERO            NY    13039‐9525
DAVID A KRAUSHAAR                                   6537 ALDEN DR                                                                                  WEST BLOOMFIELD   MI    48324‐2004

DAVID A KRISE TR UA 03/04/2008 DAVID A KRISE LIVING 25 PEBBLES LN                                                                                  LANDER            WY    82520
TRUST
DAVID A KRUPA CONS PATRICIA L KRUPA                 3714 DELAWARE                                                                                  FLINT           MI      48506
DAVID A KUHNS & NANCY A KUHNS JT TEN                150 TERRACE VILLA DR DR                                                                        DAYTON          OH      45459‐4733
DAVID A KUIAWA                                      1090 E REID RD                                                                                 GRAND BLANC     MI      48439‐8905
DAVID A KUSHNER                                     4549 GALBRAITH LINE RD                                                                         CROSWELL        MI      48422‐9626
DAVID A KUTTER                                      3905 BELDEN COURT NE                                                                           CEADAR RAPIDS   IA      52402‐2552
DAVID A KUZDEK                                      PO BOX 307                                                                                     NEW HUDSON      MI      48165‐0307
DAVID A LA RUE                                      3160 HODGES RD                                                                                 DRYDEN TOWNSHIP MI      48428‐9735

DAVID A LADENSOHM                                   PO BOX 34690                                                                                   SAN ANTONIO       TX    78265‐4690
DAVID A LAMOREAUX TR DAVID A LAMOREAUX TRUST        3366 BLUETT RD                                                                                 ANN ARBOR         MI    48105‐1557
UA 05/04/94
DAVID A LARKIN                                      5557 MAPLETON RD                                                                               LOCKPORT         NY     14094‐9296
DAVID A LARSON & RUTH B LARSON JT TEN               415 E VALBETH DR                                                                               OAK CREEK        WI     53154‐3222
DAVID A LASCALA                                     1091 WEST AVE                                                                                  CONYERS          GA     30012‐5243
DAVID A LASTER CUST ERIC LASTER UGMA TX             6243 BERWYN LN                                                                                 DALLAS           TX     75214‐2110
DAVID A LATACKI & NANCY E LATACKI JT TEN            80 PLAZA DR                                                                                    ROCHESTER        NY     14617‐3913
DAVID A LEIGH & BETTY A LEIGH JT TEN                10 WARWICK COURT                                                                               BARNEGAT         NJ     08005‐3348
DAVID A LEITER                                      11 BOSTON PLACE                                                                                NEW CASTLE       DE     19720‐4301
DAVID A LENKOWSKI                                   10 TOWER RD                                                                                    MIDDLEBURY       CT     06762‐3124
DAVID A LIENAU & JANE E LIENAU JT TEN               731 SANDRA DR                                                                                  DEARBORN HEIGHTS MI     48127‐4137

DAVID A LIGHTFOOT                                   205 FARMERS LANE                                                                               SELLERSVILLE      PA    18960‐1543
DAVID A LINGAFELT                                   6 STATE STREET                                                                                 WILMINGTON        DE    19804‐3220
DAVID A LOVELL                                      8711 W DAVIS RD                                                                                PEORIA            AZ    85382
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Name                                            Address1                            Address2             Address3          Address4                City               State Zip

DAVID A LUTNESS                                 25439 VIA MACARENA                                                                                 VALENCIA           CA    91355‐2917
DAVID A MAC KAY                                 47175 11 MILE RD                                                                                   NOVI               MI    48374‐2315
DAVID A MACVICAR                                5720 60TH AVE NE                                                                                   SEATTLE            WA    98105‐2036
DAVID A MADRID                                  5737 W IRMA LN                                                                                     GLENDALE           AZ    85308‐9178
DAVID A MANDZIARA                               43122 ASPEN DR                                                                                     STERLING HEIGHTS   MI    48313‐2100

DAVID A MANLEY                                  28918 ACORN WAY                                                                                    COARSEGOLD         CA    93614‐9659
DAVID A MANSELL & CAROL HANDEL MANSELL JT TEN   11817 DIEHL RD                                                                                     NORTH JACKSON      OH    44451‐9734

DAVID A MARGOLIS                                109 W MAPLEWOOD CT                                                                                 MEQUON          WI       53092‐5981
DAVID A MARKOVITCH                              3468 MEANDERWOOD DRIVE                                                                             CANFIELD        OH       44406‐9616
DAVID A MAUPIN                                  PO BOX 434                                                                                         BURLINGTON      KY       41005‐0434
DAVID A MAXWELL                                 505 WEST STARK                                                                                     BAY CITY        MI       48706‐3468
DAVID A MAZZA                                   25714 ARCADIA DR                                                                                   NOVI            MI       48374‐2442
DAVID A MC CUEN                                 20 EAST 80TH STREET                 APPT #3B                                                       NEW YORK        NY       10021‐0135
DAVID A MC CULLOUGH                             955 E MEYERS AVE                                                                                   HAZEL PARK      MI       48030‐2133
DAVID A MC ROREY                                84‐575 KILI DR                      UNIT 107                                                       WAIANAE         HI       96792‐1591
DAVID A MCELHINEY                               7827 THORNCREST                                                                                    MOORESVILLE     IN       46158‐7475
DAVID A MELONE                                  6766 TANGLEWOOD DR                                                                                 YOUNGSTOWN      OH       44512‐4925
DAVID A METSKER                                 17111 HAZEL DELL ROAD                                                                              NOBLESVILLE     IN       46062‐6913
DAVID A MILLER                                  6067 FOUNTAIN POINTE                APT 2                                                          GRAND BLANC     MI       48439‐7607
DAVID A MILLER & CAROLYN R MILLER JT TEN        497 STAMPER RD                                                                                     OLIVE HILL      KY       41164‐7993
DAVID A MINTZ                                   237 AUDUBON BL                                                                                     NEW ORLEANS     LA       70125‐4123
DAVID A MITCHELL                                PO BOX 444                                                                                         NORTH BANGOR    NY       12966‐0444
DAVID A MITCHELL                                11124 GALE RD                                                                                      OTISVILLE       MI       48463‐9435
DAVID A MOODY                                   301 WISTOWA TR                                                                                     BEAVER CREEK    OH       45430‐2037
DAVID A MOORE & MARLAND L MOORE JT TEN          2255 MONROE                                                                                        DEARBORN        MI       48124‐3007
DAVID A MUIR                                    6604 MERRY LANE                                                                                    COLUMBUS        OH       43229‐1424
DAVID A MURPHY                                  17 E MAIN ST                                                                                       AYER            MA       01432
DAVID A MURPHY & ALICE A MURPHY JT TEN          PO BOX 7236                                                                                        MISSOULA        MT       59807
DAVID A MUSTART                                 318 LIBERTY STREET                                                                                 PETALUMA        CA       94952‐2812
DAVID A MYERS                                   44140 HARRIS                                                                                       BELLEVILLE      MI       48111‐8936
DAVID A NAGEY & MRS ELAINE T NAGEY TEN ENT      3 BEACH DR                                                                                         SHERWOOD FOREST MD       21405‐2019

DAVID A NAUGLE                                  1271 GRANGER RD                                                                                    GRANGER            OH    44256‐7337
DAVID A NELSON                                  211 BROOKDALE DR                                                                                   S MILWAUKEE        WI    53172‐1216
DAVID A NEWCOMBE                                2482 VALLEY LN DR                                                                                  GRAND BLANC        MI    48439‐8149
DAVID A NICHOLS                                 484 MILLS RD                                                                                       FRANKLIN           GA    30217‐3904
DAVID A NICOLETTI                               75 DEEPWOOD DR                                                                                     WOLCOTT            CT    06716‐1929
DAVID A NOLTE                                   9409 SW 53RD STREET                                                                                COOPER CITY        FL    33325
DAVID A NOTARIANNI                              33765 RICHARD O DR                                                                                 STERLING HGTS      MI    48310‐6122
DAVID A NUNEZ                                   494 THORNEHILL TRAIL                                                                               OXFORD             MI    48371‐5167
DAVID A NURNBERG                                17215 ROOSEVELT ROAD                                                                               HEMLOCK            MI    48626‐8727
DAVID A O'CONNELL                               3138 WILLARD RD                                                                                    BIRCH RUN          MI    48415‐9404
DAVID A ONUFRY                                  11415 BRECKENRIDGE                                                                                 DAVISON            MI    48423‐9335
DAVID A OSINSKI                                 40330 LA GRANGE                                                                                    STERLING HGHTS     MI    48313‐5433
DAVID A OSINSKI                                 320 JOHNSON APT B                                                                                  CALEDONIA          MI    49316‐9724
DAVID A OVERMAN                                 246 PONCHARTRAIN DR                                                                                FENTON             MI    48430‐1733
DAVID A PALMER                                  863 PRINCEWOOD AVE                                                                                 DAYTON             OH    45429‐5623
DAVID A PASZKIEWICZ                             W271N1944 FIELDHACK DRIVE                                                                          PEWAUKEE           WI    53072‐5446
DAVID A PASZKOWSKI                              4684 WINDSOR ROAD                                                                                  POTTERVILLE        MI    48876‐9722
DAVID A PAYNE                                   7422 LOUISE AVE                                                                                    JENISON            MI    49428‐9762
DAVID A PECK                                    3021 NW 6TH AV                                                                                     CAPE CORAL         FL    33993‐6743
DAVID A PELTA                                   10 BENHEIM GARDENS                  WEMBLEY                                HA9 7NP GREAT BRITAIN
DAVID A PELTY                                   221 PENTECOST HWY                                                                                  ONSTED             MI    49265‐9638
DAVID A PENNINGTON                              16251 BARTON LANE                                                                                  BAKERSFIELD        CA    93312‐8902
DAVID A PERALES                                 3220 CALEB CT E                                                                                    MIDLOTHIAN         TX    76065‐3725
DAVID A PERRY                                   30 SAFE HARBOR DR                                                                                  OCEAN CITY         NJ    08226‐1038
DAVID A PETERSON                                12497 BROADBENT RD                                                                                 LANSING            MI    48917‐8816
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Name                                                 Address1                               Address2             Address3          Address4          City              State Zip

DAVID A PFLIEGER                                     1617 N ALTADENA AVE                                                                             ROYAL OAK         MI    48067‐3672
DAVID A PHELPS                                       PO BOX 303                                                                                      MOODY             ME    04054‐0303
DAVID A PICKERING                                    PO BOX 398                                                                                      HASTINGS          MI    49058‐0398
DAVID A PIERCE                                       5190 DUFFIELD RD                                                                                FLUSHING          MI    48433‐9779
DAVID A PIERCE & BETTY J PIERCE JT TEN               5190 DUFFIELD RD                                                                                FLUSHING          MI    48433‐9779
DAVID A PIXLEY TR UA 12/15/89 DAVID A PIXLEY TRUST   640 N KENWOOD STREET                                                                            BURBANK           CA    91505‐3108

DAVID A POLEGA                                       75825 ROMEO PLANK                                                                               ARMADA            MI    48005‐2217
DAVID A POLITE                                       3707 EASTHAMPTON DR                                                                             FLINT             MI    48503‐2907
DAVID A POLLOK SR                                    300 O'NEALS RD                                                                                  PRATTS            VA    22731‐3103
DAVID A POTTER                                       PO BOX 221                                                                                      BRUTUS            MI    49716
DAVID A POWELL                                       5300 LAKEVIEW ST                                                                                DETROIT           MI    48213‐3771
DAVID A PREMO                                        12175 WAHL RD                                                                                   ST CHARLES        MI    48655‐8553
DAVID A PUMPHREY                                     22 TWIN LAKES DR                                                                                FAIRFIELD         OH    45014‐5274
DAVID A QUARANTA                                     905 WELLINGTON RD                                                                               BALTIMORE         MD    21212‐1922
DAVID A RABINETTE                                    12179 WILLARD RD                                                                                MILLINGTON        MI    48746‐9314
DAVID A RADEMACHER                                   4465 DETROIT ST                                                                                 SPRUCE            MI    48762‐9737
DAVID A RADEMACHER & DONNA M RADEMACHER JT           4465 DETROIT ST                                                                                 SPRUCE            MI    48762‐9737
TEN
DAVID A RAMIREZ                                      616 AKEHURST LANE                                                                               WHITE LAKE        MI    48366‐3386
DAVID A REED                                         624 GOLDPOINT TR                                                                                WOODSTOCK         GA    30189‐7026
DAVID A REEDY                                        6834 BOSTON AVE                                                                                 BALTIMORE         MD    21222‐1009
DAVID A REICHARD                                     116 FLINT LOCK ROAD                                                                             NEWARK            DE    19713‐3030
DAVID A REID                                         15144 PENROD                                                                                    DETROIT           MI    48223‐2360
DAVID A REID                                         6859 W JENNIFER CT                                                                              GREENFIELD        IN    46140‐9528
DAVID A REID & MARY E REID JT TEN                    2022 ALEXANDRIA PLACE                                                                           JANESVILLE        WI    53548
DAVID A RENO                                         30039 SHARON LANE                                                                               WARREN            MI    48093‐3241
DAVID A REUTHER                                      45916 CORNWALL                                                                                  UTICA             MI    48317‐4712
DAVID A RIEGNER                                      6770 DONNYBROOK DRIVE                                                                           SHELBY TOWNSHIP   MI    48316‐3432

DAVID A RINGO                                        12121 VONN RD LOT 514                                                                           LARGO           FL      33774
DAVID A RITCHIE                                      5800 N 500 W                                                                                    MUNCIE          IN      47304
DAVID A RITTER                                       125 NW ANDERSON DR                                                                              LEE'S SUMMIT    MO      64064‐1795
DAVID A ROAT                                         5473 LIBERTY BELL RD                                                                            GRAND BLANC     MI      48439‐7700
DAVID A ROBLES                                       1898 S CAPITOL AVE                                                                              SAN JOSE        CA      95127‐4551
DAVID A RONDEAU                                      8634 E 120TH                                                                                    SAND LAKE       MI      49343‐8902
DAVID A ROPER                                        102 SCOTTS GLEN RD                                                                              LINCOLN         PA      19352‐1223
                                                                                                                                                     UNIVERSITY
DAVID A ROSENTHAL                                    700 WARREN ROAD 19‐3C                                                                           ITHACA          NY      14850‐1226
DAVID A ROSS                                         2323 OLD HICKORY                                                                                DAVISON         MI      48423‐2044
DAVID A ROTZ                                         320 LAUREL LN                                                                                   SOUTH MILWAUKEE WI      53172‐1000

DAVID A RUDOLPH                                      5453 AMENO LANE                                                                                 SWARTZ CREEK      MI    48473‐8884
DAVID A RUPERT                                       1563 PERCY                                                                                      HIGHLAND          MI    48357‐3431
DAVID A RUST                                         1256 E 400 N RD                                                                                 CISSNA PARK       IL    60924‐8832
DAVID A RYKTARSYK                                    10001 MELROSE                                                                                   LIVONIA           MI    48150‐2886
DAVID A RYLL                                         2639 N RIVERSIDE DR # 1105                                                                      POMPANO BEACH     FL    33062
DAVID A SALADA                                       5916 SUNRIDGE CT                                                                                CLARKSTON         MI    48348‐4765
DAVID A SALOMON                                      216 THORNELL ROAD                                                                               PITTSFORD         NY    14534‐3606
DAVID A SANCHES                                      431 ROOSEVELT ST                                                                                CANTON            MI    48188‐6698
DAVID A SAUNDERS                                     5018 W 132ND ST                                                                                 HAWTHORNE         CA    90250
DAVID A SCHABEL                                      9493 MC AFEE RD                                                                                 MONTROSE          MI    48457‐9123
DAVID A SCHENKE                                      8982 BIG CREEK RD                                                                               JOHANNESBURG      MI    49751
DAVID A SCHINDLER                                    6455 ROSEMOOR STREET                                                                            PITTSBURGH        PA    15217‐3023
DAVID A SCHIRMER & REGINA H SCHIRMER JT TEN          241 SOUTH ST                                                                                    PORTSMOUTH        NH    03801‐4526
DAVID A SCHMIDLIN                                    2367 ALEXANDER                                                                                  TROY              MI    48083‐2404
DAVID A SCHMIDLIN & KATHLEEN SCHMIDLIN JT TEN        2367 ALEXANDER                                                                                  TROY              MI    48083‐2404

DAVID A SCHWARTZ                                     912 N SCOTNEY AVE                                                                               MERIDIAN          ID    83642‐7857
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DAVID A SCITES                                   5834 TEXTILE RD                                                                                 YPSILANTI        MI     48197‐8989
DAVID A SCOTT                                    10625 T BURY                                                                                    WACO             TX     76708‐5865
DAVID A SELOVER                                  4035 GERTRUDE ST                                                                                SIMI VALLEY      CA     93063‐2814
DAVID A SEMERAD                                  3724 MORNINGVIEW DR                                                                             RAPID CITY       SD     57702‐5037
DAVID A SENTEL                                   515 LANE 100 PINE CANYON LK                                                                     ANGOLA           IN     46703‐8724
DAVID A SERECKY                                  3337 CHESTNUT                                                                                   DEARBORN         MI     48124‐4371
DAVID A SGROMOLO                                 23227 TULANE                                                                                    FARMINGTON HILLS MI     48336‐3668

DAVID A SHEPHERD                                 PO BOX 85                                                                                       SOUTHINGTON       OH    44470‐0085
DAVID A SHIVELEY                                 574 PEACHTREE TRL                                                                               FENTON            MI    48430‐2293
DAVID A SHIVELEY & ARLENE SHIVELEY JT TEN        574 PEACHTREE TRL                                                                               FENTON            MI    48430‐2293
DAVID A SHOCKLEY                                 3514 KAREN ST                                                                                   LANSING           MI    48911‐2814
DAVID A SHORT                                    2230 S CHIPMAN APT 14                                                                           OWOSSO            MI    48867‐4748
DAVID A SINCLAIR                                 69 CRAWFORD ST 1A                                                                               OXFORD            MI    48371‐4906
DAVID A SMITH                                    1179 HIGHGATE                                                                                   FLINT             MI    48507‐3741
DAVID A SMITH                                    85 OLD FARM CIRCLE                                                                              WILLIAMSVILLE     NY    14221‐1645
DAVID A SMITH                                    9423 KECK COURT                                                                                 SAN DIEGO         CA    92129‐3534
DAVID A SMITH                                    2117 MEDFORD ROAD A17                                                                           ANN ARBOR         MI    48104‐4903
DAVID A SMITH                                    2142 HINCKLEY HILLS RD                                                                          HINCKLEY          OH    44233‐9786
DAVID A SMITH & PATRICIA K SMITH TOD RICHARD     30911 E PINK HILL RD                                                                            GRAIN VALLEY      MO    64029‐9268
ALAN SMITH
DAVID A SNYDER                                   806 INDIANA ST                                                                                  RACINE            WI    53405‐2232
DAVID A SOCHA                                    5510 W 700 S                                                                                    SOUTH WHITLEY     IN    46787‐9720
DAVID A SOLOMON                                  11321 E CARPENTER RD                                                                            DAVISON           MI    48423‐9303
DAVID A SONNTAG CUST JESSICA DAVINA SONNTAG      46359 HAWKINS CT                                                                                SHELBY TWP        MI    48315‐5721
UGMA MI
DAVID A SONNTAG CUST MARIA CHRISTINA SONNTAG     46359 HAWKINS CT                                                                                SHELBY TWP        MI    48315‐5721
UGMA MI
DAVID A SOOY                                     10253 EAST RIVER RD                                                                             ELYRIA             OH   44035‐8434
DAVID A STACHNIK & WALTER A STACHNIK JT TEN      21718 VISNAW AVE                                                                                SAINT CLAIR SHORES MI   48081

DAVID A STANLEY                                  9709 E MILLER ROAD                     BOX 286                                                  SELMA             IN    47383‐0286
DAVID A STANLEY & JEAN E STANLEY JT TEN          9709 E MILLER ROAD                     BOX 286                                                  SELMA             IN    47383‐0286
DAVID A STEELE                                   2661 RAMBLEWOOD RD                                                                              AIKEN             SC    29803‐6288
DAVID A STEFANIC                                 1437 E TWINING RD                                                                               TURNER            MI    48765‐9704
DAVID A STEPHENSON                               3920 N PINOS ALTOS RD                                                                           SILVER CITY       NM    88061‐7882
DAVID A STEPHENSON                               19389 CANTERBURY                                                                                DETROIT           MI    48221‐1807
DAVID A STEPIC                                   4607 TIEDEMAN RD                                                                                BROOKLYN          OH    44144‐2333
DAVID A STEVENS                                  5128 BERNEDA                                                                                    FLINT             MI    48506‐1588
DAVID A STILLWAGON                               PO BOX 173                                                                                      HERSHEY           PA    17033‐0173
DAVID A STOCKING                                 93 LAMARCK DRIVE                                                                                AMHERST           NY    14226‐4515
DAVID A STRAUSS                                  1031 E 50TH ST                                                                                  CHICAGO           IL    60615‐2801
DAVID A STREET                                   PO BOX 190                                                                                      MASONTOWN         WV    26542‐0190
DAVID A STROMQUIST & BEVERLY J STROMQUIST JT TEN 1005 PINE ST                                                                                    NEGAUNEE          MI    49866‐1056

DAVID A STURDEVANT                               2612 FREMBES ST                                                                                 WATERFORD         MI    48329‐3613
DAVID A STURDEVANT & CAROL A STURDEVANT JT TEN   2612 FREMBES ST                                                                                 WATERFORD         MI    48329‐3613

DAVID A SUCKUT                                   331 S MAIN ST                                                                                   RICE LAKE         WI    54868‐2253
DAVID A SUDBERRY                                 6334 E COLDWATER ROAD                                                                           FLINT             MI    48506‐1214
DAVID A SUPER                                    624 4TH ST NE                                                                                   WASHINGTON        DC    20002‐4906
DAVID A SWIFT                                    10588 V F W ROAD                                                                                EATON RAPIDS      MI    48827
DAVID A TANG                                     46 N TELEGRAPH                                                                                  PONTIAC           MI    48341‐1166
DAVID A TESSMER & CYNTHIA A TESSMER JT TEN       W3631 TUBBS RD                                                                                  SEYMOUR           WI    54165‐8823
DAVID A THIEL                                    20 DANITA DRIVE                                                                                 AKRON             NY    14001‐1133
DAVID A THOMAS                                   8465 S PINEY POINT ST                  HIGHLANDS RANCH                                          DENVER            CO    80126‐2028
DAVID A THOMPSON                                 5503 HARVARD ST                                                                                 LUBBOCK           TX    79416‐1141
DAVID A THOMPSON                                 12958 CREE DR                                                                                   POWAY             CA    92064‐3830
DAVID A THOMSON                                  3040 GRANT ST                                                                                   EVANSTON          IL    60201‐1828
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DAVID A THUDE                                   35 EASTWOOD DR                                                                                       SAN FRANCISCO     CA    94112‐1225
DAVID A THURBER                                 6161 BEACH SMITH RD                                                                                  KINSMAN           OH    44428‐9750
DAVID A TISDALE                                 PO BOX 25                                                                                            PETERSBURG        IN    47567‐0025
DAVID A TOFTELAND                               4615 MEADOW RD                                                                                       MINNEAPOLIS       MN    55424‐1231
DAVID A TONNIES                                 1500 HIDDEN BROOK CT                                                                                 NEW CASTLE        PA    16105
DAVID A TOUGAS JR TOD LYNETTE TOUGAS            220 W FRANCIS ST                                                                                     CORONA            CA    92882‐4830
DAVID A TRAN                                    2232 NW 48TH ST                                                                                      OKLAHOMA CITY     OK    73112‐8850
DAVID A TUMBLISON                               PO BOX 1551                                                                                          MIAMISBURG        OH    45343‐1551
DAVID A TURNER                                  290 PULLEY WAY                                                                                       BOWLING GREEN     KY    42101‐9681
DAVID A TURNER                                  G4493 FENTON ROAD LOT 31                                                                             BURTON            MI    48529‐1943
DAVID A TURNER & BARBARA J TURNER JT TEN        G‐4493 FENTON RD                       LOT 31                                                        BURTON            MI    48529‐1943
DAVID A URQUHART                                73‐42 52ND RD                                                                                        MASPETH           NY    11378‐1509
DAVID A UTLEY                                   383 OLD BUCKHORN RD                                                                                  MORGANTOWN        KY    42261‐8260
DAVID A VAN DENBERGH                            41 DUNLOP AVE                                                                                        TONAWANDA         NY    14150‐7808
DAVID A VANDYKE                                 295 HIRAM ACWORTH SW HW                                                                              DALLAS            GA    30157‐6583
DAVID A VINCENT                                 30462 WESTMORE                                                                                       MADISON HGTS      MI    48071‐5906
DAVID A VOLK                                    1370 WILBUR RD                                                                                       MEDINA            OH    44256‐8438
DAVID A VOLLRATH                                1845 BLAIR HILLS CT                                                                                  MISHAWAKA         IN    46544‐6707
DAVID A VOSS & DOREEN A VOSS JT TEN             6924 CREEKVIEW DR                                                                                    LOCKPORT          NY    14094‐9529
DAVID A VULLO JR                                2878 HILLVIEW PL                                                                                     EDEN              NY    14057
DAVID A WAHLER                                  1867 TOYON DR                                                                                        CONCORD           CA    94520‐2850
DAVID A WALKER                                  PO BOX 245                                                                                           WALNUTPORT        PA    18088‐0245
DAVID A WALKER CUST ANTHONY J WALKER UGMA MI    5601 WEIR                                                                                            OSCODA            MI    48750‐9484

DAVID A WALLEN                                  3243 ALEXANDRIA PIKE                                                                                 ANDERSON          IN    46012‐9654
DAVID A WALSH                                   7139 KENSINGTON CT                                                                                   UNIVERSITY PK     FL    34201‐2348
DAVID A WALSH & MRS EMMA WALSH JT TEN           7139 KENSINGTON CT                                                                                   UNIVERSITY PARK   FL    34201‐2348
DAVID A WALSH & MRS EMMA WALSH JT TEN           7139 KENSINGTON CT                                                                                   UNIVERSITY PARK   FL    34201‐2348
DAVID A WARD & MRS JUSTINA C WARD TEN COM       13802 WOODED CREEK DRIVE                                                                             FARMERS BRANCH    TX    75244‐4753

DAVID A WATERFIELD CUST DAVID A WATERFIELD JR   6414 WHALEYVILLE BLVD                  UNDER THE VA UNIF TRAN MIN ACT                                SUFFOLK           VA    23438‐9723
UTMA VA
DAVID A WATKINS                                 235 MELLON RD                                                                                        WINCHENDON        MA    01475‐2026
DAVID A WEEKS                                   2606 ALLENBY PLACE                                                                                   DAYTON            OH    45449‐3322
DAVID A WEEKS                                   4557 SHERBROOKE ST W #50               WESTMOUNT QC                                H3Z 1E8 CANADA
DAVID A WEIDNER                                 119 E LIVINGSTON DR                                                                                  FLINT             MI    48503‐4124
DAVID A WENHAM                                  2860 WEST MCKELLIPS BLVD                                                                             APACHE JCT        AZ    85220
DAVID A WHITE                                   4522 BANBURY CT                                                                                      GLADWIN           MI    48624‐8613
DAVID A WILHELM                                 8083 POTTER RD                                                                                       RUDOLPH           OH    43462‐9752
DAVID A WILHOITE                                1952 LYNWOOD DR                                                                                      KOKOMO            IN    46901‐1833
DAVID A WILKINS                                 209 E SOUTH ST                                                                                       SCHOOLCRAFT       MI    49087‐9715
DAVID A WILLIAMS                                3216 S POTTER RD                                                                                     ORFORDVILLE       WI    53576‐8705
DAVID A WILLIAMS & JANET M WILLIAMS JT TEN      9610 AUBURN RD                                                                                       CHARDON           OH    44024‐8643
DAVID A WILLIAMS SR                             4404 RIDGE RD                                                                                        NOTTINGHAM        MD    21236‐3823
DAVID A WILSON                                  3697 COUNTRY CLUB RD                                                                                 ADRIAN            MI    49221‐9254
DAVID A WILT                                    16268 AUTUM VIEW TR DR                                                                               ELLISVILLE        MO    63011‐4747
DAVID A WINTER                                  175 OLD FORGE RD                                                                                     MONROE TWP        NJ    08831‐1440
DAVID A WIROSTEK                                5548 VINCIENT RD                                                                                     ELSIE             MI    48831‐9416
DAVID A WISE                                    320 LEWIS RD                                                                                         BROOMALL          PA    19008‐2227
DAVID A WISNER & CATHERINE S WISNER JT TEN      6251 MONTCALM AVE NE                                                                                 BELDING           MI    48809‐9609
DAVID A WITTMER                                 10324 SANDRIFT AVE                                                                                   ENGLEWOOD         FL    34224‐9221
DAVID A WOOD                                    429D WOODLAWN AVE                                                                                    CHULA VISTA       CA    91910‐4014
DAVID A WOOD & DEBRA M WOOD JT TEN              1835 WEST AVON ROAD                                                                                  ROCHESTER         MI    48309‐2561
DAVID A WOODS                                   940 E NOBOBISH RD                                                                                    ESSEXVILLE        MI    48732‐9757
DAVID A WORDEN                                  2015 S TUTTLE AVE                                                                                    SARASOTA          FL    34239‐4151
DAVID A WORKMAN                                 5881 CLINTON ST                                                                                      LOS ANGELES       CA    90004‐1127
DAVID A WORLOCK                                 7869 RINALDO BLVD E                                                                                  BRIDGEPORT        NY    13030‐9499
DAVID A WORTHINGTON                             14755 RAYMOND LN                                                                                     CARMEL            IN    46032‐7414
DAVID A WRIGHT                                  330 WAVERLY RD                                                                                       EATON RAPIDS      MI    48827
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DAVID A WRIGHT                                 PO BOX 2026                                                                                     KALAMA            WA    98625‐1800
DAVID A YAKUM                                  5100 SE 32ND ST                                                                                 DES MOINES        IA    50320‐2074
DAVID A YANZ & LORRAINE K YANZ JT TEN          115 ELMCROFT ROAD                                                                               ROCHESTER         NY    14609‐7739
DAVID A YINGER                                 2315 CONSTELLATION DR                                                                           LK HAVASU CTY     AZ    86403‐4964
DAVID A YINGLING                               1896 MEADOWLARK                                                                                 NILES             OH    44446‐4133
DAVID A YOH                                    1261 S GROVE                                                                                    YPSILANTI         MI    48198‐6452
DAVID A YORK                                   5431 EVANS                                                                                      HOLLY             MI    48442‐9437
DAVID A YORKE                                  5361 BARNES ROAD                                                                                MILLINGTON        MI    48746‐8709
DAVID A ZASZCZURYNSKI                          11195 SINGER RD                                                                                 BROOKLYN          MI    49230‐8500
DAVID A ZEPEDA                                 4590 WESWILMAR DR                                                                               HOLT              MI    48842‐1646
DAVID A ZGODA                                  136 LEONARD ST                                                                                  BUFFALO           NY    14215‐2366
DAVID AARON NADOLNY                            175 KENBROOK DR                                                                                 WORTHINGTON       OH    43085‐3610
DAVID ABBEY                                    5044 MARWOOD CT SE                                                                              GRAND RAPIDS      MI    49508‐4852
DAVID ABBEY CUST MARLO KATHRYN ABBEY UTMA‐MI   5044 MARWOOD COURT                                                                              KENT WOOD         MI    49508‐4852

DAVID ABKE                                     11610 N PEABODY RD                                                                              NORTH EAST       PA     16428‐3918
DAVID ABOSCH & FRANCES ABOSCH JT TEN           1204 SAND PINE DR                                                                               CARY             NC     27519‐7419
DAVID ABRAMOWITZ                               4525 NAUTILUS DRIVE                                                                             MIAMI BEACH      FL     33140‐2827
DAVID ACOSTA                                   29445 ROSSLYN                                                                                   GARDEN CITY      MI     48135‐2657
DAVID ADAMS & LYNN ADAMS JT TEN                3604 WILLOW WISP DR S                                                                           LAKELAND         FL     33810
DAVID ADAMS & MOLLIE ADAMS JT TEN              302 SHENANDOAH CIR                                                                              BLACKSBURG       VA     24060‐7866
DAVID ADAMS REIF                               29 OLD PAWSON RD                                                                                BRANFORD         CT     06405‐5130
DAVID ADASHEK                                  P O BOX 552                                                                                     HIGHLAND PARK    IL     60035
DAVID ADDISON HORN                             13180 TARLTON RD                                                                                CIRCLEVIELLE     OH     43113‐9404
DAVID AKBAR                                    4108 CHARLTON RD                                                                                CLEVELAND        OH     44121‐2717
DAVID ALAN BRAUN                               2 MABRO DRIVE                                                                                   DENVILLE         NJ     07834‐9608
DAVID ALAN CHENEY                              575 N SCOTT ST                                                                                  ADRIAN           MI     49221‐1370
DAVID ALAN COUCH                               6022 BERWYN                                                                                     DEARBORN HEIGHTS MI     48127‐2904

DAVID ALAN DICKEY                             10028 ELDERBERRY CT                                                                              MANASSAS PARK     VA    20110‐3820
DAVID ALAN FERGUS CUST HANNAH MARIE FERGUS    262 4TH ST                                                                                       BREMERTON         WA    98337‐1813
UTMA WA
DAVID ALAN FERGUS CUST JONATHON ANDREW FERGUS 262 4TH STREET                                                                                   BREMERTON         WA    98337‐1813
UTMA WA
DAVID ALAN FOX                                7327 JUNEBUG LANE                                                                                VACAVILLE         CA    95688‐9311
DAVID ALAN PANASIEWICZ                        ROUTE 4 6183 LOOMIS RD                                                                           ST JOHNS          MI    48879‐9272
DAVID ALAN RESNIK                             78 CAPWELL AVE                                                                                   PAWTUCKET         RI    02860‐5658
DAVID ALAN RILEY & SUSAN EILEEN RILEY JT TEN  14375 RED FOX DRIVE                                                                              GRANGER           IN    46530‐6862
DAVID ALAN SERDYNSKI                          1572 AUSTIN LN                                                                                   SAINT AUGUSTINE   FL    32092‐1047
DAVID ALAN TEICHLER NAKED OWNER               309 N HIGHLAND AVE                                                                               ELMHURST          IL    60126‐2244
DAVID ALAN WINKLER                            4411 SANTA CRUZ AVE                                                                              SAN DIEGO         CA    92107‐3616
DAVID ALBERT                                  293 W ROMANY LOOP                                                                                BEVERLY HILLS     FL    34465‐8726
DAVID ALBERT                                  70 FERRIS AVE                           APT 8A                                                   WHITE PLAINS      NY    10603‐3431
DAVID ALBERT RIDDLE                           106 RITTER RD                                                                                    SEWICKLEY         PA    15143‐9578
DAVID ALEXANDER                               2023 ADOBE AVE                                                                                   CORONA            CA    92882‐5663
DAVID ALEXANDER & CLARE ALEXANDER JT TEN      535 KENNELAND CT                        APT 101                                                  CORDOVA           TN    38018
DAVID ALFRED                                  PO BOX 13114                                                                                     DETROIT           MI    48213‐0114
DAVID ALFRED WOLVERTON & PATRICIA I WOLVERTON 4317 ANDERSON RD                                                                                 SOUTH EUCLID      OH    44121‐3574
JT TEN
DAVID ALLAN DYKSTRA                           5353 ‐ 14 MILE COURT                                                                             ROCKFORD          MI    49341‐9719
DAVID ALLEN                                   7906 CEDAR LAKE ROAD                                                                             OSCODA            MI    48750‐9494
DAVID ALLEN BAUERSACHS                        453 BUCKINGHAM BLVD                                                                              GALLATIN          TN    37066‐7505
DAVID ALLEN BELL                              100 SLEEPY HOLLOW DRIVE                                                                          CANFIELD          OH    44406‐1057
DAVID ALLEN KRONE                             1831 NE THOMPSON STREET                                                                          PORTLAND          OR    97212‐4211
DAVID ALLEN KULAK                             4901 ORIOLE AVE                                                                                  SCHERERVILLE      IN    46375
DAVID ALLEN NELSON                            6970 SINGINGWOOD LANE                                                                            ST LOUIS          MO    63129‐5318
DAVID ALLEN STEWARD SR                        437 PHINNEYVILLE RD                                                                              RINGTOWN          PA    17967‐9315
DAVID ALLEN THOMAS & MARI ELLEN THOMAS JT TEN 5420 WILSON                                                                                      TRENTON           MI    48183‐4723
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DAVID ALLEN VANCE                                  9616 E GRAND TETON                                                                            TUCSON          AZ    85748
DAVID ALLEN VANDER KOOY                            715 MARYLANE DR                                                                               HOLLAND         MI    49423‐4529
DAVID ALLEN WILD                                   7700 MILLARCH ROAD                                                                            ONEKAMA         MI    49675‐9747
DAVID ALLEN WOODY                                  203 REID RD                                                                                   LEXINGTON       VA    24450‐3126
DAVID AMADOR                                       927 E BEECHER                                                                                 ADRIAN          MI    49221‐4015
DAVID AMBROSE JR                                   6338 PIEDMONT ST                                                                              DETROIT         MI    48228‐3953
DAVID ANDERSON                                     1715 7TH AVE N                                                                                GREAT FALLS     MT    59401
DAVID ANDERSON                                     1412 COLLEGE                                                                                  LINCOLN PARK    MI    48146‐1510
DAVID ANDREONI & MRS DEBRA L ANDREONI JT TEN       103 STAR AVE                                                                                  EAST WOONSOCKET RI    02895‐1655

DAVID ANDREW JOHNSON                               411 CLAY PIKE                                                                                 N HUNTINGDON    PA    15642‐4298
DAVID ANDREW KOWALEWSKI JR                         148 KERN RD                                                                                   COWLESVILLE     NY    14037‐9736
DAVID ANDREW LEACH                                 1060 WING DR                                                                                  ANN ARBOR       MI    48103‐1467
DAVID ANDREW PARISH                                HC 62 BOX 49B                                                                                 EUFAULA         OK    74432‐9671
DAVID ANDREW TODD                                  1627 ROGERS COURT                                                                             WALL            NJ    07719‐3863
DAVID ANDREWS MILLER                               8521 E DESERT STEPPES DR                                                                      TUCSON          AZ    85710‐4209
DAVID ANTHONY ENSMINGER                            9814 BIGGS ROAD                                                                               MIDDLE RIVER    MD    21220
DAVID ANTHONY RICCA                                7374 FLAMINGO RD                                                                              ALGONAC         MI    48001‐4132
DAVID ANTHONY SHIRLEY                              16 GREEN CLOVER DR                                                                            HENRIETTA       NY    14467‐9209
DAVID ANTHONY WARAN                                4171 MARS WAY                                                                                 LA MESA         CA    91941‐7249
DAVID ANTOS                                        14027 THAMES DR                                                                               SHELBY TWP      MI    48315‐5436
DAVID ANUSZKIEWICZ CUST JOSHUA JAMES               4949 LALONDE RD                                                                               BLACK RIVER     MI    48721‐9738
ANUSZKIEWICZ UGMAMI
DAVID ARCE                                         13900 OCOTILLO RD                    APT A                                                    DESERT HOT      CA    92240‐5909
                                                                                                                                                 SPRINGS
DAVID ARKSEY                                  117 WILDWOOD CRESCENT                     TORONTO ON                             M4L 2K9 CANADA
DAVID ARNE                                    804 CASS ST                               APT 807                                                  LA CROSSE       WI    54601‐4685
DAVID ARONSON                                 29 HILLTOP DRIVE                                                                                   MONSON          MA    01057‐9731
DAVID ARVOY                                   10495 BENNINGTON RD                                                                                DURAND          MI    48429‐9702
DAVID ASHLEY ADDISON                          5700 11TH ST N                            APT 10                                                   ARLINGTON       VA    22205‐2342
DAVID ASPLUND                                 28925 SE 416TH ST                                                                                  ENUMCLAW        WA    98022
DAVID AUGE CUST KATHRYN MICHELLE AUGE UTMA WY PO BOX 1824                                                                                        JACKSON         WY    83001‐1824

DAVID AUGUSTINE MUNOZ                              707 E HERMOSA DR                                                                              SAN GABRIEL     CA    91775‐2327
DAVID AURIT                                        23545 CRENSHAW BL #106                                                                        TORRANCE        CA    90505‐5251
DAVID AZAR & MRS GRACE AZAR JT TEN                 930 EAST 9TH STREET                                                                           BROOKLYN        NY    11230‐3517
DAVID B ADLER                                      120 CARANETTA DRIVE                                                                           LAKEWOOD        NJ    08701‐3108
DAVID B ALDRICH                                    66 MAIN STREET                       PO BOX 268                                               NORTH           VT    05257‐0268
                                                                                                                                                 BENNINGTON
DAVID B ANDERSON & LAURA A ANDERSON JT TEN         BOX 1063                                                                                      BELLINGHAM      WA    98227

DAVID B BARKER                                     5215 FOREST VALLEY DR                                                                         CLARKSTON       MI    48348‐3751
DAVID B BARNHART & DEBRA L BARNHART JT TEN         1509 ROUND HILL RD                                                                            OAK HILL        WV    25901‐2025
DAVID B BEEN                                       110 NEBRASKA RD                                                                               DYESS AFB       TX    79607
DAVID B BENHAM II                                  7801 PLEASANT OAKS DR                                                                         EDMOND          OK    73034‐8105
DAVID B BENNETT                                    401 S 81ST ST                                                                                 KANSAS CITY     KS    66111‐3009
DAVID B BERGER                                     31 BUCCANEER LANE                                                                             EAST SETAUKET   NY    11733‐1964
DAVID B BIDDLE                                     177 HOWLAND PINES DR                                                                          OXFORD          MI    48371‐4193
DAVID B BOGERT                                     456 GLENDALE RD                                                                               WYCKOFF         NJ    07481‐2536
DAVID B BOWERS                                     2573 CANDLEWICK DRIVE                                                                         ORION           MI    48359‐1519
DAVID B BRIDGES                                    467 TELECOM RD                       PONTYPOOL ON                           L0A 1K0 CANADA
DAVID B BRIGHTWELL & EARLINE E BRIGHTWELL JT TEN   6040 OLD BAUM CHURCH RD                                                                       WATERLOO        IL    62298‐6346

DAVID B BROOKS                                     5403 FLORA DR                                                                                 LEWISBURG       OH    45338‐7723
DAVID B BRYNER                                     3209 EAST RIVER RD                                                                            NEWTON FALLS    OH    44444‐9791
DAVID B CARPENTER                                  3 WARE RD                                                                                     NEWARK          DE    19711‐4803
DAVID B CARR & DIANA L CARR JT TEN                 6207 KINGS SHIRE                                                                              GRAND BLANC     MI    48439‐8603
DAVID B CHAPMAN                                    125 PUTNAM AVE                       APT 709                                                  HAMDEN          CT    06517
DAVID B COX                                        180 N W 30 AVE                                                                                POMPANO BCH     FL    33069‐2548
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DAVID B CROUCH                                 PO BOX 194                                                                                      BYRDSTOWN         TN    38549‐0194
DAVID B DORNER                                 5019 N GENESEE RD                                                                               FLINT             MI    48506‐1537
DAVID B DUNMIRE                                12711 W 138TH TER                                                                               OVERLAND PARK     KS    66221‐4140
DAVID B DURGAN                                 2 BARBERRY LANE                                                                                 CENTER MORICHES   NY    11934‐1411

DAVID B EHATT                                  4501 FORGE RD                                                                                   PERRY HALL        MD    21128‐9547
DAVID B ELMER                                  1104 FAIRBANKS AVE                                                                              KALAMAZOO         MI    49048
DAVID B ENT                                    1503 E LYNN DR                                                                                  BEAVERCREEK       OH    45432‐2909
DAVID B ESTEY                                  43555 KIRKLAND AVE                     APT 6                                                    LANCASTER         CA    93535‐4605
DAVID B EWTON                                  2909 KENMORE RD                                                                                 RICHMOND          VA    23225‐1429
DAVID B FERRILL                                3508 W GRANADA ST                                                                               TAMPA             FL    33629‐7053
DAVID B FIELD & DOLORES I FIELD TEN COM        196 GRAND OAK CIRCLE                                                                            PENDLETON         SC    29670‐1647
DAVID B FITZMAURICE                            18671 HERITAGE TRAIL                                                                            STRONGSVILLE      OH    44136‐7030
DAVID B FITZPATRICK                            PO BOX 412                                                                                      SAN GERONIMO      CA    94963‐0412
DAVID B GARDNER                                162 SOUTH LAKE DOSTERDRIVE                                                                      PLANWELL          MI    49080
DAVID B GRASS                                  46349 VINEYARD                                                                                  UTICA             MI    48317‐3934
DAVID B GRAY                                   PO BOX 5415                                                                                     GREENVILLE        SC    29606‐5415
DAVID B GROULX                                 3276 SHILLELAGH                                                                                 FLINT             MI    48506‐2245
DAVID B HALEY                                  324 PROSPECT AVE S                                                                              MINNEAPOLIS       MN    55419‐1262
DAVID B HAMMAR                                 5530 CHAISON RD                                                                                 GLADSTONE         MI    49837‐8836
DAVID B HAMPSHIRE                              180 APRIL COURT                                                                                 NORTH             PA    15642‐1102
                                                                                                                                               HUNTINGDON
DAVID B HASKELL                                2000 DELTA ROAD                                                                                 BAY CITY          MI    48706‐9790
DAVID B HAYES                                  1301B NE 39TH ST                                                                                KANSAS CITY       MO    64116
DAVID B HAYS                                   911 WOODLAND AVE                                                                                PORT VUE          PA    15133‐3733
DAVID B HEALY                                  215 E CAVANAUGH RD                                                                              LANSING           MI    48910‐5398
DAVID B HECK & MRS JUDIE G HECK JT TEN         1002 E HARMON ST                                                                                URBANA            IL    61801‐6834
DAVID B HECK & MRS JUDITH G HECK JT TEN        1002 HARMAN ST                                                                                  URBANA            IL    61801‐6834
DAVID B HERTZBERG                              4765 LINCOLN RD                                                                                 STANDISH          MI    48658‐9435
DAVID B HIEGER                                 1518 DELAINE AVE                                                                                DE SOTO           MO    63020‐2945
DAVID B HORTON                                 5410 RAYMOND AVE                                                                                BURTON            MI    48509‐1928
DAVID B HOUSER                                 8357 NOBLET ROAD                                                                                DAVISON           MI    48423‐8791
DAVID B HUMDY                                  12438 EMPIRE PL                                                                                 HANSEN HILLS      CA    91331‐2041
DAVID B HUMPHREY                               6 FALMOUTH RIDGES DR                                                                            FALMOUTH          ME    04105‐2822
DAVID B HUTTO                                  3305 BRITTANY CT                                                                                BIRMINGHAM        AL    35226‐3376
DAVID B JACKSON                                5077 BRIARSTONE TRACE                                                                           CARMEL            IN    46033‐9603
DAVID B JACKSON                                3009 S PETERS ROAD                                                                              TROY              OH    45373‐9220
DAVID B JACOBS                                 4315 N 140TH ST                                                                                 OMAHA             NE    68164‐5033
DAVID B JAHNKE                                 3521 SO 80TH ST                                                                                 MILWAUKEE         WI    53220‐1015
DAVID B JANNONE                                115 PINE CONE WAY                                                                               SOUTHERN PINES    NC    28387‐2305
DAVID B JOHNSON                                4725 CONNIE MARA                                                                                SUWANEE           GA    30024‐3441
DAVID B KENNEDY & JENNY R KENNEDY JT TEN       7289 DEBORAH PL                                                                                 HUGHESVILLE       MD    20637‐2339
DAVID B KILBOURN JR                            10388 KENSINGTON WAY                                                                            INDIANAPOLIS      IN    46234‐2591
DAVID B KITFIELD                               4641 ROSWELL RD NE                                                                              ATLANTA           GA    30342‐3001
DAVID B KOENIGSKNECHT                          BOX 86                                                                                          WILSON            NY    14172‐0086
DAVID B KRAMER                                 7200 3RD AVE                           APT O402                                                 SYKESVILLE        MD    21784‐5259
DAVID B KUHLMAN                                8568 FOXCROFT PLACE                                                                             SAN DIEGO         CA    92129‐3729
DAVID B KWIECINSKI                             2 NOWLIN COURT                                                                                  DEARBORN          MI    48124‐3912
DAVID B LIDGEY                                 18 S ANDREWS                                                                                    LAKE ORION        MI    48362
DAVID B LIXEY                                  1282 N KOBS                                                                                     TAWAS CITY        MI    48763‐9377
DAVID B LODGE                                  5575 TUCSON COURT                                                                               HAYMARKET         VA    20169‐3145
DAVID B LOTT & JANE A LOTT JT TEN              3041 THIRD AVE                                                                                  BALTIMORE         MD    21234‐3205
DAVID B LOUTREL CUST SARAH L LOUTREL UTMA AK   1430 CRESCENT AVE                                                                               ANCHORAGE         AK    99508‐5008

DAVID B LOVING                                 11812 GULFSTREAM DR                                                                             FISHERS           IN    46038‐9422
DAVID B MARSH                                  162 LIMETREE PARK DR                                                                            BONITA SPGS       FL    34135‐4360
DAVID B MATHIS                                 3312 PLANTATION DR                                                                              VALDOSTA          GA    31605‐1008
DAVID B MCCALL                                 42 PATRICK DR                          WHITTBY ON                             L1R 2L2 CANADA
DAVID B MCCALL                                 42 PATRICK DR                          WHITBY ON                              L1R 2L2 CANADA
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Name                                              Address1                              Address2             Address3          Address4            City             State Zip

DAVID B MCCALL                                    42 PATRICK DR                         WHITBY ON                              L1R 2L2 CANADA
DAVID B MCKAY                                     1749 DORIS WALTERS LN                                                                            SAINT CHARLES    MO    63303‐4644
DAVID B MENNEL                                    3623 FOUNTAIN VIEW DR                                                                            GREENWOOD        IN    46143‐8630
DAVID B MICHAUD                                   7201 DRIFTWOOD DR                                                                                FENTON           MI    48430‐8914
DAVID B MILKA                                     6320 STATE ROAD 158                                                                              BEDFORD          IN    47421
DAVID B MILLARD                                   30239 WESTMORE                                                                                   MADISON HGTS     MI    48071‐2212
DAVID B MOHAUPT & DEBRA A MOHAUPT JT TEN          13309 ARMSTEAD ST                                                                                WOODBRIDGE       VA    22191‐1620
DAVID B MUNCE                                     4228 SOUTH MINASOTA AVE                                                                          SIOUX FALLS      SD    57105‐0422
DAVID B NIEBERDING CUST ANDREW D NIEBERDING A     3742 REDTHORNE                                                                                   AMELIA           OH    45102‐1263
UGMA OH
DAVID B NORRIS                                    15 AVENUE OF PINES                                                                               SAVANNAH         GA    31406‐7553
DAVID B NORTHROP                                  3751 BROOKSIDE LN                                                                                ZEPHYRHILLS      FL    33541‐6493
DAVID B NUNN                                      350 IMAGINATION DR                                                                               ANDERSON         IN    46013‐1055
DAVID B ODIORNE                                   5344 MILLS HWY                                                                                   EATON RAPIDS     MI    48827‐9024
DAVID B OLLMAN                                    14100 NC HIGHWAY 125                                                                             OAK CITY         NC    27857‐9757
DAVID B OWENS                                     PO BOX 2402                                                                                      FRAZIER PARK     CA    93225‐2402
DAVID B PALMER                                    1342 HAWTHORNE ROAD                                                                              NISKAYUNA        NY    12309‐2502
DAVID B PARIS                                     PO BOX 8189                                                                                      SILVER SPRING    MD    20907‐8189
DAVID B PAULASKI                                  5083 W WOODMILL DR                                                                               WILMINGTON       DE    19808‐4069
DAVID B PEREZ                                     4005 AMBER WAY                                                                                   SPRING HILL      TN    37174‐9268
DAVID B PERKINS                                   3743 BAY RD                                                                                      ERIE             MI    48133‐9404
DAVID B PROCTER                                   427 JAMES AVE SE                                                                                 GRAND RAPIDS     MI    49503‐5416
DAVID B PROCTOR                                   2308 WOODROW WILSON BLVD              APT 1                                                      W BLOOMFIELD     MI    48324‐1710
DAVID B PUFFER                                    19923 IDLEWOOD TRL                                                                               STRONGSVILLE     OH    44149‐3141
DAVID B RANDALL                                   PO BOX 48                                                                                        BIRMINGHAM       MI    48012‐0048
DAVID B RANDALL & MAJORIE L RANDALL JT TEN        642 FAIRFAX                                                                                      BIRMINGHAM       MI    48009‐1291
DAVID B RANDALL & MARJORIE L RANDALL JT TEN       PO BOX 48                                                                                        BIRMINGHAM       MI    48012‐0048
DAVID B RATCLIFF                                  R #2 PAVONIA ROAD                                                                                MANSFIELD        OH    44903‐9802
DAVID B RATLIFF                                   2775 JAMES CT                                                                                    GROVE CITY       OH    43123‐2852
DAVID B REEDER CUST BRITTANY L HUFF UGMA PA       1017 STILLWOOD CIR                                                                               LITITZ           PA    17543‐6604

DAVID B REEDER CUST MATTHEW S HUFF UGMA PA        1017 STILLWOOD CIR                                                                               LITITZ           PA    17543‐6604

DAVID B RENICO                                    9985 N M 18                                                                                      GLADWIN          MI    48624‐8840
DAVID B REPPART TR THE DAVID B REPPART FAMILY     7105 US HIGHWAY 42                                                                               MOUNT GILEAD     OH    43338‐9420
TRUST UA 04/19/02
DAVID B RICE                                      623 WINDMILL LN                                                                                  PLEASANTON       CA    94566‐7479
DAVID B RILES                                     1415 S HILLFORD                                                                                  COMPTON          CA    90220‐4345
DAVID B ROCKWELL                                  4851 DAWNWOOD DR                                                                                 DAYTON           OH    45415‐1302
DAVID B ROEMBKE                                   7722 BRIARSTONE LN                                                                               INDIANAPOLIS     IN    46227‐5428
DAVID B ROLLA                                     360 RENFRO CT                                                                                    CLARKSVILLE      TN    37043‐1778
DAVID B SAVITZKY TR UA 10/17/09 SAVITZKY FAMILY   17754 AGUAMIEL                                                                                   SAN DIEGO        CA    92127
TRUST
DAVID B SCHOTT                                    1209 HAVENWOOD RD                                                                                BALTIMORE        MD    21218‐1436
DAVID B SETCHFIELD                                6679 VALLEY HWY                                                                                  VERMONTVILLE     MI    49096‐9535
DAVID B SHERRILL                                  2816 SW 115TH                                                                                    OKLAHOMA CITY    OK    73170‐2632
DAVID B SIEVERS                                   4918 TEXHOMA AVE                                                                                 ENCINO           CA    91316‐3740
DAVID B SMALL CUST ASHLEY D SMALL UTMA NJ         22 DALE DRIVE                                                                                    WESTORANGE       NJ    07052‐2006
DAVID B SMALL CUST JAIME S SMALL UGMA NY          22 DALE DR                                                                                       WEST ORANGE      NJ    07052‐2006
DAVID B SMALL CUST RYAN L SMALL UTMA NJ           22 DALE DRIVE                                                                                    WEST ORANGE      NJ    07052‐2006
DAVID B SMITH                                     24 WHITE RD                                                                                      WAYLAND          MA    01778‐2432
DAVID B SMITH                                     C/O VIOLET I SMITH                    1801 COPAS RD                                              OWOSSO           MI    48867‐9077
DAVID B SMITH                                     99 ISLAND RD                                                                                     DAYVILLE         CT    06241‐1519
DAVID B SMITH                                     3939 WILLOUGHBY ROAD                                                                             HOLT             MI    48842‐9410
DAVID B SNEESBY                                   46‐14TH AVE                           WALMER               PORT ELIZABETH    6070 SOUTH AFRICA
DAVID B SWAN                                      785 S FRONT ST                                                                                   PHILADELPHIA     PA    19147‐3524
DAVID B TAYLOR & EVE TAYLOR JT TEN                17 EAGLE STREET                                                                                  CHESTNUT RIDGE   NY    10977‐6102
DAVID B THOMAS                                    4380 TURKEY TRACK RD                                                                             MARTINSVILLE     IN    46151‐9491
DAVID B TODD                                      560 N BEACHWOOD DR                                                                               LOS ANGELES      CA    90004‐1417
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DAVID B UNDERWOOD & MARY K UNDERWOOD JT TEN PO BOX 5401                                                                                         BLUE JAY          CA    92317‐5401

DAVID B VANDERFORD                             13463 W LANEDEN DR                                                                               HOLLY           MI      48442‐9707
DAVID B WALLACE                                410 KNIGHTS BRIDGE CRT                                                                           OSWEGO          IL      60543
DAVID B WARNER                                 PO BOX 522                                                                                       HOUGHTN LAKE HT MI      48630‐0522

DAVID B WARREN                                 5 CRAMER POINT RD                                                                                LAKE GEORGE       NY    12845‐6607
DAVID B WEBBER                                 PO BOX 178                                                                                       LENNON            MI    48449‐0178
DAVID B WEBBER                                 571 DOMINION ROAD                                                                                GERRARDSTOWN      WV    25420‐4172
DAVID B WEIBEL CUST COLIN T WEIBEL UTMA OH     250 DANIEL BURNHAM SQ APT 603                                                                    COLUMBUS          OH    43215
DAVID B WEIBEL CUST KEVIN F WEIBEL UTMA OH     250 DANIEL BURNHAM SQ APT 603                                                                    COLUMBUS          OH    43215
DAVID B WELSH                                  23 DOOLIN DR                                                                                     WILLIAMSTOWN      WV    26187‐9775
DAVID B WHEATON                                114 SUNNYSIDE COURT                                                                              MILFORD           CT    06460‐3434
DAVID B WHISMAN                                1506 AUSTIN                                                                                      LINCOLN PARK      MI    48146‐2102
DAVID B WILKES JR                              912 EISENHOWER DR                                                                                AUGUSTA           GA    30904‐5910
DAVID B WOLF                                   8422 NORTHVIEW PASS                                                                              FAIR OAKS RANCH   TX    78015‐4921
DAVID B WOODBURY & MRS ELIZABETH WOODBURY JT 54 ROTARY DR                                                                                       SUMMIT            NJ    07901‐3115
TEN
DAVID B WOODWARD                               5263 HARVEST LN                                                                                  TOLEDO            OH    43623‐2222
DAVID B WRIGLEY                                711 SUNSET BLVD                                                                                  CAPE MAY          NJ    08204‐4132
DAVID B YOUNG                                  245 SUNNYBROOKE                                                                                  VERNON            MI    48476
DAVID BAGLEY & MRS MARY G BAGLEY JT TEN        18 TIMBERLINE DR                                                                                 POUGHKEEPSIE      NY    12603‐5546
DAVID BAILEY BROWN                             681 ROZELLE                                                                                      MEMPHIS           TN    38104‐5026
DAVID BAKER                                    127 BABBETTE DR                                                                                  DEPEW             NY    14043‐1252
DAVID BAKKEN                                   2903 N RAMBLER RD                                                                                MERCED            CA    95348‐3222
DAVID BALADES                                  1062 ORTEGA ST                                                                                   FILLMORE          CA    93015‐1721
DAVID BARGOWSKI JR                             53290 ZACHARY DRIVE                                                                              CHESTERFIELD      MI    48047‐6125
DAVID BARLOW                                   3231 RINDA LANE                                                                                  CINCINNATI        OH    45239‐5457
DAVID BARNES CARR                              3749 THE CTS                                                                                     GREENWOOD         IN    46143‐8650
DAVID BARRETT & KEVIN L BARRETT JT TEN         10342 MORNINGSIDE DRIVE                                                                          GARDEN GROVE      CA    92843‐4738
DAVID BARYJ                                    21550 GAFF CT                                                                                    SANTA CLARITA     CA    91350‐1769
DAVID BASINSKI JR & ALICE BASINSKI JT TEN      4530 LITCHFIELD DR                                                                               COPLEY            OH    44321‐1283
DAVID BASMAJIAN                                950 TOWER LN                                                                                     SAN MATEO         CA    94404‐2121
DAVID BATCHELOR                                12759 OXNARD ST                                                                                  NO HOLLYWOOD      CA    91606‐4420
DAVID BATEMA & DIANA BEYER BATEMA JT TEN       1210 N SEYMOUR ROAD                                                                              FLUSHING          MI    48433‐9406
DAVID BATTLE                                   #818                                    23300 PROVIDENCE DR                                      SOUTHFIELD        MI    48075‐3676
DAVID BELAEN                                   1690 GLENEAGLES DR                                                                               HIGHLAND          MI    48357‐4785
DAVID BENAVIDES                                2808 HERRICK DR                                                                                  LANSING           MI    48911‐1845
DAVID BENJAMIN & ELAINE E BENJAMIN JT TEN      5029 ROSWAY DR                                                                                   FLINT             MI    48506‐1527
DAVID BENJAMIN DUPUIS                          ROUTE 3                                                                                          MALONE            NY    12953
DAVID BENJAMIN LEFEVRE                         2116 W CONCORD PL                       FL 2                                                     CHICAGO           IL    60647
DAVID BENNETT & MRS ORPHA A BENNETT JT TEN     92 MILDRED LANE                                                                                  ASTON             PA    19014‐2005
DAVID BERNARD                                  15 ARROW PATH                                                                                    E BRIDGEWTR       MA    02333
DAVID BERSCHE                                  2128 SUMMERTOWN HWY                                                                              HOHENWALD         TN    38462‐5730
DAVID BEWICK                                   6979 WALKER NW RD                                                                                RAPID CITY        MI    49676‐9525
DAVID BIELSKI                                  815 DRSEY AVE                                                                                    ESSEX             MD    21221
DAVID BILINSKI                                 4814 WASHINGTON ST EXT                                                                           WILMINGTON        DE    19809‐2834
DAVID BISHOP BENEPE                            5901 WEDGMONT CIR N                                                                              FORT WORTH        TX    76133‐3602
DAVID BLANCHARD TEMPLETON                      1892 E DANSVILLE RD                                                                              DANSVILLE         MI    48819‐9739
DAVID BLAYDES & MRS SOPHIA BLAYDES JT TEN      652 BELLAIRE DR                                                                                  MORGANTOWN        WV    26505‐2421
DAVID BLOM CUST AARON BLOM                     17 GLENN TERRACE                                                                                 VINELAND          NJ    08360‐4912
DAVID BLOM CUST MICHAEL BLOM                   17 GLENN TERRACE                                                                                 VINELAND          NJ    08360‐4912
DAVID BLYSTONE                                 103 CALLAHAN ROAD                                                                                CANFIELD          OH    44406‐1306
DAVID BOARDWINE CUST JULIE ANNE BOARDWINE      833 E N BROADWAY ST                                                                              COLUMBUS          OH    43224‐3930
UTMA OH
DAVID BOEHMER HARDING & DAVID BRYAN HARDING JT 8 BRINY AVE APT 105                                                                              POMPANO BEACH     FL    33062‐5602
TEN
DAVID BOIES BOIES SCHILLER & FLEXNER LLP       333 MAIN ST                                                                                      ARMONK            NY    10504‐1812
DAVID BOJANOWSKI                               4950 MENOMINEE LN                                                                                CLARKSTON         MI    48348‐2276
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DAVID BONIN                                       8924 E MARCI LYNNE WAY                                                                             TUCSON          AZ    85747‐5624
DAVID BONIN TR UA 04/15/04 BONIN LIVING TRUST     8924 E MARCI LYNNE WAY                                                                             TUCSON          AZ    85747‐5624

DAVID BOSWELL III CUST DAVID BOSWELL IV UTMA TN   1288 SUELLEN WAY                                                                                   CLARKSVILLE     TN    37042

DAVID BOWMAN CUST BELLA BOWMAN UTMA IN            1701 RANDALLIA DR                                                                                  FORT WAYNE      IN    46805
DAVID BOWMAN CUST BRYNNA BOWMAN UTMA IN           1701 RANDALLIA DR                                                                                  FORT WAYNE      IN    46805

DAVID BRADY                                       1364 HOLLOWAY DR                        PETERBOROUGH ON                        K9J 6G2 CANADA
DAVID BRANDENBURG                                 515 LINTON CT                                                                                      BEAVERCREEK     OH    45430‐1544
DAVID BRASHEAR                                    2448 LANES MILL ROAD                                                                               HAMILTON        OH    45013‐9181
DAVID BRAZEALE                                    1750 HWY 128                                                                                       SPARKMAN        AR    71763‐8822
DAVID BRIAN CAMERON                               2401 VIA BILLANI                        APT 2025                                                   FORT WORTH      TX    76109
DAVID BRIAN SHEETS                                7537 BENTLEY DR APT A                                                                              INDIANAPOLIS    IN    46214
DAVID BRIAN SIGMAN                                28 LATIMORE WAY                                                                                    OWINGS MILLS    MD    21117‐6000
DAVID BRIAN SMITH                                 11218 WEST COUNTY RD 442                                                                           COOKS           MI    49817
DAVID BRIGHT & JEAN MARLYN HAY BRIGHT JT TEN      4262 KENNEBEC RD                                                                                   DIXMONT         ME    04932

DAVID BRODT & HALINA BRODT JT TEN             1659 52ND ST                                                                                           BROOKLYN        NY    11204‐1419
DAVID BRONNER CUST BENJAMIN BRONNER UNDER THE 3 FIRST NATIONAL PL 3500                                                                               CHICAGO         IL    60602‐5027
IL U‐T‐M‐A
DAVID BROOKS                                  633 E PIPER ST                                                                                         FLINT           MI    48505‐2875
DAVID BROOKS ACKERMAN                         101 LONGACRE DR                                                                                        CONROE          TX    77304
DAVID BROWN                                   1415 TACOMA STREET                                                                                     FLINT           MI    48503‐3785
DAVID BROWN                                   1310 LOCK RAVEN RD                                                                                     CHAMPAIGN       IL    61821‐1905
DAVID BROWN                                   9874 US 158 HWY                                                                                        CONWAY          NC    27820
DAVID BROYAN                                  BRITISH AMERICAN TOBACCO                    25 DU TOIT STREET    STELLENBOSCH      7600 SOUTH AFRICA
DAVID BRUCE ANDREWS                           3233 ORIOLE DRIVE                                                                                      HOOVER          AL    35226‐2709
                                                                                                                                                     BIRMINGHAM
DAVID BRUCE HARTLEY SR                            1207 E POLNELL SHORE DR                                                                            OAK HARBOR      WA    98277‐8614
DAVID BRUCE HEGEMAN                               109 N MERIDIAN ST                                                                                  NEWBERG         OR    97132‐2814
DAVID BRUCE MILLIRON                              6322 KELLY DR                                                                                      MILLERSBURG     MI    49759‐9502
DAVID BRUCE SLOTNIK                               5040 WARREN ST                                                                                     SKOKIE          IL    60077‐2912
DAVID BRUCE VAUGHAN                               201 OGLETHORPE DR NE                                                                               ATLANTA         GA    30319‐2767
DAVID BRUECKNER                                   W7867 RIEDEL LN                                                                                    FORT ATKINSON   WI    53538
DAVID BRUNT CUST HARTMAN BRUNT UTMA LA UNIF       PO BOX 8195                                                                                        CLINTON         LA    70722‐1195
TRAN MIN ACT
DAVID BRUNT CUST PHYLLIS BRUNT UTMA LA UNIF       PO BOX 8195                                                                                        CLINTON         LA    70722‐1195
TRAN MIN ACT
DAVID BRYAN CONNOLLY                              848 FELLSBURG RD                                                                                   BELLE VERNON    PA    15012‐4708
DAVID BRYAN DOWNING                               52‐510 DIAZ                                                                                        LA QUITA        CA    92253
DAVID BRYENTON                                    5316 GENNY DR                                                                                      MEDINA          OH    44256‐7010
DAVID BUNIN                                       APT 20‐I                                25 SUTTON PLACE S                                          NEW YORK        NY    10022‐2459
DAVID BUNT & TOMMY BUNT JT TEN                    PO BOX 818                                                                                         ABERDEEN        SD    57402‐0818
DAVID BUSCHART                                    8118 SOUTH SPRUCE CIRCLE                                                                           ENGLEWOOD       CO    80112‐3239
DAVID BUTLER                                      PO BOX 3206                                                                                        ALPHARETTA      GA    30023‐3206
DAVID BUXTON CAMPBELL                             2835 DOMINIQUE                                                                                     GALVESTON       TX    77551‐1570
DAVID C ALBRIGHT & DOROTHY T ALBRIGHT JT TEN      PO BOX 457                                                                                         LISBAN          IA    52253‐0457

DAVID C ALLEN                                     8095 STONEHEDGE RD                                                                                 GREGORY         MI    48137‐9753
DAVID C ANDERSON                                  389 KARTES DR                                                                                      ROCHESTER       NY    14616‐2126
DAVID C ANDERSON                                  6453 MAYVILLE ROAD                                                                                 MARLETTE        MI    48453‐9759
DAVID C BABIN                                     4006 TAMARACK TR                                                                                   AUSTIN          TX    78727‐2930
DAVID C BAILEY                                    725 ECONOMOU ROAD                                                                                  HUNTINGTON      VT    05462‐9637
DAVID C BAILEY                                    1243 HIRA                                                                                          WATERFORD       MI    48328‐1517
DAVID C BALLINGER                                 52198 RUE ABBE                                                                                     MATTAWAN        MI    49071‐9330
DAVID C BARRENTINE                                8508 JOSEPH ST                                                                                     GRAND BLANC     MI    48439‐8307
DAVID C BASSLER                                   4000 WOOD STREET                                                                                   SCHNECKSVILLE   PA    18078
DAVID C BAUMAN                                    477 VALLEY CLUB CIRCLE                                                                             LITTLE ROCK     AR    72212‐3450
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DAVID C BERTZ                                    21777 W TROWBRIDGE RD                                                                           MARTIN            OH    43445‐9738
DAVID C BLUE                                     6098 POINTE AUX PEAUX                                                                           NEWPORT           MI    48166‐9024
DAVID C BOECK                                    5350 SPAHR RD                                                                                   JAMESTOWN         OH    45335‐9734
DAVID C BOERM II & MELYNDA C BOERM JT TEN        13934 MYRTLEA DR                                                                                HOUSTON           TX    77079‐3304
DAVID C BOGDAN                                   1359 QUAKER CHURCH RD                                                                           STREET            MD    21154‐1713
DAVID C BOIKE CUST ALLISON RAE BOIKE UGMA MI     5311 ASHMONTE CT                                                                                ROCHESTER HILLS   MI    48306‐4797

DAVID C BONFIGLIO CUST CIANA JANTE BONFIGLIO     3317 GREENLEAF BLVD                                                                             ELKHART           IN    46514‐4458
UTMA IN
DAVID C BOSCHERT                                 3221 THRUSH                                                                                     ST CHARLES        MO    63301‐0445
DAVID C BOWMAN                                   2705 LEDGEWOOD CT                                                                               ROCHESTER HILLS   MI    48306‐2382
DAVID C BOWMAN                                   2705 LEDGEWOOD CT                                                                               ROCHESTER HLS     MI    48306‐2382
DAVID C BROOKS                                   704 PHILADELPHIA DR                                                                             KOKOMO            IN    46902‐4975
DAVID C BROWDER                                  12205 LUCAS LANE                                                                                ANCHORAGE         KY    40223‐1538
DAVID C BROWN                                    11 RAVENHILL RD                                                                                 PHOENIXVILLE      PA    19460‐2931
DAVID C BUFFINGTON                               28 BODDINGTON COURT                                                                             ASHVILLE          NC    28803
DAVID C BURTON                                   6235 WILLIS RD                                                                                  YPSILANTI         MI    48197‐8996
DAVID C BUTZINE                                  13610 HANOVER CT                                                                                APPLE VALLEY      MN    55124‐9568
DAVID C CALCATERRA & ROBIN L CALCATERRA JT TEN   204 JAMES AVE                                                                                   FRANKLIN          TN    37064‐3835

DAVID C CARRUTH & BETTY E CARRUTH JT TEN         7206 DANFORD LANE                                                                               SPRINGFIELD       VA    22152‐3514
DAVID C CAVANAUGH                                1703 PLEASANTVILLE DR                                                                           GLEN BURNIE       MD    21061‐2126
DAVID C CHAMBERLIN                               77 GORSLINE ST                                                                                  ROCHESTER         NY    14613‐1203
DAVID C CHILDERS                                 426 TAYLOR STREET                                                                               CUYAHOGA FALL     OH    44221‐5036
DAVID C CLARKE & JUDITH C CLARKE JT TEN          20250 LAKEMORE DR                                                                               CANYON COUNTRY    CA    91351‐1057

DAVID C CLAVETTE                                 8951 STONGEGATE DR                                                                              CLARKSTON         MI    48348‐2583
DAVID C COFFMAN                                  135                                    7279 N ST RD                                             MORGANTOWN        IN    46160‐8819
DAVID C COLLINS JR                               235 HAWKES CT                                                                                   HOCKESSIN         DE    19707‐1351
DAVID C COLTON JR                                452 LOOMIS ST                                                                                   WESTFIELD         MA    01085‐3924
DAVID C COLVIN                                   PO BOX 2352                                                                                     GASTONIA          NC    28053‐2352
DAVID C COLYER                                   604 QUAIL RIDGE DR                                                                              TRAVERSE CITY     MI    49686‐2047
DAVID C COOK                                     6732 LINACRE CT                                                                                 BRIGHTON          MI    48114‐7424
DAVID C CRANICK                                  3250 DAVISBURG ROAD                                                                             DAVISBURG         MI    48350‐2225
DAVID C CRANICK & VIRGINIA P CRANICK JT TEN      3250 DAVISBURG RD                                                                               DAVISBURG         MI    48350‐2225
DAVID C DANIELS                                  6338 VILAS RD                                                                                   SPENCER           IN    47460‐5175
DAVID C DANIELS                                  3 N THIRD AVE                                                                                   MAYWOOD           IL    60153‐1613
DAVID C DECATUR                                  394 UPLAND RD                                                                                   WATHA             NC    28478‐4401
DAVID C DECKER                                   5 WILLETTA DR                                                                                   JACKSON           NJ    08527
DAVID C DECLERCK                                 8765 INDIAN TRAIL                                                                               CLARKSTON         MI    48348‐2537
DAVID C DEMENT                                   RTE 1                                                                                           IRONTON           MO    63650‐9801
DAVID C DEMORA                                   426 EAST EVENS RD                                                                               VIOLA             DE    19979‐1226
DAVID C DITMER                                   PO BOX 406                                                                                      CHECOTAH          OK    74426
DAVID C DODGE                                    4239 FOX LAKE DRIVE                                                                             FAIRFAX           VA    22033‐2858
DAVID C DONAKOSKI                                7331 GREEN VALLEY DR                                                                            GRAND BLANC       MI    48439‐8195
DAVID C DONAKOSKI & DIXIE N DONAKOSKI JT TEN     7331 GREEN VALLEY DR                                                                            GRAND BLANC       MI    48439‐8195

DAVID C DONAVAN                                  1936 STOCKWELL DR                                                                               COLUMBUS          OH    43235‐7372
DAVID C DOTY                                     1001 PIKEVIEW STREET                                                                            LAKEWOOD          CO    80215‐4625
DAVID C DOUGLAS                                  6496 BLACKBERRY CIR                                                                             HAMILTON          OH    45011‐1203
DAVID C DUNSMORE                                 4657 COOPER ROAD                                                                                LESLIE            MI    49251‐9739
DAVID C DWYER                                    2210 W STOKER                                                                                   SAGINAW           MI    48604‐2442
DAVID C EASTON                                   4588 HOWARD AVE                        WINDSOR ON                             N9G 1P4 CANADA
DAVID C EICLHORN                                 6452 WERK RD                                                                                    CINCINNATI        OH    45248‐2927
DAVID C ELTRINGHAM                               614 SOUTHARKE RD                                                                                BEL AIR           MD    21014‐5222
DAVID C EVANS                                    9247 W COUNTY ROAD 650 N                                                                        MIDDLETOWN        IN    47356‐9804
DAVID C FANTER & ARLEEN C FANTER JT TEN          4276 HWY 441 S                                                                                  OKEECHOBEE        FL    34974
DAVID C FARISS                                   65 CREEK DRIVE                         WINDING CREEK VILLAGE                                    MILLSBORO         DE    19966‐9678
DAVID C FENING & MARGARET M FENING JT TEN        6528 HAMPTON                                                                                    PORTAGE           MI    49002
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DAVID C FETTERMAN                                3834 ROLLING CIRCLE                                                                                        VALRICO            FL    33594‐5316
DAVID C FIELDS                                   9382 CHERRYWOOD                                                                                            CLARKSTON          MI    48348‐2502
DAVID C FIGGS JR                                 13017 BRIERSTONE DR                                                                                        STERLING HEIGHTS   MI    48312‐1605

DAVID C FINLEY                                   122 FREDERICKA ST                                                                                          NORTH              NY    14120‐6532
                                                                                                                                                            TONAWANDA
DAVID C FISCHER                                  19 DYER ROAD                                                                                               LEWISTON           ME    04240‐1314
DAVID C FISCHER                                  66 HURLBUT ST                                                                                              WESTWOOD           NJ    07675‐2915
DAVID C FISHER                                   817 S FRANKLIN                                                                                             BRAZIL             IN    47834‐3030
DAVID C FLIPPO                                   C/O MRS TINA JEAN FLIPPO EX          417 ATOMIC RD                                                         NORTH AUGUSTA      SC    29841‐4201
DAVID C FORREST                                  7351 STATE ROUTE 45                                                                                        NORTH              OH    44450‐9780
                                                                                                                                                            BLOOMFIELD
DAVID C FOSS                                     8509 W 142ND ST                                                                                            OVERLAND PARK      KS    66223‐2569
DAVID C FRALICK                                  1915 PARK ROAD                                                                                             ANDERSON           IN    46011‐3956
DAVID C FRESHOUR                                 RT 4                                 3071 DENNY RD                                                         RAVENNA            OH    44266‐9442
DAVID C GARDNER                                  1159 WILDWOOD DR                                                                                           KOKOMO             IN    46901‐1802
DAVID C GARLAND & MARION W GARLAND JT TEN        A 321 VALLEY VIEW TERRACE                                                                                  BELLEVILLE         PA    17004‐8692

DAVID C GARRETSON                                270 HICKORY HEIGHTS DR                                                                                     BRIDGEVILLE        PA    15017‐1083
DAVID C GAUER                                    7788 POST TOWN RD                                                                                          DAYTON             OH    45426‐3416
DAVID C GEIERSBACH                               11245 ADAMS                                                                                                WHEELER            MI    48662‐9722
DAVID C GIFFORD                                  19514 CRESCENT BEACH RD                                                                                    THREE RIVERS       MI    49093‐8004
DAVID C GILBERT JR & MARGARET M GILBERT JT TEN   41476 AYRSHIRE DRIVE                                                                                       CANTON             MI    48188‐1229

DAVID C GOEBELS                                  28490 WILLET DR                                                                                            NORTH OLMSTED      OH    44070‐3055
DAVID C GONOS                                    212 N 22ND ST                                                                                              KENILWORTH         NJ    07033
DAVID C GREIG                                    PO BOX 126                                                                                                 THOMPSON           OH    44086‐0126
DAVID C GRIEP                                    9923 BERWICK                                                                                               LIVONIA            MI    48150‐2815
DAVID C GUMPPER                                  1081 OAKLAKE TRL                                                                                           WATKINSVILLE       GA    30677
DAVID C HALL                                     637 EARLS TR NE                                                                                            BROOKHAVEN         MS    39601‐8070
DAVID C HARNETT                                  4815 S INGHAM RD                                                                                           LANSING            MI    48910
DAVID C HAWKINS                                  153 BISCAYNE WAY                                                                                           FOLSOM             CA    95630‐6760
DAVID C HEILMAN & JANYTH J HEILMAN JT TEN        1813 TIMBER COURT                                                                                          KOKOMO             IN    46902
DAVID C HELLMAN                                  937 RUFFNER AVE                                                                                            BIRMINGHAM         MI    48009‐3658
DAVID C HELTON & LINDA M HELTON JT TEN           10903 KEENE RD                                                                                             LOUISVILLE         KY    40241‐4861
DAVID C HEMPLER                                  2476 KENTHA CT                                                                                             HOLLY              MI    48442‐8323
DAVID C HENDRICKSON                              2808 LEMONS BEACH ROAD W                                                                                   TACOMA             WA    98466‐1721
DAVID C HENSLEY                                  46 POTTER DRIVE                                                                                            BELLEVILLE         MI    48111‐3608
DAVID C HILL                                     PO BOX 144                                                                                                 INDIAN RIVER       MI    49749‐0144
DAVID C HOCKADAY                                 2565 VARSITY LN                                                                                            HOLT               MI    48842‐9781
DAVID C HOLLAND                                  14636 PINE LAKE ST                                                                                         CLERMONT           FL    34711‐7170
DAVID C HOLLOWAY                                 6 PINEBARK CT                                                                                              BRINKLOW           MD    20862‐9716
DAVID C HOMRICH                                  2687 VALLEYDALE DR NW                                                                                      GRAND RAPIDS       MI    49534‐1379
DAVID C HOPP                                     3421 BOWERS RD                                                                                             ATTICA             MI    48412‐9392
DAVID C HOWELL                                   334 COUNTY ROAD 402                                                                                        SCOTTSBORO         AL    35768‐6535
DAVID C HUBINGER                                 2636 MAJESTIC DR                                                                                           WILMINGTON         DE    19810‐2446
DAVID C HUBINGER & MRS MARY E HUBINGER JT TEN    2636 MAJESTIC DR                                                                                           WILMINGTON         DE    19810‐2446

DAVID C HUGHES                                   PO BOX 877                                                                                                 STANWOOD           WA    98292‐0877
DAVID C J CATO                                   47 THE PASTURES                      EDLESBOROUGH         DUNSTABLE BEDSFORDSHIRE   ENLAND LU6 2HL GREAT
                                                                                                                                     BRITAIN
DAVID C JAROS                                    1531 SPRING PLACE RD                                                                                       LEWISBURG          TN    37091‐4435
DAVID C JOHANSSON                                12502 BRITTON DR                                                                                           CLEVELAND          OH    44120‐1009
DAVID C JOHNSON                                  1466 SHEFFIELD DR                                                                                          SAGINAW            MI    48638‐5548
DAVID C JOHNSTON                                 8151 CAMPBELL                                                                                              TAYLOR             MI    48180‐2556
DAVID C JONES                                    351 PLYMOUTH BEACH RD                                                                                      INDIAN RIVER       MI    49749‐9772
DAVID C JONES                                    8613 SOMERSET RD                                                                                           CEMENT CITY        MI    49233‐9688
DAVID C JONES & BETTY M JONES TR UA 01/15/92     1249 GREEN RIDGE                                                                                           ROCHESTER HILLS    MI    48309‐2922
DAVID & BETTY JONES TRUST
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DAVID C JUDSON                                    121 EXLEY RD                                                                                          PLAINFIELD        CT    06374‐1518
DAVID C KALMAN                                    29705 MAGNOLIA DR                                                                                     FLAT ROCK         MI    48134‐1377
DAVID C KANISTANAUX                               APT 5D                               145 E 16TH ST                                                    NEW YORK          NY    10003‐3425
DAVID C KAY & KRISTA A KAY JT TEN                 10941 ALEXANDRA CT                                                                                    INVER GROVE       MN    55077‐5463
DAVID C KEE                                       14224 ABBOTS WOOD TERR                                                                                MIDLOTHIAN        VA    23113‐3753
DAVID C KERR                                      10013 BUSHVELD LANE                                                                                   ROLIEGH           NC    27613‐6145
DAVID C KING                                      323 SHERMAN                                                                                           LESLIE            MI    49251‐9487
DAVID C KING & JOAN M KING JT TEN                 2524 S 27 TH                                                                                          SAGINAW           MI    48601‐6753
DAVID C KRAK                                      6964 KINNE ST                                                                                         EAST SYRACUSE     NY    13057‐1028
DAVID C KREUTZ                                    40 PRINCETON                                                                                          DEPEW             NY    14043‐2814
DAVID C KRIMENDAHL II                             4739 PINE HOLLOW ROAD                                                                                 HOLLAND           MI    49423‐7350
DAVID C KURTZ TR UA 06/11/94 THE KURTZ TRUST      1000 KINGS HWY UNIT 485                                                                               PT CHARLOTTE      FL    33980‐5216

DAVID C LADD                                      2180 WINSTON VIEW                                                                                     CEDAR SPRINGS     MI    49319‐7928
DAVID C LARNED CUST DAVID C LARNED JR UGMA NY     705 N DUPONT ROAD                                                                                     WILMINGTON        DE    19807‐2917

DAVID C LARSON                                    474 W DELAVAN DR                                                                                      JANESVILLE        WI    53546‐2558
DAVID C LASKOSKY                                  30262 N STOCKTON                                                                                      FARMINGTON        MI    48336‐3442
DAVID C LAUER & PHYLLIS LAUER JT TEN              16568 GUYERS FORD DR                                                                                  BOONVILLE         MO    65233‐3628
DAVID C LEVINE                                    1560‐1 NEWBURY RD                    BOX 322                                                          NEWBURY PARK      CA    91320‐3448
DAVID C LIND & JANE MARIE LIND JT TEN             2114 EAST ROCK CREEK DR                                                                               BLOOMINGTON       IN    47401‐6876
DAVID C LINDER                                    118 6TH ST                                                                                            ALLEGAN           MI    49010‐1644
DAVID C LINGELBACH                                9 HILLTOP RD                                                                                          SILVER SPRING     MD    20910‐5447
DAVID C LORING                                    75 WEST ST #16F                                                                                       NEW YORK          NY    10006‐1799
DAVID C LOWE                                      2523 NIGHTHAWK AVE                                                                                    SCHOOLCRAFT       MI    49087‐8802
DAVID C LUCK                                      203 NORFOLK DR                                                                                        ALEXANDRIA        IN    46001‐1227
DAVID C MACLAY JR                                 2722 LINE LEXINGTON RD                                                                                HATFIELD          PA    19440‐2011
DAVID C MALM                                      540 E WILSON AVE                                                                                      SALT LAKE CITY    UT    84105‐2941
DAVID C MATSON                                    6605 QUAIL RIDGE LANE                                                                                 FORT WAYNE        IN    46804‐2875
DAVID C MC KAY                                    C/O ISABELL MCKAY                    303 B WHEELER ST                                                 TONAWANDA         NY    14150‐3828
DAVID C MEALING                                   885 ATHENA DR                                                                                         ALBION            MI    49224‐9162
DAVID C MESSINGER                                 2042 SE GIFFEN AVE                                                                                    PORT ST LUCY      FL    34952‐5824
DAVID C MEYER                                     10349 THE BEND ROAD                                                                                   DEFIANCE          OH    43512‐9710
DAVID C MILLER                                    1209 STRAKA TERR                                                                                      OKLAHOMA CITY     OK    73139‐2520
DAVID C MILLER                                    36 CLARK ST                                                                                           MANASQUAN         NJ    08736‐3410
DAVID C MILLER & NANCY J MILLER JT TEN            10370 OLD 3C HWY                                                                                      CLARKSVILLE       OH    45113‐9506
DAVID C MORITZ                                    5505 N MAPLE RIVER RD                                                                                 ELSIE             MI    48831‐9716
DAVID C MORRILL                                   7618 RANDY                                                                                            WESTLAND          MI    48185‐5569
DAVID C MORRILL & PATRICIA ANN MORRILL JT TEN     7618 RANDY ST                                                                                         WESTLAND          MI    48185‐5569

DAVID C MOSHER                                    2833 SANDHURST                                                                                        ROCHESTER HILLS   MI    48307‐4528
DAVID C MUSCARO                                   261 WOODCREEK CT                                                                                      COMMERCE TWP      MI    48390‐1275
DAVID C NABOZNY                                   476 DUANE DRIVE                                                                                       N TONAWANDA       NY    14120‐4138
DAVID C NANCE & MELISSA C NANCE JT TEN            418 ROBBINS AVE                                                                                       SUMTER            SC    29150
DAVID C NEIDLINGER                                2141 PARKER PL                                                                                        BREMERTON         WA    98310‐4521
DAVID C NICHOLAS                                  400 DOWNY MEADE CT                                                                                    FRANKLIN          TN    37064‐5055
DAVID C NICHOLSON                                 GMHA                                 241 SALMON PT MELBOURNE   3207 VICTORIA AUST   AUSTRALIA
DAVID C NIETHAMER                                 6570 CARLTON CENTER RD                                                                                WOODLAND          MI    48897‐9720
DAVID C NIX                                       429A HIGHWAY 2 NE                                                                                     CORINTH           MS    38834‐6918
DAVID C NORRIS                                    9941 SW 154TH PL                                                                                      MIAMI             FL    33196‐3819
DAVID C NOYES                                     16695 PINE DUNES CT                                                                                   GRAND HAVEN       MI    49417‐8807
DAVID C NYQUIST & KRYSTN D NYQUIST JT TEN         7506 CAPRI DR                                                                                         CANTON            MI    48187‐1802
DAVID C O'CONNOR                                  PO BOX 17812                                                                                          ROCHESTER         NY    14617‐0812
DAVID C O'MARA                                    537 BEAHAN RD                                                                                         ROCHESTER         NY    14624‐3403
DAVID C OLSON & MARGARET A OLSON JT TEN           510 N FAIRVIEW ST                                                                                     BURBANK           CA    91505‐3247
DAVID C OTT                                       PO BOX 596                                                                                            CIMARRON          NM    87714‐0596
DAVID C PALERMO                                   25514 ROCKY WALK COURT                                                                                KATY              TX    77494‐4776
DAVID C PAPENFUSS                                 315 HAZELTON ROAD                                                                                     OWOSSO            MI    48867‐9023
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DAVID C PARENT CUST ALLISON C PARENT UTMA PA    2660 ST ANDREWS WAY                                                                           YORK               PA    17404‐9798

DAVID C PARENT CUST JORDAN H PARENT UTMA PA     2660 ST ANDREWS WAY                                                                           YORK               PA    17404‐9798

DAVID C PERKETT                                 1565 INDIAN RD                                                                                LAPEER             MI    48446‐8054
DAVID C PETERS                                  3419 PINEWAY                                                                                  TOLEDO             OH    43614‐4147
DAVID C PIERCE                                  2516 CALIFORNIA AVENUE                                                                        DAYTON             OH    45419‐2716
DAVID C PIERSOL                                 4218 SOTH AVE                                                                                 BALTIMORE          MD    21236‐1729
DAVID C PRICE                                   46 HARLEY CIRCLE                                                                              FAIRFIELD GLADE    TN    38558‐2659
DAVID C PRICHARD                                315 W FRANKLIN ST/BOX 226                                                                     CLINTON            MI    49236‐9744
DAVID C PUNG                                    735 IONIA ST                                                                                  PORTLAND           MI    48875‐1028
DAVID C QUAAL                                   5660 MCGRANDY RD                                                                              BRIDGEPORT         MI    48722‐9781
DAVID C RADABAUGH                               304 E FISHER ST                                                                               BAY CITY           MI    48706‐4604
DAVID C RAMSDELL                                4 WILDBROOK DR                                                                                BIDDEFORD          ME    04005‐9773
DAVID C REEVES                                  PO BOX 415                                                                                    TYLERTOWN          MS    39667‐0415
DAVID C RESPOSO                                 12230 SW 68TH CT                                                                              PINECREST          FL    33156‐5418
DAVID C ROTH                                    303 SHAWNEE VIEW                                                                              LOUDON             TN    37774‐3247
DAVID C SALMI                                   2102 BEVERLY CT                                                                               HAMPSTEAD          MD    21074‐2545
DAVID C SAYLER                                  7790 BERKEY HWY                                                                               BLISSFIELD         MI    49228‐0030
DAVID C SCHAEFER                                6354 KINGS CT                                                                                 FLUSHING           MI    48433‐3524
DAVID C SCHLEE                                  2369 PINCH HGWY                                                                               CHARLOTTE          MI    48813‐9726
DAVID C SCHNEIDER                               204 MEADOWS N CI                                                                              WIXOM              MI    48393‐4015
DAVID C SCHWEITZER                              5142 HOLLISTER AVE                   #246                                                     SANTA BARBARA      CA    93111‐2526
DAVID C SCILEPPI                                10928 NW 18TH DR                                                                              PLANTATION         FL    33322‐3442
DAVID C SCOTT                                   54036 BIRCHFIELD DR W                                                                         SHELBY TWP         MI    48316
DAVID C SENFT                                   41 ROSLYN DR                                                                                  CHESHIRE           CT    06410‐3641
DAVID C SIMS                                    PO BOX 42422                                                                                  TUCSON             AZ    85733‐2422
DAVID C SIPSON                                  4880 KECK ROAD                                                                                LOCKPORT           NY    14094‐3520
DAVID C SKINNER JR                              3944 WONDERLAND HILL AVE                                                                      BOULDER            CO    80304‐1037
DAVID C SLEEPER                                 PO BOX 21                                                                                     S THOMASTON        ME    04858‐0021
DAVID C SMALLWOOD & HELEN B SMALLWOOD TEN       136 E NORWOOD COURT                                                                           SAN ANTONIO        TX    78212‐2388
COM
DAVID C SMITH                                   10013 COTTONWOOD RD                                                                           LAUREL             DE    19956
DAVID C SMITH                                   PO BOX 3723                                                                                   PINEHURST          NC    28374‐3723
DAVID C SMITH                                   7426 JACKSON RIDGE ROAD                                                                       ROCKVALE           TN    37153
DAVID C SMITH                                   3522 N PIEDRA CIRCLE                                                                          MESA               AZ    85207‐1168
DAVID C SMITH & LADONNA S SMITH JT TEN          25 VANART LN                                                                                  LEWISTOWN          PA    17044‐9512
DAVID C SMITH JR                                160 BRIARHILL RD                                                                              BUFFALO            NY    14221‐1811
DAVID C SPARKS                                  14626 LOMA AVE                                                                                SPRINGHILL         FL    34610‐3855
DAVID C STAELGRAEVE                             11843 ZATKO DR                                                                                IDA                MI    48140‐9781
DAVID C STEPHENSON                              126 S 19TH ST                                                                                 SAGINAW            MI    48601‐1441
DAVID C STIFF                                   11328 WOODBRIDGE DR                                                                           GRAND BLANC        MI    48439‐1023
DAVID C SZCZESNIAK                              2885 GROVES DR                                                                                STERLING HEIGHTS   MI    48310‐3631

DAVID C TARRER                                  6772 RIOCA CIR                                                                                MABLETON           GA    30126‐4528
DAVID C THOMPSON                                41 SMITH ST                                                                                   W ALEXANDRIA       OH    45381
DAVID C TIGARD & SANDRA L TIGARD JT TEN         3733 NORTHEAST 67TH                                                                           PORTLAND           OR    97213‐5105
DAVID C TRIPP                                   5427 SAND CREEK HIGHWAY                                                                       ADRIAN             MI    49221
DAVID C TURNER                                  1029 JASMINE LANE                                                                             MIDWEST CITY       OK    73110‐7320
DAVID C ULLMANN                                 171 RIVER PARK DR                                                                             GREAT FALLS        VA    22066‐3543
DAVID C VALE                                    1002 HIGH MEADOWS COURT                                                                       LATROBE            PA    15650‐9532
DAVID C VALENCIA                                2416 KOPKA CT                                                                                 BAY CITY           MI    48708‐8167
DAVID C VALENCIA & GLORIA J VALENCIA JT TEN     2416 KOPKA CT                                                                                 BAY CITY           MI    48708‐8167
DAVID C VAN ZILE                                2038 CAVENDALE DR                                                                             ROCK HILL          SC    29732‐8302
DAVID C VANDEVENTER                             3851 EATON HWY                                                                                SUNFIELD           MI    48890‐9786
DAVID C VANZANDT                                1062 CARTER DR                                                                                FLINT              MI    48532‐2712
DAVID C VICKNAIR                                PO BOX 597                                                                                    LOLO               MT    59847‐0597
DAVID C VIELHABER                               3322 SAGE CT                                                                                  ST LOUIS           MO    63129‐2445
DAVID C VOGT                                    13321 28 MILE RD                                                                              WASHINGTON         MI    48094‐1732
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DAVID C WAHL CUST EMMA ROSE WAHL UGMA TX        2064 SUMMITVIEW DR                                                                            LONGMONT         CO    80501‐7761

DAVID C WARREN                                  674 LAKEVIEW DRIVE                                                                            SOUTH CHINA      ME    04358
DAVID C WATSON & BRUCE D WATSON JT TEN          341 N WOLF CREEK ST F                                                                         BROOKVILLE       OH    45309‐1205
DAVID C WEIGAND                                 5105 SHANKS‐PHALANX RD                                                                        NEWTON FALLS     OH    44444‐9515
DAVID C WETHERILL                               1242 FOREST WALK DR                                                                           DAYTON           OH    45459‐4904
DAVID C WHITE                                   420 SCHOOL ST                                                                                 MANSFIELD        MA    02048‐1812
DAVID C WHITE & PATRICE WHITE JT TEN            6216 NE BARRETT DR                                                                            POULSBO          WA    98370‐7701
DAVID C WHITE JR                                UNIT 1401 PELICAN PT                 1901 N FIRST ST                                          JACKSONVILLE     FL    32250‐7478
                                                                                                                                              BEACH
DAVID C WHITEAKER                               9888 COLEDALE                                                                                 WHITE LAKE       MI    48386‐2832
DAVID C WHITEHEAD JR                            4305 CARY STREET RD                                                                           RICHMOND         VA    23221‐2527
DAVID C WILDS                                   530 OLD JONESBORO RD                                                                          CHUCKEY          TN    37641‐6077
DAVID C WOOD                                    10156 SETTLEMENT HOUSE RD                                                                     CENTERVILLE      OH    45458‐9523
DAVID C WOOD & DORIS L WOOD JT TEN              1131 MARSHA COURT                                                                             MIAMISBURG       OH    45342‐3221
DAVID C YARGER                                  11578 HAYLOCK                                                                                 DAVISBURG        MI    48350‐3555
DAVID CADENA CUST GRAHAM MATTHEW CADENA         4674 CATHER AVE                                                                               SAN DIEGO        CA    92122‐2702
UTMA CA
DAVID CAIN                                      11273 GENESEE RDRD                                                                            CLIO             MI    48420‐9707
DAVID CALHOUN                                   6426 DICKS AVE                                                                                PHILADELPHIA     PA    19142‐3019
DAVID CALOMESE JR                               5157 VIA BAJAMAR                                                                              HEMET            CA    92545‐5420
DAVID CAMPOS                                    1153 MC KINSTRY                                                                               DETROIT          MI    48209‐3813
DAVID CANDEL CUST RITA JUSTINE CANDEL UTMA OH   3652 SMITH STEWART RD W                                                                       NILES            OH    44446‐4425

DAVID CANDIB                                    6699 SW 92ND ST                                                                               MIAMI            FL    33156‐1867
DAVID CANON CUST BENJAMIN CANON UTMA IL         2840 W 99TH ST                                                                                EVERGREEN PARK   IL    60805
DAVID CAPRA                                     186 BEACON ST                                                                                 NEWINGTON        CT    06111‐4755
DAVID CARDINAL                                  14608 WATERSIDE DR                                                                            CHARLOTTE        NC    28278‐7355
DAVID CARILLI                                   37 QUINDOME DRIVE                                                                             NEW CASTLE       DE    19720‐5173
DAVID CARL BUCK                                 650 ANCHOR PT                                                                                 DELRAY BEACH     FL    33444‐1773
DAVID CARLILE & KAREN CARLILE JT TEN            1743 CHANDLERS LNDG                                                                           MESQUITE         TX    75181‐4611
DAVID CARMICHAEL CUST KYLE CARMICHAEL UTMA AZ   14515 E ELGIN ST                                                                              GILBERT          AZ    85296‐6611

DAVID CARR                                      16030 BEATRICE                                                                                ALLEN PARK       MI    48101‐2750
DAVID CARTER                                    3625 N 15TH STREET                                                                            MILWAUKEE        WI    53206‐2304
DAVID CASAPULLA                                 743 SOUTHWOOD RD                                                                              HOCKESSIN        DE    19707‐9256
DAVID CASE GDN CHRISTOPHER LEEKS                54 SHINING STAR CIR                  STITTSVILLE ON                         K2S 2B4 CANADA
DAVID CATANIA                                   1742 QUEEN ST E                      TORONTO ON                             M4L 1G7 CANADA
DAVID CELESTE & MRS MARIE CELESTE JT TEN        BOX 213‐A RD #2                                                                               WYALUSING        PA    18853‐0213
DAVID CEPLER                                    3070 GRAND AVE                                                                                BALDWIN          NY    11510‐4523
DAVID CERNE                                     69 MUDDY RUN RD                                                                               FRENCHTOWN       NJ    08825
DAVID CERVENAN & LINDA CERVENAN JT TEN          3385 S SUNRISE LANE                                                                           LAKE LEELANAU    MI    49653‐9524
DAVID CHAPLIN                                   92 RAYMOND RD                                                                                 BRUNSWICK        ME    04011‐7359
DAVID CHARLES ALEXANDER                         PO BOX 2957                                                                                   AUBURN           AL    36831‐2957
DAVID CHARLES CLEAVER CUST DAVID C CLEAVER UGMA 6099 GREENBRIAR TER                                                                           FAYETTEVILLE     PA    17222‐9671
PA
DAVID CHARLES GLEASON SR                        1835 38TH ST                                                                                  MERIDIAN         MS    39305‐3863
DAVID CHARLES LEWIS & PATRICIA JOAN LEWIS       4709 MALERO PLACE                                                                             SAN JOSE         CA    95129‐1455
COMMUNITY PROPERTY
DAVID CHARLES LIFKA CUST MATTHEW JOSEPH LIFKA   1251 GOLF CIR                                                                                 WHEATON          IL    60187‐6330
UGMA IL
DAVID CHARLES OFSHINSKY                         47 MORRIS AVE                                                                                 WEST MILFORD     NJ    07480‐1118
DAVID CHARLES REDFIELD                          13812 MERCADO DR                                                                              DEL MAR          CA    92014‐3125
DAVID CHARLES TOREK                             9601 N CAROUSEL CIR                                                                           SUMMERVILLE      SC    29485‐9002
DAVID CHAVEZ                                    7723 COHN ST                                                                                  NEW ORLEANS      LA    70118‐4136
DAVID CHILDS                                    1908 RIDGE OAK                                                                                FORT WORTH       TX    76112‐4066
DAVID CHILTON                                   413 E BALTIMORE                                                                               FLINT            MI    48505‐3375
DAVID CHOWN                                     3797 PLEASANT RIDGE DR                                                                        WILLIAMSBURG     MI    49690‐9323
DAVID CHRISTIAN ANDERSEN                        2236 OLD BROOKE LANE                                                                          DUNWOODY         GA    30338‐3171
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DAVID CHRISTIANSON                               112 DUNN RD                                                                                             ASHBURNHAM       MA    01430‐3042
DAVID CLANCY                                     LOT 49‐WELLINGTON RD                   TYAHH VICTORIA                                3913 AUSTRALIA
DAVID CLARENCE MILLER                            PO BOX 549                                                                                              ST HELEN         MI    48656‐0549
DAVID CLARK                                      PO BOX 827                                                                                              BISCOE           NC    27209
DAVID CLARK II                                   1123 EAST LAKE DR                                                                                       NOVI             MI    48377‐1438
DAVID CLARK JR                                   63 COVINGTON                                                                                            BUFFALO          NY    14216‐2101
DAVID CLOW & JESS CLOW JT TEN                    P O BOX 985 AB                                                                       T0G 0P0 CANADA
DAVID COE STONE                                  BOX 882                                                                                                 WOLFEBORO        NH    03896‐0882
DAVID COHEN CUST ANDREA R COHEN UGMA RI          324 RUMSTICK RD                                                                                         BARRINGTON       RI    02806‐4935
DAVID COHEN CUST JEFFREY COHEN UGMA NY           26 WALDEN FIELDS DR                                                                                     DELMAR           NY    12054‐9737
DAVID COHEN CUST MEREDITH COHEN UGMA RI          3 FRANCES STREET                                                                                        NEEDHAM          MA    02492‐1517
DAVID COKER                                      1230 BERKSHIRE DR                                                                                       WILLIAMSTON      MI    48895
DAVID COLE                                       12 WILD APPLE LANE                                                                                      OLD SAYBROOK     CT    06475‐1135
DAVID COLEMON HUGGINS                            307 PORTER AVE                                                                                          BUFFALO          NY    14201‐1031
DAVID COLLINS                                    6429 N GLENWOOD AVE                    #2                                                               CHICAGO          IL    60626‐5111
DAVID COMBES TAYLOR                              272 WALNUT ST                                                                                           BROOKLINE        MA    02445‐6734
DAVID CONRAD WALTZ                               98 ANDOVER CT                                                                                           FREDERICK        MD    21702‐3792
DAVID COOPER                                     193 HILLSIDE BOULEVARD                                                                                  DALY CITY        CA    94014‐1878
DAVID COOPER REES                                3 AVE DES FRENES                       TROINEX GENEVA                                1256 SWITZERLAND
DAVID COQUOZ                                     544 VILLAGE WAY                                                                                         GRAND JUNCTION   CO    81503‐1266

DAVID CORDERO TORRES                             6932 W COMET AVENUE                                                                                     PEORIA           AZ    85345
DAVID CORDOVA                                    33 MERANO                                                                                               LAGUNA NIGUEL    CA    92677‐8606
DAVID CORNE II                                   42 INLET COVE LOOP                                                                                      SLIDELL          LA    70458
DAVID COSTANTINO                                 4560 MIAMI WAY                                                                                          SAN DIEGO        CA    92117‐3820
DAVID COSTANZA                                   29 GASLIGHT TRAIL                                                                                       WILLIAMSVILLE    NY    14221‐2206
DAVID COTTON                                     17150 ANNA                                                                                              SOUTHFIELD       MI    48075‐2957
DAVID COUNTS                                     122 CATHEDRAL OAKS                                                                                      FOREST CITY      IA    50436‐2225
DAVID COURTNEY CARTER                            5204 SHOAL CREEK BLVD                                                                                   AUSTIN           TX    78756‐1813
DAVID CRAIG TUCKER & NANCY SUE TUCKER JT TEN     7258 PORTER RD                                                                                          GRAND BLANC      MI    48439‐8546

DAVID CRAMER CUST WARREN CRAMER U/THE PA         4533 FRANKFORD AVE                                                                                      PHILADELPHIA     PA    19124‐3638
UNIFORM GIFTS TO MINORS ACT
DAVID CRANDELL                                   1025 JOHNSON                                                                                            MORTON           IL    61550‐2308
DAVID CRAVER                                     33 BAYLOR CIRCLE                                                                                        ROCHESTER        NY    14624‐3753
DAVID CRONIN                                     7 KNOLLWOOD RD                                                                                          TEWKSBURY        MA    01876‐2912
DAVID CROUSE                                     9800 NCR 650 E                                                                                          ALBANY           IN    47320‐9241
DAVID CRUTCHER                                   921 CRESTMORE AVE                                                                                       DAYTON           OH    45407‐1216
DAVID CURRA                                      UNIT 24                                PATTON STATE HOSPITAL   3102 E HIGHLAND AVE                      PATTON           CA    92369
DAVID D ARMSTRONG                                PO BOX 10674                                                                                            GREENVILLE       SC    29603‐0674
DAVID D BARRONE                                  208 REESE ST #3                                                                                         LAKE ODESSA      MI    48849‐9220
DAVID D BEAGAN                                   2154 SPRUCEWOOD DR                                                                                      STERLING HTS     MI    48310‐5865
DAVID D BEANE                                    1302 DANBURY DR                                                                                         MANSFIELD        TX    76063‐3811
DAVID D BLACK                                    3362 W RIDGEWAY                                                                                         FLINT            MI    48504‐6939
DAVID D BLACK & HELEN J BLACK JT TEN             G‐3362 W RIDGEWAY                                                                                       FLINT            MI    48504
DAVID D BLYTHE                                   2457 ASHBURTON CT                                                                                       STATE COLLEGE    PA    16803‐3349
DAVID D BRAMHALL                                 440 CERRILLOS DR                                                                                        FARMINGTON       NM    87401‐9278
DAVID D BRIEF                                    12737 MORRISSEY RD                                                                                      GRASS LAKE       MI    49240‐9168
DAVID D BUCK                                     1001 FOURTH AVENUE PLAZA               SUITE 4500                                                       SEATTLE          WA    98154‐1192
DAVID D CHIANG                                   185 DEER PATH DRIVE                                                                                     ROCHESTER        NY    14612‐2864
DAVID D COOK II                                  235 N JOHN                                                                                              PENDELTON        IN    46064‐1059
DAVID D COPELAND                                 9463 NEW BUFFALO RD                                                                                     CANFIELD         OH    44406‐8185
DAVID D COYLE & MRS KATHRYN M COYLE JT TEN       58 BEACON ST                                                                                            HARTFORD         CT    06105‐4101
DAVID D DANKERT                                  417 WASHINGTON                                                                                          ALMA             MI    48801‐1262
DAVID D DAVIS                                    2390 GATES RD                                                                                           TURNER           MI    48765‐9750
DAVID D DAVIS                                    545 N BALDWIN RD                                                                                        OXFORD           MI    48371‐3413
DAVID D DEBBINK                                  1420 S OUTAGAMIE ST                                                                                     APPLETON         WI    54914‐5511
DAVID D DECKER & BARBARA A DECKER JT TEN         7490 STEEPLEBUSH LANE NE                                                                                BELMONT          MI    49306
DAVID D DELUCIA                                  7936 OAK BROOK CIRCLE                                                                                   PITTSFORD        NY    14534
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DAVID D DICKEY JR & BETTY L DICKEY JT TEN       49 WENGATE ROAD                                                                                OWINGS MILLS    MD    21117‐3344
DAVID D DOBSON III                              3429 S AIRPORT RD                                                                              BRIDGEPORT      MI    48722‐9557
DAVID D DROBEK                                  3393 MAHLON MOORE RD                                                                           SPRING HILL     TN    37174‐2128
DAVID D DUFF                                    5117 ABUELA DR                                                                                 SAN DIEGO       CA    92124‐2020
DAVID D DURRANT & KATHERINE S DURRANT JT TEN    3164 WEST DANBURY DRIVE                                                                        JANESVILLE      WI    53546‐8826

DAVID D DURRANT & KATHERINE S DURRANT JT TEN    3164 W DANBURY DR                                                                              JANESVILLE      WI    53546‐8826

DAVID D ENDT & SYLVIA ENDT JT TEN              11815 ROUSSEAU                                                                                  SAN ANTONIO     TX    78251‐3331
DAVID D EVERWINE CUST CHASE T EVERWINE UTMA CA 1622 E LESTER AVE                                                                               FRESNO          CA    93720‐1906

DAVID D FALAN                                   18489 HANNAN RD                                                                                NEW BOSTON      MI    48164‐9366
DAVID D FERRIS                                  1860 WILTSE ROAD                                                                               LUPTON          MI    48635‐9785
DAVID D FLANAGAN                                15077 GLASTONBURY                                                                              DETROIT         MI    48223‐2208
DAVID D FLORA                                   6458 HOLL ARC ROAD                                                                             ARCANUM         OH    45304
DAVID D FRANCIS                                 6122 APPROACH LANE                                                                             SARASOTA        FL    34288
DAVID D G BIRD                                  23 PARK ST                            PO BOX 574           COPPER CLIFF ON   P0M 1N0 CANADA
DAVID D GIBBS                                   6806 KILROY RD                                                                                 CASTALIA        OH    44824‐9225
DAVID D GOULD                                   437 BRENTWOOD AVE                                                                              THE VILLAGES    FL    32162‐4302
DAVID D GREGORY & MARGARET M GREGORY JT TEN     2812 HOLLIS DR NE                                                                              GRAND RAPIDS    MI    49505‐3411

DAVID D GRIFFEY & IDA M GRIFFEY JT TEN          71 SMITHSONIAN ST                                                                              GIRARD          OH    44420‐1850
DAVID D GUNDRUM                                 820 PARK RD                                                                                    CRESTLINE       OH    44827‐1010
DAVID D HARMEIER                                5206 DUPONT                                                                                    FLINT           MI    48505‐2647
DAVID D HARVOTH                                 608 WORDSWORTH CT                                                                              NOBLESVILLE     IN    46060‐5435
DAVID D HARVOTH & JANET R HARVOTH JT TEN        608 WORDSWORTH COURT                                                                           NOBLESVILLE     IN    46060‐5435
DAVID D HASTINGS                                2214 DOBIE RD                                                                                  MASON           MI    48854‐9494
DAVID D HEATHER & IRENE M HEATHER JT TEN        1642 UTAH ST                                                                                   STURGEON BAY    WI    54235‐1530
DAVID D HENRY                                   18692 MENDOTA                                                                                  DETROIT         MI    48221‐1912
DAVID D HORNBACHER                              8218 EVERETT WAY                                                                               ARVADA          CO    80005‐2209
DAVID D HOWELL                                  15 LAKE SHORE LANE                                                                             GROSSE POINTE   MI    48236‐2464
                                                                                                                                               SHRS
DAVID D HUCKABEE                                1153 IVERLEIGH TRAIL                                                                           CHARLOTTE       NC    28270‐9790
DAVID D JOHNSTON                                19 MEADOWS CIR W                                                                               WIXOM           MI    48393‐4039
DAVID D KAHAN TR UA 09/29/2006 DAVID D KAHAN    3486 ROLLING HILLS DRIVE                                                                       PEPPER PIKE     OH    44124
TRUST
DAVID D KEMP & DEBRA A KEMP JT TEN              1042 NORTHWOOD BLVD                                                                            FT WAYNE        IN    46805‐3441
DAVID D KEYS                                    9901 WOODSTREAM DR                                                                             FORT WAYNE      IN    46804‐7005
DAVID D KIRK                                    297 HILLENDALE RD                                                                              CROSSVILLE      TN    38572‐3147
DAVID D LANGWORTHY                              8547 ELKWOOD ST SW                                                                             BYRON CENTER    MI    49315‐9723
DAVID D MARTIN & SHARON E MARTIN JT TEN         121 CHEROKEE LN                                                                                LK WINNEBAGO    MO    64034
DAVID D MC CLEERY                               10235 LOCKLIES DR                                                                              GLEN ALLEN      VA    23060‐7206
DAVID D MC GOLDRICK                             939 THORNE DRIVE                                                                               WEST CHESTER    PA    19382‐7578
DAVID D MISENAR                                 1879 MANORHAVEN                                                                                ORTONVILLE      MI    48462‐8524
DAVID D MORRIS                                  1527 U S RT 68 SOUTH                                                                           XENIA           OH    45385‐7643
DAVID D NAAS & MARIANNE R NAAS JT TEN           3320 E HIGHWAY 13                                                                              BURNSVILLE      MN    55337‐1025
DAVID D NICKEL                                  60 CHARLOTTE ST                                                                                MULLIKEN        MI    48861‐9701
DAVID D NOVAK                                   5779 W SHORE CV                                                                                HONEOYE         NY    14471‐9553
DAVID D PATCHIN                                 11251 ROBSON ROAD                                                                              GRAFTON         OH    44044‐9720
DAVID D PERSON                                  5 BASSWOOD CT                                                                                  CATONSVILLE     MD    21228‐5870
DAVID D PEW                                     722 CANTERBURY ROAD                                                                            GAINESVILLE     GA    30504‐2617
DAVID D PILLEN                                  2157 E SCHUMACHER                                                                              BURTON          MI    48529‐2437
DAVID D POLK                                    21725 HOMER                                                                                    DEARBORN        MI    48124‐2928
DAVID D POTTER JR                               PO BOX 49                                                                                      HIGGINS LAKE    MI    48627‐0049
DAVID D POWELL                                  106 BURGESS AVE                                                                                YARDLEY         PA    19067‐2016
DAVID D QUANE & KAREN E QUANE JT TEN            16341 UNDERHILL LANE                                                                           HUNTINGTON      CA    92647‐3329
                                                                                                                                               BEACH
DAVID D RANKEN 2ND                              1104 GREENHILL AVE                                                                             WILMINGTON      DE    19805‐2654
DAVID D RAZO                                    4634 CULVER                                                                                    DEARBORN HTS    MI    48125‐3347
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DAVID D REECE                                    8464 SAN GABRIEL                                                                              SOUTH GATE        CA    90280‐2444
DAVID D RHODES                                   73 LAKOTA ACRES                                                                               TROY              MO    63379‐5431
DAVID D ROHENKOHL                                1945 JORDAN ST                                                                                TITUSVILLE        FL    32780‐3828
DAVID D ROULEAU                                  3410 BRANDON                                                                                  FLINT             MI    48503‐3457
DAVID D RUBY CUST ELIZABETH O RUBY UTMA NY       9 MIDLAND GARDENS 1B                                                                          BRONXVILLE        NY    10708‐4704
DAVID D RUSSELL                                  2784 SPRINGDALE ROAD                                                                          CINCINNATI        OH    45251‐1715
DAVID D SAMSON TR UA 03/03/92 DAVID D SAMSON     19346 CONGRESSIONAL COURT                                                                     NO FORT MYERS     FL    33903‐6663
REVOCABLE TRUST
DAVID D SATCHELL                                 4700 E WILKINSON RD                                                                           OWOSSO            MI    48867‐9616
DAVID D SAURBAUGH                                6804 ARJAY DRIVE                                                                              INDIANAPOLIS      IN    46217‐3001
DAVID D SAWYER                                   1153 WATKINS S E                                                                              GRAND RAPIDS      MI    49507‐1470
DAVID D SCHEIDEMANTEL                            3715 ELDER RD S                                                                               WEST BLOOMFIELD   MI    48324‐2535

DAVID D SENIOR                                   56 HIGH RIDGE ROAD                                                                            EASTON            CT    06612‐2022
DAVID D SHAW                                     432 BERNHARD CRESCENT                OSHAWA ON                              L1G 2B8 CANADA
DAVID D SHREVE                                   2969 LAKE SHORE DR                                                                            GLENNIE           MI    48737‐9526
DAVID D SMITH                                    PO BOX 393                           ARTHUR ON                              N0G 1A0 CANADA
DAVID D SPENCER                                  668 COUNTRY CLUB DRIVE               LONDON ON                              N6C 5R1 CANADA
DAVID D SPENCER                                  668 COUNTRY CLUB DR                  LONDON ON                              N6C 5R1 CANADA
DAVID D SUNDERLIN                                3485 WEST M‐78                                                                                PERRY             MI    48872‐9780
DAVID D TERWILLIGER                              277 DANDRIDGE DR                                                                              FRANKLIN          TN    37067‐4099
DAVID D THOMPSON                                 15501 AZALEA AVE                                                                              PIEDMONT          OK    73078‐9069
DAVID D TIMMERMAN                                6992 SUNSET DR                                                                                ALLENDALE         MI    49401‐9770
DAVID D TULIP                                    9158 SILVER LAKE RD                                                                           LINDEN            MI    48451‐9643
DAVID D WALKER                                   101 W DEVEREAUX LAKE RD                                                                       INDIAN RIVER      MI    49749
DAVID D WERT                                     144 MONTICELLO DR NW                                                                          GRAND RAPIDS      MI    49504‐5910
DAVID D WHITE                                    2830 E CR 450 SO                                                                              MUNCIE            IN    47302‐9657
DAVID D WHITTEN                                  136 WATSON ROAD #24                                                                           GILFORD           NH    03249‐5508
DAVID D WILKES                                   3839 SANFORD RD                                                                               ROOTSTOWN         OH    44272‐9788
DAVID D WILLIAMS                                 PO BOX 97                                                                                     WEST MILTON       OH    45383‐0097
DAVID DAGENAIS                                   106 W VENUS LANE                                                                              MILTON            DE    19968‐9496
DAVID DALE BRUCE & JODI A BRUCE JT TEN           2020 COUNTRY CLUB DR                                                                          MC KEESPORT       PA    15135‐3002
DAVID DALE BRUCE CUST BRITTANY ELIN BRUCE UTMA   2020 COUNTRY CLUB DR                                                                          MC KEESPORT       PA    15135‐3002
PA
DAVID DALE CROWE CUST LAUREN MARIE CROWE         49712 GEDDES RD                                                                               CANTON            MI    48188‐2136
UGMA MI
DAVID DANCY                                      22147 LAMBRECHT AVE                                                                           EASTPOINTE        MI    48021‐2580
DAVID DANIEL                                     4111 PALMETTO PL                                                                              FORT MILL         SC    29708‐8124
DAVID DANIEL CAVANO                              C/O ARTHUR & JANET CAVANO            17111 VAN DYKE LANE                                      HUNTINGTN BCH     CA    92647‐6074
DAVID DANIELSON                                  25 LINCOLN AVE                                                                                NILES             OH    44446‐2429
DAVID DARCY DEMAYO                               842 TURNER RD                                                                                 PALMYRA           NY    14522‐9529
DAVID DAWYNE CRONKRIGHT                          5121 INDIAN HILLS TRL                                                                         FLINT             MI    48506‐1184
DAVID DEAN FYOCK                                 905 ORCHARD RD                                                                                LITITZ            PA    17543‐8999
DAVID DEAN MOORE                                 911 LAKE FULLER DR                                                                            LUTZ              FL    33549‐6415
DAVID DECOLA                                     PO BOX 185                                                                                    BUFFALO CREEK     CO    80425‐0100
DAVID DELACRUZ                                   8090 MELLOWWOOD DRIVE                                                                         JENISON           MI    49428‐8532
DAVID DELEZENNE & ROSE DELEZENNE JT TEN          14337 MORLEY RD                                                                               MANITOU BEACH     MI    49253‐9753
DAVID DIAMOND                                    54 HOBART ROAD                                                                                NEWTON CENTRE     MA    02159‐1313
DAVID DICKEY CUST MISS KRISTA M DICKEY UGMA MA   100 LINCOLN DRIVE                                                                             CLARKSBURG        MA    01247

DAVID DISNEY                                     40229 ALDEN DRIVE                                                                             BELLEVILLE        MI    48111‐2815
DAVID DIVINS                                     909 BRIARCLIFF ROAD                                                                           JACKSON           MI    49203‐3858
DAVID DIXIE                                      19327 WISCONSIN                                                                               DETROIT           MI    48221‐1530
DAVID DOLD                                       7500 KIRBY DR                        APT 1645                                                 HOUSTON           TX    77030‐4343
DAVID DOMBROWSKI & LISA DOMBROWSKI JT TEN        40516 WILLIAM DR                                                                              STERLING HTS      MI    48313

DAVID DOMINICK                                   208 S LIBERTY ST                                                                              NEW CASTLE        PA    16102‐1462
DAVID DONALD BUSHMAN                             2301 PEARL STREET                                                                             DUBUQUE           IA    52001‐5727
DAVID DONALD MILLER & KARI D MILLER JT TEN       757 S CORPINO DE PECHO                                                                        GREEN VALLEY      AZ    85614‐1924
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DAVID DONALSON                                    34 N SHIRLEY ST                                                                                 PONTIAC           MI    48342‐2758
DAVID DREWRY CUST CATHERINE L DREWRY UGMA VA      8011 DRIFTWOOD DR                                                                               PRINCE GEORGE     VA    23875‐3126

DAVID DRISCOLL                                    124 BANTERY RD                                                                                  WEST CHESTER      PA    19380
DAVID DROST SR                                    45 ENGLWOOD HEIGHTS RD                                                                          ENGLEWOOD         FL    34223‐3013
DAVID DRUSCHEL                                    170 N PEARL ST                                                                                  CANANDAIGUA       NY    14424
DAVID DUGGER                                      178 LEISURE LN                                                                                  CEDAR CREEK       TX    78612
DAVID DULUDE                                      1023 BOSTON ST SE                                                                               GRAND RAPIDS      MI    49507‐2103
DAVID DUNCAN                                      3025 S ADAMS ST APT 433                                                                         TALLAHASSEE       FL    32301
DAVID DUNHAM                                      382 W DRAHNER RD                       APT B2                                                   OXFORD            MI    48371‐5001
DAVID DUNLAP                                      420 BISON CR                                                                                    APOPKA            FL    32712‐3863
DAVID DUVIER                                      146 GARIBALDI AV 1                                                                              ROSETO            PA    18013‐1349
DAVID DWIGHT DONLON                               PO BOX 1200                                                                                     INVERNESS         CA    94937‐1200
DAVID DWIGHT STEERS                               4309 ROSSMORE DR                                                                                ORLANDO           FL    32810‐2834
DAVID E ADAMSKI                                   14816 M43                                                                                       HICKORY           MI    49060‐9709
DAVID E AIKEN                                     8371 FOSTORIA ROAD                                                                              FOSTORIA          MI    48435‐9730
DAVID E AIKMAN                                    PO BOX 57                                                                                       ATTICA            MI    48412‐0057
DAVID E ALCORN & SUSAN M ALCORN JT TEN            425 MELODY LN                                                                                   NEW CASTLE        IN    47362‐5213
DAVID E ALGER                                     111 E 9TH ST                                                                                    ANDERSON          IN    46016‐1509
DAVID E ALLEN                                     402 LIBERTY DRIVE                                                                               SMYRNA            TN    37167‐5299
DAVID E ALLOWAY                                   103 WATER FOUNTAIN WAY                 UNIT 202                                                 GLEN BURNIE       MD    21060‐2326
DAVID E ARNESON                                   6668 W WOOD RIDGE DR                                                                            JANESVILLE        WI    53548‐9311
DAVID E B JOHNSON                                 3030 TYLER ROAD                                                                                 SANBORN           NY    14132‐9444
DAVID E BALCOM CUST JENNIFER KAY BALCOM UGMA      7470 CHINO VALLEY DR SW                                                                         BYRON CENTER      MI    49315‐8028
MI
DAVID E BARBER                                    11309 N HOLLY RD                                                                                HOLLY             MI    48442‐9414
DAVID E BARLOW & DEBORAH A HILL BARLOW JT TEN     7702 HAMPTON SUMMIT CT                                                                          CHESTERFIELD      VA    23832‐1955

DAVID E BARTH & CAROL J BARTH TR UA 07/29/94      13621 WEST CALLA ROAD                                                                           SALEM             OH    44460‐9635
BARTH FAMILY LIVING TRUST
DAVID E BARTLETT                                  304 E SOUTH ST                                                                                  ABERDEEN          NC    28315‐2740
DAVID E BAXTER                                    4307 CALKINS RD                                                                                 FLINT             MI    48532‐3513
DAVID E BENEDICT                                  22160 FAIRFAX ST                                                                                TAYLOR            MI    48180‐2772
DAVID E BEST                                      FORREST #3C                            90 BRYANT AVE                                            WHITE PLAINS      NY    10605‐1952
DAVID E BIERSTETEL                                347 S STATE STREET BOX 2                                                                        PEWAMO            MI    48873‐8745
DAVID E BLAIRE                                    35 DUNDONALD ST                        TORONTO ON                             M4Y 1K3 CANADA
DAVID E BLANTON JR & MARY PAT C BLANTON TEN ENT   201 PADDINGTON ROAD                                                                             BALTIMORE         MD    21212‐3438

DAVID E BLAZINA                                   1561 CALGARY DRIVE                                                                              COLUMBUS          OH    43229‐2009
DAVID E BOWEN                                     23938 BRUCE RD                                                                                  BAY VILLAGE       OH    44140‐2930
DAVID E BOWLES                                    632 W 7TH                                                                                       RUSHVILLE         IN    46173‐1517
DAVID E BOYDEN                                    17 N CHURCH RD                                                                                  GRANBY            CT    06035‐1720
DAVID E BRAMMER                                   6102 N COUNTY ROAD 1200 E                                                                       SHIRLEY           IN    47384‐9721
DAVID E BRAND                                     1605 SUNSET LN                                                                                  WILMINGTON        DE    19810‐4128
DAVID E BRECHTING                                 13892 16TH AVE                                                                                  MARNE             MI    49435‐9729
DAVID E BRILINSKI                                 10879 MAIN STREET                      BOX 32                                                   CLARKSBURG        OH    43115‐0032
DAVID E BROCKEL                                   237 PINEDALE DRIVE                                                                              SAINT CHARLES     MO    63301‐1159
DAVID E BROCKEL & MARIAN R BROCKEL JT TEN         237 PINEDALE DR                                                                                 SAINT CHARLES     MO    63301‐1159
DAVID E BROWN                                     17408 GREENLAWN                                                                                 DETROIT           MI    48221‐4508
DAVID E BROWNS                                    252 BLANCHARD DR                                                                                DEFIANCE          OH    43512‐3464
DAVID E BURT                                      3891 UPPER MOUNTAIN ROAD                                                                        SANBORN           NY    14132‐9417
DAVID E BUSH                                      7628 GLASGOW RD                                                                                 SMITH GROVE       KY    42171‐9101
DAVID E BYRNE                                     180 CASTLEWOOD DR                                                                               SEGUIN            TX    78155‐8102
DAVID E CALDER                                    3033 KILBURN ROAD WEST                                                                          ROCHESTER HILLS   MI    48306‐2915
DAVID E CARLSON                                   14 N GRANADA PLAZA                                                                              ENGLEWOOD         FL    34223‐5106
DAVID E CARTER                                    9009 S W 91ST CIRCLE                                                                            OCALA             FL    34481‐8403
DAVID E CHAMBERS                                  6015 43RD CT E                                                                                  BRADENTON         FL    34203‐7019
DAVID E CHANDLER                                  6805 HARDSCRABBLE CT                                                                            WILMINGTON        NC    28409‐2698
DAVID E CHISMARK                                  2 INNER DR                                                                                      VIENNA            OH    44473‐9733
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DAVID E CHRISSINGER                               12 HARROWGATE DR                                                                               CHERRY HILL     NJ    08003‐1913
DAVID E CHRISTENSEN                               15 COLONIAL RIDGE DR                                                                           YARDLEY         PA    19067‐3109
DAVID E CICHOWSKI                                 94 PACIFIC DR                                                                                  SYLVA           NC    28779‐9607
DAVID E CICHY                                     15 OLD LUNENBURG RD                                                                            LANCASTER       MA    01523‐3207
DAVID E CLARKE                                    618 WILLIAMS ST                                                                                JANESVILLE      WI    53545‐2456
DAVID E CLASMAN                                   PO BOX 64                                                                                      ORTONVILLE      MI    48462‐0064
DAVID E CLEMENTS                                  25 U PRESTON WAY                                                                               SPRING HILL     TN    37174‐8221
DAVID E COHEN                                     5302 MOSINEE LANE                                                                              MADISON         WI    53704‐1042
DAVID E COLLIER                                   MERCER COUNTY COMMUNITY              COLLEGE                                                   TRENTON         NJ    08690
DAVID E COOKE                                     25 OLD LYME RD 7                                                                               WILLIAMSVILLE   NY    14221‐2235
DAVID E CORLL SR                                  2571 SAMUELSON RD                                                                              PORTAGE         IN    46368‐2575
DAVID E COX                                       48 PARK AVE                                                                                    NEWTOWN         NJ    07860‐1120
DAVID E COX                                       392 EAST COUNTY RD 450 NORTH                                                                   DANVILLE        IN    46122‐9124
DAVID E CRAMER                                    PO BOX 64                                                                                      NEWFANE         NY    14108‐0064
DAVID E CROSSNOE                                  2380 E REID RD                                                                                 GRAMD BLANK     MI    48439‐8535
DAVID E CULBERT                                   PO BOX 7212                                                                                    DEFIANCE        OH    43512‐7212
DAVID E CUMMINGS & DENISE R COMMUNITY             454 COTTONWOOD DR                                                                              SAINT ANTHONY   ID    83445‐5608
PROPERTY
DAVID E DAVIS                                     121 STATE RT 127                                                                               NASHVILLE       IL    62263‐6225
DAVID E DEAN                                      3000 RIDGEWAY RD                                                                               KETTERING       OH    45419‐1330
DAVID E DEBUSK                                    913 POST OAK ST                                                                                AUSTIN          TX    78704
DAVID E DEWALT                                    4623 MIRAMAR DR NW                                                                             ALBUQUERQUE     NM    87114‐5389
DAVID E DOSS                                      1814 ST CLAIR RIVER DR                                                                         ALGONAC         MI    48001‐1375
DAVID E DOUSE & BARBARA J DOUSE JT TEN            4665 ALDUN RIDGE AVE NW              APT 101                                                   COMSTOCK PK     MI    49321‐9035
DAVID E DUNN                                      1231 DYE FORD RD                                                                               ALVATON         KY    42122‐9518
DAVID E ECKMAN                                    127 SNUG HAVEN CT                                                                              TONAWANDA       NY    14150‐8561
DAVID E EGELKRAUT                                 102 GRANT CT                                                                                   NEW BERN        NC    28562‐6414
DAVID E EGNATOWSKI                                15481 DRAKE                                                                                    SOUTHGATE       MI    48195‐2607
DAVID E ENGLAND                                   359 GRANGE HALL RD                                                                             DAYTON          OH    45430‐2046
DAVID E ESLINGER                                  PO BOX 85                                                                                      RIDGE FARM      IL    61870‐0085
DAVID E FELDMAN                                   1032 N SWEETZER AVE APT 313                                                                    W HOLLYWOOD     CA    90069‐4339
DAVID E FERNUNG                                   109 MONTICELLO CT                                                                              KOKOMO          IN    46902‐9319
DAVID E FIERRO                                    852 HOBSON ST                                                                                  UNION           NJ    07083‐6803
DAVID E FLATT                                     6181 SENATE CIRCLE                                                                             EAST AMHERST    NY    14051‐1979
DAVID E FLEMING                                   28817 N 127TH AVE                                                                              PEORIA          AZ    85383‐5257
DAVID E FOREMAN                                   849 N NEBRASKA ST                                                                              CHANDLER        AZ    85225‐6730
DAVID E FRITZ                                     2150 POTOMAC PLACE                                                                             ELGIN           IL    60123‐2506
DAVID E FRY                                       APT PH‐2                             CALLE LOIZA          SAN JUAN          1760 PUERTO RICO
DAVID E FULMERHOUSER                              17785 ALBRECHT NE                                                                              CEDAR SPRINGS   MI    49319‐9623
DAVID E GARLICK                                   5372 SOUTHAMPTON DR                                                                            LAPEER          MI    48446‐9614
DAVID E GAY                                       9062 SOUTH 760 WEST                                                                            PENDLETON       IN    46064‐9795
DAVID E GILBERT                                   233 LYNN RD                                                                                    BETHLEHEM       GA    30620‐2713
DAVID E GIRE                                      5628 HALEKAMANI ST                                                                             HONOLULU        HI    96821
DAVID E GODFREY                                   2415 WINDBROOK ST                                                                              CHIPLEY         FL    32428‐8046
DAVID E GRAHAM                                    4544 LIBERTY RIDGE RD                                                                          DE SOTO         MO    63020‐3276
DAVID E GROOM                                     12603 MOOR PARK ST                   # 103                                                     STUDIO CITY     CA    91604‐4559
DAVID E HAMILTON                                  14 MEADLE                                                                                      MT CLEMENS      MI    48043
DAVID E HANCOCK & SARA M HANCOCK JT TEN           1721 RICE RD                                                                                   ALTOONA         PA    16602‐7429
DAVID E HARDING                                   PO BOX 107                                                                                     N KINGSVILLE    OH    44068‐0107
DAVID E HARNS                                     7560 NYE HWY R 4                                                                               EATON RAPIDS    MI    48827‐9081
DAVID E HARRIS RECREATION CTR                     BOX 28                                                                                         HORNER          WV    26372‐0028
DAVID E HARTSIG                                   1927 SKYLER DRIVE                                                                              KALAMAZOO       MI    49008‐2823
DAVID E HARTSIG & MRS JO ANN S HARTSIG JT TEN     1927 SKYLER DRIVE                                                                              KALAMAZOO       MI    49008‐2823

DAVID E HASSETT                                   4813 LUTZ DRIVE                                                                                WARREN          MI    48092‐4409
DAVID E HAWKINS                                   5823 W 650 N                                                                                   THORNTOWN       IN    46071‐9342
DAVID E HAWVERMALE                                13377 WALDEN RD                                                                                FARMERSVILLE    OH    45325‐9205
DAVID E HAYDEN JR                                 375 FERNWOOD DR                                                                                WILLIAMSTOWN    KY    41097‐4204
DAVID E HAYNIE                                    4647 ST RTE 82 N W                                                                             NEWTON FALLS    OH    44444‐9511
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

DAVID E HEMMERLY                                 365 REYMONT                                                                                    WATERFORD       MI    48327‐2864
DAVID E HENNING                                  2220 SPANISH DR                       APT 4                                                    CLEARWATER      FL    33763‐2965
DAVID E HENRICE                                  ROUND HILL ROAD                                                                                SALEM           CT    06415
DAVID E HERBERT                                  2204 S BURKETT RD                                                                              LAKE CITY       MI    49651‐9389
DAVID E HEROUX & ROSEMARY L HEROUX JT TEN        4890 FERDEN RD                                                                                 NEW LOTHROP     MI    48460‐9644
DAVID E HERRINGTON                               6108 EAST AVE                                                                                  NEWFANE         NY    14108‐1329
DAVID E HILDEBRAND                               7938 OLD RECEIVER ROAD                                                                         FREDERICK       MD    21702‐2741
DAVID E HILL                                     146 WILDCAT RD                                                                                 MADISON         CT    06443‐2434
DAVID E HILTON                                   5236 LOCKHART ROAD                                                                             KERSHAW         SC    29067‐8872
DAVID E HOFFMAN                                  8340 BELLE OAKS                                                                                GREENWOOD       LA    71033‐3055
DAVID E HOLLIDAY & CYNTHIA HOLLIDAY JT TEN       457 E WASHINGTON                                                                               IONIA           MI    48846‐1878
DAVID E HOLTZ                                    1044 W 25TH ST                                                                                 ERIE            PA    16502‐2427
DAVID E HORNER                                   2288 DOC WALKER RD                                                                             PARKER          PA    16049‐3124
DAVID E HORWITZ & BARBARA HORWITZ JT TEN         7247 N OLCOTT AVE                                                                              CHICAGO         IL    60631‐4316
DAVID E HOWARD                                   524 LOU ALICE DR                                                                               COLUMBIAVILLE   MI    48421‐9706
DAVID E HUBER                                    3885 N STEWART RD                                                                              CHARLOTTE       MI    48813‐8710
DAVID E HUEHNEL                                  3701 CLEVELAND AVE                                                                             DAYTON          OH    45410‐3205
DAVID E HUGGARD                                  3465 NORTH LAKESHORE DR                                                                        GLADWIN         MI    48624‐8364
DAVID E HUNTLEY                                  2154 SEVEN SPRINGS BLVD                                                                        NEW PRT RCHY    FL    34655
DAVID E HURST                                    28 COGNAC DR                                                                                   LAKE ST LOUIS   MO    63367‐1702
DAVID E HYDE                                     38 BRADT ROAD                                                                                  REXFORD         NY    12148‐1144
DAVID E INGRAM                                   5105 GLENMINA DR                                                                               CENTERVILLE     OH    45440‐2207
DAVID E JACKSON                                  207 N 600 EAST                                                                                 GREENFIELD      IN    46140‐8364
DAVID E JAMES                                    901 N MILDRED                                                                                  DEARBORN        MI    48128‐1785
DAVID E JOHNSON                                  7204 HADLOW DR                                                                                 SPRINGFIELD     VA    22152‐3528
DAVID E JOHNSON                                  7049 WITMER RD                                                                                 NORTH           NY    14120‐1017
                                                                                                                                                TONAWANDA
DAVID E JOHNSON TR UA 08/03/93 WILMA E JOHNSON   3987 FREDONIA DR                                                                               LOS ANGELES     CA    90068
TRUST
DAVID E JOKELSON & DEBRA M KAHN JT TEN           215 GASKILL ST                                                                                 PHILADELPHIA     PA   19147‐1588
DAVID E JONES                                    764 HECK AVE                                                                                   DAYTON           OH   45408‐2641
DAVID E JONES                                    518 EAST WALNUT                                                                                GALION           OH   44833‐2129
DAVID E JONES                                    894 EAGLES HARBOR DR                                                                           HODGES           SC   29653
DAVID E JOSEPH                                   3 BAHIA COURT RUN                                                                              OCALA            FL   34472‐2938
DAVID E KAHL CUST RYAN PETER KAHL UGMA CT        708 TULIP DR                                                                                   SEBASTIAN        FL   32958‐5438
DAVID E KASPER                                   1543 NW 62ND ST                                                                                SEATTLE          WA   98107‐2336
DAVID E KEENE                                    2403 N 127TH LANE                                                                              AVONDALE         AZ   85323‐6576
DAVID E KEMP                                     9066 N SOMERSET LANE                                                                           WOODRIDGE        IL   60517‐7585
DAVID E KENWORTHY                                203 E FOUNTAIN ST                                                                              COVINGTON        OH   45318‐1468
DAVID E KITCHEN                                  20824 NE 172ND ST                                                                              HOLT             MO   64048‐8731
DAVID E KNEPLEY                                  BOX 11                                                                                         GREENSBORO       IN   47344‐0011
DAVID E KNIGHT                                   4 HOLLY DRIVE                                                                                  OLD SAYBROOKE    CT   06475‐4022
DAVID E KNOX                                     1108 CAMELLIA RD                                                                               BIRMINGHAM       AL   35215‐7208
DAVID E KOLO                                     447 TROIKA CIRCLE                                                                              SAGAMORE HILLS   OH   44067‐3244
DAVID E KOS                                      13549 CARRIAGE LN                                                                              PICKERINGTON     OH   43147‐9732
DAVID E KOS EX EST DOUGLAS A KOS                 13549 CARRIAGE LN                                                                              PICKERINGTON     OH   43147
DAVID E KOZODOY                                  PO BOX 182                                                                                     NORTH MARSHFIELD MA   02059‐0182

DAVID E KRUEGER                                  4122 S COUNTY ROAD D                                                                           JANESVILLE      WI    53545‐9700
DAVID E KRUG                                     1075 PAUL RD                                                                                   CHURCHVILLE     NY    14428‐9762
DAVID E KUECHMAN                                 493 E GARRISON RD                                                                              OWOSSO          MI    48867‐9760
DAVID E KURTZ                                    130 E MAIN ST                                                                                  NEW WASHINGTN   OH    44854‐9418

DAVID E KUTZ                                     1660 COLONIAL MANOR DRIVE                                                                      LANCASTER       PA    17603‐6032
DAVID E LA LONDE                                 4823 GENESEE RD                                                                                LAPEER          MI    48446‐3633
DAVID E LEAHY                                    17 SKIMMER CIR                                                                                 DAYTONA BEACH   FL    32119‐8304
DAVID E LEESE                                    1363 GRANGER RD                                                                                ORTONVILLE      MI    48462‐8943
DAVID E LEONARD                                  3606 PIN OAK                                                                                   CLARKSTON       MI    48348‐1371
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DAVID E LEONARD                                    376 PLUMMER RD                                                                                 STAMPING GROUND KY     40379‐9615

DAVID E LEVINE                                     14 LAWTON RD                                                                                   BRIDGEWATER      NJ    08807‐2145
DAVID E LUDINGTON JR                               4240 GREEN CORNERS                                                                             METAMORA         MI    48455‐9644
DAVID E LUGG                                       PO BOX 394                                                                                     CLARKSTON        MI    48347‐0394
DAVID E LUNDSTROM                                  4912 RIDGE PLACE                                                                               EDINA            MN    55424‐1161
DAVID E MADDOX                                     302 HUGHES RD                                                                                  AUBURN           KY    42206‐5265
DAVID E MANDERS                                    11804 ERNST                                                                                    TAYLOR           MI    48180‐4145
DAVID E MARLOW & JOHN P MARLOW & LAURA J           2019 MORNING DOVE ST                                                                           SAN ANTONIO      TX    78232‐4912
MARLOW JT TEN
DAVID E MAROSE CUST ETHAN MAROSE UGMA IL           2400 W LANCASTER                                                                               LAWRENCE         KS    66049‐1877
DAVID E MARTIN                                     10 SOUTHWAY PL                                                                                 GREENWOOD        IN    46142‐9219
DAVID E MAYER                                      804 HUNTINGTON DR                                                                              OWOSSO           MI    48867‐1906
DAVID E MC COWAN                                   187 SKYHAWK DR                                                                                 GUNTERSVILLE     AL    35976‐5633
DAVID E MC KENZIE                                  6152 FRANKS ROAD                                                                               HOUSE SPRINGS    MO    63051‐1154
DAVID E MCCAFFERTY                                 3990 HOFFMAN‐NORTON                                                                            WEST FARMINGT    OH    44491‐9749
DAVID E MCCALLAHAN                                 806 FAIRWAY TRAILS                                                                             BRIGHTON         MI    48116‐1711
DAVID E MCCOLL                                     7212 ABERNATHY DR                                                                              FORT WAYNE       IN    46814‐7480
DAVID E MCCOLLISTER                                8334 BRECKENRIDGE WAY                                                                          COLUMBUS         OH    43235‐1149
DAVID E MCDANIEL & TERESA R MCDANIEL JT TEN        6124 JOCELYN HOLLOW RD                                                                         NASHVILLE        TN    37205‐3256
DAVID E MCGREW                                     9377 COUNTY LINE RD                                                                            GAINES           MI    48436
DAVID E MCKENZIE & BARBARA MCKENZIE JT TEN         6152 FRANKS RD                                                                                 HOUSE SPRINGS    MO    63051‐1154
DAVID E MCLAUGHLIN                                 5912 WYNKOOP ROAD                                                                              LOCKPORT         NY    14094‐9370
DAVID E MEEKER TR DAVID E MEEKER LIVING TRUST UA   PO BOX 260                                                                                     GOLD BEACH       OR    97444‐0260
06/19/96
DAVID E MEYER                                      4201 MEADOWBROOK DR                                                                            FREELAND         MI    48623‐8840
DAVID E MILLER                                     3451 DANIELLA COURT                                                                            CALABASAS        CA    91302‐3087
DAVID E MILLER                                     8118 JORDAN RD                                                                                 GRAND BLANC      MI    48439‐9623
DAVID E MILLER                                     32010 PENDELEY ROAD                                                                            WILLOWICK        OH    44095
DAVID E MILLS CUST JAMES R MILLS UGMA MA           6629 MOUNTING ROCK ROAD                                                                        CHAROLETTE       NC    28217‐3475
DAVID E MILTENBERGER                               2112 SHERMAN AVE                                                                               MIDDLETOWN       OH    45044‐4461
DAVID E MIRAN                                      138 HOLLYRIDGE CIR                                                                             ROCHESTER        NY    14625‐1314
DAVID E MOE                                        700 N ELLICOTT CREEK ROAD                                                                      AMHERST          NY    14228‐2402
DAVID E MOFFATT                                    3833 5 POINT HWY                                                                               CHARLOTTE        MI    48813
DAVID E MOLIK                                      PO BOX 378                                                                                     FENTON           MI    48430‐0378
DAVID E MORRELL                                    1161 HIGHWAY 41                                                                                MOUNT PLEASANT   SC    29488‐8802

DAVID E MORRIS                                     2804 PEDIGO PL                                                                                 THOMPSONS        TN    37179‐9268
                                                                                                                                                  STATION
DAVID E MORRISON                                   109 CANTERBURY DR                                                                              WILM             DE    19803‐2607
DAVID E MOSER CUST GRETCHEN L MOSER UTMA IN        2455 E TERRACE DR                                                                              BLUFFTON         IN    46714‐9239

DAVID E MOSER CUST OLIVIA R MOSER UTMA IN          2455 E TERRACE DR                                                                              BLUFFTON         IN    46714‐9239
DAVID E MOUNTS                                     1417 S MAIN ST                                                                                 KOKOMO           IN    46902‐1601
DAVID E MOWERS                                     2896 WOODFORD CIRCLE                                                                           ROCHESTER        MI    48306‐3066
DAVID E MULLETT                                    1216 DUMBARTON DR                                                                              LAKE CHARLES     LA    70605‐2614
DAVID E MUMA                                       6238 LUCAS                                                                                     FLINT            MI    48506‐1227
DAVID E NEALON                                     30326 BLOSSOM DR                                                                               ROCKY MOUNT      MO    65072‐2803
DAVID E NICHOLAS                                   613 DUPONT                                                                                     FLINT            MI    48504‐4816
DAVID E NIXON                                      3075 HARVEST CIRCLE                                                                            FAIRBURN         GA    30213‐1778
DAVID E NOBLE                                      2165 FAIRFIELD PIKE                                                                            SPRINGFIELD      OH    45502‐8767
DAVID E NOVIS                                      1590 CORNERSTONE DR                                                                            MISSOULA         MT    59802‐8611
DAVID E PENCHEFF                                   316 HIGHLANDS                                                                                  TEMPERANCE       MI    48182
DAVID E PERRETT                                    90 W 5TH ST                                                                                    OSWEGO           NY    13126‐1550
DAVID E PHILLIPS                                   RR 1 BOX 545                                                                                   NEW ALEXANDRI    PA    15670‐9434
DAVID E PHILLIPS CUST MICHAEL J PHILLIPS UTMA KS   9474 W STERLING CT                                                                             WICHITA          KS    67205‐1434

DAVID E PIERCE                                     9100 14 MILE RD                                                                                MECOSTA          MI    49332‐9518
DAVID E PIERCE                                     39 ROCKLEDGE CL                                                                                THE WOODLANDS    TX    77382
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DAVID E PLATTS & PAMELA D PLATTS JT TEN            1898 RUDGATE DR                                                                                 AVON            IN    46123‐8410
DAVID E POLZIN                                     1370 RAINBOW DR                                                                                 SAGINAW         MI    48603‐5652
DAVID E POOLE                                      2081 STONE RIDGE AVE                                                                            MANSFIELD       OH    44903‐7583
DAVID E POWER JR                                   2105 ANTWERP                                                                                    PLANO           TX    75025‐3324
DAVID E POWER JR & JANET L POWER JT TEN            2105 ANTWERP AVE                                                                                PLANO           TX    75025‐3324
DAVID E QUERNHEIM TR DAVID E QUERNHEIM U‐DECL      311 LINCOLN AVE                                                                                 WATERLOO        IL    62298‐1614
OF TRUST 04/29/93
DAVID E RAUSCH                                     4807 SOUTHERN PARKWAY                                                                           LOUISVILLE      KY    40214‐1356
DAVID E REISETTER & MARIANNA M REISETTER JT TEN    1223 VIRGINIA DR                                                                                WESTMONT        IL    60559‐2829

DAVID E REUTZEL                                1700 BURNHAM RD                                                                                     FORT SMITH      AR    72903‐3204
DAVID E RICE                                   36405 E CASEY RD                                                                                    LONE JACK       MO    64070‐9174
DAVID E RICHARDS                               6213 ST JOHNS AVE                                                                                   EDINA           MN    55424‐1855
DAVID E ROBINSON                               340 BENT NAIL LN                                                                                    WALHALLA        SC    29691‐3605
DAVID E ROMINE                                 817 N ANDERSON ST                                                                                   ELWOOD          IN    46036‐1231
DAVID E ROOD                                   8233 FARRAND RD                                                                                     OTISVILLE       MI    48463‐9431
DAVID E ROWE                                   PO BOX 594                                                                                          FLUSHING        MI    48433
DAVID E ROWE & GERALD J ROWE TEN COM           PO BOX 594                                                                                          FLUSHING        MI    48433‐0594
DAVID E RUESTER & RHONDA H RUESTER JT TEN      21 DAWNRIDGE                                                                                        HAZELWOOD       MO    63042‐2674
DAVID E SANDBERG CUST TALIA H SANDBERG UGMA NY 5547 GALLERY PARK DR                                                                                ANN ARBOR       MI    48103‐5055

DAVID E SANDERSON                                  PO BOX 669                                                                                      OXFORD          MI    48371‐0669
DAVID E SAWYER                                     246 GINA COURT                                                                                  PASADENA        MD    21122‐2912
DAVID E SAWYER & SALLY A SAWYER JT TEN             2360 DECATUR AVE N                                                                              GOLDEN VALLEY   MN    55427‐3215
DAVID E SCALLY SR CUST DAVID E SCALLY JR UGMA IN   1746 LEE JANZEN DRIVE                                                                           KISSIMMEE       FL    34744‐3951

DAVID E SCHALL                                     9080 N MCCLELLAND RD                                                                            BRECKENRIDGE    MI    48615‐9766
DAVID E SCHAUB                                     410 LEISURE LN                                                                                  GREENWOOD       IN    46142‐8313
DAVID E SCHILDKNECHT                               11381 KEMPERKNOLL LANE                                                                          CINCINNATI      OH    45249‐2247
DAVID E SCHINTZIUS CUST ANTHONY J SCHINTZIUS       210 FREMONT ST                                                                                  BATTLE CREEK    MI    49017‐3764
UGMA DE
DAVID E SCHROEDER & JOANNE R SCHROEDER JT TEN      3419 E GEDDES DR                                                                                LITTLETON       CO    80122‐1927

DAVID E SCHUTTE                                    2872 FRY BRANCH RD                                                                              LYNNVILLE       TN    38472‐5333
DAVID E SHERMAN                                    8599 GOTHAM RD RT 1                                                                             GARRETTSVILLE   OH    44231‐9751
DAVID E SHREWSBURY                                 1780 PINEWOOD                                                                                   MILFORD         MI    48381‐1336
DAVID E SIMPSON                                    1758 UNIVERSITY DR                                                                              COLUMBIA        TN    38401‐6412
DAVID E SMITH                                      59 COLONY PARK CIRCLE                                                                           GALVESTON       TX    77551‐1737
DAVID E SMITH                                      2690 EMERALD LAKE CT                                                                            KISSIMMEE       FL    34744‐4990
DAVID E SMITH & MILLICENT E BUXTON JT TEN          856 STANYAN ST                                                                                  SAN FRANCISCO   CA    94117
DAVID E SNYDER                                     3501 GREGORY RD                                                                                 ORION           MI    48359‐2016
DAVID E SPADA                                      1690 SARAH LN                                                                                   WESTLAND        MI    48186‐9351
DAVID E SPESARD                                    916 WN 3RD ST                                                                                   SHELBYVILLE     IL    62565
DAVID E SPYHALSKI                                  1904 S JOHNSON ST                                                                               BAY CITY        MI    48708‐9112
DAVID E STAGE                                      410 MCCRAY BLVD                                                                                 SPRINGBORO      OH    45066‐9100
DAVID E STANKS                                     8342 BRIDLEWOOD CT                                                                              CLARKSTON       MI    48348‐4373
DAVID E STANLEY                                    6172 MEADOWOOD DR                                                                               GRAND BLANC     MI    48439‐9195
DAVID E STANSIFER                                  5941 TIMBER LAKE WAY                                                                            INDIANAPOLIS    IN    46237‐2280
DAVID E STARKEY                                    7621 RAUSCHELBACH                                                                               UTICA           MI    48317‐2369
DAVID E STEELE                                     828 GRANT STREET #5                                                                             SANTA MONICA    CA    90405‐1329
DAVID E STOOKE                                     119 CHEYENNE TRAIL                                                                              ONA             WV    25545‐9754
DAVID E STOREY                                     3131 S 95TH ST                                                                                  MILWAUKEE       WI    53227‐4322
DAVID E STOWELL                                    3224 LK GRIFFIN RD                                                                              LADY LAKE       FL    32159‐3430
DAVID E STREHLE                                    212 WINDY CT                                                                                    DAYTON          OH    45434‐6258
DAVID E SUPER                                      6101 EAST AVE                                                                                   HODGKINS        IL    60525‐4126
DAVID E SVEDINE                                    3 AMBER WAY                                                                                     RAYNHAM         MA    02767‐5101
DAVID E SWIGER                                     1229 EVERGREEN TRL                                                                              ADRIAN          MI    49221‐8455
DAVID E TACEY                                      1610 E ANDERSON                                                                                 LINWOOD         MI    48634‐9452
DAVID E TATMAN                                     20312 LEXINGTON BLVD                                                                            NORTHVILLE      MI    48167‐1336
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DAVID E TAULBEE                                    5035 PINE KNOB LN                                                                             CLARKSTON          MI    48346‐4062
DAVID E TAYLOR                                     10713 MAPLE RIDGE DR                                                                          SPOTSYLVANIA       VA    22533‐7626
DAVID E TAYLOR                                     1609 E PIERCE ST                                                                              WAKEFIELD          MI    49968‐1549
DAVID E TAYLOR & MARY A TAYLOR JT TEN              1609 E PIERCE ST                                                                              WAKEFIELD          MI    49968‐1549
DAVID E THOMAS                                     1820 WEST MADISON AVENUE                                                                      MONTEBELLO         CA    90640‐3925
DAVID E THOMPSON                                   114 STONEPOINTE DR                                                                            BEREA              OH    44017‐1094
DAVID E THORNTON                                   4127 EAST 143 STREET                                                                          CLEVELAND          OH    44128‐1817
DAVID E TURNER                                     211 WESTGATE AVE                                                                              SAINT LOUIS        MO    63130‐4709
DAVID E TURNER                                     4180 SUNSET RIDGE DR                                                                          ROCK HILL          SC    29732
DAVID E UNDERWOOD                                  580 ROGERTSON CEMETERY LANE                                                                   SPEEDWELL          TN    37870
DAVID E UPDEGRAFF                                  8947 PRIVATE DR A                                                                             ONSTED             MI    49265‐9400
DAVID E VAN DRIESSCHE                              34 FREEFORM WAY                                                                               PLACITAS           NM    87043‐9511
DAVID E VANDEGRIFT & MARCY VANDEGRIFT JT TEN       757 PLEASANT ST                                                                               BIRMINGHAM         MI    48009‐2949

DAVID E VANHULL                                    6256 NORTH SHORE DR                                                                           W BLOOMFIELD       MI    48324‐2145
DAVID E VAUGHN                                     190 FRENCH ST APT E                                                                           WATERTOWN          CT    06795‐2910
DAVID E VOLLETT                                    6402 HERON PARKWAY                                                                            CLARKSTON          MI    48346‐4803
DAVID E WAITE CUST PENNY ANN HIGGINS UGMA IN       438 ADALEY AVE                                                                                MURRAY             UT    84107‐6562

DAVID E WALKER                                     4164 GREENMONT DR                                                                             WARREN             OH    44484‐2614
DAVID E WALLS                                      6646 W 100 S                                                                                  ANDERSON           IN    46011‐9440
DAVID E WALSH                                      53215 HILLSIDE DR                                                                             SHELBY TOWNSHIP    MI    48316‐2735

DAVID E WARDROP                                    3520 CHRISTOPHER DR                                                                           KOKOMO             IN    46902‐4724
DAVID E WATSON & AGNES WATSON TEN ENT              8517 AGUSTA ST                                                                                PHILADELPHIA       PA    19152‐1101
DAVID E WEAL                                       29 KIMBERLY LANE                                                                              OLMSTED TWP        OH    44138‐3013
DAVID E WENNER                                     PO BOX 9022                                                                                   WARREN             MI    48090‐9022
DAVID E WETZ                                       35643 KINGS VALLEY HWY                                                                        PHILOMATH          OR    97370‐9748
DAVID E WHITE TR UA 10/10/85 DAVID E WHITE         781 LONE PINE RD                                                                              BLOOMFIELD HILLS   MI    48304‐3334

DAVID E WILLOUGHBY                                 PO BOX 325                                                                                    EDGARTOWN          MA    02539‐0325
DAVID E WOLFFRADT                                  3973 KINGSTON ST                                                                              DEARBORN HTS       MI    48125‐3235
DAVID E WULFHORST                                  4598 LAKESHORE RD N                                                                           DENVER             NC    28037‐9199
DAVID E YELEN                                      5301 REID RD                                                                                  SWARTZ CREEK       MI    48473‐9475
DAVID E ZICKEFOOSE                                 741 ADELAIDE SE                                                                               WARREN             OH    44484‐4302
DAVID E ZMUDA                                      102 MILL RD                                                                                   ROCHESTER          NY    14626‐4891
DAVID E ZYNE                                       7405 OSAGE DR                                                                                 HUDSON             FL    34667‐2240
DAVID EARL ALLEN TR UA 02/21/03 DAVID EARL ALLEN   BOX 1360                                                                                      SILOAM SPRINGS     AR    72761
REMAINDER TRU
DAVID EARL SNAVELY                                 261 SW 63 AVE                                                                                 PLANTATION         FL    33317‐3429
DAVID EARL VALLAD                                  6480 WILSON DR                                                                                WATERFORD          MI    48329‐3175
DAVID EARLE RICKS                                  23720 CHAPEL BRANCH ROAD                                                                      SEAFORD            DE    19973‐6923
DAVID EBEL                                         2687 REGENT ROAD                                                                              CARLSBAD           CA    92010
DAVID EBERENZ                                      931 W SYCAMORE LN                                                                             LITCHFIELD PARK    AZ    85340‐6002
DAVID EBERHARD                                     5512 RODEO DR                                                                                 LIBERTY TWSHP      OH    45044‐8983
DAVID EBERLE & MARGARET Z EBERLE JT TEN            409 LIBERTY STREET                                                                            HARMONY            PA    16037
DAVID EDWARD AXEL                                  C/O STUART A GOTTESFELD              410 KRAMERIA ST                                          DENVER             CO    80220
DAVID EDWARD BACHE                                 1679 LUDEAN DR                                                                                HIGHLAND           MI    48356‐1752
DAVID EDWARD BACKUS                                58 COOLIDGE CIR                                                                               NORTHBOROUGH       MA    01532‐1139
DAVID EDWARD BRESSMAN                              941 HINFORD                                                                                   LAKE ORION         MI    48362‐2647
DAVID EDWARD HUDSON                                927 ARIES RD W                                                                                JACKSONVILLE       FL    32216‐8106
DAVID EDWARD MACK                                  3418 STARR                                                                                    ROYAL OAK          MI    48073‐2142
DAVID EDWARD MILLER                                BOX 98                                                                                        KETTLE FALLS       WA    99141‐0098
DAVID EDWARD PAINE                                 235 S HOUGHTON ST                                                                             MILFORD            MI    48381‐2413
DAVID EISER                                        PO BOX 355                                                                                    WRIGHTWOOD         CA    92397
DAVID ELLIOT ELVOVE & ROBIN P ELVOVE JT TEN        3136 PHEASANT RUN                                                                             IJAMSVILLE         MD    21754‐8920
DAVID ELLIS CAMPBELL                               1725 UNIVERSITY BLVD W               APT A                                                    JACKSONVILLE       FL    32217‐2027
DAVID ELLIS JR                                     502 WEST PULASKI AVE                                                                          FLINT              MI    48505‐3124
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DAVID ELLSWORTH GOURLEY & RUTH JOYCE GOURLEY      3507 QUEEN ANN DR                                                                               FAIRFAX            VA    22030‐1830
JT TEN
DAVID ENGLER                                      637 GROVEVIEW LANE                                                                              LA CANADA          CA    91011‐2635
DAVID ERIC NICHOLAS CUST CODY MICHAEL NICHOLAS    4404 VANCE ST                                                                                   N RICHLAND HILLS   TX    76180‐8188
UTMA TX
DAVID ERIK CHASE                                  403 S SAPODILLA AVE APT 604                                                                     WEST PALM BCH      FL    33401
DAVID ERNEST FISHER                               285 CANE GARDEN CIRCLE                                                                          AURORA             IL    60504‐2064
DAVID ERNEST KAHL & MARION AMELIA BUSH JT TEN     708 TULIP DR                                                                                    SEBASTIAN          FL    32958‐5438

DAVID ERNEST WEAVER                               523 LOCUST VALLEY RD                                                                            GREENSBURG         PA    15601‐1065
DAVID ERVIN BLEDSOE                               PO BOX 24                                                                                       W MIDDLETON        IN    46995‐0024
DAVID ESTORINO                                    1375 CONEY ISLAND AVE                  APT 146                                                  BROOKLYN           NY    11230‐4119
DAVID EUGENE HADDOCK                              2413 KELLAR AVE                                                                                 FLINT              MI    48504‐7102
DAVID EUGENE YOW                                  13389 LAKE SHORE DR                                                                             FENTON             MI    48430‐1021
DAVID EVAN OWENS                                  700 ST MARKS AVE                                                                                WESTFIELD          NJ    07090‐2015
DAVID EVANS                                       722 CANTERBURY                                                                                  MADISON HEIGHTS    MI    48071

DAVID EWING NORMAN                            908 WYNDHURST CT                                                                                    WINSTON SALEM      NC    27106‐4773
DAVID F ADAMS JR                              9215 ROBSON                                                                                         DETROIT            MI    48228‐2370
DAVID F ADORNATO CUST KATE C ADORNATO UTMA NJ 26 FLOYD RD                                                                                         VERONA             NJ    07044‐2522

DAVID F ANDREWS                                   1010‐55 WILLIAM ST EAST                OSHAWA ON                              L1G 7C9 CANADA
DAVID F BALDWIN                                   W358 S2388 HIGHWAY 67                                                                           DOUSMAN            WI    53118‐9707
DAVID F BELLINGER                                 PO BOX 296                                                                                      HADLEY             MI    48440‐0296
DAVID F BISHOP                                    1814 SUTTON RD                                                                                  ADRIAN             MI    49221‐9506
DAVID F BRECKETTE                                 26828 MAPLE VALLEY HWY 127                                                                      MAPLE VALLEY       WA    98038
DAVID F BRIDGES                                   5631 SANTA CATALINA AVE                                                                         GARDEN GROVE       CA    92845‐1127
DAVID F BROMBAUGH                                 2228 GINGER RIDGE RD                                                                            MANCHESTER         OH    45144‐8453
DAVID F BROWN                                     950 SAN REMO RD                                                                                 ST AUGUSTINE       FL    32086‐7118
DAVID F BROWN                                     2300 LEBANON RD                                                                                 LEBANON            OH    45036‐9681
DAVID F BUCHANAN                                  1419 SO 25TH AVENUE                                                                             YAKIMA             WA    98902‐5101
DAVID F BURKETT                                   13665 RATTALEE LAKE RD                                                                          DAVISBURG          MI    48350‐1241
DAVID F CARMICHAEL                                1325 W STANLEY ROAD                                                                             MOUNT MORRIS       MI    48458‐2314
DAVID F CLARK                                     77 HAMPSHIRE DRIVE                                                                              ROCHESTER          NY    14618‐2325
DAVID F CLARK                                     474 LAFAYETTE                                                                                   IONIA              MI    48846‐1835
DAVID F CLEARY                                    8311 LINDBERGH AVE                                                                              NIAGARA FALLS      NY    14304‐2429
DAVID F CLEMONS CUST HALEY J CLEMONS UTMA KS      300 SW SALINE ST                                                                                TOPEKA             KS    66606

DAVID F COLEMAN                                   721 E WALNUT ST                                                                                 KOKOMO             IN    46901‐4805
DAVID F COLEMAN                                   28 GILES RD                                                                                     HARRINGTON PK      NJ    07640
DAVID F COMMET                                    4646 PAGE AVE                                                                                   MI CENTER          MI    49254‐1042
DAVID F COOK                                      801 VIA LUGANO                                                                                  WINTER PARK        FL    32789‐1537
DAVID F COOPER                                    6660 RIDDLE ROAD                                                                                LOCKPORT           NY    14094‐9333
DAVID F CULKOWSKI & DAVID J CULKOWSKI JT TEN      5873 GRATIOT                                                                                    SAINT CLAIR        MI    48079

DAVID F DEDAFOE                                   3550 STEVENS HWY                                                                                CHARLOTTE          MI    48813‐9131
DAVID F EDING & LUISA EDING JT TEN                2914 SE 149TH CT                                                                                VANCOUVER          WA    98683‐7657
DAVID F ELLIS                                     BOX 42756                                                                                       CINCINNATI         OH    45242‐0756
DAVID F ERMAN & KAREN L ERMAN JT TEN              48474 LAKE VALLEY CIRCLE                                                                        UTICA              MI    48317‐2127
DAVID F ESCH                                      8525 MOMS DR                                                                                    BELLEVILLE         MI    48111‐1336
DAVID F ESCH & LILLIAN M ESCH JT TEN              8525 MOMS DR                                                                                    BELLEVILLE         MI    48111‐1336
DAVID F FOX & ELIZABETH L FOX JT TEN              17273 MAUNDER RD                                                                                CLYDE              NY    14433
DAVID F FRIESORGER                                37901 PALMETTO PALM DRIVE                                                                       ZEPHYRHILLS        FL    33541‐5623
DAVID F GALLANT                                   3666 N SADLER DR                                                                                SANFORD            MI    48657‐9331
DAVID F GEORGE                                    1244 YAHRES ROAD                                                                                SHARON             PA    16146‐3642
DAVID F GERBACK                                   855 OHLTOWN RD                                                                                  YOUNGSTOWN         OH    44515‐1018
DAVID F GILBERT & FRANCES L GILBERT JT TEN        221 KENDAL DR                                                                                   KENNET SQ          PA    19348‐2336
DAVID F GILBERT & MRS FRANCES L GILBERT TEN ENT   221 KENDAL DR                                                                                   KENNET SQ          PA    19348‐2336
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DAVID F GREENLEAF                                255 DIVINITY ST                                                                                 BRISTOL           CT    06010‐6016
DAVID F GREENLEE                                 RR 2 BOX 112C                                                                                   DUNKIRK           IN    47336‐9313
DAVID F HAMMERBACHER                             3153 MANNION                                                                                    SAGINAW           MI    48603‐1604
DAVID F HARRAL                                   1316 SUMMERFIELD DR                                                                             HERNDON           VA    20170‐3907
DAVID F HEIMAN                                   8217 NE 75TH TER                                                                                KANSAS CITY       MO    64159‐1257
DAVID F HERMAN                                   1303 HILLSIDE AVE                                                                               AUSTIN            TX    78704
DAVID F HODGES                                   204 O CONNOR                                                                                    LAKE ORION        MI    48035
DAVID F HUGHES & JOHN A HUGHES JT TEN            412 ONOA                                                                                        NEWPORT BEACH     CA    92660
DAVID F HUGHES & MICHAEL DEAN HUGHES JT TEN      PO BOX 1827                                                                                     ST GEORGE         UT    84771‐1827

DAVID F HUGHES & THERESA C HUGHES JT TEN         148 EAST RIVIERA AVENUE                PO BOX 385                                               OCEAN GATE        NJ    08740‐0385
DAVID F ILTEN                                    SCHIFFERSTRASSE 22 D60594              FRANKFURT GERMANY                      GERMANY
DAVID F ILTEN CUST STEPHAN D ILTEN UGMA NY       SCHIFFERSTRASSE 22 D60594              FRANKFURT GERMANY                      GERMANY
DAVID F KIERSZNOWSKI                             6538 WENONGA RD                                                                                 MISSION HILLS     KS    66208‐1724
DAVID F KING                                     2308 NE 9TH ST APT 2                                                                            FT LAUDERDALE     FL    33304‐3535
DAVID F KIRN                                     1035 FOXRIDGE LANE                                                                              BALTIMORE         MD    21221‐5914
DAVID F KNOX & DENISE M KNOX JT TEN              31 DEWALT RD                                                                                    NEWARK            DE    19711‐7632
DAVID F KROFT                                    3024 AVALON ST                                                                                  LANSING           MI    48911‐1805
DAVID F LEMARBE                                  6280 WILSON DR                                                                                  WATERFORD         MI    48329‐3171
DAVID F LUMPKIN                                  402 ELM DR CENTV                                                                                CENTERVILLE       IN    47330‐1551
DAVID F MANSFIELD & LAURA A MANSFIELD JT TEN     20089 BALMORAL DR                                                                               MACOMB            MI    48044‐2847

DAVID F MARSAC                                   8583 CORY DR                                                                                    DELTON            MI    49046‐8757
DAVID F MEISTER                                  7648 N LINDEN LANE                                                                              PARMA             OH    44130‐5812
DAVID F MORROW                                   4740 E 68TH ST                         UNIT 256                                                 TULSA             OK    74136
DAVID F MYRICK TR UA 03/02/92 DAVID F MYRICK     300 HOT SPRINGS RD                                                                              SANTA BARBARA     CA    93108

DAVID F NELSON                                   3403 KILL DEER AVE                                                                              SPRINGFIELD       OH    45502‐9173
DAVID F NELSON                                   9281 W GRAND RIVER                                                                              FOWLERVILLE       MI    48836‐9608
DAVID F NELSON & FRANCES I NELSON JT TEN         3403 KILL DEER AVE                                                                              SPRINGFIELD       OH    45502‐9173
DAVID F NICHOLS                                  306 S HENRY                                                                                     FARMINGTON        MO    63640‐1822
DAVID F NICHOLS & PAULETTE F NICHOLS TEN ENT     306 S HENRY                                                                                     FARMINGTON        MO    63640‐1822

DAVID F NIGRO                                    402 HAMPDEN COURT                                                                               MEDINA            OH    44256‐2944
DAVID F NOGGLES                                  15775 29 MI RD                                                                                  ALBION            MI    49224‐9425
DAVID F OWSLEY                                   9217 FERN CREEK RD                                                                              LOUISVILLE        KY    40291‐1945
DAVID F PAYNE                                    5704 BALLINARD LANE                                                                             CHARLOTTE         NC    28277‐2546
DAVID F PLATENIK                                 13307 FRIENDLY DR                                                                               WOLVERINE         MI    49799
DAVID F POMMERENING                              2250 LOCKLIN LN                                                                                 WEST BLOOMFIELD   MI    48324‐3748

DAVID F PRILL                                    4BUSHNELL ST                                                                                    PEQUABUCK         CT    06781
DAVID F PUMA & CAROL J PUMA JT TEN               4028 E CHAPAROSA WAY                                                                            CAVE CREEK        AZ    85331‐7884
DAVID F RESCH                                    10 SHELDON DRIVE                                                                                SPENCERPORT       NY    14559‐2037
DAVID F RICKETTS                                 2690 LEONARD RD                                                                                 MARTINSVILLE      IN    46151‐7763
DAVID F RITCHIE                                  1604 SHIELD RD                                                                                  FALLSTON          MD    21047‐2207
DAVID F RUTERBORIES                              3700 MARSHALL ST                                                                                WHEAT RIDGE       CO    80033‐6425
DAVID F SANFORD                                  3989 MIDLAND                                                                                    WATERFORD         MI    48329‐2035
DAVID F SANNER                                   1414 DRAKE DR                                                                                   ERIE              PA    16505‐2604
DAVID F SLEDD                                    309 PARK CHARLES BLVD                                                                           SAINT PETERS      MO    63376
DAVID F SMITH & MRS JOAN T SMITH JT TEN          3 PATRIOTS WAY                                                                                  HINGHAM           MA    02043‐3614
DAVID F STARLIN                                  #54                                    609 N MORTON                                             ST JOHNS          MI    48879‐1279
DAVID F STICKLE                                  13 RIVERDALE AVE                                                                                MONMOUTH BCH      NJ    07750‐1410
DAVID F STOBBE                                   1958 ALTON CIRCLE                                                                               COMMERCE          MI    48390‐2605
                                                                                                                                                 TOWNSHIP
DAVID F STUART                                   602 WHITE WILLOW DR                                                                             FLINT             MI    48506‐4580
DAVID F SUTER                                    7696 HILL TOP COURT                                                                             NEW TRIPOLI       PA    18066‐3635
DAVID F SUTTER                                   1510 BLUE MEADOW RD                                                                             POTOMAC           MD    20854‐2620
DAVID F SWANSON                                  43223 DANIEL DR                                                                                 BELLEVILLE        MI    48111‐5378
DAVID F SWIES                                    PO BOX 128                                                                                      VANDALIA          MI    49095‐0128
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DAVID F TEMEROWSKI                                 3296 MUSHROOM RD                                                                                CARO              MI    48723‐9484
DAVID F THOMPSON & DONNA M THOMPSON JT TEN         1761 HAMPTON ROAD                                                                               GROSSE POINTE     MI    48236‐1305
                                                                                                                                                   WDS
DAVID F TRUJILLO                                   42539 ROBERTS AVE                                                                               FREMONT           CA    94538‐5553
DAVID F VAUGHT                                     43 LASALLE AVENUE                                                                               NEW CASTLE        DE    19720‐4309
DAVID F WALBORN                                    327 EARL DR                                                                                     WARREN            OH    44483‐1113
DAVID F WHITNER                                    935 E 75TH ST                                                                                   KANSAS CITY       MO    64131‐1658
DAVID F WICKS                                      1445 DAVIS RD                                                                                   CHURCHVILLE       NY    14428‐9711
DAVID F WILLIAMS                                   1275 N PARKER DR                                                                                JANESVILLE        WI    53545‐0713
DAVID F WILLIAMSON                                 116 PENNSYLVANIA AVENUE                                                                         NEW CASTLE        DE    19720‐6427
DAVID F WOJTAS                                     304 CHEYENNE RIVER DR                                                                           ADRIAN            MI    49221‐3768
DAVID F WOODBURN & ANNE MCDONALD JT TEN            6135 FAIRWAY DRIVE                                                                              CINCINNATI        OH    45212‐1307
DAVID FAHLBUSCH                                    16132 CODO DRIVE                                                                                LOCKPORT          IL    60441‐8776
DAVID FAHRBACH U/GDNSHP OF GLORIA G FAHRBACH       1923 BURDICK DR                                                                                 FREMONT           OH    43420

DAVID FAIRWEATHER                                  4709 MAPLE AVE                                                                                  BETHESDA          MD    20814
DAVID FARR                                         55 BRIARCLIFF DRIVE                                                                             WINDSOR LOCKS     CT    06096‐2414
DAVID FELECELLA                                    163 SEASIDE AVE                                                                                 MILFORD           CT    06460‐6360
DAVID FERBER                                       PO BOX 386                                                                                      HASLET            TX    76052‐0386
DAVID FERGUSON & CAROLYN W FERGUSON JT TEN         1334 OSPREY NEST LN                                                                             PORT ORANGE       FL    32128‐7160

DAVID FIEDELDEY                                    577 FAIRWIND                                                                                    BROWNSBURG        IN    46112‐7636
DAVID FIELDS                                       9 HORSESHOE DR                                                                                  HOLBROOK          NY    11741
DAVID FITCHETTE                                    1441 BLUEBELL AVE                                                                               BOULDER           CO    80302‐7833
DAVID FLECK                                        7 FARMSTEAD RD                                                                                  SHORT HILLS       NJ    07078‐1291
DAVID FLEMING CUST JOHN FLEMING UTMA NY            333 E 68TH ST #14A                                                                              NEW YORK          NY    10021‐5693
DAVID FLOYD ORR                                    7009 RIDGE ROAD                                                                                 BALTIMORE         MD    21237‐3845
DAVID FLUCAS                                       C/O ROSA LEE L FLUCAS                  222 GENEVA RD                                            DAYTON            OH    45417‐1426
DAVID FLYNN CUST CHRISTOPHER FLYNN UTMA OH         42086 BALMORAL DR                                                                               COLUMBIANA        OH    44408‐1014

DAVID FOREMAN                                      2423 SPRINGDALE DR                                                                              LANSING           MI    48906‐3444
DAVID FORSYTHE                                     196 CORTLAND                                                                                    HIGHLAND PARK     MI    48203‐3433
DAVID FOSTER                                       1404 FORRESTER ST SE                                                                            GRAND RAPIDS      MI    49508‐1428
DAVID FOUSHEE                                      POST OFFICE BOX 78                                                                              IRVINGTON         NJ    07111‐0078
DAVID FOY CUST DAVID MICHAEL FOY UTMA MI           28446 ALVIN                                                                                     GARDEN CITY       MI    48135‐2729
DAVID FOY CUST LINDSAY MARIE FOY UTMA MI           28446 ALVIN                                                                                     GARDEN CITY       MI    48135‐2729
DAVID FRANCIS GAMBLE                               510 INDIAN HILLS PARKWAY                                                                        MARIETTA          GA    30068‐4137
DAVID FRANCIS LUCID                                5232 BAKER ROAD                                                                                 URBANA            OH    43078
DAVID FRANCIS POMPONIO                             838 JASMINE                                                                                     DENVER            CO    80220‐4514
DAVID FRANK CUST CHARLIE FRANK UTMA WI             8040 MEADOWCREEK CT                                                                             FRANKLIN          WI    53132‐8350
DAVID FRANK WHITE                                  3679 LOWRY DRIVE                                                                                NORTH HIGHLANDS   CA    95660‐4914

DAVID FRANKLIN                                     3121 MIDDLETOWN RD #2A                                                                          BRONX             NY    10461‐5317
DAVID FRANKLIN SUTHERLIN                           3839 DRY CREEK DR APT 129                                                                       AUSTIN            TX    78731‐4860
DAVID FRANKS                                       21220 N 23RD AVE                       APT 222                                                  PHOENIX           AZ    85027‐2594
DAVID FREDMONSKY                                   8445 N VIA TIOGA                                                                                TUCSON            AZ    85704‐6527
DAVID FRESHWATER                                   1412 HAMPSHIRE PLACE                                                                            LEXINGTON         KY    40502‐2818
DAVID FRIBOURG CUST PHYLLIS MARLA FRIBOURG         2 COVENTRY CT                                                                                   MATAWAN           NJ    07747‐9680
U/THE NY U‐G‐M‐A
DAVID FRIEDLAND                                    321 MARBERRY DR                                                                                 PITTSBURGH        PA    15215‐1437
DAVID FRIEDMAN                                     5005 W TOUHY AVE                                                                                SKOKIE            IL    60077‐3548
DAVID FROMM & MRS ETHEL FROMM JT TEN               #290                                   15144 ASHLAND ST                                         DELRAY BEACH      FL    33484‐4179
DAVID FRONCZAK                                     3206 SPRINGDALE DRIVE                                                                           TALLAHASSEE       FL    32312‐2030
DAVID FULLER                                       64 RIDGEVIEW AVENUE                                                                             YONKERS           NY    10710‐5426
DAVID FULTON CUST NEAL FULTON UTMA KS              15252 NW BUTLER RD                                                                              NEWTON            KS    67114‐8751
DAVID G ALANIZ                                     1517 BLAKE ST                                                                                   MISSION           TX    78572‐3409
DAVID G BARBER                                     453 GILBERT HIGHWAY                                                                             FAIRFIELD         CT    06824‐1660
DAVID G BEARDSLEE & MRS JANET L BEARDSLEE JT TEN   3100 POLLOCK RD                                                                                 GRAND BLANC       MI    48439‐8393
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DAVID G BEARSS                                     22411 1 MILE RD                                                                                  REED CITY        MI    49677‐8404
DAVID G BEHRENS                                    4120 W ROSE LANE                                                                                 PHOENIX          AZ    85019‐1630
DAVID G BEHRENS & JANE H BEHRENS JT TEN            4120 WEST ROSE LANE                                                                              PHOENIX          AZ    85019‐1630
DAVID G BISHOP                                     9943 WEST U                                                                                      SCHOOLCRAFT      MI    49087‐9438
DAVID G BODIEN                                     1416 KENSINGTON ROAD                                                                             GROSSE POINTE    MI    48230‐1150
                                                                                                                                                    PACK
DAVID G BOONE                                      13828 HERITAGE                                                                                   RIVERVIEW        MI    48192‐7850
DAVID G BOWMAN                                     2381 WORCHESTER WAY                                                                              MARIETTA         GA    30062‐2633
DAVID G BRACE                                      10498 CLINTON TRL                                                                                MULLIKEN         MI    48861‐9735
DAVID G BRITTAIN                                   RR 1                                    LAKEFIELD ON                           K0L 2H0 CANADA
DAVID G BYRD & MRS LINDA D BYRD JT TEN             8308 COLLIER RD                                                                                  POWELL           TN    37849‐3317
DAVID G CERNIK                                     19562 DAWNSHIRE DRIVE                                                                            RIVERVIEW        MI    48192‐8518
DAVID G CHAMBERS                                   BUCK HORN LAKE                                                                                   UNADILLA         NY    13849
DAVID G CHEESEBRO                                  81 CHATEAUX DU LAC                                                                               FENTON           MI    48430‐9140
DAVID G CORN                                       829 GEORGE AVE                                                                                   HAZEL PARK       MI    48030‐2559
DAVID G COULTER                                    11 COVE STREET                          NOOSA WATERS           NOOSAVILLE      AUSTRALIA
DAVID G CRACIUN                                    5543 WARREN SHARON RD                                                                            VIENNA           OH    44473‐9721
DAVID G CUPP                                       4317 LINCHMERE DR                                                                                DAYTON           OH    45415‐1810
DAVID G DICK                                       VIRGIL ON BOX 70                                                               L0S 1T0 CANADA
DAVID G DINDINGER & JOYCE L DINDINGER TEN ENT      471 KIESTER RD                                                                                   SLIPPERY ROCK    PA    16057‐3119

DAVID G DISHMAN                                    2620 GLADWIN COURT                                                                               MIAMISBURG       OH    45342‐5243
DAVID G DUNCAN                                     32849 BENNINGTON                                                                                 WARREN           MI    48093‐1052
DAVID G DURWALD                                    439 RONCROFF DRIVE                                                                               NORTH            NY    14120‐4705
                                                                                                                                                    TONAWANDA
DAVID G ELMORE CUST DAVID G ELMORE JR UGMA IL      2915 OLCOTT BLVD                                                                                 BLOOMINGTON      IN    47401‐2403

DAVID G ERICKSON                                   2284 SIEBER TRACE                                                                                XENIA            OH    45385‐9002
DAVID G EWING                                      792 FAIRVIEW AVE                        APT C                                                    ANNAPOLIS        MD    21403‐2947
DAVID G FALES                                      PO BOX 297                                                                                       ELKINS           AR    72727‐0297
DAVID G FERGUSON                                   1210 EAST MAXLOW                                                                                 HAZEL PARK       MI    48030‐2377
DAVID G FITELSON                                   150 ONETA RD                                                                                     ROCHESTER        NY    14617‐5622
DAVID G FITZGERALD SR & DAVID G FITZGERALD JR JT   APT 215                                 TEN ALLEGHENY CENTER                                     PITTSBURGH       PA    15212‐5223
TEN
DAVID G FORBES & LAURA SPRINGER JT TEN             32529 PINE RIDGE DRIVE                                                                           WARREN           MI    48093‐1060
DAVID G FORCHEMER                                  PO BOX 2008                                                                                      LEAVENWORTH      WA    98826‐2008
DAVID G FOX                                        76 RIDLE RD                                                                                      KAISER           MO    65047‐2118
DAVID G FRANCHY & KENNETH J FRANCHY JT TEN         10247 POUND RD                                                                                   COLUMBUS         MI    48063‐4017
DAVID G FRANCKOWIAK                                1305 PROSPECT AVE                                                                                WILLOW SPGS      IL    60480‐1320
DAVID G FRETTER                                    2515 PLEASANT GROVE                                                                              LANSING          MI    48910‐2441
DAVID G GARRETT                                    3299 FRAMPTON RD                                                                                 WEST MIDDLESEX   PA    16159‐3107
DAVID G GAYDOSH                                    350 BUENA VISTA                                                                                  VIENNA           OH    44473‐9645
DAVID G GILBERT BESEMER TRUST CO                   630 FIFTH AVE                                                                                    NEW YORK         NY    10111‐0100
DAVID G GILES                                      18136 SNOWDEN                                                                                    DETROIT          MI    48235‐1471
DAVID G GORDON                                     1059 SABLE CT NE                                                                                 ST PETERSBURG    FL    33702‐2783
DAVID G GOSLER                                     PO BOX 4                                                                                         PINCONNING       MI    48650‐0004
DAVID G GRIGGS                                     8913 BIRKDALE CIR                                                                                INDIANAPOLIS     IN    46234‐7027
DAVID G GULLEDGE                                   161 CHAPEL CLIFF DR                                                                              RAYMOND          MS    39154‐9571
DAVID G HAGGETT                                    961 W WOOD ST                                                                                    PALATINE         IL    60067‐4868
DAVID G HALL CUST ANDREW JAMES HALL UTMA OH        10141 PEACHTREE                                                                                  STRONGSVILLE     OH    44136‐2309

DAVID G HALL CUST MATTHEW BRIAN HALL UTMA OH       10141 PEACHTREE DR                                                                               STRONGSVILLE     OH    44136‐2309

DAVID G HALLOCK                                    3312 INNSBROOK DR                                                                                ROCHESTER HLS    MI    48309‐1219
DAVID G HANDEL CUST BRITTANY K HANDEL UTMA WI      16940 W HOMESTEAD DR                                                                             NEW BERLIN       WI    53151‐6544

DAVID G HAUSER                                     3100 WITT HWY                                                                                    DEERFIELD        MI    49238‐9783
DAVID G HECKEL                                     SCHROETERSTRASSE 6B                     JENA                                   7745 GERMANY
DAVID G HELM                                       PO BOX 324                                                                                       DUNKERTON        IA    50626‐0324
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DAVID G HILL & IRENE B HILL JT TEN                  26 COUNTRY LANE                                                                                WESTWOOD          MA    02090‐1022
DAVID G HOLCOMBE                                    720 MONTE VISTA RD                                                                             CANDLER           NC    28715‐9498
DAVID G HOUCK                                       14‐787 RD K RR# 3                                                                              NAPOLEON          OH    43545‐6534
DAVID G HUDAK & DEBORAH A HUDAK JT TEN              7085 LONGVIEW DR                                                                               SOLON             OH    44139
DAVID G HUGHES                                      PO BOX 10610                                                                                   BEDFORD           NH    03110‐0610
DAVID G JAYE                                        8303 WASCHULL DR                                                                               WASHINGTON        MI    48094‐2333
DAVID G KARRAKER                                    1600 SHERWOOD PLACE S E                                                                        AIKEN             SC    29801‐5136
DAVID G KECK                                        8974 COLE                                                                                      DURAND            MI    48429‐9477
DAVID G KELLER                                      10 HOLLY CIRCLE                                                                                NORTH AUGUSTA     SC    29860
DAVID G KELLY                                       1313 REDCOAT DRIVE                                                                             CHARLOTTE         NC    28211‐4747
DAVID G KELLY                                       205 CRESTVIEW DR                                                                               HENDERSONVLLE     NC    28791‐8702
DAVID G KOKOCHAK                                    740 KNAPP RD                                                                                   BROOKLYN          MI    49230‐9356
DAVID G KUJALA                                      5006 SUNSET BLVD                                                                               FORT PIERCE       FL    34982‐7140
DAVID G LEEDY                                       26810 EAST 28 AVE                                                                              GOBLES            MI    49055‐9232
DAVID G LEIDHEISER & KATHLEEN A LEIDHEISER JT TEN   13950 1ST AVE W                                                                                OROFINO           ID    83544‐9107

DAVID G LEONARD                                     1101 PINAOK DRIVE                                                                              KOKOMO            IN    46901‐6440
DAVID G MACY                                        93 SOUTH DIAMOND MILL RD                                                                       CLAYTON           OH    45315‐9707
DAVID G MAIN                                        665 ELM ST                                                                                     ABERDEEN          MD    21001‐3113
DAVID G MASON                                       20 CRAIN CIR                                                                                   LEMOYNE           PA    17043
DAVID G MAY                                         16242 CAMELBACK DR                                                                             VICTORVILLE       CA    92395‐4912
DAVID G MC CARTHY                                   3165 LANDVIEW DR                                                                               ROCHESTER         MI    48306‐1148
DAVID G MC NICHOLAS                                 5997 FEDERAL RD                                                                                CONESUS           NY    14435‐9578
DAVID G MCDOWELL                                    1419 MEADOW                                                                                    MT PLEASANT       MI    48858‐4164
DAVID G MCGARRY                                     823 ST CLAIR ST                                                                                LAPEER            MI    48446‐2064
DAVID G MEHALKO & ROLLA M MEHALKO JT TEN            774 RIDGE RD SOUTH                                                                             MARTINSBURG       WV    25401‐0840
DAVID G MENTZER                                     8517 DELAVAN AVE                                                                               AUSTIN            TX    78717‐5406
DAVID G MERZ                                        102 ROXBURY INDUSTRIAL CTR                                                                     CHARLES CITY      VA    23030‐2310
DAVID G MIDDLETON                                   BOX 355                                                                                        EMLENTON          PA    16373‐0355
DAVID G MILLAR                                      230 S BEMISTON SUITE 1110                                                                      ST LOUIS          MO    63105‐1912
DAVID G MILLER                                      9225 BAY HILL DR NE                                                                            WARREN            OH    44484‐6703
DAVID G MILLER                                      4380 GREEN RD                                                                                  LOCKPORT          NY    14094‐8804
DAVID G MILLER & JUANITA R MILLER JT TEN            13619 N 21ST AVE                                                                               PHOENIX           AZ    85029‐1610
DAVID G MOORE                                       1003 W BRADY ST                                                                                CHESANING         MI    48616‐1003
DAVID G MOORE                                       795 EUFAULA HEIGHTS RD                                                                         LONGVIEW          WA    98632‐9609
DAVID G MORSE                                       50170 CEDARGROVE RD                                                                            SHELBY TOWNSHIP   MI    48317‐1540

DAVID G MULOCK                                 195 17TH AVE N                                                                                      ST PETERSBURG     FL    33704‐4524
DAVID G NATION II                              427 IRISHTOWN RD                                                                                    GROVE CITY        PA    16127‐4411
DAVID G OLIVER                                 335 4TH ST W                                                                                        PALMETTO          FL    34221‐5222
DAVID G PALASZEWSKI                            9 SHADYSIDE LANE                                                                                    LANCASTER         NY    14086‐1157
DAVID G PALMER                                 PARADISE HILL DR                                                                                    UNION SPRINGS     NY    13160
DAVID G PARKER                                 251 COUNTY ROAD 96                                                                                  MOULTON           AL    35650‐5003
DAVID G PARRAGUIRRE & MRS AUDREY L PARRAGUIRRE 1380 PALISADE DR                                                                                    RENO              NV    89509‐3267
JT TEN
DAVID G PAUGH                                  7611 CHESAPEAKE DR                                                                                  BALTIMORE        MD     21219‐1436
DAVID G PEACY                                  1834 TWIN LAKES BLVD                                                                                OXFORD           MI     48371‐5837
DAVID G PEACY & SHARON R PEACY JT TEN          1834 TWIN LAKES BLVD                                                                                OXFORD           MI     48371‐5837
DAVID G PETZ                                   46633 CRYSTAL DOWNS W                      LOWR                                                     NORTHVILLE       MI     48168‐8456
DAVID G POPIS                                  19819 SHORECREST DRIVE                                                                              CLINTON TOWNSHIP MI     48038‐5555

DAVID G PYLES & MARY PAT PYLES JT TEN               6744 N LIGHTFOOT AVE                                                                           CHICAGO           IL    60646‐1411
DAVID G REED                                        9031 JACKSON ST                                                                                MENTOR            OH    44060‐4436
DAVID G RIVERA                                      4171 DYER ST                          APT 35                                                   UNION CITY        CA    94587‐3940
DAVID G ROBINSON                                    C/O SHANGHAI                          PO BOX 9022                                              WARREN            MI    48090‐9022
DAVID G ROSS                                        4887 FREER ROAD                                                                                ROCHESTER         MI    48306‐1706
DAVID G ROSS                                        70 E BASELINE LK RD                                                                            GOBLES            MI    49055‐2951
DAVID G SALT                                        447 LE SABRE                          OSHAWA ON                              L1K 1E3 CANADA
DAVID G SASH                                        32872 ANITA                                                                                    WESTLAND          MI    48185‐1576
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DAVID G SCHNURRENBERGER                            5901 NEW RD                                                                                    YOUNGSTOWN      OH    44515‐4236
DAVID G SCHULZ                                     462 STONEHAVEN PLACE                  LONDON ON                              N6H 5N3 CANADA
DAVID G SEAY                                       2925 THRUSH DR                                                                                 ST CHARLES      MO    63301‐1280
DAVID G SIMMONS                                    10900 W C R 300 N                                                                              MUNCIE          IN    47304‐9756
DAVID G SIMPSON                                    PSC 2 BOX 6957                                                                                 APO             AE    09012
DAVID G SMITH                                      6650 SUNNY LANE                                                                                INDIANAPOLIS    IN    46220‐3772
DAVID G SMITH                                      1978 COUNTY ROAD 381                                                                           WEWAHITCHKA     FL    32465‐5593
DAVID G SMOLINSKI                                  7312 ELM HWY                                                                                   POSEN           MI    49776‐9469
DAVID G SNODDY                                     332 TIMBER RUN DR                                                                              CANFIELD        OH    44406‐7624
DAVID G SPENCE                                     857 RIVER BEND DRIVE                                                                           ROCHESTER       MI    48307‐2729
DAVID G SPENCE & SHARON M SPENCE JT TEN            857 RIVER BEND DRIVE                                                                           ROCHESTER       MI    48307‐2729
DAVID G SPENCER                                    2 GREENHILL DRIVE                     THOROLD ON                             L2V 1W5 CANADA
DAVID G STAFFORD                                   153 SENTU WAY                                                                                  HARTWELL        GA    30643‐8216
DAVID G STAINBROOK & MRS BARBARA T STAINBROOK      2718 CENTER DRIVE                                                                              ZANESVILLE      OH    43701‐1427
JT TEN
DAVID G STANABACK & VIRGILINE L STANABACK JT TEN   10241 LAFAYETTE LANE                                                                           DIMONDALE       MI    48821‐9521

DAVID G STAPLES & JANET A STAPLES JT TEN           2 LEWIN ROAD                          PO BOX 5637                                              HANOVER         NH    03755
DAVID G STEPHENSON CUST JILL ELISE STEPHENSON      23 SOFT WIND COVE                                                                              JACKSON         TN    38301‐3445
UGMA IA
DAVID G STUERMER & MARCIA J STUERMER JT TEN        17417 NE 31ST ST                                                                               VANCOUVER       WA    98682‐3667

DAVID G SULLIVAN                               811R FAIRVIEW ST                                                                                   JACKSON         MS    39202‐1627
DAVID G SULLIVAN & EVELYN T SULLIVAN JT TEN    127 SULLIVAN RD                                                                                    OTEGO           NY    13825‐2290
DAVID G SWAIN                                  1325 EDWARD DR                                                                                     MONCKS CORNER   SC    29461‐9258
DAVID G TAYLOR                                 1101 BRITTANY HILLS DR                                                                             DAYTON          OH    45459‐1415
DAVID G THEEKE                                 2742 MAIN ST                                                                                       GREEN BAY       WI    54311‐6727
DAVID G THEEKE CUST SARAH B THEEKE UTMA WI     2742 MAIN ST                                                                                       GREEN BAY       WI    54311‐6727
DAVID G THEEKE CUST TIMOTHY THEEKE UTMA WI     2742 MAIN ST                                                                                       GREEN BAY       WI    54311‐6727
DAVID G THOMASON                               2328 OAKWOOD DR                                                                                    ANDERSON        IN    46011‐2847
DAVID G THOMPSON CUST NOELANI LAURA THOMPSON C/O LANDE                                   2421 TUSITALA ST APT 901                                 HONOLULU        HI    96815‐3104
UTMA HI
DAVID G TUCKER                                 9028 BIRKHILL                                                                                      STERLING HTS    MI    48314‐2503
DAVID G TYLER & SUSAN S TYLER JT TEN           1024 SAW PEN POINT TRL                                                                             VIRGINIA BCH    VA    23455‐5638
DAVID G UFFELMAN                               836 ROBINHOOD RD                                                                                   SHERWOOD FRST   MD    21405
DAVID G ULASEWICH                              151 EUCLID AVENUE                                                                                  KENMORE         NY    14217‐2803
DAVID G ULMER                                  VILLAGE#54 6035 S TRANSIT RD                                                                       LOCKPORT        NY    14094
DAVID G UMBERG                                 4870 GLAD STONE PARKWAY                                                                            SUWANEE         GA    30024‐6948
DAVID G UPTHEGROVE                             11100 GALE RD                                                                                      OTISVILLE       MI    48463‐9435
DAVID G UPTHEGROVE & SHIRLEY T UPTHEGROVE JT   11100 GALE RD                                                                                      OTISVILLE       MI    48463‐9435
TEN
DAVID G URBANOWSKI                             1921 FOXCLIFF N                                                                                    MARTINSVILLE    IN    46151‐8011
DAVID G VANDINE                                1357 SHARON RD                                                                                     MANSFIELD       OH    44907‐2740
DAVID G VIESCA                                 41647 SHERWOOD ST                                                                                  FREMONT         CA    94538‐4122
DAVID G WACKENHUTH                             186 COUNTRY VILLAGE LANE                                                                           EAST ISLIP      NY    11730‐3708
DAVID G WADE                                   221 MOSS HILL DR                                                                                   ARLINGTON       TX    76018‐4024
DAVID G WANTLAND CUST KAREN E WANTLAND UGMA C/O KAREN MCKENZIE                           7657 EL PENSADOR                                         DALLAS          TX    75248‐4307
OK
DAVID G WANTLAND CUST ROBIN F WANTLAND UGMA 9119 STONE CREEK PLACE                                                                                DALLAS          TX    75243‐6227
OK
DAVID G WARSOCKI CUST DAVID A WARSOCKI UGMA NY 2238 MAPLE RD                                                                                      WILSON          NY    14172‐9756

DAVID G WHITFIELD SR & RENEE S WHITFIELD TEN COM 205 W HUNTINGTON RD                                                                              BOGART          GA    30622‐1748

DAVID G WILBURN                                    1210 NORTH EVERETT                                                                             HARRISVILLE     MI    48740‐9747
DAVID G WILLIAMS                                   74 MARCY AVE                                                                                   EAST ORANGE     NJ    07017‐3409
DAVID G WILLIAMS                                   1704 AZALEA                                                                                    SULPHUR         LA    70663‐3806
DAVID G WINTER                                     610 NEWMAN CRES                       WHITBY ON                              L1N 1M6 CANADA
DAVID G WOLFE & SUSAN A WOLFE JT TEN               220 BRANDY WINE RD                                                                             COLLEGEVILLE    PA    19426
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DAVID G WRIGHT                                  2332 SANDELL DR                                                                                 DUNWOODY         GA    30338‐4527
DAVID G YEE                                     19384 JEANETTE                                                                                  SOUTHFIELD       MI    48075‐1732
DAVID G YOUNG                                   PO BOX 579                                                                                      HEREFORD         AZ    85615‐0579
DAVID G YOUNG & MRS BARBARA E YOUNG JT TEN      14 WOODS DRIVE                                                                                  HARBOR SPRINGS   MI    49740‐1455

DAVID G ZINK                                    5806 PATRICK HENRY DR                                                                           MILFORD          OH    45150‐2129
DAVID G ZRIKE                                   133 HEIGHTS RD                                                                                  RIDGEWOOD        NJ    07450‐2411
DAVID GAHR CUST CARLA GAHR U/THE NEW YORK       70 LAFAYETTE ST                                                                                 NEW YORK         NY    10013‐4000
UNIFORM GIFTS TO MINORS ACT
DAVID GAHR CUST SETH GAHR U/THE NEW YORK        70 LAFAYETTE ST                                                                                 NEW YORK         NY    10013‐4000
UNIFORM GIFTS TO MINORS ACT
DAVID GAINES                                    16510 COUNTY ROAD 49                                                                            MUSCADINE        AL    36269‐3139
DAVID GALE                                      2642 BEVERLY LN                                                                                 YUMA             AZ    85365‐2813
DAVID GALE                                      1415 CALIFORNIA ST                                                                              BERKELEY         CA    94703‐1022
DAVID GARCIA                                    751 CHATSWORTH DR                                                                               SAN FERNANDO     CA    91340‐4205
DAVID GARDNER KREISER CUST JUSTIN WILLIAM       1218 W RANCHO DR                                                                                PHOENIX          AZ    85013‐1640
GARDNER KREISER UGMA AZ
DAVID GARLITZ SR                                4825 FOXSHIRE CIR                                                                               TAMPA            FL    33624‐4309
DAVID GATALETTO                                 344 W FORTINI ST                                                                                MERIDIAN         ID    83642‐7956
DAVID GEALEY                                    26571 N HWY ONE                                                                                 FORT BRAGG       CA    95437‐8452
DAVID GENE ANDERSON                             104 NORTH MARIGOLD LANE                                                                         WEST SALEM       WI    54669‐9380
DAVID GENE ANDERSON                             702 MISSISSIPPI AVE                                                                             CHATTANOOGA      TN    37405‐2858
DAVID GENE CORNO                                334 SOLANA DR                                                                                   TEMPE            AZ    85281‐6636
DAVID GEOFFREY MADDUX                           8175 WHITESAND BLVD                                                                             NAVARRE BEACH    FL    32566‐7130
DAVID GEORGE EISENHAUER                         SKEPPARGATAN 23                        11452 STOCKHOLM                        SWEDEN
DAVID GEORGE EISENHAUER                         SKEPPARGATAN #23                       114 52 STOCKHOLM                       SWEDEN
DAVID GEORGE KELLER                             843 E MEADOW LARK                                                                               SPRINGFIELD      MO    65810‐2955
DAVID GEORGE LEACH                              BOX P O BOX 853                                                                                 KENTFIELD        CA    94914‐0853
DAVID GERACE                                    5 LAUREL AVE                                                                                    MASSENA          NY    13662‐2030
DAVID GESMER CUST DANIEL GESMER UGMA IL         1630 30TH STREET #257                                                                           BOULDER          CO    80301‐1014
DAVID GEULA                                     254 EAST 68TH ST                       APT 25 C                                                 NEW YORK         NY    10065‐6014
DAVID GIBBS & SANDRA GIBBS JT TEN               4125 E WILSHIRE DR                                                                              SPRINGFIELD      MO    65809
DAVID GILBERT SCHMIDLING                        104 COVINGTON GREEN LANE                                                                        PATTERSON        NY    12563‐2412
DAVID GILLESPIE                                 14 ARLINGTON PLACE                                                                              KEARNY           NJ    07032‐3715
DAVID GILLILAND                                 3738 MEETING ST                                                                                 DULUTH           GA    30096‐3101
DAVID GILLIS CUST LOGAN GILLIS UGMA NY          3253 ORAN GULF RD                                                                               MANLIUS          NY    13104
DAVID GIOMBETTI & DAWN GIOMBETTI JT TEN         11 BAY AVE                                                                                      FORKED RIVER     NJ    08731‐4328
DAVID GIOMBETTI CUST DENNIS GIOMBETTI UGMA MI   11 BAY AVE                                                                                      FORKED RIVER     NJ    08731‐4328

DAVID GIOMBETTI CUST DYLAN GIOMBETTI UGMA MI    11 BAY AVE                                                                                      FORKED RIVER     NJ    08731‐4328

DAVID GIRLING                                   BOX 86                                                                                          NEWPORT BEACH    CA    92662
DAVID GIRON                                     690 CRESTWOOD DRIVE                                                                             BLOOMSBURG       PA    17815
DAVID GISSENDANNER                              15410 YOUNG                                                                                     DETROIT          MI    48205‐3660
DAVID GLEN HALSELL                              PO BOX 616                                                                                      ANDERSON         IN    46015
DAVID GLENN SCHWARTZ                            866 HOLBORN RD                                                                                  STREETSBORO      OH    44241‐4308
DAVID GOLD                                      155 RODEO DRIVE                        THORNHILL ON                           L4J 4Y6 CANADA
DAVID GOLDBERG CUST JACOB GOLDBERG UTMA IL      807 TWELVE OAKS PKWY                                                                            WOODSTOCK        IL    60098‐4317

DAVID GONSER                                    104 CARDINAL CIR DR                                                                             MORGANTOWN       IN    46160‐8776
DAVID GONZALEZ                                  9402 MERRICK ST                                                                                 TAYLOR           MI    48180‐3845
DAVID GOODWIN & SALLY J GOODWIN JT TEN          1231 HIGHLAND RD                                                                                SHARON           PA    16146‐3633
DAVID GORDON BLAND                              8376 OAKDALE CT                                                                                 MASON            OH    45040‐5009
DAVID GORIS VOGELZANG                           1250 BEACH DR                                                                                   HOLLAND          MI    49423‐4490
DAVID GOSCICKI                                  7220 CYPRESS POINT DR                                                                           YPSILQNTI        MI    48197‐9537
DAVID GRACE                                     581 EAGLES CROSSING PL                                                                          LAKE MARY        FL    32746‐3856
DAVID GRADON CLEMONS                            1301 NORTH DUNCAN AVE                                                                           AMITE            LA    70422‐5509
DAVID GRADY CORN                                829 GEORGE AVE                                                                                  HAZEL PARK       MI    48030‐2559
DAVID GRAEME MARSH                              408 HIGHGATE MAORI HILL                DUNEDIN                                NEW ZEALAND
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DAVID GRAHAM REAY                               3325 LESSIA DR                                                                                   CLIO             MI    48420‐1918
DAVID GRANT                                     402 TORRY AVE                                                                                    BRONX            NY    10473‐1617
DAVID GRAY                                      157 EASTHAVEN DR                                                                                 CARBONDALE       IL    62901
DAVID GREATHOUSE                                5025 CROFTSHIRE DR                                                                               KETTERING        OH    45440‐2401
DAVID GREEN JR                                  6415 HEATHFIELD DR                                                                               EAST LANSING     MI    48823‐9659
DAVID GREEN JR                                  1129 ROCA LANE                                                                                   JONESBORO        GA    30238‐8052
DAVID GREENHALGH                                15 HILL ROAD                                                                                     IVYLAND          PA    18974‐1405
DAVID GREGORY JOHNSON & RUT INGER JOHNSON JT    1100 PLACITA LINTERNILLA                                                                         TUCSON           AZ    85718‐1040
TEN
DAVID GREGORY JOHNSON CUST LARS GREGORY         1100 PLACITA LINTERNILLA                                                                         TUCSON           AZ    85718‐1040
JOHNSON UGMA CT
DAVID GREGORY JOHNSON CUST LEIF ERIK JOHNSON    1100 PLACITA LINTERNILLA                                                                         TUCSON           AZ    85718‐1040
UGMA WA
DAVID GROSS & HENRY GROSS TR UA 08/18/89 THE    626 E WALNUT AVE                                                                                 BURBANK          CA    91501‐1726
DAVID AND EVELYNGROSS
DAVID GROSSMAN CUST MATTHEW JAKE GROSSMAN       445 SPRUCE LANE                                                                                  EAST MEADOW LI   NY    11554‐3705
UGMA NY
DAVID GROSSMAN CUST MICHELE LEE GROSSMAN        445 SPRUCE LANE                                                                                  EAST MEADOW LI   NY    11554‐3705
UGMA NY
DAVID GROVER                                    144 S GLENN ST                                                                                   HILLSBORO        OH    45133‐1211
DAVID GUMMEL                                    27 W UPPER FERRY RD                                                                              W TRENTON        NJ    08628‐2713
DAVID GUNN BAILEY CUST PAGE CARRERE BAILEY UTMA 5925 PRYTANIA ST                                                                                 NEW ORLEANS      LA    70115‐4347
VA
DAVID GUNSAULS                                  24251 ELECTRIC AVE                                                                               RED BLUFF        CA    96080
DAVID GUSKIND                                   9 VAN PELT COURT                                                                                 EAST BRUNSWICK   NJ    08816‐3693
DAVID GUSTAVESON                                2707 N ORCHARD                                                                                   MARION           IN    46952‐1132
DAVID GUTIERREZ                                 11906 SPENCER RD                                                                                 SAGINAW          MI    48609‐9776
DAVID GUY                                       502 JUNIPER ST                                                                                   SALISBURY        MD    21804‐6058
DAVID GUY RALPH JR & BETTY L E RALPH JT TEN     152 SHARPTOWN ROAD                                                                               LAUREL           DE    19956‐1820
DAVID GUY SIMPSON                               20050 WHITEHEAD RD                                                                               WELLINGTON       OH    44090‐9697
DAVID H AITKEN                                  12272 CRAWFORD RD                                                                                OTISVILLE        MI    48463‐9730
DAVID H ALIFF                                   17446 DEER PATH DR                                                                               NORTHVILLE       MI    48167‐1875
DAVID H ALLIGER & CHARLENE D ALLIGER JT TEN     6282 HIDDEN CLEARING                                                                             COLUMBIA         MD    21045‐4233
DAVID H ANDERSON                                R R 5 BOX 5620                                                                                   SAYLORSBURG      PA    18353‐9615
DAVID H BEDELL                                  3119 N SEYMOUR                                                                                   FLUSHING         MI    48433‐2651
DAVID H BELL                                    121 EAST MAIN ST                                                                                 CUT BANK         MT    59427‐2918
DAVID H BELL                                    5580 BLYTH COURT                                                                                 BOKEELIA         FL    33922‐3013
DAVID H BELT                                    5626 GERA WAY                                                                                    SYKESVILLE       MD    21784‐8930
DAVID H BIGELOW                                 PO BOX 1552                                                                                      WHITE SALMON     WA    98672‐1552
DAVID H BITTINGER                               349 WILLIAM ST                                                                                   PLYMOUTH         IN    46563‐2733
DAVID H BLISCHE JR                              6820 MARTIN AVE                                                                                  BALTIMORE        MD    21222‐2911
DAVID H BONSTEEL                                126 HILLCREST DRIVE                                                                              AMHERST          NY    14226‐1229
DAVID H BOOKER                                  4258 DARDENNE DRIVE                                                                              SAINT LOUIS      MO    63120‐1418
DAVID H BOYER JR                                1457 SINKLER RD                                                                                  WARMINSTER       PA    18974‐2555
DAVID H BRADSHAW                                328 BUCHANAN                                                                                     KALAMAZOO        MI    49001‐5320
DAVID H BROOKS                                  1234 KALAMAZOO AVE SE                                                                            GRAND RAPIDS     MI    49507‐1923
DAVID H BROWNLEE                                12045 RYZNAR                                                                                     BELLEVILLE       MI    48111‐2246
DAVID H BUCHHOLZ                                P O BOX 2371                                                                                     PINE             AZ    85544‐2371
DAVID H BUICK & PAULA A BUICK JT TEN            3008 GEHRING DR                                                                                  FLINT            MI    48506‐2262
DAVID H BUNDY                                   7702 SPRING RIDGE DR                                                                             INDIANAPOLIS     IN    46278‐9594
DAVID H BURDASH & MRS NADINE C BURDASH JT TEN 114 BROADBENT ROAD                                                                                 WILMINGTON       DE    19810‐1308

DAVID H BURKE & ROSE M BURKE JT TEN              3021 HENDERSON AVE SE                                                                           CEDAR RAPIDS     IA    52403‐3632
DAVID H BYRON                                    8675 SUNSET DR                                                                                  WILLIAMSVILLE    NY    14221‐7524
DAVID H CALLIHAN                                 801 E HURON RIVER DR                                                                            BELLEVILLE       MI    48111‐2874
DAVID H CAMPBELL TR UA CAMPBELL FAMILY TRUST     2494 CEDAR CONE DR                                                                              HENRICO          VA    23233‐2843
05/02/91
DAVID H CARLSEN & PAMELA H CARLSEN JT TEN        400 ISABELLA                                                                                    WILMETTE         IL    60091‐3424
DAVID H CARLSON                                  11611 CHENAULT ST #217                                                                          LOS ANGELES      CA    90049‐4545
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DAVID H CEASE                                    230 NEW RD                                                                                    AVON              CT    06001‐3166
DAVID H CHARLES                                  3283 HARRISBURG GEOSVILL                                                                      GROVE CITY        OH    43123‐9168
DAVID H CLARK                                    839 COUNTRY CLUB RD                                                                           WASHINGTON        PA    15301‐6103
DAVID H COMSTOCK                                 1404 MONROE                                                                                   SAGINAW           MI    48602‐4475
DAVID H CONTRERAS                                9852 DIXIE HWY                                                                                CLARKSTON         MI    48348‐2459
DAVID H COOK CUST NICOLE M COOK UGMA MI          4385 E M‐72                                                                                   HARRISVILLE       MI    48740‐9708
DAVID H COOK CUST RACHEL C COOK UGMA MI          4385 E M‐72                                                                                   HARRISVILLE       MI    48740‐9708
DAVID H COOK CUST SAMANTHA LYNN COOK UGMA MI     4385 E M‐72                                                                                   HARRISVILLE       MI    48740‐9708

DAVID H COPE                                     8910 SLAGLE ROAD                                                                              CENTERVILLE       OH    45458‐2645
DAVID H CRITZER & KATHERINE V CRITZER JT TEN     656 FLORENCE AVE                                                                              WAYNESBORO        VA    22980‐6029
DAVID H CROYTON                                  6611 DOCK LUCK LN                                                                             SPOTSYLVANIA      VA    22551
DAVID H DANYO                                    6048 GARDEN CITY RD                                                                           CRESTVIEW         FL    32539
DAVID H DEMERS                                   14040 W BEECHWOOD TRL                                                                         NEW BERLIN        WI    53151‐5259
DAVID H DILLIER & ANN K DILLIER JT TEN           1748 COUNTY RD 350 N                                                                          GREENUP           IL    62428‐3557
DAVID H DRAISS                                   1941 HATHAWAY DR                                                                              BRUNSWICK         OH    44212‐4025
DAVID H DUFEL                                    37525 LILLY BEA AVE                                                                           ZEPHYRHILLS       FL    33541‐7791
DAVID H DUING                                    404 S MAIN                                                                                    TRENTON           IL    62293‐1339
DAVID H ECKMANN                                  5231 PINE TREE DR                                                                             RAPID CITY        SD    57702‐9270
DAVID H ERVIN & WILMA J ERVIN JT TEN             8319 BURR AVE                                                                                 CROWN POINT       IN    46307‐1414
DAVID H FALES                                    6361 COCOA LANE                                                                               APOLLO BEACH      FL    33572‐2307
DAVID H FREIRICH                                 2309 WEST 69TH STREET                                                                         SHAWNEE MISSION   KS    66208‐2239

DAVID H FRIEND                                   685 ALPHA DRIVE                                                                               MORRISTOWN        TN    37814‐1342
DAVID H G GOULD                                  2311 STARLING ST                                                                              BRUNSWICK         GA    31520‐4216
DAVID H GEISLER                                  109 LAFAYETTE AVENUE                                                                          FOUNTAIN INN      SC    29644‐9442
DAVID H GERST                                    46425 HARRIS                                                                                  BELLEVILLE        MI    48111‐8979
DAVID H GILLIS                                   8 LAURA DR                                                                                    SANDY CREEK       NY    13145‐2150
DAVID H GINER                                    594 BRITTON RD                                                                                GREECE            NY    14616‐3007
DAVID H GOOD                                     6580 E LAMPKINS RIDGE RD                                                                      BLOOMINGTON       IN    47401
DAVID H GORDON                                   35 DEVON WOOD                                                                                 SAN ANTONIO       TX    78257‐1212
DAVID H GRAVES & MARY K GRAVES JT TEN            1352 MAIN ST                                                                                  BECKET            MA    01223
DAVID H GREEN                                    8189 AMARILLO DRIVE                                                                           INDIANAPOLIS      IN    46237‐8214
DAVID H GUSTAFSON                                5251 DIXIE HWY                       APT 1114                                                 FAIRFIELD         OH    45014‐3028
DAVID H GUSTAFSON                                115 MILLWOOD DRIVE                                                                            TONAWANDA         NY    14150‐5513
DAVID H HAHN                                     1082 MEADOWLAWN                                                                               PONTIAC           MI    48340‐1730
DAVID H HAMILTON                                 8500 KIMBLEWICK NE                                                                            WARREN            OH    44484‐2066
DAVID H HAMILTON                                 2449 40TH ST S                                                                                CLIMAX            MI    49034
DAVID H HAMM                                     5151 MEDLAR RD                                                                                MIAMISBURG        OH    45342‐4747
DAVID H HILL                                     5920 S EMERSON RD                                                                             BELOIT            WI    53511‐9424
DAVID H HILLGER                                  12521 FISH LAKE RD                                                                            HOLLY             MI    48442‐8301
DAVID H HORTON                                   518 ARTHUR MOORE DR                                                                           GREEN COVE SP     FL    32043‐9507
DAVID H HUFFORD                                  5135 W ELKTON ROAD                                                                            HAMILTON          OH    45011‐8427
DAVID H HUGHES                                   27 CARRIE MARIE LN                                                                            HILTON            NY    14468‐9408
DAVID H HURT JR                                  6 NICHOLAS DR                                                                                 SICKLERVILLE      NJ    08081‐9428
DAVID H HUSSONG                                  10 JOHNSON RD                                                                                 POMFRET           CT    06259‐1016
DAVID H JACKOWAY & PHYLLIS A JACKOWAY JT TEN     725 S SKINKER                        APT 4S                                                   ST LOUIS          MO    63105‐3238

DAVID H JOHNSON                                  PO BOX 463                                                                                    OLCOTT            NY    14126‐0463
DAVID H JONES                                    230 UNIVERSITY DR                                                                             ATHENS            GA    30605‐1438
DAVID H JONES JR                                 100 CAMBRIDGE DR APT 146                                                                      DAVISON           MI    48423‐1766
DAVID H KAPLAN                                   76 ROGERS AVE                                                                                 SOMERVILLE        MA    02144
DAVID H KENNY                                    1220 MILITARY ROAD                                                                            HOUGHTON          MI    49931‐1986
DAVID H KING                                     1108 TURRILL RD                                                                               LAPEER            MI    48446‐3721
DAVID H KINGSBURY JR                             2625 S RIVER RD                                                                               TEMPLETON         CA    93465‐8543
DAVID H KLINEFELTER                              3810 STOELTING RD                                                                             SANBORN           NY    14132‐9420
DAVID H KROTH                                    36960 HIGHVIEW                                                                                NEW BALTIMORE     MI    48047‐1612
DAVID H KRUMPE                                   2859 ORLANDO DR                                                                               PITTSBURGH        PA    15235‐4170
DAVID H LAUTEN                                   PO BOX 2759                                                                                   SUGAR LAND        TX    77487‐2759
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DAVID H LAWSON                                 ROUTE 2                              PO BOX 114                                               WASHINGTON        WV    26181‐9802
DAVID H LEFEVRE                                13520 MANCHESTER DRIVE                                                                        SOUTHGATE         MI    48195‐3071
DAVID H LEFEVRE & SHARON B LEFEVRE JT TEN      13520 MANCHESTER DRIVE                                                                        SOUTHGATE         MI    48195‐3071
DAVID H LENTSCH                                1540 BURROUGH RD                                                                              COWLESVILLE       NY    14037‐9716
DAVID H LEWIS JR                               1600 WESTBROOK AVE                   APT 383                                                  RICHMOND          VA    23227‐3344
DAVID H LYONS                                  23575 CARRIAGE LANE                                                                           NORTH OLMSTED     OH    44070‐1408
DAVID H MANKA                                  408 HELENA DRIVE                                                                              TALLMADGE         OH    44278‐2672
DAVID H MARTIN                                 11434 HARBOR COVE DR                                                                          FENTON            MI    48430‐8876
DAVID H MASTERS                                108 SUMMIT STREET                                                                             BATAVIA           NY    14020‐2218
DAVID H MCCARN                                 749 E MAIN                                                                                    IONIA             MI    48846‐1848
DAVID H MEYR & LESLIE N MEYR JT TEN            3905 VAN NESS DRIVE                                                                           VIRGINIA BEACH    VA    23462‐7505
DAVID H MITCHELL                               PO BOX 420                                                                                    ROSEVILLE         MI    48066‐0420
DAVID H MORSE                                  393 BEN AVE                                                                                   LILBURN           GA    30047‐4001
DAVID H NASTERNAK                              12142B RANCHO BERNARDO RD                                                                     SAN DIEGO         CA    92128‐2019
DAVID H NIXON                                  3 MILL ROAD                          SUITE 102                                                WILMINGTON        DE    19806‐2146
DAVID H NORTON                                 35385 AURORA                                                                                  SOLON             OH    44139
DAVID H OCONNOR                                105 ARABIAN DR                                                                                MADISON           AL    35758‐6634
DAVID H ODOM                                   320 S EUCLID AV                                                                               DAYTON            OH    45402‐6906
DAVID H OLEWIN                                 48620 HARBOR DRIVE                                                                            NEW BALTIMORE     MI    48047‐3471
DAVID H OLSON                                  415 AVONDALE AVE                                                                              LOS ANGELES       CA    90049‐4801
DAVID H PATTEN                                 21 PATTEN ROAD                                                                                NORTH LAWRENCE    NY    12967‐9528

DAVID H PATTEN & LOIS B PATTEN JT TEN          21 PATTEN RD                                                                                  NORTH LAWRENCE    NY    12967‐9528

DAVID H PERRY                                  PO BOX 977                                                                                    TERRELL          TX     75160‐7004
DAVID H PORTER TR DAVID H PORTER REVOCABLE     5 BIRCH RUN DR                                                                                SARATOGA SPRINGS NY     12866‐1023
TRUST UA 12/21/05
DAVID H POSTLES JR                             PO BOX 467                                                                                    COLUMBIA          SC    29202‐0467
DAVID H PRATT                                  9009 EASTHAVEN CT                                                                             NEW PORT RICHEY   FL    34655‐5211

DAVID H PROULX                                 464 BAUM RD                                                                                   HASTINGS          NY    13076‐3166
DAVID H RABBINO                                15535 VILLAGE DR                                                                              LAKE OSWEGO       OR    97034‐3759
DAVID H RADDENBACH                             W4985 FOWLER DR                                                                               MERRILL           WI    54452
DAVID H REEDER                                 6105 WATERFORD DR                                                                             GRAND BLANC       MI    48439‐9411
DAVID H RICHARDSON                             3648 PACKERD RD                                                                               ANN ARBOR         MI    48108
DAVID H RICKABY                                4675 TREAT HIGHWAY                                                                            ADRIAN            MI    49221‐8619
DAVID H ROBERTS                                1870 MANORHAVEN                                                                               ORTONVILLE        MI    48462‐8524
DAVID H ROBSON                                 6023 N STATE RD                                                                               DAVISON           MI    48423‐9363
DAVID H RUST & DONALD RUST JT TEN              3008 NORTH US 23                                                                              OSCODA            MI    48750
DAVID H SALAZAR                                46732 AYRES                                                                                   BELLEVILLE        MI    48111‐1289
DAVID H SCANLON III                            7308 OXMOOR DR                                                                                KNOXVILLE         TN    37931‐1825
DAVID H SCHINDLER CUST ANDREW R SCHINDLER UGMA 636 WOODGATE CIR                                                                              SUNRISE           FL    33326‐2187
MA
DAVID H SCHINDLER CUST MATTHEW J SCHINDLER     636 WOODGATE CIR                                                                              SUNRISE           FL    33326‐2187
UGMA MA
DAVID H SCHONFELD                              3015 STUMP HALL RD                                                                            COLLEGEVILLE      PA    19426‐1411
DAVID H SCHULTZ                                13930 JANWOOD LN                                                                              DALLAS            TX    75234‐3634
DAVID H SCOTT JR                               9395 WALCOTT ROAD                                                                             CLARENCE CENTER   NY    14032‐9127

DAVID H SCOTT JR & ELEANOR M SCOTT JT TEN      9395 WOLCOTT ROAD                                                                             CLARENCE CENTER   NY    14032‐9127

DAVID H SHEPHERD                                4500 STAR ROAD                                                                               GREENWICH         OH    44837‐9498
DAVID H SHEPHERD                                2005 E KELLY RD                                                                              FRANKFORT         IN    46041‐9470
DAVID H SMITH                                   8815 BABCOCK ROAD                                                                            JEDDO             MI    48032‐8206
DAVID H SMITH & LINDA L SMITH JT TEN            8247 MANCHESTER DR                                                                           GRAND BLANC       MI    48439‐9559
DAVID H SOULTANIAN & MRS DELPHINE SOULTANIAN JT 1435 NORTHBROOK DR                                                                           ANN ARBOR         MI    48103‐6166
TEN
DAVID H SPROWLE                                 491 ELK DR                                                                                   PAGOSA SPGS       CO    81147‐7652
DAVID H SUTER                                   8 SPRUCE ST                                                                                  SEWELL            NJ    08080‐1426
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DAVID H VENZKE                                    2910 NORTH LANE                                                                                LANSING         MI    48917‐4423
DAVID H VESOLE CUST LORI M VESOLE UGMA IL         160 RIVERSIDE BLVD                    APT 9S                                                   NEW YORK        NY    10069‐0707
DAVID H VOGT                                      17796 HWY 13                                                                                   FARMERSBURG     IA    52047‐8008
DAVID H WANZO                                     1539 OLMSTEAD PLACE                                                                            DAYTON          OH    45406‐4548
DAVID H WARNER                                    BOX 190                                                                                        DALTON          OH    44618‐0190
DAVID H WERNER                                    6050 E CAMBRIDGE AVE                                                                           SCOTTSDALE      AZ    85257‐1022
DAVID H WILLIS                                    6017 HOLLINS AVE                                                                               BALTIMORE       MD    21210‐1006
DAVID H WILT & LOIS A WILT TR WILT FAMILY REV     2510 NADINE CIRCLE                                                                             HINCKLEY        OH    44233‐9696
LIVING TRUST UA 4/29/96                                                                                                                          TOWNSHIP
DAVID H WRINN                                     60 LAYDON AVENUE                                                                               NORTH HAVEN     CT    06473‐2740
DAVID H YICK & MRS ANNA YICK JT TEN               105 STACIA STREET                                                                              LOS GATOS       CA    95030‐6243
DAVID HACKER                                      21443 DETRIOT RD 226 E                                                                         ROCKY RIVER     OH    44116‐2252
DAVID HALL CUNNINGHAM                             1962 W LIBERTY ST                     APT 6                                                    ANN ARBOR       MI    48103‐4560
DAVID HALL CUST KATHERINE D HALL UTMA OH          711 CARRIAGE CT                                                                                NEWARK          OH    43055‐1613
DAVID HAMILTON MC CALL                            3036 SPIRIT LAKE DR                                                                            WINTER HAVEN    FL    33880‐1548
DAVID HANCOCK & MAXINE M HANCOCK JT TEN           2929 SCHAAL AVE                                                                                TERRE HAUTE     IN    47803‐1250
DAVID HANN                                        PO BOX 2247                                                                                    MONUMENT        CO    80132‐2301
DAVID HARMON HAMP                                 37 ADAM ST                                                                                     TONAWANDA       NY    14150‐2101
DAVID HAROLD ERICKSON                             11940 LAKE LN                         LOT 11                                                   LINDSTROM       MN    55045‐9545
DAVID HAROLD WILLIAMS                             PO BOX 3678                                                                                    LAKE WORTH      FL    33465‐3678
DAVID HARRIS                                      110 BLUE TRL                                                                                   HAMDEN          CT    06518‐1602
DAVID HARRIS                                      2634 STOCKER AVE                                                                               YOUNGSTOWN      OH    44505‐3943
DAVID HARRY LEVENE                                3434 N TAMIAMI TRL                                                                             SARASOTA        FL    34234‐5356
DAVID HARTZ & MARGARET M HARTZ JT TEN             5104 TIMBER RIDGE TRAIL                                                                        CLARKSTON       MI    48346‐3853
DAVID HARTZ SR                                    8 HAMMOND ST                                                                                   ROCHDALE        MA    01542
DAVID HARVEY JR                                   5518 GIST AVE                                                                                  BALTO           MD    21215‐4506
DAVID HATCHETT                                    415 CHESTNUT ST                                                                                HORSE CAVE      KY    42749‐1054
DAVID HAUGK & ERIKA HAUGK JT TEN                  PO BOX 187                                                                                     POWAY           CA    92074
DAVID HAYES HALEY                                 250 MYSTIC LN                                                                                  MEDIA           PA    19063‐5316
DAVID HEDGES                                      1835 W MANITOU DRIVE                                                                           OWOSSO          MI    48867‐8725
DAVID HELBURN SACHS                               405 BLUEMONT CIRCLE                                                                            MANHATTAN       KS    66502‐4531
DAVID HELFAND & MRS INA HELFAND JT TEN            3792 WILDWOOD ST                                                                               YORKTOWN        NY    10598‐1131
                                                                                                                                                 HEIGHTS
DAVID HELLER                                      250 ALDEN AVE                                                                                  YARDLEY         PA    19067‐4849
DAVID HENRY HICKS                                 2880 OLT RD                                                                                    DAYTON          OH    45418‐1824
DAVID HENRY KOCH                                  2949 SHELDON DRIVE                                                                             OSHKOSH         WI    54904‐8817
DAVID HERRICK                                     PO BOX 137                                                                                     NIAGARA         WI    54151‐0137
DAVID HERRING                                     529 KENNEDY                                                                                    YPSILANTI       MI    48198‐8006
DAVID HESS                                        1275 WOODLEDGE DR                                                                              MINERAL RIDGE   OH    44440‐9422
DAVID HEVEL                                       3060 BALD EAGLE LAKE RD                                                                        ORTONVILLE      MI    48462‐8427
DAVID HIGGINS                                     17546 MARX                                                                                     HIGHLAND PARK   MI    48203‐2416
DAVID HITE                                        7210‐6 VILLAGE PARKWAY DRIVE                                                                   INDIANAPOLIS    IN    46254
DAVID HO                                          APT K‐31                              116 PINEHURST AVE                                        NY              NY    10033‐1755
DAVID HOCKNEY                                     580 W LINCOLN                                                                                  BIRMINGHAM      MI    48009‐1963
DAVID HOELLRICH                                   28361 BLANCHARD RD                                                                             DEFIANCE        OH    43512‐8905
DAVID HOLTZ                                       43330 LA BELLE PL                                                                              ASHBURN         VA    20147‐5249
DAVID HOLVOET TR DAVID HOLVOET FAM TRUST UA       1362 MANZANITA CT                                                                              SANTA ROSA      CA    95404‐2089
06/11/98
DAVID HOLZMAN                                     33 PEACOCK FARM RD                                                                             LEXINGTON       MA    02421‐6341
DAVID HOMER TAYLOR & MARILYN WALZ TAYLOR JT       3510 N QUEBEC ST                                                                               ARLINGTON       VA    22207‐4438
TEN
DAVID HOOKER                                      5920 S E 87TH STREET                                                                           OKLAHOMA CITY   OK    73135‐6079
DAVID HOSHAW TR 02/06/03 L & E IRREVOCABLE LIVING 4223 URAM LN                                                                                   ROCKFORD        IL    61101‐8811
TRUST
DAVID HOW‐RANG ONG                                624 STANFORD CT                                                                                IRVINE          CA    92612‐1653
DAVID HOWES                                       8504 FALLING WATER DR                                                                          SOUTH LYON      MI    48178‐8042
DAVID HSIAO                                       4208 51ST AVE NE                                                                               SEATTLE         WA    98105‐4931
DAVID HULL                                        1116 GREENLEAF AVE                    APT GH                                                   WILMETTE        IL    60091‐2737
DAVID HURT                                                                                                                                       ELNORA          IN    47529
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DAVID HUTTON JOICE                                  1330 MISSOURI AVENUE                                                                       DULUTH            MN    55811‐2458
DAVID HYLANDER                                      247‐1D GEMINI DR                                                                           HILLSBOROUGH      NJ    08844
DAVID HYMAN & PHYLLIS HYMAN JT TEN                  104 MARCUS AVE                                                                             NEW HYDE PARK     NY    11040‐3423
DAVID I CARROLL                                     6300 COREY RD                                                                              PERRY             MI    48872‐9312
DAVID I COMBS & BEBE JANE COMBS JT TEN              2000 VICTORY ST                                                                            WICHITA FALLS     TX    76301‐6025
DAVID I COWDEN                                      20 OXFORD PL                                                                               BOURBONNAIS       IL    60914‐1627
DAVID I DUBREUIL                                    14594 TUSCOLA                                                                              CLIO              MI    48420‐8850
DAVID I FOOTE                                       2241 HOFFNER AVE                                                                           ORLANDO           FL    32809‐3533
DAVID I LEONARD & PEARL LEONARD TR LEONARD          12530 HESBY STREET                                                                         NORTH             CA    91607‐2931
FAMILY TRUST UA 01/28/92                                                                                                                       HOLLYWOOD
DAVID I LERTZMAN                                    9526 RHEA AVE                                                                              NORTHRIDGE        CA    91324‐2253
DAVID I LESSER & DIANE M LESSER TR UA LESSER FAMILY 4 HILLSIDE LN                                                                              ROLLING HILLS     CA    90274
TRUST 03/15/90
DAVID I MCKIBBEN                                    8706 HOLLANSBURG‐SAMPSON RD                                                                ARCANUM           OH    45304‐9651
DAVID I PITMAN                                      36 PINELAND                                                                                NESCONSET         NY    11767
DAVID I ROBIDEAU                                    315BETHS AVE                                                                               BRISTOL           CT    06010‐4840
DAVID I ROOS JR                                     4465 COMMERCE DR SW                                                                        ATLANTA           GA    30336‐1911
DAVID I STIEDL                                      68 CUTLASS ROAD                                                                            KINNELON          NJ    07405‐2922
DAVID I TRUELOVE                                    7800 E JEFFERSON AV 233                                                                    DETROIT           MI    48214‐3715
DAVID ICIKSON                                       60 E END AVE                      APT 11C                                                  NEW YORK          NY    10028‐7973
DAVID INGLIS URQUHART                               548 RIVERSIDE DR                  APT 6C                                                   NEW YORK          NY    10027‐3909
DAVID IRA GLOCKNER                                  2909 WOODWARDIA DRIVE                                                                      LOS ANGELES       CA    90077‐2124
DAVID ITALIAANDER                                   149 BROOKSIDE AVE                                                                          RIDGEWOOD         NJ    07450‐4617
DAVID J & MARY P FLOOD TR FLOOD TRUST UA 11/09/98 29 MARGARITA                                                                                 CAMARILLO         CA    93012‐8113

DAVID J ADCOCK                                   928 TINDALAYA DRIVE                                                                           LANSING           MI    48917‐4127
DAVID J AHNEN                                    3862 NELSEY RD                                                                                WATERFORD         MI    48329‐4622
DAVID J ALEXY                                    53679 SHERWOOD LANE                                                                           SHELBY TOWNSHIP   MI    48315‐2053

DAVID J ALEXY & MARY A ALEXY JT TEN              53679 SHERWOOD LN                                                                             SHELBY TOWNSHIP   MI    48315‐2053

DAVID J ANDREYCAK                                7605 MACEDAY LAKE ROAD                                                                        WATERFORD         MI    48329‐2629
DAVID J ANDRZEJEWSKI                             6909 MAPLE DRIVE                                                                              N TONAWANDA       NY    14120‐1005
DAVID J ANUSZKIEWICZ                             4949 LALONDE RD                                                                               BLACK RIVER       MI    48721‐9738
DAVID J ARENS                                    13710 JERICHO ROAD                                                                            SHERWOOD          OH    43556‐9713
DAVID J ARMBRUSTER                               15801 SW 100TH COURT                                                                          MIAMI             FL    33157‐1669
DAVID J ARNDT                                    14730 WILDWOOD RD                                                                             EVART             MI    49631‐8514
DAVID J ARRASMITH                                4357 MCDOWELL RD                                                                              GROVE CITY        OH    43123‐4002
DAVID J ASPELIN                                  PO BOX 217                                                                                    DWIGHT            KS    66849‐0217
DAVID J ASTORIAN                                 27 BRADFORD RD                                                                                WATERTOWN         MA    02472‐3309
DAVID J ATKINSON JR                              156 BROWNS RIVER RD                                                                           LEXINGTON         SC    29072‐9438
DAVID J AUGUSTINI                                29225 FALLRIVER DRIVE                                                                         WESTLAKE          OH    44145‐5238
DAVID J AYRES                                    7461 EAST PARKSIDE DR                                                                         BOARDMAN          OH    44512‐4204
DAVID J B MCCRACKEN                              135 STONEGATE DR                                                                              ERIE              PA    16505‐5816
DAVID J BAERTSCHI                                PO BOX 111/216 S GILBERT ST                                                                   FOOTVILLE         WI    53537‐0111
DAVID J BAHAN                                    31006 E OLD MAJOR RD                                                                          GRAIN VALLEY      MO    64029‐9130
DAVID J BAINES                                   17885 N SHORE EST                                                                             SPRING LAKE       MI    49456‐9113
DAVID J BALAGNA                                  1846 WILMET DR                                                                                TROY              MI    48085‐6405
DAVID J BALISE CUST JINHWA J BALISE UTMA NJ      287 FARVIEW AVE                                                                               PARAMUS           NJ    07652‐3349
DAVID J BARABA                                   11214 BEHR DRIVE                                                                              SAINT LOUIS       MO    63123‐6902
DAVID J BARANKO                                  220 WIRE GRASS WAY                                                                            ALBANY            GA    31721‐6353
DAVID J BARRY                                    5350 SALTSBURG ROAD APT 316                                                                   VERONA            PA    15147
DAVID J BARTHOLOMEW                              6600 BC/EJ RD                                                                                 EAST JORDAN       MI    49727
DAVID J BATTEN                                   223 W GREEN ST                                                                                MONTPELIER        IN    47359‐1315
DAVID J BAUER                                    871 DORO LANE                                                                                 SAGINAW           MI    48604‐1112
DAVID J BAUER JR                                 201 N RIDGE RD                                                                                BAILEY            CO    80421‐2338
DAVID J BAULDRY                                  1109 NORTH X ST                                                                               LOMPOC            CA    93436‐3159
DAVID J BAUMANN & ENID BAUMANN JT TEN            8790 RATHBONE                                                                                 DETROIT           MI    48209‐1759
DAVID J BAUTCH & SONJA BAUTCH JT TEN             PO BOX 434                                                                                    ALMA              WI    54610‐0434
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DAVID J BEALES & NADINE N BEALES JT TEN           6640 DAWN AVENUE                                                                                 COUNTRYSIDE       IL    60525‐7511
DAVID J BECK                                      1126 VAIL CT                                                                                     LANSING           MI    48917‐4000
DAVID J BENEDETTO                                 3 GORMLEY LANE                                                                                   HUNNTINGTON       NY    11743‐1109
DAVID J BENEDETTO                                 3 GORMLEY LANE                                                                                   HUNTINGTON        NY    11743‐1109
DAVID J BENEFIEL                                  2632 INLET DR                                                                                    CICERO            IN    46034‐9502
DAVID J BERENDT & J CAROL BERENDT JT TEN          417 LARCHBROOK DR                                                                                GARLAND           TX    75043‐5523
DAVID J BERTASSO                                  6405 LUCAS RD                                                                                    FLINT             MI    48506‐1222
DAVID J BERTNAGEL                                 100 BROADVIEW HGTS                                                                               THOMASTON         CT    06787‐1652
DAVID J BINKOWSKI                                 10 TUCKER AVE                                                                                    SAN FRANCISCO     CA    94134‐2243
DAVID J BISSET                                    370 HUFF HERITAGE LN                                                                             CHRISTIANSBRG     VA    24073‐3923
DAVID J BISTRICKY                                 9044 CHELMSFORD                                                                                  SWARTZ CREEK      MI    48473‐1170
DAVID J BLASIAK                                   3738 PERDIDO ST                                                                                  SAN MARCOS        CA    92078
DAVID J BOARDMAN                                  21059 PARKE LANE                                                                                 GROSSE ILE        MI    48138‐1147
DAVID J BOBBY CUST DARIAN P BOBBY UGMA MI         10829 CURRIER CT                                                                                 BRIGHTON          MI    48114‐9032
DAVID J BOGHOSIAN                                 13293 ROSEDALE                                                                                   CARLETON          MI    48117‐9756
DAVID J BOGI                                      15421 OAKE RIDGE DRIVE                                                                           SPRING LAKE       MI    49456‐2195
DAVID J BRIGHT                                    EMBASSY TEGUCIGALPA                     UNIT 303                                                 APO               AA    34022
DAVID J BROWN                                     10561 EAGLE ROAD                                                                                 DAVISBURG         MI    48350‐2130
DAVID J BRUCE                                     5485 STARWOOD DR                                                                                 COMMERCE          MI    48382‐1138
                                                                                                                                                   TOWNSHIP
DAVID J BUCKLEY & PATRICA C BUCKLEY JT TEN        62 N NICHOLAS DRIVE                                                                              TONAWANDA         NY    14150‐6108
DAVID J BUECHE                                    11254 SHERIDAN RD                                                                                MONTROSE          MI    48457‐9404
DAVID J BUONO CUST DAMON A BUONO UTMA OR          2110 HILLSIDE CT                                                                                 LAKE OSWEGO       OR    97034‐6774

DAVID J BURNHAM & SHIRLEY BURNHAM JT TEN          675 HARBOR BAY DR                                                                                LAWRENCEVILLE     GA    30045‐6597
DAVID J BURRELL                                   347 OPEL ST                                                                                      RIVERDALE         GA    30274‐3410
DAVID J BUZA                                      30035 BEECHWOOD                                                                                  GARDEN CITY       MI    48135‐2332
DAVID J BYERS & SHIRLEY ANN BYERS TEN ENT         330 PARK ST                                                                                      UNIONTOWN         PA    15401‐9801
DAVID J C GRAY                                    162 JUPITER LN                                                                                   SUMMERVILLE       SC    29483‐5619
DAVID J CADA                                      4707 PEACOCK LANE                                                                                PLAINFIELD        IL    60544‐7280
DAVID J CAKSACKKAR                                867 HAMLIN ST                                                                                    LAKE ORION        MI    48362‐2519
DAVID J CARRIZALES                                32731 BUNERT                                                                                     WARREN            MI    48093‐1420
DAVID J CASKEY                                    6530 GREYRIDGE BLVD                                                                              INDIANAPOLIS      IN    46237‐3162
DAVID J CASKEY & PATRICIA J CASKEY JT TEN         6530 GREYRIDGE BLVD                                                                              INDIANAPOLIS      IN    46237‐3162
DAVID J CHAFFEE                                   39 MCEWEN PD                                                                                     ROCHESTER         NY    14616‐3264
DAVID J CHRISTEN                                  5532 STATE HIGHWAY 23                                                                            NORWICH           NY    13815‐3144
DAVID J CIANFAGLIONE                              2636 PRATT RD                                                                                    THOMPSONS         TN    37179‐9265
                                                                                                                                                   STATION
DAVID J CICHOCKI                                  4069 VIOLET                                                                                      ST CLAIRE         MI    48079‐3532
                                                                                                                                                   TOWNSHIP
DAVID J CLAIR                                     18192 RENKEN RD                                                                                  STAUNTON          IL    62088‐2334
DAVID J CLAUSSEN & MRS SHARON L CLAUSSEN JT TEN   1124 VIVIDELL LAIN                                                                               WEST DES MOINES   IA    50266‐4931

DAVID J CLEM                                      512 DEERING                                                                                      GARDEN CITY       MI    48135‐3159
DAVID J CLUTE                                     714 PLEASANT POINT CIRCLE                                                                        CICERO            IN    46034‐9524
DAVID J COBB                                      4686 E MAIN                                                                                      MILLINGTON        MI    48746‐9056
DAVID J COHEN                                     34 SAVAGE DR                                                                                     UPPER HOLLAND     PA    19053‐1542
DAVID J COLLINS & COLLEEN COLLINS TEN ENT         33 SUMMITT RD                                                                                    HOLBROOK          MA    02343‐2137
DAVID J COTE                                      2918 EMERSON ST                                                                                  SAN DIEGO         CA    92106‐2717
DAVID J COTTON                                    5920 HUGHES RD                                                                                   LANSING           MI    48911‐4718
DAVID J CRAIG                                     9239 HOLYOKE CT                                                                                  INDIANAPOLIS      IN    46268‐1237
DAVID J CRAUGH & JANICE L CRAUGH TEN COM          209 FOX DR                                                                                       MECHANICSBURG     PA    17055‐2534
DAVID J CUNDARI                                   1071 YAMMA RIDGE                                                                                 NEW LENOX         IL    60451‐3067
DAVID J CURTIS                                    27 HIDDEN OAKS BLVD                                                                              WILMINGTON        DE    19808‐1143
DAVID J CUSHMAN                                   8260 E BRISTOL ROAD                                                                              DAVISON           MI    48423‐8767
DAVID J D ANGELO                                  PO BOX 362                                                                                       DRYDEN            MI    48428‐0362
DAVID J D ANNUNZIO                                1208 MAPLE AVE                                                                                   EVANSTON          IL    60202‐1217
DAVID J D'ARCY                                    16611 PORT SHELDON ST                                                                            WEST OLIVE        MI    49460‐9727
DAVID J DANIELS & MERRA DANIELS JT TEN            2306 N MACKENZIE DR                                                                              POST FALLS        ID    83854‐5452
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DAVID J DAVIS JR TR UA 04/11/07 DAVID J DAVID JR REV 2900 ORIOLE TRL                                                                             MICHIGAN CITY   IN    46360
LIV TRUST
DAVID J DECKER                                       9135 HILLVIEW DRIVE                                                                         CLARENCE        NY    14031‐1414
DAVID J DEKKINGA                                     6518 BARRY ST                                                                               HUDSONVILLE     MI    49426‐9507
DAVID J DETTELIS                                     42 LACKAWANNA AVE                                                                           BUFFALO         NY    14212‐2105
DAVID J DEWAR                                        1061 BOWERS LAKE RD                                                                         MILTON          WI    53563‐1901
DAVID J DEY                                          109 THOMAS PLACE                                                                            EDISON          NJ    08837‐2504
DAVID J DISINGER                                     4915 KECK RD                                                                                LOCKPORT        NY    14094‐3521
DAVID J DONALDSON                                    1714 SAINT EMILLION CT                                                                      TRACY           CA    95304‐5943
DAVID J DONNELLY & CATHY A DONNELLY JT TEN           162 DECKERT DR                                                                              PLANTSVILLE     CT    06479‐1838
DAVID J DOWLING                                      14 LAMBOURNE PATH                                                                           SEWELL          NJ    08080‐3142
DAVID J DOWSLEY                                      546 DIANNE DR                      OSHAWA ON                              L1H 7A6 CANADA
DAVID J DRUMM                                        PO BOX 27309                                                                                PHILADELPHIA    PA    19118‐0309
DAVID J DURHAM                                       161 PACECREST COURT                                                                         WEST SENECA     NY    14224‐3839
DAVID J DUROCHER                                     23538 OAKLEIGH AVE                                                                          WOODHAVEN       MI    48183‐2783
DAVID J DYBOWSKI                                     2973 1ST STREET                                                                             PORT AUSTIN     MI    48467
DAVID J ECKMAN                                       7004 DARROW RD                                                                              HURON           OH    44839‐9318
DAVID J EDWARDS                                      6840 KINGMAN DRIVE                                                                          INDIANAPOLIS    IN    46256‐2332
DAVID J ELSAS                                        105 STREAMVIEW                                                                              TROY            MI    48098‐4750
DAVID J ELSTON                                       18530 RUTH                                                                                  MELVINDALE      MI    48122‐1549
DAVID J ERDLY                                        131 CRESTVIEW DR                                                                            LEWISBURG       TN    37091‐4611
DAVID J ERDMANN                                      15310 W GARY RD                                                                             CHESANING       MI    48616‐9543
DAVID J ERPENBACH                                    8299 STONE FARM ROAD                                                                        EDGERTON        WI    53534‐9750
DAVID J EVANS                                        2531 LEXINGTON AVE                                                                          LORAIN          OH    44052‐4847
DAVID J EVENSON & BETH A EVENSON JT TEN              4132 47TH AVE S                                                                             SEATTLE         WA    98118‐1220
DAVID J FAGAN                                        174 PRIVATE ROAD 4732                                                                       RHOME           TX    76078‐3909
DAVID J FARROW                                       4882 HAVANA AVE                                                                             WYOMING         MI    49509‐5028
DAVID J FARRUGIA                                     7427 NORTH CANAL RD                                                                         LOCKPORT        NY    14094‐9405
DAVID J FASCIA                                       655 RAVINE CT SW                                                                            WARREN          OH    44481‐8635
DAVID J FAUCHER                                      31 SYCAMORE ST                                                                              MASSENA         NY    13662‐1513
DAVID J FEDERSPIEL                                   3506 FERNDALE                                                                               DANVILLE        IL    61832‐1439
DAVID J FERGUSON                                     3842 MALEC CIRCLE                                                                           SARASOTA        FL    34233‐2132
DAVID J FERNANDES                                    385 BOUGHTON HILL RD                                                                        HONEOYE FALLS   NY    14472‐9706
DAVID J FESS                                         97 CROSSGATES ROAD                                                                          ROCHESTER       NY    14606‐3329
DAVID J FLACKMAN                                     4600 RIVERVIEW BLVD                                                                         BRADENTON       FL    34209‐1964
DAVID J FLYNN                                        41 LYNBROOK AVE                                                                             TONAWANDA       NY    14150‐8210
DAVID J FOLLMEYER                                    377 MEADOWVIEW CR                                                                           WARREN          OH    44483‐1714
DAVID J FORTIER                                      1458 DENIES                                                                                 BURTON          MI    48509‐2169
DAVID J FOSCOLO                                      48 SAWMILL RUN                                                                              GRAND ISLAND    NY    14072‐1867
DAVID J FOSTER                                       221 S LINCOLN                                                                               BAY CITY        MI    48708
DAVID J FRASER                                       9010 EAGER RD                      APT 1B                                                   SAINT LOUIS     MO    63144‐1158
DAVID J FREEMAN                                      12406 MEANDER CRESCENT             TECUMSEH ON                            N8N 4P3 CANADA
DAVID J FUCHIK                                       1604 TANGLEWOOD DRIVE                                                                       WICHITA FALLS   TX    76309
DAVID J GABRIEL                                      3894 N THOMAS RD                                                                            FREELAND        MI    48623‐8816
DAVID J GADDINI                                      1230 WOODLAND DR                                                                            MILTON          WI    53563‐1814
DAVID J GALGANO                                      3 HIGH ST                                                                                   TARRYTOWN       NY    10591‐6228
DAVID J GARBACZ                                      960 N RIVER                                                                                 YPSILANTI       MI    48198‐2822
DAVID J GIBAS                                        5224 W FOREST HOME AVE             APT 4                                                    MILWAUKEE       WI    53219‐4534
DAVID J GIESKEN                                      16355 ROAD 27                                                                               FORT JENNINGS   OH    45844‐8839
DAVID J GOGGINS                                      8233 SHADY BROOK LN                                                                         FLUSHING        MI    48433
DAVID J GRAHEK & LINDA A GRAHEK JT TEN               PO BOX 187                                                                                  BRECKENRIDGE    MI    48615‐0187
DAVID J GRAY                                         284 N SAGINAW STREET                                                                        MONTROSE        MI    48457‐9786
DAVID J GRAYBILL & SUSAN GRAYBILL JT TEN             357 NEW CANAAN RD                                                                           WILTON          CT    06897‐3324
DAVID J GREEN CUST JESSICA CHAPIN GREEN UTMA NJ 2716 VALENCIA ST                                                                                 BELLINGHAM      WA    98226‐3752

DAVID J GRIFFIN & ROMANZA K GRIFFIN JT TEN        8203 INDEPENDENCE DR                                                                           WILLOW SPRNGS   IL    60480‐1017
DAVID J GRIFFITHS                                 15191 FORD RD                         APT 412                                                  DEARBORN        MI    48126‐4695
DAVID J GROFF & MARY A GROFF JT TEN               5529 E STATION RD                                                                              ROANOKE         IN    46783‐9166
DAVID J GROVE                                     1935 E MYRTLE AV                                                                               PHOENIX         AZ    85020
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DAVID J GUGLIELMO                                    3116 N LA BARRE                                                                                        METAIRIE           LA    70002‐5024
DAVID J GUNDLACH                                     3208 LAWRENCE AVE                                                                                      HURON              OH    44839‐2143
DAVID J HALDEMAN                                     2115 HOLBORN RD                                                                                        WILMINGTON         DE    19808‐4224
DAVID J HALL                                         13692 W TUFTS AVE                                                                                      MORRISON           CO    80465‐1042
DAVID J HALL & LYNN R HALL JT TEN                    13692 W TUFTS AVE                                                                                      MORRISON           CO    80465‐1042
DAVID J HAMANN                                       870 HURLEY DR                                                                                          HOWELL             MI    48843‐8955
DAVID J HAMM                                         275 S 1ST ST UNIT #101                                                                                 JACKSONVILLEBEAC   FL    32250‐6747
                                                                                                                                                            H
DAVID J HAMMOND                                      PO BOX 68                                                                                              ALGONAC            MI    48001‐0068
DAVID J HANNIGAN                                     12500 EDGEWATER DR 504                                                                                 LAKEWOOD           OH    44107‐1673
DAVID J HANSEN                                       4021 NOBAR CIRCLE                                                                                      N LAS VEGAS        NV    89031
DAVID J HARAF                                        4123 HERRINGTON RD N                                                                                   WEBBERVILLE        MI    48892‐9524
DAVID J HART                                         941 RIDGE AVE                                                                                          EVANSTON           IL    60202‐1719
DAVID J HELD                                         9008 N KENNETH                                                                                         SKOKIE             IL    60076‐1645
DAVID J HELD CUST JOSEPH A HELD UTMA OH              9008 N KENNETH                                                                                         SKOKIE             IL    60076‐1645
DAVID J HENSLEY                                      118 SQUIRE LYLE RD                                                                                     SCOTTSVILLE        KY    42164‐8862
DAVID J HERMANS                                      91 SHORE WAY DRIVE                                                                                     ROCHESTER          NY    14612‐1223
DAVID J HERRON JR                                    3720 GREGORY RD                                                                                        ORION              MI    48359‐2018
DAVID J HIGHT CUST JEREMY D HIGHT UTMA OH            32977 BROOKSIDE CIRCLE                                                                                 LIVONIA            MI    48152‐1426
DAVID J HILDEBRAND                                   71 PRESCOTT AVENUE                                                                                     HAWTHORNE          NJ    07506‐3813
DAVID J HILLIS & BARBARA J HILLIS JT TEN             215 WHITE OAK DRIVE                                                                                    GREENFIELD         IN    46140‐2557
DAVID J HODGES                                       22571 WICKIE ROAD                                                                                      BANNISTER          MI    48807‐9302
DAVID J HOGAN                                        3756 OAK MEADOW LANE                                                                                   LOWELL             MI    49331‐9560
DAVID J HOINKA                                       3456 CHEVRON DR                                                                                        HIGHLAND           MI    48356‐1710
DAVID J HORVATH                                      405 EDWARD PL                                                                                          MAMARONECK         NY    10543‐2902
DAVID J HOY                                          515 LOCUST ST APT C2                                                                                   LOCKPORT           NY    14094
DAVID J HRESKO                                       5510 LARKIN LANE                                                                                       CLARKSTON          MI    48348‐4826
DAVID J HUDSON                                       1606 LINDEN WOOD LN                                                                                    KOKOMO             IN    46902‐5812
DAVID J HUDSON & CLAUDIA I HUDSON JT TEN             168 PLEASANT ST                                                                                        CHESHIRE           CT    06410‐2209
DAVID J HUGHES CUST LAUREN HUGHES UTMA NJ            18 ELDORADO CT                                                                                         ROCHELLE PARK      NJ    07662‐3206
DAVID J HUMPHREY                                     26307 MEREDITH                                                                                         WARREN             MI    48091‐4056
DAVID J HUTCHINSON                                   3068 BLUETT                                                                                            ANN ARBOR          MI    48105‐1424
DAVID J JAHN                                         790 TIPPERARY                                                                                          GILBERTS           IL    60136‐8903
DAVID J JAKUBOWSKY                                   710 W 2ND ST                                                                                           KALONA             IA    52247
DAVID J JANAS                                        62 MANALAPAN RD                                                                                        SPUTSWOOD          NJ    08884‐1635
DAVID J JANK                                         770 HAMILTON DRIVE                                                                                     FRANKENMUTH        MI    48734‐9318
DAVID J JANKOWSKI                                    RT 1 BOX 5485                                                                                          CUSSETA            GA    31805‐9725
DAVID J JANSSEN                                      8422 MENGE                                                                                             CENTER LINE        MI    48015‐1613
DAVID J JONES                                        7001 SANTA FE                                                                                          OVERLAND PARK      KS    66204‐1358
DAVID J JONES 3RD                                    967 LIVINGSTON LOOP                                                                                    LADY LAKE          FL    32162‐2631
DAVID J JUBINSKY                                     6221 SUNDANCE TR                                                                                       BRIGHTON           MI    48116‐7751
DAVID J KAHLE                                        17920 ST RT 694 RT 2                                                                                   CLOVERDALE         OH    45827‐9640
DAVID J KANSKI & ELAINE KANSKI JT TEN                52821 SEQUOIA TRAIL                                                                                    CHESTERFIELD       MI    48047‐1497
DAVID J KAPPAZ                                       22822 HIGHBANK DR                                                                                      BEVERLY HILLS      MI    48025‐4741
DAVID J KATAJA                                       1450 MORNINGDOVE                                                                                       WIXOM              MI    48393
DAVID J KEBLISH                                      563 SHORE ACRES RD                                                                                     ARNOLD             MD    21012‐1903
DAVID J KELLEY TR DAVID J KELLEY TRUST UA 04/02/98   360 BRIGHTON BAY                                                                                       ROSELLE            IL    60172‐1609

DAVID J KELLY CUST KRISTINE M KELLY UGMA TX          320 N SUMMIT AVE                                                                                       INDIANAPOLIS       IN    46201‐3043
DAVID J KENNEDY                                      67 PARK RD                                                                                             BUFFALO            NY    14223‐2442
DAVID J KENNEDY                                      6420 WILSHIRE DR                                                                                       LOS ANGELES        CA    90048‐5502
DAVID J KERR                                         35 BALARD CRESCENT                      NEWMARKET ON                           L3Y 1S2 CANADA
DAVID J KIEFER                                       G 6235 ANAVISTA DR                                                                                     FLINT              MI    48507
DAVID J KIM & DEBORAH KIM JT TEN                     535 HARBOR DR N                                                                                        INDIAN ROCKS       FL    33785‐3116
                                                                                                                                                            BEACH
DAVID J KIRKE                                        69 TOWNSEND LANE                        HARPENDEN            HERTS             AL5 2RE GREAT BRITAIN
DAVID J KIRKE                                        69 TOWNSEND LN                          HARPENDEN            HERTS             AL5 2RE GREAT BRITAIN
DAVID J KIRKE                                        69 TOWNSEND LANE                        HARPENDEN            HERTS             AL5 2RE GREAT BRITAIN
DAVID J KLINE                                        2711 ORDWAY ST N W                                                                                     WASHINGTON         DC    20008‐5075
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DAVID J KMETZ & MARGARET M KMETZ JT TEN             82 PRESTON AVE                                                                               W HARRISON        NY    10604‐2737
DAVID J KOLDA                                       4833 FLYING CLOUD WAY                                                                        CARLSBAD          CA    92008‐3787
DAVID J KRAFF                                       600 SE 39TH AVE                     APT 7                                                    PORTLAND          OR    97214‐3280
DAVID J KRAMER                                      7760 SHELTER WOOD CRT                                                                        JACKSONVILLE      FL    32256
DAVID J KRIPPEL                                     414 NATIONAL DRIVE                                                                           SHOREWOOD         IL    60431‐9557
DAVID J KUPFER & CAROL ANNE KUPFER JT TEN           417 SPRINGLAKE ROAD                                                                          BRISTOL           VA    24201‐1821
DAVID J LAINE JR                                    695 SHORT RIDGE                                                                              ROCHESTER HILLS   MI    48307‐5144
DAVID J LAMB & PATRICIA A LAMB JT TEN               903 HILLSIDE                                                                                 YPSILANTI         MI    48197‐2138
DAVID J LAMBERTO                                    451 LINCOLN ST                                                                               FRANKLIN          MA    02038‐1529
DAVID J LANCASTER & JACQUELINE L LANCASTER JT TEN   8339 MCKINLEY ST                                                                             CENTER LINE       MI    48015

DAVID J LANE                                        1110 N GARNER ROAD                                                                           GARNER            NC    27529
DAVID J LANG                                        86 CAMP HORNE RD                                                                             PITTSBURGH        PA    15202‐1601
DAVID J LARSEN & NANCY S LARSEN JT TEN              PO BOX 9                                                                                     CHEYENNE WELLS    CO    80810‐0009
DAVID J LAZORE                                      27 YOUNGS AVENUE                                                                             ROCHESTER         NY    14606‐3841
DAVID J LEARY                                       524 MERCHANTS RD                                                                             ROCHESTER         NY    14609‐6506
DAVID J LEHAN & MRS JULIA V LEHAN JT TEN            14 HARWOOD RD                                                                                EAST NATICK       MA    01760‐1928
DAVID J LEHMAN & ANDREA ALLEN LEHMAN JT TEN         2 TWIN STREAM DR                                                                             PITTSBURGH        PA    15238

DAVID J LEITER                                 13 NASH RD                                                                                        SUMMERTOWN        TN    38483‐7210
DAVID J LEONARD                                2403 KINGS FARM WAY                                                                               INDIAN TRL        NC    28079‐6572
DAVID J LICKING                                1613 FOX CHASE BLVD                                                                               ST CHARLES        IL    60174‐5806
DAVID J LICKING CUST ROBERT J LICKING UTMA IL  1613 FOX CHASE BLVD                                                                               ST CHARLES        IL    60174‐5806
DAVID J LICKING CUST THOMAS B LIKING UTMA IL   1613 FOX CHASE BLVD                                                                               SAINT CHARLES     IL    60174
DAVID J LINDENBERGER                           1252 LOVERS LANE RD                                                                               NORWALK           OH    44857‐9775
DAVID J LIPSCHUTZ & SYNDI M LIPSCHUTZ JT TEN   212 SCOTCH PLAINS AVE                                                                             WESTFIELD         NJ    07090‐4438
DAVID J LISISCKI                               6439 BIRCH                                                                                        TAYLOR            MI    48180‐1755
DAVID J LONG                                   11217 SUMMERFIELD RD                                                                              PETERSBURG        MI    49270‐9310
DAVID J LONG CUST DEVIN A J LONG UGMA TX       9918 AVALON WAY                                                                                   FREDERICKSBURG    VA    22408‐9532
DAVID J LORINCE SR                             7719 DOROTHY AVE                                                                                  PARMA             OH    44129‐3610
DAVID J LUDWIG                                 2386 DELWOOD DR                                                                                   CLIO              MI    48420‐9158
DAVID J LYNCH                                  30 QUINCY ST                                                                                      BROCKTON          MA    02302‐2961
DAVID J LYONS & DOROTHY M LYONS & PATRICK J    8073 FAULKNER DR                                                                                  DAVISON           MI    48423‐9534
LYONS & SUSAN VAMOS &
DAVID J LYONS & DOROTHY M LYONS JT TEN         8073 FAULKNER DR                                                                                  DAVISON           MI    48423‐9534
DAVID J MACINALLY                              557 CENTRAL PARK BLVD N                  OSHAWA ON                              L1G 6A3 CANADA
DAVID J MAGIERA                                14132 LACHENE                                                                                     WARREN            MI    48093‐5845
DAVID J MAHLKE & MARLENE E MAHLKE JT TEN       13227 SILVER BIRCH DRIVE                                                                          HUNTLEY           IL    60142
DAVID J MAMP                                   9325 WILLIS RD                                                                                    WILLIS            MI    48191
DAVID J MANCINELLI                             38775 MEETING HOUSE LN                                                                            LIVONIA           MI    48154‐1104
DAVID J MARINELLI                              8674 KEEWATIN CT                                                                                  LAS VEGAS         NV    89147‐1092
DAVID J MARTI                                  418 ROANOKE                                                                                       EDWARDSVILLE      IL    62025
DAVID J MATESIC                                512 SUGARHILL ROAD                       JOPTA                                                    JOPPA             MD    21085‐4129
DAVID J MAURER                                 9002 NORRIS RD                                                                                    DEWITT            MI    48820‐9677
DAVID J MC DONNELL & MRS MARY T MC DONNELL TEN 615 COLUMBIA MILLS CT                                                                             WALLINGFORD       PA    19086‐6777
ENT
DAVID J MC GOWAN                               103 MAYFLOWER HILL DRIVE                                                                          WATERVILLE        ME    04901‐4723
DAVID J MC NAMARA                              1701 EDDY DR                                                                                      NORTH             NY    14120‐3085
                                                                                                                                                 TONAWANDA
DAVID J MCCANN                                      3425 S GENESEE RD                                                                            BURTON            MI    48519‐1427
DAVID J MCCARTY & MARGARET M MCCARTY JT TEN         4926 OAK RIVER                                                                               TROY              MI    48098‐4140

DAVID J MCINALLY                                    2835 CLIFFORD RD                                                                             SILVERWOOD       MI     48760
DAVID J MERCURIO & DANA F MERCURIO JT TEN           4379 EASTSIDE DR                                                                             BROWNSBURG       IN     46112‐8669
DAVID J MEYER                                       40412 EMERALD LN E                                                                           CLINTON TOWNSHIP MI     48038‐4754

DAVID J MILLER                                      7125 SONORA AVE                                                                              NEW PRT RCHY      FL    34653‐4023
DAVID J MILLER                                      PO BOX 32                                                                                    LOXAHATCHEE       FL    33470‐0032
DAVID J MILUM                                       10421 OAKHAVEN DR                                                                            STANTON           CA    90680‐1439
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DAVID J MITCHELL                                4708 VINCENT AVENUE SOUT                                                                     MINNEAPOLIS      MN   55410‐1842
DAVID J MITCHELL & CAROLE D MITCHELL JT TEN     5725 BEECH                                                                                   COLOMA           MI   49038‐9638
DAVID J MOFFATT                                 30227 NYS RTE 12                                                                             CHAUMONT         NY   13622‐9801
DAVID J MONAHAN                                 72821 M19                                                                                    RICHMOND         MI   48062‐4827
DAVID J MONTGOMERY                              3487 MC CORMICK                                                                              LAPEER           MI   48446‐8764
DAVID J MONTGOMERY                              196 BELLAMY RD                                                                               IONIA            MI   48846‐9525
DAVID J MORAN                                   243 MCKINLEY AVE                                                                             KENMORE          NY   14217‐2437
DAVID J MORRISON                                936 N 2ND ST                                                                                 HARRISBURG       PA   17102‐3103
DAVID J MORSE                                   580 DOCKSIDE CIR                                                                             HOLLY            MI   48442‐2025
DAVID J MORTELLARO                              PO BOX 3883                                                                                  CENTRAL POINT    OR   97502‐0037
DAVID J MOYER                                   4911 GLOUCESTER DRIVE                                                                        DOYLESTOWN       PA   18901‐9538
DAVID J MOYNEHAN                                345 E 81ST ST                                                                                NEW YORK         NY   10028‐4005
DAVID J MURPHY III                              10 MOUNTBATTEN CT #104                                                                       BALTIMORE        MD   21207‐5591
DAVID J MYERS                                   200 WOODALE AVE                                                                              NEW CASTLE       DE   19720‐4736
DAVID J NADOLNY                                 950 DALTON AVE                                                                               BALTIMORE        MD   21224‐3315
DAVID J NEIL                                    11538 SHADDUCK RD                                                                            NORTH EAST       PA   16428‐3928
DAVID J NEUN                                    5401 SUNSET DR                                                                               MIDLAND          MI   48640‐6787
DAVID J NEWTON & JUNE L COLVIN JT TEN           346 CONGRESS ST #207                                                                         BOSTON           MA   02210
DAVID J NICHOLSON                               33727 ELFORD                                                                                 STERLING HGTS    MI   48312‐5914
DAVID J OGLE & MRS JANET H OGLE JT TEN          3517 TRIPOLI CT SE                                                                           GRAND RAPIDS     MI   49546‐7270
DAVID J OLIVER                                  6457 LOTUS CT                                                                                WATERFORD        MI   48329‐1346
DAVID J OPPELT                                  540 MILFORD RD                                                                               EARLYSVILLE      VA   22936‐9636
DAVID J ORSHESKI                                202 HIGHFIELD DRIVE                                                                          TUNKHANNOCK      PA   18657‐6943
DAVID J OSBORN                                  158 GENESEE AVENUE N E                                                                       WARREN           OH   44483‐5402
DAVID J OSTROWSKI                               5432 RT64                                                                                    CANANDIQUA       NY   14424‐9381
DAVID J PALL                                    PO BOX 45                                                                                    DENNISON         OH   44621‐0045
DAVID J PALUCH                                  654 MORNINGSIDE DR                                                                           GRAND BLANC      MI   48439‐2312
DAVID J PANOWITZ                                803 BENJAMIN RD                                                                              BEL AIR          MD   21014‐6801
DAVID J PARKIN                                  1092 PAMELA LN                                                                               METAMORA         MI   48455‐8934
DAVID J PASCHAL                                 474 GLEN GERRACE RD                                                                          AUBURN           GA   30203‐2828
DAVID J PASTIER                                 4365 RAMBLEWOOD DRIVE                                                                        COLORADO SPRINGS CO   80920‐6604

DAVID J PATTERSON                               2820 W GORDON ST                                                                             ALLENTOWN       PA    18104‐4851
DAVID J PAULIK                                  1300 W PINCONNING ROAD                                                                       PINCONNING      MI    48650‐8973
DAVID J PAVLAS                                  4662 CRANAPPLE DR                                                                            MARCELLUS       NY    13108‐1012
DAVID J PAWLICKI                                6204 64TH AVE N                                                                              BROOKLYN PARK   MN    55429‐1907
DAVID J PEACOCK                                 5234 STARNES DR                                                                              MURFREESBORO    TN    37128‐4594
DAVID J PEARSON                                 PO BOX 824                                                                                   LELAND          MI    49654‐0824
DAVID J PEPLAU                                  51 FANWAY AVENUE                                                                             BRISTOL         CT    06010‐4474
DAVID J PETRICK                                 22065 ROUGEMONT DR                                                                           SOUTHFIELD      MI    48033‐3666
DAVID J PIEPER & RANDEE B PIEPER JT TEN         5389 APPLE HILL CT                                                                           FLUSHING        MI    48433‐2401
DAVID J PIERSEN                                 2496 SWANSEA RD                                                                              UPPER ARLNGTN   OH    43221
DAVID J PILARSKI                                8200 ST MARYS                                                                                DETROIT         MI    48228‐1959
DAVID J PITTMAN                                 5337 SANDY CT                                                                                CASCO           MI    48064
DAVID J PLACIDO                                 7859 SLOAN                                                                                   TAYLOR          MI    48180‐2413
DAVID J POTTS & MRS MARGARET A POTTS JT TEN     14036 SONG CT                                                                                CARMEL          IN    46032‐1154
DAVID J PREECE                                  8050 KNOX RD                                                                                 CLARKSTON       MI    48348‐1712
DAVID J PRESTON                                 1823 APPLETREE LANE                                                                          CARROLLTON      TX    75006‐7518
DAVID J QUIGLEY CUST MARY LOU QUIGLEY UGMA NY   1147 FAIRBANKS DR                                                                            LUTHERVILLE     MD    21093‐3975

DAVID J QUILTER                                 1222 NORTH FREER ROAD                                                                        CHELSEA         MI    48118‐1106
DAVID J RANCK & AMY E STEWART‐RANCK JT TEN      3723 LOOKING GLASS DR                                                                        BELLEVUE        NE    68123‐2205
DAVID J RAPOSA                                  10 ISLAND VIEW DRIVE                                                                         TIVERTON        RI    02878‐4710
DAVID J REAGAN & MARY JO REAGAN JT TEN          4641 S LAKE GEORGE RD                                                                        METAMORA        MI    48455‐9319
DAVID J RECHTIN & M J RECHTIN JT TEN            522 MONTPELIER COURT                                                                         FORT WRIGHT     KY    41011‐3626
DAVID J REDSHAW                                 10430 PLESS RD                                                                               CAT SPRING      TX    78933‐5075
DAVID J REES                                    2916 E 7TH ST                                                                                ANDERSON        IN    46012‐3735
DAVID J REHA                                    2020 WILD CHERRY CT                                                                          LEWISBURG       TN    37091‐3050
DAVID J REHS                                    4034 GREENFIELD BEND RD                                                                      WILLIAMSPORT    TN    38487‐2005
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DAVID J REILLY                                   312 5TH STREET                                                                               RYE NECK        NY    10543‐3102
DAVID J REITZ                                    9807 CUMBERLAND RIDGE LANE                                                                   FISHERS         IN    46038‐9664
DAVID J RIVETTE                                  1419 E GREENWOOD RD                                                                          ALGER           MI    48610‐9349
DAVID J ROBERTS                                  611 HOLIDAY AVE                                                                              HAZELWOOD       MO    63042‐3301
DAVID J RODERICK                                 209 AIRPORT ROAD                                                                             NEW CASTLE      DE    19720‐1574
DAVID J ROLOFF                                   PO BOX 392                                                                                   GARRISON        ND    58540‐0392
DAVID J RYAN                                     519 WHITNEY LANE                                                                             MISSOULA        MT    59802‐3574
DAVID J SANKEY                                   6119 MYRTLE LN                                                                               ROCKFORD        IL    61108‐8136
DAVID J SAWLE                                    760 KORNOELJE N E                                                                            COMSTOCK PARK   MI    49321‐9537
DAVID J SCHENCK & EILEEN M SCHENCK JT TEN        150 DUBONNET RD                                                                              TAVERNIER       FL    33070‐2730
DAVID J SCHMITT                                  17383 OTSEGO PK                                                                              BOWLING GREEN   OH    43402‐9722
DAVID J SCHOPIERAY                               1234 W GRAND BLANC RD                                                                        GRAND BLANC     MI    48439‐9338
DAVID J SCHRAMM                                  25121 BUCKSKIN DR                                                                            LAGUNA HILLS    CA    92653‐5738
DAVID J SCHUCK                                   4940 W LINCOLN RD                                                                            ANDERSON        IN    46011‐1479
DAVID J SCHWAB                                   5384 ARTHUR CT APT D                                                                         GURNEE          IL    60031‐6021
DAVID J SCHWING CUST CATHERINE I SCHWING UTMA    2806 YORK MANOR RD                                                                           PHOENIX         MD    21131‐1424
MD
DAVID J SCOTT                                    1308 S GREY ROAD                                                                             MIDLAND         MI    48640‐9556
DAVID J SEDAR                                    2611 PIKE CREEK RD                                                                           WILMINGTON      DE    19808‐3609
DAVID J SELLAND                                  7725 70TH ST SOUTH                                                                           HORACE          ND    58047
DAVID J SENATORE CUST BRYAN D SENATORE UGMA NJ   52 MURDOCK ST                                                                                FORDS           NJ    08863‐1224

DAVID J SEVERT                                   1193 TRAILS EDGE                                                                             HUBBARD         OH    44425‐3353
DAVID J SHABAZ                                   8379 APPLE BLOSSOM LN                                                                        FLUSHING        MI    48433‐1192
DAVID J SHAFER                                   1703 BRISTOL LAKE RD                                                                         DOWLING         MI    49050
DAVID J SHAPIRO                                  22231 MULHOLLAND HIGHWAY            SUITE 207 B                                              CALABASAS       CA    91302
DAVID J SHAY                                     4625 WISTERIA DR                                                                             ZEPHYRHILLS     FL    33542‐5647
DAVID J SIMONI                                   5619 BRIDGES CV                                                                              METAMORA        MI    48455‐9670
DAVID J SIMONI CUST KIRSTEN SIMONI UGMA MI       5619 BRIDGES CV                                                                              METAMORA        MI    48455‐9670
DAVID J SIMONI CUST LUKE SIMONI UGMA MI          5619 BRIDGES CV                                                                              METAMORA        MI    48455‐9670
DAVID J SINGLETON                                533 GLADSTONE BLVD                  APT 6                                                    KANSAS CITY     MO    64124
DAVID J SIPPEL                                   10410 GRUBBS ROAD                                                                            WEXFORD         PA    15090‐9422
DAVID J SLATER                                   6135 UTICA                                                                                   ARVADA          CO    80003‐6855
DAVID J SLOT                                     887 CANADA RD                                                                                BAILEY          MI    49303‐9732
DAVID J SMITH                                    4562 BADGER ROAD                                                                             LYONS           MI    48851‐9798
DAVID J SMITH                                    43 BUNGALOW PARK                                                                             STAMFORD        CT    06902‐4305
DAVID J SMITH                                    2505 N 600 W                                                                                 DECATUR         IN    46733‐8317
DAVID J SOKOL                                    9077 MAYFRED DRIVE                                                                           PINCKNEY        MI    48169‐9131
DAVID J SOMRAK                                   377 ROBERTS RUN                                                                              BAY VILLAGE     OH    44140‐2975
DAVID J SOUTHERS                                 68 KIM LN                                                                                    LONG VALLEY     NJ    07853‐4010
DAVID J SPELLMAN                                 105 COACHLIGHT                                                                               MONTROSE        NY    10548‐1247
DAVID J SPRINGHAM                                804 HELLMUTH AVE                    LONDON ON                              N6A 3T7 CANADA
DAVID J SRYNIAWSKI                               24572 MIDDLE BELT RD                                                                         NEW BOSTON      MI    48164‐9717
DAVID J STACK                                    1802 MOSHER ST                      #A                                                       BAY CITY        MI    48706‐3516
DAVID J STASIAK                                  6160 VINEYARD AVE                                                                            ANN ARBOR       MI    48108‐5919
DAVID J STAURING                                 222 RENWOOD AVE                                                                              KENMORE         NY    14217‐1049
DAVID J STEFANKO                                 7207 RIDGE RD                                                                                LOCKPORT        NY    14094‐9424
DAVID J STEGMAN                                  1169 AUGUSTA DR                                                                              TROY            MI    48085‐6127
DAVID J STENGER                                  10175 GRAFTON                                                                                CARLETON        MI    48117‐9584
DAVID J STENSON                                  26447 MANDALAY CIR                                                                           NOVI            MI    48374‐2379
DAVID J STIMPSON                                 265 BROAD ST                                                                                 MERIDEN         CT    06450
DAVID J STOIKES                                  3315 NEWCASTLE DR                                                                            JANESVILLE      WI    53546‐8854
DAVID J STRATTON                                 1128 SPENCER DR                                                                              BROWNSBURG      IN    46112
DAVID J STRITZEL & KATHY STRITZEL JT TEN         5312 SUNMEADOW DR                                                                            PLAINFIELD      IL    60544‐7587
DAVID J STURGIS                                  26070 AIRPORT RD                                                                             STURGIS         MI    49091‐9772
DAVID J STURM                                    2323 WHITE PINE DR                                                                           WILLIAMSTON     MI    48895‐9010
DAVID J SUWALSKI                                 50 WALNUT RD                                                                                 HOLLISTON       MA    01746‐1584
DAVID J SUWALSKI & LAVONNE A SUWALSKI JT TEN     50 WALNUT ROAD                                                                               HOLLISTON       MA    01746‐1584
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DAVID J SZABO & ROBIN J SZABO JT TEN            2419 WESTVIEW DR                                                                                CORTLAND          OH    44410‐9468
DAVID J TALLANT                                 1243 BLUE SPRINGS DR                                                                            LOGANVILLE        GA    30052‐9232
DAVID J TAYLOR                                  2691 MAPLECREST DR                                                                              WATERFORD         MI    48329‐3152
DAVID J TERRY                                   5537 DEL ORO CT                                                                                 SAN JOSE          CA    95124‐6110
DAVID J THOMAS CUST KIMBERLY A THOMAS UGMA NY   30 HYDE BLVD                                                                                    BALLSTON SPA      NY    12020‐1608

DAVID J THOMPSON                                PO BOX 41                                                                                       WINTHROP          NY    13697‐0041
DAVID J THOMPSON                                365 MAXWELL ROAD                                                                                ALPHARETTA        GA    30004‐2021
DAVID J THON                                    2205 WEIGL RD                                                                                   SAGINAW           MI    48609‐7081
DAVID J THORNTON                                G 3350 W CARPENTER RD                                                                           FLINT             MI    48504
DAVID J THORNTON & BETTIE M M THORNTON JT TEN   G 3350 W CARPENTER ROAD                                                                         FLINT             MI    48504

DAVID J TIMBERLIN                               CROWN POINT                            13431 N 68TH DRIVE                                       PEORIA            AZ    85381‐5075
DAVID J TOTH                                    111 S MARTHA                                                                                    DEARBORN          MI    48124‐1402
DAVID J TOTH                                    43205 ROUTE 303                                                                                 LA GRANGE         OH    44050‐9408
DAVID J TROUT                                   816 LAZY LN                                                                                     LAFAYETTE         IN    47904‐2722
DAVID J TURNBULL                                625 PLEASANT ST                                                                                 MILTON            MA    02186‐4139
DAVID J TURNER                                  5130 CHAMBERS ROAD                                                                              MAYVILLE          MI    48744‐9768
DAVID J VANDER VEEN                             4469 WINTERGREEN                                                                                TROY              MI    48098‐4372
DAVID J VANKLOMPENBERG                          13937 32ND AVE                                                                                  MARNE             MI    49435‐9750
DAVID J VANVELSEN                               3090 13 MILE ROAD                                                                               SPARTA            MI    49345‐9735
DAVID J VENTICICH                               31170 LAHSER RD                                                                                 BEVERLY HILLS     MI    48025‐3629
DAVID J VETTER                                  7634 NEWPORT DRIVE                                                                              GOLETA            CA    93117‐2418
DAVID J VIAU                                    4993 PEBBLESTONE LANE                                                                           LIVERPOOL         NY    13088
DAVID J VON ALLMEN                              21572 E EIGHT MILE                                                                              HARPER WOODS      MI    48225‐1125
DAVID J VONLINSOWE                              160 SOPWITH DR                                                                                  VERO BEACH        FL    32968
DAVID J WALLACE & JUDY K WALLACE JT TEN         17129 BERT                                                                                      ALLEN PARK        MI    48101‐3447
DAVID J WALTERS                                 192 ROWLEY ST                                                                                   GOUV              NY    13642‐1218
DAVID J WALTON JR                               1504 FLESHER                                                                                    DAYTON            OH    45420
DAVID J WARK                                    807 JEFFERSON                                                                                   MEMPHIS           TN    38105‐5042
DAVID J WEBER                                   5967 NICHOLS RD                                                                                 MASON             MI    48854‐9521
DAVID J WETTLAUFER                              4974 ESCALANTE DR                                                                               NORTH PORT        FL    34287‐2853
DAVID J WILLIAMS & RENEE Y STEWART JT TEN       P O BOX 52‐1029                                                                                 MIAMI             FL    33152
DAVID J WILSON                                  109 E CENTER ST                                                                                 MEDINA            NY    14103‐1643
DAVID J WISE                                    264 STEEPLECHASE LANE                                                                           MUNROE FALLS      OH    44262‐1766
DAVID J WOLFE                                   7326 ST RT 19                          BOX 11‐8                                                 MOUNT GILEAD      OH    43338‐0118
DAVID J WRIGHT                                  1990 WAVELL STREET UNIT 17             LONDON ON                              N5V 4N5 CANADA
DAVID J YATS                                    10231 BEERS RD                                                                                  SWARTZ CREEK      MI    48473‐9160
DAVID J YUHAS                                   512 CALKINS RD                                                                                  ROCHESTER         NY    14623‐4312
DAVID J ZACKOWSKI                               2191 WESTOVER DR                                                                                CHARLOTTESVILLE   VA    22901‐9503

DAVID J ZANCHI                                  1933 VICTORIAN RD                                                                               COLUMBIA          TN    38401‐1378
DAVID J ZAVALETA                                4238 EAST ENCINAS                                                                               AVE HIGLEY        AZ    85236‐3371
DAVID J ZAZZA                                   20 CENTRAL BLVD                                                                                 BELLINGHAM        MA    02019‐2711
DAVID J ZUMBRUNNEN                              135 BLAC OAK TRAIL                                                                              WOODSTOCK         GA    30189‐5110
DAVID JACOB ROOSA                               2087 US 22 AND 3                                                                                MORROW            OH    45152
DAVID JACOBS                                    1953 REGENCY HILLS DR                                                                           SHELBY TWP        MI    48316‐2053
DAVID JACOBSON                                  3316 VIEWCREST DR                                                                               BURBANK           CA    91504
DAVID JAMES                                     471 PEARSALL                                                                                    PONTIAC           MI    48341‐2660
DAVID JAMES BEACH                               1700 CALIFORNIA ST                     APT 701                                                  SAN FRANCISCO     CA    94109‐4594
DAVID JAMES BLACKLEY                            PO BOX 26                              DORSETT ON                             P0A 1E0 CANADA
DAVID JAMES BRUNDAGE                            8424 INDIAN HILLS DR                                                                            NASHVILLE         TN    37221
DAVID JAMES CARR                                15526 CHIPMUNK LANE                                                                             MIDDLEFIELD       OH    44062‐7202
DAVID JAMES DE LANEY                            PO BOX 212                                                                                      LAKE WACCAMAW     NC    28450‐0212

DAVID JAMES EISELE                              6233 GREEN HERON ST                                                                             LAS VEGAS         NV    89115
DAVID JAMES ELLIOTT                             19607 COPPERVINE LN                                                                             HOUSTON           TX    77084
DAVID JAMES FREW & CARMELLA T FREW JT TEN       1020 VINE ST                                                                                    AVOCA             PA    18641‐1633
DAVID JAMES LEMKE                               820 COLLEGE AVE                                                                                 NIAGARA FALLS     NY    14305‐1502
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DAVID JAMES MOORE                                415 GREENDALE DRIVE                                                                           JANESVILLE         WI    53546‐1945
DAVID JAMES RUTLAND                              2085 PRUDENCE DR                                                                              BEAVER CREEK       OH    45431‐3321
DAVID JARCHOW                                    10 SOUTHWOOD DRIVE                                                                            GREENVILLE         SC    29605‐5915
DAVID JASON YATES                                600 W HIGHLAND DR                                                                             FULTON             KY    42041
DAVID JAY JERNIGAN & NATHAN PAUL JERNIGAN JT TEN 822 PROVINCIAL DR                                                                             CHELSEA            MI    48118‐1164

DAVID JAY SCHWARTZ                               7923 COBBLEFIELD LN                                                                           HOUSTON            TX    77071‐2031
DAVID JEFFREY ARDAN                              413 N SCENIC ROAD                                                                             HARRISBURG         PA    17109‐1026
DAVID JEFFREY SAXON                              372 SOUTHWIND CT                                                                              LAKE VILLA         IL    60046‐6687
DAVID JEFFREY WALTON                             3599 OLD SAWMILL CT                                                                           ORANGE PARK        FL    32073
DAVID JENKINS                                    PO BOX 4596                                                                                   DETROIT            MI    48204‐0561
DAVID JENKINS CUST DIANE JENKINS UTMA MD         513 CLARKS RUN RD                                                                             LA PLATA           MD    20646‐9514
DAVID JEROME ARPS                                2018 EAGLEBROOKE PKWY                                                                         CELINA             OH    45822
DAVID JEROME SCHWARTZ                            APT A                                20939 GRESHAM ST                                         CANOGA PARK        CA    91304‐1863
DAVID JEWELL & SHARON L JEWELL JT TEN            2251 SPRINGMILL RD                                                                            KETTERING          OH    45440‐2562
DAVID JIMINEZ                                    703 GALLAGHER                                                                                 SAGINAW            MI    48601‐3722
DAVID JOEL HEETDERKS & MRS JEANNE A HEETDERKS JT 69 PARK AVENUE                                                                                ASHEVILLE          NC    28801‐3145
TEN
DAVID JOEL LE BLANC                              1712 PENOYER COURT                                                                            FLINT              MI    48506‐3739
DAVID JOHN BIERBACH                              738 CONGRESS HILL ROAD                                                                        FRANKLIN           PA    16323
DAVID JOHN CARLSON                               18028 SPARROWS NEST DR                                                                        LUTZ               FL    33549‐2757
DAVID JOHN CLARK                                 PO BOX 70                                                                                     SUDBURY            MA    01776‐0070
DAVID JOHN CUTHBERTSON                           33 MILL STREET                                                                                BERLIN HTS         OH    44814‐9318
DAVID JOHN DRISKO                                1653 EAST MAPLE                                                                               BIRMINGHAM         MI    48009‐7211
DAVID JOHN FURIE                                 37 LIGHTHOUSE HILL RD                                                                         WINDSOR            CT    06095‐1211
DAVID JOHN KRAUSE                                1 CODFISH FALLS RD                                                                            STORRS MANFLD      CT    06268‐1442
DAVID JOHN LA MON                                PO BOX 158                                                                                    BIG ROCK           IL    60511‐0158
DAVID JOHN LES                                   2760 CEDAR KEY DRIVE                                                                          LAKE ORION         MI    48360‐1828
DAVID JOHN LUTZ                                  27‐29 SAMANTHA STREET                REDBANK PLAINS       QLD               4301 AUSTRALIA
DAVID JOHN MILKIEWICZ                            8312 25 3 LN                                                                                  RAPID RIVER        MI    49878‐9517
DAVID JOHN NOLTING                               1572 COHASSET DR                                                                              CINCINNATI         OH    45255‐5107
DAVID JOHN RYCROFT                               1317 WOODBOROUGH LANE                                                                         KELLER             TX    76248‐8717
DAVID JOHN SAMKO                                 46 RUSSELL PL                        APT 3                                                    SUMMIT             NJ    07901‐3814
DAVID JOHN SEWART                                108 W MAPLE ST                                                                                NEWARK             NY    14513‐2003
DAVID JOHN SPELLMAN III                          11539 OLDE TIVERTON CIR              APT 101                                                  RESTON             VA    20194‐1961
DAVID JOHNLUTZ & JENNIFER GWENDOLINE LUTZ JT     27‐29 SAMANTHA STREET                REDBANK PLAINS QLD                     4301 AUSTRALIA
TEN
DAVID JOHNSON                                    6215 WOODLAND DR                                                                              GRAND BLANC        MI    48439‐4880
DAVID JOHNSON JR                                 415 ANTUMAS CHASE SE                                                                          BOLIVIA            NC    28422
DAVID JOHNSTON                                   2250 CARDIFF WAY                                                                              RICHMOND           VA    23236‐1579
DAVID JONATHAN JONES & COLETTE SUE JONES JT TEN 6053 TAMARACK DR                                                                               KINGSTON           MI    48741‐9750

DAVID JONES                                     8577 HORNER ST                                                                                 LOS ANGELES        CA    90035‐3614
DAVID JONES                                     3237 HANOVER                                                                                   DALLAS             TX    75225‐7640
DAVID JORDAN                                    745 WEYBRIDGE DR                                                                               BLOOMFIELD HILLS   MI    48304‐1086

DAVID JOSEPH BUKOVICH                           6766 MOUNTAIN DRIVE CT                                                                         TROY               MI    48098‐1914
DAVID JOSEPH DEWELL                             1911 SOMERVILLE DR                                                                             RICHARDSON         TX    75080‐3343
DAVID JOSEPH DUBE                               PO BOX 1497                                                                                    MESILLA PARK       NM    88047‐1497
DAVID JOSEPH PIETROWICZ                         7307 ARBORWOOD                                                                                 HUDSON             OH    44236‐2311
DAVID JOSEPH SHAKOW                             409 SYCAMORE AVENUE                                                                            MERION STATION     PA    19066‐1540
DAVID JOSEPH SWIFT                              PO BOX 255                                                                                     JACKSON            WY    83001‐0255
DAVID JOYCE                                     22 SEAVIEW RD                                                                                  SAGAMORE BEACH     MA    02562‐2525

DAVID JU KUNG CHANG CUST KEVIN WONG CHANG       3818 MESA DR                                                                                   TROY               MI    48083
UGMA MI
DAVID JUHAS                                     1333 W CHIPPEWA RIVER RD                                                                       MIDLAND            MI    48640‐7807
DAVID K AMBLER                                  900 WALNUT ST                                                                                  COLLINGDALE        PA    19023‐3933
DAVID K ATCHISON                                2711 WILD ORCHARD PT                                                                           CENTERVILLE        OH    45458‐9441
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DAVID K ATWOOD                                   4738 CHERVIL CT                                                                                 INDIANAPOLIS   IN    46237‐3725
DAVID K BAHLINGER                                11062 E VIEUX DR                                                                                BATON ROUGE    LA    70815‐5285
DAVID K BAUGHMAN                                 100 LINDEN BL                                                                                   MASON          MI    48854‐1076
DAVID K BAUMANN & JOANN S BAUMANN JT TEN         9967 GARNER LANE                                                                                FREELAND       MI    48623‐8923
DAVID K BELCHER                                  11175 BAYSHORE CT                                                                               CLARKSTON      MI    48348‐2474
DAVID K BROWN                                    1699 HUBBARD ROAD                                                                               MONROE         MI    48161‐9533
DAVID K BUCK                                     14308 WEST BANFF LANE                                                                           SURPRISE       AZ    85379‐5794
DAVID K BUESCHER                                 4106 62ND DR                                                                                    LUBBOCK        TX    79413‐5116
DAVID K CAIN                                     7415 KINGSBRIDGE                                                                                CANTON         MI    48187‐2411
DAVID K CARNEGIE & MARIE J CARNEGIE JT TEN       98 HARGRAVES DRIVE                                                                              PORTSMOUTH     RI    02871‐4006
DAVID K CASEY                                    216 SUMMERWORTH DR                                                                              ROCHESTER      NY    14626‐3640
DAVID K CEBALLOS                                 1128 E 60TH STREET                                                                              LOS ANGELES    CA    90001‐1118
DAVID K CHATHAM                                  1556 KUDER RD                                                                                   HINCKLEY       OH    44233‐9534
DAVID K COGHILL                                  437 E GERMANN RD                       LOT 40                                                   SAN TAN VLY    AZ    85140‐7106
DAVID K COLLINS                                  26216 WEXFORD                                                                                   WARREN         MI    48091‐3989
DAVID K CRESSWELL                                103 WHITEKIRK DR                                                                                WILMINGTON     DE    19808‐1348
DAVID K DAVIDSON                                 1176 WEST 300 NORTH                                                                             ANDERSON       IN    46011‐9747
DAVID K DIFILIPPO                                100 SUNSET DR                                                                                   QUARRYVILLE    PA    17566‐9207
DAVID K DODGE & KATHLEEN R DODGE JT TEN          21230 WILMORE AVE                                                                               EUCLID         OH    44123‐2824
DAVID K DOLL & MRS CLARA B DOLL JT TEN           4800 WOOD ROAD                                                                                  TEMPLE HILLS   MD    20748‐2027
DAVID K DONOVAN                                  8 PRESTON BEACH RD                                                                              MARBLEHEAD     MA    01945‐1725
DAVID K DRISCOLL                                 7634 MEADOWLARK LN                                                                              NEWPORT        MI    48166‐9164
DAVID K DYER                                     7 CRONIN WAY                                                                                    WOBURN         MA    01801‐2400
DAVID K DYER                                     7 CRONIN WAY                                                                                    WOBURN         MA    01801‐2400
DAVID K ECKMAN                                   2603 7TH ST WEST                                                                                LEHIGH ACRES   FL    33971‐1451
DAVID K EHMAN                                    1300 N HICKORY LN                                                                               KOKOMO         IN    46901‐6425
DAVID K FALL                                     225 RAINBOW DR 12595                                                                            LIVINGSTON     TX    77399
DAVID K FIRTH & MARY J FIRTH JT TEN              964 E BRADBURY AVE                                                                              INDIANAPOLIS   IN    46203‐4204
DAVID K FISCHER                                  4006 FISCHER RD                                                                                 DESOTO         MO    63020‐3527
DAVID K GALUSKIN                                 143 LONGFIELD CT                                                                                E BRUNSWICK    NJ    08816‐1831
DAVID K GASS                                     10832 PAYNES CH DR                                                                              FAIRFAX        VA    22032‐2916
DAVID K GLICK                                    PO BOX 231                                                                                      DEFIANCE       OH    43512‐0231
DAVID K GLOSSOP                                  11175 COLBY LAKE ROAD                                                                           LAINGSBURG     MI    48848‐9740
DAVID K GOPPERTON                                12450 TROY RD                                                                                   NEW CARLISLE   OH    45344‐9546
DAVID K HAMMOND TR WANDA HAMMOND                 515 HELENE AVENUE                                                                               ROYAL OAK      MI    48076
IRREVOCABLE TRUST UA 5/11/94
DAVID K HANSEN                                   6753 REVERE CT                                                                                  GURNEE         IL    60031‐4103
DAVID K HARE                                     PO BOX 671                                                                                      SEDALIA        CO    80135
DAVID K HARSTINE                                 23 BLUEBERRY LN                                                                                 GROVE CITY     PA    16127‐4679
DAVID K HITCHCOCK                                4309 WOODROW                                                                                    BURTON         MI    48509‐1125
DAVID K HOLMES                                   102 E CLEVELAND ST                                                                              ALEXANDRIA     IN    46001‐1023
DAVID K HOLSINGER                                1606 LYON ST                                                                                    SAGINAW        MI    48602‐2420
DAVID K HUTCHINS                                 PO BOX 434                                                                                      MAYVILLE       MI    48744‐0434
DAVID K JACKSON                                  5410 OAK RUN                                                                                    FARWELL        MI    48622‐9665
DAVID K JOHNSTON & DOROTHY I JOHNSTON JT TEN     208 S LIBERTY ST                                                                                MARSHALL       MI    49068‐1650

DAVID K KILBURY TR KENNETH D & ANNIE R KILBURY   11530 N CHAROLEAU DR                                                                            TUCSON         AZ    85737‐1710
TRUST UA 08/30/82
DAVID K LEMONDS                                  17625 PEACH RIDGE RD NW                                                                         KENT CITY      MI    49330‐9411
DAVID K LEWIS                                    2250 WOODLAND TRACE                                                                             AUSTINTOWN     OH    44515‐4828
DAVID K MAXWELL                                  2135 STATE ROAD 44                                                                              MARTINSVILLE   IN    46151‐8265
DAVID K MCCOLLUM                                 130 EAST MADISON ST                                                                             PETERSBURG     MI    49270‐9762
DAVID K MCDONALD                                 4030 CANEY CREEK LN                                                                             CHAPEL HILL    TN    37034‐2075
DAVID K MEEKS                                    633 COLORADO DRIVE                                                                              XENIA          OH    45385‐4511
DAVID K MITCHELL                                 2919 LENORA RD                                                                                  SNELLVILLE     GA    30039‐5416
DAVID K MOOIBROEK                                3280 WHISPERING POINT                                                                           AVON           OH    44011‐2375
DAVID K MULLINS & REBECCA L FORSYTH‐MULLINS JT   3619 SPYGLASS DR                                                                                HUTCHINSON     KS    67502‐8981
TEN
DAVID K NAYLOR                                   705 CARMEL PL                                                                                   RUTLAND        VT    05701‐7709
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DAVID K NICHOLAS                                    811 STARBOARD DRIVE                                                                         AU GRES          MI    48703‐9207
DAVID K PADGETT                                     118 E MAIN BOX 232                                                                          MARKLEVILLE      IN    46056‐9419
DAVID K PADGETT & MELINDA C PADGETT JT TEN          118 E MAIN BOX 232                                                                          MARKLEVILLE      IN    46056‐9419
DAVID K PENDERGRASS & CAROL W PENDERGRASS JT        221 DEVONSHIRE LN                                                                           WILMINGTON       NC    28409‐8112
TEN
DAVID K POLLOCK                                     108 COLLEGE STATION RD             APT H201                                                 ATHENS           GA    30605‐5950
DAVID K PORTER                                      26024 HEATHER LANE                                                                          GROSSE ILE       MI    48138
DAVID K POWELL                                      404 ONTARIO ST                                                                              SACKET           NY    13685‐9735
DAVID K PURKEY                                      130 ROLLING HILLS DR                                                                        WASKOM           TX    75692‐4000
DAVID K PYLE                                        14656 EXETER ROAD                                                                           CARLETON         MI    48117‐9245
DAVID K RAYL & KYLE R RAYL TR UA 09/26/90 RICHARD L 522 BELVEDERE DR                                                                            KOKOMO           IN    46901
RAYL LIVING TRUST
DAVID K ROBINSON JR                                 3636 PINERIDGE DRIVE                                                                        COEUR D'ALENE    ID    83815‐8094
DAVID K ROSS                                        833 VAUGHN                                                                                  LESLIE           MI    49251‐9509
DAVID K RUMER & CARMAN A RUMER JT TEN               27245 COUNTY RD 69                                                                          BOVEY            MN    55709‐8236
DAVID K SCHAFER                                     3333 GLASGOW DRIVE                                                                          LANSING          MI    48911‐1320
DAVID K SCHENE & JANE K SCHENE COMMUNITY            408 MONTROSE CT                                                                             MODESTO          CA    95355‐4993
PROPERTY
DAVID K SEBASTIAN                                   82 MOUNTAIN AVENUE                                                                          SUMMIT           NJ    07901‐3452
DAVID K SELLARS JR                                  2683 MOORESVILLE HWY                                                                        LEWISBURG        TN    37091‐6815
DAVID K SMITH                                       APT A11                            499 DAVISON ROAD                                         LOCKPORT         NY    14094‐4017
DAVID K SMITH                                       1900 MAYBERRY DR                                                                            COLUMBIA         MO    65202‐3851
DAVID K SPEERLY                                     PO BOX 7482                                                                                 RENO             NV    89510‐7482
DAVID K STRATTON                                    1723 DREXEL BLVD                                                                            S MILWAUKEE      WI    53172‐2923
DAVID K SULLIVAN                                    10284 N SR13                                                                                ELWOOD           IN    46036‐8869
DAVID K TOLES                                       1014 1/2 N LIMESTONE                                                                        LEX              KY    40505‐3528
DAVID K WAGNER                                      18411 SHALLOW OAK CT                                                                        TOMBALL          TX    77377‐5565
DAVID K WALZ                                        5279 GREENCASTLE WAY ROUTE 2                                                                STONE MOUNTAIN   GA    30087‐1425

DAVID K WHITE                                     10011 BERKELEY FOREST LN                                                                      CHARLOTTE        NC    28277‐9527
DAVID K YAMANE                                    18418 OGILVIE DR                                                                              CASTRO VALLEY    CA    94546‐2225
DAVID K YOUNKMAN                                  3860 N LONG LAKE RD                  STE D                                                    TRAVERSE CITY    MI    49684‐7204
DAVID KAATZ CUST JOE W KAATZ UTMA CO              PO BOX 1348                                                                                   ENGLEWOOD        CO    80150‐1348
DAVID KACKLEY & DEBRA KACKLEY JT TEN              25310 STRODE RD                                                                               BLUE SPRINGS     MO    64015‐9622
DAVID KALEN CUST ALEXANDER KALEN UTMA NJ          146 EASEDALE RD                                                                               WAYNE            NJ    07470‐2488
DAVID KALEN CUST DANIELLE PAIGE KALEN UTMA NJ     146 EASEDALE RD                                                                               WAYNE            NJ    07470‐2488

DAVID KAPL TR UA 01/11/2007 DAVID KAPL TRUST      ONE MISKO COURT                                                                               LEMONT           IL    60439

DAVID KARL BRATZLER                               3338 FIR AVE                                                                                  ALAMEDA          CA    94502‐6959
DAVID KASHICH                                     15834 BAY VISTA DRIVE                                                                         CLERMONT         FL    34711‐5063
DAVID KAUSCH CUST EVE MARIE KAUSCH UGMA MI        1210 SAUNDERS CRESCENT                                                                        ANN ARBOR        MI    48103‐2528

DAVID KAUSCH CUST JOHN TROWLER KAUSCH UGMA MI 1210 SAUNDERS CRESCENT                                                                            ANN ARBOR        MI    48103‐2528

DAVID KAUTH                                       1520 RED COUT STREET SE                                                                       NORTH CANTON     OH    44720
DAVID KEEFE                                       12 LEXINGTON DRIVE                                                                            BEVERLY          MA    01915‐2612
DAVID KEENE KITZMAN                               17730 W COUNTRY CLUB DR                                                                       ARLINGTON        WA    98223‐5948
DAVID KEIJI SUZUKI                                BOX 37351                                                                                     HONOLULU         HI    96837‐0351
DAVID KEILBARTH                                   9612 REGAL RIDGE NE                                                                           ALBUQUERQUE      NM    87111‐1526
DAVID KELLY                                       530 BEAUMONT WAY                                                                              GOLETA           CA    93117‐1757
DAVID KELSEN & SUZANNE KELSEN JT TEN              564 WARWICK AVE                                                                               TEANECK          NJ    07666‐2927
DAVID KENAN                                       1077 REGENCY DR                                                                               WOODBURY         MN    55125‐2169
DAVID KENAN & MARTHA M KENAN JT TEN               1077 REGENCY DR                                                                               WOODBURY         MN    55125‐2169
DAVID KIEV SWENSON & JANET ANN SWENSON JT TEN     8290 HIDDEN CREEK COURT                                                                       FLUSHING         MI    48433‐9429

DAVID KLAVON                                      1540 ASH DRIVE                                                                                CARLETON         MI    48117‐9779
DAVID KLUG CUST BRITTANY ROSE KLUG UTMA WI        W3737 HWY G                                                                                   CEDAR GROVE      WI    53013
                                            09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DAVID KLUG CUST BROOKE AMBER KLUG UTMA WI      W3737 HWY G                                                                                      CEDAR GROVE       WI    53013

DAVID KNEL                                      862 43RD ST                            APT# 2E                                                  BROOKLYN          NY    11232‐4109
DAVID KNUTSON                                   6144 EAGLES NEST DRIVE                                                                          JUPITER           FL    33458‐2451
DAVID KONTRY TR DAVID KONTRY DDS PROFIT SHARING 3368 SAINT GEORGE COURT                                                                         ROCHESTER         MI    48306
PLAN 07/10/87
DAVID KRACALIK & SEWANEE M KRACALIK JT TEN      BOX 1399                                                                                        PELL CITY         AL    35125
DAVID KRYSIEK                                   1403 ORLEANS CT                                                                                 GRAYSON           GA    30017‐2934
DAVID KRZYSIK                                   PO BOX 23302                                                                                    OAKLAND           CA    94623‐0302
DAVID KUCZKOWSKI & ALICE KUCZKOWSKI JT TEN      80 DELTON ST                                                                                    TONAWANDA         NY    14150‐5311

DAVID KURLAND CUST ERIC KURLAND UGMA NY        414 HARBOR CV                                                                                    PIERMONT          NY    10968‐1086
DAVID KURLAND CUST KEVIN KURLAND UGMA NY       414 HARBOR CV                                                                                    PIERMONT          NY    10968‐1086
DAVID KURYK                                    11200 FIVE SPRINGS ROAD                                                                          LUTHERVILLE       MD    21093‐3520
DAVID KWOK                                     212 CASS AVE                            SCARBOROUGH ON                         M1T 2C2 CANADA
DAVID L ABBOTT                                 1642 19TH                                                                                        WYANDOTTE       MI      48192‐3510
DAVID L ACTON                                  4941 CHIPPEWA PATH                                                                               OWOSSO          MI      48867‐9735
DAVID L ADAMS                                  13715 BARNES RD                                                                                  BYRON           MI      48418‐9773
DAVID L AGUIAR                                 984 RALPH MCGILL BLVD NE                                                                         ATLANTA         GA      30306‐4447
DAVID L AKERS                                  23724 ARSENAL                                                                                    FLAT ROCK       MI      48134‐9582
DAVID L ALLEN                                  PO BOX 214                                                                                       SIBLEY          MO      64088‐0214
DAVID L ALLMAN                                 317 EVERGREEN COURT                                                                              APOLLO          PA      15613‐1270
DAVID L ALTMAN                                 840 W MAIN ST RT #14                                                                             WASHINGTONVIL   OH      44490‐9732
DAVID L ANDERSON                               15080 WESTBROOK ST                                                                               DETROIT         MI      48223‐1946
DAVID L ANSTAETT                               6928 RAMSEY RD                                                                                   MIDDLETON       WI      53562‐5120
DAVID L ANTHONY                                1930 MEDFORD AVE                                                                                 INDIANAPOLIS    IN      46222
DAVID L ARCHER                                 41989 WOODBROOK                                                                                  CANTON TOWNSHIP MI      48188‐2622

DAVID L ARMSTRONG                              5690 LOUISVILLE RD #68                                                                           BOWLING GREEN     KY    42101‐7237
DAVID L ARMSTRONG                              665 MC INTOSH RD                                                                                 CARTHAGE          NC    28327‐8596
DAVID L AUSTIN                                 898 N DELANEY RD                                                                                 OWOSSO            MI    48867‐1342
DAVID L AUTMAN                                 1106 WOODRUFF ROAD                                                                               JOLIET            IL    60432‐1358
DAVID L BAILEY                                 1302 MEADOW LN                                                                                   ANDERSON          IN    46011‐2450
DAVID L BAIRD & SUSAN K BAIRD JT TEN           177 SOUTH 400 EAST                                                                               ANDERSON          IN    46017‐9620
DAVID L BAKER                                  6642 S STATE ROAD 67                                                                             PENDLETON         IN    46064‐9081
DAVID L BARNES                                 2909 WOODLAND AVE                       APT 310                                                  DES MOINES        IA    50312‐3863
DAVID L BARRETT                                2369 RIFLE RIVER TRL                                                                             WEST BRANCH       MI    48661
DAVID L BARTHOLOMEW & DEBORAH BARTHOLOMEW      2549 FISH LKE                                                                                    LAPEER            MI    48446‐8354
JT TEN
DAVID L BARTON                                 7110 BIG CREEK PKWY                                                                              CLEVELAND         OH    44130‐4956
DAVID L BARTSCHE                               17616 NARRAGANSETT                                                                               LAKEWOOD          OH    44107‐5346
DAVID L BASEY                                  2946 RAMBLE RD W                                                                                 BLOOMINGTON       IN    47408‐1050
DAVID L BATYK                                  421 BONNIE BRAE AVE NE                                                                           WARREN            OH    44483‐5214
DAVID L BEARDSLEY                              4359 HAVENS RD                                                                                   DRYDEN            MI    48428‐9358
DAVID L BECKER                                 2763 N 73RD ST                                                                                   MILWAUKEE         WI    53210‐1002
DAVID L BEISNER                                246 TOUCAN ST                                                                                    ROCHESTER HILLS   MI    48309‐3463
DAVID L BENEDICT & MARY M BENEDICT JT TEN      1114 SCOTT ST                                                                                    TROY              OH    45373‐3734
DAVID L BENNELL                                15 COVE RD                                                                                       FREEPORT          ME    04032‐6402
DAVID L BENNETT                                7535 6TH AVENUE                                                                                  TUSCALOOSA        AL    35405‐3998
DAVID L BENTLEY                                326 RISING ST                                                                                    DAVISON           MI    48423
DAVID L BENTLEY JR                             110 FOXWOODS CT                                                                                  TROY              MO    63379‐4474
DAVID L BERTASIO                               15035 ANGELIQUE                                                                                  ALLEN PARK        MI    48101‐1846
DAVID L BIEDRON                                653 HARRISON AVE                                                                                 BUFFALO           NY    14223‐1701
DAVID L BIRCH                                  PO BOX 354                                                                                       DUBLIN            NH    03444‐0354
DAVID L BISKNER                                234 E 12 MILE RD                                                                                 ROYAL OAK         MI    48073‐4115
DAVID L BLAKE                                  480 UPTON RD                                                                                     MIDDLETON         TN    38052‐4318
DAVID L BLAND                                  6100 E POTTERY RD                                                                                ALBANY            IN    47320‐9715
DAVID L BLOUNT                                 7128 WINDORMILL                                                                                  BALTIMORE         MD    21244‐3444
DAVID L BOBOLTZ                                2638 DESMOND STREET                                                                              WATERFORD         MI    48329‐2824
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DAVID L BOHART & VIOLET R BOHART JT TEN       1006 S MICHIGAN AVE                                                                               GREENSBURG         IN    47240‐2368
DAVID L BOWLING                               7815 JAY RD                                                                                       WEST MILTON        OH    45383‐9726
DAVID L BRADSHAW & DOROTHEA J BRADSHAW JT TEN 14421 S LIBBY ST                                                                                  OKLAHOMA CITY      OK    73170‐5719

DAVID L BRATTON                                  19434 ELM RD                                                                                   TIPPECANOE         IN    46570‐9715
DAVID L BRICKER                                  9000 N FOREST                                                                                  KANSAS CITY        MO    64155‐2556
DAVID L BRINKS & SALLY A BRINKS JT TEN           2500 BUCHANAN ST                                                                               MARNE              MI    49435‐8799
DAVID L BRONSON & HELENE S BRONSON JT TEN        2251 DERBY WAY                                                                                 SAINT LOUIS        MO    63131‐3258
DAVID L BROPHY TR DAVID L BROPHY REVOCABLE TRUST 6490 SW 145TH ST                                                                               MIAMI              FL    33158‐1850
UA 02/28/02
DAVID L BROWN                                    6725 N RIVER RD                                                                                GRAND LEDGE        MI    48837‐9297
DAVID L BROWN                                    14646 HARRIS RD                                                                                DEFIANCE           OH    43512‐6909
DAVID L BROWN                                    3894 ISLAND CREEK ROAD                                                                         VALDOSTA           GA    31601‐0186
DAVID L BROWN                                    9301 CLARK ROAD                                                                                CLARKSTON          MI    48346‐1047
DAVID L BROWN                                    R R #1 BOX 146                                                                                 CRANBERRY          PA    16319‐9715
DAVID L BROWN                                    8798 HOMER                                                                                     DETROIT            MI    48209‐1766
DAVID L BROWN                                    4978 HUSTON DRIVE                                                                              ORION              MI    48359‐2147
DAVID L BROWN & MELANIE E BROWN JT TEN           9301 CLARK ROAD                                                                                CLAKSTON           MI    48346‐1047
DAVID L BUDDENBAUM SR                            1515 E 69TH ST                                                                                 INDIANAPOLIS       IN    46220‐1223
DAVID L BUKOSKY                                  4297 CHARLEBOIS DR                                                                             BEAVERTON          MI    48612‐8839
DAVID L BULACH                                   449 MORMAN ROAD                                                                                HAMILTON           OH    45013‐4461
DAVID L BURDA                                    136 CARIBOU DRIVE                                                                              YOUNGSTOWN         OH    44512‐6201
DAVID L BURKS SR                                 112 FORTRESS DR                                                                                WINCHESTER         VA    22603
DAVID L BURNETT                                  5776 BRENDA BLVD                                                                               GREENWOOD          IN    46143‐9110
DAVID L BUSCH & SANDRA M BUSCH JT TEN            9635 PENINSULA DR                                                                              TRAVERSE CITY      MI    49686‐9201
DAVID L BYOUS                                    2803 13TH ST                                                                                   CUYAHOGA FALLS     OH    44223‐2214
DAVID L CALDWELL & MRS CHARLOTTE E CALDWELL JT 6616 BAYTREE LANE                                                                                FALLS CHURCH       VA    22041‐1004
TEN
DAVID L CAMP                                     120 LAKEVIEW AVE                                                                               HOUGHTON LAKE      MI    48629‐9370
DAVID L CAMPBELL                                 1605 PADDOCK DR                                                                                KEARNEY            MO    64060‐8423
DAVID L CAMPBELL                                 BOX 2636                                                                                       MORGANTON          NC    28680‐2636
DAVID L CANHAM                                   1271 BURTWOOD DRIVE                                                                            FORT MYERS         FL    33901‐8711
DAVID L CAPOROSSI JR                             251 BOULEVARD ST                                                                               SHREVEPORT         LA    71104‐2419
DAVID L CARLOCK                                  4880 PARKVIEW                                                                                  CLARKSTON          MI    48346‐2793
DAVID L CARR                                     11669 STATE HWY 37                                                                             LISBON             NY    13658
DAVID L CESELSKI                                 13505 WEST 74 TERRACE                                                                          SHAWNEE            KS    66216‐3736
DAVID L CHAMBERLAIN                              3929 WOLFCREEK HIGHWAY                                                                         ADRIAN             MI    49221‐9451
DAVID L CHANNELL                                 15111 KNICKERBOCKER DR                                                                         WOODBRIDGE         VA    22193‐1880
DAVID L CHAPMAN                                  146 LAKE SHORE VISTA                                                                           HOWELL             MI    48843‐7561
DAVID L CHAPMAN                                  54 CRAWFORD STREET                                                                             PONTIAC            MI    48341‐2109
DAVID L CHAPMAN                                  PO BOX 218                                                                                     LAKE ORION         MI    48361‐0218
DAVID L CHASE                                    737 CHENANGO ST                                                                                BINGHAMTON         NY    13901‐1809
DAVID L CHINEVERE                                PO BOX 52                                                                                      WELLSTON           MI    49689‐0052
DAVID L CHRISTLIEB                               7100 THOMPSON CLARK N W                                                                        BRISTOLVILLE       OH    44402‐9757
DAVID L CLARK                                    16820 CORAL LANE                                                                               MACOMB             MI    48042‐1117
DAVID L CLARK                                    44108 DONLEY DRIVE                                                                             STERLING HEIGHTS   MI    48314‐2510

DAVID L CLAY                                      1812 EDGECLIFF COVE                                                                           CARROLLTON       TX      75006‐4213
DAVID L CLICK                                     5734 GLEN CARLA DR                                                                            HUNTINGTON       WV      25705‐2104
DAVID L CLYMER                                    1612 E ROOSEVELT                                                                              GUTHRIE          OK      73044‐6105
DAVID L COLTER                                    5550 CRANDALL‐LANESVILLE RD NE                                                                GEORGETOWN       IN      47122‐7720
DAVID L COMPAGNONI                                6074 CRAMLANE                                                                                 CLARKSTON        MI      48346‐2400
DAVID L CONKLIN                                   6263 ALWARD RD RT#3                                                                           LAINGSBURG       MI      48848‐9256
DAVID L COOPER & DIANE K COOPER JT TEN            20756 CANNON DR                                                                               CLINTON TOWNSHIP MI      48038‐2404

DAVID L CORSINI & JACQUELINE M CORSINI JT TEN     114 RODNEY ST                                                                                 CLARKSBURG         WV    26301‐4007

DAVID L COX                                       2015 E NORTH TERRITORIAL RD                                                                   WHITMORE LAKE      MI    48189‐9550
DAVID L CRAFTON                                   4820 LAUDERDALE DRIVE                                                                         DAYTON             OH    45439
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DAVID L CRAIG & JILL M CRAIG JT TEN              21 W BERKLEY DR                                                                               ARLINGTON      IL    60004‐2110
                                                                                                                                               HEIGHTS
DAVID L CRANKSHAW                                5208 VICKIC                                                                                   GLADWIN        MI    48624‐9020
DAVID L CRAWLEY                                  1425 WARRINGTON                                                                               DANVILLE       IL    61832‐5324
DAVID L CROALL                                   1521 CRITTENDEN RD                                                                            WILMINGTON     DE    19805‐1207
DAVID L CROCKETT                                 4285 POMMORE DRIVE                                                                            MILFORD        MI    48380‐1139
DAVID L CROCKETT                                 79 W CARDINAL WAY                                                                             SUMMERTOWN     TN    38483‐4100
DAVID L CULP & BARBARA J CULP JT TEN             424 WIRTH AVE                                                                                 AKRON          OH    44312‐2663
DAVID L CUMMINGS                                 5275 PINE KNOB TRL                                                                            CLARKSTON      MI    48346‐4131
DAVID L DAVIDSON                                 2709 E VILLA ST                                                                               PASADENA       CA    91107
DAVID L DAVIS                                    21270 CHASE DRIVE                                                                             NOVI           MI    48375‐4752
DAVID L DELOTT                                   2625 N UNION ST                                                                               APPLETON       WI    54911‐2143
DAVID L DENYS                                    5937 WILLIAMS                                                                                 TAYLOR         MI    48180‐1330
DAVID L DEUTSCH                                  8329 LOCHLAVEN LANE                                                                           CHAPEL HILL    NC    27516‐7723
DAVID L DIAL                                     8452 NOTTINGHILL DR                                                                           INDIANAPOLIS   IN    46234‐2666
DAVID L DIEHL                                    4852 COUNTY LINE RD                                                                           FOWLER         MI    48835
DAVID L DILLARD                                  9693 E LOST FORK RD                                                                           VEVAY          IN    47043‐9484
DAVID L DOLLY                                    701 EAST 1ST STREET                                                                           BURKBURNETT    TX    76354‐2103
DAVID L DOVE                                     9561 UTE POINTE                                                                               CLARKSTON      MI    48346‐1758
DAVID L DOVER                                    502 STRETFORD LANE                                                                            ALLEN          TX    75002‐4470
DAVID L DREMER                                   3291 SHILLEHAGH                                                                               FLINT          MI    48506‐2244
DAVID L DROSCHA                                  2156 HOLLY TREE DR                                                                            DAVISON        MI    48423‐2068
DAVID L DUNN                                     31 KING ARTHUR CT                                                                             DALLAS         GA    30157‐5934
DAVID L DUNNINGTON                               6914 CRESTWOOD DR                                                                             OLMSTED TWP    OH    44138‐1149
DAVID L DURANT                                   2209 E 4TH STREET                                                                             ANDERSON       IN    46012
DAVID L DUTKA                                    4795 WINDING RISE DRIVE                                                                       SUWANEE        GA    30024‐3061
DAVID L EAGLESON                                 86 MILL ROAD                         DORCHESTER ON                          N0L 1G2 CANADA
DAVID L EAGLESON                                 86 MILL ROAD                         DORCHESTER ON                          N0L 1G2 CANADA
DAVID L EAGLESON                                 86 MILL RD                           DORCHESTER ON                          N0L 1G2 CANADA
DAVID L EARNHART                                 29831 CAMDEN CIR                                                                              MURRIETA       CA    92563‐4772
DAVID L EATON                                    4359 BITTERSWEET LANE                                                                         GREENWOOD      IN    46142‐7409
DAVID L EBERT                                    10 MEDICI COURT                                                                               BALTIMORE      MD    21234‐8013
DAVID L ELDER & BETTY JEAN ELDER JT TEN          162 KENDAL DR                                                                                 KENNETT SQ     PA    19348‐2332
DAVID L ELLIS                                    529 ASHWOOD DRIVE                                                                             FLUSHING       MI    48433‐1328
DAVID L ELLIS                                    112 CORA ST                                                                                   CHARLESTON     WV    25302‐4160
DAVID L ELLIS & ALICIA C ELLIS JT TEN            529 ASHWOOD DR                                                                                FLUSHING       MI    48433‐1328
DAVID L ENGLISH                                  12105 COUNTY ROAD D                                                                           BRYAN          OH    43506
DAVID L ERICSON                                  PO BOX 76                                                                                     EAGLE          AK    99738‐0076
DAVID L ERSKINE                                  3509 W LAKE ROAD                                                                              WILSON         NY    14172‐9732
DAVID L EVANS                                    1114 TWELVE MILE ROAD                                                                         ADDY           WA    99101‐9645
DAVID L EVANS                                    PO BOX 1318                                                                                   TEXARKANA      TX    75504‐1318
DAVID L EVANS & DAVID O MEEKS JT TEN             PO BOX 1376                                                                                   TEXARKANA      TX    75504‐1376
DAVID L FAIRLEY                                  900 N LELAND AVE                                                                              MUNCIE         IN    47303‐4159
DAVID L FANCHER                                  3615 W COLUMBIA RD                                                                            MASON          MI    48854‐9502
DAVID L FAUSEY                                   3991 SABAL SPRINGS BLVD                                                                       N FT MYERS     FL    33917‐2020
DAVID L FEDEWA                                   45 OTTAWA LN                                                                                  PRUDENVILLE    MI    48651‐9620
DAVID L FIELDS                                   104 WEST ELKTON ROAD                                                                          SEVEN MILE     OH    45062
DAVID L FINGER                                   2112 FAIRFIELD PLACE                 BANCROFT VILLAGE                                         WILMINGTON     DE    19805‐2652
DAVID L FITZWATER                                730 LUSTED LANE                                                                               BATAVIA        IL    60510
DAVID L FITZWATER & LINDA J FITZWATER JT TEN     730 LUSTED LN                                                                                 BATAVIA        IL    60510
DAVID L FLOWERS                                  52836 SEARER DR                                                                               SOUTH BEND     IN    46635‐1270
DAVID L FORTIER & JUDITH M FORTIER JT TEN        221 WYANDOTTE RD                                                                              HOYT LAKES     MN    55750‐1225
DAVID L FOSTER                                   PO BOX 312                                                                                    GIRDLER        KY    40943‐0312
DAVID L FOSTER & SANDRA J FOSTRE JT TEN          408 ROSEWOOD DR                                                                               ST JOSEPH      IL    61873‐9456
DAVID L FRALEY                                   6231 LINDSAY                                                                                  WATERFORD      MI    48329‐3033
DAVID L FRICK                                    12811 PLATTSBURG                                                                              KEARNEY        MO    64060‐8167
DAVID L GALLIMORE                                484 CREYTS RD                                                                                 DIMONDALE      MI    48821‐9734
DAVID L GANTT                                    PO BOX 28009                                                                                  HARSENS IS     MI    48028‐8009
DAVID L GARDNER                                  3026 IRONWOOD CIR                                                                             JEANNETTE      PA    15644‐4742
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DAVID L GARRISON                                  9172 PREST                                                                                     DETROIT            MI    48228‐2208
DAVID L GASTINEAU                                 6850 E 900N                                                                                    BROWNSBURG         IN    46112
DAVID L GASTON                                    11836 HAMLET ROAD                                                                              CINCINNATI         OH    45240‐1912
DAVID L GERMACK                                   114 W 40TH AVE                                                                                 SPOKANE            WA    99203‐1534
DAVID L GERRY                                     11215 N ELMS                                                                                   CLIO               MI    48420‐9447
DAVID L GEYER & JEWEL GEYER JT TEN                1405 W JAMES DR                                                                                PERU               IN    46970‐7309
DAVID L GIBSON                                    4751 FIDDLE                                                                                    WATERFORD          MI    48328‐2119
DAVID L GIBSON                                    2013 8TH STREET SW                                                                             DECATUR            AL    35601‐3615
DAVID L GILBERT                                   4998 E HIBBARD ROAD                                                                            CORUNNA            MI    48817‐9313
DAVID L GLASZ                                     75 EDGEHILL RD                                                                                 WALLINGFORD        CT    06492‐5402
DAVID L GLOVER                                    PO BOX 336                                                                                     GLENNIE            MI    48737‐0336
DAVID L GNILKA                                    13905 WAVERLY CREEK CRT                                                                        CHANTILLY          VA    20151
DAVID L GOIT                                      2523 BROWNCABIN RD                                                                             LUZERNE            MI    48636‐9722
DAVID L GRABER & LETHIA E GRABER TR UA 06/12/91   2081 HWY 2                                                                                     DONNELLSON         IA    52625‐9197
THE GRABER TRUST
DAVID L GRAHAM                                    2602 MARYMOUNT                                                                                 ENID               OK    73703‐1583
DAVID L GRANT                                     32 SUSAN DRIVE                                                                                 WESTFIELD          MA    01085‐1433
DAVID L GREEN                                     PO BOX 1017                                                                                    HARTSHORNE         OK    74547‐1017
DAVID L GRESSEL                                   293 IBIS DR                                                                                    MASON              IL    62443‐3620
DAVID L GRIDLEY                                   1087 LAKESHORE DR                                                                              COLUMBIAVILLE      MI    48421‐9799
DAVID L GRIFFEY & ALTA M GRIFFEY JT TEN           214 NORTH TRUITT RD                                                                            MUNCIE             IN    47303‐4557
DAVID L GRIMES TR GRIMES FAMILY TRUST 05/09/84    916 EL MAC PL                                                                                  SAN DIEGO          CA    92106‐2803

DAVID L GUINN                                     643 RATON PASS                                                                                 MIAMISBURG         OH    45342‐2227
DAVID L GULVAS                                    2874 N THOMAS RD                                                                               SAGINAW            MI    48609‐9313
DAVID L HABECK                                    1466 MARQUETTE STREET                                                                          JANESVILLE         WI    53546‐2447
DAVID L HAHN                                      5929 W SWEDEN RD                                                                               BERGEN             NY    14416‐9516
DAVID L HALL                                      3903 LAUREL LANE                                                                               ANDERSON           IN    46011‐3037
DAVID L HALL                                      16233 JUNIPER DR                                                                               COOPERSVILLE       MI    49404‐9645
DAVID L HAMBERG                                   2277 OYSTER BAY LANE UNIT 502                                                                  GULF SHORES        AL    36541
DAVID L HAMILTON & THELMA HAMILTON JT TEN         19749 DOVETAIL DR                                                                              BROWNSTOWN         MI    48183‐1117
                                                                                                                                                 TWP
DAVID L HANDY                                     5700 GROSVENOR HIGHWAY                                                                         BLISSFIELD         MI    49228‐0089
DAVID L HARGROVE                                  85 STABLETON WAY                                                                               SPRINGBORO         OH    45066‐7501
DAVID L HARRIS                                    1447 LOCUST ST                                                                                 MINERAL RIDGE      OH    44440‐9306
DAVID L HARRIS                                    17345 MUIRLAND                                                                                 DETROIT            MI    48221‐2708
DAVID L HAVRILLA                                  678 ANN ST                                                                                     PLYMOUTH           MI    48170‐1260
DAVID L HAYES                                     814 WEST LAKE STREET                                                                           TAWAS CITY         MI    48763
DAVID L HEDGER                                    34241 RICHARD ST                                                                               WAYNE              MI    48184‐2428
DAVID L HELTON                                    3761 CHISHOLM DR                                                                               ANDERSON           IN    46012‐9363
DAVID L HENRICK                                   PO BOX 50386                                                                                   BOWLING GREEN      KY    42102‐2986
DAVID L HENSLEY                                   36772 LODGE DR                                                                                 STERLING HEIGHTS   MI    48312‐3322

DAVID L HERBERT                                   1408 W WALNUT STREET                                                                           EL RENO        OK        73036‐4362
DAVID L HETTESHEIMER                              24 KEITH ST                                                                                    HANOVER TWNSHP PA        18706‐3302

DAVID L HIATT                                     4700 N 93 RD                                                                                   KANSAS CITY        KS    66109‐3001
DAVID L HIBBS                                     3896 PICCIOLA RD                      APT 233                                                  FRUITLAND PARK     FL    34731‐6373
DAVID L HILDEN                                    56934 MANOR CT                                                                                 SHELBY TOWNSHIP    MI    48316‐4824

DAVID L HINMAN & SUSAN M HINMAN JT TEN            15641 HILLSIDE DR                                                                              THREE RIVERS       MI    49093‐9758
DAVID L HINSKE                                    413 BRANDIS PLACE                                                                              MARSHALL           MI    49068‐9655
DAVID L HOERNER                                   2111 NORTHERN DR                                                                               BEAVERCREEK        OH    45431‐3124
DAVID L HOEXTER                                   300 E 74TH ST #4C                                                                              NEW YORK           NY    10021‐3713
DAVID L HOEXTER                                   300 EAST 74 STREET                                                                             NEW YORK           NY    10021‐3712
DAVID L HOFMANN                                   13448 LEFFINGWELL RD                                                                           BERLIN CENTER      OH    44401‐9642
DAVID L HOFMANN                                   1885 SEVERN                                                                                    GROSSE POINTE      MI    48236‐1946
                                                                                                                                                 WOOD
DAVID L HOLLAND                                   940 SPRING VALLEY PAINTERSVILLE RD                                                             SPRING VALLEY      OH    45370
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DAVID L HOLLEB & ESTHER HOLLEB JT TEN           395 OAK CREEK DR                                                                             WHEELING        IL    60090‐6742
DAVID L HOLLENBECK                              13255 DUFFIELD RD                                                                            BYRON           MI    48418‐9010
DAVID L HOLM                                    138 NORTH LINCOLN STREET                                                                     WESTMONT        IL    60559‐1612
DAVID L HOLMES                                  186 RAMSES LANE                                                                              SHREVEPORT      LA    71105‐3564
DAVID L HOWARD                                  PO BOX 252                                                                                   MARKLEVILLE     IN    46056‐0252
DAVID L HOWES SR                                500 PATAPSCO AVE                                                                             BALTIMORE       MD    21237‐3105
DAVID L HUBBLE                                  3641 NICHOL AVE                                                                              ANDERSON        IN    46011‐3064
DAVID L HUDSON                                  55 HICKORY GROVE                                                                             FULTON          NY    13069‐4136
DAVID L HUDSON                                  2856 HARLAN DR                                                                               EAST POINT      GA    30344‐3760
DAVID L HUDSON                                  215 PERIMETER DR                                                                             LAGRANGE        GA    30241
DAVID L HUGHES                                  98 W YALE                                                                                    PONTIAC         MI    48340‐1860
DAVID L HULL                                    1517 BEACH DR                                                                                MEDWAY          OH    45341‐1269
DAVID L HUNT                                    9927 HIGHLAND DRIVE                                                                          PERRINTON E     MI    48871‐9750
DAVID L HUTCHINGS                               BOX 895                                                                                      SOLDOTNA        AK    99669‐0895
DAVID L HUTCHINS                                1502 41ST AVE EAST                                                                           SEATTLE         WA    98112‐3806
DAVID L HUTCHISON                               PO BOX 157                                                                                   INDIAN RIVER    MI    49749‐0157
DAVID L IFFLANDER                               5147 MILLWHEEL                                                                               GRAND BLANC     MI    48439‐4254
DAVID L JACKSON                                 3801 PROVIDENCE                                                                              FLINT           MI    48503‐4550
DAVID L JACKSON                                 27163 HAVERHILL                                                                              WARREN          MI    48092‐3073
DAVID L JACOBS                                  6 TERRA VITA DRIVE                                                                           SOUTH           IL    60010‐7145
                                                                                                                                             BARRINGTON
DAVID L JAMES                                   1785 HOPEWELL AVE                                                                            DAYTON          OH    45418‐2244
DAVID L JAMES & BEATRICE K JAMES JT TEN         1785 HOPEWELL AVE                                                                            DAYTON          OH    45418‐2244
DAVID L JENKINS                                 12650 LONGLEAF LN                                                                            FISHERS         IN    46038‐9188
DAVID L JEWEL                                   696 RADEMACHER                                                                               DETROIT         MI    48209‐3095
DAVID L JOHNSON                                 1120 CENTER ST NORTH                                                                         BIRMNGHAM       AL    35204‐2344
DAVID L JOHNSON                                 675 POPE TRL                                                                                 COVINGTON       GA    30014‐6183
DAVID L JOHNSON                                 619 BENTLEY DR                                                                               MONROE          MI    48162‐3330
DAVID L JOHNSON                                 5677 PROSSER AVE                                                                             CINCINNATI      OH    45216‐2417
DAVID L JOHNSON                                 3674 MERRIWEATHER LN                                                                         ROCHESTER HLS   MI    48306‐3643
DAVID L JOINER                                  170 MILITARY ROAD                                                                            HERNDON         KY    42236‐8301
DAVID L JONES                                   129 FRY ROAD                                                                                 JAMESTOWN       PA    16134‐9407
DAVID L JONES                                   314 W 7TH ST                                                                                 ANDERSON        IN    46016‐1304
DAVID L JONES                                   934 SOUTH COUNTY RD 1050 EAST                                                                INDIANAPOLIS    IN    46231‐2738
DAVID L JOSTOCK                                 2715 HUNTINGTON PARK DR                                                                      WATERFORD       MI    48329‐4524
DAVID L KACHEL                                  513 W CENTER ST                                                                              WHITEWATER      WI    53190‐1805
DAVID L KAROW & KAREN A KAROW JT TEN            103 COTTAGE ST                                                                               MERRILL         WI    54452‐2233
DAVID L KASCSAK                                 4100 KIBLER TOOT RD SW                                                                       WARREN          OH    44481‐9189
DAVID L KEESLING                                6174N CO RD 600 W                                                                            MIDDLETOWN      IN    47356‐9438
DAVID L KEITH                                   139 NICOLET LN                                                                               SMITHFIELD      NC    27577‐9528
DAVID L KENNARD                                 6701 SHERIDAN RD                                                                             VASSAR          MI    48768‐9527
DAVID L KING                                    2256 N DIAMOND MILL RD                                                                       BROOKVILLE      OH    45309‐8383
DAVID L KIREK                                   8128 KIRTLAND CHARDON RD                                                                     KIRTLAND        OH    44094‐8604
DAVID L KIRKLAND                                967 SHIVERS GREEN ROAD                                                                       RIDGEWAY        SC    29130‐9691
DAVID L KLINGMAN                                319 COTTAGE                                                                                  OLIVET          MI    49076‐9723
DAVID L KNOX                                    2735 DELLA DR                                                                                DAYTON          OH    45408‐2431
DAVID L KORNBLAU CUST MICHELLE CAROL KORNBLAU   36 DRAKE LANE                                                                                MANHASSET       NY    11030‐1228
UGMA NY
DAVID L KOWALSKI                                7190 WADSWORTH RD                                                                            SAGINAW         MI    48601‐9668
DAVID L KRAUSZ                                  14435 CUTLER RD                                                                              PORTLAND        MI    48875‐9352
DAVID L KUHL                                    3565 WATER WORKS                                                                             SALINE          MI    48176‐8848
DAVID L KUHL & DIANA E KUHL JT TEN              3565 WATERWORKS RD                                                                           SALINE          MI    48176‐8848
DAVID L KUHNLE                                  1705 SAINT GEORGE LANE                                                                       JJANESVILLE     WI    53545‐0688
DAVID L KURZ                                    6253 PINE KNOB RD                                                                            CLARKSTON       MI    48348‐5143
DAVID L LAMPSHIRE                               5206 WYNDEMERE SQUARE                                                                        SWARTZ CREEK    MI    48473‐8895
DAVID L LANDER                                  5007 NELSON MOSIER ROAD                                                                      SOUTHINGTON     OH    44470‐9537
DAVID L LANDER JR                               1387 DEL VERDE COURT                                                                         THOUSAND OAKS   CA    91320
DAVID L LEE JR                                  PO BOX 223                                                                                   WARRENTON       MO    63383‐0223
DAVID L LEVY & MRS MARILYN LEVY JT TEN          402 PARADISE RD APT 3R                                                                       SWAMPSCOTT      MA    01907‐1313
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DAVID L LEWIS                                     3903 SHENTON RD                                                                                         RANDALLSTOWN     MD     21133‐2205
DAVID L LUCACIU                                   1704 SKIPPER CT                                                                                         ARLINGTON        TX     76015‐2116
DAVID L LUKONEN                                   2020 TERM ST                                                                                            BURTON           MI     48519‐1027
DAVID L LYONS                                     10757 PINE VALLEY PATH                                                                                  INDIANAPOLIS     IN     46234‐5014
DAVID L MALHALAB & ELENA M MALHALAB JT TEN        8451 APPLETON                                                                                           DEARBORN HEIGHTS MI     48127‐1405

DAVID L MALLORY                                   7630 HARDAWAY DR APT D                                                                                  NEW PORT RICHEY   FL    34653‐6850

DAVID L MAMBRETTI                                 8128 LEAH CT                                                                                            WILLIAMSVILLE     NY    14221‐8500
DAVID L MARSCH CUST AARON P MARSCH UTMA NY        3 PATRICIA LANE                                                                                         WOODMERE          NY    11598‐1444

DAVID L MARTIN                                    11212 MAHONING AVE                      PO BOX 24                                                       NORTH JACKSON     OH    44451‐0024
DAVID L MARTIN                                    1724 COUNTY ROAD 436                    APT 436                                                         HILLSBORO         AL    35643‐4123
DAVID L MARTIN                                    905 AUGUSTA RD                                                                                          JEFFERSON         ME    04348‐4202
DAVID L MASON                                     16111 S AIRPORT RD                                                                                      GREENWOOD         MO    64034‐9402
DAVID L MASON                                     118 DEER PK CIR                                                                                         WASKOM            TX    75692‐4006
DAVID L MASON & MARY RUTH MASON JT TEN            PO BOX 1108                                                                                             SPRING HILL       TN    37174‐1108
DAVID L MATTINGLY                                 6722 CLAXTON                                                                                            KALAMAZOO         MI    49048‐8605
DAVID L MAY                                       2795 TOME HIGHWAY                                                                                       COLORA            MD    21917‐1215
DAVID L MAYER                                     258 WEST PINCONNING                                                                                     PINCONNING        MI    48650‐8991
DAVID L MAZZA                                     19 WHITEFIELD DRIVE                                                                                     TRUMBULL          CT    06611‐1473
DAVID L MC CORMICK                                PO BOX 162                                                                                              BRIDGEPORT        NJ    08014‐0162
DAVID L MC GOWAN                                  524 HILLCLIFF                                                                                           WATERFORD         MI    48328‐2518
DAVID L MC KINNEY & HAZEL N MC KINNEY JT TEN      1813 E MAPLE RIDGE DR                                                                                   PEORIA            IL    61614‐7915
DAVID L MCALLISTER                                704 NE LOCUST DR                                                                                        BLUE SPRINGS      MO    64014‐2159
DAVID L MCCABE                                    740 NORTH SHORE DRIVE                                                                                   CRYSTAL           MI    48818‐9723
DAVID L MCCOY                                     12708 WOODSON BRIDGE                                                                                    BAKERSFIELD       CA    93311
DAVID L MCCUSKEY TR UA 08/19/2002 JUDITH A        C/O DORSEY & WHITNEY LLP                50 SOUTH SIXTH STREET SUITE 1500                                MINNEAPOLIS       MN    55402
MCCUSKEY REV TRUST
DAVID L MCGRAW                                    28656 BAY BERRY PARK DR                                                                                 LIVONIA           MI    48154‐3871
DAVID L MCINTYRE                                  737 PIERCE AVE                                                                                          COLUMBUS          OH    43213‐3040
DAVID L MCQUEEN                                   514 N WARREN                                                                                            SAGINAW           MI    48607‐1363
DAVID L MELTON JR                                 1 KILMARNOCK WA                                                                                         CHARLESTON        SC    29414‐7341
DAVID L MEYER                                     7295 W 240 NW                                                                                           GREENSBURG        IN    47240
DAVID L MEYER TR KARL D MEYER TRUST UA 07/16/97   U‐059 CO RD 17E                                                                                         NAPOLEON          OH    43545

DAVID L MICHAEL                                   8854 VERMONTVILLE                                                                                       DIMONDALE         MI    48821‐9637
DAVID L MICHALSEN                                 17415 SUNSET                                                                                            LIVONIA           MI    48152‐3479
DAVID L MICHELSON & LUCILLE MICHELSON JT TEN      7102 FENTON RD                                                                                          GRAND BLANC       MI    48439‐8904

DAVID L MIKESELL                                3462 E 450 N R                                                                                            MARION            IN    46952‐9072
DAVID L MILLER                                  4115 BENNETTS CORNERS RD                                                                                  HOLLEY            NY    14470‐9705
DAVID L MITCHELL                                3144 SMILEY ROAD                                                                                          BRIDGETON         MO    63044‐3042
DAVID L MOBLEY                                  3220 CLAY RD NW                                                                                           DELLROY           OH    44620‐9776
DAVID L MOELLENBECK                             2501 OPAL LN                                                                                              TROY              MO    63379‐4839
DAVID L MONTGOMERY                              2604 WILLPAR DRIVE                                                                                        GREENSBORO        NC    27406‐9493
DAVID L MOONEY                                  1768 MCLAIN LANE                                                                                          DECATUR           GA    30035‐1745
DAVID L MOORE                                   5281 MONTGOMERY AVE                                                                                       FRANKLIN          OH    45005‐1388
DAVID L MOORE                                   522 S 2ND ST                                                                                              ROGERS            AR    72756‐4607
DAVID L MORA                                    4119 IRONSIDE DR                                                                                          WATERFORD         MI    48329‐1634
DAVID L MORGAN                                  PO BOX 1699                                                                                               WARREN            OH    44482‐1699
DAVID L MORRIS                                  5314 E HANNIBAL ST                                                                                        MESA              AZ    85205‐4369
DAVID L MORRIS                                  24344 CHICAGO                                                                                             DEARBORN          MI    48124‐3105
DAVID L MORTON                                  1146 FAWN TRL                                                                                             ROCHESTER         IN    46975‐9766
DAVID L MOSIER CUST LAUREN MARIE MOSIER UTMA FL 4261 SW 149TH CT                                                                                          MIAMI             FL    33185‐4391

DAVID L MUNCH                                     134 HITCHING POST DR                                                                                    WILMINGTON        DE    19803
DAVID L MURPHEY                                   709 NW 42ND ST                                                                                          OKLAHOMA CITY     OK    73118‐7005
DAVID L MURRAY                                    PO BOX 111                                                                                              VERNON            MI    48476‐0111
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DAVID L NAAS                                      4111 CHALMETTE DR                                                                                BEAVERCREEK      OH    45440‐3226
DAVID L NELSON                                    216 FAIRWAY OAKS DR                                                                              BRUNSWICK        GA    31525‐1917
DAVID L NELSON                                    1291 KINGSLEY ROAD                                                                               CAMP HILL        PA    17011‐6115
DAVID L NEWTON                                    14 CHERRY ST                                                                                     POTSDAM          NY    13676‐1101
DAVID L NICHOLLS                                  PO BOX 534                                                                                       NORTH JACKSON    OH    44451‐0534
DAVID L NOFTZ                                     211 48TH ST                                                                                      SANDUSKY         OH    44870‐4861
DAVID L NOLEN                                     2242 ZION RD                                                                                     COLUMBIA         TN    38401‐6047
DAVID L NORRIS                                    635 STOW RD                                                                                      STOW             ME    04037‐3212
DAVID L NORTH & RITA SUE NORTH JT TEN             325 DRY RIDGE RD                                                                                 WEST ALEXANDER   PA    15376‐2429
DAVID L NORWALK                                   1318 WEST STREET                                                                                 GENOA            OH    43430‐1326
DAVID L NULPH                                     251 70TH STREET                                                                                  NIAGARA FALLS    NY    14304‐4054
DAVID L OBRIEN & KATHY A MCCADDON JT TEN          18 LARIAT DR                                                                                     SPRINGFIELD      IL    62702
DAVID L OGLESBEE & JUDITH L OGLESBEE JT TEN       927 E ALLEGAN ST                                                                                 MARTIN           MI    49070‐9797
DAVID L OLIVER                                    RT 1 BOX 66A                                                                                     ATLANTA          TX    75551‐9704
DAVID L OLLISON                                   1918 GATEWOOD CT                                                                                 CHESAPEAKE       VA    23320‐7428
DAVID L ORR                                       PO BOX 68                                                                                        PERKINS          OK    74059‐0068
DAVID L OSTERHOFF                                 4618 ROUNDTREE DR                                                                                BRIGHTON         MI    48116‐5139
DAVID L PADGETT                                   157 COUNTRY RIDGE RD                                                                             HENDERSONVLLE    NC    28739‐3906
DAVID L PADGETT                                   6625 KELLUM DR                                                                                   INDIANAPOLIS     IN    46221‐4824
DAVID L PARKER                                    3520 N EMERSON                                                                                   INDIANAPOLIS     IN    46218‐1734
DAVID L PARKER                                    745 UNION ST                                                                                     JACKSON          MI    49203‐3073
DAVID L PARKER & MARGARET C PARKER JT TEN         240 BLUE GOOSE RD                                                                                TROY             MO    63379‐5308
DAVID L PARKS                                     10453 WACOUSTA ROAD                                                                              DEWITT           MI    48820‐9167
DAVID L PATRICK                                   1289 SCHAFER DR                                                                                  BURTON           MI    48509‐1534
DAVID L PATRICK JR                                5906 IDLEWOOD PLACE                                                                              LITHONIA         GA    30038‐6263
DAVID L PATTERSON                                 175 BROOKSIDE AVE                                                                                MOUNT VERNON     NY    10553‐1347
DAVID L PATTERSON & DARYL N PATTERSON JT TEN      175 BROOKSIDE AVE                                                                                MT VERNON        NY    10553‐1347

DAVID L PENROD                                    11 VIERLING                                                                                      SAINT LOUIS      MO    63135‐1133
DAVID L PERRY & BEVERLY J PERRY JT TEN            701 PRAIRIE ST BOX 75E                                                                           AXTELL           KS    66403‐9792
DAVID L PETERSON                                  48 MAGAZINE STREET                                                                               CAMBRIDGE        MA    02139‐3910
DAVID L PETERSON TR LIVING TRUST 03/29/90 U‐A     730 EAST MISSION LANE                                                                            PHOENIX          AZ    85020‐2509
DAVID L PETERSON
DAVID L PETIX                                     41208 N WOODBURY                                                                                 BELLEVILLE       MI    48111‐3003
DAVID L PETTS JR                                  10186 ROSEMARY LANE                                                                              KALAMAZOO        MI    49009‐9369
DAVID L PHILLIPS                                  221 HOLLY DR                                                                                     EASLEY           SC    29640‐8700
DAVID L PLOURDE                                   4001 PEBBLE PATH                                                                                 AUSTIN           TX    78731‐1403
DAVID L POPKEY                                    30233 LUND RD                                                                                    WARREN           MI    48093‐2278
DAVID L PORTER                                    1037 N MELBORN                                                                                   DEARBORN         MI    48128‐1724
DAVID L POTRAFKE                                  924 TALL TREES DR                                                                                CINCINNATI       OH    45245‐1158
DAVID L POWERS                                    1014 DELL AVE                                                                                    FLINT            MI    48507‐2858
DAVID L PRICE                                     7725 W JEFFERSON RD 100N                                                                         KOKOMO           IN    46901
DAVID L PRICE                                     1271 GENEI W CT 204                                                                              SAGINAW          MI    48601‐7821
DAVID L PRICE & RUBY PRICE JT TEN                 3697 WARWICK DR                                                                                  STERLING HTS     MI    48314‐2802
DAVID L PRICE JR                                  4765 S AIRPORT RD                                                                                BRIDGEPORT       MI    48722‐9562
DAVID L PROWDLEY                                  PO BOX 6                                                                                         BENZONIA         MI    49616‐0006
DAVID L PRUEHS                                    6752 SHEBREEN CT SE                                                                              CALEDONIA        MI    49316‐7711
DAVID L PULFER                                    8583 STATE ROUTE 219 LOT 9                                                                       CELINA           OH    45822
DAVID L QUIGLEY                                   4820 ASHBROOK DRIVE                                                                              NOVLESVILLE      IN    46060
DAVID L RAMSEY                                    19920 LIBSTAFF RD                                                                                DUNDEE           MI    48131‐9615
DAVID L RATCLIFF                                  450 E ROSE AVE                                                                                   GARDEN CITY      MI    48135‐2645
DAVID L RAU                                       RT 5                                                                                             DEFIANCE         OH    43512‐9805
DAVID L REDMAN & SHARON L REDMAN JT TEN           208A STATE RD 399                                                                                ESPANOLA         NM    87532
DAVID L RENSHAW                                   12085 PYMBROKE PLACE                                                                             FISHERS          IN    46038
DAVID L RICKETTS                                  14448 W CORA LN                                                                                  GOODYEAR         AZ    85338‐8300
DAVID L RILEY                                     501 W OWASSA RD TRLR 58                                                                          PHARR            TX    78577‐9633
DAVID L ROACH                                     4030 HIGHWILLOW DR                                                                               FLORISSANT       MO    63033‐6611
DAVID L ROBINSON                                  6 SHORT HILL ROAD                                                                                WILMINGTON       DE    19809‐3263
DAVID L ROBISON                                   PO BOX 573                                                                                       LAWSON           MO    64062‐0573
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Name                                                Address1                             Address2             Address3          Address4          City            State Zip

DAVID L ROHRBAUGH JR                                43 N OSBORNE AVE                                                                              YOUNGSTOWN      OH    44509‐2029
DAVID L ROMAN                                       1776 EDGEFIELD RD                                                                             LYNDHURST       OH    44124
DAVID L ROMULUS                                     PO BOX 65127                                                                                  VIRGINIA BCH    VA    23467‐5127
DAVID L ROOKER                                      2405 S 139TH CIRCLE                                                                           OMAHA           NE    68144‐2458
DAVID L ROSENBERG                                   476 LYONS RD                                                                                  BASKING RIDGE   NJ    07920‐2561
DAVID L ROSSEN                                      4 SCHINDLER COURT                                                                             SILVER SPRING   MD    20903‐1329
DAVID L RUHNO                                       4209 MACKINAW                                                                                 SAGINAW         MI    48602‐3315
DAVID L RUNAAS                                      PO BOX 463                                                                                    FOOTVILLE       WI    53537‐0463
DAVID L RUSSELL                                     215 WARD ST                                                                                   EAST WINDSOR    NJ    08520‐3303
DAVID L RYMERS                                      229 WARRINGTON                                                                                TOLEDO          OH    43612‐3505
DAVID L SABO & LYNN M SABO TEN COM                  425 N OLD COACH TR                                                                            DEWEY           AZ    86327‐6303
DAVID L SALISBURY                                   637 BIRCHWOOD DR                                                                              LOCKPORT        NY    14094‐6375
DAVID L SAMSON                                      13 HURST RD                                                                                   WILMINGTON      DE    19803‐3716
DAVID L SANDERS                                     75 MEADOW DR                                                                                  DAYTON          OH    45416‐1805
DAVID L SCHLACTUS                                   30417 SW HEATHER RD                                                                           SHERWOOD        OR    97140‐8422
DAVID L SCHMIDT                                     285 ARLINGTON ST                                                                              ACTON           MA    01720‐2245
DAVID L SCHMIDT JR                                  455 AUXIER DR                                                                                 CINCINNATI      OH    45244‐2364
DAVID L SCHNELL                                     2876 WHITE CV                                                                                 WEST POINT      MS    39773‐4358
DAVID L SCHWARTZ                                    5714 LASSITER MILL PLACE                                                                      FORT WAYNE      IN    46835‐8833
DAVID L SCOTT                                       387 W 1375 N                                                                                  CENTERVILLE     UT    84014‐3102
DAVID L SCOTT & KAY L SCOTT JT TEN                  2605 NORTH SHERWOOD DR                                                                        VALDOSTA        GA    31602
DAVID L SEGUIN                                      3219 NOURSE RD                                                                                ERIEVILLE       NY    13061‐3179
DAVID L SHAW                                        3453 E BALDWIN RD                                                                             GRAND BLANC     MI    48439‐8300
DAVID L SHAW TOD JUDITH A SHAW                      PO BOX 51                                                                                     HIGGINS LAKE    MI    48627
DAVID L SHEARIN                                     1155 E TIPTON ST                                                                              HUNTINGTON      IN    46750‐1651
DAVID L SHEFLIN                                     17 CALEDONIA AVE                                                                              SCOTTSVILLE     NY    14546‐1241
DAVID L SHELTON                                     11544 MILLSTONE DR                                                                            GRAND LEDGE     MI    48837‐2290
DAVID L SHERMAN                                     5971 PARK LANE                                                                                OLCOTT          NY    14126
DAVID L SHOEMAKER                                   4138 HURSH RD                                                                                 FORT WAYNE      IN    46845‐9678
DAVID L SHULTZ                                      1947 SUNVALE                                                                                  OLATHE          KS    66062‐2305
DAVID L SIPPEL                                      26040 W RIVER RD                                                                              PERRYSBURG      OH    43551‐9129
DAVID L SIPPEL TR DIANE SIPPEL TESTAMENTARY TRUST   26040 WEST RIVER ROAD                                                                         PERRYSBURG      OH    43551‐9129
UA 05/25/00
DAVID L SKAGGS                                      753 MUIRFIELD CIR                                                                             BOWLING GREEN   KY    42104‐5548
DAVID L SKINNER                                     9453 N VASSAR RDRRACE                                                                         MOUNT MORRIS    MI    48458‐9757
DAVID L SLATKOVSKY                                  755 STONY HILL                                                                                HINCKLEY        OH    44233‐9431
DAVID L SMITH                                       4242 JANICK CIRCLE N                                                                          STEVENS POINT   WI    54481‐2511
DAVID L SMITH                                       106 LOCUST ST                                                                                 NEW HAVEN       MO    63068‐1024
DAVID L SMITH                                       9222 S PEORIA ST                                                                              CHICAGO         IL    60620‐2725
DAVID L SMITH                                       273 S JESSIE ST                                                                               PONTIAC         MI    48342‐3117
DAVID L SMITH                                       141 BOYACK RD                                                                                 CLIFTON PARK    NY    12065‐7437
DAVID L SMITH                                       1820 WINDING CREEK RD                                                                         PROSPER         TX    75078
DAVID L SMITH & LINDA A SMITH JT TEN                8000 ELLIS ROAD                                                                               CLARKSTON       MI    48348‐2604
DAVID L SOLDAN                                      9411 BLUE SPRUCE CT                                                                           DAVISON         MI    48423‐1186
DAVID L SOUTHWORTH                                  PO BOX A 246                                                                                  HANOVER         NH    03755
DAVID L SPARKS                                      126 OLD LEBANON CHURCH RD                                                                     PITTSBURGH      PA    15236‐3760
DAVID L SPENCER                                     4392 ELLIS TERR                                                                               LANE            KS    66042‐9781
DAVID L SPENCER                                     843 CARTWRIGHT CT                                                                             TROY            OH    45373‐8457
DAVID L SPRAGUE                                     634 HODAPP AVE                                                                                DAYTON          OH    45410‐2711
DAVID L SQUIRES                                     11191 MILLS MACON HIGHWAY                                                                     TECUMSEH        MI    49286‐9647
DAVID L STACKHOUSE & L ANN STACKHOUSE JT TEN        1188 C R 1475 RD 1                                                                            ASHLAND         OH    44805‐9745

DAVID L STAMPER                                     7966 MORTON TAYLOR RD                                                                         BELLEVILLE      MI    48111‐1321
DAVID L STANDRIDGE & DEBRA K STANDRIDGE JT TEN      12980 PEACHTREE DR                                                                            NEW BERLIN      WI    53151‐7623

DAVID L STEPHENS                                    18661 ALBANY                                                                                  DETROIT         MI    48234‐2535
DAVID L STEVENS                                     2000 E RIVER RD                      APT E4                                                   TUCSON          AZ    85718‐6538
DAVID L STEVENSON                                   1750 CRUMLIN ROAD                    LONDON ON                              N5V 3B6 CANADA
DAVID L STONE                                       3128 JOSHUA TREE CIRCLE                                                                       STOCKTON        CA    95209‐3809
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DAVID L STORCK                                   6 CURTIS COURT                        GISBORNE             3437 VICTORIA     AUSTRALIA
DAVID L STUTZMAN                                 32679 TEEPLEVILLE RD                                                                           CENTERVILLE     PA    16404‐2537
DAVID L SUDBURY                                  345 CANTER LANE                                                                                HOLLY           MI    48442‐8940
DAVID L SUFFRITI & RACHEL A SUFFRITI JT TEN      237 EUCLID AVE                                                                                 LYNN            MA    01904‐2328
DAVID L SULLIVAN                                 91 RIVER RD                                                                                    UNDERHILL       VT    05489‐9416
DAVID L SWAN                                     4450 GRAYCE AVE                                                                                GASPORT         NY    14067‐9224
DAVID L SWEENEY CUST KAITLYN N SWEENEY UTMA OH   724 LAFAYETTE BLVD                                                                             SHEFFIELD       OH    44054‐1431

DAVID L TAYLOR                                   8081 SUNSET DR                                                                                 FLINT           MI    48532‐3012
DAVID L TAYLOR                                   530 N WILSON AVE #11                                                                           PASADENA        CA    91106‐1166
DAVID L TEFFNER                                  9317 LOVEJOY ROAD                                                                              LINDEN          MI    48451‐9636
DAVID L THOMPSON                                 PO BOX 531                                                                                     CLIO            MI    48420‐0531
DAVID L TIERNEY                                  2116 MCKINLEY ST                                                                               ANDERSON        IN    46016‐4567
DAVID L TIERNEY                                  25125 SHOOK RD                                                                                 HARRISON        MI    48045‐3718
                                                                                                                                                TOWNSHIP
DAVID L TODD                                     1719 VINEWOOD AVE                                                                              THE VILLAGES    FL    32162‐3232
DAVID L TOLES JR                                 42 FRANKLIN AVE                                                                                POMPTON PLNS    NJ    07444‐1739
DAVID L TOOLEY TR ELLEN LEACH FUND 05/26/49      PAWLET COMMUNITY CHURCH               RR 2720                                                  PAWLET          VT    05761
DAVID L TRAVER                                   7328 7 MILE RD                                                                                 FREELAND        MI    48623‐8907
DAVID L TURNER                                   5726 WOODMORE DR                                                                               DAYTON          OH    45414‐3010
DAVID L TURPIN                                   861 ORCHARD DRIVE                                                                              KETTERING       OH    45419‐2323
DAVID L TURTON                                   29184 ORANGEWOOD ST                                                                            PUNTA GORDA     FL    33982‐8557
DAVID L UNTI                                     1074 SOUTH SADDLE RIDGE COURT                                                                  PALATINE        IL    60067‐9116
DAVID L UPMANN                                   2913 YALE DR                                                                                   JANESVILLE      WI    53545‐2796
DAVID L VAN NINGEN                               526 SE GRAND AVE                                                                               PORTLAND        OR    97214‐2215
DAVID L VANDERLUIT                               4364N 950W                                                                                     SHIRLEY         IN    47384
DAVID L VANHUSS                                  6692 SUSAN DR                                                                                  LOVELAND        OH    45140‐8706
DAVID L VANHUSS & EDNA S VANHUSS JT TEN          6692 SUSAN DRIVE RT 3                                                                          LOVELAND        OH    45140‐8706
DAVID L VAUGHN                                   2120 S HAWTHORNE PARK DR                                                                       JANESVILLE      WI    53545
DAVID L VOGEL                                    12013 SUNFLOWER CT                                                                             BISHOPVILLE     MD    21813‐1687
DAVID L WALTERS & SUSAN E WALTERS JT TEN         2 WALTON DRIVE                                                                                 WEST HARTFORD   CT    06107‐1630
DAVID L WARD                                     1950 MOHAWK LANE                                                                               GREENFIELD      IN    46140‐9580
DAVID L WEBB                                     3 KEATS DRIVE                                                                                  CLAYMONT        DE    19703‐1513
DAVID L WEEKS                                    15308 PINEY DR                        BOX 69                                                   BUCYRUS         MO    65444‐0069
DAVID L WELLS                                    1347 EAST COUNTY RD 451 SOUTH                                                                  CLAYTON         IN    46118‐9446
DAVID L WENTZ                                    4955 DEBBIE DR                                                                                 MEDINA          OH    44256‐8676
DAVID L WEST                                     555 E 33RD PL                                                                                  CHICAGO         IL    60616‐4136
DAVID L WESTOVER                                 202 WINDING MILL DR                                                                            CLINTON         MS    39056‐4150
DAVID L WETTER                                   18 KINGSBRIDGE LN                                                                              MENDON          NY    14506‐9722
DAVID L WHALEY                                   3081 WOODSDALE RD                                                                              SALEM           OH    44460‐9503
DAVID L WHITE                                    3050 MAPLE ROAD                                                                                NEWFANE         NY    14108‐9626
DAVID L WHITEMAN                                 125 DUDDINGTON PL SE                                                                           WASHINGTON      DC    20003‐2610
DAVID L WILEY                                    11084 S BYRON RD                                                                               BYRON           MI    48418‐9107
DAVID L WILLING                                  1702 CALDWELL RD                                                                               IMLAY CITY      MI    48444‐9409
DAVID L WINTER                                   1555 N MILFORD RD                                                                              HIGHLAND        MI    48357‐3805
DAVID L WISCHNEWSKI                              47 STRATHMORE AVE                                                                              BUFFALO         NY    14220‐1734
DAVID L WOOD                                     2046 CANTERWOOD                                                                                HIGHLAND        MI    48357‐4236
DAVID L WOOD                                     3610 FAIRMONT RD                                                                               ROYAL OAK       MI    48073‐6474
DAVID L WOOD                                     2387 NORWICH WAY                                                                               TUCKER          GA    30084‐3920
DAVID L WOODMAN                                  3508 COVENTRY DR                                                                               JANESVILLE      WI    53546‐9663
DAVID L WOOLWINE                                 3978 S BLUE ISLAND RD                                                                          KINGMAN         IN    47952‐8320
DAVID L WORLEY                                   40 CLAIRMONT AVE                                                                               ELBERTON        GA    30635‐1571
DAVID L WRIGHT                                   6700 VALLEY BRANCH DRIVE                                                                       ARLINGTON       TX    76001‐7874
DAVID L WYMER                                    2419 BLUEROCK BLVD                                                                             GROVE CITY      OH    43123‐1105
DAVID L YANCEY                                   4164 RIPKEN CIRCLE WEST                                                                        JACKSONVILLE    FL    32224
DAVID L YARGER                                   4917 WALDEN LN                                                                                 DAYTON          OH    45429‐5528
DAVID L YASTE                                    110 FAIRWAY DRIVE                                                                              NOBLESVILLE     IN    46060‐8459
DAVID L YEATES                                   11431 CENTER RD                                                                                FENTON          MI    48430‐9512
DAVID L YOUNG                                    6425 W BERKSHIRE                                                                               SAGINAW         MI    48603‐3409
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DAVID L YOUNGQUIST                                2273 SE SEAFURY LN                                                                                       PORT ST LUCIE     FL    34952‐4842
DAVID L ZIEMINSKI & EILEEN R ZIEMINSKI JT TEN     2271 ROSE                                                                                                LINCOLN PARK      MI    48146‐2559
DAVID L ZILKA                                     17035 ROSLYN                                                                                             ALLEN PARK        MI    48101‐3129
DAVID LA PIERRE O DOWD                            742 N CATHERINE AVE                                                                                      LA GRANGE PARK    IL    60526‐1503
DAVID LAATSCH                                     N8580 COUNTY RD W                                                                                        BEAVER DAM        WI    53916
DAVID LALICATA                                    220 NORWOOD AVE                                                                                          WESTMONT          NJ    08108‐3533
DAVID LAMAR METHVIN                               25 COVEY LANE                                                                                            COVINGTON         GA    30016‐7513
DAVID LAMONT MC NEIL                              5374 PALM GROVE CT                                                                                       SAN JOSE          CA    95123‐1754
DAVID LANE                                        OAKWOOD HOUSE                          HALL GARDEN          CONDOVER          SHREWSBURY SY5 7BD GREAT
                                                                                                                                BRITAIN
DAVID LANGAN                                      1143 WESTERN LN                                                                                          YORKVILLE       IL      60560‐4583
DAVID LARKIN                                      2625 NICHOLS RD                                                                                          KALAMAZOO       MI      49004‐3206
DAVID LARRY KATULIC                               751 WHITNEY DR                                                                                           ROCHESTER HLS   MI      48307‐2865
DAVID LAVRACK                                     6364 SOUTH A1A HIGHWAY                                                                                   MELBOURNE BEACH FL      32951‐3711

DAVID LAWRENCE FAIRCHILD                          PO BOX 612                                                                                               SANBORNVILLE      NH    03872
DAVID LAWRENCE HUNSUCKER JR                       2100 BLOOMSHERRY DR                                                                                      RICHMOND          VA    23235‐5702
DAVID LAX CUST ANDREW LAX U/THE NEW YORK          17851 DEAUVILLE LN                                                                                       BOCA RATON        FL    33496‐2458
UNIFORM GIFTS TO MINORS ACT
DAVID LAZARUS JONES                               29764 HARROW DRIVE                                                                                       FARMINGTON HILLS MI     48331‐1964

DAVID LEAN HILLMAN & MELITA S HILLMAN JT TEN      5837 E INCA ST                                                                                           MESA              AZ    85205‐3530

DAVID LEE                                         6397 CLIFTON ST                                                                                          DETROIT           MI    48210‐1147
DAVID LEE                                         6039 CHERRY RIDGE RD                                                                                     BASTROP           LA    71220‐1830
DAVID LEE & CHRISTINA TRAN JT TEN                 158 BEACHVIEW AVE                                                                                        PACIFICA          CA    94044
DAVID LEE & JAMES LEE JT TEN                      77 ROUTE 209                                                                                             PORT JERVIS       NY    12771‐3935
DAVID LEE ADAMS                                   10311 RAFTER S TRAIL                                                                                     HELOTES           TX    78023‐3818
DAVID LEE BARTLOW                                 1505 EDGEWOOD DRIVE                                                                                      ANDERSON          IN    46011‐3073
DAVID LEE BURGER TR DAVID LEE BURGER 1995 REV     26844 WEST HOT SPRINGS PLACE                                                                             CALABASAS HILLS   CA    91301‐5320
LIVING TRUST UA 12/08/95
DAVID LEE CHAMBLISS                               2005 COLLEGE VIEW                                                                                        MURFREEFBORO      TN    37130‐3182
DAVID LEE CUST CHRISTOPHER J LEE UTMA IL          615 S QUINCY ST                                                                                          HINSDALE          IL    60521‐3953
DAVID LEE CUST JENNIFER ANNE LEE UGMA NY          15 BRANDON CT                                                                                            SPRINGBORO        OH    45066‐8929
DAVID LEE HARROLD                                 3474 BROXTON MILL WAY                                                                                    SNELLVILLE        GA    30039‐4441
DAVID LEE HINER CUST ROBERT S HINER UGMA IL       3061 N SOUTHERN HILLS DR                                                                                 WADSWORTH         IL    60083‐9288
DAVID LEE HINKEL CUST CARSON RILEY HINKEL UTMA IN 2905 W 84TH PL                                                                                           MERRILLVILLE      IN    46410‐7289

DAVID LEE HINKEL CUST CONNER LEE HINKEL UTMA IN   2905 W 84TH PL                                                                                           MERRILLVILLE      IN    46410

DAVID LEE HINKEL CUST CONNOR LEE HINKEL UTMA IN   2905 W 84TH PL                                                                                           MERRILLVILLE      IN    46410‐7289

DAVID LEE KENNY                                   8630 KINGSLEY                                                                                            CANTON            MI    48187‐1918
DAVID LEE OLVEY                                   1108 W 7TH ST                                                                                            ANDERSON          IN    46016‐2602
DAVID LEE PETTY                                   631 STEWART DR                                                                                           NEW CASTLE        IN    47362
DAVID LEE SEAR                                    39671 DETROIT STREET                                                                                     MT CLEMENS        MI    48045‐1837
DAVID LEE SIPE                                    602 JACKSON ST                                                                                           SANDUSKY          OH    44870‐2739
DAVID LEE SIPE & THERELL L SIPE JT TEN            602 JACKSON ST                                                                                           SANDUSKY          OH    44870‐2739
DAVID LEE STAHLMAN                                8 LAUREL LN                                                                                              PORT ALLEGANY     PA    16743‐1024
DAVID LEE STANLEY                                 903 VERSAILLES CIRCLE                                                                                    MAITLAND          FL    32751‐4566
DAVID LEE TIGNER                                  1 SANTA LN                                                                                               NEW MILFORD       CT    06776‐2363
DAVID LEE VANT HOF                                3373 HOAG N E                                                                                            GRAND RAPIDS      MI    49525‐9741
DAVID LEE ZWIACHER                                PO BOX 64910                                                                                             LUBBOCK           TX    79464‐4910
DAVID LEHRMAN                                     207 BARCLAY CIR                                                                                          CHELTENHAM        PA    19012‐1001
DAVID LEIB                                        20345 SEABOARD RD                                                                                        MALIBU            CA    90265‐5347
DAVID LEIBOWITZ                                   PO BOX 56 1071                                                                                           MIAMI             FL    33256‐1071
DAVID LENGEL                                      249 IVY LN S                                                                                             GLEN MILLS        PA    19342‐1326
DAVID LEO OLEN                                    322 STEELE ST                                                                                            DENVER            CO    80206‐4415
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DAVID LERMAN CUST DANIEL H LERMAN UGMA IN       3210 S MIAMI                                                                                     SOUTH BEND         IN    46614‐2048

DAVID LEROY SNOW                                807 CARNEGIE STREET                                                                              LINDEN             NJ    07036‐2223
DAVID LESKOWYAK                                 76 FITZWILLIAM LANE                                                                              JOHNSTOWN          OH    43031‐9606
DAVID LESLIE TAYLOR                             4213 STERLING SHIRE CT                                                                           ROSWELL            GA    30075‐2661
DAVID LESTER                                    101 NORTH DEVIMY CRT                                                                             CARY               NC    27511‐6390
DAVID LEVASSEUR                                 3656 SEVEN MILE RD                                                                               BAY CITY           MI    48706‐9476
DAVID LEVENSON                                  5421 PEPPER MILL RD                                                                              GRAND BLANC        MI    48439‐1946
DAVID LEVINE CUST SEAN LEVINE UGMA MI           1773 SCHOENITH LANE                                                                              BLOOMFIELD HILLS   MI    48302‐2657

DAVID LEWIS                                     46577 AARONS WAY                                                                                 CANTON             MI    48188‐2321
DAVID LEWIS ASLIN                               1709 DUKE HOLW                                                                                   TRAVERSE CITY      MI    49686‐8771
DAVID LINCOLN                                   220 S SERVICE RD                        MISSISSAUGA ON                         L5G 2S1 CANADA
DAVID LINDSTROM                                 7411 BUSH LAKE DR                                                                                BLOOMINGTON        MN    55438‐1658
DAVID LIRA                                      13190 STARWOOD LN                                                                                DEWITT             MI    48820‐9029
DAVID LLOYD                                     4878 IVANHOE                                                                                     DETROIT            MI    48204‐3674
DAVID LLOYD COWAN                               2841 CANTERBURY RD                                                                               BIRMINGHAM         AL    35223‐1201
DAVID LLOYD PETERS                              605 TERRACE AVE                                                                                  ESCONDIDO          CA    92026‐2727
DAVID LLOYD WELLS & MRS ROSETTA WELLS TEN COM   BOX 593                                                                                          DUBOIS             WY    82513‐0593

DAVID LO MINOR                                  2607 CREEK BEND                                                                                  TROY               MI    48098‐2321
DAVID LOMBARDO                                  304 SHETLAND DR                                                                                  WILLIAMSVILLE      NY    14221‐3920
DAVID LOO TR LOO LIVING TRUST UA 12/21/00       30072 WHITECAP                                                                                   LAGUNA NIGUEL      CA    92677‐8843
DAVID LOPEZ                                     8801 BROOK HOLLOW DR                                                                             MCKINNEY           TX    75070
DAVID LORD SUTTER                               PO BOX 7292                                                                                      CAPE PORPOISE      ME    04014‐7292
DAVID LOUIS ELLIS & ALICIA CAROL ELLIS JT TEN   529 ASHWOOD DR                                                                                   FLUSHING           MI    48433‐1328
DAVID LOUIS GUTH                                1501 BURNING BUSH LANE                                                                           MT PROSPECT        IL    60056‐1605
DAVID LOUIS LEVINE                              1629 WINDSOR PL                                                                                  LOUISVILLE         KY    40204‐1311
DAVID LOUIS MANUEL                              40 SHADE ST                                                                                      LEXINGTON          MA    02421‐7721
DAVID LOW                                       6089 LA GOLETA RD                                                                                GOLETA             CA    93117‐1727
DAVID LOWENFELD CUST JONAH A LOWENFELD UGMA     701 WEST 246TH ST                                                                                RIVERDALE          NY    10471‐3501
DC
DAVID LOXTON                                    54 GROVE STREET                                                                                  RAMSEY           NJ      07446‐1311
DAVID LOYD DURFEE                               9989 DISHMAN RD N W                                                                              BREMERTON        WA      98312‐9103
DAVID LUND                                      166 NORTH ST                                                                                     LAKE VIEW        MI      48850‐9203
DAVID LUND                                      1870 E 135TH AVE                                                                                 THORNTON         CO      80241‐1970
DAVID LUND & JOANNE LUND JT TEN                 1870 E 135TH AVE                                                                                 THORNTON         CO      80241‐1970
DAVID LURIA                                     5880 ROYAL ISLES BLVD                                                                            BOYNTON BEACH    FL      33437‐4274
DAVID LYNN MC ALLISTER                          3624 SOUTH NEW JERSEY ST                                                                         INDIANAPOLIS     IN      46227‐1220
DAVID LYNN STANLY                               840 ASHLEY LAINE WALK                                                                            LAWRENCEVILLE    GA      30043‐4286
DAVID LYNWOOD RIDDICK                           7101 EMMA COURT                                                                                  FT WASHINGTON    MD      20744‐1146
DAVID LYONS                                     252 BROOKDALE RD                                                                                 STAMFORD         CT      06903‐4115
DAVID M ABBOTT                                  PO BOX 13626                                                                                     SISSONVILLE      WV      25320
DAVID M ABED                                    5149 KIMBERLY DRIVE                                                                              GRAND BLANC      MI      48439‐5159
DAVID M ABEL                                    11348 HERON PASS                                                                                 FISHERS          IN      46037‐8689
DAVID M ALDORFER                                876 N GATE RD                                                                                    ROCHESTER HILLS  MI      48306‐2514
DAVID M ALKANOWSKI                              166 SAWMILL ROAD                                                                                 TOWNSEND         DE      19734‐9273
DAVID M ALLEN                                   4441 NICHOLS                                                                                     SWARTZ CREEK     MI      48473‐8511
DAVID M ANDERSON                                7420 PETERS PK                                                                                   DAYTON           OH      45414‐2156
DAVID M ARCEO                                   G5352 W MAPLE RD                                                                                 SWARTZ CREEK     MI      48473
DAVID M AUSTIN                                  819 COUNTY RD 28                                                                                 SOUTH NEW BERLIN NY      13843‐2233

DAVID M BAILEY                                  212 COBBS MILL RD                                                                                BRIDGETON          NJ    08302‐5544
DAVID M BAILEY JR                               PO BOX 2655                                                                                      KALISPELL          MT    59903‐2655
DAVID M BALFOUR                                 32980 ROSSLYN AVE                                                                                GARDEN CITY        MI    48135‐1064
DAVID M BANAS                                   6181 PARK RIDGE DR                                                                               NORTH OLMSTED      OH    44070‐4144
DAVID M BANNER                                  224 COUNTRY CLUB DR                                                                              ST CLR SHORES      MI    48082‐1057
DAVID M BARDGETT                                21 STRAWGRASS COURT                                                                              ST CHARLES         MO    63304‐2301
DAVID M BARTON                                  295 FALCON DRIVE EAST                                                                            HIGHLAND           IL    62249
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

DAVID M BASH                                     1000 ALLISON BL                                                                                  AUBURN             IN    46706‐3106
DAVID M BAUMER                                   15068 HOGAN RD                                                                                   LINDEN             MI    48451‐8732
DAVID M BEHRMANN CUST LAUREN E BEHERMANN         3324 CIRCLEWOOD CT                                                                               GRAPEVINE          TX    76051‐6520
UTMA TX
DAVID M BENDER                                   284 SAINT JOHNS GOLF DR                                                                          SAINT AUGUSTINE    FL    32092‐1052
DAVID M BENNINGER                                13422 BUTTERFLY LN                                                                               HOUSTON            TX    77079‐7116
DAVID M BENTON                                   17167 BAK RD                                                                                     BELLEVILLE         MI    48111
DAVID M BERGOR                                   2249 LIMA CENTER ROAD                                                                            CHELSEA            MI    48118‐9623
DAVID M BERINGER                                 6635 CENTURY AVE APT 5                                                                           MIDDLETON          WI    53562‐2251
DAVID M BETTS                                    1689 APOLLO                                                                                      HIGHLAND           MI    48356‐1701
DAVID M BIENASH                                  2122 CEDAR PT DR                                                                                 JANESVILLE         WI    53546‐5333
DAVID M BLEWETT & SHARON BLEWETT JT TEN          31350 WENTWORTH                                                                                  LIVONIA            MI    48154‐6216
DAVID M BOREN                                    932 ASHLAND                                                                                      WILMETTE           IL    60091‐1738
DAVID M BORMES                                   5311 WASHINGTON ST                                                                               DOWNERS GROVE      IL    60515‐4921
DAVID M BORZICK                                  RR 3                                                                                             MONTELLO           WI    53949‐9803
DAVID M BOYER                                    11148 NARRAGANSETT BAY COURT                                                                     WELLINGTON         FL    33414‐8808
DAVID M BOZEK                                    52010 BEECH DR                                                                                   CHESTERFIELD TWP   MI    48047‐4557

DAVID M BRADLEY                                  4 TURNBERRY PLACE                                                                                CORTLAND           OH    44110
DAVID M BRADY                                    2‐D AVON CT                                                                                      CHATHAM            NJ    07928‐1763
DAVID M BRANDT                                   PO BOX 52                                                                                        YORKSHIRE          NY    14173‐0052
DAVID M BRENHOLTZ                                5974 S UNION ST                                                                                  LITTLETON          CO    80127‐2320
DAVID M BRICKLEY                                 114 INVERNESS DR                                                                                 MCMURRAY           PA    15317‐3612
DAVID M BROOKS & MARY C BROOKS JT TEN            420 HANKINS ST                                                                                   WARREN             AR    71671‐2928
DAVID M BROWN                                    PO BOX 2099                                                                                      BOERNE             TX    78006‐3601
DAVID M BROWN                                    20331 BANCROFT CIRCLE                                                                            HUNTINGTON         CA    92646‐4735
                                                                                                                                                  BEACH
DAVID M BROWN SR                                 3925 CRYSTAL SPRINGS                                                                             JANESVILLE         WI    53545‐9675
DAVID M BUCKLEY                                  557 SHERWOOD DR                                                                                  AUBURN             AL    36830‐6034
DAVID M BURCH                                    7214 CANTORWOOD PL                                                                               FORT WAYNE         IN    46835‐4078
DAVID M BURDETT                                  4002 DURRANS LANE                                                                                SALT LAKE CITY     UT    84120‐4077
DAVID M BURLINGAME                               137 CRYSTAL HILLS BLVD                                                                           MANITOU SPRINGS    CO    80829‐2607

DAVID M BURNETT                                  7943 RAMPART TRL                                                                                 WATERFORD          MI    48327‐4150
DAVID M BURNS                                    298 FLORAWOOD ST                                                                                 WATERFORD          MI    48327‐2429
DAVID M CADY                                     256 SANTA GERTRUDIS DRIVE                                                                        CLAYTON            NC    27520‐3418
DAVID M CAGNO                                    47 STONE RIDGE BLVD                                                                              HERMITAGE          PA    16148‐9173
DAVID M CAHN                                     5603 BIMINI DR                                                                                   MINNETONKA         MN    55343‐9433
DAVID M CAMPION                                  1625 WILDWOOD RD                                                                                 MARIETTA           GA    30062‐4052
DAVID M CANTRELL                                 670 BUCK CREEK RD                                                                                GRIFFIN            GA    30224‐7915
DAVID M CAST                                     4980 STATE ROUTE 350                                                                             CLARKSVILLE        OH    45113‐9549
DAVID M CATT                                     950 E 38 S                                                                                       GREENTOWN          IN    46936
DAVID M CHAM                                     1190 LAKE LANE DR                                                                                WHITE LAKE         MI    48386‐1712
DAVID M CHERENCE                                 38 DAILY ST                                                                                      NUTLEY             NJ    07110‐1530
DAVID M CHRISTENSON                              1501 SOUTH AIRPORT DR                   # 165                                                    WESLACO            TX    78596‐7227
DAVID M CHRISTY & SHARON K CHRISTY JT TEN        4403 W 112 TERRACE                                                                               LEAWOOD            KS    66211
DAVID M CIAMPO                                   8730 GLEN MEADOW                                                                                 BEAUMONT           TX    77706
DAVID M CLACK                                    550 62ND ST S                                                                                    ST PETERSBURG      FL    33707‐1533
DAVID M CLAUSEN                                  8449 KIMBERLY ST                                                                                 JUNEAU             AK    99801‐9161
DAVID M CLEVELAND & MAUREEN K CLEVELAND JT TEN   1205 VINTAGE CLUB DR                                                                             DULUTH             GA    30097‐2074

DAVID M COCKRELL                                 2033 MILLER ST                                                                                   DECATUR            AL    35601‐7603
DAVID M COFFMAN                                  907 ELM AVE                                                                                      TERRACE PARK       OH    45174‐1259
DAVID M COLLIER & MARILYN F COLLIER JT TEN       5536 CATHEDRAL OAKS ROAD                                                                         SANTA BARBARA      CA    93111‐1406
DAVID M COLLINS                                  7625 ROTHFIELD DRIVE                                                                             HUBER HEIGHTS      OH    45424‐2158
DAVID M CONLON                                   12767 COUNTY RD 408                                                                              NEWBERRY           MI    49868‐7914
DAVID M CONLON & SHIRLEY A CONLON JT TEN         12767 COUNTY RD 408                                                                              NEWBERRY           MI    49868‐7914
DAVID M CRIMI                                    591 EAST AVENUE                                                                                  LOCKPORT           NY    14094‐3301
DAVID M CULLEN                                   5410 N BRAESWOOD BLVD APT 910                                                                    HOUSTON            TX    77096
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DAVID M CURRY                                 150 NORTH DRIVE                                                                                   PITTSBURGH       PA    15238‐2310
DAVID M CZERWINSKI                            1130 W HAMPTON RD                                                                                 ESSEXVILLE       MI    48732‐3201
DAVID M DANIELS                               61 JEFFREY DR                                                                                     BUFFALO          NY    14228‐1930
DAVID M DANNING                               11 CLARK ROAD                                                                                     BROOKLINE        MA    02445‐6029
DAVID M DARBY & CHRISTINE DARBY JT TEN        1418 KENNEBEC ROAD                                                                                GRAND BLANC      MI    48439‐4978
DAVID M DARK                                  3107 OAKLAWN PARK                                                                                 SAGINAW          MI    48603‐6196
DAVID M DAVIES                                1770 KENMORE DR                                                                                   GROSSE POINTE    MI    48236‐1930
DAVID M DAVITON                               9255 CORDOBA BLVD                                                                                 SPARKS           NV    89436‐7236
DAVID M DAWSON                                9401 E 39TH ST                                                                                    TUCSON           AZ    85730‐2146
DAVID M DAY & DEANA L DAY JT TEN              33 MERLOT WAY                                                                                     TOLLAND          CT    06084‐2621
DAVID M DAY & LORRAINE L DAY JT TEN           33 DEL PERLATTO                                                                                   IRVINE           CA    92614‐5359
DAVID M DEGLER                                9 OTTER DRIVE                                                                                     CONCORD          NH    03301‐4667
DAVID M DENNY                                 2000 E BAY DR                            LOT 139                                                  LARGO            FL    33771‐2379
DAVID M DEWEY & KAREN L DEWEY JT TEN          3855 W TERRITORIAL RD                                                                             RIVES JUNCTION   MI    49277‐9641
DAVID M DIBENEDETTO                           825 COMMUNITY DR                                                                                  LA GRANGE PK     IL    60526‐1558
DAVID M DISABATINO                            2201 SHIPLEY RD                                                                                   WILMINGTON       DE    19803‐2305
DAVID M DOLAN CUST MICHEAL TODD DOLAN UGMA PA 236 DODSON RD                            #3                                                       SOMERSET         PA    15501

DAVID M DONALDSON                                 3580 CHILDS LAKE ROAD                                                                         MILFORD          MI    48381‐3620
DAVID M DOWDALL                                   3669 SOUTH CENTURY OAKS                                                                       OAKLAND          MI    48363‐2644
                                                                                                                                                TOWNSHIP
DAVID M DOWNING                                8312 TREELINE DR                                                                                 CHOCTAW          OK    73020‐4537
DAVID M DRESDEN & MRS DEBORAH A DRESDEN JT TEN 1506 MADISON DR                                                                                  BUFFALO GROVE    IL    60089‐6830

DAVID M DREXLER                                   7096 CITY VIEW CIRCLE                                                                         RIVERSIDE        CA    92506‐4910
DAVID M DUCKWORTH                                 423 S LYNCH ST                                                                                FLINT            MI    48503‐2123
DAVID M DUNAHAY                                   PO BOX 9022 C/O GM CHINA                                                                      WARREN           MI    48090
DAVID M ELLISON                                   6804 ST RT 753                                                                                HILLSBORO        OH    45133‐8185
DAVID M ENGEL                                     318 FIRST ST                                                                                  MILFORD          MI    48381‐1939
DAVID M ENGLISH                                   288 DROVER LN                                                                                 MIDDLETOWN       VA    22645‐2039
DAVID M ERNST CUST RYAN M ERNST UGMA DE           2304 RIDDLE AVE                      APT 108                                                  WILMINGTON       DE    19806‐2163
DAVID M FABIAN                                    3917 MENDOCINO LN                    APT 112                                                  SHEBOYGAN        WI    53083‐1870
DAVID M FACKLEMAN                                 1729 RIDGE RD                                                                                 TIOGA            PA    16946‐8655
DAVID M FARONE                                    PO BOX 867                                                                                    FENTON           MI    48430‐0867
DAVID M FARREN                                    5325 PARLOR COURT                                                                             MASON            OH    45040‐2940
DAVID M FARVER                                    636 INDEPENDENCE DR E                                                                         FRANKLIN         TN    37067‐5644
DAVID M FEATHERSTONE                              22205 SPITZLEY ST                                                                             CLINTON TWP      MI    48035‐4906
DAVID M FENNESSY & SANDRA K FENNESSY JT TEN       7 TURNBURY COURT                                                                              TROPHY CLUB      TX    76262
DAVID M FINK & MRS HARRIET FINK JT TEN            139 HIGHLAND AVE                                                                              METUCHEN         NJ    08840‐1939
DAVID M FORBES                                    1271 JEANETTE DR                                                                              DAYTON           OH    45432‐1766
DAVID M FORTINO                                   4473 MORRISH ROAD                                                                             SWARTZ CREEK     MI    48473‐1345
DAVID M FOWLER                                    334 INWOOD TRL                                                                                AURORA           OH    44202‐8204
DAVID M FRANK                                     6056 HOMESTEAD CV                                                                             SANFORD          NC    27332‐8521
DAVID M FRANKENFIELD                              1155 EAST G AVE                                                                               PARCHMENT        MI    49004‐1461
DAVID M FREW                                      1870 BOBBINRAY STREET                                                                         FLORISSANT       MO    63031
DAVID M FROLLO                                    17638 SWAN CREEK RD                                                                           HEMLOCK          MI    48626‐9793
DAVID M FYTELSON CUST DANA MARIE FYTELSON         5 OAK PLACE                                                                                   WALDWICK         NJ    07463‐1355
UGMA CT
DAVID M FYTELSON CUST JENNIFER R FYTELSON UGMA    5 OAK PLACE                                                                                   WALDWICK         NJ    07463‐1355
CT
DAVID M GABBARD                                   1361 DAFLER RD                                                                                W ALEXANDRIA     OH    45381‐8328
DAVID M GARRICK                                   2101 WEST HILLS AVE                                                                           TAMPA            FL    33606‐3120
DAVID M GIACOBOZZI                                8207 GARY                                                                                     WESTLAND         MI    48185‐1745
DAVID M GILLINGHAM & ESTHER J GILLINGHAM JT TEN   156 W RIVERVIEW AVE                                                                           PITTSBURGH       PA    15202‐3730

DAVID M GLENN                                     239 BERRYMAN DR                                                                               SNYDER           NY    14226‐4318
DAVID M GOBRON                                    6 FOXWOOD LN                                                                                  NORTHBOROUGH     MA    01532‐1247
DAVID M GOODART                                   3723 MAPLE DR                        #4                                                       YPSILANTI        MI    48197‐8623
DAVID M GORMLEY                                   17 QUEEN ST                                                                                   MERIDEN          CT    06451‐5413
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DAVID M GOULD                                  8106 EMERALD LANE WEST                                                                         WESTLAND           MI    48185‐7644
DAVID M GUCKIAN                                10321 CEDAR POINT DR                                                                           WHITE LAKE         MI    48386‐2976
DAVID M GUNDERSON                              2900 FOREST HILL DR                                                                            PORTAGE            WI    53901‐1283
DAVID M HAGAN                                  11575 MARSHALL                                                                                 BIRCH RUN          MI    48415‐8740
DAVID M HAGEN                                  1221 WOODLAND TRL                                                                              NORTHFIELD         MN    55057
DAVID M HALL                                   26 KIRK ST                                                                                     CANFIELD           OH    44406‐1627
DAVID M HALL & REIKO STRINGFELLOW JT TEN       3 BROOK RUN DR                                                                                 MT HOLLY           NJ    08060‐3201
DAVID M HARTIGAN                               529 EARLSTON RD                                                                                KENILWORTH         IL    60043‐1014
DAVID M HENNEY                                 16003 MAPLE ACRES COURT                                                                        HOUSTON            TX    77095‐3835
DAVID M HENRY                                  3495 SOUTH GENEVA RD                                                                           ST LOUIS           MI    48880‐9325
DAVID M HERRING                                1921 YUMA TRAIL                                                                                OKEMOS             MI    48864‐2744
DAVID M HERRON                                 PO BOX 188                                                                                     SALEM              AL    36874‐0188
DAVID M HOLT                                   6930 N GRANDE DR                                                                               BOCA RATON         FL    33433‐2735
DAVID M HOLT CUST ADAM F HOLT UTMA DC          6930 N GRANDE DR                                                                               BOCA RATON         FL    33433‐2735
DAVID M HOWARD                                 13435 PARK DRIVE                                                                               CERRITOS           CA    90703‐1427
DAVID M HOWE                                   334 N CHISHOLM AVE                                                                             MIAMI              AZ    85539‐1428
DAVID M HUMPHREYS                              3834 PITKIN AVE                                                                                FLINT              MI    48506‐4235
DAVID M HUNDLEY & ANN C HUNDLEY JT TEN         10 FALL CREEK RD                                                                               RIDGEWAY           VA    24148‐3190
DAVID M HUNDLEY & ANN C HUNDLEY JT TEN         10 FALL CREEK RD                                                                               RIDGEWAY           VA    24148‐3190
DAVID M HURLEY                                 280 GUINEVERE DR                                                                               ROCHESTER          NY    14626‐4310
DAVID M INKELES                                24 CRESTWOOD TRAIL                                                                             SPARTA             NJ    07871‐1633
DAVID M JACKOWSKI                              N407 OXBOW BND                                                                                 MILTON             WI    53563‐9504
DAVID M JARRETT                                1547 S UVALDA ST                                                                               AURORA             CO    80012‐5315
DAVID M JEGLA                                  3047 E SHAFFER RD RTE 11                                                                       MIDLAND            MI    48642‐8372
DAVID M JOHNSON & LINDA J JOHNSON JT TEN       #5 VICKSBURG                                                                                   IRVINE             CA    92620‐2560
DAVID M JONES                                  688 CARPENTERS POINTE RD                                                                       PERRYVILLE         MD    21903‐1200
DAVID M JUDD                                   PO BOX 131                                                                                     PENDELTON          IN    46064‐0131
DAVID M KARB                                   2288 STONY POINT                                                                               GRAND ISLAND       NY    14072‐1835
DAVID M KAZARIAN JR                            834 SHIBLEY                                                                                    PARK RIDGE         IL    60068‐2352
DAVID M KEEFE                                  2587 12TH ST                                                                                   CUYAHOGA FALLS     OH    44223‐2110
DAVID M KELLEY                                 61551 BREMEN HWY                                                                               MISHAWKA           IN    46544‐9506
DAVID M KILLION                                1501 S LYNHURST DR                                                                             INDIANAPOLIS       IN    46241‐3921
DAVID M KIMMERLING                             552 SOUTH 600 WEST                                                                             ANDERSON           IN    46011‐8743
DAVID M KIRCHHOFF                              702 SW 1601                                                                                    HOLDEN             MO    64040‐9260
DAVID M KITTREDGE                              5375 STICKNEY RD                                                                               CLARKSTON          MI    48348‐3039
DAVID M KLEMM                                  1601 BRIAR WOODS LN                                                                            DANBURY            CT    06810‐7358
DAVID M KLOPFER                                4004 LOCUS BEND DR                                                                             DAYTON             OH    45440‐4049
DAVID M KOHLER                                 344 E MELFORD AVE                                                                              DAYTON             OH    45405‐2313
DAVID M KOLESAR                                234 GREENFIELD ROAD                                                                            PENN FURNACE       PA    16865‐9434
DAVID M KOLINSKI                               11406 KLUTH DR                                                                                 MOKENA             IL    60448‐9466
DAVID M KOWALSKI CUST KIMBERLY KOWALSKI UGMA   DWIGHT DR                                                                                      MIDDLEFIELD        CT    06455
CT
DAVID M KOWALSKI CUST MARY ANNE KOWALSKI       DWIGHT DR                                                                                      MIDDLEFIELD        CT    06455
UGMA CT
DAVID M KROLL                                  37771 SARAFINA DRIVE                                                                           STERLING HEIGHTS   MI    48312‐2073

DAVID M KWAPIS                                 11330 FAIRGRIEVE RD                                                                            JOHANNESBURG       MI    49751‐9718
DAVID M LABEFF                                 1680 HEMMETER RD                                                                               SAGINAW            MI    48603‐4630
DAVID M LAIKIN                                 36 STONEYBROOK ROAD                                                                            TENAFLY            NJ    07670‐1118
DAVID M LALKO                                  5972 NOBLE STREET                                                                              KINGSTON           MI    48741‐9703
DAVID M LAVIOLETTE                             12340 REID RD                                                                                  DURAND             MI    48429‐9300
DAVID M LEE                                    7110 WILLOWOOD DR                                                                              CINCINNATI         OH    45241‐1063
DAVID M LEMMEN                                 1755 ISLAND PARK DR                                                                            GRAYLING           MI    49738‐7421
DAVID M LENGYEL                                635 ALVORD                                                                                     FLINT              MI    48507‐2519
DAVID M LENHART                                3307 RANBIR DR                                                                                 DURHAM             NC    27713
DAVID M LEONE                                  1130 COUNTRY DR                                                                                TROY               MI    48098‐2099
DAVID M LESKO                                  1387 W COOK RD                                                                                 GRAND BLANC        MI    48439‐9364
DAVID M LESTER                                 3475 SHAKERTOWN RD                                                                             DAYTON             OH    45430‐1421
DAVID M LEVANGIE                               25963 PENNIE                                                                                   DEARBORN HGTS      MI    48125‐1464
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DAVID M LEVINE                                  PO BOX 9090                                                                                    TRENTON         NJ    08650‐1090
DAVID M LEVY CUST DYLAN A LEVY UGMA NY          351 E 84TH STREET APT 15D                                                                      NEW YORK        NY    10028‐4456
DAVID M LEWIS                                   7405 PONDEROSA                                                                                 SWARTZ CREEK    MI    48473
DAVID M LLOYD                                   5475 S STATE ROAD 39                                                                           LEBANON         IN    46052‐9148
DAVID M LOGAN                                   32 S HOWIE                                                                                     HELENA          MT    59601‐6246
DAVID M LORBERBAUM                              214 PEERLESS AVE                                                                               BIRMINGHAM      AL    35209
DAVID M LYNCH & SUZANNE M LYNCH JT TEN          SAVINGS CENTER TOWER                  SUITE 1300                                               PEORIA          IL    61602
DAVID M MARKWELL                                1301 AMES AVENUE                                                                               DAYTON          OH    45432‐1504
DAVID M MARSH                                   299 WILLOWBY LN                                                                                PINCKNEY        MI    48169‐9160
DAVID M MARTINI & JANE L RICE JT TEN            199 SHORE RD                                                                                   N FERRISBURGH   VT    05473‐7077
DAVID M MASTERS                                 3500 CANYON RIDGE ARC                                                                          LAS CRUSES      NM    88011‐0945
DAVID M MAXWELL                                 3021 HELMS RD                                                                                  ANDERSON        IN    46016‐5816
DAVID M MAXWELL & KAREN J MAXWELL JT TEN        3021 HELMS RD                                                                                  ANDERSON        IN    46016‐5816
DAVID M MC CURDY                                4001 TURTLE CRK                                                                                OKLAHOMA CITY   OK    73160‐9703
DAVID M MC DERMOTT CUST T D MIKE PERRY A UGMA   53 FOXBORO RD                                                                                  ESSEX           CT    06426‐1070
CT
DAVID M MC KEE                                  5053 CARRIGAN                                                                                  NORTH STREET    MI    48049‐2008
DAVID M MC LEOD & JENETTE F MC LEOD JT TEN      1782 FREELAND RD                                                                               FREELAND        MI    48623‐9414
DAVID M MC NEIL                                 16552 BOOTHTOWN RD                                                                             BUHL            AL    35446‐9546
DAVID M MCCURDY & CHRISTINA R MCCURDY JT TEN    2400 TREMONT RD                                                                                COLUMBUS        OH    43221‐3726

DAVID M MCDOWELL                                2325 BIRCHVIEW DR                                                                              FLORISSANT      MO    63033‐6626
DAVID M MCQUEEN & MARGARET MCQUEEN JT TEN       6 CHESTER STREET                      ARROWHEAD POINT                                          BROOKFIELD      CT    06804‐1530

DAVID M MIGLIA                                  9935 GIBBS ROAD                                                                                CLARKSTON       MI    48348‐1511
DAVID M MILLER                                  1005 MCKEIGHAN AVE                                                                             FLINT           MI    48507‐2884
DAVID M MILLER                                  6134 EMERALD LAKE DR                                                                           TROY            MI    48085‐1332
DAVID M MILLER                                  1052 BALDWIN RD                                                                                LAPEER          MI    48446‐3008
DAVID M MILLER                                  2400 S OCEAN DR B T 3926                                                                       FORT PIERCE     FL    34949‐8018
DAVID M MIZIKAR & KATHLEEN R MIZIKAR JT TEN     144 COUNTY PARK ROAD                                                                           MT PLEASANT     PA    15666
DAVID M MOBLEY                                  2547 LISA DR                                                                                   COLUMBIAVILLE   MI    48421‐8910
DAVID M MOIR                                    21206 PARKWAY                                                                                  ST CLAIR SHRS   MI    48082‐1215
DAVID M MOORE                                   5020 GRANDE VIEW LN                                                                            JACKSON         MI    49201‐9866
DAVID M MUEHSAM                                 373 WOODCREST RD                                                                               WEST GROVE      PA    19390
DAVID M MUELLER                                 2609 BLUEWATER TRL                                                                             FORT WAYNE      IN    46804‐8400
DAVID M MUNAFO                                  991 N MANISTEE RIVER RD                                                                        GRAYLING        MI    49738‐6208
DAVID M MUNN                                    3409 DEVON RD #1                                                                               ROYAL OAK       MI    48073‐2337
DAVID M MUNSCHY                                 708 JONES ST                                                                                   GRAND LEDGE     MI    48837‐1331
DAVID M MURAWSKI                                329 SE 3RD TER                                                                                 DANIA BEACH     FL    33004‐4705
DAVID M MUZ                                     1136 RYAN RD                                                                                   CARO            MI    48723‐9579
DAVID M MYERS                                   100 BURGESS DR                        APT 283                                                  ZELIENOPLE      PA    16063‐1610
DAVID M MYKIETIUK                               16043 SILVERWOOD DR                                                                            FENTON          MI    48430‐9113
DAVID M MYRE                                    3719 DAVID K                                                                                   WATERFORD       MI    48329‐1320
DAVID M NAYLOR                                  2099 CO HWY 11                                                                                 MT VISION       NY    13810‐2142
DAVID M NEAVERTH                                PO BOX 523                                                                                     SUGAR LOAF      NY    10981‐0523
DAVID M NORTHCUTT                               40 CLIFFWOOD RD                                                                                CHESTER         NJ    07930‐3100
DAVID M ODONNELL                                BOX 247                                                                                        KINGSTON        ID    83839‐0247
DAVID M ORDING                                  10007 LOVELAND CT                                                                              SHREVEPORT      LA    71106‐8538
DAVID M ORR                                     19960 NOMELAND                                                                                 ROSEVILLE       MI    48066
DAVID M OWENS                                   106 LAUREL LANE                                                                                MOUNT CARMEL    PA    17851
DAVID M PAC                                     1640 BARNSDALE ROAD #101                                                                       LA GRANGE PK    IL    60526
DAVID M PANOSIAN                                216 DRIVE B                                                                                    ELMIRA          NY    14905‐1738
DAVID M PARKER                                  25110 E STRODE RD                                                                              BLUE SPRINGS    MO    64015‐9639
DAVID M PARUTI & JEAN T PARUTI JT TEN           35 CONGRESSIONAL DR                                                                            YARMOUTH PORT   MA    02675‐1604
DAVID M PAYNE                                   5704 BALLINARD LANE                                                                            CHARLOTTE       NC    28277‐2546
DAVID M PELLERIN                                2086 ANOKA ST                                                                                  FLINT           MI    48532‐4511
DAVID M PERRY                                   27 VASSAR DRIVE                                                                                DAYTON          OH    45406‐4929
DAVID M PERSHING JR                             578 SHUEY AVE                                                                                  GREENSBURG      PA    15601‐1546
DAVID M PFOST                                   13079 RD 12                                                                                    SCOTT           OH    45886‐9612
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DAVID M PINSON                                   954 ERICHLER                                                                                   MOUNTAINVIEW    CA       94040‐2939
DAVID M POLIKS & FELICIA K POLIKS JT TEN         130 TEMPLE ST                                                                                  GARDNER         MA       01440‐2355
DAVID M PRIEBE                                   9964 PEBBLE CREEK COURT                                                                        DAVISBURG       MI       48350‐2052
DAVID M PRIESTLY JR                              24143 PALOMINO DRIVE                                                                           DIAMOND BAR     CA       91765‐1724
DAVID M PUGH                                     2106 SPRINGDALE DRIVE                                                                          CAMDEN          SC       29020‐1722
DAVID M PUGH & MARY L PUGH JT TEN                2106 SPRINGDALE DRIVE                                                                          CAMDEN          SC       29020‐1722
DAVID M PUTMAN & BERNICE M PUTMAN JT TEN         4464 BURNLEY DR                                                                                BLOOMFIELD      MI       48304‐3200
DAVID M QUALLS & RITA A QUALLS JT TEN            22936 CLINTON ST                                                                               TAYLOR          MI       48180‐4161
DAVID M RADIN                                    62‐3648 MOANI PIKAKE WAY                                                                       KAMUELA         HI       96743‐8747
DAVID M RAINS                                    RR5 BOX 98                                                                                     IDABEL          OK       74745‐9103
DAVID M RASCHE                                   2529 PEMMICAN RUN                                                                              GAINESVILLE     GA       30504‐3908
DAVID M REILLY III                               57 UNION ST                                                                                    GUILFORD        CT       06437‐2708
DAVID M REUBEN                                   401 W END AVE                                                                                  NEW YORK        NY       10024‐5724
DAVID M RICE                                     39 DUNES ROAD                                                                                  NARRAGANSET     RI       02882‐1905
DAVID M RICHARDS                                 9221 SILVER PINE COVE                                                                          AUSTIN          TX       78733‐6122
DAVID M RICHOUX                                  118 CHURCHILL AVENUE                                                                           PALO ALTO       CA       94301
DAVID M RILEY                                    299 PRINCETON ST                                                                               CANTON TOWNSHIP MI       48188‐1030

DAVID M ROBBINS                                  1391 MINTOLA ST                                                                                FLINT              MI    48532‐4044
DAVID M ROBINSON JR                              4511 PLACID PLACE                                                                              AUSTIN             TX    78731‐5512
DAVID M RONGO                                    2944 KNOWLESVILLE RD                                                                           ALBION             NY    14411
DAVID M ROSE                                     14167 N SEYMOUR RD                                                                             MONT ROSE          MI    48457‐9774
DAVID M ROSE & DENISE R ROSE JT TEN              31 VISTA DR                                                                                    FLANDERS           NJ    07836‐4026
DAVID M ROSE & ELIZABETH N ROSE JT TEN           14167 N SEYMOUR RD                                                                             MONTROSE           MI    48457‐9774
DAVID M ROSENBERG                                123 NORTH ST                                                                                   NORFOLK            MA    02056‐1537
DAVID M ROTH                                     392 BALLINDINE DR                                                                              VACAVILLE          CA    95688‐9236
DAVID M ROTHERT                                  3730 SANDHILL RD                                                                               LANSING            MI    48911‐6151
DAVID M RUDOLF                                   2135 WINWOOD DR                                                                                APPLETON           WI    54915‐1004
DAVID M RURAK CUST CARMEN MARIE RURAK UTMA       7 HILLSTREAM ROAD                                                                              NEWMARK            DE    19711‐2469
WV
DAVID M RUSSELL                                  9760 BUCKHORN LK RD                                                                            HOLLY              MI    48442‐8687
DAVID M RUTKOWSKI                                42673 JASON CT                                                                                 STERLING HEIGHTS   MI    48313‐2632

DAVID M RUTKOWSKI & LYNNE P RUTKOWSKI JT TEN     42673 JASON CT                                                                                 STERLING HEIGHTS   MI    48313‐2632

DAVID M RYAN                                     ROUTE 2                                                                                        CARSON CITY        MI    48811‐9802
DAVID M SADRO                                    6348 BLUE JAY DR                                                                               FLINT              MI    48506‐1761
DAVID M SAJNA                                    1826 BASSETT RD                                                                                WESTLAKE           OH    44145‐1909
DAVID M SANDERSON                                95 GREENWAY BLVD                                                                               CHURCHVILLE        NY    14428‐9207
DAVID M SASS & RUTH A SASS JT TEN                642 POINTE BENTON LANE                                                                         COVINGTON          KY    41014‐1100
DAVID M SAULTERS JR EX EST DAVID M SAULTERS      48 RUSSEL ST                                                                                   QUINCY             MA    02171‐1621
DAVID M SAULTERS JR EX EST DAVID M SAULTERS SR   48 RUSSELL ST                                                                                  NORTH QUINCY       MA    02171‐1621

DAVID M SCHROEDER                                324 W WILLOW ST                                                                                CARLISLE           PA    17013‐3748
DAVID M SCHROEDER 3RD & THORA M SCHROEDER JT     324 W WILLOW ST                                                                                CARLISLE           PA    17013‐3748
TEN
DAVID M SCHROEDER III                            324 W WILLOW STREET                                                                            CARLISLE           PA    17013‐3748
DAVID M SCHRYVER                                 957 BUCK RUN ROAD                                                                              WILLMINGTON        OH    45177‐6510
DAVID M SCHWALM                                  12257 VAUGHAN                                                                                  DETROIT            MI    48228‐1008
DAVID M SGRICCIA & NINA M SGRICCIA JT TEN        5216 SHERRY LN                                                                                 HOWELL             MI    48855‐9721
DAVID M SHEPPARD & RUTH M SHEPPARD JT TEN        826 CHARLENE                                                                                   KALKASKA           MI    49646‐9709
DAVID M SIEGEL & SILVIA D SIEGEL JT TEN          50‐43 MORENCI LANE                                                                             LITTLE NECK        NY    11362‐1331
DAVID M SIGLER                                   538 SECRET CV                                                                                  BOSSIER CITY       LA    71111‐8400
DAVID M SIMPSON                                  4307 E PRINCETON AVE                                                                           HIGLEY             AZ    85236‐3627
DAVID M SLUKA                                    15886 TOURAINE COURT                                                                           MOUNT CLEMENS      MI    48038‐3636
DAVID M SMITH                                    BOX 812                                                                                        HOUSTON            TX    77001‐0812
DAVID M SMITH                                    699 FRANCIS ST                                                                                 EAST CHINA         MI    48054‐4124
DAVID M SMITH                                    8040 TOWNER RD                                                                                 PORTLAND           MI    48875‐9471
DAVID M SNIDER                                   11 SAINT JAMES COURT                                                                           DURHAM             NC    27713‐9408
                                            09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit E
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DAVID M SOLECKI                                  12 BOND ST                                                                                              ISELIN           NJ    08830
DAVID M STONE                                    19960 WOODINGHAM                                                                                        DETROIT          MI    48221‐1253
DAVID M STONE & PHYLLIS E STONE JT TEN           19960 WOODINGHAM                                                                                        DETROIT          MI    48221‐1253
DAVID M TAYLOR                                   3546 S JEFFS RD                                                                                         MERRITT          MI    49667‐9706
DAVID M TEED                                     6067 MERTON DR                                                                                          FLINT            MI    48506‐1023
DAVID M TERWELL & JUDY TERWELL JT TEN            PO BOX 1224                                                                                             GRAND LAKE       CO    80447‐1224
DAVID M THAMM                                    6450 BIRCH RUN RD                                                                                       BIRCH RUN        MI    48415‐8510
DAVID M TIBBETTS                                 10442 WEST MT MORRIS ROAD                                                                               FLUSHING         MI    48433‐9244
DAVID M TITUS & DIANE C TITUS JT TEN             430 CHEYENNE DR                                                                                         SIMPSONVILLE     SC    29680‐2728
DAVID M TRAINOR & MARGARETE S TRAINOR JT TEN     STAR ROUTE                                                                                              SANTA FE         MO    65282

DAVID M TYRPAK CUST JONATHAN D TYRPAK UGMA MI 500 STONEYWOOD DR                                                                                          BRIGHTON         MI    48116‐1106

DAVID M TYRPAK CUST LINDSEY N TYRPAK UGMA MI     500 STONEYWOOD DR                                                                                       BRIGHTON         MI    48116‐1106

DAVID M VAN NAME JR                          24211 WEMBLEY CT                                                                                            VALENCIA         CA    91355‐3501
DAVID M VOTYPKA                              PO BOX 356                                                                                                  WAYLAND          NY    14572‐0356
DAVID M WADDELL                              15022 EAST ACADIA WOODS RD                                                                                  NORTHPORT        MI    49670‐9374
DAVID M WALTER CUST MATTHEW C WALTER UTMA WV 31 ENGLEWOOD AVE                                                                                            WHEELING         WV    26003‐5001

DAVID M WALTER CUST MICHAEL L WALTER UTMA WV     31 ENGLEWOOD AVE                                                                                        WHEELING         WV    26003‐5001

DAVID M WARK                                     1588 NORTHROP                                                                                           ST PAUL          MN    55108‐1322
DAVID M WATT                                     7084 NORTH STATE ROAD 9                                                                                 ALEXANDRIA       IN    46001‐9232
DAVID M WEBB                                     29631 BALMORAL                                                                                          GARDEN CITY      MI    48135‐3437
DAVID M WEBER                                    10112 ANDOVER COACH CIRCLE B2                                                                           WELLINGTON       FL    33449
DAVID M WEBER                                    11153 WILD TURKEY RUN                                                                                   SOUTH LYON       MI    48178‐9552
DAVID M WEHLING                                  12318 17TH AVE S                                                                                        BURNSVILLE       MN    55337‐2903
DAVID M WEIGLE                                   120 E LAUER LN                                                                                          CMP HILL         PA    17011‐1312
DAVID M WHITMIRE                                 1185 WHITMIRE RD                                                                                        BREVARD          NC    28712‐1128
DAVID M WILEY                                    PO BOX 408                                                                                              ONSTED           MI    49265‐0408
DAVID M WILLIAMS                                 34 W QUEENS WAY                                                                                         HAMPTON          VA    23669‐4012
DAVID M WILLIAMS                                 2019 COTTRILL LN                                                                                        WESTLAND         MI    48186‐4231
DAVID M WOLFE                                    410 W STATE ROAD 205                                                                                    COLUMBIA CITY    IN    46725‐8026
DAVID M WOLFE                                    6430 E 100 N                                                                                            KOKOMO           IN    46901‐9553
DAVID M WORTH                                    35 INVERNESS WAY                                                                                        NEWNAN           GA    30265‐1288
DAVID M WUESTEFELD                               9183 STATE ROAD #46                                                                                     BROOKVILLE       IN    47012‐9441
DAVID M YOUNG                                    3406 MONTE VISTA                                                                                        AUSTIN           TX    78731‐5723
DAVID M YOUNG                                    48324 JEFFERSON AVE                                                                                     CHESTERFIELD     MI    48047‐2218
DAVID M YOUNG                                    700 CREAMER RD                                                                                          NORFOLK          VA    23503
DAVID M YUNKER                                   551 RIGA‐MUMFORD RD                                                                                     CHURCHVILLE      NY    14428‐9350
DAVID M ZAMBINO                                  849 SPRUCE AVE                                                                                          SHARON           PA    16146‐4017
DAVID M ZATH & LINDA A ZATH TR U‐W‐O RICHARD W PO BOX 44877                                                                                              RIO RANCHO       NM    87174‐4877
ZATH
DAVID M ZDUNSKI                                  50402 BAYTOWN                                                                                           NEW BALTIMORE    MI    48047‐3652
DAVID M ZIEGLER JR & MICHELLE D LALAMA & ROBERTA 508 FOREST AVE                                                                                          POLAND           OH    44514‐3307
M ELKO TEN COM
DAVID M ZINI                                     9140 W TEXTILE RD                                                                                       ANN ARBOR        MI    48103‐9330
DAVID MACNEILL                                   BOX 192                                                                                                 GAINESVILLE      MO    65655‐0192
DAVID MAIDMAN & NANCY MAIDMAN JT TEN             845 UNITED NATIONS PLZ APT 22A                                                                          NEW YORK         NY    10017‐3531
DAVID MALACHI                                    1423 ADAMS                                                                                              CINCINNATI       OH    45215‐1907
DAVID MALAN & JULIE MALAN JT TEN                 109 W D ST                                                                                              BRAWLEY          CA    92227‐1821
DAVID MALES                                      78 SYCAMORE AVENUE                                                                                      HO HO KUS        NJ    07423‐1543
DAVID MALONEY                                    C/O RICHARD P WOODHOUSE              MARINE MIDLAND BANK BUILDING   150 LAKE STREET                     ELMIRA           NY    14901‐3401
DAVID MAN‐CHUNG YEUNG                            APT 18A                              138‐35 ELDER AVE                                                   FLUSHING         NY    11355‐4091
DAVID MANN                                       7702 SAXON DR                                                                                           HUNTSVILLE       AL    35802‐2835
DAVID MANVILLE                                   11551 SW 52 ST                                                                                          COOPER CITY      FL    33330‐4237
DAVID MARESH WATTS                               326 CAPE MAY                                                                                            CORPUS CHRISTI   TX    78412‐2638
DAVID MARK ENGEL                                 318 FIRST ST                                                                                            MILFORD          MI    48381‐1939
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DAVID MARK SCHOENKNECHT                      289 GARDEN DR                                                                                            ELGIN            IL    60124‐0213
DAVID MARK SKARVI                            12161 W GRAND BLANC RD                                                                                   DURRAND          MI    48429‐9308
DAVID MARSH CUST JARRED MARSH UGMA NY        3 PATRICIA LANE                                                                                          WOODMERE         NY    11598‐1444
DAVID MARSH LAMBERT III                      600 OAKLAWN AVE                                                                                          WINSTON‐SALEM    NC    27104‐2336
DAVID MARSHALL MCGEE CUST ALEXANDRA ROSE     806 QUAKER CREEK DR                                                                                      MEBANE           NC    27302‐6710
MCGEE UTMA NC
DAVID MARSHALL WALDRON                       8100 MARTIN CREEK RD                                                                                     ROANOKE          VA    24018‐5856
DAVID MARTIN                                 494 GRANDVIEW RD                            FORT ERIE ON                               L2A 4T8 CANADA
DAVID MARTIN BASS                            40 FAWN RUN                                                                                              GLASTONBURY      CT    06033‐4167
DAVID MARTIN GARCIA                          PO BOX 121                                                                                               MINOT            ND    58702‐0121
DAVID MARTINEZ                               4320 HUGGINO STREET                                                                                      SAN DIEGO        CA    92122‐2604
DAVID MARUCA CUST LUKE ALEXANDER MARUCA UTMA 1 HELEN DR                                                                                               NORTH HAVEN      CT    06473‐1250
CT
DAVID MATIELLA                               5810 SANTA MARIA AVE #205                   SPC 83‐102                                                   LAREDO           TX    78041
DAVID MAXFIELD PERKINS                       23127 NE 127TH WAY                                                                                       REDMOND          WA    98053‐5659
DAVID MAYER 3RD                              52 OLD LANSDOWNE RD                         WEST DIDSBURY         MZ0 8WU MANCHESTER   GREAT BRITAIN
DAVID MAZUR                                  20 INNIS BROOK LN                                                                                        BRENTWOOD        TN    37027‐8940
DAVID MAZUR                                  20 INNIS BROOK LN                                                                                        BRENTWOOD        TN    37027‐8940
DAVID MAZUREK & CHERYL MAZUREK TEN ENT       2751 9 1/2 ST                                                                                            BARRONETT        WI    54813‐9446
DAVID MC COMB NICHOLS                        3540 FARMBROOK ROAD                                                                                      FAYETTEVILLE     NC    28303‐4648
DAVID MC LANAHAN                             BOX 17                                                                                                   MARLOW           NH    03456‐0017
DAVID MCCLATCHIE CUST AMANDA BRUNNER UGMA CT 4 BOLTON LANE                                                                                            WESTPORT         CT    06880‐2324

DAVID MCDONALD                                    810 MACK LN                                                                                         DEFOREST         WI    53532‐0905
DAVID MCDONALD & JUSTINE S MCDONALD TR            2680 N MAPLE ST                                                                                     CANBY            OR    97013‐2108
MCDONALD FAM TRUST UA 04/13/90
DAVID MCDOUGALL                                   4290 W DARR HOPFINGER RD                                                                            PORT CLINTON     OH    43452‐9532
DAVID MCDOWELL                                    PO BOX 428                                                                                          MT VERNON        NY    10551‐0428
DAVID MCGINNIS                                    5 PORT ROYAL 2                                                                                      VERNON           NJ    07462
DAVID MCGRIFF                                     850 TREBISKY RD                                                                                     CLEVLAND         OH    44143‐2724
DAVID MCHENRY                                     979 S BALLENGER HWY                                                                                 FLINT            MI    48532‐3822
DAVID MCLEAN                                      2 PASCHAL ST                           BENTLEIGH             VICTORIA AUSTRALI    AUSTRIA
DAVID MCMUNN                                      PO BOX 2040                                                                                         CLARKSBURG       WV    26302‐2040
DAVID MEDINA JR                                   32 PURSE LN                                                                                         HOPEWELL JCT     NY    12533
DAVID MEDNIK                                      1016 SHEFFIELD FOREST DR                                                                            BALLWIN          MO    63021‐2059
DAVID MEIERFELD & STANLEY R MEIERFELD JT TEN      2 BARRY CRT                                                                                         KATONAH          NY    10536

DAVID MEISNER & ROSALIND MEISNER JT TEN           49 YATES RD                                                                                         HUDSON           NY    12534‐4251
DAVID MELTZER                                     1464 INDIAN TRAIL N                                                                                 PALM HARBOR      FL    34683‐2810
DAVID MENDOZA                                     PO BOX 115                                                                                          ALICE            TX    78333‐0115
DAVID MEYROSE                                     1112 BANANA RIVER DR                   INDIAN HARBOR BEACH                                          SATELLITE BCH    FL    32937‐4103
DAVID MEZA                                        13311 W 113TH ST                                                                                    OVERLAND PARK    KS    66210‐3315
DAVID MICHAEL BALL                                PO BOX 766                                                                                          DAUPHIN ISLAND   AL    36528‐0766
DAVID MICHAEL BLAU                                281 BROMLEY PL                                                                                      EAST BRUNSWICK   NJ    08816‐5105
DAVID MICHAEL CLEAVER                             6119 QUAIL CREEK BLVD                                                                               INDIANAPOLIS     IN    46237‐2920
DAVID MICHAEL ENGLISH                             68 W HIGH ST                                                                                        GETTYSBURG       PA    17325‐2118
DAVID MICHAEL FLECK JR                            1 ALPINE PLACE                                                                                      FLEMINGTON       NJ    08822‐5941
DAVID MICHAEL INGRAM SR                           100 MARGARET LN                                                                                     TROY             AL    36079
DAVID MICHAEL JACKSON                             500 N CLINTON TR                                                                                    CHARLOTTE        MI    48813‐8768
DAVID MICHAEL JONES U/GDNSHP OF DONNA LEE         570 FALCON AVE                                                                                      MIAMI SPRINGS    FL    33166‐3910
JONES
DAVID MICHAEL KAUTZ ALBERT KAUTZ & JUDITH KAUTZ   6081 SO DETROIT                                                                                     LITTLETON        CO    80121‐2809
JT TEN
DAVID MICHAEL KOHLER                              4959 SHEILDS RD                        CANSFIELD                                                    CANFIELD         OH    44406
DAVID MICHAEL MANDELL                             726 MEADOWCREEK CIR                                                                                 LOWER GWYNEDD    PA    19002‐2074

DAVID MICHAEL MORGAN                              1354 HAWTHORNE                                                                                      GROSSE POINTE    MI    48236‐1444
                                                                                                                                                      WOOD
DAVID MICHAEL PARKER                              PO BOX 1939                                                                                         THOMSON          GA    30824‐5939
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DAVID MICHAEL RAY                                4400 GUINN RD                                                                                 KNOXVILLE        TN    37931‐2015
DAVID MICHAEL SAVARD                             33 ETON ROAD                                                                                  CHARLESTON       SC    29407‐3308
DAVID MICHAEL SENDEK                             3370 TALL PINE AVE                                                                            GRAYLINE         MI    49738‐7045
DAVID MICHAEL SLABY                              7652 WINDING WAY                                                                              BRECKSVILLE      OH    44141‐1928
DAVID MILLARD COLLINS & DEBORAH LYNN HUDSON JT   RR2 BOX 2239                                                                                  LINN CREEK       MO    65052‐9754
TEN
DAVID MILLER                                     18295 STOEPEL                                                                                 DETROIT          MI    48221‐2266
DAVID MILLER                                     230 TALERICO RD                                                                               GHENT            NY    12075‐2823
DAVID MILLER                                     3275 HARNESS CIRCLE                                                                           LAKE WORTH       FL    33467‐8025
DAVID MILLER                                     9918 SARATOGA COURT                                                                           FORT WAYNE       IN    46804
DAVID MILLER CUST JESSICA ANN MILLER UGMA IL     6533 RFD                                                                                      LONG GROVE       IL    60047‐2022

DAVID MILLS CUST JENNIFER MILLS UGMA MA        137 HORNE RD                                                                                    BELMONT          NH    03220‐5279
DAVID MILO PIERCE & MRS F CAROLINE PIERCE TEN  103 FAWNLAKE                                                                                    HOUSTON          TX    77079‐7309
COM
DAVID MINDERHOUT                               63 GOYS LANE                                                                                    BLOOMBURG        PA    17815‐9565
DAVID MINTER                                   3511 LESLIE AVE                                                                                 TEMLE HILLS      MD    20748‐4633
DAVID MISKUS & SARA Z MISKUS JT TEN            154 GIRTH LANE                                                                                  SHENDOAH JCT     WV    25442
DAVID MITCHELL                                 421 SAINT CLAIR AVE                    APT 5                                                    ROGERS CITY      MI    49779‐1925
DAVID MITCHEM                                  115 COE AVENUE                                                                                  HILLSIDE         NJ    07205‐2830
DAVID MIZRACHI                                 1234 HAMILTON ST                       UNIT 203                                                 PHILADELPHIA     PA    19123‐3638
DAVID MLOTEK                                   8629 AVERS AVE                                                                                  SKOKIE           IL    60076‐2201
DAVID MOFFITT CUST ANDREW MOFFITT UTMA FL      5463 BLUE HERON LN                                                                              WESLEY CHAPEL    FL    33543‐4441
DAVID MONAGHAN                                 574 LOCKPORT                                                                                    ROCHESTER        MI    48307‐3763
DAVID MONTES                                   324 W 83RD ST 1‐W                                                                               NY               NY    10024‐4825
DAVID MONTROSS KENT & JOANNE PINGELTON KENT JT 86 DUNHAM RD                                                                                    BETHEL           VT    05032‐9572
TEN
DAVID MORALES                                  612 E COMSTOCK ST                                                                               OWOSSA           MI    48867‐3202
DAVID MORGAN CUST JACK MORGAN UTMA CT          16 CHESTNUT ST                                                                                  TERRYVILLE       CT    06786‐5508
DAVID MORRILL & PATRICIA MORRILL JT TEN        7618 RANDY ST                                                                                   WESTLAND         MI    48185‐5569
DAVID MORRIS                                   350 RASLYN STREET                                                                               BUFFALO          NY    14215‐3521
DAVID MORRIS LEVITT                            732 COVE RD                                                                                     MAMARONECK       NY    10543‐4324
DAVID MOSSOR CUST STEVEN CARVER MOSSOR UTMA 79 HONEYSUCKLE DR                                                                                  MECHANICSBURG    PA    17050
PA
DAVID MOTTA                                    2612 E SANIBEL COVE                                                                             SALT LAKE CITY   UT    84121‐3474
DAVID MOUER CUST DANIELLE MELCHORA STITT UTMA PSC 827 BOX 1000                                                                                 APO              AE    09617‐1000
IL
DAVID MOYNIHAN                                 75 HILLSIDE AVE                                                                                 SUFFERN          NY    10901‐6827
DAVID MURRAY MURPHY                            1306 BRIARWOOD DR                                                                               EL DORADO        AR    71730‐3695
DAVID N BABBAGE                                9648 REECK                                                                                      ALLEN PARK       MI    48101‐1355
DAVID N BEEBE                                  433 VANLAWN ST                                                                                  WESTLAND         MI    48186‐4517
DAVID N BRILLHART                              2704 MARKET ST                                                                                  WILMINGTON       NC    28403‐1218
DAVID N BURNS                                  6900 BUNCOMBE RD LOT 42                                                                         SHREVEPORT       LA    71129‐9494
DAVID N COYLE                                  735 N 5TH STREET                                                                                LAWRENCE         KS    66044‐5306
DAVID N CRANDALL                               336 EAST 650 SOUTH                                                                              ANDERSON         IN    46013‐9539
DAVID N DEERING                                921 DEERWANDER                                                                                  HOLLIS CENTER    ME    04042‐3611
DAVID N DIPZINSKI                              1403 W COOK RD                                                                                  GRAND BLANC      MI    48439‐9364
DAVID N DLUGOSS                                11048 EDGERTON AVE NE                                                                           ROCKFORD         MI    49341‐8041
DAVID N DUNCAN                                 26687 BLACKMAR                                                                                  WARREN           MI    48091‐1267
DAVID N EDGAR                                  24111 JONATHAN ST                                                                               HILLMAN          MI    49746‐8306
DAVID N ERICKSON                               5109 SPRING CT                                                                                  MADISON          WI    53705‐1323
DAVID N FARRINGTON                             16371 OAKVILLE DR                                                                               FENTON           MI    48430
DAVID N FISHER & HOWARD S FISHER JR TR UW M    60 WILDWOOD DR                                                                                  CAPE ELIZABETH   ME    04107‐1167
GERTRUDE MOORE
DAVID N GERUGHTY                               5830 CALIFORNIA ST                                                                              SAN FRANCISCO    CA    94121‐2213
DAVID N GINSBURG                               3536 MOONEY AVE                                                                                 CINCINNATI       OH    45208‐1308
DAVID N HANSON                                 5222 EASTLAND DR                                                                                NEW CARLISLE     OH    45344‐8612
DAVID N HANSON                                 1806 4TH AVE E                                                                                  WILLISTON        ND    58801‐3521
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DAVID N HERBERT TR DAVID N HERBERT FAMILY TRUST    13523 GARFIELD ROAD                                                                                  SALEM              OH    44460‐9103
UA 6/18/01
DAVID N HESS & LAURA C HESS TR HESS FAM LIVING     17 E IRELAND DR                                                                                      N MANCHESTER       IN    46962‐8606
TRUST UA 03/28/95
DAVID N HOROWITZ                                   1532 WEST MELROSE STREET                                                                             CHICAGO            IL    60657‐2118
DAVID N HUTULA & MARY L HUTULA TEN ENT             109 RIDGEVIEW DRIVE                                                                                  VENETIA            PA    15367‐1224
DAVID N KARNES                                     8245 ELLIS RD                                                                                        CLARKSTON          MI    48348‐2609
DAVID N KELLER                                     11518 SHORT                                                                                          WARREN             MI    48093‐1122
DAVID N KRICHEFF CUST SARAH S KRICHEFF UGMA NY     23 COUNTRY SQUIRE RD                                                                                 OLD TAPPAN         NJ    07675‐6801

DAVID N KURTZ                                      288 JEFFERSON AVE                                                                                    YORK               PA    17404‐3041
DAVID N LEAVERTON                                  6951 CARPER ROAD                                                                                     HILLSBORO          OH    45133
DAVID N LEGGE                                      3218 N CENTENNIAL ST                                                                                 INDIANAPOLIS       IN    46222‐1919
DAVID N LIVINGSTON                                 1613 S FARRAGUT ST                                                                                   RIDGECREST         CA    93555‐7500
DAVID N LOVE & SANDRA J LOVE JT TEN                510 GRANT ST                                                                                         ENDICOTT           NY    13760‐2626
DAVID N MALONE                                     9120 NICHOLS                                                                                         MONTROSE           MI    48457‐9111
DAVID N MARKS                                      4420 CLARK CIR                                                                                       BOISE              ID    83705‐2001
DAVID N MC DONALD                                  12 CAUDIE DR                                                                                         POUGHKEEPSIE       NY    12603‐4329
DAVID N MEYERS                                     303 REGENT ST                                                                                        LANSING            MI    48912‐2728
DAVID N MILLER                                     8730 RACHAEL DR                                                                                      DAVISBURG          MI    48350‐1723
DAVID N MOODY & LOUISE M MOODY JT TEN                                                                                                                   GLEN               NH    03838
DAVID N PERKEY                                     2336 SWEETBRIER CT                                                                                   DUNELIN            FL    34698‐2126
DAVID N RAGO                                       1419 E PARK PL                                                                                       ANN ARBOR          MI    48104‐4312
DAVID N REHM                                       109 SEBRING CIR                                                                                      LEHIGH ACRES       FL    33936‐5329
DAVID N REILLY                                     C/O VAUXHALL MOTORS LTD               GRIFFIN HOUSE OSBORNE RD   LUTON       LU1 3YT GREAT BRITAIN
DAVID N REILLY                                     C/O VAUXHALL MOTORS LTD               GRIFFIN HOUSE OSBORNE RD   LUTON       L1U 3YT GREAT BRITAIN
DAVID N REILLY VAUXHALL MOTORS LIMITED             GRIFFIN HOUSE OSBORNE RD              LUTON                                  LU1 3YT GREAT BRITAIN
DAVID N ROWE                                       223 FOBES AVE                                                                                        SYRACUSE           NY    13206‐2117
DAVID N SCARR & GERTRUDE E SCARR TR UA 12/10/91    172 WYNGATE DR                                                                                       BARBOURSVILLE      WV    25504‐1940
DAVID N SCARR TRUST
DAVID N SLOWBE & SUSAN SLOWBE JT TEN               17842 BLAZING STAR                                                                                   STRONGSVILLE       OH    44136‐7633
DAVID N SMITH                                      6240 BARNES SETTLEMENT RD                                                                            NORTHPORT          AL    35473‐7335
DAVID N SPENCER                                    299 PAIRS DR                                                                                         EMPORIA            VA    23847‐4269
DAVID N STEELE                                     4333 CREAM RIDGE RD                                                                                  MACEDON            NY    14502‐9321
DAVID N THOMPSON & EDITH J THOMPSON JT TEN         599 LINCOLN                                                                                          WHITE CLOUD        MI    49349‐9426

DAVID N WOLFERT                                    1648 WOODVIEW                                                                                        JENISON            MI    49428‐8119
DAVID NARS & DIANE NARS JT TEN                     4800 SHADY LANE                                                                                      MORRIS             IL    60450‐9684
DAVID NARS & DIANE NARS JT TEN                     4800 SHADY LN                                                                                        MORRIS             IL    60450‐9684
DAVID NAVA                                         357 PRINCETON ST                                                                                     SANTA PAULA        CA    93060‐3439
DAVID NEIL LANEY                                   2141 KINNEY NW                                                                                       WALKER             MI    49544‐1159
DAVID NEIL MCGREEVY                                206 COTTON HILL RD                                                                                   GILFORD            NH    03249‐6983
DAVID NELSON WHITE                                 201 S HEIGHTS BLVD                    APT 1817                                                       HOUSTON            TX    77007‐5860
DAVID NEWELL VANDER ROEST                          42237 SARATOGA CIR                                                                                   CANTON             MI    48187‐3571
DAVID NILES                                        17591 ADOBE ST                                                                                       HESPERIA           CA    92345‐6908
DAVID NORDLOH & BARBARA J NORDLOH JT TEN           1600 MORGANTON RD L‐3                                                                                PINEHURST          NC    28374
DAVID NORDQUEST                                    6386 SENECA TRL                                                                                      MENTOR             OH    44060‐3470
DAVID NORMAN SANDERS                               2734 GARRISON AVE                                                                                    EVANSTON           IL    60201‐1706
DAVID NORTHERN                                     8916 SHERIDAN RD                                                                                     MILLINGTON         MI    48746‐9653
DAVID NOWICKI                                      26545 BRYAN                                                                                          DEARBORN HTS       MI    48127‐1960
DAVID O ANDERSON                                   5056 HUNTINGTON CIR                                                                                  WEST CHESTER       OH    45069‐8850
DAVID O BEYER & ERNESTINE A BEYER TR BEYER TRUST   3029 SARALAKE DR N                                                                                   SARASOTA           FL    34239
UA 09/20/94
DAVID O BRYAN                                      11151 SHADOW CREEK CT                                                                                STERLING HEIGHTS   MI    48313‐3266

DAVID O CANTRELL                                   1144 FOUNTAIN DR SW                                                                                  ATLANTA            GA    30314‐3046
DAVID O CHADWICK                                   922 JAIRUS DRIVE                                                                                     LEXINGTON          KY    40515‐5535
DAVID O DIBERT & JUDITH R DIBERT JT TEN            12 SHERWOOD LN                                                                                       BEAUFORT           SC    29907‐1355
DAVID O EWING                                      15935 SW BALER WAY                                                                                   SHERWOOD           OR    97140‐8834
                                           09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DAVID O FIERCE                                 200 N PAUL REVERE DR                                                                           DAYTONA BEACH    FL      32119‐1485
DAVID O FULTON                                 2174 ARROWHEAD LN                                                                              LAWRENCEBURG     IN      47025‐7440
DAVID O GRAY                                   8219 S CLINTON TRL                                                                             EATON RAPIDS     MI      48827‐9519
DAVID O JOHNSON                                1643 BACK VALLEY RD                                                                            LA FOLLETTE      TN      37766
DAVID O KARRAKER                               BOX 164                                                                                        DONGOLA          IL      62926‐0164
DAVID O LAFERRIERE                             10738 HAYWARD                                                                                  GLENDALE         AZ      85307‐1735
DAVID O LAWSON                                 20293 BURGESS                                                                                  DETROIT          MI      48219‐1366
DAVID O LILLICH JR                             225 N DICKINSON SCHOOL RD                                                                      CARLISLE         PA      17013‐9154
DAVID O MOILES                                 232 SHEPPARD RD NW                                                                             LAKE PLACID      FL      33852‐8802
DAVID O SKEENS                                 PO BOX 93043                                                                                   LUBBOCK          TX      79493‐3043
DAVID O SOMERS                                 1103 EMANSIDING RD                                                                             HARRISON         MI      48625
DAVID O STANLEY                                74 DODGE RD                                                                                    HEBRON           NH      03241‐4306
DAVID O SUMMERS                                923 DUE WEST AVE                                                                               MADISON          TN      37115‐3403
DAVID O THURSTON                               28121 PEPPERMILL ROAD                                                                          FARMINGTON HILLS MI      48331‐3332

DAVID O THURSTON & BARBARA J THURSTON JT TEN   28121 PEPPERMILL RD                                                                            FARMINGTON HILLS MI      48331‐3332

DAVID O WERNTZ                                 2303 C ST                                                                                      BELLINGHAM         WA    98225
DAVID O WILLIAMS JR                            5335 DAUPHIN LNDG                                                                              KING GEORGE        VA    22485‐7450
DAVID OCANAS                                   3514 E CANTON ROAD                                                                             EDINBURG           TX    78539‐9159
DAVID OCHS                                     2141 HOLLAND AVE                                                                               BRONX              NY    10462‐1777
DAVID OLDFIELD & DAWN OLDFIELD JT TEN          2701 S FORK DR                                                                                 VANDALIA           IL    62471‐3806
DAVID OLEYAR                                   BOX 1                                                                                          FLUSHING           MI    48433‐0001
DAVID OLIVE                                    419 WEST 10TH STREET                                                                           ANDERSON           IN    46016‐1325
DAVID ORDAZ                                    916 1 2 ST E                                                                                   DEFIANCE           OH    43512
DAVID OREILLY                                  1218 SOUTH 87TH ST                                                                             WEST ALLIS         WI    53214‐2917
DAVID ORESKY                                   2929 BELCHER DR                                                                                STERLING HEIGHTS   MI    48310‐3620

DAVID ORTA                                     5018 W 18TH ST                                                                                 CICERO             IL    60804‐1906
DAVID ORTEGA CUST MAKYLA ORTEGA UTMA AZ        7901 E RUSTY SPUR                                                                              PRESCOTT VALLEY    AZ    86314
DAVID OTT HUNTER                               133 SPRING ST                                                                                  RICHLAND           WA    99354‐1651
DAVID OXFORD                                   7360 BUSH LAKE DR                                                                              MINNEAPOLIS        MN    55438‐1682
DAVID P AMARAL                                 275 BROADWAY ST                                                                                TAUNTON            MA    02780‐1508
DAVID P AUBIN                                  120 EAST WALLUM LAKE ROAD                                                                      PASCOAG            RI    02859‐1821
DAVID P BARNES                                 BOX 193                                                                                        TONTOGANY          OH    43565‐0193
DAVID P BARRETT                                6785 W GOODEMONTE RD                                                                           CLARKSVILLE        MI    48815‐9788
DAVID P BAXTER                                 1818 NE 78TH AVE                                                                               PORTLAND           OR    97213‐6600
DAVID P BOETTCHER                              6122 BEAR RIDGE ROAD                                                                           LOCKPORT           NY    14094‐9219
DAVID P BOIGNER                                7520 WEFEL AVE                                                                                 BROOKLYN           OH    44144‐2733
DAVID P BONHAM                                 220 RIVER RD                                                                                   BRIDGETON          NJ    08302‐5813
DAVID P BRADLEY                                1937 FACTORS WALK                                                                              IONIA              NY    14475
DAVID P BROWN                                  3520 CANTERBURY RD                                                                             TRENT WOODS        NC    28562‐7704
DAVID P BROWN & MARGO M BROWN JT TEN           3520 CANTERBURY RD                                                                             TRENT WOODS        NC    28562‐7704
DAVID P CAREY & NANCY D CAREY JT TEN           PSC 117 BOX 60                                                                                 APO                AE    09080‐9998
DAVID P CASH                                   #14E                                  165 E 32 ST                                              NEW YORK           NY    10016‐6019
DAVID P CAVE                                   PO BOX 1083                                                                                    HERMITAGE          PA    16148‐0083
DAVID P CHERRY                                 6333 N ODELL AVE                                                                               CHICAGO            IL    60631
DAVID P CLEMENS                                PO BOX 276                                                                                     MILTON             PA    17847‐0276
DAVID P COBURN                                 505 N 200 W                                                                                    ANGOLA             IN    46703‐8048
DAVID P COLOSI                                 1712 ROBIN COURT                                                                               WAUKESHA           WI    53186‐2667
DAVID P COOK                                   2394 W 116TH                                                                                   GRANT              MI    49327‐9710
DAVID P DAUENHAUER                             2507 CENTER DR                                                                                 PARMA              OH    44134‐4703
DAVID P DAVIS                                  93 INDIAN FARM LANE                   PO BOX 398                                               CECILTON           MD    21913‐0398
DAVID P DELLIMUTI                              2381 21ST ST SW                                                                                NAPLES             FL    34117‐4603
DAVID P DINES                                  4447 WILTSHIRE DR                                                                              HOWELL             MI    48843‐6621
DAVID P DRESSEL                                5011 WILLIAM ST                                                                                LANCASTER          NY    14086‐9665
DAVID P ELLIOTT                                2190 WILDFLOWER LN                                                                             MILFORD            MI    48380‐1552
DAVID P ERNST                                  62 SENECA LANE                                                                                 PLEASANTVILLE      NY    10570‐2324
DAVID P FAYETTE                                3 ARBUCKLE LANE                                                                                COLTON             NY    13625‐3178
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DAVID P FEDEWA                                  PO BOX 101                                                                                      FOWLER             MI    48835‐0101
DAVID P FEIST                                   2118 CHIPPEWA TRL                                                                               MAITLAND           FL    32751‐3904
DAVID P FORAND                                  53 EAST ST                                                                                      N GRAFTON          MA    01536‐1844
DAVID P FRASER                                  112 WEST SIDE DR                       BOWMANVILLE ON                         L1C 5A2 CANADA
DAVID P FUEG & WILLIAM G FUEG JT TEN            10 HOLLY RD                                                                                     WHEELING           WV    26003‐5657
DAVID P GARZA                                   6465 E HILL RD                                                                                  GRAND BLANC        MI    48439
DAVID P GILLAM                                  14502 HOFMEISTER RD                                                                             PETERSBURG         OH    44454‐9719
DAVID P GORSKI                                  14583 PEAR TREE LN                                                                              STERLING HEIGHTS   MI    48313‐5638

DAVID P GRYGLEWICZ                              12914 RED CARDINAL DR                                                                           ODESSA             FL    33556‐5434
DAVID P GRYGLEWICZ & KATHRYN M GRYGLEWICZ JT    12914 RED CARDINAL DR                                                                           ODESSA             FL    33556‐5434
TEN
DAVID P GUTHRIE                                 7354 CROSS CREEK DR                                                                             SWARTZ CREEK       MI    48473
DAVID P HAGER                                   7275 BENNETT LAKE ROAD                                                                          FENTON             MI    48430‐9071
DAVID P HAGER                                   2484 STAGE COACH RD                                                                             E LIVERPOOL        OH    43920‐9506
DAVID P HANEFELD                                3414 W IAN DR                                                                                   LAVEEN             AZ    85339‐3807
DAVID P HILDEN                                  8260 POTTER RD                                                                                  DAVISON            MI    48423‐8146
DAVID P HISLE                                   1201 S 950 W                                                                                    ANDERSON           IN    46012‐9303
DAVID P HOOVER                                  5565 CLARK RD                                                                                   BATH               MI    48808‐8729
DAVID P HOWARD                                  1362 E 1750 ROAD                                                                                LAWRENCE           KS    66046‐9284
DAVID P HRENKO                                  5494 CHARLESTON ROAD                                                                            NEWTON FALLS       OH    44444‐9441
DAVID P HUBERT                                  10718 LAKE RALPH DRIVE                                                                          CLERMONT           FL    34711‐7869
DAVID P HUHN & CARLA J HUHN JT TEN              2006 HANEY ROAD                                                                                 STROUDSBURG        PA    18360‐9407
DAVID P HUMPHRIES                               778 BUDDY WEST RD                                                                               NEWNAN             GA    30263‐4044
DAVID P HUTCHEON                                4153 TORREY LN                                                                                  LIVERPOOL          NY    13090‐1623
DAVID P JOHNSON & PHYLLIS O JOHNSON JT TEN      1738 S FRANKLIN ST                                                                              DENVER             CO    80210‐3340
DAVID P KACZMAREK                               7740 SECOR                                                                                      LAMBERTVILLE       MI    48144‐9624
DAVID P KESLING                                 251 CHIPPENDALE CR # 922                                                                        LEXINGTON          KY    40517‐4467
DAVID P KIEFFER                                 935 WEST MICHIGAN ST                                                                            EVANSVILLE         IN    47710
DAVID P KILEY & KATHRYN A KILEY JT TEN          1065 LAKEVIEW DR                       APT 176                                                  SHELBYVILLE        KY    40065‐8506
DAVID P KIRSCHENMANN                            24 HARVARD RD                                                                                   PLYMOUTH           PA    19462‐7156
                                                                                                                                                MEETING
DAVID P KUBOFF                                   185 BAYBERRY DR                                                                                NORTHFIELD CR      OH    44067‐2661
DAVID P LASHINSKY CUST JACOB A LASHINSKY UTMA NY 26 BRADL LANE                                                                                  NANUET             NY    10954‐3129

DAVID P LEEDS & MRS SUZANNE A LEEDS JT TEN      14 JANA DRIVE                                                                                   WESTON           CT      06882
DAVID P LEVY                                    10735 S CICERO                                                                                  OAKLANN          IL      60453‐5400
DAVID P LIGHTNER                                106 FAYETTE ST                                                                                  STAUNTON         VA      24401‐4120
DAVID P LINEHAN & MELISSA LINEHAN JT TEN        1700 EDISON SHORES LANE                                                                         PORT HURON       MI      48060
DAVID P LIPSCOMB                                2977 HIGHWAY K #256                                                                             O FALLON         MO      63366‐7862
DAVID P LOPEZ                                   5126 BINFORD LANE                                                                               FORT WAYNE       IN      46804‐6504
DAVID P LUBAS                                   14120 WEBSTER RD                                                                                BIRCH RUN        MI      48415‐8601
DAVID P LUCCIARINI                              29 RAVENNA ST                                                                                   MILFORD          MA      01757‐1730
DAVID P LUSTIG                                  7154 E BRISTOL RD                                                                               DAVISON          MI      48423‐2400
DAVID P MADDOCK & PATRICIA MADDOCK JT TEN       288 3RD AVENUE                                                                                  FOX ISLAND       WA      98333
DAVID P MAGOFFIN                                44 ROCKVIEW DRIVE                                                                               CHESHIRE         CT      06410‐3632
DAVID P MANGOLD                                 613 SANDS DR                                                                                    ST AUGUSTINE     FL      32080‐5803
DAVID P MANN JR                                 PO BOX 519                                                                                      WOODVILLE        TX      75979
DAVID P MARTIN                                  101 SPINDLE LANE                                                                                CHADDS FORD      PA      19317‐9380
DAVID P MASINI                                  7406 S 95TH EAST AVE                                                                            TULSA            OK      74133‐5279
DAVID P MATEJCEK                                6221 MC CANDILSH RD                                                                             GRAND BLANC      MI      48439‐9555
DAVID P MATTIS                                  3655 EDGEMONT DRIVE                                                                             TROY             MI      48084‐1447
DAVID P MATYNIAK                                3211 LEDGEWOOD CT E                                                                             COMMERCE TWP     MI      48382‐1420
DAVID P MC DANIEL                               5749 CAMBOURNE RD                                                                               DEARBORN HEIGHTS MI      48127‐3914

DAVID P MCDOUGALL                               4290 W DARR HOPFINGER RD                                                                        PORT CLINTON       OH    43452‐9532
DAVID P MICHEL                                  4439 W 215                                                                                      FAIRVIEW PARK      OH    44126‐2301
DAVID P MILLER                                  42107 BRIANNA DR                                                                                CLINTON TWP        MI    48038‐5223
DAVID P MILLER                                  6329 STONEY VALLEY COURT                                                                        CHARLOTTE          NC    28269‐1218
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DAVID P MIZER                                         8915 ANGEL VALLEY RD SW                                                                         STONE CREEK       OH    43840‐9340
DAVID P MOELLER                                       6318 KARL RD                                                                                    COLUMBUS          OH    43229‐2131
DAVID P MOHR & CHARLENE E MOHR JT TEN                 30 E ASH ST                                                                                     LOMBARD           IL    60148‐2602
DAVID P MORAN                                         1216 N WILLOW                                                                                   RUSHVILLE         IN    46173‐1132
DAVID P MORGAN                                        148 BOYNTON CT                                                                                  CRAWFORDVILLE     FL    32327‐0145
DAVID P MURRAY                                        159 N 7 MILE RD                                                                                 MIDLAND           MI    48640‐9047
DAVID P NIELSEN                                       22501 SUNNYDALE                                                                                 ST CLAIR SHORES   MI    48081‐2497
DAVID P OUELLET                                       PO BOX 663                                                                                      JACKSON           NH    03846‐0663
DAVID P PAULUS                                        W 161 S 7355 DAISY DR                                                                           MUSKEGO           WI    53150‐9718
DAVID P PERRI CUST ANDREW D PERRI UTMA NJ             423 MORNING DOVE CIR                                                                            SEWELL            NJ    08080‐3409
DAVID P PIKE                                          207 RUFFED GROUSE DR                                                                            BRIDGEPORT        WV    26330
DAVID P PITTS & LYLLIS G PITTS TR UA 10/16/92 PITTS   1304 ARON DRIVE                                                                                 MONTROSE          CO    81401
FAMILY TRUST
DAVID P PRICE                                         43 WINSOME WAY                                                                                  NEWARK            DE    19702‐6313
DAVID P QUINN                                         128 N HARMONY ST                                                                                MEDINA            OH    44256‐1917
DAVID P RADZIAK & MARY T RADZIAK JT TEN               632 WOODLAND AVE                                                                                CHERRY HILL       NJ    08002‐2846
DAVID P RAND                                          270 HARROW CIR                                                                                  BLOOMFIELD        MI    48304‐3918
DAVID P REMMERS                                       196 WEST ST                                                                                     ILION             NY    13357‐2252
DAVID P REMMES                                        92 WOODSTREAM DR                                                                                GRAND ISLAND      NY    14072‐1489
DAVID P RESS                                          11710 WHITETAIL DRIVE                                                                           MARILLA           NY    14102‐9714
DAVID P ROMIG & MRS MARCELLINE ROMIG JT TEN           1981 CASTLEBRIDGE RD                                                                            MIDLOTHIAN        VA    23113‐4004

DAVID P RUCKLE                                        2600 N MAIN                                                                                     ROYAL OAK         MI    48073‐3413
DAVID P SENKPIEL                                      505 ROSE APPLE CIR                                                                              PT CHARLOTTE      FL    33954‐2968
DAVID P SIMS & BETTY M SIMS TR SIMS LIVING TRUST      135 VANTAGE VIEW DR                                                                             PETOSKEY          MI    49770‐9211
UA 05/08/97
DAVID P SKAFF & LESLIE A SKAFF JT TEN                 4155 STEVE IKERD DRIVE NE                                                                       HICKORY           NC    28601‐9736
DAVID P SKARP                                         12196 SONOMA RD                                                                                 BATTLE CREEK      MI    49015‐9396
DAVID P SKRELUNAS                                     5741 BACARDI CT                                                                                 HOLIDAY           FL    34690‐6330
DAVID P SPARKS & SARAH M SPARKS JT TEN                3005 QUAY ST                                                                                    WHEAT RIDGE       CO    80215‐6818
DAVID P STEWART & FRANCES J STEWART & DAVID           PO BOX 202                                                                                      ROGERS CITY       MI    49779‐0202
SCOTT NADOLSKY JT TEN
DAVID P STEWART & FRANCES J STEWART & ELIZABETH       PO BOX 202                                                                                      ROGERS CITY       MI    49779‐0202
A NADOLSKY JT TEN
DAVID P STEWART & FRANCES J STEWART & ERIK S          PO BOX 202                                                                                      ROGERS CITY       MI    49779‐0202
NADOLSKY JT TEN
DAVID P STEWART & FRANCES J STEWART & SHANNA E        PO BOX 202                                                                                      ROGERS CITY       MI    49779‐0202
NADOLSKY JT TEN
DAVID P STINTON                                       618 VALLEY HILL LN                                                                              KNOXVILLE       TN      37922‐8301
DAVID P STOLLER & JANET R LINCOLN JT TEN              5 MANZANITA COURT                                                                               PRESCOTT        AZ      86305‐5083
DAVID P STOTTS & MARY JO STOTTS JT TEN                2073 N TERALTA CIRCLE                                                                           CINCINNATI      OH      45211
DAVID P STOWE                                         5659 TUTTLE HILL ROAD                                                                           YPSILANTI       MI      48197‐7043
DAVID P STROUD                                        921 POST RD                                                                                     IRVING          NY      14081‐9667
DAVID P SWAIN                                         16 RICHARD AVENUE                                                                               ELSMERE         DE      19805‐2084
DAVID P TEMPLIN & DEBRA L TEMPLIN JT TEN              4005 GULFSHORE BLVD N                  APT 300                                                  NAPLES          FL      34103‐2672
DAVID P THALKEN                                       2410 N 150TH ST                                                                                 OMAHA           NE      68116‐5102
DAVID P TOMASULA                                      3302 STONEWOOD DR                                                                               SANDUSKY        OH      44870‐6919
DAVID P UNGER                                         969 N RITTER AVE                                                                                INDIANAPOLIS    IN      46219
DAVID P WACHOWSKI                                     12422 PARKTON ST                                                                                FORT WASHINGTON MD      20744‐6102

DAVID P WALKER & RUTH C WALKER TR DAVID WALKER 3503 RIVER ROCK DR                                                                                     CUYAHOGA FLS      OH    44223‐3752
FAM TRUST UA 11/14/94
DAVID P WATSON SR CUST DAVID P WATSON JR UTMA IL 205 ARBON COURT                                                                                      CRETE             IL    60417‐1121

DAVID P WATSON SR CUST MARGARET WATSON UTMA           205 ARBON COURT                                                                                 CRETE             IL    60417‐1121
IL
DAVID P WATTS                                         4585 SEA SIDE LANE                                                                              OAKWOOD           GA    30566
DAVID P WEISKIRCH                                     2724 W PRAIRIE                                                                                  MILAND            MI    48640‐9124
DAVID P WEISS JR                                      17230 TWIN MAPLE LANE                                                                           LEESBURG          VA    20176
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

DAVID P WEST                                       4816 DARBYSHIRE CT                                                                              CANFIELD           OH    44406‐9230
DAVID P WHITTEN                                    129 FIRST STREET                                                                                ROMEO              MI    48065‐5001
DAVID P WILLEY                                     14406 W GLEN DR                                                                                 LOCKPORT           IL    60441‐9251
DAVID P WILSON JR                                  296 WHITMAN ST                                                                                  E BRIDGEWTR        MA    02333‐1924
DAVID P WIRTH                                      11012 W MOUNTAIN VIEW RD                                                                        SUN CITY           AZ    85351‐4660
DAVID P WITTMAN                                    2338 MUNDALE AVENUE                                                                             DAYTON             OH    45420‐2529
DAVID P WOODS                                      455 ARMS RD                                                                                     ESSEXVILLE         MI    48732‐9715
DAVID P WROBLEWSKI                                 APT 2                                  30 LORD ST                                               SOUTH ATTLEBORO    MA    02703‐7705

DAVID P YANIGLAS CUST DANIEL S YANIGLOS UGMA OH 7629 WEST LAKE BLVD                                                                                KENT               OH    44240‐6342

DAVID P YUG                                        PO BOX 322                                                                                      ELM GROVE          WI    53122‐0322
DAVID P ZWYGHUIZEN                                 105 SCULLIN ROAD                                                                                HELENA             NY    13649
DAVID PACKARD & VERA PACKARD JT TEN                5156 PICKFORD WAY                                                                               CULVER CITY        CA    90230‐4918
DAVID PALMER                                       1313 N TRAIL DR                                                                                 CARROLLTON         TX    75006
DAVID PARKER WEST & JOY KRISTEN WEST JT TEN        404 STEVE DOUGLAS DRIVE                                                                         EDMOND             OK    73034‐4756
DAVID PARR                                         4970 BAY CIR                                                                                    CUMMING            GA    30041‐5455
DAVID PARSONS LINDSAY                              3526 20TH ST N                                                                                  ST PETERSBURG      FL    33713‐2824
DAVID PASTERNAK                                    PO BOX 92065                                                                                    ROCHESTER          NY    14692‐0065
DAVID PATE HUGHES                                  2623 LILY ST                                                                                    PASADENA           TX    77503‐3783
DAVID PATRICK REA                                  7911 WILLFIELD CT                                                                               FAIRFAX STATION    VA    22039‐3181
DAVID PATRICK REED                                 15180 MULLIGAN DR                                                                               BATH               MI    48808‐9621
DAVID PATTERSON                                    35 LONGLEAS LANE                                                                                BEAR               DE    19701‐2147
DAVID PAUL ANDERSON                                12129 VIKING DRIVE                                                                              ARNOLD             MD    21012
DAVID PAUL COLVILLE & MRS FLORISE S PRITCHARD JT   20108 STARE ST                                                                                  CHASWORTH          CA    91311‐3917
TEN
DAVID PAUL CRISCENTI                               36675 ENGLESIDE DR                                                                              STERLING HEIGHTS   MI    48310‐4548

DAVID PAUL HAMILTON                                5204 FOREST VALLEY DR                                                                           CLARKSTON          MI    48348‐3750
DAVID PAUL HARTER                                  3787 E LITTLE COTTONWOOD LN                                                                     SANDY              UT    84092‐6055
DAVID PAUL HOYER                                   9315 TELFER CT                                                                                  VIENNA             VA    22182‐3438
DAVID PAUL JOHNSON                                 17750 S W SNOWBERRY CT                                                                          SHERWOOD           OR    97140
DAVID PAUL MILLER                                  5858 SCRIPPS ST                                                                                 SAN DIEGO          CA    92122‐3212
DAVID PAUL NORMAN                                  3753 CYPRESS LN                                                                                 FRANKLIN           WI    53132
DAVID PAUL ROTS                                    135 S ROSCOE BLVD                                                                               PONTE VEDRA        FL    32082‐4127
DAVID PAUL TOMASULA & JEAN E TOMASULA JT TEN       3302 STONEWOOD DRIVE                                                                            SANDUSKY           OH    44870‐6919

DAVID PAUL TOUB                                    42 LUTHERAN DR                                                                                  NASHUA             NH    03063‐2914
DAVID PAUL VANGINDEREN                             2555 ROUTE 301 KENT CLIFFS                                                                      CARMEL             NY    10512
DAVID PAVLICEK                                     1050 BISHOP ST 400                                                                              HONOLULU           HI    96813‐4210
DAVID PEARSON                                      28 STONEFIELD PL                                                                                HONEOYE FALLS      NY    14472
DAVID PEOPLE & CASANDRA PEOPLE JT TEN              1832 W 22ND STREET                                                                              LORAIN             OH    44052‐4243
DAVID PEREGOFF                                     1005 GRANADA CT                                                                                 VIRGINA BEACH      VA    23456‐4211
DAVID PERMUT CUST JESSICA E MICKEY PERMUT UTMA     4321 S 4TH ST                                                                                   ARLINGTON          VA    22204‐1403
VA
DAVID PERRY HAKOJARVI TR UW ALICE JEAN H TATROE    571 TOUCHSTONE CIRCLE                                                                           PORT ORANGE        FL    32127‐4807
FBO JEFFREY HAKOJARVI
DAVID PERRY SALLEY                                 498 AMETHYST ST                                                                                 NEW ORLEANS        LA    70124‐2612
DAVID PETER KILLENBECK                             10314 IRON MILL ROAD                                                                            RICHMOND           VA    23235‐3949
DAVID PETER TRAIN & JENNIFER ELIE TRAIN JT TEN     75 HALL PL                                                                                      GROSSE POINTE      MI    48236‐3804
                                                                                                                                                   FARM
DAVID PETROSKY & LAURINE E PETROSKY JT TEN         784 TIMBERLINE DR                                                                               ROCHESTER HILLS    MI    48309‐1315
DAVID PETTWAY                                      14920 SNOWDEN                                                                                   DETROIT            MI    48227‐3686
DAVID PHILIP HYATT                                 1714 WOODMORE OAKS                                                                              MANCHESTER         MO    63021‐7134
DAVID PHILLIPS                                     127 S WHISPERING HILLS DR                                                                       NAPERVILLE         IL    60540‐4231
DAVID PHILLIPS & MICHAEL PHILLIPS JT TEN           404 DOSEN RD                                                                                    MIDDLETOWN         NY    10940‐6398
DAVID PIERANGELO & JOYCE PIERANGELO JT TEN         735 STONY HILL RD                                                                               WILBRAHAM          MA    01095‐2201
DAVID PIETRUSZYNSKI                                992 EMERALD PINES DR                                                                            ARNOLDS PARK       IA    51331‐7577
DAVID PINA                                         225 W 232 ST                           APT 6A                                                   BRONX              NY    10463‐5508
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DAVID PINHO & MARIA A PINHO JT TEN            30 ZAMORSKI DR                                                                                ELIZABETH          NJ    07206
DAVID PIRRIE                                  124 DUDLEY DRIVE                                                                              FAIRFIELD          CT    06430‐3006
DAVID PLOTH                                   2491 RIVER BLUFF LN                                                                           MT PLEASANT        SC    29466‐8671
DAVID PORTER                                  PO BOX 43430                                                                                  MONTCLAIR          NJ    07043‐0430
DAVID PRESTON AYARS III                       1719 C LAKE PLACE                                                                             VENICE             FL    34293
DAVID PRICE JR                                906 BELMONT AVE                                                                               FLINT              MI    48503‐2742
DAVID PRIDE                                   4228 CROFTON COURT                                                                            FORT WAYNE         IN    46835‐2280
DAVID PRINGLE                                 1847 WHITTLESEY                                                                               FLINT              MI    48503‐4344
DAVID PRYCE DE LA MATYR                       7105 CRAPEMYRTLE DR                                                                           CORPUS CHRISTI     TX    78414‐6216
DAVID PUTNAM                                  74 MAIN STREET                                                                                FREEVILLE          NY    13068‐9764
DAVID PYATT                                   PO BOX 17                                                                                     FLINT              MI    48501‐0017
DAVID PYLMAN                                  HCR1‐1071                            8868 DESERT SHADOWS RD                                   JOSHUA TREE        CA    92252‐9727
DAVID Q SHAHAN                                6240 HELLNER RD                                                                               ANN ARBOR          MI    48105‐9640
DAVID Q SHUPE                                 MANUEL DOBIADO #206                  SALVATIERRA GTO CP                     38900 MEXICO
DAVID Q STONE                                 1001 STARKEY RD LOT 435                                                                       LARGO              FL    33771‐5464
DAVID R ALLEN                                 10331 ALBANY                                                                                  OAK PARK           MI    48237‐2966
DAVID R ANTHONY & LOIS L ANTHONY JT TEN       6658 BRENTWOOD DR NE                                                                          WINTER HAVEN       FL    33881‐9044
DAVID R ARBUTINA                              168 SKYTOP LANE                                                                               PORT MATILDA       PA    16870‐7104
DAVID R ARDAN & DIANNE L ARDAN JT TEN         413 N SCENIC ROAD                                                                             HARRISBURG         PA    17109‐1026
DAVID R ASSELIN                               6287 MAPLE AVE                                                                                SWARTZ CREEK       MI    48473‐8230
DAVID R BAGGETT                               5446 46TH AVE N                                                                               SAINT PETERSBURG   FL    33709‐3812

DAVID R BAKER                                 1765 MONACO PARKWAY                                                                           DENVER             CO    80220‐1644
DAVID R BALASKA                               23872 WOODROW WILSON                                                                          WARREN             MI    48091‐1859
DAVID R BALASKA & SYLVIA J BALASKA JT TEN     23872 WOODROW WILSON                                                                          WARREN             MI    48091‐1859
DAVID R BALLENGER                             3570 OAKVIEW DR                                                                               GIRARD             OH    44420‐3132
DAVID R BARNABY                               312 LORENE                                                                                    WAYLAND            MI    49348‐1126
DAVID R BARNETT                               30307 OAK TREE DR                                                                             GEORGETOWN         TX    78628‐1144
DAVID R BARRETT & DIANE M BARRETT JT TEN      23021 BUCKINGHAM                                                                              DEARBORN           MI    48128‐1842
DAVID R BARTLETT                              1732 MIFFLIN AVE                                                                              ASHLAND            OH    44805‐4543
DAVID R BATY                                  BOX 399                                                                                       POINT REYES STN    CA    94956‐0399
DAVID R BAYS                                  7386 FAIRGROUND RD                                                                            BLANCHESTER        OH    45107‐1558
DAVID R BEEKMAN CUST MICHAEL A BEEKMAN UTMA   8829 OLIVE DR                                                                                 SPRING VALLEY      CA    91977‐2619
CA
DAVID R BELANGER                              1865 W MOORE RD                                                                               SAGINAW            MI    48601‐9770
DAVID R BENNETT                               2300 VIA ESPLANADE                                                                            PONTA GORDA        FL    33950‐6474
DAVID R BLAIR 3RD                             552 W PENN ST                                                                                 ORANGE PARK        FL    32073
DAVID R BOBACK JR                             2189 GREGORY AVE                                                                              YOUNGSTOWN         OH    44511‐2205
DAVID R BOESCH                                63 MONTEREY AVE                                                                               TEANECK            NJ    07666‐5529
DAVID R BOUTIN & MELINDA C BOUTIN JT TEN      BOX 332 RFD 2                                                                                 WOODSVILLE         NH    03785‐9304
DAVID R BOWAR & CAROL J BOWAR JT TEN          2110 47TH AVE SW                                                                              SEATTLE            WA    98116‐2108
DAVID R BOWES                                 2909 MAPLEWOOD PLACE                                                                          ALEXANDRIA         VA    22302‐2424
DAVID R BROWN                                 1203 WESTBROOK DR                                                                             KOKOMO             IN    46902‐3236
DAVID R BROWN                                 288 N KING ST                                                                                 XENIA              OH    45385‐2204
DAVID R BROWN                                 PO BOX 58                                                                                     ABBOTT             TX    76621‐0058
DAVID R BROWN & DIANE E BROWN JT TEN          4884 TYLER OAKS                                                                               HUDSONVILLE        MI    49426‐9795
DAVID R BRUZZONE                              PO BOX 97                                                                                     MORAGA             CA    94556‐0097
DAVID R BRYAN III                             475 TANSY HILL RD                                                                             STOWE              VT    05672‐4223
DAVID R BUCHANAN                              114 SOUTH RD                                                                                  KENSINGTON         NH    03833‐6800
DAVID R BUDZINSKI                             153 INDIAN CHURCH RD                                                                          BUFFALO            NY    14210‐2441
DAVID R BURGE                                 2351 S LINDA DR                                                                               BELLBROOK          OH    45305‐1536
DAVID R BUTTON                                PO BOX 5054                                                                                   KENDALLVILLE       IN    46755‐5054
DAVID R CALVER                                2994 ORANGEGROVE RD                                                                           WATERFORD          MI    48329‐2967
DAVID R CAMARILLO JR                          4919 EATON RAPIDS RD                                                                          ALBION             MI    49224‐9132
DAVID R CARR                                  2409 NEWTON RD                                                                                WILMINGTON         DE    19810‐3520
DAVID R CAVANAUGH                             202 NEWBURY STREET                                                                            WATERBURY          CT    06705‐1426
DAVID R CHILDS JR                             4155 N PARK AVE                                                                               INDIANAPOLIS       IN    46205‐2742
DAVID R CIAVARELLA                            3465 BENT WILLOW                                                                              YOUNGSTOWN         OH    44511
DAVID R CLARK                                 6289 N ELMS ROAD                                                                              FLUSHING           MI    48433‐9052
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DAVID R COBLER                                    26 ORCHARD TERRACE                                                                             ESSEX JUNCTION   VT    05452‐3501
DAVID R CONRAD                                    PO BOX #152                                                                                    CHURUBUSCO       IN    46723‐0152
DAVID R COOK                                      21 PRESCOTT COURT                     KITCHENER ON                           N2P 1J7 CANADA
DAVID R COOK                                      4623 WEST 228TH ST                                                                             FAIRVIEW PARK    OH    44126‐2422
DAVID R COSTIN                                    125 TULANE CT                                                                                  ELRIA            OH    44035‐1535
DAVID R COWGER                                    4179 PAVILION CT                                                                               FENTON           MI    48430‐9168
DAVID R COXON                                     2268 APPLETREE DR                                                                              BURTON           MI    48519‐1576
DAVID R CRANE                                     RR 1 BOX 307                                                                                   ELLINGTON        MO    63638‐9602
DAVID R CRAWFORD                                  6991 COLONIAL                                                                                  DEARBORN HGTS    MI    48127‐2112
DAVID R DAMON TR UA 05/11/1993 DAVID R DAMON      7930 BELLEMEADE BLVD S                                                                         JACKSONVILLE     FL    32211
TRUST
DAVID R DANNEMILLER                               300 S STATE ROAD 135                                                                           GREENWOOD        IN    46142‐1422
DAVID R DAY                                       345 W MILHON CENTER DRIVE                                                                      MOORESVILLE      IN    46158‐6462
DAVID R DELEO                                     2274 STATE ROUTE 5 AND 20                                                                      STANLEY          NY    14561‐9542
DAVID R DELVECCHIO                                7430 MACEDAY LAKE RD                                                                           WATERFORD        MI    48329‐2624
DAVID R DEXEL TOD PAUL B DEXEL SUBJECT TO STA TOD PO BOX 66790                                                                                   HOUSTON          TX    77266‐6790
RULES
DAVID R DINWOODEY & MARY ELLEN DINWOODEY JT       10 DEAN ROAD                                                                                   WELLESLEY        MA    02481‐1506
TEN
DAVID R DUFFETT                                   5826 W COMET AVE                                                                               GLENDALE         AZ    85302‐1310
DAVID R EARL                                      RR 2                                  MILLBROOK ON                           L0A 1G0 CANADA
DAVID R ELLIOTT                                   231 BEACON ST                                                                                  BOSTON           MA    02116‐1355
DAVID R ELPHICK                                   183 WILLOW AVENUE                     TORONTO ON                             M4E 3K4 CANADA
DAVID R ELPHICK                                   183 WILLOW AVENUE                     TORONTO ON                             M4E 3K4 CANADA
DAVID R EPPINGA                                   11098 AMY SCHOOL ROAD                                                                          HOWARD CITY      MI    49329‐9361
DAVID R ERHARD                                    6319 HARVEST MEADOWS DR                                                                        DAYTON           OH    45424‐4873
DAVID R ERSKINE & ROBERTA J ERSKINE JT TEN        12333 WHISPER RIDGE DRIVE                                                                      FREELAND         MI    48623‐9500
DAVID R FANNIN                                    412 RIVERBEND RD                                                                               COMMERCE         GA    30530‐7536
DAVID R FARMER                                    1563 STAGE RD                                                                                  MTN CITY         TN    37683‐5274
DAVID R FEAR                                      46528 WRIGHT                                                                                   UTICA            MI    48317‐4381
DAVID R FELTS                                     132 OLD FERRY RD                                                                               BRUSSELS         IL    62013
DAVID R FERSCH                                    3843 CHARLOTTE CREEK RD                                                                        DAVENPORT        NY    13750‐8386
DAVID R FISH                                      117 EDGELAKE DR                                                                                WATERFORD        MI    48327‐3722
DAVID R FISHER                                    517 NORTH MAIN ST                                                                              GLOVERSVILLE     NY    12078‐1040
DAVID R FISHER                                    517 NORTH MAIN ST                                                                              GLOVERSVILLE     NY    12078
DAVID R FOX                                       263 FAYETTE AVE                                                                                BUFFALO          NY    14223‐2709
DAVID R FREDERICKS                                12070 GREENVIEW CT                                                                             GRAND BLANC      MI    48439‐1705
DAVID R FRY                                       7187 MAPLEVIEW CIR E                  # 22                                                     BROWN CITY       MI    48416‐8605
DAVID R GALLER                                    5018 SKYLITE LN                                                                                SHELBY TWP       MI    48316‐1651
DAVID R GALVAN                                    2430 PARTRIDGE LN                                                                              JANESVILLE       WI    53546‐3147
DAVID R GANFIELD II                               PO BOX 227                                                                                     WAUKEGAN         IL    60079‐0227
DAVID R GARRETT                                   720 TILGHMAN ST                                                                                CHESTER          PA    19013‐3053
DAVID R GERARD                                    4024 SANLEANDRO ST                                                                             OAKLAND          CA    94601‐4042
DAVID R GHISELIN                                  104 BRENTWOOD PL                                                                               PORT LAVACA      TX    77979‐2105
DAVID R GIBBS                                     395 ANDERSON RD                                                                                BEDFORD          IN    47421‐7402
DAVID R GIBBS                                     16016 HAVILAND BEACH DR                                                                        LINDEN           MI    48451‐8652
DAVID R GIBBS & VIRGINIA L GIBBS JT TEN           395 ANDERSON RD                                                                                BEDFORD          IN    47421‐7402
DAVID R GILL                                      6991 FLAT CREEK RD                                                                             COLLEGE GROVE    TN    37046‐9223
DAVID R GLAUB                                     9629 SAINT VINCENT PL                                                                          BREESE           IL    62230‐3675
DAVID R GOODWIN & OLIVE M GOODWIN JT TEN          15 DARTMOOR COURT                                                                              OLNEY            MD    20832
DAVID R GOOLEY CUST JASON T GOOLEY UGMA MI        13161 SUMMER LN                                                                                GRAND LEDGE      MI    48837

DAVID R GOOLEY CUST JOSHUA J GOOLEY UGMA MI      14491 S LOWELL RD                                                                               LANSING          MI    48906

DAVID R GREEN                                    PO BOX 1969                                                                                     CHILLICOTHE      OH    45601‐5969
DAVID R GREGG                                    4403 REGENCY RD                                                                                 SWARTZ CREEK     MI    48473‐8807
DAVID R HAFENDORFER & HOLLY M HAFENDORFER JT     3400 ARBOR CREEK LANE                                                                           FLOWER MOUND     TX    75022
TEN
DAVID R HAGER JR                                 13255 GROVE WAY                                                                                 BROOMFIELD       CO    80020‐5221
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DAVID R HAIGHT                                   1621 S LAKESHORE ROAD                                                                        HARBOR BEACH      MI    48441‐8980
DAVID R HAIRSTON                                 3993 FRYTOWN RD                                                                              DAYTON            OH    45418‐2305
DAVID R HAIRSTON & SHARON E HAIRSTON JT TEN      3993 FRYTOWN RD                                                                              DAYTON            OH    45418‐2305
DAVID R HALL & VANA J HALL JT TEN                2 KENSINGTON COURT                                                                           DOVER             DE    19904‐2281
DAVID R HARRY                                    22630 ST GERTRUDE                                                                            ST CLAIR SHOR     MI    48081‐2531
DAVID R HART                                     1707 FARNSWORTH CT                                                                           HIGH POINT        NC    27262‐7447
DAVID R HARVILLE                                 3414 MILLVILLE‐OXFORD ROAD                                                                   OXFORD            OH    45056‐8915
DAVID R HAUSLE                                   365 HOPKINS ROAD                                                                             AMHERST           NY    14221‐3435
DAVID R HEATHERLY                                1295 N CREEKSIDE WAY                                                                         SEVIERVILLE       TN    37876‐0751
DAVID R HEDGES TOD KENNETH G HEDGES SUBJECT TO   1835 W MANITOU DRIVE                                                                         OWOSSO            MI    48867‐8725
STA TOD RULES
DAVID R HELTER                                   7 GOLDFINCH LN                                                                               NASHUA           NH     03062‐2243
DAVID R HILASKI                                  2966 10TH STREET                                                                             BRADLEY          MI     49311
DAVID R HILL                                     1995 BYRAM DRIVE                                                                             CLEARWATER       FL     33755‐1548
DAVID R HILL & BEVERLEY J HILL JT TEN            23753 MEDINA                                                                                 CLINTON TOWNSHIP MI     48035‐1927

DAVID R HOESE                                    4526 N LEAVITT ST                                                                            CHICAGO           IL    60625‐1608
DAVID R HOUCHINS                                 437 PANAREA DR                                                                               PUNTA GORDA       FL    33950‐8036
DAVID R HOUSER                                   9697 W 250 N                                                                                 ETNA GREEN        IN    46524‐9528
DAVID R HOWELL & JOANNE M HOWELL JT TEN          24928 GOVERNOR STOCKLEY RD                                                                   GEORGETOWN        DE    19947‐2559
DAVID R HUMPHREY                                 411 NORTH ST                                                                                 CHESTERFIELD      IN    46017‐1123
DAVID R HUNT                                     6414 WEST AIRE LIBRE AVENUE                                                                  GLENDALE          AZ    85306‐1017
DAVID R HUNTER                                   PO BOX 188                                                                                   ALBANY            IN    47320‐0188
DAVID R HUNTER & AMY R HUNTER JT TEN             PO BOX 188                                                                                   ALBANY            IN    47320‐0188
DAVID R IDEN                                     8480 STARWOOD DRIVE                                                                          FENTON            MI    48430‐9322
DAVID R INGRAM                                   2955 BRIDGE                                                                                  TRENTON           MI    48183‐3508
DAVID R JACOBSON                                 330 10TH AVE S W                                                                             WELLS             MN    56097‐0008
DAVID R JEFFORDS                                 142 HERITAGE DR                                                                              WEST MONROE       LA    71291‐1420
DAVID R JOHNSON                                  65 HUNTERS RILL                                                                              LAPEER            MI    48446‐4100
DAVID R KALB                                     51 MONO STREET                                                                               BRISBANE          CA    94005‐1662
DAVID R KELM                                     3457 STELLAR DR                                                                              JANESVILLE        WI    53548‐8813
DAVID R KERR                                     12243 QUARRY RD                                                                              OBERLIN           OH    44074‐9551
DAVID R KEYS                                     11751 BRITTON                                                                                BYRON             MI    48418‐9554
DAVID R KING                                     770 PARKWOOD                                                                                 PONTIAC           MI    48340‐3026
DAVID R KNIGHT                                   PO BOX 309                                                                                   OAK GROVE         MO    64075‐0309
DAVID R KOCHER                                   2605 PONTE MIRA WAY                                                                          TRACY             CA    95376‐7748
DAVID R KOLB                                     630 HARRISON AVE                                                                             DEFIANCE          OH    43512‐2022
DAVID R KOLB                                     3894 CENTERVILLE RD                                                                          GILLET            PA    16925‐9020
DAVID R KRANTZ PER REP EST RUSSELL W KRANTZ JR   107 HOLLY HARBOR LN                                                                          LEXINGTON         SC    29072

DAVID R KRAUSS                                   5740 N 7 MILE RD                                                                             PINCONNING        MI    48650‐7900
DAVID R KREMER & RUTH E KREMER JT TEN            9319 MURPHY RD                                                                               VERSAILLES        OH    45380‐9707
DAVID R KUCHUK                                   2970 DACOTAH AVE NE                                                                          PALM BAY          FL    32905‐3610
DAVID R KUGLER                                   4146 THREE LAKES COURT                                                                       LONG GROVE        IL    60047‐9571
DAVID R LEDGER                                   3684 S DUGGAN RD                                                                             BELOIT            WI    53511‐8870
DAVID R LEVERING                                 4652 OAKHURST RIDGE RD                                                                       CLARKSTON         MI    48348‐5025
DAVID R LITTLE                                   5420 PRINCETON PLACE                                                                         KOKOMO            IN    46902‐5242
DAVID R LOPEZ                                    2385 CEDAR PARK DR                  APT 215                                                  HOLT              MI    48842
DAVID R LOPEZ JR                                 909 CLAYTON ST                      UPPR                                                     LANSING           MI    48915‐2003
DAVID R LUMB                                     11 SHIRLEY LN                                                                                SHREWSBURY        MA    01545‐1718
DAVID R MABEE & MRS GRACE MABEE JT TEN           PO BOX 520                                                                                   LOMITA            CA    90717‐0520
DAVID R MADDEN                                   2318 KOEHLER AVE                                                                             DAYTON            OH    45414‐4624
DAVID R MARKLUND                                 3136 MAPLE LANE                                                                              DULUTH            MN    55810‐9518
DAVID R MARSHALL                                 2 GILLON ST                                                                                  MILFORD           MA    01757‐1744
DAVID R MARTIN & PAULA J MARTIN JT TEN           8547 KIMHLEWICK LN NE                                                                        WARREN            OH    44484‐2067
DAVID R MARTIN & SHARON L MARTIN JT TEN          22606 EDGEWOOD                                                                               ST CLAIR SHORES   MI    48080‐2189
DAVID R MARTINEZ                                 2421 MARTIN ANTHONY CT                                                                       TRACY             CA    95377‐6628
DAVID R MAUGEL                                   PO BOX 112                                                                                   GIRARD            PA    16417‐0112
DAVID R MCFARLANE                                3461 COLUMBIAVILLE RD                                                                        COLUMBIAVILLE     MI    48421‐9762
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DAVID R MCKENZIE                                1021 PICKWICK RD                                                                             FOXWORTH         MS    39483‐4258
DAVID R MEYERS                                  2104 CHAMA                                                                                   LOVELAND         CO    80538‐3619
DAVID R MICK & KRISSA V MICK JT TEN             5165 WHIPPLE LAKE ROAD                                                                       CLARKSTON        MI    48348‐3159
DAVID R MOBLEY                                  5832 FOREST RIDGE DR                                                                         PENSACOLA        FL    32526‐7849
DAVID R MONEYHUN                                300 N BARCLAY ST                    TRLR 18                                                  FAIRMOUNT        IN    46928
DAVID R MOORE                                   145 ADALEE RD                                                                                CARROLLTON       GA    30117‐9645
DAVID R MORALES                                 1305 OSAGE AVE                                                                               KANSAS CITY      KS    66105‐1522
DAVID R MORGAN                                  6122 BELLINGHAM CT                                                                           BURTON           MI    48519‐1631
DAVID R MORGAN                                  3321 CLARICE AVE W                                                                           HIGHLAND         MI    48356‐2323
DAVID R MUDRON & MARGARET M MUDRON TEN ENT      12728 JARVIS RD                                                                              BISHOP           MD    21813‐1512

DAVID R MULHERIN                                476 MANORCREST LANE                                                                          BALLWIN          MO    63011‐3431
DAVID R MURPHY                                  490 PINE AVE APT 303                                                                         LONG BEACH       CA    90802
DAVID R NORCOM                                  24 CHELTENHAM WAY                                                                            DALLAS           TX    75230
DAVID R NORRIS                                  402 FAIRWAY DRIVE N E                                                                        WARREN           OH    44483‐5630
DAVID R NORRIS & MARILYN S NORRIS JT TEN        402 FAIRWAY DRIVE N E                                                                        WARREN           OH    44483‐5630
DAVID R NORTHROP                                6722 MUNSON RD                                                                               WESTFIELD        NY    14787‐9746
DAVID R NORTON                                  138 GUYGRACE LANE                                                                            NEW YORK         NY    14580‐2252
DAVID R NOTEWARE                                1700 PACIFIC AVE                    STE 3300                                                 DALLAS           TX    75201‐4656
DAVID R NOVOTNY                                 1120 WOODBINE                                                                                WARREN           OH    44484‐4959
DAVID R NUNN                                    26290 CRYSTAL                                                                                WARREN           MI    48091‐4005
DAVID R OATES                                   1349 SOUTH DATE CIRCLE                                                                       MESA             AZ    85210‐5135
DAVID R OHRBECK                                 7371 PANORAMA E DR                                                                           FRANKSTON        TX    75763‐3103
DAVID R ORME                                    901 TRALEE COURT                    OSHAWA ON                              L1J 7A7 CANADA
DAVID R OWENS                                   1767 GREENBRIAR DR                                                                           KALAMAZOO         MI   49024‐5771
DAVID R PALEY                                   4900 NORTH OCEAN BLVD APT 905                                                                LAUDERDALE BY SEA FL   33308‐2934

DAVID R PERRY                                   30204 LAFAYETTE ROAD                                                                         STURGIS         MI     49091‐9542
DAVID R PERZEL & ANNETTE MARY PERZEL JT TEN     13392 COUCH TOWN COURT                                                                       ROSEMOUNT       MN     55068‐4771
DAVID R PETERSON                                2100 ELBOW ROAD                                                                              CHESAPEAKE      VA     23320‐3046
DAVID R PFAFF & JUDY K PFAFF JT TEN             12167 AIRPORT                                                                                DE WITT         MI     48820‐9289
DAVID R POWELL                                  1208 LUCERNE                                                                                 DEWITT          MI     48820‐9527
DAVID R PUSKARZ                                 11939 GREENBRIAR                                                                             JEROME          MI     49249‐9592
DAVID R RASMUSSEN                               2509 E 6TH ST                                                                                BELVIDERE       IL     61008
DAVID R RATCLIFF                                807 ROGERS ROAD                                                                              VILLA HILLS     KY     41017‐1021
DAVID R ROBERTS                                 BOX 4317 STATE ROUTE 35                                                                      W ALEXANDRIA    OH     45381
DAVID R ROBERTS & RITA J ROBERTS JT TEN         BOX 4317 STATE ROUTE 35                                                                      W ALEXANDRIA    OH     45381
DAVID R ROLOFF                                  33REDWOOD DR                                                                                 BRISTOL         CT     06010‐2416
DAVID R RORABAUGH                               7624 N W 16TH                                                                                OKLAHOMA CITY   OK     73127‐3102
DAVID R ROSSINGTON                              4 TERRACE ST                                                                                 ALFRED          NY     14802‐1321
DAVID R ROWSEY                                  20191 YONKA                                                                                  DETROIT         MI     48234‐1831
DAVID R ROZEN & MRS CAROL S ROZEN JT TEN        330 AMITY RD UNIT 308                                                                        WOODBRIDGE      CT     06525‐2146
DAVID R SALATO & DONNA R SALATO JT TEN          1125 WINDSOR DRIVE                                                                           SHOREWOOD       IL     60404
DAVID R SANDERS                                 2034 VAN VLEET RD                                                                            SWARTZ CREEK    MI     48473‐9748
DAVID R SCARSON                                 10 CASSANDRA CIRCLE                                                                          CHURCHVILLE     NY     14428‐9224
DAVID R SCHMIDLI                                729 MAPLE ST                                                                                 NEENAH          WI     54956‐3359
DAVID R SCRIBNER                                PO BOX 291                                                                                   EAST WILTON     ME     04234‐0291
DAVID R SIAS                                    48 HICKORY COVE LANE                                                                         FAIRFIELD GLADE TN     38558‐7001
DAVID R SIBILSKY                                670 CUMBERLAND CIRCLE NE                                                                     ATLANTA         GA     30306‐3257
DAVID R SMIKLE                                  4553 PINEDALE                                                                                CLARKSTON       MI     48346‐3750
DAVID R SMITH                                   120 ALEXANDER ROAD EAST                                                                      BELLVILLE       OH     44813‐9120
DAVID R SNODGRASS                               3231 SOUTH 750 WEST                                                                          RUSSIAVILLE     IN     46979‐9716
DAVID R SNOPEK                                  2447 SO 16TH ST                                                                              MILWAUKEE       WI     53215‐3036
DAVID R SPACKMAN & CARLA R SPACKMAN JT TEN      6183 OAK HILL DR                                                                             WEST FARMINGTON OH     44491‐8703

DAVID R SPAHR III & DOLORES G SPAHR JT TEN       198 PARKRIDGE LANE                                                                          PITTSBURGH       PA    15228‐1156
DAVID R SPALDING                                 389 CLARK DR                       APT 32                                                   CIRCLEVILLE      OH    43113‐1875
DAVID R SPILKER CUST ELIZABETH M SPILKER UGMA NE 227 WEST MULBERRY AVE                                                                       BEATRICE         NE    68310‐5072
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DAVID R STALEY & CATHRYN S STALEY JT TEN       2383 NORTH MCKINLEY ROAD                                                                    FLUSHING           MI    48433‐9420
DAVID R STEWART                                1020 PICARDY LN                                                                             SAINT CHARLES      MO    63301‐0641
DAVID R STOLL                                  1016 90TH ST                                                                                NIAGARA FALLS      NY    14304‐2814
DAVID R STONE                                  2622 E IDAHO TRL                                                                            JANESVILLE         WI    53546‐9546
DAVID R TARR                                   3300 W TRUMBULL ROAD                                                                        MAPLE CITY         MI    49664‐8780
DAVID R THIBERT                                PO BOX 327                                                                                  OTISVILLE          MI    48463‐0327
DAVID R THOMAS                                 2630 FERNCREEK LANE                                                                         YORK               PA    17404‐1289
DAVID R THOMPSON & KATHERINE L THOMPSON JT TEN 333 PORTLOCK ST                                                                             KENAI              AK    99611

DAVID R THORNBURY                             5090 VAN NESS DR                                                                             BLOOMFIELD HILLS   MI    48302‐2660

DAVID R THRASH                                6083 TRENTON DR                                                                              FLINT              MI    48532‐3227
DAVID R TIPTON                                385 BROWN DR                                                                                 LA FOLLETTE        TN    37766‐5008
DAVID R TISHERMAN                             504 6TH ST                                                                                   MANHATTAN          CA    90266‐5742
                                                                                                                                           BEACH
DAVID R TODD & VICKIE B TODD JT TEN           315 EAST CENTER STREET                                                                       HEBER CITY         UT    84032‐1900
DAVID R TOLER                                 27519 HANOVER                                                                                WESTLAND           MI    48186‐5153
DAVID R TORPEY & MRS ANITA J TORPEY JT TEN    17253 33RD RD S                                                                              SEATTLE            WA    98188‐4447
DAVID R TRIPPANY                              1706 FAIRWAY DR                                                                              CORINTH            TX    76210‐3045
DAVID R TURNER & NANCY B TURNER JT TEN        86 DASHER AVE                                                                                BEAR               DE    19701‐1174
DAVID R URECHE                                1101 REMINGTON                                                                               FLINT              MI    48507‐4807
DAVID R VAN WINKLE                            4321 S AUSTIN STREET                                                                         MILWAUKEE          WI    53207‐5011
DAVID R VANZANT                               14605 TAYLOR BLVD                                                                            LIVONIA            MI    48154‐4095
DAVID R VOLKMAN                               7447 SPRINGBORN RD                                                                           CHINA              MI    48054‐3607
DAVID R WADE                                  1282 MANDERLY DR                                                                             MILFORD            MI    48381‐1308
DAVID R WALTER                                124 STATE ST                                                                                 EATON RAPIDS       MI    48827‐1236
DAVID R WALTON                                754 WHITEHALL DR                                                                             SOUTH BEND         IN    46615‐3342
DAVID R WATKINS                               5921 RT 220 NORTH                                                                            BEDFORD            PA    15522
DAVID R WEAVER                                3446 GREER DR                                                                                DAYTON             OH    45430‐1416
DAVID R WEAVER                                726 EL CENTRO AVE                                                                            EL CENTRO          CA    92243‐1837
DAVID R WEED                                  RR 1 BOX 73                                                                                  ST FRANCISVLE      IL    62460‐9722
DAVID R WEIDMAN & WINFRED G WEIDMAN JT TEN    4680 STANTON LAKE ROAD                                                                       ATTICA             MI    48412

DAVID R WELLS                                 9005 CLEVELAND RD                                                                            CLAYTON            NC    27520‐7000
DAVID R WENDZEL                               8876 E D E AVE                                                                               RICHLAND           MI    49083‐9639
DAVID R WHEATON                               2580 MEADOWVIEW COURT                                                                        ROCHESTER          MI    48306‐3822
DAVID R WHITE                                 42751 JUDD ROAD                                                                              BELLEVILLE         MI    48111‐9195
DAVID R WHITEHOUSE                            10314 STATE ROUTE 62 N                                                                       SALEM              OH    44460‐7609
DAVID R WHITTAKER                             1594 HERONWOOD CT                                                                            BLOOMFIELD         MI    48302‐0832
DAVID R WIESENHAHN                            3315 HICKORYCREEK DR                                                                         CINCINNATI         OH    45244‐2533
DAVID R WILCOX                                4905 N CO RD 450W                                                                            MUNCIE             IN    47304‐8867
DAVID R WILLEMIN                              9324 PALMER RD                                                                               BLOOMINGTON        MN    55437‐2078
DAVID R WILLIAMS                              1136 PEPU HOLLOW RD                                                                          NORWALK            OH    44857‐9765
DAVID R WILLIAMS                              1305 MOHAWK AVENUE                                                                           FLINT              MI    48507‐1919
DAVID R WILLIS                                4060 KLAM RD                                                                                 COLUMBIAVILLE      MI    48421‐9341
DAVID R WINTER                                524 FAIRVIEW WAY                                                                             SHAWANO            WI    54166‐2232
DAVID R WOODBURY & MRS MURIEL B WOODBURY JT   19 BROMPTON ST                                                                               SANFORD            ME    04073‐2012
TEN
DAVID R WOODWARD                              PO BOX 132                                                                                   CRESTONE           CO    81131‐0132
DAVID R WRIGHT                                13969 PINEYWOOD RD                                                                           GALENA             MD    21635‐1828
DAVID RAAB                                    345 MILLWOOD RD                                                                              CHAPPAUA           NY    10514‐1002
DAVID RAAB & SUSAN RAAB JT TEN                345 MILLWOOD RD                                                                              CHAPPAQUA          NY    10514‐1002
DAVID RADOBENKO                               1634 E FAIRFIELD                                                                             MESA               AZ    85203
DAVID RALPH SMITH                             1608 HIGH ST                                                                                 CHESTER            IL    62233‐1036
DAVID RAMOS                                   6 PATRIOT TRAIL                                                                              SHELTON            CT    06484
DAVID RANDOLPH JOHNSON JR                     311 SPRUCE AVE                                                                               EDGEWATER          MD    21037‐4804
DAVID RANSOM                                  5945 BUCHER RD                                                                               WHITEHOUSE         OH    43571‐9542
DAVID RANSOM & EULA M RANSOM JT TEN           5945 BUCHER RD                                                                               WHITEHOUSE         OH    43571‐9542
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DAVID RAPAPORT CUST MICHAEL JASON RAPAPORT      10 PARK AVENUE                      APT 16B                                                     NEW YORK         NY    10016
UGMA NY
DAVID RAPE CUST ANDREW DAVID RAPE UGMA PA PA    R D 1 BOX 276                                                                                   ZELIENOPLE       PA    16063‐9409

DAVID RAY GILL                                  10402 N 62ND STREET                                                                             TAMPA            FL    33617‐3702
DAVID RAY LAMBING                               12201 KLONDIKE RUSH POINT                                                                       AUSTON           TX    78726‐4025
DAVID RAY PURYEAR                               1933 SCHNEIDER RD NW                                                                            NORTH CANTON     OH    44720‐3950
DAVID READING KRATHWOHL                         9 THORNWOOD LANE                                                                                FAYETTEVILLE     NY    13066‐2529
DAVID REASON                                    2114 W 71 PLACE                                                                                 CHICAGO          IL    60636‐3619
DAVID REED                                      497 63RD ST                                                                                     SOUTH HAVEN      MI    49090‐9385
DAVID REED BIRCHLER                             15 PACKENAL TRAIL                                                                               VINCENTOWN       NJ    08088‐8910
DAVID REEVES                                    8218 YUKON DRIVE                                                                                CICERO           NY    13039
DAVID REGAN & TERRI REGAN JT TEN                20379 ALEXANDER DRIVE                                                                           MCCOMB TWNSP     MI    48044‐5940
DAVID RG WEBB                                   1007 LAKE AVE                                                                                   PUEBLO           CO    81004
DAVID RHINE                                     7 WAVERLY PL                                                                                    MONSEY           NY    10952‐2538
DAVID RICHARD BETTIS & SOUSSI BETTIS JT TEN     2403 CAREY LN                                                                                   VIENNA           VA    22181‐5444
DAVID RICHARD DIMEO                             12813 CORBETT COURT                                                                             SAN DIEGO        CA    92130
DAVID RICHARD MC CONNELL                        475 E BROAD ST                      APT 9F                                                      ROCHESTER        NY    14607‐3938
DAVID RICHARD PERKINS                           15320 COLBERT STREET                                                                            ROMULUS          MI    48174
DAVID RICHARD POELMAN                           9771 WOODBURY RD                                                                                LAINGSBURG       MI    48848‐8727
DAVID RICHARD ROTH                              10161 GREEN CLOVER DR                                                                           ELLICOT CITY     MD    21042‐1639
DAVID RICHARD TOTH                              3542 MYRNA DRIVE                                                                                BETHEL PARK      PA    15102‐1100
DAVID RISMANN                                   23100 COHASSET ST                                                                               WEST HILLS       CA    91307‐1511
DAVID RIVER CUST AMANDA SUE RIVER UTMA IA       1103 PERSHING RD                                                                                MAQUOKETA        IA    52060‐9482
DAVID RIVER CUST ROBERT DAVID RIVER UTMA IA     1103 PERSHING RD                                                                                MAQUOKETA        IA    52060‐9482
DAVID RIZENMAN                                  74351 PEPPERGRASS ST                                                                            PALM DESERT      CA    92260‐4916
DAVID ROARK & JEAN ROARK JT TEN                 E 12009 BROADWAY                                                                                SPOKANE          WA    99206‐4920
DAVID ROBB                                      7841 WINERY RIDGE DR                                                                            RANCHO           CA    91730‐2414
                                                                                                                                                CUCAMONGA
DAVID ROBBINS                                   29350 N YELLOW BEE DR                                                                           QUEEN CREEK      AZ    85242‐4821
DAVID ROBERSON                                  4821 S PITTSBURG AVE                                                                            TULSA            OK    74135
DAVID ROBERT BEDFORD                            6 ASHBROOK PL                       MOOROOLBARK          MELBOURNE VICTORIA   3138 AUSTRALIA
DAVID ROBERT CHARNETSKY                         7711 N CAMINO DE MAXIMILLIAN                                                                    TUCSON           AZ    85704‐2026
DAVID ROBERT CRANE                              10450 FM 3356                                                                                   ANNA             TX    75409‐3020
DAVID ROBERT DORGAN                             220 WINSOR STREET                                                                               ELKHORN          WI    53121‐1647
DAVID ROBERT HOELZER                            1303 SO WIGGINS                                                                                 SPRINGFIELD      IL    62704‐3365
DAVID ROBERT KITCH                              15363 NW WOODED WAY                                                                             BEAVERTON        OR    97006‐7802
DAVID ROBERT LAMWERSIEK                         112 VLASIS DR                                                                                   BALLWIN          MO    63011‐3024
DAVID ROBERT PERKINS                            325 LOUVAINE DRIVE                                                                              BUFFALO          NY    14223‐2322
DAVID ROBERT REED                               314 N WILLE ST                                                                                  MOUNT PROSPECT   IL    60056‐2455

DAVID ROBINSON                                  2760 WILDWOOD DR                                                                                ADEL             IA    50003‐9703
DAVID RODIN CUST BRUCE RODIN UGMA NY            16 MARTEN DRIVE                                                                                 WEST NYACK       NY    10994‐1205
DAVID RODRIGUEZ                                 2234 ALLERTON RD                                                                                AUBURN HILLS     MI    48326‐2504
DAVID RODRIGUEZ JR                              6116 DEWHIRST DR                                                                                SAGINAW          MI    48603‐7381
DAVID ROGELBERG                                 62 NASSAU DR                                                                                    GREAT NECK       NY    11021‐1441
DAVID ROGER MATTSON & KAREN A MATTSON JT TEN    1501 CLIFF AVE                                                                                  DULUTH           MN    55811‐2724

DAVID ROGER O'KEEFFE                            527 HILL STREET                                                                                 SAN FRANCISCO    CA    94114‐2812
DAVID ROGERS                                    26754 KITCH ST                                                                                  INKSTER          MI    48141‐2514
DAVID ROJAS GONZALEZ                            GM MEXICO AVE INDST MINRA #700      ZONA INDUSTRIAL      TOLUCA EST           MEXICO
DAVID ROLAND WOLF & DIANE KAY WOLF JT TEN       12491 SPRING CREEK ROAD                                                                         MOORPARK         CA    93021‐2755
DAVID ROLNICK & ANITA ROLNICK JT TEN            110 WEST ST                         APT 341                                                     NEEDHAM HGTS     MA    02494‐1364
DAVID ROMANELLI                                 23236 JOHNSTON                                                                                  EASTPOINTE       MI    48021‐2070
DAVID ROPPONEN                                  20028 S GREAT OAKS CIRCLE                                                                       CLINTON TOWNSHIP MI    48036‐4402

DAVID RORABACHER & BEVERLY B RORABACHER JT TEN 1700 DUKE HOLLOW                                                                                 TRAVERSE CITY    MI    49686‐8768

DAVID ROSENBACH                                 2903 SOUTH BEACH DRIVE                                                                          TAMPA            FL    33629‐7506
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DAVID ROSENBERG                              2211 CALADONIA CT                                                                                  NAPERVILLE      IL    60564
DAVID ROSENBLUM                              7 KINGSTON TERRACE                                                                                 MORGANVILLE     NJ    07751‐1323
DAVID ROSENTHAL                              4705 HILWIN CIR                                                                                    AUSTIN          TX    78756‐2806
DAVID ROSS                                   5399 W LAKE ROAD                                                                                   AUBURN          NY    13021‐1151
DAVID ROSS CHRISTIAN                         372 E CROSWELL AVENUE                                                                              BONFIELD        IL    60913‐6915
DAVID ROSS CLARE JR                          2675 BRONZEWOOD DR                                                                                 TUSTIN          CA    92782‐4326
DAVID ROSS KIRBY                             6 STONEWOOD COURT                                                                                  PHOENIX         MD    21131‐1100
DAVID ROSS LERNER                            14878 MOSSWOOD LANE                                                                                GRASS VALLEY    CA    95945‐9632
DAVID ROSS SHAMBAUGH TR DAVID ROSS SHAMBAUGH 635 E POWELI AVE                                                                                   URBANA          OH    43078‐9249
TRUST UA 01/27/03
DAVID ROSSO                                  546 BROWNELL AVENUE                                                                                LORAIN          OH    44052‐1356
DAVID ROTHSCHILD III                         2134 SPRINGDALE DR                                                                                 COLUMBUS        GA    31906‐1031
DAVID ROY MURRAY                             37148 SHERWOOD ST                                                                                  LIVONIA         MI    48154‐1826
DAVID RUBY CUST ELIZABETH ORA RUBY UGMA NY   9 MIDLAND GARDENS                         APT 1 B                                                  BRONXVILLE      NY    10708‐4704

DAVID RUD                                         170 BROOKLINE AVE                                                                             COSTA MESA      CA    92626‐6556
DAVID RUDZINSKI                                   34 BAXTER AVE                                                                                 KENSINGTON      CT    06037‐2202
DAVID RUELLE                                      1100 ALHI ST                                                                                  WATERFORD       MI    48328‐1502
DAVID RUSSELL                                     304 TALENT AVE                                                                                TALENT          OR    97540‐5600
DAVID RUSSELL EDELMAN                             24 NAGLE DR                                                                                   SOMERVILLE      NJ    08876‐1722
DAVID RUSSELL HAGER JR CUST EMILY MARIE CURTIS    13255 GROVE WAY                                                                               BROOMFIELD      CO    80020‐5221
UTMA MI
DAVID RUSSELL HAGER JR CUST LAIKYN MARIE CURTIS   13255 GROVE WAY                                                                               BROOMFIELD      CO    80020‐5221
UTMA MI
DAVID RUSSELL HAGER JR CUST TYLER RUSSELL HAGER   13255 GROVE WAY                                                                               BROOMFIELD      CO    80020‐5221
UTMA CO
DAVID RYAN POWERS                                 6335 PROMINENCE POINT DR                                                                      LAKELAND        FL    33813‐4492
DAVID S ALTER II                                  BOX 460                                                                                       SHEPHERDSTOWN   WV    25443‐0460

DAVID S ANDERSON                                  5533 PEPPERCORN DR                                                                            BURKE           VA    22015‐1830
DAVID S ARDITTI                                   112 SHELTER ROCK RD                                                                           STAMFORD        CT    06903‐3525
DAVID S BAGBY                                     307 IVY LANE                                                                                  ARLINGTON       IL    60004
                                                                                                                                                HEIGHTS
DAVID S BAILEY & LISA L BAILEY JT TEN             1398 ROSS LN                                                                                  ROCHESTER       MI    48306‐4814
DAVID S BARALOTO                                  8010 HIGHPOINT ROAD                                                                           BALTIMORE       MD    21234‐5412
DAVID S BARRABALL                                 4406 GREEN RD                        HAMPTON ON                             L0B 1J0 CANADA
DAVID S BEAULIEU                                  3125 HARVEST LN                                                                               KISSIMMEE       FL    34744‐9220
DAVID S BENNETT                                   6917 BUICK DR                                                                                 INDIANAPOLIS    IN    46214‐3220
DAVID S BLUMENTHAL                                181 WELLINGTON AVE                                                                            NEW ROCHELLE    NY    10804‐3706
DAVID S BRIGGS                                    50364 OXFORD DR                                                                               MACOMB          MI    48044‐1268
DAVID S BRODER                                    900 N TAYLOR ST                      APT 922                                                  ARLINGTON       VA    22203‐1866
DAVID S BROWN & WINIFRED BROWN JT TEN             11 OAKWOOD LN                                                                                 KENNEBUNK       ME    04043‐6520
DAVID S BUCKNER                                   13755 HAROLD AVE                                                                              WARREN          MI    48089‐3674
DAVID S CARPENTER                                 PO BOX 184                                                                                    CABOT           VT    05647‐0184
DAVID S CHEN                                      C/O SHANGHAI                         PO BOX 9022                                              WARREN          MI    48090‐9022
DAVID S CHERRY                                    21 LINSWOOD ST                                                                                MONROE          MI    48162‐3171
DAVID S CHRISTMAN CUST ANDREW S CHRISTMAN         22713 N 71ST DR                                                                               GLENDALE        AZ    85310‐5699
UTMA KS
DAVID S CHRISTMAN CUST APRIL LENE CHRISTMAN       22713 N 71ST DR                                                                               GLENDALE        AZ    85310‐5699
UTMA KS
DAVID S COHEN                                     4525 N 25TH ROAD                                                                              ARLINGTON       VA    22207‐4101
DAVID S CONNELL                                   6866 PENNSYLVANIA AVE                                                                         MONTGOMERY      TX    77316‐2028
DAVID S CRAIG                                     10141 LINDALE AVE                                                                             GREENCASTLE     PA    17225‐8374
DAVID S CUMMINS                                   1942 CROSSMAN DRIVE                                                                           INDIANAPOLIS    IN    46227‐5926
DAVID S CURRIE & MRS JOYCE L CURRIE JT TEN        54 THISTLEDOWN DR                                                                             ROCHESTER       NY    14617‐3019
DAVID S DENNING                                   3522 OLD COURSE LN                                                                            VALRICO         FL    33594‐9219
DAVID S DICKSON & PATRICIA A DICKSON JT TEN       2412 AUTUMN VIEW WAY                                                                          BALTIMORE       MD    21234‐1450
DAVID S DIXON                                     3957 SANDIA PL                                                                                TRAVERSE CITY   MI    49684‐4416
DAVID S DUOS                                      505 COUNTY DOWNS RD                                                                           MONTGOMERY      AL    36109‐4600
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DAVID S DURKEE                                      910 RED OAK CT                                                                                 TECUMSEH           MI    49286‐1070
DAVID S DURON                                       1312 W OREGON AVE                                                                              PHOENIX            AZ    85013‐1950
DAVID S ELSWICK                                     1833 WASHINGTON NORTH RD                                                                       MANSFIELD          OH    44903‐8882
DAVID S EMSHOFF                                     1203 SOMERSET FIELD                                                                            CHESTERFIELD       MO    63005
DAVID S ERICSON                                     5002 BONNEVILLE DRIVE                                                                          ARLINGTON          TX    76016‐1618
DAVID S FACINELLI & PATRICIA A FACINELLI JT TEN     773 ABERDEEN RUN                                                                               THE VILLAGES       FL    32162‐4403

DAVID S FIELDS                                      21 RACE COURSE RD                                                                              LAKEVILLE          MA    02347‐1827
DAVID S FORESTER                                    6534 PRAIRIE DUNES DR                                                                          GRAND BLANC        MI    48439‐2656
DAVID S FORMAN                                      363 MEADOW LANE                                                                                MERION             PA    19066‐1330
DAVID S FULTON                                      7032 WINDWARD HILLS                                                                            BRECKSVILLE        OH    44141‐2441
DAVID S FULTON                                      1249 OLD TIMBER TRL                                                                            FLINT              MI    48532‐2121
DAVID S GAGNON & BARBARA C GAGNON JT TEN            223 SEARLES RD                                                                                 POMFRET CENTER     CT    06259‐2306
DAVID S GILMORE                                     8 STRATHALLAN PK                                                                               ROCHESTER          NY    14607‐1593
DAVID S GIVENS                                      1414 WEST 34TH ST                                                                              INDIANAPOLIS       IN    46208‐4551
DAVID S GLAZA                                       77660 PEARL                                                                                    ROMEO              MI    48065‐1607
DAVID S GODKIN                                      25 GRAYFIELD AVENUE                                                                            WEST ROXBURY       MA    02132‐2316
DAVID S GRACZYK & ELIZABETH E GRACZYK JT TEN        5107 OWEN RD                                                                                   LINDEN             MI    48451‐9024
DAVID S GROSSMAN                                    1752 WHITE WATER DR                                                                            ROCHESTER HILLS    MI    48309‐3221
DAVID S HARRIS                                      N57W38423 BEGGS ISLE DR                                                                        OCONOMOWOC         WI    53066
DAVID S HARTLE                                      39698 WILDFLOWER DR                                                                            MURRIETA           CA    92563‐5544
DAVID S HAWKER                                      70 COUNTY RD 368                                                                               CRANE HILL         AL    35053‐3850
DAVID S HEIDLER                                     187 DOLOMITE DR                                                                                COLORADO SPGS      CO    80919‐2205
DAVID S HERON & JANE R HERON LEATHERMAN JT TEN      12219 HARP HILL RD                                                                             MYERSVILLE         MD    21773‐9401

DAVID S HOPKINS                                     3919 FOREST AVE                                                                                NORWOOD            OH    45212‐3930
DAVID S HORNE                                       60 ST CLAIRE AVE                                                                               CINCINNATI         OH    45215‐4266
DAVID S JENIO                                       22614 CLAIREWOOD                                                                               ST CLAIRE SHORES   MI    48080‐1982
DAVID S JENKINS                                     PO BOX 631                                                                                     GREENWOOD          LA    71033‐0631
DAVID S JORDAN                                      1173 RAMBLEWOOD DR                                                                             ANNAPOLIS          MD    21401‐4668
DAVID S KADY                                        4149 MORNINGVIEW                                                                               SHELBY TOWNSHIP    MI    48316‐3927

DAVID S KAPPE JR                                    7217 WOODBINE RD                                                                               WOODBINE           MD    21797‐8913
DAVID S KAPPEL                                      7218 KINNE RD                                                                                  LOCKPORT           NY    14094‐9048
DAVID S KASS                                        12000 S TALLGRASS DR                  APT 902                                                  OLATHE             KS    66061‐7365
DAVID S KIM                                         6827 W NANCY LN                                                                                LAVEEN             AZ    85339
DAVID S KIMMELMAN & SARAH E KIMMELMAN JT TEN        10 DELAWARE DR                                                                                 BORDENTOWN         NJ    08505‐2506

DAVID S KIPP                                        403 22ND PLACES E                                                                              VERO BEACH         FL    32962‐8306
DAVID S KLENK                                       4086 COSWAY CT                                                                                 HIGH POINT         NC    27265‐1571
DAVID S KOHLER                                      PO BOX 545                                                                                     ARVADA             CO    80001‐0545
DAVID S KORNMAN                                     8138 MOORES LN                                                                                 BRENTWOOD          TN    37027‐8026
DAVID S KROEGER                                     3532 ROCKVIEW DRIVE                                                                            BRISTOL            PA    19007‐2555
DAVID S KUNTZMAN                                    30371 WICKLOW RD                                                                               FARMINGTN HLS      MI    48334‐4769
DAVID S LACLAIR                                     1541 SYCAMORE ST                                                                               WYANDOTTE          MI    48192‐5417
DAVID S LANDIS                                      2959 CROWN POINTE DR                                                                           TRAVERSE CITY      MI    49685‐7282
DAVID S LARSEN                                      1053 OMAR DRIVE                                                                                CROWNSVILLE        MD    21032‐1233
DAVID S LARSON                                      840 BROCKTON LANE NORTH                                                                        PLYMOUTH           MN    55447‐3343
DAVID S LEES III                                    8333 ANTLER PINES CT                                                                           LAS VEGAS          NV    89129‐4503
DAVID S LEWIS                                       500 ARDUSSI AVE                                                                                SAGINAW            MI    48602‐2786
DAVID S LITVIN                                      144 SUMNER ST                                                                                  GALESBURG          IL    61401‐3870
DAVID S LORENC                                      5005 NORTHWIND DR                     PO BOX 334                                               HONOR              MI    49640‐0334
DAVID S LORENC & GERTRUDE M LORENC JT TEN           5005 NORTHWIND DR                     PO BOX 334                                               HONOR              MI    49640‐0334
DAVID S LUCAS                                       6422 NORCROSS TUCKER RD                                                                        TUCKER             GA    30084‐1251
DAVID S LUZE                                        3741 STONERIDGE COURT                                                                          COMMERCE TWP       MI    48382‐1086
DAVID S LYONS                                       709 V STREET                                                                                   BEDFORD            IN    47421‐2430
DAVID S MAC DONALD                                  1308 POLEBROOK RD                                                                              MELBOURNE          FL    32901‐2758
DAVID S MACKIE                                      221 W LANCASTER AVE                   UNIT 6001                                                FORT WORTH         TX    76102
DAVID S MACMILLAN                                   1151 WALLACE AVE SE                                                                            MASSILLON          OH    44646‐6910
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DAVID S MANNING                                 703 CLEAVER FARMS RD                                                                           MIDDLETOWN        DE    19709‐1255
DAVID S MARSH                                   15 CEDAR LANE                                                                                  HILTON HEAD       SC    29926‐1052
DAVID S MC INTOSH                               19977 OLD POND CT                                                                              BIRMINGHAM        MI    48025‐2910
DAVID S MILLER & MRS JEAN A MILLER JT TEN       PO BOX 774                                                                                     MILLERSVILLE      MD    21108‐0774
DAVID S MINNICK                                 430 LEERIE DRIVE                                                                               ROCHESTER         NY    14612‐2995
DAVID S MONK                                    12500 HIBNER RD                                                                                HARTLAND          MI    48353‐1415
DAVID S MOORE                                   10830 AMBER RIDGE DR #201                                                                      LAS VEGAS         NV    89144‐4458
DAVID S MORSE                                   137 HART AVE                                                                                   SANTA MONICA      CA    90405‐3504
DAVID S MUSSELMAN                               41 WILSON AVE                                                                                  COLUMBUS          OH    43205‐1424
DAVID S NORUM & CAROL ANN NORUM JT TEN          2469 IDUNA LN                                                                                  PETOSKEY          MI    49770‐9364
DAVID S OLSON                                   9431 E SUNBURST DRIVE                                                                          SUN LAKES         AZ    85248‐5909
DAVID S OURS JR                                 1070 HAMPSTEAD LN                                                                              ORMOND BEACH      FL    32174‐9284
DAVID S PARKER                                  503 BOND ST                                                                                    ELYRIA            OH    44035‐3312
DAVID S PERLMUTTER                              77 NORTH MITCHELL AVE                                                                          LIVINGSTON        NJ    07039‐2143
DAVID S PFISTER                                 6413 STOW ROAD                                                                                 FOWLERVILLE       MI    48836‐9602
DAVID S PIPER                                   3602 UNDERWOOD ST                                                                              HOUSTON           TX    77025‐1906
DAVID S POE                                     1418 SHELDON ST                                                                                LANSING           MI    48906‐4915
DAVID S PROMISH & ELIZABETH B HUGHES JT TEN     10 SOUTH GILMAR CIRCLE                MARGATE                                                  MARGATE CITY      NJ    08402
DAVID S REITER                                  17451 N 55TH ST                                                                                SCOTTSDALE        AZ    85254‐5878
DAVID S RODRIGUEZ                               2530 N CENTER                                                                                  SAGINAW           MI    48603‐2942
DAVID S ROWE                                    5019 N MERIDIAN ST                                                                             INDIANAPOLIS      IN    46208‐2623
DAVID S RYAN                                    48 W MAIN ST                          APT 105                                                  LURAY             VA    22835‐1242
DAVID S SAUCEDO                                 2980 SHERBROOKE WAY                                                                            SAN JOSE          CA    95127‐4044
DAVID S SCHIEFEN                                880 SERENIDAD PLACE                                                                            GOLETA            CA    93117‐1708
DAVID S SHEFFER                                 BOX 25                                                                                         AHMEEK            MI    49901‐0025
DAVID S SILVASHY & SUSAN A SILVASHY JT TEN      7811 MEMORY LANE                                                                               CANFIELD          OH    44406‐9103
DAVID S SIMMONS                                 9141 D SW 23RD ST                                                                              FORT LAUDERDALE   FL    33324‐5050

DAVID S SMITH                                   5397 CLARKSTON RD                                                                              CLARKSTON         MI    48348‐3812
DAVID S SOBLE CUST MICHAEL B SOBLE UGMA IL      24 COUNTRY LANE                                                                                NORTHFIELD        IL    60093‐1003
DAVID S SOMERVILLE                              4110 N PORTSMOUTH RD                                                                           SAGINAW           MI    48601‐9683
DAVID S STALEY                                  4083 SUNBEAM RD 912                                                                            JACKSONVILLE      FL    32257‐7507
DAVID S STEWART                                 3700 LANSING RD                                                                                ROSCOMMON         MI    48653‐9503
DAVID S TAN                                     12 WOOTTEN WAY N                      MARKHAM ON                             L3P 3L8 CANADA
DAVID S TERRELL                                 5423 DELTA RIVER DR                                                                            LANSING           MI    48906‐9012
DAVID S THOMPSON                                22945 BURT RD                                                                                  BRANT             MI    48614‐9738
DAVID S TIPSON                                  168 N KESWICK AVE                                                                              GLENSIDE          PA    19038‐4721
DAVID S TODD                                    35440 BROOKSTONE DR                                                                            NEW BOSTON        MI    48164‐9125
DAVID S TREVES                                  415 IOLA RD                                                                                    LOUISVILLE        KY    40207
DAVID S VAN FOSSEN                              406 FIELDSTONE LN                                                                              VENUS             TX    76084‐3164
DAVID S VERNOOY                                 11 MACINTOSH DR                                                                                OXFORD            CT    06478‐1386
DAVID S WELLS                                   30200 STEPHENSON HWY                                                                           MADISON HTS       MI    48071‐1612
DAVID S WEN & CLARA L WEN JT TEN                1050 MAPLE ST                                                                                  WENATCHEE         WA    98801‐1553
DAVID S WHITEHOUSE                              8170 BEDELL RD                                                                                 BERLIN            OH    44401‐9771
DAVID S WILLIAMS                                707 S OAK ST                                                                                   FENTON            MI    48430‐2916
DAVID S WILLIAMS                                930 ARGYLE                                                                                     PONTIAC           MI    48341‐2300
DAVID S WILLIAMS                                769 GATES                                                                                      YPSILANTI         MI    48198‐6151
DAVID S WILLIAMS                                25 POMPA LANE                                                                                  TELFORD           PA    18969‐1536
DAVID S WILLIAMS & NANCY S WILLIAMS JT TEN      25 POMPA LANE                                                                                  TELFORD           PA    18969‐1536
DAVID S WOJTOWICZ                               27022 ARDEN PARK CR                                                                            FARMINGTON HI     MI    48334‐5300
DAVID S WRIGHT CUST ALICIA M HUYCK UGMA MI      4141 OAK DR                                                                                    BEAVERTON         MI    48612‐8828

DAVID S WRIGHT CUST NICOLE M CORRION UGMA MI    4141 OAK DR                                                                                    BEAVERTON         MI    48612‐8828

DAVID S WU                                      6543 FOX HILLS ROAD                                                                            CANTON            MI    48187‐2460
DAVID S YOUNG                                   1701 PINEHURST RD                     APT 11A                                                  DUNEDIN           FL    34698‐3612
DAVID S ZOMOK                                   7578 ZONA LANE                                                                                 PARMA             OH    44130‐5855
DAVID SAINT JOHN                                128 MALDEN ST                                                                                  WORCESTER         MA    01606
DAVID SALAZAR                                   461 KENILWORTH                                                                                 PONTIAC           MI    48342‐1845
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DAVID SALSBERG                                      5211 WILCOX ROAD                                                                                            WHITESBORO       NY    13492‐2130
DAVID SALVADOR                                      BOX 64                                  CANAL ST STATION                                                    NEW YORK         NY    10013‐0064
DAVID SAMUEL LEWIN                                  824 BELLEFORTE AV                                                                                           OAK PARK         IL    60302‐1502
DAVID SANBORN                                       3845 COOLEY LAKE ROAD                                                                                       WHITE LAKE       MI    48383‐3109
DAVID SANCHEZ                                       6623 DAVIS RD                                                                                               SAGINAW          MI    48604‐9747
DAVID SANDERLIN                                     1002 PANSY WAY                                                                                              EL CAJON         CA    92019‐2763
DAVID SANDERS                                       2011 JULIA LN                                                                                               HOPE             IN    47246‐9362
DAVID SANDS & SALLY SANDS JT TEN                    3051 CAMBERLY CIRCLE                                                                                        VIERA            FL    32940‐6638
DAVID SANT CUST DANIEL WILLIAM SANT UTMA NY         233 HAYWOOD GLN                                                                                             VICTOR           NY    14564‐9803

DAVID SATURLEY & LISA HAMMOND JT TEN                PO BOX 347                                                                                                  LEBANON          NH    03766
DAVID SAWYER                                        3352 HUNTWOOD CT                                                                                            ATLANTA          GA    30034‐4911
DAVID SCHIESEL & LINDA SCHIESEL JT TEN              3470 E CATHEDRAL RD PL                                                                                      TUCSON           AZ    85718‐1306
DAVID SCHLESINGER                                   4 NORTH DRIVE                                                                                               GREAT NECK L I   NY    11021‐1316
DAVID SCHNEIDER                                     2825 WIENEKE RD                         APT 101                                                             SAGINAW          MI    48603‐2686
DAVID SCHNEIDER                                     PO BOX 31148                                                                                                GREENWICH        CT    06831‐0848
DAVID SCHWARTZ                                      75‐03 171 STREET                                                                                            FLUSHING         NY    11366‐1416
DAVID SCHWARTZ                                      363 BROOKLINE ST                                                                                            NEWTON CENTER    MA    02459‐3151
DAVID SCHWARTZBERG                                  11808 DANVILLE DR                                                                                           ROCKVILLE        MD    20852‐3720
DAVID SCHWARTZER                                    2 14TH ST                               APT 428                                                             HOBOKEN          NJ    07030‐6773
DAVID SCOTT ALLEN                                   3300 EAGLE NEST PT                                                                                          VIRGINIA BCH     VA    23452
DAVID SCOTT BARTON & VALERIE JO BARTON JT TEN       9415 MELBOURNE DR                                                                                           COLORADO SPRINGS CO    80920‐7245

DAVID SCOTT EICHELBAUM                              30 SWEETGUM XING                                                                                            SAVANNAH         GA    31411‐2711
DAVID SCOTT ELLINWOOD                               1300 CRAVENS LANE                                                                                           CARPINTERIA      CA    93013‐3082
DAVID SCOTT HODGES & VICKIE L HODGES JT TEN         922 DAMIAN ST                                                                                               VANDALIA         OH    45377‐1116
DAVID SCOTT HUYCK                                   5136 BROBECK                                                                                                FLINT            MI    48532
DAVID SCOTT RAIMIST                                 324 COOPER OAKS DR                                                                                          WOODSBORO        MD    21798‐8342
DAVID SEALEY                                        33 JENKINSON GROVE                      DONCASTER                                   DN3 2FH GREAT BRITAIN
DAVID SEEBER                                        3433 COUNTY ROUTE 2                                                                                         ADDISON          NY    14801
DAVID SEMPLE CUST FRASER SEMPLE UTMA IL             6457 BOBBY JONES LANE                                                                                       WOODRIDGE        IL    60517‐5404
DAVID SEMPLE CUST SCOTT SEMPLE UTMA IL              6457 BOBBY JONES LANE                                                                                       WOODRIDGE        IL    60517‐5404
DAVID SERDA                                         201 PINNACLE DR SE                      APT 112                                                             RIO RANCHO       NM    87124‐3684
DAVID SERVATI                                       31 WATCHMAN COURT                                                                                           ROCHESTER        NY    14624‐4930
DAVID SEVERIN                                       158 STANLEY STREET                                                                                          REDWOOD CITY     CA    94062
DAVID SEYFRIED                                      38482 NORTH SHORE DRIVE                                                                                     BATTLE LAKE      MN    56515‐4404
DAVID SHADRICK A MINOR U/GDNSHIP OF ROY             N4787 NEUMAN ROAD                                                                                           MEDFORD          WI    54451‐9669
SHADRICK
DAVID SHANNON                                       PO BOX 23792                                                                                                DETROIT          MI    48223‐0792
DAVID SHAW FOSTER                                   6971 IRONWOOD                                                                                               BOISE            ID    83709‐6711
DAVID SHELDON CUST ABIGAIL SHELDON UTMA NJ          13671 RAVENWOOD DR                                                                                          GRANGER          IN    46530‐4722

DAVID SHEPHERD                                      1010 N 3RD ST                                                                                               PHILADELPHIA     PA    19123‐1508
DAVID SHEPHERD                                      7308 NW 77TH TERRACE                                                                                        KANSAS CITY      MO    64152‐2107
DAVID SHERMAN GOLDBERG                              1937 WICKFORD PL                                                                                            WYOMISSING       PA    19610‐2681
DAVID SHERRILL GAYLE & CARRIE ANN GAYLE JT TEN      3404 IMPERIAL DR                                                                                            HIGH POINT       NC    27265‐1826

DAVID SHOEMAKE                                 PO BOX 1678                                                                                                      COLLINS          MS    39428‐1678
DAVID SHOLES                                   1375 WARWICK AVE                                                                                                 WARWICK          RI    02888‐5066
DAVID SHRIVER & JANET D SHRIVER JT TEN         BAYSIDE P O BOX 22                                                                                               REEDVILLE        VA    22539‐0022
DAVID SHULMAN                                  ATTN FINANCIAL                               PRIORITIES INC       ATTN CHARLES G SOBEL   135 FORT LEE ROAD       LEONIA           NJ    07605‐2217
DAVID SHULMAN & ROBIN SCHULTZER SHULMAN JT TEN 8 EDINBURG LANE                                                                                                  EAST BRUNSWICK   NJ    08816‐5243

DAVID SIDNEY KENIG                                  1801‐A HUNTINGTON DRIVE                                                                                     SOUTH PASADENA   CA    91030‐4896

DAVID SIEGAL & MRS SUSAN SIEGAL JT TEN              77 BENTLEY DR                                                                                               FRANKLIN LAKES   NJ    07417‐1942
DAVID SILBER                                        10519 FRONTENAC WOODS                                                                                       ST LOUIS         MO    63131‐3415
DAVID SILBERGLEIT TR DAVID SILBERGLEIT REV LIVING   1630 34TH STREET S APT 302                                                                                  FARGO            ND    58103‐8439
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DAVID SILVERMAN & JEANNE E SILVERMAN JT TEN    3121 CORAL AVE                                                                                   MORRO BAY         CA    93442‐3124
DAVID SIMES                                    2A PIER ST                              EAST FREMANTLE       WA                6158 AUSTRALIA
DAVID SIMON & SORELLE PARKER TR DAVID SIMON    7483 PERSHING                                                                                    ST LOUIS          MO    63130‐4021
TRUST UA 05/17/95
DAVID SIMONS CUST CODY SIMONS UTMA NY          330 WEST 58TH STREET                                                                             NEW YORK          NY    10019‐1827
DAVID SIMS                                     1550 SUMMER RUN DR                                                                               FLORISSANT        MO    63033‐6467
DAVID SINGER & ALICE SINGER TEN COM            APT 138                                 123 BRACKENRIDGE                                         SAN ANTONIO       TX    78209‐7004
DAVID SINGER & ELLEN SINGER JT TEN             7864 CAMMINARE DR                                                                                SARASOTA          FL    34239‐4774
DAVID SKLUZAK                                  14114 MERCEDES                                                                                   REDFORD           MI    48239‐3041
DAVID SKUBY                                    5543 SMOODY                                                                                      CHICAGO           IL    60638
DAVID SMASHEY                                  PO BOX 352                                                                                       PLEASANTON        TX    78064‐0352
DAVID SMITH                                    4203 CHASTETREE CT                                                                               PIKESVILLE        MD    21208‐6407
DAVID SOHM                                     HC66 BOX 35A                                                                                     KREMLIN           MT    59532‐9704
DAVID SOIFER & ROBERTA SOIFER JT TEN           4 HUDSON LANE                                                                                    WINDSOR           CT    06095‐1845
DAVID SOLOMON & HELEN SOLOMON JT TEN           1280 RUDOLPH RD APT 4F                                                                           NORTHBROOK        IL    60062‐1449
DAVID SORIN                                    223 LINCOLN AVENUE                                                                               CLIFTON           NJ    07011‐3614
DAVID SOUBLET                                  4782 KNIGHT DR                                                                                   NEW ORLEANS       LA    70127‐3330
DAVID SPRAGUE & CAROL SPRAGUE JT TEN           139 LAKESIDE DR                                                                                  CROSSVILLE        TN    38558
DAVID SQUIRE                                   72 FALLING CREEK DRIVE                                                                           STAFFORD          VA    22554‐5540
DAVID ST LAURENT AUGUSMA                       52 HILLCREST AVE                                                                                 SOMERSET          NJ    08873‐1833
DAVID STACK                                    238 PARKGATE AVE                                                                                 YOUNGSTOWN        OH    44515‐3240
DAVID STAFFORD                                 134 AMBOY ST                                                                                     BROOKLYN          NY    11212‐5047
DAVID STANKEWICZ CUST EVA ROSE STANKEWICZ UTMA W5860 EASTER LILY DR                                                                             APPLETON          WI    54915
KY
DAVID STAUFFER CUST KIRSTEN STAUFFER UGMA PA   401 RESERVOIR RD                                                                                 MECHANICSBURG     PA    17055‐6147

DAVID STEERS DE RIEMER                            1624 SAVANNAH RD                                                                              LEWES             DE    19958‐1626
DAVID STELL INGWERF                               13 WINDBEAM ROAD                                                                              RIVERDALE         NJ    07457‐1618
DAVID STEPHEN MITCHELL                            200A G ST SW                                                                                  WASHINGTON        DC    20024‐4336
DAVID STEPHENSON                                  15 WHITE RD                                                                                   ELLINGTON         CT    06029‐3035
DAVID STERN                                       5 DANBURY COURT APT 1703                                                                      SUFFERN           NY    10901
DAVID STEVEN GOODMAN                              5315 BALDWIN LN                                                                               OREFIELD          PA    18069‐9522
DAVID STEWART                                     169‐10 140 AVE                                                                                JAMAICA           NY    11434‐5957
DAVID STEWART & MRS MARILYN STEWART JT TEN        12 ABBOTT ST                                                                                  MERRIMAC          MA    01860‐1401

DAVID STEWART SEDORE SR & JENNIE MARY SEDORE JT   771 ELLSWORTH RD                                                                              PETOSKEY          MI    49770
TEN
DAVID STONE                                       6429 SENTINEL RD                                                                              ROCKFORD        IL      61107‐2622
DAVID STONE & RUTH STONE JT TEN                   13‐20 LYLE TERRACE                                                                            FAIR LAWN       NJ      07410‐5146
DAVID STONER                                      927 LINN RIDGE ROAD                                                                           MT VERNON       IA      52314‐9683
DAVID STORM                                       1009 HULL ST                                                                                  BOYNE CITY      MI      49712‐9773
DAVID STOWELL ARNOLD                              804 SANDY BAY COVE                                                                            NEWPORT NEWS    VA      23602‐9130
DAVID STRATTON                                    4923 E CAMINO PRINCIPAL              TRLR 21                                                  SIERRA VISTA    AZ      85650
DAVID STRAUGHN                                    784 KARA CIR                                                                                  ROCKLEDGE       FL      32955
DAVID STRICKER                                    61 BOGART AVE                                                                                 PORT WASHINGTON NY      11050‐3321

DAVID STUTZMAN                                    53844 BUCKINGHAM LANE                                                                         SHELBY TOWNSHIP   MI    48316

DAVID STUTZMAN                                    53844 BUCKINGHAM LANE                                                                         SHELBY TOWNSHIP   MI    48316

DAVID SUBRAMANIAM & SHAMALA SUBRAMANIAM JT 5 BARLEY CT                                                                                          PLAINSBORO        NJ    08536‐3100
TEN
DAVID SULMAN                                  5318 BURNETT DR                                                                                   MADISON           WI    53705‐4610
DAVID SUSNOCK                                 419 PLEASANT PL WAY                                                                               BOWLING GREEN     KY    42104‐0381
DAVID SUTHERLAND                              7538 SETTERS POINTE DR                   APT 20                                                   BRIGHTON          MI    48116‐6705
DAVID SUTTON HIRSCHLER II                     1515 BLANFORD CIRCLE                                                                              NORFOLK           VA    23505‐1705
DAVID SWANBERG & BETTY I SWANBERG TR SWANBERG 2619 N FAIRMONT AVE                                                                               SANTA ANA         CA    92705‐6725
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DAVID SWIATKOWSKI CUST ASHLEY MARIE              5640 PARKWOOD                                                                                 GLADWIN          MI    48624‐8923
SWIATKOWSKI UGMA MI
DAVID SWIATKOWSKI CUST KELSEY KAY SWIATKOWSKI    5640 PARLWOOD                                                                                 GLADWIN          MI    48624
UGMA MI
DAVID SWILLEY                                    2207 PHOENIX                                                                                  SAGINAW          MI    48601‐2261
DAVID T ASTON                                    100 OHIO ST                          #B                                                       BANGOR           ME    04401‐4737
DAVID T BAILEY                                   1100 LAKEVIEW DR                                                                              SHARPS CHAPEL    TN    37866‐1792
DAVID T BOLAND CUST ELIZABETH ANN BOLAND UGMA    6 TARARACK RD                                                                                 ESSEX JUNCTION   VT    05452
CT
DAVID T BRAND CUST DEVIN T BRAND UTMA OH         PO BOX 3713                                                                                   CINCINNATI       OH    45201‐3713
DAVID T BRENDER                                  1196 OTTER AVE                                                                                WATERFORD        MI    48328‐4755
DAVID T BUTKOWSKI                                28350 EDWARD ST                                                                               ROSEVILLE        MI    48066‐2413
DAVID T CARTER                                   140 EDWIN DR                                                                                  IRWIN            PA    15642‐1065
DAVID T CUTTER                                   94 STILES RD                                                                                  BOYLSTON         MA    01505‐1508
DAVID T DEVEREAUX                                6679 N CANAL RD                                                                               LOCKPORT         NY    14094‐9401
DAVID T DURAN                                    443 S HUMBOLDT ST                                                                             DENVER           CO    80209‐2532
DAVID T GOLDMAN                                  6205 YORKSHIRE TERRACE                                                                        BETHESDA         MD    20814‐2243
DAVID T GRIESSEL                                 29124 CONGRESS                                                                                ROSEVILLE        MI    48066‐2260
DAVID T GROH                                     767 HUNTER COVE RD                                                                            ALLONS           TN    38541‐6944
DAVID T GUNNING                                  218 BAR HARBOR RD                                                                             PASADENA         MD    21122‐3021
DAVID T HARMAN & SARAH R HARMAN JT TEN           1795 PROVIDENCE RD                                                                            ALPHARETTA       GA    30004‐1231
DAVID T HAZELET                                  89 GLENHAVEN DR                                                                               AMHERST          NY    14228‐1853
DAVID T HIRAI                                    PO BOX 5371                                                                                   HACIENDA HEIG    CA    91745‐0371
DAVID T JOHNSON                                  16225 OXLEY RD                       APT 104                                                  SOUTHFIELD       MI    48075‐3562
DAVID T KAPELL                                   2148 SUMMIT AVE                                                                               MINNEAPOLIS      MN    55405‐2213
DAVID T KARR                                     19187 SCHICK RD                                                                               DEFIANCE         OH    43512‐8608
DAVID T KARR & CATHY J KARR JT TEN               19187 SCHICK RD                                                                               DEFIANCE         OH    43512‐8608
DAVID T KARZON                                   PO BOX 41060                                                                                  NASHVILLE        TN    37204‐1060
DAVID T LEAH                                     20545 PIEDMONT DR                                                                             CLINTON TOWNSHIP MI    48036‐2263

DAVID T LEAMAN                                   7194 FRANKENMUTH RD                                                                           VASSAR           MI    48768‐9498
DAVID T LINDSEY                                  2202 E BERGIN AVE                                                                             BURTON           MI    48529‐1782
DAVID T MATCHET TR UA 05/31/01 DAVID T MATCHET   BOX 7663                                                                                      LITTLE ROCK      AR    72217
REVOCABLE LIVING TRUST
DAVID T MCGREGOR                                 5196 NASH DRIVE                                                                               FLINT            MI    48506‐1581
DAVID T MCMULLEN                                 3552 W 4TH ST RD                                                                              MANSFIELD        OH    44903‐9300
DAVID T MITCHELL                                 121 SAINT MARKS DR                                                                            STOCKBRIDGE      GA    30281‐1096
DAVID T MONTGOMERY                               107 TABER DR                                                                                  CLAIRTON         PA    15025‐3149
DAVID T MOORE                                    5289 ROUTE 106                                                                                READING          VT    05062‐9734
DAVID T NEDERLANDER TR DAVID T NEDERLANDER REV   PO BOX 25048                                                                                  FRANKLIN         MI    48025
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DAVID T NESTOR                                   147 POTOMAC AVE                                                                               NILES            OH    44446‐2119
DAVID T OLCOTT                                   1141 EAST 9TH ST                                                                              TUCSON           AZ    85719‐5438
DAVID T OSHUST                                   969 SUCHAVA DR                                                                                WHITE LAKE       MI    48386‐4558
DAVID T PACKARD                                  PO BOX 594                                                                                    OXFORD           MA    01540‐0594
DAVID T PETTITT                                  385 BARON ROAD                                                                                NORTH EAST       MD    21901‐2735
DAVID T POE                                      5091N CR925W                                                                                  YORKTOWN         IN    47396‐9756
DAVID T POORE                                    14 DRAKE LANE                                                                                 FAIRFIELD        CT    06430‐2925
DAVID T RECIGNO                                  BOX 518                                                                                       WILLOW GROVE     PA    19090‐0518
DAVID T RICHMOND                                 639 AVALON LN                                                                                 ANNISTON         AL    36207‐8071
DAVID T RITLAND                                  29729 OAK SPRING LN                                                                           LIBERTYVILLE     IL    60048
DAVID T SCHLENKE                                 3304 WESTMINSTER                                                                              JANESVILLE       WI    53546‐9651
DAVID T SHEEKS                                   2023 RABBIT RUN                                                                               MARTINSVILLE     IN    46151‐6734
DAVID T SHEREMETA                                6814 BLOOMFIELD GROVE PL                                                                      SEFFNER          FL    33584‐2522
DAVID T STADDON                                  8576 EAST JORDAN RD                                                                           MT PLEASANT      MI    48853
DAVID T THOMAS                                   165 ELMWOOD LN                                                                                NAPLES           FL    34112‐3203
DAVID T THOMPSON JR                              BOX 1831                                                                                      WOODBRIDGE       VA    22195
DAVID T WERT                                     9533 ST RT 314 RT 8                                                                           MANSFIELD        OH    44904‐9408
DAVID T ZACHARY                                  3964 OBERLIN CT                                                                               TUCKER           GA    30084‐6034
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DAVID TANG                                         787 TANBARK DR                                                                                  DIMONDALE        MI      48821‐9792
DAVID TATE                                         238 MORNING RD                                                                                  WINDSOR          NC      27983‐8906
DAVID TAYLOR                                       3614 PROSPECT RD                                                                                BROWNVILLE       TN      38012‐6848
DAVID TAYLOR                                       2331 BONNIEVIEW AVE                                                                             DAYTON           OH      45431
DAVID TELFORD JR                                   102 WALNUT                                                                                      DAMIANSVILLE     IL      62215
DAVID TELLEFSEN                                    40622 WINDSOR DR                                                                                CLINTON TOWNSHIP MI      48038‐7119

DAVID TEMPLETON & MRS ANGELA TEMPLETON JT TEN 2803 SONOMA WAY                                                                                      ROCKLEDGE          FL    32955‐5179

DAVID TERRILL                                      PO BOX 760                                                                                      CAMPTON            KY    41301‐0760
DAVID TEUTEBERG                                    24 BEACHWAY RD                                                                                  EAST SANDWICH      MA    02537‐1136
DAVID THIERBACH                                    1127 TROTWOOD LANE                                                                              FLINT              MI    48507‐3710
DAVID THISTLEWOOD                                  36 LITTLE POND RD                                                                               MERRIMAC           MA    01860‐2258
DAVID THOMAS                                       20255 PRARIE                                                                                    DETROIT            MI    48221‐1270
DAVID THOMAS                                       3422 SUNSET                                                                                     SHREVEPORT         LA    71109‐1716
DAVID THOMAS JOHNSON                               7775 BROADWYN DR                                                                                REYNOLDSBURG       OH    43068‐2655
DAVID THOMAS JR                                    312 CHURCH ST                                                                                   FORTVILLE          IN    46040
DAVID THOMAS VAUGHAN                               8833 ABBEY LN                                                                                   ORLAND PARK        IL    60462
DAVID THOMAS WARGON SR                             2810 MADISON AVE                                                                                TRENTON            NJ    08638
DAVID THORPE                                       16119 DEW DROP LANE                                                                             TAMPA              FL    33625‐1362
DAVID TILEVITZ                                     67‐28 JUNO ST                                                                                   FOREST HILLS       NY    11375‐4141
DAVID TILEVITZ & NETTIE TILEVITZ JT TEN            67‐28 JUNO ST                                                                                   FOREST HILLS       NY    11375‐4141
DAVID TIMMER                                       6669 WEST H AVE                                                                                 KALAMAZOO          MI    49009‐8557
DAVID TINSLEY                                      207 ORCHARD RD                                                                                  ORINDA             CA    94563‐3531
DAVID TOBIAS LEVINE                                8271 LYNNHAVEN DR                                                                               CINCINNATI         OH    45236‐1411
DAVID TOLBERT                                      2205 CRESTWOOD                                                                                  ANDERSON           IN    46016‐2751
DAVID TOLL                                         112 CHATHAM COURT                                                                               MAPLE GLEN         PA    19002‐2865
DAVID TOMA                                         38 BENNETT CT                                                                                   E BRUNSWICK        NJ    08816‐3687
DAVID TORRES                                       3545 W 58TH ST                                                                                  CHICAGO            IL    60629‐3807
DAVID TREADWAY RUSSELL                             1720 ENSLEY AVE                                                                                 LOS ANGELES        CA    90024‐5329
DAVID TREJO                                        5026 NW WOODSIDE DR                                                                             RIVERSIDE          MO    64150‐3641
DAVID TRUNDLE                                      42 HIGHWOOD TER 2                                                                               WEEHAWKEN          NJ    07086
DAVID TUCK                                         10440 W 74TH PL                                                                                 ARVADA             CO    80005‐3871
DAVID TUCKER                                       551 LAKESIDE DR                                                                                 WATERFORD          MI    48328
DAVID TURNBULL                                     625 PLEASANT ST                                                                                 MITLON             MA    02186‐4139
DAVID TURNER                                       2120 FAIRFIELD RD                                                                               PORTAGE            MI    49002‐1548
DAVID TUSSEY                                       3430 LAREDO DR                                                                                  LEXINGTON          KY    40517‐2112
DAVID TUSSING CUST BRANDON TUSSING UTMA AZ         16604 S 16TH AVE                                                                                PHOENIX            AZ    85045

DAVID TWEEDIE                                      156 COQUINA KEY DRIVE                                                                           ORMOND BEACH       FL    32176
DAVID TWICHELL                                     40 N CENTER ST                         STE 200                                                  MESA               AZ    85201‐7300
DAVID U STEPZINSKI                                 2514 PENN BLVD                                                                                  LINDENHURST        IL    60046‐8558
DAVID U STEPZINSKI CUST DAVALYN LEE STEPZINSKI     2514 PENN BLVD                                                                                  LINDENHURST        IL    60046‐8558
UTMA IL
DAVID V ALLEN                                      280 LIBERTY ST                                                                                  PONTIAC            MI    48341‐1115
DAVID V ANDERSON                                   422 OAK PARK BL                                                                                 CEDAR FALLS        IA    50613‐1540
DAVID V ANTHONY                                    407 PRINCE ST                                                                                   ALEXANDRIA         VA    22314‐3113
DAVID V ARNST                                      11740 MONSBROOK COURT                                                                           STERLING HEIGHTS   MI    48312‐1429

DAVID V AZZINARO                                   20 WOODBURY DR                                                                                  LOCKPORT           NY    14094‐5935
DAVID V BENSON                                     25226 MARSH CREEK BLVD                 APT 104                                                  TRENTON            MI    48183‐6514
DAVID V BORTON                                     172 HOLFORD AVE                                                                                 NILES              OH    44446‐1717
DAVID V DEMARTINO                                  20 BROOKVIEW CIR                                                                                GREENVILLE         SC    29605‐3042
DAVID V EHLEN                                      5913 SUMMIT DRIVE                                                                               IMPERIAL           MO    63052‐2416
DAVID V FALZON                                     1375 LK AVE                                                                                     CLERMONT           FL    34711‐3041
DAVID V FRYE                                       1447 RJ BLVD                                                                                    MARTINSVILLE       IN    46151‐3000
DAVID V GAYDIK                                     158 FRANK ST                                                                                    WHITAKER           PA    15120‐2322
DAVID V GRAHAM & SUSAN K GRAHAM JT TEN             311 E RIVER ROAD                                                                                FLUSHING           MI    48433‐2139
DAVID V HAYS                                       2470 WHITESBRIDGE APT                                                                           LOWELL             MI    49331‐9284
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DAVID V HYLAND II                               PO BOX 2152                                                                                           SISTERS           OR    97759‐2152
DAVID V LENNON                                  1405 E 3RD STREET                                                                                     WINSTON SALEM     NC    27101‐4507
DAVID V LINDSAY                                 616 MELROSE AVE                                                                                       WILMINGTON        DE    19809‐3038
DAVID V LIPMAN                                  5701 CENTRE AVE APT 1505                                                                              PITTSBURGH        PA    15206‐3749
DAVID V MEADOWS                                 2106 KANAWHA BLVD E                   APT 127                                                         CHARLESTON        WV    25311‐2226
DAVID V MEICHER                                 1402 DAYTON DR                                                                                        JANESVILLE        WI    53546‐1472
DAVID V MINARD                                  4921 W RIVER DR NE                                                                                    COMSTOCK PARK     MI    49321‐8525
DAVID V MORONY                                  5402 OAKRIDGE DRIVE                                                                                   WILLOUGHBY        OH    44094‐3142
DAVID V MORROW                                  5200 BRIAR CREST CT                                                                                   FLINT             MI    48532‐2302
DAVID V REYNA                                   12727 LOUVRE ST                                                                                       PACOIMA           CA    91331‐1241
DAVID V ROSEN                                   79 COLDSPRING RD                                                                                      FREEHOLD          NJ    07728‐3006
DAVID V SIDDALL                                 HARBOUR ISLAND                        CRINAN                ARGYLL           PA31 8SW GREAT BRITAIN
DAVID V SPARTANA                                612 W CHESAPEAKE                                                                                      TOWSON            MD    21204‐6909
DAVID V SPENCER                                 2550 POPLAR HILL ROAD                                                                                 LIMA              NY    14485‐9540
DAVID V TRUPIANO & EVELYN S TRUPIANO JT TEN     2413 MELVIN LANE                                                                                      DE SOTO           MO    63020‐4901
DAVID V WALDER                                  5396 DUSHORE DRIVE                                                                                    DAYTON            OH    45427‐2730
DAVID V WEBBER                                  BOX 97                                                                                                CHADDS FORD       PA    19317‐0097
DAVID VAGOTT & MRS JEAN VAGOTT JT TEN           80 RT 31 NORTH                                                                                        PENNINGTON        NJ    08534‐3606
DAVID VALLIN                                    1315 RAVENSWOOD DR                                                                                    LANSING           MI    48917‐1721
DAVID VANNI                                     VILLA LES ECHELETTES                  CH‐1096 VILETTE VD                     SWITZERLAND
DAVID VANNI VILLA LES ECHELETTES                LES ECHELETTES                        CH 1096 VILLETTE VD                    SWITZERLAND
DAVID VANTHOF & MRS SHARON VANTHOF JT TEN       3373 HOAG N E                                                                                         GRAND RAPIDS      MI    49525‐9741

DAVID VARGO                                     6201 W FRANCIS RD                                                                                     CLIO              MI    48420‐8548
DAVID VARGO                                     6201 W FRANCIS RD                                                                                     CLIO              MI    48420‐8548
DAVID VARRIALE                                  150 ETON PL                                                                                           WEST HEMPSTEAD    NY    11552‐1606

DAVID VASQUEZ                                   2041 SUN CHARIOT DRIVE                                                                                EL PASO           TX    79938‐4497
DAVID VASSER HENTON                             1304 NORTH STREET                                                                                     AUSTIN            TX    78756‐2424
DAVID VEARL MAUDLIN                             5308 NEVADA AVE NORTH WEST                                                                            WASHINGTON        DC    20015
DAVID VEITCH & MRS GEORGIA THOMPSON VEITCH JT   6009 WEST DOC THOMPSON ROAD                                                                           PLANT CITY        FL    33565‐8170
TEN
DAVID VELDER                                    10 CLONAVOR RD                                                                                        WEST ORANGE       NJ    07052‐4304
DAVID VINCENT                                   176 MAPLE AVE                         APT 2‐8                                                         RUTLAND           MA    01543‐1328
DAVID W AALTO                                   33 BAILEY ROAD                                                                                        WEST TOWNSEND     MA    01474‐1125
DAVID W ABBOTT                                  6122 MORGANTOWN RD                                                                                    RUSSELLVILLE      KY    42276‐6403
DAVID W ALLEN                                   19230 FORD RD APT 721                                                                                 DEARBORN          MI    48128‐2011
DAVID W ANTCLIFF                                8640 GODFREY                                                                                          BELDING           MI    48809‐9421
DAVID W AYERS                                   2 MOUNTAINVIEW TER                    UNIT 3133                                                       DANBURY           CT    06810‐4168
DAVID W BAINBRIDGE                              2362 WILTSHIRE CT                     APT 206                                                         ROCHESTER HLS     MI    48309‐3152
DAVID W BAKER                                   416 MAPLE DRIVE                                                                                       COLUMBUS          OH    43228‐1113
DAVID W BALTER                                  268 PEARSALL PL                                                                                       LAWRENCE          NY    11559‐1521
DAVID W BARMORE                                 1266 PROSPECT PL                                                                                      CINCINNATI        OH    45231‐5525
DAVID W BARNES                                  285 SPORTSMAN DR                                                                                      SALISBURY         NC    28146‐2576
DAVID W BECKER                                  121 5TH AVE                                                                                           PLEASANT GRV      AL    35127
DAVID W BEISWENGER                              17842 REED POINT RD                                                                                   FISHERS LANDING   NY    13641
DAVID W BENN CUST REBECCA VALENE BENN U/THE     3/38 CHURCHHILL CRESCENT              CAMMERAY NSW                           2062 AUSTRALIA
NEW YORK U‐G‐M‐A
DAVID W BERRY                                   7845 CITY ROAD #97 RT #2                                                                              BELLVILLE         OH    44813
DAVID W BLADES                                  120 SWEET GUM DR                                                                                      HAMILTON          OH    45013‐3994
DAVID W BLAHU & GERTRUDE V BLAHU TR BLAHU       234 SOUTH LEAVITT ROAD                                                                                LEAVITTSBURG      OH    44430‐9722
FAMILY TRUST UA 11/1/00
DAVID W BOCKELMAN                               05530 ST RT 66N                                                                                       DEFIANCE          OH    43512‐9648
DAVID W BOROUGHF                                8092 WHEELER BOX 24                                                                                   WHEELER           MI    48662‐0024
DAVID W BOWEN U/GDNSHIP OF WILLIAM R BOWEN      4595 AVA LN                                                                                           CLARKSTON         MI    48348‐5176

DAVID W BOWLING CUST EMMA S BOWLING UTMA MO 2714 W EXECUTIVE CIR                                                                                      OZARK             MO    65721‐5961

DAVID W BRADOW                                  301 SMITH ST                          APT 33                                                          CLIO              MI    48420‐2057
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DAVID W BRIGHAM CUST JOHN PAUL BRIGHAM UTMA      9 PEMBROKE RD                                                                                   WESTON          MA    02493‐2246
MA
DAVID W BROWN                                    565 QUAIL RD                                                                                    MERRITT         NC    28556‐9635
DAVID W BROWN                                    1735 ALPINE ROAD                                                                                DOVER           PA    17315‐2116
DAVID W BROWN                                    RR 1 BOX 202                                                                                    FARMLAND        IN    47340‐9733
DAVID W BRYAN                                    17049 ROCK CREEK RD                                                                             THOMPSON        OH    44086‐8758
DAVID W BUCHANAN                                 3085 PINECREST WAY                                                                              AUBURN HILLS    MI    48326
DAVID W BULGER & COLLEEN D BARGET JT TEN         25060 DELMONT DR                                                                                NOVI            MI    48374‐2737
DAVID W BURDER                                   8670 WAUMEGAH RD                                                                                CLARKSTON       MI    48348‐2551
DAVID W BURKE                                    5841 VAN LOON RD                                                                                ALPINE          NY    14805‐9523
DAVID W BURNS & KATHLEEN J BURNS JT TEN          RD #8 BOX 552                          PARKLANE DRIVE                                           MEADVILLE       PA    16335‐8714
DAVID W CARROLL                                  5426 N 11TH STREET                                                                              ARLINGTON       VA    22205‐2421
DAVID W CARTER                                   240 E ROLSTON RD                                                                                LINDEN          MI    48451‐8404
DAVID W CARTER & KATHLEEN M CARTER JT TEN        10116 LIBERTY CIR.                                                                              LIBERTY         MO    64068
DAVID W CAVNAR                                   2120 SW 30TH ST                                                                                 OKLAHOMA CITY   OK    73170‐7909
DAVID W CHARLEY                                  134 LAFFERTY                           LA SALLE ON                            N9J 1J9 CANADA
DAVID W CHENAULT                                 550 GARFIELD AVE #203                                                                           COCOA BEACH     FL    32931‐4068
DAVID W CHILDS                                   3036 STATE ST                                                                                   SAGINAW         MI    48602‐3653
DAVID W CHIO                                     19224 MARILYN                                                                                   NORTHVILLE      MI    48167‐2627
DAVID W CHOATE SR                                RT 1 BOX 174‐A                                                                                  EVENING SHADE   AR    72532‐9731
DAVID W CLARK                                    581 MADISON HILL RD                                                                             CLARK           NJ    07066‐3103
DAVID W CLARKE                                   309 WADSWORTH                                                                                   MAYSVILLE       KY    41056‐9679
DAVID W COLE                                     2745 SHIMMONS RD                                                                                AUBURN HILLS    MI    48326‐2038
DAVID W COLLINS                                  PO BOX 273                                                                                      SURING          WI    54174‐0273
DAVID W CONN                                     33324 LYNX                                                                                      WESTLAND        MI    48185‐9443
DAVID W COOPER                                   23891 BIDERWELL RD                                                                              DEFIANCE        OH    43512‐9791
DAVID W CORRY                                    6035 GOODRICH RD                                                                                CLARENCE CTR    NY    14032‐9709
DAVID W COTEREL                                  1009 FAIRFAX AVENUE                                                                             DAYTON          OH    45431‐1015
DAVID W COX & BARBARA LEE COX JT TEN             294 RIDGEVIEW DR                                                                                E ROCHESTER     NY    14445‐1624
DAVID W CRAVENS                                  7964‐2 CAMINITO DIA                                                                             SAN DIEGO       CA    92122‐1615
DAVID W CRAWFORD                                 8327 E MONROE RD                                                                                RIDGEWAY        MI    49229‐9710
DAVID W CROMPTON & MRS JOANNE K CROMPTON JT      5456 W WILSON RD                                                                                CLIO            MI    48420‐9443
TEN
DAVID W CROSS                                    225 S JEFFERSON AVE                                                                             OTISVILLE       MI    48463
DAVID W CUMMINGS                                 110 S JOSEPHINE                                                                                 WATERFORD       MI    48328‐3812
DAVID W CUSICK                                   8964 UNITY CHURCH RD                                                                            DENVER          NC    28037‐8801
DAVID W DAILEY                                   5610 BUNCOMBE RD                       APT 806                                                  SHREVEPORT      LA    71129‐3616
DAVID W DANIELS                                  S‐187 TOWNLINE RD                                                                               LANCASTER       NY    14086
DAVID W DAWSON JR                                7380 W PIUTE AVE                                                                                GLENDALE        AZ    85308‐5637
DAVID W DEBRULER                                 522 ELLINGHAM DR                                                                                KATY            TX    77450‐1925
DAVID W DEMAREST                                 3 GARDEN LANE                                                                                   MONTVALE        NJ    07645‐1506
DAVID W DILLON CUST DAVID G DILLON UGMA CA       610 SOUTH MILLS AVE                                                                             LODI            CA    95242‐3430

DAVID W DILLON CUST STEPHANIE K DILLON UGMA CA   610 S MILLS AVE                                                                                 LODI            CA    95242‐3430

DAVID W DOWARD                                   297 CARTWRIGHT WAY                                                                              HAMILTON        MT    59840‐9107
DAVID W DRENZEK                                  6740 CRANE RD                                                                                   YPSILANTI       MI    48197‐8852
DAVID W DUBAUSKAS                                31147 ROTHBURY WAY                                                                              CHESTERFLD      MI    48047‐5930
                                                                                                                                                 TWNSHIP
DAVID W EARLY                                    108 MILMOUNT AVENUE                                                                             MILMOUNT PARK   PA    19033‐3312
DAVID W EDDY                                     185 COUNTY ROAD 419                                                                             MOUNTAIN HOME   AR    72653‐6827

DAVID W EDWARDS                                  PO BOX 1260                                                                                     PIONEER         CA    95666‐1260
DAVID W EICHHORN                                 1474 EAST 256TH ST                                                                              EUCLID          OH    44132‐2710
DAVID W ELBLE & SUSAN W ELBLE JT TEN             157 STATE ROUTE 38B                                                                             ENDICOTT        NY    13760‐6304
DAVID W ELLISON                                  1841 JUNE DRIVE                                                                                 XENIA           OH    45385‐3828
DAVID W EMM                                      30057 LEWIS RIDGE RD                                                                            EVERGREEN       CO    80439‐8727
DAVID W EPPLEY                                   PO BOX 565                                                                                      CPE CANAVERAL   FL    32920
DAVID W F MEHR                                   1 HAMILTON HEIGHTS DR                  APT 248                                                  WEST HARTFORD   CT    06119‐1176
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DAVID W FAY & MARTHA H FAY JT TEN                1511 E POWELL ST                                                                               SPRINGFIELD        MO    65804‐6453
DAVID W FEHRENKAMP                               2773 MEADOW PATH                                                                               NEW LENOX          IL    60451‐1808
DAVID W FERCANA                                  4665 CRABWOOD                                                                                  AUSTINTOWN         OH    44515‐5133
DAVID W FINKEL                                   16803 GLENSHANNON DR                                                                           HOUSTON            TX    77059‐5604
DAVID W FIRMAN & GAIL A FIRMAN JT TEN            6275 N ELMS RD                                                                                 FLUSHING           MI    48433‐9052
DAVID W FITZHUGH                                 43605 TIMBERVIEW DR                                                                            BELLEVILLE         MI    48111‐3336
DAVID W FLYNN                                    15151 RANCHO VINCENTE DR                                                                       RAMONA             CA    92065
DAVID W FOLGER                                   6899 WAYNESBORO HWY                                                                            LAWRENCEBURG       TN    38464‐6682
DAVID W FOX                                      4795 TIHCK RD                                                                                  CHAPEL HILL        TN    37034‐2648
DAVID W FRANKFURTH                               4718 PARKRIDGE                                                                                 WATERFORD          MI    48329‐1645
DAVID W FRAZIER & MRS CHRISTINE FRAZIER JT TEN   10 CONCORD ROAD                                                                                DOVER              DE    19904‐9107

DAVID W FURTAW                                   37837 CASTLE DR                                                                                ROMULUS            MI    48174‐4702
DAVID W GANSS                                    1144 POWELL                                                                                    FRUITA             CO    81521‐2087
DAVID W GARDNER                                  408 N STEWART AVE                                                                              LOMBARD            IL    60148‐1722
DAVID W GARLAND                                  310 JEFFERSON DAVIS DR                                                                         MARTINSVILLE       VA    24112‐0379
DAVID W GARLAND                                  22018 MAXINE                                                                                   ST CLAIR SHRS      MI    48080‐3549
DAVID W GARLING                                  11564 RAVENSBERG CT                                                                            CINCINNATI         OH    45240‐2020
DAVID W GEMMEL                                   450 KNIGHT CAMPGOUND ROAD                                                                      SHELBYVILLE        TN    37160
DAVID W GEORGE                                   1145 N PAW PAW PI                                                                              PERU               IN    46970‐8466
DAVID W GERARD & BARBARA B GERARD TEN COM        8822 HARBOR CIRCLE                                                                             TERRELL            NC    28682‐9742

DAVID W GERBER                                   2564 UPPER MOUNTAIN RD                                                                         SANBORN           NY     14132‐9318
DAVID W GLAMM & JEAN L GLAMM JT TEN              3304 ROYAL OAK DR                                                                              NORTH LITTLE ROCK AR     72116‐6941

DAVID W GONDOLY                                  7484 CLAREMONT ST                                                                              CANTON             MI    48187‐1535
DAVID W GOOKINS                                  8164 NORTH MICHIGAN ROAD                                                                       FOUNTAINTOWN       IN    46130‐9793
DAVID W GOULD & SHARON E GOULD JT TEN            4594 EAST SHORE DRIVE                                                                          CALEDONIA          MI    49316‐9617
DAVID W GREEN                                    606 DEERFIELD LANE                                                                             NORCROSS           GA    30093‐5001
DAVID W GREENE EX EST PAULINE C GREENE           6 DAY STAR DR                                                                                  EVANS              WV    25241
DAVID W GRESHEM                                  2651 SE GALAXY WAY                                                                             STUART             FL    34997‐6671
DAVID W GRIFFITH JR                              4130 WHITE HAWK LN                                                                             WINSTON SALEM      NC    27106‐2670
DAVID W GRISHAM                                  2960 FREYSVILLE ROAD                                                                           RED LION           PA    17356‐8737
DAVID W GROAT                                    5508 ROBIN                                                                                     GRAND BLANC        MI    48439‐7930
DAVID W GROSS                                    9435 NEW BUFFALO RD                                                                            CANFIELD           OH    44406‐9193
DAVID W GROSS                                    1402 ARLINGTON DRIVE                                                                           FAIRBORN           OH    45324‐5604
DAVID W GRYBEL                                   15232 IRENE                                                                                    SOUTHGATE          MI    48195‐2021
DAVID W GUFFEY                                   3084 ROLLING GREEN CIRCLES                                                                     ROCHESTER HILLS    MI    48309‐1250
DAVID W HAAK                                     PO BOX 185                                                                                     PARROTTSVILLE      TN    37843‐0185
DAVID W HAEGER & DOROTHY M HAEGER JT TEN         5081 LYN‐HILL DR                                                                               SWARTZ CREEK       MI    48473
DAVID W HAGEN                                    8056 DAWN DR                                                                                   STERLING HEIGHTS   MI    48314‐3300

DAVID W HAINES                                   256 RICHARDSON DRIVE                                                                           MILL VALLEY        CA    94941‐2519
DAVID W HAMM & JULIE E HAMM JT TEN               1200 NEBRASKA AVE                                                                              NORFOLK            NE    68701‐3730
DAVID W HANDY                                    6804 ROCHELLE DR                                                                               PLANO              TX    75023‐1047
DAVID W HANSON CUST CHRISTOPHER D HANSON         433 TEAGARDEN CT                                                                               MURPHY             TX    75094
UTMA TX
DAVID W HARDING                                  28201 LITTLE MACK AVE                                                                          ST CLR SHORES      MI    48081‐1504
DAVID W HARRELL                                  47042 HIDDEN RIVER CIRCLE                                                                      CANTON             MI    48188
DAVID W HARRIS                                   117 E NORTHRUP DR                                                                              OKLAHOMA CITY      OK    73110‐5225
DAVID W HARRIS CUST JOEL B HARRIS UGMA VA        PO BOX 143                                                                                     SOUTH STRAFFORD    VT    05070‐0143

DAVID W HARRIS CUST LAUREN E HARRIS UGMA VA      PO BOX 143                                                                                     SOUTH STRAFFORD VT       05070‐0143

DAVID W HARTZLER                                 510 DOUGLASTON ST                                                                              ORTONVILLE         MI    48462‐8525
DAVID W HASHMAN                                  7712 GORDON WAY                                                                                INDIANAPOLIS       IN    46237‐9663
DAVID W HASLEHURST & MRS CAROL L HASLEHURST JT   PO BOX 235                                                                                     ATTLEBORO          MA    02703
TEN
DAVID W HEALD                                    2154 DELAWARE DR                                                                               ANN ARBOR          MI    48103‐6017
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Name                                             Address1                               Address2             Address3          Address4          City            State Zip

DAVID W HEANY                                    4630 N KENWOOD AVE                                                                              KANSAS CITY     MO    64116‐1852
DAVID W HEIGHTON                                 313 JILLWOOD DR                                                                                 ENGLEWOOD       OH    45322‐2334
DAVID W HIBBERD CUST CHARLES DAVID HIBBERD       310 PLUM ST                                                                                     W BARNSTABLE    MA    02668‐1418
UGMA WY
DAVID W HICKMAN                                  109 CREEKSIDE DR                                                                                PULASKI          TN   38478‐8602
DAVID W HILL                                     635 ANSON ST APT I‐10                                                                           WINSTON‐SALEM    NC   27103‐3866
DAVID W HILL                                     1081 W 108TH ST                                                                                 CHICAGO          IL   60643‐3722
DAVID W HOFFMANN & JOANNE M HOFFMANN JT TEN      6075 WHIRLWIND DR                                                                               COLORADO SPRINGS CO   80918‐7560

DAVID W HOLMES II & SHERRI K HOLMES JT TEN    2202 E 3100 N                                                                                      LAYTON          UT    84040‐8417
DAVID W HOSKINS                               1070 SOUTHWYCK FARM RD                                                                             LAWSONVILLE     NC    27022‐8223
DAVID W HUMPHREYS & MAXINE M HUMPHREYS JT TEN 230 N COVE BLVD                                                                                    PANAMA CITY     FL    32401‐3877

DAVID W HUNTER                                   1347 BUTCHER RD                                                                                 FENTON          MI    48430‐1207
DAVID W HUSMAN                                   102 W MCELHANEY RD                                                                              TAYLORS         SC    29687‐5843
DAVID W HUTCHINS                                 5267 WOODCREEK TRAIL                                                                            CLARKSTON       MI    48346‐3971
DAVID W IGNASH                                   6167 SUN VALLEY DR                                                                              GRAND BLANC     MI    48439‐9167
DAVID W JAMES JR                                 11241 BLOTT RD                                                                                  NORTH JACKSON   OH    44451‐9758
DAVID W JARVIS                                   1235 S MILLHOUSEN ROAD                                                                          GREENSBURG      IN    47240
DAVID W JOHNSON                                  1940 KIRKLAND COURT                                                                             WIXOM           MI    48393‐1632
DAVID W JOLLEY                                   3608 W ST JOE                                                                                   GRAND LEDGE     MI    48837
DAVID W JONES                                    105 MARTIN STREET                                                                               ESSEX           MA    01929‐1217
DAVID W JONES CUST CARRIE ANN JONES UTMA OH      2336 NORTH WAYNE 2R                                                                             CHICAGO         IL    60614‐3119

DAVID W JONES CUST DAVID WILLIAM JONES IV UTMA   9226 ROYAL HIGHLANDS CT                                                                         CHARLOTTE       NC    28277‐1782
OH
DAVID W JONES CUST JENNIFER JANE JONES UTMA OH   9226 ROYAL HIGHLANDS CT                                                                         CHARLOTTE       NC    28277‐1782

DAVID W KASTNER                                  26835 BLUMFIELD                                                                                 ROSEVILLE        MI   48066‐3283
DAVID W KAUFFUNG                                 5228 STILLWELL BECKETT RD                                                                       OXFORD           OH   45056‐9096
DAVID W KELLER                                   304 BUCKLAND WAY                                                                                GREENVILLE       SC   29615‐6063
DAVID W KENNEDY                                  5960 GRASS VALLEY RD                                                                            RENO             NV   89510‐9703
DAVID W KERNS                                    PO BOX 431                                                                                      AUGUSTA          WV   26704‐0431
DAVID W KETELSEN                                 62 ALBERT ST                                                                                    DEPEW            NY   14043‐1049
DAVID W KEYES & DOREEN A KEYES JT TEN            BOX 50088                                                                                       BELLEVUE         WA   98015‐0088
DAVID W KING                                     1828 S L ST                                                                                     ELWOOD           IN   46036‐2922
DAVID W KLINE                                    3489 CLEARWATER DR                                                                              DAVISON          MI   48423‐8736
DAVID W KNAVEL                                   3354 CHRISTIE BLVD                                                                              TOLEDO           OH   43606‐2861
DAVID W KOLINSKI                                 6158 SAINT ANDREWS DRIVE                                                                        JANESVILLE       WI   53545‐8803
DAVID W KOOINGA                                  1294 HODGES AVE                                                                                 LAS VEGAS        NV   89123‐3163
DAVID W KOTARY                                   10371 NELSON ST                                                                                 BROOMFIELD       CO   80021‐3712
DAVID W KUECKEN                                  1090 WOODLOW                                                                                    WATERFORD        MI   48328‐1350
DAVID W LANDOLFI                                 103 LEAF CT                                                                                     FRANKLIN         TN   37067‐5002
DAVID W LANG JR                                  8361 OAKWOOD RD                                                                                 MILLERSVILLE     MD   21108‐1232
DAVID W LARSON                                   10405 AMHERST AVENUE                                                                            SILVER SPRING    MD   20902‐4140
DAVID W LAWRENCE                                 6123 E FRANCES RD                                                                               MOUNT MORRIS     MI   48458
DAVID W LE CATES                                 565 ADAMSON LN                                                                                  YORK             PA   17406‐8826
DAVID W LEFFELER                                 12250 PIKE 128                                                                                  FRANKFORD        MO   63441
DAVID W LEH                                      RD 3                                   BOX 3116                                                 EAST STROUDSBURG PA   18301‐9535

DAVID W LEMBKE & BARBARA R LEMBKE JT TEN         8340 EMIG ROAD                                                                                  MASCOUTAH       IL    62258‐2910
DAVID W LETTIERI                                 11021 VIVIAN DR NW                                                                              HUNTSVILLE      AL    35810‐1214
DAVID W MADDEN                                   2806 RAGSDALE RD                                                                                COLUMBIA        TN    38401‐1449
DAVID W MADICK                                   4449 GAULT RD                                                                                   NORTH JACKSON   OH    44451‐9713
DAVID W MANGANELLO                               4664 VANDALIA ST                                                                                COMMERCE        MI    48382‐3836
                                                                                                                                                 TOWNSHIP
DAVID W MANTLE                                   58 STURBRIDGE LANE                                                                              PITTSFORD       NY    14534‐4030
DAVID W MARCH                                    6761 WINAN S LAKE ROAD                                                                          BRIGHTON        MI    48116‐9119
DAVID W MASARIK                                  1000 W CLINTON AVE                                                                              SAINT JOHNS     MI    48879
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DAVID W MASTERS                                 2297 HENPECK LN                                                                               FRANKLIN          TN    37064‐5206
DAVID W MATTESON & SANDRA L MATTESON JT TEN     4685 ORMOND RD                                                                                DAVISBURG         MI    48350‐3315

DAVID W MATTHEWS                                1968 BERKSHIRE CLUB DRIVE                                                                     CINCINNATI        OH    45230‐2438
DAVID W MATTSON                                 355 CYPRESS RD                                                                                VENICE            FL    34293‐7851
DAVID W MAYES                                   135 SILVER LEAF DR                                                                            FAYETTEVILLE      GA    30214‐1033
DAVID W MCCONNELL                               925 BEDFORD PL                                                                                COLUMBIA          TN    38401‐6701
DAVID W MCDONALD                                115 WILLOUGHBY BLVD                                                                           GREENSBORO        NC    27408‐4414
DAVID W MCELWEE                                 99 STOVER RD                                                                                  ROCHESTER         NY    14624‐4460
DAVID W MCFARLAND IV                            RR 2 BOX 331H                                                                                 WILLIAMSBURG      PA    16693‐9726
DAVID W MCMANUS                                 18548 DELIGHT ST                                                                              CANYON CNTRY      CA    91351‐2909
DAVID W MCNAUGHT                                290 EAST ST                                                                                   EAST WALPOLE      MA    02032‐1109
DAVID W MELVIN                                  1008 MONROE TER                                                                               DOVER             DE    19904‐6957
DAVID W MESSER & OLIVIA H MESSER & KAYLA L      BOX 481                                                                                       PELZER            SC    29669
MESSER JT TEN
DAVID W MEYER                                   03265 HARPER RD                                                                               DEFIANCE          OH    43512‐9134
DAVID W MEYERS                                  2 ROCKY RIDGE ROAD                                                                            WESTPORT          CT    06880‐5119
DAVID W MIELKE                                  7607 SCHWEIGER ST                                                                             SHAWNEE           KS    66217‐3031
DAVID W MILLER & MRS NANCY G MILLER JT TEN      7617 ELGAR ST                                                                                 SPRINGFIELD       VA    22151‐2622
DAVID W MITCHELL                                428 ROGERS STREET                                                                             ATHENS            AL    35611‐2139
DAVID W MONREAL & JACQUELINE L MONREAL JT TEN   5611 LUELDA AVE                                                                               PARMA             OH    44129‐1934

DAVID W MONROE                                  130 MALLARD                                                                                   PERRYSBURG        OH    43551‐2538
DAVID W MORGAN                                  47 SMITH ST                                                                                   EAST HAMPTON      CT    06424‐1622
DAVID W MORRISON                                116 MARYLAND ST                                                                               HOLLISTON         MA    01746‐2036
DAVID W MORSEY                                  82 WEDGEWOOD DR                                                                               MANCHESTER        CT    06040‐2735
DAVID W MOSBAUGH                                273 SANDBROOK DR                                                                              NOBLESVILLE       IN    46062‐8180
DAVID W MOSBAUGH                                273 SANDBROOK DR                                                                              NOBLESVILLE       IN    46062‐8180
DAVID W MURDZA                                  718 HIDDEN CREEK DR                                                                           S LYON            MI    48178‐2525
DAVID W MURRAY & SIGRID S MURRAY JT TEN         241 PONDEROSA DR                                                                              GLENWOOD SPGS     CO    81601‐2634
DAVID W NAPORA                                  8 STREAM VIEW LN                                                                              LANCASTER         NY    14086‐3353
DAVID W NAZZARO                                 1099 EMMONS AVE                                                                               BIRMINGHAM        MI    48009‐2083
DAVID W NELSON                                  16 MERCER HILL ROAD                                                                           AMBLER            PA    19002‐5717
DAVID W NELSON                                  345 N ENGLEHART                                                                               DEFORD            MI    48729‐9789
DAVID W NICHOLSON                               204 PORTER DR                                                                                 ENGLEWOOD         OH    45322‐2448
DAVID W NIEVELT & BEVERLY A NIEVELT JT TEN      8627 W CAMPBELL AVE                                                                           PHOENIX           AZ    85037‐1507
DAVID W NORMAN                                  605 GERONIMO WAY                                                                              MUSTANG           OK    73064‐3628
DAVID W OLIKER                                  194 STAGE RD                                                                                  BALLSTON LAKE     NY    12019‐2607
DAVID W OLIVER                                  3324 SOMERSET ST SW                                                                           ROANOKE           VA    24014‐3129
DAVID W OLIVER                                  9804 HOWLAND SPRINGS RD                                                                       WARREN            OH    44484‐3111
DAVID W OLSON                                   43014 ARLINGTON RD                                                                            CANTON            MI    48187
DAVID W PARKS                                   1261 S ELM ST                                                                                 WEST CARROLLTON   OH    45449‐2360

DAVID W PASCHAL CUST AMANDA M PASCHAL UGMA      3731 BLUEBONNET CT                                                                            FLOWER MOUND      TX    75028‐1238
TX
DAVID W PASTORIUS                               7255 LONESOME PINE TRAIL                                                                      MEDINA            OH    44256‐7160
DAVID W PATAPOW                                 2617 CONNORS RD                                                                               BALDWINSVILLE     NY    13027‐9767
DAVID W PATERSON                                60 WENDOVER ROAD                     TORONTO ON                             M8X 2L3 CANADA
DAVID W PATTERSON                               131 N KIMBERLY AVE                   APT 92                                                   YOUNGSTOWN        OH    44515‐1874
DAVID W PATTERSON                               1055 E 2ND STREET                                                                             RED HILL          PA    18076
DAVID W PEOPLES                                 RT 1 BOX 217                                                                                  RAYVILLE          MO    64084‐9648
DAVID W PERKINS                                 1781 HILLSTATION ROAD                                                                         GOSHEN            OH    45122‐9731
DAVID W PERRY                                   2000 GETTYSBURG LN                                                                            COLUMBIA          TN    38401‐6813
DAVID W PERSHING                                201 PRESIDENT'S CIR #205                                                                      SALT LAKE CITY    UT    84112‐9007
DAVID W PHILLIPS                                5805 WESTCHESTER ST                                                                           ALEXANDRIA        VA    22310‐1149
DAVID W PICKETT                                 219 LUCKY LN                                                                                  PENDLETON         IN    46064‐9190
DAVID W PIERCE & BARBARA PIERCE JT TEN          401 PENNSYLVANIA AVE                                                                          CLAYMONT          DE    19703‐1922
DAVID W PRACHT                                  28382 VIA ORDAZ                                                                               SANJUAN           CA    92675‐2937
                                                                                                                                              CAPISTRANO
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DAVID W PREIMAN                                   7442 N SEELEY AVE APT 2N                                                                        CHICAGO        IL    60645‐2277
DAVID W PREMO & JEANNE M PREMO JT TEN             1313 ALPINE DR                                                                                  DEWITT         MI    48820‐9526
DAVID W PRYOR                                     906 DOLLINS ST                                                                                  WILBURTON      OK    74578‐3206
DAVID W PULLEYN                                   55 FREESE RD                                                                                    ITHACA         NY    14850‐9101
DAVID W RANDLES                                   404 S BRADY ST                                                                                  ATTICA         IN    47918‐1427
DAVID W READER                                    55 RIVERVIEW RD                                                                                 ROCKY HILL     CT    06067‐1530
DAVID W REEVES                                    7096 SOMERS GRATIS RD                                                                           CAMDEN         OH    45311‐8811
DAVID W REEVES & MARY T REEVES JT TEN             7096 SOMERS GRATIS RD                                                                           CAMDEN         OH    45311‐8811
DAVID W RENBACK                                   815 LAZY LN                                                                                     LAFAYETTE      IN    47904‐2721
DAVID W REPP CUST MAYA R REPP UTMA CA             5914 MONTE VERDE DR                                                                             SANTA ROSA     CA    95409
DAVID W REPP CUST SYDNEY P REPP UTMA CA           5914 MONTE VERDE DR                                                                             SANTA ROSA     CA    95409
DAVID W RICH                                      5764 HERBERT RD                                                                                 CANFIELD       OH    44406‐9701
DAVID W RINKER                                    3353 LOCKHEAD                                                                                   BURTON         MI    48529‐1059
DAVID W ROBINSON                                  3910 N WILLIAMSTON RD                                                                           WILLIAMSTON    MI    48895‐9602
DAVID W ROGERS                                    111 WEDGEWOOD FALLS DR                                                                          CANTON         GA    30114‐8928
DAVID W ROGERS                                    806 NEWTON ST                                                                                   LANSING        MI    48912‐4330
DAVID W ROGERS & DEBORAH L ROGERS JT TEN          7281 SINCLAIR RD                                                                                EAU CLAIRE     MI    49111‐9414
DAVID W ROSS                                      7687 BAY CIRCLE                                                                                 LIVERPOOL      NY    13090‐2613
DAVID W ROSS & SARA E ROSS JT TEN                 6705 LEXINGTON                                                                                  AUSTIN         TX    78757‐4370
DAVID W ROSZEL                                    1415 BOLTON ST                                                                                  BALTIMORE      MD    21217‐4202
DAVID W ROWE & ANN K ROWE JT TEN                  209 PARK                                                                                        HARRISON       MI    48625‐8622
DAVID W RUHLMAN                                   4705 SWOISH RD                                                                                  NORTH BRANCH   MI    48461‐8938
DAVID W RUTLEDGE                                  2484 LAFAYETTE ST                                                                               WINTERVILLE    NC    28590‐8677
DAVID W SAMONS                                    205 SPANISH TR F                                                                                ROCHESTER      NY    14612‐4626
DAVID W SAWYER                                    10360 E EATON HWY                                                                               GRAND LEDGE    MI    48837‐9166
DAVID W SAXTON                                    54 STANLEY STREET                      BLACK ROCK VICTORIA                    3193 AUSTRALIA
DAVID W SCAMMELL III                              118 KINGS COVE CIRCLE                                                                           LAFAYETTE      LA    70508‐0214
DAVID W SCHNEIDER & PATRICIA L SCHNEIDER JT TEN   210 WOODLAND DR                                                                                 JACKSONVILLE   NC    28540

DAVID W SCHRUMPF                                  121 PONDS VIEW DR                                                                               ANN ARBOR       MI   48103‐6941
DAVID W SCOTT                                     446 SUTTON RD                                                                                   CINCINNATI      OH   45230‐3525
DAVID W SCOTT                                     595 HAINES NECK ROAD                                                                            WOODSTOWN       NJ   08098
DAVID W SEIFERT                                   345 CLAYTON MANOR DRIVE                                                                         MIDDLETOWN      DE   19709‐8859
DAVID W SETSER                                    5963 FAIRHAM RD                                                                                 HAMILTON        OH   45011‐2036
DAVID W SHAYER                                    PO BOX 1018                                                                                     MAPLEVILLE      RI   02839‐1018
DAVID W SHEEHAN                                   21810 DARBY‐POTTERSBURG RD                                                                      MARYSVILLE      OH   43040‐8510
DAVID W SHER                                      5708 W 68TH ST                                                                                  EDINA           MN   55439‐1362
DAVID W SHIFTON & JO ANN SHIFTON JT TEN           134 COLEMAN ROAD                                                                                HAMILTON SQUARE NJ   08690‐3904

DAVID W SHULTZ                                    3 WILLOW SPRING DRIVE                                                                           MORRISTOWN     NJ    07960‐2832
DAVID W SHUMAN                                    4016 DAISY HILL LANE                                                                            LEXINGTON      KY    40514‐1541
DAVID W SIMMON                                    864 N NORWAY DR                                                                                 FOWLER         MI    48835‐9120
DAVID W SIMON                                     116 NORTH WISNER ST                                                                             JACKSON        MI    49202‐4135
DAVID W SIMON & WILLARD B SIMON JT TEN            116 NORTH WISNER ST                                                                             JACKSON        MI    49202‐4135
DAVID W SINCLAIR                                  1160 WINDSOR PKWY NE                   APT 3                                                    ATLANTA        GA    30319‐1078
DAVID W SLAUSON CUST ARIEL M SLAUSON UTMA CA      30135 MADLOY ST                                                                                 CASTAIC        CA    91384‐3213

DAVID W SLAUSON CUST DAVID A SLAUSON UTMA CA      30135 MADLOY ST                                                                                 CASTAIC        CA    91384‐3213

DAVID W SLAUSON CUST TANIA M SLAUSON UTMA CA      30135 MADLOY ST                                                                                 CASTAIC        CA    91384‐3213

DAVID W SLAYTON                                   6030 WILD TURKEY RD                                                                             GRAND BLANC    MI    48439‐7980
DAVID W SMITH                                     11942 HICKORY LN                                                                                TAVARES        FL    32778‐4725
DAVID W SMITH                                     5831 W BASELINE RD                                                                              ONONDAGA       MI    49264‐9617
DAVID W SMITH                                     19675 LOONEY RD                                                                                 ATHENS         AL    35613‐5136
DAVID W SMITH                                     6255 TELEGRAPH RD LOT 314                                                                       ERIE           MI    48133‐8402
DAVID W SMITH                                     103 WINDWARD DRIVE                                                                              PORTSMOUTH     RI    02871
DAVID W SNYDER                                    10118 DARLINGTON RD                                                                             COLUMBIA       MD    21044‐1413
DAVID W SPECHT                                    161 N 1ST STREET                                                                                BETHPAGE       NY    11714‐2128
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DAVID W STEFFLER JR                             149 LESNETT RD                                                                                   FOMBELL            PA    16123‐1609
DAVID W STEPHEN & FORREST W STEPHEN JT TEN      331 PLANTATION ACRES                                                                             NEWBERRY           SC    29108‐7660
DAVID W STEWART                                 6531 EAST SWAMP RD                                                                               CONESUS            NY    14435‐9730
DAVID W STEWART                                 C/O VIRGINIA E STEWART                  264 ASHBY DR                                             STUART             VA    24171‐4501
DAVID W STONE                                   2217 MOUNDS ROAD                                                                                 ANDERSON           IN    46016‐5716
DAVID W STRACHAN                                1000 N CHIPMAN ST                                                                                OWOSSO             MI    48867‐4925
DAVID W STRUBLE                                 442 W BRIDGE ST                                                                                  LYONS              MI    48851‐8634
DAVID W SUTTON                                  454 WILWOOD WAY                                                                                  SOMERVILLE         AL    35670‐3853
DAVID W TALLEY & KATHLEEN E TALLEY JT TEN       1317 PEACH STREET                                                                                BOOTHWYN           PA    19061‐3026
DAVID W TAYLOR                                  1302 BRYCKER CT                                                                                  APEX               NC    27502‐4810
DAVID W TAYLOR                                  5900 DOWNS RD NW                                                                                 WARREN             OH    44481‐9417
DAVID W TAYLOR                                  804 REID RD                                                                                      LAUREL             MS    39443‐9630
DAVID W TAYLOR                                  19108 US HIGHWAY 14                                                                              SUNDANCE           WY    82729‐9210
DAVID W THOMAS & KATHERINE L THOMAS JT TEN      40 SARATOGA LN NORTH                                                                             PLYMOUTH           MN    55441‐6217

DAVID W THOMAS JR                               1010 W ADAMS ST                                                                                  SANDUSKY           OH    44870‐2200
DAVID W THOMPSON                                52 GOODRICH RD                                                                                   FOSTORIA           MI    48435‐9701
DAVID W THOMPSON                                6471 WOODRIDGE RD                                                                                ALEXANDRIA         VA    22312‐1337
DAVID W TOWNSEND                                234 LANCELOT LANE                                                                                FRANKLIN           TN    37064‐0718
DAVID W TREMBA                                  829 FAIRFIELD DR                                                                                 YOUNGSTOWN         OH    44512‐6447
DAVID W TYRRELL                                 1321 MINUET ST                                                                                   HENDERSON          NV    89052‐6433
DAVID W TYRRELL & SARAH E TYRRELL JT TEN        1321 MINUET ST                                                                                   HENDERSON          NV    89052‐6433
DAVID W VAN BROCKLIN                            PO BOX 885                                                                                       BOYNE CITY         MI    49712‐0885
DAVID W VANLANDINGHAM                           2572 SAINT CHARLES CIR                                                                           UNION              KY    41091‐8697
DAVID W VARGO                                   995 FISHER RD                                                                                    GROSSE POINTE      MI    48230‐1204
DAVID W VULBROCK & JUDY VULBROCK JT TEN         648 CHATHAM ROAD                                                                                 GLENVIEW           IL    60025‐4402
DAVID W WAGGONER                                12294 BROOKVILLE‐PYRMONT                                                                         BROOKVILLE         OH    45309‐9703
DAVID W WALTERS & KRISTINE M WALTERS JT TEN     11200 LESURE                                                                                     STERLING HEIGHTS   MI    48312‐1249

DAVID W WANNER                                  8100 CLYO RD                            118                                                      CENTERVILLE        OH    45458
DAVID W WASKE                                   4025 SHADOW OAK CT                                                                               FENTON             MI    48430‐9122
DAVID W WEBSTER EX EST SELINA M WEBSTER         PO BOX 177                                                                                       SHELBURNE          VT    05482
DAVID W WELTY                                   4513 KING EDWARD CT                                                                              ANNANDALE          VA    22003‐5744
DAVID W WHITE                                   4203 MILL ST                                                                                     N BRANCH           MI    48461‐9388
DAVID W WHITEHEAD                               2395 MILLBROOK CT                                                                                ROCHESTER          MI    48306‐3144
DAVID W WHITTLESEY                              PO BOX 1776                                                                                      PRESCOTT           AZ    86302‐1776
DAVID W WILLIAMS                                5421 OLIVE RD                                                                                    TROTWOOD           OH    45426‐1429
DAVID W WILLIAMS                                204 N MAIN ST                           APT 6                                                    COUPEVILLE         WA    98239‐3424
DAVID W WILLIAMS                                2527 KINGSRIDGE                                                                                  DALLAS             TX    75287‐5835
DAVID W WILLISTON                               40 BOYDS VALLEY DR                                                                               NEWARK             DE    19711‐4824
DAVID W WILSON                                  3048 LONGVIEW AVE                                                                                ROCHESTER          MI    48307‐5567
DAVID W WILSON & KEVIN M WILSON JT TEN          3072 FORT PARK                                                                                   LINCOLN PARK       MI    48146‐3375
DAVID W WIRICK                                  5530 PYLES RD                                                                                    COLUMBIAVILLE      MI    48421‐8730
DAVID W WITTKOPP                                4855 AIRLINE DR                         APT 19B                                                  BOSSIER CITY       LA    71111‐6630
DAVID W WOOD                                    1132 HOUSTON SPRINGS RD                                                                          GREENBACK          TN    37742‐4479
DAVID W WOODOCK                                 2725 BARDELL DRIVE                                                                               WILMINGTON         DE    19808‐2166
DAVID W WOODS                                   422 N BUCHANAN ST                                                                                EDWARDSVILLE       IL    62025‐1745
DAVID W WRIGHT                                  11548 STATE RD                                                                                   ST JOHNS           MI    48879‐8514
DAVID W WRIGHT & JANET M WRIGHT JT TEN          3504 CARYN                                                                                       MELVINDALE         MI    48122‐1137
DAVID W YOUNGMAN                                7 YANKEE COURT                                                                                   ROCHESTER          NY    14624‐4970
DAVID W ZECK                                    10817 WINDROSE POINT AVE                                                                         LAS VEGAS          NV    89134‐5425
DAVID WACHS                                     1001 CITY AVE                           APT WB814                                                WYNNEWOOD          PA    19096‐3985
DAVID WADE SMITH                                BOX 6                                                                                            HOOD               VA    22723‐0006
DAVID WADE SMITH                                28515 SIERRA DR                                                                                  NEW BRAUNFELS      TX    78132‐2627
DAVID WADE WILLIAMS                             3616 KENTLAND DR                                                                                 ROANOKE            VA    24018‐2514
DAVID WAINWRIGHT PEAKE JR                       309 LUCKENBACH RD                                                                                FREDERICKSBURG     TX    78624‐7457
DAVID WALKER                                    9000 CLOVERLAWN                                                                                  DETROIT            MI    48204‐2707
DAVID WALKER                                    5642 GREEN MEADOW RD SW                                                                          ROANOKE            VA    24018‐3228
DAVID WALTER THORNBURY                          1724 APPOMATTOX ROAD                                                                             LEXINGTON          KY    40504‐2210
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DAVID WANHAU CHAN                                 1804 S BUCHANAN                                                                               KENNEWICK        WA    99338‐1816
DAVID WARREN GREENFIELD                           3605 S CREEK CT                                                                               CHESAPEAKE       VA    23325‐2122
DAVID WARREN MILLER                               1120 S ADAMS                                                                                  DENVER           CO    80210‐2102
DAVID WARREN TORANGO & LINDA ANN TORANGO JT       21558 SHERMAN                                                                                 SOUTHFIELD       MI    48034‐4389
TEN
DAVID WARZALA & SUSAN WARZALA JT TEN              41504 FALCON AVE                                                                              NORTH BRANCH     MN    55056‐5250
DAVID WATKINS                                     414 EAST RIDGEWAY AVE                                                                         FLINT            MI    48505‐5218
DAVID WATKINS JR & MYRTLE WATKINS JT TEN          414 E RIDGEWAY                                                                                FLINT            MI    48505‐5218
DAVID WATSON                                      534 N E 95 ST                                                                                 MIAMI SHORES     FL    33138‐2732
DAVID WATTS & TAMMY WATTS JT TEN                  12268 DIANA NATALICIO DR                                                                      EL PASO          TX    79936‐6884
DAVID WAX UNDER GUARDIANSHIP OF G LYNN WAX        3226 MAPLE LEAF DRIVE                                                                         GLENVIEW         IL    60025‐1125

DAVID WAYNE CURTIS                                133 GRETA DRIVE                                                                               ALVATON          KY    42122‐9508
DAVID WAYNE PARKER                                37 PHEASANT RUN                                                                               NORTH GRANBY     CT    06060‐1016
DAVID WAYNE SMITH                                 RR #1 BOX 1427                                                                                NICHOLSON        PA    18446‐9457
DAVID WAYNE TURNER                                10201 BERNIE CT                                                                               INDIANAPOLIS     IN    46229‐1876
DAVID WEAVER & JEAN J WEAVER JT TEN               5099 S LINDEN ROAD                                                                            SWARTZ CREEK     MI    48473‐8201
DAVID WEBB                                        16236 CHEYENNE                                                                                DETROIT          MI    48235‐4292
DAVID WELLINGTON                                  58564 LIND RD                                                                                 WASHINGTON       MI    48094‐2738
DAVID WESLEY BERKEY                               24583 EBELDEN AVE                                                                             NEWHALL          CA    91321‐3745
DAVID WESTPHAL                                    2370 CLYDES DALE LN                                                                           MISSOULA         MT    59804‐9783
DAVID WHITE & VIRGINIA B WHITE TR THE WHITE       8057 SE PAUROTIS LN                                                                           HOBE SOUND       FL    33455‐8253
LIVING TRUST UA 08/22/95
DAVID WHITESELL                                   3221 SAYBROOK CT                                                                              DUBLIN           OH    43017‐1696
DAVID WILCOX                                      66 SPRING ST                                                                                  LOCKPORT         NY    14094‐3074
DAVID WILDER                                      1778 WALDEN CT                                                                                ENGLEWOOD        FL    34224‐5067
DAVID WILKOWSKI                                   673 MALTA CT NE                                                                               ST PETERSBURG    FL    33703‐3109
DAVID WILLIAM HALLOWELL                           443 E 900 S                                                                                   PENDLETON        IN    46064‐9396
DAVID WILLIAM MC GEE                              1053 CLONSILLA AVE                   PETERBOROUGH ON                        K9J 5Y2 CANADA
DAVID WILLIAM PEGG                                7750 W NIXON RD                                                                               YORKTOWN         IN    47396‐9003
DAVID WILLIAM PORTZ                               3971 N ROSEBUD CT SE APT 2                                                                    GRAND RAPIDS     MI    49512‐9563
DAVID WILLIAM SEIDENBERG                          51 DEBORAH SAMPSON ST                                                                         SHARON           MA    02067‐2208
DAVID WILLIAM WISE                                PO BOX 2896                                                                                   LA CROSSE        WI    54602‐2896
DAVID WILLIAMS                                    C/O BRENDA JOYCE WILLIAMS            PO BOX 20284                                             WHITE HALL       AR    71602
DAVID WILLIAMS                                    433 S 17TH ST                                                                                 SAGINAW          MI    48601‐2057
DAVID WILLIAMS                                    9500S 500W STE 206                                                                            SANDY            UT    84070‐6506
DAVID WILLITS                                     39250 DELANY RD                                                                               WADSWORTH        IL    60083‐9726
DAVID WILSON                                      1509 RANDY CT                                                                                 FLINT            MI    48505‐2523
DAVID WILSON CUST PATRICK B WILSON UTMA AL UNIL   3700 BROOKWOOD RD                                                                             BIRMINGHAM       AL    35223‐1539
AGE 21
DAVID WIRSHING                                    24 PHEASANT RIDGE PL                                                                          HENDERSON        NV    89014‐2107
DAVID WIRTH JR                                    1283 WALTON NICHOLSON                                                                         WALTON           KY    41094‐8795
DAVID WITMER KINNEY                               791 HOLLISTER STREET                                                                          STAYTON          OR    97383‐1334
DAVID WOLLIN                                      1903 S 19TH STREET                                                                            GRAND FORKS      ND    58201
DAVID WOLTZ                                       2418 GRAYSTONE DR                                                                             OKEMOS           MI    48864‐3275
DAVID WOOD                                        12091 W BALD EAGLE                                                                            CRYSTAL RIVER    FL    34429‐5277
DAVID WOODBRIDGE & LORI WOODBRIDGE JT TEN         316 ST CLAIR AVE                                                                              MINGO JUNCTION   OH    43938‐1135

DAVID WORTHY                                      5664 BRIDGE POINTE DRIVE                                                                      ALPHARETTA       GA    30005‐4474
DAVID WRIGHT & JANICE ANN WRIGHT JT TEN           9055 SW 60TH COURT RD                                                                         OCALA            FL    34476‐8658
DAVID WUTKE CUST COLLEEN M WUTKE UGMA MI          11095 FLAMINGO ST                                                                             LIVONIA          MI    48150‐2913

DAVID WUTKE CUST DAVID E WUTKE UGMA MI            11095 FLAMINGO ST                                                                             LIVONIA          MI    48150‐2913
DAVID WYLIE                                       1515 THE FAIRWAY                     APT 364 BROOKSIDE                                        JENKINTOWN       PA    19046‐1455
DAVID Y HSIA                                      2589 TAYLOR DR                                                                                TROY             MI    48083‐6910
DAVID Y W YOUNG                                   19845 NW PAULINA DR                                                                           PORTLAND         OR    97229‐2835
DAVID YANG & JENNY YANG & PEI LING YANG JT TEN    2712 S UNION AVE                                                                              CHICAGO          IL    60616‐2537

DAVID YIN‐CHIEH LIN                               1682 ATKINSON PARK CIRCLE                                                                     LAWRENCEVILLE    GA    30043‐7937
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DAVID YOUNG                                      1601 MARMORA AVENUE                                                                                 ATLANTIC CITY     NJ    08401‐2250
DAVID YUEN                                       9006 HARTFORD HILLS GARTH                                                                           BALTIMORE         MD    21234
DAVID Z BARTON                                   2489 HUNTER RD                                                                                      BRIGHTON          MI    48114‐4916
DAVID Z EDWARDS                                  2908 CEDAR KEY DRIVE                                                                                LAKE ORION        MI    48360‐1832
DAVID Z EDWARDS & JULIE A EDWARDS JT TEN         2908 CEDAR KEY DRIVE                                                                                LAKE ORION        MI    48360‐1832
DAVID ZACH                                       733 FLORENCE AVE                                                                                    ST LOUIS          MO    63119‐4933
DAVID ZAJC                                       616 PERKINS CIR                                                                                     BRUNSWICK         OH    44212‐2266
DAVID ZAKALIK & EDWARD ZAKALIK JT TEN            6490 ASPEN RIDGE DRIVE                                                                              WEST BLOOMFIELD   MI    48322‐4439

DAVID ZALMAN                                     15 SCHERMERHORN ST                                                                                  BROOKLYN          NY    11201‐4802
DAVID ZATZ                                       21308 SUMMERTRACE CIRCLE                                                                            BOCA RATON        FL    33428‐1178
DAVID ZITTLE                                     6005 SOUTHWEST 58TH COURT                                                                           DAVIE             FL    33314‐7314
DAVIDA A BLUM CUST JAMES D BLUM 3RD UGMA MD      PO BOX 41                                                                                           BUTLER            MD    21023‐0041

DAVIDA A WOODS                                   8366 CORALBERRY LANE                                                                                JACKSONVILLE      FL    32244‐6108
DAVIDA D HRABE                                   BOX 170                                                                                             ROSELAND          VA    22967‐0170
DAVIDA Y CHANG                                   20 CONFUCIUS PLAZA APT 44E                                                                          NEW YORK          NY    10002‐6729
DAVIDENE RANDOLPH                                202 JEFFERSON AVE                                                                                   BROOKLYN          NY    11216‐1709
DAVIE MORRIS                                     2616 17TH AVE N                                                                                     COLUMBUS          MS    39701‐2639
DAVIEN R HOLTBERG                                20927 COUNTY ROAD 200                                                                               BELGRADE          MN    56312‐9702
DAVIEN R HOLTBERG & JANICE LEE HOLTBERG JT TEN   RFD 1 20927 CO RD 200                                                                               BELGRADE          MN    56312‐9702

DAVIN H BASTONERO                               23597 E SEBREE RD                                                                                    CANTON            IL    61520‐8767
DAVINA ALISSA MCNENLY                           1541 VETERANS ROAD                     PO BOX 562                   ERRINGTON BC   V0R 1V0 CANADA
DAVINDER KAUR TALWAR                            27254 NORTHMORE                                                                                      DEARBORN HTS      MI    48127‐3644
DAVIS ANGLIN                                    15885 GILCHRIST                                                                                      DETROIT           MI    48227‐1578
DAVIS BROOKS                                    19955 MARK TWAIN                                                                                     DETROIT           MI    48235‐1608
DAVIS FOUNDATION                                344 OCEAN AVENUE                                                                                     GRETNA            LA    70053‐4727
DAVIS GORDON MAYES & MRS MARY JOSEPHINE MAYES 126 VILLAGE DR                                                                                         GEORGETOWN        TX    78628‐2757
JT TEN
DAVIS L GATES                                   3 SANDRA LN                                                                                          SPARTA            NJ    07871
DAVIS L GAYLE                                   8261 BURR DRIVE                                                                                      MECHANICSVILLE    VA    23111‐1415
DAVIS L PEYTON                                  1095 OVERLAND LN                                                                                     LINCOLN           CA    95648‐8155
DAVIS M FLOYD JR                                PO BOX 391                                                                                           JACKSON           SC    29831‐0391
DAVIS P WALKER                                  PO BOX 558                                                                                           GROVETOWN         GA    30813‐0558
DAVIS R TRIMBLE JR                              PO BOX 43                                                                                            STAFFORDSVILLE    KY    41256‐0043
DAVIT HILLS                                     1702 ABE                                                                                             SHREVEPORT        LA    71108‐3402
DAVONNA J JACKSON CUST JASPER R JACKSON UTMA OK 3511 PARKER                                                                                          MCALESTER         OK    74501

DAVONNA J JACKSON CUST RACI A JACKSON UTMA OK    3511 PARKER PLACE                                                                                   MCALESTER         OK    74501

DAVUD H ROUSH                                    PO BOX 330                            NIAGRA ON THE LAKE ONTARIO                  L0S 1J0 CANADA
DAVY L SNELL                                     55993 SEWANEE TR                                                                                    COLON             MI    49040‐9504
DAW HUNTER                                       4249 WILLOW CREEK DRIVE                                                                             DAYTON            OH    45415‐1940
DAWIN L WRIGHT                                   3668 EDINBOROUGH CT                                                                                 ROCHESTER HILLS   MI    48306‐3632
DAWIN L WRIGHT & CAROLYN M WRIGHT JT TEN         3668 EDIN BOROUGH CT                                                                                ROCHESTER HILLS   MI    48306
DAWIN L WRIGHT CUST BRIANA L GREEN UTMA MI       3668 EDINBOROUGH CT                                                                                 ROCHESTER HILLS   MI    48306‐3632

DAWIN L WRIGHT CUST DARYN L FLOURNEY UTMA MI     3668 EDINBOROUGH                                                                                    ROCHESTER HILLS   MI    48306‐3632

DAWIN L WRIGHT CUST JARED K FLOURNOY UTMA MI     3668 EDINBOROUGH                                                                                    ROCHESTER HILLS   MI    48306‐3632

DAWIN L WRIGHT CUST JESSICA S GREEN UTMA MI      3668 EDINBOROUGH DR                                                                                 ROCHESTER HILLS   MI    48306‐3632

DAWIN L WRIGHT CUST NICOLE GREEN UGMA MI     3668 EDINBOROUGH                                                                                        ROCHESTER         MI    48306
DAWN A BROWN                                 13726 DE ALCALA DRIVE                                                                                   LA MIRADA         CA    90638‐3622
DAWN A HLAVATY CUST ANDREA M HLAVATY UGMA MI 40121 WOODSIDE DRIVE                                                                                    NORTHVILLE        MI    48167

DAWN A JANKOWSKI                                 8938 EAGLECOVE DRIVE                                                                                HOUSTON           TX    77064‐8601
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DAWN A KLOOSTER                                12306 NORTHLAND DR                                                                             CEDAR SPRINGS     MI    49319‐8450
DAWN A NICKESON CUST CONNOR A TWEDDLE UTMA 2133 GRAYSON PL                                                                                    FALLS CHURCH      VA    22043
VA
DAWN A NICKESON CUST GILLIEN M TWEDDLE UTMA VA 2133 GRAYSON PL                                                                                FALLS CHURCH      VA    22043
(21)
DAWN A PHILLIPS                                217 SUNDOWN DR                                                                                 DAWSONVILLE       GA    30534‐7303
DAWN A WILLETT                                 3406 HIDDEN RD                                                                                 BAY CITY          MI    48706‐1242
DAWN BEUTLER                                   5451 MYSTIC OAKS DR                                                                            IMPERIAL          MO    63052‐3444
DAWN BRENNAN CUST DEVIN IDEMA UTMA NY          12 PINE TREE DR                                                                                POUGHKEEPSIE      NY    12603‐5225
DAWN BRIGHTMAN RIECK                           18712 SOUNDVIEW PL                                                                             EDMONDS           WA    98020‐2384
DAWN BUTLER                                    27364 CLARPOINTE                                                                               WARREN            MI    48093‐4769
DAWN C HOBACK                                  5963 CHICKADEE DR                                                                              LAKELAND          FL    33809‐7601
DAWN C LANGIEWICS & MARY F LANGIEWICS JT TEN   23205 AVON                                                                                     ST CLAIR SHORES   MI    48082‐2021

DAWN C RYAN                                      8800 20TH AVE                                                                                BROOKLYN          NY    11214‐4849
DAWN C SCHROEDER TR UA 07/15/2005 DAWN C         8309 W BEHREND DR                                                                            PEORIA            AZ    85382‐8799
SCHROEDER REV TRUST
DAWN CIARFALIO CUST TIANA MARIE CIARFALIO UTMA   20300 VANOWEN ST                    # 25                                                     WINNETKA          CA    91306‐4312
CA
DAWN COCHRAN                                     659 KENDALLWOOD COURT                                                                        CRYSTAL LAKE      IL    60014
DAWN D BYRD                                      375 ISLAND BEACH BLVD                                                                        MERRITT ISLAND    FL    32952‐5064
DAWN D COLE                                      40031 NOTTINGHAM TRAIL                                                                       ZEPHYRHILLS       FL    33540‐7707
DAWN D COYLE                                     100 17TH ST SUITE 405                                                                        ROCK ISLAND       IL    61201‐8717
DAWN D GOKEY                                     88 FORT COVINGTON STREET                                                                     MALONE            NY    12953‐1005
DAWN D GRAVINK                                   ATTN DAWN KULOW                     2335 5TH AVE                                             YOUNGSTOWN        OH    44504‐1839
DAWN D HUBBLE                                    1114 PENDLE HILL AVE                                                                         PENDLETON         IN    46064‐9122
DAWN D JACKSON                                   2096 S STATE ROAD                                                                            DAVISON           MI    48423‐8632
DAWN DELIGHT BARRY                               4016 E 50TH ST                                                                               MT MORRIS         MI    48458‐9417
DAWN DI FRANCESCO                                21721 MILLER AVE                                                                             EUCLID            OH    44119‐2359
DAWN DITZHAZY                                    7 RUST LANE                                                                                  SAGINAW           MI    48602‐1920
DAWN E BERGER                                    52950 CREGLOW                                                                                MARCELLUS         MI    49067‐9308
DAWN E BRAY                                      6475 LAWYERS HILL RD                                                                         ELKRIDGE          MD    21075‐5213
DAWN E BUNDY                                     16 SHANNON CT                                                                                WEST SAND LAKE    NY    12196‐9600
DAWN E CLARK                                     232 BURNCOAST ST                                                                             WORCESTER         MA    01606‐2131
DAWN E ERBIG                                     68 REDWOOD DR W                                                                              BRICK             NJ    08723‐3324
DAWN E FELDSINE                                  12 KNOLLVIEW DR                                                                              PAWLING           NY    12564‐1138
DAWN E GILBERT                                   681 GEORGE ST                                                                                CLYDE             OH    43410‐1317
DAWN E HOERLE                                    1625 FORD BLVD                                                                               LINCOLN PARK      MI    48146‐3903
DAWN E JOHNSON                                   109 N PALM ST                                                                                JANESVILLE        WI    53545‐3548
DAWN E LEEDS                                     3935 WOLCOTT TERR                                                                            WEST BLOOMFIELD   MI    48323‐1078

DAWN E MAC ELROY                                 702 MARTRY RD                                                                                DURHAM            NC    27713‐7220
DAWN E MINARDI & JOHN & MICHAEL & HEATHER        7 BROOKFIELD RD                                                                              EAST HAVEN        CT    06512‐1202
MINARDI JT TEN
DAWN E RISLEY                                    124 BAKER‐HIRKEY ROAD                                                                        TUNKHANNOCK       PA    18657
DAWN E ZAK                                       2779 MUSSEN                                                                                  WALLED LAKE       MI    48390‐1455
DAWN EVANGELISTA                                 18471 HUNT RD                                                                                STRONGSVILLE      OH    44136‐8403
DAWN F KRUPP                                     PO BOX 132                                                                                   LANSDALE          PA    19446‐0132
DAWN F MOORE                                     1709 WILBERFORCE CI                                                                          FLINT             MI    48503‐5243
DAWN FAYE SMITH‐CRISP                            PO BOX 1462                                                                                  MIDLAND           MI    48641‐1462
DAWN G RYAN                                      6465 LAHRING ROAD                                                                            GAINES            MI    48436‐9758
DAWN H MC ARDEL & NEIL MC ARDEL JT TEN           40 FIRST ST                                                                                  KENVIL            NJ    07847‐2516
DAWN HASKINS                                     4046 E GEDDES CIRCLE                                                                         LITTLETON         CO    80122‐2283
DAWN HELTON                                      8355 FAWN VALLEY DR                                                                          CLARKSTON         MI    48348‐4547
DAWN HOOK ALTSCHULER                             34 ASPRION ROAD                                                                              GUNMONT           NY    12077‐3300
DAWN J ROWE                                      501 ALLEN DR                                                                                 EULESS            TX    76039‐2055
DAWN J TAYLOR                                    11022 YANKEE ST                                                                              FREDERICKTOWN     OH    43019‐9359
DAWN JACOBS                                      26409 MORNING VIEW DR                                                                        PAISLEY           FL    32767‐9427
DAWN JENKINS                                     34431 SIMS                                                                                   WAYNE             MI    48184
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DAWN K CLAPHAM CUST SEANTI CLAPHAM UTMA CA   4622 SEDA DR                                                                                  SAN DIEGO        CA    92124‐2323

DAWN K COCHRANE                              51500 BEDFORD                                                                                 NEW BALTIMORE    MI    48047‐3278
DAWN K NICHOLS                               7002 COLLEGE HEIGHTS DR                                                                       HYATTSVILLE      MD    20782
DAWN KATHERINE NORTON CUST KRYSTAL DAWN      21 HICKORY DRIVE                                                                              STANHOPE         NJ    07824
NORTON UTMA NJ
DAWN KOBER                                   15232 HILLTOP DR                     C/O DAWN CRONIN                                          ORLAND PARK      IL    60462‐3529
DAWN L BASNER                                32 BREER RD                                                                                   BARRE            VT    05641‐8674
DAWN L CATER                                 2297 SOUTH DAYSVILLE ROAD                                                                     OREGON           IL    61061‐9780
DAWN L JOHNSON                               8119 NE 149TH ST                                                                              KENMORE          WA    98028‐4929
DAWN L KOSTECZKO                             223 ZANDHOEK ROAD                                                                             HURLEY           NY    12443‐5711
DAWN L KRUGER & GERALD L KRUGER JT TEN       PO BOX 871                                                                                    BRECKENRIDGE     CO    80424‐0871
DAWN L NELSON                                9306 PRARIE VIEW CT                                                                           ROSCOE           IL    61073‐7145
DAWN L RIGGLE                                13241 NURKKALA RD                                                                             BRUCE CROSSING   MI    49912‐8820
DAWN L WALKER                                855 WELTY AVE                                                                                 BELOIT           WI    53511
DAWN L WILSON                                558 SAINT JAMES                                                                               MARYSVILLE       MI    48040‐1325
DAWN L WRIGHT CUST KENDAL ELIZABETH FLOURNOY 3668 EDINBOROUGH                                                                              ROCHESTER        MI    48306
UTMA MI
DAWN L ZABODSKY                              1346 RADCLIFFE LANE                                                                           SCHAUMBERG       IL    60193‐3353
DAWN LEMAR & DOUGLAS CHAPIN JT TEN           PO BOX 7313                                                                                   GROTON           CT    06340‐7313
DAWN LOUISE HARRINGTON                       RR 1                                                                                          WODEN            IA    50484‐9801
DAWN LYNN DICK                               495 CROSS LINK DR                                                                             ANGIER           NC    27501‐5819
DAWN LYNNE WILLIAMS                          206 MACEY LANE                                                                                BOSSIER CITY     LA    71111‐8212
DAWN M ANSCHUETZ                             7400 E POTTER RD                                                                              DAVISON          MI    48423‐9520
DAWN M BALDWIN CUST MISS LAURIE BALDWIN UGMA 243 OAKWOOD CT                                                                                IONIA            MI    48846‐1273
MI
DAWN M BICKERSTAFF                           1501 E SUGNET RD                                                                              MIDLAND          MI    48642‐3747
DAWN M BOYER & BROOK L BOYER TEN ENT         90 FIELDSTONE LN                                                                              PORT MATILDA     PA    16870
DAWN M BRADFIELD                             6668 W 9 MILE RD                                                                              IRONS            MI    49644‐7106
DAWN M CASSIDAY                              130 MANLEY ST                                                                                 HOLLAND          MI    49424‐2110
DAWN M CHORBAGIAN CUST DREW E CHORBAGIAN     1055 WILLIAM STREET                                                                           PLYMOUTH         MI    48170
UTMA MI
DAWN M CHROBAK                               3140 DUPONT DR                                                                                JANESVILLE       WI    53546‐9024
DAWN M CORDRAY                               630 HAWK LANE                                                                                 BROWNSBURG       IN    46112
DAWN M COULTER                               1599 LASSITER TERRACE                APT 504              GLOUCESTER ON     K1J 8R6 CANADA
DAWN M COVINGTON‐JONES                       1419 STACY DR                        # 29                                                     CANTON           MI    48188‐1476
DAWN M CRADDOCK                              439 W SOUTH ST                                                                                MASON            MI    48854‐1911
DAWN M CUMMINGS                              4334 FAIRMONT DRIVE                                                                           GRAND PRAIRIE    TX    75052‐4310
DAWN M DOBBERT                               544 AVENUE B                                                                                  REDONDO BEACH    CA    90277‐4826
DAWN M EATON                                 PO BOX 362                                                                                    JAMESTOWN        PA    16134
DAWN M FULGHUM                               6804 STETTER DR                                                                               ARLINGTON        TX    76001‐7561
DAWN M HASSELBRING                           ATTN DAWN M LUDWIG                   1526 BECKENHAM DR                                        BLOOMINGTON      IL    61704‐7629
DAWN M HAWLEY                                7388 SOUTH DURAND ROAD                                                                        DURAND           MI    48429‐9401
DAWN M HESS                                  2740 CHARLESGATE SW                                                                           WYOMING PARK     MI    49509‐2066
DAWN M HOOK                                  34 ASPRION ROAD                                                                               GLENMONT         NY    12077‐3300
DAWN M HUDAK                                 ATTN DAWN M NICOLSON                 79 NAKATA AVE                                            FAIRHAVEN        MA    02719‐2011
DAWN M HUGHES‐CROOKS CUST KAYLA M CROOKS     24 CALECHE AVE                       COURTICE ON                            L1E 3A3 CANADA

DAWN M JOHNSON                               C/O MILLER                           323 SHADY ACRES                                          LUCAS            KY    42156‐9306
DAWN M LAUGHLIN                              1233 TOWER LN                                                                                 ERIE             PA    16505‐2535
DAWN M O'CONNOR                              2103 KELLY CIR                                                                                SHAKOPEE         MN    55379‐8026
DAWN M PIROSKO & MARY M PIROSKO JT TEN       5754 SANBURN AVENUE                                                                           SHELBY TWP       MI    48316‐2437
DAWN M PRICE                                 3658 ST MARY                                                                                  AUBURN HILLS     MI    48326‐1442
DAWN M SCHULTER TR DAWN M SCHULTER REVOCABLE 1031 KNOX                                                                                     BIRMINGHAM       MI    48009‐5774
TRUST UA 03/15/00
DAWN M SIMPSON                               7709 POPE RUN                                                                                 SYLVANIA         OH    43560‐1836
DAWN M SPEZIA & DOUGLAS M SPEZIA JT TEN      5754 SANDBURN                                                                                 SHELBY TWP       MI    48316‐2437
DAWN M ST GERMAIN                            27755 29 MILE RD                                                                              LENOX TOWNSHIP   MI    48050‐2122
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DAWN M SUMERACKI                                 7070 BERWYN ST                                                                                 DEARBORN HTS      MI    48127
DAWN M TAYLOR                                    4501 HOWELL BRANCH RD                                                                          WINTER PARK       FL    32792‐7359
DAWN M THROENLE                                  7181 BRIDGES LANE                                                                              CINCINNATI        OH    45230‐2114
DAWN M URICEK                                    7072 DONELSON TR                                                                               DAVISON           MI    48423‐2320
DAWN M WOLFF & FREDERICK G WOLFF JT TEN          5111 ISLAND VIEW CIRCLE S                                                                      POLK CITY         FL    33868
DAWN M WOLSKI                                    124 MARSH AVENUE                                                                               SAYREVILLE        NJ    08872‐1347
DAWN MARIE BERRY                                 907 W BROAD ST                                                                                 LINDEN            MI    48451‐8767
DAWN MARIE FERGUSON                              1100 TORREY RD                        STE 100                                                  FENTON            MI    48430‐3327
DAWN MARIE GORRIS & ALLEN JOSEPH GORRIS JT TEN   3614 CAPALDI CIRCLE                                                                            ORION             MI    48359‐1401

DAWN MARIE LAUBACH                             26015 UPTON CRK                                                                                  SAN ANTONIO       TX    78260‐2406
DAWN MARIE MALCOMNSON CUST JESSE RAY           7513 E BASELINE RD                                                                               WHITE CLOUD       MI    49349‐8527
MALCOMNSON UGMA MI
DAWN MARIE MATZKE                              10458 SHERIDAN AVE                                                                               MONTROSE          MI    48457‐9169
DAWN MARIE METZGER                             439 LIMESTONE DRIVE                                                                              EULESS            TX    76039‐3663
DAWN MARIE PRYOR                               603 E JACKSON RD                                                                                 SAINT LOUIS       MO    63119‐4213
DAWN MARIE WELDON                              ATTN DAWN MARIE LEONARD                 3361 TRACY DR                                            SANTA CLARA       CA    95051‐6426
DAWN MAY                                       8503 EPHRAIM RD                                                                                  AUSTIN            TX    78717‐5445
DAWN MAYER                                     3339 NW SPENCE ST                                                                                PORTLAND          OR    97229‐8056
DAWN OCONNOR & THOMAS OCONNOR JT TEN           601 E HARRISON AVE                                                                               ROYAL OAK         MI    48067
DAWN P HYATT                                   13641 IOWA ST                                                                                    WESTMINSTER       CA    92683‐2639
DAWN P KNOX                                    71 PAVILION STREET                                                                               ROCHESTER         NY    14620‐2852
DAWN PAVLUSHIK                                 C/O NELSON                              928 LACEBARK STREET                                      SAN MARCOS        CA    92069‐2145
DAWN PETR                                      43 LADWOOD DR                                                                                    HOLMDEL           NJ    07733‐2308
DAWN PINGHERA                                  111 COUNTRY FLOWER RD                                                                            NEWARK            DE    19711
DAWN PRESTON                                   1206 MATHESON ST                                                                                 JANESVILLE        WI    53545‐1816
DAWN R GLICK                                   ROUTE 2                                                                                          NEW BLOOMFLD      MO    65063‐9802
DAWN R HOOKER                                  3621 RUTHERFORD DR                                                                               SPRING HILL       TN    37174‐2176
DAWN R JAPINGA WILSON CUST SCOTT STEVEN WILSON 901 W STATE ST                                                                                   ST JOHNS          MI    48879‐1403
UGMA MI
DAWN R SWIGER CUST MADISON L SWIGER UTMA NC    7805 NEW RIDGE ST                                                                                YOUNGSVILLE       NC    27596‐8886

DAWN R SWIGER CUST NOLAN H SWIGER UTMA NC        7805 NEW RIDGE ST                                                                              YOUNGSVILLE       NC    27596‐8886

DAWN R TORRENCE                                  403 E MONROE AVE                                                                               PERU              IN    46970‐1256
DAWN ROBIN SCHWARTZ                              405 GREEN MOUNTAIN RD                                                                          MAHWAH            NJ    07430‐2729
DAWN ROSS CUST JAMES R ROSS UTMA NJ              75 NORMAN AVE                                                                                  LAKE HIAWATHA     NJ    07034‐3008
DAWN S HATFIELD                                  32005 VIA CORDOBA                                                                              TEMECULA          CA    92592‐1058
DAWN S TOGNOLI                                   294‐31 AVENUE                                                                                  SAN FRANCISCO     CA    94121
DAWN SHELDON                                     ATTN DAWN HUCK                        11392 GREENTREE                                          WARREN            MI    48093‐2595
DAWN SHERINE LAURDES LVIS CUST CHARMAINE LUVIS   1018 HEATHERLOCK DRIVE                                                                         GASTONIA          NC    28054‐6480
UGMA NC
DAWN T HEIPLE & ROGER L HEIPLE JR JT TEN         2991 MOHAWK LANE                                                                               ROCHESTER HILLS   MI    48306‐3834
DAWN T JACOBI                                    213 ORMOND MEADOWS DR                                                                          DESTREHAN         LA    70047‐4033
DAWN T SMITH                                     1633 E HYDE PARK BLVD                                                                          CHICAGO           IL    60615‐3152
DAWN V CHUBB                                     3289 LAROSA                                                                                    COMMERCE TWP      MI    48382‐4532
DAWN V HASKELL                                   9425 COCHISE LN                                                                                PORT RICHEY       FL    34668‐4602
DAWN VAN HOEK                                    2490 SCIO ROAD                                                                                 DEXTON            MI    48130‐9716
DAWN VERONA RICHARDS                             47691 NOLA DR                                                                                  MACOMB            MI    48044‐2694
DAWN WEHRHEIM                                    507 E HOSACK                                                                                   BOERNE            TX    78006‐2735
DAWN WEILBACHER CUST HALEY WEILBACHER UTMA IL    1250 FLORAVILLE RD                                                                             WATERLOO          IL    62298‐3112

DAWN WILBANKS CUST GEORGIA A SMITH UGMA AL       PO BOX 366                                                                                     GOODWATER         AL    35072‐0366

DAWN Y DAVIS TOD DEBRA J PATO SUBJECT TO STA TOD 88 ORIOLE RD                                                                                   PONTIAC           MI    48341‐1562
RULES
DAWN Y DAVIS TOD JOSPEH MARK DAVIS SUBJECT TO    88 ORIOLE RD                                                                                   PONTIAC           MI    48341‐1562
STA TOD RULES
DAWN Y FURFARO                                   52 CAROLYN RD                                                                                  CARMEL            NY    10512
                                              09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DAWN Y GAPSHES                                      19112 CALYPSO                                                                                  MACOMB           MI    48044
DAWNA L PIERCE                                      5410 PARKDALE RD                                                                               KNOXVILLE        TN    37912
DAWNA L YOUNG                                       5 GREG CT                                                                                      WALLINGFORD      CT    06492‐2415
DAWNA RAMOS                                         24 MALLERY PLACE                                                                               WILKES BARRE     PA    18702‐2361
DAWNA S MENDENHALL                                  10349 E COUNTY RD 400 S                                                                        COATESVILLE      IN    46121‐9756
DAWNE C GIFFORD                                     2701 EBENEZER RD                                                                               CINCINNATTI      OH    45233‐1762
DAWNE COUNTS                                        591 WHITE CABIN RD                                                                             ROSCOMMON        MI    48653‐8002
DAWNE ELIZABETH PERRY                               1974 S CLARKSON ST                                                                             DENVER           CO    80210‐4104
DAWNE L ALLEN                                       4018 AVENUE J                                                                                  BROOKLYN         NY    11210‐4440
DAWNE LEWIS COTHERN                                 C/O DAWNE L SAWYER                    6627 BRANCH RD                                           HAYES            VA    23072‐3016
DAWNE MARIE COUNTS                                  591 WHITE CABIN RD                                                                             ROSCOMMON        MI    48653‐8002
DAWNEEN K THORSTAD                                  ATTN DAWNEEN T BEEDY                  955 RAE DR                                               HARTLAND         WI    53029‐1153
DAWNEEN MARIE NELSON BROWN                          4639 E PEARCE RD                                                                               PHOENIX          AZ    85044‐1126
DAWNETTE A HALL                                     5927 HIDDEN CREEK LAN                                                                          FRISCO           TX    75034‐4645
DAWSON B TURNER                                     696 S 5 PT RD                                                                                  WEST CHESTER     PA    19382‐4607
DAWSON F WARRINGTON CUST MISS ROBYN                 PO BOX 7782                                                                                    NEWARK           DE    19714‐7782
WARRINGTON UGMA DE
DAY GILMER WATSON                                   4902 BRIARWOOD PLACE                                                                           DALLAS           TX    75209‐2004
DAY LISCHMANN & THOMAS C LISCHMANN JT TEN           15417 COURT RD                                                                                 MINNETONKA       MN    55345‐2806

DAYL S DONALDSON                                    PO BOX 2255                                                                                    WEST COLUMBIA    SC    29171‐2255
DAYLE K LEWIS                                       1892 RESERVOIR RD                                                                              RICHMOND         IN    47374‐1727
DAYLE L GARRETT                                     3321 HOLLYWOOD                                                                                 DEARBORN         MI    48124‐4360
DAYLE L SOLBERG & GLENN E SOLBERG JT TEN            6896 DIAMOND CT                                                                                POLLOCK PINES    CA    95726‐9512
DAYLY LEE & JEAN LEE TR UA 04/07/92 THE DAYLY LEE   7310 CAMINO DEL REY STREET                                                                     SACRAMENTO       CA    95831‐4006
AND JEAN LEE
DAYMON ROBERTS                                      1007 MILLS ROAD                                                                                WILMINGTON       OH    45177‐9079
DAYMOND W BRANNON                                   5107 BASSETT                                                                                   ATWATER          OH    44201‐9385
DAYNA D STEWART                                     3543 KEYSER PKWY                                                                               CUYAHOGA FALLS   OH    44223‐3544
DAYNE A MELICK CUST BRUCE MELICK UTMA (IA)          4335 CLOVERDALE RD                                                                             CEDAR RAPIDS     IA    52411‐6816
DAYNE DEHAVEN                                       1019 HUBBLE DR                                                                                 HOLLY            MI    48442‐1032
DAYSE E YEPEZ                                       16625 BONANZA DRIVE                                                                            RIVERSIDE        CA    92504‐5706
DAYTON A CLUTTER                                    210 SOUTH BROADWAY ST                                                                          LODI             OH    44254‐1328
DAYTON D ARMSTRONG                                  1516 CO RD 94                                                                                  MOULTON          AL    35650‐4522
DAYTON D NEWMAN                                     1044 W ROWLAND ST                                                                              FLINT            MI    48507‐4047
DAYTON I HICKS                                      32366 MARQUETTE                                                                                GARDEN CITY      MI    48135‐3247
DAYTON T SHANAHAN & KARRON J SHANAHAN JT TEN        1030 CORTEZ DR                                                                                 WEIDMAN          MI    48893‐8838

DAYTON TRUBEE CUST JENNIFER TRUBEE UGMA NJ          1001 ST PAUL ST                                                                                BALTIMORE        MD    21202‐2605

DAYTON TRUBEE CUST SUSAN TRUBEE UGMA NJ             326 FIRSIT STREETR #27                                                                         ANNAPOLIS        MD    21403‐1422
DAZONG WANG                                         2504 AVONHURST DR                                                                              TROY             MI    48084‐1002
DBMC LIMITED                                        7229 HARDWICK RD                                                                               ABILENE          TX    79606
DCOM INDUSTRIES OF VIRGINIA INC                     ATTN ROBERT L MOTT                    219 HIGHLAND AVE                                         SUFFOLK          VA    23434‐3715
DE ANGELO BALAGOT                                   PSC 473 BOX 864                                                                                FPO              AP    96349‐5555
DE ETTA GEHRES & ROBERT EARL GEHRES JT TEN          243 N STEVENSON STA RD                                                                         CHANDLER         IN    47610‐9221
DE K JOHNSON                                        2419 HILTON AVE                                                                                WAVERLY          IA    50677‐9034
DE LORIS M MCCABE TR DE LORIS M MCCABE TRUST OF     911 ST ANDREW                                                                                  UPLAND           CA    91784‐9143
2002 UA 03/07/02
DE M THOMAS                                         9649 ARTESIAN                                                                                  DETROIT          MI    48228‐1335
DE SIMONE CADILLAC CO                               1200 ROUTE 73                                                                                  MOUNT LAUREL     NJ    08054‐2214
DE WALT J WILLARD JR                                50 S WISNER ST                                                                                 FREDERICK        MD    21701‐5652
DE WAYNE D CROLL                                    111 ROADS END LN                                                                               BUTLER           PA    16001‐1395
DE WITT CEMETERY ASSOCIATION                                                                                                                       DE WITT          MO    64639
DE WITT M BULL III                                  7365 COURTLY RD                                                                                WOODBURY         MN    55125‐1658
DE‐ANNE E CAMPOS                                    1744 LAKE HEIGHTS CIR                                                                          DACULA           GA    30019
DEA ANDERSEN KLINE TR DEA ANDERSEN KLINE            1642 COURTS MEADOW CV                                                                          COLLIERVILLE     TN    38017‐8319
REVOCABLE TRUST UA 8/19/02
DEACONESS HOSPITAL                                  PO BOX 518                                                                                     SPOKANE          WA    99210‐0518
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DEAMOUS O BOWLES                             2100 DOVE LOOP RD                         LOT 52                                                   GRAPEVINE        TX    76051
DEAN A BENTLEY                               9315 IRISH ROAD                                                                                    GOODRICH         MI    48438‐9423
DEAN A BURNETT                               3826 COMMON RD                                                                                     WARREN           MI    48092‐3359
DEAN A CARROLL                               6632 HEDGEWOOD CT                                                                                  WATERFORD        MI    48327‐3868
DEAN A CASTEEL                               18248 CONSTITUTION CIR                                                                             FORT MYERS       FL    33912‐3063
DEAN A CORNFORD                              2930 BRITT ROAD                                                                                    JANESVILLE       WI    53545‐9435
DEAN A CORNFORD & JANICE R CORNFORD JT TEN   2930 BRITT ROAD                                                                                    JANESVILLE       WI    53545‐9435
DEAN A CORNFORD CUST MARK A CORNFORD UGMA WI 5612 SPLENDOR VALLEY DR                                                                            JANESVILLE       WI    53545‐8731

DEAN A DYER                                    3825 W TERRITORIAL RD                                                                            RIVES JUNCTION   MI    49277‐9641
DEAN A ENGLE & RITA M ENGLE JT TEN             129 BEECHWOOD PL                                                                                 BLUFFTON         IN    46714‐1036
DEAN A FELTON                                  328 S CLIFTON ST                                                                                 ANDREWS          IN    46702‐9420
DEAN A FINDLAY                                 1133 WILSON SCHOL ROAD                                                                           CHAPEL HILL      TN    37034‐2654
DEAN A FORNEY & DARLA R FORNEY JT TEN          2135 E 1000 S                                                                                    MARKLEVILLE      IN    46056‐9722
DEAN A GUST                                    1055 CROSBY N W                                                                                  GRAND RAPIDS     MI    49504‐3054
DEAN A HANSOTTE                                2864 MEADE STREET S                                                                              ARLINGTON        VA    22206
DEAN A HARDEN & CANDACE R HARDEN JT TEN        3421 TEQUESTA LANE                                                                               BIRMINGHAM       AL    35226‐2129
DEAN A HOFFMANN                                1421 JAMIE LN                                                                                    WATERLOO         IL    62298‐5571
DEAN A MCKEAN                                  1634 STATE ROUTE 314 S                                                                           MANSFIELD        OH    44903‐9426
DEAN A MOLDE                                   1422 N PASEO MARAVILLOSO                                                                         GREEN VALLEY     AZ    85614‐3625
DEAN A PALMER                                  3838 SHERMAN ST                                                                                  BRIDGEPORT       MI    48722‐0048
DEAN A PALMER & BEVERLY J PALMER JT TEN        3838 SHERMAN ST                                                                                  BRIDGEPORT       MI    48722‐0048
DEAN A PIEPER                                  9561 IOSCO RIDGE DR                                                                              GREGORY          MI    48137‐9788
DEAN A RUSSELL                                 2641 TIMBER LANE DR                                                                              FLUSHING         MI    48433‐3506
DEAN A SANTOR                                  29 CASS ST                                                                                       MERIDEN          CT    06450‐5906
DEAN A SHIPLEY                                 7373 EAST STATE ROUTE 571                                                                        TIPP CITY        OH    45371‐8552
DEAN A SMITH                                   30223 FOX RUN                                                                                    BEVERLY HILLS    MI    48025‐4724
DEAN A STEVENS II                              3274 E 100 N                                                                                     DANVILLE         IN    46122
DEAN A WAGNER                                  2323 BINGHAM ROAD                                                                                CLIO             MI    48420‐1954
DEAN A WAGNER & JAN M WAGNER JT TEN            2323 BINGHAM RD                                                                                  CLIO             MI    48420
DEAN A YOUNG                                   PO BOX 1634                                                                                      CLOVER           SC    29710‐4634
DEAN ALAN BURNETT & THERESA BURNETT TEN ENT    3826 COMMON RD                                                                                   WARREN           MI    48092‐3359

DEAN ARRINGTON & CYNTHIA A ARRINGTON TEN COM   3101 BRIGHTWOOD DR                                                                               AUSTIN           TX    78746‐6707

DEAN B BRUEWER                                 5221 MUSKOPE ROAD                                                                                FAIRFIELD        OH    45014‐3223
DEAN B HARRIS                                  3478 SABRINA COURT N E                                                                           MARIETTA         GA    30066‐4770
DEAN B HARRIS & BONNYBELL HARRIS JT TEN        3478 SABRINA CT NE                                                                               MARIETTA         GA    30066‐4770
DEAN B JAGGER                                  5224 W MAPLE AVENUE                                                                              SWARTZ CREEK     MI    48473‐8271
DEAN B LOTRIDGE                                1868 W COLUMBIA RD                                                                               MASON            MI    48854
DEAN B MARKUSSEN                               306 CAMBRIDGE ROAD                                                                               ALEXANDRIA       VA    22314‐4812
DEAN B ORR                                     2994 SOUTH VAN DYKE                                                                              IMLAY CITY       MI    48444‐9643
DEAN B WASHINGTON                              256 PARKLAWN BLVD                       APT O                                                    COLUMBUS         OH    43213‐3813
DEAN B WELSH                                   8411 MISTY CT                                                                                    GRAND BLANC      MI    48439‐8076
DEAN BUCHANAN                                  65 OLCOTT ST                                                                                     LOCKPORT         NY    14094‐2423
DEAN C CHEEK                                   11395 CHEYENNE TRL                      APT 104                                                  CLEVELAND        OH    44130‐1997
DEAN C FEUCHTER                                2215 LEA DRIVE                                                                                   SAINT CLOUD      FL    34771‐8832
DEAN C FRANKS                                  305 DAVIS DR                                                                                     COLUMBIA         TN    38401‐9351
DEAN C FRECK                                   25355 CAROLLTON DR                                                                               FARMINGTON HILLS MI    48335‐1310

DEAN C GARRETSON SR                            PO BOX 32                                                                                        LOTHIAN          MD    20711
DEAN C HOWELL                                  9707 SALOMA AVE                                                                                  SEPULVEDA        CA    91343‐2435
DEAN C KREIGER                                 1168 N 408 W                                                                                     HUNTINGTON       IN    46750‐7820
DEAN C STRAWN & MARGARET E STRAWN JT TEN       13 KINGS RIDGE RD                                                                                LONG VALLEY      NJ    07853‐3623
DEAN CHRISTMAS                                 5245 ELKS RD                                                                                     LAS CRUCES       NM    88005‐5743
DEAN COUCH                                     17290 MARY ENNIS CIR                                                                             CHOCTAW          OK    73020‐7437
DEAN COULTER                                   1188 E CAMELBACK                                                                                 PHOENIX          AZ    85014‐3211
DEAN D BURK                                    609 N OTTAWA ST                                                                                  ST JOHNS         MI    48879‐1225
DEAN D DEYARMIN                                7882 FITCH ROAD                                                                                  OLMSTED TWP      OH    44138‐1434
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DEAN D DUFFY                                       10926 S FORK LOOP                                                                              PANAMA CITY        FL    32404
DEAN D LINDSTROM                                   1469 CLARKSTON RD                                                                              LAKE ORION         MI    48362‐2478
DEAN D RICHESON                                    116 BIENVILLE DR                                                                               BOSSIER CITY       LA    71111‐6340
DEAN DINGER                                        697 SNOWMASS ST                                                                                ROCHESTER HILLS    MI    48309‐1323
DEAN DUANE CROSS & MAUREEN LOUISE CROSS JT TEN     646 2ND ST                                                                                     LAKE ODESSA        MI    48849‐1041

DEAN E BRENNAN                                     15400 KELLY                                                                                    SPRINGLAKE         MI    49456‐1544
DEAN E HALEY & JOAN E HALEY TR DEAN & JOAN HALEY   341 SUNRISE DR                                                                                 FLUSHING           MI    48433‐2125
TRUST UA 03/23/00
DEAN E KEHRES                                      80 MURNANE ST                                                                                  WESTERVILLE        OH    43081
DEAN E MCKAIG                                      40260 WILLIAM DRIVE                                                                            STERLING HEIGHTS   MI    48313‐4073

DEAN E MILLER & LINDA A MILLER JT TEN            W 656 MILLER NORTH 42ND LANE                                                                     WILSON             MI    49896
DEAN E NEWMAN & DORIS A NEWMAN JT TEN            305 RESERVOIR RD                                                                                 MECHANICSBURG      PA    17055‐6145
DEAN E NORROW JR                                 8160 CARPENTER RD                                                                                FLUSHING           MI    48433‐1360
DEAN E OSWALD                                    38340 DESERT GREENS DRIVE E                                                                      PALM DESERT        CA    92260‐1250
DEAN E ROBERT                                    PO BOX 620                                                                                       LINCOLN            IL    62656‐0620
DEAN E SARLES                                    1124 S SANDUSKY RD                                                                               SANDUSKY           MI    48471‐9336
DEAN E SOROKA                                    902 LARKRIDGE DR                                                                                 YOUNGSTOWN         OH    44512‐3135
DEAN E WALSH                                     30321 S HILLBOY RD                                                                               ARCHIE             MO    64725‐9714
DEAN E WESLEY & BARBARA L WESLEY JT TEN          833 MADELYN AVE                                                                                  MACOMB             IL    61455‐3032
DEAN E WINTERMEYER CUST MATTHEW CHARLES          4308 BROCKWAY                                                                                    SAGINAW            MI    48603‐4779
WINTERMEYER UGMA MI
DEAN E WISSINGER                                 2176 GLENWOOD AVE                                                                                NILES              OH    44446‐4210
DEAN ELLIOTT EMPANGER                            113‐7TH AVE NORTH                                                                                HOPKINS            MN    55343‐7308
DEAN EMEHISER                                    16452 SYCAMORE AVE                                                                               PATTERSON          CA    95363‐9651
DEAN EVANS                                       2744 JOHN WARREN DRIVE                                                                           WEST BLOOMFLD      MI    48033
DEAN F DELITTA                                   22 TOP OF THE RDG                                                                                MAMARONECK         NY    10543‐1734
DEAN F EFFLER                                    PO BOX 1655                                                                                      ZILLAH             WA    98953‐1655
DEAN F ELDON                                     3298 S SASHABAW RD                                                                               OXFORD             MI    48371‐4010
DEAN F FREIDELL CUST DANA DEANE FREIDELL UGMA MI 4823 CARRYON TRAIL                                                                               LANSING            MI    48917‐1561

DEAN F HITTS                                       R‐071 COUNTY RD 17                                                                             NAPOLEON           OH    43545
DEAN F LA GRANGE                                   585 HIGH BLUFF DR                                                                              GRAFTON            WI    53024‐9535
DEAN F MCMULLEN                                    16881 DAVIS RD                        APT 914                                                  FORT MYERS         FL    33908‐2927
DEAN F PERKINS                                     879 SCRUB JAY DR                                                                               ST AUGUSTINE       FL    32092‐1733
DEAN F SCHROEDER                                   6098 BRIENNE COURT                                                                             HILLIARD           OH    43026‐6073
DEAN FORD                                          1800 MIDSUMMER LN                                                                              JARRETTSVILLE      MD    21084
DEAN FRANKLIN TIESZEN                              PO BOX 178                                                                                     MARION             SD    57043‐0178
DEAN FREDERICK PERIGO                              5625 #6 SCHOOL RD                                                                              EVANSVILLE         IN    47720
DEAN G CARKHUFF                                    56 LAFAYETTE STREET                                                                            HOPEWELL           NJ    08525‐1838
DEAN G KELLY                                       BOX 133 E BELOIT ST                                                                            DARIEN             WI    53114‐0133
DEAN GARY IREY                                     2500 CHESTNUT ST                      APT 2                                                    SAN FRANCISCO      CA    94123‐2424
DEAN GOLDBERG & DEBORAH GOLDBERG COMMUNITY         2837 PRADERA RD                                                                                CARMEL             CA    93923‐9719
PROPERTY
DEAN GOOD & RUZANAH GOOD JT TEN                    7460 LAKE BREEZE DRIVE APT 207                                                                 FORT MYERS         FL    33907
DEAN H BELL                                        4822 DREON CT                                                                                  STERLING HTS       MI    48310‐2624
DEAN H BETSCHMAN                                   4549 SECTION LINE ROAD 117            APT 117                                                  MONROEVILLE        OH    44847‐9715
DEAN H HELSEL                                      4464 MEADOWBROOK                                                                               FLINT              MI    48506‐2005
DEAN H KISER & BERNICE L KISER JT TEN              72 APPLE RIDGE DRIVE                                                                           APPLE CREEK        OH    44606‐9593
DEAN H REDDEN                                      823S MARKET                                                                                    HOOPESTON          IL    60942‐1849
DEAN HARLOW CUST PIERCE HARLOW UTMA MI             7780 BARNSBURY                                                                                 WEST BLOOMFIELD    MI    48324

DEAN HAYES                                         3923 BROOKFIELD DR                                                                             HUDSONVILLE        MI    49426‐9033
DEAN HIGGINS                                       7881 IDLEWILD STREET                                                                           COMMERCE CITY      CO    80022‐1085
DEAN HILL                                          216 S GREENLAWN ST                                                                             RIDGECREST         CA    93555
DEAN HVIDSTON                                      PO BOX 19604                                                                                   INDIANAPOLIS       IN    46219‐0604
DEAN J ARNOLD                                      2242 OLDE MILL DR                                                                              BLOOMINGTON        IN    47401‐4589
DEAN J BARTON                                      GMAC AUSTRALIA LEVEL 17               499 S KILDA RD MELBOURNE   VICTORIA    AUSTRALIA
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DEAN J BEDSOLE                                   6123‐N MT MORIAH ROAD                                                                       AUBURN          GA    30203
DEAN J DIMOLA                                    229 JANESVILLE ST                                                                           OREGON          WI    53575
DEAN J GOODEMAN                                  3497 KING ROAD                                                                              SAGINAW         MI    48601‐5869
DEAN J MEREDITH                                  10656 DENOEU ROAD                                                                           BOYNTON BEACH   FL    33437‐4530
DEAN J MILLER & ELSIE MILLER JT TEN              1 CAROL DR                                                                                  CARNEGIE        PA    15106‐1610
DEAN J MORAN                                     9768 ARIADNE TRL                                                                            DAYTON          OH    45458‐4124
DEAN J WARZALA & AMY B WARZALA JT TEN            9545 HILLINGDON ROAD                                                                        WOODBURY        MN    55125‐3524
DEAN K CHIKAMI                                   11699 GUAM CIR                                                                              CYPRESS         CA    90630‐5510
DEAN K KING                                      8062 W MT MORRIS RD                                                                         FLUSHING        MI    48433‐8822
DEAN L BERRY                                     ATTN CAROLYN PERRY                 PO BOX 887                                               STANDISH        MI    48658‐0887
DEAN L BOTHUM                                    BX 249                                                                                      CAMBRIDGE       WI    53523‐0249
DEAN L BROWN                                     768 W 100TH AVE                                                                             DENVER          CO    80260‐6002
DEAN L CHRISTENSON & FAYE C CHRISTENSON JT TEN   PO BOX 381                                                                                  LA PORTE        IN    46352‐0381

DEAN L CURRY                                     10509 COURAGEOUS DRIVE                                                                      INDIANAPOLIS    IN    46236
DEAN L DOTSON                                    8393 ST RT 125                                                                              RUSSELLVILLE    OH    45168‐9767
DEAN L FAULKNER & DIANE K FAULKNER JT TEN        3179 KESTREL CT                                                                             MARTINSVILLE    IN    46151‐6900
DEAN L GILLESPIE                                 8069 WOODBURY RD                                                                            LAINGSBURG      MI    48848‐9752
DEAN L HILTS                                     1114 LAKE SHORE DR                                                                          COLUMBIAVILLE   MI    48421‐9770
DEAN L KADOLPH                                   0‐1423 LEONARD                                                                              GRAND RAPIDS    MI    49504
DEAN L LARRY JR LINDA S LARRY                    153 RIVER BEND WAY                                                                          GLENWOOD SPGS   CO    81601‐8645
DEAN L LAWSON                                    8045 HAVILAND DRIVE                                                                         LINDEN          MI    48451
DEAN L MATTOX CUST DOUGLAS E MATTOX UGMA IN      7 JOSIAH DR                                                                                 UPTON           MA    01568‐1452

DEAN L MATTOX CUST JOSEPH M MATTOX UGMA IN       218 OSPREY CRT                                                                              HUNTERTOWN      IN    46748

DEAN L MCDIARMID                               5535 WING AVE SE                                                                              KENTWOOD        MI    49512‐9641
DEAN L MILLER                                  #3 WOODCREST CR                                                                               NORMAN          OK    73071‐7215
DEAN L MOHR                                    114 S FIRST ST                                                                                OAKWOOD         OH    45873‐9692
DEAN L SMITH & PATRICIA ANN SMITH TEN ENT      PO BOX 12                            TIMBER RIDGE 3                                           HANCOCK         MD    21750‐0012
DEAN L STEEVES EX EST FRANK R STEEVES          108 WESTWOOD AVE                                                                              PLAINVILLE      CT    06062
DEAN L WILLIAMS                                1208 N MADISON ST                                                                             ROME            NY    13440‐2726
DEAN L WILLIAMS & MARTHA M WILLIAMS JT TEN     1208 N MADISON ST                                                                             ROME            NY    13440‐2726
DEAN L YOUNG & DORIS E YOUNG JT TEN            1880 WOODLAND BLVD                                                                            OWOSSO          MI    48867‐8902
DEAN LEONARD HARRIS                            749 WEBBER COURT                                                                              LINDEN          MI    48451‐8761
DEAN M AGLIORI                                 1190 ARROWOOD DR                                                                              PITTSBURGH      PA    15243‐1802
DEAN M BURK                                    353 OAKLANDING DR                                                                             MULBERRY        FL    33860‐7650
DEAN M CLARK                                   7857 MALTBY                                                                                   BRIGHTON        MI    48116‐8808
DEAN M COOK                                    11506 MEADOW DRIVE                                                                            PORT RICHEY     FL    34668‐1733
DEAN M DILDINE                                 2328 FALLINGLEAF RD                                                                           OCEANSIDE       CA    92056‐3532
DEAN M FRYE                                    806 S CINDA ST                                                                                ANAHEIM         CA    92806‐4410
DEAN M GROSS                                   192 EUCLID AV                                                                                 ALBANY          NY    12208
DEAN M HUDSON                                  PO BOX 4340                                                                                   NICOMA PARK     OK    73066
DEAN M LAZOWSKI                                4017 PATTI RD                                                                                 DORR            MI    49323‐9057
DEAN M POWERS                                  140 VALLEY VIEW DRIVE                                                                         ELMA            NY    14059‐9261
DEAN M SCHULZE                                 220 E UNION ST BX 138                                                                         MAPLE RAPIDS    MI    48853‐0138
DEAN M VEITH                                   413 E 2ND NORTH ST                                                                            LAINGSBURG      MI    48848‐9687
DEAN M WITTREN                                 4007 10TH AVE N W                                                                             ROCHESTER       MN    55901‐1302
DEAN MICHAEL WITTREN CUST HENRY T WITTREN      4007 10TH AVE N W                                                                             ROCHESTER       MN    55901‐1302
DEAN N STAHL                                   PO BOX 1694                                                                                   CHARLESTOWN     RI    02813‐0909
DEAN NESBIT                                    615 ACADEMY DR R 1                                                                            EDGERTON        WI    53534‐9537
DEAN P BIRKHOLZ                                6231 N LONDON AVE                    APT G                                                    KANSAS CITY     MO    64151‐4794
DEAN P BRANDETSAS CUST DIANE L BRANDETSAS UTMA 2807 FLEETWOOD AVE                                                                            ROANOKE         VA    24015‐4331
VA
DEAN P MC DERMOTT                              8842 CLEARWATER CIRCLE                                                                        FOGELSVILLE     PA    18051‐2046
DEAN P PHILLIPS                                26937 ELIZABETH LN                                                                            CLEVELAND       OH    44138‐1152
DEAN P VOSHELL                                 364 MARLDALE DR                                                                               MIDDLETOWN      DE    19709‐1722
DEAN PARKINSON & SALLY PARKINSON JT TEN        4503 CHAVEZ COURT                                                                             GRANBURY        TX    76048
DEAN PATRICK PERSINGER                         125 W MARION ST                                                                               MOUNT GILEAD    OH    43338
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DEAN POLKING                                       1435 1ST AVE N                                                                                FORT DODGE         IA    50501‐4205
DEAN PRATHER                                       24 WEMBLEY AVE                       UNIONVILLE ON                          L3R 2A9 CANADA
DEAN R BUCHINGER                                   PO BOX 553                                                                                    OAKHILL            FL    32759‐0553
DEAN R CAMPBELL                                    8402 E DEL CAMINO DRIVE                                                                       SCOTTSDALE         AZ    85258‐2437
DEAN R CANINI                                      27739 YVETTE                                                                                  WARREN             MI    48093‐4753
DEAN R CANTY                                       1026 FAIRWAY                                                                                  EDINBURY           TX    78539‐5445
DEAN R DEPUE                                       8912 OTTER DR                                                                                 FARWELL            MI    48622‐9708
DEAN R FAIT                                        2526 5TH AVE                                                                                  MOLINE             IL    61265‐1534
DEAN R HERDT                                       213 WHITEWATER CT                                                                             WOODSTOCK          GA    30188‐6034
DEAN R KNEISEL                                     3705 DARCEY LANE                                                                              FLINT              MI    48506‐5001
DEAN R LAWRENCE & JENNIE B LAWRENCE JT TEN         2530 BUTTON HORN LN                                                                           LAPEER             MI    48446‐8323
DEAN R LOWE                                        4800 BADGER RD                                                                                LYONS              MI    48851
DEAN R MC CONKEY II                                32094 CORTE SOLEDAD                                                                           TEMECULA           CA    92592‐6463
DEAN R MC DOUGAL                                   PO BOX 306                                                                                    BLOOMFIELD HILLS   MI    48303‐0306

DEAN R MC DOUGAL CUST ANNA Y MC DOUGAL UGMA PO BOX 306                                                                                           BLOOMFIELD HILLS   MI    48303‐0306
MI
DEAN R MC DOUGAL CUST CARRIE K MC DOUGAL UGMA PO BOX 306                                                                                         BLOOMFIELD HILLS   MI    48303‐0306
MI
DEAN R MCDOUGAL CUST MARY M MCDOUGAL UGMA PO BOX 306                                                                                             BLOOMFIELD HILLS   MI    48303‐0306
MI
DEAN R MERTES                                 W 4571 COUNTY HWY H                                                                                IRMA               WI    54442
DEAN R SCHMIDT                                4044 CANEY CREEK LN                                                                                CHAPEL HILL        TN    37034‐2075
DEAN R SHAW                                   5578 BAYWATCH WAY 302                                                                              MASON              OH    45040
DEAN R SHAW & SHELIA A SHAW JT TEN            7230 KRACH CT                                                                                      MIDDLETOWN         OH    45044‐9269
DEAN R TURONEK                                26051 GROVER                                                                                       HARRISON           MI    48045‐3522
                                                                                                                                                 TOWNSHIP
DEAN R WALDRUP & MARY E WALDRUP JT TEN             339 S LAKE DR                                                                                 NOVI               MI    48377‐1950
DEAN RICHARD                                       PO BOX 220                                                                                    ELTON              LA    70532‐0220
DEAN RICHARD REHDER                                10800 DALE STREET                    SP 216                                                   STANTON            CA    90680‐2786
DEAN ROY                                           PO BOX 247                                                                                    WEST CHESTER       OH    45071‐0247
DEAN S CADY                                        4665 N ARDMORE AVE                                                                            MILWAUKEE          WI    53211‐1111
DEAN S CADY & LOIS H CADY JT TEN                   4665 N ARDMORE AVE                                                                            MILWAUKEE          WI    53211‐1111
DEAN S HUNT                                        136 W MICHIGAN                                                                                GREENFIELD         IN    46140‐1229
DEAN S JARRETT                                     2871 ROBAL COURT                                                                              SALINE             MI    48176‐9242
DEAN S LOVEJOY                                     1195 IVY LANE                                                                                 BEAUMONT           TX    77706‐6155
DEAN S MILLER TR UA 03/04/02 VIRGINIA S MILLER     3012 PORTSMOUTH DR                                                                            BRUNSWICK          OH    44212
REVOCABLE LIVING TRUST
DEAN S MOORE                                       17 GRAYBURN DRIVE                                                                             MARLTON            NJ    08053‐1921
DEAN S SHOUP                                       7730 WINDHAM RD                                                                               TIPP CITY          OH    45371‐9051
DEAN SCOTT HOROWITZ                                1045 OCEAN PARKWAY                                                                            BROOKLYN           NY    11230‐4006
DEAN SHAFFER                                       7507 HONEYWELL LN                                                                             BETHESDA           MD    20814
DEAN SIPE & ILENE SIPE JT TEN                      5950 N PLACITA LAGORTO                                                                        TUCSON             AZ    85718‐2943
DEAN T BROOKS                                      763 BLACK DIAMOND ROAD                                                                        SMYRNA             DE    19977‐9665
DEAN T BUCHHOLZ                                    3350 COLBY LANE                                                                               JANESVILLE         WI    53546‐1952
DEAN T DECKER                                      5976 HARPER ROAD                                                                              HOLT               MI    48842‐8618
DEAN T GEORGOFF                                    48104 ROYAL POINTE DR                                                                         CANTON             MI    48187‐5466
DEAN T MISENER                                     4365 FARWELL LAKE RD                                                                          HORTON             MI    49246
DEAN T MITCHELL                                    4639 RED OAK DR                                                                               METAMORA           MI    48455‐9745
DEAN T NAVARRE                                     1409 BRADSHAW DR                                                                              COLUMBIA           TN    38401‐9227
DEAN T THAYER                                      11724 WELLS RD                                                                                PETERSBURG         MI    49270‐9733
DEAN T WILKINSON                                   4654 HICKORY RIDGE                                                                            BRUNSWICK          OH    44212‐2532
DEAN TIDWELL                                       207 S HAMPTON RD                                                                              LOUISVILLE         KY    40223‐2813
DEAN TURNER                                        P O BOX 578                                                                                   BROWNS MILLS       NJ    08015
DEAN TYLER PLAISTED                                9 CARRIEDALE LN                                                                               KENNEBUNK          ME    04043‐6041
DEAN V MOATS & DORIS L MOATS JT TEN                23385 TAWAS                                                                                   HAZEL PARK         MI    48030‐2721
DEAN V PAPPAS & DORIS E PAPPAS JT TEN              9281 SHORE RD APT 123                                                                         BROOKLYN           NY    11209‐6617
DEAN W BEMISS                                      12259 IZETTA                                                                                  DOWNEY             CA    90242‐3014
DEAN W BENSCOTER                                   2471 TACKLES CT                                                                               WHITE LAKE         MI    48386‐1552
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DEAN W CHASE III                                  400 TASSO RD NE                                                                                  CLEVELAND       TN    37323‐5549
DEAN W DREVECKY                                   PO BOX 369                                                                                       BRIDGEPORT      TX    76426‐0369
DEAN W FISHER                                     26598 CALL AVE                                                                                   HAYWARD         CA    94542‐2002
DEAN W HAYWARD                                    1430 SCHAFER DRIVE                                                                               BURTON          MI    48509‐1547
DEAN W JONES & JOSEPHINE A JONES JT TEN           6643 PENNINGTON ROAD                                                                             CLINTON         MI    49236‐9536
DEAN W JONES TR REVISED TRUST 01/31/91 U‐A DEAN   6643 PENNINGTON RD                                                                               CLINTON         MI    49236‐9536
W JONES
DEAN W KIEFFER                                    3600 COLUMBIA ROAD                                                                               WEST LAKE       OH    44145‐5502
DEAN W MCCABE & R FAY MCCABE JT TEN               PO BOX 292 CHURCH ST                                                                             SELBYVILLE      DE    19975‐0292
DEAN W PARKS                                      13445 HEIMBERGER RD                                                                              BALTIMORE       OH    43105‐9665
DEAN W PENROD                                     10145 LITTLE FOREST DR                                                                           GERMANTOWN      OH    45327‐9511
DEAN W QUAYLE & LUANN QUAYLE JT TEN               1839 NORTH 200 WEST                                                                              LOGAN           UT    84341‐1729
DEAN W SCHMITT                                    1281 OSAGE BEACH RD                                                                              OSAGE BEACH     MO    65065‐2240
DEAN W SMITH                                      RT #7 VANDERBILT ROAD                                                                            MANSFIELD       OH    44904‐9807
DEAN W SUMA                                       961 S BROADWAY                                                                                   PERU            IN    46970‐3027
DEAN WADE CUST OLIVIA WADE UTMA MD                6842 SANDERLING CT                                                                               NEW MARKET      MD    21774‐6816
DEAN WILLIAM KRAMER                               10043 CTY D                                                                                      AMHERST         WI    54406
DEAN WILLIAMSON                                   2495 HIGHWAY 81 W                                                                                HAMPTON         GA    30228‐2068
DEAN WITTER REYNOLDS FBO FREDERICK E BEACHLEY     2 WISCONSIN CIRCLE                      SUITE 330                                                CHEVY CHASE     MD    20815‐7016

DEAN WITTER REYNOLDS TR MARY C CARBOTT IRA       29435 OAKLEY                                                                                      LIVONIA         MI    48154
DEAN WITTER REYNOLDS TR PATRICIA FOUNTAIN IRA UA 14391 CHANDLER RD                                                                                 BATH            MI    48808‐9757
04/26/95
DEANA A MARRS                                    ATTN DEANA A VOLLMAN                     48564 WATERFORD DR                                       MACOMB          MI    48044‐1878
DEANA BROWN & KEITH J BROWN JT TEN               1126 SECOND AVE                                                                                   CROYDON         PA    19021‐7622
DEANA J PRITNER                                  PO BOX 232                               404 E 4TH STREET                                         ASHER           OK    74826‐0232
DEANA J TYGART                                   916 E GERHART                                                                                     KOKOMO          IN    46901‐1533
DEANA L MORRIS                                   15680 LAMESA CT                                                                                   MORGAN HILL     CA    95037‐5314
DEANA M FLORE                                    889 NEGAUNEE LAKE DR                                                                              EVART           MI    49631‐8730
DEANA MARIE POLO                                 1112 S BIRCH DR                                                                                   MT PROSPECT     IL    60056‐4502
DEANDRA LOUISE OLIVIERI                          789 KING STREET APT 1                    HAMILTON ON                            L8M 1A7 CANADA
DEANDRA ROACHE                                   10000 BELDEN CT                                                                                   LANHAM          MD    0ZZZZ
DEANE R FLETT JR                                 113 FREMONT ST                                                                                    SHREVEPORT      LA    71105‐3028
DEANE REED & MRS MAY REED JT TEN                 RD 5 BOX 5632                                                                                     LAKE ARIEL      PA    18436‐9369
DEANN MM PETERMAN & DALE B PETERMAN JT TEN       16555 SAGAMORE RD                                                                                 BEDFORD         OH    44146‐4957

DEANN P KOLLMANN                                  4837 REGAL DR                                                                                    BONITA SPGS     FL    34134‐3926
DEANN SMITH                                       780 CRICKET HILL TRAIL                                                                           LAWRENCEVILLE   GA    30044‐7352
DEANN SUE SOULTS                                  PO BOX 3594                                                                                      DAVENPORT       IA    52808‐3594
DEANN WEHNER                                      604 N PENDLETON AVE                                                                              PENDLETON       IN    46064‐8976
DEANNA AMBURN BUCK                                1137 BUCKLEW ROAD                                                                                SPENCER         IN    47460
DEANNA B COWGILL                                  3306 STEPHEN DR S                                                                                COLUMBUS        OH    43204‐1756
DEANNA B DE PREE CUST DANA DE PREE UGMA MI        PO BOX 1383                                                                                      HOLLAND         MI    49422‐1383
DEANNA B DE PREE CUST DORIS M DE PREE UGMA MI     645 STATE STREET                                                                                 HOLLAND         MI    49423‐5158

DEANNA BURGHARDT                                  1637 TULIP LANE                                                                                  MUNSTER         IN    46321‐3220
DEANNA C BRANDHAGEN                               723 SW 29TH                                                                                      PENDLETON       OR    97801‐3962
DEANNA C RICHIE CUST DESTINY C RICHIE UTMA KY     1390 GOLDSVALLEY SPUR                                                                            DRY RIDGE       KY    41035‐8702

DEANNA CARPENTER & MICHAEL CARPENTER JT TEN       332 E ST CLAIR                                                                                   ROMEO           MI    48065‐5265

DEANNA D OGILVIE                                  29 LONGVIEW CRESCENT                    ST ALBERT AB                           T8N 2W1 CANADA
DEANNA D SCHEIDEGGER TR UA 07/30/98 DEANNA        128 LAKESHORE DRIVE                                                                              COLUMBUS        NE    68601
SCHEIDEGGER TRUST
DEANNA DEPREE                                     645 STATE ST                                                                                     HOLLAND         MI    49423
DEANNA E AUSTIN                                   2898 RUXTON DR                                                                                   APOPKA          FL    32712‐4818
DEANNA ELIZABETH RICHARDSON CUST JAKE MITCHELL    1717 LYNOAK DR                                                                                   CLAREMONT       CA    91711‐2421
RICHARDSON UTMA CA
DEANNA F CUNNINGHAM                               531 NEVADA AVE                                                                                   SAN MATEO       CA    94402‐2229
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DEANNA F FRANKS                                 148 W FERNWOOD DR                                                                              PHOENIX         AZ    85086‐8336
DEANNA F WALTON                                 4710 SYLVAN OAK DR                                                                             TROTWOOD        OH    45426‐2126
DEANNA G HESTER                                 5508 W FARRAND RD                                                                              CLIO            MI    48420‐8204
DEANNA G MYERS                                  665 MCGAVRAN DR                                                                                VISTA           CA    92083‐6403
DEANNA HARRIS                                   29477 CHERRY HILL RD                  APT 502                                                  INKSTER         MI    48141‐1076
DEANNA IRELAND                                  C/O D I MELZIAN                       2823 E 1ST ST                                            LONG BEACH      CA    90803‐2547
DEANNA J BLUNDELL & JAMES R BLUNDELL JT TEN     403 MEADOW DRIVE                                                                               ESSEXVILLE      MI    48732‐1621

DEANNA J CAMPBELL                               1848 CROSSWINDS CT SE                                                                          GRAND RAPIDS    MI    49508‐5328
DEANNA J CARPENTER                              332 E/ ST CLAIR                                                                                ROMEO           MI    48065‐5265
DEANNA J CASTEEL                                48101 FULLER                                                                                   CHESTERFIELD    MI    48051‐2923
DEANNA J GROCHOWSKI                             2510 ABBOTT RD                        APT R9                                                   MIDLAND         MI    48642
DEANNA J HARRELD                                448 GABRIEL CIR                       #6                                                       NAPLES          FL    34104‐8494
DEANNA J PHILLIPS                               5104 E COUNTY ROAD 600 S                                                                       PLAINFIELD      IN    46168‐9793
DEANNA K CAPLINGER                              3752 PARSONS AVE                                                                               COLUMBUS        OH    43207‐4058
DEANNA K COLLINS                                8401 W M‐78                                                                                    PERRY           MI    48872‐9141
DEANNA KAY DECKER                               383 WILDE AVE                                                                                  SAN FRANCISCO   CA    94134‐2251
DEANNA KIMMEL                                   11911 LOCUST ROAD                                                                              MIDDLETOWN      KY    40243‐1412
DEANNA L BOEGNER                                5106 E STANLEY ROAD                                                                            FLINT           MI    48506‐1188
DEANNA L BOEGNER & WAYNE R BOEGNER JT TEN       5106 E STANLEY RD                                                                              FLINT           MI    48506‐1188
DEANNA L CIECHANOWSKI                           7347 S DELAINE DRIVE                                                                           OAK CREEK       WI    53154‐2411
DEANNA L FIELDS                                 4710 SYLVAN OAK DR                                                                             DAYTON          OH    45426‐2126
DEANNA L GETTS                                  5106 E STANLEY RD                                                                              FLINT           MI    48506‐1188
DEANNA L GRATRIX                                4111 SOUTH SILVER BULLET CIRCLE                                                                PALMER          AK    99645‐8241
DEANNA L JONES                                  4704 CIRABWOOD DR                                                                              AUSTINTOWN      OH    44515‐5135
DEANNA L KINSEL                                 124 LONG ST                                                                                    NEW LEXINGTON   OH    43764‐1509
DEANNA L WALL                                   5381 JACKSON                                                                                   DEARBORN HTS    MI    48125‐3017
DEANNA L WEISHUHN HOYT                          4010 MCPHERSON DR                                                                              ACWORTH         GA    30101‐6366
DEANNA LANCASTER                                1481 FOREST PATH LN                                                                            SUGAR HILL      GA    30518‐8609
DEANNA M BOWMAN                                 2939 TERREHAVEN DR                                                                             ADRIAN          MI    49221‐9121
DEANNA M PEARSON                                4056 PRESCOTT AVE                                                                              DAYTON          OH    45406‐3434
DEANNA M PEREZ                                  1878 BUCKTHORN CT                                                                              TROY            MI    48098‐6542
DEANNA M SHOFF                                  119 LEOPOLD BLVD                                                                               SYRACUSE        NY    13209‐1952
DEANNA M SPADA CUST DANIELA M SPADA UTMA MI     7012 POST PRESERVE BLVD                                                                        DUBLIN          OH    43016‐7047

DEANNA M SPADA CUST MARCO A SPADA UTMA OH       7012 POST PRESERVE BLVD                                                                        DUBLIN          OH    43016‐7047

DEANNA M SWAFFER                                608 N BRYAN ST                                                                                 LITTLE ROCK      AR   72205‐2706
DEANNA M TUNKS                                  4321 N COUNTY ROAD KK                                                                          MILTON           WI   53563‐8602
DEANNA M WOODS                                  5032 AMHURST                                                                                   THE COLONY       TX   75056‐2552
DEANNA M WOODS & T D WOODS JT TEN               5032 AMHURST                                                                                   COLONY           TX   75056‐2552
DEANNA MARGENE RODGERS                          C/O DEANNA MARGENE STUCKEY            3131 W MC RAE WAY                                        PHOENIX          AZ   85027‐4817
DEANNA MARIE ERDMAN                             5971 PEPPER RD                                                                                 OAK RIDGE        NC   27310‐9631
DEANNA N ADAMS                                  23630 GLENCREEK DR                                                                             FARMINGTON HILLS MI   48336‐3041

DEANNA P RAPCZYNSKI                             33 ANDERSON AVE                                                                                BELLMAWR        NJ    08031‐1102
DEANNA PARKER                                   782 W RAVEN DR                                                                                 CHANDLER        AZ    85248‐3281
DEANNA R DEAN                                   512 S ORANGE ST                                                                                MEDIA           PA    19063‐4023
DEANNA R MAUS                                   4329 DOVER AVE                                                                                 INDEPENDENCE    MO    64055‐4833
DEANNA R ROBINSON                               6500 RUGOSA AVE                                                                                REYNOLDSBURG    OH    43068‐1077
DEANNA R RUCKLE                                 608 LEES BRIDGE RD                                                                             NOTTINGHAM      PA    19362‐9116
DEANNA R SHUKWIT                                22928 ALLEN COURT                                                                              ST CLR SHORES   MI    48080
DEANNA S EDWARDS                                4725 STAGE COACH RD                                                                            ALBANY          GA    31705‐9218
DEANNA S PEAVYHOUSE                             1180 SHIRLEY RD                                                                                ALLARDT         TN    38504‐5069
DEANNA SUE PEAVYHOUSE                           1180 SHIRLEY RD                                                                                ALLARDT         TN    38504‐5069
DEANNA VERSHAY DONNELLY                         136 ADAMS POINT RD                                                                             BARRINGTON      RI    02806‐5045
DEANNE F WONG                                   480 BURHILL RD                        WEST VANCOUVER BC                      V7S 1E8 CANADA
DEANNE K WARNER                                 612 SOMMERSET LANE                                                                             WEST FARGO      ND    58078‐2169
DEANNE KIM BOLASNY                              712 21ST ST SOUTH                                                                              ARLINGTON       VA    22202‐2735
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

DEANNE MARIE WASIELEWSKI                         6524 W 60TH PL                                                                                  CHICAGO           IL    60638
DEANNE MAZZA                                     21 PINEWOOD DRIVE                                                                               BRICKTOWN         NJ    08724‐2813
DEANNE SHAFFER                                   3 BENT HILL DR                                                                                  FRAMINGHAM        MA    01701‐3001
DEANNE YOUNG                                     89 MAYFAIR                                                                                      ALISO VIEJO       CA    92656‐2849
DEANNIE RULE & JIM RULE JT TEN                   1010 MAC DR                                                                                     ELK CITY          OK    73644‐2210
DEARMON W KELLEY                                 6256 CHICAGO ROAD                                                                               FLUSHING          MI    48433‐9004
DEATA T REED                                     1028 LEIGH AVE                                                                                  PENNINGTN GAP     VA    24277
DEATRICE A RUELLE TR RUELLE LIVING TRUST UA      27216 RONEY                                                                                     TRENTON           MI    48183‐4849
05/03/99
DEAYNE B CURTIS                                  PO BOX 258                                                                                      ROWE              NM    87562
DEB BUCK                                         PO BOX 1737                            DIDSBURY AB                            T0M 0W0 CANADA
DEBARA G WHALEN                                  2378 WILLIAMS DR                                                                                CORTLAND          OH    44410‐9307
DEBBER A MARSHALL                                PO BOX 612                                                                                      BRUNDIDGE         AL    36010‐0612
DEBBIE A ANTONUCCI & JOHN M ANTONUCCI JT TEN     217 GARDEN CITY DR                                                                              MONROEVILLE       PA    15146‐1731

DEBBIE A MARTIN                                  482 CORD 412                                                                                    KILLEN            AL    35645
DEBBIE A PERILLI                                 23 PINELARK LANE                                                                                PALM COAST        FL    32164‐7019
DEBBIE A RUST                                    153 DEERPOINT DR                                                                                UNIONVILLE        TN    37180‐8691
DEBBIE A THOMAS                                  826 F ST 916                                                                                    SPARKS            NV    89431‐0818
DEBBIE A VACI                                    13600 MAPLE                                                                                     LEMONT            IL    60439‐7906
DEBBIE B MCDANIEL                                700 ELBERON AVE                                                                                 DAYTON            OH    45403‐3320
DEBBIE BRADLEY                                   69 MONTAUK LN                                                                                   RICHMOND HILL     GA    31324
DEBBIE BUDINI COATES                             13 PARK HILL DR                                                                                 ALBANY            NY    12204‐2219
DEBBIE BYRUM & SHAWN BYRUM JT TEN                41515 VANBORN RD                                                                                BELLEVILLE        MI    48111‐1148
DEBBIE C BARNER                                  16 MOUNTAIN WAY                                                                                 MORRIS PLAINS     NJ    07950
DEBBIE C GUSTAFSON                               34 TERRELL ST                                                                                   DEPEW             NY    14043
DEBBIE C SIMPSON                                 13636 RACINE CT                                                                                 WARREN            MI    48088‐3711
DEBBIE COOPER                                    816 WANDERING WAY                                                                               OKLAHOMA CITY     OK    73170‐1605
DEBBIE DARLENE BIGGS                             617 GEORGIAN CT                                                                                 ADDISON           IL    60101‐3314
DEBBIE DUDA CUST SHANE M DUDA UGMA MI            54155 RIENAS LN                                                                                 SHELBY TWP        MI    48315‐1182
DEBBIE DUFFY CUST RACHEL BATTY UGMA OH           7013 CREEKSIDE CIRCLE                                                                           FAIRBORN          OH    45324
DEBBIE E MILLER                                  3444 VAN WIE DR E                                                                               BALDWINSVILLE     NY    13027‐8910
DEBBIE F TERRY                                   426 STONE CREST AVE                                                                             BOWLING GREEN     KY    42101‐8868
DEBBIE FLACK & RUSSELL FLACK JT TEN              202 FORT BRANCH                                                                                 PEARISBURG        VA    24134‐1906
DEBBIE FRIEDMAN                                  147‐11 78TH AVE                                                                                 FLUSHING          NY    11367‐3432
DEBBIE GARRETT                                   RR 2 BOX 250                                                                                    DELBARTON         WV    25670‐9764
DEBBIE GORE EX EST JOAN C FALKE                  7755 PHARIS DRIVE                                                                               SILSBEE           TX    77656
DEBBIE HESSE SPLINTER                            10256 FM 344 E                                                                                  WHITEHOUSE        TX    75791‐5900
DEBBIE J DANIELSON CUST DYLAN C DANIELSON UTMA   6913 E MAPLEWOOD AVE                                                                            ENGLEWOOD         CO    80111‐4507
CO
DEBBIE J TOME                                    29 WINSOME WAY PENCADER VG                                                                      NEWARK            DE    19702‐6313
DEBBIE K SCHMITZ                                 2892 EAST 1150 SOUTH                                                                            KOKOMO            IN    46901‐7568
DEBBIE K YAHL                                    135 FOREST DRIVE                                                                                LABADIE           MO    63055‐1918
DEBBIE L ARCHAMBEAU                              9650 IDEAL PLACE                                                                                COMMERCE TWP      MI    48382‐4129
DEBBIE L GARCIA                                  5873 BIRKDALE LN                                                                                SAN LUIS OBISPO   CA    93401‐8907
DEBBIE L SIEMIENIEC                              723 S PECK ST                                                                                   GARDNER           IL    60424‐4501
DEBBIE L SPRINGER                                4231 HIDDEN HILL RD                                                                             NORMAN            OK    73072‐2847
DEBBIE LEE KRATZ                                 3625 DENSMORE RD                                                                                CARO              MI    48723‐9625
DEBBIE LOU DEVLIN                                11 N JEROME AVE                                                                                 MARGATE CITY      NJ    08402‐1515
DEBBIE M BACH                                    5280 MORNING AIR LANE                                                                           COLOMA            MI    49038‐9350
DEBBIE M BERGSTROM                               3304 SYCAMORE DR                                                                                FLOWER MOUND      TX    75028‐3951
DEBBIE M KANER                                   2683 E 26TH ST                                                                                  BROOKLYN          NY    11235‐2419
DEBBIE M RESCSANSKI & JOHN M RESCSANSKI JT TEN   293 BURR HALL RD                                                                                MIDDLEBURY        CT    06762‐1404

DEBBIE MORRIS                                    1366 MCNAIR RD                                                                                  TARBORO           NC    27886
DEBBIE NEELEY ROBINSON                           971 ASTORA ROAD                                                                                 GERMANTOWN        OH    45327‐1709
DEBBIE R AGUILLARD                               1007 KEYSTONE PARK RD                                                                           DERRY             PA    15627‐3678
DEBBIE R JOHNSON                                 30010 MIDFIELD                                                                                  NEW HAVEN         MI    48048‐1838
DEBBIE R JONES                                   6615 GLENDALE AVE                                                                               YOUNGSTOWN        OH    44512‐3408
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DEBBIE R MARKO                                   9736 TANNERY WY                                                                                 OLMSTED TWP       OH    44138‐2887
DEBBIE ROCHLIN                                   3633 CORINTH AVENUE                                                                             LOS ANGELES       CA    90066‐3403
DEBBIE S CHAPMAN                                 10585 LATINA COURT                                                                              CINCINNATI        OH    45218‐1519
DEBBIE S DUNN                                    1605 EDGEWOOD BLVD                                                                              HERNANDO          MS    38632‐9374
DEBBIE S HILDEBRAND                              6975 ADAMS AVE                                                                                  LA MESA           CA    91941‐4516
DEBBIE S MECKLENBURG                             3719 WILDFLOWER LN                                                                              JANESVILLE        WI    53545‐8507
DEBBIE S PERKINS CUST ELIZABETH LAUREN PERKINS   2262 ADNER COURT                                                                                UPPER ARLINGTON   OH    43220‐5426
UTMA OH
DEBBIE SACHIE YAMAGUCHI                          1528 KALEILANI ST                                                                               PEARL CITY        HI    96782‐2040
DEBBIE STANBRO                                   20251 WELBORN RD                                                                                NORTH FORD        FL    33917‐4957
                                                                                                                                                 MYERS
DEBBIE STOUGH                                    1998 OLD TURNPIKE ROAD                                                                          RIVES             TN    38253‐3846
DEBBIE STRONGIN                                  824 PIEDRA VISTA RD NE                                                                          ALBUQUERQUE       NM    87123‐1954
DEBBIE WHEELER CUST SHERRY NADINE WHEELER        HWY 59 BOX 1251                                                                                 FAIR PLAY         SC    29643‐2212
UGMA SC
DEBBIE WHITE‐BELL                                10073 BRAEMOOR DRIVE                                                                            GRAND BLANC       MI    48439‐9575
DEBBIE WINEGAR CUST SCOTT D WINEGAR UTMA TX      4906 FIELDS PLACE                                                                               MIDLAND           TX    79705‐2600

DEBBRA D WILLIAMS CUST TYJ WILLIAMS UTMA OH      2022 PAINTER RD                                                                                 SALEM             OH    44460‐1863

DEBBRA FLAGLER                                   2577 TRANSIT RD                                                                                 NEWFANE           NY    14108
DEBBRA GLIENKE                                   PO BOX 396                                                                                      SKOKIE            IL    60076
DEBBY L ARNOLD                                   PO BOX 782                                                                                      PERRY             MI    48872‐0782
DEBBY M PATILLO                                  6604 MIMOSA CIR                                                                                 TUCKER            GA    30084‐1979
DEBERA A TOMON                                   132 HILLTOP RD                                                                                  GREENVILLE        PA    16125‐9220
DEBERA K ABBOTT                                  1800 E 22ND STREET                                                                              MUNCIE            IN    47302‐5464
DEBERA KAY RICH                                  1800 E 22ND                                                                                     MUNCIE            IN    47302‐5464
DEBET J COLEMAN                                  PO BOX 38621                                                                                    DETROIT           MI    48238‐0621
DEBI A OSTERBERG                                 2312 WEDGEWOOD DR                                                                               DARLINGTON        SC    29532‐8124
DEBI E GALLER                                    12780 SW 117TH ST                                                                               MIAMI             FL    33186‐4613
DEBIE K STOLK & SHANNON K STOLK JT TEN           3272 MAPLE AVE                                                                                  CASEY             IA    50048‐8027
DEBIE M TUFFLEY                                  1545 E DOWNING                                                                                  SIMI VALLEY       CA    93065‐2029
DEBONAIRE LP                                     PO BOX 710                                                                                      CHINLE            AZ    86503‐0710
DEBORA A KRASKA CUST AMANDA D KRASKA UGMA NY     170 HANWELL                                                                                     DEPEW             NY    14043‐1122

DEBORA A VAN IDERSTINE TRAAS                     50B BRADDOCK LN                                                                                 HARWICH PORT      MA    02646‐2314
DEBORA ANN EGGENBERG                             5126 E FINCH CIR                                                                                SIERRA VISTA      AZ    85650‐5303
DEBORA ANN PENNEY                                7238 JAMES AVE S                                                                                RICHFIELD         MN    55423‐2924
DEBORA H GROVE                                   311 GLENWOOD RD                                                                                 BEL AIR           MD    21014‐5536
DEBORA HOBURG                                    9609 WOODLAKE DRIVE                                                                             ALLISON PARK      PA    15101
DEBORA HOPE                                      566 KAYMAR DR                                                                                   AMHERST           NY    14228‐3459
DEBORA K GOLDBERG CUST SAMUEL L GOLDBERG         2837 PRADERA RD                                                                                 CARMEL            CA    93923‐9719
UGMA CA
DEBORA KAY MCQUADE                               203 LINCOLN WAY EAST                   APT B                                                    MCCONNELLSBURG PA       17233‐1425

DEBORA L BLANCH CUST NICHOLAS T BLANCH UNDER     2325 EDMENTON DR                                                                                VIRGINIA BEACH    VA    23456‐7856
THE VIRGINIA U‐G‐M‐A
DEBORA L CAMPANA                                 16057 NE 8TH ST #206                                                                            BELLEVUE          WA    98008‐3928
DEBORA L DEAN                                    4455 PROVINCETOWN DR                                                                            COUNTRY CLUB      IL    60478‐5539
DEBORA L JOHNSON                                 3655 HUNTERS CREEK RD                                                                           METAMORA          MI    48455‐8730
DEBORA L SHORT                                   616 N 24TH ST                                                                                   ALLENTOWN         PA    18104‐4919
DEBORA P WILLIAMS                                3268 WILLIAMS                                                                                   INKSTER           MI    48141‐2220
DEBORA PALMER RINN                               526 CHESTNUT RIDGE DR                                                                           PITTSBURGH        PA    15205‐4705
DEBORA RUMAN PIONTKOWSKI                         5475 JENDEAN LN                                                                                 ROCHESTER         MI    48306‐2524
DEBORA T GAST                                    7 MICA DRIVE                                                                                    KINNELON          NJ    07405‐2717
DEBORA U CIRINCIONE                              60 SPARROW DR                                                                                   W HENRIETTA       NY    14586‐9300
DEBORAH A ALFARO                                 5130 MONTICELLO DR                                                                              SWARTZ CREEK      MI    48473‐8252
DEBORAH A ALFIERI                                1381 UXBRIDGE WAY                                                                               NORTH WALES       PA    19454‐3681
DEBORAH A ALLEN                                  1717 NARRAGANSETT                                                                               CHICAGO           IL    60639‐3825
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DEBORAH A ALLORE                                 38572 CHESTNUT LN                                                                              WESTLAND           MI    48185‐7612
DEBORAH A BANAS                                  110 EASTON RD                                                                                  HERMITAGE          PA    16148‐3546
DEBORAH A BANKER & CHRISTOPHER R BANKER JT TEN   3256 WYMBERLY DR                                                                               JUPITER            FL    33458‐8781

DEBORAH A BEATON                                 6451 LIGHTHOUSE RD                                                                             MONROE             MI    48161‐4721
DEBORAH A BECK & STELLA M ZAREMBA JT TEN         10945 MARNE ST                                                                                 DETROIT            MI    48224‐4131
DEBORAH A BIBB                                   9806 BONAVENTURE PLACE APT 3                                                                   LOUISVILLE         KY    40219
DEBORAH A BLEM‐MCCARTHY                          34154 CORTLAND                                                                                 FARMINGTON         MI    48335‐3508
DEBORAH A BOURQUE                                58 COLLINGWOOD DR                                                                              ROCHESTER          NY    14621‐1001
DEBORAH A BRICKNELL                              2010 N BUCKEYE ST                                                                              KOKOMO             IN    46901‐2217
DEBORAH A BROWN                                  2760 E LAFAYETTE                                                                               DETROIT            MI    48207‐3921
DEBORAH A BUSCH & PAUL G BUSCH & JENNIFER L      212 GREAT PINES DRIVE                                                                          OXFORD             MI    48371
JABORO JT TEN
DEBORAH A BUSSE                                  3940 NILES CARVER RD                                                                           MINERAL RIDGE      OH    44440‐9516
DEBORAH A CALL                                   14441 DUFFIELD RD                                                                              MONTROSE           MI    48457‐9432
DEBORAH A CHAPPELL                               5025 ELMS RD                                                                                   SWARTZ CREEK       MI    48473
DEBORAH A CHAS                                   29 JESTER STREET                                                                               BEAR               DE    19701‐4816
DEBORAH A CLARK                                  11511 SUBURBAN PL                                                                              FAIRFAX STATION    VA    22039‐1710
DEBORAH A COWLEY                                 18 PITTSFIELD ROAD                                                                             HOWELL             NJ    07731‐2312
DEBORAH A CROCKETT                               BOX 273                                                                                        BURLINGTON         IN    46915‐0273
DEBORAH A CRUMP                                  20887 BETHLAWN                                                                                 FERNDALE           MI    48220‐2203
DEBORAH A CZERNEJEWSKI                           W834 SHOREWOOD DRIVE                                                                           EAST TROY          WI    53120‐2324
DEBORAH A DAMICO                                 ATTN DEBORAH A BRACCO                 26 LYLE COURT                                            STATEN ISLAND      NY    10306‐1142
DEBORAH A DAMON                                  4800 UNION AVE NE                                                                              HOMEWORTH          OH    44634‐9636
DEBORAH A DAVIDSON & KIMBERLY A SODERBERG JT     2777 M‐2‐11                                                                                    ONAWAY             MI    49765
TEN
DEBORAH A DEAN                                   5200 WOODBINE AVE                                                                              DAYTON             OH    45432‐3632
DEBORAH A DESANTIS                               215 LOCH LOMOND RD                                                                             RANCHO MIRAGE      CA    92270‐5604
DEBORAH A DOLLIVER                               12377 FAIRBANKS RD                                                                             LINDEN             MI    48451‐9481
DEBORAH A DONAHUE                                UNIT #114                             200 POST ROAD                                            WARWICK            RI    02888‐1525
DEBORAH A DRAKE                                  1328 HY AVE                                                                                    COVINGTON          KY    41011‐1086
DEBORAH A DREW                                   1574 BOUFFARD RD                      LASALLE ON                             N9J 1H1 CANADA
DEBORAH A DULL                                   659 BUCKEYE RUN                                                                                EGGLESTON          VA    24086
DEBORAH A DWYER                                  8463 PLUMBROOK RD                                                                              STERLING HEIGHTS   MI    48313‐4734

DEBORAH A FAZIO‐CARROLL                          10422 N FORREST TRAIL                                                                          PEORIA           IL      61615‐1306
DEBORAH A FIELDS                                 1812 NORTH WESTNEDGE                                                                           KALAMAZOO        MI      49007‐1715
DEBORAH A FIFIELD                                3336 KEARSLEY LAKE BLVD                                                                        FLINT            MI      48506‐2045
DEBORAH A FRANK                                  8094 CLIO RD APT 1                                                                             MOUNT MORRIS     MI      48458‐8237
DEBORAH A FRANKE & TIMOTHY J FRANKE JT TEN       4411 ALDERSON                                                                                  WESTON           WI      54476‐6035
DEBORAH A FREY CUST MICHAEL K FREY UTMA MA       18 LITTLEBROOK RD                                                                              WESTERLY         RI      02891‐3634
DEBORAH A GABRY                                  64 DAVEY DR                                                                                    WEST PRANGE      NJ      07052‐2153
DEBORAH A GALINAC                                13432 PARKWAY BLVD                                                                             CARLETON         MI      48117‐9757
DEBORAH A GEIGER                                 5651 MASON DR SE                                                                               LANCASTER        OH      43130‐9020
DEBORAH A GERACE                                 398 RIVERVIEW DRIVE                                                                            YOUNGTOWN        NY      14174‐1375
DEBORAH A GILL                                   647 RAMBLEWOOD PL                                                                              FAIRBORN         OH      45324‐5821
DEBORAH A HAMILTON                               BOX 342                                                                                        BURLINGTON       IN      46915‐0342
DEBORAH A HESS                                   2953 SOUTH HILL ROAD                                                                           MILFORD          MI      48381‐3415
DEBORAH A HICKS                                  4165 DUDLEY                                                                                    DEARBORN HTS     MI      48125‐2603
DEBORAH A HILL                                   1601 SAKO CT                                                                                   BEL AIR          MD      21015‐4842
DEBORAH A HOLTHUS & KURT M HOLTHUS JT TEN        4718 ROCKWOOD CR                                                                               NORTH FORT MYERS FL      33903

DEBORAH A HULBERT                                46000 GEDDES #542                                                                              CANTON             MI    48188‐2351
DEBORAH A HULL                                   2081 PIKE POND RD                                                                              ALFORD             FL    32420‐6927
DEBORAH A ICKES CUST EMILY L ICKES UTMA OH       1681 STATE ROUTE 89                                                                            JEROMESVILLE       OH    44840‐9779
DEBORAH A IRWIN                                  PO BOX 57                                                                                      CARP LAKE          MI    49718‐0057
DEBORAH A JOHNSON                                1010 SOUTH ALLEN AVE                                                                           COLMAN             SD    57017‐2026
DEBORAH A JORDAN                                 PO BOX 32094                                                                                   CINCINNATI         OH    45232‐0094
DEBORAH A JOSEPH                                 958 MIXER RD                                                                                   HASTINGS           MI    49058‐7812
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DEBORAH A KASBEER                              271 BIG CREEK RD                                                                                    BLANCO          TX    78606‐2568
DEBORAH A KAVANAUGH CUST JEREMIAH F DIAMOND    222 N CENTRAL AVE                   STE 4100                                                        PHOENIX         AZ    85004‐2212
UTMA CA
DEBORAH A KIMBLE                               2621 WELLS ROAD                                                                                     PETERSBURG      MI    49270‐9516
DEBORAH A KORDUS                               C/O DABORAH A CLICKNER              8282 SOUTH 35TH ST                                              FRANKLIN        WI    53132‐9301
DEBORAH A LAIRD                                43 POPE RD                                                                                          WINDHAM         ME    04062‐4301
DEBORAH A LANE                                 56089 SUMMIT DR                                                                                     SHELBY TWP      MI    48316
DEBORAH A LEE                                  PO BOX 232                                                                                          E FALMOUTH      MA    02536‐0232
DEBORAH A LETTIERI                             11021 VIVIAN DR NW                                                                                  HUNTSVILLE      AL    35810‐1214
DEBORAH A LEWIS                                6898 E 100S                                                                                         GREENTOWN       IN    46936‐9118
DEBORAH A LONG                                 2119 DOVER DR                                                                                       CARROLLTON      TX    75006
DEBORAH A LORMAND                              18 PITTSFIELD ROAD                                                                                  HOWELL          NJ    07731‐2312
DEBORAH A LOTH                                 FLAT 3                              13 SHELTON STREET    LONDON            WC2H 9JN GREAT BRITAIN
DEBORAH A LUND                                 1449 E BALDWIN RD                                                                                   GRAND BLANC     MI    48439‐8361
DEBORAH A MADDOX                               18603 GILCHRIST ST                                                                                  DETROIT         MI    48235‐3036
DEBORAH A MARKLEY                              365 MAIN ST                                                                                         MOUNT MORRIS    MI    48458‐1160
DEBORAH A MARTIN                               6346 MARLOW                                                                                         PORTAGE         MI    49024‐2618
DEBORAH A MASTOS                               61297 TIMBERLANE DRIVE                                                                              JONES           MI    49061‐9701
DEBORAH A MATHIAS‐COOK & DAVID L COOK JT TEN   1210 CROOKED ARROW                                                                                  SAN ANTONIO     TX    78258‐2712

DEBORAH A MEAD & PATRICIA C MEAD JT TEN         225 LINDEN                                                                                         ROYAL OAK       MI    48073‐3470
DEBORAH A MEADS                                 2706 PESEK RD                                                                                      EAST JORDAN     MI    49727‐8818
DEBORAH A MEALS                                 406 BLANDON MEADOWS PARKWAY                                                                        BLANDON         PA    19510‐9776
DEBORAH A MEISTER CUST DEBORAH A MEISTER UTMA 5 PATERSON ST                                                                                        NEW BRUNSWICK   NJ    08901‐1204
AL
DEBORAH A METZ                                  23038 PETERSBURG                                                                                   E DETROIT       MI    48021‐2004
DEBORAH A MILLETTE                              96 SANDERS RD                                                                                      BUFFALO         NY    14216‐1218
DEBORAH A MOON TR UA 08/29/2005 MADGE A MOON 198 EDGEWATER DR                                                                                      FRAMINGHAM      MA    01702
REV TRUST
DEBORAH A MURRAY                                115 TIMBERWOOD LN                                                                                  SPRINGBORO      OH    45066‐8701
DEBORAH A MYERS‐JACKSON                         5060 GRAYTON                                                                                       DETROIT         MI    48224‐2148
DEBORAH A NOVAK                                 5645 PRAIRIE ROAD                                                                                  SALINE          MI    48176‐9562
DEBORAH A O'DWYER                               4145 OLE MISS DRIVE                                                                                KENNER          LA    70065‐1707
DEBORAH A PALUMBO                               45573 KENSINGTON ST                                                                                UTICA           MI    48317‐5938
DEBORAH A PARISH                                5057 W HARDING RD                                                                                  KNIGHTSTOWN     IN    46148‐9631
DEBORAH A PEAK                                  4253 MANKATO AVE                                                                                   ROYAL OAK       MI    48073‐1625
DEBORAH A PIWOWAR                               7320 LATHERS ST                                                                                    WESTLAND        MI    48185‐2632
DEBORAH A POFFENBERGER                          655 GREYLAG RD                                                                                     MIDDLETOWN      DE    19709‐9628
DEBORAH A POLASKY                               35575 SIX MILE RD                                                                                  LIVONIA         MI    48152‐2948
DEBORAH A POOLE                                 64 NEWBURGH ST                                                                                     BUFFALO         NY    14211‐1810
DEBORAH A PRAUS                                 48217 RED OAK DR                                                                                   SHELBY TWP      MI    48315‐4044
DEBORAH A RICARD                                28 TIMBERWICK DRIVE                                                                                FLEMINGTON      NJ    08822‐5515
DEBORAH A ROSEN                                 27 EDGEWOOD DRIVE                                                                                  OIL CITY        PA    16301‐2051
DEBORAH A ROUGH                                 1250 LIN DALE DR                                                                                   TRAVERSE CITY   MI    49686‐9234
DEBORAH A SCHOJAN                               4592 DANIEL DR                                                                                     MARION          NY    14505‐9303
DEBORAH A SCHULTZ & JEFFREY L SCHULTZ JT TEN    3076 THUNDERBIRD DRIVE                                                                             POLAND          OH    44514‐2711
DEBORAH A SEARS                                 2702 NORTHMONT DR                                                                                  BLACKLICK       OH    43004
DEBORAH A SHELLHAMMER & SCOTT B SHELLHAMMER 5274 FOXCHASE AVE NW                                                                                   CANTON          OH    44718‐1584
JT TEN
DEBORAH A SHERRELL TR DEBORAH A SHERRELL LIVING 24912 HON AVE                                                                                      LAGUNA HILLS    CA    92653‐4302
TRUST UA 09/08/05
DEBORAH A SHIMANSKI                             14355 HICKORY WAY                                                                                  APPLE VALLEY    MN    55124‐6681
DEBORAH A SIMON                                 2611 ROYAL LN                                                                                      GRANBURY        TX    76049‐2942
DEBORAH A SIRIANNI                              5183 BEAVERDAM RD                                                                                  CANTON          NC    28716‐6748
DEBORAH A SMITHSON                              309 N THOMPSON DR 1                                                                                MADISON         WI    53714‐1751
DEBORAH A STEPHENSON                            3117 S COUNTY RD APT 400E                                                                          KOKOMO          IN    46902‐9728
DEBORAH A TACKETT                               2277 S GROVE ST                    BLD 100 APT 113                                                 YPSILANTI       MI    48198‐9291
DEBORAH A TAYLOR                                1828 RIDGE RD                                                                                      DERBY           KS    67037‐3025
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DEBORAH A TEIXEIRA LONDON GAVIN SKYE UNIF TRAN   232 HILLSIDE DR                                                                                FAIRFAX          CA    94930‐1823
MIN ACT CA
DEBORAH A THOMAS                                 1643 BRYN MAWR RD                                                                              EAST CLEVELAND   OH    44112‐3811
DEBORAH A THOMPSON                               91 HIGH ST                                                                                     NEWTON           MA    02461‐1938
DEBORAH A THORSON & DANIEL K THORSON JT TEN      44 SARA LANE                                                                                   GLEN SPEY        NY    12737

DEBORAH A TURNER                                 6680 AMBASSADOR AVE                   APT 111                                                  GRAND LEDGE      MI    48837‐8716
DEBORAH A VALENTINE                              577 JOHNSTON TER                                                                               STATEN ISLAND    NY    10309‐3954
DEBORAH A VALTMAN                                748 73RD CT                                                                                    WILLOWBROOK      IL    60527‐5518
DEBORAH A VLAHOS                                 4 PINE DR                                                                                      WARWICK          NY    10990‐2245
DEBORAH A WAGNER & JEFFREY R WAGNER JT TEN       10 OAKHURST COURT                                                                              MOUNT SINAI      NY    11766‐3422

DEBORAH A WHITE CUST JACOB T WHITE UGMA MI       293 LONGFORD                                                                                   ROCHESTER HILL   MI    48309‐2033

DEBORAH A WISNIEWSKI                             40501 S INTERSTATE 94                 SERVICE DR                                               BELLEVILLE       MI    48111‐2857
DEBORAH A WITTE                                  2805 NACOMA PL                                                                                 KETTERING        OH    45420‐3840
DEBORAH A WRIGHT                                 PO BOX 10415                                                                                   NAPLES           FL    34101‐0415
DEBORAH A YEE                                    3060 N RIDGECREST UNIT 167                                                                     MESA             AZ    85207‐1081
DEBORAH A ZITTLE                                 3327 EAST TARO LANE                                                                            PHOENIX          AZ    85050‐2664
DEBORAH AIMEE COHN                               1111 PARK AVE                                                                                  NEW YORK         NY    10028‐1302
DEBORAH ALICE LEE & ERLA LEE JT TEN              BOX 2                                                                                          LA QUINTA        CA    92253‐0002
DEBORAH ANN ANDERSON                             261 GREENFIELD TRL                                                                             OSHKOSH          WI    54904‐7953
DEBORAH ANN BESAW                                49 SOUTH ST                                                                                    ROXBURY          CT    06783
DEBORAH ANN COOLEY                               802 BUTTERNUT AVE                                                                              ROYAL OAK        MI    48073‐3263
DEBORAH ANN COPPOCK                              08 COUNTY ROAD 319                                                                             OXFORD           MS    38655‐8531
DEBORAH ANN DEW                                  2536 HIGH ST                                                                                   OAKLAND          CA    94601‐4836
DEBORAH ANN GOLONKA                              14527 IVANHOE                                                                                  WARREN           MI    48093‐7403
DEBORAH ANN HUTCHINSON                           820 DEKALB AVE NE                     APT 3                                                    ATLANTA          GA    30307‐2589
DEBORAH ANN JACKSON                              1448 BAFIN BAY DR                                                                              PLANO            TX    75075‐2200
DEBORAH ANN KEMPISTY & ROBERT KEMPISTY JT TEN    14527 IVANHOE DRIVE                                                                            WARREN           MI    48088

DEBORAH ANN MARIE GARCIA CUST MIKAYLA ANN      2624 BLOOM ST                                                                                    SIMI VALLEY      CA    93063‐5795
MARIE GARCIA UTMA CA
DEBORAH ANN MEMENTOWSKI                        1647 HANFORD DRIVE                                                                               CLEVELAND        OH    44131‐2957
DEBORAH ANN NILAND                             ATTENTION DEBORAH ANN KEYNTON           7 FOREST AVE                                             MONTVALE         NJ    07645‐2204
DEBORAH ANN RENFRO                             1230 POSSUM TROT RD                                                                              RIESEL           TX    76682‐3606
DEBORAH ANN SHANTZ                             PO BOX 996                                                                                       CLARKSTON        MI    48347‐0996
DEBORAH ANN WHITE                              2805 NACOMA PLACE                                                                                KETTERING        OH    45420‐3840
DEBORAH ANNE GUTHRIE                           3032 18TH ST NW                                                                                  NEW BRIGHTON     MN    55112
DEBORAH ANNE LOWE                              643 N LAFAYETTE PARK PLACE                                                                       LOS ANGELES      CA    90026
DEBORAH ARNEY                                  1610 CROOKS                                                                                      ROYAL OAK        MI    48067‐1354
DEBORAH B GOLDBERG & MICHAEL E GOLDBERG JT TEN 29 CLAREMONT AVE #3N                                                                             NEW YORK         NY    10027‐6814

DEBORAH B GUTHRIE                                11885 CLARK RD                                                                                 WORTON           MD    21678‐1610
DEBORAH B JOYNER                                 919 SOMERSET CT                                                                                NEW BERN         NC    28562‐4536
DEBORAH B SMITH                                  811 COLLEGE ST                                                                                 NEWBERRY         SC    29108‐3839
DEBORAH B SWANSON                                7 GREENLEAF CIR                                                                                LYNN             MA    01902‐3208
DEBORAH B THOMAS                                 HARBOR HAVEN                          304 ACADEMY ST #201                                      CAMBRIDGE        MD    21613‐1873
DEBORAH BALL                                     5 MARION ROAD                                                                                  N FALMOUTH       MA    02556
DEBORAH BALMAT CUST JOSHUA LEE‐AIKINS UTMA MO    2316 SE 7TH ST TER                                                                             BLUE SPRINGS     MO    64014‐4706

DEBORAH BARTHOLOMEW LOBB TR UA 04/25/08          160 SHWEKY LANE                                                                                SOUTHINGTON      CT    06489
DEBORAH B LOBB LIVING TRUST
DEBORAH BECK                                     40 ANDOVER DR                                                                                  KENDALL PARK     NJ    08824‐7007
DEBORAH BORN                                     915 FIRST ST                                                                                   WOODLAND         CA    95695‐4822
DEBORAH BOSHES KELLEY                            6 N 250 DUNHAM RD                                                                              WAYNE            IL    60184
DEBORAH BOST SMITH                               5002 TALL OAKS DRIVE                                                                           BLACKSBURG       VA    24060‐8117
DEBORAH BOWEN                                    469 VENTRUA LANE                                                                               WHITEWATER       WI    53190‐1548
DEBORAH BOWER BURKE                              87 PAUL GORE ST                                                                                JAMAICA PLAIN    MA    02130‐1813
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Name                                              Address1                               Address2              Address3         Address4          City               State Zip

DEBORAH BRIN CUST SONIA BRIN UTMA NJ              30 SAN ANTONIO                                                                                  NEWPORT BEACH      CA    92660‐9115
DEBORAH BROWN                                     33685 SEBASTIAN                                                                                 STERLING HEIGHTS   MI    48312

DEBORAH BROWNE                                    116‐29 219TH STREET                                                                             CAMBRIA HTS        NY    11411
DEBORAH BURKE                                     134 AVERY ST                                                                                    ROCHESTER          NY    14606‐1904
DEBORAH BUTLER                                    206 DUFFERS LANE                                                                                MAYFIELD           KY    42066
DEBORAH BUTLER CUST KATHERINE FINCH UGMA CT       3 WELLSWEEP LANE                                                                                KILLINGWORTH       CT    06419‐1384

DEBORAH C BARKALOW                            2379 JOHNSVILLE‐FARMERSVILLE                                                                        FARMERSVILLE       OH    45325
DEBORAH C CARLSBERG CUST CRYSTAL CLAIRE       3957 SUNNY OAK RD                                                                                   SHERMAN OAKS       CA    91403‐4553
CARLSBERG UGMA CA
DEBORAH C D'AGOSTINO                          216 MITCHELL AVE                                                                                    MATTYDALE          NY    13211
DEBORAH C HAAPALA                             160 PINE TREE RIDGE DRIVE #3                                                                        WATERFORD          MI    48327‐4321
DEBORAH C HART                                4016 ORTEGA BLVD                                                                                    JACKSONVILLE       FL    32210‐4420
DEBORAH C KNIBB                               1307 LAKE POINT DRIVE                                                                               CHESAPEAKE         VA    23320‐2762
DEBORAH C LEFEVRE                             45 WOODLYN LN                                                                                       BRADBURY           CA    91008‐1128
DEBORAH C LUNDBLAD                            38 WILLOW GROVE ROAD                                                                                BRUNSWICK          ME    04011‐2964
DEBORAH C NABOZNY & SHOSHANA M NABOZNY JT TEN 52 PARDES MESHUTAF                         RAANANA                                43356 ISRAEL

DEBORAH C PARKS                                   2909 ST MARIA DRIVE                                                                             MANSFIELD          TX    76063‐2867
DEBORAH C RATCLIFFE & GEORGE L RATCLIFFE JT TEN   10308 38TH AVEN CT NW                                                                           GIG HARBOR         WA    98332‐8838

DEBORAH C RINDFUSS                                5176 N TONAWANDA CREEK RD                                                                       N TONAWANDA        NY    14120‐9537
DEBORAH C RODARTE                                 46 SALT MEADOW WAYE                                                                             MARSHFIELD         MA    02050‐2428
DEBORAH CARLSON                                   10314 SMUGGLERS CV                                                                              AURORA             OH    44202‐9077
DEBORAH CARRYER                                   2777 ORCHARD TRAIL                                                                              TROY               MI    48098‐4122
DEBORAH CELENTANO                                 704 SANTA VICTORIA                                                                              SOLANA BEACH       CA    92075‐1535
DEBORAH CHRISTINE NANCE                           24352 INKSTER RD                                                                                SOUTHFIELD         MI    48034‐6457
DEBORAH CLAIRE GARRARD                            50 NORTH MILL RD                                                                                ATLANTA            GA    30328‐1835
DEBORAH D BOSCO                                   3105 RIDGE OAK DRIVE                                                                            GARLAND            TX    75044‐6945
DEBORAH D BOURNE                                  PO BOX 8126                                                                                     PELHAM             NY    10803‐8126
DEBORAH D CALLAHAN                                96 THISTLE PATCH WAY                                                                            HINGHAM            MA    02043‐2838
DEBORAH D CARR                                    12611 PORTAGE WAY                                                                               FISHERS            IN    46038‐9603
DEBORAH D COLES                                   1621 W 14TH ST                                                                                  ANDERSON           IN    46016‐3203
DEBORAH D DALTON                                  102 ARMS BLVD                          APT 10                                                   NILES              OH    44446‐5340
DEBORAH D GOODWIN                                 2433 SOUTH CLEARING ROAD                                                                        SALEM              VA    24153‐7453
DEBORAH D HOCHMUTH                                11207 SPRINGVILLE‐BOSTON RD                                                                     EAST CONCORD       NY    14055
DEBORAH D HOSSENLOPP                              ATTN DEBORAH H MCNIERNEY               13810 SHAVANO ASH                                        SAN ANTONIO        TX    78230‐5853
DEBORAH D JOHNSON                                 1418 CHARLES AVE                                                                                KALAMAZOO          MI    49001‐1839
DEBORAH D LAMB                                    6616 HONEYSUCKLE LANE                                                                           INDIANAPOLIS       IN    46237‐9352
DEBORAH D LORENZ                                  7279 E COLDWATER ROAD                                                                           DAVISON            MI    48423‐8944
DEBORAH D MADDOCK                                 201 FRONT ST                                                                                    OAKES              ND    58474‐4001
DEBORAH D MCCALLION                               17 BONNIE HOLLOW LANE                                                                           MONTROSE           NY    10548‐1313
DEBORAH D OLIVER                                  3300 SWANEE DR                                                                                  LANSING            MI    48911‐3325
DEBORAH D PARHAM                                  PO BOX 102                                                                                      TANNER             AL    35671‐0102
DEBORAH D PETROVE                                 5170 SECORD LAKE ROAD                                                                           LEONARD            MI    48367‐1521
DEBORAH D QUICK                                   7901 LEE ROAD 390                                                                               OPELIKA            AL    36804‐5408
DEBORAH D RILEY                                   327 KEENELAND CT                                                                                LEBANON            OH    45036‐8514
DEBORAH D SILVERS                                 131 EL GRANDE LN                                                                                LENOIR CITY        TN    37771‐6813
DEBORAH D SODDERS                                 ATTN DEBORAH D WEISSMAN                1209 SW CROSSING DR                                      LEES SUMMIT        MO    64081‐3220
DEBORAH D SOLTESZ                                 ATTN DEBORAH D SPIKER                  6201 KALE ADAMS RD                                       LEAVITTSBURG       OH    44430‐9734
DEBORAH D SPEARS                                  7750 REYNOLDS RD                                                                                CAMBY              IN    46113‐9269
DEBORAH D THOMPSON CUST PAUL P THOMPSON           5222 SUNLYN                                                                                     GRAND BLANC        MI    48439‐9505
UGMA MI
DEBORAH D TOOLSON                                 42097 N COYOTE RD                                                                               QUEEN CREEK        AZ    85240‐9696
DEBORAH D TOWNSEND                                213 CORTLAND                                                                                    HIGHLAND PARK      MI    48203‐3432
DEBORAH D WHITTINGTON                             1213 SAINT LAWRENCE AVE                #2                                                       BRONX              NY    10472‐4613
DEBORAH D YOUNG                                   560 RAIL COVE RD                                                                                ANDREWS            NC    28901‐7060
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DEBORAH DALE CARTER CUST CAMERON D CARTER        715 MONTEREY TRAIL                                                                           DAKOTA DUNES    SD    57049‐5363
UTMA SD
DEBORAH DALE GOOD                                322 CHATTACHOOCHEE DR                                                                        BEAR            DE    19701
DEBORAH DAVIS                                    835 W BIG SAND PL                                                                            ORO VALLEY      AZ    85755‐6565
DEBORAH DAVIS                                    PO BOX 3216                                                                                  CENTER LINE     MI    48015
DEBORAH DELEON BRIN CUST ADINA BRIN UTMA NJ      83 SAN ANTONIO                                                                               NEWPORT BEACH   CA    92660‐9114

DEBORAH DENISE BACON                             4665 RIVERWOOD CIRCLE                                                                        DECATUR         GA    30035‐2937
DEBORAH DIDIER                                   76 CATALPA DR                                                                                VERSAILLES      OH    45380‐8497
DEBORAH DREYFUSS                                 302 PRIMROSE CT                                                                              AURORA          IL    60504‐6510
DEBORAH DRUMMONDS                                2819 GLEN DERRY STREET                                                                       JACKSON         MS    39212‐2720
DEBORAH DUNKLE THOMPSON                          5222 SUNLYN                                                                                  GRAND BLANC     MI    48439‐9505
DEBORAH E BAISDEN                                2219 DREXEL                                                                                  DETROIT         MI    48215‐2611
DEBORAH E BONTOFT                                7121 KIRKCALDY DR                                                                            WESTCHESTER     OH    45069‐4001
DEBORAH E BROWNING                               3625 OAKMAN                                                                                  DETROIT         MI    48204‐1205
DEBORAH E DONCALS                                734 LYNN PORTAL RD                                                                           WASHINGTON      PA    15301‐9326
DEBORAH E HAYES                                  300 WALTON AVE                                                                               DAYTON          OH    45417‐1670
DEBORAH E KONIOWSKY                              812 IOWA AVE                                                                                 MCDONALD        OH    44437‐1622
DEBORAH E MAHAN                                  639 COUNTY ROUTE 30                                                                          ALTMAR          NY    13302
DEBORAH E MATTHEWS                               16560 GLASTONBURY                                                                            DETROIT         MI    48219‐4137
DEBORAH E MC CUTCHEN                             12006 86TH AVE NE                                                                            KIRKLAND        WA    98034‐6011
DEBORAH E MCCARTY                                2415 WESTMORELAND RD                                                                         CLEVELAND       GA    30528‐5843
DEBORAH E PEREZ                                  1026 ARGYLE AVE                                                                              PONTIAC         MI    48341‐2303
DEBORAH E ROBINSON                               BOX 1004                                                                                     GLOUCESTER      VA    23061‐1004
DEBORAH E SALTZMAN                               6130 SW THOMAS                                                                               PORTLAND        OR    97221‐1223
DEBORAH E SAUNDERS                               3050 MARLINGTON                                                                              WATERFORD       MI    48329‐3652
DEBORAH E STETSON                                60 CIRCLE DRIVE                                                                              EASTHAM         MA    02642‐2829
DEBORAH E THACH                                  5733 ROBERTS RD                                                                              SYLVANIA        OH    43560‐2043
DEBORAH E WEIDEL                                 98 SWAN ST                                                                                   LAMBERTVILLE    NJ    08530‐1028
DEBORAH E WORVIE                                 1196 N GALE RD                                                                               DAVISON         MI    48423‐2505
DEBORAH ESTABROOK                                105 OAK RIDGE LN                                                                             BRIDGEWATER     MA    02324‐2339
DEBORAH EVERITT                                  6252 WASHINGTON ST                                                                           CHICAGO         IL    60415‐1969
DEBORAH F COLLINS                                315 PILGRIM                                                                                  BIRMINGHAM      MI    48009‐1267
DEBORAH F LOWE                                   34737 BLACKFOOT ST                                                                           WESTLAND        MI    48185‐2783
DEBORAH F NESBITT                                18647 KENTUCKY                                                                               DETROIT         MI    48221‐2005
DEBORAH FAYE COOPER                              814 LYONS RD                                                                                 PORTLAND        MI    48875
DEBORAH FINKEL                                   ATTN DEBORAH LENNON                 1143 MOUNT LOWE DR                                       ALTADENA        CA    91001‐1711
DEBORAH FLYNN CUST HENRY FLYNN UGMA NY           39 HILLS ROAD                                                                                LOUDONVILLE     NY    12211‐1320
DEBORAH FUGATE                                   1890 VANDERBURG                                                                              LAKE STATION    IN    46405‐1269
DEBORAH G CAIRNS                                 4057 PLEASANT GATE LN                                                                        COLUMBIA        TN    38401‐7389
DEBORAH G FAIR CUST MATTHEW G FAIR UTMA PA       1303 DELAWARE AVE                                                                            BETHLEHEM       PA    18015‐4120

DEBORAH G HEILIZER                           5707 HARWICK RD                                                                                  BETHESDA        MD    20816‐2049
DEBORAH G KIJEK                              2210 ACADEMY                                                                                     TROY            MI    48083‐5601
DEBORAH G MARTIN                             3604 62ND AVENUE                                                                                 MERIDIAN        MS    39307
DEBORAH G MCLENDON                           108 BASSETT LN                                                                                   YOUNGSTOWN      OH    44505‐4806
DEBORAH G MUNDELL                            28 PECAN LANE                                                                                    ELSBERRY        MO    63343‐4131
DEBORAH G TOMUSKO TR DEBORAH G TOMUSKO TRUST 8627 TORRANCE AVE                                                                                CLEVELAND       OH    44144‐2562
UA 08/28/98
DEBORAH G WALLACE & JAMES S WALLACE JT TEN   2205 LISA AVE                                                                                    MUSCLE SHOALS   AL    35661‐2674

DEBORAH G WESTON                                 10657 BOUNDARY CREEK TERRRACE                                                                MAPLE GROVE     MN    55369
DEBORAH GATES SENFT                              BOX 67                                                                                       WOODS HOLE      MA    02543‐0067
DEBORAH GAY ANDERSON                             218 EASTPARK DR                                                                              KISSIMMEE       FL    34747‐5028
DEBORAH GRAHAM                                   10581                               PINEVIEW ROAD                                            MANASSAS        VA    20111
DEBORAH GRASSICK WHITAKER                        3970 N COUNTY ROAD 625 W                                                                     GREENCASTLE     IN    46135‐8927
DEBORAH H CIOFFI CUST EVAN MICHAEL CIOFFI UGMA   214 SPORE RD                                                                                 DELMAR          NY    12054‐5423
NY
DEBORAH H CUTLER                                 135 HARTMAN RD                                                                               NEWTON CENTER   MA    02459
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DEBORAH H GERDIK CUST KRISTINE GERDIK UGMA NY      43 DUNLOP RD                                                                                    HUNTINGTON         NY    11743‐3932

DEBORAH H GERDIK CUST STEPHEN CHARLES GERDIK III   43 DUNLOP RD                                                                                    HUNTINGTON         NY    11743‐3932
UGMA NY
DEBORAH H JENKINS                                  1165 BAILEY RD                                                                                  BUTLER             AL    36904‐3619
DEBORAH H KING                                     179 ST ANDREWS                                                                                  CORTLAND           OH    44410‐8721
DEBORAH H RICCIO                                   325 WOODLAND CIR                                                                                MADISON            WI    53704‐5948
DEBORAH H TROEGER                                  2222 MARSHALL AVENUE                                                                            WHEELING           WV    26003‐7440
DEBORAH HALL                                       128 PEARSON ST                                                                                  SPARTA             TN    38583
DEBORAH HAYDEN                                     11011 VICTORSON CT                                                                              KETCHIKAN          AK    99901‐9219
DEBORAH HEDDEN                                     18 LEXINGTON WAY                                                                                LONG VALLEY        NJ    07853‐3264
DEBORAH HEMGESBERG                                 19110 RED PINE DR                                                                               HILLMAN            MI    49746‐8018
DEBORAH HILL                                       34359 GIANNETTI DRIVE                                                                           STERLING HEIGHTS   MI    48312‐5736

DEBORAH HOLMES                                     1293 SILVERSTREET WAY                                                                           THE VILLAGES       FL    32162‐2080
DEBORAH HOLMES                                     321 NEW BEDFORD DR                                                                              VALLEJO            CA    94591‐7836
DEBORAH HOLMES & ROY C HOLMES JT TEN               1293 SILVERSTREET WAY                                                                           THE VILLAGES       FL    32162‐2080
DEBORAH HOLTZ GILLESPIE                            40 RED BARN ROAD                                                                                WAYLAND            MA    01778‐1124
DEBORAH HUNT LAWRENCE                              4580 15TH AVE SW                                                                                NAPLES             FL    34116‐5140
DEBORAH I BARTLEY                                  5249 MARCONI                                                                                    CLARKSTON          MI    48348‐3843
DEBORAH I PEARL                                    2925 PASSMORE DR                                                                                LOS ANGELES        CA    90068‐1716
DEBORAH I PETERS                                   7 ONONDAGA DR                                                                                   HAWTHORN WDS       IL    60047‐1909
DEBORAH I SCATES                                   PO BOX 29103                                                                                    SHREVEPORT         LA    71149‐9103
DEBORAH I WAHL                                     205 AVE DE LAFAYETTE                                                                            MONROE             MI    48162
DEBORAH IACOBUCCI                                  3742 MONTEGO DR                                                                                 HUNTINGTON         CA    92649‐2005
                                                                                                                                                   BEACH
DEBORAH IANNUCCI                                   24 OSBORN LANE                                                                                  BRIDGETON          NJ    08302
DEBORAH J ANDRA                                    2017 TALBOT STREET                                                                              TOLEDO             OH    43613‐5024
DEBORAH J ASHCRAFT                                 5167 BELLE ISLE DR                                                                              DAYTON             OH    45439
DEBORAH J BARNA                                    2175 HENN HYDE                                                                                  WARREN             OH    44484
DEBORAH J BARTUCCI                                 5705 ALTIMA NW                                                                                  ALBUQUERQUE        NM    87120‐5721
DEBORAH J BATES                                    45680 ADA AVE                                                                                   CALDWELL           OH    43724‐9266
DEBORAH J BESSLER                                  310 E BLAINE STREET                                                                             GREENTOWN          IN    46936‐1233
DEBORAH J BRALEY                                   9 LINCOLN ST                                                                                    NATICK             MA    01760‐4720
DEBORAH J BRONIECKI                                707 E CHELSEA CIR                                                                               DAVISON            MI    48423‐1204
DEBORAH J BROWN                                    14559 GRIGGS ST                                                                                 DETROIT            MI    48238‐1665
DEBORAH J COMER                                    708 FOREST RIDGE DR                                                                             YOUNGSTOWN         OH    44512‐3516
DEBORAH J CREPEAU                                  4282 REID RD                                                                                    SWARTZ CREEK       MI    48473‐8879
DEBORAH J DAVIS                                    4940 WESTBROOK RD                                                                               IONIA              MI    48846‐9764
DEBORAH J DOWER                                    225 RAMBLEWOOD DR                                                                               RAYNHAM            MA    02767‐1559
DEBORAH J FACKRELL & RICHARD L FACKRELL JT TEN     5333 N FALLEN LEAF LANE                                                                         GLENDALE           AZ    85310‐2931

DEBORAH J GAIDE                                    1734 BRENTWOOD DRIVE                                                                            TROY               MI    48098‐2630
DEBORAH J GARZA                                    363 S BROADMOOR BLVD                                                                            SPRINGFIELD        OH    45504‐1159
DEBORAH J GILCHRIST                                7661 S COUNTY RD O                                                                              CLAYTON            IN    46118
DEBORAH J HAMILTON                                 17176 BRADFORD                                                                                  DETROIT            MI    48205‐3169
DEBORAH J HULSEY & ANTHONY J HULSEY JT TEN         2015 HUNTINGTON LN                     UNIT A                                                   REDONDO BEACH      CA    90278
DEBORAH J HUMBACH                                  5929 MORELY                                                                                     WESTLAND           MI    48185‐1935
DEBORAH J ILLENCIK                                 802 TRUMBULL AVENUE                                                                             NILES              OH    44446
DEBORAH J JANUSZEWSKI                              1125 HIGHWAY 91 SOUTH                                                                           COLQUITT           GA    31737
DEBORAH J KELLEY                                   702 S 25TH ST                                                                                   COPPERAS COVE      TX    76522
DEBORAH J KLONT                                    3932 MORNINGSTAR LANE                                                                           EATON RAPIDS       MI    48827
DEBORAH J KNORRE                                   C/O DEBORAH J CLARK                    4362 STIRRUP ST                                          EAGAN              MN    55123‐2047
DEBORAH J LEHIGH                                   9710 36TH WAY N                                                                                 PINELLAS PARK      FL    33782
DEBORAH J LYNCH                                    14 AJELLO FARM RD                                                                               SEYMOUR            CT    06483‐2362
DEBORAH J MARLER                                   10109 CASA LINDA                                                                                OKLAHOMA CITY      OK    73139‐5414
DEBORAH J MARTIN                                   2903 W NEWBURG RD                                                                               CARLETON           MI    48117‐9181
DEBORAH J MASSEY                                   3500 S 450 W                                                                                    RUSSIAVILLE        IN    46979‐9455
DEBORAH J MCCLURE                                  1774 ERIC DR                                                                                    DAYTON             OH    45414‐3917
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DEBORAH J MCCLURE EX UW WANDA R HANN              1774 ERIC DR                                                                                     DAYTON             OH    45414‐3917
DEBORAH J MCDONNELL                               2212 REGINA AVE                                                                                  LINCOLN PARK       MI    48146‐2589
DEBORAH J MCNAMARA                                633 REWOLD DR                                                                                    ROCHESTER          MI    48307‐2234
DEBORAH J MIKO                                    2039 SHERWOOD FOREST DR                                                                          MIAMISBURG         OH    45342‐6200
DEBORAH J MORRIS                                  7520 WHEELER DR                                                                                  ORLAND PARK        IL    60462‐5026
DEBORAH J NEAGLE                                  7633 S BARBIAN CT                                                                                FRANKLIN           WI    53132‐7903
DEBORAH J PEDERSEN                                8 CIRCUIT ST                                                                                     MANCHESTER         NH    03103‐6730
DEBORAH J PENNINGTON                              C/O DEBORAH J GADDIS                    6110 NORTH BALES                                         GLADSTONE          MO    64119‐1938
DEBORAH J PETERSON                                400 LAUDER AVE NW                                                                                WARREN             OH    44483‐1326
DEBORAH J PISCIOTTA & WILLIAM J BATLINER JT TEN   9709 EAST 82ND STREET                                                                            RAYTOWN            MO    64138‐2026

DEBORAH J QUILICO                                 PO BOX 3128                                                                                      SHAWNEE            KS    66203‐0128
DEBORAH J ROBERTS                                 PMB 144                                 7092 HIGHLAND RD                                         WATERFORD          MI    48327
DEBORAH J ROE                                     303 OAKWOOD LN                                                                                   PERRY              MI    48872
DEBORAH J ROSS                                    1865 N HADLEY RD                                                                                 ORTONVILLE         MI    48462‐9795
DEBORAH J SAVAGE                                  3001 MILDRED ST                                                                                  FLINT              MI    48505‐4233
DEBORAH J SCROGIN                                 18302 BLINKA                                                                                     WALLER             TX    77484
DEBORAH J SPRAGUE                                 658 ROOSEVELT AVENUE                                                                             MT MORRIS          MI    48458‐1527
DEBORAH J STACK                                   14627 SAINT LOUIS AVE                                                                            MIDLOTHIAN         IL    60445‐2935
DEBORAH J SY CUST BRYAN M SY UGMA TN              1600 HIDDEN HILLS DRIVE                                                                          CLINTON            TN    37716‐5876
DEBORAH J TANNLER                                 56 WOODVIEW WAY                                                                                  MANCHESTER         NH    03102
DEBORAH J TERAN                                   42828 NORTH HAMPTON                                                                              STERLING HEIGHTS   MI    48314‐2812

DEBORAH J TERAN & DANIEL TERAN JR JT TEN          42828 NORTH HAMPTON                                                                              STERLING HGTS      MI    48314‐2812
DEBORAH J THOMPSON                                PO BOX 1338                                                                                      SHIRLEY            MA    01464‐1338
DEBORAH J TIMMS                                   101 RAINTREE WOODS TRAIL                                                                         PALATKA            FL    32177‐9158
DEBORAH J TRINKLE                                 6787 NORTH CLUB LOOP                                                                             SHREVEPORT         LA    71107‐9645
DEBORAH J VARNDELL TR HERB COVINGTON TRUST UA     5550 DOVER DRIVE                                                                                 CARAMEL            IN    46033‐8557
03/07/98
DEBORAH J VAUGHN                                  8948 PORTAGE RD                         APT 2                                                    PORTAGE          MI      49002‐6477
DEBORAH J VICKERS                                 5026 DANTES VIEW DR                                                                              CALABASAS HILLS  CA      91301‐2312
DEBORAH J WARUSZEWSKI                             42301 BIRCH TREE LN 85                                                                           CLINTON TOWNSHIP MI      48038‐2109

DEBORAH J WICKERSHAM                              16502 MADISON ST                                                                                 OMAHA              NE    68135‐6342
DEBORAH J WILLIAMS                                1108 WASHBURN PL W                                                                               SAGINAW            MI    48602‐2978
DEBORAH J WILLIAMS LANE                           1348 WOODBINE ST                                                                                 CLEARWATER         FL    33755‐2749
DEBORAH J WINARD                                  APT 2A                                  101 W 86TH ST                                            NEW YORK           NY    10024‐3437
DEBORAH J WITCOSKI                                648 UNDERWOOD CORNER ROAD                                                                        CLAYTON            DE    19938‐2242
DEBORAH J ZUGELL                                  22335 N REBECCA BURWELL LN                                                                       KATY               TX    77449‐2910
DEBORAH JACKSON                                   311 GARSON AVENUE                                                                                ROCHESTER          NY    14609‐6232
DEBORAH JAEGER                                    209 E 7TH ST                                                                                     MANTON             MI    49663‐8089
DEBORAH JANIS CUST LINDSEY W JANIS UTMA CA        9268 MONTE MAR DRIVE                                                                             LOS ANGELES        CA    90035‐4146
DEBORAH JEAN BALL WOOTEN                          5255 LOURCEY ROAD                                                                                JACKSONVILLE       FL    32257‐1145
DEBORAH JEAN BINGHAM                              6531 W LARIAT LN                                                                                 GLENDALE           AZ    85310‐1044
DEBORAH JEAN HOGAN                                PO BOX 434                                                                                       NEWPORT BEACH      CA    92662‐0434
DEBORAH JEAN JOHNSTON                             32011 THORNCREST                                                                                 ST CLAIRE SHORES   MI    48082‐1233
DEBORAH JEAN PAWLOWSKI                            28197 EASTERLING RD                                                                              SOUTH LYON         MI    48178‐8963
DEBORAH JEAN PTAK                                 151 CREEKVIEW                                                                                    BATTLE CREEK       MI    49017‐1430
DEBORAH JO COOLEY GILREATH                        305 CAMPBELL ROAD                                                                                BELTON             SC    29627‐9741
DEBORAH JOAN ESTOK                                1802 HAWKES RD                                                                                   MISSOURI CITY      TX    77489‐6072
DEBORAH JOHNSON POWELL PERS REP EST HARLAN        421 LAWNDALE AVE                                                                                 LEBANON            OH    45036‐1335
JOHNSON JR
DEBORAH JOYCE DOUGLAS MEHREZ                      1783 MANDEVILLE CANYON RD                                                                        LA                 CA    90049‐2525
DEBORAH JUDD CUST NOAH SMITH UTMA IL              4 OLIVE CIRCLE                                                                                   CLINTON            IL    61727‐2439
DEBORAH K ALDRIDGE                                95 ANDREWS LN                                                                                    NEW CARLISLE       OH    45344‐9063
DEBORAH K BAYBECK                                 2212 TAFT ST                                                                                     SAGINAW            MI    48602‐3855
DEBORAH K BEAMISH                                 123 SIDNEY ST                                                                                    WEST BRANCH        MI    48661‐1255
DEBORAH K BEEM                                    306 N DIVISION                                                                                   MARSHALL           MI    49068‐1134
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DEBORAH K BROWN SACHEN & DAVID E SACHEN JT TEN 8126 S LOTUS AVE                                                                                BURBANK         IL    60459

DEBORAH K CROCKETT                             2356 S 350 W                                                                                    RUSSIAVILLE     IN    46979‐9181
DEBORAH K DUHNOVSKY                            890 E STATE RD 14                                                                               WINAMAC         IN    46996
DEBORAH K GLEBINSKI CUST KATHLEEN GLEBINSKI    8 HAAS DR                                                                                       RINGOES         NJ    08551‐1113
UTMA NJ
DEBORAH K GROUIX                               3276 SHILLELAGH DRIVE                                                                           FLINT           MI    48506‐2245
DEBORAH K HEAD                                 10203 GRAHAM DR                                                                                 CLARKSTON       MI    48348‐2425
DEBORAH K HIGHTOWER                            PO BOX 47076                                                                                    DORAVILLE       GA    30362‐0076
DEBORAH K HUDAK                                4438 OPHELIA ST                                                                                 NEWTON FALLS    OH    44444‐1481
DEBORAH K JOHNSON                              18 CLEVELAND ST                                                                                 GREENFIELD      MA    01301‐1906
DEBORAH K KAISER                               30905 BEECHNUT                                                                                  WESTLAND        MI    48186‐5094
DEBORAH K KELLER                               712 WESTWOOD DR                                                                                 RICHARDSON      TX    75080‐5503
DEBORAH K KELLER                               255 HENRY RUFF                                                                                  GARDEN CITY     MI    48135‐1370
DEBORAH K KOTZEN                               439 N LEAVITT ST #3                                                                             CHICAGO         IL    60612‐1543
DEBORAH K MCDOWELL & BERT A MCDOWELL JT TEN    1320 CLOVERDALE DRIVE                                                                           HIXSON          TN    37343‐4421

DEBORAH K MILLER                               7641 SWAILS ST                                                                                  ACTON           IN    46259‐1537
DEBORAH K MITCHELL                             6625 AMBASSADOR AVE                    APT 412                                                  GRAND LEDGE     MI    48837‐8704
DEBORAH K MOERSCH                              218 RIVER BEACH DR                                                                              ORMOND BEACH    FL    32176
DEBORAH K MOORE & PATRICK M MOORE JT TEN       15 GLENBERRY COURT                                                                              PHOENIX         MD    21131‐1413
DEBORAH K NOWAK‐VANDERHOEF                     2730 AMBERLY LANE                                                                               TROY            MI    48084‐2695
DEBORAH K POLING                               741 W RIVERSIDE DR                                                                              LANEXA          VA    23089‐6123
DEBORAH K SCHNEIDER CUST KATHRYN C SCHNEIDER   6205 HILLSBORO                                                                                  DAVISBURG       MI    48350‐3522
UGMA MI
DEBORAH K SELBY                                5216 MALLORY DR                                                                                 FORT WORTH       TX   76117‐2452
DEBORAH K SHASTAL                              4115 FENMORE                                                                                    WATERFORD        MI   48328‐3082
DEBORAH K SNYDER                               1938 MATTERHORN DRIVE                                                                           BALLWIN          MO   63011‐4802
DEBORAH K SULLIVAN                             6167 SOUTH SHERIDAN RD                                                                          DURAND           MI   48429‐9600
DEBORAH K TEUBERT                              10783 SPARKLING WATERS CT                                                                       SOUTH LYON       MI   48178‐9297
DEBORAH K VARNER                               1427 MIFFLIN ST                                                                                 HUNTINGDON       PA   16652
DEBORAH K WALLA & LEONARD A WALLA JT TEN       6719 DORF                                                                                       UTICA            MI   48317‐2227
DEBORAH K WHYMAN                               42090 SARATOGA CIR                                                                              CANTON           MI   48187‐3575
DEBORAH K WOZNIAK                              28840 KING RD                                                                                   ROMULUS          MI   48174‐9448
DEBORAH K YATES                                131 N ELIZABETH AVE                                                                             ST LOUIS         MO   63135‐2455
DEBORAH K YEDLIN                               1989 PROSPECT AVE                                                                               SCOTCH PLAINS    NJ   07076‐1202
DEBORAH KAY MITCHELL                           6390 E 221ST ST                                                                                 CICERO           IN   46034‐9746
DEBORAH KAY SCOTT                              ATTN DEBORAH KAY GARNER                9274 MICHELLE DR                                         DURAND           MI   48429‐9435
DEBORAH KAY TULLY                              7789 WINDY HILL CT                                                                              CENTERVILLE      OH   45459‐5439
DEBORAH KAY WARNER                             25 TRIPLE CROWN CIR                                                                             SPRINGBORO       OH   45066‐9123
DEBORAH KAZAKOS CUST NIKOLAOS D Z KAZAKOS      36019 CONGRESS                                                                                  FARMINGTON HILLS MI   48335
UGMA MI
DEBORAH L ARGYLE‐BUCHHOP                       2274 WODLAND TRL                                                                                HILLSDALE       MI    49242‐3000
DEBORAH L ARMITAGE                             167 MCINTOSH DRIVE                                                                              LOCKPORT        NY    14094‐5110
DEBORAH L ATWELL                               5152 S MORRISH RD                      APT 51                                                   SWARTZ CREEK    MI    48473‐1803
DEBORAH L BAGLEY                               3661 N WINDSOR PL                                                                               MARTINSVILLE    IN    46151‐5987
DEBORAH L BAILEY                               5697 E 300 N                                                                                    GREENFIELD      IN    46140‐8249
DEBORAH L BAINBRIDGE                           3216 TOWN CROSSING DR SW                                                                        GRANDVILLE      MI    49418‐2595
DEBORAH L BASSETT & BRIAN H WRIGHT JT TEN      26920 SILOAM RD                                                                                 SALISBURY       MD    21801‐1292
DEBORAH L BENTLEY                              135 BACKBONE ROAD                                                                               SEWICKLEY       PA    15143
DEBORAH L BOTHUN                               2738 PARK PLACE LANE #20                                                                        JANESVILLE      WI    53545‐5267
DEBORAH L BREZNAI                              3039 HILDA DR                                                                                   WARREN          OH    44484‐3270
DEBORAH L BROWN                                11815 KILBOURNE ST                                                                              DETROIT         MI    48213‐1375
DEBORAH L BRUDI CUST CALEB H BRUDI UTMA MI     7146 PONTIAC TRAIL                                                                              SOUTH LYON      MI    48178‐9646
DEBORAH L BURGE                                PO BOX 540                                                                                      NORTHPORT       MI    49670‐0540
DEBORAH L CAVNAR                               RT 1 BOX 213                                                                                    PURCELL         OK    73080‐9340
DEBORAH L CELANO                               4927 LANCASTER PIKE                                                                             WILMINGTON      DE    19807‐2550
DEBORAH L COBURN                               7681 COLDSTREAM WOODS DR                                                                        CINCINNATI      OH    45255‐3929
DEBORAH L COBURN & CARL R COBURN JT TEN        7681 COLDSTREAM WOODS DR                                                                        CINCINNATI      OH    45255‐3929
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DEBORAH L COLEMAN                                 7 HOUSATONIC COURT                                                                             HOUSATONIC         MA    01236‐9755
DEBORAH L COPELAND                                3512 AUGUST TAVERN CREEK RD                                                                    GLENCOE            MO    63038
DEBORAH L CORNETT & RUBY GRILLOT JT TEN           6073 LIBERTY FAIRFIELD                                                                         LIBERTY TWP        OH    45011
DEBORAH L COUGHLIN                                15597 PINERIDGE                                                                                LINDEN             MI    48451‐8753
DEBORAH L COVERT CUST KEVIN J COVERT JR UTMA NJ   825 SUNSET RD                                                                                  BEACHWOOD          NJ    08722‐2415

DEBORAH L DALE                                    PO BOX 86                                                                                      BRYSON CITY        NC    28713‐0086
DEBORAH L DANNO TACCONE                           101 HUTCHINGS RD                                                                               ROCHESTER          NY    14624‐1019
DEBORAH L DAVIS                                   33 ELM CT                                                                                      GROSSE POINTE      MI    48236
DEBORAH L DAVIS                                   8179 COUNTY ROAD 203                  APT 203                                                  DANVILLE           AL    35619‐9064
DEBORAH L DAVIS                                   3033 38TH AVE W                                                                                SEATTLE            WA    98199‐2512
DEBORAH L DENISE                                  20 LAWRENCIA DRIVE                                                                             LAWRENCEVILLE      NJ    08648‐1551
DEBORAH L DICKEN TR DEBORAH L DICKEN TRUST UA     PO BOX 175                                                                                     CROSS VILLAGE      MI    49723‐0175
2/24/94
DEBORAH L DILTS                                   17364 LINCOLN RD                                                                               NEW LOTHROP      MI      48460‐9621
DEBORAH L DOWNS                                   1901 60TH TER NE                                                                               SAINT PETERSBURG FL      33703‐1723

DEBORAH L DOYLE                                   1480 CAUALRY                                                                                   DETROIT            MI    48209‐2349
DEBORAH L DRAKE                                   3953 W FERNWALD DR                                                                             DAYTON             OH    45440‐3431
DEBORAH L DYKES                                   6545 MURNAN RD                                                                                 COLD SPRING        KY    41076‐9246
DEBORAH L DYNE                                    7112 BRANDYWINE RD                                                                             PARMA HTS          OH    44130‐4629
DEBORAH L ELMORE                                  760 TIMBERLINE TERR                                                                            BRENTWOOD          CA    94513‐1822
DEBORAH L FERRO                                   219 CR 3224                                                                                    DEBERRY            TX    75639‐2635
DEBORAH L FRAKES                                  45708 BRISTOL CIRCLE                                                                           NOVI               MI    48377‐3913
DEBORAH L GENTILE                                 5913 FAIRVIEW WOODS DR                                                                         FAIRFAX STATION    VA    22039‐1427
DEBORAH L GIGUERE IN TRUST AC I                   47 SANDRA DR                          FENWICK ON                             L0S 1C0 CANADA
DEBORAH L GOENSE                                  #1 FURBER AVENUE                                                                               LINDEN             NJ    07036‐3615
DEBORAH L GUINNUP                                 7223 N OLNEY ST                                                                                INDIANAPOLIS       IN    46240‐3532
DEBORAH L HAMMOND                                 1041 PARKWOOD RD                                                                               BIRMINGHAM         AL    35242
DEBORAH L HARPER                                  2004 HELEN ST                                                                                  MELBOURNE          FL    32901‐5912
DEBORAH L HAYNES                                  ATTN DEBORAH L VIRDEN                 300 WESTMORELAND AVE                                     WILMINGTON         DE    19804‐1846
DEBORAH L HAZEL                                   295 PROCTOR TRAIL                                                                              BOWLING GREEN      KY    42101‐9131
DEBORAH L HEISEL                                  7900 LOWER 139TH CT WEST                                                                       APPLE VALLEY       MN    55124‐7344
DEBORAH L HENDRICKSON                             11750 47TH NE CI                                                                               SAINT MICHAEL      MN    55376‐4918
DEBORAH L HUM                                     848 SULLIVAN AVENUE                                                                            CONCORD            CA    94518‐2125
DEBORAH L KACERA                                  3910 SW 4TH AVE                                                                                OCALA              FL    34471‐8425
DEBORAH L KASTENHOLZ                              4525 LAKE MEADOWS DR                                                                           RACINE             WI    53402‐5319
DEBORAH L KELLER                                  227 S CHRISTINE                                                                                WESTLAND           MI    48186‐4334
DEBORAH L KELLY                                   1543 CLARK ST                                                                                  NILES              OH    44446
DEBORAH L KENNEDY                                 4613 W 99TH PLACE                                                                              OAK LAWN           IL    60453‐4005
DEBORAH L KIMMEL                                  1133 DUNAWAY ST                       APT 5                                                    MIAMISBURG         OH    45342‐3881
DEBORAH L KNOX                                    300 W CHART                                                                                    PLAINWELL          MI    49080‐1671
DEBORAH L KORB                                    PO BOX 143                                                                                     DONNELSVILLE       OH    45319‐0143
DEBORAH L KOST                                    3919 CAMDEN DR                                                                                 STERLING HEIGHTS   MI    48314‐1993

DEBORAH L KUENZ                                   6757 MILLERSBURG RD                                                                            WOOSTER            OH    44691
DEBORAH L LYNCH CUST BRIANNA KATHLEEN LYNCH       16700 ODELL AVE                                                                                TINLEY PARK        IL    60477‐2666
UTMA IL
DEBORAH L MAAS                                    19962 CENTRALIA                                                                                REDFORD          MI      48240‐1101
                                                                                                                                                 TOWNSHIP
DEBORAH L MAC WHIRTER                             131 PORTER ST                                                                                  MANCHESTER       NH      03103‐2941
DEBORAH L MANIACI                                 42012 EHRKE                                                                                    CLINTON TOWNSHIP MI      48038‐3602

DEBORAH L MARTIN                                  7626 DEVINS RDG                                                                                CLARKSTON          MI    48348‐4351
DEBORAH L MECKES                                  1596 ONONDAGA                                                                                  LAKEWOOD           OH    44107‐4309
DEBORAH L MESSENGER & JANET H JONES JT TEN        5402 GRATIOT                                                                                   ST CLAIR           MI    48079
DEBORAH L MOOMEY                                  805 NEUBERT AVE                                                                                FLINT              MI    48507‐1720
DEBORAH L MROSEWSKE                               9596 DELORES DR                                                                                CLARKSTON          MI    48348‐2400
DEBORAH L MUHA                                    9114 NEWKAY LN                                                                                 SPRING             TX    77379
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DEBORAH L MUIR                                  ATTN DEBORAH MUIR MCDANIEL             35973 MILDRED ST                                         NORTH RIDGEVILLE OH   44039‐1511

DEBORAH L MURRAY                                606 E 4TH ST                                                                                    WENTZVILLE       MO   63385‐1801
DEBORAH L O'HALLA & KEVIN B O'HALLA JT TEN      5137 WINDCREST CT                                                                               GRANDVILLE       MI   49418‐9738
DEBORAH L OKRISKY                               ATTN DEBORAH OKRISKY KLEM              6577 LIERMAN RD                                          IMLAY            MI   48444‐8506
DEBORAH L PARKER                                13571 FAUST                                                                                     DETROIT          MI   48223‐3503
DEBORAH L PARTRIDGE                             14021 DUFFIELD RD                                                                               MONTROSE         MI   48457‐9409
DEBORAH L PAULINE                               770 THE CIRCLE                                                                                  LEWISTON         NY   14092
DEBORAH L PETREY                                115 SARAHS WAY                                                                                  ORTONVILLE       MI   48462‐9179
DEBORAH L PITTENGER                             23810 REDBARK DRIVE                                                                             MORENO VALLEY    CA   92557‐3967
DEBORAH L PRITZ                                 3 HICKORY TRACK TRAIL                                                                           OCALA            FL   34472
DEBORAH L REYNOLDS                              11051 SAND CRANE WAY                                                                            S LYON           MI   48178‐9553
DEBORAH L RHODES                                6256 DUNBARTON ST SE                                                                            ADA              MI   49301‐7839
DEBORAH L RILEY                                 12712 BURR OAK DR                                                                               NEWALLA          OK   74857‐9307
DEBORAH L RUBY                                  2824 PAUL MALCOM ROAD                                                                           GOOD HOPE        GA   30641‐2902
DEBORAH L RUUD                                  PO BOX 28                                                                                       LINDSBORG        KS   67456‐0028
DEBORAH L SAYER‐REHOR                           3051 PARK RIDGE AVE                                                                             PAHRUMP          NV   89048‐0928
DEBORAH L SCHEERER                              23106 NORTH HIGHWAY 395 45                                                                      COLBERT          WA   99005
DEBORAH L SCHWARTZ                              19937 N GREAT OAKS CIR                                                                          CLINTON TOWNSHIP MI   48036‐2437

DEBORAH L SCOTT                                 8478 W COUNTY RD 640 S                                                                          REELSVILLE      IN    46171‐8954
DEBORAH L SCOTT                                 10 ALBEN ST                                                                                     WINCHESTER      MA    01890‐1404
DEBORAH L SHANEOUR                              2502 W ARBOR                                                                                    ANN ARBOR       MI    48103‐9522
DEBORAH L SHELTON                               4864 CLINTON WAY DR                                                                             WATERFORD       MI    48328‐1006
DEBORAH L SHORT‐STEPHENSO                       RR #1 BOX 82                           NESTLETON ON                           L0B 1L0 CANADA
DEBORAH L SMITH                                 550 BROADMEADOW BLVD                                                                            OXFORD          MI    48371‐4124
DEBORAH L STEWART                               11402 N GENESEE RD                                                                              CLIO            MI    48420‐9755
DEBORAH L STEWART CUST JAMES ANDREW STEWART     4969 STODDARD                                                                                   TROY            MI    48098‐3539
UGMA MI
DEBORAH L STEWART CUST OLIVIA AIMEE STEWART     4969 STODDARD                                                                                   TROY            MI    48098‐3539
UGMA MI
DEBORAH L STRINGER                              8343 S ABERDEEN ST                                                                              CHICAGO         IL    60620‐3110
DEBORAH L SWEENEY                               C/O DEBORAH L SWANSON                  RRI HIGHLAND GROVE ON                  K0L 2A0 CANADA
DEBORAH L TAYLOR                                300 CARLSBAD VILLAGE DR                STE 108A                                                 CARLSBAD        CA    92008‐2990
DEBORAH L THEBERT                               133 W CONCORD                                                                                   LEBANON         OH    45036‐2305
DEBORAH L THORNTON                              13102 HALLET COURT                                                                              ROCKVILLE       MD    20853‐3242
DEBORAH L THORNTON & ALICE M THORNTON JT TEN    13102 HALLET CT                                                                                 ROCKVILLE       MD    20853‐3242

DEBORAH L TITUS                                 4106 N GREEN CT                                                                                 CARMICHAEL      CA    95608‐2108
DEBORAH L TUNSTULL                              15403 ARTESIAN                                                                                  DETROIT         MI    48223‐2268
DEBORAH L TURE                                  4503 GUAM ST                                                                                    VIRGINIA BCH    VA    23455
DEBORAH L VAHRATIAN                             23809 ARGYLE                                                                                    NOVI            MI    48374‐4314
DEBORAH L WASKIN                                26067 ALBERT J DRIVE                                                                            WARREN          MI    48091‐6500
DEBORAH L WINFORD                               2222 FM 1827                                                                                    MCKINNEY        TX    75071‐0504
DEBORAH L WOODS                                 16242 BOSTATER RD                                                                               NEY             OH    43549‐9759
DEBORAH L ZONDLAK                               1803 16TH AVE SW                                                                                BTRON CENTER    MI    49315‐9510
DEBORAH LANGOSCH                                225 LINCOLN PL APT 2F                                                                           BROOKLYN        NY    11217‐3725
DEBORAH LAURA WATSON                            1104 PADDOCK CLUB DR                                                                            P C BEACH       FL    32407‐2482
DEBORAH LEACHKO CUST JACQLYN N LEACHKO UTMA     4299 PINE LAKE DR                                                                               MEDINA          OH    44256‐7640
OH
DEBORAH LEACHKO CUST KELSEY B LEACHKO UTMA OH   4299 PINE LAKE DRIVE                                                                            MEDINA          OH    44256‐7640

DEBORAH LEE WILSON                              10601 7MILE ROAD                                                                                NORTHVILLE      MI    48167‐9116
DEBORAH LEREA DACH                              24022 PARK GRANADA                                                                              CALABASAS       CA    91302‐2506
DEBORAH LEVINE                                  211 E 70TH ST                          APT 13A                                                  NEW YORK        NY    10021‐5207
DEBORAH LIPMAN                                  40 BRENTWOOD AVE                                                                                FREEHOLD        NJ    07728‐2012
DEBORAH LIPTON HANNA                            11229 CAMERO AVE NE                                                                             ALBUQUERQUE     NM    87111
DEBORAH LOUISE ALBERT                           118 SKYSTASAIL DRIVE                                                                            WILMINGTON      NC    28409
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DEBORAH LYNN BUSH CLAGG TR UA 06/28/89 JAMES S   3482 BOWMAN RD                                                                                SEAFORD           DE    19973‐4724
BUSH TRUST
DEBORAH LYNN KEENE                               28700 S WOODLAND RD                                                                           CLEVELAND       OH      44124‐5659
DEBORAH LYNN PERKINS                             727 WESTWOOD DRIVE                                                                            MONROE          MI      48161‐1857
DEBORAH LYNN SAVAGE                              168 RICKEY AVE                                                                                FT WALTON BEACH FL      32547‐3917

DEBORAH LYNN SMITH                               16 COLUMBIA LANDING                                                                           COLUMBIA           CT   06237‐1304
DEBORAH LYNNE CARP                               711 SUNSET MOUNTAIN DR                                                                        CHATTANOOGA        TN   37421‐2076
DEBORAH LYNNE CROSS                              316 QUECHEE WEST HARTFORD ROAD                                                                WHITE RIVER JUNCTI VT   05001‐2121

DEBORAH M ACCARDO                                9311 MARINUS                                                                                  FENTON            MI    48430‐8713
DEBORAH M BABIC                                  8210 BRIDGEWAY CI                    APT 2A                                                   FORT WAYNE        IN    46816‐2329
DEBORAH M BARDEL                                 28635 JACQUELYN DR                                                                            LIVONIA           MI    48154‐4517
DEBORAH M BLALOCK                                #8                                   246 ELIOT                                                DETROIT           MI    48201‐2453
DEBORAH M BOGSTAHL                               45 LAPIS CIRCLE                                                                               WEST ORANGE       NJ    07052‐2158
DEBORAH M BRENNAN                                89 INDIGO RD                                                                                  LEVITTOWN         PA    19057‐2718
DEBORAH M CABELA CUST THOMAS JOHN CABELA         3470 EAST PERSHING ROAD                                                                       LINCOLN           NE    68502‐4835
UGMA NE
DEBORAH M CHAMBERLAIN                            19930 CRANDELL CT                                                                             BELLEVILLE        MI    48111‐9175
DEBORAH M COLEMAN                                9145 PINE HILL CT                                                                             SALINE            MI    48176‐9459
DEBORAH M COLEMAN                                22143 CHARLES CT                                                                              TAYLOR            MI    48180‐2484
DEBORAH M CRONER                                 23384 HEMLOCK AVE                    APT 106                                                  MORENO VALLEY     CA    92557‐8820
DEBORAH M DIMARTINO                              5956 MOUNTAINGATE DR                 NIAGARA FALLS ON                       L2J 4H9 CANADA
DEBORAH M DOUBLE                                 3964 WESTLAKE DR                                                                              CORTLAND          OH    44410‐9314
DEBORAH M FOLEY                                  23 KINGSWOOD DRIVE                   COURTICE ON                            L1E 1G4 CANADA
DEBORAH M GARRY                                  C/O DEBORAH GARRY CEBULA             34757 ARUNDEL                                            FARMINGTON        MI    48335‐4002
DEBORAH M GRAY                                   1210 COLLAR‐PRICE ROAD                                                                        HUBBARD           OH    44425‐2955
DEBORAH M HESTER                                 3610 KINGSWAY DR                                                                              HIGHLAND          MI    48356‐1844
DEBORAH M KAMPLAIN EX EST HILBERT R BARRICK      8494 MORSE PLACE                                                                              CROWN POINT       IN    46307

DEBORAH M KIVON                               21831 S LAKESHORE BLVD                                                                           EUCLID            OH    44123‐2164
DEBORAH M LAVARA                              4542 CLARKE DR                                                                                   TROY              MI    48085
DEBORAH M MACMASTERS                          51006 FORSTER LANE                                                                               SHELBY TWP        MI    48316
DEBORAH M MCCOY                               PO BOX 452                                                                                       AUBURN            GA    30011‐0452
DEBORAH M MEADOR                              6217 SMYRNA PL                                                                                   LOUISVILLE        KY    40228‐2119
DEBORAH M OFCHARSKY                           1329 SALEM STREET                                                                                MALDEN            MA    02148‐4726
DEBORAH M PETRACICH                           35304 COLLINGWOOD DRIVE                                                                          STERLING HTS      MI    48312‐4232
DEBORAH M PRICE CUST KATHERINE DIANNE PRICE   11575 CASA LOMA DR                                                                               BRIGHTON          MI    48116‐9080
UGMA MI
DEBORAH M TAYLOR                              649 SE STRAIT AVE                                                                                PORT ST LUCIE     FL    34983‐4640
DEBORAH M WENTZ                               307 S HAMBDEN ST                        UPPR                                                     CHARDON           OH    44024‐1241
DEBORAH MARCIE ERENRICH                       2550 BRENTWOOD RD                                                                                BEACHWOOD         OH    44122‐1502
DEBORAH MARIE FRERICH                         PO BOX 33925                                                                                     SAN ANTONIO       TX    78265
DEBORAH MARIE MURPHY BALDWIN                  19787 ROAD 188                                                                                   STRATHMORE        CA    93267‐9781
DEBORAH MARY MANN                             2 ABACO DRIVE                                                                                    CAPE ELIZABETH    ME    04107‐1411
DEBORAH MAUTE                                 138 MONTEREY DR                                                                                  BRICK             NJ    08723‐7009
DEBORAH MC LEOD                               ATTN DEBORAH CORRIGAN                   3271 15TH ST NE                                          SAUK RAPIDS       MN    56379‐9608
DEBORAH MELDE CUST SCOTT FROBES MELDE UGMA MI 3389 N WILD DAISY PL                                                                             TUCSON            AZ    85750‐3139

DEBORAH MOON MARTIN                              6346 MARLOW                                                                                   PORTAGE           MI    49024‐2618
DEBORAH MORRIS CUST DAVID ERIC MORRIS UTMA FL    201 REDBUD LN                                                                                 CHAPEL HILL       NC    27514‐1741

DEBORAH MUDRAK                                   88 WILLRY ST                                                                                  WOODBRIDGE        NJ    07095‐2415
DEBORAH MURRAY KITSON                            24 WEST STREET                                                                                MEDIA             PA    19063‐2608
DEBORAH N GOLDBERG                               18 SHEFFIELD HILL                                                                             WOODBURY          NY    11797
DEBORAH N MARTIN                                 255 WESTON RD                                                                                 WELLESLEY HILLS   MA    02482‐4546
DEBORAH NAGEL BEARD                              1626 LA SALLE AVE                                                                             MC LEAN           VA    22102‐2918
DEBORAH O BOWMAN                                 ATTN DEBORAH B ANDERSON              5122 PARKSIDE DR                                         W BLOOMFIELD      MI    48323‐2169
DEBORAH O MC KINZIE                              24661 GARDNER                                                                                 OAK PARK          MI    48237‐1453
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DEBORAH O TROUSE                                  3051 COOMER RD                                                                                                           NEWFANE           NY    14108
DEBORAH O YARBROUGH                               620 WRIGHTWOOD TER                                                                                                       LIBERTYVILLE      IL    60048‐3364
DEBORAH O'BOURKE                                  6654 BISON ST                                                                                                            WESTLAND          MI    48185‐2804
DEBORAH P CHIN                                    736 OLD STAMFORD ROAD                                                                                                    NEW CANAAN        CT    06840‐6621
DEBORAH P MERWIN                                  453 TARTON BLVD                                                                                                          FRIPP ISLAND      SC    29920‐7411
DEBORAH P RAYNER                                  3410 EAGLES LOFT UNIT A                                                                                                  CORTLAND          OH    44410‐9166
DEBORAH P STEGMAN                                 12510 QUEENS BLVD                   APT 1423                                                                             KEW GARDENS       NY    11415‐1508
DEBORAH PARADISE CUSTER                           C/O ART CUSTER                      500 OLD FARMS ROAD                                                                   AVON              CT    06001
DEBORAH PARKER                                    127 ILLINOIS                                                                                                             PONTIAC           MI    48341‐1915
DEBORAH PARKER CATHERINE CLARK JT                 5241 GARDENDALE AVE N.E.                                                                                                 CANTON            OH    44714
DEBORAH PAUL ROSTOWSKY                            4 MAGNOLIA HILL                                                                                                          WEST HARTFORD     CT    06117‐2021
DEBORAH PICARD CUST CAROL ANN PICARD UTMA MA      79 LACY ST                                                                                                               NO ANDOVER        MA    01845‐3306

DEBORAH PLETZER                                   10725 DEER RUN                                                                                                           COLLEGE STATION   TX    77845‐7842
DEBORAH POOLE CUST ANDREW WAYNE POOLE UGMA        2753 E 450 N                                                                                                             MARION            IN    46952
IN
DEBORAH POOLE CUST KEITH BRADFORD POOLE UGMA      2753 E 450 N                                                                                                             MARION            IN    46952
IN
DEBORAH PRASSANNATMA                              C/O KRISHNA BALARAMA MANDIR         BHAKTIVEDANTA SWAMI MARG          RAMAN RETI VRNDAVANA   DT MATHURA UP INDIA
DEBORAH R DOWE                                    2181 COIT DR NW                                                                                                          WARREN            OH    44485‐1772
DEBORAH R FITZGERALD                              651 ADRMOOR                                                                                                              BLOOMFIELD        MI    48301‐2415
                                                                                                                                                                           VILLAGE
DEBORAH R FOSTER                                  28637 GLENWOOD                                                                                                           INKSTER           MI    48141‐1691
DEBORAH R GOLDBERG                                104 STORMS DRIVE                                                                                                         MAHWAH            NJ    07430‐3178
DEBORAH R HUGGIN                                  ATTN HARRY W VAN TREES              6605 SMITHS TRACE                                                                    CENTREVILLE       VA    20120
DEBORAH R JONES                                   115 KAPALUA POINT                                                                                                        FAYETTEVILLE      GA    30215‐2782
DEBORAH R KELNSTIN                                2305 WILLIAM BREWSTER                                                                                                    IRVING            TX    75062‐7009
DEBORAH R LIGGONS                                 2001 OAKWOOD AVENUE                                                                                                      TOLEDO            OH    43607‐1576
DEBORAH R PRIEST                                  14 PAULA DR                                                                                                              GERMANTOWN        OH    45327‐9395
DEBORAH R RIVERA                                  61 WALDO AVE                                                                                                             ROCHESTER         NY    14609‐4307
DEBORAH R SLOMOVITS                               1447 PINEMERE                                                                                                            LAKEWOOD          NJ    08701‐1739
DEBORAH R WHEELESS                                ATTN DEBORAH R EVANS                4467 HUNTERS DR                                                                      STONE MOUNTAIN    GA    30083‐2459

DEBORAH RAINIER KAPUSCINSKI CUST LAUREN RAINIER   8738 TANAGERWOODS DRIVE                                                                                                  CINCINNATTI       OH    45249‐3526
KAPUSCINSKI UTMA TN
DEBORAH REED SELZ                                 ATTN DEBORAH SELZ GOODMAN           2150 ASHBOURNE DR                                                                    SAN MARINO        CA    91108‐2301
DEBORAH ROSE                                      4414 HARBOUR TOWN DRIVE                                                                                                  BELTSVILLE        MD    20705‐1081
DEBORAH ROSENBERG                                 2725 MONTEREY AVE SO                                                                                                     MINNEAPOLIS       MN    55416‐3944
DEBORAH ROSENTHAL                                 4535 RADFORD AVE                                                                                                         VALLEY VLG        CA    91607‐4136
DEBORAH ROSS                                      1068 OAKS PKWY                                                                                                           SMYRNA            GA    30082‐2201
DEBORAH RUSNICA                                   26 DEARFIELD DR                                                                                                          GREENSBURG        PA    15601‐1010
DEBORAH RYAN                                      10 CHADNICK DR                                                                                                           WATERLOO          NY    13165‐9583
DEBORAH S BAILEY                                  20905 WINCHESTER ST                                                                                                      SOUTHFIELD        MI    48076‐5674
DEBORAH S BONDAR                                  41614 CONGER BAY DRIVE                                                                                                   HARRISON TWP      MI    48045
DEBORAH S BREWER                                  155 Q CALLE OJO FALIC                                                                                                    SANTA FE          NM    87505
DEBORAH S BRINK                                   2325 N GLEBE RD                                                                                                          ARLINGTON         VA    22207‐3410
DEBORAH S BRUN                                    3804 HILLCREST RD                                                                                                        EL SOBRANTE       CA    94803‐2810
DEBORAH S DIETZEL                                 4262 KNOLLWOOD DRIVE                                                                                                     GRAND BLANC       MI    48439‐2029
DEBORAH S DUNCAN                                  18040 SAN JUAN DR                                                                                                        DETROIT           MI    48221‐2643
DEBORAH S FERRY                                   6535 GLUCKSBERG                     ST JOHN                           US VIRGIN ISLAND       830 VIRGIN ISLANDS OF THE
                                                                                                                                               USA
DEBORAH S FINFROCK                                2322 RONDOWA AVE                                                                                                         DAYTON            OH    45404‐2533
DEBORAH S FULMER                                  ATTN DEBORAH S BRYANT               10961 DESERT LAWN DRIVE SPC 144                                                      CALIMESA          CA    92320‐2241
DEBORAH S GRIFFIN                                 21130 GEORGETOWN RD                                                                                                      LAWRENCEBURG      IN    47025‐9135
DEBORAH S HALLENE                                 12330 SHAFTSBURY                                                                                                         HOUSTON           TX    77031
DEBORAH S HEDRICK                                 2118 SPRING HILL CIR                                                                                                     SPRING HILL       TN    37174‐9272
DEBORAH S HOGAN                                   PO BOX 02106                                                                                                             DETROIT           MI    48202‐0106
DEBORAH S HOPKINS CUST HOLLY L HOPKINS UGMA MI    5210 MOCERI LN                                                                                                           GRAND BLANC       MI    48439‐4330
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DEBORAH S HUTEK & KEVIN F HUTEK JT TEN           5922 PRESERVATION DR                                                                           HAMILTON        MI    49419‐9693
DEBORAH S JUNG                                   964 N QUIET BAY CIR                                                                            CICERO          IN    46034‐9330
DEBORAH S LEHMAN                                 401 COLUMBINE LN                                                                               W CHICAGO       IL    60185‐1775
DEBORAH S LEVALLEY CUST KENTON L LEVALLEY UTMA   20 VOLUSIA AVE                                                                                 DAYTON          OH    45409‐2257
OH
DEBORAH S MITCHELL                               57855 COUNTY ROAD 13                                                                           ELKHART         IN    46516‐6302
DEBORAH S PEDERSEN                               395 FARNHAM ST SE                                                                              KENTWOOD        MI    49548‐4335
DEBORAH S PETERSON                               516 GREEN ACRES DRIVE                                                                          COLUMBIA        TN    38401
DEBORAH S ROBERSON                               3144 MURPHY LAKE RD                                                                            MILLINGTON      MI    48746‐9139
DEBORAH S SAULTERS                               4178 DEACON LANE                                                                               CHAMBLEE        GA    30341‐1612
DEBORAH S SLOCUM                                 53 WATERVIEW                                                                                   LAKE ORION      MI    48362‐1544
DEBORAH S STOKINGER                              631 MAIN ST                                                                                    HAMPSTEAD       NH    03841‐2047
DEBORAH S TOMAN                                  445 RAISIN ST                                                                                  DEERFIELD       MI    49238‐9708
DEBORAH S VAUGHN                                 3274 YORKSHIRE                                                                                 CLEVELAND HTS   OH    44118‐2529
DEBORAH S VILTZ                                  2145 LOCKNAYNE                                                                                 DAVISION        MI    48423‐8374
DEBORAH S WAGNER                                 5625 POINT ROUNDTOP CT                                                                         BURKE           VA    22015‐2159
DEBORAH S WALLACE                                1040 MIAMI                                                                                     WATERFORD       MI    48327
DEBORAH S WATKINS & AMBER M WATKINS JT TEN       28420 FLORENCE                                                                                 GARDEN CITY     MI    48135‐2737

DEBORAH S WHITE CONNOR EMERSON WHITE UNIF        1000 CHESTNUT LANE                                                                             CINCINNATI      OH    45230‐3595
TRANS MIN ACT OH
DEBORAH S WHITE CUST AUSTIN ALEXANDER WHITE      1000 CHESTNUT LN                                                                               CINCINNATI      OH    45230‐3595
UTMA OH
DEBORAH S WHITE CUST TAYLOR CHASE WHITE UTMA     1000 CHESTNUT LANE                                                                             CINCINNATI      OH    45230‐3595
OH
DEBORAH SALISBURY                                1940 JOHNSTONE RD                                                                              CASPER          WY    82604‐2714
DEBORAH SALSBURY LAROE ROBERT BLAKE BYNUM        C/O MS PLUNK                          454 LITTLE LAKE RD                                       W MONROE        LA    71292‐1920
UNIF TRANS MIN ACT LA
DEBORAH SCHAVEY RUFF & RANDOLPH E RUFF JT TEN    730 FOREST AVE                                                                                 OAK PARK        IL    60302‐1505

DEBORAH SCHUM KOLLENDER                          90 PEACHTREE RD                                                                                PENFIELD        NY    14526‐1406
DEBORAH SHELL CUST BRYAN SHELL UGMA IL           1575 LAKE DR                                                                                   MORRIS          IL    60450‐2432
DEBORAH SHIFFNER CUST JONATHAN SHIFFNER UNDER    163 BRIDLE PATH                                                                                WILLIAMSVILLE   NY    14221‐4537
NY GIFTS TO MINORS ACT
DEBORAH SOMMERVILLE                              3171 ABBOTTSFORD RD                                                                            CLYDE           MI    48049‐4307
DEBORAH SORRENTINO                               329 EAST 12TH ST                                                                               NEW YORK        NY    10003‐7229
DEBORAH SPARROW CUST ALEC CONE UTMA ME           23 KAREN DR                                                                                    GARDINER        ME    04345
DEBORAH STANSELL VAN WERT                        ATTN DEBORAH STANSEIL WEAVER          13176 LONGWOOD DR                                        CULPEPER        VA    22701‐4858
DEBORAH STILLMAN                                 7419 MT MEEKER RD                                                                              LONGMONT        CO    80501
DEBORAH SUE HERR                                 801 BRUNNERVILLE RD                                                                            LITITZ          PA    17543‐8956
DEBORAH SUE LOGUE                                RURAL RTE 7 BOX 256 A                                                                          FAIRMONT        WV    26554
DEBORAH SUE MARSHALL                             ATTN DEBORAH SUE BAKER                686 HUNT VALLEY DRIVE                                    REYNOLDSBURG    OH    43068‐1675
DEBORAH SUSAN PINDER                             3311 WILLOWCREEK RD                                                                            PORTAGE         IN    46368‐5015
DEBORAH T FROSTY                                 2470 GERALD COURT                                                                              ATCO            NJ    08004‐2816
DEBORAH T KRICK                                  2190 STEEPLECHASE DR                                                                           ANN ARBOR       MI    48103‐6033
DEBORAH T MAZZONE                                120 HUNTERSFIELD RD                                                                            DELMAR          NY    12054‐3826
DEBORAH T SMITH                                  55 PHELPS AVE                         #3                                                       ROCHESTER       NY    14608‐1051
DEBORAH TAYLOR                                   801 ELIZABETH AVE                     APT 8G                                                   NEWARK          NJ    07112‐2268
DEBORAH THERING CUST MANDY BERGER UGMA MI        6231 LAKE FOREST                                                                               GRAND BLANC     MI    48439‐9713

DEBORAH THOMAS                                   1705 VINEYARD WAY                                                                              GAINESVILLE     GA    30504‐3914
DEBORAH TODD ABBOTT                              ATTN DEBORAH TODD SIENA               2733 KNOLLWOOD DRIVE                                     STAUNTON        VA    24401‐1700
DEBORAH TROTTER                                  10150 N BROWN RD                                                                               MORRIS          IL    60450‐9332
DEBORAH VIROSTKO                                 1433 TOMILU DR                                                                                 GIRARD          OH    44420
DEBORAH VOHASEK CUST ANJA VOHASEK UTMA IL        7752 LAKE ST                                                                                   MORTON GROVE    IL    60053‐1842

DEBORAH VOHASEK CUST REILLY VOHASEK UTMA IL      7752 LAKE ST                                                                                   MORTON GROVE    IL    60053‐1842

DEBORAH W BAILEY                                 729 ST MARKS AVENUE                                                                            WESTFIELD       NJ    07090‐2036
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DEBORAH W BENTLEY & JOSEPH W WEWERS JT TEN     12004 EDGEWATER RD                                                                             FORT SMITH       AR    72903‐5889

DEBORAH W GENTZLER                             3602 CHRISTOPHER                                                                               ROWLETT          TX    75088‐5883
DEBORAH W LANDER                               9 OLD OAKS ROAD                                                                                ROSEMONT         PA    19010‐1024
DEBORAH W LEWICKI                              1999 COLLINGSWOOD DRIVE                                                                        COLUMBUS         OH    43221‐3741
DEBORAH W MCFADDEN CUST NATHAN J MC FADDEN     1805 JO MAC ROAD                                                                               CHAPEL HILL      NC    27516‐7815
UGMA TX
DEBORAH W RUCKELEY                             1311 N CHERRY ST                                                                               HAMBURG          AR    71646‐2611
DEBORAH W VAN ATTA                             493 BELVEDERE ST                                                                               SAN FRANCISCO    CA    94117‐4312
DEBORAH WALTON MCCOY                           PO BOX 2762                                                                                    CARBONDALE       IL    62902‐2762
DEBORAH WHITE                                  229 MAPLE AVE                                                                                  N PLAINFIELD     NJ    07060‐3931
DEBORAH WILLIAMS                               HC 02 BOX 578                                                                                  ZALMA            MO    63787‐9614
DEBORAH WILLIAMS ALEXANDER                     5331 VIRTUE ARC DR                                                                             STOCKTON         CA    95207‐6033
DEBORAH WOHL & MYRNA WOHL JT TEN               2176 E 66TH ST                                                                                 BROOKLYN         NY    11234‐6324
DEBORAH WORRELL GRZYBOWSKI CUST MICHAEL        32235 BELLVINE TRAIL                                                                           BEVERLY HILLS    MI    48025‐2644
WILLIAM GRZYBOWSKI UGMA MI
DEBORAH WYLIE GIBSON                           3801 LANARK ROAD                                                                               COOPERSBURG      PA    18036
DEBORAH Y RICHARDS                             7220 OAK BRANCH PL                                                                             MECHANICSVILLE   VA    23111‐5641
DEBORAH Y WINDHAM                              19519 DORSET ST                                                                                SOUTHFIELD       MI    48075‐7113
DEBORAH Z ODLUM TR UA 07/14/93 DEBORAH Z       912 FOREST LAKE CT                                                                             BALLWIN          MO    63021‐6064
ODLUM
DEBORAH ZWEIBACH                               32 24TH ST                                                                                     TROY            NY     12180‐1915
DEBORAL O BOWMAN                               5122 PARKSIDE DR                                                                               WEST BLOOMFIELD MI     48323‐2169

DEBOROH A LONDON CUST ALEXANDER C LONDON       C/O KELLY LONDON                      232 HILLSIDE DR                                          FAIRFAX          CA    94930‐1823
UTMA NY
DEBORRAH A CRAWFORD                            27166 CUMBERIAND COURT                                                                         SOUTHFIELD       MI    48034‐2213
DEBORRAH A ROBBINS                             408 WEST EMERSON                                                                               GARDEN CITY      KS    67846‐2835
DEBORRAH LEIGH PAGEL                           897 COUNTY ROAD 1000 EAST                                                                      TOLONO           IL    61880‐9751
DEBRA A ADAMS                                  ATTN DEBRA A BOYD                     3405 DILLON RD                                           FLUSHING         MI    48433‐9763
DEBRA A AQEEL                                  3902 APPLETON CT                                                                               DECATUR          GA    30034‐4506
DEBRA A BERRY                                  1290 CAMERON DR                                                                                MOBILE           AL    36695‐4452
DEBRA A CALABRESE                              209 HERITAGE CIR                                                                               ROCHESTER        NY    14615‐1111
DEBRA A CELMER                                 19830 LAKEWORTH ST                                                                             ROSEVILLE        MI    48066‐1116
DEBRA A COOP                                   2397 MELODY LN                                                                                 BURTON           MI    48509‐1157
DEBRA A CUNNINGHAM                             74 BIZZELL AVE                                                                                 DAYTON           OH    45459‐1814
DEBRA A DEXTER                                 7050 FISH LAKE ROAD                                                                            HOLLY            MI    48442‐9189
DEBRA A DILLON & JOHN H DILLON JT TEN          315 EAST COLUMBIA AVENUE                                                                       BELLEVILLE       MI    48111‐3915
DEBRA A DOOLEY                                 14826 LANNETTE                                                                                 DETROIT          MI    48213‐1583
DEBRA A DUPONT & GENE T DUPONT JT TEN          607 DAKOTA ST                                                                                  SHAKOPEE         MN    55379‐2538
DEBRA A DVORSKY & ROBERT J DVORSKY JT TEN      8180 VAN TINE ROAD                                                                             GOODRICH         MI    48438‐9422
DEBRA A GILBERT                                ATTN DEBRA A MOONEY                   9083 APPLE ORCHARD DR                                    FENTON           MI    48430‐8907
DEBRA A GUENIN & PAUL T GUENIN JT TEN          841 PIONEER WOODS DR                                                                           INDIANAPOLIS     IN    46224‐6157
DEBRA A HAMMOND                                169 MEADOWS CIRCLE WEST                                                                        WIXOM            MI    48393
DEBRA A HILL                                   461 GYPSY LANE APT 56                                                                          YOUNGSTOWN       OH    44504‐1368
DEBRA A HOBSON                                 7421 LANDING PL                                                                                ZEPHYRHILLS      FL    33541‐4247
DEBRA A HORIKAWA                               3919 LOTUS DR                                                                                  WATERFORD        MI    48329‐1391
DEBRA A HOWARD                                 328 E PINE ST                                                                                  AVON PARK        FL    33825‐4041
DEBRA A HRUSTICH                               17 THOMPSON CT                                                                                 RENSSELAER       NY    12144‐9468
DEBRA A HUNT & STEVEN J HUNT JT TEN            34000 MILLWOOD COURT                                                                           WESTLAND         MI    48185‐1496
DEBRA A HUZJAK                                 40 WOODLEIGH CT                                                                                YOUNGSTOWN       OH    44511‐1809
DEBRA A JACKSON                                6337 CASCIARO LN                                                                               IMPERIAL         MO    63052‐2388
DEBRA A JAMES                                  45 ESQUIRE AVE                                                                                 DAYTON           OH    45459‐1815
DEBRA A JONES                                  ATTN DEBRA ANN ASHQUABE               38 JANE LANE                                             DEPEW            NY    14043‐1910
DEBRA A JONES                                  2126 DAYLILY DR                                                                                MONROE           MI    48162‐9704
DEBRA A KELLY                                  16024 SILVERWOOD                                                                               FENTON           MI    48430
DEBRA A KILLEEN                                3211 NW TWINBERRY ST                                                                           CORVALLIS        OR    97330‐3353
DEBRA A KOEHLER & ROBERT J KOEHLER JT TEN      46221 FORESTWOOD                                                                               PLYMOUTH         MI    48170‐3558
DEBRA A KOPECKY                                4242 RICHMOND AVENUE                                                                           STATEN ISLAND    NY    10312‐6237
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DEBRA A KRASKA CUST ROBERT L KRASKA UGMA NY     170 HANWELL                                                                                    DEPEW            NY    14043‐1122

DEBRA A LADUKE                                  4729 LAKE VIEW DR                                                                              HALE             MI    48739
DEBRA A LERTOLA                                 PO BOX 4063                                                                                    ORANGE           CA    92863‐4063
DEBRA A LYDEN                                   2919 EATON PLACE                                                                               FLINT            MI    48506‐1364
DEBRA A MABRY                                   2390 ALTA WEST ROAD                                                                            MANSFIELD        OH    44903‐8249
DEBRA A MARSHALL                                3201 BUICK ST                         APT 44                                                   FLINT            MI    48505‐4291
DEBRA A MARSHALL                                118 COLLEGE DR                        # 6427                                                   HATTIESBURG      MS    39406‐0001
DEBRA A MCCLUNG                                 815 UNION ST                                                                                   PORTLAND         MI    48875‐1319
DEBRA A MELLON                                  1903 N GILBERT ST                                                                              DANVILLE         IL    61832
DEBRA A MORRIS                                  3856 N CHERRY LN                                                                               KANSAS CITY      MO    64116‐2728
DEBRA A MORRIS                                  106 EAST STATE RD                                                                              WEST GROVE       PA    19390‐8908
DEBRA A MORRISON CUST PATRICK RYAN MORRISON     17W505 EARL STREET                                                                             DARIEN           IL    60561‐5127
UTMA IL
DEBRA A NADEAU                                  360 E RANDOLPH UNIT #2405                                                                      CHICAGO          IL    60601‐7336
DEBRA A NOONE                                   C/O DEBRA A NOONE SERES               116 N 11TH                                               ELWOOD           IN    46036‐1553
DEBRA A PAYNE                                   5727 LOST GROVE DRIVE                                                                          LILBURN          GA    30047‐6161
DEBRA A PETOSKEY                                305 GLAZIER RD                                                                                 CHELSEA          MI    48118‐9777
DEBRA A PINTO                                   110 DAVENPORT RD                                                                               WEST HARTFORD    CT    06110‐1703
DEBRA A POLLACK                                 4144 CURTIS                                                                                    LEONARD          MI    48367‐1601
DEBRA A SCHAEFER                                3871 LYNN DR                                                                                   ORCHARD PARK     NY    14127‐4021
DEBRA A SCHMIDT                                 248 BROOKDALE PARK                                                                             ROCHESTER        NY    14609‐1525
DEBRA A SELGA                                   652 INGALTON AVE                                                                               WEST CHICAGO     IL    60185‐2060
DEBRA A SOBEL                                   715 SHELLEY DR                                                                                 ROCHESTER HLS    MI    48307‐4242
DEBRA A SODMAN                                  5715 SANDEN RD NE                                                                              CEDAR RAPIDS     IA    52411‐7954
DEBRA A STAPELTON                               126 CATHERINE                                                                                  YOUNGTOWN        OH    44501
DEBRA A WATTS                                   21861 MARLOW ST                                                                                OAK PARK         MI    48237‐2663
DEBRA A WEAVER                                  1107 DEORSAM DR                                                                                COPPERAS COVE    TX    76522‐3611
DEBRA A WILK                                    3512 HVRON                                                                                     DEARBORN HTS     MI    48124‐3820
DEBRA A WILLIAMS                                PO BOX 1198                                                                                    BUFFALO          NY    14215‐6198
DEBRA A WILLIAMS                                74 HENRY CLAY                                                                                  PONTIAC          MI    48341‐1720
DEBRA A WING                                    12260 N DUFFIELD RD                                                                            MONTROSE         MI    48457‐9703
DEBRA A WOLFE                                   4898 BLACKMAN RD                                                                               LOCKPORT         NY    14094‐9740
DEBRA A WOLFGANG                                9560 BIG LAKE ROAD                                                                             CLARKSTON        MI    48346‐1056
DEBRA A WOODARD                                 622 JACKSON ST                                                                                 CLINTON          MI    49236‐9735
DEBRA A ZIEMBA & FRANK K ZIEMBA & DANIEL P      26338 HARRIET STREET                                                                           DEARBORN HEIGHTS MI    48127‐4141
PILACHOWSKI JT TEN
DEBRA ABRAHAMOVIC                               7 DAVENPORT LANDING                                                                            FORKED RIVER     NJ    08731
DEBRA ADAMS TOD KEVIN L ADAMS                   ROYAL HILL INC                        26660 RYAN RD APT 3                                      WARREN           MI    48091‐1147
DEBRA ALLEY                                     1069 S PENDLETON AVE                                                                           PENDLETON        IN    46064‐8979
DEBRA ANN BOYCE                                 355 PEARSON CIR                                                                                NAPERVILLE       IL    60563‐3051
DEBRA ANN BROOKS                                942 SHERMAN STREET                                                                             CATASAUQUA       PA    18032‐1204
DEBRA ANN CURTNER                               3111 TIMBERLANE RD                                                                             RONAN            MT    59864‐9847
DEBRA ANN GUNIA TOD PATRICIA A MULLINS          18791 CRAVENS RD                                                                               WELLSTON         MI    49689‐9740
DEBRA ANN HILGENDORF                            1402 CATALPA CT                                                                                FORT COLLINS     CO    80521‐7550
DEBRA ANN KAGLE                                 G‐2359 N MORRISH RD                                                                            FLUSHING         MI    48433
DEBRA ANN METHENY CUST JULIE ANN METHENY        6400 REMBRIDGE DR                                                                              OKLAHOMA CITY    OK    73162‐1728
UGMA OK
DEBRA ANN OTTOY                                 409 OAKMONT LN                                                                                 SCHAUMBERG       IL    60173‐2246
DEBRA ANN PALMATEER & REBECCA A PALMATEER &     2928 CHICAGO BLVD                                                                              FLINT            MI    48503‐3473
ALLEN I PALMATEER JT TEN
DEBRA ANN PORTER                                1200 W LENAWEE ST                                                                              LANSING          MI    48915‐1661
DEBRA ANN RUBENACKER                            12301 SHAFFER RD                                                                               DAVISBURG        MI    48350‐3714
DEBRA ANN SMITH                                 1673 RICHARDSON RD                                                                             LACHINE          MI    49753‐9797
DEBRA ANN STEWART                               1712 W 8TH ST                                                                                  MUNCIE           IN    47302‐2115
DEBRA ANN STRASSER                              3655 S 2210 E                                                                                  SALT LAKE CITY   UT    84109‐4314
DEBRA ANN VOLPE                                 430 ENGLEWOOD DRIVE                                                                            PITTSBURGH       PA    15237‐3754
DEBRA ANN ZIMMER                                731 TIMS VIEW ST                                                                               POTTERVILLE      MI    48876
DEBRA ANNE KETELHUT                             1238 OWOSSO LN                                                                                 BEAVERTON        MI    48612‐8843
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DEBRA ANNE SCHULMAN                             1820 LAUREL AVE                                                                               MANHATTAN        CA    90266‐2537
                                                                                                                                              BEACH
DEBRA ARRINGTON                                 4744 SIEGFRIED ST                                                                             LAS VEGAS        NV    89147‐5116
DEBRA AUGUST & BERNARD AUGUST JT TEN            101 CARDIFF COURT WEST               MEADOWDALE                                               NEWARK           DE    19711‐3442
DEBRA B THOMPSON                                1570 MT OLIVE RD                                                                              BOGUE CHITTO     MS    39629‐9746
DEBRA BAKONY                                    422 PITKIN HOLLOW                                                                             TRUMBULL         CT    06611‐5614
DEBRA BEAULIEU                                  4 12TH ST                                                                                     TURNER FALLS     MA    01376‐1022
DEBRA BETH VINOKUR                              64 GREAT HILLS RD                                                                             SHORT HILLS      NJ    07078‐3012
DEBRA BINGHAM                                   1576 ARBOR AVE                                                                                LOS ALTOS        CA    94024‐5913
DEBRA BLALOCK DEVAULT                           4009 CYPRESS SPRINGS RD                                                                       JONESBORO        AR    72401‐8525
DEBRA BURNS MELICAN                             1717 S PRAIRIE AVE                   APT 1610                                                 CHICAGO          IL    60616‐4344
DEBRA C AYRES                                   131 MANOR LANE                                                                                LAKE CHARLES     LA    70605‐5648
DEBRA C DICKSON                                 256 STUBBS DRIVE                                                                              TROTWOOD         OH    45426‐3161
DEBRA C MANN                                    995 PARTRIDGE CIR                    APT 102                                                  NAPLES           FL    34104‐8813
DEBRA C MCNEAL                                  508 WOODS DR                                                                                  COLUMBIA         TN    38401‐4747
DEBRA C MEYER                                   207 DELGADO                                                                                   SANTA FE         NM    87501‐2727
DEBRA C ODOM                                    1153 N CHERRY LA                                                                              CLOVIS           CA    93611‐7094
DEBRA C SKAGGS                                  801 ELM ST                                                                                    COLUMBIA         TN    38401‐3008
DEBRA C TURNAGE                                 515 LAKE RD                                                                                   WASKOM           TX    75692‐4045
DEBRA CAMERON                                   PO BOX 922                                                                                    ARLINGTON        TX    76004
DEBRA CHILLEMI                                  1663 N 40TH AVE                                                                               STONE PARK       IL    60165
DEBRA COMATAS DIVVER & PAT DIVVER JT TEN        854 SENECA RD                                                                                 FRANKLIN LAKES   NJ    07417‐2825
DEBRA COWARD                                    1747 KELLY RD                                                                                 MASON            MI    48854‐9670
DEBRA D ADAMS                                   6139 O'TOOLE                                                                                  MT MORRIS        MI    48458‐2627
DEBRA D BALLARD                                 209 ZINESFELD                                                                                 WEST LIBERTY     OH    43357‐0069
DEBRA D BRUBAKER                                HC 72 BOX 392                                                                                 KEYSER           WV    26726
DEBRA D BURNHAM                                 14155 MILLER STATION LN                                                                       OLIVE BRANCH     MS    38654‐6334
DEBRA D COBB                                    1233 KITTERY DR                                                                               VIRGINIA BEACH   VA    23464‐5639
DEBRA D GREEN                                   16401 BLACK BEAR CIR                                                                          ANCHORAGE        AK    99516‐6951
DEBRA D HUNT                                    625 PARK AVENUE APT 2F                                                                        WOONSOCKET       RI    02895‐5835
DEBRA D JANKO & MICHAEL A JANKO TEN COM         1804 MELTON DR                                                                                CARROLLTON       TX    75010‐2019
DEBRA D KINLIN                                  906 S SALISH ST                                                                               SPOKANE          WA    99224‐8358
DEBRA D MASTA                                   36884 GREENBUSH                                                                               WAYNE            MI    48184
DEBRA D MOODY                                   9302 HILTON ROAD                                                                              BRIGHTON         MI    48114
DEBRA D ROBB                                    6107 GRIMSHAW AVE                                                                             SAINT LOUIS      MO    63120‐1200
DEBRA D ROBERTS                                 4171 SAUK TRAIL                                                                               ADRIAN           MI    49221‐9331
DEBRA DI FRANCESCO                              21721 MILLER AVE                                                                              EUCLID           OH    44119‐2359
DEBRA DOBROWOLSKI CUST HEATHER FIDUCIA UGMA     17 CARRIAGE COURT                                                                             MARLBORO         NJ    07746‐1907
NJ
DEBRA DOMINO PULLEY                             115 DAWNRIDGE DRIVE                                                                           HAZELWOOD        MO    63042‐2676
DEBRA DUKES                                     2462 VALLEY LANE                                                                              GRAND BLANC      MI    48439‐8149
DEBRA E BURRIS                                  508 GLENWOOD DRIVE                                                                            LANCASTER        TX    75146‐2133
DEBRA E DEBERRY                                 2070 1ST AVE APT 850                                                                          NEW YORK E       NY    10029‐4325
DEBRA E HABERKORN                               1208 SOUTH TAMA ST                                                                            ROCK RAPIDS      IA    51246
DEBRA E LOUPOS                                  177 VAN ZANDT RD                                                                              SKILLMAN         NJ    08558
DEBRA E LOWE                                    3342 NEWTONS CREST CIR                                                                        SNELLVILLE       GA    30078‐6936
DEBRA E MATTHEWS                                4470 CORALBERRY LN                                                                            COLORADO SPRINGS CO    80920‐4708

DEBRA E PATTON                                  1015 BECKINGHAM DR                                                                            ST AUGUSTINE     FL    32092‐5046
DEBRA E RICHARDS                                115 ADONIS WAY                                                                                GRETNA           LA    70056‐2509
DEBRA E SCHAUB                                  118 S SANBORN                                                                                 CHAMBERLAIN      SD    57325‐1354
DEBRA ENIGK                                     1312 HEATHERWOOD RD                                                                           BLUEFIELD        WV    24701‐5050
DEBRA F AVERY                                   16630 PENNY AVE NE                                                                            SAND LAKE        MI    49343‐9444
DEBRA F GOODMAN                                 304 EASTWOOD DR                                                                               BEDFORD          IN    47421‐3914
DEBRA FANDEL CUST NICHOLAS W FANDEL UTMA IL     1021 W GOVERNOR ST APT 13                                                                     SPRINGFIELD      IL    62704

DEBRA FERN FRIDAY                               1040 PASEO DEL PUEBLO SUR                                                                     TAOS             NM    87571‐5968
DEBRA G MADDEN                                  3286 CHEYENNE AVENUE                                                                          BURTON           MI    48529‐1409
DEBRA G PUTNAM                                  3455 TAGGETT LK CT                                                                            HIGHLAND         MI    48357‐2611
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DEBRA G SCHNEIDER                                10835 BIG LAKE RD                                                                              DAVISBURGH       MI    48350‐3607
DEBRA GALLOWAY                                   23170 NYS ROUTE 59                                                                             DEXTER           NY    13634
DEBRA GARCIA                                     3939 ADAMS AVENUE                                                                              FREMONT          CA    94538‐4904
DEBRA GEANE SELZNICK CUST DEANNA LEE JOHNSON     6627 WHITEWOOD ST                                                                              SIMI VALLEY      CA    93063‐3948
UTMA CA
DEBRA GIRSH                                      52 MAPLE LANE                                                                                  MAHOPAC          NY    10541‐3032
DEBRA GOLDFARB                                   31 KELLY CIRCLE                                                                                KATONAH          NY    10536‐1403
DEBRA GOODMAN                                    3111 BRYCE DR                                                                                  WYLIE            TX    75098‐8730
DEBRA GRAVES                                     8214 KEY ROYAL CIR                    APT 122                                                  NAPLES           FL    34119‐6796
DEBRA GWENDOLYN BROWN                            426 WEST MAIN STREET                                                                           TIPPCITY         OH    45371‐1821
DEBRA H BOWMAN                                   2461 W JAMISON WAY                                                                             LITTLETON        CO    80120‐3945
DEBRA H HOGE                                     3345 BURNING BUSH RD                                                                           BLOOMFIELD       MI    48301
DEBRA H HUMPHRIES                                5616 AMANDA LN                                                                                 BELMONT          NC    28012‐8650
DEBRA H PENNYCOOK & WILLIAM J PENNYCOOK JT TEN   6867 AURORA DRIVE                                                                              TROY             MI    48098‐2083

DEBRA H SCHWARTZ CUST ADAM PHILIP SCHWARTZ    5680 PINETREE DR                                                                                  MIAMI BEACH      FL    33140‐2150
UGMA FL
DEBRA H SCHWARTZ CUST KAREN B SCHWARTZ UGMA 4955 CHEROKEE AVENUE                                                                                MIAMI BEACH      FL    33140‐2620
FL
DEBRA H SCHWARTZ CUST REBECCA J SCHWARTZ UGMA 5680 PINETREE DR                                                                                  MIAMI BEACH      FL    33140‐2150
FL
DEBRA H VANA                                  8349 FIELD CREST AVE                                                                              WILLOW SPRINGS   IL    60480‐1012

DEBRA HAGEN                                      1 MARSHALL ST                         APT 3K                                                   IRVINGTON        NJ    07111‐8676
DEBRA HAINES‐FOREMAN                             13508 PRICES DISTILLERY RD                                                                     CLARKSBURG       MD    20871‐9676
DEBRA HODGINS CUST CONOR HODGINS UTMA MI         334 N 3RD ST                                                                                   MARINE CITY      MI    48039‐1507

DEBRA HOFFMAN GRAY                               26 MASON ST                                                                                    PEPPERELL        MA    01463‐1216
DEBRA I BASKERVILLE                              7700 CORNERSTONE WAY                                                                           WINDSOR MILL     MD    21244‐1235
DEBRA I WHITE                                    6700 E 101ST ST                                                                                KANSAS CITY      MO    64134‐1530
DEBRA J ANDRES                                   73 HERITAGE DR                                                                                 LAKE WYLIE       SC    29710‐9226
DEBRA J BEALS                                    7804 SE GERLANE RD                                                                             HAZELTON         KS    67061‐9020
DEBRA J BUCZIK                                   8 EAST ALDINE DRIVE                                                                            HOCKESSIN        DE    19707‐1814
DEBRA J BURKE                                    908 N FOREST DR                                                                                KOKOMO           IN    46901‐1862
DEBRA J BURNS                                    913 JACK OLIVER                                                                                MEXIA            TX    76667‐2205
DEBRA J BUSHONG                                  8276 W 875 S                                                                                   PENDLETON        IN    46064‐9794
DEBRA J CARTER ESTATE OF IRENE M CAMPBELL        1160 S BALDWIN RD                                                                              LAKE ORION       MI    48360
DEBRA J CHIRGWIN                                 55 BIRCH RD                                                                                    CHESTER          NH    03036‐4002
DEBRA J CUNNINGHAM                               150 S WESTGATE AVE                                                                             COLUMBUS         OH    43204‐1964
DEBRA J ESSENBURG                                241 KINNEY NW                                                                                  GRAND RAPIDS     MI    49544‐5702
DEBRA J GWIZDALA                                 1333 SOUTHEAST BOUTELL RD                                                                      ESSEXVILLE       MI    48732‐1558
DEBRA J HIGH                                     7403 SE ELLIS                                                                                  PORTLAND         OR    97206‐5101
DEBRA J HINES                                    3521 HACKNEY DR                                                                                KETTERING        OH    45420‐1029
DEBRA J JONES                                    3650 SARRA LN                                                                                  SPRINGTOWN       TX    76082
DEBRA J JONES                                    721 CLINTON ST                                                                                 FLINT            MI    48507‐2540
DEBRA J JONES                                    1333 SE BOUTELL RD                                                                             ESSEXVILLE       MI    48732‐1558
DEBRA J LICHTE                                   ATTN DEBRA J FINLEY                   PO BOX 206                                               POTTERVILLE      MI    48876‐0206
DEBRA J LOBB                                     3904 OAK HILLS CIR                                                                             PORT HURON       MI    48060‐8625
DEBRA J MATTISON                                 P O BOX 98                                                                                     RISING STAR      TX    76471
DEBRA J MCSHANE                                  3201 SADDLEBROOKE XING                                                                         VALPARAISO       IN    46385‐2997
DEBRA J MOORE                                    6238 HATTER ROAD                                                                               NEWFANE          NY    14108‐9719
DEBRA J O'MALLEY                                 1026 AIRPORT RD NW                                                                             WARREN           OH    44481‐9318
DEBRA J PRENTICE                                 22711 NORTHEAST 16TH STREET                                                                    CAMAS            WA    98607‐9220
DEBRA J QUIST                                    BOX 273                                                                                        FONTANA          WI    53125‐0273
DEBRA J SMITH                                    9900 FRINGE TREE CT                                                                            LOUISVILLE       KY    40241‐3042
DEBRA J SUTTON                                   4526 MAPLETREE LOOP                                                                            WESLEY CHAPEL    FL    33544‐8115
DEBRA J TOTH                                     6105 E SAHARA #185                                                                             LAS VEGAS        NV    89142
DEBRA J WAGNER                                   620 CORN STREET P O BOX 164                                                                    EMDEN            IL    62635‐0164
DEBRA J WEGHER                                   3083 E FARRAND RD                                                                              CLIO             MI    48420‐9119
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DEBRA J WILSON                                   4626 E OUTER DR                                                                                DETROIT            MI    48234‐3221
DEBRA J WOS                                      8415 DALEBROOK RD                                                                              INDEPENDENCE       OH    44131‐6616
DEBRA JAFF                                       60 LEVBERT RD                                                                                  NEWTON CENTER      MA    02459‐3063
DEBRA JAMES                                      12682 LAUDER                                                                                   DETROIT            MI    48227‐2513
DEBRA JANE YARBROUGH                             7078 S SEYMOUR RD                                                                              SWARTZ CREEK       MI    48473‐7608
DEBRA JEAN WEIDNER                               2228 REDPEPPER TRL                                                                             GREEN BAY          WI    54313‐4076
DEBRA JEANNE FRERICKS                            5901 WARNER AVE #140                                                                           HUNTINGTON         CA    92649‐4659
                                                                                                                                                BEACH
DEBRA JESSELSON                                  5897 LOS ANGELES WAY                                                                           BUENA PARK         CA    90620‐2721
DEBRA JO HUSCHKA                                 707 GREEN ST                                                                                   BRODHEAD           WI    53520‐1029
DEBRA K ACKLEY                                   3825 VIRIGNIA AVENUE SE                                                                        CHARLESTON         WV    25304
DEBRA K ALEXANDER & BRADLEY L ALEXANDER JT TEN   1964 SWEET GUM DR                                                                              AVON               IN    46123‐7425

DEBRA K ASHINHURST                               ATTN DEBRA K RENN                     5600 CLOVERLAWN DR                                       OKLAHOMA CITY      OK    73135‐5403
DEBRA K BURTHAY                                  3166 N 80 WEST                                                                                 KOKOMO             IN    46901‐8109
DEBRA K CENTENO                                  2715 WILSON ST                                                                                 LANSING            MI    48906‐2640
DEBRA K COLLADO                                  1304 CARRINGTON WAY                                                                            LAWRENCEVILLE      GA    30044‐6071
DEBRA K DELORENZO                                222 E 80TH ST                         APT 3F                                                   NEW YORK           NY    10021‐0559
DEBRA K GALLAGHER                                ATTN DEBORAH K TUCKER                 15426 S LOWELL RD                                        LANSING            MI    48906‐9393
DEBRA K GETTMAN                                  17090 E 107TH AVE                                                                              COMMERCE CITY      CO    80022‐9571
DEBRA K HARRIS                                   947 E 550 N                                                                                    KOKOMO             IN    46901‐5708
DEBRA K HOLTZ                                    6087 E FARMSTEAD DRIVE                                                                         TUCSON             AZ    85756
DEBRA K JACKSON                                  6213 CLOVERLAWN CT                                                                             OKLAHOMA CITY      OK    73135‐5206
DEBRA K JOHNSON                                  105 RIDGEWOOD CT                                                                               COLUMBIA           TN    38401‐6509
DEBRA K KAISER                                   162 7TH AVE E                                                                                  ESTELL MANOR       NJ    08319‐1708
DEBRA K KAISER CUST JOHN DANIEL KAISER UGMA NJ   162 SEVENTH AVE EAST                                                                           ESTELL MANOR       NJ    08319‐1708

DEBRA K LASITIS                                  100 CLEVELAND ST                                                                               KITTANNING         PA    16201‐2153
DEBRA K MARSH                                    6627 HARDY BX342                                                                               ELLSWORTH          MI    49729‐0342
DEBRA K MAST                                     215 N HAMMER ST                                                                                GREENTOWN          IN    46936‐1018
DEBRA K MCCLARREN                                4042 LUNN STORE RD                                                                             LEWISBURG          TN    37091‐6640
DEBRA K MORAY                                    22144 NONA                                                                                     DEARBORN           MI    48124‐2719
DEBRA K OWENS & GAIL R OWENS JT TEN              PO BOX 187                                                                                     KELSO              WA    98626‐0017
DEBRA K RAUSCH                                   15448 WORMER                                                                                   REDFORD            MI    48239‐3543
DEBRA K RAY                                      ATTN DEBRA K NEVALA                   11210 WESTWIND DR                                        FORT WAYNE         IN    46845‐1326
DEBRA K ROSE                                     6650 SANDRA DR                                                                                 THEODORE           AL    36582‐6029
DEBRA K SALGAT                                   7275 NEWPORT DR                                                                                DAVISON            MI    48423‐9311
DEBRA K SMITH & TROY SMITH JT TEN                6859 ANN HARBOR ROAD                                                                           DUNDEE             MI    48131
DEBRA K STETSON                                  2639 TUDOR COURT                                                                               RESCUE             CA    95672‐9480
DEBRA K STEVENS                                  604 PRAIRIE ST                                                                                 CHARLOTTE          MI    48813‐1949
DEBRA K SWINK                                    750 COLD RUN VALLEY RD                                                                         BERKELEY SPRINGS   WV    25411‐9763

DEBRA K WADE                                     107 W 3RD ST                                                                                   GLADWIN            MI    48624‐1147
DEBRA K WELSH                                    15448 WORMER                                                                                   REDFORD            MI    48239‐3543
DEBRA K WURTZ WEGNER                             4396 CRICKET LN                                                                                STURGEON BAY       WI    54235‐9587
DEBRA KATHLEEN KANGAS & KEITH MARVIN KANGAS JT   3825 ESTATES DR                                                                                TROY               MI    48084‐1170
TEN
DEBRA KAY ARNOLD                                 ATTN DEBRA K MALICKI                  16563 DRAKE                                              SOUTHGATE          MI    48195‐2125
DEBRA KAY BOWMAN & DALE W BOWMAN JT TEN          ATTN DEBRA K MCROCZEK                 PO BOX 75                                                GOTHENBURG         NE    69138‐0075
DEBRA KAY CAPELLA                                140 LONGWOOD DR                                                                                JONESBORO          GA    30236‐5559
DEBRA KAY GORNEY PERS REP EST LEO GEORGE         5113 ROBERTS DRIVE                                                                             FLINT              MI    48506‐1592
THORNTON
DEBRA KAY LEVINE                                 4 EQUESTRIAN COURT                                                                             UPPER BROOKVILLE NY      11545‐2638

DEBRA KAY PARR MCKERCHER                         351 N MOORELAND RD                                                                             RICHMOND           VA    23229‐7117
DEBRA KAYE FAULKNER                              1129 TEXARKANA DR                                                                              INDIANAPOLIS       IN    46231‐2525
DEBRA KING CUST NICOLE ERIN KING UTMA MD         5502 ADAMSTOWN COMMONS DR                                                                      ADAMSTOWN          MD    21710‐8918
DEBRA KIRCHLER                                   38157 SADDLE LN                                                                                CLINTON TWP        MI    48036‐1778
DEBRA KNOX                                       126 W PROSPECT ST                                                                              PITTSBURGH         PA    15205‐2105
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DEBRA KROHL CUST BRIAN JAMES KROHL UTMA NY      18 HEATHER DR                                                                                  CLIFTON PARK     NY    12065‐1669

DEBRA L ALT                                     314 S HONEY CREEK DR                                                                           MILWAUKEE        WI    53214
DEBRA L BARNICLE                                16 BATES RD                                                                                    FRAMINGHAM       MA    01702‐8704
DEBRA L BARTON                                  6 BRANDYWINE CT                                                                                RANDOLPH         NJ    07869‐3128
DEBRA L BEERUP                                  426 WATERFORD CT                                                                               WILLOWBROOK      IL    60527‐5436
DEBRA L BIAS                                    10 DEVON ST                                                                                    DORCHESTER       MA    02121‐1812
DEBRA L BOONE                                   113 MONUMENT CT                                                                                JOHNSON CITY     TN    37601‐5478
DEBRA L BOUTON                                  3627 FALCON RIDGE DR                                                                           JANESVILLE       WI    53545‐4407
DEBRA L BOYD                                    11422 CHARNOCK RD                                                                              LOS ANGELES      CA    90066‐2804
DEBRA L BROWN                                   PO BOX 460                                                                                     BELLEVILLE       MI    48112‐0460
DEBRA L BURGAN                                  3184 WYNNS MILL CT                                                                             METAMORA         MI    48455
DEBRA L CARTER                                  1321 SOUTH PITTSBURG                                                                           TULSA            OK    74112‐5901
DEBRA L CHOJNOWSKI                              42013 BIGGS RD                                                                                 LA GRANGE        OH    44050‐9720
DEBRA L DALE & HELEN R DVORAK & ROBERT D DVORAK 137 SOUTH HILLS DRIVE                 TOWER LAKES                                              BARRINGTON       IL    60010‐1300
SR JT TEN
DEBRA L DENNIS                                  1827 COUNTY STREET 2982                                                                        BLANCHARD        OK    73010‐3540
DEBRA L DIEHL                                   9 WESTERN HILLS DR                                                                             HURRICANE        WV    25526‐9547
DEBRA L DIETRICH                                1409 TISCH RD                                                                                  JEFFERSON        OH    44047‐9616
DEBRA L DOBBINS                                 9750 N BROOKLYN                                                                                KANSAS CITY      MO    64155‐3110
DEBRA L DOCTOR                                  1245 E 104TH ST                                                                                GRANT            MI    49327‐9315
DEBRA L DOUGLASS                                6701 SILVERCREST DR                                                                            ARLINGTON        TX    76002‐3559
DEBRA L DOWNEY                                  1123 LINDA LANE                                                                                VINELAND         NJ    08360‐5008
DEBRA L EKBACK                                  ATTN DEBRA L EKBACK CHIARELLO         616 TAYLOR TRAIL                                         MURPHY           TX    75094‐3799
DEBRA L FRANK CUST KRISTEN LEIGH FRANK UGMA MI 6596 BASSWOOD DR                                                                                TROY             MI    48098‐2088

DEBRA L GRIGNANI CUST TARA L GRIGNANI UGMA MI   4685 LONSBERRY RD                                                                              COLUMBIAVILLE    MI    48421‐9351

DEBRA L HENRY                                   2025 LINCOLN RD                                                                                ALLEGAN          MI    49010‐9417
DEBRA L HESSLER                                 1204 PARKWATCH CT                                                                              BATAVIA          OH    45103‐7562
DEBRA L HIZA                                    2513 MARINA DR                                                                                 GRAND PRAIRIE    TX    75054‐6852
DEBRA L HOSKINS                                 14129 COUNTY RD 511                                                                            VENUS            TX    76084‐3550
DEBRA L IMEL                                    R R #3 BOX 303                                                                                 PORTLAND         IN    47371‐9466
DEBRA L JACKSON                                 3618 HIGH STREET                                                                               OAKLAND          CA    94619
DEBRA L JONES                                   C/O DEBRA LYNN KRAUS                  5103 APPLE SPRINGS                                       PEARLAND         TX    77584‐1255
DEBRA L KINSEY                                  4859 S CEYLON ST                                                                               AURORA           CO    80015‐4957
DEBRA L LISENBE                                 432 TWIN CREEK                                                                                 HURST            TX    76053‐6326
DEBRA L MARTIN PARRES                           9523 ECHO LN                                                                                   SAINT LOUIS      MO    63114‐3709
DEBRA L MATCHINSKY                              1198 HEATHER DRIVE                                                                             HOLLAND          MI    49423‐6815
DEBRA L MC DONALD                               51 E ELMWOOD                          PO BOX 587                                               LEONARD          MI    48367‐0587
DEBRA L MCGINNIS & TERRANCE L MCGINNIS JT TEN   1228 WESTPORT RIDGE                                                                            CRYSTAL LAKE     IL    60014

DEBRA L MENINGER                                4934 NORRISVILLE RD                                                                            WHITEHALL        MD    21161‐9520
DEBRA L MONACO                                  8841 EAGLE ROAD                                                                                KIRTLAND         OH    44094‐9328
DEBRA L MONACO & LUIGI MONACO JT TEN            8841 EAGLE ROAD                                                                                KIRTLAND         OH    44094‐9328
DEBRA L MULLIGAN                                ATTN DEBRA JOHNSON                    6900 N HUNTER RD                                         BEVERTON         MI    48612‐8401
DEBRA L NEAL                                    PO BOX 3                                                                                       LOGANVILLE       PA    17342‐0003
DEBRA L NEEL                                    193 KENNETH COURT                                                                              NEWARK           DE    19711
DEBRA L O REAR                                  PO BOX 101                                                                                     CENTERVIEW       MO    64019‐0101
DEBRA L OBERMAN                                 PO BOX 1991                                                                                    COPPELL          TX    75019‐1991
DEBRA L PEAVYHOUSE                              1477 COLLEEN LANE                                                                              DAVISON          MI    48423‐8322
DEBRA L RATHKE                                  38096 PLAINVIEW                                                                                STERLING HGTS    MI    48312‐1433
DEBRA L RATHKE & ARTHUR H RATHKE JT TEN         38096 PLAINVIEW                                                                                STERLING HGTS    MI    48312‐1433
DEBRA L ROSENBAUGH                              861 OCEAN BLVD                                                                                 ATLANTIC BEACH   FL    32233‐5429
DEBRA L SHAWLER & JAMES N SHAWLER JT TEN        7609 MARA CAIBO CT                                                                             GAINESVILLE      VA    20155‐1971
DEBRA L SHERMAN & MARK A WILCOX TEN ENT         3050 COLFAX ST                                                                                 EVANSTON         IL    60201‐1867
DEBRA L SMITH                                   355 ANNAPOLIS AVE                     OSHAWA ON                              L1J 2Y3 CANADA
DEBRA L SWIECICKI                               59 CHAPEL HILL ROAD                                                                            MOUNT LAUREL     NJ    08054‐8506
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DEBRA L SZYMANSKI                              11451 DIAMOND DR                                                                               STERLING HEIGHTS   MI    48314‐2618

DEBRA L TARASKI                                41139 GINGER COURT                                                                             STERLING HTS       MI    48314
DEBRA L TRACY                                  1007 N SCOTT AVE                      APT 7                                                    BELTON             MO    64012‐4571
DEBRA L TURNER                                 3203 MOUNT MORRIS RD                                                                           MOUNT MORRIS       MI    48458‐8240
DEBRA L TWIGG                                  1513 SHERMAN AVE                                                                               HAGERTSTOWN        MD    21740‐7166
DEBRA L USINGER                                1030 N 3RD ST                                                                                  MILWAUKEE          WI    53203‐1302
DEBRA L WENTZ                                  2825 APPLEGATE RD                                                                              MARLETTE           MI    48453‐8969
DEBRA L WILLIAMS                               1960 S 900 E                                                                                   GREENTOWN          IN    46936‐9732
DEBRA L WRIGHT                                 1963 CROMWELL ST                                                                               HOLT               MI    48842‐1577
DEBRA L ZATH                                   35259 NIKKI AVE                                                                                NORTH RIDGEVILLE   OH    44039‐1479

DEBRA LEBOVITS & STEPHEN LEBOVITS JT TEN    2993 TOPAZ LN                                                                                     CARMEL             IN    46032‐9302
DEBRA LOUISE QUALLS                         910 BELZER DR                                                                                     ANDERSON           IN    46011‐2006
DEBRA LYNN CATTERTON                        6913 TRAIL LAKE                                                                                   FORT WORTH         TX    76133‐5012
DEBRA LYNN HUTTON                           305 E MAIN ST                                                                                     CASEY              IL    62420‐1600
DEBRA LYNN KOSATER                          975 SUGARSIDE CT                                                                                  DAYTON             OH    45458‐9239
DEBRA LYNN PETRO                            2607 DENTON DR                                                                                    WAUKESHA           WI    53188‐1371
DEBRA LYNN STONE                            2021 S AUGRILL                                                                                    FLINT              MI    48503
DEBRA LYNN TAYLOR                           300 FRANCES                                                                                       STURGEON           MO    65284‐9611
DEBRA M BROWN                               7151 NICHOLS RD                                                                                   FLUSHING           MI    48433‐9222
DEBRA M CASALE                              12 MASHIE RD                                                                                      CUMBERLAND         RI    02864‐3557
DEBRA M CHAFFEE                             243 GRAHAM                                                                                        SAGINAW            MI    48602‐3134
DEBRA M COLLIER                             86 EMS T7B LANE                                                                                   LEESBURG           IN    46538‐9420
DEBRA M CRETELLA                            9 SAMPSON TERRACE                                                                                 DANBURY            CT    06810
DEBRA M CUNNINGHAM                          PO BOX 1460                                                                                       GRANTHAM           NH    03753‐1460
DEBRA M EBEL                                115 SAINT JOSEPH ST                                                                               TRENTON            MI    48183‐2810
DEBRA M FORDE                               509 CONCORD DRIVE                                                                                 WHITE LAKE         MI    48386
DEBRA M GORDON CUST ALEXANDRA D GORDON UTMA 3316 LONGRIDGE TERR                                                                               SHERMAN OAKS       CA    91423‐4932
CA
DEBRA M HARTLEY                             2768 STATE ROUTE 13                                                                               GREENWICH          OH    44837
DEBRA M JONES                               555 GOODMAN AVE                                                                                   SANTA ROSA         CA    95407‐6994
DEBRA M KENNEDY                             12762 MONTE VISTA                                                                                 DETROIT            MI    48238‐3015
DEBRA M KORDANSKY                           4054 ARBOUR CIRCLE                                                                                LAFAYETTE HILL     PA    19444‐2606
DEBRA M KREIENHEDER                         9 TWIN HOLLOW CT                                                                                  O FALLON           MO    63366‐6315
DEBRA M LUCAS                               15550 DONDERO DRIVE                                                                               SOUTHGATE          MI    48195‐6438
DEBRA M LUCAS & RONALD W LUCAS JT TEN       15550 DONDERO DR                                                                                  SOUTHGATE          MI    48195‐6438
DEBRA M MAZAREK                             500 AIRPORT RD NW                                                                                 WARREN             OH    44481‐9484
DEBRA M O'BRIEN                             78 BEXHILL DR                            LONDON ON                              N6E 1X2 CANADA
DEBRA M SCHROEDER                           1108 SE 78TH ST                                                                                   RUNNELLS           IA    50237
DEBRA M TOZER                               PO BOX 190                                                                                        ALMONT             MI    48003‐0190
DEBRA M YOHEM                               2620 WEST CARANDIS RD                                                                             WEST PALM BCH      FL    33406‐5111
DEBRA MATHEOS CUST MAUREEN MATHEOS UGMA SC 209 GOVERNORS SQUARE                                                                               GREER              SC    29650

DEBRA MCMAHON                                  52 STRATHMORE AVENUE                                                                           BUFFALO            NY    14220‐1735
DEBRA MEGAROWSKI                               6627 S 19TH ST                                                                                 MILWAUKEE          WI    53221‐5218
DEBRA MICHELS                                  143 HALEMAUMAU ST                                                                              HONOLULU           HI    96821
DEBRA MORRISON                                 6032 CHANDELLE CIRCLE                                                                          PENSACOLA          FL    32507‐8104
DEBRA N BURGESS                                APT 21                                3250 E MAIN ST                                           WATERBURY          CT    06705‐3445
DEBRA NICOLE TRAUGER                           10717 FLABLER DR                                                                               PARKER             CO    80134
DEBRA NOLAND                                   501 E SABENA                                                                                   AZTEC              NM    87410‐1770
DEBRA OLLISON                                  54 MONTICELLO PLACE                                                                            BUFFALO            NY    14214‐2712
DEBRA ORR                                      PO BOX 328 CHERRY LANE                                                                         CRESCO             PA    18325
DEBRA P BURNSIDE                               ATTN DEBRA P BARRIGER                 10445 MCWAIN                                             GRAND BLANC        MI    48439‐8321
DEBRA P SWAIN                                  13336 LITTLE ANTIETAM RD                                                                       HAGERSTOWN         MD    21742‐4950
DEBRA PAGORIA CUST ANTHONY PAGORIA UTMA IL     2208 FALCON DR                                                                                 PLAINFIELD         IL    60586‐6573

DEBRA POLIAK & JAMES POLIAK JT TEN             2044 N BOOTH ST                                                                                MILWAUKEE          WI    53212‐3404
DEBRA POSTER ALTMAN                            7403 ROCKY RAVINE DRIVE                                                                        FAIRFAX STATION    VA    22039‐2917
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DEBRA R GLINSEY                                 1850 E 33RD ST                                                                                 LORAIN             OH    44055‐1814
DEBRA R HOGAN                                   143 AYLESBURY RD                                                                               GOOSE CREEK        SC    29445‐5720
DEBRA R HONBARRIER                              5616 AMANDA LN                                                                                 BELMONT            NC    28012‐8650
DEBRA R JOHNSON                                 320 LEXINGTON DR                                                                               ALBANY             GA    31705‐2517
DEBRA R JONES                                   1119 CEDAR LANE                                                                                ETOWAH             TN    37331‐1804
DEBRA R WALTON                                  2401 BOULEVARD NAPOLEON                                                                        LOUISVILLE         KY    40205‐2010
DEBRA R WALTON CUST RENEE WILLIAMS UTMA KY      2401 BOULEVARD NAPOLEON                                                                        LOUISVILLE         KY    40205‐2010

DEBRA RENE CRUMBIE                              7 AVENIDA VISTA GRANDE                # 231                                                    SANTA FE           NM    87508‐9198
DEBRA RICE                                      520 S M 66 HW                                                                                  NASHVILLE          MI    49073‐9645
DEBRA RICHTER                                   40 JARED BLVD                                                                                  KENDALL PARK       NJ    08824
DEBRA ROBERTSON                                 7345 S 250 E                                                                                   MARKLEVILLE        IN    46056‐9772
DEBRA ROJY                                      401 RT 22W APT 32G                                                                             NORTH PLAINFIELD   NJ    07060‐3842

DEBRA RUTH HOGAN CUST ALLYSON RUTH HOGAN        1014 RABBIT EAR PASS                                                                           VICTOR             NY    14564‐9187
UGMA NY
DEBRA RUTH HOGAN CUST ELIZABETH JEAN HOGAN      1014 RABBIT EAR PASS                                                                           VICTOR             NY    14564‐9187
UGMA NY
DEBRA S ABBOTT                                  5812 COVEY RUN LN                                                                              EDMOND           OK      73034‐9469
DEBRA S AMY                                     4240 EASTPORT DR                                                                               BRIDGEPORT       MI      48722‐9607
DEBRA S BAYLESS                                 3422 BEDFORD FALLS DR                                                                          WENTZVILLE       MO      63385‐2664
DEBRA S CAMPBELL                                17080 MOUNTAIN LAKE DR                                                                         MONUMENT         CO      80132‐7129
DEBRA S CHAPMAN                                 2260 S 450 E                                                                                   ANDERSON         IN      46017‐9591
DEBRA S CRAWFORD                                4555 BROWN ROAD                                                                                OREGON           OH      43616
DEBRA S DAMPIER                                 508 HYATT ST                                                                                   JANESVILLE       WI      53545‐2410
DEBRA S DORSE                                   7566 ATHLONE DR                                                                                BRIGHTON         MI      48116‐8847
DEBRA S DUNLAP                                  4093 W 50 S                                                                                    KOKOMO           IN      46901‐9205
DEBRA S FAUST                                   5325 PELICAN WAY                                                                               SAINT AUGUSTINE FL       32080‐7151
DEBRA S GRAY                                    4681 GLENFOREST DR                                                                             ROSWELL          GA      30075‐5711
DEBRA S HURM                                    262 LAKE HART                                                                                  MOORESVILLE      IN      46158‐8485
DEBRA S LALONDE                                 6019 PLANTATION DRIVE                                                                          GRAND BLANC      MI      48439‐9525
DEBRA S LUHN & EARL P LUHN JT TEN               13381 LAWRENCE LN                                                                              BRISTOW          VA      20136‐1701
DEBRA S MARWOOD                                 227 NW GARDEN VALLEY BLVD                                                                      ROSEBURG         OR      97470‐2046
DEBRA S MILLACCI                                6122 E 15TH ST                                                                                 TUCSON           AZ      85711‐4606
DEBRA S MONEY                                   5114 WEST 11TH ST                                                                              INDIANAPOLIS     IN      46224‐6912
DEBRA S MUCIEK GRANT & ALLEN P GRANT JT TEN     9501 ST PAUL DRIVE                                                                             PORT CHARLOTTE   FL      33981‐3249
DEBRA S ROWLAND                                 C/O SANSONE                           8811 CANOGA AVE 363                                      CANOGA PARK      CA      91304‐1508
DEBRA S SAILE                                   829 ALAN DRIVE                                                                                 LAKE ORION       MI      48362‐2805
DEBRA S TUBANDT                                 1008 ANN STREET                                                                                BIRMINGHAM       MI      48009
DEBRA SHARON SUNIER                             402 S RICHARDSON AVE                                                                           ROSWELL          NM      88203‐5734
DEBRA SPANN                                     PO BOX 604                                                                                     BOLTON           MS      39041‐0604
DEBRA SUE BABCOCK                               7915 REMINGTON RIDGE PLACE                                                                     COLORADO SPRINGS CO      80920‐6700

DEBRA SUE GEURTS CUPPLES                        2713 HWY 14 SOUTH                                                                              NEWTON             IA    50208‐8925
DEBRA SUE GHYSELS                               65 SOUTHFIELD COURT                                                                            SPRINGBORO         OH    45066‐9269
DEBRA SUE MAHLER                                ATTN DEBRA GRAHAM                     23547 PARK BELMONTE                                      CALABASAS          CA    91302‐1702
DEBRA SUE YOSICK                                3983 E WATEKA CRT                                                                              GILBERT            AZ    85297‐9410
DEBRA SUSAN JORDAN                              PO BOX 1420                                                                                    NEW WAVERLY        TX    77358‐1420
DEBRA T OGLES                                   5412 MAURA                                                                                     FLUSHING           MI    48433‐1058
DEBRA TEAGAN                                    602 WALNUT                                                                                     BRIGHTON           MI    48116‐1249
DEBRA THOMAS D'ALFONSO                          17 LOWELL RD                                                                                   LIVERPOOL          NY    13090‐3026
DEBRA THOMPSON                                  6507 8TH AVE                                                                                   GRANDVILLE         MI    49418‐9668
DEBRA TODD                                      190 16TH ST SE                                                                                 NAPLES             FL    34117‐9412
DEBRA V HILGER                                  2228 KINGSTON                                                                                  WHITE LAKE         MI    48386‐1618
DEBRA W ALBERTS                                 2848 BREZZA CT                                                                                 PLEASANTON         CA    94566‐6483
DEBRA W SHERRILL & JOE W SHERRILL JT TEN        5924 NEWELL DRIVE                                                                              MONROE             NC    28112‐6768
DEBRA WALKER                                    812 UNION ST                                                                                   LINDEN             NJ    07036‐2155
DEBRA WILLIAMS CUST C CHRISTOPHER M WILLIAMS    2022 PAINTER ROAD                                                                              SALEM              OH    44460‐1863
UGMA OH
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DEBRA WOOD                                       11884 STEELE ST                                                                               THORNTON         CO    80233‐1557
DEBRA Z YANCEY                                   6435 WAYWIND DR                                                                               DAYTON           OH    45426‐1113
DEBRA ZARIFA ZARIF                               13150 RED FERN                                                                                DALLAS           TX    75240‐5604
DEBRAH B WERNER                                  14303 S DIXIE HWY                                                                             MONROE           MI    48161‐9564
DEBRAH JACOBS                                    2084 NEW YORK AVE                                                                             BROOKLYN         NY    11210
DEBRAH T JENKUSKY                                2840 SAVILLE GARDEN WAY                                                                       VIRGINIA BCH     VA    23453
DEBRALYN R FAHEY                                 2659 GOLDENROD LN                                                                             GLENVIEW         IL    60026‐8011
DEBREA A CISNEROS & LETRA A CISNEROS JT TEN      525 E CEDAR AV                                                                                GLADWIN          MI    48624‐2213
DECATUR CITY SCHOOLS                             1011 PROSPECT DRIVE                                                                           DECATUR          AL    35601‐3229
DECELLAR SPENCER                                 1863 S AVERILL AVE                                                                            FLINT            MI    48503‐4458
DECKER WILLIAMS JR                               141 EARLEMORE ST                                                                              PONTIAC          MI    48053
DECLAN CROSBIE                                   47 PONDVIEW DRIVE                                                                             SOUTHINGTON      CT    06489‐3947
DECLAN EARLS                                     15 BEAVER DAM ROAD                                                                            ISLIP            NY    11751
DECOR ENTERPRISES LLC                            8275 HUNT CLUB RD                                                                             ZIONSVILLE       IN    46077‐8444
DEDE NELSON                                      5255 DELLA AVENUE                                                                             ALTA LOMA        CA    91701
DEDERA R BLACKBURN                               ATTN DEDERA R FERRANTI               5831 SE 216TH TER                                        MORRISTON        FL    32668‐4769
DEE A CUMMINGS                                   5382 NEWBERRY RD                                                                              DURAND           MI    48429‐9171
DEE A DERSTINE                                   2277 OYSTER BAY LN                   UNIT 202                                                 GULF SHORES      AL    36542‐4002
DEE A WARMATH                                    1070 HILLWOOD BLVD                                                                            PEWAUKEE         WI    53072‐2567
DEE ANN FIELDS                                   251 FARNWORTH LN                                                                              LEAGUE CITY      TX    77573‐6272
DEE ANN MARTIN                                   2594 SIEVER DR                                                                                CANTON           MI    48188‐3289
DEE ANN MARTIN                                   WATERSEDGE AT BELLEVUE               301 EDEN AVE UNIT 5A                                     BELLEVUE         KY    41073‐1267
DEE C NEELEY                                     1921 PAUL DRIVE                                                                               COLUMBIA         TN    38401‐4048
DEE DOGGETT JR                                   2611 IPSEN CT                                                                                 DAYTON           OH    45439‐2959
DEE ELLEN COOK                                   C/O DEE LEGGETT                      PO BOX 650                                               GREAT FALLS      VA    22066‐0650
DEE G SMITH                                      6637 YERGE RD                                                                                 PORTLAND         MI    48875‐9610
DEE GLASSCOCK                                    2952 QUINCY LN                                                                                LANSING          MI    48910‐2557
DEE GOERTZ                                       156 GARRITT ST                                                                                HANOVER          IN    47243‐9677
DEE J DELONG                                     30 GAMERON GLEN DRIVE                                                                         ATLANTA          GA    30328
DEE KAMERMAN CUST CHRISTIE A KAMERMAN UTMA       1521 TENNISON PARK WAY                                                                        COLLEYVILLE      TX    76034‐6254
MO
DEE KAMERMAN CUST MICHAEL P KAMERMAN UTMA        1521 TENNISON PKWY                                                                            COLLEYVILLE      TX    76034‐6254
MO
DEE KOJIMA                                       40 CREEKMORE RD                                                                               PRESTON          MS    39354‐9725
DEE L DANIELS                                    1200 CHESANING                                                                                MONTROSE         MI    48457‐9367
DEE L GRAHAM                                     545 HERON RUN CT                                                                              ALPHARETTA       GA    30004‐4523
DEE L MORENO                                     12452 PAGELS DR                                                                               GRAND BLANC      MI    48439‐2425
DEE LUX CUST APRIL M LUX UNDER THE               RR 2 BOX 474                                                                                  GRAVOIS MILLS    MO    65037‐9525
MISSOURIUNIFORM GIFTS TO MINORS LAW
DEE M KOJIMA                                     40 CREEKMORE ROAD                                                                             PRESTON          MS    39354‐9725
DEE STANLEY HOWARD                               PO BOX 60147                                                                                  DAYTON           OH    45406‐0147
DEE T DEPUE                                      3885 ASH HIGHWAY                                                                              CHARLOTTE        MI    48813‐8647
DEE YOUNG                                        RR 1 87                                                                                       DOUBLE SPRINGS   AL    35553‐9800
DEEANNA M GREATHOUSE TOD KIMBERLY LANE           11551 FELTON                                                                                  SUGAR CREEK      MO    64054‐1361
DEELLA HALL                                      1527 N WAUGH                                                                                  KOKOMO           IN    46901‐2405
DEEMS S RIDDLE CUST DEEMS S RIDDLE 3RD A MINOR   12 BRELSFORD RD                                                                               CHATTANOOGA      TN    37405‐3723
U/THE LAWS OF GEORGIA
DEENA J JACKSON CUST JOSHUA J JACKSON UGMA IN    R R 3 BOX 138 B                                                                               VINCENNES        IN    47591‐9533

DEENA L KUHN                                     30062 WHITE HALL DR                                                                           FARMINGTN HLS    MI    48331‐1994
DEENA M JOHNS & MARK A JOHNS JT TEN              304 WINNEBAGO ST                                                                              PARK FOREST      IL    60466‐1318
DEENA M PRICE                                    211 HEMLOCK LN                                                                                BLOOMSBURG       PA    17815‐9106
DEENA O NEILL CUST JASON O NEILL UGMA PA         1500 LOCUST STREET                   APT 1804                                                 PHILADELPHIA     PA    19102
DEEPAK V DIGHE                                   24000 WESTMONT DR                                                                             NOVI             MI    48374‐3658
DEETTE HAYENGA & ROLLAND WM HAYENGA JT TEN       1218 E OLIVE ST                                                                               ARLINGTON HTS    IL    60004

DEFOREST P PATCHIN                               515 RAVINE RD                                                                                 HINSDALE         IL    60521‐2448
DEFOREST W TRESSMER                              10249 HYACINTH                                                                                ORLAND PARK      IL    60462‐3047
DEGENA K SYKES                                   136 E 12TH ST 311E                                                                            OAKLAND          CA    94606‐2207
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DEH‐BIN CHEN & SHUANG‐CHING C CHEN JT TEN         29 MORNINGSIDE DR                                                                                     OLD BRIDGE       NJ    08857‐2713
DEIDRA M CAMPBELL                                 3337 CORTLAND ST                                                                                      DETROIT          MI    48206‐1048
DEIDRE C DAY                                      603 TRYENS RD                                                                                         ASTON            PA    19014‐1569
DEIDRE CHIEMI FUJIMOTO                            1945 HOOLEHUA ST                                                                                      PEARL CITY       HI    96782‐1741
DEIDRE GRANT                                      2425 BEAR DEN ROAD                                                                                    FREDERICK        MD    21701‐9321
DEIDRE J WHITTEMORE & ANNE E WHITTEMORE JT TEN    85 DIVISION ST                                                                                        WEST HARWICH     MA    02671‐1328

DEIDRE JOAN FLEMING                               455 LOS PAJOROS CT                                                                                    LOS ALTOS        CA    94024‐4142
DEIDRE M DEFINO                                   1 PRINCESS CT                                                                                         HOLMDEL          NJ    07733‐2043
DEIDRE T ZAREVA                                   1860 CEDAR DRIVE                                                                                      SEVERN           MD    21144‐1004
DEIDRE WILSON                                     4600 SCOTTEN ST                                                                                       DETROIT          MI    48210‐2675
DEIDREE A DEVLIN & TIMOTHY A DEVLIN JT TEN        6394 N MAPLE RD                                                                                       ANN ARBOR        MI    48105‐9616
DEILL CONSTRUCTION CO INC                         BOX 642                                                                                               PITTSBURG        KS    66762‐0642
DEIRDRA D KILLGORE CUST ANN KILLGORE UTMA NC      3210 RENICK STREET                                                                                    SAINT JOSEPH     MO    64507‐2052

DEIRDRA K KILLGORE CUST REBECCA MARIE KILLGORE    3210 RENICK STREET                                                                                    SAINT JOSEPH     MO    64507‐2052
UTMA NC
DEIRDRE A COX                                     4 LAUREN RD                                                                                           PALISADES        NY    10964‐1000
DEIRDRE A GAUDIOSO                                8300 DARK HORSE LN                                                                                    MISSOULA         MT    59808‐9313
DEIRDRE ABBEY                                     376 N OWASSO BLVD                                                                                     SHOREVIEW        MN    55126‐3060
DEIRDRE AGAN                                      433 GREEN LANE                                                                                        PHILADELPHIA     PA    19128‐3305
DEIRDRE COGHLAN WEISBACH                          14 HERITAGE DR                                                                                        CHATHAM          NJ    07928‐3206
DEIRDRE D COONEY                                  815 MOUNTAIN AVE APT A3                                                                               SPRINGFIELD      NJ    07081‐3444
DEIRDRE E W BENSON                                702 OLD BETHLEHEM RD                                                                                  QUAKERTOWN       PA    18951
DEIRDRE HELENE CARLSON                            5437 WATERWHEEL DRIVE                                                                                 BOISE            ID    83703‐3133
DEIRDRE M FAZIO & JOHN V FAZIO JT TEN             4831 OLD MILL RD                                                                                      FORT WAYNE       IN    46807‐2927
DEIRDRE RELIHAN                                   CREDAN DRIVE CROUIX                 PASSAGE EAST WATERFORD                          IRELAND
DEIST FAMILY BUSINESS A PARTNERSHIP               6455 VELASCO AVE                                                                                      DALLAS           TX    75214
DEITRA GRACETTA WALDEN                            10908 MONTROSE AVE                                                                                    TEMPLE TERRACE   FL    33617‐3219
DEJUAN L JONES                                    PO BOX 2063                                                                                           COLUMBIA         SC    29202‐2063
DEKE A CARROLL                                    PO BOX 646                                                                                            SANDOVAL         IL    62882‐0646
DEL CHARLES SCHROEDER & JANET LEE SCHROEDER JT    31487 PINTO DR                                                                                        WARREN           MI    48093‐7624
TEN
DEL CHARTER GUARANTEE TR UA 04/13/82 MOREY        PO BOX 4711                                                                                           ELKHART          IN    46514‐0711
MOWAT
DEL J LAROSE TR LAROSE LIVING TRUST UA 12/06/90   917 ALAMOSA DR                                                                                        CLAREMONT        CA    91711‐2011

DEL R WYATT                                       5446 PALMETTO AVE                                                                                     FORT PIERCE      FL    34982‐3322
DEL RAYE M HEWITT & MOZELLA L HEWITT JT TEN       6023 RED WOLF PL                                                                                      WALDORF          MD    20603‐4402
DEL RITA S PHILLIPS                               10334 AMBERWELL PARK RD                                                                               LOUISVILLE       KY    40241‐2184
DELAINE B ROBINSON & BRUCE I ROBINSON JT TEN      2015 BURNHAM PL                                                                                       WHEATON          IL    60189

DELAINE J RINGO                                   5125 VILLAGE COMMONS DR                                                                               W BLOOMFIELD     MI    48322‐3382
DELANA SHAFFIER & LYNN CORBETT SULLIVAN JT TEN    18151 SAM SNEAD HWY                                                                                   WARM SPRINGS     VA    24484‐9604

DELANEY A CLARDY                                  161 GREELEY LANE                                                                                      YOUNGSTOWN       OH    44505‐4821
DELANEY SALMIN                                    1135 S KINGSLEY DR                                                                                    LOS ANGELES      CA    90006‐2419
DELANO J GENOVESI                                 5420 WINSHALL DR                                                                                      SWARTZ CREEK     MI    48473‐1110
DELANO STUART & DOUG STUART & LELAND STUART JT    2909 ARENS RD                       UNIT 205                 REGINA SK              S4V 3A8 CANADA
TEN
DELANOR O CRAWFORD                                17111 WESTHAMPTON                                                                                     SOUTHFIELD       MI    48075‐4309
DELAUNCE JACKSON                                  601 LOLLAND DR                                                                                        EATON            OH    45320‐2663
DELAWARE CHARTER TR RUSSELL L LEACH JR            2807 W BOULEVARD                                                                                      KOKOMO           IN    46902‐5976
DELAWARE STATE ESCHEATOR                          C/O ACS UNCLAIMED PROPERTY          CLEARINGHOUSE INC        260 FRANKLIN ST 11TH                     BOSTON           MA    02110
DELAYON RAMEY CUST BRITTANY LEE KAY UGMA MI       20205 FENTON ST                                                                                       ROSEVILLE        MI    48066‐2265

DELBERT A DUNGEY                                  3731 MARTIN ROAD                                                                                      BEAVERTON        MI    48612‐8802
DELBERT BASHAM                                    3328 PINE VILLA CT                                                                                    GRAND BLANC      MI    48439‐7938
DELBERT C COTTRELL                                2490 BRANDYWINE                                                                                       MARTINSVILLE     IN    46151‐8927
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DELBERT C DIRKS                                     3470 CARPENTER RD                      APT 118                                                  YPSILANTI        MI    48197‐9620
DELBERT C GROSS                                     124 DICKINSON DR                                                                                GEORGETOWN       KY    40324‐2072
DELBERT C HOLT                                      1946 WATERSTONE BLVD                   APT 104                                                  MIAMISBURG       OH    45342‐0519
DELBERT C MCCUEN & LINDA L MCCUEN JT TEN            4273 EAST OCEAN BLVD                                                                            LONG BEACH       CA    90803
DELBERT CROOK INABINET CUST JOHN HAYDEN             5875 COLUMBIA RD                                                                                ORANGEBURG       SC    29118
INABINET UGMA SC
DELBERT D ARNOLD & MRS MARTHA H ARNOLD JT TEN       7315 ALLAN AVE                                                                                  FALLS CHURCH     VA    22046‐2025

DELBERT D COCKROFT                                  8469 GIBBS RD                                                                                   SPRINGPORT       MI    49284‐9703
DELBERT D HOWMAN                                    1629 ST RTE 603 R 1                                                                             ASHLAND          OH    44805‐9729
DELBERT D PILLEN                                    PO BOX 314                                                                                      OTISVILLE        MI    48463‐0314
DELBERT D TILLEY                                    641 LONGFORD                                                                                    ROCHESTER HILL   MI    48309‐2418
DELBERT DAVID PATTEE                                7286 RIVER RD                                                                                   FLUSHING         MI    48433‐2249
DELBERT DEAN RODENBERGER                            C/O SANDRA A FROEDGE                   428 MOLLY LN                                             ANDERSON         IN    46016‐5092
DELBERT E ANDERSON                                  1002 MEADOW RUN DRIVE                                                                           RUSSIAVILLE      IN    46979‐9311
DELBERT E CARY                                      2675 VALLEY CREEK RD                                                                            CULLEOKA         TN    38451‐2347
DELBERT E COLLINS                                   333 HIDDEN ISLAND DR                                                                            PANAMA CITY      FL    32408‐7471
DELBERT E CREAL                                     1500 N 65TH ST                                                                                  KANSAS CITY      KS    66102‐1014
DELBERT E PADGETT                                   PO BOX 12632                           1920 ELM AVE                                             NORWOOD          OH    45212‐2528
DELBERT E STUMPH                                    3420 COUNTRY VIEW DRIVE                                                                         OXFORD           MI    48371‐4167
DELBERT E WHITE                                     8570 ROBINWOOD CIR                                                                              UTICA            MI    48317‐1447
DELBERT E WHITE & L JUNE WHITE JT TEN               8570 ROBINWOOD CIR                                                                              UTICA            MI    48317‐1447
DELBERT F HOLLEY                                    1081 W KURTZ AVENUE                                                                             FLINT            MI    48505‐1203
DELBERT FERGUSON JR                                 RR 1 BOX 184A                                                                                   SALT ROCK        WV    25559‐9715
DELBERT H LOGGINS                                   436 S OZARK AVE                                                                                 TRUMANN          AR    72472‐3311
DELBERT H METZELBURG                                9700 KIER RD                                                                                    HOLLY            MI    48442‐8781
DELBERT H PARKER                                    1010 SPROTT RD                                                                                  MONTGOMERY       AL    36117‐5707
DELBERT H THOMPSON                                  116 COUNTRY CLUB DR                                                                             BENTON           LA    71006‐9428
DELBERT HUGHES                                      625 WEST FULTON STREET                                                                          HARTFORD CITY    IN    47348‐2601
DELBERT HUMENIK                                     717 DAYLILY DR                                                                                  LANGHORNE        PA    19047‐1765
DELBERT I SPRING                                    3112 ALEXANDRIAS DR                                                                             SANDUSKY         OH    44870‐5960
DELBERT J BANCROFT                                  9890 HYDE RD                                                                                    FOWLER           MI    48835‐9723
DELBERT J DOLLARHIDE                                32778 SUMAC ST                                                                                  UNION CITY       CA    94587‐1307
DELBERT J JOHNSON                                   9470 ROAND LK RD BOX 314                                                                        LAINGSBURG       MI    48848‐0314
DELBERT J KRATZ & ISABEL M KRATZ JT TEN             1050 S 8TH ST                                                                                   EL CENTRO        CA    92243‐3963
DELBERT J RICHARDS                                  8039 WEST GILFORD ROAD                                                                          FAIRGROVE        MI    48733‐9711
DELBERT J WILSON                                    1050 N HURON RD                                                                                 LINWOOD          MI    48634‐9411
DELBERT KEITH POLLET & JANET MARIE POLLET JT TEN    1103 HARRIS PARK RD                                                                             WHEATLAND        WY    82201‐9712

DELBERT L ADKINS                                    5442 N CO ROAD 625E                                                                             MOORELAND        IN    47360‐9533
DELBERT L BLACK                                     3688 CYPRESS CREEK DR                                                                           COLUMBUS         OH    43228‐9619
DELBERT L BROOKS                                    60 WOODBURN RD                                                                                  ALTON            IL    62002‐9410
DELBERT L BURR                                      ROUTE 1                                11002 XY AVE                                             MENDON           MI    49072‐9801
DELBERT L COLLISON & LINDA L JEHLE JT TEN           4767 MAIN                                                                                       PORT HOPE        MI    48468‐9645
DELBERT L COLLISON & SANDRA L COPPO JT TEN          4767 MAIN                                                                                       PORT HOPE        MI    48468‐9645
DELBERT L DALLMAN                                   642 WESTBURY LN                        UNIT 17                                                  DELAVAN          WI    53115‐4339
DELBERT L DRYER                                     5670 IRISH RD                                                                                   VERMONTVILLE     MI    49096‐9708
DELBERT L FASSBENDER & LENICE I FASSBENDER JT TEN   1719 GREENWICH LN                                                                               JANESVILLE       WI    53545‐0905

DELBERT L FOX                                       301 RAIL ROAD ST                                                                                MOSCOW MILLS     MO    63362‐1601
DELBERT L GRIFFIN                                   4810 N FORDNEY RD                                                                               HEMLOCK          MI    48626‐9447
DELBERT L HAYNES                                    HC 36 BOX 64                                                                                    CHARLESTON       WV    25306‐9706
DELBERT L HIGGINBOTHAM                              4985 OWENS AVE                                                                                  COLUMBUS         OH    43228‐2267
DELBERT L LAWSON                                    1172 KOEBEL RD                                                                                  COLUMBUS         OH    43207‐2624
DELBERT L SIMS JR                                   65 SUNSET ROAD                                                                                  MANSFIELD        OH    44906‐2240
DELBERT L TEICHOW                                   8094 METCALF ROAD                                                                               AVOCA            MI    48006‐2717
DELBERT L WOODRUM                                   128 N SHALE PIT RD                                                                              VEEDERSBURG      IN    47987‐8523
DELBERT M COFFEE                                    1175 VAL WILSON RD                                                                              LONDON           OH    43140‐9302
DELBERT N JARVIS                                    342 RUCKEL RD                                                                                   AKRON            OH    44305‐3452
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DELBERT N WARD                                     476 SECOND ST                                                                                  OXFORD             MI    48371‐1510
DELBERT NIEMEYER & LEE R NIEMEYER JT TEN           825 OPDYKE ST                                                                                  CHESTER            IL    62233
DELBERT O BREWSTER                                 11935 S BEARDSLEE                                                                              PERRY              MI    48872‐9166
DELBERT O DENNIS II                                8534 RAHKE RD                                                                                  INDIANAPOLIS       IN    46217‐5068
DELBERT O PAUL                                     7045 SPARLING RD                                                                               SMITHS CREEK       MI    48074‐1612
DELBERT P DUNN                                     592 MORROW ROAD                                                                                AFTON              MI    49705‐9727
DELBERT P DUNN & JOYCE B DUNN JT TEN               592 MORROW RD                                                                                  AFTON              MI    49705‐9727
DELBERT P HUSBAND                                  2187 TAMARACK DR                                                                               OKEMOS             MI    48864‐3911
DELBERT P RAINWATER                                2216 COLFAX AVE                                                                                FLINT              MI    48503‐4709
DELBERT PARTRIDGE & SUE WILLA PARTRIDGE JT TEN     2332 THORNHILL RD                                                                              LOUISVILLE         KY    40222‐6231

DELBERT R DRINNON                                  BOX 82                                                                                         MARK CENTER        OH    43536‐0082
DELBERT R FRENCH II                                932 CHURCHILL CIRCLE                                                                           CHARLESTON         WV    25314‐1747
DELBERT R HINSHAW                                  8224 WCR 300N                                                                                  SHIRLEY            IN    47384
DELBERT R JENKINS                                  200 MAIN ST                                                                                    ESSEXVILLE         MI    48732‐1657
DELBERT R ONEY & PEGGY A ONEY JT TEN               RR #2 BOX 27                                                                                   LOCKWOOD           MO    65682‐9604
DELBERT R PERSON                                   4709 DEVONSHRE AVE                                                                             LANSING            MI    48910‐5633
DELBERT R REEDER                                   64 CAMROSE DR                                                                                  NILES              OH    44446‐2128
DELBERT R UMSTATTD                                 R1                                                                                             BUTLER             MO    64730‐9801
DELBERT R UMSTATTD & SHIRLEY J UMSTATTD JT TEN     RR1 BOX 446                                                                                    BUTLER             MO    64730

DELBERT SHADRICK                                   671 S BURNS AVE                                                                                SPARTA             IL    62286
DELBERT TURNER                                     5339 STATE HIGHWAY APT M‐95                                                                    REPUBLIC           MI    49879‐9727
DELBERT W DAVIS                                    4025 POINTE DR                                                                                 CARP LAKE          MI    49718‐9773
DELBERT W LAYMAN                                   3‐14959‐16                                                                                     WAUSEON            OH    43567
DELBERT W LEHMAN                                   1112 AIRPORT RD                                                                                WARREN             OH    44481‐9319
DELBERT W LEHMAN & MARY M LEHMAN JT TEN            1112 AIRPORT RD                                                                                WARREN             OH    44481‐9319
DELBERT W MORRISON                                 8610 S INDIANA                                                                                 CHICAGO            IL    60619‐5624
DELBERT W NEWHOUSE & MARY E NEWHOUSE JT TEN        2813 VALE DRIVE                                                                                DAYTON             OH    45420‐3916

DELBERT W SHACKLEFERD                              BOX 175                                                                                        WALLINS CREEK      KY    40873‐0175
DELBERT W TOLLIVER & JANET KAY TOLLIVER JT TEN     7644 HERBISON                                                                                  BATH               MI    48808‐8425

DELBERT WILLIAMS                                   5302 FRIEDA DR                                                                                 FAIRFIELD          OH    45014‐3314
DELBERT ZIMMERMAN                                  4087 DICEGLIE CT                                                                               SAGINAW            MI    48604‐9768
DELBORAH L MILES                                   134 SPINDLETOP DR                                                                              BOWLING GREEN      KY    42104‐7569
DELCENA CROCKETT                                   99 CROCKETT LANE                                                                               PALL MALL          TN    38577‐4134
DELDRES S MC CANN CUST ANDREW S MC CANN UGMA       3164 MARION AVE                                                                                MARGATE            FL    33063‐8003
NY
DELEAN L GARDNER                                   PO BOX 3486                                                                                    WILMINGTON         NC    28406‐0486
DELECTA CLARK                                      159 S 21ST AVE                                                                                 MAYWOOD            IL    60153‐1238
DELEE BURTON                                       34356 COACHWOOD DRIVE                                                                          STERLING HEIGHTS   MI    48312‐5622

DELEHANTY PONTIAC CO INC                           C/O JOHN DELEHANTY &                  MICHAEL DELEHANTY    PO BOX 267                          FLUSHING           MI    48433‐0267
DELENE E ADAMS                                     7263 GRANDVILLE                                                                                DETROIT            MI    48228‐3319
DELENE HELTON                                      1108 ORGAN ST                                                                                  ELDORADO           IL    62930‐1727
DELENE ILLUM & GARY ILLUM JT TEN                   6897 GEORGE M LYNCH DRIVE                                                                      ST PETERSBURG      FL    33702‐6462
DELEWIS DAVIS                                      6 WESTCOTT ST                         #1                                                       DORCHESTR CTR      MA    02124‐1828
DELFIN VAQUILAR GDN DELFIN‐JOSEPH VAQUILAR         8 COLISH DR                           WINNIPEG MB                            R2V 2J8 CANADA

DELFO FINI                                         3958 N W RIVER RD                                                                              SANFORD            MI    48657‐9367
DELFRED E ASHBAKER                                 1733 MABEL AVE                                                                                 FLINT              MI    48506‐3364
DELFREDA JONES                                     18720 GLENHURST                                                                                DETROIT            MI    48219‐2217
DELIA A HALE                                       112 ROXBOROUGH RD                                                                              ROCHESTER          NY    14619‐1418
DELIA B GOODMAN CUST NORA ADELIA GOODMAN           9119 GREYSTONE COURT                                                                           EVANSVILLE         IN    47712
UGMA TN
DELIA B GOODMAN CUST THEODORE WELBORN              NORTH RD                                                                                       MILTON             TN    37118
GOODMAN UGMA TN
DELIA B KIERNAN                                    60 WESTSIDE AVE                                                                                BERGENFIELD        NJ    07621‐2838
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DELIA BLACKBURN                                    12272 MAXWELL RD                                                                                CARLETON          MI    48117‐9508
DELIA C GARRETT                                    3401 E 75TH                                                                                     KANSAS CITY       MO    64132‐2067
DELIA CHENG & JOHN Y CHENG JT TEN                  10 LAVELLE LANE                                                                                 FRAMINGHAM        MA    01701‐3726
DELIA D SANTIAGO                                   82‐30 218TH STREET                                                                              HOLLIS HILLS      NY    11427‐1416
DELIA DE PAOLA TR DELIA DE PAOLA REVOCABLE TRUST   5881 NEBRASKA AVE NW                                                                            WASHINGTON        DC    20015‐1267
UA 02/11/98
DELIA DURAN                                        6362 ALAMO CT                                                                                   TECUMSEH          MI    49286‐9766
DELIA G VALLES                                     1307 CHERRY HILL CT                                                                             MANSFIELD         TX    76063‐2601
DELIA G WOODS                                      1034 E CROWN POINTE BLVD               APT 119                                                  GREENSBURG        IN    47240‐7982
DELIA GLASS IN TRUST U‐A DELIA GLASS               1945 GLASS AVE                         ST CATHERINES ON                       L2R 6P9 CANADA
DELIA J MILLER                                     2847 EVERLETH DR                                                                                LAKELAND          FL    33810‐5112
DELIA K ERNEST                                     PO BOX 1303                                                                                     DIXON             CA    95620
DELIA M CORPUS                                     5150 MAPLE                                                                                      MISSION           KS    66202‐1824
DELIA M GACZEWSKI                                  6521 GOODRICH RD                                                                                CLARENCE CENTER   NY    14032‐9665

DELIA M GONZALEZ                                  584 BLUE LAGOON DRIVE                                                                            LAS VEGAS         NV    89110‐3030
DELIA M HERNANDEZ                                 1404 HACKITT RD                                                                                  CERES             CA    95307‐9571
DELIA P EDGERTON                                  840 MIDDLE ST                           APT 4                                                    BRISTOL           CT    06010‐7481
DELIA R LINCK                                     466 ORLANDO BLVD                                                                                 PORT CHARLOTTE    FL    33954‐3545
DELIA REFICE                                      831 CONRELIA ST                                                                                  FLINT             MI    48503‐1616
DELIA ROSITA LINCK                                466 ORLANDO BLVD                                                                                 PORT CHARLOTTE    FL    33954‐3545
DELIA SILVA                                       1034 LIVERNOIS                                                                                   DETROIT           MI    48209‐2319
DELIA V CHAVEZ & PATRICK G CHAVEZ JT TEN          1320 KYNETTE DR                                                                                  EULESS            TX    76040‐4198
DELIATH CHAPMAN                                   18855 S BIRNUM AVE                      APT 231                                                  LANSING           IL    60438
DELIGHT YVONNE HURST DICK                         286 NIEHOFF DR                                                                                   FALL RIVER        WI    53932‐9529
DELILA JEAN SILVER CUST MARK DAVID SILVER UGMA IA 106 S W COUNTRY CLUB                                                                             ANKENY            IA    50021‐9684

DELILA JEAN SILVER CUST MICHAEL JON SILVER UGMA IA 106 S W COUNTRY CLUB                                                                            ANKENY            IA    50021‐9684

DELILA K MCCARTY TR DELILA K MCCARTY IRA UA        5309 NE 44 STREET                                                                               KANSAS CITY       MO    64117‐1933
01/16/96
DELILAH F DAVIS                                    7334 JOHNSON RD                                                                                 SHAWNEE           OK    74804‐9462
DELILAH GRAVES & WILLIAM G GRAVES JT TEN           HCR 1 BOX 448                                                                                   BOIS BLANC IS     MI    49775
DELILAH M BROWN                                    5368 CORNER OAK DRIVE                                                                           MEMPHIS           TN    38141‐0472
DELILAH R CECIL                                    150 WOODLAND AVE                                                                                CAMPBELL          OH    44405‐1041
DELILLIAN S MOSS                                   2714 W JUDSON RD                                                                                KOKOMO            IN    46901‐1764
DELINA TRENT                                       43062 BARONS ST                                                                                 SOUTH RIDING      VA    20152‐3408
DELISA L RUSSELL                                   3557 MICHIGAN AVE                                                                               DAYTON            OH    45416‐1926
DELISHA C HOLLEY                                   1211 W COLDWATER RD                                                                             FLINT             MI    48505‐4821
DELITHA JESSIE POLEN                               513 S OCEAN D APT C                                                                             HOLLYWOOD         FL    33019
DELL ALDRICH                                       12711 TRENT JONES LN                                                                            TUSTIN            CA    92782‐1128
DELL COLEMAN & ROYD E COLEMAN JT TEN               417 THORS                                                                                       PONTIAC           MI    48342‐1968
DELL E COX                                         PO BOX 32246                                                                                    AMARILLO          TX    79110‐2246
DELL M COLEMAN                                     417 THORS                                                                                       PONTIAC           MI    48342‐1968
DELL T PAGANO                                      7836 LUXMORE DR                                                                                 KNOXVILLE         TN    37919‐6902
DELLA A JONES                                      300 WALLNER QUARRY RD                                                                           BEDFORD           IN    47421‐8158
DELLA A NELSON                                     7675 SE WREN AVE                                                                                HOBE SOUND        FL    33455‐5957
DELLA B MC NABB & WILLIAM G MC NABB JT TEN         190 FRANCIS LN                                                                                  ORTONVILLE        MI    48462‐9702
DELLA E LOVEGROVE                                  ATTN DELLA E DAWSON                    1276 WINBURN DR                                          EAST POINT        GA    30344‐2749
DELLA E STOCKTON                                   1276 WINBURN DR                                                                                 EAST POINT        GA    30344‐2749
DELLA ERICSSON TR DELLA ERICSSON LIVING TRUST UA   610 WEST LOGAN ST                                                                               TECUMSEH          MI    49286
02/04/98
DELLA F MASSE                                      9086 SPRING BROOK CIR                                                                           DAVISON           MI    48423‐2135
DELLA F REID CUST MAX F REID UGMA HI               5551 LAWTON AVE                                                                                 OAKLAND           CA    94618
DELLA F WILSON                                     5324 BOGDONOFF DR                                                                               SEFFNER           FL    33584
DELLA G EDWARDS & JOAN C EDWARDS JT TEN            790 W SOUFA COLLEGE                                                                             YELLOW SPRINGS    OH    45387
DELLA J MESSER                                     1010 OTTLAND R 3                                                                                LAKE ODESSA       MI    48849‐9428
DELLA J REESE                                      2333 N PARKER AVE                                                                               INDIANAPOLIS      IN    46218‐3621
DELLA J WAGNER                                     100 TULIP ST                                                                                    LIVERPOOL         NY    13088‐4958
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DELLA J WEST                                     298 PORTER RD                                                                                  ATWATER          OH    44201‐9554
DELLA JEAN ELDEN                                 15 PUEBLO VISTA ROAD                                                                           SANTA BARBARA    CA    93103‐2159
DELLA JO NEVINS                                  5986 OLD QUARRY RD                                                                             FULTON           MO    65251‐6886
DELLA K SHEPHERD CUST ALEXANDER A SHEPHERD       70 SCITUATE AVE                                                                                SCITUATE         MA    02066‐3562
UTMA MA
DELLA K SHEPHERD CUST COLIN L SHEPHERD UTMA MA   70 SCITUATE AVE                                                                                SCITUATE         MA    02066‐3562

DELLA K SHEPHERD CUST MATHIAS C SHEPHERD UTMA    70 SCITUATE AVENUE                                                                             SCITUATE         MA    02066‐3562
MA
DELLA K SHEPHERD CUST RUSSELL S SHEPHERD UTMA    70 SCITUATE AVE                                                                                SCITUATE         MA    02066‐3562
MA
DELLA L MORGAN                                   1413 WESTCREST                                                                                 ARLINGTON        TX    76013‐1537
DELLA L SHIRLEY                                  3251 RAU DRIVE                                                                                 SAND LAKE        MI    49343‐9508
DELLA L SYPERT                                   532 ANN AVE                                                                                    NILES            OH    44446
DELLA L WATKINS                                  715 LISBON LN                                                                                  LADY LAKE        FL    32159‐8713
DELLA L WILSON                                   3260 LYNNE AVE                                                                                 FLINT            MI    48506‐2118
DELLA L WISE                                     4967 21ST ST SW                                                                                BARBERTON        OH    44203‐7595
DELLA L WISE                                     4967 21ST STE SW                                                                               NORTON           OH    44203‐7595
DELLA L WOLFE                                    251 BEECHWOOD PL                                                                               BEAVERCREEK      OH    45440‐3479
DELLA M BROOKS                                   4341 SPRINGCREEK DR                   APT P1                                                   DAYTON           OH    45405‐1393
DELLA M CLARK                                    3640 LOCHMOORE                                                                                 LANSING          MI    48911‐2609
DELLA M ESTEP                                    2816 GRUBB ROAD                                                                                WILMINGTON       DE    19810‐2319
DELLA M JUNG                                     10250 RAINIER AVE S                                                                            SEATTLE          WA    98178‐2612
DELLA M LAURIDSEN                                16205 36TH AVE N                      APT 309                                                  MINNEAPOLIS      MN    55446‐3387
DELLA M MARQUAND & GLORIA JUNE BERNARD JT TEN    11320 CHAMPIONSHIP DR                                                                          FORT MYERS       FL    33913‐8101

DELLA M MITCHEL                                319 EAST OOLITIC RD                                                                              BEDFORD          IN    47421‐6623
DELLA M PETERSON                               5790 DAYTON‐LIBERTY PIKE                                                                         DAYTON           OH    45418‐1408
DELLA M PITTSLEY & WILLIAM V PITTSLEY JT TEN   750 S GREENFIELD DR                                                                              FREEPORT         IL    61032‐7125
DELLA M TUCKER TOD SANDRA J RIGGINS SUBJECT TO 3117 BURGESS ST                                                                                  FLINT            MI    48504‐2580
STA TOD RULES
DELLA MCCRAY                                   637 E 138TH ST                                                                                   LOS ANGELES      CA    90059‐3529
DELLA ORENE GOODMAN                            1923 TIMBERLINE CIR                                                                              DUNCANVILLE      TX    75137‐4581
DELLA P KORTAS                                 3681 BURTCH DR                                                                                   LAKEPORT         MI    48059‐1605
DELLA R RILEY                                  3580W 950 S                                                                                      PENDLETON        IN    46064‐9526
DELLA RUTH BELL                                189 DICKENSON ST                                                                                 ROMEO            MI    48065‐4722
DELLA SUE BECKER                               ATTN DELLA BECKER CORNELL               6421 FENTON RD #G                                        FLINT            MI    48507‐4752
DELLA THREET                                   13805 LAWRENCE 1155                                                                              MOUNT VERNON     MO    65712
DELLA URBANA                                   7980 MELROSE DR                                                                                  WHEATRIDGE       CO    80033‐4536
DELLA WARD REDER TR DELLA WARD REDER REVOCABLE PO BOX 7035                                                                                      SAN DIEGO        CA    92167‐0035
NEW TRUST UA 09/29/06
DELLANA MAE LINDENMUTH                         3824 NINEBARK PL                                                                                 DAYTON           OH    45424‐4808
DELLE J ZURSCHMIEDE                            329 GROSSE POINTE BLVD                                                                           GROSSE POITE     MI    48236‐3069
DELLE J ZURSCHMIEDE                            329 GROSSE POINTE BLVD                                                                           GROSSE POINTE    MI    48236‐3069
DELLEASE HOLT                                  2001 STORY AVE                          APT 9H                                                   BRONX            NY    10473‐2027
DELLIE COLLINS                                 9599 HEMINGWAY                                                                                   REDFORD          MI    48239‐2202
DELLIS YORK                                    PO BOX 433                                                                                       MOORESVILLE      IN    46158‐0433
DELMA HILL SR                                  PO BOX 24423                                                                                     CINCINNATI       OH    45224‐0423
DELMA HOOVER                                   4812 MILLER ROAD                                                                                 LILBURN          GA    30047‐5333
DELMA L ROUSH                                  PO BOX 974                                                                                       GALLIPOLIS       OH    45631‐0974
DELMA M ZARINS & SILVESTRIS U ZARINS JT TEN    826 SW MUNJACK CIRCLE                                                                            PORT ST LUCIE    FL    34986‐3459
DELMA NEWLAND                                  PO BOX 3702                                                                                      PARKERSBURG      WV    26103‐3702
DELMA W BELLAMY & GAYLE Y BELLAMY JT TEN       35878 VERI ST                                                                                    LIVONIA          MI    48152‐2885
DELMAN V ANDES & MRS JANET F ANDES JT TEN      9905 NE 136 ST                                                                                   LIBERTY          MO    64068‐8215
DELMANE LEWIS                                  950 S GARCIA ST UNIT 92                                                                          PORT ISABEL      TX    78578‐4011
DELMAR B GRAVES                                193 GOUNDRY ST                                                                                   NORTH            NY    14120‐6010
                                                                                                                                                TONAWANDA
DELMAR C HALL                                    176 DANA LANE                                                                                  MARQUETTE        MI    49855‐9501
DELMAR C LOVE                                    3520 CLUBHOUSE RD                                                                              VIRGINIA BEACH   VA    23452‐4102
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DELMAR C SMITH                                   RR1                                                                                          RUSSIAVILLE      IN    46979‐9801
DELMAR D KEITH                                   1207 MEADOWBROOK                                                                             BRUNSWICK        OH    44212‐2828
DELMAR D PERKINS                                 40215 GRAYS AIRPORT RD                                                                       LADY LAKE        FL    32159‐3416
DELMAR D RAGAN & DORIS FAYE RAGAN JT TEN         13475 MARIES RD                     APT# 325                                                 VIENNA           MO    65582
DELMAR E LAIDLER                                 5356 HUGHES STREET                                                                           OSCODA           MI    48750‐1524
DELMAR E MERCER                                  C/O ORA MERCER                      1603 S SEMINOLE DRIVE                                    CHATTANOOGA      TN    37412‐1143
DELMAR EVANS                                     12756 PHELPS ST                                                                              SOUTHGATE        MI    48195‐1275
DELMAR FARRIS                                    1812 E HARRISON AVE                                                                          SALT LAKE CITY   UT    84108‐2211
DELMAR G FINCH                                   950 PINECREEK DRIVE                                                                          DAYTON           OH    45458‐2128
DELMAR HALL                                      7359 PYRMONT RD                                                                              W ALEXANDRIA     OH    45381‐9700
DELMAR L FINNEY                                  11180 E LANSING RD                                                                           DURAND           MI    48429‐1804
DELMAR L FORBECK                                 40 BENJAMIN DRIVE                                                                            TROY             MO    63379‐4461
DELMAR L JANES                                   1200 NORTH AVE                                                                               BURLINGTON       VT    05401‐2712
DELMAR L RANNEY                                  574 LONG POND RD                                                                             ROCHESTER        NY    14612‐3041
DELMAR L TAYLOR                                  2817 W STATE RD 38                                                                           NEW CASTLE       IN    47362‐9708
DELMAR L TOTH                                    4155 WYMAN RD                                                                                TIPTON           MI    49287‐9717
DELMAR MINCHEW                                   PO BOX 787                                                                                   WALLACE          NC    28466‐0787
DELMAR P BROWN JR                                24 EAGLE VISTA LN                                                                            ORION            MI    48359‐1825
DELMAR R COLLINS                                 1081 PAWGROVE                                                                                WHITE LAKE       MI    48383‐3060
DELMAR R JACKSON                                 1960 ROCKWOOD RD                                                                             MURRAY           KY    42071‐5101
DELMAR R JOHNSON & MRS CARYLJEAN K JOHNSON JT    110 S HILLS DR                                                                               BARRINGTON       IL    60010‐1326
TEN
DELMAR S STAILEY                                 4921 PLANTATION ST                                                                           ANDERSON         IN    46013‐2896
DELMAR SCHWINKE                                  9753 GERALD DRIVE                                                                            ST LOUIS         MO    63128‐1707
DELMAR W EICKHOFF                                17425 STUBBS STATION RD                                                                      PLATTE CITY      MO    64079‐9122
DELMAR WHITT                                     45 EASTWOOD DR                                                                               SPRINGFIELD      OH    45504‐3201
DELMAR WILSON                                    2051 WHITTLESEY ST                                                                           FLINT            MI    48503‐4348
DELMAS ARTHUR COSTELLO                           686 RICHMOND AVE                                                                             BUFFALO          NY    14222‐1305
DELMAS E PALMER                                  1150 E CARSON ST                                                                             PAHRUMP          NV    89048‐7872
DELMAS G SARGENT                                 3254 VALLEYWOOD DRIVE                                                                        COLUMBUS         OH    43223‐3539
DELMAS L GREATHOUSE                              9781 BRYANT RD                                                                               GARRETTSVILLE    OH    44231‐9457
DELMAS L MCCAULEY                                5018 PALMY ROAD SW                                                                           WARREN           OH    44481‐9711
DELMER A HOLLAND                                 7006 COACH LAMP DRIVE               SARDIS BC                              V2R 2V4 CANADA
DELMER A LYONS                                   288 W ARTHUR RD BOX 36                                                                       LAKE GEORGE      MI    48633‐0036
DELMER A WALTON                                  1015 JUDY L N                                                                                TROY             MO    63379
DELMER BARTLEY                                   33709 BLACKFOOT ST                                                                           WESTLAND         MI    48185‐2720
DELMER COLLINSWORTH                              3300 HACKNEY DR                                                                              KETTERING        OH    45420‐1026
DELMER D WOOLENSACK                              5346 DAVIS PECK RD                                                                           FARMDALE         OH    44417‐9765
DELMER E CAMPBELL                                C/O HAZEL CAMPBELL                  33688 WIDENER VALLEY RD                                  DAMASCUS         VA    24236‐2956
DELMER F BARTLETT JR                             4379 CHESTNUT STREET                                                                         WILSON           NY    14172‐9620
DELMER F HARRIS JR                               BOX 278                                                                                      CONCORDIA        KS    66901‐0278
DELMER G FERGUSON & MARGARET G FERGUSON JT       485 WESTLAKE BLVD #65                                                                        PALM HARBOR      FL    34683‐3829
TEN
DELMER L BODKIN                                  471 CHARLES AVE SE                                                                           WARREN           OH    44483‐5907
DELMER L DAVIS                                   3760 E BEVENS RD                                                                             CARO             MI    48723‐9468
DELMER L WRIGHT                                  82 MOUND ST                                                                                  BROOKVILLE       OH    45309‐1441
DELMER M MERCER III                              151 WEST MOHAWK DR                                                                           POWELL           OH    43065‐5061
DELMER R MATLOCK                                 4520 S BELSAY RD                                                                             GRAND BLANC      MI    48439‐9120
DELMER R POYNTER                                 5401 MARGATE RD                                                                              INDIANAPOLIS     IN    46221‐3122
DELMER SETTLE                                    424 N MANSION ST                                                                             SULLIVAN         MO    63080‐1520
DELMER W BASIL                                   3165 HY 259 NO                                                                               BROWNSVILLE      KY    42210‐9801
DELMER W NICHOLSON                               1806 DENFIELD CT                                                                             CINCINNATI       OH    45255‐2428
DELMO E CHAPDELAINE JR                           2255 E ALLEN RD                                                                              HOWELL           MI    48843‐9250
DELMO E CHAPDELAINE JR & DARLENE M CHAPDELAINE   2255 E ALLEN RD                                                                              HOWELL           MI    48843‐9250
JT TEN
DELMO J FASOLI                                   2457 SYLVAN AVE                                                                              HAMILTON         NJ    08610‐1712
DELMO WEST                                       6500 WEST RD 375 NORTH                                                                       BARGERSVILLE     IN    46106‐9550
DELMON WILMOTH                                   1825 E BACON                                                                                 INDIANAPOLIS     IN    46237‐1009
DELMONT N STRANGE                                1015 LOGAN STREET                                                                            BROWNSBURG       IN    46112‐1705
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DELMOR K HENSLEY                                     200 EAST 33RD STREET                                                                            LORAIN        OH    44055‐1212
DELMORE R FRENCH & WINIFRED M FRENCH JT TEN          18214 PHEASANT LAKE DR                                                                          TINLEY PARK   IL    60487‐9548

DELMOS O STEVENSON & JOAN F STEVENSON TEN ENT        4141 MCCARTY RD                        APT 208                                                  SAGINAW       MI    48603‐9329

DELMUS GREENLIEF JR                                  14106 ROUTE 61                                                                                  COLLINS       OH    44826‐9611
DELMUS JOHNSON                                       4835 RT 127 N                                                                                   EATON         OH    45320‐9208
DELMUS W GOOLSBY                                     26748 VAN BUREN                                                                                 DEARBORN      MI    48127‐1017
DELNO L KENNEDY                                      4104 W SYCAMORE RD 00NS                                                                         KOKOMO        IN    46901
DELNO P HAYHURST                                     RT 2 BOX 65                                                                                     PENNSBORO     WV    26415
DELNO ROGERS                                         130 BROWN STREET                                                                                STANTON       KY    40380‐2347
DELOIS A HARING                                      5121 AUTUMN RIDGE DR                                                                            IMPERIAL      MO    63052‐1585
DELOIS CRAWFORD                                      88 BRANFORD RD                                                                                  ROCHESTER     NY    14618‐1742
DELOIS D JOHNSON                                     4232 S OLIVE ST                                                                                 LOS ANGELES   CA    90037‐2105
DELOIS J BROWN                                       617 4TH STREET NW                                                                               DECATUR       AL    35601‐1531
DELOIS J HARPER                                      505 LESLIE STREET                                                                               DECATUR       AL    35603‐1919
DELOIS K ALSTON                                      821 E 8TH ST                                                                                    FLINT         MI    48503‐2735
DELOIS LANE MOORE                                    7940 ROCKLYN DRIVE                                                                              DES MOINES    IA    50322‐4483
DELOIS MCIVER                                        8220 GREEN LEAF LN                                                                              SHREVEPORT    LA    71108‐5738
DELOIS MEHERG BASNETT                                2400 SUNGOLD DR                                                                                 LAS VEGAS     NV    89134‐8889
DELON A SHANKLE                                      22569 SHERWOOD RD                                                                               BELLEVILLE    MI    48111‐9349
DELONE C STINER                                      2005 NO C ST                                                                                    ELWOOD        IN    46036‐1617
DELORA C STEPHENS                                    7312 ROYAL CREST DR                                                                             ELLENTON      FL    34222‐3852
DELORA LORRAINE FRANKLIN                             28258 RIVERVIEW                                                                                 INKSTER       MI    48141‐1708
DELORA N DAVIDSON                                    1221 VALLEY ST                                                                                  DAYTON        OH    45404‐2269
DELORAS J RUSSO & GREGORY M RUSSO JT TEN             9240 JAMES RICHARD DRIVE                                                                        GOODRICH      MI    48438‐9425
DELORES A ADAMS                                      2241 BAINTER AVE                                                                                GROVE CITY    OH    43123‐8442
DELORES A ALLEN                                      15742 LAUDER                                                                                    DETROIT       MI    48227‐2631
DELORES A BOWEN                                      2123 MILL RD                                                                                    FLINT         MI    48532‐2522
DELORES A BRADLEY                                    970 CANTERBURY                                                                                  PONTIAC       MI    48341‐2334
DELORES A MARKS                                      PO BOX 633                             398 CLEVELAND CIRCLE                                     ROSE CITY     MI    48654‐0633
DELORES A MELE                                       1424 POTTER DR                                                                                  COLUMBIA      TN    38401‐9228
DELORES A NEMETH                                     12438 MC CUMSEY ROAD                                                                            CLIO          MI    48420‐7902
DELORES A POWELL                                     2967 TONEY DR                                                                                   DECATUR       GA    30032‐5753
DELORES A REDMOND                                    14790 HATFIELD RD                                                                               RITTMAN       OH    44270‐9502
DELORES A REID                                       1442 N PACKARD                                                                                  BURTON        MI    48509‐1645
DELORES A SHORTS                                     1415 S LEX‐SPRINGMILL RD                                                                        MANSFIELD     OH    44903‐9422
DELORES A STERNOT                                    5692 ENCINA RD                                                                                  GOLETA        CA    93117‐2308
DELORES A ZEEB                                       94 WOODCREST DR                                                                                 BUFFALO       NY    14226‐1407
DELORES ANDERSON                                     912 RAYMOND ST                                                                                  YOUNGSTOWN    OH    44510‐1107
DELORES ANTHONY                                      5731 COLGATE DR                                                                                 YOUNGSTOWN    OH    44515‐4144
DELORES B HILL                                       30797 ARMADA RIDGE RD                                                                           RICHMOND      MI    48062‐4611
DELORES B HILL TROY S HILL & CRYSTAL L HILL JT TEN   30797 ARMADA RIDGE RD                                                                           RICHMOND      MI    48062‐4611

DELORES B MCDOWELL                                   5 LYNN MARR DR                                                                                  HUNTINGTON    WV    25705‐3923
DELORES B MIELOCK TR DELORES B MIELOCK TRUST UA      2226 MONTEGO DR                                                                                 LANSING       MI    48912‐3522
07/22/97
DELORES C FREY                                       11 G ST                                                                                         WOODBURY      NJ    08096‐1412
DELORES C GONZALES                                   13264 NANCY ST                         APT 5                                                    PAULDING      OH    45879
DELORES C JOHNSON                                    8372 KAEHLERS MILL RD                                                                           CEDARBURG     WI    53012‐9759
DELORES C MC QUEEN                                   PO BX 7033                                                                                      NEWARK        NJ    07107‐0033
DELORES CHRISTOPHER                                  502 B WESTWOOD                                                                                  VICTORIA      TX    77901
DELORES D BOSTOCK                                    5107 MIDWAY AVE                                                                                 DAYTON        OH    45427‐2968
DELORES D KING                                       1127 ALEXANDRIA DR                                                                              LANSING       MI    48917‐4805
DELORES D SLEZAK                                     4019 INVERNESS RD                                                                               CHAMPAIGN     IL    61822‐3508
DELORES D WISNIEWSKI & LORRAINE M METZ JT TEN        8256 ELIZABETH ANN                                                                              UTICA         MI    48317‐4320

DELORES DAVIS                                        27 MARGARET DR                                                                                  ROOSEVELT     NY    11575‐1534
DELORES DELLA MONICA                                 220 S MOORE AVE                                                                                 BARRINGTON    NJ    08007‐1226
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DELORES DORSEY                                   93 FIRESTONE DR                                                                                ROCHESTER         NY    14624‐2721
DELORES E DEWITT                                 17417 LINCILN RD                      NEW LOTHROP MICH                                         NEW LOTHROP       MI    48460
DELORES E KAGANAC                                17773 PINEY POINT RD                                                                           TALL TIMBERS      MD    20690‐2017
DELORES ELLENBERGER                              41 SONGBIRD LN                                                                                 ROCHESTER         NY    14620‐3175
DELORES F COLDIRON                               192 BARBERRY PL                                                                                LOVELAND          CO    80537‐7167
DELORES F CURTO                                  969 PEACH TREE TRAIL                                                                           FENTON            MI    48430‐2290
DELORES F JONES TR DELORES F JONES TRUST UA      23 TANGLEWOOD                                                                                  CARL JUNCTION     MO    64834‐9654
04/26/99
DELORES F TUCKER & GARY E TUCKER JT TEN          18411 DEVONSHIRE                                                                               BIRMINGHAM        MI    48025‐4023
DELORES FAMBROUGH                                7138 POLK ST                                                                                   TAYLOR            MI    48180
DELORES G BURTON & ORLANDO C BURTON JT TEN       359 JOSLYN ST                                                                                  PONTIAC           MI    48058

DELORES G JANTSON TOD JASON E JANTSON            988 CENTER ST EAST                                                                             WARREN          OH      44481
DELORES G JONES                                  25725 STRAWBERRY LANE                                                                          SOUTHFIELD      MI      48034‐5840
DELORES GALSTAD                                  N85 W17284 LEE PL                                                                              MENOMONEE FALLS WI      53051‐2733

DELORES HASSELL                                  4941 HEATHER DR                       APT 208                                                  DEARBORN          MI    48126‐2859
DELORES HEHL                                     104 GLEN EAGLE COURT                                                                           GREENWOOD         SC    29646‐1904
DELORES I CHRISTIAN                              8793 CARRIAGE LANE                                                                             PENDLETON         IN    46064‐9339
DELORES I MATHENA                                24 PINEHURST CT                                                                                EAST AMHERST      NY    14051‐1230
DELORES I WILSON                                 BOX 309                                                                                        CONTINENTAL       OH    45831‐0309
DELORES J BALDRIDGE                              353 BETHEL CHURCH RD                                                                           MARION            NC    28752‐9067
DELORES J BOLYARD                                139 HUNTINGTON PLACE                                                                           SANDUSKY          OH    44870‐3550
DELORES J BOYD                                   RR 2 BOX 352                                                                                   ADRIAN            MO    64720‐9470
DELORES J CAHEN                                  PO BOX 14                             502 FAIRWAY RD                                           SUN VALLEY        ID    83353‐0014
DELORES J ELLIS & DEAN P ELLIS JT TEN            6675 CARPENTER RD                                                                              HARRISON          MI    48625‐8936
DELORES J FOLEY                                  712 OHIO AVENUE                                                                                MCDONALD          OH    44437‐1834
DELORES J GRIGSBY                                3816 EAST ARMUCHEE RD                                                                          LAFAYETTE         GA    30728‐5529
DELORES J HOOVER                                 197 EASTWOOD DR                                                                                NORTH EAST        PA    16428‐1452
DELORES J LAMBERT & EDWARD C PAWLOSKI JT TEN     BOX 542                                                                                        BAY CITY          MI    48707‐0542

DELORES J LAMBERT & EDWARD J LAMBERT JR JT TEN   PO BOX 542                                                                                     BAY CITY          MI    48707‐0542

DELORES J MONDAY                                 3107 GREEN GATE WAY                                                                            CONYERS           GA    30013‐6420
DELORES J PAWLOSKI                               806 SIDNEY ST                                                                                  BAY CITY          MI    48706‐3873
DELORES J PAWLOSKI & EDWARD C PAWLOSKI JT TEN    806 SIDNEY ST                                                                                  BAY CITY          MI    48706‐3873

DELORES J RACHAL                                 7304 BERING COVE                                                                               AUSTIN            TX    78759
DELORES J ROBINSON TR DELORES J ROBINSON TRUST   930 SE 10TH WAY                                                                                POMPANO BEACH     FL    33060‐9523
UA 09/08/05
DELORES J SCHERZER                               7405 AMERICAN WAY                                                                              NEW PORT RICHEY   FL    34654‐5802

DELORES J SIMPSON                                11710 W 61 TERRACE                                                                             SHAWNEE           KS    66203‐2659
DELORES J SMITH                                  1811 HOYLE DRIVE                                                                               HOLIDAY           FL    34691‐5308
DELORES J SMOTHSON                               400 PLYMOUTH RD APT E2                                                                         PLYMOUTH          MI    48170‐1456
DELORES J STEWART                                655 QUINTON RD                                                                                 SALEM             NJ    08079‐1213
DELORES J STEWART                                3100 GARY DR                                                                                   ST LOUIS          MO    63121‐5345
DELORES J TALLMAN & DANIEL J TALLMAN JT TEN      7101‐28TH AVE DRIVE W                                                                          BRADENTON         FL    34209‐5335
DELORES J TAYLOR                                 8412 MARGARET                                                                                  TAYLOR            MI    48180‐2761
DELORES J WOLFLEY                                1773 HEMLOCK                                                                                   BELOIT            WI    53511‐3513
DELORES JEAN KENNEBREW                           39213 WYOMING DR                      LOT 137                                                  ROMULUS           MI    48174‐5007
DELORES JOHNSON                                  C/O LARRY JOHNSON                     2969 NILES RD                                            WARREN            OH    44484‐5414
DELORES JONES                                    3422 ESSEX RD                                                                                  BALTIMORE         MD    21207‐4533
DELORES JONES                                    3817 TRIUMPH                                                                                   FT WORTH          TX    76119‐7357
DELORES K MC MULLEN                              9 HALLMARK RD                                                                                  ROCHESTER         NY    14625‐1333
DELORES K MC MULLEN & THOMAS G MC MULLEN JT      9 HALLMARK RD                                                                                  ROCHESTER         NY    14625‐1333
TEN
DELORES KAY BENEDICT CUST RICHARD WILLIAM        484 S DREXEL AVE                                                                               COLUMBUS          OH    43209‐2144
BENEDICT UGMA OH
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DELORES KLASKO                                     296 8TH ST                                                                                       MANISTEE         MI     49660‐2163
DELORES L CLARK                                    4220 E MAIN ST APT E17                                                                           MESA             AZ     85205‐8604
DELORES L CUEVAS                                   2344 S ISABELLA AVE                                                                              MONTEREY PARK    CA     91754‐7112
DELORES L GARRETT & FREDERICK VOEGELE JT TEN       5754 AMBOY                                                                                       DEARBORN HEIGHTS MI     48127‐2893

DELORES L GILLES                                   4801 W WESTGATE                                                                                  BAY CITY          MI    48706‐2643
DELORES L GRULKOWSKI                               615 LAKEVIEW AVENUE                                                                              S MILWAUKEE       WI    53172‐4057
DELORES L PARDUE & CHRISTINE R DOYLE & JEFFREY M   421 KING RIDGE DR                                                                                COLLIERVILLE      TN    38017‐1715
PARDUE JT TEN
DELORES L STEENSMA                                 2941 GOLF HILL DR                                                                                WATERFORD         MI    48329‐4514
DELORES L STRACUZZI                                PO BOX 334                                                                                       MANVILLE          NJ    08835‐0334
DELORES L WRICK                                    47 NEWPORT ST                                                                                    ARLINGTON         MA    02476
DELORES LUGO                                       18149 GRATIOT RD                                                                                 HEMLOCK           MI    48626‐8609
DELORES M BOTTRILL                                 910 AVERY AVE                                                                                    SYRACUSE          NY    13204‐1528
DELORES M CHECKOSKY & CAROL A BALESTRA JT TEN      508 MONTROSE AVE                                                                                 SYRACUSE          NY    13219‐1632

DELORES M CLEMOENS                             17530 MELROSE                                                                                        SOUTHFIELD        MI    48075‐4228
DELORES M DESANDER & PAUL RENE DESANDER JT TEN 3055 OAKVIEW DR                                                                                      PINCONNING        MI    48650‐9711

DELORES M DRAKE & CHESTER J GLOMSON JT TEN         5334 E ATHERTON RD                                                                               BURTON            MI    48519‐1532
DELORES M DRAKE & FREDERICK H GLOMSON JT TEN       5334 E ATHERTON RD                                                                               BURTON            MI    48519‐1532

DELORES M FERRELL                                  129 N MERRIMAC                                                                                   PONTIAC           MI    48340‐2533
DELORES M HALL TR DELORES M HALL TRUST UA          1002 WOODSBORO DR                                                                                ROYAL OAK         MI    48067‐4350
02/03/97
DELORES M HERRON & JEFFREY D BING JT TEN           23851 SMITH AVE                                                                                  WEST LAKE         OH    44145‐4808
DELORES M HIPPLE                                   37501 JOY RD 82                                                                                  WESTLAND          MI    48185‐7506
DELORES M HOLMES                                   8300 TUCKER RD                                                                                   EATON RAPIDS      MI    48827‐9512
DELORES M HORTON & SHERYL A HENDERSON JT TEN       11223 W CARPENTER RD                                                                             FLUSHING          MI    48433‐9772

DELORES M JAMES                                    2531 PINE HOLLOW DR                                                                              TIONESTA          PA    16353‐3313
DELORES M KOCH TR DELORES M KOCH REVOCABLE         14135 MEADOW HILL LN                                                                             PLYMOUTH          MI    48170‐3174
LIVING TRUST UA 09/17/03
DELORES M LINDEMAN                                 4417 FLORAMAR TER                                                                                NEW PORT RICHEY   FL    34652‐3369

DELORES M LUDWIG                                   717 19TH ST                                                                                      BAY CITY          MI    48708
DELORES M MARCELLUS                                3025 LAKEVIEW AVE                                                                                DAYTON            OH    45408‐1550
DELORES M OCHAR                                    1110 BEECH STREET                                                                                WILMINGTON        DE    19805‐4323
DELORES M PAGE                                     2404 SOUTH DYE                                                                                   FLINT             MI    48532‐4153
DELORES M PALM                                     57 S VERNON ST                                                                                   MIDDLEPORT        NY    14105
DELORES M PREWETT                                  306 SUBURBAN DRIVE                                                                               ANDERSON          IN    46017‐9692
DELORES M PUDDUCK                                  5480 MCKEACHIE                                                                                   WHITE LAKE        MI    48383‐1335
DELORES M SHIFLETT                                 209 HENRY AVE                                                                                    WAYNESBORO        VA    22980‐3715
DELORES M SKENANDORE                               9515 W MORGAN AVE                                                                                MILWAUKEE         WI    53228‐1424
DELORES MAEANN ODELL                               3728 MARYLAND AVE                                                                                FLINT             MI    48506‐3175
DELORES MARGARET JAMES                             2531 PINE HOLLOW DR                                                                              TIONESTA          PA    16353‐3313
DELORES MCDERMOTT                                  15295 FRENCH CREEK DR                                                                            FRASER            MI    48026‐5215
DELORES N HALL                                     207 WEST 29TH ST                                                                                 WILMINGTON        DE    19802‐3108
DELORES N NORSIC                                   7105 KRICK ROAD                                                                                  WALTON HILLS      OH    44146‐4417
DELORES O SHAW                                     9277 SHADY LAKE DRIVE                   APT 102J                                                 STREETSBORO       OH    44241‐4508
DELORES O TIDD                                     295 BUENA VISTA                                                                                  VIENNA            OH    44473‐9645
DELORES OKELLEY                                    4730 CLARKS BRIDGE RD                                                                            GAINESVILLE       GA    30506‐2947
DELORES P KNIGHT                                   9740 WEST GREEN LANE                                                                             CRYSTAL RIVER     FL    34429‐8144
DELORES P NASCHAK & KATHRYN M BASONE JT TEN        54596 BURLINGTON DRIVE                                                                           SHELBY TOWNSHIP   MI    48315‐1628

DELORES PARKER                                     4414 CAHILL ST                                                                                   FREMONT           CA    94538‐2848
DELORES PRUDHAM                                    31344 CLUB VISTA LN                                                                              BONSALL           CA    92003‐5303
DELORES R FISCHER                                  PO BOX 1025                                                                                      FENTON            MI    48430‐5025
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DELORES R SMITH TR DRS FAMILY REV TRUST UA 5/6/03 11260 N 92ND STREET UNIT 1025                                                                 SCOTTSDALE       AZ    85260‐6167

DELORES RAMSEY                                    26 WESTERN AVE                                                                                BROOKVILLE       OH    45309‐1421
DELORES RAY                                       401 TERAVISTA PKWY                   APT 1112                                                 ROUND ROCK       TX    78665‐1330
DELORES S JAMESON                                 107 BARRETT ST                                                                                GAINESVILLE      GA    30501‐1309
DELORES S OLIVER CUST AUSTIN T SIMS UTMA GA       336 JENNIFER CIRCLE                                                                           VALDOSTA         GA    31605‐6832
DELORES SENEK NEMET                               8573 RED OAK DR NE                                                                            WARREN           OH    44484‐1631
DELORES SHAW                                      C/O GRAND MANOR                      3645 COOK AVE                                            SAINT LOUIS      MO    63114
DELORES SHULUGA                                   4160 BOB‐O‐LINK DR                                                                            YOUNGSTOWN       OH    44511‐3337
DELORES SIMPSON & HARRY SIMPSON JT TEN            3820 MIRA LAGO DR                                                                             SARASOTA         FL    34238‐4589
DELORES SKIDMORE                                  2935 GREENFIELD DR                                                                            CULLEOKA         TN    38451‐2611
DELORES T ANDERSON HILL                           3170 SW 139TH TE                                                                              DAVIE            FL    33330‐4667
DELORES T MORGAN                                  1969 LAKEVIEW RD                                                                              WILMINGTON       DE    19805‐4115
DELORES T PERRAULT                                6164 BURLEY RD                                                                                ALANSON          MI    49706‐9722
DELORES T ROHELIER                                6164 BURLEY ST                                                                                ALANSON          MI    49706‐9722
DELORES TIPPETT                                   6036 SUTTER AVENUE                                                                            CARMICHAEL       CA    95608‐2737
DELORES VENIER TR DELORES VENIER TRUST UA 9/19/01 2651 BIDDLE AVE APT 707                                                                       WYANDOTTE        MI    48192‐5228

DELORES VOSICKY                                   1933 SOUTH OAK PARK AVENUE                                                                    BERWYN           IL    60402‐1713
DELORES W COOPER                                  29360 DEQUINDRE RD                   APT 101                                                  WARREN           MI    48092‐2140
DELORES W GRAY & KENNIS N GRAY EX UW SHIRLEY C    548 LITCHELL RD                                                                               SALEM            VA    24153‐1410
WILLIS
DELORES W JACKSON                                 20 CANDLELIGHT LANE SW                                                                        ATLANTA          GA    30331‐3908
DELORES WALTERS                                   2249 PHOENIX AVE                                                                              ONTARIO          CA    91761‐5834
DELORES WARE                                      3043 N 18TH ST                                                                                MILWAUKEE        WI    53206‐2202
DELORES WEDDINGTON                                442 VALLEY VIEW DR                                                                            SOUTH LEBANON    OH    45065‐1407
DELORES WEETHEE                                   PO BOX 1282                                                                                   HILLIARD         OH    43026‐6282
DELORES WEETHEE & HARRY WEETHEE JT TEN            PO BOX 1282                                                                                   HILLIARD         OH    43026‐6282
DELORES Y JONES                                   5720 FOLKSTONE LN                                                                             ORLANDO          FL    32822‐9401
DELORIS A BACON                                   2874 MEDFORD AVENUE                                                                           INDIANAPOLIS     IN    46222‐2252
DELORIS A BRAZELTON                               2421 LEXINGTON OAK DR                                                                         BRANDON          FL    33511‐4718
DELORIS ANN LUTZ                                  5267 81ST ST N                       APT 7                                                    ST PETERSBURG    FL    33709‐6206
DELORIS B SIMMS                                   1075 YOLANDA DR                                                                               YOUNGSTOWN       OH    44515‐3351
DELORIS BARRETT                                   606 WEST 39TH STREET                                                                          WILMINGTON       DE    19802‐2035
DELORIS D LOCKE                                   13225 WESTMINSTER                                                                             SOUTHGATE        MI    48195‐3083
DELORIS D YOUNG                                   505 WEST WOODLAWN AVE                                                                         DANVILLE         IL    61832‐2347
DELORIS H JOHNSON TR DELORIS H JOHNSON LIVING     11003 KEWANEE DR                                                                              TEMPLE TERRACE   FL    33617‐3118
TRUST UA 09/15/97
DELORIS I FRENCH                                  2396 CHINQUO ST                                                                               GROVE CITY       OH    43123‐1410
DELORIS J COPPO                                   1140 FAIR OAKS DR                                                                             BURTON           MI    48529‐1911
DELORIS J PRESLIK                                 141 BERT CRAWFORDROAD APT 119                                                                 MIDDLETOWN       NY    10940
DELORIS JEAN BAKER                                R R 2 BOX 194C                                                                                RUSSIAVILLE      IN    46979‐9802
DELORIS L MORRIS                                  10304 E 56 ST                                                                                 RAYTOWN          MO    64133‐2856
DELORIS L SMITH                                   3286 S DYE RD                                                                                 FLINT            MI    48507‐1006
DELORIS M FUHR                                    12143 SE 104TH COURT                                                                          PORTLAND         OR    97266‐7939
DELORIS M LESTER                                  207 PINE AVE                                                                                  WOODWARD         IA    50276‐1015
DELORIS M OVERSMITH                               2055 SCOUT RD                                                                                 EATON RAPIDS     MI    48827‐8374
DELORIS M WALL                                    198 W COUNTY ROAD 425 N                                                                       FRANKFORT        IN    46041‐7857
DELORIS MAZIARZ                                   6548 FERGUS RD                                                                                ST CHARLES       MI    48655‐9615
DELORIS MOMAN                                     2408 FRANCIS AVENUE                                                                           FLINT            MI    48505‐4945
DELORIS SCOTT                                     5439 RIVER MEADOW                                                                             FLINT            MI    48532
DELORIS T TOLSON                                  3124 GRACEFIELD ROAD APT 310                                                                  SILVER SPRING    MD    20904‐5818
DELORIS TERRY                                     11265 E ALAMEDA AVE APT 6                                                                     AURORA           CO    80012‐1009
DELORIS TROXELL                                   3617 SLEEPY HOLLOW LANE                                                                       NEW CASTLE       IN    47362‐1149
DELORIS V PIOTTER                                 720 LATTA RD                         APT 250                                                  ROCHESTER        NY    14612‐4167
DELORIS W FLEMING                                 396 BANNING RD                                                                                CAMDEN WYO       DE    19934‐1759
DELORIS Y BAILEY                                  2400 SWEETBAY LN                                                                              RESTON           VA    20191‐4204
DELOROS M GOODSPEED                               10416 DUSTY HILL LOOP                                                                         DADE CITY        FL    33525‐0985
DELOS D KENNEDY                                   1392 MONTICELLO ST NE                                                                         BROOKHAVEN       MS    39601‐8800
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DELOS HOWAY                                       PO BOX 193                                                                                       BUNKER HILL     IN    46914‐0193
DELOS K OSBORN & SANDRA H OSBORN JT TEN           1109 S LAKE VALLEY DRIVE                                                                         FENTON          MI    48430‐1243
DELOSE R TSCHABOLD                                1336 SOUTH 75TH ST                                                                               WEST ALLIS      WI    53214‐3023
DELOY ROSE & GLENDOLA M ROSE JT TEN               1872 OZARK DRIVE                                                                                 ARNOLD          MO    63010‐2625
DELOYD BROWN                                      327 SOUTH BLVD W                                                                                 PONTIAC         MI    48341‐2464
DELOYD HARRISON                                   2115 ROBIN HOOD TRAIL                                                                            CUMMING         GA    30040‐2873
DELOYD MC KINNON                                  8501 S YATES                                                                                     CHICAGO         IL    60617‐2317
DELOYD O BYRAM                                    156 FULBRIGHT DR                                                                                 MOUNTAIN HOME   AR    72653‐8708

DELPHIA LOIS B BUSH                              2541 BRENTWOOD CIRCLE                                                                             LENOIR          NC    28645‐9324
DELPHIA O BRANDEL                                6609 JOCELYN HOLLOW ROAD                                                                          NASHVILLE       TN    37205‐3910
DELPHIA S CARROLL                                135 HILLTOP DR                                                                                    ROCKY MOUNT     VA    24151‐2257
DELPHINE A CARNEY                                372 ARDMORE                                                                                       FERNDALE        MI    48220‐3318
DELPHINE A FRISKEY                               1842 VINTON                                                                                       ROYAL OAK       MI    48067‐1033
DELPHINE ADAMCZYK & GREGORY G ADAMCZYK TEN       8153 LINDA                                                                                        WARREN          MI    48093‐2811
COM
DELPHINE ANNA ZIDEK                              904 LIVERMORE LN                                                                                  ELYRIA          OH    44035‐3014
DELPHINE B TAUSCHER TR DELPHINE B TAUSCHER TRUST 1069 RAYNA DR                                                                                     DAVISON         MI    48423‐2845
UA 9/15/04
DELPHINE BALOGA TR BALOGA FAMILY LIVING TRUST UA 6230 TUBSPRING RD                                                                                 ALMONT          MI    48003‐8313
10/23/97
DELPHINE BAUMANN                                 1500 RIVERVIEW                                                                                    WASHINGTON      MO    63090‐3441
DELPHINE BAZANOWSKI                              24329 NOTRE DAME                                                                                  DEARBORN        MI    48124‐3127
DELPHINE BEDNAR & ROBERT J BEDNAR JT TEN         205 SUNRISE AVE N                                                                                 NEW PROGUE      MN    56071‐2266
DELPHINE BUTTS & MORRIS SAMUEL BUTTS JT TEN      BOX 268                                                                                           HEBER           AZ    85928‐0268

DELPHINE C WOJTOWICZ                              216 CORONATION DRIVE                                                                             AMHERST         NY    14226‐1611
DELPHINE D BUTTS & DONNETA R SKUPIEN JT TEN       PO BOX 268                                                                                       HEBER           AZ    85928‐0268
DELPHINE D JOHNSTON                               5760 HICKORY KNOLL DR                   APT. 4                                                   WINSTON SALEM   NC    27106
DELPHINE G MURZIN                                 9716 FENTON                                                                                      REDFORD         MI    48239‐1684
DELPHINE HEDRICK                                  3229 SHERIDAN WAY                                                                                STOCKTON        CA    95219‐3726
DELPHINE J CARNEGIE & JAMES EDWARD THOMAS JR JT   3701 15TH ST                            APT 414                                                  DETROIT         MI    48208‐2588
TEN
DELPHINE L JACKSON                                27279 WINTERSET CIRCLE                                                                           FARMINGTON HILLS MI   48334‐4065

DELPHINE M CHENDES & DAWN MARIE MCCANN JT TEN 30438 ASTON COURT                                                                                    FARMINGTON HILLS MI   48331‐1600

DELPHINE M FORBORD & DAVID M FORBORD JT TEN       1013 DARLINGTON                                                                                  EAST LANSING    MI    48823‐1827

DELPHINE M FORBORD & KAREN M GRUBKA JT TEN        1013 DARLINGTON                                                                                  EAST LANSING    MI    48823‐1827

DELPHINE M FORBORO & MARVIS M HAFNER JT TEN       1013 DARLINGTON AVE                                                                              EAST LANSING    MI    48823‐1827

DELPHINE M PERRY                                  5183 TARA CREEK DR                                                                               ELLENWOOD       GA    30294‐2006
DELPHINE M SHERIDAN & JOHN M SHERIDAN JT TEN      5594 OLD CARRIAGE LANE                                                                           W BLOOMFIELD    MI    48322‐1650

DELPHINE M SZACH                                  13832 BIRCH TREE WAY                                                                             SHELBY TWP      MI    48315‐6002
DELPHINE M WOLK TR 09/25/00 DELPHINE M WOLK &     26247 ALBERT J DR                                                                                WARREN          MI    48091‐6502
EDWARD WOLK LIVING TRUST
DELPHINE MILLER                                   8475 KNOX RD                                                                                     CLARKSTON       MI    48348‐1721
DELPHINE PAWLIK & TODD M PAWLIK JT TEN            8086 HAWK DR                                                                                     FREELAND        MI    48623‐8753
DELPHINE REPPENHAGEN TR DELPHINE REPPENHAGEN      3907 BAYSIDE COURT                                                                               BRADENTON       FL    34210‐4108
TRUST UA 06/09/87
DELPHINE REPPENHAGEN TR UA 06/09/87 DELPHINE      3907 BAYSIDE COURT                                                                               BRADENTON       FL    34210‐4108
REPPENHAGEN TRUST
DELPHUS F PIGG                                    5621 STRD 9N                                                                                     ANDERSON        IN    46012
DELRAINE FRANKLIN CUST ALYSSA PORTER UTMA PA      RR 1 BOX 63A2                                                                                    WYALUSING       PA    18853

DELREL E LAUR                                     3923 MERWIN ROAD                                                                                 LAPEER          MI    48446‐9799
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DELROY O SPANN & MARION C SPANN JT TEN           8020 LASALLE AVE                                                                                              BATON ROUGE       LA    70806‐8417
DELSIE BACCHINI                                  16446 E COPPEROPOLIS RD                                                                                       LINDEN            CA    95236‐9733
DELTA A SMITH                                    5590 WILLIAMS SHORES DR                                                                                       CUMMINGS          GA    30041‐2303
DELTA COUNTY                                     4‐H PIONEERS                           C/O LANCE M                EARLEY COURTHOUSE ANNEX                     DELTA             CO    81416
DELTA HOPE LARSEN                                3021 S HALL AVE                                                                                               INDEPENDENCE      MO    64052‐1453
DELTA M CARR                                     7371 TAFT RD                                                                                                  PERRINTON         MI    48871
DELTA OIL COMPANY                                PO BOX 829                                                                                                    PETERSBURG        VA    23804‐0829
DELTA R CHAMPNEY                                 112 P O BOX                                                                                                   VERMILION         OH    44089
DELTHAREAN H HAMILTON                            127 BOULDER CREEK DR                                                                                          DESOTO            TX    75115
DELTON B SNIDER                                  8115 LAHRING ROAD                                                                                             GAINES            MI    48436‐9736
DELTON NACK & JUDITH NACK JT TEN                 417 HICKORY LN                                                                                                MATTOON           IL    61938‐2027
DELTON T HOLBROOKS                               2175 SHARON RD                                                                                                CUMMING           GA    30041‐6851
DELTON WILLIAM SIMAR                             651 UNION ROAD                                                                                                BUFFALO           NY    14224‐3933
DELVIS D CLARY                                   5100 LIN‐HILL                                                                                                 SWARTZ CREEK      MI    48473‐8837
DELWIN D CRAIG                                   2287 OSPREY CV                                                                                                FORT MOHAVE       AZ    86426‐7055
DELWIN L BROWN                                   38110 JAMES DR                                                                                                CLINTON TWP       MI    48036‐1835
DELWIN L SUTTON                                  PO BOX 130                                                                                                    SAINT HELEN       MI    48656‐0130
DELWOOD R NORDER                                 3230 S BALDWIN RD                                                                                             LAINGSBURG        MI    48848‐9629
DELYLE LISTER SHERMAN                            4164 MORRISON ST                                                                                              BURTON            MI    48529‐1672
DELYLE P HIBLER                                  607 SHARON ST                                                                                                 WATERFORD         MI    48328‐2166
DELYLE P HIBLER & JACQUELINE J HIBLER JT TEN     607 SHARONST                                                                                                  WATERFORD         MI    48328
DELYNN MICHAEL KING                              3039 GREENS MILL RD                                                                                           SPRING HILL       TN    37174‐2121
DELYNN S BOLANOWSKI                              8047 HILL ROAD                                                                                                SWARTZ CREEK      MI    48473‐7615
DELYNNE E GERAGHTY                               628 E ATHERTON RD                                                                                             FLINT             MI    48507‐2797
DELZELL B MEDLEY                                 WINDLAND RETIREMENT CENTER             200 E WEBSTER ST APT 407                                               MADISON           TN    37115‐4809
DEMA A PIERSON                                   24349 BASHIAN DRIVE                                                                                           NOVI              MI    48375‐2931
DEMARA J HINSPERGER                              515 BELLEVUE                                                                                                  LAKE ORION        MI    48362‐2714
DEMARCUS M MOTLEY                                5286 BEWICK                                                                                                   DETROIT           MI    48213‐3362
DEMARIS A CLEMENTS                               54 MADRE DR DIOS STREET                                                                                       PUWTA GORDA       FL    33983
DEMARIS MARCONI MARTINEZ                         67‐275 FARRINGTON HWY                                                                                         WAIAKEA           HI    96791‐9648
DEMETRA B LEONARD & CHARLES O LEONARD &          102 FRANKLIN BLVD                                                                                             PONTIAC           MI    48341‐1706
DEMETRA B LEONARD JT TEN
DEMETRA D GRAMMAS                                721 RIVER HAVEN CIR                                                                                           BIRMINGHAM        AL    35244‐1241
DEMETRA G KOUPAS & THOMAS G KOUPAS & PETER G     417 PARK AVE                                                                                                  ADDISON           IL    60101‐3703
KOUPAS JT TEN
DEMETRA J BERGER                                 367 SUNSET HILL RD E                                                                                          FISHKILL         NY     12524‐2820
DEMETRA MONOLIDIS                                23347 MEADLAWN                                                                                                DEARBORN HEIGHTS MI     48127‐2329

DEMETRE TSOUNAKIS                                C/O ANTONIA K MILONAS                  171 W 57TH ST 11C                                                      NEW YORK          NY    10019‐2222
DEMETRI L ANDERSON                               PO BOX 28370                                                                                                  DETROIT           MI    48228‐0370
DEMETRI P GUZYLAK                                284 APPLEWOOD DR                                                                                              ROCHESTER         NY    14612‐3550
DEMETRIA A RYAN                                  24039 HATTERAS ST                                                                                             WOODLAND HILLS    CA    91367‐4035

DEMETRIA J CARD                                  50 BROOKWOOD LN                                                                                               PONTIAC           MI    48340‐1405
DEMETRICE COCKRAM                                C/O D C DAVIS                          6089 DRY FORK RD                                                       DRY FORK          VA    24549‐4143
DEMETRIO FERNANDEZ JR & DELTINA DIAZ FERNANDEZ   4015 BAYSHORE BLVD                     APT 7E                                                                 TAMPA             FL    33611‐1708
JT TEN
DEMETRIO YALAKIDIS                               636 MEADOW STREET                                                                                             ROSELLE           NJ    07203‐1514
DEMETRIOS DAKOS                                  4263 NICOLET AVE                                                                                              FREMONT           CA    94536‐4641
DEMETRIOS G KARAGIANNAKIS & IRENE                2811 HEATH AVE                                                                                                BRONX             NY    10463‐7801
KARAGIANNAKIS JT TEN
DEMETRIOS J ANDRONIKIDES                         2 NUTMEG PL                                                                                                   NORWALK           CT    06850‐2007
DEMETRIOS MARSELIS & ARGYRO D MARSELIS JT TEN    11384 SILVER LAKE CT                                                                                          SHELBY TOWNSHIP   MI    48317‐2647

DEMETRIOS ROGU & MARIA ROGU JT TEN               85‐31 60TH DR                                                                                                 MIDDLE VILLAGE    NY    11379‐5431
DEMETRIOS ROGU CUST NICHOLAS ROGU UGMA NY        85‐31 60TH DR                                                                                                 MIDDLE VILLAGE    NY    11379‐5431

DEMETRIOS XANTHOS                                698 CHARNWOOD DR                                                                                              WYCKOFF           NJ    07481‐1012
DEMETRIS SLAUGHTER                               2400 SUMMER PLACE DR                                                                                          ARLINGTON         TX    76014‐1910
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DEMETRIUS C GRIFFIN                               996 FERN AVE SE                                                                               ATLANTA          GA    30315‐1813
DEMETRIUS J CLARKE                                7959 S CRANDON                                                                                CHICAGO          IL    60617‐1147
DEMIESTRO WATSON                                  PO BOX 4024                                                                                   SAGINAW          MI    48606‐4024
DEMIS PUJOLS                                      2556 CALLE NACAR                                                                              PONCE            PR    00716‐0806
DEMITRUS L STUBBERFIELD                           7000 EUNICE DRIVE                                                                             RIVERDALE        GA    30274‐3110
DEMMIE L TIDWELL & JAMES L TIDWELL JT TEN         2343 TALLAVANA TRL                                                                            HAVANA           FL    32333‐5648
DEMOS K TSIAKOS & VASILIKI D TSIAKOS JT TEN       2601 DURHAM NW                                                                                ROANOKE          VA    24012‐2105
DEMOSTHENE L BERDOS                               40 OAK STREET                                                                                 TAUNTON          MA    02780‐3056
DEMOUS BESS                                       106 SLASH PINE DR                                                                             PLYMOUTH         NC    27962‐9528
DEMPSEY A DENT                                    19455 GRANDVILLE STREET                                                                       DETROIT          MI    48219‐2131
DENA B PERRY                                      1119 OLD KEMPSVILLE RD                                                                        VIRGINIA BEACH   VA    23464‐5947
DENA DIERKES                                      C/O D D KNIPE                        2410 HAWTHORNE HILL RD W                                 QUINCY           IL    62301‐6546
DENA E MAGUIRE                                    371 GOLD DIGGERS TRL                                                                          DAHLONEGA        GA    30533‐8606
DENA FRISHBERG                                    515 S LEXINGTON PKWY                 APT 104                                                  ST PAUL          MN    55116‐1740
DENA L OBERT                                      2503 W 21ST ST                                                                                PANAMA CITY      FL    32405‐2427
DENA L SMITH TR UA 01/16/2009 ANNA M              PO BOX 2014                                                                                   WESTERVILLE      OH    43086
SHREWSBURY TRUST
DENA M HAWKINS & MARY WASIELEWSKI JT TEN          10 GINGERDREAD RD                                                                             PETERSBURG       TN    37144‐7600
DENA M NAULT & WILLIAM M NAULT JT TEN             10442 W STANLEY                                                                               FLUSHING         MI    48433‐9268
DENA M WALTON                                     230 SOUTH MURRAY HILL ROAD                                                                    COLUMBUS         OH    43228‐1967
DENA MARIE TROISI                                 417 WINDING CT                                                                                BRICK            NJ    08723‐4954
DENA MARIE TROISI & JOHN TROISI JT TEN            417 WINDING CT                                                                                BRICK            NJ    08723‐4954
DENA R DAVIS                                      7581 BRITTON HWY                                                                              BRITTON          MI    49229‐9571
DENA S MERRIMAN                                   2846 PARNHAM DR                                                                               MEDINA           OH    44256
DENA V CARBONE TR DENA V CARBONE REVOCABLE        23 WENTWORTH AVENUE                                                                           PLAISTOW         NH    03865‐3136
TRUST UA 09/24/96
DENA VAN GULIK                                    4311 N BAYWOOD DR                                                                             HERNANDO         FL    34442‐4505
DENAE L NELSON                                    924 LINCOLN AVE                                                                               FLINT            MI    48507‐1756
DENCIL SHORT                                      7428 EAST STATE RD #48                                                                        MILAN            IN    47031‐9805
DENDRA J LEBOUEF                                  811 W WALNUT                                                                                  KOKOMO           IN    46901‐4304
DENE R ALLEN & IRIS N ALLEN JT TEN                10347 E RIVERSHORE DR SE                                                                      ALTO             MI    49302‐9243
DENEEN F HAWKINS                                  325 HUGHES                                                                                    PONTIAC          MI    48341‐2451
DENEEN SCILLUFO CUST FRANK J SCILLUFO UTMA IL     2809 OAKWOOD AVE                                                                              MCHENRY          IL    60051‐2949

DENEEN SCILLUFO CUST FRANK JOHN SCILLUFO UTMA IL 2809 OAKWOOD AVE                                                                               MCHENRY          IL    60051‐2949

DENELDA ANN SANDERS                              7038 DIMMICK ROAD                                                                              WEST CHESTER     OH    45069‐4072
DENEMOURS L LOCKEET                              8065 JORDAN                                                                                    DETROIT          MI    48234‐4118
DENESE A HUFE                                    PO BOX 2649                                                                                    WIMBERLEY        TX    78676
DENESE DUNGEY                                    3525 KENDALWOOD DR                                                                             LANSING          MI    48911‐2136
DENETTE S SCHOENIAN                              1117 GREEN ACRES DR                                                                            KOKOMO           IN    46901‐9721
DENETTE S SCHOENIAN & RICHARD J SCHOENIAN JT TEN 1117 GREEN ACRES DR                                                                            KOKOMO           IN    46901‐9721

DENI MARVIN JONES & BETTY JEAN JONES JT TEN       5815 WEST 100TH STREET                                                                        SHAWNEE MISSION KS     66207‐2911

DENICE CECELIA MCCOLLOUGH                        1849 PETALUMA CT                                                                               MILPITAS         CA    95035‐5009
DENICE DARLENE PLATT                             5713 HUNT CLUB FARMS                                                                           OXFORD           MI    48371‐1064
DENICE E BURKETT & JAMES O BURKETT JT TEN        5141 SANDALWOOD CIR                                                                            GRAND BLANC      MI    48439‐4267
DENICE GASTON                                    15815 ROSEMONT                                                                                 DETROIT          MI    48223‐1331
DENICE K HUNT                                    3872 S SHORE DR                                                                                LAPEER           MI    48446‐9627
DENICE M CAPRINO 1681 FOXWOOD ST                                                                                                                HOLLISTER        CA    95023‐8051
DENICE M RICHARDSON                              698 STEVEN DR                         LASALLE ON                             N9J 3C2 CANADA
DENICE M SYTEK                                   2469 SOLAR WOOD                                                                                DAVISON          MI    48423‐8761
DENICE O GONYEA                                  540 HITZEL TERR                                                                                RUTLAND          VT    05701
DENICE SCHULTZ TR TESTAMENTARY TRUST U‐W ALICE J 1204 SOUTH BURCHARD                                                                            FREEPORT         IL    61032‐4887
BASTIAN
DENICIA Y STOKES                                 802 N ELIZABETH ST                                                                             DURHAM           NC    27701‐2514
DENIECE E BURNETTE                               1919 VIRGIL H GOODE HWY                                                                        ROCKY MOUNT      VA    24151‐3560
DENIENE K PRESTON                                465 LUTHER ST                                                                                  PONTIAC          MI    48341‐2571
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Name                                            Address1                             Address2             Address3          Address4          City                State Zip

DENIESE W REIMER                                321 LOCKWOOD AVE                                                                              HAMILTON            OH    45011‐4234
DENIS A ROBSON & DORIS L ROBSON JT TEN          420 SPARROW HAWK CT                                                                           GREER               SC    29650‐3105
DENIS A STECK                                   2001 MATTIS DR                                                                                DAYTON              OH    45439
DENIS BERG LURIA CUST KATHRINE L BERG UGMA CA   1076 CORSICA DRIVE                                                                            PACIFIC PALISADES   CA    90272‐4012

DENIS BETTENCOURT                               13131 MOORPARK ST #311                                                                        SHERMAN OAKS        CA    91423‐3341
DENIS BRESLIN                                   166 SOCIETY CT                                                                                MARCO ISLAND        FL    34145‐3940
DENIS BRETON                                    6100 DEACON CH                       APT 5N               MONTREAL QC       H3S 2V6 CANADA
DENIS C MULLANEY CUST IAN MICHAEL MULLANEY      2445 KINGSTON RD                                                                              CLEVELAND           OH    44118‐4305
UTMA 0H                                                                                                                                       HEIGHTS
DENIS C ROBINSON                                12‐6B HARBOR LANE                                                                             OYSTER BAY          NY    11771
DENIS COTE                                      836 BELLEVUE                         STE FOY QC                             G1V 2R5 CANADA
DENIS D SCHOWENGERDT                            302 NORTH ELM                                                                                 SWEET SPRING        MO    65351‐1106
DENIS DANKOSKY & KAREN DANKOSKY JT TEN          8 RAMSGATE RD                                                                                 CRANFORD            NJ    07016‐1721
DENIS DIONNE CUST TRENTIN DIONNE UTMA CT        22 MARE RD                                                                                    BRISTOL             CT    06010
DENIS F JODIS TR UA 08/01/94 DENIS F JODIS      3479 BIRNWICK DR                                                                              ADRIAN              MI    49221‐9217
REVOCABLE TRUST
DENIS I HOWE                                    2695 KENNEDY BLVD                    APARTMENT 42                                             JERSEY CITY         NJ    07306‐5750
DENIS I MARTIN                                  1213 CANTERBURY LANE                                                                          COLONIAL HGTS       VA    23834
DENIS J CHERICONE                               4555 SE FRANKLIN ST                                                                           PORTLAND            OR    97206‐3114
DENIS J LEPEL                                   32 GENESEE PK BLVD                                                                            ROCHESTER           NY    14611‐4016
DENIS J WILHELM                                 129 GLENALLEN DRIVE                                                                           ST PETERS           MO    63376‐1734
DENIS L ANDISON                                 3760 WELCH RD                                                                                 ATTICA              MI    48412‐9336
DENIS L BERKEBILE                               1442 LOGAN STREET                                                                             RICHMOND            VA    23235
DENIS L FRECHETTE                               462 BEATRICE ST LANE                 PORT MOODY BC                          V3H 2Y8 CANADA
DENIS L JUDD                                    8110 MIDDLETON RD                                                                             CORUNNA             MI    48817‐9581
DENIS LEE BERGER                                53 KNECHT DR                                                                                  DAYTON              OH    45405‐2626
DENIS LEE FISHER                                233 30 38TH DRIVE                                                                             LITTLE NECK         NY    11363
DENIS LINEHAN & BARBARA LINEHAN JT TEN          163 JAMES ST                                                                                  TOMS RIVER          NJ    08753‐5486
DENIS M CROWLEY                                 106 WINTERBERRY LN                                                                            HAMMONTON           NJ    08037‐9404
DENIS M O BRIEN                                 9321 WEST TIMBERVIEW DR                                                                       NEWPORT             MI    48166‐9550
DENIS NOGASKI                                   838 E CHIPPEWA RIVER RD                                                                       MIDLAND             MI    48640‐8366
DENIS R SCHULTE                                 1844 WILLOWGREEN                                                                              BEAVERCREEK         OH    45432‐4011
DENIS R SCHWUCHOW                               82 GAVIN ST APT 3B                                                                            YONKERS             NY    10701‐5652
DENIS R WIEGANDT                                4432 PRATT LN                                                                                 FRANKLIN            TN    37064‐7603
DENIS S BAIROS                                  39 LINCOLN ST                                                                                 HUDSON              MA    01749‐1605
DENIS V LETOURNEAU                              2908 ROUNDTREE                                                                                YPSILANTI           MI    48197
DENIS W BUCKLEY                                 10 JAMES RD                                                                                   AMITY HARBOR        NY    11701‐4031
DENIS W LARK                                    139 WIDGEDON LANDING                                                                          HILTON              NY    14468‐8953
DENIS WAGNER                                    7500 MAR DEL DRIVE                                                                            CINCINNATI          OH    45243‐1800
DENISE A ANDREWS                                575 BAYRIDGE BLVD                                                                             WILLOWICK           OH    44095‐3855
DENISE A ANTCLIFF                               3223 W SAGANAW HIGHWAY                                                                        GRAND LEDGE         MI    48837‐9456
DENISE A ARMBRUSTER                             701 BELMONT DR                                                                                ROMEOVILLE          IL    60446‐1621
DENISE A BATOR                                  25536 CLARK                                                                                   NOVI                MI    48375‐1607
DENISE A BATOR & GREGORY BATOR JT TEN           25536 CLARK                                                                                   NOVI                MI    48375‐1607
DENISE A CAGE & DEWAYNE C CAGE JT TEN           19958 STOUT                                                                                   DETROIT             MI    48219‐2017
DENISE A CARAVELLO                              28W211 TIMBER LN                                                                              WEST CHICAGO        IL    60185‐1448
DENISE A CICHON                                 1103 LAKEVIEW DR                                                                              KALAMAZOO           MI    49002‐6910
DENISE A COLLINS                                285 TREE TOP CIRCLE                                                                           NANUET              NY    10954‐1021
DENISE A COOPER                                 656 CLEAR CREEK DR                                                                            OSPREY              FL    34229
DENISE A COTTER                                 1274 AUDUBON                                                                                  GROSSE POINTE       MI    48230‐1152
                                                                                                                                              PARK
DENISE A DOMROESE                               7714 VISGAR AVE                                                                               WATERFORD           MI    48329‐1066
DENISE A DRAPER                                 5334 OWEN RD                                                                                  LINDEN              MI    48451‐9024
DENISE A ELGER                                  3439 N 79TH ST                                                                                MILWAUKEE           WI    53222‐3936
DENISE A HAGGADONE                              8877 HOLLAND                                                                                  TAYLOR              MI    48180‐1447
DENISE A HARDING                                UNIT 16                              5510 COUNTRY DRIVE                                       NASHVILLE           TN    37211‐6472
DENISE A HARTMAN                                1624 ROSE LANE                                                                                TRENTON             MI    48183‐1790
DENISE A KNIGHT                                 1531 SPRING PLACE ROAD                                                                        LEWISBURG           TN    37091‐4435
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DENISE A LISZENSKI                             1649 LUKE DR                                                                                   STREETSBORO       OH    44241‐5438
DENISE A MILLS & ARNOLD L SILVA JT TEN         4804 N VILLA RIDGE WAY                                                                         BOISE             ID    83703‐4748
DENISE A NAIK & LUCY A NAIK JT TEN             C/OBURCHELL W NAIK                   63 CHANCERY CIRCLE   ST CATHARINES ON   L2M 7R3 CANADA
DENISE A SMITH                                 PO BOX 368                                                                                     BALDWIN           MI    49304‐0368
DENISE A SOKOL CUST ADAM D SOKOL UGMA MI       4065 CUMBERLAND COURT                                                                          WALLED LAKE       MI    48390‐1301
DENISE A STONES & DENNIS M STONES JT TEN       2838 HUXLEY PLACE                                                                              FREMONT           CA    94555‐1416
DENISE A STRONG                                30033 BAYVIEW                                                                                  GROSSE ILE        MI    48138‐1947
DENISE A WALLS                                 221 STARR RD                                                                                   CENTREVILLE       MD    21617‐1716
DENISE A WEEG                                  10291 FOLEY RD                                                                                 FENTON            MI    48430‐9250
DENISE A WINDLE                                3850 CALLE DEL ESTABLO                                                                         SAN CLEMENTE      CA    92672‐4550
DENISE A WOOD                                  3970 WOLCOTT CIRCLE                                                                            ATLANTA           GA    30340‐4244
DENISE A YOUNG                                 327 EDGEWATER PINES DR SW                                                                      WARREN            OH    44481‐9677
DENISE AMBOS                                   39 E CHEROKEE DR                                                                               SHAWNEE HILLS     OH    43065‐5037
DENISE ANDERSON & DORA L ANDERSON JT TEN       11221 EASTERN AVE                                                                              KANSAS CITY       MO    64134‐3356
DENISE ANDREWS                                 14351 WORMER                                                                                   REDFORD           MI    48239‐3357
DENISE ANGLE & ROBERT M FYFFE JT TEN           833 E 14 MILE RD                                                                               CLAWSON           MI    48017‐1739
DENISE ANN BROWNING CUST ALEC JOSEPH BROWNING 1122 MILLARD                                                                                    ROYAL OAK         MI    48073‐2769
UGMA MI
DENISE ANN BROWNING CUST SAMANTHA RAE          1122 MILLARD                                                                                   ROYAL OAK         MI    48073‐2769
BROWNING UGMA MI
DENISE ANN BROWNING CUST SARAH MARIE           1122 MILLARD                                                                                   ROYAL OAK         MI    48073‐2769
BROWNING UGMA MI
DENISE ANN GARNER                              15923 TURNER                                                                                   DETROIT           MI    48238‐1275
DENISE ANN LOVE CUST WILLIAM CHARLES LOVE UGMA 4724 RAMBLING CT                                                                               TROY              MI    48098‐6629
MI
DENISE ANN PERFETTI                            7675 PENINSULA CT                                                                              WATERFORD        MI     48327‐4334
DENISE ANN RYAN TEDESCHI                       1032 MAIN ST                                                                                   NORWELL          MA     02061‐2308
DENISE ANNE EHRET                              6713 HASTINGS STREET                                                                           METAIRIE         LA     70003‐3024
DENISE ANNE PETITTA                            64 BROOKFIELD RD                                                                               MONTCLAIR        NJ     07043‐1327
DENISE AQUINO                                  16940 FRANZISKA                                                                                MACOMB           MI     48044‐2629
DENISE AQUINO & FRANK DI GIOVANNI JT TEN       20929 RIVER BEND DR S                                                                          CLINTON TOWNSHIP MI     48038‐2488

DENISE B FARIAN & MARTIN A FARIAN JT TEN       998 ST ANDREWS WAY                                                                             EAGLE POINT       OR    97524‐9028
DENISE B WALL                                  2660 CHESTNUT ST                                                                               SAN FRANCISCO     CA    94123‐2408
DENISE BACKSTROM                               BOX 72                                                                                         ELLISTON          MT    59728‐0072
DENISE BIDDEN                                  30278 WARREN RD APT J‐61‐N                                                                     WESTLAND          MI    48185‐2968
DENISE BOILY                                   C/O DENISE FERRIMAN                  4101 PARKLAWN AVE    APT 321                              EDINA             MN    55435‐4662
DENISE BONDY                                   12279 SUMPTER RD                                                                               CARLETON          MI    48117‐9171
DENISE C BRAND CUST BRENDAN R BOLAND UTMA CA   3517 LANCASTER CT                                                                              FREMONT           CA    94536‐5133

DENISE C FORGET                                21422 CLEAR CREEK BLVD                                                                         CLINTON TW SHIP   MI    48036‐1467
DENISE C JOHNSON                               8415 CARRIAGE LANE                                                                             PORTLAND          MI    48875‐8746
DENISE C MCCRACKEN                             1006 LAKE RIDGE DRIVE                                                                          SAFETY HARBOR     FL    34695‐5619
DENISE C MOLITOR                               9258 HOUGHTON ST                                                                               LIVONIA           MI    48150‐5405
DENISE C MOYER                                 1501 RIVER RD                        APT 105                                                   SAINT CLAIR       MI    48079‐3540
DENISE C SCHRODE                               5142 STONEHENGE DRIVE                                                                          ROCHESTER HILLS   MI    48306‐2655
DENISE CARMODY                                 C/O DENISE C RATLIFF                 111 WARREN AVE                                            SPRING LAKE       NJ    07762‐1217
DENISE CHALMERS GILLESPIE                      41183 CARRIAGE HILL DRIVE                                                                      NOVIE             MI    48375‐5210
DENISE CHREBET                                 10 KELSEY FARM RD                                                                              MILFORD           NJ    08848‐2164
DENISE COAN CUST ROBERT BRUCE COAN UTMA IL     5522 W MOLLY LN                                                                                PHOENIX           AZ    85083‐6383

DENISE COLEMAN                                 5917 HAVERHILL                                                                                 DETROIT           MI    48224‐3248
DENISE CONDAX                                  455 REEDS RD                                                                                   DOWNINGTOWN       PA    19335‐1231
DENISE CONNORS BROCK                           BOX 965                                                                                        EATON PARK        FL    33840‐0965
DENISE CUTRONE CUST CARLA CUTRONE UTMA OH      498 NEOKA DR                                                                                   CAMPBELL          OH    44405‐1262

DENISE CUTRONE CUST DOMINIC J CUTRONE UTMA OH 498 NEOKA DR                                                                                    CAMPBELL          OH    44405‐1262
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DENISE D BRISTOL                                    9564 S CASTLE RIDGE CIRCLE                                                                                  HIGHLANDS RANCH CO       80126‐5701

DENISE D CLOVER                                     74306 HASSELL                                                                                               CHAPEL HILL        NC    27514‐8576
DENISE D DIENGER                                    6648 WINDMILL DR                                                                                            MIDDLETOWN         OH    45044‐9797
DENISE D DIETZ                                      7473 YOUNGSTOWN SALEM RD                                                                                    CANFIELD           OH    44406‐9478
DENISE D FAIRMAN                                    321 MC CLELLAN DRIVE                                                                                        PITTSBURGH         PA    15236‐4105
DENISE D GRAY                                       359 JACKSON DRIVE                                                                                           CAMPBELL           OH    44405‐1873
DENISE D HARRIS & DERRICK HARRIS TEN COM            1801 WEST KALAMAZOO                                                                                         LANSING            MI    48915‐1143
DENISE D MILES                                      4481 ROBB HWY                                                                                               PALMYRA            MI    49268‐9753
DENISE D MOORE                                      1758 SUNSET DRIVE NE                                                                                        WARREN             OH    44483‐5337
DENISE D RAGAN                                      1127 S VASSAR RD                                                                                            DAVISON            MI    48423‐8312
DENISE D RILEY                                      6883 NIAGARA                           APT 23                                                               ROMULUS            MI    48174‐4336
DENISE D ROGERSON                                   425 WINDWOOD                                                                                                LEWISVILLE         TX    75067‐6585
DENISE D WILLIAMS                                   9927 TERRY                                                                                                  DETROIT            MI    48227‐2418
DENISE DE ZERGA                                     C/O D HAENSCHEN                        39 MERRITT AVE                                                       DUMONT             NJ    07628‐2616
DENISE DESCHAINE & PHILIP A DESCHAINE EX UW PAUL    752 CASTLEBAR DR                                                                                            ROCHESTER HILLS    MI    48309‐2409
A DESCHAINE
DENISE DI GIOVANNI                                  20929 RIVER BEND DR S                                                                                       CLINTON TOWNSHIP MI      48038‐2488

DENISE DIGIOVANNI & FRANK DIGIOVANNI JT TEN         20929 RIVER BEND DR S                                                                                       CLINTON TOWNSHIP MI      48038‐2488

DENISE DION                                         271 DARTMOUTH RD                                                                                            ST AUGUSTINE       FL    32086‐6011
DENISE DORAN                                        C/O DENISE DORAN MC GEACHY             PO BOX 217                                                           SHIP BOTTOM        NJ    08008‐0234
DENISE DUCKWORTH                                    183 SHERWOOD CRESCENT                  DORCHESTER ON                                   N0L 1G3 CANADA
DENISE E BENTON                                     808 W SECOND AVE                                                                                            BRODHEAD           WI    53520‐1306
DENISE E CAMPBELL                                   1311 TAMANIX ST                                                                                             CAMANILLO          CA    93010‐1966
DENISE E CONNOR                                     4613 HAMLET WALK                                                                                            CONYERS            GA    30094
DENISE E DEWEY                                      1714 DUKE RD                                                                                                CARSON CITY        NV    89701‐8376
DENISE E HAARTZ                                     PO BOX 1596                                                                                                 CONCORD            MA    01742‐6596
DENISE E HARRIS                                     4171 AIRPORT RD                                                                                             WATERFORD          MI    48329‐1507
DENISE E HIMELHOCH                                  6299 PINECROFT CT                                                                                           FLINT              MI    48532‐2124
DENISE E HOLLIS                                     17882 FLEMING ST                                                                                            HAMTRAMCK          MI    48212‐1054
DENISE E MAUCK                                      83 S VAN BUREN AV                                                                                           BARBERTON          OH    44203‐3519
DENISE E SLOCUM                                     C/O PAMELA ELLES                       805 KEMP ST                                                          BURBANK            CA    91505
DENISE E TROXELL                                    103 WAYNE PL                                                                                                SHARSVILLE         IN    46068‐9238
DENISE F CAMPBELL                                   10748 BIRCH TREE COURT                                                                                      INDIANAPOLIS       IN    46236‐8150
DENISE F HAGGERTY                                   20099 W BALLANTINE CT                                                                                       GROSSE PNTE        MI    48236‐2428
                                                                                                                                                                WOODS
DENISE F MAIHOFER                                   21624 BLACKBURN                                                                                             SAINT CLAIR SHRS   MI    48080‐1290
DENISE F STOKES                                     332 CLIFFORD AVE NE                                                                                         ATLANTA            GA    30317‐1309
DENISE FARINOS                                      RUA ALMIRANTE PROTOGENES 179           APT 122 BAIRO JARDIM SNT   ANDRE SAO PAULO BR   BRAZIL
DENISE FRANCINE DELGROSSO                           PO BOX 656                                                                                                  NEWFOUNDLAND       NJ    07435‐0656
DENISE G KUSINSKI & BRIAN R KUSINSKI JT TEN         7233 DEXTER RD                                                                                              DOWNERS GROVE      IL    60516‐3708
DENISE G MAREK                                      5052 CREEKMONTE DRIVE                                                                                       ROCHESTER          MI    48306
DENISE G PYLE & JAMES BRYAN & GAIL A BRYAN JT TEN   378 QUEENS WAY                                                                                              CANTON             MI    48188‐1153

DENISE GAMBLE                                       ATTN DENISE MIZRAHI                    539 REVERE RD                                                        WEST CHESTER       PA    19382‐8716
DENISE GONZALEZ                                     1836 PEBBLE CREEK DR                                                                                        CANTON             MI    48188‐2092
DENISE GRAY                                         28708 WINTERGREEN DRIVE                                                                                     FARMINGTN HLS      MI    48331‐3018
DENISE GRUCCIO‐PAOLUCCI                             410 WARWICK RD                                                                                              HADDONFIELD        NJ    08033‐3830
DENISE H KNOWLTON                                   1324 CARDIGAN DRIVE                                                                                         OXFORD             MI    48371‐6004
DENISE H PENDERGRASS                                7525 MARILEA RD                                                                                             RICHMOND           VA    23225‐1117
DENISE H RICKEY                                     964 OAK CREEK DR                                                                                            SOUTH LYON         MI    48178‐1681
DENISE HANNAH BREWINGTON & WILLIAM EVERETT          1511 OLD OCEAN CITY RD                                                                                      SALISBURY          MD    21804‐4622
BREWINGTON JT TEN
DENISE HARBURN CUST CODY M HARBURN UTMA MI          5320 DURWOOD DR                                                                                             SWARTZ CREEK       MI    48473‐1128

DENISE HARBURN CUST KAYLA L HARBURN UTMA MI         5320 DURWOOD DR                                                                                             SWARTZ CREEK       MI    48473‐1128
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DENISE HARRIS                                     1652 OAKPATCH RD                                                                              EUGENE            OR    97402‐3248
DENISE HUGGINS                                    19927 MERRIDY ST                                                                              CHATSWORTH        CA    91311‐3528
DENISE I BOIK & MATTHEW B BOIK JT TEN             7201 CRAFTSMAN ST                                                                             DULUTH            GA    30097‐2525
DENISE IMBRIANI CUST JESSICA IMBRIANI UTMA NY     11 OLEANDER WAY                                                                               CLARK             NJ    07066‐1882

DENISE J DOHOHUE                                  12 HICKORY LN                                                                                 WAPPINGERS FALLS NY     12590‐2315

DENISE J FERNANDEZ                                1621 N HARRISON AVE                                                                           FRESNO            CA    93704‐5917
DENISE J HALL                                     N1844 11TH DR                                                                                 COLOMA            WI    54930‐8789
DENISE J MYERS                                    46170 BLOOMCREST DR                                                                           NORTHVILLE        MI    48167‐3033
DENISE J QUIGLEY                                  1666 BROCKETT RD                                                                              TUCKER            GA    30084‐7401
DENISE J SINDA                                    25521 LEHIGH                                                                                  DEARBORN HTS      MI    48125‐1554
DENISE J WEBER                                    24624 BRIARWOOD DR                                                                            OLMSTED FALLS     OH    44138‐2802
DENISE J WEBER CUST SAMUEL D WEBER UTMA OH        24624 BRIARWOOD DR                                                                            OLMSTED FALLS     OH    44138‐2802

DENISE JENNINGS                                   7064 BROWNELL                                                                                 MENTOR            OH    44060‐5144
DENISE JONICK                                     4002 PIUTE                                                                                    GRANDVILLE        MI    49418‐2400
DENISE K MAJTAN                                   5350 S VIVIAN ST                                                                              LITTLETON         CO    80127‐1500
DENISE K MCMICHEN                                 1318 COUNTY RD 633                                                                            RANBURNE          AL    36273‐8300
DENISE K MINTON                                   5245 OTTER LAKE ROAD                                                                          OTTER LAKE        MI    48464‐9760
DENISE K NAVARRO                                  1240 WIND CHIME DR                                                                            WATERFORD         MI    48327‐2984
DENISE K ORZEL                                    44 W LEMOYNE AVE                                                                              LOMBARD           IL    60148‐1626
DENISE K ROSE                                     3615 E RENEE DR                                                                               PHOENIX           AZ    85050‐6359
DENISE K RYBICKI                                  994 GEORGE URBAN BLVD                APT 4                                                    BUFFALO           NY    14225‐3337
DENISE K TAGGART                                  C/O DENISE FRYER                     198 ARGENTINE RD                                         HOWELL            MI    48843‐8019
DENISE K WILKES CUST RICHARD JAMES WILKES UTMA    5350 S VIVIAN ST                                                                              LITTLETON         CO    80127‐1500
CO
DENISE K ZOCCOLI                                  30712 ELMWOOD                                                                                 GARDEN CITY       MI    48135‐1925
DENISE KAREN COPENING                             17421 CHESTNUT LN                                                                             GURNEE            IL    60031‐2574
DENISE KEITH                                      C/O DENIISE SCHLOSSNAGLE             53 MAINS ST                                              PHELPS            NY    14532‐1038
DENISE KING CUST ETHAN L KING UGMA MI             23335 PORT ST                                                                                 ST CLAIR SHORES   MI    48082‐3001
DENISE KRALOWSKI                                  9471 KIRKCADY DR                                                                              ELK GROVE         CA    95758‐4472
DENISE KUNZE                                      1773 CRESTVIEW DR                                                                             CANTON            MI    48188‐2044
DENISE L ALBONE                                   3838 CHASE RD                                                                                 MIDDLEPORT        NY    14105
DENISE L BRILL                                    21919 RIDGEWAY                                                                                ST CLAIR SHORES   MI    48080‐4086
DENISE L CRYSTAL                                  9252 WOODRIDGE DR                                                                             DAVISON           MI    48423‐8393
DENISE L CRYSTAL & THOMAS W CRYSTAL JT TEN        9252 WOODRIDGE DR                                                                             DAVISON           MI    48423‐8393
DENISE L DENIS                                    8153 STAGHORN TRAIL                                                                           CLARKSTON         MI    48348‐4570
DENISE L DENIS & DAVID J DENIS JT TEN             8153 STAGHORN TRAIL                                                                           CLARKSTON         MI    48348‐4570
DENISE L DUTTON & STEVEN C DUTTON JT TEN          1047 CHURCH HILL RD                                                                           MILFORD           DE    19963‐5546
DENISE L FERGUSON                                 5102 ROBERTS DR                                                                               FLINT             MI    48506‐1591
DENISE L HACKNEY                                  1718 BALDWIN AVE                                                                              ANN ARBOR         MI    48104
DENISE L HARBURN & MICHAEL D HARBURN JT TEN       5320 DURWOOD DR                                                                               SWARTZ CREEK      MI    48473‐1128

DENISE L HARRIS                                   732 RIDGESIDE DR                                                                              MILFORD           MI    48381‐1657
DENISE L HILLBERRY                                RD 3 BOX 142                                                                                  WHEELING          WV    26003‐9405
DENISE L KENTY & JOHN J KENTY JT TEN              104 MARGARET DR                                                                               STEVENSVILLE      MD    21666‐3652
DENISE L MOONEY                                   5079 TYLER DRIVE                                                                              TROY              MI    48098‐3409
DENISE L PATRICK                                  2047 W MILLER RD                                                                              LANSING           MI    48911‐4641
DENISE L RALLS                                    1112 STOURHEAD CT                                                                             ABINGDON          MD    21009‐1076
DENISE L ROTH                                     12748 S BASELL DR                                                                             HEMLOCK           MI    48626‐7402
DENISE L SCRUDATO                                 422 E STATE ST                                                                                TRAVERSE CITY     MI    49686‐2604
DENISE L SOWDERS                                  7404 BISON ST                                                                                 WESTLAND          MI    48185‐2384
DENISE L TESTA                                    4226 CARSON SALT SPRINGS RD                                                                   NEWTON FALLS      OH    44444‐8772
DENISE L TOBIAS                                   6401 WEBSTER RD                                                                               MT MORRIS         MI    48458‐9339
DENISE L TRAVIS                                   1821 ROCKCREEK LN                                                                             FLINT             MI    48507‐2233
DENISE L VENERABLE                                6055 LANCASTER DR                                                                             FLINT             MI    48532‐3214
DENISE LANE CUST TYHRA ASHLEY OWEN UTMA CA        618 S 6TH STREET                                                                              DAYTON            WA    99328‐1427
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DENISE LEMAY‐PARE                               117 43E AVE                            VILLE DE ST‐EUSTACHE   PROVIENCE OF QC   J7P 3E3 CANADA
DENISE LODATO CUST MICHAEL LODATO UGMA NY       161‐52 87TH ST                                                                                    HOWARD BEACH      NY    11414‐3301

DENISE LODATO CUST VINCENT LODATO UGMA NY       161‐52 87TH ST                                                                                    HOWARD BEACH      NY    11414‐3301

DENISE LOUISE LIPARI CUST JENNA ROSE LIPARI     411 HAZIL                                                                                         GARWOOD           NJ    07027‐1426
PAZIENZA UTMA NJ
DENISE LOUISE THOMAS                            4078 HUNTERS CIR E                                                                                CANTON            MI    48188‐2346
DENISE LOVE CUST JACOB J LOVE UGMA MI           4724 RAMBLING CT                                                                                  TROY              MI    48098‐6629
DENISE LYN RILEY                                1201 MAPLEWOOD DR                                                                                 KOKOMO            IN    46902‐3141
DENISE M ADAMS                                  3083 SANDS CT                                                                                     MILFORD           MI    48380‐3455
DENISE M AITKENS                                2475 N EUGENE ST                                                                                  BURTON            MI    48519‐1355
DENISE M BARBER                                 3525 TREMONTE CIR N                                                                               ROCHESTER         MI    48306‐5010
DENISE M BENEDICT                               22160 FAIRFAX                                                                                     TAYLOR            MI    48180‐2772
DENISE M BERLINGER                              13315 SIOUX TRL                                                                                   CARMEL            IN    46033‐8865
DENISE M BERRY                                  13642 SUPERIOR                                                                                    SOUTHGATE         MI    48195‐1901
DENISE M BILLS                                  29355 WOODHAVEN LN                                                                                SOUTHFIELD        MI    48076‐1641
DENISE M BROWN                                  125 EAST THACKERY                                                                                 FLINT             MI    48505‐3317
DENISE M CALDWELL                               7143 E COLDWATER                                                                                  DAVISON           MI    48423‐8935
DENISE M CHERESKO & KEITH A CHERESKO JT TEN     2840 RAE LYNN LANE                                                                                MILFORD           MI    48381‐2541
DENISE M DUDA                                   921 SCHUYLER                                                                                      WHITE LAKE        MI    48383‐3066
DENISE M FOWLKES                                13524 NORFOLK                                                                                     DETROIT           MI    48235‐1054
DENISE M GALLEGOS‐CHARLTON                      4347 HAINES AVE                                                                                   SAN JOSE          CA    95136‐1830
DENISE M HARWOOD                                33341 MARION COURT                                                                                NEW BALTIMORE     MI    48047‐4513
DENISE M HESS                                   34735 EAST LAKE DRIVE                                                                             HARRISON          MI    48045‐3328
                                                                                                                                                  TOWNSHIP
DENISE M HUOT                                   2111 QUAIL RUN                                                                                    WALLED LAKE       MI    48390‐2791
DENISE M KAFLIK                                 5372 WOODFIELD NORTH DR                                                                           CARMEL            IN    46033‐9154
DENISE M KARDOS                                 6082 COLD SPRING TRAIL                                                                            GRAND BLANC       MI    48439‐7918
DENISE M KRAUSE                                 3237 CRABAPPLE LN                                                                                 JANESVILLE        WI    53548‐3226
DENISE M LATOUCHE                               14 BELL AVE                                                                                       HOOKSETT          NH    03106‐1036
DENISE M LAWRENCE                               113 SHAPIRO TRL                                                                                   COLUMBIA          TN    38401
DENISE M LEDUC                                  4801 FAIRCOURT ST                                                                                 WEST BLOOMFIELD   MI    48322‐1521

DENISE M LUCARELLI                              5959 ECHO LANE                                                                                    OXFORD            MI    48371‐5656
DENISE M MASLAK                                 3 LESLIE STREET                                                                                   TERRYVILLE        CT    06786‐6621
DENISE M MOLINARI                               13315 SIOUX TR                                                                                    CARMEL            IN    46033‐8865
DENISE M NOTARO                                 8924 E EMERALD DR                                                                                 SUN LAKES         AZ    85248‐0857
DENISE M PEPPARD                                927 GRANDVIEW DR                                                                                  EXTON             PA    19341‐1959
DENISE M POPP                                   5333 OAKHILL DRIVE                                                                                ALGER             MI    48610‐9369
DENISE M ROWE                                   5149 NORTHFIELD DR                                                                                HOWELL            MI    48843‐6443
DENISE M SANDERS                                1654 CRESTLINE COURT                                                                              ROCHESTER HILLS   MI    48307‐3410
DENISE M SHAKER                                 320 MADISON COURT                                                                                 FT MEYERS BEACH   FL    33931‐3642
DENISE M ST JOHN                                6067 LIA CT                                                                                       WHITE LAKE        MI    48383‐1167
DENISE M TAYLOR                                 7400 LEES COMMAND BLVD                                                                            FREDERICKSBRG     VA    22407‐5200
DENISE M UPDYKE                                 C/O CROOK                              7809 FOX LANE                                              WHITMORE LAKE     MI    48189‐9282
DENISE M WILLIAMSON                             ATTN DENISE SKINNER                    1211 LAMI ST                                               ST LOUIS          MO    63104‐4205
DENISE M WINSHIP                                PO BOX 450                                                                                        MT TABOR          NJ    07878‐0450
DENISE MARIE KURTH                              2235 LAFOLLETTE AVE                                                                               MANITOWOC         WI    54220‐2530
DENISE MARIE TAYLOR CUST NATHANIEL THOMAS       23863 NUTWOOD WAY                                                                                 MURRIETA          CA    92562‐3487
TAYLOR UTMA CA
DENISE MARY STEWART LEE                         PO BOX 2644                                                                                       PALM BEACH        FL    33480
DENISE MC CAFFERTY                              1306 BELFAST RD                                                                                   SPARKS            MD    21152‐9742
DENISE MC VECELLIO                              2061 LAKESHORE DR                                                                                 COMMERCE TWP      MI    48382‐1732
DENISE MCGINLEY                                 201 OSBORNE HILL RD                                                                               FISHKILL          NY    12524‐2529
DENISE MOORE                                    9345 VAUGHAN                                                                                      DETROIT           MI    48228‐1683
DENISE MOTLEY                                   30187 LIBERTY ST 1                                                                                INKSTER           MI    48141‐2830
DENISE N AGLIORI                                1190 ARROWOOD DR                                                                                  PITTSBURGH        PA    15243
DENISE N NEGLEY                                 906 PINE STREET                                                                                   MANTECA           CA    95336‐4817
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DENISE N VILLERE                                 901 W 13TH AVE                                                                                COVINGTON         LA    70433‐2407
DENISE NESI                                      1545 FAIRFIELD BEACH RD                                                                       FAIRFIELD         CT    06824
DENISE O BORDELL                                 503 N ST                                                                                      CHITTENANGO       NY    13037‐1625
DENISE O'DONNELL CUST DECLAN FACINELLI UTMA NJ   801 WOODCREST DRIVE                  SPRING LAKE HGTS                                         SPRING LAKE       NJ    07762

DENISE OLSZEWSKI CUST NADINE D OLSZEWSKI UGMA 8 ALYSSUM CT                                                                                     BUFFALO           NY    14221‐7344
NY
DENISE OLSZEWSKI CUST NICOLE A OLSZEWSKI UGMA  8 ALYSSUM CT                                                                                    BUFFALO           NY    14221‐7344
NY
DENISE OLSZEWSKI CUST THOMAS OLSZEWSKI JR UGMA 8 ALYSSUM CT                                                                                    BUFFALO           NY    14221‐7344
NY
DENISE ORSTADIUS                               6130 CANMOOR                                                                                    TROY              MI    48098‐1885
DENISE OWENS                                   ATTN DENISE A OWENS‐JEFFREY            21 YORK AVE #PVTH                                        STATEN ISLAND     NY    10301‐1326
DENISE P DESROBERTS                            301 NW 18TH PL                                                                                  CAPE CORAL        FL    33993‐7635
DENISE P LINDEMAN                              7044 BRANDYWINE RD                                                                              CLEVELAND         OH    44130‐4627
DENISE PASTORE                                 1450 W NEW GOSHEN AVE                                                                           W TERRE HAUTE     IN    47885‐9606
DENISE PENDARVIS STEVENS                       125 PARK SHORE DR E                                                                             COLUMBIA          SC    29223‐6025
DENISE PERSON                                  16573 FREELAND                                                                                  DETROIT           MI    48235‐4058
DENISE PIANOWSKI & JOSEPH M PIANOWSKI JT TEN   301 ORANGE                                                                                      WESTLAND          MI    48185

DENISE PITTS                                     9950 PINEDALE DR                                                                              CINCINNATI        OH    45231‐2018
DENISE POWELL                                    3895 DOBIE RD                                                                                 OKEMOS            MI    48864‐3778
DENISE R ARPKE                                   5322 CHANTO                                                                                   CLARKSTON         MI    48346‐3500
DENISE R BRENNAN                                 11890 SCHAVEY RD                                                                              DEWITT            MI    48820‐8725
DENISE R CULBERTSON                              8835 WEST 200 SOUTH                                                                           RUSSIAVILLE       IN    46979‐9795
DENISE R EBELS                                   645 ELMWOOD ST                                                                                DEARBORN          MI    48124‐1606
DENISE R HOLICK                                  898 RIVER RD                                                                                  HILLSBOROUGH      NJ    08844‐4047
DENISE R LAWRENCE                                488 BOGIE LAKE ROAD                                                                           WHITE LAKE        MI    48383‐2706
DENISE R MACEK                                   20392 WOODBEND DRIVE                                                                          NORTHVILLE        MI    48167‐3004
DENISE R NOWACKI                                 1803 BUELL CT LN                                                                              ROCHESTER         MI    48306‐1308
DENISE R RICHARDSON                              9280 MARINUS DR                                                                               FENTON            MI    48430‐8703
DENISE R TATE                                    812 N MABLE AVE                                                                               SIOUX FALLS       SD    57103‐0622
DENISE RABER                                     4800 N SAGINAW BAY SHORE DR                                                                   PINCONNING        MI    48650‐9792
DENISE RANDOLPH                                  PO BOX 1963                                                                                   JEFFERSON CTY     MO    65102‐1963
DENISE RAU BRYAN                                 25 WEST RD                                                                                    CLINTON           CT    06413‐2316
DENISE RUMPH‐JOHNSON                             11505 NORBOURNE DR G                                                                          CINCINNATI        OH    45240‐2115
DENISE RYDING JOHNSTON                           322 HEATHER HILL DR                                                                           GIBSONIA          PA    15044‐6020
DENISE S KUNZEL                                  ATTN DENISE S BORKOSKY               5970 PAINT VALLEY DR                                     ROCHESTER         MI    48306‐2470
DENISE S MACKSOOD                                1384 EDGEWATER DR                                                                             FENTON            MI    48430‐1112
DENISE S MEYER                                   5442 JOHANNSEN AVENUE                                                                         HUBER HEIGHTS     OH    45424‐2737
DENISE SAVAGE                                    4122 VILLAS DR N                                                                              KOKOMO            IN    46901‐7060
DENISE SCHUBKEGEL CUST JOSIAH SCHUBKEGEL UTMA    1115 FOREST DR                                                                                PORTAGE           MI    49002‐6313
MI
DENISE SHANNON                                   16 BARBERRY LN                                                                                CTR MORICHES      NY    11934‐1411
DENISE STEFANI                                   521 VININGS ESTATES DRIVE                                                                     MAPLETON          GA    30126‐5970
DENISE STEWART REBILAS                           6 OLNEY ROAD                                                                                  BILLERICA         MA    01866
DENISE STIKA                                     184 LAWTON ROAD                                                                               RIVERSIDE         IL    60546‐2357
DENISE STUDEMAN                                  1000 BOBOLINK AVE                                                                             EUGENE            OR    97404‐1514
DENISE SULLIVAN                                  69024                                12 ST CLAIR AVE E      TORONTO ON      M4T 1L7 CANADA
DENISE SUZANNE DEPASCALE                         6 WHITE OAK RD                                                                                ROSELAND          NJ    07068‐1401
DENISE SWABB                                     2139 ALBRIGHT RD                                                                              ARCANUM           OH    45304‐9243
DENISE SWEET BRYSON                              2828 VALENTINE RD                                                                             LAPEER            MI    48446‐9054
DENISE SWINSKY CUST CATHERINE M SWINSKY UTMA     6100 HOUSATONIC CT                                                                            FAIRFAX STATION   VA    22039
VA
DENISE SWINSKY CUST NICHOLAS G SWINSKY UTMA VA   6100 HOUSATONIC CT                                                                            FAIRFAX STATION   VA    22039

DENISE SWINSKY CUST SARAH L SWINSKY UTMA VA      6009 TURNER RD                                                                                BROAD RUN         VA    20137
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DENISE TEDDICK CUST BRYAN J TEDDICK UGMA CT       16 STRAITS TPKE LN                                                                             MORRIS            CT    06763‐1500

DENISE THOMAS                                     325 PIRATES COVE LN                                                                            BOWLING GREEN     KY    42103‐9609
DENISE TUSKEY                                     21458 JON PAUL DR                                                                              MACOMB            MI    48044‐4334
DENISE V FITZGERALD                               3110 BAKER DR                                                                                  CONCORD           CA    94519‐2112
DENISE VOELPEL                                    1933 VISTA GRANDE DR                                                                           VISTA             CA    92084‐2725
DENISE W ADAMS                                    47 BREWSTER AVE                                                                                STONY POINT       NY    10980‐1648
DENISE W LENTO                                    28 PARKER ST                                                                                   WOBURN            MA    01801
DENISE W STEPHANUS                                APT L32                               160 GORDONHURST AVENUE                                   UPPER MONTCLAIR   NJ    07043‐1754

DENISE WADE CUST TIMOTHY WADE UTMA VA             361 LAUREL DR                                                                                  AYLETT            VA    23009‐2871
DENISE WHITE                                      2003 W ARBOR AVE                                                                               LITTLETON         CO    80120‐2501
DENISE WILHELM EX EST JOHN E MARBURGER JR         3405 HIDDEN BROOK DRIVE                                                                        RAVENNA           OH    44266
DENISE WNOROSKI CUST ERIK WNOROSKI UTMA NJ        18 WINDSOR RD                                                                                  HOWELL            NJ    07731‐1717

DENISE Y SMITH                                    8301 CHESTNUT FARMS LANE                                                                       ELLICOT CITY      MD    21043‐3356
DENISE YOUNG                                      1933 VISTA GRANDE DR                                                                           VISTA             CA    92084‐2725
DENISE ZURLO CUST JARED ZURLO UTMA CA             1301 NEW HAMPSHIRE DR                                                                          CONCORD           CA    94521‐3804
DENISON DAVIS                                     3650 ELOISE ST                                                                                 JACKSONVILLE      FL    32205‐9007
DENISON E FULLER                                  PO BOX 1540                                                                                    LANCASTER         SC    29721‐1540
DENITA A BAILEY                                   617 SMITH AVE                                                                                  LANSING           MI    48910‐9039
DENN FORD NASON TR UA 05/27/92 SUSAN LAWRENCE     2228 CAMP DAGGETT RD                                                                           PETOSKEY          MI    49770‐9729
NASON TRUST
DENNELLE K GIRSCH‐JENSEN                          5187 MESA VERDE CT                                                                             SPARKS            NV    89436‐4668
DENNI NGUYEN CUST AIDAN MICHAEL NGUYEN UTMA       16572 CHINA BERRY CT                                                                           CHINO HILLS       CA    91709‐6391
CA
DENNICE F WATSON                                  16931 MUSKRAT RD                                                                               THREE RIVERS      MI    49093‐9069
DENNICES R LANE                                   10827 CHURCHILL AVE                                                                            CLEVELAND         OH    44106‐1210
DENNIE A THOMPSON & WILLIAM L THOMPSON JT TEN     6138 SABAL POINT CIRCLE                                                                        PORT ORANGE       FL    32128‐7046

DENNIE C ASHLEY                                   PO BOX 562                                                                                     PLATTE CITY       MO    64079‐0562
DENNIE E WOLF                                     211 LUCKY LN                                                                                   PENDLETON         IN    46064‐9190
DENNIE G OSBORNE                                  7727 TIMBERCREST DR                                                                            DAYTON            OH    45424‐1952
DENNIE J MCDONALD                                 839 S FIRST ST                                                                                 WILKINSON         IN    46186‐9771
DENNIE L MCNAMARA                                 42 MERRY ROAD BROOKSIDE                                                                        NEWARK            DE    19713‐2515
DENNIE M SKIDMORE                                 2821 GOLF HILL DR                                                                              WATERFORD         MI    48329‐4512
DENNIE O EASTERLY                                 8194 N 425 E                                                                                   ALEXANDRIA        IN    46001‐8106
DENNIE R SUMWALT                                  8396 W 500N                                                                                    FARMLAND          IN    47340‐9204
DENNIE RAY KRUTTLIN & DEBRA SUE KRUTTLIN JT TEN   4192 COTTONTAIL TRL                                                                            LINCOLN           MI    48742‐9624

DENNIE THORNTON                                   304 E BROADWAY                                                                                 GREENWOOD         IN    46143‐1310
DENNIE W MASON                                    11078 N 1175 W                                                                                 MONTICELLO        IN    47960‐8172
DENNIE W THOMAS                                   8709 SW 80 RT5                                                                                 OKLAHOMA CITY     OK    73169‐1401
DENNIS A ALLMENDINGER                             51129 UNION                                                                                    BELLEVILLE        MI    48111‐4426
DENNIS A BEAVERS                                  6651 GARBER RD                                                                                 DAYTON            OH    45415‐1503
DENNIS A BIELA                                    6847 PARKSIDE DR                                                                               NEW PRT RCHY      FL    34653‐2913
DENNIS A BINGHAM                                  1859 WYSONG ROAD                                                                               W ALEXANDRIA      OH    45381‐9703
DENNIS A BROWN                                    2657 WHITTIER S W                                                                              WYOMING           MI    49509‐2089
DENNIS A BRUCE                                    5218 DEEP POINT DR                                                                             PORTAGE           MI    49002‐5922
DENNIS A CAREY                                    345 MISSION BAY CT                                                                             GROVER            MO    63040‐1519
DENNIS A CHESHIER                                 9656 N CO RD 800 W                                                                             DALEVILLE         IN    47334‐9503
DENNIS A CORCORAN                                 1297 E HYDELL RD                                                                               CHILLICOTHE       OH    45601‐8229
DENNIS A CROTEAU                                  9480 LOUIS                                                                                     REDFORD           MI    48239‐1751
DENNIS A DARCH                                    154 E LOVELL DR                                                                                TROY              MI    48085‐1573
DENNIS A DAVIS                                    5090 GRISWOLD RD                                                                               KIMBALL           MI    48074‐2006
DENNIS A DECKER                                   965 DANBURY AVE                                                                                FOND DU LAC       WI    54935‐6306
DENNIS A DELCOTTO TR UA 08/20/2008 BARBARA ANN    22097 TREDWELL AVE                                                                             FARMINGTN HLS     MI    48336
O'ROURKE LIVING TRUST
DENNIS A DILO                                     26510 WEST STOCKHOLM DRIVE                                                                     INGLESIDE         IL    60041‐9370
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DENNIS A DOUGHERTY                                 2124 MORGAN ROAD                                                                            CLIO              MI    48420‐1864
DENNIS A DUCAT                                     6348 KRUSE RD                                                                               PETERSBURG        MI    49270‐9726
DENNIS A DUST                                      215 FIRST ST                                                                                MILFORD           MI    48381‐1938
DENNIS A ELLIS                                     3754 BEEBE ROAD                                                                             NEWFANE           NY    14108‐9660
DENNIS A FITZGERALD                                250 GAGE BLVD                      APT 1091                                                 RICHLAND          WA    99352‐9682
DENNIS A FRIEND                                    7255 SHIELDS RD                                                                             LEWISBURG         OH    45338‐9547
DENNIS A FULLER                                    4095 N STEEL RD                                                                             MERRILL           MI    48637‐9516
DENNIS A GRAHAM                                    35 OLIVER AVE                                                                               ALBANY            NY    12203‐2617
DENNIS A HALL                                      2580 LARRY TIM DR                                                                           SAGINAW           MI    48601‐5610
DENNIS A HAUPT                                     842 SELBY                                                                                   TROY              MI    48098‐1720
DENNIS A HAVER                                     3554 HUNT RD                                                                                LAPEER            MI    48446‐2954
DENNIS A HENDERSON                                 5382 HARTLAND RD                                                                            FENTON            MI    48430‐9536
DENNIS A HIGNITE                                   2146 W MIDLAND RD                                                                           AUBURN            MI    48611‐9562
DENNIS A HODGES                                    R R 1 BOX 61                                                                                MEEKER            OK    74855‐9723
DENNIS A HUNT                                      2143 LILAC LN                                                                               FLINT             MI    48532‐4181
DENNIS A JACOBSON                                  740 HOLLY CIRCLE                                                                            MURRAY            UT    84107‐7681
DENNIS A JANKOWSKI                                 7539 BENEKE                                                                                 MANISTEE          MI    49660‐9766
DENNIS A JOYCE                                     2200 GRANGE HALL ROAD                                                                       ORTONVILLE        MI    48462‐9066
DENNIS A JUST                                      3280 BYRON RD                                                                               HOWELL            MI    48843‐8766
DENNIS A KUPETS & MRS JENNIFER ANN KUPETS JT TEN   2064 HUNT CLUB                                                                              GROSSE POINTE     MI    48236‐1704
                                                                                                                                               WOOD
DENNIS A KURTZ & DALE KURTZ & DOUGLAS KURTZ JT     215 LORENA ROAD                                                                             WINCHESTER        TN    37398
TEN
DENNIS A LAZOWSKI                                  9529 M 186                                                                                  FIFE LAKE       MI      49633‐9731
DENNIS A LEBIO                                     5130 STERLING                                                                               YOUNGSTOWN      OH      44515‐3950
DENNIS A LOCKWOOD                                  1760 POST AVE                                                                               WEST BLOOMFIELD MI      48324‐1270

DENNIS A LONG                                      7447 FREDERICK PIKE                                                                         DAYTON            OH    45414‐1939
DENNIS A MACKLING                                  7970D KNOTTINGHAM CIR                                                                       DARIEN            IL    60561‐4996
DENNIS A MAKINS & EMMA M MAKINS JT TEN             416 SPRINGVIEW DR                                                                           FRANKLIN          TN    37064‐5281
DENNIS A MARTIN                                    6581 BRIGHAM SQ APT 1                                                                       DAYTON            OH    45459‐6996
DENNIS A MCFARLAND                                 4440 S AIRPORT RD                                                                           BRIDGEPORT        MI    48722‐9524
DENNIS A METZ                                      23038 PETERSBURG                                                                            EAST DETROIT      MI    48021‐2004
DENNIS A MOORE                                     635 ROLLING HILLS LN               APT 1                                                    LAPEER            MI    48446‐4741
DENNIS A NEEDLER                                   744 EAST 600 SOUTH                                                                          ANDERSON          IN    46013‐9504
DENNIS A O BRIEN                                   5863 JOE BEAR DR                                                                            HONEOYE           NY    14471‐9523
DENNIS A O NEILL                                   81 MAIDEN LANE                                                                              BERGENFIELD       NJ    07621‐4129
DENNIS A PATTON                                    4880 W GALE RD                                                                              SMITHVILLE        MO    64089‐8322
DENNIS A PAYNE                                     5727 LOST GROVE DRIVE                                                                       LILBURN           GA    30047‐6161
DENNIS A PIEKENBROCK                               13395 CHURCH VIEW DR                                                                        PICKERINGTON      OH    43147
DENNIS A PORTER                                    PO BOX 410                                                                                  BERLIN            MA    01503‐0410
DENNIS A POTTER                                    N 1506 SANDBERG RD                                                                          MELROSE           WI    54642‐8304
DENNIS A PTAK                                      3240 PALM AIRE                                                                              ROCHESTER HILLS   MI    48309
DENNIS A RADER                                     205 STARLIGHT LN                                                                            FAIR PLAY         SC    29643‐2371
DENNIS A ROBERTS                                   307 N BROWN ST                                                                              MOUNT PLEASANT    MI    48858‐1921

DENNIS A ROSE                                      2263 DELVUE DR                                                                              DAYTON            OH    45459‐3625
DENNIS A SABOURIN & MRS DOROTHY ANN M              3349 LUCE RD                                                                                FLUSHING          MI    48433‐2392
SABOURIN JT TEN
DENNIS A SCHOBERTH                                 1501 S KIESEL ST                                                                            BAY CITY          MI    48706‐5239
DENNIS A SHADE                                     424 N COLUMBUS STREET                                                                       CRESTLINE         OH    44827‐1418
DENNIS A SHAW & JO NEIL SHAW JT TEN                1085 LAKE PARK CIR                                                                          GRAND BLANC       MI    48439‐8041
DENNIS A STACH                                     G4280 VAN SLYKE RD                                                                          FLINT             MI    48507‐3546
DENNIS A STESZEWSKI                                64 TERRY LANE                                                                               BUFFALO           NY    14225‐1351
DENNIS A STROHMINGER                               3687 SHANGRI LA AVE E                                                                       MANSFIELD         OH    44903‐8098
DENNIS A SZPARA                                    5386 GRAND BLANC RD                                                                         SWARTZ CREEK      MI    48473‐9413
DENNIS A SZPARA                                    5386 W GRAND BLANC RD                                                                       SWARTZ CREEK      MI    48473‐9413
DENNIS A TROMBLEY                                  38412 SHEFFIELD                                                                             MT CLEMENS        MI    48036‐2860
DENNIS A URBAN                                     2828 JEANNE DR                                                                              PARMA             OH    44134‐5221
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DENNIS A VEITH                                  2676 PACIFIC HIGHLANDS CT                                                                     FERNDALE       WA    98248‐8610
DENNIS A VITO                                   5388 W DODGE                                                                                  CLIO           MI    48420‐8535
DENNIS A WALLACE                                6605 VISTA DEL RANCHO RD NE                                                                   ALBUQUERQUE    NM    87113‐1995
DENNIS A WAY                                    PO BOX 301                                                                                    LAKE GEORGE    MI    48633‐0301
DENNIS A WEBER                                  3895 ROBERTANN DR                                                                             KETTERING      OH    45420‐1054
DENNIS A WHITEHEAD                              311 SOUTHAMPTON DR                                                                            DECATUR        IL    62526‐1743
DENNIS A WIECKOWSKI                             1750 ELMHURST RD                     APT 194                                                  DES PLAINES    IL    60018‐1876
DENNIS A WOOD                                   1922 SHENANDOAH PLACE                                                                         INDIANAPOLIS   IN    46229‐2063
DENNIS A WRIGHT                                 13 GERHARD COURT                                                                              SAGINAW        MI    48602‐3312
DENNIS A YOUNG                                  2606 EAST FORK DRIVE                                                                          VANDALIA       IL    62471‐3818
DENNIS A YOUNG CUST LUKE A YOUNG                2606 EAST FORK DRIVE                                                                          VANDALIA       IL    62471‐3818
DENNIS ADAMS                                    124 W MARENGO                                                                                 FLINT          MI    48505‐3261
DENNIS ADAMS                                    1700 RIDGE AVE                                                                                ARNOLD         PA    15068‐4038
DENNIS ADVENA                                   109 CRYSTAL RUN DR                                                                            MIDDLETOWN     DE    19709‐6009
DENNIS ALAN DRUMM                               1871 STONEHENGE DRIVE                                                                         LAFAYETTE      CO    80026‐9115
DENNIS ALAN WHITE                               2865 BONNEVILLE COURT NE                                                                      GRAND RAPIDS   MI    49525‐1319
DENNIS ANDREWS                                  8136 WISEMAN ROAD                                                                             LAMBERTVILLE   MI    48144‐9684
DENNIS ANHEUSER BEIMS MOORE                     13133 MAPLE DR                                                                                ST LOUIS       MO    63127‐1902
DENNIS ANSAY                                    740 KENWOOD AVE                                                                               LIBERTYVILLE   IL    60048‐3344
DENNIS ANTHONY                                  17514 GREENLAWN                                                                               DETROIT        MI    48221‐2539
DENNIS B ALLEN                                  509 CONCORD RD                                                                                STANDISH       MI    48658
DENNIS B CLARK                                  705 HOLLENDALE DRIVE                                                                          KETTERING      OH    45429‐3129
DENNIS B CURRY                                  BOX 95                                                                                        FOOTVILLE      WI    53537‐0095
DENNIS B DART                                   4291 CENTRAL PARK DR                                                                          GRAWN          MI    49637‐9520
DENNIS B FRANKS                                 38223 S JEAN COURT                                                                            WESTLAND       MI    48186‐3837
DENNIS B FRANTZ & DARLENE A FRANTZ JT TEN       5030 HORGLAND BLACKSTUB                                                                       CORTLAND       OH    44410‐9519
DENNIS B HARDY                                  7905 NIGHTINGALE                                                                              DEARBORN HTS   MI    48127‐1238
DENNIS B LOPICCOLO                              2538 FOREST ST                                                                                PORT HURON     MI    48060‐2926
DENNIS B LOVE                                   3221 SOUTH GENESEE RD                                                                         BURTON         MI    48519‐1423
DENNIS B LOVELAND                               1283 NAAMANS CREEK ROAD                                                                       BOOTHWYN       PA    19061‐1804
DENNIS B LOVELUND & CHRISTOPHER B LOVELUND &    1283 NAAMANS CREEK RD                                                                         BOOTHWYN       PA    19061‐1804
ADAM B LOVELUND JT TEN
DENNIS B MARS                                   418 SPRINGHOUSE CT                                                                            FRANKLIN       TN    37067‐5837
DENNIS B O MALLEY & SANDRA M O MALLEY JT TEN    3710 PARKMAN RD NW                                                                            SOUTHINGTON    OH    44470

DENNIS B OMALLEY                                3710 PARKMAN RD NW                                                                            SOUTHINGTON    OH    44470
DENNIS B PALOMA                                 PO BOX 7                                                                                      BROWNSVILLE    CA    95919‐0007
DENNIS B REIMER                                 1209 W 20TH ST                                                                                CEDAR FALLS    IA    50613‐3510
DENNIS B SMITH EX EST HOWARD A SMITH            C/O KLAFEHN & HEISE                  ATTN MAUREEN L WERNER   13 WATER ST                      BROCKPORT      NY    14420
DENNIS B SPRAGENS                               470 NORTH SPALDING AVE                                                                        LEBANON        KY    40033‐1523
DENNIS B SUNDWALL                               9108 SPRING BROOK CIRCLE                                                                      DAVISON        MI    48423
DENNIS B SUNDWALL & JANET J SUNDWALL JT TEN     9108 SPRING BROOK CIRCLE                                                                      DAVISON        MI    48423

DENNIS B WHITTINGTON                            PO BOX 4456                                                                                   GARY           IN    46404‐0456
DENNIS B WILLIAMS                               163 LEXINGTON FARM RD                                                                         ENGLEWOOD      OH    45322‐3410
DENNIS B WOLCOTT                                670 LAKES EDGE DR                                                                             OXFORD         MI    48371‐5229
DENNIS B WOLF                                   5860 STONER ROAD                                                                              FOWLERVILLE    MI    48836‐9570
DENNIS BAILEY                                   1470 COPELAND CRT                                                                             CANTON         MI    48187‐3446
DENNIS BANTA                                    604 LONSVALE DRIVE                                                                            ANDERSON       IN    46013‐3215
DENNIS BILINSKI                                 4814 WASHINGTON ST EXT                                                                        WILMINGTON     DE    19809‐2834
DENNIS BISSONETTE                               4976 GRASS LAKE RD                                                                            OSCODA         MI    48750
DENNIS BITTNER                                  12101 SENECA                                                                                  BANCROFT       MI    48414‐9777
DENNIS BOEHLER & EUGENA BOEHLER JT TEN          6075 MONARCH DR                                                                               MANHATTAN      MT    59741‐8457
DENNIS BRANOFF                                  1231 HILLWOOD CIRCLE                                                                          EAST LANSING   MI    48823‐2276
DENNIS C ALCORN                                 2115 BEVINGTON LANE                                                                           HAMILTON       OH    45013‐9319
DENNIS C BATTSON                                1196 BRITTANY CIR                                                                             BROWNSBURG     IN    46112‐8330
DENNIS C BENORE                                 4219 KNOLLWOOD DRIVE                                                                          GRAND BLANC    MI    48439‐2026
DENNIS C BERGQUIST                              1809 W 59TH ST                                                                                MINNEAPOLIS    MN    55419‐2047
DENNIS C CALHOUN & CAROL L BREZNAI JT TEN       9637 REECK                                                                                    ALLEN PARK     MI    48101‐1354
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DENNIS C CANNON                                   1305 COLUMBIA CIR                                                                              FLINT              MI    48503‐5257
DENNIS C CORCORAN                                 6023 S OWENS CT                                                                                LITTLETON          CO    80127‐2470
DENNIS C DAKIN & MARY T DAKIN JT TEN              104 DEN RD                                                                                     LINCOLN            PA    19352‐1219
                                                                                                                                                 UNIVERSITY
DENNIS C DOYLE                                    24206 W RONNIE CT                                                                              SHOREWOOD          IL    60431‐9191
DENNIS C EDENHART                                 3503 HABERLIN ST                                                                               MCKEESPORT         PA    15132
DENNIS C EURICH                                   1005 GREENTREE ROAD                                                                            BLOOMFIELD         MI    48304
DENNIS C FILKA                                    6324 MANDALAY DR                                                                               PARMA HTS          OH    44130‐2920
DENNIS C FLOYD                                    5850 CO RD M                                                                                   DELTA              OH    43515‐9777
DENNIS C FRIEL                                    222 ALLEN DRIVE                                                                                STANTON            KY    40380‐9612
DENNIS C GAGNON                                   29605 BRETTON                                                                                  LIVONIA            MI    48152‐1874
DENNIS C GAWRONSKI                                CLAIM 20224‐19                        281 GAYLORD COURT                                        ELMA               NY    14059‐9437
DENNIS C HAHN                                     12121 MATTHEWS HWY                                                                             CLINTON            MI    49236‐9709
DENNIS C HAHN & JOY L HAHN JT TEN                 12121 MATTHEWS HWY                                                                             CLINTON            MI    49236‐9709
DENNIS C HARTFORD                                 263 NORTH MAIN ST                                                                              MASSENA            NY    13662‐1119
DENNIS C HESTER                                   2088 N VAN DYKE RD                                                                             IMLAY CITY         MI    48444‐9415
DENNIS C HILLS                                    RD 1                                                                                           WEST SPRINGFIELD   PA    16443‐9801

DENNIS C HIPPLE                                   1975 DODGE ST N W                                                                              WARREN             OH    44485‐1417
DENNIS C JEFFERSON JR                             586 LINTON HILL RD                                                                             NEWTOWN            PA    18940‐1204
DENNIS C JOHNSON                                  4708 HARLOU DR                                                                                 DAYTON             OH    45432‐1619
DENNIS C JOHNSON & CONSTANCE T JOHNSON JT TEN     15032 NEARTREE RD                                                                              LA MIRADA          CA    90638‐4619

DENNIS C JOHNSON & MARION R JONHSON JT TEN        1265 NORTH UNION AVE                                                                           SALEM              OH    44460‐1354

DENNIS C JOSEY                                    1002 WEST WALKER ST                                                                            DOUGLAS            GA    31533‐3448
DENNIS C KARCZYNSKI CUST ALLISON R KARCZYNSKI     8887 DANZIG                                                                                    LIVONIA            MI    48150‐3901
UTMA MA
DENNIS C KARCZYNSKI CUST DANIEL J KARCZYNSKI      8887 DANZIG                                                                                    LIVONIA            MI    48150‐3901
UGMA MI
DENNIS C KARCZYNSKI CUST STEPHANIE L KARCZYNSKI   8887 DANZIG                                                                                    LIVONIA            MI    48150‐3901
UGMA MI
DENNIS C KLOHA                                    10519 RENE DRIVE                                                                               CLIO               MI    48420‐1958
DENNIS C KLOHA & WALTER C KLOHA JT TEN            10519 RENE DR                                                                                  CLIO               MI    48420‐1958
DENNIS C KOVACS                                   118 TUPELO DR                                                                                  GREER              SC    29651‐7413
DENNIS C KRETZER                                  10410 MIKIE DR                                                                                 WILLIAMSPORT       MD    21795‐3146
DENNIS C KUZMA                                    900 WEST SUNDANCE CIRCLE                                                                       PAYSON             AZ    85541‐6617
DENNIS C KUZMA & PATRICIA A KUZMA JT TEN          900 W SUNDANCE CIRCLE                                                                          PAYSON             AZ    85541‐6617
DENNIS C LAWRENCE                                 106 MEADOWBROOK N                                                                              LEAVITTSBURG       OH    44430‐9522
DENNIS C LYNCH                                    334 W KINNEY RD                                                                                MUNGER             MI    48747‐9796
DENNIS C MACE                                     7926 E 700 N                                                                                   BOGGSTOWN          IN    46110‐9600
DENNIS C MAHAN                                    630 WOODLAWN AVE                                                                               LAKE ORION         MI    48362
DENNIS C MALLERNEE                                8069 WEST FALLCREEK DR                                                                         PENDLETON          IN    46064‐9018
DENNIS C MEDEIROS                                 1362 SW HERALD RD                                                                              PORT ST LUCIE      FL    34953‐4241
DENNIS C MILFORD                                  5816 LONGWOOD DR                      UNIT 201                                                 MURRELLS INLT      SC    29576‐9112
DENNIS C MILLER                                   1118 BELL ST                                                                                   ARLINGTON          TX    76001‐7117
DENNIS C MONTGOMERY                               203 PROVINS DR                                                                                 TULLAHOMA          TN    37388‐9578
DENNIS C PEASE                                    7705 EVERGREEN DRIVE                                                                           GOLETA             CA    93117‐1027
DENNIS C PLEDGER                                  15456 PACKAN DR                                                                                MT CLEMENS         MI    48038‐4123
DENNIS C RICKERD & VERONICA RICKERD JT TEN        108 AYERS CT                                                                                   MONTGOMERY         NY    12549‐1735
DENNIS C SAYLOR                                   RR 2 BOX 485A                                                                                  ROSE HILL          VA    24281‐9637
DENNIS C SCHRINER                                 2348 MARJORIE LN                                                                               CLIO               MI    48420‐9161
DENNIS C SIEGGREEN                                3345 TULIP DR                                                                                  BRIDGEPORT         MI    48722‐9650
DENNIS C SOCIA & MARY E SOCIA JT TEN              26407 TOM ALLEN DR                                                                             WARREN             MI    48089‐3521
DENNIS C TODD                                     5355 SILVERCREST LN                                                                            SAGINAW            MI    48638‐5433
DENNIS C TURBIN & PATRICIA C TURBIN JT TEN        3777 N US 23                                                                                   OSCODA             MI    48750
DENNIS C VAN BUSKIRK                              2958 HARTUN                                                                                    BRIGHTON           MI    48114‐7519
DENNIS C VARGA                                    30009 MAPLEGROVE                                                                               ST CLAIR SHRS      MI    48082‐1621
DENNIS C VERHELLE                                 2312 CHISMHOLM COURT                                                                           HOLT               MI    48842‐8716
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DENNIS C WEST                                   320 NORTH CEDAR                                                                                  IMLAY CITY         MI    48444‐1178
DENNIS C WILLARD                                1416 LAWRENCE RD                                                                                 CARMEL             IN    46033‐2350
DENNIS C YOUNG                                  C/O LEAH MASON                          711 SWAGGERTOWN RD                                       SCOTIA             NY    12032
DENNIS CHARLES MILEY                            33624 S COTTON LAKE RD                                                                           ROCHERT            MN    56578‐9688
DENNIS CORDRAY                                  311 WELDON                                                                                       SOUTH HOUSTON      TX    77587‐3558
DENNIS CREMIN & PATRICIA M CREMIN JT TEN        250 IVY AVE                                                                                      WESTBURY           NY    11590‐1914
DENNIS D BORGESON & BONNIE L BORGESON JT TEN    17722 E BERRY PLACE                                                                              AURORA             CO    80015‐2626

DENNIS D BRISTOW                                5364 GUYETTE STREET                                                                              CLARKSTON          MI    48346‐3521
DENNIS D DILL                                   262 W DURBIN AVE                                                                                 BELLVILLE          OH    44813‐1135
DENNIS D DUFF                                   6481 WESTGATE DR                                                                                 LAINGSBURG         MI    48848‐9226
DENNIS D ENGLE                                  7977 E OLD STATE RD 56                                                                           MADISON            IN    47250
DENNIS D GIBBS & KAREN R GIBBS JT TEN           16390 WESTGATE TRAIL                                                                             EDEN PRAIRIE       MN    55344‐1815
DENNIS D GODLEW                                 15832 DENBY                                                                                      REDFORD            MI    48239‐3932
DENNIS D GRANT                                  9346 PIERSON                                                                                     DETROIT            MI    48228‐1508
DENNIS D HAUGEN & CHRISTINA HAUGEN TR HAUGEN 15166 RIVIERA LN                                                                                    LA MIRANDA         CA    90638‐4728
LIVING TRUST UA 03/17/04
DENNIS D HAUGEN & CHRISTINA HAUGEN TR HAUGEN 15166 RIVIERA LANE                                                                                  LA MIRANDA         CA    90638‐4728
LIVING TRUST UA 03/17/04
DENNIS D HLADYSH                                2434 FIVE LAKES RD                                                                               METAMORA           MI    48455‐9391
DENNIS D KING                                   4296 HOWE RD                                                                                     GRAND BLANC        MI    48439‐7973
DENNIS D KIRK                                   27425 POWERS                                                                                     WESTLAND           MI    48186‐5115
DENNIS D LAMEE                                  C/O DENNIS DIRK LAMEE                   3606 E OAKBROOK CRT                                      MIDLAND            MI    48642
DENNIS D MALCOLM                                52 BRYANT ROAD                          AJAX ON                                L1S 2Y7 CANADA
DENNIS D MEESE                                  3654 SHOREWOOD DR                                                                                AMELIA             OH    45102‐1364
DENNIS D MINDYKOWSKI                            1582 E WHEELER                                                                                   BAY CITY           MI    48706‐9445
DENNIS D NORRIS                                 5657 GOODHOPE RD                                                                                 FRANKFORT          OH    45628‐9526
DENNIS D PARKER                                 2954 W STEEL RD                                                                                  ST JOHNS           MI    48879‐9782
DENNIS D RACE & MRS DONNA B RACE JT TEN         29 FARMER                                                                                        HOOKSETT           NH    03106‐2124
DENNIS D RECKLEY & JUDY H RECKLEY JT TEN        19465 LIGHTHOUSE PT                                                                              GROSSE ILE         MI    48138‐1005
DENNIS D RIZZUTO                                5647 N PARENT ST                                                                                 WESTLAND           MI    48185‐3105
DENNIS D RYBICKI                                1765 ANNABELLE                                                                                   FERNDALE           MI    48220‐1188
DENNIS D STRANK                                 2920 STATION RD                                                                                  MEDINA             OH    44256‐9419
DENNIS D STURTZ                                 121 NORTH MAIN ST                       PO BOX 147                                               PIGEON             MI    48755‐0147
DENNIS D TATE                                   11191 COOK RD                                                                                    GAINES             MI    48436‐9742
DENNIS D WILLAMAN                               1012 ARLINGTON DR                                                                                GREENVILLE         PA    16125‐8885
DENNIS DALE BRYANT                              4005 EASTERN DRIVE                                                                               ANDERSON           IN    46012‐9446
DENNIS DALY & NANCY B DALY JT TEN               800 ESTERBROOK ROAD                                                                              DOUGLAS            WY    82633‐9591
DENNIS DANTZLER                                 459 CANTON ST                                                                                    DETTROIT           MI    48207‐3759
DENNIS DEAL                                     1734 SECOND AVE APT GB                                                                           NEW YORK           NY    10128‐3567
DENNIS DEAN                                     11022 SLEEPER                                                                                    GRAND HAVEN        MI    49417‐8769
DENNIS DEBUHR                                   C/O DEBUHR & SON P&H                    14 E MAIN STREET                                         WAUKON             IA    52172‐1746
DENNIS DELUKE CUST JUSTIN JOSEPH DELUKE UGMA OH 2008 CARLTON RD                                                                                  KENT               OH    44240‐4215

DENNIS DEMARIA                                  31 MITCHELL CT                                                                                   MARLTON            NJ    08053‐8551
DENNIS DENIHAN                                  16 NORTH DR                                                                                      MANHASSET          NY    11030‐1447
DENNIS DI FRANCESCO                             7459 LANIER DR                                                                                   CLEVELAND          OH    44130‐6622
DENNIS DIGIOVANNI                               325 CLAREMONT AVE                                                                                LONG BEACH         CA    90803
DENNIS DITTRICH                                 395 BROADWAY 10A                                                                                 NEW YORK           NY    10013‐3541
DENNIS DORCH & KATHERINE BRADLEY JT TEN         12837 W MICHELTORENA CT                                                                          SUN CITY WEST      AZ    85375
DENNIS DRIBIN & BETH DRIBIN JT TEN              226 INDIAN CREEK RD                                                                              WYNNEWOOD          PA    19096‐3404
DENNIS DRIER                                    3888 IVAH DR                                                                                     KENT CITY          MI    49330‐8914
DENNIS DRISCOLL                                 36 WALNUT HILL ROAD                                                                              DERRY              NH    03038‐5017
DENNIS DRISCOLL & DONNA DRISCOLL JT TEN         531 HARBOUR GROVE CIRCLE                                                                         SAFETY HARBOUR     FL    34695‐4977
DENNIS E ANCIL                                  1447 VERMONT ST                                                                                  SAGINAW            MI    48602‐1772
DENNIS E BARRETT                                5650 FREDRICK PIKE                                                                               DAYTON             OH    45414‐2923
DENNIS E BAUMAN                                 16658 SE 80TH BELLEVISTA CIRCLE                                                                  THE VILLAGES       FL    32162
DENNIS E BAUMGARDNER                            610 DURANGO DR                                                                                   O FALLON           MO    63366‐6919
DENNIS E BEARD                                  720 SCARLET OAK DRIVE                                                                            LAKE SAINT LOUIS   MO    63367‐2140
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DENNIS E BELLAMY                                   4405 MARIETTA STREET                                                                           POWDER SPRING      GA    30127‐2610
DENNIS E BERGER                                    512 PARK BLVD                                                                                  VERSAILLES         OH    45380‐1421
DENNIS E BISSELL                                   PO BOX 52 NITTNEE DR                                                                           SUMMITTVILLE       OH    43962‐0052
DENNIS E BLEVINS                                   702 A RONALO AVE                                                                               WEST UNION         OH    45693
DENNIS E BOBER & JUDY M BOBER JT TEN               4645 N MALDEN                                                                                  CHICAGO            IL    60640‐4805
DENNIS E BOYER                                     9309 CROCHETT FARM RD                                                                          SOUTH LYON         MI    48178
DENNIS E BOYET                                     16 HIGH TRAIL                                                                                  ST PETERS          MO    63376‐1726
DENNIS E BRENDAHL                                  434 TIMBERLAKE DRIVE EAST                                                                      HOLLAND            MI    49424‐5340
DENNIS E BROOKS                                    327 CLYDE ST                                                                                   WILMINGTON         DE    19804‐2905
DENNIS E BUTCHER & LYNDA J BUTCHER JT TEN          12508 CASSANDRA CT                                                                             WOODBRIDGE         VA    22192‐3313
DENNIS E CAREY & MRS GERALDINE I CAREY JT TEN      103 WISCONSIN ST                                                                               LONG BEACH         NY    11561‐1421

DENNIS E DEARING                                   2540 JAMES RD                                                                                  PONTIAC            MI    48326‐1915
DENNIS E DILLON                                    1026 W TWO RIVERS LN                                                                           EAGLE              ID    83616‐7128
DENNIS E DIXON                                     1472 OAKLAND LOCUST RIDGE ROAD                                                                 MOUNT ORAB         OH    45154‐8213
DENNIS E DOWD                                      6183 W DODGE RD                                                                                CLIO               MI    48420‐8577
DENNIS E FRASER                                    21 POPPY ST                                                                                    HOMOSASSA          FL    34446‐6314
DENNIS E FULTON                                    17072 TREMLETT                                                                                 CLINTON TWP        MI    48035‐2384
DENNIS E GAINES                                    328 WESTFIELD DR                                                                               NASHVILLE          TN    37221‐1408
DENNIS E GAINOR                                    PO BOX 37                                                                                      PORT HOPE          MI    48468
DENNIS E GEPFREY                                   8331 E COLDWATER RD                                                                            DAVISON            MI    48423‐8966
DENNIS E GNIECH                                    25110 PATRICIA                                                                                 WARREN             MI    48091‐3870
DENNIS E GOODING & LE ANNA GOODING JT TEN          600 S COUNTY ROAD 325 W                                                                        NEW CASTLE         IN    47362‐9710
DENNIS E ISRAEL                                    22585 VOSS HIATT AVE                                                                           CICERO             IN    46034‐9642
DENNIS E JESKE & NANCY L JESKE JT TEN              629 29TH ST NW                                                                                 ROCHESTER          MN    55901‐2382
DENNIS E KARST                                     8539N 500E                                                                                     OSSIAN             IN    46777‐9626
DENNIS E KERN                                      4114 W WILSON RD                                                                               CLIO               MI    48420‐9405
DENNIS E KOVALCHIK                                 46 S ANDERSON RD                                                                               AUSTINTOWN         OH    44515‐2601
DENNIS E KOVALCHIK & LESLIE A KOVALCHIK JT TEN     46 S ANDERSON RD                                                                               AUSTINTOWN         OH    44515‐2601

DENNIS E KUJAWA                                    550 BRUNS                                                                                      ROSSFORD           OH    43460‐1522
DENNIS E KURTZ & MARY A KURTZ JT TEN               1731 FLEMING RD                                                                                LOUISVILLE         KY    40205‐2417
DENNIS E LABHART SR & VICTORIA E LABHART JT TEN    4000 TRIPLE CROWN DR                                                                           NEWBURGH           IN    47630‐2212

DENNIS E LANDIS & LAURA G LANDIS JT TEN            350 N MAIN ST                         UNIT 509                                                 ROYAL OAK        MI      48067
DENNIS E LEE                                       PO BOX 1332                                                                                    STOW             OH      44224‐0332
DENNIS E LOWE                                      3609 SW 3RD ST                                                                                 CAPE CORAL       FL      33991‐1024
DENNIS E MALONEY                                   PO BOX 871                                                                                     WESTBURY         NY      11590‐0122
DENNIS E MANN                                      6184 LAKE LIZZIE DR                                                                            ST CLOUD         FL      34771‐9715
DENNIS E MAYES                                     1203 RIDGEWAY DRIVE                                                                            OLATHE           KS      66061‐4930
DENNIS E MCCALLUM                                  729 STILL POND RD                                                                              COLUMBIA         TN      38401‐5554
DENNIS E MILLER                                    149 RICHARD DR                                                                                 XENIA            OH      45385‐2625
DENNIS E MITCHELL                                  4717 BENNETT ST                                                                                AUSTELL          GA      30106‐2208
DENNIS E NOVAK & MARY T NOVAK JT TEN               22431 VACRI LANE                                                                               FARMINGTON HILLS MI      48335‐3851

DENNIS E OBRIEN                                    4440 DUFFIELD ROAD                                                                             FLUSHING           MI    48433‐9710
DENNIS E OBRIEN & JANE ANNE OBRIEN JT TEN          4440 DUFFIELD ROAD                                                                             FLUSHING           MI    48433‐9710
DENNIS E OLSON & SHARON L OLSON JT TEN             10475 MILLER RD                                                                                SWARTZ CREEK       MI    48473‐8588
DENNIS E PARKER                                    5369 VAN VLEET RD                                                                              SWARTZ CREEK       MI    48473‐8571
DENNIS E PETTY                                     4921 S E 42ND ST                                                                               TECUMSEH           KS    66542‐9790
DENNIS E PODLAS                                    16101 N EL MIRAG RD                   UNIT 429                                                 EL MIRAG           AZ    85335‐2998
DENNIS E REED                                      2796 E PTARMIGAN TRL                                                                           MARION             IN    46953‐4700
DENNIS E REVARD                                    6451 BRIAN CIRCLE LANE                                                                         BURTON             MI    48509‐1376
DENNIS E REYNOLDS                                  26595 MOUNT PLEASANT RD                                                                        ARCADIA            IN    46030‐9558
DENNIS E RICHARDVILLE                              42133 TESSMER DRIVE                                                                            STERLING HEIGHTS   MI    48314‐3059

DENNIS E SCHARTZER                                 6240 BILLWOOD HWY                                                                              POTTERVILLE        MI    48876‐9711
DENNIS E SCHUTH                                    PO BOX 83                                                                                      MARION             IN    46952‐0083
DENNIS E SHETRON                                   7525 RIVER RD                                                                                  FLUSHING           MI    48433‐2216
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DENNIS E SICKLES                                    435 E NORTH ST                                                                                   FOWLERVILLE      MI     48836‐9790
DENNIS E SKEEN & CAROLYN B SKEEN JT TEN             457 W POSSUM ROAD                                                                                SPRINGFIELD      OH     45506‐3619
DENNIS E SKORUPSKI & MRS SUSANNE G SKORUPSKI JT     29636 WALKER                                                                                     WARREN           MI     48092‐2259
TEN
DENNIS E SMITH                                      4090 BUTLER RD                                                                                   MARLETTE         MI     48453‐9320
DENNIS E ST CLAIR                                   4561 BRIGHTON CIR                                                                                GRAND BLANC      MI     48439‐7342
DENNIS E STEARNS                                    7222 S FORK DRIVE                                                                                SWARTZ CREEK     MI     48473‐9759
DENNIS E STRASSBURGER                               2121 HARRIS AVE                                                                                  SACRAMENTO       CA     95838‐3911
DENNIS E STRAUB                                     9655 ALLISON RD                                                                                  MAYBEE           MI     48159‐9725
DENNIS E SUPERCZYNSKI                               12104 ASPENWOOD DRIVE                                                                            KNOXVILLE        TN     37922‐4675
DENNIS E THOMAS                                     492 MADISON ST                                                                                   SHARON           PA     16146‐1435
DENNIS E THOMPSON                                   5187 OLD COLONY DR                                                                               WARREN           OH     44481‐9154
DENNIS E TIDWELL                                    470 PALMER ST                                                                                    MILPITAS         CA     95035‐5233
DENNIS E TOBIAS                                     3178 FERNWOOD RD                                                                                 MCCOMB           MS     39648‐9660
DENNIS E TUTTLE JR CONS EST DENNIS EARL TUTTLE SR   C/O MICHAEL J KOTARSKI                  G‐3444 FENTON ST                                         FLINT            MI     48507

DENNIS E WARD                                       1109 ANDREW ST                                                                                   SAGINAW          MI     48603‐6500
DENNIS E WARREN                                     4343 GREENBRIER ROAD                                                                             LONG BEACH       CA     90808‐1418
DENNIS E WARREN                                     3500 OVERTON                                                                                     WATERFORD        MI     48328‐1410
DENNIS E WELCH & MISS DEELYNN BETH WELCH JT TEN     1458 JULIET AVE                                                                                  ST PAUL          MN     55105‐2565

DENNIS E WHITE                                      1415 SUNNYFIELD ST N W                                                                           WARREN             OH   44481‐9133
DENNIS E WHITE                                      29 E HAMPTON DRIVE                                                                               AUBURNDALE         FL   33823‐5607
DENNIS E WHITLEY                                    5846 E 11                                                                                        KANSAS CITY        MO   64126‐2010
DENNIS EDENBURN JR                                  14039 N BRAY RD                                                                                  CLIO               MI   48420
DENNIS EDWARD BOYD WILCOX                           705 PINE ST                             APT G3                                                   PORT HURON         MI   48060‐5360
DENNIS ELLENWOOD                                    7340 E 400 S                                                                                     COLUMBIA CITY      IN   46725
DENNIS ERWIN STILES                                 22531 LANGE STREET                                                                               SAINT CLAIR SHORES MI   48080‐2872

DENNIS EUGENE CONNER                                2305 E WILLARD                                                                                   MUNCIE           IN     47302‐3709
DENNIS F BAKI                                       2467 CLARK                                                                                       HARTLAND         MI     48353‐2610
DENNIS F CONRAD                                     137 LOVE ST                                                                                      WILLIAMSTON      MI     48895‐1215
DENNIS F GALINSKI                                   4315 BRIDGE SIDE PLACE                                                                           NEW ALBANY       OH     43054‐7053
DENNIS F GODFREY & DONNA C GODFREY TR UA            20101 VILLAGE 20                                                                                 CAMARILLO        CA     93012‐7505
GODFREY FAMILY TRUST 09/02/92
DENNIS F HUMMEL & JOAN H HUMMEL JT TEN              1823 DELANCEY PLACE                                                                              PHILADELPHIA     PA     19103‐6606
DENNIS F JACOBS                                     4837 PLEASANT VALLEY DR                                                                          COLUMBUS         OH     43220‐5410
DENNIS F JAGGI                                      1509 NIGHTHAWK DR                                                                                EDMOND           OK     73034‐6187
DENNIS F JAGGI & JANET F JAGGI JT TEN               1509 NIGHTHAWK                                                                                   EDMOND           OK     73034‐6187
DENNIS F MCALLISTER                                 3098 LOCKE CT                                                                                    FREMONT          CA     94555‐2433
DENNIS F NAUGLE                                     129 NEW CASTLE DR                                                                                CHAPEL HILL      NC     27517
DENNIS F NELSON                                     6617 HARRIS RD                                                                                   KINGSTON         MI     48741‐9751
DENNIS F POWELL                                     601 E JAMIESON                                                                                   FLINT            MI     48505‐4287
DENNIS F RANGE                                      1140 E HIGHWAY U                                                                                 MOSCOW MILLS     MO     63362‐1926
DENNIS F RESPECKI & MARY ANN RESPECKI JT TEN        12055 LENNON RD                                                                                  LENNON           MI     48449‐9725
DENNIS F RIGAN                                      3171 LA SALLE ST                                                                                 ANN ARBOR        MI     48108‐2901
DENNIS F ROBERTSON                                  RR1                                                                                              RUSSIAVILLE      IN     46979‐9801
DENNIS F ROSA                                       56 OLD FARMS RD                                                                                  LITCHFIELD       CT     06759‐3807
DENNIS F SMALLEY                                    17152 JON JON TERRACE                                                                            HOLLY            MI     48442‐8361
DENNIS F SMALLEY & FREDERIC C SMALLEY JT TEN        17152 JON JON TERRACE                                                                            HOLLY            MI     48442‐8361
DENNIS F SMITH                                      12140 NORTH BELSAY ROAD                                                                          CLIO             MI     48420‐9168
DENNIS F WOLOSZYN                                   600 WALNUT ST                                                                                    LOCKPORT         NY     14094‐3130
DENNIS FABBO                                        213 W HENRY ST                                                                                   LINDEN           NJ     07036‐4127
DENNIS FAULSTICH                                    1008 E ALTO RD                                                                                   KOKOMO           IN     46902‐4372
DENNIS FIRKINS                                      17961 CLARK DR                                                                                   HUDSON           IL     61748‐7613
DENNIS FLAHERTY CUST JAMES JOSEPH FLAHERTY          175 CYPRESS RD                                                                                   YORKTOWN         NY     10598‐4505
UGMA NY                                                                                                                                              HEIGHTS
DENNIS FLANAGAN CUST KEVIN WARNER FLANAGAN          3298 ALICE ST                                                                                    SCHENECTADY      NY     12304‐2158
UGMA NY
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DENNIS FRANK OREHEK                              3103 OLD HIGHWAY 77                                                                           TOWER            MN    55790
DENNIS FREDERICK BARRETT                         8587 CYPRESS SPRING RD                                                                        LAKEWORTH        FL    33467‐2212
DENNIS FULK & BECKY FULK JT TEN                  63 HAROLD DRIVE                                                                               ASHLAND          OH    44805‐1323
DENNIS G AMOS                                    441 LAKEWOOD DR                      PO BOX 324                                               SOCIAL CIRCLE    GA    30025‐0324
DENNIS G BARNARD                                 1080 HIRA                                                                                     WATERFORD        MI    48328‐1512
DENNIS G BLACK                                   1105 N JOSSMAN RD                                                                             ORTONVILLE       MI    48462‐9014
DENNIS G BLACK & GENE BLACK JT TEN               2030 OAKDALE DR                                                                               WATERFORD        MI    48329‐3855
DENNIS G BOGART                                  PO BOX 634                                                                                    WYANDOTTE        MI    48192‐0634
DENNIS G BOGART & MAUREEN L BOGART JT TEN        PO BOX 634                                                                                    WYANDOTTE        MI    48192‐0634
DENNIS G BUE & MYONG C BUE JT TEN                AREA IV SUPPORT ACTIVITY             UNIT 157                                                 APO              AP    96218
DENNIS G BUNZOW                                  9090 SUMMERFELDT                                                                              SAGINAW          MI    48609‐9317
DENNIS G CIESLINSKI                              18918 CANAL RD                                                                                HOUGHTON         MI    49931
DENNIS G CRAIG                                   2717 S W 63RD ST                                                                              OKLAHOMA CITY    OK    73159‐1620
DENNIS G DELONG                                  117 SHAMROCK DR                                                                               SALISBURY        NC    28144‐2154
DENNIS G DOWLING                                 44141 YOST RD                                                                                 BELLEVILLE       MI    48111‐1153
DENNIS G FELTY                                   2408 PONKAN SUMMIT DR                                                                         APOPKA           FL    32712‐6414
DENNIS G FINCHAM                                 36 HORSE LN                                                                                   CONOWINGO        MD    21918‐1806
DENNIS G FINN                                    216 HILLSIDE DRIVE                                                                            FRANKLIN         TN    37067‐4079
DENNIS G GORMAN                                  3512 W LAKE ROAD                                                                              WILSON           NY    14172‐9732
DENNIS G HANKINS                                 PO BOX 549                                                                                    TROY             MO    63379‐0549
DENNIS G HAVASI & CYNTHIA Z HAVASI JT TEN        13645 WESTMINSTER                                                                             SOUTHGATE        MI    48195‐3090
DENNIS G HAWK                                    6306 SMITH RD                                                                                 LINDEN           MI    48451‐9406
DENNIS G HELMS & JANICE C HELMS JT TEN           15800 HIGHVIEW DR                                                                             APPLE VALLEY     MN    55124‐7061
DENNIS G HERRON                                  4035 CANEY CREEK LN                                                                           CHAPEL HILL      TN    37034‐2076
DENNIS G HUNTER                                  1917 S MILFORD RD                                                                             MILFORD          MI    48381‐3154
DENNIS G JAMES & BEVERLY A JAMES JT TEN          106 CAYUGA ST                                                                                 NEW CASTLE       PA    16102‐3202
DENNIS G KINDER & CAROLE A KINDER JT TEN         5238 RIDGE TRL                                                                                CLARKSTON        MI    48348‐2176
DENNIS G KOLLMORGEN                              15 CLEARY LANE                                                                                WINDSOR          CT    06095‐1660
DENNIS G LEONARD                                 47103 WOODALL RD                                                                              SHELBY TWP       MI    48317‐3041
DENNIS G LESIEWICZ                               7525 WATERFALL DRIVE                                                                          GRAND BLANC      MI    48439‐8592
DENNIS G LETNER                                  3949 E SUNWIND                                                                                OKEMOS           MI    48864‐5234
DENNIS G MARKUS                                  PO BOX 551                                                                                    AVISTON          IL    62216‐0551
DENNIS G MILLER                                  3685 WILLIAM PAUL DRIVE                                                                       AUSTELL          GA    30106‐1432
DENNIS G MONIZ                                   3585 PURLEY LANE                                                                              CONCORD          CA    94519‐1636
DENNIS G MUNAHAN & JOSEPH MONAHAN JT TEN         54 SUNHILL RD                                                                                 NESCONSET        NY    11767‐2600

DENNIS G PODLESAK & FLORA R PODLESAK JT TEN      3907 WEST MARQUETTE ROAD                                                                      CHICAGO          IL    60629‐4115
DENNIS G PRECOUR                                 5472 WOODLAWN DRIVE                                                                           FLINT            MI    48506‐1106
DENNIS G REICH                                   690 TANBARK                                                                                   DIMONDALE        MI    48821‐9791
DENNIS G ROMANO EX EST ANITA ROMANO              4 S COUNTRY RD                                                                                WESTHAMPTON      NY    11977
DENNIS G SEVERENCE CUST BRETT J SEVERENCE UGMA   3330 GEDDES                                                                                   ANN ARBOR        MI    48105‐2519
MI
DENNIS G SMITH                                   4086 GUARDIAN DR                                                                              DIANA            WV    26217‐8764
DENNIS G SPARKS                                  4041 GRANGE HALL RD LT 177                                                                    HOLLY            MI    48442‐1928
DENNIS G STAHLEY                                 8223 STAHLEY DRIVE                                                                            CINCINNATI       OH    45239‐3965
DENNIS G THOMAS & HELEN D THOMAS JT TEN          15 ABERFIELD LN                                                                               MIAMISBURG       OH    45342‐6615
DENNIS G WILKINS & ALMA C WILKINS JT TEN         2132 ABSCOTT STREET                                                                           PORT CHARLOTTE   FL    33952‐2918
DENNIS G ZIMMET                                  9838 CALLAWOODS DR                                                                            CANFIELD         OH    44406‐9118
DENNIS GALLAGHER                                 12921 W SOLA DR                                                                               SUN CITY WEST    AZ    85375‐2316
DENNIS GEORGE EVANS & LILLIAN K EVANS JT TEN     815 NORRIS LANE                                                                               BALTIMORE        MD    21221‐2141
DENNIS GERINGER                                  5911 OAKES ROAD                                                                               BRECKSVILLE      OH    44141
DENNIS GHOSTEN                                   PO BOX 107                                                                                    VAIDEN           MS    39176‐0107
DENNIS GILBERT & DENISE C GILBERT JT TEN         5329 OAKWOOD DR                                                                               NORTH            NY    14120‐9619
                                                                                                                                               TONAWANDA
DENNIS GODWIN                                   65 N 2950 W                                                                                    CLEARFIELD       UT    84015‐7474
DENNIS GRABIANOWSKI & PATRICIA GRABIANOWSKI JT 134 SUZETTE DR                                                                                  CHEEKTOWAGA      NY    14227‐3713
TEN
DENNIS GRZEBYK CUST KARIN CLARISSE GRZEBYK UGMA 35232 SIMCO DR                                                                                 CLINTON TWP      MI    48035‐2492
MI
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DENNIS GRZEBYK CUST SARAH P GRZEBYK UGMA MI     35232 SIMCO                                                                                    CLINTON TWP       MI    48035‐2492

DENNIS H BARTOW & ANNE G BARTOW JT TEN          277 OYSTER SHELL CV                                                                            BETHANY BEACH     DE    19930‐9001
DENNIS H BUCHHOLZ                               4697 HARLEM RD                                                                                 AMHERST           NY    14226‐3814
DENNIS H BURGESS                                5373 CASEY RD                                                                                  DRYDEN            MI    48428‐9364
DENNIS H DAVIS & SHARON E DAVIS JT TEN          12414 MOCERI DR                                                                                GRAND BLANC       MI    48439‐1930
DENNIS H ELLIOTT                                4720 CROSWELL                                                                                  CROSWELL          MI    48422‐9170
DENNIS H GROOME III & MRS MARDEL E GROOME TEN   4804 JEANETTE DR                                                                               METAIRIE          LA    70003‐2642
COM
DENNIS H HILL                                   12287 RICHFIELD RD                                                                             DAVISON           MI    48423‐8406
DENNIS H HOFMANN                                15 KENNETH DR                                                                                  EAST HARTFORD     CT    06118‐2429
DENNIS H JEAN                                   322 SOUTH 7 MILE RD                                                                            LINWOOD           MI    48634‐9707
DENNIS H KAWAKAMI & CANDACE K KAWAKAMI JT TEN   232 ULUA STREET                                                                                HONOLULU          HI    96821‐2134

DENNIS H LEE                                    4418 QUAIL CREEK DR                                                                            ARLINGTON         TX    76017‐1600
DENNIS H LEMIEUX                                500 QUEENSMIRROR CIR                                                                           CASSELBERRY       FL    32707‐4404
DENNIS H LOVE                                   14722 WIGWAM LN                                                                                BIG RAPIDS        MI    49307‐9503
DENNIS H NELSON                                 5172 E CHARLES LN                                                                              PORT CLINTON      OH    43452‐3502
DENNIS H PETTUS                                 PO BOX 248                                                                                     DE BERRY          TX    75639‐0248
DENNIS H POWELL                                 2420 STATE RD 67 NORTH                                                                         MARTINSVILLE      IN    46151‐7135
DENNIS H TAYLOR                                 15617 PARALLEL                                                                                 BASEHOR           KS    66007‐3085
DENNIS H TRAPPE                                 4402 WINDING WAY                                                                               FORT WAYNE        IN    46835‐1471
DENNIS H WOLVERTON                              16029 KNOBHILL DRIVE                                                                           LINDEN            MI    48451‐8785
DENNIS HALL                                     7275 FIRST ST                                                                                  WEST BLOOMFIELD   MI    48324‐3703

DENNIS HARDY & ALICE HARDY JT TEN               20815 FLOUR MILL CT                                                                            GREAT MILLS       MD    20634‐3319
DENNIS HAROLD DOWD                              1949 GLENDOWER DRIVE                                                                           LANCASTER         PA    17601‐4945
DENNIS HARVEY CUST JOHN ALEXANDER MICHAEL       PO BOX 427                                                                                     GILBERTSVILLE     PA    19525‐0427
HARVEY UGMA PA
DENNIS HAVILL                                   2040 RED DAWN SKY                                                                              LAS VEGAS         NV    89134‐5537
DENNIS HILL & MRS AUDREY HILL JT TEN            17038 ADLON RD                                                                                 ENCINO            CA    91436‐3815
DENNIS HOWARD                                   331 S CHIPPERS CT                                                                              ANDOVER           KS    67002‐8822
DENNIS HOWARD MC CLINTOCK & GLENDA RAE MC       1835 HOLLOW CREEK CT                                                                           FORT WAYNE        IN    46804‐9344
CLINTOCK JT TEN
DENNIS HULTSMAN & DIANA L HULTSMAN JT TEN       3526 E LONG LAKE RD                                                                            PHOENIX           AZ    85044‐7206
DENNIS I COTTAM                                 3507 S 500 W                                                                                   HUNTINGTON        IN    46750‐9134
DENNIS I JOHNSON                                24289 STINNETT HOLLOW RD                                                                       ATHENS            AL    35614‐3308
DENNIS I ROBERTSON                              165 GOLDENROD DR                                                                               EATON             OH    45320
DENNIS I WILLIAMSON                             4328 LYNDON LN                                                                                 ANN ARBOR         MI    48105‐9781
DENNIS J AHERN                                  1005 BRADFORD COURT                                                                            GOODVIEW          VA    24095‐3263
DENNIS J AHERN                                  1005 BRADFORD COURT                                                                            GOODVIEW          VA    24095‐3263
DENNIS J ANGLIN                                 PO BOX 6186                                                                                    KOKOMO            IN    46904‐6186
DENNIS J ATALLIAN                               1508 WILLIS PLACE                                                                              WILMINGTON        DE    19805‐4558
DENNIS J AUBIN                                  2902 FIELDING                                                                                  FLINT             MI    48503‐3004
DENNIS J AUSTIN SR                              ECONOMY MOTEL                         G4186 CORUNNA RD     APT 162                             FLINT             MI    48504
DENNIS J BAUM                                   5950 MARSHALL RD                                                                               OLIVET            MI    49076‐9452
DENNIS J BILBO                                  308 DERBY TRCE                                                                                 NASHVILLE         TN    37211‐7333
DENNIS J BILLOCK                                12340 S CUSTER RD                                                                              DUNDEE            MI    48131‐9724
DENNIS J BIRD                                   1610 KING ST                                                                                   JANESVILLE        WI    53546‐6075
DENNIS J BLATA                                  1436 HADLEY RD                                                                                 LAPEER            MI    48446‐9656
DENNIS J BREECE                                 2720 E MARKSARA DRIVE                                                                          MARION            IN    46952‐8676
DENNIS J BRENNAN                                507 FERLING CT                                                                                 WATERFORD         MI    48327‐1472
DENNIS J BROWN                                  16633 4TH SECTION RD                                                                           HOLLEY            NY    14470‐9718
DENNIS J BROWN CUST JESSE M BROWN UGMA MI       7024 RAINCLOUD                                                                                 LAS VEGAS         NV    89128‐5122

DENNIS J BROWN CUST JOHN B BROWN UGMA MI        7024 RAINCLOUD ST                                                                              LAS VEGAS         NV    89128‐5122

DENNIS J BURDICK                                24102 WALNUT CIR                                                                               PLAINFIELD        IL    60585‐2474
DENNIS J BUTLER                                 8643 JACKSON PARK BLVD                                                                         WAUWATOSA         WI    53226‐2707
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DENNIS J CAROL                                      601 MAXINE DR                                                                                  DAVISON            MI    48423‐1019
DENNIS J CARSTENSEN                                 21 STATION DR                                                                                  PENDERGRASS        GA    30567‐2259
DENNIS J CASEY                                      1913 24TH                                                                                      BAY CITY           MI    48708‐8006
DENNIS J CAVALLARO MD                               1630 SUMAC DR                                                                                  ROCHESTER HILLS    MI    48309‐2227
DENNIS J CLARK                                      4494 KENMAR ST                                                                                 JACKSON            MI    49203‐4874
DENNIS J COFFEY                                     35 MENDON ST                                                                                   BLACKSTONE         MA    01504‐1664
DENNIS J CUDNIK                                     110 ARGONNE AVE                                                                                YARDVILLE          NJ    08620‐1653
DENNIS J CZAJKOWSKI                                 8809 NEBRASKA                                                                                  LIVONIA            MI    48150‐3843
DENNIS J DEROSIER                                   865 N SCHEVRMANN RD APT 124                                                                    ESSEXVILLE         MI    48732‐2225
DENNIS J DINNEEN                                    257 HART ST                                                                                    BRISTOL            CT    06010‐2346
DENNIS J DONOHUE                                    11450 RUSSELL                                                                                  PLYMOUTH           MI    48170‐4481
DENNIS J DONOVAN                                    10555 MACARTHUR BLVD                                                                           POTOMAC            MD    20854‐3806
DENNIS J DORMAN                                     23 BRIGHT STAR DR                                                                              NEWBURGH           NY    12550‐1158
DENNIS J DRABANT                                    33089 EDGEGROVE                                                                                FRASER             MI    48026‐2037
DENNIS J DRYJA                                      11009 BUCHANAN                                                                                 BELLEVILLE         MI    48111‐3453
DENNIS J DULLY                                      125 COLONIAL LAKE DR                                                                           HAMILTON           OH    45013‐6330
DENNIS J DUMAS                                      1909 REDWOOD                                                                                   GAYLORD            MI    49735‐8610
DENNIS J DUQUETTE                                   33 KINSEY AVE                                                                                  KENMORE            NY    14217‐1903
DENNIS J EARLEY                                     G2100 KINGSWOOD DR                                                                             FLINT              MI    48507
DENNIS J FILIPOWSKI                                 26005 E MOFFAT ROAD                                                                            NEWMAN LAKE        WA    99025‐9434
DENNIS J FRICK                                      2 PINE TREE DRIVE                                                                              NEW CUMBERLND      PA    17070

DENNIS J FURLONG                                    40702 CRABTREE LANE                                                                            PLYMOUTH           MI    48170‐2742
DENNIS J GILSDORF                                   11246 WHITE LAKE RD                                                                            FENTON             MI    48430‐2478
DENNIS J GONZALES                                   17280 REVERE                                                                                   SOUTHFIELD         MI    48076‐7722
DENNIS J GONZALES & PAULA M GONZALES JT TEN         17280 REVERE                                                                                   SOUTHFIELD         MI    48076‐7722

DENNIS J GOODMAN                                    304 ILER AVE                          ESSEX ON                               N8M 1T8 CANADA
DENNIS J GORRA                                      2A                                    5 WINKEL CT                                              BALTIMORE          MD    21237‐2133
DENNIS J GUSICK                                     15998 NOLA DR                                                                                  LIVONIA            MI    48154‐1209
DENNIS J HADAWAY                                    2339 N KIRK RD                                                                                 FAIRGROVE          MI    48733‐9763
DENNIS J HARDEN                                     212 S DIVISION ST                     BOX 214                                                  CARSON CITY        MI    48811‐0214
DENNIS J HARDEN                                     PO BOX 214                                                                                     CARSON CITY        MI    48811‐0214
DENNIS J HARDEN & MARY ELLEN HARDEN JT TEN          212 S BIXISION STREET BOX 214                                                                  CARSON CITY        MI    48811‐0214
DENNIS J HEIDER & DARLENE D HEIDER JT TEN           2550 LOMBARD AVE                                                                               JANESVILLE         WI    53545‐2226
DENNIS J HERLIHY                                    7830 DOMINICAN STREET                                                                          NEW ORLEANS        LA    70118‐3744
DENNIS J HUDSON                                     PO BOX 4134                                                                                    AUBURN HILLS       MI    48326
DENNIS J HUDSON & MARY HUDSON JT TEN                BOX 4134                                                                                       AUBURN HILLS       MI    48326
DENNIS J HUDSON & WILMA M HUDSON JT TEN             BOX 4134                                                                                       AUBURN HILLS       MI    48326
DENNIS J IRWIN                                      627 A FORTH AVE                                                                                SURFSIDE BCH       SC    29575
DENNIS J KAPTUR                                     5067 BRISTOR DR                                                                                STERLING HEIGHTS   MI    48310‐4624

DENNIS J KEITH                                      ATTN GM                               2990 BLOOMFIELD CROSSING                                 BLOOMFIELD HILLS   MI    48304‐1715

DENNIS J KETTLER TOD JAN M KETTLER SUBJECT TO STA   5174 SIDNEY RD                                                                                 CINCINNATI         OH    45238
TOD RULES
DENNIS J KOBASIAR                                   1637 WEYHILL DR                                                                                WIXOM              MI    48393‐1154
DENNIS J KOEPPLINGER                                17950 SCHROEDER RD                                                                             BRANT              MI    48614‐9783
DENNIS J KONIECZKA                                  6435 S GRAHAM RD                                                                               ST CHARLES         MI    48655‐9579
DENNIS J KOPY                                       PO BOX 29461                                                                                   PARMA              OH    44129‐0461
DENNIS J KORNOS                                     7364 EDINBURGH                                                                                 LAMBERTVILLE       MI    48144‐9546
DENNIS J KOZAREK                                    1277 OAKCREST SW                                                                               WYOMING            MI    49509‐3882
DENNIS J KUPCZYK                                    16 GARFIELD CT                                                                                 DEPEW              NY    14043‐4125
DENNIS J LA BRIE                                    4621 FIVE LAKES RD                                                                             NORTH BRANCH       MI    48461‐8913
DENNIS J LANANE                                     922 LINCOLN                                                                                    ANDERSON           IN    46016‐1340
DENNIS J LANDHERR                                   129 E CHAFFEE AVE                                                                              SYRACUSE           NY    13207‐2820
DENNIS J LANNING & MARY T LANNING JT TEN            4415 S LOWE AVE                                                                                CHICAGO            IL    60609
DENNIS J LEMANSKI & JEAN M LEMANSKI JT TEN          22237 LONG BLVD                                                                                DEARBORN           MI    48124‐1146
DENNIS J LESNIAK                                    5275 CRESTWAY DR                                                                               BAY CITY           MI    48706‐3327
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DENNIS J LIGAJ                                   23341 KENSINGTON ST                                                                            TAYLOR            MI    48180
DENNIS J LOERTSCHER                              1912 CEDAR POINTE DR                                                                           JANESVILLE        WI    53546‐5364
DENNIS J MADDOCK & CHERYL A MADDOCK JT TEN       12 PLANTATION RD                                                                               PLYMOUTH          MA    02360‐4723

DENNIS J MARAONE                                 3783 BASSWOOD COURT                                                                            OAKLAND           MI    48363‐2650
DENNIS J MARTIN                                  33708 MARQUETTE                                                                                GARDEN CITY       MI    48135‐1139
DENNIS J MC CABE                                 518 LEXINGTON DR                                                                               ROCHESTER HILLS   MI    48307‐3525
DENNIS J MC KENZIE                               8180 W EATON HWY                                                                               GRAND LEDGE       MI    48837‐9237
DENNIS J MCALPINE                                17222 SHARON RD                                                                                CHESANING         MI    48616‐9567
DENNIS J MCCLUNG                                 9590 HOWE RD                                                                                   EAGLE             MI    48822‐9501
DENNIS J MCKENZIE & SHARON L MCKENZIE JT TEN     8180 W EATON HWY                                                                               GRAND LEDGE       MI    48837‐9237

DENNIS J MESIK                                   384 WYNDCLIFT PLACE                                                                            AUSTINTOWN        OH    44515‐4300
DENNIS J MICHALAK TR DENNIS J MICHALAK REVOCABLE 537 E MICHIGAN AVE                                                                             SALINE            MI    48176‐1588
TRUST UA 08/31/98
DENNIS J MICHALIK                                3345 N NINE MILE RD                                                                            PINCONNING       MI     48650‐7006
DENNIS J MILLER                                  1505 KENWOOD DR                                                                                BETHLEHEM        PA     18017‐2220
DENNIS J MILLER                                  PO BOX 117                                                                                     GREENWOOD        MO     64034‐0117
DENNIS J MILLER & ANITA K MILLER JT TEN          BOX 386                                                                                        WAYNESBORO       MS     39367‐0386
DENNIS J MORSE                                   1695 STANLEY BLVD                                                                              BIRMINGHAM       MI     48009‐4141
DENNIS J NAWROCKI                                35482 DEARING DR                                                                               STERLING HTS     MI     48312‐3710
DENNIS J NAYAL                                   4620 S KEATING                                                                                 CHICAGO          IL     60632‐4823
DENNIS J NEAD                                    130 SOUTH                                                                                      SARANAC          MI     48881‐9726
DENNIS J O'TOOLE                                 9105 ROYAL OAK LN                                                                              UNION            KY     41091‐8806
DENNIS J OPRITZA                                 20 LAUREL HILLS LANE                                                                           CANFIELD         OH     44406‐7607
DENNIS J PAPPAS                                  20697 SOMERSET CT                                                                              RIVERVIEW        MI     48192‐7931
DENNIS J PARAMO                                  14510 N FOREST BEACH SHORES RD                                                                 NORTHPORT        MI     49670‐9662
DENNIS J PARAMO & OLIVIA C PARAMO JT TEN         14510 N FOREST BEACH SHORES RD                                                                 NORTHPORT        MI     49670‐9662
DENNIS J PASZKOWSKI                              4428 ELIZABETH ST                                                                              WAYNE            MI     48184‐2154
DENNIS J PELTY & KAREN PELTY JT TEN              473 COX RD                                                                                     SAINT CLAIR      MI     48079‐5259
DENNIS J POTTS                                   1650 MIDDLE RD                                                                                 HIGHLAND         MI     48357‐3410
DENNIS J RATHNAW & NINA T RATHNAW JT TEN         1905 WALDEN CT                                                                                 SUTTONS BAY      MI     49682‐9491
DENNIS J RATKOVICH                               6671 MOUNTAIN                                                                                  TROY             MI     48098‐1909
DENNIS J RATLIFF                                 773 ALLISON ST N W                                                                             WARREN           OH     44483‐2110
DENNIS J RAY                                     1909 ARCHER TRAIL                                                                              DENTON           TX     76201‐1303
DENNIS J REDBURN                                 5515 NE SAN RAFAEL DR                                                                          KANSAS CITY      MO     64119‐4129
DENNIS J RHYNARD                                 4390 MILLINGTON ROAD                                                                           MILLINGTON       MI     48746‐9005
DENNIS J RIEVERT                                 BOX 101                                                                                        GAGETOWN         MI     48735‐0101
DENNIS J ROGERS                                  14011 IROQUOIS WOODS                                                                           FENTON           MI     48430‐1639
DENNIS J ROONEY                                  1248 ROURT 131                                                                                 MASSENA          NY     13662
DENNIS J ROSS                                    3831 SHAGBARK TRL                                                                              GALENA           OH     43021‐8025
DENNIS J ROY                                     209 N WYNN RD                                                                                  OREGON           OH     43616‐1541
DENNIS J SCHILD                                  6 MARIAN DR                                                                                    NORWALK          OH     44857‐1907
DENNIS J SCHNEIDER                               180 SABER WAY                                                                                  LAKE ORION       MI     48362‐3372
DENNIS J SEMRAU                                  360 MCKINLEY AVE                                                                               BUFFALO          NY     14217‐2422
DENNIS J STACHERA                                343 WALNUT ST                                                                                  LOCKPORT         NY     14094‐3832
DENNIS J STAHL                                   3179 E FISHER RD                                                                               BAY CITY         MI     48706‐3131
DENNIS J STRAUGHEN                               2500 GROVER AVE                                                                                PUNTA GORDA      FL     33982‐1514
DENNIS J SZUCS & GERALDINE M SZUCS JT TEN        1900 COOP RD E                                                                                 HAMPTON          SC     29924
DENNIS J TARKET                                  872 WEST SILVER LAKE ROAD                                                                      FENTON           MI     48430‐2625
DENNIS J TEPER                                   38197 N JULIAN ST                                                                              CLINTON TOWNSHIP MI     48036‐2141

DENNIS J TEPPER                                  10614 MASTERS DR                                                                               CLERMONT          FL    34711‐7182
DENNIS J THUEME                                  3580 DEVONSHIRE                                                                                STERLING HTS      MI    48310‐3720
DENNIS J TUCKOWSKI                               370 ESSEX COURT                                                                                PERKASIE          PA    18944
DENNIS J ULRICH                                  8436 ROOSEVELT DR                                                                              GASPORT           NY    14067‐9527
DENNIS J URBANIAK                                13676 ROCK PT                         # 102                                                    BROOMFIELD        CO    80020‐4257
DENNIS J VIETOR                                  111 APRIL WATERS W                                                                             MONTGOMERY        TX    77356‐8834
DENNIS J WARNER                                  4738 DUDLEY                                                                                    DEARBORN HGTS     MI    48125‐2629
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DENNIS J WILLIAMS                              22 LUB GROUNDS SOUTH DR                                                                        FLORISSANT        MO    63033‐4113
DENNIS J WILSON                                11418 SHARP RD                                                                                 LINDEN            MI    48451‐8919
DENNIS J WITT                                  4796 EAST US 40                                                                                STRAUGHN          IN    47387‐9760
DENNIS J YEARY                                 404 W 112TH ST                                                                                 KANSAS CITY       MO    64114‐5312
DENNIS J YESVILLE                              APT 4                                 818 PHILADELPHIA PIKE                                    BELLEFONTE        DE    19809‐2358
DENNIS J ZYSK                                  318 N CONNECTICUT                                                                              ROYAL OAK         MI    48067‐2034
DENNIS JAMES GREEN                             1920 FRANCIS                                                                                   FLINT             MI    48505‐5012
DENNIS JAMES STICKNEY                          1689 LEAH DRIVE                                                                                NORTH             NY    14120‐3019
                                                                                                                                              TONAWANDA
DENNIS JANKOWSKI II                            379 W ROBERTS AVE                                                                              HAZEL PARK        MI    48030
DENNIS JENKS                                   278 COUNTY RTE 22                                                                              PARISH            NY    13131‐4118
DENNIS JEWELL                                  1203 N EXPRESSWAY 77                  UNIT 395                                                 HARLINGEN         TX    78552‐4626
DENNIS JOHN DIETRICH CUST ANNMARIE CHRISTINE   2203 EVERGREEN                                                                                 ROYAL OAK         MI    48073‐3102
DIETRICH UGMA MI
DENNIS JOHN MARAONE CUST BRIAN DENNIS          5731 KIRKRIDGE TRAIL                                                                           ROCHESTER HILLS   MI    48306‐2262
MARAONE UGMA MI
DENNIS JOHN MILL                               4100 NORTH FREEMAN ROAD                                                                        ORCHARD PARK      NY    14127‐2525
DENNIS JOHN SOJA & NANCY A SOJA JT TEN         2520 BOWEN RD                                                                                  HOWELL            MI    48843‐7711
DENNIS JOSEPH FAULK                            1611 MONROE AVENUE                                                                             LEWISBURG         PA    17837‐1675
DENNIS JOSEPH HUGGINS                          8309 OCEAN TERRACE WAY                                                                         LAS VEGAS         NV    89128‐7459
DENNIS JOSEPH RYAN                             2238 LARCHMONT DRIVE                                                                           WICKLIFFE         OH    44092‐2438
DENNIS JOSEPH SWIFT                            3479 KURTZ ST                                                                                  SAN DIEGO         CA    92110‐4430
DENNIS K FERNANDES                             6174 MASTERS DR                                                                                SHREVEPORT        LA    71129‐4134
DENNIS K FINLEY                                5240 SAGAMORE DR                                                                               SWARTZ CREEK      MI    48473‐8219
DENNIS K GUPMAN                                1250 DIVIDE VIEW PL                                                                            PAGOSA SPGS       CO    81147‐9750
DENNIS K HAGAN                                 BOX 195                                                                                        ATKINS            IA    52206‐0195
DENNIS K HEBELER                               16550 SOUTH EAST STREET                                                                        MONTROSE          MI    48457
DENNIS K HOOD                                  1283 E 600 S                                                                                   JONESBORO         IN    46938‐9608
DENNIS K HOUGH                                 RT3 BOX 302                                                                                    KEARNEYSVILLE     WV    25430‐9442
DENNIS K JACOBS                                2568 BIG BUCK LANE                                                                             LAPEER            MI    48446‐8325
DENNIS K JOHNSON                               2063 WOODMONT                                                                                  CANTON            MI    48188
DENNIS K M JOHN                                719 EAST 51ST STREET                                                                           BROOKLYN          NY    11203‐5901
DENNIS K MINJARES                              21721 POPLAR                                                                                   WOODHAVEN         MI    48183‐1533
DENNIS K O'BRIEN                               1025 RIVERLAND WOODS PLACE APT 724                                                             CHARLESTON        SC    29412
DENNIS K PERRY                                 2070 MARKLEY RD                                                                                LONDON            OH    43140‐9111
DENNIS K POTTER                                4825 FENMORE AVE                                                                               WATERFORD         MI    48328‐2842
DENNIS K ROSE                                  9068 BROOKVILLE RD                                                                             PLYMOUTH          MI    48170‐5008
DENNIS K SCOTT                                 58 W BEAVER RD                                                                                 KAWKAWLIN         MI    48631‐9704
DENNIS K SHADE                                 930 GOLDEN BEECH DR                                                                            BROOKVILLE        OH    45309‐8626
DENNIS K SIZELOVE                              113 CARDINAL LN                                                                                ALEXANDRIA        IN    46001‐8104
DENNIS K STOVALL                               6823 HANCOCK AVE                                                                               SAINT LOUIS       MO    63139‐2126
DENNIS K WARD                                  PO BOX 35                                                                                      GALESBURG         MI    49053‐0035
DENNIS K WINGATE                               2801 WALDON PARK DR                                                                            LAKE ORION        MI    48359‐1334
DENNIS K WRIGHT & MRS CAROLYN ANN WRIGHT JT    2588 WOODLAND DRIVE                                                                            HALE              MI    48739‐9216
TEN
DENNIS K Y TING CUST JASON Y S TING UGMA HI    2532 MALAMA PL                                                                                 HONOLULU          HI    96822‐1957
DENNIS KEFALONITIS                             959 ANITA                                                                                      GROSSE POINTE     MI    48236‐1416
                                                                                                                                              WOOD
DENNIS KINKELA & MARIE KINKELA JT TEN           PO BOX 34                                                                                     CARLE PLACE       NY    11514
DENNIS KITCHEN                                  23 MUNSEE DRIVE                                                                               CRANFORD          NJ    07016‐3413
DENNIS KOVACH                                   725 ROBIN DR                                                                                  EASTLAKE          OH    44095‐1617
DENNIS KURONEN                                  333 BICKLEY RD                                                                                GLENSIDE          PA    19038‐4406
DENNIS KUSINA CUST KEVIN WILLIAM KUSINA UGMA MI 205 ELM                                                                                       CHARLEVOIX        MI    49720‐1137

DENNIS L ALCORN                                215 GUYER ST                                                                                   WEST UNION        IA    52175‐1215
DENNIS L ANTHONY & SHARON K ANTHONY JT TEN     1525 FOXFIRE DR                                                                                LAWRENCE          KS    66047‐1869

DENNIS L ARTRIP                                733 N LAWTON                                                                                   MOORE             OK    73160‐3808
DENNIS L BACHMAN                               1662 GRANDVIEW RD                                                                              PASADENA          MD    21122‐6148
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DENNIS L BERG                                      1701 THE GREENS WAY 812                                                                        JAX BCH         FL    32250
DENNIS L BERG & CHERYL BERG JT TEN                 1701 THE GREENS WAY 812                                                                        JAX BCH         FL    32250
DENNIS L BERRY                                     203 GILBERT DR                                                                                 FRANKLIN        TN    37064‐5025
DENNIS L BISHOP & DOROTHEA N BISHOP JT TEN         6737 CAMPBELL BLVD                                                                             LOCKPORT        NY    14094
DENNIS L BOBBITT                                   1214 N EMMA                                                                                    OLATHE          KS    66061‐6715
DENNIS L BODELL                                    4693 BELL HIGHWAY                                                                              EATON RAPIDS    MI    48827‐8080
DENNIS L BOWDOIN                                   7278 SHERWOOD                                                                                  FOWLERVILLE     MI    48836‐9341
DENNIS L BRAXDALE                                  PO BOX 43                                                                                      WELLINGTON      MO    64097‐0043
DENNIS L BROWN                                     75 BROOK HOLLOW CT                                                                             O FALLON        MO    63366‐4168
DENNIS L BRZEZINSKI                                1466 LAKE METAMORA DR                                                                          METAMORA        MI    48455‐8920
DENNIS L CHRISTMAS                                 327 BUNGALOW RD                                                                                DAYTON          OH    45417‐1303
DENNIS L COOPER                                    12037 EMELIA ST                       BOX 218                                                  BIRCH RUN       MI    48415‐0218
DENNIS L CROUCH                                    RD 1 BOX 65                                                                                    FAYETTE CITY    PA    15438‐9604
DENNIS L CRUGER                                    1574 CAMBRIDGE RD                                                                              BERKLEY         MI    48072‐1968
DENNIS L DANCZ & JEAN M DANCZ JT TEN               1919 W FISHER RD                                                                               SCOTTVILLE      MI    49454‐9624
DENNIS L DEITENBECK TR UA 02/08/06 DENNIS L        204 PORTLAND AVE                                                                               SANDUSKY        OH    44870
DEITENBECK REVOCABLE TRUST
DENNIS L EDWARDS                                   2292 IVY CREST DR                                                                              BELLBROOK       OH    45305‐1858
DENNIS L EISENHAUER                                3033 WALBRIDGE DRIVE                                                                           HAMBURG         NY    14075‐3156
DENNIS L ELLIS                                     5124 E WALLACE RD                                                                              HARRISVILLE     MI    48740‐9554
DENNIS L ENGLISH & AMELIA JAN BARNETT ENGLISH JT   829 WASHINGTON STREET #2                                                                       HOBOKEN         NJ    07030‐7046
TEN
DENNIS L FRYE                                      42509 ASHLEY CT                                                                                CANTON          MI    48187‐2301
DENNIS L FUINI                                     3944 SHIRLEY DR                                                                                SCHNECKSVILLE   PA    18078‐2642
DENNIS L FUNK                                      1961 WEST 1100 NORTH                                                                           HUNTINGTON      IN    46750‐7934
DENNIS L FUNK TOD LACEY M FUNK SUBJECT TO STA      1961 WEST 1100 NORTH                                                                           HUNTINGTON      IN    46750
TOD RULES
DENNIS L GAY                                       5061 HIDDEN RDG                                                                                METAMORA        MI    48455‐9124
DENNIS L GIERMAN & LAURA Y GIERMAN JT TEN          18150 GRANITE AVE                                                                              RIVERSIDE       CA    92508
DENNIS L GILLESPIE                                 5342 N LINDEN ROAD                                                                             FLINT           MI    48504‐1108
DENNIS L GLAZE                                     673 N 6TH ST                                                                                   MIDDLETOWN      IN    47356‐1015
DENNIS L GRIFFIN                                   105 DALE COURT                                                                                 COLUMBIA        TN    38401‐5568
DENNIS L GRIGGS & ANGELA S GRIGGS JT TEN           1309 W BROADWAY ST                                                                             PRINCETON       IN    47670‐1144
DENNIS L GRILLOT                                   262 WEST WARD                                                                                  VERSAILLES      OH    45380‐1132
DENNIS L HAECK & KATHERINE E HAECK JT TEN          2549 FAIRBLUFF RD                                                                              ZELLWOOD        FL    32798‐9777
DENNIS L HAMILTON                                  1045 W STEPHENSON ST                                                                           FREEPORT        IL    61032‐4864
DENNIS L HARPST                                    215 ONIONTOWN RD                                                                               GREENVILLE      PA    16125‐8431
DENNIS L HARRIED                                   262 COUNTY ROAD N                                                                              EDGERTON        WI    53534‐9609
DENNIS L HARVEY                                    730 FEATHER SOUND DRIVE                                                                        BOLINGBROOK     IL    60440‐1289
DENNIS L HAWVER                                    4219 FLYNN DR                                                                                  HIGHLAND        MI    48356‐1813
DENNIS L HAYWALD                                   408 PINECLIFF CT                                                                               WATERFORD       MI    48327‐1794
DENNIS L HESSELBROCK                               405 PAMELA DRIVE                                                                               OXFORD          OH    45056‐2505
DENNIS L HOLTMAN                                   3820 ROCHELLE DRIVE                                                                            ARLINGTON       TX    76016‐3003
DENNIS L JAMES                                     4320 OAKBRIAR PLACE                                                                            BUFORD          GA    30518‐3615
DENNIS L JEWELL                                    1840 BRITTAINY OAKS TRAIL NE                                                                   WARREN          OH    44484‐3964
DENNIS L JEWELL & VICTORIA J JEWELL JT TEN         1840 BRITTAINY OAKS TRAIL NE                                                                   WARREN          OH    44484‐3964
DENNIS L JOHNSON                                   1600 E BUTLER ST                                                                               MUNCIE          IN    47303‐3937
DENNIS L KAPERZINSKI                               4551 N MCVICKER                                                                                CHICAGO         IL    60630
DENNIS L KELLEY                                    7228 ANNA                                                                                      GRANDBLANC      MI    48439‐8547
DENNIS L KNAPP                                     195 MILLCREEK DR                                                                               ANDERSON        IN    46017‐1701
DENNIS L LAWRENCE                                  ATTN WEISS                            4686 N THOMAS RD                                         FREELAND        MI    48623‐8855
DENNIS L LEVITT                                    2351 CLEAR CREEK                                                                               PULASKI         TN    38478‐7418
DENNIS L LINDQUIST                                 7817 SHADOWOOD LN                                                                              KNOXVILLE       TN    37938‐4458
DENNIS L LOCKHART                                  7285 E COUNTY RD 900 N                                                                         BROWNSBURG      IN    46112‐9299
DENNIS L LOTTINVILLE & KATHLEEN M LOTTINVILLE JT   54 DUNCAN DR                                                                                   BOURBONNAIS     IL    60914‐1057
TEN
DENNIS L LOWE                                      401 NEWPORT AVE                                                                                SMITHVILLE      MO    64089‐9611
DENNIS L LUPIEN                                    12225 N LINDEN RD                                                                              CLIO            MI    48420‐8205
DENNIS L MADSON                                    93 DRIFTWOOD CT                                                                                PORT LUDLOW     WA    98365‐9226
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DENNIS L MANKEY                                    11006 CLAREWOOD CT                                                                                   FORT WAYNE        IN    46814‐8224
DENNIS L MAROLD & ANTOINETTE M MAROLD JT TEN       165 HENRY ST                                                                                         BEDFORD           OH    44146‐4553

DENNIS L MCGEE                                     435 HANCOCK SCHOOL RD                                                                                SPENCER           IN    47460‐6258
DENNIS L MEADOR                                    253 HCR 2418                                                                                         HILLSBORO         TX    76645‐5192
DENNIS L MEYER                                     9‐513 RD E                                                                                           HAMLER            OH    43524
DENNIS L MITCHELL                                  PO BOX 3099                                                                                          LOGANVILLE        GA    30052‐1969
DENNIS L MITCHELL                                  4105 WEST CO ROAD 100 NORTH                                                                          KOKOMO            IN    46901
DENNIS L MOODY                                     2911 SOUTH PEORIA DR                                                                                 PERU              IN    46970‐7097
DENNIS L MORRIS                                    5756 NORBORNE                                                                                        DEARBORN HGTS     MI    48127‐2995
DENNIS L NELSON                                    3023 PECK DR                                                                                         INDEPENDENCE      MO    64055‐2844
DENNIS L NOVOSAD                                   PO BOX 215                                                                                           BROADOUS          TX    75929‐0215
DENNIS L OSCENDOSKY                                5153 PRATT ROAD                                                                                      METAMORA          MI    48455‐9609
DENNIS L PARTYKA                                   10658 N 300 WEST                                                                                     MARKLE            IN    46770‐9745
DENNIS L PATTERSON                                 1106 JAMIE LN                                                                                        BLOOMINGTON       IN    47401‐9739
DENNIS L PATTERSON & M KAREN PATTERSON JT TEN      1106 JAMIE LN                                                                                        BLOOMINGTON       IN    47401‐9739

DENNIS L PAUL                                      8880 W G AVE                                                                                         KALAMAZOO         MI    49009‐8598
DENNIS L PECK & MRS KATHRYN L PECK JT TEN          2705 EAGLE LAKE DR                                                                                   ORLANDO           FL    32837‐6904
DENNIS L PHELPS                                    909 CAMPBELL ST                                                                                      JOLIET            IL    60435‐6933
DENNIS L PIERCE                                    615 THIRD ST                                                                                         OWOSSO            MI    48867‐2129
DENNIS L POINTER                                   2204 11TH AVE E                                                                                      HIBBING           MN    55746‐1937
DENNIS L POPILEK                                   6493 RICHFIELD RD                                                                                    FLINT             MI    48506‐2211
DENNIS L RHINE                                     139 CRYSTAL CREEK DR                                                                                 ROCHESTER         NY    14612‐3074
DENNIS L ROBINSON                                  1002 YORK DR                                                                                         PENDLETON         IN    46064‐9199
DENNIS L ROGERS                                    PO BOX 102                                                                                           DRUMMOND          WI    54832‐0102
DENNIS L RUETTIGER & PATRICIA R RUETTIGER JT TEN   1229 BUELL AVE                                                                                       JOLIET            IL    60435

DENNIS L RUITER                                    6735 EAST F AVE                                                                                      RICHLAND          MI    49083‐9725
DENNIS L RYAN                                      151 FALLCREEK PKWY                                                                                   PENDLETON         IN    46064‐8971
DENNIS L SCANLON                                   BOX 4394                                                                                             ANNAPOLIS         MD    21403‐6394
DENNIS L SCHAEFFER                                 1096 SAYLE ST                                                                                        THE VILLAGES      FL    32162‐3792
DENNIS L SCHLEGEL CUST DENNIS L SCHLEGEL JR UTMA   103 DARIEN RD                                                                                        HOWELL            NJ    07731‐1807
NJ
DENNIS L SCHLEGEL CUST JODI M SCHLEGEL UTMA NJ     103 DARIEN RD                                                                                        HOWELL            NJ    07731‐1807

DENNIS L SCHMIDT                                   934 DICKSON LN                                                                                       ROCHESTER         MI    48307‐3336
DENNIS L SCHROEDER                                 2713 6 3/16 AVE                                                                                      NEW AUBURN        WI    54757‐8768
DENNIS L SHEEHAN                                   1081 HOSBINE ST SE                                                                                   PALM BAY          FL    32909‐3870
DENNIS L SHIELDS                                   3777 PEPPERMILL                                                                                      ATTICA            MI    48412‐9742
DENNIS L SLUYTER & CONNIE J SLUYTER JT TEN         1345 E GRAND RIVER                                                                                   WILLIAMSTON       MI    48895
DENNIS L SMITH                                     1338 HANOVER ST                                                                                      OWOSSO            MI    48867‐4911
DENNIS L SMITH                                     PO BOX 148                                                                                           LUPTON            MI    48635‐0148
DENNIS L STREETER                                  18512 HWY 30 W                                                                                       CARROLL           IA    51401‐8916
DENNIS L SURBER                                    PO BOX 7046                                                                                          FLINT             MI    48507‐0046
DENNIS L TESSMAN & MARJORIE K TESSMAN JT TEN       56 SHERWOOD ROAD                                                                                     BRISTOL           CT    06010‐2677

DENNIS L THICK SR                                  1133 DIVISION ST                                                                                     PORT HURON        MI    48060‐6268
DENNIS L THORSON & LINDA J THORSON JT TEN          3961 N CATHERINE DR                                                                                  PRESCOTT VALLEY   AZ    86314‐8345
DENNIS L VOLLRATH                                  6012 31ST AVE NE                                                                                     SEATTLE           WA    98115‐7210
DENNIS L WAGNER & MRS REBECCA L WAGNER JT TEN      805 LE CARPE LN                                                                                      THE VILLAGES      FL    32162‐1445

DENNIS L WALKER & KAREN WALKER JT TEN              2811 GRAND VIEW LN                                                                                   GREENWOOD         IN    46143‐7842
DENNIS L WAMPLER                                   TR WAMPLER LIVING TRUST               UA DTD 04/28/1997    15946 OLD DAYTON ROAD                     NEW LEBANON       OH    45345‐9716
DENNIS L WHEELER                                   PO BOX 173                                                                                           WILLIAMSTON       MI    48895‐0173
DENNIS L WINTON                                    PO BOX 604                                                                                           CAMERON           MO    64429‐0604
DENNIS L WOJNAROWSKI                               7444 WELLSLEY DR                                                                                     LAMBERTVILLE      MI    48144‐9505
DENNIS L YODER                                     27899 WATSON RD                                                                                      DEFIANCE          OH    43512‐6844
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DENNIS L ZAHRNDT                                6513 NW 54TH CT                                                                                LAUDERDALE LAKES FL    33319‐7279

DENNIS LAKE & KATHLEEN LAKE JT TEN               6 HERITAGE LANE                                                                               CLIFTON PARK     NY    12065‐1113
DENNIS LAMAR MCKEEN                              1697 VERNON RD                       #C                                                       LAGRANGE         GA    30240‐4118
DENNIS LAMAR MITCHELL & CATHY RENEE MITCHELL JT PO BOX 3099                                                                                    LOGANVILLE       GA    30052‐1969
TEN
DENNIS LAMEY                                     10366 WEXFORD CT                                                                              NEWBURGH         IN    47630‐8745
DENNIS LAMEY & CATHERINE LAMEY TR PATRICK LAMEY 10366 WEXFORD CT                                                                               NEWBURGH         IN    47630‐8745
UA 05/16/00
DENNIS LAMEY & CATHERINE LAMEY TR ROBERT LAMEY 10366 WEXFORD CT                                                                                NEWBURGH         IN    47630‐8745
UA 05/16/00
DENNIS LAZZARA CUST KRISTIN LAZZARA UGMA IL      6773 MAIN STREET                                                                              TRUMBULL         CT    06611
DENNIS LEE BELL                                  PO BOX 732                                                                                    MACKINAW CITY    MI    49701‐0732
DENNIS LEE MICHAEL                               308 E 99TH STREET                                                                             KANSAS CITY      MO    64114‐4155
DENNIS LEE STIEBER                               128 W 12TH STREET                                                                             BEAUMONT         CA    92223‐1627
DENNIS LEE STIEBER CUST DAVID ALLEN STIEBER UGMA 128 W 12TH STREET                                                                             BEAUMONT         CA    92223‐1627
MI
DENNIS LEE STIEBER CUST SCOTT DAVID STIEBER UGMA 128 W 12TH STREET                                                                             BEAUMONT         CA    92223‐1627
MI
DENNIS LEE VOLZ                                  5610 LEYDEN LN                                                                                DAYTON           OH    45424‐3462
DENNIS LOUIS BRAZIL                              9317 PAN RIDGE RD                                                                             BALTIMORE        MD    21234‐1528
DENNIS LYNN BOYLES                               858 EDGEWOOD DR                                                                               CHARLESTON       WV    25302‐2812
DENNIS M ADAMS                                   1703 KEYS FERRY RD                                                                            MCDONOUGH        GA    30252
DENNIS M ANAS                                    236 E FAIR LN                                                                                 CENTENNIAL       CO    80121‐2272
DENNIS M ANDERSON                                652 MIDDLESEX ROAD                                                                            GROSSE POINTE    MI    48230‐1740
                                                                                                                                               PARK
DENNIS M BAKALE                                 96 MELLON AVE                                                                                  PATTON           PA    16668‐4916
DENNIS M BELLAIR                                632 SUNSET CIR                                                                                 FROSTPROOF       FL    33843
DENNIS M BENNETT & NEDY E BENNETT JT TEN        6393 MARKHAM LN                                                                                BATTLE CREEK     MI    49014‐9301
DENNIS M BOLT & LETITIA A BOLT JT TEN           6277 SHERIDAN RD                                                                               VASSAR           MI    48768‐9597
DENNIS M BOWMAN                                 2718 HAVERSTRAW DR                                                                             DAYTON           OH    45414‐2241
DENNIS M BRILL                                  23505 ELMIRA                                                                                   ST CLAIR SHRS    MI    48082‐2185
DENNIS M BRISTOL                                5247 CROCUS AVE                                                                                LANSING          MI    48911‐3734
DENNIS M BROOKS                                 6415 ABINGTON                                                                                  DETROIT          MI    48228‐4714
DENNIS M BUSHEY                                 82 E HOPKINS AVE                                                                               PONTIAC          MI    48340‐1931
DENNIS M CALVETTI                               112 COUNTRY WOODS DR                                                                           BEAR             DE    19701‐1436
DENNIS M CAMPBELL                               9107 S HENDERSON RD                                                                            GOODRICH         MI    48438‐9779
DENNIS M CARTER & HELEN M CARTER JT TEN         1303 EAGLEBROOKE CT                                                                            BALLWIN          MO    63021‐7549
DENNIS M CARTWRIGHT                             967 PERRY ST                                                                                   FLINT            MI    48504‐4849
DENNIS M CAUGHLIN & MRS FRANCES CAUGHLIN JT TEN 1605 LLOYD AVE                                                                                 ROYAL OAK        MI    48073‐3917

DENNIS M CHILDERS                               3939 TEASLY LN                        LOT 376                                                  DENTON           TX    76210‐8449
DENNIS M COE & PATRICIA M COE JT TEN            5 HIDDEN VILLAGE LN                                                                            MARYSVILLE       MI    48040‐2442
DENNIS M CONROY                                 2181 CLOVERDALE                                                                                MANSFIELD        OH    44906
DENNIS M CORNETT                                509 BLUE JAY TRAIL                                                                             MACEDONIA        OH    44056‐2117
DENNIS M CORRIGAN CUST D MICHAEL CORRIGAN II    29 HILLTOP DR                                                                                  MORRISVILLE      PA    19067‐5977
UGMA PA
DENNIS M D HONDT                                59480 HAYES RD                                                                                 RAY              MI    48096‐3432
DENNIS M DANCE                                  3617 FORREST TERRACE                                                                           ANDERSON         IN    46013‐5261
DENNIS M DAVIDSON                               48850 PLATE RD                                                                                 OBERLIN          OH    44074‐9619
DENNIS M DEAR                                   205 HOLLY AVE                                                                                  PRUDENVILLE      MI    48651
DENNIS M DECKER                                 7829 N MAIN ST                                                                                 DAYTON           OH    45415‐2321
DENNIS M DEFAZIO CUST TRISTEN SEAN DEFAZIO UTMA 12 CORAL DR                                                                                    TRENTON          NJ    08619‐1514
NJ
DENNIS M DEPESTEL                               16170 RAYGAERT DR                                                                              MOUNT CLEMENS    MI    48038‐4050
DENNIS M DOYLE                                  797 ST CLAIR ST                                                                                GROSSE POINTE    MI    48230‐1245
                                                                                                                                               PARK
DENNIS M EVERETT                                335 LADYSMITH LANE                                                                             MORRISTOWN       TN    37814‐2193
DENNIS M EVERHART                               4618 W COUNTY RD A                                                                             JANESVILLE       WI    53548
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DENNIS M GILBERT                                1391 BRYSON LN                                                                                  MIDLOTHIAN         TX    76065‐6130
DENNIS M GRAHAM & DOROTHY A GRAHAM JT TEN       3139 DILLON ROAD                                                                                FLUSHING           MI    48433‐9762

DENNIS M GUILMAIN                               12 GOODRICH CT                                                                                  MILFORD          MA      01757‐3428
DENNIS M GUSTY                                  1013 PEERY RD                                                                                   KINGSTON SPRINGS TN      37082‐9702

DENNIS M HARRIS                                725 N 62ND STREET                                                                                KANSAS CITY        KS    66102‐3117
DENNIS M HEDGES                                11688 TELEGRAPH                                                                                  CARLETON           MI    48117‐9044
DENNIS M HERRON                                14640 N EL PUEBLO BLVD                                                                           FOUNTAIN HLS       AZ    85268‐2625
DENNIS M HIRSCH                                210 KENWOOD PL                                                                                   MICHIGAN CITY      IN    46360‐7049
DENNIS M HOLLAND                               5170 S CLARENDON                                                                                 DETROIT            MI    48204‐2922
DENNIS M HUGHES                                2650 N SOUTHPORT AVE UNIT A                                                                      CHICAGO            IL    60614‐1228
DENNIS M HULTMAN                               PO BOX 493                                                                                       WAYNESVILLE        MO    65583‐0493
DENNIS M HUNT                                  530‐29 RUSSET WOODS LANE                                                                         AURORA             OH    44202‐9112
DENNIS M HYNES                                 1241 RHINE LANDER AVE                                                                            BRONX              NY    10461‐1828
DENNIS M IRISH                                 206 N TUSCOLA                                                                                    BAY CITY           MI    48708
DENNIS M JAMES                                 615 FERN CRT                                                                                     CINCINNATI         OH    45244
DENNIS M JEDLOWSKI                             PO BOX 249                                                                                       HIGGINS LAKE       MI    48627‐0249
DENNIS M JOZSA                                 4017 AUTUMN HUE LANE                                                                             DAVISON            MI    48423‐8974
DENNIS M KEARNS                                47 FAIRVIEW DR                                                                                   EAST HANOVER       NJ    07936‐3506
DENNIS M KEARNS & MRS MARGARET M KEARNS JT TEN 47 FAIRVIEW DR                                                                                   E HANOVER          NJ    07936‐3506

DENNIS M KENNEDY                                1814 E WATERBERRY DR                                                                            HURON              OH    44839‐2263
DENNIS M KESSEL                                 403 NEWBURGH AVE                                                                                BUFFALO            NY    14215‐3524
DENNIS M KINNEY                                 PO BOX 8113                                                                                     NAPLES             FL    34101‐8113
DENNIS M KOHAN                                  36 GASKILL DR                                                                                   TUCKERTON          NJ    08087‐2086
DENNIS M KOLENC                                 7021 STONERIDGE DR                                                                              NORTH RICHLAND     TX    76180‐3614

DENNIS M KOLLMAR & JANE ANN KOLLMAR JT TEN      PO BOX 1261                                                                                     LOGANSPORT         IN    46947‐7261

DENNIS M LALOVICH                               1795 CASTLEWOOD DR                                                                              MADISON HGTS       MI    48071‐2266
DENNIS M LINDSAY                                1484 GREYSTONE LN                                                                               MILFORD            OH    45150‐9523
DENNIS M LINDSEY                                4326 W 138TH ST                        #B                                                       HAWTHORNE          CA    90250‐7112
DENNIS M LOUNEY & MARYANN K LOUNEY JT TEN       408 NORTH CLEMENS AVE                                                                           LANSING            MI    48912‐3104
DENNIS M MALLOY                                 2219 PINE VALLEY DRIVE                                                                          HOUSTON            TX    77019‐3509
DENNIS M MCFARLAND                              1985 FOX TRACE TRAIL                                                                            CUYAWOGA FALLS     OH    44223‐3740

DENNIS M MCGONIGAL                              2629 PECKSNIFF RD SHERWOOD                                                                      WILMINGTON         DE    19808‐3026
DENNIS M MCKEOUGH                               28172 SUTHERLAND                                                                                WARREN             MI    48093‐4337
DENNIS M MCLAUGHLIN                             2236 BIG CYPRESS BL                                                                             LAKELAND           FL    33810‐2307
DENNIS M MCMILLION                              2620 AMBLER RD                                                                                  BALTIMORE          MD    21222‐2205
DENNIS M MCPHEE                                 2352 LEGEND WOODS DR                                                                            GRAND LEDGE        MI    48837‐8933
DENNIS M MEYERS                                 6 SHAWNEE DR                                                                                    SAINT CHARLES      MO    63301‐0643
DENNIS M MIKITA                                 10255 PINE ISLAND DR                                                                            SPARTA             MI    49345‐9332
DENNIS M MOHOROVIC                              228 CLEVELAND AVE                                                                               BALTO              MD    21222‐4236
DENNIS M MORAN                                  39 BERMUDA AVE                                                                                  LAKE HAVASU CITY   AZ    86403‐5357

DENNIS M MUELLER & BARBARA J MUELLER JT TEN     104 SAPPINGTON DR                                                                               COLUMBIA           MO    65203‐1660

DENNIS M NABOR                                  53652 BUCKINGHAM CT                                                                             SHELBY TOWNSHIP    MI    48316‐2050

DENNIS M NOLAN                                  10104 LYNN DR                                                                                   NORTH ROYALTON     OH    44133‐1426

DENNIS M NORROD                                 10178 I DRIVE NORTH                                                                             BATTLE CREEK       MI    49014‐8945
DENNIS M OCONNOR JR                             #205                                   16430 PARK LAKE RD                                       EAST LANSING       MI    48823‐9471
DENNIS M OSBORNE                                4733 S HURON RIVER DR                                                                           FLAT ROCK          MI    48134‐9306
DENNIS M PACHOLSKI JR                           3806 TICKSEED DRIVE                                                                             ZION               IL    60099
DENNIS M PARSONS                                6584 KESTREL CIR                                                                                FORT MYERS         FL    33966‐1360
DENNIS M POISSON                                46446 MARINER DR                                                                                MACOMB             MI    48044‐5758
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DENNIS M PROVENZANO                             49070 FOX DR S                                                                                 PLYMOUTH          MI    48170‐2896
DENNIS M QUINN & MEAGAN J QUINN JT TEN          19978 MAPLEWOOD                                                                                LIVONIA           MI    48152
DENNIS M RAMELLA                                105 GLEN ORCHARD WAY                                                                           DANIELS           WV    25832‐9010
DENNIS M RINGLER                                296 DIMATTEO DR                                                                                N TONAWANDA       NY    14120‐6476
DENNIS M SARVER                                 96 VILLAGE LN                                                                                  LEVITTOWN         PA    19054‐1224
DENNIS M SCHROTH                                11182 WHISPERING RIDGE                                                                         FENTON            MI    48430‐3413
DENNIS M SIMMONS                                20259 CHAPEL                                                                                   DETROIT           MI    48219‐1330
DENNIS M SMITH                                  1127 MANATEE LANE                                                                              HOUSTON           TX    77090‐1227
DENNIS M SMITH                                  PO BOX 712                                                                                     MANALAPAN         NJ    07726‐0712
DENNIS M SMITH                                  22 YORK ROAD                                                                                   NIAGARA FALLS     NY    14304‐3724
DENNIS M SMITH                                  56502 M‐40 SOUTH                                                                               MARCELLUS         MI    49067‐9426
DENNIS M SULICK                                 1589 DUFFUS N E                                                                                WARREN            OH    44484‐1104
DENNIS M TENCZA CUST GIGIA ANNE MARIE TENCZA    29627 CURTIS                                                                                   LIVONIA           MI    48152‐4516
UGMA NY
DENNIS M TENCZA CUST KATHLEEN RENEE TENCZA      13286 FOLEY RD                                                                                 EMMETT            MI    48022‐1603
UGMA NY
DENNIS M TENCZA CUST MICHAEL ALAN TENCZA UGMA   13286 FOLEY RD                                                                                 EMMETT            MI    48022‐1603
NY
DENNIS M TRENT                                  1204 E M61                                                                                     GLADWIN           MI    48624‐8062
DENNIS M TURKETTE                               204 PEQUEEN ST                                                                                 FORT WAYNE        IN    46804‐1048
DENNIS M UREN                                   2890 WEAVERTON                                                                                 ROCHESTER HILLS   MI    48307‐4661
DENNIS M VAN FLETEREN & DOROTHY VAN FLETEREN    4234 SANTA FE                                                                                  CRP CHRISTI       TX    78411
TEN COM
DENNIS M VINCENT                                1460 ROYAL CREST CT                                                                            MONUMENT          CO    80132‐8463
DENNIS M WEGLARZ                                7550 WILLOW HWY                                                                                GRAND LEDGE       MI    48837‐8991
DENNIS M WEIDNER                                3025 ONTARIO RD APT 206                                                                        WASHINGTON        DC    20009‐6031
DENNIS M WELCH                                  960 FERNGATE                                                                                   ST LOUIS          MO    63141‐6167
DENNIS M WILLETT                                4955 E HARVARD                                                                                 CLARKSTON         MI    48348‐2233
DENNIS M WISNIEWSKI                             28725 VAN DYKE AVENUE                                                                          WARREN            MI    48093‐2709
DENNIS M YAHNER                                 3930 ROLLINS AVE                                                                               WATERFORD         MI    48329‐2058
DENNIS M YORKE                                  5465 WYNDEMERE SQ                                                                              SWARTZ CREEK      MI    48473‐8919
DENNIS M YORKE & POLLY A YORKE JT TEN           5465 WYNDEMERE SQ                                                                              SWARTZ CREEK      MI    48473‐8919
DENNIS MACKLER                                  1133 A FILBERT ST                                                                              SAN FRANCISCO     CA    94109‐1711
DENNIS MANKO & MARGARET J MANKO JT TEN          4870 ROSS DRIVE                                                                                WATERFORD         MI    48328‐1044
DENNIS MARCHESANI                               632 FOURTH ST                                                                                  LYNDHURST         NJ    07071‐3202
DENNIS MARCIN & LILLIAN MARCIN JT TEN           29034 DEMBS                                                                                    ROSEVILLE         MI    48066‐2013
DENNIS MARKISELLO                               3540 CRAB ORCHARD AVE                                                                          BEAVER CREEK      OH    45430‐1465
DENNIS MARTIN ROWLAND                           47303 ASHLEY CT                                                                                CANTON            MI    48187‐1419
DENNIS MC BRIDE                                 5078 E ROCKWELL                                                                                YOUNGSTOWN        OH    44515‐1743
DENNIS MC CARTHY                                3492 WILD LILAC RD APT 321                                                                     THOUSAND OAKS     CA    91360‐8442
DENNIS MC FADDEN                                C/O PSYCHOLOGY DEPT                   UNIV OF TEXAS                                            AUSTIN            TX    78712
DENNIS MERRILL BAXTER                           22 CROMARTY LN                                                                                 BELLA VISTA       AR    72715
DENNIS MICHAEL CUNNINGHAM & VELMA L             286 CRESCENT DRIVE                                                                             ORCHARD PARK      NY    14127‐3284
CUNNINGHAM JT TEN
DENNIS MICHAEL SEELY                            PO BOX 1479                                                                                    SHOW LOW          AZ    85902
DENNIS MICHAEL SWIFT                            873 EAST HOWARDS RD 23                                                                         CAMP VERDE        AZ    86322
DENNIS MICHAEL WILHELM                          2010 GULF RD                                                                                   ELYRIA            OH    44035‐1413
DENNIS MICHAEL ZAVIDNY                          1719 WILD MUSTANG CANYON                                                                       KATY              TX    77493‐8061
DENNIS MICHALAK                                 3111 WESTWOOD EST DR                                                                           ERIE              PA    16506‐5601
DENNIS MICKEL CONWAY                            5053 WALKER RD NW                                                                              RAPID CITY        MI    49676‐9544
DENNIS MILLER CUST LEAH RUTH MILLER UTMA MA     47 MAC ARTHUR RD                                                                               WELLESLEY         MA    02482‐4421

DENNIS MINDER                                   223 EASTWOOD DRIVE                                                                             SOUTHLAKE        TX     76092‐7901
DENNIS MINELLA                                  GAGE RD                                                                                        BREWSTER HEIGHTS NY     10509

DENNIS MORGAN                                   5641 GREENWAY                                                                                  DETROIT           MI    48204‐2176
DENNIS MOYER                                    194 SCHOONER CT                                                                                RICHMOND          CA    94804‐7413
DENNIS MOYER                                    194 SCHOONER CT                                                                                RICHMOND          CA    94804
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DENNIS MURDOCK & SHELLIE RAE MURDOCK JT TEN        325 COUNTRY VINEYARD DR                                                                        VALRICO          FL    33594‐3048

DENNIS MURRAY & LINETTE MURRAY JT TEN              PO BOX 556                                                                                     MANCHESTER       CT    06045
DENNIS N BENNINGER                                 6376 N 41 RD                                                                                   MANTON           MI    49663‐9797
DENNIS N BOOMERSHINE                               6131 FACTORY RD                                                                                WEST ALEX        OH    45381‐9537
DENNIS N KARLS                                     4094 STONEY RIDGE RD                                                                           AVON             OH    44011‐2222
DENNIS N KELLEY                                    1826 BOWERS RD                                                                                 LAPEER           MI    48446‐3302
DENNIS N LEE CUST CHRISTOPHER LEE UGMA IN          1930 RED OAK DR                                                                                FRANKLIN         IN    46131‐8546
DENNIS N LEE CUST JEFFREY LEE UGMA IN              2489 WEST INDIAN CREEK RD                                                                      TRAFALGAR        IN    46181‐8976
DENNIS N MCCAMMACK                                 8310 WAVERLY RD                                                                                MARTINSVILLE     IN    46151‐7617
DENNIS N MCLANE                                    7676 S COUNTY LINE RD                                                                          GAINES           MI    48436‐8809
DENNIS N PAYNE                                     4017 DUFFIELD RD                                                                               FLUSHING         MI    48433
DENNIS N SCHECK                                    1009 5TH ST                                                                                    SANDUSKY         OH    44870‐4010
DENNIS N WELCH                                     6121 HYDE PARK ST                                                                              ROMULUS          MI    48174‐4201
DENNIS NEAL                                        4766 CHALET LANE                                                                               WYOMING          MI    49509‐4967
DENNIS NELSON GRIFFIN                              PO BOX 88                                                                                      PISGAH FOREST    NC    28768‐0088
DENNIS NEWLAND                                     804 N MAIN ST                                                                                  MOUNT PLEASANT   TN    38474‐1018

DENNIS NEWMAN EX U/W GEORGE J NEWMAN               2658 DEL MAR HTS RD #141                                                                       DEL MAR          CA    92014‐3100
DENNIS O CROSBY                                    166 E CASS AVE                                                                                 MUNGER           MI    48747‐9719
DENNIS O DANDRIDGE                                 8730 CROCUSLAWN                                                                                DETROIT          MI    48204‐2504
DENNIS O DUNHAM                                    55 S UNIONVILLE RD                                                                             CARO             MI    48723‐9666
DENNIS O ERVIN                                     508 3RD ST                                                                                     BELTON           MO    64012‐2528
DENNIS O MC NANEY & MRS LEONILDA MC NANEY JT       701 KETTNER BOULEVARD                 UNIT 48                                                  SAN DIEGO        CA    92101‐5963
TEN
DENNIS O OWEN                                      2700 WILLOWICK WAY                                                                             ANDERSON         IN    46012‐9552
DENNIS O RIPPEON & PRISCILLA A RIPPEON JT TEN      14931 SPRINGFIELD RD                                                                           DARNESTOWN       MD    20874‐3417

DENNIS O WEEKS                                     7576 BROOKSTONE CIR                                                                            FLOWERY BR       GA    30542‐7711
DENNIS O'NEAL WATSON                               PO BOX 2193                                                                                    JACKSON          MS    39225‐2193
DENNIS ORLEWICZ & CHERYL ORLEWICZ JT TEN           1656 LEXINGTON                                                                                 PLYMOUTH         MI    48170‐1053
DENNIS ORZECHOWSKI                                 9453 GILLMAN                                                                                   LIVONIA          MI    48150‐4150
DENNIS OUTCALT                                     2865 WESTHOLLOW DR 35                                                                          HOUSTON          TX    77082‐3320
DENNIS P AIKIN                                     8654 M 15                                                                                      CLARKSTON        MI    48348
DENNIS P AURES                                     36 SANDERS ROAD                                                                                BUFFALO          NY    14216‐1216
DENNIS P BAZINET                                   1315 DRUMMOND AVE                     SUDBURY ON                             P3A 4Y9 CANADA
DENNIS P BEAVER                                    3414 DALE                                                                                      FLINT            MI    48506‐4710
DENNIS P BELANGER                                  6200 N RIVER POINTE DR                APT I202                                                 GARDEN CITY      ID    83714‐1869
DENNIS P BUCKLEY                                   BOX 1243                                                                                       LOOMIS           CA    95650‐1243
DENNIS P BUCKNER                                   5460 CLUBOK DR                                                                                 FLINT            MI    48505‐1001
DENNIS P CAMLIN                                    921 N HICKORY ST                                                                               SCOTTDALE        PA    15683‐1049
DENNIS P CARLSON                                   3801 E ROTAMER RD                                                                              JANESVILLE       WI    53546‐9336
DENNIS P CURTIN                                    306 E RAVINE AVE                                                                               WILLOW SPGS      IL    60480‐1482
DENNIS P DABLAIN                                   70 ALLEN ST                                                                                    TERRYVILLE       CT    06783‐6305
DENNIS P DALFONSO                                  2611 W WAYNE LN                                                                                ANTHEM           AZ    85086‐4915
DENNIS P DEWENTER                                  521 LA PAZ                                                                                     PASADENA         CA    91107‐5256
DENNIS P DOBIE & GAIL L DOBIE JT TEN               44249 PENTWATER DRIVE                                                                          CLINTON TOWNSHIP MI    48038‐4467

DENNIS P DODD                                      RR 3                                                                                           PITTSFIELD       IL    62363‐9803
DENNIS P DOOLEY                                    27701 BLOSSOM BLVD                                                                             NORTH OLMSTED    OH    44070‐1720
DENNIS P FITZPATRICK                               3318 PTARMIGAN DR                     APT 3A                                                   WALNUT CREEK     CA    94595‐3155
DENNIS P FITZPATRICK & ISABEL FITZPATRICK JT TEN   1061 SILVERHILL DR                                                                             LAFAYETTE        CA    94549‐1734

DENNIS P FLYNN                                     7255 WEBSTER                                                                                   MOUNT MORRIS     MI    48458‐9430
DENNIS P GALLAGHER                                 2105 EMORY RD                                                                                  REISTERSTOWN     MD    21136‐4019
DENNIS P GRIERSON                                  6067 THOMAS ST                                                                                 DAVISON          MI    48423‐8907
DENNIS P HENNE & JANET M HENNE JT TEN              625 ORR ST                                                                                     BAYPORT          MI    48720‐9700
DENNIS P KELLY                                     1740 FRANKLIN ST                      APT 6                                                    SAN FRANCISCO    CA    94109‐3535
DENNIS P KLINKHAMER                                31954 BRIDGE                                                                                   HARRISON TWP     MI    48045‐2806
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DENNIS P KLOSS                                 1086 BUCKINGHAM RD                                                                            HASLETT           MI    48840‐9796
DENNIS P KOSTRZEWSKI                           8883 JORDAN RD                                                                                YALE              MI    48097‐2422
DENNIS P KUSCHEL                               4412 LEEWARD COVE                                                                             FORT WAYNE        IN    46804‐4816
DENNIS P LANG                                  2704 WEYMOUTH ROAD                                                                            HINCKLEY          OH    44233‐9542
DENNIS P LAWRENCE                              PO BOX 478                                                                                    DAVISON           MI    48423‐0478
DENNIS P MATHEWS                               4322 N MASON                                                                                  CHICAGO           IL    60634‐1623
DENNIS P MICHAUD                               3910 BUSH COURT                                                                               ABINGDON          MD    21009‐1193
DENNIS P MORITZ                                8713 OAKES ROAD                                                                               ARCANUM           OH    45304‐8903
DENNIS P MURNIGHAN                             21401 BURGUNDY                                                                                FRANKFORT         IL    60423‐9435
DENNIS P MURRAY & DONNA M MURRAY JT TEN        54612 ASHFORD CT                                                                              SHELBY TOWNSHIP   MI    48316‐1294

DENNIS P MUSHEFF & DIANE L MUSHEFF JT TEN     4131 CHESTERLAND BLVD                                                                          STOW              OH    44224
DENNIS P RAPPEL                               68 GRANT DRIVE                                                                                 HIGHLAND          MI    48357‐3778
DENNIS P SCHLEE                               219 E MILLER RD                                                                                LANSING           MI    48911‐5640
DENNIS P SHINABERRY                           506 HICKORYWOOD BLVD                                                                           CARY              NC    27519‐9527
DENNIS P SHRINER                              4143 PETTIT AVE                       NIAGARA FALLS ON                       L2E 6K4 CANADA
DENNIS P SMITH                                5673 VASSAR AVE                                                                                YOUNGSTOWN        OH    44515‐4229
DENNIS P SOUTER                               32 PEBBLE CREEK DRIVE                                                                          CHEEKTOWAGA       NY    14227‐2802
DENNIS P THOMPSON                             410 W JACKSON ST                                                                               ALEXANDRIA        IN    46001‐1311
DENNIS P WINTER                               3518 F HIGHLAND CENTER DR                                                                      GREEN BAY         WI    54311‐7355
DENNIS P WOODBURN & CYNTHIA L WOODBURN JT TEN 426 ADENA ST NE                                                                                NORTH CANTON      OH    44720‐2510

DENNIS PANZAVECCHIA                            508 RIVER RD                                                                                  CHATHAM           NJ    07928‐1259
DENNIS PATTEN                                  50 HOLLYHOCK DR                                                                               CRANSTON          RI    02920
DENNIS PATTERSON                               6011 GREENLEAF                                                                                WHITTIER          CA    90601‐3522
DENNIS PAUL BRACY                              232 NATALIE LN                                                                                HUBERT            NC    28539‐3549
DENNIS PAUL FERGUSON                           4314 WILDWOOD COURT                                                                           JACKSON           MS    39212‐3527
DENNIS PETERS THOMPSON                         4750 DEL MORENO PL                                                                            WOODLAND HILLS    CA    91364‐4633

DENNIS PETERSEN                                3311 MARLETTE RD                                                                              MARLETTE          MI    48453‐8166
DENNIS PEYTON & AURELIE PEYTON JT TEN          43947 ORLEANS CT                                                                              CANTON            MI    48187‐2114
DENNIS PHARO                                   1150 SANGER ST                                                                                PHILADELPHIA      PA    19124‐1131
DENNIS PINKERTON                               2100 S OCEAN LANE APT #2205                                                                   FT LAUDERDALE     FL    33316
DENNIS PREBENDA                                674 BLACK HAWK COURT                                                                          LAKE MARY         FL    32746‐5122
DENNIS R APSEY                                 1104 PALMER STREET                                                                            OWOSSO            MI    48867‐4419
DENNIS R ASH                                   625 VICTORIA PL                                                                               WEST LINN         OR    97068‐9718
DENNIS R BASKE                                 16800 88TH CT                                                                                 ORLAND HILLS      IL    60477‐6008
DENNIS R BOYD                                  547 BROWN RD                                                                                  DANVILLE          IL    61832‐7705
DENNIS R BRITTON                               12906 TOWER ROAD                                                                              THURMONT          MD    21788‐1408
DENNIS R BUCHANAN                              440 DEVILLEN                                                                                  ROYAL OAK         MI    48073‐3650
DENNIS R BURNS                                 1348 DRY BROOK CT                                                                             DERBY             KS    67037‐2832
DENNIS R CARLSON                               6262 WILLARD RD                                                                               BIRCH RUN         MI    48415‐8771
DENNIS R CHARCHAN                              398 MEADOWVIEW LANE                                                                           ATTICA            MI    48412‐9688
DENNIS R CHRISTENSON                           PO BOX 426                                                                                    UNADILLA          NY    13849‐0426
DENNIS R CORBIN & GAYLE ANN CORBIN JT TEN      2249 CHEVY CHASE BLVD                                                                         KALAMAZOO         MI    49008‐2225
DENNIS R CUNNINGHAM                            2216 LESLEY AV                                                                                INDIANAPOLIS      IN    46218‐4010
DENNIS R DAWSON CUST JAMES DOUGLAS DAWSON      17216 BLACK CREEK CT                                                                          HARLAN            IN    46743‐9773
UTMA IN
DENNIS R DEMICHIEL                             8305 AIRPORT LANE                                                                             BRIGHTON          MI    48114‐6912
DENNIS R DICKSON                               1694 SINTON RD                                                                                EVERGREEN         CO    80439‐4602
DENNIS R DINSMORE & EILEEN S DINSMORE JT TEN   12441 N LINDEN RD                                                                             CLIO              MI    48420‐8240

DENNIS R EARNEST                               355 N STINE RD                                                                                CHARLOTTE         MI    48813‐8857
DENNIS R EDMONDS & PAMELA J EDMONDS JT TEN     907 PENN ST                                                                                   NEW BETHLEHEM     PA    16242‐1123

DENNIS R EDMONDS CUST AMANDA G EDMONDS       907 PENN ST                                                                                     NEW BETHLEHEM     PA    16242‐1123
UGMA PA
DENNIS R EDMONDS CUST REBECCA D EDMONDS UGMA 907 PENN ST                                                                                     NEW BETHLEHEM     PA    16242‐1123
PA
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DENNIS R ENGLAND                                  8095 N ELMS RD                                                                               FLUSHING        MI    48433‐8815
DENNIS R FALTYNSKI                                1316 OVERLAND DR                                                                             HIGH POINT      NC    27262‐7466
DENNIS R FINNEY                                   648 MARIE                                                                                    WESTLAND        MI    48186‐8064
DENNIS R FORDT                                    5704 ROBERTS RD                                                                              COTTRELLVILLE   MI    48039‐3213
DENNIS R FRANCIS                                  3200 N LAKESIDE DR                                                                           SANFORD         MI    48657‐9446
DENNIS R GAGNE                                    73 COUNTRY GREEN DR                                                                          AUSTINTOWN      OH    44515‐2214
DENNIS R GEITMAN                                  14786 CENTER ST                                                                              ALPENA          MI    49707‐9115
DENNIS R GERSCHUTZ                                B511 COUNTY RD 12                                                                            HOLGATE         OH    43527‐9730
DENNIS R GORDON                                   2240 N ARLINGTON                                                                             INDIANAPOLIS    IN    46218‐4121
DENNIS R GREEN                                    10205 RD 209                                                                                 OAKWOOD         OH    45873‐9331
DENNIS R GUSS                                     3359 W 300 SOUTH                                                                             PERU            IN    46970
DENNIS R HABITZ                                   922 WALNUT GLEN CT                                                                           OAKLAND         MI    48363‐1736
DENNIS R HARRELL                                  PO BOX 7265                                                                                  DBN             MI    48121‐7265
DENNIS R HINKLE                                   145 LOCUST AVE                                                                               WINCHESTER      VA    22601‐4943
DENNIS R HOBBS                                    355 SYCAMORE SPRINGS DR                                                                      SPRINGBORO      OH    45066‐8952
DENNIS R HODGE                                    2400 NORTH SHORE BLVD                                                                        ANDERSON        IN    46011‐1338
DENNIS R HOLT                                     62496 EAST AMBERWOOD DR                                                                      TUCSON          AZ    85739‐1830
DENNIS R HOLUB                                    3488 ENSIGN COVE                                                                             AURORA          OH    44202‐9050
DENNIS R HOLUB & CYNTHIA K HOLUB JT TEN           3488 ENSIGN COVE                                                                             AURORA          OH    44202‐9050
DENNIS R HOULBERG                                 1212 FAWNDALE RD                    PICKERING ON                           L1V 4M3 CANADA
DENNIS R JANICKI & MARY M JANICKI JT TEN          567 GEORGE WASHINGTON TURNPIKE                                                               BURLINGTON      CT    06013‐1716
DENNIS R JENDRASIK & ROSEMARIE E BERSANI JT TEN   61 LAKESIDE CT                                                                               WEST SENECA     NY    14224‐1011

DENNIS R JONES                                 615 N CROSBY AVE                                                                                JANESVILLE      WI    53545‐2747
DENNIS R KEITH                                 1722 E RIVERSIDE DR                                                                             INDIANAPOLIS    IN    46202‐2041
DENNIS R KERWICK                               1912 GUNSTON PL                                                                                 OWENSBORO       KY    42303‐1777
DENNIS R KNOX                                  624 CHERRY PARK OVAL                                                                            AURORA          OH    44202
DENNIS R KOLLANDER                             9666 WAGNER RD                                                                                  HOLLAND         NY    14080‐9767
DENNIS R KOWSKI                                915 STOUGH AVE                                                                                  HINSDALE        IL    60521‐4355
DENNIS R KUNZE                                 710 FIRST STREET SW                                                                             MADELIA         MN    56062‐1202
DENNIS R LAZAR CUST DANIEL ANTHONY LAZAR UGMA 5445 FERNWOOD DR                                                                                 FLINT           MI    48532‐2117
MI
DENNIS R LEBEAU                                401 RAY DRIVE                                                                                   MONROE          LA    71203‐2327
DENNIS R LEY                                   1100 SEARLES ESTATE DR                                                                          ST JOHNS        MI    48879‐1100
DENNIS R LINK                                  63 CHILTON AVE                                                                                  MANSFIELD       OH    44907‐1307
DENNIS R LUTZ                                  2533 ARMOND ROAD                                                                                HOWELL          MI    48843‐7752
DENNIS R MADDEN & GLADYS K MADDEN JT TEN       10246 E FRANCIS RD                                                                              OTISVILLE       MI    48463‐9410
DENNIS R MARLEY                                4127 SHENANDOAH PKWY                                                                            BRUNSWICK       OH    44212‐2979
DENNIS R MEADORS                               8535 E 500 S                                                                                    UPLAND          IN    46989‐9330
DENNIS R MILLER                                22 CRAIG PLACE                                                                                  PENNSVILLE      NJ    08070‐2310
DENNIS R MOORE                                 1169 IRMAL DRIVE                                                                                DAYTON          OH    45432‐1706
DENNIS R NELIUS                                44171 BRANDYWYNE                                                                                CANTON          MI    48187‐2103
DENNIS R NELIUS & BRENDA L NELIUS JT TEN       44171 BRANDYWYNE                                                                                CANTON          MI    48187‐2103
DENNIS R NOVAK CUST JARED DENNIS NOVAK UGMA CA 8914 1/2 KRUEGER STREET                                                                         CULVER CITY     CA    90232

DENNIS R O'LEARY                                  18802 92ND AVE NE                                                                            BOTHELL         WA    98011‐2209
DENNIS R OHARA                                    1413 ORANGE ST                                                                               LA HABRA        CA    90631‐2917
DENNIS R PARKS                                    1441 OTTAWA TRAIL                                                                            NILES           MI    49120‐3130
DENNIS R PAYNE                                    P O BOX 275                                                                                  ZALESKI         OH    45698
DENNIS R PETRO                                    10236 HARMONY LN                                                                             BROOKLYN        OH    44144‐3059
DENNIS R PRICE & DOROTHY J PRICE JT TEN           33991 N 2020 EAST RD                                                                         ROSSVILLE       IL    60963‐7048
DENNIS R PRICE & DOROTHY P PRICE JT TEN           3391 NORTH 2020 EAST RD                                                                      ROSSVILLE       IL    60963
DENNIS R RICHARDS                                 811 PEPPER LANE                                                                              O FALLON        MO    63366‐1871
DENNIS R ROBBINS TR UA 12/14/92 PEARL L ROBBINS   4465 S MATHEWS WAY                                                                           SALT LAKE CTY   UT    84124
FAMILY TUST
DENNIS R ROBINSON                                 1883 MISTY MEADOW LANE                                                                       LAPEER          MI    48446‐9403
DENNIS R ROGALEWSKI                               426 WASHINGTON STREET SE                                                                     GRAND RAPIDS    MI    49503‐4418
DENNIS R SAARI & ELMER E SAARI JT TEN             1700 VANCOUVER                                                                               SAGINAW         MI    48603‐6702
DENNIS R SCHICK & LINDA S SCHICK JT TEN           2060 HOWLAND WILSON RD NE                                                                    WARREN          OH    44484‐3919
                                             09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

DENNIS R SCHWERTNER                             7159 GILLETTE RD                                                                                 FLUSHING          MI    48433‐9207
DENNIS R SCISCENTO                              19733 SCHOOLCRAFT ST                                                                             CANOGA PARK       CA    91306‐3919
DENNIS R SHIVELY & CONNIE D SHIVELY JT TEN      140 QUAIL DRIVE                                                                                  DILLSBURG         PA    17019‐8507
DENNIS R SHORKEY                                2040 GARFIELD RD                                                                                 AUBURN            MI    48611‐9762
DENNIS R SIPLE                                  422 BIG ELK CHAPLE ROAD                                                                          ELKTON            MD    21921‐2610
DENNIS R SKIRVIN & MRS DIANA S SKIRVIN JT TEN   3519 WOODS COURT                                                                                 MANHATTAN         KS    66503‐2127
DENNIS R STANTON                                7155 NEW HARMONY RD                                                                              MARTINSVILLE      IN    46151‐7523
DENNIS R STEVANUS                               7134 SPRING LAKE TRAIL                                                                           SAGINAW           MI    48603‐1674
DENNIS R STEVENS                                8877 DIXON ROAD                                                                                  MONROE            MI    48161‐9660
DENNIS R TEETERS                                6000 W 325 S                                                                                     TRAFALGAR         IN    46181‐9149
DENNIS R THINEL                                 15599 FRAZHO RD                                                                                  ROSEVILLE         MI    48066‐5029
DENNIS R TICE                                   251 E ST JOSEPH HWY                                                                              GRAND LEDGE       MI    48837‐9708
DENNIS R VANCE                                  825 KAY NORA                                                                                     PAULDING          OH    45879‐1048
DENNIS R WALKER                                 17961 HARMAN                                                                                     MELVINDALE        MI    48122‐1401
DENNIS R WARD                                   4974 MARTHA LANE                                                                                 MORROW            OH    45152‐1320
DENNIS R WARREN CUST LOGAN M WARREN UTMA OK     8113 S VICTORIA DR                                                                               OKLAHOMA CITY     OK    73159‐5139

DENNIS R WASIK & LYNNE F WASIK JT TEN           16460 COTTAGE NOOK                                                                               FENTON            MI    48430‐8975
DENNIS R WEISS                                  20704 WOODLAND DRIVE                                                                             HARPER WOODS      MI    48225‐2009
DENNIS R WIGGIN                                 15730 WEST LOCUST                                                                                OLATHE            KS    66062‐5337
DENNIS R WILLIAMS                               ROUTE 1                                                                                          RICH HILL         MO    64779‐9801
DENNIS R WOOD                                   532 CARAVAN DR                                                                                   BLUE MOUND        TX    76131‐3937
DENNIS R WRIGHT                                 229 LACASSE BLVD                        TECUMSEH ON                            N8N 2B7 CANADA
DENNIS RACINE & CONNIE RACINE JT TEN            PO BOX 148                                                                                       EAST WAKEFIELD    NH    03830‐0148
DENNIS RAY BUCK                                 8451 ANDERSON CT                                                                                 MECHANICSVLLE     VA    23116‐3102
DENNIS REARDON & MRS CLAIRE REARDON JT TEN      1323 TRIPLE TREE LANE                                                                            AIKEN             SC    29803‐3783

DENNIS RICHARD WALTON                           4339 WHITTNER DR                                                                                 LAND O'LAKES      FL    34639‐6204
DENNIS RINGSTAFF                                184 WALL ST                                                                                      PONTIAC           MI    48342‐3162
DENNIS ROGERO                                   5409 DUSKYWING DR                                                                                ROCKLEDGE         FL    32955‐6081
DENNIS ROHEL & DIANE ROHEL JT TEN               240 IRONWOOD RD                         GUELPH ON                              N1G 3G1 CANADA
DENNIS ROLAND MILLER                            N 71 W 17056 ANTLER DR                                                                           MENOMONEE FALLS WI      53051‐4912

DENNIS RUPARD                                   50372 AUGUST DR                                                                                  MACOMB            MI    48044‐6314
DENNIS S BALAZE                                 473 HORNER DR                                                                                    OXFORD            MI    48371‐4445
DENNIS S BAMMEL                                 637 LEXINGTON                                                                                    ROCHESTER HILLS   MI    48307‐3529
DENNIS S BREITA                                 16 BERKSHIRE STREET                                                                              AVENEL            NJ    07001‐1309
DENNIS S BUCHANAN                               7456 ROGER THOMAS DR                                                                             MOUNT MORRIS      MI    48458‐8934
DENNIS S CROTTY                                 812 ROCKWELL DR                                                                                  MANSFIELD         OH    44907‐2002
DENNIS S DEVINO                                 1244 STECKEL LN                                                                                  WINCHESTER        IL    62694‐8704
DENNIS S DICKTY & MARY M DICKTY JT TEN          5192 TWILIGHT STREET                                                                             SHELBY TWP        MI    48316‐1671
DENNIS S DIRKS                                  5066 BEECHWOOD RD                                                                                AVON              IN    46123
DENNIS S DIRKS & KIMBERLY JO DIRKS JT TEN       5066 BEECHWOOD RD                                                                                AVON              IN    46123
DENNIS S GRAVES                                 6592 FLUSHING ROAD                                                                               FLUSHING          MI    48433‐2553
DENNIS S JAMES                                  4412 SELKIRK LANE W                                                                              LAKELAND          FL    33813‐2470
DENNIS S OLESZKOWICZ OCEANSIDE                  II 8800 S OCEAN                         DR UNIT 606                                              JENSEN BEACH      FL    34957
DENNIS S ROBINSON                               2107 BLADES AVE                                                                                  FLINT             MI    48503‐5866
DENNIS S SULLIVAN                               PMB 140                                 3128 WALTON BLVD                                         ROCHESTER HILLS   MI    48309‐1265
DENNIS S TAYLOR                                 2759 GRAVEL CREEK RD                                                                             NORTH BRANCH      MI    48461‐9751
DENNIS S TREBESH                                C/O ADAM OPEL PKZ R2‐08                 PO BOX 9022                                              WARREN            MI    48090‐9022
DENNIS S VEAL & CELESTE VEAL JT TEN             4466 PAHOA AVE                                                                                   HONOLULU          HI    96816‐5450
DENNIS S WITT                                   11908 WEST WOODCREST CIRCLE                                                                      FRANKLIN          WI    53132‐1341
DENNIS SALIM CUST CHRISTINE S HOPKINS UGMA NY   73 ELLWOOD AVE                                                                                   TONAWANDA         NY    14223‐2803

DENNIS SIENKIEWICZ                              6026 ORCHARD                                                                                     DEARBORN          MI    48126‐2004
DENNIS SIMON CUST HUNTER SIMON UGMA CA          526 CATALINA DRIVE                                                                               NEWPORT BEACH     CA    92663‐4108
DENNIS SINGER                                   3026 SHILLINGTON PL                                                                              CHARLOTTE         NC    28210‐4242
DENNIS SLATKIN                                  1753 ALEXANDER DR                                                                                BLOOMFIELD        MI    48302‐1202
DENNIS SMITH CUST MELISSA SMITH UGMA NY         3426 TURF ROAD                                                                                   OCEANSIDE         NY    11572‐5632
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DENNIS SMITH JR                                 21421 KIPLING ST                                                                              OAK PARK          MI    48237‐3819
DENNIS STEVE FUNTI                              39655 HILLARY DR                                                                              CANTON            MI    48187‐4207
DENNIS STEVEN LIDOSHORE                         69‐36 218TH ST                                                                                BAYSIDE           NY    11364‐2635
DENNIS STREET GRDN NICHOLAS RAY STREET          124 SHAWNEE                                                                                   HENDERSONVILLE    TN    37075‐4616
DENNIS T DAVIS                                  6302 RUIEOSO DR                                                                               SAGINAW           MI    48603
DENNIS T EVANS                                  4665 ESTES DRIVE                                                                              KENT              OH    44240‐7221
DENNIS T JOHNSON                                1080 N 200 E                                                                                  LEBANON           IN    46052‐9285
DENNIS T KOPEK                                  114 RIVERVIEW DR                                                                              FISHKILL          NY    12524‐1442
DENNIS T MARTIN                                 5423 JEROME LN                                                                                GRAND BLANC       MI    48439‐4323
DENNIS TAYLOR & CHRISTINA TAYLOR JT TEN         4222 COTFREDSON RD                                                                            PLYMOUTH          MI    48170‐5116
DENNIS TINCHER                                  322 EASTWOOD DR                                                                               BEDFORD           IN    47421‐3914
DENNIS TOMKOWICZ                                8001 2ND AVE                         UNIT 406                                                 STONE HARBOR      NJ    08247‐1739
DENNIS UHNAVY CUST DONOVAN UHNAVY UGMA MI       351 S CRANBROOK                                                                               BIRMINGHAM        MI    48009‐1590

DENNIS URBANIAK                                 8603 COLUMBIA                                                                                 DEARBORN HEIGHTS MI     48127‐1007

DENNIS V JOHNSON & DANNY B JOHNSON JT TEN       234 VANS PLACE                                                                                WARRENTON         MO    63383‐5304
DENNIS V TRUDO & BRIAN S TRUDO & KORY M TRUDO   5931 CHERRY HILL RD                                                                           HUNTINGTOWN       MD    20639‐9682
JT TEN
DENNIS VANWAGONER                               12465 CURTIS RD                                                                               GRASS LAKE        MI    49240‐9756
DENNIS VAUGHT & JUDITH F VAUGHT TR VAUGHT       718 N 13TH ST                                                                                 LEAVENWORTH       KS    66048‐1281
FAMILY TRUST UA 04/01/04
DENNIS W ADAM                                   322 SOUTH GAMBLE ST                                                                           SHELBY            OH    44875‐1729
DENNIS W ADAM & MRS ELIZABETH A ADAM JT TEN     322 S GAMBLE ST                                                                               SHELBY            OH    44875‐1729

DENNIS W ADAMS                                  2141 GLENSIDE AVE                                                                             CINCINNATI        OH    45212‐1141
DENNIS W BALUCH                                 35 DEHOFF DRIVE                                                                               YOUNGSTOWN        OH    44515‐2403
DENNIS W BLODGETT                               281 N STINE RD                                                                                CHARLOTTE         MI    48813‐8857
DENNIS W BLOSS                                  2167 E LAKE RD                                                                                CLIO              MI    48420‐9144
DENNIS W BURKE                                  7499 WOODMONT                                                                                 DETROIT           MI    48228‐3632
DENNIS W BURKE & HARRIETTE L BURKE JT TEN       7499 WOODMONT                                                                                 DETROIT           MI    48228‐3632
DENNIS W CHURCH & THERESA L CHURCH JT TEN       2690 E HUCKLEBERRY TRAIL                                                                      FARWELL           MI    48622‐9765
DENNIS W COOLEY                                 101 GRAVEL BAR RD                                                                             MARBLEHEAD        OH    43440‐1079
DENNIS W COPELAND                               6560 CEDAR OAKS CIR                                                                           HOPE MILLS        NC    28348‐9122
DENNIS W CYPRET JR                              822 W WHITE OAK ST                                                                            INDEPENDENCE      MO    64050‐2629
DENNIS W DELANEY                                6731 W 105TH ST                                                                               CHICAGO RIDGE     IL    60415‐1703
DENNIS W DIENER & CAROL L DIENER JT TEN         R D BOX 167                          7242 KING JAMES ROAD                                     PIGEON            MI    48755‐9566
DENNIS W DRZWECKI                               623 BEECHER RD                                                                                WOLCOTT           CT    06716‐1405
DENNIS W FERNICK                                R ROUTE 1                            BEAMSVILLE ON                          L0R 1B0 CANADA
DENNIS W FERNICK                                R R #1                               BEAMSVILLE ON                          L0R 1B0 CANADA
DENNIS W FREET                                  2445 STEPHENS AVE NW                                                                          WARREN            OH    44485
DENNIS W GARNER                                 1438 ALLEN ST                                                                                 BURTON            MI    48529‐1269
DENNIS W GRAY TR WAYNE A GRAY FAM TRUST UA      20 SHADOWRIDGE DR                                                                             SAINT PETERS      MO    63376‐2360
04/25/83
DENNIS W HACK                                   10102 FAIRMOUNT RD                                                                            LOUISVILLE        KY    40291‐3146
DENNIS W HARRIS                                 532 S 3RD ST                                                                                  CAMDEN            NJ    08103‐3336
DENNIS W HART & SHIRLEY M HART JT TEN           1366 ORIENTAL AVE                                                                             GLOUCESTER CITY   NJ    08030‐2239
DENNIS W JODLOWSKI                              1480 COUNTRYSIDE DRIVE                                                                        BUFFALO GROVE     IL    60089‐3269
DENNIS W JOHNSTON                               22778 DAVID                                                                                   EAST DETROIT      MI    48021‐1825
DENNIS W JONES                                  G‐6027 E PIERSON RD                                                                           FLINT             MI    48506
DENNIS W KASTEN                                 4280 W 137TH ST                                                                               CLEVELAND         OH    44135‐2121
DENNIS W KOZLOWSKI                              9671 SHUPAC LAKE RD                                                                           GRAYLING          MI    49738‐9210
DENNIS W LATHAM                                 2270 N PISGAH RD                                                                              HENDERSON         TN    38340‐8701
DENNIS W LOCKLEAR                               1257 LEJUENE                                                                                  LINCOLN PARK      MI    48146‐2056
DENNIS W LORENZ                                 1936 RIDGEVIEW                                                                                YPSILANTI         MI    48198‐9510
DENNIS W MCKOWN & KATHLEEN A MCKOWN JT TEN      420 CO RD 108                                                                                 FREMONT           OH    43420‐9735

DENNIS W MOORE                                  9704 PARDEE                                                                                   TAYLOR            MI    48180‐3535
DENNIS W NEFF                                   38 ROCKY CIRCLE NE                                                                            WHITE             GA    30184‐2856
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DENNIS W OSMON                                   7460 FREY CT                                                                                    WHITMORE LAKE    MI    48189‐9144
DENNIS W PADGET                                  APT                                   2949 JOYCE DR LINCOLN RD                                  KOKOMO           IN    46902‐4016
DENNIS W PAINTER                                 119 WARWICK DR                                                                                  WILMINGTON       DE    19803‐2620
DENNIS W PANARS & SANDRA A PANARS JT TEN         1590 WILD CHERRY LANE                                                                           LAPEER           MI    48446‐8706
DENNIS W PASTERNAK                               513 FRUITWOOD DR                                                                                BETHEL PARK      PA    15102‐1337
DENNIS W PAULSON                                 146 COTTONWOOD                                                                                  WHITNEY          TX    76692‐4535
DENNIS W PERRY                                   6 N357 CREEKSIDE DRIVE                                                                          SAINT CHARLES    IL    60175‐6140
DENNIS W PERRY & CHRISTINE A PERRY JT TEN        6 N 357 CREEKSIDE DR                                                                            SAINT CHARLES    IL    60175‐6140
DENNIS W PULLIAM                                 19701 E 280TH TERRACE                                                                           HARRISONVILLE    MO    64701
DENNIS W PUTNAM                                  7119 VIENNA RD                                                                                  OTISVILLE        MI    48463‐9474
DENNIS W RICE                                    3683 W B AVE                                                                                    PLAINWELL        MI    49080‐9612
DENNIS W RICKER                                  2339 HARMONY DR                                                                                 BURTON           MI    48509‐1163
DENNIS W SHEETS                                  4971 HAVERSTICK WAY                                                                             ANDERSON         IN    46012‐9560
DENNIS W SPITZLEY                                478 KING ST                                                                                     IONIA            MI    48846‐1413
DENNIS W TINKLE                                  5739 ELIZABETHAN CIRCLE                                                                         NEW MARKET       MD    21774
DENNIS W WALSH                                   254 STANDISH ROAD                                                                               RIDGEWOOD        NJ    07450‐2915
DENNIS W WHITE                                   476 OAK ST                                                                                      ELMHURST         IL    60126‐2216
DENNIS W WORTHY                                  11354 GARDENVIEW LN                   APT 1                                                     SAINT ANN        MO    63074‐1064
DENNIS W ZAMBERLAN                               4246 BRUSH ROAD                                                                                 RICHFIELD        OH    44286‐9582
DENNIS W ZOLL                                    3711 PINE CREEK DR                                                                              METAMORA         MI    48455‐9711
DENNIS WALTER MANSFIELD                          25879 RAMILLO WAYREET                                                                           VALENCIA         CA    91355
DENNIS WAYNE COPELAND                            6560 CEDAR OAKS CIRCLE                                                                          HOPE MILLS       NC    28348‐9122
DENNIS WAYNE DUREK                               3247 COMANCHE TRL                                                                               WEST BRANCH      MI    48661‐9732
DENNIS WAYNE FINLEY                              3809 WEDGWAY DR                                                                                 FORT WORTH       TX    76133‐2009
DENNIS WAYNE GREENLEE                            13227 N MIMOSA DR                     UNIT 117                                                  FOUNTAIN HLS     AZ    85268
DENNIS WAYNE LOWRY                               34127 PARKDALE STREET                                                                           LIVONIA          MI    48150‐2684
DENNIS WAYNE MCNALLY                             4146 N 300 E ROAD                                                                               ANDERSON         IN    46012‐9520
DENNIS WAYNE PHILLIPS                            2022 WEST PHILADELPHIA AVENUE                                                                   OLEY             PA    19547‐8524
DENNIS WERMECKES                                 WETTSWILERSTRASSE 16                  BIRMENSDORF                            8903 SWITZERLAND
DENNIS WHITESELL                                 1016 W CLEVELAND ST                                                                             HARTFORD CITY    IN    47348‐2316
DENNIS WILLIAM LEARY                             514 1ST AVE NE                                                                                  WAVERLY          IA    50677‐1713
DENNIS WILLIAM ROENNEBECK & ELAINE HALE          4320 S HIDDEN QUAIL CIR                                                                         SALT LAKE CITY   UT    84124‐3600
ROENNEBECK JT TEN
DENNIS WILLIAMS                                  4275 KIRKWOOD DRIVE                                                                             SAGINAW         MI     48603‐5834
DENNIS WILSON                                    4404 MURDOCK AVE                                                                                BRONX           NY     10466‐1109
DENNIS WOLGIN CUST JAY WOLGIN UGMA MI            3216 WOODVIEW LAKE RD                                                                           WEST BLOOMFIELD MI     48323‐3570

DENNIS WOLVERTON                                 1330 THOREAU LN                                                                                 ALLEN            TX    75002
DENNIS YANKUS                                    819 HELMSMAN WAY                                                                                PALM HARBOR      FL    34685‐1618
DENNIS YURK                                      3362 OTTER BEACH DR                                                                             WATERFORD        MI    48328
DENNIS ZAMPLAS                                   23590 WOODLYNNE DR                                                                              BINGHAM FARMS    MI    48025‐3403
DENNIS ZEZAS                                     7 DELAWARE CROSSING                                                                             SOMERSET         NJ    08873
DENNISE C GRUTTADARO                             2525 ST PAUL BLVD                                                                               ROCHESTER        NY    14617‐4517
DENNISON P VASSLER                               1000 KINGS HWY                        UNIT 308                                                  PUNTA GORDA      FL    33980‐5208
DENNON V ROBINSON                                8829 VICTORY AVE                                                                                BALTIMORE        MD    21234‐4211
DENNY A FRANK                                    6020 BOULDER CREEK                                                                              AUSTINTOWN       OH    44515‐4270
DENNY A ROBERTS                                  1550 BLANCHET RD                                                                                CORINTH          KY    41010‐3424
DENNY BROUGHAM                                   509 BURTON SE ST                                                                                GRAND RAPIDS     MI    49507‐3115
DENNY C GREEN                                    1353 MC 8091                                                                                    YELLVILLE        AR    72687
DENNY D CHRISTIAN                                BOX 57                                                                                          GRANBURY         TX    76048‐0057
DENNY E HAMBLIN                                  7459 TAYLORSVILLE RD                                                                            HUBER HEIGHTS    OH    45424‐2355
DENNY E HENDRICKS                                7401 DIAL DR                                                                                    HUBER HEIGHTS    OH    45424‐2512
DENNY E HENDRICKS & BARBARA A HENDRICKS JT TEN   7401 DIAL DR                                                                                    HUBER HEIGHTS    OH    45424‐2512

DENNY E JONES                                    4581 SHEPARD RD                                                                                 BATAVIA          OH    45103‐1037
DENNY L BREWER                                   2456 POINT PLEASANT WAY                                                                         TOLEDO           OH    43611‐1114
DENNY L OWENS                                    2558 RIDGE ROAD                                                                                 XENIA            OH    45385‐7502
DENNY R ADAMS                                    10 MEADOW LANE                                                                                  NEWARK           DE    19713‐2753
DENNY R ROBINSON                                 4112 ST RT 95                                                                                   PERRYSVILLE      OH    44864‐9642
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DENNY RATLIFF                                     5302 CANDLE LN                                                                                 NORTHPORT        AL    35473‐1117
DENNY SPARKS                                      20399 ROAD 10                                                                                  DEFIANCE         OH    43512‐8353
DENO R BURGESS                                    14111 OAK PARK BLVD                                                                            OAK PARK         MI    48237‐2007
DENO SKOLAS                                       767 GRAVEL RIDGE RD                                                                            LEONARD          MI    48367‐2822
DENORA WILLIAMS CUST IESHA NICOLE BANKS UTMA      2216 BROOKVILLE DR                    #B                                                       GREENVILLE       NC    27834‐8746
NY
DENORA WILLIAMS CUST NACHRISTA WILLIAMS UTMA      2216 BROOKVILLE DR                    #B                                                       GREENVILLE       NC    27834‐8746
NY
DENSAL EUGENE MCGHEE                              PO BOX 702                                                                                     MYRTLE           MO    65778‐0702
DENSEL G FULLER JR                                2570 LISA DRIVE                                                                                COLUMBIAVILLE    MI    48421‐8910
DENSEL O FOSTER                                   626 W 56TH ST                                                                                  HINSDALE         IL    60521‐5102
DENSELEE QUALLS                                   5047 DAVISON RD                                                                                LAPEER           MI    48446‐3528
DENSON D CROXSON                                  834 CHESTNUT BEND                                                                              WEST WEBSTER     NY    14580‐1445
DENTICE W HOGUE                                   3615 HAMILTON PLACE                                                                            ANDERSON         IN    46013‐5273
DENTON B BURD JR                                  1224 KINGS CIR                                                                                 MECHANICS BURG   PA    17050‐7673

DENTON HARGIS                                     5552 BETTY LANE                                                                                MILFORD          OH    45150‐2862
DENTON M COLE                                     1532 KINGSWAY DR                                                                               ARNOLD           MO    63010‐1122
DENTON O WHITE                                    4736 EAST MAHALASVILLE RD                                                                      MORGANTOWN       IN    46160‐9319
DENTSON BUGGS                                     2026 ADAMS AVE                                                                                 FLINT            MI    48505‐5034
DENVARD ALAN RUTHERFORD                           168 HESS ROAD                                                                                  BELLBROOK        OH    45305‐2107
DENVER A MORRIS JR                                2107 RADCLIFFE AVE                                                                             FLINT            MI    48503‐4746
DENVER ALEXANDER                                  1420 SAINT MARYS CIR                  APT 107                                                  HOBART           IN    46342‐6562
DENVER B BROWN TR DENVER B BROWN TRUST UA         1002 CORWIN AVE                                                                                HAMILTON         OH    45015‐1839
12/28/94
DENVER C BECKLEY                                  3292 FREDERICK ST                                                                              GRAND BLANC      MI    48439‐8104
DENVER D SMITH                                    7887 GRIFFITH RD                                                                               FELICITY         OH    45120‐9648
DENVER D STOCKER JR                               6450 SEYMOUR DR                                                                                SWARTZ CREEK     MI    48473‐7607
DENVER E DAGGETT                                  2111 HUNTERS CREEK ROAD                                                                        METAMORA         MI    48455‐9351
DENVER E WHARTON                                  542 ELKNUD LN                                                                                  JOHNSTOWN        PA    15905‐2064
DENVER G WILEY                                    R R 6 112 LEWIS DR                                                                             MOORESVILLE      IN    46158‐8382
DENVER H SALISBURY                                3369 WARREN SHARON RD                                                                          VIENNA           OH    44473‐9532
DENVER HOWARD                                     10704 CORY LAKE DR                                                                             TAMPA            FL    33647‐2724
DENVER HUNTER & ROMA K HUNTER JT TEN              315 W HAMILTON ST                                                                              BRYAN            OH    43506‐2034
DENVER J PARRETT                                  212 BALTUSROL RD                                                                               FRANKLIN         TN    37069‐7144
DENVER KIRK                                       4972 E 300 S                                                                                   MARION           IN    46953‐9518
DENVER L CROSS & ELDYES CROSS JT TEN              1815 FURMAN DR                                                                                 FLORENCE         SC    29501
DENVER MARTIN                                     2903 W NEWBURG RD                                                                              CARLETON         MI    48117‐9181
DENVER P BURTON                                   1158 IRMAL DR                                                                                  DAYTON           OH    45432‐1707
DENVER PAUL HAVERTY                               588 SOCIETY HILL ROAD                                                                          MINERAL WELLS    WV    26150
DENVER R WALKER                                   1769 N 300 EAST                                                                                KOKOMO           IN    46901‐3510
DENVER S SAVAGE                                   141 OLD MILLVILLE RD                                                                           UXBRIDGE         MA    01569‐1901
DENVER T HOLCOMB                                  3524 YAEGER CROSSING CT                                                                        ST LOUIS         MO    63129‐2369
DENVER W HEARD                                    6437 MAJESTIC                                                                                  DETROIT          MI    48210‐1182
DENVER WAYNE MOORE                                2446 BERTHA                                                                                    FLINT            MI    48504‐2420
DENVIL L BARNHOUSE                                7413 WOODBINE RD                                                                               AIRVILLE         PA    17302‐9073
DENVILLA D GREEN                                  7649 STATE ROUTE DD                                                                            BLOOMSDALE       MO    63627‐9014
DENYSE M SHOCKLEY                                 810 W SYCAMORE ST                                                                              KOKOMO           IN    46901‐4328
DENZEL L PLACE                                    3044 S 55TH ST                                                                                 KANSAS CITY      KS    66106‐3160
DENZEL R LEDGERWOOD JR                            4602 S HOWELL ROAD                                                                             OAK GROVE        MO    64075‐9794
DENZIL A MOYER                                    5612 E 16TH ST                                                                                 KANSAS CITY      MO    64127‐2804
DENZIL A SPINNEY                                  1008 BEMENT ST                                                                                 LANSING          MI    48912‐1702
DENZIL ALLEN CURTS                                                                                                                               MARENGO          IN    47140
DENZIL F TAYLOR & VIRGINIA B TAYLOT TR TAYLOR     4771 BOND AVE                                                                                  WARREN           OH    44483‐1742
FAMILY TRUST UA 8/31/01
DENZIL L MCCRACKEN                                6148 N COUNTY RD 75W                                                                           SHELBURN         IN    47879‐8273
DENZIL R GOSE                                     266 HANOVER CIR W                                                                              GRAND JUNCTION   CO    81503‐3125

DENZIL R MAULDIN                                  7115 HIGHWAY 230                                                                               MCEWEN           TN    37101‐3949
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DENZIL R TYRA                                 727 N BARCLAY                                                                                                           FAIRMOUNT       IN    46928‐1212
DENZIL Z MEEKS & ROCHELLE MEEKS JT TEN        3267 ELLWOOD CT                                                                                                         WINTER PARK     FL    32792
DEO J WELLS                                   3610 GLENWOOD AVE                                                                                                       LANSING         MI    48910‐0708
DEO K WINSOR                                  PO BOX 195                                207 S MAPLE AVE                                                               MAPLE RAPIDS    MI    48853‐0195
DEO L MITCHELL                                STEPHENS                                  25245 WAYCROSS                                                                SOUTHFIELD      MI    48034‐6143
DEOLA HAMILTON                                567 E 107TH ST                                                                                                          CLEVELAND       OH    44108‐1431
DEOLA LOTT                                    138 THE MALL                                                                                                            BEREA           OH    44017‐1142
DEON G BERNDT                                 4907 WALLAKER RD                                                                                                        BENZONIA        MI    49616
DEON J GILLEN & LA VEAN L GILLEN JT TEN       4500 S 2225 W                                                                                                           DELTA           UT    84624
DEON THEOHARIDIS CUST DENNIS THEOHARIDIS UTMA 262 NEW BOSTON RD                                                                                                       DENNIS          MA    02638‐2120
MA
DEONE S SOTTSANTI                             2741 E PLAZA ENCANTADA                                                                                                  TUCSON          AZ    85718‐1235
DEONIDUS HENDRICK                             21715 S PEC DR                                                                                                          PECULIAR        MO    64078
DEONN B STONE & AKIA S WHITE JT TEN           1114 SEILER AVE                                                                                                         SAVANNAH        GA    31404‐3343
DEONTA BELL                                   6133 ELM LANE                                                                                                           MATTESON        IL    60443‐1321
DER TAU CHIN                                  182 FEARL BRIDGE RD                                                                                                     WINTHROP        NY    13697‐9717
DERA K WILLIAMS                               PO BOX 4222                                                                                                             PULASKI         GA    30451‐4222
DERALD A REED                                 1457 GLEN ELLYN DR                                                                                                      FLINT           MI    48532‐2640
DERALD KEITH GARRISON JR                      311 ISLAND AVE                                                                                                          BALBOA          CA    92661‐1129
DERALD W LADSTEN                              1609 WELLINGTON SPRINGS AVE                                                                                             HENDERSON       NV    89052‐6882
DERAY BURTON                                  2151 WARWICK RD                                                                                                         WARRINGTON      PA    18976‐1311
DERBY & CO KENTUCKY STATE TREASURER UNCLAIMED CAPITOL ANNEX SUITE 183                                                                                                 FRANKFORT       KY    40601
PROPERTY BRANCH
DEREEN ERNST                                  2401 8TH AVE SW                                                                                                         AUSTIN          MN    55912‐1256
DEREK A BAILEY                                22341 LA LOIRE                                                                                                          SMITHFIELD      MI    48075‐4055
DEREK A BENNETT                               9780 CAMLEY                                                                                                             DETROIT         MI    48224‐1280
DEREK A COOK                                  4973 MEMPHIS COURT                                                                                                      HILLIARD        OH    43026‐5730
DEREK A KATZER                                PO BOX 1508                                                                                                             MC CORMICK      SC    29835‐1508
DEREK A ROWEN                                 1326 W HOPBUSH WAY                                                                                                      TUCSON          AZ    85704‐2643
DEREK A WILLIAMS                              23 WHITBURN ST                            WHITBY ON                                            L1R 1E1 CANADA
DEREK ARMOUR VAUXHALL MOTORS LTD              GRIFFIN HOUSE OSBOURNE                    LUTON BEDS LU1                                       GREAT BRITAIN
DEREK B AINSWORTH                             130 PINEHURST DRIVE                                                                                                     BRANDON         MS    39047‐8231
DEREK B ALLEN                                 2281 WALLINGFORD DR                                                                                                     DECATUR         GA    30032‐6239
DEREK B DELK                                  841 SALISBURY ST                                                                                                        PORTERVILLE     CA    93257
DEREK B LYONS                                 2588 SEXTON                                                                                                             HOWELL          MI    48843‐8985
DEREK BARNARD CUST LISA MARIE BARNARD UTMA WA 833 NW 58TH ST                                                                                                          SEATTLE         WA    98107‐2833

DEREK BLAND                                       1051 CHELSEA COURT                    OSHAWA ON                                            L1G 7R4 CANADA
DEREK BRADBURN & LINDA BRADBURN JT TEN            SOULFRIERE                            GRAFTON PARK CHURCH ROAD   TILSTON MALPAS CHESHIRE   SY14 7HB GREAT BRITAIN
DEREK BRIDWELL                                    1125 VINEGAR HILL RD                                                                                                BEDFORD         IN    47421‐7910
DEREK BROOKS & MRS ROSLYN BROOKS TEN ENT          10495 OLD COURT RD                                                                                                  WOODSTOCK       MD    21163‐1147
DEREK C ADNAMS EX EST FRANCES M TOLHURST          308 W SYLVANIA AVE                    APT 2B                                                                        NEPTUNE CITY    NJ    07753
DEREK C SCHMIDT TOD GERALD L SCHMIDT SUBJECT TO   29271 VITA LN                                                                                                       NORTH OLMSTED   OH    44070
STA TOD RULES
DEREK CRACKLES                                    53 KENTON AVENUE                      SUNBURY‐ON THAMES          MIDDLESEX                 TW16 5AS GREAT BRITAIN
DEREK D COTTON                                    PO BOX 193                                                                                                          FLINT           MI    48501‐0193
DEREK D DUCHAMP                                   1820 DETROIT                                                                                                        LINCOLN PARK    MI    48146‐3219
DEREK D HARDIN                                    401 WONDERLY AVE                                                                                                    DAYTON          OH    45419‐1868
DEREK D OVERMAN                                   3475 MILLS ACRES                                                                                                    FLINT           MI    48506‐2171
DEREK DELK CUST BRANDON JOHN DELK UTMA CA         841 SALISBURY ST                                                                                                    PORTERVILLE     CA    93257

DEREK DONOHUE                                     701 KINGS E HW                                                                                                      LEONARDO        NJ    07737‐1815
DEREK DUTTON                                      11865 SW TUALATIN RD                  APT 214                                                                       TUALATIN        OR    97062‐7077
DEREK E SCHUM & MARSAY SCHUM JT TEN               21147 CROCUS TER                                                                                                    ASHBURN         VA    20147‐5466
DEREK EVANS                                       62 BROADBRIDGE DR                     SCARBOROUGH ON                                       M1C 3J9 CANADA
DEREK GAGNON                                      45 LAWNDALE AVE                                                                                                     NASHUA          NH    03060‐4909
DEREK GOMEZ                                       131 JOCASSEE TRACE                                                                                                  LEXINGTON       SC    29072
DEREK H LASKI                                     57636 FREDA DR                                                                                                      WASHINGTON      MI    48094‐2940
DEREK H LASKI                                     57636 FREDA DRIVE                                                                                                   WASHINGTON      MI    48094‐2940
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DEREK H WESTRAY                                  813 KEVIN RD                                                                                      BALTIMORE          MD    21229‐1606
DEREK H WILLARD                                  657 LARCH LN                                                                                      IOWA CITY          IA    52245
DEREK HAMILTON                                   CLOONEY & RAMELTON &                    LEHER KENNY CO               DONEGAL    IRELAND
DEREK HAMILTON EX U‐W GEORGE SMYTH               RAMELTON LETTERKENNY                    CLOONEY CO                   DONEGAL    IRELAND
DEREK HANSON                                     466 DIVISION AVE                                                                                  ROBERTS            WI    54023‐5901
DEREK HOHENFORST                                 300 FOREST AVE                                                                                    AMSTERDAM          NY    12010‐2710
DEREK I HOFFMAN                                  5923 SHARON VIEW RD                                                                               CHARLOTTE          NC    28226‐6845
DEREK J DEAN                                     4731 SWEETBRIAR RD                                                                                SOCIAL CIRCLE      GA    30025‐4136
DEREK J SCHROPSHIRE                              3130 JOHN DALY                                                                                    INKSTER            MI    48141‐2402
DEREK JAMES CLARKE & LESA OLDCASTLE JT TEN       24 GREEN GULLY ROAD                     KEILOR VIC                              3036 AUSTRALIA
DEREK K VAN DER HEYDEN & MRS ARBADELLA VAN DER   13418 CENTERBROOK                                                                                 UNIVERSAL CITY     TX    78148‐2713
HEYDEN JT TEN
DEREK KEITH ZION                                 22 WEST 15TH ST APT 8E                                                                            NEW YORK           NY    10011‐6844
DEREK L CHATMAN                                  3725 PROVIDENCE ST                                                                                FLINT              MI    48503‐4548
DEREK L FEEBACK                                  PO BOX 1282                                                                                       LIBBY              MT    59923‐1282
DEREK L MELLER                                   2644 HILLSIDE DRIVE                                                                               HIGHLAND VILLAGE   TX    75077‐8651

DEREK LELAND DANTZLER                            5374 APPLE HILL CT                                                                                FLUSHING           MI    48433‐2401
DEREK M PHILLIPS                                 23 ALEXANDRA WOOD                       TORONTO ON                              M5N 2S3 CANADA
DEREK MOORE                                      1213 GOLDEN VICARY DR                                                                             WARRENTON          MO    63383‐3345
DEREK O R GILLETTE                               704 JASMINE CRESENT                     OSHAWA ON                               L1G 3C3 CANADA
DEREK PEGUESE                                    3800 9TH ST                                                                                       ECORSE             MI    48229‐1609
DEREK R HIGHAM                                   36063 PARKHURST                                                                                   LIVONIA            MI    48154‐5118
DEREK R HOFFMAN                                  7383 E 900 N                                                                                      OSSIAN             IN    46777‐9217
DEREK R VAN DEUSEN                               237 TAYLOR RD                                                                                     MORRIS             NY    13808
DEREK REED                                       3614 E SPOKANE ST                                                                                 TACOMA             WA    98404‐3026
DEREK SCOT HAINING                               13224 39TH AVE NE                                                                                 SEATTLE            WA    98125‐4616
DEREK T NOBLE                                    23237 PROVIDENCE DR                     APT 305                                                   SOUTHFIELD         MI    48075‐3619
DEREK V AXON                                     2 MILL ST                                                                                         YALE               MI    48097‐3433
DEREK V GIVENS                                   936 WHEATSHEAF RD                                                                                 ROSELLE            NJ    07203‐1959
DEREK VALLIANT                                   930 W SOUTH ST                                                                                    WHITEWATER         WI    53190‐1754
DEREK W WILLIAMS                                 C/O FISH & RICHARDSON PC                1717 MAIN STREET SUITE 500                                DALLAS             TX    75201‐4626
DEREXA J SANDOE                                  100 N ORCHARD DR                                                                                  MUNICE             IN    47303‐4542
DERGIO H MUNOZ                                   1445 PINTORESCO DR                                                                                EL PASO            TX    79935‐3701
DERIC J TOMASOVICH & KATHLEEN G TOMASOVICH JT    2 FOREST DR                                                                                       JIM THORPE         PA    18229‐9450
TEN
DERICK R WOOLVERTON                              BOX 391                                                                                           PONTE VEDRA        FL    32004‐0391
                                                                                                                                                   BEACH
DERIK B BERGMAN CUST DYLAN BRIAN BERGMAN UTMA 1585 CYPRESS CREEK CT                                                                                VISTA              CA    92084‐4167
CA
DERINDA K DURHAM                              6563 W 250 S                                                                                         RUSSIAVILLE        IN    46979‐9414
DERK ELSENHEIMER                              7906 SLAYTON SETTLEMENT RD                                                                           GASPORT            NY    14067‐9302
DERLAYNE ANDRES                               8241 BRISTOL                                                                                         WESTLAND           MI    48185‐1831
DERMAN V GUZMAN                               65 MANDL ST                                                                                          TRENTON            NJ    08619‐3603
DERMAND D ANDERSON                            RR 2                                                                                                 SAND LAKE          MI    49343‐9802
DERRAL G TAYLOR                               PO BOX 283                                                                                           KARNAK             IL    62956‐0283
DERRALD L NELSON II                           2189 E BOATFIELD AVE                                                                                 BURTON             MI    48529‐1783
DERREL E FERGUSON & LAURA S FERGUSON JT TEN   904 3RD ST                                                                                           IMPERIAL BEACH     CA    91932‐1926

DERREL W FOX                                     1018 TROTWOOD                                                                                     FLINT              MI    48507‐3709
DERRELL G SERGENT                                5278 HEADGATES ROAD                                                                               HAMILTON           OH    45011‐2041
DERRELL R CAFFEY                                 369 E NEWARK                                                                                      LAPEER             MI    48446‐9408
DERRELL TUCKER                                   541 FORD AVE                                                                                      YOUNGSTOWN         OH    44502‐1043
DERRICK ABRAMS                                   6135 S LAFLIN PLACE                                                                               CHICAGO            IL    60636‐2331
DERRICK ALLEN AFFOLDER                           10259 EAST EMILY PLACE                                                                            TUCSON             AZ    85730‐3134
DERRICK ARMSTRONG                                15745 COYLE                                                                                       DETROIT            MI    48227‐2674
DERRICK C PHILLIPS                               1000 JAMES FERRY RD                     APT A 30                                                  KINGSTON           TN    37763‐2955
DERRICK C RELPH                                  15619 ADDISON                                                                                     SOUTHFIELD         MI    48075‐3094
DERRICK E DAVIS                                  207 CHEYENNE TRAIL                                                                                COLUMBIA           TN    38401‐2115
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Name                                             Address1                                Address2             Address3          Address4          City            State Zip

DERRICK G PETERSON                               8813 GOODFELLOW BLVD                                                                             ST LOUIS         MO   63147‐1430
DERRICK J CURCIO                                 9065 ROOSEVELT                                                                                   TAYLOR           MI   48180‐2714
DERRICK J EPPICH & RICHARD J EPPICH JT TEN       1501 E WINDJAMMER WAY                                                                            TEMPE            AZ   85283‐2150
DERRICK J HALL                                   2310 KENILWORTH AVE                                                                              CINCINNATI       OH   45212‐3308
DERRICK J HARRIS                                 2015 CHELTINGHAM BLVD                                                                            LANSING          MI   48917‐5150
DERRICK K BRADLEY                                1821 N 48TH ST                                                                                   KANSAS CITY      KS   66102‐1507
DERRICK K QUAN                                   1211 MONTEREY BLVD                                                                               SAN FRANCISCO    CA   94127‐2507
DERRICK K TRAMMELL                               23181 CLOVER LAWN                                                                                OAK PARK         MI   48237‐2402
DERRICK K WILLIAMS                               PO BOX 2503                                                                                      FOREST PARK      GA   30298
DERRICK KIRBY                                    BOX 54                                                                                           DONIPHAN         MO   63935‐0054
DERRICK L THOMPSON                               PO BOX 1383                                                                                      BIRMINGHAM       MI   48012‐1383
DERRICK N BENJAMIN                               715 FOXFORD TRAILS                                                                               ARLINGTON        TX   76014‐3206
DERRICK O LAMBERT                                18093 RUSSELL                                                                                    DETROIT          MI   48203‐2476
DERRICK TANNER                                   34961 VALLEY FORGE DRIVE                                                                         FARMINGTON HILLS MI   48331‐3209

DERRICK W COLBERT                                7403 YELLOW WOOD                                                                                 LANSING         MI    48917‐7632
DERRICK W GODBOLDO JR                            3801 CRANE ST                                                                                    DETROIT         MI    48214‐1278
DERRIK BOZUNG                                    1205 BOSTON AVE                                                                                  FLINT           MI    48503‐3581
DERRILL E SHIELDS                                215 ST JAMES WAY                                                                                 ANDERSON        IN    46013‐4444
DERRILL F WILLIAMS                               1 BRENNON ST                                                                                     CHARLESTON      SC    29407
DERRILL J HARVEY & MRS NORMA J HARVEY JT TEN     3838 MADDOX ST                                                                                   WARREN          MI    48092‐4964

DERRING W HOLMES                                 13066 DUNSTAN LANE                                                                               GARDEN GROVE    CA    92843‐1136
DERRY A MALONE                                   510 NW AA HWY                                                                                    KINGSVILLE      MO    64061‐9170
DERRY BROWN                                      165 COUNTY ROAD 69                      APT 69                                                   SELMA           AL    36703‐1037
DERRY LEE RIDGWAY                                3186 LEAF DRIVE                                                                                  MERCED          CA    95340
DERRY RIDGWAY CUST UNDER THE LAWS OF OREGON      2111 RHINE RD                                                                                    HILLSBOROUGH    NC    27278‐8513
FOR GAVIN RIDGWAY A MINOR
DERWIN J VANCE                                   429 HARRIET STREET                                                                               DAYTON          OH    45408‐2023
DERWOOD B DAVIS JR                               217 W BROAD ST                                                                                   NEW BETHLEHEM   PA    16242
DERWOOD B MYERS                                  564 BAUMAN ROAD                                                                                  WILLIAMSVILLE   NY    14221‐2724
DERWOOD COGGINS                                  427 HIDDEN SPRINGS DRIVE                                                                         BURLESON        TX    76028‐6049
DERWOOD DUNN                                     2279 TOBY BETH DRIVE                                                                             FLINT           MI    48505‐1076
DERYL F BRUNNER                                  11049 S SMITH RD                                                                                 PERRINTON       MI    48871‐9717
DERYL G MARTIN                                   14885 N 500 W                                                                                    GASTON          IN    47342‐9998
DERYL J SAMOIS & JEANNETTE F SAMOIS JT TEN       701 MIDLAND ROAD                                                                                 MECHANICSBURG   PA    17055‐4947
DERYL T HULING                                   46621 GOODPASTURE RD                                                                             VIDA            OR    97488‐9724
DES K AMES TR AMES LIVING TRUST UA 11/16/94      PO BOX 2427                                                                                      PALM SPRINGS    CA    92263‐2427
DES MOINES INDEPENDENT COMMUNITY SCHOOL          901 WALNUT ST                                                                                    DES MOINES      IA    50309
DISTRICT
DESBINA G ZAHARIADES                             1620 CHAPEL ST                                                                                   NEW HAVEN       CT    06511‐4207
DESI A AUSTIN                                    140 PINE RD                                                                                      PITTSBURGH      PA    15237‐4958
DESI K RUIZ                                      P O BOX 1175                            JAF STATION                                              NEW YORK        NY    10116‐1175
DESI‐RAE MARION                                  57 HOMER AVE                                                                                     BUFFALO         NY    14216‐2301
DESIREE ANN LAWSON                               1404 PLUM LANE                                                                                   MOSINEE         WI    54455‐9352
DESIREE D FISHER                                 227 W MCVEY AV                                                                                   DALLAS          TX    75224‐3517
DESIREE EDWARDS                                  1163 CREEKSIDE CT                                                                                BURTON          MI    48509‐1460
DESIREE HARTMAN                                  2909 LACKLAND                                                                                    FORT WORTH      TX    76116
DESIREE J WALLNER                                247 CHIMNEY HILL RD                                                                              ROCHESTER       NY    14612‐1625
DESIREE K COHN PER REP EST OLIVE E SWEATT        10216 KILARNEY DR                                                                                DALLAS          TX    75218
DESMON J IRVIN                                   306 HWY 369 SOUTH                                                                                NEW HOPE        AR    71959‐8065
DESMOND A PESSOA                                 1025 SAINT JOHNS PL B8                                                                           BROOKLYN        NY    11213‐2545
DESMOND COLE & CHARITY S COLE JT TEN             2243 CRANFORD ROAD                                                                               DURHAM          NC    27706‐2507
DESMOND GIBSON                                   13605 GRESHAM COURT                                                                              BOUIE           MD    20720‐5316
DESMOND GIRARD WALTERS                           1301 W STEWART AVE                                                                               FLINT           MI    48504‐2279
DESMOND MILES HAUFF                              PO BOX 235                              108 7TH AVENUE                                           TAWAS CITY      MI    48764
DESMOND S DUNHAM                                 3338 BAKER ST                                                                                    WASHINGTON      DC    20019‐1323
DESMOND T WATSON                                 1734 N 80TH ST                                                                                   KANSAS CITY     KS    66112‐2029
DESPINA B KANTOUNIS                              2583 COUNTRYSIDE BLVD                   BUILDING #3‐112                                          CLEARWATER      FL    33761‐4516
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Name                                               Address1                               Address2                  Address3     Address4          City            State Zip

DESPINA KATSARIS                                   68 MILLER AVE                                                                                   TARRYTOWN       NY    10591‐4412
DESPINA KOUTELOS & ELEFTERIOS KOUTELOS JT TEN      416 85 STREET                                                                                   BROOKLYN        NY    11209‐4706

DESPINA KOUTELOS & KIRIAKI KOUTELOS JT TEN         416 85 STREET                                                                                   BROOKLYN        NY    11209‐4706
DESPINA TSOUNAKIS                                  C/O ANTONIA K MILONAS                  171 W 57TH ST 11C                                        NEW YORK        NY    10019‐2222
DESPINA VERDUKAS                                   C/O ROSS J ANTHOS                      6515 NORTH OLIPHANT AVE                                  CHICAGO         IL    60631‐1513
DESPINA Z IAKOVIDES & ABRAHAM J IAKOVIDES JT TEN   5517 LOCKWOOD DR                                                                                WATERFORD       MI    48329‐4802

DESPINE C POPONEA & JOHN R POPONEA JT TEN          1310 LABROSSE DR                                                                                WATERFORD       MI    48328‐3911
DESPNIA BENDER                                     2807 IRONBOUND RD                                                                               WILLIAMSBURG    VA    23185‐2322
DESRA N HERBST JR                                  1108 INDEPENDENCE DR                                                                            DAYTON          OH    45429‐5644
DESSA CLAFTON                                      PO BOX 712                                                                                      COLERAINE       MN    55722‐0712
DESSA GOODWIN MORGAN                               8989 S SR 109                                                                                   MARKLEVILLE     IN    46056‐9801
DESSIE GRAY                                        2488 NORTH TAYLOR RD                                                                            CLEVELAND HTS   OH    44118‐1345
DESSIE L HOLLOWAY                                  451 W 9TH ST                                                                                    ELYRIA          OH    44035‐5838
DESSIE L WEST                                      PO BOX 879                                                                                      UTICA           OH    43080‐0879
DESSIE LEE MCGOWAN                                 2036 S DEXTER ST                                                                                FLINT           MI    48503‐4573
DESSIE M BUCKLEY & CAROLYN BUCKLEY JT TEN          3510 ROBIN ST                                                                                   FLINT           MI    48505‐6603
DESSIE YVONNE GRIGSBY                              6311 FORESTDALE AVE                                                                             DAYTON          OH    45427‐1816
DESSOLA JOHNSON                                    2603 BILLINGS ST                                                                                COMPTON         CA    90220‐3907
DESTA ALEM COURTNEY                                410 WOODLAND RD                                                                                 MERCER          PA    16137
DET POSTAL EMPLOYEES CREDIT UNION TR JULIA         18074 SORRENTO                                                                                  DETROIT         MI    48235‐1438
PEYTON IRA PLAN 07/19/93
DETLEF BIELOHLAWEK                                 AM FUELLGRABEN 23                      HUENST‐BECHTHEIM HESSEN                65510 GERMANY
DETRAYON N BETTS                                   4426 FOXTON CT                                                                                  DAYTON          OH    45414‐3933
DEUANE G DOWLAND JR                                5485 CHERRY CREEK                                                                               LEWISTON        MI    49756‐7507
DEVA G OMICCIOLI & BARBARA T DE PASQUALE JT TEN    19 GREEN ST                                                                                     NATICK          MA    01760‐4216

DEVAIL WARREN                                      2122 OAKLAND RIDGE DR                                                                           LAWRENCEVILLE   GA    30044‐6039
DEVELON C BURNETT                                  1300 BASSETT                                                                                    DETROIT         MI    48217‐1679
DEVEN T SMITH                                      26 FERNS CT                                                                                     LUTHVLE TIMON   MD    21093‐7495
DEVENS GRIFFIN                                     12034 WADE ST                                                                                   DETROIT         MI    48213‐1720
DEVERA T CARTER                                    1013 NATHANIEL RD                      # DN                                                     CLEVELAND       OH    44110‐3219
DEVERE A DESHAW                                    17671 SE 90TH CLEMSON CIR                                                                       LADY LAKE       FL    32162‐0876
DEVERE E ROOT                                      5312 DURWOOD DR                                                                                 SWARTZ CREEK    MI    48473‐1128
DEVERE E ROOT & SHIRLEY A ROOT JT TEN              5312 DURWOOD DR                                                                                 SWARTZ CREEK    MI    48473‐1128
DEVERE J WILSON                                    PO BOX 141                                                                                      MILLINGTON      MI    48746‐0141
DEVI P LINGAM                                      20 FOURTH ST                                                                                    PARK RIDGE      NJ    07656
DEVIN BUCHANAN & LUCINDA M BUCHANAN JT TEN         3213 HILL VALLEY ST                                                                             LAS VEGAS       NV    89129

DEVIN C TORNOW                                     5123 N MERRIMAC AVE                                                                             PEORIA          IL    61614‐4657
DEVIN CRAGO                                        668 GREENWICH ST                       APT 545                                                  NEW YORK        NY    10014‐6343
DEVIN ERIC TIMMONS                                 1754 BLUEJAY COURT                                                                              FORTUNA         CA    95540‐3360
DEVIN H SANDERS & EULAS H SANDERS & ANNESIA        4202 E 40TH ST                                                                                  INDIANAPOLIS    IN    46226
SANDERS JT TEN
DEVIN KELLEY                                       4603 S CRYTAL WAY                      UNIT F                                                   AURORA          CO    80015‐3929
DEVIN R HIDALGO                                    2735 COACHMAN LAKES DR                                                                          JACKSONVILLE    FL    32246
DEVINDER K BAWA                                    4636 KITAMAT TRAIL                                                                              LIMA            OH    45805‐4180
DEVIVOROS F PENN                                   PO BOX 1111                                                                                     ELGIN           TX    78621‐8111
DEVOE BROOKS                                       9070 SOUTH 1100 WEST                                                                            LOSANTVILLE     IN    47354‐9394
DEVON D CANTY                                      1544 VERNON AVE NW                                                                              WARREN          OH    44483‐3144
DEVON D JENNINGS                                   13140 MONICA                                                                                    DETROIT         MI    48238‐3111
DEVON GOSNELL                                      9192 CHESTWICK DR                                                                               GERMANTOWN      TN    38139
DEVON K WOODY                                      1649 W COUNTY RD 700 S                                                                          FRANKFORT       IN    46041‐7558
DEVON MANESS                                       306A WEST HARTWOOD PLACE                                                                        RAINBOW CITY    AL    35906‐6221
DEVONE NOLLIE                                      17160 LITTLEFIELD                                                                               DETROIT         MI    48235‐4111
DEVONN L CLARK                                     5014 SYCAMORE AVE                                                                               PASADENA        TX    77503‐3838
DEVORE E KILLIP                                    230 N FIRST AVE                                                                                 IOWA CITY       IA    52245‐3604
DEVRON I BLACKWELL                                 5831 SCHAFER ROAD                                                                               LANSING         MI    48911‐4900
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DEVY ANN BLOCK                                  2 CAYUGA PLACE                                                                               COMMACK           NY    11725‐4002
DEVYANI J PATEL                                 736 WOODFIELD WAY                                                                            ROCHESTER HILLS   MI    48307‐5924
DEVYN WYATT GEYER                               1143 KINGS WAY                                                                               NOKOMIS           FL    34275
DEWAIN D EUPER                                  42239 FULTON CT                                                                              STERLING HTS      MI    48313‐2631
DEWAIN E STOOPS                                 1517 WALDMAN AVE                                                                             FLINT             MI    48507‐1596
DEWAIN H MOLTER II                              2137 N GENESEE RD                                                                            BURTON            MI    48509‐1208
DEWAINE L TEAL                                  1817 DUCK POND                                                                               GAYLORD           MI    49735‐7127
DEWANE D HENDERSON                              1918 CROMWELL STREET                                                                         HOLT              MI    48842‐1578
DEWANE W FAILS                                  914 W HAMILTON ST                                                                            FLINT             MI    48504‐7250
DEWARD E STALNAKER                              61791 INSTITUTE RD                                                                           LORE CITY         OH    43755‐9750
DEWARD GENE HARDIN                              ROUTE 1                             BOX 234                                                  MOATSVILLE        WV    26405‐9728
DEWARD L OVERBEY                                RR 2 BOX 8A                                                                                  ROCKBRIDGE        IL    62081‐9705
DEWAYNE A BUTTERWORTH                           1299 E HUMPHREY AVE                                                                          FLINT             MI    48505‐1760
DEWAYNE A LOVELESS                              74605 DEQUINDRE                                                                              LEONARD           MI    48367‐3106
DEWAYNE C DOUGHERTY                             4173 OLD STATE ROAD                                                                          HAMPSHIRE         TN    38461‐4536
DEWAYNE C HERENDEEN                             1315 TAFT RD                                                                                 ST JOHNS          MI    48879
DEWAYNE D MCCLEESE                              5105 MAYBEE ROAD                                                                             CLARKSTON         MI    48346‐4338
DEWAYNE E MC KENZIE                             6044 PLAINS RD                                                                               EATON RAPIDS      MI    48827‐9669
DEWAYNE ESTELL                                  3236 S GREENSBORO PIKE                                                                       NEW CASTLE        IN    47362‐9605
DEWAYNE J CHAVIS                                4575 INDIANWOOD                                                                              CLARKSTON         MI    48348‐2235
DEWAYNE L JOHNSON                               4100 CROSS FOUR AVE                                                                          KINGMAN           AZ    86401‐7414
DEWAYNE M KEENER                                325 TUFTS LANE                                                                               FALLING WATERS    WV    25419‐7049
DEWAYNE PERKINS                                 5026 COULSON DRIVE                                                                           DAYTON            OH    45418‐2033
DEWAYNE R STEPHENS                              6185 MILLER RD                                                                               ALGER             MI    48610‐8531
DEWEL WEST                                      9607 PARK AVE                                                                                ALLEN PARK        MI    48101‐1368
DEWEY A HOLST                                   440 HO CO RD 313                                                                             FAYETTE           MO    65248‐9558
DEWEY A PERSON                                  14909 SUNVIEW AVE                                                                            CLEVELAND         OH    44128‐3058
DEWEY BEAVERS                                   24616 ALMOND                                                                                 E DETROIT         MI    48021‐4231
DEWEY BEAVERS JR                                24616 ALMOND                                                                                 EAST POINTE       MI    48021‐4231
DEWEY BIBLE                                     4225 BERKLEY LAKE RD                                                                         DULUTH            GA    30096‐3019
DEWEY C ADCOCK                                  15625 DASHER                                                                                 ALLEN PARK        MI    48101‐2731
DEWEY C CARROLL & MARY S CARROLL JT TEN         2865 FOREST CLOSE DR                                                                         DULUTH            GA    30097‐7425
DEWEY C ENGLE JR                                226 KINGS GRANT DR                                                                           YORKTOWN          VA    23692‐3627
DEWEY C KING                                    199 ROSE LANE                                                                                CLAIRFIELD        TN    37715‐5132
DEWEY D NELSON                                  1525 N LANCASHIRE LN                                                                         LIBERTY LAKE      WA    99019‐9466
DEWEY D TUCKER JR                               2535 PENNSYLVANIA                                                                            DETROIT           MI    48214‐2052
DEWEY E BRAYMAN                                 5349 BLACKMER RD                                                                             RAVENNA           MI    49451‐9417
DEWEY E LILLY                                   146 HOLLINGSWORTH MNR                                                                        ELKTON            MD    21921‐6608
DEWEY E MARLATT JR                              806 ARMSTRONG RD                                                                             LANSING           MI    48911‐3907
DEWEY E RAINWATER                               46070 MEADOWS CIR EAST                                                                       MACOMB            MI    48044‐3940
DEWEY E RAINWATER & GLORIA J RAINWATER JT TEN   46070 MEADOWS CIRCLE E                                                                       MACOMB            MI    48044‐3940

DEWEY ESTEP                                     6701 EDWARDS RD                                                                              BELLEVILLE        MI    48111‐1135
DEWEY F SHARR                                   3925 E 77TH ST                                                                               INDIANAPOLIS      IN    46240‐3672
DEWEY G CARTER                                  805 KING EDWARD PL                                                                           AUSTIN            TX    78745‐3943
DEWEY G PRATT                                   34 VISTA GARDEN TR 203                                                                       VERO BEACH        FL    32962‐0704
DEWEY H EUBANKS JR                              2655 KELLOGG CREEK RD                                                                        ACWORTH           GA    30102‐1141
DEWEY J BERTRAM                                 1673 BARRINGTON HILLS BLVD                                                                   ARGYLE            TX    76226‐8291
DEWEY J CRIST                                   7375 N 640 E                                                                                 LEBANON           IN    46052
DEWEY J FRANKLIN & GAIL H FRANKLIN JT TEN       8974 S ROSEMARY LN                                                                           PEKIN             IN    47165‐7298
DEWEY J KEEN                                    1195 RAE ST                                                                                  MT MORRIS         MI    48458‐1726
DEWEY L DILLON                                  307 PIN OAK DR                                                                               RICHMOND          KY    40475‐1147
DEWEY L DRENNEN                                 10330 N PLATT RD                                                                             MILAN             MI    48160
DEWEY L FRYE                                    2840 STEUBENVILLE ROAD                                                                       FREEDOM           IN    47431
DEWEY L HUCKABAY                                1406 FRENCH ST                                                                               IRVING            TX    75061‐4927
DEWEY L NOLAN                                   4404 DAYTON LIBERTY ROAD                                                                     DAYTON            OH    45418‐1904
DEWEY MERRITT                                   1704 N ROCK SPRINGS RD NE                                                                    ATLANTA           GA    30324‐5206
DEWEY MILLS                                     9260 MADISON RD                                                                              WASHINGTON CH     OH    43160‐8633
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DEWEY MORRIS JR                                  C/O NINA MARIA THIEHL                  42940 FREEPORT                                           STERLING HEIGHTS   MI    48313‐2835

DEWEY O KEEN                                     9072 CHELMSFORD                                                                                 SWARTZ CREEK       MI    48473‐1170
DEWEY P LILLY                                    1169 CHICAGO ST                                                                                 GREEN BAY          WI    54301‐3802
DEWEY S DUNLAP                                   3246 ALTALOMA DR                                                                                BIRMINGHAM         AL    35216‐4284
DEWEY S HOLLY                                    9575 WEBSTER RD                                                                                 FREELAND           MI    48623‐8603
DEWEY S NOLAN JR                                 5226 WASHTENAW                                                                                  BURTON             MI    48509‐2032
DEWEY V HARRIS                                   11350 DALE                                                                                      WARREN             MI    48089‐1062
DEWEY WILDER                                     PO BOX 47                                                                                       NAUBINWAY          MI    49762‐0047
DEWIE B BETHEA                                   118 HEATHER LN                                                                                  LEESBURG           GA    31763‐4733
DEWIGHT E FRANKLIN                               705 E SHAW ST                                                                                   CHARLOTTE          MI    48813‐1958
DEWITT C RULON JR                                50 VOORHIS AVE                                                                                  SOUTH NYACK        NY    10960‐4410
DEWITT E GEIB                                    10825 SE 51ST ST                                                                                OKLAHOMA CITY      OK    73150‐4210
DEWITT KING                                      BOX 23                                                                                          CLAYTON            OK    74536‐0023
DEWITT PETERKIN III                              101 CHATHAM CT                                                                                  DOVER              DE    19901‐3970
DEWITT REED                                      PO BOX 756                                                                                      HEIDELBERG         MS    39439‐0756
DEWITT WILLIAMS                                  370 HUMBOLDT PKWY                                                                               BUFFALO            NY    14214‐2727
DEWRELL ABBOTT                                   114 AUDREA                                                                                      MOULTON            AL    35650‐6508
DEXTER DEATON & REBA DEATON JT TEN               168 E MADISON ST                                                                                HAGERSTOWN         IN    47346‐1613
DEXTER DEMORN WEBSTER                            1342 SUZANNA DRIVE                                                                              RAYMOND            MS    39154‐7670
DEXTER E ARNOLD                                  HOCKESSIN BOX 71                                                                                HOCKESSIN          DE    19707‐0071
DEXTER F STALLS                                  7978 BARKLEY RD                                                                                 SHERRILLS FRD      NC    28673‐9202
DEXTER G BRACY                                   527 S GRANT                                                                                     PORTLAND           MI    48875‐1571
DEXTER HOWARD                                    950 PAINTERSVILLE NEW JASP RD                                                                   XENIA              OH    45385‐8403
DEXTER J ROACH                                   1496 MUNSON STREET                                                                              BURTON             MI    48509‐1836
DEXTER LEE                                       1930 ROSEMONT                                                                                   GRAND RAPIDS       MI    49506‐4949
DEXTER M MCDONALD                                103 SOUTH GARRSON RD                                                                            VANCOUVER          WA    98664
DEXTER MC ELRATH                                 GENERAL DELIVERY                                                                                YPSILANTI          MI    48197‐9999
DEXTER PIERCE                                    15703 MUIRLAND                                                                                  DETROIT            MI    48238‐1429
DEXTER R PERRINE                                 3771 HALLOCK SOOK RD                                                                            NEWTON FALLS       OH    44444
DEYANIRA SALINAS                                 1690 LONDON                                                                                     LINCOLN PARK       MI    48146‐3524
DEYO N BORDEN                                    10274 RD 573                                                                                    PHILADELPHIA       MS    39350‐8312
DEZEREE C HARRISON                               6170 NATCHEZ DR                                                                                 MT MORRIS          MI    48458‐2769
DEZIE L BROWN                                    216 LEMON DR #224                                                                               RENO               NV    89506
DEZSO APATHY JR                                  876 PALMER ROAD                                                                                 COLUMBUS           OH    43212‐3762
DHAGMAR P PACHECO                                3328 CROSSCOUNTRY DR                                                                            WILMINGTON         DE    19810‐3317
DHAIF A SALEH                                    7417 KENTUCKY ST                                                                                DEARBORN           MI    48126‐1611
DHANIREDDY R REDDY                               17043 BEAVER CIRCLE                                                                             STRONGSVILLE       OH    44136‐6208
DHAREN VIERS                                     2465 WEIGL RD                                                                                   SAGINAW            MI    48609‐7056
DIAL SHEPHERD                                    350 TOWER RD                                                                                    WHITE LAKE         MI    48386‐3067
DIAMANTINO G RODRIGUES                           25 FLEMINGWOOD LN                                                                               PALM COAST         FL    32137‐9260
DIAMOND CHRISSHAWN LONG                          6114 FIELDSTONE CIR                                                                             CHARLESTON         SC    29414‐7567
DIAN CANTLEY                                     5900 NORWELL DR                                                                                 WEST CARROLLTON    OH    45449‐3110

DIAN G CANTRELL TR UA 07/11/95 CANTRELL FAMILY   2236 E 6275 S                                                                                   OGDEN              UT    84403‐5324
TRUST
DIAN L ALBERTS                                   5641 ASHLEY DR                                                                                  LANSING            MI    48911‐4802
DIAN LAWLER JOHNSON                              1180 LEA DR                                                                                     ROSWELL            GA    30076‐4626
DIAN M FLYNN                                     930 HEMLOCK                                                                                     ROCHESTER          MI    48307‐1035
DIAN M MCCONNEL                                  4063 CHAMPAGNE RD                                                                               CASEVILLE          MI    48725
DIAN ROBERTS                                     1012 W RIDGEWAY AVE                                                                             FLINT              MI    48505‐5142
DIANA A MELE EX EST JOAN E HEIMAN                PO BOX 653                                                                                      FAIR LAWN          NJ    07410
DIANA A MOSELEY                                  132 HOLLY DR                                                                                    SAINT MARYS        GA    31558‐2691
DIANA A RECKART CUST KENNETH J RECKART UTMA OH   6515 LARES LN                                                                                   CLEVELAND          OH    44130‐2697

DIANA A WIECZOREK                                PO BOX 444                                                                                      HASLETT            MI    48840‐0444
DIANA ABBOUD                                     PO BOX 8457                                                                                     SLEEPY HOLLOW      NY    10591‐8457
DIANA B ALEXANDER                                10432 STREAM PARK CT                                                                            CENTERVILLE        OH    45458‐9569
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DIANA B BOYCE CUST KATHERINE A BOYCE UTMA MD   6002 CHARLESMEADE ROAD                                                                      BALTIMORE         MD    21212‐2413

DIANA B DAVIS                                   3429 ROY RD                                                                                SHREVEPORT        LA    71107‐8239
DIANA B FLOWERS                                 4010 COGBILL RD                                                                            RICHMOND          VA    23234‐4841
DIANA B VALENTA                                 542 S DEXTER DR                                                                            LANSING           MI    48910‐4639
DIANA BAKER                                     5098 N CENTER RD                                                                           FLINT             MI    48506‐1042
DIANA BENITEZ CUST BRIAN P BENITEZ UTMA FL      2141 NE 68TH ST                   APT 104                                                  FT LAUDERDALE     FL    33308‐1115
DIANA BOYCE                                     205 DAWN CT                                                                                POTTERVILLE       MI    48876‐9776
DIANA C BARTON                                  2829 SCOTTISH MILL WAY                                                                     MARIETTA          GA    30068‐3177
DIANA C DE FABRITIS                             2 BRITTANIA DRIVE                                                                          DANBURY           CT    06811
DIANA C FRAZIER                                 1228 N 28TH STREET                                                                         BATON ROUGE       LA    70802‐2505
DIANA C HSIEH                                   3 HERMANN MUSEUM CIRCLE DR        APT 6401                                                 HOUSTON           TX    77004
DIANA C SAMARGIN                                2825 LANCELOT LANE                                                                         DYER              IN    46311
DIANA C STIMSON                                 C/O DIANA O'TOOLE                 6 LLOYD ROAD                                             TEWKSBURY         MA    01876‐2915
DIANA C TAYLOR                                  3810 CENTRALIA RD                                                                          CHESTER           VA    23831‐1135
DIANA C WANAMAKER                               3136 GLEN CARLYN RD                                                                        FALLS CHURCH      VA    22041‐2404
DIANA CATALANO                                  343 LENEPE LANE                                                                            CHALFONT          PA    18914‐3122
DIANA CERESI CUST DANIEL CERESI UTMA VA         2906 MAPLE LN                                                                              FAIRFAX           VA    22031‐1428
DIANA CHARUK                                    145 VERDUN RD                     OSHAWA ON                              L1H 5S9 CANADA
DIANA CHURCHILL                                 128 CATALINA DRIVE                                                                         TYBEE ISLAND      GA    31328‐9104
DIANA CLYDESDALE                                13 MARINERS BND                                                                            BRIELLE           NJ    08730
DIANA CURRIE PERS REP EST GEORGE CURRIE         3862 SAWMILL CT                                                                            NEW PALESTINE     IN    46163‐9498
DIANA D BARNES                                  5757 JIM TOM DRIVE                                                                         JACKSONVILLE      FL    32277‐1709
DIANA D DOLFI                                   605‐1/2 HULTON ST                                                                          CARNEGIE          PA    15106‐2133
DIANA D JACOBS                                  33604 E SPENCER RD                                                                         OAK GROVE         MO    64075‐7250
DIANA D STONE                                   164 NORTH GRAND ST                                                                         WEST SUFFIELD     CT    06093
DIANA D SWEENEY                                 120 WOODVIEW DRIVE                                                                         CORTLAND          OH    44410
DIANA DANIELS                                   233 PASSAIC ST                                                                             TRENTON           NJ    08618‐4608
DIANA DANKOWSKI                                 549 W DELANO AV                                                                            PRESCOTT          AZ    86301‐1222
DIANA DONOVAN & THERESA DONOVAN JT TEN          73 WINGANHAUPPAUGA RD                                                                      ISLIP             NY    11751
DIANA DOUGLAS POOLE                             2 TEMPLE ST                                                                                MILFORD           MA    01757‐1511
DIANA DOUROS & BILL DOUROS JT TEN               120 S RIDGE ST                                                                             PORT SANILAC      MI    48469‐9789
DIANA DUBORE                                    900 BRISTOL CT                                                                             STOUGHTON         WI    53589‐4813
DIANA E ADAMEC                                  6068 S 75TH AVE                                                                            SUMMIT            IL    60501‐1527
DIANA E BONNER                                  324 COLUMBIA LANE                                                                          STEVENSVILLE      MD    21666‐3322
DIANA E DAVISON                                 906 S MIDVALE BLVD                                                                         MADISON           WI    53711‐2832
DIANA E GARCIA                                  207 LATHROP                                                                                LANSING           MI    48912‐2203
DIANA E LINDEMAN                                17124 WOODMERE DRIVE                                                                       CHAGRIN FALLS     OH    44023‐4663
DIANA E STEVENS                                 5401 LIZ LANE R R NO 8                                                                     ANDERSON          IN    46017‐9672
DIANA E STONE                                   47264 CHERRY VALLEY RD                                                                     MACOMB            MI    48044‐2834
DIANA E VALVERDE                                1026 FERDINAND ST                                                                          DETROIT           MI    48209‐2481
DIANA EMMA LANGE                                601 NW 80 TERRACE APT# 103                                                                 MARGATE           FL    33063
DIANA FISCHER                                   W5048 STATE RD 72                                                                          ELLSWORTH         WI    54011‐5219
DIANA FRIEDA STEWART                            21162 FOXTAIL                                                                              MISSION VIEJO     CA    92692‐4028
DIANA G LUDWIG                                  56 OYSTER LANDING LANE                                                                     HILTON HEAD       SC    29928
DIANA G MESSEER TOD DOUGLAS K MESSER SUBJECT TO 98 CREECH LANE                                                                             FAIRFIELD         OH    45014‐1508
STA TOD RULES
DIANA GAROFALO                                  158 ANDREW AVE                                                                             EAST MEADOW       NY    11554‐3425
DIANA GOEN                                      ATTN DIANNA SHIRLEY               12094 W CO RD 100 N                                      NORMAN            IN    47264‐9754
DIANA GREEN                                     8480 W AUDREY LN                                                                           PEORIA            AZ    85382‐8052
DIANA H RINTALA & DALE G RINTALA JT TEN         5451 INDIGO ST                                                                             HOUSTON           TX    77096‐1241
DIANA HAMMOND                                   11 MC GREGOR LN                                                                            COLUMBIA          MO    65203‐9432
DIANA HAWHEE                                    71 W STATE ROAD 38                                                                         PENDLETON         IN    46064‐9585
DIANA HERRIN                                    1851 MOUNT ZION ROAD                                                                       MIDLOTHIAN        TX    76065
DIANA HOPPE                                     5 LOCUST LN                                                                                ESSEX JCT         VT    05452‐4334
DIANA HUGHES                                    2321 CARTER CREEK PKWY                                                                     BRYAN             TX    77802‐2414
DIANA J BLITCHOK                                3250 ST CLAIR                                                                              ROCHESTER HILLS   MI    48309‐3939
DIANA J BUCHANAN                                2610 WEALTHY DRIVE                                                                         COPLEY            OH    44321‐2343
DIANA J BURNETT                                 14187 REDDER AVE                                                                           CEDAR SPRINGS     MI    49319‐9332
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DIANA J DAVIS                                      3610 NORTH MURPHY ST                                                                            PAHRUMP          NV    89060‐2251
DIANA J ENOS CUST RONALD J ENOS JR UTMA AZ         4044 W MESCAL                                                                                   PHOENIX          AZ    85029‐3835
DIANA J FERRARI                                    576 PALM AVE                                                                                    SO SAN FRANCISCO CA    94080‐2658

DIANA J GRAY                                    317 EDGEWATER PINES DR                                                                             WARREN           OH    44481‐9680
DIANA J LEWANDOWSKI                             14 PAUL ST                                                                                         BRISTOL          CT    06010‐5577
DIANA J LORENCE                                 6315 BRIAN CIRCLE LANE                                                                             BURTON           MI    48509‐1374
DIANA J MCLAREN                                 C/O DIANA J DUBOIS                        1412 E OLIVE ST                                          BLOOMINGTON      IL    61701‐5710
DIANA J RUSHING                                 259 E SAN ANTONIO DR                                                                               LONG BEACH       CA    90807‐2652
DIANA J SOMERS                                  14801 GRAHAM JONES RD                                                                              RICHWOOD         OH    43344‐9206
DIANA J WILSON & LINDA L MOURISKI JT TEN        8116 34TH AVE N                                                                                    ST PETERSBURG    FL    33710‐2242
DIANA J WNUK                                    29112 CAMPBELL DR                                                                                  WARREN           MI    48093‐2466
DIANA J WNUK & VALENTINE J WNUK JT TEN          29112 CAMPBELL                                                                                     WARREN           MI    48093‐2466
DIANA JANE SINA                                 10135 HIGH FALLS POINTE                                                                            ALPHARETTA       GA    30022‐8463
DIANA JOAN PUTKOVICH & KENNETH PUTKOVICH JT TEN 4739 NORTHPOINTE CT                                                                                PENSACOLA        FL    32514‐6647

DIANA K GONZALES                              G5467 RICHFIELD RD                                                                                   FLINT            MI    48506
DIANA K HILL                                  9415 CRAIG S COVE                                                                                    FT WAYNE         IN    46804‐2439
DIANA K JIVERY                                1028 SOUTH GRANADA AVE                                                                               ALHAMBRA         CA    91801‐4924
DIANA K KIM & TAE HO KIM JT TEN               1188 GALESMORE CT                                                                                    WESTLAKE VLG     CA    91361
DIANA K LOVEJOY                               PO BOX 144                                                                                           HOMETOWN         WV    25109‐0144
DIANA K MORGAN                                5205 S PARK RD                                                                                       KOKOMO           IN    46902‐5004
DIANA K PLATT                                 2945 W DESERT GLORY DR                                                                               TUCSON           AZ    85745‐2280
DIANA K SANFILIPPO                            51207 AMERICA                                                                                        BELLEVILLE       MI    48111‐4458
DIANA KELLY                                   7532‐8TH ST NW                                                                                       WASHINGTON       DC    20012‐1814
DIANA KELLY CUST ISATU RAMATU BANGUTA UTMA WA 7532 8TH ST NW                                                                                       WASHINGTON       DC    20012‐1814

DIANA KELLY TOD TERRY O KELLY SUBJECT TO STA TOD   6134 HAMPTON DR N                                                                               ST PETERSBURG    FL    33710
RULES
DIANA KIM RYAN                                     2590 E PORTSMOUTH AVE                                                                           SALT LAKE CITY   UT    84121‐5627
DIANA KOBASIAR                                     1637 WEYHILL DR                                                                                 WIXOM            MI    48393‐1154
DIANA KUTKA & ALFRED KUTKA JT TEN                  161 OSBORNE HILL RD                                                                             FISHKILL         NY    12524‐2509
DIANA L AARON                                      38673 BIGGS RD                                                                                  GRAFTON          OH    44044‐9614
DIANA L ADAMS ADMINISTRATOR E‐O KENNETH L          145 ALBERTA                                                                                     AUBURN HILLS     MI    48326‐1103
CHRYSLER
DIANA L ADORJAN                                    13260 18 MILE ROAD                                                                              RODNEY           MI    49342‐9723
DIANA L ARNESON                                    3129 ROLLINGWOOD DR                                                                             JANESVILLE       WI    53545‐8924
DIANA L ASHLEY                                     134 SHELDON AVE                                                                                 CLIO             MI    48420‐1419
DIANA L BADER                                      8820 APPLING RIDGE                                                                              CUMMING          GA    30041‐5727
DIANA L BARBER                                     97 WEDGEWOOD DR                                                                                 TROY             MO    63379‐2005
DIANA L BARNARD                                    3168 PUTTER CT                                                                                  GREENWOOD        IN    46143‐9572
DIANA L BEY                                        14220 BLUE HERON CHASE                                                                          ROANOKE          IN    46783
DIANA L BOWMAN                                     24165 SUSAN DRIVE                                                                               FARMINGTON       MI    48336‐2829
DIANA L CATLIN & GARY R CATLIN JT TEN              31357 BOBRICH                                                                                   LIVONIA          MI    48152‐4502
DIANA L CHAVIRA                                    6234 HILL AVE                                                                                   WHITTIER         CA    90601‐3828
DIANA L CHRISTY                                    103 CAROL DRIVE                                                                                 SAXONBURG        PA    16056‐9518
DIANA L CORNEVIN                                   5209 TACOMA DR                                                                                  ARLINGTON        TX    76017‐1865
DIANA L CRANDALL                                   10069 W CLARK RD                                                                                EAGLE            MI    48822‐9713
DIANA L D'AMICO TR UA 09/25/2003 DIANA L D'AMICO   1180 GREEN TIMBER TRAIL                                                                         DAYTON           OH    45458
LIVING TRUST
DIANA L DAVIS                                      312 MALIBU CANYON DR                                                                            COLUMBIA         TN    38401‐6800
DIANA L DEAN                                       4406 N IRISH ROAD                                                                               DAVISON          MI    48423‐8947
DIANA L DWYER CUST DAVID T DWYER UTMA NH           105 NARTOFF RD                                                                                  HOLLIS           NH    03049‐5903
DIANA L ELDER                                      RR 2                                                                                            ELWOOD           IN    46036‐9802
DIANA L FOSMORE                                    2305 CALABRIA DR                                                                                SPARKS           NV    89434‐2275
DIANA L GORE                                       106 ROLLING WOODS CIR                                                                           WARNER ROBINS    GA    31088‐5899
DIANA L HALE                                       4509 MAYFIELD DRIVE                                                                             KOKOMO           IN    46901‐3957
DIANA L HELF                                       225 ENTERPRISE ST                                                                               BRYAN            OH    43506
DIANA L HINTZ                                      126 ZOBORA CI                                                                                   FORT MYERS       FL    33913‐7529
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DIANA L HOLT                                        868 SALISBURY RD                                                                                COLUMBUS           OH    43204‐4703
DIANA L JOHNSTON CUST ZACHARY V CIRCO UTMA TN       4793 CRYSTAL BROOK DR                                                                           ANTIOCH            TN    37013

DIANA L KANE                                        1232 TEE CEE DR                                                                                 WATERFORD          MI    48328‐2049
DIANA L KIDD                                        5010 SPRINGHILL RD                                                                              BENTON             AR    72015‐6343
DIANA L KING                                        PO BOX 6583                                                                                     KOKOMO             IN    46904
DIANA L KOTTAR                                      1108 KEITH DRIVE                                                                                PITTSBURGH         PA    15239‐1518
DIANA L LANDSPARGER                                 3092 IRADELL RD                                                                                 ITHACA             NY    14850‐9205
DIANA L LAWSON                                      153 W EDINBURGH DR                                                                              NEW CASTLE         DE    19720‐2358
DIANA L LINGO                                       11639 SKYLARK CT                                                                                STERLING HEIGHTS   MI    48312‐3969

DIANA L LUMBERT                                     ATTN DIANA L LUMBERT WILCOX            3861 OAK GROVE RD                                        HARRISON           MI    48625‐8729
DIANA L MAREK                                       C/O D L LINGO                          11639 SKYLARK CT                                         STERLING HEIGHTS   MI    48312‐3969

DIANA L MASON                                       483 S ONONDAGA RD                                                                               MASON              MI    48854‐9792
DIANA L MATTIODA                                    3601 TIMBERLAKE RD                                                                              MCALESTER          OK    74501‐8288
DIANA L MILLER                                      9304 N MATTOX AVE                                                                               KANSAS CITY        MO    64154‐2028
DIANA L NORRIS EX EST NORBERT A NORRIS JR           33 ALLEGANY AVE                                                                                 KENMORE            NY    14217
DIANA L OAKLEY                                      ATTN DIANA WARD                        3415 ARGAGON DR                                          LANSING            MI    48906‐3573
DIANA L PEMBERTON                                   7073 EAST 100 NORTH                                                                             GREENTOWN          IN    46936‐8808
DIANA L PLATT                                       52 RAILSTONE DRIVE                                                                              SOUTHBURY          CT    06488‐2459
DIANA L PREMO                                       3457 MURPHY LANE                                                                                COLUMBIA           TN    38401
DIANA L PREMO & CHARLES L PREMO JT TEN              3457 MURPHY LANE                                                                                COLUMBIA           TN    38401
DIANA L PRIESTLEY                                   6171 GREEN RD                                                                                   FENTON             MI    48430‐9098
DIANA L R DAVIS                                     2405 FORDMAN                                                                                    KEEGO HARBOR       MI    48320‐1413
DIANA L REVELS TOD KELLY A LABUTTE SUBJECT TO STA   9221 REECK                                                                                      ALLEN PARK         MI    48101‐1460
TOD RULES
DIANA L ROBERTS                                     5726 LITTLE RICHMOND RD                                                                         DAYTON             OH    45426‐3222
DIANA L SCHILBE                                     21505 NOWLIN                                                                                    DEARBORN           MI    48124‐3003
DIANA L SLOCUM CUST FERANN M SLOCUM UGMA MI         13715 S BARNES RD                                                                               BYRON              MI    48418‐8953

DIANA L SPRAGUE                                     506 LONALIEE DR                                                                                 COLUMBIAVILLE      MI    48421‐9706
DIANA L STONE                                       ATTN DIANE L REID                      1305 KENWICK WAY     WINDSOR ON        N9H 2G8 CANADA
DIANA L STULL                                       103 CAROL DRIVE                                                                                 SAXONBURG          PA    16056‐9518
DIANA L TARLEY                                      508 W 31 ST                                                                                     HOUSTON            TX    77018
DIANA L VAN HOOSER                                  9451 LINDA DR                                                                                   DAVISON            MI    48423‐1798
DIANA L WHEATON                                     225 PARK PLACE                         APT 6B                                                   BROOKLYN           NY    11238‐4353
DIANA L YOUNG                                       12075 WHITESVILLE ROAD                                                                          LAUREL             DE    19956‐3319
DIANA LAW                                           168 TRISTAN LANE                                                                                WILLIAMSVILLE      NY    14221‐4456
DIANA LEE HOFF                                      537 CLARION ST                                                                                  CLIO               MI    48420
DIANA LEE POWELL                                    ATTN DIANA P EWING                     254 S SHIRLEY ST                                         PONTIAC            MI    48342‐3155
DIANA LEE WILCOX CUST DEIRDRE ANN WILCOX UGMA       705 PINE ST                            APT G3                                                   PORT HURON         MI    48060‐5360
MIC
DIANA LUPOLI CUST EMMA LOUISE LUPOLI UTMA NY        81 IVY WAY                                                                                      PT WASHINGTON      NY    11050‐3816

DIANA LYNN HOUPT                                    PO BOX 676                                                                                      SEVERNA PARK       MD    21146‐0676
DIANA LYNN JEFFERS CUST AUTUMN LYNN JEFFERS         3401 W MERRYWOOD LN                                                                             MUNCIE             IN    47302‐9479
UGMA IN
DIANA LYNN MATHIS                                   PO BOX 28                                                                                       CHELSEA          MI      48118‐0028
DIANA M ACARON                                      41 QUEEN ANNE LANE                                                                              WAPPINGERS FALLS NY      12590‐6013

DIANA M BABCOCK & EVAN P BALLARD JT TEN             2675 ONEIDA ST                                                                                  SEUQUOIT           NY    13456‐3209
DIANA M BIRKENSEER TR JEFFERY TODD BIRKENSEER TR    1458 WOODBERRY AVE                                                                              SAN MATEO          CA    94403‐3765
9/6/75
DIANA M ENCAO                                       3 CANTON MDW                                                                                    FAIRPORT           NY    14450‐8450
DIANA M HEALY                                       54 SAKONNET POINT RD                                                                            LITTLE COMPTON     RI    02837‐1043
DIANA M KANGAS TR MARHUERITE M BUSH                 600 HAGUE                                                                                       JACKSON            MI    49203‐5933
DIANA M KELLY & DENNIS M KELLY JT TEN               895 KNOB CREEK DR                                                                               ROCHESTER          MI    48306‐1938
DIANA M KEMLER                                      16452 WINDING RIVER DR                                                                          MILTON             DE    19968‐3054
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DIANA M KNOLL                                      2265 ABBEY COURT                                                                                 CANTON          MI    48188‐1801
DIANA M LUPOLI CUST NICHOLAS LUPOLI JR UTMA NY     81 IVY WAY                                                                                       PT WASHINGTON   NY    11050‐3816

DIANA M MATTINGLY                                  PO BOX 743                                                                                       KINDERHOOK      NY    12106‐0743
DIANA M MC INERNEY                                 81 IVY DR                                                                                        MERIDEN         CT    06450‐4750
DIANA M MEIKLE & JOSEPH C MEIKLE JT TEN            4995 DAMON AVE NW                                                                                WARREN          OH    44483‐1319
DIANA M MOZUR                                      280 JANNEY LN                                                                                    SPRINGBORO      OH    45066‐8525
DIANA M PENOYER                                    1066 TREMONT DR                                                                                  WATERFORD       MI    48328‐4712
DIANA M PENROSE CUST CASSANDRA M PENROSE           PO BOX 2735                                                                                      GIG HARBOR      WA    98335‐4735
UGMA WA
DIANA M RUBIANO                                    19341 SW 69TH ST                                                                                 SOUTHWEST       FL    33332‐1652
                                                                                                                                                    RANCHES
DIANA M RUDZINSKI                                  172 LINCOLN ST                                                                                   NEW BRITAIN     CT    06052
DIANA M SAVIT                                      2608 WASHINGTON AVE                                                                              CHEVY CHASE     MD    20815‐3014
DIANA M SAWYERS                                    79 N NEWSOME                                                                                     MCKENZIE        TN    38201‐1702
DIANA M SHAMAN                                     109‐81 AVE                                                                                       KEW GARDENS     NY    11415
DIANA M SHINE                                      3324 W HOBSON                                                                                    FLINT           MI    48504‐1471
DIANA M SMITH                                      1311 CLAIRWOOD                                                                                   BURTON          MI    48509‐1507
DIANA M STACK                                      909 REEF RD                                                                                      LOCKPORT        IL    60441‐2501
DIANA MAE PERHACH                                  161 CHAMPION ST W                                                                                WARREN          OH    44483‐1413
DIANA MARIE BECKER                                 ATTN DIANA MARIE OWENS                  3762 CACTUS LN                                           JACKSONVILLE    FL    32207‐6802
DIANA MONCADA                                      13245 PINEOAK DR                                                                                 HOLLAND         MI    49424‐9532
DIANA NIPPER CASSIDY                               1608 VERDI LANE                                                                                  KNOXVILLE       TN    37922‐6331
DIANA NOVIS                                        3393 CORK OAK WAY                                                                                PALO ALTO       CA    94303‐4139
DIANA P EWING                                      254 SOUTH SHIRLEY STREET                                                                         PONTIAC         MI    48342‐3155
DIANA P SEATON                                     48 3RD ST                                                                                        SHELBY          OH    44875
DIANA P SIDEBOTHAM                                 C/O HILL & DALE FARMS                   51 OVERHILLS                                             PUTNEY          VT    05346‐8896
DIANA PERKINS & DANA MICHAEL PERKINS JT TEN        41 DOUGLAS AVE                                                                                   LEOMINSTER      MA    01453‐1931
DIANA QUERY                                        245 E 21S ST APT 17 F                                                                            NEW YORK        NY    10010
DIANA R ADAMS                                      17459 ELLSWORTH RD                                                                               LAKE MILTON     OH    44429‐9564
DIANA R BENTON                                     1150 N LEAVITT                                                                                   LEAVITTSBURG    OH    44430‐9642
DIANA R COTE                                       33155 WARREN RD                         APT 611                                                  WESTLAND        MI    48185‐2931
DIANA R DALBY                                      1020 DOANE WAY                                                                                   RED BLUFF       CA    96080‐2718
DIANA R GERLAND                                    14125 PINE ISLAND DRIVE                                                                          JACKSONVILLE    FL    32224‐3130
DIANA R MURPHY                                     C/O DIANA R MURPHY‐HAMMERS              416 BROWNSTONE DR                                        ENGLEWOOD       OH    45322
DIANA R OTTO                                       5109 S MEGAN CT                                                                                  INDEPENDENCE    MO    64055‐6822
DIANA R PONECK                                     H1LL AND DALE FARMS                     51 OVERHILLS                                             PUTNEY          VT    05346‐8896
DIANA R RESCH TOD JEFFREY A RESCH SUBJECT TO STA   S63 W18482 MARTIN DR                                                                             MUSKEGO         WI    53150‐8361
TOD RULES
DIANA REARDON & PATRICK J REARDON & MARY BETH      548 SIENNA AVE                                                                                   PORTAGE         IN    46368‐2557
TRACHTENBERG JT TEN
DIANA RHEA                                         1842 PARK AVE                                                                                    BELOIT          WI    53511‐3538
DIANA RIED                                         2919 ROYALSTON AVE                                                                               KETTERING       OH    45419‐1954
DIANA S BENNETT                                    1 TURNPIKE DR                                                                                    BUCKHANNON      WV    26201
DIANA S GEPNERIS                                   8043 CIRCLE DR                                                                                   PALOS HILLS     IL    60465‐2214
DIANA S PERRY                                      4708 DERWENT DR                                                                                  DAYTON          OH    45431‐1014
DIANA S RILEY                                      20236 HAMBURG ST                                                                                 DETROIT         MI    48205‐1021
DIANA S ZELENKA                                    931 MONTEVIDEO DR                                                                                LANSING         MI    48917‐3942
DIANA SAYLER NORQUIST                              1421 EAST SILVER ST                                                                              TUCSON          AZ    85719‐3157
DIANA SCHULZ                                       206 UPPER STATE STREET                                                                           NORTH HAVEN     CT    06473‐1235
DIANA SCOURAS                                      1311 LAFAYETTE ST                                                                                DENVER          CO    80218‐2305
DIANA SMITH                                        14006 FLAINWOOD                                                                                  SAN ANTONIO     TX    78233‐4468
DIANA SUE CABLE                                    3859 NORTH 450 WEST                                                                              DELPHI          IN    46923‐9173
DIANA SUE MANKER & JOHN L MANKER JT TEN            5913 SUBURBAN DR                                                                                 INDIANAPOLIS    IN    46224‐1358
DIANA TODARO                                       1637 GREENWAY BLVD                                                                               VALLEY STREAM   NY    11580‐1217
DIANA TODD IRISH TR UA 10/14/85 THE RALPH D TODD   ATTN HARTZELL                           PO BOX 510                                               LAHARPE         IL    61450‐0510
TRUST
DIANA V CORDERO                                    3366 SHAWN CT                                                                                    HAYWARD         CA    94541‐3552
DIANA V HARAS & NADINE H TAYLOR JT TEN             86 SILO CIR                                                                                      RIVERSIDE       CT    06878
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DIANA V NOLAN                                      70 CANOEBIRCH RD                                                                              LEVITTOWN        PA    19057‐1616
DIANA W B HAASS                                    PO BOX 5700                                                                                   LIGHTHOUSE POINT FL    33074‐5700

DIANA W LANDERGREN                                 4011 BUCKINGHAM RD                                                                            BALTIMORE        MD    21207‐4611
DIANA WARD & HARRY WARD JT TEN                     PO BOX 2437                                                                                   LAND O'LAKES     FL    34639‐2437
DIANA WARDAK                                       43372 WAYSIDE CIR                                                                             ASHBURN          VA    20147‐4629
DIANA WERNER                                       24 BELGRADE TER                                                                               WEST ORANGE      NJ    07052‐3936
DIANA WOLFE KAREL                                  5407 INZA CT                                                                                  ANDERSON         IN    46011‐1415
DIANA Y MOY                                        67 LONGFELLOW AVE                                                                             PLAINEDGE        NY    11756‐5711
DIANE A BITTING                                    10400 HYNDMAN CT                                                                              CHARLOTTE        NC    28214‐9270
DIANE A BLODGETT                                   316 APPLEBLOSSOM LN                                                                           BAY VILLAGE      OH    44140‐1108
DIANE A HAWKS                                      700 NEW HAMPSHIRE AVE NW 111                                                                  WASHINGTON       DC    20037‐2407
DIANE A LAUNIUS                                    4252 N LINDEN RD                                                                              FLINT            MI    48504‐1341
DIANE A LAUNIUS & JAMES W LAUNIUS JT TEN           4252 N LINDEN RD                                                                              FLINT            MI    48504‐1341
DIANE A PINELLI                                    175 RICE DR                                                                                   MORRISVILLE      PA    19067‐5961
DIANE A SCHOVILLE                                  R D #1                               6292 COOK ROAD                                           NEW LONDON       OH    44851‐9450
DIANE A SCHOVILLE & EDWARD J SCHOVILLE JT TEN      R D #1                               6292 COOK ROAD                                           NEW LONDON       OH    44851‐9450

DIANE A SMITH                                      7267 MAYBURN ST                                                                               DEARBORN HTS     MI    48127‐1761
DIANE A VANCE                                      PO BOX 643                                                                                    BELGRADE LAKES   ME    04918‐0643
DIANE A WEBB                                       15774 ST RT 550                                                                               FLEMING          OH    45729‐5065
DIANE ACCETTOLA                                    730 WHEELOCK                                                                                  DETROIT          MI    48209‐2954
DIANE ADA JARVINEN & KRISTINA ADA STURGIS JT TEN   6403 NIGHTINGALE DR                                                                           FLINT            MI    48506

DIANE ADELE ESPER                                  710 E WALNUT AVE                                                                              BURBANK          CA    91501‐1728
DIANE ADELE GOODRICH                               4416 COUNTY LINE RD NE                                                                        MANCELONA        MI    49659‐8808
DIANE ARIAS CUST MEGHAN ARIAS UTMA NJ              10723 WEST DR.                       UNIT 101                                                 FAIRFAX          VA    22030
DIANE ARIAS CUST SHANA ARIAS UTMA NJ               5502 CHESTNUT BLUFF RD                                                                        MIDLOTHIAN       VA    23112‐6308
DIANE ATLMAN BERUBE                                33 ARCH STREET                                                                                NEW BEDFORD      MA    02740‐3632
DIANE B BLAKE                                      735 RADNOR LN                                                                                 SMYRNA           DE    19977‐1768
DIANE B DOMINO & DONALD D DOMINO SR JT TEN         51 TREASURE CIRCLE                                                                            SEBASTIAN        FL    32958

DIANE B FELLOWS                                    16420 RUSTIC RD                                                                               LOXAHATCHEE      FL    33470‐5032
DIANE B PAPE                                       3575 E MARCUS DRIVE                                                                           SAGINAW          MI    48603‐2045
DIANE B SCHOENBERGER                               3509 SARATOGA PLACE                                                                           SCHERTZ          TX    78154‐2520
DIANE B SKINNER                                    4570 DOC SAMS ROAD                                                                            CUMMING          GA    30028
DIANE B TRISLER                                    BOX 733                                                                                       JONESVILLE       LA    71343‐0733
DIANE B WALLS & HARRY N WALLS JT TEN               2216 MEETINGHOUSE RD                                                                          BOOTHWYN         PA    19061‐3407
DIANE BARNEY                                       1540 N CENTER ST                                                                              CORRY            PA    16407
DIANE BARTLEY                                      3 SHELBY PLACE                                                                                SAINT PAUL       MN    55116
DIANE BELDEKAS                                     255 COMMON ST                                                                                 BELMONT          MA    02178
DIANE BELL                                         104 WINDY MILL DR                                                                             NORTH AUGUSTA    SC    29841‐9255
DIANE BENDER                                       520 HARRISTOWN RD                                                                             GLEN ROCK        NJ    07452
DIANE BENDER                                       8496 YORKE RD                                                                                 WEST PALM BCH    FL    33414‐3470
DIANE BENDER CUST SUZANNE BENDER UGMA NJ           110 DENNIS LANE                                                                               PHOENIXVILLE     PA    19460‐4729
DIANE BENNETT & GREGORY D BENNETT JT TEN           832 MEODOW DR                        DAVIDSON                                                 DAVISON          MI    48423
DIANE BERLOCO & ANTHONY BERLOCO JT TEN             3 DANSER DRIVE                                                                                CRANBURY         NJ    08512‐3171
DIANE BERTOLOTTI                                   252 KNICKERBOCKER RD                                                                          CLOSTER          NJ    07624‐1814
DIANE BLACK                                        410 NO TREE RD                                                                                CENTEREACH       NY    11720‐1026
DIANE BLACKWELL & JOSEPH BLACKWELL JT TEN          5418 THETFORD PL                                                                              ALEXANDRIA       VA    22310‐1118
DIANE BLYSKAL & YVONNE BLYSKAL JT TEN              4363 ASTER BLVD                                                                               HOWELL           MI    48843‐6629
DIANE BOBB MAZZONI                                 2628 DARBY DR SHERWOOD PK I                                                                   WILM             DE    19808‐2238
DIANE BOES                                         3926 CROOKED CREEK RD                                                                         OKEMOS           MI    48864‐3793
DIANE BONNIE BELLARGEON                            5605 S 81ST WEST AVE                                                                          TULSA            OK    74107‐8661
DIANE BRADFORD                                     5744 ALEXANDRIA AVE                                                                           CORONA           CA    92880‐7253
DIANE BRODTMANN SCHOENBERGER                       3509 SARATOGA PLACE                                                                           SCHERTZ          TX    78154‐2520
DIANE BURRILL KELLIE                               1522 LONDON DRIVE                                                                             MURRAY           KY    42071‐3221
DIANE BURT & JAMES H BURT JT TEN                   1828 6TH TERRACE S E                                                                          CAPE CORAL       FL    33990‐1617
DIANE BUTLER                                       5756 ARNOLD RD                                                                                MARINE CITY      MI    48039‐1300
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DIANE C CARNEY                                 1140 QUEEN RD                                                                                 VENICE           FL    34293‐4811
DIANE C CELENTANO                              165 BROOK ST                                                                                  GARDEN CITY      NY    11530‐6422
DIANE C CLEGG                                  1765 AUBURN LN                                                                                COLUMBIA         TN    38401‐6447
DIANE C CLIFTON                                9909 S KENTON                                                                                 OAK LAWN         IL    60453
DIANE C HEWITT                                 2161 LAUERL HILL RD                                                                           EDISTO ISLAND    SC    29438‐8306
DIANE C JOHNSTONE                              100 RUSKIN ROAD                                                                               EAST AURORA      NY    14052‐1450
DIANE C JONES                                  ATTN DIANE C JONES PANNELL           3430 WOOD CREEK DRIVE                                    SUITLAND         MD    20746‐1361
DIANE C KRELL‐BATES                            5606 QUIDDE COURT                                                                             SAN DIEGO        CA    92122‐4026
DIANE C MACCORMACK                             10034 CHATELAINE CIRCLE                                                                       ELLICOTT CITY    MD    21042‐6227
DIANE C MASSIMO                                91 WATERSIDE CLOSE                                                                            EASTCHESTER      NY    10707‐1655
DIANE C MAZER                                  1673 SW SCHLEICHER LN                                                                         PORT ST LUCIE    FL    34984‐3623
DIANE C MORRELL CUST CHERYL ANN MORRELL UGMA 5590 HOUGHTEN                                                                                   TROY             MI    48098‐2907
MI
DIANE C MORRELL CUST PAMELA LYN MORRELL UGMA 5590 HOUGHTEN                                                                                   TROY             MI    48098‐2907
MI
DIANE C OSBORNE                                4515 WATERFORD DR                                                                             SUWANEE          GA    30024‐1458
DIANE C REID                                   727 ZENITH ST                                                                                 BELLE FOURCHE    SD    57717
DIANE C RIGGS                                  3742 E 85TH PLACE                                                                             TULSA            OK    74137‐1729
DIANE C RUBINCAM                               102 BERKSHIRE DR                                                                              MT LAUREL        NJ    08054‐1402
DIANE C RUSSEAU                                7800 W 250 S                                                                                  RUSSIAVILLE      IN    46979‐9718
DIANE C RUSSELL TR DIANE C RUSSELL REVOCABLE   6323 ISLAND LAKE DRIVE                                                                        BRIGHTON         MI    48116‐9569
TRUST UA 05/18/05
DIANE C SHERIDAN                               8700 FORDHAM ST                                                                               FORT MYERS       FL    33907‐4322
DIANE C SMITH                                  1481 KITTRELL RD                                                                              FRANKLIN         TN    37064‐7400
DIANE C WARNER                                 5836 CHESTNUT HILL DR                                                                         CLARKSTON        MI    48346‐3010
DIANE C WATTS                                  11160 CROFTON OVERLO                                                                          DULUTH           GA    30097‐1948
DIANE CAMPANELLI CUST LAURIE A CAMPANELLI UGMA PO BOX 684                                                                                    CHESTER          NJ    07930‐0684
NJ
DIANE CANNON‐BOYD                              1420 NW FOXBORO RD                                                                            BLUE SPRINGS     MO    64015
DIANE CANTISANO                                217 EDGEMERE DR                                                                               ROCHESTER        NY    14612‐1713
DIANE CAROL ARTHUR                             9719 WHITLEY PARK PL                                                                          BETHESDA         MD    20814‐2035
DIANE CAROL REIMAN                             1766 GLEN MEADOW LN                                                                           LEONARD          MI    48367‐3154
DIANE CARVIN                                   2022 HARMAN ST                                                                                RIDGEWOOD        NY    11385‐1924
DIANE CARVIN                                   20 22 HARMAN STREET                                                                           RIDGEWOOD        NY    11385
DIANE CATHERINE MULLEN                         30367 VIA CANADA RD                                                                           TEMECULA         CA    92592‐5133
DIANE CEAILE STARR                             10423 LARRYLYN DR                                                                             WHITTIER         CA    90603‐2615
DIANE CHCIUK                                   22001 VIOLET ST                                                                               ST CLR SHORES    MI    48082‐1981
DIANE CHRISTINE PANG NORRIS                    3487 AVIARY WAY                                                                               WOODBRIDGE       VA    22192
DIANE COANDLE & JOE COANDLE JT TEN             61 WARNER RD                                                                                  HUBBARD          OH    44425‐3333
DIANE COANDLE & JOE COANDLE JT TEN             61 WARNER RD                                                                                  HUBBARD          OH    44425‐3333
DIANE COLONELLO CUST MARIANGELA COLONELLO      14410 TRIADELPHIA MILL RD                                                                     DAYTON           MD    21036‐1220
UTMA CT MD
DIANE COLONELLO CUST MICHAEL COLONELLO UTMA    14410 TRIADELPHIA MILL RD                                                                     DAYTON           MD    21036‐1220
MD
DIANE COOK                                     9748 S UNION AVE                                                                              CHICAGO          IL    60628‐1019
DIANE COOPER & STEPHEN W COOPER JT TEN         180 WEST END AVE                     APT 24F                                                  NEW YORK         NY    10023
DIANE COPELAND                                 114 LAUREN LN                                                                                 BRICK            NJ    08723‐7845
DIANE CRAVEN VAUGHN                            2618 EAST PARKVIEW DRIVE                                                                      ST ALBANS        WV    25177‐3438
DIANE CROWLEY                                  511 LADD RD                                                                                   SPRING VALLLEY   IL    61362‐1107
DIANE CZEKAJ                                   706 TULIP CRT                        OSHAWA ON                              L1G 3C6 CANADA
DIANE D GALLAGHER                              23 ALLEN ST                                                                                   WOBURN           MA    01801‐5213
DIANE D RECTOR                                 155 TURTLEDOVE                                                                                MONROE           LA    71203‐8473
DIANE DAUGHERTY                                3335 FOREST ROAD                                                                              BETHEL PARK      PA    15102‐1417
DIANE DE VITO & JAMES E DE VITO JT TEN         3451 EAST STAHL RD                                                                            MONON            IN    47959‐8025
DIANE DEANE FREIDELL HANSBARGER                ATTN G DAVISON                       BAUER RD                                                 DEWITT           MI    48820
DIANE DELLA FERRERI                            2728 N FRANCISCO AVE                                                                          CHICAGO          IL    60647‐1706
DIANE DESERIO & RICHARD DESERIO JT TEN         416 BARRACK HILL RD                                                                           RIDGEFIELD       CT    06877
DIANE DEVER                                    10 ORCHARD WAY                                                                                MOUNT LAUREL     NJ    08054‐1627
DIANE DIAZ                                     40 PEPPERMINT DR                                                                              LUMBERTON        NJ    08048‐4276
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Name                                               Address1                            Address2             Address3          Address4          City           State Zip

DIANE DICKE                                        859 SUZANNE CT                                                                               LANGLEY        WA    98260‐8631
DIANE DIEFENDERFER                                 PO BOX 5687                                                                                  IRVINE         CA    92616‐5687
DIANE DIETRICH CUST JENNIFER DIETRICH UGMA NY      6215 TAYLOR RD                                                                               ORCHARD PARK   NY    14127‐2343

DIANE DOWLING                                      20332 WATERS ROW TERRACE                                                                     GERMANTOWN      MD   20874‐3821
DIANE DRAY                                         388 RICHARD                                                                                  SPRING ARBOR    MI   49283‐9604
DIANE DUMESTRE                                     3425 PRYTANIA STREET                                                                         NEW ORLEANS     LA   70115‐3521
DIANE DUNN                                         9601 E 100 N                                                                                 GREENTOWN       IN   46936‐8863
DIANE E ADAMS & GILBERT R ADAMS JT TEN             17962 E GALLINETA                                                                            ROWLAND HEIGHTS CA   91748‐4227

DIANE E BALDWIN                                    2844 IRA HILL RD                                                                             CATO           NY    13033‐8712
DIANE E BALDWIN VAN HORN                           BOX 2844 INA HILL                                                                            CATO           NY    13033‐9801
DIANE E BENNETT                                    9153 CHATWELL CLUB LN               APT 7                                                    DAVISON        MI    48423
DIANE E BLASK                                      133 CHULA VISTA DRIVE                                                                        WILMINGTON     NC    28412‐1913
DIANE E CARLSON                                    8 RING NECK CT                                                                               WADING RIVER   NY    11792‐9371
DIANE E COFFEY                                     5503 S RAINBOW LN                                                                            WATERFORD      MI    48329‐1560
DIANE E DAVIS                                      1722 SHERWOOD HILL DRIVE                                                                     LAKELAND       FL    33810‐3050
DIANE E DURKIN                                     C/O D E MANCZUK                     19723 DALE                                               DETROIT        MI    48219‐4681
DIANE E DYMOND & CINDY J DYMOND JT TEN             1651 N ROYSTON ROAD                                                                          CHARLOTTE      MI    48813‐9386
DIANE E ELLIOTT & JAMES C ELLIOTT JT TEN           116 JULIE RD                                                                                 BOLINGBROOK    IL    60440‐1334
DIANE E KOLINS                                     5003 LONE OAK PL                                                                             FAIRFAX        VA    22032‐2832
DIANE E LANDRY                                     2450 FORREST OAK TRAIL                                                                       WILLIAMSTON    MI    48895‐9030
DIANE E MC CORMICK                                 240 LEONA DRIVE                     PO BOX 187                                               PEWAMO         MI    48873‐0187
DIANE E MCDONALD                                   1467 S GENESEE ROAD                                                                          BURTON         MI    48509‐1828
DIANE E MERRELL                                    533 MACDONALD AVE                                                                            FLINT          MI    48507‐2749
DIANE E MILLER                                     36 W PARKWAY                                                                                 VICTOR         NY    14564‐1251
DIANE E MYERS                                      73 QUAKER HILL RD                                                                            LEVITTOWN      PA    19057‐1901
DIANE E NISHIMURA                                  14016 CLEAR WATER LN                                                                         FORT MYERS     FL    33907‐8098
DIANE E PETERSON                                   421 WISCONSIN DR                                                                             BROWNS MILLS   NJ    08015‐5621
DIANE E PIERCE                                     322 BURMINT ROAD                                                                             DREXEL HILL    PA    19026‐3509
DIANE E RYAN & JOHN P RYAN JT TEN                  5 CLARE TERRACE                                                                              YONKERS        NY    10707‐3201
DIANE E SELLIER & BRIAN SCOTT SELLIER JT TEN       2540 E CATHEDRAL ROCK DR                                                                     PHOENIX        AZ    85048‐9500
DIANE E SMITH                                      PO BOX 306                                                                                   HOLT           MI    48842‐0306
DIANE E SUCHARSKI                                  595 LAGUNA                                                                                   WALLED LAKE    MI    48390
DIANE E WHITE & EDWARD J COLEMAN JT TEN            83 N RIDGE ROAD                                                                              BEVERLY        MA    01915‐7006
DIANE E WITT                                       20812 GAULT                                                                                  CANOGA PARK    CA    91306‐3311
DIANE E WOLVERTON                                  106 ELM ST                                                                                   GAINES         MI    48436‐8700
DIANE E YODER                                      39403 CALLE DE SUENOS                                                                        MURRIETA       CA    92562‐8715
DIANE ELIZABETH MARTIN COURT CUST COLIN ARCHER     8605 BAY SHORE CV                                                                            ORLANDO        FL    32836‐6308
MARTIN FORWARD UTMA MD
DIANE ELLISON                                      17820 92ND AVE                                                                               TINLEY PARK    IL    60487
DIANE ESHBACH & CHARLES V ESHBACH & ZACHARY J      19963 HAAPAPURA RD                                                                           HOUGHTON       MI    49931‐9759
ESHBACH JT TEN
DIANE F BANCROFT                                   PO BOX 127                                                                                   LEBANON        CT    06249‐0127
DIANE F CHARNEY & DAVID L CHARNEY JT TEN           414 N UNION ST                                                                               ALEXANDRIA     VA    22314‐2304
DIANE F CONROY                                     382 SURBER DRIVE                                                                             SAN JOSE       CA    95123‐4344
DIANE F CRESPIN CUST JEFFERY S CRESPIN UGMA IL     303 E 83RD ST                       APT 3G                                                   NEW YORK       NY    10028‐4315

DIANE F DE DOMINICIS & MICHAEL C DE DOMINICIS JT   2444 CORY AVE                                                                                SAN JOSE       CA    95128‐1309
TEN
DIANE F EANNACE                                    295 CLARE DRIVE                                                                              CANONSBURG     PA    15317‐5229
DIANE F HANCSAK                                    428 S BROADWAY                                                                               LAKE ORION     MI    48362‐2742
DIANE F LASSEN                                     2902 TREYBURN LN                                                                             W BLOOMFIELD   MI    48324‐4100
DIANE F MARCUS                                     801 PARROTT DRIVE                                                                            SAN MATEO      CA    94402‐3225
DIANE F RADIGAN                                    100 PASTURE LN                                                                               MATTITUCK      NY    11952‐2688
DIANE F RADIGAN CUST CHRISTOPHER M RADIGAN         100 PASTURE LN                                                                               MATTITUCK      NY    11952‐2688
UGMA NY
DIANE F RADIGAN CUST DAVID A RADIGAN UGMA NY       100 PASTURE LN                                                                               MATTITUCK      NY    11952‐2688
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DIANE F RADIGAN CUST MEGAN A RADIGAN UGMA NY   100 PASTURE LN                                                                                MATTITUCK          NY    11952‐2688

DIANE F SZAMBORSKI                             1032 BRASSINGTON DR                                                                           COLLGEVILLE        PA    19426‐4004
DIANE F WILMOT                                 3462 SANDY BEACH DR                                                                           CANANDAIGUA        NY    14424‐2348
DIANE FINK CUST CARLY ADINE FINK UGMA NJ       BOX 47                                                                                        ALPINE             NJ    07620‐0047
DIANE FINLEY                                   80 PRIMROSE                                                                                   ALISO VIEJO        CA    92656
DIANE FISHER                                   LADBROKE DOWN                        9A LADBROKE SQUARE   LONDON W11        GREAT BRITAIN
DIANE FRANCES INNES                            8108 SILVER SPUR DR                                                                           ARLINGTON          TX    76001
DIANE FRANK                                    7543 MIAMI AVE                                                                                CINCINNATI         OH    45243‐1956
DIANE FRISBIE HAAN & DAVID L HAAN JT TEN       18711 APPLETREE LANE                                                                          SPRING LAKE        MI    49456‐1109
DIANE G ANDERSON                               ATTN DIANE G CASTERLINE              1516 TURNER                                              FAIRBANKS          AK    99701‐6141
DIANE G ASSENMACHER CUST MARY E ASSENMACHER    5439 MYSTIC LAKE DR                                                                           BRIGHTON           MI    48116‐7742
UGMA MI LAW
DIANE G BIBER CUST JENNIFER G BIBER UTMA MI    3013 HIGHBROOK DR                                                                             MIDLAND            MI    48642‐3925
DIANE G CASTERLINE                             1516 TURNER ST                                                                                FAIRBANKS          AK    99701‐6141
DIANE G COURNEY                                6451 LUCAS RD                                                                                 FLINT              MI    48506‐1222
DIANE G DEYORGI                                2309 S BABCOCK ST                    APT 237                                                  MELBOURNE          FL    32901‐5350
DIANE G DROOMER                                2209 TENNESSEE ST                                                                             MIDLAND            MI    48642‐5788
DIANE G HOLDREN                                5010 MEDLAR ROAD                                                                              MIAMISBURG         OH    45342‐4746
DIANE G LOBSIGER                               6232 AMANDA DR                                                                                SAGINAW            MI    48638‐4361
DIANE G O DONNELL & IRENE D O DONNELL JT TEN   4 CLINTON ST                                                                                  PAWTUCKET          RI    02861‐1813

DIANE G PLATT                                  26 APPLEGRATH COURT                                                                           GERMANTOWN         MD    20876‐5614
DIANE G PRINCE                                 262 ARZORIAN LANE                                                                             AYLETT             VA    23009‐3235
DIANE G RADEMACHER                             108 30TH                                                                                      DES MOINES         IA    50312‐4424
DIANE G ROBERTS                                799 W ROSE MEADOW DRIVE                                                                       LUTHER             MI    49656
DIANE G SCHWEIKERT                             114 MERRYHILL DR                                                                              MARIETTA           OH    45750‐1366
DIANE G STILWELL                               2759 CATHEDRAL                                                                                ST LOUIS           MO    63129‐3101
DIANE G WHEELER                                924 FITTING AVE                                                                               LANSING            MI    48917‐2233
DIANE GAMBINI                                  25444 OVERLAND DR                                                                             VOLCANO            CA    95689‐9789
DIANE GASKELL                                  901 MAIN STREET                                                                               FENTON             MI    48430‐2175
DIANE GAY HOFFMAN                              25556 IVANHOE                                                                                 REDFORD            MI    48239‐3460
DIANE GILMAN                                   13440 ENID BLVD                                                                               FENTON             MI    48430‐1153
DIANE GLASSEN                                  4504 GARDEN DR                                                                                RACINE             WI    53403‐3944
DIANE GOLSON                                   900 DOGWOOD ST                                                                                LOGANSPORT         LA    71049‐3391
DIANE GORDAN                                   C/O DIANE VATALERO                   8 MARIONS WAY                                            GEORGETOWN         MA    01833‐1331
DIANE GORDON                                   8612 E 50TH TERR                                                                              KANSAS CITY        MO    64129‐2262
DIANE GOULDING                                 2925 BRYER RIDGE CT                                                                           EXPORT             PA    15632‐9394
DIANE GRANT & EARL GRANT TR UA 03/15/76 M‐B    1569 APPLE LANE                                                                               BLOOMFIELD HILLS   MI    48302‐1301
DIANE GRANT ET AL
DIANE GREEN                                    6080 EMERALD POINTE CIRCLE                                                                    COLLEGE PARK       GA    30349‐8410
DIANE GREEN & THOMAS GREEN JT TEN              4051 DOGWOOD CT                                                                               GROVE CITY         OH    43123‐9679
DIANE GRIFFIN                                  15035 WOODMONT                                                                                DETROIT            MI    48227‐1455
DIANE GUIDO                                    594 RIVERWOOD DR SE                                                                           BOLIVIA            NC    28422
DIANE H ANDRE                                  1610 W PHILADELPHIA AVE                                                                       BOYETOWN           PA    19512‐7711
DIANE H DENNIS                                 37 MOUNTAIN MANOR RD                                                                          SANDY HOOK         CT    06482‐1489
DIANE H GARNER                                 327 HOMECREST DR                                                                              WILLOW STREET      PA    17584‐9448
DIANE H GILLIAM                                3223 STUART LN                                                                                DEARBORN           MI    48120‐1358
DIANE H HALFERTY                               13561 PESETA CT                                                                               CORPUS CHRISTI     TX    78418‐6932
DIANE H LAMPLEY                                1768 FERNDALE AVE SW                                                                          WARREN             OH    44485‐3951
DIANE H LAPORTE                                11222 BELLE HAVEN DR                                                                          NEW PRT RCHY       FL    34654‐4492
DIANE H MYER                                   1511 E MASON LAKE DR E                                                                        GRAPEVIEW          WA    98546‐9782
DIANE H SCHWARTZMAN                            301 BONNIE MEADOW CIRCLE                                                                      REISTERSTOWN       MD    21136‐6201
DIANE H SEYMOUR                                560 WYNDEMERE AVE                                                                             RIDGEWOOD          NJ    07450‐3531
DIANE H STANLEY                                521 PASTURE BROOK                                                                             SEVERN             MD    21144‐2319
DIANE H WOODARD                                1117 GRAND BLVD                                                                               BIRMINGHAM         AL    35214‐4417
DIANE H WRIGHT CUST VALERIE M WRIGHT UGMA NY   207 EUCLID AVE                                                                                ALBANY             NY    12208‐1431

DIANE HALL                                     705 WASHINGTON AVE                                                                            MIFFLINTOWN        PA    17059‐1417
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DIANE HALL                                       5079 WOODCLIFF                                                                                 FLINT             MI    48504‐1254
DIANE HARRIS                                     300 N HERMITAGE AVE                                                                            LOOKOUT           TN    37350‐1232
                                                                                                                                                MOUNTAIN
DIANE HAWTHORNE                                  38835 BURGER LN 343                                                                            DADE CITY         FL    33523‐6968
DIANE HEBERT RAY                                 522 W JUDD                                                                                     WOODSTOCK         IL    60098‐3133
DIANE HELENE GROSS                               18300 COLLINS ST                      APT 105                                                  TARZANA           CA    91356‐2464
DIANE HOWARD                                     PO BOX 12552                                                                                   TEMPE             AZ    85284‐0043
DIANE HUBER                                      6411 HANOVER CROSSING WAY                                                                      HANOVER           MD    21076‐2007
DIANE HURLBURT CUST ALEXUS VICTORIA HURLBURT     1447 CLENDENNING CREEK RD                                                                      PAINTED POST      NY    14870‐9760
UGMA PA
DIANE HURLBURT CUST TONYA MARIE HURLBURT         1447 CLENDENNING CREEK RD                                                                      PAINTED POST      NY    14870‐9760
UGMA PA
DIANE HUTCHINSON                                 ATTN DIANE DELANEY                    49 BRIANT DR                                             SUDBURY           MA    01776‐1383
DIANE I COLE                                     8079 GALE RD                                                                                   OTISVILLE         MI    48463‐9412
DIANE I GLOVER                                   1284 ALOHA OE DR                                                                               KAILUA            HI    96734‐4505
DIANE I GUTIERREZ‐RUTTER                         1290 E STANLEY ROAD                                                                            MT MORRIS         MI    48458‐2548
DIANE I KAPUSE                                   13 LOCKWOOD LANE                                                                               NORWALK           CT    06851‐5806
DIANE I KRAMER & STUART R KRAMER JT TEN          4707 WYLIE RD                                                                                  DEXTER            MI    48130
DIANE I KURYLO                                   28153 LIBERTY DR                                                                               WARREN            MI    48092‐2587
DIANE I MC MAHILL                                424 OXFORD HILL RD                                                                             HEWITT            TX    76643‐3344
DIANE J BAKER                                    7325 S CHAMPLAIN AVE                                                                           CHICAGO           IL    60619‐1828
DIANE J BEATON                                   1117 COCALICO RD                                                                               BIRDSBORO         PA    19508‐8513
DIANE J BLAGG CUST NICOLAS QUENTIN BLAGG UTMA    2170 E HIGHLAND RD                                                                             HOWELL            MI    48843‐1357
MI
DIANE J BRYANT                                   165 OAK ST                                                                                     FOXBOROUGH        MA    02035‐1620
DIANE J COLLINS                                  1935 CALEB AVE                                                                                 SYRACUSE          NY    13206‐2560
DIANE J DELANEY                                  7459 CHELLMAR DR                                                                               LANSING           MI    48917‐9100
DIANE J FAUSTMAN & KARL B FAUSTMAN JT TEN        609 N MAIN ST                                                                                  ENGLEWOOD         OH    45322‐1306
DIANE J GIBBS                                    2131 WILLOW SHORE DR SE 202                                                                    KENTWOOD          MI    49508‐0902
DIANE J GOLDSWORTHY                              3 COLBEY ST                           ST CATHARINES ON                       L2R 1N1 CANADA
DIANE J HAWKER                                   4526 GOLF VIEW DR                                                                              BRIGHTON          MI    48116‐9796
DIANE J HUBERT                                   1009 CRICKET LANE                                                                              WOODBRIDGE        NJ    07095‐1581
DIANE J MEEKS & TIMOTHY M MEEKS JT TEN           4016 NELSON ROAD                                                                               MIDDLETOWN        OH    45042‐2803
DIANE J MILLER                                   3077 ROCHESTER RD                                                                              LEONARD           MI    48367‐2411
DIANE J PANNELL                                  ATTN DIANE C JONES                    3430 WOOD CREEK DRIVE                                    SUITLAND          MD    20746‐1361
DIANE J SHANNON                                  5560 SW 89TH ST                                                                                OCALA             FL    34476
DIANE J SMITH                                    534 WESTWOOD CT                                                                                OKLAHOMA CITY     OK    73127‐4841
DIANE J SWAN                                     300 N WILLIAMSTON RD                                                                           DANVILLE          MI    48819‐9623
DIANE J WALKER & AMY WALKER ANNETT JT TEN        45 PRESTON AVE                                                                                 WATERFORD         MI    48328‐3253
DIANE J WEESE                                    13931 S MARYBROOK DR                                                                           PLAINFIELD        IL    60544‐8950
DIANE J WILLIAMS                                 1335 PINE RIDGE                                                                                BUSHKILL          PA    18324‐9756
DIANE J WINGERT                                  64604 WICKLOW HILL                                                                             WASHINGTON        MI    48095‐2592
DIANE J ZUMBRO & RICHARD R ZUMBRO JT TEN         39160 PRENTISS                                                                                 HARRISON          MI    48045‐1775
                                                                                                                                                TOWNSHIP
DIANE JENKINS CUST DAVID M JENKINS UTMA MD       513 CLARKS RUN RD                                                                              LA PLATA          MD    20646‐9514
DIANE JENKINS CUST JENNIFER M JENKINS UTMA MD    513 CLARKS RUN RD                                                                              LA PLATA          MD    20646‐9514

DIANE JOSEPH                                     1105 KINGSVIEW AVE                                                                             ROCHESTER HILLS   MI    48309‐2510
DIANE JUNE HAMMERBERG & ERIC KUNO                401 HIGH                                                                                       DENVER            CO    80218‐4023
HAMMERBERG JT TEN
DIANE K APPERSON                                 5029 CANDLEWOOD DR                                                                             GRAND BLANC       MI    48439‐2004
DIANE K BARNARD                                  ATTN DIANE K TUCKER                   4203 IRONSIDE DR                                         WATERFORD         MI    48329‐1636
DIANE K BURNS                                    PO BOX 12025                                                                                   LANSING           MI    48901‐2025
DIANE K CAHILL                                   109 STRATTFORD RD                                                                              NEW HYDE PK       NY    11040‐3512
DIANE K DEMPSTER                                 BOX 382                                                                                        MELCHOR           IA    50163
DIANE K DOLENC                                   18 PICKERING LN                                                                                SPRINGFIELD       IL    62712
DIANE K FRACZEK WHITTY & DAVID C WHITTY JT TEN   28662 BARBARA LN                                                                               GROSSE ILE        MI    48138‐2000

DIANE K FRANCISCO                                15284 BEALFRED DRIVE                                                                           FENTON            MI    48430‐1709
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DIANE K HARRIS                                    710 SHORE VIEW DRIVE                                                                           RAYMORE            MO    64083
DIANE K HUNLEY                                    4092 LAURA MARIE DR                                                                            WAYNESVILLE        OH    45068‐8940
DIANE K MIELKE                                    9655 TOWER RD                                                                                  SOUTH LYON         MI    48178‐7027
DIANE K PAULEN                                    PO BOX 1202                                                                                    WESTCLIFFE         CO    81252‐1202
DIANE K SIRI                                      1285 SAN ANDRES RD                                                                             LE SELVA BEACH     CA    95076‐9637
DIANE K SIRI                                      1285 SAN ANDRES ROAD                                                                           LE SELVA BEACH     CA    95076‐9637
DIANE K ST PIERRE CUST KATHRYN M ST PIERRE UGMA 38786 JAMISON                                                                                    LIVONIA            MI    48154
MI
DIANE K ST PIERRE CUST LAUREN N ST PIERRE UGMA MI 38786 JAMISON                                                                                  LIVONIA            MI    48154

DIANE K TOMIC CUST AVARY E TOMIC UTMA IL         1674 CAMPTON DRIVE                                                                              BOURBONNAIS        IL    60914
DIANE K VESTRAND CUST MATHEW P VESTRAND UTMA     6226 99TH ST E                                                                                  BRADEN RIVER       FL    34202‐9371
FL
DIANE K WHEELER                                  5026 HIGATE RD                                                                                  SPRING HILL        FL    34609‐1736
DIANE K WRIGHT & LARRY A WRIGHT JT TEN           7443 MAPLELEAF CT                                                                               COLUMBUS           OH    43235‐4216
DIANE K WUNDERLICH                               9747 E DEL MONTE AVE                                                                            GOLD CANYON        AZ    85218‐6833
DIANE KANTAS                                     2425 I ST                                                                                       OMAHA              NE    68107‐1759
DIANE KASLE HYLAND                               30557 CAMAS SWALE                                                                               CRESWELL           OR    97426‐9771
DIANE KITZMAN                                    BOX 72                                                                                          WHAT CHEER         IA    50268‐0072
DIANE KOMORN CUST JULIE ELLEN KOMORN UGMA MI     3951 SHELLMARR LANE                                                                             BLOOMFIELD HILLS   MI    48302‐4056

DIANE KOURY                                      BOX 49                                                                                          NORWELL            MA    02061‐0049
DIANE KOVACH                                     1080 ARUBA CIR                                                                                  CHARLESTON         SC    29412‐8641
DIANE KRAKOWER & MIRIAM ROSENBERG JT TEN         206 GLEZEN LANE                                                                                 WAYLAND            MA    01778‐1511
DIANE KROGGEL                                    C/O DIANE KROGGEL CRANDELL             2309 LAVIDA PLACE                                        PLANO              TX    75023‐5326
DIANE KUBIK                                      16043 PINE BLUFF CT                                                                             FENTON             MI    48430‐9166
DIANE L ANSIER                                   106 NW 90TH ST                                                                                  KANSAS CITY        MO    64155‐2364
DIANE L ANTUNES & JOSEPH L ANTUNES JT TEN        19 SHEA LANE                                                                                    TINTON FALLS       NJ    07724‐9741
DIANE L AULT                                     851 AXEMANN ROAD                                                                                BELLEFONTE         PA    16823
DIANE L BARDENWERPER                             21020 HIGHLAND PASS                                                                             BROOKFIELD         WI    53045‐4544
DIANE L BEARER                                   5309 EDGEWATER ST                                                                               TOLEDO             OH    43611‐2639
DIANE L BOEGNER CUST ALEXANDER T APPEL UGMA MI   2107 RADCLIFFE AVE                                                                              FLINT              MI    48503‐4746

DIANE L BOKOR                                    878 RIVER BANK ST                                                                               LINCOLN PARK       MI    48146‐4388
DIANE L BRIEF‐HENDERSON                          8352 FREMONT STREET                                                                             WESTLAND           MI    48185‐1807
DIANE L BRYANT                                   2 VAILLE DR                                                                                     TAYLORS            SC    29687‐3932
DIANE L BURR                                     PO BOX 295                                                                                      NORTH BEACH        MD    20714‐0295
DIANE L CALCAMUGGIO                              2748 TARRYTOWNE                                                                                 TOLEDO             OH    43613‐1007
DIANE L COHEN                                    2828 WOOD VALLEY COURT                                                                          JACKSONVILLE       FL    32217‐2495
DIANE L COLEHAMER                                C/O D ANDERSON                         146 HILLCREST AVENUE                                     MORRISTOWN         NJ    07960‐5055
DIANE L DAVIS                                    19020 FAIRFIELD                                                                                 DETROIT            MI    48221‐2233
DIANE L DELAPLANE                                3023 RIDGE DR                                                                                   GREENVILLE         OH    45331‐9757
DIANE L DENNIS                                   ATTN DIANE L COLLINS                   3700 HWY 17‐92 N       DAVINPORT                         DAVENPORT          FL    33837
DIANE L DONEGAN                                  C/O WINSTEAD                           796 RUTH RD                                              LEWISTON           MI    49756‐7551
DIANE L DORRELL                                  184 EASTLAKE RD                                                                                 PILESGROVE         NJ    08098‐3127
DIANE L DORRELL                                  184 EASTLAKE RD                                                                                 PILESGROVE         NJ    08098
DIANE L DOUGLAS                                  16 MAPLEWOOD CT                                                                                 GREENBELT          MD    20770‐1907
DIANE L DUFALLA                                  4024 EAST 42ND ST                                                                               NEW BURG HTS       OH    44105‐3110
DIANE L DUFALLA & GEORGE S DUFALLA JR JT TEN     4024 EAST 42ND STREET                                                                           CLEVELAND          OH    44105‐3110
DIANE L ENRIQUEZ                                 17204 EUCLID AVE                                                                                ALLEN PARK         MI    48101‐2829
DIANE L FREDENBERG                               3105 CHAHA RD                                                                                   ROWLETT            TX    75088‐2901
DIANE L GEBERT                                   1330 OREGON RD                                                                                  ADRIAN             MI    49221‐1331
DIANE L GEER                                     54 PARMA STREET                                                                                 ROCHESTER          NY    14615‐3116
DIANE L GILLEY                                   7 CHAMPLAIN AVENUE                                                                              WILMINGTON         DE    19804‐1746
DIANE L GLOWACKI                                 27672 MILL CREEK                                                                                BROWNSTOWN         MI    48183‐5928
DIANE L GREENING                                 205 SEAMAN AVE                                                                                  BAYPORT            NY    11705‐2036
DIANE L GROCHULSKI                               C/O DIANE LYNN GLOWACKI                27672 MILL CREEK                                         BROWNSTOWN         MI    48183‐5928
DIANE L HAMILTON                                 4643 WALDON                                                                                     CLARKSTON          MI    48348‐5015
DIANE L HAMMOND                                  PO BOX 68                                                                                       ALGONAC            MI    48001‐0068
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DIANE L HARPER                                     4861 POST POINTE DR                                                                            SARASOTA          FL    34233
DIANE L HARRELL                                    11571 PHYLLIS                                                                                  TAYLOR            MI    48180‐4130
DIANE L HEALEY                                     342 ASPEN DR                                                                                   UTICA             NY    13502‐7803
DIANE L HOUSE & TERENCE G PELC JT TEN              1378 SHENANDOAH DR                                                                             ROCHESTER HILLS   MI    48306‐3855
DIANE L IRBY                                       22776 REDWOOD LN                                                                               TAYLOR            MI    48180‐9316
DIANE L KARKAU                                     3600 ORCHID LANE                                                                               HORT              MI    48842‐8741
DIANE L KRYGIER                                    4 RAMBO DRIVE                                                                                  NEW CASTLE        DE    19720‐4044
DIANE L LAHR                                       19425 NORTHRIDGE DRIVE                APT B                                                    NORTHVILLE        MI    48167
DIANE L LANG                                       21361 GARY DR                                                                                  CASTRO VALLEY     CA    94546‐6119
DIANE L LATESKY                                    732 MARWAY N W                                                                                 COMSTOCK PARK     MI    49321‐9719
DIANE L LAWNICZAK                                  3534 MARK ORR                                                                                  ROYAL OAK         MI    48073‐2221
DIANE L LUNDEBERG                                  320 E MILWAUKEE STREET                                                                         JANESVILLE        WI    53545‐3065
DIANE L MASTROVITO                                 2153 ALEXANDER DR                                                                              TROY              MI    48083‐2671
DIANE L MAURER                                     17345 W 62ND LANE                                                                              GOLDEN            CO    80403‐2501
DIANE L MC DOWELL & JEFFREY L MC DOWELL JT TEN     7801 BROCKWAY SHARON RD                                                                        BURGHILL          OH    44404‐9753

DIANE L MCDAVID & FELIX C MCDAVID JT TEN           31432 HUNTERS CIRCLE                                                                           FARMINGTON HILLS MI     48334‐1308

DIANE L MEIDL                                      6002 NORMANDY ST                                                                               SCHOFIELD         WI    54476‐3562
DIANE L MOSELEY                                    216 MAJESTIC DR                                                                                COLUMBIA          SC    29223‐7760
DIANE L PETERSON                                   PSC 1 BOX 3576                                                                                 APO               AE    09009‐0036
DIANE L POST                                       1648 BOULDER CT                                                                                ROCHESTER         MI    48306‐4810
DIANE L ROSE                                       3040 HOMEWOOD DRIVE                                                                            RENO              NV    89509‐3044
DIANE L SCHAUPP                                    12465 SILVER CREEK CT                                                                          CLIO              MI    48420‐8872
DIANE L SCHILLER                                   ATTN DIANE L KOZUCH                   PO BOX 1235                                              MIDLAND           MI    48641
DIANE L SEVERSON                                   C/O DIANE L PRAEFKE                   8801 W OKLAHOMA AVE    APT 309                           MILWAUKEE         WI    53227
DIANE L SLOAN                                      4752 RATTEK                                                                                    CLARKSTON         MI    48346‐4069
DIANE L SNOW                                       5514 S WASHINGTON AVE                                                                          LANSING           MI    48911‐3636
DIANE L SOBOTA                                     2585 HAYESVILLE AVENUE                                                                         HENDERSON         NV    89012
DIANE L SPENCER & KATHRYN L SMITH JT TEN           115 YANCY CI                                                                                   SATSUMA           FL    32189‐3053
DIANE L STARNES                                    31492 PASEO CHRISTINA                                                                          SAN JUAN          CA    92675‐5521
                                                                                                                                                  CAPISTRAN
DIANE L THOMPSON                                   6243 DENTON RD                                                                                 BELLEVILLE        MI    48111‐1012
DIANE L THORNTON                                   15975 SUNSET TRL                                                                               ATLANTA           MI    49709‐9517
DIANE L TIETZ TR UA 09/10/01 ELMER M TIETZ TRUST   1640 CHAUSER LN                                                                                WOODRIDGE         IL    60517

DIANE L TUCKER                                    13411 MEADOW LN                                                                                 VERMILION         OH    44089‐9530
DIANE L WEBB                                      C/O FOWKES                             13415 LAKEBROOK DR                                       FENTON            MI    48430‐8420
DIANE LAPP                                        4424 UPLAND STREET                                                                              LA MESA           CA    91941‐6517
DIANE LAY CLEARY                                  6435 HOLLISON DR                                                                                KALAMAZOO         MI    49009‐8094
DIANE LEE RYLAND                                  2624 OAK RIDGE DR                                                                               ROCKY FACE        GA    30740‐9071
DIANE LEE WEBB                                    3108 PAULA DRIVE                                                                                CLOVIS            CA    93612
DIANE LEIGH WISEBRAM                              STE 820                                980 JOHNSON FERRY RD                                     ATLANTA           GA    30342‐1608
DIANE LISZEWSKI                                   22 WELLINGTON DRIVE                                                                             LUMBERTON         NJ    08048‐5007
DIANE LOUISE GIBSON                               313 W FULTON ST                                                                                 POMPEII           MI    48874
DIANE LOUISE LIPINSKI CUST PAUL LAWRENCE LIPINSKI 46446 GLENGARRY BLVD                                                                            CANTON            MI    48188‐3045
UGMA MI
DIANE LOUISE SULLIVAN CUST HEATHER LOUISE         49 SHARON ANN LN                                                                                EAST FALMOUTH     MA    02536‐6034
SULLIVAN UGMA MA
DIANE LYNN CHESBROUGH                             629 LAUREL AVE                                                                                  HUDSON            WI    54016‐1902
DIANE LYNN HARTMAN                                8 BROOK DRIVE                                                                                   E HARTLAND        CT    06027‐1305
DIANE LYNN HAUSMAN SIEGEL TR SIEGEL FAMILY TRUST 20290 PIERCE RD                                                                                  SARATOGA          CA    95070‐3809
UA 11/03/04
DIANE LYNN HORVATH & CYNTHIA ANN BURTON JT TEN 914 BRADFORD ST                                                                                    RAYMOND           WA    98577‐4402

DIANE LYNNE CAMPBELL                               832 OAKBROOK RIDGE                                                                             ROCHESTER HILLS   MI    48307‐1047
DIANE LYON CUST MATTHEW LYON UGMA MI               1111 N WATER ST                       STE 113                                                  BAY CITY          MI    48708‐5671
DIANE LYON CUST SAMANTHA LYON UGMA MI              1111 N WATER ST                       STE 113                                                  BAY CITY          MI    48708‐5671
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DIANE M AITKEN & JUNE E BAKER & ROBERT O BAKER JT 2901 ST JOHN DRIVE                                                                              CLEARWATER       FL    33759‐2123
TEN
DIANE M ALDERMAN                                   2031 LK PLEASANT                                                                               ATTICA           MI    48412
DIANE M ARRINGTON                                  31 OJIBWAY RD                                                                                  RANDLESTOWN      MD    21133‐1721
DIANE M BERRY TR LILLIAN CHEMLESKI LIVING TRUST UA 246 RHEEM BLVD                                                                                 MORAGA           CA    94556‐1539
11/18/02
DIANE M BLAKEBROUGH TOD GERRY B BLAKEBROUGH 116 TIMBER LANE                                                                                       CLAXTON          GA    30417
SUBJECT TO STA TOD RULES
DIANE M BOVA                                       5 D STREET N W                                                                                 GLEN BURNIE      MD    21061‐3390
DIANE M BRANDT                                     8120 PARK AVE S                                                                                BLOOMINGTON      MN    55420‐1327
DIANE M BUCKLEY                                    1951 W WILLIAMS AVE SUITE 312                                                                  FALLON           NV    89406
DIANE M BUESCHER                                   125 FOX DEN                                                                                    AVON             CT    06001‐2507
DIANE M BURLINGAME                                 N593 BLACKHAWK BLUFF DR                                                                        MILTON           WI    53563‐9503
DIANE M CARRARO                                    79 SAWMILL RD BLD 23 CT 10                                                                     BRICK            NJ    08724‐1390
DIANE M CASSETT                                    39248 US HIGHWAY 19 N                 LOT 296                                                  TARPON SPGS      FL    34689‐7907
DIANE M CECCARONI                                  22 JIONZO RD                                                                                   MILFORD          MA    01757‐1833
DIANE M CLARKE                                     831 E ALLEN AVENUE                                                                             LA VERNE         CA    91750‐3202
DIANE M CLUTE & RICHARD R CLUTE JT TEN             8058 STONY CT                                                                                  WHITE LAKE       MI    48386‐4545
DIANE M COCO                                       101 E GREEN VALLEY CIRCLE                                                                      NEWARK           DE    19711‐6716
DIANE M COFFMAN                                    721 W BOULEVARD                                                                                KOKOMO           IN    46902‐3385
DIANE M COZART                                     5272 N GALE RD                                                                                 DAVISON          MI    48423‐8956
DIANE M DAVIS                                      215 ROMEO RD                                                                                   ROCHESTER        MI    48307
DIANE M DE FUSCO                                   110 LAUREL HILL RD                                                                             CROTON           NY    10520‐1213
DIANE M DECKER                                     11987 HIGHWAY 137                                                                              LICKING          MO    65542‐9102
DIANE M DELL                                       1848 MASON                                                                                     HIGHLAND         MI    48356
DIANE M DOBBS                                      41382 JULIE DR                                                                                 CLINTON TWP      MI    48038‐2066
DIANE M DUBEAU                                     164 RIYULET ST 1                                                                               WOONSOCKET       RI    02895
DIANE M ELLISON                                    5635 MACK ROAD                                                                                 HOWELL           MI    48843‐9289
DIANE M ELSEY                                      14844 CHATHAM DR                                                                               SHELBY TWP       MI    48315‐1504
DIANE M EYSSEN CUST BENJAMIN J EYSSEN UTMA OH      241 MARLEE CT                                                                                  BRUNSWICK        OH    44212‐1185

DIANE M EYSSEN CUST JAIME MARIE EYSSEN UTMA OH    241 MARLEE CT                                                                                   BRUNSWICK        OH    44212‐1185

DIANE M EYSSEN CUST NICOLE K EYSSEN UTMA OH       241 MARLEE COURT                                                                                BRUNSWICK        OH    44212‐1185
DIANE M FEDERICO                                  296 PARIS AVE                                                                                   AUSTINTOWN       OH    44515‐4157
DIANE M FISCHER                                   5635 MACK ROAD                                                                                  HOWELL           MI    48843‐9289
DIANE M FOERSTER TAYLOR                           18915 NE 116TH AVENUE                                                                           BATTLE GROUND    WA    98604‐7303
DIANE M FOREMAN & WILLIAM P FOREMAN JT TEN        3638 E CAMPBELL CT                                                                              GILBERT          AZ    85234‐3108

DIANE M FULLER                                    5374 STANLEY RD                                                                                 COLUMBIAVILLE    MI    48421‐8705
DIANE M GALBAVI                                   701 S KIBBEE STREET                                                                             SAINT JOHNS      MI    48879‐2067
DIANE M GIBAUD                                    1020 SHOEMAKER RD                                                                               WEBSTER          NY    14580
DIANE M GOOD TR 02/01/06 DIANE M GOOD TRUST       BOX 1481                                                                                        NORTH FALMOUTH   MA    02556‐1481

DIANE M GRAHAM                                    5424 DOUGLAS FIR CT                                                                             CINCINNATI       OH    45247‐7445
DIANE M GRIER                                     15608 NE 160TH                                                                                  WOODINVILLE      WA    98072‐8156
DIANE M GRIMES                                    5171 OAKVIEW DR                                                                                 SWARTZ CREEK     MI    48473‐1251
DIANE M GUAY                                      1116 BARKENTINE DR                                                                              NEW BERN         NC    28560‐7147
DIANE M HAIG                                      403 W THIRD                                                                                     ROCHESTER        MI    48307‐1913
DIANE M HALES & PAUL R HALES JT TEN               1114 LAKE VALLEY DR                                                                             FENTON           MI    48430‐1230
DIANE M HAMER                                     ATTN DIANE BRANDT                      8120 PARK AVE S                                          BLOOMINGTON      MN    55420‐1327
DIANE M HARRIS TR DIANE M HARRIS TRUST UA         9995 SUNSET ST                                                                                  LIVONIA          MI    48150‐2934
06/27/06
DIANE M HART                                      556 KENSINGTON                                                                                  FERNDALE       MI      48220
DIANE M HARVEY                                    22 HAMILTON ST                                                                                  SOMERSET       MA      02725‐1107
DIANE M HEDITSIAN                                 13 BOTANY COURT                                                                                 REDWOOD CENTER CA      94062‐3102

DIANE M HERMAN                                    2687 BRYANWOOD DR NW                                                                            GRAND RAPIDS     MI    49544
DIANE M HRACH                                     3723 TOLTEC COURT                                                                               SIERRA VISTA     AZ    85650‐9649
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DIANE M HUNT                                       2221 LURAY RD                                                                                   MARSHALLTOWN      IA    50158‐9867
DIANE M HUNTER                                     1374 WESTOVER ROAD                                                                              CLEVELAND         OH    44118‐1340
DIANE M ISON                                       141 S NUECES PARK LN                                                                            HARLINGEN         TX    78552‐6233
DIANE M JENKINS                                    9824 W PARK VILLAGE DR                                                                          TAMPA             FL    33626‐5139
DIANE M JOHNSON                                    1700 SMARTY JONES ST SE                                                                         ALBUQUERQUE       NM    87123‐2396
DIANE M KASTEN                                     250 MILLER AVE                                                                                  EATON             OH    45320‐1039
DIANE M KOLTZ                                      2450 HONEYSUCKLE RD                                                                             CHAPEL HILL       NC    27514‐6823
DIANE M LEDUC                                      1031 LABAMBA COURT                                                                              SPRING HILL       FL    34608‐8447
DIANE M LEVEQUE                                    7500 MINORU BLVD APT 312               RICHMOND BC                            V6Y 3J6 CANADA
DIANE M LEWIS                                      7604 EAST 95TH TERR                                                                             KANSAS CITY       MO    64134‐1601
DIANE M LIPARI TR DIANE M LIPARI LIVING TRUST UA   22918 EUCLID                                                                                    ST CLAIR SHORES   MI    48082‐2042
10/08/03
DIANE M MALONE & MICHAEL A MALONE JT TEN           48133 CHESTERFIELD DR                                                                           CANTON            MI    48187‐1235
DIANE M MARTS                                      5134 ALDER CT                                                                                   HAMBURG           NY    14075‐3069
DIANE M MCDOUGALL                                  4930 OTTAWA COURT                                                                               OWOSSO            MI    48867
DIANE M MINICK CUST KENNETH J MINICK A MINOR       317 N BROOKE DR                                                                                 CANTON            GA    30114‐9403
UNDERTHE LAWS OF GEORGIA
DIANE M MISCH                                      1325 ORIOLE DRIVE                                                                               MUNSTER           IN    46321‐3345
DIANE M MITCHELL                                   4918 HUGHES RD                                                                                  LANSING           MI    48910‐6111
DIANE M MOON TR DIANE M MOON TRUST UA              7670 N VIA DE PLATINA                                                                           SCOTTSDALE        AZ    85258‐3051
05/19/00
DIANE M MURPHY                                     5190 SW 88TH TER                                                                                COOPER CITY       FL    33328‐3619
DIANE M NIC                                        5475 S HILTON PARK ROAD                                                                         FRUITPORT         MI    49415‐9738
DIANE M OLEKSA                                     4127 RUSH                                                                                       BOARDMAN          OH    44512‐1236
DIANE M PAGANO                                     631 PENNSYLVANIA COURT                                                                          ARLINGTON         IL    60005‐4281
                                                                                                                                                   HEIGHTS
DIANE M PEPLINSKI                                  9271 WATERMAN RD                                                                                VASSAR            MI    48768‐9005
DIANE M PERDUE                                     ROUTE 1 BOX 398‐C                                                                               BENTON            MO    63736‐9734
DIANE M PERZYK                                     4040 TAGGETT LAKE DR                                                                            HIGHLAND          MI    48357‐2238
DIANE M PETERSON                                   536 W JOE ST                                                                                    HUNTINGTON        IN    46750‐3826
DIANE M PETROUS                                    1425 N LIVERNOIS                                                                                ROCHESTER         MI    48306‐4159
DIANE M PIEPOL TOD JOANNE PIEPOL SUBJECT TO STA    1549 PRINCETON #6                                                                               SANTA MONICA      CA    90404‐3530
TOD RULES
DIANE M POUPORE                                    1990 KINGSTON ST                                                                                WHITE LAKE        MI    48386‐1612
DIANE M RAY                                        120 TREADWELL ROAD                                                                              TONAWANDA         NY    14150
DIANE M REILLY                                     23 PENROSE LANE                                                                                 PRINCETON JCT     NJ    08550‐3532
DIANE M REYNOLDS                                   445 N STINE                                                                                     CHARLOTTE         MI    48813‐8857
DIANE M SCENGA                                     46341 HOUGHTON                                                                                  SHELBY TWP        MI    48315‐5329
DIANE M SCHROEDER                                  708 SYCAMORE RD                                                                                 MOHNTON           PA    19540‐1257
DIANE M SCHULLO                                    12545 WINTER PINES CT                                                                           SPARTA            MI    49345
DIANE M SCHWAB                                     11030 HIEBER RD                                                                                 MANCHESTER        MI    48158‐9715
DIANE M SCOTT                                      16400 DIX TOLEDO RD APT 816                                                                     SOUTHGATE         MI    48195
DIANE M SHEETZ                                     11116 HENDERSON RD                                                                              OTISVILLE         MI    48463‐9727
DIANE M SIMMONS                                    204 CORDAVILLE ROAD                                                                             SOUTHBORO         MA    01772‐1804
DIANE M SIPPEL                                     C/O DAVID L SIPPEL                     26040 WEST RIVER ROAD                                    PERRYSBURG        OH    43551‐9129
DIANE M SKINNER                                    47796 TOMAHAWK DR                                                                               NEGLEY            OH    44441‐9775
DIANE M SOUKUP                                     8 WHITE PINE LANE                                                                               POQUOTT           NY    11733‐3952
DIANE M SPATZ                                      14505 CANVASBACK                                                                                HOMER GLENN       IL    60491‐9237
DIANE M ST MARTIN                                  6727 EAST 62 ND PLACE                                                                           HOBART            IN    46342‐6605
DIANE M STAGE                                      C/O DIANE ARNESON                      33 GREENPARK BLVD                                        HOMOSASSA         FL    34446‐6102
DIANE M STEVENS & KENNETH E STEVENS JT TEN         1370 HILLVIEW FOREST RD                                                                         BRAINERD          MN    56401‐3096
DIANE M STOUTENBURG                                1104 N CASS LK RD                                                                               WATERFORD         MI    48328‐1312
DIANE M SUTTON                                     11174 CREGO RD                                                                                  AKRON             NY    14001
DIANE M THOMAS                                     10114 S 80TH CT                                                                                 PALOS HILLS       IL    60465‐1403
DIANE M TOLLE                                      5605 MADRID DR                                                                                  YOUNGSTOWN        OH    44515‐4136
DIANE M TRANTER                                    2450 E 6TH ST                          APT 12                                                   LONG BEACH        CA    90814‐3553
DIANE M UHL                                        1436 CARDIGAN DR                                                                                OXFORD            MI    48371‐6006
DIANE M VELEZ                                      ATTN DIANE M HENDERSON                 3305 GLEN MEADOWS DRIVE                                  GAYLORD           MI    49735‐8140
DIANE M VOJTEK                                     5072 WESTBURY FARMS DR                                                                          ERIE              PA    16506‐6120
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DIANE M WEGNER                                  2476 HUNT CLUB DR                                                                             BLOOMFIELD HL      MI    48304‐2304
DIANE M WILSON                                  5991 OLD HICKORY RD                                                                           CRESTVIEW          FL    32539
DIANE M ZEKIND                                  130 HOLLY HILL DR                                                                             BEREA              KY    40403‐1654
DIANE M ZEMAN                                   C/O DIANE M FANELLE                  2521 BENTON ST                                           PALATINE           IL    60067‐7415
DIANE M ZIENERT CUST DAWN MARIE ZIENERT UGMA 53560 SHERWOOD LANE                                                                              SHELBY TOWNSHIP    MI    48315‐2049
MI
DIANE MACPHAIL                                  1493 BENT PALM DR                                                                             MERRITT ISLAND     FL    32952‐3019
DIANE MALENA                                    176 VOORHIS AVE                                                                               RIVER EDGE         NJ    07661‐1234
DIANE MAPLE                                     3883 WOODVALE DRIVE                                                                           CARLSBAD           CA    92008‐2757
DIANE MARIE GREENARD                            3621 PROVIDENCE ST                                                                            FLINT              MI    48503‐4595
DIANE MARIE HERNANDEZ & ARMANDO HERNANDEZ JT 3147 BOWFIN                                                                                      LAND O LAKES       FL    34639
TEN
DIANE MARIE LAZOR                               2396 LYNCROSS                                                                                 GROVE CITY         OH    43123
DIANE MARIE LENGYEL CUST JODIE M LENGYEL UGMA 3672 DURHAM ROAD                                                                                NORTON             OH    44203‐6353
OH
DIANE MARIE LYNCH                               PO BOX 1806                                                                                   ORMOND BEACH       FL    32175‐1806
DIANE MARIE MEDINIS & LUCY MEDINIS JT TEN       36643 TESSENS                                                                                 MOUNT CLEMENS      MI    48035‐1950
DIANE MARIE MONTROIS CUST AARON PETER           49 CINNABAR RD                                                                                ROCHESTER          NY    14617‐1803
MONTROIS UGMA NY
DIANE MARIE MONTROIS CUST ANDREW JASON          49 CINNABAR RD                                                                                ROCHESTER          NY    14617‐1803
MONTROIS UGMA NY
DIANE MARIE RULON                               PO BOX 1702                                                                                   ROCKY POINT        NY    11778‐1702
DIANE MARIE ZURI                                1715 WORCESTER DRIVE                                                                          PITTSBURGH         PA    15243‐1535
DIANE MARY DRAKE                                6150 SPRING VALLEY ROAD                                                                       DALLAS             TX    75240‐3408
DIANE MATTHEWS                                  330 JESSICA DRIVE                                                                             MIDDELTOWN         DE    19709‐4018
DIANE MCCLOSKEY                                 3627 THREE MILE DR                                                                            DETROIT            MI    48224‐3603
DIANE MCCUNE                                    720 LYNDHURST ST                     UNIT 1102                                                DUNEDIN            FL    34698‐7786
DIANE MCKEDY & VERONICA MCKEDY JT TEN           C/O DIANE EGAN                       49 CURTIS AV E                                           MARLBOROUGH        MA    01752‐2698
DIANE MCKEDY EGAN & JOHN M EGAN JT TEN          49 CURTIS AVE                        APT E                                                    MARLBOROUGH        MA    01752‐2698
DIANE MELODY                                    127 SOUTH PINON CIRCLE                                                                        FLORISSANT         CO    80816
DIANE MERKER                                    2727 4TH ST                                                                                   BOULDER            CO    80304‐3236
DIANE MIDORI AYERS CUST NICOLE MARIE AYERS UTMA 297 ERIN                                                                                      SAN RAFAEL         CA    94903‐1668
CA
DIANE MILLER LINDERMAN                          10901 LANSDOWNE CT                                                                            MIDLOTHIAN         VA    23113‐1364
DIANE MILLER MURPHY                             4229 ORION PATH                                                                               LIVER POOL         NY    13090‐1909
DIANE MONTGOMERY & SCOTT MONTGOMERY JT TEN 708 RIVERSIDE DR                                                                                   TARPON SPRINGS     FL    34689‐2332

DIANE MOORE‐HAIMERL                               3563 GRANT AVE                                                                              GROVE CITY         OH    43123‐2516
DIANE MORRISON & KRISTA MORRISON & MICHAEL        34166 PRESTON DR                                                                            STERLING HEIGHTS   MI    48312‐5653
MORRISON JT TEN
DIANE N HESS                                      39 WOODLAND MANOR DR                                                                        MOHNTON            PA    19540‐9106
DIANE N PATTERSON                                 7495 OLD BARN RD                                                                            MONTGOMERY         AL    36117‐3962
DIANE NAWROT                                      70 CARDY LANE                                                                               DEPEW              NY    14043‐1925
DIANE NIGRO                                       6738 CEDARWOOD TRCE                                                                         CLEVELAND          OH    44130‐9502
DIANE O GRECO & FREDERICK M GRECO JT TEN          244 78TH ST                                                                                 BROOKLYN           NY    11209‐3011
DIANE P EANNACE CUST DOMENIC V EANNACE UTMA       295 CLAIRE DR                                                                               CANONSBURG         PA    15317‐5229
PA
DIANE P RUBINO                                    PO BOX 18730                                                                                SAN JOSE           CA    95158‐8730
DIANE P SCHELL                                    1255 BRYCE AVE                                                                              AURORA             OH    44202‐9596
DIANE P THOMAS                                    ATTN DIANE THOMAS ALEXANDER        1908 HEMLOCK ROAD                                        FLOURTOWN          PA    19031‐2213
DIANE P TORRES‐PERREAULT & RICHARD PERREAULT JT   4980 LOFTING DR NE.                                                                         BELMONT            MI    49306‐9046
TEN
DIANE P YOUNG                                     1505 OAK ST                                                                                 MURRAY             KY    42071
DIANE PACE                                        247 BEVANS STREET                                                                           BEREA              OH    44017‐2503
DIANE PAOLINI CUST MARISA M PAOLINI UGMA NY       302 FIESTA ROAD                                                                             ROCHESTER          NY    14626‐3836

DIANE PAXTON                                      92 ELEANOR ST                                                                               CHELSEA            MA    02150‐2141
DIANE PETRO                                       3824 PEGGY LANE                                                                             MINT HILL          NC    28227
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DIANE PIEKARSKI CUST MICHAEL L JANKOWSKI UGMA NJ 89 NORTON STREET                                                                              SOUTH AMBOY     NJ    08879‐2216

DIANE PILKINTON                                 3407 CAPLAND AVE                                                                               CLEARMONT       FL    34711‐5736
DIANE PLUNSKE                                   41 COUNTRY CLUB LANE                                                                           WALLINGFORD     CT    06492‐4929
DIANE POWELL                                    2474 RUSHBROOK DR                                                                              FLUSHING        MI    48433‐2516
DIANE Q KEEGAN CUST MICHAEL Q KEEGAN UTMA NJ    18 SOMERSET DR                                                                                 RUMSON          NJ    07760‐1101

DIANE R BEHRLE                                  11695 EDEN ESTATES DR                                                                          CARMEL           IN   46033‐3246
DIANE R BIESTERFELD                             12525 E GOLD DUST DRIVE                                                                        TUSCON           AZ   85749‐8454
DIANE R BLOCH                                   22497 STATLER                                                                                  ST CLAIR SHRS    MI   48081‐2335
DIANE R BUDD                                    PO BOX 676                                                                                     LESLIE           MI   49251‐0676
DIANE R CERRONE                                 1938 VIRGINIA AVE                                                                              TARPON SPRINGS   FL   34689‐1900
DIANE R CORR                                    22 9TH AV 2                                                                                    SEA CLIFF        NY   11579‐1118
DIANE R GARRISON                                1168 FAIRVIEW RD NW                                                                            CALHOUN          GA   30701‐8307
DIANE R GOOD                                    PO BOX 1452                                                                                    FPLUGERVILLE     TX   78691‐1452
DIANE R HAAS                                    C/O LUICANA                           99 PACKER HILL AVE                                       JIM THORP        PA   18229
DIANE R HARRISON                                PO BOX 72                                                                                      RICHVILLE        MI   48758‐0072
DIANE R ILEY                                    3511 BARBARA DRIVE                                                                             STERLING HTS     MI   48310‐6103
DIANE R LONG                                    707 WILLARD DR                                                                                 BLACKSBURG       VA   24060
DIANE R MEARS & BERT R MEARS JT TEN             511 CENTERFIELD DR                                                                             MAUMEE           OH   43537
DIANE R MEISWINKEL                              24 LORAINE CT                                                                                  SAN FRANCISCO    CA   94118‐4216
DIANE R MINELLA                                 36 COTTAGE PLACE                                                                               TARRYTOWN        NY   10591‐3604
DIANE R PORTER                                  1151 N PARKER DRIVE                                                                            JANESVILLE       WI   53545‐0711
DIANE R RODRIGUEZ                               127 VELLA CIRCLE                                                                               OAKLEY           CA   94561‐3325
DIANE R SIMON                                   768 MONMOUTH PKWY                                                                              MIDDLETOWN       NJ   07748‐5630
DIANE R TAYLOR                                  101 HARBOUR CT                                                                                 MONETA           VA   24121‐3214
DIANE R USIONDEK                                220 HAWTHORNE                                                                                  WESTLAND         MI   48185‐3604
DIANE RAE DESLAURIERS                           1405 LEE BROWN RD                                                                              BON AQUA         TN   37025‐5089
DIANE RASO                                      30 CLAYTON PL                                                                                  YONKERS          NY   10704‐2712
DIANE RAZZAQUE                                  25335 RIVER DR                                                                                 FRANKLIN         MI   48025‐1158
DIANE REIKO SHINTA                              PO BOX 470                                                                                     ROSS             CA   94957‐0470
DIANE ROBINSON                                  27421 SPRING ARBOR DR                                                                          SOUTHFIELD       MI   48076‐7424
DIANE ROMSKA                                    3065 W SUTTON RD                                                                               LAPEER           MI   48446‐9703
DIANE ROSE                                      155 SCHULDT DRIVE                                                                              LAKE ZURICH      IL   60047‐1354
DIANE ROSSI                                     2040 VAN ANTWERP                                                                               GROSSE POINTE WD MI   48236‐1623

DIANE RUTH BOYD                                 11 MEL‐MARA DR                                                                                 OXON HILL       MD    20745‐1018
DIANE S CARAVAYO                                4018 SOMERSET AVE                                                                              CASTRO VALLEY   CA    94546‐3551
DIANE S CHECKETTS                               18569 CHERRY LAUREL LN                                                                         GAITHERSBURG    MD    20879‐5341
DIANE S FRAZIER‐CIRAVOLO                        307 HAMPTON PLACE                                                                              BLUFFTON        SC    29909‐5057
DIANE S GASS                                    1 GLOVERS BROOK RD                                                                             RANDOLPH        MA    02368
DIANE S HILL                                    5179 BALDWIN RD                                                                                HOLLY           MI    48442‐9320
DIANE S JACQMIN                                 2796 B WEEPING WILLOW DR                                                                       LISLE           IL    60532‐6239
DIANE S LAPP                                    507 E MOORE DR                                                                                 AUBURNDALE      FL    33823
DIANE S LIDMAN                                  145 BARTRAM ROAD                                                                               RIVERSIDE       IL    60546‐1814
DIANE S MARSH                                   1765 N HICKORY RIDGE TRL                                                                       MILFORD         MI    48380‐3137
DIANE S MATTELIANO                              285 CRESTMOUNT AVE                    APT 356                                                  TONAWANDA       NY    14150‐6335
DIANE S MEYER                                   414 WHITEWOOD RD                                                                               UNION           NJ    07083‐8217
DIANE S RITZENTHALER                            481 CHESTNUT RIDGE RD                                                                          ROCHESTER       NY    14624‐4340
DIANE S SHAW                                    1765 N HICKORY RIDGE TRL                                                                       MILFORD         MI    48380‐3137
DIANE S TAYLOR                                  1081 FLAT ROCK RD                                                                              MADISON         GA    30650‐3139
DIANE S VOCKER                                  1018 CASCADE DR                                                                                MENLO PARK      CA    94025‐6629
DIANE S WALSH                                   1520 CAMBRON CT                                                                                VANDALIA        OH    45377‐9754
DIANE SAN JUAN                                  258 TEANECK ROAD                                                                               RIDGEFIELD PK   NJ    07660‐2006
DIANE SAXTON CUST JAMES ROBERT NAVARRE UGMA     7538 BYRON RD                                                                                  DURAND          MI    48429‐9443
MI
DIANE SCHNAKENBERG & WILLY SCHNAKENBERG JR JT   21 ALBRIGHT RD                                                                                 CORAM           NY    11727‐3001
TEN
DIANE SCHROEDER                                 3018 MEADOW AVE                                                                                NORMAN          OK    73072‐7418
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DIANE SHERMAN TOD TRACY D SCOTT                   8812 VERNON VIEW DR                                                                           ALEXANDRIA      VA    22308‐2837
DIANE SHODA                                       19662 ST FRANCIS                                                                              LIVONIA         MI    48152‐2533
DIANE SIDD‐CHAMPION TR UA 07/02/1997 SHIRLEY SIDD 148 RANDALL ST                                                                                SAN FRANCISCO   CA    94131
1997 REVOCABLE TRUST
DIANE SILCA                                       1939 E RIDGEWOOD LANE                                                                         GLENVIEW        IL    60025‐1956
DIANE SIMPERS CUST KEVIN C SIMPERS UTMA NJ        46 COLONIAL RIDGE DR                                                                          HADDONFIELD     NJ    08033‐3422
DIANE SUDA                                        241 CRAFTS RD                                                                                 BROOKLINE       MA    02467‐1421
DIANE SYMANSKI MILAZZO                            107 CIRCLE DRIVE                                                                              MOSCOW          PA    18444
DIANE T BRADANINI & ALAN J BRADANINI JT TEN       161 MILLBROOK RD                                                                              MIDDLETOWN      CT    06457‐4537
DIANE T DAMATO                                    155‐16 16TH DRIVE                                                                             WHITESTONE      NY    11357‐3224
DIANE T MOORE                                     210 EAST 73RD STREET #10A                                                                     NEW YORK        NY    10021‐4395
DIANE T NOVOSEL                                   846 YANKEE RUN RD                                                                             MASURY          OH    44438‐8722
DIANE T RUDNICK CUST SHERRI ANN RUDNICK UGMA      60 FOREST ST                                                                                  CHESTNUT HILL   MA    02467‐2930
MA
DIANE T SHERMAN CUST TRACY DENISE SHERMAN         8812 VERNON VIEW DR                                                                           ALEXANDRIA      VA    22308‐2837
UGMA VA
DIANE T TU                                        10705 SIERRA OAKS                                                                             AUSTIN          TX    78759‐5185
DIANE T WILLS CUST HEIDI E WILLS UTMA MT          1033 COUGAR DR                                                                                BOZEMAN         MT    59718‐8375
DIANE T WILLS CUST KYLE L WILLS UTMA MT           1033 COUGAR DR                                                                                BOZEMAN         MT    59718‐8375
DIANE TAXTER                                      553 CLARK PLACE                                                                               UNIONDALE       NY    11553‐2215
DIANE TERRY BROWNLEE                              12101 STONEGATE LANE                                                                          GARDEN GROVE    CA    92845‐1601
DIANE THIEL                                       1015 PARK AVE N APT 7                                                                         TIFTON          GA    31794‐6973
DIANE THOMAS                                      18650 FERGUSON                                                                                DETROIT         MI    48235‐3013
DIANE TIBALDI                                     410 EMMETT ST                        APT 74                                                   BRISTOL         CT    06010‐8605
DIANE TIERNEY                                     3649 COASH RD                                                                                 VANDERBILT      MI    49795‐9502
DIANE TOMSIC MARKOSKY & DOUGLAS J MARKOSKY JT 701 VINE STREET                                                                                   WEST NEWTON     PA    15089‐1343
TEN
DIANE TOREY                                       1712 PARK LN                                                                                  KEARNEY         MO    64060‐8929
DIANE V ELLIOTT                                   4342 PRIMROSE CT                                                                              BETHLEHEM       PA    18020‐9571
DIANE V MASOTTI                                   46 CHERRY ST                                                                                  BRISTOL         CT    06010‐6103
DIANE VALKO EX EST DOROTHY PARKER                 923 MILLARD AVE                                                                               ROYAL OAK       MI    48073
DIANE VALLEE MERRILL                              5289 SONORA ST                                                                                SIERRA VISTA    AZ    85635‐8278
DIANE VEASLEY                                     215 W CONCORDIA AVE                                                                           MILWAUKEE       WI    53212‐2029
DIANE VINCENT KETELHUT CUST LISA ANN KETELHUT     1522 NW 26TH PL                                                                               CAPE CORAL      FL    33993‐4821
UGMA MI
DIANE W BAYLOR                                    HC 65 BOX 14Y                                                                                 ALPINE          TX    79830
DIANE W CYNOWA                                    15 BAYBROOK LANE                                                                              OAKBROOK        IL    60523‐1606
DIANE W GETER                                     PO BOX 16038                                                                                  OAKLAND         CA    94610
DIANE W PETERS                                    23145 SW WUNDERLI                                                                             SHERWOOD        OR    97140
DIANE W PYLES                                     C/O DIANE WINTER                     1828 CLACHAN CT                                          VIENNA          VA    22182‐3424
DIANE W SHARP                                     644 GOULD                                                                                     HERMOSA BEACH   CA    90254
DIANE W THOMAS & WRIGHT M THOMAS JT TEN           610 GLENWOOD LANE                                                                             WEST CHESTER    PA    19380‐5737
DIANE W ZASORIN                                   PO BOX 11                                                                                     CLAVERACK       NY    12513‐0011
DIANE WALTERHOUSE                                 6077 LUCAS ROAD                                                                               FLINT           MI    48506‐1217
DIANE WATSON                                      PO BOX 246                                                                                    SHARPSVILLE     IN    46068‐0246
DIANE WENDLING                                    10970 KLEY ROAD                                                                               VANDALIA        OH    45377‐9534
DIANE WHITTAKER                                   21380 EAST 105TH SOUTH                                                                        BROKEN ARROW    OK    74014‐3609
DIANE WILLIS                                      20124 STOTTER ST                                                                              DETROIT         MI    48234
DIANE WIRICK                                      961 BUCYRUS LANE                                                                              CANTONMENT      FL    32533‐4883
DIANE WOLFE                                       4910 NE 22ND TER                                                                              OCALA           FL    34479
DIANE WOODCOCK                                    1559 LAKE ROAD                                                                                YOUNGSTOWN      NY    14174
DIANE Y AURIGEMMA                                 228 NOTT ST                                                                                   WETHERSFIELD    CT    06109‐1722
DIANE Y CHARRON                                   HC 1 BOX 40                                                                                   LANSE           MI    49946‐9704
DIANE Y CHOW                                      ATTN DIANE H YEE                     64 HOBART ST                                             QUINCY          MA    02170‐1622
DIANE Y DEVLIN                                    168 DEPEW AVE                                                                                 BUFFALO         NY    14214‐1620
DIANE Y JOHNSON                                   5325 FOREST DOWNS CIR                                                                         COLLEGE PARK    GA    30349‐2487
DIANE YEARBY                                      2940 CLEMENT ST                                                                               FLINT           MI    48504‐3042
DIANE YOUNG                                       18314 INDIANA                                                                                 DETROIT         MI    48221‐2071
DIANE ZAWADSKI                                    3966 BOXELDER DRIVE                                                                           BRECKSVILLE     OH    44141
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DIANE ZELENSKI                                    1306 BRADFORD DR                                                                             DANBURY           CT    06811‐2634
DIANEL L BESSER PERS REP EST ANTHONY P BESSER     3260 DUCE RD                                                                                 KENOCKEE          MI    48006‐4508

DIANEL MCKEOY & VERONICA MCKEOY JT TEN            C/O DIANE EGAN                      49 CURTIS AV E                                           MARLBOROUGH       MA    01752‐2698
DIANN A ROE                                       PO BOX 2048                                                                                  GRANTS PASS       OR    97528‐0222
DIANN ABLES & GLENN ABLES JT TEN                  413 PALMER AVE                                                                               LOGAN             WV    25601
DIANN ADENA ROE CUST DANIELLE ADENA ROE UTMA      PO BOX 2048                                                                                  GRANTS PASS       OR    97528‐0233
OR
DIANN ADENA ROE CUST NICOLE ADENA ROE UTMA OR     PO BOX 2048                                                                                  GRANTS PASS       OR    97528

DIANN B PAVELKA                                   11568 BREYMAN HWY                                                                            TIPTON            MI    49287‐9735
DIANN C CARLSON                                   C/O D C PEREZ                       6491 MORRIS PARK ROAD                                    PHILADELPHIA      PA    19151‐2404
DIANN C SCHMIDT                                   697 NEW GALENA ROAD                                                                          CHALFORT          PA    18914‐1539
DIANN ENGLEHART & ALBERT ENGLEHART JT TEN         137 GIFFORD CHURCH ROAD                                                                      SCHENECTADY       NY    12306‐5301
DIANN G SCHURMAN                                  C/O DIANN BRAUN                     1255 OAKWOOD CT                                          ROCHESTER HILLS   MI    48307‐2539
DIANN HARPER                                      C/O DIANN SPENCER                   830 N 250 W #302                                         BOUNTIFUL         UT    84010‐6872
DIANN K MENEILLY‐MOORE                            420 E 15TH ST                                                                                JASPER            IN    47546‐2101
DIANN L BRANTLEY                                  9965 FORRER                                                                                  DETROIT           MI    48227‐1625
DIANN L GASPER                                    9346 LEFFINGWELL RD                                                                          CANFIELD          OH    44406‐9413
DIANN L GROBEL & EARL T GROBEL JT TEN             26300 CRYSTAL                                                                                WARREN            MI    48091‐4007
DIANN L KERR                                      17937 SE 41ST LOOP                                                                           VANCOUVER         WA    98683‐8277
DIANN L RINKE                                     C/O MRS EARL GROBBEL                26300 CRYSTAL                                            WARREN            MI    48091‐4007
DIANN M KAY                                       2443 HYDRANGEA STREET                                                                        SAINT AUGUSTINE   FL    32084‐5883
DIANN M OSEIT                                     1008 QUAIL RUN DR                                                                            DAYTON            OH    45458
DIANN M VORENKAMP & THEODORE A VORENKAMP JT       56282 KINGSMEN CRT                                                                           MISHAWAKA         IN    46545‐7617
TEN
DIANN R MILLER                                    100 N FRANKLIN ST                   APT 317                                                  JANESVILLE        WI    53548‐2967
DIANN R PRIGG                                     2500 21ST ST NW                     APT 59                                                   WINTER HAVEN      FL    33881‐1276
DIANN ROSS                                        2337 COBBLE CREEK                                                                            CONROE            TX    77384‐3703
DIANN SHUCK                                       45 PINEGATE                                                                                  GRAND RAPIDS      MI    49548‐7209
DIANN T KOZAK                                     3490 W WILSON RD                                                                             CLIO              MI    48420
DIANN TIMIAN                                      39 HOLT CIRCLE                                                                               TRENTON           NJ    08619‐1605
DIANN V CABOT                                     16837 WOLF RUN CIR                                                                           STRONGSVILLE      OH    44136‐6259
DIANNA D DECKER                                   25115 MIDLAND                                                                                REDFORD           MI    48239‐3766
DIANNA D ISAAC‐JOHNSON                            11306 BRIDGETON VALLEY CT                                                                    BRIDGETON         MO    63044‐3106
DIANNA D RATTA                                    103 PAGE AVE                                                                                 BRISTOL           CT    06010‐4351
DIANNA G MILLER                                   503 S SILVER TOP LANE                                                                        RAYMORE           MO    64083‐9257
DIANNA GOEDJIN & RICHARD G MYERS JT TEN           6402 MASTHIAW DR                                                                             MADISON           WI    53705‐4328
DIANNA H BRODEUR                                  710 6TH AVE NORTH                                                                            NAPLES            FL    34102‐5509
DIANNA HAND TOPPER                                1417 EAST NORTH ST                                                                           LANSING           MI    48906
DIANNA J FLEMING                                  24153 SIMO DR                                                                                PLAINFIELD        IL    60544‐6215
DIANNA J MEYERS                                   134 DAVE HILL RD                                                                             LAWRENCEBURG      TN    38464
DIANNA K EATON                                    PO BOX 421 CYPRESS                                                                           CYPRESS           CA    90630
DIANNA L ALLEN                                    5144 FLOWER ST                                                                               ZEPHYRHILLS       FL    33541‐6923
DIANNA L BULLOCK                                  6777 NORTH CR 600 WEST                                                                       MIDDLETOWN        IN    47356‐9407
DIANNA L CLINGENPEEL                              1993 S ST RD 29                                                                              FLORA             IN    46929‐9296
DIANNA L DIBBLE                                   4 SNOW HILL DR                                                                               SAINT PETERS      MO    63376‐2961
DIANNA L MC CARTHY                                9268 W GARY RD                                                                               PEORIA            AZ    85345‐5527
DIANNA L THOMSON                                  6650 BLEWETT AVE                                                                             VAN NUYS          CA    91406
DIANNA L WENDE                                    1257 SUSSEX LANE                                                                             WHEATON           IL    60187‐8526
DIANNA LEA CUPPY                                  11100 NW 12TH PL                                                                             GAINESVILLE       FL    32606‐5460
DIANNA LUCE POLLACK CUST TODD LUCE POLLACK        1 MANHATTAN AVE                                                                              RYE               NY    10580‐1824
UGMA NY
DIANNA LYN LONGERBEAM                             22472 HERNANDO AVE                                                                           PORT CHARLOTTE    FL    33952‐4628
DIANNA LYNN BISHOP                                3426 HODGENS PKY                                                                             BURTON            MI    48519‐1514
DIANNA LYNN DUDZIK                                29 SPRUCESIDE CRES                  FONTHILL ON                            L0S 1E1 CANADA
DIANNA M SANBURN & GERALD W SANBURN JT TEN        239 E HILLSDALE DR                                                                           ROSCOMMON         MI    48653‐9280

DIANNA MARIE DAHN                                 32911 ROSSLYN AVE                                                                            GARDEN CITY       MI    48135‐1024
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Name                                            Address1                              Address2               Address3        Address4          City               State Zip

DIANNA MARIE OBER                                1415 WESTLEY STREET                                                                           BANNING            CA    92220
DIANNA P LYNCH TOD PATRICK M LYNCH SUBJECT TO    38368 POPLAR DRIVE                                                                            WILLOUGHBY         OH    44094‐7559
STA TOD RULES
DIANNA R SUSENS                                  48 APPLE GATE CT                                                                              SCOTTSVILLE        KY    42164‐8327
DIANNA SPEAR                                     ATTN DIANNA HUTTON                   36 MEADOW VINE COURT   SOUTH DRIVE                       INDIANPOLIS        IN    46227
DIANNA SULANOWSKI                                78 GLENSIDE WAY                                                                               ROCHESTER          NY    14612‐2724
DIANNA TAYLOR                                    712 LAKEVIEW DR                                                                               CORTLAND           OH    44410‐1621
DIANNA WINTERBAUER                               6500 83RD PL SE                                                                               MERCER ISLAND      WA    98040‐5231
DIANNE A BURKHART                                21025 EATON ROAD                                                                              FAIRVIEW PARK      OH    44126‐2720
DIANNE A DISHAROON                               5804 DISHAROON RD                                                                             SNOW HILL          MD    21863‐3226
DIANNE A HAY                                     1476 SAND CASTLE RD                                                                           SANIBEL            FL    33957‐3623
DIANNE A RICE                                    4757 TY ST                                                                                    KINGMAN            AZ    86401‐1153
DIANNE C MARTIN                                  4708 SW 67 AVE #L‐11                                                                          MIAMI              FL    33155‐5869
DIANNE C PETERSON                                512 HAMEL AVE                                                                                 NORTH HILLS        PA    19038‐2425
DIANNE C VALESENTE                               37 HORVATH DR                                                                                 ITHACA             NY    14850
DIANNE CABELL                                    1917 WHITTLESEY                                                                               FLINT              MI    48503‐4346
DIANNE CHAMBERS NORRIS                           78 NATASHA DR                                                                                 NOBLESVILLE        IN    46060‐8460
DIANNE CLARKE                                    5793 PARKSTONE CROSSING DRIVE                                                                 JACKSONVILLE       FL    32258‐5429
DIANNE CURRIE                                    701 BLACKSHIRE RD                                                                             WILMINGTON         DE    19805‐2804
DIANNE CUSTARD                                   21376 GLENLODGE                                                                               FERNDALE           MI    48220‐2244
DIANNE D GILL                                    5845 MAC MILLAN WAY                                                                           LANSING            MI    48911‐8416
DIANNE DAILEY                                    4220 STONEHENGE LN                                                                            WINSTON SALEM      NC    27106‐3535
DIANNE DEMPSEY                                   826 DOVER COURT                                                                               SAN DIEGO          CA    92109‐8013
DIANNE DICKSON                                   43 A REED BLVD                                                                                MILL VALLEY        CA    94941‐2342
DIANNE DIXON                                     24 N MARTIN LANE                                                                              NORWOOD            PA    19074‐1025
DIANNE E BARRETT                                 2232 GLACIER LANE                                                                             SANTA MARIA        CA    93455‐5726
DIANNE E BOGHOSSIAN                              45 MOUNT VIEW DR                                                                              CRANSTON           RI    02920
DIANNE E BUKOWSKI                                11628 82ND TERRACE N                                                                          SEMINOLE           FL    33772‐4026
DIANNE E DALY                                    44212 SOUTHAMPTON                                                                             CANTON             MI    48187
DIANNE E KENNEDY                                 15506 EDGECLIFF AVE                                                                           CLEVELAND          OH    44111‐2046
DIANNE E PARR TR REVOCABLE TRUST 10/25/91 U‐A    205 COLFAX ST                                                                                 FENTON             MI    48430‐2029
DIANNE E PARR
DIANNE E REEVES                                  7108 COPPER CREEK CIR                                                                         CANTON             MI    48187‐2498
DIANNE E STETTLER                                2631 CENTURY RANCH                                                                            SAN ANTONIO        TX    78251
DIANNE F BEATH                                   9225 PERSHING AVE                                                                             ORANGEVALE         CA    95662‐4803
DIANNE F RUNNION                                 5312 LISTER CT                                                                                CHESTER SPRINGS    PA    19425‐8763
DIANNE F SULLIVAN                                10 INTERVAL ROAD                                                                              WELLESLEY          MA    02481‐1606
DIANNE FALK                                      401 HARRISON AVE                                                                              WESTFIELD          NJ    07090‐2438
DIANNE G HIGH                                    1006 BOX ELDER DRIVE                                                                          MAGNOLIA           TX    77354‐1630
DIANNE G KENDRICK                                1101 COLUMBIANA ROAD                                                                          BIRMINGHAM         AL    35209‐7007
DIANNE GRIFFITH                                  10097 BELSAY ROAD                                                                             MILLINGTON         MI    48746‐9754
DIANNE H HUNDORFEAN                              138 S ELM                                                                                     COLUMBIANA         OH    44408‐1334
DIANNE H PARRISH                                 5306 BURDOCK CREEK                                                                            ACWORTH            GA    30101‐7873
DIANNE I PHILLIPS                                6431 TIMUCUANS DR                                                                             LAKELAND           FL    33813‐4844
DIANNE I WIELAND                                 7101 SYLVAN LN SW                                                                             SEATTLE            WA    98136‐2066
DIANNE I WISNIEWSKI TOD CASIMIR WISNIEWSKI       161 WARREN                                                                                    EAST TAWAS         MI    48730
SUBJECT TO STA TOD RULES
DIANNE J BRITTON CUST ELISSA DIANNE BRITTON UTMA 801 E WOODCROFT PARKWAY              2121                                                     DURHAM             NC    27713
NC
DIANNE J BRITTON CUST MICHAEL D BRITTON UTMA NC 1137 SHADOW BROOK LANE                                                                         CHARLOTTE          NC    28211‐5650

DIANNE J MEDER                                  34712 S DIX POINT RD                                                                           DRUMMOND           MI    49726‐9465
                                                                                                                                               ISLAND
DIANNE J WALTERS                                27 SONIA                                                                                       OAKLAND            CA    94618‐2548
DIANNE J WILSON                                 10901 PETIT AVE                                                                                GRANADA HILLS      CA    91344‐5030
DIANNE JENNINGS & NANCY JENNINGS JT TEN         ATTN DIANNE SLEETH                    25 EVELYN PL                                             NORTH QUINCY       MA    02171‐2716
DIANNE L AMADRUTO                               603 PITNEY DR                                                                                  SPRING LAKE HGTS   NJ    07762‐2230

DIANNE L BURT                                   249 IVASON DR                                                                                  STANTON            MI    48888‐9216
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Name                                            Address1                             Address2                   Address3    Address4          City            State Zip

DIANNE L KIEWIET                                2000 E BASELINE RD                                                                            PLAINWELL       MI    49080‐9402
DIANNE L KOBLINSKI                              1024 W MC LEAN ST                                                                             FLINT           MI    48507‐3622
DIANNE L LAZOWSKI                               2 SHELLEY CT                                                                                  SAGINAW         MI    48602‐1816
DIANNE L MANSFIELD CUST GREG B MANSFIELD UGMA   RR 52 BOX 72                                                                                  TERRE HAUTE     IN    47805‐9802
IN
DIANNE L MOWER                                  16 ATWOOD ST                                                                                  HARTFORD        CT    06105‐1801
DIANNE L MUIR                                   1058 3RD ST                                                                                   SANTA MONICA    CA    90403‐3704
DIANNE L NORTON & ROBERT F NORTON JT TEN        2480 INDIANWOOD ROAD                                                                          LAKE ORION      MI    48362‐1101
DIANNE L POSPY                                  8103 ORCHARDVIEW DRIVE                                                                        ROMEO           MI    48095‐1345
DIANNE L REDENIUS                               608 S FRANKLIN ST                                                                             WHITEWATER      WI    53190‐2203
DIANNE L SKIVER                                 7780 OAKMONT CT                                                                               ROCKFORD        MI    49341‐9583
DIANNE L SMAGOLA                                6100 CHERVIL DR                                                                               WEST SALEM      OH    44287‐9670
DIANNE L SORENSON                               ATTN DIANNE L CHRISTIAN              E 2421 SPENCER LAKE ROAD                                 WAUPACA         WI    54981‐9415
DIANNE L THOMPSON                               C/O DIANNNE L SCHWENDENMAN           3009 CRESCENT DR                                         COLUMBUS        OH    43204‐2524
DIANNE LAHR                                     RD 5 BOX 87                                                                                   NEW CASTLE      PA    16105‐9601
DIANNE LOCH EWING                               10 MITCHELL SPRING CT                                                                         SIMPSONVILLE    SC    29681‐3601
DIANNE LOUISE SCANLON                           601 S NELSON ST                                                                               GREENVILLE      MI    48838‐2142
DIANNE LUCKEY                                   4324 MARYLAND                                                                                 DETROIT         MI    48224‐3338
DIANNE M BOUTELL                                707 HENDERSON CT                                                                              ALLEN           TX    75013‐5478
DIANNE M BRADY                                  8760 RIVER BLUFF LN                                                                           ROSWELL         GA    30076‐3908
DIANNE M DEMAGGIO                               2274 WORTHING WOODS BLVD                                                                      POWELL          OH    43065‐9089
DIANNE M DI MIZIO                               1 CORNELL PLACE                                                                               MANALAPAN       NJ    07726‐3601
DIANNE M EID                                    2501 59TH ST                                                                                  SACRAMENTO      CA    95817‐1745
DIANNE M FULMER                                 5524 SCOTT DRIVE                                                                              FORT WORTH      TX    76180‐6732
DIANNE M GILLESPIE                              104 CAVALRY DRIVE                                                                             FRANKLIN        TN    37064‐4904
DIANNE M GRANT & DONALD W GRANT JT TEN          900 SMITH ST                                                                                  E TAWAS         MI    48730‐9603
DIANNE M JAMES                                  622 HERMAN RD                                                                                 COLUMBUS        OH    43230‐9200
DIANNE M LEWIS & JAMES B GRIMES & BARBARA J     5297 TORREY ROAD                                                                              FLINT           MI    48507‐3807
FILMORE JT TEN
DIANNE M MATHIOWETZ                             1131 EDEN AVE SE                                                                              ATLANTA         GA    30316‐2584
DIANNE M MATSON                                 4170 GOODWIN AVE                                                                              OAKDALE         MN    55128‐2803
DIANNE M MORRISON                               26919 STRATFORD                                                                               HIGHLAND        CA    92346‐3005
DIANNE M NEGOSKI                                9407 LINCOLN AVE                                                                              BROOKFIELD      IL    60513‐1108
DIANNE M OCONNOR                                27 ASHLAND ROAD                                                                               SUMMIT          NJ    07901‐3401
DIANNE M PROBERT                                879 GINGER AVE                                                                                CARLSBAD        CA    90029
DIANNE M RIDDLE & DOUGLAS E RIDDLE JT TEN       223 SWEETBRIAR LN                                                                             PRATTSVILLE     AL    36067‐1935
DIANNE M SMOCK                                  26551 HOLLY HILL DR                                                                           FARMINGTON HL   MI    48334‐4522
DIANNE M TOOLEY                                 5118 MCHENRY LN                                                                               INDIANAPOLIS    IN    46228‐2368
DIANNE M VIOLA                                  144 RED DOG ROAD                                                                              ACME            PA    15610‐1120
DIANNE M WILBER                                 13000 SW 14TH PL                                                                              DAVIE           FL    33325‐5717
DIANNE M WINKLER                                6729 NORTON                                                                                   TROY            MI    48098‐1619
DIANNE MARIE CROWE                              25 ITENDALE ST                                                                                SPRINGFIELD     MA    01108‐3002
DIANNE MATTOCKS SIMMONS                         136 CHANEY AVENUE                                                                             JACKSONVILLE    NC    28540‐4805
DIANNE MONROE                                   BOX 991                                                                                       MCHENRY         MD    21541‐0991
DIANNE NAFICY                                   3630 W MERCER WAY                                                                             MERCERISLAND    WA    98040‐3316
DIANNE P GAVLLIC                                6436 ZIMMER RD                                                                                HASLETT         MI    48840‐9105
DIANNE P JOSE CUST REGINAL JOSE UGMA MI         18719 DE VISSCHER                                                                             MT CLEMENS      MI    48043
DIANNE PUZNIESKI                                105 PENNSYLVANIA AVE                                                                          LAVALLETTE      NJ    08735‐2433
DIANNE R GOODWIN                                C/O MICHAEL SANDORSE‐ESQ             441 MAIN ST                                              MELROSE         MA    02176‐3859
DIANNE R JORDAN                                 2020 LYCAN DR                                                                                 YORK            PA    17404‐4216
DIANNE R LOOMIS TR LOOMIS FAMILY NON‐EXEMPT     5 SUMMER STORM CIR                                                                            SANTA FE        NM    87506‐8273
MARITAL TRUST UA 07/15/96
DIANNE ROGGE                                    7939 RAMBLER PL                                                                               CINCINNATI      OH    45231‐3349
DIANNE S BROCK                                  5467 SOUTHGATE BLVD                  APT 2                                                    FAIRFIELD       OH    45014‐3449
DIANNE S HAGEY                                  5708 GLEN VALE DR                                                                             KNOXVILLE       TN    37919‐8615
DIANNE S HOWEY & ROSS C HOWEY JT TEN            2503 MARAIS AVE                                                                               ROYAL OAK       MI    48073
DIANNE S MEADE                                  313 MOHAVE TRL                                                                                MONTPELIER      OH    43543‐9420
DIANNE SCALZA                                   14 OAK NECK ROAD                                                                              WEST ISLIP      NY    11795‐4347
DIANNE SUE CULBERTSON                           887 E MAPLE STREET                                                                            CLYDE           OH    43410‐9710
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DIANNE VATALERO                                   8 MARIONS WAY                                                                                     GEORGETOWN         MA    01833‐1331
DIANNE W BLACK                                    452 SEMINARY ST                                                                                   NAPA               CA    94559‐3215
DIANNE WASHINGTON                                 632 DOVER HEIGHTS TRL                                                                             MANSFIELD          TX    76063‐2860
DIANNE WHITE GRAY                                 210 HERNDON RD                                                                                    RICHMOND           VA    23229‐8212
DIANNE YOUNG                                      1920 BENSON PLACE                                                                                 UNION              KY    41091‐9508
DIANNE ZOTTOLI                                    404 MAIN ST                                                                                       HOLDEN             MA    01520‐1754
DIANTHA E CLARK                                   1152 TOMPKINS AVE                                                                                 SOUTH PLAINFIELD   NJ    07080‐2241

DICCO ENTERPRISES                                 5357 TRUXTUN AVE                                                                                  BAKERSFIELD        CA    93309‐0641
DICICCO INVESTMENTS                               456 E OVERLOOK DR                                                                                 EASTLAKE           OH    44095‐1212
DICIE CARSON                                      4727 BELVIDERE                                                                                    DETROIT            MI    48214‐1302
DICK A BAKER & VIVIAN C BAKER JT TEN              6212 LAKE FOUR DR                                                                                 GLADWIN            MI    48624‐9251
DICK A JENSEN                                     4707 LOWCROFT                                                                                     LANSING            MI    48910‐5328
DICK A VANDERMOLEN                                5883 WEST LYN HAVEN DR SE                                                                         GRAND RAPIDS       MI    49512‐9315
DICK BOHN                                         1157 E 1500 S                                                                                     BOUNTIFUL          UT    84010‐2144
DICK D WILLSON                                    19583 RAUCHOLZ                                                                                    OAKLEY             MI    48649‐9785
DICK ELLISTAD                                     715B GAMBIA AVE                                                                                   WABASHA            MN    55981‐1061
DICK F CHURCH & LOUISE J CHURCH JT TEN            311 E MAPLE ST                                                                                    HOLLY              MI    48442‐1647
DICK F PITZER                                     505 E PIKE ST                                                                                     KIRKLIN            IN    46050‐9113
DICK H HEARIN                                     2020 STEELE BLVD                                                                                  BATON ROUGE        LA    70808‐1675
DICK HUGENOT                                      308 N HOWARD ST                                                                                   WEBBERVILLE        MI    48892
DICK I HUGHES                                     6253 OLD TRL                                                                                      NEW PORT RICHEY    FL    34653‐1735

DICK KERR                                         14135 ISLAND LAKE RD                                                                              CHELSEA            MI    48118‐9579
DICK L HENRY & MRS LOIS A HENRY JT TEN            4548 NORTHWOOD DRIVE                                                                              GLEN ARBOR         MI    49636‐9705
DICK L MC TAVISH                                  107 SHININGHOLLOW CIR                                                                             MERIDIANVILLE      AL    35759‐1957
DICK L PUZ                                        539 WYOMING AVE                                                                                   NILES              OH    44446‐1051
DICK L SULLENGER                                  4250 E 108TH ST                                                                                   GRANT              MI    49327‐9409
DICK L WITTWER                                    RFD 2                                                                                             BELLEVILLE         WI    53508‐9802
DICK LAMPSON                                      590 TWIN LAKES DR                                                                                 RENO               NV    89503‐8805
DICK R LYON                                       2203 SARLES RD                                                                                    SILVERWOOD         MI    48760‐9530
DICK RAIFORD                                      207 EASTMAN RD                                                                                    SOPERTON           GA    30457‐1420
DICK SANSOME                                      28 MARGARET DR                                                                                    SHELTON            CT    06484
DICK WAGNER                                       PO BOX 2236                                                                                       SANDUSKY           OH    44871
DICK WILKINSON                                    N 4230 LAKE SHORE DR                                                                              MARKESAN           WI    53946‐7613
DICKEN CHANG & GARLING CHANG JT TEN               APT 16‐K                               77 FULTON ST                                               NY                 NY    10038‐1829
DICKEY L SHADWICK                                 1244 ROMAN DR                                                                                     FLINT              MI    48507‐4016
DICKIE L MCCAMMON                                 2265 N 100 E                                                                                      HARTFORD CITY      IN    47348‐8973
DICKIE R ERWIN                                    PO BOX 28                                                                                         DE SOTO            KS    66018‐0028
DICKIE R JAMES                                    316 BRUCE CT                                                                                      KOKOMO             IN    46902‐3607
DICKIE W BECKROW                                  2901 ATKERSON DR                                                                                  CARO               MI    48723
DICKRAN V MABBS & LINDA S MABBS JT TEN            4727 27TH AVE SOUTH                                                                               MINNEAPOLIS        MN    55406‐3721
DICKSON G SCHNEIDER & WILLE CHRISTINE SCHNEIDER   1507 PACIFIC AVE                                                                                  ALAMEDA            CA    94501‐1237
JT TEN
DICKSON SR 4‐H CLUB                               C/O ALLEN BURNS                        COURTHOUSE ANNES                                           ARDMORE            OK    73401
DIDI J PARENT                                     79 INDIANA PLACE                       AMHERSTBURG ON                           N9V 3X5 CANADA
DIDIER WALTER                                     S/C RENE DOUSDEBES                     NOTAIRE              CONDOM GERS         FRANCE
DIEDRE J SWINNEY & BOBBY J SWINNEY JT TEN         27525 ARLINGTON CT                                                                                SOUTHFIELD         MI    48076‐3113
DIEDRE L BADEJO                                   24719 ECHO SPRINGS DR                                                                             HAYWARD            CA    94541‐6829
DIEDRICH M BRUNKEN                                35 FRONT STREET                                                                                   TARRYTOWN          NY    10591‐6205
DIEGO A CANTILLO                                  8723 CHEROKEE DR                                                                                  DOWNEY             CA    90241‐2728
DIEGO ESTRELLA                                    43‐23 COLDEN ST #4‐K                                                                              FLUSHING           NY    11355‐5905
DIEGO F GIRONZA                                   4636 VINCENT DR                                                                                   HOLLY              MI    48442‐9005
DIEGO M OPERTI                                    217 MYSTIC MEADOWS CT                                                                             HOWELL             MI    48843‐6307
DIEGO MATTOS                                      CONDEMIO LA MANCHA #208                CAROLINAS PR                             979 PUERTO RICO
DIEGO P CHAVES                                    67 WATER STREET                                                                                   MILFORD            MA    01757‐4121
DIEGO R VAZQUEZ                                   PO BOX 2263                                                                                       LYTLE              TX    78052‐2263
DIEGO RIBADENEIRA                                 EL CANCILLER #1                        DEPT 12              QUITO QUITO ECUAD   ECUADOR
DIEGO TORRES                                      PO BOX 245                                                                                        ALPHARETTA         GA    30009‐0245
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DIEGO V OCHOA                                       1327 E THACKERY                                                                                           WEST COVINA        CA    91790‐4345
DIEGO ZAMBRANO                                      115 E 37TH ST                          APT 4                                                              NEW YORK           NY    10016‐3043
DIEM DUC NGUYEN & JANET S NGUYEN JT TEN             3024 WHITTAKER ISLAND RD                                                                                  WILLIAMSBURG       VA    23185‐7669
DIETER H EBNER                                      35435 KENSINGTON                                                                                          STERLING HEIGHTS   MI    48312‐3775

DIETER HOVEN                                        ULMENALLE 132B                         4040 NEUSS 21                                   GERMANY
DIETER KLAUS KLEE                                   ODERSTR 46                             D‐65468 TREBUR                                  GERMANY
DIETER KLAUS KLEE                                   ODER STR 46                            D‐65468 TREBUR                                  GERMANY
DIETER KORNBERGER                                   3832 SAINT THOMAS ST                   PORT COQUITLAM BC                               V3B 2Z1 CANADA
DIETER KROCKER                                      OPEL LIVE GMBH IPC 79‐01               FRIEDRICH‐LUTZMAN‐RING 2   RUSSELSHEIM GERMAN   GERMANY
DIETER MANTHEY                                      FRAUENLOB ST 30                        D‐55118 MAINZ                                   GERMANY
DIETER MANTHEY                                      FRAUENLOBSTR 30                        MAINZ D‐55118                                   GERMANY
DIETER MANTHEY                                      FRAUENLOBSTR 30                        D‐55118 MAINZ                                   GERMANY
DIETER N BRATKE                                     KEPLERRING 72                          D‐65428 RUESSELSHEIM                            GERMANY
DIETER NEEF                                         CARL ULRICH STR 51                     64297 DARMSTADT                                 GERMANY
DIETER PFEIFER                                      SEMMELWEISWEG 9                        65428 RUSSELSHEIM                               GERMANY
DIETER SCHATZMANN                                   ROOSWEG 3                              SEENGEN                                         5707 SWITZERLAND
DIETER SCHMIDT                                      ADAM OPEL AG                           IPC A5‐02 D‐65423          RUSSELSHEIM          GERMANY
DIETER SCHMIDT                                      GROSS GERAUER STR 8                    RUESSELSHEIM                                    GERMANY
DIETLINDE I DORSEY                                  648 TANT RD                                                                                               SPRING HOPE        NC    27882
DIETMAR BREIDERT                                    WILDHUBENWEG 3                         RUESSELSHEIM                                    65428 GERMANY
DIETMAR BREIDERT                                    WILDHUBENWEG 3                         RUESSELSHEIM                                    65428 GERMANY
DIETRICH EBERHARD KRAEMER                           AUGUSTASTR 21 A                        12203 BERLIN                                    GERMANY
DIETRICH JEFFRIES & HOWARD Z JEFFRIES JT TEN        3134 CHILI AVE                                                                                            ROCHESTER          NY    14624‐4535
DIETRICH KAMM & MRS ALICE KAMM JT TEN               4393 PLAZA ORO LOMA                                                                                       SIERRA VISTA       AZ    85635‐4351
DIETRICH L REID                                     3353 FOREST GROVE CT NW                                                                                   ACWORTH            GA    30101‐6692
DIETRICH R BRANDT & MARIA BRANDT JT TEN             3120 SOUTH EAST 6TH AVE                                                                                   CAPE CORAL         FL    33904‐3505
DIETRICH ROTH                                       4074 IMPERIAL                                                                                             GRAND RAPIDS       MI    49504
DIETRICH W SALOMON & MURIEL SALOMON JT TEN          40 MORRIS AVENUE                                                                                          NEW HAVEN          CT    06512‐4421

DIGNA A DIAZ                                        428 RED CLIFFE STREET                                                                                     ELIZABETH          NJ    07206‐1030
DIKRAN HAIGOUNI & PERGROUHI HAIGOUNI JT TEN         730 24TH ST NW                                                                                            WASHINGTON         DC    20037‐2543

DIKRAN ORNEKIAN & CAROL S ORNEKIAN JT TEN           23650 MEADOWBROOK                                                                                         NOVI               MI    48375‐3447
DILBERT H BURKE                                     498 STATON DRIVE                                                                                          CHARLESTON         WV    25306‐7803
DILEEP PHILIP MATHUR                                24305 PONCHARTRAIN                                                                                        LAKE FOREST        CA    92630‐1926
DILIP K GUHA‐RAY                                    11 SLADE AVENUE APT 612 A                                                                                 BALTIMORE          MD    21208
DILIP PATEL                                         12528 YOSEMITE ST                                                                                         CERRITOS           CA    90703‐8344
DILLA M SMITH                                       3998 ST RT 222                                                                                            BATAVIA            OH    45103‐8923
DILLAN W TAFF & LUCILLE H TAFF TR 12/19/80 TAFF     2110 HOLLY AVE                                                                                            ESCONDIDO          CA    92027‐2214
FAMILY TRUST
DILLARD E BLACK                                     990 MARTY LEE LANE                                                                                        CARLISLE           OH    45005‐3838
DILLARD EARL TAYLOR                                 16069 PAVILION DR                                                                                         FENTON             MI    48430‐9170
DILLARD F HATCHER                                   PO BOX 218                                                                                                SPANISHBURG        WV    25922‐0218
DILLARD H GAMMONS                                   RT 1 BOX 235B                                                                                             STEWART            TN    37175‐9749
DILLARD HERRON                                      1001 MAR WALT DR 303                                                                                      FORT WALTON        FL    32547‐6747
                                                                                                                                                              BEACH
DILLARD OWENBY                                      12192 N OAK RD                                                                                            OTISVILLE          MI    48463‐9722
DILLARD SMITHERS JR                                 148 ST MICHAELS                                                                                           TRINIDAD           TX    75163‐5085
DILLARD WEST                                        108 CYPRESS DR                                                                                            BOLINGBROOK        IL    60440‐2816
DILLE M BRANSCUM                                    9804 S CR 50 WEST                                                                                         MUNCIE             IN    47302‐9498
DILLION L HANAHAN                                   31 MARYLAND AVE                                                                                           SEWELL             NJ    08080‐1005
DILLIS V HULL JR                                    8272 FAULKNER                                                                                             DAVISON            MI    48423‐9536
DILLMAN C KINSELL JR & MRS SALLY D KINSELL JT TEN   2713 CLIFFORD AVE                                                                                         SAN CARLOS         CA    94070‐4317

DIMAGGIO NICHOLS                                    923 HIGHWAY 65‐69                                                                                         INDIANOLA        IA      50125‐9232
DIMCE NECOVSKI                                      26516 LAWRENCE DR                                                                                         DEARBORN HEIGHTS MI      48127‐3380
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DIMITRI A PAPANASTASSIOU & TERI I PAPANASTASSIOU   590 SIERRA VISTA                                                                                 SAN MARINO        CA    91108‐1455
JT TEN
DIMITRI IAKOVIDES                                  4675 MIDLAND                                                                                     WATERFORD         MI    48329‐1838
DIMITRI LEONDARIDES                                9049 MERRYVALE DR                                                                                TWINSBURG         OH    44087‐2504
DIMITRIE TOTH JR                                   4750 SEYMOUR LAKE RD                                                                             OXFORD            MI    48371
DIMITRIE TOTH JR & HELEN TOTH JT TEN               4750 SEYMOUR LAKE RD                                                                             OXFORD            MI    48371
DIMITRINA VOZIS                                    33 SUNCREST DR                          NORTH YORK ON                          M3C 2L1 CANADA
DIMITRIOS G IEROMONAHOS                            6 BRIAN DANIEL COURT                                                                             REISTERSTOWN      MD    21136
DIMITRO WENNYK                                     1541 MCTAVISH CRESCENT                  LONDON ON                              N5X 1P6 CANADA
DIMITRY K HUMPHREYS COOK                           BOX 51                                                                                           IRVINGTON         VA    22480‐0051
DIMKO V OGNENOVSKI                                 41 BRASSER DR                                                                                    ROCHESTER         NY    14624‐4408
DIMPLE KANTER                                      1330 CHARLES ST                                                                                  COOKEVILLE        TN    38506‐5901
DIMPLE L BLACK                                     1927 DRILL AVE                                                                                   DAYTON            OH    45414‐5536
DINA E SANTOS                                      123 HORIZON DR                                                                                   EDISON            NJ    08817‐5805
DINA IKONOMOPOULOS                                 22201 BENJAMIN                                                                                   ST CLAIR SHORES   MI    48081‐2282
DINA KAE SHEETS                                    24516‐B WINDSOR DR                                                                               VALENCIA          CA    91355‐4430
DINA M METZGAR                                     C/O MRS DINA DEANNUNTIS                 58 INVERNESS AVE                                         MAYS LANDING      NJ    08330‐5208
DINA MARIE BEHR CUST RICHARD BEHR UTMA NY          125 FLAMINGO                                                                                     ATLANTIC BCH      NY    11509
DINA MARIE SMITH                                   143 SOUTH GLEN ROAD                                                                              KINNELON          NJ    07405‐2711
DINA S TRASKOS                                     3791 ALDENBRIDGE CIR                                                                             HIGHLANDS RANCH   CO    80126‐8870

DINAH C STEWART                                    302 WEBB RD                                                                                      NEWARK            DE    19711‐2651
DINAH L CHRISTIAN                                  1912 GRASSLAND DR                                                                                NORMAN            OK    73072‐2915
DINAH LEA KOLAR                                    1205 N 63RD ST                                                                                   BALTIMORE         MD    21237‐2505
DINAH LEE                                          495 MARKWOOD DR                                                                                  OXFORD            MI    48370‐2921
DINAH M KORMAN                                     360 MORVALE RD                                                                                   EASTON            PA    18042‐6820
DINAH R NELSON & JAMES L NELSON JT TEN             PO BOX 3358                                                                                      CAMDENTON         MO    65020‐3358
DINAH V MILES                                      7662 W 63RD PLACE                                                                                SUMMIT            IL    60501‐1802
DINEEN CARTER                                      874 SE 2ND PLACE #1                                                                              DEERFIELD BEACH   FL    33441
DINESH S SHETH                                     44000 HARSDALE                                                                                   CANTON            MI    48187‐3231
DINO A LOSARDO                                     427 ROUND TOP RD                                                                                 HARRISVILLE       RI    02830‐1039
DINO AMATO                                         41 PATRICK STREET                                                                                CARTERET          NJ    07008‐1864
DINO BRITSAKOS CUST STEVE BITSAKOS UGMA CA         26125 OAK FLAT CT                                                                                NEWHALL           CA    91321‐2109
DINO C DIAZ                                        28421 RALEIGH CRESCANT                                                                           NEW BALTIMORE     MI    48051‐2310
DINO C RINALDI                                     2115 NW BEECHWOOD PLACE                                                                          CORVALLIS         OR    97330‐1001
DINO D LANNO                                       2689 SKELTON LN                                                                                  BLACKLICK         OH    43004‐8743
DINO GIROLA                                        297 WEST COLE RD                                                                                 RAGLEY            LA    70657‐4056
DINO L DI BARTOLOMEO                               27 KENEFICK                                                                                      BUFFALO           NY    14220‐1519
DINO M CAMPOLITO                                   4545 QUAKER CT                                                                                   CANFIELD          OH    44406‐9131
DINO PAPPALARDO CUST NICHOLAS GORYANCE UTMA        7672 DEBONAIRE DRIVE                                                                             MENTOR            OH    44060‐5319
OH
DINO S ROTONDO                                     94 N HOLCOMB RD                                                                                  CLARKSTON         MI    48346‐1436
DINO VOLPE                                         1970 S CLINTON ST                                                                                DEFIANCE          OH    43512‐3221
DINORA BRUNO                                       303 C SEA OATS DR                                                                                JUNO BEACH        FL    33408‐1448
DINORAH LIRIANO                                    2005 CHAMPIONS PKWY                                                                              LAWRENCEVILLE     GA    30044‐6928
DINOS FLESSAS                                      22617 WATERBURY ST                                                                               WOODLAND HILL     CA    91364‐4926
DINU R PATEL & MANJU D PATEL JT TEN                C/O TRAVELODGE                          390 CANEBRAKE RD                                         SAVANNAH          GA    31419‐9000
DINZLE R BROWN                                     4375 UNION RD                                                                                    FRANKLIN          OH    45005‐5211
DINZO LP                                           44 FLEET STREET                                                                                  FOREST HILLS      NY    11375
DIO D SMITH                                        8412 RONDALE DR                                                                                  GRAND BLANC       MI    48439‐8341
DIOCESE OF FT WAYNE SOUTH BEND                     CREDIT TO ST ELIZABETH                  ANN SETON            PO BOX 390                          FT WAYNE          IN    46801‐0390
DION D HOLIDAY                                     802 W RIDGEWAY AVE                                                                               FLINT             MI    48505‐5138
DION H CUMMINGS                                    2822 W GENESEE AVE                                                                               SAGINAW           MI    48602‐3725
DION J BROWN                                       219 1/2 S MAIN ST                                                                                EATON RAPIDS      MI    48827‐1255
DION LYNN JOHNSON III                              322 WOODROW AVE                                                                                  SANTA CRUZ        CA    95060‐6418
DION S CAZA & JEAN E CAZA JT TEN                   1971 HUTCHINS DR                                                                                 ROCHESTER HILLS   MI    48309‐2977
DIONISIO CHEONG                                    9247 RAVILLER DRIVE                                                                              DOWNEY            CA    90240‐3011
DIONISIO G TORRES                                  5427 NEENAH AVENUE                                                                               CHICAGO           IL    60638‐2403
DIONISIO MALDONADO                                 2600 UPAS                                                                                        MC ALLEN          TX    78501‐6471
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DIONISIO O SANCHEZ                                9116 MOREHART STREET                                                                                                ARLETA           CA    91331‐4319
DIONISIO ORACIO SANCHEZ & ARTEMISA R SANCHEZ JT   9116 MOREHART STREET                                                                                                ARLETA           CA    91331‐4319
TEN
DIONNE C BURCH                                    19210 GODDARD                                                                                                       DETROIT          MI    48234‐1323
DIONNE JORDAN                                     1096 TAHOE TRAILS                                                                                                   FLINT            MI    48532‐3565
DIONNE LYNN COOPER                                185 HOLLEN RD                                                                                                       BALT             MD    21212‐2425
DIOSELINA ROMERO                                  25 HONEY LN                                                                                                         STAFFORD         VA    22554‐6646
DIPSYRENE EMMONS                                  440 W SONOMA                                                                                                        HAZEL PARK       MI    48030
DIRAN CHERTAVIAN                                  670‐C HIGH POINT BLVD NORTH                                                                                         DELRAY BEACH     FL    33445‐3367
DIRAN KAVORK DOHANIAN                             269 PAYSON RD                                                                                                       BELMONT          MA    02478‐3406
DIRAN ROY BAGDASARIAN                             7847 VERAGUA DRIVE                                                                                                  PLAYA DEL REY    CA    90293‐7900
DIRAN S TOPJIAN                                   13505 HATTERAS ST                                                                                                   VAN NUYS         CA    91401‐4518
DIRECTOR OF FINANCE STATE OF HAWAII               DEPARTMENT OF BUDGET & FINANCE          UNCLAIMED PROPERTY BRANCH   250 SOUTH HOTEL ST ROOM 304                     HONOLULU         HI    96813‐2831
DIRECTOR OF FINANCE STATE OF HAWAII               DEPARTMENT OF BUDGET & FINANCE          UNCLAIMED PROPERTY BRANCH   250 SOUTH HOTEL ST ROOM 105                     HONOLULU         HI    96813‐2831
DIRK A NEWHOUSE                                   237 E CHURCH ST                                                                                                     LIGONIER         PA    15658‐1301
DIRK DE VRIES                                     49‐93 PINE VALLEY GATE                  LONDON ON                                                 N6J 4L7 CANADA
DIRK E LEMBREGTS                                  ADAM OPEL IPC D3‐01                     FRIEDRICH LUTZMANN RING     RUESSELSHEIM GERM             GERMANY
DIRK F ZUSCHLAG                                   3976 WEXFORD DR                                                                                                     WIXOM            MI    48393‐1193
DIRK H VANDERBLUE                                 443 PENFIELD RD                                                                                                     FAIRFIELD        CT    06430‐6713
DIRK I STOEHR                                     3807 WILSHIRE BL #200                                                                                               LOS ANGELES      CA    90010‐3104
DIRK J ARNOLD                                     198 W UNIVERSITY BLVD                   APT A                                                                       TUCSON           AZ    85705‐7678
DIRK OLSON & DIANE OLSON JT TEN                   W5604 DEERFIELD RD                                                                                                  LA CROSSE        WI    54601‐2902
DIRK R HOUTKAMP                                   1623 NORTH 121                                                                                                      WAUWATOSA        WI    53226‐2904
DISARMO PERUGINI & MARIE PERUGINI JT TEN          325 E 14TH ST                                                                                                       NEW YORK         NY    10003‐4255
DIT HAY WONG                                      1344 65TH ST 2ND FLR                                                                                                BROOKLYN         NY    11219‐5616
DIVINA A LAPALOMBARA                              1 FOUNTAIN RD                                                                                                       LEVITTOWN        PA    19056‐1914
DIVINE GRACE EVANGELICAL LUTHERAN CHURCH          3000 S LAPEER RD                                                                                                    LAKE ORION       MI    48359‐1317
DIX C LUNDIN                                      C/O MRS ELEANOR LUNDIN                  309 TOWNE DR APT 2                                                          ELIZABETHTOWN    KY    42701‐7453
DIXIANNA R COURTNEY                               5515 JEFFERSON‐PAIGE RD                                                                                             SHREVEPORT       LA    71119‐5505
DIXIE A CURRIE                                    852 SAUL DRIVE                                                                                                      HUBBARD          OH    44425‐1257
DIXIE B ESKEW                                     3419 PENDLETON AVENUE                                                                                               ANDERSON         IN    46013‐2009
DIXIE B OTTO                                      1611 SPRINGS ROAD                                                                                                   SPRINGS          PA    15562‐2314
DIXIE C KELLY                                     4012 ASHBY RD                                                                                                       ST ANN           MO    63074‐1804
DIXIE I WHITTAKER                                 4 PARK AVE                                                                                                          MIDDLEPORT       NY    14105‐1307
DIXIE J CUMMINGS                                  806 AVALON LANE                                                                                                     CHESTERFIELD     IN    46017‐1408
DIXIE J MATHEWS                                   2610 MORLEY WAY                                                                                                     SACRAMENTO       CA    95864‐6943
DIXIE J O'BANNON                                  1085 HIBISCUS ST                                                                                                    ATLANTIC BEACH   FL    32233‐2651
DIXIE JANE BEAULIEU                               1056 NOREE BLVD                                                                                                     ROCKLEDGE        FL    32955‐3820
DIXIE KEIR BARRON                                 1912 PEQUENO ST                                                                                                     AUSTIN           TX    78757‐3210
DIXIE L BRAGA                                     326 SILVERS RD                                                                                                      ST PETERS        MO    63376‐1052
DIXIE L CLARK                                     6311 S KARNS RD                                                                                                     W MILTON         OH    45383‐8764
DIXIE L COURTNEY                                  3708 HARBOUR CIRCLE                                                                                                 LEES SUMMIT      MO    64082‐4675
DIXIE L COX                                       852 HUNTER CHAISE DRIVE                                                                                             WENTZVILLE       MO    63385‐2746
DIXIE L GOTCHER CUST MATTHEW SCOTT GOTCHER        1805 CAMPUS DRIVE                                                                                                   DAYTON           OH    45324‐3927
UTMA OH
DIXIE L GRAVES                                    407 W H ST                                                                                                          FROSTPROOF       FL    33843‐3515
DIXIE L GRAVES & EUGENE E GRAVES JT TEN           407 HIGHWAY 630 WEST                                                                                                FROSTPROOF       FL    33843‐3515
DIXIE L KELLERMEIER                               4862 CASTLE HILL CT NE                                                                                              ROCKFORD         MI    49341‐8382
DIXIE L LUTRELL & ROGER DALE LUTRELL SR JT TEN    11289 CR 1510                                                                                                       ADA              OK    74820‐0276

DIXIE L LYNCH                                     122 DALTON AVE                                                                                                      CARLISLE         OH    45005‐1350
DIXIE L OAKES                                     43291 PECK WADSWORTH RD                                                                                             WELLINGTON       OH    44090
DIXIE L OAKES                                     43291 PECK WADSWORTH RD                                                                                             WELLINGTON       OH    44090
DIXIE L PEARCE                                    5950 KAY RD                                                                                                         MESICK           MI    49668‐8508
DIXIE LEE BYSOR                                   16 EAST 32ND STREET                                                                                                 KANSAS CITY      MO    64111‐1106
DIXIE LEE MEISELBACH                              PO BOX 1259                                                                                                         OCCIDENTAL       CA    95465‐1259
DIXIE LEE SELLERS                                 2616 HOUSTON PLACE                                                                                                  LEESBURG         FL    34748‐6469
DIXIE LEE WALRATH                                 5950 KAY ROAD                                                                                                       MESICK           MI    49668‐8508
DIXIE M BISHOP                                    9439 S JENNINGS RD                                                                                                  GRAND BLANC      MI    48439‐9360
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DIXIE M PRICE                                    1010 SOUTH GOSHEN CHURCH RD                                                                      BOWLING GREEN    KY    42103
DIXIE O BURMEISTER                               109 BUNNY TRL                                                                                    PENDLETON        IN    46064‐9165
DIXIE R NEATHERTON                               530 TREA CT                                                                                      GERMANTOWN       OH    45327‐1625
DIXIE SULLIVAN MILBY                             9528 WESSEX PLACE                                                                                LOUISVILLE       KY    40222‐5043
DIXIE W MOAK                                     3025 DAUGHDRILL TRAIL SE                                                                         BOGUE CHITTO     MS    39629‐9646
DIXIE W YATES & DON S YATES JT TEN               1104 HAMPTON DR                                                                                  SUMMMERVILLE     SC    29483‐2017
DIXON B KEYSER & MRS E LUCILLE KEYSER JT TEN     530 S MADISON AVE                                                                                LA GRANGE        IL    60525‐2801
DIXON J MARTIN                                   2409 WASHINGTON ST W                                                                             CHARLESTON       WV    25312‐1225
DIXON M LOUGHEED JR                              1420 CHILI AVE                                                                                   ROCHESTER        NY    14624‐3252
DIXON SPAIN                                      3595 SANTA FE AVE #181                                                                           LONG BEACH       CA    90810‐4359
DIXON T SUZUKI                                   2373‐B ORCHID ST                                                                                 HONOLULU         HI    96816‐3117
DJURDJA MARTINOVSKA                              7827 GREELEY ST #12                                                                              UTICA            MI    48317‐5446
DLESK SUPPLY DBA H&H SUPPLY                      ATT HARRY A DLESK                       243 N MULBERRY STREET                                    MANSFIELD        OH    44902‐1053
DLESK SUPPLY DBA H&H SUPPLY                      ATTN CHARLES DLESK                      243 N MULBERRY STREET                                    MANSFIELD        OH    44902‐1053
DMYTRO ANTONIW & MRS IRENE ANTONIW JT TEN        292 STILLS LANE                         OAKVILLE ON                            L6J 5Y5 CANADA

DMYTRO DOSIJ                                     5034 NORTH MCKINLEY                     APT A‐12                                                 FLUSHING         MI    48433‐2924
DMYTRO GREGULAK                                  10009 CONCORD RD #217                                                                            TALLAHASSEE      FL    32308
DMYTRO MOZIL                                     6200 PARKRIDGE AVE                                                                               CLEVELAND        OH    44144‐1565
DO SEUK KIM                                      907 N ALEXANDRIA #1                                                                              LOS ANGELES      CA    90029‐2556
DOAK O CONN 3RD & MRS BARBARA C CONN JT TEN      410 DEAN DR                                                                                      KENNETT SQUARE   PA    19348‐1627

DOBORAH S WATKINS & THOMAS WATKINS JT TEN        28420 FLORENCE                                                                                   GARDEN CITY      MI    48135‐2737

DOBORAH S WATKINS CUST JILLAN WATKINS            UTMA MI                                 28420 FLORENCE                                           GARDEN CITY      MI    48135‐2737
DOBRILA MILETIC                                  690 ESME DR                                                                                      GIRARD           OH    44420
DOC W WALDIE                                     781 RIDGEFIELD                                                                                   COOPERSVILLE     MI    49404‐9665
DOCIA RILEY GREENWAY                             5668 CARMELA WAY                                                                                 SACRAMENTO       CA    95822‐3104
DOCK A WRIGHT                                    7956 KY HIGHWAY 610 W                                                                            JENKINS          KY    41537‐8303
DOCK ISAIAH JR                                   4387 GIBSON AVENUE                                                                               ST LOUIS         MO    63110‐1646
DOCK LEE & VIRGINIA LEE JT TEN                   587 SAWYER                                                                                       SAN FRANCISCO    CA    94134‐3222
DOE LEE GWYNN CUST CYNTHIA IRIS GWYNN U/THE      C/O CYNTHIA IRIS WAITE                  14909 COL ALLEN                                          BATON ROUGE      LA    70816
ALABAMA U‐G‐M‐A
DOE LEE GWYNN CUST MARSHALL INGRAM GWYNN         MARSHALL INGRAM GWYNN                   200 DEERFEILD TRAIL                                      GROVE HILL       AL    36451
U/THE ALA U‐G‐M‐A
DOHN C DAVIS JR                                  3338 JOHN DALY                                                                                   INKSTER          MI    48141‐2633
DOHN C SIPE                                      2222 GRAHAM DRIVE SOUTH                                                                          SHELBYVILLE      IN    46176‐3021
DOICE G EVANS                                    3343 BRICKY                                                                                      BEE BRANCH       AR    72013‐8952
DOICE J PRITCHETT                                1300 SAGE GREEN CT                                                                               HENDERSON        NV    89012‐4848
DOII M HALVORSEN & FORREST HALVORSEN JT TEN      5600 PANK ST                                                                                     SYRACUSE         NE    68446

DOIL E DEAN                                      PO BOX 182                                                                                       CHESAPEAKE       OH    45619‐0182
DOLAN HACKWORTH & NELDA HACKWORTH JT TEN         2775 JUNIPER DR                                                                                  BATESVILLE       AR    72501‐7912

DOLAN ROBIN ROSSI                                19210 COVINGTON CT                                                                               SHOREWOOD        MN    55331‐8711
DOLEN E BREEDLOVE                                592 RUSHING RIDGE RD                                                                             HARRISON         AR    72601‐5692
DOLLARD F LEBLANC & ANNETTE M LEBLANC JT TEN     1479 AMIRAULT                           DIEPPE NB                              E1A 4T4 CANADA

DOLLETTA S MC CRARY                              476 RADSTONE CT                                                                                  WINDER           GA    30680‐7181
DOLLIE A CUNNINGHAM                              24435 SAMOSET                                                                                    SOUTHFIELD       MI    48034‐2834
DOLLIE GLADYS SUTTON                             RR #1 BOX 44D                                                                                    DEVALLS BLUFF    AR    72041‐9716
DOLLIE IRENE ANDREWS & MARILYN J GRAVES JT TEN   822 ASHFORD CT                                                                                   TYLER            TX    75703‐1408

DOLLIE L BARNES                                  33 CORTLAND STREET                                                                               NORWALK          OH    44857
DOLLIE S MICKULIN                                33285 MILL RACE CIRCLE                                                                           WESTLAND         MI    48185‐1486
DOLLISON BLACKWELL JR                            917 W 27TH ST                                                                                    INDIANAPOLIS     IN    46208‐5423
DOLLISTER B CRUM                                 226 W STOCKDALE                                                                                  FLINT            MI    48503‐1193
DOLLY A NEWTON FREESE                            6866 E HEATHERWOOD LN                                                                            CAMBY            IN    46113‐8437
DOLLY A RUECKERT                                 7146 N LEATON RD                                                                                 CLARE            MI    48617‐9135
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DOLLY BENEDICT                                 535 OCEAN PKWY APT 3C                                                                          BROOKLYN          NY    11218
DOLLY CROSS & PAUL R CROSS TR FAMILY TRUST     200 MONTANA AVE APT 106                                                                        LEAD              SD    57754‐1052
02/05/92 U‐A DOLLY CROSS
DOLLY D HENDRICKSON                            169A WATER ST                                                                                  PERRY             NY    14530‐1339
DOLLY ESTHER WALTON                            2469 KIMBERLY PKWY E                  APT 12DK                                                 COLUMBUS          OH    43232‐4273
DOLLY HARRISON GLAIZE                          113 COTTAGE DR                                                                                 WINCHESTER        VA    22603‐4209
DOLLY L SMITH                                  6844 STONE GAP COVE                                                                            MEMPHIS           TN    38141‐8564
DOLLY M LYONS                                  8903 MEYERS                                                                                    DETROIT           MI    48228‐2631
DOLLY M MCNEICE & SHIRLEY J O'MALLEY JT TEN    24356 EUREKA                                                                                   WARREN            MI    48091‐4440
DOLLY M WILSON TR DOLLY M WILSON TRUST UA      1917 KEVEN DR                                                                                  MONTGOMERY        IL    60538‐1017
04/11/96 WILSON FAMILY
DOLLY MC CUTCHEON                              1624 CLARKSON AVE                                                                              NEWBERRY          SC    29108‐3924
DOLLY S DANIEL EX UW JESSIE E SOWDER           PO BOX 185                                                                                     ANSTED            WV    25812‐0185
DOLLY SOWDER DANIEL                            PO BOX 185                                                                                     ANSTED            WV    25812‐0185
DOLLY W SHOEMAKER & KIMBERLY S MCGRAW JT TEN   5464 JUAREZ ST                                                                                 BATON ROUGE       LA    70811‐4019

DOLLYE J BURDEAUX                              176 OLD DEROCHE CUTOYE                                                                         BISMARCK          AR    71929
DOLORE C COOPER & MICHELE L PRICE & RHONDA L   5648 GUNPOWDER RD                                                                              WHITE MARSH       MD    21162‐1129
PIUNTI JT TEN
DOLORES A ABNEY                                2116 N 100 E                                                                                   KOKOMO            IN    46901‐8595
DOLORES A AUSTERMANN & BERNARD F AUSTERMANN    2008 CAESAR DR                                                                                 FENTON            MO    63026‐2163
JT TEN
DOLORES A BADEN                                6441 W WARNER APT 202                                                                          CHICAGO           IL    60634‐6226
DOLORES A BARRETT                              2347 SEA POINT DRIVE                                                                           POINT PLEASANT    NJ    08742‐4804
DOLORES A BASKETTE                             4004 HIGHWAY 80 E                                                                              PEARL             MS    39208‐4227
DOLORES A BEHLING                              N2680 COUNTY ROAD G                                                                            MERRILL           WI    54452‐9597
DOLORES A BELL                                 5414 N 25TH ST                                                                                 PHOENIX           AZ    85016‐3646
DOLORES A BRESNAHAN                            7352 TRAILS END                                                                                JACKSONVILLE      FL    32277‐2282
DOLORES A BROWN & GEORGIA J JECKLIN JT TEN     1404 W 43RD ST                                                                                 DAVENPORT         IA    52806‐4520
DOLORES A BURKE                                2 HORATIO LANE                                                                                 ROCHESTER         NY    14624‐2234
DOLORES A COLLADO                              92 GARVEY AVENUE                                                                               BUFFALO           NY    14220‐1408
DOLORES A DRAYTON                              2718 SEA ISLAND DR                                                                             FORT LAUDERDALE   FL    33301‐1541

DOLORES A DURDOCK                              1910 FRAMES RD                                                                                 BALTIMORE         MD    21222‐4710
DOLORES A ENGEL                                9871 WATSON RD                                                                                 WOLVERINE         MI    49799‐9606
DOLORES A FARRELL & ROBERT D FARRELL JT TEN    108 NEW MARK ESPLANADE                                                                         ROCKVILLE         MD    20850‐2732
DOLORES A FLOW                                 41 CLARK STREET                                                                                BROCKPORT         NY    14420‐1301
DOLORES A HABAZIN CUST CHRISTOPHER JOHN        1826 POLK ST                                                                                   ALIQUIPPA         PA    15001‐2034
HABAZIN UGMA PA
DOLORES A HAGGERTY                             1009 FRONT ST                                                                                  UNIONDALE         NY    11553
DOLORES A HINTON                               2452 WILSHIRE ST                                                                               WESTLAND          MI    48186‐5406
DOLORES A HOH                                  6612 SCENERY PL                                                                                CONESUS           NY    14435‐9637
DOLORES A HORNYAK                              119 W NEW JERSEY AVE                                                                           BEACH HAVEN       NJ    08008‐2765
DOLORES A HRINKO                               100 CAT TAIL BAY DR                                                                            CONWAY            SC    29527‐4392
DOLORES A HUSBAND & ROBERT G HUSBAND JT TEN    BOX 50                                                                                         BARBEAU           MI    49710‐0050

DOLORES A KAPANKE                              30445 BARTON                                                                                   GARDEN CITY       MI    48135‐1302
DOLORES A LA BELLE                             1873 E LONGMEADOW                                                                              TRENTON           MI    48183‐1777
DOLORES A LACY                                 1322 WEST 3RD STREET                                                                           WILMINGTON        DE    19805‐3630
DOLORES A LAMBERT                              804 E IRONWOOD DRIVE                                                                           MOUNT PROSPECT    IL    60056‐1358

DOLORES A LARONCA                              539 WYNDEMERE AVE                                                                              RIDGEWOOD         NJ    07450‐3528
DOLORES A LOEWEKE                              1679 TAMMARRON S E                                                                             GRAND RAPIDS      MI    49546‐9734
DOLORES A LOEWEKE & DONALD D LOEWEKE JT TEN    1679 TAMMARRON SE                                                                              GRAND RAPIDS      MI    49546‐9734

DOLORES A MARSHALL                             719 MONMOUTH ST                                                                                TRENTON           NJ    08609‐2617
DOLORES A MATTA                                2390 CRANEWOOD DRIVE                                                                           FENTON            MI    48430‐1049
DOLORES A O'NEIL                               PO BOX 723                                                                                     COBBS CREEK       VA    23035‐0723
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DOLORES A PROVEN                                1123 S BRYS                                                                                     GROSSE POINTE      MI    48236‐1211
                                                                                                                                                WOOD
DOLORES A REESE & JAMES F REESE JT TEN          2754 PLUMBROOK                                                                                  BLOOMFIELD HILLS   MI    48304‐1767

DOLORES A RICHMOND                              2812 ELM ST                                                                                     BAKERSFIELD      CA      93301‐2623
DOLORES A SCHIERLINGER                          5669 MCMILLIAN STREET                                                                           DEARBORN HEIGHTS MI      48127‐2432

DOLORES A SCHOLL                                3464 BEREA RD                                                                                   CLEVELAND       OH       44111‐2417
DOLORES A SKINNER                               3630 N EL MORAGA DR                                                                             TUCSON          AZ       85745‐9603
DOLORES A STEVENS                               1414 DELAWARE AVE                                                                               FLINT           MI       48506‐3318
DOLORES A THELEN                                406 CHURCH                                                                                      WESTPHALIA      MI       48894
DOLORES A WALKER                                PO BOX 277                                                                                      MONTGOMERY      IN       47558‐0277
DOLORES A WOLFRUM                               26741 KATHERINE ST                                                                              WIND LAKE       WI       53185‐2023
DOLORES A YOUNG                                 6595 DAWN ST                                                                                    FRANKLIN        OH       45005‐2659
DOLORES ADAMS                                   PO BOX 4172                                                                                     CHERRY HILL     NJ       08034‐0633
DOLORES AFFELDT & DAVID M AFFELDT JT TEN        3006 TROWBRIDGE ST                                                                              HAMTRAMCK       MI       48212‐3284
DOLORES AGOZINO                                 2825 GENERAL MOTORS RD                                                                          MILFORD         MI       48380‐3811
DOLORES ANGELA HILL CRAWFORD                    1611 PORTLAND AVE                                                                               FORT WASHINGTON MD       20744‐3771

DOLORES ANN ANDRESS                             310 IONA AVE                                                                                    EGG HBR TWP     NJ       08234
DOLORES ANN FARRELL                             ATTN DOLORES ANN MUHLBAUER             290 PACIFIC ST                                           MASSAPEQUA PARK NY       11762‐1805

DOLORES ANN GAUTHIER                            174 WILGUS                                                                                      RUSSELLS PT        OH    43348‐1208
DOLORES ANNE DUFFY                              788 HEATHER LANE                                                                                BARTLETT           IL    60103‐5746
DOLORES ANNE EGGE                               1500 W HAMILTON ST                     APT 2D                                                   ALLENTOWN          PA    18102‐4259
DOLORES B AUGERI                                71 PETERS LANE                                                                                  ROCKFALL           CT    06481‐2040
DOLORES B JOHNSON                               5 THORNTON ST                                                                                   HILLSBOROUGH       NJ    08844‐7007
DOLORES B LAMPHIER & HAROLD W LAMPHIER JT TEN   1154 BETH DR                                                                                    LAPEER             MI    48446‐3014

DOLORES B WILSON                                1485 PROVIDENCE BLVD                                                                            DELTONA            FL    32725‐7438
DOLORES B WOOD                                  3610 PINELAND                                                                                   GLADWIN            MI    48624‐7941
DOLORES BARBER                                  3142 GARMON OAK CT                                                                              LAWRENCEVILLE      GA    30044‐5116
DOLORES BARBERA                                 31720 NEWPORT DR                                                                                WARREN             MI    48093‐7044
DOLORES BASISTA                                 107 WESTCHESTER DR                     APT 411                                                  YOUNGSTOWN         OH    44515‐3975
DOLORES BICKING TOD JANET BICKING               507 NOLTON ST                                                                                   WILLOW SPRINGS     IL    60480

DOLORES BLASZAK                                 123 CANTERBURY TRL                                                                              BUFFALO            NY    14224‐2543
DOLORES BORDINE                                 22632 HWY 111                                                                                   EVANS              LA    70639‐3040
DOLORES C BARNES                                8724 STEPHENSON ROAD                                                                            ONSTED             MI    49265‐9326
DOLORES C DOMINSAC CUST EDWARD C DOMINSAC       1908 HUNTINGTON DRIVE                                                                           CHERRY HILL        NJ    08003‐1712
UGMA NJ
DOLORES C ENGELS                                1710 LAKE JAMES DRIVE                                                                           PRUDENVILLE        MI    48651‐9420
DOLORES C HART & MARY C JOHNSON JT TEN          PO BOX 44                                                                                       OHIO               IL    61349‐0044
DOLORES C HILLEGAS TR UA 06/27/06 DOLORES C     223 GOLF COURSE RD                                                                              STOYSTOWN          PA    15563
HILLEGAS TRUST
DOLORES C LESER                                 608 N DEWEY ST                                                                                  EAU CLAIRE         WI    54703‐3142
DOLORES C MOLTRUP                               17613 M‐68 HIGHWAY                                                                              ONAWAY             MI    49765‐8895
DOLORES C PUGH                                  8635 BAYBERRY DR NE                                                                             WARREN             OH    44484‐1612
DOLORES C PURDY                                 33 OAKS DR                                                                                      MAYS LANDING       NJ    08330‐8926
DOLORES C ZENTZ                                 52291 TALLYHO DR                                                                                SOUTH BEND         IN    46635‐1048
DOLORES CALDWELL                                C/O DOLORES BLASZKIEWICZ               6569 NORWOOD                                             ALLEN PARK         MI    48101‐2410
DOLORES CAMPBELL                                703 KELLYS WAY                                                                                  EAST BRADY         PA    16028‐1309
DOLORES CASE                                    44 SLEEPY HOLLOW RD                                                                             PORT JERVIS        NY    12771‐5308
DOLORES CHRISTOPHE                              10952 FULTON WELLS AVE                 APT 303                                                  SANTA FE SPGS      CA    90670‐5928
DOLORES CONSORTI & JOHN CONSORTI JT TEN         12 MONTGOMERY ST                                                                                OSSINING           NY    10562‐3203
DOLORES CROOKS                                  13288 TODD ROAD                                                                                 IDA                MI    48140‐9728
DOLORES D BANKS                                 7807 N COVE RD                                                                                  BALTIMORE          MD    21219‐1919
DOLORES D JEZL                                  1640 N NATCHEZ AVE                                                                              CHICAGO            IL    60707‐4044
DOLORES D LATTIMORE                             295 SOUTH 19TH ST                                                                               NEWARK             NJ    07103‐1320
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DOLORES D MCCUBBIN & PAULETTE D MCCUBBIN &          37 MARYLAND AVENUE                   UNIT 345                                                   ROCKVILLE          MD    20850
VINCENT P MCCUBBIN JT TEN
DOLORES D MLOSTEK                                   43520 NOWLAND DR                                                                                CANTON             MI    48188‐1787
DOLORES D NILES                                     3691 STATE HIGHWAY 34                                                                           JUNCTION CITY      WI    54443‐9101
DOLORES D SHARPE                                    C/O MARJORIE PIERMAN                 ATTN BRIAN F HAGAN   21270 LORAIN ROAD                     FAIRVIEW PARK      OH    44126‐2121
DOLORES DIEHL                                       691 S IROLO ST 212                                                                              LA                 CA    90005‐4110
DOLORES DRIGGERS                                    106 EAST HIBISCUS                                                                               LAKE PLACID        FL    33852‐9617
DOLORES E AMEZCUA                                   11904 POPLAR                                                                                    SOUTHGATE          MI    48195‐2230
DOLORES E BARBERA                                   212 ROSEWOOD ST                                                                                 JOHNSTOWN          PA    15904‐1325
DOLORES E DAIGLE                                    C/O D E CHURCHEY                     15 MOORING CIR                                             PLYMOUTH           MA    02360‐2730
DOLORES E DEWEY                                     PO BOX 17604                                                                                    RALEIGH            NC    27619‐7604
DOLORES E DOROBIALA                                 20 ANGELACREST LANE                                                                             WEST SENECA        NY    14224‐3802
DOLORES E FIELDS                                    11120 QUEENSLAND ST #B10                                                                        LOS ANGELES        CA    90034‐5230
DOLORES E FREEMAN                                   5166 S FENTON RD                                                                                FENTON             MI    48430‐9540
DOLORES E HILDEBRANDT                               5110 W 26TH ST                                                                                  CICERO             IL    60804‐2915
DOLORES E KARAWULAN                                 263 LOCUST AVE                                                                                  ELSMERE            DE    19805‐2520
DOLORES E KLUCK & HAROLD G KLUCK JT TEN             4866 HENRY DR                                                                                   SAGINAW            MI    48603‐5630
DOLORES E MIKULSKI & GEORGE J MIKULSKI III JT TEN   3406 NORTHWAY DR                                                                                BALTIMORE          MD    21234‐7923

DOLORES E MUMBY & CATHERINE ANN ACHORN JT TEN 608 PEPPERDINE AVE                                                                                    EDMOND             OK    73013‐5458

DOLORES E MUMBY & LINDA M PALATKA JT TEN            608 PEPPERDINE AVE                                                                              EDMOND             OK    73013‐5458
DOLORES E NEWELL                                    607 GLORIA ST                                                                                   LOCKPORT           IL    60441‐3116
DOLORES E PIERCE                                    1585 MEADOW BROOK COURT                                                                         NICEVILLE          FL    32578
DOLORES E RODRIGUEZ                                 407 WARREN ST                                                                                   SAN ANTONIO        TX    78212‐4956
DOLORES E ROMANEK                                   2571 PRIVADA DR                                                                                 THE VILLAGES       FL    32162‐8513
DOLORES E RYZNAR                                    3010 FLO LOR DR                      APT 1                                                      YOUNGSTOWN         OH    44511‐2754
DOLORES E SHERMAN                                   APT 14                               711 W WISCONSIN                                            MILWAUKEE          WI    53233‐2418
DOLORES E SHERMAN                                   BOX 208                                                                                         HAWTHORN           PA    16230‐0208
DOLORES ERBE & LEWIS ERBE TEN ENT                   404 W BROAD ST                                                                                  TAMAQUA            PA    18252‐1823
DOLORES ERNESTINE WHITE                             2212 SENECA                                                                                     FLINT              MI    48504‐2943
DOLORES ESCAMILLA & LAURA ESCAMILLA JT TEN          115 SHARON DR                                                                                   SAN ANTONIO        TX    78216‐7319
DOLORES F BURROUGHS                                 19 SCHOOL ST                                                                                    MANCHESTER         MA    01944‐1337
DOLORES F CLARICH                                   1259 NO WATER AVE                                                                               HERMITAGE          PA    16148‐1320
DOLORES F JONES                                     C/O DOLORES J SLATCHER               414 SUSSEX AVE                                             SEAFORD            DE    19973‐2040
DOLORES F SCOTT                                     3524 RT 5 BOX 934                                                                               BLANCHARD          OK    73010‐0934
DOLORES FERRI                                       45 LAURELTON RD                                                                                 MT KISCO           NY    10549‐4217
DOLORES FRANCES SEXTON                              7 OTTAWAY AVE                        BARRIE ON                                L4M 2W6 CANADA
DOLORES FULLER TOD STEVE FULLER DAVID G FULLER      4340 GALE RD                                                                                    EATON RAPIDS       MI    48827‐9643
KAREN FULLER OATLEY
DOLORES G JANTSON                                   988 CENTER EAST                                                                                 WARREN             OH    44481‐9306
DOLORES G WARDROP                                   360 KINGSTON RT #2                                                                              LEONARD            MI    48367‐2931
DOLORES GALLOWAY                                    14003 BELLBROOK ST                                                                              BALDWIN PARK       CA    91706‐2510
DOLORES GARCIA                                      23 CANTERBURY SOUTH WEST                                                                        GRAND RAPIDS       MI    49548‐1116
DOLORES GEISEL                                      2901 TOLL GATE DR                                                                               NORRISTOWN         PA    19403
DOLORES GENEVIEVE PITTIUS                           208 KEATS AVE                                                                                   ELIZABETH          NJ    07208‐1057
DOLORES GERALDINE PFAUTH                            3 LEAHS WAY                          OLMSTEAD TWP                                               OLMSTED FALLS      OH    44138‐2912
DOLORES GUERRA                                      12436 CANTERBURY DR                                                                             STERLING HEIGHTS   MI    48312‐3110

DOLORES H BEAMER                                    12782 LULU RD                                                                                   IDA                MI    48140‐9524
DOLORES H GREER                                     230 TERRACE DR                                                                                  BRANDON            MS    39042‐2338
DOLORES H MCNAMARA                                  1721 KENSINGTON AVE                                                                             BUFFALO            NY    14215‐1412
DOLORES HANTON TR DOLORES HANTON TRUST UA           13704 CLINTON RIVERS RD                                                                         STERLING HTS       MI    48313
02/10/97
DOLORES HARVEY                                      8501 E 81ST ST                                                                                  RAYTOWN            MO    64138‐1564
DOLORES I OLTERSDORF                                14135 MARIE ST                                                                                  LIVONIA            MI    48154‐4914
DOLORES I PAHOSKI                                   6524 DUNEVIEW                                                                                   LUDINGTON          MI    49431‐9011
DOLORES I PRUITT                                    4919 GERALD                                                                                     WARREN             MI    48092‐3481
DOLORES I PRUITT & RONALD L PRUITT JT TEN           4919 GERALD                                                                                     WARREN             MI    48092‐3481
                                            09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DOLORES J AHEL                                  ATTN DOLORES J RUNDEK                  48873 PALMYRA COURT                                      UTICA             MI    48317‐2539
DOLORES J BROOKS                                11433 CALKINS ROAD                                                                              FLUSHING          MI    48433‐9731
DOLORES J BROWNING & DOUGLAS P BROWNING JT      3202 W GRAND BLANC RD                                                                           SWARTZ CREEK      MI    48473‐8880
TEN
DOLORES J BURNS                                 16403 BECASSE DRIVE                                                                             PUNTA GORDA       FL    33955‐4353
DOLORES J CAPPS                                 157 MONTICELLO DR                                                                               INDIANAPOLIS      IN    46217‐3244
DOLORES J CONCINI                               14929 NOBIL DRIVE                                                                               MONROE            MI    48161‐3638
DOLORES J CONCINI & CLARENCE D CONCINI JT TEN   14929 NOBIL RD                                                                                  MONROE            MI    48161‐3638

DOLORES J CORBIN                                723 GREEN MEADOW DR                                                                             ANDERSON          IN    46011‐1644
DOLORES J DJELAILJA                             525 VIA VERONA #104                                                                             ALTAMONTE         FL    32714‐3185
                                                                                                                                                SPRINGS
DOLORES J FEITEN TOD KIMBERLY J ZIOLKOWSKI      11066 DILL DRIVE                                                                                STERLING HTS      MI    48312‐1239
DOLORES J FOX                                   PO BOX 282                                                                                      MINERAL RIDGE     OH    44440‐0282
DOLORES J FOX                                   PO BOX 282                                                                                      MINERAL RIDGE     OH    44440‐0282
DOLORES J FRENCH                                3554 ATKINSON CIR                                                                               NORTH VERNON      IN    47265‐8703
DOLORES J HUBER                                 437 PARKVIEW PLACE DR                                                                           ELLISVILLE        MO    63021‐4642
DOLORES J MOLONEY TR DOLORES J MOLONEY LIVING   33052 MAPLENUT                                                                                  FARMINGTON        MI    48336‐4436
TRUST UA 3/12/97
DOLORES J OLIVER                                4153 CARNATION CT                                                                               FLINT             MI    48506‐2019
DOLORES J PELC                                  31943 SANDRA LN                                                                                 WESTLAND          MI    48185
DOLORES J RICHARDS                              HC 68 BOX 1‐A                                                                                   GRANTSVILLE       WV    26147‐9784
DOLORES J TAYLOR                                16791 S E 69 LN                                                                                 OKLAWAHA          FL    32179‐3120
DOLORES J WARE                                  212 SUNRISE DRIVE                                                                               NOKOMIS           FL    34275‐3137
DOLORES JACOD                                   15 RIVERVIEW LN                                                                                 HO HO KUS         NJ    07423‐1205
DOLORES K BROUSSARD                             4949 STUMBERG LN                       APT 93                                                   BATON ROUGE       LA    70816‐4785
DOLORES K KENNEDY                               5195 NILES AVE                                                                                  NEWTON FALLS      OH    44444‐1843
DOLORES K MARSH                                 122 15TH AVE                                                                                    KIRKLAND          WA    98033‐5510
DOLORES K MCNEIL TR DOLORES K MCNEIL TRUST UA   1101 WARREN RD                                                                                  CAMBRIA           CA    93428‐4639
12/08/05
DOLORES K POWERS TR DOLORES K POWERS REV LIV    MADISON MANORAPT 130                   27795 DEQUINDRE APT 130                                  MADISON HEIGHTS MI      48071‐5719
TRUST UA 07/22/99
DOLORES K SCHAUPP & KRISTA K CROSBY JT TEN      41 GLENWALDEN CIR                                                                               TRYON             NC    28782‐3671
DOLORES K SCHNEIDER                             C/O MRS D BANAS                        8165 MIDLAND RD                                          MENTOR            OH    44060‐7527
DOLORES K STUHLER                               146 LAMSON RD                                                                                   BUFFALO           NY    14223‐2537
DOLORES K SUMMITT                               745 S ARMSTRONG                                                                                 KOKOMO            IN    46901‐5329
DOLORES K ULRICH & KATHLEEN S ULRICH JT TEN     7307 W BANKEY RD                                                                                LAKE              MI    48632‐9682
DOLORES K YERGALONIS                            1095 MAYFAIR DRIVE                                                                              RAHWAY            NJ    07065‐1909
DOLORES KAMINSKI & MARK A KAMINSKI LISA M       28696 PATRICIA                                                                                  WARREN            MI    48092‐4616
KAMINSKI JT TEN
DOLORES KAPTUR GARASCIA                         34322 JEFFERSON                                                                                 MT CLEMENS        MI    48045‐3324
DOLORES KAY CARTER                              5407 HOOVER AVE APT 108                                                                         DAYTON            OH    45427‐2587
DOLORES KAY COWLEY TR UNDER DECLARATION OF      P O BOX 130                                                                                     CLEARLAKE OKS     CA    95423
TRUST 02/28/91
DOLORES KAY HUFFINE                             C/O DOLORES KAY CIGAN                  17437 EUCLID                                             ALLEN PARK       MI     48101‐2830
DOLORES KOENIG                                  54 IRVING AVE                                                                                   ENGLEWOOD CLIFFS NJ     07632‐1436

DOLORES L DAVIS                                 6180 FOX RUN DRIVE                                                                              GRAYLING          MI    49738‐7399
DOLORES L DAVIS & WILLIAM W DAVIS JT TEN        6180 FOX RUN DRIVE                                                                              GRAYLING          MI    49738‐7399
DOLORES L DOYLE                                 29200 BESTE                                                                                     ST CLAIR SHORES   MI    48081‐1087
DOLORES L HUTNER                                74 PARK DR                                                                                      LONGMEADOW        MA    01106‐1261
DOLORES L MARLIN                                4 FIRESIDE CR                                                                                   COLUMBUS          NJ    08022‐1016
DOLORES L MARTIN                                6898 SHERMAN RD                                                                                 ATCHINSON         KS    66002‐3173
DOLORES L PAVWOSKI                              3295 PINE RUN DR                                                                                SWARTZ CREEK      MI    48473‐8634
DOLORES L SPIELMAKER                            3315 ASPEN DR                                                                                   CASPER            WY    82601‐5332
DOLORES L STACK                                 6825 S FAIRVIEW AVE                                                                             DOWNERS GROVE     IL    60516‐3627
DOLORES L TALMADGE                              206 MAIN ST                                                                                     FORT PLAIN        NY    13339‐1333
DOLORES L WUNDER                                914 THORNTON RD                                                                                 HORSHAM           PA    19044‐1017
DOLORES L ZUMMER & LINDA A ZUMMER JT TEN        932 CRESCENT DR                                                                                 AU GRES           MI    48703‐9303
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DOLORES LAROCCO & JOSEPH LAROCCO TR LAROCCO       61 142 LITTLENECK PKWY                                                                           LITTLENECK        NY    11362
LIVING TRUST UA 01/14/04
DOLORES LAURO                                     1433 SURREY LANE                                                                                 WYNNEWOOD         PA    19096‐3832
DOLORES LEAL                                      3320 BELLEFONTE DR                                                                               LEXINGTON         KY    40502‐3209
DOLORES LEE BOROWITZ                              4031 KENNETT PIKE                       APT 82                                                   WILMINGTON        DE    19807‐2033
DOLORES LEUNG                                     218 LONG HILL DRIVE                                                                              SHORT HILLS       NJ    07078‐1519
DOLORES LINGELBACH                                6720 N 107TH ST                                                                                  MILWAUKEE         WI    53224‐5008
DOLORES LOVEY HUDGEN                              RR 2 BOX 124D                                                                                    OKEMAH            OK    74859‐9500
DOLORES M ALBRIGHT                                2308 STARR ROAD                                                                                  ROYAL OAK         MI    48073‐2206
DOLORES M ARGENTA & LYNETTE M ARGENTA JT TEN      12044 COLUMBIA                                                                                   REDFORD           MI    48239‐2576

DOLORES M ARGENTA & MICHAEL J ARGENTA JT TEN      12044 COLUMBIA                                                                                   REDFORD           MI    48239‐2576

DOLORES M BAILEY                                  5561 DELMAS                                                                                      CLARKSTON         MI    48348‐3001
DOLORES M BROOKS                                  907 E RUSSELL RD                                                                                 JANESVILLE        WI    53545‐9580
DOLORES M BUTCHER                                 149 INDIAN HAMMOCK LANE                                                                          PONTE VEDRA       FL    32082‐2155
                                                                                                                                                   BEACH
DOLORES M CASE                                    379 NEVERSINK DRIVE                                                                              PORT JERVIS       NY    12771‐3815
DOLORES M DAVIS                                   14027 WILLIAMSBURG                                                                               RIVERVIEW         MI    48192‐7670
DOLORES M DEVINE                                  670 MARKMAN PARK RD                                                                              BADEN             PA    15005‐2842
DOLORES M ENNIS                                   71 SYCAMORE DR                                                                                   MIDDLETOWN        NY    10940‐5459
DOLORES M EVANS                                   2481 TANDY DR                                                                                    FLINT             MI    48532‐4961
DOLORES M FLYNN & DANIEL J FLYNN JR JT TEN        17209 HOSKINSON RD                                                                               POOLESVILLE       MD    20837
DOLORES M HARDOIN & KIRT J HARDOIN JT TEN         46479 ARAPAHOE DR                                                                                MACOMB            MI    48044‐3101
DOLORES M HARRIS & JAMES R HARRIS JT TEN          902 N OAK ST                                                                                     FENTON            MI    48430‐3703
DOLORES M HELTSLEY                                2204 BALDWIN                                                                                     OXFORD            MI    48371‐2904
DOLORES M JIRELE TR UA 03/21/08 JIRELE FAMILY     104 12TH AVENUE NE                                                                               MIAMI             OK    74354
TRUST
DOLORES M JONAS TR DOLORES M JONAS TRUST UA       2942 S LENOX                                                                                     MILWAUKEE         WI    53207‐2416
04/15/04
DOLORES M KADZIE & THADUES KADZIE JT TEN          219 E KATHLEEN DR                                                                                PARK RIDGE        IL    60068‐2737
DOLORES M KALDA                                   821 MAIN AVE                                                                                     PLATTE            SD    57369‐2101
DOLORES M KENNIS TR DOLORES M KENNIS TRUST UA     3344 AQUARIOUS CIRCLE                                                                            OAKLAND           MI    48363‐2710
07/28/89
DOLORES M KILLEBREW                               15021 N 10TH ST                                                                                  PHOENIX           AZ    85022‐3739
DOLORES M MARQUARDT                               15995 W 4TH ST                                                                                   HAYWARD           WI    54843‐7111
DOLORES M MC COMBS                                645 ARMSTRONG ROAD                                                                               MUMFORD           NY    14511
DOLORES M MCNEIL                                  5500 KRISTA ST                                                                                   BAKERSFIELD       CA    93313‐3121
DOLORES M MILLER                                  1216 LONG POND RD                                                                                ROCHESTER         NY    14626‐1132
DOLORES M MILLER                                  5782 VICTOR DR                                                                                   ELDERSBURG        MD    21784
DOLORES M MONTREUIL                               8828 GRACE                                                                                       SHELBY TOWNSHIP   MI    48317‐1735

DOLORES M PASSAMANI                               432 E OHIO ST                                                                                    MILWAUKEE         WI    53207‐2748
DOLORES M RAKOVALIS                               1915 PRESERVE CIR E                                                                              CANTON            MI    48188‐2223
DOLORES M RAUCH                                   342 STUBBS DR                                                                                    DAYTON            OH    45426
DOLORES M RODRIGUES                               29121 VERDI RD                                                                                   HAYWARD           CA    94544‐6038
DOLORES M ROSS                                    5556 BEAU CT                                                                                     FREMONT           CA    94538‐3205
DOLORES M SMITH                                   52 WINDSOR POND RD                                                                               PRINCETON         NJ    08550‐3277
                                                                                                                                                   JUNCTION
DOLORES M SMITH PER REP EST GERALD W BROWN        10719 CENTER RD                                                                                  GRAND BLANC       MI    48439

DOLORES M STEFANSKI                               134 PINEBROOK DR                                                                                 HYDE PARK         NY    12538
DOLORES M STOUT & SUZANNE BODKIN TR ROBERT N      10509 CINDERELLA DR                                                                              CINCINNATI        OH    45242‐4908
STOUT TRUST UA 05/15/92
DOLORES M TRENCHARD                               1013 NORTH WILLOW ST                                                                             GRAFTON           OH    44044‐1442
DOLORES M VISK TOD CATHERINE STREBELOW SUBJECT    15965 WEDGEWOOD LANE                                                                             STRONGSVILLE      OH    44149
TO STA TOD RULES
DOLORES M VISK TOD JUDITH TAKACS SUBJECT TO STA   15965 WEDGEWOOD LANE                                                                             STRONGSVILLE      OH    44149
TOD RULES
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DOLORES M VISK TOD MARIANNE DATTILO SUBJECT TO   15965 WEDGEWOOD LANE                                                                          STRONGSVILLE     OH    44149
STA TOD RULES
DOLORES M VISK TOD MICHAEL VISK SUBJECT TO STA   15965 WEDGEWOOD LANE                                                                          STRONGSVILLE     OH    44149
TOD RULES
DOLORES M WALKOWSKI                              4456 PAWLICK DRIVE                                                                            SAGINAW          MI    48604‐1607
DOLORES M WRIGHT                                 15085 STRASBURG RD                                                                            MONROE           MI    48161‐9526
DOLORES MACIASZ & JOHN W MACIASZ JT TEN          865 N CASS AVE                       APT 116                                                  WESTMONT         IL    60559‐6405
DOLORES MALINOWSKI                               839 E SUNSHINE CT                                                                             SANTA MARIA      CA    93455‐2170
DOLORES MARIE ANN SWANSON                        1928 MADISON                                                                                  GRAND RAPIDS     MI    49507‐2540
DOLORES MARQUEZ                                  1220 GARY CARMENA AVE                                                                         N LAS VEGAS      NV    89081‐6734
DOLORES MARTINEZ                                 845 BEACH AVE                                                                                 CALEXICO         CA    92231
DOLORES MATTIA                                   28B ELMWOOD CRT                                                                               ELMWOOD PK       NJ    07407‐1727
DOLORES MAY FARRELL                              482 MERRITT ST                       ST CATHARINES ON                       L2P 1P3 CANADA
DOLORES MC MAHON                                 39 ALLISON AVE                                                                                STONEY POINT     NY    10980‐1603
DOLORES MCMAHON GDN DONNA MARIE DEGRAW           39 ALLISON AVE                                                                                STONEY POINT     NY    10980‐1603

DOLORES MCPHAIL                                  89 HALLMARK TRAIL                    HAMILTON ON                            L9B 0A4 CANADA
DOLORES METTICA                                  162 CHIMNEY HILL RD                                                                           YALESVILLE       CT    06492‐1600
DOLORES MEYERS & JEANETTE ASHER JT TEN           5740 PARKSIDE SMT                                                                             MONROE Y         MI    48161‐3918
DOLORES MONTGOMERY                               9415 BULL FROG COURT                                                                          GIBSONTON        FL    33534‐5100
DOLORES MORTON                                   3114 WOODHAMS AVE                                                                             PORTAGE          MI    49002
DOLORES NANCY HRITZ                              8205 TERRA SIESTA BLVD                                                                        ELLENTON         FL    34222‐3530
DOLORES NATAL                                    63 HOME ST                                                                                    SUMMERSET        NJ    08873‐2134
DOLORES NEVEROUCK                                817 FAY COURT                                                                                 POINT PLEASANT   NJ    08742‐4519
DOLORES NICHOLLS                                 1499 S BRANDYWINE CIR                                                                         FORT MYERS       FL    33919‐6775
DOLORES P BONDIE                                 4848 BELZAIR DR                                                                               TROY             MI    48085‐4709
DOLORES P KOWNACKI                               643 CARMALT STREET                                                                            DICKSON CITY     PA    18519
DOLORES P SCULL                                  319 E PITTSFIELD ST                                                                           PENNSVILLE       NJ    08070‐1923
DOLORES P SHAH & PRASHANT B SHAH JT TEN          7 ORCHARD DR E                                                                                CENTRALIA        IL    62801‐4902
DOLORES PERINO                                   7 WAY HOLLOW RD                                                                               SEWICKLEY        PA    15143‐1192
DOLORES PITTIUS                                  208 KEATS AVE                                                                                 ELIZABETH        NJ    07208‐1057
DOLORES QUATTRIN                                 1474 RICHMOND                                                                                 LINCOLN PK       MI    48146‐3367
DOLORES R ADKINS                                 24 FOXCREEK DR                                                                                NORTH AUGUSTA    SC    29860‐9703
DOLORES R BURKE & FELTON E BURKE JT TEN          188 OLD GABBETTVILLE RD                                                                       WEST POINT       GA    31833‐4808
DOLORES R COLLINS                                6363 CHRISTIE AVE                    #1206                                                    EMERYVILLE       CA    94608‐1921
DOLORES R DZIENCIOL                              86 PARKVIEW CT                                                                                LANCASTER        NY    14086‐3032
DOLORES R GILCHRIST                              104 STONE RIDGE TRAIL                                                                         BIRMINGHAM       AL    35210
DOLORES R KROLL & ROBERT L KROLL JT TEN          403 SETTLERS COVE                                                                             TECUMSEH         MI    49286‐7753
DOLORES R MAUTHNER                               3138 SW 15 COURT                                                                              FT LAUDERDALE    FL    33312
DOLORES R MECKES                                 15558 ASHLAND DR                                                                              BROOK PARK       OH    44142‐1906
DOLORES R MITCHELL                               19 WYOMING DR                                                                                 JACKSON          NJ    08527‐1547
DOLORES R MOCK & SUSAN DOVE JT TEN               4205 MARLIN                                                                                   NORMANDY         MO    63121‐1819
DOLORES R MULARKEY                               2010 CUSTER PARKWAY DR                                                                        RICHARDSON       TX    75080‐3403
DOLORES R SCHALLER & FRED J SCHALLER JT TEN      GARDEN VILLAS NORTH                  4505 PARKER RD                                           FLORISSANT       MO    63136‐4268
DOLORES R SHELBERG & THOMAS H SHELBERG & MARK    189 PRESIDIO PLACE                                                                            BUFFALO          NY    14221‐3727
C SHELBERG JT TEN
DOLORES R SMITH & EDGAR L SMITH JT TEN           1513 HAWTHORNE ROAD                                                                           GROSSE POINTE    MI    48236‐1473
                                                                                                                                               WOOD
DOLORES R STASZUK                                1817 W RUNDLE                                                                                 LANSING          MI    48910‐8733
DOLORES R STASZUK CUST CURT J STASZUK UGMA MI    1817 W RUNDLE                                                                                 LANSING          MI    48910‐8733

DOLORES RANDOLPH & DEBRA SUTTON JT TEN         811 SE 4TH AVE                                                                                  POMPANO BEACH    FL    33060‐8806
DOLORES RASIMOVICH                             6000 PENROD                                                                                     DETROIT          MI    48228‐3870
DOLORES RENAUD                                 1072 ST MARYS BLVD                     WINDSOR ON                             N8S 2V4 CANADA
DOLORES RODRIGUEZ                              6428 W COURT ST                                                                                 FLINT            MI    48532‐5334
DOLORES ROSEPINK & KATHLEEN A KAVALO & DEBORAH 7831 EUGENE DRIVE                                                                               PORT RICHEY      FL    34668
M STONER JT TEN
DOLORES S CASTRIANNI & RONALD M CASTRIANNI JT  10112 GLENWOOD                                                                                  OVERLAND PARK    KS    66212‐1729
TEN
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DOLORES S ISER                                    7989 S YORK DRIVE                                                                              SAULT SAINTE     MI    49783‐9544
                                                                                                                                                 MARIE
DOLORES S KEMPTON                                 47 CROWN STREET                                                                                BRISTOL          CT    06010‐6122
DOLORES S KOHLMAN                                 4122 DELLWOOD                                                                                  SHREVEPORT       LA    71107‐7707
DOLORES S KOUNS & ARCHIE R KOUNS JT TEN           6245 OMIE CIR                                                                                  PENSACOLA        FL    32504‐7625
DOLORES S LEHMANN & ELROY P LEHMANN JT TEN        17127 CLUB HILL DR                                                                             DALLAS           TX    75248

DOLORES S MORITZ                                  107 WINDING BROOK DR                                                                           CINNAMINSON      NJ    08077‐4321
DOLORES S PATTERSON                               1627 W 11TH ST                                                                                 ANDERSON         IN    46016‐2816
DOLORES S PRICE                                   327 ANCHOR RD                                                                                  ELIZABETHTOWN    PA    17022
DOLORES S VALESKY                                 12050 BRADLEY DR                                                                               NORTH            PA    15642‐2304
                                                                                                                                                 HUNTINGDON
DOLORES SKLENER                                    509 PAUL AVENUE                      PO BOX 951                                               CAMPBELLSPORT    WI    53010‐0951
DOLORES STECHBART                                  PO BOX 1892                                                                                   GLENDORA         CA    91740‐1892
DOLORES STILLINGS                                  6855 SAN MARINO DR                   APT 202                                                  NAPLES           FL    34108‐7546
DOLORES STREICHER & MARK R STREICHER JT TEN        18131 FAIRFIELD                                                                               LIVONIA          MI    48152‐4409
DOLORES T BATTAGLIA                                135 SOUTH YORK ST                    UNIT#306                                                 ELMHURST         IL    60126‐3474
DOLORES T BATTISTINI                               663 HARTRANET ST                                                                              PITTSBURGH       PA    15226‐1448
DOLORES T BRIGGMANN                                220 POMANDER RD                                                                               MINEOLA          NY    11501‐1508
DOLORES T GARRETT TR DOLORES T GARRETT 1995        2827 WATERFIELD DR                                                                            SPARKS           NV    89434‐6756
LIVING TRUST UA 04/07/95
DOLORES T LOVE                                     PO BOX 1552                                                                                   FREMONT          CA    94538‐0155
DOLORES T SANTA ANA                                342 W 71ST ST APT 3A5                                                                         NEW YORK         NY    10023‐3556
DOLORES T YODELIS                                  6827 W 96TH PLACE                                                                             OAK LAWN         IL    60453‐2015
DOLORES THOMAS                                     8884 WARD                                                                                     DETROIT          MI    48228‐2610
DOLORES TOMASZEWSKI                                7961 HIPP                                                                                     TAYLOR           MI    48180‐2641
DOLORES TOMCZAK KARLSKIN                           970 ADVANCE RD                                                                                EAST JORDAN      MI    49727
DOLORES TROIKE                                     5920 W BOGART RD                                                                              CASTALIA         OH    44824‐9714
DOLORES V BOBEK                                    15610 GILBERTYN DR                                                                            TOMBALL          TX    77377
DOLORES V COLTERYAHN & DANIEL L COLTERYAHN JT      3692 W 179TH TERR                                                                             STILLWELL        KS    66085‐9247
TEN
DOLORES V DEMKO                                    1750 WICKHAM                                                                                  ROYAL OAK        MI    48073‐1122
DOLORES V JANKOWSKI                                88 SILVER LANE                                                                                CARSON CITY      NV    89706‐0723
DOLORES V LEMANEK & FRANK J LEMANEK JT TEN         11520 EDGETON                                                                                 WARREN           MI    48093‐6407
DOLORES V PAVELKA                                  218 HAILEY DRIVE                                                                              MARLTON          NJ    08053‐4334
DOLORES V STORICH                                  4 ADMIRAL DR APTB434                                                                          EMERYVILLE       CA    94608
DOLORES VENDITTELLI                                5406 E SHERWOOD RD                                                                            WEBBERVILLE      MI    48892‐9762
DOLORES W WILLIAMSON                               2566 NORTH RD S E                                                                             WARREN           OH    44484‐3747
DOLORES WASIK                                      1403 JOAN DRIVE                                                                               PALATINE         IL    60067‐5668
DOLORES WERTHMANN & GEORGE WERTHMANN JT            21237 BROADSTONE                                                                              HARPER WOODS     MI    48225‐2308
TEN
DOLORES WIKTOR                                     6224 BETHUY                                                                                   FAIR HAVEN       MI    48023‐1109
DOLORES WOLFF                                      44 SLEEPY HOLLOW RD                                                                           PORT JERVIS      NY    12771‐5308
DOLORES Z BRANDON                                  451 BAY FRONT PL APT 5211                                                                     NAPLES           FL    34102‐6470
DOLORES Z ROUSE                                    71 TUNBRIDGE RD                                                                               HAVERFORD        PA    19041‐1046
DOLORES ZAREMBSKI & CONNIE A SMITH JT TEN          6146 F41                                                                                      OSCODA           MI    48750‐9664
DOLORIS I BUSH                                     1021 CHATEAU DR                                                                               KETTERING        OH    45429‐4619
DOLPH B IRELAND                                    PO BOX 266                                                                                    MOUNT MORRIS     MI    48458‐0266
DOLPHUS M CARSON                                   5991 OAKMAN BLVD                                                                              DETROIT          MI    48228‐4020
DOM BEN REALTY CORPORATION                         280 MADISON AVE                                                                               NEW YORK         NY    10016‐0801
DOM DOUGLAS ZUCCO & KAREN ZUCCO JT TEN             PO BOX 374                                                                                    ACME             PA    15610‐0374
DOMENIC ANTHONY ROMONTO                            11464 SPRING RD                                                                               CHESTERLAND      OH    44026‐1310
DOMENIC BUHAGIAR                                   1839 PORT ASHLEY PLACE                                                                        NEWPORT BEACH    CA    92660‐5337
DOMENIC FRANCIS DELMONICO & PRISCILLA ELLEN HESS 27 DEERFIELD DRIVE                                                                              NORTH SCITUATE   RI    02857‐1703
DELMONICO JT TEN
DOMENIC J & MARY A VILLANI TR VILLANI FAMILY TRUST 29 IDAROLA AVE                                                                                MILFORD          MA    01757‐2341
UA 09/09/98
DOMENIC JOSEPH PALADINO                            34 EDGEWOOD AVE                                                                               TONAWANDA        NY    14223‐2802
DOMENIC M ANTONELLIS                               285 GROVE STREET                                                                              WELLESLEY        MA    02482‐7438
                                             09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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DOMENIC R INGLISA JR CUST ALBERT A INGLISA UTMA   26 WILTSHIRE DRIVE                                                                                HIGHTSTOWN       NJ    08520‐1212
NJ
DOMENIC SANFILIPPO                                373 FORBES AVE                                                                                    TONAWANDA        NY    14150‐4753
DOMENIC TASSILLO                                  21 ROCKWOOD AVE                        SAINT CATHARINES ON                    L2P 1E4 CANADA
DOMENICA DELAURO CUST JAMES A DELAURO UTMA        5959 WILSON MILLS RD                                                                              HIGHLAND HGTS    OH    44143‐3211
OH
DOMENICA DI LAURO CUST JAMES DI LAURO UGMA OH     5959 WILSON MILLS RD                                                                              HIGHLAND HEIGHTS OH    44143‐3211

DOMENICA DI LAURO CUST JEFFREY DI LAURO UGMA OH 5959 WILSON MILLS RD                                                                                HIGHLAND HEIGHTS OH    44143‐3211

DOMENICA G VERRELLI & NICOLETTA M COSCIA JT TEN   PO BOX 595                                                                                        MILFORD          MA    01757‐0595

DOMENICA LANZA                                    VIA GIORGIO VASARI 36                  58100 GROSSETO                         ITALY
DOMENICA N CARNEVALE TOD LAURA F PAGLIEI          3309 SKYLINE DR                                                                                   WILMINGTON       DE    19808‐2712
SUBJECT TO STA TOD RULES
DOMENICA S DITTMEIER                              32 SHELLEY AVE                                                                                    VALHALLA         NY    10595‐1406
DOMENICA SCHNURR                                  2327 KIRA CT                                                                                      TOMS RIVER       NJ    08755‐1805
DOMENICA T PARRINELLO CUST GASPARE M              68176 FRAMPTON COURT                                                                              WASHINGTON       MI    48095‐1229
PARRINELLO UGMA MI
DOMENICK A CASELLA & MARYANN A CASELLA JT TEN     116 GAINSWAY WEST DR                                                                              HENDERSON        NV    89014‐2734

DOMENICK AMATO                                    167 8TH ST                                                                                        HOBOKEN          NJ    07030‐4164
DOMENICK FRANCESCHELLI & MRS DOROTHY              RD 5                                                                                              MOSCOW           PA    18444‐9805
FRANCESCHELLI JT TEN
DOMENICO ANGELUCCI                                616 LINDEN CIR                                                                                    KENNETT SQUARE   PA    19348‐2822
DOMENICO CALIFANO                                 25 WALL ST                                                                                        CRANFORD         NJ    07016‐3448
DOMENICO CASSANO                                  1524 N 22ND AVE                                                                                   MELROSE PARK     IL    60160‐1924
DOMENICO SIGNORELLI CUST DANIEL D SIGNORELLI      C/O GAYLE SIGNORELLI BROWN             46 W SOUTHAMPTON                                           PHILADELPHIA     PA    19118‐3909
UGMA NY
DOMENICO SIGNORELLI CUST GIANLUCA A SIGNORELLI    C/O GAYLE SIGNORELLI BROWN             46 W SOUTHAMPTON                                           PHILDELPHIA      PA    19118‐3909
UGMA NY
DOMENICO U CHIAPPONE                              627 80TH ST                                                                                       NIAGARA FALLS   NY     14304‐2303
DOMINADOR A ELEFANTE                              33 ELM PLACE                                                                                      IRVINGTON       NJ     07111‐2219
DOMINADOR H POTES                                 12413 ASBURY DR                                                                                   FORT WASHINGTON MD     20744‐6144

DOMINADOR M PADUA                                 213 BOTANY BAY COURT                                                                              CHARLESTON       SC    29418‐3046
                                                                                                                                                    HEIGTS
DOMINADOR S SIMON                                 3129 HOLLYDALE DR                                                                                 LOS ANGELES      CA    90039‐2307
DOMINGO AGUIRRE JR                                G 14361 N TAYLOR ROAD                                                                             MILLINGTON       MI    48746
DOMINGO C LOPEZ                                   1261 RUBYANN DR                                                                                   SAGINAW          MI    48601‐9713
DOMINGO DIAZ                                      16810 NORTHWEST 74 AVENUE                                                                         HIALEAH          FL    33015‐4117
DOMINGO FLORES                                    2014 IRVING AVE                                                                                   SAGINAW          MI    48602‐4836
DOMINGO J DIAZ                                    17 ALYSSA LN                                                                                      RED BANK         NJ    07701
DOMINGO L RODRIGUEZ                               2918 LIVE OAK ST                                                                                  HUNTNGTN PARK    CA    90255‐6104
DOMINGO LOPEZ                                     453 S 12TH ST                                                                                     SAGINAW          MI    48601‐1948
DOMINGO P GARCIA                                  707 THUNDER GULCH DR                                                                              RAYMORE          MO    64083‐8566
DOMINGO PONCEDELEON                               210 LAKEWOOD DR                                                                                   BLOOMFIELD       NJ    07003‐3720
DOMINGO TARIFA                                    10100 VINTAGE DR                                                                                  KELLER           TX    76248‐6650
DOMINGO ZAPATA                                    1232 YACHTSMAN LN                                                                                 PUNTA GORDA      FL    33983‐5929
DOMINGOS COELHO                                   111 BROOK STREET                                                                                  HUDSON           MA    01749‐3228
DOMINGOS GOMES                                    PO BOX 353                                                                                        MILFORD          MA    01757‐0353
DOMINGOS M FRAGA                                  33 S CENTRAL ST                                                                                   MILFORD          MA    01757‐3672
DOMINGOS R RODA                                   110 PROSPECT HEIGHTS                                                                              MILFORD          MA    01757‐3137
DOMINIC A BILDILLI                                3566 INDIANOLA‐RIDGE FARM RD                                                                      INDIANOLA        IL    61850‐9502
DOMINIC A COCCO                                   183 GREEN HAVEN DR                                                                                ELKTON           MD    21921‐7618
DOMINIC A GENIO                                   80 LONDON TERR                                                                                    NEW ROCHELLE     NY    10804‐4321
DOMINIC A GRANATO & SUSAN A GRANATO JT TEN        3323 HEMLOCK FARMS                                                                                LORDS VALLEY     PA    18428‐9115

DOMINIC A GUILMETTE                               831 SILVER LAKE ST                                                                                ATHOL            MA    01331‐1209
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DOMINIC A MASTROPIETRO III                         541 DOCHESTER DR                                                                                        HUBBARD           OH    44425‐2604
DOMINIC A MESSURI                                  103 LAKHANI LN                                                                                          CANFIELD          OH    44406‐9669
DOMINIC A PERRY & CARMELA L PERRY JT TEN           42542 PARK CRESENT DR                                                                                   STERLING HTS      MI    48313‐2900
DOMINIC A PICCIRILLI                               71 WESTWOOD GLEN RD                                                                                     WESTWOON          MA    02090‐1617
DOMINIC A PIETRAFESA & JOSEPHINE T PIETRAFESA JT   389 DIVINITY ST                                                                                         BRISTOL           CT    06010‐6019
TEN
DOMINIC A PRECURATO                                5570 WEST BLVD                                                                                          BOARDMAN          OH    44512‐2563
DOMINIC ALGIERI                                    300 MAIN ST APT PH‐5                                                                                    LITTLE FALLS      NJ    07424‐1356
DOMINIC ANGELINI & TINA ANGELINI JT TEN            321 VILLANOVA RD                                                                                        GLASSBORO         NJ    08028‐1555
DOMINIC BLANDINO & ROSE BLANDINO JT TEN            14780 PALMETTO CT                                                                                       SHELBY TOWNSHIP   MI    48315‐4314

DOMINIC BONANNO CUST ANTHONY A BONANNO             12387 CEDAR                                                                                             SHELBY            MI    48315‐5133
UGMA MI
DOMINIC C BATTISTA                                 30 ORCHARD LN                                                                                           MARLTON           NJ    08053‐1250
DOMINIC C MERRITT                                  APT B                                   6 STUART MILLS PLACE                                            BALTIMORE         MD    21228‐2655
DOMINIC CATANESE & VIRGINIA J CATANESE JT TEN      381 PALMER ROAD                                                                                         CHURCHVILLE       NY    14428‐9412

DOMINIC CATANIA                                    1757 EMPIRE RD                                                                                          WICKLIFFE         OH    44092‐1134
DOMINIC CERCONE                                    6610 HARVEST RIDGE                                                                                      AUSTINTOWN        OH    44515‐5562
DOMINIC CONFETTI                                   27 BARRIE DRIVE                                                                                         PITTSBURG         CA    94565‐6127
DOMINIC D ALTIERO & ELEANOR ALTIERO JT TEN         524 HUDSON AVE                                                                                          ALTOONA           PA    16602‐4811
DOMINIC D BRANCA & MARY BRANCA JT TEN              212 MARIANVILLE ROAD                                                                                    ASTON             PA    19014‐2751
DOMINIC DAMICO                                     947 POND ST                             APT 1106                                                        SYRACUSE          NY    13208‐2205
DOMINIC DAVITO                                     54 PONDEROSA DR                                                                                         YORKVILLE         IL    60560‐9571
DOMINIC DE BLASIO JR                               585 SUNRISE DR                                                                                          CLAYTON           DE    19938‐4655
DOMINIC DELLOSSO                                   4410 SHERMAN                                                                                            GALVESTON         TX    77550‐8519
DOMINIC E BRUNEAU                                  4 SUNBURY COURT RD                      SUNBURY‐ON‐THAMES      MIDDLESEX       TW16 5NL GREAT BRITAIN
DOMINIC F AIRATO                                   423 POWERS AVE                                                                                          GIRARD            OH    44420‐2241
DOMINIC F ERAMO                                    3001 WILLIAMS CT                                                                                        KOKOMO            IN    46902‐3963
DOMINIC F LEONE & ANN M LEONE JT TEN               147‐48 8TH AVE                                                                                          WHITESTONE        NY    11357‐1624
DOMINIC F MILETI                                   50835 STATE RT 113                                                                                      AMHERST           OH    44001
DOMINIC FORMOSO                                    47 SHADDYWOOD DRIVE                                                                                     ROCHESTER         NY    14606‐4941
DOMINIC G BODKIN                                   386 GREENE AVE                                                                                          SAYVILLE          NY    11782‐3003
DOMINIC G BODKIN & PATRICIA ANN BODKIN JT TEN      386 GREENE AVE                                                                                          SAYVILLE          NY    11782‐3003

DOMINIC G FERRI                                    100 CENTRAL AVE                                                                                         WEST TRENTON      NJ    08628‐2905
DOMINIC G FERRI & MRS VICTORIA J FERRI JT TEN      100 CENTRAL AVE                                                                                         WEST TRENTON      NJ    08628‐2905
DOMINIC G SWASEY                                   11473 MONTEREY DR                                                                                       BELLEVILLE        MI    48111‐2896
DOMINIC GABRIEL & YOLANDA GABRIEL JT TEN           30578 QUINKERT ST                                                                                       ROSEVILLE         MI    48066
DOMINIC GARRANT CUST CONNER GARRANT UTMA NY        100 KAYADEROSSERAS DRIVE                MILTON                                                          BALLSTON SPA      NY    12020

DOMINIC GIANVECCHIO                                42 LOVELACE LANE                                                                                        HENRIETTA         NY    14586‐9716
DOMINIC GRAZIANO & MARY GRAZIANO JT TEN            2209 S WESTOVER                                                                                         NORTH RIVERSIDE   IL    60546‐1350
DOMINIC J ANGELINI                                 321 VILLANOVA                                                                                           GLASSBORO         NJ    08028‐1555
DOMINIC J ANGELINI & TINA J ANGELINI JT TEN        321 VILLANOVA RD                                                                                        GLASSBORO         NJ    08028‐1555
DOMINIC J APRILE JR                                349 WEYMOUTH RD                         PLYMOUTH MEETING                                                NORRISTOWN        PA    19462‐7148
DOMINIC J DALESANDRO JR                            2421 SO MILLER AVE                                                                                      ALLIANCE          OH    44601‐4868
DOMINIC J DE ANGELIS                               18400 CLAIREVIEW DRIVE                                                                                  SOUTHGATE         MI    48195‐3728
DOMINIC J DICOLA                                   4268 PITT ST #B                                                                                         ECORSE            MI    48229‐1526
DOMINIC J GRANA & ROSEMARY C GRANA JT TEN          5452 DELOR ST                                                                                           SAINT LOUIS       MO    63109‐2801
DOMINIC J MILITELLO                                5932 CROSS CREEK DR                                                                                     SWARTZ CREEK      MI    48473‐1715
DOMINIC J ORLANDO                                  23042 DEMLEY                                                                                            MOUNT CLEMENS     MI    48035‐2908
DOMINIC J PALUMBO                                  67‐25 JUNO ST                                                                                           FOREST HILLS      NY    11375‐4140
DOMINIC J PAVONE DWIGHT WARE ATTORNEY AT LAW       38 PLEASANT STREET                                                                                      GLOUCESTER        MA    01930‐5943

DOMINIC J POLITO JR                         18103 RAINBOW                                                                                                  FRASER            MI    48026‐4625
DOMINIC J ROMANO & MRS ELEANOR MARIE ROMANO PO BOX 161                                                                                                     OAKVILLE          CT    06779‐0161
JT TEN
DOMINIC J SANTO                             69 BERNARD RD                                                                                                  BROCKTON          MA    02302
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DOMINIC J TERRAGO                                 513 IMPALA                                                                                            YOUNGSTOWN         OH    44515‐3331
DOMINIC J YANTOMASI                               6745 HENCOOP HOLLOW RD                                                                                ELLICOTTVILLE      NY    14731‐9749
DOMINIC L CARDINALE                               1817 S COURT                                                                                          BRYAN              OH    43506‐9405
DOMINIC L GIULIETTI JR                            19 ROLLING MEADOW DR                                                                                  WALLINGFORD        CT    06492‐2569
DOMINIC L MAZZA                                   500 WHEELER AVE                                                                                       SCRANTON           PA    18510‐2361
DOMINIC L TRIGILIO                                9312 SITKA SPRUCE CT                                                                                  CLARENCE CENTER    NY    14032‐9132

DOMINIC M FRANZOSO                                10 UNDERHILL ROAD                                                                                     OSSINING           NY    10562‐5110
DOMINIC M ZETTEL & TERRY L ZETTEL JT TEN          2832 STATE RD                                                                                         LUPTON             MI    48635‐9764
DOMINIC M ZSIGO                                   1400 W NORTH ST                                                                                       OWOSSO             MI    48867‐9404
DOMINIC MASCIA                                    44115 MEADOWLAKE DRIVE                                                                                STERLING HEIGHTS   MI    48313‐1136

DOMINIC MASCIA                                    44115 MEADOWLAKE DRIVE                                                                                STERLING HEIGHTS   MI    48313‐1136

DOMINIC P COCO                                    1200 E SHOOP RD                                                                                       TIPP CITY          OH    45371‐2627
DOMINIC P JULIANO & MARGARET A JULIANO TEN ENT    1901 WESLEY AVENUE                                                                                    OCEAN CITY         NJ    08226‐2833

DOMINIC P MUNAFO                                  1163 NORTH MAIN RD                                                                                    JAMESTOWN          RI    02835‐2217
DOMINIC PELLE                                     221 HOLMDENE BLVD NE                                                                                  GRAND RAPIDS       MI    49503‐3727
DOMINIC PEPE & VERONICA H PEPE JT TEN             23 DOGWOOD LANE                                                                                       TURNERSVILLE       NJ    08012‐2163
DOMINIC PERRONE                                   18 COYOTE RUN                                                                                         SPENCERPORT        NY    14559‐2609
DOMINIC PITRICELLI                                18180 FEHR LN                                                                                         MANCHESTER         MI    48158‐9758
DOMINIC POLITO TR DOMINIC POLITO REV LIVING TRUST 4983 CENTER RD                                                                                        LOWELLVILLE        OH    44436‐9520
UA 03/08/96
DOMINIC PORTANOVA                                 719 FLORENCE CIRCLE                                                                                   MECHANICSBURG PA         17055‐2212
DOMINIC R TOCE                                    554 CHARLES ST                                                                                        TORRINGTON       CT      06790‐3421
DOMINIC R TRINGALI & MARION G TRINGALI JT TEN     44 TOMPION LANE                                                                                       SARATOGA SPRINGS NY      12866‐9245

DOMINIC SCHIAVONE                                 30 FOREST LAKE DR                                                                                     N TONAWANDA        NY    14120‐1452
DOMINIC T RUSSO                                   105 ALPHA                                                                                             FLORISSANT         MO    63031‐6703
DOMINIC TORETTI & BETTY J TORETTI JT TEN          1969 ANTOINETTE AVE                                                                                   WEST MIFFLIN       PA    15122‐3605
DOMINIC TRIMBOLI                                  11959 SILICA RD                                                                                       NORTH JACKSON      OH    44451‐9674
DOMINIC V FICO & CHARLOTTE M FICO JT TEN          261 HARPINGTON DR                                                                                     ROCHESTER          NY    14624‐2638
DOMINIC VELLA                                     13916 RIVERSIDE DR                                                                                    LIVONIA            MI    48154
DOMINIC VELLA & CARMEN J VELLA JT TEN             13916 RIVERSIDE DR                                                                                    LIVONIA            MI    48154
DOMINIC VITOLLO & LORETTA VITOLLO TR VITOLLO      296 S SENECA CIRCLE                                                                                   ANAHEIM            CA    92805‐3655
FAMILY TRUST UA 05/13/04
DOMINIC W COSTELLO                                8 HEATHWAY HESWALL                    WIRRAL               MERSEYSIDE        CH60 2TL GREAT BRITAIN
DOMINIC YUKLAM SETO                               PO BOX 74901 MC481 CHN 009                                                                            ROMULUS            MI    48174
DOMINIC YUKLAM SETO & ALICE PUI MEI SETO JT TEN   8796 MORNING MIST DR                                                                                  CLARKSTON          MI    48348‐2861

DOMINICA CHIAPPARONE & ANN CHIAPPARONE JT TEN 212 ARDITO AVE                                                                                            KINGS PARK         NY    11754‐3646

DOMINICA CHIAPPARONE & CATHERINE DEGREGORY JT 212 ARDITO AVE                                                                                            KINGS PARK         NY    11754‐3646
TEN
DOMINICA HUBLER                               2500 MEADOW ROAD                                                                                          BILOXI             MS    39531‐2812
DOMINICAN MONASTERY OF ST JUDE                                                                                                                          MARBURY            AL    36051
DOMINICAN SISTERS OF ST JOSEPHS CONVENT INC   775 W DRAHNER ROAD                                                                                        OXFORD             MI    48371‐4863

DOMINICK A BENEDETTO & MRS MARY J BENEDETTO JT PO BOX 594                                                                                               NEW VERNON         NJ    07976‐0594
TEN
DOMINICK A BONADUCE                            119 BELLPORT AVE                                                                                         BELLPORT           NY    11713‐2132
DOMINICK A BORRILLO & IRENE C BORRILLO JT TEN  32 EUSDEN DR                                                                                             ASTON              PA    19014‐1240

DOMINICK A DE FILIPPIS III                        529 EAST BEAU ST                                                                                      WASHINGTON         PA    15301‐3649
DOMINICK A DIFILIPPO                              523 E BALT PIKE                                                                                       WESTGROVE          PA    19390‐9253
DOMINICK A NERO                                   202 ONEIDA DR                                                                                         CLAIRTON           PA    15025‐2712
DOMINICK A ROSSETTI & MARY ROSSETTI JT TEN        1160 STELTON RD                                                                                       PISCATAWAY         NJ    08854‐5202
DOMINICK A SILETTE                                4621 HOAGLIN CENTER RD                                                                                VAN WERT           OH    45891
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DOMINICK ASTORINA                               2534 JEFFERSON AVE                                                                              WASHINGTON       PA    15301‐1424
DOMINICK BONOMO                                 PO BOX 11435                                                                                    NEW BRUNSWICK    NJ    08906‐1435
DOMINICK BRIGUGLIO                              4935 CENTENNIAL                                                                                 SAGINAW          MI    48603‐5621
DOMINICK CARUSO & PATSY ANN CARUSO JT TEN       28420 KAUFMAN                                                                                   ROSEVILLE        MI    48066‐2670
DOMINICK CERRO & MRS JOHANNA CERRO JT TEN       14 ARDSLEY CT                                                                                   NEW PROVIDENCE   NJ    07974‐2410

DOMINICK DELUCIA                                7936 OAK BROOK CIRCLE                                                                           PITTSFORD        NY    14534‐9505
DOMINICK DEMENNA & MARI C DEMENNA JT TEN        1107 N CHESTER ROAD                                                                             WEST CHESTER     PA    19380‐6833
DOMINICK DILODOVICO                             ATTN WILLIAM E KRAMP                   6109 PROSPECT ST                                         NEWFANE          NY    14108‐1310
DOMINICK DREW DELUCIA                           7936 OAK BROOK CIRCLE                                                                           PITTSFORD        NY    14534‐9505
DOMINICK F PETERPAUL                            168 LONG AVE                                                                                    HILLSIDE         NJ    07205‐2336
DOMINICK F TERRANOVA                            27 POWELL PLACE RD                                                                              TABERNACLE       NJ    08088‐9221
DOMINICK FERRARO                                13489 DIMARCO ST                                                                                VENICE           FL    34293‐4510
DOMINICK FLORIO CUST MICHAEL JON FLORIO UGMA    15 THURSTON ST                                                                                  SI               NY    10314‐1829
NY
DOMINICK G FALSETTI                             6433 LAFAYETTE                                                                                  DEARBORN HGTS    MI    48127‐2122
DOMINICK GIAMMONA & MRS MARILYN GIAMMONA JT 15 VILLANOVA DRIVE                                                                                  ENGLISHTOWN      NJ    07726‐3513
TEN
DOMINICK J CIFRODELLI & MRS GRACE CIFRODELLI JT 747 ADAMS AVE                                                                                   ELIZABETH        NJ    07201‐1632
TEN
DOMINICK J LACALAMITA & CATHERINE LACALAMITA JT 87‐26 56 AVE                                                                                    ELMHURST         NY    11373‐4832
TEN
DOMINICK J NOVELLO CUST DONALD JAMES NOVELLO 325 CREITZ RD                                                                                      LANSING          MI    48917
UGMA MI
DOMINICK J ROMANO                               2825 W OAKLAND DR                                                                               WILMINGTON       DE    19808‐2422
DOMINICK J SANTO & MATHILDA V SANTO JT TEN      708 FIRST AVE                                                                                   ELLWOOD CITY     PA    16117‐1109
DOMINICK LOMBARDO                               PO BOX 673                                                                                      CASPER           WY    82602‐0673
DOMINICK LOPANO                                 155 N WASHINGTON ST                                                                             NORTH            NY    10591‐3117
                                                                                                                                                TARRYTOWN
DOMINICK M AMOROSI                              159 SWAGGERTOWN RD                                                                              SCOTIA           NY    12302‐3315
DOMINICK M ENRICO & NANCY ENRICO JT TEN         1888 WHITE KNOLL DR                                                                             TOMS RIVER       NJ    08755‐1732
DOMINICK M MADDALENA                            20319 SNOWPOINT PLACE                                                                           ASHBURN          VA    20147‐2375
DOMINICK M TARTAGLIONE & HELEN E TARTAGLIONE JT 655 13TH ST                                                                                     PITCAIRN         PA    15140‐1118
TEN
DOMINICK MARINO                                 45 WINDSOR RD                                                                                   PORT CHESTER     NY    10573‐2422
DOMINICK MERCADO                                600 STEEPLE RU                                                                                  ROSWELL          GA    30075‐2194
DOMINICK MONTENERI                              96 OLDE HARBOUR TRAIL                                                                           ROCHESTER        NY    14612‐2930
DOMINICK MONTENERI & FLORENCE L MONTENERI JT    96 OLDE HARBOUR TRAIL                                                                           ROCHESTER        NY    14612‐2930
TEN
DOMINICK NICOLAZZI & DOROTHY NICOLAZZI JT TEN   81 PINEAIRE AVE                                                                                 FARMINGVILLE     NY    11738‐2546

DOMINICK P CEFALO                               212 SWANSEA AVE                                                                                 SYRACUSE         NY    13206‐1941
DOMINICK P LAPA                                 9912 LE GRAND DR                                                                                WEXFORD          PA    15090‐7011
DOMINICK POSILLIPO                              14 RIVER RD                                                                                     STONY POINT      NY    10980‐2032
DOMINICK R CONTE                                4139 CONTE RD                                                                                   LOTHIAN          MD    20711‐9537
DOMINICK R DELPOPOLO                            221 HAZEL AVE                                                                                   WESTFIELD        NJ    07090‐4144
DOMINICK ROCCO DE MATTEO                        836A VAIL RD                                                                                    MONROE TWP       NJ    08831‐7602
DOMINICK SARACENO                               33 BENDER DR                                                                                    ORCHARD PARK     NY    14127‐2330
DOMINICK VITTESE & MRS DOROTHY VITTESE JT TEN   BELL SUPPLY CO                         7220 CRESCENT BLVD                                       PENNSAUKEN       NJ    08110‐1523

DOMINICK ZUNGRI                                 769 PONTIAC CT                                                                                  THOMAS RIVER     NJ    08753‐8709
DOMINICO RUSSO                                  1718 N ATHERTON ST                     #20                                                      STATE COLLEGE    PA    16803‐1454
DOMINIK J PIWOWARSKI                            4838 WOLGAST DRIVE                                                                              WARREN           MI    48092‐2360
DOMINIK S IWANOWSKI                             6665 EMMETT RD                                                                                  YALE             MI    48097‐4102
DOMINIQUE A EJARQUE                             4565 HICKORY POINTE                                                                             YPSILANTI        MI    48197‐9240
DOMINIQUE N LAMAY                               27115 KENDAL RIDGE LANE                                                                         CYPRESS          TX    77433‐1661
DOMINIQUE REIFF                                 1429 WALNUT STREET                     12TH FL                                                  PHILADELPHIA     PA    19102‐3218
DON A BAUER & ALICE J BAUER JT TEN              47314 CONCORD                                                                                   MACOMB           MI    48044‐2537
DON A BOOZEMAN                                  6295 JIMMY CARTER BLVD                 APT 279                                                  NORCROSS         GA    30071‐2313
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Name                                               Address1                                Address2             Address3          Address4          City               State Zip

DON A GIBBONS                                      362 SOUTH 100 EAST                                                                               JEROME             ID    83338‐6512
DON A GUINAN JR                                    698 MIDDLE TURNPIKE EAST                                                                         MANCHESTER         CT    06040‐3725
DON A HOCKER                                       2760 N WASHINGTON RD                                                                             COVINGTON          OH    45318‐8964
DON A LAVIOLETTE                                   225 EAST PERKINS PO BX53                                                                         MERRILL            MI    48637‐0053
DON A MATHESON                                     7168 PREBLE COUNTYLINE RD                                                                        LEWISBURG          OH    45338‐9603
DON A MC GLORY                                     PO BOX 1705                                                                                      SAPULPA            OK    74067‐1705
DON A MOLINE                                       80676 TURKEY RUN RD                                                                              CRESWELL           OR    97426‐9352
DON A SCHIEMANN                                    110 BALDWIN                                                                                      BIRMINGHAM         MI    48009‐1356
DON A THOMPSON & EDEN A THOMPSON JT TEN            8247 E LAGUNA AZUL AVE                                                                           MESA               AZ    85209‐5213
DON A WANZER                                       312 NW 1ST ST                                                                                    CHECOTAH           OK    74426‐2404
DON A WEIDMAN                                      8469 KIOWA TRL                                                                                   PINCKNEY           MI    48169‐9368
DON A WOLFE                                        14558 ARCHDALE                                                                                   DETROIT            MI    48227‐1442
DON ACKERMAN CUST DEENA ACKERMAN UGMA NJ           955 SOUTH SPRINGFIELD AVENUE            APT C313                                                 SPRINGFIELD        NJ    07081‐3523

DON ACKERMAN CUST JASON ACKERMAN UGMA NJ           3313 PARK PL                                                                                     SPRINGFIELD        NJ    07081‐3523

DON ALVES ZORNIGER                                 4262 MAXLIN RD                                                                                   KETTERING          OH    45429‐3100
DON ANDREW SEASE                                   2978 SAN PABLO RD                                                                                JACKSONVILLE       FL    32224‐1832
DON ANTHONY SCAFFIDI                               6301 S CARROLL CIR                                                                               FRANKLIN           WI    53132‐1121
DON B ANDERSON                                     PO BOX 22                                                                                        EADS               TN    38028‐0022
DON B ANSEL & IRENE K ANSEL TR UA 05/28/04 ANSEL   10254 HICKORY RIDGE DR                                                                           ZIONSVILLE         IN    46077
REV TRUST
DON B BROWN                                        13590 SW WALNUT LANE                                                                             TIGARD             OR    97223‐2039
DON B CHAFFIN                                      1381 LAUREL VIEW DR                                                                              ANN ARBOR          MI    48105‐9412
DON B KINCAID                                      4761 CORDUROY RD                                                                                 MENTOR             OH    44060‐1141
DON B KINCAID & SHIRLEY J KINCAID JT TEN           4761 CORDUROY RD                                                                                 MENTOR             OH    44060‐1141
DON BAKER                                          55917 COLERAIN PIKE                                                                              MARTINS FERRY      OH    43935‐1112
DON BOHANNON                                       15607 VALLEY VIEW RD                    #B                                                       SHAWNEE            OK    74801‐7500
DON BRAND                                          1758 EAST 29TH ST                                                                                BROOKLYN           NY    11229‐2517
DON C CRITCHLOW & NORMA J CRITCHLOW JT TEN         7985 CYPRESS LAKE DR                                                                             SARASOTA           FL    34243‐4963

DON C DARLING & SALLY DARLING JT TEN               4437 HAMPSHIRE PL                                                                                SAN JOSE           CA    95136‐1613
DON C GOFORTH                                      1119 LASALLE                                                                                     WATERFORD          MI    48328‐3751
DON C HENRY JR                                     190 OLD CAT CREEK ROAD                                                                           FRANKLIN           NC    28734‐2786
DON C MCMILLAN JR & JOANN MCMILLAN JT TEN          7500 SPRINGHILL RD                                                                               MILTON             FL    32570‐8454
DON C VANCE & NANCY C VANCE JT TEN                 500 NORWOOD DRIVE                                                                                COLONIAL HEIGHTS   VA    23834‐1132

DON C VEJAR                                        10554 SEMORA ST                                                                                  BELLFLOWER         CA    90706‐7142
DON C WARD                                         5016 LAFRANCE PL                                                                                 DAYTON             OH    45440‐2220
DON C WINCHELL                                     12800 SARLE                                                                                      FREELAND           MI    48623‐9505
DON CALVIN HENRY JR & ETTA KATHRYN HENRY JT TEN    190 OLD CAT CREEK RD                                                                             FRANKLIN           NC    28734‐2786

DON CHAMPNEY                                      5386 PARK LANE CT                                                                                 COLUMBUS           OH    43231‐4018
DON CLASEN                                        5320 N SHERIDAN RD                       APT 507                                                  CHICAGO            IL    60640‐7333
DON COMPTON                                       1190 W SPRING VALLEY PIKE                                                                         DAYTON             OH    45458‐3108
DON D ANGERA                                      908 EAST D STREET                                                                                 IRON MOUNTAIN      MI    49801‐6706
DON D BLOCKER                                     312 N 11TH ST                                                                                     FLAGLER BEACH      FL    32136‐3125
DON D FIELDS                                      1525 COUNTRY CLUB DR                                                                              PLEASANT HILL      MO    64080‐1542
DON D FORD III                                    5555 LYNBROOK DR                                                                                  HOUSTON            TX    77056‐2008
DON D FORD JR TR UA 10/09/92 SPENCER C FORD TRUST 5555 LYNBROOK DR                                                                                  HOUSTON            TX    77056‐2008

DON D GOBLE                                        1210 ALGO ST                                                                                     ALBION             MI    49224‐9627
DON D KNICKERBOCKER & JEAN M KNICKERBOCKER JT      11453 ORCHARDVIEW                                                                                FENTON             MI    48430‐2543
TEN
DON D ORMSBY                                       14557 IDAHO ST                                                                                   FONTANA            CA    92336‐0819
DON D PETTERA & ROSE M PETTERA JT TEN              3510 E HAMPTON AVE #53                                                                           MESA               AZ    85204‐6434
DON D YOUNCE                                       603 BROADACRE                                                                                    CLAWSON            MI    48017‐2703
DON DALESSANDRO                                    12157 SPRUCE PT                                                                                  STRONGSVILLE       OH    44149‐9252
DON DICKENSON WADE III                             5317 BURNING OAK COURT                                                                           RALEIGH            NC    27606‐9595
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DON DWAYNE MCPHAIL & OLA FAYE MCPHAIL JT TEN         1106 H ST                                                                                      SNYDER             OK    73566‐2446

DON E BALDWIN                                        823 GARDENSIDE DR                                                                              GREENCASTLE        IN    46135‐1813
DON E BLEVINS & JANIS L BLEVINS TR UA 08/24/07 DON   4521 SE 118TH STREET                                                                           OKLAHOMA CITY      OK    73165
EDWARD &
DON E BROWN                                          3340 PENNY LN                         APT B                                                    ATLANTA            GA    30344‐5550
DON E CHANNELL                                       1018 CARAVAN WAY                                                                               SALISBURY          MD    21804‐9325
DON E CLOYS                                          5153 SE MILES GRANT TER                                                                        STUART             FL    34997‐1853
DON E DAVIS                                          5814 CLUB OAKS COURT                                                                           DALLAS             TX    75248‐1118
DON E DAVIS & CONNIE S DAVIS JT TEN                  5814 CLUB OAKS COURT                                                                           DALLAS             TX    75248‐1118
DON E DAVIS CUST KERRY B DAVIS U/THE TEXAS           5814 CLUB OAKS COURT                                                                           DALLAS             TX    75248‐1118
UNIFORM GIFTS TO MINORS ACT
DON E FARNSWORTH                                     1406 WINDING WOOD DR                                                                           FARWELL            MI    48622‐9471
DON E FIELDS                                         7333 BRAILE ST                                                                                 DETROIT            MI    48228‐4608
DON E FINFROCK                                       643 EMMETT BOX 967                                                                             DEFIANCE           OH    43512‐2210
DON E FRANCISCO                                      12438 N JENNINGS ROAD                                                                          CLIO               MI    48420‐8245
DON E FRIDLINE                                       9306 SUE LANE                                                                                  SWARTZ CREEK       MI    48473‐8548
DON E HADDON & MRS JUNE C HADDON JT TEN              746 INGLESIDE                                                                                  FLINT              MI    48507‐2557
DON E HAZELETT                                       273 E WRIGHTWOOD AVE                                                                           GLENDALE HEIGHTS   IL    60139‐2626

DON E LEWIS                                    176 EASY ST                                                                                          STAFFORDSVILLE     KY    41256‐9080
DON E MC ALEXANDER                             614 BARBARA DR                                                                                       TIPP CITY          OH    45371‐1236
DON E MC ALEXANDER & NANCY A MC ALEXANDER JT   614 BARBARA DR                                                                                       TIPP CITY          OH    45371‐1236
TEN
DON E MCOSKER                                  5502 EVERGREEN RIDGE DRIVE                                                                           CINCINNATI         OH    45215
DON E MILLER                                   200 W RUTH EWING RD                         # 169                                                    LIBERTY            MO    64068‐9496
DON E OWENS                                    3317 RIDGEHAVEN STREET                                                                               IRVING             TX    75062‐4116
DON E PHILLIPS                                 105 CRESTVIEW CIRCLE                                                                                 CARROLLTON         GA    30117‐7527
DON E PUCKETT                                  527 BISON TRAIL                                                                                      DAKOTA DUNES       SD    57049‐5304
DON E SIDES                                    826 ODUS STREET                                                                                      JACKSON            MO    63755‐3108
DON E THOMAS                                   3155 COUNTRYSIDE LANE                                                                                MIAMISBURG         OH    45342‐5035
DON E THOMPSON                                 2900 PILOT RD                                                                                        CHRISTIANSBURG     VA    24073‐4844
DON E TIMMONS & MRS MARY LOUISE TIMMONS JT     217 SOUTH PINE STREET                                                                                OLATHE             KS    66061‐4047
TEN
DON E WEST                                     216 BAYVIEW DRIVE                                                                                    BUMPUS MILLS       TN    37028‐6164
DON EBY                                        120 EBY ST                                                                                           BRANSON WEST       MO    65737‐9767
DON EDWARD CROUSE                              3532 SHOSHONEE DRIVE                                                                                 COLUMBUS           IN    47203‐2520
DON EDWARD LIVINGSTON & PATRICIA LIVINGSTON JT 316 PICKENS ST                                                                                       DUMAS              AR    71639‐2710
TEN
DON EDWARD WILLIAMS                            907 SHAMROCK AVENUE                                                                                  BOONVILLE          MO    65233‐1157
DON F GEORGE JR                                2394 NESMITH LAKE BVLD                                                                               AKRON              OH    44314
DON F MASTERS                                  7809 CRESCENT BEACH ROAD                                                                             PIGEON             MI    48755‐9751
DON F PETTY                                    1609 BOX 117 DAVISON RT                                                                              GASSAWAY           WV    26624‐0117
DON F SCHAEFER                                 1026 TONY CIR                                                                                        SAINT CLOUD        FL    34772‐7309
DON F WILSON                                   5351 N PIONEER DR                                                                                    ELOY               AZ    85231‐3068
DON G KERN                                     BOX 55471                                                                                            PORTLAND           OR    97238‐5471
DON G MILES                                    502 WALLER PLACE                                                                                     EXCELSIOR SPR      MO    64024‐1453
DON G MORGAN                                   1440 WERREMEYER                                                                                      ST LOUIS           MO    63132‐1420
DON G THOMAS                                   5525 APACHE TRAIL                                                                                    GAINESVILLE        GA    30506‐6767
DON GIARDINA CUST ANN BRADFORD GIARDINA UTMA 2114 LONGLEAF TRL                                                                                      BIRMINGHAM         AL    35243‐2930
AL
DON GIARDINA CUST GEORGE CHARLES GIARDINA      2114 LONGLEAF TRL                                                                                    BIRMINGHAM         AL    35243
UTMA AL
DON GIARDINA CUST JOSEPH WARREN GIARDINA UTMA 2114 LONGLEAF TRL                                                                                     BIRMINGHAM         AL    35243
AL
DON GRACE                                      5897 RICHVILLE DRIVE S W                                                                             NAVARRE            OH    44662‐9769
DON GREULICH CUST DONALD GREULICH UTMA MD      1208 CHRISLAND CT                                                                                    ANNAPOLIS          MD    21403‐4300

DON H COOK                                           PO BOX 727                                                                                     FORNEY             TX    75126‐0727
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DON H GARVER                                  02831 STATE RT 15                                                                                         BRYAN           OH    43506‐8993
DON H MILLER                                  4020 PARADISE DRIVE                                                                                       TIBURON         CA    94920‐1120
DON H NELSON                                  PO BOX 1203                                                                                               CAMDEN          SC    29020‐1203
DON H SAGE                                    32917 BOCK                                                                                                GARDEN CITY     MI    48135‐1132
DON H SMALLEY                                 7350 CREEK TRACE BLVD                                                                                     BESSEMER        AL    35022‐7937
DON H WARNER CUST BRYCE L WARNER UNDER THE WV 152 N HILLS DR                                                                                            PARKERSBURG     WV    26101‐9233
TRANSFERS TO MINORS ACT
DON H WILSON                                  5826 HOLLISTER DRIVE                                                                                      SPEEDWAY        IN    46224‐3039
DON HARRY WHITEHEAD                           811 S SIERRA BONITA                                                                                       LOS ANGELES     CA    90036‐4703
DON HENDERSON                                 PO BOX 7293                                                                                               JACKSONVILLE    FL    32238‐0293
DON HERMAN                                    2321 PARKWAY W                                                                                            HARRISBURG      PA    17112‐9155
DON HINSON                                    PO BOX 517                                                                                                KUTTAWA         KY    42055‐0517
DON HINSON & CAROL J HINSON JT TEN            PO BOX 517                                                                                                KUTTAWA         KY    42055‐0517
DON HOBBS                                     9350 MUDD FARM LN                                                                                         LAPLATA         MD    20646
DON HOLCOMB                                   21 PINE TREE LANE                                                                                         AUBURN          GA    30011‐2816
DON HOWARD BRESLAUER                          205 W END AVE                           APT 27D                                                           NEW YORK        NY    10023‐4816
DON J BUCKNER                                 2885 HERITAGE DR APT A                                                                                    FORT GRATIOT    MI    48059‐3963
DON J COLEMAN & BARBARA J COLEMAN JT TEN      3603 BRAD COURT                                                                                           LOUISVILLE      KY    40220‐2722
DON J KOONTZ                                  22715 GLEENWOOD                                                                                           MT CLEMENS      MI    48035‐2929
DON J MEYER                                   2851‐B BURKHART AVE                                                                                       CINCINNATI      OH    45213‐1211
DON J PETERSEN                                11611 AVE J                                                                                               CHICAGO         IL    60617‐7468
DON JACOBS                                    1221 E ROME ST                                                                                            GONZALES        LA    70737‐4321
DON JAY & OPAL JAY JT TEN                     2313 OAK PARK DR                                                                                          RICHMOND        IN    47374
DON K JOHNSTON                                3621 E 700 N                                                                                              WINDFALL        IN    46076‐9344
DON K JOHNSTON & MARILYN B JOHNSTON JT TEN    3621 E 700 N                                                                                              WINDFALL        IN    46076‐9344

DON K RIES                                        311 W SPRING MEADOWS LN                                                                               DEWITT          MI    48820‐7711
DON K RUMBOLD                                     1448 S HOLLY RD                                                                                       FENTON          MI    48430‐8525
DON K SHANKS                                      422 MEADOWVIEW COURT                                                                                  VANDALIA        OH    45377‐1865
DON K TOM                                         1750 ANNCHESTER COURT                                                                                 ROCHESTER       MI    48306‐3605
DON K TOM & CHONG MI TOM JT TEN                   1750 ANNCHESTER COURT                                                                                 ROCHESTER       MI    48306‐3605
DON KING                                          C/O ADULT COMPREHENSIVE             PROTECTION SERVICES INC   8130 66TH ST STE 12                     PINELLAS PARK   FL    33781‐2111
DON L ANGER                                       3112 PHILIPS RD                                                                                       KINGSTON        MI    48741‐9782
DON L BOLEN & E JANICE BOLEN TR BOLEN REVOCABLE   862 CARRINGTON GREENS DR                                                                              FRISCO          TX    75034‐3456
TRUST UA 01/29/98
DON L CARPENTER                                   PO BOX 1364                                                                                           N FALMOUTH      MA    02556‐1364
DON L CHADWELL & SARA E CHADWELL JT TEN           PO BOX 75                                                                                             NEW TAZEWELL    TN    37824‐0075
DON L CLAUSON & DOLORES A CLAUSON JT TEN          5901 SW 86TH PL                                                                                       OCALA           FL    34476‐3747
DON L DANIELS                                     7010 E WHITEDOVE LN                 APT 302                                                           CLEVELAND       OH    44130‐8435
DON L DICKINSON                                   312 FREEMAN RD                                                                                        NORTHFIELD      VT    05663‐6229
DON L DRYDEN                                      6235 HANCOCK AVE                                                                                      SAN JOSE        CA    95124
DON L HAMILTON & PATSY R HAMILTON JT TEN          1300 HARRISON ST APT 509            PARK PLACE TOWERS                                                 AMARILLO        TX    79101
DON L HANDY                                       1 VIA CASTILLA                      UNIT B                                                            LAGUNA WOODS    CA    92637‐3702
DON L HUXHOLD                                     14220 W TRACKSIDE RD                                                                                  YORKTOWN        IN    47396‐9741
DON L JONES                                       2326 E VERMONTVILLE HWY                                                                               CHARLOTTE       MI    48813‐8706
DON L KINER                                       2809 WOODSTOCK                                                                                        DETROIT         MI    48203‐4608
DON L KUCERA                                      1906 MEADOWRIDGE RD                                                                                   PRESCOTT        AZ    86305‐5255
DON L SCHLEUDER                                   2120 ALEXANDRIA PIKE                                                                                  ANDERSON        IN    46012‐1804
DON L SKELLENGER                                  PO BOX 99                                                                                             DAVISON         MI    48423‐0099
DON L SMITH                                       477 TIMBERLEA TRAIL                                                                                   KETTERING       OH    45429‐1971
DON L STROTHER                                    2203 WESTWOOD DRIVE                                                                                   ARLINGTON       TX    76012‐2902
DON L THOMPSON                                    3017 JACKSON BLVD                                                                                     CHALMETTE       LA    70043‐2927
DON L WARNER                                      9229 MARY HAYNES DRIVE                                                                                CENTERVILLE     OH    45458‐3748
DON L WEILHAMER & GEORGE M WEILHAMER JT TEN       3951 WEILHAMER RD                                                                                     POLAND          IN    47868‐7101

DON L WICKS & MARVIE WICKS JT TEN                 190 RICHARDS LANE                                                                                     MORGANFIELD     KY    42437‐1279
DON L WILSON                                      4542 S DIXIE DR                                                                                       DAYTON          OH    45439
DON LA PIERRE & JULIE LA PIERRE JT TEN            7758 PARK NORTH CT                                                                                    INDIANAPOLIS    IN    46260‐5265
DON LEE KASTNING                                  6381 DAWSON BLVD                                                                                      MENTOR          OH    44060‐3647
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DON LEE MATTHEWS                             6522 TAMARACK DRIVE                                                                             TROY             MI    48098‐1900
DON M GUTHEIL                                1015 NILA GAY COURT                                                                             MIAMISBURG       OH    45342‐3432
DON M GUTHEIL & JOYE W GUTHEIL JT TEN        1015 NILA GAY COURT                                                                             MIAMISBURG       OH    45342‐3432
DON M PHILLIPS                               203 E CHAPEL ST                                                                                 ROCKTON          IL    61072‐2510
DON M TRUESDELL SR                           4233 PEACOCK DRIVE                                                                              FLINT            MI    48532‐4346
DON M WALKER                                 2014 E 200 S                                                                                    ANDERSON         IN    46017‐2008
DON M WALKER & RUTH E WALKER JT TEN          2014 E 200 S                                                                                    ANDERSON         IN    46017‐2008
DON M WESTERFIELD                            134 BUENA VISTA DR                                                                              DAPHNE           AL    36526‐7918
DON M WIGLEY & SHIRLEY L WIGLEY JT TEN       2433 SOUTHWEST 81ST                                                                             OKLAHOMA CITY    OK    73159‐4929
DON M WILLEY                                 BOX 1088                                                                                        BOUNTIFUL        UT    84011‐1088
DON M ZUCKERMAN                              170 LOVELL ST                                                                                   WORCESTER        MA    01603‐3213
DON M ZUCKERMAN & MRS R MILDRED ZUCKERMAN JT 170 LOVELL ST                                                                                   WORCESTER        MA    01603‐3213
TEN
DON MARCUS BAILEY                            2924 ALLENTON AVE                                                                               HACIENDA HTS     CA    91745‐5407
DON MARTIN SHAFER & ANN TAMKIN SHAFER JT TEN PO BOX# 5952                                                                                    VIRGINIA BEACH   VA    23471‐0952

DON MCGUCKIAN                                  123 EAST ROYAL PALM CIRCLE #107                                                               JUPITER          FL    33458
DON MCHUGH                                     3800 SW BLVD                                                                                  FORT WORTH       TX    76116
DON MIKE TURNER & BETTY ROLAND TURNER JT TEN   BOX 320                                                                                       RINGLING         OK    73456‐0320

DON MORRISVELT RICHARDSON                      7344 CRYSTAL LAKE DR                 APT 1                                                    SWARTZ CREEK     MI    48473‐8961
DON MYERS                                      255 KIEBERT LOOP                                                                              HOPE             ID    83836‐9832
DON N HARBOR                                   1012 HAVILAND DR                                                                              VESTAVIA HLS     AL    35216‐2333
DON O DE WALD                                  499 G CANNON GREEN DR                                                                         GOLETA           CA    93117‐2864
DON O DURHAM                                   27014 DEBIASI DR                                                                              ROMULUS          MI    48174‐8502
DON O STILL                                    4392 COTTONWOOD RD                                                                            BOLIVAR          MO    65613‐7400
DON OBRY                                       21280 30 MILE RD                                                                              ROMEO            MI    48096‐1906
DON OTTIS BERTRAM                              1000 E COUNTY ROAD 700 S                                                                      MUNCIE           IN    47302‐9473
DON P BRAGG                                    534 CAMERON POINTE LN                                                                         BELMONT          NC    28012‐6702
DON P HAMILTON                                 9406 LA SALLE                                                                                 LOS ANGELES      CA    90047‐3835
DON P WARNER                                   10321 SR 125                                                                                  PORTSMOUTH       OH    45663
DON P WULLER                                   9618 COLINADE DR                                                                              LONE TREE        CO    80124‐3139
DON PHILLIPS                                   13 PT SOUTH CT                                                                                LITTLE ROCK      AR    72211‐1626
DON PIERCE                                     1466 MADERA WAY                                                                               MILLBRAE         CA    94030‐2827
DON POLICASTRO                                 3858 ELEANOR DRIVE                                                                            MOHEGAN LAKE     NY    10547‐1025
DON R BORBRIDGE                                1345 PAUMA VALLEY RD                                                                          BANNING          CA    92220‐5480
DON R COPELAND                                 19520 FIVE POINTS                                                                             DETROIT          MI    48240‐1358
DON R DUNLAP                                   125 CRESTON DRIVE                                                                             MANSFIELD        OH    44906‐2208
DON R GEISELMAN JR                             956 ORCHID PL                                                                                 PERU             IN    46970‐3015
DON R GORDEN & ALTHA B GORDEN JT TEN           5876 S RIDGEVIEW RD                                                                           ANDERSON         IN    46013‐9774
DON R HARRISON                                 948 COUNTY RD 2150                                                                            TELEPHONE        TX    75488‐3442
DON R HICKS                                    1801 W HUY 90 BY PASS                                                                         MONTICELLO       KY    42633
DON R JACKSON & BOBBIE G JACKSON JT TEN        4518 TERRY LN                                                                                 WILMINGTON       NC    28405‐2424
DON R KREZENSKI                                1391 HEIGHTS                                                                                  LAKE ORION       MI    48362‐2210
DON R LANDREAUX                                15373 MUTINY CT                                                                               CORPUS CHRISTI   TX    78418‐6342
DON R LUNBECK                                  11741 S PENROSE                                                                               OLATHE           KS    66061‐6630
DON R MIERAS                                   24016 MINTDALE RD                                                                             STURGIS          MI    49091‐9226
DON R NEFF                                     9276 LEWIS ROAD                                                                               VASSAR           MI    48768‐9644
DON R NEWMAN                                   2350 PONTIAC DR                                                                               SYLVAN LAKE      MI    48320‐1659
DON R OCONNOR                                  2263 BERRYCREEK DR                                                                            KETTERING        OH    45440‐2620
DON R PETERSON                                 5582 CLEARVIEW                                                                                TROY             MI    48098‐2494
DON R RICHARDSON                               6325 MC GUIRE RD                                                                              LONDON           OH    43140‐9463
DON R TETLEY                                   1665 DOUGLAS DR                                                                               TAWAS CITY       MI    48763‐9422
DON R VAN AUSDAL                               87 DODSON RD                                                                                  TROY             MO    63379‐5723
DON RAY PARMELEE                               48087 JUDD RD                                                                                 BELLEVILLE       MI    48111‐9308
DON REX SNIDEMAN                               686 EAST CO RD 500 SOUTH                                                                      ANDERSON         IN    46013
DON ROBERT HARRISON                            904 COLUMBIA DR                                                                               JANESVILLE       WI    53546‐1720
DON ROBERT TAYLOR                              1933 OVERHILL RD                                                                              CHARLOTTE        NC    28211‐1628
DON S DAVIS                                    603 BRAVERWOOD DR                                                                             HENDERSON        NV    89015‐2968
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DON S SEO                                        712 UNION AVE                                                                                  MIDDLESEX         NJ    08846‐1941
DON SCOTT                                        ATTN SUSAN SCOTT                      13884 GRAHAM                                             SHELBY TOWNSHIP   MI    48315‐3823

DON SIDELINKER                                   272 TOUCAN DR                                                                                  ROCHESTER HILLS   MI    48309‐3468
DON T VINING JR                                  3108 S BURLINGTON DR                                                                           MUNICE            IN    47302‐8493
DON TAKEDA                                       28468 ALDER PEAK AVE                                                                           CANYON COUNTRY    CA    91387‐3109

DON TAYLOR CUST JEFFREY TAYLOR UGMA WA           3647 LODENQUAI LN                                                                              EUGENE            OR    97404‐1613
DON TROXELL                                      226 N BIRNEY ST                                                                                BAY CITY          MI    48708‐6636
DON UPHOUSE CUST SAMANTHA UPHOUSE UTMA MD        9 CALVARY CT                                                                                   LUTHERVILLE       MD    21093‐3956

DON VOSS                                         5975 MEADOW WAY                                                                                BEAUMONT          TX    77707‐1833
DON W ALLEN                                      4620 SOUTH MLK #17                                                                             LANSING           MI    48910
DON W ARMSTRONG                                  146 WEST NORTH BEND                                                                            CINCINNATI        OH    45216‐1735
DON W ATKINSON & ARLENE ATKINSON & ERIN BITTEN   952 LEE ST                                                                                     ALGONAC           MI    48001‐1023
JT TEN
DON W BARLOW                                     2922 NW 14TH TERRACE                                                                           CAPE CORAL        FL    33993
DON W BATCHELOR                                  1253 WHITTIER                                                                                  WATERFORD         MI    48327‐1639
DON W CHAPMAN & JACQUELINE CHAPMAN JT TEN        14731 MICHAEL AVE                                                                              LEO               IN    46765

DON W POSEY                                      30 BAILEY ST                                                                                   STOUGHTON         MA    02072‐4943
DON W POWELL CUST DON GLENN POWELL UGMA SC       2462 VISTAVIA ST                                                                               CHARLESTON        SC    29406‐9745

DON W UMBERGER                                   6628 CARLINDA AVE                                                                              COLUMBIA          MD    21046‐1053
DON W VAN HOESEN                                 PO BOX 26                                                                                      EAST BERNE        NY    12059‐0026
DON WALTER SCALF                                 PO BOX 915                                                                                     WEST LIBERTY      KY    41472
DON WAYNE TOMEY                                  RR 1 BOX 287                                                                                   FARMLAND          IN    47340‐9764
DON WINFREY ROBERSON                             6939 ANDERSON LAKE RD                                                                          DAWSONVILLE       GA    30534‐4811
DON'S HOT STOCKS                                 4129 TRAVIS ST                                                                                 DALLAS            TX    75204
DON‐MARC GHERARDI CUST KATHRYN ANNE GHERARDI 1813 LANSING STREET                                                                                MC LEAN           VA    22101‐5256
UGMA VA
DON‐MARC GHERARDI CUST MARC STEPHEN GHERARDI 1813 LANSING STREET                                                                                MC LEAN           VA    22101‐5256
UGMA VA
DONA ANN KNAPPER                                 9 CELESTIAL                                                                                    IRVINE            CA    92612‐3613
DONA F ALLEN                                     425 SWALLOW CT                                                                                 LIVERMORE         CA    94550‐2514
DONA GAVER                                       7604 OAK LEAF DRIVE                                                                            SANTA ROSA        CA    95409
DONA GRACE FESSANT                               16581 BAYLIS                                                                                   DETROIT           MI    48221‐3102
DONA J DREUTH                                    634 7TH ST                                                                                     OWOSSO            MI    48867‐2128
DONA J GRAHAM                                    6496 DEWEY ROAD                                                                                OVID              MI    48866‐9533
DONA J LIPPERT TR AMENDED 05/01/04 DON F SCHMIDT 5163 PARK DR                                                                                   VERMILION         OH    44089‐1416
IRREVOCABLE TRUST
DONA J LOVE                                      1620 PIERCE AVE SE                                                                             RENTON            WA    98058‐4748
DONA J MALOTKE                                   37145 N ARAGONA DR                                                                             CLINTON TWP       MI    48036‐2007
DONA J RADDATZ                                   16419 NORDHOFF ST                                                                              SEPULVEDA         CA    91343‐3719
DONA J THOMPSON                                  620 S 9TH ST                          APT A                                                    NOBLESVILLE       IN    46060
DONA J WORKMAN                                   1821 HOUSEMAN N E                                                                              GRAND RAPIDS      MI    49505‐4828
DONA L CAVOTO                                    638 BEACH AVENUE                                                                               LA GRANGE PARK    IL    60526‐5718
DONA L COTTON                                    4119 DEVONSHIRE                                                                                DETROIT           MI    48224‐3635
DONA M HESSLER                                   3 COUR SAINTS TROPEZ                                                                           PALOS HILLS       IL    60465‐2415
DONA M KELLEY & JOHN C KELLEY JT TEN             1030 S WARMAN AVE                                                                              INDIANAPOLIS      IN    46221‐1045
DONA RUTH KOVACH                                 14633 PAUL REVERE LOOP                                                                         N FT MYERS        FL    33917‐9050
DONA S ORTEGA                                    3114 N 145TH AVE                                                                               GOODYEAR          AZ    85338‐8357
DONAL E BRAY                                     1348 COLONY PARK CIR                                                                           GREENWOOD         IN    46143‐6738
DONAL E JOHNSON                                  4924 COLISEUM ST APT 3                                                                         LOS ANGELES       CA    90016‐5338
DONAL E MORRISSEY                                7 SANDIE CT                                                                                    PATCHOGUE         NY    11772‐8607
DONAL E MORRISSEY CUST                           KAITLYN ROSE MORRISSEY UTMA NY        7 SANDIE COURT                                           PATCHOGUE         NY    11772
DONAL E MORRISSEY CUST DONAL E MORRISSEY JR      7 SANDIE CT                                                                                    PATCHOGUE         NY    11772‐8607
UTMA NY
                                           09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DONAL E MORRISSEY CUST JUSTIN E MORRISSEY UTMA   7 SANDIE COURT                                                                                 PATCHOGUE       NY    11772
NY
DONAL J KEENER                                   54 FREEMARK CT                                                                                 OAKLEY          CA    94561‐3118
DONAL M STANTON                                  19658 MELVIN ST                                                                                LIVONIA         MI    48152‐1927
DONAL O'MAHONY                                   1704‐90 GARRY STREET                  WINNIPEG MB                            R3C 4J4 CANADA
DONAL P DORNE & MRS MARIAN M DORNE JT TEN        CHALK HILL RD                                                                                  MONROE          CT    06468
DONAL R RICE                                     24832 BEIERMAN                                                                                 WARREN          MI    48091‐1794
DONAL W BORLAND                                  660 LAKE DR                                                                                    SNELLVILLE      GA    30039
DONALD A ALLEN                                   11366 E WILSON RD                                                                              OTISVILLE       MI    48463‐9733
DONALD A ANDERSON & RUTH C ANDERSON JT TEN       11601 JOHNSON DRIVE                                                                            PARMA           OH    44130‐7364

DONALD A ARLES                                   45 COVERED BRIDGE LANE                                                                         NEWARK          DE    19711‐2063
DONALD A ARMSTRONG                               32 ROYAL YORK ROAD                    ST CATHARINES ON                       L2N 2N6 CANADA
DONALD A ARMSTRONG                               32 ROYAL YORK RD                      ST CATHARINES ON                       L2N 2N6 CANADA
DONALD A ARNETT                                  2000 SOUTH LAKE DR                                                                             NOVI            MI    48377‐1839
DONALD A AXT                                     6828 N BOBOLINK                                                                                PEORIA          IL    61614‐2801
DONALD A BARBER                                  250 PLEASANT HILL RD                                                                           ROCKMART        GA    30153‐4827
DONALD A BARD                                    52 TRELLI LN                                                                                   BRISTOL         CT    06010‐7871
DONALD A BARKER & JOYCE S BARKER JT TEN          #98                                   1815 SWEETWATER RD                                       SPRING VALLEY   CA    91977‐3832
DONALD A BARNETT                                 607 HASTING DR                                                                                 KENNETT         MO    63857‐2801
DONALD A BEAUDRY & KATHLEEN P BEAUDRY JT TEN     13892 FOREST BEACH                                                                             NORTHPORT       MI    49670

DONALD A BEDWELL                                 104 SAINT JAMES COURT                                                                          ELKTON          MD    21921‐6145
DONALD A BELL                                    1183 GROVENBURG ROAD                                                                           HOLT            MI    48842‐9660
DONALD A BENZ                                    15756 ELLEN DR                                                                                 LIVONIA         MI    48154‐2324
DONALD A BENZ & LOREEN C BENZ JT TEN             15756 ELLEN DR                                                                                 LIVONIA         MI    48154‐2324
DONALD A BERGH & FERN G BERGH JT TEN             12412 SAINT ANDREWS WAY                                                                        FENTON          MI    48430‐8881
DONALD A BERNARD                                 1011 BEVAN COURT                                                                               ENGLEWOOD       OH    45322‐2418
DONALD A BERNARD & JULIE A BERNARD JT TEN        1011 BEVAN COURT                                                                               ENGLEWOOD       OH    45322‐2418
DONALD A BEWKES & JUNE E BEWKES JT TEN           3300 PINNACLE PL                                                                               WILMINGTON      NC    28411‐9767
DONALD A BISHOP                                  3850 LOVELAND DR                                                                               LINCOLN         NE    68506‐3842
DONALD A BLACK                                   4301 UNRUH DRIVE                                                                               ENID            OK    73703‐1111
DONALD A BLOODGOOD                               116 SEMINOLE DR                                                                                W LAFAYETTE     IN    47906‐2116
DONALD A BONNESS & MRS SUSAN J BONNESS JT TEN    924 BELLEVUE PL                                                                                KOKOMO          IN    46901‐3908

DONALD A BORNITZ                                 7429 W CHAMBERS ST                                                                             MILWAUKEE       WI    53210‐1056
DONALD A BOSTROM CUST BETHANY SUE BOSTROM        3147 SW MEADOW LN                                                                              REDMOND         OR    97756
UGMA NY
DONALD A BRAUN                                   155 PETERS                                                                                     MILFORD         MI    48381‐1864
DONALD A BRUCE                                   685 N SUMMERS RD                                                                               IMLAY CITY      MI    48444‐8916
DONALD A BRYANT                                  W 9302 CEMETERY RD                                                                             CLINTON         WI    53525‐9500
DONALD A CASTO & COLLEEN F CASTO JT TEN          4 PETERSBROOK CIRCLE                                                                           LANCASTER       NY    14086‐3229
DONALD A CHAPMAN                                 40‐20951 PIER RD                      WHEATLEY ON                            N0P 2P0 CANADA
DONALD A CHAPMAN                                 40‐20951 PIER RD                      WHEATLEY ON                            N0P 2P0 CANADA
DONALD A CLAPHAN                                 1906 VAN ANTWERP                                                                               GROSSE PT WDS   MI    48236‐1621
DONALD A CLEMENTS                                19 HOUNDTRAIL DRIVE                   WATERDOWN ON                           L0R 2H3 CANADA
DONALD A CLOW & TONI JO CLOW JT TEN              4511 TWIN PINE DR NE                                                                           CEDAR RAPIDS    IA    52402‐1727
DONALD A COBURN                                  2158 ROLLINS ST                                                                                GRAND BLANC     MI    48439‐4336
DONALD A COLLEY                                  6948 ST RT 45 N W                                                                              BRISTOLVILLE    OH    44402‐9775
DONALD A COLLINS                                 6694 LIERMAN RD                                                                                IMLAY CITY      MI    48444‐8504
DONALD A COREY & PAULA L COREY JT TEN            167 BUENA VISTA BLVD                                                                           WARREN          PA    16365‐3427
DONALD A COX                                     5936 FELLRATH                                                                                  TAYLOR          MI    48180‐1180
DONALD A CRAWFORD                                6937 BINGHAM ST                                                                                DEARBORN        MI    48126
DONALD A CRAWFORD & ETHEL L CRAWFORD JT TEN      6937 BINGHAM ST                                                                                DEARBORN        MI    48126

DONALD A CROOKE                                  10485 NATIONAL BLVD                   APT 7                                                    LOS ANGELES     CA    90034‐4616
DONALD A CRUSE & MARGUERITE M CRUSE TR CRUSE     567 LIVINGSTON ST                                                                              ARLINGTON       VA    22203‐1024
LIVING TRUST UA 3/7/01
DONALD A CUNNINGHAM JR                           5398 GLENFEILD DR                                                                              SAGINAW         MI    48603‐5429
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DONALD A CURTIS                                 28457 BLANCHARD RD                                                                              DEFIANCE           OH    43512‐8077
DONALD A CZYSZ                                  5269 SHRUBOAK                                                                                   STERLING HEIGHTS   MI    48310‐3446

DONALD A DAVIS                                  PO BOX 25                                                                                       EDMOND             OK    73083‐0025
DONALD A DAVIS JR                               2212 SW 136TH PL                                                                                OKLAHOMA CITY      OK    73170‐5728
DONALD A DE SHONE                               930 FLEETWOOD DRIVE                                                                             SAGINAW            MI    48604‐2170
DONALD A DEAN & JANE G DEAN TEN ENT             727 HARDEN DR                                                                                   PITTSBURGH         PA    15229‐1106
DONALD A DEHN                                   14504 COVINGTON RD                                                                              INDEPENDENCE       MO    64055
DONALD A DELEEL                                 186 DENNISON RD                                                                                 MASSENA            NY    13662‐3223
DONALD A DERESZ & GRETCHEN ACHATZ DERESZ JT TEN 1852 SW 24 ST                                                                                   MIAMI              FL    33145‐3834

DONALD A DERMER                                 6115 OLYMPIC MOUNTAIN AVE                                                                       LAS VEGAS          NV    89131‐2537
DONALD A DEROP JR                               1298 CRANBROOK                                                                                  SAGINAW            MI    48638‐5443
DONALD A DIORIO                                 PO BOX 24                                                                                       BERKELEY SPRINGS   WV    25411‐0024

DONALD A DOMEK                                  501 E 13TH ST                                                                                   BRODHEAD           WI    53520‐1582
DONALD A DONNER                                 3485 ORMOND ROAD                                                                                WHITE LAKE         MI    48383‐1831
DONALD A DRAWHORN                               2901 ARLINGTON AVE                                                                              BESSEMER           AL    35020‐3626
DONALD A DROGOSCH                               9340 MARIE                                                                                      LIVONIA            MI    48150‐3320
DONALD A DUNN JR                                161 TANGLEWOOD PL                                                                               HOT SPRINGS        AR    71913‐8543
DONALD A EDSON                                  PO BOX 1395                                                                                     CARLSBAD           NM    88221‐1395
DONALD A EIDEN                                  7244 OSAGE                                                                                      ALLEN PARK         MI    48101‐2473
DONALD A ENNIS                                  8044 LISKOW CT                                                                                  SAGINAW            MI    48609‐9536
DONALD A EVANS                                  14704 GRUBBS RD                                                                                 ATHENS             AL    35611‐7431
DONALD A FENSTERMAKER                           973 CENTER ST E                                                                                 WARREN             OH    44481‐9306
DONALD A FERRELL                                2896 EAST BROWN ROAD                                                                            NEW CASTLE         IN    47362‐9563
DONALD A FLEMING & MARY KAY FLEMING JT TEN      2486 HIGH CROSSING DR                                                                           CRESCENT SPRINGS   KY    41017‐1353

DONALD A FRANKLIN & MRS CAROL M FRANKLIN JT TEN 2400 GUTHRIE COURT                                                                              LOS ANGELES        CA    90034‐1057

DONALD A GARCIA                                 5003 DUNBAR CT                                                                                  GLADWIN            MI    48624‐8520
DONALD A GARDINER                               14742 BEL AIR ESTATES                                                                           COKER              AL    35452‐3513
DONALD A GARDNER                                8150 GARTH POINT LN                                                                             RAPID RIVER        MI    49878‐9230
DONALD A GARDNER                                601 WHITE WILLOW                                                                                FLINT              MI    48506‐4580
DONALD A GARTZ & GENEVIEVE P GARTZ JT TEN       5203 HAMLET CIRCLE                                                                              SPRING HILL        FL    34606‐5362
DONALD A GEER                                   595 TR 851                                                                                      ASHLAND            OH    44805
DONALD A GILLIES                                #2E                                    1420 SHERIDAN RD                                         WILMETTE           IL    60091‐1848
DONALD A GIOVENTU                               1520 DURANGO CT                                                                                 FLINT              MI    48532‐2077
DONALD A GROENE & MRS ETHEL H GROENE JT TEN     2624 RUE DAUPHINE                                                                               NEW ORLEANS        LA    70117‐7320

DONALD A GROOBERT                               397 HOPE HILL RD                                                                                YALESVILLE         CT    06492‐2228
DONALD A GROSS JR                               1801 E 125TH ST APT 1701                                                                        CLEVLAND           OH    44114‐3541
DONALD A GUREWICZ                               45809 TWP RD 303                                                                                SUMMERFIELD        OH    43788‐9735
DONALD A HADDEN                                 2908 MANLEY DR                                                                                  LANSING            MI    48910‐3808
DONALD A HALE                                   1415 EAST FIRST STREET                                                                          MCMINNVILLE        OR    97128‐6068
DONALD A HALLAHAN                               100 ELROD CT                                                                                    DAYTON             OH    45418‐2986
DONALD A HANSON                                 4 S WRIGHT RD                                                                                   JANESVILLE         WI    53546‐8672
DONALD A HANSON                                 1021 HENKE RD                                                                                   JANESVILLE         WI    53546‐9294
DONALD A HARDING                                219 N EASTERN VILLAGE DR                                                                        GREENFIELD         IN    46140‐9462
DONALD A HEAD                                   303 SMITH ST APT 817                                                                            CLIO               MI    48420‐1364
DONALD A HEAD                                   303 SMITH ST APT 817                                                                            CLIO               MI    48420
DONALD A HEWITT & BEVERLY A HEWITT JT TEN       12417 SILVER CREEK COURT                                                                        CLIO               MI    48420‐8872
DONALD A HILDEBRAND                             7 WINSTON PL                                                                                    FREDERICKSBURG     VA    22405‐3052
DONALD A HOLDORF                                1236 LAKESHORE DR                                                                               COLOMBIAVILLE      MI    48421‐9771
DONALD A HOSS                                   69 SALUT CT                                                                                     FORT MYERS         FL    33912‐6374
DONALD A HULCHANSKI                             115 CAMILLUS PARK DRIVE                                                                         CAMILLUS           NY    13031‐1301
DONALD A HULL                                   4200 LEETONIA RD                                                                                LEETONIA           OH    44431‐9635
DONALD A HULL CUST CONNOR J HULL UTMA OH        4200 LEETONIA RD                                                                                LEETONIA           OH    44431‐9635
DONALD A HUNTER                                 25123 JEFFERSON COURT                                                                           SOUTH LYON         MI    48178‐1171
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DONALD A HUNTER & ANTOINETTE B HUNTER JT TEN        25123 JEFFERSON COURT                                                                           SOUTH LYON         MI    48178‐1171

DONALD A HUSCHKA                                    1508 W 3RD AVE                                                                                  BRODHEAD           WI    53520‐1810
DONALD A HYMAN                                      601 TIMBERGROVE                                                                                 CEDAR PARK         TX    78613‐4222
DONALD A IRWIN                                      BOX 430                                RUTHVEN ON                             N0P 2G0 CANADA
DONALD A IRWIN                                      29 PICKWICK DRIVE                      APT 338              LEAMINGTON ON     N8H 5C4 CANADA
DONALD A JACKSON                                    15026 EAST RENO                                                                                 CHOCTAW            OK    73020‐7514
DONALD A JACOBS CUST TAYLOR A JACOBS UGMA CT        293 LAKEVIEW DR                                                                                 FAIRFIELD          CT    06432‐2524

DONALD A JOHNSON                                    G 6104 DETROIT ST                                                                               MT MORRIS          MI    48458
DONALD A JOHNSON                                    1715 SPRING CREEK DRIVE                                                                         ROCHESTER HLS      MI    48306
DONALD A JOHNSON TOD JILL L JOHNSON                 6102 FAIRFAX LANE                                                                               MADISON            WI    53718
DONALD A JULIO MRS DORIS H JULIO & STEVEN A JULIO   94 1ST ST                                                                                       LAURIUM            MI    49913‐2011
JT TEN
DONALD A KALFAYN                                    PO BOX 78                                                                                       PARADISE           MI    49768‐0078
DONALD A KEANER                                     6978 TROWBRIDGE CT                                                                              SAGINAW            MI    48603‐8637
DONALD A KIELISZEWSKI                               34645 FARGO DR                                                                                  STERLING HEIGHTS   MI    48312‐5032

DONALD A KNIGHT                                     9740 WEST GREEN LANE                                                                            CRYSTAL RIVER      FL    34429‐8144
DONALD A KNOWLAN                                    401 LARIAT LANE                                                                                 VICTORIA           TX    77901‐3273
DONALD A KOEPF                                      3709 GARNER RD                                                                                  AKRON              MI    48701‐9751
DONALD A KOOS CUST MAKAILA D KOOS UTMA KY           79 CAMI CT                             APT 112                                                  WALTON             KY    41094‐1173
DONALD A KOOS CUST MATTHEW A KOOS UTMA KY           79 CAMI CT                             APT 112                                                  WALTON             KY    41094‐1173

DONALD A KOOS CUST RAVEN A KOOS UTMA KY             79 CAMI CT                             APT 112                                                  WALTON             KY    41094‐1173
DONALD A KREBS                                      5771 HENDERSON RD                                                                               WAYNESVILLE        OH    45068‐8356
DONALD A KUHN                                       2794 DEXTER DR                                                                                  SAGINAW            MI    48603‐3260
DONALD A LAHY & MRS DEBORAH W LAHY JT TEN           4005 MONUMENT AVE                                                                               RICHMOND           VA    23230‐3907
DONALD A LANDUCCI                                   2729 E BRISTOL CT                                                                               FRESNO             CA    93720‐5344
DONALD A LEUTE                                      700 W DUNLAP                                                                                    LANSING            MI    48910
DONALD A LISZAK                                     321 DOGWOOD LANE                                                                                DELTA              OH    43515‐9122
DONALD A LIVI                                       2073 ISABELLE COURT                                                                             GIRARD             OH    44420
DONALD A LOCKWOOD                                   10240 N STATE ROAD 1                                                                            OSSIAN             IN    46777‐9751
DONALD A LONG                                       1910 TERI LANE                                                                                  ANDERSON           IN    46012‐1951
DONALD A LONG & JEAN F LONG JT TEN                  1910 TERI LANE                                                                                  ANDERSON           IN    46012‐1951
DONALD A LUCARELLI JR                               12760 INDIAN ROCKS RD                  APT 803                                                  LARGO              FL    33774‐2329
DONALD A LUCCA                                      99 NEW HEMPSTEAD ROAD                                                                           NEW CITY           NY    10956‐3631
DONALD A LUNEKE                                     311 MINTY AVE                                                                                   DAYTON             OH    45416
DONALD A MAC GREGOR                                 1134 CHARLEVOIX AVE#8                                                                           PETOSKEY           MI    49770‐8408
DONALD A MAC INTOSH                                 61 N THOMPSON LANE                                                                              NORTH              PA    15642‐9314
                                                                                                                                                    HUNTINGDON
DONALD A MARCHITELLO                                3140 COULTERVILLE RD                                                                            MCKEESPORT         PA    15131‐4249
DONALD A MARSHALL                                   219 SOUTH PROSPECT                                                                              YPSILANTI          MI    48198‐7916
DONALD A MARTINKO & LINDA B MARTINKO JT TEN         8511 EAST PEARSON                                                                               SHELBY TOWNSHIP    MI    48316‐5119

DONALD A MATIS                                      919 ONAGER COURT                                                                                ENGLEWOOD          FL    34223‐5603
DONALD A MCBURNETT                                  4002 LAFAYETTE DR                                                                               POWDER SPRGS       GA    30127‐2627
DONALD A MCQUEARY                                   2807 N PATRICIA LN                                                                              MARION             IN    46952‐1043
DONALD A MEIXSELL                                   9691 HARBOUR COVE CT                                                                            YPSILANTI          MI    48197‐6901
DONALD A MILLER                                     118 PRESTWICK DR                                                                                BORDMAN            OH    44512‐1015
DONALD A MILLIGAN                                   1009 DIANEWOOD DRIVE                                                                            MANSFIELD          OH    44903‐8830
DONALD A MILNER                                     410 N COLONY RD                                                                                 WALLINGFORD        CT    06492‐3126
DONALD A MOLNAR                                     10 DONNA MARIE DR                      WELLAND ON                             L3C 2X5 CANADA
DONALD A MOYER                                      520 ZEHNER ST                                                                                   BLOOMSBURG         PA    17815‐2427
DONALD A NABB                                       2730 E 1300 N                                                                                   ALEXANDRIA         IN    46001‐8962
DONALD A NEWMAN                                     162 CORONA AVE B                                                                                LONG BEACH         CA    90803‐3317
DONALD A NICELY                                     120 YORKCHESTER WAY                                                                             RALEIGH            NC    27615
DONALD A NIEWIADOMSKI                               1309 LANE BLVD                                                                                  KALAMAZOO          MI    49001‐3985
DONALD A NOFFSINGER                                 7071 EAGLE HEIGHTS DR                                                                           MATTAWAN           MI    49071‐9447
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DONALD A NOVACK & ELIZABETH B NOVACK JT TEN     520 WINTERMANTLE AVE                                                                            SCRANTON         PA    18505‐2630

DONALD A OUELLETTE                              154 MAPLEWOOD RD                                                                                SOUTHINGTON      CT    06489‐2457
DONALD A OWENS                                  753 N COUNTY ROAD 25A                                                                           TROY             OH    45373‐1311
DONALD A PALMER                                 3017 NE 86TH                                                                                    SEATTLE          WA    98115‐3524
DONALD A PALMER                                 6845 TWP RD 140E                                                                                RUSHVILLE        OH    43150‐9618
DONALD A PAUL & MARLENE T PAUL JT TEN           13370 CROMIE DRIVE                                                                              WARREN           MI    48093‐3162
DONALD A PAYER                                  28280 ROY                                                                                       ST CLAIR SHRS    MI    48081‐2949
DONALD A PELLEGRINI                             5769 E NIGHT GLOW CIR                                                                           SCOTTSDALE       AZ    85266
DONALD A PEYER                                  N9141 BIG SPRING DR                                                                             WHITEWATER       WI    53190‐3915
DONALD A PHELPS                                 19953 GREENFIELD                                                                                DETROIT          MI    48235‐1802
DONALD A PICKERING                              92 EDGERSTOUNE RD                                                                               PRINCETON        NJ    08540‐6746
DONALD A PITTS                                  509 W HARRISON ST                                                                               MONTICELLO       IN    47960‐2215
DONALD A PODGORSKI                              2693 ELMWOOD AVE                       APT 3                                                    KENMORE          NY    14217‐1929
DONALD A POJAR & MRS MARY ANN POJAR JT TEN      1060 COMO PL                                                                                    ST PAUL          MN    55103‐1321

DONALD A POLANSKI                               6936 BINGHAM                                                                                    DEARBORN         MI    48126‐1868
DONALD A POLONOWSKI                             5235 MYERS LAKE AVE                                                                             BELMONT          MI    49306‐9138
DONALD A POLSINELLI                             22825 RENFORD                                                                                   NOVI             MI    48375‐4530
DONALD A PORTTEUS                               1433 SIMMONS ST                                                                                 MT PLEASANT      SC    29464‐5054
DONALD A PRUETER                                PO BOX 177                                                                                      AU GRES          MI    48703‐0177
DONALD A RAINE                                  1 MACDOUGALL DRIVE                     BRAMALEA ON                            L6S 3P3 CANADA
DONALD A RAINE                                  1 MACDOUGALL DRIVE                     BRAMALEA ON                            L6S 3P3 CANADA
DONALD A RARICK & JANET B RARICK JT TEN         390 ZION GROVE RD                                                                               RINGTOWN         PA    17967
DONALD A REX                                    1205 BLANCHARD                                                                                  FLINT            MI    48503‐5378
DONALD A RICE                                   14339 CHARLOTTE HWY                                                                             MULLIKEN         MI    48861‐9702
DONALD A RIEDLINGER                             6906 NILES DR                                                                                   LAUREL           MD    20707‐3236
DONALD A ROBBINS                                1810 MAGNOLIA AVE                                                                               FLINT            MI    48503‐4052
DONALD A ROBERTSON                              34673 CHESTNUT RIDGE                                                                            N RIDGEVILLE     OH    44039‐3961
DONALD A ROBERTSON & MARRY J ROBERTSON JT TEN   34673 CHESTNUT RIDGE                                                                            N RIDGEVILLE     OH    44039‐3961

DONALD A ROOS                                   3838 W 124TH ST                                                                                 ALSIP            IL    60803‐1346
DONALD A ROSE & CHARLOTTE E ROSE CUST MATTHEW   1602 NEBOBISM                                                                                   ESSEXVILLE       MI    48732
RYAN ROSE UGMA MI
DONALD A SANDY                                  PO BOX 73                                                                                       ROHRERSVILLE     MD    21779‐0073
DONALD A SCAVELLA JR                            250 MERTON APT 208                                                                              DETROIT          MI    48203‐2287
DONALD A SCHULTZ                                12730 N STAR DRIVE                                                                              NORTH ROYALTON   OH    44133‐5945

DONALD A SCHUMACHER SR                          8903 LATREC AVE 3‐108                                                                           ORLANDO          FL    32819
DONALD A SHEILL                                 PO BOX 133                                                                                      ESMOND           ND    58332‐0133
DONALD A SHWEDO                                 1838 OCEAN GROVE DR                                                                             ATLANTIC BCH     FL    32233‐5843
DONALD A SIMONELLI                              9411 BASSETT                                                                                    LIVONIA          MI    48150‐3310
DONALD A SIVILOTTI                              10601 N MAGNOLIA DR                                                                             MEQUON           WI    53092‐5055
DONALD A SKELLEY & R JOSEPH SKELLEY JT TEN      3314 CATHEDRAL AVE NW                                                                           WASH             DC    20008‐3411
DONALD A SLANKER                                5914 PLEASANT HILL DR                                                                           ARLINGTON        TX    76016‐4405
DONALD A SMITH                                  11 GRANT AVENUE                                                                                 GLENS FALLS      NY    12801‐2608
DONALD A SOUZA                                  617 CLAUSER DR                                                                                  MILPITAS         CA    95035‐3613
DONALD A SPAULDING                              2311 READY RD                                                                                   CARLETON         MI    48117‐9778
DONALD A STACHEWICZ                             179 AMBER STREET                                                                                BUFFALO          NY    14220‐1861
DONALD A STIRK                                  15522 MILLION DOLLAR HWY                                                                        ALBION           NY    14411
DONALD A STOPA                                  7157 ELLICOTT RD                                                                                LOCKPORT         NY    14094‐9482
DONALD A STREET                                 4 RANDOLPH DRIVE                                                                                MOUNT HOLLY      NJ    08060‐1105
DONALD A TARKINGTON TR DAVID C MACEY TRUST UA   303 W MADISON ST SUITE 1500                                                                     CHICAGO          IL    60606‐3309
06/30/02
DONALD A TEMPLAR CUST D PAUL TEMPLAR UGMA NY    305 CONCORD AVE                                                                                 EXTON            PA    19341‐1761

DONALD A TERRY & OLENA V TERRY JT TEN           863 CO RD 369                                                                                   TRINITY          AL    35673‐3220
DONALD A TOY                                    45 SUTTON PL S                                                                                  NEW YORK         NY    10022‐2444
DONALD A VAN HOVEN                              5964 CHICAGO DRIVE                                                                              ZEELAND          MI    49464‐9668
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DONALD A VANDERLUGT                           2570 HAVERFORD                                                                                     TROY            MI    48098‐2334
DONALD A WAGNER                               15091 EAST STREET RD                                                                               MONTROSE        MI    48457‐9328
DONALD A WAITE TR DONALD A WAITE LIVING TR UA 11208 RICE CREEK RD                                                                                RIVERVIEW       FL    33569‐5132
6/2/98
DONALD A WALCH                                9277 REYNOLDS RD                                                                                   TRAVERSE CITY   MI    49684‐9664
DONALD A WALL                                 5424 E YUCCA ST                                                                                    SCOTTSDALE      AZ    85254‐4755
DONALD A WALSER                               5189 OLD BARN LANE                                                                                 CLIO            MI    48420‐8295
DONALD A WALTER                               BOX 212                                                                                            TAYLOR          MI    48180‐0212
DONALD A WALTERS                              104 ARLINGTON AVE                                                                                  STATEN ISLAND   NY    10303‐1663
DONALD A WAYMAN & JOY WAYMAN TR WAYMAN FAM 5400 RAFFERTY RD                                                                                      SANTA PAULA     CA    93060‐9629
TRUST UA 01/26/95
DONALD A WEISKIRCH                            15696 GRATIOT                                                                                      HEMLOCK         MI    48626‐9463
DONALD A WEPFER & PENNY W WEPFER JT TEN       3519 PLANTATION DR                                                                                 SARASOTA        FL    34231‐8520
DONALD A WESTFALL                             2535 CHRISTMAS RUN                                                                                 WOOSTER         OH    44691‐1309
DONALD A WHITBREAD                            345 VILLA COURT                           OSHAWA ON                              L1J 6Y3 CANADA
DONALD A WHITE & MRS JOYCE A WHITE JT TEN     5 DAVIS DRIVE                             SALEM WOODS                                              NEWARK          DE    19702‐2897
DONALD A WHITSITT                             7375 HAVENRIDGE LN                                                                                 KAUFMAN         TX    75142‐7172
DONALD A WILLIAMSON & MRS BARBRA E WILLIAMSON 1764 WARRINGTON DRIVE                                                                              HENDERSON       NV    89052‐6802
JT TEN
DONALD A WILSON                               8157 LITTLE JOE TR                                                                                 ATLANTA         MI    49709‐9799
DONALD A WILSON & PEARLINE WILSON JT TEN      2801 S W JAMES ST                                                                                  TOPEKA          KS    66614‐2232
DONALD A WOHLFARTH & MILDRED M WOLFARTH TEN 1111 PRESCOTT PLACE                                                                                  SEWICKLEY       PA    15143‐8424
ENT
DONALD A WOHLFARTH & MILDRED WOHLFARTH JT TEN 1111 PRESCOTT PLACE                                                                                SEWICKLEY       PA    15143‐8424

DONALD A WOOD                                  253 E PLYMOUTH RD                                                                                 TERRYVILLE      CT    06786‐4201
DONALD A YARCEL & MRS DOROTHEA M YARCEL JT TEN 56 CENTRAL BLVD                                                                                   BETHPAGE        NY    11714‐4624

DONALD A YUNKER                                   RR 2                                                                                           INWOOD          IA    51240‐9802
DONALD A ZIELINSKI & SOCORRO ZIELINSKI JT TEN     20908 MANDRAKE DR                                                                              PFLUGERVILLE    TX    78660

DONALD AESCHLIMAN TR REVOCABLE TRUST 11/27/91     602 FOREST AVE                                                                                 CRYSTAL FALLS   MI    49920‐1519
U‐A DONALD AESCHLIMAN
DONALD ALAN D GLOSSOP & PRISCILLA JANE GLOSSOP    4940 CHADWICK COURT                                                                            STERLING HTS    MI    48310
JT TEN
DONALD ALBERT KOOS                                RR2 BOX 223A SIRY RD                                                                           CALIFORNIA      KY    41007‐9719
DONALD ALEXANDER                                  5115 S 50 W                                                                                    ANDERSON        IN    46013‐9500
DONALD ALLEN                                      510 S PARK DR                                                                                  DETROIT         MI    48215‐4109
DONALD ALLEN HADDEN & THELMA MARIE HADDEN JT      2908 MANLEY DR                                                                                 LANSING         MI    48910‐3808
TEN
DONALD ALLEN JONES & TANYA K JONES JT TEN         527 N ODELL                                                                                    BROWNSBURG      IN    46112‐1166
DONALD ALVIN RUSSELL                              2926 BARTH ST                                                                                  FLINT           MI    48504‐3052
DONALD ALVIN STOCK & JEAN EDNA STOCK JT TEN       48218 HARBOR DR                                                                                CHESTERFIELD    MI    48047‐3468

DONALD ANHEUSER BEIMES MOORE                      13155 MAPLE DRIVE                                                                              SAINT LOUIS     MO    63127‐1902
DONALD ARCHIE EDWARDS                             18410 ROUTE 954N                                                                               HOME            PA    15747‐5904
DONALD ARTHUR WILLIAMS                            25 GRACEWELL ROAD                                                                              WETHERSFIELD    CT    06109‐2824
DONALD B ADKINS                                   943 WEST ATKINS HILL RD                                                                        NORMAN          OK    73072‐9706
DONALD B ALLISON                                  2409 AVEBERRY CT SE                                                                            CONYERS         GA    30013‐1775
DONALD B ANDERSON                                 528 ESTE MADERA                                                                                SONOMA          CA    95476
DONALD B ARGERSINGER                              18 FOX LAKE CIR                                                                                SANTA RSA BCH   FL    32459‐4272
DONALD B AVEY                                     PO BOX 835                                                                                     MARLBOROUGH     MA    01752‐0835
DONALD B BAKER JR                                 12 PROSPECT ST                                                                                 BETHEL          CT    06801‐2219
DONALD B BATTERBEE                                5790 ARBELA RD                                                                                 MILLINGTON      MI    48746‐9763
DONALD B BENEDETT & MRS BARBARA J BENEDETT JT     649 WABASHA AVE                                                                                ST CHARLES      MN    55972‐1118
TEN
DONALD B BLACKWELL                                763 RANCHWOOD TRL                                                                              WOODSTOCK       GA    30188‐1913
DONALD B BORBEE                                   55 MARQUETTE DRIVE                                                                             ROCHESTER       NY    14618‐5613
DONALD B BRANDON JR                               486 LAKESIDE                                                                                   WATERFORD       MI    48328‐4038
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DONALD B BRUMMETT                               3113 N 225 E                                                                                 FRANKLIN        IN    46131‐8079
DONALD B CEPPI                                  515 ADAMS ST                                                                                 DENVER          CO    80206‐4412
DONALD B CHAMBERS                               8514 LYNN ST                        PO BOX 521                                               DALEVILLE       IN    47334‐0521
DONALD B CLARK                                  8527 BROADWELL RD                                                                            CINCINNATI      OH    45244‐1613
DONALD B COLEMAN & MRS SARAH L COLEMAN JT TEN   17 FULL SWEEP                                                                                HILTON HEAD     SC    29928‐5229

DONALD B CORCORAN                           3550 S MAPLEWOOD                                                                                 CHICAGO         IL    60632‐1021
DONALD B CROWE                              2278 NEWTON TOMLINSON RD                                                                         NEWTON FALLS    OH    44444‐9788
DONALD B DE FOE                             30875 GRANDVIEW AV                                                                               WESTLAND        MI    48186‐5060
DONALD B DRAHER                             1390 JUDY DR                                                                                     SIX LAKES       MI    48886‐7712
DONALD B ELLIS                              1441 BELFORD                                                                                     HOLLY           MI    48442‐9413
DONALD B ETHERINGTON                        4236 W 400 S                                                                                     RUSSIAVILLE     IN    46979‐9458
DONALD B FORD                               194 LAGRAND CT                                                                                   WHITE LAKE      MI    48383
DONALD B GAUER                              8875 EMERICK RD W                                                                                WEST MILTON     OH    45383‐9773
DONALD B GLYNN                              8272 NEFF RD                                                                                     MOUNT MORRIS    MI    48458‐1300
DONALD B GOODMAN CUST DAVID S GOODMAN UGMA R D 2                                                                                             ALLENTOWN       PA    18103‐9801
PA
DONALD B GOODNEY & LINDA L GOODNEY JT TEN   2173 KEWAUNEE DR                                                                                 TRAVERSE CITY   MI    49686‐2033
DONALD B GORDON                             BOX 114                                                                                          ORANGEVILLE     OH    44453‐0114
DONALD B GREENE & MELVA G GREENE JT TEN     1099 MARYLAND AVE                                                                                SPARTANBURG     SC    29307‐5121
DONALD B HAHN                               18140 AUDETTE                                                                                    DEARBORN        MI    48124‐4217
DONALD B HAMILTON & ALETA F HAMILTON JT TEN 1504 STONEY CREEK DR                                                                             ROCHESTER       MI    48307‐1780

DONALD B HAMMOCK                                519 BEAVER RUIN WAY                                                                          LILBURN         GA    30047‐3419
DONALD B HARPER                                 9954 ASGARD CRESCENT                WINDSOR ON                             N8R 1E2 CANADA
DONALD B HASTINGS EX EST BARNET B MYERS         349 RIDGEWOOD DR                                                                             DAPHNE          AL    36526‐8105
DONALD B HAZEL & KATHLEEN F HAZEL JT TEN        33004 PENNBROOKE PARKWAY                                                                     LEESBURG        FL    34748‐8197
DONALD B HINSON & LORRAINE L HINSON JT TEN      1934 MARACAIBO RD                                                                            JACKSONVILLE    FL    32211‐5020
DONALD B HUSTAD                                 740 BLIVEN RD                                                                                EDGERTON        WI    53534‐9506
DONALD B INGLE                                  7125 E SYCAMORE ST                                                                           EVANSVILLE      IN    47715‐3634
DONALD B IRLAND                                 218 IRONBRIDGE PLACE                                                                         EULESS          TX    76040
DONALD B JAEGER                                 29134 ROYCROFT                                                                               LIVONIA         MI    48154‐3804
DONALD B JETTY                                  3 SENECA ST                                                                                  BALDWINSVILLE   NY    13027‐2312
DONALD B JONES & MRS AMY L JONES JT TEN         BOX 544                                                                                      FRANKFORT       MI    49635‐0544
DONALD B KLINE                                  190 BOB RIDGE RD                                                                             ROACH           MO    65787
DONALD B LAMAY                                  417 TICKNER ST                      PO BOX 457                                               LINDEN          MI    48451‐0457
DONALD B LANDIS                                 48993 SHADY GLEN DR                                                                          CHESTERFIELD    MI    48051‐2565
DONALD B MCCAY                                  1347 HONEYSUCKLE LN                                                                          HASTINGS        MN    55033‐2459
DONALD B MIDDLETON                              88 MILL ROAD                        APT E‐1                                                  IRVINGTON       NJ    07111‐8059
DONALD B MILLIRON                               1240 W TOBIAS RD                                                                             CLIO            MI    48420‐1777
DONALD B MORGAN                                 5672 RED LION RD                                                                             SPRINGBORO      OH    45066
DONALD B PEARCE & FRANCES L PEARCE JT TEN       6521 DEEPFORD ST                                                                             SPRINGFIELD     VA    22150‐1329
DONALD B PENNINGTON                             PO BOX 559                                                                                   YORK            PA    17405‐0559
DONALD B PRITCHARD JR                           204 BARRIE ROAD                                                                              NARBERTH        PA    19072‐1817
DONALD B RICHARDS                               85 GREEN ROAD                                                                                ALPHARETTA      GA    30004‐3716
DONALD B RIDER & JAN E RIDER JT TEN             2352 WEST SUNBURY RD                PO BOX 72                                                BOYERS          PA    16020‐0072
DONALD B RODKEY & MARGARET A RODKEY JT TEN      5105 ATLANTIC COURT                 #3                                                       CAPE CORAL      FL    33904‐5600

DONALD B RUSSELL & LORRAINE RUSSELL JT TEN      18157 PIERRE DR                                                                              CLINTON TWP     MI    48038
DONALD B SAMPSON                                PO BOX 375                                                                                   NEWFANE         VT    05345‐0375
DONALD B SCHALL & PATRICIA N SCHALL JT TEN      2754 WOODACRE CT                                                                             LINCOLN         CA    95648‐8228
DONALD B SCHLEGEL                               22049 ROUTE 22                                                                               HOOSICK FALLS   NY    12090
DONALD B SILVER                                 8123 GROTON LANE                                                                             INDIANAPOLIS    IN    46260‐2821
DONALD B SILVERTHORN                            9539 W COUNTY RD A                                                                           EVANSVILLE      WI    53536‐9514
DONALD B SIMONS & PHYLLIS J SIMONS JT TEN       10352 HALSEY RD                                                                              GRAND BLANC     MI    48439‐8323
DONALD B SIMS                                   9080 HUGGIN HOLLOW                                                                           MARTINSVILLE    IN    46151‐7237
DONALD B SMALL & MRS MARGARET B SMALL JT TEN    28 PINE ST                                                                                   CORNWALL        NY    12520‐1131
                                                                                                                                             HUDSON
DONALD B SUDNIK                                 528 70TH ST                                                                                  HOLMES BEACH    FL    34217‐1206
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DONALD B TUCKER                                  21 MAIN STREET                                                                                   BYFIELD           MA    01922‐1216
DONALD B WALTERS & PATRICIA ANN WALTERS JT TEN   1678 CARMAN MILL DR                                                                              MANCHESTER        MO    63021‐7107

DONALD B WESTMORE & ADRIENNE H WESTMORE JT       17 CHEVIOT RD                                                                                    GERMANTOWN        NY    12526‐5615
TEN
DONALD B WILSON & LORNA C WILSON JT TEN          103 DIANNE ST                                                                                    KNIGHTDALE        NC    27545‐9530
DONALD B WOLFE                                   970 NW 1351ST RD                                                                                 ODESSA            MO    64076‐8304
DONALD B YOUNG JR & MARYBETH YOUNG TEN ENT       CHURCH RD                                                                                        GRATERFORD        PA    19426

DONALD B YOUNGBLOOD                              7073 CARLISLE PIKE                      TRLR 72                                                  CARLISLE          PA    17013‐9759
DONALD B ZAGER                                   1010 CEDAR GROVE RD                                                                              WYNNEWOOD         PA    19096‐2006
DONALD BAILEY & ARMAND BAILEY JT TEN             5500 BRITE DRIVE                                                                                 BETHESDA          MD    20817‐6305
DONALD BANY & DORIS BANY TEN ENT                 PO BOX 114                                                                                       STATE COLLEGE     PA    16804‐0114
DONALD BARCHENGER                                BOX 303                                                                                          ALBANY            MN    56307‐0303
DONALD BART CUST TANNER HESS BART UTMA WI        26325 DUKLETH DR                                                                                 WIND LAKE         WI    53185‐2741
DONALD BARTAK                                    146 GRACE LANE                                                                                   CHICAGO HEIGHTS   IL    60411‐1011

DONALD BAUER & KATHLEEN BAUER JT TEN             27475 VISTA DE TORO                                                                              SALINAS           CA    93908‐8914
DONALD BAURICHTER                                1285 HEIDI HAVEN DR                                                                              OSHKOSH           WI    54904‐5945
DONALD BEACH                                     7064 EAST 64TH ST                                                                                CHASE             MI    49623‐7703
DONALD BEHNKE                                    THE MAPLES RESORT                                                                                CARP LAKE         MI    49718
DONALD BEHRSTOCK                                 363 N LA CIENEGA BL                                                                              WEST HOLLYWOOD    CA    90048‐1924

DONALD BENJAMIN GODFREY                          901 LAFAYETTE ROAD                                                                               NEWARK            DE    19711‐3136
DONALD BENNETT                                   41 FALCON TRAIL                                                                                  PITTSFORD         NY    14534‐2456
DONALD BENNETT & GALE Y BENNETT JT TEN           41 FALCON TRAIL                                                                                  PITTSFORD         NY    14534‐2456
DONALD BISCHOFF                                  1075 N SUNCOAST BLVD                    LOT 37                                                   CRYSTAL RIVER     FL    34429
DONALD BLACK                                     18 SUNSET DR                                                                                     CLARK             NJ    07066‐1218
DONALD BLAZEJOWSKI CUST MEGAN BLAZEJOWSKI        354 BALDWIN DR                                                                                   BRISTOL           CT    06010‐3082
UGMA CT
DONALD BRANCIFORTE                               58 SUNNYSLOPE DR                                                                                 MIDDLETOWN        CT    06457‐5433
DONALD BRANUM CUST ASHLEY G H BRANUM UTMA        19 IRVINGTON ST                                                                                  WABAN             MA    02468‐1905
MA
DONALD BRIAN DAVIES                              11236 ACREWOOD DR                                                                                CINCINNATI        OH    45249‐2514
DONALD BRIGGS                                    63 FAIRWOOD ST                                                                                   MILFORD           CT    06460‐5832
DONALD BROWN                                     581 METROPOLITAN AVE                                                                             STATEN ISLAND     NY    10301
DONALD BROWN                                     17180 HIGHWAY 238                                                                                GRANTS PASS       OR    97527‐8616
DONALD BRUCE MILLER                              5885 DENISON DRIVE                                                                               VENICE            FL    34293‐6803
DONALD BRUCE WINTERS                             260 SHIELDS RD                                                                                   CAMBRIDGE         NY    12816‐2430
DONALD BURNS & JUDY BURNS JT TEN                 2455 MINORS BRANCH RD                                                                            GRAVEL SWITCH     KY    40328‐9300
DONALD BYERLY                                    4759 OWASCO CT                                                                                   CLARKSTON         MI    48348‐2273
DONALD C ACKETT                                  6551 E TOWNLINE LAKE RD                                                                          HARRISON          MI    48625‐9084
DONALD C AEBERSOLD                               7704 CENTENNIAL RD                                                                               BRITTON           MI    49229‐9716
DONALD C ANDERSON                                332 PROSPECT BAY DR                                                                              GRASONVILLE       MD    21638‐1235
DONALD C ANDREWS                                 2386 EGLESTON                                                                                    BURTON            MI    48509‐1100
DONALD C ARNOLD & ROSALIND A ARNOLD JT TEN       4555 HEGEL                                                                                       GOODRICH          MI    48438‐9605

DONALD C ARNOLD & SUZANNE J ARNOLD JT TEN        404 N PINEGROVE CIRCLE                                                                           WICHITA           KS    67212‐5154
DONALD C AUSTIN                                  125 AUSTIN DR                                                                                    WARTBURG          TN    37887‐3310
DONALD C BEAVIS & PAMELA J BEAVIS JT TEN         45848 DENISE DR                                                                                  PLYMOUTH          MI    48170‐3625
DONALD C BENNETT                                 19325 BLOOM                                                                                      DETROIT           MI    48234‐2430
DONALD C BERKETT                                 2891 SHABONNE LN                                                                                 NORTH PORT        FL    34286‐4322
DONALD C BERKHOLZ                                31700 CYRIL AVE                                                                                  FRASER            MI    48026‐2690
DONALD C BERMEL                                  1460 SW 19TH ST                                                                                  BOCA RATON        FL    33486‐6514
DONALD C BIESEMEYER                              10 JORDAN LOOP BHR                                                                               OKEECHOBEE        FL    34974
DONALD C BLANK                                   2032 N ERIE                                                                                      TOLEDO            OH    43611
DONALD C BOLAN                                   32929 KNOLLWOOD LN                                                                               WESLEY CHAPEL     FL    33545‐5023
DONALD C BOOK & MRS DOROTHY BOOK TEN ENT         RD1                                                                                              SUGARLOAF         PA    18249‐9801
DONALD C BUCKINGHAM                              500 SHAH AVE                                                                                     FORT ATKINSON     WI    53538‐3111
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DONALD C BURBAS                                   1500 BROCKER RAOD                                                                                METAMORA          MI    48455
DONALD C BUTLER                                   214 JORDAN ST                                                                                    ADRIAN            MI    49221‐3301
DONALD C CALLAHAN & LILLIAN L CALLAHAN JT TEN     225 PAYNTER DRIVE                       MIDDLEBORO CREST                                         WILMINGTON        DE    19804‐1304

DONALD C CARICO SR & SARAH FRANCES CARICO JT TEN 119 MONTEREY BLVD                                                                                 SAN FRANCISCO     CA    94131‐3236

DONALD C CARPENTER                                352 GRANDVIEW DRIVE                                                                              LEBANON           OH    45036‐2431
DONALD C CHAMPLIN                                 6830 REEDER RD                                                                                   LYONS             MI    48851‐9749
DONALD C CHANDLER JR                              PO BOX 15                                                                                        LOVELL            ME    04051‐0015
DONALD C CHAPLIN SR                               2709 TRANSIT RD                                                                                  NEWFANE           NY    14108‐9701
DONALD C CHOPCHINSKI                              PO BOX 853                                                                                       KELLEYS IS        OH    43438‐0853
DONALD C CHRESTENSEN                              805 TEN BOOM LANE                                                                                XENIA             OH    45358
DONALD C CHRESTENSEN & VIVIAN H CHRESTENSEN JT    805 TEN BOOM LANE                                                                                XENIA             OH    45358
TEN
DONALD C CLEVELAND                                1753 FOX RUN                                                                                     ROCHESTER HILLS   MI    48306‐3269
DONALD C CLOUGH                                   302 WARREN                                                                                       FLUSHING          MI    48433‐1766
DONALD C COGSWELL                                 1445 N CO RD 400E                                                                                ANDERSON          IN    46012
DONALD C COLEGROVE                                153 IVY BROOK LANE                                                                               FAIRFIELD GLADE   TN    38558‐8669
DONALD C CRAWFORD                                 10 TURNBERRY LANE                                                                                CLIFTON PARK      NY    12065‐1117
DONALD C CROEGER & HELEN JEAN CROEGER JT TEN      5024 N KILDARE AVE                                                                               CHICAGO           IL    60630‐2605

DONALD C CURRIER & CLAIRE A CURRIER JT TEN        45 PACKARD DR                                                                                    BRAINTREE         MA    02184‐3918
DONALD C DAVIS                                    5183 GREENVILLE RD                                                                               KINSMAN           OH    44428
DONALD C DAVIS & ANN M DAVIS JT TEN               244 GRAND ST                                                                                     MORGANTOWN        WV    26501‐7509
DONALD C DEANE                                    5155 N HIGH ST APT 44C                                                                           COLUMBUS          OH    43214‐1525
DONALD C DELORIMIER                               1209 MANOR DR                                                                                    JANESVILLE        WI    53545‐1414
DONALD C DENNY JR                                 4036 W CERES CT                                                                                  VISALIA           CA    93291‐8434
DONALD C DOTY                                     13240 CORAL ST                                                                                   ROCKWOOD          MI    48173‐9728
DONALD C DRURY                                    3285 AINTREE CHASE                                                                               CUMMING           GA    30040‐8101
DONALD C DRZIK                                    1117 TIMBER LANE                                                                                 DARIEN            IL    60561‐4131
DONALD C EISENBEIS                                6369 MILESTRIP ROAD                                                                              ORCHARD PARK      NY    14127‐1527
DONALD C ELLISON                                  2822 COOK ROAD                                                                                   SPRING VALLEY     OH    45370‐9716
DONALD C FAUGHN                                   324 LAKESIDE DR                                                                                  FAIRFIELD BAY     AR    72088‐2602
DONALD C FOGEL & PAULA M FOGEL JT TEN             9301 N HAMLIN                                                                                    DES PLAINES       IL    60016‐4239
DONALD C FOSS                                     11 MAPLE RIDGE LANE                                                                              WESTFORD          VT    05494‐9658
DONALD C FRECK                                    LAKEWOOD VLG BOX 117                                                                             MEDINA            NY    14103‐0117
DONALD C FRISBIE                                  9117 BENTON RD                                                                                   GRAND LEDGE       MI    48837‐9433
DONALD C GAGNE                                    16 SUNFLOWER LN                                                                                  BLUFFTON          SC    29909‐5087
DONALD C GALLARDY                                 705 GARDENWOOD DR                                                                                LOCKPORT          NY    14094‐6378
DONALD C GIANGIACOMO                              15 N YORK ST                                                                                     POTTSTOWN         PA    19464‐5422
DONALD C GIBSON JR                                325 S WALDEN LN                         APT D                                                    WELLINGTON        OH    44090‐9383
DONALD C GLOMB TR DONALD P GLOMB TRUST UA         21453 GLACIER DRIVE                                                                              MACOMB            MI    48044‐1841
5/31/94
DONALD C GOODFELLOW                               6660 KINSMAN RD                                                                                  PITTSBURGH        PA    15217‐1311
DONALD C GREEN                                    15156 THORN TWP RD 403 NW                                                                        THORNVILLE        OH    43076
DONALD C GWINNELL                                 420 BOB FERRELL COURT                                                                            FREEHOLD          NJ    07728‐9049
DONALD C H KING                                   C/O FLORENCE NAVIDA BISHOP BOSTON       3250 WHILSHIRE BLVD   STE 915                            LOS ANGELES       CA    90010
DONALD C HARRIS                                   706 WIMBERLY DR                                                                                  GREENSBORO        NC    27410‐4313
DONALD C HART                                     C/O DOROTHY SIMONS POA                  38 PRESTON AVE                                           BRIDGETON         NJ    08302‐1425
DONALD C HICKS                                    170 CLAUDE CARROLL RD                                                                            HOHENWALD         TN    38462‐5528
DONALD C HIRST                                    1650 S RAISINVILLE RD                                                                            MONROE            MI    48161‐9045
DONALD C HODGESON                                 9185 N LINDEN RD                                                                                 CLIO              MI    48420‐8524
DONALD C HOLMES                                   696 LEESBURG RD                                                                                  PELAHATCHIE       MS    39145
DONALD C HOMAN                                    1025 N PINE ST                                                                                   JANESVILLE        WI    53545‐1542
DONALD C HUMPHREY                                 6154 ROUTE 5 & 20                                                                                CANANDAIGUA       NY    14424
DONALD C IVERS JR                                 4345 QUAIL RUN                                                                                   DORR              MI    49323‐9395
DONALD C JACKETT                                  9889 GENESEE RD                                                                                  MILLINGTON        MI    48746‐9762
DONALD C JOCHEM & PATRICIA M JOCHEM JT TEN        2262 CALLE CUESTA                                                                                SANTA FE          NM    87505‐5238
                                              09-50026-mg                    Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DONALD C JOHNSON                                    2807 BRINDLE COURT                                                                               NORTHBROOK         IL    60062
DONALD C JOHNSTON & J JUNE JOHNSTON JT TEN          235 VILLAGE CT                                                                                   WASHINGTON         PA    15301‐5274
DONALD C JOSEPH                                     1541 MARCELLE AVE                                                                                FINDLAY            OH    45840‐7054
DONALD C KIFER & EDITH V KIFER TR UA 02/18/94 KIFER 17181 THOMPSON RD                                                                                THOMPSON           OH    44086‐8709
FAMILY TRUST
DONALD C KINCHELOE                                  4414 NW LAKE DR                                                                                  LEES SUMMIT        MO    64064‐1485
DONALD C KINEL                                      555 SANDPIPER LN                        APT 103                                                  WADSWORTH          OH    44281‐6281
DONALD C KISABETH & DORIS J KISABETH JT TEN         4511 SE 6TH PLACE #105                                                                           CAPE CORAL         FL    33904‐5538
DONALD C KRAMER                                     1413 GYPSY LANE                                                                                  NILES              OH    44446‐3237
DONALD C KREILACH                                   1037 NOKOMIS WY                                                                                  WATERFORD          MI    48328‐4251
DONALD C KRUG & ROSELINE D KRUG JT TEN              2615 WHITTIER DR                        HERITAGE PARK                                            WILMINGTON         DE    19808‐3713
DONALD C KUGEL                                      1318 WEST BARNES                                                                                 LANSING            MI    48910‐1212
DONALD C KUGEL & JOHNNIE C KUGEL JT TEN             1318 WEST BARNES                                                                                 LANSING            MI    48910‐1212
DONALD C KUKUK SR                                   8570 MARSH ROAD                                                                                  ALGONAC            MI    48001‐3902
DONALD C LACHER                                     1372 HERMOSA DRIVE                                                                               CORONOA            CA    92879‐8544
DONALD C LAFOREST                                   13312 TUSCOLA ROAD                                                                               CLIO               MI    48420‐1870
DONALD C LAW & JACQUELINE W LAW JT TEN              37793 CEDAR RD                          RUMBLY MARSH                                             SELBYVILLE         DE    19975
DONALD C LE MASTER                                  PO BOX 799                                                                                       GRAYSON            KY    41143‐0799
DONALD C LONG                                       RT #7 BOX 49                                                                                     MANSFIELD          OH    44904‐9807
DONALD C LOVE & DEANN C LOVE JT TEN                 641 SPRUCE STREET                                                                                PLAINFIELD         IN    46168‐1667
DONALD C LYLES                                      37 MILLBROOK DR                                                                                  WILLINGBORO        NJ    08046‐3152
DONALD C MANNING & MRS MILDRED L MANNING JT         404 HOMESTEAD AVE                                                                                SWANZY             NH    03446‐3026
TEN
DONALD C MANSBERRY                                  1706 HAMILTON AVE                                                                                FLINT              MI    48506‐4402
DONALD C MASSON                                     2421 S SHERIDAN RD                                                                               LENNON             MI    48449‐9701
DONALD C MATTICE                                    40 FLINT HILL RD                                                                                 LE ROY             NY    14482‐9506
DONALD C MAXCY                                      102 HAMPTON CT                                                                                   VICTORIA           TX    77904‐2219
DONALD C MC CURDY                                   PO BOX 1184                                                                                      POWELL             TN    37849‐1184
DONALD C MC GOWEN                                   3305 MUIRFIELD CIRCLE                                                                            WHITE LAKE         MI    48383‐2354
DONALD C MCALLISTER                                 296 WEST RIDGE RD                                                                                NOTTINGHAM         PA    19362‐9160
DONALD C MCDONALD                                   C/O GAUTIERE                            772 THE HIDEOUT                                          LAKE ARIEL         PA    18436‐9799
DONALD C MERRITT                                    2919 HARFORD RD                                                                                  HYDES              MD    21082‐9601
DONALD C MERSINO                                    1410 E BARNES LK RD                                                                              COLUMBIAVILLE      MI    48421‐9742
DONALD C MEYERS                                     281 7TH ST SW                                                                                    STRASBURG          OH    44680‐9750
DONALD C MICHAELS & FRANCES L MICHAELS JT TEN       6209 SILVER LAKES DR W                                                                           LAKELAND           FL    33810‐7439

DONALD C MILNER                                    35738 SCHMIT                                                                                      NEW BALTIMORE      MI    48047‐2440
DONALD C MILNER                                    35738 SCHMID                                                                                      NEW BALTIMORE      MI    48047‐2440
DONALD C MOREY                                     7250 POPPLEWOOD DRIVE                                                                             DAVISON            MI    48423‐9546
DONALD C MORRISON MARJORIE ANN MORRISON &          271 UNION CITY RD                                                                                 COLDWATER          MI    49036‐9229
LINDA LEW MORRISON JT TEN
DONALD C MULLINS & LINDA MAY MULLINS JT TEN        51170 JUDD ROAD                                                                                   BELLEVILLE         MI    48111‐9347

DONALD C NICHOLS                                   4635 LUM RD                                                                                       LUM                MI    48412‐9383
DONALD C NOLTE                                     323 HAMPTON RD                                                                                    WILMINGTON         DE    19803‐2425
DONALD C ORR                                       2521 NORTH RIVER RD NE                                                                            WARREN             OH    44483‐2637
DONALD C OSSMAN                                    19975 APPOLINE                                                                                    DETROIT            MI    48235‐1118
DONALD C OVERTON & TAMMY A OVERTON JT TEN          306 KANAWAH RUN                                                                                   YORKTOWN           VA    23693‐2763

DONALD C OVERY TR DONAL C OVERY REV LIV TRUST UA 6175 E SURREY RD                                                                                    BLOOMFIELD HILLS   MI    48301‐1651
05/03/01
DONALD C PATRICK                                 321 LAMSON ST                                                                                       GRAND LEDGE        MI    48837‐1711
DONALD C PAUL                                    361 AUGUSTINE ST                                                                                    ROCHESTER          NY    14613‐1309
DONALD C PEARSON & JANET R PEARSON JT TEN        3116 LINDENWOOD LN                                                                                  GLENVIEW           IL    60025‐2651
DONALD C PERRY                                   2475 WHISPERING PINES CT                                                                            SPRING HILL        FL    34606‐7041
DONALD C PETERSON TR PETERSON FAM LIVING TRUST 160 CAYMUS CT                                                                                         SUNNYVALE          CA    94086‐7023
UA 01/08/97
DONALD C PHILLIPS                                1445 CLEAR BROOK DR                                                                                 DAYTON             OH    45440‐4335
DONALD C REYNOLDS                                802 HAMLIN PARMA TOWNLINE RD                                                                        HILTON             NY    14468‐9737
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DONALD C REYNOSA                                10318 GOTHIC AVE                                                                            GRANADA HILLS   CA    91344‐6821
DONALD C RICHARDS                               7 SMITH AVENUE                                                                              NEWPORT         RI    02840‐1725
DONALD C ROCHE                                  25 SOUTH ST                        APT A8                                                   MARCELLUS       NY    13108‐1322
DONALD C ROGERS                                 1015 S RAYMOND ROAD                                                                         BATTLE CREEK    MI    49014‐8202
DONALD C SCHMIDT                                4550 N ZIMMER RD                                                                            WILLIAMSTON     MI    48895‐9609
DONALD C SHALLCROSS & J CONSTANCE SHALLCROSS JT 11425 SOUTH COLLEGE AVENUE                                                                  TULSA           OK    74137‐8727
TEN
DONALD C SHANE                                  1410 LONG VIEW DR                                                                           PEARLAND        TX    77581‐6390
DONALD C SIEBER & MARILYN A SIEBER JT TEN       6339 S 30TH ST                                                                              KALAMAZOO       MI    49048‐9346
DONALD C SODORA & ALICE G SODORA JT TEN         15737 LIBERTY CT                                                                            ORLAND PARK     IL    60462‐4557
DONALD C SOLOMON                                3616 SEAWAY DR                                                                              LANSING         MI    48911‐1911
DONALD C SONGSTAD                               137 CROSWELL ROAD                                                                           COLUMBUS        OH    43214‐3007
DONALD C SPAULDING                              8 TATOMUCK RD EAST                                                                          POUND RIDGE     NY    10576‐1433
DONALD C SPELL                                  6001 E CR 850 N                                                                             MOORELAND       IN    47360‐9779
DONALD C SPELL                                  6001 W 850 N                                                                                MOORELAND       IN    47360
DONALD C SPENCER                                2295 WILSON RD                                                                              CURRAN          MI    48728‐9509
DONALD C STEWART                                2429 NORBERT ST                                                                             FLINT           MI    48504‐4682
DONALD C STRUGALA                               945 KENILWORTH                                                                              CLAWSON         MI    48017‐1018
DONALD C SWINDLE                                46 RAINBOW LANE                                                                             MOORESVILLE     IN    46158‐8204
DONALD C TALLEY                                 208 N GREEN ST STE 400                                                                      LONGVIEW        TX    75601
DONALD C TAYLOR & CHRISTINE L TAYLOR JT TEN     1814 SO QUEEN WAY                                                                           LAKEWOOD        CO    80232‐6176
DONALD C THAYER & JUNE THAYER JT TEN            15 VALLEY LANE                                                                              AVON            NY    14414‐1040
DONALD C THOMAS                                 2285 NEBRASKA                                                                               SAGINAW         MI    48601‐5328
DONALD C THORN                                  423 EVANS AVE                                                                               SAN ANTONIO     TX    78209‐3725
DONALD C TINGLER & ESTA B TINGLER JT TEN        HC 68 BOX 30                                                                                SMITHVILLE      WV    26178‐9731
DONALD C TOOMEY                                 3040 FLEMING ROAD                                                                           FOWLERVILLE     MI    48836‐9552
DONALD C TRIBIT                                 173 MERCER MILL RD                                                                          LANDENBERG      PA    19350‐9124
DONALD C VEVERKA                                5306 BRAINARD RD                                                                            SOLON           OH    44139‐1108
DONALD C VIBBER & DAVID E VIBBER JT TEN         37 POWDER RIDGE RD                                                                          ENFIELD         CT    06082‐4711
DONALD C WEAVER                                 659 WEBB DR                                                                                 SPARTANBURG     SC    29303‐2513
DONALD C WEBSTER                                1314 LILAC LN                                                                               WATERFORD       MI    48327‐4410
DONALD C WILLS TR UA 03/13/92 DONALD C WILLS    215 W FLINT ST                                                                              DAVISON         MI    48423
TRUST
DONALD C WINKLEY                                6317 BOCA RATON DR                                                                          CRP CHRISTI     TX    78413‐2617
DONALD C WOOD                                   2900 CAMINO TASSAJARA                                                                       DANVILLE        CA    94506‐6103
DONALD C WYSONG                                 2865 E F 30                                                                                 MIKADO          MI    48745‐9615
DONALD C YOUNG                                  39                                 7348 N STATE RD                                          LIZTON          IN    46149‐9541
DONALD C YOUNG                                  390 HERITAGE DR                                                                             MILFORD         MI    48381
DONALD CAMPBELL                                 3090 N SARSAPARILLA PL                                                                      TUCSON          AZ    85749‐9237
DONALD CAREY                                    1723 DOGLEG DR                                                                              VENICE          FL    34285‐4567
DONALD CAREY PRITT                              687 SPRUCEY LN                                                                              MOUNTAIN CITY   TN    37683
DONALD CARPENTER                                500 HWY 254                                                                                 CLEVELAND       GA    30528‐5181
DONALD CARTER                                   4301 NORFOLK AVE                                                                            BALTIMORE       MD    21216‐1137
DONALD CAUDILL & JANICE CAUDILL JT TEN          1148 BIT PLACE                                                                              W CARROLLTON    OH    45449‐2116
DONALD CAUGHEY                                  197 COUNTRY WAY DR                                                                          LINCOLNTON      NC    28092‐6230
DONALD CELMER                                   39413 HEATHERHEATH DRIVE                                                                    CLINTON         MI    48038‐2644
DONALD CHESS                                    1311 SIFLY ROAD                                                                             ORANGEBURG      SC    29118‐1333
DONALD CHIPKIN & NANETTE CHIPKIN JT TEN         608 N DOUGLASS AVE                                                                          MARGATE         NJ    08402‐1933
DONALD CHURCH JR                                104 CLARENCE ST                                                                             HOLLY           MI    48442‐1414
DONALD COOPER                                   9115 BENNY GOODMAN WAY                                                                      WINDSOR         CA    95492‐7562
DONALD CORYELL & CHRISTINE CORYELL JT TEN       337 BELLA VISTA LN                                                                          MARTINDALE      TX    78655‐3920
DONALD COVER                                    177 DAVIE ST                                                                                COOLEEMEE       NC    27014
DONALD COX                                      16904 WASHBURN                                                                              DETROIT         MI    48221‐3406
DONALD CRAWFORD & MARLO MARIE CRAWFORD JT       708 BRANTENBURG WAY                                                                         LUTZ            FL    33549‐4523
TEN
DONALD CRYER                                    383 HARRISBURG HILL RD                                                                      ALEXANDRIA      KY    41001‐9150
DONALD CUNNINGHAM                               13182 SR 104                                                                                ASHVILLE        OH    43103‐9643
DONALD D ALLEN                                  35517 79TH AVENUE                                                                           LAWTON          MI    49065‐9424
DONALD D ALLEN                                  9309 W BRISTOL                                                                              SWARTZ CREEK    MI    48473‐8559
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DONALD D ALVERSON                               4846 TREAT HWY                                                                               ADRIAN          MI    49221‐8640
DONALD D AQUILA & MRS BARBARA A AQUILA JT TEN   53 HOLTON ST                                                                                 SEWAREN         NJ    07077‐1434

DONALD D ARNOLD                                 10140 S AIRPORT RD                                                                           ATLANTA         MI    49709‐9002
DONALD D BAETEN & FLORENCE G BAETEN JT TEN      1361 GRAYSTONE COURT                                                                         DE PERE         WI    54115‐8272
DONALD D BALMER                                 4651 PARES RD                                                                                DIMONDALE       MI    48821‐9727
DONALD D BARNETT JR                             3310 ELM SWAMP RD                                                                            LEBANON         IN    46052‐8238
DONALD D BARTON                                 2616 LONE RD                                                                                 FREELAND        MI    48623‐7802
DONALD D BELL                                   38350 SHELBY DR                                                                              WESTLAND        MI    48186‐5493
DONALD D BELLER                                 4864 OMENA CT                                                                                STERLING HGTS   MI    48314‐1947
DONALD D BOIVIN                                 P O BOX1413                                                                                  SAN JOSE        CA    95109‐1413
DONALD D BRANSON                                5981 BIRKDALE DR                                                                             WEST CHESTER    OH    45069‐4972
DONALD D BROWER                                 4669 MARTIN ST                                                                               HAMILTON        MI    49419‐9704
DONALD D BROWN                                  609 N HENDRICKS AVE                                                                          MARION          IN    46952‐2317
DONALD D BRUNDAGE                               34 WILLIAMS ST                                                                               HORNELL         NY    14843‐1421
DONALD D BUCHANAN                               RR 2 BOX 187                                                                                 ROACHDALE       IN    46172‐9729
DONALD D BUCHANAN                               136 TARA LN                                                                                  GOODLETTSVLLE   TN    37072
DONALD D BURGEN                                 7442 MCCOY ST                                                                                SHAWNEE         KS    66227‐2623
DONALD D BURROWS                                472 LILAC DRIVE                                                                              LOS OSOS        CA    93402‐3748
DONALD D CAETANO                                9 VICTOR RD                                                                                  BEACON          NY    12508‐3936
DONALD D CARLSON TR MARY ANN CARLSON REV LIV TR 11480 COUNTY ROAD                   34 NW                                                    ALEXANDRIA      MN    56308
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DONALD D CLARK                                  12 WESLEYAN CT                                                                               FAIRFIELD       OH    45014‐2922
DONALD D CLAYCOMB                               42 COMMUNITY DR                                                                              AVON LAKE       OH    44012‐1593
DONALD D COLE                                   7411 MUNSEY ROAD                                                                             CORRYTON        TN    37721‐4703
DONALD D COX                                    1384 E RICHMOND AVE                                                                          FRESNO          CA    93720‐2241
DONALD D CRAIG                                  2121 NORTH PURDUM STREET                                                                     KOKOMO          IN    46901‐1442
DONALD D DAVIDSON                               351 JENKINS RD                                                                               FORSYTH         MO    65653‐5233
DONALD D DAVIS                                  458 VAUGHAN DRIVE N                                                                          SATSUMA         AL    36572‐2858
DONALD D DEHMEL                                 4389 E VIENNA RD                                                                             CLIO            MI    48420‐9753
DONALD D DELANEY                                44675 ROBSON                                                                                 BELLEVILLE      MI    48111‐1342
DONALD D DOMBROWSKI                             4294 GLOVER RD                                                                               ALMONT          MI    48003‐8805
DONALD D DOMBROWSKI & SHARON R DOMBROWSKI 4294 GLOVER RD                                                                                     ALMONT          MI    48003‐8805
JT TEN
DONALD D DULEY                                  3030 DONNELLY                                                                                KANSAS CITY     MO    64129‐1547
DONALD D DUMLER                                 2078 N IRISH RD                                                                              DAVISON         MI    48423‐9560
DONALD D ENDICOTT                               15615 SWEET BRIAR DRIVE                                                                      BASEHOR         KS    66007
DONALD D FARRIS                                 303 ALLEGHENY AVE                                                                            DALLAS          GA    30132‐0962
DONALD D FERRIS                                 N 7960 NORTON RD                                                                             GOULD CITY      MI    49383‐9089
DONALD D FOSTER & DAVID P FOSTER & BARBARA E    5416 HOPKINS RD                                                                              FLINT           MI    48506‐1560
JACK JT TEN
DONALD D FRIED                                  40 GLENHURST DR                                                                              OBERLIN         OH    44074‐1435
DONALD D FRY & MRS MARY E FRY JT TEN            4316 E ADDINGTON DR                                                                          ANAHEIM         CA    92807‐2902
DONALD D GAZIE JR                               4114 WEDDELL ST                                                                              DEARBORN HTS    MI    48125‐3030
DONALD D GERBER                                 2806 NE US GRANT PL                                                                          PORTLAND        OR    97212‐5069
DONALD D GILBERT                                2029 LOGAN AVE                                                                               HAMILTON        OH    45015‐1022
DONALD D GONYON                                 C/O MERKLE                          1377 PAREE ST #516                                       NEWPORT         MI    48166‐9242
DONALD D GRAY                                   11492 CELINA RD                                                                              PEYTONSBURG     KY    42717‐8717
DONALD D GREEN                                  429 EILEEN DR                                                                                ROCHESTER       NY    14616‐2242
DONALD D HAWS                                   182 E 6715 SOUTH                                                                             MIDVALE         UT    84047
DONALD D HIATT                                  5414 CLARK ROAD BOX 184                                                                      BATH            MI    48808‐9756
DONALD D HILTS                                  3358 ELLIS PARK DR                                                                           BURTON          MI    48519‐1414
DONALD D HOYE                                   201 E 17TH COURT                                                                             BENTON          KY    42025
DONALD D JOHNSON & JOANN M JOHNSON JT TEN       7176 HOLCOMB RD                                                                              CLARKSTON       MI    48346‐1316

DONALD D KEMP                                   4213 N RAIDER RD                                                                             MIDDLETOWN      IN    47356‐9735
DONALD D KENNEDY                                1912 GROVE AVE                                                                               OWOSSO          MI    48867‐3921
DONALD D KERSHAW                                6 NORMANDY GARDENS                  LONDON ON                              N6H 4A9 CANADA
DONALD D KIDD                                   4159 COUNTY RD 144                                                                           TOWN CREEK      AL    35672
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DONALD D KINGSLEY                                128 N CHERRY ST                                                                              FLUSHING        MI    48433‐1602
DONALD D KONZ                                    5101 LINDBERG BOULEVARD                                                                      W CARROLLTON    OH    45449‐2770
DONALD D KORBIE                                  1120 S LAFAYETTE AVE                                                                         ROYAL OAK       MI    48067‐3131
DONALD D KUJAWA                                  1107 DARTMOOR AVE                                                                            PARMA           OH    44134‐3215
DONALD D LENNOX                                  2 STONECREEK LN                                                                              PITTSFORD       NY    14534‐1894
DONALD D LEWIS                                   8 S BERNHARDT AVE                                                                            GERALD          MO    63037‐1608
DONALD D LINDSEY & DOROTHY L LINDSEY JT TEN      C/O CAROL LINDSEY                   PO BOX 2295                                              CARLSBAD        CA    92018‐2295
DONALD D LINKE                                   3651 MARINER BLUFF CT                                                                        GAINESVILLE     GA    30506‐1098
DONALD D LUND                                    116 E MICHELLE LN                                                                            PENDLETON       IN    46064‐9537
DONALD D MAC DONALD                              25300 CONOVER DR                                                                             BAY VILLAGE     OH    44140‐2652
DONALD D MAC DONALD                              72 RIDGE RD S                       CRYSTAL BEACH ON                       L0S 1B0 CANADA
DONALD D MATTHEWS                                2047 8TH AVE                        #A                                                       OAKLAND         CA    94606‐2501
DONALD D MCCOY & MARY S MCCOY JT TEN             3 LEEDS RD                                                                                   CHILLICOTHE     OH    45601‐1045
DONALD D MCFARLAN & BEVERLY A MCFARLAN JT TEN    G‐1231 S ELMS RD                                                                             FLINT           MI    48532

DONALD D MCGIBBON                                6287 SO 150 EAST                                                                             JONESBORO       IN    46938‐9615
DONALD D MEADOR                                  PO BOX 223                                                                                   LA GRANGE       OH    44050‐0223
DONALD D MONOSAM                                 315 OVINGTON AVE 60                                                                          BROOKLYN        NY    11209
DONALD D MOURNING                                1270 E EVANS CREEK RD                                                                        ROGUE RIVER     OR    97537‐5514
DONALD D MOUSER                                  PO BOX 311                                                                                   MARBLE HILL     MO    63764‐0311
DONALD D MURPHY                                  11315 SW ESSEX DR                                                                            LAKE SUZY       FL    34269‐9102
DONALD D NELSON                                  1909 LYNBROOK LANE                                                                           ARLINGTON       TX    76015‐4009
DONALD D NORTON                                  7345 TIMOTHY DR                                                                              N RIDGEVILLE    OH    44039‐4130
DONALD D OLSON                                   207 N MAIN ST                                                                                ORFORDVILLE     WI    53576‐9748
DONALD D PARROTT                                 3302 MOORESVILLE RD                                                                          INDIANAPOLIS    IN    46221‐2246
DONALD D PATTERSON                               551 ARGYLE AVE                      MONTREAL QC                            H3Y 3B8 CANADA
DONALD D PAYNE                                   424 KENWAY DR                                                                                LANSING         MI    48917‐3039
DONALD D PEEK JR                                 2060 FAIRWAY LAKES DR                                                                        FRANKLIN        IN    46131‐8319
DONALD D PELCHER                                 9 IRIS LANE                                                                                  RANDOLPH        NJ    07869‐1503
DONALD D PELCHER & SALLY M PELCHER JT TEN        9 IRIS LANE                                                                                  RANDOLPH        NJ    07869‐1503
DONALD D PORTER                                  7784 GOODALL RD                                                                              DURAND          MI    48429‐9780
DONALD D PRESSLEY                                2561 JACKSON TRACE RD                                                                        OHATCHEE        AL    36271‐6007
DONALD D PYLE                                    307 S 27TH STREET                                                                            LEXINGTON       MO    64067‐1926
DONALD D RANDOLPH JR                             1351 BROWN HOLLOW DR                                                                         ST JOHNS        MI    48879‐8728
DONALD D RICHMOND                                3042 EASTGATE                                                                                BURTON          MI    48519‐1551
DONALD D ROBERTS                                 807 S BELLE VISTA AVE                                                                        YOUNGSTOWN      OH    44509‐2141
DONALD D SCHROCK                                 C/O EDWARD BRELAN                   4776 MT ETNA DR                                          SAN DIEGO       CA    92117‐3918
DONALD D SCHULTZ                                 1116 HARMONY CIRCLE N E                                                                      JANESVILLE      WI    53545‐2006
DONALD D SHIRLEY                                 11711 LOCHRIDGE DR                                                                           AUSTIN          TX    78758‐3539
DONALD D SHOTWELL                                1320 N KNIGHT RD                                                                             ESSEXVILLE      MI    48732‐9749
DONALD D SKOWBO                                  3109 GRANDVIEW DR                                                                            SAN ANGELO      TX    76904‐7599
DONALD D SMITH                                   37708 AMBER DRIVE                                                                            FARM HILLS      MI    48331‐1105
DONALD D SMITH                                   PO BOX 855                                                                                   DRAIN           OR    97435‐0855
DONALD D SOLLEY                                  68 DUNLOP STREET                                                                             TN OF TONA      NY    14150‐7809
DONALD D SOUTHWELL & CINDY S COCCIA JT TEN       5587 COUNTY RD 0025                                                                          GARDEN          MI    49835
DONALD D SOUTHWELL & CINDY S COCCIA JT TEN       5587 COUNTY RD 0025                                                                          GARDEN          MI    49835
DONALD D STADNIKA                                2945 TILDOW DR                                                                               SAGINAW         MI    48603‐3022
DONALD D STETTNISCH & JUDY M STETTNISCH JT TEN   1164 YANKEE RD                                                                               BARNES          KS    66933‐9445

DONALD D STILES                                  6819 CHERRY                                                                                  KANSAS CITY     MO    64131‐1344
DONALD D STOUT II                                157 CANTERBURY ROAD                                                                          PENDLETON       IN    46064‐8719
DONALD D TEEGARDEN                               702 HILLCOURT                                                                                PLEASANT HILL   MO    64080‐7562
DONALD D THOFTNE                                 2510 CEDAR POINTE DR                                                                         JANESVILLE      WI    53546‐5397
DONALD D THORSBY                                 14103 CLIO RD                                                                                CLIO            MI    48420‐8804
DONALD D TOWNER                                  RR 1 BOX 443                                                                                 GREENWOOD       WV    26415‐9605
DONALD D VEDA & MARY LYNN VEDA JT TEN            162 BELMONT DR                                                                               RAMSAY          MI    49959
DONALD D WADE                                    2325 CORINTH CHURCH RD                                                                       BOUWMAN         GA    30624‐1710
DONALD D WHITMUS                                 4413 MT HWY 13                                                                               WOLF POINT      MT    59201‐7004
DONALD D WILLIS                                  7205 NORMA ST                                                                                FT WORTH        TX    76112‐5825
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DONALD D WILMOTH                               119 S 68TH ST                                                                                        BROKEN ARROW   OK    74014‐6953
DONALD D WILSON                                3116 ERINLANE                                                                                        INDEPENDENCE   MO    64055‐2760
DONALD D WRIGHT                                9811 TECUMSEH CLINTON HWY                                                                            TECUMSEH       MI    49286‐9602
DONALD D WRIGHT                                R R1 BOX 471                                                                                         GREENFIELD     IL    62044
DONALD D WRIGHT & JUNE E WRIGHT JT TEN         RR1 BOX 471                                                                                          GREENFIELD     IL    62044‐9795
DONALD DALE ALEXANDER                          24398 JERKWATER RD                                                                                   SHERIDAN       IN    46069‐9613
DONALD DARWIN AUSTIN                           2173 S CENTER RD APT 137                                                                             BURTON         MI    48519‐1809
DONALD DAUGHERTY                               4921 FOND DU LAC TRAIL                                                                               MADISON        WI    53705‐4816
DONALD DAVID RYNER & RAMONA M RYNER JT TEN     9000 HWY 192 LOT 288                                                                                 CLERMONT       FL    34714‐8220

DONALD DAVID SLOSBURG                          10040 REGENCY CIRCLE                  STE 200                                                        OMAHA          NE    68114‐3734
DONALD DAVIS                                   3830 CARVER RD                                                                                       MODESTO        CA    95356‐9601
DONALD DEAN VON ESCHEN                         160 DESAULNIERS ST                    LAMBERT ON                             J4P 1M3 CANADA
DONALD DEJEAN                                  2420 E TRAVOIS                                                                                       PAHRUMP        NV    89048‐7835
DONALD DELANEY                                 3717 BRISTOL DR                                                                                      DEXTER         MI    48130‐1076
DONALD DELEHANT                                1205 SOUTH MAPLE                                                                                     SHENANDOAH     IA    51601‐2128
DONALD DEVREE                                  230 S STATE APT 140                                                                                  ZEELAND        MI    49464‐1696
DONALD DI FRANCESCO                            601 GRAYTON RD                                                                                       BEREA          OH    44017‐1104
DONALD DILEO                                   4735 WILMER ST                                                                                       CARMICHAEL     CA    95608‐1038
DONALD DOBBERT & GLORIA DOBBERT JT TEN         PO BOX 2237                                                                                          RIALTO         CA    92377‐2237
DONALD DOBINE                                  19324 RYAN                                                                                           DETROIT        MI    48234‐1922
DONALD DOGGETT & JOAN DOGGETT JT TEN           51 TOMAHAWK ST                                                                                       YORKTOWN       NY    10598‐6311
                                                                                                                                                    HEIGHTS
DONALD DONALDSON                               4201 SWEETBRIAR                                                                                      SAGINAW        MI    48603‐2069
DONALD DOUGLAS DEMARIA                         G5494 W BALDWIN RD                                                                                   SWARTZ CREEK   MI    48473
DONALD DOUGLASS ANDERSON                       3510 CLAREMONT AVE                                                                                   CHATTANOOGA    TN    37412‐1704
DONALD DUANE NICHOLS                           4257 E VIENNA RD                                                                                     CLIO           MI    48420‐9752
DONALD DUKE                                    15650 PORTIS                                                                                         PLYMOUTH       MI    48170‐4808
DONALD DYER TR UA 06/04/87 DONALD DYER         7913 WESTGATE DR                                                                                     LENEXA         KS    66215‐2636
DONALD E ADAMS                                 9745 SIESTA KEY                                                                                      PORTAGE        MI    49002‐3916
DONALD E ADAMS & SANDRA K ADAMS JT TEN         9745 SIESTA KEY                                                                                      PORTAGE        MI    49002‐3916
DONALD E AGNEW                                 4036 OAKFIELD DR                                                                                     INDIANAPOLIS   IN    46237‐3850
DONALD E ALLEN                                 1745 6TH ST                                                                                          MARYSVILLE     MI    48040‐2206
DONALD E ALLEN                                 17725 WOOD STREET                                                                                    MELVINDALE     MI    48122‐1077
DONALD E ALTHEIDE                              97 LOCUST                                                                                            HIGHLAND       MI    48357‐5016
DONALD E AMBY                                  3154 S 124TH ST                                                                                      MILWAUKEE      WI    53227‐3802
DONALD E ANDERSON                              C/O CAROLYN JOHNSON                   6177 E LAKE RD                                                 BURT           NY    14028‐9705
DONALD E ANDERSON                              1740 NEW VAUGHN RD                                                                                   COLUMBIA       TN    38401‐8194
DONALD E ANDREWS                               877 CHILI CLDWTR                                                                                     ROCHESTER      NY    14624‐3845
DONALD E APT                                   625 POST OAK DR                                                                                      PLANO          TX    75025‐6114
DONALD E AUSTIN                                819 COUNTY RD 28                                                                                     S NEW BERLIN   NY    13843‐2233
DONALD E BACK                                  SUITE 273                             2 OLD BROMPTON RD    LONDON            SW7 3DQ GREAT BRITAIN
DONALD E BACKENSTO                             36 CLEVER LANE                                                                                       LEXINGTON      OH    44904‐1208
DONALD E BAER                                  1189 APRIL DRIVE                      MISSISSAUGA ON                         L5J 3J6 CANADA
DONALD E BAILEY & CHERRILL A BAILEY JT TEN     3317 MICHELANGELO COURT                                                                              LAS VEGAS      NV    89129
DONALD E BALDECK & EDITH BALDECK JT TEN        122 OATKA AVE                                                                                        MUMFORD        NY    14511
DONALD E BARKER                                H CHARLS 70 PO BOX 303                                                                               SANDY HOOK     KY    41171‐0303
DONALD E BARTON                                1040 WOODS VIEW CT                                                                                   MIAMISBURG     OH    45342‐3873
DONALD E BASTADY                               2187 WEST MORTON                                                                                     PORTERVILLE    CA    93257‐2680
DONALD E BATES                                 610 S FRONT ST                                                                                       CHESANING      MI    48616‐1418
DONALD E BATTY                                 50 HILLSIDE ROAD                                                                                     LINCOLN        RI    02865‐3403
DONALD E BEACH                                 4351 DORTHEA ST                                                                                      YORBALINDA     CA    92886‐2623
DONALD E BECK                                  4022 GREEN MEADOW DR                  APT 1808                                                       SAN ANGELO     TX    76904‐9773
DONALD E BEDARD                                2311 BERWYN RD                                                                                       CHALFONTE      DE    19810‐3522
DONALD E BENTON                                1150 N LEAVITT ROAD                                                                                  LEAVITTSBURG   OH    44430‐9642
DONALD E BERDICK JR                            764 VOLUNTOWN RD                                                                                     GRISWOLD       CT    06351‐2644
DONALD E BERNARD & MARLENE R BERNARD JT TEN    5321 VINEYARD LANE                                                                                   FLUSHING       MI    48433‐2437

DONALD E BITELY                                PO BOX 8794                                                                                          KENTWOOD       MI    49518‐8794
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DONALD E BOHL                                  4506 PENGELLY                                                                               FLINT             MI    48507‐5445
DONALD E BOTKIN                                10208 MILE ROAD                                                                             NEW LEBANON       OH    45345‐9664
DONALD E BOTKIN & MARTHA J BOTKIN JT TEN       10208 MILE ROAD                                                                             NEW LEBANON       OH    45345‐9664
DONALD E BOWLES                                P O BOX 1999                                                                                MADISONVILLE      KY    42431
DONALD E BOWYER & CATHERINE M BOWYER JT TEN    BOX 96                                                                                      ORESTES           IN    46063‐0096

DONALD E BOYLAN                                3013 FERGUSON ROAD                                                                          HUNTINGTON        WV    25705‐1606
DONALD E BOYLE                                 201 1/2/ N COOK RD                                                                          MUNCIE            IN    47303‐4580
DONALD E BRADBURY                              101 S WILLOW GROVE COURT                                                                    ST PETERS         MO    63376‐4616
DONALD E BRAY                                  9812 N COUNTY ROAD 200 E                                                                    BRAZIL            IN    47834‐7703
DONALD E BREECE                                193 N PLEASANT VALLEY RD                                                                    MILFORD           MI    48380‐1223
DONALD E BRICE                                 15056 DUFFIELD RD                                                                           BYRON             MI    48418‐9039
DONALD E BRINKMAN                              11900 ARALIA CT                                                                             SHELBY TOWNSHIP   MI    48315‐3301

DONALD E BRODRICK                              10406 ROBERT LANE                                                                           PLYMOUTH          MI    48170‐3807
DONALD E BROSE                                 232 TERRACE DRIVE                                                                           MANKATO           MN    56001‐5352
DONALD E BRYZEAL                               1486 FENWAY DR                                                                              FENTON            MO    63026‐2370
DONALD E BUCHER                                1150 E MAPLE AVE                                                                            MIAMISBURG        OH    45342‐2516
DONALD E BUCKNER                               PO BOX 2788                                                                                 COOKEVILLE        TN    38502‐2788
DONALD E BUNDY JR                              5412 NW HOUSTON LAKE DR                                                                     KANSAS CITY       MO    64151‐3468
DONALD E BUNDY JR & AMY L BUNDY JT TEN         5412 NW HOUSTON LAKE DRIVE                                                                  KANSAS CITY       MO    64151
DONALD E BURGIN                                PO BOX 453                         CENTAL PARK STATION                                      BUFFALO           NY    14215‐0453
DONALD E BURTON & LORA J BURTON JT TEN         251 MERRIWEATHER RD                                                                         GROSSE POINTE     MI    48236‐3428
DONALD E BUSHEK JR                             9945 MEADOW AVE                                                                             SAINT LOUIS       MO    63125‐2951
DONALD E BUSSEY                                14844 SAN ARDO DR                                                                           LA MIRADA         CA    90638‐4634
DONALD E CAMPBELL                              2433 JOHN GLENN RD                                                                          DAYTON            OH    45420‐2526
DONALD E CARRIER                               9392 HACKER FARM LANE                                                                       CENTERVILLE       OH    45458‐5322
DONALD E CARTWRIGHT                            PO BOX 1327                                                                                 IDAHO SPRINGS     CO    80452‐1327
DONALD E CHAPMAN                               RT 1 RT #1 BOX 311                                                                          HILTONS           VA    24258‐9782
DONALD E CHEEKS                                716 WESTMINSTER CT                                                                          AUGUSTA           GA    30909‐3448
DONALD E CLARK                                 2137 SUNNYTHORN RD                                                                          BALT              MD    21220‐4922
DONALD E CLARK                                 230 RAWSON DR                                                                               NEW CARLISLE      OH    45344‐1223
DONALD E CLINE                                 12 SAWTOOTH COURT                                                                           HILTON HEAD       SC    29926‐2543
                                                                                                                                           ISLAND
DONALD E COFFMAN                               3494 E LWR SPRINGBORO                                                                       WAYNESVILLE       OH    45068‐9548
DONALD E COLBY SR                              7804 CAMFIELD WAY                                                                           INDIANAPOLIS      IN    46236‐9699
DONALD E COLLINS                               196 HINMAN AVE                                                                              BUFFALO           NY    14216‐1110
DONALD E COMBE                                 7316 S INDEPENDENCE ST                                                                      LITTLETON         CO    80128‐4159
DONALD E CONRAD                                4124 FULTON AVE                                                                             MORAINE           OH    45439‐2122
DONALD E COOK                                  5049 S GRAVEL ROAD                                                                          MEDINA            NY    14103‐9526
DONALD E CORSON                                86 LEDGEWOOD CIRCLE                                                                         ROCHESTER         NY    14615‐1402
DONALD E COX                                   5458 N DEWITT RD                                                                            ST JOHNS          MI    48879‐8411
DONALD E COX                                   20 COACH LOOP                                                                               BUFFALO           MO    65622‐6258
DONALD E CUMMINGS                              16 COWPERTHWAITE SQUARE                                                                     WESTFIELD         NJ    07090‐4048
DONALD E CURBEAU                               111 SUNSET AVE                                                                              PENN YAN          NY    14527‐1827
DONALD E CZAPOR                                10 EARL COURT                                                                               TIPP CITY         OH    45371‐1209
DONALD E CZAPOR                                536 HATHAWAY TRAIL                                                                          TIPP CITY         OH    45371‐1107
DONALD E CZAPOR II                             536 HATHAWAY TRAIL                                                                          TIPP CITY         OH    45371‐1107
DONALD E DALY TOD MARSHALL A DALY SUBJECT TO   10337 OAK GROVE CIRCLE                                                                      BLOOMINGTON       MN    55431
STA TOD RULES
DONALD E DAVIES                                823 GLENGARRY GRESENT              NANAIMO BC                             V9R 6P3 CANADA
DONALD E DAVIS                                 4112 DOANE HWY                                                                              POTTERVILLE       MI    48876‐9715
DONALD E DAVIS CUST RYAN M DAVIS UTMA MD       15105 TRAILRIDGE RD                                                                         CUMBERLAND        MD    21502‐5846
DONALD E DAY                                   3580 RESERVE CT                                                                             HIGHLAND          MI    48356‐2350
DONALD E DEFORD                                8454 MIDLAND RD                                                                             FREELAND          MI    48623
DONALD E DEIBEL                                3864 FAIRMOOR ROAD                                                                          COLUMBUS          OH    43228‐2115
DONALD E DEIBEL & CAROL S DEIBEL JT TEN        3864 FAIRMOOR ROAD                                                                          COLUMBUS          OH    43228‐2115
DONALD E DEIS                                  2362 PATRICK BLVD                                                                           DAYTON            OH    45431‐8484
DONALD E DENMAN                                1045 CUTOFF RD                                                                              FARWELL           MI    48622‐9733
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DONALD E DETHLEFS                                 4237 A ST                                                                                      OMAHA             NE    68105‐3822
DONALD E DETHLEFS & ANN M DETHLEFS JT TEN         4237 A STREET                                                                                  OMAHA             NE    68105‐3822
DONALD E DICKERSON                                5857 PICKBOURNE                                                                                COMMERCE          MI    48382‐3056
DONALD E DILLING                                  1617 CHIDWELL ST NE                                                                            CANTON            OH    44714‐3205
DONALD E DILLMAN & MRS IVA JEANNE DILLMAN JT      208 MIAMI LAKES DR                                                                             MILFORD           OH    45150‐5800
TEN
DONALD E DITTY                                    152 DOGWOOD LN                                                                                 JACKSBORO         TN    37757‐2811
DONALD E DOPERALSKI                               10538 N GRANDVIEW LN                                                                           HAYWARD           WI    54843‐3449
DONALD E DOTSON                                   1570 E 545                                                                                     BRIGHTON          MO    65617‐7174
DONALD E DRIVER                                   5222 WEAVER LANE                                                                               GLOUCESTER        VA    23061‐3422
DONALD E EDEN                                     105 A TAYLORTOWN RD                                                                            BOONTON           NJ    07005‐8906
DONALD E ELLIOTT                                  2575 MIDLAND RD                                                                                BAY CITY          MI    48706‐9202
DONALD E ELLSWORTH II                             9481 E CLARENCE RD                                                                             HARRISON          MI    48625
DONALD E ENGLISH                                  423 BREDIN ST                                                                                  BUTLER            PA    16001‐4255
DONALD E ERB                                      17361 NORMANDY DR                                                                              MACOMB            MI    48044‐5578
DONALD E ESSIG CUST GARY WAYNE ESSIG UGMA IN      PO BOX 242                                                                                     TIPTON            IN    46072‐0242

DONALD E ESSIG CUST GARY WAYNE ESSIG UGMA MI      PO BOX 242                                                                                     TIPTON            IN    46072‐0242

DONALD E ETTER & SONYA A ETTER JT TEN             7610 W 93RD ST                                                                                 ZIONSVILLE        IN    46077‐8305
DONALD E EUGLEY                                   2690 WASHINGTON RD                                                                             WALDOBORO         ME    04572‐5647
DONALD E EVANS                                    4249 RICHLAND DR                                                                               DAYTON            OH    45432‐1415
DONALD E EVANS                                    3120 W 12TH ST                                                                                 ANDERSON          IN    46011‐2475
DONALD E FAIRBANKS & SHIRLEY E FAIRBANKS JT TEN   10224 GRANDVIEW DR                                                                             LA MESA           CA    91941‐6842

DONALD E FAULKNER                                 8 COUNTY ROAD 427                                                                              IUKA              MS    38852‐6310
DONALD E FERNER                                   700 ADAMS STREET                                                                               BYRON CENTER      MI    49315‐9512
DONALD E FEYERS                                   122 LENOX DRIVE                                                                                COLUMBIA          TN    38401‐7273
DONALD E FISH                                     120 ROLLINS RD                                                                                 CHATSWORTH        CA    91311‐7007
DONALD E FLOOD                                    2114 INDEPENDENCE RD                                                                           JANESVILLE        WI    53545‐0532
DONALD E FOLLEN                                   421 MARTIN AV                                                                                  LEBANON           TN    37087‐3532
DONALD E FOSTER                                   W 14405 CHARLES RD                                                                             NINE MILE FALLS   WA    99026‐9657
DONALD E FOWLER                                   3684 SHADOW LANE NE                                                                            ATLANTA           GA    30319‐2135
DONALD E FRAZIER                                  4638 GOODISON PLACE DRIV                                                                       ROCHESTER         MI    48306
DONALD E FRIDLINE & JEANNETTE A FRIDLINE JT TEN   9190 LAKE RIDGE DR                                                                             CLARKSTON         MI    48348‐4148

DONALD E FROHOCK                                  7414 E NIDO AVE                                                                                MESA              AZ    85208‐6277
DONALD E FRY                                      11130 CRAWFORD DR                                                                              PINCKNEY          MI    48169‐9755
DONALD E GANGER                                   2333 CAREW AVE                                                                                 KETTERING         OH    45420‐3426
DONALD E GARTIN & MRS CONSTANCE L GARTIN JT TEN   103 EXCHANGE                                                                                   MOUNT PLEASANT    IA    52641‐1228

DONALD E GEER                                     51 ZEFF DRIVE                                                                                  PITTSFIELD        MA    01201‐9112
DONALD E GEHRING                                  742 KNOLLWOOD VILLAGE                                                                          SOUTHERN PINES    NC    28387‐3005
DONALD E GELFAND TR DONALD E GELFAND TRUST UA     9172 N 81ST ST                                                                                 SCOTTSDALE        AZ    85258‐1737
02/23/96
DONALD E GIBSON                                   88 STEVENS DR                                                                                  HANNIBAL          MO    63401
DONALD E GILKERSON                                22009 N E 172 STREET                                                                           KEARNEY           MO    64060‐9333
DONALD E GILLELAND                                3035 GREEN VALLEY RD                                                                           SNELLVILLE        GA    30078
DONALD E GILMAN & BONNITA GILMAN JT TEN           RR4 BOX 1018                                                                                   LITTLE MARSH      PA    16950‐8746
DONALD E GILMORE JR                               1877 MOFFAT                                                                                    LEONARD           MI    48367‐3531
DONALD E GOOD & BARBARA S GOOD JT TEN             1276 WOOD CREEK DR                                                                             GREENWOOD         IN    46142‐8379
DONALD E GOODWIN                                  5765 KIRKRIDGE TRL                                                                             ROCHESTER         MI    48306‐2262
DONALD E GOUBEAUX                                 20 N GEBHART CHURCH RD                                                                         MIAMISBURG        OH    45342‐2732
DONALD E GRANDA                                   7355 W FRUMIN CT                                                                               WESTLAND          MI    48185‐2545
DONALD E GREGERSON                                1256 SOUTH ORCHARD ST                                                                          JANESVILLE        WI    53546‐5463
DONALD E HACKE                                    554 RIDGEWOOD DR                                                                               ANTIOCH           IL    60002‐3131
DONALD E HALLER                                   6177 HOWE RD                                                                                   MIDDLETOWN        OH    45042‐9601
DONALD E HANEY & DONA V HANEY JT TEN              721 CONTRABAND LN                                                                              COOKEVILLE        TN    38501‐3729
DONALD E HARBOUR                                  827 EARHEART AVE                                                                               GRAND PRARIE      TX    75051‐1576
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DONALD E HARNECK                                3630 DAVISON LAKE ROAD                                                                          ORTONVILLE     MI    48462‐9531
DONALD E HART                                   7504 VIENNA RD                                                                                  OTISVILLE      MI    48463‐9475
DONALD E HART JR                                3385 ANN DR                                                                                     FLUSHING       MI    48433‐2307
DONALD E HAYES                                  4366 HILLCREST DR                                                                               BELLBROOK      OH    45305‐1421
DONALD E HEBERLE & BEVERLY HEBERLE JT TEN       7063 FURNACE RD                                                                                 ONTARIO        NY    14519‐8927
DONALD E HEISEY                                 407 HICKORY DR                                                                                  BRADFORD       OH    45308‐1175
DONALD E HEITSMAN                               1436 TYLER ST                                                                                   JANESVILLE     WI    53545‐4939
DONALD E HENDERSHOT JR                          5774 LEMON RD                                                                                   BANCROFT       MI    48414‐9401
DONALD E HIGHLAND                               32736 HAZELWOOD                                                                                 WESTLAND       MI    48186‐8939
DONALD E HIRNER                                 272 GRANDVIEW DR                                                                                LAKE OZARK     MO    65049
DONALD E HOFFLER JR                             48 MARLAN DRIVE                                                                                 WHIPPANY       NJ    07981‐1279
DONALD E HOLBEN                                 167 KENTON PL                                                                                   HAMBURG        NY    14075‐4309
DONALD E HOLKO                                  1442 N PACKARD                                                                                  BURTON         MI    48509‐1645
DONALD E HOLLERBACH & MRS KAREN E HOLLERBACH    14123 SPRING KNOLL LANE                                                                         ROSHARON       TX    77583‐2166
JT TEN
DONALD E HOLSINGER                              9247 CENTER RD                                                                                  FENTON         MI    48430‐9388
DONALD E HOLSINGER & MURA A HOLSINGER JT TEN    9247 CENTER RD                                                                                  FENTON         MI    48430‐9388

DONALD E HOLTON                                 866 GAVORD RD                                                                                   STERLING       MI    48659‐9703
DONALD E HOUSE                                  4831 W MONROE                                                                                   CHICAGO        IL    60644‐4410
DONALD E HOWE                                   1016 ST CROIX AVE                      LONDON ON                              N6H 3X7 CANADA
DONALD E HOWE                                   2707 TOWER HILL LN                                                                              ROCHESTER HILLS MI   48306‐3065
DONALD E HOWE & MARQUITTA K HOWE JT TEN         718 7TH STREET                                                                                  COLUMBUS        IN   47201‐6322
DONALD E HOWELL                                 225 NEW YORK                                                                                    LAKE ORION      MI   48362‐2849
DONALD E HUNTER                                 301 INGLESIDE AVE                                                                               DAYTON          OH   45404‐1359
DONALD E HURLEY                                 ATTN ANNA M HURLEY                     ROUTE 3 BOX 304                                          MONTGOMERY CITY MO   63361‐9312

DONALD E IHRKE                                  1144 CHERRYLAWN                                                                                 PONTIAC        MI    48340‐1704
DONALD E INLOES                                 4469 E MT MORRIS ROAD                                                                           MT MORRIS      MI    48458‐8962
DONALD E JACOBS                                 322 ELDERWOOD PL                                                                                PLANO          TX    75075‐8912
DONALD E JAMES JR                               168 OAK PARK PLACE                                                                              PITTSBURGH     PA    15243‐1146
DONALD E JARVENPAA                              BOX 373                                                                                         CUTBANK        MT    59427‐0373
DONALD E JAY                                    5333 DELOACHE AVE                                                                               DALLAS         TX    75220
DONALD E JESSOP & MARY A JESSOP JT TEN          2517 LANTANA LANE                                                                               PALMETTO       FL    34221‐5916
DONALD E JOBSON                                 3197 HARMON LAKE RD                                                                             MAYVILLE       MI    48744‐9718
DONALD E JORDAN & MRS PHYLLIS J JORDAN JT TEN   3821 PORTRUSH WAY                                                                               AMELIA         OH    45102

DONALD E JUBB                                   3226 INGERSOLL RD                                                                               LANSING        MI    48906‐9149
DONALD E KALSO                                  C/O JOAN KALSO                         11620 HENDERSON ROAD                                     MONTAGUE       MI    49437‐9524
DONALD E KAMINSKI TR DONALD E KAMINSKI TRUST UA 315 N LA GRANGE RD                     APT 411                                                  LA GRANGE PK   IL    60526‐5004
10/09/00
DONALD E KANE                                   17 MARJORIE LN                                                                                  HILTON         NY    14468‐9728
DONALD E KEPHART                                12672 SALEM WARREN RD                                                                           SALEM          OH    44460‐9668
DONALD E KIMSEY                                 4912 W 72ND ST                                                                                  PRAIRIE VLGE   KS    66208‐2403
DONALD E KNOEPFEL                               4416 SCOTT HOLLOW                                                                               CULLEOKA       TN    38451‐3105
DONALD E KOEB                                   APT 6                                  3916 GRAVOIS AVE                                         ST LOUIS       MO    63116‐3657
DONALD E KOEB & MRS ELVIRA M KOEB JT TEN        APT 6                                  3916 GRAVOIS AVE                                         ST LOUIS       MO    63116‐3657
DONALD E KOSENA                                 4595 VALLEY DRIVE                                                                               HELENA         MT    59602‐9585
DONALD E KRAJNIK                                PO BOX 73                                                                                       MISHICOT       WI    54228‐0073
DONALD E KRING                                  ATTN DONALD E KRING JR                 6959 DEEPWATER PT RD                                     WILLIAMSBURG   MI    49690‐9535
DONALD E KRUSE                                  1534 N OGEMAW TRAIL                                                                             WEST BRANCH    MI    48661‐9713
DONALD E KUHN                                   12630 BRANDENBURG HOLLOW RD                                                                     MYERSVILLE     MD    21773‐9619
DONALD E KUJALA                                 PO BOX 301                                                                                      S ROCKWOOD     MI    48179‐0301
DONALD E KUTSKO                                 250 SOUTH BROAD STREET                                                                          CANFIELD       OH    44406‐1601
DONALD E LA CHANCE                              2504 OLIVE BRANCH WAY                                                                           ORLANDO        FL    32817‐2769
DONALD E LANDES                                 5522 ARBOR DR                          APT 26                                                   ANDERSON       IN    46013‐1375
DONALD E LANEVILLE & DEBBRA K LANEVILLE JT TEN  3845 BURGUNDY BAY BLVD E                                                                        MEDINA         OH    44256‐8232

DONALD E LAPIERRE                               1907 AVON                                                                                       SAGINAW        MI    48602‐3981
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DONALD E LAUDERBAUGH & CAROL LEE LAUDERBAUGH 17535 SUNRISE LN                                                                               HILLMAN           MI    49746‐8262
JT TEN
DONALD E LAWSON                              15 TOBIN DR                                                                                    HOMER             NY    13077‐1125
DONALD E LEGG                                17892 LAWNVIEW AVE                                                                             LAKE MILTON       OH    44429‐9567
DONALD E LEONARD                             8460 SANDY LN                                                                                  ROCKY MOUNT       NC    27803‐5147
DONALD E LETT                                2912 KENMORE                                                                                   DAYTON            OH    45420‐2234
DONALD E LEWIS                               4620 SHERWIN RD                                                                                WILLOUGHBY        OH    44094‐7941
DONALD E LIMP                                9721 SW 155TH ST                                                                               DUNNELLON         FL    34432
DONALD E LINK                                15448 SPONSELLER ROAD                                                                          DEFIANCE          OH    43512‐8818
DONALD E LITTLE                              1936 SECOND                                                                                    WESTLAND          MI    48186‐4451
DONALD E LOSTETTER                           10205 N 105TH DRIVE                                                                            SUN CITY          AZ    85351‐4416
DONALD E LUCAS JR                            W235 S7670 VERNON HILLS DR                                                                     BIG BEND          WI    53103‐9411
DONALD E LUCKING & SUZANNE J LUCKING JT TEN  7126 ELDER CT S                                                                                WEST BLOOMFIELD   MI    48324‐2574

DONALD E MAGUIRE                               152 SMYRNA RD                                                                                BIRDSTOWN         TN    38549‐4458
DONALD E MALEN                                 1051 ROCK SPRING RD                                                                          BLOOMFIELD        MI    48304‐3145
DONALD E MANN                                  2631 BROOKWEST LN                                                                            MARIETTA          GA    30064‐3770
DONALD E MANRING                               2138 EAST 800 NORTH                                                                          ALEXANDRIA        IN    46001‐8313
DONALD E MARTELL                               561 HIGHWAY 469 N                                                                            FLORENCE          MS    39073‐8926
DONALD E MASON                                 814 HARRISBURG PIKE                                                                          COLUMBUS          OH    43223‐2161
DONALD E MAYERS & ROSALIE D MAYERS JT TEN      117 E HIGH STREET / PO BOX 233                                                               MAYTOWN           PA    17550‐0233
DONALD E MC CARTHY                             C/O SUZANNE P GROUT                 98 FRENCH ROAD                                           ROCHESTER         NY    14618‐3820
DONALD E MC DUFFIE                             1601 ROBERT BRADBY DR APT 1203                                                               DETROIT           MI    48207‐3863
DONALD E MC GINLEY                             12358 PARKLANE AVE                                                                           MT MORRIS         MI    48458‐1438
DONALD E MC KAY                                2118 CALHOUN ST                                                                              NEW ORLEANS       LA    70118‐6224
DONALD E MC KAY                                4020 HILLSDALE N E                                                                           GRAND RAPIDS      MI    49525‐1439
DONALD E MCCLARY                               6110 N TUNNEL RD                                                                             UNIONVILLE        IN    47468‐9731
DONALD E MCCLUNG                               1656 E COUNTY RD 900N                                                                        PITTSBORO         IN    46167‐9293
DONALD E MCEVOY TR UA 05/02/89 DONALD E MCEVOY 242 WILSHIRE AVE                                                                             DALY CITY         CA    94015‐1036
RESIDUARY TRUST
DONALD E MCKAY JR                              290 FAIRWAY DR                                                                               NEW ORLEANS       LA    70124‐1019
DONALD E MCKENZIE                              15220 PARK                                                                                   OAK PARK          MI    48237‐1994
DONALD E MCLEAN TR UA 11/28/89 DONALD E MCLEAN 2807 EISENHOWER                                                                              AMOS              IA    50010‐4303
TRUST
DONALD E MCMALL                                5939 WEISS ST                       APT R7                                                   SAGINAW           MI    48603
DONALD E MELVIN                                49 KENNARD RD                                                                                GREENVILLE        PA    16125‐9425
DONALD E MENTZER                               RT 3 BOX 241‐A                                                                               STROUD            OK    74079‐9330
DONALD E MERRILL                               42135 SARATOGA CIRCLE                                                                        CANTON            MI    48187‐3570
DONALD E MERRITT                               715 WEST 34TH ST                                                                             ANDERSON          IN    46013‐3211
DONALD E MERRITT & OPAL L MERRITT JT TEN       715 WEST 34TH ST                                                                             ANDERSON          IN    46013‐3211
DONALD E MESTNIK                               6771 S GELPIN CIR W                                                                          LITTLETON         CO    80122‐1326
DONALD E METZ                                  21017 CEROBIA LN                                                                             RAWLINGS          MD    21557‐2100
DONALD E METZ                                  19503 SPRING VALLEY DR                                                                       HAGERSTOWN        MD    21742‐2411
DONALD E MEYER & PATRICIA ANNE MEYER JT TEN    8139 GREY FOX DR                                                                             W CHESTER         OH    45069‐2119
DONALD E MIELENS                               1962 TUSCOLA ROAD                                                                            MUNGER            MI    48747‐9794
DONALD E MIELENS & SHIRLEY E MIELENS JT TEN    1962 TUSCOLA ROAD                                                                            MUNGER            MI    48747‐9794
DONALD E MILLER                                1500 GUTHRIE CROSSING DR                                                                     LOGANVILLE        GA    30052‐9404
DONALD E MILLER                                RR 1 BOX 62                                                                                  WHITEWATER        WI    53190‐9801
DONALD E MILLER                                142 TIMOTHY RIDGE ROAD                                                                       STRAFFORD         MO    65757‐7848
DONALD E MILLER                                16816 SOUTH GREENWOOD                                                                        SOUTH HOLLAND     IL    60473‐3134
DONALD E MOE TR PHYLLIS D FARNSTROM TRUST UA   70 ELMWOOD STREET                                                                            MILLBURY          MA    01527‐1930
08/08/94
DONALD E MONDE                                 726 UNION RD                                                                                 FRANKLIN          OH    45005‐2519
DONALD E MOORE                                 16310 W STATE ROAD 59                                                                        EVANSVILLE        WI    53536‐9028
DONALD E MOORE & VONNIE MOORE JT TEN           112 COURTNEY LN                                                                              MC COOK           NE    69001
DONALD E MORA SR & ELAINE M MORA JT TEN        7146 CROCKER RD                                                                              VALLEY CITY       OH    44280‐9548
DONALD E MOREY                                 8204 EVERGREEN DRIVE                                                                         LITTLE ROCK       AR    72227
DONALD E MORRIS                                RT 2                                844 SHILOH RD                                            ALGOMA            WI    54201‐9439
DONALD E MOWRY                                 7704 W AKRON ROAD                                                                            FAIRGROVE         MI    48733‐9750
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DONALD E MOWRY & SALLY A MOWRY JT TEN               7704 W AKRON ROAD                                                                               FAIRGROVE        MI    48733‐9750
DONALD E MUMFORD                                    2902 NORTHWEST BLVD NW                                                                          WARREN           OH    44485‐2234
DONALD E MURRAY                                     134 TEMPLETON LN                       #5                                                       HIXSON           TN    37343‐4669
DONALD E MURRAY                                     4476 W PONDS VIEW DR                                                                            LITTLETON        CO    80123‐6554
DONALD E MYERS                                      13650 KINGSTON                                                                                  OAK PARK         MI    48237‐1138
DONALD E MYERS                                      12608 ELESE PLACE SE                                                                            ALBUQUERQUE      NM    87123‐3876
DONALD E NARY                                       820 ANTHONY AVE                                                                                 WAYNESBORO       PA    17268‐2128
DONALD E NEDEL                                      701 AQUI ESTA DR                       LOT 121                                                  PUNTA GORDA      FL    33950‐3002
DONALD E NELSON                                     6969 SKYLINE DR                                                                                 WATERFORD        MI    48329‐1135
DONALD E NEWSOM                                     7242 MERRIMAC TRAIL                                                                             WILLIAMSBURG     VA    23185‐5223
DONALD E NICKLEY                                    907 GARNOA DR                                                                                   CINCINNATI       OH    45231‐3706
DONALD E OGLETREE                                   9615 CRESTVIEW TER                                                                              GAINESVILLE      GA    30506‐6768
DONALD E ORTH                                       536 STOUT ST                                                                                    CRAIG            CO    81625‐3042
DONALD E OZAB                                       3775 MODOC RD LP214                                                                             SANTA BARBARA    CA    93105
DONALD E PALMER                                     4505 PITT ST                                                                                    ANDERSON         IN    46013‐2447
DONALD E PARKER                                     2515 ARDENWOOD PLACE                                                                            YOUNGSTOWN       OH    44515‐5119
DONALD E PARKER JR                                  6 MEL RD                                                                                        PLAINVILLE       CT    06062‐1416
DONALD E PARTLO                                     13650 DIXIE HWY                                                                                 BIRCH RUN        MI    48415‐9303
DONALD E PASSINGHAM & DONALD D PASSINGHAM JT        827 WYANDOTTE                                                                                   ROYAL OAK        MI    48067‐3367
TEN
DONALD E PENCIL & JACQUELINE PENCIL JT TEN          9116 CLOVER DRIVE                                                                               TEMPERANCE       MI    48182‐9405
DONALD E PERRY                                      232 OLE ROCKING CHAIR WAY                                                                       CLOVERDALE       IN    46120‐8847
DONALD E PHILLIPS & DARLENE PHILLIPS JT TEN         281 KNOLL PLACE                                                                                 THE VILLAGES     FL    32162
DONALD E PICKLE                                     1116 CUNNINGHAM                                                                                 ST CHARLES       MO    63301‐2210
DONALD E PLACER                                     1907 CLERMONT AVE NE                                                                            WARREN           OH    44483‐3523
DONALD E POCOCK & C JANE POCOCK JT TEN              APT 723                                3300 S OCEAN BLVD                                        HIGHLAND BEACH   FL    33487‐2589

DONALD E POOLE                                      10 LIVE OAK COURT                                                                               PENFIELD         NY    14526‐2614
DONALD E PORTER TR DONALD E PORTER TRUST UA         529 ADRIAN RD                                                                                   MANCHESTER       MI    48158‐9637
06/03/94
DONALD E PRAAY & KATHLEEN V PRAAY TR PRAAY FAM      N10285 E SHORE RD                                                                               MARENISCO        MI    49947‐9740
TRUST UA 01/31/95
DONALD E PRICE                                      #600                                   4500 19 ST                                               BOULDER          CO    80304‐0624
DONALD E PRINCE                                     PO BOX 272                                                                                      HILLSBORO        AL    35643‐0272
DONALD E PRINCE & BONITA E PRINCE JT TEN TOD JANE   9045 BROOKLINE ST                                                                               PLYMOUTH         MI    48170‐4011
E FOLSKE
DONALD E PRINCE & BONITA E PRINCE JT TEN TOD        9045 BROOKLINE ST                                                                               PLYMOUTH         MI    48170‐4011
NANCY B GAGNON
DONALD E PRINCE & BONITA E PRINCE JT TEN TOD        9045 BROOKLINE ST                                                                               PLYMOUTH         MI    48170‐4011
SARAH A SCHAFER
DONALD E PUCKETT                                    2659 GOLDEN AVE                                                                                 DACULA           GA    30019‐1447
DONALD E QUINN SR & ILEEN QUINN TR QUINN REV        274 FRANCIS AVENUE CT                                                                           TERRE HAUTE      IN    47804‐5101
TRUST UA 02/29/96
DONALD E QUOCKCO                                    PO BOX 1281                                                                                     NEWARK           NJ    07101‐1281
DONALD E RANDOLPH                                   RR 1 BOX 143                                                                                    BROUGHTON        IL    62817‐9783
DONALD E RAU                                        ST JOSEPH CARMELITE HOME               723 FIRST CAPITOL DR                                     ST CHARLES       MO    63301‐2729
DONALD E RENFRO                                     2005 BARBARA DR                                                                                 FLINT            MI    48504‐1641
DONALD E REYNOLDS                                   285 PANAMA DR                                                                                   WATERFORD        MI    48327‐3669
DONALD E RHODES                                     510 WAVERLY DRIVE                                                                               CHARLESTON       WV    25313‐2218
DONALD E RICE                                       1198 TREMMA ST                                                                                  GRAND BLANC      MI    48439‐9307
DONALD E RIDGEWAY                                   4715 SYLVESTER AVE                                                                              WATERFORD        MI    48329‐1848
DONALD E RILEY                                      6970 PARK SQUARE DR                    APT A                                                    AVON             IN    46123‐8859
DONALD E ROBERTS                                    PO BOX 267                                                                                      BELTON           SC    29627‐0267
DONALD E ROBINSON                                   255 LINDEN AVE                                                                                  BUFFALO          NY    14216‐2811
DONALD E ROBINSON                                   2906 CLAIRMONT AVE                                                                              MACON            GA    31204‐1002
DONALD E ROSS                                       51 OSAGE CT                                                                                     WILMINGTON       OH    45177
DONALD E RUDEN & MRS PATRICIA S RUDEN JT TEN        1106 VALENCIA DR                                                                                SHOREWOOD        IL    60431‐9167

DONALD E RUNYAN                                     456 N OAKLAND AVE                                                                               SHARON           PA    16146‐2392
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DONALD E SAGAMANG                                G‐3175 HOGARTH                                                                                FLINT          MI    48532‐5129
DONALD E SALESKY                                 1802 LEICESTER                                                                                GARLAND        TX    75044‐7675
DONALD E SAVAGE                                  2326 MORRIS RD                                                                                LAPEER         MI    48446‐9472
DONALD E SAVAGE                                  10860 INDECO DR                                                                               CINCINNATI     OH    45241‐2960
DONALD E SCHENK                                  567 RADER DR                                                                                  VANDALIA       OH    45377‐2517
DONALD E SCHIEFFER CUST D ERIC SCHIEFFER UGMA    3272 KINROSS CIRCLE                                                                           HERNDON        VA    20171‐3315
NEB
DONALD E SCHULTZ                                 11 S 077 PALISADES ROAD                                                                       BURR RIDGE     IL    60521‐6817
DONALD E SCHULTZ                                 37087 DOHS RD                                                                                 EVANSVILLE     WI    53536
DONALD E SCHWAB                                  466 HILLSIDE AVE                                                                              ORCHARD PARK   NY    14127‐1020
DONALD E SECHLER & JACQUELINE L SECHLER JT TEN   1413 BRENTWOOD PL                                                                             SANFORD        NC    27330‐8236

DONALD E SETTER JR                               201 17TH ST N                                                                                 MOORHEAD       MN    56560‐2331
DONALD E SHOCKEY                                 9042 GILLETTE                                                                                 LENEXA         KS    66215‐3505
DONALD E SIERACKI                                5311 W PENSACOLA                                                                              CHICAGO        IL    60641‐1309
DONALD E SINDLEDECKER                            3361 RAVENNA WARREN RD                                                                        NEWTON FALLS   OH    44444
DONALD E SMITH                                   505 PEARSON PATH                                                                              AUBURNDALE     FL    33823‐2713
DONALD E SMITH                                   PO BOX 2008                                                                                   MANSFIELD      OH    44905‐0008
DONALD E SMITH                                   455 ALPINE AVE                                                                                VENTURA        CA    93004‐1053
DONALD E SMITH                                   RT 3                                                                                          OTTAWA         OH    45875‐9803
DONALD E SMITH                                   49 HILL PLACE                                                                                 LAPEER         MI    48446‐3372
DONALD E SMITH                                   282 W SANTEE DR                                                                               GREENSBURG     IN    47240‐7825
DONALD E SORGENFREI                              1381 YEOMANS                                                                                  IONIA          MI    48846‐1933
DONALD E SPENCER                                 9757 MONROE RD                                                                                SAINT HELEN    MI    48656‐9638
DONALD E STAFFORD                                1125 TECUMSEH ST                                                                              INDIANAPOLIS   IN    46201‐1116
DONALD E STANTON & LINDA E BAKER JT TEN          6343 W ROWLAND CIRCLE                                                                         LITTLETON      CO    80128‐4627
DONALD E STEELEY                                 1736 WOODS DRIVE                                                                              DAYTON         OH    45432‐2237
DONALD E STEWART                                 356 HUDSON ST                                                                                 BUFFALO        NY    14201‐1709
DONALD E STOUDT                                  801 SLEDGE AVE                                                                                READING        PA    19609‐1112
DONALD E STRATTON                                658 BEAR CT                                                                                   KISSIMMEE      FL    34759‐4229
DONALD E STRATTON & MRS ELLA J STRATTON JT TEN   658 BEAR CT                                                                                   KISSIMMEE      FL    34759‐4229

DONALD E STRAWSER                                216 SWEITZER ST                                                                               GREENVILLE     OH    45331‐1346
DONALD E STURTZ                                  4525 N 66 ST                         UNIT 24                                                  SCOTTSDALE     AZ    85251‐1027
DONALD E SUNDEEN & MINA J SUNDEEN JT TEN         4089 FAIRWAY DR                                                                               NORTH PORT     FL    34287
DONALD E SYLVESTER                               3106 PARKER RD                                                                                GLENNIE        MI    48737‐9756
DONALD E THIEKEN                                 911 N RIVER DR                                                                                MARION         IN    46952‐2610
DONALD E THOMPSON                                612 BLOOMFIELD AV                                                                             PONTIAC        MI    48341‐2714
DONALD E THOMPSON & MRS RITA ANN THOMPSON JT     542 BUTLER PIKE                                                                               MERCER         PA    16137‐3502
TEN
DONALD E THOMPSON & MRS RITA THOMPSON TEN        542 BUTLER PIKE                                                                               MERCER         PA    16137‐3502
ENT
DONALD E THORNE & CHARLOTE A THORNE JT TEN       116 FONTENAY DR                                                                               LEBANON        TN    37090‐8754

DONALD E TIETZ                                 N3868 LIBERTY ST                                                                                SULLIVAN       WI    53178‐9652
DONALD E TINSON                                19614 SW 88TH LOOP                                                                              DUNNELLON      FL    34432‐2663
DONALD E TINSON II & ANNETTE SHAFFER JT TEN    6435 SPAULDING ROAD                                                                             HOWELL         MI    48843‐8277
DONALD E TITMUS & SHIRLEY J TITMUS JT TEN      2261 BRADFORD DRIVE                                                                             FLINT          MI    48507‐4401
DONALD E TOMASZEWSKI                           1904 WEST HAVENS DRIVE                                                                          KOKOMO         IN    46901‐1857
DONALD E TOMASZEWSKI & AUDREY J TOMASZEWSKI JT 1904 WEST HAVENS DR                                                                             KOKOMO         IN    46901‐1857
TEN
DONALD E TOMS                                  4218 WRIGHT RD RR#1                    CAMPBELLCROFT ON                       L0A 1B0 CANADA
DONALD E TONER                                 13 WILSON AVE                                                                                   FAIRBORN       OH    45324‐2827
DONALD E TOWLE                                 39 GAMMON AVE                                                                                   AUBURN         ME    04210‐4724
DONALD E TROTT                                 31 SANDHURST DR                                                                                 ROCHESTER      NY    14617‐5435
DONALD E USREY                                 303 E 14TH ST                                                                                   MIO            MI    48647‐9051
DONALD E VANCE                                 14032 BARGER RD                                                                                 LEESBURG       OH    45135‐9685
DONALD E VINES                                 1531 16TH ST                                                                                    DES MOINES     IA    50314‐1912
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DONALD E WAGNER & KAREN JUBE WAGNER JT TEN       526 PLUM ST                                                                                    ERIE            PA    16507‐1038

DONALD E WALKER                                  54 W WASHINGTON ST                                                                             CLARKSTON       MI    48346‐1552
DONALD E WALTERS JR                              839 PARTRIDGE LA                                                                               WEBSTER         NY    14580‐2634
DONALD E WARD                                    18740 FLORALTON DR                                                                             SPRING HILL     FL    34610‐1308
DONALD E WARD & MRS SUZANNE B WARD JT TEN        2424 CEDARWOOD DR                                                                              MADISON         IN    47250‐2379

DONALD E WATTS                                   8240 OXFORD DR                                                                                 HIXSON          TN    37343‐1586
DONALD E WELCH                                   6720 BE JAY DR                                                                                 TIPP CITY       OH    45371‐2302
DONALD E WELLER                                  1669 CHURCH ST                                                                                 GLEN ROCK       PA    17327‐8277
DONALD E WHALEY                                  PMB 5044                              PO BOX 2428                                              PENSACOLA       FL    32513‐2428
DONALD E WHISNANT                                4132 15TH ST                                                                                   DES MOINES      IA    50313‐3029
DONALD E WHITE                                   1044 HILTON SOUND DRIVE                                                                        CHAPIN          SC    29036‐9719
DONALD E WHITE                                   5248 BATTLE CREEK                                                                              OLIVET          MI    49076‐9662
DONALD E WHITE                                   11719 JOHNSTONE ROAD                                                                           NEW LOTHROP     MI    48460‐9624
DONALD E WHITE & MRS PATRICIA E WHITE TEN COM    10525 TEXWOOD                                                                                  EL PASO         TX    79925‐7369

DONALD E WHITNEY                                 111 SANTEE CT                                                                                  CROSSVILLE      TN    38572‐6967
DONALD E WIDENER                                 2388 DEER VALLEY DR.                                                                           MIDLAND         MI    48642
DONALD E WIDENER JR                              2388 DEER VALLEY DR.                                                                           MIDLAND         MI    48642
DONALD E WIDENER JR & SUSAN G WIDENER JT TEN     2388 DEER VALLEY DR.                                                                           MIDLAND         MI    48642

DONALD E WIEAND JR                               1775 CREEK VIEW DR                                                                             FOGELSVILLE     PA    18051‐1716
DONALD E WIESNER                                 347 NEPTUNE AVE                                                                                BEACHWOOD       NJ    08722‐3816
DONALD E WILLIAMS                                7748                                  M77                                                      GERMFASK        MI    49836
DONALD E WILSON                                  6264 GOLFVIEW DR                                                                               BURTON          MI    48509‐1313
DONALD E WINTER                                  4417 RIVERSIDE DRIVE                                                                           EDGERTON        WI    53534‐8610
DONALD E WOLFE                                   PO BOX 20                                                                                      LOWMANSVILLE    KY    41232‐0020
DONALD E WOODALL                                 7745 SHADOW CREEK DR                  UNIT 517                                                 HAMILTON        OH    45011‐5354
DONALD E WRIGHT                                  6395 JASON LN                                                                                  DAYTON          OH    45459‐2546
DONALD E WRIGHT                                  853 RAVINE TERRACE DR                                                                          ROCHESTER HLS   MI    48307‐2723
DONALD E WYSONG                                  3203 NEW MARKET BANTA ROAD                                                                     W ALEXANDRIA    OH    45381‐9708
DONALD E ZIULKOWSKI                              1984 W 123RD PLACE                                                                             LEAWOOD         KS    66209‐1347
DONALD EARL HOFFMAN & PATRICIA A HOFFMAN JT      408 CHANCELLOR ST                                                                              JOHNSTOWN       PA    15904‐2228
TEN
DONALD EDGAR FOSTER & KATHLEEN R FOSTER JT TEN   2334 CYPRESS BEND DR N APT 211                                                                 POMPANO BEACH   FL    33069‐5626

DONALD EDMOND BALL                               8997 N CR 600 W                                                                                MIDDLETOWN      IN    47356‐9481
DONALD EDWARD DEAN & DOROTHY I DEAN JT TEN       140 W YPSILANTI AVE                                                                            PONTIAC         MI    48340‐1873

DONALD EDWARD MCHENRY                            469 TREMAINE AVENUE                                                                            KENMORE         NY    14217‐2537
DONALD EDWARD SMITH                              11382 ELM RD                                                                                   CLIO            MI    48420‐9468
DONALD EMERY PARSONS                             333 HARTFORD ROAD                                                                              AMHERST         NY    14226‐1733
DONALD EUGENE LEACH                              24 E HELENA ST                                                                                 DAYTON          OH    45405‐4205
DONALD EUGENE VETOR                              6169 S 500 E                                                                                   MONTGOMERY      IN    47558‐9547
DONALD EZBIANSKY                                 103 FAIRWAY DRIVE                                                                              MECHANICSBURG   PA    17055‐5710
DONALD F ANDERSON & BARBARA L ANDERSON JT TEN    PO BOX 2625                                                                                    BLUE RIDGE      GA    30513‐0046

DONALD F ANNIS                                   13948 BARFIELD DRIVE                                                                           WARREN          MI    48093‐5712
DONALD F ATKINSON                                2495 NAPOLI DR                                                                                 SPARKS          NV    89434
DONALD F BOROUGHS CUST AMANDA D BOROUGHS         177 LAKE DR                                                                                    STANHOPE        NJ    07874‐3007
UTMA NJ
DONALD F BOROUGHS CUST ASHLEE P BOROUGHS         177 LAKE DR                                                                                    STANHOPE        NJ    07874‐3007
UTMA NJ
DONALD F BRECHT                                  3834 CHESTERFIELD                                                                              ORION           MI    48359‐1526
DONALD F BRIZZOLARA                              2408 PENNINGTON DR                                                                             WILMINGTON      DE    19810‐2509
DONALD F BRIZZOLARA & MARY L BRIZZOLARA JT TEN   2408 PENNINGTON DR                                                                             WILMINGTON      DE    19810‐2509
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DONALD F BRIZZOLARA CUST DAVID F BRIZZOLARA     2408 PENNINGTON DR                                                                              WILMINGTON        DE    19810‐2509
UGMA DE
DONALD F BRULLA                                 4148 LARK LANE                                                                                  FLINT             MI    48506‐1709
DONALD F BUCKLER                                1564 N DEERPATH TRAIL                                                                           FRANKTOWN         CO    80116‐9455
DONALD F BURACK & LINDA L BURACK JT TEN         3401 STOCK COURT                                                                                ADRIAN            MI    49221‐9143
DONALD F BURCHFIELD                             103 MEADOW HILL RD                                                                              SHEFFIELD         AL    35660‐6816
DONALD F CAREK & JACQULINE L CAREK JT TEN       104 RAVEN PL                                                                                    SENECA            SC    29672‐9141
DONALD F CARPENTIER                             33 FOREST ST                                                                                    FRANKLIN          MA    02038‐2501
DONALD F CLASEN                                 5320 N SHERIDAN RD                                                                              CHICAGO           IL    60640‐2533
DONALD F CLOS                                   21320 FRAZHO                                                                                    ST CLAIR SHORES   MI    48081‐3129
DONALD F COCHRANE & ADELINE M COCHRANE JT TEN   5108 WOODLAND WAY                                                                               ANNANDALE         VA    22003‐4164

DONALD F COSTELLO & MARIA E COSTELLO JT TEN     2619 W ISABELLA AVE                                                                             MESA              AZ    85202‐5424
DONALD F DAHL                                   1282 16TH AVE                                                                                   SAN FRANCISCO     CA    94122‐2010
DONALD F DANNER                                 1144 BONNABEL BLVD                                                                              METAIRIE          LA    70005‐1538
DONALD F DAWKINS                                2807 13TH ST                                                                                    WEST PALMETTO     FL    34221‐3413
DONALD F DECKER & CAMILLA D DECKER JT TEN       3595 TANAGER DRIVE                                                                              ERIE              PA    16506‐1135
DONALD F DEFRANCO & BETTY ANN DEFRANCO JT TEN   110 C STRATFORD DR                                                                              WILLIAMSBURG      VA    23185‐2973

DONALD F DICK & BETTY J DICK JT TEN             608 KNIGHTSBOROUGH WAY                                                                          APEX             NC     27502
DONALD F DINAN                                  824 VISTA BRISA                                                                                 SAN LUIS OBISPO  CA     93405‐4848
DONALD F DISCH                                  4275 ALLENDALE DR                                                                               JANESVILLE       WI     53546‐2147
DONALD F DONAKOWSKI                             8574 WINSTON LANE                                                                               DEARBORN HEIGHTS MI     48127‐1395

DONALD F EBEL                                   6154 CRABTREE                                                                                   BURTON           MI     48519‐1304
DONALD F EKLAND                                 2460 BARKER ST                                                                                  CLINTON          IA     52732‐6954
DONALD F FAGAN                                                                                                                                  BRADY            MT     59416
DONALD F FILLMAN                                11211 CROWN PARK DR                                                                             HOUSTON          TX     77067‐4008
DONALD F FINN                                   1537 DEER PATH TRAIL                                                                            OXFORD           MI     48371‐6059
DONALD F FISHER & MRS JANE M FISHER JT TEN      9000 GRANITE SPRINGS RD                                                                         SPOTSYLVANIA     VA     22551‐5658
DONALD F FRANKLIN                               707 BYRON DR                                                                                    MILFORD          MI     48381‐2811
DONALD F FREEMAN                                32 BLUEBIRD HILL                                                                                ORION            MI     48359‐1806
DONALD F FRY                                    7228 AKRON ROAD                                                                                 LOCKPORT         NY     14094‐6206
DONALD F GALMBACHER                             6272 S ABBOTT RD                                                                                ORCHARD PARK     NY     14127
DONALD F GEER                                   1034 PACOLET HWY LOT 1                                                                          GAFFNEY          SC     29340‐5070
DONALD F GILLERAN JR                            16501 EL MIRAGE RD                     #547                                                     SURPRISE         AZ     85374‐3600
DONALD F GILLES & BERNETA L GILLES JT TEN       624 PARK VW                                                                                     CLIO             MI     48420‐1481
DONALD F GREEK                                  1488 BURNS                                                                                      DETROIT          MI     48214‐2807
DONALD F GREEN & DOROTHY F GREEN JT TEN         9217 OAK TRAIL CIRCLE                                                                           SANTA ROSA       CA     95409
DONALD F GRIFFIN                                11410 WATERFORD VILLAGE DR                                                                      FT MYERS         FL     33913‐7911
DONALD F GYURICH                                1609 32ND                                                                                       BAY CITY         MI     48708‐8726
DONALD F HALLER JR                              802 WINTERWOOD COURT                                                                            GARLAND          TX     75044
DONALD F HANYO                                  153 TROPICAL SHOREWAY                                                                           FORT MYERS BEACH FL     33931‐3315

DONALD F HARRIS                                 8321 E CARPENTER RD                                                                             DAVISON           MI    48423‐8915
DONALD F HAUTH & PATRICIA HAUTH JT TEN          255 S TYLER ST                                                                                  LANCASTER         WI    53813‐1622
DONALD F HINES                                  1449 HARVARD AVE                                                                                SALT LAKE CITY    UT    84105‐1917
DONALD F HOLEVOET                               415 ORANGE ST                                                                                   NEW HAVEN         CT    06511
DONALD F HOOS & MRS ELAINE J HOOS JT TEN        4025 FAIRWAY DR                                                                                 WILMETTE          IL    60091‐1005
DONALD F JACK                                   204 SHARON CIR                                                                                  COLUMBIA          TN    38401‐2037
DONALD F JENKINS                                5326 LAKE MARGARET DR                                                                           ORLANDO           FL    32812‐6097
DONALD F JOHNSON                                4545 68TH ST                                                                                    BYRON CENTER      MI    49315‐8750
DONALD F JOHNSON & JACQUELYN J JOHNSON JT TEN   4545 68TH ST                                                                                    BYRON CENTER      MI    49315‐8750

DONALD F JOHNSON JR                             3711 HOMEWOOD AV                                                                                TOLEDO            OH    43612‐1009
DONALD F JONES CUST JASON ALDON JONES UGMA NY   2 CURTIS CT                                                                                     CORNWALL          NY    12518‐1600

DONALD F KARKAN                                 16234 CHATMAN DR                       103                                                      STRONGSVILLE      OH    44149
DONALD F KECK                                   7809 HUGHES RD                                                                                  NORTH SALEM       IN    46165‐9477
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DONALD F KROLL                                    3550 BAY SANDS DR                       APT 1037                                                 LAUGHLIN           NV    89029‐1303
DONALD F KROLL & CONSTANCE Z KROLL JT TEN         3550 BAY SANDS DR #1037                                                                          LAUGHLIN           NV    89029‐1303
DONALD F KROTT                                    212 IVY DRIVE                                                                                    WOODBURY           NJ    08097‐1121
                                                                                                                                                   HEIGHTS
DONALD F LA MORE                                  9565 CORDERO AVE                                                                                 TUJUNGA            CA    91042‐3303
DONALD F LAKS                                     4563 GLOBE WILLOW DR                                                                             EL PASO            TX    79922‐2223
DONALD F LANDRY                                   6546 SPEARSVILLE RD                                                                              MORGANTOWN         IN    46160‐8925
DONALD F LARSON & MADELYN D LARSON JT TEN         12 SEAVERS RD                                                                                    ORLEANS            MA    02653‐2002
DONALD F LEMKE & ELLEN R LEMKE JT TEN             402 W SMITH                                                                                      BAY CITY           MI    48706‐3600
DONALD F LEYDEN JR                                13921 PRINCE CHARLES DR                                                                          N ROYALTON         OH    44133‐4123
DONALD F LONG                                     505 DELMAR PLACE                                                                                 SYRACUSE           NY    13208‐3112
DONALD F LUCEY                                    7 MEADOW LANE                                                                                    GREENWICH          CT    06831‐3708
DONALD F LUDWIG                                   8015 W POWHATAN AVE                                                                              TAMPA              FL    33615‐4119
DONALD F LUNDELL & MRS CAROL LUNDELL JT TEN       1540 NE BERSHIRE WAY                                                                             MADISON            FL    32340‐9508

DONALD F MACKELL                             302 WESTGATE TERRACE COURT                                                                            LOUISVILLE         KY    40207‐2757
DONALD F MAHAFFEY JR                         10031 JUDD RD                                                                                         WILLIS             MI    48191‐9748
DONALD F MC GREGOR & MARSHA MC GREGOR JT TEN 3301 NOSTRAND AVE #6L                                                                                 BROOKLYN           NY    11229‐3763

DONALD F MC MASTER                                5548 ROBBINS AVE                                                                                 PORTAGE            IN    46368‐4326
DONALD F MCCUE                                    PO BOX 48                                                                                        NEW LONDON         PA    19360‐0048
DONALD F MCINTOSH                                 3520 LAURISTON DR                                                                                NEW CASTLE         IN    47362‐1720
DONALD F MELAMPY                                  127 CEDAR RIDGE                                                                                  ROCKPORT           TX    78382‐6826
DONALD F MELLAY                                   140 W CLINTON AVE                                                                                BERGENFIELD        NJ    07621‐2729
DONALD F MERO & MRS BETTY JANE MERO JT TEN        5825 SPRINGWATER LANE                                                                            ORCHARD LAKE       MI    48322‐1755
DONALD F MILLER                                   907 LANE NW RD C1                                                                                HARTSELLE          AL    35640‐4458
DONALD F MOORE                                    ATTN CARLA Y MOORE                      18880 LUMPKIN ST                                         DETROIT            MI    48234‐1215
DONALD F MORSE                                    5215 N OAK RD                                                                                    DURAND             MI    48429‐1280
DONALD F NIESE                                    14048 RD X                                                                                       LEIPSIC            OH    45856‐9455
DONALD F NORTH & PATRICIA L NORTH JT TEN          6211 NEW ENGLAND LANE                                                                            CANTON             MI    48187‐2655
DONALD F NORTH JR & PATRICIA LEECH NORTH JT TEN   6211 NEW ENGLAND LANE                                                                            CANTON             MI    48187‐2655

DONALD F NOVICK                                   6613 HERITAGE                                                                                    BRADENTON          FL    34209‐7447
DONALD F OTT                                      4518 DOGWOOD                                                                                     SAGINAW            MI    48603‐1990
DONALD F PARKER                                   40 WASHINGTON ST                                                                                 FAIR HAVEN         VT    05743‐1038
DONALD F PARROTT & MARJORIE A PARROTT JT TEN      3250 WALTON BLVD                        APT 212                                                  ROCHESTER HLS      MI    48309‐1280

DONALD F PAUL                                     110 B EAST AVE                                                                                   MONROE             OH    45050‐1310
DONALD F PEACE                                    7832 HELTON DRCIRCLE                                                                             FOLEY              AL    36535
DONALD F PELTY                                    32095 GLEN                                                                                       WESTLAND           MI    48186‐4915
DONALD F PERRY                                    4034 RANDOLPH RD                                                                                 JANESVILLE         WI    53546‐1495
DONALD F PIERCE                                   C/O MICHELLE PIERCE                     20 KIRKS CT                                              ROCHESTER HILLS    MI    48309‐1442
DONALD F POLING                                   1287 16 MILE RD                                                                                  KENT CITY          MI    49330‐9428
DONALD F PURSEL                                   120 OLD FARM RD                                                                                  DANVILLE           IN    46122‐1433
DONALD F RADDE                                    82 MERCURY DRIVE                                                                                 ROCHESTER          NY    14624‐2408
DONALD F RANZAU & MARY ANN RANZAU JT TEN          20‐449 RD X BOX 173                                                                              RDGVILLE CORNERS   OH    43555‐0173

DONALD F REHOR                                    3051 PARK RIDGE AVE                                                                              PAHRUMP            NV    89048‐0928
DONALD F REID                                     1175 MERRY RD                                                                                    WATERFORD          MI    48328‐1236
DONALD F REIS                                     300 S BROADWAY                                                                                   TARRYTOWN          NY    10591‐5317
DONALD F RICHARDS CUST HAYLEY COLEMAN UTMA AL     4617 SOUTHMOOR DR                                                                                MOBILE             AL    36618

DONALD F RICHARDS CUST RILEY FRANKLIN COLEMAN     2520 SNOW RD N                                                                                   SEMMES             AL    36575
UTMA AL
DONALD F RIVARD & CONNIE RIVARD JT TEN            11251 CHAPMAN CT                                                                                 ROMEO              MI    48065‐3736
DONALD F RIX                                      1295 JEANNE DRIVE                                                                                MIOTON             MI    48647‐9785
DONALD F ROBERSON                                 4062 MARTON RD                                                                                   KINGSTON           MI    48741‐9779
DONALD F ROCKAFELLOW                              4399 S CALLE AGRADA DR                                                                           FORT MOHAVE        AZ    86426‐9268
DONALD F ROGERS                                   217 EASTHAM ROAD                                                                                 POINT PLEASANT     NJ    08742‐2011
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DONALD F RUFF                                     301 CASS                                                                                      LAKE ORION        MI    48362‐3315
DONALD F RUFFATTO JR                              3200 SAUK DR                                                                                  NEW LENOX         IL    60451‐2870
DONALD F SAPECKY & PATRICIA A SAPECKY JT TEN      12211 BROOKSHIRE PKWY                                                                         CARMEL            IN    46033‐3101
DONALD F SCHMIDT                                  2834 W GENESEE                                                                                SAGINAW           MI    48602‐3725
DONALD F SCHOTT                                   1506 11TH ST                                                                                  BAY CITY          MI    48708‐6755
DONALD F SCHRAMER                                 740 CREEKSIDE DR                     UNIT 508                                                 MT PROSPECT       IL    60056‐6393
DONALD F SCHWEDA                                  1616 N 116TH STREET                                                                           WAUWATOSA         WI    53226‐3034
DONALD F SCHWEDA & MARIAN J SCHWEDA JT TEN        1616 N 116TH ST                                                                               WAUWATOSA         WI    53226‐3034

DONALD F SEIBOLD                                  PO BOX 1055                                                                                   KIMBERLING CITY   MO    65686‐1055
DONALD F SENN                                     2804 TUTTLE ROAD                                                                              EVANSVILLE        WI    53536‐9430
DONALD F SENN & MRS FLORENCE A SENN JT TEN        2804 TUTTLE ROAD                                                                              EVANSVILLE        WI    53536‐9430
DONALD F SHAW                                     7 MAGNOLIA AVE                                                                                DENVILLE          NJ    07834‐9317
DONALD F SHAW & CAROLYN J SHAW JT TEN             7 MAGNOLIA AVE                                                                                DENVILLE          NJ    07834‐9317
DONALD F SHEA & DEBORAH C SUBATCH JT TEN          47603 SCENIC CIRCLE DR S                                                                      CANTON            MI    48188‐1971
DONALD F SIKORA II                                1284 VILLAGE CENTRE DRIVE #6                                                                  KENOSHA           WI    53144‐7271
DONALD F SINGER                                   3116 MONTHEATH PASS                                                                           DULUTH            GA    30096
DONALD F SKOTNICKI                                184 WEAVER                                                                                    BUFFALO           NY    14206‐2313
DONALD F SOUTHWELL II                             513 KENWOOD NE                                                                                GRAND RAPIDS      MI    49505‐4114
DONALD F STARK                                    7828 ASHTON AVE                                                                               DETROIT           MI    48228‐5410
DONALD F STERGAR                                  1227 MARIA CT                                                                                 LADY LAKE         FL    32159‐5759
DONALD F STRONG                                   26527 LAURIE CT                                                                               WOODHAVEN         MI    48183‐4407
DONALD F SULLIVAN                                 BOX 617                                                                                       CARSON CITY       NV    89702‐0617
DONALD F THOMAS                                   870 CASCADE CT                                                                                ENGLEWOOD         FL    34223‐6019
DONALD F TIEDEMAN                                 10190 OAKHILL RD                                                                              HOLLY             MI    48442‐8846
DONALD F TRACY                                    71 OAK VALLEY DR                                                                              ST PETERS         MO    63376‐3746
DONALD F TSCHABOLD                                1336 SOUTH 75TH ST                                                                            WEST ALLIS        WI    53214‐3023
DONALD F TYLER & TOMMIE W TYLER JT TEN            38 DOLPHINE AVE                                                                               ORMOND BEACH      FL    32176‐2108
DONALD F VANDUSEN                                 DOUGLAS HEIGHTS                                                                               CANASTOTA         NY    13032
DONALD F VOGRIN & NANCY E VOGRIN JT TEN           34284 PEMBROKE DR                                                                             LIVONIA           MI    48152‐1297
DONALD F WADDELL                                  1872 BLUE ISLE COURT                                                                          HOLLAND           MI    49424‐1399
DONALD F WAKER                                    755 SPRING GARDEN PL                                                                          DAYTON            OH    45431‐2753
DONALD F WARMBIER                                 430 ALEXANDRA CR                                                                              WESTON            FL    33326
DONALD F WARMBIER                                 430 ALEXANDRA CIR                                                                             WESTON            FL    33326‐3308
DONALD F WARRICK                                  1101 VINE ST                                                                                  CONNELLSVILLE     PA    15425‐4734
DONALD F WELLE                                    785 ODEVENE WAY                                                                               DELAWARE          OH    43015‐3198
DONALD F WELLE & BETTY J WELLE JT TEN             785 ODEVENE WAY                                                                               DELEWARE          OH    45013
DONALD F WELLER & GENEVIEVE M WELLER JT TEN       217 SPRUCE STREET                                                                             OIL CITY          PA    16301‐1427

DONALD F WELSH                                    20205 AIRPORT RD                                                                              LOCKPORT          IL    60441‐6597
DONALD F WHALEN & MRS PAULINE S WHALEN JT TEN     29 BROOKSTONE COURT                                                                           DURANGO           CO    81301

DONALD F WIGHTMAN                                 3604 CECIL RD                                                                                 CADILLAC          MI    49601‐9588
DONALD F WILLIAMS & CECELIA E WILLIAMS JT TEN     8166 BAY POINT RD                                                                             BEULAH            MI    49617‐9604

DONALD F YATES                                    1512 CEDAR ST                                                                                 COLFAX            WA    99111
DONALD F YESKA & DOROTHY A YESKA JT TEN           6712 LONG MOSS LANE                                                                           ENGLEWOOD         FL    34224‐8737
DONALD F YOUNGBLOOD EX EST DOROTHY                415 BROAD ST                                                                                  ELMER             NJ    08318
YOUNGBLOOD
DONALD F ZAIDEL                                   7845 WISE CT                                                                                  WEST CHESTER     OH     45069‐3409
DONALD F ZAIDEL JR                                6698 WILLOW BEND DR                                                                           LIBERTY TOWNSHIP OH     45011‐7509

DONALD F ZIMMER CUST CATHERINE ANN ZIMMER         3490 RAMONA DR                                                                                RIVERSIDE         CA    92506‐1257
UGMA CA
DONALD F ZIMMER CUST ERIC JOSEPH ZIMMER UGMA      3490 RAMONA DR                                                                                RIVER SIDE        CA    92506‐1257
CA
DONALD FAFARA                                     7 MONTANA CT                                                                                  CARY              IL    60013‐1680
DONALD FELDMAN                                    27 ROSALIE RD                                                                                 NEWTON CENTER     MA    02459‐3128
DONALD FIELDS                                     1019 BLUEBIRD RD                                                                              MEMPHIS           TN    38116‐4003
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DONALD FIGARELLI & JULIA FIGARELLI JT TEN       4N 136 NUGENT                                                                                            ADDISON         IL    60101‐2616
DONALD FINCO                                    209 N DEAN DR                                                                                            PALATINE        IL    60074
DONALD FINE & MRS CHARLOTTE FINE JT TEN         11 PILGRIM ROAD                                                                                          MARBLEHEAD      MA    01945‐1710
DONALD FLETHCHER SILVEY                         2309 RAU ROAD                                                                                            BRENHAM         TX    77833‐0520
DONALD FOGLESON                                 3752 S NEBRASKA                                                                                          MARION          IN    46953‐4846
DONALD FOSTER WILLIAMS CUST LINDA KATHERINE     3719 DAUPHINE AVE                                                                                        NORHTBROOK      IL    60062‐2243
WILLIAMS UGMA IL
DONALD FRANCIS CARROLL                          11395 N LAKE DR                                                                                          FENTON          MI    48430‐8813
DONALD FRANK WALLIN                             375 DEERFIELD RD                                                                                         ALLENSTOWN      NH    03275‐2607
DONALD FREDA                                    1880 PALMER AVENUE                                                                                       LARCHMONT       NY    10538‐3039
DONALD FREDERICK SWERIDA                        342 TAMIAMI S TR 107                                                                                     NOKOMIS         FL    34275‐3166
DONALD FRITZE                                   1796 W 5TH STREET                                                                                        PISCATAWAY      NJ    08854‐1651
DONALD FROST                                    3162 LA MIRAGE DR                                                                                        LAUDERHILL      FL    33319‐4269
DONALD G ADAMS                                  2808 PIEDRA DRIVE                                                                                        PLANO           TX    75023‐5412
DONALD G ALEXANDER                              5168 8TH LINE                         RR 1                 HORNBY‐MILTON     ONTARIO ON L0P 1E0 CANADA

DONALD G ANDERSON                               5006 HOLLY CT                                                                                            MURRYSVILLE     PA    15668‐1310
DONALD G APPLE II                               8475 LAPOINT DR                                                                                          BRIGHTON        MI    48116‐8575
                                                                                                                                                         TOWNSHIP
DONALD G ARRINGTON                              103 ROBIN LN                                                                                             IUKA            MS    38852‐1330
DONALD G ATKINSON & SUSANNE N ATKINSON JT TEN   6011 BROOKSHIRE DR                                                                                       PITTSBORO       IN    46167‐9305

DONALD G BANKS                                  1199 CHAPPELL                         WINDSOR ON                             N9C 3C8 CANADA
DONALD G BAXTER                                 7039 LAHRING RD                                                                                          GAINES           MI   48436‐9730
DONALD G BEADLES                                2796 E OKLAHOMA BLVD                                                                                     ALVA             OK   73717‐4014
DONALD G BLANK                                  1472 MOLLY COURT                                                                                         MANSFIELD        OH   44905‐1313
DONALD G BOSJOLIE                               171 BACKWOODS RD                                                                                         COLTON           NY   13625‐3545
DONALD G BOSWELL                                2015 CUSTER PARKWAY                                                                                      RICHARDSON       TX   75080‐3448
DONALD G BOTHE                                  421 WEST 5TH ST                                                                                          PORT CLINTON     OH   43452‐1849
DONALD G BREWER                                 7421 MONTFAYE CT                                                                                         WILMINGTON       NC   28411‐8324
DONALD G BROWN                                  12909 EAST 203RD ST                                                                                      RAYMORE          MO   64083‐8444
DONALD G BRYANT                                 5009 W OUTER DR                                                                                          DETROIT          MI   48235‐1342
DONALD G BULLARD                                941 SE STREAMLET AVE                                                                                     PT ST LUCIE      FL   34983‐4676
DONALD G BUNCH                                  1091 WEST BROOK                                                                                          PERRYSBURG       OH   43551‐1653
DONALD G CALDWELL                               1314 JEROME AVE                                                                                          JANESVILLE       WI   53546‐2507
DONALD G CARSON                                 4131 BRECKENRIDGE DR                                                                                     PRESTO           PA   15142‐1123
DONALD G CHASTAIN                               4991 EAST 800 S                                                                                          MARKLEVILLE      IN   46056‐9739
DONALD G CHERVENY                               2508 BRIAR FOREST DR                                                                                     DENTON           TX   76210
DONALD G CHRISTENSON                            7918 ALTAVAN AVE                                                                                         LOS ANGELES      CA   90045‐2522
DONALD G CHURCH                                 2020 MAPLE ST                                                                                            SAGINAW          MI   48602‐1043
DONALD G CLAUSS                                 5668 LAKEVIEW DR                                                                                         HALE             MI   48739‐8821
DONALD G COPPINS & LAURIE A COPPINS JT TEN      43969 RIVERGATE                                                                                          CLINTON TOWNSHIP MI   48038‐1365

DONALD G CORDER                                 13192 BRANDON CIR                                                                                        PICKERINGTON    OH    43147‐8326
DONALD G COURTNEY                               1713 HIAWATHA DRIVE                                                                                      WENTZVILLE      MO    63385‐3308
DONALD G DAVIDSON                               ROUTE 1                                                                                                  QUENEMO         KS    66528‐9801
DONALD G DAVIS                                  PO BOX 71                                                                                                CHESTERFIELD    IN    46017‐0071
DONALD G DIERICH                                C/O BONNIE J DIERICH                  182 BACON                                                          SAGINAW         MI    48609‐5130
DONALD G DIXON                                  16484 W SANDIA PARK DRIVE                                                                                SURPRISE        AZ    85374‐6290
DONALD G DOMANICK                               PO BOX 129                                                                                               N CAMBRIA       PA    15714‐0129
DONALD G DRIVER                                 20815 E 13TH TERRACE                                                                                     INDEPENDENCE    MO    64057‐2703
DONALD G DRUM                                   9507 N BROADMOOR RD                                                                                      BAYSIDE         WI    53217‐1312
DONALD G EBERHARDT                              4215 MACK CT                                                                                             POWELL          OH    43065‐7718
DONALD G EMMENDORFER                            15770 BUECHE RD R 3                                                                                      CHESANING       MI    48616‐9770
DONALD G ENDICOTT                               9560 E 192ND ST                                                                                          NOBLESVILLE     IN    46060‐1106
DONALD G EVANS                                  154 LR 131                                                                                               FOREMAN         AR    71836‐8527
DONALD G FADER                                  1029 PAWNEE DRIVE                                                                                        BURTON          MI    48509‐1446
DONALD G FAILOR                                 14890 RUSSELL                                                                                            ALLEN PARK      MI    48101‐2942
DONALD G FINNIE                                 425 S LOMBARD AVE                                                                                        LOMBARD         IL    60148‐2844
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DONALD G FINNIE & BARBARA L FINNIE JT TEN         425 S LOMBARD AVENUE                                                                           LOMBARD            IL    60148‐2844
DONALD G FORTUNATE                                2324 NORTHWEST BLVD                                                                            UPPER ARLINGTON    OH    43221‐3823

DONALD G FOWLER                                   610 POPLAR                                                                                     ROYAL OAK          MI    48073‐3240
DONALD G FOWLER                                   3160 N HWY 101                                                                                 CHICO              TX    76431‐3919
DONALD G FOWLER & GERALDINE T FOWLER JT TEN       610 POPLAR                                                                                     ROYAL OAK          MI    48073‐3240

DONALD G FRASER                                   863 LINDSAY BLVD                      OSHAWA ON                              L1K 1Z7 CANADA
DONALD G FRASER                                   863 LINDSAY BLVD                      OSHAWA ON                              L1K 1Z7 CANADA
DONALD G GARDNER & VIRGINIA G GARDNER JT TEN      1003 WEST LINCOLN ST                                                                           TULLAHOMA          TN    37388

DONALD G GIRDLER                                  C/O SHARON D GIRDLER                  1230 ADRIEN AVE APT E1                                   GREENVILLE         OH    45331‐8263
DONALD G GLASSMAN LTD                             ATTN DONALD GLASSMAN                  2685 MARL OAK DR                                         HIGHLAND PARK      IL    60035‐1317
DONALD G GREENOUGH                                3570 AUBURN DR                                                                                 CUMMING            GA    30041‐9109
DONALD G GROSE & MRS MILDRED GROSE JT TEN         9391 CANDLEWOOD RD                                                                             HUNTINGTON         CA    92646‐4758
                                                                                                                                                 BEACH
DONALD G HAYNES                                   2021 CRESCENT DR                                                                               BAY CITY           MI    48706‐9406
DONALD G HEDITSIAN                                408 HOGANS DR                                                                                  ROANOKE            TX    76262‐5575
DONALD G HENSON & HELEN F HENSON JT TEN           3165 BRYANT LANE NE                                                                            MARIETTA           GA    30066‐4605
DONALD G HEYDENS & BARBARA A HEYDENS JT TEN       54380 SASSAFRAS DR                                                                             SHELBY TONWSHIP    MI    48315‐1398

DONALD G HICKS JR & EILEEN R HICKS TEN ENT        9526 VALLEY MEDE CT                                                                            ELLICOTT CITY      MD    21042‐2362
DONALD G HISEY                                    PO BOX 873                                                                                     ANSONIA            OH    45303
DONALD G HITCHCOCK                                412 W MERIDIAN ST                                                                              SHARPESVILLE       IN    46068‐9593
DONALD G HORNEY                                   6102 PEARL STREET                                                                              ZEPHYRHILLS        FL    33540‐2685
DONALD G HUDGINS                                  120 FAIRWIND COURT                                                                             FORT MILL          SC    29708‐7871
DONALD G HURST                                    1925 SCHUST RD                                                                                 SAGINAW            MI    48604‐1615
DONALD G ISAKSON                                  2659 N U S 23                                                                                  OSCODA             MI    48750‐9576
DONALD G JAMROG                                   5640 DOGWOOD DR                                                                                JACKSON            MI    49201‐8868
DONALD G JENKINS                                  PO BOX 1004                                                                                    MOULTON            AL    35650‐0999
DONALD G JENTSCH                                  406 SALISBURY LANE                                                                             VICTORIA           TX    77904‐2202
DONALD G JOHNSON                                  2487 TALLAHASSEE ST                                                                            HAYWARD            CA    94545‐3457
DONALD G JOHNSON                                  10711 LENORE PARK CT                                                                           LAS VEGAS          NV    89166‐6026
DONALD G JOHNSTON                                 1295 S XAVIER                                                                                  DENVER             CO    80219‐3625
DONALD G JOSEPH                                   8233 ELM DR                                                                                    TRAVERSE CITY      MI    49684‐9039
DONALD G KALISZCZAK                               48314 ROUNDSTONE CT                                                                            CANTON             MI    48187‐5908
DONALD G KAMPA                                    1376 W SKILLMAN                                                                                ROSEVILLE          MN    55113‐5814
DONALD G KILBURN                                  8428 GAMMA CT                                                                                  CINCINNATI         OH    45231‐6019
DONALD G KILDSIG & JACQUELYN A KILDSIG JT TEN     1824 NORTHPOINT ST                                                                             OSHKOSH            WI    54901‐2552

DONALD G KIRST                                    7011 S 118TH ST                                                                                FRANKLIN           WI    53132‐1372
DONALD G KLIM                                     92‐604 PALAILAI ST                                                                             MAKAKILO           HI    96706
DONALD G KRUEGER                                  PO BOX 12026                                                                                   GREEN BAY          WI    54307‐2026
DONALD G KUBASTA                                  19237 GRANDVIEW                                                                                DETROIT            MI    48219‐1696
DONALD G LAKES                                    5419 WOODBINE AVE                                                                              DAYTON             OH    45432‐3655
DONALD G LANE                                     3207 STARKWEATHER                                                                              FLINT              MI    48506‐2689
DONALD G LANTZY & CARMEN M LANTZY JT TEN          502 MARY ELAINE DR                                                                             UTICA              NY    13502‐1712
DONALD G LOBB & JANICE M LOBB JT TEN              6316 WESTLAND CT                                                                               WESTLAND           MI    48185‐3030
DONALD G LOCKSTAEDT                               436 BELVEDERE E                                                                                COLGATE            WI    53017‐9706
DONALD G LONG                                     415 S OAKLAND                                                                                  INDIANAPOLIS       IN    46201‐4364
DONALD G LUNDIN & JANICE LUNDIN JT TEN            340‐14 NAVY STREET                                                                             HANCOCK            MI    49930‐2159
DONALD G LYONS                                    8015 MILL RD                                                                                   GASPORT            NY    14067‐9501
DONALD G MACDOUGALL                               5100 JOHNSON RD                                                                                KINGSLEY           MI    49649‐9776
DONALD G MARTIN                                   2963 GREEN                                                                                     LINCOLN PARK       MI    48146‐3236
DONALD G MATTSON                                  2109 BLACK CORNORS BOX 174                                                                     IMLAY CITY         MI    48444‐0174
DONALD G MCGUIRE                                  134 MOHAWK                                                                                     DEARBORN           MI    48124‐1322
DONALD G MCINTYRE                                 42902 DRIFTWOOD                                                                                STERLING HEIGHTS   MI    48313‐2828

DONALD G MELOY                                    17220 S OCONTO                                                                                 TINLEY PARK        IL    60477‐2622
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DONALD G MILLER                                   405 WEST EARLY DRIVE                                                                             MIAMISBURG         OH    45342‐3303
DONALD G MOLITERNO                                10420 LANGE RD                                                                                   BIRCH RUN          MI    48415‐9797
DONALD G MOLLOY                                   36240 GREGORY DRIVE                                                                              STERLING HEIGHTS   MI    48312‐2807

DONALD G MOORE                                    740 N ROCK RD                                                                                    MANSFIELD          OH    44903‐9114
DONALD G MOORE                                    1255 CATTLEMENS ROW                                                                              LOCKHART           TX    78644
DONALD G MORROW                                   740 EMERALD DR                                                                                   CHARLOTTE          MI    48813‐9028
DONALD G NAUGHTON                                 GM OF CANADA                            1908 COLONEL SAM DRIVE   OSHAWA ON     L1H 8P7 CANADA
DONALD G NAUGHTON                                 404 BEARBERRY LN                                                                                 ORTONVILLE         MI    48462
DONALD G NAYMAN                                   6581 SLAYTON SETTLEMENT ROAD                                                                     LOCKPORT           NY    14094‐1136
DONALD G NORTHAM                                  C/O BONNIE L NORTHAM                    2353 CHARITY LN                                          HAZEL GREEN        AL    35750‐9023
DONALD G NORTON                                   3590 STATE ROUTE 2096                                                                            HOP BOTTOM         PA    18824‐7694
DONALD G ORMSBEE                                  2417 BLACKBRIDGE RD                                                                              JANESVILLE         WI    53545‐1272
DONALD G PERRAULT                                 39 BARNFIELD RD                                                                                  PITTFORD           NY    14534‐2543
DONALD G PERSON                                   205 ADAMS ST                                                                                     LINDEN             NJ    07036‐1425
DONALD G PETERSON                                 6235 FEATHERSTONE COURT                                                                          ROCKFORD           IL    61107
DONALD G PHILLIPS                                 2233 HACIENDA BLVD                                                                               LA HABRA HEIGHTS   CA    90631‐7863

DONALD G POGUE                                    710 S WOOD                                                                                       FREDERICKTOWN      MO    63645‐7923
DONALD G PREY                                     1166 MIDDLTON PIKE                                                                               LUCKEY             OH    43443‐9733
DONALD G PYLES & PATRICIA G PYLES JT TEN          18339 STEWART AVE                                                                                HOMEWOOD           IL    60430‐3031
DONALD G QUARLES                                  PO BOX 3121                                                                                      ANDERSON           IN    46018‐3121
DONALD G QUICK                                    635 WHITE OAK CT                                                                                 ZIONSVILLE         IN    46077‐9049
DONALD G RAMRAS & MRS WILDA F RAMRAS JT TEN       4248 KARENSUE AVE                                                                                SAN DIEGO          CA    92122‐3732

DONALD G RICHEY                                   710 W US HWY 136                                                                                 VEEDERSBURG        IN    47987‐8462
DONALD G ROBISON                                  210 MORNINGSIDE DR                                                                               CHAPEL HILL        TN    37034
DONALD G ROCCO                                    30 COVENTRY DR                                                                                   SPENCEPORT         NY    14559‐2309
DONALD G ROPER                                    11711 E JUAN TABO ROAD                                                                           SCOTTSDALE         AZ    85255‐5905
DONALD G ROWLAND                                  177 NEWTON ROAD                                                                                  WOODBRIDGE         CT    06525‐1243
DONALD G RYAN                                     588 N 650W                                                                                       ANDERSON           IN    46011‐9110
DONALD G SALLAZ                                   10566 PALMYRA RD                                                                                 NORTH JACKSON      OH    44451‐9724
DONALD G SCHROYER                                 1563 DOUGLAS AVE                                                                                 DUNEDIN            FL    34698‐4307
DONALD G SCHUMITSH                                13598 CLAREMONT AVE                                                                              CLEVELAND          OH    44130‐2722
DONALD G SEIDLER                                  15483 LINCOLNSHIRE LANE                                                                          FRASER             MI    48026‐2354
DONALD G SELTZER & CHARLOTTE R SELTZER JT TEN     200 GRANT ST                                                                                     PARKESBURG         PA    19365

DONALD G SHELTON                                  1301C PINECREST CIRCLE                                                                           JUPITER            FL    33458‐7693
DONALD G SHEPHERD                                 5424 BOOTH ROAD                                                                                  OXFORD             OH    45056‐9070
DONALD G SILLIES                                  3064 SOUTHFORK DR                                                                                CINCINNATI         OH    45248‐5035
DONALD G SIMMS                                    2403 SPRING GROVE DR                                                                             KOKOMO             IN    46902‐9582
DONALD G SMITH                                    7401 ASH AVE                                                                                     GARY               IN    46403‐2116
DONALD G STEVENS                                  221 S ROCK RD                                                                                    MANSFIELD          OH    44903‐8963
DONALD G STITTS                                   BOX 103A RD E                                                                                    SHELOCTA           PA    15774‐0103
DONALD G STRAITIFF                                1799 PARK RIDGE CT                                                                               HOWELL             MI    48843‐8097
DONALD G STREBIN                                  1618 ALTO ROAD WEST                                                                              KOKOMO             IN    46902‐4834
DONALD G SWART & PATSY L SWART TR SWART LIVING    10435 DUFFIELD RD                                                                                MONTROSE           MI    48457‐9033
TRUST UA 9/23/04
DONALD G SWYERS                                   575 BRIDGE RD APT 10‐6                                                                           FLORENCE           MA    01062‐1089
DONALD G SYKES                                    215 SILVERBIRCH BLVD                    MOUNT HOPE ON                          L0R 1W0 CANADA
DONALD G TERNS                                    5828 FONDA LAKE                                                                                  BRIGHTON           MI    48116‐9511
DONALD G TIEDEMAN & ELAINE M TIEDEMAN JT TEN      4545 HEARTHRIDGE DR                                                                              JANESVILLE         WI    53546‐2172

DONALD G TILLEMA                                  W8834 JASON DR                                                                                   BEAVER DAM         WI    53916‐9787
DONALD G TIPPET & ROSA A TIPPET JT TEN            22447 BLACK GUM STREET                                                                           MIRENO VALLEY      CA    92553
DONALD G TIPTON                                   131 MOON BOW DR                                                                                  LAFOLLETTE         TN    37766‐5607
DONALD G TOMIDAJEWICZ                             2294 BREEZEWOOD                                                                                  AUSTINTOWN         OH    44515‐5103
DONALD G TROMBLEY SR                              43312 EUREKA DR                                                                                  CLINTON TWNSHP     MI    48036‐1286
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Name                                          Address1                             Address2             Address3          Address4          City            State Zip

DONALD G VANDER MEULEN                        2720 RICHMOND ST NW                                                                           GRAND RAPIDS    MI    49504‐2333
DONALD G VIEU                                 14935 MAPLE ST                                                                                POSON           MI    49776‐9783
DONALD G VOROUS & ANNA MAE VOROUS JT TEN      126A NEWPORT ST NW                                                                            CHARLESTON      TN    37310‐6318
DONALD G WACKER & MRS ELIZABETH B WACKER JT   POBOX 356                                                                                     PAUPACK         PA    18451‐0356
TEN
DONALD G WEESE                                28 FRANCIS ST                                                                                 MIDDLEPORT      NY    14105‐1222
DONALD G WEESE & MARIE A WEESE JT TEN         28 FRANCIS ST                                                                                 MIDDLEPORT      NY    14105‐1222
DONALD G WHITE & EVELYN L WHITE JT TEN        2348 AMELITH ROAD                                                                             BAY CITY        MI    48706‐9320
DONALD G WILLIAMS                             12538 YANKEETOWN PIKE                                                                         MT STERLING     OH    43143‐9513
DONALD G WILSON & JERRIANN M WILSON JT TEN    584 RICHARD WAY                                                                               SEVERNA PARK    MD    21146‐3527

DONALD G WILSON & MRS MARGARET ANN WILSON JT 4443 CARACALLA DRIVE                                                                           FLORISSANT      MO    63033‐7003
TEN
DONALD G WITZEL                              619 MENDON RD                                                                                  PITTSFORD       NY    14534‐9773
DONALD G WOODBECK                            6405 BIRCH RUN RD                                                                              MILLINGTON      MI    48746‐9725
DONALD G WOOLLEY                             714 MANZANO                                                                                    WALLED LAKE     MI    48390‐2029
DONALD G ZIMMERMAN & RUTH G ZIMMERMAN JT TEN 4231 MELBOURNE RD E                                                                            INDIANAPOLIS    IN    46228‐2819

DONALD GALIE CUST MYLES A GALIE UTMA IL       365 STAINWOOD TERRACE                                                                         BUFFALO GROVE   IL    60089‐4605
DONALD GARDNER CUST SAMUEL H GARDNER UGMA     182 SUMMER STREET                                                                             REHOBOTH        MA    02769‐1718
MA
DONALD GEBHARD                                117 SNOW AVE                                                                                  SAGINAW         MI    48602‐3158
DONALD GEE & MRS ROSITA GEE JT TEN            595 MADRONA AVE                                                                               FELTON          CA    95018‐9236
DONALD GENE NOLEN & VIRGINIA NOLEN JT TEN     5362 MILANE CIR                                                                               CLARKSTON       MI    48346‐3537
DONALD GENTRY EX EST BEATRICE A CROSBY        151 PROGRESS AVE                                                                              HAMILTON        OH    45011
DONALD GEORGE AUSTIN                          PO BOX 132                                                                                    FARNHAM         NY    14061‐0132
DONALD GEORGE BOHN                            PO BOX 168                                                                                    WAUKAU          WI    54980‐0168
DONALD GEORGE LINTON                          110 NEWBY LANE                                                                                HOT SPRINGS     AR    71913‐4527
DONALD GEORGE SEIDLER                         15483 LINCOLNSHIRE LN                                                                         FRASER          MI    48026‐2354
DONALD GILBERT                                907 PARK AVE                                                                                  NEWPORT         KY    41071‐2235
DONALD GILLILAND                              54 SHERBROOKE ROAD                                                                            TRENTON         NJ    08638‐2420
DONALD GILMORE COWLING JR                     5807 TAFT ST                                                                                  MIDDLETON       WI    53562‐1932
DONALD GLENN HOLLOWAY                         238 SOUTH DURAND RD                                                                           CORUMNA         MI    48817‐9520
DONALD GLUCKSMAN                              5350 N BAY RD                                                                                 MIAMI BEACH     FL    33140‐2041
DONALD GOES                                   4452 S GREENRIDGE CIR                                                                         GREENFIELD      WI    53220‐3300
DONALD GOLDEN                                 695 WASHINGTON AVENUE                                                                         ELYRIA          OH    44035‐3602
DONALD GRAF & MRS CATHERINE GRAF JT TEN       5844 GRAF ROAD                                                                                UNIONVILLE      MI    48767‐9658
DONALD GRIFFIN                                9520 HENDERSON RT 1                                                                           GOODRICH        MI    48438‐9765
DONALD GUY SPENO                              95 BEEKMAN AVE                       APT 445J                                                 SLEEPY HOLLOW   NY    10591‐2549
DONALD H ADAMS                                13964 HELEN ST                                                                                PAULDING        OH    45879‐8893
DONALD H ALBRO                                4448 FERDEN RD                                                                                NEW LOTHROP     MI    48460‐9608
DONALD H ALLEN                                1004 MINTURN LANE                                                                             AUSTIN          TX    78748
DONALD H BATES                                324 OLDHAM WAY                                                                                ENGLEWOOD       OH    45322‐1744
DONALD H BENNETT                              1661 W SUNRIDGE DR                                                                            TUCSON          AZ    85737‐2364
DONALD H BENNETT & DIXIE L BENNETT JT TEN     1661 W SUNRIDGE DR                                                                            TUCSON          AZ    85737‐2364
DONALD H BERARD                               1145 ADALIA TER                                                                               PT CHARLOTTE    FL    33953‐2110
DONALD H BLACKWELL                            3215 W 67TH ST                                                                                ANDERSON        IN    46011‐9409
DONALD H BLAKENEY                             1438 N COUNTY RD H                                                                            JANESVILLE      WI    53548
DONALD H BRADFORD                             165 E 7460 S                                                                                  MIDVALE         UT    84047‐2144
DONALD H BRAUN & MRS RUBY BRAUN JT TEN        36 S HUDSON AVE                                                                               STURGEON BAY    WI    54235‐3021
DONALD H BROADSWORD                           BOX 34                                                                                        LITCHFIELD      OH    44253‐0034
DONALD H BROCK                                2112 MC DANIEL AVE                                                                            EVANSTON        IL    60201‐2127
DONALD H BUCK                                 2 DEARBURN COURT                                                                              FLORHAM PARK    NJ    07932‐2721
DONALD H BUTLER                               6304 N BRITT AVE                                                                              KANSAS CITY     MO    64151‐7806
DONALD H CLARKE                               815 S MAIN                                                                                    EATON RAPIDS    MI    48827‐1729
DONALD H COOK                                 8817 S VILLA PL                                                                               OKLAHOMA CITY   OK    73159‐5729
DONALD H COVE                                 2160 DUCK LAKE ROAD                                                                           HIGHLAND        MI    48356
DONALD H COZAD JR                             100 TOPAZ TRAIL                                                                               CORTLAND        OH    44410‐1313
DONALD H DEHAAN & MILDRED K DEHAAN JT TEN     12633 NORRIS RD                                                                               MANHATTAN       MT    59741‐8621
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Name                                           Address1                            Address2                      Address3   Address4          City             State Zip

DONALD H DELOACH                                1952 ORMOND BLVD                                                                              DESTREHAN        LA    70047
DONALD H DEROSE                                 483 MARIE                                                                                     WESTLAND         MI    48186‐3815
DONALD H DIEKER & NANCY J DIEKER TR DONALD H    1689 COTTONWOOD CREEK PL                                                                      LAKE MARY        FL    32746‐4405
DIEKER REV TR UA 08/14/00
DONALD H DUNN                                   1315 CHADWICK SHORES DR                                                                       SNEADS FERRY     NC    28460‐9275
DONALD H DWYER SR                               1674 TWICKENHAM RD                                                                            PASADENA         MD    21122
DONALD H ESSELTINE                              102 MANGO RD NE                                                                               LAKE PLACID      FL    33852‐9107
DONALD H FORTE                                  1202 SAN JUAN                                                                                 FLINT            MI    48504‐3231
DONALD H GARDNER CUST ADAM PHILLIPS GARDNER     182 SUMMER ST                                                                                 REHOBOTH         MA    02769‐1718
UGMA MA
DONALD H GARDNER JR CUST ANNIE IDE GARDNER      182 SUMMER ST                                                                                 REHOBOTH         MA    02769‐1718
UGMA MA
DONALD H GILLETT                                790 RIVERWALK CIR                  APT 4B                                                     CORUNNA          MI    48817‐1372
DONALD H GREENLEES                              4370 SEYMOUR LK RD                                                                            OXFORD           MI    48371‐4023
DONALD H HART                                   31258 BIRCHWOOD                                                                               WAYNE            MI    48186‐9016
DONALD H HODGES                                 PO BOX 394                                                                                    VIENNA           OH    44473‐0394
DONALD H HOLLWEDEL                              128 BLOOMFIELD WAY                                                                            FOLSOM           CA    95630
DONALD H HUCK                                   9 LANSING ST                                                                                  NORTH WARREN     PA    16365‐4602
DONALD H HUDSON                                 7273 S STATE ROAD 75                                                                          JAMESTOWN        IN    46147‐8812
DONALD H HUNGER & EFFIE MAE HUNGER JT TEN       57 DAVID DRIVE                     PUCKETY CHURCH ROAD CONDO'S                                LOWER BURRELL    PA    15068‐9711
DONALD H JENNINGS                               8960 COOMBS RD                                                                                N BLOOMFIELD     OH    44450‐9709
DONALD H JENTER                                 6979 PLANK RD                                                                                 HUNTSBURG        OH    44046‐9604
DONALD H JOHNSON                                4560 SABINE DR                                                                                GULF BREEZE      FL    32563‐9253
DONALD H JOLLEY                                 3153 TANYARD HOLLOW RD                                                                        CULLEOKA         TN    38451‐2341
DONALD H KAMM                                   10735 E LANSING RD                                                                            DURAND           MI    48429‐1812
DONALD H KATT                                   107 S BIRNEY                                                                                  BAY CITY         MI    48708‐7528
DONALD H KAUFMAN                                2670 S WINONA CT                                                                              DENVER           CO    80219‐5644
DONALD H KAUFMAN CUST MARK DONALD KAUFMAN 333 W POST RD                            APT 1L                                                     WHITE PLAINS     NY    10606‐2939
UGMA MI
DONALD H KAUFMAN CUST NANCY JO KAUFMAN UGMA 23727 KING DR                                                                                     MT CLEMENS       MI    48035‐2988
MI
DONALD H KEMP                                   8313 TAPAZ DR                                                                                 INDIANAPOLIS     IN    46227‐6168
DONALD H KERWIN                                 394 YOUNG STREET                                                                              WILSON           NY    14172
DONALD H KEUCKEN                                55677 LORRAINE DR                                                                             SHELBY TWNSHP    MI    48316‐0938
DONALD H LANDIS CUST CURTIS ALLEN REYNOLDS      9632 S 208TH ST                                                                               KENT             WA    98031‐1404
UGMA WA
DONALD H LASCH                                  8139 N LIMA CENTER RD                                                                         WHITEWATER       WI    53190‐3339
DONALD H LES                                    62 CARSON WAY                                                                                 SOUTH WINDSOR    CT    06074‐1847
DONALD H LIMBACK                                BX 203                                                                                        ALMA             MO    64001‐0203
DONALD H LINCICOME                              6160 E STATE ROAD 45                                                                          BLOOMINGTON      IN    47408‐9272
DONALD H MAC DOUGALL                            14423 SILVER LAKES CIRCLE                                                                     PORT CHARLOTTE   FL    33953‐4654
DONALD H MAKARCHUK                              130 BARCLAY CT                                                                                ROCHESTER        NY    14612‐2380
DONALD H MAYBERRY                               9319 WASHBURN RD                                                                              COLUMBIAVILLE    MI    48421‐8811
DONALD H MC PHAIL & MRS SCHARLENE A MC PHAIL JT 196 HILLSIDE DRIVE                                                                            ONEONTA          NY    13820‐3666
TEN
DONALD H MCDERMOTT                              4023 CARTHAGE RD                                                                              RANDALLSTOWN     MD    21133‐4424
DONALD H MITCHELL                               8630 NE 157TH ST                                                                              KENMORE          WA    98028‐4455
DONALD H MORROW                                 1213 ROYCE DR                                                                                 SOMERSET         KY    42503‐9720
DONALD H NEWMAN                                 R ROUTE 2                          WOODSLEE ON                              N0R 1V0 CANADA
DONALD H NEWMAN                                 RR 2                               WOODSLEE ON                              N0R 1V0 CANADA
DONALD H NORMAN                                 1110 WATKINS ST SE                                                                            GRAND RAPIDS     MI    49507‐1471
DONALD H NOVAK                                  42 GLENDALE LANE                                                                              CHEEKTOWAGA      NY    14225‐1820
DONALD H OLDENBURG                              PO BOX 465                                                                                    LIVONIA          NY    14487‐0465
DONALD H OTTO & ANNAMAE OTTO JT TEN             1239 OLD WHITE BRIDGE RD                                                                      WAYNESBORO       VA    22980‐6366
DONALD H OVERMYER JR                            106 EVERGREEN DR                                                                              LINDEN           AL    36748‐3320
DONALD H PARCEL                                 1810 NE 64TH                                                                                  PORTLAND         OR    97213‐4734
DONALD H PARKS SR & JOANNA PARKS JT TEN         32560 SOMERSET AVE                                                                            WESTLAND         MI    48185‐5260
DONALD H PETERSON                               525 HARRIET AVE APT 1015                                                                      SHOREVIEW        MN    55126‐4047
DONALD H PHILLIPS                               6225 RIVERSIDE LANE                                                                           MIDDLEVILLE      MI    49333‐9715
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DONALD H PRETTYMAN & MARY ANN PRETTYMAN JT        2323 E 3RD ST                                                                                  DULUTH          MN    55812‐1852
TEN
DONALD H RAAB & MABEL G RAAB TR UA 11/17/93 THE   507 IRVIN ST                                                                                   OGDENSBURG      NY    13669
RAAB FAMILY TRUST
DONALD H RADTKE JR                                205 EVEREST RD                                                                                 MILTON          VT    05468‐3440
DONALD H RASHOTT                                  4637 LACLAIR                                                                                   STANDISH        MI    48658‐9754
DONALD H REED                                     13712 SUMMER LN                                                                                GRAND LEDGE     MI    48837‐9247
DONALD H REIGHARD                                 6409 EDGEWATER                                                                                 ERIE            MI    48133
DONALD H SANDELL & ELIZABETH J SANDELL JT TEN     1124 ELIZABETH AVE                                                                             NAPERVILLE      IL    60540‐5721

DONALD H SAUNDERS                                 239 PONDEROSA                                                                                  OREGON          OH    43616‐2229
DONALD H SCHNACK & DELORES V SCHNACK JT TEN       2021 RHODE ISLAND N                                                                            MINNEAPOLIS     MN    55427‐3536

DONALD H SCHWANGER & PEGGY A SCHWANGER JT         726 PERRY STREET                                                                               SANDUSKY        OH    44870‐3719
TEN
DONALD H SIEBERT III                              900 LONG BLVD #595                                                                             LANSING         MI    48911‐6762
DONALD H SILSBE                                   1816 SHERLYNN DR                                                                               BRIGHTON        MI    48114‐9602
DONALD H SMITH                                    14171 BURNS                                                                                    SOUTHGATE       MI    48195‐1903
DONALD H SPENCER                                  21 HILL RD                                                                                     ATLANTIC        NJ    07716‐1504
                                                                                                                                                 HIGHLANDS
DONALD H STATES                                   313 N HARDIN DR                                                                                COLUMBIA        TN    38401‐2030
DONALD H STONE                                    5775 FARGO RD                                                                                  CROSWELL        MI    48422‐9762
DONALD H STOWELL & TERRI L STOWELL JT TEN         19849 VILLA 111                                                                                SONORA          CA    95370
DONALD H VAN DENBUSSCHE & DONALD C VAN            PO BOX 317                                                                                     ALGONAC         MI    48001‐0317
DENBUSSCHE JT TEN
DONALD H VAN DENBUSSCHE & JEFFERY T VAN           PO BOX 317                                                                                     ALGONAC         MI    48001‐0317
DENBUSSCHE JT TEN
DONALD H VAN DENBUSSCHE & SHERRIEH ROZMAN JT      PO BOX 317                                                                                     ALGONAC         MI    48001‐0317
TEN
DONALD H VAN DYKE & KEVIN A VAN DYKE JT TEN       7293 WESTLAKE RD                                                                               BELLEVUE        MI    49021‐8291
DONALD H VOIGHT                                   26 GROVE STREET                                                                                BALDWINSVILLE   NY    13027‐2331
DONALD H VOLTA                                    225 8TH AVE                                                                                    KIRKLAND        WA    98033‐5527
DONALD H WALSH                                    5127 ST RT #5                                                                                  NEWTON FALLS    OH    44444‐9574
DONALD H WANGLER                                  10 SURREY COURT                                                                                MONROEVILLE     OH    44847‐9793
DONALD H WERDERMAN                                5101 BUCKINGHAM PLA                                                                            TROY            MI    48098‐2601
DONALD H WIESEN TR UW MARION BELL WIESEN FBO      412 BELLAIRE OAKS DR                                                                           PFLUGERVILLE    TX    78660‐8043
DONALD HART WIESEN
DONALD H WIESEN TR UW THOMAS F WIESEN FBO         412 BELLAIRE OAKS DR                                                                           PFLUGERVILLE    TX    78660‐8043
DONALD HART WIESEN
DONALD H WIESEN TR WIESEN TRUST UA 01/03/01       412 BELLAIRE OAKS DR                                                                           PFLUGERVILLE    TX    78660‐8043

DONALD H WILDEY                                   1045 WILSON DUNHAM ROAD                                                                        NEW RICHMOND    OH    45157‐9733
DONALD H WILLIAMSON                               602 LANCELOT DR                                                                                MARION          IN    46952‐2462
DONALD H WILSON & BARBARA L WILSON JT TEN         102 SHERWOOD ST                                                                                HOLLY           MI    48442‐1229
DONALD H WIPKE & CONSTANCE HELLING JT TEN         6681 HIGHWAY CC                                                                                LESLIE          MO    63056‐1506
DONALD H WIPKE & DAVID H WIPKE JT TEN             6681 HIGHWAY CC                                                                                LESLIE          MO    63056‐1506
DONALD H WIPKE & TIMOTHY A WIPKE JT TEN           6681 HIGHWAY CC                                                                                LESLIE          MO    63056‐1506
DONALD H WOODALL                                  1755 AMBRIDGE ROAD                                                                             CENTERVILLE     OH    45459‐5156
DONALD HALL                                       15349‐MANSFIELD                                                                                DETROIT         MI    48227‐1902
DONALD HALL & SHELIA HALL JT TEN                  BOX 224                               CARDSTON AB                            T0K 0K0 CANADA
DONALD HAMLY                                      PO BOX 658                                                                                     WOFFORD HEIGHTS CA    93285‐0658

DONALD HAMPTON                                    249 MUNTZ ST                                                                                   HILLSBORO       OH    45133‐1512
DONALD HANEL                                      9 MOSSOAK DR                          APT 2                                                    DAYTON          OH    45429‐2918
DONALD HANKS                                      1639 MURFREESBORO RD                                                                           LEBANON         TN    37090‐5311
DONALD HARGRAVE                                   PO BOX 3                                                                                       BUFFALO         NY    14213‐0003
DONALD HARRIS                                     1020 E BEETREE ST                                                                              NASHVILLE       GA    31639‐1772
DONALD HAUSWIRTH & ROSALIE HAUSWIRTH JT TEN       170 PARK AVE                                                                                   AMITYVILLE      NY    11701
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DONALD HAY                                        3904 SAN ROMAN                                                                                 MISSION           TX    78572‐7665
DONALD HEATH                                      348 FALCON MANOR                                                                               WILLISTON         VT    05495‐7860
DONALD HELISEK                                    5871 DANIELLE CT                                                                               PAHRUMP           NV    89048
DONALD HENCKEL                                    N37 W26849 KOPMEIER DR                                                                         PEWAWKEE          WI    53072‐2340
DONALD HENDRICK                                   8517 DAYTON MTN HWY                                                                            DAYTON            TN    37321‐7481
DONALD HENRY COOK                                 PO BOX 1177                                                                                    ANDERSON          IN    46015‐1177
DONALD HENRY LEARY                                1927 BOHANNON DR                                                                               SANTA CLARA       CA    95050‐5708
DONALD HERING                                     16623 ROOSEVELT HWY                                                                            KENDALL           NY    14476‐9629
DONALD HIGUCHI CUST YURI HIGUCHI UGMA NY          40139 N BRIDLEWOOD CT                                                                          PHOENIX           AZ    85086‐2320
DONALD HOCKER                                     677 HILLGRAVE CT                                                                               CINCINNATI        OH    45246‐1436
DONALD HORTON                                     59 MAPLE AVE                                                                                   MERIDEN           CT    06450‐4704
DONALD HOUSE                                      3364 ED DODD TRAIL                                                                             GAINESVILLE       GA    30506‐1219
DONALD HOWARD                                     15412 DAWKINS RD                                                                               NEW HAVEN         IN    46774‐9641
DONALD HUDDLESTON & MARGARET HUDDLESTON JT        668 STANBURY RD SW                                                                             SUPPLY            NC    28462‐6022
TEN
DONALD HUNT                                       6231 SHAWMUT RD                                                                                RIDGWAY           PA    15853‐4435
DONALD HURLOCK & CATHERINE HURLOCK JT TEN         6191 SEMIAHMOO LN                                                                              BLAINE            WA    98230‐6310

DONALD HUTH                                      27 DOGWOOD ROAD                                                                                 MORRIS PLAINS     NJ    07950‐1918
DONALD I BALLOU & KATHLEEN M BALLOU JT TEN       45 IMPERIAL CIR                                                                                 ROCHESTER         NY    14617‐3217
DONALD I BEUKERS                                 1069 VISTA DEL MAR                                                                              SAN JOSE          CA    95132‐3152
DONALD I BOGART                                  1200 KINNEVILLE RD                                                                              LESLIE            MI    49251‐9561
DONALD I CRUM TR REVOCABLE LIVING TRUST 07/25/90 4412 N MEMPHIS RD                                                                               CLAREMONT         IL    62421‐2419
U‐A DONALD I CRUM
DONALD I EYCLESHYMER                             12100 DUFFIELD RD                                                                               MONTROSE          MI    48457‐9703
DONALD I HERMAN & ANNE HERMAN JT TEN             PO BOX 558                                                                                      GREENVILLE        NY    12083‐0558
DONALD I MARSHALL                                5191 SW 178TH TER                                                                               DUNNELLON         FL    34432‐2140
DONALD I MCLAUGHLIN                              296 HAMPTONS TERRACE NW                CALGARY AB                             T2L 1V4 CANADA
DONALD I PRATT                                   11915 WOODLAND DR                                                                               LENNON            MI    48449‐9663
DONALD I ROWLAND                                 2019 SO 20TH                                                                                    KANSAS CITY       KS    66106
DONALD I SIMONSON                                829 COUNTY RD E                                                                                 ADAMS             WI    53910‐9621
DONALD I SLONE                                   RR 3 BOX 237B                                                                                   MONTICELLO        KY    42633‐9559
DONALD I SNASHALL                                12213 LAKE ERIE ROAD SE                CALGARY AB                             T2J 2L7 CANADA
DONALD I VERMEULEN & FRANCES M VERMEULEN JT      47948 JEFFERSON                                                                                 NEW BALTIMORE     MI    48047‐2222
TEN
DONALD IRA ROSENKRANZ                            535 HOLMES AVE NORTH                                                                            FORKED RIVER      NJ    08731
DONALD IVAN MILLER & CATHERINE L MILLER JT TEN   1230B N CENTURY BLVD                                                                            RANTOUL           IL    61866‐1144

DONALD J ADAMSKI                                  15531 M‐43                                                                                     HICKORY CORNERS   MI    49060‐9720

DONALD J ADDISON & MARY ANN ADDISON JT TEN        10700 N CLARK AVE                                                                              ALEXANDRIA        IN    46001‐9022

DONALD J AIKENS                                   220 E SIDNEY ST                                                                                STANTON           MI    48888‐8909
DONALD J ALFERY                                   6140 NILES                                                                                     TORY              MI    48098‐5614
DONALD J ALLEN                                    1945 VANDEKARR RD                                                                              OWOSSO            MI    48867‐9140
DONALD J AMBOYER                                  54367 QUEENS ROW                                                                               SHELBY TWP        MI    48316‐1529
DONALD J AMIG & ZOLA R AMIG JT TEN                78 PLEASANT VIEW TER                                                                           NEW CUMBERLND     PA    17070

DONALD J ANDRAS TR DONALD J ANDRAS LIVING TRUST   9356 ASBURY LN                                                                                 N RIDGEVILLE      OH    44039‐9731
UA 12/01/94
DONALD J ARMSTEAD                                 11073 JERRYSON RT 4                                                                            GRAND LEDGE       MI    48837‐9181
DONALD J ARNDORFER                                127 E SOUTH ST                                                                                 BEAVER DAM        WI    53916‐2509
DONALD J AYERS III                                6052 MULBERRY DR                                                                               STERLING HTS      MI    48314‐1459
DONALD J BACCUS & CAMILLE M BACCUS JT TEN         2738 N 117TH PL                                                                                WAUWATOSA         WI    53222‐4102
DONALD J BACH                                     10079 BASALT COURT                                                                             RENO              NV    89506‐1606
DONALD J BALDWIN & MRS HELEN W BALDWIN JT TEN     2787 IRA HILL RD                                                                               CATO              NY    13033‐9801

DONALD J BARLASS                                  PO BOX 611                                                                                     JANESVILLE        WI    53547‐0611
DONALD J BARNETT                                  6631 HEDINGTON SQ                     APT 4                                                    CENTERVILLE       OH    45459‐6973
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DONALD J BARTHOLOMEW                             114 N 10TH ST                                                                                 WHEELING        WV    26003‐6917
DONALD J BARTLE                                  9948 CURRIER RD                                                                               MILLINGTON      MI    48746‐9777
DONALD J BEARER                                  1329 FARAID LN                                                                                VIRGINA BEACH   VA    23464‐6323
DONALD J BECKER                                  4447 N CO RD 300 W                                                                            MIDDLETOWN      IN    47356‐9420
DONALD J BEDARD & ROSEMARY BEDARD JT TEN         1322 GORDON ST                                                                                LANSING         MI    48910‐2613
DONALD J BENDELE                                 13775 WILHELM RD                                                                              DEFIANCE        OH    43512‐8601
DONALD J BERGER & CAROL BERGER JT TEN            137‐26 71 AVE                                                                                 FLUSHING        NY    11367‐1939
DONALD J BERGOR                                  5041 WILLIS ROAD                                                                              YPSILANTI       MI    48197‐9359
DONALD J BERRY                                   150 EDINBURGH DR                                                                              SPRINGBORO      OH    45066‐1574
DONALD J BICKNELL                                4987 BOWERS RD                                                                                ATTICA          MI    48412‐9641
DONALD J BLATNER                                 77 HALLADAY LANE                                                                              TONAWANDA       NY    14150‐7067
DONALD J BOCKLER & MARZINA C BOCKLER JT TEN      138 GILBERT RD                                                                                BELMONT         MA    02478‐2206

DONALD J BOMKAMP                                  916 BEDFORD DR                                                                               JANESVILLE      WI    53546‐3701
DONALD J BONTJE                                   1239 BINGHAM AVE                                                                             JANESVILLE      WI    53546‐2642
DONALD J BORGES                                   539 RIVER ROAD                                                                               FAIR HAVEN      NJ    07704‐3227
DONALD J BOS                                      7648 ELMBROOKE WAY                                                                           BRIGHTON        MI    48116‐6198
DONALD J BOYKIN                                   29 FOXSHIRE LANE                                                                             ROCHESTER       NY    14606‐5350
DONALD J BRETON                                   7076 RIDDLE RD                                                                               LOCKPORT        NY    14094‐9331
DONALD J BROWN                                    25 BAYWATER DR                                                                               DARIEN          CT    06820‐5702
DONALD J BROWN                                    388 LEEWARD WAY                                                                              LENOIR CITY     TN    37772‐4493
DONALD J BUCZIK & REGINA T BUCZIK JT TEN          129 LYNTHWAITE FARM RD                                                                       WILMINGTON      DE    19803‐1512
DONALD J BUECHE                                   2590 E CASTLE RD                                                                             NORTH BRACNCH   MI    48461‐9334
DONALD J BUEG                                     215 NORTHWOOD AVE                                                                            E ROCHESTER     NY    14445‐1617
DONALD J BURGER                                   PO BOX 187                                                                                   SALEM           IN    47167‐0187
DONALD J BURKE                                    PO BOX 1702                                                                                  CARMEL          NY    10512‐7702
DONALD J BURNHAM                                  1626 CANEY SPRINGS RD                                                                        CHAPEL HILL     TN    37034‐2007
DONALD J BUSE                                     708 HIGHVIEW AVE                                                                             GLEN ELLYN      IL    60137‐5504
DONALD J BUTLER                                   835 TURTLE LAKE RD                                                                           UNION CITY      MI    49094‐9649
DONALD J CAMPBELL                                 7149 BRITTWOOD LN                                                                            FLINT           MI    48507‐4621
DONALD J CARD                                     1124 ORCHARD DR                                                                              HOLLY           MI    48442‐1047
DONALD J CARNOHAN                                 1711 MELBOURNE RD                                                                            BALTIMORE       MD    21222‐4822
DONALD J CARON                                    RFD2                                182 MEMORY LN                                            ORANGE          MA    01364‐9692
DONALD J CARROZZINO                               560 DEER POINT ROAD                                                                          WEST CHESTER    PA    19382‐8547
DONALD J CHARBONNEAU                              346 1ST ST W                                                                                 DICKINSON       ND    58601‐5027
DONALD J CHARLESON                                11918 DREXEL HILL DRIVE                                                                      HOUSTON         TX    77077‐3010
DONALD J CHILDS                                   4341 HILLCREST DRIVE                                                                         MADISON         WI    53705‐5018
DONALD J CHOMICZ & MRS ELEANOR M CHOMICZ JT       12249 TIDESWELL MILL CT                                                                      WOODBRIDGE      VA    22192
TEN
DONALD J CLARK TR UA 10/29/87 DONALD J CLARK      7933 E NATAL AVE                                                                             MESA            AZ    85208‐6165
TRUST
DONALD J CONWAY                                   13003 MELVILLE LANE                                                                          FAIRFAX         VA    22033‐3631
DONALD J COOK & MRS THERESA M COOK JT TEN         313 HOMEVIEW DR                                                                              BRANDENBURG     KY    40108‐1508
DONALD J COOKS & MRS ROSE O COOKS JT TEN          2045 GULF OF MEXICO DR              UNIT 110                                                 LONGBOAT KEY    FL    34228‐3231
DONALD J COONEY                                   499 LAKE WAY                                                                                 OLDSMAR         FL    34677‐2454
DONALD J COSCARELLI                               13952 N HARTEL ROAD                                                                          GRAND LEDGE     MI    48837‐9349
DONALD J COUSINEAU                                4486 KNIGHT RD                                                                               STERLING        MI    48659‐9408
DONALD J COX                                      865 LOWER FERRY ROAD                STE 120                                                  EWING           NJ    08628‐3534
DONALD J CRADDOCK                                 163 IRVING ST                                                                                LOCKPORT        NY    14094‐2543
DONALD J CRONIN                                   23 BB ST                                                                                     LAKELAND        FL    33815‐4203
DONALD J CURTIS TR DONALD J CURTIS REV INTERVIVOS 316 MCDONOUGH ST                                                                             SANDUSKY        OH    44870‐2328
TRUST UA 9/28/95
DONALD J DAMANKOS                                 5108 MAYVIEW ROAD                                                                            LYNDHURST       OH    44124‐1244
DONALD J DANIELS                                  91 ELLIS STREET                                                                              NEW BRITAIN     CT    06051‐3424
DONALD J DAVIDSON                                 42600 CHERRY HILL RD                APT 305                                                  CANTON          MI    48187‐3788
DONALD J DAVOLIO                                  116 PIN OAK PL                                                                               CAMPBELL        OH    44405‐1683
DONALD J DEFENTHALER & ELAINE L DEFENTHALER JT    4101 NW CINNAMON CIR                                                                         JENSEN BEACH    FL    34957‐3663
TEN
DONALD J DENEWETH                                 8218 DALTON RD                                                                               ONSTED          MI    49265‐9577
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

DONALD J DEWEES                                    210 E 38TH ST APT 20                                                                            KANSAS CITY        MO    64111
DONALD J DIEBEL                                    7225 CARDINAL STREET                                                                            ALGONAC            MI    48001‐4107
DONALD J DIETZ                                     1151 SUNSET HILL                                                                                LAKE ORION         MI    48360‐1412
DONALD J DOUTRE JR                                 26154 RAMPART BLVD                                                                              PUNTA GORDA        FL    33983
DONALD J DRAKE                                     5324 E PRATT RD                                                                                 ST JOHNS           MI    48879‐9134
DONALD J DREFFS                                    9817 WOODLAND CT                                                                                YPSILANTI          MI    48197‐9739
DONALD J DRIEBEEK                                  E OPEDEBECKLAAN 18                     B‐3140 KEERBERGEN                      BELGIUM
DONALD J DUQUETTE & HELEN B DUQUETTE JT TEN        40 CHIPMAN PL                                                                                   N TONAWANDA        NY    14120‐4303

DONALD J DUSETT                                    PO BOX 366                                                                                      RICHMOND           MI    48062‐0366
DONALD J DUSETT & GEORGENA M DUSETT JT TEN         PO BOX 366                                                                                      RICHMOND           MI    48062‐0366
DONALD J EASLICK                                   15047 REGINA                                                                                    ALLEN PARK         MI    48101‐1824
DONALD J ECKHART                                   115 WINIFRED AVE                                                                                LANSING            MI    48917‐3435
DONALD J EDSON                                     815 CROTON DR                                                                                   NEWAYGO            MI    49337‐9001
DONALD J EDWARDS                                   253 N HILL CIRCLE                                                                               ROCHESTER          MI    48307‐1110
DONALD J EHLMAN                                    2 HUNTERS RIDGE DR                                                                              SAGINAW            MI    48609‐9318
DONALD J EISEN TR UA 07/22/94 THE DONALD J EISEN   2933 EXETER CT                                                                                  WEST DUNDEE        IL    60118‐1724
TRUST
DONALD J ELLIOTT                                   14008 PLACID DRIVE                                                                              HOLLY              MI    48442‐8308
DONALD J ELLIOTT & SANDRA S ELLIOTT JT TEN         14008 PLACID DRIVE                                                                              HOLLY              MI    48442‐8308
DONALD J ENGELS                                    3408 CARNATION LN                                                                               ZEPHYRHILLS        FL    33541‐2463
DONALD J ETCHISON                                  12676 N 175 E                                                                                   ALEXANDRIA         IN    46001‐8813
DONALD J EVANETICH                                 11251 LAKE FOREST DR                                                                            CHESTER            OH    44026‐1334
DONALD J EVERETT                                   8177 FAULKNER DRIVE                                                                             DAVISON            MI    48423‐9535
DONALD J FARRIS                                    701 OAKLEY DR                                                                                   LAKE DALLAS        TX    75065‐2287
DONALD J FEHRENBACH                                4840 OLD PLANK RD                                                                               ONONDAGA           MI    49264‐9701
DONALD J FEIGL                                     13365 SYCAMORE DR                                                                               PLATTE CITY        MO    64079‐8358
DONALD J FOLK                                      1456 DEHART RD                         KELOWNA BC                             V1W 4N3 CANADA
DONALD J FOLK & KAREN N FOLK JT TEN                1456 DEHART RD                         KELOWNA BC                             V1W 4N3 CANADA
DONALD J FOLSOM & SUSAN K FOLSOM JT TEN            1045 VILLAGE DR                                                                                 MARYSVILLE         OH    43040‐8312
DONALD J FORTIN                                    55 OAK CREEK DRIVE                                                                              YORKVILLE          IL    60560‐9779
DONALD J GAGNON                                    12606 MOHAWK VALLEY                                                                             SAN ANTONIO        TX    78233‐4622
DONALD J GARDNER                                   17581 JEANETTE                                                                                  SOUTHFIELD         MI    48075‐1918
DONALD J GERWIN                                    1904 WILSON LANE #102                                                                           MCLEAN             VA    22102‐1958
DONALD J GILLARD                                   1720 ST JOHNS COURT                                                                             BLOOMFIELD HILLS   MI    48302‐1776

DONALD J GOEBEL                                    1842 W COBBLESTONE LN                                                                           ST AUGUSTINE    FL       32092‐2799
DONALD J GORENFLO                                  1100 COUNTRY COURT                                                                              LENNON          MI       48449‐9629
DONALD J GRANT                                     55 BLUEBERRY LANE                                                                               LISBON          CT       06351‐3202
DONALD J GRANZ                                     4655 E WASHINGTON AVE                                                                           FRESNO          CA       93702‐2544
DONALD J GRAY & BARBARA S GRAY JT TEN              11 LONGBOW RD                                                                                   LYNNFIELD       MA       01940‐1415
DONALD J GRIFFIN                                   7351 E POTTER RD                                                                                DAVISON         MI       48423
DONALD J GUERIN                                    2975 NORTH RIVER ROAD                                                                           SAGINAW         MI       48609‐9305
DONALD J HAMBY                                     3252 MARS HILL RD                                                                               ACWORTH         GA       30101‐4050
DONALD J HAUFSCHILD                                W147N8265 MANCHESTER DR                                                                         MENOMONEE FALLS WI       53051‐3997

DONALD J HELFRECHT                                 913 MOHICAN PASS                                                                                MADISON            WI    53711‐2837
DONALD J HENKEL                                    235 BEECH RD                                                                                    LOVELAND           OH    45140‐8827
DONALD J HERALD                                    8156 E RILEY RD                                                                                 CORUNNA            MI    48817‐9726
DONALD J HERUBIN                                   2316 ELECTRIC                                                                                   WYANDOTTE          MI    48192‐4344
DONALD J HOLLAND & DENISE ANN HOLLAND JT TEN       6481 HERBMOOR DR                                                                                TROY               MI    48098‐5609

DONALD J HOLZEN & CARRIE L HOLZEN JT TEN           25335 AFTON                                                                                     HARRISON           MI    48045‐3101
                                                                                                                                                   TOWNSHIP
DONALD J HORAN                                     PO BOX 543                                                                                      LOCUST VALLEY      NY    11560‐0543
DONALD J HORAN & ELEANOR J HORAN JT TEN            10680 S OCEAN DRIVE                    APT 808                                                  JENSEN BEACH       FL    34957‐2650
DONALD J HOUCK                                     67 PLEASANT ST                                                                                  CLINTON            MA    01510‐3400
DONALD J HOWARD & PAMELA B HOWARD JT TEN           40688 IVYWOOD LANE                                                                              PLYMOUTH           MI    48170‐2733
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DONALD J HUBBARD                                  14064 MORNING GLORY                                                                                   CHICO           CA    95973‐9754
DONALD J HUBBARD & LAVERNA HUBBARD JT TEN         14064 MORNING GLORY PL                                                                                CHICO           CA    95973‐9754

DONALD J HUBBARD & ROBERTA A HUBBARD JT TEN       14118 HOWELL STREET                                                                                   BEAR LAKE       MI    49614‐9694

DONALD J HUEGERICH JR                             2850 FARM BROOK TRAIL                                                                                 OXFORD          MI    48370
DONALD J HUGHES                                   569 WOODSTOCK AVE                                                                                     TONAWANDA       NY    14150‐8231
DONALD J HUPP & MARCIA A HUPP JT TEN              3008 PEASE LANE                                                                                       SANDUSKY        OH    44870‐5977
DONALD J HUTCHINSON                               105 HOSPITAL RD                                                                                       WATERFORD       MI    48327‐3817
DONALD J IRBY JR                                  21010 BLUE TOPAZ DR                                                                                   RICHMOND        TX    77469‐7067
DONALD J JASKIEWICZ                               PO BOX 30381                                                                                          LAUGHLIN        NV    89028‐0381
DONALD J JOHNSON                                  282 GALLUP RD                                                                                         SPENCERPORT     NY    14559‐9558
DONALD J JOSAITIS                                 19305 BERKELEY                                                                                        DETROIT         MI    48221‐1803
DONALD J JOYCE JR                                 APT B‐4                               135‐2 S HIGHLAND AVE                                            OSSINING        NY    10562
DONALD J JOYCE JR & RUTH ANN JOYCE JT TEN         APT B‐4                               135‐2 S HIGHLAND AVE                                            OSSINING        NY    10562
DONALD J KANCAR & BARBARA A KANCAR JT TEN         106 MULLEN ST                                                                                         TONAWANDA       NY    14150‐5424
DONALD J KELLY                                    1100 DEER GULLY CT                                                                                    APOPKA          FL    32712‐2935
DONALD J KELLY & IRENE KELLY JT TEN               8710 W 32 MILE ROAD                                                                                   WASHINGTON      MI    48095‐1319
DONALD J KENNEY                                   260 AUGUSTINE DRIVE                                                                                   MARTINEZ        CA    94553‐6604
DONALD J KINASZ                                   1735 HUNTINGTON RD                                                                                    SAGINAW         MI    48601‐5152
DONALD J KOBES                                    5858 E FALL CREEK PKY N DR                                                                            INDIANAPOLIS    IN    46226‐1051
DONALD J KOORS & MRS GERALDINE J S KOORS JT TEN   5885 N CENTRAL AVE                                                                                    INDIANAPOLIS    IN    46220‐2509

DONALD J KOWALSKI                                 36699 THOMAS DR                                                                                       STERLING HTS    MI    48312‐2950
DONALD J KRAPP                                    25265 ROAN DRIVE                                                                                      WARREN          MI    48089‐4573
DONALD J KRUPP                                    3339 E LAKE ROAD                                                                                      CLIO            MI    48420‐7931
DONALD J KRUSZKA                                  173 BARBADOS DR                                                                                       CHEEKTOWAGA     NY    14227‐2520
DONALD J KUBECK                                   1 SHEFFORD RD                         MEPPERSHALL BEDS                       SG17 5LJ GREAT BRITAIN
DONALD J KUHAR                                    2630 TANTELON PL                                                                                      WINSTON SALEM   NC    27127‐4640
DONALD J KVASNOK                                  8733 MOSSWOOD CIR                                                                                     N RIDGEVILLE    OH    44039‐6304
DONALD J LA FOND                                  3623 RIDGEFIELD                                                                                       LANSING         MI    48906‐3550
DONALD J LAMONT & ANNE K LAMONT JT TEN            6287 SANDSHORE                                                                                        TROY            MI    48098‐1377
DONALD J LAMONT JR & ALICE E LAMONT JT TEN        6287 SANDSHORE                                                                                        TROY            MI    48098‐1377
DONALD J LAMONT JR & MARILEE A LAMONT JT TEN      6287 SANDSHORE                                                                                        TROY            MI    48098‐1377

DONALD J LAMPMAN & DORTHA M LAMPMAN JT TEN        1620 EAST 49TH                                                                                        ODESSA          TX    79762‐4477

DONALD J LAPAK & ROSE M LAPAK JT TEN              6579 SHORELINE DR                                                                                     TROY            MI    48098‐1056
DONALD J LASKIN                                   156 GREENVILLE COURT                                                                                  BERWYN          PA    19312‐2071
DONALD J LATTA                                    4 STANDISH ROAD                                                                                       LOCKPORT        NY    14094‐3315
DONALD J LEVERICH                                 140 SHELLEY LANE                                                                                      GLASTONBURY     CT    06033
DONALD J LOTT                                     210 HUNTINGTON TRL                                                                                    CORTLAND        OH    44410‐1668
DONALD J LUDWIG                                   274 BELLINGHAM DR                                                                                     CENTERVILLE     OH    45458‐2513
DONALD J LUKAS                                    608 COUR RENEE                                                                                        WARREN          MI    48091‐2204
DONALD J LYON                                     55 SCOTT ST                           WHITBY ON                              L1N 3L2 CANADA
DONALD J LYSZEWSKI                                4608 MEYER ROAD                                                                                       NORTH           NY    14120‐9577
                                                                                                                                                        TONAWANDA
DONALD J MADDALOZZO & ELIZABETH A MADDALOZZO      1332 S PROSPECT AVE                                                                                   PARK RIDGE      IL    60068‐5383
JT TEN
DONALD J MADDOX                                   1091 MALLARD CIR                                                                                      BOGART          GA    30622‐2765
DONALD J MALARCIK                                 3671 HIGH MEADOW DR                                                                                   CANFIELD        OH    44406‐9211
DONALD J MANFRED                                  212 MAIN ST BOX 329                   48 WAWBEEK AVE                                                  MASSENA         NY    13662‐1902
DONALD J MANNING                                  8303 MESSMORE                                                                                         SHELBY TWP      MI    48317‐4433
DONALD J MARANDA & SHIRLEY H MARANDA JT TEN       101 MIDDLESEX RD                                                                                      ROCHESTER       NY    14610‐1123

DONALD J MARKOE                                   190 DORN RD                                                                                           LAGRANGEVILLE   NY    12540‐6424
DONALD J MARSH                                    9375 BEAR WALK PATH                                                                                   BROOKSVILLE     FL    34613‐6431
DONALD J MC ATEE                                  30204 SOUTHFIELD RD APT 220                                                                           SOUTHFIELD      MI    48076‐1321
DONALD J MC CLELLAN                               BOX 656                                                                                               MORGAN          UT    84050‐0656
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DONALD J MCCUNE                                  30925 MILLER AVENUE                                                                              WILLOUGHBY HL   OH    44092‐1256
DONALD J MCGOVERN & LILLIAN H MCGOVERN JT TEN    64 OLD STONEHOUSE RD                                                                             BEDMINSTER      NJ    07921‐2561

DONALD J MCMAHON TR DONALD J MCMAHON REVOC 21730 COVE POINT FARM RD                                                                               TILGHMAN        MD    21671‐1175
DEED OF TRUST UA 07/21/99
DONALD J MECKLE & MRS ELIZABETH G MECKLE JT TEN 20 ST DAVIDS DR                                                                                   WEST SENECA     NY    14224‐3440

DONALD J MENEELY JR                             7124 N BLUE SAGE                                                                                  PUNTA GORDA     FL    33955‐1101
DONALD J MERCER                                 9434 S VASSAR RD RT # 1                                                                           MILLINGTON      MI    48746‐9735
DONALD J MERCIER                                8718 SANDY CREST DR                                                                               WHITE LAKE      MI    48386‐2454
DONALD J MEYER & MARY S MEYER JT TEN            3511 N 51ST ST                                                                                    SHEBOYGAN       WI    53083‐2573
DONALD J MINGES                                 6939 THOMPSON RD                                                                                  CINCINNATI      OH    45247‐2648
DONALD J MOLLOY                                 86 ATLANTIC AVE                                                                                   MATAWAN         NJ    07747‐2537
DONALD J MOLONEY                                17 O'CONNOR DR                           WHITBY ON                              L1N 7X7 CANADA
DONALD J MORSE                                  7800 BURT RD                                                                                      BIRCH RUN       MI    48415‐8796
DONALD J MOSCHETTI & CATHRYN A MOSCHETTI JT TEN PO BOX 4029                                                                                       TUBAC           AZ    85646‐4029

DONALD J MOSES                                 1206 WILSON                                                                                        STURGIS         MI    49091‐2247
DONALD J MRAZ & SHAREN L MRAZ JT TEN           8032 BECKER TRL                                                                                    SAINT HELEN     MI    48656‐9486
DONALD J MUNRO                                 304 INVERNESS                                                                                      HIGHLAND        MI    48357‐4770
DONALD J MURRAY                                BOX 3049                                                                                           GLOBE           AZ    85502‐3049
DONALD J NEFSKE                                4178 DREXEL                                                                                        TROY            MI    48098‐4310
DONALD J NEUBERGER                             311 GARFIELD AVE                                                                                   LIVERPOOL       NY    13088‐4378
DONALD J NICHOLS & RUBY C NICHOLS JT TEN       7010 EVELINE DR                                                                                    HOLLY           MI    48442‐8583
DONALD J NIELSON & MICHELE R NIELSON JT TEN    3184 STATE ST RD                                                                                   BAY CITY        MI    48706‐1867
DONALD J OBERHOLZER & MRS BERNICE A OBERHOLZER 83 CHADWICK DRIVE                                                                                  GREENCASTLE     PA    17225‐1462
JT TEN
DONALD J OESCHGER                              1240 KLEM RD                                                                                       WEBSTER         NY    14580‐8630
DONALD J OESTERWIND JR                         1542 MARLOWE                                                                                       CANTON TOWNSHIP MI    48187‐3180

DONALD J OTT                                     2326 CORAL CT NE                                                                                 ROCHESTER       MN    55906‐5423
DONALD J PAINE JR                                1621 THOMPSON RD                                                                                 BAD AXE         MI    48413‐8741
DONALD J PARKINSON                               21 WILLOW AVE R R #3                    PORT ROWAN ON                          N0E 1M0 CANADA
DONALD J PARSONS JR                              16505 MARIAN CTR RD                                                                              DECATUR         IN    46733‐9605
DONALD J PATCHETT & ROBIN M PATCHETT JT TEN      19010 N LESLIG LN                                                                                COLBERT         WA    99005

DONALD J PENNINGTON                              6036 RICHPOND RD                                                                                 BOWLING GREEN   KY    42104‐7868
DONALD J PETERSON                                1279 CLARK RD                                                                                    NEW VIENNA      OH    45159‐9447
DONALD J PETROSKY & MRS LINDA PETROSKY JT TEN    3535 GLENWAY AVE                                                                                 CINCINNATI      OH    45205‐1362

DONALD J PFUNTNER                                380 PALMER RD                                                                                    CHURCHVILLE     NY    14428‐9412
DONALD J PIEDMONT                                6071 E LAKE RD                          APT 7                                                    BURT            NY    14028
DONALD J PLASTER                                 1305 WHITE MARLIN LANE                                                                           VIRGINA BEACH   VA    23464‐6313
DONALD J POSKIN                                  210 LANSBROOKE DR                                                                                CHESTERFIELD    MO    63005‐1612
DONALD J PREGLER                                 4537 PLACIDIA AVE                                                                                NO HOLLOWOOD    CA    91602‐1539
DONALD J PREGLER & TULA PREGLER JT TEN           4537 PLACIDIA AVENUE                                                                             NO HOLLYWOOD    CA    91602‐1539
DONALD J PRENTICE                                1467 MARQUETTE ST                                                                                JANESVILLE      WI    53546‐2420
DONALD J PRIEUR                                  505 ASHWOOD DR                                                                                   FLUSHING        MI    48433‐1328
DONALD J PROPP                                   1132 SOUTH GENEVA DR                                                                             DEWITT          MI    48820‐9537
DONALD J PURCELL                                 427 WILER RD                                                                                     HILTON          NY    14468
DONALD J RACHIC                                  504 E LIBERTY                                                                                    LOWELLVILLE     OH    44436‐1234
DONALD J RATHJENS                                756 GARDEN STREET                                                                                UNION           NJ    07083‐6623
DONALD J RAUCH                                   7302 HILLSBORO COURT                                                                             CANTON          MI    48187‐2241
DONALD J REDMOND                                 47 MOUNTAIN ROAD                                                                                 LEDGEWOOD       NJ    07852‐9752
DONALD J REED & DOREEN M REED JT TEN             34 NELL COURT                                                                                    DUMONT          NJ    07628‐1117
DONALD J REID                                    1175 MERRY RD                                                                                    WATERFORD       MI    48328‐1236
DONALD J RENAUD                                  3101 SANDS CT                                                                                    MILFORD         MI    48380‐3457
DONALD J RIBERDY                                 201 INTERNATIONAL DR                    APT 116                                                  CPE CANAVERAL   FL    32920‐3655
DONALD J RICE                                    1152 EAST CONSTITUTION DRIVE                                                                     GILBERT         AZ    85296‐9723
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DONALD J RICHARDS                                  PO BOX 1417                         PARAPARAUMU BEACH                      NEW ZEALAND
DONALD J RIDER                                     4122 W LAKE RD                                                                               CANANDAIGUA       NY    14424‐8351
DONALD J RISCHARD & BARBARA A RISCHARD JT TEN      7280 SW 103RD AVE                                                                            BEAVERTON         OR    97008‐6049

DONALD J RIVETTE                                   14844 BUECHE RD                                                                              MONTROSE          MI    48457‐9321
DONALD J RIVETTE & DALE P RIVETTE JT TEN           14844 BUECHE RD                                                                              MONTROSE          MI    48457‐9321
DONALD J RIVETTE & DIANE M KRUPP JT TEN            14844 BUECHE RD                                                                              MONTROSE          MI    48457‐9321
DONALD J RIVETTE & DOLORES A HENIGE JT TEN         14844 BUECHE RD                                                                              MONTROSE          MI    48457‐9321
DONALD J RIVETTE & DON MICHAEL RIVETTE JT TEN      14844 BUECHE RD                                                                              MONTROSE          MI    48457‐9321

DONALD J RIVETTE & DONNA M HENIGE JT TEN       14844 BUECHE RD                                                                                  MONTROSE          MI    48457‐9321
DONALD J ROBERTSON & LORRAINE ROBERTSON JT TEN 1637 NORTH 24TH ST                                                                               QUINCY            IL    62301‐3301

DONALD J ROSSI & MRS MARY LOU ROSSI JT TEN         472 HILLCREST DR                                                                             LATROBE           PA    15650
DONALD J SABOURIN                                  32666 GLEN                                                                                   WESTLAND          MI    48186‐4918
DONALD J SAWYER                                    9357 LAKE PARK DR                                                                            GRAND BLANC       MI    48439‐8050
DONALD J SCHAFF & EILEEN L SCHAFF JT TEN           BOX 457                                                                                      SEELEY LAKE       MT    59868‐0457
DONALD J SCHAFFER JR                               7512 WEST COLDWATER ROAD                                                                     FLUSHING          MI    48433‐1120
DONALD J SCHANTZ                                   20 CROSSROADS LN                                                                             ROCHESTER         NY    14612‐3439
DONALD J SCOLLON                                   7481 N DURAND ROAD                                                                           NEW LOTHROP       MI    48460‐9719
DONALD J SERVALISH & SANDRA J SERVALISH JT TEN     8232 RICKIE DR                                                                               WESTLAND          MI    48185‐1611

DONALD J SHARBOWSKI & SHERYLL A SHARBOWSKI JT      11420 BLACKBURN ST                                                                           LIVONIA           MI    48150‐2864
TEN
DONALD J SHARPE                                    47 WILLOWEN DR                                                                               ROCHESTER         NY    14609‐3230
DONALD J SHAW                                      9700 FAIRGROUND RD                                                                           LOUISVILLE        KY    40291‐1021
DONALD J SHOSEY & MYRA L SHOSEY JT TEN             2972 PLANTATION RD                                                                           WINTER HAVEN      FL    33884‐1234
DONALD J SIEMANN                                   PO BOX 756                                                                                   NEWALLA           OK    74857‐0756
DONALD J SITKO                                     325 GROVE STREET                    PO BOX 186                                               GAINES            MI    48436‐0186
DONALD J SLAVEN                                    13157 WASHINGTONVILLE RD                                                                     SALEM             OH    44460‐9247
DONALD J SMITH                                     2102 E JUDD RD                                                                               BURTON            MI    48529‐2405
DONALD J SMITH                                     ATTN CHERYL L SMITH                 7825 WEST 82ND ST                                        BRIDGEVIEW        IL    60455‐1638
DONALD J SMITH                                     291 ESSER AVE APT 2                                                                          BUFFALO           NY    14207‐1248
DONALD J SMITH                                     100 GLENCLAIRN CT                                                                            ROSWELL           GA    30076‐4202
DONALD J SMITH CUST MARTIN E SMITH UGMA MI         731 SUMNER                                                                                   LONGMONT          CO    80501‐4834

DONALD J SMOLENSKI & PAULA D SMOLENSKI JT TEN      738 RIVARD                                                                                   GROSSE POINTE     MI    48230‐1255
                                                                                                                                                CITY
DONALD J SOLTIS                                    3200 MEGAN CT                                                                                CLIO              MI    48420‐1992
DONALD J SPAGNOLI                                  3121 FOREST LANE                                                                             SCHWENKSVILLE     PA    19473
DONALD J STERN                                     N87 W18143 QUEENSWAY ST                                                                      MENOMONEE FAL     WI    53051‐2503
DONALD J STOUGHTON CUST DAVID J STOUGHTON          2510 PINEVIEW DR                                                                             WEST BLOOMFIELD   MI    48324‐1970
UGMA MI
DONALD J STOVER                                    1384 PO BOX 86                                                                               HILTON            NY    14468‐0086
DONALD J SULLIVAN JR                               280 RIVER ROAD APT 69B                                                                       PISCATAWAY        NJ    08854‐3561
DONALD J SYLVESTER                                 5533 TRES PIEDRAS RD                                                                         LAS VEGAS         NV    89122‐3393
DONALD J SYPERT                                    3831 NORTH WOODS CT NE #5                                                                    WARREN            OH    44483‐4584
DONALD J SZABO & LUCILLE B SZABO JT TEN            813 AUGRES RIVER DR                                                                          AU GRES           MI    48703
DONALD J SZOTT & ALEX J SZOTT & PAULINE SZOTT JT   4191 MCCARTY RD                     APT 8                                                    SAGINAW           MI    48603‐9315
TEN
DONALD J SZOTT & PAULINE A SZOTT JT TEN            4191 MCCARTY RD                     APT 8                                                    SAGINAW           MI    48603‐9315
DONALD J TALBOT                                    5025 CAMPBELLSVILLE PIKE                                                                     CULLEOKA          TN    38451‐2076
DONALD J TEADT                                     57909 HOLTOM ROAD                                                                            THREE RIVERS      MI    49093‐9333
DONALD J TERRY TR UA 07/01/93 DONALD J TERRY       12347 FOREST HIGHLANDS DR                                                                    DADE CITY         FL    33525‐6222
REVOCABLE TRUST
DONALD J THIBERT                                   330 BLIND TRAIL                                                                              WHITE LAKE        MI    48386‐3000
DONALD J THOMAS                                    4206 GRAYTON                                                                                 WATERFORD         MI    48328‐3427
DONALD J THOMPSON                                  12730 YOUNGSTOWN‐PITTS RD                                                                    PETERSBURG        OH    44454
DONALD J THOMPSON                                  11400 MORRISH RD                                                                             BIRCH RUN         MI    48415‐8776
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DONALD J THOMSON                               9531 ADAMS RD                                                                                     ST HELEN        MI    48656‐9637
DONALD J THORNDIKE CUST SCOTT L THORNDIKE UGMA 7 HARD CIDER DR                                                                                   OROVILLE        WA    98844‐9573
WA
DONALD J TREDENT & CHRISTINE M TREDENT JT TEN  4567 W 226TH ST                                                                                   CLEVELAND       OH    44126‐2553

DONALD J TREMEL & MARY K TREMEL JT TEN           4258 CHAPEL VIEW CR                                                                             BRIGHTON        MI    48114‐8659
DONALD J TRENT                                   199 CHURCH ST                                                                                   ROMEO           MI    48065‐4608
DONALD J TRENT                                   4740 ELDER RD                                                                                   VILLA RIDGE     MO    63089‐1424
DONALD J TWIETMEYER TR UA 03/14/1997 DONALD J    2225 MALLARD DR                                                                                 REESE           MI    48757
TWIETMEYER TRUST
DONALD J URBANSOK & ROSALINE A URBANSOK JT TEN   195 GREEN VALLEY DR                                                                             ENON            OH    45323‐1121

DONALD J UZIEL                                   1405 WILLOW HEIGHTS DRIVE                                                                       NORTH           PA    15642‐5812
                                                                                                                                                 HUNTINGDON
DONALD J VALLANDINGHAM                           309 W BROAD STREET                                                                              SWEDESBORO      NJ    08085‐1005
DONALD J VANDER WAL                              6975 GLENCREEK SE                                                                               CALEDONIA       MI    49316‐9155
DONALD J VENTURA                                 PO BOX 266                             1420 CHURCH ST                                           BARBERVILLE     FL    32105‐0266
DONALD J VERGILIA                                3821 SPLIT ROCK RD                                                                              CAMLIIUS        NY    13031‐9724
DONALD J VOGT                                    2302 NORTH BRITT RD                                                                             JANESVILLE      WI    53546‐9323
DONALD J WALLS II                                17475 FISH LAKE RD                                                                              HOLLY           MI    48442‐8975
DONALD J WASSIL                                  2532 LILAC CIR NW                                                                               MASSILLON       OH    44646‐2037
DONALD J WEHUNT                                  301 COURTYARD PASS                                                                              WOODSTOCK       GA    30189‐1586
DONALD J WEISMANN                                4312 BEAULAND DR                                                                                ALLISON PARK    PA    15101‐1304
DONALD J WETHINGTON                              1224 MARTIN STREET                                                                              INDIANAPOLIS    IN    46227‐3138
DONALD J WHITMER                                 12471 BRENMILL LN                                                                               MANASSAS        VA    20112‐3565
DONALD J WILKINSON                               376 WINGATE PL                                                                                  YOUNGSTOWN      NY    14174‐1135
DONALD J WILSON                                  2094 AUBURN                                                                                     HOLT            MI    48842‐1307
DONALD J WIST                                    2354 GEOFFRY                                                                                    WARREN          MI    48092‐2105
DONALD J WOJNAR SR                               90 LOU ANN DR                                                                                   DEPEW           NY    14043
DONALD J WOJTALEWICZ                             463 KAREN DR                                                                                    BEREA           OH    44017‐1639
DONALD J WRIGHT                                  PO BOX 857                                                                                      PINCKNEY        MI    48169‐0857
DONALD J WRIGHT                                  PO BOX 857                                                                                      PINCKNEY        MI    48169‐0857
DONALD J WROCKLAGE & TAMELA S COLWELL JT TEN     4410 LAWNWOOD CT                                                                                BURTON          MI    48529‐1923

DONALD J YORK                                    456 GLEN MEADOW LN                                                                              NAPLES          FL    34105
DONALD J ZIEMBA                                  302 CHURCHILL CT                                                                                SLEEPY HOLLOW   IL    60118‐2525
DONALD J ZIMMER JR                               40 DEER LANE                                                                                    GUILFORD        CT    06437‐2169
DONALD JACK COLPEAN                              3506 COMPSON CIRCLE                                                                             RUSKIN          FL    33570‐5932
DONALD JAENICKE                                  5469 N ROAD 100 W                                                                               KOKOMO          IN    46901
DONALD JAMES HAMSTRA                             2180 TIMBERVIEW NE                                                                              GRAND RAPIDS    MI    49525‐1246
DONALD JAMES HAZLEDINE                           1919 N MAIN ST                                                                                  SPEARFISH       SD    57783‐2916
DONALD JAMES HOLMAN                              722 2ND ST                             PO BOX 218                                               HUMBOLDT        NE    68376‐0218
DONALD JAMES IRVIN TOD GAVYN MCKALE IRVIN        8353 RUTHERFORD RD                                                                              SHIPMAN         IL    62685
SUBJECT TO STA TOD RULES
DONALD JAMES MC ARTHUR JR                        8104 MONTSERRAT PLACE                                                                           WELLINGTON      FL    33414‐3448
DONALD JAMES MURRAY JR                           790 TOPAZ DR                                                                                    RENO            NV    89502‐3309
DONALD JAMES VECELLIO                            811 ENDERBY DR                                                                                  ALEXANDRIA      VA    22302‐2225
DONALD JAY                                       2313 OAK PARK DR                                                                                RICHMOND        IN    47374‐1674
DONALD JAY BARANOVITZ                            3170 ARBOR WOODS DRIVE                                                                          ALPHARETTA      GA    30022
DONALD JENKINS                                   14690 WOODLAND DR                                                                               EDEN            MD    21822‐2227
DONALD JEROME CHAPLIN                            4332 BOB WHITE DR                                                                               FLINT           MI    48506‐1707
DONALD JOHANSON CUST LORA JOHANSON UGMA NY       12 WALKER AVE                                                                                   SYOSSET         NY    11791‐4027

DONALD JOHN PETRUZZI                             6640 BEXLEY CT                                                                                  INDEPENDENCE    OH    44131‐6533
DONALD JOHN RECKSIEDLER                          42141 VILLANOVA                                                                                 STERLING HGTS   MI    48313‐2973
DONALD JOHNSON                                   27390 EVERETT                                                                                   SOUTHFIELD      MI    48076‐3619
DONALD JONES                                     1230 N. ASHBROOKE DR.                                                                           WEST CHESTER    PA    19380
DONALD JOSEPH BABETS                             237 E 208TH ST                                                                                  EUCLID          OH    44123‐1811
DONALD JOSEPH COLVER                             105 LAUREL AVE                                                                                  PEN ARGYL       PA    18072
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DONALD K ADAMS                                    26024 GROVELAND                                                                                 ROSEVILLE       MI    48066‐3300
DONALD K AUKAMP                                   26 FABER DRIVE                                                                                  HAWTHORNE       NJ    07506‐3210
DONALD K BANFIELD                                 5835 TIPSICOL LAKE ROAD                                                                         HOLLY           MI    48442‐8908
DONALD K BARTH                                    4426 REDFERN RD                                                                                 PARMA           OH    44134‐3502
DONALD K BARTH & BARBARA A BARTH JT TEN           4426 REDFERN RD                                                                                 PARMA           OH    44134‐3502
DONALD K BOCKOVEN JR                              117 OAKDALE RD                                                                                  CHESTER         NJ    07930‐2224
DONALD K BOUTON                                   13630 SORA DR                                                                                   FORT MYERS      FL    33908‐5819
DONALD K BOWDEN                                   51 EUCALYPT AVENUE                     LOWER TEMPLESTOWE    VICTORIA          3107 AUSTRALIA
DONALD K BRONSON                                  545 STONE RIDGE CT                                                                              ALMONT          MI    48003‐8794
DONALD K CARL & MRS JEAN C CARL JT TEN            10411 HEBARD ST                                                                                 KENSINGTON      MD    20895‐4033
DONALD K CARTER                                   7355 13TH NW                                                                                    SEATTLE         WA    98117‐5306
DONALD K CLARK                                    HC 66 BOX 1210                                                                                  NANCY           KY    42544‐9616
DONALD K COCHRAN                                  6240 STUMPH RD APT 412                                                                          CLEVELAND       OH    44130
DONALD K CUMINS                                   6160 SOUTH 450 EAST                                                                             MARKLEVILLE     IN    46056‐9745
DONALD K DAVIS                                    2628 DUNBAR RD                                                                                  CROSSVILLE      TN    38555‐6635
DONALD K DE YOUNG & RUTH D DE YOUNG JT TEN        575 E CANYON VIEW DR                                                                            TUCSON          AZ    85704‐5909

DONALD K DILLABY                                  27 PALISADE DR                                                                                  NASHUA          NH    03062‐2119
DONALD K ENSMINGER                                102 BASSWOOD CIR                                                                                WILLOW SPRING   NC    27592‐7016
DONALD K FURMAN                                   8236 EATON DR                                                                                   NORTHVILLE      MI    48167‐8666
DONALD K HALL                                     234 CHATHAM DR                                                                                  FAIRBORN        OH    45324‐4116
DONALD K HANOVER                                  70 RANDALL TERRACE                                                                              HAMBURG         NY    14075‐5313
DONALD K HAYWARD                                  PO BOX 254                                                                                      NORTH BRANCH    MI    48461‐0254
DONALD K HESTER                                   174 LAUREL LEAH                                                                                 OXFORD          MI    48371‐6334
DONALD K HILTON                                   5489 BROBECK STREET                                                                             FLINT           MI    48532‐4005
DONALD K HOOPER                                   4452 HAMILTON WAY                                                                               GLADWIN         MI    48624‐8630
DONALD K HULL                                     290 HOWELL RD                                                                                   FAIRPORT        NY    14450‐9129
DONALD K HUNTER                                   PO BOX 76                                                                                       ARCADIA         IN    46030‐0076
DONALD K JENKINS                                  1535 CHERBONE AVE B22                                                                           DETROIT         MI    48207‐2843
DONALD K KEENE                                    68 E GRAND AVE                                                                                  OLD ORCHARD     ME    04064‐2847
                                                                                                                                                  BEACH
DONALD K KELLER & DOROTHEA A KELLER JT TEN        373 HILLCREST ROAD                                                                              GROSSE POINTE   MI    48236‐3151
                                                                                                                                                  FARM
DONALD K KRESSLEY                                 1840 W COUNTY RD 200N                                                                           FRANKFORT       IN    46041‐7335
DONALD K LIGHTFOOT                                2826 W PLACITA PACIENTE                                                                         TUCSON          AZ    85742‐8733
DONALD K LUNCEFORD JR                             5555 KINNAMON RD                                                                                ODESSA          MO    64076‐1715
DONALD K MC CARTY                                                                                                                                 MICHIGANTOWN    IN    46057
DONALD K MILLER                                   968 LINCOLN DR                                                                                  SOUTH           WV    25309‐2323
                                                                                                                                                  CHARLESTON
DONALD K MILLER                                 26720 RIVER RD                                                                                    SEAFORD         DE    19973‐4340
DONALD K MORAN                                  180 HERCULES DRIVE                                                                                SPARKS          NV    89436‐8509
DONALD K NICKERT                                5434 SQUIRE LANE                                                                                  FLINT           MI    48506‐2272
DONALD K OLIVER                                 2707 W 39TH ST                                                                                    ANDERSON        IN    46011‐5046
DONALD K OVERMAN                                4505 WIGWAM                                                                                       SAINT LOUIS     MO    63123‐5752
DONALD K PARKER                                 PO BOX 193                                                                                        WINTON          CA    95388‐0193
DONALD K PETERSON                               PO BOX 792                                                                                        DAYTON          NV    89403‐0792
DONALD K RENNAKER & SHIRLEY ANN RENNAKER JT TEN 4562 N 900 W                                                                                      CONVERSE        IN    46919‐9560

DONALD K RICE                                     178 OLD COLONY ROAD                                                                             TONAWANDA       NY    14150‐8522
DONALD K ROBBINS                                  306 CARPENTER RD                                                                                ORLANDO         KY    40460
DONALD K RULEY                                    169 SOUTH MAIN STREET                                                                           MINSTER         OH    45865‐1350
DONALD K SABO                                     1507 LAVACA LN                                                                                  LADY LAKE       FL    32159‐9106
DONALD K SCOTT & MARY JANE SCOTT JT TEN           3902 SPRINGER AVE                                                                               ROYAL OAK       MI    48073
DONALD K SECORD                                   1051 MCLEAN ST                                                                                  FLINT           MI    48507‐3621
DONALD K SWEERS & DOROTHY SWEERS JT TEN           8432 CALKINS RD                                                                                 FLINT           MI    48532‐5521
DONALD K TAKATSUKA & RITCHIE S TAKATSUKA JT TEN   18412 S MARIPOSA AVE                                                                            GARDENA         CA    90248‐4032

DONALD K VAN ZILE                                 5325 W MONROE RD                                                                                PENTWATER       MI    49449‐9553
DONALD K WALSH JR                                 2609 CLAREMONT DR                                                                               BARTLESVILLE    OK    74006‐7434
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DONALD K WEHRY                                  160 LIDDELL RD                                                                               COLORA          MD    21917‐1514
DONALD K WINDELL                                9889 S SR 109                                                                                MARKLEVILLE     IN    46056‐9740
DONALD K ZENO                                   944 37TH ST                                                                                  OAKLAND         CA    94608
DONALD KEITEL                                   1716 FERNWOOD FOREST RD                                                                      SOPHIA          NC    27350
DONALD KEITH SMITH                              801 EAST MINER ST                                                                            ARLINGTON       IL    60004‐6265
                                                                                                                                             HEIGHTS
DONALD KELLEY & RICHARD KELLEY JT TEN            PO BOX 8051                                                                                 BANGOR          ME    04402
DONALD KENNON STITH                              2454 FAIRVIEW AVENUE                                                                        CINCINNATI      OH    45219‐1160
DONALD KENNY & GLADYS KENNY JT TEN               3501 HYLAN BLVD                                                                             STATEN ISLAND   NY    10306‐3650
DONALD KENT ROWBERRY                             PO BOX 1008                                                                                 GRANTSVILLE     UT    84029‐1008
DONALD KERRY                                     43‐F FINCH ST                                                                               BROWNS MILLS    NJ    08015‐3100
DONALD KEVIN WATT                                253 MILLER ROAD                                                                             BETHANY         CT    06524‐3235
DONALD KEYS                                      14803 RUTHEFORD                                                                             DETROIT         MI    48227‐1807
DONALD KLEPEC & LEO KLEPEC JT TEN                907 S RAVEN RD                                                                              SHOREWOOD       IL    60431‐9149
DONALD KOPP                                      684 T R 2475 R D 1                                                                          LOUDONVILLE     OH    44842‐9801
DONALD KREMPA & MARY ANN KREMPA JT TEN           540 ORCHARDVIEW                                                                             SEVEN HILLS     OH    44131‐5843
DONALD KROMER JR                                 1690 LUCRETIA DR                                                                            GIRARD          OH    44420‐1271
DONALD KUELBS & BETTY KUELBS JT TEN              110 MAPLE LN                                                                                ALEXANDRIA      MN    56308‐7934
DONALD KUNST 2ND                                 11270 W MAPLE RAPIDS RD                                                                     FOWLER          MI    48835‐9610
DONALD KURITZKY & BETTY KURITZKY TR KURITZKY FAM 5330 IROQUOIS AVE                                                                           LAKEWOOD        CA    90713‐1728
TRUST UA 07/28/94
DONALD L ABRAHAM CUST DONNA MARIE ABRAHAM        C/O D WATSON                       6660 BOONE RD                                            TRAVERSE CITY   MI    49684‐8187
U/THE NEB U‐G‐M‐A
DONALD L ADAMS                                   BOX 990                                                                                     BUFFALO         NY    14215‐0990
DONALD L ADAMS                                   671 MILLER ROAD                                                                             NORTH EAST      MD    21901
DONALD L ALBERTSON                               300 S E MOORE ST                                                                            BLUE SPRINGS    MO    64014‐3130
DONALD L ALLGYER TOD CHRISTINE D HAYES SUBJECT   6360 CHARITY DRIVE                                                                          CINCINNATI      OH    45248‐3046
TO STATE TOD RULES
DONALD L AMSCHLER                                26309 BUBBLING BROOK CT                                                                     FORISTELL       MO    63348‐1471
DONALD L ANDERSON                                10210 N 16750 E                                                                             GRANT PARK      IL    60940‐5160
DONALD L ANDERSON                                14617 LENORE ST                                                                             REDFORD TWSP    MI    48239‐3350
DONALD L APPICH                                  103 RAVEN ROCK RD                                                                           RICHMOND        VA    23229‐7820
DONALD L ARADO                                   5022 N KENMORE AVE                                                                          CHICAGO         IL    60640
DONALD L ARCHER & PATRICIA A ARCHER TR ARCHER    29853 CR 390                                                                                GOBLES          MI    49055‐9260
LIVING TRUST UA 09/03/98
DONALD L ARMS                                    2887 LITTLE RED RD                                                                          ATHENS          TX    75751‐6741
DONALD L ARMSTRONG                               9840 POST TOWN RD                                                                           DAYTON          OH    45426‐4354
DONALD L ARMSTRONG & FRANCES L ARMSTRONG JT      1202 LONGFELLOW AVE                                                                         ROYAL OAK       MI    48067‐4502
TEN
DONALD L AUSTILL & JOHANNA AUSTILL JT TEN        874 HARVEST LAKE DR                                                                         BROWNSBURG      IN    46112‐7782
DONALD L AUSTIN                                  219 N MOUNT VERNON AVE                                                                      LOUDONVILLE     OH    44842‐1137
DONALD L BAILEY                                  4928 SOUTHARD HWY                                                                           MANITOU BEACH   MI    49253‐9780
DONALD L BAIRD TR DONALD L BAIRD TRUST UA        505 W IRWIN                                                                                 BAD AXE         MI    48413‐1022
11/19/96
DONALD L BAKER                                   5849 SEVEN GABLES AVE                                                                       TROTWOOD        OH    45426‐2115
DONALD L BALCH JR                                3441 CONRAD AVE                                                                             SAN DIEGO       CA    92117‐1748
DONALD L BALKWELL                                PO BOX 1477                                                                                 HIGHLAND        MI    48357‐1477
DONALD L BARDEL                                  6450 SW RICHEY LANE                                                                         PORTLAND        OR    97223‐7294
DONALD L BARDEL & LOLA R BARDEL JT TEN           6450 S W RICHEY LANE                                                                        PORTLAND        OR    97223‐7294
DONALD L BARLOW                                  81 MASON ST                                                                                 STAFFORDSVLLE   KY    41256‐9037
DONALD L BARRETT                                 19011 CARTER RD                                                                             HILLMAN         MI    49746‐8717
DONALD L BARTA                                   297 CORDOVA RD                     OSHAWA ON                              L1J 1P1 CANADA
DONALD L BATISKY                                 4312 MELLINGER RD                                                                           CANFIELD        OH    44406‐9324
DONALD L BAYLIS                                  PO BOX 65                                                                                   ANDES           NY    13731‐9783
DONALD L BEANE                                   3809 CLAIRMONT ST                                                                           FLINT           MI    48532‐5227
DONALD L BEARUP                                  11692 BLAIR RD                                                                              ELSIE           MI    48831‐9505
DONALD L BELL                                    662 PERRY CREEK DR                                                                          GRAND BLANC     MI    48439‐1474
DONALD L BILBEY                                  4627 LAKEVIEW DR                                                                            BEAVERTON       MI    48612‐8704
DONALD L BILDILLI                                6310 WEST BROWN STREET                                                                      GLENDALE        AZ    85302
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DONALD L BIRNBAUM                                 6035 SWAN CREEK                                                                                SAGINAW           MI    48609‐7034
DONALD L BLACK                                    2984 LYNDSCAPE STL                                                                             ORLANDO           FL    32833‐5537
DONALD L BLIWISE                                  PO BOX 15189                                                                                   ATLANTA           GA    30333‐0189
DONALD L BLIWISE & NANCY GOURASH BLIWISE JT TEN   BOX 15189                                                                                      ATLANTA           GA    30333‐0189

DONALD L BODAMER                                  PO BOX 693                                                                                     MADISON           TN    37116‐0693
DONALD L BONHAM                                   145 QUIETWOOD PLACE                                                                            BECKLEY           WV    25801
DONALD L BOSS                                     1330 DEER PATH DR                                                                              PORT CLINTON      OH    43452‐2360
DONALD L BOVEN                                    33050 22ND ST                                                                                  KALAMAZOO         MI    49009‐9222
DONALD L BOWER                                    101 INFANTRY RD                                                                                VERMILION         OH    44089
DONALD L BRASWELL                                 2465 GRAVEL SPRINGS RD                                                                         BUFORD            GA    30519‐5230
DONALD L BRITTAIN JR                              106 BERNADETTE TERR                                                                            WEST SENECA       NY    14224
DONALD L BROCK                                    32953 GROAT BLVD                                                                               ROCKWOOD          MI    48173‐8636
DONALD L BRONSON & MARY ANN BRONSON JT TEN        3375 N LINDEN RD                      APT 320                                                  FLINT             MI    48504‐5729

DONALD L BROWN                                    138 OAKWOOD AVE                                                                                CLIFFSIDE PARK    NJ    07010‐1042
DONALD L BROWN & JEWEL M BROWN JT TEN             4690 BOND NW                                                                                   WARREN            OH    44483‐1745
DONALD L BROYLES                                  PO BOX 456                                                                                     PERRY             MO    63462‐0456
DONALD L BUCK                                     C/O THOMAS A REYNOLDS ESQ             138 WEST FOURTH STREET                                   OSWEGO            NY    13126
DONALD L BURNETT                                  2329 S GLENWOOD                                                                                NILES             OH    44446‐4215
DONALD L BURNS & ANN M BURNS JT TEN               429 LEXINGTON ROAD                                                                             GROSSE POINTE     MI    48236‐2820
                                                                                                                                                 FARM
DONALD L BURRIS                                   453 W LEWIS SHORE RD                                                                           ELKTON            MD    21921‐7755
DONALD L BYRD                                     5327 WASHBURN RD                                                                               GOODRICH          MI    48438‐9630
DONALD L CADE                                     2225 GARDEN DR                                                                                 JANESVILLE        WI    53546‐5633
DONALD L CAGLE                                    27620 E LARKMOOR DR                                                                            SOUTHFEILD        MI    48076
DONALD L CAMPBELL                                 5339 ROBINWOOD AVENUE                                                                          DAYTON            OH    45431‐2837
DONALD L CANNER                                   4011 S UNION ST                                                                                INDIANAPOLIS      IN    46227‐1402
DONALD L CHINN                                    200 OLD HARROWDSBURG RD #L112                                                                  FRANKFORT         KY    40601‐9049
DONALD L CHRISTIAN                                611 LINDEN AVE                        APT 2                                                    NEWPORT           KY    41071‐2492
DONALD L CLOUD                                    768 ZEBULON RD                                                                                 ZEBULON           GA    30295
DONALD L COLEMAN SR                               2432 MOONGOLD COURT                                                                            SAGINAW           MI    48603‐8903
DONALD L COLLIER & MILDRED E COLLIER JT TEN       1137 STAGECOACH DR                                                                             BUTTE             MT    59701
DONALD L COLLINS                                  06586 ST RT 15                                                                                 DEFIANCE          OH    43512‐8771
DONALD L CONWAY                                   RR 2 BOX 282 A1                                                                                ELLINGTON         MO    63638‐9401
DONALD L CORNELL TR DONALD L CORNELL TRUST UA     PO BOX 655                                                                                     NEWAYGO           MI    49337‐0655
03/10/95
DONALD L COX JR CUST DENISE LYNN COX UTMA OH      640 CHAMPION BRISTOL TOWNLINE RD                                                               WARREN            OH    44481‐9405

DONALD L COX JR CUST DONALD L COX III UTMA OH     640 CHAMPION BRISTOL TOWNLINE RD                                                               WARREN            OH    44481‐9405

DONALD L COZART                                   3549 NEWBURG RD                                                                                BANCROFT          MI    48414‐9725
DONALD L CRABTREE                                 3677 COTTONTAIL LANE                                                                           SHELBY TOWNSHIP   MI    48316‐3045

DONALD L CRABTREE                                 906 SPENCER AVE                                                                                MARION            IN    46952‐3421
DONALD L CREG                                     2815 N AVERILL                                                                                 FLINT             MI    48506‐3013
DONALD L CRESPY                                   278 EVERGLADE DR                                                                               PITTSBURGH        PA    15235‐2015
DONALD L CRIPPIN                                  58921 COUNTY LINE RD                                                                           THREE RIVERS      MI    49093‐8510
DONALD L CUTCHER                                  APT 4H                                3901 N AVERILL                                           FLINT             MI    48506‐2585
DONALD L DE CAIRE JR                              840 E WASHINGTON                                                                               FREELAND          MI    48623‐9050
DONALD L DE LAND                                  8470 E FRANCES RD                                                                              OTISVILLE         MI    48463‐9471
DONALD L DE MUTH                                  129 MONTSERA RD                                                                                CARLISLE          PA    17013‐9351
DONALD L DETROW                                   1961 CHRISTMAS RUN BLVD                                                                        WOOSTER           OH    44691‐1511
DONALD L DOORNKAAT                                501 EASY ST                                                                                    DARIEN            IL    60561‐3800
DONALD L DOTY & DONALD SCOTT DOTY JT TEN          91 MC HENRY STREET                                                                             STILLWATER        PA    17878‐9440
DONALD L DOVE                                     7920 LAPEER RD                                                                                 AVOCA             MI    48006‐4514
DONALD L DUY & YVONNE DUY JT TEN                  505 S 51ST ST                                                                                  OMAHA             NE    68106‐1301
DONALD L DUY CUST NIKOLAUS D DUY UGMA NE          505 S 51ST ST                                                                                  OMAHA             NE    68106‐1301
DONALD L DYER                                     1518 FAUST AVE                                                                                 INDIANAPOLIS      IN    46203‐3813
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DONALD L ELLIS                                 5396 WILLARD ROAD                                                                              BIRCH RUN       MI    48415‐8770
DONALD L ELLIS                                 3729 MEXICO RIDGE RD                                                                           BENNINGTON      IN    47011‐1733
DONALD L ELLIS SR & MARIAN J ELLIS JT TEN      3729 MEXICO RIDGE ROAD                                                                         BENNINGTON      IN    47011‐1733
DONALD L EMERICK                               1325 DONSON CIR                                                                                DAYTON          OH    45429‐5759
DONALD L ESPY                                  4859 ROUTE 322                                                                                 BROOKVILLE      PA    15825‐2721
DONALD L ESPY & MRS JOYCE F ESPY JT TEN        4859 ROUTE 322                                                                                 BROOKVILLE      PA    15825‐2721
DONALD L ETTINGER                              1595 E ROUND LAKE RD                                                                           DEWITT          MI    48820‐8405
DONALD L EVERETT                               1740E 1050S                                                                                    FAIRMOUNT       IN    46928‐9101
DONALD L FELDMAN                               10 N HILL DR                                                                                   LYNNFIELD       MA    01940‐1050
DONALD L FELTNER                               8350 LAFAYETTE RD                                                                              INDIANAPOLIS    IN    46278‐1032
DONALD L FENTON & BARBARA R FENTON JT TEN      1211 BALD MOUNTAIN RD                                                                          LAKE ORION      MI    48360‐1405
DONALD L FERGUSON                              38804 WINSOR DRIVE                                                                             ZEPHYRHILLS     FL    33540‐1436
DONALD L FIKE                                  280 VANDERVOORT                                                                                N TONAWANDA     NY    14120‐7225
DONALD L FINCH & MARY E FINCH TR FINCH FAMILY  1135 W ARCADIA AVE 3                                                                           ARCADIA         CA    91007‐7010
TRUST UA 09/04/96
DONALD L FOSTER                                6818 PEACEFUL VALLEY DRIVE                                                                     BURLESON        TX    76028‐3108
DONALD L FOWLER                                3770 EMERALD AVEE                                                                              ST JAMES CITY   FL    33956‐2205
DONALD L FROST                                 6169 JADE LANE                                                                                 BRIDGEPORT      MI    48722‐9521
DONALD L FROST & SUSAN KAY FROST JT TEN        6169 JADE LANE                                                                                 BRIDGEPORT      MI    48722‐9521
DONALD L FULK                                  1049 SPRINGMILL ST                    APT 26                                                   MANSFIELD       OH    44906‐1568
DONALD L FULLER                                21 SATINWOOD DRIVE                                                                             CHEEKTOWAGA     NY    14225‐3715
DONALD L GABY                                  7101 BLAKENSHIP CIRCLE                                                                         DAVISON         MI    48423‐2341
DONALD L GAMBRELL                              7095 JENEROUS                                                                                  CENTER LINE     MI    48015‐1108
DONALD L GAMBRELL & REBECCA ROSETTA GAMBRELL 7095 JENEROUS                                                                                    CENTERLINE      MI    48015‐1108
JT TEN
DONALD L GARLING JR                            3899 NEW SALEM AVE                                                                             OKEMOS          MI    48864‐3617
DONALD L GELDERSMA                             6880 VISTA GRANDE NE                                                                           ROCKFORD        MI    49341‐9613
DONALD L GELLINGER                             23560 FALL RD                                                                                  CICERO          IN    46034‐9708
DONALD L GERNAND                               594 E 500 S                                                                                    ANDERSON        IN    46013‐3924
DONALD L GILLETT CUST DANNY PATRICK GREENLEAF  3000 CROTON AVE                                                                                DELTONA         FL    32738‐1497
UTMA FL
DONALD L GINN                                  105 SE FLAGSTONE DR                                                                            LEE S SUMMIT    MO    64063‐3415
DONALD L GIOVANNONE                            288 ATLANTIC N W                                                                               WARREN          OH    44483‐4705
DONALD L GOOCH                                 9763 PARKSIDE DR                                                                               FREDERIC        MI    49733‐9579
DONALD L GRAHAM                                6026 W 54TH TERRACE                                                                            MISSION         KS    66202‐1631
DONALD L GRAVES                                4534 LENNOX AVE                                                                                SHERMAN OAKS    CA    91423‐2613
DONALD L GRAY & INIS A GRAY JT TEN             1001 ASHLAND AVE                                                                               BEDFORD         VA    24523‐1303
DONALD L GREEN                                 4025 CLEVELAND AVE                                                                             DAYTON          OH    45410‐3401
DONALD L GREENWAY                              3300 GREYSTONE CT                                                                              LOGANVILLE      GA    30052‐4584
DONALD L GRIEGER                               BOX 12                                                                                         WANATAH         IN    46390‐0012
DONALD L GUARNIERI                             PO BOX 392                                                                                     WARREN          OH    44482‐0392
DONALD L GUSTAFSON & SHARON A GUSTAFSON JT TEN 600 39TH AVE S                                                                                 MOORHEAD        MN    56560‐5630

DONALD L HABERMAN                               640 STARLIGHT DR                                                                              SEVEN HILLS     OH    44131‐4042
DONALD L HALFERTY                               34 COUNTRY WOOD                                                                               CABOT           AR    72023‐3935
DONALD L HALL                                   23 EDGEWOOD                                                                                   ARCANUM         OH    45304‐1431
DONALD L HALL                                   19334 BIRWOOD                                                                                 DETROIT         MI    48221‐1434
DONALD L HALTER                                 PO BOX 38                                                                                     CHINESE CAMP    CA    95309‐0038
DONALD L HANBY                                  6365 RT 380                                                                                   SINCLAIRVILLE   NY    14782‐9654
DONALD L HARE                                   18318 STEEL                                                                                   DETROIT         MI    48235‐1486
DONALD L HARRIS                                 25 UPPER DARDENNE FARMS DR                                                                    ST CHARLES      MO    63304‐7629
DONALD L HARRIS                                 2276 LANDING CT                                                                               NORCROSS        GA    30071‐4515
DONALD L HARTMAN                                4436 LAC LAMEN DR                                                                             CENTERVILLE     OH    45458‐5402
DONALD L HARTMAN                                                                                                                              CAYUGA          IN    47928
DONALD L HATHAWAY                               4657 S COORS WAY                                                                              MORRISON        CO    80465
DONALD L HAUETER                                1261 BARNES RD                                                                                LESLIE          MI    49251‐9310
DONALD L HAWKINS                                4880 PINE KNOB LN                                                                             CLARKSTON       MI    48346‐4057
DONALD L HAWKINS & DOLORIS E HAWKINS JT TEN     193 PARKWOOD AVENUE                                                                           COLUMBUS        OH    43203‐1767
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DONALD L HAYWARD                                2799 ANGELUS CIR                                                                               WATERFORD        MI    48329‐2503
DONALD L HEIGHTON                               812 SHASTA LN                                                                                  KELLER           TX    76248‐2844
DONALD L HELTON                                 785 SAN SIDE DR                                                                                YORK             SC    29745‐6404
DONALD L HENRY                                  11425 FOWLER DR                                                                                REMUS            MI    49340‐9429
DONALD L HINDMAN & PATRICIA L HINDMAN JT TEN    6976 CRANBERRY LAKE ROAD                                                                       CLARKSTON        MI    48348‐4416

DONALD L HOLMES                                 1008 PALMER RD                        APT 6                                                    FT WASHINGTON    MD    20744‐4625
DONALD L HOPPER                                 20 GRANT DR                                                                                    NORTH HALEDON    NJ    07508‐3001
DONALD L HOPPER & BELLA M HOPPER JT TEN         20 GRANT DR                                                                                    NORTH HALEDON    NJ    07508‐3001
DONALD L HORNING                                13 CRIM RD                                                                                     PARISH           NY    13131‐3174
DONALD L HOUGHTON                               1543 RED MAPLE DRIVE                                                                           LAPEER           MI    48446‐8708
DONALD L HOUSE                                  18707 COMMON RD                                                                                ROSEVILLE        MI    48066‐2137
DONALD L HOUSTON & BARBARA R HOUSTON JT TEN     203 RAINEY LN                                                                                  RICHMOND         MO    64085‐2315

DONALD L HUBER & KATHLEEN M HUBER JT TEN        12287 MARGARET DR                                                                              FENTON           MI    48430
DONALD L HUFF                                   7129 LAKERIDGE VIEW CT APT 104                                                                 FORT MYERS       FL    33907‐8621
DONALD L HUFF                                   PO BOX 147                                                                                     MENDON           MI    49072‐0147
DONALD L HUGGINS & LEONA M HUGGINS JT TEN       18880 ANKENYTOWN RD                                                                            FREDERICKTOWN    OH    43019‐9063
DONALD L HUME                                   11782 W 500 S                                                                                  NEW ROSS         IN    47968‐8500
DONALD L HUME & DONELDA M HUME JT TEN           1172 WEST 500 SOUTH                                                                            NEW ROSS         IN    47968‐9726
DONALD L HUNT                                   1414 MONTERAY                                                                                  FLINT            MI    48503‐3568
DONALD L HUNT & GOLDIE HUNT JT TEN              1414 MONTERAY                                                                                  FLINT            MI    48503‐3568
DONALD L HUTCHISON                              10431 RENE DRIVE                                                                               CLIO             MI    48420‐1925
DONALD L HYNSON                                 18 CHIMING ROAD                                                                                NEW CASTLE       DE    19720‐2913
DONALD L IRVING                                 2720 MAUMEE AVE                                                                                FORT WAYNE       IN    46803‐1427
DONALD L ISAAC                                  1000 CHAUCER GATE CT                                                                           LAWRENCEVILLE    GA    30043‐2546
DONALD L JACKSON                                PO BOX 6                                                                                       ROBSTOWN         TX    78380‐0006
DONALD L JACOBS                                 5420 NAUGHTON DR                                                                               DAYTON           OH    45424‐6002
DONALD L JAY                                    2120 COLEMAN PL                                                                                HENDERSON        NC    27536‐3840
DONALD L JEFFERIS                               3490 BALLYBRIDGE CIR APT 103                                                                   BONITA SPRINGS   FL    34134‐0920
DONALD L JESSEN & SALLY G JESSEN JT TEN         410 S 8TH ST                                                                                   GIRARD           IL    62640‐1437
DONALD L JOHNSON                                632 DEAN ST                                                                                    EDGERTON         WI    53534‐1600
DONALD L JOHNSON                                1699 MAPLE LN                                                                                  DAYTON           OH    45432‐2415
DONALD L JOHNSON                                1809 DAVIDSON RT 1                                                                             INDEPENDENCE     MO    64058‐1545
DONALD L KARAISZ & CAROLE A KARAISZ TEN ENT     117 SUNSET DR                                                                                  BEAVER FALLS     PA    15010‐6844
DONALD L KEELY                                  4369 DIXON DRIVE                                                                               SWARTZ CREEK     MI    48473‐8222
DONALD L KEITH                                  P 0 BOX 182                                                                                    CHIPPEWA LAKE    MI    49320‐0182
DONALD L KELLEY & C JOAN KELLY JT TEN           13476 W 126TH TER                                                                              OVERLAND PARK    KS    66213‐5049
DONALD L KELLUM                                 331 BLUE VIOLET WAY                                                                            ALTAMONTE SPG    FL    32701‐6713
DONALD L KEMP                                   1700 PEET RD                                                                                   NEW LOTHROP      MI    48460‐9613
DONALD L KENNEDY                                2805 CENTER RD E                                                                               KOKOMO           IN    46902‐9794
DONALD L KIDD                                   5310 FLAMINGO CT                                                                               DAYTON           OH    45431‐2833
DONALD L KIMBLE                                 27515 NE 140TH PL                                                                              DUVALL           WA    98019‐6308
DONALD L KING                                   2705A COOLIDGE HWY                                                                             BERKLEY          MI    48072‐1556
DONALD L KING                                   13424 HEATHERTON RD                                                                            JOHANNESBURG     MI    49751‐9739
DONALD L KING                                   1475 W 300 N                                                                                   ANDERSON         IN    46011‐9265
DONALD L KING                                   1825 CALHOUN ST                                                                                NEW ORLEANS      LA    70118‐6201
DONALD L KJELLEREN                              1 ZEIGLER LANE CONCORD HILLS                                                                   WILMINGTON       DE    19803‐1111
DONALD L KLOOSTER & BARBARA J KLOOSTER JT TEN   14765 CROFTON DR                                                                               SNELBY TWP       MI    48315‐4421

DONALD L KNOBLAUCH                              2707 WITT HWY                                                                                  DEERFIELD        MI    49238‐9760
DONALD L KOHLER CUST KAREN M KOHLER UGMA OH     18287 COOK AVE                                                                                 STRONGSVILLE     OH    44136‐5218

DONALD L KOHLER CUST KATHY L KOHLER UGMA OH     11965 GREYFRIARS CIR                                                                           N ROYALTON       OH    44133‐6126

DONALD L KOONCE                                 310 CENTRAL AVE                                                                                COLLINSVILLE     IL    62234‐3560
DONALD L KOWELL & MRS KAREN R KOWELL JT TEN     179 OCEAN HOLLOW LN                                                                            ST AUGUSTINE     FL    32084‐1756

DONALD L KUIPER                                 9015 WEST END DR                                                                               PORTAGE          MI    49002‐6992
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DONALD L KUKLA                                  4259 ZANDER DR                                                                                   BAY CITY        MI     48706‐2247
DONALD L LACROIX                                105 LEATH LANE                          PO BOX 141                                               BETHPAGE        TN     37022‐0141
DONALD L LANE                                   8935 N LAMHATTY LANE                                                                             DAPHNE          AL     36526‐6215
DONALD L LARSON                                 835 WILLSON ST                                                                                   BARABOO         WI     53913‐1054
DONALD L LAYTON                                 1101 FOREST AVE                                                                                  PERRYVILLE      MO     63775‐9358
DONALD L LEGG                                   3451 WICKLOW RD                                                                                  COLUMBUS        OH     43204‐1142
DONALD L LEMONS                                 5129 HAUGHEY S W                                                                                 WYOMING         MI     49548‐5665
DONALD L LIEBETREU                              7566 LINDSEY RD                                                                                  CASCO           MI     48064‐2701
DONALD L LONGMIRE                               100 VALLEY RIDGE ROAD                                                                            FRANKLIN        TN     37064‐5260
DONALD L LOOMIS                                 2973 NORTH STATE RD                                                                              ITHACA          MI     48847‐9770
DONALD L LULL                                   239 WILLOW GREEN DRIVE                                                                           AMHERST         NY     14228‐3470
DONALD L MADER                                  3504 NW PIN OAK DR                                                                               JENSEN BEACH    FL     34957‐3413
DONALD L MADER & ELAINE M MADER JT TEN          3504 NW PIN OAK DR                                                                               JENSON BEACH    FL     34957‐3413
DONALD L MAES                                   PO BOX 68201                                                                                     PORTLAND        OR     97268‐0201
DONALD L MAES & DIANE J MAES JT TEN             PO BOX 68201                                                                                     PORTLAND        OR     97268‐0201
DONALD L MAIYER                                 1305 MAXWALTON DRIVE                                                                             MANSFIELD       OH     44903‐8862
DONALD L MANN                                   203 E ANN DR                                                                                     LONGVIEW        TX     75601‐4204
DONALD L MANTUANO JR                            18 SURREY DRIVE                                                                                  HAMILTON SQUARE NJ     08690‐2326

DONALD L MARS & CATHLEEN MARS JT TEN            763 CRESCENT                                                                                     JACKSON          MI    49203‐3963
DONALD L MARTIN                                 3293 S WRIGHT                                                                                    FOWLER           MI    48835‐9110
DONALD L MARTIN JR                              209 W JONQUIL                                                                                    MCALLEN          TX    78501‐1874
DONALD L MARTIN JR CUST LEE ANNE MELANNIE       1610 SYKES CREEK DRIVE                                                                           MERRITT ISLAND   FL    32953‐3025
MARTIN UGMA MI
DONALD L MAUDLIN                                6053 WEST PROWSVILLE RIDGE ROAD                                                                  CAMPBELLSBURG    IN    47108‐6314
DONALD L MAY & MARTHA L MAY JT TEN              4170 BONWAY DR                                                                                   PENSACOLA        FL    32504‐7702
DONALD L MC INTOSH                              225 EAST NOYES BLVD                                                                              SHERRILL         NY    13461‐1248
DONALD L MCALLISTER                             618 PHILLIPS DRIVE                                                                               ANDERSON         IN    46012‐3834
DONALD L MCCORMICK                              549 CONARD DR                                                                                    XENIA            OH    45385‐2652
DONALD L MCDERMOTT                              C/O LAURA D KRIEGER                     560 SWANSON RD                                           SAGINAW          MI    48609‐6943
DONALD L MCGHEE                                 109 MARY ST                                                                                      W JEFFERSON      OH    43162‐1164
DONALD L MCKEE TR DONALD L MCKEE TRUST UA       1619 18TH AVE                                                                                    STERLING         IL    61081‐2745
08/29/00
DONALD L MCNUTT                                 4457 PEKIN RD                                                                                    WAYNESVILLE      OH    45068‐9546
DONALD L MEADE                                  7739 S MILL ROAD                                                                                 SPICELAND        IN    47385‐9751
DONALD L MERRITT                                2180 TEAKWOOD MANOR DR                                                                           FLORISSANT       MO    63031‐4334
DONALD L MESSINA                                16905 E 3RD TER S                                                                                INDEPENDENCE     MO    64056
DONALD L MILES & MARGARET M MILES JT TEN        4492 N RIVER RD                                                                                  EVART            MI    49631‐8115
DONALD L MILLAGE                                537 WEAKLEY CREEK RD                                                                             LAWRENCEBURG     TN    38464‐6018
DONALD L MILLER                                 15696 MICHAEL                                                                                    TAYLOR           MI    48180‐5018
DONALD L MILLER                                 C/O JOAN B MILLER                       2226 DOWNING LANE                                        WILMINGTON       DE    19804‐3612
DONALD L MILLER                                 609 SUNRISE DRIVE                                                                                BELTON           MO    64012‐4410
DONALD L MILLER & JOAN B MILLER JT TEN          C/O JOAN B MILLER                       2226 DOWNING LANE                                        WILMINGTON       DE    19804‐3612
DONALD L MILLINGTON TR DONALD L MILLINGTON      37300 TIMBERVIEW LANE                                                                            FARMINGTON HILLS MI    48331‐3077
TRUST UA 04/16/98
DONALD L MILLINGTON TR DONALD L MILLINGTON      37300 TIMBERVIEW LANE                                                                            FARMINGTON HILLS MI    48331‐3077
TRUST UA 04/16/98
DONALD L MILLS & MARGARET H MILLS JT TEN        120 NOYA LN                                                                                      LOUDON           TN    37774‐6911
DONALD L MOORE                                  44 DRYDEN RD                                                                                     NEW CASTLE       DE    19720‐2315
DONALD L MORRIS                                 12514 PRINCETON                                                                                  CHICAGO          IL    60628‐7225
DONALD L MORRISON & PHYLLIS J MORRISON JT TEN   4130 NORTHWEST BLVD                     APT 130                                                  DAVENPORT        IA    52806‐4250

DONALD L MOTT                                   PO BOX 13209                                                                                     FLINT            MI    48501‐3209
DONALD L MULL                                   210 LOCUST ST #25H                                                                               PHILADELPHIA     PA    19106‐3926
DONALD L NEWSOM                                 29 PENN ST                                                                                       PENNS GROVE      NJ    08069‐1326
DONALD L NICHOLAS                               PO BOX 2575                                                                                      ANDERSON         IN    46018‐2575
DONALD L NICHOLS                                9225 ABBY LANE                                                                                   YPSILANEI        MI    48198‐9413
DONALD L NOBLE                                  7697 DICKEY RD                                                                                   MIDDLETOWN       OH    45042‐9251
DONALD L NONNEMAN                               820 S WALNUT ST                                                                                  SPRINGFIELD      IL    62704‐2631
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DONALD L NOWLIN                                  129 WEST JEFFERSON ST                  PO BOX 345                                               DIMONDALE         MI    48821‐0345
DONALD L OAKLEY                                  BOX 234                                                                                         WOOLRICH          PA    17779‐0234
DONALD L OLIVER                                  8‐32 MITCHELL PLACE                                                                             FAIR LAWN         NJ    07410‐3214
DONALD L ONESTI                                  2026 CHESTNUT HILL DR                                                                           YOUNGSTOWN        OH    44511‐1228
DONALD L PARTRIDGE & JUDITH M PARTRIDGE JT TEN   3125 CHERRY LANE                                                                                EDEN              NY    14057‐1245

DONALD L PEARSON                             PO BOX 886                                                                                          CLOVERDALE        IN    46120‐0886
DONALD L PETTS                               14284 EDDY LAKE ROAD                                                                                FENTON            MI    48430‐1530
DONALD L PFUNDT                              1258 N MORRISH RD                                                                                   FLINT             MI    48532‐2043
DONALD L PILON                               5865 WEST KOCHVILLE RD                                                                              SAGINAW           MI    48604‐9459
DONALD L PINE                                6757 ST RD 28 W                                                                                     ELWOOD            IN    46036‐8938
DONALD L POWELL                              8224 BENTLEY HWY                                                                                    EATON RAPIDS      MI    48827‐9306
DONALD L PRIEUR                              5700 GENESEE RD                                                                                     LAPEER            MI    48446‐2750
DONALD L QUACKENBUSH                         747 PERRY CREEK RD NORTH                                                                            MIO               MI    48647‐9714
DONALD L QUACKENBUSH & CARLOTTA J            747 PERRY CREEK ROAD N                                                                              MIO               MI    48647‐9714
QUACKENBUSH JT TEN
DONALD L QUACKENBUSH TR DONALD L QUACKENBUSH 5833 MARLOW DRIVE                                                                                   EAST SYRACUSE     NY    13057‐3021
LIVING TRUST UA 2/01/05
DONALD L RAINER                              3019 GEORGE ST                                                                                      ANDERSON          IN    46016‐5448
DONALD L RAMEY                               2121 HARRISON AVE                          APT S1                                                   PANAMA CITY       FL    32405‐4570
DONALD L RATCLIFF                            27 MORGAN BRANCH RD                                                                                 LEICESTER         NC    28748‐7573
DONALD L REED & MARY E REED JT TEN           5404 MIDDLETON DRIVE                                                                                GREENDALE         WI    53129‐1361
DONALD L REENE & BONNIE E REENE JT TEN       2678 JACOB RD                                                                                       CARO              MI    48723‐9327
DONALD L REESE                               251 HOOPER RD                                                                                       COMMERCE          GA    30530‐7135
DONALD L RENETZKY & LANA L RENETZKY JT TEN   5800 BAHAFYRE CT                                                                                    SAINT LOUIS       MO    63128‐3365
DONALD L RICHARDS & SCOTT RICHARDS JT TEN    36 SENATOR AVE                                                                                      AGAWAM            MA    01001‐2130
DONALD L RICKERT                             2504 S CANAL EXT                                                                                    NEWTON FALLS      OH    44444‐9461
DONALD L RILEY                               1191 JACKSON DR                                                                                     OWOSSO            MI    48867‐1991
DONALD L RINEHART                            8005 VOLK DR                                                                                        DAYTON            OH    45415‐2243
DONALD L ROBERTS                             5755 CLEAR CREEK DR                                                                                 DENVER            CO    80212‐2835
DONALD L ROBINSON                            5205 EAST MT MORRIS ROAD                                                                            MT MORRIS         MI    48458‐9730
DONALD L ROGERS                              119MEADOW LANE                                                                                      SANDUSKY          OH    44870‐5762
DONALD L ROGERS                              13518 E 54 TERRACE                                                                                  KANSAS CITY       MO    64133‐7726
DONALD L ROSECRANS                           29025 RT 58 N                                                                                       SULLIVAN          OH    44880‐9603
DONALD L ROUDEBUSH                           2108 GRICE LANE                                                                                     KETTERING         OH    45429‐4154
DONALD L RUTLEDGE                            12406 BROOKFIELD AVE                                                                                CLEVELAND         OH    44135‐2220
DONALD L SCANLON & DONNA J SCANLON JT TEN    6006 XERXES AVE N                                                                                   BROOKLYN CENTER   MN    55430‐2314

DONALD L SCHNEIDER                               2691 HAMMAN DRIVE                                                                               AUSTINTOWN        OH    44511‐1825
DONALD L SCOTT                                   12881 OSBORNE                                                                                   ARLETA            CA    91331‐3335
DONALD L SCOTT                                   3830 RIDGE RD                                                                                   WILLIAMSBURG      OH    45176‐9749
DONALD L SEILER & MRS MARGARET W SEILER JT TEN   107 WOODLAND DRIVE                                                                              MECHANICSBURG     PA    17055‐3373

DONALD L SHANN                                   4485 ALDER DRIVE                                                                                FLINT             MI    48506‐1459
DONALD L SHANNON                                 29248 MAGNOLIA DR                                                                               FLATROCK          MI    48134‐1338
DONALD L SHAWVER                                 22 FAIRWAY CIRCLE                                                                               NEW SMYRNA        FL    32168‐6304
                                                                                                                                                 BEACH
DONALD L SHEICK                                  296 ST IGNACE RD                                                                                ST IGNACE         MI    49781‐9730
DONALD L SHELTON                                 511 E 4TH ST                                                                                    STAUNTON          IL    62088‐2113
DONALD L SHERWOOD                                41 SHERWOOD LN                                                                                  TUNKHANNOCK       PA    18657‐7004
DONALD L SIDWELL                                 1211 FAVORITE ST                                                                                ANDERSON          IN    46013‐1314
DONALD L SIMPSON                                 121 CEDAR DUNES DRIVE                                                                           NEW SMYRNA        FL    32169‐3860
                                                                                                                                                 BEACH
DONALD L SIROTTI & SHARON A SIROTTI JT TEN       28074 ASHLAND AVE                                                                               HARRISON TWP      MI    48045‐2238
DONALD L SLAUGHTER                               921 N 7TH ST                                                                                    ELSBERRY          MO    63343‐1017
DONALD L SMITH                                   7005 S WAHTENAW 2ND FL                                                                          CHICAGO           IL    60629
DONALD L SMITH & EVELYN Y SMITH JT TEN           592 FIVE POINTS                        HONEOYE FALLS ROAD                                       HONEOYE FALLS     NY    14472‐9034
DONALD L SMITH & LOUISE A SMITH JT TEN           9114 SPOKANE WAY                                                                                LOUISVILLE        KY    40241‐2426
DONALD L SNAVELY                                 81 E HONEY CREEK RD                                                                             BELLVILLE         OH    44813‐9041
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DONALD L SOBAS                                  210 MERRIMAN ROAD                                                                               GARDEN CITY     MI    48135‐1300
DONALD L SPENCER                                765 WAUKEE LANE                                                                                 SAGINAW         MI    48604‐1133
DONALD L SPICHER                                2827 NILES VIENNA RD                                                                            NILES           OH    44446‐4406
DONALD L SPRAGUE TR UA 09/12/07 DONALD L        1073 WEST HURD RD                                                                               CLIO            MI    48420
SPRAGUE TRUST
DONALD L STANLEY                                3223 W N 00 S                                                                                   MARION          IN    46953‐9440
DONALD L STECH                                  2382 OAKFIELD CT                                                                                AURORA          IL    60504‐4783
DONALD L STEWARD                                146 JAMES AMMONS RD                                                                             ERWIN           TN    37650‐3127
DONALD L STOCKWELL & FREDERICK A STOCKWELL JT   39500 WARREN RD LOT# 190                                                                        CANTON          MI    48187‐4377
TEN
DONALD L STRAWSER                               6524 W 13TH STREET                                                                              INDIANAPOLIS    IN    46214‐3443
DONALD L STREAM & JOANN QUIGLEY STREAM TEN      1475 DIETRICH OAKS                                                                              MANCHESTER      MO    63021‐8011
COM
DONALD L STRUBLE & GLADYS M STRUBLE JT TEN      G4203 CARAMNWOOD DR                                                                             FLINT           MI    48507
DONALD L SUMMERS & MRS KATHLEEN R SUMMERS JT    3713 MOON NE                                                                                    ALBUQUERQUE     NM    87111‐3236
TEN
DONALD L SWINFORD                               4419 SLOANGATE DR                                                                               SPRING          TX    77373‐9300
DONALD L TATE                                   2721 GATSBY COURT                                                                               LANSING         MI    48906‐3673
DONALD L TETER & GERTRUDE M TETER JT TEN        5013 GLENHAVEN                                                                                  BAYTOWN         TX    77521‐2913
DONALD L THOMPSON                               BOX 175                                137 E FIRST ST                                           VERMONTVILLE    MI    49096‐0175
DONALD L TOBUL & ELSIE TOBUL JT TEN             1376 DAVISTA AVE                                                                                MADISON         OH    44057‐1361
DONALD L TOTH                                   39603 BAROQUE                                                                                   MOUNT CLEMENS   MI    48038‐2613
DONALD L TOTH & HUGUETTE TOTH JT TEN            39603 BAROQUE                                                                                   MT CLEMENS      MI    48038‐2613
DONALD L TOWNS                                  6900 W 96TH                                                                                     ZIONSVILLE      IN    46077‐8412
DONALD L TRAMMEL                                3985 WILLIAMS 2                                                                                 COLUMBIAVILLE   MI    48421‐9338
DONALD L TREADWAY                               1201 PERRYSVILLE AVE                                                                            GEORGETOWN      IL    61846‐1354
DONALD L TREAT                                  4440 DIEBOLD RANCH RD                                                                           WEST BRANCH     MI    48661‐9657
DONALD L TUCKER                                 209 STAHL AVE                                                                                   CORTLAND        OH    44410‐1137
DONALD L TURNER TR DONALD L TURNER REVOCABLE    360 PINE VALLEY ROAD                                                                            HOLLAND         OH    43508
LIVING TRUST UA 03/08/99
DONALD L TURNEY                                 11119 SPRING POND COVE                                                                          FORT WAYNE      IN    46845‐1858
DONALD L UPTEGRAFF                              23 SOUTH STRAITS HIGHWAY                                                                        INDIAN RIVER    MI    49749‐9713
DONALD L UTT                                    1459 FREDRICK CT                                                                                MANSFIELD       OH    44906‐2425
DONALD L UTZ                                    37 ANTOINETTE DRIVE                                                                             DEPEW           NY    14043‐1103
DONALD L VACCARI & MARLYS D VACCARI JT TEN      6401 ANBER PASS                                                                                 PLAINFIELD      IN    46168‐9380
DONALD L WACHSMUTH                              2701 AFFIRMED DRIVE                                                                             JAMESVILLE      WI    53546‐4416
DONALD L WAGLE JR                               10374 MELINDA ST                                                                                CLIO            MI    48420‐9407
DONALD L WAGNER                                 6736 NO 475                                                                                     E PITTSBORO     IN    46167
DONALD L WAGNER & SCOTTIE M WAGNER JT TEN       6736 N 475E                                                                                     PITTSBORO       IN    46167

DONALD L WAGNITZ & DUANE L WAGNITZ JT TEN       17335 PEPPERMINT LN                                                                             HOLLY           MI    48442‐8384
DONALD L WAGNITZ & MARK STEVEN WAGNITZ JT TEN   17335 PEPPERMINT LN                                                                             HOLLY           MI    48442‐8384

DONALD L WALDRON                             562 CHIPOLA CT SE                                                                                  WARREN          OH    44484‐2401
DONALD L WARREN                              9260 ALEXANDER RD                                                                                  BATAVIA         NY    14020‐9548
DONALD L WASHINGTON                          147 SIEBERT RD                                                                                     PITTSBURGH      PA    15237‐3789
DONALD L WASHINGTON CUST DONALD L WASHINGTON 147 SIEBERT ROAD                                                                                   PITTSBURGH      PA    15237‐3789
II UGMA PA
DONALD L WASHINGTON CUST DONELLE LOY         147 SIEBERT ROAD                                                                                   PITTSBURGH      PA    15237‐3789
WASHINGTON UGMA PA
DONALD L WASILEWSKI                          3571 DEMURA ST                                                                                     WARREN          OH    44484‐3721
DONALD L WAYMIRE                             1603 EAST 400 NORTH                                                                                ANDERSON        IN    46012‐9536
DONALD L WEBB                                119 HAMILTON LANE                                                                                  MC CORMICK      SC    29835‐2460
DONALD L WEEKS                               9015 16 MILE                                                                                       CEDAR SPRINGS   MI    49319‐9534
DONALD L WELLS                               6199 WEST 250 SOUTH                                                                                RUSSIAVILLE     IN    46979‐9414
DONALD L WESTBY JR                           104 EAST DELAVAN DRIVE                                                                             JANESVILLE      WI    53546‐2629
DONALD L WETHERWAX & JAMES D WETHERWAX &     8930 VICKROY TER                                                                                   OVIEDO          FL    32765‐5230
SHARLENE K STETSON JT TEN
DONALD L WEZELL                              3437 W HOME AVE                                                                                    FLINT           MI    48504‐1462
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DONALD L WHITE                                  1720 STEAMBOAT DR                                                                           PLANO             TX    75025‐2609
DONALD L WILFERT                                4103 DURHAMS XING                                                                           CINCINNATI        OH    45245
DONALD L WILLIS & SARAH E WILLIS JT TEN         OXFORD PARK                        1169 BALTUSTROL RUN                                      AVON              IN    46123‐7631
DONALD L WIRSING                                1041 E HURD RD                                                                              CLIO              MI    48420‐7900
DONALD L WITT                                   4015 CLEVELAND AVE                                                                          DAYTON            OH    45410‐3401
DONALD L WOODS                                  1655 N NASHVILLE AVE                                                                        CHICAGO           IL    60707‐3902
DONALD L WORTHUM                                3058 JOSLYN RD                                                                              AUBURN HILLS      MI    48326‐1427
DONALD L WRAY                                   5124 N POINT PARK CT                                                                        MONTORELLO        IN    47960‐7315
DONALD L WRIGHT                                 2314 CR 1370                                                                                ALVORD            TX    76225‐7531
DONALD L WYATT                                  1265 BUSH CREEK DR                                                                          GRAND BLANC       MI    48439‐1616
DONALD L ZENTZ                                  815 NORTH WASHINGTON ST                                                                     KOKOMO            IN    46901‐3385
DONALD L ZUELCH                                 14216 BADE DR                                                                               WARREN            MI    48093‐3793
DONALD LAMAR SMITH & SHIRLEY ALEXANDER SMITH JT 1300 WILMINGTON WAY                                                                         GRAYSON           GA    30017
TEN
DONALD LAPOINTE                                 1099 E POPLAR ST                                                                            PRATTVILLE        AL    36066‐7350
DONALD LAROSA                                   5025 SE WOODWARD                                                                            PORTLAND          OR    97206‐2139
DONALD LATOUR & CAROL MJ LATOUR JT TEN          713 ENDICOTT STREET N                                                                       LACONIA           NH    03246
DONALD LAWRENCE HUGHES                          1511 PAR CSWY                                                                               ALLENTOWN         PA    18106‐9631
DONALD LEARNER & MRS PATRICIA GALE LEARNER JT   1407 WEST HOOD AVENUE                                                                       CHICAGO           IL    60660
TEN
DONALD LEE                                      1800 HILLTOP AVE                                                                            ESSEX             MD    21221‐3040
DONALD LEE CUST VINCENT LEE UTMA WA             23821 29TH AVE W                                                                            BRIER             WA    98036
DONALD LEE ELLINGER                             8731 PARK HAVEN POINT                                                                       CENTERVILLE       OH    45458‐2834
DONALD LEE GELSOMINO                            7610 W IRVING PARK RD              #B                                                       NORRIDGE          IL    60706‐2106
DONALD LEE HITE & ILIENE L HITE JT TEN          75 SINCLAIR ST                     MARROWBONE HTS                                           RIDGEWAY          VA    24148‐3348
DONALD LEE KEEBLER                              8333 BONNIE CT                                                                              GRAND BLANC       MI    48439‐1872
DONALD LEE PITMAN                               1279 ALTAPASS HWY                                                                           SPRUCE PINE       NC    28777‐8931
DONALD LEE SNEED & GWENDOLYN HILTON SNEED JT    20222 BIG BEND LANE                                                                         HUNTINGTON        CA    92646‐4816
TEN                                                                                                                                         BEACH
DONALD LEE STOETZER & JAMES R STOETZER JT TEN   16057 E M‐134                                                                               DETOUR VILLAGE    MI    49725‐9537

DONALD LEE TATUM                               99 SOUTH PLAINS DRIVE                                                                        PETERSBURG        VA    23805‐9107
DONALD LEE WHITE                               1309 PLAZA                                                                                   ATLANTA           GA    30310‐3742
DONALD LEO CHEVERIE                            2050 CHEVERIE CIRCLE                                                                         CHIPLEY           FL    32428‐4044
DONALD LEONARD                                 240 BILGERS ROCKS RD                                                                         GRAMPIAN          PA    16838‐9235
DONALD LEONARD HOROWITZ                        2501 WRIGHWOOD AVE                                                                           DURHAM            NC    27705‐5829
DONALD LEROY BRUCE                             729 WOLCOTT ST                                                                               FLINT             MI    48504‐4991
DONALD LEROY LANNING                           5362 N INTERSTATE HIGHWAY 45                                                                 ENNIS             TX    75119‐0911
DONALD LEVY                                    279 E 44TH ST APT 11K                                                                        NEW YORK          NY    10017‐4347
DONALD LEWIS BUNDREN                           53 EMANDAN LN                                                                                HOCKESSIN         DE    19707‐8403
DONALD LEWIS VERRETTE                          6387 CEDAR LAKE ROAD                                                                         OSCODA            MI    48750‐9455
DONALD LEYDA                                   PO BOX 83                                                                                    ELCO              PA    15434‐0083
DONALD LINNER                                  54 SILVERMINE AVE                                                                            NORWALK           CT    06850‐2008
DONALD LITTLE                                  132 VIRGINIA AVE                                                                             ELYRIA            OH    44035‐7877
DONALD LOUIE WILLIS                            329 W COE DR                                                                                 MIDWEST CITY      OK    73110‐4505
DONALD LOUIS SANCHEZ                           5156 N GALE RD                                                                               DAVISON           MI    48423‐8955
DONALD LOUWSMA                                 5519 ATTICA RD                                                                               ATTICA            MI    48412‐9710
DONALD LOYD                                    7475 E PEAKVIEW AVE                                                                          CENTENNIAL        CO    80111
DONALD LYKINS                                  20059 N SHADOW MOUNTAIN DR                                                                   SURPIRSE          AZ    85374‐4921
DONALD M ALLEN & GLORIA J ALLEN JT TEN         7064 TIMBERVIEW TRAIL                                                                        WEST BLOOMFIELD   MI    48322‐3352

DONALD M ASHBAUGH                           3 CARDINAL LANE                                                                                 EFFINGHAM         IL    62401‐5037
DONALD M BOGIE                              222 EDGEWOOD RD                                                                                 LINDEN            NJ    07036‐3708
DONALD M BURLINGHAM CUST EVA M BURLINGHAM   117 BRUSH EVERARD CT                                                                            STAFFORD          VA    22554‐8807
UTMA OH
DONALD M BURLINGHAM CUST LAURA A BURLINGHAM 117 BRUSH EVERARD CT                                                                            STAFFORD          VA    22554‐8807
UTMA OH
DONALD M BURLINGHAM CUST MEGAN E BURLINGHAM 117 BRUSH EVERARD CT                                                                            STAFFORD          VA    22554‐8807
UTMA OH
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DONALD M BUSWELL CUST BRADLEY P BUSWELL UGMA 3798 TIMBERHILL DRIVE                                                                                ADRIAN             MI    49221‐9150
MI
DONALD M BUTLER                                  1755 GRAY TWIG LN                                                                                MILFORD            MI    48381‐4435
DONALD M CAMPBELL                                379 LINTON RUN RD                                                                                PORT DEPOSIT       MD    21904‐1644
DONALD M CAMPBELL                                8475 E CARPENTER RD                                                                              DAVISON            MI    48423‐8915
DONALD M CARLSON                                 14743 RONNIE LANE                                                                                LIVONIA            MI    48154‐5160
DONALD M CARNEY                                  3626 WHALEN AVE                                                                                  INDIANAPOLIS       IN    46227‐7082
DONALD M CASSIDY & RUBY A CASSIDY JT TEN         2172 ADRIENNE                                                                                    TROY               MI    48098‐3803
DONALD M CATHCART                                PO BOX 5543                                                                                      NEW CASTLE         PA    16105‐0543
DONALD M CHAMBERS                                3 DANIEL STREET                                                                                  FOXBORO            MA    02035‐2715
DONALD M CHARBONEAU                              5537 WEST 35TH ST                                                                                INDIANAPOLIS       IN    46224‐1322
DONALD M CODY                                    485 ELM ST                                                                                       MONTPELIER         VT    05602‐2008
DONALD M CROMWELL                                22 LONGBOTTOM CT                                                                                 KINGSVILLE         MD    21087‐1368
DONALD M CUNNINGHAM                              8444 FINCHUM DR                                                                                  BROWNSBURG         IN    46112‐8439
DONALD M CZERNIEWSKI & BARBARA E CZERNIEWSKI JT 1811 BUCKTHORNE CT                                                                                TROY               MI    48098‐6542
TEN
DONALD M DECOURCY                                2330 ANGELL ROAD                                                                                 SUNFISH LAKE       MN    55118‐4702
DONALD M DETRICK & MRS VIRGINIA M DETRICK JT TEN 2411 SILVER FOX LANE                                                                             RESTON             VA    20191‐2628

DONALD M DILTS                                    1039 NUTMEG SQ SOUTH                                                                            TROY             OH      45373‐1828
DONALD M DU BOIS                                  708 BROOKSIDE DR                                                                                OTSEGO           MI      49078‐1512
DONALD M EBERLE                                   6000 ROBERT STREET                                                                              MUNCIE           IN      47303‐4473
DONALD M ENYEART                                  11564 GREENWOOD SPRINGRIDGE                                                                     SHREVEPORT       LA      71129‐9765
DONALD M ETHIER                                   151 PASEO GRANDE                                                                                SAN LORENZO      CA      94580‐2501
DONALD M FARRA                                    P O BOX1603                                                                                     DAYTON           OH      45401‐1603
DONALD M FENTON                                   4335 OAKVISTA AVE                                                                               CLARKSTON        MI      48346‐3814
DONALD M FICK                                     20 CHERRYTREE COURT                                                                             PALM COAST       FL      32137
DONALD M FRASER & MARILYN G FRASER JT TEN         17448 RIVERWALK WAY E                                                                           NOBLESVILLE      IN      46062‐7016
DONALD M GARNIER JR                               3852 SHARP RD                                                                                   ADRIAN           MI      49221‐9639
DONALD M GILLETTE & BARBARA E GILLETTE JT TEN     26 WEST BROOKFIELD ROAD                                                                         NORTH BROOKFIELD MA      01535‐1344

DONALD M GOSH                                     901 HILLTOP DR                                                                                  JACKSBORO          TN    37757‐2038
DONALD M GRAFF & MRS BETTY GRAFF JT TEN           10680 SW 92ND AVE                                                                               MIAMI              FL    33176‐3657
DONALD M GRAY                                     1928 W KALAMAZOO ST                                                                             LANSING            MI    48915‐1146
DONALD M GREENMAN                                 15120 ALMONT RD                                                                                 ALLENTON           MI    48002‐3000
DONALD M GRIEBEL & LINDA GRIEBEL JT TEN           3315 S CUSTER                                                                                   WICHITA            KS    67217‐1235
DONALD M GRIFFIN                                  105 MCGIBONEY RD                                                                                ROCK ISLAND        TN    38581‐4088
DONALD M GUENTHER                                 8516 MYRTLEWOOD DR                                                                              CINCINNATI         OH    45236
DONALD M HALE                                     4068 HILLDALE AVE                                                                               OROVILLE           CA    95966‐9502
DONALD M HARRISS                                  PO BOX 233                                                                                      HALIFAX            NC    27839‐0233
DONALD M HEAVRIN                                  717 W MARKET STREET SUITE ONE                                                                   LOUISVILLE         KY    40202‐2755
DONALD M HINKLE JR                                5972 E 500 S                                                                                    KOKOMO             IN    46902‐9712
DONALD M HOSTETTER                                1532 COVINGTON AVE                                                                              WESTLAKE VILLAGE   CA    91361‐1513

DONALD M HUNE                                     3771 PLANTERS CREEK CIR W                                                                       JACKSONVILLE       FL    32224‐7662
                                                                                                                                                  BEACH
DONALD M HUTCHINSON                               1275 RUGBY CIRCLE                                                                               BLOOMFIELD HILLS   MI    48302‐0945

DONALD M JANUSZ                                   14448 SO KOLIN                                                                                  MIDLOTHIAN         IL    60445‐2656
DONALD M JENKINSON                                801 WEST M‐61                                                                                   GLADWIN            MI    48624‐8465
DONALD M JOBES                                    406 LOVERS LN                                                                                   STEUBENVILLE       OH    43953‐3310
DONALD M KENNEDY                                  58 BRIGHTON RD NE                                                                               ATLANTA            GA    30309‐1519
DONALD M LATIMER & HELEN S LATIMER JT TEN         5991 COMBS ROAD                                                                                 NORTH ADAMS        MI    49262‐9746
DONALD M LAWRUK                                   12347 SW KINGSWAY CIR                                                                           LAKE SUZY          FL    34269‐8734
DONALD M MACLAY & NANCY H MACLAY JT TEN           936 CHURCH RD                                                                                   SPRINGFIELD        PA    19064‐3935
DONALD M MANTLO                                   13126 S NASH HWY                       PO BOX 654                                               LAKE ODESSA        MI    48849‐0654
DONALD M MARCUM                                   1249 BONNIE DRIVE                                                                               MANSFIELD          OH    44905‐3007
DONALD M MAZIASZ                                  PO BOX 18008                                                                                    CLEARWATER         FL    33762‐1008
DONALD M MC MILLAN                                PO BOX 126                                                                                      KOUTS              IN    46347‐0126
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DONALD M MCGUIRE                              30922 BROWN                                                                                       GARDEN CITY      MI    48135‐1469
DONALD M MENHORN                              16676 G A R HIGHWAY                      PO BOX 168                                               MONTVILLE        OH    44064‐0168
DONALD M MILLER                               419 SOUTH 88TH ST                                                                                 OMAHA            NE    68114‐4001
DONALD M MORIN                                GROUP 12 RR 3 BOX NO 25                  BOWMANVILLE ON                         L1C 3K4 CANADA
DONALD M NOWICKI TR DONALD M NOWICKI TRUST UA 31232 GAY                                                                                         ROSEVILLE        MI    48066‐1225
01/05/91
DONALD M OKRAY                                24805 HARMON                                                                                      ST CLAIR SHRS    MI    48080‐3137
DONALD M PETIPRIN                             1163 LUDER RD                                                                                     CARO             MI    48723‐9793
DONALD M PFANNES                              1032 EDDIE DRIVE                                                                                  AUBURN           MI    48611‐9422
DONALD M PFANNES & DARLENE I PFANNES JT TEN   1032 EDDIE DRIVE                                                                                  AUBURN           MI    48611‐9422

DONALD M PFAU CUST MATTHEW C PFAU UTMA IL       20301 HARDING AVE                                                                               OLYMPIA FIELDS   IL    60461‐1417

DONALD M PIERCE                                 61 MARK ALLEN DR                                                                                WARWICK          RI    02886‐8506
DONALD M QUIMBY                                 9044 WILBUR HIGHWAY                                                                             EATON RAPIDS     MI    48827‐9322
DONALD M RICH                                   2806 ROCKLEDGE                                                                                  DAYTON           OH    45430‐1934
DONALD M ROBBINS                                6 SARAGOSSA ST                                                                                  ST AUGUSTINE     FL    32084‐3624
DONALD M ROLL                                   6195 CEDAR SPRINGS DR                                                                           CEDAR HILLS      MO    63015
DONALD M SHANTZ                                 9 WINDERMERE CRT                       KITCHENER ON                           N2N 2W3 CANADA
DONALD M SHIVAK & JONEVA SHIVAK JT TEN          22848 BEECH ST                                                                                  DEARBORN         MI    48124‐2665
DONALD M SILVERBERG                             84 LORD BYRON LANE                                                                              WILLIAMSVILLE    NY    14221
DONALD M SMIGIEL                                40 D ANN STREET                                                                                 SUPPLY           NC    28462‐2719
DONALD M SMITH                                  324 OAKDALE CIRCLE                                                                              CUBA             MO    65453‐9346
DONALD M SOSSONG & JODY ASOSSONG JT TEN         67 ELMWOOD AVE                                                                                  LOCKPORT         NY    14094‐4621
DONALD M SPINA                                  7590 MEADOW LAKES DR                   APT 1                                                    NAPLES           FL    34104‐5831
DONALD M STACHOWIAK & ELAINE P STACHOWIAK JT    2960 ROSE WAY DR                                                                                BAY CITY         MI    48706‐3077
TEN
DONALD M SUCHYTA                                5151 BAXMAN RD                                                                                  BAY CITY         MI    48706‐3066
DONALD M SULLIVAN                               132 MCGOWAN RD                                                                                  MORRISON         TN    37357
DONALD M SUTTON CUST DONALD M SUTTON III UTMA   3734 WOODSIDE AVE                                                                               LYNCHBURG        VA    24503‐3044
VA
DONALD M SUTTON CUST JOHN TOWNSEND SUTTON       3734 WOODSIDE AVE                                                                               LYNCHBURG        VA    24503‐3044
UTMA VA
DONALD M SWANSON                                7027 SCENIC RIDGE DR                                                                            CLARKSTON        MI    48346‐1346
DONALD M THACKER                                830 S COLFAX                                                                                    MARTINSVILLE     IN    46151‐2601
DONALD M THOMSON JR                             BOX 343                                                                                         OVERGAARD        AZ    85933‐0343
DONALD M TIBERIO                                5202 SE 109TH AVE                                                                               PORTLAND         OR    97266‐3427
DONALD M TOMBASCO                               RR 2 BOX 592                                                                                    SUGARLOAF        PA    18249‐9523
DONALD M TROMBLEY                               9073 WABASIS SHORE DRIVE                                                                        GREENVILLE       MI    48838‐8391
DONALD M TROMBLY & RAYMONDE TROMBLY JT TEN      6938 BURNLY                                                                                     GARDEN CITY      MI    48135‐2038

DONALD M WELLS & GLADYS H WELLS JT TEN          6 OLD FIELD RD                                                                                  SETAUKET         NY    11733‐2260
DONALD M WESCOAT                                238 LIST                                                                                        FRANKENMUTH      MI    48734‐1908
DONALD M WESTOVER                               400 W OSAGE                                                                                     BAY CITY         MI    48706‐5251
DONALD M WILDEY JR                              355 PENFIELD RD                                                                                 MACEDON          NY    14502‐9353
DONALD M WILLIAMS                               3030 CENTER ST W                                                                                CHINO VALLEY     AZ    86323‐4316
DONALD M WILSON TOD SANDRA THOMPSON WILSON      1312 NORMANDY LN                                                                                SACRAMENTO       CA    95822‐1623
SUBJECT TO STA TOD RULES
DONALD M WOLF                                   830 NE HWY B                                                                                    OSCEOLA          MO    64776
DONALD M YAPCZENSKI                             95 FORDHAM PL                                                                                   COLONIA          NJ    07067‐2432
DONALD M ZARLENGO                               613 WEST OMAR ST                                                                                STRUTHERS        OH    44471‐1354
DONALD M ZETTLE                                 23344 ALMOND                                                                                    EAST DETROIT     MI    48021‐4422
DONALD MAC MASTER                               10 CASSANDRA CIR                                                                                CHURCHVILLE      NY    14428‐9224
DONALD MAMMOSER                                 139 W ELMVIEW                                                                                   LACKAWANNA       NY    14218‐2847
DONALD MANDERS                                  1227 LAGUNA DR                                                                                  HURON            OH    44839‐2608
DONALD MANNING CUST KAITLYN MANNING UGMA AK     54 BLAVEN DR                                                                                    HENDERSON        NV    89015‐6581

DONALD MARIAN                                   1012 RABBIT EAR PASS                                                                            VICTOR           NY    14564‐9187
DONALD MARION MILLER                            4926 W WASHINGTON BL                                                                            MILWAUKEE        WI    53208‐1728
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DONALD MARK EASLICK JR                         5146 LOBDELL RD                                                                               MAYVILLE        MI    48744
DONALD MARKS & AGNES MARKS JT TEN              880 EAST AVE                                                                                  TALLMADGE       OH    44278‐2571
DONALD MARNON                                  17645 FOX                                                                                     REDFORD TWP     MI    48240‐2311
DONALD MARTINI                                 PO BOX 502                                                                                    CHARDON         OH    44024‐0502
DONALD MASHBURN                                70 DIXIE MEADOW LN                                                                            CARROLLTON      GA    30117‐6917
DONALD MASON HANSON & BETTE JANE HANSON JT     9701 E 16TH ST                                                                                INDIANAPOLIS    IN    46229‐2010
TEN
DONALD MATCZAK                                 1013 SCHWARTZ ST                                                                              GREEN BAY       WI    54302‐3121
DONALD MC CORMICK                              1501 NAVAHO CT                                                                                PENSACOLA       FL    32507‐8769
DONALD MC ELWAIN                               1083 COLUMBUS CIRCLE S                                                                        ASHLAND         OH    44805‐4526
DONALD MC GEORGE                               4069 STATE RT 18                                                                              WAMPUM          PA    16157‐2137
DONALD MCCLOSKEY & KIMBERLY SUE MCCLOSKEY TEN 6659 SWAN CREEK ROAD                                                                           IRA             MI    48023‐2110
COM
DONALD MCGRATH                                 4135 CASTLEMOOR DR                                                                            JANESVILLE      WI    53546‐9380
DONALD MCISAAC                                 47 DORSET COURT                      BRAMPTON ON                            L6T 2Y3 CANADA
DONALD MCKINNON                                715 BEAR CREEK PIKE                                                                           COLUMBIA        TN    38401
DONALD MCLAUGHLIN                              1424 COUNTY RD NORTH 21                                                                       BRATTVILLE      AL    36067
DONALD MELODY                                  16023 S PEPPERMILL TRAIL                                                                      HOMER GLEN      IL    60491
DONALD MERCER MARTIN                           16901 S OLD SONOITA HWY                                                                       VAIL            AZ    85641‐9112
DONALD MEYERS                                  216 W 89TH ST APT 2C                                                                          NEW YORK        NY    10024‐1823
DONALD MICHAEL BOISONAULT U/GDNSHIP OF DAVID A 16126 MARKESE AVE                                                                             ALLEN PARK      MI    48101‐1938
BOISONAULT
DONALD MILLER                                  RR BOX 97                                                                                     S SOLON         OH    43153
DONALD MILLER                                  625 MEADE                                                                                     SAGINAW         MI    48602‐1163
DONALD MILLER                                  927 MORNINGSIDE DRIVE                                                                         MIAMI SPRINGS   FL    33166‐6056
DONALD MILLER TR DONALD MILLER REVOCABLE TRUST 17117 DUNBLAINE                                                                               BEVERLY HILLS   MI    48025‐4105
UA 10/07/98
DONALD MOORE & MRS KATHLEEN MOORE JT TEN       23611 STATE HWY 10                                                                            WALTON          NY    13856‐3113

DONALD MOORE GOULD                             ATTN MARTIN                          11‐05 CADMUS PL                                          FAIR LAWN       NJ    07410‐2122
DONALD MULLIGAN & EILEEN T MULLIGAN JT TEN     20 ROSE STREET                                                                                PLAINVIEW       NY    11803‐5110
DONALD MURRAY LANGDON                          6968 EAST 18TH ST                                                                             TULSA           OK    74112‐7608
DONALD N ABBOTT                                5450 VERMILYA RD                                                                              COLUMBIAVILLE   MI    48421‐8931
DONALD N BARRON                                3750 CLARENDON AVE                   UNIT 33                                                  PHILADELPHIA    PA    19114‐1937
DONALD N BUNN                                  810 E VAN BUREN ST                   APT 301                                                  LENOX           IA    50851‐1622
DONALD N CLAPS                                 18133 COASTLINE DR STE 3                                                                      MALIBU          CA    90265‐5700
DONALD N DANIEL & IRMA J DANIEL JT TEN         205 BRELANCE DR                                                                               CORBIN          KY    40701‐4378
DONALD N DE MOTT                               9640 LYNBROOK                                                                                 DALLAS          TX    75238‐2839
DONALD N DROLET & NORMA J DROLET JT TEN        5316 FOREST RIDGE DRIVE                                                                       CLARKSTON       MI    48346‐3478
DONALD N DUMMER JR                             4410 ALDER DR                                                                                 FLINT           MI    48506‐1462
DONALD N GEEHR                                 1152 GOLFVIEW TER                                                                             MONROE          GA    30655‐2233
DONALD N GEEHR & SARA N GEEHR JT TEN           1152 GOLFVIEW TER                                                                             MONROE          GA    30655‐2233
DONALD N GETTINGER                             2110 S MANVILLE ROAD                                                                          MUNCIE          IN    47302‐4854
DONALD N HELTENEN TR DONALD N HELTENEN LIV     14171 WACOUSTA RD                                                                             GRAND LEDGE     MI    48837‐8234
TRUST UA 05/05/99
DONALD N JOHNSON                               5108 N 37 STREET                                                                              ARLINGTON       VA    22207‐1862
DONALD N KELLY                                 1962 DENBURY DRIVE                                                                            BALTIMORE       MD    21222‐4601
DONALD N LEAL                                  22489 DANIELS ST                                                                              ST CLR SHORES   MI    48081‐2409
DONALD N MC ARTHUR & MARILYN M MC ARTHUR JT    W16705 CORINNE RD                                                                             GOULD CITY      MI    49838‐9065
TEN
DONALD N PEABODY                               2930 E COLONIAL AVE                                                                           TERRE HAUTE     IN    47805‐2608
DONALD N RAY                                   1669 FLOYD DRIVE                                                                              BOAZ            AL    35957‐5642
DONALD N SOMMER                                376 BENT TREE DR                                                                              AURORA          OH    44202‐9220
DONALD N WEIMAN                                1212 TURNPIKE ROAD                                                                            ALMOND          NY    14804‐9731
DONALD N WHITE                                 413 E STATE ST                                                                                GREENVILLE      MI    48838‐1827
DONALD N WHITE & SHIRLEY A WHITE JT TEN        413 E STATE                                                                                   GREENVILLE      MI    48838‐1827
DONALD N WICKS                                 7227 GREENWOOD RD                                                                             GLADWIN         MI    48624‐9116
DONALD N YORK                                  4110 RED ARROW RD                                                                             FLINT           MI    48507
DONALD NARD                                    1616 REED RD APT K                                                                            FORT WAYNE      IN    46815‐7352
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DONALD NEAL JEFFERY                               1647 VALLEY FORGE STREET                                                                            LANCASTER          OH    43130‐1239
DONALD NEIBERT CUST MICHAEL NEIBERT UGMA MI       1762 BOTTLEBRUSH WAY                                                                                NORTH PORT         FL    34289‐2304

DONALD NELSON                                     2233 MAPLE LEAF DR E                                                                                JACKSONVILLE       FL    32211‐3937
DONALD NELSON & MARY J NELSON JT TEN              1130 VINEWOOD                                                                                       AUBURN HILLS       MI    48326‐1645
DONALD NESLER                                     1206 NOTTINGHAM LANE                                                                                ELGIN              IL    60120‐9541
DONALD NEWMAN CUST ALEXANDER NEWMAN UTMA          1600 DAYBREAK RDG                                                                                   KANNAPOLIS         NC    28081‐5761
NC
DONALD NEWTON                                     3935 SAINT PHILIP DR                                                                                MEMPHIS            TN    38133‐0971
DONALD NOWAK                                      148 BASSWOOD DR                                                                                     CHEEKTOWAGA        NY    14227‐2657
DONALD O ALLEN                                    PO BOX 366                                                                                          PENNS GROVE        NJ    08069‐0366
DONALD O BEAUCHAMP                                9717 FM 1807                                                                                        ALVARADO           TX    76009‐6927
DONALD O CANN & G DOREEN CANN TR CANN LOVING      3031 CHELTENHAM WAY                                                                                 MEDFORD            OR    97504‐9770
TRUST UA 4/18/97
DONALD O CAPLES                                   1507 PILGRIM LANE                                                                                   FINKSBURG          MD    21048‐1413
DONALD O CAPLES & CAROLYN L CAPLES JT TEN         1507 PILGRIM LANE                                                                                   FINKSBURG          MD    21048‐1413
DONALD O CLENDANIEL SR TR DONALD O CLENDANIEL     201 CHANDLER ST                                                                                     MILTON             DE    19968‐1235
SR TRUST UA 07/31/00
DONALD O CLENDANIEL TR UA 07/31/00 DONALD O       201 CHANDLER ST                                                                                     MILTON             DE    19968
CLENDANIEL SR REV TRUST
DONALD O CONNOR                                   1423 92ND STREET R R 3                                                                              BYRON CENTER       MI    49315
DONALD O DRESCHER SR                              BASSETT PARK MANOR                      111 ST GREGORY COURT ROOM 39                                WILLIAMSVILLE      NY    14221
DONALD O FELTUS & RUTH V FELTUS TR D & R FELTUS   BOX 611                                                                                             ACTON              MA    01720‐0611
NOMINEE TRUST
DONALD O HEFELFINGER                              57 JUNE PLACE                                                                                       BROOKVILLE         OH    45309‐1621
DONALD O KLOMPMAKER                               5902 SUGARBUSH LANE                                                                                 GREENDALE          WI    53129‐2623
DONALD O LINNERUD                                 3260 ANTIQUA RD                                                                                     LAKE WALES         FL    33859‐6912
DONALD O LIVESAY                                  4453 ARDONNA LANE                                                                                   DAYTON             OH    45432‐1809
DONALD O NICKELL                                  7600 WOOSTER PIKE                                                                                   SEVILLE            OH    44273‐9717
DONALD O RENTSCHLER & MRS DONNA J RENTSCHLER      1647 RIPARIAN DR                                                                                    NAPERVILLE         IL    60565‐4171
JT TEN
DONALD O SCHINSKE & JANE L SCHINSKE JT TEN        77888 22ND ST                                                                                       SCHOOLCRAFT     MI       49087‐9306
DONALD O SCHULL                                   1701 WEST COMMERCE                      LOT # 109                                                   HAINES CITY     FL       33844
DONALD O SMITH JR                                 2440 FLORIAN                                                                                        HAMTRAMCK       MI       48212‐3412
DONALD O SWIFT                                    673 JOAN DR R 3                                                                                     MASON           MI       48854‐9546
DONALD O TAYLOR                                   8375 SW 89TH STREET                                                                                 MIAMI           FL       33156‐7333
DONALD O TITUS & EILEEN CAROL TITUS JT TEN        18 COMPTON WAY                                                                                      HAMILTON SQUARE NJ       08690‐3948

DONALD O VOGEL & LORETTA M VOGEL JT TEN           1701 W CALVADA BLVD                                                                                 PAHRUMP            NV    89048‐5568
DONALD O WESTON                                   C/O D L WESTON                          1600 N OLD COACHMAN RD         LOT 914                      CLEARWATER         FL    33765‐1630
DONALD O WILSON                                   ATTN FRANCES C WILSON                   53 TERRACE LANE                                             BRISTOL            CT    06010‐3156
DONALD ODLE JR                                    8085 VIA ZAPATA                                                                                     DUBLIN             CA    94568‐1335
DONALD OHARA                                      RD #6 7823 COUNTY LINE RD                                                                           AUBURN             NY    13021‐9806
DONALD OLSON                                      430 HAZELWOOD DR                                                                                    OXNARD             CA    93030‐4036
DONALD OSMER                                      16445 EGO                                                                                           E DETROIT          MI    48021‐3001
DONALD OTTO STEWART                               5038 BONNIE BRAE ST                                                                                 INDIANAPOLIS       IN    46228‐3034
DONALD OWENS                                      6601 FOUNTAIN SPRINGS BLVD                                                                          INDIANAPOLIS       IN    46236‐7216
DONALD P ANDREWS & BARBARA A ANDREWS JT TEN       95‐1052 AUINA STREET                                                                                MILILANI           HI    96789‐4823

DONALD P AUBUCHON                                 8660 GRANT RD                           APT 213                                                     SAINT LOUIS        MO    63123‐1038
DONALD P BALDWIN                                  548 CROSSPOINT DRIVE                                                                                PORT SAINT LUCIE   FL    34983‐2628
DONALD P BATES                                    1065 OXFORD DR N                                                                                    PATASKALA          OH    43062‐7576
DONALD P BEAN                                     2722 SW CRANBROOK DR                                                                                BOYNTON BEACH      FL    33436
DONALD P BENTLEY                                  1370 S GRAHAM RD                                                                                    FLINT              MI    48532‐3537
DONALD P BLOCK                                    10495 S GRAHAM RD                                                                                   ST CHARLES         MI    48655‐9505
DONALD P BOGNER                                   1606 SOUTH FIVE LAKES ROAD                                                                          ATTICA             MI    48412‐9784
DONALD P BROWN                                    2306 CROSSINGS CIR                                                                                  DAVISON            MI    48423‐8659
DONALD P BROWN                                    3942 PUMA DR                                                                                        AVON PARK          FL    33825
DONALD P BYERS                                    7035 PERRY COMMONS AVE                                                                              INDIANAPOLIS       IN    46217‐8407
                                              09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DONALD P CADWELL                                  3012 VIKING RD                                                                                   LANSING         MI    48910
DONALD P CAMPBELL JR                              11292 BANCROFT COURT                                                                             FENTON          MI    48430
DONALD P CIALONE SR & ROSE MARIE CIALONE JT TEN   145 STANDARD PKWAY                                                                               CHEEKTOWAGA     NY    14227‐1231

DONALD P CRONAN                                   439 BILLINGS ROAD                                                                                SUMMERS         CT    06071‐2021
DONALD P CUMMINGS                                 2986 SOCO RD 625E                                                                                PLAINFIELD      IN    46168‐1408
DONALD P FALCONER                                 1226 KING DRIVE                                                                                  EL CERRITO      CA    94530‐2550
DONALD P FISHER                                   PO BOX 103                                                                                       EL GRANADA      CA    94018‐0103
DONALD P FLYNN                                    6496 E CARPENTER RD                                                                              FLINT           MI    48506‐1261
DONALD P GARNO                                    12710 EAST RD                                                                                    BURT            MI    48417‐9613
DONALD P GELUNAS                                  3800 NEW HIGHWAY 96 W                                                                            FRANKLIN        TN    37064‐4716
DONALD P GUZZI                                    453 ELLSWORTH AVE                                                                                STATEN ISLAND   NY    10312‐3907
DONALD P HARDY & JILL N HARDY JT TEN              5803 WHITE OAK BAYOU CT                                                                          BRADENTON       FL    34203‐8008
DONALD P HATFIELD SR                              3505 OAK KNOLL                                                                                   BRIGHTON        MI    48114‐4906
DONALD P HAY CUST JOSEPH H HAY UGMA WI            6636 CHESTER EAST DR                                                                             INDIANAPOLIS    IN    46220‐3730
DONALD P HOBAR                                    WHITE HERON LAKE BOX 14                                                                          E STROUDSBURG   PA    18301‐0014
DONALD P HOSENEY & SHIRLEY D HOSENEY JT TEN       60812 WASCHULL DR                                                                                WASHINGTON      MI    48094‐2335
DONALD P HUFFMAN                                  711 NORDEEN DR                                                                                   WEST MIFFLIN    PA    15122‐1134
DONALD P JEFFRIES                                 2370 EASTRIDGE DRIVE                                                                             HAMILTON        OH    45011‐2009
DONALD P JOHNSON                                  341 LAMB ST                                                                                      PERRY           MI    48872‐9507
DONALD P JUDGE                                    PO BOX 3311                                                                                      FAIRFAX         VA    22038‐3311
DONALD P KARABACZ                                 3415 S ELMS ROAD                                                                                 SWARTZ CREEK    MI    48473‐7913
DONALD P KEIL & VIRGINIA L KEIL JT TEN            2350 CHESHIRE WOODS                                                                              TOLEDO          OH    43617‐1205
DONALD P KONESKY                                  1109 STURGEON POINT RD                                                                           DERBY           NY    14047‐9104
DONALD P KUS                                      11337 UNION ST                                                                                   MT MORRIS       MI    48458‐2210
DONALD P LAKATOS                                  739 NORDEEN DRIVE                                                                                WEST MIFFLIN    PA    15122‐1134
DONALD P LOEFFLER                                 696 E SEBEWAING ST                                                                               SEBEWAING       MI    48759‐1133
DONALD P LORENZ                                   PO BOX 6685 STATION D                   CALGARY AB                             T2P 2E6 CANADA
DONALD P MADDEN                                   1546 CORK LANE                                                                                   HAZELWOOD        MO   63121‐4728
DONALD P MASSA                                    PO BOX 769                                                                                       N SCITUATE       MA   02060‐0769
DONALD P MC HUGH                                  2301 LONGCREST AVE                                                                               BETHEL PARK      PA   15102‐2125
DONALD P MC HUGH JR                               139 GOLDENROD LN                                                                                 LIGONIER         PA   15658‐3565
DONALD P MITCHELL                                 911 WESTOVER RD                                                                                  WILMINGTON       DE   19807‐2980
DONALD P MOORE                                    339 COLLEGE AVE                                                                                  ROCK HILL        SC   29730‐4060
DONALD P NELSON                                   6925 ACADEMY LN                                                                                  LOCKPORT         NY   14094‐5320
DONALD P O'BRIEN                                  1950 PORTAGE WAY                                                                                 ELGIN            IL   60123‐2660
DONALD P OBERG & JEAN E OBERG JT TEN              4342 S GULF CIR                                                                                  NORTH FORT MYERS FL   33903‐5046

DONALD P OPFER                                    11603 BELLAMY RD                                                                                 BERLIN HTS      OH    44814
DONALD P PARKS                                    13045 JEROME JAY DR                                                                              HUNT VALLEY     MD    21030‐1523
DONALD P POPKE                                    3916 MASON RD                                                                                    MONROEVILLE     OH    44847‐9302
DONALD P QUAST & DELORES M QUAST TEN COM          1329 BAY ST                                                                                      SAGINAW         MI    48602‐4021
DONALD P RAGO                                     270 HIGH STREET APT 2B                                                                           TORRINGTON      CT    06790‐6319
DONALD P REGULA JR                                15 RYAN CT                                                                                       STANFORD        CA    94305‐1062
DONALD P SCHARPING                                2810 HINDSBURG RD #1                                                                             ALBION          NY    14411
DONALD P SCHILLING                                19855 N 107TH DR                                                                                 SUN CITY        AZ    85373‐3386
DONALD P SCHRAUBEN & REBECCA S SCHRAUBEN JT       353 N SORRELL                                                                                    FOWLER          MI    48835‐9297
TEN
DONALD P SEVERY & MARY J SEVERY JT TEN            71 W LAKE DR                                                                                     WEYMOUTH        MA    02188‐3436
DONALD P SHERWOOD                                 6822 OAKDALE DR                                                                                  TAMPA           FL    33610‐9508
DONALD P SIEBENALLER & BARBARA L SIEBENALLER JT   31766 GILBERT DR                                                                                 WARREN          MI    48093‐1741
TEN
DONALD P SOLOMON                                  2902 SO 14TH ST                                                                                  NEW CASTLE      IN    47362‐1803
DONALD P SORENSEN                                 3354 LYNNE AVE                                                                                   FLINT           MI    48506‐2129
DONALD P SPIEGEL & DORIS A SPIEGEL JT TEN         37 BELLMORE STREET                                                                               FLORAL PARK     NY    11001‐3110
DONALD P STARK                                    1707 IRENE N E                                                                                   WARREN          OH    44483‐3528
DONALD P STEWART                                  143 E IROQUOIS                                                                                   PONTIAC         MI    48341‐1610
DONALD P STREICHER                                75 BEV CIRCLE                                                                                    BROCKPORT       NY    14420‐1230
DONALD P SWINK                                    890 DORIS JANE AVE                                                                               FAIRFIELD       OH    45014‐2717
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DONALD P THORNTON                                221 S BEDFORD ST                                                                             BEDFORD            PA    15522‐1414
DONALD P TOBIN & BEVERLY J TOBIN JT TEN          1227 BRODBECK ROAD                                                                           HAMPSTEAD          MD    21074‐1610
DONALD P TREFETHEN & PATRICIA E TREFETHEN JT TEN 165 LANDING RD                                                                               HAMPTON            NH    03842‐2623

DONALD P WENDEL & LISA K WENDEL JT TEN         8 MOORBRIAR COURT                                                                              ST PETERS          MO    63376‐7737
DONALD P WHEELER                               17 WHITFIELD AVE                                                                               BUFFALO            NY    14220‐1930
DONALD P WIENCKOWSKI                           43 JANE DR                                                                                     BUFFALO            NY    14227‐1911
DONALD P WILBER                                8650 17 MILE RD                                                                                CEDAR SPRINGS      MI    49319‐9538
DONALD P WINGENFELD                            24700 GROVE POND WAY                                                                           CLEVELAND          OH    44138‐2360
DONALD P WISDA                                 21801 SE 59TH ST                                                                               NEWALLA            OK    74857‐8344
DONALD P WOJTAL & JANICE K WOJTAL TR UA        1805 BELLIVIEW DR                                                                              ATHENS             AL    35611
10/16/2008 WOJTAL FAMILY TRUST
DONALD P WOOD                                  901 N HOWARD                                                                                   INDIANOLA          IA    50125‐1339
DONALD P WRIGHT                                412 FORREST DR                                                                                 COLUMBIA           TN    38401‐6521
DONALD P WULLER & VERNA L WULLER JT TEN        9618 COLINADE DR                                                                               LONE TREE          CO    80124‐3139
DONALD PACE                                    6140 ANDERSONVILLE ROAD                                                                        WATERFORD          MI    48329‐1404
DONALD PACE & MRS BETTY PACE JT TEN            20 HERITAGE PLACE                                                                              WINCHESTER         KY    40391‐2355
DONALD PAPP CUST LANCE W PAPP UGMA MI          933 CHAMPAIGN RD                                                                               LINCOLN PARK       MI    48146‐2903
DONALD PARKER HILL JR                          4170 ALBATROSS DR                                                                              SAN DIEGO          CA    92103‐1905
DONALD PARLING                                 PO BOX 225                                                                                     WATERSMEET         MI    49969‐0225
DONALD PASCERI                                 48 REGENT ST                                                                                   LOCKPORT           NY    14094‐5017
DONALD PATRICK                                 433 OWEN RD                                                                                    IONIA              MI    48846‐8650
DONALD PATRICK CRITCHLEY                       103 WHITE PINE RD                                                                              TORRINGTON         CT    06790‐2356
DONALD PATRICK KOBANE                          8087 LONGMEADOW LN                                                                             YPSILANTI          MI    48197‐9366
DONALD PAUL MCCOLLOM TR BUTTERFLY EVOLUTION    RR 3 BOX 121                                                                                   SALEM              WV    26426‐9217
TRUST UA 12/10/94
DONALD PAZARATZ IN TRUST FOR DAVID PAZARATZ    789 HORTOP ST                         OSHAWA ON                              L1G 4N8 CANADA

DONALD PEARSON SR                              105 KENMARK ROAD                                                                               NEWARK             DE    19713‐3917
DONALD PEGUESE                                 3820 9 TH                                                                                      ECORSE             MI    48229‐1609
DONALD PELTY & LISA PELTY JT TEN               32095 GLEN                                                                                     WESTLAND           MI    48185
DONALD PEOPLES                                 637 RIVERSIDE                                                                                  PONTIAC            MI    48342‐2552
DONALD PERNICE                                 1469 MAXWELL N W                                                                               WARREN             OH    44485‐2169
DONALD PERRY                                   30779 ELMHURST                                                                                 MADISON HGTS       MI    48071‐2233
DONALD PEZZE                                   301 MAPLE STREET                                                                               WEST NEWTON        PA    15089‐1023
DONALD PIGMAN                                  12517 DUNCAN PLAINS RD                                                                         JOHNSTOWN          OH    43031‐9148
DONALD POLI                                    3369 17TH STREET                                                                               WYANDOTTE          MI    48192‐6109
DONALD POLLACK                                 4116 SMOKE SIGNAL                                                                              SEBRING            FL    33872‐4500
DONALD POMARO                                  160 WESTMINSTER                                                                                YOUNGSTOWN         OH    44515‐2820
DONALD PORTER                                  490 LODGE CT                                                                                   COLUMBUS           OH    43228‐1347
DONALD PTAK                                    8409 IVANDALE DR                                                                               PARMA              OH    44129‐4317
DONALD PUNKE & MRS GLORIA PUNKE JT TEN                                                                                                        BENSON             IL    61516
DONALD Q HARRIS                                119 SMITH ST                                                                                   NEWARK             NJ    07106‐1109
DONALD R ADAMS                                 10274 E RIVER RD                                                                               ELYRIA             OH    44035‐8435
DONALD R ADAMS                                 136 CALVERT DR                                                                                 PADUCAH            KY    42003‐1115
DONALD R AHO                                   10849 E LENNON ROAD                                                                            LENNON             MI    48449‐9670
DONALD R ALBEE                                 138 S WORTH ST                                                                                 WEST SPRINGFIELD   MA    01089‐2725

DONALD R ALBERT                                2705 SCARLET OAK CT                                                                            COLUMBIA           MO    65201‐3521
DONALD R ALLEN                                 4077 MIDDLETOWN RD                                                                             CANFIELD           OH    44406‐9493
DONALD R ANDERSON                              RR 4                                  COLDWATER ON                           L0K 1E0 CANADA
DONALD R BAILEY                                5700 S WASHINGTON AVE                                                                          LANSING            MI    48911‐4903
DONALD R BALMER                                101 FOREST RD                                                                                  MARQUETTE          MI    49855‐9556
DONALD R BARNES & ALICE J BARNES JT TEN        406 W MAIN                            PO BOX 129                                               OGDEN              IL    61859‐0129
DONALD R BEASON                                840 BONNABEL BLVD                                                                              METAIRIE           LA    70005‐2059
DONALD R BENDICKSON CUST KRISTIN M GWINNER     BOX 21132                                                                                      SAINT PETERSBURG   FL    33742‐1132
UTMA FL
DONALD R BINERT                                31930 PARDO                                                                                    GARDEN CITY        MI    48135‐1509
DONALD R BIRD                                  1215 LAGUNA DR                                                                                 HURON              OH    44839‐2608
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DONALD R BISSELL                                108 GREENHILLS DR                    WHITELAKE                                                WHITE LAKE      MI    48386
DONALD R BLANCHETTE                             PO BOX 681                                                                                    WOONSOCKET      RI    02895‐0783
DONALD R BLANTON                                5041 ANGELITA AVE                                                                             HUBER HEIGHTS   OH    45424‐2704
DONALD R BLANTON                                8441 N CO RD 275 E                                                                            PITTSBORO       IN    46167‐9202
DONALD R BLATTENBERGER                          PO BOX 863                                                                                    COWEN           WV    26206‐0863
DONALD R BOEBERITZ                              42380 DHARTE CT                                                                               CLINTON TWP     MI    48038‐6433
DONALD R BOLLAS & BARBARA J BOLLAS JT TEN       1186 LAKESIDE CIR                                                                             MONETA          VA    24121‐4445
DONALD R BORDUA                                 17 ALLEN ST                                                                                   PELZER          SC    29669‐1792
DONALD R BOWMAN                                 4300 GEORGE MASON BLVD               APT 118                                                  FAIRFAX         VA    22030‐4295
DONALD R BOWMAN                                 #1001 MAPLEHILL AVE                                                                           LANSING         MI    48910‐4728
DONALD R BRAMAN                                 1822 BRENNER                                                                                  SAGINAW         MI    48602‐3621
DONALD R BRANNON CUST TIFFANY ANN BRANNON       4009 17TH ST N                                                                                TEXAS CITY      TX    77590‐4033
UGMA TX
DONALD R BRAUNSCHEIDEL & GERALDINE              8215 STAHLEY RD                                                                               EAST AMHERST    NY    14051‐1596
BRAUNSCHEIDEL JT TEN
DONALD R BRIESKE                                N 3837 HAY CREEK RD                                                                           PRENTICE        WI    54556‐9157
DONALD R BRISSETTE                              5471 FOUR MILE RD                                                                             BAY CITY        MI    48706‐9757
DONALD R BRITTON & SUSAN M BRITTON TR BRITTON 1/2 PASO HONDO                                                                                  CARMEL VALLEY   CA    93924
FAMILY TRUST UA 03/16/06
DONALD R BROWN                                  301 W SECOND ST                                                                               JONESBORO       IN    46938‐1008
DONALD R BROWN                                  6948 WEST 85TH PLACE                                                                          LOS ANGELES     CA    90045‐2605
DONALD R BROWN                                  924 COUNTY RD 610                                                                             ROANOKE         AL    36274‐4971
DONALD R BROWN                                  HC 2 BOX 21                                                                                   ELMINENCE       MO    65466‐9605
DONALD R BURFORD                                10837 ELM CIR DR                                                                              AURORA          IN    47001‐9410
DONALD R BURGER                                 1106 BROOKSIDE LN                                                                             PLAINFIELD      IN    46168‐2356
DONALD R BUSH TR DONALD R BUSH TRUST UA 12/9/99 4032 AUBURN DR                                                                                ROYAL OAK       MI    48073‐6337

DONALD R CALDER                                995 RYAN ST                                                                                    OWOSSO          MI    48867‐3437
DONALD R CANNELL CUST LISA ANN CANNELL UGMA MI 36354 UNION LAKE RD                   APT 101                                                  HARRISON TWP    MI    48045‐6636

DONALD R CARTWRIGHT                               30 E SAVANNAH DRIVE                                                                         BEAR            DE    19701‐1662
DONALD R CASE                                     15268 AIRPORT RD                                                                            LANSING         MI    48906‐9103
DONALD R CHALFANT                                 4517 HENDRY AVE                                                                             WILMINGTON      DE    19808‐5605
DONALD R CHAPMAN                                  27106 E OUTER BELT RD                                                                       GREENWOOD       MO    64034‐8235
DONALD R CHERWINSKI                               5163 HEIDI LANE                                                                             SAGINAW         MI    48604‐9510
DONALD R CLARK                                    4066 E DODGE ROAD                                                                           CLIO            MI    48420‐9714
DONALD R CLASS & IVA CLASS JT TEN                 37 WOODHILL DRIVE                                                                           WILLOW GROVE    PA    19090‐1919
DONALD R CLICK                                    1682 DOUGLAS ST                                                                             TRENTON         MI    48183‐1764
DONALD R CLINE & URSULA G CLINE TR DONALD R CLINE 2025 ALBANY ST                                                                              BEECH GROVE     IN    46107‐1407
TRUST UA 06/01/04
DONALD R COBB                                     4710 4TH ST                                                                                 COLUMBIAVILLE   MI    48421‐9135
DONALD R COHOON & MARIA P COHOON JT TEN           705 COLUMBIA ROAD                                                                           MIDLAND         MI    48640‐3492
DONALD R COLLINS & SANDRA M COLLINS JT TEN        321 RAILROAD AVE                                                                            MYRTLE POINT    OR    97458
DONALD R COLPITTS & MARY BETH COLPITTS JT TEN     7340 WILD ROAR AVENUE                                                                       LAS VEGAS       NV    89129‐6061

DONALD R COMER                                  7223 ASHFORD LANE                                                                             BOYNTON BEACH   FL    33437‐2945
DONALD R COPLIN                                 BOX 28                                                                                        PALESTINE       WV    26160‐0028
DONALD R CORNETT                                11844 FRANCESCA CT                                                                            ROMEO           MI    48065‐2630
DONALD R CORNS & NANCY R CORNS JT TEN           5851 CINTI‐DAYTON ROAD                                                                        MIDDLETOWN      OH    45044
DONALD R CREACH                                 5498 NW BROWNING DRIVE                                                                        KINGSTON        MO    64650‐9127
DONALD R CROCKER                                528 LUCERNE AVE                                                                               TAMPA           FL    33606‐4035
DONALD R CUNNINGHAM                             48771 STATE RT #14                                                                            NEW WATERFORD   OH    44445‐9734

DONALD R CURTISS                               BOX 166                                                                                        BANTAM          CT    06750‐0166
DONALD R DABIEW                                PO BOX 92 RT 95                                                                                BOMBAY          NY    12914‐0092
DONALD R DAHLBURG & MADELINE B DAHLBURG JT TEN 105 PAOLI POINTE DR                                                                            PAOLI           PA    19301‐1376

DONALD R DAVIDSON CUST BRYAN M DAVIDSON UGMA 10 SELDEN DR                                                                                     ROME            NY    13440‐0901
NY
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DONALD R DAVIDSON CUST DONALD E DAVIDSON      10 SELDEN DR                                                                                      ROME               NY    13440‐0901
UGMA NY
DONALD R DAVIDSON CUST JON P DAVIDSON UGMA NY 10 SELDEN DR                                                                                      ROME               NY    13440‐0901

DONALD R DE VAUGH                                3715 WOODLAND DR                                                                               METAMORA           MI    48455‐9627
DONALD R DE VORE                                 1024 STANTON ST                                                                                MONONGAHELA        PA    15063‐1944
DONALD R DEBOLT JR & CHARLOTTE M DEBOLT JT TEN   150 TYBURN RD                                                                                  FALLSINGTON        PA    19054‐2501

DONALD R DEGENHARDT                              4045 HEATH RD                                                                                  FINLEYVILLE        PA    15332‐1501
DONALD R DEL BALZO                               140 RUE CHARLEMAGNE                                                                            SLIDELL            LA    70461‐5309
DONALD R DEMOTT                                  8100 BAMFIELD RD                                                                               SOUTH BRANCH       MI    48761‐9741
DONALD R DENNIS                                  3445 IMLAY CITY ROAD                                                                           ATTICA             MI    48412‐9797
DONALD R DOANE                                   2054 DINAH CT                                                                                  SPRING HILL        TN    37174‐7178
DONALD R DOWNEY                                  1603 EASTVIEW                                                                                  DANVILLE           IL    61832‐2013
DONALD R DRAKE                                   845 ROUTE 518                                                                                  SKILLMAN           NJ    08558‐2615
DONALD R DRIER JR                                5662 LEETE RD                                                                                  LOCKPORT           NY    14094‐1208
DONALD R DUBAY                                   1101 MOORE                                                                                     BAY CITY           MI    48706‐4128
DONALD R EARLEY                                  850 SOUTH MAIN ST                                                                              MONROE             OH    45050‐1613
DONALD R EASTMAN                                 16101 N WHEELING AVE                                                                           GASTON             IN    47342‐8916
DONALD R EATON II                                9978 N RIVER RD                                                                                FREELAND           MI    48623‐9525
DONALD R EISENBRAUN                              5141 ALVA AVE N W                                                                              WARREN             OH    44483‐1209
DONALD R ERICKSON SR                             4917 UXTON CT                                                                                  STERLING HEIGHTS   MI    48310‐2094

DONALD R EVANS                                   1800 BEACON DR                                                                                 SANFORD            FL    32771
DONALD R FAES                                    430 HAMLIN WAY                                                                                 BROOKSVILLE        FL    34601‐1256
DONALD R FEKETE & DONALD W FEKETE JT TEN         8776 SARAH LN                                                                                  GROSSE ILE         MI    48138‐1537
DONALD R FERRELL                                 228 LAKE TRAIL                                                                                 BREVARD            NC    28712‐8715
DONALD R FIKE                                    1216 SECOND RD                                                                                 BALTIMORE          MD    21220‐5516
DONALD R FIX                                     BOX 8200                              FAIRVIEW AB                            T0H 1L0 CANADA
DONALD R FOSTER                                  10 MEETING HOUSE SOUTH                                                                         SIMSBURY           CT    06070
DONALD R FRUCHTE                                 65 FRIENDSHIP CIRCLE                                                                           DAYTON             OH    45426‐1827
DONALD R FRUCHTE & KATHRYN E FRUCHTE JT TEN      65 FRIENDSHIP CIRCLE                                                                           DAYTON             OH    45426‐1827

DONALD R GABBARD                                 PO BOX 611                                                                                     SPRING HILL        TN    37174‐0611
DONALD R GARNO                                   4044 TOWNLINE RD                                                                               BIRCH RUN          MI    48415‐9065
DONALD R GASCH                                   16333 ALLEN RD                        APT 106                                                  SOUTHGATE          MI    48195‐2988
DONALD R GERAGHTY                                124 BIG CEDAR DRIVE                                                                            RUTHERFORDTON      NC    28139‐8630
DONALD R GILLIS                                  18 DAVEY CRES                                                                                  ROCHESTER          NY    14624‐1034
DONALD R GOINES                                  9558 PARDEE                                                                                    TAYLOR             MI    48180‐3547
DONALD R GRAHAM                                  1901 S GLENWOOD                                                                                SPRINGFIELD        IL    62704‐4009
DONALD R GRAVES                                  80 TRELAWNEY LN                                                                                COVINGTON          GA    30016‐6881
DONALD R GREENFIELD                              12 NORTH ST                                                                                    TRENTON            OH    45067‐1312
DONALD R GUIDA & PATRICIA A GUIDA JT TEN         4272 BEAGLE RD                                                                                 WHITE CITY         OR    97503‐9511
DONALD R GUNSOLUS                                7501 WILLOW OAK LN                                                                             ARLINGTON          TX    76001‐7042
DONALD R GUZAUCKAS CUST JEFFERY T GUZAUCKAS      229 HILLTOP DR                                                                                 SOUTHINGTON        CT    06489‐2422
UGMA CT
DONALD R GUZAUCKAS CUST JULIE ANN GUZAUCKAS      229 HILLTOP DR                                                                                 SOUTHINGTON        CT    06489‐2422
UGMA CT
DONALD R HALE                                    3631 RAINBOW CIRCLE                                                                            SNELLVILLE         GA    30039‐2842
DONALD R HALL                                    12 MONTEREY BRIARCREST GARDENS                                                                 HERSHEY            PA    17033‐2229
DONALD R HALL                                    2450 62ND AVE                                                                                  OAKLAND            CA    94605‐1407
DONALD R HALL                                    BOX 155                                                                                        WILLIAMSTOWN       WV    26187
DONALD R HALLWACHS & JOANNE M HALLWACHS JT       1190 HARRIS DRIVE                                                                              LONPOC             CA    93436‐8327
TEN
DONALD R HAMLER & DEWANDA F HAMLER JT TEN        120 CHARLOTTE CIR                                                                              MONROE             LA    71202‐3908

DONALD R HARKEY TR DONALD R HARKEY REVOCABLE     9 FAIR HILL DR                                                                                 CHADDS FORD        PA    19317‐9375
TRUST UA 05/01/95
                                            09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

DONALD R HARRAWOOD & LUCY N HARRAWOOD JT TEN 1105 EAGLE RIDGE DR                                                                                EL PASO            TX    79912‐7475

DONALD R HARRISON                                4700 WEALTHY COVE                                                                              HORN LAKE          MS    38637
DONALD R HARTWICK                                6200 SPRINGVILLE HWY                                                                           ONSTED             MI    49265‐9530
DONALD R HAUGH                                   1700 CEDARWOOD DR                     APT 219                                                  FLUSHING           MI    48433‐3603
DONALD R HAWLEY                                  11426 HARBOUR LIGHT                                                                            N ROYALTON         OH    44133‐2602
DONALD R HAWN                                    8209 N 125 WEST                                                                                CAYUGA             IN    47928‐8038
DONALD R HAZLEWOOD                               445 GLEN LILY RD                                                                               BOWLING GREEN      KY    42101‐2873
DONALD R HELTON                                  1337 SALEM CHURCH ROAD                                                                         BOSTIC             NC    28018‐7526
DONALD R HENDLEY SR                              1388 QUAKER RD                                                                                 BARKER             NY    14012‐9605
DONALD R HERRING                                 RR 4 BOX 9405                                                                                  EUFAULA            OK    74432‐9353
DONALD R HESKETT                                 409 N OHIO ST                                                                                  HUMANSVILLE        MO    65674‐8705
DONALD R HESTER                                  311 WARD RD                                                                                    RAYMORE            MO    64083‐9749
DONALD R HIGGS & JEAN B HIGGS JT TEN             15 COLONIAL AVENUE                                                                             HADDONFIELD        NJ    08033‐1503
DONALD R HOOVER                                  4177 BOB WHITE DR                                                                              FLINT              MI    48506‐1702
DONALD R HRITZ                                   3418 JUDITH                                                                                    ELLENTON           FL    34222‐3524
DONALD R HUENE                                   7429 N VALENTINE                                                                               FRESNO             CA    93711‐0643
DONALD R HUFFMAN                                 1035 S CORNELL                                                                                 FLINT              MI    48505‐1308
DONALD R HUGHES                                  7527 SKYLARK CIRCLE                                                                            CARLISLE           OH    45005‐4244
DONALD R HUNT                                    21513 BROOKLYN BRIDGE DR                                                                       MACOMB             MI    48044‐6403
DONALD R IZARD                                   340 WREXHAM CT N                                                                               TONAWANDA          NY    14150‐8812
DONALD R JOHANNSEN TR DONALD R JOHANNSEN TR      23596 WILDERNESS CANYON RD                                                                     RAPID CITY         SD    57702‐6527
10/23/73
DONALD R JOHNATHAN                               7922 BATTLEFIELD PARK ROAD                                                                     RICHMOND           VA    23231‐6909
DONALD R JOHNSON                                 5446 VERNON AVE                                                                                SAINT LOUIS        MO    63112‐3314
DONALD R JOHNSON                                 252 S SANFORD                                                                                  PONTIAC            MI    48342‐3149
DONALD R JOHNSON                                 PO BOX 9022                                                                                    WARREN             MI    48090‐9022
DONALD R JUDY                                    13606 GOLTS CALDWELL RD                                                                        GOLTS              MD    21635‐2037
DONALD R KAISER TR UA 11/03/93 DONALD R KAISER   3537 OAK AVE                                                                                   BROOKFIELD         IL    60513‐1338
TRUST
DONALD R KATZ                                    4 RUSSELL TERRACE                                                                              MONTCLAIR          NJ    07042‐2611
DONALD R KENNEDY                                 6604 DILLMAN ST                                                                                LAKEWOOD           CA    90713‐1723
DONALD R KILLEY                                  2038 W ANDERSON RD                                                                             LINWOOD            MI    48634‐9743
DONALD R KIMBLE                                  3502 LAKE CARLTON DR                                                                           LOGANVILLE         GA    30249‐2411
DONALD R KING                                    1819 DREXEL AVE NW                                                                             WARREN             OH    44485‐2123
DONALD R KINNEY                                  RR BOX53                                                                                       CHAPMANVILLE       WV    25508‐9792
DONALD R KINSLOW                                 188 SHADY LN                                                                                   RUSSELLVILLE       AR    72802‐1323
DONALD R KINSLOW                                 188 SHADEY LANE                                                                                RUSSELLVILLE       AR    72802
DONALD R KOELLING & NEOLA A KOELLING JT TEN      6069 HIGHWAY CC                                                                                LESLIE             MO    63056‐1408

DONALD R KORTES & BERNICE M KORTES JT TEN        35675 WOODVILLA DR                                                                             STERLING HEIGHTS   MI    48312‐4462

DONALD R KOWALSKE                                14839 BERWICK ST                                                                               LIVONIA            MI    48154‐3551
DONALD R KRAMER                                  5290 COUNTRYSIDE CT                                                                            ST CLOUD           FL    34771‐9631
DONALD R KRISS                                   2139 SO 48TH TERR                                                                              KANSAS CITY        KS    66106‐2440
DONALD R LACEY                                   30211 SHIAWASSEE                                                                               FARMINGTON         MI    48336‐3557
DONALD R LAMBERT                                 6776 SOMERS‐GRATIS ROAD                                                                        CAMDEN             OH    45311‐8808
DONALD R LAMBERT & GRACE C LAMBERT TR LAMBERT    365 MICHELL ST                                                                                 LIVERMORE          CA    94551‐2217
TRUST UA 09/10/93
DONALD R LANG                                    3108 CAMARO DR                                                                                 CROWLEY            TX    76036‐5738
DONALD R LAROCHELLE                              6328 POTTER ROAD                                                                               BURTON             MI    48509‐1389
DONALD R LAUCK                                   13 DANA DR                                                                                     FLORISSANT         MO    63033‐3207
DONALD R LAURENTIUS                              14915 WEHMER EST DR                                                                            FLORISSANT         MO    63034‐1219
DONALD R LEAFGREEN & ANIDA L LEAFGREEN JT TEN    7790 GOLF BLVD                                                                                 ZOLFO SPRINGS      FL    33890‐3419

DONALD R LEAKE                                   11371 FAIRMONT ST                                                                              ORANGE             VA    22960‐4542
DONALD R LEE & MARGUERITE S LEE JT TEN           12 ROSLYN DRIVE                                                                                CHESHIRE           CT    06410‐3640
DONALD R LINDELIEN                               654 NANCYK XING                                                                                ROANOKE            IN    46783‐9192
DONALD R LININGER                                1609 PRICE ST                                                                                  SCRANTON           PA    18504‐3401
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Name                                            Address1                                Address2             Address3          Address4          City            State Zip

DONALD R LITTLE SR                              1609 HOWARD AVE                                                                                  BALTO           MD    21221‐2911
DONALD R LIVINGSTON                             2805 DANVILLE ST                                                                                 HOPEWELL        VA    23860‐3540
DONALD R LLOYD                                  3119 CLARENCE AVE                                                                                BERWYN          IL    60402‐3115
DONALD R LOEB                                   49113 EDINBOROUGH                                                                                CHESTERFIELD    MI    48047‐1740
DONALD R LONG                                   46449 WACO                                                                                       UTICA           MI    48317‐3955
DONALD R LOWRY                                  9660 RIDGE RD W                                                                                  BROCKPORT       NY    14420‐9470
DONALD R LUZIER & E JOYCE LUZIER JT TEN         212 OAKWOOD DR                                                                                   PHILIPSBURG     PA    16866‐9590
DONALD R MAC LENNAN & BARBARA J MAC LENNAN JT   28141 PEPPERMILL RD                                                                              FARMINGTN HLS   MI    48331‐3332
TEN
DONALD R MACKINNON & SHIRLEY A MACKINNON JT     2642 ELSIE AVE                                                                                   TOLEDO          OH    43613‐3334
TEN
DONALD R MADDEN                                 PO BOX 81                                                                                        REFOX           KY    41847‐0081
DONALD R MARISTCH                               2223 JAMAICA DR                                                                                  WILMINGTON      DE    19810‐2827
DONALD R MARTI TR DONALD R MARTI TRUST UA       3106 W NELSON                                                                                    MIDLAND         MI    48640‐3345
07/07/89
DONALD R MARTI TR UA 07/07/89 DONALD R MARTI    3106 W NELSON                                                                                    MIDLAN          MI    48640‐3345
TRUST
DONALD R MARTIN                                 8554 SNOWDEN AVE                                                                                 ARLETA          CA    91331‐6341
DONALD R MC GOVERN                              19912 COUNTY RD 324                     POETRY                                                   TERRELL         TX    75160
DONALD R MC LEMORE                              PO BOX 3812                                                                                      DAYTON          OH    45401‐3812
DONALD R MC ROBERT                              2453 ACADEMY                                                                                     DEARBORN        MI    48124‐2526
DONALD R MCCANN                                 9102 BUNKER ROAD                                                                                 EAST ORWELL     OH    44076‐9305
DONALD R MCCONIHA                               5248 AZALEA CIR                                                                                  DADE CITY       FL    33523‐8828
DONALD R MCHARGUE                               3967 SADDLERIDGE CIR                                                                             DAYTON          OH    45424
DONALD R MCKINDLEY TR DONALD R MCKINDLEY        2005 DORCHESTER RD                                                                               BIRMINGHAM      MI    48009‐5907
LIVING TRUST UA 11/18/03
DONALD R MCKINLEY                               6306 S CHESTNUT DR                                                                               ANDERSON        IN    46013‐9610
DONALD R MCLAIN                                 22451 RAY                                                                                        DETROIT         MI    48223‐2549
DONALD R MCLANE                                 712 GRANT STREET                                                                                 FENTON          MI    48430‐2059
DONALD R MCLEAN                                 3948 PERCY KING                                                                                  WATERFORD       MI    48329‐1370
DONALD R MESSER                                 2910 VANCE RD                                                                                    URBANA          OH    43078‐9632
DONALD R MIDDLETON                              11951 HIGHLAND                                                                                   MOUNT MORRIS    MI    48458‐1408
DONALD R MIKULIC                                4080 E LITCHFIELD ROAD                                                                           JONESVILLE      MI    49250‐9301
DONALD R MILLER                                 PO BOX 267                                                                                       PURGITSVILLE    WV    26852‐0267
DONALD R MILLER                                 1903 KINGSTON DRIVE                                                                              PINCKNEY        MI    48169‐8549
DONALD R MINIEAR                                7454 ALEXANDER                                                                                   MT MORRIS       MI    48458‐2927
DONALD R MOLESWORTH                             7318 NEWPORT DRIVE                                                                               DAVISON         MI    48423‐9372
DONALD R MOORE                                  7610 HIPP                                                                                        TAYLOR          MI    48180‐2665
DONALD R MOORE                                  3115 HARTLEY DR                                                                                  ADRIAN          MI    49221‐9247
DONALD R MORRIS                                 5525 PUTNAM                                                                                      W BLOOMFIELD    MI    48323‐3722
DONALD R MORSE                                  19 ELMWOOD ST                                                                                    WAREHAM         MA    02571‐2352
DONALD R MOSHER                                 2885 JOHNSON DR                                                                                  STANDISH        MI    48658‐9733
DONALD R MUCKEL                                 1901 BLUEBIRD LN                                                                                 MUNSTER         IN    46321‐3428
DONALD R MULLER & MARILYN R MULLER JT TEN       114 FERREL DR                                                                                    LA GRANGE       GA    30240‐2914
DONALD R MULLINS                                1844 CLAKE MATHIS                                                                                SPRING HILL     TN    37174
DONALD R MUMA                                   8991 BURNSIDE RD                                                                                 BROWN CITY      MI    48416‐9649
DONALD R MURPHY                                 427 WALNUT ST                                                                                    MOUNT MORRIS    MI    48458‐1950
DONALD R NASH                                   639 WHITE                                                                                        LINCOLN PARK    MI    48146‐2827
DONALD R NETKO                                  3504 E KENWOOD ST                                                                                MESA            AZ    85213‐1770
DONALD R NEVALA                                 4813 JASMOND RD                                                                                  MOODRICH        MI    48438‐9618
DONALD R NEWTON                                 7612 17TH AVE N                                                                                  ST PETERSBURG   FL    33710‐3826
DONALD R NITSCHE                                3 BROOKVIEW CIR                                                                                  CANTON          CT    06019‐2027
DONALD R NOBLE JR                               BOX 62                                                                                           COTTONDALE      AL    35453‐0101
DONALD R NORRIS                                 8231 W 141ST ST                                                                                  ORLAND PARK     IL    60462‐2323
DONALD R OLMSTED & LILLIAN A OLMSTED JT TEN     PO BOX 145                                                                                       CORUNNA         MI    48817‐0145

DONALD R OSBORNE                                11434 APALACHIAN WAY                                                                             FISHERS         IN    46037‐8456
DONALD R PAGE                                   305 FAIRVIEW DRIVE                                                                               LONGVIEW        TX    75604‐9644
DONALD R PARDINI                                45653 PARKMEADOW CT                                                                              FREMONT         CA    94539‐6762
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DONALD R PARMLEY                                 301 GLENWOOD CT                                                                                 NEW CASTLE         IN    47362‐1261
DONALD R PATTERSON                               11734 PLEASANTVIEW DR                                                                           PINCKNEY           MI    48169‐9559
DONALD R PATTERSON & LINDA E PATTERSON JT TEN    60 WOODLAND AVE                                                                                 WELLSBORO          PA    16901‐1930

DONALD R PATTISON                                8474 W ISLAND ROAD                                                                              ELSIE            MI      48831‐9714
DONALD R PENNINGTON                              395 TACKETT RD                                                                                  OAK GROVE        LA      71263‐8053
DONALD R PETERSEN                                21597 SHEFFELD DR                                                                               FARMINGTON HILLS MI      48335‐5460

DONALD R PETERSEN & DEBRA A PETERSEN JT TEN      21597 SHEFFELD DR                                                                               FARMINGTON HILLS MI      48335‐5460

DONALD R PHILLIPS                                8600 S HONEY CREEK RD                                                                           MUNCIE         IN        47302‐8152
DONALD R PHILLIPS                                12185 GREEN LAKE RD                                                                             MIDDLEVILLE    MI        49333‐9745
DONALD R PLATT SR                                7167 N PARK AVE                                                                                 BRISTOLVILLE   OH        44402‐9759
DONALD R PLOTNER                                 9306 OAK DALE DR                                                                                LAINGSBURG     MI        48848‐9410
DONALD R POLLARD                                 1653 GAYHART COURT                                                                              XENIA          OH        45385‐4860
DONALD R POTTER                                  4066 CATAWBA AVENUE                                                                             HUBER HEIGHTS  OH        45424‐2817
DONALD R PRESSEY                                 3520 WOODCREST AVE                                                                              NEWTOWN SQUARE PA        19073‐3815

DONALD R PRICE JR                                5534 MCCULLERS LANE                                                                             LOGANVILLE         GA    30052‐2942
DONALD R PRITCHARD CUST ELON H PRITCHARD U/THE   ATTN ELON P ALLEN                      3203 PINE RIDGE RD                                       BIRMINGHAM         AL    35213‐3907
ALA U‐G‐M‐A
DONALD R PRITCHETT                               524 PRITCHETT DR                                                                                UNION GROVE        AL    35175‐7405
DONALD R RATH                                    823 GLENDALE                                                                                    PONTIAC            MI    48341‐1514
DONALD R REEVE & MELISSA MARIE REEVE JT TEN      2782 LAND RD                                                                                    MASON              MI    48854‐9316
DONALD R RHODES                                  17845 OAK REST RD                                                                               BRIGHTON           IL    62012
DONALD R RIVERS                                  5121 GARFIELD ST                                                                                KANSAS CITY        MO    64130‐2569
DONALD R ROBERTS                                 3230 BEACH VIEW WAY                                                                             MELBOURNE BCH      FL    32951‐3013
DONALD R ROBINSON                                4113 MC CLAY RD                                                                                 ST CHARLES         MO    63304‐7917
DONALD R RYDZEWSKI CUST DONALD J RYDZEWSKI       8619 GLENSHIRE ST                                                                               TINLEY PARK        IL    60477‐7041
UTMA IL
DONALD R SAGER                                   607 NORTH SHELL ROAD                                                                            PARKERSBURG        IL    62452‐2201
DONALD R SALYERS                                 1248 ROCKWELL DRIVE                                                                             XENIA              OH    45385‐3836
DONALD R SCHAFFER                                999 PINE RD                                                                                     BAY CITY           MI    48706‐1949
DONALD R SCHENK                                  679 FORT DUQUESNADR                                                                             SUN CITY CENTER    FL    33573‐5148
DONALD R SCHILLING CUST BRIAN P SCHILLING UGMA   PO BOX 2110                                                                                     JACKSON            WY    83001‐2110
CA
DONALD R SCHRADER                                59 GLENDALE CT                                                                                  ST CHARLES         MO    63301‐1142
DONALD R SCHROEDER & CAROLE L SCHROEDER JT TEN   12465 BURTLEY                                                                                   STERLING HEIGHTS   MI    48313‐1809

DONALD R SCHWOEBEL & COLLENE R SCHWOEBEL JT      25 FRIENDLY DR                                                                                  BELLEVILLE         IL    62226‐5192
TEN
DONALD R SEWELL & LYN SEWELL JT TEN              19115 BEACHCREST LN APT A                                                                       HUNTINGTON         CA    92646‐2083
                                                                                                                                                 BEACH
DONALD R SEYERLE                                 835 BOUTELL DR                                                                                  GRAND BLANC        MI    48439‐1942
DONALD R SHERICK                                 700 BENT CREEK DRIVE                                                                            LITITZ             PA    17543‐8365
DONALD R SHINGLER                                2353 CLEARVIEW AVE NW                                                                           WARREN             OH    44483‐1337
DONALD R SIEBARTH                                1628 PARISH BARN RD                                                                             IOWA               LA    70647‐3624
DONALD R SIEGEL                                  3768 E CARMEL DR                                                                                CARMEL             IN    46033‐4329
DONALD R SIMMONS                                 4030 BEDFORD AVE                                                                                HAMILTON           OH    45015‐1973
DONALD R SIMMONS                                 1613 E BRITTON RD                                                                               MORRICE            MI    48857‐9610
DONALD R SKEBO                                   2373 UNIONVILLE BEASON ROAD                                                                     BELL BUCKLE        TN    37020‐4527
DONALD R SLUSSER                                 6821 ELSA PLACE                                                                                 NIAGARA FALLS      NY    14304‐5417
DONALD R SMITH                                   517 ALBEE RD                                                                                    NOKOMIS            FL    34275‐2503
DONALD R SMITH                                   207 N DEWITT STREET                                                                             BAY CITY           MI    48706‐4507
DONALD R SMITH                                   236 59TH ST                                                                                     DOWNERS GROVE      IL    60516‐1503
DONALD R SMITH                                   63 RICHARD DR                                                                                   ELKTON             MD    21921‐2202
DONALD R SMITH                                   9131 DEXTER AVE                                                                                 DETROIT            MI    48206‐1939
DONALD R SMOLINSKI                               2279 S ELMS RD                                                                                  SWARTZ CREEK       MI    48473‐9744
DONALD R SMOUTER                                 4709 PARK MNR N                        APT 1217                                                 SHELBY TWP         MI    48316‐4963
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DONALD R SOKOL                                   6468 MARBLE LN                                                                                FLUSHING        MI    48433‐2586
DONALD R STACY                                   705 SHADYCREST LN                                                                             FRANKLIN        TN    37064‐5134
DONALD R STANDRIDGE & BARBARA J STANDRIDGE JT    5920 GRANGE HALL RD                                                                           HOLLY           MI    48442‐8758
TEN
DONALD R STEPP                                   327 3RD STREET W DR                  APT 7                                                    PALMETTO        FL    34221‐5238
DONALD R STEVENS                                 6516 KINGS PIONTE ROAD                                                                        GRAND BLANC     MI    48439
DONALD R STIENS                                  120 BIRCHWOOD LANE                                                                            CONWAY          SC    29526‐8910
DONALD R STOUGH                                  3371 MCKEEN LAKE RD                                                                           COLUMBIAVILLE   MI    48421‐9307
DONALD R STRAUB & BONNIE R STRAUB TR UA STRAUB   1203 PRAIRIE LN                                                                               YORKVILLE       IL    60560‐1156
FAMILY TRUST 12/11/91
DONALD R SUMNER                                  2537 CARSON HWY                                                                               ADRIAN          MI    49221‐1106
DONALD R SUTTON                                  1945 HULLWOOD DRIVE                                                                           KINSTON         NC    28504‐7218
DONALD R SWITZER                                 15047 MCCASLIN LAKE RD                                                                        LINDEN          MI    48451‐9641
DONALD R SYMACK                                  110 CLAUDE DRIVE                                                                              CHEEKTOWAGA     NY    14206‐2459
DONALD R SZCZESNIAK                              11101 DOOGAN                                                                                  WILLOW SPGS     IL    60480‐1111
DONALD R TAYLOR                                  ROUTE 4 BOX 13C                                                                               CLINCHPORT      VA    24244‐9201
DONALD R TERRY                                   7850 LEVERETT RD                                                                              ROSCOMMON       MI    48653‐9515
DONALD R THOM & TERESA A THOM JT TEN             24 FAIRBANKS AVE                                                                              KENMORE         NY    14223‐3102
DONALD R THOMPSON                                9804 BOXWOOD COURT                                                                            SPRINGBORO      OH    45066‐9800
DONALD R THOMPSON                                6594 BEAR RIDGE RD                                                                            LOCKPORT        NY    14094‐9287
DONALD R TOBER                                   623 FRANKLIN STREET                                                                           SPRINGVILLE     NY    14141‐1149
DONALD R TRUMMEL                                 802 14TH ST S E                                                                               SAINT CLOUD     MN    56304‐1635
DONALD R TUCKER & LOUISE L TUCKER JT TEN         6424 W FARRAND RD                                                                             CLIO            MI    48420‐8242
DONALD R TUSSET & MARY L TUSSET JT TEN           1000 W ARBOR RIDGE DRIVE                                                                      GREEN VALLEY    AZ    85614‐3215
DONALD R UHER                                    2219 AVE G                                                                                    BAY CITY        TX    77414‐5018
DONALD R VANWOERT                                510 MAPLE AVENUE                                                                              BYRON           MI    48418
DONALD R VELTEN                                  3531 SPRING RD                                                                                LAFAYETTE       IN    47909‐3833
DONALD R VIDITO                                  PO BOX 593                                                                                    FOWLERVILLE     MI    48836‐0593
DONALD R VILLA                                   80 HOWE ST                                                                                    FRAMINGHAM      MA    01702‐6519
DONALD R WALKER                                  2766 WATCH HILL DR                                                                            LAPEER          MI    48446‐8793
DONALD R WALTER                                  3538 ELROY‐ANSONIA RD                                                                         ANSONIA         OH    45303‐8942
DONALD R WALTER                                  6472 NORANDA DRIVE                                                                            DAYTON          OH    45415‐2029
DONALD R WARNER                                  2331 STAHR LN                                                                                 WOOSTER         OH    44691‐9458
DONALD R WATKINS                                 4888 TOWNLINE RD                                                                              LOCKPORT        NY    14094‐9604
DONALD R WATKINS                                 1111 MCCAMERON AVENUE                                                                         LOCKPORT        IL    60441‐2751
DONALD R WEAVER JR                               1016 S MAIN ST #R2                                                                            AKRON           OH    44311‐2346
DONALD R WEBB                                    3 CEDAR DR                                                                                    BELLEVILLE      IL    62220‐3127
DONALD R WEBB                                    1210 E SIGLER ST                                                                              FRANKTON        IN    46044‐9753
DONALD R WELCOME                                 27167 AVONDALE                                                                                INKSTER         MI    48141‐1815
DONALD R WHEELOCK & NANCY J WHEELOCK JT TEN      PO BOX 623                                                                                    PARKMAN         OH    44080‐0623

DONALD R WHITE                                   9714 WEST COUNTY RD 975 NORTH                                                                 MIDDLETOWN      IN    47356‐9333
DONALD R WHITE                                   BOX 703                                                                                       TRUMANSBURG     NY    14886‐0703
DONALD R WHITESIDE & JUDITH M WHITESIDE JT TEN   13806 COLPAERT DR                                                                             WARREN          MI    48093‐5730

DONALD R WHITETREE                               1338 WILLIAM ST                                                                               ADRIAN          MI    49221‐2554
DONALD R WHITNEY                                 2100 BAY CLUB DR                                                                              ARLINGTON       TX    76013‐5206
DONALD R WINTER TR CHARLOTTE E WINTER FAMILY     8100 SOUTH ST                                                                                 LINCOLN         NE    68506‐6536
TRUST UA 01/27/99
DONALD R WOHLFORD                                11425 ROTH DR                                                                                 LINDEN          MI    48451
DONALD R WOHLFORD & SHERRY L WOHLFORD JT TEN     11425 ROTH DR                                                                                 LINDEN          MI    48451

DONALD R ZOBLER                                  1700 RANDOLPH DR                                                                              YORK             PA   17403‐4616
DONALD R ZUBEK                                   4861 COQUINA ROAD                                                                             FORT MYERS BEACH FL   33931‐3912

DONALD RAGO                                      270 HIGH ST                          APT B2                                                   TORRINGTON      CT    06790‐6319
DONALD RAKOVIC                                   7126 N PINNACLE PASS DR                                                                       PRESCOTT VLY    AZ    86314‐3429
DONALD RAY BAXA & ELIZABETH ANN BAXA JT TEN      15049 RIVERCREST DR                                                                           STERLING HTS    MI    48312‐4460
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Name                                                 Address1                             Address2             Address3           Address4          City            State Zip

DONALD RAY DARLINGTON & ROSE MARY DARLINGTON         318 HILLCREST DR                                                                               BLUEFIELD       VA    24605‐1602
TEN ENT
DONALD RAY DYER                                      302 AVENUE M SW                                                                                MOORE HAVEN     FL    33471‐2148
DONALD RAY HINTON                                    2901 RIVERBANK DR                                                                              BEAUFORT        SC    29902‐3775
DONALD RAY JOHNSON                                   209 CORUNNA AVE                                                                                CORUNNA         MI    48817
DONALD RAY LETNER                                    3901 UTICA DR                                                                                  KETTERING       OH    45439‐2553
DONALD RAYMOND BERGAMINI & MRS LORA I                2023 HUNTRIDGE CT                                                                              MARTINEZ        CA    94553‐5335
BERGAMINI JT TEN
DONALD REED & BONNIE REED JT TEN                     6401 BENNINGTON RD                   BOX 117                                                   VERNON          MI    48476‐0117
DONALD REILLY & ELLEN REILLY JT TEN                  1308 GOTHAM CT WEST                                                                            ST JAMES        NY    11780‐3355
DONALD RENC                                          17690 GARDNER ROAD                                                                             DALLAS          OR    97338‐9473
DONALD REX WELCHES                                   PO BOX 4848                                                                                    OCALA           FL    34478‐4848
DONALD RICHARD BARNES                                406 W MAIN                           PO BOX 129                                                OGDEN           IL    61859‐0129
DONALD RICHARD BASSETT                               6 WHITE OAK DR                       OFC                                                       EXETER          NH    03833‐5325
DONALD RICHARD TRISSEL                               1202 MAPLE ST                                                                                  FRANKTON        IN    46044‐9350
DONALD RICHARD ZEILLER                               14434 REISSEN LN                                                                               HOUSTON         TX    77069‐1275
DONALD ROBERTSON                                     4614 STANTON LAKE RD                                                                           ATTICA          MI    48412‐9329
DONALD ROBINSON                                      1728 JAMES CITY RD                                                                             REVA            VA    22735‐3729
DONALD ROCHELLE LEVY                                 4215 JENIFER ST NW                                                                             WASHINGTON      DC    20015‐1953
DONALD RODGERS                                       6401 DEIHL RD #12                                                                              HOUSTON         TX    77092
DONALD ROEHRIG                                       8207 WEST LONGLAKE DR                                                                          KALAMOZOO       MI    49048‐5526
DONALD ROMAGNOLA                                     7729 BROADWING DR                                                                              N LAS VEGAS     NV    89084‐2432
DONALD ROSS & JOSEPH ROSS JT TEN                     1331 CLARK ST                                                                                  NILES           OH    44446‐3445
DONALD RUMIANO                                       11 ERWIN ST                                                                                    PAINTED POST    NY    14870
DONALD RUSCHAK & BETTY H RUSCHAK JT TEN              411 LINCOLN AVE                                                                                CHARLEROI       PA    15022‐1543
DONALD RUST & ANNA MARIE RUST JT TEN                 4349 CARMANWOOD DR                                                                             FLINT           MI    48507‐5604
DONALD RYPMA & JEANNE RYPMA JT TEN                   4761 DOUG DR                                                                                   WHITEHALL       MI    49461‐9489
DONALD S ADAMS & DONALD K ADAMS JT TEN               5633 LANCASTER DR                                                                              OAK FOREST      IL    60452‐2033
DONALD S BARTLETT                                    150 FLORENCE                                                                                   TROY            MI    48098‐2950
DONALD S BATES                                       9802 JEWELL CT                                                                                 INDEPENDENCE    MO    64052‐2115
DONALD S BOYD                                        3966 COPLIN                                                                                    DETROIT         MI    48215‐3324
DONALD S BRANTLEY                                    3935 W MADURA RD                                                                               GULF BREEZE     FL    32563‐3561
DONALD S BROWN & DIANE T BROWN JT TEN                6235 WHIP‐O‐WILL LANE                                                                          ST CLOUD        FL    34771‐9501
DONALD S BUSSELL & J DARROLD BUSSELL JT TEN          2046 N RAISINVILLE RD                                                                          MONROE          MI    48162‐9668
DONALD S COLLAT                                      30 HOLDEN CT                                                                                   PORTOLA VALLY   CA    94028‐7913
DONALD S CROXTON                                     605 MARION SIMS DR                                                                             LANCASTER       SC    29720‐1923
DONALD S DATZ                                        4893 NOTTINGHAM RD                                                                             VASSAR          MI    48768‐9512
DONALD S DAYHUFF                                     49 W HILLSIDE                                                                                  SPENCER         IN    47460‐1307
DONALD S ESKRIDGE                                    518 WEBSTER PATH CT                                                                            SAINT LOUIS     MO    63119‐3941
DONALD S ETHERINGTON                                 C/O US TRUST COMPANY                 ATTN EILEEN FOLEY    29 SOUTH MAIN ST                     WEST HARTFORD   CT    06107‐2449
DONALD S FEITH TR UA 05/17/88 DALCK FEITH TRUST F‐   204 MARVIN ROAD                                                                                ELKINS PARK     PA    19027‐1721
B‐O DANIEL I FEITH
DONALD S FEITH TR UA 05/17/88 DALCK FEITH TRUST F‐   204 MARVIN ROAD                                                                                ELKINS PARK     PA    19027‐1721
B‐O DINA H FEITH
DONALD S FEITH TR UA 05/17/88 DALCK FEITH TRUST F‐   204 MARVIN ROAD                                                                                ELKINS PARK     PA    19027‐1721
B‐O DORIT I FEITH
DONALD S FRISCH & JUDITH H FRISCH JT TEN             900 FOUNTAIN VIEW DRIVE                                                                        DEERFIELD       IL    60015‐4847
DONALD S GILLISPIE                                   5104 ARIANA CT                                                                                 INDIANAPOLIS    IN    46227‐8217
DONALD S GLENNON & INGRID P GLENNON JT TEN           11051 HWY 188                                                                                  GRAND BAY       AL    36541‐6219

DONALD S GORRIE                                      962 MOHAWK STREET                    OSHAWA ON                               L1G 4G3 CANADA
DONALD S GREEN                                       13561 SALEM RD                                                                                 REDFORD         MI    48239‐4500
                                                                                                                                                    TOWNSHIP
DONALD S HANSEN                                      27 RAILROAD AVENUE                                                                             BEDFORD         MA    01730‐2100
DONALD S HART                                        7678 BRAY RD                                                                                   VASSAR          MI    48768‐9688
DONALD S HOAG & MRS PAULINE L HOAG JT TEN            11788 ROUND LAKE RD                                                                            HORTON          MI    49246‐9734
DONALD S HOUCK & JOSEPH D HOUCK JT TEN               76 GREELEY ST                                                                                  CLINTON         MA    01510‐1514
DONALD S JOHNSON                                     91 ST STEPHENS LANE                                                                            SCOTIA          NY    12302‐4230
DONALD S JONES & MRS LOUISE M JONES JT TEN           15530 MYERS RD                                                                                 MARYSVILLE      OH    43040‐8911
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DONALD S JORY                                     2852 N STEWART RD                                                                               CHARLOTTE         MI    48813‐9775
DONALD S KAZUK & JUNE C KAZUK JT TEN              3611 GOLFCART DR                                                                                FORT MYERS        FL    33917‐7200
DONALD S KEATON                                   1321 BONNIE DR                                                                                  TALLAHASSEE       FL    32304‐1213
DONALD S KOCOL                                    5499 OLDE SAYBROOKE                                                                             GRAND BLANC       MI    48439‐8765
DONALD S KOLIS                                    25615 LARAMIE DRIVE                                                                             NOVI              MI    48374‐2365
DONALD S KOLIS & CYNTHIA ANN KOLIS JT TEN         25615 LARAMIE DRIVE                                                                             NOVI              MI    48374‐2365
DONALD S LAMB                                     1018 HERON RUN DR                                                                               LELAND            NC    28451
DONALD S LAMESCH & EUGENE J LAMESCH JT TEN        28 W 224 ROOSEVELT RD                                                                           WINFIELD          IL    60190
DONALD S LUTZ & BEVERLY J LUTZ JT TEN             3183 N CUSTER RD                                                                                MONROE            MI    48162‐3595
DONALD S MERRILL                                  1329 SOUTH ST                                                                                   MT MORRIS         MI    48458‐2929
DONALD S MESAROS                                  6129 EVERETT                                                                                    KANSAS CITY       KS    66102‐1345
DONALD S MILLER                                   703 E 5TH ST                                                                                    BELLWOOD          PA    16617‐2016
DONALD S MOLNAR                                   2657 LITTLE OAK LN                                                                              RESCUE            CA    95672‐9623
DONALD S NOOT & MRS WILMA U NOOT JT TEN           1631 BOPP ROAD                                                                                  SAINT LOUIS       MO    63131‐3943
DONALD S ORIHILL                                  299 OVERLOOK PARK DR                                                                            CLEVELAND         OH    44110‐1234
DONALD S PALMIOTTO                                1414 85TH ST                                                                                    BROOKLYN          NY    11228‐3406
DONALD S PARKER                                   704 E GRAND RIVER AVE                  PO BOX 888                                               HOWELL            MI    48844‐0888
DONALD S PARRISH                                  3495 JONQUIL LANE                                                                               SEBASTIAN         FL    32976‐3022
DONALD S RAY & MRS ALICE H RAY TEN ENT            835 MAIN ST                                                                                     LATROBE           PA    15650‐1667
DONALD S REIDARSON JR & POLLYANA C REIDARSON JT   29536 AVENDIA DEL SOL                                                                           TEMECULA          CA    92591‐1816
TEN
DONALD S REIGHARD & BETH ANN REIGHARD JT TEN      542 BUCK LN W                                                                                   PENDLETON         IN    46064‐9021

DONALD S RICE                                     4437 N GENESEE RD                                                                               FLINT             MI    48506‐1562
DONALD S SANDLER & MRS PATRICIA SANDLER JT TEN    10950 E GELDING DR                                                                              SCOTTSDALE        AZ    85255‐1619

DONALD S SANDS                                    3441 WINDSPUN DR                                                                                HUNTINGTON         CA   92649‐2022
                                                                                                                                                  BEACH
DONALD S SCHUSTER                                 4414 REGENT ST                                                                                  MADISON            WI   53705‐4961
DONALD S SOMERS                                   211 EAST VILLAGE                       PO BOX 191                                               TUXEDO PARK        NY   10987‐0191
DONALD S THOMAS                                   2259 ST RD 250                                                                                  PATRIOT            IN   47038‐9788
DONALD S TYRRELL                                  671 MILLER ROAD                                                                                 LAKE ORION         MI   48362‐3658
DONALD S VAN EMBURGH JR                           6 CRANSTON HILL ROAD                                                                            STEPHENTOWN        NY   12168‐2910
DONALD S WILKINSON                                2203 KENSINGTON BLVD                                                                            FORT WAYNE         IN   46805‐4613
DONALD S YOST & LELAH M YOST JT TEN               11352 COLONIAL WOODS DRIVE                                                                      CLIO               MI   48420‐1504
DONALD SAIDLA                                     25525 ORCHARD DR                                                                                MATTAWAN           MI   49071‐8765
DONALD SAMUELS                                    21 CHURCHILL RD                                                                                 TENAFLY            NJ   07670‐3123
DONALD SAWCHUK & ROSE SAWCHUK JT TEN              8120 TILLOTSON COURT                                                                            CANTON             MI   48187‐1759
DONALD SCHARETT                                   5025 LAKE RD                           UNIT 11                                                  WILLIAMSON         NY   14589‐9609
DONALD SCHICKLER                                  12964 BIGGIN CHURCH RD S                                                                        JACKSONVILLE       FL   32224‐7913
DONALD SCHNARRENBERGER                            C/O EUGENE BECK COMPANY                924 WESTERN AVENUE                                       PITTSBURGH         PA   15233‐1718
DONALD SCHOVAN & GAIL M SCHOVAN JT TEN            21213 VIOLET                                                                                    ST CLAIR SHRS      MI   48082‐1561
DONALD SCHUITEMAKER                               PO BOX 429                                                                                      BRENTWOOD          CA   94513‐0429
DONALD SEBESTA                                    82 GRAND BLVD                                                                                   BINGHAMTON         NY   13905‐3328
DONALD SEEFELDT                                   4190 CLUB HOUSE DR                                                                              LOCKPORT           NY   14094‐1165
DONALD SEMRAU & THERESE SEMRAU JT TEN             33035 JEFFERSON AVE                                                                             SAINT CLAIR SHORES MI   48082‐1103

DONALD SENKOVICH & BARBARA J SENKOVICH JT TEN     104 MERGANSER CIR                                                                               DAYTONA BEACH     FL    32119‐1351

DONALD SERGE SUMNER                               149 MARA ROSE LN                                                                                HARPERS FERRY     WV    25425‐9504
DONALD SHARAR                                     4891 LEASIDE DR                                                                                 SAGINAW           MI    48603‐2954
DONALD SHARBIN                                    185 VALLEY RD                                                                                   FAIRFIELD         CT    06825‐1240
DONALD SHEKAILO                                   3944 JERUSALEM AVENUE                                                                           SEAFORD           NY    11783‐1611
DONALD SHIFFLETT                                  7777 CAROLYN AVE                                                                                MIDDLETOWN        VA    22645
DONALD SHORT                                      3915 SPENCER                                                                                    NORWOOD           OH    45212‐3835
DONALD SIMPSON                                    8516 W 87TH PLACE                                                                               HICKORY HILLS     IL    60457‐1333
DONALD SIREKIS                                    3373 BEECH DR                          APT 7103                                                 LAKE ORION        MI    48359‐1086
DONALD SPURLOCK                                   110 FAIRVIEW DR                                                                                 CARLISLE          OH    45005‐3054
DONALD STALKER                                    11149 US HIGHWAY 50 WEST                                                                        BEDFORD           IN    47421‐8334
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DONALD STANLEY                                     26410 PATTOW ST                                                                                ROSEVILLE          MI    48066‐3515
DONALD STANNER & BERNADETTE A STANNER JT TEN       1172 HIGHLAND GREENS DRIVE                                                                     VENICE             FL    34292‐3662

DONALD STEFFAN                                     40 CHAMBERS DR                                                                                 WEAVERVILLE        NC    28787‐9602
DONALD STERRATH                                    1110D CHENEY HIWAY                                                                             TITUSVILLE         FL    32780‐6345
DONALD STEVENS & ANDREW D STEVENS JT TEN           11854 MORRICE RD                                                                               MORRICE            MI    48857‐9786
DONALD STEVENS & ELAINE P STEVENS JT TEN           306 NELLIE CT                                                                                  CLINTON            MI    49236‐9748
DONALD STEVENS & MARY M STEVENS TR DONALD          6281 SEA GRASS LN                                                                              NAPLES             FL    34116‐5435
STEVENS TRUST UA 04/26/01
DONALD STEWARD                                     18303 MARLOWE ST                                                                               DETROIT            MI    48235‐2763
DONALD STINSON                                     620 WITBECK DRIVE                                                                              CLARE              MI    48617‐9723
DONALD STOLTMAN & KAREN E STOLTMAN JT TEN          96 HILL TERRACE                                                                                HENRIETTA          NY    14467‐9710
DONALD STRONG                                      17 HICKORY ST                                                                                  BARNESBORO         PA    15714‐1218
DONALD SWANDER & LEATRICE J SWANDER JT TEN         3133 S 6TH ST                                                                                  KALAMAZOO          MI    49009‐9436

DONALD SWEIGART                                    410 CONCORD RD                                                                                 GLEN MILLS         PA    19342‐1563
DONALD T BECKER                                    125 HUNTERTON HILLS CENTER                                                                     ROCHESTER          NY    14622
DONALD T BROOKS & KAY F GREEN & KYLE L BROOKS JT   5045 GREENVIEW DR                                                                              CLARKSTON          MI    48348‐3827
TEN
DONALD T BUCKLEY                                   1159 ALICE STREET                                                                              N TONAWANDA        NY    14120‐2201
DONALD T BUCKLEY & BERNARDINE J BUCKLEY JT TEN     1159 ALICE ST                                                                                  NORTH              NY    14120‐2201
                                                                                                                                                  TONAWANDA
DONALD T CLARK                                     118 CHANDLER LN                                                                                CENTREVILLE        DE    19807‐1108
DONALD T COLEMAN                                   36600 WEST 301 TER                                                                             PAOLA              KS    66071
DONALD T CORSON                                    PO BOX 465                                                                                     ALLENWOOD          NJ    08720‐0465
DONALD T CRENSHAW                                  2415 MAPLES RD                                                                                 FORT WAYNE         IN    46816‐2427
DONALD T FONG                                      5417 HARTE WAY                                                                                 SACRAMENTO         CA    95822‐2873
DONALD T HAYES                                     5200 DEERHURST DR                                                                              NORMAN             OK    73072‐3883
DONALD T KELLAR                                    208 FREDONIA RD                                                                                GREENVILLE         PA    16125‐9743
DONALD T LEE                                       1285 LOWER BELLBROOK RD                                                                        XENIA              OH    45385‐7317
DONALD T LEFFLER                                   4235 ORANGEPORT RD                                                                             GASPORT            NY    14067‐9250
DONALD T LICO & AUDREY A LICO JT TEN               54501 CAMBRIDGE DR                                                                             SHELBY TWP         MI    48315‐1611
DONALD T LIJEWSKI                                  2204 E CHIP ROAD                                                                               KAWKAWLIN          MI    48631‐9110
DONALD T LO CUST KIMBERLIE LYN YOUNG UGMA HI       1259 SOUTH BERETANIA ST                                                                        HONOLULU           HI    96814‐1823

DONALD T MC GRATH                                  2024 TULIPWOOD DRIVE                                                                           MANSFIELD          OH    44906‐3335
DONALD T MCCAGUE                                   3422 CRAMPTON DRIVE                   RR #2                MOSSLEY ON        N0L 1V0 CANADA
DONALD T MCKAY & BARBARA L MCKAY JT TEN            29686 DORCHESTER CT                                                                            FARMINGTON HILLS MI      48331‐1857

DONALD T MCRAE & LINDA K MCRAE JT TEN              1104 RUE SAINT MICHAEL                                                                         HAMMOND            LA    70403‐5356
DONALD T MURRAY                                    9 LUMSDEN STREET                                                                               TOMS RIVER         NJ    08757
DONALD T SANT                                      12609 W 1ST PL                                                                                 LAKEWOOD           CO    80228‐5010
DONALD T TAYLOR                                    3009 PALMETTO OAK DR                  APT 104                                                  FORT MYERS         FL    33916
DONALD T TRAXLER                                   4650 E CAREY AVE SP 58                                                                         LAS VEGAS          NV    89115‐4415
DONALD T VAN SCOY & MARILYN M VAN SCOY JT TEN      249 E FLAGSTONE DR                                                                             NEWARK             DE    19702‐3645

DONALD T WADE                                      36260 LAKE SHORE BLVD APT 108                                                                  EAST LAKE       OH       44095‐1446
DONALD T WALLACE                                   307 MOUNTAIN RD                                                                                NORTH WILBRAHAM MA       01095‐1762

DONALD T WILLIAMS                                  18 E JARRETTSV RD                                                                              FOREST HILL        MD    21050
DONALD T WILLIAMSON JR                             12 AMBOLIN CT                                                                                  BALTIMORE          MD    21236‐2802
DONALD T WILLS                                     8459 GREENVILLE ST MARYS RD                                                                    GREENVILLE         OH    45331‐9337
DONALD T WOLDERZAK                                 5176 KENCLIFF DR                                                                               SAGINAW            MI    48638‐6163
DONALD TEMPLET                                     4780 DOLPHIN CRY LN S #508                                                                     SAINT PETERSBURG   FL    33711‐4677

DONALD THEILE JR                                   18270 BRANT RD                                                                                 BRANT              MI    48614‐9753
DONALD TURK & RUTH V TURK JT TEN                   149 DOCKSIDE DOWNS                                                                             WOODSTOCK          GA    30189‐1455
DONALD UHRIG                                       20403 KINLOCH                                                                                  REDFORD            MI    48240‐1116
DONALD V DEMASTUS                                  3889 SCHENLY STREET                                                                            ENON               OH    45323‐1428
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DONALD V GARRETT & JERI GARRETT JT TEN           3065 WINSTON ST                                                                               SAGINAW         MI    48603‐1645
DONALD V GROVER                                  4897 S BROAD ST                                                                               TRENTON         NJ    08620‐2209
DONALD V HALL & MRS BEATRICE B HALL JT TEN       1122 EARL AVE                                                                                 SCHENECTADY     NY    12309‐5622
DONALD V HAUGHT                                  7426 DAVIS HWY                                                                                CHARLOTTE       MI    48813‐8305
DONALD V HUMPHREYS                               8149 HARRIS RD                                                                                MILLINGTON      MI    48746‐9221
DONALD V MARCUM                                  5214 ARBELA RD                                                                                MILLINGTON      MI    48746‐9745
DONALD V MILLS                                   54 4TH AV                                                                                     CLAYMONT        DE    19703‐2006
DONALD V PETERS                                  PO BOX 459                                                                                    ISLAND PARK     ID    83429‐0459
DONALD V PRATT                                   6283 AUTUMNVIEW STA                                                                           NEWFANE         NY    14108‐9790
DONALD V QUENZER                                 2 MAJOR TRESCOTT LN                                                                           NORTHPORT       NY    11768‐1318
DONALD V SHAFFNER                                6751 CYPRESS RD 106                                                                           PLANTATION      FL    33317‐3019
DONALD V SHANK & MRS PATRICIA J SHANK JT TEN     9993E 1855N RD                                                                                OAKWOOD         IL    61858‐6233

DONALD V STAUDTER                              3115 LENOX DR                                                                                   DAYTON          OH    45429‐1460
DONALD V STRAYER                               152 HARPER RD                                                                                   STREETSBORO     OH    44241‐5722
DONALD V TANNER                                10292 E POTTER RD                                                                               DAVISON         MI    48423‐8110
DONALD V TUCKER                                30 NORTH CHARLAME CT                                                                            ROXBURY         MA    02119‐1812
DONALD VAN HOVE                                5182 STATE RD                                                                                   HALE            MI    48739‐9180
DONALD VETITOE                                 23002 LAKETREE LANE                                                                             SPRING          TX    77373‐6913
DONALD VIALOUX                                 2047 NIPIGON DR                        OAKVILLE ON                            L6H 4G1 CANADA
DONALD VINCENT GARRETT & JERI JEAN GARRETT JT  3065 WINSTON DR                                                                                 SAGINAW         MI    48603‐1645
TEN
DONALD VISCOMI                                 2107 LOGAN DRIVE                                                                                STERLING HGTS   MI    48310‐2855
DONALD W ABERNATHY                             PO BOX 310                                                                                      COOPER          TX    75432‐0310
DONALD W ADAMS                                 16 IVANHOE AVE                                                                                  DAYTON          OH    45419‐3808
DONALD W AGNER                                 505 CONFEDERATE PL                                                                              LOGANVILLE      GA    30052‐4061
DONALD W AMES                                  6370 KARLSRIDGE DRIVE                                                                           DAYTON          OH    45459‐1280
DONALD W ANDERSON & PATRICIA B ANDERSON JT TEN 8008 MORNINGSIDE STREET                                                                         WICHITA         KS    67202

DONALD W BARKMAN                                 523 CARLETON ROCKWOOD RD                                                                      CARLETON        MI    48117‐9741
DONALD W BASINGER                                4215 NORTHWESTERN AVE                                                                         RACINE          WI    53405‐1315
DONALD W BEANE                                   3306 SE 11TH AVE                                                                              CAPE CORAL      FL    33904‐4205
DONALD W BERGWALL                                1237 WOODLINE DR                                                                              MARYSVILLE      OH    43040‐8523
DONALD W BIRDSALL                                181 COPPERFIELD DR                                                                            DAYTON          OH    45415‐1264
DONALD W BISCHOFF                                1935 LAUREL LANE                                                                              AMHERST         OH    44001‐1852
DONALD W BLACK                                   305 NW 54TH TER                                                                               KANSAS CITY     MO    64118‐4405
DONALD W BOGEMANN                                5621 SUGAR HILLS DR                                                                           GREENFIELD      IN    46140‐8663
DONALD W BONNETT                                 207 HUNTERS RIDGE RD                                                                          TIMONIUM        MD    21093‐4010
DONALD W BORING                                  4474 PARMAN RD                                                                                STOCKBRIDGE     MI    49285‐9511
DONALD W BOS                                     106 VOSPER                                                                                    SARANAC         MI    48881‐9722
DONALD W BOS & CONSTANCE K BOS JT TEN            106 VOSPER                                                                                    SARANAC         MI    48881‐9722
DONALD W BOYD                                    PO BOX 482                                                                                    GRAND BLANC     MI    48480‐0482
DONALD W BOYD & HELEN J BOYD JT TEN              PO BOX 482                                                                                    GRAND BLANC     MI    48480‐0482
DONALD W BRIDGES                                 PO BOX 565                                                                                    WHITE CLOUD     MI    49349‐0565
DONALD W BROWNING                                1210 OPACA DR SE                                                                              BOLIVIA         NC    28422‐7416
DONALD W BUHL TR DONALD W BUHL REVOCABLE         2394 22ND ST                                                                                  WYANDOTTE       MI    48192‐4146
LIVING TRUST UA 10/19/01
DONALD W BUNN                                    31 N HORTON STREET                                                                            DAYTON          OH    45403‐1218
DONALD W BURDEN                                  70 PLEASANT HILL BL                                                                           FRANKLIN        OH    45005‐2600
DONALD W BURGESS                                 8204 E DODGE                                                                                  OTISVILLE       MI    48463‐9485
DONALD W BURTON                                  7432 WEBSTER RD                                                                               MT MORRIS       MI    48458‐9330
DONALD W BUSSELL CUST ANDRE L PHLIPOT UGMA MI    54107 POCAHONTAS DR                                                                           SHELBY TWP      MI    48315‐1263

DONALD W BUSSELL CUST REBECCA E PHLIPOT          54107 POCAHONTAS DR                                                                           SHELBY TWP      MI    48315‐1263
DONALD W BUSSELL CUST SHANNON R SICKEN UGMA      54107 POCAHONTAS DR                                                                           SHELBY TWP      MI    48315‐1263
MI
DONALD W BUTLER                                  450 WATER ST                                                                                  GUILFORD        CT    06437‐3226
DONALD W BUTTON                                  1511 FORD CT                                                                                  ROCHESTER       MI    48306‐4811
DONALD W CAMERON                                 165 LEATH LN                                                                                  FINGER          TN    38334
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DONALD W CARLSON CUST SUSAN E CARLSON UGMA       4412 SCRANTON ST                                                                              SIOUX FALLS       SD    57103‐6642
NEB
DONALD W CLAEYS & KATHLEEN O CLAEYS JT TEN       34454 MCKENZIE VIEW DR                                                                        SPRINGFIELD       OR    97478‐9738
DONALD W CLAUDEPIERRE CUST ERIC J CLAUDEPIERRE   720 BELLAIRE AVE                                                                              DAYTON            OH    45420‐2308
UGMA OH
DONALD W CORCORAN                                904 SOUTHERN VIEW DR                                                                          LAFAYETTE         IN    47905
DONALD W CORRIGAN                                10660 WREN RIDGE RD                                                                           ALPHARETTA        GA    30022‐6645
DONALD W CRAWFORD                                111 GRASSLAND DR                                                                              GALLATIN          TN    37066‐5708
DONALD W CRONAN                                  30 WYNDEMERE DR                                                                               FRANKLIN          OH    45005‐2434
DONALD W CURRIE                                  9267 BOSTON STATE RD                                                                          BOSTON            NY    14025‐9604
DONALD W CUSHMAN                                 2101 PARADISE DR                                                                              LEWISBURG         TN    37091
DONALD W DALE                                    5034 S BELFAY RD                                                                              GRAND BLANC       MI    48439
DONALD W DAMRON & JACQUELINE J DAMRON JT TEN     44469 SILVER CANYON LANE                                                                      PALM DESERT       CA    92260‐3080

DONALD W DAVID & MARGARET M DAVID JT TEN         16931 GLENMORE                                                                                DETROIT           MI    48240‐2703
DONALD W DEBUS                                   RR 2 BOX P6‐11                                                                                HAZLETON          PA    18202‐9436
DONALD W DEELSNYDER                              817 17TH ST                                                                                   FULTON            IL    61252‐1020
DONALD W DEKOSTER                                3501 BREELAND AVE                                                                             LOUISVILLE        KY    40241‐2601
DONALD W DENMARK & NORINA M DENMARK JT TEN       3288 PIPER RD                                                                                 ALPENA            MI    49707‐4731

DONALD W DEWITT                                  3140 CANTERBURY LN                                                                            JANESVILLE        WI    53546‐2236
DONALD W DICKINSON                               2677 FIX ROAD                                                                                 GRAND ISLAND      NY    14072‐2401
DONALD W DONATH & MRS EDITH Y DONATH JT TEN      1001 S BEACON                                                                                 SEDALIA           MO    65301‐5234

DONALD W DORTCH                                  10123 N LINDEN RD                                                                             CLIO              MI    48420‐8539
DONALD W DORTCH & WILMA L DORTCH JT TEN          10123 N LINDEN RD                                                                             CLIO              MI    48420‐8539
DONALD W ELLISON                                 33914 TAWAS TRAIL                                                                             WESTLAND          MI    48185‐2318
DONALD W FETTERHOFF                              4174 JOHNSON ROAD                                                                             LOCKPORT          NY    14094‐1251
DONALD W FIFER                                   555 NW HWY                                                                                    KINGSVILLE        MO    64061‐9120
DONALD W FIKE                                    103 BLUE HERON DR                                                                             EATONTON          GA    31024‐5652
DONALD W FINKEL & LINDA L FINKEL JT TEN          6517 N LAKESHORE RD                                                                           PORT HOPE         MI    48468‐9616
DONALD W FITZSIMMONS                             7684 SUSSEX DR                                                                                WEST CHESTER      OH    45069‐3210
DONALD W FLEMING                                 68 ATHABASCA                         OSHAWA ON                              L1H 7H6 CANADA
DONALD W FLEMING & EDWARD G FLEMING JT TEN       9667 COLINADE DRIVE                                                                           LONE TREE         CO    80124‐3140

DONALD W FORCE                                   G 9015 CORUNNA RD                                                                             FLINT             MI    48532
DONALD W FOX                                     1233 W COOK RD                                                                                GRAND BLANC       MI    48439‐9364
DONALD W FRANZ                                   456 MARCELLUS RD                                                                              MINEOLA           NY    11501‐1428
DONALD W FRIDLEY                                 2380 ANNA AVE                                                                                 WARREN            OH    44481‐9430
DONALD W GAIRHAN                                 13280 N CLIO RD                                                                               CLIO              MI    48420‐1025
DONALD W GARGASZ                                 31177 GEORGETOWN RD                                                                           SALEM             OH    44460
DONALD W GAVAGAN CUST ZACHARY M GAVAGAN          2413 GOLFVIEW CIR                                                                             FENTON            MI    48430‐9633
UGMA MI
DONALD W GILLIS & JEANETTE G GILLIS JT TEN       5250 TRAVELLE TER                                                                             FAIRFIELD         OH    45014‐3229
DONALD W GODFREY                                 PO BOX 96                                                                                     ARAGON            GA    30104‐0096
DONALD W GOTTLIEB                                32587 GREENWOOD DR                                                                            AVON LAKE         OH    44012‐1623
DONALD W GRAMLICH                                800 NW 11TH ST                                                                                BLUE SPRINGS      MO    64015‐3034
DONALD W GRAY                                    5197 WILLOWBROOK                                                                              CLARENCE          NY    14031‐1476
DONALD W GRAYEM                                  326 WOODLAND ST                                                                               NEWTON FALLS      OH    44444‐1759
DONALD W GREEN                                   7730 METZ DRIVE                                                                               SHELBY TOWNSHIP   MI    48316‐1846

DONALD W GRESLEY                              225 OLD OAK DRIVE                                                                                CORTLAND          OH    44410‐1121
DONALD W GRISWOLD JR                          717 MAIDEN CHOICE LN                    APT 618                                                  CATONSVILLE       MD    21228‐6174
DONALD W GROHS TR UA 3/22/2001 DONALD W GROHS 3071 PARK DRIVE                                                                                  BRIGHTON          MI    48114
REV TRUST
DONALD W HACKETT                              400 LAKE AVE NE                         UNIT 530                                                 LARGO             FL    33771‐1684
DONALD W HAGEWOOD                             3030 HIGHWAY 49 E                                                                                CHARLOTTE         TN    37036‐5920
DONALD W HALLORAN                             5 UNION ST                                                                                       CLARK             NJ    07066‐1507
DONALD W HANDLEY                              PO BOX 915                                                                                       CARBON HILL       AL    35549‐0915
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DONALD W HANGE & GLENDORA M HANGE JT TEN         113 HILLCREST LANE                                                                              ELYRIA           OH    44035‐1629

DONALD W HARPER                                  6092 S COUNTY ROAD 275E                                                                         CLAYTON          IN    46118‐9799
DONALD W HARRIS                                  118 WEST HARVEST DR                    BARB'S FARM                                              NEWCASTLE        DE    19720‐5609
DONALD W HARRIS                                  4832 S AINGER                                                                                   CHARLOTTE        MI    48813‐8543
DONALD W HARRIS & VIOLET M S HARRIS JT TEN       2413 PULASKE HWY #17                                                                            NEWARK           DE    19702‐3905
DONALD W HART                                    1621 MEMORIAL DR                                                                                HOLLISTER        CA    95023‐5732
DONALD W HAWKINS                                 5381 FRANKWILL AVE                                                                              CLARKSTON        MI    48346‐3725
DONALD W HEICHELBECH & SARAH J HEICHELBECH JT    1420 TIMBER RIDGE DR                                                                            HUNTINGBURG      IN    47542‐9136
TEN
DONALD W HELTERBRAND                             112 W 5TH ST                                                                                    LAPEL            IN    46051‐9516
DONALD W HOLMES & MRS BEVERLY A HOLMES JT TEN    16626 CAHILL RD                                                                                 BRIMFIELD        IL    61517‐9582

DONALD W HOLUB                                   33355 PETTIBONE RD                                                                              SOLON            OH    44139‐5509
DONALD W HOSIER                                  3610 S CALERICO AVE                                                                             TUCSON           AZ    85730‐2646
DONALD W HOUSER                                  3908 WRENWOOD DR                                                                                FORT WORTH       TX    76137‐1625
DONALD W HOZESKA                                 3692 MIDLAND RD                                                                                 SAGINAW          MI    48603‐9685
DONALD W HRAMIEC                                 2003 ROSELAND                                                                                   ROYAL OAK        MI    48073‐5014
DONALD W HUCK                                    43955 DUNHAM CT                                                                                 CLINTONTWP       MI    48038‐1517
DONALD W HUDSON                                  BOX 182                                                                                         AMBOY            IN    46911‐0182
DONALD W HUGHES                                  PO BOX 25                                                                                       PENDLETON        IN    46064‐0025
DONALD W HYLAND                                  3394 CONC 4                            R ROUTE #1           ORONO ON          L0B 1M0 CANADA
DONALD W HYLAND                                  3394 CONC 4                            R ROUTE #1           ORONO ON          L0B 1M0 CANADA
DONALD W JENNETTE & LIELA R JENNETTE JT TEN      PO BOX 547                                                                                      KEWADIN          MI    49648
DONALD W JOHNSON                                 11235 MAGNOLIA ST NW                                                                            COON RAPIDS      MN    55448‐3264
DONALD W JOHNSON & BRENDA K JOHNSON JT TEN       3901 BRANDY LANE                                                                                CLINTON          IA    52732‐9475

DONALD W JOHNSTON JR                              P.O. BOX 92                                                                                    GLEN ELLYN       IL    60138‐0092
DONALD W JONES & PATRICIA B JONES TR JONES LIVING 3600 JASMINE COVE LN                                                                           SNELLVILLE       GA    30039‐8414
TRUST UA 11/10/99
DONALD W K BIGGS JR & MRS CAROL A BIGGS JT TEN    23 RIVULET WAY                                                                                 MERCERVILLE      NJ    08619‐2707

DONALD W KAH                                     2717 E WATERVIEW DR                                                                             AVON PARK        FL    33825‐6015
DONALD W KELLOGG                                 57 S FREMONT ST                                                                                 JANESVILLE       WI    53545‐2662
DONALD W KELLY                                   10236 UNITA DR                                                                                  FORT WAYNE       IN    46804‐6900
DONALD W KELLY & CONSTANCE M KELLY JT TEN        2825 DAKOTA DRIVE                                                                               JANESVILLE       WI    53545‐2296
DONALD W KEMPF                                   4847 APPLETREE LANE                                                                             BAY CITY         MI    48706‐9261
DONALD W KIMMELL                                 825 LINCOLN DR                                                                                  SHREVEPORT       LA    71107‐3115
DONALD W KITTLE                                  6009 OAK CREEK DR                                                                               SWARTZ CREEK     MI    48473‐8869
DONALD W KLEVEN JR                               7104 HICKORY CREEK DR                  APT B3                                                   FORT WAYNE       IN    46809
DONALD W KRAMER                                  3614 OXFORD                                                                                     SAINT LOUIS      MO    63143‐4119
DONALD W KUBIAK                                  79 OLIVER STREET                                                                                LOCKPORT         NY    14094‐4615
DONALD W KUGLER                                  COUNTY RD 651                          BOX 517                                                  FRENCHTOWN       NJ    08825
DONALD W LAMBERT                                 9457 HEMENGER COURT                                                                             ALGONAC          MI    48001‐4003
DONALD W LANCASTER & LAURA A LANCASTER JT TEN    809 KNIGHT CIRCLE                                                                               MARION           IN    46952‐2466

DONALD W LAPPLEY                                 201 NORTH 29TH ST                                                                               CAMP HILL        PA    17011
DONALD W LEGGETT                                 6400 TAMMY LANE                                                                                 MECHANICSVILLE   VA    23111‐3338
DONALD W LIPTAK                                  13091 WOLF CREEK                                                                                HUBBARD LAKE     MI    49747‐9715
DONALD W LOOMIS                                  3345 HOLIDAY DRIVE                                                                              BERLIN CENTER    OH    44401‐9736
DONALD W MACLEOD & TERRY A MACLEOD JT TEN        52 W CEDAR STREET                                                                               LIVINGSTON       NJ    07039‐2923

DONALD W MAHONEY                                 22703 OLD K C RD                                                                                SPRING HILL      KS    66083
DONALD W MASKE JR & PATRICIA A MASKE JT TEN      108 CHIPMUNK LANE                                                                               HOUGHTON LAKE    MI    48629‐9210
DONALD W MASTERS                                 8844 SHEPHERD RD                                                                                ONSTED           MI    49265‐9523
DONALD W MATTHEWS                                PO BOX 606                                                                                      MANILA           AR    72442‐0606
DONALD W MC CONNAUGHEY                           2840 STERNS RD                                                                                  LAMBERVILLE      MI    48144‐8675
DONALD W MC ILVANE                               265 46TH ST                            APT 1207                                                 PITTSBURGH       PA    15201‐2852
DONALD W MCCUE JR                                2015 NORTH AVE                                                                                  SAINT CHARLES    IL    60174
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DONALD W MESSENGER                              93 SPENCER ROAD                                                                                 ROCHESTER          NY    14609‐5654
DONALD W MILANOWSKI                             463 GARDEN VALLEY COURT                                                                         YOUNGSTOWN         OH    44512‐6503
DONALD W MILLER                                 10388 ASBURY RD                                                                                 LEROY              NY    14482‐8923
DONALD W MITCHELL II                            545 FORREST AVE                                                                                 HOHENWALD          TN    38462‐1026
DONALD W MONTGOMERY                             2108 CYPRESS ST                                                                                 MCKEESPORT         PA    15131‐1810
DONALD W MONTGOMERY                             3520 FANNIN ST 1                                                                                BEAUMONT           TX    77701‐3877
DONALD W MORRIS                                 904 LAURELWOOD CIR #9D                                                                          LAUREL             MS    39440
DONALD W MOSTELLO                               4146 53RD AVE S                                                                                 SAINT PETERSBURG   FL    33711‐4742

DONALD W MYERS                                  1028 FARMVIEW DR                                                                                WATERVILLE         OH    43566‐1120
DONALD W MYERS & KATHLEEN A MYERS JT TEN        1028 FARMVIEW DR                                                                                WATERVILLE         OH    43566‐1120
DONALD W NEELY                                  210 W CRYSTAL LAKE AVE                 APT 130B                                                 HADDONFIELD        NJ    08033‐3118
DONALD W NICHOLS                                612 AUTUMN WOOD DR                                                                              RICHMOND           KY    40475‐9098
DONALD W NOWLIN                                 7036 S 100TH BOX 394                                                                            EVART              MI    49631‐0394
DONALD W O'REILLY                               2S735 WINCHESTER CIR E UNIT 2                                                                   WARRENVILLE        IL    60555‐2527
DONALD W OBAR                                   3401 CABRILLO COURT                                                                             TRACY              CA    95376‐2045
DONALD W OBRIEN & NORMAN C OBRIEN JT TEN        6716 WOLVERINE WAY                                                                              INDIANAPOLIS       IN    46237‐9457
DONALD W OHRMAN                                 7632 HOGANS BLUFF LN                                                                            CHARLOTTE          NC    28227‐5804
DONALD W OLIPHANT                               3534 SHENANDOAH AVE                                                                             PORT HURON         MI    48060‐8803
DONALD W ONKS                                   R R 2 BOX 159                                                                                   RUSSIAVILLE        IN    46979‐9802
DONALD W PAISLEY JR                             4241 CAMINITO TERVISO                                                                           SAN DIEGO          CA    92122‐1972
DONALD W PARDEIK & BARBARA J PARDEIK JT TEN     DONALD W PARDEIK & BARBARA J           PARDEIK JT TEN       240 ABERDEEN CT                     FLUSHING           MI    48433‐2659

DONALD W PARRISH                                4221 MYRTLE AVENUE                                                                              CINCINNATI         OH    45236‐2409
DONALD W PATTEN                                 2932 37TH AVE S                                                                                 MINNEAPOLIS        MN    55406‐1720
DONALD W PERRY                                  BOX 42274                                                                                       INDIANAPOLIS       IN    46242‐0274
DONALD W PETERSON                               PO BOX 372                             10054 PASSENHEIM                                         WATERS             MI    49797‐0372
DONALD W PICKARD & MRS MARLENE G PICKARD JT     33062 SEA BREEZE CT.                                                                            SAN JUAN CAPO      CA    92675
TEN
DONALD W PLEW                                   5765 N 630 W                                                                                    FAIRLAND           IN    46126‐9440
DONALD W PRICE                                  5055 E CARPENTER RD                                                                             FLINT              MI    48506‐4521
DONALD W RAMEY                                  4206 AGNES AVE                                                                                  KANSAS CITY        MO    64130‐1410
DONALD W REESE                                  1393 W 600 S                                                                                    JONESBORO          IN    46938‐9604
DONALD W REISNER                                3096 S RACE ST                                                                                  DENVER             CO    80210‐6331
DONALD W RICE                                   153 BLUEGRASS                                                                                   WHITNEY            TX    76692‐4561
DONALD W RICHARDS                               176 MCGREGOR RD                                                                                 BUTLER             PA    16001‐9711
DONALD W ROBSON & BERNADETTE A ROBSON JT TEN    1716 S E FIRST STREET                                                                           CAPE CORAL         FL    33990‐1301

DONALD W ROESNER                               19704 FIGHTMASTER ROAD                                                                           TRIMBLE            MO    64492‐9162
DONALD W RUHL                                  5843 GUSHING SPRING AVE                                                                          LAS VEGAS          NV    89131‐2186
DONALD W RUHL & PAULINE A RUHL JT TEN          5843 GUSHING SPRING AVE                                                                          LAS VEGAS          NV    89131‐2186
DONALD W RULE                                  705 ORCHARD WAY                                                                                  SILVER SPRING      MD    20904‐6231
DONALD W RYAN                                  1497 W 450 S                                                                                     WASHINGTON         IN    47501‐7486
DONALD W SCHAEFER & MRS JOAN M SCHAEFER JT TEN 13205 WRAYBURN RD                                                                                ELM GROVE          WI    53122‐1345

DONALD W SCHWED & JUDITH M SCHWED JT TEN        11259 LAKE FOREST DRIVE                                                                         CHESTERLAND        OH    44026‐1333

DONALD W SCHWENDIMANN TR THE MABEL FRESE        330 SUMMERTOWN HWY                                                                              HOHENWALD          TN    38462‐1926
TRUST UW MABEL M FRESE
DONALD W SCRIBNER & RUTH M SCRIBNER JT TEN      9010 FOREST OAKS RD                                                                             OWINGS MILLS       MD    21117‐4850

DONALD W SEYFRIED & BRIAN W SEYFRIED JT TEN     3446 W CUTLER RD                                                                                DEWITT             MI    48820‐9519
DONALD W SHARP                                  207 E MECHANIC ST                                                                               BLOOMFIELD         IN    47424‐1429
DONALD W SHARP                                  4114 BENHAM AVE                                                                                 BALDWIN PARK       CA    91706‐3103
DONALD W SHEPHARD                               11194 CINNAMON BLVD                                                                             CLEVELAND          OH    44133‐2867
DONALD W SHERMAN                                PO BOX 220                                                                                      OLCOTT             NY    14126‐0220
DONALD W SHORT & BEVERLY ANN SHORT JT TEN       649 HOLLY ST                                                                                    FENTON             MI    48430‐2316
DONALD W SIMON                                  2310 PEAR TREE DR                                                                               BURTON             MI    48519‐1568
DONALD W SIMPKINS                               1313 GREENE 739 RD                                                                              PARAGOULD          AR    72450‐8918
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DONALD W SIMPSON                                 12136 IRENE                                                                                    SOUTHGATE       MI    48195‐1761
DONALD W SISSON                                  840 RAINBOW BLVD                                                                               ANDERSON        IN    46012‐1515
DONALD W SMACHER                                 1900 PITTSTON BLVD                                                                             BEAR CREEK TW   PA    18702‐9527
DONALD W SMITH                                   3160 FLATBOTTOM DR                                                                             DACULA          GA    30019‐5034
DONALD W SMITH JR                                408 POWDER HORN CT                                                                             FORT WORTH      TX    76108‐3785
DONALD W SOUZA                                   3113 HUMMINGBIRD CT                                                                            MODESTO         CA    95356‐0208
DONALD W SPAHR                                   504 W WASHINGTON                                                                               FAIRMOUNT       IN    46928‐1961
DONALD W STANTON                                 22320 MAIN APT 8                                                                               WOODBURN        IN    46797
DONALD W STEADMAN                                206 MT PLEASANT BLVD                                                                           IRWIN           PA    15642‐4727
DONALD W STECKEL                                 1151 BLUE RIDGE RD                                                                             BRIGHTON        IL    62012‐2951
DONALD W STRAND                                  135 ELM STREET                        APT 30                                                   MILFORD         NH    03055‐4745
DONALD W STRAUSS & PATRICIA L STRAUSS JT TEN     12170 COMMERCE                                                                                 MILFORD         MI    48380‐1202

DONALD W STRIDER                               1654 HOPEWELL FRIENDS RD                                                                         ASHEBORO        NC    27203‐1791
DONALD W STRIDER CUST TOBY DONALD STRIDER UTMA 1654 HOPEWELL FRIENDS RD                                                                         ASHEBORO        NC    27203‐1791
NC
DONALD W STRYKER                               191 HINEY RD                                                                                     WILMINGTON      OH    45177‐9630
DONALD W THOMAS                                68 OAK VALLEY DR                                                                                 SPRING HILL     TN    37174‐2596
DONALD W TRUE                                  PO BOX 7121                                                                                      NASHUA          NH    03060‐7121
DONALD W TURRELL                               BOX 396                                 12775 W FREELAND RD                                      FREELAND        MI    48623‐9539
DONALD W ULBRICH & MILDRED J ULBRICH JT TEN    641 SCENERY DRIVE                                                                                ELIZABETH       PA    15037‐2042

DONALD W WACKENHUTH                              6440 JOHNSON RD                                                                                GALLOWAY        OH    43119‐9573
DONALD W WADDELL                                 20000 CONLEY                                                                                   DETROIT         MI    48234‐2256
DONALD W WALKER                                  7775 FLAMINGO ST                                                                               WESTLAND        MI    48185‐2490
DONALD W WALKER                                  908 N W 1ST                                                                                    MOORE           OK    73160‐2104
DONALD W WALTERS                                 7600 WOODBURY RD                                                                               LAINGSBURG      MI    48848‐8723
DONALD W WELCH                                   8037 JENNINGS RD                                                                               SWARTZ CREEK    MI    48473‐9147
DONALD W WILKEWITZ                               11072 ZIEGLER ST                                                                               TAYLOR          MI    48180‐4320
DONALD W WILLIAMS                                7360 SACRAMENTO DR                                                                             GREENFIELD      IN    46140‐9696
DONALD W WINKLER                                 3655 WOODLAWN COURT                                                                            BUFORD          GA    30519‐4613
DONALD W WINNE                                   912 W TELEGRAPH ST                                                                             CARSON CITY     NV    89703‐3726
DONALD W WISENOR                                 708 COLERIDGE AVE                                                                              TROTWOOD        OH    45426‐2536
DONALD W WISNER                                  17024 TAFT RD                                                                                  SPRING LAKE     MI    49456‐9705
DONALD W WISNER & SHARON M WISNER JT TEN         11629 GARNSEY DR                                                                               GRAND HAVEN     MI    49417‐9646
DONALD W WONG & LISA JANET WONG JT TEN           7128 GLENVIEW DRIVE                                                                            SAN JOSE        CA    95120‐4162
DONALD W ZELLAR & RONALD CRAIG ZELLAR JT TEN     5566 SEVEN LAKES WEST                                                                          WEST END        NC    27376

DONALD WAGNER                                    7382 DENTON HILL RD                                                                            FENTON          MI    48430‐9480
DONALD WAKERSHAUSER                              N 8871 ANACKER RD                                                                              PORTAGE         WI    53901‐9414
DONALD WALCH                                     9277 REYNOLDS RD                                                                               TRAVERSE CITY   MI    49684‐9664
DONALD WALKER                                    57300 TEN MILE ROAD                                                                            SOUTH LYON      MI    48178‐9718
DONALD WALTER ANDERSON                           2416 LAFAYETTE ST                                                                              ANDERSON        IN    46012‐1644
DONALD WALTER KILEY JR                           15413 WHITECHAPEL CT                                                                           CENTREVILLE     VA    20120‐3944
DONALD WALTER MULLETT                            7668 MAPLE DR                                                                                  WESTLAND        MI    48185‐7631
DONALD WALTIMIRE                                 RR 3 RD 17‐J‐416                                                                               NAPOLEON        OH    43545‐9803
DONALD WARREN SILVER & MRS BRENDA J SILVER JT    962 SNOWMOON CT                                                                                GAYLORD         MI    49735‐9000
TEN
DONALD WASHINGTON                                9134 S MICHIGAN                                                                                CHICAGO         IL    60619‐6619
DONALD WASHINGTON                                8112 BADGER                                                                                    DETROIT         MI    48213‐2139
DONALD WAUGAMAN                                  218 DELMONT AVE                                                                                BELLE VERNON    PA    15012‐2115
DONALD WEBER                                     1668 MANCHESTER RD                                                                             GLASTONBURY     CT    06033‐1837
DONALD WELCOME                                   12 KASTOR LANE                                                                                 WEST LONG       NJ    07764‐1223
                                                                                                                                                BRANCH
DONALD WESLEY                                    7223 SOUTH QUINCY AVE                                                                          OAK CREEK       WI    53154‐2204
DONALD WEST                                      1034 ALEXANDERSVILLE RD                                                                        MIAMISBURG      OH    45342‐6417
DONALD WHEELER & SHIRLEY WHEELER JT TEN          1819 N MUTUAL UNION RD                                                                         CABLE           OH    43009‐9627
DONALD WHICKER & GLORIA WHICKER JT TEN           5232 BABBIT                                                                                    TROY            MI    48098‐3432
DONALD WHITLEY                                   1447 N 43RD ST                                                                                 E SAINT LOUIS   IL    62204‐2508
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DONALD WIKTOROWSKI                               11415 WENGER ROAD                                                                              ANNA           OH    45302‐9562
DONALD WILCHER                                   207 W WHITE RD                                                                                 COLLIERVILLE   TN    38017‐2125
DONALD WILLIAM GREENMAN                          6305 ORIOLE DR                                                                                 FLINT          MI    48506‐1748
DONALD WILLIAM KIMBALL                           8643 UNITY CHURCH RD                                                                           MOORESVILLE    NC    28115
DONALD WILLIAM ROBSON                            1716 S E 1ST STREET                                                                            CAPE CORAL     FL    33990‐1301
DONALD WILLIAMSON                                473 LAFLEUR                           VAUDREUIL QC                           J7V 6V1 CANADA
DONALD WILSON                                    2668 BREWSTER AVE                                                                              REDWOOD CITY   CA    94062‐2116
DONALD WISNEFSKE                                 526 S 15TH AVE                                                                                 WEST BEND      WI    53095‐3714
DONALD WITTINGEN                                 4691 EAST M28                                                                                  KENTON         MI    49967‐9410
DONALD WM WHYTE JR                               7705 COOPER ROAD                                                                               KENOSHA        WI    53142‐4122
DONALD WOJTAL & MRS JANICE K WOJTAL JT TEN       1805 BELLVIEW DR                                                                               ATHENS         AL    35611‐4091
DONALD WOODMAN & JANET WOODMAN JT TEN            23725 MCCLINTOCK RD                                                                            CHANNAHON      IL    60410‐3057
DONALD WOOLUM                                    190 CHARLOTTE ST                                                                               MULLIKEN       MI    48861‐9739
DONALD WU                                        2862 CHASEWAY DRIVE                                                                            ANN ARBOR      MI    48105
DONALD YATES NORRIS & PENELOPE F NORRIS JT TEN   301 PROSPECT ST                                                                                LA PLATA       MD    20646‐9683

DONALD YOUNG SR                                  1919 W LAFAYETTE AVE                                                                           BALTIMORE      MD    21217
DONALD Z ROMACK                                  290 GILMER ROAD                                                                                LEAVITTSBURG   OH    44430‐9542
DONALDA A CREASSER                               49 CENTRE ST                          BOWMANVILLE ON                         L1C 2Y2 CANADA
DONALDA A LAISURE                                2103 WARD ST                                                                                   ESSEXVILLE     MI    48732‐1456
DONALDSON LUFKIN & JENRETTE SECURITIES           PO BOX 2050                                                                                    JERSEY CITY    NJ    07303‐2050
CORPORATION
DONALE F BROOKS                                  8802 PEMBROKE                                                                                  DETRIOT        MI    48221‐1127
DONALEE M SUMNER                                 13411 FOREST PARK DR                                                                           GRAND HAVEN    MI    49417‐9658
DONALYN G ROPER                                  4408 APPLEBY PL                                                                                COLLEGE STA    TX    77845‐4861
DONALYN M SPECHT                                 1 PAINE AVE                                                                                    FARMINGDALE    NY    11735‐2226
DONAT E CHARRON                                  22 WATSON RD                          PO BOX 255                                               QUINEBAUG      CT    06262‐0255
DONAT J DESCLOS                                  PO BOX 964                                                                                     CAREFREE       AZ    85377‐0964
DONAT P AUDET & RITA AUDET JT TEN                244 LINCOLN ST                                                                                 WOONSOCKET     RI    02895‐5228
DONAT P AUDET CUST ANDREA J AUDET UTMA UNIF      40 ASPEN LN                                                                                    GREENVILLE     RI    02828‐1451
TRANS MIN ACT RI
DONAT P AUDET CUST NICHOLAS M FORESTI UTMA RI    5 LOOKOUT STREET                                                                               GREENVILLE     RI    02828‐2115

DONAT P AUDET CUST NICOLE E AUDET UTMA RI        40 ASPEN LN                                                                                    GREENVILLE     RI    02828‐1451
DONATA SANDS & DAVID SANDS JT TEN                216 CELTIC LANE                                                                                ROCHESTER      NY    14626‐4363
DONATO ALTIERI & MIRYAM ALTIERI JT TEN           1385 W 2ND AVE                                                                                 COLUMBUS       OH    43212‐3405
DONATO CEFARATTI                                 8 SOUTH RIDGE ROAD                                                                             FARMINGTON     CT    06032‐3021
DONATO DE MATTEIS                                243 PEMBROOK DR                                                                                YONKERS        NY    10710‐2835
DONATO DURSO                                     8358 DRAKE STATELINE RD                                                                        BURGHILL       OH    44404‐9768
DONATO FALASCA                                   4790 BOND AVE                                                                                  WARREN         OH    44483‐1746
DONATO J DICENSO                                 16 VINAL ST                                                                                    HUDSON         MA    01749‐1747
DONATO R GUERRA                                  18300 HEATHERLEA DR                                                                            LIVONIA        MI    48152‐4085
DONATO RICCHIUTI                                 462 BIRCH ST                          KENNETT SQUAR                                            KENNETT SQ     PA    19348‐3610
DONATO TIJERINA JR                               4155 ROLSTON RD                                                                                LINDEN         MI    48451‐9444
DONATO V DADDARIO                                49 HERITAGE CT                                                                                 RANDOLPH       NJ    07869‐3534
DONAVON J HOFACKER & LINDA S HOFACKER JT TEN     1870 S R 589                                                                                   CLASSTOWN      OH    45312

DONAVON L BAILEY                                 PO BOX 130                                                                                     CLOVERDALE     IN    46120‐0130
DONEL J WHITLEY                                  15657 MEADOW ST                                                                                ROMULUS        MI    48174‐2926
DONELL SANDERS                                   375 COLUMBIA PURVIS RD                                                                         COLUMBIA       MS    39429‐9112
DONELL WILLIAMS                                  8819 MONICA                                                                                    DETROIT        MI    48204‐2853
DONELLA L RAK                                    1503 NORTH IRISH ROAD                                                                          DAVISON        MI    48423‐2218
DONELSON JOHNS & EVANS FUNERAL HOME              5391 HIGHLAND RD                                                                               WATERFORD      MI    48327‐1921
DONELSON ROSS ADAMS                              4308 CORINTH DRIVE                                                                             BIRMINGHAM     AL    35213‐1814
DONETA M KUNKEL                                  1716 S EDMONDS LN # 15                                                                         LEWISVILLE     TX    75067
DONETTA BEILAND                                  1673 DELAWARE DR                                                                               LAKE MILTON    OH    44429‐9714
DONG CHANG                                       1615 VALLEY ST                                                                                 FORT LEE       NJ    07024‐2525
DONG H PARK                                      15019 W 69TH ST                                                                                SHAWNEE        KS    66216‐2285
DONGJIN SUH                                      100 MEMORIAL DR                       APT 5‐5A                                                 CAMBRIDGE      MA    02142‐1327
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DONICE R CARLYLE                                6807 NEBO ROAD                                                                                   HIRAM            GA    30141‐4208
DONIMIQUE A PAGE                                1808 MORTON ST                                                                                   ANDERSON         IN    46016‐4151
DONINE S SHELDRICK                              6017 PORTLAND AVE                                                                                MINNEAPOLIS      MN    55417
DONITA K GRASHEL & TIMOTHY W GRASHEL JT TEN     16 TURKEYFOOT RD                                                                                 WHEELERSBURG     OH    45694‐8602

DONITA L KERBS                                  1020 SCOTT AVE                                                                                   SALINA           KS    67401‐7777
DONITA P MARSH                                  3718 BURTON PL                                                                                   ANDERSON         IN    46013‐5248
DONIZELL MARTIN                                 115 STANFORD DRIVE                                                                               VALLEJO          CA    94589‐1745
DONN A HOFFMANN                                 N21 W24305‐K                            CUMBERLAND DRIVE                                         PEWAUKEE         WI    53072
DONN ARMSTRONG                                  6807 SHERIDAN                                                                                    ANDERSON         IN    46013‐3609
DONN C BONNEY                                   22580 KIVIRANTA RD                                                                               PELKIE           MI    49958‐9723
DONN C LYNN JR                                  1560 CHELSEA                                                                                     SAN MARINO       CA    91108‐1819
DONN D VAUGHT                                   1320 RIVERSHYRE PKWY                                                                             LAWRENCEVILLE    GA    30043‐4434
DONN E BRECKENRIDGE                             14010 KIMPTON TRL                                                                                HIRAM            OH    44234‐9683
DONN E KOLB                                     R R 4 3464 PAINT CREEK RD                                                                        EATON            OH    45320‐9301
DONN J GREGORI                                  1009 DEWEY AVE                                                                                   EVANSTON         IL    60202‐1148
DONN K ROBERTS                                  4620 AZALEA LANE                                                                                 NORTH OLMSTEAD   OH    44070‐2451

DONN L ROBINSON                                 PO BOX 385                                                                                       OTISVILLE        MI    48463‐0385
DONN L SPENCER                                  6914 PARK SQUARE DR                     APT B                                                    AVON             IN    46123‐8884
DONN M HICKS                                    8994 HILL DR                                                                                     IRWIN            PA    15642‐3148
DONN M MARSHALL                                 10200 HADLEY RD                                                                                  CLARKSTON        MI    48348‐1918
DONN N RUSSELL                                  23 FERNDALE ROAD                                                                                 MADISON          NJ    07940‐1405
DONN O BONNER                                   1626 MERIDIAN                                                                                    ANDERSON         IN    46016‐1835
DONN W MILLER                                   540 ROCKWOOD SE                                                                                  SALEM            OR    97306‐1755
DONNA A ARMANDI                                 5 FOREST DR                             APT E                                                    GARNERVILLE      NY    10923‐2135
DONNA A BERKOBIEN                               2152 STANFORD AVE APT 112                                                                        CLOVIS           CA    93611‐4059
DONNA A BIERNAT                                 C/O PINTAR                              11000 E HOLLY ROAD                                       DAVISBURG        MI    48350‐1169
DONNA A BOBACK & CHARLES J RISIOTT JT TEN       1835 RANDOM OAKS DR                                                                              ROCKWALL         TX    75087
DONNA A DICKEY                                  27024 KENNEDY                                                                                    DEARBORN HEIGHTS MI    48127‐1627

DONNA A ESTRADA                                 6624 LOCKE AVE                                                                                   FORT WORTH       TX    76116‐4201
DONNA A FREE                                    124 FORT DE FRANCE AVE                                                                           TOMS RIVER       NJ    08757
DONNA A GREEN                                   ATTN DONNA A HAGAN                      2616 BROOKFIELD CT                                       COLUMBIA         IL    62236‐2619
DONNA A HAGERMAN                                10613 GRAND RIVER                                                                                PORTLAND         MI    48875‐9447
DONNA A HOULIHAN                                201 TAUNTON AVE                                                                                  NORTON           MA    02766‐3201
DONNA A KARR                                    688 WOODVILLE RD                                                                                 MANSFIELD        OH    44907
DONNA A NAFTALIS                                1125 PARK AVE                                                                                    NEW YORK         NY    10128‐1243
DONNA A RUNYAN                                  426 4TH AVE NW                                                                                   MINOT            ND    58701
DONNA A WAID                                    118 FOX HOLLOW DR                                                                                METAMORA         MI    48455‐8990
DONNA A WATSON                                  3114 FAIR OAK DRIVE                                                                              ROWLETT          TX    75089
DONNA A WHITE                                   117 BERKMAN CT                                                                                   LEXINGTON        SC    29072‐7259
DONNA ANDREASIK CUST BRENTON ROSS ANDREASIK     3602 ADVOCATE HILL DR                                                                            JARRETTSVILLE    MD    21084‐1503
UTMA MD
DONNA ANN DEMARIA                               10637 ENCINO COURT                                                                               PORT RICHEY      FL    34668
DONNA ANN JOHNSON                               24669 APPLECREST DRIVE                                                                           NOVI             MI    48375‐2603
DONNA ANNE SMYTHE                               393 WOODSWORTH RD                       WILLOWDALE ON                          M2L 2V1 CANADA
DONNA AUER                                      66 E FRONTIER ST                                                                                 APACHE JCT       AZ    85219
DONNA B BENSON TR UA 06/25/03 DONNA B BENSON    71 STANRIDGE RD                                                                                  CHAGRIN FALLS    OH    44022
TRUST
DONNA B CROSBY                                  2051 LAUREL SPRINGS LN                                                                           MT PLEASANT      SC    29466‐8668
DONNA B FORD                                    3228 NEWBURY PL                                                                                  TROY             MI    48084‐7043
DONNA B GARLAND                                 2619 CRESTWOOD AVE                                                                               NEW SMYRNA       FL    32168‐5656
DONNA B GETTIG                                  7149 ELDERWOOD CR                                                                                CLARKSTON        MI    48346‐1596
DONNA B JONES                                   1652 CORLETT WAY                                                                                 ANDERSON         IN    46011‐1102
DONNA B JONES                                   1652 CORLETTE WAY                                                                                ANDERSON         IN    46011‐1102
DONNA B KEELER                                  5934 E LAKE RD                                                                                   CONESUS          NY    14435‐9738
DONNA B KLINGLER                                4354 N GALE ROAD                                                                                 DAVISON          MI    48423‐8912
DONNA B LAMAR                                   6893 DAWNHILL RD                                                                                 MEMPHIS          TN    38135
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DONNA B MCCOY                                   1031 LOCHVALE DRIVE                                                                             APOPKKA           FL    32703
DONNA B MOORE                                   387 N JANESVILLE ST                                                                             MILTON            WI    53563‐1308
DONNA B PELSTRING CUST RYAN PATRICK HARROLD     6357 BRAVA WAY                                                                                  BOCA RATON        FL    33433‐8236
UTMA AL
DONNA B PELSTRING CUST SAMANTHA MARGARET        6357 BRAVA WAY                                                                                  BOCA RATON        FL    33433‐8236
HARROLD UTMA AL
DONNA B PELSTRING CUST TAYLOR ALEXIS PELSTRING  6357 BRAVA WAY                                                                                  BOCA RATON        FL    33433‐8236
UTMA AL
DONNA B PELSTRING CUST W R BRYCE PELSTRING UTMA 6357 BRAVA WAY                                                                                  BOCA RATON        FL    33433‐8236
AL
DONNA B POTTER                                  114 LOOMIS AVE                                                                                  CLIO              MI    48420‐1416
DONNA B SCANLAN & THOMAS M SCANLAN JT TEN       1512 OLDRIDGE AVE N                                                                             STILWATER         MN    55082‐1856

DONNA B SNAVELY                                 607 GAMBER LN                                                                                   LINDEN            MI    48451‐9761
DONNA B WHEELER                                 3070 WINDWARD PLZ STE F 113                                                                     ALPHARETTA        GA    30005‐8771
DONNA B WHEELER                                 1523 PARK WIND DR                                                                               KATY              TX    77450‐4641
DONNA BENEDICT                                  1861 COLLEGE AVE                                                                                LINCOLN PARK      MI    48146‐1312
DONNA BILLINGS                                  266 DUXBURY                                                                                     ROCHESTER         NY    14626‐2514
DONNA BOER ORR                                  40 PRAIRIEWOOD DR                                                                               FARGO             ND    58103‐4609
DONNA BOGGS                                     C/O DONNA LISA ELLIS                   2904 CANAL RD                                            HAMILTON          OH    45011‐2000
DONNA BONZACK                                   2148 S NEWBURGH                                                                                 WESTLAND          MI    48186‐3974
DONNA BOOK                                      1771 WILLIAMSBURG DR                                                                            STEVENSVILLE      MI    49127‐9594
DONNA BORETSKY                                  5626 SABIN AVE                         COTE ST LUC QC                         H4W 2V5 CANADA
DONNA BULLUSS HAAS                              25 SMITH ST                                                                                     BRISTOL           CT    06010‐2934
DONNA C CLAY                                    20276 BURT RD                                                                                   DETROIT           MI    48219‐1304
DONNA C CRIM TR DONNA C CRIM TRUST UA 1/16/96   5034 COUNTESS DR                                                                                COLUMBUS          IN    47203‐2817
AMENDED 09/10/99
DONNA C DARROW & JAMES L DARROW JT TEN          712 SHERIDAN AVE                                                                                ESCONDIDO         CA    92026‐2039
DONNA C DAVIE                                   637 W PARK DR SW                                                                                WARREN            OH    44485‐3478
DONNA C FISHER                                  16 MELROSE DR                                                                                   DESTREHAN         LA    70047‐2007
DONNA C GIBSON                                  6308 JASON LN                                                                                   DAYTON            OH    45459‐2537
DONNA C GODFREY TR UA GODFREY FAMILY TRUST      20101 VILLAGE 20                                                                                CAMARILLO         CA    93012‐7505
09/02/92
DONNA C HOPPES                                  2713 WEST HUNTSVILLE RD                                                                         PENDLETON       IN      46064‐9173
DONNA C JENNESS                                 8505 7TH PL S                                                                                   WEST PALM BEACH FL      33411‐5314

DONNA C LANGILLE                                PO BOX 17560                                                                                    TAMPA             FL    33682‐7560
DONNA C PARHAM                                  4140 CAMARGO DR                        APT B                                                    DAYTON            OH    45415‐3307
DONNA C PUTNAM                                  9872 JOHN WOODS RD                                                                              WINCHESTER        OH    45697‐9619
DONNA C SAVERINO                                504 ORCHARD VIEW                                                                                ROYAL OAK         MI    48073‐3323
DONNA C SMITH                                   1103 HICKORY HILL DR                                                                            GAUTIER           MS    39553‐2357
DONNA CARLYLE & TIM J CARLYLE JT TEN            1250 LIONS PEAK LN                                                                              SAN MARTIN        CA    95046
DONNA CARLYLE CUST TIM CARLYLE UGMA CA          12010 FOOTHILL AVENUE                                                                           SAN MARTIN        CA    95046‐9650
DONNA CARNER                                    1947 RAUCH RD                                                                                   ERIE              MI    48133‐9793
DONNA CARRINGTON CUST DIAMOND CARRINGTON        2410 HAMLETTE PL                                                                                SCOTCH PLAINS     NJ    07076
UTMA NJ
DONNA CARRINGTON CUST JAZMYN CARRINGTON         2410 HAMLETTE PL                                                                                SCOTCH PLAINS     NJ    07076
UTMA NJ
DONNA CARRINGTON CUST KEDAR CARRINGTON UTMA     2410 HAMLETTE PL                                                                                SCOTCH PLAINS     NJ    07076
NJ
DONNA CELIA ROMONTO                             3421 HIDDEN MEADOW COURT                                                                        LEWIS CENTERE      OH   43035‐9346
DONNA CHARIELLE                                 PO BOX 1102                                                                                     SMITHTOWN          NY   11787‐0958
DONNA CHILD                                     1438 E VINE MEADOW CIR                                                                          SALT LAKE CTY      UT   84121‐1785
DONNA COLE CUST ANDREW COLE UGMA IL             807 DANETH CT                                                                                   HIGHLAND PARK      IL   60035
DONNA COOPER                                    21900 MAUER                                                                                     SAINT CLAIR SHORES MI   48080‐2323

DONNA D ANDERSON & OLIVER B ANDERSON JT TEN     17370 TALL TREE TRAIL                                                                           CHAGRIN FALLS     OH    44023

DONNA D DERFLINGER                              324 BECHTEL RD                                                                                  LEAVITTSBURG      OH    44430‐9652
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Name                                             Address1                              Address2               Address3        Address4          City            State Zip

DONNA D FROLING                                  1932 SALISBURY                                                                                 GLADWIN         MI    48624‐8616
DONNA D HUFF                                     125 EATON RD                                                                                   ROCHESTER       NY    14617‐1648
DONNA D MACK                                     356 PACOLET TERRACE                                                                            THE VILLAGES    FL    32162‐8710
DONNA D MAYFIELD                                 2205 CANNIFF STREET                                                                            FLINT           MI    48504‐2076
DONNA D MCNEAL                                   6354 RUSTIC RIDGE TR                                                                           GRAND BLANC     MI    48439‐4957
DONNA D MCPHEARSON                               4611 BELHMANN FARMS BLVD                                                                       FLORISSANT      MO    63034‐2858
DONNA D RAMOS                                    321 NATALIE DRIVE                                                                              NEWBERG         OR    97132
DONNA D REDDEN TOD THOMAS ARCHIBALD SUBJECT      777 LAKE VIKING TERRACE                                                                        ALTAMONT        MO    64620
TO STA TOD RULES
DONNA D YIELDING                                 1523 S SECOND                                                                                  CABOT           AR    72023‐3344
DONNA D'IMPERIO                                  409 COFFEETOWN RD                                                                              EASTON          PA    18042‐9769
DONNA DANTZ TOPP                                 11590 SW 69TH CIR                                                                              OCALA           FL    34476
DONNA DAY LISLE CUST RISA STACEY LISLE UGMA PA   315 RIGHTERS MILL RD                                                                           GLADWYNE        PA    19035‐1536

DONNA DEAN POLO                              4 CHARMINSTER CT                                                                                   ALGONQUIN       IL    60102‐6210
DONNA DEMYAN                                 1853 BLUE CEDAR DR                                                                                 MANSFIELD       OH    44904‐1701
DONNA DEVORE CUST JAY METZGER UTMA KY        4114 HILLBROOK DR                                                                                  LOUISVILLE      KY    40220‐1117
DONNA DI FRANCESCO                           C/O HALASZ                                2601 VALLEYDALE RAOD                                     STOW            OH    44224‐2026
DONNA E BABBITT                              2 SVEA ST                                                                                          WORCESTER       MA    01607‐1125
DONNA E CABRERA                              178 E LANE AV                                                                                      COLUMBUS        OH    43201‐1213
DONNA E GILMORE                              C/O LAWTON                                68735 CALLE DENIA                                        CATHEDRAL CTY   CA    92234‐7104
DONNA E HERBERT                              3212 W 18TH ST                                                                                     ANDERSON        IN    46011‐3905
DONNA E HIGGINS                              1036 KINGSTON AVE                                                                                  FLINT           MI    48507‐4740
DONNA E KNOERL                               400 SKIATOOK LANE                                                                                  LONDON          TN    37774‐3189
DONNA E MANGIAMELI                           ATTN DONNA E NYHUIS                       9415 NE 16TH ST                                          BELLEVUE        WA    98004‐3430
DONNA E MANUEL                               138 MURRAY ST                                                                                      ROCHESTER       NY    14606‐1149
DONNA E MCGHEE                               17500 WILDMERE ST                                                                                  DETROIT         MI    48221‐2725
DONNA E RANKIN                               1354 KENNETH ST                                                                                    YOUNGSTOWN      OH    44505‐3826
DONNA EDWARDS JORDON & MICHAEL G MULLIG TEN 11089 OLD TRAIL RD                                                                                  NORTH           PA    15642‐2046
ENT                                                                                                                                             HUNTINGDON
DONNA ELLEN FELTS                            ATTN DONNA E SHERILL                      383 ANNA DR C                                            GREENWOOD       IN    46143‐2335
DONNA F BICKNELL                             6037 WALNUT CT                                                                                     BROWNSBURG      IN    46112‐8607
DONNA F BRONAUGH                             10656 PARK VILLAGE PLACE #D                                                                        DALLAS          TX    75230‐3901
DONNA F BYRON                                12 FREEMAN RD                                                                                      ALBANY          NY    12208‐1844
DONNA F DENNIS                               3848 DARLEEN COURT                                                                                 TROY            MI    48084‐1756
DONNA F FULLER                               PO BOX 9266                                                                                        PHOENIX         AZ    85068‐9266
DONNA F HESLER                               ATTN DONNA WALTER                         1224 ELMDALE DRIVE                                       KETTERING       OH    45409‐1610
DONNA F HOWELL & ORMAN R HOWELL JT TEN       155 DOGWOOD DRIVE                                                                                  ERIN            TN    37061‐5102
DONNA F ISHAM & DANIEL AUSTIN ISHAM JT TEN   4490 N WASHBURN                                                                                    DAVISON         MI    48423‐8006
DONNA F LODOEN                               12959 28TH STREET                                                                                  VICKSBURG       MI    49097‐9327
DONNA F MARSHALL                             97 ORMOND ST                                                                                       ALBANY          NY    12203‐2326
DONNA F MESSER & MICHAEL F MESSER JT TEN     97 ASHLEY CIR                                                                                      SWARTZ CREEK    MI    48473‐1175
DONNA F REED                                 3761 ORTEGA BLVD                                                                                   JACKSONVILLE    FL    32210
DONNA F WESTFALL                             905 HEATHSHIRE DRIVE                                                                               DAYTON          OH    45459
DONNA F WOODS                                167 N MADISON RD                                                                                   LONDON          OH    43140‐1013
DONNA FAHRBACH U/GDNSHP OF GLORIA G FAHRBACH 12050 W STATE ROUTE 105                   APT 105                                                  OAK HARBOR      OH    43449‐9094

DONNA FAY MAVROFTAS                             650 W BRIGHT RD                                                                                 DUNCAN          SC    29334‐9418
DONNA FAYE ISHAM                                4490 N WASHBURN RD                                                                              DAVIDSON        MI    48423‐8006
DONNA FERGUSON BLACKWELL                        PO BOX 44                                                                                       REDWOOD         MS    39156‐0044
DONNA FLORA CAMPBELL                            5523 E STATE ROAD 144                                                                           MOORESVILLE     IN    46158‐6064
DONNA G AYERS                                   7785 SERVICE ST SE                                                                              MASURY          OH    44438‐1318
DONNA G BERGER TR UA 5/13/92 DONNA G BERGER     9615 BITTEN DR                                                                                  BRIGHTON        MI    48114‐9629
TRUST
DONNA G BROOKE                                  5353 STUART CT                                                                                  NORFOLK         VA    23502‐4459
DONNA G BROWN                                   ATTN DONNA G ROBB                      108 KINSDALE DR                                          PITTSBURGH      PA    15237‐3921
DONNA G BURT & WILLIAM F BURT TR D BURT NOMINEE ONE HARVEST CIRCLE                     SUITE 003                                                LINCOLN         MA    01773‐3215
TRUST UA 09/13/01
DONNA G CRAWFORD                                5005 W UNIVERSITY                                                                               MUNCIE          IN    47304‐3459
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DONNA G CUMMINGS                                 2022‐29TH ST                                                                                  BEDFORD            IN    47421‐5304
DONNA G DIXIE                                    9340 MOSS CIR DR                                                                              DALLAS             TX    75243‐7427
DONNA G FABIAN                                   ATTN DONNA G FABIAN ECK              29 KING GEORGE'S GRANT                                   FREDERICKSBG       VA    22405‐1860
DONNA G FICARRA                                  PO BOX 40444                                                                                  TUSCALOOSA         AL    35404
DONNA G FIELDS                                   8812 SUZANNE COURT                                                                            INDIANAPOLIS       IN    46234‐9505
DONNA G FINCHER                                  6317 CHAMPIONSHIP DR                                                                          TUSCALOOSA         AL    35405‐5692
DONNA G FORTUNE                                  1705 FOUNTAIN VIEW LN                                                                         KOKOMO             IN    46902‐4576
DONNA G FRANCIS                                  3834 ELLISIA                                                                                  COMMERCE TWP       MI    48382‐1725
DONNA G FROST & ROBERT C FROST JT TEN            HC 88 BOX 37                                                                                  BOONEVILLE         KY    41314‐9119
DONNA G JONES                                    4415 N INDIANA                                                                                KANSAS CITY        MO    64117‐1215
DONNA G KRAMER                                   25 BRENTWOOD BLVD                                                                             NILES              OH    44446‐3227
DONNA G LENAGHAN                                 18 EAGLE VIEW GATE                   COCHRANE AB                            T4C 1P7 CANADA
DONNA G MILLER                                   7721 KENTUCKY                                                                                 DEARBORN           MI    48126‐1207
DONNA G MONTGOMERY                               339 CEDAR POINT RD                                                                            JOHNSON CITY       TN    37615‐4631
DONNA G NORTH                                    432 STUCKHARDT ROAD                                                                           TROTWOOD           OH    45426‐2706
DONNA G REVENAUGH                                C/O MICHAEL J TROMBLEY               329 S COMMERCE AVE                                       SEBRING            FL    33870‐3607
DONNA G SIMS                                     4304 SUNBURY RD                                                                               GALENA             OH    43021‐9318
DONNA G SMITH                                    196 EAST BRIARCLIFF                                                                           BOLINGBROOK        IL    60440‐3000
DONNA G STORMS                                   281 HARNESS DRIVE                                                                             SOUTHINGTON        CT    06489‐1810
DONNA G VALENTINE                                9005 RIVER VIEW DR                                                                            RIVERVIEW          FL    33569‐7907
DONNA GAY BOWLING                                6006 VEREKER DR                                                                               OXFORD             OH    45056‐1539
DONNA GAYLE BUCHANAN                             PO BOX 775                                                                                    CLAREMONT          NC    28610‐0775
DONNA GAYLE COOPER                               48107 SE 127TH ST                                                                             NORTH BEND         WA    98045‐8787
DONNA GIBSON                                     6670 HURON ST                                                                                 CASS CITY          MI    48726‐1242
DONNA GLOWACKI                                   8791 GRAHAM ST                                                                                WEEDSPORT          NY    13166‐9708
DONNA GRAESER                                    277 CONEJO SCHOOL RD                                                                          THOUSAND OAKS      CA    91362
DONNA GUERRIERO                                  4 PRINCETON DR                                                                                MIDDLESEX          NJ    08846‐1245
DONNA H BOLOGNA                                  4249 BORDEAUX DR                                                                              KENNER             LA    70065‐1739
DONNA H CROSS                                    PO BOX 78                            CHESTER NS                             B0J 1J0 CANADA
DONNA H NERI                                     1010 PLUM POINT ROAD                                                                          HUNTINGTOWN        MD    20639‐9246
DONNA H OSBORN                                   622 NEW BRIDGE RD                    B‐14                                                     SALEM              NJ    08079‐3314
DONNA H PETRY                                    185 W WOODLAND DR                                                                             PENDLETON          IN    46064‐9534
DONNA H RIGBY                                    1108 HARRISON AVE 3                                                                           SALT LAKE CITY     UT    84105‐2559
DONNA H SMITH                                    18579 DETTINGTON CT                                                                           LEESBURG           VA    20176‐5125
DONNA H TOLBERT                                  307 N ANITA STREET                                                                            LAFAYETTE          LA    70501‐3218
DONNA H YARBROUGH TR JESSE W HOWE TRUST UA       5460 COYOTE PASS ROAD                                                                         SHINGLE SPRINGS    CA    95682‐7506
12/04/02
DONNA HALL                                       12000 JUNIPER WAY                                                                             GRAND BLANC        MI    48439‐1714
DONNA HARPER                                     17213 SUNDERLAND RD                                                                           DETROIT            MI    48219‐4203
DONNA HARWELL                                    10132 ALICIA DR                                                                               MIDWEST CITY       OK    73130‐7511
DONNA HEISLER                                    632 PROSPECT ROW                                                                              SAN MATEO          CA    94401‐2324
DONNA HELM REGEN                                 401 ORCHARD LANE                                                                              ALLEN              TX    75002
DONNA HERNANDEZ & LOUIS HERNANDEZ JT TEN         2561 SW MONTERREY LN                                                                          PORT SAINT LUCIE   FL    34953‐2957
DONNA HILTZ                                      2120 RIFLE RIVER TRAIL                                                                        WEST BRANCH        MI    48661‐9711
DONNA HUFF                                       18952 HUNT RD                                                                                 STRONGSVILLE       OH    44136‐8414
DONNA I BENNETT                                  221 JOANNE LANE                                                                               DEKALB             IL    60115‐1909
DONNA I CANZONERI                                105 BIRCHWOOD RD                                                                              CORAM              NY    11727‐3678
DONNA I GORDON TR UA 05/19/2008 DONNA I          176 SCENIC VIEW DR                                                                            COPLEY             OH    44321
GORDON LIVING TRUST
DONNA I HOVEY                                    7105 E FRANCIS RD                                                                             MT MORRIS          MI    48458‐9714
DONNA I HOVEY TR UA 09/01/99 DONNA I HOVEY TRUST 7105 FRANCES ROAD                                                                             MOUNT MORRIS       MI    48458

DONNA I MOREY                                    7800 EVERGREEN RD                                                                             LITTLE ROCK        AR    72207
DONNA I VINT TR VINT FAMILY TRUST UA 1/25/96     3351 ALLSPICE RUN                                                                             NORMAN             OK    73026‐4507
DONNA I WESLEY                                   6435 MAPLE HILLS DR                                                                           BLOOMFIELD HILLS   MI    48301‐1324

DONNA J ALEXANDER                                5744 AMBER WAY                                                                                YPSILANTI          MI    48197‐8206
DONNA J ALI                                      3423 BELDEN AVE                                                                               YOUNGSTOWN         OH    44502‐3004
DONNA J ANDREWS                                  3517 TAMARACK                                                                                 MT MORRIS          MI    48458‐8211
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DONNA J ANDREWS & LEOLA ANDREWS JT TEN        3517 TAMARACK                                                                                    MT MORRIS         MI    48458‐8211
DONNA J ASTIN                                 400 VERNAL AVE                                                                                   MILTON            WI    53563‐1143
DONNA J BAILEY                                8499 S LINDEN RD                                                                                 SWARTZ CREEK      MI    48473‐9112
DONNA J BENNETT                               100 MOSS LN                                                                                      FRANKLIN          TN    37064‐5241
DONNA J BENNETT                               850 COTTON DEPOT LN 241                                                                          FORT WORTH        TX    76102‐5584
DONNA J BLADORN & STANLEY R BLADORN JT TEN    4031 TISBURY DR                                                                                  JANESVILLE        WI    53546‐1795
DONNA J BLASDELL                              12211 ELMS RD                                                                                    BIRCH RUN         MI    48415‐8786
DONNA J BLATTERMAN CUST AMY C ERNSBERGER      3681 PETERS RD                                                                                   TROY              OH    45373‐9284
UTMA OH
DONNA J BLATTERMAN CUST JOHN D ERNSBERGER     3681 PETERS RD                                                                                   TROY              OH    45373‐9284
UNDER THE OH TRAN MIN ACT
DONNA J BOETCHER                              3260 SEYMOUR LAKE ROAD                                                                           ORTONVILLE        MI    48462‐9136
DONNA J BOZUNG                                3376 CHERRY BLOSSOM CT                                                                           DAVISON           MI    48423‐1183
DONNA J BRODNICK                              1715 ERIC DR                                                                                     DAYTON            OH    45414‐3917
DONNA J BURNS                                 7040 PARTRIDGE DR                                                                                FLUSHING          MI    48433‐8816
DONNA J CARLSON                               5232 W CARPENTER RD                                                                              FLINT             MI    48504‐1029
DONNA J CHASE                                 1731 YUCCA CT                                                                                    FORT COLLINS      CO    80525‐2435
DONNA J CHRISTMAN                             2916 WALFORD DR                                                                                  DAYTON            OH    45440‐2237
DONNA J CHRISTMAN                             2916 WALFORD DR                                                                                  CENTERVILLE       OH    45440‐2237
DONNA J CLEVENGER                             24512 HAMPTON HILL ST                                                                            NOVI              MI    48375‐2617
DONNA J CLOE                                  2974 HORSE HILL E DR                                                                             INDIANAPOLIS      IN    46214‐1538
DONNA J COLEMAN                               369 PHEASANT RUN                                                                                 LOUISVILLE        CO    80027‐1141
DONNA J COLWELL                               38435 N BEVERLY AVE                                                                              SAN TAN VLY       AZ    85140‐4348
DONNA J CONWAY                                40 SEGSBURY RD                                                                                   WILLIAMSVILLE     NY    14221
DONNA J CONWAY TR CONWAY FAMILY TRUST UA      27559 VIA FORTUNA                                                                                SANJUANCAPISTRA   CA    92675‐5355
04/10/86                                                                                                                                       NO
DONNA J COX                                   6377 N SEYMOUR RD                                                                                FLUSHING          MI    48433‐1087
DONNA J DAVIDSON                              33814 FOUNTAIN BLVD                                                                              WESTLAND          MI    48185‐1408
DONNA J DAVIS                                 1330 BAY HILL CT                                                                                 WATERFORD         MI    48327‐1480
DONNA J DE PAOLA                              9S 40 LAKE DR                           APT 208                                                  WILLOWBROOK       IL    60527
DONNA J DENEVAN                               3202 PATTERSON                                                                                   WAYLAND           MI    49348‐9440
DONNA J DOTTERWEICH & JOHN F DOTTERWEICH JT   11641 DOGWOOD LANE                                                                               FORT MEYERS       FL    33931‐7132
TEN                                                                                                                                            BEACH
DONNA J DOWNS                                 C/O DAVID J DOWNS                       714 LARKSPUR BLVD                                        ACWORTH           GA    30102‐6935
DONNA J DUBICK                                9400 SPENCER LAKE RD                                                                             SPENCER           OH    44275‐9780
DONNA J DUNN                                  1225 BEAR CREEK PIKE                                                                             COLUMBIA          TN    38401‐6733
DONNA J DZAGULONES                            2418 22ND                                                                                        WYANDOTTE         MI    48192‐4430
DONNA J EARL                                  2436 PARKDALE                                                                                    WYOMING           MI    49509‐2133
DONNA J EHRMENTRAUT                           3 WEST AVE                                                                                       ELBA              NY    14058‐9754
DONNA J EISEN                                 55 BROTHERS ROAD                                                                                 POUGHQUAG         NY    12570‐5610
DONNA J EKREN                                 262 W ELMWOOD PL                                                                                 CHANDLER          AZ    85248‐6378
DONNA J ESCH                                  37135 LADYWOOD                                                                                   LIVONIA           MI    48154‐1712
DONNA J FAUST                                 619 HIGBIE PLACE NORTH                                                                           GROSSE PT WDS     MI    48236‐2415
DONNA J FEIGEL                                PO BOX 1375                                                                                      HOMEWOOD          IL    60430‐0375
DONNA J FERGUSON                              4026 N GENESEE ROAD                                                                              FLINT             MI    48506‐2142
DONNA J FINUCANE                              3 WEST AV                                                                                        ELBA              NY    14058‐9754
DONNA J FLEMING                               83 WATERMAN ST                                                                                   LOCKPORT          NY    14094‐4956
DONNA J FOOKS                                 5372 HINMAN ROAD                                                                                 LOCKPORT          NY    14094‐9202
DONNA J FRANKLIN                              17705 CONTINENTAL DR                                                                             BROOKFIELD        WI    53045‐1277
DONNA J FREET & RICHARD FREET JT TEN          109 CARLTON DR                                                                                   YORKTOWN          VA    23692‐3352
DONNA J GAWLAK                                5051 N ADRIAN HWY                                                                                ADRIAN            MI    49221‐8317
DONNA J GEORGE                                500 VALEWOOD COURT                                                                               ENGLEWOOD         OH    45322‐2313
DONNA J GORNEY                                180 BERING AVE                                                                                   BUFFALO           NY    14223‐2004
DONNA J HANKINS                               3 TWILIGHT DR                                                                                    SAINT PETERS      MO    63376‐3655
DONNA J HARMON                                13375 TYRINGHAM ST                                                                               SPRING HILL       FL    34609‐6466
DONNA J HARVEY                                104 52ND AVENUE PLZ W                                                                            BRADENTON         FL    34207‐2938
DONNA J HEBEKEUSER                            5073 N RIDGE RD                                                                                  CHESANING         MI    48616‐9607
DONNA J HEDGES                                711 CIRCLE DRIVE                                                                                 LONDON            OH    43140‐8916
DONNA J HERR                                  1225 GENELLA                                                                                     WATERFORD         MI    48328‐1338
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DONNA J HEYWOOD                                  16535 PINEHURST                                                                               DETROIT            MI    48221‐2837
DONNA J HOLZHAUSER                               PO BOX 1097                                                                                   MARBLE HILL        MO    63764‐1097
DONNA J HORTON                                   8218 BLUFF RD                                                                                 INDIANAPOLIS       IN    46217‐4487
DONNA J HUDSON                                   ATTN DONNA J LADD                    2152 WAYNOKA RD                                          EUCLID             OH    44117‐2433
DONNA J HUGHES                                   938 PEMBROOK RD                                                                               CLEVELAND HTS      OH    44121‐1402
DONNA J HUSTAD                                   PO BOX 12                                                                                     BELLE RIUE         IL    62810‐0012
DONNA J IDEN TR DONNA JEAN IDEN REVOCABLE INTER‐ 9255 HIGH POINT RD                                                                            THORNVILLE         OH    43076‐8734
VIVOS TRUST UA 5/23/94
DONNA J ISON                                     3310 WICKLOW ROAD                                                                             COLUMBUS           OH    43204‐1950
DONNA J JACKSON                                  19101 MILL ROAD                                                                               GEORGETOWN         IL    61846‐6257
DONNA J JEWELL                                   1038 EAST CENTRAL AVE                                                                         MIAMISBURG         OH    45342‐2556
DONNA J JOHNSON                                  824 WESTSIDE DR                                                                               IOWA CITY          IA    52246
DONNA J KEMP                                     233 HOCH ST                                                                                   DAYTON             OH    45410‐1515
DONNA J KETCHEM                                  RT 1 BOX 275 G                                                                                PHILIPPI           WV    26416
DONNA J KINNEY                                   534 MADERA ST                                                                                 LODI               OH    44254‐1120
DONNA J LAND                                     17223 SOUTH 92ND EAST AVENUE                                                                  BIXBY              OK    74008‐6418
DONNA J LAYMAN & FRANK E LAYMAN JT TEN           12703 ONEIDA WOOD TRAIL                                                                       GRAND LEDGE        MI    48837‐8942
DONNA J LIMA                                     217 A PINE RIVER DRIVE                                                                        NO KINGSTOWN       RI    02852‐2817
DONNA J LOCKMAN                                  40 NEPTUNE DR                                                                                 JOPPA              MD    21085
DONNA J LONG                                     279 E KINGSTON                                                                                KINGSTON SPRINGS   TN    37082‐8917

DONNA J LUCE                                    1210 BENT OAK AVE                                                                              ADRIAN             MI    49221‐1557
DONNA J MAXWELL                                 9635 TREETOP DRIVE                                                                             GALESBURG          MI    49053‐8702
DONNA J MC CRACKEN                              BOX 442                               SORRENTO BC                            V0E 2W0 CANADA
DONNA J MCCANN TR DONNA J MCCANN TRUST UA       3893 STATE ROUTE 743                                                                           MOSCOW             OH    45153‐7311
09/03/03
DONNA J MCCURDY                                 6699 HOWARD ROAD                                                                               WILLIAMSFIELD      OH    44093‐9761
DONNA J MCKENZIE                                364 CARPENTER RD                                                                               FOSTORIA           MI    48435
DONNA J MELHORN                                 4786 MANCHESTER RD                                                                             AKRON              OH    44319‐3329
DONNA J MIKULA                                  1443 GARFIELD NW                                                                               GRAND RAPIDS       MI    49504‐2926
DONNA J MOLASKI & MICHAEL R MOLASKI JT TEN      4266 PHEASANT DR                                                                               FLINT              MI    48506‐1742
DONNA J MOLASKI & TED L MOLASKI JT TEN          4266 PHEASANT DR                                                                               FLINT              MI    48506‐1742
DONNA J MONROE                                  2515 MABRY DR                                                                                  SACRAMENTO         CA    95835‐1501
DONNA J MORRIS                                  1500 W MOUNT MORRIS RD                                                                         MOUNT MORRIS       MI    48458
DONNA J MUHL & HENRY J MUHL JT TEN              2623 HIGH ST                                                                                   BLUE ISLAND        IL    60406‐2046
DONNA J MURPHY                                  ATTN DONNA J HART                     3204 WYATT AVE                                           BOWLING GREEN      KY    42101‐0767
DONNA J NAFIE CUST MATTHEW D NAFIE UTMA NJ      53 CASTLE WAY                                                                                  BASKING RIDGE      NJ    07920‐1302

DONNA J NICHOLS                                 1006 BOAT HOOK DR                                                                              CORDOVA          TN      38018‐2821
DONNA J OAKLEY                                  19802 WESTCHESTER DR                                                                           CLINTON TOWNSHIP MI      48038‐6417

DONNA J ODEN                                     204 SUMMERTREE CT                                                                             BOSSIER CITY       LA    71111‐5452
DONNA J PATRICK & DOUGLAS R PATRICK JT TEN       15825 GROVE RD                                                                                LANSING            MI    48906‐9355
DONNA J PAYNE                                    APT 507                              4 TREEWOOD AVE       SCARBORO ON       M1P 3J4 CANADA
DONNA J POKART                                   351 OLD BRIDGE RD                                                                             E NORTHPORT        NY    11731‐2609
DONNA J PORRECA                                  2966 COLUMBIA DR                                                                              BENSALEM           PA    19020‐2108
DONNA J PORTER & BRIAN E PORTER JT TEN           4323 LAWNWOOD ALNE                                                                            BURTON             MI    48529‐1924
DONNA J PORTER TOD BRIAN E PORTER SUBJECT TO STA 2003 HARBOR INN                                                                               HOLLAND            MI    49424
TOD RULES
DONNA J PULS                                     1635 HINER ROAD                                                                               ORIENT             OH    43146‐9404
DONNA J RAETZSCH                                 202 PARK VILLAGE                                                                              SEGUIN             TX    78155‐4019
DONNA J RAY‐YEAGER                               63 EVERGREEN DR                      BERKLEY HGHTS                                            BERKELEY HTS       NJ    07922
DONNA J REICH CUST CHRISTY M REICH UTMA NC       1594 BAYWOOD RD                                                                               FAYETTEVILLE       NC    28312‐8967
DONNA J REICH CUST JONATHAN G REICH UTMA NC      1594 BAYWOOD RD                                                                               FAYETTEVILLE       NC    28312‐8967

DONNA J RITTER & RONALD B RITTER JT TEN         1253 LAVENDER ST                                                                               MONROE             MI    48162‐2880
DONNA J ROSS                                    4046 MURIETTA AVENUE                                                                           SHERMAN OAKS       CA    91423‐4649
DONNA J ROSS                                    2011 SHADY LN                                                                                  DAYTON             OH    45432‐2009
DONNA J SALINAS                                 1020 W ALTO RD                                                                                 KOKOMO             IN    46902‐4909
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DONNA J SCHLEGEL                                 14177 SWONEE BEACH                                                                               FENTON           MI    48430‐3249
DONNA J SEELUND RACHELLE E SEELUND & REUBEN      561 E ROSS LN                           APT B4                                                   DANVILLE         IL    61832‐7749
MATTSON SEELUND JT TEN
DONNA J SHOBERG & ROGER L SHOBERG JT TEN         51664 CLUBHOUSE DR                                                                               SOUTH BEND       IN    46628‐9280
DONNA J SMITH                                    1708 ACE PL                                                                                      DAYTON           OH    45408‐2304
DONNA J SOERGEL                                  418 CHICAGO ST                                                                                   MILTON           WI    53563‐1510
DONNA J SORTOR                                   600 PEACEFUL LN                                                                                  ROSE CITY        MI    48654‐9401
DONNA J SPENCER                                  239 ST LEONARDS LN                      CRANBERRY TWSP                                           CRANBERRY TWP    PA    16066
DONNA J STEPANIC                                 640 MAPLEWOOD DRIVE                                                                              BROOKFIELD       OH    44403‐9722
DONNA J STEWART                                  409 HELEN DR                                                                                     HUBBARD          OH    44425‐2251
DONNA J STIEHL                                   2088 LAKEWOOD CIR                                                                                GRAYSON          GA    30017‐1267
DONNA J STONE                                    4791 EAST STATE RD 124                                                                           PERU             IN    46970‐7108
DONNA J SUCHER                                   7214 WOODMONT WAY                                                                                TAMARAC          FL    33321‐2650
DONNA J SWARTZ                                   640 MCKEIGHAN                                                                                    FLINT            MI    48507
DONNA J THOMPSON                                 419 SPARKS LANE                                                                                  WALLED LAKE      MI    48390‐3760
DONNA J TROUT                                    396 W OVERTON RD                                                                                 SCOTTDALE        PA    15683
DONNA J VANDENBERG & LUKE D VANDENBERG JT TEN    5034 ALEXANDER DRIVE                                                                             BRITTON          MI    49229

DONNA J VANDER KLIPP & LAWRENCE E VANDER KLIPP   926 IRONWOOD CIRCLE N W                                                                          GRAND RAPIDS     MI    49544‐7913
JT TEN
DONNA J VANDERHEIDEN & ROBERT VANDERHEIDEN JT    26 LOXLEY RD                                                                                     PORTSMOUTH       VA    23702‐1835
TEN
DONNA J VANHOUSEN                                1437 FIELDCREST DR                                                                               WEBSTER          NY    14580‐9369
DONNA J VANOEFFELEN                              PO BOX 346                                                                                       SPARTA           MI    49345‐0346
DONNA J VENDITTI                                 997 EAST BROADWAY                                                                                MILFORD          CT    06460‐6308
DONNA J VETTE                                    190E HICKORY STREET                                                                              MONTROSE         MI    48457
DONNA J WELDAY                                   3699 S TURKEYFOOT RD                                                                             AKRON            OH    44319‐2959
DONNA J WERNER                                   995 BRISTON DR                                                                                   ROCHESTER HLS    MI    48307‐4606
DONNA J WEST                                     6461 NEWS RD                                                                                     CHARLOTTE        MI    48813‐9330
DONNA J YANNI & PETER S YANNI JT TEN             954 ROCKLYN RD                                                                                   SPRINGFIELD      PA    19064‐3925
DONNA J ZAGORSKI                                 4355 LEACH STREET                                                                                CASS CITY        MI    48726‐1450
DONNA J ZEMAITIS                                 17007 8TH AVE                                                                                    MARNE            MI    49435‐9617
DONNA J ZYGAI TR THE DONNA ZYGAI TRUST UA        42335 SABLE BLVD                                                                                 STERLING HTS     MI    48314‐1997
10/12/99
DONNA JAMESON                                    BOX 3237                                                                                         EARLY            TX    76803‐3237
DONNA JANE ONLEY                                 15 ELIZABETH COURT                                                                               NEWARK           DE    19711‐5682
DONNA JANETTE DISHAROON KLINE                    2632 BAPAUME AVE                                                                                 NORFOLK          VA    23509‐1702
DONNA JEAN BAKER MARY MARGARET BAKER &           C/O MISS MARY M BAKER                   2678 STATE RT 534                                        SOUTHINGTON      OH    44470‐9524
SHIRLEY ANN FARMER TEN COM
DONNA JEAN BOZUNG                                3376 CHERRY BLOSSOM CT                                                                           DAVISON          MI    48423‐1183
DONNA JEAN DARLING                               403 MAIN STREET                                                                                  NEWFIELD         NY    14867‐9450
DONNA JEAN DICKINSON                             1919 KENTUCKY AVE                                                                                KENNER           LA    70062
DONNA JEAN DROSCHA                               1863 E MONONA DR                                                                                 PERU             IN    46970‐8381
DONNA JEAN FLOYD                                 2785 ARONA ST                                                                                    ROSEVILLE        MN    55113‐3189
DONNA JEAN FREDERICKSON HARNAGE                  3940 LA HACIENDA DR                                                                              SN BERNRDNO      CA    92404‐2041
DONNA JEAN HAYES                                 109 COLLINS AVE                                                                                  BALBOA ISLAND    CA    92662‐1107
DONNA JEAN HUMBERT                               181 BRAEMAR AVE                                                                                  VENICE           FL    34293‐8218
DONNA JEAN JONES                                 1025 E ST JAMES AVE                                                                              ORANGE           CA    92865
DONNA JEAN KESSLER                               727 CHELSEA PL                                                                                   JANESVILLE       WI    53546‐1854
DONNA JEAN KUPPER CUST JEFFREY GEORGE KUPPER     13807 GOODMAN ST                                                                                 OVERLAND PARK    KS    66223‐1136
UGMA MN
DONNA JEAN KUPPER CUST MELISSA RUTH KUPPER       405 HIGHWAY A1A                         APT 342                                                  SATELLITE BCH    FL    32937‐2318
UGMA MN
DONNA JEAN LANE                                  880 WESTRIDGE DRIVE                                                                              PORTOLA VALLEY   CA    94028‐7335
DONNA JEAN MACBLANE                              1171 WEILAND ROAD                                                                                ROCHESTER        NY    14626‐3916
DONNA JEAN MUHL                                  2623 HIGH STREET                                                                                 BLUE ISLAND      IL    60406‐2046
DONNA JEAN PATTON                                10808 PINEHURST                                                                                  PLYMOUTH         MI    48170‐5844
DONNA JEAN THOMPSON                              1347 W MADERO AVENUE                                                                             MESA             AZ    85202‐7513
DONNA JEAN TOWNS                                 4806 CANTERBURY CIR                                                                              TEMPLE           TX    76502‐3882
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DONNA JEAN TYCHEWICZ                              1001 W SUNWARD DR                                                                                   GILBERT            AZ    85233‐7124
DONNA JENKINS POINDEXTER                          1434 FAIRLANE DR                                                                                    RICHMOND           KY    40475‐1139
DONNA JIM HEATER                                  5010 STEPHANY DR                                                                                    ANDERSON           IN    46017‐9719
DONNA JOHNSON & CARL JOHNSON JT TEN               3208 JUNCTION CIRCLE                                                                                LAKELAND           FL    33805‐5204
DONNA JUNE COLLINS                                1696 PORTLAND AVE                                                                                   SAINT PAUL         MN    55104‐6839
DONNA JUNE LEONARD                                2123 SEVIERVILLE RD                                                                                 MARYVILLE          TN    37804‐5203
DONNA JUNE WALL                                   4490 FREIERMUTH RD                                                                                  STOCKBRIDGE        MI    49285
DONNA JUNER                                       218 SUMMIT AVE                                                                                      CONSHOHOCKEN       PA    19428‐2228
DONNA K ALBRIGHT                                  948 HONEYSUCKLE TRAIL                                                                               WINDER             GA    30680‐3008
DONNA K BRADLEY                                   7605 AVALON DR                                                                                      PLANO              TX    75025
DONNA K CAMPBELL                                  7742 SHEPHERDESS DR                                                                                 DAYTON             OH    45424‐2323
DONNA K CIESLAK                                   32409 GROAT BLVD                                                                                    BROWNSTOWN         MI    48173‐8635
DONNA K HOGUE                                     45216 JEANETTE                                                                                      BELLEVILLE         MI    48111‐2479
DONNA K HOSMER                                    13240 HARBOVIEW DR                                                                                  LENDEN             MI    48451
DONNA K MIESCKE                                   1925 DECLARATION DRIVE                                                                              EAU CLAIRE         WI    54703‐1394
DONNA K MILLER                                    715 CHERRYMONTE DR                                                                                  COLUMBUS           OH    43228‐5702
DONNA K WAMPLER                                   2854 CREEKWOOD DRIVE                                                                                SALEM              VA    24153‐8125
DONNA K WINANS                                    8300 NW 99TH ST                                                                                     OKLAHOMA CITY      OK    73162‐5003
DONNA KAY ALLEN                                   375 GREENBRIAR LANE                                                                                 CRETE              IL    60417‐1110
DONNA KAY DAVIS                                   C/O GARY OWEN TRUST OFFICER         THE NORTH SALEM ST BK ADM   7 N BROADWAY ST   PO BOX 97         NORTH SALEM        IN    46165
DONNA KAY LISLE CUST ANNA CAMILLE LISLE UGMA PA   315 RIGHTERS MILL RD                                                                                GLADWYNE           PA    19035‐1536

DONNA KAY SHEA & GARY SHEA JT TEN             501 PENN ST                                                                                             NEW BETHLEHEM      PA    16242‐1115
DONNA KAYE CUMMINGS                           305 QUAKER ST                                                                                           ST GEORGE          SC    29477‐2534
DONNA KENNEDY CUST KELLY RYAN KENNEDY UGMA NY APT 4‐F                                 511 E 20TH ST                                                   NY                 NY    10010‐7527

DONNA KIRCHOFF                                    8049 S SAYRE                                                                                        BURBANK            IL    60459‐1626
DONNA KREBS                                       2504 ROBERT HIRAM DR                                                                                GAUTIER            MS    39553‐7435
DONNA KRILLA                                      836 BRANNOCK COURT                                                                                  JONESBORO          GA    30238‐4441
DONNA L ABNEY                                     2446 N LAFOUNTAIN ST                                                                                KOKOMO             IN    46901‐1404
DONNA L ALMBURG                                   61 N OUTER DR                                                                                       VIENNA             OH    44473
DONNA L ALSOBROOK                                 862 SPRING CANYON PLACE                                                                             NEWBURY PARK       CA    91320‐5823
DONNA L BARTOLONE                                 126 BROOKDALE DRIVE                                                                                 WILLIAMSVILLE      NY    14221‐3274
DONNA L BELTZ                                     307 PARK AVE                                                                                        NEW CASTLE         DE    19720‐4799
DONNA L BENNETT                                   11812 ELK HEAD RANGE RD                                                                             LITTLETON          CO    80127‐3705
DONNA L BLACKWELL                                 10600 WOODHOLLOW RD                                                                                 CHARLOTTE          NC    28227‐9660
DONNA L BLAKE                                     10452 W DEVONSHIRE AVE                                                                              PHOENIX            AZ    85037‐5811
DONNA L BOERS                                     C/O MRS DONNA L DIAZ                7323 BENNINGTON PIKE                                            RAVENNA            OH    44266‐8947
DONNA L BUTZ                                      6622 KINGFISHER CT                                                                                  APPLETON           NY    14008
DONNA L CAHAN                                     3267 JAMES HARBOR WAY                                                                               LAWRENCEVILLE      GA    30044‐3433
DONNA L CARROLL                                   457 ASHLAND DRIVE                                                                                   CORPUS CHRISTI     TX    78412‐2327
DONNA L COLLICOTT                                 686 FREDERICK CIRCLE                                                                                ROANOKE            IN    46783‐8841
DONNA L CONFORTI                                  13026 IOWA                                                                                          WARREN             MI    48093‐3107
DONNA L CRIBBS                                    60 KNOPP RD                                                                                         EVA                AL    35621
DONNA L CROFT                                     8595 VALLEY DRIVE                                                                                   MIDDLETOWN         MD    21769‐9002
DONNA L CUNNINGHAM                                9292 WOODSIDE TRAIL                                                                                 SWARTZ CREEK       MI    48473‐8565
DONNA L DAVIS & MANNING G DAVIS JT TEN            HC65 BOX 7D                                                                                         ALPINE             TX    79830‐9701
DONNA L DUVAL CUST JON KRISTIAN DUVAL UGMA MA     52 LORENA RD                                                                                        WINCHESTER         MA    01890‐3125

DONNA L ESPOSITO                                  41 HARTSWOOD RD                                                                                     STAMFORD           CT    06905‐2208
DONNA L ESSY                                      427 JOYCE DR                                                                                        FLUSHING           MI    48433‐1378
DONNA L FERGUSON                                  5530 COTTONWOOD DR                                                                                  SWARTZ CREEK       MI    48473‐9425
DONNA L FISH                                      1348 WALLNER QUARRY RD                                                                              BEDFORD            IN    47421‐8165
DONNA L FONTANA                                   43613 BUCKTHORN CT                                                                                  STERLING HEIGHTS   MI    48314‐1882

DONNA L FORD                                      19892 N SHADOW MOUNTAIN DR                                                                          SURPRISE           AZ    85374‐4941
DONNA L FRANCK                                    5526 ARCOLA AVE                                                                                     DAYTON             OH    45449‐2716
DONNA L GILLESPIE                                 ATTN DONNA L SAMUELS                10 CARLYLE PL                                                   THE WOODLANDS      TX    77382‐2589
DONNA L GOLDSWORTHY                               6171 S MAIN ST                                                                                      CLARKSTON          MI    48346‐2364
                                               09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DONNA L GREENROSE & PENTT I GREENROSE JT TEN     7013 LOMBARD LN                                                                                  FREDERICKSBURG    VA    22407‐6407

DONNA L GREGORY & JUNIOR B GREGORY JT TEN        11298 17 MILE                                                                                    EVART             MI    49631‐8358
DONNA L HAAG                                     6158 AUGUSTA CIRCLE                                                                              SALISBURY         MD    21801‐1742
DONNA L HAIDERER                                 10100 RIDGE RD                                                                                   GOODRICH          MI    48438‐9416
DONNA L HANSON                                   1907 NICOLET                                                                                     JANESVILLE        WI    53546‐5759
DONNA L HARNICK & BRAD L HARNICK JT TEN          2449 S BELSAY RD                                                                                 BURTON            MI    48519‐1217
DONNA L HYATT                                    612 HARRISON                                                                                     GARDEN CITY       MI    48135‐3125
DONNA L HYLAND                                   1 SOUTHWOOD CIR                                                                                  HAMPDEN           MA    01036‐9547
DONNA L JENKS                                    314 EVERDALE RD                                                                                  PEACH TREE CITY   GA    30269‐1191
DONNA L JOHNSTON                                 5453 EASTVIEW DR                                                                                 CLARKSTON         MI    48346‐4109
DONNA L JONES                                    705 SANDRA LN                           APT 171                                                  N TONAWANDA       NY    14120‐6494
DONNA L JOSEPH & KHRISTINE JOSEPH JT TEN         27968 OAKLEY ST                                                                                  LIVONIA           MI    48154‐3988
DONNA L KARWOWSKI                                3695 HIGHCREST DR                                                                                BRIGHTON          MI    48116‐3704
DONNA L LA DUKE                                  5709 EAST 75TH PLACE                                                                             TULSA             OK    74136
DONNA L LEIMBACH                                 3037 LOST NATION ROAD                                                                            WILLOUGHBY        OH    44094‐7672
DONNA L MC CLEARY CUST DAVID P MC CLEARY UTMA    155 LAKE PARK DR                                                                                 ALEXANDRIA        KY    41001‐1375
OH
DONNA L MC CLURE                                 2308 HERON HILL PLACE                                                                            LYNCHBURG         VA    24503‐3312
DONNA L MCDONALD                                 5821 BUTANO PARK DR                                                                              FREMONT           CA    94538‐3905
DONNA L MODJESKI CUST TYLER D MODJESKI UTMA FL   2601 BRIANHOLLY DRIVE                                                                            VALRICO           FL    33594

DONNA L MUSGROVE                                 202 SAGE AVE                                                                                     POTEAU            OK    74953‐4025
DONNA L NARNEY                                   1302 GUMWOOD DRIVE                                                                               COLUMBUS          OH    43229‐4425
DONNA L NEWELL                                   102B N CEDAR ST                                                                                  ADAMS             WI    53910‐9431
DONNA L OLSEN & PAUL R OLSEN JT TEN              2207 SCHEFFER AVE                                                                                SAINT PAUL        MN    55116‐1161
DONNA L PAPPERT                                  4980 BROWNSVILLE RD                                                                              POWDER SPRINGS    GA    30127‐3096

DONNA L PENNY                                    464 FIRE TOWER ROAD                                                                              RICHLANDS         NC    28574‐8162
DONNA L POVICH & THOMAS POVICH JT TEN            1952 VENICE ST                                                                                   DEARBORN          MI    48124‐4141
DONNA L PRICE                                    2365 TAYLOR CT                                                                                   WAYNESVILLE       OH    45068
DONNA L PRZYBYLA                                 8850 MASON                                                                                       TAYLOR            MI    48180‐2947
DONNA L PUGLIESE                                 6 TWIN LEAF LANE                                                                                 LEVITTOWN         PA    19054‐2222
DONNA L RANDLE                                   3445 WILTSHIRE BLVD                     NIAGARA FALLS ON                       L2J 3M1 CANADA
DONNA L RANDLE                                   3445 WILTSHIRE BLVD                     NIAGRA FALLS ON                        L2J 3M1 CANADA
DONNA L RINZ                                     5365 N GALE RD                                                                                   DAVISON           MI    48423‐8913
DONNA L ROBINSON                                 4129 ZAGER ROAD                                                                                  BATAVIA           OH    45103‐3231
DONNA L RUMAN                                    26610 CAYMAN DR                         TAURES                                                   TAVARES           FL    32778‐9727
DONNA L SANFORD                                  8201 PINE LAKE DR                                                                                DAVISBURG         MI    48350
DONNA L SHEPARD                                  919 W CLARKSTON RD                                                                               LAKE ORION        MI    48362‐2576
DONNA L SMITH                                    15244 MIMOSA TRAIL                                                                               MONTCLAIR         VA    22026‐1072
DONNA L SMITH                                    45353 RECTOR DR                                                                                  CANTON            MI    48188‐1660
DONNA L SNOW & WALTER F SNOW JT TEN              2001 PUCKER ST                                                                                   STOWE             VT    05672‐4573
DONNA L SNOW & WALTER F SNOW JT TEN              2001 PUCKER ST                                                                                   STOWE             VT    05672‐4573
DONNA L SPRING                                   7873 MEADOW DR 50                                                                                WATERFORD         MI    48329‐4614
DONNA L SPRINGER                                 5931 SUSON PL APT 4                                                                              SAINT LOUIS       MO    63139‐1811
DONNA L STRIGARI                                 7112 LINCOLN DRIVE                                                                               PHILADELPHIA      PA    19119
DONNA L SWANSON                                  263 TAMARACK                                                                                     SALINE            MI    48176‐9573
DONNA L SWING                                    10318 CENTINELLA DRIVE                                                                           LA MESA           CA    91941‐7056
DONNA L TEIXEIRA & RICHARD H TEIXEIRA JT TEN     475 PAISANO CT                                                                                   RENO              NV    89511‐1542
DONNA L TIGNER                                   26228 COLGATE                                                                                    INKSTER           MI    48141‐3206
DONNA L VAN METER                                2315 TROY LN                                                                                     PLYMOUTH          MN    55447‐2023
DONNA L WATT                                     19 NOEL DR                                                                                       ROCHESTER         NY    14606‐4912
DONNA L WESOLICH & JOHN R WESOLICH JT TEN        9218 LARAMIE DR                                                                                  CRESTWOOD         MO    63126‐2710
DONNA L WHITE                                    1183 OLD MERCER RD                                                                               MERCER            PA    16137‐3529
DONNA L WIGNALL                                  5109 S DIAMOND POINT                                                                             MAPLETON          IL    61547‐9582
DONNA L WILLIAMS TR DONNA L WILLIAMS LIVING      2481 BEACON HILL DR                                                                              ROCHESTER HILLS   MI    48309‐1518
TRUST UA 5/19/99
DONNA L WILSON                                   3776 FINCH                                                                                       TROY              MI    48084‐1612
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DONNA L WINCHESTER                               305 C DUNLAP ST                                                                                LANCASTER         SC    29720‐2480
DONNA L WOLTER                                   500 MAPLE RIDGE RD                    LAKEWOOD VILLAGE LOT #8                                  MEDINA            NY    14103‐1813
DONNA L ZAGORSKI                                 300 MARTINDALE DR                                                                              RALEIGH           NC    27614‐9508
DONNA L ZAKALOWSKI                               19360 BRADY                                                                                    REDFORD           MI    48240‐1301
DONNA LA SALLE BASKIN & MARY D LA SALLE JT TEN   1307 DUKES PKWY                                                                                MANVILLE          NJ    08835‐1125

DONNA LAMUNYON                                   146 S 560 E                                                                                    LOGAN             UT    84321‐5332
DONNA LAWRENCE CUST LUCAS LAWRENCE UTMA MA       39 CROSS ST                                                                                    UXBRIDGE          MA    01569

DONNA LEA MC WHIRTER                             C/O SMITH                             113 S MAIN ST                                            HOLLEY            NY    14470‐1219
DONNA LEDFORD                                    536 FOREST RIDGE                                                                               CINCINNATI        OH    45244
DONNA LEE CARLSON & JERRY CARLSON JT TEN         734 N MT                                                                                       BUTTE             MT    59701‐8661
DONNA LEE CLARK                                  C/O DONNA LEE CLARK                   863 NOVA RD                                              PINE              CO    80470‐7943
DONNA LEE LOWEN                                  555 VICK PL                                                                                    BEVERLY HILLS     CA    90210‐1930
DONNA LEE MCCULLOUGH CUST JOHNATHAN DAVID        PO BOX 216                            115 HARRISONVILLE RD                                     RICHWOOD          NJ    08074
MCCULLOUGH UTMA NJ
DONNA LEE PARKER                                 PO BOX 16                                                                                      CLARKSVILLE       OH    45113‐0016
DONNA LEE SMITH                                  3720 SHIMMONS CIR N                                                                            AUBURN HILLS      MI    48326‐3914
DONNA LEE SMITH                                  3720 SHIMMONS CIRCLE N                                                                         AUBURN HILLS      MI    48326‐3914
DONNA LESTER                                     5080 FM 1553                                                                                   LEONARD           TX    75452‐6929
DONNA LEWELLEN MILLER                            BOX 148                                                                                        ATLANTA           IN    46031‐0148
DONNA LITTLE                                     5953 CARLTON AVENUE                   NIAGARA FALLS ON                       L2G 5J6 CANADA
DONNA LORMAN                                     4 ALEXANDRIA AVE                                                                               BALDWINVILLE      MA    01436‐1352
DONNA LOU CARROLL                                2148 DIAMOND MILL RD                                                                           BROKVILLE         OH    45305
DONNA LOU CHANDLER TR DONNA LOU CHANDLER         11514 EAST 35TH ST S                                                                           INDEPENDENCE      MO    64052‐2715
REVOCABLE TRUST UA 07/09/96
DONNA LOU DORNICK ROBBINS                        339 SHADYWOOD DR                                                                               DAYTON            OH    45415‐1241
DONNA LOU HALL                                   8216 BOLINGBROOK AVE                                                                           LAS VEGAS         NV    89149‐4933
DONNA LOUISE SPRUNG                              5820 WINDY ACRES                                                                               BERRIEN SPRINGS   MI    49103‐1524
DONNA LYNN DREBES                                6943 HIGHWAY F                                                                                 HANNIBAL          MO    63401‐6405
DONNA LYNN WETZLER                               6645 MEJESTIC DRIVE                                                                            FRT COLLINS       CO    80528‐8891
DONNA M AGNITTI                                  324 BEAGHAN DR                                                                                 GLEN BURNIE       MD    21060‐8227
DONNA M ALBRECHT                                 2096 PARADISE DR                                                                               LEWISBURG         TN    37091‐4534
DONNA M ALLEN CUST NATHAN M ALLEN UTMA WA        4317 N TERRACE DR                                                                              OAK HARBOR        WA    98277‐9515

DONNA M ANGELL                                9310 BAYON BLUFF                                                                                  SPRING            TX    77379‐4449
DONNA M ARLANDS CUST JOSEPH D ARLANDS UTMA CT 54 GREEN POND ROAD                                                                                SHERMAN           CT    06784‐1809

DONNA M ARLANDS CUST NICKOLAS P ARLANDS UTMA     54 GREEN POND ROAD                                                                             SHERMAN           CT    06784‐1809
CT
DONNA M BAIN                                     ATTN DONNA M BAIN MURRAY              S41 W35010 ROBIN HOOD DR                                 DOUSMAN           WI    53118‐9712
DONNA M BAKONY                                   422 PITKIN HOLLOW                                                                              TRUMBULL          CT    06611‐5614
DONNA M BALDAUF                                  6475 LUDON DR                                                                                  HAMBURG           NY    14075‐7318
DONNA M BALLARD CUST GREGORY G BALLARD UTMA      5314 WILD BLACKBERRY                                                                           KINGWOOD          TX    77345‐2022
TX
DONNA M BARONZZI                                 91 KIKIAO ST                                                                                   KAPOLEI           HI    96707
DONNA M BARTELS & GREGORY L BARTELS & JULIE K    1601 STONY BROOK                                                                               COLUMBIA          MO    65203‐1544
ROLING JT TEN
DONNA M BELCOURT                                 90 TUMBLEBROOK RD                                                                              MERIDEN           CT    06450‐4780
DONNA M BENNETT                                  222 N NINE MILE RD                                                                             LINWOOD           MI    48634‐9763
DONNA M BERMAN                                   503 TOWNLINE ST                                                                                OAK HARBOR        OH    43449‐1159
DONNA M BIROS & ANNE VOYTEK JT TEN               240 WOOLEA CRESCENT                   OSHAWA ON                              L1J 3J3 CANADA
DONNA M BOSCH                                    14274 REDICK AVE                                                                               OMAHA             NE    68164‐1205
DONNA M BRADSHAW & DANA K WHELAN JT TEN          1092 WASHINGTON CIRCLE                                                                         NORTHVILLE        MI    48167‐1006
DONNA M BRADSHAW & JULIE A MC DIARMID JT TEN     1092 WASHINGTON CIR                                                                            NORTHVILLE        MI    48167‐1006

DONNA M BRAWNER                                  4837 HOOVER AVE                                                                                DAYTON            OH    45427‐3147
DONNA M BRENNAN                                  5351 CREEKSIDE LN                                                                              GENESEO           NY    14454‐9613
DONNA M BROWN                                    815 ALTHEA DR                                                                                  MIAMISBURG        OH    45342
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DONNA M BURNS                                   4 SANDRA CT                                                                                     SAGINAW            MI    48602‐1840
DONNA M BUTLER                                  18630 BINDER                                                                                    DETROIT            MI    48234‐1947
DONNA M CANNON CUST ERICA C CANNON UTMA GA      435 LANCELOT TRL                                                                                MCDONOUGH          GA    30252‐6988

DONNA M CARPENTER                               65 OX YOKE DR                                                                                   WETHERSFIELD       CT    06109‐3751
DONNA M CARPENTER                               464 W 146TH ST #3FL                                                                             NEW YORK           NY    10031‐4721
DONNA M CASWELL & DARLENE R BAUT JT TEN         9410 SILVERSIDE DR                                                                              SOUTH LYON         MI    48178
DONNA M CATANIA                                 3906 MILLER PL                                                                                  LEVITTOWN          NY    11756‐5716
DONNA M CATHCART                                19817 OCOTILLO DR                                                                               PFLUGERVILLE       TX    78660‐5273
DONNA M CHARLICK                                1107 CLYDE RD                                                                                   HIGHLAND           MI    48357‐2211
DONNA M CHEADLE                                 2427 CLOVER BLOSSOM CT                                                                          GROVE CITY         OH    43123‐9703
DONNA M COLORITO                                200 OAK HILL DR                                                                                 NYACK              NY    10960‐1107
DONNA M CORDINGLEY                              2055 BRYAN AVE                                                                                  SALT LAKE CTY      UT    84108
DONNA M COYLE                                   798 GREEN DR                                                                                    MIO                MI    48647
DONNA M CROW                                    PO BOX 159                                                                                      CLAYTON            OH    45315‐0159
DONNA M CUNNINGHAM                              1351 QUAKER CHURCH RD                                                                           STREET             MD    21154‐1713
DONNA M DALEY                                   ATT DONNA M PLATT                      50 IROQUOIS RD                                           OSSINGING          NY    10562‐3826
DONNA M DEL SIMONE                              6100 BARRETT AVE                                                                                EL CERRITO         CA    94530‐1520
DONNA M DEONOFRIO                               6614 HARRINGTON AVE                                                                             YOUNGSTOWN         OH    44512‐4137
DONNA M DI CARLO & GEORGE M DI CARLO JT TEN     5307 HANGING CLIFF COVE                                                                         AUSTIN             TX    78759‐5566

DONNA M DICALLO CUST AMANDA L BLANKENBAKER      5307 HANGING CLIFF CV                                                                           AUSTIN             TX    78759‐5566
UGMA MI
DONNA M DICARLO                                 5307 HANGING CLIFF CV                                                                           AUSTIN             TX    78759‐5566
DONNA M DICOSTA                                 19 WILLIAM ST                                                                                   SAYREVILLE         NJ    08872‐1144
DONNA M DOWLING                                 PO BOX 70109                                                                                    FAIRBANKS          AK    99707‐0109
DONNA M DREHER                                  5338 MIDVALE CT                                                                                 PLEASANTON         CA    94588‐3630
DONNA M DUDRO                                   2106 WALCH ST                                                                                   MONONGAHELA        PA    15063‐9445
DONNA M EDO                                     358 WEATHERLY TRAIL                                                                             GUILFORD           CT    06437‐1201
DONNA M EGAN                                    12321 SE EVERGREEN HIGHWAY                                                                      VANCOUVER          WA    98683‐6633
DONNA M ELLIES                                  33064 MINA                                                                                      STERLING HEIGHTS   MI    48312‐6640

DONNA M ELLUL                                   1208 WHEATHILL STREET                  KINGSTON ON                            K7M 0A7 CANADA
DONNA M ELLUL                                   1208 WHEATHILL STREET                  KINGSTON ON                            K7M 0A7 CANADA
DONNA M ELLUL                                   1208 WHEATHILL STREET                  KINGSTON ON                            K7M 0A7 CANADA
DONNA M ETTINGER                                29195 ASTER LN                                                                                  BIG PINE KEY       FL    33043‐6052
DONNA M EWING                                   17‐025 ROAD B                          ROUTE #1                                                 NEW BAVARIA        OH    43548‐9801
DONNA M FASCI                                   ATTN DONNA M CASHDAN                   4174 VALLEY MEADOW RD                                    ENCINO             CA    91436‐3437
DONNA M FAULKNER & TRACY A FAULKNER JT TEN      4642 THRALL RD                                                                                  LOCKPORT           NY    14094‐9785

DONNA M FIELHAUER CUST BRIAN A BURNS UGMA MI    1959 TAMARISK DRIVE                                                                             P LANSING          MI    48823‐1470

DONNA M FINK & KATHLEEN F JEHNINGS JT TEN       256 BELRIDGE ROAD                                                                               BRISTOL            CT    06010‐5210
DONNA M FOREE                                   202 SOUTH 3RD ST                                                                                LOVEJOY            IL    62059
DONNA M FURLO                                   1940 CARMAN DR                                                                                  SAGINAW            MI    48602‐2912
DONNA M GARBACCIO & LOU J GARBACCIO JT TEN      30 COLONIAL DR                                                                                  WYCKOFF            NJ    07481

DONNA M GASPER & BERNARD J GASPER JT TEN        2471 CLAYWARD DR                                                                                BURTON             MI    48509‐1057
DONNA M GATEWOOD                                44 NORTH BOUND GRATIOT                                                                          MT CLEMENS         MI    48043‐2473
DONNA M GIFFORD                                 PO BOX 35                                                                                       FLUSHING           MI    48433‐0035
DONNA M GRIFFIN CUST ERIKA S GRIFFIN UNIF       4539 RICHMOND HEIGHTS DR                                                                        FLORISSANT         MO    63034
TRANSFER MINOR ACT MO
DONNA M GRIMBLEBY                               24 EAGLE GREENS CT                                                                              PLAINWELL          MI    49080‐9129
DONNA M GRUNDNER                                6434 RIDGE RD                                                                                   LOCKPORT           NY    14094‐1015
DONNA M HANSEN                                  5637 S MILES RD                                                                                 SHERIDAN           MI    48884‐8345
DONNA M HANSEN                                  1095 PEARSON DR                                                                                 MILFORD            MI    48381
DONNA M HARIG & DEBRA K LAMPEN JT TEN           4265 CENTURY DR                                                                                 DORR               MI    49323‐9578
DONNA M HICKLING                                1167 BRAGG ST                                                                                   HONEOYE FALLS      NY    14472‐8602
DONNA M HILL                                    13272 VINTER WAY                                                                                POWAY              CA    92064‐1216
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DONNA M HIRSCH                                 220 N COURT                           PO BOX 198                                               JACKSON            NE    68743‐0198
DONNA M HOFFMAN                                6 ASPEN LN                                                                                     SANDY HOOK         CT    06482‐1662
DONNA M HOWLAND TR DONNA M HOWLAND TRUST       312 LK GEORGE                                                                                  ATTICA             MI    48412
UA 01/13/00
DONNA M INSINGA                                2771 FULLER AVENUE                                                                             MINDEN             NV    89423‐9036
DONNA M JONES                                  5516 EHRLING RD                                                                                CINCINNATI         OH    45227‐1103
DONNA M KAYE                                   23 SARATOGA DR                                                                                 WEST WINDSOR       NJ    08550‐3005
DONNA M KEAHL                                  725 SADDLE RIDGE                                                                               CRYSTAL LAKE       IL    60012‐3601
DONNA M KELLY                                  1013 FOXWOOD LANE                                                                              BALTIMORE          MD    21221‐5931
DONNA M KENTROS                                175 PRESTON AVE                                                                                WATERFORD          MI    48328‐3653
DONNA M KINSEY                                 10914 BONIFACE PT                                                                              PLAINWELL          MI    49080‐9210
DONNA M KLOBUCHER CUST STEPHEN M KLOBUCHER     9400 WEST G AVE                                                                                KALAMAZOO          MI    49009‐8525
UGMA MI
DONNA M KOSTIUK                                PO BOX 772                                                                                     CAMAS              WA    98607‐0772
DONNA M KOVALENKO CUST NICHOLAS I KOVALENKO    10028 REDWOOD LN                                                                               MIDDLEBURY         IN    46540‐9462
UTMA IN
DONNA M KROL                                   16918 WILLOW LANE DR                                                                           TINLEY PARK        IL    60477‐2954
DONNA M KUHL TR DONNA M KUHL LIVING TRUST UA   6201 KELLY RD                                                                                  FLUSHING           MI    48433
01/04/88
DONNA M LEE                                    98 PETERSON AVE                                                                                BROCKTON           MA    02302‐4415
DONNA M LEVESQUE                               907 MOHAWK DRIVE                                                                               BURKBURNETT        TX    76354‐2921
DONNA M LEWIS                                  2601 W 8 MILE RD                                                                               HIGHLAND PARK      MI    48203‐4604
DONNA M LIESENER                               6085 N LAKE DR                                                                                 WEST BEND          WI    53095‐8444
DONNA M LINDLEY                                312 SPINNAKER DR                                                                               SMITHVILLE         MO    64089‐9623
DONNA M LUNN                                   7310 SWAN CREEK RD                                                                             SAGINAW            MI    48609‐5389
DONNA M LYDON                                  1909 WOODLAND DR                                                                               YARDLEY            PA    19067‐3103
DONNA M MARCUM CUST CODY N ALLEY UGMA AZ       3917 E PARK AVE                                                                                PHOENIX            AZ    85044‐8258

DONNA M MARCUM CUST DANIELLE M ALLEY UGMA AZ 3917 E PARK AVE                                                                                  PHOENIX            AZ    85044‐8258

DONNA M MARCUM CUST TYLER ALLEY UGMA AZ        3917 E PARK AVE                                                                                PHOENIX            AZ    85044‐8258
DONNA M MARINA                                 36710 PARK PLACE                                                                               STERLING HEIGHTS   MI    48310‐4225

DONNA M MARTIN & LAYKE Q MARTIN TEN ENT        541 DEBORAH JANE DR                                                                            PITTSBURGH         PA    15239‐1371
DONNA M MARTIN & MICHAEL L MARTIN JT TEN       3352 S MOCCASIN TRL                                                                            GILBERT            AZ    85297‐7737
DONNA M MASIULIS                               2391 PLAINVIEW DR                                                                              FLUSHING           MI    48433‐9416
DONNA M MASON                                  5507 WOODVIEW PASS                                                                             MIDLAND            MI    48642‐3147
DONNA M MCCURDY                                370 STEWART STREET APT 3                                                                       HUBBARD            OH    44425
DONNA M MIHOK                                  1053 S W SULTAN DR                                                                             PORT ST LUCIE      FL    34953‐2646
DONNA M MILLER TR UA 05/11/95 DONNA M MILLER   1575 S LODGE DR                                                                                SARASOTA           FL    34239‐5010

DONNA M MIRACLE                            233 NORTH MAIN STREET                     BOX 74                                                   CALEDONIA          OH    43314‐0074
DONNA M MURRAY                             67828 BROKAW                                                                                       ST CLAIRSVILLE     OH    43950‐9779
DONNA M NASH & ROBERT W NASH JT TEN        7455 W GREENWICH                                                                                   BLOOMFIELD         MI    48301‐3925
DONNA M NEFF                               103 PACIFIC AVE                                                                                    SALISBURY          MD    21804‐4719
DONNA M NEWMAN CUST JAMES F NEWMAN UGMA MI 21625 ALEXANDER                                                                                    ST CLAIR SHORES    MI    48081‐2812

DONNA M NORRIS                                 54 CARTWRIGHT ROAD                                                                             WELLESLEY          MA    02482
DONNA M OLSON                                  1966 26TH AVE                                                                                  GREELEY            CO    80634‐4917
DONNA M OPALINSKI                              959 ELIZABETH STREET                                                                           PITTSBURGH         PA    15221
DONNA M OPDYKE                                 50 SEATTLE SLEW DR                                                                             HOWELL             NJ    07731‐3104
DONNA M PATERSON                               6 EDEN DRIVE                          SAINT CATHARINES ON                    L2R 6B2 CANADA
DONNA M PETRELLA                               1238 WOODBRIDGE ST                                                                             ST CLAIR SHORES    MI    48080‐1621
DONNA M PLUMB                                  C/O DONNA PLUMB GAWLAS                7300 W HARRISON                                          FOREST PK          IL    60130‐2031
DONNA M POOLE                                  100 ROBERTS WAY                                                                                NORTH EAST         MD    21901
DONNA M POPMA                                  1149 CALIFORNIA N W                                                                            GRAND RAPIDS       MI    49504‐5428
DONNA M PORTER & LEONARD D PORTER JT TEN       5724 BROAD ST                                                                                  ROSCOE             IL    61073‐8831
DONNA M POWELL                                 1121 JENNINGS STATION RD                                                                       SAINT LOUIS        MO    63137‐1729
DONNA M POWERS                                 289 DEERFIELD ROAD                                                                             COLUMBUS           OH    43228‐1244
                                         09-50026-mg                     Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DONNA M PUMA                                   117 CANTERBURY DR                                                                                 CAMILLUS           NY    13031
DONNA M REYMENT                                5608 S RUTHERFORD                                                                                 CHICAGO            IL    60638‐3247
DONNA M RICHARDSON                             HIGHPOINTE                               PO BOX 1571                                              BRANDON            MS    39042‐1571
DONNA M RIDLEY                                 361 MILL ROAD                                                                                     ROCHESTER          NY    14626
DONNA M ROGERS                                 10206 SHIRLEY MEADOW CT                                                                           ELLICOTT CITY      MD    21042‐4833
DONNA M ROSEBERRY                              5023 LISTER AVE                                                                                   KANSAS CITY        MO    64130‐3154
DONNA M RYAN                                   2300 LINDELL RD                                                                                   LAS VEGAS          NV    89146‐0300
DONNA M SCHNELL‐LEE                            1300 OAKCREST DR                                                                                  HOWELL             MI    48843‐8432
DONNA M SELKA                                  41430 CORRIANDER COURT                                                                            STERLING HEIGHTS   MI    48314‐4037

DONNA M SELM                                  14172 STATE RD                                                                                     BROOKVILLE         IN    47012
DONNA M SHAMBAUGH                             2721 MIDDLE RIDGE RD                                                                               NEWPORT            PA    17074‐8132
DONNA M SHERMAN                               10224 BELLMONT AVE                                                                                 OKLAHOMA CITY      OK    73130‐4606
DONNA M SHRUGA                                1756 N MILDRED ST                                                                                  DEARBORN           MI    48128‐1239
DONNA M SLOAN                                 49526 IRIS                                                                                         SHELBY TWP         MI    48317‐1625
DONNA M SLYSTER                               5600 BROOKLINE DR                                                                                  ORLANDO            FL    32819‐4009
DONNA M SOLPER                                514 BROOKRIDGE STREET                                                                              GREEN BAY          WI    54301‐2036
DONNA M SOUTH TOD BARBARA J SOUTH JUSTICE     1380 GOLDEN AVENUE                                                                                 EUGENE             OR    97404‐2814
SUBJECT TO STA TOD RULES
DONNA M SPANDLER CUST MELISSA BARBARA SPANDER 663 DUNKLE STREET                                                                                  ENHAUT STEELTON PA       17113‐2016
UGMA PA
DONNA M SPROUL & THEODORE W SPROUL JT TEN     PO BOX 4157                                                                                        WHITEFISH          MT    59937‐4157

DONNA M ST RAUEL                               3288 HORRELL                                                                                      FENTON             MI    48430‐1005
DONNA M STANLEY & FREDERIC E STANLEY JT TEN    8600 E BROADWAY RD                       LOT 50                                                   MESA               AZ    85208‐2285
DONNA M STODDARD                               4287 DILLON RD                                                                                    FLUSHING           MI    48433‐9745
DONNA M STRINE                                 3565 GREGORY RD                                                                                   ORION              MI    48359‐2016
DONNA M SULKOSKE                               6056 N CO RD 550 E                                                                                PITTSBORO          IN    46167‐9390
DONNA M SWEET                                  95 WELLINGTON ST UNIT 307                BOWMANVILLE ON                         L1C 5A1 CANADA
DONNA M THAYER                                 5231 S SEYMOUR RD                                                                                 SWARTZ CREEK       MI    48473‐1029
DONNA M THOMAS                                 183 GREENBROOK DR                                                                                 LEVITTOWN          PA    19055‐1919
DONNA M THOMPSON                               26741 SUMPTER RD                                                                                  BELLEVILLE         MI    48111‐8805
DONNA M TOMAIO                                 31 CLUBHOUSE RD                                                                                   ROTONDA WEST       FL    33947‐2009
DONNA M TONDU                                  4034 LEITH ST                                                                                     BURTON             MI    48509‐1031
DONNA M TUREK TR UA 11/03/1998 TUREK LIVING    12630 ST ANDREWS DR                                                                               KANSAS CITY        MO    64145
TRUST
DONNA M VAESSEN TR DONNA M VAESSEN REV TRUST   200 HALE ST P O BOX 169                                                                           SUBLETTE           IL    61367‐0169
UA 8/17/94
DONNA M WARREN                                 381 CLEVELAND AVE E                                                                               WARREN             OH    44483‐1904
DONNA M WERGIN                                 3907 ROCK ST                                                                                      MANITOWOC          WI    54220‐4733
DONNA M WILLIAMS                               8802 RIDGEHILL DR                                                                                 INDIANAPOLIS       IN    46217‐4644
DONNA M WILLIAMS CUST MARY LOUISE WILLIAMS     8802 RIDGE HILL DR                                                                                INDIANAPOLIS       IN    46217‐4644
UGMA IN
DONNA M WITTE                                  307 N WEST                                                                                        EDGERTON           OH    43517
DONNA M WOJIE                                  25462 GROVE COURT                                                                                 FLAT ROCK          MI    48134‐6010
DONNA M WRIGHT                                 3505 HIGHLAND BLVD                                                                                HIGHLAND           MI    48356
DONNA M ZAHN                                   1410 DAYTON DR                                                                                    JANESVILLE         WI    53546‐1472
DONNA M ZALESKI                                3 RED OAK COURT                                                                                   NEWARK             DE    19713
DONNA M ZIENKIEWICZ                            8301 NORTHLAWN ST #UPPER                                                                          DETROIT            MI    48204‐3290
DONNA MAE BARKLEY                              1720 W ALTO ROAD                                                                                  KOKOMO             IN    46902‐4805
DONNA MAE GAUGHEN & DELORES KNAPP JT TEN       785 GLASGOW CIRCLE                                                                                DANVILLE           CA    94526
DONNA MAE HARKEMA                              2015 KENOWA SW                                                                                    BYRON CENTER       MI    49315
DONNA MAE IRGANG                               5115 WASHBURN RD                                                                                  DAVISON            MI    48423‐9302
DONNA MAE WALKER                               218 BRANDED CT                                                                                    KOKOMO             IN    46901‐4036
DONNA MANLEY CUST JOHN MANLEY UTMA WI          907 W GREEN TREE RD                                                                               RIVERHILLS         WI    53217
DONNA MANLEY CUST TIMOTHY MANLEY UTMA WI       907 W GREEN TREE RD                                                                               RIVERHILLS         WI    53217

DONNA MARIA PUTKOVICH & KENNETH PUTKOVICH JT   6414 BARRINGTON DR                                                                                FREDERICK          MD    21701‐7630
TEN
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DONNA MARIA WILSON                            800 E BROADWAY ST                                                                                 MIDLAND           TX    79701‐6015
DONNA MARIE BIERMANN                          45078 VANKER AVE                                                                                  UTICA             MI    48317‐5580
DONNA MARIE CARPENTER CUST NAASRAH IMAN ALI‐ 464 WEST 146 ST                                                                                    NEW YORK          NY    10031‐4725
WHITE UTMA NY
DONNA MARIE COCUZZA                           6905 AMARILLO ST                                                                                  PORT RICHEY       FL    34668‐3870
DONNA MARIE GOODWIN                           2280 LOPEZ DR                                                                                     ARROYO GRANDE     CA    93420‐5158
DONNA MARIE HAYWARD                           ATT DONNA MARIE PEPE                     113 SORREL DR                                            WILMINGTON        DE    19803‐1930
DONNA MARIE HEMLER                            13406 CHIPPEWA DR                                                                                 WARREN            MI    48088‐1894
DONNA MARIE KRAJEWSKI                         7836 HENRY RUFF                                                                                   WESTLAND          MI    48185‐2475
DONNA MARIE MARTONE & FRANK & BRIANNA & BRETT 31 LAURELWOOD DR                                                                                  WALLINGFORD       CT    06492‐2515
MARTONE JT TEN
DONNA MARIE OSBORNE                           2964 PRENTICE DR                                                                                  KETTERING         OH    45420‐3417
DONNA MARIE PACHECO                           6105 RAMSEY RD                                                                                    HARRISON          TN    37341‐7630
DONNA MARIE RAMA                              17826 8 MILE RD                          BOX 81                                                   STANWOOD          MI    49346‐0081
DONNA MARIE RUTLEDGE                          5306 BALFOUR                                                                                      DETROIT           MI    48224‐3101
DONNA MARIE STEPHENS                          502 ERIE ST                                                                                       HOUGHTON LAKE     MI    48629‐8830
DONNA MARIE WINN                              1034 KEOWEE AVE                                                                                   KNOXVILLE         TN    37919‐7754
DONNA MARLE STOUTENBOROUGH                    212 ARDMORE DRIVE                                                                                 MIDDLETOWN        OH    45042‐3511
DONNA MAY‐CILLO                               1570 N PROSPECT AVE 108                                                                           MILWAUKEE         WI    53202‐2315
DONNA MCAULEY BOONE                           4822 ALISON LANE                                                                                  BISHOP            CA    93514‐7123
DONNA MCCLEARY CUST DAVID MCCLEARY UTMA KY    155 LAKE PARK DR                                                                                  ALEXANDRIA        KY    41001‐1375

DONNA MCCORMICK                                12910 KINGS FOREST                                                                               SAN ANTONIA       TX    78230‐1513
DONNA MICKELSON                                2402 SOUTH STATE ST                                                                              ST JOSEPH         MI    49085‐1914
DONNA MONACO                                   36 FOX HILL RD                                                                                   POUND RIDGE       NY    10576‐1908
DONNA MORRIS & STEPHEN MORRIS JT TEN           1500 W MOUNT MORRIS RD                                                                           MOUNT MORRIS      MI    48458‐1828
DONNA MUILLER                                  2424 W 48TH STREET                                                                               SHAWNEE MISSION   KS    66205‐1911

DONNA MUNCK                                    2109 W 11TH ST                          APT 128                                                  YANKTON           SD    57078‐6871
DONNA MURPHY SHELTON                           610 WHITE OAK ST                                                                                 ALLEN             TX    75002‐5267
DONNA NEITZKE                                  842 PRESTON DR                                                                                   INDIANAPOLIS      IN    46280‐1748
DONNA NELSON COLEMAN                           87 S CREST RD                                                                                    CHATTANOOGA       TN    37404‐4006
DONNA NELSON COLEMAN                           87 S CREST RD                                                                                    CHATTANOOGA       TN    37404‐4006
DONNA NICKEL                                   1866 BROCKTON                                                                                    YOUNGSTOWN        OH    44511‐1004
DONNA NITAHARA                                 850 TIMOTHY LN                                                                                   DES PLAINES       IL    60016‐1116
DONNA NIXON                                    6015 CASSOWARY LANE                                                                              NEW BERN          NC    28560‐7170
DONNA O WILLIAMS                               340 CAMPBELL DR                                                                                  W MELBOURNE       FL    32904‐3731
DONNA OCKERMAN                                 3421 DIMOND AVENUE                                                                               OAKLAND           CA    94602‐2208
DONNA ORLANDINI                                538 HIGHLAND AVE                                                                                 WEST CHICAGO      IL    60185‐2140
DONNA P ALLSBROOKS                             11255 ALLEN RD APT 901                                                                           SOUTHGATE         MI    48195‐2876
DONNA P HALLER                                 423 W LIMESTONE ST                                                                               YELLOW SPRINGS    OH    45387‐1721
DONNA P HOUT                                   135 LAMPLIGHTER DR                                                                               MANCHESTER        CT    06040‐6941
DONNA P HUOT & GLENN H HUOT JT TEN             135 LAMPLIGHTER DR                                                                               MANCHESTER        CT    06040‐6941
DONNA P KEYSER & THOMAS A KEYSER JT TEN        4129 N BEACH ST                                                                                  SANFORD           MI    48657
DONNA P MARCENTILE                             7308 CRAIGMERE DRIVE                                                                             MIDDLEBURG HTS    OH    44130‐5343

DONNA P MARCUM                                 6881 BARTLETT RD                                                                                 REYNOLDSBURG      OH    43068‐2905
DONNA P MCGRANAGHAN                            252 MARBLE COURT                                                                                 YARDLEY           PA    19067‐5718
DONNA P PESCH                                  330 VOIGHT BLVD LOT 298                                                                          SAN ANGELO        TX    76905
DONNA PALMER                                   82 CALVIN DR                                                                                     DENNIS            MA    02638‐2256
DONNA PARKER                                   34919 20TH AVE CT E                                                                              ROY               WA    98580‐8834
DONNA PENNY & JACKIE HASTINGS JT TEN           837 ELROD                                                                                        COOS BAY          OR    97420‐4603
DONNA PLUMB GAWLAS                             7300 WEST HARRISON                                                                               FOREST PARK       IL    60130‐2031
DONNA POSS ARNOLD & JAMES WILLIAM ARNOLD JR    101 EASY ST                                                                                      CARTHAGE          TX    75633‐2244
TEN COM
DONNA R AKROM                                  510 CEDARLEAF DRIVE                                                                              CENTERVILLE       OH    45459‐4314
DONNA R ALEXANDER                              6655 W 400 S                                                                                     RUSSIAVILLE       IN    46979‐9702
DONNA R CAMPBELL                               6938 GLEASON AVENUE                                                                              DAYTON            OH    45427‐1606
DONNA R CARPEC                                 1136 BALDWIN AVE                                                                                 SHARON            PA    16146‐2516
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DONNA R CARSON                                   8325 FENTON ST                                                                                   DEARBORN HTS     MI    48127‐4501
DONNA R CASCIANO                                 49 CLEVELAND ST                                                                                  CALDWELL         NJ    07006‐4926
DONNA R COUSAR                                   16130 WARWICK                                                                                    DETROIT          MI    48219‐4045
DONNA R CRAWFORD                                 3166 DURST                                                                                       CORTLAND         OH    44410‐9310
DONNA R DARRAH                                   234 MIDWAY DR                                                                                    NEW CASTLE       IN    47362‐1270
DONNA R DEVUONO                                  53162 FREDA                                                                                      MACOMB           MI    48042‐2831
DONNA R GIST                                     5135 ALTRIM RD                                                                                   DAYTON           OH    45418‐2017
DONNA R HALL                                     36401 S RESERVE CIR                                                                              AVON             OH    44011‐2831
DONNA R HARLOW                                   513 WOODHILL CT                                                                                  GRAPEVINE        TX    76051‐4491
DONNA R JOHNSON & CORWIN R JOHNSON JT TEN        2307 S 99 E AVE                                                                                  TULSA            OK    74129‐4205

DONNA R MCCRARY                                  750 CLIFFS DRIVE                        UNIT 102 A                                               YPSILANTI        MI    48198‐7345
DONNA R MIRAGE                                   844 PERKINS JONES RD NE                                                                          WARREN           OH    44483‐1850
DONNA R ROBBINS TR JAMES M ROBBINS TRUST UA      541 KEY ROUTE BLVD                                                                               ALBANY           CA    94706‐1402
05/28/96
DONNA R SCHERRER                                 7822 LOWELL AVE                                                                                  SKOKIE           IL    60076‐3536
DONNA R SPEARS                                   61 TYLER ST                                                                                      BLOOMFIELD       CT    06002‐3108
DONNA R TANNER                                   39500 WARREN RD 338                                                                              CANTON           MI    48187‐5710
DONNA R TEASLEY TOD ALEXANDER G PITZER SUBJECT   1350 ELM ROAD                                                                                    WARREN           OH    44483‐4017
TO STA TOD RULES
DONNA R TEASLEY TOD BARBARA A DOLL JACKSON       1350 ELM ROAD                                                                                    WARREN           OH    44483‐4017

DONNA R TEASLEY TOD STACEY A PITZER SUBJECT TO   1350 ELM ROAD                                                                                    WARREN           OH    44483‐4017
STA TOD RULES
DONNA R TOWNSEND & MARTHA J TOWNSEND &           1405 US RTE 5 NORTH                                                                              WINDSOR          VT    05089
WINTHROP I TOWNSEND III JT TEN
DONNA R WELSH & EARL G WELSH JT TEN              4394 GOLDMINE RD                                                                                 DODGEVILLE       WI    53533‐8958
DONNA R WHITAKER                                 10540 WHITBY CT                                                                                  CLARKSTON        MI    48348‐2197
DONNA R WOODCOCK                                 2504 BAUR DR                                                                                     INDIANAPOLIS     IN    46220‐2831
DONNA RAE BETTY & ROBERT A BETTY JR JT TEN       3471 HIDALGO DRIVE                                                                               SAN BERNARDINO   CA    92404‐2035
DONNA RAE LUNDMARK                               RFD 2 BOX 2093                                                                                   RUSSELL          PA    16345‐9507
DONNA RAE TWISDOM                                621 HELENA CT                                                                                    UPLAND           CA    91786‐2346
DONNA RAEJEAN COMBEST                            701 LINCOLN AVE                                                                                  FLINT            MI    48507‐1751
DONNA RANAGAN KONIUCH                            160 SUNSET ST                                                                                    DUMONT           NJ    07628‐1506
DONNA RANEY CUST ALYSSA R RANEY UTMA NJ          6306 BRIDGEVISTA DRIVE                                                                           LITHIA           FL    33547
DONNA RANEY CUST CARSON J RANEY UTMA NJ          6306 BRIDGEVISTA DRIVE                                                                           LITHIA           FL    33547
DONNA RANEY CUST SUZANNA E RANEY UTMA NJ         6306 BRIDGEVISTA DRIVE                                                                           LITHIA           FL    33547
DONNA REID                                       45 TWIN LAKES DR                                                                                 FAIRFIELD        OH    45014‐5251
DONNA REVERING                                   650 E HAWES                             APT 5445                                                 MESA             AZ    85207
DONNA ROSE ALLEN                                 PO BOX 232                                                                                       GLADWIN          MI    48624‐0232
DONNA ROSEN CUST BRYAN ROSEN UNIF GIFT MIN NY    51 ROFAY DRIVE                                                                                   EAST NORTHPORT   NY    11731‐6337

DONNA ROSPENDOWSKI CUST KATIE JO ROSPENDOWSKI 136 LOMA AVENUE                                                                                     SYRACUSE         NY    13208‐2348
UGMA NY
DONNA ROWE CUST JACK ROWE UTMA CA             4040 SHADOWHILL DR                                                                                  SANTA ROSA       CA    95404
DONNA ROWE CUST KIELY ROWE UTMA CA            4040 SHADOWHILL DR                                                                                  SANTA ROSA       CA    95404
DONNA RUTH LAMWERSIEK                         610 CLAYMONT EST DR                                                                                 CHESTERFIELD     MO    63017‐7060
DONNA S ABEL                                  1 MARIE LANE                                                                                        WEST GROVE       PA    19390
DONNA S ANDERSON                              871 ELLINGTON RD                                                                                    SOUTH WINDSOR    CT    06074‐3511
DONNA S BAKER                                 2521 E 2ND ST                                                                                       FLINT            MI    48503‐2233
DONNA S BELZ COCKERILL                        2301 E NEWARK RD                                                                                    LAPER            MI    48446‐9473
DONNA S BLACKWELL                             10600 WOODHOLLOW RD                                                                                 CHARLOTTE        NC    28227‐9660
DONNA S BROWN CUST LORI BROWN UGMA MI         2514 DAKOTA                                                                                         FLINT            MI    48506‐4904
DONNA S BROWN CUST SARAH BROWN UGMA MI        2514 DAKOTA                                                                                         FLINT            MI    48506‐4904
DONNA S DALTON                                12700 BARTRAM PARK BLVD                    APT 1933                                                 JACKSONVILLE     FL    32258‐5447
DONNA S DENNISON                              3771 EAGLECREEK N W                                                                                 LEAVITTSBURG     OH    44430‐9778
DONNA S FAHRINGER                             RRT 1 BOX 169                                                                                       UNION            WV    24983‐9551
DONNA S PITTMAN                               1754 BELL ROAD                                                                                      HAMILTON         OH    45013‐8917
DONNA S PITTMAN & SAMUEL C PITTMAN JT TEN     1754 BELL RD                                                                                        HAMILTON         OH    45013‐8917
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DONNA S PRATT                                    1550 W SAN ANNETTA                                                                               TUCSON             AZ    85704‐1973
DONNA S ROSS                                     7091 E VIENNA RD                                                                                 OTISVILLE          MI    48463‐9429
DONNA S SEBASTIAN                                4749 MERRIMONT AVENUE                                                                            SPRINGFIELD        OH    45503‐5909
DONNA S SMITH                                    1634 RIDGE RD                                                                                    NEWTON FALLS       OH    44444‐1000
DONNA S THOMPSON                                 ATTN DONNA S LEWIS                      8013 HULEN PARK CIRCLE                                   FORT WORTH         TX    76123‐1351
DONNA S TIPTON & R M TIPTON JT TEN FULL          304 GOLDEN POND DR                                                                               MADISON            MS    39110‐8318
DONNA S TITZE                                    5664 CHESTNUT HILLS DR                                                                           CLARKSTON          MI    48346‐3003
DONNA S WENDELN                                  ATTN DONNA W BANGE                      832 OVERLOOK PL                                          EAGAN              MN    55123‐2295
DONNA SALSBURG                                   325 BONTONA AVE                                                                                  FT LAUDERDALE      FL    33301‐2417
DONNA SCOTT & DANNY SCOTT JT TEN                 2217 INDIAN SCHOOL RD NW                                                                         ALBUQUERQUE        NM    87104‐2557
DONNA SEIDL                                      1608 S THEODORE ST                                                                               APPLETON           WI    54915‐4006
DONNA SHELTON                                    610 WHITE OAK ST                                                                                 ALLEN              TX    75002‐5267
DONNA SLATKIN CUST JAY MICHAEL SLATKIN UGMA MI   521 PINEWAY CIRCLE                                                                               BLOOMFIELD HILLS   MI    48302‐2130

DONNA SMYTHE                                     393 WOODSWORTH DR                       WILLOWDALE ON                          M2L 2V1 CANADA
DONNA SOLTIS                                     6386 SAN ANDREAS ST                                                                              CYPRESS            CA    90630‐5322
DONNA STACKEL & ARTHUR STACKEL JT TEN            377 WASHINGTON AVE                                                                               JERMYN             PA    18433‐1340
DONNA STANISKY                                   8316 COOLIDGE                                                                                    CENTER LINE        MI    48015‐1709
DONNA STANSELL                                   2108 VALRICO VISTA DR                                                                            VALRICO            FL    33594‐3242
DONNA STEPHENS                                   BOX 411                                                                                          MIDVALE            UT    84047‐0411
DONNA STEVENSON                                  323 N TOPSAIL DR                        #5                                                       SURF CITY          NC    28445‐6723
DONNA STOJSAVLJEVIC                              PO BOX 34                                                                                        HINCKLEY           OH    44233‐0034
DONNA STRAIR CUST RANDEE STRAIR UGMA PA          3 WALKWAY LN                                                                                     CHERRY HILL        NJ    08003
DONNA SUE GREENWELL                              3487 CORAL RIDGE RD                                                                              BROOKS             KY    40109‐5258
DONNA SUMRALL WALLA                              112 CATALPA DR                                                                                   MOUNT JULIET       TN    37122‐3520
DONNA SWAYZE NORTON CUST KATHLEEN FRANCES        4 LIME KILN RD                                                                                   COLUMBIA           NJ    07832‐2111
NORTON UTMA NJ
DONNA SZEMCSAK                                   2 OLD MILL RD                                                                                    NORTH CAPE MAY     NJ    08204‐3333
DONNA T BEDWELL EX EST MABEL TERRY               219 MADISON CIR                                                                                  LOCUST GROVE       VA    22508
DONNA T HOGAN                                    1994 SE 1ST ST                                                                                   ASTORIA            OR    97103‐5421
DONNA T MCKITTRICK & DORIS A TERESHKO JT TEN     5 STEEPLE CHASE CIRCLE                                                                           WESTFORD           MA    01886‐3740

DONNA T SHULL                                    PO BOX 1002                                                                                      BENSON             AZ    85602‐1002
DONNA TERESA BROWN                               426 W MAIN ST                                                                                    TIPP CITY          OH    45371‐1821
DONNA TROCKMAN SCHACHNE                          10101 SW 40TH STREET                                                                             DAVIE              FL    33328‐2254
DONNA U WOMER                                    322 MORRISON AVE                                                                                 NEWTON FALLS       OH    44444‐1429
DONNA V GARSKE & CHERYLYN A FAIRFIELD JT TEN     814 ISHAM                                                                                        OWOSSO             MI    48867‐4048

DONNA V KELLEY                                   5918 DWIGHT                                                                                      WATERFORD          MI    48327‐1329
DONNA V NEAL                                     6024 OAK CREEK CT                                                                                SWARTZ CREEK       MI    48473‐8871
DONNA V SWINDLEHURST TR UA 07/09/2003 DONNA V    6411 HILLARD RD                                                                                  LANSING            MI    48911
SWINDLEHURST TRUST
DONNA V WEST                                     35906 SOMERSET ST                                                                                WESTLAND           MI    48186‐4115
DONNA VERDUIN                                    9969 PINECREST PATH                                                                              BERRIEN SPRGS      MI    49103
DONNA VILLARDI CUST JESSICA VILLARDI UGMA CT     9G TALCOTT FOREST RD                                                                             FARMINGTON         CT    06032‐3547

DONNA VILLARDI CUST MELISSA VILLARDI UGMA CT     15 MALLARD DR                                                                                    FARMINGTON         CT    06032

DONNA VISCO                                      63 ELMWOOD AVE                                                                                   LOCKPORT           NY    14094‐4621
DONNA VOSE                                       5450 WINDWARD AVE                                                                                LONG BEACH         CA    90814‐1961
DONNA W RAMSEY                                   2532 ALLYSON DRIVE                                                                               WARREN             OH    44484‐3776
DONNA W SHEFFLER                                 560 MOUNTAIN VIEW                                                                                WYTHEVILLE         VA    24382
DONNA W SITER                                    1545 SHADYSIDE ROAD                                                                              WEST CHESTER       PA    19380‐1519
DONNA W VITA CUST BRIAN J VITA UTMA TX           3606 WOODVALLEY DR                                                                               HOUSTON            TX    77025‐4234
DONNA WHITEMAN                                   683 NEWBURY AVE                         APT 1124                                                 CARMEL             IN    46032
DONNA WRIGHT                                     413 MAJESTIC DR                                                                                  DAYTON             OH    45427
DONNA Y ALGAR                                    40311 HARRIS RD                                                                                  BELLEVILLE         MI    48111‐9119
DONNA Y DELL                                     407 ANCHOR WAY                                                                                   KURE BEACH         NC    28449‐4803
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DONNA YARBROUGH CUST DOROTHY JANE YARBROUGH 156 OLDE FARM RD                                                                                  LEXINGTON       SC    29072
UTMA SC
DONNAL R FOSHEE                             11218 DUFFIELD ROAD                                                                               MONTROSE        MI    48457‐9400
DONNALEE JOYCE                              2857 SHILLINGS CHASE CT NW                                                                        KENNESAW        GA    30152‐4169
DONNALEE JOYCE                              2857 SHILLINGS CHASE CT                                                                           KENNESAW        GA    30152‐4169
DONNALEE M MCDONNELL                        947 LAFAYETTE AVE                                                                                 NIAGARA FALLS   NY    14305‐1110
DONNAMARIE BARTOLO                          196 SHOTWELL AVE                                                                                  STATEN ISLAND   NY    10312‐1958
DONNAVON K VASEK                            2834 VALLEY CREEK RD                                                                              CULLEOKA        TN    38451‐2353
DONNE F HARRAN                              980 CONCORD AVE                                                                                   ST JOHNSBURY    VT    05819‐8427
DONNE L VARGAS                              5 PARKVIEW LANE                                                                                   PEABODY         MA    01960‐3181
DONNEL ANITON                               5425 WOODGATE DR                                                                                  DAYTON          OH    45424‐2703
DONNELL BRYANT FORD                         15329 PATTON ST                                                                                   DETROIT         MI    48223
DONNELL L GANZER                            12700 W 119TH TERRACE                                                                             OVERLAND PARK   KS    66213‐2252
DONNELL R YOUNG                             17226 PIKE 277                                                                                    BOWLING GREEN   MO    63334‐3506
DONNELL T GRIFFIN                           5037 CROWLEY DR                                                                                   BIRMINHAM       AL    35210‐3329
DONNELLY G HIGEL                            PO BOX 1164                                                                                       EVART           MI    49631‐1164
DONNELVER L ARTIS                           15718 CRUSE                                                                                       DETROIT         MI    48227‐3311
DONNI R LYONS                               10430 ROAD 844                                                                                    PHILADELPHIA    MS    39350‐8104
DONNIE C MAY                                887 N CLINTON TRAIL                                                                               CHARLOTTE       MI    48813‐9784
DONNIE D WHITESELL                          120 E FIRST ST                                                                                    HARTFORD CITY   IN    47348‐2845
DONNIE DERFLER JR                           1405 CORNETT DR                                                                                   BENTON          AR    72015‐3005
DONNIE E DUNN                               140 ST NICHOLAS                                                                                   FLORISSANT      MO    63031‐6741
DONNIE E GANNON                             119 DILWORTH ST                                                                                   ELYRIA          OH    44035
DONNIE FIELDS                               7512 S PR 975 EAST                                                                                GALVESTON       IN    46932
DONNIE G COLLINS                            550 DROWNING CREEK RDG                                                                            IRVINE          KY    40336‐7935
DONNIE G ELDER                              2186 DIAMOND                                                                                      FLINT           MI    48532‐4407
DONNIE GAMBLE                               15077 LANCELOT CIRCLE                                                                             HARVEST         AL    35749
DONNIE H PEARSON & CYNTHIA A PEARSON JT TEN 873 ST AGNES                                                                                      DAYTON          OH    45407‐1926

DONNIE H SMITH                                  1394 S CLAYTON RD BOX 126                                                                     NEW LEBANON     OH    45345‐9133
DONNIE J HACHMAN                                9703 NW 73RD ST                                                                               WEATHERS LAKE   MO    64152‐1862
DONNIE J LEGG                                   2020 AMBER CREEK DR                                                                           BUFORD          GA    30519‐5283
DONNIE JORDAN                                   PO BOX 1056                                                                                   ACKERMAN        MS    39735‐1056
DONNIE L ASHLEY                                 7020 S WESTERN AVE                                                                            MARION          IN    46953‐6306
DONNIE L BOYDSTUN                               4219 HIGH MESA DR                                                                             ARLINGTON       TX    76016‐4601
DONNIE L DAVIS                                  637 E 13TH                                                                                    DANVILLE        IL    61832‐7744
DONNIE L HUNT                                   2991 GRANGER RD                                                                               ORTONVILLE      MI    48462‐9107
DONNIE L LANGSTON                               5128 JUDITH ANN DR                                                                            FLINT           MI    48504‐1224
DONNIE L LOCKLEAR CUST DEANNA L LOCKLEAR UGMA   1523 SHANNON RD                                                                               LUMBERTON       NC    28360‐2768
MI
DONNIE L MORRIS                                 2323 MT LEBANON RD                                                                            LEWISBURG       TN    37091‐6344
DONNIE L WATKINS                                857 E WABASH ST                                                                               FRANKFORT       IN    46041‐2554
DONNIE LEE LOCKLEAR CUST DONNELL S LOCKLEAR     1523 SHANNON RD                                                                               LUMBERTON       NC    28360‐2768
UGMA MI
DONNIE M GODFREY                                3586 LAMP POST LN                                                                             GAINESVILLE     GA    30504‐5447
DONNIE M MARKS                                  PO BOX 2                                                                                      COLUMBIAVILLE   MI    48421‐0002
DONNIE MOORE                                    7 NEDRA DR                                                                                    BARBOURSVILLE   WV    25504
DONNIE R ANDREW                                 111 STATE ST                         #B                                                       NEWBURGH        IN    47630‐1227
DONNIE R COUCH                                  12057 W GRAND BLANC RD                                                                        DURAND          MI    48429‐9308
DONNIE R GALLIMORE                              7565 SPICERVILLE HWY                                                                          EATON RAPIDS    MI    48827‐9075
DONNIE R HUFFMAN                                103 HARRIS DR                                                                                 SIKESTON        MO    63801‐3884
DONNIE R PORRITT                                9448 WEBSTER RD                                                                               CLIO            MI    48420‐8546
DONNIE R REED                                   6249 N 100 W                                                                                  ALEXANDRIA      IN    46001‐8221
DONNIE RAY STEWART                              2268 GREENBRIAR RD                                                                            BREEDING        KY    42715‐8423
DONNIE SUTHERLAND                               9056 MANOR                                                                                    ALLEN PARK      MI    48101‐3435
DONNIE THOMAS                                   2834 EAST AVE                                                                                 LEBANON         OH    45036‐1111
DONNIE W FANTA                                  145 MILLARD CT                                                                                EVANSVILLE      WI    53536‐1079
DONNIE W LITTON                                 236 MOUNTAIN PERKINS LN                                                                       JACKSBORO       TN    37757‐2826
DONNIE WILLARD MCDEARMOND                       1110 3RD ST SW                                                                                CULLMAN         AL    35055‐3324
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DONNIS A BARBER                                  PO BOX 780                                                                                      ZOLFO SPRINGS   FL    33890‐0780
DONNIS J TULLIS                                  1266 OLD FOUNTAIN RD                                                                            LAWRENCEVILLE   GA    30043‐3917
DONNY GREEN                                      1400 E 3RD AVE                                                                                  ALBANY          GA    31705‐1326
DONNY J SMITH                                    5612 TICA AVENUE                                                                                RIVERSIDE       OH    45424‐4459
DONNY L BUREL                                    PO BOX 6697                                                                                     GAINESVILLE     GA    30504‐1085
DONNY PECK                                       4265 PARKS RD                                                                                   CUMMING         GA    30041‐8804
DONNY WHITAKER SR                                2170 DETROIT                                                                                    LINCOLN PARK    MI    48146‐2543
DONOVAN COAD WORDEN                              APT 202                                2301 BROADMOOR                                           BRYAN           TX    77802‐2649
DONOVAN D WHITE                                  45 BAYBERRY HILL ROAD                                                                           WEST TOWNSEND   MA    01474‐1120
DONOVAN J SANDERS                                14855 SHIRLEY ST                                                                                OMAHA           NE    68144‐2062
DONOVAN LUCIBELLO CUST EMMETT ROSS LUCIBELLO     801 COWLES ST                                                                                   FAYETTEVILLE    NC    28303‐5327
UTMA NC
DONOVAN LUCIBELLO CUST EVERETT ANTHONY           801 COWLES ST                                                                                   FAYETTEVILLE    NC    28303‐5327
LUCIBELLO UTMANC
DONZEL O WAGNER                                  645 WEATHERWOOD RD                                                                              SYMSONIA        KY    42082
DOOLEY HOLLARS                                   1312 W ROBERTS AV                                                                               MARION          IN    46952‐1948
DOOLEY HOLLARS & WOODRIE HOLLARS JT TEN          1312 W ROBERTS AV                                                                               MARION          IN    46952‐1948
DOONAN D MC GRAW                                 245 SAINT JAMES WAY                                                                             NAPLES          FL    34104‐6715
DOONAN D MCGRAW & PHYLLIS A MCGRAW JT TEN        245 SAINT JAMES WAY                                                                             NAPLES          FL    34104‐6715

DORA A CORDOVA                                   609 N MORTON LOT 110                                                                            SAINT JOHNS     MI    48879
DORA A M VOZELLA & RALPH M VOZELLA TR VOZELLA    4113 ARCADIA WAY                                                                                OCEANSIDE       CA    92056‐5141
FAMILY TRUST UA 05/05/90
DORA A MEEKS                                     65934 ENDLEY RD                                                                                 CAMBRIDGE       OH    43725‐8516
DORA ACOFF                                       3741 MOUNT CLAIR                                                                                DETROIT         MI    48214
DORA ANN CRAWFORD                                1547 CORA DRIVE                                                                                 BATON ROUGE     LA    70815‐4318
DORA ARROWOOD CONSERVATOR FOR LEN EDWARD         2000 10TH AVE S                                                                                 ESCANABA        MI    49829‐2118
CASE
DORA BELLE WENDELL & DELMAR G WITT JT TEN        601 GEORGES DRIVE                                                                               CHARLESTON      WV    25306‐6503
DORA BRICE STONE                                 624 BALMORAL ROAD                                                                               WINTER PARK     FL    32789‐5205
DORA C ADAMS                                     48878 PARK PLACE DR                                                                             MACOMB          MI    48044‐2241
DORA C PEARCE                                    6694 34 RD                                                                                      CADILLAC        MI    49601‐9011
DORA C TEAGUE                                    688 LIBERTY RD                                                                                  YOUNGSTOWN      OH    44505‐4259
DORA CANNIE                                      115 SHELBY CT                                                                                   MACON           GA    31216‐7364
DORA E BRALICH                                   5436 TAMARACK DR                                                                                SHARPSVILLE     PA    16150‐9446
DORA E GUNTHER                                   987 MAPLE STREET                                                                                NEWTON FALLS    OH    44444‐9534
DORA E YOUNG                                     2755 COX DR                                                                                     MARTINSVILLE    IN    46151‐8702
DORA ELIZABETH GARRETT                           2313 BRIARHURST                                                                                 HOUSTON         TX    77057‐4420
DORA F LUNA                                      3580 MACK RD                                                                                    SAGINAW         MI    48601‐7115
DORA G MANTHEY & DONALD E MANTHEY JT TEN         900 DORCHESTER #106                                                                             HOYT LAKES      MN    55750‐1155
DORA GRIGSBY                                     2612 DELLA DR                                                                                   DAYTON          OH    45408‐2430
DORA H MIH & WALTER C MIH JT TEN                 200 SW ELM ST                                                                                   PULLMAN         WA    99163‐2923
DORA J MOORE                                     4727 MACEDONIA RD                                                                               ADOLPHUS        KY    42120
DORA J PARKER                                    494 HUGHES RD                                                                                   FOREST          MS    39074‐8239
DORA J ROSS                                      1120 JOT EM DOWN RD                                                                             MORRIS CHAPEL   TN    38361‐4714
DORA JANE STRAHLER                               2855 ASH DR                                                                                     SPRINGFIELD     OH    45504‐4136
DORA JESIEK                                      G 4264 BRANCH ROAD                                                                              FLINT           MI    48506‐1345
DORA KAY ALDRICH                                 1006 N 14TH ST                                                                                  ESTHERVILLE     IA    51334‐1433
DORA L HUNT                                      2420 KINMONT RD                                                                                 DAYTON          OH    45414‐1328
DORA L SANTOS                                    400 SUMMER WIND WAY APT 1                                                                       GLEN BURNIE     MD    21061‐6079
DORA L SHAFFER                                   316 SUNBEAM DR                                                                                  LAS VEGAS       NV    89107‐1764
DORA L WALKER                                    212 W MADISON                                                                                   TIPTON          IN    46072‐1834
DORA LEE GOULD MACKAIL & JOHN J MACKAIL JT TEN   965 CIRCLE DR                                                                                   HARRISONBURG    VA    22801‐1613

DORA LEE NELSON VERNON                           3668 E FORGE RD                                                                                 DAVIE            FL   33328‐2618
DORA LEE SCHAFFERT                               6 HICKORY LANE                                                                                  CHEROKEE VILLAGE AR   72529‐4115

DORA LOUSIE BRICKELL                             2820 WELLS AVE                                                                                  BALTIMORE       MD    21219‐1241
DORA LUCILLE DEBUSK                              5073 SPORTSCRAFT DR                                                                             DAYTON          OH    45414‐3649
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Name                                            Address1                               Address2             Address3          Address4          City               State Zip

DORA LYNNE HAWKINS                              106 RUNNING MAN TRAIL                                                                           YORKTOWN           VA    23693‐2608
DORA M PEELER                                   BOX 385                                                                                         GREENBRIER         TN    37073‐0385
DORA M REYES                                    433 52ND ST                                                                                     WEST NEW YORK      NJ    07093‐1946
DORA M SCHULTZ                                  2092 N HENDERSON RD                                                                             DAVISON            MI    48423‐8115
DORA M VETTE & LA'DORIS H FRENCH JT TEN         2049 BELLE MEADE DRIVE                                                                          DAVISON            MI    48423‐2001
DORA M VILLARREAL                               21760 BARRINGTON DR                                                                             WOODHAVEN          MI    48183‐1141
DORA MAE BLAKE                                  43 WHITEHALL CIRCLE                                                                             WILMINGTON         DE    19808‐5625
DORA MARIE BEACHER TR UA 01/03/86 DORA MARIE    3252 THIRD ST                                                                                   WAYNE              MI    48184‐1301
BEACHER
DORA MARIE BEACHER TR UA 01/03/86 DORA MARIE    3252 THIRD                                                                                      WAYNE              MI    48184‐1301
BEACHER TRUST
DORA O DEFELICE & JOHN E DEFELICE JT TEN        382 MCDOWELL ST                                                                                 WELCH              WV    24801‐2016
DORA REAST                                      213 W 50TH STREET                                                                               LOVELAND           CO    80538‐1601
DORA ROUSE                                      8711 PINE RUN                                                                                   SPANISH FORT       AL    36527
DORA S BORJAS                                   1759 PAGEL                                                                                      LINCOLN PARK       MI    48146‐3539
DORA T BONDS                                    7125 RICHMOND DR                                                                                BILOXI             MS    39532‐4045
DORA VALENTIN                                   740 W ELM STREET 230                                                                            PHOENIX            AZ    85013
DORA Y LAZAR                                    219 AIRPORT RD                                                                                  WARREN             OH    44481‐9486
DORAETTA L LEER                                 20509 STATE ROAD 37 N                                                                           NOBLESVILLE        IN    46060‐6814
DORALEE A CHOCKLEY & THOMAS E CHOCKLEY JT TEN   PO BOX 127                                                                                      PECK               MI    48466‐0127

DORALEE L E MADSEN                              6167 S OLD ORCHARD LANE                                                                         SALT LAKE CITY     UT    84121
DORALYN T MOORE                                 PO BOX 7826                                                                                     NAPLES             FL    34101‐7826
DORAN GLASS II                                  6852 COMMUNITY DR                                                                               PENSACOLA          FL    32526
DORAN J MCGINNIS                                510 M ST SE                            APT G67                                                  AUBURN             WA    98002‐6282
DORANCE C OSTRANDER                             10209 E LAKE RD                                                                                 OTISVILLE          MI    48463‐9714
DORANNE M WEAVER                                150 TILLEY BEND LN                                                                              BLUE RIDGE         GA    30513‐5152
DORANNE RAFLOWITZ                               BOX 360                                                                                         GREAT              MA    01230‐0360
                                                                                                                                                BARRINGTON
DORATHEA ALLEN                                  534 MANCHESTER RD                                                                               YORKTOWN           NY    10598‐1204
                                                                                                                                                HEIGHTS
DORATHEA M LILLESTRAND                          6100 AUTO CLUB RD                      APT 214                                                  MINNEAPOLIS        MN    55438‐2488
DORATHY L HUNDSHAMER                            1601 MOHICAN DR                                                                                 LAKE HAVASU CITY   AZ    86406‐8929

DORATHY W GALLO                                 118 GRANT ST                                                                                    LOCKPORT           NY    14094‐5033
DORCAS A JONES                                  7761 ARKONA RD                                                                                  MILAN              MI    48160‐9717
DORCAS C LOW                                    8355 ADAMS RD                                                                                   KEITHVILLE         LA    71047‐7674
DORCAS I ERLENBUSCH                             42601 BOULDEN CT                                                                                CANTON             MI    48187‐3490
DORCAS K HART                                   38 YORK DRIVE                                                                                   BURLINGTON         VT    05401‐2443
DORCAS K VOSE & ROMEYN T VOSE JT TEN            PO BOX 1981                                                                                     ORMOND BEACH       FL    32175‐1981
DORCAS MCCREARY                                 20131 STRATFORD RD                                                                              DETROIT            MI    48221
DORCAS MURRAY                                   29050 DARDANELLA ST                    APT 1                                                    LIVONIA            MI    48152‐3537
DORCAS N SHEPKER                                PO BOX 101                                                                                      IRVING             NY    14081‐0101
DORCAS P MELEN                                  3 AVENUE A                                                                                      RUTLAND            VT    05701‐4543
DORCAS R IRWIN                                  LASATA LANE                                                                                     HARRISON           TN    37341
DORCAS R POGUE                                  209 S WALNUT                                                                                    FAIRMOUNT          IN    46928‐2044
DORCAS YVONNE DAY                               PO BOX 151                                                                                      KOKOMO             IN    46903‐0151
DORCELLA D HOLLAND                              12575 PLEASANT AVE SOUTH               UNIT #142                                                BURNSVILLE         MN    55337‐2595
DORCENIA BRAZLE JR                              8135 VANADIA                                                                                    MT MORRIS          MI    48458‐9710
DORCHESTER PROPERTIES                           761 HYLO RD SE                                                                                  SALEM              OR    97306‐9520
DORCHESTER PROPERTIES LIMITED PARTNERSHIP       761 HYLO RD SE                                                                                  SALEM              OR    97306‐9520
DORCY J BRAGG                                   PO BOX 669                                                                                      CORTLAND           OH    44410‐0669
DOREEN A CASTIGLIONE                            5728 AITKEN RD                                                                                  CROSWELL           MI    48422‐9160
DOREEN A JEZEK                                  2337 ABBEYWOOD ROAD                                                                             LEXINGTON          KY    40515
DOREEN A PARNELL                                PO BOX 6315                                                                                     METAIRIE           LA    70009‐6315
DOREEN A PARTAKER                               5234 COVENTRY LANE                                                                              FORT WAYNE         IN    46804
DOREEN B HILL                                   11602 TROPICAL ISLE LN                                                                          RIVERVIEW          FL    33569‐7280
DOREEN BALL CUST DON KENNETH BALL UGMA MI       9955 CAVELL                                                                                     LIVONIA            MI    48150‐3221
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Name                                             Address1                               Address2              Address3         Address4          City             State Zip

DOREEN BUEMI                                     5160 LYND AVE                                                                                   LYNDHURST        OH    44124‐1029
DOREEN C KUTCHER                                 1 JACKSON AVE                                                                                   PARLIN           NJ    08859‐1519
DOREEN C RICE & CURTIS C RICE JT TEN             15741 EXETER                                                                                    FRASER           MI    48026‐2334
DOREEN CELUSTA & BRIAN E CELUSTA JT TEN          3517 WESTON DRIVE                                                                               RACINE           WI    53406‐5335
DOREEN E FELLMER                                 2331 BELLEAIR RD                       LOT 237                                                  CLEARWATER       FL    33764‐2769
DOREEN E GORSKI & TERENCE P GORSKI JT TEN        10512 CARROLLVIEW DR                                                                            TAMPA            FL    33618
DOREEN ELIZABETH ANN HUGGINS                     RR 3 694 LINE 7 SOUTH                  ORO STATION ON                         L0L 2E0 CANADA
DOREEN ELIZABETH MCGRAW                          910 CENTRE ST S                        WHITBY ON                              L1N 4X3 CANADA
DOREEN F HERZOG & SAM Z HERZOG JT TEN            379 YORK HILL BLVD                     THORNHILL ON                           L4J 3B5 CANADA
DOREEN FERNANDEZ                                 3842 WEST 83RD STREET                                                                           CHICAGO          IL    60652‐2440
DOREEN GILBERT & GENE GILBERT JT TEN             57611 JEWELL                                                                                    WASHINGTON       MI    48094‐3674
DOREEN H O'CONNOR                                1210 BRANDI DR                                                                                  NIAGARA FALLS    NY    14304‐5801
DOREEN J NICHOLS                                 3828 EAST O'BRIEN RD                                                                            OAK CREEK        WI    53154‐6020
DOREEN J SETTER                                  266 WESTBROOK DR                                                                                CHEEKTOWAGA      NY    14225‐2182
DOREEN KASONOVICH & ALEXANDER P MADAR JT TEN     3601 MAYFAIR                                                                                    DEARBORN         MI    48124‐3825

DOREEN KASONOVICH & ANTHONY W REUTER JT TEN      3601 MAYFAIR                                                                                    DEARBORN         MI    48124‐3825

DOREEN KASONOVICH & CHARLES REUTER JT TEN        3601 MAYFAIR                                                                                    DEARBORN         MI    48124‐3825
DOREEN KASONOVICH & GAIL A PERKINS JT TEN        3601 MAYFAIR                                                                                    DEARBORN         MI    48124‐3825
DOREEN KASONOVICH & PETER REUTER JT TEN          3601 MAYFAIR                                                                                    DEARBORN         MI    48124‐3825
DOREEN L BARR                                    39 FRANTZEN TERRACE                                                                             CHEEKTOWAGA      NY    14227‐3203
DOREEN L SKINNER                                 11840 RACINE COURT                                                                              HENDERSON        CO    80640‐9102
DOREEN LILLIAM TOMLINSON                         #30‐1333 MCINTOSH ST                   REGINA SK                              S4T 7X8 CANADA
DOREEN M BANKS                                   443 DUNDEE DR                                                                                   CLEVELAND        OH    44108‐1459
DOREEN M BRITTON                                 9197 NICHOLS ROAD                                                                               MONTROSE         MI    48457‐9111
DOREEN M GARCIA                                  5504 PINE PL                                                                                    AUSTIN           TX    78744
DOREEN M JONES                                   937 CARRINGTON                                                                                  NORTHVILLE       MI    48167‐1101
DOREEN NEILSON                                   4997 TONAWANDA CREEK RD                                                                         N TONAWANDA      NY    14120‐9601
DOREEN P TURNHAM & HELEN L FINCH JT TEN          7821 WILKINSON AVE                                                                              N HOLLYWOOD      CA    91605‐2208
DOREEN RAINVILLE & RAY RAINVILLE JT TEN          65 PORCUPINE DR                                                                                 PALM COAST       FL    32164‐6737
DOREEN RETA BROWN                                111 GIBSON ST                          GRIMSBY ON                             L3M 1G8 CANADA
DOREEN S ROBINSON                                4844 MCGREEVY DR                                                                                FAIRFIELD        OH    45014‐1855
DOREEN SMITH                                     550 COALFIELD RD                       APT 322                                                  MIDLOTHIAN       VA    23114‐4670
DOREEN W ANDING                                  26021 TWIN POND RD                                                                              BARRINGTON       IL    60010‐1112
DOREEN W SIEL                                    6355 S LOWELL RD                                                                                ST JOHNS         MI    48879‐9252
DOREEN Y BURGMAN                                 11520 RALSTON AVE                                                                               CARMEL           IN    46032‐3446
DOREENA THOMPKINS                                1290 CHERRY BARK ROAD                                                                           APOPKA           FL    32703‐1571
DOREENE HOOPIIAINA & WILFORD HOOPIIAINA JT TEN   1745 EAST 3045 SO                                                                               SALT LAKE CITY   UT    84106‐3733

DORELLA K SMITH PERS REP EST HELEN M KARTMAN     523 MULBERRY DR APT 16                                                                          CASSVILLE        WI    53806‐9747

DOREMUS JOHNSON                                  1005 E WILLOW RUN DRIVE                WILLOW RUN                                               WILMINGTON       DE    19805‐1217
DORENA R STILES                                  260 MILLARD AVE                                                                                 HILLSIDE         NJ    07205‐2115
DORENE A PENTONEY                                INDEPENDENCE VILLAGE #361              14707 NORTHVILLE RD                                      PLYMOUTH         MI    48170‐6079
DORENE D'AMICO                                   760 S E 2ND AVE APT G203                                                                        DEERFIELD BCH    FL    33441
DORENE E HUDSON                                  12212 WILSON RD                                                                                 OTISVILLE        MI    48463‐9763
DORENE G BELLANGER‐SCOTT                         4215 W LAKE ROAD                                                                                CLIO             MI    48420‐8852
DORENE L SMITH                                   145 EISENHOWER DR                                                                               OSWEGO           IL    60543‐7409
DORENE LYNN DAVIDSON                             1816 BROWNELL ROAD                                                                              DAYTON           OH    45403‐3409
DORENE P STANSELL                                1460 NW DOMENICO                                                                                ROSEBURG         OR    97470‐6173
DORENE T YOUNG                                   20950 GEORGE HUNT CIR                                                                           WAUWATOSA        WI    53186‐2005
DORENE WHIPPLE TR WHIPPLE FAMILY 2000 TRUST UA   PO BOX 2565                                                                                     TURLOCK          CA    95381‐2565
11/22/00
DORETHA GAIL DOSSETT                             2811 E CO RD 100 S                                                                              KOKOMO           IN    46902
DORETHA GAMBLE                                   3809 LYNN COURT                                                                                 FLINT            MI    48503‐4543
DORETHA LONG                                     6328 FARMSWOOD DR                      APT 2B                                                   FORT WAYNE       IN    46804‐8330
DORETHA PHILLIPS                                 5330 PLYMOUTH                                                                                   GRAND BLANC      MI    48439‐5118
DORETHA RIVERS                                   ATTN KATIE HALL                        PO BOX 4402                                              DUBLIN           GA    31040‐4402
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

DORETHA WILLIAMS                                   3510 PINGREE AVE                                                                                FLINT              MI    48503‐4545
DORETHA Y HORTON                                   30 TERRON COURT                                                                                 BALTIMORE          MD    21234‐5930
DORETHEA D PHILLIPS                                722 KINLOCK COURT                                                                               COLUMBIA           SC    29223‐6823
DORETTA A KING                                     17 LEIGHTON RD                                                                                  NEWTON             MA    02466‐2245
DORETTA A SELLER                                   215 MABEL ST                                                                                    JOHNSTOWN          PA    15905‐2747
DORETTA ANDERSON                                   213 E 8TH                                                                                       GRAND ISLAND       NE    68801‐4328
DORETTE B BOBROWSKI                                684 GALLOWS HILL RD                                                                             CRANFORD           NJ    07016‐1611
DORETTE P WILLIAMS                                 12007 RIVERBEND DR                                                                              GRAND BLANC        MI    48439‐1723
DORETTE T MACK                                     3805 EDWARDS RD #200                                                                            CINCINNATI         OH    45209‐1939
DORI COETZEE CUST ASHLEY LYNN COETZEE UTMA CA      19571 SUMMER GROVE LANE                                                                         HUNTINGTON         CA    92648‐6650
                                                                                                                                                   BEACH
DORI M PENTECOST                                   3757 DRIFTWOOD STREET                                                                           TOLEDO             OH    43614‐3434
DORIA D COOK                                       1105 CUATRO CERROS TRAIL SE                                                                     ALBUQUERQUE        NM    87123‐4149
DORIAN A FOURNIER                                  115 BURLINGTON                                                                                  BILLINGS           MT    59101‐6028
DORIAN BEZANIS                                     1259 W LOYOLA                                                                                   CHICAGO            IL    60626‐5101
DORIAN E HESTON                                    19 CARRIAGE CIRCLE                                                                              OLEY               PA    19547‐9722
DORIAN G DAVIS                                     12200 WOOD RD                                                                                   DEWITT             MI    48820‐8373
DORIAN G SHELTON                                   2350 INDIAN MOUND AVE                                                                           CINCINNATI         OH    45212‐1750
DORIAN LYN VANN                                    2701 SUN VALLEY DR                                                                              WALDORF            MD    20603‐3998
DORIANNE E SHIVERS                                 BOX 212                                                                                         GEORGETOWN         DE    19947‐0212
DORIC COUNCIL NO 07‐ROYAL AND SELECT MASTERS       ATTN ARTHUR SODER JR                   88 FARMLAND RD                                           WARWICK            RI    02889‐3225

DORIE Y WASHINGTON                              907 GENESEE PARK BLVD                                                                              ROCHESTER          NY    14619‐1606
DORINA M LOVAY                                  4337 PERSIMMON DR                                                                                  SAGINAW            MI    48603‐1149
DORINDA A STERNBURG                             12020 DIEHL ROAD                                                                                   NORTH JACKSON      OH    44451‐9734
DORINDA E PURR                                  11099 COUNTRY LANE                                                                                 PINCKNEY           MI    48169‐9714
DORINDA HAYNES                                  ATTN D PATTERSON                          2159 S NORRELL RD                                        BOLTON             MS    39041‐9762
DORINDA J TIMBERMAN                             505 CANTERBURY AVE                                                                                 PITMAN             NJ    08071‐2003
DORINDA PATTERSON                               2159 S NORRELL RD                                                                                  BOLTON             MS    39041‐9762
DORINE PIOTROWSKI TR DORINE PIOTROWSKI REV      1760 S HILLS BLVD                                                                                  BLOOMFIELD HILLS   MI    48304‐1138
TRUST UA 03/29/99
DORIS A BEST                                    19100 EDLIN AVE                                                                                    PLATTE CITY        MO    64079‐9711
DORIS A BLOUNT                                  14655 CHAMPION FOREST DR                  UNIT 303                                                 HOUSTON            TX    77069
DORIS A BOCK                                    78775 ROMEO PLANK                                                                                  ARMADA             MI    48005‐1619
DORIS A BRALY                                   7818 COZY COVE RD                                                                                  BRANSON            MO    65616‐8773
DORIS A BROWN                                   2089 COBB RD                                                                                       LEWISTON           MI    49756‐8669
DORIS A CANAVAN                                 20 BELLEVUE ROAD                                                                                   BRAINTREE          MA    02184‐5112
DORIS A CHEADLE                                 1009 KEYSTONE ROAD                                                                                 TAWAS CITY         MI    48763
DORIS A CONLEY CUST JAMES GERARD CONLEY UGMA IL 670 GROVE ST                                                                                       GLENCOE            IL    60022‐1653

DORIS A COTES                                      261 W SPAULDING AVE N                                                                           PUEBLO             CO    81007‐2850
DORIS A CROWLEY                                    5380 DALLAS HWY 120                                                                             POWDER SPRINGS     GA    30127‐4288

DORIS A DIETRICH                                   1120 BRIDLE TRAIL                                                                               CORAOPOLIS         PA    15108‐1213
DORIS A ELLER                                      920 CUSTER DR                                                                                   TOLEDO             OH    43612‐3233
DORIS A ENGERRAND                                  1674 PINE VALLEY RD                                                                             MILLEDGEVILLE      GA    31061‐2465
DORIS A GABBERT & STEVEN D CARTER JT TEN           1702 ACORN CT                                                                                   JOHNSON CITY       TN    37601‐2607
DORIS A GEGA                                       430 WEST SIXTH AVE                                                                              ROSELLE            NJ    07203‐1820
DORIS A GOLD TR DORIS A GOLD REV LIVING TRUST UA   13219 LA SABINA DRIVE                                                                           DELRAY BEACH       FL    33446‐3793
09/04/02
DORIS A HILLER & CYNTHIA E HINCKLEY JT TEN         2 CASTLE LN                                                                                     ROCKPORT           MA    01966‐1208
DORIS A HOLDREN                                    127 BENNETT AVE                                                                                 NORTH EAST         MD    21901‐6302
DORIS A HOWE CUST JASON JAMES SPEAR UGMA MN        1743 DAYTON AVE                                                                                 ST PAUL            MN    55104‐6110

DORIS A HUIE                                       22253 HALLCROFT LANE                                                                            SOUTHFIELD         MI    48034‐5495
DORIS A HULLIHAN TR DORIS A HULLIHAN TRUST UA      2900 LINCOLN                                                                                    NORTH RIVERSIDE    IL    60546‐1630
11/15/01
DORIS A KEMNA                                      5555 GLENSTONE DR 253                                                                           GRIMES             IA    50111
DORIS A KRIST & ELSIE H KRIST JT TEN               14194 MEADOW HILL LN                                                                            PLYMOUTH           MI    48170‐3173
                                                 09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DORIS A KRIST & ELSIE H KRIST JT TEN                14194 MEADOW HILL LN                                                                            PLYMOUTH         MI    48170‐3173
DORIS A LANDERS                                     8269 MYERS LK RD N E                                                                            ROCKFORD         MI    49341‐8444
DORIS A LEWIS                                       48 PINE REACH                          HENLOPEN ACRES                                           REHOBOTH BEACH   DE    19971‐1631

DORIS A LIPSCOMB                                    5075 FISHBURG RD                                                                                DAYTON           OH    45424‐5308
DORIS A LUKOVICH                                    108 S SPRING RD                                                                                 MERCER           PA    16137‐3938
DORIS A MAFFITT                                     1322 STATE RD W                                                                                 WARREN           OH    44481‐9179
DORIS A MAJESKE & FRED MAJESKE JT TEN               4137 JONQUIL DR                                                                                 SAGINOAW         MI    48603‐1128
DORIS A MC COMB                                     3623 LANSING ROAD                                                                               ROSCOMMON        MI    48653‐9503
DORIS A MCKENNON                                    606 WHITE PINE BLVD #14                                                                         LANSING          MI    48917‐8822
DORIS A MELCZALK                                    216 S AVON DRIVE                       ASHBOURNE HILLS                                          CLAYMONT         DE    19703‐1409
DORIS A MEYER                                       71 NINTH AVE                                                                                    HAWTHORNE        NJ    07506‐1749
DORIS A MITCHELL & SANDRA K BERTA & GORDON D        245 MILL ST                                                                                     BIG RAPIDS       MI    49307‐1721
MITCHELL JT TEN
DORIS A MOORE                                       80 NORCROSS CIRCLE                                                                              TRENTON          NJ    08619‐2418
DORIS A MUENK TR REVOCABLE TRUST 03/22/90 U‐A       29753 HOOVER RD                        STE A                                                    WARREN           MI    48093
DORIS A MUENK
DORIS A MURPHY & CLEO J SEELEY & CAROLE L           4367 OLD COLONY DR                                                                              FLINT            MI    48507‐3537
DEMARCO JT TEN
DORIS A PARKER & MICHAEL R PARKER JT TEN            3851 BUCKTHORN DR                                                                               LONGMONT         CO    80503‐7639
DORIS A POST                                        9107 VINTON NW AV                                                                               SPARTA           MI    49345‐9423
DORIS A RATHEL & DEREK L RATHEL JT TEN              7944 MITCHELL FARM LANE                                                                         CINCINNATI       OH    45242‐6437
DORIS A RICE CUST ROBERT C RICE JR UGMA MD          950 ELLENDALE DR                                                                                TOWSON           MD    21286‐1510
DORIS A RICHARDS                                    26 JEFFERSON ROAD                                                                               PRINCETON        NJ    08540‐3301
DORIS A RODDY & JOHN K RODDY JT TEN                 3891 GOOD ROAD                                                                                  SEVILLE          OH    44273‐9722
DORIS A RUDD TR UA 04/10/2008 DORIS A RUDD          5440 FORT ROAD                                                                                  SAGINAW          MI    48601
REVOCABLE TRUST
DORIS A SCHATZMANN TR SCHATZMANN FAMILY             804 CYPRESS DR                                                                                  VISTA            CA    92084‐7040
DECEDENTS TRUST UA 03/22/91
DORIS A SHERWOOD                                    207 MEMPHIS ST                                                                                  LIVERPOOL        NY    13088‐5213
DORIS A SMITH                                       30610 WEST TEN MILE RD                                                                          FARMINGTON HILLS MI    48336‐2602

DORIS A SUKIENNICKI                                 223 COWPER ST                                                                                   PALO ALTO        CA    94301‐1206
DORIS A WALKER                                      1029 CENTER AVE                                                                                 NIAGARA FALLS    NY    14305‐2432
DORIS A WALTERS                                     11462 CRYSTAL LAKE RD                                                                           JEROME           MI    49249‐9735
DORIS A WALTERS                                     43 GERALD AVE                                                                                   DALLAS           PA    18612
DORIS A WENDLING & CHERIE A FRANTZ TR UW OF         2322 NOMAD AVE                                                                                  DAYTON           OH    45414‐3363
HENRY H NOLTE
DORIS A WIDEMAN TOD BARBARA J MCCABE SUBJECT        6000 LAKESHORE DR                                                                               LAGO VISTA       TX    78645‐5243
TO STA TOD RULES
DORIS A WILES                                       243 PUSEYVILLE RD                                                                               QUARRYVILLE      PA    17566‐9501
DORIS AHEARN                                        22 PRARIE RD                                                                                    HUNTINGTON STN   NY    11746‐2764

DORIS ANDELEAN                                      1628 LISCOURT DR                                                                                VENICE           FL    34292
DORIS ANN BEIDEMAN                                  11 PENNDREW CT                                                                                  WILM             DE    19808‐5217
DORIS ANN DEWEY                                     4411 2 HEARTS TRL                                                                               CHEYENNE         WY    82007‐9384
DORIS ANN ELLIS CUST ADAM J ELLIS UGMA IL           1530 SOUTH STATE                       UNIT 12M                                                 CHICAGO          IL    60605‐2967
DORIS ANN PARKER                                    9694 S DIVISION AVE                                                                             BYRON CENTER     MI    49315‐9309
DORIS ANN RUTLEDGE                                  1131 LAUREL STREET                                                                              YPSILANTI        MI    48198
DORIS ANN STEPHENS                                  975 CALLE VENADO                                                                                ANAHEIM HILLS    CA    92807‐5005
DORIS ANN TAYLOR                                    344 GLOSSBORO RD                                                                                MONROEVILLE      NJ    08343‐1738
DORIS ANNE DE SOUZA                                 52 LAWRENCE ST                         STUDIO 227           TORONTO ON        M5A 3N1 CANADA
DORIS ANNE WALDSCHMIDT                              1843 SYCAMORE ROAD                                                                              HOMEWOOD         IL    60430‐2322
DORIS ARENTS                                        120 WELDON WAY                                                                                  PENNINGTON       NJ    08534‐1829
DORIS ARONTZON WARWICK                              5020 3RD LN                                                                                     VERO BEACH       FL    32968
DORIS B BOFINGER                                    1001 GLEN EAGLE DR                                                                              GREENSBORO       GA    30642
DORIS B DE STAFNEY & LOUIS F DE STAFNEY JR JT TEN   18 CONTINENTAL AVE                                                                              NEWARK           DE    19711‐5310

DORIS B DE STAFNEY & LOUIS F DE STAFNEY JT TEN      18 CONTINENTAL AVE                                                                              NEWARK           DE    19711‐5310
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Name                                            Address1                              Address2                   Address3    Address4          City             State Zip

DORIS B GOBBLE                                  723 FINLAND ST                                                                                 PITTSBURGH       PA    15219‐5028
DORIS B GOBBLE & JOHN T GOBBLE JR JT TEN        723 FINLAND ST                                                                                 PITTSBURGH       PA    15219‐5028
DORIS B HAYRYNEN                                N7745 EVERGREEN DRIVE                                                                          CHRISTMAS        MI    49862‐8951
DORIS B HERSEY & ARTHUR J HERSEY JR JT TEN      544 95TH AVE                                                                                   LAKEVIEW         MI    48850‐9662
DORIS B LA CLAIR                                316 WEST FILBERT STREET                                                                        EAST ROCHESTER   NY    14445‐2126
DORIS B LEVY                                    3013 SUMMERHAVEN CT                                                                            GLEN ALLEN       VA    23060‐7302
DORIS B MIHALOW                                 158 JULIA AVE                                                                                  TRENTON          NJ    08610
DORIS B PLATTS                                  BOX 362                                                                                        WILSON           WY    83014‐0362
DORIS B ROGERS                                  5601 DUNCAN RD LOT 143                                                                         PUNTA GORDA      FL    33982‐4758
DORIS B ROSEN                                   PO BOX 727                                                                                     LINVILLE         NC    28646‐0727
DORIS B SCHUPP                                  BANKSVILLE AVE                                                                                 BEDFORD          NY    10506
DORIS B SISSON                                  4452 30 ST                            EDMONTON AB                            T6T 1H1 CANADA
DORIS B STRATFORD                               4269 EASTLEA DR                                                                                COLUMBUS         OH    43214‐2837
DORIS B THOMAS                                  736 GOODRICH AVE                                                                               SAINT PAUL       MN    55105‐3524
DORIS B WEIDMANN                                7839 ANSON CT                                                                                  SPRINGFIELD      VA    22152‐3058
DORIS BALDWIN                                   1602 CEDAR DR                                                                                  PLANT CITY       FL    33566‐6902
DORIS BENSON                                    1434 HYTHE STREET                                                                              SAINT PAUL       MN    55108‐1423
DORIS BILLS & CYNTHIA ANN BILLS JT TEN          669 MEADE ROAD                                                                                 ORLEANS          MI    48865‐9800
DORIS BLEICH TR BLEICH FAMILY LIVING TRUST UA   17103 SE 93RD YONDEL CIRCLE                                                                    THE VILLIAGES    FL    32162‐1871
10/01/91
DORIS BOULDEN MALCOLM                           609 WALLINGFORD ROAD                                                                           LITITZ           PA    17543
DORIS BOYKO CUST NICHOLAS A BOYKO UGMA MI       8339 EVANGLINE                                                                                 DEARBORN HGTS    MI    48127‐1147
DORIS BRADLEY DUNN                              2944 WEST 66TH ST N                                                                            TULSA            OK    74132‐1711
DORIS BRANSCOM                                  1823 N BRIGHTON                                                                                BURBANK          CA    91506‐1005
DORIS BUNCH                                     1964 LEATHERWOOD RD                                                                            BEDFORD          IN    47421‐8762
DORIS C BALL                                    25 DURHAM ST                                                                                   POMPTON LAKES    NJ    07442‐1011
DORIS C CALLAHAN & ROBERT J CALLAHAN JT TEN     1236 13TH ST W                                                                                 DICKINSON        ND    58601‐3543
DORIS C DOCKER                                  721 CHARLES ROAD                                                                               PHILLIPSBURG     NJ    08865‐1711
DORIS C FISHER                                  1080 WOODROW AVE                                                                               WAYNESBORO       VA    22980
DORIS C FITZGERALD TR UA 09/02/93 THE DORIS C   515 HIGH MEADOW RD                                                                             SAINT LOUIS      MO    63131‐4705
FITZGERALD LIVING TRUST
DORIS C HARRIS                                  231 FLORENCE HARRIS LANE                                                                       SANFORD          NC    27330‐7712
DORIS C HATFIELD                                343 HOUSEL CRAFT RD                                                                            BRISTOLVILLE     OH    44402‐9722
DORIS C HERSHEY                                 711 WOODROW ST                                                                                 NORTH CANION     OH    44720‐1859
DORIS C INGRAM                                  172 MULBERRY RD                                                                                RIDGEWAY         VA    24148‐3110
DORIS C KIRK                                    56 KIRKWOOD DR                                                                                 ASHFORD          WV    25009‐9734
DORIS C MALAY                                   700 PORT ST                           APT 512                                                  EASTON           MD    21601‐8111
DORIS C MOODY                                   C/O DORIS HARRIS                      231 FLORENCE HARRIS LANE                                 SANFORD          NC    27330‐7528
DORIS C PATTERSON                               3185 LAVISTA ROAD                                                                              DECATUR          GA    30033‐1434
DORIS C PIGOTT                                  731 KINGSBURY RD                                                                               DELAWARE         OH    43015‐3031
DORIS C REISEN                                  PO BOX 71                                                                                      KEYSTONE         IN    46759‐0071
DORIS C SHORT                                   1733 FERNDALE AVE                                                                              NORTHBROOK       IL    60062‐3709
DORIS C TIDWELL                                 470 PALMER ST                                                                                  MILPITAS         CA    95035‐5233
DORIS C WEST TR UA 06/25/91 THE DORIS C WEST    PO BOX 458                                                                                     CHARLOTTE        MI    48813‐0458
TRUST
DORIS CAFARO                                    17 ALLISON AVE                                                                                 COVENTRY         RI    02816‐5001
DORIS CHANDLER                                  25287 E HURON RIVER DR                                                                         FLAT ROCK        MI    48134
DORIS CLARKE CARLISLE                           1802 TURTLE HILL DR                                                                            CORDOVA          TN    38016‐9525
DORIS COBUN & WILLIAM COBUN TR DORIS H COBUN    2007 15TH ST N                        STE 106                                                  ARLINGTON        VA    22201‐2621
TRUST UA 10/16/95
DORIS CONKLIN                                   1210 BAYTREE DR                                                                                HARRELLS         NC    28444‐8862
DORIS CRIST                                     25 CARL LANE                                                                                   OLMSTED FALLS    OH    44138‐1803
DORIS CULPEPPER                                 4642 E 178TH STREET                                                                            CLEVELAND        OH    44128‐3912
DORIS D BANKS                                   16233 CARRIAGE LAMP CT 922                                                                     SOUTHFIELD       MI    48075‐3527
DORIS D CARTER                                  7916 EAST TYLER DR                                                                             TURTLE           OK    73089‐8344
DORIS D CURRIE                                  986 CHARLEMAGNE BLVD                                                                           NAPLES           FL    34112‐7131
DORIS D DAVIS                                   1306 BRYSON ROAD                                                                               COLUMBUS         OH    43224‐2011
DORIS D GREEN                                   4664 DARTMOOR DRIVE                                                                            WILMINGTON       DE    19803‐4808
DORIS D HITE                                    520 BECKER AVE                                                                                 WILMINGTON       DE    19804‐2104
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Name                                               Address1                              Address2             Address3          Address4          City            State Zip

DORIS D HOLBROOK                                   355 MACKEY RD S E                                                                              VIENNA          OH    44473‐9641
DORIS D KESSBERGER TR UA 07/16/93 DORIS D          3342 MUELLER LN                                                                                ST JOSEPH       MO    64506‐1325
KESSBERGER TRUST
DORIS D LEE                                        12830 W RADISSON DR                                                                            NEW BERLIN      WI    53151‐7625
DORIS D SEARS TR UA 09/25/90 DORIS D SEARS TRUST   PO BOX 51863                                                                                   LIVONIA         MI    48151‐5863

DORIS D STAMP & JOHN E STAMP JT TEN                28 OFFSHORE DRIVE                                                                              HILTON HEAD     SC    29928‐5204
                                                                                                                                                  ISLAND
DORIS D VALLS                                      2519 MALINCHE ST                                                                               LAREDO          TX    78040
DORIS DALLOW                                       1740 N CLARK ST APT 1738                                                                       CHICAGO         IL    60614‐5874
DORIS DAVIS                                        17 BROOK ST                                                                                    FRANKLIN        MA    02038‐1611
DORIS DEWILD                                       826 PINE VALLEY DR                                                                             ROCKFORD        IL    61107‐3840
DORIS E BASS                                       3150 SHOREWOOD DR                                                                              ST PAUL         MN    55112‐7949
DORIS E BING & LISA A BING JT TEN                  212 ST JAMES PL                                                                                BROOKLYN        NY    11238‐2302
DORIS E BISCHOFF & JAMES L BISCHOFF JT TEN         10743 COUNTRYSIDE DR                                                                           GRAND LEDGE     MI    48837‐9146
DORIS E CLAYTON                                    2 MALVERN AVE                                                                                  NEWARK          DE    19713‐2603
DORIS E CLOUSE                                     7786 YOUNGMAN RD                                                                               GREENVILLE      MI    48838‐8123
DORIS E COHOON TR DORIS E COHOON REVOCABLE         19146 CARTER RD                                                                                HILLMAN         MI    49746‐8718
LIVING TRUST UA 11/25/97
DORIS E COLLICK                                    5944 AMADORE                                                                                   COMMERCE        MI    48382‐2704
                                                                                                                                                  TOWNSHIP
DORIS E DILUZIO                                  1715 CASTLE GARDEN RD                   APT 175                                                  VESTAL          NY    13850‐1165
DORIS E ELLER                                    8104 HIGHWOOD DR                        APT G 126                                                BLOOMINGTON     MN    55438‐1087
DORIS E EMPANGER & DEAN E EMPANGER JT TEN        113 7TH AVE N                                                                                    HOPKINS         MN    55343‐7308
DORIS E FULLER                                   142 CHICAGO AVENUE                                                                               COLUMBUS        OH    43222‐1134
DORIS E GLOZMEK & JANET J KLAASSEN JT TEN        PO BOX 136                                                                                       OWOSSO          MI    48867‐0136
DORIS E GOBEN & DEANNA K RONCHETTI & DONALD D 4216 COUNTRY LN                                                                                     ST JOSEPH       MO    64506‐2429
GOBEN JR JT TEN
DORIS E HENDRICKS                                4293 ALVIN ST                                                                                    SAGINAW         MI    48603‐3009
DORIS E HOOD                                     1721 E BANKHEAD DR                                                                               WEATHERFORD     TX    76086‐4612
DORIS E JOHNSON TR DORIS E JOHNSON LIVING TRUST 443 FRANKLIN RD                                                                                   PONTIAC         MI    48341‐2431
UA 05/02/03
DORIS E KELLY & TERRENCE V KELLY JT TEN          7312 STATECREST DR                                                                               ANNANDALE       VA    22003‐1646
DORIS E KOLBERG TR DORIS E KOLBERG TRUST UA      14976 SUNBURY                                                                                    LIVONIA         MI    48154‐4043
07/03/03
DORIS E KONTZ                                    208 FOURTH ST (VCL)                                                                              JACKSON         MI    49203
DORIS E LAWTON                                   5129 N 68TH ST                                                                                   SCOTTSDALE      AZ    85253‐7063
DORIS E MONTGOMERY & MARY MONTGOMERY             3779 POTTERS RD                                                                                  IONIA           MI    48846
COLVIN JT TEN
DORIS E MORSE TR SANDRA WRIGHT MASON U‐W         67 WEAVER ST                                                                                     MONTGOMERY      NY    12549‐1320
BURDEEN WRIGHT
DORIS E MURDOCK                                  905 POINSETTIA ST                                                                                CASSELBERRY     FL    32707‐2566
DORIS E MURRAY                                   255 LILLY CHAPEL RD                                                                              W JEFFERSON     OH    43162‐1421
DORIS E OREAR                                    173 SHENANDOAH DR                                                                                FITZGERALD      GA    31750‐8625
DORIS E PAPENFOTH                                520 PAYNE DR                                                                                     CHESHIRE        CT    06410‐1753
DORIS E PETRIE                                   19213 SARATOGA TRAIL                                                                             STRONGSVILLE    OH    44136‐7261
DORIS E RADGOWSKI                                32564 BARKLEY                                                                                    LIVONIA         MI    48154‐3517
DORIS E RANDOLPH                                 100 UPPER MIDDLETOWN RD                                                                          SMOCK           PA    15480‐1104
DORIS E RICHARDS                                 1905 KELLY RD                                                                                    FRANKFORT       IN    46041‐8867
DORIS E SCHOFIELD CUST KIMBERLY A SCHOFIELD UTMA 16 HARVARD ST                                                                                    MALDEN          MA    02148‐7813
MA
DORIS E SIMMONS & ARTHUR T SIMMONS JR JT TEN     PO BOX 2835                                                                                      BROOKINGS       OR    97415‐0502
                                                                                                                                                  HARBOR
DORIS E STANFIELD                                  211 S WATER ST                                                                                 STOCKBRIDGE     MI    49285
DORIS E TEMPLEMAN                                  4180 LAKEVIEW COURT                                                                            DELAND          FL    32724‐9767
DORIS E WALKER TR DORIS E WALKER LIVING TRUST UA   22 WINDMILL WAY                                                                                GREENVILLE      SC    29615‐6150
05/17/96
DORIS E WINSLOW                                    4074 SARAH LANE                                                                                TRAVERSE CITY   MI    49684‐9695
DORIS E WRIGHT                                     3832 FAIRVIEW AV A                                                                             SAINT LOUIS     MO    63116‐4705
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Name                                             Address1                             Address2                 Address3      Address4          City               State Zip

DORIS E YOWLER                                   101 CORY                                                                                      NEW CARLISLE       OH    45344‐1605
DORIS EDGINGTON                                  919 SEALAND DR                                                                                GRINNELL           IA    50112
DORIS EILEEN BLUM                                2211 LYNPARK AVE                                                                              DAYTON             OH    45439‐2733
DORIS ELIZABETH HANNAY                           23 COUNTY ROUTE 408                                                                           WESTERLO           NY    12193‐3208
DORIS ENRIGHT CLARK                              ATTN KAMAL CLARK SHOUKRI             23 VILLAGE VIEW LN                                       UNIONVILLE         CT    06085‐1569
DORIS F BARKS                                    155 AMIGOS WAY                                                                                FALLBROOK          CA    92028‐2415
DORIS F BASSETT                                  504 SHERWOOD LANE                                                                             SALEM              IL    62881‐2594
DORIS F MABRY                                    36807 45TH                                                                                    SHAWNEE            OK    74804‐8805
DORIS F R MAZEIKA CUST THOMAS F R MAZEIKA UGMA   3463 SURELE ROAD                                                                              WANTAGH            NY    11793‐3132
NJ
DORIS F RAYNA                                    520 N MAIN ST                                                                                 STEWARTSVILLE   NJ       08886‐2036
DORIS F SUTTON                                   98 ROBIN LANE                                                                                 BARNEGAT        NJ       08005‐2186
DORIS F THOMAS                                   5429 BANGOR AVE                                                                               FLUSHING        MI       48433‐9000
DORIS FAYE SMITH                                 ATTN DORIS KEEHN                     4540 SEYMOUR LAKE ROAD                                   OXFORD          MI       48371‐4025
DORIS FINKLEA DURDAN                             W 151 N 7050 PLAINVIEW DR                                                                     MENOMONEE FALLS WI       53051‐5032

DORIS G CHINCHAR                               342 CAROLINA STREET                                                                             CLARK              NJ    07066‐1106
DORIS G DE MOSS                                154 FORT DRUM DR                                                                                BOWLING GREEN      FL    33834‐5033
DORIS G ESPENSCHIED TR UA 07/16/92 THE DORIS G 1219 CRATER AVE                                                                                 DOVER              OH    44622‐1109
ESPENSCHIED TRUST
DORIS G FERGUSON                               4025 CAPRICE RD                                                                                 ENGLEWOOD          OH    45322‐2648
DORIS G MODONAS                                1520 HUNTINGTON LN                                                                              DAVISON            MI    48423‐8307
DORIS G OVERMAN                                R ROUTE 2 BOX 53A                                                                               WALTON             IN    46994‐9515
DORIS G ROBINSON                               1920 CARL RD                           APT 141                                                  IRVING             TX    75061‐2912
DORIS G ROTH ROSENBLATT                        15 WOODBOURNE RD                                                                                GREAT NECK         NY    11023‐1318
DORIS G THOMPSON                               HC 69 BOX 63B                                                                                   MIDDLEBOURNE       WV    26149‐8823
DORIS G TOWLES                                 1474 ANDREA AVE                                                                                 YPSILANTI          MI    48197
DORIS G WAHL                                   370 LAFAYETTE RD                                                                                ROCHESTER          NY    14609‐3127
DORIS G WALLACE                                4303 TEAGUE TOWN RD                                                                             TAYLORSVILLE       NC    28681
DORIS G WESTFALL                               PO BOX 1402                                                                                     CASSELBERRY        FL    32707
DORIS GAMBLE                                   8223 N VASSAR RD                                                                                MOUNT MORRIS       MI    48458‐9760
DORIS GARRATT                                  24 MOUNTAIN WAY                                                                                 CEDAR GROVE        NJ    07009‐1619
DORIS GEDIGK                                   FALKENHAUSWEG 56                       D‐12249                  BERLIN        GERMANY
DORIS GOEDICKE                                 CHITTENDEN TRUST CO 8401                                                                        NEWPORT            VT    05855
DORIS GORDON TR GORDON TRUST UA 08/18/94       26516 COCKLEBURR LANE                                                                           SANTA CLARITA      CA    91351‐2337
DORIS GRANDISON SHRAKE                         3320 E 5TH ST                                                                                   ANDERSON           IN    46012‐3943
DORIS GREENE                                   506 MARKET ST                                                                                   KINGSTON           PA    18704‐4530
DORIS H ANGEL                                  1740 BEAVER CREEK LANE                                                                          DAYTON             OH    45429‐3710
DORIS H BERGH                                  2665 GREEN HILLS DR                    BEVERCREEK                                               DAYTON             OH    45431‐8736
DORIS H BIGSBY                                 4427 GLADYS DR                                                                                  LANSING            MI    48917‐3518
DORIS H DIGIACOMO                              84 LAUREL PATH CT                                                                               NOTTINGHAM         MD    21236‐5551
DORIS H GEISER                                 1503 SQUIRREL RD                                                                                MARLTON            NJ    08053‐5015
DORIS H GOERNER                                PO BOX 197                                                                                      NEWFIELDS          NH    03856‐0197
DORIS H GOODMAN TR DORIS H GOODMAN REVOCABLE C/O MICHAEL GOODMAN                      5 EMILY DRIVE                                            FRANKLIN           MA    02038
TRUST UA 12/14/99
DORIS H HANCOCK                                3619 EAST CLUB COLONY                                                                           GASTONIA           NC    28056‐1626
DORIS H KATT                                   177 BEMIS ST UNIT 1A                                                                            TERRYVILLE         CT    06786‐4711
DORIS H KIKEN                                  10 SUBURBIA TERR                                                                                JERSEY CITY        NJ    07305‐1254
DORIS H LATTA                                  4 HEARTHSTONE CT                                                                                GREENVILLE         SC    29615‐3847
DORIS H LEDERER                                11 LOCUST PL                                                                                    NORTH PLAINFIELD   NJ    07060‐4503

DORIS H LEDERMAN                                 345 E 78TH ST                        APT 5A                                                   NEW YORK           NY    10021‐1390
DORIS H LEVENTHAL                                PO BOX 9585                                                                                   BOLTON             CT    06043‐9585
DORIS H MATTOX TR UNDER DECLARATION OF TRUST     18093 COLONNADES PL                                                                           SAN DIEGO          CA    92128‐1265
10/06/88
DORIS H MC CLORY                                 2801 NEW MEXICO AVE NW               APT 1109                                                 WASHINGTON         DC    20007‐3940
DORIS H POTTER TR THE DORIS H POTTER TRUST UA    133 SEVERN WAY                                                                                ARNOLD             MD    21012‐2417
8/9/99
DORIS H SHELTON                                  503 B CAROLYN CT                                                                              EDEN               NC    27288‐5087
                                                09-50026-mg             Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
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DORIS H WALLINGFORD                               1022 EAST RAHN ROAD                                                                              CENTERVILLE     OH    45429‐6108
DORIS H WHEELER                                   915 MORGAN AVE                                                                                   CHATTAHOOCHEE   FL    32324‐1622
DORIS H ZELLHART TR UA 04/23/96                   21100 STATE ST SPC 286                                                                           SAN JACINTO     CA    92583‐8286
DORIS HANFF                                       C/O DORIS ZUCKERMAN                  10685 ROYAL CARIBBEAN CIRCLE                                BOYNTON BEACH   FL    33437
DORIS HANSON SUTHERLAND                           200 OAKWOOD PLACE                                                                                LYNCHBURG       VA    24503‐2038
DORIS HUTTO HARDIN                                NO 144W                              4320 BELLAIRE DR S                                          FORT WORTH      TX    76109‐5127
DORIS I DAWES                                     391 ALDEN ROAD                       #212                                                        FAIRHAVEN       MA    02719
DORIS I DWINNELLS                                 44 ATWOOD RD                                                                                     HAVERHILL       MA    01830‐1742
DORIS I GEROU                                     2727 SUMMERFIELD RD                                                                              WINTER PARK     FL    32792‐5111
DORIS I HARMON                                    2200 WEST FIELD AVE                                                                              BALTIMORE       MD    21214‐1050
DORIS I LAROQUE                                   24 W BLAKELY LAROQUE                                                                             SANFORD         MI    48657
DORIS I MERSINO                                   5098 N FAIRVIEW RD                                                                               WEST BRANCH     MI    48661‐9415
DORIS I ROSS                                      111 S GREENFIELD RD 618                                                                          MESA            AZ    85206‐1252
DORIS I STAMM & JUDITH A STAMM JT TEN             125 N GEBHART CHURCH RD                                                                          MIAMISBURG      OH    45342‐2733
DORIS I WRIGHT & THOMAS W WRIGHT JT TEN           1522 WESTBURY DR                                                                                 DAVISON         MI    48423‐8354
DORIS I WRIGHT TOD LINDA G RILEY SUBJECT TO STA   1522 WESTBURY DR                                                                                 DAVISON         MI    48423
TOD RULES
DORIS I WRIGHT TOD VIRGINIA L DELASHMIT SUBJECT   1522 WESTBURY DR                                                                                 DAVISON         MI    48423
TO STA TOD RULES
DORIS IONE ROBINSON TR UA 09/16/93 THE DORIS IONE 11496 MCCLELLAND                                                                                 GRANT           MI    49327‐9709
ROBINSON TRUST
DORIS IRENE ECKERT                                2115 1ST AVE SE                      APT 1311                                                    CEDAR RAPIDS    IA    52402‐6383
DORIS IRENE PIERCE                                3105 DAVISON ROAD                                                                                HARBORCREEK     PA    16421‐1322
DORIS IRENE SCHRODER                              3433 WEST DALLAS APT 1061                                                                        HOUSTON         TX    77019
DORIS ISOPE & MARIE ISOPE JT TEN                  225 SCHUYLER AVE                                                                                 POMPTON LAKES   NJ    07442‐1127
DORIS J ALLEN                                     100 CAYLOR BLVD                      APT 105                                                     BLUFFTON        IN    46714‐8807
DORIS J ANDERSON & BRADLEY K BURR JT TEN          14192 SW 112TH CR                                                                                DUNNELLON       FL    34432‐8777
DORIS J BALDWIN                                   203 SHADY LANE                                                                                   CAYCE           SC    29033‐2721
DORIS J BELLAMY & PATRICIA A SCHNEIDER JT TEN     1401 JOLSON ST                                                                                   BURTON          MI    48529‐2025

DORIS J BODINE                                    2807 ROYAL PALM DR                                                                               EDGEWATER       FL    32141‐5620
DORIS J BRANDON                                   3 ORCHARD SQUARE                                                                                 CALDWELL        NJ    07006‐5110
DORIS J CARTER                                    112 TAMWOOD LN                                                                                   ELGIN           SC    29045‐8726
DORIS J CHAPPIUS                                  126 HARRIS ROAD                                                                                  SALEM           NJ    08079‐4324
DORIS J DAVIS                                     1008 W 31ST                                                                                      MARION          IN    46953‐3937
DORIS J DUDEK                                     714 PINE BRIAR LN                                                                                GAYLORD         MI    49735‐8992
DORIS J ENGLISH                                   ATTN DORIS J ENGLISH JOHNSON         3491 DRY RUN RD                                             SOUTH LEBANON   OH    45065‐1110
DORIS J FRANKLIN                                  5407 INDEPENDENCE DR                                                                             CHEYENNE        WY    82001‐2200
DORIS J FRANKLIN & CHARLIE L FRANKLIN JT TEN      5407 INDEPENDENCE DR                                                                             CHEYENNE        WY    82001‐2200
DORIS J FRAZIER                                   2225 OLDS ST                                                                                     SANDUSKY        OH    44870‐1914
DORIS J FREELAND TRUST                            375 N PETERS RD                      PO BOX 55                                                   CASNOVIA        MI    49318‐0055
DORIS J FREEMAN                                   1352 BAKER ST                                                                                    WARREN          OH    44483
DORIS J FULLER & RICHARD E FULLER JT TEN          27 BASSETT RD                                                                                    NORTH HAVEN     CT    06473‐1913
DORIS J GEIGER TOD ROSE M GREENE                  181 YORKSHIRE PL UNIT C                                                                          BELLEVUE        OH    44811
DORIS J GILLIAM                                   4341 VAN SLYKE RD                                                                                FLINT           MI    48507
DORIS J GILMORE                                   2401 SHARON                                                                                      DETROIT         MI    48209‐3710
DORIS J GOONAN                                    1757 WATERSTONE BLVD                 APT 104                                                     MIAMISBURG      OH    45342‐5496
DORIS J GRONER                                    1274 RIVER RD                                                                                    OSCODA          MI    48750
DORIS J HALL TR HALL FAMILY TRUST UA 02/15/92     15420 HIGHPOINTE                                                                                 MIDDLEFIELD     OH    44062

DORIS J HOFACKER                                  130 W 2ND ST                         STE 1900                                                    DAYTON          OH    45402‐1506
DORIS J HUGHES                                    354 MANKIN AVE                                                                                   BECKLEY         WV    25801
DORIS J JACKSON                                   19457 WASHBURN                                                                                   DETROIT         MI    48221‐1467
DORIS J JOHNSON                                   1230 KILGORE STREET                                                                              HOLLY HILL      FL    32117‐1852
DORIS J KESTNER                                   19 BERGAMOT DR                                                                                   STAFFORD        VA    22556‐6611
DORIS J KLINGELHOFER                              7258 GOUGH ST                                                                                    BALTIMORE       MD    21224‐1810
DORIS J KLINGELHOFER & BONNIE L SANDLER JT TEN    7258 GOUGH ST                                                                                    BALTIMORE       MD    21224‐1810
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DORIS J KLINGELHOFER & MARION G KLINGELHOFER JT   7258 GOUGH STREE                                                                                BALT               MD    21224‐1810
TEN
DORIS J KURTOCK                                   2103 HEDGEWOOD DRIVE                                                                            BLOOMINGTON        IL    61704‐2403
DORIS J LAYNE                                     PO BOX 634                                                                                      ORWELL             OH    44076‐0634
DORIS J MACK                                      88 VICTORY DRIVE                                                                                PONTIAC            MI    48342‐2560
DORIS J MAHILO TOD DAVID J MAHILO                 35900 WESTMINISTER AVENUE              APT 233                                                  NORTH RIDGEVILLE   OH    44039‐4521

DORIS J MARLOW                                    532 S VIRGINIA                                                                                  BELLEVILLE         IL    62220‐3683
DORIS J MARZETTE                                  141 LISCUM DR                                                                                   DAYTON             OH    45427‐2802
DORIS J MCCAULEY                                  5018 PALMYRA ROAD SW                                                                            WARREN             OH    44481‐9711
DORIS J MEIER                                     4744 W BARNES RD                                                                                MILLINGTON         MI    48746‐9663
DORIS J MIETHKE                                   3206 THOMAS TRACE                                                                               COLUMBUS           IN    47203‐2846
DORIS J MILLER                                    7315 HWY 66 P O BOX 152                                                                         WADESVILLE         IN    47638‐0152
DORIS J MISCHLEY                                  114 MESA DR                                                                                     SALIDA             CO    81201‐1709
DORIS J MOORE                                     1213 OLEANDER ST                                                                                MOUNT MORRIS       MI    48458‐2821
DORIS J MULLINS                                   16527 LESURE ST                                                                                 DETROIT            MI    48235‐4010
DORIS J MURPHY                                    10358 CLOVERDALE AVE                                                                            FERNDALE           MI    48220‐2103
DORIS J NYLUND TR DORIS J NYLUND TRUST UA         6029 HERSHOLT AVE                                                                               LAKEWOOD           CA    90712‐1343
08/13/94
DORIS J OGATA & JERRY K OGATA JT TEN              PO BOX 10913                                                                                    PRESCOTT           AZ    86304
DORIS J OHNEMUS & GERALD OHNEMUS JT TEN           1912 MARLA DR                                                                                   QUINCY             IL    62301‐1201
DORIS J OILER                                     7342 MC SMITH CT                                                                                DAYTON             OH    45414‐2482
DORIS J PEARSON                                   7677 AMBASSADOR DR                                                                              SHELBY TWP         MI    48316‐5365
DORIS J PETTE                                     2963 LEGEND LANE                                                                                WILLOUGHBY HILLS   OH    44092‐2800

DORIS J PORCHIA                                   2727 SUMMER FIELD ROAD                                                                          WINTER PARK        FL    32792‐5111
DORIS J RINAL TR UA 10/12/2004 RINAL SPECIAL      811 OAKTREE COURT                                                                               LEBANON            OH    45036
PURPOSE TRUST
DORIS J SCHONHOFF                                 201 WINDMERE DRIVE                                                                              CHATTANDOGA        TN    37411‐1824
DORIS J SMITH                                     6465 S MORRISH RD                                                                               SWARTZ CREEK       MI    48473‐7604
DORIS J SMITH                                     PO BOX 464                                                                                      WYNNEWOOD          OK    73098‐0464
DORIS J SPENCER                                   6942 CUMBERLAND PLACE                                                                           STOCKTON           CA    95219‐3241
DORIS J STEENBOCK                                 E9209 CTY TRK I                                                                                 CLINTONVILLE       WI    54929
DORIS J STEVENS                                   2929 E CLAIRE DR                                                                                PHOENIX            AZ    85032‐5015
DORIS J STIDNICK                                  1830 MARSH WREN WAY                                                                             PALM HARBOR        FL    34683‐6143
DORIS J STILES                                    311 ELIZABETH AVE                                                                               TOMS RIVER         NJ    08753‐7123
DORIS J THIELKE                                   508 DIVISION ST                                                                                 WAUSAU             WI    54403‐6205
DORIS J THOMASSON                                 3612 WILLIS AVE                                                                                 LOUISVILLE         KY    40207‐3773
DORIS J THROGMORTON                               216 FEDERAL DR                                                                                  ANDERSON           IN    46013‐4706
DORIS J VAUGHN & BEN R VAUGHN JT TEN              6634 HENRY RUFF RD                                                                              GARDEN CITY        MI    48135‐2011
DORIS J WAGNER                                    127 MATSON AVE                                                                                  SYRACUSE           NY    13205
DORIS J WEEKS                                     2306 ROMANO BLVD                                                                                BELMAR             NJ    07719‐4427
DORIS J WILKES                                    94 NORTH GLENWOOD                                                                               PONTIAC            MI    48342‐1503
DORIS J WILL                                      1608 SMITH RD                                                                                   CHARLESTON         WV    25314‐2329
DORIS J WILLIAMS                                  BOX 148                                                                                         MURRAY             KY    42071‐0148
DORIS J WINTER TR UA 03/15/94 DORIS J WINTER      1721 CATALPA                                                                                    BERKLEY            MI    48072‐2057
REVOCABLE LIVING TRUST
DORIS J WRIGHT                                    118 ARROWHEAD LN                                                                                HAINES CITY        FL    33844‐9589
DORIS JAMES                                       1189 RUNGE AVE                                                                                  STRUTHERS          OH    44471‐1474
DORIS JAN FRANKLIN                                115 CHICORA ST                                                                                  BROOK HAVEN        MS    39601‐2807
DORIS JANE HARPST                                 PO BOX 294                                                                                      BIRCH RUN          MI    48415‐0294
DORIS JANE MCDONALD                               3320 VINSETTA                                                                                   ROYAL OAK          MI    48073‐3382
DORIS JEAN BRILLHART                              430 PROVIDENCE AVE SE                                                                           NEW PHILA          OH    44663
DORIS JEAN BROWING                                911 GREEN TWP RD 2506                                                                           PERRYSVILLE        OH    44684
DORIS JEAN CRUEA                                  1144 JOHNSTOWN RD                                                                               CHESAPEAKE         VA    23322‐8811
DORIS JEAN GALLOWAY                               3 SOUTHDOWNS DR                                                                                 KOKOMO             IN    46902‐5116
DORIS JEAN KIEFER                                 PO BOX 69                                                                                       TUNGANOXIE         KS    66086‐0069
DORIS JEAN MARR DODD                              3095 DUNLIN LAKE WAY                                                                            LAWRENCEVILLE      GA    30044‐3586
DORIS JEAN METZGER                                8586 N 200 W                                                                                    THORNTOWN          IN    46071‐8943
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DORIS JEAN MIKORYAK EMERY                         PO BOX 2687                                                                                  CHINO VALLEY      AZ    86323‐2687
DORIS JEAN MOGERLEY                               1262 PINESLAKE DR WEST                                                                       WAYNE             NJ    07470‐6112
DORIS JEAN MUTZ                                   3711 GLASGOW DR                                                                              LANSING           MI    48911‐1327
DORIS JEAN PARDON                                 140 STOLI COURT                                                                              ONSTED            MI    49265‐9642
DORIS JEAN REEDY                                  87 EMS T17A LN                                                                               LEESBURG          IN    46538‐9572
DORIS JEAN SMITH UMSTATTD                         BOX 5127                                                                                     AUSTIN            TX    78763‐5127
DORIS JEANNE CHENG                                725 NEWELL AVE                                                                               DALLAS            TX    75223‐1159
DORIS JENSEN                                      423 PETERS BLVD                                                                              BRIGHTWATERS      NY    11718‐1709
DORIS JENSON                                      1480 ACADIA ST                                                                               SIMI VALLEY       CA    93063‐3109
DORIS JOAN ZALETEL                                1022 EAST NORTH ST                                                                           LOCKPORT          IL    60441
DORIS JONES UCHWAT                                261 E LA ESPINA                                                                              GREEN VALLEY      AZ    85614‐2110
DORIS K ADAMS                                     BOX 6794                                                                                     LOUISVILLE        KY    40206‐0794
DORIS K CHATMAN                                   6420 BREEZY POINT LN                                                                         KALAMAZOO         MI    49009‐8059
DORIS K COOPER                                    8312 JUNIPER LANE                                                                            PRAIRIE VILLAGE   KS    66207‐1760
DORIS K DI PADOVA                                 2321 HOLLYWOOD RD                                                                            PT PLEASANT       NJ    08742‐4304
DORIS K DIENSTBERGER                              704 N MOENING ST                                                                             DELPHOS           OH    45833‐1225
DORIS K KOVEAL & RUSSELL J KOVEAL JT TEN          BOX 285 RD1                                                                                  GLEN MILLS        PA    19342‐0285
DORIS K LINCOLN                                   88 SCOTT SWAMP RD                   APT 316                                                  FARMINGTON        CT    06032‐2991
DORIS K NELSON                                    3633 NIMROD ST                                                                               SEAFORD           NY    11783‐3416
DORIS KADISH                                      172 GOLDFINCH DR                                                                             MONROE TWNSHP     NJ    08831

DORIS KEARNS SLANKER                            4158 ENCHANTRA CIR                                                                             CASTLE ROCK       CO    80104‐9647
DORIS KEMP                                      C/O DORIS RUSSELL                     393 PINEBURR LN                                          STONE MTN         GA    30087‐5516
DORIS KENT & WALTER KENT SR JT TEN              630 CHICAGO ST                                                                                 SUMNER            IA    50674
DORIS KILWAY                                    477 HAMPTON RIDGE DRIVE                                                                        AKRON             OH    44313‐5073
DORIS KISH                                      8 HELENA STREET                                                                                EAST BRUNSWICK    NJ    08816‐3934
DORIS KLEDZIK                                   202 W ERIE RD                                                                                  TEMPERANCE        MI    48182
DORIS KNECHT TR DORIS KNECHT REVOCABLE TRUST UA 11355 E CLEMENTS CIR                                                                           LIVONIA           MI    48150‐3236
01/22/92
DORIS L BELL                                    32 SANDSTONE DR                                                                                CONWAY            AR    72034
DORIS L BREIJAK                                 545 SPARKS ST                                                                                  JACKSON           MI    49202
DORIS L BROWN                                   5231 W WILSON RD                                                                               CLIO              MI    48420‐9450
DORIS L CHANDLER                                2700 N WASHINGTON L‐252                                                                        KOKOMO            IN    46901‐5852
DORIS L CHAPPELL                                19901 TRINITY                                                                                  DETRIOT           MI    48219‐1339
DORIS L CRUMLEY                                 PO BOX 3278                                                                                    EL PASO           TX    79923‐3278
DORIS L DAVIS                                   1915 DURHAM                                                                                    IRVING            TX    75062‐3520
DORIS L DEMMIN TR UA 03/12/90 THE DEMMIN TRUST 20655 PASEO MONTANA                                                                             MURRIETA          CA    92562‐8806

DORIS L FORDS                                     1858 ELK GROVE LNDG                                                                          SAN JOSE          CA    95131‐3805
DORIS L FORSHEE                                   20200 NORTH TERRITORIAL                                                                      CHELSEA           MI    48118‐9141
DORIS L GRAYSON                                   PO BOX 24796                                                                                 DETROIT           MI    48224
DORIS L HARAKY                                    614 MORNING GLORY LANE                                                                       UNION             OH    45322‐3020
DORIS L HARDIMON                                  PO BOX 283                                                                                   ARCADIA           OK    73007‐0283
DORIS L HAYES                                     15 PARKHURST ST                                                                              PONTIAC           MI    48342‐2629
DORIS L HAYS TR DORIS L HAYS REVOCABLE LIVING     5274 COOLEY LAKE RD                                                                          WATERFORD         MI    48327‐2817
TRUST UA 01/13/93
DORIS L HORNBY                                    30 SCHOOL ST                                                                                 KEENE             NH    03431‐3308
DORIS L IVY                                       101 N TILLEY ST #A1                                                                          ADVANCE           MO    63730
DORIS L JESSIE                                    1111 JOUSTING WAY                                                                            MOUNT AIRY        MD    21771‐5017
DORIS L JESSIE & DIANA K MAHONEY JT TEN           1111 JOUSTING WAY                                                                            MT AIRY           MD    21771‐5017
DORIS L JESTER & RONALD E JESTER SR JT TEN        2947 WOODTOP DR                                                                              JACKSONVILLE      FL    32277‐2626
DORIS L KOBUS                                     800 LINCOLN AVE EAST                #314                                                     CRANFORD          NJ    07016
DORIS L LAMAR                                     2002 W STEWART AVE                                                                           FLINT             MI    48504‐3738
DORIS L LUFT                                      179 BURKEHAVEN HILL RD                                                                       SUNAPEE           NH    03782‐2606
DORIS L MORRIS                                    438 E PAGE ST                                                                                FLINT             MI    48505‐4644
DORIS L NASHOLD                                   8823 PINE RIDGE RD                                                                           SAN ANTONIO       TX    78217‐5831
DORIS L NEUBAUER                                  754 HUNTERS CHASE DR                                                                         VAN DALIA         OH    45377‐9450
DORIS L PANIK                                     94 W 1116 S                                                                                  FAIRMOUNT         IN    46928‐9172
DORIS L PEARSON                                   2519 BRADENBAUGH RD                                                                          WHITE HALL        MD    21161‐9651
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

DORIS L SAN MARTINO                               804 HENSLEE DR                                                                                 EULESS            TX    76040
DORIS L SMITH & DONALD L SMITH TEN ENT            243 GRANDVIEW AVE                                                                              CHABERSBURG       PA    17201‐1023
DORIS L TAYLOR                                    5627 MORNING GLORY LN                                                                          TUSCALOOSA        AL    35405‐4187
DORIS L TAYLOR & DORIS FAYE TAYLOR JT TEN         5377 APPLE HILL CT                                                                             FLUSHING          MI    48433‐2401
DORIS L TURCOTT                                   6336 KIM COURT                                                                                 OTTERLAKE         MI    48464‐9756
DORIS L WAGNER                                    3217 SE GRANT ST                                                                               ANKENY            IA    50021‐9472
DORIS L WARD                                      779 SEVILLE BLVD                                                                               PONTIAC           MI    48340‐1063
DORIS L WILLIAMS                                  11104 NW 112TH                                                                                 YUKON             OK    73099‐8034
DORIS L WILLIAMS                                  4508 GREENLAWN DR                                                                              FLINT             MI    48504‐2046
DORIS L WILLIAMS                                  9719 W TOWER AVE                                                                               MILWAUKEE         WI    53224‐2998
DORIS L WILLIAMS                                  925 MILLBROOK DR E                                                                             FLINT             MI    48503‐1689
DORIS LANKSTON CLINTON                            509 RED OAK DR                                                                                 MANDEVILLE        LA    70471‐2709
DORIS LANKSTON CLINTON & MARILYN LANKSTON         509 RED OAK DR                                                                                 MANDEVILLE        LA    70471‐2709
EVANS TEN COM
DORIS LAUTERBACH & NANCY L GROOMES JT TEN         2334 FEESER RD                                                                                 TANEYTOWN         MD    21787
DORIS LAYFIELD                                    5419 S SARATOGA AVE                                                                            YOUNGSTOWN        OH    44515‐4074
DORIS LEE THOMPSON & HAROLD E THOMPSON JT TEN     1401 N HARRISON ST                                                                             ALEXANDRIA        IN    46001‐1011

DORIS LOUISE GENEST                               319 HAYWARD ST                                                                                 MANCHESTER        NH    03103‐5532
DORIS LOUISE WILT                                 470 WILT ROAD                                                                                  MCCLURE           PA    17841‐8940
DORIS LUPINSKI                                    1314 KENWOOD RD                       OAK HILL                                                 WILMINGTON        DE    19805‐1327
DORIS M ANDERSON                                  1260 CAMBRIDGE AVE                                                                             PLAINFIELD        NJ    07062‐2232
DORIS M ARNTSEN TR DORIS M ARNTSEN LIVING TRUST   500 W PUGET AVE                                                                                PHOENIX           AZ    85021‐4563
UA 09/03/91
DORIS M BERGNER TOD PAULA MAYS                    5529 LIBERTY FAIRFIELD RD             LOT 23                                                   HAMILTON          OH    45011‐8548
DORIS M BOMBICH                                   764 HARMONY RD                                                                                 EATONTON          GA    31024‐5869
DORIS M BONNEWELL & DEWEY J BONNEWELL JT TEN      788 HURRICANE CREEK RD                                                                         STEWART           TN    37175‐4031

DORIS M BORDEAUX                                  390 HAYES                                                                                      COMSTOCK PARK     MI    49321‐9539
DORIS M BRANDT                                    747 PRINCETON AVE                                                                              BRICK             NJ    08724‐4860
DORIS M BRISSAE TR DORIS M BRISSAE TRUST UA       1426 N CONCORD AVE                                                                             FULLERTON         CA    92831‐2119
10/20/99
DORIS M BUSCH                                     1711 ARTHUR ST                                                                                 GRAND ISLAND      NE    68803‐6320
DORIS M CHIANG                                    610 GAGE LN                                                                                    NORTH WALES       PA    19454‐2735
DORIS M COLLINS                                   1221 NE 50 HWY                                                                                 KNOB NOSTER       MO    65336
DORIS M COOK                                      17536 WILDEMERE                                                                                DETROIT           MI    48221‐2725
DORIS M COOK                                      1140 JOSSMAN                                                                                   ORTONVILLE        MI    48462‐9014
DORIS M DARLING & HARVEY P DARLING JT TEN         312 S MAIN ST                                                                                  OVID              MI    48866‐9761
DORIS M DAY                                       6 PHYLLIS LANE                                                                                 MILTON            MA    02186‐4628
DORIS M DILL                                      1112 THORNECREST DR                                                                            JANESVILLE        WI    53546‐1790
DORIS M DISCH                                     315 E HIGHLAND                                                                                 MONTICELLO        WI    53570
DORIS M DRUDGE & SHARON M DRUDGE JT TEN           C/O SHARON M BULLINGTON               4818 DEER LODGE RD                                       NEW PORT RICHEY   FL    34655‐4348

DORIS M E MC CRACKEN                              2620 PIKE CREEK ROAD                                                                           WILMINGTON        DE    19808‐3610
DORIS M FAY & DEBRA L REUTER JT TEN               711 NELSON                                                                                     BRIGHTON          MI    48116‐1646
DORIS M FAY & SHERRY L NYHUS JT TEN               711 NELSON                                                                                     BRIGHTON          MI    48116‐1646
DORIS M FELLOWS TRUSTEEE U‐A DTD 10‐07‐83 F‐B‐O   4200 N OCEAN DR TOWER 2 501                                                                    SINGER ISLAND     FL    33404
DORIS M FELLOWS
DORIS M FISHER TOD JAMES D FISHER                 298 CHESTERFIELD CIRCLE                                                                        DAYTON            OH    45431
DORIS M GAFFNEY TR UA 09/11/06 DORIS M GAFFNEY    1756 LANBURY DR                                                                                KETTERING         OH    45439
TRUST
DORIS M GERARD                                    9951 MAMMOTH DR                                                                                HUNTINGTON        CA    92646‐5352
                                                                                                                                                 BEACH
DORIS M GILPIN & HENRY EDMUND GILPIN TR GILPIN    1353 JACKS RD                                                                                  MONTEREY          CA    93940‐4910
FAMILY TRUST 11/15/85
DORIS M GRIM                                      PO BOX 685                                                                                     VAN BUREN         MO    63965‐0685
DORIS M GROVER                                    5422 WOODGATE DR                                                                               DAYTON            OH    45424‐2744
DORIS M GUNN                                      1002 NORTHWOOD ST N E                                                                          GRAND RAPIDS      MI    49505
DORIS M HALEY                                     13617 NORTHGATE DR                                                                             SILVERSPRING      MD    20906‐2210
                                             09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

DORIS M HARRISON                                  740 WILLOW ST                                                                                  SOUTHAMPTON       PA    18966‐3430
DORIS M HARRISON                                  740 WILLOW ST                                                                                  SOUTHAMPTON       PA    18966‐3430
DORIS M HOLLAND                                   10793 W M 48                                                                                   RUDYARD           MI    49780‐9236
DORIS M HOOPAUGH                                  2095 KILCREASE RD                                                                              BETHLEHEM         GA    30620‐4507
DORIS M IBACH & WENDELL IBACH JT TEN              EAST 551 BROAD                                                                                 SPOKANE           WA    99207‐1526
DORIS M JONES                                     1345 S ETHEL ST                                                                                DETROIT           MI    48217
DORIS M JUNEAU                                    5125 THIBODEAUX ROAD                                                                           GREENWELL         LA    70739‐3760
                                                                                                                                                 SPRINGS
DORIS M LANGOLF & FRED G LANGOLF JT TEN        10724 S DRAKE AVE                                                                                 CHICAGO           IL    60655‐2606
DORIS M LENTZ                                  129 CENTER AVE                                                                                    MT PLEASANT       PA    15666‐2003
DORIS M LYNCH & WILLIAM C LYNCH JT TEN         36345 GRANDRIVER APT 101                                                                          FARMINGTON        MI    48335‐3059
DORIS M MACON TR MACON CREDIT SHELTER TRUST UA 4647 N ARDMORE AVE                                                                                MILWAUKEE         WI    53211‐1111
11/11/96
DORIS M MC CONNELL TR THE DORIS M MC CONNELL   8049 SW 115TH LOOP                                                                                OCALA             FL    34481‐3568
LIVING TRUST UA 03/21/96
DORIS M MCGUIRE                                722 GREENWOOD RD                                                                                  UNION             NJ    07083‐7422
DORIS M MCLAUGHLIN                             973 CARTER DR                                                                                     GRAND ISLAND      NY    14072‐2603
DORIS M MEASEL                                 100 OLIVER STREET                        APT 3                                                    NORTH             NY    14120‐5456
                                                                                                                                                 TONAWANDA
DORIS M MEKUS                                    RT #4                                  7398 INDPENDENCE                                         DEFIANCE          OH    43512‐9031
DORIS M MILLARD                                  118 GLENVIEW DR                                                                                 LAWRENCEVILLE     NJ    08648‐4415
DORIS M MILLER TR UA 06/15/07 DORIS M MILLTER    6114 GOSHEN ROAD                                                                                GOSHEN            OH    45122
LIVING TRUST
DORIS M MORGAN                                   501 E FRANKLIN ST APT 14                                                                        TAYLORVILLE       IL    62568‐2670
DORIS M NELSON                                   11602 SUGAR RIDGE RD                                                                            BOWLING GREEN     OH    43402‐9285
DORIS M NEUBERGER                                1906 PACIFIC AVENUE                                                                             ALAMEDA           CA    94501‐2616
DORIS M ONEIL & JAMES HAHN JT TEN                37041 CHANCEY RD                       LOT 265                                                  ZEPHYRHILLS       FL    33541‐6651
DORIS M PEALER TOD BEVERLY A SHAW SUBJECT TO STA 403 TOURNAMENT TRAIL                                                                            CORTLAND          OH    44410
TOD RULES
DORIS M PEALER TOD BRENDA L BANGERT SUBJECT TO 403 TOURNAMENT TRAIL                                                                              CORTLAND          OH    44410
STA TOD RULES
DORIS M PEALER TOD REX A PEALER SUBJECT TO STA   403 TOURNAMENT TRAIL                                                                            CORTLAND          OH    44410
TOD RULES
DORIS M RABINOVITZ CUST ZEV RANDONE UTMA NE      65‐09 N MOZART                                                                                  CHICAGO           IL    60645‐4303

DORIS M REESE                                     5740 BOOTH                                                                                     KANSAS CITY       MO    64129‐2737
DORIS M REYNOLDS                                  5873 LAKE RESORT TERRACE              APT 302‐E                                                CHATTANOOGA       TN    37415
DORIS M RODAK & LORINDA M DESANTIS JT TEN         935 NORTH DIVISON ST                                                                           PEEKSKILL         NY    10566‐1801
DORIS M ROYER & RICHARD ROYER JT TEN              742 MAIN RD                                                                                    HUNLOCK CREEK     PA    18621‐3813
DORIS M SEABAUGH                                  886 W KESIER RD                                                                                COLUMBIA CITY     IN    46725‐8041
DORIS M SILVERTHORN & GARY L SILVERTHORN JT TEN   7911 4TH AVE W                                                                                 BRADENTON         FL    34209‐3253

DORIS M STARK                                     34857 FAIRCHILD                                                                                WESTLAND          MI    48186‐8410
DORIS M STERNER                                   57 SWEETBROOK ROAD                                                                             STATEN ISLAND     NY    10312‐2438
DORIS M TEGNER                                    30817 EUCLID AVE                                                                               WILLOUGHBY        OH    44094‐3157
DORIS M THOMAS                                    1401 SHARON ACRES RD                                                                           FOREST HILL       MD    21050‐1217
DORIS M TOMASEK                                   4721 KRUEGR AVE                                                                                PARMA             OH    44134‐2417
DORIS M TOUCHETTE                                 20566 LENNANE ST                                                                               REDFORD           MI    48439
DORIS M TOWNSEND                                  12362 GREENLAWN                                                                                DETROIT           MI    48204‐1115
DORIS M UPTON                                     110 HOWARD ST                                                                                  BELEN             NM    87002‐6219
DORIS M VAUGHN                                    10 ALABAMA ST                         PO BOX 96                                                SHIRLEY           IN    47384‐0096
DORIS M VAUGHT                                    1410 LYNNHURST DR                                                                              NEW CASTLE        IN    47362‐1943
DORIS M WALKER                                    1000 WEST BARNES                                                                               LANSING           MI    48910‐1308
DORIS M WHEELER & RICHARD JR J WHEELER JT TEN     3451 MELODYMANOR DR                                                                            CINCINNATI        OH    45239‐5448

DORIS M WHITE                                     7400 ASHTON AVE                                                                                DETROIT           MI    48228‐3449
DORIS M WIETECHA                                  37314 SOUTH WOODMENS TRAIL                                                                     DE TOUR VILLAGE   MI    49725‐9544
DORIS M WINN & JOAN MARIE AUSTIN JT TEN           11412 ANNA LISA DR                                                                             STERLING HEIGHT   MI    48312‐2106
DORIS M WOEHNKER                                  9620 COLSONS HILL                                                                              FORT WAYNE        IN    46825‐2159
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DORIS M ZIEGLER                                  1827 BONNIE BLUE LANE                                                                         MIDDLETOWN       PA    17057‐5915
DORIS MAE LASHER                                 91 SKYLINE DR                                                                                 CANFIELD         OH    44406‐1234
DORIS MAE NYDAHL                                 5408 FT PIERCE BLVD                                                                           FT PIERCE        FL    34951‐1963
DORIS MARIE BOWMAN                               360 WARD CEMETERY RD                                                                          CORBIN           KY    40701‐8621
DORIS MARIE DIMICK                               246 PONCHARTRAIN                                                                              FENTON           MI    48430‐1733
DORIS MARIE STUMP                                342 SOUTH SECOND                                                                              TIPP CITY        OH    45371‐1717
DORIS MARIE WEST                                 4658 CRESCENT BCH RD                                                                          ONEKAMA          MI    49675‐9714
DORIS MARTINSON                                  1304 QUINCY SHORE DR                                                                          QUINCY           MA    02169‐2318
DORIS MARY MATES                                 250 MINORCA BEACH WAY                G304                                                     NEW SMYRNA       FL    32169‐6005
                                                                                                                                               BEACH
DORIS MARY SPENCER                               556 MARY ST                          OSHAWA ON                              L1G 5E7 CANADA
DORIS MAXWELL                                    5109 THREE MILE RD                                                                            BAY CITY         MI    48706‐9004
DORIS MC CRARY                                   19655 ROCKSIDE RD                                                                             BEDFORD          OH    44146‐7203
DORIS MCVICKER MILLER                            4703 BURNS CIRCLE                                                                             ORANGE           TX    77630‐2800
DORIS MELBA PERKINS                              1980 SW TT HIGHWAY                                                                            KINGSVILLE       MO    64061‐9214
DORIS MONTAGNA                                   36 WOODLAND DRIVE                                                                             RYE BROOK        NY    10573‐1722
DORIS MOSES                                      1008 E SPRAKER ST                                                                             KOKOMO           IN    46901‐2511
DORIS N ERVIN                                    1910 ORME LANE                                                                                MANTECA          CA    95336‐6212
DORIS N HAWKE & RAYMOND G HAWKE TEN ENT          809 EASTERN BOULEVARD                SUITE 300                                                BALTIMORE        MD    21221
DORIS N HENDERSON                                419 HILLWOOD DRIVE                                                                            LORETTO          TN    38469
DORIS N LA BAW                                   3843A W 4100 S                                                                                SALT LAKE CITY   UT    84120‐5401
DORIS N LAKOTA                                   909 HURSTVIEW                                                                                 HURST            TX    76053
DORIS N TRUJILLO                                 PO BOX B                                                                                      PIXLEY           CA    93256‐1002
DORIS NELSON                                     98 N PECK                                                                                     LA GRANGE        IL    60525‐5830
DORIS NEWMAN                                     3409 O'HARA RD SW                                                                             HUNTSVILLE       AL    35801‐3449
DORIS NORMAN                                     4119 COLBY                                                                                    GRAND RAPIDS     MI    49509‐4418
DORIS O KELLUM                                   7786 CO RD 539                                                                                ITTA BENA        MS    38941‐2229
DORIS P AMMERMAN & JEROME C AMMERMAN JT TEN      5135 DURWOOD DR                                                                               SWARTZ CREEK     MI    48473‐1123

DORIS P BONDS                                      3144 BARKSIDE CT                                                                            ATLANTA          GA    30341‐4202
DORIS P BYRD                                       2830 BURMA DR                                                                               PEARL            MS    39208‐5111
DORIS P GLENN                                      BENGE ROAD                         PO BOX 391                                               HOCKESSIN        DE    19707‐0391
DORIS P HARRISON                                   10840 COPPERMILL CIR               APT 1G                                                   INDIANAPOLIS     IN    46234‐4039
DORIS P JOHNSON                                    5165 CATHERINE ST                                                                           MAPLE HEIGHTS    OH    44137‐1403
DORIS P JOSLYN                                     80 SLEIGHT PLASS ROAD                                                                       POUGHKEEPSIE     NY    12603‐6134
DORIS P KANE                                       4031 KENNETT PIKE                  APT 46                                                   WILMINGTON       DE    19807‐2032
DORIS P MARSTELLER TR UA 07/08/92 THE DORIS P      2093 STONEBRIGE CROSSING                                                                    STOW             OH    44224
MARSTELLER TRUST
DORIS P MC KAY                                     16 WESTON AVE                                                                               HOLBROOK         MA    02343‐1429
DORIS P MEYER & ORVILLE A MEYER JT TEN             915 5TH ST                                                                                  MONETT           MO    65708‐1438
DORIS P SALCIDO TR DORIS P SALCIDO LIVING TRUST UA 26035 BOUQUET CANYON APT 335                                                                SANTA CLARITA    CA    91350‐2517
6/24/91
DORIS P SEMELER                                    30777 DAGSBORO ROAD                                                                         SALISBURY        MD    21804‐2176
DORIS PATRICIA APPLEBY & POLLY P PATTERSON JT TEN 801 VANOSDALE RD                    #106                                                     KNOXVILLE        TN    37909‐2497

DORIS PERL & WOLF PERL JT TEN                    7249 NY 66                                                                                    EAST NASSAU      NY    12062‐9712
DORIS PETTICORD                                  1651 SKYLAND DR                                                                               LAKE OSWEGO      OR    97034‐6444
DORIS PULLANO                                    15496 ORLANDA DR                                                                              BONITA SPGS      FL    34135‐8525
DORIS PURKEY MCVEY                               9714 DENEEN ST                                                                                NOBLESVILLE      IN    46060‐1533
DORIS Q SIMONS                                   12464 KENOWA AVE                                                                              KENT CITY        MI    49330‐9711
DORIS R BALLARD                                  3229 FORESTBROOK DR N                                                                         LAKELAND         FL    33811‐1659
DORIS R BECTON                                   2446 U S HIGHWAY 70 WEST                                                                      GOLDSBORO        NC    27530‐9550
DORIS R BELLINGER                                9769 ANTHONY RD                                                                               BREWERTON        NY    13029‐9766
DORIS R CHAMBLISS                                116 WINTERVIEW DR                                                                             SUFFOLK          VA    23434‐7670
DORIS R CLARK                                    1601 19TH AVE                        APT 405                                                  SAN FRANCISCO    CA    94122‐3475
DORIS R CLEAVER                                  4316 PARLIMENT CT                                                                             ANDERSON         IN    46013‐4437
DORIS R COUGHLAN                                 1167 MCKEE RD APT 108                                                                         DOVER            DE    19904‐2202
DORIS R CRAWFORD                                 4009 PRESCOTT AVE                                                                             DAYTON           OH    45406‐3455
DORIS R DRAHOS                                   97 MITHCELL ROAD                                                                              SOMERS           NY    10589
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Name                                                 Address1                              Address2             Address3          Address4          City              State Zip

DORIS R DRAHOS & ANTHONY N DRAHOS JT TEN             97 MITCHELL RD                                                                                 SOMERS            NY    10589‐1801
DORIS R DRAHOS & DEBORAH A DRAHOS JT TEN             97 MITCHELL RD                                                                                 SOMERS            NY    10589‐1801
DORIS R DULL                                         747 24TH ST                                                                                    BUENA VISTA       VA    24416‐2223
DORIS R FARRELL TR FARRELL LIVING TRUST UA           40 PARK HEIGHTS AVE                                                                            DOVER             NJ    07801‐3308
05/26/99
DORIS R KRAEMER & ARTHUR P KRAEMER JT TEN            335 STRATFORD AVE                                                                              WESTMONT          NJ    08108‐2209
DORIS R OLIVERI TR DORIS R OLIVERI REVOCABLE TRUST   1884 KAPEL DR                                                                                  EUCLID            OH    44117‐1828
UA 03/04/99
DORIS R POPP                                         3906 CAMBORNE LN                                                                               LOUISVILLE        KY    40299‐5472
DORIS R PRESLEY                                      111 GARDEN ST                                                                                  HARBOR BEACH      MI    48441‐1165
DORIS R SKELLY & ERICA P GUTIERREZ JT TEN            500 E 85TH ST 12C                                                                              NEW YORK          NY    10028
DORIS R WINKLE TR UA 05/23/89 DORIS R WINKLE         1501 EL PASO LANE                                                                              FULLERTON         CA    92833‐1930
TRUST
DORIS READE                                          2 GRACE CHURCH ST                                                                              RYE               NY    10580‐3950
DORIS ROBERSON                                       145 HOOVER RD                                                                                  YONKERS           NY    10710‐3408
DORIS RUTH ANDERSON                                  9428 SPRINGDALE DR                                                                             RALEIGH           NC    27613‐7544
DORIS RUTH JONES                                     170 KISER DRIVE                                                                                TIPP CITY         OH    45371‐1309
DORIS S CHANDLER                                     1235 HARBIN RIDGE LN                                                                           KNOXVILLE         TN    37909‐2385
DORIS S CUTHBERTSON TR DORIS S CUTHBERTSON           1221 CEDARHILL DRIVE                                                                           EAST LANSING      MI    48823‐2806
TRUST UA 03/12/96
DORIS S DIGGS                                        PO BOX 23                                                                                      COURTLAND         AL    35618‐0023
DORIS S FERRYMAN                                     1327 RONA VILLAGE BLVD                                                                         FAIRBORN          OH    45324‐6015
DORIS S FIRESTINE                                    118 WARREN ST                                                                                  WEST PITTSTON     PA    18643‐2425
DORIS S FULLER                                       ROUTE 1 BOX 548                                                                                ANTLERS           OK    74523‐9705
DORIS S KAISER                                       711 AKRON AVE                                                                                  VANCOUVER         WA    98664‐1304
DORIS S KENNEDY                                      3470 CALLIESTILL RD                                                                            LAWRENCEVILLE     GA    30045‐6683
DORIS S MARKLE                                       126 HEATHER LANE                                                                               WYOMISSING        PA    19610‐1172
DORIS S PINKSTON & KENNETH W PINKSTON JT TEN         6989 STATE HWY 97 SOUTH                                                                        LETOHATCHEE       AL    36047

DORIS S SPENCER                                      70 NAPLES AVE                                                                                  PROVIDENCE        RI    02908‐1222
DORIS SANDROWITZ CUST BARBARA SANDROWITZ             9C ABRAHAM LINCOLN CT                                                                          MONROE            NJ    08831‐4659
U/THE NEW YORK U‐G‐M‐A                                                                                                                              TOWNSHIP
DORIS SANFORD CUST EMILY LAUREN SANFORD UGMA         1945 S MONTGOMERY                                                                              STARKVILLE        MS    39759‐9663
MS
DORIS SCHUMACHER                                     11 LOCKHAVEN COURT                                                                             BEDMINSTER        NJ    07921
DORIS SCHWARK                                        212 BEULAND                                                                                    MOUNT CLEMENS     MI    48043‐2202
DORIS SHERD                                          500 DEER RUN ROAD                                                                              CADILLAC          MI    49601‐9166
DORIS SHULER                                         2400 SUMMER PLACE DR                                                                           ARLINGTON         TX    76014‐1910
DORIS SIEGEL                                         189 FOREST AVE                                                                                 PARAMUS           NJ    07652‐5350
DORIS SKELLY                                         500 EAST 85TH STREET                  APT 12C                                                  NEW YORK          NY    10028
DORIS SKILLMAN PLOG & BRADFORD WARREN PLOG JT        APT 103                               2111 NE 56TH ST                                          FORT LAUDERDALE   FL    33308‐2554
TEN
DORIS SMITH                                          8251 HILL AVENUE                                                                               HOLLAND           OH    43528‐9191
DORIS SPILATRO                                       211 HOWELL AVE                                                                                 SPRING LAKE       NJ    07762‐1708
DORIS STEWARD                                        15912 ARROWHEAD BLVD                                                                           GRABILL           IN    46741‐9611
DORIS STUART & THOMAS A STUART & LORI STUART         124 COUNTY RTE 43                                                                              MASSENA           NY    13662‐4104
COLLINS JT TEN
DORIS SWEENEY TOD WILLIAM SWEENEY SUBJECT TO         16 HARLOQUIN DR                                                                                SMITHTOWN         NY    11787
STA TOD RULES
DORIS T BABITZ                                       96 WEST OAK STREET                                                                             ZIONSVILLE        IN    46077‐1565
DORIS T GODFREY                                      4 FRIENDLY RD                                                                                  HARWICH           MA    02645‐2807
DORIS T MARTIN                                       1007 COYNE PLACE                                                                               WILMINGTON        DE    19805‐4522
DORIS T WOODMANCEY                                   1227 SIENA VILLAGE                                                                             WAYNE             NJ    07470
DORIS TALLEY                                         922 DENNISON AVE                                                                               DAYTON            OH    45408
DORIS TOOMBS                                         26412 SIX MILE                                                                                 REDFORD           MI    48240‐2207
DORIS TORO                                           616 DEKLYN ANEUE                                                                               TRENTON           NJ    08610‐6423
DORIS TRUMBULL WHITE                                 5710 E APPIAN WAY                                                                              LONG BEACH        CA    90803‐3603
DORIS V DER                                          2840 WOODBURY BLVD                                                                             WALLED LAKE       MI    48390‐1476
DORIS V FLEER                                        2815 OLD FORT RD APT 130                                                                       MISSOULA          MT    59804
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Name                                             Address1                                Address2              Address3         Address4          City           State Zip

DORIS V JELICKS                                  11340 DOLLAR LAKE DR                    4                                                        PORT RICHEY    FL    34668
DORIS V PERRY                                    600 FOX RUN RD                          APT 22BH                                                 FINDLAY        OH    45840‐8413
DORIS VAN HORNE & WILLIAM VAN HORNE JT TEN       24 FORREST DR                                                                                    HUBBARD        OH    44425

DORIS VIRGINIA EASON PERRY                       4071 MERRICK                                                                                     HOUSTON        TX    77025‐2317
DORIS W BLUME                                    1 FORT SUMTER NORTH                                                                              BERLIN         MD    21811‐1532
DORIS W CUNNINGHAM TR UA 10/16/06 DORIS ANN      1500 WESTBROOK CT APT 4113                                                                       RICHMOND       VA    23227‐3374
WADE CUNNINGHAM REV TRUST
DORIS W DOMBKOWSKI                               16 BLUEBERRY LN                                                                                  BURLINGTON     CT    06013
DORIS W GORMLEY TR DORIS W GORMLEY LVG TRUST     304 DREW DR                                                                                      ST JAMES       NY    11780‐3301
UA 1/21/00
DORIS W LABER                                    95 DOLE HILL ROAD                                                                                HOLDEN         ME    04429‐7549
DORIS W LINDHORN                                 134 CALLE ANACUA                                                                                 BROWNSVILLE    TX    78520‐7306
DORIS W MUSSER                                   BOX 401                                                                                          UNIONVILLE     PA    19375‐0401
DORIS W PASQUALE                                 175 GUN CLUB RD                                                                                  LITTLE FALLS   NY    13365‐5707
DORIS W REBURN                                   326 W 6TH ST                                                                                     MT CARMEL      IL    62863‐1435
DORIS W SULFARO                                  1357 WIGGINS RD                                                                                  FENTON         MI    48430‐9721
DORIS W WOLF                                     62 STREAMVIEW LN                                                                                 WYANATSKILL    NY    12198‐8164
DORIS WHITAKER WETZEL                            3102 E 11TH ST                                                                                   ANDERSON       IN    46012‐4512
DORIS WHITEHORN                                  71 SEMINOLE WA                          APT 1200                                                 SHORT HILLS    NJ    07078‐1216
DORIS WHITNEY BORCHERT                           8 VIRGINIA AVE                                                                                   HAZLET         NJ    07730
DORIS WIECZOREK & JANET STEVENSON JT TEN         205 WEST 11TH ST                                                                                 CHAMBERLAIN    SD    57325‐1602
DORIS WIGHTMAN                                   208 E 4TH STREET                                                                                 NORBORNE       MO    64668‐1324
DORIS WILSON                                     371 N HOOK RD                                                                                    PENNSVILLE     NJ    08070‐1153
DORIS WOLF & CAROLINE WOLF & LISA WOLF JT TEN    6532 OXFORD AVE                                                                                  PHILADELPHIA   PA    19111‐5329

DORIS WRIGHT                                     PO BOX 1367                                                                                      FLINT          MI    48501‐1367
DORIS Y KNERR & CAROL K HUMPHREY JT TEN          186 TROY ST                                                                                      CANTON         PA    17724‐1018
DORIS Y KNERR & DANIEL L KNERR JT TEN            186 TROY ST                                                                                      CANTON         PA    17724‐1018
DORIS Y KNERR & FREDERIC J KNERR JT TEN          186 TROY ST                                                                                      CANTON         PA    17724‐1018
DORIS Y SHIRCLIFF OAKES                          PO BOX 297                                                                                       SEILING        OK    73663‐0297
DORIS Y SUH CUST AMY B Y SUH UTMA CA             4206 SUZANNE DR                                                                                  PALO ALTO      CA    94306‐4335
DORIS ZIEMER                                     TRIEB STRASSE 37 A                      60388 FRANKFURT DEU                    GERMANY
DORISANN ALBRIGHT & BRUCE L ALBRIGHT JT TEN      5058 SOUTH HWY 231                                                                               GREENCASTLE    IN    46135

DORISARENE HAIRSTON                              1718 W PIERSON RD                       APT 94                                                   FLINT          MI    48504‐1941
DORISE S JOHNSON                                 7547 EAGLE VALLEY PASS                                                                           INDIANAPOLIS   IN    46214‐1552
DORISSA J FRENCH                                 764 PERSHING ST                                                                                  ELLWOOD CITY   PA    16117‐1474
DORIT ROBBINS                                    60 ELMWOOD AVE                                                                                   RYE            NY    10580‐3402
DORITA HENDERSON                                 42 WILLISTON DR                                                                                  LONGMEADOW     MA    01106‐2110
DORITA ISOBEL SHAW                               1047 INTERLAKE DRIVE                    OSHAWA ON                              L1K 2M5 CANADA
DORLE MEYER                                      4D BLUE JAY STREET                                                                               MANCHESTER     NJ    08759
DORLEAN M BROWN                                  105 LARKMONT DRIVE                                                                               ELYRIA         OH    44035‐3637
DORLEEN J TRAMILL                                4371 NORTH OLNEY                                                                                 INDIANAPOLIS   IN    46205‐2565
DORLESS WILLIAMS                                 404 DAWNVIEW AVE                                                                                 DAYTON         OH    45431‐1807
DORLESS WILLIAMS & PHYLLIS J STEPHENS JT TEN     404 DAWNVIEW AVE                                                                                 DAYTON         OH    45431‐1807
DORLETHA F PAUL                                  1705 N INDIANA AVE                                                                               KOKOMO         IN    46901‐2041
DORMA MOORE                                      19775 NORTH AVE                                                                                  BATTLE CREEK   MI    49017‐9450
DORMA S CRAWFORD & LESA J CRAWFORD JT TEN        244 EUCLID AVENUE                                                                                WADSWORTH      OH    44281‐1504

DORMAN D SALLEE                                  9520 KESSLER                                                                                     OVERLAND PRK   KS    66212‐5014
DORMAN E MC GOUGH                                1396 NIX RD                                                                                      NAUVOO         AL    35578‐3820
DORMAN K BROCKMAN                                5569 GARRETT DR                                                                                  MILFORD        OH    45150‐2863
DORMAN WILLETTE                                  PO BOX 429                                                                                       TARRYTOWN      NY    10591‐0429
DORMETRIA LASHARNE ROBINSON                      39 S WRIGHT AVE                                                                                  DAYTON         OH    45403‐2249
DORNE F NEUBAUER                                 33 WOODHILL ROAD                                                                                 NEWTOWN        PA    18940‐3013
DORON BLUMENFELD CUST AMIR BLUMENFELD UTMA       5007 GERALD AVE 21                                                                               ENCINO         CA    91436‐1103
CA
DOROTEO B VIRAMONTES                             8509 S LOCKWOOD                                                                                  BURBANK        IL    60459‐2929
                                                 09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DOROTHA W CLARK                                    400 ZELKOVA RD                                                                                 WILLIAMSBURG      VA    23185
DOROTHEA A GARDNER                                 332 RIVER ROAD NORTH                                                                           WAPPINGER FALLS   NY    12590‐5496

DOROTHEA A MAZIARZ                                 3398 TOWERLINE ROAD                                                                            BRIDGEPORT        MI    48722‐9542
DOROTHEA A PEATMAN                                 54 W COLUMBIA AVE                                                                              LINDENWOLD        NJ    08021‐3226
DOROTHEA A SCHOLDING                               9368‐B SW 82ND TERRACE                                                                         OCALA             FL    34481‐8568
DOROTHEA A WEITZ & GERALD E WEITZ TEN COM          3904 N WILLOW RD                                                                               SPOKANE           WA    99206‐4437
DOROTHEA BEEZLEY                                   2114 S FIFTH AVE                                                                               CHEYENNE          WY    82007
DOROTHEA BLENK                                     1778 TURK RD                                                                                   DOYLESTOWN        PA    18901‐2811
DOROTHEA C BERGERON                                PO BOX 5697                                                                                    BRADENTON         FL    34281
DOROTHEA C KNIERIEM                                124 S NAURAUSHAUN RD                                                                           PEARL RIVER       NY    10965‐2913
DOROTHEA C LUCAS & CLARENCE P LUCAS III JT TEN     C/O C P LUCAS                         50 CHESTNUT ST                                           WILMINGTON        DE    19810

DOROTHEA CAZIN BAKER & DANIEL A BAKER TEN ENT      8319 CHARMEL DR                                                                                BALT              MD    21244‐2228

DOROTHEA D EDWARDS                                 17580 SE 97TH AVE                                                                              SUMMERFIELD       FL    34491‐6434
DOROTHEA D TETER & JANE L FEATRO JT TEN            173 PENN ST                                                                                    TAMAQUA           PA    18252‐2426
DOROTHEA DASKAS                                    788 N BRYS DRIVE                                                                               GROSSE POINTE     MI    48236‐1202
                                                                                                                                                  WOOD
DOROTHEA E CARROLL & PATRICIA A CARROLL JT TEN     11532 MORGAN AVE                                                                               PLYMOUTH          MI    48170‐4437

DOROTHEA E MARA TR LEIGH E MARA UA 06/30/81        C/O LEIGH LILES                       523 PARK ESTATES SQ                                      VENICE            FL    34293‐4181

DOROTHEA E MEILINGGAARD                         52 RITCH AVE W                                                                                    GREENWICH         CT    06830‐6918
DOROTHEA E TINKLER                              8019 BRISTOL ROAD                                                                                 DUBLIN            CA    94568‐1642
DOROTHEA F HOLTZ TR DOROTHEA F HOLTZ TRUST UA 725 S WELLSTON LN                                                                                   ROMEOVILLE        IL    60446
01/30/96
DOROTHEA GEER                                   2823 RIFLE RIDGE RD                                                                               OAKTON            VA    22124‐1204
DOROTHEA GOODELL TR GEORGE GOODELL TRUST UA PO BOX 1091                                                                                           ANGELS CAMP       CA    95222‐1091
5/17/93
DOROTHEA H ECKERT TOD ADRIENNE E RUMMEL         17255 COMMON RD APT B202                                                                          ROSEVILLE         MI    48066‐1954
SUBJECT TO STA TOD RULES
DOROTHEA H ECKERT TOD EDWARD R ECKERT SUBJECT 17255 COMMON RD APT B202                                                                            ROSEVILLE         MI    48066‐1954
TO STA TOD RULES
DOROTHEA H ECKERT TOD JAMES R ECKERT SUBJECT TO 17255 COMMON RD APT B 202                                                                         ROSEVILLE         MI    48066‐1954
STA TOD RULES
DOROTHEA J DIEFENDERFER                         930 N MUHLENBERG ST                                                                               ALLENTOWN         PA    18104‐3623
DOROTHEA J LOVE TR DOROTHEA J LOVE TRUST UA     6926 W 116TH STREET                                                                               WORTH             IL    60482‐2357
08/19/05
DOROTHEA J MORASCO & ALICE K MAUTE JT TEN       6404 21ST AVE WEST                       APT M 105                                                BRADENTON         FL    34209‐7812
DOROTHEA J WALTERS                              1301 W STEWART AVE                                                                                FLINT             MI    48504‐2279
DOROTHEA JANSSEN CUST KEVIN JANSSEN UGMA NJ     ATTN KEVIN JANSSEN                       525 PLUM BLOSSOM LN                                      CAMPBELL          CA    95008‐1962

DOROTHEA JOANNE CREMINS                            228 RISING SUN RD                                                                              HEDGESVILLE       WV    25427‐5195
DOROTHEA JOHN                                      4215 SUFFIELD WOODS AVE                                                                        PORTAGE           MI    49002‐5885
DOROTHEA L VANN                                    44 BOOKER CIRCLE                                                                               NEW CASTLE        DE    19720‐3649
DOROTHEA M DAHLGREN                                C/O JOHN S HOLT                       2009 MARKET ST                                           DENVER            CO    80205‐2022
DOROTHEA M GOLDEN TR GERARD W GOLDEN UA            3361 OAK HILL RD                                                                               EMMAUS            PA    18049‐4420
12/19/55
DOROTHEA M JOHNSON                                 21 CALLE CAPISTRANO                                                                            SANTA BARBARA     CA    93105‐3409
DOROTHEA MARIE LOWENDICK                           1005 BLENHEIM DRIVE                                                                            RALEIGH           NC    27612‐5508
DOROTHEA MOZDZEN                                   28 MACARTHUR AVE                                                                               SAYREVILLE        NJ    08872‐1027
DOROTHEA R EDWARDS                                 101 POTOMAC COURT                                                                              WINNABOW          NC    28479
DOROTHEA R FRAHER                                  371 CASSVILLE RD                                                                               JACKSON           NJ    08527‐4719
DOROTHEA R HELLMANN                                2111 BRANDEIS AVE                                                                              CINNAMINSON       NJ    08077‐3512
DOROTHEA RYAN CUST DANIEL F RYAN JR UGMA NY        157‐33 25TH AVE                                                                                WHITESTONE        NY    11357‐3961

DOROTHEA S MOSBY                                   3376 ROCKY GAP PLACE                                                                           COCOA             FL    32926‐7415
DOROTHEA SALZARULO                                 875 HERITAGE HLS                      #A                                                       SOMERS            NY    10589‐3111
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DOROTHEA STOWERS BROWN                           1963 E CALLE MONTE VISTA                                                                    TEMPE             AZ    85284‐8004
DOROTHEA WILLIAMS                                2924 HARBOR LIGHTS DR                                                                       NASHVILLE         TN    37217‐3439
DOROTHIE A ZIMMERMAN                             537 W COLUMBIA ST                                                                           MASON             MI    48854‐1507
DOROTHIE NELSON FREETHY TR UA 06/24/87 FREETHY 16648 COHASSET ST                                                                             VAN NUYS          CA    91406‐2809
TRUST
DOROTHY A AASVED                                 11465 W VERNON RD                                                                           LAKE              MI    48632‐9656
DOROTHY A ARNOLD                                 6232 N LUNDY AVE                                                                            CHICAGO           IL    60646‐4010
DOROTHY A BELLMORE                               30083 QUINKERT ST                                                                           ROSEVILLE         MI    48066‐4611
DOROTHY A BENCHECK                               2493 S BELSAY RD                                                                            BURTON            MI    48519‐1217
DOROTHY A BERGER                                 5924 FISHERMAN'S WHARF ROAD                                                                 HILLSBORO         OH    45133‐9220
DOROTHY A BERGES TR DOROTHY A BERGES 1995 TRUST PO BOX 4964                                                                                  KAILUA KONA       HI    96745‐4964
UA 11/17/95
DOROTHY A BLECHA & DIANE D SMITH JT TEN          304 NATIONAL DR                                                                             SHOREWOOD         IL    60404‐9555
DOROTHY A BLECHA & EDWARD G BLECHA JT TEN        304 NATIONAL DR                                                                             SHOREWOOD         IL    60404‐9555
DOROTHY A BONNER                                 3540 WHITETAIL DR E                                                                         MANSFIELD         OH    44904‐9226
DOROTHY A BRYANT                                 67382 DEQUINDRE RD                                                                          WASHINGTON        MI    48095‐1034
DOROTHY A BURTON                                 8601 S 78TH CT                                                                              JUSTICE           IL    60458‐2337
DOROTHY A CAMPBELL                               158 CURTIS ST                                                                               SOMERVILLE        MA    02144‐1255
DOROTHY A CAMPBELL                               PO BOX 356                                                                                  BIMBLE            KY    40915‐0356
DOROTHY A CARROLL                                1007 CALIFORNIA AVE                                                                         AVALON            PA    15202‐2736
DOROTHY A CHATTON                                2903 RAVENSWOOD COURT                                                                       COLUMBUS          OH    43232‐3841
DOROTHY A CHEPAITIS TR CHEPAITIS FAMILY TRUST UA 945 WILLIAM ST                                                                              TAYLOR            PA    18517‐9724
12/08/99
DOROTHY A CLEMENT                                45 BEECHWOOD PL                                                                             CHEEKTOWAGA       NY    14225‐2609
DOROTHY A COOPER                                 1116 SPEGELE CT                                                                             XENIA             OH    45385‐5765
DOROTHY A CROMER                                 1233 C ST                                                                                   SANDUSKY          OH    44870‐5050
DOROTHY A CURTIS                                 4850 HARRISON ST                                                                            WAYNE             MI    48184‐2219
DOROTHY A DASBACH TR DOROTHY A DASBACH TRUST 210 DONEGAL DR                                                                                  ROCHESTER HILLS   MI    48309‐1223
UA 5/28/98
DOROTHY A DEAN                                   503 S HIGHLANDER WAY APT 21                                                                 HOWELL            MI    48843‐1974
DOROTHY A DEHART                                 7831 SANTOLINA DR                                                                           INDIANAPOLIS      IN    46237‐3701
DOROTHY A DIELE                                  158 ELTON ROAD                                                                              STEWART MANOR     NY    11530‐5006
DOROTHY A DIELE & JOSEPH DIELE JT TEN            158 ELTON RD                                                                                STEWART MANOR     NY    11530‐5006
DOROTHY A DILS & DARLENE DILS BATES JT TEN       2694 ROSEVIEW DR                                                                            ROCHESTER HLS     MI    48306‐3848
DOROTHY A DMOCK                                  2830 BRANDON ST                                                                             FLINT             MI    48503‐3451
DOROTHY A DOMBROSKI                              19 KELLY COURT                                                                              TRENTON           NJ    08690‐3617
DOROTHY A DUHAIME                                4 COTTAGE ST APT 34                                                                         NATICK            MA    01760
DOROTHY A DURANTY TR DOROTHY A DURANTY LIVING 319 REGAL CT                                                                                   CLARENDON HILLS   IL    60514‐1569
TRUST UA 02/14/95
DOROTHY A ELLERBEE                               ATTN DOROTHY A MULDROW             3201 HOLLY KNOLL CT                                      ABINGDON          MD    21009‐2746
DOROTHY A EVANS TR DOROTHY A EVANS REV LIVING    6429 TARA COVE                                                                              WATERFORD         MI    48329‐1479
TRUSTUA 02/25/98
DOROTHY A FAULK                                  R R 2 BOX 235 H                                                                             XENIA             IL    62899‐9802
DOROTHY A FLIER                                  4037 ALDEN NASH                                                                             LOWELL            MI    49331‐9542
DOROTHY A FLORIN                                 PO BOX 267                                                                                  DELAVAN           WI    53115‐0267
DOROTHY A FRAZIER                                927 SOUTH WEST 4TH AVE                                                                      CAPE CORAL        FL    33991‐2514
DOROTHY A GENGE TR DOROTHY A GENGE TRUST UA      29711 WENTWORTH                    APT 214                                                  LIVONIA           MI    48154‐3256
08/22/95
DOROTHY A GETCHEY                                223 JOSHUA DR                                                                               BROOKFIELD        OH    44403‐9619
DOROTHY A GLASCO & JAMES H GLASCO & JULIE        2197 N SYCAMORE CIR                                                                         BURTON            MI    48509‐1354
HOOKER JT TEN
DOROTHY A GRAHAM                                 613 CURZON COURT                   APARTMENT 101                                            HOWE              MI    48843‐4184
DOROTHY A GRAHAM & DENNIS M GRAHAM JT TEN        93 MIRABEAU DR                                                                              ROCHESTER HILLS   MI    48307‐2480

DOROTHY A GUPTON & SHARON C WARE JT TEN        18345 JAMESTOWN CIR                                                                           NORTHVILLE        MI    48167‐3521
DOROTHY A HASH                                 221 LAKE POINTE CIR                                                                           CANFIELD          OH    44406
DOROTHY A HAUGHEY                              5661 SHARP ROAD                                                                               DAYTON            OH    45432‐1744
DOROTHY A HENDERSON & ROY L HENDERSON JT TEN   334 YOLANDA LANE                                                                              SHREVEPORT        LA    71105‐4338
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DOROTHY A HERMAN                                C/O MID‐MICHIGAN GUARDIANSHIP        SERVICES INC          615 N CAPITOL                      LANSING           MI    48933‐1230
DOROTHY A HILKO & ANTHONY R HILKO SR JT TEN     122 VALLEY VUE DRIVE                                                                          ELIZABETH         PA    15037‐2057
DOROTHY A HILL                                  12208 ST JOHN AVE                                                                             CLEVELAND         OH    44111‐5138
DOROTHY A HOFFMAN                               2388 KINMONT RD                                                                               DAYTON            OH    45414‐1327
DOROTHY A JEDNAK TR DOROTHY A JEDNAK REV LIV    11839 GREENBRIAR DR                                                                           JEROME            MI    49249‐9591
TRUST UA 03/07/00
DOROTHY A JOHNSON                               4100 FAY ROAD                                                                                 CARLETON          MI    48117‐9521
DOROTHY A KENNEDY                               7 GREEN TERRACE                                                                               MANHASSET         NY    11030‐3215
DOROTHY A KEROUAC TOD DAVID P TRAIN SUBJECT STA 1037 TONI DRIVE                                                                               DAVISON           MI    48423‐2825
TOD RULES
DOROTHY A KEROUAC TOD KATHLEEN A TRAIN SUBJECT 227 CHALFONTE AVE                                                                              GROSSE POINTE     MI    48236‐3427
STA TOD RULES
DOROTHY A KNIGHT                                4708 HURON ST                                                                                 CASS CITY         MI    48726‐9002
DOROTHY A KNOBLOCK LEONARD T KNOBLOCK &         30328 GLOEDE                                                                                  WARREN            MI    48093‐3370
CYNTHIA M KNOBLOCK JT TEN
DOROTHY A KOSOVAC CUST BRIAN CHRISTOPHER        6544 DAVIS                                                                                    BRIGHTON          MI    48116‐2039
MULLIGAN UGMA MI
DOROTHY A KOZAK                                 5874 AMRAP DRIVE                                                                              PARMA HEIGHTS    OH     44130‐1700
DOROTHY A KRASS                                 19062 LAUREN DR                                                                               CLINTON TOWNSHIP MI     48038‐2268

DOROTHY A KRISTENSEN                            3648 CLIPPER LANE                                                                             ST JAMES CITY     FL    33956‐4204
DOROTHY A LABASHOSKY                            C/O D WASTA                          497 BAY GREEN DRIVE                                      ARNOLD            MD    21012‐2324
DOROTHY A LAGUNA                                24391 REGINA                                                                                  MISSION VIEJO     CA    92691‐4714
DOROTHY A LAWS & LANNY E LAWS JT TEN            8661 CEDAR CREEK DRIVE                                                                        PETOSKEY          MI    49770‐8871
DOROTHY A LESPERANCE                            18535 WILLIAMS                                                                                LIVONIA           MI    48152‐2841
DOROTHY A LEWIS                                 1028 COLUMBUS HINES WY                                                                        NEW LEBANON       OH    45345‐1615
DOROTHY A MALETIC                               C/O DOROTHY A MORRISH                500 PINEST                                               CLIO              MI    48420
DOROTHY A MARLOWE                               1232 CALKINS ROAD                                                                             ROCHESTER         NY    14623‐4606
DOROTHY A MARTEL                                13316 W 68TH TER                                                                              SHAWNEE           KS    66216‐4310
DOROTHY A MCEWEN                                1090 REX AVENUE                                                                               FLINT             MI    48505‐1618
DOROTHY A MCKEE TR DOROTHY A MCKEE TRUST UA     PO BOX 433                                                                                    CHESTER SPRGS     PA    19425‐0433
08/20/98
DOROTHY A MCLACHLAN                             1190 VANVLEET RD                                                                              SWARTZ CREEK      MI    48473‐9751
DOROTHY A MIKULA                                7004 PARK AVE SE                                                                              CLEVELAND         OH    44105‐4967
DOROTHY A MILLINGTON                            1271 MADISON DR                                                                               ELIZABETH         PA    15037‐3147
DOROTHY A MORGULEC & DAWN MARIE MORGULEC JT     53739 BRIARCLIFF CT                                                                           SHELBY TOWNSHIP   MI    48315‐1632
TEN
DOROTHY A MULCAHY & ANN C BISSELL JT TEN        4329 DUBOIS BLVD                                                                              BROOKFIELD        IL    60513‐2221
DOROTHY A MURPHY & DOROTHY A GLAB JT TEN        1415 DUNDALK AVE                                                                              DUNDALK           MD    21222‐1019
DOROTHY A NOTHOFER                              599 LINCOLN AVE                                                                               GLEN ROCK         NJ    07452‐2008
DOROTHY A NYPAVER                               304 HAMILTON AVENUE                                                                           HARWICK           PA    15049‐8904
DOROTHY A O'CALLAGHAN                           9531 YVONNE DR                                                                                N ROYALTON        OH    44133‐1237
DOROTHY A O'HARA                                2708 MAIN CHASE LN                                                                            COVINGTON         KY    41017‐4707
DOROTHY A QUICK TR UA 09/02/92 THE 1992 TRUST   7260 W PETERSON AVE                  APT E109                                                 CHICAGO           IL    60631‐3600
FOR DOROTHY A QUICK
DOROTHY A RIKE                                  265 NORTHWOOD DR                                                                              YELLOW SPGS       OH    45387‐1927
DOROTHY A ROTH                                  5136 POLO FIELDS DR                                                                           GIBSONIA          PA    15044
DOROTHY A ROTH & JOHN C ROTH JT TEN             5136 POLO FIELDS DR                                                                           GIBSONIA          PA    15044‐7604
DOROTHY A SCHULTZ TR UA 08/09/2007 DOROTHY      P O BOX 33                           150 COCHECTON ROAD                                       COCHECTON         NY    12726
SCHILTZ REVOCABLE TRUST
DOROTHY A SETINA                                4575 MOTORWAY DR                                                                              WATERFORD         MI    48328
DOROTHY A SHEPHERD                              969 SPENCE                                                                                    PONTIAC           MI    48340‐3062
DOROTHY A SIMMONS                               PO BOX 267                                                                                    DELAVAN           WI    53115‐0267
DOROTHY A SKAAR                                 101 YORKSHIRE CT                                                                              BLACKSBURG        VA    24060‐3849
DOROTHY A STECH                                 2382 OAKFIELD DR                                                                              AURORA            IL    60504‐4780
DOROTHY A STEPHENS                              PO BOX 1633                                                                                   SCAPPOOSE         OR    97056‐1633
DOROTHY A SWANSON                               307 WESTEVA                                                                                   HOLMEN            WI    54636
DOROTHY A TENGOWSKI                             10125 PEOPLES LOOP                                                                            PORT RICHEY       FL    34668
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DOROTHY A TIERNEY & LAWRENCE P TIERNEY JT TEN   3395 MAYBEE RD                                                                                 ORION              MI    48359‐1408

DOROTHY A WAGNER & DONALD E WAGNER JT TEN       120 ROSECREST DR                                                                               MONROEVILLE        PA    15146‐4018

DOROTHY A WALLS                                 2486 BAR HARBOR PL                                                                             COLUMBUS           OH    43219‐1310
DOROTHY A WALTERS & FRANK T WALTERS JT TEN      5848 BAYPOINTE BLVD                                                                            CLARKSTON          MI    48346‐3110
DOROTHY A WENDT                                 APT C                                 813 BRIAR HILL PL                                        ESSEX              MD    21221‐5473
DOROTHY A WEZELL ADM EST DOROTHY M BRADFORD     PO BOX 4010                                                                                    FLINT              MI    48504‐0010

DOROTHY A WILSON                                96617 DULEY CREEK RD                                                                           BROOKINGS          OR    97415‐9160
DOROTHY A WINTER                                800 S 15TH ST                         APT 4304                                                 SEBRING            OH    44672‐2058
DOROTHY A WOOD                                  323 PLAZA                                                                                      ATLANTIC BEACH     FL    32233‐5441
DOROTHY A WOOD & JAMES L WOOD JT TEN            323 PLAZA                                                                                      ATLANTIC BEACH     FL    32233‐5441
DOROTHY A WOOD CUST KAREN R WOOD UNDER THE      323 PLAZA                                                                                      ATLANTIC BEACH     FL    32233‐5441
FLORIDAGIFTS TO MINORS ACT
DOROTHY A WOOD CUST ROGER A WOOD UNDER THE      323 PLAZA                                                                                      ATLANTIC BEACH     FL    32233‐5441
FLORIDAGIFTS TO MINORS ACT
DOROTHY A WOODS                                 11127 ERDMANN RD                                                                               STERLING HEIGHTS   MI    48314‐2644

DOROTHY A YAEGER                                171 FORBES AVE                                                                                 TONAWANDA          NY    14150‐2908
DOROTHY ABBEY                                   7063 GILLETTE ROAD                                                                             FLUSHING           MI    48433
DOROTHY ABEL DAVIDSEN                           415 E LAUREL ST                                                                                PHILIPSBURG        PA    16866‐1449
DOROTHY ALBERSTADT                              5335 POOKS HILL RD                                                                             BETHSEDA           MD    20814‐2004
DOROTHY ALICE SMITH MITCHELL                    389 SWEETMAN RD                                                                                BALLSTON SPA       NY    12020‐3106
DOROTHY ALLAN                                   9120 WOODEN BRIDGE RD                                                                          POTOMAC            MD    20854‐2414
DOROTHY AMUNDSEN                                PO BOX 60                                                                                      SPRINGDALE         WA    99173‐0060
DOROTHY ANN BLANCHARD                           102 S SHERWOOD VILLAGE DR             APT 2319                                                 TUCSON             AZ    85710‐4140
DOROTHY ANN BURGUIERES                          15 NORWOOD AVE APT A1                                                                          SUMMIT             NJ    07901
DOROTHY ANN CAPLETTE                            32 ROCKY HILL RD                                                                               OXFORD             MA    01540‐1544
DOROTHY ANN CLAESGENS                           530 AGNES AVE                                                                                  OWATONNA           MN    55060‐3030
DOROTHY ANN HORTON                              600 W CLARK ST                                                                                 CLARINDA           IA    51632‐2434
DOROTHY ANN HUGHES                              9122 BROWNING DR                                                                               HUNTINGTON         CA    92646‐5201
                                                                                                                                               BEACH
DOROTHY ANN LEVENSON                            20 RAWLINGS DRIVE                                                                              MELVILLE           NY    11747‐4020
DOROTHY ANN MELER                               3 KINGSLEY COURT                                                                               FRANKENMUTH        MI    48734
DOROTHY ANN OLIVEIRA                            365 BROOKFIELD DRIVE                                                                           HELENA             MT    59602
DOROTHY ANN SMOLEY                              2745 SALEM AVE SOUTH                                                                           ST LOUIS PARK      MN    55416‐1915
DOROTHY ANN SULLIVAN                            57 MAGEE AVE                                                                                   ROCHESTER          NY    14613‐1110
DOROTHY ANN WYANT                               BOX 185                                                                                        ANKENY             IA    50021‐0185
DOROTHY ANNE POLIN                              MISHOL UZRAD 5/3                                                                               JERUSALEM ISR      AL    97277
DOROTHY ANNETTE NODER GUENTHER F NODER &        1304 DE LA GARZA PL                                                                            THE VILLAGES       FL    32162‐0143
INGEBORG NODER JT TEN
DOROTHY ANTHONY SIMS                            120 LYNCHESTER RD                                                                              GREENVILLE         SC    29615‐3942
DOROTHY ARNOLD                                  54610 MEADOWBANK LN                                                                            ELKHART            IN    46514‐4682
DOROTHY B ANDERSON TR DOROTHY B ANDERSON        30771 N LAKE DR                                                                                SEDALIA            MO    65301‐1284
MARITAL TRUST UA 09/07/90
DOROTHY B BAYUS                                 C/O DOROTHY B MARKOVICH               284 STAHL AVE                                            CORTLAND           OH    44410‐1138
DOROTHY B BENNETT                               C/O ROBERTA M HAMMOND                 #31 ARCTIC SPRINGS                                       JEFFERSONVILLE     IN    47130‐4701
DOROTHY B BISSELL                               60 LAKEVIEW PL                                                                                 FAIRFIELD          CT    06825
DOROTHY B CORICA                                13 HICKORY HILL RD ‐APT B                                                                      BUFFALO            NY    14221‐2530
DOROTHY B CRITZER                               PO BOX 938                                                                                     GLOUCESTER PT      VA    23062
DOROTHY B CUNNINGHAM                            5720 EVERETT EAST S E                                                                          HUBBARD            OH    44425‐2828
DOROTHY B DAVIS                                 937 SACANDAGA RD                                                                               SCOTIA             NY    12302‐6034
DOROTHY B DONOVAN TR DOROTHY B DONOVAN          525 KIMRY MOOR                                                                                 FAYETTEVILLE       NY    13066‐1856
LIVING TRUST UA 04/04/03
DOROTHY B EASON                                 2588 BABCOCK RD                                                                                VIENNA             VA    22181‐5424
DOROTHY B FERRARA                               1237 MEADOWOOD DR                                                                              WATERFORD          MI    48327‐2961
DOROTHY B FETTIG                                4910 BEAUTY ST                                                                                 LEHIGH ARCES       FL    33971‐6539
DOROTHY B GERBER                                13 DOVER WALK                                                                                  TOMS RIVER         NJ    08753‐4108
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DOROTHY B GOLDEN                                 3647 CORAL GABLES                                                                            DALLAS           TX    75229‐2620
DOROTHY B HAMILTON                               #308                                2956 HATHAWAY RD                                         RICHMOND         VA    23225‐1730
DOROTHY B HARNICHAR                              1289 WILL‐O‐WOOD DR                                                                          HUBBARD          OH    44425‐3339
DOROTHY B HENNESSY                               7332 CARLYLE CROSSING                                                                        W BLOOMFIELD     MI    48322‐3282
DOROTHY B JOHNSON                                1131 HARBINS RD                                                                              DACULA           GA    30019‐2403
DOROTHY B JOHNSON                                3329 PURDUE                                                                                  DALLAS           TX    75225‐7636
DOROTHY B KLUGER                                 257 E ROSE TREE RD                                                                           MEDIA            PA    19063‐1125
DOROTHY B LAGONEGRO                              294 CHERRY CREEK ROAD                                                                        ROCHESTER        NY    14626
DOROTHY B LEWIS & JAMES E LEWIS JT TEN           316 W ROBERT                                                                                 HAZEL PARK       MI    48030‐1739
DOROTHY B LOCKLEAR                               1601 MADISON DR UNIT 2              N MYRTLE BEACH                                           N MYRTLE BCH     SC    29582
DOROTHY B MAIERS                                 1822 HUNTINGTON DR                                                                           CHARLESTON       SC    29407‐3121
DOROTHY B MARAS TR DOROTHY B MARAS TRUST UA      1301 A NUTMEG CT                                                                             MT PROSPECT      IL    60656
05/09/97
DOROTHY B MOYNIHAN                               43 WOOD CEDAR DR                                                                             PALM COAST       FL    32164‐3107
DOROTHY B NEELY TR DOROTHY BAKER NEELY LIVING TR 2421 TUSITALA ST #2903                                                                       HONOLULU         HI    96815‐3110
UA 08/18/82
DOROTHY B NIEMEYER                               10800 ST AUGUSTINE RD #602                                                                   JACKSONVILLE     FL    32257‐1022
DOROTHY B RHODES                                 7821 E 76TH ST                      APT 207                                                  TULSA            OK    74133
DOROTHY B ROBISON                                9232 KING GRAVES RD NE                                                                       WARREN           OH    44484‐1127
DOROTHY B ROMANO                                 1524 LINWOOD                                                                                 ROYAL OAK        MI    48067‐1062
DOROTHY B ROSENBERG                              PO BOX 562                                                                                   LIMA             NY    14485‐0562
DOROTHY B SIMERL                                 21020 GEORGE HUNT CIRCLE #931                                                                WAUKESHA         WI    53186‐2032
DOROTHY B SMALLRIDGE                             1732 HUDSON AVE                                                                              ROCHESTER        NY    14617‐5104
DOROTHY B STANTON                                5845 NORTHHAMPTON BLVD                                                                       VIRGINIA BEACH   VA    23455‐4622
DOROTHY B TEAGUE                                 PO BOX 14220                                                                                 ARLINGTON        TX    76094‐1220
DOROTHY B W CURRIE                               BLUE ROCK HEIGHTS                   72 KEEL CAPE DR                                          SOUTH YARMOUTH   MA    02664‐1352

DOROTHY B WEAKLY                              143 GREENSPRINGS ROAD                                                                           INDIANAPOLIS     IN    46214‐3957
DOROTHY B WESKE                               4187 TIMBER MEADOWS RD                                                                          WOODRUFF         WI    54568‐9550
DOROTHY B WINSOR TR DOROTHY B WINSOR REV FAM PO BOX 1753                                                                                      LENOX            MA    01240‐1753
TRUST UA 04/15/93
DOROTHY BACKUS TR DOROTHY BACKUS TRUST UA     130 HIBISCUS CIRCLE                                                                             MATTESON         IL    60443‐2886
05/05/04
DOROTHY BALIUS TR UA 08/11/93 DOROTHY BALIUS  1321 S GENESEE RD                                                                               BURTON           MI    48509‐1829
REVOCABLE LIVING TRUST
DOROTHY BALLARD & BONNIE IVENER & ANNE BOWERS 2215 AMBASSADOR RD NE                  APT 54                                                   ALBUQUERQUE      NM    87112‐2769
& CARRON JORDAN JT TEN
DOROTHY BALLINGER                             101 PEACE CIRCLE                                                                                NEW OXFORD       PA    17350
DOROTHY BARNEY                                2604 BARYNEY AVENUE                                                                             DAYTON           OH    45420‐3304
DOROTHY BASSE & DAVID H BASSE JT TEN          2121 HWY Y                                                                                      BELLE            MO    65013‐3447
DOROTHY BATTLE                                18244 NORTHLAWN                                                                                 DETROIT          MI    48221‐2018
DOROTHY BAUER TR DOROTHY BAUER TRUST UA       7794 CLOVERFIELD CIRCLE                                                                         BOCA RATON       FL    33433‐3049
10/19/05
DOROTHY BEASLEY                               604 JEWELL ST                                                                                   DANVILLE         IL    61832‐4016
DOROTHY BECKMAN                               2416 WEXFORD                                                                                    TROY             MI    48084‐2712
DOROTHY BELCHER                               114 WILTSHIRE RD                                                                                ESSEX            MD    21221‐6934
DOROTHY BELTZER TOD STEPHEN BELTZER           3701 WEST MCNAB RD                                                                              POMPANO BEACH    FL    33069
DOROTHY BERARDI                               3060 KENNEDY BLVD                                                                               JERSEY CITY      NJ    07306‐3642
DOROTHY BLADEY COLUMBUS TR DOROTHY BLADEY     842 LAKE MICHIGAN DR NW                                                                         GRAND RAPIDS     MI    49504‐5661
COLUMBUS TRUST UA 09/11/98
DOROTHY BLOOMHUFF                             66 MAPLETON RD                                                                                  GROSSE PTE FARMS MI    48236‐3615

DOROTHY BOBEL                                   1905 DUNHILL DR                                                                               MILFORD          MI    48381‐1121
DOROTHY BOLIN                                   137 WASHINGTON ST                                                                             FRANKLIN         IN    46131‐1005
DOROTHY BOSOTINA                                84‐47 118 ST                                                                                  KEW GARDENS      NY    11415‐2944
DOROTHY BOWDISH & DALE BOWDISH JT TEN           535 E MADISON ST                                                                              VILLA PARK       IL    60181‐3071
DOROTHY BOYD GODDARD                            1119 GREY OAK DR                                                                              SAN ANTONIO      TX    78213‐2016
DOROTHY BRAUDE EDINBURG                         315 LEE ST                                                                                    BROOKLINE        MA    02445‐5914
DOROTHY BRAY                                    PO BOX 3921                                                                                   TRENTON          NJ    08629‐0921
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DOROTHY BRENNER                                 925 CHANCELLOR ST SW                                                                            LEESBURG          VA    20175
DOROTHY BRINK                                   17 MANSFIELD VILLAGE                                                                            HACKETTSTOWN      NJ    07840‐3626
DOROTHY BRITT                                   1450 PLYMOUTH LANE 504                                                                          ELGIN             IL    60123‐3255
DOROTHY BROKERING                               549 TRAILWOOD CR                                                                                WINDSOR           CO    80550‐5950
DOROTHY BRYANT                                  1420 GAGE RD                                                                                    TOLEDO            OH    43612‐4022
DOROTHY BUCK BOUCHER                            PO BOX 1000                                                                                     DAMASCUS          VA    24236
DOROTHY BUCKNER                                 3500 FENLEY RD                                                                                  CLEVELAND         OH    44121‐1346
DOROTHY BURDEN                                  2230 PERKINS                                                                                    SAGINAW           MI    48601‐2054
DOROTHY BURKE & JEANNE SPROUSE JT TEN           10913 S MICHIGAN ROAD                  R ROUTE 5            BOX 117‐A                           PLYMOUTH          IN    46563‐9805
DOROTHY BUSHMAN PETERS                          1127 COLUMBUS BLVD                                                                              KOKOMO            IN    46901‐1970
DOROTHY C ANDERSON                              6232 WEST 157TH PLACE                                                                           OAK FOREST        IL    60452‐2712
DOROTHY C BASDEKIS TR UA 09/07/90 DOROTHY C     57 WARWICK ST                                                                                   LONGMEDAL         MA    01106‐1046
BAADEKIS TRUST
DOROTHY C BAUM                                  62 E MAIN ST                                                                                    MOHAWK            NY    13407‐1166
DOROTHY C BOYD                                  3914 CHELSEA DR                                                                                 MISSOULA          MT    59808‐5637
DOROTHY C BRADFIELD                             7397 MAURY DRIVE                                                                                BALTIMORE         MD    21244‐4010
DOROTHY C CABASIN                               2234 MARGARITA DR                                                                               LADY LAKE         FL    32159‐9542
DOROTHY C COMITO                                23350 PLAYVIEW                                                                                  ST CLAIR SHORES   MI    48082‐2089
DOROTHY C DOLNICS                               284 SOUTHMOOR ROAD                                                                              HAMMOND           IN    46324‐2546
DOROTHY C DUNCAN & B FREDERICK DUNCAN JT TEN    PO BOX 466                                                                                      STOLLINGS         WV    25646‐0466

DOROTHY C DUNCAN & FREDERICK B DUNCAN JT TEN    PO BOX 466                                                                                      STOLLINGS         WV    25646‐0466

DOROTHY C ECKLUND                               124 OAK LN                                                                                      NAPLES            FL    34114‐8754
DOROTHY C GILLMAN                               27985 ALBRIGHT RD                                                                               LONDONDERRY       OH    45647‐8980
DOROTHY C HANRAHAN                              65 GREY LANE                                                                                    LEVITOWN          NY    11756‐4497
DOROTHY C HARBER                                5767 WATERWORKS RD                                                                              NICHOLSON         GA    30565‐1681
DOROTHY C HARRIS                                211 N CECIL AVE                                                                                 INDIANAPOLIS      IN    46219‐5318
DOROTHY C HAUPT & DORIS J SWEENEY JT TEN        6201 MARSH LN                                                                                   MATTESON          IL    60443
DOROTHY C HENDERSON                             6443 ALINE RD                                                                                   JACKSONVILLE      FL    32244‐3807
DOROTHY C HENRY                                 808 W GRANT ST                                                                                  HARTFORD CITY     IN    47348‐1930
DOROTHY C HOOD                                  2946 LAKE HARBIN ROAD                                                                           MORROW            GA    30260‐2143
DOROTHY C HOOD & JANE H SANDERS JT TEN          2946 LAKE HARBIN ROAD                                                                           MORROW            GA    30260‐2143
DOROTHY C HOOK                                  113 LODESTONE DR                                                                                ENGLEWOOD         OH    45322‐1716
DOROTHY C HUTCHINS                              4290 FIR ST                                                                                     CLARKSTON         MI    48348‐1426
DOROTHY C JONES                                 615 COMMONWEALTH AVE                                                                            FLINT             MI    48503‐2255
DOROTHY C LEEFTINK                              12323 CHESSINGTON                                                                               HOUSTON           TX    77031‐3204
DOROTHY C LOWE CUST CAMERON DEANDRE JAMES       135 MC CLAINE CIR                                                                               MACON             GA    31216‐4114
UTMA GA
DOROTHY C MANION                                2308 HICKORY LEAF LN                                                                            FLOWER MOUND      TX    75022‐4945
DOROTHY C MILLER                                317 ORANGEWOOD ROAD                                                                             HURON             OH    44839‐1356
DOROTHY C MITCHELL                              308 INDEPENDENCE CREEK LN                                                                       GEORGETOWN        TX    78633‐5314
DOROTHY C MOORE                                 5861 NORTHRIDGE CIRCLE                                                                          WATERFORD         MI    48327‐1870
DOROTHY C MOORE                                 448 CRANDALL                                                                                    YOUNGSTOWN        OH    44504‐1457
DOROTHY C NOLAN                                 3001 LITITZ PIKE                       PO BOX #5093                                             LANCASTER         PA    17606‐5093
DOROTHY C ODELL & RONALD W ODELL JT TEN         1806 ELSA STREET                                                                                ORLANDO           FL    32806‐3420
DOROTHY C PARRISH                               3621 LUTHER ADAMS ROAD NW                                                                       MONROE            GA    30656‐7334
DOROTHY C QUINN                                 3109 TYLER AVE                                                                                  EL PASO           TX    79930‐4915
DOROTHY C RANKIN                                18910 RAINBOW CT                                                                                LATHRUP VILLAGE   MI    48076‐4404

DOROTHY C RETI & JOANN FEYERS JT TEN            3799 PINE ISLAND ROAD A14                                                                       FT LAUDERDALE     FL    33351
DOROTHY C RONZAT                                30344 LORAIN RD APT 317                                                                         NORTH OLMSTED     OH    44070
DOROTHY C RUPPRECHT & ANN D ALVIS JT TEN        2221 WISE CT                                                                                    COMMERCE          MI    48382‐3278
                                                                                                                                                TOWNSHIP
DOROTHY C SAARI                                 1469 DOVER HILL NORTH                                                                           WALLED LAKE       MI    48390‐3118
DOROTHY C SCHULTZ                               478 ANCHOR RD                                                                                   TUCKERTON         NJ    08087‐2401
DOROTHY C STEFFEN & DEBRA A SELVADURAI JT TEN   20 LAKE FOREST DR                                                                               ST LOUIS          MO    63117‐1303

DOROTHY C STEGEMILLER                           PO BOX 71                                                                                       BATESVILLE        IN    47006
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DOROTHY C STEWART                               1753 COUNTY RD 584                                                                             ROGERSVILLE      AL    35652‐6225
DOROTHY C STOVER                                50 ELDORADO EAST STREET                                                                        TUSCALOOSA       AL    35405
DOROTHY C SWAFFORD                              PO BOX 1154                                                                                    SAGINAW          MI    48606‐1154
DOROTHY C TREROTOLI & HELEN M JONES JT TEN      235 W PASSAIC STREET G 7                                                                       ROCHELLE PARK    NJ    07662‐3124
DOROTHY C WAGGONER                              2914 HARVARD AVE                                                                               CAMP HILL        PA    17011
DOROTHY C WEATHEREAD                            4480 GREEN VALLEY RD                                                                           RESCUE           CA    95672‐9362
DOROTHY CALHOUN & LEWIS CALHOUN JT TEN          8945 S LOWE AVE                                                                                CHICAGO          IL    60620‐2228
DOROTHY CAMBRIA                                 729 E FAIRWAY DR                                                                               SUNSET BEACH     NC    28468
DOROTHY CAPURRO TR UA CAPURRO FAMILY TRUST      1302 E BIG ROCK RD                                                                             TUCSON           AZ    85718‐1158
04/17/89
DOROTHY CAROL BROWN                             386 ORINOCO STREET                                                                             DAYTON          OH     45431‐2034
DOROTHY CARR WERNER                             20260 SW MILITARY LN                                                                           BEAVERTON       OR     97007‐8731
DOROTHY CARTER & NETIES J CARNS JT TEN          1545 WILMOT                                                                                    WEST BLOOMFIELD MI     48324‐3530

DOROTHY CASPER                                  72 SEIR HILL RD                                                                                WILTON           CT    06897‐4207
DOROTHY CASTEK BAKER                            18 TOURQUAY LN                                                                                 BLUFFTON         SC    29909‐5073
DOROTHY CAZALET                                 10 CEDAR DR                                                                                    FARMINGDALE      NY    11735‐2902
DOROTHY CHADWELL DALE                           311 CENTRAL PARK BLVD N               OSHAWA ON                              L1G 5Z5 CANADA
DOROTHY CHAZAL PLATTE                           3120 SUSSEX RD                                                                                 AUGUSTA          GA    30909‐3328
DOROTHY CHERVINSKY                              134 RIDGEWAY                                                                                   WHITE PLAINS     NY    10605‐3918
DOROTHY CHINCHINIAN                             2904 TYSON AVE                                                                                 PHILADELPHIA     PA    19149‐1907
DOROTHY CILETTI                                 2 COTTAGE LN                                                                                   CAPE ELIZABETH   ME    04107‐1504
DOROTHY CLARK                                   1268 E GENESEE AVE                                                                             FLINT            MI    48505‐1736
DOROTHY CLARK RYE                               1532 COHASSET DR                                                                               CINCINNATI       OH    45255‐5105
DOROTHY CLAYTON                                 1861 PENSTEMON LN                                                                              SHAKOPEE         MN    55379‐3162
DOROTHY CLOUGH                                  521 BLACK BEAR LOOP NE                                                                         ALBUQUERQUE      NM    87122‐1801
DOROTHY CLUM                                    122 HART RD                                                                                    GAITHERSBURG     MD    20878‐5681
DOROTHY COLE                                    20 MARTIN LUTHER KING NO                                                                       PONTIAC          MI    48342
DOROTHY COLLINGHAM                              10333 W OLIVE AVE                     APT 132                                                  PEORIA           AZ    85345‐7300
DOROTHY COX                                     PO BOX 17                                                                                      HUME             NY    14745‐0017
DOROTHY CRAWLEY                                 105 DORADO DR                                                                                  CONVENT STA      NJ    07961
DOROTHY CREBER                                  2486 SWEETWATER CLUB CIR #73                                                                   KISSIMEE         FL    34746‐5469
DOROTHY CROKER GILLETTE                         4424 SPARROW RD                                                                                MINNETONKA       MN    55345‐2439
DOROTHY CROWE                                   2769 SHARON HOLLOW RD                                                                          GRASS LAKE       MI    49240‐9653
DOROTHY CRUSE                                   2524 S 9TH AVE                                                                                 BROADVIEW        IL    60153‐4804
DOROTHY CZAJKOWSKI                              252 COMMONWEALTH ST                                                                            FRANKLIN SQ      NY    11010‐3520
DOROTHY D ASHBURN                               215 DEEP WATER WY                                                                              CARROLLTON       VA    23314‐2238
DOROTHY D BOTSFORD                              6200 OREGON AVE NW                    APT 471                                                  WASHINGTON       DC    20015‐1551
DOROTHY D BRANDENBERGER                         2407 LANSIDE DRIVE FOULKSIDE                                                                   WILMINGTON       DE    19810‐4510
DOROTHY D BURNS                                 16 WALKER COURT                                                                                POLAND           OH    44514‐2002
DOROTHY D CAMPANA                               103 N ASPEN CT                        UNIT 4                                                   WARREN           OH    44484‐1061
DOROTHY D CARTY                                 5782 LOUISE AVENUE                                                                             WARREN           OH    44483‐1126
DOROTHY D CHAMBERS                              PO BOX 67                                                                                      SPRINGFIELD      OH    45501‐0067
DOROTHY D CONNALLON                             8130 A1A SOUTH‐F7                                                                              ST AUGUSTINE     FL    32080
DOROTHY D EVANS                                 CO DOROTHY EVANS MORRIS               36662 ROSE STREET                                        PALMDALE         CA    93552‐5817
DOROTHY D GALLO TR DOROTHY D GALLO LIVING TRUST 41450 GREENSPIRE DR                                                                            CLINTON TWP      MI    48038‐5863
UA 08/25/98
DOROTHY D HARPER                                6515 PINEHURST DRIVE                                                                           HOUSTON          TX    77023‐3409
DOROTHY D HICKMAN                               G‐2112 S CENTER ROAD                                                                           BURTON           MI    48519
DOROTHY D HOLLAND                               C/O HARPER                            6515 PINEHURST                                           HOUSTON          TX    77023‐3409
DOROTHY D KRAGER                                402 LODI STREET                                                                                AKRON            OH    44305‐3124
DOROTHY D LAWNICKI                              215 MORGAN AVE                                                                                 COLLINGSWOOD     NJ    08108‐1717
DOROTHY D LESLIE                                PO BOX 123                                                                                     BLOCKISLAND      RI    02807‐0123
DOROTHY D LUCAS                                 PO BOX 300                                                                                     TOXEY            AL    36921‐0300
DOROTHY D MADIEROS                              C/O HARPER                            6515 PINEHURST                                           HOUSTON          TX    77023‐3409
DOROTHY D MATHESON                              218 MERRY OAKS DR                                                                              TULLAHOMA        TN    37388‐2145
DOROTHY D PRUDEN                                1 LYMAN ST                            344                  WESTBORO                            WESTBOROUGH      MA    01581
DOROTHY D ROWELL                                198 MAIN ST                                                                                    PALMYRA          ME    04965‐4003
DOROTHY D SEILS                                 111 RUNNING BROOK LANE                                                                         ROCHESTER        NY    14626‐1963
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Name                                              Address1                                Address2                Address3       Address4          City            State Zip

DOROTHY D SHIVER                                  72 STITZER RD                                                                                    OLEY            PA    19547‐8754
DOROTHY D SMITH                                   1491 MARTIN LUTHER KING JR AVE                                                                   LONG BEACH      CA    90813
DOROTHY D SMITH & HERMAN B SMITH & DENNIS L       2026 VIRGINIA                                                                                    TROY            MI    48083‐2538
SMITH JT TEN
DOROTHY D SMITH & HERMAN B SMITH & DIANA L        2026 VIRGINIA                                                                                    TROY            MI    48083‐2538
ADEMA JT TEN
DOROTHY D TURNER                                  6536 HARVEST RIDGE WAY                                                                           LOCKPORT        NY    14094‐8825
DOROTHY D WENMOTH                                 2525 15TH AVE                                                                                    PARKERSBURG     WV    26101‐6410
DOROTHY DAGENAIS                                  5839 CHILI AVE B                                                                                 CHURCHVILLE     NY    14428‐9413
DOROTHY DAVISON                                   507 KENMORE AVE                                                                                  GREENSBURG      PA    15601‐1942
DOROTHY DE CRISANTIS & PAUL DE CRISANTIS JT TEN   104 WADHAMS ROAD                        PO BOX 116                                               BLOOMFIELD      CT    06002‐0116

DOROTHY DEBRUYNE                                  418 GILMAN FALLS AVE                                                                             OLD TOWN        ME    04468‐1322
DOROTHY DECKER DYER                               2400 JOHNSON AVE                                                                                 RIVERDALE       NY    10463‐6464
DOROTHY DEVENS                                    225 CENTRAL AVE                                                                                  WESTERNPORT     MD    21562‐1723
DOROTHY DINKEL                                    897 KENDALL                                                                                      LAKEWOOD        CO    80214‐2312
DOROTHY DOLORES RAMPADO & DONNA L WERNER JT       21866 OAK WAY                                                                                    BRIER           WA    98036‐8178
TEN
DOROTHY DOOLEY TR JEFFREY DOOLEY UA 7/23/72       3415 PRINCIPIO AVE                                                                               CINCINNATI      OH    45208‐4211

DOROTHY DOOLEY TR LAUREN DOOLEY UA 7/23/72        3415 PRINCIPIO AVE                                                                               CINCINNATI      OH    45208‐4211

DOROTHY DOOLEY TR MICHAEL DOOLEY UA 7/23/72       3415 PRINCIPIO AVE                                                                               CINCINNATI      OH    45208‐4211

DOROTHY DOOLEY TR RICHARD DOOLEY III UA 7/23/72   3415 PRINCIPIO AVE                                                                               CINCINNATI      OH    45208‐4211

DOROTHY DORAN TR DOROTHY DORAN REV LIV TRUST      6735 N ROCKHOLD AVE                                                                              SAN GABRIEL     CA    91775‐1031
UA 12/7/01
DOROTHY DREUTH                                    1095 LINDA DR                                                                                    DAVISON         MI    48423‐2835
DOROTHY DUNN                                      318 STEVENS AVE                                                                                  S AMBOY         NJ    08879‐2228
DOROTHY E ALBERINI TR UA 09/01/87 PARKER TRUST    PO BOX 971                                                                                       LITTLETON       NH    03561‐0971

DOROTHY E AMICK & VINCENT R AMICK JT TEN          5831 LEIDICH                                                                                     DETROIT         MI    48213‐3537
DOROTHY E ANDERSON TR UA 10/09/85 LOUISE L        5639 TOWNHALL ROAD                                                                               HALE            MI    48739‐9176
ANDERSON
DOROTHY E ARTHUR                                  166 HOPPER ROAD                                                                                  SYRACUSE         NY   13207‐2709
DOROTHY E BABIUK                                  1250 TERRACE BLUFF DR                                                                            TRAVERSE CITY    MI   49686‐5097
DOROTHY E BAER                                    101 HIAWATHA BLVD                                                                                OAKLAND          NJ   07436‐2905
DOROTHY E BAKER & RALPH E BAKER JT TEN            320 REDDINGWOOD                                                                                  ROCHESTER        MI   48306‐2854
DOROTHY E BARAN                                   4942 S KOMENSKY                                                                                  CHICAGO          IL   60632‐4203
DOROTHY E BARTLEY                                 612 W BROADWAY                                                                                   STEELEVILLE      IL   62288‐1307
DOROTHY E BECKER                                  2724 ASHWOOD CRT                                                                                 CLEARWATER       FL   33761‐3201
DOROTHY E BENES                                   4054 CARMANWOOD DRIVE                                                                            FLINT            MI   48507‐5502
DOROTHY E BENTLEY                                 834 MILK PLANT RD                                                                                SPARTA           TN   38583‐5603
DOROTHY E BERTRAND                                ATTN ERNEST J BERTRAND                  353 CONCORD RD                                           BILLERICA        MA   01821‐4128
DOROTHY E BROWN                                   816 NEWHALL RD                                                                                   KENNETT SQUARE PA     19348‐1334
DOROTHY E BROWN & NED L BROWN & TOM A BROWN       OLD BRIDGE PARK                         5514 VIRGINIA DARE LN                                    NORTH FORT MYERS FL   33917‐9064
JT TEN
DOROTHY E BUFORD                                  421 W PULASKI                                                                                    FLINT           MI    48505‐3391
DOROTHY E CALCANIS                                2014 DELANEY AVE                                                                                 ORLANDO         FL    32806
DOROTHY E CHEN & WILLIAM M CHEN JT TEN            4625 FIFTH AVE APT 709                                                                           PITTSBURGH      PA    15213‐3647
DOROTHY E CODY & PAULINE E CODY JT TEN            616 OBERLIN CT                                                                                   THE VILLAGES    FL    32162‐7625
DOROTHY E CROWELL & LAWRENCE F CROWELL JT TEN     ONE MENDON RD                           APT 605                                                  CUMBERLAND      RI    02864‐5349

DOROTHY E DAVIS                                   1288 CARBONE DR                                                                                  COLUMBUS        OH    43224‐2017
DOROTHY E DERUS                                   8388 GALLANT FOX TRL                                                                             FLUSHING        MI    48433‐8826
DOROTHY E DIETZ                                   1216 WOODLAND PARK DR                                                                            HURST           TX    76053‐3882
DOROTHY E DUNCAN                                  36129 E ELDORADO LAKE DR                                                                         EUSTIS          FL    32736‐9404
DOROTHY E DUNSON                                  4502 N PASADENA                                                                                  INDIANAPOLIS    IN    46226‐3665
                                            09-50026-mg                    Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                                 Address2                 Address3      Address4          City              State Zip

DOROTHY E EAGAN                                  11 E PINE ST                                                                                      EMMAUS            PA    18049‐2821
DOROTHY E EMMONS                                 40 BENEDICT RD R F D #1                                                                           BUZZARDS BAY      MA    02532‐3506
DOROTHY E ENSOR                                  15109 EAST VIEW DR                                                                                UPPERCO           MD    21155
DOROTHY E EVANS                                  24 STATE ST                                                                                       SKANEATELES       NY    13152‐1208
DOROTHY E EVANS TR THE EVANS TRUST UA 11/07/88   14350 DE BELL DR                                                                                  LOS ALTOSHILLS    CA    94022‐2011

DOROTHY E FEIST                                  59 TALL TREES DR                                                                                  AMELIA            OH    45102‐1787
DOROTHY E GALLAGHER                              132 WOODROW STREET                                                                                NEW BRIGHTON      PA    15066‐4227
DOROTHY E GATZ & JAN ARTHUR GATZ & LYNNE ANN     2740 W WALTON BLVD                                                                                WATERFORD         MI    48329‐4446
MCNAIR JT TEN
DOROTHY E GIBBS & RALPH GIBBS JT TEN             430 MAYNARD DR                                                                                    EGGERTSVILLE      NY    14226‐2242
DOROTHY E GILLIES                                APT A 113                                13780 LAKESIDE BLVD N                                    SHELBY TWP        MI    48315‐6040
DOROTHY E GLENN                                  157 MAPLE DR                                                                                      LILLY             PA    15938‐6009
DOROTHY E GOODSON                                4 BROOKSIDE DR                                                                                    NEWNAN            GA    30263‐1515
DOROTHY E HADEN                                  24570 QUAD PK LN                                                                                  CLINTON TWP       MI    48035‐3024
DOROTHY E HADEN & ELEANOR E RENKE JT TEN         24570 QUAD PK LN                                                                                  CLINTON TWP       MI    48035‐3024
DOROTHY E HESS                                   5955 FLEMINGS LK RD                                                                               CLARKSTON         MI    48346‐1619
DOROTHY E HITE                                   1113 CROWN ISLE CIR                                                                               APOPKA            FL    32712‐2950
DOROTHY E HUMPHREYS                              ATTN DOROTHY H ELLEN                     202 JAMESTOWN ROAD                                       GREENVILLE        NC    27858‐6317
DOROTHY E IRELAND                                149 CUMBERLAND RD                                                                                 BURLINGTON        VT    05408‐2664
DOROTHY E JACKSON & DOLEDA J HOWARD JT TEN       16550 LASALLE                                                                                     DETROIT           MI    48221‐3115

DOROTHY E JOHNSON                                1835 INFIRMARY RD                                                                                 DAYTON            OH    45418‐1729
DOROTHY E JONES & MILTON E JONES TR DOROTHY E    1818 ROLFE WAY                                                                                    RICHMOND          VA    23238‐5837
JONES TRUST UA 7/12/99
DOROTHY E JUSTUS TOD JEFFREY JUSTUS              1202 BIHLMAN DR                                                                                   PORTSMOUTH        OH    45662‐2304
DOROTHY E JUSTUS TOD JOHN JUSTUS                 1202 BIHLMAN DR                                                                                   PORTSMOUTH        OH    45662‐2304
DOROTHY E KAMMERAAD                              2303 S JOHNSON RD                                                                                 GOWEN             MI    49326‐9302
DOROTHY E KEENAN                                 1075 SOUTH MERRILL RD                                                                             MERRILL           MI    48637‐9701
DOROTHY E KEPLER TR DOROTHY E KEPLER REVOCABLE   27189 CUMBERLAND CT                                                                               SOUTHFIELD        MI    48034‐2213
TRUSTNO 1 UA 09/26/97
DOROTHY E KIMBALL                                1925 KAREN LN                                                                                     TALLAHASSEE       FL    32304‐4026
DOROTHY E KNOTTS & MICHAEL K MURPHY JT TEN       61 MT KEMBLE AVE                         UNIT 402                                                 MORRISTOWN        NJ    07960‐5179

DOROTHY E KRAFT                               81 KINDERHOOK ST                                                                                     CHATHAM           NY    12037‐1218
DOROTHY E LAFAYETTE                           C/O ORIGINAL LEISURE VILLAGE                569A SHEFFIELD CT                                        LAKEWOOD          NJ    08701‐6561
DOROTHY E LAYMAN TR DOROTHY E LAYMAN TRUST UA 701 MARKET ST APT 246                                                                                OXFORD            MI    48371‐3576
07/13/93
DOROTHY E LAYMAN TR UA 07/23/93 THE DOROTHY E 701 MARKET ST APT 246                                                                                OXFORD            MI    48371‐3576
LAYMAN TRUST
DOROTHY E LETT & SAUNDRA G SKOWRONSKI JT TEN  3725 ELKADER ROAD                                                                                    BALTIMORE         MD    21218‐2005

DOROTHY E LEWIS                                  5438 MONTAINE AVE                                                                                 COLUMBUS          OH    43232‐5476
DOROTHY E LOFLAND                                13531 SAINT JOHNSTOWN RD                                                                          GREENWOOD         DE    19950‐6060
DOROTHY E M BASSETT                              30737 PUMPKIN RIDGE DR                                                                            WESLEY CHAPEL     FL    33543‐6934
DOROTHY E MACDOUGALL                             127 SCARBORO DRIVE                                                                                YORK              PA    17403‐3817
DOROTHY E MILES                                  1015 N E 20TH                                                                                     OKLAHOMA CITY     OK    73111‐2101
DOROTHY E MYERS                                  23333 ALLOR ST                                                                                    ST CLR SHORES     MI    48082‐2112
DOROTHY E OLIVER                                 170 SPRING VALLEY DR                                                                              ANDERSON          IN    46011‐1960
DOROTHY E ORTMANN & RICHARD L ORTMANN TEN        2870 POE AVE                                                                                      SAINT LOUIS       MO    63114
COM
DOROTHY E PACKARD                                1111 S 3RD ST                                                                                     PARAGOULD         AR    72450‐5229
DOROTHY E PAUL                                   121 E KNIGHT RD                                                                                   MCDONOUGH         GA    30252‐2644
DOROTHY E PFEIFFER                               TRILLIUM PLACE #4018                     3500 TRILLIUM CROSSING                                   COLUMBUS          OH    43235‐7991
DOROTHY E POAR                                   600 HILOCK RD                                                                                     COLUMBUS          OH    43207‐3123
DOROTHY E RAGAN                                  8099 W INTERSTATE HWY 30                                                                          CUMBY             TX    75433‐4871
DOROTHY E RODHAM                                 PO BOX 9433                                                                                       WASHSINGTON       DC    20016‐9433
DOROTHY E SANDERS                                310 LOYALIST LN                                                                                   FLINT             MI    48507‐5925
DOROTHY E SARGENT & EARL L SARGENT JT TEN        22813 GARY LANE                                                                                   ST CLAIR SHORES   MI    48080‐2518
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DOROTHY E SCHINDLBECK                           1003 STATE ST                                                                                     SAGINAW            MI    48602‐5663
DOROTHY E SCHREIBER                             761 FRANKLIN AVE                                                                                  CUYAHOGA FLS       OH    44221‐1219
DOROTHY E SIKORA                                139 IRWIN PL                                                                                      MIDDLETOWN         NJ    07748‐2308
DOROTHY E SKINNER                               409 SKYLARK DR                                                                                    TROY               OH    45373‐1832
DOROTHY E SLEEP & JAMES E SLEEP JT TEN          8548 E CTY A                                                                                      JANESVILLE         WI    53546
DOROTHY E SLUPSKY                               304 N WAVERLY ST                                                                                  ORANGE             CA    92866‐1247
DOROTHY E SNARSKI                               2839 BELKNAP N E                                                                                  GRAND RAPIDS       MI    49505‐3378
DOROTHY E STANLEY                               11644 KATHERINE                                                                                   TAYLOR             MI    48180‐4222
DOROTHY E STEPHENS                              37 SUMMIT AVE                                                                                     THURMONT           MD    21788‐1707
DOROTHY E STEWART                               3109 ELM AVE                                                                                      BROOKFIELD         IL    60513‐1305
DOROTHY E SUMP TR UA 03/30/93 DOROTHY E SUMP    409 W NISHNA                                                                                      CLARINDA           IA    51632‐1039
REVOCABLE TRUST
DOROTHY E TACKABERRY & ANNE E TACKABERRY JT TEN 4423 LAUREL CLUB CIR #6                                                                           W BLOOMFIELD       MI    48323‐2901

DOROTHY E TAYLOR                                 100 RIVER FRONT DR 1810                                                                          DETROIT MICH       MI    48224
DOROTHY E TRUESDELL                              5447 CORNELL AVENUE                                                                              CHICAGO            IL    60615‐5603
DOROTHY E TURNER                                 1217 HOWE RD                                                                                     BURTON             MI    48509‐1702
DOROTHY E WATTS                                  107B FAIRFAX CIR                                                                                 BRANDON            MS    39047‐6741
DOROTHY E WATTS                                  107B FAIRFAX CIRCLE                                                                              BRANDON            MS    39047‐6741
DOROTHY E WEBER                                  681 HIGH ST                             APT 247E                                                 VICTOR             NY    14564‐1372
DOROTHY E WEESE                                  RT #1 803 RIDGE RD                                                                               VIENNA             OH    44473‐9735
DOROTHY E WELCH                                  19473 WEDGEWOOD RD                                                                               RIVERVIEW          MI    48193‐7865
DOROTHY E WHITNEY                                4105 SUPPLY RD                                                                                   TRAVERSE CITY      MI    49686‐8480
DOROTHY E WILSON                                 628 MARLBOROUGH ST                                                                               DETROIT            MI    48215‐3262
DOROTHY E YOUNKINS                               6320 DOUGLAS ST                                                                                  PITTSBURGH         PA    15217‐1822
DOROTHY EADIE                                    22 MILLAR PL                                                                                     LOCKPORT           NY    14094‐4916
DOROTHY EATON CUST NATHAN E PEMBERTON UTMA       946 S TOWN & RIVER                                                                               FT MYERS           FL    33919‐6117
FL
DOROTHY ECHOLS TOBE TOD WALTER TOBE              384 PLAZA RD N                                                                                   FAIR LAWN          NJ    07410‐3620
DOROTHY ECKERT                                   929 MEREDITH AVE                                                                                 ELIZABETH          NJ    07202‐3117
DOROTHY EDGAR DIETZ                              1216 WOODLAND PK D                                                                               HURST              TX    76053‐3882
DOROTHY EDMISTON                                 18375 VENTURA BLVD 444                                                                           TARZANA            CA    91356
DOROTHY EILEEN YAMBRICK                          22454 NORFOLK CT                                                                                 NOVI               MI    48374‐3975
DOROTHY ELIZABETH PARKS                          2006 S AVERILL                                                                                   FLINT              MI    48503‐4466
DOROTHY ELLEN KEMP                               #111‐S                                  1590 BROADWAY                                            SAN FRANCISCO      CA    94109‐2550
DOROTHY ELLIS HOAG                               767 ROBINHOOD CIRCLE                                                                             BLOOMFIELD HILLS   MI    48304‐3757

DOROTHY ESTERS                                   834 E 87TH PLACE                                                                                 CHICAGO            IL    60619
DOROTHY F BEALS                                  169 ANN ST                                                                                       CEDAR SPRINGS      MI    49319‐8576
DOROTHY F CLOSSER                                13621 WOODMILL CT                                                                                CARMEL             IN    46032‐9211
DOROTHY F CLOSSER & VERNON F CLOSSER JT TEN      13621 WOODMILL CT                                                                                CARMEL             IN    46032‐9211
DOROTHY F COLES                                  489 FT ELFSBORG RD                                                                               SALEM              NJ    08079‐3615
DOROTHY F CWIEKA & FRANK J CWIEKA JT TEN         8065 SUPERIOR DR                                                                                 DENHAM SPGS        LA    70726‐6282
DOROTHY F FLANAGAN                               3018 BURNSIDE AVE                                                                                ST JOSEPH          MO    64505‐1948
DOROTHY F HAUSER & KATHLEEN A HAUSER JT TEN      1125 W 76TH STREET                                                                               KANSAS CITY        MO    64114‐1653

DOROTHY F MCLEAN                                 912 WIGGINS RD                                                                                   DOTHAN             AL    36303‐9211
DOROTHY F MORGAN                                 88 CASTLEFORD RD                                                                                 ROCHESTER          NY    14616‐4213
DOROTHY F QUIJADA & ALEJO QUIJADA JT TEN         C/O GRUHLER                             3312 S ONEIDA WAY                                        DENVER             CO    80224
DOROTHY F SMARCH & GEORGINA M PATON JT TEN       33432 ALTA AVE                                                                                   GARDEN CITY        MI    48135‐1003

DOROTHY F STRINGER EMERSON TOD SHIRLEY A       3060 BLACKWOOD                                                                                     FLORISSANT         MO    63033‐6258
BOATRIGHT
DOROTHY F UNGER                                2602 W CO RD 500 S                                                                                 KOKOMO             IN    46902
DOROTHY FEIST                                  59 TALL TREES DR                                                                                   AMELIA             OH    45102‐1787
DOROTHY FINGER TR THE DOROTHY FINGER REVOCABLE 12675 SKYLINE BLVD                                                                                 OAKLAND            CA    94619‐3124
TRUST 12/22/92
DOROTHY FLANDERS                               52 CHURCH ST                                                                                       WINDSOR LOCKS      CT    06096‐2331
DOROTHY FOENAR                                 P O BOX 8246                                                                                       WEST PALM BCH      FL    33407
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DOROTHY FORBES                                    17118 ORANGE GROVE BLVD                                                                             LOXAHATCHEE      FL    33470‐3550
DOROTHY FORT                                      1757 69TH AVE SW                                                                                    LANETT           AL    36863‐6016
DOROTHY FOSTER                                    7435 ANROSE DR                                                                                      ST LOUIS         MO    63130‐2244
DOROTHY FRANKLIN                                  PO BOX 11562                                                                                        MARINA DEL REY   CA    90295‐7562
DOROTHY FRASHER                                   RT 1 BOX 438                                                                                        FORTGAY          WV    25514‐9776
DOROTHY FREEDMAN                                  #301                                   5725 COTE ST LUC RD         HAMPSTEAD QC   H3X 2E6 CANADA
DOROTHY FREEZE                                    9058 BARRHILL WAY                                                                                   FAIROAKS         CA    95628‐4036
DOROTHY FRIEDMAN                                  2451 W WHITE OAKS DR                   APT 110                                                      SPRINGFIELD      IL    62704‐7448
DOROTHY FRISCH WALLACE                            101 BOCAGE CIR                                                                                      LAFAYETTE        LA    70503‐4354
DOROTHY FRIZZELL PERS REP                         253 N WALNUT                                                                                        MT CLEMENS       MI    48043‐5842
DOROTHY G ALBERTI                                 PO BOX 527                                                                                          LONDONDERRY      VT    05148‐0527
DOROTHY G ARNOLD                                  19 VERDI BLVD                                                                                       LATHAM           NY    12110‐3015
DOROTHY G BELK                                    C/O D SHIRLEY                          1004 BRYNEWOOD PARK RD                                       CHATTANOOGA      TN    37415‐2342
DOROTHY G BOECK                                   800 ONEIDA ST                                                                                       LEWISTON         NY    14092‐1419
DOROTHY G C RICHMOND & STEPHEN F RICHMOND JT      891 OLD SOUTH RD                                                                                    PEACEDALE        RI    02879
TEN
DOROTHY G DIROFF                                  3546 ARDMORE DRIVE                                                                                  TROY             MI    48083‐5241
DOROTHY G FADEL TR FADEL FAMILY LIVING TRUST UA   25 A AUTUMN CREEK LN                                                                                E AMHERST        NY    14051‐2907
01/12/94
DOROTHY G FULLMER & CHARLES E FULLMER JT TEN      4252 WEATHERBY LN                                                                                   TRAVERSE CITY    MI    49684‐8259

DOROTHY G FULLMER & GARY R FULLMER JT TEN         4252 WEATHERBY LN                                                                                   TRAVERSE CITY    MI    49684‐8259
DOROTHY G GALICKI                                 17220 WARRIOR DR                                                                                    HOWARD CITY      MI    49329‐9338
DOROTHY G GIBBS                                   3488 PARALLEL RD                                                                                    DAYTON           OH    45439‐1246
DOROTHY G HARRIS                                  144 WASHINGTON AVE                                                                                  PLAINVIEW        NY    11803‐4020
DOROTHY G JEFFRESS                                2741 S NETHERFIELD DR                                                                               MIDLOTHIAN       VA    23113
DOROTHY G KALUPA                                  3000 SOUTH 14TH ST                                                                                  MILWAUKEE        WI    53215‐3844
DOROTHY G LANG TR DOROTHY G LANG TRUST UA         PO BOX 356                                                                                          ROSS             OH    45061‐0356
8/5/99
DOROTHY G LEDDY                                   88 MIDDLETOWN POINT RD                                                                              ROCK HILL        NY    12775‐7005
DOROTHY G MACCONNELL                              PO BOX 95                                                                                           SOUTH CASCO      ME    04077‐0095
DOROTHY G MCBURNEY                                1110 FLORIDA AVE                                                                                    DAYTONA BEACH    FL    32114‐3906
DOROTHY G MCCULLOUGH                              7660 BROOKFARM CT                                                                                   MASON            OH    45040‐7028
DOROTHY G MERIDETH                                2001 PONTIAC COURT                                                                                  KOKOMO           IN    46902‐2521
DOROTHY G MITCHELL                                10615 VICTORIAN AVE                                                                                 NEW MARKET       MD    21774‐6216
DOROTHY G MORELAND                                PO BOX 403                                                                                          SANBORN          NY    14132‐0403
DOROTHY G PARISON                                 5893 CAMP WAHSEGA RD                                                                                DAHLONEGA        GA    30533‐1872
DOROTHY G PEETE                                   52 AMSTERDAM                                                                                        BUFFALO          NY    14215‐3001
DOROTHY G ROESLER                                 208 ORCHARD LN                                                                                      ALEXANDRIA       IN    46001‐1037
DOROTHY G ROESLER & CHARLES J ROESLER JT TEN      208 ORCHARD LANE                                                                                    ALEXANDRIA       IN    46001‐1037

DOROTHY G SHIRLEY & GEORGE D SHIRLEY JT TEN       1004 BRYNWOOD PARK RD                                                                               CHATTANOOGA      TN    37415‐2342
DOROTHY G TAYLOR                                  6375 BADGER DR                                                                                      LOCKPORT         NY    14094‐5947
DOROTHY G VANBARG                                 5902 DEANE DRIVE                                                                                    TOLEDO           OH    43613‐1124
DOROTHY G WHITCOMB                                4013 NW 39TH WAY                                                                                    GAINESVILLE      FL    32606‐4532
DOROTHY GABRIEL                                   PO BOX 2664                                                                                         BELLEVIEW        FL    34421‐2664
DOROTHY GAIL ISAACSON                             2412 DELVERTON DR                                                                                   ATLANTA          GA    30338
DOROTHY GARLAND                                   7038 BUDDY LN                                                                                       CAMBY            IN    46113‐8649
DOROTHY GARRETT                                   PO BOX 21                                                                                           OAKVILLE         IN    47367‐0021
DOROTHY GATHRIGHT                                 202 WATSON                                                                                          MADISON          IL    62060‐1651
DOROTHY GENE ALICE                                4017 ROSQUE DR                                                                                      PLANO            TX    75074
DOROTHY GENTILLE                                  2301 N BROOK DR                        APT 2                                                        MC KINNEY        TX    75070‐3853
DOROTHY GIBSON WRIGHT                             9024 LITTLE HAMPTON PL                                                                              CHARLOTTE        NC    28215‐7520
DOROTHY GINSBURG                                  2812 HARVARD AVE NW                                                                                 CANTON           OH    44709‐3155
DOROTHY GLORIA VICTOR & MRS ELLA VICTOR JT TEN    2406 GEORGELAND                                                                                     DRAYTON PLAINS   MI    48020

DOROTHY GORDON                                    KARL LEMOBILE MANOR                    6656 BLACK HORSE PIKE 524                                    EGG HARBOR       NJ    08234‐1801
                                                                                                                                                      TOWNSHI
DOROTHY GRAHAM                                    15 MANNING TERRACE                                                                                  NEWPORT          RI    02840‐2327
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

DOROTHY GRAVES SHAW TR DOROTHY GRAVES SHAW       349 S 74TH WAY                                                                                 MESA              AZ    85208‐1207
REVOCABLE TRUST UA 05/14/98
DOROTHY GREENE                                   1961 HERITAGE WAY                                                                              MANHASSET        NY     11030
DOROTHY GROGG                                    1604 SO 550 E                                                                                  PERU             IN     46970‐7130
DOROTHY H AUSTIN                                 819 COUNTY RD 28                                                                               SOUTH NEW BERLIN NY     13843‐2233

DOROTHY H BALLARD                             1805 FUTCH CREEK RD                                                                               WILMINGTON        NC    28411‐9381
DOROTHY H BARCIKOWSKI                         10 EASTWOOD ROAD                                                                                  BRISTOL           CT    06010‐2374
DOROTHY H BERNER                              1424 FOREST DR                                                                                    PORTAGE           MI    49002‐6320
DOROTHY H BONER CUST CHRISTOPHER C BONER UTMA 11723 SYMMES VALLEY DR                                                                            LOVELAND          OH    45140‐8250
OH
DOROTHY H BORDEN                              3014 N 7TH ST                                                                                     TERRE HAUTE       IN    47804‐1032
DOROTHY H BOUGH                               PO BOX 8232                                                                                       LONGVIEW          TX    75607‐8232
DOROTHY H BROOKS                              817 W HARVARD                                                                                     SILOAM SPGS       AR    72761‐4013
DOROTHY H CHARLTON                            3375 CARLIN DR                                                                                    WEST CARROLLTON   OH    45449‐2729

DOROTHY H COOPER                                 234 N DENNICK AVE                                                                              YOUNGSTOWN        OH    44504‐1817
DOROTHY H CRAWFORD                               929 VAN LEER DR                                                                                NASHVILLE         TN    37220‐1147
DOROTHY H FLETCHER                               260 BAYVIEW DRIVE                                                                              CICERO            IN    46034‐9440
DOROTHY H GEZON                                  3320 MICHAEL DR                                                                                WILLIAMSBURG      MI    49690‐9328
DOROTHY H GRUBER                                 2905 DYER                                                                                      DALLAS            TX    75205‐1907
DOROTHY H HANSON                                 8935 S WOOD CREEK DR                  APT 115                                                  OAK CREEK         WI    53154‐8606
DOROTHY H HAVLICSEK & NANCY L HUNSICKER JT TEN   709 WOOD STREET                                                                                BETHLEHEM         PA    18018‐4421

DOROTHY H HOJNA                                  802 E 6TH ST                                                                                   ROYAL OAK         MI    48067‐2816
DOROTHY H IVEY & MAX D IVEY JT TEN               2410 LANTER LANE                                                                               CHESTER           VA    23836‐5408
DOROTHY H JALOWIECZ                              4981 WALKER AVE NW                                                                             COMSTOCK PARK     MI    49321‐8340
DOROTHY H KASE                                   202 WELLINGTON                        1361 BOOT RD                                             WEST CHESTER      PA    19380‐5988
DOROTHY H LAKE                                   9 OAKWOOD DR                                                                                   QUEENSBURY        NY    12804‐1327
DOROTHY H LYONS                                  1409 GALLAGHERVILLE RD                                                                         DOWNIGTOWN        PA    19335
DOROTHY H MADEY & MARCIANN M MADEY JT TEN        5604 INWOOD STREET                                                                             CHEVERLY          MD    20785‐1119

DOROTHY H MALMIN & CECIL S MALMIN JT TEN         PO BOX 1356                                                                                    ANGELS CAMP       CA    95222‐1356
DOROTHY H MCKINLEY                               3548 N W SUMNER LAKE DRIVE                                                                     ANDERSON          IN    46012
DOROTHY H NELSON                                 3609 LURLINE WAY                                                                               SANTA ROSA        CA    95405‐5208
DOROTHY H PUTNEY                                 1085 UNQUOWA ROAD                                                                              FAIRFIELD         CT    06430‐5005
DOROTHY H RICE                                   PO BOX 832                                                                                     NORTHVILLE        MI    48167‐0832
DOROTHY H SCOTT & RAY T FRANKLIN JT TEN          10583 CHISHOLM TR                                                                              CHERRY VALLEY     CA    92223‐5445
DOROTHY H SMITH & DOUGLAS H SMITH TEN ENT        PO BOX #53                                                                                     GALESVILLE        MD    20765‐0053
DOROTHY H STRAIGHTIFF                            2633 KIMBROUGH DR                                                                              WILMINGTON        DE    19810‐1404
DOROTHY H SWIFT                                  1315 CAMERO DR                                                                                 THE VILLAGES      FL    32159‐0028
DOROTHY H TAMBASCO                               221 WEMBRIDGE DRIVE                                                                            EAST SYRACUSE     NY    13057‐1637
DOROTHY H WADE & LINDA W GETTLE & NANCY A        1700 ESTRELLITA DR                                                                             CHATTANOOGA       TN    37421‐5753
WADE JT TEN
DOROTHY HAAG BOGUE                               BOX 216                                                                                        HOLLANDALE        MS    38748‐0216
DOROTHY HALE                                     4372 ROSEGARDEN COURT                                                                          RIVERSIDE         OH    45424‐5044
DOROTHY HALL & WILLIAM HALL JT TEN               3326 AVALON RD                                                                                 SHAKER HEIGHTS    OH    44120‐3416
DOROTHY HALL BARRY                               1938 PEABODY                                                                                   MEMPHIS           TN    38104‐4043
DOROTHY HARRIS                                   14368 ASBURY PK                                                                                DETROIT           MI    48227‐1369
DOROTHY HARRISON                                 PO BOX 386                                                                                     RCHO SANTA FE     CA    92067‐0386
DOROTHY HARRISON                                 170 CHESTNUT DRIVE                                                                             WAYNE             NJ    07470‐5604
DOROTHY HARRISON                                 2015 BEECHWOOD BLVD                                                                            BITELY            MI    49309‐9607
DOROTHY HASKINS CONSERVATOR FBO ANNA L JOSEPH    PO BOX 11424                                                                                   LEXINGTON         KY    40575

DOROTHY HEIDENREICH                              21900 ADDINGTON BLVD APT 219                                                                   CLEVELAND         OH    44116‐3952
DOROTHY HEISE & CHARLES W HEISE JT TEN           8569 TYROLEAN WAY                                                                              SPRINGFIELD       VA    22153‐2241
DOROTHY HELENE STERN CUST JUDITH ANN STERN       67 REED RANCH ROAD                                                                             TIBURON           CA    94920‐2054
UGMA CA
DOROTHY HILES VANDERLUIT                         310 SUBURBAN DR                                                                                ANDERSON          IN    46017‐9692
                                           09-50026-mg               Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                            Address2             Address3          Address4          City             State Zip

DOROTHY HILL                                     11740 SUSSEX ST                                                                             DETROIT          MI    48227‐2028
DOROTHY HIRSCHFELD                               4346 AVENIDA DE LA ENCINAL                                                                  MALIBU           CA    90265‐2504
DOROTHY HOLLENBECK                               405 N GOSPEL ST                                                                             PAOLI            IN    47454‐1413
DOROTHY HOWELL MARSHALL                          BOX 62                                                                                      FLUSHING         OH    43977‐0062
DOROTHY HUDSON                                   215 BROOKWOOD DR                                                                            ENGLEWOOD        OH    45322‐2461
DOROTHY HUGHES                                   PO BOX 96                                                                                   MOLINE           IL    61266‐0096
DOROTHY HYSER                                    240 UPPER WOODS ROAD                                                                        HONESDALE        PA    18431
DOROTHY I BELUE                                  4371 BURKE RD                                                                               NEWPORT          MI    48166‐9692
DOROTHY I BRYANT                                 PO BOX 2741                                                                                 DENVER           CO    80201‐2741
DOROTHY I BURKE & PATRICIA J SWANSON JT TEN      3952 TRAILWOOD DR                                                                           OKEMOS           MI    48864‐3756
DOROTHY I DRAKE                                  1739 N ARBOGAST ST                                                                          GRIFFITH         IN    46319‐1379
DOROTHY I GAMBLE                                 33 EDNA                                                                                     PONTIAC          MI    48341‐1902
DOROTHY I GIBSON                                 MENDOZA 2965 1‐B                   1428 BUENOS AIRES                      ARGENTINA
DOROTHY I GLIDDEN                                101 HIGH STREET                                                                             GREENFIELD       MA    01301‐2740
DOROTHY I GOOD                                   229 WEST SHEFFIELD AVE                                                                      PONTIAC          MI    48340‐1855
DOROTHY I HANKINS                                612 E HOFFER ST                                                                             KOKOMO           IN    46902‐5708
DOROTHY I KEMPERT                                6710 ELLENTON‐GILLETT RD           #205                                                     PALMETTO         FL    34221‐9674
DOROTHY I KOCHER & CARL KOCHER JR JT TEN         780 BROOKWOOD AVE                                                                           HAMILTON         OH    45013‐2044
DOROTHY I MARINER                                1438 WESTFIELD S W                                                                          NORTH CANTON     OH    44720‐4261
DOROTHY I MORGAN                                 17 EDGAR AVE                                                                                DAYTON           OH    45410‐2019
DOROTHY I RHOME                                  212 W AUSTIN AVE REAR                                                                       CONNELLSVILLE    PA    15425‐4435
DOROTHY I SHERMAN                                11082 WANDERING OAKS DRIVE                                                                  JACKSONVILLE     FL    32257‐3617
DOROTHY I SPIKER TOD DYRKE SPIKER SUBJECT TO STA 419 JENNY LN                                                                                NEW CASTLE       PA    16101‐5559
TOD RULES
DOROTHY I STOVER                                 922 W PERKINS ST                                                                            HARTFORD CITY    IN    47348‐1239
DOROTHY I WOOD & DAVID L WOOD & JAMES R WOOD 3113 DEARBORN STREET                                                                            FLINT            MI    48507‐1856
JT TEN
DOROTHY ILES GREEN                               504 VIRGINIA ST                                                                             ROANOKE RAPIDS   NC    27870‐2925
DOROTHY INEZ THOMAS                              5476 PINEDALE CIR                                                                           SUGAR HILL       GA    30518‐4564
DOROTHY INGESOULIAN                              26538 KENDALL CT                                                                            DETROIT          MI    48239‐2912
DOROTHY IRENE JOHNSON                            1536 MC FARLAND RD                                                                          JUNCTION CITY    KS    66441‐3310
DOROTHY IRENE WALKER                             1601 WESTONA DRIVE                                                                          DAYTON           OH    45410‐3339
DOROTHY ISIDORIDY                                2824 CENTER RIDGE DRIVE                                                                     OAKTON           VA    22124‐1456
DOROTHY IWASYSZYN                                4524 N PONTIAC AVE                                                                          NORRIDGE         IL    60706‐4339
DOROTHY J ADAIR                                  900 CROCUS CRESCENT                WHITBY ON                              L1N 2A7 CANADA
DOROTHY J ALEXANDER                              4666 WHITTLESEY ROAD                                                                        NORWALK          OH    44857‐9242
DOROTHY J ALEXANDER                              2405 RIVERSIDE BENLEO RD                                                                    BOWLING GREEN    KY    42101‐8967
DOROTHY J ARNOLD                                 884 GOLF DR                        APT 201                                                  PONTIAC          MI    48341‐2398
DOROTHY J BAYUS                                  1886 MORNING SUN LANE                                                                       NAPLES           FL    34119‐3321
DOROTHY J BERLIN CUST MARY BERLIN UGMA IL        240 E VERDUGO AVE                  APT 222                                                  BURBANK          CA    91502‐2929
DOROTHY J BOREK                                  9622 WEST LAPHAM STREET                                                                     WEST ALLIS       WI    53214‐4144
DOROTHY J BORGERT                                3968 INDIAN RIPPLE RD                                                                       DAYTON           OH    45440‐3450
DOROTHY J BROCK                                  321 WEST WITHERBEE                                                                          FLINT            MI    48503‐1071
DOROTHY J BROWN                                  5002 DRIFTWOOD DRIVE                                                                        MILFORD          MI    48382‐1319
DOROTHY J BROWN TR UA 11/05/2008 THE DOROTHY J 539 LILL ST                                                                                   BARRINGTON       IL    60010
BROWN REVOCABLE TRUST
DOROTHY J BROWNING                               5 WEST COTTAGE AVE                                                                          FLAGSTAFF        AZ    86001‐5567
DOROTHY J BUBACZ                                 4141 PARKLAWN AVE #217                                                                      EDINA            MN    55435‐4601
DOROTHY J BURDETT                                1213 S EUCLID AVE                                                                           PRINCETON        IL    61356‐2464
DOROTHY J CERVEN TR CERVEN REVOCABLE LIVING      3880 CONEFLOWER CIRCLE                                                                      COAL CITY        IL    60416‐9462
TRUST UA 05/13/02
DOROTHY J CLARK                                  550 W HILDALE ST                                                                            DETROIT          MI    48203‐4562
DOROTHY J COLE TR DOROTHY J COLE FAMILY TRUST UA 925 BELROCK AVE                                                                             BELPRE           OH    45714‐1348
12/20/02
DOROTHY J COLEMAN                                66 W FLOYD AVE                                                                              DAYTON           OH    45415‐3436
DOROTHY J COMER                                  1716 BARBARA CIRCLE                                                                         BEAR             DE    19701‐1387
DOROTHY J COOKE                                  13929 PENROD                                                                                DETROIT          MI    48223‐3545
DOROTHY J DENISON                                125 N 28TH ST                                                                               CAMP HILL        PA    17011‐2929
DOROTHY J DIKE                                   5903 PRINCE GEORGE DRIVE                                                                    SPRINGFIELD      VA    22152‐1164
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Name                                             Address1                               Address2                     Address3   Address4          City            State Zip

DOROTHY J DOEKSEN                                30808 SHERIDAN ST                                                                                GARDEN CITY     MI    48135‐1319
DOROTHY J DRAINE                                 11728 KENTUCKY ST                                                                                DETROIT         MI    48204‐4705
DOROTHY J DUFF                                   618 WEST 4 MILE RD                                                                               GRAYLING        MI    49738‐8076
DOROTHY J DUPREE                                 1420 CHESTNUT LANE                                                                               JACKSON         MS    39212‐4307
DOROTHY J ESCHENWICK                             ATTN DOROTHY J SHOCK                   3869 S 50TH AVE                                           SEARS           MI    49679‐8719
DOROTHY J ESCHENWICK & JOHN N SHOCK JT TEN       3869 50 TH AVE                                                                                   SEARS           MI    49679‐8719

DOROTHY J FAISON                                 ATTN DOROTHY J DICKSON                 1366 COUNTY ROAD 7755                                     TROY            AL    36081‐6580
DOROTHY J FICK TR UA 07/01/81                    506 HICKORY ST                                                                                   LINDEN          MI    48451‐8922
DOROTHY J FINLEY & DONALD E FINLEY JT TEN        16W 450 HILLSIDE LANE                                                                            HINSDALE        IL    60521‐6148
DOROTHY J FLEMING                                4725 COVE CI 211                                                                                 ST PETERSBURG   FL    33708‐2853
DOROTHY J FORTER                                 205 LINDEN PONDS WAY                   APT 412                                                   HINGHAM         MA    02043
DOROTHY J FRASIER & JAMES E FRASIER JT TEN       1760 MYRON                                                                                       LINCOLN PARK    MI    48146
DOROTHY J FULLAM                                 HC 34 BOX UNIT 2‐BX2                                                                             BURNT RANCH     CA    95527‐9801
DOROTHY J GALE                                   PO BOX 364                                                                                       SCOTTSDALE      AZ    85252‐0364
DOROTHY J GARWOOD                                35 BRONWOOS STREET                                                                               NEW LEBANON     OH    45345‐1201
DOROTHY J GIORGIANNI                             273 WHEATLEY RD                                                                                  OLD WESTBURY    NY    11568‐1025
DOROTHY J GRAZIER                                81 TAFT RD                                                                                       PORTSMOUTH      NH    03801‐5759
DOROTHY J GREEN                                  2506 E FOX ST                                                                                    MESA            AZ    85213‐5323
DOROTHY J GREENWALD                              3345 LKPT‐OLCOTT                                                                                 NEWFANE         NY    14108
DOROTHY J HALLETT                                2412 DUTCH HOLLOW RD                                                                             AVON            NY    14414‐9710
DOROTHY J HEWITT                                 20 FOREST AVE                                                                                    PRT JEFF STA    NY    11776
DOROTHY J HIGBIE TR DOROTHY J HIGBIE REVOCABLE   1276 COCONUT DR                                                                                  FORT MYERS      FL    33901‐6609
TRUSTUA 04/11/00
DOROTHY J HOLEMAN & HOWARD L HOLEMAN JT TEN      4115 GRAYTON DR                                                                                  WATERFORD       MI    48328‐3426

DOROTHY J HOLM                                   10354 BORN ST                                                                                    THREE RIVERS    MI    49093‐8224
DOROTHY J HOLMES                                 560 HOWLAND AV                                                                                   PONTIAC         MI    48341‐2766
DOROTHY J HOMIK                                  4436 SAINT MARTINS DR                                                                            FLINT           MI    48507‐3727
DOROTHY J HUBERT                                 2355 28TH AVE SW                                                                                 VERO BEACH      FL    32968‐7802
DOROTHY J HUTCHINSON                             8104 RIVERVIEW DR                                                                                FLINT           MI    48532‐2273
DOROTHY J JOHNSTON                               2014 SOUTH 102ND ST                    APT 328                                                   WEST ALLIS      WI    53227‐1351
DOROTHY J JONES & KRISTEN J JONES JT TEN         8312 DINAH WAY                                                                                   LOUISVILLE      KY    40242‐2516
DOROTHY J KEROUAC TR DOROTHY J KEROUAC TRUST     812 CYPRESS DR                                                                                   DAVISON         MI    48423‐1918
UA 2/23/99
DOROTHY J KNOWLES                                321 W SAND LAKE ROAD                                                                             WYNANTSKILL     NY    12198‐8160
DOROTHY J KRUSE                                  1010 34TH AVE SW                                                                                 MINOT           ND    58701‐7251
DOROTHY J LAIRD & WILLIAM J LAIRD TEN ENT        116 CRUMP RD                                                                                     EXTON           PA    19341‐1510
DOROTHY J LANTRY                                 3160 W FRANKFURT DR                                                                              CHANDLER        AZ    85226
DOROTHY J LATTIMORE                              2414 ASHURST RD                                                                                  UNIVERSITY HT   OH    44118‐3644
DOROTHY J LE SCHANDER                            36 LYNNWOOD DR                                                                                   BROCKPORT       NY    14420‐1424
DOROTHY J LEMIEUX                                950 N CHEVROLET AVE                                                                              FLINT           MI    48504‐4624
DOROTHY J LYONS                                  38102 SANDY COVE RD                                                                              OCEAN VIEW      DE    19970‐3320
DOROTHY J MAH                                    12 PEARY AVE                                                                                     LYNN            MA    01904
DOROTHY J MATTHEWS                               C/O DOROTHY FARRAND                    1093 A1A BEACH BLVD NO 366                                ST AUGUSTINE    FL    32080‐6733
DOROTHY J MC DONALD                              PO BOX 83                                                                                        LAKEVILLE       MI    48366‐0083
DOROTHY J MCLEAN                                 5069 ESTA DR                                                                                     FLINT           MI    48506‐1546
DOROTHY J MEERDINK                               C/O MRS RONCINSKE                      111 JOANNE DR                                             ROCHESTER       NY    14616‐4945
DOROTHY J MEYER                                  369 MAIN ST                                                                                      SPOTSWOOD       NJ    08884‐1218
DOROTHY J MORRIS                                 1210 SUBSTATION ROAD                                                                             BRUNSWICK       OH    44212‐1912
DOROTHY J MORTON                                 2302 DATE AVE                                                                                    LUBBOCK         TX    79404‐1638
DOROTHY J MUNGER                                 1506 S VINE ST                                                                                   URBANA          IL    61801‐5010
DOROTHY J NICHELSON                              128 MIRAMAR                                                                                      MAUMELLE        AR    72113‐6592
DOROTHY J NORTON                                 2963 HENDERSON ROAD                                                                              TUCKER          GA    30084‐2342
DOROTHY J PERRY & JANICE M GREENFIELD JT TEN     PO BOX 468                                                                                       DENNIS          MA    02638‐0468

DOROTHY J PHILLIPS                               1461 N MALLARD CIRCLE                                                                            OWOSSO          MI    48867
DOROTHY J PHILLIPS & DEBORAH SUE STODDARD JT TEN 1461 MALLARD CIR                                                                                 OWOSSO          MI    48867‐1987
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

DOROTHY J PONZIO                                  37612 BARKRIDGE CIRCLE                                                                          WESTLAND        MI    48185‐3207
DOROTHY J POTTS                                   C/O DOROTHY J BAMBERG                  6868 JUNCTION                                            BRIDGEPORT      MI    48722‐9776
DOROTHY J POWELL                                  19940 SHREWSBURY RD                                                                             DETROIT         MI    48221‐1855
DOROTHY J POWELL                                  1205 SE 46 LN APT 104                                                                           CAPE CORAL      FL    33904‐8603
DOROTHY J PRUETT                                  810 SENIOR CREEK DR APT 8107                                                                    ARLINGTON       TX    76010‐1951
DOROTHY J PURNELL                                 2910 LUCERNE DR                                                                                 JANESVILLE      WI    53545‐0602
DOROTHY J QUAZZA                                  122 SHERMAN AVE                                                                                 CEDAR GROVE     NJ    07009‐1729
DOROTHY J RAMMING                                 7974 CHESTNUT RIDGE ROAD                                                                        GASPORT         NY    14067‐9277
DOROTHY J RAU TR UA 02/11/2008 DOROTHY J RAU      604 WARREN AVE                                                                                  FLUSHING        MI    48433
REVOCABLE TRUST
DOROTHY J REED                                    7100 MARFIELD ST                                                                                PORTAGE          MI   49024‐4231
DOROTHY J REED TR DOROTHY J REED TRUST UA         22416 SCHAFER DR                                                                                CLINTON TOWNSHIP MI   48035
1/28/88
DOROTHY J REYNOLDS                                7662 W LEON TE B                                                                                MILWAUKEE       WI    53218‐2627
DOROTHY J RIFENBARK                               311 COUNTRY MEADOWS LN                                                                          BAY CITY        MI    48706
DOROTHY J S WYMAN                                 3312 LOOKOUT LN                                                                                 AUSTIN          TX    78746‐1431
DOROTHY J SCHNEIDER                               33532 AVONDALE ST                                                                               WESTLAND        MI    48186‐7838
DOROTHY J SKIPPER                                 2360 DIONNE RD                                                                                  CAMPBELLTON     FL    32426‐6900
DOROTHY J SMILEY & JACK RICHARD SMILEY JT TEN     367 SUMMERFIELD DRIVE                                                                           WESTLAND        MI    48185‐9637

DOROTHY J SMITH                                   6260 PUFFER RD                                                                                  DOWNERS GROVE   IL    60516‐1607
DOROTHY J SMITH                                   1215 DAWNAN DR                                                                                  FORT WAYNE      IN    46816‐1938
DOROTHY J SNOW TR DOROTHY SNOW TRUST UA           4032 10TH AVE                                                                                   LEAVENWORTH     KS    66048‐5503
5/11/85
DOROTHY J SPEETZEN                                17 LAVINA CT                                                                                    ORINDA          CA    94563‐4212
DOROTHY J SPENCER                                 213 BERKSHIRE ROAD                                                                              VERMILION       OH    44089‐2305
DOROTHY J STEELE                                  8142 SPENCER RD                                                                                 HOMERVILLE      OH    44235
DOROTHY J STENZEL                                 920 E ROBINSON STREET                  APT 7B                                                   N TONAWANDA     NY    14120‐4764
DOROTHY J THOMPSON                                217 WEYL ST                                                                                     ROCHESTER       NY    14621‐3619
DOROTHY J THORPE                                  3556 BRENDA DR                                                                                  TOLEDO          OH    43614‐2301
DOROTHY J TURLAND                                 2 PETER RD                                                                                      NORTH READING   MA    01864
DOROTHY J VASQUEZ TR UA 05/02/91 THE MJ & DJ      9612 LENA CT                                                                                    OAKDALE         CA    95361‐8819
VASQUEZ FAMILY TRUST
DOROTHY J VAUGHN                                  6327 KIMS DR                                                                                    VICTOR          NY    14564‐9244
DOROTHY J WAWROSE                                 TOPOWAW HILL MT RTE                                                                             HUNTINGTON      PA    16652
DOROTHY J WELLS                                   1150 N LAKE SHORE DR                   APT 2A                                                   CHICAGO         IL    60611‐1049
DOROTHY J WELLS & BETTY L WELLS JT TEN            1150 N LAKE SHORE DR                   APT 2A                                                   CHICAGO         IL    60611‐1049
DOROTHY J WHITE                                   14267 FARNSWORTH                                                                                STERLING HTS    MI    48312‐4353
DOROTHY J WILDER                                  10999 DEWITT                                                                                    BELLEVILLE      MI    48111‐1393
DOROTHY J WILLIAMS                                20 BIRCH DR                                                                                     GREENVILLE      PA    16125‐1126
DOROTHY J WILLIAMS                                DOROTHY J NORMAN                       3185 MARDEN DR                                           ADRIAN          MI    49221‐1057
DOROTHY J WILLIAMS                                PO BOX 119                                                                                      MIDDLE          IA    52307‐0119
DOROTHY J WITT                                    1357 SUPERIOR AVE                                                                               FAIRBORN        OH    45324‐3217
DOROTHY J ZACHARSKI                               618 BRIDLE LN                                                                                   CARY            IL    60013‐6305
DOROTHY J ZIEGLER & RICHARD R ZIEGLER & MARY C    2295 LYONS RD                                                                                   CORUNNA         MI    48817‐9501
ZIEGLER JT TEN
DOROTHY JACKSON                                   834 N LINCOLN AVE                      APT 3                                                    PITTSBURGH      PA    15233‐1826
DOROTHY JAMES                                     11 SIR PAUL CT                                                                                  MIDDLETOWN      NJ    07748‐3542
DOROTHY JANE BURKETT                              18921 E 9TH CT                                                                                  GREENACRES      WA    99016‐8777
DOROTHY JANE EMERY & CHARLES R EMERY JT TEN       967 SOUTHFIELD DR                                                                               WILLIAMSTON     MI    48895‐1627

DOROTHY JANE HAYES                                7877 DETROIT BLVD                                                                               W BLOOMFIELD    MI    48323
DOROTHY JANE HRAB & KEVIN S HRAB JT TEN           305 HAMILTON AVE                                                                                TONAWANDA       NY    14150‐5909
DOROTHY JANES                                     38821 GARDENSIDE DR                                                                             WILLOUGHBY      OH    44094‐7905
DOROTHY JEAN BROWN                                2721 DEERING                                                                                    ODESSA          TX    79762‐5123
DOROTHY JEAN COOK                                 116 E BROADWAY                                                                                  DRUMRIGHT       OK    74030‐3802
DOROTHY JEAN CROWE                                1987 SOUTHEAST BLVD                                                                             SALEM           OH    44460‐4044
DOROTHY JEAN FLESHER TR DOROTHY JEAN FLESHER      2700 BURCHAM DR                        RM 510                                                   EAST LANSING    MI    48823‐3894
TRUST UA 02/06/03
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

DOROTHY JEAN GRAHAM & GREGORY SEAN GRAHAM       2323 LONG REACH DR APT 6104                                                                      SUGAR LAND        TX    77478‐4193
EX EST ROBERT D GRAHAM
DOROTHY JEAN KENYON                             7368 KILLARNEY DR                                                                                SARASOTA          FL    34238‐2813
DOROTHY JEAN MORTON                             4180 ROLLING OAKS DR                                                                             WINTER HAVEN      FL    33880‐1647
DOROTHY JEAN PAGE                               2432 VALLEY LANE DR                                                                              GRAND BLANC       MI    48439‐8149
DOROTHY JEAN SLEZSAK TR ANDREW JOSEPH SLEZSAK   423 CONRAD HILLS ROAD                                                                            HAVANA            FL    32333
FAM TRUST UA 03/02/92
DOROTHY JEAN SMITH                              ROUTE 1 BOX 2100                                                                                 URBANA            MO    65767‐9643
DOROTHY JEAN STAUDER                            ATTN DOROTHY S MARSHALL                 5360 GOVERNORS R                                         FORT MYERS        FL    33907‐7815
DOROTHY JEAN WHEATLEY TR DOROTHY JEAN           3645 OAKSHIRE                                                                                    WATERFORD         MI    48328‐3548
WHEATLEY TRUST UA 11/17/95
DOROTHY JEANNE RICHARD MIXSON                   466 SHERWOOD FOREST BLVD                                                                         BATON ROUGE       LA    70815‐5131
DOROTHY JEFFERIS YOUNKINS                       6320 DOUGLAS ST                                                                                  PITTSBURGH        PA    15217‐1822
DOROTHY JENNINGS                                72 MARLBOROUGH ROAD                                                                              WEST HEMPSTEAD    NY    11552‐1714

DOROTHY JESSUP                                  2700 VIRGINIA AVE NW                                                                             WASHINGTON        DC    20037‐1908
DOROTHY JOHNSON                                 4340 W ROUNDHOUSE DR APT 3                                                                       SWARTZ CREEK      MI    48473
DOROTHY JOHNSON                                 1412 BELMONT AVE                                                                                 KOKOMO            IN    46902‐6042
DOROTHY JOHNSON                                 14564 BRAILE ST                                                                                  DETROIT           MI    48223‐2002
DOROTHY JOHNSON & SHARON J WILLIAMS JT TEN      23277 BARWOOD LN N                      APT 107                                                  BOCA RATON        FL    33428‐6711

DOROTHY JONES                                   C/O R JONES                             238 STREET RD                                            SOUTH HAMPTON     PA    18966‐3172
DOROTHY JONES                                   3618 MASON                                                                                       FLINT             MI    48505‐4020
DOROTHY JUNE CATHEY                             2819 PERSHING                                                                                    GRANITE CITY      IL    62040‐5952
DOROTHY K AMBROGIO                              20018 SALISBURY                                                                                  ST CLAIR SHORES   MI    48080‐3376
DOROTHY K CROYLE                                2626 LITTLE HICKORY DRIVE                                                                        LANSING           MI    48911‐8437
DOROTHY K ENGEL                                 82 DARTWOOD DRIVE                                                                                CHEEKTOWAGA       NY    14227‐3122
DOROTHY K FORAN                                 17 EAST 6TH STREET                                                                               CLIFTON           NJ    07011‐1165
DOROTHY K HARRISON                              PO BOX 1023                                                                                      OWOSSO 48867      MI    48867‐6023
DOROTHY K HASTY                                 216 S MAIN ST BX 94                                                                              FAIRMOUNT         IN    46928‐1925
DOROTHY K HEILMAN                               271 IRON BRIDGE RD                                                                               FREEPORT          PA    16229
DOROTHY K HINDMAN                               156 EAST 5TH ST                                                                                  RUSSELLVILLE      KY    42276‐1904
DOROTHY K HOAGG                                 4784 BOSTON POST RD                                                                              PELHAM MANOR      NY    10803‐3048
DOROTHY K LANE                                  592 RACEBROOK RD                                                                                 ORANGE            CT    06477‐1913
DOROTHY K LANG                                  340 N WABASH AVE                                                                                 GLENDORA          CA    91741‐2672
DOROTHY K MATSUOKA TR UA 06/08/90 DOROTHY K     1561 KANUNU ST APT 1003                                                                          HONOLULU          HI    96814‐3208
MATSUOKA LIVING TRUST
DOROTHY K OKAZAKI TR DOROTHY K OKAZAKI TRUST    2029 LEE PLACE                                                                                   HONOLULU          HI    96817‐2442
AGREEMENT 07/20/83
DOROTHY K PARTIN                                400 KENSINGTON ST                                                                                PORT CHARLOTTE    FL    33954‐3004
DOROTHY K PERHACH                               7146 LOVEWARNER ROAD                                                                             CORTLAND          OH    44410‐9623
DOROTHY K STOPA                                 71 MELHA AVE                                                                                     SPRINGFIELD       MA    01104‐1814
DOROTHY K THOMAS                                6750 ELLEN DR                                                                                    DAYTON            OH    45418‐1604
DOROTHY K ZIEBELL                               10000 W BAY HARBOR DR #203                                                                       BAY HARBOR        FL    33154‐1501
                                                                                                                                                 ISLANDS
DOROTHY KACZOR                                  300 KENNELY RD APT 244                                                                           SAGINAW           MI    48609‐7706
DOROTHY KAHLE                                   8415 W VOGEL AVENUE                                                                              PEORIA            AZ    85345‐7134
DOROTHY KALUPA CUST MICHAEL DANNY NORMAN        3000 S 14TH ST                                                                                   MILWAUKEE         WI    53215‐3844
UTMA WI
DOROTHY KALVAITIS                               15 RESTWOOD DRIVE                                                                                WATERBURY         CT    06705‐3544
DOROTHY KAUFFMAN TR UW LEWIS J KAUFFMAN         712 CANTERBURY HILL                                                                              SAN ANTONIO       TX    78209‐2820
DOROTHY KAUFMAN                                 4675 STATE ROUTE 208                                                                             VOLANT            PA    16156
DOROTHY KAUFMAN & LLOYD R KAUFMAN & JOHN T      39 GRANGE RD                                                                                     MCDONALD          PA    15057‐2494
KAUFMAN JT TEN
DOROTHY KAYE MARSH                              BOX 236                                                                                          BUNOLA            PA    15020‐0236
DOROTHY KEILMAN & LEONARD R KEILMAN JT TEN      2107 CARDINAL DR                                                                                 EAST CHICAGO      IN    46312‐3118

DOROTHY KING FOSS                               C/O SHIRLEY HARDY                       RT 1 BOX 1740                                            FAIRVIEW          MT    59221‐9709
                                             09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DOROTHY KING SCHOPF & EUGENE MAX SCHOPF TEN       3281 BEECHDALE STREET                                                                          PITTSBURGH      PA    15227‐3017
COM
DOROTHY KISTNER                                   5800 CONCORDIA CHURCH RD                                                                       BELLEVILLE      IL    62226‐6923
DOROTHY KLADKE                                    50 MCKENZIE CT                                                                                 BUFFALO         NY    14227‐3237
DOROTHY KNEBEL TR DOROTHY KNEBEL TRUST UA         8924 COUNTY ROAD F                                                                             ARPIN           WI    54410‐9712
10/23/00
DOROTHY KNOWLTON & EARL L KNOWLTON &              9425 W XY AVE                                                                                  SCHOOLCRAFT     MI    49087‐9119
LAWRENCE L KNOWLTON JT TEN
DOROTHY KOKALARES TR KOKALARES FAMILY TRUST UA 3046 RAIN DANCE LN                                                                                N FT MYERS      FL    33917‐1583
01/20/97
DOROTHY KRISKE                                    130 ROWLAND PKWY                                                                               ROCHESTER       NY    14610‐3303
DOROTHY KROL                                      2708 PANGBURN HOLLOW RD                                                                        MONONGAHELA     PA    15063‐4607
DOROTHY KURTZWORTH                                491 MORGAN STREET                                                                              TONAWANDA       NY    14150‐1825
DOROTHY L ACRES                                   PO BOX 155                                                                                     LAFAYETTE       TN    37083‐0155
DOROTHY L ADAMS                                   13541 87TH PL N                                                                                SEMINOLE        FL    33776‐2615
DOROTHY L ALLEN                                   5940 TUXEDO TERR                                                                               LOS ANGELES     CA    90068‐2462
DOROTHY L ALLEXA TR DOROTHY L ALLEXA REVOCABLE 5642 N CIRCLE DR                                                                                  SEVEN HILLS     OH    44131
TRUSTUA 8/16/01
DOROTHY L BABIAN & MARY L BABIAN JT TEN           PO BOX 1395                                                                                    ATHENS          TN    37371‐1395
DOROTHY L BALL CUST CHARLES A BALL UGMA MI        6171 COLF RD                                                                                   CARLETON        MI    48117‐9544
DOROTHY L BAYLISS TR UA 09/17/1993 BAYLISS FAMILY 223 VIRGINIA PLACE                                                                             COSTA MESA      CA    92627
TRUST
DOROTHY L BECK TR DOROTHY L BECK FAM TRUST UA     3300 ASHBURTON DR                                                                              ANTIOCH         CA    94509‐5197
07/18/96
DOROTHY L BRACKINS                                592 ATLANTIC ROAD                                                                              NEW MARKET      TN    37820‐4630
DOROTHY L BRAKEBILL                               7407 WILLOW RD                                                                                 FREDERICK       MD    21702‐2500
DOROTHY L BROOKS                                  1867 SOUTH BOYD DRIVE                                                                          ROCKY FACE      GA    30740‐9459
DOROTHY L BUNDA                                   13318 DEMOTT COURT                                                                             WARREN          MI    48088
DOROTHY L CALLIHAN                                BOX 523                                                                                        SHREVE          OH    44676‐0523
DOROTHY L CALVERT                                 7032 CLEMENTS                                                                                  W BLOOMFIELD    MI    48322‐2624
DOROTHY L CARSON                                  19180 HARTWELL                                                                                 DETROIT         MI    48235‐1248
DOROTHY L CHRISTIAN                               116 EAST OAK STREET #3                                                                         WATSEKA         IL    60970‐1377
DOROTHY L COLEMAN                                 2707 ASTER DRIVE                                                                               GREENSBORO      NC    27401‐4264
DOROTHY L DALY                                    91 LAMBER LN                          PO BOX 463                                               BRIDGEHAMPTON   NY    11932‐0463

DOROTHY L DANIELS                                8930 PEPPERIDGE DRIVE                                                                           SPOTYSVANIA     VA    22553‐2564
DOROTHY L DAVISSON                               3117 PORTLAND AVE                                                                               LOUISVILLE      KY    40212‐1139
DOROTHY L DICKSON & DONALD R DICKSON II JT TEN   PO BOX 6775                                                                                     BRANDON         FL    33508

DOROTHY L DYKES                                  51 HUMMINGBIRD WAY                                                                              AMELIA          OH    45102‐2193
DOROTHY L ELDRIDGE & MICHAEL K ELDRIDGE JT TEN   211 GRAND AVENUE                                                                                PALISADES PK    NJ    07650

DOROTHY L EMERY                                  320 S LURAY ST                                                                                  GREENVILLE      MI    48838‐1682
DOROTHY L EMERY                                  3509 N FRANKLIN                                                                                 FLINT           MI    48506‐2843
DOROTHY L FALCONE                                1727 CLOVER LANE                                                                                JANESVILLE      WI    53545‐0617
DOROTHY L FISHER TR UA 08/03/89 M‐B DOROTHY L    41130 FOX RUN RD APT 419                                                                        NOVI            MI    48377
FISHER
DOROTHY L FOENAR                                 900 54TH ST                            PO BOX 8246                                              WEST PALM BCH   FL    33407
DOROTHY L FOLK                                   8 LATCHSTRING LANE                                                                              HATBORO         PA    19040‐1305
DOROTHY L FRAZIER                                5041 IVANHOE                                                                                    DETROIT         MI    48204‐3629
DOROTHY L GARDNER                                2905 REYNOLDS ST                                                                                FLINT           MI    48503‐3007
DOROTHY L GIROIR                                 14923 CAMINO RANCHO DR                                                                          HOUSTON         TX    77083‐3222
DOROTHY L GRANT                                  1919 72ND AVE                                                                                   PHILADELPHIA    PA    19138‐2701
DOROTHY L HARDING                                1819 N KELHAM                                                                                   OKLA CITY       OK    73111‐1327
DOROTHY L HEYART                                 6331 CANMOOR                                                                                    TROY            MI    48098‐1818
DOROTHY L HOPKIN                                 PO BOX 28549                                                                                    DETROIT         MI    48228‐0549
DOROTHY L HORTON                                 261 NORTH RD                                                                                    CHESTER         NJ    07930‐2332
DOROTHY L HUTCHINSON                             702 PARRY BLVD                                                                                  CINNAMINSON     NJ    08077‐3939
DOROTHY L JACKSON                                4444 EAST BLVD                                                                                  GARFIELD HTS    OH    44105
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DOROTHY L JACKSON                              3818 BEACON DR                                                                                 AUGUSTA           GA    30906‐9631
DOROTHY L JONES TR UA 03/11/92 THE DOROTHY L   731 CLARK XING SE                                                                              GRAND RAPIDS      MI    49506‐3310
JONES TRUST
DOROTHY L KAISER TR DOROTHY L KAISER TRUST UA  27405 US HIGHWAY 27 STE 113                                                                    LEESBURG          FL    34748
04/01/97
DOROTHY L KISSANE                              423 DONNA ST                                                                                   PORTLAND          MI    48875‐1167
DOROTHY L KNIGHT                               1119 W WHITESIDE                                                                               SPRINGFIELD       MO    65807‐2587
DOROTHY L KOZICKI & ERVIN KOZICKI JT TEN       9002 FOREST LANE E                                                                             HICKORY HILLS     IL    60457‐1264
DOROTHY L LOGEL                                1432 LOSSON RD                                                                                 DEPEW             NY    14043‐4615
DOROTHY L MADARISH & DARLENE M MADARISH JT TEN 2525 W CRAWFORD AVENUE                                                                         CONNELLSVILLE     PA    15425‐1916

DOROTHY L MARCK                                 PO BOX 194                                                                                    NEW RICHMOND      OH    45157‐0194
DOROTHY L MARTIN                                28728 HOLLYWOOD                                                                               ROSEVILLE         MI    48066‐2425
DOROTHY L MAUPIN                                2765 LAWSON RD                                                                                MARION            IN    46952‐9285
DOROTHY L METZGER                               APT 5E                               301 CATHEDRAL PARKWAY                                    NEW YORK          NY    10026‐4061
DOROTHY L MIDDLETON                             1052 E ROWLAND                                                                                FLINT             MI    48507‐4147
DOROTHY L MILES                                 1126 CARLISLE AVE                                                                             LOUISVILLE        KY    40215‐2708
DOROTHY L MILES                                 8327 EAGLE MOUNTAIN DR                                                                        FORT WORTH        TX    76135‐9548
DOROTHY L MOULTRIE                              5426 W MICHIGAN AVE                  APT 203                                                  LANSING           MI    48917‐3359
DOROTHY L NICHOLSON                             8094 GLEN PARK RD                                                                             KIRTLAND          OH    44094‐9232
DOROTHY L OSBORN                                431 BURDELL DRIVE                                                                             WILMINGTON        OH    45177‐2905
DOROTHY L OSBORN & MARION R OSBORN JT TEN       431 BURDEL DRIVE                                                                              WILMINGTON        OH    45177‐2905
DOROTHY L PAYNE                                 1400 S INDIANA AVE # 412                                                                      CHICAGO           IL    60605‐2872
DOROTHY L PEYROLO TR DOROTHY L PEYROLO TRUST UA 35525 GEORGETOWN DR                                                                           STERLING HGTS     MI    48312‐4419
02/17/99
DOROTHY L POFFENBERGER                          4400 MOZART AVENUE                                                                            DAYTON            OH    45424‐5968
DOROTHY L REED                                  C/O RAYMOND REED                     8924 W DELPHI PIKE                                       CONVERSE          IN    46919
DOROTHY L RICCOLO                               203 N WASHINGTON                                                                              DWIGHT            IL    60420‐1157
DOROTHY L RIGATTI                               4601 GARDENVILLE RD                                                                           PITTSBURGH        PA    15236‐2459
DOROTHY L RUSSELL                               695 CHILTON AVE                                                                               NIAGRA FALLS      NY    14301‐1063
DOROTHY L SCHALK                                883 E 237TH ST                                                                                EUCLID            OH    44123‐2501
DOROTHY L SCHOWALTER TR DOROTHY L SCHOWALTER 2201 SOUTH GRACE #307                                                                            LOMBARD           IL    60148‐5504
LIVING TRUST UA 08/27/98
DOROTHY L SCHRAY                                31 SOUTH CROSSED BIRCH PLACE                                                                  THE WOODLANDS     TX    77381‐6026
DOROTHY L SCIORE                                6492 MOUNT ROYAL AVENUE                                                                       WESTERVILLE       OH    43082
DOROTHY L SEELYE                                477 WILLIAMSON RD                                                                             BOWIE             TX    76230‐8833
DOROTHY L SIMMONS                               PO BOX 9391                                                                                   BERKELEY          CA    94709‐0391
DOROTHY L SIMPSON                               233 E DARTMOUTH ST                                                                            FLINT             MI    48505‐4954
DOROTHY L SMITH                                 BOX 428                                                                                       REED POINT        MT    59069‐0428
DOROTHY L SMITH                                 40 THICKSON RD N                     WHITBY ON                              L1N 3P9 CANADA
DOROTHY L SPROVIERO TR DOROTHY L SPROVIERO      963 WEXFORD WAY                                                                               ROCHESTER HILLS   MI    48307‐2977
LIVING TRUSTUA 06/22/98
DOROTHY L STEVENS                               4575 E STRANGE HWY                                                                            GRAND LEDGE       MI    48837‐9429
DOROTHY L STONE TR DOROTHY L STONE FAMILY TRUST 35 CHRISTY PL APT 243                                                                         BROCKTON          MA    02301‐1891
UA 10/27/03
DOROTHY L SZARKA                                2333 KAPIOLANI BLVD APT 1910                                                                  HONOLULU          HI    96826‐4444
DOROTHY L TEAGNO                                99 WESTERVELT AVE                                                                             TENAFLY           NJ    07670‐2531
DOROTHY L TEAL                                  411 N MIDDLETOWN RD OBT 107                                                                   MEDIA             PA    19063‐4404
DOROTHY L THOMAS                                1581 TYLER                                                                                    DETROIT           MI    48238‐3676
DOROTHY L VAUGHAN & JACQUELYN M TRICKEY JT TEN 207 SUNSET DR DELAIRE                                                                          WILMINGTON        DE    19809

DOROTHY L VINSON                                15506 EVERGREEN                                                                               DETROIT           MI    48223‐1743
DOROTHY L WAGGLE                                3408 SUE ANN DR                                                                               PARAGOULD         AR    72450‐7702
DOROTHY L WEBBER & DENISE M ALTER & ALAN M      2717 LANSDOWNE                                                                                WATERFORD         MI    48329‐2945
WEBBER & CRAIG J WEBBER &
DOROTHY L WENCKOWSKI                            10640 STALFORD ROAD                                                                           COUNTRYSIDE       IL    60525‐4710
DOROTHY L WESTOVER                              2339 E GREENVIEW DR                                                                           GLENDORA          CA    91741‐4047
DOROTHY L WILLIAMS                              3315 W LAKE RD                                                                                CLIO              MI    48420‐8834
DOROTHY L WILLIAMS & DEBRA A GATES JT TEN       1017 W 104TH ST                                                                               CHICAGO           IL    60643‐3050
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DOROTHY L YARBROUGH                              3770 E ANTISDALE RD                                                                             SOUTH EUCLID    OH    44118‐2328
DOROTHY LACEY NELSON                             1812‐0 ST                                                                                       AURORA          ME    68818
DOROTHY LAGANA                                   RD #2 P6‐16                                                                                     HAZLETON        PA    18202‐9802
DOROTHY LAMPLE                                   6711 BURNBRIDGE COURT                                                                           ELKRIDGE        MD    21075
DOROTHY LANINGA                                  725 BALDWIN ST                         # 1003                                                   JENISON         MI    49428‐7945
DOROTHY LATACZ                                   37 TOGO ROAD                                                                                    TOMS RIVER      NJ    08757‐6169
DOROTHY LATHROP                                  150 NEWCOM LOOP                                                                                 STURGIS         KY    42459
DOROTHY LAURENTIA BERNARD BISHOP                 324 CEDARWOOD DRIVE                                                                             MANDEVILLE      LA    70471‐2850
DOROTHY LEE HUTCHEON                             5418 CHARLESTON WOODS DRIVE                                                                     FAIRFAX         VA    22032‐3215
DOROTHY LEE JOHNSON                              2011 39TH ST                                                                                    DES MOINES      IA    50310‐3804
DOROTHY LEE WOOD                                 4118 LOVERS LANE                                                                                DALLAS          TX    75225‐6908
DOROTHY LEPOFSKY                                 11 MARTINS RUN E‐103                                                                            MEDIA           PA    19063‐1057
DOROTHY LITMAN TR SYLVIA MC CARRALL & BRIAN MC   7200 N SHERIDAN RD                                                                              CHICAGO         IL    60626‐2613
CARRALL UA 4/26/79
DOROTHY LONGAZEL                                 5680 HIGHLAND ROAD                                                                              HIGHLAND HEIGHTS OH   44143‐2008

DOROTHY LONGHOUSE                                6535 RICHFIELD RD                                                                               FLINT           MI    48506‐2213
DOROTHY LOUCRAFT                                 7 ASIA LANE                            ST ALBANS                                                SAINT ALBANS    VT    05478
DOROTHY LOUISE CHAPMAN                           6866 ELWOOD RD                                                                                  SAN JOSE        CA    95120‐4730
DOROTHY LOUISE JUNKIN                            163 DEER TRAIL                                                                                  SHEPHERDSTOWN   WV    25443

DOROTHY LOUISE THOMAS                            4850 DAYTON LIBERTY ROAD                                                                        DAYTON          OH    45418‐1968
DOROTHY LOWRY CUST ANDREW J LOWRY UGMA NJ        59 BRYCE CANYON ROAD                                                                            HOWSCE          NJ    07731‐9052

DOROTHY LYNNE EDDY                            9312 PECANTREE CT                                                                                  BURLESON        TX    76028‐2166
DOROTHY M A JOHNSTON                          3257 LACOSTA COURT                                                                                 COMMERCE TWP    MI    48382
DOROTHY M ABBOTT CUST ROBERTA J M ABBOTT UGMA PO BOX 398                                69120 NE MONEY CREEK RD                                  SKYKOMISH       WA    98288‐0398
TX
DOROTHY M AGUAYO                              925 BRUSHWOOD DR                                                                                   WOLVERINE LK     MI   48390‐3005
DOROTHY M ARD                                 21215 DARTMOUTH DR                                                                                 SOUTHFIELD       MI   48076‐5634
DOROTHY M ARNDT                               506 CENTER RD                                                                                      MONROEVILLE      PA   15146‐1010
DOROTHY M AUER                                24 STERLING DR                                                                                     LAKE GROVE       NY   11755‐2321
DOROTHY M BASAT                               25346 KENNEDY ST                                                                                   DEARBORNE HIGHTS MI   48127‐3820

DOROTHY M BAUER                                 5012 GRINDON AVE                                                                                 BALTIMORE       MD    21214
DOROTHY M BECKLER                               35 WATERVILLE RD                                                                                 NORRIDGEWOCK    ME    04957‐3000
DOROTHY M BEGENY TOD MARLOS D BEGENY‐MAHAN 1775 HAYMARKET WAY                                                                                    HUDSON          OH    44236
SUBJECT TO STA TOD RULES
DOROTHY M BEGENY TOD MICHELE E SCHROMOFSKY      122 LOST CREEK DRIVE                                                                             BOARDMAN        OH    44512
SUBJECT TO STA TOD RULES
DOROTHY M BEGENY TOD TAMARA D JONES SUBJECT     424 GREENBRIER DRIVE                                                                             CORTLAND        OH    44410
TO STA TOD RULES
DOROTHY M BERNHOLDT                             110 BENNINGTON PL                                                                                NEW CANAAN      CT    06840‐3402
DOROTHY M BERRY                                 486 E MOLER ST                                                                                   COLUMBUS        OH    43207‐1329
DOROTHY M BIALK TR DOROTHY M BIALK LIVING TRUST 526 SUMMIT ST                                                                                    BARRINGTON      IL    60010‐4414
UA 02/16/96
DOROTHY M BLACK                                 1732 BUSHWOOD LN                                                                                 LANSING         MI    48917‐7814
DOROTHY M BOKOWSKI                              950 E WILMETTE RD #320                                                                           PALATINE        IL    60074‐6482
DOROTHY M BOLTON                                502 THYMEWAY                                                                                     DELAND          FL    32724‐6208
DOROTHY M BRASFIELD TR UA 06/30/2004 DOROTHY M 33 WILLIS ROAD                                                                                    SCOTTS VALLEY   CA    95066
BRASFIELD REV LIV TRUST
DOROTHY M BROWN                                 9317 EAST 90TH TERRACE                                                                           KANSAS CITY     MO    64138
DOROTHY M BROWN                                 4575 OLD FRANKLIN TKPE                                                                           GLADE HILL      VA    24092‐3563
DOROTHY M BRUMMETT                              PO BOX 1325                                                                                      TRENTON         FL    32693‐1325
DOROTHY M BULL                                  17261 PROSPECT RT 1                                                                              BELTON          MO    64012‐2855
DOROTHY M BUNTING                               399 SOUTH BROADWAY                                                                               PENNSVILLE      NJ    08070‐2628
DOROTHY M BUSCH                                 4260 INTREPID DRIVE                                                                              CINCINNATI      OH    45252‐1935
DOROTHY M BYE                                   5003 RIDGE RD                                                                                    LOCKPORT        NY    14094‐8948
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DOROTHY M CALL TR DOROTHY M CALL TRUST UA    1211 N HOLLISTER RD                                                                                   OVID               MI    48866‐9618
04/01/96
DOROTHY M CALLAHAN                           12117 CORLETT AVE                                                                                     CLEVELAND          OH    44105‐2809
DOROTHY M CALLAHAN & GLADYS FAE CALLAHAN JT  12117 CORLETT AVE                                                                                     CLEVELAND          OH    44105‐2809
TEN
DOROTHY M CARMAN                             27310 FORT MEIGS RD                                                                                   PERRYSBURG         OH    43551‐1232
DOROTHY M CARMONA & CARLOS CARMONA SR JT TEN 3021 CAMARENA PL                                                                                      EL PASO            TX    79936‐0837

DOROTHY M CARUANA                                19 RACHAEL CT                                                                                     BUFFALO            NY    14228‐1887
DOROTHY M CARVALHO                               6467 MARGUERETTE DR                                                                               NEWARK             CA    94560‐4709
DOROTHY M CAVLOVIC & TIM A CAVLOVIC JT TEN       6837 VERDE DRIVE                                                                                  KANSAS CITY        KS    66109‐2603
DOROTHY M CHRISS                                 13531 TOWERING OAKS                                                                               SHELBY TWP         MI    48315‐1329
DOROTHY M CLAPP                                  1014 E GRAND RIVER                       405                                                      BRIGHTON           MI    48116
DOROTHY M COLE                                   13 HAGGERTY RD                                                                                    POTSDAM            NY    13676‐3203
DOROTHY M COLE                                   RFD #9B RACQUETTE RD                                                                              HOGANSBURG         NY    13655
DOROTHY M COLEMAN                                3362 E HEMPHILL ROAD                                                                              BURTON             MI    48529‐1433
DOROTHY M COLEMAN                                4392 N JENNINGS RD                                                                                FLINT              MI    48504‐1306
DOROTHY M COLLIER                                1220 DULU DR                                                                                      ELWOOD             IN    46024
DOROTHY M COLLINS & LEON COLLINS JT TEN          5471 PIONEER BL                                                                                   WHITTIER           CA    90601‐2155
DOROTHY M COLMERY                                3210 TWIN SILO DRIVE                                                                              BLUE BELL          PA    19422‐3284
DOROTHY M CONCEISON                              7 ANDREWS STREET                                                                                  NORTH EASTON       MA    02356‐1404
DOROTHY M CONROY                                 3185 WESTON ST                                                                                    PHILADELPHIA       PA    19136‐1811
DOROTHY M COOK                                   4402 W KENWOOD CT                                                                                 GRANBURY           TX    76048
DOROTHY M CURRY                                  1632 COURTER ST                                                                                   DAYTON             OH    45427‐3215
DOROTHY M DAHL                                   15050 PINE VALLEY TRL                                                                             CLEVELAND          OH    44130‐5525
DOROTHY M DAVIS                                  21 TALON DR                                                                                       SCHENECTADY        NY    12309‐1840
DOROTHY M DAVIS                                  27 OLD SPRING LN                                                                                  BUFFALO            NY    14221‐2107
DOROTHY M DAVIS CUST ROBERTA LYNN DAVIS UGMA     5537 GLADE HOLLOW CT                                                                              AGOURA             CA    91301‐1527
CA
DOROTHY M DAVISON                                128 WEST END AVE                                                                                  BINGHAMTON         NY    13905‐3815
DOROTHY M DAWSON                                 25 E HOWARD                                                                                       PONTIAC            MI    48342‐1435
DOROTHY M DEAR                                   44980 LIGHTSWAY DR                                                                                NOVI               MI    48375‐3820
DOROTHY M DEDIMINCANTANIO                        174 CONKLINTOWN RD                                                                                RINGWOOD           NJ    07456‐2417
DOROTHY M DEGNAN                                 4857 WATERFORD PL                                                                                 LOCKPORT           NY    14094‐3463
DOROTHY M DEL NEGRO                              22415 LAWSON RD                                                                                   GEORGETOWN         DE    19947‐6641
DOROTHY M DICKOVER                               2805 S 125TH ST APT 118                                                                           SEATTLE            WA    98168‐2483
DOROTHY M DOBIAS                                 1319 OGDEN                                                                                        WESTERN SPRINGS    IL    60558‐1027

DOROTHY M DONNELLY                               567 MICHIGAN AVE                                                                                  BRICK              NJ    08724
DOROTHY M DORSCH                                 4864 N WOODBURN ST                                                                                WHITEFISH BAY      WI    53217‐6063
DOROTHY M DRUSSEL & HARRY T DRUSSEL JT TEN       207 SPRINGHILL DR                                                                                 WHITE LAKE         MI    48386‐1974
DOROTHY M DUBEAU & LINDA M KULHANEK JT TEN       1370 AVALON                                                                                       SAGINAW            MI    48603‐4730

DOROTHY M EARLES                                 1122 E GANO                                                                                       KOKOMO             IN    46901‐1632
DOROTHY M EDWARDS                                6905 VERNON                                                                                       DEARBORN HGTS      MI    48127‐2227
DOROTHY M ELLISON                                36300 DEQUINDRE APT 623                                                                           STERLING HEIGHTS   MI    48310‐4249

DOROTHY M ENGEL                                  464 S BALDWIN RD                                                                                  OXFORD             MI    48371‐4108
DOROTHY M F SMITH                                990 SHOOK COVE ROAD                                                                               TUCKASEGEE         NC    28783
DOROTHY M FALKINBURG                             3824 WYDRILLA CT                                                                                  PORT SAINT LUCIE   FL    34952‐3153
DOROTHY M FIELDER                                2622 CHAPEL DR E                                                                                  SAGINAW            MI    48603‐2803
DOROTHY M FILLINGHAM                             PO BOX 446                                                                                        GRAND LEDGE        MI    48837‐0446
DOROTHY M FINDLEY                                1240 TOBIAS RD                                                                                    CLIO               MI    48420
DOROTHY M FISHER & RUSSELL M FISHER JT TEN       6751 WILLOW HIGHWAY                                                                               GRAND LEDGE        MI    48837‐8974
DOROTHY M FITZER CUST CHARLES J FITZER UTMA NY   2933 BEECHWOOD BLVD                                                                               PITTSBURGH         PA    15217‐3116

DOROTHY M FLETCHER                               1200 WRIGHT AVE                                                                                   ALMA               MI    48801‐1133
DOROTHY M FOURNIER MENCHACA                      16520 MARTINEZ LOSOYA RD                                                                          SAN ANTONIO        TX    78221‐5100
DOROTHY M FOWLER                                 2127 6TH AVE                                                                                      FORT WORTH         TX    76110‐1805
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DOROTHY M FREEMAN                                 1950 LOTUS AVE SE                                                                                 GRAND RAPIDS     MI    49506‐4410
DOROTHY M GARZIA TR DOROTHY M GARZIA              515 WESTVIEW CT                                                                                   WEST GROVE       PA    19390‐2105
REVOVABLE TRUST UA 06/28/06
DOROTHY M GASAWAY                                 2347 W KING ST                                                                                    KOKOMO           IN    46901‐5081
DOROTHY M GAYDOS                                  28 MARY ELLEN STREET                                                                              MONONGAHELA      PA    15063‐3716
DOROTHY M GEDDES                                  C/O DOROTHY M ARMSTRONG               2433 TYLER LN                                               DEER PARK        TX    77536‐4825
DOROTHY M GEORGE                                  19 ROBIN RD                                                                                       WESTBOROUGH      MA    01581‐1217
DOROTHY M GESFORD & ALAN L GESFORD JT TEN         60 S 36TH ST                                                                                      CAMP HILL        PA    17011
DOROTHY M GETZ CUST DANIEL P HALLMAN UTMA OH      445 FOREST AVE                                                                                    DAYTON           OH    45405‐4439

DOROTHY M GIDCUMB & KAREN S KRENKE JT TEN         5601 HATCHERY RD                      STE PAV                                                     WATERFORD        MI    48329‐3456
DOROTHY M GIFFORD & WILLIAM F GIFFORD SR JT TEN   2039 OLD CHURCH ROAD                                                                              MECHANICSVILLE   VA    23111‐6035

DOROTHY M GILSTRAP                                81 JYNTEEWOOD DR                                                                                  CANYON           TX    79015‐1703
DOROTHY M GOHL                                    1158 PARKSIDE CIR                                                                                 GRAND BLANC      MI    48439‐8052
DOROTHY M GOLDEN                                  4442 ALDER DR                                                                                     FLINT            MI    48506‐1462
DOROTHY M GORSE                                   2753 DARTMOOR DRIVE N E                                                                           WARREN           OH    44483‐4307
DOROTHY M GRACEY & WILLIAM H GRACEY SR JT TEN     9130 EVERTS ST                                                                                    DETROIT          MI    48224‐1917

DOROTHY M GRACEY & WILLIAM H GRACEY SR JT TEN     9130 EVERTS                                                                                       DETROIT          MI    48224‐1917

DOROTHY M GROSSMAN & SHARON RACHEL             7 NAFTALI ST                             BET SHEMESH                            ISRAEL
GROSSMAN JT TEN
DOROTHY M HAGENS                               320 LUTZ DRIVE                                                                                       UNION            OH    45322‐3333
DOROTHY M HANSMEYER                            PO BOX 1413                                                                                          DOLAN SPRINGS    AZ    86441‐1413
DOROTHY M HANVILLE                             127 STONYRIDGE DR #209                                                                               SANDUSKY         OH    44870‐6611
DOROTHY M HARRIS                               PO BOX 81322                                                                                         ATLANTA          GA    30366‐1322
DOROTHY M HAUBER                               391 HUCKLEBERRY LANE                                                                                 HARLEYSVILLE     PA    19438‐2334
DOROTHY M HAZARD & PHILLIP F HAZARD JT TEN     21976 PARVIN DR                                                                                      SAUGUS           CA    91350‐3007
DOROTHY M HEIMARK                              7018 ASHWOOD LANE                                                                                    WIND LAKE        WI    53185‐2169
DOROTHY M HELLER                               C/O DOLORES M TURNER                     134 N PARDEE ST                                             WADSWORTH        OH    44281‐1538
DOROTHY M HENSEL                               13390 TUSCOLA RD                                                                                     CLIO             MI    48420‐1870
DOROTHY M HERING                               16623 ROOSEVELT HY                                                                                   KENDALL          NY    14476‐9629
DOROTHY M HITCHINGS                            1369 STANWOOD N W                                                                                    GRAND RAPIDS     MI    49544‐7606
DOROTHY M HOLDERBAUM                           2503 ST RT 60                                                                                        LOUDONVILLE      OH    44842‐9671
DOROTHY M HOUCK & BETH H RICCARDO JT TEN       1427 W CARDINAL DR                                                                                   LOCK HAVEN       PA    17745‐8812
DOROTHY M HOVANEC                              9498 GENESEE ST                          PO BOX 45                                                   NEW LOTHROP      MI    48460‐0045
DOROTHY M HOVER & DOROTHY C HOVER WHEELER JT 45 BROWNING HILL RD                                                                                    CHATHAM          NY    12037‐1700
TEN
DOROTHY M HOVER TOD RICHARD L HOVER SUBJECT TO 45 BROWNING HILL                                                                                     CHATHAM          NY    12037‐1700
STA TOD RULES
DOROTHY M HUGHES                               19988 OAK LEAF CIR                                                                                   CORNELIUS        NC    28031‐9632
DOROTHY M HUGHES                               1717 WHITE POND LN                                                                                   WAXHAW           NC    28173‐8371
DOROTHY M HUTCHINGS                            64 FLOWER DALE DR                                                                                    ROCHESTER        NY    14626‐1659
DOROTHY M HUTZ                                 1112 WASHINGTON ST                                                                                   FARRELL          PA    16121‐1874
DOROTHY M HYDE                                 APT B                                    42 MANOR PKWY                                               ROCHESTER        NY    14620‐2606
DOROTHY M KACZMAREK & DONNA JEAN KACZMAREK 4203 W 48TH ST                                                                                           CLEVELAND        OH    44144‐1933
JT TEN
DOROTHY M KACZMAREK & DONNA JEAN KACZMAREK 4203 W 48TH ST                                                                                           CLEVELAND        OH    44144‐1933
JT TEN
DOROTHY M KELLEY & JUDITH K BROWN JT TEN       PITMAN NEWS 4103                         455 LOCUST AVE                                              PITMAN           NJ    08071‐1266
DOROTHY M KELLEY & LARRY R HUNTER JT TEN       9854 VIOLET CIRCLE                                                                                   NAVARRE          FL    32566‐3334
DOROTHY M KELLY                                11944 SUTFIN RD                                                                                      HORTON           MI    49246‐9717
DOROTHY M KELM & BERNARD EDWARD KELM JT TEN 7999 OUTING AVENUE                                                                                      PASADENA         MD    21122‐1416

DOROTHY M KNIGHT                                  1532 SHELLEY DR                                                                                   DAYTON           OH    45406‐4242
DOROTHY M KOLICH                                  8131 NW STODDARD                                                                                  KANSAS CITY      MO    64152
DOROTHY M KOSINSKI                                15330 SUNWOOD BLVD                    APT E101                                                    TUKWILA          WA    98188
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DOROTHY M KREGER & GARY KREGER & BARRY KREGER 30117 VINEYARD RD                                                                               WILLOWICK       OH    44095
JT TEN
DOROTHY M KRESSE                                13484 TALL PINES LANE                                                                         PLAINFIELD      IL    60544‐7479
DOROTHY M KURTZ                                 2540 SAYBROOK RD                                                                              UNIVERSITY HT   OH    44118‐4704
DOROTHY M LARK                                  6329 E RAYMOND STREET                                                                         INDIANAPOLIS    IN    46203
DOROTHY M LEE & WILLIAM J LEE JT TEN            171 TILLSON                                                                                   ROMEO           MI    48065‐5154
DOROTHY M LIPTAK                                6856 DAY DR                                                                                   PARMA           OH    44129‐5439
DOROTHY M LITTS                                 985 E CALIFORNIA BLVD                UNIT 106                                                 PASADENA        CA    91106‐4030
DOROTHY M LOTT TR UNDER DECLARATION OF TRUST 673 CEDAR LANE                                                                                   LADY LAKE       FL    32159‐3215
01/21/93
DOROTHY M LYON TOD STEWART LYON SUBJECT TO STA 3637 S MARLBOROUGH DRIVE                                                                       TUCKER          GA    30084‐8314
TOD RULES
DOROTHY M LYONS                                 61 SKIMHAMPTON RD                                                                             EAST HAMPTON    NY    11937‐2650
DOROTHY M MACDERMAID                            1280 TAURUS CIR                                                                               LAFAYETTE       CO    80026‐1118
DOROTHY M MANKER                                5097 CRESCENT RIDGE DR                                                                        CLAYTON         OH    45315‐9676
DOROTHY M MASON TR DOROTHY M MASON TRUST UA 72 SPENCER ST                                                                                     BELLEVILLE      MI    48111
03/17/97
DOROTHY M MC LEAN                               31308 JAY DR                                                                                  WARREN          MI    48093‐1746
DOROTHY M MCMURRAY                              2948 ST RT 35 EAST                                                                            W ALEXANDRIA    OH    45381‐9305
DOROTHY M MELUCH                                6034 MERCER DR                                                                                BROOK PARK      OH    44142‐3036
DOROTHY M MITAS                                 5601 FERGUS RD                                                                                ST CHARLES      MI    48655‐9694
DOROTHY M MOORE                                 2347 EAST RIVER RD                                                                            MORAINE         OH    45439‐1527
DOROTHY M MOORE                                 11701 MAYFAIR FIELD DR                                                                        TIMONIUM        MD    21093‐7011
DOROTHY M MYERS                                 8337 DUFFIELD RD                                                                              GAINES          MI    48436‐9794
DOROTHY M NETTLE CUST PHILIP JAMES NETTLE UNDER 47 TURNSTONE DR                                                                               SAFETY HARBOR   FL    34695‐5329
FL U‐T‐M‐A
DOROTHY M NETTLE CUST SARA E NETTLE UGMA FL     47 TURNSTONE DR                                                                               SAFETY HARBOR   FL    34695‐5329

DOROTHY M NUTLOUIS                            780E E BEVERLY AVENUE                                                                           PONTIAC          MI   48340‐2913
DOROTHY M OAKES                               460 RT 9D                                                                                       WAPPINGERS FALLS NY   12590‐3949

DOROTHY M OTTO                               4 WHIPOORWILL HILL RD                                                                            NEWTOWN         CT    06470‐1524
DOROTHY M PANDORF                            3026 ARBORCREEK DR                                                                               CINCINNATI      OH    45242‐6357
DOROTHY M PARKER                             956 E CALLE ARAGON                                                                               LAGUNA WOODS    CA    92637‐3460
DOROTHY M PARKS                              4250 STONE RD                                                                                    ONONDAGA        MI    49264‐9738
DOROTHY M PECK                               9608 WINDY HILL RD                                                                               DALLAS          TX    75238‐3351
DOROTHY M PERKINS TR UA 02/22/94 DOROTHY M   2539 LAKE AVE                                                                                    WILMETTE        IL    60091‐1211
PERKINS TRUST
DOROTHY M PRACHT                             4508 SARATOGA                                                                                    DOWNERS GROVE   IL    60515‐2754
DOROTHY M PUTNAM                             500 LUNALILO HOME RD                    APT 25J                                                  HONOLULU        HI    96825‐1738
DOROTHY M QUINN                              709 BERRY ST                                                                                     MARTINSBURG     WV    25401
DOROTHY M RAMEY                              2236 BINGHAM AVE                                                                                 KETTERING       OH    45420‐3719
DOROTHY M RATHBURN                           7256 NICHOLS RD BOX 36                                                                           FLUSHING        MI    48433‐9273
DOROTHY M REDO                               1123 SANTA YNEZ AVE                                                                              HENDERSON       NV    89002‐9041
DOROTHY M REPIHA                             26 S OAK STREET                                                                                  WESTMONT        IL    60559‐1819
DOROTHY M REYNOLDS                           222 KELLY ST                                                                                     WELLINGTON      OH    44090‐1262
DOROTHY M ROBERSON                           5631 SAVINA AVE                                                                                  DAYTON          OH    45415‐1155
DOROTHY M SCHOENFELDT                        13518 ANN'S CHOICE WAY                                                                           WARMINSTER      PA    18974
DOROTHY M SCHRADER                           10004 WHIDBEY LANE                                                                               BURKE           VA    22015‐3842
DOROTHY M SCOTT                              20141 CRATER CIR                                                                                 HUNTINGTN BCH   CA    92646‐4819
DOROTHY M SHIPLEY                            1000 EL CENTRO #305                                                                              S PASADENA      CA    91030‐3064
DOROTHY M SMITH                              BOX NO 47                                                                                        CANNONSBURG     MI    49317
DOROTHY M SMITH                              1272 PILGRIM PL                                                                                  DAYTONA BEACH   FL    32119‐1565
DOROTHY M SMITHA                             3008 S SHAWNEE DR APT 122                                                                        BEDFORD         IN    47421‐5280
DOROTHY M SMYRSKI & LAWRENCE ANTHONY SMYRSKI 4140 DUPLEX                                                                                      LINCOLN PARK    MI    48146‐4059
JT TEN
DOROTHY M SONGER                             4707 W 25TH ST                                                                                   ANDERSON        IN    46011
DOROTHY M SPENCER & LISA KELLEY JT TEN       R R #1 BOX 8                                                                                     GOSPORT         IN    47433‐8100
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DOROTHY M SPENCER TR SPENCER FAM TRUST UA     511 MULBERRY ROAD                                                                               BELLINGHAM       WA    98225‐7904
05/10/96
DOROTHY M STODDARD                            143 COLD BROOK RD                                                                               HOMER            NY    13077‐8752
DOROTHY M STODDARD & JO ANN M STODDARD JT TEN 143 COLD BROOK RD                                                                               HOMER            NY    13077‐8752

DOROTHY M STUBER                              373 LAKEWOOD PKWY                                                                               SNYDER           NY    14226‐4008
DOROTHY M STUEBBEN                            702 ANN ST                                                                                      PLYMOUTH         MI    48170‐1261
DOROTHY M TACZAK                              2743 LIVINGSTON AVE                                                                             NIAGARA FALLS    NY    14303‐2019
DOROTHY M TAGGART                             C/O DOROTHY M T TANIS                  25711 IMPATIENS CT                                       BONITA SPRINGS   FL    34135‐9415
DOROTHY M THOMAS                              1620 WESTERN LILY ST                                                                            LAS VEGAS        NV    89128‐7325
DOROTHY M THOMAS                              704 SUN CT                                                                                      RAYMORE          MO    64083‐9038
DOROTHY M THOMAS                              114 MOTON DRIVE                                                                                 SAGINAW          MI    48601‐1464
DOROTHY M THOMPSON                            C/O TEETS                              8075 CASTLEWARD DR                                       DAVISON          MI    48423
DOROTHY M THORP                               7 PHEASANT RUN DRIVE                   SHIPLEY FARMS                                            WILMINGTON       DE    19810‐3322
DOROTHY M TOOLE                               PO BOX 34564                                                                                    BETHESDA         MD    20827‐0564
DOROTHY M TRAVIS                              37462 GIAVON ST                                                                                 PALMDALE         CA    93552‐4701
DOROTHY M ULRICH                              3506 SANDY BEACH RD                                                                             GRAND ISLAND     NY    14072‐1030
DOROTHY M VERBAL                              15135 E MUSTANG DR                                                                              FOUNTAIN HLS     AZ    85268‐4835
DOROTHY M WALLACE TR DOROTHY M WALLACE LIVING PO BOX 465                                                                                      COVENTRY         RI    02816‐0008
TRUST UA 12/08/95
DOROTHY M WALTON & THOMAS W WALTON &          5302 W 89TH ST                                                                                  OAK LAWN         IL    60453‐1257
KENNETH L WALTON JT TEN
DOROTHY M WASHINGTON                          5535 HAVERHILL                                                                                  DETROIT          MI    48224‐3244
DOROTHY M WASZAK                              30292 MADISON AVE                                                                               WARREN           MI    48093‐9005
DOROTHY M WEBBER                              1509 CASINO CIRCLE                                                                              SILVER SPRING    MD    20906‐5910
DOROTHY M WEIDMAN                             2503 DAKOTA TRAIL                                                                               FERN PARK        FL    32730‐3003
DOROTHY M WENDELL                             421 BANCROFT                           APT 308                                                  IMLAY CITY       MI    48444‐1179
DOROTHY M WESSELER & FOREST WESSELER JT TEN   8376 CORRISON RD                                                                                GRAND LEDGE      MI    48837‐8215

DOROTHY M WESTBERG                             402 WILLINGTON PL                                                                              LOUDON           TN    37774
DOROTHY M WHITESELL                            C/O CHERYL WHITE                      1100 WOODLAND AVE                                        SPRINGFIELD      IL    62704‐2860
DOROTHY M WILLIAMS                             1419 BUTLER AVE                                                                                NEW CASTLE       PA    16101
DOROTHY M ZABLOTNY                             102 MOORE AVE                                                                                  BUFFALO          NY    14223‐1553
DOROTHY M ZARYCKYJ                             339 GREEN LANE                                                                                 TRENTON          NJ    08638‐1717
DOROTHY MACLEAN                                1886 BRENTWOOD                                                                                 TROY             MI    48098‐2622
DOROTHY MAE ANDERSON                           C/O DOROTHY M MANNING                 4216 BRYANT AVENUE S                                     MINNEAPOLIS      MN    55409‐1707
DOROTHY MAE PAYLOR                             6104 HILTON LANE                                                                               MOUNT MORRIS     MI    48458‐2632
DOROTHY MAE RICHARDSON                         536 HALL ST SW                                                                                 GRAND RAPIDS     MI    49503
DOROTHY MAE SCOTT                              18281 SUNDERLAND RD                                                                            DETROIT          MI    48219‐2814
DOROTHY MAE STANGE                             10131 THWING RD                                                                                CHARDON          OH    44024‐9787
DOROTHY MAE STREM                              2333 S 33RD ST                                                                                 MILWAUKEE        WI    53215‐2803
DOROTHY MAH DUPUIS CUST KIMBERLY DUPUIS UGMA   12 PEARY AVENUE                                                                                LYNN             MA    01904‐1950
MA
DOROTHY MANGUM                                 2703 FERRY PK                                                                                  DETROIT          MI    48208‐1119
DOROTHY MARBURY                                19701 WESTMORELAND                                                                             DETROIT          MI    48219‐2144
DOROTHY MARIE DAVIS & ANN MARIE DAVIS JT TEN   55‐37 GLADEHOLLOW CT                                                                           AGOURA           CA    91301‐1527

DOROTHY MARIE NEMCHEK                          1360 S LYNDELL DR                                                                              KISSIMMEE       FL     34741‐2108
DOROTHY MARIE SWINT                            2295 ANDERSON RD                                                                               SAGINAW         MI     48603‐3821
DOROTHY MARIE WHITE                            1620 HORLACHER AVENUE                                                                          KETTERING       OH     45420‐3235
DOROTHY MARRAPODI & FRANK MARRAPODI & LINDA 115 GLENGARIFF RD                                                                                 MASSAPEQUA PARK NY     11762‐3145
FREEDMAN JT TEN
DOROTHY MARTIN                                 1431 DESOTO AVE                                                                                YPSILANTI        MI    48198‐6259
DOROTHY MARTIN MILES                           2922 MEADOWBROOK DR                                                                            AUGUSTA          GA    30906‐4452
DOROTHY MARY FLAHERTY                          2825 MEISTER RD                                                                                LORAIN           OH    44053‐1124
DOROTHY MATSUDA POKIPALA & DAVID VAIL POKIPALA 18826 S ROCHELLE AVE                                                                           CERRITOS         CA    90703‐6013
JR JT TEN
DOROTHY MAXINE PETTEY                          2901 HENRY                                                                                     FLINT            MI    48506‐2431
DOROTHY MAY DZIOBAK                            9432 BAYWOOD DR                                                                                PLYMOUTH         MI    48170‐3918
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DOROTHY MAY JURD                                9042 LUEA LN                                                                                     SWARTZ CREEK    MI    48473‐1082
DOROTHY MAY KIEFER                              1644 GROUPER                                                                                     ST CLOUD        FL    34771‐9734
DOROTHY MAY LUSTICK & NANCY ANN DEBAAR JT TEN   1000 AIRFIELD LANE                                                                               MIDLAND         MI    48642

DOROTHY MAY RUCKMAN                             360 APPLETON ROAD                                                                                ELKTON          MD    21921‐5032
DOROTHY MAY WALTER TR UA 12/19/89 THE DOROTHY   C/O JOHN WALTER                        2257 US HWY 59                                            SHENANDOAH      IA    51601‐4055
MAY WALTER FUNNEL TRUST
DOROTHY MAY WOODWORTH                           5080 ELMCROFT CT                                                                                 CLARENCE        NY    14031‐1614
DOROTHY MC DONALD                               717 ROBERT AVE                                                                                   FERGUSON        MO    63135‐2113
DOROTHY MC FARLAND DIXON                        905 DOGWOOD CIRCLE                                                                               ELIZABETHTOWN   KY    42701‐2113
DOROTHY MCCLAIN ARMSTRONG                       4691 W STATE ROAD 38                                                                             NEW CASTLE      IN    47362‐9161
DOROTHY MCCULLON                                28 E HAZARD ST                                                                                   SUMMIT HILL     PA    18250
DOROTHY MEIER ZINSER                            6418 GRAYHAWK DR                                                                                 PACIFIC         MO    63069‐4800
DOROTHY MERREY                                  1554 QUANTE ROAD                                                                                 JACKSONVILLE    FL    32211‐5175
DOROTHY MILDRED SMITH                           525 MAC DONALD AVE                                                                               FLINT           MI    48507‐2749
DOROTHY MILLER TR UNDER AGREEMENT 12/20/90      5100 W FARRAND RD                                                                                CLIO            MI    48420‐8251
DOROTHY MILLER TRUST
DOROTHY MOLNER                                  14701 DETROIT AVE                      STE 700                                                   LAKEWOOD        OH    44107‐4182
DOROTHY MONTANO                                 1576 PARK GATE DR                                                                                KISSIMMEE       FL    34746
DOROTHY MONTULLI                                172 WILLOWBEND RD                                                                                ROCHESTER       NY    14618‐4049
DOROTHY MORGAN RAMSAY                           13 NEALLEY ST                                                                                    SOUTH BERWICK   ME    03908‐1324
DOROTHY MORONGELL PALLA                         101 GREENWOOD DR                                                                                 HAGERSTOWN      MD    21740‐6729
DOROTHY MOSLEY                                  6346 DEVEREAUX                                                                                   DETROIT         MI    48210‐2310
DOROTHY MOSTY LANDERS                           1409 MARY LEE LANE                                                                               LONGVIEW        TX    75601‐4155
DOROTHY MULLIGAN                                225 S ROHLWING                                                                                   PALATINE        IL    60067‐6441
DOROTHY MUSTARD                                 112 PERKINS ST                                                                                   JAMAICA PLAIN   MA    02130‐4303
DOROTHY N A TRAVASSOS                           9838 E DIAMOND DR                                                                                SUN LAKES       AZ    85248‐6234
DOROTHY N CARY & ROBERTA C FABRIZIO JT TEN      PO BOX 8                                                                                         GWYNN           VA    23066‐0008
DOROTHY N ELWELL                                31 SENTRY LANE                                                                                   NEWARK          DE    19711‐6957
DOROTHY N GOODLEY TR DOROTHY N GOODLEY TRUST    C/O LINNEA G STRAUBINGER               2259 SOUTH HOYT COURT                                     LAKEWOOD        CO    80227‐2215
UA 03/06/96
DOROTHY N JENKINS                               BOX 488                                                                                          LIVELY          VA    22507‐0488
DOROTHY N KIRKLAND                              PO BOX 416                                                                                       BLACKVILLE      SC    29817‐0416
DOROTHY N MANZER                                210 RUMSON RD                                                                                    ROCHESTER       NY    14616‐1307
DOROTHY N NOVAK                                 91 FOREST ST                                                                                     KEARNY          NJ    07032‐3335
DOROTHY N YARBROUGH                             ATT D HARTSFIELD                       3300 E CHEROKEE DR APT D1                                 FAYETTEVILLE    AR    72701‐2823
DOROTHY O AMICO & VINCENT J AMICO JT TEN        12 SHUTER ST                                                                                     LYONS           NY    14489
DOROTHY O BECK                                  129 CIRCLE DR                                                                                    SPRINGFIELD     IL    62703‐4862
DOROTHY O MENSING                               340 W HILLMOOR LN                                                                                BEVERLY HILLS   FL    34465‐4782
DOROTHY O OPILLA                                311 SUNNYSIDE TERRACE                                                                            BRIDGEWATER     NJ    08807‐3034
DOROTHY O RYAN                                  34 SORRENTO BLVD                                                                                 HANAHAN         SC    29406‐8646
DOROTHY O SAUNDERS                              BOX 32                                                                                           PINEHURST       NC    28370‐0032
DOROTHY O STETZ                                 1209 HIGHGATE ROAD                     SHERWOOD PARK II                                          WILMINGTON      DE    19808‐2113
DOROTHY O WILLEMSEN                             224 ERTEN ST                                                                                     THOUSAND OAKS   CA    91360‐1811
DOROTHY OATWAY                                  1275 RICHMOND RD                       APT 211                     OTTAWA ON   K2B 8E3 CANADA
DOROTHY OLLERTON TR DOROTHY OLLERTON REV LVG    2106 ARLINGTON AVE                                                                               FLINT           MI    48506‐3610
TRUST UA 3/25/98
DOROTHY OPACKI                                  1017 HOVEY ST                                                                                    GRAND RAPIDS    MI    49504‐6154
DOROTHY ORSOLINI & ALEXANDER ORSOLINI JT TEN    1032 FIELDSTONE DR                                                                               MARCO ISLAND    FL    34145‐5412

DOROTHY OSBORNE                                 2446 MARTHA ST                                                                                   WICHITA         KS    67203‐5657
DOROTHY P ALEXANDER TR UA 12/07/88 DOROTHY P    6241 WARNER AVE                        SPACE 134                                                 HUNTINGTON      CA    92647‐8012
ALEXANDER TRUST                                                                                                                                  BEACH
DOROTHY P BOZEK & ELAINE R KRAATZ & JANICE S    15821 19 MILE RD                       APT 204                                                   CLINTON TWP     MI    48038‐6322
SKINNER JT TEN
DOROTHY P BYRD                                  5066 SKEETER POND RD                                                                             GRIFTON         NC    28530‐8345
DOROTHY P COBB                                  ATTN DOROTHY P C KISSELL               1383 HICKORY HILL RD                                      CHADDS FORD     PA    19317‐9367
DOROTHY P COPP                                  3134 HUNT RD                                                                                     ACWORTH         GA    30102
DOROTHY P COX                                   9860 ATCHISON RD                                                                                 DAYTON          OH    45458‐9206
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DOROTHY P CUMMINGS                              5 REGENT CIR                                                                                  BRICK             NJ    08723‐7172
DOROTHY P DENNIS & JANE M DEBEAR & SHEILA E     2645 WATKINS LAKE RD                                                                          WATERFORD         MI    48328‐1912
SIMONS JT TEN
DOROTHY P KERIG                                 23521 MARSALA                                                                                 LAGUNA HILLS      CA    92653‐1847
DOROTHY P KLEPINGER ORPORT                      106 LAWRENCE                                                                                  PERU              IN    46970‐1302
DOROTHY P MARTIN                                600 NORTHWOOD ROAD                                                                            WASHINGTON        NC    27889‐3253
DOROTHY P MELUCK                                6034 MERCER DRIVE                                                                             CLEVELAND         OH    44142‐3036
DOROTHY P MERKEL                                3781 LAKE AVE D2                                                                              ROCHESTER         NY    14612‐5178
DOROTHY P PICKENS                               2404 VININGS OAKS CT SE                                                                       SMYRNA            GA    30082‐4610
DOROTHY P POTTER                                9205 COLEMAN RD                                                                               BARKER            NY    14012‐9678
DOROTHY P RINALDO                               725 BERDAN AVE                                                                                WAYNE             NJ    07470‐2028
DOROTHY P SPOTZ TR DOROTHY P SPOTZ REV TRUST UA 2131 KINGSBOROUGH DR                                                                          PAINESVILLE       OH    44077‐1548
04/02/96
DOROTHY P TUDOR                                 694 ACACIA STREET                                                                             SHAFTER           CA    93263‐1804
DOROTHY P WIENECKE                              34 NEVINWOOD PL                                                                               HUNTINGTON        NY    11746‐3528
                                                                                                                                              STATION
DOROTHY PAONE                                    10 BUGLE COURT                                                                               TOMS RIVER        NJ    08757‐5657
DOROTHY PARTIN & KELLY JEAN GARDY JT TEN         3337 FIELD RD                                                                                CLIO              MI    48420‐1161
DOROTHY PATRICIA HAMILTON                        7 FOXFIRE LANE                                                                               WESTPORT          CT    06880‐4300
DOROTHY PATRICIA MARTINO                         8 FAIRLAWN ST                                                                                FARMINGTON        CT    06032‐3103
DOROTHY PATRICK                                  28944 HUBBARD STREET                LOT 117                                                  LEESBURG          FL    34748‐8900
DOROTHY PEIFER                                   1536 BOONE AVE NO                                                                            MINNEAPOLIS       MN    55427‐3809
DOROTHY PELLER                                   C/O DOROTHY COLBY                   302 71ST ST                                              GUTTENBERG        NJ    07093‐2420
DOROTHY PERKINS                                  4241 MANDALAY RD                                                                             ROYAL OAK         MI    48073‐1619
DOROTHY PETERSON SMITH                           PO BOX 70401                                                                                 ALBANY            GA    31708‐0401
DOROTHY PETRYK                                   46246 COUNTY ROAD 13                                                                         FORT COLLINS      CO    80524‐9100
DOROTHY PFAHLER MILLER                           430 ORCHARD RD                      5137                                                     NEWARK            DE    19711‐5137
DOROTHY PHYLLIS WAGNER                           225 SUMMER MEADOWS TRL                                                                       CAMPOBELLO        SC    29322‐9268
DOROTHY PISCHL & VALENTINE PISCHL & THOMAS       4616 W 100TH STREET                                                                          OAK LAWN          IL    60453‐4113
PISCHL JT TEN
DOROTHY POPOVICH & GEORGE J POPOVICH JT TEN      21349 ONETO DRIVE                                                                            SONORA            CA    95370‐8628

DOROTHY POPOVICH & GLORIA ANN WALKER JT TEN      C/O D P HOBBS                       21349 ONETO DR                                           SONORA            CA    95370‐8628

DOROTHY PRIZNER                                  7531 S LOGAN DR                                                                              LITTLETON        CO     80122‐2812
DOROTHY PURDY                                    HCR‐63                              DUNBAR HILL RD       BOX 634                             GRANTHAM         NH     03753‐0634
DOROTHY R ADAM                                   1304 CHESTNUT AVE                                                                            TRENTON          NJ     08611‐2016
DOROTHY R ANTHES                                 55 CHARLES PL                                                                                OLD TAPPAN       NJ     07675‐7268
DOROTHY R BADGLEY                                24324 CHAMPAIGN ST                                                                           TAYLOR           MI     48180‐2121
DOROTHY R BOOKER                                 1476 MCAFEE ST                      #8                                                       SAINT PAUL       MN     55106‐1435
DOROTHY R BURNETT                                15849 AMORE                                                                                  CLINTON TOWNSHIP MI     48038‐2508

DOROTHY R CARLSON                                6801 AVONIA RD                                                                               FAIRVIEW          PA    16415‐2424
DOROTHY R CARSON                                 1744 NW HORSESHOE LAKE CIR                                                                   ALBANY            OR    97321‐1462
DOROTHY R CENITE JR                              275 HWY 33                                                                                   MANALAPAN         NJ    07726‐8304
DOROTHY R CROOKER & WILLIAM C CROOKER & JILL J   180 OLD BERNARDSTON RD                                                                       NORTHFIELD        MA    01360
CROOKER JT TEN
DOROTHY R DALEY                                  3705 S GEORGE MASON DR 816‐S                                                                 FALLS CHURCH      VA    22041‐3744
DOROTHY R ELLIS                                  4334 W STREETSBORO RD               UNIT 1                                                   RICHFIELD         OH    44286‐9746
DOROTHY R ETZINGER                               4506 COLUMBUS AVE                                                                            SANDUSKY          OH    44870‐5812
DOROTHY R FITZGERALD                             CHANTICLEER APT 605                 55 HIGHLAND ROAD                                         BETHEL PARK       PA    15102‐1831
DOROTHY R GALOVICH                               25257 MONTEBELLO DR                                                                          TRENTON           MI    48183‐4325
DOROTHY R HEITJAN                                1268 WOODBRIDGE                                                                              ST CLAIR SHORES   MI    48080‐1621
DOROTHY R HOPPERSTAD                             331 E LAKE AVE                                                                               GLENVIEW          IL    60025‐2329
DOROTHY R HUMPHREY                               19974 SORRENTO ST                                                                            DETROIT           MI    48235‐1127
DOROTHY R KIRK                                   247 E MOUNT VERNON ST                                                                        OXFORD            PA    19363‐1460
DOROTHY R KOCH                                   170 N 7TH ST                                                                                 LEHIGHTON         PA    18235‐1202
DOROTHY R KOLAR                                  2930 CONSEAR ROAD                                                                            LAMBERTVILLE      MI    48144‐9659
                                           09-50026-mg                    Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DOROTHY R KUHN & JOHANN EDITH ALLISON JT TEN    29250 HERITAGE PKWY                      APT 30                                                   WARREN           MI    48092‐6357

DOROTHY R KUNZ                                  105 LAMARCK DR                                                                                    SNYDER           NY    14226‐4559
DOROTHY R LAMAR                                 21600 GREYDALE CT                                                                                 DETROIT          MI    48219‐1847
DOROTHY R MURPHY & JERALD E MURPHY JT TEN       25209 ORIENT CEMETERY ROAD                                                                        HARRISONVILLE    MO    64701‐1696
DOROTHY R ODOHERTY                              5522 ROBBINS DRIVE                                                                                RALEIGH          NC    27610
DOROTHY R OUTLING                               332 DEERFIELD AVENUE                                                                              BUFFALO          NY    14215‐2606
DOROTHY R PIDGURSKY & WALTER A PIDGURSKY JT TEN 114 HENDRIE AVE                                                                                   RIVERSIDE        CT    06878‐1931

DOROTHY R RUSSUM & ROBERT L RUSSUM JR JT TEN    704 N AGENCY RD                                                                                   RIDGELAND        MS    39157‐9422

DOROTHY R SCHIESL                               99 CAREFREE LANE                                                                                  CHEEKTOWAGA      NY    14227‐2220
DOROTHY R SEELYE TRUST U/T/A DTD 03‐05‐86       BOX 126                                                                                           RICHLAND         MI    49083‐0126
DOROTHY R SISSON                                13339 UNION CHURCH ROAD                                                                           SUMERDUCK        VA    22742‐1939
DOROTHY R SMERCINA                              5075 BRAINARD RD                                                                                  SOLON            OH    44139‐1101
DOROTHY R SMITH                                 4 S PARK AVE                                                                                      KANE             PA    16735‐1231
DOROTHY R STANLEY                               6810 ROSEMONT AVE                                                                                 DETROIT          MI    48228‐5405
DOROTHY R STEWART                               C/O DOROTHY M ROSSI                      5200 ARDEN WAY APT 184                                   CARMICHAEL       CA    95608‐6074
DOROTHY R SUTER TOD BARBARA L MUELLER SUBJECT   116 OAKWOOD DRIVE                                                                                 CINNAMINSON      NJ    08077‐2909
TO STA TOD RULES
DOROTHY R SUTER TOD DOROTHY M SEIFERT SUBJECT   116 OAKWOOD DRIVE                                                                                 CINNAMINSON      NJ    08077‐2909
TO STA TOD RULES
DOROTHY R SWITZER TR DOROTHY R SWITZER LIVING   BOX 862                                  7 WALKER RD                                              E ORLEAN         MA    02643‐0862
TRUST UA 07/21/95
DOROTHY R TERRY & WILLIS L TERRY JT TEN         418 ASH STREET                                                                                    ST MARYS         PA    15857‐1554
DOROTHY R VICKERMAN                             3100 S E PRUITT RD F301                                                                           PORT ST LUCIE    FL    34952‐5948
DOROTHY R VIRGIL                                15459 MONTEVISTA                                                                                  DETROIT          MI    48238‐1007
DOROTHY R WAMSLEY & ARLING N WAMSLEY JT TEN     PO BOX 89                                                                                         HUTTONSVILLE     WV    26273‐0089

DOROTHY R WARD                                  709 LOOP RD                                                                                       HENDERSONVILLE   NC    28792‐6643
DOROTHY R WILSON                                702 S 1ST ST POB 154                                                                              GUTTENBERG       IA    52052
DOROTHY RAWA & SHEILA M TOBIASSON JT TEN        33 TURNBERRY DR                                                                                   LINCROFT         NJ    07738‐1224
DOROTHY ROARK MOORE                             396 CEDAR CREST RD                                                                                NANCY            KY    42544‐4423
DOROTHY ROBB WERNER                             PO BOX 6124                                                                                       MARIANNA         FL    32447‐6124
DOROTHY ROBERTS                                 452 JEFFERSON AVE                                                                                 JERMYN           PA    18433‐1316
DOROTHY ROHR FARNSWORTH                         375 WALKER DR                                                                                     CANANDAIGUA      NY    14424
DOROTHY ROOS                                    111 N ASPEN CT #2                                                                                 WARREN           OH    44484‐1064
DOROTHY ROSE NAPIERALSKA                        91 LAURENTIAN                                                                                     CHEEKTOWAGA      NY    14225‐2755
DOROTHY ROSE SPRIGGS                            101 CAPITAL                                                                                       SAGINAW          MI    48604
DOROTHY ROSS                                    3801 WOODRIDGE BLVD APT C304                                                                      FAIRFIELD        OH    45014‐8901
DOROTHY ROSS                                    364 W PRINCETOWN                                                                                  YOUNGSTOWN       OH    44511‐2415
DOROTHY ROWENA VINCENT                          9200 SEYMOUR RD                                                                                   SWARTZ CREEK     MI    48473‐9161
DOROTHY RUSIGNUOLO                              7782 N CHATHAM CT                                                                                 INDIANAPOLIS     IN    46256‐3473
DOROTHY RYLE & DANIEL G RYLE JT TEN             40 HILL ST                                                                                        WHITELAND        IN    46184‐1559
DOROTHY S BAGWELL                               PO BOX 20                                                                                         BALL GROUND      GA    30107‐0020
DOROTHY S BARRETT                               1063 MCKINLEY RD                                                                                  FLUSHING         MI    48433‐9450
DOROTHY S BEACH TR DOROTHY S BEACH TRUST UA     1917 MONTANA DR                                                                                   SPRINGFIELD      IL    62704‐4150
06/07/99
DOROTHY S BOESCH                                16807 SEA WITCH LANE                                                                              HUNTINGTON       CA    92649‐3056
                                                                                                                                                  BEACH
DOROTHY S BROOKSBANK & JOSEPH H BROOKSBANK JT   50 LINDBERGH AVENUE                                                                               HOLYOKE          MA    01040‐1906
TEN
DOROTHY S BURTON                                #454                                     10 LONGWOOD DR                                           WESTWOOD         MA    02090‐1182
DOROTHY S CARN & TIMOTHY B CARN JT TEN          111 RUCKER DR                                                                                     ST MATTHEWS      SC    29135‐9706
DOROTHY S CLINE                                 2612 MALLARD CT                                                                                   COLUMBIA         MO    65201‐6242
DOROTHY S COMERFORD                             702 WILLOWRIDGE DRIVE                                                                             KOKOMO           IN    46901‐7043
DOROTHY S COPELAND                              2216 MCCLEARY JACOBY RD                                                                           CORTLAND         OH    44410‐9417
DOROTHY S DARVAS                                103 CHEROKEE TRAIL                                                                                BROWNS MILLS     NJ    08015‐6253
DOROTHY S DAVISON                               51 LEBRUN CT                                                                                      GALVESTON        TX    77551‐1565
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DOROTHY S ETCHISON & LEAH SUE WILHOITE JT TEN   1187 WEST 300 NORTH                                                                              ANDERSON        IN    46011‐9747

DOROTHY S FRADE                                 563 HIGH HILL RD                                                                                 N DARTMOUTH      MA   02747‐1342
DOROTHY S GOULD & MARC J GOULD TEN COM          354 S ARDEN BLVD                                                                                 LA               CA   90020‐4734
DOROTHY S GRAY                                  422 ENCHANTED DR                                                                                 ANDERSON         IN   46013‐1073
DOROTHY S GREEN                                 4519 BRISTOL VALLEY RD                  RT 3                                                     CANANDAIGUA      NY   14424‐9309
DOROTHY S GRIFFIN                               1310 WHITEHALL DR                                                                                MARION           SC   29571
DOROTHY S HAMILTON                              4160 W 173RD ST                                                                                  TORRANCE         CA   90504‐1006
DOROTHY S HARDWICK                              336 W 93RD ST                                                                                    SALEM            OH   44460
DOROTHY S HENDRIX                               1129 SWANNANOA DR                                                                                WEST COLUMBIA    SC   29170‐3147
DOROTHY S HOPKINS                               13620 BARDON RD                                                                                  PHOENIX          MD   21131‐1518
DOROTHY S HURST                                 7225 KENNEDY RD                                                                                  MUNITH           MI   49259‐9778
DOROTHY S JANNER                                5720 LONYO                                                                                       DETROIT          MI   48210‐1839
DOROTHY S JOSEPH                                1616 N DELPHOS                                                                                   KOKOMO           IN   46901‐2567
DOROTHY S KRAUS                                 801 SUTTER ST #607                                                                               SAN FRANCISCO    CA   94109
DOROTHY S MARINELLI                             13 MARIETTA LANE                                                                                 MERCERVILLE      NJ   08619‐2227
DOROTHY S MEYER                                 22 SALEM RD                                                                                      ROCKVILLE CENTRE NY   11570‐1842

DOROTHY S NELSON                                4630 FIRE PINK TRAIL TOWNHOUSE                                                                   CHATTANOOGA     TN    37415‐2085
DOROTHY S PORTER                                1023 PORTER RD                                                                                   DECATUR         GA    30032‐1756
DOROTHY S RAY                                   3303 CARRIE DR                                                                                   LOUISVILLE      KY    40216‐4805
DOROTHY S RIDGLEY                               39 LAMPLIGHTER LN                                                                                NEWINGTON       CT    06111‐5233
DOROTHY S ROTH CUST BRIAN ANTHONY ROTH UTMA     176 N RICHMOND AVE                                                                               MASSAPEQUA      NY    11758
NY
DOROTHY S SANFORD                               7452 MERGANSER DR                                                                                INDIANAPOLIS    IN    46260‐3255
DOROTHY S SUGRUE                                80 FRENCH RD                                                                                     ROCHESTER       NY    14618‐3840
DOROTHY S TARBOX                                656 MINKEL RD                                                                                    STRYKERSVILLE   NY    14145‐9504
DOROTHY S TAYLOR                                1480 WESTBURY DRIVE                                                                              DAVISON         MI    48423‐8352
DOROTHY S TAYLOR                                400 FOULK RD                                                                                     WILMINGTON      DE    19803
DOROTHY S TERRANOVA                             504C ASPEN LN                                                                                    WYCKOFF         NJ    07481‐1543
DOROTHY S TWARDY                                HEATHERWOOD APT 135‐D                   9642 BURKE LAKE ROAD                                     BURKE           VA    22015‐3024
DOROTHY S WEDIN                                 RR # 2 BOX 2364                                                                                  NICHOLSON       PA    18446
DOROTHY S WELCH                                 2811 W MICHIGAN AVE                                                                              LANSING         MI    48917‐2914
DOROTHY S WHITELY                               713 B ARCADIA CT                                                                                 KENDALLVILLE    IN    46755‐1265
DOROTHY S WILLIAMS                              1632 OSWATT ROAD                                                                                 COLUMBUS        MS    39702‐9449
DOROTHY SANTUCCI CUST FRANCESCA JOSEPHINE       238 CARTER COURT                                                                                 NORTHBROOK      IL    60062‐5642
CUZZONE UTMA IL
DOROTHY SARAZIN                                 70 WINEGAR DR                                                                                    ONTARIO         OR    97914‐3135
DOROTHY SCHAMBER                                927 S ORIENT ST                                                                                  FAIRMONT        MN    56031‐4346
DOROTHY SCHILLER NELSON                         6118 S LAKEVIEW ST                                                                               LITTLETON       CO    80120‐2733
DOROTHY SCHMIDT                                 2304 W EL PASO CT                                                                                BROKEN ARROW    OK    74012‐3425
DOROTHY SCHULTZ                                 18 LAKEWOOD DRIVE                                                                                DALY CITY       CA    94015‐3447
DOROTHY SCIARAPPA & LESLIE MC CANN JT TEN       16 SHAKER HOUSE RD                                                                               YARMOUTHPORT    MA    02675‐1925
DOROTHY SCOTT                                   2629 FAIRVIEW ST                                                                                 DETROIT         MI    48214‐2204
DOROTHY SCULLY                                  5755 S NOTTINGHAM                                                                                CHICAGO         IL    60638‐3116
DOROTHY SHANDLER                                1717 HOMEWOOD AVE UNIT 181                                                                       DELRAY BEACH    FL    33445
DOROTHY SHELTON                                 36490 AURENSEN RD                                                                                N RIDGEVILLE    OH    44039‐3749
DOROTHY SHUBERT & ROBERT SHUBERT JT TEN         5051 BELLE MEAD DR                                                                               AIKEN           SC    29803
DOROTHY SILVER                                  140 THATCHING LANE                                                                               ALPHARETTA      GA    30022‐8176
DOROTHY SIMERL                                  21020 GEORGE HUNT CIR #931                                                                       WAUKESHA        WI    53186‐2032
DOROTHY SIMON                                   335 W 100TH ST                                                                                   CHICAGO         IL    60628‐1910
DOROTHY SIMON                                   8500 BELCHER RD                                                                                  PINELLAS PARK   FL    33781‐1015
DOROTHY SINCLAIR NELSON                         6433 WHITBY                                                                                      GARDEN CITY     MI    48135‐2054
DOROTHY SINGER                                  1360 HARBOR RD                                                                                   HEWLETT         NY    11557‐2642
DOROTHY SISSOCK                                 RR 1 12 OAKDALE                                                                                  FREELAND        PA    18224‐9801
DOROTHY SMIGIEL                                 14996 COLLINGHAM                                                                                 DETROIT         MI    48205‐1341
DOROTHY SMITH                                   3854 BIRCHVIEW CT                                                                                LAS VEGAS       NV    89147
DOROTHY SMITH DOAN                              6501 KENYON LANE                                                                                 BELLAIRE        TX    77401‐3704
DOROTHY SNYDER                                  702 CHRISTOPHER DRIVE                   7 OAKS                                                   WYOMISSING      PA    19610‐1161
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DOROTHY SNYDER & DAVID SNYDER JT TEN              140 WINDRUSH ROAD                                                                             WINSTON SALEM     NC    27106‐2594
DOROTHY SOBODOSKI & JEFFREY T CHERRYHOMES JT      10134 POWERS CT                      ST HELEN                                                 SAINT HELEN       MI    48656
TEN
DOROTHY SOJACK                                    1801 MERL AVE                                                                                 CLEVELAND         OH    44109‐5650
DOROTHY STACEY DRUSBA TR UA 04/16/98 DOROTHY      1636 LOIS LN                                                                                  BETHLEHEM         PA    18018‐1743
STACEY DRUSBA TRUST
DOROTHY STAIRKS                                   PO BOX 773                                                                                    CORNING           AR    72422‐0773
DOROTHY STEEL DURHAM                              387 ALICIA WAY                                                                                LOS ALTOS         CA    94022‐2349
DOROTHY STIMMELL & JESSE STIMMELL TEN ENT         764 E 236TH ST                                                                                EUCLID            OH    44123‐2516
DOROTHY STOVERING                                 1515 ORCHARD GROVE                                                                            LAKEWOOD          OH    44107‐3727
DOROTHY STULLICH & ARTHUR E STULLICH JT TEN       2249 S 17TH AVE                                                                               NO RIVERSIDE      IL    60546‐1036
DOROTHY SUE CONANT                                421 CASTANYA CT                                                                               DANVILLE          CA    94526‐1817
DOROTHY SUE DIXON                                 541 POPLAR AVE                                                                                PHILADELPHIA      MS    39350‐2131
DOROTHY SUSAN SARGENT                             ATTN DOROTHY SUSAN WINSHIP           2018 S GLEN EAGLE TERR                                   LECANTO           FL    34461‐9753
DOROTHY SUSKEVICH                                 1 RIDGE ROAD                                                                                  SOUTH RIVER       NJ    08882‐2516
DOROTHY T BLAKE                                   4363 SANDY VALLEY RD                                                                          MECHANICSVILLE    VA    23111‐6416
DOROTHY T BRENNAN                                 8452 BOSECK DR 155                                                                            LAS VEGAS         NV    89145‐2429
DOROTHY T CLANCY                                  607 N OLDEN AVE                                                                               TRENTON           NJ    08638‐4331
DOROTHY T DICKSON                                 18035 GRIGGS                                                                                  DETROIT           MI    48221‐2430
DOROTHY T EDINGER                                 4739 COUNTY LINE ROAD                                                                         HUBBARD           OH    44425‐9753
DOROTHY T HELSLEY                                 1334 LITTLE LEHIGH DR SO                                                                      EMMAUS            PA    18049‐1522
DOROTHY T JOHNSTON                                12221 BENNING OAKS CT                                                                         GLEN ALLEN        VA    23059‐5369
DOROTHY T JUNEAU                                  ATTN BOISVERT                        38 WHITEHALL TERRACE                                     HOOKSETT          NH    03106‐2115
DOROTHY T KEARNEY                                 2493 FRIENDSHIP BLVD                                                                          KOKOMO            IN    46901
DOROTHY T KLAIBER                                 312 BLACKSMITH RD                                                                             CAMP HILL         PA    17011‐8421
DOROTHY T LUMLEY                                  1391 FOXWOOD DRIVE                                                                            HERMITAGE         PA    16148
DOROTHY T LUMLEY TOD TINA LAW SUBJECT TO STA      1391 FOXWOOD DRIVE                                                                            HERMITAGE         PA    16148
TOD RULES
DOROTHY T MICHAELSEN                              8624 FUNTIER CT                                                                               FORT WORTH        TX    76179‐2837
DOROTHY T NIDER                                   C/O ANDREA N SCHLAU                  4760 FEDERAL RD                                          HEMLOCK           NY    14466‐9712
DOROTHY T PIFER                                   544 COURTFIELD AVE                                                                            WINCHESTER        VA    22601‐3208
DOROTHY T STRONZ TR UA 07/28/93 M‐B DOROTHY T     959 CHANDLER CT                                                                               CONCORD           CA    94518‐3817
STRONZ
DOROTHY T WILLIAMS TR UA 09/04/90 THE DOROTHY T   9834 BALBOA DR                                                                                SUN CITY          AZ    85351‐4551
WILLIAMS TRUST
DOROTHY T ZAKOWICZ                                196 LOSSON RD                                                                                 CHEEKTOWAGA       NY    14227‐2343
DOROTHY TAYLOR                                    2134 DRAKE DR                                                                                 XENIA             OH    45385‐3918
DOROTHY THIELKE                                   W5480 CHELSEA AVE                                                                             WESTBORO          WI    54490‐9414
DOROTHY THOMPSON RUTHERFORD                       2949 BULLARD ROAD                                                                             POWDER SPRINGS    GA    30127‐3755

DOROTHY TUCKER                                    1609 W COMMERCE ST                                                                            ABERDEEN          MS    39730‐2209
DOROTHY TURNER                                    722 MCCALLISTER AVE                                                                           SUN CITY CENTER   FL    33573‐7020
DOROTHY TWEEDY                                    1530 TOPANGA LN                      UNIT 107                                                 LINCOLN           CA    95648‐8178
DOROTHY UNO                                       1033 W SUNNY CREEK CIR                                                                        SPOKANE           WA    99224‐8457
DOROTHY URE                                       BOX 12 630 KING ST                   NIAGARA‐ON‐THE‐LAKE ON                 L0S 1J0 CANADA
DOROTHY URE                                       BOX 12 630 KING ST                   NIAGARA‐ON‐THE‐LAKE ON                 L0S 1J0 CANADA
DOROTHY V BAYER                                   715 MORGAN ST                                                                                 MARTINSBURG       WV    25401‐1801
DOROTHY V BROUSSARD                               PO BOX 451                                                                                    ELEPHANT BUTTE    NM    87935‐0451
DOROTHY V KACZMAREK                               2972 SOUTH 55TH ST                                                                            MILWAUKEE         WI    53219‐3348
DOROTHY V MARTIN & J WARD MARTIN III TR UA        DOROTHY V MARTIN DONER               8351 GOLDEN PRAIRIE DR                                   TAMPA             FL    33647‐3242
04/10/97
DOROTHY V MILLER                                  4531 ARIANE WY                                                                                SAN DIEGO         CA    92117‐2433
DOROTHY V MORGAN                                  11836 CHANTELOUP DR                                                                           HOUSTON           TX    77047‐4436
DOROTHY V PELKO                                   7235 W 58TH PLACE                                                                             SUMMIT            IL    60501‐1403
DOROTHY V REJEVICH                                26 S FRANKLIN ST                                                                              SHAMOKIN          PA    17872‐6004
DOROTHY V SWANTON                                 1025 HOWARD ST                                                                                MOUNT MORRIS      MI    48458‐1701
DOROTHY V SYMONDS                                 19 SHERMAN RD                                                                                 GLEN COVE         NY    11542‐3229
DOROTHY VAN WINKLE TREMAINE TR UA 02/04/87        110 MAN GROVE BAY                    APT 1302                                                 JU ITER           FL    33477‐6403
DOROTHY VAN WINKLE TREMAINE
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DOROTHY VIVIAN SPENCE                             3418 GALLIA ST                                                                                 NEW BOSTON        OH    45662‐4906
DOROTHY VOJNA                                     1333 FIFTH AVE REAR                                                                            FORD CITY         PA    16226
DOROTHY VOSS TR REVOCABLE LIVING TRUST 02/25/92   2095 SAVANAH RD                                                                                ELGIN             IL    60123‐2651
U‐A DOROTHY VOSS
DOROTHY W ASHTON CUST DAVID R ASHTON UGMA CA      15 HARDWICK AVE                                                                                PIEDMONT          CA    94611‐3703

DOROTHY W BASINGER & NAT J SANCHES JT TEN         2971 TREETOP ROAD                                                                              DACULA            GA    30019‐1248
DOROTHY W BASSETT & JUDITH M BRENNAN JT TEN       38849 RICHLAND ST                                                                              LIVONIA           MI    48150‐2448

DOROTHY W BELINS                                  2001 SYCAMORE STREET                                                                           HADDON HEIGHTS    NJ    08035‐1005

DOROTHY W BISSELL                                 1654 STEARNS DR                                                                                LOS ANGELES      CA     90035‐4516
DOROTHY W CLARK                                   328 11TH ST                                                                                    ALTAVISTA        VA     24517‐1964
DOROTHY W DOLE                                    838 E COUNTY RD 250 N                                                                          MATTOON          IL     61938‐8693
DOROTHY W MC GOVERN                               968 RANKINE ROAD                                                                               NIAGARA FALLS    NY     14305‐1124
DOROTHY W PRATT                                   12871 RIDGE                                                                                    ALBION           NY     14411‐9151
DOROTHY W RIDER                                   2406 CAPE HORN RD                     APT 34                                                   RED LION         PA     17356‐9076
DOROTHY W SAWYER                                  440 VALENTINE ST                                                                               VALENTINE        NE     69201‐1942
DOROTHY W SOBIER                                  534 HICKORY LANE                                                                               COLDWATER        MI     49036‐7527
DOROTHY W SWANEY                                  11640 OLD DAYTON ROAD                                                                          BROOKVILLE       OH     45309‐9383
DOROTHY W WILKERSON                               3204 WAYSIDE LN                                                                                ANDERSON         IN     46011‐2332
DOROTHY W YEAMANS                                 2380 BATTERSON ROAD                                                                            POWHATAN         VA     23139
DOROTHY WAGNER                                    7366 CADLE AVE                                                                                 MENTOR           OH     44060‐5709
DOROTHY WALLACE                                   5820 WARWICK                                                                                   DETROIT          MI     48228‐3955
DOROTHY WALSH                                     171 HAWKIN RD                                                                                  NEW EGYPT        NJ     08533‐2604
DOROTHY WALTON                                    28366 BAYBERRY                                                                                 FARMINGTON HILLS MI     48331‐3318

DOROTHY WEAVER                                    200 RANO BLVD BLDG 3C APT 24                                                                   VESTAL            NY    13850‐2774
DOROTHY WELSMAN                                   PO BOX 224                                                                                     HIGHLAND          MI    48357‐0224
DOROTHY WEST                                      1035 LUNDY DRIVE                                                                               TITUSVILLE        FL    32796
DOROTHY WHEELER                                   7137 CLINTON STREET RD                                                                         BERGEN            NY    14416‐9742
DOROTHY WIECHMANN                                 18827 CO HWY D65                                                                               HUBBARD           IA    50122‐8517
DOROTHY WILLIAMS                                  4248 SW 145TH LN                                                                               OCALA             FL    34473‐2416
DOROTHY WILLIAMS                                  3838 EAST 186TH STREET                                                                         CLEVELAND         OH    44122‐6559
DOROTHY WILLIAMS EX UW JAMES THOMPSON             6308 QUEENS CT                                                                                 RIVERDALE         GA    30296‐2932
DOROTHY WINARSKY                                  2520 TRUMBAUERSVILLE RD                                                                        QUAKERTOWN        PA    18951‐3723
DOROTHY WINTER SEYMORE                            PO BOX 846                                                                                     MIDDLEBURG        FL    32050‐0846
DOROTHY WOJEWODZKI                                25HARRISON ST                                                                                  CLARK             NJ    07066‐3213
DOROTHY WYATT ADAMS                               2 COUNTRY CLUB DR                                                                              DANVILLE          VA    24541‐4720
DOROTHY WYPYCH                                    31526 CONWAY                                                                                   WESTLAND          MI    48185‐1646
DOROTHY WZONTEK                                   4675 PEPPERWOOD LANE                                                                           CLARENCE          NY    14031‐2124
DOROTHY Y ANDERSON                                2008 E 49TH ST                                                                                 ANDERSON          IN    46013‐2807
DOROTHY Y HELVEY                                  31530 VAN BORN RD 202                                                                          WAYNE             MI    48184‐2668
DOROTHY Y JAMES                                   12839 BIDELMAN ROAD                                                                            THREE RIVERS      MI    49093‐9552
DOROTHY Y KIMURA                                  11731 PALOMA AVE                                                                               GARDEN GROVE      CA    92843‐2741
DOROTHY Y KINDERVATER                             221 PINE ST                                                                                    HARRISBURG        PA    17101‐1349
DOROTHY Y VECCHIONE                               71 EVERGREEN AVENUE                                                                            WESTPORT          CT    06880
DOROTHY YOUNG & LAWRENCE C YOUNG SR JT TEN        PO BOX 146                                                                                     SOUTH EASTON      MA    02375‐0146

DOROTHY Z BROWN CUST EDWARD TALBOTT BROWN         712 MOUNT VERNON RD                                                                            LEXINGTON         KY    40502‐2220
UGMA
DOROTHY Z FIELY TR FIELY FAM TRUST UA 10/06/94    7295 DUNCOURTNEY DR NE                                                                         ALTANTA           GA    30328‐1212

DOROTHY Z PETERS                                  281 ADELPHI                                                                                    BROOKLYN          NY    11205‐4672
DOROTHY ZEGLIS                                    1763 OAK TREELANE                                                                              KANKAKEE          IL    60901
DOROTHY ZIEGLER                                   2295 LYONS RD                                                                                  CORUNNA           MI    48817‐9501
DOROTHY ZISKEND & ROBERTA T STRASSLER JT TEN      175 DORCHESTER H                                                                               WEST PALM BEACH   FL    33417‐1450
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Name                                               Address1                              Address2                  Address3     Address4          City            State Zip

DOROTHY ZIZES TR DOROTHY ZIZES 1999 REV TRUST UA   147 E 37TH ST                                                                                  NEW YORK        NY    10016‐3132
1/13/99
DOROTHY ZURAWEL                                    490 STAFFORD AVE APT B‐1                                                                       BRISTOL         CT    06010‐4631
DORR J COOK                                        638 PRAIRIE                                                                                    CHARLOTTE       MI    48813‐1949
DORRANCE E DAVEY JR                                7340 SOUTH ST CLAIR RD                                                                         SAINT JOHNS     MI    48879‐9138
DORRICE L ROGERS                                   PO BOX 977                                                                                     EMPORIA         VA    23847‐0977
DORRIE HUBBARD                                     8900 S NORMAL                                                                                  CHICAGO         IL    60620‐2211
DORRIS A CHEATHAM                                  1930 ROCK SPRINGS RD                                                                           COLUMBIA        TN    38401‐7420
DORRIS A CRIMM                                     4282 REID RD                                                                                   SWARTZ CREEK    MI    48473‐8879
DORRIS C ESKRIDGE                                  3136 KESWICK RD                                                                                SHAKER HTS      OH    44120‐2829
DORRIS C KAPEK TR KAPEK FAMILY TRUST UA 12/28/00   1077 GLAZEMEADOW ST NE                                                                         KEIZER          OR    97303‐7813

DORRIS DAVIS CONNER TR UA 07/12/91 THE DORRIS      25340 LAKE MIST SQ                    #205                                                     SOUTH RIDING    VA    20153‐5352
DAVIS CONNER TRUST
DORRIS L THOMAS                                    6448 W JEFFERSON AVE                                                                           DETROIT         MI    48209‐3045
DORRIS MONAHAN                                     TOWN HOUSE #3                         2886 FERNLEY DRIVE EAST                                  WEST PALM BEACH FL    33415‐8303

DORRIS PENROSE SPENCER                             PAIST ROAD                            PO BOX 101                                               BUCKINGHAM      PA    18912‐0101
DORRIS SUSANNA MIHULKA                             PO BOX 413                                                                                     MT MORRIS       MI    48458‐0413
DORRIT V LAST                                      C/O MRS DORRIT L GLEASON              39 KNOLLWOOD DRIVE                                       ROCHESTER       NY    14618‐3512
DORSE NAPIER                                       PO BOX #133                                                                                    ENGLEWOOD       OH    45322‐0133
DORSEY D WEIKERT JR & RUTH WEIKERT JT TEN          47 MAINE TRAIL                                                                                 MEDFORD         NJ    08055‐8928
DORSEY D WEYANDT                                   7093 ROSEWOOD DR                                                                               FLUSHING        MI    48433‐2280
DORSEY J SCOTT                                     103 LIME ROCK RD                                                                               LEROY           NY    14482‐9602
DORSEY JOHNSON                                     2900 BRUSH ST                         APT 108                                                  DETROIT         MI    48201‐3166
DORSEY L HAMMOND                                   2251 VERNA DR                                                                                  DECATUR         GA    30034‐2635
DORSEY L MC CANNON & JENNIE P MC CANNON JT TEN     4973 BRIDGE PORT LN                                                                            NORCROSS        GA    30092‐1703

DORSEY L ROBINSON                                  PO BOX 4114                                                                                    MURFREESBORO    TN    37129‐4114
DORSIE G WILLIAMS                                  923 JUDY DR                                                                                    FARMINGTON      MO    63640‐9208
DORSIE L BISE                                      PO BOX 143                                                                                     ROSEMONT        WV    26424‐0143
DORT GEDERAL CREDIT UNION TR CHARLES R             11418 RUNNELLS DR                                                                              CLIO            MI    48420‐8265
PATTERSON IRA UA 04/09/96
DORTHA A DICK                                      9960 PROMINENT PEAK HTS               APT 205                                                  COLORADO SPGS   CO    80924‐8648
DORTHA E BOYLE                                     8704 W MILL RD                                                                                 YORKTOWN        IN    47396‐1341
DORTHA FLORY                                       103 TALMADGE ROAD                     PO BOX 225                                               CLAYTON         OH    45315‐0225
DORTHA M MURRAY                                    2858 MULFORD DR SE                                                                             GRAND RAPIDS    MI    49546‐8008
DORTHELLA V JACKSON                                5974 TARA LN                                                                                   ST LOUIS        MO    63147‐1121
DORTHENE NEELEY                                    1500 HAMPSHIRE PIKE F‐1                                                                        COLUMBIA        TN    38401‐5602
DORTHEY J BROWN                                    82 JEFF AVE                                                                                    TITUSVILLE      FL    32796‐5102
DORTHIA L NELSON                                   2724 UNION AVENUE SE                                                                           GRAND RAPIDS    MI    49507‐3583
DORTHY E BLACHA & EDWARD L BLACHA JT TEN           1082 ORANGE GROVE LN                                                                           APOPKA          FL    32712‐2141
DORTHY G GOLDEN                                    47211 WEAR ROAD                                                                                BELLEVILLE      MI    48111‐8678
DORTHY J DUFFIELD                                  2443 W IAN PL                                                                                  TUCSON          AZ    85741‐3739
DORTHY K HALTOM & ALAN E HALTOM JT TEN             1517 SHERI CIR                                                                                 PLAINFIELD      IN    46168
DORTHY ROBINSON                                    C/O DOROTHY DELBRIDGE                 1350 OAKLAHOMA ST                                        WATERFORD       MI    48327‐3341
DORTHY WOODY                                       232 CAMBRIDGE AVE                                                                              BUFFALO         NY    14215‐3734
DORU POPESCU & CORALIA POPESCU JT TEN              31 CHURCH LANE                                                                                 SCARSDALE       NY    10583‐2909
DORVAL K MC LAUGHLIN JR                            9715 SIESTA KEY DR                                                                             PORTAGE         MI    49002‐3916
DORWIN E BROOKE                                    C/O D ZECK                            9692 W 400 N                                             KOKOMO          IN    46901‐8626
DOSHIE A MCCLANAHAN                                4555 QUEENS                                                                                    ST LOUIS        MO    63115‐1339
DOSSIE G MCFADIN                                   420 GLEN OAK CIRCLE                                                                            RIDGEWAY        VA    24148‐3472
DOSSIE P EAST                                      PO BOX 3                                                                                       HELTONVILLE     IN    47436‐0003
DOTINELLA READ                                     5504 STUART AVE                                                                                BALTIMORE       MD    21215‐4138
DOTTIE A WEPPLER                                   592 BLENHEIM RD                                                                                COLUMBUS        OH    43214
DOTTIE D ROBERTS                                   22 PARKER RD                                                                                   NEWPORT         KY    41071‐2649
DOTTIE L JORDAN                                    99 LINTON HILL RD                                                                              COOLVILLE       OH    45723‐8044
DOTTIE L WEBB                                      76 LILLIEDALE LN                                                                               HAMILTON        OH    45015‐2146
DOTTIE O BENTON                                    1015 E HARRISON ST                                                                             ELDORADO        AR    71730‐4943
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DOTTIE R ANGLE                                   2548 BILLY HARPER ROAD                                                                           TOOMSUBA        MS    39364
DOTTIE R MCDONALD                                5840 SHERIDAN                                                                                    VASSAR          MI    48768‐9596
DOTTY KAGAN CUST HANNAH PLANTOWSKY UGMA TX       610 LITTLE JOHN LANE                                                                             HOUSTON         TX    77024

DOTTY KAGAN CUST JACK KAGAN UGMA TX              610 LITTLE JOHN LN                                                                               HOUSTON         TX    77024‐5721
DOTTY KAGAN CUST JAKE PLANTOWSKY UGMA TX         610 LITTLE JOHN LANE                                                                             HOUSTON         TX    77024
DOTTY KAGAN CUST SAM KAGAN UGMA TX               610 LITTLE JOHN LANE                                                                             HOUSTON         TX    77024‐5721
DOTTY L FREEMAN                                  ATTN DOTTY L FREEMAN‐SMITH              79 JASPER DRIVE                                          SOMERSET        KY    42501‐6019
DOUG BONNER                                      PO BOX 3                                                                                         TUCKAHOE        NJ    08250‐0003
DOUG BROWN                                       811 EDDINGTON CT                                                                                 BLOOMINGTON     IN    47401
DOUG BYRD                                        475 N MAIN ST                                                                                    CROWN POINT     IN    46307‐3252
DOUG D BORTON                                    4411 ROGERS HWY                                                                                  BRITTON         MI    49229‐9726
DOUG D HANSOTTE                                  2340 PLEASANT VIEW DR                                                                            FORD CITY       PA    16226‐1549
DOUG E HANEY                                     7740 S STAINES RD                                                                                SHERIDAN        MI    48884‐8332
DOUG E RUSKEY                                    3108 SYCAMORE TER                       APT 6                                                    SIOUX CITY      IA    51104‐1764
DOUG GIBSON                                      661 BYNGMOUNT AVENUE                    MISSISSAUGA ON                         L5C 1R3 CANADA
DOUG H MARSHALL CUST MCKAY C MARSHALL UTMA       705 OLIVE ST SUITE 804                                                                           SAINT LOUIS     MO    63101‐2210
MO
DOUG HURST III                                   30 1/2 ROBIN ROAD                                                                                POUGHKEEPSIE    NY    12601‐5654
DOUG J FOLTZ                                     3681 IRIS DR SW                                                                                  GRANDVILLE      MI    49418‐1886
DOUG JONES                                       316 PARKLAND AVE SW                                                                              MASSILLON       OH    44646‐3866
DOUG MANTOOTH                                    5101 S MORGAN RD                                                                                 OKLAHOMA CITY   OK    73179‐1615
DOUG ORR                                         11720 39A AVE                           EDMONTON AB                            T6J 0P2 CANADA
DOUG P STCLAIR                                   814 RICHARD                                                                                      HOLLY           MI    48442‐1285
DOUG ROE                                         1015 DRIFTWOOD TRL                                                                               CROWN POINT     IN    46307‐5049
DOUG SABADOSA                                    PO BOX 67                                                                                        EAST BERLIN     CT    06023‐0067
DOUG W WATKINS                                   4619 EVERGREEN                                                                                   BELLAIRE        TX    77401‐5113
DOUGAL JOLES                                     7838 M 25                                                                                        AKRON           MI    48701‐9773
DOUGAN CHAN                                      653 16TH AVE                                                                                     SF              CA    94118‐3510
DOUGHTON SEGRAVES                                C/O ANNETTE RHOADES                     96 WILLARD DR                                            NORTH EAST      MD    21901‐1623
DOUGLAS A ANDERSON                               800 CUMBERLAND DR                                                                                EATON RAPIDS    MI    48827‐1615
DOUGLAS A BACON & MRS MARTHA S BACON JT TEN      111 SEATLE SLEW LANE                                                                             GREENVILLE      SC    29617

DOUGLAS A BAKER                                  11320 MEREDITH GRADE RD                                                                          GLADWIN         MI    48624‐8849
DOUGLAS A BEDWELL                                1406 N COUNTY RD 800 E                                                                           GREENTOWN       IN    46936
DOUGLAS A BOGIE                                  1739 TUDOR LN UNIT 109                                                                           NORTHBROOK      IL    60062‐3776
DOUGLAS A BUCHHOLZ                               8183 N LATSON ROAD                                                                               HOWELL          MI    48843‐9229
DOUGLAS A BURKHART                               21025 EATON ROAD                                                                                 FAIRVIEW PARK   OH    44126‐2720
DOUGLAS A BYRNES                                 9 RENWICK AVE                                                                                    HUNTINGTON      NY    11743
DOUGLAS A CHALMERS                               56 DANFORTH CR                          ST ALBERT AB                           T8N 4W7 CANADA
DOUGLAS A CLARKSON                               2198 WILLOW BEND DR                                                                              TEMPERANCE      MI    48182‐1150
DOUGLAS A CONKLIN                                10311 ELIZABETH LAKE RD                                                                          WHITE LAKE      MI    48386‐2131
DOUGLAS A CRANDALL & MARY L CRANDALL JT TEN      2010 MAC ARTHUR ST                                                                               RANCHO PALOS    CA    90275‐1113
                                                                                                                                                  VERDE
DOUGLAS A DAILEY                                 5684 W GROVE DR                                                                                  KENTWOOD        MI    49512‐9597
DOUGLAS A DEGLER                                 124 BERNARD LN                                                                                   STROUDSBURG     PA    18360‐8798
DOUGLAS A DEVORE                                 399 DELIDO CT                                                                                    PUNTA GORDA     FL    33950‐5116
DOUGLAS A DOLENGOWSKI                            4319 BOLD MEADOWS                                                                                ROCHESTER       MI    48306‐1461
DOUGLAS A DRUMMOND                               12117 W BRISTOL RD                                                                               LENNON          MI    48449‐9404
DOUGLAS A EDWARDS                                2509 HAYES AVENUE                                                                                SANDUSKY        OH    44870‐5359
DOUGLAS A ESSEX                                  14052 N 575 EAST                                                                                 HOPE            IN    47246
DOUGLAS A FENNESSY & NANCY R FENNESSY JT TEN     1446 DAVIS RD                                                                                    CHURCHVILLE     NY    14428

DOUGLAS A FERTUCK                                7563 PINEWOOD TR                                                                                 WEST BLOOMFIELD MI    48322‐2652

DOUGLAS A FRANK                                  37762 E HORSESHOE DR                                                                             CLINTON TOWNSHIP MI   48036‐1720

DOUGLAS A FULLER                                 9625 SELIGMAN AVE NORTHEAST                                                                      ALBUQUERQUE     NM    87109
DOUGLAS A GARRETSON                              1731 KLEBER ST                                                                                   PITTSBURGH      PA    15212‐1674
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DOUGLAS A GARRETSON & KATHLEEN A GARRETSON JT   1731 KLEBER STREET                                                                               PITTSBURGH         PA    15212‐1674
TEN
DOUGLAS A GAUTHIER                              420 TRENTON CT                                                                                   ZIONSVILLE         IN    46007
DOUGLAS A GODING                                4024 N ADAMS ST                                                                                  WESTMONT           IL    60559‐1309
DOUGLAS A GOLLAN                                3781 WARREN SHARON RD                                                                            VIANA              OH    44473‐9510
DOUGLAS A GOSS                                  2604 SAN GABRIEL DRIVE                                                                           PLANO              TX    75074
DOUGLAS A GREER                                 10999 S BEGOLE ROAD                                                                              PERRINTON          MI    48871‐9767
DOUGLAS A HABERLAND                             703 N WENONA                                                                                     BAY CITY           MI    48706‐4535
DOUGLAS A HAMLIN                                7111 WICKER RD R#1                                                                               SHERIDAN           MI    48884‐9725
DOUGLAS A HANDLER                               1916 CHALMERS DR W                                                                               ROCHESTER HILLS    MI    48309‐1848
DOUGLAS A HANDLER CUST BROOKE C HANDLER UGMA    1916 CHALMERS DR W                                                                               ROCHESTER HILLS    MI    48309‐1848
NY
DOUGLAS A HANDLER CUST ROBERT C HANDLER UGMA    1916 CHALMERS DR W                                                                               ROCHESTER HILLS    MI    48309‐1848
NY
DOUGLAS A HAVIGHURST                            1151 HASELTON RD                                                                                 CLEVELAND          OH    44121‐1539
                                                                                                                                                 HEIGHTS
DOUGLAS A HENDERSON                             PO BOX 729                                                                                       PIQUA              OH    45356‐0729
DOUGLAS A HERRON                                6605 HIGHLAND LAKES PL                                                                           WESTERVILLE        OH    43082‐8703
DOUGLAS A HIGGINS                               735 EMERSON AVE                         OSHAWA ON                              L1H 3L2 CANADA
DOUGLAS A HOTTMAN                               6792 WESLEY CT                                                                                   PLAINFIELD         IN    46168‐7893
DOUGLAS A HUTCHINSON                            2430 HAINES RD                                                                                   LAPEER             MI    48446‐8368
DOUGLAS A JACKSON & GLENDA R JACKSON JT TEN     16053 ‐ 18 MILE RD                                                                               MARSHALL           MI    49068‐9463

DOUGLAS A JOHNSON                               1404 PRAIRIE ST                                                                                  ESSEXVILLE         MI    48732‐1240
DOUGLAS A JORY                                  3907 W ROSE CITY RD                                                                              WEST BRANCH        MI    48661‐9558
DOUGLAS A KRAMER                                1037 GARFIELD AVE                                                                                LANSING            MI    48917‐9250
DOUGLAS A KUCEK                                 PO BOX 33124                                                                                     N ROYALTON         OH    44133‐0124
DOUGLAS A KUNS                                  1845 REEDS COURT TRAIL                                                                           WESTLAKE           OH    44145‐2075
DOUGLAS A LANDERS                               36074 ENGLISH DR                                                                                 STERLING HEIGHTS   MI    48310‐4319

DOUGLAS A LITTLE                                4155 KEENE DRIVE                                                                                 GRAND BLANC        MI    48439‐7906
DOUGLAS A LOUGHEED                              6200 MEADOWWOOD                                                                                  GRAND BLANC        MI    48439‐9196
DOUGLAS A MARTIN                                8F BROOKSIDE HEIGHTS                                                                             WANAQUE            NJ    07465‐1619
DOUGLAS A MAURER & MARIE MAURER TEN ENT         13551 SOL CT                                                                                     JACKSONVILLE       FL    32224‐3095
DOUGLAS A MCCABE                                6891 KESTREL ST                                                                                  BRIGHTON           MI    48116
DOUGLAS A MEDER CUST MARIA THERESE MEDER        1700 N LONGMEADOW DR                                                                             GLENVIEW           IL    60025‐1549
UGMA IL
DOUGLAS A MELLOM                                415 WINNEBAGO DR                                                                                 JANESVILLE         WI    53545‐4338
DOUGLAS A MOORE                                 1842 ST RD 534 NW                                                                                SOUTHINGTON        OH    44470‐9525
DOUGLAS A NICHOLSON                             9016 20TH AVE NE                                                                                 SEATTLE            WA    98115‐3230
DOUGLAS A OCONNOR                               122 W ST LOUIS CT                                                                                KOKOMO             IN    46902‐5942
DOUGLAS A ODELL & MRS MARTHA F ODELL JT TEN     PO BOX 31828                                                                                     KNOXVILLE          TN    37930‐1828

DOUGLAS A PEABODY                                21 HAWTHORN COURT                                                                               ROCKVILLE          MD    20850
DOUGLAS A PETERSON                               32605 KJARVICK RD                                                                               WASHBURN           WI    54891‐4459
DOUGLAS A PHILPOTT                               32808 GRANDVIEW                                                                                 WESTLAND           MI    48186‐8968
DOUGLAS A PLOTKOWSKI                             3209 QUEEN CT                                                                                   BAY CITY           MI    48706‐1624
DOUGLAS A POLLARD                                1459 OYSTER                                                                                     HOLLY              MI    48442‐8316
DOUGLAS A RIBBECK                                8150 TONAWANDA CREEK RD                                                                         LOCKPORT           NY    14094‐9046
DOUGLAS A ROGERS                                 6409 BLACKTREE DR                                                                               PLANO              TX    75093‐8020
DOUGLAS A RUSSELL                                4412 MILLARD AVE                                                                                FREMONT            CA    94538‐2831
DOUGLAS A SCHOENHEIDER                           338 W SAGINAW ST                       UNIT 60                                                  EAST LANSING       MI    48823‐2674
DOUGLAS A SCHULTZ                                8827 SE 118TH LANE                                                                              SUMMERFIELD        FL    34491‐1629
DOUGLAS A SHANKWILER                             800 NORTHRIDGE DR                                                                               DAHLONEGA          GA    30533
DOUGLAS A SHIELDS                                1450 E 11TH STREET                                                                              STUART             FL    34996‐5808
DOUGLAS A SHROYER                                439 E DUNEDIN RD                                                                                COLUMBUS           OH    43214‐3807
DOUGLAS A STAHL                                  871 WEST OAKRIDGE                                                                               FERNDALE           MI    48220‐2753
DOUGLAS A STAHL ANGELA MARIE STAHL UNIF GIFT MIN 871 W OAKRIDGE STREET                                                                           FERNDALE           MI    48220‐2753
ACT MI
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Name                                            Address1                              Address2             Address3          Address4          City               State Zip

DOUGLAS A STAHL CUST ANDREW JOSEPH STAHL UGMA 871 W OAKRIDGE ST                                                                                FERNDALE           MI    48220‐2753
MI
DOUGLAS A STAHL CUST KIMBERLY MICHELE STAHL   871 W OAKRIDGE STREET                                                                            FERNDALE           MI    48220‐2753
UGMA MI
DOUGLAS A STOWE                               3801 EMBARCADERO ST                                                                              WATERFORD          MI    48329‐2244
DOUGLAS A TIMMER                              1255 S MICHIGAN AVE APT 2511                                                                     CHICAGO            IL    60605‐3312
DOUGLAS A VAN GORDER                          HC 33 BOX 189 A                                                                                  BERNARD            ME    04612‐9704
DOUGLAS A VETTRAINO                           13874 LUROMA CIRCLE                                                                              DEWITT             MI    48820‐9621
DOUGLAS A VINCENT                             234 SURGEONER CRES                      NEWMARKET ON                           L3X 2L3 CANADA
DOUGLAS A VITEK                               4648 E PARKS RD                                                                                  ST JOHNS           MI    48879‐9023
DOUGLAS A WATSON                              201 S BETHLEHEM RD                                                                               RUTLEDGE           AL    36071‐3536
DOUGLAS A WHITE                               396 PLUM CREEK RD                                                                                LAPEER             MI    48446‐7732
DOUGLAS A WIERMAN CUST MARGARET B WIERMAN     400 BLUE CREEK RANCH RD                                                                          DRIPPING SPRINGS   TX    78620‐3411
UTMA IL
DOUGLAS A WIERMAN CUST REBECCA A WIERMAN      400 BLUE CREEK RANCH RD                                                                          DRIPPING SPRINGS   TX    78620‐3411
UTMA IL
DOUGLAS A WILKINSON                           764 STONEY DR                                                                                    SOUTH LYON         MI    48178‐2020
DOUGLAS A WILLIAMS                            38 ISLAND VIEW                                                                                   ROSSFORD           OH    43460‐1442
DOUGLAS A WILLIAMS                            5268 BIANCA DR                                                                                   GRAND BLANC        MI    48439‐7650
DOUGLAS A WINKLE & TERRI L WINKLE JT TEN      1361 STATE ROUTE 321                                                                             SARDINIA           OH    45171‐9554
DOUGLAS A WYATT                               2100 SANDSTONE DRIVE                                                                             JENISON            MI    49428‐7729
DOUGLAS ADAMS                                 15358 TURNER                                                                                     DETROIT            MI    48238‐1951
DOUGLAS ADKINS                                870 EDWARDS MILL RD                                                                              HOPKINSVILLE       KY    42240‐8062
DOUGLAS ALAN & KAREN SUE MAGILL TR MAGILL     34338 CLAYTHORNE DR                                                                              SOLON              OH    44139‐5648
FAMILY TRUST UA 04/18/98
DOUGLAS ALAN CAMPBELL                         201 W MAIN STREET                                                                                MEDWAY             OH    45341
DOUGLAS ALAN HEIGHTON                         PO BOX 2310                                                                                      WESTERVILLE        OH    43086‐2310
DOUGLAS ALAN LOCK                             42 MILTON ST                                                                                     FALL RIVER         MA    02720‐4132
DOUGLAS ALEXANDER                             4025 COMSTOCK ST                                                                                 FLINT              MI    48505
DOUGLAS ALLEN HUGHES                          2615 N 173RD ST                                                                                  OMAHA              NE    68116
DOUGLAS ALLEN SHERMAN                         11518 REFLECTION DR                                                                              WOODLAND           MI    48897‐9650
DOUGLAS ALLIE                                 BOX 351                                                                                          GLASGOW            MT    59230‐0351
DOUGLAS ALSOP MOODY                           PO BOX 1512                                                                                      PONTE VEDRA        FL    32004‐1512
DOUGLAS ANDERSON                              3035 WYOMING DR                                                                                  XENIA              OH    45385
DOUGLAS AYERS & KYOKO AYERS JT TEN            7256 KEITH DONALDSON                                                                             FREETOWN           IN    47235‐9678
DOUGLAS B ARRASMITH                           1027 HODGES DR                                                                                   COLUMBUS           OH    43204‐2856
DOUGLAS B BERMICK                             1031 BIRCHWOOD DRIVE                                                                             TEMPERANCE         MI    48182‐9536
DOUGLAS B BROWN                               1906 HILLROSE DRIVE                                                                              LOVELAND           CO    80538‐3439
DOUGLAS B CRIDDLE                             5036 KUSZMAUL AVE                                                                                WARREN             OH    44483‐1255
DOUGLAS B FERGUSON                            8016 NIGHTWALKER RD                                                                              WEEKI WACHEE       FL    34613‐3314
DOUGLAS B FINE                                700 N‐WESTMOUNT DR #104                                                                          LOS ANGELES        CA    90069‐5125
DOUGLAS B GORDON                              5902 TERRACE PARK DR                                                                             DAYTON             OH    45429‐6052
DOUGLAS B GORDON & PATRICIA A GORDON JT TEN   29438 BROWN CT                                                                                   GARDEN CITY        MI    48135‐2308

DOUGLAS B HANKS & RITA M HANKS HANKS LOVING     841 PECO ROAD                                                                                  GRANTS PASS        OR    97526‐8239
TRUST UA 07/31/97
DOUGLAS B JAVA                                  PO BOX 145                                                                                     SOUTHINGTON        OH    44470‐0145
DOUGLAS B JONES                                 4811 ABBOTT ST                                                                                 ARLINGTON          TX    76018‐1246
DOUGLAS B KORTEN                                8881 LANSING AVE                                                                               RIVES JUNCTION     MI    49277‐9734
DOUGLAS B LEVINSON CUST KELSEY BRYCE LEVINSON   2133 COLBY AVE #15                                                                             LOS ANGELES        CA    90025‐6207
UTMA CA
DOUGLAS B MCGIVERN                              920 MARKHAM                                                                                    CUYAHOGA FLS       OH    44221
DOUGLAS B MIRACLE                               5820 GRACE HWY                                                                                 SUNFIELD           MI    48890‐9080
DOUGLAS B MURRAY & MARY MARGARET MURRAY JT      1852 WILLAMSBURG AVE                                                                           THE VILLAGES       FL    32162‐6704
TEN
DOUGLAS B MURRAY CUST TIMOTHY ARTHUR MURRAY     1852 WILLIAMSBURG AVE                                                                          LADY LAKE          FL    32162‐6704
UGMA NJ
DOUGLAS B PERRY                                 1701 E BIRCH RUN RD                                                                            BURT               MI    48417‐2320
DOUGLAS B POLKINGHORNE                          5085 ONA LAKE DR                                                                               WHITE LAKE         MI    48383‐3253
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DOUGLAS B PUSZCZ & DANIELA PUSZCZ JT TEN          43138 WINTERFIELD DRIVE                                                                       STERLING HEIGHTS   MI    48314‐1863

DOUGLAS B ROBINSON                                21530 HIGHVIEW                                                                                CLINTON TWP        MI    48036‐2552
DOUGLAS B SCHULTZ                                 W7833 TIMBER TRL                                                                              WHITEWATER         WI    53190‐4447
DOUGLAS B SHUCK                                   2212 SHADY VIEW CT                                                                            ARLINGTON          TX    76013‐5707
DOUGLAS B SIDERS CUST ABIGAIL C SIDERS UGMA MI    2009 WASHTENAU AVE                                                                            ANN ARBOR          MI    48104‐3611

DOUGLAS B SMITH                                   496 CAMBRIDGE AVE                                                                             BUFFALO            NY    14215‐3124
DOUGLAS B STALEY                                  9873 OLD STAGE ROAD                                                                           WAYNESVILLE        OH    45068‐8837
DOUGLAS B STOCK                                   10 BOW ST                                                                                     WELLESLEY HLS      MA    02481‐3304
DOUGLAS B SWINEFORD                               230 RUMBOLD AVENUE                                                                            N TONAWANDA        NY    14120‐4752
DOUGLAS B THOMPSON                                1339 W 48TH STREET                                                                            DAVENPORT          IA    52806‐3650
DOUGLAS B TRIPLETT                                810 PARK AVE                                                                                  LEAVENWORTH        KS    66048‐5548
DOUGLAS B WIRTH                                   301 KITTY HAWK BAY DR                                                                         KILL DEVIL HILLS   NC    27948‐8667
DOUGLAS BALAN                                     2204 HARWOOD                                                                                  ROYAL OAK          MI    48067‐4069
DOUGLAS BALTZ                                     4133 SAMOSET RD                                                                               ROYAL OAK          MI    48073‐1536
DOUGLAS BAUSCH                                    PO BOX 196                                                                                    FLAGLER BEACH      FL    32136
DOUGLAS BECKER                                    7677 DUNROSS DR                                                                               PORTAGE            MI    49024‐7883
DOUGLAS BERNARD KEMERLY                           5035 W ARLINGTON PARK BLVD                                                                    FORT WAYNE         IN    46835‐4315
DOUGLAS BOURQUE                                   3801 SKYLINE DR                                                                               PLANO              TX    75025
DOUGLAS BOWERS                                    PO BOX 418                                                                                    MIDLAND            GA    31820‐0418
DOUGLAS BROOKS                                    515 E BLVD NORTH                                                                              PONTIAC            MI    48342‐1718
DOUGLAS BRUCE GRAHAM                              PO BOX 6171                                                                                   CARMEL             CA    93921‐6171
DOUGLAS BRYANT                                    PO BOX 40338                                                                                  INAPOLIS           IN    46240‐0338
DOUGLAS BURNS                                     966 DORIS JANE DR                                                                             FAIRFIELD          OH    45014‐2814
DOUGLAS C ACKERMAN                                ROUTE 6                              BOX 249‐J                                                CHARLESTON         WV    25311‐9729
DOUGLAS C ACKERMAN                                5079 HONEY LOCUST CT                                                                          PARKER             CO    80134‐5499
DOUGLAS C ANDERSON                                299 EDGEMONT DR                                                                               N SALT LAKE        UT    84054‐2636
DOUGLAS C ANDERSON III & DANA BLAIR ANDERSON JT   1338 CENORA LANE                                                                              HIXSON             TN    37343‐1735
TEN
DOUGLAS C BASILIUS                                2596 MILTON LANE                                                                              THOMPSONS          TN    37179‐5049
                                                                                                                                                STATION
DOUGLAS C BRANT                                   12466 LIGHTHOUSE COURT                                                                        PLYMOUTH           MI    48170‐3030
DOUGLAS C CAMPBELL                                7717 5 MILE RD                                                                                NORTHVILLE         MI    48167‐9451
DOUGLAS C CARON                                   10 MCCOMBS CT                                                                                 CLINTON            MI    49236‐9711
DOUGLAS C CARSON                                  1420 LONG POND DR                                                                             WARRINGTON         PA    18976
DOUGLAS C CARTWRIGHT                              5670 MOCKINGBIRD LN                                                                           BLANCHARD          OK    73010‐7817
DOUGLAS C CUE                                     1171 GENELLA                                                                                  WATERFORD          MI    48328‐1336
DOUGLAS C DAUGHERTY                               57165 WILLOW RIDGE BLVD                                                                       WASHINGTN TWP      MI    48094‐3208
DOUGLAS C DENNIS                                  15439 LILLIE ROAD                                                                             BRYON              MI    48418‐9515
DOUGLAS C DEWOLFE                                 17863 HILL ROAD                                                                               DEFIANCE           OH    43512
DOUGLAS C DRAPER                                  8926 SW BECKER DR                                                                             PORTLAND           OR    97223‐7282
DOUGLAS C EDGAR CUST ASHLEY MARIE EDGAR UGMA      15565 BEALFRED                                                                                FENTON             MI    48430‐1774
MI
DOUGLAS C ESTES                                   29979 HIGHWAY 6                                                                               RIFLE              CO    81650‐9453
DOUGLAS C FELTZ                                   7754 ESTATE DR                                                                                BROWNSBURG         IN    46112‐7857
DOUGLAS C FISHER                                  11676 MONAGAN HWY                                                                             TIPTON             MI    49287‐9758
DOUGLAS C FOWLER                                  11120 NASSAU AVE                                                                              SUNLAND            CA    91040‐2125
DOUGLAS C HARVEY                                  7902 IVYMOUNT TER                                                                             POTOMAC            MD    20854‐3732
DOUGLAS C HENTON                                  1752 PARROTT DRIVE                                                                            SAN MATEO          CA    94402‐3609
DOUGLAS C HERRING                                 242 CONCORD DR                                                                                MADISON            AL    35758‐8151
DOUGLAS C HOMANN & DOROTHY M HOMANN JT TEN        12505 CORBETT                                                                                 DETROIT            MI    48213‐1805

DOUGLAS C HOMANN & PAULINE P HOMANN JT TEN        3975 WOODHALL ST                                                                              DETROIT            MI    48224‐2255

DOUGLAS C HOUSTON                                 8286 KINGSLEE RD                                                                              BLOOMINGTON        MN    55438‐1253
DOUGLAS C HUGGETT                                 721 E ROBERTA                                                                                 WAUKESHA           WI    53186‐6711
DOUGLAS C HUIZENGA                                7262 DRIFTWOOD DR                                                                             FENTON             MI    48430‐8902
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DOUGLAS C JERGER & MRS MARGARET A JERGER JT TEN SUITE 526                             1600 N OAK ST                                            ARLINGTON         VA    22209‐2763

DOUGLAS C JESSUP                                 8700 FORDHAM ST                                                                               FORT MYERS        FL    33907‐4322
DOUGLAS C JOHNSON                                PO BOX 132                                                                                    GREENHURST        NY    14742
DOUGLAS C KERR                                   1068 CO RT 36                                                                                 NORFOLK           NY    13667‐3281
DOUGLAS C LANGDON                                3412 SASHABAW                                                                                 OXFORD            MI    48371‐4012
DOUGLAS C LANGE                                  464 RACHEL CT                                                                                 COPLEY            OH    44321‐3021
DOUGLAS C LOVEWELL                               2215 TRANSIT RD                                                                               BURT              NY    14028‐9719
DOUGLAS C MACINTOSH TR DOUGLAS C MACINTOSH       1629 HIGH ST                                                                                  ALAMEDA           CA    94501‐1766
TRUST UA 03/18/97
DOUGLAS C MARTIN & CAROL MARTIN JT TEN           4656 TALON DR                                                                                 AUBURN            MI    48611‐8522
DOUGLAS C MCKNIGHT & LINDA L MCKNIGHT JT TEN     241 CENTRAL ST                                                                                FORESTVILLE       CT    06010‐6743

DOUGLAS C MCKNIGHT CUST MORGAN TAYLOR SUSCO 241 CENTRAL STREET                                                                                 BRISTOL           CT    06010‐6743
UGMA CT
DOUGLAS C MITCHELL                              9020 MAPLE AVE SW                                                                              TACOMA            WA    98499‐2126
DOUGLAS C MORIN                                 377 STATE PARK DR                                                                              BAY CITY          MI    48706‐1339
DOUGLAS C NECHANICKY & JACQUELINE NECHANICKY JT 1502 MAPLEVIEW DRIVE SW RR#5                                                                   COLUMBIA          MO    65202‐9569
TEN
DOUGLAS C PASLEY                                1232 ATLANTIC DR                                                                               BURLEY            ID    83318‐2195
DOUGLAS C PERRY                                 8121 RIDER AVE                                                                                 TOWSON            MD    21204‐1943
DOUGLAS C PRICER CUST NICHOLAS R PRICER UTMA OH 705 GRANVILLE RD                                                                               NEWARK            OH    43055‐2822

DOUGLAS C PROUT                                  208 1/2 BON AIR RD                                                                            LANSING           MI    48917‐2900
DOUGLAS C RADCLIFFE & ANN H RADCLIFFE JT TEN     3262 SOUREK RD                                                                                AKRON             OH    44333‐2716

DOUGLAS C RANNEY                                 125 SYLVESTER RD                                                                              FLORENCE          MA    01062‐9779
DOUGLAS C RICHARDSON                             30 UNION STREET                                                                               VERGENNES         VT    05491‐1233
DOUGLAS C ROBEY                                  3329 SOUTHDALE DR                                                                             AMES              IA    50010
DOUGLAS C SHAFNER                                2997 SUNDERLAND RD                                                                            LIMA              OH    45806‐9302
DOUGLAS C SHEWCHUCK                              7800 KINGSTON CT                                                                              CLARKSTON         MI    48348‐4193
DOUGLAS C SKOKNA                                 2041 CROWN RIDGE DR                                                                           KERRVILLE         TX    78028‐8900
DOUGLAS C SOLLENBERGER                           2925 LINDALE AVE                                                                              DAYTON            OH    45414‐5520
DOUGLAS C STERETT                                40679 VILLAGE WOOD DR                                                                         NOVI              MI    48375‐4467
DOUGLAS C TRAVIS                                 9292 STAGE RD                                                                                 ARKPORT           NY    14807‐9410
DOUGLAS C VAUGHN                                 2601 LOCUST LN                                                                                KOKOMO            IN    46902‐2955
DOUGLAS CARLEN                                   21832 CEDAR SPRINGS                                                                           TWAIN HARTE       CA    95383‐9610
DOUGLAS CHATMAN                                  130 FENNER AVE                                                                                MIDDLETOWN        RI    02842‐1426
DOUGLAS CLARENCE HOYT SR                         1885 FM 2673 31                                                                               CANYON LAKE       TX    78133
DOUGLAS CLIFFORD HOFFMAN JR                      4389 OTISCO RD                                                                                TULLY             NY    13159‐9795
DOUGLAS COHN                                     14 TEANECK COURT                                                                              GAITHERSBURG      MD    20878
DOUGLAS COLLINS                                  4471 CATLIN RD                                                                                COLUMBIAVILLE     MI    48421‐8979
DOUGLAS CONLIN                                   6133 REGER DRIVE                                                                              LOCKPORT          NY    14094‐6303
DOUGLAS CONN                                     178 COGNEWAUGH ROAD                                                                           COS COB           CT    06807‐1504
DOUGLAS COPENHAVER CUST JOHN CHRISTOPHER         18331 RAIN CIRCLE                                                                             HUNTINGTON        CA    92648‐1076
COPENHAVER UGMA AZ                                                                                                                             BEACH
DOUGLAS CRAIG LANDEN                             467 N BASIN DR                                                                                NEGAUNEE          MI    49866‐9588
DOUGLAS CRAIG THOMPSON CUST DOUGLAS CRAIG JR     558 N SPANISH SORINGS DR                                                                      CHANDLER          AZ    85226‐2748
UGMA AZ
DOUGLAS CUMMINGS                                 RR 5                                 CLAREMONT ON                           L1Y 1A2 CANADA
DOUGLAS CURRY                                    13295 SEYMOUR ROAD                                                                            MONTROSE          MI    48457‐9772
DOUGLAS D ADKINS                                 3094 HAROLD DR                                                                                COLUMBIAVILLE     MI    48421‐8915
DOUGLAS D AUMAN                                  50 SKYLINE DR                                                                                 KIMBERLING CITY   MO    65686‐9658
DOUGLAS D BARLOND & DEREATHA BARLOND JT TEN      755 N KALAMAZOO AVE                                                                           MARSHALL          MI    49068‐1072

DOUGLAS D BETTS                                  2688 INDIAN MOUND S                                                                           BLOOMFIELD        MI    48301‐2256
DOUGLAS D BIAS                                   230 RAWLINGS DR                                                                               TONGANOXIE        KS    66086‐9326
DOUGLAS D COBURN & BARBARA COBURN JT TEN         1535 PARKVIEW AVE                                                                             SEAFORD           NY    11783‐1938
DOUGLAS D COOK                                   14541 SHERRY LANE                                                                             BATTLE CREEK      MI    49014‐8247
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DOUGLAS D CROUCH                                  6409 N AMORET AVE                                                                             KANSAS CITY       MO    64151‐4037
DOUGLAS D DEAN                                    5062 MOBILE DRIVE                                                                             FLINT             MI    48507‐3801
DOUGLAS D DELAMORE                                1249 DARTMOUTH DR                                                                             LIBERTY           MO    64068‐3349
DOUGLAS D DENNY                                   4411 GOLFVIEW DR                                                                              ANDERSON          IN    46011‐1612
DOUGLAS D DEPINA                                  121 TOMMY DR                                                                                  COLUMBIA          TN    38401‐2685
DOUGLAS D DODDS                                   PO BOX 510                                                                                    CAPITOLA          CA    95010‐0510
DOUGLAS D DUBY                                    32031 THORNCREST STREET                                                                       ST CLAIR SHRS     MI    48082‐1233
DOUGLAS D FIELDS                                  2784 KENILWORTH DR                                                                            ANN ARBOR         MI    48104‐4146
DOUGLAS D FITTON & KATHERINE A DODDS‐FITTON JT    23 CREST TERRACE                                                                              MOUNTVILLE        NJ    07045‐9313
TEN
DOUGLAS D FOURNIER                                308 NOBLE AVE                                                                                 LAKELAND          FL    33815‐3736
DOUGLAS D GILMER                                  220 CENTER ST                                                                                 CLIO              MI    48420‐1114
DOUGLAS D HISE                                    3657 GREENS MILL RD                                                                           SPRING HILL       TN    37174‐2127
DOUGLAS D KENNEDY                                 22499 VIOLET                                                                                  FARMINGTON        MI    48336‐4259
DOUGLAS D MCLENNAN                                3523 E BEARD RD                                                                               MORRICE           MI    48857‐9732
DOUGLAS D MILLS & MARTHA L MILLS JT TEN           550 FAIRWAY DRIVE                                                                             ALEXANDER CITY    AL    35010‐6225
DOUGLAS D MOORE                                   2416 CHESTNUT BND                                                                             HOWELL            MI    48855‐6403
DOUGLAS D NOUSE & MARTHA C NOUSE JT TEN           857 KENNESAW                                                                                  BIRMINGHAM        MI    48009‐5720
DOUGLAS D REED CUST MELISSA DALTON REED UTMA      721 ARROYO RD                                                                                 LOS ALTOS         CA    94024‐3111
CA
DOUGLAS D RITTER                                  11836 SHALLOWBROOK                                                                            ST LOUIS          MO    63146‐4729
DOUGLAS D RUSSELL                                 144 JAMIE LANE                                                                                DUNDEE            MI    48131‐1395
DOUGLAS D SCHERTZ CUST STEVEN A SCHERTZ UTMA IL   105 EDGEWOOD AVE                                                                              CRYSTAL LAKE      IL    60014‐5227

DOUGLAS D SMITH                                   1100 TISDALE RD                                                                               ROSCOMMON         MI    48653‐8301
DOUGLAS D STANGELAND                              1327 59TH ST                                                                                  DOWNERS GROVE     IL    60516‐1202
DOUGLAS D VITCENDA                                109 FIRST STREET                                                                              ONTARIO           WI    54651‐6516
DOUGLAS D WATTS                                   7 ALTHEA LN                                                                                   METAIRIE          LA    70005‐4527
DOUGLAS DARNELL                                   PO BOX 123                                                                                    MOUNT PLEASANT    MI    48804‐0123

DOUGLAS DAVIS WILLIAMS 3RD                        C/O LINDA LAYNSWORTH‐KRUEGER         2557 CEDAR DELL LN                                       KINSTON           NC    28504
DOUGLAS DE WAYNE ANDERSON & ORVILLE D             139 CONVENAUT LAKE ROAD                                                                       GREENVILLE        PA    16125‐9406
ANDERSON JT TEN
DOUGLAS DER YUEN                                  10 ELDORADO BEACH CLUB DR                                                                     MERCER ISLAND     WA    98040‐3131
DOUGLAS DIENER CUST JOHN DIENER UTMA TX           1318 GLENHAVEN DR                                                                             ABILENE           TX    79603
DOUGLAS DRURY                                     1500 ASH                                                                                      ST HELEN          MI    48656‐9438
DOUGLAS DVANE BROWNLEY                            7840 RAILSIDE RD                                                                              BYRON CENTER      MI    49315
DOUGLAS E AGEE                                    3210 E SECOND ST                                                                              DAYTON            OH    45403‐1344
DOUGLAS E ANDERSEN                                8171 TWINN LAKE RD NE                                                                         MANCELONA         MI    49659‐9504
DOUGLAS E AUSTIN                                  685 WEST SPRING DR                                                                            DOUGLASVILLE      GA    30134‐3943
DOUGLAS E BARRETT                                 617 IMY LANE                                                                                  ANDERSON          IN    46013‐3870
DOUGLAS E BUCK                                    1775 E CLINTON TRAIL RTE 3                                                                    CHARLOTTE         MI    48813‐8300
DOUGLAS E BUGENHAGEN                              1312 RANSON RD                                                                                LANCASTER         NY    14086‐9743
DOUGLAS E CABASIN                                 2334 MARGARITA DR                                                                             THE VILLAGES      FL    32159‐2234
DOUGLAS E CARNES III                              1911 VALLEY DR                                                                                CANYON LAKE       TX    78133‐4134
DOUGLAS E CASPER                                  4549 HUNTINGTON BLVD                                                                          HOFFMAN ESTATES   IL    60192

DOUGLAS E CORDLE                                  BOX 530                                                                                       ALLEN             KY    41601‐0530
DOUGLAS E CRAGER                                  1938 C R 60                                                                                   AUBURN            IN    46706‐9569
DOUGLAS E CRUVER                                  89 ELMTREE                                                                                    ORCHARD PARK      NY    14127‐4234
DOUGLAS E DATZ                                    14970 TOWNSHIP ROAD 412                                                                       THORNVILLE        OH    43076‐8962
DOUGLAS E DOUGHERTY & JAN M DOUGHERTY JT TEN      1512 S 22ND ST                                                                                SAINT JOSEPH      MO    64507‐1335

DOUGLAS E DREW                                    574 GRANGE HALL                                                                               0RTONVILLE        MI    48462‐8882
DOUGLAS E DUCHARDT                                8119 PEMSWOOD ST                                                                              CHARLOTTE         NC    28277‐2804
DOUGLAS E EASTMAN                                 1352 OAK VIEW CIRCLE APT 102                                                                  ROHNERT PARK      CA    94928‐2998
DOUGLAS E ECKERDT                                 1009 TAHOE DR                                                                                 MODESTO           CA    95350‐3439
DOUGLAS E ESTEP                                   5920 PENELOPE DR                                                                              HAMILTON          OH    45011‐2214
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DOUGLAS E EVANS CUST BRYAN DAVID EVANS UGMA IN 713 FOXWOOD DR                                                                                           LAFAYETTE         IN    47905‐8786

DOUGLAS E FEATHERSTONE                         3598 SAHALEE DRIVE                                                                                       ROCHESTER HILLS   MI    48309‐4705
DOUGLAS E FITZGERALD                           PO BOX 153                           109 TRAMBLAY         SAINTE ANNE DE BELLEVUE QC   H9X 3L2 CANADA
DOUGLAS E FROST & CYNTHIA S FROST JT TEN       51005 LYNNDALE LANE                                                                                      ELMA              NY    14059
DOUGLAS E GILBERT                              433 DIVISION ST                                                                                          UNION CITY        MI    49094‐1021
DOUGLAS E GRAHAM                               10892 W THUNDERBIRD BLVD                                                                                 SUN CITY          AZ    85351‐2652
DOUGLAS E GULLION                              702 KNOLLWOOD LANE                                                                                       GREENTOWN         IN    46936‐9429
DOUGLAS E HALE                                 14492 ROBSON RD                                                                                          BATH              MI    48808‐9711
DOUGLAS E HALL & KATHLEEN E HALL JT TEN        7826 WOODGLEN DRIVE                                                                                      WEST CHESTER      OH    45069‐5831
DOUGLAS E HAZEL TR 08/09/94 ALEXANDER D HAZEL  C/O HAZEL CONCEPTS                   BOX 1879                                                            WASHINGTON        MO    63090
TRUST
DOUGLAS E HAZEL TR 08/09/94 KRISTOPHER O HAZEL C/O HAZEL CONCEPTS                   BOX 1879                                                            WASHINGTON        MO    63090‐0839
TRUST
DOUGLAS E HOOVER                               3746 WEST COMMERCE ROAD                                                                                  MILFORD           MI    48380‐3108
DOUGLAS E HUDSON                               7100 SAYRE DR                                                                                            OAKLAND           CA    94611‐1431
DOUGLAS E JOHNSTON                             24 WINDSOR RD                                                                                            WILM              DE    19809‐2145
DOUGLAS E JONES                                3713 GLENEAGLE DR                                                                                        MURRYSVILLE       PA    15668‐1021
DOUGLAS E KENDRICK                             4175 DEFOORS FARM DR                                                                                     POWDER SPGS       GA    30127‐4078
DOUGLAS E KENT                                 PO BOX 341                                                                                               KINDE             MI    48445‐0341
DOUGLAS E KING & JUDITH A KING JT TEN          25 GRAND VIEW RD                                                                                         BOW               NH    03304‐3405
DOUGLAS E LASH                                 3392 CARSON SALT SPRING RD                                                                               WARREN            OH    44481
DOUGLAS E LEWIS                                PO BOX 1910                          ST GEORGES SCHOOL                                                   NEWPORT           RI    02840‐0910
DOUGLAS E LOWERY                               18985 PRAIRIE ST                                                                                         DETROIT           MI    48221‐2135
DOUGLAS E LUKONEN                              4875 PYLES ROAD                                                                                          CHAPEL HILL       TN    37034‐2657
DOUGLAS E MANEVAL                              408 KENT DR                                                                                              MECHANICSBURG     PA    17055‐5529
DOUGLAS E MANEVAL & CANDICE M MANEVAL TEN ENT 408 KENT DRIVE                                                                                            MECHINCSBURG      PA    17055‐5529

DOUGLAS E MARK                                  2152 CHEVYCHASE DRIVE                                                                                   DAVISON           MI    48423‐2004
DOUGLAS E MARK & LINDA J MARK JT TEN            2152 CHEVYCHASE DRIVE                                                                                   DAVISON           MI    48423‐2004
DOUGLAS E MAXWELL & MICKI MAXWELL JT TEN        21 W078 SHELLEY DRIVE                                                                                   ITASCA            IL    60143‐1913
DOUGLAS E MCPHERSON                             431 E HEARNE WY                                                                                         GILBERT           AZ    85234‐6439
DOUGLAS E MILES                                 2203 DEL RAY COURT                                                                                      ARLINGTON         TX    76013‐5241
DOUGLAS E MILLER                                PO BOX 160                                                                                              CORFU             NY    14036‐0160
DOUGLAS E MILLER                                72 VIRGINIA PARK RD                                                                                     WHEELING          WV    26003‐4640
DOUGLAS E MILLER & DONNA M MILLER JT TEN        3330 CLARICE AVE                                                                                        E HIGHLAND        MI    48356
DOUGLAS E OPEL                                  6130 SMOCK STREET                                                                                       INDIANAPOLIS      IN    46227‐2151
DOUGLAS E PATTERSON                             5373 SUNNYSIDE                                                                                          CLARKSTON         MI    48346‐3962
DOUGLAS E PEGORS                                3106 S 273RD ST                                                                                         AUBURN            WA    98001‐1800
DOUGLAS E PEOPLES                               11820 KAEDING                                                                                           ROMEO             MI    48065‐4408
DOUGLAS E PERDUE                                3571 FISCHER RD                                                                                         CLARKSVILLE       OH    45113‐9467
DOUGLAS E PETERSON                              1902 MYRA                                                                                               JANESVILLE        WI    53545‐0156
DOUGLAS E PLUMMER                               13737 THORNTON                                                                                          DETROIT           MI    48227‐3084
DOUGLAS E POWELL                                2923 PINE SPRING ROAD                                                                                   FALLS CHURCH      VA    22042‐1339
DOUGLAS E PRICE                                 220 PARKER DR                                                                                           SPRINGBORO        OH    45066‐1338
DOUGLAS E RINARD                                20 LORETTA ST                                                                                           TONAWANDA         NY    14150‐3410
DOUGLAS E SELDEN                                1104 11TH CT                                                                                            JUPITER           FL    33477‐9017
DOUGLAS E SMITH & BETTY L SMITH JT TEN          4210 N VASSAR                                                                                           FLINT             MI    48506‐1739
DOUGLAS E SPENCER                               3200 NATALIE WA                                                                                         BANDON            OR    97411‐8829
DOUGLAS E STEELE                                15 DALE AVE                                                                                             SHELBY            OH    44875‐1318
DOUGLAS E STEVENSON                             PO BOX 687                                                                                              LUDINGTON         MI    49431‐0687
DOUGLAS E STEVERMER & MRS VIVIAN C STEVERMER JT N812 HUNDER COULEE RD                                                                                   STODDARD          WI    54658
TEN
DOUGLAS E STEWART                               3895 SHIPLEY RD                                                                                         COOKEVILLE        TN    38501‐0709
DOUGLAS E TABER                                 PSC 558 BOX 3786                                                                                        FPO               AP    96375
DOUGLAS E TURNER                                2461 TANDY DR                                                                                           FLINT             MI    48532‐4961
DOUGLAS E VANDEHEY                              46530 NW STROHMAYER RD                                                                                  FOREST GROVE      OR    97116‐8213
DOUGLAS E VERRAN                                1109 LASALLE                                                                                            BURTON            MI    48509‐2341
DOUGLAS E WAGNER                                C/O BETTY WAGNER MCNEES             1415 LYNN STREET                                                    OWOSSO            MI    48867‐3337
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DOUGLAS E WELDON                              9277 GREYSTONE RD                                                                             KALAMAZOO       MI    49009
DOUGLAS E WICKSTROM                           117 S GENESSEE                                                                                BELLAIRE        MI    49615‐9602
DOUGLAS E WILLIAMS                            10123 N BIG SCHOOL LOT LAKE RD                                                                HOLLY           MI    48442‐8695
DOUGLAS E WITTUM & BONNIE L WITTUM & LUKE R   1211 JACKSON DRIVE                                                                            OWOSSO          MI    48867
WITTUM JT TEN
DOUGLAS EARL MAXWELL                          21 W078 SHELLEY DRIVE                                                                         ITASCA          IL    60143‐1913
DOUGLAS EDMUND BROWN                          85 LOVERS LANE                                                                                EAST LYME       CT    06333‐1517
DOUGLAS ERNEST COURSEY                        4001 NW COUNT ROAD 12                                                                         CORSICANA       TX    75110‐0355
DOUGLAS EVAN REED                             721 ARROYO RD                                                                                 LOS ALTOS       CA    94024‐3111
DOUGLAS EWING                                 900 W MCDONALD ST                                                                             SEYMOUR         IN    47274
DOUGLAS F A MEDER                             1700 LONGMEADOW DR                                                                            GLENVIEW        IL    60026‐1549
DOUGLAS F A MEDER CUST MICHAEL ANTHONY MEDER 1700 N LONGMEADOW DR                                                                           GLENVIEW        IL    60025‐1549
UGMA IL
DOUGLAS F A MEDER CUST PAUL GERARD MEDER UGMA 1700 LONGMEADOW DR                                                                            GLENVIEW        IL    60025‐1549
IL
DOUGLAS F BELL & DONNA D BELL JT TEN          1604 LADY BOWERS TRAIL                                                                        LAKELAND        FL    33809‐5017
DOUGLAS F BROWN                               8309 MESA ROAD                                                                                SANTEE          CA    92071‐3529
DOUGLAS F CARTONA                             12 ROCKY ROAD WEST                                                                            HARWINTON       CT    06791‐2912
DOUGLAS F COMBS                               6025 HANKINS RD                                                                               MIDDLETOWN      OH    45044‐9117
DOUGLAS F CORDIS                              705 LONGMEADOW ST                                                                             LONGMEADOW      MA    01106‐2238
DOUGLAS F DALTON                              6041 LYNBROOK LN                                                                              MADISON         WI    53719‐3105
DOUGLAS F ENGLER                              1432 S SEYMOUR RD                                                                             FLINT           MI    48532‐5513
DOUGLAS F GIBBONS                             3 KRISTINA STREET                                                                             E PATCHOGUE     NY    11772‐4595
DOUGLAS F JOHNSTONE                           2080 PLUMMER ROAD                                                                             MARTINSVILLE    IN    46151‐7996
DOUGLAS F KENT JR                             119 CENTER AVE                                                                                LEONARDO        NJ    07737‐1114
DOUGLAS F LONG                                14981 RD 209                                                                                  DEFIANCE        OH    43512‐8352
DOUGLAS F MARASCO                             519 WILLOW DRIVE                                                                              UTICA           NY    13502
DOUGLAS F MISCHER                             3889 COUNTY ROAD 387                                                                          HALLETTSVILLE   TX    77964
DOUGLAS F MOORE                               10265 E POTTER RD                                                                             DAVISON         MI    48423‐8110
DOUGLAS F PHILLIP                             30042 12TH LANE SW                                                                            FEDERAL WAY     WA    98023‐3448
DOUGLAS F RICHWINE                            3162 E 234                                                                                    GREENFIELD      IN    46140‐9027
DOUGLAS F ROBINSON                            206 ANN AVE                                                                                   PENDLETON       IN    46064‐9110
DOUGLAS F ROSS                                3047 TOWNLINE RD                                                                              AUBURN          NY    13021‐1151
DOUGLAS F SKINNER                             6523 MAUNA LOA DR                                                                             DIAMOND HEAD    MS    39525‐3474
DOUGLAS F SKINNER & JOLYCE M SKINNER JT TEN   6523 MAUNA LOA DR                                                                             DIAMONDHEAD     MS    39525‐3474
DOUGLAS F WEBER                               877 HARBOR RD                                                                                 MILTON          WI    53563‐9621
DOUGLAS F WEIS                                6 TURNER PLACE                                                                                ALBANY          NY    12209‐1124
DOUGLAS F WESCH                               485 RIVARD                                                                                    WATERFORD       MI    48327‐2665
DOUGLAS FISK                                  4143 N 52ND PLACE                                                                             PHOENIX         AZ    85018‐4443
DOUGLAS FOLGER                                1953 CLIFTON TURNPIKE                                                                         WAYNESBORO      TN    38485‐5904
DOUGLAS FORD ROWAN                            48 MEADOW BROOKE LN                                                                           ORMOND BCH      FL    32174‐9270
DOUGLAS FORREST                               157 LORING AVENUE                                                                             PELHAM          NY    10803‐2013
DOUGLAS FRANK GARNER                          3310 KNOLLS PKWY                                                                              IJAMSVILLE      MD    21754‐9037
DOUGLAS FRAZIER                               6815 RILEY PARK DR                                                                            FORT SMITH      AR    72916
DOUGLAS FULLWOOD                              5222 S KING DR                                                                                CHICAGO         IL    60615‐3537
DOUGLAS G ARMSTEAD                            25440 CATALINA ST                                                                             SOUTHFIELD      MI    48075‐1791
DOUGLAS G ARNOLD                              118 GRAY BUCK RD                                                                              FRANKLINVILLE   NY    14737‐9581
DOUGLAS G ASHLEY TR UA 03/12/2003 DOUGLAS G   872 DURSLEY RD                                                                                BLOOMFIELD      MI    48304
ASHLEY TRUST
DOUGLAS G AUSTIN                              1029 LEE STREET                                                                               FENTON          MI    48430‐1501
DOUGLAS G BAIRD                               4257 BABSON PARK PL                                                                           BATAVIA         OH    45103‐2582
DOUGLAS G BALAN & SUE BALAN JT TEN            2204 HARWOOD                                                                                  ROYAL OAK       MI    48067‐4069
DOUGLAS G BLAIR                               16735 RD 143                                                                                  CECIL           OH    45821‐9541
DOUGLAS G BROWN                               88 PARK AVE                                                                                   ALBION          PA    16401‐1906
DOUGLAS G CAMPBELL                            123 ABBINGTON CIR                                                                             BATTLE CREEK    MI    49015‐9624
DOUGLAS G ESCH & JILL D ESCH JT TEN           6387 LODI LN                                                                                  SALINE          MI    48176‐8800
DOUGLAS G FRANKLIN                            1726 DORCHESTER DR                                                                            OKLAHOMA CITY   OK    73120‐1006
DOUGLAS G FRANZ & KATHLEEN L FRANZ JT TEN     3980 S M‐52                                                                                   OWOSSO          MI    48867‐9240
DOUGLAS G GEISER                              123 E HAMTON RD                                                                               BINGHAMTON      NY    13903‐3112
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DOUGLAS G GRANDIN JR                              19 NATHAN RD                                                                                         MANSFIELD        MA   02048‐3257
DOUGLAS G HALLIDAY                                81 STONETREE CIRCLE                                                                                  ROCHESTER HILLS  MI   48309‐1137
DOUGLAS G HALLIDAY                                81 STONETREE CIRCLE                                                                                  ROCHESTER HLS    MI   48309‐1137
DOUGLAS G HALLIDAY                                36086 CONGRESS                                                                                       FARMINGTON HILLS MI   48335

DOUGLAS G HAVERSTOCK                              300 CRESTVIEW RD                                                                                     HOUGHTON LAKE   MI    48629‐9108
DOUGLAS G HEYER                                   27128 LENOX                                                                                          MADISON HEIGHTS MI    48071‐3119

DOUGLAS G HORNER                                  642 TWICKENHAM RD                                                                                    GLENSIDE        PA    19038‐2035
DOUGLAS G HOULIHAN                                PO BOX 9022                                                                                          WARREN          MI    48090‐9022
DOUGLAS G KIMLER                                  8720 COOLEY BEACH DR                                                                                 UNION LAKE      MI    48386‐4321
DOUGLAS G MCDOWELL                                240 BLUE HERON DRIVE                 OSHAWA ON                                     L1G 6X9 CANADA
DOUGLAS G MOORE                                   777 MARTINDALE RD PO BX 333                                                                          MILFORD         MI    48381‐0333
DOUGLAS G PACYNE & LEONARD J PACYNE JT TEN        2706 BARTH                                                                                           FLINT           MI    48504‐7369
DOUGLAS G ROWE                                    4746 HADDINGTON DR                                                                                   TOLEDO          OH    43623‐3958
DOUGLAS G STEISS                                  P O BOX 72033                        BURNABY BC                                    V5H 4P9 CANADA
DOUGLAS G TOLER                                   2442 BAYWOOD ST                                                                                      DAYTON          OH    45406‐1407
DOUGLAS G WARREN                                  1724 34 STREET S W                                                                                   WYOMING         MI    49509‐3311
DOUGLAS G WHITE                                   2422 HERRING WOODS TRL                                                                               GRAYSON         GA    30017‐4093
DOUGLAS GARRARD STINSON                           PO BOX 8928                                                                                          EMERYVILLE      CA    94662‐8928
DOUGLAS GEORGE MARTIN                             32 HIGHLAND AVE                      FORT ERIE ON                                  L2A 2X5 CANADA
DOUGLAS GILMAN CUST BARBARA ELIZABETH GILMAN      6 SORRENTO COURT                                                                                     MILLER PLACE    NY    11764‐2651
UGMA CA
DOUGLAS GLANVILLE & WANETIAK GLANVILLE JT TEN     729 BEAR GAP RD                                                                                      CLEARVILLE      PA    15535‐8354

DOUGLAS GLENN BAIRD & MARIA ISABEL BAIRD JT TEN   4257 BABSON PARK PL                                                                                  BATAVIA         OH    45103‐2582

DOUGLAS GOODRICH & ANNE K GOODRICH JT TEN         168 WOODFIELD CROSSING                                                                               ROCKY HILL      CT    06067‐2906

DOUGLAS GOODRICH & MRS MARGARET GOODRICH JT       168 WOODFIELD CROSSING                                                                               ROCKY HILL      CT    06067‐2906
TEN
DOUGLAS GOODWIN                                   PO BOX 2308                                                                                          MUNCIE          IN    47307‐0308
DOUGLAS GR ELY                                    10321 HUMBOLT ST                                                                                     LOS ALAMITOS    CA    90720‐2223
DOUGLAS GRANT EICHENBERGER                        2554 W 16TH ST                       UNIT 429                                                        YUMA            AZ    85364‐4229
DOUGLAS GRAY CUST TRISTAN R GRAY UGMA MI          1402 EL PASO AV                                                                                      ORLANDO         FL    32806‐2513
DOUGLAS H ANDERSON                                11 BUSINESS PARK DR                                                                                  BRANFORD        CT    06405‐2926
DOUGLAS H AYLES                                   2450 DEVINE ROAD                                                                                     NASHVILLE       MI    49073‐9735
DOUGLAS H BREWER                                  2912 SAGITTARIUS DR                                                                                  RENO            NV    89509
DOUGLAS H CALDWELL                                PO BOX 1704                                                                                          MANSFIELD       OH    44901‐1704
DOUGLAS H CHAPPEL & STEPHEN B CHAPPEL JT TEN      2891 RTE 22                                                                                          PATTERSON       NY    12563‐2228

DOUGLAS H CHRISTIE                                746 MERRY OAK LN                                                                                     MINERAL         VA    23117‐2707
DOUGLAS H COLLINS JR                              9960WINONA ST                                                                                        WESTMINISTER    CO    80030‐2528
DOUGLAS H DOUTY CUST SEAN M DOUTY UGMA NJ         C/O THE NORTHERN TRUST CO            50 SOUTH LA SALLE ST   TRUST SECURITIES DIV                     CHICAGO         IL    60603‐1006

DOUGLAS H DRESSEN                                 9241 PEQUAYWAN LAKE RD                                                                               DULUTH          MN    55803‐9775
DOUGLAS H FERNSLER                                5317 MULLIKEN RD                                                                                     CHARLOTTE       MI    48813‐8890
DOUGLAS H FINKE                                   3240 COLONY HILL LN                                                                                  COLUMBUS        OH    43204‐2102
DOUGLAS H GRAVELLE                                8234 ANCHOR BAY DR                                                                                   CLAY            MI    48001‐3501
DOUGLAS H GRIFFITH & ELSIE M GRIFFITH JT TEN      1800 S RUNDLE AVE                                                                                    LANSING         MI    48910‐9028
DOUGLAS H HALL                                    302 CONAN GARDENS ST SW                                                                              DECATUR         AL    35603‐1682
DOUGLAS H HANNAH                                  3301 FAIRWAY DRIVE                                                                                   KETTERING       OH    45409‐1215
DOUGLAS H JENKINS CUST DONNA L JENKINS UGMA       300 STOCKER DR APT 131                                                                               RICHMOND        KY    40475‐4300

DOUGLAS H JOHNSON                                 7340 SOUTHDALE                                                                                       BRIGHTON        MI    48116‐9151
DOUGLAS H JONES                                   2091 LAKESHIRE DR                                                                                    WEST BLOOMFIELD MI    48323‐3838

DOUGLAS H KANATZAR                                348 EAGLE GLEN LANE                                                                                  EAGLE           ID    83616‐4940
DOUGLAS H KEATING                                 142 BARBADOS                                                                                         CHEEKTOWAGA     NY    14227‐2506
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DOUGLAS H LACY                                   422 GLENPARK DRIVE                                                                             NASHVILLE         TN    37217‐2406
DOUGLAS H MAC KENZIE & KATHY L MAC KENZIE JT TEN 43350 CR‐27                                                                                    COSHOCTON         OH    43812‐9589

DOUGLAS H MARCERO & MARJORIE MARCERO JT TEN       10503 BARBARA LN                                                                              RICHMOND          VA    23233‐2064

DOUGLAS H MARSHALL CUST ELEANOR JANE MARSHALL 705 OLIVE ST                             SUITE 804                                                SAINT LOUIS       MO    63101‐2210
UTMA MO
DOUGLAS H MCAFEE                              1827 W 4TH ST                                                                                     PRESCOTT          MI    48756‐8602
DOUGLAS H MOORE                               4607 BRODY DR                                                                                     CULLEOKA          TN    38451‐3135
DOUGLAS H MOORE JR & CAMILLA G MOORE JT TEN   21415 RIDGECROFT DR                                                                               BROOKEVILLE       MD    20833‐1820

DOUGLAS H ROEHM                                   1686 APPLE RIDGE CRT                                                                          ROCHESTER HILLS   MI    48306‐3200
DOUGLAS H ROMINE                                  3809 TAHQUITZ                                                                                 ST LOUIS          MO    63125‐3413
DOUGLAS H SHERMAN                                 3009 W MONROE RD                                                                              TIPTON            MI    49287‐9511
DOUGLAS H SNYDER                                  189 ANDREA DR                                                                                 VACAVILLE         CA    95687‐5710
DOUGLAS H STALLWORTH                              1464 APPLE CREEK TRL                                                                          GRAND BLANC       MI    48439‐4962
DOUGLAS H STEELE                                  15705 CHESTNUT                                                                                ROSEVILLE         MI    48066‐5208
DOUGLAS H STEEN                                   926 MAITLAND DR                                                                               LOCKPORT          IL    60441‐3715
DOUGLAS H SUMMERFORD                              2415 MEADOWBROOK DR                                                                           VALDOSTA          GA    31602‐1224
DOUGLAS H SYSOL                                   13101 HADLEY RD                                                                               GREGORY           MI    48137‐9725
DOUGLAS H TIDWELL                                 1224 WILSHIRE DR                                                                              ALEXANDRIA        LA    71303‐3140
DOUGLAS H TRASK                                   14455 N CHOCTAW DRIVE                                                                         TUCSON            AZ    85737‐9149
DOUGLAS H TRENDELL                                9 EDWARDS DRIVE                                                                               WRIGHTSTOWN       NJ    08562‐1910
DOUGLAS H WILKINSON III                           BOX 1088                                                                                      SANFORD           NC    27331‐1088
DOUGLAS H WRIGHT CUST ALEXANDER H WRIGHT          909 PRINCESS DOREEN DRIVE                                                                     LEXINGTON         KY    40509‐4470
UTMA KY
DOUGLAS HAMPTON                                   HC 75 BOX 745                                                                                 VANCEBURG         KY    41179‐9000
DOUGLAS HANDLER CUST ELIZABETH CAHILL HANDLER     1916 CHALMERS DR W                                                                            ROCHESTER HILLS   MI    48309‐1848
UGMA NY
DOUGLAS HANDLER CUST ELIZABETH CAHILL HANDLER     1916 CHALMERS DR W                                                                            ROCHESTER HLS     MI    48309‐1848
UTMA NY
DOUGLAS HANDLER CUST ELIZABETH CAHILL HANDLER     1916 CHALMERS DR                                                                              ROCHESTER HILLS   MI    48309‐1848
UTMA NY
DOUGLAS HARVEY                                    4232 VERMONT                                                                                  LONG BEACH        CA    90814‐2946
DOUGLAS HENNEL CUST BRIAN D HENNEL UGMA NY        342 VANDENBURGH POINT RD                                                                      GLOVERSVILLE      NY    12078‐6877

DOUGLAS HENRI KAHN CUST HOWARD MICHAEL KAHN       24674 N 108TH WAY                                                                             SCOTTSDALE        AZ    85255‐8083
UGMA MI
DOUGLAS HENRY ELLIS                               PO BOX 83043                                                                                  OKLAHOMA CITY     OK    73148‐1043
DOUGLAS HENRY ROEHL                               419 SCENIC DR                                                                                 SAINT PETERS      MO    63376‐2278
DOUGLAS HERBERT                                   84 PARKWAY DRIVE                     ST CATHARINES ON                       L2M 4J3 CANADA
DOUGLAS HIGH                                      1554 CROSSWINDS DR                                                                            INDEPENDENCE      KY    41051
DOUGLAS HILLMAN & JUDITH HILLMAN JT TEN           1271 PRIMROSE LANE                                                                            ESSEXVILLE        MI    48732‐1554
DOUGLAS HIRT                                      4940 SPLITRAIL DR                                                                             COLORADO SPGS     CO    80917‐1720
DOUGLAS HO CUST EASTMAN TUNG HO UTMA CA           PO BOX 60695                                                                                  SUNNYVALE         CA    94088‐0695
DOUGLAS HOFSESS                                   4475 NOAH MARTIN RD                                                                           GAINESVILLE       GA    30507‐7763
DOUGLAS HOM & MRS BARBARA HOM JT TEN              66 APTOS AVE                                                                                  SF                CA    94127‐2519
DOUGLAS HOWARD DOAN                               8298 E BRISTOL RD                                                                             DAVISON           MI    48423‐8767
DOUGLAS I FALES                                   110 YALE ST                                                                                   OLIVET            MI    49076‐9456
DOUGLAS I FALES & DONNA E FALES JT TEN            110 YALE ST                                                                                   OLIVET            MI    49076‐9456
DOUGLAS I FOY & LEONIE B FOY JT TEN               BOX 15                                                                                        SHERBORN          MA    01770‐0015
DOUGLAS I HANSON & KAREN J HANSON TR HANSON       402 N GARDEN CT                                                                               PLATTEVILLE       CO    80651‐7538
LIVING TRUST UA 7/2/01
DOUGLAS I RELYEA & MARY L RELYEA TR UA 12/29/06   25 BROOKWOOD RD                                                                               BETHANY           CT    06524
RELYEA FAM LIV TRUST
DOUGLAS J ABERCROMBIE                             1009 WESTCHESTER DRIVE                                                                        NEW ALBANY        IN    47150‐9227
DOUGLAS J BARR                                    46354 DONAHUE AVE                                                                             MACOMB            MI    48044‐3422
DOUGLAS J BEGGS                                   205 N MAIN ST                                                                                 PLAINFIELD        WI    54966‐9573
DOUGLAS J BENEDICT                                959 E RIVER ROAD                                                                              GRAND ISLAND      NY    14072‐2845
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DOUGLAS J BENSON                                   234 COUNTY RD 27 RR#                  1 COTTAM ON                            N0R 1B0 CANADA
DOUGLAS J BERRY                                    2940 FINGERS DRIVENE                                                                           GRAND RAPIDS       MI    49505‐6847
DOUGLAS J BESTEMAN                                 13322 42ND AVENUE                                                                              MARNE              MI    49435‐9724
DOUGLAS J BRILL                                    1782 WEST RIDGE                                                                                ROCHESTER          MI    48306‐3273
DOUGLAS J BROUWER & SALLY M BROUWER JT TEN         3712 HIGHCLIFF CT                                                                              SHEBOYGAN          WI    53083‐3017

DOUGLAS J BROWN                                    454 COUNTRYSIDE DR                                                                             NAPLES            FL     34104‐6722
DOUGLAS J BURGESS                                  202 HARVARD AVE                                                                                TERRACE PARK      OH     45174‐1112
DOUGLAS J CALDWELL                                 1776 SEVERN                                                                                    GROSSE POINTE     MI     48236‐1996
                                                                                                                                                  WOOD
DOUGLAS J CAMERON                               6065 SUNNYDALE                                                                                    CLARKSTON         MI     48346‐2343
DOUGLAS J CARPENTER & PAMELA S CARPENTER JT TEN 3855 LYTLE RD                                                                                     BAINBRIDGE ISLAND WA     98110‐3206

DOUGLAS J CARRIER                                  26 AUBURN ST                                                                                   BRISTOL            CT    06010‐2272
DOUGLAS J COFFIELD                                 9 MACARTHUR PL                        UNIT 1602                                                SANTA ANA          CA    92707‐6749
DOUGLAS J COOK                                     30910 PRESTWICK CROSSING                                                                       WESTLAKE           OH    44145‐5090
DOUGLAS J CRARY                                    78 BORMAN                                                                                      FLUSHING           MI    48433‐9239
DOUGLAS J CROZIER                                  22823 LAKESHORE DR                                                                             ST CLAIR SHRS      MI    48080‐2580
DOUGLAS J CULHANE                                  3040 FIELD RD                                                                                  CLIO               MI    48420‐1151
DOUGLAS J CUMMINGS                                 R R #5                                CLAREMONT ON                           L1Y 1A2 CANADA
DOUGLAS J CUMMINGS                                 RR#5                                  CLAREMONT ON                           L1Y 1A2 CANADA
DOUGLAS J CUMMINGS                                 RR # 5                                4750 SIDELINE #12    CLAREMONT ON      L1Y 1A2 CANADA
DOUGLAS J DE COOK                                  47420 SAVANNAH DR                                                                              MACOMB             MI    48044‐2796
DOUGLAS J DEWITT                                   PO BOX 202                                                                                     MILTON             WI    53563‐0202
DOUGLAS J DORSEY                                   4 N SHADOW WOOD DR                                                                             INVERNESS          FL    34450‐1451
DOUGLAS J DRAGO                                    210 HUMPHREY ROAD                                                                              SCOTTSVILLE        NY    14546‐9619
DOUGLAS J EAST                                     1602 CINDY LN                                                                                  CLEBURNE           TX    76031‐6550
DOUGLAS J ELLIOTT & KATHRYN A ELLIOTT JT TEN       326 RIVERSHORE DR                                                                              CLAYTON            NY    13624‐2105
DOUGLAS J FISCHER                                  4945 SPRING PARK CIR                                                                           SUWANEE            GA    30024‐7347
DOUGLAS J FLEISHER                                 100 MANHATTAN AVE                     APT 406S                                                 UNION CITY         NJ    07087‐5221
DOUGLAS J FORD                                     BOX 96                                                                                         WAVERLY            PA    18471‐0096
DOUGLAS J GARNER                                   6606 WILLOW DALE COURT                                                                         HAMILTON           OH    45011‐9078
DOUGLAS J GEESEY                                   936 EASTGATE COURT                                                                             FRANKENMUTH        MI    48734‐1246
DOUGLAS J GELDORF                                  3746 MARION WALWORTH RD                                                                        MARION             NY    14505
DOUGLAS J GOIMARAC                                 2664 BLUE HERRON DR                                                                            HUDSON             OH    44236
DOUGLAS J GREIG                                    3880 E 364 ST                                                                                  WILLOUGHBY HILLS   OH    44094‐6319

DOUGLAS J HARVEY                                   11850 CLINTON RIVER ROAD                                                                       STERLING HEIGHTS   MI    48313‐2417

DOUGLAS J HARVEY & DOROTHY L HARVEY JT TEN         11850 CLINTON RIVER ROAD                                                                       STERLING HEIGHTS   MI    48313‐2417

DOUGLAS J HAYES                                    4500 CAIN COURT                                                                                FORT WORTH         TX    76103‐2730
DOUGLAS J HENRY                                    7389 IRONWOOD DR                                                                               SWARTZ CREEK       MI    48473‐9450
DOUGLAS J HERTZ CUST AMY JANE HERTZ A MINOR        UNITED DISTRIBUTORS INC               5500 UNITED DR                                           SMYRNA             GA    30082
UNDER THE LAWS OF GEORGIA
DOUGLAS J HEWETT                                   387 ROBYN DR                                                                                   CANTON             MI    48187‐3959
DOUGLAS J HUGHES                                   13950 MOUNT EATON RD                                                                           DOYLESTOWN         OH    44230‐9334
DOUGLAS J JAMIESON II TR DOUGLAS J JAMIESON II     8391 20TH AVE                                                                                  SEARS              MI    49679‐8048
TRUST NO 1 UA 11/19/97
DOUGLAS J KEEGAN                                   1315 EUCLID AVE                                                                                SYRACUSE           NY    13224‐1936
DOUGLAS J KILBORN                                  9410 RIDGE DR                                                                                  BROCKPORT          NY    14420‐9438
DOUGLAS J KLETKE                                   BOX 502                                                                                        ALVA               OK    73717‐0502
DOUGLAS J KNYSZ                                    231 PROSPECT                                                                                   ROCHESTER HILLS    MI    48307‐3854
DOUGLAS J KOSLOSKI                                 935 W STATE ROAD                                                                               LANSING            MI    48906‐1125
DOUGLAS J KRAAY                                    4625 LAKESIDE LN                                                                               MOUND              MN    55364‐1325
DOUGLAS J LAUBACKER                                2981 ROUTE 20A                                                                                 VARYSBURG          NY    14167‐9790
DOUGLAS J LAWRENCE                                 28419 COVE RIDGE DR                                                                            RANCHO PALOS       CA    90275‐4721
                                                                                                                                                  VERDE
DOUGLAS J LEVINE                                   406 CATO ST                                                                                    PITTSBURGH         PA    15213‐4410
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DOUGLAS J MACDONALD                              PO BOX 40041                                                                                   INDIANAPOLIS     IN    46240‐0041
DOUGLAS J MACLEAN                                21 CASS AVENUE                                                                                 DEDHAM           MA    02026‐2817
DOUGLAS J MARZEC                                 8080 ROSEVILLE LANE                                                                            E AMHERST        NY    14051‐1902
DOUGLAS J MILLER                                 8505 TARTAN DR                                                                                 HAYDEN LAKE      ID    83835‐8597
DOUGLAS J MOORE                                  1392 FIVE LAKES ROAD                                                                           GAYLORD          MI    49735‐9359
DOUGLAS J MOORE CUST CHAZ MOORE UGMA MI          1392 FIVE LAKES RD                                                                             GAYLORD          MI    49735‐9359
DOUGLAS J MUELDER ATTN CALIFORNIA INDUSTRIES INC PO BOX 1057                                                                                    VENTURA          CA    93002‐1057

DOUGLAS J OEN                                    1250 AGATE TR                                                                                  CENTERVILLE      OH    45459‐3920
DOUGLAS J PHILLIPS                               11333 VASSAR RD                                                                                OTISVILLE        MI    48463‐9427
DOUGLAS J PURCIFULL                              714 DALE DRIVE                                                                                 SILVER SPRING    MD    20910‐4267
DOUGLAS J REDFERN                                12906 BILMAR                                                                                   GRAND BLANC      MI    48439‐1511
DOUGLAS J REED                                   431 N MESQUITE ST                                                                              ARLINGTON        TX    76011‐7128
DOUGLAS J REED                                   8030 SAGINAW                                                                                   NEW LOTHROP      MI    48460‐9701
DOUGLAS J RITTER                                 3474 MANN RD                                                                                   CLARKSTON        MI    48346‐4033
DOUGLAS J ROGOWSKI                               4414 MILDRED                                                                                   WAYNE            MI    48184‐2204
DOUGLAS J ROLFE                                  1090 W MAIN                                                                                    VERNAL           UT    84078‐2314
DOUGLAS J ROWEN                                  295 RIVERVIEW DR                                                                               HUDSON           WI    54016‐8043
DOUGLAS J RUTTKOFSKY                             2058 CONKLIN DR                                                                                TECUMSEH         MI    49286‐9772
DOUGLAS J SCOTT                                  PO BOX 716                                                                                     LAKE CITY        MI    49651‐0716
DOUGLAS J SHAW & MARGARET J SHAW JT TEN          6782 AURORA                                                                                    TROY             MI    48098‐2080
DOUGLAS J SLACK                                  PO BOX 574                            4409 GREEN MOUNTAIN ROAD                                 KALAMA           WA    98625‐9734
DOUGLAS J SMENTKOWSKI                            103 DONALD                                                                                     JEFFERSON CITY   MO    65109‐0943
DOUGLAS J SMILLIE                                6178 WINDING RD                                                                                COOPERSBURG      PA    18036‐9408
DOUGLAS J SMITH & HAZEL SMITH JT TEN             14036 CONCORD DRIVE                                                                            ORLAND PARK      IL    60462‐2110
DOUGLAS J STARKWEATHER                           9104 W 131ST ST                                                                                OVERLAND PARK    KS    66213‐3088
DOUGLAS J STILES                                 2730 PINE HAVEN RD                                                                             LEWISTON         MI    49756
DOUGLAS J STREETT                                18 W 152 WILLOW LANE                                                                           DARIEN           IL    60559
DOUGLAS J TREMBA                                 4372 STONE MOUNTAIN DRIVE                                                                      GASTONIA         NC    28054
DOUGLAS J VAN BRUNT                              3609 ALBANS RD                                                                                 HOUSTON          TX    77005‐2109
DOUGLAS J VOSS                                   4484 HAMILTON WAY                                                                              GLADWIN          MI    48624‐8630
DOUGLAS J WALDREN                                2700 REO RD                                                                                    LANSING          MI    48911‐2948
DOUGLAS J YOCKEL                                 71 SHORT HILLS DR                                                                              HILTON           NY    14468‐1130
DOUGLAS JAMES FINN                               100 W 57TH ST                                                                                  NEW YORK         NY    10019‐3327
DOUGLAS JAMES KESSLER                            9944 GLASGOW CT                                                                                DUBLIN           OH    43017‐8903
DOUGLAS JASON YORDY                              2150 FAUST AVE                                                                                 LONG BEACH       CA    90815‐3303
DOUGLAS JENNINGS                                 956 CHESTER STREET                                                                             ORANGEBURG       SC    29118‐2504
DOUGLAS JEWETT GOODMAN                           3922 KIRTLAND RD                                                                               WILLOUGHBY       OH    44094‐7920
DOUGLAS JONES                                    619 S KEDVALE                                                                                  CHICAGO          IL    60624‐3557
DOUGLAS JURADO                                   601 BIRR ST                                                                                    ROCHESTER        NY    14613‐1344
DOUGLAS K ALLEN                                  2304 KEEVER RD                                                                                 LEBANON          OH    45036‐8806
DOUGLAS K AMES                                   1317 MACARTHUR DR                                                                              JANESVILLE       WI    53545‐1412
DOUGLAS K ARMSTRONG                              179 LAURA LANE APT 22                                                                          LEXINGTON        NC    27295‐8700
DOUGLAS K BARNES                                 940 BEAVER CREEK RD                                                                            WATERVILLE       NY    13480‐2402
DOUGLAS K COCKRELL                               220 MAGNOLA SPRINGS                                                                            FLORENCE         MS    39073
DOUGLAS K DAVIS                                  110 E 55TH ST                                                                                  ANDERSON         IN    46013‐1742
DOUGLAS K DIETERLY                               66788 MILLET ROAD                                                                              LAKEVILLE        IN    46536‐9758
DOUGLAS K HALE & MRS GLORIA S HALE JT TEN        15281 WINTERPARK DR                                                                            MACOMB           MI    48044‐3871
DOUGLAS K HASTINGS                               11796 WATSON ROAD                                                                              BATH             MI    48808‐9489
DOUGLAS K HELFRICH                               2025 CANYONS RESORT DR C3                                                                      PARK CITY        UT    84098‐6803
DOUGLAS K ISHIO                                  13222 RIPPLING BROOK DR                                                                        SILVER SPRING    MD    20906‐5312
DOUGLAS K MC CLURE                               5708 MOTT ST                                                                                   SAN DIEGO        CA    92122‐3117
DOUGLAS K PILON & VELMA M PILON TR UA 07/31/08   6375 N HENDERSON RD                                                                            COLUMBIAVILLE    MI    48421
PILON LIVING TRUST
DOUGLAS K PORTER SR & DEBORAH A PORTER JT TEN    175 BLACKSTONE CIR                                                                             BRANDON          MS    39047‐8808

DOUGLAS K RIEHLE                                 2006 FOLK REAM RD                                                                              SPRINGFIELD      OH    45502‐9605
DOUGLAS K ROBBINS & MARGARET E ROBBINS JT TEN    206 CHANNEL RUN DR                                                                             NEW BERN         NC    28562‐8915
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DOUGLAS K RUSSO                                  21830 MADISON ST                                                                             ST CLAIR SHORES   MI    48081‐3718
DOUGLAS K SCHROYER                               2882 BISHOP RD                                                                               WILLOUGHBY HI     OH    44092‐2660
DOUGLAS K THOMPSON                               2148 CORD ST                                                                                 SPEEDWAY          IN    46224‐5132
DOUGLAS K THOMPSON                               704 EMERALD OAKS CT                                                                          EUREKA            MO    63025‐2369
DOUGLAS K VIOHL                                  505 LATHROP STREET                                                                           ALGONAC           MI    48001
DOUGLAS K VOLPP                                  5323 CROOKED STICK CT                                                                        GREENWOOD         IN    46142‐9106
DOUGLAS K WRIGHT                                 1092 FENTON HILL DR                                                                          FLINT             MI    48507‐4706
DOUGLAS KALLER & EILEEN KALLER JT TEN            26 WOODSIDE PARK BLVD                                                                        PLEASANT RIDGE    MI    48069‐1041
DOUGLAS KELLER                                   1310 N DETROIT ST #205                                                                       LOS ANGELES       CA    90046‐4467
DOUGLAS KELLY                                    302 JEFFERSON                                                                                JANESVILLE        WI    53545
DOUGLAS KING                                     9349 GOLF CREST CIRCLE                                                                       DAVISON           MI    48423‐8370
DOUGLAS KINGSLEY                                 1093 DOGWOOD VILLAGE LN                                                                      LAMPE             MO    65681
DOUGLAS KIYOSHI KONDO                            20032 COLGATE CIR                                                                            HUNTINGTON        CA    92646‐4913
                                                                                                                                              BEACH
DOUGLAS KOCH                                     ROUTE #1                            BOX 190                                                  DALTON            MN    56324‐9741
DOUGLAS KURTZ & MARY JO KURTZ JT TEN             635 NAVAHO TRAIL DRIVE                                                                       FRANKLIN LAKES    NJ    07417‐2809
DOUGLAS L BAEHR                                  4900 GASPORT RD                                                                              GASPORT           NY    14067‐9506
DOUGLAS L BAILEY                                 11 SIMMS AVE                        WERRIBEE VICTORIA                      80063 AUSTRALIA
DOUGLAS L BETTS                                  C/O DAPHINE D BROWN                 21889 BEDFORD VALLEY DR                                  MACOMB            MI    48044‐2310
DOUGLAS L BISHOP                                 2574 BARNSTONE AVE SW                                                                        CANTON            OH    44706‐2276
DOUGLAS L BLANKENSHIP                            101 1ST ST # 536                                                                             LOS ALTOS         CA    94022
DOUGLAS L BRINKLEY                               PO BOX 61865 W SHADY BEACH RD                                                                NORTH EAST        MD    21901
DOUGLAS L CRAVEN                                 12420 E HOUGHTON LAKE DR                                                                     HOUGHTON LANE     MI    48629‐9693
DOUGLAS L CUTLER                                 3488 N PATTERSON RD                                                                          WAYLAND           MI    49348‐9406
DOUGLAS L DAHL                                   17449 BRODY AVE                                                                              ALLEN PARK        MI    48101‐3418
DOUGLAS L DIMOND                                 PO BOX 81                                                                                    DETOUR            MI    49725‐0081
DOUGLAS L DREWYOR                                11384 BAYBERRY DR                                                                            BRUCE TWP         MI    48065‐3741
DOUGLAS L ERB                                    764 JAMESTOWN CT                                                                             HUDSON            OH    44236
DOUGLAS L ESTAND                                 14558 WEST AVE                                                                               ORLAND PARK       IL    60462‐2449
DOUGLAS L EVANS                                  1215 E GRAND RIVER RD                                                                        OWOSSO            MI    48867‐9717
DOUGLAS L FERGUSON                               188 W MAIN P O BOX 65                                                                        SARANAC           MI    48881‐0065
DOUGLAS L GARDINER                               805 HIGHBANKS DR                                                                             ALLEGAN           MI    49010‐1695
DOUGLAS L GEBHARDT                               223 LEDGE LN                                                                                 MOUNTAIN TOP      PA    18707‐1960
DOUGLAS L GIBSON                                 730 STONECRESS DR                                                                            TIPP CITY         OH    45371
DOUGLAS L GREEN JEAN M GREEN & RICHARD D GREEN   8638 ABERDEEN COURT                                                                          ANNANDALE         VA    22003‐4313
JT TEN
DOUGLAS L HARVEY                                 5345 COUNTY ROAD 352                                                                         KEYSTONE HGTS     FL    32656
DOUGLAS L HEACOCK                                11680 MILFORD ROAD                                                                           HOLLY             MI    48442‐8901
DOUGLAS L HERMANN                                2868 CHELSEA PL N                                                                            CLEARWATER        FL    33759
DOUGLAS L HILL & GWEN HILL JT TEN                3375 MOUNT VERNON RD                                                                         TUPELO            MS    38804‐7097
DOUGLAS L HITCHCOCK                              3967 WEST THENDARA                                                                           GLADWIN           MI    48624‐9291
DOUGLAS L HOEKSTRA JR                            2974 VICKY DR SW                                                                             WYOMING           MI    49418‐8720
DOUGLAS L HOLLABAUGH                             1362 CALVIN DRIVE                                                                            BURTON            MI    48509‐2008
DOUGLAS L HOWARD                                 2540 MURPHY LAKE RD                                                                          SILVERWOOD        MI    48760‐9509
DOUGLAS L HOWARD                                 813 WAGON WHEEL DR                                                                           DAYTON            OH    45431‐2740
DOUGLAS L JAMES                                  838 CORIANDER CT                                                                             CHULA VISTA       CA    91910‐6616
DOUGLAS L LAPRATT                                3800 GRAF ROAD                                                                               CARO              MI    48723‐9783
DOUGLAS L LEBAY                                  5343 SECTION ROAD                                                                            OTTAWA LAKE       MI    49267‐9528
DOUGLAS L MARTIN                                 11206 W WELSH RD                                                                             JANESVILLE        WI    53545‐9146
DOUGLAS L MCCULLAH                               418 CARROLL ISLAND RD                                                                        MIDDLE RIVER      MD    21220‐2315
DOUGLAS L MCLEAN                                 7222 MEADOW VIEW DR                                                                          LOCKPORT          NY    14094‐6266
DOUGLAS L MILLER                                 70 OCEAN VIEW ROAD                                                                           CAPE ELIZABETH    ME    04107‐1344
DOUGLAS L NASH                                   6300 PLAZA CIRCLE                                                                            BROWN DEER        WI    53223‐2256
DOUGLAS L NUNNERY                                2848 HC 70                                                                                   KINGSTON          OK    73439‐9651
DOUGLAS L OPREA CUST JILL RETA OPREA UGMA MI     9100 TOWNLINE ROAD                                                                           KINGSLEY          MI    49649‐9636

DOUGLAS L ORDWAY                                 G‐551 SR 108‐R1                                                                              HOLGATE           OH    43527
DOUGLAS L OTT                                    559 S DIAMOND RD                                                                             MASON             MI    48854‐9601
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DOUGLAS L PETERS CUST MEGAN KRISTINE PETERS     3390 PALM‐AIRE DRIVE                                                                            ROCHESTER HILLS   MI    48309‐1048
UTMA MI
DOUGLAS L PIAZZA                                4907 E 12TH                                                                                     MUNCIE            IN    47302‐9048
DOUGLAS L PIAZZA & SHEILA K PIAZZA JT TEN       4907 E 12TH                                                                                     MUNCIE            IN    47302‐9048
DOUGLAS L PLANITZ                               285 BAYBERRY LN                                                                                 CORTLAND          OH    44410‐1201
DOUGLAS L RODGER                                C/O ROGER PLUMBING & HEATING           417 7TH AVENUE                                           SHELDON           IA    51201‐1635
DOUGLAS L ROLFSRUD & DEBBIE ROLFSRUD JT TEN     RR 1 BOX 67                                                                                     WATFORD CITY      ND    58854‐9748

DOUGLAS L SCHOO                                 4524 INGHAM ST                                                                                  LANSING           MI    48911‐2925
DOUGLAS L SEEMAN                                2308 THEOBALD ST                                                                                SHELBYVILLE       IN    46176‐3229
DOUGLAS L SEMKE                                 8610 1/2 PRIOR RD                                                                               DURAND            MI    48429‐9468
DOUGLAS L SOUKUP                                1720 DAWNRIDGE CT                                                                               PALMDALE          CA    93551‐4392
DOUGLAS L STOLIPHER                             1602 ROPER NORTH FORK RD                                                                        CHARLES TOWN      WV    25414
DOUGLAS L STONE                                 3 CARDOGAN SQUARE                                                                               ROCHESTER         NY    14625‐2905
DOUGLAS L STOWITTS & BARBARA DIANNE STOWITTS JT 4125 HAMLET COVE                                                                                BATH              MI    48808‐8782
TEN
DOUGLAS L TIPTON                                201 CHEROKEE CIR                                                                                ERWIN             TN    37650‐7939
DOUGLAS L VORE                                  2773 LOWE RD                                                                                    PETERSBURG        MI    49270‐9553
DOUGLAS L WICKHAM                               2012 JOANNE DR                                                                                  TROY              MI    48084‐1129
DOUGLAS L WITT                                  2343 DEL WEBB BLVD E                                                                            SUN CITY CENTER   FL    33573‐6973
DOUGLAS L WORDEN                                10410 TABBERT RD                                                                                RIGA              MI    49276‐9643
DOUGLAS LANGHOLZ                                89 LINCOLN RD SOUTH                                                                             PLAINVIEW         NY    11803‐5316
DOUGLAS LASHBROOK & MRS PATRICIA LASHBROOK JT 10041 YEW STREET                                                                                  RANCHO            CA    91730‐1533
TEN                                                                                                                                             CUCAMONGA
DOUGLAS LEE                                     PABLO VALDEZ 770 SL                    GUADALAJARA JALISCO                    MEXICO
DOUGLAS LEON GARRETT                            879 FULMER RD                          PO BOX 330                                               MILLINGTON        MI    48746‐0330
DOUGLAS LYNN RANGER                             178 LUCERO ST                                                                                   THOUSAND OAKS     CA    91360‐2620
DOUGLAS M BAHUN                                 1455 ALAMEDA DR                                                                                 XENIA             OH    45385‐1201
DOUGLAS M BARNERT                               41 FIFTH AVENUE #14E                                                                            NEW YORK          NY    10003‐4372
DOUGLAS M BERG & PEGGY L BERG JT TEN            23951 90TH ST                                                                                   CRESCO            IA    52136‐8098
DOUGLAS M BIECHELE                              4159 DAWSON                                                                                     WARREN            MI    48092‐4318
DOUGLAS M BIECHELE & CLAIRESSA ANN BIECHELE JT  4159 DAWSON                                                                                     WARREN            MI    48092‐4318
TEN
DOUGLAS M BIECKER                               7706 S ESSEX GATE DRIVE                BUILDING 12                                              DUBLIN            OH    43016
DOUGLAS M BIGELOW                               3452 STONEBLUFF LN SW                                                                           WYOMING           MI    49519‐6104
DOUGLAS M BRANT                                 2960 OAKWOOD SE                                                                                 GRAND RAPIDS      MI    49506‐4236
DOUGLAS M BROWN                                 4212 N 39TH ST                                                                                  ARLINGTON         VA    22207‐4600
DOUGLAS M BYRON                                 17310 FOURTH SECTION                                                                            HOLLEY            NY    14470‐9750
DOUGLAS M COOKE                                 13677 48TH AVE                                                                                  COOPERSVILLE      MI    49404‐9606
DOUGLAS M COYLE                                 1419 PALM RIDGE WAY                                                                             CANTON            GA    30115‐9298
DOUGLAS M DAZAROW & LAURIE M DAZAROW JT TEN 21 SLATESTONE DR                                                                                    SAGINAW           MI    48603‐2890

DOUGLAS M DE PORTER                             175 POWDER MILL RD                                                                              ALTON             NH    03809‐4934
DOUGLAS M DEARING & MADALYN R DEARING JT TEN    5909 MALMESBURY RD                                                                              DALLAS            TX    75252‐4206

DOUGLAS M DOVE                                  5378 W GRAND RIVER RD                                                                           LAINGSBURG        MI    48848‐9708
DOUGLAS M DUY SR & CARROL DUY JT TEN            13305 N TEAL BLUE TRL                                                                           TUCSON            AZ    85742‐8633
DOUGLAS M DUY SR CUST ANDREW C DUY UTMA AZ      13305 N TEAL BLUE TRL                                                                           TUCSON            AZ    85742‐8633

DOUGLAS M DUY SR CUST DOUGLAS M DUY JR UTMA AZ 13305 N TEAL BLUE TRL                                                                            TUCSON            AZ    85742‐8633

DOUGLAS M DUY SR CUST WILLIAM A DUY UTMA AZ     13305 N TEAL BLUE TRL                                                                           TUCSON            AZ    85742‐8633

DOUGLAS M FISHER                                2234 OLIVE AVE                                                                                  LAKEWOOD          OH    44107‐5712
DOUGLAS M GAITHER                               5629 MOUNTAIN VIEW PASS                                                                         STONE MOUNTAIN    GA    30087‐5252

DOUGLAS M GINGRAS                           5457 THRUSH DRIVE                                                                                   GRAND BLANC       MI    48439‐7927
DOUGLAS M GREEN CUST ANDREW M GREEN UTMA NJ 8284 COUNTY ROAD 49                                                                                 CANEADEA          NY    14717‐8749
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DOUGLAS M GRICE                                  0‐1940 LAKE MICHIGAN DRIVE                                                                    GRAND RAPIDS     MI    49504
DOUGLAS M GRUBOLA & DOROTHY J GRUBOLA JT TEN     3917 JANE AVE                                                                                 HURON            OH    44839‐2182

DOUGLAS M GUTHRIE                                3912 NE 60TH ST                                                                               SEATTLE          WA    98115‐7420
DOUGLAS M HASTINGS                               7808 E MC KINLEY                                                                              SCOTTSDALE       AZ    85257‐4425
DOUGLAS M HAYNES SR                              140 ARROW COURT                                                                               ELYRIA           OH    44035‐8740
DOUGLAS M HEENEY                                 2116 LUWANNA DR                                                                               LANSING          MI    48910‐4828
DOUGLAS M HILL                                   7302 CLEARVIEW DR NW                                                                          FAIRVIEW         TN    37062‐9206
DOUGLAS M HOLLAND                                9191 STEPHANIE ST                                                                             DAYTON           OH    45458
DOUGLAS M HOWELL                                 10861 N COUNTY ROAD                                                                           NORMAN           IN    47264‐9489
DOUGLAS M INMAN                                  108 PITTSBURG RD                                                                              OWOSSO           MI    48867‐9272
DOUGLAS M JONES                                  729 FARFIELDS DR                                                                              LYNCHBURG        VA    24502‐3907
DOUGLAS M JONES                                  4007 PIONEER LANE                                                                             LANCASTER        SC    29720
DOUGLAS M JORDAN                                 626 RAINBOW DR                                                                                MILTON           WI    53563‐1648
DOUGLAS M KALLER                                 26 WOODSIDE PARK BLVD                                                                         PLEASANT RIDGE   MI    48069‐1041
DOUGLAS M KARON                                  405 SYCAMORE LANE NO                                                                          PLYMOUTH         MN    55441‐5616
DOUGLAS M KYNARD                                 3932 ESTATEWAY RD                                                                             TOLEDO           OH    43607‐1016
DOUGLAS M LAFOND                                 121 LENOX DR                                                                                  COLUMBIA         TN    38401‐7203
DOUGLAS M LAVERNE                                34500 FREMONT BLVD APT 82                                                                     FREMONT          CA    94555‐3145
DOUGLAS M LEWIS                                  740 N VISTA                                                                                   ALGONQUIN        IL    60102‐2950
DOUGLAS M LINVILLE                               2736 SPRINGMONT AVE                                                                           DAYTON           OH    45420‐3042
DOUGLAS M MAYTON                                 40534 STATE ROUTE 517                                                                         LISBON           OH    44432‐8371
DOUGLAS M MORIN JR & ELLEN E MORIN JT TEN        6 MECHANICK PLACE                                                                             FRANKLIN         MA    02038‐1011
DOUGLAS M MURRAY                                 278 LOG HOME RD                                                                               LAFOLLETTE       TN    37766‐9771
DOUGLAS M PARNCUTT                               1202 HARFORD TOWN DR                                                                          ABINGDON         MD    21009‐4300
DOUGLAS M PICKARD                                42 DALEMERE ST                       ST CATHARINES ON                       L2N 7K3 CANADA
DOUGLAS M QUINN                                  9315 FRANCES RD                                                                               OTISVILLE        MI    48463‐9460
DOUGLAS M RASICOT                                PO BOX 669                                                                                    WRENTHAM         MA    02093‐0669
DOUGLAS M RASICOT & SUSAN E RASICOT JT TEN       PO BOX 669                                                                                    WRENTHAM         MA    02093‐0669
DOUGLAS M ROBBINS                                15337 CYNTHIA ST                                                                              SOUTHGATE        MI    48195‐2078
DOUGLAS M SAXE CUST KATHERINE E SAXE UGMA MD     12851 STONE EAGLE RD                                                                          PHOENIX          MD    21131‐2307

DOUGLAS M SCHMIDT                                111 GAMBLER'S GAP                                                                             DAPHNE           AL    36526‐9716
DOUGLAS M SCHUTTE                                3 MADYSON AVE                                                                                 MINSTER          OH    45865
DOUGLAS M SHANTZ                                 21800 HAMPSTEAD ST                                                                            BEVERLY HILLS    MI    48025‐3653
DOUGLAS M SHEETS                                 10889 PITTMAN RD                                                                              SHREVEPORT       LA    71129‐9715
DOUGLAS M SLONE                                  2600 OLIVESBURG RD                                                                            MANSFIELD        OH    44903‐9198
DOUGLAS M SMITH                                  1557 MADRONO AVE                                                                              PALO ALTO        CA    94306‐1016
DOUGLAS M SMITH                                  550 BROADMEADOW BLVD                                                                          OXFORD           MI    48371‐4124
DOUGLAS M SMITH                                  460 CENTERVIEW DRIVE                                                                          SHEPHERDSVILLE   KY    40165‐6173
DOUGLAS M SNYDER                                 9158 HIGHLAND VIEW DR                                                                         LAINGSBURG       MI    48848‐9219
DOUGLAS M SPARKS                                 RT 2 BOX 65                                                                                   RUSHFORD         MN    55971‐9518
DOUGLAS M STASZESKY                              157 ADLER DR                                                                                  LIBERTYVILLE     IL    60048‐3920
DOUGLAS M THOMPSON                               5222 SUNLYN                                                                                   GRAND BLANC      MI    48439‐9505
DOUGLAS M VAN SPRANGE                            4232 OAKVIEW DRIVE                                                                            HUDSONVILLE      MI    49426‐9355
DOUGLAS M WILSON                                 PO BOX 724                                                                                    KEMAH            TX    77565‐0724
DOUGLAS M WOOD                                   3 DOUGLAS DRIVE                                                                               SALEM            NH    03079‐3251
DOUGLAS MACKUBIN THOMAS                          22 SUNSET TERR                                                                                WEST HARTFORD    CT    06107‐2738
DOUGLAS MARBLE CUST PATRICK MARBLE UTMA NY       22 OAKMOUNT AVE                                                                               BLOOMFIELD       NY    14469‐9400

DOUGLAS MARK                                     2451 W JARVIS AVE                                                                             CHICAGO          IL    60645‐1615
DOUGLAS MARK WEISBURGER                          700 GIST AVE                                                                                  SILVER SPRING    MD    20910‐5234
DOUGLAS MASCOTT                                  9 AUBURNDALE RD                                                                               MARBLEHEAD       MA    01945‐1801
DOUGLAS MATHEWSON & MARIANNE MATHEWSON JT        5 HIGH POINT CT                                                                               ANNANDALE        NJ    08801‐3424
TEN
DOUGLAS MAXWELL                                  12322 STADDENS BRIDGE ROAD                                                                    NEWARK           OH    43056
DOUGLAS MC DONALD                                3929 MATSON AVE                                                                               CINCINNATI       OH    45236‐2343
DOUGLAS MC MICHAEL & BEVERLY MC MICHAEL JT TEN   6588 LAKE FOREST DR                                                                           AVON             IN    46123‐7405
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DOUGLAS MCCARTHY & CHARLES MCCARTHY JT TEN        9929 WESTPARK DR                                                                                BENBROOK           TX    76126‐4123

DOUGLAS MCCONNELL                                 548 SOUTHFIELD DR                                                                               MAUMEE             OH    43537‐2708
DOUGLAS MCKIRGAN                                  2504 WYATT CT                                                                                   COLUMBIA           TN    38401‐0212
DOUGLAS MERCEREAU                                 6157 AMBOY RD                                                                                   STATEN ISLAND      NY    10309‐3113
DOUGLAS MEWTON                                    7452 W PARKWAY                                                                                  DETROIT            MI    48239‐1068
DOUGLAS MEYER                                     2360 PURISIMA CRK RD                                                                            HALF MOON BAY      CA    94019‐2593
DOUGLAS MEYER                                     1464 PRIESTSHORE BAY                                                                            ANTIOCH            TN    37013
DOUGLAS MICHAEL FISHER                            1575 PINE AVE                          APT 114                                                  ALMA               MI    48801‐1288
DOUGLAS MICHAEL HENESEY                           #28 811 WILSON RD N                    OSHAWA ON                              L1G 7Z5 CANADA
DOUGLAS MICHAEL PASSARETTI                        36 WORTHINGTON AVE                                                                              SHREWSBURY         MA    01545
DOUGLAS MOORE CUST DEREK MOORE UGMA MI            875 W THOMAS L PARKWAY                                                                          LANSING            MI    48917‐2121
DOUGLAS MOORE MCGILPIN                            100 YORK ST APT 9C                                                                              NEW HAVEN          CT    06511‐5613
DOUGLAS N BIECHELE                                4159 DAWSON AVE                                                                                 WARREN             MI    48092‐4318
DOUGLAS N CRAWFORD                                231 BOXWOOD DR                                                                                  BAYTOWN            TX    77520‐2125
DOUGLAS N GARDNER                                 179 FARROWS ST                                                                                  PUTNAM             CT    06260‐1729
DOUGLAS N KEPLER                                  31528 WINDSOR                                                                                   GARDEN CITY        MI    48135‐1762
DOUGLAS N MCCALLUM                                7459 E COLDWATER RD                                                                             DAVISON            MI    48429
DOUGLAS N STARKWEATHER                            9104 W 131ST ST                                                                                 OVERLAND PARK      KS    66213‐3088
DOUGLAS N STEPHENSON                              3014 BEECHER RD                                                                                 FLINT              MI    48503‐4902
DOUGLAS N STEPHENSON & MRS VIRGINIA A             3014 BEECHER ROAD                                                                               FLINT              MI    48503‐4902
STEPHENSON JT TEN
DOUGLAS N WILLIAMS & PATRICIA J WILLIAMS JT TEN   8037 RIVER RD                                                                                   COTTRELLVILLE      MI    48039

DOUGLAS NEWLANDS & MAUREEN NEWLANDS JT TEN        5405 MOUNT VERNON WY                                                                            DUNWOODY           GA    30338‐2813

DOUGLAS O CHIDLOW & GRACE S CHIDLOW JT TEN        103 PLEASANT GROVE RD                                                                           LOCUST GROVE       VA    22508‐5102

DOUGLAS O GENTRY                                  1216 ROBSON LN                                                                                  BLOOMFIELD HILLS   MI    48304‐1535

DOUGLAS O NEWCOMB                              24651 CENTER RIDGE RD                     SUITE 190                                                WESTLAKE           OH    44145‐5627
DOUGLAS OLIVER COPELAND                        15600 KENNEBEC ST                                                                                  SOUTHGATE          MI    48195‐3815
DOUGLAS ORLANDO HOLSINGER                      7535 S JAY ROAD                                                                                    WEST MILTON        OH    45383‐7710
DOUGLAS OWEN TREISMAN                          1552 NORTH HARVARD AVE                                                                             CLOVIS             CA    93611‐7608
DOUGLAS P AIREY                                12 HODGSON DRIVE                          WHITBY ON                              L1P 1L5 CANADA
DOUGLAS P ANDERSON                             158 HAMPTON AVENUE                                                                                 WEST HARTFORD      CT    06110‐1011
DOUGLAS P ANDERSON                             1023 OLD POST RD                                                                                   GRAND LEDGE        MI    48837‐2065
DOUGLAS P BAKER                                1510 FOREST HILL RD                                                                                STATEN ISLAND      NY    10314‐6336
DOUGLAS P BUNEA                                27904 BLUEBIRD DR                                                                                  FLAT ROCK          MI    48134‐4700
DOUGLAS P DWYER                                45 UPPER LOUDON RD                                                                                 ALBANY             NY    12211‐1640
DOUGLAS P DWYER TR DOUGLAS P DWYER LIVING      45 UPPER LOUDON RD                                                                                 ALBANY             NY    12211‐1640
TRUST UA 06/24/03
DOUGLAS P ECKARD                               1052 MORRELL STREET                                                                                DETROIT            MI    48209‐2478
DOUGLAS P EISELER                              10136 S SMITH RD                                                                                   PERRINTON          MI    48871‐9718
DOUGLAS P GIBBS                                2182 BLEVIN RD                                                                                     YUBA CITY          CA    95993‐1402
DOUGLAS P HANNAN & WAVE L HANNAN JT TEN        3324 SIMPSON                                                                                       FORT GRATIOT       MI    48059‐4243
DOUGLAS P KLOSKA                               920 GREGORY DR                                                                                     LAPEER             MI    48446‐3329
DOUGLAS P LANEY                                3126 WILBER AVE                                                                                    FLUSING            MI    48433‐2353
DOUGLAS P LARSEN CUST GREGORY P LARSEN UGMA NY 85 SWIFT RD                                                                                        VOORHEESVILLE      NY    12186‐5025

DOUGLAS P LARSEN CUST KELLY M LARSEN UGMA         85 SWIFT ROAD                                                                                   VOORHEESVILLE      NY    12186‐5025
DOUGLAS P LARSEN CUST KELLY M LARSEN UGMA NY      85 SWIFT RD                                                                                     VOORHEESVILLE      NY    12186‐5025

DOUGLAS P LARSEN CUST KELLY M LARSEN UTMA NJ      85 SWIFT RD                                                                                     VORRHEESVILLE      NY    12186‐5025

DOUGLAS P MILLER                                  2077 FAIRKNOLL DR                                                                               BEAVER CREEK       OH    45431‐3212
DOUGLAS P MUSZKIEWICZ                             25540 AFTON                                                                                     HARRISON TWP       MI    48045
DOUGLAS P NICHOLS                                 2778 DOVER RD                                                                                   ATLANTA            GA    30327
DOUGLAS P O'DONNELL                               797 TERRY HILL RD                                                                               FAIRLEE            VT    05045
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DOUGLAS P O'NEAL                                 1905 TEALWOOD COVE DR                                                                           FLORISSANT         MO    63031‐7439
DOUGLAS P SCHAFFER                               13926 DASMARINAS DRIVE                                                                          CORPUR CHRISTIS    TX    78418‐6316
DOUGLAS P SCHAFFER & KAREN E SCHAFFER JT TEN     13926 DASMARINAS                                                                                CORPUS CHRISTI     TX    78418‐6316

DOUGLAS P SCHMITZ                                20903 HUNT CLUB                                                                                 HARPER WOODS       MI    48225‐1714
DOUGLAS P SCHMITZ CUST KELLY ANN SCHMITZ UGMA    5915 PATTERSON DRIVE                                                                            TROY               MI    48098‐3856
MI
DOUGLAS P THOMAS                                 2052 N LINCOLN PARK W                  APT 1102                                                 CHICAGO            IL    60614‐4704
DOUGLAS P WATKINS                                6625 WATERFORD HILL TER                                                                         CLARKSTON          MI    48346‐3388
DOUGLAS P WHALEY                                 865 G'FELLERS ROAD                                                                              CHUCKEY            TN    37641‐6050
DOUGLAS P WILSON                                 6206 YUNKER ST                                                                                  LANSING            MI    48911‐5524
DOUGLAS PAQUIN                                   1321 SUFFIELD                                                                                   BIRMINGHAM         MI    48009‐4823
DOUGLAS PAUL CAMPBELL                            435 E FREEMASON ST                     APT 2B                                                   NORFOLK            VA    23510‐2446
DOUGLAS PAUL JOHNSON                             1521 SW 120TH TE                                                                                DAVIE              FL    33325‐4603
DOUGLAS PAUL JOHNSON                             7104 CRESTWOOD AVE                                                                              JENISON            MI    49428‐8933
DOUGLAS PAUL TRAVER                              3712 DOUGLAS                                                                                    FLINT              MI    48506‐2424
DOUGLAS PEACOCK                                  2504 RENAE DR                                                                                   MUSKEGON           MI    49442‐7100
DOUGLAS PERRY DEWEESE                            307 N ROGERS ST                                                                                 ABILENE            KS    67410‐3423
DOUGLAS PETER MC CARTY                           15851 S 17TH LN                                                                                 PHOENIX            AZ    85045‐1781
DOUGLAS PIERCE THOMAS                            10 QUINTARD AVE                                                                                 OLD GREENWICH      CT    06870‐2106
DOUGLAS PRIDEMORE                                6058 STAHELIN                                                                                   DETROIT            MI    48228‐3831
DOUGLAS Q MC AFEE                                24641 SANTA BARBARA ST                                                                          SOUTHFIELD         MI    48075‐2544
DOUGLAS QUALEY                                   4832 NEWLANDS ST                                                                                METAIRIE           LA    70006‐4046
DOUGLAS R ALLAN                                  1195 FAIRFAX                                                                                    BLOOMFIELD HILLS   MI    48302‐0118

DOUGLAS R ALLMON                                 913 NW 41ST ST                                                                                  BLUE SPRINGS       MO    64015‐2515
DOUGLAS R BERRY                                  5123 STEWART AVE                                                                                CINCINNATI         OH    45227‐1618
DOUGLAS R BIDGOOD                                1089 APPLEBY AVE                       OSHAWA OT ON                           L1K 2R1 CANADA
DOUGLAS R BOYD & JOAN C BOYD JT TEN              8903 EVAN CT                                                                                    SPRINGBORO         OH    45066‐9294
DOUGLAS R BROWN                                  5988 SHARP ROAD                                                                                 DAYTON             OH    45432‐1751
DOUGLAS R BROWN CUST ADAM D BROWN UGMA MI        9217 MIRAGE LAKE DR                                                                             MILAN              MI    48160‐9011

DOUGLAS R BROWN CUST SCOTT D BROWN UGMA MI       9217 MIRAGE LAKE DR                                                                             MILAN              MI    48160‐9011

DOUGLAS R BURKE                                  6257 N 31 RD                                                                                    MANTON             MI    49663‐8038
DOUGLAS R CAMERON                                36 PINE RIDGE RD                                                                                POUGHKEEPSIE       NY    12603‐4519
DOUGLAS R CHAPPELL                               9306 STOCKPORT DR                                                                               SPRING             TX    77379‐6536
DOUGLAS R CLARK                                  907 PINECREST ROAD                     OSHAWA ON                              L1K 2B3 CANADA
DOUGLAS R CORRIGAN                               1766 DELANCY CIRCLE                                                                             CANTON             MI    48188
DOUGLAS R DAVIS                                  6444 PASEO                                                                                      KANSAS CITY        MO    64131‐1212
DOUGLAS R DUNBAR                                 3101 MACKIN RD                                                                                  FLINT              MI    48504‐3266
DOUGLAS R FEY                                    PO BOX 408                                                                                      PRUDENVILLE        MI    48651‐0408
DOUGLAS R FRANDSEN                               1915 W CRYSTAL ST                      #2                                                       CHICAGO            IL    60622‐3133
DOUGLAS R GILBERT                                3445 S CHASE AVE                                                                                MILWAUKEE          WI    53207‐3347
DOUGLAS R GILLILAND                              5757 DELLBROOK                                                                                  SYLVANIA           OH    43560‐2021
DOUGLAS R GIVENS                                 RT 2 BOX 230                                                                                    WANETTE            OK    74878‐9769
DOUGLAS R HAMILTON                               25781 LOIS LANE DRIVE                                                                           SOUTHFIELD         MI    48075‐6166
DOUGLAS R HAMILTON & DIANE Y HAMILTON JT TEN     25781 LOIS LANE DRIVE                                                                           SOUTHFIELD         MI    48075‐6166

DOUGLAS R HOFFMAN TR DOUGLAS R HOFFMAN           3370 N 151ST DRIVE                                                                              GOODYEAR           AZ    85338‐8644
REVOCABLE TRUST UA 08/24/95
DOUGLAS R HURST TR UA 03/08/94 DOUGLAS R HURST   333 NE 21ST AVE                        APT 310                                                  DEERFIELD BCH      FL    33441‐3818
REV LIVING TRUST
DOUGLAS R HURST TR UA 03/08/94 DOUGLAS R HURST   333 NE 21ST AVE                        APT 310                                                  DEERFIELD BCH      FL    33441‐3818
REV LIVING TRUST
DOUGLAS R ISBELL SR                              12063 SARAH                                                                                     MONTROSE           MI    48457‐8907
DOUGLAS R KERR                                   2632 PURDUE DRIVE                                                                               VESTA              NY    13850‐2916
DOUGLAS R KNORR CUST ERIK A KNORR UGMA NY        202 PATTON PLACE                                                                                WILLIAMSVILLE      NY    14221‐3774
DOUGLAS R LANGS                                  4215 CLIMBING WY                                                                                ANN ARBOR          MI    48103‐9402
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DOUGLAS R LAWSON                               120 TANGLEWD DR                                                                                ANDERSON          IN    46012‐1023
DOUGLAS R LEVINGS                              PO BOX 218                                                                                     N CHATTHAM        MA    02650‐0218
DOUGLAS R LIVSEY & DONALD G MALONE & PERCY     1140 LATHROP #106                                                                              FOREST PARK       IL    60130‐2248
HARRISON JR JT TEN
DOUGLAS R LYONS                                365 D LYONS RD                                                                                 TOMPKINSVILLE     KY    42167‐8577
DOUGLAS R MASCH II                             5214 SW 3RD AVE                                                                                CAPE CORAL        FL    33914‐7188
DOUGLAS R MC GONEGAL                           9499 BLACKTHORNTRAIL                                                                           FRISCO            TX    75034‐7305
DOUGLAS R MCILVAINE                            91 STOKES STREET                                                                               FREEHOLD          NJ    07728‐1639
DOUGLAS R MCNEVAN                              121 CHASWOOD DRIVE                    DARTMOUTH NS                           B2V 2M4 CANADA
DOUGLAS R MESSER                               601 S WALNUT ST                       APT 15                                                   SWEET SPRINGS     MO    65351‐1255
DOUGLAS R MIDDLETON                            PO BOX 11958                                                                                   SPRING            TX    77391‐1958
DOUGLAS R MOELLER                              1672 HILLCREST DR                                                                              LAKE              MI    48632‐9024
DOUGLAS R MOLIN                                193 OUTLOOK AVE                                                                                CHESHIRE          MA    01225‐9768
DOUGLAS R NELSON                               2315 19TH AVE                                                                                  MOLINE            IL    61265‐4126
DOUGLAS R PERRY                                APT 21‐S                              170 WEST END AVE                                         NY                NY    10023‐5414
DOUGLAS R PUFF                                 72 OLIVER ST                                                                                   LOCKPORT          NY    14094‐4616
DOUGLAS R RANZ                                 2732 LONE PINE RD                                                                              W BLOOMFIELD      MI    48323
DOUGLAS R RIPKEY & MARSHA RIPKEY JT TEN        1781 LUNDE CIR                                                                                 STOUGHTON         WI    53589‐3475
DOUGLAS R SCHULTHEISS                          677 N TAMIAMI TRAIL LOT 4                                                                      NOKOMIS           FL    34275‐2112
DOUGLAS R SHEPARD                              PO BOX 314                                                                                     BELDING           MI    48809‐0314
DOUGLAS R SMITH & CHERI R SMITH JT TEN         2805 STEWART ROAD                                                                              CHARLOTTE         MI    48813
DOUGLAS R SOULE                                620 VAUGHANS GAP ROAD                                                                          SPRING HILL       TN    37174‐2582
DOUGLAS R STERLING                             6217 CORWIN STA                                                                                NEWFANE           NY    14108‐9745
DOUGLAS R TILLERY JR                           38 HICKORY RDG                                                                                 DAVISON           MI    48423‐9172
DOUGLAS R VANDERKAR                            586 STONEYGATE DR                                                                              GALT              CA    95632‐3154
DOUGLAS R WALWYN                               7 KINDERHOOK CT                                                                                EAST AMHERST      NY    14051‐2407
DOUGLAS R WELLS                                50702 COMMONS DR                                                                               MACOMB            MI    48042‐4639
DOUGLAS R YOUNG                                6635 CLEAR RIDGE ROAD                                                                          CLEARVILLE        PA    15535‐6850
DOUGLAS R ZYWICKI                              948 COUGHLAN                                                                                   AUBURN HILLS      MI    48326
DOUGLAS RAY GILBERT                            30824 BEECHNUT                                                                                 WESTLAND          MI    48186‐5091
DOUGLAS RAY TURNER                             2801 WOODMONT DR                                                                               BEAVER CREEK      OH    45434‐6454
DOUGLAS REWEY MINER CUST CHELSEA ELIZABETH     605 SEMBLER                                                                                    SEBASTIAN         FL    32958‐4473
MINER UGMA FL
DOUGLAS RHEAUME                                52754 WEATHERVANE                                                                              CHESTERFIELD TWP MI     48047‐3137

DOUGLAS RHEAUME & KATHLEEN A RHEAUME JT TEN    52754 WEATHERVANE                                                                              CHESTERFIELD TWP MI     48047‐3137

DOUGLAS ROBERT EDEN                            233 FELTON AVE                                                                                 HIGHLAND PARK    NJ     08904‐2215
DOUGLAS ROBERT GLEISEN                         169 WEST CENTRAL AVE                                                                           BERGENFIELD      NJ     07621‐1209
DOUGLAS ROBERT MILLER                          7636 AMBOY RD                                                                                  DEARBORN HEIGHTS MI     48127‐1638

DOUGLAS ROBERT SANDORF                         4260 HART RD                                                                                   RICHFIELD         OH    44286‐9782
DOUGLAS ROBERTS                                7922 ST GEORGE CT                                                                              SPRINGFIELD       VA    22153‐2742
DOUGLAS ROBERTS                                2493 VILLA SAVOIRE                                                                             COLUMBUS          OH    43219‐3199
DOUGLAS ROBINSON                               710 NORTHUMBERLAND                                                                             BUFFALO           NY    14215‐2755
DOUGLAS ROE                                    1015 DRIFWOD TRAIL                                                                             CROWN POINT       IN    46307‐5049
DOUGLAS ROSS                                   3153 N 19TH ST                                                                                 ARLINGTON         VA    22201‐5103
DOUGLAS ROTHSCHILD CUST CRAIG K ROTHSCHILD     4113 SALTWATER BLVD                                                                            TAMPA             FL    33615‐5638
UTMA FL
DOUGLAS RUBY & GEORGIA N RUBY JT TEN           115 WEST FULTON ST                                                                             MICHIGAN CITY     IN    46360‐4441
DOUGLAS RUSSELL CUST RYAN RUSSELL UTMA NY      513 CREEK RD                                                                                   PLEASANT VALLEY   NY    12569‐7166
DOUGLAS S ALDEN                                7524 THRUSH AVE                                                                                FORT WAYNE        IN    46816‐3337
DOUGLAS S BIBLE                                10063 WINDING RIDGE                                                                            SHREVEPORT        LA    71106‐7685
DOUGLAS S CUNNINGHAM JR                        1112 CEDAR LANE                                                                                NORTHBROOK        IL    60062‐3544
DOUGLAS S DISHER & DIXIE S DISHER JT TEN       4581 HAMPTON LN                                                                                AVON              IN    46123‐6794
DOUGLAS S DRAPER                               PO BOX 515                                                                                     MOULTON           AL    35650‐0515
DOUGLAS S EVANS                                221 E DORIS DR                                                                                 FAIRBORN          OH    45324‐4228
DOUGLAS S GROCH                                526 SIOUX TRAIL                                                                                ROSSFORD          OH    43460‐1530
DOUGLAS S HILL                                 6935 BELL RD                                                                                   SHAWNEE           KS    66217‐9774
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DOUGLAS S KLENCK                               2345 EARL ST                                                                                   NILES            OH    44446‐1102
DOUGLAS S MEADEN III                           915 PIZER                                                                                      HOUSTON          TX    77009‐5252
DOUGLAS S MOHR                                 710 CHERRY ST                                                                                  CHARLOTTE        MI    48813‐1702
DOUGLAS S MOREFIELD                            13900 BENTON RD                                                                                GRAND LEDGE      MI    48837‐9764
DOUGLAS S OGONOWSKI & SANDRA J OGONOWSKI JT    8703 BUCKSKIN DR                                                                               COMMERCE TWP     MI    48382‐3403
TEN
DOUGLAS S OSTRANDER                            11418 LASALLE ST                                                                               YALE             MI    48097‐2939
DOUGLAS S TERRY                                511 DETROIT ST                                                                                 LANSING          MI    48912‐3805
DOUGLAS S WOOD                                 642 OAK STREET APT 3                                                                           WYANDOTTE        MI    48192‐5066
DOUGLAS SACKS                                  1260 ADAMS WAY                                                                                 NEPTUNE CITY     NJ    07753
DOUGLAS SCRIVNER                               2129 ANDERSON DR SW                                                                            DECATUR          AL    35603‐1805
DOUGLAS SLOAN                                  1712 STEWART BLVD                                                                              FAIRBORN         OH    45324‐3020
DOUGLAS SNYDER                                 9474 HETZLER RD                                                                                PIQUA            OH    45356‐9556
DOUGLAS STOCKTON                               5823 RIVER OAKS DR                                                                             KINGSLAND        TX    78639‐5211
DOUGLAS STUTSMAN                               243 COUNTRY EST DRIVE                                                                          MITCHELL         IN    47446‐6615
DOUGLAS T BAKER                                47 BISBEE LN                                                                                   BURLINGTON       NJ    08016‐3837
DOUGLAS T GOECKEL & CAROLE J GOECKEL JT TEN    2387 BIRD RD                                                                                   ORTONVILLE       MI    48462‐9083
DOUGLAS T GOODMAN                              30 JANE LACEY DR                      APT E                                                    ENDICOTT         NY    13760‐3734
DOUGLAS T HUNTER                               2545 FOLSOM JONESVILLE RD                                                                      JONESVILLE       KY    41052‐9756
DOUGLAS T HUTCHINSON                           1917 HOLIDAY VIEW PLACE                                                                        SALT LAKE CTY    UT    84117
DOUGLAS T MCDERMET                             86 GARLAND LANE                                                                                MONTPELIER       VT    05602‐9113
DOUGLAS T RAND                                 251 CHESTNUT AVE                      #1                                                       JAMAICA PLAIN    MA    02130‐4413
DOUGLAS T RAYMOND                              700 TENNIS AVE                                                                                 AMBLER           PA    19002‐2728
DOUGLAS T STANKE                               488 SE DD HWY                                                                                  WARRENSBURG      MO    64093‐8391
DOUGLAS TAYLOR SCHWARZ                         410 LONGFELLOW AVE                                                                             WESTFIELD        NJ    07090‐4334
DOUGLAS TELFORD                                3421 RED STRIPE RD                                                                             SALEM            IL    62881
DOUGLAS TIBBS                                  16707 FORRER ST                                                                                DETROIT          MI    48235‐3607
DOUGLAS TREAIS & MARY TREAIS JT TEN            320 WOODSIDE CIRCLE                   CATALAC                                                  CADILLAC         MI    49601
DOUGLAS TURRINGTON                             1816 PLEASANTDALE RD                  APT 3                                                    CLEVELAND        OH    44109‐5737
DOUGLAS TYGIELSKI                              110 N BUMBY AV                                                                                 ORLANDO          FL    32803‐6022
DOUGLAS U HEYNE & DONNA J HEYNE JT TEN         312 PLEASANT RIDGE DRIVE                                                                       CELINA           OH    45822‐2680
DOUGLAS V ADAMS                                214 HIGH PO BOX 66                                                                             LAINGSBURG       MI    48848‐0066
DOUGLAS V ADKINS                               9487 FARRAND RD                                                                                OTISVILLE        MI    48463‐9776
DOUGLAS V ALLEN                                103 WINSTON AVE ELMHURST                                                                       WILMINGTON       DE    19804‐1729
DOUGLAS V BENNER                               1005 N MICHIGAN AVE                                                                            HASTINGS         MI    49058‐1214
DOUGLAS V FANT                                 3524 W PLYMOUTH DR                                                                             ANTHEM           AZ    85086‐8062
DOUGLAS V FREESE                               60 LAMB AVE                                                                                    SAUGERTIES       NY    12477‐2113
DOUGLAS V HAVENS & DORIS V HAVENS JT TEN       345 ROUTE 284                                                                                  SUSSEX           NJ    07461
DOUGLAS V MOORE                                808 SE DEGAN DR                                                                                PORT ST LUCIE    FL    34983‐2797
DOUGLAS V REYNOLDS                             BOX 4040                                                                                       HUNTINGTON       WV    25729‐4040
DOUGLAS VAGTS & JOYCE VAGTS JT TEN             8 CHIMNEY HILL DRIVE                                                                           FARMINGTON       CT    06032
DOUGLAS VINING                                 10 N ADAMS AVE                                                                                 WHITE CLOUD      MI    49349‐9312
DOUGLAS W ALEXANDER                            1222 CHERRY FORK RD                                                                            WINCHESTER       OH    45697‐9720
DOUGLAS W ARNOLD & KYLE D ARNOLD & CYNTHIA R   112 PORTLAND                                                                                   WILLIAMSBURG     VA    23188
ARNOLD JT TEN
DOUGLAS W AUMILLER                             3710 WENWOOD DRIVE                                                                             HILLARD          OH    43026‐2469
DOUGLAS W BEWLEY                               3197 BELVOIR BLVD                                                                              SHAKER HEIGHTS   OH    44122‐3825
DOUGLAS W BLANDFORD                            1420 COUTANT ST                                                                                FLUSHING         MI    48433‐1821
DOUGLAS W BLASE                                3671 ERDLY LN                                                                                  SNELLVILLE       GA    30039‐6241
DOUGLAS W BOND JR                              101 BELLFORT DR                                                                                TAYLORS          SC    29687‐6324
DOUGLAS W CHAMPION                             11717 GLADSTONE RD                                                                             WARREN           OH    44481‐9505
DOUGLAS W CHRISTIAN                            2814 CLAREMONT DRIVE                                                                           MANSFIELD        TX    76063‐7944
DOUGLAS W CLARY & WANDA J CLARY JT TEN         231 WOODLAND AVE                                                                               SEEKONK          MA    02771‐1200
DOUGLAS W CLAY                                 264 TUCK ST                                                                                    CEDARTOWN        GA    30125‐4072
DOUGLAS W CLOUSE                               162 MYRTLE TERR                                                                                GREENWOOD        IN    46142‐9240
DOUGLAS W COLE                                 3171 MILLER ROAD                                                                               ANN ARBOR        MI    48103‐2124
DOUGLAS W COMPO                                17949 N 300 W                                                                                  SUMMITVILLE      IN    46070‐9654
DOUGLAS W CORSON                               778 GOLF CT                                                                                    BARRINGTON       IL    60010‐3869
DOUGLAS W DACK                                 3784 DEWBERRY LN                                                                               ST JAMES CITY    FL    33956‐2288
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DOUGLAS W DAY                                  3230 S MAIN ST                                                                                          HORSEHEADS         NY    14845‐2948
DOUGLAS W DIETZEN                              13381 BIRCH TREE LN                                                                                     POWAY              CA    92064‐4651
DOUGLAS W DOMES & ROSEMARY DOMES JT TEN        1007 GRAFF RD                                                                                           ATTICA             NY    14011‐9519
DOUGLAS W EDMOND                               12606 DUNN ROAD                                                                                         RILEY              MI    48041‐1104
DOUGLAS W EDMONDS                              4048 SLIPPERYWOOD PLACE                                                                                 RIVERSIDE          OH    45424‐4912
DOUGLAS W EIBERT & DONNA D EIBERT JT TEN       420 N LANE                                                                                              DIGHTON            KS    67839
DOUGLAS W FIVECOAT                             4812 CENTRAL SCHOOL RD                                                                                  SAINT CHARLES      MO    63304‐7106
DOUGLAS W FULLER                               815 CHAPIN ST                                                                                           LUDLOW             MA    01056‐1916
DOUGLAS W GRAY                                 14321 TUDOR ST                                                                                          RIVERVIEW          MI    48193‐7934
DOUGLAS W GREEN                                25 WOODLANDS WAY                                                                                        BROCKPORT          NY    14420‐2652
DOUGLAS W HAMILTON                             20634 91ST AVE                          LANGLEY BC                             V1M 2X1 CANADA
DOUGLAS W HART                                 5900 N TERESA DR                                                                                        ALEXANDRIA         IN    46001‐8610
DOUGLAS W HELM                                 178A EAST LINE STREET                                                                                   BISHOP             CA    93514
DOUGLAS W HILL                                 8045 E DEL CUARZO                                                                                       SCOTTSDALE         AZ    85258‐2255
DOUGLAS W HOOVER                               3818 FOREST BEACH DR NW                                                                                 GIG HARBOR         WA    98335
DOUGLAS W HOOVER & STEPHANIE W HOOVER JT TEN   3818 FOREST BEACH DR NW                                                                                 GIG HARBOR         WA    98335

DOUGLAS W JAYNE                                105 TUNES BROOK DR                                                                                      BRICK           NJ       08723‐6637
DOUGLAS W KADE                                 781 MISTY HILLS DRIVE                                                                                   PRINCETON       WV       24740‐1782
DOUGLAS W KAUSS                                4145 BRASHER DR                                                                                         MARIETTA        GA       30066
DOUGLAS W KNOX & JOANNE P KNOX JT TEN          425 KELLY LANE                                                                                          CRYSTAL LAKE    IL       60012‐3767
DOUGLAS W KRAMER                               700 HARDSCABBLE DR                                                                                      HILLSBOROUGH    NC       27278‐9601
DOUGLAS W LADOSKI & LYNDA L LADOSKI JT TEN     190 STEVES SCENIC DRIVE                                                                                 HORTON          MI       49246‐9743
DOUGLAS W MARTIN                               APT 9                                   114 GROVE ST                                                    MONTCLAIR       NJ       07042‐4031
DOUGLAS W MC CARN                              9039 KIRKMONT                                                                                           HOUSTON         TX       77089‐1104
DOUGLAS W MCKEITHEN                            362 SADY DOUGLASS LANES                                                                                 SHREVEPORT      LA       71106‐7690
DOUGLAS W MENCK                                47333 BLUEJAY DR                                                                                        MACOMB          MI       48044‐5901
DOUGLAS W MIELENZ                              W 173 N 7944 BLUEJAY CT                                                                                 MENOMONEE FALLS WI       53051‐4159

DOUGLAS W MOORE                                1218 MAPLE AVE                                                                                          SANDUSKY           OH    44870‐9801
DOUGLAS W MORGAN                               7101 DUNSHIRE WAY                       APT B2                                                          DUNDALK            MD    21222‐3160
DOUGLAS W MULLINS                              4760 WET MILL CREEK RD                                                                                  CELINA             TN    38551‐5406
DOUGLAS W OLLIKAINEN                           1469 LANCASTER LANE                                                                                     ZIONSVILLE         IN    46077‐3814
DOUGLAS W PAIGE II                             26 STEEPLECHASE ROAD                                                                                    MILLSTONE TWP      NJ    08535
DOUGLAS W POTTER                               3372 CRANBERRY                                                                                          CLYDE TOWNSHIP     MI    48049‐4402
DOUGLAS W PSIK                                 2805 BURNS                                                                                              DEARBORN           MI    48124‐3261
DOUGLAS W PURYEAR                              38200 FAIRWAY CT                        APT 28A                                                         CLINTON TWP        MI    48038‐3491
DOUGLAS W PYATT & PATRICIA A PYATT JT TEN      512 COOKE ST                                                                                            FARMINGTON         CT    06032‐3051
DOUGLAS W QUERNHEIM & NANCY P QUERNHEIM JT     PO BOX 102                                                                                              WATERLOO           IL    62298‐0102
TEN
DOUGLAS W ROBERTS                              7128 ALERT NEW LONDON RD                                                                                OKEANA             OH    45053‐9423
DOUGLAS W RODENBERG                            837 S CIRCLE DR E                                                                                       CROMWELL           IN    46732‐9790
DOUGLAS W S HAMILTON                           61 HILLSIDE RD                          BILLERICAY ESSEX                       CM11 2BX GREAT BRITAIN
DOUGLAS W SCHUMANN                             407 LINCOLN                                                                                             GROSSE PTE CITY    MI    48230‐1606
DOUGLAS W SCOTT                                2173 STATE HWY 80                                                                                       SMYRNA             NY    13464‐1903
DOUGLAS W SHIRLEY                              1060 S LAKESIDE DR                                                                                      FOUR OAKS          NC    27524‐7947
DOUGLAS W SHOWERS                              701 N EIFERT RD                                                                                         MASON              MI    48854‐9525
DOUGLAS W SHRADER                              267 OUTRIGGER DR                                                                                        KILL DEVIL HILLS   NC    27948‐9054
DOUGLAS W STANTON JR                           87125 MCTIMMONS                                                                                         BANDON             OR    97411‐8283
DOUGLAS W WACKER & KIMBERLY J WACKER JT TEN    757 RAVINIA DR E                                                                                        VALPARAISO         IN    46385

DOUGLAS W WEAVER                               6204 E FRANCIS RD                                                                                       MT MORRIS       MI       48458‐9728
DOUGLAS W WERNY & LISA ANN WERNY JT TEN        6234 NICHOLAS DR                                                                                        WEST BLOOMFIELD MI       48322‐2342

DOUGLAS W YOUNG & DEBORAH A YOUNG JT TEN       5375 W FAIRGROVE RD                                                                                     FAIRGROVE          MI    48733‐9704
DOUGLAS W ZASTROW                              5021 ESCARPMENT DR                                                                                      LOCKPORT           NY    14094‐9748
DOUGLAS W ZDUNICH                              544 MALLARD CT                                                                                          COAL CITY          IL    60416‐2435
DOUGLAS WALKER TR UA 11/19/92 DOUGLAS WALKER   4326 WILDWOOD DR                                                                                        BRIDGMAN           MI    49106‐9553
TRUST
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DOUGLAS WARNER                                   2230 NORTH ST ROUTE 48                                                                         PLEASANT HILL    OH    45359‐9765
DOUGLAS WARNER BOHN CUST ERIC DONALD BOHN        BOX 137                                                                                        WAUKAU           WI    54980‐0137
UGMA WI
DOUGLAS WARREN BOHN                              BOX 137                                                                                        WAUKAU           WI    54980‐0137
DOUGLAS WARREN ECKS                              1039 PASEO DEL RIO DR N E                                                                      ST PETERSBURG    FL    33702
DOUGLAS WARREN WELCH                             12553 W 12TH PL                                                                                GOLDEN           CO    80401‐4209
DOUGLAS WERLEY & EILEEN WERLEY JT TEN            58 NORTH BROAD ST EXTENSION                                                                    NAZARETH         PA    18064‐9519
DOUGLAS WILLIAM BISSONTZ                         106 ANDERSON PL                                                                                BUFFALO          NY    14222‐1716
DOUGLAS WILLIAM LEBOLT                           2820 E WILDWOOD RD                                                                             SPRINGFIELD      MO    65804‐5241
DOUGLAS WILLIAMS SPINUZZA                        3017 ROWENA AVE                       APT 11                                                   LOS ANGELES      CA    90039‐2029
DOUGLAS WILSON                                   326 WILLOW VISTA                                                                               SEABROOK         TX    77586‐6018
DOUGLAS WILTON                                   505 E MOORESTOWN RD                                                                            LAKE CITY        MI    49651‐9285
DOUGLAS WITTUM & BONNIE WITTUM & LUKE WITTUM 1211 JACKSON DRIVE                                                                                 OWOSSO           MI    48867
JT TEN
DOUGLAS WOLF                                     290 COOPER STREET                                                                              ACCORD           NY    12404‐6203
DOUGLAS WYATT PRATER                             557 CHESTNUT ST                                                                                NOBLESVILLE      IN    46060‐3324
DOUGLAS Y TOWNSEND                               2182 S KUTHER ROAD                                                                             SIDNEY           OH    45365‐8914
DOUGLASS A CARR                                  4741 DIERKER ROAD                                                                              COLUMBUS         OH    43220‐2942
DOUGLASS A WASCHAK SR & FELICIA K WASCHAK JT TEN 6240 WEST AVE J‐4                                                                              LANCASTER        CA    93536‐7564

DOUGLASS IMHOFF                                 207 BELT ST                                                                                     POWHATAN POINT   OH    43942‐1301

DOUGLASS M CORSON                               28 MAIN ST                                                                                      SKOWHEGAN        ME    04976‐1111
DOUGLASS RALPH ROSENBERGER                      10438 ALDEA                                                                                     GRONADA HILLS    CA    91344‐6121
DOULGAS WOLFERT                                 4475 GLORY WAY                                                                                  GRANDVILLE       MI    49418‐8321
DOUW S MEYERS III                               218 PROSPECT ST                        APT 3                                                    PORTLAND         ME    04103‐3062
DOV M FISCHER                                   21 BARTLETT CRESCENT                                                                            BROOKLINE        MA    02446‐2208
DOV SHENKMAN                                    640 ORCHARD LN                                                                                  GLENCOE          IL    60022‐1063
DOVARD T YEAGER                                 1704 COLFAX ST SW                                                                               DECATUR          AL    35601‐4746
DOVE CHERET MILLER                              234 A AMBOY ROAD                                                                                MONROE           NJ    08831‐4408
                                                                                                                                                TOWNSHIP
DOVER C BALAJTI TR BALAJTI LOVING TRUST UA      30505 LANDESBOROUGH CIRCLE                                                                      WESLEY CHAPEL    FL    33543‐3917
08/14/90 AMENDED 08/14/03
DOVIE A HELBERG                                 8005 PEREGRINE TRL                                                                              ARLINGTON        TX    76001‐6139
DOVIE H LAWRENCE                                71 SAINT JOHNS CT                                                                               MARTINSVILLE     VA    24112‐6063
DOVIE HALE                                      3809 CASTLEROCK RD                                                                              NORMAN           OK    73072‐1741
DOVIE M HUDDLESTON                              15104 BEELER AVE                                                                                HUDSON           FL    34667‐3839
DOW WILLIAM REID                                1409 LAUREL GLEN BLVD                                                                           LEANDER          TX    78641‐2924
DOWELL E MULLINS                                154 TATUM RD                                                                                    CEDAR BLUFF      VA    24609‐9376
DOWNA RENWAND                                   140 WOLF ST                                                                                     BELLEVUE         OH    44811‐1344
DOWNEY INVESTMENT CO A PARTNERSHIP              2071 DEL RIO DR                                                                                 ARNOLD           MO    63010‐4190
DOY L HADDOX                                    2787 BURNS ROAD                                                                                 MADISON          OH    44057‐2833
DOYAL C JOHNSON                                 PO BOX 1117                                                                                     KILLEN           AL    35645‐1117
DOYAL E TIMMONS JR                              BOX 8765                                                                                        TAMPA            FL    33674‐8765
DOYAL G KEYS                                    7336 OAK RD                                                                                     VASSAR           MI    48768‐9292
DOYAL L ANDERSON                                11444 N ALLIS HGHY                                                                              ONAWAY           MI    49765
DOYCE D EAGLE                                   327 CREST DR                                                                                    RECTOR           AR    72461‐1021
DOYCE JEAN HIGGINBOTHAM                         1914 MORNINGSIDE DR                                                                             HARTSELLE        AL    35640‐4330
DOYE F SAMSON                                   4491 SINGLE TREE DR                                                                             HOWELL           MI    48843
DOYLAN J SCHNEIDER                              1422 NANCYWOOD DR                                                                               WATERFORD        MI    48327‐2044
DOYLE A LEE                                     7123 SUNSET POINT DR                                                                            INDIANAPOLIS     IN    46259‐6786
DOYLE A VANCLEAVE                               35117 WILLIS                                                                                    MT CLEMENS       MI    48035‐2885
DOYLE B JUSTICE                                 206 NINTH AVENUE                                                                                HUNTINGTON       WV    25701‐2709
DOYLE C CREAMER                                 6690 SALINE DR                                                                                  WATERFORD        MI    48329‐1269
DOYLE C ROBERTS & LOIS L ROBERTS JT TEN         437 GENSERT RD                                                                                  ELDON            MO    65026‐4666
DOYLE C ROUSE JR                                18278 PENNINGTON DR                                                                             DETROIT          MI    48221‐2142
DOYLE C ROUSE JR & SHARON D ROUSE JT TEN        18278 PENNINGTON DR                                                                             DETROIT          MI    48221‐2142
DOYLE C SPIVEY & BENNIE W SPIVEY JT TEN         PO BOX 342                                                                                      WETUMPKA         AL    36092‐0006
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DOYLE C STEPHENS & MARILYN A STEPHENS JT TEN     11229 JACQUELINE                                                                            STERLING HEIGHTS   MI    48313‐4913

DOYLE CLOUSE                                     PO BOX 5168                                                                                 LAKE MONTEZUMA AZ        86342‐5168

DOYLE D DAWE                                    8606 E 47TH ST                                                                               KANSAS CITY        MO    64129‐2234
DOYLE D FRONTZ                                  2732 KERR RD                                                                                 LUCAS              OH    44843‐9707
DOYLE D OWENS                                   440 BROOKHOLLOW DR                                                                           OXFORD             MI    48371‐6144
DOYLE D STOVER                                  1618 DETROIT                                                                                 LINCOLN PARK       MI    48146‐3217
DOYLE E COWGER                                  29 BOND ST                                                                                   NILES              OH    44446‐2610
DOYLE E GOULD                                   6020 SONNY AVE                                                                               FLUSHING           MI    48433‐2347
DOYLE E HAYES                                   6548 EAST 50 NORTH                                                                           GREENTOWN          IN    46936‐9416
DOYLE E HERRELL                                 1208 CASTLEMAN AVE S W                                                                       DECATUR            AL    35601‐3602
DOYLE E LEE                                     7152 SANDALWOOD DR                                                                           AVON               IN    46123‐8056
DOYLE E OSBORNE                                 1863 S 400 W 180 S                                                                           RUSSIAVILLE        IN    46979‐9444
DOYLE E ROBLING                                 1181 LAURA CT                                                                                GREENWOOD          IN    46143‐1001
DOYLE E STOPPEL                                 18 MEADOWBROOK RD                                                                            DANBURY            CT    06811‐5039
DOYLE E YELL                                    1625 OVERHOLSER DR                                                                           CHOCTAW            OK    73020‐8240
DOYLE EDWIN STEPHENS                            2312 SOUTH PARKWAY                                                                           MESPQUITE          TX    75149‐1237
DOYLE F CLARK                                   365 HAYNES CREEK CIRCLE                                                                      OXFORD             GA    30054‐2619
DOYLE FETTERER                                  13751 CR RD 25                                                                               VILLARD            MN    56385
DOYLE FOUCH                                     2582 N US RT 68                                                                              WILMINGTON         OH    45177‐8858
DOYLE FOWLER                                    2499 DECOTO RD                      APT 211                                                  UNION CITY         CA    94587
DOYLE GRANT PATTERSON                           PO BOX 1477                                                                                  SHADY COVE         OR    97539‐1477
DOYLE H LEE JR                                  21836 EAST SANTAGUIN DRIVE                                                                   DIAMOND BAR        CA    91765‐2841
DOYLE J SMITH                                   8008 W CORRINE DR                                                                            PEORIA             AZ    85381‐9034
DOYLE JOSEPH REED CUST MORGAN MARIE REED UGMA 11126 HEARTHSIDE DR                                                                            PINCKNEY           MI    48169‐8745
MI
DOYLE JOSEPH REED CUST TYLER JOSEPH REED UGMA   11126 HEARTHSIDE DR                                                                          PINCKNEY           MI    48169‐8745
MI
DOYLE K JETTON                                  12767 JACKSON                                                                                DENVER             CO    80241
DOYLE L GRIMES                                  168 CO RD 544                                                                                MOULTON            AL    35650‐9322
DOYLE L MARTIN                                  213 PLYMOUTH DR                                                                              CHARLOTTE          MI    48813‐2149
DOYLE L SPEER                                   20 CHRISTIAN CT                                                                              FREDERICKTOWN      MO    63645‐8529
DOYLE L SPENCER                                 7336 E KELLY RD                                                                              CASS CITY          MI    48726‐8903
DOYLE L WEISS                                   36 LAKEVIEW KNOLL NE                                                                         IOWA CITY          IA    52240‐9161
DOYLE LIAN                                      13 GREENFIELD CT                                                                             NEW MILFORD        CT    06776‐2447
DOYLE M UTLEY                                   6736 OAK                                                                                     TAYLOR             MI    48180‐1741
DOYLE N MOSLEY                                  PO BOX 213                                                                                   S ROCKWOOD         MI    48179‐0213
DOYLE O JACKSON & PATRICIA C JACKSON JT TEN     1486 N SILO RIDGE DR                                                                         ANN ARBOR          MI    48108‐9578
DOYLE P DALY                                    914 S PLATE ST                                                                               KOKOMO             IN    46901‐5678
DOYLE R COAD                                    2305 NICHOLS RD                                                                              LENNON             MI    48449‐9303
DOYLE R CRONK                                   3492 MAHLON MOORE                                                                            SPRING HILL        TN    37174‐2133
DOYLE R DERRICK                                 2128 ROOKERY LN                                                                              CHARLESTON         SC    29414‐5355
DOYLE R PAINTER SR & MRS GWENDOLYN D PAINTER JT 1010 LYNWOOD AVE                                                                             CIRCLEVILLE        OH    43113‐1328
TEN
DOYLE ROBERT CHRISTENSON                        1503 W 19TH RD                                                                               MARQUETTE          NE    68854‐2105
DOYLE SMELSER                                   6631 MARSBEN ST                                                                              PHILADELPHIA       PA    19135
DOYLE T TREESH                                  355 CHADWICK PL                                                                              JASPER             GA    30143
DOYLE V KEITH                                   1608 EAST OSAGE AVE                                                                          MCALESTER          OK    74501‐6764
DOYLE W OLIVER                                  203 BIRCHWOOD DR                                                                             SAINT PETERS       MO    63376
DOYLE W VINSON                                  8651 60TH ST                                                                                 NOBLE              OK    73068‐5417
DOYLE WILSON                                    12105 ANDERSONVILLE RD                                                                       DAVISBURG          MI    48350‐3035
DOYLES R LOCKLEAR                               PO BOX 2163                                                                                  PEMBROKE           NC    28372‐2163
DOZIER T HENDERSHOT                             6230 HUNTER RD                                                                               SPENCER            OH    44275‐9533
DOZIER WILSON HARVILLE                          C/O VERNIE HARVILLE                 6954 NORTH MAIN STREET                                   DOZIER             AL    36028‐2520
DR EDWIN G WILKINS                              4600 WALSH RD                                                                                WHITMORE LAKE      MI    48189‐9066
DR MARTIN GLATTER TR DR MARTIN GLATTER          40 BETTS DR                                                                                  WASHINGTON         PA    18977
REVOCABLE TRUST UA 8/15/00                                                                                                                   CROSING
DR ROBERT J PHELAN                              707 15TH AVENUE                                                                              BELMAR             NJ    07719‐2711
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DRAGANA ACIMOVIC CUST NIKOLAVELIMIROVIC UTMA     5730 E BAYAUD AVE                                                                            DENVER           CO    80224‐1004
CO
DRAGICA CULAFIC                                  526 SOUTH 6TH AVENUE                                                                         LAGRANGE         IL    60525‐6715
DRAGO POTOCIC                                    2513 MAPLE VIEW LN                                                                           WILLOUGHBY       OH    44094‐9613
DRAGO PROFACA & ANNA PROFACA JT TEN              7 WHISPERING SPRINGS DR                                                                      MILLSTONE TWP    NJ    08510
DRAGO SAVOR                                      21401 TRACY AVE                                                                              EUCLID           OH    44123‐2939
DRAGOSLAV M BUGARINOVICH                         615 N CAPITOL AVE                                                                            LANSING          MI    48933‐1230
DRAGOSLAV MARINKOVIC                             76 FREEMONT TURN                                                                             PALM COAST       FL    32137‐4449
DRAKE A SMITH                                    1516 LAKE RD                                                                                 WEBSTER          NY    14580‐8512
DRAKE C PALM                                     399 PLEASANT VIEW                                                                            GRAND BLANC      MI    48439‐1075
DRAKE T MAHER & MARY C MAHER JT TEN              31117 MCNAMEE                                                                                FRASER           MI    48026‐2790
DRATE W SMITH                                    2501 MAGNOLIA                                                                                LA MARQUE        TX    77568‐5025
DRAYTON D RIAS                                   18931 LUMPKIN                                                                                DETROIT          MI    48234‐1288
DRED HARRELL                                     RTE 2 BOX 153A                                                                               LAKELAND         GA    31635‐9538
DREMA HARRIS                                     801 HELENE ST                                                                                SAINT ALBANS     WV    25177
DREMA JARRELL                                    PO BOX 1383                                                                                  SHADY SPRING     WV    25918‐1383
DRENDA K MOORE                                   19114 RANCHWOOD LANE                                                                         HARRAH           OK    73045‐9314
DREW A ARIZINI & KAREN G ARIZINI JT TEN          12 SUFFOLK CT                                                                                MT HOLLY         NJ    08060‐3283
DREW A DORAK                                     234 TREETOP LANE                                                                             HOCKESSIN        DE    19707‐9594
DREW ALBERT                                      3707 MERRIDAN DR                                                                             CONCORD          CA    94518
DREW ALLEN BURKHARD                              494 W BATH RD                                                                                CUYAHOGA FALLS   OH    44223‐3073
DREW BRANDON KELLOCK                             2955 BENTBROOKE DR                                                                           HOLLAND          MI    49424‐8050
DREW C POPSON                                    2551 SW OAK RIDGE RD                                                                         PALM CITY        FL    34990‐2038
DREW DAVIS & DON DAVIS JT TEN                    4577 POPLAR LANE NTH                                                                         NORTH ROYALTON   OH    44133‐3210

DREW J DAUM & JANET L DAUM JT TEN                12300 OSPREY LN                                                                              VICTORVILLE      CA    92392‐0574
DREW JOHNSON                                     1673 ALLEGHENY LANE                                                                          NORTH PORT       FL    34286‐8734
DREW K HARMON                                    333 REEVES AVE                                                                               TRENTON          NJ    08610‐3024
DREW KOCH                                        202 TOLSON CT                                                                                RAEFORD          NC    28376‐7926
DREW M TOMLINSON TR UW KENDALL S TOMLINSON       3922 MCALEVY'S FORT RD                                                                       PETERSBURG       PA    16669
FBO JANE TOMLINSON
DREW MALAMUD                                     1101 NE 107TH ST                                                                             MIAMI            FL    33161‐7350
DREW P DANKO                                     538 RIVER CHASE LN                                                                           DANDRIDGE        TN    37725‐8202
DREW PANZA                                       350 COLERIDGE ST                                                                             PLAINEDGE        NY    11756‐5628
DREW REID MOORE                                  1897 E OCEAN BLVD                   APT 1                                                    LONG BEACH       CA    90802‐6064
DREW S DEATON                                    3016 N WOODRIDGE RD                                                                          BIRMINGHAM       AL    35223‐2748
DREW TAYLOR                                      1009 W MARKET ST                                                                             GREENSBORO       NC    27401
DREW V RICE                                      234 FRANCISCAN DRIVE                                                                         DALY CITY        CA    94014‐2827
DREW W CHATTERTON                                46‐18 GLENWOOD STREET                                                                        LITTLE NECK      NY    11362‐1419
DREW W DARCY                                     15 COLUMBIA ST                                                                               BETHPAGE         NY    11714‐5240
DREW W FATZINGER & MRS ROSE ANN M FATZINGER JT   491 WALNUT ST                                                                                SLATINGTON       PA    18080‐2032
TEN
DREW W GOTTSHALL                                 PO BOX 825                                                                                   KEY WEST         FL    33041
DREW W ROGERS                                    3932 W HERBISON RD                                                                           DEWITT           MI    48820‐9221
DREXEL D MORGAN II                               43 STARDUST DR                                                                               NEWARK           DE    19702‐4748
DREXEL G LYKINS                                  395 W LOMAR AVE                                                                              CARLISLE         OH    45005‐3310
DREXELL CASTLE                                   206 FUNSTON                                                                                  NEW CARLISLE     OH    45344‐1331
DREXIE A SANDERS                                 9035 E 86TH ST                                                                               INDIANAPOLIS     IN    46256
DRIEKA G DE GRAFF                                1711 LATHAM                                                                                  BIRMINGHAM       MI    48009‐3021
DRIFTON HANKINS                                  3273 MONTEREY                                                                                DETROIT          MI    48206‐1001
DRINDA M OSBORNE                                 9157 GROVE                                                                                   WHITMORE LAKE    MI    48189‐9525
DRU ANN HAWKEN                                   1109 NORTH DRIVE                                                                             SAINT LOUIS      MO    63122‐1725
DRU C ERTZ‐BERGER                                2326 W ALAMO DR                                                                              CHANDLER         AZ    85224‐1703
DRUCELLA L MILLER                                2124 W BROOKS ST                    APT B                                                    NORMAN           OK    73069‐4019
DRUCILLA E MARTIN                                436 FARLEY AVE                                                                               LAURENS          SC    29360
DRUCILLA HARTFIELD                               2010 BARKS ST                                                                                FLINT            MI    48503‐4306
DRUCILLA VEASLEY                                 4070 BRENTON DRIVE                                                                           DAYTON           OH    45416‐1607
DRUCILLA WATSON & KAREN LETT JT TEN              3104 SCARBOROUGH LN WEST                                                                     COLLEYVILLE      TX    76034‐4622
DRUE A RICE                                      3051 HILDA DR SE                                                                             WARREN           OH    44484‐3270
                                             09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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DRUE E MILLER                                     323 EDGEWOOD RD                                                                                 PITTSBURGH         PA    15221‐4423
DRUE SWANIGAN                                     1508 MANOR CIRCLE                                                                               INDEPENDENCE       MO    64058‐1400
DRUE TERRY PLOOG                                  14522 IVY WOOD COURT                                                                            HUMBLE             TX    77396
DRUSILLA A BREEN                                  3718 N NEWLAND AVE                                                                              CHICAGO            IL    60634‐2356
DRUSILLA F LOPP                                   3805 VALLEY RD                                                                                  BERKELEY SPRINGS   WV    25411‐6381

DRUSILLA PASIADIS TOD BRIAN D O'CONNOR SUBJECT    PO BOX 1412                                                                                     WILLOUGHBY         OH    44096‐1412
TO STA TOD RULES
DRUSILLA PASIADIS TOD DANIEL K O'CONNOR SUBJECT PO BOX 1412                                                                                       WILLOUGHBY         OH    44096‐1412
TO STA TOD RULES
DRUSILLA PASIADIS TOD JAMES M O'CONNOR SUBJECT PO BOX 1412                                                                                        WILLOUGHBY         OH    44096‐1412
TO STA TOD RULES
DRUSILLA PASIADIS TOD SHARON GETZY SUBJECT TO STA PO BOX 1412                                                                                     WILLOUGHBY         OH    44096‐1412
TOD RULES
DRUSILLA PASIADIS TOD WILLIAM V O'CONNOR SUBJECT PO BOX 1412                                                                                      WILLOUGHBY         OH    44096‐1412
TO STA TOD RULES
DSO‐YUN FOK & MARIA M L LIANG FOK JT TEN          325 S CANFIELD‐NILES ROAD                                                                       YOUNGSTOWN         OH    44515‐4020
DU WAYNE D DRESDEN                                PO BOX 34                                                                                       WETMORE            MI    49895‐0034
DU WAYNE W HERMAN & BONNIE C HERMAN JT TEN        910 WAYNESBORO                                                                                  DECATUR            IN    46733‐2624

DUAIN E TISCHER & DONNA N TISCHER JT TEN       1109 COUNTRY GLEN LANE                                                                             CAROL STREAM       IL    60188‐2931
DUAIN N ELY & MARLENE A ELY JT TEN             1891 FAIRWAY DR                                                                                    UNIONTOWN          OH    44685‐7841
DUAINE C SAYLER                                1848 SUTTON ROAD                                                                                   ADRIAN             MI    49221‐9506
DUAINE E DURBIN                                140 W NORTH ST                            APT 1                                                    PEWAMO             MI    48873‐9783
DUAINE E MCMULLIN                              1616 NORTH UPLAND AVENUE                                                                           METAIRIE           LA    70003‐5769
DUAINE E VOGEL                                 1214 SALZBURG                                                                                      BAY CITY           MI    48706‐3443
DUAINE O RAYMOND                               624 SE 9TH PL                                                                                      CAPE CORAL         FL    33990‐2949
DUAINE P BENARD CUST ZACHARY W MULLINS UTMA TX 700 HOLLOW BEND UNIT 24                                                                            CALDWELL           TX    77836‐4365

DUANE A BENTON & NORMA M BENTON JT TEN            4298 CEDAR RIDGE DR                                                                             MANHATTAN          KS    66503
DUANE A BEST                                      16535 TACOMA                                                                                    DETROIT            MI    48205‐4400
DUANE A BOHNETT                                   10775B BEARDSLEE RD                                                                             PERRY              MI    48872‐9753
DUANE A BUNTING                                   398 N 5TH ST                                                                                    ALBION             IL    62806‐1056
DUANE A CAMPBELL                                  7349 STATE RD 571                                                                               GREENVILLE         OH    45331‐9665
DUANE A CLAYTON II                                7256 MILLER RD                                                                                  SWARTZ CREEK       MI    48473‐1532
DUANE A COMEK                                     34 S HARTFORD AVE                                                                               YO                 OH    44509‐2710
DUANE A HAEFKE                                    3701 MARELI RD                                                                                  SHELBYVILLE        KY    40065‐9738
DUANE A HAGERMAN                                  R 1 MT HOPE ROAD                                                                                CARSON CITY        MI    48811‐9801
DUANE A HLUCHAN & CARLOTTA HLUCHAN JT TEN         1482 CHAMPION BRISTOL TOWN             LINE RD                                                  WARREN             OH    44481‐9459

DUANE A HOMER & LOA H HOMER TR UA HOMER           467 FOURTH AVENUE                                                                               SALT LAKE CITY     UT    84103‐3074
FAMILY TRUST 09/10/89
DUANE A JARVIS                                    707 W HENRY                                                                                     CHARLOTTE          MI    48813‐1709
DUANE A KANGAS                                    12251 HOXIE RD                                                                                  NORTH ADAMS        MI    49262‐9732
DUANE A LAKING                                    9743 SANILAC RD                                                                                 FRANKENMUTH        MI    48734‐9601
DUANE A LAMBERT                                   PO BOX 13306                                                                                    PALM DESERT        CA    92255‐3306
DUANE A LAMMERS                                   16839 RD L                                                                                      OTTAWA             OH    45875‐9454
DUANE A LINDSEY                                   7472 SPRINGBROOK CT                                                                             SWARTZ CREEK       MI    48473‐1700
DUANE A MILLER                                    5224 NORTH SANDLEWOOD DR                                                                        BEVERLY HILLS      FL    34465‐2437
DUANE A MINGLE & BARBARA S MINGLE JT TEN          3643 S 500 E                                                                                    MIDDLETOWN         IN    47356
DUANE A MUTTI & MRS JANET G MUTTI JT TEN          57 CROOKED TRAIL RD                                                                             ROWAYTON           CT    06853‐1035
DUANE A PARSONS                                   9655 HASSETOWN RD                                                                               MORGANTOWN         IN    46160‐9464
DUANE A PHETTEPLACE & LAURIE A PHETTEPLACE JT     14950 PALMER RD                                                                                 SOUTH BELOIT       IL    61080‐2340
TEN
DUANE A ROWLEY SR                                 BOX 63                                                                                          ATTICA             MI    48412‐0063
DUANE A STORY                                     539 BLACKHAWK BLVD                                                                              SOUTH BELOIT       IL    61080‐1916
DUANE A SUITER                                    ROUTE 1 E 2001                                                                                  DE SOTO            WI    54624‐9720
DUANE A WINTERS                                   8876 OAK VILLAGE BLVD                                                                           LEWIS CENTER       OH    43035‐9481
DUANE ADAMSON                                     8151 MARLOWE                                                                                    DETROIT            MI    48228‐2488
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DUANE ALAN BUNTING                             397 1/2 N 4TH ST                                                                                ALBION            IL    62806‐1260
DUANE ARTHUR STROMBERG CUST CHRIS DUANE        C/O CHRIS STROMBERG                    193 HIGH COUNTRY DR                                      LAFAYETTE         CO    80026‐3148
STROMBERG U/THE PAU‐G‐M‐A
DUANE B AUNE & ISABELLE AUNE JT TEN            1816 N 9TH ST                                                                                   BISMARCK          ND    58501‐1839
DUANE B CARSON & DOROTHY A CARSON TR CARSON    1725 MONMOUTH DR                                                                                SAN DIEGO         CA    92109‐2248
FAM TRUST UA 10/30/96
DUANE B EGAN                                   311 DOUGLAS GLEN CLOSE SE              CALGARY AB                             T2Z 2V8 CANADA
DUANE B MILLER                                 113 AMORA AVENUE                                                                                VENICE            FL    34285
DUANE B WATTS                                  4613 STAFFORD AVE                                                                               LANSING           MI    48910‐7423
DUANE B WILLIAMS & JOYCE A WILLIAMS JT TEN     7450 EAST OPAL LK DR                                                                            GAYLORD           MI    49735‐9083
DUANE BLAUFUSS                                 1204 3RD AVE                                                                                    STERLING          IL    61081‐2435
DUANE C BAILEY & EDITH I BAILEY JT TEN         7020 SNOW APPLE                                                                                 CLARKSTON         MI    48346‐1640
DUANE C BEGEMAN                                35369 CR 652                                                                                    MATTAWAN          MI    49071‐9744
DUANE C BOWLER                                 RR 3 BOX 2605                                                                                   MC MILLAN         MI    49853‐9803
DUANE C BRATZKE                                2430 CTY HWY M                                                                                  EDGERTON          WI    53534‐8987
DUANE C CLUGSTON                               3813 COLBY S W                                                                                  GRAND RAPIDS      MI    49509‐3954
DUANE C GREEN                                  4407 ISLEVIEW COVE                                                                              FORT WAYNE        IN    46804‐4860
DUANE C HUGHES                                 17232 DEER VIEW DRIVE                                                                           ORLAND PARK       IL    60467‐9011
DUANE C OBOYLE                                 12870 ONEIDA RD                                                                                 GRAND LEDGE       MI    48837‐9494
DUANE C PARSONS                                2326 ORR RD                                                                                     FREELAND          MI    48623‐9428
DUANE C SPOHN                                  12285 STANLEY RD                                                                                FLUSHING          MI    48433‐9206
DUANE C THOMAS & MRS MILDRED J THOMAS JT TEN   BOX 280                                                                                         MABEN             MS    39750‐0280

DUANE CHARLES CLEMONS JR                       300 SW SALINE ST                                                                                TOPEKA            KS    66606
DUANE D BROKAW                                 4536 EAST ST                           PO BOX 616                                               LEONARD           MI    48367‐0616
DUANE D BROWN                                  2023 E WASHINGTON ST                                                                            JOLIET            IL    60433‐1546
DUANE D DENNINGS JR                            7193 ST JOE                                                                                     GRAND LEDGE       MI    48837
DUANE D GWYN CUST BRANDY N GWYN UTMA NC        PO BOX 4928                                                                                     CALABASH          NC    28467‐9820
DUANE D GWYN CUST CINDEL GWYN UTMA NC          PO BOX 4928                                                                                     CALABASH          NC    28467‐9820
DUANE D MC FARLAND                             170 BUTLER LAKE DRIVE                                                                           ST SIMONDS IS     GA    31522‐5437
DUANE D MILLER                                 710 GLENWOOD AVE                                                                                MOUNDSVILLE       WV    26041‐1838
DUANE D PARKS & SHELBY J PARKS JT TEN          6017 51ST AVE                                                                                   MOLINE            IL    61265‐8305
DUANE D SMITH                                  512 S BALDWIN ST                                                                                WHITEHALL         MI    49461‐1304
DUANE D SWANSEY                                4250 STANLEY CT                                                                                 WATERFORD         MI    48329‐4184
DUANE D TOBIAS                                 9263 OAK RD                                                                                     OTISVILLE         MI    48463‐9745
DUANE D ULRICH & DOLORES K ULRICH JT TEN       7307 W BAWKEY RD                                                                                LAKE              MI    48632‐9682
DUANE D WITTMAN & SANDRA M WITTMAN JT TEN      161 DRUID DR                                                                                    MC MURRAY         PA    15317‐3607

DUANE DALE EGGLESTON                           6065 WENDT DR                                                                                   FLINT             MI    48507‐3823
DUANE DARL ZAHRINGER                           2469 EASTERN AVE                                                                                ROCHESTER HILLS   MI    48307‐4708
DUANE E BAKER                                  1626 HUGHES AVE                                                                                 FLINT             MI    48503
DUANE E BISHOP                                 7110 ANDREWS HWY                                                                                BELLEVUE          MI    49021‐9473
DUANE E BULLION                                660 OKEMOS ST                                                                                   MASON             MI    48854‐1227
DUANE E DAUGHERTY                              1959 N TOD AVE                                                                                  WARREN            OH    44485
DUANE E DAVIS                                  5082 S CENTER RD                                                                                GRAND BLANC       MI    48439‐7928
DUANE E DORMAN                                 630 S OAKLAND                                                                                   WEBB CITY         MO    64870‐2451
DUANE E GLENN                                  1068 MILITARY                                                                                   DETROIT           MI    48209‐2384
DUANE E HANAMAN                                W13388 CZECH DR                                                                                 COLOMA            WI    54930‐9025
DUANE E HAYNES                                 19810 W 901 RD                                                                                  COOKSON           OK    74427‐2045
DUANE E HOUSER                                 ROUTE 571                              6435 E STATE                                             TIPP CITY         OH    45371
DUANE E JOHNSON                                36 CHURCH ST                                                                                    MIDDLEPORT        NY    14105‐1226
DUANE E JOHNSON                                7774 E 200 S                                                                                    GREENTOWN         IN    46936‐9138
DUANE E MUNRO JR                               197 CLEVELAND                                                                                   BUFFALO           NY    14223‐1027
DUANE E OSTRANDER                              4648 HUNTERS CREEK RD                                                                           ATTICA            MI    48412‐9762
DUANE E PELTON                                 3567 SHAW ROAD                                                                                  KINGSTON          MI    48741‐9504
DUANE E ROSINE                                 1020 DUNDEE CIRCLE                                                                              LEESBURG          FL    34788‐7682
DUANE E RUNYAN                                 252 N WASHINGTON ST                                                                             DANVILLE          IN    46122‐1238
DUANE E SMITH & KATY A SMITH JT TEN            1523 18TH DR                                                                                    PASCO             WA    99301‐3420
DUANE E TESCH JR                               110 E ROWLAND                                                                                   MADISON HGTS      MI    48071‐4094
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DUANE E TUBBS                                   266 PARKWOOD AVE                                                                              KENMORE            NY    14217‐2833
DUANE E VORCE                                   10953 TOWNLINE ROAD                                                                           CHARLEVOIX         MI    49720‐9414
DUANE E WEBSTER                                 9760 HEROY RD                                                                                 CLARENCE CTR       NY    14032‐9603
DUANE E WHITSON                                 R R 1 BOX 188                                                                                 AMBOY              IN    46911‐9788
DUANE E WILLEY                                  799 GARLAND ST                                                                                LAKEWOOD           CO    80215‐5893
DUANE F BIGGER                                  1232 W COOK RD                                                                                GRAND BLANC        MI    48439‐9364
DUANE F BOECK                                   PO BOX 16                                                                                     ORFORDVILLE        WI    53576‐0016
DUANE F DUFRESNE & BARBARA J DUFRESNE JT TEN    PMB 6751                             PO BOX 2428                                              PENSICOLA          FL    32513‐2428

DUANE F EDWARDS                                 2631 BURT RD                                                                                  BURT               MI    48417
DUANE F ENGLE                                   1726 WATERFORD WAY                                                                            MORGANTON          NC    28655
DUANE F GAVRILEK & LORRAINE M GAVRILEK JT TEN   4753 HEIDI                                                                                    STERLING HEIGHTS   MI    48310‐3936

DUANE F HEIM                                    8435 N HURD RD                                                                                EDGERTON           WI    53534‐9760
DUANE F HENRY                                   8541 NICHOLS RD                                                                               FLUSHING           MI    48433‐9223
DUANE F HIVNOR                                  326 N BRINKER AVE                                                                             COLUMBUS           OH    43204‐2036
DUANE F LUETKEMEYER                             2093 TEAL HO                                                                                  TUTTLE             OK    73089‐9401
DUANE F PLAGENS                                 21810 FAIRLANE CT                                                                             EAST DETROIT       MI    48021‐2736
DUANE F SMITH                                   4610 WILBUR RD                                                                                MARTINSVILLE       IN    46151‐7954
DUANE F SMITH                                   319 W CAROLINE                                                                                FENTON             MI    48430‐2809
DUANE FREDRICK BABCOCK                          51145 SUNDAY DR                                                                               NORTHVILLE         MI    48167
DUANE FRENCH                                    PO BOX 1105                                                                                   SPRING BRANCH      TX    78070‐1105
DUANE G BABCOCK                                 6793 BILLWOOD HWY                                                                             POTTERVILLE        MI    48876‐8729
DUANE G CRAMER CUST KENNEDY L CRAMER UTMA OH    7281 ZECK RD                                                                                  MIAMISBURG         OH    45342‐3045

DUANE G LAUZONIS                                2226 RIDGE ROAD                                                                               RANSOMVILLE        NY    14131‐9720
DUANE G OWEN                                    1615 N SUMAC DR                                                                               JANESVILLE         WI    53545‐1266
DUANE G PRICE                                   1272 SHERWOOD FOREST DR                                                                       W CARROLLTON       OH    45449‐2236
DUANE GIANNANGELO                               9476 JOHNSON ROAD EXT                                                                         GERMANTOWN         TN    38139‐3602
DUANE H BARNES                                  7604 NW WOODLAND DR                                                                           LAWTON             OK    73505‐5353
DUANE H CURTIS                                  95 COUNTY RTE 29                                                                              CANTON             NY    13617‐3720
DUANE H DOTSON & CATHERINE O DOTSON JT TEN      BOX 381                                                                                       EL GRANADA         CA    94018‐0381

DUANE H FOSTER                                  320 PARKWEST COURT APT M‐5                                                                    LANSING            MI    48917‐2523
DUANE H HARWICK                                 20 PLYMOUTH LN                                                                                BLUFFTON           SC    29909‐5004
DUANE H MAIER                                   10517 SOUTH STEEL RD                                                                          BRANT              MI    48614‐9792
DUANE H MATHIOWETZ                              55 SHELLEY DRIVE                                                                              MILL VALLEY        CA    94941‐1520
DUANE H ROGERS                                  6610 COUNTY HWY 18                                                                            WEST WINFIELD      NY    13491‐3604
DUANE H STANOSZEK                               670 SUSAN DR                                                                                  N HUNTINGDON       PA    15642‐3126
DUANE HERALD                                    830 6TH AVENUE                       BOX 112                                                  BALDWIN            WI    54002‐0112
DUANE I BEEKER                                  5349 EAST ALBAIN RD                                                                           MONROE             MI    48161‐9585
DUANE J BARTLETT                                668 LOOKING GLASS                                                                             PORTLAND           MI    48875‐1209
DUANE J BLANK                                   110 GOLF COURSE RD                                                                            PORT ANGELES       WA    98362
DUANE J DUBOIS                                  21150 BURT RD                                                                                 BRANT              MI    48614‐8707
DUANE J HARRIS                                  10543 8TH AVE NW                                                                              GRAND RAPIDS       MI    49544‐6765
DUANE J JELLEY                                  437 WEDINGTON CT                                                                              ROCHESTER          MI    48307‐6036
DUANE J JENSEN & SHARON K JENSEN JT TEN         30625 S 4195 RD                                                                               INOLA              OK    74036‐2013
DUANE J JONES                                   1114 LAMBERT DR                                                                               HOLLY              MI    48442‐1035
DUANE J LABRECQUE                               1045 HOLLYWOOD BLVD                                                                           CLIO               MI    48420
DUANE J PIGGOTT                                 4245 SOUTH COUNTY FARM                                                                        ST JOHNS           MI    48879‐9211
DUANE J RIVETTE                                 2 WILTSE COURT                                                                                SAGINAW            MI    48603‐3270
DUANE J SCHINN & GLORIA E SCHINN JT TEN         5030 W HIGHWAY 61                                                                             LUTSEN             MN    55612‐9511
DUANE J STARZYK                                 2842 TRAILWOOD DRIVE                                                                          ROCK HILLS         MI    48309‐1440
DUANE J SWEET                                   5153 AMSTERDAM                                                                                HOLT               MI    48842‐9634
DUANE J WHITE                                   4770 BUSCH RD                                                                                 BIRCH RUN          MI    48415‐8785
DUANE JAMES HOSTETLER                           13805 SPRINGMILL BLVD                                                                         CARMEL             IN    46032‐9129
DUANE JOHNSON                                   16502 HARLOW                                                                                  DETROIT            MI    48235‐3427
DUANE K SCARFFE                                 4723 HURON AVE                                                                                NEWPORT            MI    48166
DUANE K WENDLING                                C/O MONTROSE ST BK                   ATTN DON RUSSELL     200 W STATE ST                      MONTROSE           MI    48457‐9748
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DUANE K WENDLING                                3969 W PEET RD                                                                                  NEW LOTHROP    MI    48460‐9645
DUANE K WENDLING & DONNA L WENDLING JT TEN      3969 W PEET RD                                                                                  NEW LOTHROP    MI    48460‐9645

DUANE L ACHTERMANN                              264 VOLUSIA AVE                                                                                 DAYTON         OH    45409‐2225
DUANE L ANDERSON                                W5012 COUNTY RD A                                                                               LILY           WI    54491‐9088
DUANE L ARCHER                                  7504 SUMMER GLEN DR                                                                             MCKINNEY       TX    75070
DUANE L BEAM                                    RR1                                                                                             DENVER         IN    46926‐9801
DUANE L COOK                                    2256 W LAWRENCE HWY                                                                             CHARLOTTE      MI    48813‐8899
DUANE L COYER                                   317 N PIONEER TRAIL                                                                             PAYSON         AZ    85541‐6268
DUANE L DEARRING                                25755 CATALINA ST                                                                               SOUTHFIELD     MI    48075‐1742
DUANE L DOTTERER                                1000 STATE RD 302                                                                               ASHLAND        OH    44805
DUANE L DUCHAMP & PEGGY J DUCHAMP JT TEN        6560 RIDGEWAY TRAIL                                                                             LAKE           MI    48632‐9184
DUANE L FISHER                                  818 BRETTON RD                                                                                  LANSING        MI    48917‐3108
DUANE L HOLLIDAY                                7383 SHERIDAN AVE                                                                               FLUSHING       MI    48433‐9102
DUANE L JACOBUS                                 1113 WEST 11 MILE RD                                                                            RITELY         MI    49309
DUANE L JONES                                   86 SHAGBARK RD                                                                                  CONCORD        MA    01742‐2058
DUANE L MILBURN & JUDY L MILBURN JT TEN         1578 LANDING ROAD                                                                               MYRTLE BEACH   SC    29577‐5933
DUANE L SHERMAN                                 324 BAY MID CO LINE                                                                             MIDLAND        MI    48640
DUANE L SHOEMAKER                               1130 AMBERWOOD WEST SW DR                                                                       BYRON CENTER   MI    49315
DUANE L SMITH                                   3112 GALE RD                                                                                    EATON RAPIDS   MI    48827‐9635
DUANE L SWITZER                                 5443 WEBSTER RD                                                                                 FLINT          MI    48504‐1008
DUANE L TUNE                                    12276 S STATE RD                                                                                MORRICE        MI    48857‐9725
DUANE L WILLIAMS                                1005 BURLINGTON DR                                                                              FLINT          MI    48503‐2978
DUANE L WISNIEWSKI                              LOT 65                                 2985 GADY RD                                             ADRIAN         MI    49221‐9363
DUANE LEE LAURIE                                PO BOX 126                                                                                      SULPHUR SPGS   IN    47388
DUANE M BALDWIN & JACQUELINE BALDWIN JT TEN     7510 RIDGE RD                                                                                   PORT RICHEY    FL    34668‐7099

DUANE M BIRD & KAREN R BIRD JT TEN              2349 ALMOND RD                                                                                  WILLIAMSTON    MI    48895‐9753
DUANE M BURNAP                                  30 HOLLAND RD                                                                                   WINTHROP       NY    13697‐3115
DUANE M CHEZEM                                  11680 MARSHALL RD                                                                               BIRCH RUN      MI    48415‐8740
DUANE M FARRAND                                 3136 TAUSEND                                                                                    SAGINAW        MI    48601‐4603
DUANE M KASEL                                   263 GOLDENWOOD CIR                                                                              SIMI VALLEY    CA    93065‐6772
DUANE M KRAUSS                                  2155 MORGAN RUN RD                                                                              INTERLOCHEN    MI    49643‐9152
DUANE M RUSSOW                                  28545 KING                                                                                      ROMULUS        MI    48174‐9447
DUANE M TAYLOR & HAZEL L TAYLOR TR DUANE M      231 TERRACE GDNS                                                                                MANHEIM        PA    17545‐8586
TAYLOR TRUST UA 01/21/94
DUANE MAYFIELD COUSINS                          12350 CENTER RD                                                                                 CLIO           MI    48420‐9132
DUANE MILLER                                    4021 RACE ST                                                                                    FLINT          MI    48504‐2237
DUANE MILLER                                    5652 FIRESTONE                                                                                  LIVERMORE      CA    94550‐1186
DUANE MOELLER                                   1625 CEDAR SCOTT RD                                                                             NEW LIBERTY    IA    52765
DUANE MOORE                                     4014 VISTA CALAVERAS ST                                                                         OCEANSIDE      CA    92056‐4606
DUANE N DINNINGER                               4401 WALTON PL                                                                                  SAGINAW        MI    48603‐2094
DUANE NEWCOMB                                   301 N 8TH ST                                                                                    NOBLE          OK    73068‐9591
DUANE NEWTON                                    6257 KELLY ROAD                                                                                 FLUSHING       MI    48433‐9029
DUANE O CHRISTOPHERSON & MRS CAROLE A           6038 PATRICK HENRY                                                                              SAN ANTONIO    TX    78233‐5221
CHRISTOPHERSON JT TEN
DUANE P POWERS & MRS PATRICIA L POWERS JT TEN   4924 MAPLE SHADE AVE                                                                            SACHSE         TX    75048‐4680

DUANE P SHIPMAN                                 8740 ROUND LAKE RD                                                                              VERMONTVILLE   MI    49096‐9714
DUANE P THOMPSON                                4985 W 700TH N                                                                                  LARWILL        IN    46764‐9736
DUANE R BEAVER                                  7181E CASS CITY RD                                                                              CASS CITY      MI    48726‐9702
DUANE R BOSWELL                                 4138 ANN                                                                                        SAGINAW        MI    48603‐4103
DUANE R BUCHANAN                                PO BOX 15                                                                                       CENTRAL LAKE   MI    49622‐0015
DUANE R CAMPBELL                                275 19TH STREET                                                                                 OTSEGO         MI    49078‐9648
DUANE R DAVIS                                   5510 HIDDEN VALLEY CT                                                                           LINDEN         MI    48451‐8842
DUANE R DREON                                   91‐1012 KAI IKUWA ST                                                                            EWA BEACH      HI    96706‐5056
DUANE R DZIEWIT                                 191 S CASS LAKE RD                                                                              WATERFORD      MI    48328‐3525
DUANE R EDEN                                    524 WASHINGTON                                                                                  SEBEWAING      MI    48759‐1128
DUANE R FELL                                    33 WARREN DR                                                                                    NORWALK        OH    44857‐2447
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DUANE R GORDON                                      6280 DENTON HILL RD                                                                           FENTON          MI    48430‐9475
DUANE R GRIFFIN                                     8006 GLENTIES LANE                                                                            SUNLAND         CA    91040‐3316
DUANE R LLOYD                                       15051 K K AVE                                                                                 IOWA FALLS      IA    50126‐8571
DUANE R LLOYD & MRS PHYLLIS LLOYD JT TEN            15051 K K AVE                                                                                 IOWA FALLS      IA    50126‐8571
DUANE R RAICHEL                                     10394 E POTTER RD                                                                             DAVISON         MI    48423‐8163
DUANE R ROUX                                        18817 COLVIN                                                                                  ST CHARLES      MI    48655‐9784
DUANE R SATTERTHWAITE                               1250 DUTTON RD                                                                                ROCHESTER       MI    48306‐2427
DUANE R SATTERTHWAITE & DIANE A SATTERTHWAITE       1250 DUTTON RD                                                                                ROCHESTER       MI    48306‐2427
JT TEN
DUANE R WEBER                                       13298 PRATT ROAD                                                                              PORTLAND        MI    48875‐9517
DUANE R WHITSCELL                                   5546 TIMBERBEND RD                                                                            SEARS           MI    49679‐8140
DUANE ROBERT RUSSELL                                2000 ALPHA STREET                                                                             LANSING         MI    48910‐3505
DUANE S BOUGHTON & MYRNA S BOUGHTON JT TEN          4153 FORBUSH AVE                                                                              W BLOOMFIELD    MI    48323‐1034

DUANE S DANKO                                   1874 RANK RD                                                                                      GRASS LAKE      MI    49240‐9286
DUANE S DEYOUNG & ARLENE K DEYOUNG JT TEN       2716 ROLLING HILL                                                                                 PORTAGE         MI    49024‐6645
DUANE S KENNEDY SR TR KENNEDY TRUST UA 06/11/92 920 THORNHILL PL                                                                                  VIRGINIA BCH    VA    23462‐5219

DUANE S MARKELL                                535 CHUKKER CV                                                                                     HOWELL          MI    48843‐8684
DUANE S WILLIAMS                               409 ELLIS RD                                                                                       MILFORD         NJ    08848‐1568
DUANE S WINTER                                 14501 HANNAN RD                                                                                    ROMULUS         MI    48174‐1049
DUANE ST GERMAIN & MRS MARY LYNN ST GERMAIN JT 1407 PARK AVE                                                                                      RIVER FOREST    IL    60305‐1021
TEN
DUANE T JONES & JOAN M JONES JT TEN            3164 FLINT HILL RD                                                                                 COOPERSBURG     PA    18036‐9246
DUANE T LYONS & MRS MARY ALICE LYONS JT TEN    362 MEADOWBRIAR ROAD                                                                               ROCHESTER       NY    14616‐1114
DUANE T PEDERSON                               3340 RIDGECLIFFE DRIVE                                                                             FLINT           MI    48532‐3737
DUANE T PHILLIPS                               4024 WESTHILL DR                                                                                   HOWELL          MI    48843‐9491
DUANE TAYLOR STANDLEY                          856 STANDLEY RD                                                                                    MADISONVILLE    TX    77864‐7110
DUANE THUROW CUST NICHOLAS P MAGERA UTMA SD 14 SE 2ND AVE                                PO BOX 99                                                ABERDEEN        SD    57402‐0099

DUANE TUNNYHILL                                     4937 ASPEN DRIVE                                                                              OMAHA           NE    68157‐2241
DUANE V EX JR                                       9483 HAMMIL RD                                                                                OTISVILLE       MI    48463‐9785
DUANE W BEAN II                                     2530 STERLING RD                                                                              OMER            MI    48749‐9719
DUANE W MATTES                                      1532 GILMORE DR                                                                               CLAIRTON        PA    15025‐2706
DUANE W NOWACZYK                                    3051 GLADWIN DRIVE                                                                            SAGINAW         MI    48604‐2414
DUANE W NOWACZYK & JUDITH M NOWACZYK JT TEN         3051 GLADWIN DRIVE                                                                            SAGINAW         MI    48604‐2414

DUANE W PARKER                                      291 GROOMS RD                                                                                 CLIFTON PARK    NY    12065‐6216
DUANE W SARHAN                                      G8417 BEECHER RD                                                                              FLUSHING        MI    48433
DUANE W WITHEY                                      G1125 LINUS ST                                                                                FLINT           MI    48507
DUANE WHITE                                         2628 ELMHURST                                                                                 DETROIT         MI    48206‐1102
DUANNE A SPAETH                                     9900 SONORA DRIVE                                                                             FREELAND        MI    48623‐8820
DUARD A GRACE JR & CLEO RUTH GRACE JT TEN           2587 STARDUST AVE                                                                             EUSTIS          FL    32726‐2077
DUDLEY A KIMBALL                                    2710 N EMERALD GROVE RD                                                                       MILTON          WI    53563‐8694
DUDLEY B MCPEEK                                     6715 BILLINGS ROAD                                                                            CASTALIA        OH    44824‐9216
DUDLEY D DEELEY & MINNIE F DEELEY JT TEN            95 WELLINGTON ST SUITE 203           BOWMANVILLE ON                         L1C 5A1 CANADA
DUDLEY D JENKINS                                    69 WEED AVE                                                                                   STAMFORD        CT    06902‐3516
DUDLEY DRAKE CEMETERY ASSOCIATION                   C/O MARY GRACE N DONALDSON TREAS     404 JEFFERSON ST                                         BENNETTSVILLE   SC    29512‐2506
DUDLEY E AYLE & JULIA I AYLE TR AYLE FAM TRUST UA   1657 SALEM RD                                                                                 DUBOIS          PA    15801
07/01/99
DUDLEY E JOHNSON                                    1109 NW 134TH AVE                                                                             SUNRISE         FL    33323‐2914
DUDLEY EUGENE MAPLES                                910 PARK AVE                                                                                  ANDERSON        IN    46012‐4011
DUDLEY F HEREFORD JR                                PO BOX 15775                                                                                  CINCINNATI      OH    45215‐0775
DUDLEY F LEVALLEY                                   2828 BLUE RIDGE PATH                                                                          STEVENSVILLE    MI    49127‐9364
DUDLEY F OBRIEN                                     1763 MEADOWDALE AVE NE                                                                        ATLANTA         GA    30306‐3113
DUDLEY G HANCOCK                                    3520 GRACE AVENUE                                                                             SAINT LOUIS     MO    63116‐4713
DUDLEY H COOK                                       25421 PERSHING AVE                                                                            MATTAWAN        MI    49071‐9308
DUDLEY J JOHNSON & MARY GENE JOHNSON JT TEN         13214 N 26TH PL                                                                               PHOENIX         AZ    85032‐5903
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DUDLEY J MEEKINS & DEBRA LYNN MEEKINS TEN ENT   121 HEARTH STONE DR                                                                                     ELKTON          MD    21921‐6055

DUDLEY JACKMAN                                  25 ORCHARD LN                                                                                           LIVINGSTON      NJ    07039‐1506
DUDLEY L O DELL                                 33006 7 MILE RD 423                                                                                     LIVONIA         MI    48152‐1358
DUDLEY LINCOLN PEASE                            1442 EAST HENRIETTA ROAD                                                                                ROCHESTER       NY    14623‐3118
DUDLEY M ALEXANDER                              7828 EAST RIDGE DRIVE                                                                                   ALMONT          MI    48003‐8720
DUDLEY R KOPEN                                  BOX 155                                                                                                 CENTREVILLE     MI    49032‐0155
DUDLEY R PHELPS                                 118 MIDDLETON PL                                                                                        MOORESVILLE     NC    28117‐9140
DUDLEY V SMITH                                  19 THE BROADWAY GUSTARD WOOD             WHEATHAMPSTEAD HERTS                   GREAT BRITAIN
DUEL D DAVIS                                    1300 SOUTH 13TH STREET                                                                                  POPLAR BLUFF    MO    63901‐6444
DUEL L NEVINS                                   6525 MILLS RD                                                                                           INDIANAPOLIS    IN    46221‐9649
DUEL MCDONALD                                   5741 E TRUMAN AVE                                                                                       FRESNO          CA    93727‐6479
DUEL W WOODS                                    PO BOX 4                                                                                                CYPRESS INN     TN    38452‐0004
DUFF WARD DUCKETT                               PO BOX 984                                                                                              DAMARISCOTTA    ME    04543‐0984
DUFFER B CRAWFORD TR UA 06/18/1990 HAZEL M      14342 CINDYWOOD                                                                                         HOUSTON         TX    77079
CRAWFORD TRUST
DUFFIE L BRYANT                                 9046 S UNION AVE                                                                                        CHICAGO         IL    60620‐2235
DUGALD W YSKA                                   12702 NW 13TH CT                                                                                        CORAL SPRINGS   FL    33071‐5443
DUILIO FONTANA                                  ATTN ELSIE FONTANA                       26540 BURG ROAD #306‐A                                         WARREN          MI    48089‐3556
DUILIO J NATALI                                 4060 KINCAID N W                                                                                        WARREN          OH    44481‐9125
DUKBAE AN                                       1715 W TAYLOR STREET                                                                                    KOKOMO          IN    46901‐4217
DUKE W ALEXANDER                                260 ROLLINGWOOD TRL                                                                                     ALTAMONTE       FL    32714‐3413
                                                                                                                                                        SPRINGS
DUKEN E COLE                                    418 KENWAY DR                                                                                           LANSING         MI    48917‐3039
DULA HOOD                                       1247 HOGUE ROAD                                                                                         HAMILTON        OH    45013‐9323
DULAN A WALLACE                                 2361 HALLSVILLE RD                                                                                      ROSE HILL       NC    28458‐8562
DULCE S ARONOFF CUST MICKEY D'LOUGHY UGMA MI    1029 NORTH LAKE STREET                                                                                  BOYNE CITY      MI    49712‐9381

DULCEA M INGALA                                 S3135 RED PINE RD                                                                                       BARABOO         WI    53913‐9521
DULCIE ANN OWENS                                PO BOX 52790                                                                                            TULSA           OK    74152‐0790
DULCYNE KRASKI                                  2309 PRIMROSE ST                                                                                        PITTSBURG       PA    15203‐2426
DUMITRU COZACU CUST GEORGE COZACU UGMA MI       1281 WALNUT                                                                                             DEARBORN        MI    48124‐5012

DUMITRU GHIZDAVU                                14514 W SHAW BUTTE DR                                                                                   SURPRISE        AZ    85379‐4460
DUNCAN A MC CANNEL                              2862 24 1/2 AVE                                                                                         RICE LAKE       WI    54868
DUNCAN A MC NEILL                               2698 ERICKSON RD                                                                                        ASHVILLE        NY    14710‐9654
DUNCAN A SCHAEFER                               PO BOX 731                                                                                              MARTINEZ        CA    94553
DUNCAN A WHITE                                  315 E 106 STREET                         APT 6B                                                         NEW YORK        NY    10029
DUNCAN BARRY CURR                               37 BREWSTER GARDENS                      NORTH KENSINGTON           LONDON      W10 6AQ GREAT BRITAIN
DUNCAN BROGAN ALVAREZ                           4 EAST DR                                                                                               GARDEN CITY     NY    11530‐1907
DUNCAN G LEITH                                  51 BIRCHWOOD DR                                                                                         HOLDEN          MA    01520‐1937
DUNCAN H MAC LEOD                               PO BOX 111                                                                                              WILMINGTON      MA    01887‐0111
DUNCAN J KOREIVO                                2045 FLEET STREET                                                                                       BALTIMORE       MD    21231‐3042
DUNCAN J MCGREGOR                               ATT CHRISTINE MC GREGOR                  189 W BROOKLYN                                                 PONTIAC         MI    48340‐1125
DUNCAN J SEATON                                 403 JEWETT ST                                                                                           HOWELL          MI    48843‐2120
DUNCAN JAMES WHITTED                            3510 CRANBROOK DR                                                                                       FAYETTEVILLE    NC    28301‐2551
DUNCAN M CAMPBELL                               796 WINTON ROAD SOUTH                                                                                   ROCHESTER       NY    14618‐1606
DUNCAN M MORROW                                 1000 PENNWAY DR                                                                                         LANSING         MI    48910‐4742
DUNCAN MAHONE                                   1380 BRYANT RD                                                                                          LONG BEACH      CA    90815‐4106
DUNCAN MC INNES CUST PHILIPPA MARY LOUISE MC    6 WESTANLEY AVE                          AMERSHAM BUCKINGHAMSHIRE               HP7 9AZ GREAT BRITAIN
INNES UGMA MA
DUNCAN N JOHNSON JR                             1100 WALTON WAY                                                                                         AUGUSTA         GA    30901‐2144
DUNCAN P KENDALL                                1826 VALLEY VISTA DRIVE                                                                                 BETTENDORF      IA    52722‐3882
DUNCAN P SHERMAN                                1300 NEWCASTLE AVE                                                                                      WESTCHESTER     IL    60154‐3611
DUNCAN R PIKE                                   19 WRANGLER RD                                                                                          NEWARK          DE    19711‐3709
DUNCAN T WEAVER & RUTH C WEAVER JT TEN          248 HICKORY AVE                                                                                         BERGENFIELD     NJ    07621‐1843
DUNCAN T WEAVER SR                              248 HICKORY AVE                                                                                         BERGENFIELD     NJ    07621‐1843
DUNCAN V HAMILTON                               105 PUMPKIN LANE                                                                                        SYRACUSE        NY    13219‐2149
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DUNG H MAI                                      PO BOX 9766                                                                                          FOUNTAIN VALLEY    CA    92728‐9766

DUNLAP VANICE 3RD                               5000 W 64TH ST                                                                                       PRAIRIE VILLAGE    KS    66208‐1326
DUNN & CO                                       20825 BLUE WATER DR                                                                                  SPIRIT LAKE        IA    51360‐7210
DURA WHEELER                                    1407 BRAEWOOD PL                                                                                     DUNCANVILLE        TX    75137‐2801
DURALL P DOBBINS & JANICE M DOBBINS JT TEN      2918 7TH AVENUE SOUTH                                                                                BIRMINGHAM         AL    35233‐2904
DURAN PHILLIPS                                  6795 HWY 157                                                                                         DANVILLE           AL    35619‐9652
DURANT D CHARLEROY                              108 DALTON TERRACE                                                                                   CHERRY HILL        NJ    08003‐4601
DURETH O MORGAN                                 48 CALORA COURT                      AGINCOURT ON                           M1W 2Z9 CANADA
DURETH O MORGAN                                 48 CALORA COURT                      AGINCOURT ON                           M1W 2Z9 CANADA
DURINDA S CUNNINGHAM                            6312 W KILGORE AVE                                                                                   MUNCIE             IN    47304‐4732
DURLE C MOTLEY                                  2763 W 8 MILE RD                                                                                     DETROIT            MI    48203‐1071
DURREL L JOHNSON                                660 BELL RD 315                                                                                      ANTIOCH            TN    37013‐5037
DURRELL KYLE                                    1660 KENDALL DR                      APT 28                                                          SN BERNRDNO        CA    92407‐2836
DURRELL M HAYES                                 1761 RIVERSIDE DR                                                                                    AUGRES             MI    48703‐9794
DURWARD E GRUBBS & KIMBERLY A MAYNARD JT TEN    8400 SUNSET DRIVE                                                                                    MANASSAS           VA    20110‐3816

DURWARD E HAVEN                                 PO BOX 3253                                                                                          MONTROSE           MI    48457‐0953
DURWARD L HUTCHINSON                            1734 STRASBURG RD                                                                                    MONROE             MI    48161
DURWARD M WRIGHT                                673 SOMERSET DRIVE                                                                                   LAWRENCEVILLE      GA    30045
DURWIN D RICE                                   5427 SOUTHLAWN                                                                                       STERLING HEIGHTS   MI    48310‐6565

DURWOOD C ADAMS                                 RT 1 BOX 505                                                                                         MARTIN             GA    30557‐9705
DURWOOD K ABELS                                 733 NINTH ST                                                                                         CARLSTADT          NJ    07072‐1710
DURWOOD K DOW                                   4586 SAG HIGHWAY                                                                                     MULLIKEN           MI    48861
DURWOOD L EVANS                                 553 E EVANS RD                                                                                       PRINCETON          NC    27569‐7031
DUSAN BALIC                                     Z P BIJELA S JOSICA                  BOKA KOTORSKA        SERBIA            REPUBLIC OF MONTENEGRO

DUSAN M IVANISEVIC                              20 LEXINGTON PKWY                                                                                    ROCHESTER       NY       14624‐4246
DUSAN S BOZINOVSKI                              1 CHARLENE DRIVE                                                                                     ROCHESTER       NY       14606‐3501
DUSANKA NIKOLOVSKA                              5140 WOODRUN COURT                                                                                   WEST BLOOMFIELD MI       48323‐2272

DUSIT K OBHAS                                   3397 HOLLOW SPRING DR                                                                                DEWITT             MI    48820‐8722
DUSTIN B GLADDEN & MOREY R GLADDEN JT TEN       1935 SARASOTA COURT                                                                                  MUSKEGON           MI    49441‐4553
DUSTIN BENECKE                                  1636 OCEAN FOREST DR                                                                                 FERNANDINA         FL    32034‐5624
DUSTIN C WOLFF                                  3891 AUSTINBURG RD                                                                                   ASHTABULA          OH    44004
DUSTIN DAUGHERTY                                2002 MAPLEWOOD DR                                                                                    GAINESVILLE        TX    76240‐3714
DUSTIN EDWARD JOHNSON                           205 PINE CREEK DR                                                                                    CARLISLE           PA    17013‐9675
DUSTIN GREGORY HARDY                            1415 CEDAR VALLEY RD                                                                                 PETOSKEY           MI    49770‐9530
DUSTIN MACKIN                                   2 BROOKSIDE DRIVE                                                                                    FALMOUTH           ME    04105
DUSTIN MICHAEL JONES                            3577 HANNAMAN RD                                                                                     COLUMBIAVILLE      MI    48421‐8948
DUSTIN PAUL CONRAD & JOAN SENTERS JT TEN        16557 REPUBLIC                                                                                       BERLIN CENTER      OH    44401‐9760
DUSTIN R HOWARD                                 5390 N 31ST ST                                                                                       RICHLAND           MI    49083‐9700
DUSTIN WELCH & MARLA MCGINTY JT TEN             19090 GEHRICKE RD                                                                                    SONOMA             CA    95476‐4711
DUTCHA L DAVIS                                  11108 ASHBURY MEADOWS DR                                                                             DAYTON             OH    45458‐6402
DUTCHTOWN ELEMENTARY JUNIOR 4‐H CLUB            C/O SHERI RICHARD                    13078 HWY 73                                                    GEISMAR            LA    70734‐3020
DUTCHTOWN JUNIOR                                DUTCHTOWN MIDDLE SCHOOL              13078 HWY 73                                                    GEISMAR            LA    70734‐3020
DUVAL F DICKEY JR                               1210 ST JOHN WOODS                                                                                   HOUSTON            TX    77077‐2240
DUWAINE R RAATZ                                 570 W CLARKSTON RD                                                                                   LAKE ORION         MI    48362‐2680
DUWAYNE A BARKER                                3230 S DEERFIELD                                                                                     LANSING            MI    48911‐1819
DUWAYNE TURNER                                  36 GOVERNORS PLACE                                                                                   COLUMBUS           OH    43203‐1911
DUWAYNE WALTER MANSFIELD                        1136 WISNER                                                                                          MT MORRIS          MI    48458‐1612
DUWYANE E DEIHM                                 2105 BURTON AVE                                                                                      HOLT               MI    48842‐1312
DWAIN A CANTRELL                                296 COUNTY RD 619                                                                                    WOODLAND           AL    36280‐7416
DWAIN C REYNOLDS & VIVIAN J REYNOLDS JT TEN     725 PERCH COVE CT                                                                                    MIDDLEVILLE        MI    49333
DWAIN D WYLIE & PHYLLIS P WYLIE JT TEN          4625 COURTNEY RD                                                                                     MT ROSE            MI    48457‐9604
DWAIN DALE BRANDT                               3146 LITTLE MOUNTAIN DR              APT C                                                           SN BERNRDNO        CA    92405‐1859
DWAIN E MUSE                                    3760 EDWARDS RD                                                                                      CINCINNATI         OH    45209‐1933
DWAIN E TIELBUR                                 2536 GREENS MILL RD                                                                                  COLUMBIA           TN    38401‐6177
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DWAIN ELLISON                                  14911 ROSSINI                                                                                DETROIT           MI    48205‐1948
DWAIN G MC CARROLL                             7558 N CO RD 800W                                                                            MIDDLETOWN        IN    47356‐9722
DWAIN GEHLE                                                                                                                                 BUCKLEY           IL    60918
DWAIN H CHASTAIN                               BOX 6007                                                                                     FT WORTH          TX    76115‐0007
DWAIN J BORR                                   8029 KRAFT AVE S E R 2                                                                       CALEDONIA         MI    49316‐9403
DWAIN L COLLINS                                32424 LARKMOOR                                                                               ST CLAIR SHORES   MI    48082‐1325
DWAIN L GRAY                                   1695 GUNNELL ROAD                                                                            EATON RAPIDS      MI    48827
DWAIN REEVES                                   14 CRESTWOOD CIR                                                                             SUGAR LAND        TX    77478‐3914
DWAIN T ADKINS                                 4416 LAFAYETTE AVE                                                                           CINCINNATI        OH    45212‐3109
DWAINE A DAVIS                                 24370 S 184TH PL                                                                             QUEEN CREEK       AZ    85142‐9077
DWAINE C LOOMIS                                7680 SHARP LANE                                                                              LAWSON            MO    64062‐6236
DWAINE D LEE                                   7129 BRYANT ROAD P O BOX 471                                                                 PELLSTON          MI    49769‐0471
DWAINE J DIAZ                                  9209 COLLETT AVE                                                                             NORTH HILLS       CA    91343‐2906
DWAINE J TWEET & BECKY G TWEET JT TEN          411 N 6TH ST                        # 863                                                    EMERY             SD    57332‐2124
DWAINE L SMITH                                 973 REED RD                                                                                  MANSFIELD         OH    44903‐6923
DWAINE PETER DARLING                           54 WESTWOOD DRIVE                                                                            MASSENA           NY    13662‐1616
DWANE J MARTINEAU                              7855 11 MILE RD                                                                              CERESCO           MI    49033‐9726
DWANE RUTH                                     5225 BLAKESLEE AVE                  APT 419                                                  N HOLLYWOOD       CA    91601‐3247
DWANLES M BENNETT                              3825 LANTERMAN RD                                                                            YOUNGSTOWN        OH    44515‐1317
DWARNER STEWART                                10656 BALFOUR                                                                                DETROIT           MI    48224‐1815
DWAYNE A CRITES JR                             944 NW 2ND ST                                                                                MOORE             OK    73160‐2106
DWAYNE A DICKERSON CUST LOWELL AARON           131 KNOLLCREST                                                                               MORTON            IL    61550‐3115
DICKERSON UTMA IL
DWAYNE A DICKERSON CUST MARGARET E DICKERSON   131 KNOLLCREST                                                                               MORTON            IL    61550‐3115
UTMA IL
DWAYNE A DICKERSON CUST SARAH ELIZABETH        131 KNOLLCREST                                                                               MORTON            IL    61550‐3115
DICKERSON UTMA IL
DWAYNE A DOUGLAS                               1100 DESOTO AVE                                                                              YPSILANTI         MI    48198‐6288
DWAYNE A DUCOMMUN                              825 DUNDANCE DRIVE                  OSHAWA ON                              L1J 8B8 CANADA
DWAYNE A HUNTZINGER                            225 N WEST DRIVE                                                                             PENDLETON         IN    46064‐1021
DWAYNE A MYERS                                 4528 CENTRAL AVE                                                                             MIDDLETOWN        OH    45044‐5241
DWAYNE A RICHARDSON                            3517 SHIRAZ LOOP                                                                             ROUND ROCK        TX    78665‐6310
DWAYNE ALEXANDER                               4295 E OUTERDRIVE                                                                            DETROIT           MI    48234‐3122
DWAYNE B KENNEDY                               3460 RAHN BLVD                                                                               BELLEVUE          NE    68123‐2645
DWAYNE B LOCKE                                 15953 BAY VISTA DR                                                                           CLERMONT          FL    34711‐5065
DWAYNE B WHERRY                                5133 W SOUTHERN AVE                                                                          INDIANAPOLIS      IN    46241‐5129
DWAYNE BUNGY                                   101 6TH AVE                                                                                  NEW CASTLE        DE    19720
DWAYNE BURGER                                  RR #5                               LANGTON ON                             N0E 1G0 CANADA
DWAYNE C ST JOHN                               263 FLANDERS RD                     TECUMSEH ON                            N8N 3G1 CANADA
DWAYNE D NORTHERN SR                           15655 ALTOMARE TRACE WAY                                                                     WOODBRIDGE        VA    22193‐5780
DWAYNE D TRAKUL & CAROL J TRAKUL JT TEN        9164 MORNING WALK LANE              APT 104                                                  CORDOVA           TN    38018‐2430
DWAYNE DUFF                                    108 5TH AVE                                                                                  COLUMBIA          TN    38401‐2812
DWAYNE E NEWMAN                                25820 TECLA                                                                                  WARREN            MI    48089‐4112
DWAYNE ELLIS                                   1415 BACKM MASSILLON RD                                                                      ORRVILLE          OH    44667‐9059
DWAYNE ERIC PERKINS                            PO BOX 14182                                                                                 JACKSON           MS    39236‐4182
DWAYNE F GARNO                                 6726 WESTSIDE SAGINAW RD                                                                     BAY CITY          MI    48706‐9325
DWAYNE G MESSINA                               9612 E MADISON RD                                                                            SAINT HELEN       MI    48656‐9623
DWAYNE GREENWAY                                1102 MULBERRY ST                                                                             KEYESPORT         IL    62253‐1664
DWAYNE H WILLIAMSON                            554 KENT STREET                                                                              MOBILE            AL    36617‐3007
DWAYNE HARRIS                                  967 CHILI AVE                       APT 7                                                    ROCHESTER         NY    14611‐2861
DWAYNE KNIGHT                                  10978 HORSE SHOE DR                                                                          FREDERICK         MD    21701‐3376
DWAYNE L HALL                                  1405 HUNT ROAD                                                                               MAYVILLE          MI    48744‐9675
DWAYNE L RICHARDSON                            188 SMITH RD                                                                                 SUMMERVILLE       GA    30747‐5802
DWAYNE LACEY                                   446 STATE ROUTE 534 N W                                                                      NEWTON FALLS      OH    44444
DWAYNE LAMONT BULL                             3 WEISKOPF DR                                                                                MIDDLETOWN        DE    19709
DWAYNE LEE RICHARDSON CUST AUSTIN WADE         188 SMITH RD                                                                                 SUMMERVILLE       GA    30747‐5802
RICHARDSON UTMA GA
DWAYNE LUSTER                                  825 E PIKE ST                                                                                PONTIAC           MI    48342
DWAYNE M JONES                                 5132 STONEY BRIDGE COURT                                                                     MINNETONKA        MN    55345‐4200
                                            09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

DWAYNE M KUBACKI                                  45785 BRYNMAWR                                                                                 CANTON TOWNSHIP MI    48187‐4793

DWAYNE M ROYSTON                                  2619 AGNES AVE                                                                                 KANSAS CITY     MO    64127‐4135
DWAYNE MARSTON NEWMAN                             8910 JUDDVILLE ROAD                   RT 1                                                     CORUNNA         MI    48817‐9760
DWAYNE N SMALL                                    25550 CATALINA ST                                                                              SOUTHFIELD      MI    48075‐1775
DWAYNE P SAVOY                                    10418 BOND STREET                                                                              OVERLAND PARK   KS    66214‐2607
DWAYNE R BAKER                                    1126 COLUMBUS STREET                                                                           NEW ORLEANS     LA    70116
DWAYNE RICHEY                                     4103 W GRAND ST                                                                                DETROIT         MI    48238‐3970
DWAYNE RODGER ARMSTRONG                           41 PAUL RD CHELSEA ESTATES                                                                     NEW CASTLE      DE    19720‐1727
DWAYNE RODI                                       14900 GALENA DR                                                                                AUSTIN          TX    78717
DWAYNE S BUSSARD                                  5121 HARPERS FERRY RD                                                                          SHARPSBURG      MD    21782‐1724
DWAYNE SCOTT CUST JASON K SCOTT UGMA NJ           11 SEQUOIA DR                                                                                  ROCHESTER       NY    14624‐4509
DWAYNE SPANGLER & CATHERINE L SPANGLER JT TEN     BOX 605                                                                                        KIRKSVILLE      MO    63501‐0605

DWAYNE SWINNEY                                    PO BOX 13051                                                                                   FLINT           MI    48501‐3051
DWAYNE T ZUNNER & LAUREEN M ZUNNER JT TEN         8004 PENSACOLA RD                                                                              FT PIERCE       FL    34951‐1446
DWAYNE THOMAS CLARY                               239 TRURO CT                                                                                   LEBANON         OH    45036‐8977
DWAYNE TRIVAX                                     1933 TWIN SUN CIRCLE                                                                           COMMERCE        MI    48390
                                                                                                                                                 TOWNSHIP
DWAYNE W COMBS                                    863 DEERFIELD RD                                                                               ANDERSON        IN    46012‐9375
DWAYNE W ROSE                                     1141 S READ RD                                                                                 JANESVILLE      WI    53546‐8719
DWC COMPANY                                       2386 CLOWER STREET #F‐202                                                                      SNELLVILLE      GA    30078‐6134
DWENELL A MILLS                                   PO BOX 9022                                                                                    WARREN          MI    48090‐9022
DWIGHT A ARNOLD                                   711 E KENTUCKY AVE                                                                             LA FOLLETTE     TN    37766‐4427
DWIGHT A BARTEL                                   4739 BILLMYER HWY                                                                              BRITTON         MI    49229‐9722
DWIGHT A FRYER                                    101 HALCYON DR                                                                                 NEW CASTLE      DE    19720‐1240
DWIGHT A HARRIENGER                               1304 LAKEVILLE LN                                                                              WEBSTER         NY    14580‐9427
DWIGHT A HOWARD                                   4917 WOODFIELD DRIVE                                                                           CARMEL          IN    46033‐9424
DWIGHT A JOELLENBECK                              202 ANNA                                                                                       BELLEVILLE      IL    62226‐3931
DWIGHT A PAYNTER                                  9533 SAINT CLAIR HWY                                                                           CASCO           MI    48064‐1108
DWIGHT A RUST                                     5980 SPRINGBURN DR N                                                                           DUBLIN          OH    43017‐8730
DWIGHT A SMITH                                    5103 WELLFLEET DRIVE                                                                           TROTWOOD        OH    45426‐1419
DWIGHT A WILLIAMS                                 19809 LESURE ST                                                                                DETROIT         MI    48235‐1523
DWIGHT ARTHUR AMATO                               300 GRANT AVE                                                                                  MIDDLESEX       NJ    08846‐1124
DWIGHT B GROVE                                    340 BORDEN ROAD                                                                                WEST SENECA     NY    14224‐1713
DWIGHT C SAYLOR                                   20 COUNTY RD 358                                                                               TRINITY         AL    35673‐5301
DWIGHT C THARP TR DWIGHT C THARP DECL OF TRUST    310 E SEVLAND STREET                                                                           W FRANKFORT     IL    62896
UA 06/20/01
DWIGHT C THEODORE                                 624 S WESTNEDGE                                                                                KALAMAZOO       MI    49007‐5056
DWIGHT D CANFIELD                                 RT 6 BOX 501                                                                                   MARTINSBURG     WV    25401‐9270
DWIGHT D CHAMBERS                                 6397 NO 9 RD                                                                                   BROOKVILLE      OH    45309
DWIGHT D CHAMBERS & ROSANNA M CHAMBERS JT         6397 NO 9 RD                                                                                   BROOKVILLE      OH    45309
TEN
DWIGHT D CORDTS                                   87 MILO PECK LANE                                                                              WINDSOR         CT    06095‐1867
DWIGHT D GOODMAN & INGEBORG GOODMAN JT TEN        15 W PINE ST                                                                                   KNIGHTSTOWN     IN    46148‐1344

DWIGHT D GRABITSKE & DELORES V GRABITSKE JT TEN   302 W ADAMS                                                                                    ARLINGTON       MN    55307

DWIGHT D HESS                                     5616 S 100 W                                                                                   PENDLETON       IN    46064‐9162
DWIGHT D HICKMAN                                  2536 MAPLEVIEW CT SE                                                                           KENTWOOD        MI    49508‐8427
DWIGHT D MAHURIN                                  360 S M ST LOT #15                                                                             IRONTON         MO    63650‐9119
DWIGHT D MC CULLOCH & DUANA R MC CULLOCH JT       2420 OAK LANE RD                                                                               KAWKAWLIN       MI    48631‐9441
TEN
DWIGHT D MCCULLOCH                                2420 OAK LANE RD                                                                               KAWKAWLINI      MI    48631‐9441
DWIGHT D MUFFETT                                  204 WEST BURGESS AVE                                                                           MORRISVILLE     PA    19067‐2038
DWIGHT D ROGERS                                   205 ELLIS RD                                                                                   COLUMBIA        LA    71418‐4029
DWIGHT D RONE                                     14156 BRADY                                                                                    REDFORD         MI    48239‐2823
                                                                                                                                                 TOWNSHIP
DWIGHT D WALKER                                   405 BLEVINS RUN                                                                                YORKTOWN        VA    23693‐4185
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DWIGHT DIXON & CAROL DIXON JT TEN                 5009 LAKE DAWNWOOD DR                                                                           MC HENRY        IL    60050‐7762
DWIGHT E CASLER JR                                4208 S 100 EAST                                                                                 KOKOMO          IN    46902‐9275
DWIGHT E FOY                                      900 VAN DEMAN ST                                                                                WASHINGTON C    OH    43160‐1071
DWIGHT E GRINDEL                                  4207R BUTLER ST                                                                                 PITTSBURGH      PA    15201
DWIGHT E KEITH                                    3080 OLD ORCHARD                                                                                WATERFORD       MI    48328‐3650
DWIGHT E KLOTZ                                    2703 CONGRESS DRIVE S W                                                                         CANTON          OH    44706‐4293
DWIGHT E LACOE & SANDRA S LACOE JT TEN            2471 CHERRY HILL ROAD                                                                           CLARKS SUMMIT   PA    18411‐9651
DWIGHT E MANKER                                   5097 CRESCENT RIDGE DR                                                                          CLAYTON         OH    45315‐9676
DWIGHT E MCELDOWNEY                               5139 WESTHILL DR                                                                                LANSING         MI    48917‐4442
DWIGHT E NEVELS                                   16509 OHIO                                                                                      DETROIT         MI    48221‐2955
DWIGHT E REEDER                                   7167 WEST BUCKSKIN TRAIL                                                                        PEORIA          AZ    85383
DWIGHT E TAYLOR                                   2461 GLYNN                                                                                      DETROIT         MI    48206‐1746
DWIGHT E THOMAS                                   6291 MCKENZIE DR                                                                                FLINT           MI    48507‐3887
DWIGHT E WILLIAMS                                 9353 COLD CORNER RD                                                                             HAMERSVILLE     OH    45130‐9736
DWIGHT E WOLFE                                    203 DOGWOOD LN                                                                                  PRINCETON       KY    42445‐2314
DWIGHT F COFFER                                   22080 WALLACE DR                                                                                CUPERTINO       CA    95014‐0128
DWIGHT F JOHNSON                                  7932 WHITTAKER RD                                                                               YPSILANTI       MI    48197‐9776
DWIGHT H HOLIEN                                   14351 PETERBORO                                                                                 STERLING HTS    MI    48313‐2739
DWIGHT H RICE                                     740 STRAIGHT CREEK RD APT 3                                                                     NEW TAZEWELL    TN    37825‐6418
DWIGHT H WINDOM                                   3225 ASH                                                                                        INKSTER         MI    48141‐2221
DWIGHT HALL                                       126 BAT DRIVE                                                                                   SALUDA          SC    29138‐8576
DWIGHT HARGROVE                                   99 BROOK PARK DR                                                                                AMHERST         NY    14228‐3453
DWIGHT HAYES                                      4621 WOLFE WAY                                                                                  WOODLAND HLS    CA    91364‐4538
DWIGHT IRVIN GRAUPE                               14035 RAVEN ST NW                                                                               ANDOVER         MN    55304‐3921
DWIGHT J BROWN                                    468 PEARL RIDGE CT                                                                              SANIT CHARLES   MO    63303‐5980
DWIGHT J GERST                                    13478 WINTERSTOWN RD                                                                            FELTON          PA    17322‐8513
DWIGHT J PENNINGTON                               BOX 36                                                                                          PLEASANT VIEW   TN    37146‐0036
DWIGHT J PETERSEN                                 61 S 500 W                                                                                      BLACKFOOT       ID    83221‐6159
DWIGHT J UMPHRESS                                 10802 DAVIS WAY                                                                                 FISHERS         IN    46038
DWIGHT J WALDO & MICHAEL B WALDO JT TEN           303 ENEZ DRIVE                                                                                  DEPEW           NY    14043‐1238
DWIGHT L COOK                                     2785 EASTERN ROAD                                                                               RITTMAN         OH    44270‐1702
DWIGHT L HAAS                                     9112 SILVER LAKE RD                                                                             LINDEN          MI    48451‐9643
DWIGHT L PERKINS & ELIZABETH G PERKINS JT TEN     2506 MACKINNON                                                                                  MEMPHIS         TN    38119‐7916

DWIGHT L QUISENBERRY & NORMA J QUISENBERRY JT     1661 BOULEVARD DR                                                                               OKEMOS          MI    48864‐2909
TEN
DWIGHT L SCHUETZ                                  4001 MAYFLOWER DR                                                                               MURRYSVILLE     PA    15668‐9520
DWIGHT L TAYLOR                                   750 CLUSTER SPRING RD                                                                           GARDENDALE      AL    35071
DWIGHT LEE HADEN                                  8610 OAKCROFT DRIVE                                                                             RICHMOND        VA    23229‐7232
DWIGHT LEWIS YOUNG                                19922 ADALANTE                                                                                  TEHACHAPI       CA    93561‐7767
DWIGHT M HOLLINGSWORTH & NANCY A                  18945 SE MAYO DR                                                                                JUPITER         FL    33469
HOLLINGSWORTH JT TEN
DWIGHT M JACKSON                                  PO BOX 603                                                                                      HONAKER         VA    24260
DWIGHT M MANION                                   10105 BEECHDALE                                                                                 DETROIT         MI    48204‐2587
DWIGHT M TEAGARDEN                                1373 ELDERBERRY RUN COVE                                                                        LAWRENCE        GA    30043‐8301
DWIGHT M TEAGARDEN & JOANNE TEAGARDEN JT TEN      1373 ELDERBERRY RUN COVE                                                                        LAWRENCEVILLE   GA    30043‐8301

DWIGHT M WOODBRIDGE                               151 HARBOR POINTE                                                                               ORTONVILLE      MI    48462‐8534
DWIGHT N JONES & PATRICIA M JONES JT TEN          108 CANOEBROOK LANE                                                                             HUNTSVILLE      AL    35806‐2231
DWIGHT O PALMER                                   1218 CARRIAGE DR                                                                                AIKEN           SC    29803‐5561
DWIGHT P QUINN                                    7 VALLEY VIEW HICKORY HILLS                                                                     BLUE GRASS      IA    52726‐9568
DWIGHT P QUINN & PATRICIA M QUINN JT TEN          7 VALLEY VIEW                                                                                   BLUE GRASS      IA    52726‐9568
DWIGHT P REIS                                     2907 CHICAGO BLVD                                                                               FLINT           MI    48503‐3472
DWIGHT Q MORSE                                    1821 ADAMS                                                                                      FLINT           MI    48505‐5035
DWIGHT R COLEMAN                                  35335 VINEWOOD                                                                                  ROMULUS         MI    48174‐1734
DWIGHT R FARR                                     7889 TIMMONS TRL                                                                                SHREVEPORT      LA    71107‐8920
DWIGHT R GOODMAN                                  5304 KENILWORTH AVENUE                                                                          BALTIMORE       MD    21212‐4338
DWIGHT R HAMLIN                                   3972 BACON                                                                                      BERKLEY         MI    48072‐1179
DWIGHT R SMITH                                    3414 MARINE DR                                                                                  ANDERSON        IN    46013‐4129
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DWIGHT S BELL                                  1612 WORCESTER RD                    APT 516A                                                 FRAMINGHAM         MA    01702‐5478
DWIGHT S CABRA                                 5336 WILD DAISY CT                                                                            CLARKSTON          MI    48346‐4984
DWIGHT S CHURCHILL TR UA 01/28/09 DWIGHT S     5500 ORCHARD DR                                                                               WDM                IA    50266‐7561
CHURCHILL REVOCABLE TRUST
DWIGHT S HARDEE EX EST CLARA H BURDICK         10335 LA HWY 711                                                                              GUEYDAN            LA    70542
DWIGHT S LANDBERG                              7 SIOUX PLACE                                                                                 HUNTINGTN STA      NY    11746‐1913
DWIGHT S NEGLEY                                50 OAK TREE DR                                                                                CANFIELD           OH    44406
DWIGHT S WILDER                                96 SILO LN                                                                                    GRANTHAM           NH    03753‐3131
DWIGHT T BOOTH                                 2611 PENFIELD RD                                                                              FAIRPORT           NY    14450‐8406
DWIGHT T HANCOCK                               5686 HERBERT                                                                                  WESTLAND           MI    48185‐2217
DWIGHT THOMPSON & KATHARINE B THOMPSON JT      2003 N LYNN                                                                                   TAYLOR             TX    76574‐1731
TEN
DWIGHT THOMPSON‐WORLD OUTREACH MINISTRIES      PO BOX 1122                                                                                   CORONA             CA    92878

DWIGHT TOLER & WILMA TOLER JT TEN              BOX 302                                                                                       OCEANA             WV    24870‐0302
DWIGHT W COLBURN & TERRY A COLBURN JT TEN      473 HARTLAND PLACE                                                                            CASTLE ROCK        CO    80108
DWIGHT W DUNCAN                                710 NW CIRCLE 2100                                                                            CORSICANA          TX    75110‐9801
DWIGHT W FINCH                                 27731 LATHRUP BLVD                                                                            SOUTHFIELD         MI    48076‐3572
DWIGHT W HOLMES & MRS KAREN W HOLMES JT TEN    10 DANBURY DR                                                                                 SPRINGFIELD        IL    62704‐5430

DWIGHT W MISHLER                                 599 WASH CR RD                                                                              NEWTOWN            PA    18940‐2144
DWIN R BOHN                                      614 ASHFORD                                                                                 WILMINGTON         DE    19803‐2406
DWON M MILLER                                    309 S HAWTHORNE ROAD                                                                        MUNCIE             IN    47304‐4110
DYANA M CARTHANE                                 25530 SOUTHFIELD RD                                                                         SOUTHFIELD         MI    48075‐1831
DYANN WILLIAMS                                   1020 COPEMAN BLVD                                                                           FLINT              MI    48504
DYANNA ELIZABETH MITCHELL TOD JAMES MITCHELL     1219 W COLDWATER RD                                                                         FLINT              MI    48505
SUBJECT TO STA TOD RULES
DYLAN CHARLES PATRICK CARTER                     89 GERMAN MILLS RD                 THORNHILL ON                           L3T 4H9 CANADA
DYLAN HIXON                                      138 W 82ND STREET                                                                           NEW YORK           NY    10024
DYLAN KENNETH WHITE                              12520 BAILEY DR N E                                                                         LOWELL             MI    49331‐9782
DYLAN S GALLAGHER                                65 MRS FRANKS RD                                                                            SAUGERTIES         NY    12477‐3261
DYLE BRUCE WILSON                                RR4                                                                                         TRENTON            MO    64683‐9804
DYLE G HENNING TR DYLE G HENNING LIVING TRUST UA 4860 W HERBISON RD                                                                          DE WITT            MI    48820‐9241
04/10/03
DYMPNA M LYNCH                                   1719 PENN'S CROSSING                                                                        ALLENTOWN          PA    18104‐1764
DYNESA C COBURN                                  7099 SHOWBOAT LANE                                                                          CORDOVA            TN    38018‐2843
DZUNG DU DOAN                                    205 E WASHINGTON AVE                                                                        SUNNYVALE          CA    94086‐6253
DZUNG LE                                         10225 CHESTNUT RIDGE                                                                        AUSTIN             TX    78726‐2460
E A FOLTYN & S D FOLTYN TR UA 12/17/91 FOLTYN    7125 STEEPLECHASE WAY                                                                       LANSING            MI    48917
TRUST
E A HAENNI                                       ROSENGARTENSTRASSE 10              4800 ZOFINGEN AG                       SWITZERLAND
E A KUBINSKI & CAROLYN A KUBINSKI JT TEN         5368 GREENDALE                                                                              TROY               MI    48085‐3476
E ALAN MOORHOUSE                                 632 ROLLING ROCK DR                                                                         BLOOMFIELD HILLS   MI    48304‐1055

E ALAN MOORHOUSE                               632 ROLLING ROCK RD                                                                           BLOOMFIELD         MI    48304‐1055
E ALAN SAURMAN                                 1130 PALISADE AVE                                                                             FT LEE             NJ    07024‐6426
E ALLEN NOONAN                                 11522 ANTHONIES MILL ROAD                                                                     BOURBON            MO    65441
E ALRICK KLEMETT                               10064 CENTER RD                                                                               FENTON             MI    48430‐9245
E ANN HELLER                                   2801 S KEY LARGO CIRCLE                                                                       MYRTLE BEACH       SC    29577
E ANN MCCLEARY                                 2285 LAKESHORE BLVD WEST             SUITE 1014           ETOBICOKE ON      M8V 3X9 CANADA
E ANN MOYER                                    722 ALBRIGHT DR                      APT 203                                                  MEADVILLE          PA    16335‐9446
E ANN WELCH                                    10408 GOTHAM ROAD                                                                             RICHMOND           VA    23235‐2624
E ANNE LAPOINT                                 347 SO JENNIFER LN                                                                            ORANGE             CA    92869‐4628
E B ROBERTS CUST WILLIAM A ROBERTS UGMA CA     3322 BINGHAM PL                                                                               FAIRFIELD          CA    94534‐4339
E BATES REED JR                                128 ROANN DR                                                                                  OVIEDO             FL    32765‐8758
E BEIRNE SHUFFLE                               20811 NORADA COURT                                                                            SARATOGA           CA    95070‐3018
E BERNARD WINE                                 5610 BRISTOL WAY                                                                              YAKIMA             WA    98908‐3672
E BLANCHE KIRKWOOD                             197 ARGYLE AVE                                                                                YOUNGSTOWN         OH    44512‐2317
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E BREE & M BREE TR UA 03/10/83 THE ESTHER R BREE   4400 STONE WAY N 401                                                                           SEATTLE         WA    98103

E BRUCE DULING                                     1795 EIFERT                                                                                    HOLT            MI    48842‐1908
E BURROWS                                          2221 GRASS LAKE AVE LOT 137                                                                    LAKE            MI    48632‐8517
E C KUROWICKI                                      49 NORTH NINTH STREET                                                                          KENILWORTH      NJ    07033‐1539
E CATHERINE KEOUGH                                 4020 CHICAGO S                                                                                 MINNEAPOLIS     MN    55407‐3143
E CATHERINE WRIGHT                                 1838F SPRINGHILL RD                                                                            STAUNTON        VA    24401‐9023
E CHARLENE STOLTE TR THE STOLTE FAM TRUST UA       4809 NANCY LANE                                                                                MANSFIELD       TX    76063‐5277
05/31/96
E CHAUNCEY LAVENDER II                             3 NORTH BASILICA AVE                                                                           HANAHAN         SC    29410
E CINDY BIEDERMANN                                 C/O E CINDY ENGST                     106 FEDERAL ST                                           PHILADELPHIA    PA    19147‐5410
E CLARK ROBBINS JR                                 6166 CHERRY VALLEY                    PO BOX 2426                                              COVINGTON       GA    30015‐7426
E CORNING DAVIS III                                32 BROADWAY                           PO BOX 542                                               FONDA           NY    12068‐0542
E CRAIG JAMES                                      9 VILLAGE EAST CT                                                                              PETALUMA        CA    94954‐5845
E CURTIS YOUNGMAN & NANCY K YOUNGMAN JT TEN        8940 HOLDREGE ST                                                                               LINCOLN         NE    68505‐9419

E D BALZER                                         16077 PARK LAKE RD                                                                             EAST LANSING    MI    48823‐9480
E D BENGARD CUST HANS D BENGARD UGMA SC            30 E DIVISION ST APT 10B                                                                       CHICAGO         IL    60610‐2356
E D RENNELLS                                       1104 S OAKLAND                                                                                 ST JOHNS        MI    48879‐2308
E D SHIELDS                                        PO BOX 3163                                                                                    INDEPENDENCE    MO    64055‐8163
E DIANE EDDY                                       2454 E COLLIER S E                                                                             GRAND RAPIDS    MI    49546‐6103
E DONALD MC NEES                                   727 SCOTTSDALE DR                                                                              RICHARDSON      TX    75080‐6010
E DONALD PARKINSON                                 1216 GERRITS LAND                                                                              BRANDON         MS    39047‐7756
E DORIS SCHMIDT                                    44 SYCAMORE DR                        APT 324                                                  ELIZABETHTOWN   PA    17022‐3018
E DOUG RICHARDSON                                  2807 GAINSBOROUGH                                                                              DALLAS          TX    75287‐3484
E DOUGLAS                                          1242 BROOKSIDE ROAD                                                                            PISCATAWAY      NJ    08854‐5119
E DOUGLAS DAY                                      PO BOX 48                                                                                      HUSTON          ID    83630‐0048
E DOUGLAS STINSON                                  15225 SLEEPY CREEK RD                                                                          EL CAJON        CA    92021‐6006
E DUANE PALMATARY                                  701 FAIRVILLE RD                                                                               CHADDS FORD     PA    19317‐9467
E EDWARD LOVELACE III                              354 LOVLACE FARM RD                                                                            GREENUP         KY    41144
E EILEEN HENNESSY & KATHLEEN M HANIFE JT TEN       30 RANSOM AVE                                                                                  MASSENA         NY    13662‐1735
E ELIZABETH F GILBERT                              39575 W 119TH ST                                                                               EUDORA          KS    66025‐8264
E EUGENE STAUFFER III                              N‐4624 KAUS LANE                                                                               WALLACE         MI    49893
E F MOORE INC                                      12TH & FAYETTE STS                                                                             CONSHOHOCKEN    PA    19428
E F PARKS                                          1780 S WESTWOOD DR                                                                             SAGINAW         MI    48638‐4657
E F ZELINSKI                                       699 NEPPERHAN AVE                                                                              YONKERS         NY    10703‐2313
E FALCON HODGES                                    517 PLEASANT ST                                                                                SOUTH HILL      VA    23970‐2723
E FAYE ABBOTT                                      ATTN E FAYE TYLER                     6601 CRANWOOD DRIVE                                      FLINT           MI    48505‐1950
E FRANCES HADLEY & THOMAS E HADLEY JT TEN          3168 E 400 S                                                                                   ANDERSON        IN    46017‐9707
E FRANCIS VIEHMAN JR                               38 HUMMINGBIRD LANE                                                                            NEWARK          DE    19711‐4143
E FRANK DANIEL & JACQUELINE B DANIEL JT TEN        3640 N COOPER LAKEROAD                                                                         SMYRNA          GA    30082‐3314
E FRANK ROBINS                                     2335 TULIP ST                                                                                  BATON ROUGE     LA    70806‐6647
E FRED BRECHER                                     731 W WYNNEWOOD ROAD                  SUITE 19                                                 ARDMORE         PA    19003‐2956
E G AHLE                                           14 JUNKIN STREET                      ST CATHARINES ON                       L2R 1N3 CANADA
E G BRANDENBERGER                                  2407 LANSIDE DRIVE FOULKSIDE                                                                   WILMINGTON      DE    19810‐4510
E G HANOLD                                         319 N KNOWLTON ST                                                                              ELSIE           MI    48831‐9794
E G KENDRICK                                       2510 LENNOX RD SE                                                                              CONYERS         GA    30094‐2028
E G KLIMA                                          8305 EAST 133 ST                                                                               GRANDVIEW       MO    64030‐3507
E GABRIEL WORKS                                    211 HENRY SE                                                                                   GRAND RAPIDS    MI    49503‐4710
E GALE DICKINSON & CRAIG DICKINSON JT TEN          PO BOX 238                                                                                     COLEMAN         MI    48618‐0238
E GEORGE HEUS                                      108 THOMPSON BLVD                                                                              GREENPORT       NY    11944‐3112
E GREENARD POLES                                   425 HUMBOLDT PARKWAY                                                                           BUFFALO         NY    14208‐1017
E GUY GOLLNER                                      460 SEA OAK DR                                                                                 VERO BEACH      FL    32963‐3245
E H COPELAND                                       525 N MEADOW DR                                                                                DAMMERON VALLEY UT    84783‐5130

E H SZYMANSKI & MRS NELLIE SZYMANSKI JT TEN        1 DALRYMPLE ST                                                                                 RANDOLPH        NJ    07869‐1407
E H WILSON                                         9812 NINA LANE                                                                                 MIDLAND         VA    22728
E HAROLD MAYNARD                                   1970 SILVERLEAF CIR UNIT 120                                                                   CARLSBAD        CA    92009‐8418
E HENDERSON                                        34 PURDUE DR                                                                                   MILFORD         MA    01757‐1243
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E HERBERT WILLIAMS & MILDRED J WILLIAMS JT TEN    1245 ADA ST                                                                                      OWOSSO             MI    48867‐1664

E HOADLEY CASH                                    PO BOX 383                                                                                       EAST BERNARD       TX    77435‐0383
E HOUSTON LYNCH                                   331 MONTICELLO AVE                                                                               HARRISONBURG       VA    22801‐4205
E HOWELL                                          200 HOMEWOOD AVE                                                                                 DEBARY             FL    32713‐2107
E HUSZAR                                          118 ANN LN                                                                                       EFFORT             PA    18330‐8741
E IRENE MARTIN TR E I MARTIN REVOCABLE TRUST UA   2412 HALL STREET                                                                                 MARYSVILLE         CA    95901‐3506
12/16/05
E IRENE RUSSELL & MICHAEL D SPENCE JT TEN         PO BOX 204                                                                                       EAST JORDAN        MI    49727‐0204
E IRENE SALZER                                    303 A CYPRESS POINT CIRCLE                                                                       MOUNT LAUREL       NJ    08054‐2740
E IRIZARRY                                        99 HIGHLAND AVE                                                                                  BARRINGTON         RI    02806‐4749
E J ADAMS                                         10831 MARTZ RD                                                                                   YPSILANTI          MI    48197‐9422
E J ANDERSON                                      PO BOX 35973                                                                                     DETROIT            MI    48235‐0973
E J BORDEN                                        15810 HEYDEN                                                                                     DETROIT            MI    48223‐1243
E J CARPENTER                                     1851 IRIS DRIVE                                                                                  EAST TAWAS         MI    48730‐9550
E J COCHRAN                                       273 DIAMOND LANE                                                                                 ELLIJAY            GA    30540
E J FREELAND                                      5027 ESCARPMENT DRIVE                                                                            LOCKPORT           NY    14094‐9748
E J GRIMM                                         C O DAVID GRIMM                         20 GREEN MEADOW DR                                       EATONTOWN          NJ    07724
E J NOWAKOWSKI                                    205 WEST JOLIET ST                                                                               SCHERERVILLE       IN    46375
E J OGLES                                         3906 SHELBY CT                                                                                   WATERFORD          MI    48328‐1268
E J PERRAULT                                      8173 EARHART                                                                                     SOUTH LYON         MI    48178
E J RUSSELL                                       210 BIRCH DR                                                                                     IOLA               WI    54945‐9790
E J SAUER & LAVERGNE M SAUER JT TEN               8428 STEPHEN CT                                                                                  WOODRIDGE          IL    60517‐4575
E J ZWIRECKI                                      2108 LUBAR CT                                                                                    BROOKEVILLE        MD    20833‐2510
E JEAN ARNOLD                                     4433 HILL ST                            NEWTONVILLE ON                         L0A 1J0 CANADA
E JEAN STUBENBORT                                 512 FREELAND ST                                                                                  PITTSBURGH         PA    15210‐1361
E JEANETTE JUMP                                   450 MAPLEGROVE                                                                                   HIGHLAND           MI    48356‐2509
E JEANNE DOUGLAS                                  16286 WEBSTER RD                                                                                 MIDDLEBURG         OH    44130‐5458
                                                                                                                                                   HEIGHTS
E JEFFREY ROSSI                                   701 FAIRWAY DR NE                                                                                WARREN             OH    44483‐5635
E JENNIFER DINGLEDINE                             302 N VIEW TER                                                                                   ALEXANDRIA         VA    22301
E JEROME HANRATTY                                 2538 MELLOWOOD                                                                                   STERLING HEIGHTS   MI    48310‐2346

E JOAN CHARNETSKI                               807 LINCOLN DRIVE                                                                                  GRINNELL           IA    50112‐2071
E JOHN GRADONI                                  PO BOX 1114                                                                                        ALFRED             NY    14802‐0114
E JOHN SCHOFF                                   2502 HILLPOINT RD                                                                                  MC FARLAND         WI    53558‐9745
E JOHN WARNER JR & MRS NAN SHIPLEY WARNER JT    3304 CROYDON DR NW                                                                                 CANTON             OH    44718‐3220
TEN
E JOHNALEE CUNNINGHAM TR UA 07/14/93 E JOHNALEE 632 ROCKY FORK BLVD                                                                                GAHANNA            OH    43230‐3360
CUNNINGHAM TRUST
E JOHNSON JR                                    89 ADAMS STREET                                                                                    BUFFALO            NY    14206‐1501
E JOSEPH HUMMEL & LILLIAN C HUMMEL JT TEN       PO BOX 1712                                                                                        MT LAUREL          NJ    08054‐7712
E JOYCE EULNER                                  450 BOONE TRAIL RD                                                                                 DANVILLE           KY    40422‐1550
E JOYCE STEMPEL                                 558 WESTWOOD AVE                                                                                   RIVER VALE         NJ    07675‐5537
E JOYCE WHOOLERY                                8317 ROOSEVELT                                                                                     TAYLOR             MI    48180‐2742
E KEITH ERICH                                   16230 MUNN ROAD                                                                                    NEWBURY            OH    44065‐9145
E KEKLLAS CUST KAYLA KEKLLAS UTMA FL            1641 MIDNIGHT PASS WAY                                                                             CLEARWATER         FL    33765‐1821
E KELVIN FAISON & KELVIN E FAISON JT TEN        461 FOX HILLS DR N                                                                                 BLOOMFIELD HILLS   MI    48304‐1309

E KENT WALLACE                                    7231 STEVANIE DR                                                                                 GRAND BLANC        MI    48439
E KEVIN SCHOPFER                                  3 BLACKOAK RD                                                                                    WESTON             MA    02493‐1125
E KIRIN WHITE                                     434 MARRET AVE                                                                                   LOUISVILLE         KY    40208
E L BONK                                          1079 E WILSON ST #248                                                                            BATAVIA            IL    60510‐2898
E L HALSTEAD                                      673 N WILDER RD                                                                                  LAPEER             MI    48446‐3428
E L NEAL                                          1906 PLUM ST                                                                                     NEW CASTLE         IN    47362‐3141
E LAMOINE SHIRLEY                                 1140 ELKVIEW DR APT 48                                                                           GAYLORD            MI    49735‐2049
E LANE M LEE                                      202 MCLAIN ST                                                                                    PARMA              MI    49269
E LEE COLLIER & SUE I COLLIER JT TEN              21231 KAISER RD                                                                                  GREGORY            MI    48137‐9743
E LEE DRINANE                                     12 DOVE'S WING RD                                                                                S YARMOUTH         MA    02664
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E LEE FARRINGTON                                   1780 RIDGE RD                                                                                    QUEENSBURY      NY    12804‐6933
E LEE GARLETT                                      5560 PINE CT                                                                                     GREENWOOD VLG   CO    80121‐2134

E LEE KIMBRO TR KIMBRO LIVING TRUST UA 01/13/00    1370 NARROW GAUGE RD                                                                             REIDSVILLE      NC    27320‐7710

E LEON BRADY                                   220 FOREST GLEN RD SW                                                                                WARREN          OH    44481‐9659
E LI WANG                                      74 52 220TH SE                           APT B1                                                      BAYSIDE         NY    11364‐3039
E LLOYD SYRON                                  4877 WESTLAWN                                                                                        WATERFORD       MI    48328‐3478
E LORELL WILHEIM                               BOX 55                                                                                               MORRISTOWN      OH    43759‐0055
E LORENE FARNHAM TOD ALBERT SCOTT SUBJECT TO   611 WINGED FOOT DR                                                                                   CARLSBAD        NM    88220‐9205
STA TOD RULES
E LORENE LUDEMAN                               1757 SE 113TH                                                                                        PORTLAND        OR    97216‐3612
E LOUISE ONEILL                                4060 NW 8TH COURT                                                                                    DELRAY BEACH    FL    33460‐1965
E LOUISE W DAVIS                               425 S MAIN ST                                                                                        MOOREFIELD      WV    26836‐1237
E LYLE FULLER                                  1062 BUSCH COURT NW                                                                                  GRAND RAPIDS    MI    49544‐7937
E M BRUNNER                                    29 DUNNINGTON CT                                                                                     SPRINGBORO      OH    45066‐1572
E M MYERS JR                                   PO BOX 525                                                                                           LOVINGTON       NM    88260‐0525
E M SPANGEL                                    1109 MANSELL DR                                                                                      YOUNGSTOWN      OH    44501
E M STRIPLING                                  ASHWOOD ASSISTED LIVING                  7501 GLENVIEW DR APT 105`                                   N RICHLND HLS   TX    76180
E M TUTWILER III                               10101 N MERIDIAN STREET                                                                              INDIANAPOLIS    IN    46290‐1019
E M WOOD                                       11225 S BAKER RD                                                                                     ATLANTA         MI    49709‐9386
E M WOUGAMON                                   668 CONOVERLANE                                                                                      CRESTWOOD       MO    63126‐1207
E MARGARET SMITH                               2467 N MICHIGAN RD                                                                                   EATON RAPIDS    MI    48827‐9285
E MARI CUNHA                                   670 EASY ST                                                                                          GLENDALE HTS    IL    60139
E MARIE CUDDY                                  674 ALLEN CT                                                                                         PLACERVILLE     CA    95667‐3463
E MARILYNN DICKERSON                           740 N WAGNER RD                                                                                      ANN ARBOR       MI    48103‐2145
E MAYABELLE CONRAD & CHRIS R CONRAD JT TEN     11707 FALLBROOK DR APT 2207                                                                          HOUSTON         TX    77065‐3565
E MEYER FINKEL                                 GIVAT MOSHE 2                            JERUSALEM                              ISRAEL
E MICHAEL PEMBERTON & JEANNIE PEMBERTON JT TEN 1505 NOBLE                                                                                           LONGVIEW        TX    75601‐4633

E MICHAEL SLAGLE & PEGGY SLAGLE JT TEN             96013 STONEY DR                                                                                  FERNANDINA      FL    32034‐9054
E MICHAEL TIMON JR                                 2105 S SHORE DR                                                                                  ERIE            PA    16505‐2247
E MOORE                                            37 DREAHOOK RD                                                                                   BRANCHBURG      NJ    08876‐3728
E MORRIS GILMORE JR                                11754 MISSION TRACE                                                                              SAN ANTONIO     TX    78230‐2120
E N GARRISON                                       19306 MURRY HILL                                                                                 DETROIT         MI    48235‐2423
E N PLUMMER                                        500 HILLANDALE RD                                                                                LIBERTY         SC    29657‐3822
E N TELLER                                         1654 JAMESTOWN RD                                                                                WILLIAMSBURG    VA    23185‐3111
E N YOST & MRS OLIVE R YOST JT TEN                 PO BOX 2883                                                                                      HUNTSVILLE      AL    35804‐2883
E O HILLBLOM                                       10036 LANCASTER DR                                                                               MOKENA          IL    60448‐7829
E O STEWART JR                                     2205 N NORRIS ST                     APT C                                                       CLOVIS          NM    88101‐9407
E ODELL SMITH & KATHY A SMITH JT TEN               5077 META DR                                                                                     NASHVILLE       TN    37211‐5759
E ORRIN JOHNSON JR                                 1815 W SELDON LANE                                                                               PHOENIX         AZ    85021‐4354
E P BARLOW ROPP                                    306 W BROWN ST                                                                                   GLASGOW         KY    42141‐2105
E P BUCHANAN                                       4731 TILLMAN TRL                                                                                 FARMINGTON      MO    63640‐7259
E P WENZ JR                                        6851 CUTTING BLVD                                                                                EL CERRITO      CA    94530‐1818
E PATRICIA SWEENEY                                 1502 WICKLOW DR                                                                                  PALM HARBOR     FL    34684‐2432
E PATYI                                            254 FARRINGTON AVE                                                                               N TARRYTOWN     NY    10591‐1307
E PAUL RUTTER                                      4076 BIG HILL RD                                                                                 TODD            NC    28684‐9714
E PAUL VOGEL TOD MARY ANN E POWER SUBJECT TO       4213 PIN OAK DRIVE                                                                               DURHAM          NC    27707‐5270
STA TOD RULES
E PAUL VOGEL TOD PATRICIA J BARTH SUBJECT TO STA   4213 PIN OAK DRIVE                                                                               DURHAM          NC    27707‐5270
TOD RULES
E PETER RYAN                                       481 BUFFALO COURT                    JACOBS FERRY                                                WEST NEW YORK   NJ    07093‐8304
E PHILIP HOGGATT & POLLY L HOGGATT JT TEN          1305 MC HENRY                                                                                    URBANA          IL    61801‐6918
E PHILIP ROSS JR                                   5135 N POST ROAD LOT 21                                                                          INDIANAPOLIS    IN    46226‐4184
E PHILLIP HENDRIX & BARBARA HENDRIX JT TEN         621 PEPPERIDGE RD                                                                                LEWISVILLE      NC    27023‐9406
E PRESTON BOLDEN                                   1676 CHATHAM DRIVE                                                                               TROY            MI    48084‐1411
E R ANDERSON                                       3535 LINDA VISTA DR #7                                                                           SAN MARCOS      CA    92069‐6313
E R BEARD                                          13114 INDIAN CREEK RD                                                                            HOUSTON         TX    77079‐7218
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E R GUELDE                                       4848 BOAT ST                                                                                     ORANGE BEACH      AL    36561‐3962
E R HARRISON & MATRUE E HARRISON TR HARRISON     146 LUBEN LN                                                                                     ARCADIA           CA    91006‐4679
TRUST UA 09/24/91
E R JOHNSON                                      17579 OHIO ST                                                                                    DETROIT           MI    48221‐2515
E R LOUIS                                        10501 S TRIPP                                                                                    OAK LAWN          IL    60453‐4947
E R SUTHERLAND                                   1008 S MADISON                                                                                   LA GRANGE         IL    60525‐2853
E RAY ERNST                                      191 DAWSON RD                                                                                    MERCEDES          TX    78570‐4303
E RAY ETHERIDGE                                  846 SHAWBORO RD                                                                                  SHAWBORO          NC    27973‐9711
E RAYMOND AKERS & LUELLA JOYCE AKERS JT TEN      ATTN EBB TIDE                         4TH FL S              2999 ATLANTIC ST                     MELBOURNE         FL    32951‐2830
E RENEE GASS                                     1629 FAIRFAX ST                                                                                  DENVER            CO    80220‐1323
E RICHARD COTE & CRAIG COTE JT TEN               385 N KENSINGTON AVE                                                                             LECANTO           FL    34461‐7854
E RICHARD COTE & SUZANNE J COTE JT TEN           385 NORTH KENSINGTON AVE                                                                         LECANTO           FL    34461
E RICHARD EDWARDS & PHYLLIS J EDWARDS JT TEN     1102 N TOPPER RD                                                                                 MT PULASKI        IL    62548‐6066

E RICHARD HILLEARY                               738 COURTNEY AVE                                                                                 MORGANTOWN        WV    26501‐5300
E RICHARD KOCH & MRS IRENE M KOCH JT TEN         38 MC DONNELL ST                                                                                 AMSTERDAM         NY    12010‐3232
E RICHARD SHOPLAND & MRS MARQUERITE SHOPLAND     9430 WOODLAWN DR                                                                                 BREWERTON         NY    13029‐9724
JT TEN
E ROBERT MUIR III                                7210 WEST HWY 524                                                                                WESTPORT          KY    40077
E ROBERTA WIBLE                                  1706 MANCHESTER DR                                                                               ARLINGTON         TX    76012‐3020
E ROBERTS                                        11154 PRENTICE DR                                                                                SAINT LOUIS       MO    63136‐5851
E RUSSELL SIFT                                   C/O MARGARET REITER                   81 CHESTNUT LN                                             NORTH WALES       PA    19454‐1310
E S CHAPPELL & SON INC                           C/O E TYREE CHAPPELL                  9138 BARRICADE LANE                                        MECHANICSVILLE    VA    23116‐2002
E S P ASSOCIATES                                 6161 ORCHARD LAKE RD                                                                             WEST BLOOMFIELD   MI    48322‐2384

E SCOTT SAVAGE                                  170 S MAIN ST SUITE 500                                                                           SALT LAKE CITY    UT    84101‐1660
E SCOTT TAWES                                   10840 MARKET LN                        BLDG A STE 5                                               PRINCESS ANNE     MD    21853‐1022
E SEAN CAMPBELL                                 1031 S WEBSTER ST                                                                                 JACKSON           MI    49203
E SHELTON JR                                    1001 PATTERSON DR                                                                                 N LITTLE ROCK     AR    72117‐2260
E SHERMAN GRABLE III                            15531 S CEDAR CREEK LN                                                                            MONTPELIER        VA    23192‐2722
E SONDRA PETRO                                  C/O E SONDRA JONES                     404 CREST VIEW DR                                          MONTICELLO        IL    61856‐2194
E STANLEY MELLON                                27685 N 1575 E RD                                                                                 DANVILLE          IL    61834‐6018
E STEWARD BEASLEY                               577 BRIARWOOD ROAD                                                                                LANCASTER         SC    29720‐1888
E T HENDRICKSON JR                              807 BAUER AVE                                                                                     CHARLESTON        WV    25302‐2623
E T HORNOR JR & E W HORNOR TR E T HORNOR SR     PO BOX 550                                                                                        HELENA            AR    72342‐0550
PERSONAL INSURANCETRUST
E T NICHOLS                                     217 ORCHARD LN                                                                                    KOKOMO            IN    46901‐5147
E T PAULUS & BARBARA A PAULUS JT TEN            2612 SONORA ST                                                                                    LAS VEGAS         NV    89102‐5912
E T PROPERTIES                                  C/O THOMAS WEISS                       26301 SHAKER BLVD                                          BEACHWOOD         OH    44122‐7113
E T WILLIAMS                                    502 BELT RD APT 2                                                                                 TEXARKANA         TX    75501‐2601
E TAKASHI NORRIS                                APT 19‐D                               115 EAST 87TH ST                                           NEW YORK          NY    10128‐1139
E TAYLOR ARMSTRONG JR                           3801 CENTENARY AV                                                                                 DALLAS            TX    75225‐5226
E TEMMA KINGSLEY                                37 GREENWAY S                                                                                     FOREST HILLS      NY    11375‐5940
E TEMMA KINGSLEY CUST AUDREY S KINGSLEY UGMA NY 220 EAST 65TH STREET APT 22A                                                                      NEW YORK          NY    10021

E THOMAS CLARKIN & JANICE M CLARKIN JT TEN       14217 FINGER LAKE RD                                                                             CHESTERFIELD      MO    63017‐2940
E THOMAS CROWSON                                 657 STRATFORD LN                                                                                 ROCK HILL         SC    29732‐2056
E TYNDALL JACKSON JR                             11432 MOTOR YACHT CIR N                                                                          JACKSONVILLE      FL    32225‐4034
E TYREE CHAPPELL                                 9138 BARRICADE LANE                                                                              MECHANICSVILLE    VA    23116‐2002
E USHLER JAACKS                                  2544 CEDAR KEY DR                                                                                LAKE ORION        MI    48360‐1824
E VAUGHN GEDDES                                  323 MIMOSA CIRCLE S E                                                                            AIKEN             SC    29801‐5163
E VERNON ANDERSON JR                             64 FOREST LANE                                                                                   GREENVILLE        SC    29605‐1917
E VIRGINIA LIPFORD                               2923 SHIPLEY RD                                                                                  WILMINGTON        DE    19810‐3214
E W CHICK & JO ANN CHICK JT TEN                  826 S 131 #70                                                                                    MILFORD           OH    45150
E W MANDOKY                                      681 MILDRED AVE                                                                                  VENICE            CA    90291‐4709
E W THOMPSON                                     10789 WILLIS ROAD                                                                                WILLIS            MI    48191‐9746
E W WINDIATE                                     ATTN JAMES COX                        22571 OUTER DR                                             DEARBORN          MI    48124‐4228
E WARD MERRELL CUST MARGARET RAE LAYTON UTMA     1013 WINCHESTER DR                                                                               ROLLA             MO    65401‐3840
MO
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Name                                                Address1                              Address2                 Address3       Address4                City            State Zip

E WARREN EISNER                                 201 E 36TH ST APT 11B                                                                                     NEW YORK        NY    10016‐3609
E WAYNE LLOYD                                   954 DEER RUN TRAIL                                                                                        LEBANON         OH    45036‐9418
E WILLARD LAGER                                 8421 W 121ST ST                                                                                           PALOS PARK      IL    60464‐1229
E WILLIAM CLYMER                                85 STONYBROOK DR                                                                                          ROCHESTER       NY    14618‐3105
E WILLIAM HELLER & E ANN HELLER JT TEN          2801 S KEY LARGO CIRCLE                                                                                   MYRTLE BEACH    SC    29577
E WILLIAM ST CLAIR                              11 W HAVEN PL                                                                                             DURHAM          NC    27705‐1855
E WILLIAM WAGER                                 3623 STATE ROUTE 7                                                                                        HOWES CAVE      NY    12092
E WILLIAM WASSON JR                             1721 E GRAUWYLER RD                       CONDO #112                                                      IRVING          TX    75061‐3000
E Y BEGLEY                                      4770 HOWE ROAD                                                                                            TRENTON         OH    45067‐9517
E YVONNE HARRIS                                 517 MONTVALE LANE                                                                                         ROCHESTER       NY    14626‐5217
E/O ROBERT H ADAMS RUDOLPH E HUTZ ADMIN         C/O CONNOLLY BOVE LODGE & HUTZ            ATTN RUDOLF E HUTZ       BOX 2207                               WILMINGTON      DE    19899‐2207
EABER LOUIS HARE & SANDRA LEE HARE JT TEN       3004 LAKEVIEW CIRCLE S                                                                                    PAOLA           KS    66071
EAGAN J PAUL TR EAGAN J PAUL LIVING TRUST UA    3423 GIRARD DR                                                                                            WARREN          MI    48092‐1935
7/10/00
EAGER BEAVERS                                   4‐H CLUB                                  C/O ESTHER BJORNSEN      317 GRANT ST   PLENTY WOOD             PLENTYWOOD      MT    59254‐2063
EAGLE BANK & TR CO CUST SUZANNE M WHEAT IRA DTD 645 GREEN CLIFF DR                                                                                        FENTON          MO    63026‐3414
08/18/00
EAGLE M DOTY                                    4919 GULFGATE LN                                                                                          ST JAMES CITY   FL    33956‐2717
EALIES HUNTER                                   44910 RT 18                                                                                               WELLINGTON      OH    44090‐9638
EAMONN O'MAHONY                                 24 BELSIZE PARK GARDENS                   LONDON                                  NW3 4LH GREAT BRITAIN
EAPHROM E STALLWORTH                            17590 GREENLAWN                                                                                           DETROIT         MI    48221‐2539
EARBY L CHATHAM JR                              836 SEAL ST                                                                                               SAINT PAUL      MN    55114‐1259
EARISIE L HOWARD                                863 S SNYDER RD                                                                                           NEW LEBANON     OH    45345‐9360
EARL A ALER JR                                  6423 WINDING TREE DR                                                                                      NEW CARLISLE    OH    45344‐9168
EARL A BARTHOLOMEW                              6615 GREENE HAVEN DRIVE                                                                                   CLARKSTON       MI    48348
EARL A COOKSEY                                  3621 N 55TH ST                                                                                            KANSAS CITY     KS    66104‐1272
EARL A DOUDLAH                                  10220 N WILDER RD                                                                                         EVANSVILLE      WI    53536‐8942
EARL A DUNCAN                                   6458 BERWYN                                                                                               DEARBORN        MI    48127‐2044
EARL A HALL & JEANNE E HALL JT TEN              1181 NORMANDY TERR                                                                                        FLINT           MI    48532‐3550
EARL A KNIES & MRS ELIZABETH R KNIES JT TEN     8 BOLLENA PLACE                                                                                           ATHENS          OH    45701‐1930
EARL A LONG                                     ATTN JUDY L LONG                          1561 TOMAHAWK ROAD                                              BIRMINGHAM      AL    35214‐3149
EARL A MAXWELL CUST DOUGLAS E MAXWELL UGMA MI 21 W 078 SHELLEY DRIVE                                                                                      ITHASCA         IL    60143‐1913

EARL A MONDEAU                                      8420 EAST FRANCES ROAD                                                                                OTISVILLE       MI    48463‐9471
EARL A NOEL CUST ELIZABETH NOEL U/THE VIRGINIA U‐   ATTN MORRISON                         13462 PRINCEDALE DR                                             WOODBRIDGE      VA    22193‐3841
G‐M‐A
EARL A THOMA                                        37135 ANNIE ST                                                                                        PALMDALE        CA    93550‐7500
EARL A THOMAS                                       190 QUAIL VALLEY DR                                                                                   LEESBURG        GA    31763‐4298
EARL A YOUNG                                        C/O JOSEPH MONTE                      42023 EAST HURON DRIVE                                          BELLEVILLE      MI    48111‐2839
EARL ANDREW MC DOWELL                               520 WOPSONONOCK AVE                                                                                   ALTOONA         PA    16601‐3861
EARL B BALDWIN & MRS THELMA E BALDWIN JT TEN        BOX 194                                                                                               BOURBON         MO    65441‐0194

EARL B CARR                                         4437 SEEDEN AV                                                                                        WATERFORD       MI    48329‐4060
EARL B CROSS & RITA O CROSS JT TEN                  5915 N 901E                                                                                           BROWNSBURG      IN    46112
EARL B FINK & BETTY J FINK TEN ENT                  PO BOX 141                                                                                            GRANVILLE       PA    17029‐0141
EARL B HOFF                                         2104 N HUGHSON                                                                                        OKLAHOMA CITY   OK    73141‐1046
EARL B HOGLUND                                      978 E HERMITAGE RD NE                                                                                 ROME            GA    30161‐9641
EARL B HOWELL                                       30112 WARREN RD #117N                                                                                 WESTLAND        MI    48185‐2901
EARL B JOHNSON JR                                   7518 FAIRFIELD DR                                                                                     ROWLETT         TX    75089‐2055
EARL B MARRS                                        18 FOREST AVE                                                                                         WILMINGTON      DE    19805‐5017
EARL B PEELE                                        1891 GARDNER DR                                                                                       LAPEER          MI    48446‐7721
EARL B SMITH                                        29835 RED LEAF DRIVE                                                                                  SOUTHFIELD      MI    48076‐2074
EARL B THOMAS                                       PO BOX 261                                                                                            BUNA            TX    77612‐0261
EARL BERMAN & MRS MURIEL BERMAN JT TEN              2701 ORCHARD LANE                                                                                     WILMETTE        IL    60091‐2141
EARL BRIAN BLACK                                    0486 W ALBION RD                                                                                      ALBION          IN    46701‐9785
EARL BRIGGS                                         6930B 186TH LN 2C                                                                                     FRESH MEADOWS   NY    11365‐4408
EARL BRITT & MAUREEN BRITT JT TEN                   106 SPARANGO LANE                                                                                     PLYMOUTH        PA    19462‐1115
                                                                                                                                                          MEETING
EARL BROWN III                                      15 OAK PARK APT REAR                                                                                  WHEELING        WV    26003
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Name                                             Address1                             Address2              Address3         Address4          City            State Zip

EARL BRUCE COLLINS                               7924 EASTLAWN DR                                                                              FRANKLIN        OH    45005‐1956
EARL BUNCHB/A                                    PO BOX 1085                                                                                   NORRIS          TN    37828‐1085
EARL BUNTROCK & MRS BETTY JANE BUNTROCK JT TEN   1724 HUDSON RIVER RD N E                                                                      RIO RANCHO      NM    87124‐5516

EARL BUTLER                                     7234 CHEROKEE CT                                                                               RIVERDALE       GA    30296‐1818
EARL C ANDERSON                                 3747 W COUNTY RD 400 S                                                                         GREENSBURG      IN    47240‐8968
EARL C ARMOUR                                   3322 REGIS DRIVE                                                                               FORT WAYNE      IN    46816‐1576
EARL C BISHOP JR & MARGIE D WILSON & JACKLYNN S 2511 S GARDNER RD                                                                              HUDSON          MI    49247‐9219
SALAZAR JT TEN
EARL C BOYDEN                                   1919 GARDNER DR                                                                                LAPEER          MI    48446‐7791
EARL C BOYTS                                    C/O D O SHAULIS                       144 RASZEWSKI DRIVE                                      SOMERSET        PA    15501‐7338
EARL C BROWN                                    1050 HYDE PARK DR                                                                              DAYTON          OH    45429‐5810
EARL C BRYANT                                   200 ASHWOOD DR                        APT 226                                                  PENDLETON       IN    46064‐0016
EARL C BURNS                                    9360 S SHROYER DRIVE                                                                           TIPP CITY       OH    45371‐9405
EARL C CAVER                                    8153 S HARVARD AVE                                                                             CHICAGO         IL    60620‐1708
EARL C DAWSON                                   22 AXTON RD                                                                                    AXTON           VA    24054‐1854
EARL C EASTMAN                                  2969 MURDOCK RD                                                                                MEDINA          NY    14103‐9413
EARL C EDWARDS JR                               3408 ELLISON WAY                                                                               INDEPENDENCE    MO    64055‐3005
EARL C FYFFE                                    217 E CROSS ST                                                                                 BALTIMORE       MD    21230‐4140
EARL C GISEWHITE                                195 WALL DRIVEE                                                                                CORTLAND        OH    44410‐1047
EARL C GROULX                                   9196 NICHOLS RD                                                                                MONTROSE        MI    48457‐9111
EARL C HEATH & MRS DOLORES M HEATH JT TEN       6017 SUMMIT ST                                                                                 SYLVANIA        OH    43560‐1276
EARL C HYDE & LAVON HYDE JT TEN                 255 ANDERSON ST                                                                                SPARTA          MI    49345‐1247
EARL C LINDBURG JR                              12545 OAK GLEN DRIVE                                                                           RENO            NV    89511‐7703
EARL C LINDBURG JR CUST CHRISTINA HUDSON        12545 OAK GLEN DRIVE                                                                           RENO            NV    89511‐7703
LINDBURG U/THE NY U‐G‐M‐A
EARL C MERROW                                   1866 S REESE RD                                                                                REESE           MI    48757‐9700
EARL C PROTTENGEIER                             3603 GANNON RD                                                                                 HOWELL          MI    48855‐8489
EARL C VANHOY JR                                27536 LASSLETT ST                                                                              ROSEVILLE       MI    48066‐3033
EARL C WEAVER                                   6416 W STANLEY RD                                                                              MT MORRIS       MI    48458‐9327
EARL C WHEELER                                  29 NORTHWOODS TRAIL                                                                            HIGHLAND        IL    62249‐2824
EARL CURRIER                                    198 POWDERS MILL LANE                                                                          CLINTON         TN    37716‐5340
EARL D BAKER                                    2 CHIPPEWA RUN                                                                                 PANA            IL    62557
EARL D BLACKNEY                                 25 FOREST AVE                                                                                  WINTER HARBOR   ME    04693‐0246
EARL D BRANAM                                   3223 COWAN ST NW                                                                               CLEVELAND       TN    37312
EARL D BROWN & MRS ALICE BROWN TEN ENT          PO BOX 174                                                                                     LEHMAN          PA    18627‐0174
EARL D BRUGGEMAN                                646 KAYLA WAY                                                                                  WENATCHEE       WA    98801
EARL D CARTER                                   4120 DAPHNE DR                                                                                 ANDERSON        IN    46013‐2592
EARL D DENNISON                                 4685 PALMETTO ST                                                                               COLUMBUS        OH    43228‐1814
EARL D EDWARDS                                  43 VFW RD                                                                                      ELDON           MO    65026‐4650
EARL D HALL                                     25016 ELMIRA                                                                                   REDFORD         MI    48239
EARL D HEITZMANN                                PO BOX 468                                                                                     MCCLUSKY        ND    58463‐0468
EARL D JENKINS & RUTH H JENKINS JT TEN          84 CHURCH HILL RD                                                                              NEW PALTZ       NY    12561‐4505
EARL D JENKINS JR                               8032 LINDA CIR                                                                                 CATLETTSBURG    KY    41129‐8293
EARL D ORAM                                     1217 KNICKERBOCKER                                                                             FLINT           MI    48505‐1434
EARL D PHILLIPS                                 3640 APPLEWOOD DRIVE                                                                           BRUNSWICK       OH    44212‐4102
EARL D SHAFFER                                  428 NYU PL                                                                                     MURFREESBORO    TN    37128‐2882
EARL D TAYLOR & NILA V TAYLOR JT TEN            2993 WETMORE DR                                                                                ALLEGAN         MI    49010
EARL D VANDERFORD                               1064 WASHINGTON DR                                                                             FLINT           MI    48507‐4237
EARL D WILSON & MRS ARLENE WILSON JT TEN        26075 WEST ROLLINS ROAD                                                                        INGLESIDE       IL    60041‐9631
EARL D YOUNG                                    20488 PRAIRIE                                                                                  DETROIT         MI    48221‐1221
EARL DALLAS SMITH CUST BRADFORD GUY SMITH UGMA 683 W RAVEN DR                                                                                  CHANDLER        AZ    85286‐4479
AZ
EARL DARWIN                                     7463 E BAYAUD AVE                                                                              DENVER          CO    80230
EARL DAVENPORT                                  286 PUMPKIN CENTER CIR                                                                         QUITMAN         AR    72131
EARL DAY                                        1509 VISTA RIDGE DR                                                                            MIAMISBURG      OH    45342‐3258
EARL DEAN MOOR & SARAH FRANCES MOOR JT TEN      BOX 145                                                                                        CEDAR HILL      TX    75106‐0145

EARL DEAN STIEGEMEIER                            712 TIPPERARY                                                                                 GILBERTS        IL    60136‐8903
                                               09-50026-mg            Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                            Address2             Address3          Address4          City              State Zip

EARL DEBORD                                      PO BOX 1621                                                                                  CAMDENTON         MO    65020‐1621
EARL E BAILEY                                    3455 POPLAR DRIVE                                                                            LAWRENCEVILLE     GA    30044‐4136
EARL E BARNETT                                   4463 LEWISBURG‐WESTERN                                                                       LEWISBURG         OH    45338‐9557
EARL E BUCHANAN & MARGARETE E BUCHANAN JT TEN    PO BOX 308                                                                                   KOOSKIA           ID    83539‐0308

EARL E BUSHEK & DOROTHY M BUSHEK JT TEN          12147 SPRINGVIEW DR                                                                          BURTON            OH    44021‐9749
EARL E BUTCHER                                   8412 W EVANS RD                                                                              BLOOMINGTON       IN    47403‐9580
EARL E COMPTON                                   HC 62 BOX 166                                                                                RAVEN             VA    24639‐9411
EARL E DANIELS                                   406 VAN BUREN CIR                                                                            DAVISON           MI    48423‐8541
EARL E DENNY                                     2945 PLEASANT RIDGE DR                                                                       HAMILTON          OH    45011‐5056
EARL E DONGES                                    2775 PLEASANT AVE                                                                            HAMILTON          OH    45015‐1509
EARL E DUNFEE                                    RT#1 MASON RD                                                                                MILAN             OH    44846‐9801
EARL E FISHER & PAULINE M FISHER JT TEN          5025 DUNEWOOD WAY                                                                            AVON              IN    46123‐7070
EARL E GERTHUNG                                  5807 SARAH N W                                                                               WARREN            OH    44483‐1160
EARL E GESELMAN                                  BOX 261                                                                                      HUBBARDSTON       MI    48845‐0261
EARL E GRIFFEE                                   PO BOX 0280                                                                                  WASHINGTON        MI    48094‐0280
EARL E HARRIS JR                                 5648 MARYLOUISE ST                                                                           LANSING           MI    48917
EARL E HELM                                      711 EAST 50TH ST                                                                             MARION            IN    46953‐5433
EARL E HELM & ELILLIAN A HELM JT TEN             711 E 50TH ST                                                                                MARION            IN    46953‐5433
EARL E HILL                                      800 RUSTIC VILLAGE                                                                           LAKE ORION        MI    48362‐2141
EARL E HOELLEN JR                                3 VISTA RD                                                                                   ENGLEWOOD         CO    80110‐4909
EARL E HOVIOUS                                   50 SCHNAITER LN                                                                              MARTINSVILLE      IN    46151‐9608
EARL E HOWARD                                    8872 W CO RD 550N                                                                            MIDDLETOWN        IN    47356‐9727
EARL E HOWARD & CAROLYN J HOWARD JT TEN          8872 W CO RD 550N                                                                            MIDDLETOWN        IN    47356‐9727
EARL E HURD                                      234 MCCONKEY                                                                                 TONAWANDA         NY    14223‐1032
EARL E INGLE                                     3170 UPPER BELLBROOK ROAD                                                                    BELLBROOK         OH    45305‐9769
EARL E KRUPP                                     6252 S DUFFIELD                                                                              SWARTZ CREEK      MI    48473‐8515
EARL E LANE                                      3153 ELLEMAN RD                                                                              LUDLOW FALLS      OH    45339‐9737
EARL E LEPP                                      922 KING RIDGE DR                                                                            ASHLAND           OH    44805‐3680
EARL E LEWIS II                                  194 PAGO PAGO LN                                                                             ENGLEWOOD         FL    34223‐6226
EARL E LYKINS                                    HC 62 BOX 1080                      SALYERVSVILLE                                            SALYERSVILLE      KY    41465
EARL E LYONS                                     5056 BIRCHWOOD FARMS DR                                                                      MASON             OH    45040‐3620
EARL E MALONE & BARBARA R MALONE JT TEN          1103 FOX GLEN WAY                                                                            LOUISVILLE        KY    40242‐4511
EARL E MANGES & MRS VIRGINIA A MANGES JT TEN     529 S STEWART                                                                                BREMEN            IN    46506‐1837

EARL E MARSH                                     8215 N ELM RD                                                                                FLUSHING          MI    48433‐8815
EARL E MITCHEM                                   433 S CLIVEDEN AVE                                                                           COMPTON           CA    90220‐2841
EARL E MULLINS                                   1854 RYAN RD                                                                                 SPRINGBORROW      OH    45066‐7435
EARL E ORCUTT                                    240 SYCAMORE ST                                                                              WESTFIELD         NJ    07090
EARL E OUTHOUSE                                  RD #4                               5620 CO RD 30                                            CANANDAIGUA       NY    14424‐7962
EARL E PRIMUS                                    P O BOX 1463                                                                                 REYNOLDSBURG      OH    43068
EARL E RAFFLER                                   51261 NEUMAIER                                                                               SHELBY TOWNSHIP   MI    48316‐4044

EARL E REDFOOT & VIOLA REDFOOT JT TEN        62 SHENANGO ST                                                                                   GREENVILLE        PA    16125‐2019
EARL E REDMAN                                1241 MACKENZIE AVENUE                   OSHAWA ON                              L1H 1V6 CANADA
EARL E SAUNDERS                              57 GRIDER ST                                                                                     BUFFALO           NY    14215‐4029
EARL E SMITH                                 5104 DAVIS PECK RD                                                                               FARMDALE          OH    44417‐9791
EARL E SMITH                                 3549 LAKE GEORGE RD                                                                              DRYDEN            MI    48428‐9709
EARL E STEVENS & BETTY C STEVENS JT TEN      11530 CENTERLINE ROAD                                                                            ONAWAY            MI    49765‐0239
EARL E SUNDERHAUS & MRS MARDENE M SUNDERHAUS 26 E FOREST RD                                                                                   ASHEVILLE         NC    28803‐2944
JT TEN
EARL E WATTS & S MURIEL WATTS JT TEN         1085 FIDDLEBACK DR                                                                               MCKEES ROCKS      PA    15136‐1545
EARL E WELLWOOD                              3345 MT RAINIER DR                                                                               SAN JOSE          CA    95127‐4733
EARL E WHITNEY                               14754 ELM DRIVE                                                                                  MARCELLUS         MI    49067‐9708
EARL E WOOD                                  822 S DERBY RD                                                                                   STANTON           MI    48888‐9134
EARL E YOWELL                                6 RAINBARREL CT                                                                                  O'FALLON          MO    63366‐8115
EARL EDWARD VANDERLUIT                       135 E VINEYARD                                                                                   ANDERSON          IN    46012‐2520
EARL EDWARD WOODS                            PO BOX 155                                                                                       BANGOR            CA    95914‐0155
EARL EUGENE RICE                             1796 CO RD 18                                                                                    DOUBLE SPRINGS    AL    35553‐9623
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EARL F BEARD                                        3514 MERRICK                                                                                    HOUSTON            TX    77025‐1930
EARL F BLISS JR                                     902 HARRY PAUL DR                                                                               LAKE ORION         MI    48362‐2847
EARL F CONNERLEY JR                                 2001 BELMONT PLACE                                                                              INDEPENDENCE       MO    64057‐1022
EARL F CRANK                                        3922 FRUIT ST                                                                                   CLAY               MI    48001‐4615
EARL F DAVIS                                        1716 W 87TH ST                         APT 2E                                                   CHICAGO            IL    60620‐4810
EARL F ENGLISH                                      2994 PHEASANT RING CT                                                                           ROCHESTER HILLS    MI    48309‐2856
EARL F FENRICK                                      3812 S COLORADO TRAIL                                                                           JANESVILLE         WI    53546‐9478
EARL F GOODMAN JR                                   5894 WEST E AVE                                                                                 KALAMAZOO          MI    49009‐9040
EARL F HAIRSTON                                     184 ORMOND STREET SE                                                                            ATLANTA            GA    30315‐1329
EARL F KERN                                         23329 CLAIRWOOD                                                                                 SAINT CLAIR SHORES MI    48080‐3417

EARL F LONG & MRS LETA A LONG JT TEN                7501 SOUTH 76TH AVE                                                                             OMAHA              NE    68128‐2512
EARL F MARTIN                                       2786 GRAVELRIDGE                                                                                ROCHESTER          MI    48307‐4644
EARL F MCMAHAN & BARBARA A MCMAHAN JT TEN           2131 WESTWOOD DRIVE                                                                             MARION             IN    46952‐3213

EARL F MURPHY & LOIS L MURPHY JT TEN                3770 MONTEREY DR                                                                                LAKE HAVASU CITY   AZ    86406‐8823

EARL F O'NEAL JR                                    1414 BRADSHAW DRIVE                                                                             COLUMBIA           TN    38401‐9225
EARL F REID                                         929 IOLA CT                                                                                     FLUSHING           MI    48433‐1455
EARL F ROESSING                                     BOX 246                                                                                         NAPOLEON           OH    43545‐0246
EARL F SCOTT                                        1714 PARK DR                                                                                    MIDDLETOWN         OH    45044‐6352
EARL F SHELDON JR                                   9097 DOEMEL LN                                                                                  PICKEREL           WI    54465‐9366
EARL F SHELDON JR & JACQUELINE J SHELDON JT TEN     9097 DOEMEL LN                                                                                  PICKEREL           WI    54465‐9366

EARL F WYCKOFF & MINERVA M WYCKOFF JT TEN           243 WEBER RD                                                                                    GLADWIN            MI    48624‐8410
EARL F WYRICK                                       3055 DEVONDALE                                                                                  ROCHESTER HLS      MI    48309‐4032
EARL FIELD JR & ERIN QUINN JT TEN                   3173 BARKSIDE CT                                                                                ATLANTA            GA    30341‐4201
EARL FIELDS                                         241 E YORK AVE                                                                                  FLINT              MI    48505‐2146
EARL FISHER                                         5562 CARY DR                                                                                    YPSILANTI          MI    48197‐8155
EARL FOX                                            1295 SHAWHAN RD                                                                                 MORROW             OH    45152‐9695
EARL FOX                                            144 STALLING STREET                    APT A                PO BOX 498                          LELAND             MS    38756‐0498
EARL FRANCIS GRANDON                                301 AIRPORT                                                                                     HOLLY              MI    48442‐1284
EARL FRANKLIN POOL                                  14050 HOGAN RD                                                                                  LINDEN             MI    48451‐8733
EARL FREDERICK DEWEY II                             9 CATLIN ROAD                                                                                   WALLINGFORD        CT    06492‐2507
EARL G ANDERSON JR TR UA 07/16/84 ANDERSON          PO BOX 55626                                                                                    INDIANAPOLIS       IN    46205‐0626
FAMILY TRUST
EARL G BOWEN                                        250 KINGS WAY RD                       APT 420                                                  MARTINSVILLE       VA    24112‐6686
EARL G BURKE & ROSE MARIE BURKE TR UA BURKE         8068 E ARROYO HONDO RD                                                                          SCOTTSDALE         AZ    85262‐1054
FAMILY TRUST 09/07/88
EARL G CONDIT                                       100 WILLOW BROOK WAY S                 # 137                                                    DELAWARE           OH    43015‐3249
EARL G ERDMAN TR UA 10/15/92 EARL G ERDMAN          2115 SECOND ST SW #221                                                                          ROCHESTER          MN    55902‐2446
REVOCABLE TRUST AGREEMENT
EARL G FRY                                          5740 ROYALTON CTR RD                                                                            GASPORT            NY    14067‐9358
EARL G GIBBONS                                      4055 CLARKSTON                                                                                  BELLBROOK          OH    45305‐1107
EARL G HELBIG TR UA 12/07/1995 EARL & RUTH HELBIG   88 MASONIC HOME ROAD                   APT R306                                                 CHARLTON           MA    01507
LIVING TRUST
EARL G MACLEAN                                      35 SHEAFE STREET                                                                                CHESTNUT HILL      MA    02467‐2141
EARL G MACLEAN & HOWARD A MACLEAN JT TEN            35 SHEAFE ST                                                                                    CHESTNUT HILL      MA    02467‐2141
EARL G MITCHELL                                     1325 SUTTON DRIVE                                                                               WESTLAND           MI    48186
EARL G PERKINS                                      148 N HARRISON AVE                                                                              KANKAKEE           IL    60901‐4040
EARL G SHELL & CAROL L SHELL JT TEN                 6200 N RIVER RD                                                                                 EAST CHINA         MI    48054‐4704
EARL G SMITH                                        60 CANTERBURY S W                                                                               WYOMING            MI    49548‐1115
EARL G THOMPSON                                     2318 RIVER STATION TERR                                                                         WOODSTOCK          GA    30188‐5908
EARL G YOUNG                                        66 EDGEWOOD PARK DR                                                                             SHADY COVE         OR    97539‐9711
EARL GASKILL TOD MARGARET A GASKILL                 PO BOX 94                              HIGH VIEW RD                                             RICHMONDVILLE      NY    12149‐0094
EARL GEORGE POTTS                                   713 PARK TRAIL LN                                                                               CLOVER             SC    29710‐6308
EARL GIBSON                                         BOX 78 ASTAR RTE 4                                                                              WHARNCLIFFE        WV    25651‐0078
EARL GLENN ANDIS                                    2141 E BERGIN ST                                                                                BURTON             MI    48529‐1703
EARL GRAY                                           210 BAKER LANE                                                                                  CARLISLE           OH    45005‐3794
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EARL GRIGSBY                                       RT 3 772                                                                                       JONESVILLE         VA    24263‐9615
EARL H BARKER                                      48 CONWELL ST                                                                                  WILKES BARRE       PA    18702‐2115
EARL H BLACK & DOLORES M BLACK JT TEN              1607 MULBERRY LANE                                                                             FLINT              MI    48507‐5340
EARL H BOIVIN JR                                   827 E BAIRD                                                                                    HOLLY              MI    48442‐1760
EARL H BROWN                                       114 W THOMSON DR                                                                               ELKTON             MD    21921‐6121
EARL H BUETEMEISTER CUST JEFF R BUETEMEISTER       3702 ARBOR AVE                                                                                 ROSAMOND           CA    93560
UGMA IN
EARL H CRAWFORD                                    4241 CAPE COD CT                                                                               DAYTON             OH    45406‐1431
EARL H DE GIORGIS                                  4286 SPRING BROOK DR                                                                           SHWARTZ CREEK      MI    48473‐1706
EARL H HALLADAY & SUSAN K HALLADAY JT TEN          BOX 40511                                                                                      GRAND JCT          CO    81504‐0511
EARL H HIGLEY & MARY A HIGLEY JT TEN               11038 W OAK RIDGE RD                                                                           SUN CITY           AZ    85351‐1556
EARL H MILLER                                      2109 BRIAR LANE                                                                                BURTON             MI    48509‐1230
EARL H MUNSON                                      7155 S VERNON RD                                                                               DURAND             MI    48429‐9154
EARL H PIERSON                                     574 NASH ST                                                                                    NILES              OH    44446‐1458
EARL H SOOTS & ANA A SOOTS JT TEN                  1603 WINDING CREEK TRAIL                                                                       BROWNSBURG         IN    46112‐9252
EARL H WEDHORN                                     9059 KETTERING                                                                                 WHITE LAKE         MI    48386‐4255
EARL HALEY                                         918 WOOD LAKE COURT                                                                            OFALLON            IL    62269‐3114
EARL HARRY PASCOE & NANCY PASCOE JT TEN            4578 HATHERLY PL                                                                               STERLING HEIGHTS   MI    48310‐5122

EARL HEADLEY                                      5748 MIDWAY RD                                                                                  WEATHERFORD      TX      76085‐3800
EARL HELTON                                       1709 UNIVERSITY DRIVE                                                                           COLUMBIA         TN      38401
EARL HENRY ALLARD JR TR EARL HENRY ALLARD JR      PO BOX 36385                                                                                    GROSSE PTE FARMS MI      48236‐0385
TRUST UA 3/25/99
EARL HINES JR                                     18512 KERILL RD                                                                                 TRIANGLE           VA    22172‐2058
EARL HORSLEY                                      24595 BERG ROAD                                                                                 SOUTHFIELD         MI    48034‐3028
EARL ISOM                                         122 N 7TH STREET                                                                                SAGINAW            MI    48607‐1416
EARL IVAN STALEY & MRS DEANNA JOYCE STALEY JT TEN 43748 N FERN                                                                                    LANCASTER          CA    93534‐4907

EARL J BAKER                                       1037 QUINN RD                                                                                  W ALEXANDRIA       OH    45381‐8345
EARL J BATTY                                       107 TOWER HILL RD                                                                              CUMBERLAND         RI    02864‐1534
EARL J BEACH                                       2600 WOOSTER RD                                                                                ROCKY RIVER        OH    44116‐2955
EARL J BLEVINS                                     815 KINO WOLF ISLAND RD                                                                        GLASGOW            KY    42141‐6119
EARL J BRAWDY & JEAN M BRAWDY TR BRAWDY FAM        5633 DONNELLY CIR                                                                              ORLANDO            FL    32821‐7659
TRUST UA 12/12/96
EARL J CROCKER                                     477 PEARSALL                                                                                   PONTIAC          MI      48341‐2660
EARL J ELLIS                                       3207 MAINE AVE                                                                                 LONG BEACH       CA      90806‐1235
EARL J FORTUNE & LEONORA FORTUNE JT TEN            7308 LAFAYETTE                                                                                 DEARBORN         MI      48127‐1789
EARL J GREEN                                       13141 E 39TH PL                       LOT 1                                                    YUMA             AZ      85367‐6837
EARL J GUY                                         PO BOX 246                                                                                     RAPID CITY       MI      49676‐0246
EARL J HALE JR                                     37684 BURTON DR                                                                                FARMINGTON HILLS MI      48331‐3062

EARL J HELMBRECK JR & JUAREEN L HELMBRECK JT TEN   3304 GREENBRIAR LN                                                                             WEST GROVE         PA    19390‐9196

EARL J HOOVER                                      45 HOLLY ST                           MURRAY MANOR                                             WILMINGTON         DE    19808‐4936
EARL J HUGHES                                      9128 CHALFONTE DRIVE N E                                                                       WARREN             OH    44484‐2110
EARL J HULETT                                      580 E STILSON RD                                                                               PECK               MI    48466‐9724
EARL J ISAACS                                      171 STATE ROUTE 42                                                                             WAYNESVILLE        OH    45068‐6801
EARL J JONES                                       5028 MERRICK ST                                                                                DEARBORN HTS       MI    48125‐2864
EARL J KINDRED JR                                  19869 E 1980TH RD                                                                              CHRISMAN           IL    61924‐9803
EARL J MC NAMARA & ONAH M MC NAMARA JT TEN         6481 WARREN RD                                                                                 ANN ARBOR          MI    48105‐9775

EARL J MCNAMARA                                    6481 WARREN RD                                                                                 ANN ARBOR          MI    48105‐9775
EARL J MURRAY                                      2070 W CHICAGO BLVD                                                                            DETROIT            MI    48206‐1783
EARL J NOFFSINGER                                  7015 CHASE RUN LN                                                                              FLUSHING           MI    48433‐2282
EARL J OSENTOSKI                                   16055 FOREST                                                                                   EAST DETROIT       MI    48021‐1134
EARL J SHULZE                                      PO BOX 138                                                                                     MAPLE RAPIDS       MI    48853‐0138
EARL J SMITH                                       41368 LEHIGH LANE                                                                              NORTHVILLE         MI    48167‐1975
EARL J SMITH                                       PO BOX 1363                                                                                    TRENTON            NJ    08607‐1363
EARL J SMITH & IRENE L SMITH JT TEN                41368 LEHIGH LANE                                                                              NORTHVILLE         MI    48167‐1975
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Name                                            Address1                               Address2             Address3          Address4          City             State Zip

EARL J VERRETT                                  2805 SMITH ST                                                                                   ORANGE             TX   77630‐6742
EARL J VINSON                                   3642 BERNICE                                                                                    SAGINAW            MI   48601‐5901
EARL J WAMMES                                   2000 CHRISTY ROAD                                                                               FREMONT            OH   43420‐9789
EARL J WELCH                                    1211 N MORRISON                                                                                 KOKOMO             IN   46901‐2761
EARL J WILLS                                    9016 JAMES MADISON HWY                                                                          WARRENTON          VA   20186‐7746
EARL JACK                                       61 COL 243                                                                                      TAYLOR             AR   71861
EARL JACKSON BENNETT                            808 MEADOW RIDGE RD                                                                             NORMAN             OK   73072‐3936
EARL JOHN HASELHORSET                           13019 BUCKEYE RD                                                                                HIGHLAND           IL   62249‐4401
EARL JONES                                      2000 COUNTY RD 37                                                                               FLORENCE           AL   35634‐3703
EARL JOSEPH WEISSEND                            2205 CORUNNA RD                                                                                 FLINT              MI   48503‐3308
EARL K GRUBB SR                                 2206 BATESTOWN ROAD                                                                             DANVILLE           IL   61832‐5342
EARL K HARRIS                                   413 DONEGAL DR                                                                                  TOWSON             MD   21286‐7925
EARL K HARTZELL & JOAN M HARTZELL JT TEN        138 MAYER DR                                                                                    PITTSBURGH         PA   15237‐1885
EARL L ARGUELLO                                 881 CHESTNUT AVE                                                                                TRACY              CA   95376‐4344
EARL L BARTLE & BARBARA L BARTLE JT TEN         6670 MELVIN RD                                                                                  BROWN CITY         MI   48416‐8680
EARL L BATSELL JR                               9807 HARVARD                                                                                    KANSAS CITY        MO   64137
EARL L BEAN                                     1120 E GOULSON                                                                                  HAZEL PARK         MI   48030‐1911
EARL L BENNETT                                  4345 S PORTSMOUTH RD                                                                            BRIDGEPORT         MI   48722‐9572
EARL L BURNETTE                                 24111 CIVIC CENTER DR                  APT 142                                                  SOUTHFIELD         MI   48033
EARL L CALKINS & ELEANOR L CALKINS JT TEN       910 N FERN ST                                                                                   ESCONDIDO          CA   92027‐1708
EARL L CECIL                                    428 ELMCREST DR                                                                                 NORMAN             OK   73071‐7053
EARL L COLLIGNON                                27W370 GENEVA RD                       LOT 79                                                   WEST CHICAGO       IL   60185‐2583
EARL L CROLE                                    1313 E MITCHELL                                                                                 ARLINGTON          TX   76010‐2923
EARL L CROWE                                    806 W 12TH ST                                                                                   INDIANAPOLIS       IN   46202‐2253
EARL L CUMPER                                   3207 TATHAM RD                                                                                  SAGINAW            MI   48601‐7129
EARL L DECKER                                   3630 WENDOVER AVE                                                                               YOUNGSTOWN         OH   44511‐2652
EARL L DICKERSON                                481 FOREST ST                                                                                   COLUMBUS           OH   43206‐2330
EARL L FESSLER & PATRICIA A FESSLER TEN ENT     11 OAK RD                                                                                       PINE GROVE         PA   17963
EARL L FISHER JR                                1107 ARROWHEAD DR                                                                               BURTON             MI   48509‐1419
EARL L GRIFFES                                  1165 HOUSE RD                                                                                   WEBBERVILLE        MI   48892‐9721
EARL L GROVE & J ELAINE GROVE JT TEN            11175 POTTAWATOMI TRAIL                                                                         WALKERTON          IN   46574‐9373
EARL L HAMM                                     13210 DERBY RD                                                                                  LEMONT             IL   60439‐8708
EARL L HANDLEY                                  2526 KITTIWAKE DRIVE                                                                            WILMINGTON         DE   19805‐1074
EARL L HAWKINS                                  22406 ROSEDALE                                                                                  SAINT CLAIR SHORES MI   48080‐3857

EARL L HENSEL                                   409 RIDGEWOOD LANE                                                                              FRANKLIN         TN     37064‐5235
EARL L KEEN                                     6424 BROYLES                                                                                    TROY             MO     63379‐4842
EARL L KINNEY                                   12195 BALDWIN RD                                                                                GAINES           MI     48436‐9702
EARL L KIZINE                                   7927 HICKMAN MILLS DR                                                                           KANSAS CITY      MO     64132‐2334
EARL L LARUE                                    6314 N CO RD 625 E                                                                              MOORELAND        IN     47360‐9714
EARL L LOVE                                     11409 SUNRISE LANE                                                                              FRISCO           TX     75035‐5150
EARL L MACK                                     3509 MARVIN ST                                                                                  FLINT            MI     48505‐3802
EARL L MAIDEN                                   305 KEASBEY ST                                                                                  SALEM            NJ     08079‐1203
EARL L MARTIN                                   7265 ORLEE                                                                                      CALEDONIA        MI     49316‐9536
EARL L MECHAM                                   30 N 7TH STREET E                                                                               SODA SPRINGS     ID     83276
EARL L MENGEL JR & DOLORES E MENGEL JT TEN      1210 LORRAINE RD                                                                                READING          PA     19604‐2033
EARL L NELSON                                   4315 E 110TH                                                                                    KANSAS CITY      MO     64137‐2027
EARL L NELSON                                   4710 S 500 E                                                                                    KOKOMO           IN     46902‐9386
EARL L POLSGROVE                                14857 VILLAGE COURT                                                                             SHELBY TWP       MI     48315‐4462
EARL L SCHORPP II                               1826 RASP DR                                                                                    CARLISLE         PA     17013‐1144
EARL L SHARROW                                  801 PATTERSON                                                                                   BAY CITY         MI     48706‐4198
EARL L SHIFLETT JR                              1415 TAYSIDE WAY                                                                                BELAIR           MD     21015‐5620
EARL L SIMERAL                                  11343 SEMINOLE DR                                                                               N HUNTINGTON     PA     15642‐2440
EARL L SMITH JR                                 6202 JOHNSON RD                                                                                 FLUSHING         MI     48433‐1151
EARL L STRYKER                                  BOX 58                                                                                          PORT WILLIAM     OH     45164‐0058
EARL L SUGGS                                    6022 PEARL ST                                                                                   BURTON           MI     48509‐2219
EARL L THOMPSON                                 1636 ROBINWOOD AVE                                                                              LAKEWOOD         OH     44107‐4537
EARL L THURSTON                                 PO BOX 37                                                                                       MERTENS          TX     76666‐0037
EARL L WILSON                                   4314 NATCHEZ AVENUE                                                                             DAYTON           OH     45416‐1525
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EARL LATCHAW                                      157 PARK AVE                                                                                   FRANKLIN           PA    16323
EARL LEMON                                        1909 WINDER ROAD                                                                               BALTIMORE          MD    21244‐1730
EARL LEWIS                                        60 PINT TAIL CRESCENT                 TORONTO ON                             M3A 2Y7 CANADA
EARL LEWIS                                        22 COPELAND AVENUE                    TORONTO ON                             M4C 1B1 CANADA
EARL LOFTON JR                                    118 CARL ST                                                                                    BUFFALO            NY    14215‐4028
EARL LOSEE                                        2306 N WOODBRIDGE                                                                              SAGINAW            MI    48602‐5221
EARL LUTEY & BEATRICE MAE LUTEY JT TEN            681 AMBERWOOD DR SW                                                                            BRYON CENTER       MI    49315‐8309
EARL LYON FARRELL & MRS AVIS C FARRELL JT TEN     168 AMHERST AVE                                                                                PAWTUCKET          RI    02860‐3302
EARL M ADDISON JR & ESTHER C ADDISON JT TEN       PO BOX 1697                                                                                    TAYLOR             MI    48180‐6697
EARL M BOWERS                                     165 BEASLEY NECK ROAD                                                                          SALEM              NJ    08079‐3212
EARL M COLQUITT                                   25 SHSHONE CT                                                                                  OLD HICKORY        TN    37138‐1529
EARL M MCCULLAH                                   144 DOGWOOD LN                                                                                 JACKSBORO          TN    37757‐2811
EARL M PRITTS                                     6170 CHESHAM AVE NE                                                                            CANTON             OH    44721‐3501
EARL M PRITTS & MRS TWILA E PRITTS JT TEN         6170 CHESHAM AVE NE                                                                            CANTON             OH    44721‐3501
EARL M SATTLER                                    216 S CLINTON ST APT 508                                                                       GRAND LEDGE        MI    48837‐2057
EARL M SHORT                                      550 RISINGHILL DRIVE                                                                           FAIRBORN           OH    45324‐5917
EARL M STARR                                      33087 TWICKINGHAM DR                                                                           STERLING HEIGHTS   MI    48310‐6427

EARL M WILLIAMS                                   2161 MABEL AVE                                                                                 SAN JOSE           CA    95122‐1648
EARL M WILSON JR                                  106 LEE RD 530                                                                                 PHENIX CITY        AL    36870
EARL MADISON                                      BOX 632                                                                                        FAIR LAWN          NJ    07410‐0632
EARL MARTIN PARK                                  2815 KINGS CROSSING DR                CONDO 101                                                KINGWOOD           TX    77345‐5410
EARL MARTIN WILLIAMS CUST MRS MARILYN M           8638 LYNX RD                                                                                   SAN DIEGO          CA    92126‐1829
WILLIAMS UGMA CA
EARL MARVEL & ANNA MARVEL JT TEN                  231 PALM CIR                                                                                   N FT MYERS         FL    33917‐6314
EARL MAXIN                                        36 SANDBERG WAY NW                                                                             WARREN             OH    44483‐1370
EARL MC LEOD                                      FINGAL ON                                                                    N0L 1K0 CANADA
EARL MCCLENDON                                    427 HORY ST                                                                                    ROSELLE            NJ    07306
EARL MCCOY                                        3127 MATTHEW DR                       APT D                                                    KOKOMO             IN    46902‐4082
EARL MOSIER                                       R#2 BOX #80                                                                                    SHOALS             IN    47581‐9625
EARL MURPHY                                       10304 LARK PARK DR                                                                             LOUISVILLE         KY    40299‐4031
EARL N BROWN JR                                   15 OAK PARK AVE                                                                                WHEELING           WV    26003‐5539
EARL N CARTER                                     1795 LISETTE WAY                                                                               THE VILLAGES       FL    32162
EARL N HARDIN                                     4901 BRAZOSWOOD CIR                                                                            ARLINGTON          TX    76017‐2800
EARL N SLOCUM                                     2574 DAVID LANE                                                                                LAPEER             MI    48446‐8330
EARL N WATKINS & MRS PATSY WATKINS JT TEN         PO BOX 96                                                                                      DEXTER             MO    63841‐0096
EARL NEAL                                         305 HAVEN                                                                                      BARBERTON          OH    44203‐4141
EARL NEIL BEARD                                   3858 STONEY BROOK CIRCLE                                                                       LAS CRUCES         NM    88005‐3685
EARL NIX MOORE                                    252 E HOYT AVE                                                                                 CROWLEY            LA    70526‐6706
EARL O LYME JR                                    401 S CIRCLE DR                                                                                WILMINGTON         IL    60481‐1010
EARL O NUNNALLY                                   515 W SOUTHPORT RD                                                                             INDIANAPOLIS       IN    46217‐4163
EARL O SCHMITZ                                    2892 EAST 1150 SOUTH                                                                           KOKOMO             IN    46901‐7568
EARL ORCUTT                                       13 WILLOWBROOK RD                                                                              FREEHOLD           NJ    07728‐2810
EARL P FARRAGUT                                   6 DUSK VALLEY CT                                                                               SPRING             TX    77379‐7470
EARL P GEIERSBACH                                 906 E SMITH ST                                                                                 BAY CITY           MI    48706‐3968
EARL P SCHLOTTERBECK & PAULINE L SCHLOTTERBECK JT 17038 STERLING RD                                                                              WILLIAMSPORT       MD    21795‐3162
TEN
EARL P SCHLOTTERBECK & PAULINE L SCHLOTTERBECK 17038 STERLING RD                                                                                 WILLIAMSPORT       MD    21795‐3162
TEN ENT
EARL P VANDERMEER                                 1004 WORCESTER DR NE                                                                           GRAND RAPIDS       MI    49505‐5948
EARL P WHITE                                      PO BOX 123                                                                                     CLAYTON            IN    46118‐0123
EARL P WILLIAMS JR                                6101 SMITHFIELD                                                                                TROY               MI    48098‐1081
EARL PATRICK                                      236 N FRANKLIN ST                                                                              PARKER CITY        IN    47368‐9625
EARL PEARSON                                      8231 MESSER RD                                                                                 JACKSONVILLE       FL    32219‐1905
EARL PHILPOT                                      102 JOHNSON TRL                                                                                DAYTON             OH    43418‐2990
EARL POWERS & MICHELE POWERS JT TEN               4213 CLEMSON DR                                                                                GARLAND            TX    75042‐5232
EARL PRATER                                       16801 N 49TH ST #281                                                                           SCOTTSDALE         AZ    85254‐1019
EARL PRICE JR & MRS JEAN A PRICE JT TEN           2413 LOFTON TERR                                                                               FT WORTH           TX    76109‐1124
EARL Q SMITH                                      1047 PORT DIANE                                                                                ST LOUIS           MO    63146‐5631
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EARL R ADAIR & LEONINA E ADAIR JT TEN         1332 SW 77TH PL                                                                                  OKLAHOMA CITY      OK    73159‐5321
EARL R BACON                                  833 DREWRY DR                                                                                    SHREVEPORT         LA    71118‐4105
EARL R BACON & GENE F BACON JT TEN            833 DREWRY DR                                                                                    SHREVEPORT         LA    71118‐4105
EARL R BAILEY                                 8106 SKITTS MOUNTAIN ROAD                                                                        LULA               GA    30554‐2000
EARL R BROOKS                                 3324 COTTAGE RD                                                                                  DAYTON             OH    45439‐1304
EARL R BRUORTON                               363 STURKEY FERRY RD LOT 12                                                                      PLUM BRANCH        SC    29845‐3105
EARL R BURNS                                  RT 1 BOX 14087                                                                                   WINNSBORO          TX    75494‐9619
EARL R COOK                                   1080 CAMBRY CIR                                                                                  GRASS LAKE         MI    49240‐8944
EARL R COX                                    6308 44TH AVE 184                                                                                KENOSHA            WI    53144
EARL R DONGES                                 1930 LES ROBINSON RD                                                                             COLUMBIA           TN    38401‐1324
EARL R FRENCH                                 70 WOODHOLLOW ROAD                                                                               ALBERTSON          NY    11507‐1426
EARL R FRITH                                  2708 S DEERFIELD                                                                                 LANSING            MI    48911‐1773
EARL R GAUTSCHE                               653 CENTRAL AVE                                                                                  LAKE ORION         MI    48362‐2313
EARL R GUINN                                  2908 W 12TH ST                                                                                   ANDERSON           IN    46011‐2435
EARL R HEARD                                  28615 PARDO                                                                                      GARDEN CITY        MI    48135‐2839
EARL R HOWARD                                 669 TIMBERWOOD DR                                                                                DAYTON             OH    45430‐1437
EARL R HOWELL                                 2625 N 1000 E                                                                                    VAN BURRON         IN    46991‐9751
EARL R KAISER                                 202 E 3RD ST                                                                                     IMLAY CITY         MI    48444‐1322
EARL R KIPLER SR                              50 MEADOWLAWN ROAD                                                                               ORCHARD PARK       NY    14127‐4241
EARL R LAFAVE & REATHA M LAFAVE JT TEN        9461 JOHNSON RD                                                                                  ROSCOMMON          MI    48653‐9130
EARL R MANN                                   527 HELEN                                                                                        HIGHLAND           MI    48357‐4709
EARL R MONTGOMERY                             2226 VERNOR RD                                                                                   LAPEER MICH        MI    48446‐8373
EARL R MUIR III                               7210 W HIGHWAY 524                                                                               WESTPORT           KY    40077‐9705
EARL R OESTREICH                              44 ROOSEVELT DR                                                                                  LOCKPORT           NY    14094‐5026
EARL R REDINGER JR                            8850 TREVI LANE                                                                                  HOLLY              MI    48442‐8953
EARL R SHEALY                                 FAIRCHILD ST                                                                                     BATESBURG          SC    29006
EARL R WHEELER JR                             2401 SW PLASS AVE                                                                                TOPEKA             KS    66611‐1532
EARL R WILLIS                                 4154 PAISLEY DRIVE                                                                               STERLING HEIGHTS   MI    48314‐1985

EARL R ZIMMERMAN & DORIS E ZIMMERMAN JT TEN   686 LANGHORNE‐YARDLEY RD                                                                         LANGHORNE          PA    19047‐1558

EARL RAY GILMORE                              5782 WELLS RD                                                                                    BARTOW           FL      33830‐9456
EARL RAY TROXELL                              2316 SE 31ST ST                                                                                  OKEECHOBEE       FL      34974‐6759
EARL REDD JR                                  1613 ANNABELLE                                                                                   DETROIT          MI      48217‐1240
EARL RENC                                     6110 YUCCA DR                                                                                    FORT PIERCE      FL      34982‐3770
EARL RICHARD                                  814 NORTH RIVER STREET                                                                           YPSILANTI        MI      48198‐2828
EARL RICHARD LONG                             2549 NORMA ST                                                                                    TITUSVILLE       FL      32780‐2845
EARL ROBBINS                                  RR 1 BOX 421                                                                                     MOUNT VERNON     KY      40456‐9243
EARL ROBERSON JR                              718 FARRAGUT ST NW                                                                               WASHINGTON       DC      20011‐4012
EARL ROBERT BOSTIC                            PO BOX 135                                                                                       RUPERT           WV      25984‐0135
EARL ROBERTSON                                701 W PINE AVE                                                                                   WEST TERRE HAUTE IN      47885‐9307

EARL ROOSEVELT HAMMOND SR                     45 MASSACHUSETTS                                                                                 HIGHLAND PARK      MI    48203‐3536
EARL S BACHELDOR                              2152 NOBLE RD                                                                                    TAWAS CITY         MI    48763‐9401
EARL S GARRETT                                1459 BLOSSOM AVENUE                                                                              YPSILANTI          MI    48198‐3360
EARL S SHRADER                                25 FERN ROAD                                                                                     STOCKBRIDGE        GA    30281‐2120
EARL S STEADMAN                               740 SHADOWOOD LANE S E                                                                           WARREN             OH    44484‐2441
EARL S SWAIN                                  627 BEN WEST RD                                                                                  DAHLONEGA          GA    30533‐5121
EARL S WOOD                                   2365 WELCH RD                                                                                    WALLED LAKE        MI    48390‐2779
EARL SALYERS                                  6520 ALSPAUGH DR                                                                                 CASTALIA           OH    44824‐9371
EARL SATURDAY                                 676 GLENSPRING AVE                                                                               SPRINGDALE         OH    45246‐2125
EARL SCHNEIDER & GRACE SCHNEIDER JT TEN       3600 SOUTH 91ST ST                                                                               MILWAUKEE          WI    53228‐1540
EARL SIDELINKER                               88 TADMUCK RD                                                                                    WESTFORD           MA    01886‐3125
EARL SMITH                                    8449 FARM LANE                                                                                   YPSILANTI          MI    48197‐6768
EARL SMITH                                    6020 MARSHALL ROAD                                                                               DAYTON             OH    45459‐2231
EARL SMITH                                    2730 SCOTTSDALE DR                                                                               SAN JOSE           CA    95148‐3428
EARL SNIDER                                   203 HICKORY ST                                                                                   MT HOREB           WI    53572‐1619
EARL SOLOMON & JUANITA SOLOMON JT TEN         2510 LORENZO DRIVE                                                                               STERLING HEIGHTS   MI    48314‐4515
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EARL STEPHENS                                    321 UNION HILL DR                                                                             FORSYTH         GA    31029‐3232
EARL T BARDEN                                    8090 E WILSON RD                                                                              OTISVILLE       MI    48463‐9433
EARL T BARRINGER JR                              1506 CLIFTON AVE                                                                              LANSING         MI    48910‐1807
EARL T BARRINGER JR & ELIZABETH M BARRINGER JT   1506 CLIFTON AVE                                                                              LANSING         MI    48910‐1807
TEN
EARL T BARRINGER JR CUST KARYN ELIZABETH         1506 CLIFTON                                                                                  LANSING         MI    48910‐1807
BARRINGER UGMA MI
EARL T DOLMAN                                    309 E GENESEE ST                                                                              FLINT            MI   48505‐4215
EARL T DUKE & MARGARET G DUKE JT TEN             6055 ST RT 41 NW                                                                              WASHINGTON       OH   43160‐8741
EARL T FLOWERS & JOYCE M FLOWERS JT TEN          3780 HIGHLAND TURNPIKE                                                                        MC DOWELL        VA   24458
EARL T GADDIES                                   17362 ADDISON                                                                                 SOUTHFIELD       MI   48075‐2717
EARL T HALLADAY                                  402 E 3RD ST                                                                                  EMPORIUM         PA   15834‐1512
EARL T PEARSON                                   212 S PANORAMA CIR                                                                            TUCSON           AZ   85745‐2861
EARL T PUMPHREY                                  6407 SAINT JAMES DR                                                                           INDIANAPOLIS     IN   46217‐3856
EARL T REED                                      542 PEARSALL                                                                                  PONTIAC          MI   48341‐2663
EARL T SOMERVILLE                                4316 WAVERLY DR                                                                               WATERFORD        MI   48329‐3664
EARL T SUSSEX & DELORES L SUSSEX JT TEN          37077 MUNGER                                                                                  LIVONIA          MI   48154‐1635
EARL T SUSSEX & DELORES SUSSEX JT TEN            37077 MUNGER                                                                                  LIVONIA          MI   48154‐1635
EARL T TILLEY                                    1513 BULON DR                                                                                 CARY             NC   27518‐8836
EARL T WHITEMAN                                  4694 JAMM RD                                                                                  ORION            MI   48359‐2215
EARL TAYLOR                                      1219 BROWN ST                                                                                 SAGINAW          MI   48601‐2602
EARL THOMAS EDWARDS                              25830 VILLAGE GREEN BLVD             APT 201                                                  HARRISON         MI   48045‐3034
                                                                                                                                               TOWNSHIP
EARL TORAIN TOD MARY JUANITA TORAIN              11802 THORNWOOD AV                                                                            CLEVELAND        OH   44108‐3812
EARL TYSINGER JR                                 9 MAPLE AVE                                                                                   THOMASVILLE      NC   27360‐4237
EARL V ALEXANDER                                 1688 MAPLEWOOD DRIVE                                                                          LEBANON          OH   45036‐9327
EARL V COFFEY                                    PO BOX 208                                                                                    BEAN STATION     TN   37708‐0208
EARL V HAMMEL                                    4081 HUNT RD                                                                                  LAPEER           MI   48446‐2949
EARL V HEALY                                     30261 CR 390                                                                                  GOBLES           MI   49055‐9136
EARL V PETERSON                                  15532 SEPTO ST                                                                                MISSION HILLS    CA   91345‐2914
EARL V TREZIL & DELPHINE M TREZIL JT TEN         32761 HIVELEY                                                                                 WESTLAND         MI   48186‐5269
EARL V WARD                                      5333 WHITE RIVER ST                                                                           GREENWOOD        IN   46143‐8997
EARL V WRIGHT & DONNA M SZKUBIEL JT TEN          21733 EASTWOOD                                                                                WARREN           MI   48089‐2827
EARL V WRIGHT & REBECCA C WRIGHT JT TEN          21733 EASTWOOD                                                                                WARREN           MI   48089‐2827
EARL V WRIGHT & THOMAS V WRIGHT JT TEN           21733 EASTWOOD                                                                                WARREN           MI   48089‐2827
EARL VANHOOSE                                    453 KIRKWOOD DR                                                                               FAIRBORN         OH   45324‐4429
EARL VANSTREADER                                 8810 ASHPACHER RD                                                                             DEFIANCE         OH   43512‐8427
EARL VERNON LORD JR                              3153 ANDERSON CT                                                                              CLIO             MI   48420‐1085
EARL W AIELLO                                    420 FORRER BOULEVARD                                                                          DAYTON           OH   45419‐3239
EARL W ALEXANDER                                 9353 MORRISH RD                                                                               MONTROSE         MI   48457‐9016
EARL W BARTLETT                                  1584 TENNYSON DR                                                                              TEMPERANCE       MI   48182‐9242
EARL W BLEYLE JR                                 17279 SAN CARLOS BLVD #67                                                                     FORT MYERS BEACH FL   33931‐5357

EARL W BLOOD                                     1755 W 235 ST                                                                                 STEGER          IL    60475‐1494
EARL W CAMPBELL                                  2500 E SHOCKLEY RD                                                                            MUNCIE          IN    47302‐8610
EARL W CLAUS                                     14400 LADUE RD                                                                                CHESTERFIELD    MO    63017‐2526
EARL W COLVIN & GERTRUDE L COLVIN JT TEN         308 AUSTRALIAN CIR                                                                            LAKE PARK       FL    33403‐2611
EARL W ENSINGER & ELVA M ENSINGER JT TEN         4641 PALOMINO TRL                                                                             INDIANAPOLIS    IN    46239‐9707
EARL W GOTTLIEB                                  7219 W 130TH ST                                                                               CLEVELAND       OH    44130‐7814
EARL W GRIFFITH & AMY L GRIFFITH JT TEN          6413 MONTANA CT                                                                               SAN JOSE        CA    95120‐1830
EARL W HAMILL                                    7438 MERCER PIKE                                                                              MEADVILLE       PA    16335‐5670
EARL W HAMILL & JANICE L HAMILL JT TEN           RD #5 BOX 848 MERCER PIKE RD                                                                  MEADVILLE       PA    16335‐9256
EARL W HANNA & DOROTHY L HANNA TR UA 03/12/92    14200 BUCKNER DRIVE                                                                           SAN JOSE        CA    95127‐3200
THE HANNA TRUST
EARL W HOFFSIS                                   PO BOX 2677                                                                                   TOLEDO          OH    43606‐0677
EARL W IMEL                                      7449 W ST RD 38                                                                               PENDLETON       IN    46064‐9727
EARL W KESSLER                                   59 VILLAGE DRIVE                                                                              WHEELING        WV    26003‐4953
EARL W KIRBY                                     490 HY 150                                                                                    PACOLET         SC    29372‐2219
EARL W KREGER & BARBARA A KREGER JT TEN          1710 GREENWICH MILAN RD                                                                       NORWALK         OH    44857‐9511
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EARL W LUNEY                                       628 NW 1421ST RD                                                                             HOLDEN           MO    64040‐9493
EARL W MARTIN & BERNICE M MARTIN JT TEN            3790 GREENHILL RD                                                                            PASADENA         CA    91107‐2230
EARL W MC DONALD                                   4695 W KESSLER COWLESVILLE RD                                                                WEST MILTON      OH    45383‐9710
EARL W NAAS & PENNE S NAAS JT TEN                  PO BOX 74                                                                                    GAYLORD          MI    49734‐0074
EARL W NORRIS                                      2121 CULBERTSON AVE                 APT D                                                    NEW ALBANY       IN    47150‐1780
EARL W OGDEN                                       27110 DAHLIA COURT                                                                           SUN CITY         CA    92586‐2083
EARL W PAINE                                       1954 LARCHMONT AVE NE                                                                        WARREN           OH    44483‐3508
EARL W PARAMORE                                    115 BASELINE ROAD                                                                            SHILOH           OH    44878‐9707
EARL W RISK                                        5281 PALFREY PL SE                                                                           CALEDONIA        MI    49316‐8296
EARL W ROBERTS JR                                  6300 S SOUTHWOOD DR                                                                          CENTENNIAL       CO    80121‐2457
EARL W STEPHENS                                    5138 WOODHAVEN DR                                                                            FLINT            MI    48504‐1282
EARL W SWARENS & BETTY M SWARENS JT TEN            7955 CHASE AVE                                                                               LOS ANGELES      CA    90045‐1001
EARL W WALKER                                      1842 HIGH KNOLL DR                                                                           DAYTON           OH    45414‐3737
EARL W WHITEHEAD                                   RT #1 LYONS HWY                                                                              SAND CREEK       MI    49279‐9801
EARL W WORKMAN                                     5027 GREENVILLE ROAD                                                                         FARMDALE         OH    44417‐9771
EARL WALSH                                         1809 LASALLE PL                                                                              SEVERN           MD    21144‐1605
EARL WALTERS                                       6181 STATE RT 588                                                                            GALLIPOLIS       OH    45631‐8456
EARL WEBER                                         607 NOLTON AVENUE                                                                            WILLOW SPRING    IL    60480‐1448
EARL WHITE                                         1021 21ST                                                                                    WYANDOTTE        MI    48192‐3017
EARL WHITE JR                                      667 WALKER RD                                                                                MOUNT PLEASANT   NC    28124‐9595

EARL WILEY PARSONS                                3411 ORANGE RD                                                                                VENICE           FL    34293‐4939
EARL WILLIAMS                                     19641 DALE                                                                                    DETROIT          MI    48219‐1617
EARL WILLIAMS                                     208 SOUTH AVENUE                                                                              SYRACUSE         NY    13204‐4122
EARL WILLIAMS                                     1714 CLINTON STREET                                                                           LINDEN           NJ    07036‐3423
EARL WILLIAMS JR                                  10003 EAST 98TH ST NORTH                                                                      OWASSO           OK    74055‐6662
EARL WILSON GLANDON                               4100 E MCGALLIARD RD                                                                          MUNCIE           IN    47303‐9246
EARL WOODWARD                                     23360 HARDING AVE                                                                             HAZEL PARK       MI    48030‐1517
EARL WORD                                         9 MONTECELLO BLVD                                                                             NEW CASTLE       DE    19720‐3403
EARL WORKMAN                                      16703 BAY HEIGHTS DR                                                                          PRESQUE ISLE     MI    49777‐8412
EARL WYCKOFF & MINERVA WYCKOFF TEN ENT            243 WEBER RD                                                                                  GLADWIN          MI    48624‐8410
EARLA J BAILEY                                    8413 W 116TH ST                                                                               GRANT            MI    49327‐9740
EARLA M HENRICH                                   164 BALTIMORE ST                                                                              DAYTON           OH    45404‐1902
EARLA PELLETIER                                   3084 BAY SPRINGS TRAIL                                                                        DELAND           FL    32724‐8250
EARLAN WENTWORTH & ROBERTA P WENTWORTH JT         PO BOX 14                                                                                     NEWFIELDS        ME    04056‐0014
TEN
EARLAND B BAIR & MARIEANNA BAIR TR UA BAIR        11700 E GRAND RIVER                                                                           BRIGHTON         MI    48116‐8534
FAMILY TRUST 04/28/92
EARLAND FERRELL                                   10532 ETON AVE                                                                                CHATSWORTH       CA    91311‐2328
EARLANE J PHILLIPS                                3089 RIDGE ROAD                                                                               COURTLAND        OH    44410‐9480
EARLE A KIMBALL & SUN YON KIMBALL JT TEN          321 PRINCETON                                                                                 CANTON           MI    48188‐1030
EARLE B BECKLEY CUST KEITH E BECKLEY UGMA NJ      419 S WASHINGTON ST                                                                           HAVRE DE GRACE   MD    21078‐3311
EARLE BURKE JR & ELEANOR M BURKE JT TEN           132 ADAMS ST                                                                                  LEXINGTON        MA    02420‐1844
EARLE C WILSON TR EARLE C WILSON TRUST UA 3/16/01 301 CLEARVIEW AVE                    HOLLY OAK TERRACE                                        WILMINGTON       DE    19809‐1739

EARLE D PHILBRICK & MRS KATHERINE B PHILBRICK JT   12 COACH RD                                                                                  GILFORD          NH    03246‐7523
TEN
EARLE E STOPPEL                                    515 BELKNAP RD                                                                               FRAMINGHAM       MA    01701‐2811
EARLE ENDELMAN CUST ERIC SETH ENDELMAN UGMA        5254 PARKSIDE DR                                                                             W BLOOMFIELD     MI    48323‐2171
MI
EARLE H GROVER                                     PO BOX 238                                                                                   QUARRYVILLE      PA    17566‐0238
EARLE J BERNHEIMER                                 1234 S MAIN ST                                                                               SANTA ANA        CA    92707‐1211
EARLE J OSBORNE                                    BOX 56                                                                                       PIERCE           AZ    85625‐0056
EARLE L GRAHAM                                     1755 MEADOWCHASE CRT                                                                         SNELLVILLE       GA    30078
EARLE L KAVANAUGH JR                               11153 WILD TURKEY RUN                                                                        SOUTH LYON       MI    48178‐9552
EARLE L SEGREST                                    841 WALKER SPRINGS ROAD                                                                      KNOXVILLE        TN    37923‐2519
EARLE M SKIEST & NESSA S SKIEST JT TEN             40 ELLIS DR                                                                                  WORCESTER        MA    01609‐1437
EARLE N TRICKEY & MARY D TRICKEY JT TEN            SACHUEST DR                                                                                  MIDDLETOWN       RI    02842
EARLE O BROWN & MRS JEAN E BROWN JT TEN            229 ROBINHOOD LANE                                                                           MC MURRAY        PA    15317‐2709
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EARLE O GILBERT JR                                 361 RAGAN RD                                                                                  CONOWINGO        MD    21918‐1225
EARLE R FLEMING                                    6582 CAMINO VENTUROSO                                                                         GOLETA           CA    93117‐1527
EARLE R HITCHNER JR & VIRGINIA M HITCHNER JT TEN   304 BRIDLE PATH                                                                               MARIETTA         GA    30068‐4910

EARLE R IMMINK & MARCIA L IMMINK JT TEN            A‐4366‐45TH ST                                                                                HOLLAND          MI    49423
EARLE SANDY                                        9466 PERDIDO VISTA DR                                                                         ELBERTA          AL    36530‐6024
EARLE T KING                                       PO BOX 12081                                                                                  EAST CLEVELAND   OH    44112‐0081
EARLE W PRENDERGAST                                105 RIDGEMOOR TRCE                                                                            CANTON           GA    30115‐6464
EARLE W PUGHE III                                  PO BOX 571                                                                                    CONCORD          MA    01742‐0571
EARLE W STEWART & PATRICIA A STEWART JT TEN        21 LAURA LN                                                                                   TIVERTON         RI    02878‐4711
EARLEEN FLORKA                                     PO BOX 445                                                                                    SOUTH LYON       MI    48178‐0445
EARLEEN MARIE CARROLL                              PO BOX 267                                                                                    BUNKER HILL      IL    62014‐0267
EARLEEN WARE                                       37 GREENE TERRACE                                                                             IRVINGTON        NJ    07111‐3937
EARLENE A STANIFER                                 2541 S 600 W                                                                                  LEBANON          IN    46052‐8954
EARLENE A STJOHN                                   2541 S 600 W                                                                                  LEBANON          IN    46052‐8954
EARLENE ABED                                       405 WALNUT DR                                                                                 SOUTH LYON       MI    48178‐9042
EARLENE AMERSON                                    585 SECOND                                                                                    PONTIAC          MI    48340‐2830
EARLENE BAILEY EX HOYT L BAILEY EST                102 CIRCLE DRIVE                     4A                                                       RAINSVILLE       AL    35986‐6462
EARLENE BOLDA                                      7949 EAST LINDNER CIRCLE                                                                      MESA             AZ    85208‐6128
EARLENE C HART                                     122 BRIARWOOD ST                                                                              MOORE            OK    73160‐4710
EARLENE C LANDIS                                   54 LA BELLE ST                                                                                DAYTON           OH    45403‐2324
EARLENE CARTER                                     2254 E LAFAYETTE                                                                              DETROIT          MI    48207‐3950
EARLENE COOK‐SAPP                                  194 BOCK ST                                                                                   ROCHESTER        NY    14609‐4134
EARLENE D BELLMAN                                  12666 RIAD                                                                                    DETROIT          MI    48224‐1008
EARLENE F CANFIELD‐SEALS & THOMAS F COOKE JT TEN   PO BOX 64                                                                                     HAMMONTON        NJ    08037‐0064

EARLENE G HEMMES                                   4390 W MT MORRIS RD                                                                           MT MORRIS         MI   48458‐9332
EARLENE GIPSON                                     9248 C ST                                                                                     OAKLAND           CA   94603‐1332
EARLENE J MILLER                                   1201 RIVA RIDGE COURT APT 117        GAHANA                                                   COLUMBUS          OH   43230
EARLENE L VIGNERIE                                 5859 HIGHWAY 87                                                                               BRADFORD          AR   72020‐9676
EARLENE M MC COMBS                                 8235 OLD HARBOR                                                                               GRAND BLANC       MI   48439‐8394
EARLENE M PURCHES                                  8235 OLD HARBOR                                                                               GRAND BLANC       MI   48439‐8394
EARLENE O BUDOWITZ                                 PO BOX 8826                                                                                   RICHMOND          VA   23225‐0526
EARLENE T WAWAK                                    10604 MC ARTHUR DRIVE                                                                         NORTH LITTLE ROCK AR   72118‐1857

EARLENE TOLLIVER                                   9500 STOUT                                                                                    DETROIT          MI    48228‐1524
EARLEY R HAIRSTON                                  66 PROSPECT AVE W                                                                             WHITE PLAINS     NY    10607‐1618
EARLIE B PATTERSON                                 8421 EVERTON DR APT 206                                                                       CHARLOTTE        NC    28273
EARLIE B RICE                                      13095 BRISTOL DR                                                                              FOSTERS          AL    35463‐9567
EARLIE M HUDSON                                    4080 CURUNDU AVENUE                                                                           DAYTON           OH    45416‐1444
EARLINE D COSTANZA                                 47912 FORBES ST                                                                               NEW BALTIMORE    MI    48047‐2214
EARLINE F MARX                                     19300 TAYLOR LAKE ROAD                                                                        HOLLY            MI    48442‐8925
EARLINE HODGES                                     221 PAGE ST                                                                                   FLINT            MI    48505‐4639
EARLINE K DAILY                                    1066 TROTWOOD LN                                                                              FLINT            MI    48507‐3709
EARLINE L TAYLOR                                   PO BOX 40278                                                                                  REDFORD          MI    48240‐0278
EARLINE PAGE                                       1050 E GRAND BLVD                                                                             FLINT            MI    48505‐1506
EARLINE REX                                        PO BOX 544                                                                                    COOSA            GA    30129‐0423
EARLINE S MOORE                                    3649 N LAYMAN                                                                                 INDIANAPOLIS     IN    46218‐1847
EARLINE S TERRELL                                  6880 HIGHWAY 467                                                                              EDWARDS          MS    39066‐9518
EARLINE Y MURRAY                                   16253 WISCONSIN                                                                               DETROIT          MI    48221‐4930
EARLMAN H DAVIS                                    1161 JACKSON ROAD                                                                             MOBILE           AL    36605‐2340
EARLVILLE FIRE COMPANY INC                         INVESTMENT TREASURER                 PO BOX 37                                                EARLVILLE        NY    13332‐0037
EARLVIN WALKER                                     197 HARRISON                                                                                  PONTIAC          MI    48341‐2437
EARLY HOLMES JR                                    5644 TOWNSHIP CT                                                                              STERLING HTS     MI    48310‐4082
EARLY L CRAWFORD                                   238 PIPER                                                                                     DETROIT          MI    48215‐3036
EARLY L WATKINS                                    5830 MILL STONE RUN                                                                           STONE MT         GA    30087‐1827
EARLYN D CUNNINGHAM                                17323 SOUTH CREEK CIR                                                                         OMAHA            NE    68136‐3163
EARMEL G MEADE                                     6277 TROMBLY ROAD                                                                             NEWPORT          MI    48166‐9104
EARMIL M COMBS                                     5626 COUNTY ROAD 40                                                                           FORT CALHOUN     NE    68023‐5029
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EARNEST A LAFFERTY                              BOX 192                                                                                       KIRKLIN         IN    46050‐0192
EARNEST A MERRITT                               15831 QUINCY                                                                                  DETROIT         MI    48238‐1386
EARNEST C THOMPSON                              5920 CROOKEDCREEK DR                                                                          INDIANAPOLIS    IN    46228‐1236
EARNEST D CLEARY                                118 ILLINOIS                                                                                  PONTIAC         MI    48341‐1914
EARNEST DENER BROWN JR                          3602 W WACKERLY ST                                                                            MIDLAND         MI    48640‐2299
EARNEST E NEAL                                  417 SPRING VIEW DRIVE                                                                         GRIFFIN         GA    30223‐1337
EARNEST G GAMBLE                                2610 FOX RIDGE RD                                                                             EUFAULA         AL    36027‐6022
EARNEST H CADLE                                 HC 61 BOX 39                         WILEYVILLE                                               LITTLETON       WV    26581‐7402
EARNEST HOWARD                                  1779 S GORDON ST SW                                                                           ATLANTA         GA    30310‐2337
EARNEST HOWARD KING                             132 CLOVER RIDGE RD                                                                           BARBOURVILLE    KY    40906‐7616
EARNEST J CHILDS                                516 OCONEE ST                                                                                 MANCHESTER      GA    31816‐1240
EARNEST J KNIGHT                                2301 PUMPKIN CREEK RD                                                                         SPRING HILL     TN    37174‐0700
EARNEST JOHNSON                                 12907 PARKHILL                                                                                CLEVELAND       OH    44120‐3063
EARNEST K LITTLE                                13620 OHIO                                                                                    DETROIT         MI    48238‐2494
EARNEST K LITTLE & DAISY M LITTLE JT TEN        13620 OHIO                                                                                    DETROIT         MI    48238‐2494
EARNEST K STALLINGS                             3360 RIVERSIDE COURT                                                                          CANTON          MI    48188‐2330
EARNEST KELLY                                   12306 ADAMS ST                                                                                MOUNT MORRIS    MI    48458‐3206
EARNEST L BRYANT                                705 LEES LN                                                                                   NEW ORLEANS     LA    70114‐3321
EARNEST L CLIFFORD                              307 BROWN STREET                                                                              BETHEL          OH    45106‐1210
EARNEST L MARABLE JR                            23461 BEVERLY                                                                                 OAK PARK        MI    48237‐1970
EARNEST L MCBRIDE                               6802 PARKBELT ST                                                                              FLINT           MI    48505‐1939
EARNEST L SMITH                                 569 NORTHERN PARKWAY                                                                          UNIONDALE       NY    11553‐2833
EARNEST L STEVENSON JR                          4664 COLLEGE VIEW DRIVE                                                                       DAYTON          OH    45427‐2814
EARNEST L WILLIAMS                              292 ALPINE DR                                                                                 WINTER HAVEN    FL    33881‐9555
EARNEST M HAYES                                 11751 HAZELTON                                                                                REDFORD         MI    48239‐1470
EARNEST M PARMELEE                              6634 OAKHILL RD                                                                               ORTONVILLE      MI    48462‐9191
EARNEST MICHEAL JOHNSON                         133 CARPENTER DR                                                                              JACKSON         MS    39212‐9671
EARNEST O COSTILOW                              ROUTE 2 BOX 33‐A                                                                              WEST UNION      WV    26456‐9508
EARNEST O STANAFORD                             8310 HIGHWAY 301                                                                              TRENTON         GA    30752‐5010
EARNEST OQUINN                                  8680 PLESANTPLAIN RD                                                                          BROOKVILLE      OH    45309‐9215
EARNEST P DURHAM                                118 SHERMAN ST                                                                                DAYTON          OH    45403‐2534
EARNEST PRIMAS HARWELL                          2560 THORE DRIVE                                                                              MASON           TN    38049‐7346
EARNEST R HARRIS                                434 WEST 223RD STREET                UNIT 120                                                 CARSON          CA    90745‐3645
EARNEST R KEMP                                  2986 S ETHEL                                                                                  DETROIT         MI    48217‐1532
EARNEST R LAMBDIN                               5620 12TH ST                                                                                  HOMEWORTH       OH    44634‐9545
EARNEST R LAMBDIN & CHERYL A LAMBDIN JT TEN     5620 12TH STREET                                                                              HOMEWORTH       OH    44634‐9545

EARNEST ROBERTS JR                              2815 N 43 ST                                                                                  KANSAS CITY     KS    66104‐2411
EARNEST SAMUEL JR                               23860 LEE BAKER DR                                                                            SOUTHFIELD      MI    48075‐3375
EARNEST SANDERS JR                              4363 SPRING MEADOWS CT                                                                        BURTON          MI    48519‐1199
EARNEST SAYLOR                                  1741 FRANKLIN PIKE                                                                            LEWISBURG       TN    37091‐6917
EARNEST SHEPPARD                                78 FOUGERON ST                                                                                BUFFALO         NY    14211‐1302
EARNEST T BRAGG                                 PO BOX 51                                                                                     CONTINENTAL     OH    45831‐0051
EARNEST W CLARK JR                              RTE #4 BOX 499                                                                                BERKELY SPGS    WV    25411‐9804
EARNEST W DOWNS                                 4280 DIEHL RD                                                                                 METAMORA        MI    48455‐9639
EARNEST W HILL                                  428 STUCKHARDT ROAD                                                                           TROTWOOD        OH    45426‐2706
EARNEST WINFREY                                 PO BOX 32474                                                                                  KANSAS CITY     MO    64171‐5474
EARNEST Z SCOTT                                 7866 CHAMBERS                                                                                 PINCKNEY        MI    48169‐9209
EARNESTEEN BUGGS                                4022 RACE ST                                                                                  FLINT           MI    48504‐2227
EARNESTINE GRIFFIN                              3685 BALFOUR                                                                                  DETROIT         MI    48224‐3435
EARNESTINE HILL                                 41104 N WOODBURY GREEN DR                                                                     BELLEVILLE      MI    48111‐3028
EARNESTINE MILLINGTON                           4951 NORTH LAKE RD                                                                            COLUMBIAVILLE   MI    48421‐9103
EARNESTINE PARRISH                              ATTN EARNESTINE PARRISH SEARS        10844 CARTIER DR                                         BRIGHTON        MI    48114‐9041
EARNESTINE WILLIAMS                             14870 METTETAL ST                                                                             DETROIT         MI    48227‐1880
EARNIA KIMBROUGH                                1225 U W CLEMON DR                                                                            BIRMINGHAM      AL    35214‐4479
EARNIE C TYRA                                   2607 STONEMILL DRIVE                                                                          ELIZABETHTOWN   KY    42701‐5542
EARNIE F HOWARD                                 3601 DETROIT AVE                                                                              DAYTON          OH    45416‐1903
EARNIE G HOLLOWAY                               13542 STILWELL                                                                                BONNER SPRING   KS    66012‐9519
EARNIE M CHATMAN                                494 GRANADA DR                                                                                PONTIAC         MI    48342
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Name                                             Address1                                Address2                  Address3     Address4          City             State Zip

EARNIE M WASHINGTON                              6525 LAS SOMBRIAS LN                                                                             FLORISSANT       MO    63033‐8147
EARNIE PHIPPS                                    155 BRICKER RD                                                                                   SHILOH           OH    44878‐9140
EARON ROBINSON                                   1351 RENATA                                                                                      SAGINAW          MI    48601‐6654
EARROL H SIPPEL                                  107 NOECKER ST                          WATERLOO ON                            N2J 2R7 CANADA
EARSEL C ROGERS JR                               979 S STONE RD                                                                                   GREENWOOD        IN    46143‐8780
EARSEL GARRISON JR                               2075 SAM PARKER RD                                                                               GRAY             KY    40734
EARSEL MANN                                      1360 EULALIA LN                                                                                  CATAWBA          NC    28609‐8017
EARSIE L CLIFTON                                 1209 THORNWOOD CT                                                                                FLINT            MI    48532‐2365
EARTHA M JONES                                   2291 FARMER ST                          APT 111                                                  SAGINAW          MI    48601‐4665
EARTHLY Y UPCHURCH                               1017 EAST WAGER AVE                                                                              FLINT            MI    48505‐3670
EARTHLYN HICKS                                   9137 MANSFIELD RD                       APT 102                                                  SHREVEPORT       LA    71118‐3143
EARVA L ADAMS                                    200 MESSER DRIVE                                                                                 PARAGOULD        AR    72450‐9362
EARVE W JONES                                    860 INDIAN SPRINGS DR                                                                            FORSYTH          GA    31029‐8803
EARVIN BURNOM                                    5294 MILLWHEEL DR                                                                                GRAND BLANC      MI    48439‐4252
EARVIN J HEARD                                   1116 WEST 85TH ST                                                                                LOS ANGELES      CA    90044‐3416
EARVIN LEE HARRIS                                637 CRIGO BLVD                                                                                   SAGINAW          MI    48601‐6215
EARVIN SOMMERVILLE                               22990 VALLEY VIEW DRIVE                                                                          SOUTHFIELD       MI    48033‐3127
EASOR SHETZER                                    40 AVONDALE                             DOLLARD DES ORMEAUX QC                 H9A 1W1 CANADA
EAST WALLINGFORD BAPTIST CHURCH                  PO BOX 161                                                                                       EAST WALLINGFORD VT    05742‐0161

EAST WORCHESTER CEMETERY                         PO BOX 802                                                                                       EAST WORCESTER   NY    12064‐0802
EASTER B WOODS                                   15801 DANTE DR                                                                                   SOUTH HOLLAND    IL    60473‐1820
EASTER M HODGE                                   303 LAKE CIR                                                                                     COLUMBIA         TN    38401‐8880
EASTER SUTTON                                    743 WORDEN SE ST                                                                                 GRAND RAPIDS     MI    49507‐1361
EATHEL F BRASHEAR                                104 CYPRESS LN                                                                                   JACKSBORO        TN    37757‐5051
EATHION MAYERS                                   PO BOX 581                                                                                       GRANITEVILLE     SC    29829‐0581
EAZIO LYLES                                      183 PASADENA                                                                                     HIGHLAND PK      MI    48203‐3040
EBAC CORP                                        169 E BISSELL AVE                                                                                OIL CITY         PA    16301‐1972
EBBA K RASMUSSEN                                 110 8TH AVE N                                                                                    HOPKINS          MN    55343‐7313
EBBIE J SCHUETZ                                  500 CLEARVIEW AVE                                                                                WHEELING         WV    26003‐6724
EBBIN A SPELLMAN & GRETA L SPELLMAN JT TEN       1408 E HATTON ST                                                                                 PENSACOLA        FL    32503‐4651
EBEN C SHAFFER JR                                6201 BELL GROVE PL                                                                               MONTGOMERY       AL    36117‐4360
EBENEZER BARRON & JAMES N BARRON JT TEN          7115 EVELINE DRIVE                                                                               HOLLY            MI    48442‐8583
EBER G MORGAN II                                 2371 E COUNTY RD 250 S                                                                           FRANKFORT        IN    46041‐9399
EBER M TRIPP                                     51 MONTCLAIR AVE                                                                                 PITTSBURGH       PA    15229‐1753
EBERHARD GOECKE                                  MOEWENWEG 21                            D‐88085 LANGENARGEN                    GERMANY
EBONIE S ISAAC                                   7610 CAMERON RD                         APT 1119                                                 AUSTIN           TX    78752‐2047
EBYK MINKEWICZ                                   18 RESERVATION STREET                                                                            BUFFALO          NY    14207‐2922
ECHO L GERWIN & VIRGINIA GERWIN JT TEN           830 VICTOR DR                                                                                    SAGINAW          MI    48609‐5127
ECKHARD HARNACK                                  WEEDRING 23                             64342 SEEHEIM                          GERMANY
ECKHARD HARNACK                                  WEEDRING 23                             64342 SEEHEIM‐JUGENHEIM                GERMANY
ECKHARD P KOHLER                                 4235 HANSON COURT                                                                                DAYTON           OH    45430‐1015
ECKHARDT WILHELM RAACK                           EICHENSTR 27                            D65468 TREBUR                          GERMANY
ECKLE E DAVIS                                    185 KIMBERLY RD                                                                                  LAFOLLETTE       TN    37766‐7320
ECTOR OWINSBY                                    4640 SYLVAN OAK DRIVE                                                                            TROTWOOD         OH    45426‐2124
ECUDEMIO DIAZ                                    4132 W GEORGE ST                                                                                 CHICAGO          IL    60641‐5402
ED A CATERIANO                                   1717 N DAWN CIRCLE                                                                               SIMI VALLEY      CA    93063‐4105
ED A WALSER                                      19575 S NIVER RD                                                                                 OAKLEY           MI    48649‐9709
ED BLOCK CUST MITCHELL BLOCK UGMA IL             1751 SETON ROAD                                                                                  NORTHBROOK       IL    60062‐1343
ED C BAKER                                       101 E SIOUX RD 1078                                                                              PHARR            TX    78577‐1733
ED CLARK PURSCH                                  128 LIVE OAK DR                                                                                  PLEASANTON       TX    78064‐1514
ED DAVES                                         12440 LAGUNA RD                                                                                  HERALD           CA    95638‐9741
ED E HELTON                                      247 LOCUST LN                                                                                    WEST MILTON      OH    45383‐1507
ED FARROW                                        18 GEORGE ST                            MILLBROOK ON                           L0A 1G0 CANADA
ED FERGUSSON                                     4100 COURTHOUSE RD                                                                               CHESTERFIELD     VA    23832
ED G LEVY TR ED LEVY & FRANCIS LEVY TRUST UA     4126 FULTON ST                                                                                   SAN FRANCISCO    CA    94121‐3828
07/07/97
ED GEMIGNIANI & CHARLOTTE GEMIGNIANI JT TEN      11120 E CALLE VAQUEROS                                                                           TUCSON           AZ    85749‐8478
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ED H CROWELL                                    2027 HICKORY HILL LN                                                                            HERMITAGE         TN    37076‐1921
ED HANNA & MRS KAREN HANNA JT TEN               8432 DIAMOND COVE CIRCLE                                                                        ORLANDO           FL    32836
ED HARRIS                                       9500 STROUT RD                                                                                  CLARKSVILLE       OH    45113‐9464
ED JOHNSON CUST MICHAEL ROBERT JOHNSON‐WEEKS    115 RIVER COVE MEADOWS                                                                          SOCIAL CIRCLE     GA    30025‐4834
UNDER THE GA TRAN MIN ACT
ED L CARLIN & NANCY K CARLIN JT TEN             7 ALLEN BROOK COVE                                                                              SHERWOOD          AR    72120‐4834
ED L FEWELL                                     1514 BRENDON TRAILS DR                                                                          SPRING            TX    77379‐3047
ED LOWERY                                       1210 ABBE RD S                         APT 107                                                  ELYRIA            OH    44035‐7270
ED OSBORNE                                      1717 GANGER RD                                                                                  TULELAKE          CA    96134‐9472
ED PAVLOV                                       RFD 1                                                                                           MIDDLESEX         PA    16159‐9801
ED R POTTS                                      2227 AUDOBON DR SE                                                                              GRAND RAPIDS      MI    49506‐4101
ED ROBBINS JR                                   2337 DOWNPATRICK ST                                                                             DAVISON           MI    48423‐9557
ED T MON                                        574 KENWYN RD                                                                                   OAKLAND           CA    94610‐3713
ED TORRANCE CUST ERIN TORRANCE UGMA CA          2932 CARESSA COURT                                                                              LAS VEGAS         NV    89117‐0637
ED VALENCIANO                                   5251 FOXBOROUGH CT                                                                              HIGHLANDS RANCH   CO    80130

ED VANECEK                                      2560 LAKEWOOD LN                                                                                MOUND             MN    55364‐1609
ED VAUGHN                                       72 BROWN ST                                                                                     HEFLIN            AL    36264‐1355
ED WHITAKER                                     PO BOX 274                                                                                      WHEATLAND         WY    82201‐0274
ED WILLIAMS                                     6320 ELMCREST DRIVE                                                                             SAN DIEGO         CA    92119‐2924
ED WINDAU C/O WINDAU INC                        221 E WATER STREET                                                                              SANDUSKY          OH    44870‐2527
EDA ALTMAYER TOD DEBRA SUTHERLAND               166 NE JETTIE TER                                                                               PORT ST LUCIE     FL    34983‐1225
EDA ALTMAYER TOD MARK LUCIANI                   166 NE JETTIE TER                                                                               PORT ST LUCIE     FL    34983‐1225
EDD BROWNING                                    556 ASHTON MANNER DRIVE                                                                         LOGANVILLE        GA    30052‐5389
EDD HARRIS                                      3185 EAST 132 ST                                                                                CLEVELAND         OH    44120‐3221
EDD J WARREN                                    3662 MIDLAND ST                                                                                 GROVE CITY        OH    43123‐2527
EDD LEROY WENDLING                              324 W MAIN ST                                                                                   CHESTERFIELD      IN    46017‐1110
EDD WILLIAMS & NORA L WILLIAMS JT TEN           3317 PATRICIA PL                                                                                SAGINAW           MI    48602‐3461
EDD WOODARD                                     5905 JESSICA KAY LN                    APT 5801                                                 FORT WORTH        TX    76119‐8930
EDDA M MASINA                                   C/O ANDREA ZOCCHI                      6665 EAST JAMISON AVE                                    ENGLEWOOD         CO    80112‐2503
EDDI M COHEN TOD ALLAN M COHEN SUBJECT TO STA   847 18TH STREET                                                                                 SANTA MONICA      CA    90403
TOD RULES
EDDIE A NETTLES                                 3322 WEBBER                                                                                     SAGINAW           MI    48601‐4008
EDDIE A PARTRIDGE                               25309 DREWRY RD                                                                                 DREWRYVILLE       VA    23844‐2076
EDDIE A SKOCZYLAS                               847 BLOOR                                                                                       FLINT             MI    48507‐1654
EDDIE ASBERRY JR & CHRISTINE ASBERRY JT TEN     213 HAMROCK DR                                                                                  CAMPBELL          OH    44405‐1110
EDDIE B ALLEN                                   16813 MARK TWAIN                                                                                DETROIT           MI    48235‐4066
EDDIE B ALLEN & REJOYCE ALLEN JT TEN            16813 MARK TWAIN                                                                                DETROIT           MI    48235‐4066
EDDIE B CLARK                                   16105 GLASTONBURY                                                                               DETROIT           MI    48219‐4106
EDDIE BARNES                                    14589 LA HABRA RD                                                                               VICTORVILLE       CA    92392‐9652
EDDIE BLAIR                                     741 LINWOOD                                                                                     YOUNGSTOWN        OH    44511‐1412
EDDIE BURCH                                     27450 RAIN BOW CIRCLE                                                                           LATHRUP VILLAGE   MI    48076‐3267

EDDIE BUTTREY LUTHER                            5005 COUNTRY CLUB DR                                                                            BRENTWOOD         TN    37027‐5173
EDDIE C ECHOLS                                  2776 S DUNKIRK CT                                                                               AURORA            CO    80013‐4744
EDDIE C JASPER                                  298 MARLOW JASPER RD                                                                            UNION SPRINGS     AL    36089‐6356
EDDIE C LEE & CHRISTINE S LEE JT TEN            4240 W 79TH ST                                                                                  INDIANAPOLIS      IN    46268‐1805
EDDIE C SEWELL                                  2020 S 9TH AVE                                                                                  MAYWOOD           IL    60153‐3233
EDDIE CANTOR                                    5629 STONEACRE PL                                                                               GLEN ALLEN        VA    23059‐5377
EDDIE CANTOR & MARY LEE CANTOR JT TEN           5629 STONEACRE PL                                                                               GLEN ALLEN        VA    23059‐5377
EDDIE COLLIER                                   2909 32TH AVE                                                                                   TAMPA             FL    33610‐7730
EDDIE COOPER JR                                 14261 FAIRCREST STREET                                                                          DETROIT           MI    48205‐2809
EDDIE CUNNINGHAM                                18460 LINDSAY                                                                                   DETROIT           MI    48235‐3039
EDDIE D BENTLEY                                 834 MILK PLANT RD                                                                               SPARTA            TN    38583‐5603
EDDIE D BRUMMETT                                4919 ASH ST                                                                                     NORWOOD           OH    45212‐2313
EDDIE D MARVEL                                  1301 CENTERVILLE STA RD                                                                         DAYTON            OH    45459‐5526
EDDIE D THAXTON                                 2 NORWOOD LANE                                                                                  FREDERICKSBRG     VA    22406‐8435
EDDIE DURHAM                                    2708 WOODWORTH PL                                                                               HAZEL CREST       IL    60429‐1761
EDDIE E BROWN                                   26 ALAMO CT                                                                                     SAGINAW           MI    48601‐1221
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EDDIE E KEFFER                                     23002 TORINA LANE                                                                                LAGUNA NIGUEL    CA    92677‐2753
EDDIE E LEE                                        19097 HENRY                                                                                      MELVINDALE       MI    48122‐1624
EDDIE E NOTT                                       4806 DUNMANN WAY                                                                                 GROVE CITY       OH    43123‐9068
EDDIE E SIDERS                                     7717 N MC GEE                                                                                    KANSAS CITY      MO    64118‐1661
EDDIE EASON                                        1435 BLACKHERST DRIVE                                                                            SAINT LOUIS      MO    63137‐1532
EDDIE EUGENE THOMPSON                              PO BOX 156                                                                                       MIKADO           MI    48745‐0156
EDDIE F CHAVEZ                                     8366 BELLE OAKS                                                                                  GREENWOOD        LA    71033‐3055
EDDIE F DEATSMAN                                   12957 BROADBENT                                                                                  LANSING          MI    48917‐8818
EDDIE F FOXX                                       3200 MURRAY HILL DRIVE                                                                           SAGINAW          MI    48601‐5635
EDDIE F FOXX & JUANITA P FOXX JT TEN               3200 MURRAY HILL DR                                                                              SAGINAW          MI    48601‐5635
EDDIE FAYE MOSLEY                                  5609 BALDWIN BLVD                                                                                FLINT            MI    48505‐5126
EDDIE FLETCHER                                     476 ELM STREET                                                                                   PONTIAC          MI    48342‐3424
EDDIE FORD                                         8629 ORIOLE                                                                                      SAINT LOUIS      MO    63147‐1305
EDDIE G CHANEY                                     5330 BESSMER DR                                                                                  DAYTON           OH    45426‐1904
EDDIE G JOHNSON                                    PO BOX 121                                                                                       CARTHAGE         AR    71725‐0121
EDDIE G MORROW                                     1300 NOTTINGHAM CIR                                                                              SHAWNEE          OK    74804‐2339
EDDIE G SEBASTIAN & ELIZABETH A SEBASTIAN JT TEN   PO BOX 54079                                                                                     LUBBOCK          TX    79453‐4079

EDDIE GARLAND JR                                   3163 MARTHA ROSE CT                                                                              FLINT             MI   48504‐1233
EDDIE GROOMS                                       804 SANDY HILL DR                                                                                HARTSVILLE        SC   29550‐6819
EDDIE H ATHA                                       4109 CHANDLER HAULK RD S W                                                                       LOGANVILLE        GA   30052‐3105
EDDIE H CURRY                                      305 WEST SESSIONS                                                                                DEFIANCE          OH   43512‐1560
EDDIE H DIAL                                       3015 PENNSYLVANIA                                                                                DETROIT           MI   48214‐2091
EDDIE H GUTHMAN                                    3592 THORN RD                                                                                    SEBASTOPOL        CA   95472
EDDIE H RHODES                                     3121 REDWOOD CT                                                                                  FLOSSMOOR         IL   60422‐2267
EDDIE HALL                                         4 GRAY ST                                                                                        MONTCLAIR         NJ   07042‐5026
EDDIE HARRIS                                       31231 VIA SONORA                                                                                 S JUAN CAPISTRANO CA   92675‐2836

EDDIE HAYES                                        1620 SYDNEY ST                                                                                   MEMPHIS          TN    38108‐1830
EDDIE HAYES                                        47212 VICTORIAN SQ S                                                                             CANTON           MI    48188‐6328
EDDIE HAYES JR                                     18005 COLLINSON AV                                                                               EASTPOINTE       MI    48021‐3240
EDDIE HOOVER & MRS SUE HOOVER JT TEN               6844 WES CURT LANE                                                                               GOSHEN           OH    45122‐9545
EDDIE HUBBARD JR                                   6642 S MAPLEWOOD                                                                                 CHICAGO          IL    60629‐1728
EDDIE J HOWARD                                     2018 OLD GODDARD RD                                                                              LINCOLN PARK     MI    48146‐3745
EDDIE J JACKSON JR                                 211 RICH DRIVE                                                                                   PALM SPRINGS     FL    33406‐6534
EDDIE J JACKSON JR & B JACKSON JT TEN              211 RICH DRIVE                                                                                   PALM SPRINGS     FL    33406‐6534
EDDIE J KING                                       29305 M40                                                                                        PAW PAW          MI    49079‐9558
EDDIE J MC CAMPBELL                                18051 GREELEY                                                                                    DETROIT          MI    48203‐2472
EDDIE J ORTEGA                                     226 RUTH AVE                                                                                     VENICE           CA    90291‐2712
EDDIE J PARHAM                                     449 WEDGEWORTH RD                                                                                BIRMINGHAM       AL    35215‐5925
EDDIE J SMITH                                      72 ATWOOD DR                                                                                     ROCHESTER        NY    14606‐4563
EDDIE J SPENCE                                     4635 E 43RD ST TERR                                                                              KANSAS CITY      MO    64130‐2212
EDDIE J WADE                                       1656 RUSSELL GLEN                                                                                DALLAS           TX    75232‐2344
EDDIE J WATKINS                                    1518 SHERIDAN                                                                                    SAGINAW          MI    48601‐2958
EDDIE J WRIGHT                                     1062 CRANBROOK RD                                                                                JACKSON          MI    49201‐8240
EDDIE JEMISON JR                                   184 NORTHLAND AVE                                                                                BUFFALO          NY    14208‐1229
EDDIE K DUCKWORTH & KATHRYN M DUCKWORTH JT         3640 WININGS AVE                                                                                 INDIANAPOLIS     IN    46221‐2280
TEN
EDDIE K DUCKWORTH & MARY K DUCKWORTH JT TEN        3640 WININGS AVE                                                                                 INDIANAPOLIS     IN    46221‐2280

EDDIE K MCQUARTERS                                 18063 BIRWOOD                                                                                    DETROIT          MI    48221‐2320
EDDIE KENYON JONES                                 108 N MAIN STREET                                                                                NORWOOD          NY    13668
EDDIE L ABEYTA                                     4722 RENOVO WAY                                                                                  SAN DIEGO        CA    92124‐2451
EDDIE L BAKER                                      9710 ARROW LANE                                                                                  LITTLE ROCK      CA    93543‐3646
EDDIE L BANDY                                      137 SOUTH 16TH ST                                                                                SAGINAW          MI    48601‐1849
EDDIE L BANKS                                      5924 THEODORE AVE                                                                                ST LOUIS         MO    63136‐4712
EDDIE L BATTLE                                     159 BATTLE RD                                                                                    FOREST           MS    39074‐8145
EDDIE L BENJAMIN                                   28 LANGFIELD DR                                                                                  BUFFALO          NY    14215‐3322
EDDIE L CAMPBELL                                   11733 CASA LINDA CT                                                                              DUBLIN           CA    94568‐2231
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

EDDIE L CARDONA                                 8133 DARBY PL                                                                                RESEDA          CA    91335‐1317
EDDIE L CRUSOE & SADIE L CRUSOE JT TEN          1810 STONY RIDGE COURT                                                                       MANSFIELD       OH    44904‐1836
EDDIE L ELLISON                                 1404 EAST PARK PLACE                                                                         OKLAHOMA CITY   OK    73117‐2230
EDDIE L EVANS                                   19187 RYAN                                                                                   DETROIT         MI    48234‐1919
EDDIE L FIELDS                                  22450 LEEWIN                                                                                 DETROIT         MI    48219‐1159
EDDIE L FOLAND                                  704 W ROOSEVELT RD RT#1                                                                      ASHLEY          MI    48806‐9720
EDDIE L GRANT                                   73 STONEWOOD CREEK COURT                                                                     DALLAS          GA    30132
EDDIE L HILL                                    7117 DODGE RD                                                                                MONTROSE        MI    48457‐9136
EDDIE L HURDLE                                  4314 N 22ND ST                                                                               MILWAUKEE       WI    53209
EDDIE L JEFFERSON                               4265 THUNDERSTONE W CI                                                                       MEMPHIS         TN    38125
EDDIE L JENKINS                                 14618 RUNNING ARABIAN LN                                                                     HOUSTON         TX    77044‐2489
EDDIE L JOHNSON                                 16888 STOUT                                                                                  DETROIT         MI    48219‐3359
EDDIE L JOHNSON                                 15332 HOLMUR                                                                                 DETROIT         MI    48238‐2146
EDDIE L JOHNSON JR & MARIE J JOHNSON JT TEN     6174 AMBLEWOOD DRIVE                                                                         JACKSON         MS    39213‐7903
EDDIE L JONES                                   21610 KIPLING                                                                                OAK PARK        MI    48237‐2753
EDDIE L KING SR                                 PO BOX 5885                                                                                  YOUNGSTOWN      OH    44504‐0885
EDDIE L LIGON                                   PO BOX 446                                                                                   NEWARK          AR    72562‐0446
EDDIE L LLOYD                                   3315 JONIS CIR APT 204                                                                       LANSING         MI    48906‐2493
EDDIE L MUNCY & JANICE E MUNCY JT TEN           1024 CLAREMONT DRIVE                                                                         COLUMBIA        TN    38401‐6207
EDDIE L MURPHY                                  942 SURREY                                                                                   EDWARDSVILLE    IL    62025
EDDIE L ODNEAL                                  199 E SILVER BELL RD                                                                         ORION TWP       MI    48360‐2525
EDDIE L RAYFORD                                 1219 DREXEL ST                                                                               ANDERSON        IN    46011‐2440
EDDIE L SELVAGE                                 206 WEMBLEY DR                                                                               WARNER ROBINS   GA    31088‐1268
EDDIE L TOLBERT                                 1060 DEACON                                                                                  DETROIT         MI    48217‐1611
EDDIE L TOOKES JR                               2356 CLOVERDALE DR SE                                                                        ATLANTA         GA    30316‐2746
EDDIE L WALLACE                                 7020 DANIEL DRIVE                                                                            FLINT           MI    48505‐5712
EDDIE L WEBB                                    3258 RALSTON                                                                                 INDIANAPOLIS    IN    46218‐1945
EDDIE L WHEELER                                 18120 LAHSER ST                     APT 1                                                    DETROIT         MI    48219‐2398
EDDIE L WILLIAMS                                7152 YORKSHIRE DRIVE                BLDG 1752/                                               FLINT           MI    48505‐5707
EDDIE LAMPTON JR                                2900 COPPERGROVE DR NE                                                                       GRAND RAPIDS    MI    49525‐3131
EDDIE LEE FOSTER                                24 BARNETT ST                                                                                DAYTON          OH    45407‐3205
EDDIE LEE WATSON                                6775 SILVER RD                                                                               MANNING         SC    29102‐8105
EDDIE LLOYD BEAN                                3152 N 27TH ST                                                                               TERRE HAUTE     IN    47804‐1634
EDDIE LOGAN JR                                  402 LINDA VISTA                                                                              PONTIAC         MI    48342‐1743
EDDIE M BAILEY                                  273 LAKE SPRING DR                                                                           LA FOLLETTE     TN    37766‐6545
EDDIE M CORLEY                                  979 LAKEVIEW RD ROAD                                                                         GRAYSON         GA    30017‐1713
EDDIE M HALEY                                   18295 HUBBELL                                                                                DETROIT         MI    48235‐2770
EDDIE M JOHNSON                                 281 HARRISON ST                                                                              PONTIAC         MI    48341‐2441
EDDIE M KILLINGSWORTH                           4637 SYMPHONY LANE                                                                           SAN JOSE        CA    95111‐2576
EDDIE M PATTERSON                               19651 SPENCER                                                                                DETROIT         MI    48234‐3133
EDDIE M SHANNON                                 HC 1 1845                                                                                    TUCSON          AZ    85736‐1037
EDDIE M SPROLES                                 1806 28TH ST                                                                                 BEDFORD         IN    47421‐5302
EDDIE M WEBSTER                                 625 BRIARWOOD TRAIL                                                                          JOSHUA          TX    76058‐4830
EDDIE MALAVE                                    1231 FAIRFAX AVENUE                                                                          BRONX           NY    10465‐1406
EDDIE MATTHEWS                                  734 E ALMA                                                                                   FLINT           MI    48505‐2224
EDDIE MCDEW                                     PO BOX 741                                                                                   PINELAKE        GA    30072‐0741
EDDIE MIRACLE                                   13705 DAVISBURG RD                                                                           DAVISBURG       MI    48350‐2313
EDDIE MITCHELL                                  907 CREGO BLVD                                                                               SAGINAW         MI    48601‐6129
EDDIE MORGAN JR                                 8408 RUNNING DEER AVE UNIT 101                                                               LAS VEGAS       NV    89145‐4591
EDDIE MORGAN JR & EDITH S MORGAN JT TEN         8408 RUNNING DEER AVE #101                                                                   LAS VEGAS       NV    89145
EDDIE MORROW SR                                 3949 COTE BRILLIANTE                                                                         ST LOUIS        MO    63113‐3311
EDDIE N COTTRELL                                720 OAK GROVE DR                                                                             GRETNA          VA    24557
EDDIE N WATKINS                                 14303 ROSEMONT                                                                               DETROIT         MI    48223‐3555
EDDIE N WATKINS & PHYLLIS R WATKINS JT TEN      14303 ROSEMONT                                                                               DETROIT         MI    48223‐3555
EDDIE OWENS JR                                  2014 SUN VALLEY DR                                                                           JENNINGS        MO    63136‐4028
EDDIE P MORRIS                                  519 N WEADOCK                                                                                SAGINAW         MI    48607‐1352
EDDIE PARKER                                    9364 ROBSON ST                                                                               DETROIT         MI    48228‐2365
EDDIE R ANDERSON                                1632 CREEKWOOD LN SE                                                                         CONYERS         GA    30013‐1602
EDDIE R CARPENTER                               4023 GLENN RICKI ST                                                                          HOUSTON         TX    77045‐3423
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Name                                            Address1                           Address2                   Address3             Address4          City             State Zip

EDDIE R COPELAND                                1409 WOODEN BRANCH CT                                                                                BEL AIR          MD    21014‐1938
EDDIE R DAILEY                                  4810 BIRCHCREST DR                                                                                   FLINT            MI    48504‐5419
EDDIE R EVANS                                   419 APPLEGATE RD                                                                                     UNION            OH    45322‐3103
EDDIE R HENDERSON & ANDREA L HENDERSON JT TEN   6108 E 109TH ST                                                                                      KANSAS CITY      MO    64134‐2540

EDDIE R JACKS                                   1445 VALDOSTA DR                                                                                     CINCINNATI       OH    45246‐2836
EDDIE R JOHNSON                                 2804 KNELLVIEW DR                                                                                    DECATUR          GA    30034‐3215
EDDIE R LOWRY JR                                646 WOODSIDE AVENUE                                                                                  RIPON            WI    54971‐1641
EDDIE R TEASLEY                                 2962 BISON ROAD                                                                                      GILMER           TX    75644‐7508
EDDIE R TEASLEY                                 24386 HWY 271                                                                                        GLADEWATER       TX    75647‐9034
EDDIE R TERRY                                   100 BENCHWAY CT                                                                                      FAIRFIELD        OH    45014‐8666
EDDIE R WALKER                                  2141 UNIVERSITY PL                                                                                   DAYTON           OH    45406‐5966
EDDIE R WILLIAMS                                525 BELL AVE #201B                                                                                   ELYRIA           OH    44035‐3461
EDDIE RAY DYSON                                 616 CLINE AVE                      APT 115                                                           MANSFIELD        OH    44907‐1047
EDDIE RIMBERT                                   109 SMITH ST                                                                                         OBERLIN          OH    44074‐1722
EDDIE S ADAMS                                   PO BOX 204                                                                                           BRANDON          MS    39043‐0204
EDDIE S GATES                                   765 MASON ST                       OSHAWA ON                                       L1G 5A7 CANADA
EDDIE SIMS                                      970 EAST 143 STREET                                                                                  CLEVELAND        OH    44110‐3408
EDDIE STEPHENS                                  218 W PINE ST                                                                                        KNIGHTSTOWN      IN    46148‐1349
EDDIE SULLENGER & JERRY M SULLENGER JT TEN      401 TROON DRIVE                                                                                      PRINCETON        KY    42445‐2805
EDDIE T GRUEL                                   149 PINE KNOT RD                                                                                     FAIRFIELD BAY    AR    72088‐4001
EDDIE T LONG                                    4609 W 600 N                                                                                         MCCORDSVILLE     IN    46055‐9725
EDDIE TAYLOR                                    362 EOLA S E                                                                                         GRAND RAPIDS     MI    49507‐3403
EDDIE TRASK                                     704 S 23RD AVE                                                                                       BELLWOOD         IL    60104‐1922
EDDIE TRASK & MARLENE K TRASK JT TEN            2910 CLINTON RD                                                                                      LANSING          MI    48906‐9031
EDDIE V MAHIEU                                  912 BEESON RD                                                                                        DODGE CITY       KS    67801
EDDIE V REESE                                   1017 ARGYLE AVE                                                                                      PONTIAC          MI    48341‐2342
EDDIE V SPEAR                                   7625 RADIO STATION RD                                                                                TOMPEAINSBILLE   KY    42167‐8519
EDDIE VAUGHN                                    5707 PARKVIEW                                                                                        KANSAS CITY      KS    66104‐1550
EDDIE VICTOR BARSETTI                           3140 LONGVIEW DR                                                                                     SAN BRUNO        CA    94066‐1647
EDDIE W BLAIR                                   289 FLATLAND LN                                                                                      SPEEDWELL        TN    37870‐8103
EDDIE W COOPER                                  3567 E 108TH                                                                                         CLEVELAND        OH    44105‐1819
EDDIE W DURHAM                                  3806 MAGNOLIA                                                                                        DETROIT          MI    48208‐2345
EDDIE W HANDY                                   23115 WILDWOOD                                                                                       OAK PARK         MI    48237‐2483
EDDIE W MALINAK                                 8957 JASON RD                                                                                        LAINGSBURG       MI    48848‐9227
EDDIE W MONDAY                                  3919 WABASH LANE                                                                                     ELLENWOOD        GA    30294‐1306
EDDIE W MOORE                                   1134 E MOTT AVE                                                                                      FLINT            MI    48505‐2909
EDDIE W MOORE & ELOISE MOORE JT TEN             1134 E MOTT AVE                                                                                      FLINT            MI    48505‐2909
EDDIE W MORGAN                                  21165 ISABLLE                                                                                        ROMULUS          MI    48174‐9426
EDDIE W MORRIS                                  3569 N STATE ROAD 135                                                                                FRANKLIN         IN    46131‐8382
EDDIE W PULLIAM                                 19803 E 280TH TER                                                                                    HARRISONVILLE    MO    64701‐4342
EDDIE W SIMON                                   7620 SQUIRES RD                                                                                      MILLINGTON       MI    48746‐9722
EDDIE W SIMPSON                                 4700 N VICKI LANE                                                                                    MUNCIE           IN    47303‐6325
EDDIE W SYKES                                   1117 EAST NEVADA                                                                                     DETROIT          MI    48203‐2377
EDDIE WATSON                                    12616 TOWNSEND RD                                                                                    MILAN            MI    48160‐9135
EDDIE WILLIAMS                                  1509 FINDLEY                                                                                         SAGINAW          MI    48601‐1306
EDDIFY BROWN                                    2103 W 78TH ST                                                                                       LOS ANGELES      CA    90047‐2316
EDDIS L TEAR & THOMAS M TEAR & GORDON H LEFEVRE 1874 19TH ST                                                                                         WYNDOTTE         MI    48192‐3512
JT TEN
EDDIS M HARVILLE                                11043 CORE LN                                                                                        BAKER            LA    70714‐9628
EDDY BORRI                                      611 FORGOTTEN LANE                                                                                   BURLESON         TX    76028‐1553
EDDY K LIM & MRS MAE C LIM TEN COM              8316 BURKHART CT                                                                                     HOUSTON          TX    77055‐7514
EDDY L BROWN                                    PO BOX 2834                                                                                          GRAPEVINE        TX    76099‐2834
EDDY L GEYSEN                                   GUIDO GEZELLELAAN 67               LIER                                            2500 BELGIUM
EDDY L GEYSEN                                   GUIDO GEZELLELAAN 67               LIER                                            2500 BELGIUM
EDDY L GEYSEN                                   GUIDO GEZELLELAAN 67               B‐2500 LIER                                     BELGIUM
EDDY MULYADI                                    GM THAILND 111/1 MOO 4             EASTRN SEABD INDS ESTATE   PLUKDAENG RAYONG T   THAILAND
EDDY NARDOZZI                                   5601 NORTHLAWN                                                                                       STERLING HTS     MI    48310‐6632
EDDY SOUZA & OLIVIA C SOUZA JT TEN              2715 N OCEAN BLVD 9B                                                                                 FT LAUDERDALE    FL    33308‐7535
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Name                                             Address1                             Address2                  Address3     Address4          City            State Zip

EDDY W ANDERSON                                  3261 BUTLER RD                                                                                RICHMOND        KS    66080‐9147
EDDYE COOK                                       ATT EDDYE COOK MUELLER               PO BOX 5853                                              HILTON HEAD     SC    29938‐5853
                                                                                                                                               ISLAND
EDDYE L LANE                                   355 UNION S E                                                                                   GRAND RAPIDS    MI    49503‐4720
EDDYE L WASHINGTON                             PO BOX 14458                                                                                    SAGINAW         MI    48601
EDELMIRA MATANZO                               217 OAK DR                                                                                      FRANKLIN        TN    37064‐2328
EDELMIRA POLLOCK                               15253 NANCY                                                                                     SOUTHGATE       MI    48195‐2024
EDELMIRO J CARDENAS                            5607 VALERIANA DR                                                                               LAREDO          TX    78043‐5012
EDELTRAUD B HUBBARD                            9002 SALEM DR APT 2                                                                             LENEXA          KS    66215‐3237
EDELTRAUD P ASHWORTH                           20620 FAIRTREE DR                                                                               STRONGSVILLE    OH    44136‐2347
EDELWINA D COX                                 9300 TORREY RD                                                                                  GRAND BLANC     MI    48439‐9324
EDEN SMITH                                     1104 NORTH PARKWAY #44                                                                          JACKSON         TN    38305‐5010
EDESSA PETERS BAHM                             C/O ROSE MARIE BAHM WELCH              4342 WEST 165 TH STREET                                  LAWNDALE        CA    90260‐2926
EDG TRUST INC                                  1827 CRESCENT DR                                                                                CEDAR FALLS     IA    50613‐1889
EDGAR A BAKER & BEVERLY R BAKER JT TEN         32163 NUTHATCH AVE                                                                              AITKIN          MN    56431
EDGAR A BUREN TR EDGAR A BUREN REVOCABLE TRUST 1700 N SHORE DR NE                                                                              ST PETERSBURG   FL    33704‐4834
UA 12/28/95
EDGAR A LEWIS                                  3674 E 575 S                                                                                    MARKLEVILLE     IN    46056‐9793
EDGAR A MESCHER SR                             668 FREDRICKSBURG DR                                                                            DAYTON          OH    45415‐2649
EDGAR A PEARCE & DIANA L PEARCE JT TEN         2500 MANN RD LOT 342                                                                            CLARKSTON       MI    48346‐4290
EDGAR A SCARBRO                                C/O DEBORAH ANN SCARBRO O'NEAL         1010 MABEL LN                                            PINNACLE        NC    27043‐8654
EDGAR A SWARTZ & MRS BARBARA W SWARTZ JT TEN 1024 S SCHODACK RD                                                                                CASTLETON       NY    12033‐9660

EDGAR A TESKE                                    1170 E 900 NORTH RD                                                                           CISSNA PARK     IL    60924‐8729
EDGAR ASA CRAVER 2ND                             6801 WILTON DRIVE                    FORTWORTH                                                FORT WORTH      TX    76133
EDGAR ASHLEY                                     2743 W 17TH ST                                                                                MARION          IN    46953‐9427
EDGAR B CROSS                                    13018 GILBERT RD                                                                              RILEY           MI    48041‐3400
EDGAR B HEISLER                                  133 DEVON LANE                                                                                HAINESPORT      NJ    08036‐2781
EDGAR B SMITH                                    45821 HARRIS RD                                                                               BELLEVILLE      MI    48111‐8976
EDGAR B WOODWARD                                 18 FORGE HILL PLACE                                                                           THE WOODLANDS   TX    77381‐4308
EDGAR BARNES                                     9084 WESTFIELD DR                    APT RT                                                   FLUSHING        MI    48433‐8812
EDGAR BEUGLESS & MRS MARY BEUGLESS JT TEN        318 KING ROAD                                                                                 WEST CHESTER    PA    19380‐1322
EDGAR BLACKMAN                                   1632 OAKVALE DR SW                                                                            GRAND RAPIDS    MI    49519‐6533
EDGAR BLANKENSHIP                                3339 KARL ROAD                                                                                COLUMBUS        OH    43224‐3575
EDGAR BORCHERDING & NORMA M BORCHERDING JT       #D                                   6720 W 109TH ST                                          OVERLAND PARK   KS    66211‐1135
TEN
EDGAR BROWN                                      PO BOX 5411                                                                                   FLINT           MI    48505‐0411
EDGAR C BATHUM                                   4495 CALKINS RD                      APT 113                                                  FLINT           MI    48532‐3574
EDGAR C BUSCH & EVELYN H BUSCH JT TEN            4235 SE 20TH PLACE                   C‐204                                                    CAPE CORAL      FL    33904‐2409
EDGAR C COLE                                     1109 MADISON ST                                                                               LAPEER          MI    48446‐1413
EDGAR C DOLMAN                                   9213 FIDELIS DRIVE                                                                            CINCINNATI      OH    45242
EDGAR C IRWIN JR & MRS VIRGINIA M IRWIN JT TEN   1074 KISMET DRIVE                                                                             AIKEN           SC    29803‐5874

EDGAR C JONES JR & CATHERINE R JONES JT TEN      22 ALFRED AVE                                                                                 WILINGTON       DE    19805‐2028
EDGAR C KISER                                    2221 N WILSON                                                                                 ROYAL OAK       MI    48073‐4272
EDGAR C NILES                                    3720 CHARLES ROAD                                                                             IONIA           MI    48846‐9761
EDGAR C STILL                                    3705 WOODROW                                                                                  FLINT           MI    48506‐3135
EDGAR CANTELON & GLORIA M CANTELON JT TEN        BOX 955                                                                                       CLARKSTON       MI    48347‐0955
EDGAR CHEESEMAN                                  668 S STATE ROAD 67                                                                           MARTINSVILLE    IN    46151‐6238
EDGAR CHURCH CUST LORI CHURCH UGMA MI            C/O LORI CHURCH‐SCHAEFER             11441 FRANCIS RD                                         DEWITT          MI    48820‐9141
EDGAR COMLY JONES JR                             22 ALFRED AVE                                                                                 WILM            DE    19805‐2028
EDGAR COMMANDER CUST RICHARD COMMANDER           143 HIGHLAND ST                                                                               MARSHFIELD      MA    02050‐6268
UGMA MA
EDGAR D BETTS                                    3550 CURTISVILLE RD                                                                           SOUTH BRANCH    MI    48761
EDGAR D BROWN & HELEN BROWN JT TEN               12595 S MINGES                                                                                BATTLE CREEK    MI    49015‐9325
EDGAR D CLARK                                    PO BOX 2342                                                                                   BALA CYNWYD     PA    19004‐6342
EDGAR D MANOLIU                                  402 CHELSEA CAY                                                                               WAPPINGERS FL   NY    12590‐5415
EDGAR D WALTON & GAIL WALTON JT TEN              1678 DERBY                                                                                    BIRMINGHAM      MI    48009‐7526
EDGAR D WEBB                                     28 MAIN AVE                                                                                   BALTIMORE       MD    21228‐3134
                                                09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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EDGAR DAVISON ERVIN SR                             10656 RONDO                                                                                     BATON ROUGE      LA    70815‐4846
EDGAR E BAKER JR                                   1401 COPPER RUN BLVD                                                                            LEXINGTON        KY    40514‐2222
EDGAR E BELLAMY                                    926 JACKSON RD                                                                                  FITZGERALD       GA    31750‐6303
EDGAR E BELLAMY                                    926 JACKSON RD                                                                                  FITZGERALD       GA    31750‐6303
EDGAR E DUNN                                       ATTN LETTIE R DUNN                     2116 VERA CIRCLE                                         TUCKER           GA    30084‐4511
EDGAR E DURANT                                     330 HART RD                                                                                     GUILFORD         CT    06437‐1131
EDGAR E FOSTER                                     106 CARDINAL LN                                                                                 ALEXANDRIA       IN    46001‐8105
EDGAR E HUNT & SARA J HUNT JT TEN                  1423 BOBWHITE COURT                                                                             DAVIDSVILLE      PA    15928
EDGAR E LOVELL                                     9811 E 1000 N                                                                                   BROWNSBURG       IN    46112
EDGAR E PENTONEY                                   7115 SNAPDRAGON LANE                                                                            OOLTEWAH         TN    37363
EDGAR E STAUFFER                                   N4624 KAUS LANE L 1                                                                             WALLACE          MI    49893‐9755
EDGAR E TILLEY                                     565 E MAIN ST                                                                                   WILLIAMSBURG     OH    45176‐1465
EDGAR EARL ARCHEY JR                               PO BOX 2758                                                                                     ANDERSON         IN    46018‐2758
EDGAR F ANDERSON                                   7 E KING ST                                                                                     FENWICK ISLAND   DE    19975
EDGAR F ECKENRODE                                  843 WARWICK DR                                                                                  SHEFFIELD LAKE   OH    44054‐2033
EDGAR F ENGLE                                      5957 PETERSON RD                                                                                BATAVIA          OH    45103‐9583
EDGAR F GARNER                                     1430 SHAWN DR                                                                                   BATON ROUGE      LA    70806‐7745
EDGAR F HANSELL TR UW INA MAE SILVEY               139 37TH STREET                                                                                 DES MOINES       IA    50312‐4303
EDGAR F HOFFMANN                                   4004 PINECREEK DR                                                                               TYLER            TX    75707‐1752
EDGAR F HOLLIDAY                                   1560 MIDDLETON PIKE                                                                             LUCKEY           OH    43443‐9733
EDGAR F PENGELLY                                   8594 RIVERSIDE DRIVE                                                                            BRIGHTON         MI    48116‐8234
EDGAR F PENGELLY & CHARLOTTE A PENGELLY JT TEN     8594 RIVERSIDE DRIVE                                                                            BRIGHTON         MI    48116‐8234

EDGAR F SLATE                                      322 N ADAMS ST                                                                                  BUSHNELL         FL    33513
EDGAR F VOMLEHN                                    16338 GOLDEN TREE AVE                                                                           FONTANA          CA    92337‐0838
EDGAR FARR RUSSELL III                             3721 RESERVOIR ROAD N W                                                                         WASHINGTON       DC    20007‐2112
EDGAR G CRAVER CUST MARY JOSEPHINE CRAVER          R R #1 BOX 3122                                                                                 BRADFORD         VT    05033‐9736
UGMA CT
EDGAR G DANIEL JR                                  1023 COLLINGTREE CT                                                                             MCDONOUGH        GA    30253‐8808
EDGAR G GUTHREY JR                                 1201 SHERIDAN ROAD                                                                              CONCORD          CA    94518‐1628
EDGAR G HENRY CUST ANDREW R HENRY UGMA OH          8105 AUTUMN DR                                                                                  CHARDON          OH    44024‐8843

EDGAR G HENRY CUST JONATHAN E HENRY UGMA OH        8363 KIRTLAND CHARDON RD                                                                        KIRTLAND         OH    44094‐9322

EDGAR G HOPE JR & JANNIE L C HOPE JT TEN           249 CAMP HOWARD RD                                                                              OAKDALE          TN    37829‐2105
EDGAR G POST                                       4365 MECHANIC RD BOX 37                                                                         HILLSDALE        MI    49242‐9464
EDGAR G REESE & MRS MARGARET M REESE JT TEN        7917 MESA TRAILS CIRCLE                                                                         AUSTIN           TX    78731‐1446

EDGAR G STRETEN & BETTY M STRETEN JT TEN           19600 WEST 13 MILE ROAD                                                                         BEVERLY HILLS    MI    48025‐5161
EDGAR G WILSON                                     2826 YALE ST                                                                                    FLINT            MI    48503‐4606
EDGAR GLENN ARNETT                                 5981 CO RD 259                                                                                  FLORENCE         AL    35633‐4819
EDGAR GRIZZLE                                      2513 LEVEL GREEN RD                                                                             CORBIN           KY    40701‐4212
EDGAR GROSSMAN TR THE AMY GROSSMAN 1978            47 AVONDALE ROAD                                                                                NEWTON CENTRE    MA    02459‐1618
TRUST UA 08/14/78
EDGAR H AYERS TR EDGAR H AYERS TRUST UA 04/30/79   40 COUNTRY CLUB DRIVE                                                                           BATTLE CREEK     MI    49015‐3622

EDGAR H AYERS TR UA 04/30/79 EDGAR H AYERS TRUST 40 COUNTRY CLUB DR                                                                                BATTLE CREEK     MI    49015‐3622

EDGAR H COWAN                                      341 VERNON ROAD                                                                                 GREENVILLE       PA    16125‐8612
EDGAR H ECKERMANN                                  112 LORD ASHLEY DR                                                                              GREENVILLE       NC    27858‐6219
EDGAR H MUMFORD & LUTIE M MUMFORD JT TEN           9814 WOOLRICH AVE                                                                               FAIRHOPE         AL    36532‐7416

EDGAR H RITS TR RITS FAMILY TRUST UA 10/26/99      RRI BOX 87                                                                                      HONEY GROVE      PA    17035

EDGAR H RITS TR RITS TRUST UA 10/26/99             RR BOX 87                                                                                       HONEY GROVE      PA    17035
EDGAR H SCHUESSLER                                 3107 CAMPBELL STREET                                                                            SANDUSKY         OH    44870‐7230
EDGAR HENRY MUENZEL JR                             RR1                                    HALIBURTON ON                          K0M 1S0 CANADA
EDGAR HICKS                                        1295 5TH AVE APT 6C                                                                             NEW YORK         NY    10029‐3129
EDGAR HUNT                                         5065 SISTER LAKE RD                                                                             COLUMBIAVILLE    MI    48421‐9325
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EDGAR J DAVIS JR                                   618 OXFORD ST                                                                                       YOUNGSTOWN       OH    44510‐1453
EDGAR J DOWD                                       10367 BIG LAKE RD                                                                                   DAVISBURG        MI    48350‐3601
EDGAR J GAWNE                                      6347 STATE RT 46 NE                                                                                 CORTLAND         OH    44410‐9609
EDGAR J HEICHELBECH                                7715 CHELSEA CT                                                                                     HAMILTON         OH    45011‐8038
EDGAR J HOLLWEDEL                                  7080 YORK RD                                                                                        PAVILION         NY    14525‐9117
EDGAR J MIKELASKI                                  1950 ROANOKE AVE                                                                                    LOUISVILLE       KY    40205‐1416
EDGAR J RABE TR EDGAR J RABE REVOCABLE LIVING      1810 THICKET COURT                                                                                  FORT WAYNE       IN    46814
TRUST UA 03/10/98
EDGAR J SMOOT & GAIL D SMOOT JT TEN                3504 OAK PARK DR                                                                                    SALINE           MI    48176‐9363
EDGAR JACKSON                                      585 PIONEER TRL                                                                                     SAGINAW          MI    48604‐2218
EDGAR JOHN YEE                                     26467 ELM ST                                                                                        ROSEVILLE        MI    48066‐3537
EDGAR K CLARK & BARBARA H CLARK JT TEN             2201 BAY AVENUE APT. 10                                                                             OCEAN CITY       NJ    08226‐2570
EDGAR K SEITH                                      11830 LATSON ROAD                                                                                   LINDEN           MI    48451
EDGAR KISE                                         202 CHIPPIWA TRAIL                                                                                  PRUDINVILLE      MI    48651‐9645
EDGAR L BERRE JR                                   8055 INDIAN HILL ROAD                                                                               CINCINNATI       OH    45243‐3907
EDGAR L CHASTAIN                                   74 GARNER RD                                                                                        BRASELTON        GA    30517‐2068
EDGAR L CLANTON                                    2433 CODY                                                                                           DETROIT          MI    48212‐2245
EDGAR L CLARK                                      2713 CAMDEN CT                                                                                      THOMPSONS        TN    37179‐5000
                                                                                                                                                       STATION
EDGAR L DAY                                        923 EASTERN STAR CT                                                                                 LOUISVILLE       KY    40204‐2334
EDGAR L FULLER                                     5374 STANLEY RD                                                                                     COLUMBIAVILLE    MI    48421‐8705
EDGAR L HIGGINS                                    6 CHIPPEWA                           MOBILE PARK          THUNDER BAY ON       P7J 1J6 CANADA
EDGAR L JOINES                                     226 KALMIA LN                                                                                       BOONE            NC    28607
EDGAR L KENEIPP                                    25 TYNES LANE                                                                                       HUNTINGTON       WV    25705‐3535
EDGAR L KENEIPP CUST EDGAR L KENEIPP III UGMA WV   7868 MONTVIEW ROAD                                                                                  CHARLESTON       SC    29418

EDGAR L KENEIPP III                                7868 MONTVIEW RD                                                                                    CHARLESTON       SC    29418
EDGAR L KILLGORE SR                                1910 NEW COLUMBIA HWY                                                                               LEWISBURG        TN    37091‐6945
EDGAR L LACEY                                      20191 COOLEY ST                                                                                     DETROIT          MI    48219‐1273
EDGAR L ROWLAND JR                                 9637 HIGHBANKS DR                                                                                   CHEBOYGAN        MI    49721‐8956
EDGAR L ROWLAND JR & GRACE E ROWLAND JT TEN        9637 HIGHBANKS DR                                                                                   CHEBOYGAN        MI    49721‐8956

EDGAR L SAMPLES & HAZLE BELL SAMPLES JT TEN        27420 MILLROAD APT 201               N OLMSTED                                                      NORTH OLMSTED    OH    44070
EDGAR L SINNETT                                    27602 SALMON LANE                                                                                   WARSAW           MO    65355‐5585
EDGAR L THOMPSON                                   855 COMMERCE ROAD                                                                                   COMMERCE TWP     MI    48382
EDGAR L VAN NUIS                                   3 BLUEBELL DR                                                                                       PITTSGROVE       NJ    08347
EDGAR L WILLIAMS                                   1219 GRANVILLE RD                                                                                   WESTIFIELD       MA    01085‐3911
EDGAR LABOY                                        2060 HOLBROOKE RD                                                                                   BOARDMAN         OH    44514‐1213
                                                                                                                                                       TWNSHIP
EDGAR LEON MARTIN II                               3011 FORESTBROOK RD                                                                                 MYRTLE BEACH     SC    29588‐7940
EDGAR LOURENCON                                    GM DO BRASIL AV GOIAS 1805 FCW       SAO CAETANO DO SUL   SAO PAULO BRAZIL09   BRAZIL
EDGAR M BAKER                                      115 MONARCH LN                                                                                      PENSACOLA        FL    32503‐7560
EDGAR M CONLEY                                     1011 S OAKLAND R 5                                                                                  ST JOHNS         MI    48879‐2305
EDGAR M LARSON                                     5724 OSTER                                                                                          WATERFORD        MI    48327‐2646
EDGAR M OSHIKA                                     11453 PORTER VALLEY DR                                                                              NORTHRIDGE       CA    91326‐1707
EDGAR M WOODALL                                    4038 SUZAN DR                                                                                       ANDERSON         IN    46013‐2635
EDGAR MARR                                         9222 GARRISON DR                     APT 108B                                                       INDIANAPOLIS     IN    46240‐4243
EDGAR MC NEELY                                     965 PINECREST                                                                                       VIDOR            TX    77662‐5436
EDGAR MEADOWS JR                                   7212 SANCROFT DR                                                                                    HUBER HEIGHTS    OH    45424‐2311
EDGAR MORLANG                                      PO BOX 182                                                                                          CENTRAL BRIDGE   NY    12035‐0182
EDGAR MOUTOUX                                      505 E 82 ST 4G                                                                                      NEW YORK         NY    10028‐7146
EDGAR N HALL & ESTHER L HALL TEN ENT               615 APT 1315 CHESTNUT AV                                                                            TOWSON           MD    21204
EDGAR N PEMBERTON                                  RR 1 BOX 163B                                                                                       LA CYGNE         KS    66040‐9741
EDGAR N SADDLER                                    13115 HIGHBURY VIEW CT                                                                              HOUSTON          TX    77047‐4481
EDGAR N STAHLEY JR & CONSTANCE R STAHLEY JT TEN    BOX 152                                                                                             SILVERDALE       PA    18962‐0152

EDGAR N WILSON                                     408 S ALABAMA AVE                                                                                   MARTINSBURG      WV    25401‐1912
EDGAR NOLAN                                        PO BOX 33                                                                                           BELLEVILLE       MI    48112‐0033
EDGAR O REXROAD                                    17 WHARTON DR                                                                                       PARKERSBURG      WV    26104‐1256
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Name                                             Address1                             Address2                   Address3                      Address4             City              State Zip

EDGAR ORTIZ                                      3274 DECATUR AVE                                                                                                   BRONX             NY    10467‐3502
EDGAR ORTIZ JR                                   341 LUCINDA LN                                                                                                     KERNERSVILLE      NC    27284‐9325
EDGAR P CARDWELL JR                              4800 FILLMORE AVENUE                 APT 1455                                                                      ALEXANDRIA        VA    22311‐5056
EDGAR P JANSEN                                   306 ASTOR AVE                                                                                                      W CARROLLTON      OH    45449‐2002
EDGAR P STEWART                                  HCR2 BOX 43                                                                                                        WASOLA            MO    65773‐9704
EDGAR PEARCE                                     3 DENISE AVE                                                                                                       MILLTOWN          NJ    08850‐2107
EDGAR POWELL JR                                  SAYLES RD                                                                                                          BRUSHTON          NY    12916
EDGAR PRICE AMARAL                               RUA TRASIBULO P ALBUQUERQUE          04787 SAO PAULO S P                                      1080 BRAZIL
EDGAR R ALLEN                                    11570 GERLAUGH RD                                                                                                  MEDWAY             OH   45341‐9740
EDGAR R BOYLE                                    3933 CAMPBELLSVILLE RD                                                                                             PULASKI            TN   38478‐7612
EDGAR R HUNT                                     21901 O CONNOR                                                                                                     SAINT CLAIR SHORES MI   48080‐2019

EDGAR R KUNZ JR & MARILYN A KUNZ JT TEN          3500 WEST CHESTER PIKE CH‐19                                                                                       NEWTOWN SQ        PA    19073
EDGAR R NELMS JR                                 13 DAYTONA AVE                                                                                                     SEWELL            NJ    08080‐1603
EDGAR R SHAW                                     433 HUBERT PITTMAN RD                                                                                              PENDERGRASS       GA    30567‐2913
EDGAR R TYLER                                    1829 PROGRESS                                                                                                      LINCOLN PARK      MI    48146‐3230
EDGAR R WILLIAMS                                 C/O CAROL SUE WILLIAMS DALE          RR1 BOX 320                                                                   MARLINTON         WV    24954‐9732
EDGAR RAY GADDIS                                 2003 S PHILLIP DR                                                                                                  MUNCIE            IN    47302‐2022
EDGAR ROSCOE JEFFERIS                            540 E FRANKLIN ST                                                                                                  ALBANY            IN    47320‐1321
EDGAR S COPELAND & EVELYN COPELAND JT TEN        ATTN EAST TENNESSEE HUMAN            RESOURCE AGENCY            9111 CROSS PARK DR STE D100                        KNOXVILLE         TN    37923‐4517
EDGAR S HENRIQUES & AMELIAH L HENRIQUES JT TEN   16 W COBBLE HILL RD                                                                                                ALBANY            NY    12211‐1308

EDGAR S MATKINS                                  5236 EDGE MERE DR                                                                                                  FLORISSANT        MO    63033‐7735
EDGAR S TOMS JR                                  45 KIMBERLY DRIVE                                                                                                  DURHAM            NC    27707‐5418
EDGAR S WEAVER                                   1033 WOODLAKE LANE                                                                                                 TEGA CAY          SC    29708‐8559
EDGAR SHACKELFORD                                16800 MARK TWAIN                                                                                                   DETROIT           MI    48235‐4065
EDGAR SMITH                                      17 ATLANTIC AVE                                                                                                    OCEAN GROVE       NJ    07756
EDGAR TAVENER JR & MILDRED J TAVENER JT TEN      500 PARK AVE                                                                                                       GLOUCESTER CITY   NJ    08030‐1649
EDGAR TAYLOR & MRS DOROTHY ALICE TAYLOR JT TEN   PO BOX 04568                                                                                                       DETROIT           MI    48204‐0561

EDGAR THREETS                                    545 WISDOM ST                                                                                                      JACKSON           TN    38301‐4331
EDGAR V FOULEM                                   492 BOULEVARD ST PIERRE W            CARAQUET NB                                              E1W 1A3 CANADA
EDGAR V MAYS                                     827 FOLEY DR                                                                                                       VANDALIA          OH    45377‐2828
EDGAR V TAYLOR                                   78 ROGER AVE                                                                                                       BUFFALO           NY    14211‐1928
EDGAR W BENEFIELD                                3818 TODD DRIVE                                                                                                    OAKWOOD           GA    30566‐2218
EDGAR W BONEE JR                                 6220 ORIOLE DRIVE                                                                                                  FLINT             MI    48506‐1738
EDGAR W CLARKE JR                                121 FAIRMOUNT AVE                                                                                                  LAUREL SPRINGS    NJ    08021‐2113
EDGAR W COONEY                                   24050 BLACKSTONE                                                                                                   OAK PARK          MI    48237‐2057
EDGAR W DE WITT JR                               16033 DEBBIE LANE                                                                                                  SOUTH HOLLAND     IL    60473‐1734
EDGAR W DENZIN & NANCY LOU DENZIN JT TEN         7375 RUSTIC RD                                                                                                     WEST BEND         WI    53090‐8618
EDGAR W ENO                                      2856 TIPSICO LAKE ROAD                                                                                             HARTLAND          MI    48353‐3253
EDGAR W FERGUSON                                 300 HILCREST                                                                                                       KANKAKEE          IL    60901‐4458
EDGAR W HERMANN TR EDGAR W HERMANN LIVING        19643 VALLEY VIEW DR                                                                                               TOPANGA           CA    90290
TRUST UA 05/31/06
EDGAR W ORANGE                                   637 WEST 91ST STREET                                                                                               LOS ANGELES       CA    90044‐5728
EDGAR W SPENCER                                  14 SOUTHERN BOULEVARD                NARRE WARREN SOUTH         VICTORIA                      3805 AUSTRALIA
EDGAR W SULLIVAN                                 2293 S R 131                                                                                                       GOSHEN            OH    45122‐9458
EDGAR W TERNEUS                                  24 W MAPLE LN                                                                                                      MILTON            WI    53563‐1644
EDGAR W WIECK                                    549 SLIGH BLVD NE                                                                                                  GRAND RAPIDS      MI    49505‐3653
EDGAR W WOERNER                                  76 MOUNT LEBANON ROAD                                                                                              PORT MURRAY       NJ    07865‐3222
EDGAR W WOODALL                                  4041 GRANGE HALL                     LOT 7                                                                         HOLLY             MI    48442‐1917
EDGAR W WRIGHT & RUSSELL W WRIGHT JT TEN         1201 RIDGELAWN LN                                                                                                  ST PETERS         MO    63376‐4338
EDGAR WILLIAM LEE & GEORGIA JEANNE LEE TR UA     8339 E ELM AVE                                                                                                     SAN GABRIEL       CA    91775‐2465
05/04/94 LEE FAMILY TR
EDGAR ZAMMIT                                     34852 GROVE DR                                                                                                     LIVONIA           MI    48154‐2443
EDGARD T PEZZO                                   GMB FIDELIDADE AVE GOIAS 1805        VLA PAULA SAO CAE DO SUL   SAO PAULO BRASIL09            BRAZIL
EDGARD WENDELL LANE CUST LISA KATHERINE LANE     164 RUSSELL LANE                                                                                                   ELKTON            MD    21921‐2805
UTMA MD
                                               09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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EDGARD WENDELL LANE CUST TIMOTHY KARL LANE        164 RUSSELL ROAD                                                                                ELKTON         MD    21921‐2805
UTMA MD
EDGARDO R DIAZ                                    649 W 36 ST                                                                                     HIALEAH        FL    33012‐5135
EDGARDO VELEZ                                     15 MIDLAND BLVD                                                                                 UNION          NJ    07083‐7450
EDGEL LEE LESTER                                  14730 JIM BYRD RD                                                                               BILOXI         MS    39532‐8043
EDGEL SCOTT                                       PO BOX 40                                                                                       TOPMOST        KY    41862‐0040
EDGELL SALYER                                     2404 MARCONI AVE                                                                                DAYTON         OH    45439‐2126
EDGER G MADDOX                                    PO BOX 192                                                                                      SARGENT        GA    30275‐0192
EDGINIA R FOREMAN                                 1021 E HOLLAND AVE                                                                              SAGINAW        MI    48601‐2625
EDICE L MC GILL                                   2523 N MILLER RD                                                                                SCOTTSDALE     AZ    85257‐1600
EDIE HORWATH                                      70 SPENCER RD                                                                                   HILTON         NY    14468‐9303
EDIE M ANDERSON                                   709 MEADOWVIEW                                                                                  FLUSHING       MI    48433‐1334
EDIE M SHERWOOD                                   9462 MC ENRUE ROAD                                                                              SWARTZ CREEK   MI    48473‐8504
EDIE MCINTYRE                                     926 MIDDLESEX                                                                                   LINDEN         NJ    07036‐2151
EDILBERTO VAZQUEZ                                 3668 CYPRESS WOOD CT                                                                            LAKE WORTH     FL    33467‐2314
EDILIO MADRIGAL                                   1712 OXFORD DR                                                                                  MANSFIELD      TX    76063‐3371
EDISON C OCCHI & HENRIETTA S OCCHI JT TEN         239 CHRISTIAN LANE                                                                              BERLIN         CT    06037‐1419
EDISON CASCIANO                                   STREET SAN DAMIAN #600               DEPT 21 LAS CONDES      SANTIAGO       CHILE
EDISON D JEFFUS TR EDISON D JEFFUS TRUST UA       2980 EAST 56TH PL                                                                               TULSA          OK    74105‐7434
3/23/98
EDISON E GREGORY                                  509 S HARDING                                                                                   INDIANAPOLIS   IN    46221‐1136
EDISON ESTER JR                                   14641 FAIRMOUNT                                                                                 DETORIT        MI    48205‐1275
EDISON F SCHULTZ                                  N15085 COUNTY ROAD 553                                                                          WILSON         MI    49896‐9718
EDISON H GALE III                                 14940 SHORELINE DR W                                                                            THORNVILLE     OH    43076‐8887
EDISON H MIYAWAKI & SALLIE Y MIYAWAKI JT TEN      1010 WILDER AVE                                                                                 HONOLULU       HI    96822‐2685

EDISON ROBINSON                                   114 BROAD AVE                                                                                   TRENTON        NJ    08618‐1502
EDISON W EMPEY & RUTH ANN GLYNN JT TEN            14977 W WHITTON AVE                                                                             GOODYEAR       AZ    85395‐8860
EDITA L MILLER                                    2700 MAYFIELD NE                                                                                GRAND RAPIDS   MI    49505‐3864
EDITH A BASSETT                                   3416 GROVE AVE #21                                                                              RICHMOND       VA    23221‐2751
EDITH A BRUCE                                     580 CHURCH ROAD                                                                                 SEWELL         NJ    08080
EDITH A CULVER                                    3110 WILLIAMS N W                                                                               WARREN         OH    44481‐9431
EDITH A GRZYWACZ                                  401 SOUTH ACADEMY STREET                                                                        MEDINA         NY    14103‐1136
EDITH A HANKS                                     1111 SOUTH PEARL ST                                                                             INDEPENDENCE   MO    64050‐4553
EDITH A HOPKINS                                   6420 PATRICIA BL                                                                                GOSHEN         OH    45122‐9320
EDITH A KIRK                                      129 CHERRY HILL RD                                                                              ORANGE         CT    06477‐1701
EDITH A MARCH                                     112 W RAMBLER DR                                                                                HOLLAND        PA    18966‐2043
EDITH A PARMER                                    BOX 96                                                                                          ZANESFIELD     OH    43360‐0096
EDITH A PEPERA                                    2010 HUDSON ST                                                                                  SAGINAW        MI    48602‐5042
EDITH A PEPERA & THOMAS J PEPERA JR JT TEN        2010 HUDSON ST                                                                                  SAGINAW        MI    48602‐5042
EDITH ALLEN GEORGE                                7911 MEADOWCROFT                                                                                HOUSTON        TX    77063‐4707
EDITH B BEYER                                     SAXHJVEJ 35                          2500 VALBY COPENHAGEN                  DENMARK
EDITH B DAGGETT                                   15980 LOWELL RD R 4                                                                             LANSING        MI    48906‐9394
EDITH B KURON                                     6029 ROLLAND DR                                                                                 TOLEDO         OH    43612‐4545
EDITH B REICH                                     10275 COLLINS AVENUE APT 911                                                                    BAL HARBOUR    FL    33154
EDITH B SUPEK                                     1710 BROADWAY                                                                                   NILES          OH    44446‐2058
EDITH B WILKINS & DOROTHY M ROCKWELL JT TEN       ATTN ROCKWELL PUBLISHING             13218 NE 20TH                                              BELLEVUE       WA    98005‐2004

EDITH BARNHART                                    8604 NIGHTINGALE ST                                                                             DEARBORN HTS   MI    48127‐1205
EDITH BERG TR UA 03/06/06 EDITH BERG LIVING TRUST 630 FORT WASHINGTON AVE #5G                                                                     NEW YORK       NY    10040

EDITH BLAU TR EDITH BLAU FAMILY TRUST UA 10/27/98 3425 FIFTH AVE                                                                                  YOUNGSTOWN     OH    44505‐1905

EDITH BROCK MILLER                                825 KING ROAD                                                                                   MALVERN        PA    19355‐2855
EDITH BUEHLER TR UNDER DECLARATION OF TRUST       5727 S LEWIS AVE                     STE 800                                                    TULSA          OK    74105‐7149
10/27/93 EDITH BUEHLER
EDITH BUSSA CUST LENORE BUSSA UGMA NY             916 HARDING ST                                                                                  BOHEMIA        NY    11716‐2102
EDITH BUSSA CUST STEVEN BUSSA UGMA NY             916 HARDING ST                                                                                  BOHEMIA        NY    11716‐2102
EDITH C HAAS & BILL D HAAS JT TEN                 5092 HETRICK RD                                                                                 BROOKVILLE     IN    47012‐9776
                                               09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                 Address1                             Address2             Address3          Address4          City            State Zip

EDITH C HITCHENS                                     120 DUNBARTON DR                     HIGHLAND WEST                                            WILMINGTON      DE    19808‐1356
EDITH C LUCAS                                        521 LICKING PIKE                                                                              WILDER          KY    41071‐2941
EDITH C QUEENER                                      41090 SOUTHWIND DRIVE                                                                         CANTON          MI    48188‐1312
EDITH C SUMNER                                       2275 S ARAGON AVENUE                                                                          KETTERING       OH    45420‐3556
EDITH C TAKACS                                       1171 LUCAS ROAD                                                                               MANSFIELD       OH    44905‐3015
EDITH C WATERS                                       3181 CHICAGO RD                                                                               WARREN          MI    48092‐3707
EDITH CRAIG                                          45 RA JEAN DR                                                                                 FLORENCE        KY    41042‐1533
EDITH CUNNINGHAM                                     2402 SUNBIRD DR                                                                               MELBOURNE       FL    32904‐8015
EDITH D BREEDLOVE                                    1768 S 400 E                                                                                  KOKOMO          IN    46902‐9341
EDITH D CARMODY & TERESA S KLANECKY & BEVERLY J      2753 N LOWELL RD                                                                              SAINT JOHNS     MI    48879‐9527
GROSS JT TEN
EDITH D SPIERS                                       9050 FAYEMONT DR                                                                              MECHANICSVLLE   VA    23116
EDITH D STANFIELD                                    8261 BINGHAM                                                                                  DETROIT         MI    48228‐2730
EDITH DARRAH                                         PO BOX 2146                                                                                   LARAMIE         WY    82073
EDITH DEAN                                           2627 BISPHAM ROAD                                                                             SARASOTA        FL    34231
EDITH DI CARMINE                                     PO BOX 57                                                                                     MAHOPAC FALLS   NY    10542‐0057
EDITH DIXON MORRIS                                   140 CHESTNUT ST                                                                               TROY            PA    16947‐1304
EDITH E BARKER                                       250 POMEROY AVE                      STE 2                                                    MERIDEN         CT    06450‐8316
EDITH E BARRY                                        1409 LORRAINE WAY                                                                             SANTA ROSA      CA    95404‐8684
EDITH E BRONER                                       7050 WINKFIELD PL                                                                             COLLEGE PARK    GA    30349‐4734
EDITH E CLARK                                        PO BOX 812                                                                                    NEWMAN LAKE     WA    99025‐0812
EDITH E DANSON                                       205 27TH S ST                                                                                 BRIGANTINE      NJ    08203‐1809
EDITH E DEACY                                        1533 4TH AVE W                       APT 517                                                  BRADENTON       FL    34205‐5935
EDITH E DEL BEL & ELSIO DEL BEL TR EDITH E DEL BEL   PO BOX 1                                                                                      LIBRARY         PA    15129‐0001
TRUST UA 08/06/92
EDITH E DEVLIN                                       8 N VIEW DR                                                                                   HILLSBOROUGH    NJ    08844‐1208
EDITH E FOUNTAIN                                     24 FARMCREST AVE                                                                              LEXINGTON       MA    02421‐7113
EDITH E MAHAN                                        2626 TRAVELERS PALM DR                                                                        EDGEWATER       FL    32141
EDITH E MERRILL                                      3914 SESAME ST                                                                                NORTH PORT      FL    34287‐2995
EDITH E NASS                                         1850 HUEBBE PKWY                     APT 129                                                  BELOIT          WI    53511‐6528
EDITH E OBRIEN & CYNTHIA N OBRIEN JT TEN             102 LEHIGH AVE                                                                                BELVEDERE       SC    29841‐5602
EDITH E PREJEAN                                      1312 DUNBARTON DR                                                                             RICHARDSON      TX    75081‐5915
EDITH E SAMUELS                                      4355 NW 60TH TERRACE                                                                          GAINESVILLE     FL    32606‐4298
EDITH E SPRUILL                                      PO BOX 572                                                                                    WARRENTON       NC    27589‐0572
EDITH E THILQUIST & JAY A THILQUIST JT TEN           5816 DECATUR AVE N                                                                            NEW HOPE        MN    55427
EDITH E VICTOR                                       724 E OCEAN AVE                                                                               ABSECON         NJ    08201‐9760
EDITH E WRIGHT                                       4670 N 100 W                                                                                  ANDERSON        IN    46011‐9515
EDITH EDNA ARMITSTEAD                                900 UNIVERSITY STREET APT 1103                                                                SEATTLE         WA    98101
EDITH ELAINE NORMILE                                 624 ASH POINT RD                                                                              DENTON          KS    66017‐4098
EDITH ELIZABETH KREPS                                3628 S EMERY                                                                                  INDEPENDENCE    MO    64055‐3446
EDITH ELLIS SPRUILL                                  BOX 572                                                                                       WARRENTON       NC    27589‐0572
EDITH ELSESSER                                       1829 OXFORD RD                                                                                GROSSE POINTE   MI    48236‐1847
                                                                                                                                                   WOOD
EDITH F BARLOW                                       55 DELLWOOD ROAD                                                                              CRANSTON        RI    02920‐8001
EDITH F FORREST                                      2681 S COURSE DR                                                                              POMPANO BEACH   FL    33069‐3990
EDITH F NIXON                                        197 N UNION ST                                                                                SALEM           NJ    08079‐1154
EDITH F WATKINS                                      326 JODY WAY                                                                                  LUTHERVILLE     MD    21093‐2919
EDITH F WRIGHT                                       21 ALOKELE PLACE                                                                              PUKALANI MAUI   HI    96768‐8201
EDITH FINK                                           5500 NW 69TH AVE APT 212                                                                      LUADERHILL      FL    33319‐7268
EDITH FRAN CANTER                                    2156 W WILSON AVE                                                                             CHICAGO         IL    60625‐1536
EDITH FREEMAN                                        2 FRANKLIN TOWN BLVD                 APT 1816                                                 PHILADELPHIA    PA    19103‐1233
EDITH FRIEDMAN TR UA 12/04/2006 FRIEDMAN TRUST       4145 TOPSAIL TRAIL                                                                            NEW PRT RCHY    FL    34652

EDITH G ALTIER                                       1710 GYPSY LANE                                                                               NILES           OH    44446‐3206
EDITH G BARNES LYNN PHEGLEY & KAREN EMERTON JT       335 WOODBRIDGE                                                                                GRAND BLANC     MI    48439‐1139
TEN
EDITH G CUMMINGS                                     PO BOX 257                                                                                    SWEETSER        IN    46987‐0257
EDITH G HUBBARD & BARBARA ANNE HUBBARD JT TEN        PO BOX 6                                                                                      WAKE            VA    23176‐0006
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

EDITH G KING TR UA 04/10/92 THE EDITH G KING TRUST 4660 WILLARD                                                                                  OKLAHOMA CITY   OK    73105‐7026

EDITH G LETCHER                                   213 E ROSE VALLEY RD                                                                           WALLINGFORD     PA    19086‐6437
EDITH G MURPHY                                    281 WISTOWA TRAIL                                                                              DAYTON          OH    45430‐2015
EDITH G PARNUM                                    442 ROBIN HILL RD                                                                              WAYNE           PA    19087‐2330
EDITH G RUFENER TR EDITH G RUFENER REV TRUST UA   2709 FOREST KNOLL DR                                                                           SARASOTA        FL    34232‐3835
8/01/01
EDITH G STUART                                    BOX 6                                                                                          WAKE            VA    23176‐0006
EDITH GALATRO CUST DIANE GALATRO UGMA NY          APT 5‐D                               161‐32 JEWEL AVE                                         FLUSHING        NY    11365‐4375
EDITH GELBER‐BEECHLER EX EST HERTA GELBER         1316 OLD FARM RD                                                                               CHARLOTTE       NC    28226
EDITH GLASER                                      4525 WALDO AVE                                                                                 RIVERDALE       NY    10471‐3933
EDITH GOODRICH TR UNDER DECLARATION OF TRUST      1711 PATS LANE                                                                                 VINELAND        NJ    08361‐8525
03/23/94
EDITH H DAVIS                                     2005 CUNNINGHAM RD                                                                             WILMINGTON      DE    19808‐5203
EDITH H EVANS                                     309 BRIDGEBORO RD                     APT 1115                                                 MOORESTOWN      NJ    08057‐1420
EDITH H HIX                                       7709 PINEHILL DRIVE                                                                            RICHMOND        VA    23228‐4626
EDITH H HOLLIS                                    PO BOX 146                                                                                     IDLEWILD        MI    49642‐0146
EDITH H HOLLIS & JULIUS J HOLLIS JT TEN           PO BOX 146                                                                                     IDLEWILD        MI    49642‐0146
EDITH H LEAP                                      137 NORTH VIRGINIA AVENUE                                                                      PENNS GROVE     NJ    08069‐1143
EDITH H LILES                                     37 MEDALLION LN                                                                                WILLINGBORO     NJ    08046‐2925
EDITH H WEIR                                      2462 COLE                                                                                      LAKE ORION      MI    48362‐2112
EDITH HARMON                                      ROUTE 2 12‐D WALNUT ST                                                                         TOMS RIVER      NJ    08757‐2242
EDITH HAYES                                       8106 CHATHAM                                                                                   DETROIT         MI    48239‐1110
EDITH HOOVER                                      1676 NORTHDALE RD                                                                              DAYTON          OH    45432‐3510
EDITH I CHAMBERS                                  3920 STONE RD                                                                                  IONIA           MI    48846‐9743
EDITH I GRAY                                      611 FAIRVIEW DR                                                                                COLDWATER       OH    45828‐1410
EDITH I HERRICK & PATRICIA S TREACHLER JT TEN     1728 WEBSTER ST                                                                                SAN ANGELO      TX    76901
EDITH I KELLY                                     3255 SHINNONS ROAD                                                                             AUBURN HILLS    MI    48326‐2070
EDITH I MEDLIN                                    6630 RUTLEDGE DR                                                                               FAIRFAX STA     VA    22039‐1700
EDITH I NEW                                       7979 SHARON DRIVE                                                                              AVON            IN    46123‐8306
EDITH J BROWN & JOHN A BROWN JT TEN               915 WEATHERSTONE DR                                                                            ST CHARLES      MO    63304‐4503
EDITH J COCHERELL                                 896 CR99                                                                                       ALVIN           TX    77511‐6394
EDITH J JONES                                     369 CAMPBELL STREET                   WINNIPEG MB                            R3N 1B6 CANADA
EDITH J MARTIN                                    15635 RANCHITA DR                                                                              DALLAS          TX    75248‐4982
EDITH J STERN                                     8 KEEFER CT                                                                                    PIEDMONT        CA    94610‐1027
EDITH J WALTOS                                    261 CHESTNUT HILL RD                                                                           TORRINGTON      CT    06790‐4253
EDITH J ZIMMERMAN                                 1231 CRYSTAL POINTE CIR                                                                        FENTON          MI    48430‐2065
EDITH JANE WARTBURG                               575 JACK PINE COURT                                                                            BOULDER         CO    80304‐1711
EDITH JEAN POWERS                                 700 JIMS LN                                                                                    CORBIN          KY    40701‐7822
EDITH JOHNSON                                     926 WALL                                                                                       TOLEDO          OH    43610‐1284
EDITH JUANITA EUBANK                              1744 CRESCENT LAKE RD                 APT 104                                                  WATERFORD       MI    48327‐1376
EDITH K BARNETT                                   3503 SURRY RIDGE WAY                                                                           DAYTON          OH    45424‐8009
EDITH K BROGDON                                   4214 JADE TRAIL                                                                                CANTON          GA    30115
EDITH K COLEY                                     7394 GOLDEN STAR AVE                                                                           RIVERSIDE       CA    92506‐5502
EDITH K SCHNEIDER TR EDITH K SCHNEIDER LIVING     BOX 262                                                                                        LAKE BLUFF      IL    60044‐0262
TRUST UA 03/09/91
EDITH KESSLER & EDWARD G KESSLER JT TEN           27426 LYNDON                                                                                   LIVONIA         MI    48154‐4661
EDITH L BRADLEY                                   1815 MC PHAIL                                                                                  FLINT           MI    48503‐4366
EDITH L BRISSON                                   TOWNLINE DR 12225 WOODSIDE            APTS                                                     GRAND BLANC     MI    48439
EDITH L BROWN TR EDITH L BROWN FAMILY TR UA       4196 HI HILL DR                                                                                LAPEER          MI    48446‐2864
09/25/79
EDITH L DENISON & PHILIP U DENISON JT TEN         128 SE 45TH TERR                                                                               CAPE CORAL      FL    33904‐8330
EDITH L ESKRIDGE                                  5102 WOODMERE CT                                                                               PLAINFIELD      IL    60586‐5450
EDITH L FROMAN                                    PO BOX 432                                                                                     DALEVILLE       IN    47334‐0432
EDITH L HAMMOND                                   3469 STATE ROUTE 305 NW                                                                        SOUTHINGTON     OH    44470‐9725
EDITH L HOWARD                                    460 GRANDVILLE HOWARD ROAD                                                                     LANCING         TN    37770‐1806
EDITH L KERCHILL TR UA 07/14/92                   8540 EAST SOLAR PLACE                                                                          TUCSON          AZ    85750‐9745
EDITH L LITTLE                                    1058 60TH ST                                                                                   TUSCALOOSA      AL    35405‐5508
EDITH L PARHAM                                    3508 E INGLEWOOD CIRCLE                                                                        MESA            AZ    85213‐3263
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Name                                             Address1                                Address2                Address3       Address4          City              State Zip

EDITH L PITTS                                     40 COHANSEY RD 246                                                                              BRIDGETON         NJ    08302‐4602
EDITH L PRICE                                     324 E TIENKEN RD                                                                                ROCHESTER         MI    48306‐4534
EDITH L RASKIN                                    53 CRAFTSLAND RD                                                                                CHESTNUT HILL     MA    02467‐2678
EDITH L SCOTT                                     91 N FRANCIS                                                                                    PONTIAC           MI    48342‐2724
EDITH L SHORT                                     PO BOX 2217                                                                                     W LAFAYETTE       IN    47906
EDITH L SMOLENS                                   10 RAVINES RD                                                                                   MELROSE           MA    02176‐4302
EDITH L SZCZYTOWSKI TR EDITH L SZCZYTOWSKI LIVING 3303 PINES VILLAGE CIR                 APT 221                                                  VALPARAISO        IN    46383‐2665
TRUSTUA 12/18/95
EDITH L TRAUTMAN                                  4212 VENICE RD                         LOT # 3                                                  SANDUSKY          OH    44870‐1688
EDITH LEVINE                                      17 BIGHRON DRIVE                                                                                WAYNE             NJ    07470‐4950
EDITH LEVITT KANTOR & LESLIE LEVITT JT TEN        11 DEBRA PLACE                                                                                  SYOSSET           NY    11791‐5207
EDITH LEWIN                                       2 BAYCLUB DR                           APT 10C                                                  BAYSIDE           NY    11360‐2925
EDITH LOIS FIELDS & DOROTHY V KODIS JT TEN        38‐20 BOWNE ST APT 804                                                                          FLUSHING          NY    11354‐5622
EDITH LUTNICK                                     65 W 13TH ST                           APT 12A                                                  NEW YORK          NY    10011‐7951
EDITH LYNN MLAKER TOD ALDEN H MLAKER SUBJECT TO 704 EAST 50 N                                                                                     HEBER CITY        UT    84032‐3054
STATE TOD RULES
EDITH M BOWLES                                    980 WILMINGTON AVE                     APT 307                                                  DAYTON            OH    45420‐1620
EDITH M BROOKS                                    5029 S NAOMIKONG                                                                                FLINT             MI    48506‐1166
EDITH M DEIGERT                                   1050 PARK SHORE DR 34                                                                           CUMMING           GA    30041‐8648
EDITH M DOAK TR U‐DECL OF TRUST 03/25/93          4420 ALVIN ST                                                                                   SAGINAW           MI    48603‐3000
EDITH M DUXBURY                                   1575 W 53RD ST                         APT 156                                                  DAVENPORT         IA    52806‐2447
EDITH M HAHN                                      8 RONNA DR                                                                                      WILM              DE    19808‐4723
EDITH M HAWKINS                                   520 E MAIN ST                          APT 2C                                                   BARRINGTON        IL    60010‐3394
EDITH M HICKOK                                    15550 26TH ST                                                                                   GOBLES            MI    49055‐9213
EDITH M ISER                                      1582 SEATER RD                                                                                  WARREN            OH    44485‐2028
EDITH M JUSTICE                                   9425 RAWSONVILLE RD                                                                             BELLEVILLE        MI    48111‐9368
EDITH M KENT                                      2853 WOFFORD RD                                                                                 CHARLESTON        SC    29414
EDITH M LANDRIGAN                                 1105 PORTOLA AVE                                                                                TORRANCE          CA    90501‐2151
EDITH M LOGSDON                                   BOX 681                                                                                         BUCKHANNON        WV    26201‐0681
EDITH M MALONEY TR UA 12/01/92 THE EDITH M        1106 PLATT ST                                                                                   LANSING           MI    48910‐1620
MALONEY LIVING TRUST
EDITH M MOOREHEAD                                 9682 ROSEWOOD COURT                                                                             LOVELAND          OH    45140‐5639
EDITH M MOSELY                                    2102 SW BURLINGTON STREET                                                                       PORT ST LUCIE     FL    34984‐4352
EDITH M PIERCE                                    650 GAMBER LANE                                                                                 LINDEN            MI    48451‐9755
EDITH M POWELL                                    425 DUNHAM RD                                                                                   GASTONIA          NC    28054‐4835
EDITH M RYDER                                     209 WATER ST                                                                                    CLINTON           MA    01510‐2150
EDITH M SCHEFFER                                  207 HEARTHSTONE COURT                                                                           MYRTLE BEACH      SC    29577‐6145
EDITH M SHIELY                                    20540 FALCONS LANDING CIRCLE           APT#4210                                                 STERLING          VA    20165‐3584
EDITH M SMITH                                     2791 FLINT BLVD                                                                                 ORTONVILLE        MI    48462‐9211
EDITH M SMITH                                     7360 CROSS CREEK DR                                                                             SWARTZ CREEK      MI    48473‐1711
EDITH M STORY                                     17641 MARSH HARBOR LN                                                                           DUMFRIES          VA    22026‐4531
EDITH M WALTERS                                   EDITH M MOOREHEAD                      9682 ROSEWOOD COURT                                      LOVELAND          OH    45140‐5639
EDITH M WAYMAN PERS REP EST CHARLES R HULL        5929 SNOVER RD                                                                                  DECKER            MI    48426‐9701
EDITH M WOODS                                     APT 3‐102                              555 BLUFF PARKS DRIVE                                    FLORISSANT        MO    63031‐5517
EDITH M YOUNG                                     9507 KREPPS RD                                                                                  LAINGSBURG        MI    48848‐9419
EDITH MAE SMITH PERS REP EST GORDON L SMITH       268 N WESTVIEW AVE                                                                              DAYTON            OH    45403‐1626

EDITH MAGAZINER                                  368 YOUNGSFORD PL                                                                                GLADWYNE          PA    19035‐1625
EDITH MAXINE GRANT                               R R 2 BOX 325                                                                                    BURLINGTON        IN    46915
EDITH MCKINNEY                                   2026 E HIGHWAY 619                                                                               JAMESTOWN         KY    42629‐7921
EDITH MEDOFF                                     19 LAFFAYETT RD                                                                                  LARCHMONT         NY    10538‐1921
EDITH MEHLER                                     118 MILL SPRING RD                                                                               MANHASSET         NY    11030‐3618
EDITH MELLOW & MARCIA ANN MELLOW JT TEN          PO BOX 15                                                                                        GENESEE           MI    48437‐0015
EDITH MENTLE                                     75‐82 183RD ST                                                                                   FRESH MEADOWS     NY    11366
EDITH MOON                                       301 BOW DRIVE                                                                                    HAUPPAUGE         NY    11788‐1721
EDITH N LEZAIC                                   780 S SAPODILLA AV 203                                                                           WEST PALM BEACH   FL    33401‐4160

EDITH NEIDINGER                                  5111 ROBINHOOD LANE                                                                              ERIE              PA    16509‐2560
EDITH NOLL CUST PHILLIP NOLL UGMA MO             216 DONALD                                                                                       JEFFERSON CITY    MO    65109‐0944
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Name                                              Address1                               Address2                        Address3   Address4           City            State Zip

EDITH O MILLER                                    908 CHESTNUT AVE                                                                                     N CAMBRIA       PA    15714
EDITH ONUSSEIT                                    6 STARLIGHT CIRCLE                                                                                   FAIRPORT        NY    14450‐9330
EDITH P BARNHILL                                  1204 W BINKLEY                                                                                       OKLAHOMA CITY   OK    73109‐2728
EDITH P CORWIN                                    152 E 77TH ST                                                                                        ANDERSON        IN    46013‐3905
EDITH P ERICKSON                                  PO BOX 437                                                                                           FOXBORO         MA    02035‐0437
EDITH P KNAPP                                     245 GRACEY AVE                                                                                       MERIDEN         CT    06451‐2202
EDITH POSTOIAN                                    5350 MARK'S LANE                                                                                     TRAVERSE CITY   MI    49684
EDITH R ADLER                                     31 CHAMBERS ST                         #3                                                            NEW YORK        NY    10007‐1210
EDITH R BALOGH                                    5100 FAIRFILD DR #1                                                                                  FORT MYERS      FL    33919‐1906
EDITH R BRAZEL                                    7732 LAKESHORE DR                                                                                    GRANITE BAY     CA    95746‐6966
EDITH R GRIFFIN                                   760 JACKS VALLEY RD                                                                                  CARSON CITY     NV    89705‐6915
EDITH R KING                                      209 HOOD ST                                                                                          MARYVILLE       TN    37803‐6317
EDITH R OGELLA CUST EDITH KRYSTYNA OGELLA UGMA 4868 RHOADS AVE                                                                                         SANTA BARBARA   CA    93111‐2847
CA
EDITH R OGELLA CUST THERESA DANIELLE OGELLA A     4868 RHOADS AVE                                                                                      SANTA BARBARA   CA    93111‐2847
UGMA CA
EDITH R RAMASKA                                   PO BOX 179                                                                                           OAKHAM          MA    01068‐0179
EDITH READ BOON                                   3625 HATHAWAY RD                                                                                     DURHAM          NC    27707‐5138
EDITH RITA CIARROCCHI                             SHARP RD                                                                                             AVONDALE        PA    19311
EDITH ROBBINS GLENN                               122 FIDDLERS HILL RD                                                                                 EDGEWATER       MD    21037‐3613
EDITH RODEN                                       1133 RIVIERA STREET                                                                                  VENICE          FL    34285‐3724
EDITH RUBY MC CRODAN                              PO BOX 208                                                                                           CHICAGO PARK    CA    95712‐0208
EDITH RUTH BLACK                                  25 WILLIAM FRASER CRESCENT             KOHIMARAMA                      AUCKLAND   1130 NEW ZEALAND
EDITH RUTH MCLEMORE                               1111 W CHEROKEE AVE                                                                                  ENID            OK    73703‐5853
EDITH S CLINE                                     4949 QUEENSBURY                                                                                      HUBER HEIGHTS   OH    45424‐3746
EDITH S HAMMONS                                   3481 MAIN ST RD                                                                                      STANDISH        MI    48658‐9667
EDITH S HIGHINBOTHAM CUST SARAH MILLS             602 DUMVILLE AVE                                                                                     SUFFOLK         VA    23434‐4941
HIGINBOTHAM UTMA VA
EDITH S HIGINBOTHAM CUST ANNE WELLINGTON          602 DUMVILLE AVE                                                                                     SUFFOLK         VA    23434‐4941
HIGHINBOTHAM UTMA VA
EDITH S KOZBERG                                   7122 FIRMAMENT AVE                                                                                   VAN NUYS        CA    91406‐4102
EDITH S MORIMOTO TR UA 10/02/92 THE EDITH S       411 WOODCROFT LN                                                                                     SCHAUMBURG      IL    60173‐2244
MORIMOTO TRUST
EDITH S O'TOOLE & EDWARD T O'TOOLE JT TEN         PO BOX 303                                                                                           RIDERWOOD       MD    21139‐0303
EDITH S OSTERMEIER                                7646 W US 40                                                                                         CUMBERLAND      IN    46229‐4222
EDITH S POSSEXEC EST OF MARY HELEN DAVIS          806 N PHELPS ST                                                                                      ALPINE          TX    79830‐3234
EDITH S REHG                                      C/O JOHN M EVANS MD                    4445 CINCINNATI‐BROOKVILLE RD                                 HAMILTON        OH    45013‐9262
EDITH S ROSE                                      201 LAMBERT DR                                                                                       PRINCETON       NJ    08540‐2308
EDITH S UNRUH                                     135 TRIPPI LN                                                                                        AIKEN           SC    29803‐1031
EDITH SANNELLA                                    5015 SUTER DR                                                                                        NASHVILLE       TN    37211‐5132
EDITH SAURER                                      902 SHAGBARK RD                                                                                      NEW LENOX       IL    60451‐3101
EDITH SCHWARTZ                                    12605 TAYLOR CT                                                                                      SILVER SPRING   MD    20904‐3531
EDITH SEIDENBERG TR UA 10/30/2007 EDITH           3675 N COUNTRY CLUB DR EID IV #2606                                                                  AVENTURA        FL    33180
SEIDENBERG REVOCABLE TRUST
EDITH SHANNON                                     11202 CLARY RD                                                                                       WAKEMAN         OH    44889‐9623
EDITH SMITH                                       4835 BUCIDA RD                                                                                       BOYNTON BEACH   FL    33436‐7324
EDITH SMITH                                       5620 PEMBERGTON AVE                                                                                  NORWOOD         OH    45212‐1226
EDITH SOLIGO SINGLETARY                           9016 MOUNTAIN LAKE CIRCLE                                                                            AUSTIN          TX    78750‐2920
EDITH SPENCER                                     8947 BRITTAN LAKES DRIVE                                                                             BOYNTON BEACH   FL    33437‐2514
EDITH THACKER                                     3711 JACKSON LANE                                                                                    ELLENWOOD       GA    30294‐4349
EDITH V JINETOPULOS TR EDITH JINETOPULOS TRUST UA 4220 MATINA BELLA STREET                                                                             LAS VEGAS       NV    89135
07/11/96
EDITH V SHANEFELT                                 8850 RT 35 WEST                                                                                      NEW LEBANON     OH    45345
EDITH VEREECKE TR THE EDITH VEREECKE LIVING TRUST 21138 HUNTINGTON                                                                                     HARPER WOODS    MI    48225‐1806
UA 03/22/93
EDITH W BOGUE                                     351 MARINERS GATE DR                                                                                 EDGEWATER       FL    32141‐8109
EDITH W FREES & WALTER P FREES TR UA 02/08/63     465 MARK RD                                                                                          ALLENDALE       NJ    07401‐1828
WALTER P FREES
                                              09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2               Address3        Address4          City               State Zip

EDITH W LEHR TR EDITH W LEHR REVOCABLE TRUST UA   22550 CHUBB RD                                                                                  NORTHVILLE         MI    48167‐9745
5/26/94
EDITH W MC COY                                    100 CHRISTWOOD BLVD                                                                             COVINGTON          LA    70433‐4606
EDITH WASHBURN                                    3 N MAIN ST                                                                                     WINDSOR            VT    05089‐1301
EDITH WORTMAN                                     28313 DIESING LN                                                                                MADISON HTS        MI    48071‐4534
EDITH Y THOBURN                                   189 MONCLAIR DR                                                                                 ROCHESTER          NY    14617‐3135
EDIWN A MISSAVAGE & JUANITA MISSAVAGE JT TEN      7746 CHERRY DR                                                                                  CHARLESTON         SC    29418
                                                                                                                                                  HEIGHTS
EDLRIDGE THOMAS KATZENBACH                        2222 48TH ST N W                                                                                WASHINGTON         DC    20007‐1035
EDMARINE BIRDSONG TR EDMARINE BIRDSONG TRUST      2303 WEST CLUB RD                                                                               DUNCAN             OK    73533‐3235
UA 07/14/97
EDMON WEST                                        419 E NOBLE ST                                                                                  LEBANON            IN    46052‐2837
EDMOND A RICHARDSON JR                            11593 RD 58                                                                                     DE GRAFF           OH    43318‐9767
EDMOND A ROBERT & KATHLEEN H ROBERT JT TEN        2143 MC CLELLAN ST                                                                              SCHENECTADY        NY    12309‐4123

EDMOND A STEPHENS                                 240 CLINTON RIVER DR                                                                            MT CLEMENS         MI    48043‐2366
EDMOND B GREGORY III & HELEN C GREGORY TEN ENT    201 WEST COLLEGE TERRACE                                                                        FREDERICK          MD    21701‐4843

EDMOND B MANNING                                  1143 ALEXANDERSVILLE RD                                                                         MIAMISBURG         OH    45342‐4284
EDMOND D LIGHT                                    1133 SW SUNFLOWEER DR                                                                           LEE'S SUMMIT       MO    64081‐3789
EDMOND D MCCONNEY                                 281 TILDEN                                                                                      PONTIAC            MI    48341‐1866
EDMOND E ROSS & BETTY JO ROSS JT TEN              1152 12TH ST SOUTH                                                                              REDMOND            OR    97756‐3025
EDMOND F MCCONNELL                                2515 NORTHPARK ST                                                                               THOUSAND OAKS      CA    91362‐1716
EDMOND G YOUNG                                    C/O JEAN YOUNG                         544 KINGS HWY BOX 67                                     MICKLETON          NJ    08056‐1406
EDMOND HYATT                                      6451 ASSYRIA RD                                                                                 NASHVILLE          MI    49073‐9551
EDMOND J BECK & MRS JOYCE ALICE BECK JT TEN       2510 WEST CEZANNE CIRCLE                                                                        TUCSON             AZ    85741‐4212
EDMOND J BRENNAN                                  68 W TACONIC RD                                                                                 WAPPINGERS FALLS   NY    12590‐6650

EDMOND J FOLSOM & EVA J FOLSOM JT TEN             840 WEST ILEX DRIVE                                                                             LAKE PARK          FL    33403‐2415
EDMOND J JOHNSON                                  6628 PINEVIEW TER                                                                               BRADENTON          FL    34203‐8850
EDMOND J MOFFETT                                  1781 W FENWICK ROAD                                                                             FENWICK            MI    48834‐9504
EDMOND J SCARNECCHIA                              1356 KEARNEY STREET                                                                             NILES              OH    44446‐3432
EDMOND J STEPHENS                                 1420 SQUAW CREEK RD                                                                             FOSTORIA           MI    48435‐9640
EDMOND J WAITES & JUNE H WAITES JT TEN            110 WILLOW DR                                                                                   ENTERPRISE         AL    36330‐1237
EDMOND JOSEPH RENO                                19833 AVALON                                                                                    ST CLAIR SHORES    MI    48080‐1706
EDMOND L CURTIS                                   4039 KENKLARE DR                                                                                DAYTON             OH    45432‐1950
EDMOND L LINCOLN                                  161 EAST 79TH ST #12A                                                                           NEW YORK           NY    10021‐0421
EDMOND L SNODGRASS                                1825 NOBLE ST                                                                                   ANDERSON           IN    46016‐2048
EDMOND M VENABLE                                  3506 S LEAVITT SW RD                                                                            WARREN             OH    44481‐9114
EDMOND M VENABLE & PATRICIA M VENABLE JT TEN      3506 S LEAVITT RD                                                                               WARREN             OH    44481‐9114

EDMOND MATTHEWS CUST DAVID MATTHEWS UGMA 7 UNDERHILL AVE                                                                                          SYOSSET            NY    11791‐5017
NY
EDMOND MATTIOLI                              390 HIDDEN HOLLOW LN                                                                                 FAIRFIELD          VA    24435‐2723
EDMOND R MCCARTHY & MARGUERITE A MCCARTHY JT 13003 LOS ESPANADA                                                                                   SAN ANTONIO        TX    78233‐5804
TEN
EDMOND R NICKERSON                           40 TORY LN                                                                                           E GREENWICH        RI    02818
EDMOND ROY                                   C/O VAUXHALL                                PO BOX 9022                                              WARREN             MI    48090‐9022
EDMOND S SZABO                               2125 ROMBOLD RD                                                                                      HERMITAGE          PA    16148‐2350
EDMOND SERCHIA CUST RONALD GUIDO SERCHIA     461 GREENWICH ST                                                                                     SAN FRANCISCO      CA    94133‐3014
UGMA CA
EDMOND T WHITE                               4020 TRENT AVE                                                                                       CLEVELAND          OH    44109‐1343
EDMOND TABORSKI                              144 ROBINSON HWY                                                                                     MCDONALD           PA    15057‐2204
EDMOND W GESSEL                              PO BOX 6                                                                                             ROCKPORT           WV    26169‐0006
EDMOND W PECK                                2997 ORBIT DRIVE                                                                                     LAKE ORION         MI    48360‐1977
EDMOND W PECK & CHARLEEN A PECK JT TEN       2997 ORBIT DRIVE                                                                                     LAKE ORION         MI    48360‐1977
EDMONIA S DISHMOND                           2685 W STATE ROAD 28                                                                                 TIPTON             IN    46072‐9788
EDMUND A & AGNES C STEVENS TR STEVENS LIVING 2832 A SHERBROOKE LANE                                                                               PALM HARBOR        FL    34684
TRUST UA 11/10/98
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EDMUND A BARBEAU                               1153 SUMNER PL                         APT A                                                    SANTA MARIA     CA    93455‐3460
EDMUND A BONIFACE III                          PO BOX 1032                                                                                     SANTA FE        NM    87504‐1032
EDMUND A GOWGIEL                               14928 DOGWOOD DR                                                                                ORLAND PARK     IL    60462‐3457
EDMUND A MARSHALL                              7984 STATE ROUTE 7                                                                              PROCTORVILLE    OH    45669‐7922
EDMUND A MIERA TR & GRACE M MIERA REVOCABLE    129 TORI PINES DR                                                                               SAINT LOUIS     MO    63129‐4757
TRUST UA 04/22/97
EDMUND A NONNEMACHER                           2435 SHAMROCK LN                                                                                MILLVILLE       NJ    08332‐6435
EDMUND A OBLOY                                 8602 JEFFRIES AVENUE                                                                            CLEVELAND       OH    44105‐6060
EDMUND A POST                                  15229 LYNN TER                                                                                  MINNETONKA      MN    55345‐5735
EDMUND A POST & GENEVA L POST JT TEN           15229 LYNN TER                                                                                  MINNETONKA      MN    55345‐5735
EDMUND A SINIARSKI JR                          PO BOX 1062                                                                                     EVART           MI    49631‐1062
EDMUND A SZELAP & PEARL A SZELAP JT TEN        23468 DUCHESS CT                                                                                NOVI            MI    48375‐3221
EDMUND A WARREN JR                             48 GEORGE ST                                                                                    MENDON          MA    01756‐1138
EDMUND ANTHONY KWAPICH                         150 OLD LIVERPOOL RD                   APT 520                                                  LIVERPOOL       NY    13088‐7309
EDMUND B HETTERLE                              4122 W TIERRA BUENA LN                                                                          PHOENIX         AZ    85053
EDMUND B MAC DONALD JR                         330 SIR FRANCIS DRAKE BLVD             STE D                                                    SAN ANSELMO     CA    94960‐2552
EDMUND B REDER                                 200 N US 23                                                                                     LINWOOD         MI    48634
EDMUND B WHITE                                 PO BOX 855                                                                                      HAMPSTEAD       MD    21074‐0855
EDMUND BABEL & DOLORES E BABEL JT TEN          3445 DROVER LANE                                                                                DARIEN          IL    60561‐1652
EDMUND C GRAINGER JR                           220 NORTH ST                                                                                    RYE             NY    10580‐1520
EDMUND C KENDALL & GLORIA KENDALL JT TEN       25240 LAHSER RD                        STE 3                                                    SOUTHFIELD      MI    48033‐2751
EDMUND C PAYNE JR                              553 THE GLADE                                                                                   ORINDA          CA    94563‐2727
EDMUND C PISARCZYK                             46 WANDA ST                                                                                     ROCHESTER       NY    14621‐2418
EDMUND C TREUTER & CAROLYN L TREUTER JT TEN    1145 FORD AVE                                                                                   WOODBURY        NJ    08096‐1154

EDMUND C WALSH JR                              22 VER PLANK ST                                                                                 ALBANY          NY    12206
EDMUND D HORVATH                               306 LAFAYETTE STREET                                                                            FLINT           MI    48503‐2118
EDMUND DOHERTY                                 54 SALISBURY ST                                                                                 WINCHESTER      MA    01890‐2437
EDMUND E BRANDT & ALBERTA M BRANDT JT TEN      1314 S SHORE DR                                                                                 ALBERT LEA      MN    56007‐3242
EDMUND E KOMASARA                              2345 OXFORD RD                         APT 803                                                  BERKLEY         MI    48072‐1760
EDMUND E KROLL JR                              200 RIVERSIDE BLVD APT 21A                                                                      NEW YORK        NY    10069
EDMUND E STRELING                              4135 DIEHL RD                                                                                   METAMORA        MI    48455‐9605
EDMUND F DICKMAN                               6955 MEAD RD                                                                                    ELSIE           MI    48831‐9775
EDMUND F DUROW & MORENE M DUROW JT TEN         590 MEISHER RD                                                                                  EAST CHINA      MI    48054
EDMUND F FUCHS                                 105 FRISBEE HILL                                                                                HILTON          NY    14468‐8907
EDMUND F GIROUX & M ANTOINETTE GIROUX JT TEN   42 ADAMS ST                                                                                     ARLINGTON       MA    02474‐6827

EDMUND F LANGLAND & DORIS E LANGLAND JT TEN    1723 PINE VALLEY DR                                                                             VIENNA          VA    22182‐2340

EDMUND F NAPIER & MARY L NAPIER JT TEN         7845 BANNER                                                                                     TAYLOR          MI    48180‐2146
EDMUND G BROWN & EVERETT G BROWN JT TEN        128 MAC DOUGAL ST 1‐A                                                                           NY              NY    10012‐5028
EDMUND G KELLERMAN                             APT 1C                                 9230 DEERCROSS PKY                                       CINCINNATI      OH    45236‐4526
EDMUND G MATECKI                               3829 16TH ST                                                                                    WAYLAND         MI    49348‐9555
EDMUND G PICKENS                               308 LANAFIELD CIR                                                                               BOONSBORO       MD    21713‐1107
EDMUND GOLOMB JR                               944 RAYELLEN DRIVE                                                                              BERWICK         PA    18603‐2422
EDMUND GOLOMB JR CUST MARK GOLOMB U/THE PA     144 E 9TH ST                                                                                    BERWICK         PA    18603‐3139
UNIFORM GIFTS TO MINORS ACT
EDMUND H KOORS                                 3207 MAXIM DRIVE                                                                                FORT WAYNE      IN    46815‐6124
EDMUND H MALLETT                               8886 S MAIN ST                                                                                  WINDHAM         OH    44288‐1030
EDMUND H OLSON CUST ANDREW D OLSON UGMA CT     6 DRUMLIN RD                                                                                    WEST SIMSBURY   CT    06092‐2906

EDMUND H PRAYOR                                1141 ALAMEDA AVENUE                                                                             YOUNGSTOWN      OH    44510‐1277
EDMUND HENNEL                                  6031 C DURHAM DR                                                                                LAKE WORTH      FL    33467‐8712
EDMUND J BLANCHARD                             N4803 S GOULD CITY RD                                                                           GOULD CITY      MI    49838‐8902
EDMUND J BURKE                                 66 PHILLIPS DR                                                                                  OLD BRIDGE      NJ    08857‐2432
EDMUND J CAMPBELL                              47‐718 AHUIMANU LOOP                                                                            KANEOHE         HI    96744‐5411
EDMUND J CZYCALLA                              3313 GLENBROOK                                                                                  BAY CITY        MI    48706‐2424
EDMUND J HAGGERTY                              1013 LAUREL TRAIL                                                                               MARTINSVILLE    NJ    08836‐2212
EDMUND J HAMPTON                               1092 OLD KINGS HWY                                                                              PILESGROVE      NJ    08098
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Name                                              Address1                               Address2             Address3          Address4          City              State Zip

EDMUND J HAYEST                                   680 JUNIPER LN                                                                                  BRUNSWICK         OH    44212‐4700
EDMUND J JOSEPH                                   105 CAMPENILE CT                                                                                EAST PEORIA       IL    61611‐1811
EDMUND J KEILTY JR                                1723 SHENANDOAH STREET                                                                          LOS ANGELES       CA    90035‐4324
EDMUND J LOMASIEWICZ                              271 LENORA NW                                                                                   GRAND RAPIDS      MI    49504‐4940
EDMUND J RIGALI & MARYANN E RIGALI TR RIGALI      2604 PONDEROSA DRIVE                                                                            BELLEVUE          NE    68123‐1507
LIVING TRUST UA 12/27/96
EDMUND J RYAN & RUTH L RYAN JT TEN                14 HAWTHORNE RD                                                                                 MERRIMACK         NH    03054‐6807
EDMUND J SCANLAN JR                               1130 N KENILWORTH                                                                               OAK PARK          IL    60302‐1216
EDMUND J SCHUPP                                   LAHNSTRASSE 18                         64521 GROSS GERAU                      GERMANY
EDMUND J SCHUPP                                   LAHNSTRASSE 18                         D‐64521              GROSS GERAU       GERMANY
EDMUND J SKINGER & SOPHIE R SKINGER JT TEN        347 SCOTLAND RD                                                                                 NORWICH           CT    06360‐1644
EDMUND J SMYTH                                    10 SHADY LANE                                                                                   FANWOOD           NJ    07023‐1719
EDMUND J SPRANKLE JR CUST DEBORAH JEAN            1768 LEIMERT BLVD                                                                               OAKLAND           CA    94602‐1930
SPRANKLE UGMA CA
EDMUND J SPRANKLE JR CUST JENNIFER ANN SPRANKLE   1768 LEIMERT BLVD                                                                               OAKLAND           CA    94602‐1930
UGMA CA
EDMUND J STERNIAK JR                              1955 WEST ST                                                                                    SOUTHINGTON       CT    06489‐1031
EDMUND JOHN THOMAS                                RR 1 BOX 309                                                                                    HIGH BRIDGE       WI    54846‐9801
EDMUND K BAUMGARTNER                              18000 LOST TRAIL                                                                                CHAGRIN FALLS     OH    44023‐5840
EDMUND K GISSEL                                   3390 MAIDSTONE                                                                                  TRENTON           MI    48183‐3563
EDMUND KOSS & SOPHIE KOSS & RITA GRACE JT TEN     8267 GARY                                                                                       WESTLAND          MI    48185‐1745

EDMUND L BOROWIAK & LILLIAN G BOROWIAK JT TEN     24287 COURTLAND AVE                                                                             EASTPOINTE        MI    48021‐1328

EDMUND L BUZANOSKI SR & MRS JEAN R BUZANOSKI JT   251‐A COOKE ST                                                                                  PLAINVILLE        CT    06062‐1437
TEN
EDMUND L DOANE                                    1995 SUNNY ACRES DR                                                                             BEDFORD           IN    47421‐7832
EDMUND L KRAINSKI & DENISE E KRAINSKI JT TEN      1924 HENLEY PLACE                                                                               FAIRVIEW          PA    16415‐1986
EDMUND L NICKERSON                                10420 PONTIAC LAKE RD                                                                           WHITE LAKE        MI    48386‐1344
EDMUND L PANTANI & TERESA MAIRE PANTANI JT TEN    57 NOTCH HILL RD                                                                                NORTH BRANFORD    CT    06471‐1821

EDMUND L PARTIN                                   3625 PARMAN RD                                                                                  STOCKBRIDGE       MI    49285‐9512
EDMUND L WILLIS & MURIEL L WILLIS JT TEN          30481 JO COURT                                                                                  ROSEVILLE         MI    48066‐4020
EDMUND L ZAPP                                     210 N PENROSE ST                                                                                QUAKERTOWN        PA    18951‐1333
EDMUND M BAKER                                    9871 LITTLE RICHMOND ROAD                                                                       BROOKVILLE        OH    45309‐9320
EDMUND M CAMERON III                              PO BOX 1790                                                                                     MOREHEAD CITY     NC    28557‐1790
EDMUND M COWART JR                                4919 ANDROS DR                                                                                  TAMPA             FL    33629‐4801
EDMUND M GROEBLI                                  1100 MAJOR LN                                                                                   HOPKINSVILLE      KY    42240
EDMUND M HEALY                                    164 S MAIN ST                                                                                   ELLENVILLE        NY    12428
EDMUND M SULLIVAN JR TR U‐A WITH EDMUND M         4481 MERLIN WAY                                                                                 SOQUEL            CA    95073‐2340
SULLIVAN 11/12/76
EDMUND MAHONEY                                    1649 GREAT PLAIN AVE                                                                            NEEDHAM           MA    02492
EDMUND P DE PALMA                                 526 DENSMORE ST                                                                                 ALBION            NY    14411‐9744
EDMUND PAUL WOLOSZYN                              231 PARKWAY DRIVE                                                                               MOUNT LEBANON     PA    15228‐2127
EDMUND R DE HAVEN & MRS RUTH E DE HAVEN JT TEN    GOLDEN OAK LANE                                                                                 MARMORA           NJ    08223

EDMUND R DEMEO                                    41 JIONZO RD                                                                                    MILFORD         MA      01757‐1864
EDMUND R PODLASKI & MARY T PODLASKI JT TEN        18000 HANNAN RD                                                                                 NEW BOSTON      MI      48164‐9056
EDMUND R RUSSELL                                  11630 RYNN RD                                                                                   EMMETT          MI      48022‐3704
EDMUND R SAENZ                                    45335 DANBURY CT                                                                                CANTON TOWNSHIP MI      48188‐1046

EDMUND R SOBCZAK                                  50053 JOSEPHINE DR                                                                              MACOMB            MI    48044‐6308
EDMUND R VALDEZ                                   1103 AUGUSTA DR                                                                                 MEBANE            NC    27302‐8305
EDMUND RADZISZEWSKI & MARGARET RADZISZEWSKI       1451 DANBURY                                                                                    DES PLAINES       IL    60018‐1264
JT TEN
EDMUND S COPPER & LOURENE F COPPER JT TEN         726 CORBIN STREET                                                                               WEST MIFFLIN      PA    15122‐2004
EDMUND S DUNCAN                                   PO BOX 9001                                                                                     DENVER            CO    80209‐0001
EDMUND S SOBCZYNSKI JR                            5377 S THOMPSON RD                                                                              ONAWAY            MI    49765‐8885
EDMUND SHEERIN & JANET SHEERIN JT TEN             390 BUTTERCUP DR                                                                                ROCHESTER HILLS   MI    48307‐5209
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EDMUND SINDONI JR                                  204 MONROE AVE                                                                                  LINWOOD            NJ    08221‐1721
EDMUND SOCZAWA                                     4865 PARK MNR NORTH                    APT 2305                                                 SHELBY TWP         MI    48316
EDMUND SPEAR                                       19900 LITTLEFIELD ST                                                                            DETROIT            MI    48235‐1161
EDMUND T ELGES                                     47363 ROYAL RD                                                                                  MACOMB             MI    48044
EDMUND T EWING                                     441 CLERMONT LAKES DR                                                                           LEXINGTON          SC    29073‐9638
EDMUND T GOLOMB III & MARY JEAN GOLOMB JT TEN      49 BULL FARM RD                                                                                 NESCOPECK          PA    18635‐9603

EDMUND T KOSKI                                     21206 BRIERSTONE                                                                                HARPER WOODS   MI        48225‐2307
EDMUND T NUSSER JR                                 630 CRYSLER ST                                                                                  PITTSBURGH     PA        15226‐1305
EDMUND T RZEPECKI                                  59285 ROYAL OAK CT                                                                              WASHINGTON TWP MI        48094‐3729

EDMUND T RZEPECKI & GERALDINE A RZEPECKI JT TEN    59285 ROYAL OAK COURT                                                                           WASHINGTON TWP MI        48094‐3729

EDMUND T WARNOSKI                                  10219‐B 96TH AVENUE                                                                             PEORIA             AZ    85345‐6220
EDMUND TAYLOR & NINA TAYLOR JT TEN                 31173 E STATE HWY Y                                                                             RIDGEWAY           MO    64481‐8212
EDMUND TOIFL & JEAN D TOIFL JT TEN                 229 GWEN ROAD                                                                                   MERIDEN            CT    06451‐2781
EDMUND V LUDWIG                                    164 E COURT STREET                                                                              DOYLESTOWN         PA    18901‐4338
EDMUND W BONESTEEL                                 1120 JEFFERSON ST                                                                               LAPEER             MI    48446‐1316
EDMUND WALTER HIRNING                              829 JARROW ST                                                                                   HACIENDA HEIGHTS   CA    91745‐1319

EDMUND Z PITAK                                     1182 BISHOPS VIEW LN                                                                            KNOXVILLE          TN    37932‐2579
EDMUNDO A BENAVIDEZ                                220 CARTWRIGHT RD                                                                               WICHITA FALLS      TX    76305‐5400
EDMUNDO A GUAJARDO                                 196 S PINECREST                                                                                 BOLINGBROOK        IL    60440‐3058
EDMUNDO A VEGA                                     C/O ELIZABETH VEGA                     14987 OROGRANDE ST                                       SYLMAR             CA    91342‐5063
EDMUNDO G LAFUENTE                                 10453 SHERIDAN RD                                                                               MILLINGTON         MI    48746‐9336
EDMUNDSON P BONDURANT                              1045 N KINGS RD 104                                                                             WEST HOLLYWOOD     CA    90069‐6002

EDNA A BRYAN & JOHN F BRYAN JT TEN                 7935 SHELLDALE WAY                                                                              MONTGOMERY       OH      45242‐6430
EDNA A GILLUM E                                    2595 WASHINGTON MILL RD                                                                         BELLBROOK        OH      45305‐9755
EDNA A HOVER                                       2213 HOWE RD                                                                                    BURTON           MI      48519
EDNA A MAPES                                       PO BOX 77                              408 OHIO AVE                                             HOOVEN           OH      45033‐0077
EDNA A OAKES                                       276 ROOSEVELT RD                                                                                MASSENA          NY      13662‐3375
EDNA A RADEL & CAROLYN SUE RADEL WILLHOIT JT TEN   314 DEEPWOODS DR                                                                                HIGHLAND HEIGHTS KY      41076‐3793

EDNA A RADEL & F ROBERT RADEL II JT TEN            314 DEEPWOODS DR                                                                                HIGHLAND HEIGHTS KY      41076‐3793

EDNA A RAY                                         5521 NORTH INDEPENDENCE 109N                                                                    OKALHOMA CITY      OK    73112‐5663
EDNA AMY BERGMAN                                   C/O LAPKIN                             1520 CALLE DE MARIA                                      PALM SPRINGS       CA    92264‐8504
EDNA ARNHART                                       3214 PHOENIX DR                                                                                 MUSKOGEE           OK    74403‐6203
EDNA B HALLMARK & JANE A MORGAN JT TEN             1115 WOODNOLL DR                                                                                FLINT              MI    48507‐4711
EDNA B NELSEN EDNA B NELSEN TRUST UA 11/7/96       42824 JANETTE ST                                                                                ANTIOCH            IL    60002‐7400

EDNA B WEST                                   3393 S 500 E                                                                                         MIDDLETOWN         IN    47356
EDNA BARNETT CUST JOSEPH GREGORY BARNETT UTMA 316 E SOUTH ST                                                                                       HARRISBURG         IL    62946‐1925
IL
EDNA BLANCHE F WEBB                           1836 MOUNTSIDE DR                                                                                    NORTH AUGUSTA      SC    29841
EDNA BRITT                                    1754 PINEHURST ROAD                                                                                  SNELLVILLE         GA    30078‐2523
EDNA BRYANT                                   655 WILFERT DR                                                                                       CINCINNATI         OH    45245‐2039
EDNA C HELSBERG                               W8353 FAWN AVE                                                                                       OXFORD             WI    53952‐9092
EDNA C HOOSER                                 3460 WESTWAY DR                                                                                      COLUMBUS           OH    43204‐1138
EDNA CANTRELL                                 6220 CORDELL                                                                                         ROMULUS            MI    48174‐2472
EDNA CAROL JARRETT                            PO BOX 54                                                                                            PINCH              WV    25156‐0054
EDNA CASCIOLA SMITH                           PO BOX 3378                                                                                          TOPSAIL BEACH      NC    28445‐9831
EDNA CHANEY                                   PO BOX 34                                                                                            MILL CREEK         WV    26280‐0034
EDNA CHANEY                                   1534 AVE A                                                                                           FLINT              MI    48503‐1480
EDNA CHRISTINE MISCOI                         912 E CENTER RD                                                                                      KOKOMO             IN    46902‐5387
EDNA CORY INVESTMENTS INC                     C/O BILL J CORY 529 WEST 18TH ST                                                                     CONCORDIA          KS    66901
EDNA COYLE                                    36 SURREY LANE                                                                                       PLAINVIEW          NY    11803‐5128
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EDNA CROLEY EARLY & JERRY WAYNE CROLEY JT TEN     PO BOX 478                                                                                     WILLIAMSBURG    KY    40769‐0478

EDNA D ANASTASIO                                  1 HIGHGATE DR 119                                                                              EWING           NJ    08618‐2001
EDNA D CASH                                       37602 FOUNTAIN PARK CIR               APT 486                                                  WESTLAND        MI    48185‐5631
EDNA D JOHANSEN                                   15 STAAL LN                                                                                    LODI            NJ    07644‐3043
EDNA D KALKER                                     916 GARVEY AVE                                                                                 ELSMERE         KY    41018‐2500
EDNA E BUTLER                                     3321 JERREE ST                                                                                 LANSING         MI    48911‐2628
EDNA E JOHNSON                                    158 GRANPIAN RD                                                                                ST LOUIS        MO    63137‐3801
EDNA E MOSS                                       135 PLANTATION DR                                                                              STOCKBRIDGE     GA    30281‐4847
EDNA E NORMAN KENNETH ALLEN NORMAN & DEAN M       10176 ALGOMA AVE NE                                                                            ROCKFORD        MI    49341‐9123
NORMAN JT TEN
EDNA E PEARL                                      240 EAST BANK ST                                                                               ALBION          NY    14411‐1214
EDNA E WELLS                                      PO BOX 138                                                                                     LAND O LAKES    FL    34639
EDNA EGOLF                                        6105 HADES CHURCH RD                                                                           CHAMBERSBURG    PA    17201‐8550
EDNA EILEEN GUADAGNOLO                            17465 E FRONT ST                                                                               LINDEN          CA    95236‐9511
EDNA ESTEP                                        5962 BOWEN RD                                                                                  CANAL WNCHSTR   OH    43110‐9620
EDNA F CAPPELL                                    1502 HOSNER RD                                                                                 OXFORD          MI    48370‐2618
EDNA F HILTON                                     253 EATON AVE                                                                                  EATON           OH    45320‐1027
EDNA F MASON                                      599 BARNARD AVE                                                                                MANSFIELD       OH    44903‐1825
EDNA F TYLINSKI & DONALD TYLINSKI JT TEN          420 11TH ST                                                                                    FORD CITY       PA    16226‐1224
EDNA F TYLINSKI & LORI TYLINSKI JT TEN            420 11TH ST                                                                                    FORD CITY       PA    16226‐1224
EDNA FAULK JACKSON                                905 6 TH AVE                                                                                   ALBANY          GA    31701‐1742
EDNA FLORINKI                                     4101 LINCOLN                                                                                   DEARBORN HTS    MI    48125‐2565
EDNA FRANKS                                       ROUTE ONE BOX 373                                                                              VANDALIA        IL    62471‐9610
EDNA G BELL                                       1508 N MAIN ST                                                                                 WILLIAMSTOWN    KY    41097‐9457
EDNA G BOLTON                                     1776 6TH ST NW                                                                                 WINTER HAVEN    FL    33881‐2151
EDNA G FISHER                                     21119 S BRIAR RD                                                                               PECULIAR        MO    64078‐9537
EDNA G PICCIRILLI                                 23 PIERCE AVE                                                                                  SHARPSVILLE     PA    16150‐1213
EDNA G SMITH                                      2029 ELM DRIVE                                                                                 FREMONT         OH    43420‐3114
EDNA G THOMPSON                                   1003 E MORGAN ST                                                                               KOKOMO          IN    46901‐2561
EDNA GARY                                         2307 W 19TH PL                                                                                 GARY            IN    46404‐2751
EDNA H HAMPTON                                    5577 OAKMAN BLVD                                                                               DETROIT         MI    48204‐3010
EDNA H LANGERFELD                                 15 AMELIA CT                                                                                   SARATOGA SPGS   NY    12866‐6313
EDNA H MAKIYA                                     1357 KAELEKU ST                                                                                HONOLULU        HI    96825
EDNA H MARTENSON & THERN I MARTENSON JR JT TEN    485 CHELSEA DR                                                                                 HENDERSON       NV    89014‐3910

EDNA H SCOTT                                      560 S PARK BLVD                                                                                LANSING         MI    48910‐3360
EDNA H WONG                                       928 N SAN JOSE ST                                                                              STOCKTON        CA    95203‐2160
EDNA HAGGERTY                                     22 FARNAM PLACE                                                                                ALBANY          NY    12205‐2802
EDNA HENRY                                        148 WILDERNESS TR                                                                              COSBY           TN    37722‐2908
EDNA HOLLIDAY                                     1635 S 24TH ST                                                                                 QUINCY          IL    62301‐6923
EDNA HOLLON                                       ATTN MARY H RISNER                    860 E SPENCER RD                                         CAMPTON         KY    41301‐8515
EDNA HOUSTON                                      564 GREENLEA DRIVE                                                                             HAMILTON        OH    45013‐4104
EDNA I EASTBURN                                   1121 PAUL ST PO BOX 101                                                                        MT MORRIS       MI    48458‐1104
EDNA I FISCHER                                    1644 GASCHE ST                                                                                 WOOSTER         OH    44691‐2408
EDNA I FISHER                                     780 CONVERSE ST                                                                                LONGMEADOW      MA    01106‐1719
EDNA J ASKEY                                      2790 E SHEEPNECK RD                                                                            CULLEOKA        TN    38451‐2309
EDNA J LEONARD                                    215 BALDWIN ST                                                                                 BEREA           KY    40403‐1458
EDNA J MILLEN                                     5146 HARVARD                                                                                   CLARKSTON       MI    48348‐3113
EDNA J MOONEY                                     1205 FLETCHER AVE SW                                                                           DECATUR         AL    35601‐3627
EDNA J POBOCIK TOD LOUISE M BLYTHE SUBJECT TO STA 5066 BRADY ST                                                                                  SWARTZ CREEK    MI    48473‐1329
TOD RULES
EDNA J SLEDD                                      401 S 25TH                                                                                     SAGINAW         MI    48601‐6410
EDNA JEAN GUILFORD                                7214 NE 153RD ST                                                                               KENMORE         WA    98028‐4611
EDNA JEAN SIMPSON                                 518 HARLAN ROAD S W                                                                            ATLANTA         GA    30311‐2006
EDNA KEEBAUGH                                     122 KNOCH RD                                                                                   SAXONBURG       PA    16056‐9418
EDNA KERN                                         2230 BROOKE AVE                                                                                BEDFORD         IN    47421‐5542
EDNA KRIEGER                                      15 SIERRA RD                                                                                   ROCHESTER       NY    14624‐4524
EDNA L BORDINO                                    64 ALPINE RIDGE RD                                                                             WEST MILFORD    NJ    07480‐3117
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EDNA L CARSON                                   2509 DORSET STREET                                                                             MURFREESBORO      TN    37130‐1459
EDNA L CRUMM                                    3158 MORRISH RD                                                                                FLUSHING          MI    48433‐2211
EDNA L DODMAN & RICHARD M DODMAN TEN COM        402 S CORONA AVE                                                                               CLEARWATER        FL    33765‐3410

EDNA L DOLBER                                   23 WASHINGTON AVE                                                                              WALTHAM           MA    02453‐5037
EDNA L EGOLF & AMOS E EGOLF TEN ENT             6105 HADES CHURCH RD                                                                           CHAMBERSBURG      PA    17201‐8550
EDNA L GLEASON                                  252 ROBERT BRADLEY AVE RM 22                                                                   ALAMOGORDO        NM    88310
EDNA L GRABER                                   11622 AUCUBA LN                                                                                HOUSTON           TX    77095‐3857
EDNA L GRIGSBY                                  392 GOING STREET                                                                               PONTIAC           MI    48342‐3427
EDNA L HILL                                     78870 US HIGHWAY 231                                                                           BLOUNTSVILLE      AL    35031‐5853
EDNA L MAY                                      20 SCHERER BLVD                                                                                FRANKLIN SQUARE   NY    11010‐2606

EDNA L MOORE & TERRANCE J MOORE JT TEN          572 SNYDER RD                                                                                  HIGHLAND          MI    48357‐2859
EDNA L NIEMITZ                                  867 N LAMB BLVD SPACE 144                                                                      LAS VEGAS         NV    89110‐2324
EDNA L SIMMONS                                  1831 SIMMONS NE                                                                                GRAND RAPIDS      MI    49505‐5452
EDNA L SMALLEY                                  1933 BARKS ST                                                                                  FLINT             MI    48503‐4303
EDNA L SPENCER                                  1313 BROADWAY AVE                                                                              PARKERSBURG       WV    26101‐6759
EDNA L THORNTON                                 181 SILVER MOSS DR                                                                             VERO BEACH        FL    32963
EDNA L WILEY                                    3389 LA COSTE LN                                                                               COLUMBUS          OH    43228‐7027
EDNA LOMBARDO                                   2 JAMES ST                                                                                     MERIDEN           CT    06451‐3122
EDNA M ALLPORT                                  330 W OAK ORCHARD ST                                                                           MEDINA            NY    14103‐1550
EDNA M ARNDT                                    511 BARRY ROAD                                                                                 ROCHESTER         NY    14617‐4740
EDNA M BALOG                                    1565 N OXFORD RD                                                                               OXFORD            MI    48371‐2533
EDNA M BIAS                                     2129 MCGREGOR DRIVE                                                                            RANCHO CORDOVA    CA    95670‐2418

EDNA M BROOKHOUSE                               916 W 9TH ST                                                                                   THE DALLES        OR    97058‐1112
EDNA M BRYANT                                   1213 BERTRAND                                                                                  MANHATTAN         KS    66502‐5129
EDNA M COLBY                                    40 DRAKE RD                                                                                    WARWICK           RI    02888‐4625
EDNA M CONN & CHARLES E CONN JT TEN             8580 WESTCHESTER LANE                                                                          CANTON            MI    48187‐1936
EDNA M CRABTREE & EVELYN M CRABTREE JT TEN      4809 SW WISTERIA COURT                                                                         DUNNELLON         FL    34431‐3983
EDNA M CRISAFI                                  42 MALL RD                            APT 305                                                  BURLINGTON        MA    01803‐4564
EDNA M DANNER                                   1145 EASTLAND AVE                                                                              WARREN            OH    44484‐4513
EDNA M EASTLACK                                 111 ASBURY RD                                                                                  EGG HARBOR TWP    NJ    08234‐7104

EDNA M EATON                                    230 WELCOME WAY BLVD W                APT D16                                                  INDIANAPOLIS      IN    46214‐4949
EDNA M ERDMAN                                   4804 CADILLAC PL                                                                               SAGINAW           MI    48604‐1004
EDNA M EUTSLER                                  2544 W STATE ROAD 28                                                                           ALEXANDRIA        IN    46001‐8673
EDNA M FREDERICK                                4005 VADER CT                                                                                  ENGLEWOOD         OH    45322‐2554
EDNA M FRINK                                    29 MADISON AVENUE                                                                              JERSEY CITY       NJ    07304‐2818
EDNA M GOLDEN                                   211 HICKORY DR                                                                                 LONGWOOD          FL    32779‐2421
EDNA M GREEN TR EDNA M GREEN TRUST UA 2/19/99   2199 HIGHLAND DR                                                                               HIGHLAND          MI    48357‐4913

EDNA M HALE                                     13056 CASTLE                                                                                   SOUTHGATE         MI    48195‐1127
EDNA M HILLIS CUST HEATHER J KINNEY UTMA IL     400 KINGSBURY BLVD                                                                             FREDERICKTOWN     MO    63645‐7930
EDNA M HOLLAND                                  155 LAUREL CI                                                                                  LAVONIA           GA    30553‐2144
EDNA M JACKSON                                  506 RUTHERFORD LN                                                                              COLUMBIA          TN    38401‐5091
EDNA M JAMESON                                  221 CAPE SABLE DR                                                                              NAPLES            FL    34104‐4118
EDNA M KAIDY                                    112 GATEWAY BLVD                                                                               WESTVILLE         NJ    08093
EDNA M LARSON & CARNA E LARSON JT TEN           APT 204                               301 E BURNSVILLE PKWY                                    BURNSVILLE        MN    55337‐2871
EDNA M LINNEMANN                                62‐22 62ND ROAD                                                                                MIDDLE VILLAGE    NY    11379‐1019
EDNA M LLOYD & PEGGY D ROBBINS JT TEN           202 HIDDEN POND CIRCLE                                                                         AURORA            IL    60504‐5866
EDNA M LOMBARDO                                 2 JAMES ST                                                                                     MERIDEN           CT    06451‐3122
EDNA M LONG & CAROL JANE PIETRUSZAK JT TEN      PO BOX 36                                                                                      DAMERON           MD    20628‐0036
EDNA M LUBBE CUST KATHRYN LUBBE U/THE           1211 VIRGINIA ST                                                                               MOUNT VERNON      WA    98273‐4844
CALIFORNIAU‐G‐M‐A
EDNA M MACDONALD                                PO BOX 697                                                                                     MAYVILLE          MI    48744‐0697
EDNA M MARTIN                                   2565 CEDARVILLE ROAD                                                                           GOSHEN            OH    45122‐9467
EDNA M MAXWELL                                  106 BESTFIELD RD                                                                               WILMINGTON        DE    19804‐2722
EDNA M MEANS & JOHN L MEANS JT TEN              12105 S. MOSBY RD                                                                              EXCELSIOR SPG     MO    64024
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EDNA M METOYER                                 1107 ABBEY PLACE BLVD                                                                        FORT WAYNE       IN    46804‐3506
EDNA M MILLS & SUE L ELLIS JT TEN              1229 TOBIAS RD                                                                               CLIO             MI    48420
EDNA M MORGAN                                  69 PARKSIDE DR                                                                               KINCHELOE        MI    49788‐1231
EDNA M O'BRIEN & JANET KAY COZAD JT TEN        8300 NW BARRY RD                                                                             KANSAS CITY      MO    64153‐1634
EDNA M PAJELA                                  11843 FORGE DR                                                                               FRISCO           TX    75035‐6946
EDNA M PHELPS                                  6494 BLUE JAY DR                                                                             FLINT            MI    48506
EDNA M PHILLIP                                 1622 TUCKER ST                                                                               OAKLAND          CA    94603‐3880
EDNA M POST                                    255 N JEFFERSON                                                                              MASON            MI    48854‐1104
EDNA M PRIEST & LYLE L PRIEST JT TEN           1523 MCLAIN ST                                                                               LINCOLN PARK     MI    48146‐2355
EDNA M ROBERTS                                 437 HYPATHIA AVE                                                                             DAYTON           OH    45404‐2340
EDNA M ROMINE                                  56 E WHITNEY AVE                    APT 4                                                    SHELBY           OH    44875
EDNA M ROTTENBUCHER                            4720 RICHARDSON RD                                                                           ELKTON           MI    48731‐9749
EDNA M SATMARY                                 10602 SAND RIDGE RD                                                                          MILLFIELD        OH    45761‐9600
EDNA M SEIBERT                                 1910 ROCKLAND AVE                                                                            CINCINNATI       OH    45230‐1659
EDNA M SHANER                                  20 HERMITAGE HILLS BLVD                                                                      HERMITAGE        PA    16148‐5706
EDNA M SMEDLEY TR EDNA M SMEDLEY TRUST UA      84 EAST BELMORE DR                                                                           KAYSVILLE        UT    84037‐3505
11/10/93
EDNA M SMITH                                   610 WEST BAY DR                     APT 1                                                    LARGO            FL    33770‐3332
EDNA M SMITH                                   1851 OWEN ST                                                                                 FLINT            MI    48503‐4358
EDNA M SMITH                                   2252 WEDGEWOOD DR                                                                            DAYTON           OH    45434‐8007
EDNA M SOUTHARD CUST ASHLEY NICOLE ADDISON     6101 SPRING CREEK DR                                                                         GUNTERSVILLE     AL    35976
UTMA GA
EDNA M STEVENS                                 180 PARK RD                                                                                  OXFORD           CT    06478‐6128
EDNA M SUND TR EDNA M SUND REVOCABLE LIVING    25923 BUTTERNUT RIDGE RD                                                                     NORTH OLMSTED    OH    44070‐4512
TRUST UA 06/10/04
EDNA M TRUBY                                   3439 E PRESCOTT CIRCLE                                                                       CUYAHOGA FALLS   OH    44223‐3388
EDNA M VALTER                                  BOX 537                                                                                      RIDGWAY          IL    62979‐0537
EDNA M VANCE                                   1030 ACORN BAY DR                                                                            GALLOWAY         OH    43119‐8505
EDNA M VANDERMEER                              5086 SHORELINE BLVD                                                                          WATERFORD        MI    48329‐1666
EDNA M VANOY                                   2333 NORTON AVE                                                                              KANSAS CITY      MO    64127‐4417
EDNA M VOYLES                                  2116 BUECHEL BANK RD                APT 309                                                  LOUISVILLE       KY    40218‐3588
EDNA M WERLING                                 1801 NE LOTUS DR APT W112                                                                    BEND             OR    97701‐6171
EDNA M WILSON                                  591 MARY ERNA DRIVE                                                                          FAIRBURN         GA    30213‐2721
EDNA M WINKLER & GERALD W WINKLER JT TEN       103 W MECHANIC ST                   APT 305                                                  YALE             MI    48097‐3376
EDNA M WOHRNA                                  7815 OAK AVENUE                                                                              BALTIMORE        MD    21234‐5803
EDNA M WRIGHT                                  1250 G WOODBROOK CIR W                                                                       COLUMBUS         OH    43223‐3173
EDNA M YOUNGMAN                                508 SURF AVE                                                                                 BEACHWOOD        NJ    08722‐2635
EDNA MAE BRIGGS CHARLES EDWARD BRIGGS & JO ANN 533 ORCHARDVIEW                                                                              ROYAL OAK        MI    48073‐3325
BRIGGS JT TEN
EDNA MAE BROWN                                 5251 CHURCHHILL RD                                                                           SNOWFLAKE        AZ    85937
EDNA MAE RIEGLE                                5491 SHAMROCK LANE                                                                           FLINT            MI    48506‐2248
EDNA MAE SIERAKOWSKI                           PO BOX 19                                                                                    HADLEY           MI    48440‐0019
EDNA MAE STANSELL                              110 DELLWOOD DR                                                                              ATHENS           GA    30606‐4802
EDNA MAE VEIT                                  1314 MARY JANE LANE                                                                          WEST CHESTER     PA    19380‐4063
EDNA MAE YERHA                                 108 SEYMOUR CREEK DR                                                                         CARY             NC    27519‐5870
EDNA MANION ERWIN                              756 LONGWOOD ROAD                                                                            LEXINGTON        KY    40503‐4153
EDNA MAY CASTER                                617 PAM ST                                                                                   ST CHARLES       MO    63301‐4866
EDNA MC CUE WALTER TR MARTHA ANNETTE LANDS     BOX 537                                                                                      RIDGWAY          IL    62979‐0537
TRUST UA 02/22/94
EDNA MCCUE VALTER                              BOX 537                                                                                      RIDGWAY          IL    62979‐0537
EDNA MCGHEE                                    3609 STORMONT RD                                                                             DAYTON           OH    45426‐2357
EDNA MEISEL                                    509 JEFFERSON AVE                                                                            FRANKFORT        SD    57440‐2131
EDNA MORELLI                                   471 PRINGLE ST                                                                               KINGSTON         PA    18704‐1716
EDNA MOSS HENSLEY                              13501 SPRING RUN RD                                                                          MIDLOTHIAN       VA    23112‐1509
EDNA MULLINS                                   255 WEST CORNECC                                                                             PONTIAC          MI    48340
EDNA N BROWN                                   2108 E MEMORY LANE                                                                           ANDERSON         IN    46013‐9622
EDNA NICK                                      76 OLD TURNPIKE RD                                                                           WAYNE            NJ    07470‐6925
EDNA O CLINTON                                 PO BOX 68                                                                                    KEARNEYSVILLE    WV    25430‐0068
EDNA O COHLEND                                 1220 BRANDYWINE BLVD                BELLEFONTE                                               WILMINGTON       DE    19809‐2305
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EDNA O GORDON                                    0750 E RUTH                                                                                           FLINT           MI    48505‐2249
EDNA P HEDGEPETH                                 3050 GREYSTONE DRIVE                                                                                  SEMMES          AL    36575‐6350
EDNA P LORD TR EDNA P LORD TRUST UA 04/17/06     11313 LAUREL RD                                                                                       LAUREL          DE    19956‐3558

EDNA P VAUGHN                                    2131 E 38TH ST                                                                                        ANDERSON        IN    46013‐2116
EDNA PAVEL                                       14 STRATFORD RD                                                                                       BUFFALO         NY    14216‐1804
EDNA R DORR                                      440 N MILLER                                                                                          SAGINAW         MI    48609‐4835
EDNA R FILL                                      120 EVERGREEN DR                                                                                      TONAWANDA       NY    14150‐6438
EDNA R HENRY & DENNIS L HENRY JT TEN             11056 RAVENNA WAY                                                                                     INDIANAPOLIS    IN    46236‐9609
EDNA R LEWIS                                     492 APPLE PIE RIDGE RD                                                                                WINCHESTER      VA    22603‐4303
EDNA R MAYHUGH                                   816 ANITA DR                                                                                          OLD HICKORY     TN    37138‐3302
EDNA R MONROE                                    1905 WEST MCCLELLAN                                                                                   FLINT           MI    48504‐3816
EDNA R ROTHWELL                                  10 MILLAN ST                                                                                          WESTOVER        WV    26501‐4322
EDNA R WIRTLEY                                   5968 SERINA WAY                                                                                       MIDDLETOWN      OH    45044‐7824
EDNA RICHARDS                                    86‐07 JAMAICA AVE                                                                                     WOODHAVEN       NY    11421‐2043
EDNA ROGOVICH & EDNA M BERISH JT TEN             1812 W HACIENDA PL                                                                                    ANAHEIM         CA    92804‐2531
EDNA RUTH LEUGERS                                308 MICHAEL AVE                                                                                       HAMILTON        OH    45011‐4867
EDNA S COX                                       6728 CHAPEL HILL RD                                                                                   INDIANAPOLIS    IN    46214‐3732
EDNA S ROBINSON & BYRON JOE ROBINSON JT TEN      3175 SYL FYTVL HWY                                                                                    SYLACAUGA       AL    35150

EDNA SHELTON & CHESTER SHELTON JT TEN            2831 WILLOW ST                                                                                        FRANKLIN PARK   IL    60131‐3025
EDNA STONE & RAYMOND IVEY JT TEN                 415 SMITH STREET                                                                                      DETROIT         MI    48202‐2833
EDNA T BOCCHIO                                   90 WASHINGTON PL                                                                                      TOTOWA          NJ    07512‐2539
EDNA T BREEST                                    613 MEIGS ST                                                                                          SANDUSKY        OH    44870‐3814
EDNA TALLEY BROWN                                7409 DEAVER DR                                                                                        N RICHLND HLS   TX    76180
EDNA V BOYER                                     1451 PINEVILLE RD                       APT B4‐1                                                      NEOSHO          MO    64850‐2725
EDNA V HINGST                                    21100 33 MILE RD                                                                                      ARMADA          MI    48003
EDNA VAN BAALEN                                  10151 INFIRMARY RD                                                                                    MANTUA          OH    44255‐9493
EDNA W DAVIS                                     BOX 6                                                                                                 BURLINGTON      IN    46915‐0006
EDNA W FALLS                                     262 RAINTREE DR                                                                                       DANVILLE        IN    46122‐1452
EDNA WHITE                                       134 OLD PIERCE RD                                                                                     SOUTH FULTON    TN    38257
EDNA YOUNG BROWN & CHARLES HERBERT BROWN JT      216 ATHLONE BEACH                                                                                     BAY CITY        MI    48706‐1121
TEN
EDNA ZWEIFEL                                     1000 S MAIN ST                          APT 107                                                       FORT ATKINSON   WI    53538‐2553
EDNA‐MAY RODWELL                                 35‐601 GRENFELL DR                      LONDON ON                                N5X 4E5 CANADA
EDO DAURORA                                      678 STEUBENVILLE PIKE                                                                                 BURGETTSTOWN    PA    15021‐2211
EDOUARD J CARON                                  5715 BOILEAU                            MONTREAL QC                              H1N 1P4 CANADA
EDRA BOWERS                                      425 HAWTHORNE ST                                                                                      ELYRIA          OH    44035‐3736
EDRA C CROW                                      1156 26TH ST                                                                                          HONDO           TX    78861‐3000
EDRA DEL BROWN                                   24195 AWAHANEE RD                                                                                     SONORA          CA    95370‐9545
EDRAFAUN JUNE BUJARSKY                           6010 S MERIDIAN ST                                                                                    INDIANAPOLIS    IN    46217‐3755
EDRENE E WEARSCH                                 4237 MEMORY LN                                                                                        SAINT CLOUD     FL    34769
EDRICK ROWE                                      313 CLEARLAKE DR                                                                                      NASHVILLE       TN    37217‐4520
EDROLIN DOCKERY                                  7126 HIRSCH DR APT 225                                                                                CINCINNATI      OH    45237‐4048
EDROW W STARGELL                                 455 CATHERINE STREET                                                                                  YOUNGSTOWN      OH    44505‐1507
EDSEL E GREEN                                    205 HANSBURGER ST                                                                                     ALMONT          MI    48003‐8936
EDSEL F ANDERSON                                 3392 PRESCOTT CV                                                                                      MEMPHIS         TN    38111‐4710
EDSEL F ROARK                                    4258 CORDELL DRIVE                                                                                    DAYTON          OH    45439‐2706
EDSEL GARRETT                                    15850 ENGLISH RD                                                                                      MANCHESTER      MI    48158‐9656
EDSEL J BRITTING                                 3243 OAK RD                                                                                           DAVISON         MI    48423
EDSEL O PARISH                                   1202 WALNUT ST                                                                                        FLINT           MI    48503‐4837
EDSON A ATWOOD                                   43 WOODLINE DR                                                                                        PENFIELD        NY    14526‐2413
EDSON A WHIPPLE                                  2637 GODDARD RD                                                                                       TOLEDO          OH    43606‐3016
EDSON B WIEST                                    446 STATE ROUTE 503                                                                                   ARCANUM         OH    45304‐9428
EDSON E BURK JR                                  210 HURRICANE GROVE RD                                                                                SHELBYVILLE     TN    37160‐7361
EDSON FURLAN                                     GM DO BRASIL AVE ESTADO 2880            SAO CAETANO DO SUL   SAO PAULO BRASIL0   BRAZIL
EDSON M PLACE                                    13110 BUNKER CT                                                                                       CLIO            MI    48420‐8270
EDSON P HEFKE                                    63 BEV LN                                                                                             BROCKPORT       NY    14420‐1230
EDUARD E DREVERS                                 6501 IVANREST                                                                                         BYRON CENTER    MI    49315‐9419
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EDUARD ENGELBRECHT                             3123 AVALON                                                                                                     LANSING            MI    48911‐1806
EDUARD GERSCHTEYN & VICTORIA GERSCHTEYN JT TEN 175 BENNETT AVE                                                                                                 STATEN ISLAND      NY    10312‐4020

EDUARD NACHTWEH                                    524 OAKRIDGE TRL                                                                                            LEWISVILLE         TX    75077‐8535
EDUARDO A CACHUTT                                  APARTADO 3769                         ELTRIGAL VALENCIA ESTADOCARABOBO                  VENEZUELA

EDUARDO A CACHUTT & CLARA M DE CACHUTT JT TEN      APARTADO                              ELTRIGAL VALENCIA ESTADOCARABOBO                  3769 VENEZUELA

EDUARDO A GONZALEZ                                 2508 SPRINGWELLS ST                                                                                         DETROIT            MI    48209‐1125
EDUARDO A OCAMPO                                   78 CHARLEVOIX                                                                                               CLAWSON            MI    48017‐2032
EDUARDO ALVAREZ                                    33358 6TH ST                                                                                                UNION CITY         CA    94587
EDUARDO B FRIAS                                    7814 E PALM LANE                                                                                            MESA               AZ    85207
EDUARDO CUEVAS                                     528 JACKSON ST                                                                                              PORT CLINTON       OH    43452‐1834
EDUARDO D CASTILLO                                 12936 WENTWORTH ST                                                                                          ARLETA             CA    91331‐4838
EDUARDO GARZA JR                                   1904 WHITTIER AVE                                                                                           ANDERSON           IN    46011‐2102
EDUARDO GOMES                                      110 MORNINGSIDE DR                                                                                          OSSINING           NY    10562‐3109
EDUARDO J HOFBAUER                                 1250 WEST TEMPERANCE RD                                                                                     TEMPERANCE         MI    48182
EDUARDO J JACKSON                                  3421 21ST ST                          APT#4‐B                                                               LONG ISLAND CITY   NY    11106‐4733

EDUARDO L CUSI                                     ATTN GM ARGENTINA SA                  AVE ALVEAR 1491‐13B                BUENOS AIRES   1014 ARGENTINA
EDUARDO L LOZANO                                   6005 SOUTH ST RD 67                                                                                         ANDERSON           IN    46013‐9757
EDUARDO MARTINEZ                                   205 EDMUNDSON CT                                                                                            ARLINGTON          TX    76002‐3305
EDUARDO OLVERA JR                                  1729 NORTH OCONNOR RD                                                                                       IRVING             TX    75016‐2423
EDUARDO R GENERI                                   518 E MICHIGAN AVE                                                                                          ALBION             MI    49224‐1847
EDUARDO RODRIGUES                                  25 MONTAGUE ST                                                                                              YONKERS            NY    10703‐2340
EDUARDO S YGLESIAS                                 10444 BERTRAM                                                                                               DEARBORN           MI    48126‐1226
EDUARDO VAZQUEZ                                    11 TENNYSON STREET                                                                                          EDISON             NJ    08820‐1811
EDUARDO W ZOMOSA                                   TTE CORONEL GONGALEZ                  TABLAS 23                          BARCELONA 34   SPAIN
EDUART M ANTON                                     13672 DELAWARE DR                                                                                           MIDDLEBURG HT      OH    44130‐7021
EDUETA L WOLF & SHERRY N RADY JT TEN               4741 CHURCH AVE                                                                                             WISC RAPIDS        WI    54494
EDVARDO J MEDRANO                                  19126 WOOD                                                                                                  MELVINDALE         MI    48122‐2203
EDVINA M HORN & DIANE LEE HORN JT TEN              26201 CULVER ST                                                                                             SAINT CLAIR SHORES MI    48081‐3336

EDWANA J JORDAN                               3565 HAWTHORN CT                                                                                                 OAKLAND            MI    48363‐2658
EDWARD A ACTON                                2743 RUSSELL DR                                                                                                  HOWELL             MI    48843‐8805
EDWARD A AIMUTIS & MARY AIMUTIS JT TEN        60 GREENBRIAR BLVD                                                                                               BRICK              NJ    08724‐2001
EDWARD A ARMSTRONG                            EDWARD A & BETTY LEE H ARMSTRONG           1235 TILBURY LANE                                                     RICHMOND           VA    23229‐6067
EDWARD A ARNOLD                               10231 GODDARD ST                                                                                                 OVERLAND PARK      KS    66214‐2619
EDWARD A BELICA                               4495 CLARK ST                                                                                                    HAMBURG            NY    14075‐3809
EDWARD A BENZIO & BARBARA J BENZIO JT TEN     4633 SW HAMMOCK CREEK DR                                                                                         PALM CITY          FL    34990‐7932
EDWARD A BERTOUILLE                           1635 BIRCHCREST                                                                                                  DEARBORNE          MI    48124‐4045
EDWARD A BIELEK                               15618 MUNN RD                                                                                                    CLEVELAND          OH    44111‐2022
EDWARD A BIKULCIUS                            809 W BOGART RD                                                                                                  SANDUSKY           OH    44870‐7303
EDWARD A BLEDSOE                              6824 EAST ROAD                                                                                                   JACKSONVILLE       FL    32216‐5117
EDWARD A BRETZFELDER                          12520 EDGEWATER DR #1407                                                                                         LAKEWOOD           OH    44107‐1639
EDWARD A BREVICK & ELAINE BREVICK JT TEN      2746 PATRICIA DR                                                                                                 MUSKEGON           MI    49445‐3240
EDWARD A BRUNS & MARY K BRUNS JT TEN          18608 MARIES RD 531                                                                                              ROLLA              MO    65401‐6469
EDWARD A BRZOSTOWSKI & DOROTHY BRZOSTOWSKI JT 31986 GILBERT DR                                                                                                 WARREN             MI    48093‐1112
TEN
EDWARD A BUCHACZ & VIRGINIA A BUCHACZ JT TEN  39755 PINEBROOK DR                                                                                               STERLING HEIGHTS   MI    48310‐2437

EDWARD A BUCHAN                                    85 PORT MASTER DR ON                                                                    L2N 7H5 CANADA
EDWARD A CAHILL III CUST EDWARD A CAHILL IV UGMA   3701 RUNNING FOX DR                                                                                         MARIETTA           GA    30062‐1014
PA
EDWARD A CALHOUN                                   PO BOX 135                                                                                                  VILLA RIDGE        IL    62996‐0135
EDWARD A CARVER                                    4015 SUMMIT RIDGE RD                                                                                        GREENWOOD          IN    46142‐9271
EDWARD A CASSIDY                                   3875 DARIEN HIGHWAY                                                                                         BRUNSWICK          GA    31525
EDWARD A CHORBA                                    3312 HALL DR                                                                                                GAINSVILLE         GA    30501‐7580
EDWARD A CICHON JR                                 53 5TH ST                             #B                                                                    BRISTOL            CT    06010‐5336
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EDWARD A CLAYTON                                  14675 COLLINGHAM                                                                                DETROIT           MI    48205‐1221
EDWARD A CLOSE                                    PO BOX 893                             119 FLORIDA BLVD                                         CRYSTAL BEACH     FL    34681‐0893
EDWARD A COLLINS JR & JUNE L COLLINS JT TEN       543 E OLD A J HWY                                                                               JEFFERSON CITY    TN    37760
EDWARD A CONNER                                   618 FAIRFIELD DR                                                                                FLUSHING          MI    48433‐1426
EDWARD A COOK                                     8190 LITTLE RICHMOND ROAD                                                                       TROTWOOD          OH    45426‐4404
EDWARD A COTTRILL                                 12135 PUDDLE PLACE                                                                              NOKESVILLE        VA    20181‐3640
EDWARD A COUCHOT                                  10285 ARMOLD RD                                                                                 UNION CITY        OH    45390‐8653
EDWARD A COURREGES                                9528 HAZELTON                                                                                   REDFORD TWP       MI    48239‐1402
EDWARD A COX & MRS FLORENCE H COX JT TEN          20319 HARDING                                                                                   OLYMPIA FIELDS    IL    60461‐1417
EDWARD A COX CUST CATHERINE M COX UTMA IL         119 INDIAN TRAIL RD                                                                             OAKBROOK          IL    60523‐2794
EDWARD A COX JR CUST MICHAEL JAMES COX UGMA IL    119 INDIAN TRAIL RD                                                                             OAKBROOK          IL    60523‐2794

EDWARD A COX JR CUST ROSEMARY P COX UTMA IL       119 INDIAN TRAIL RD                                                                             OAK BROOK         IL    60523‐2794

EDWARD A CYTLAK                                   6112 BURRWOOD                                                                                   SYLVANIA          OH    43560‐1003
EDWARD A DAHLKE                                   908 SHELDO STREET                                                                               EL SEGUNDO        CA    90245
EDWARD A DAULEY                                   411 MAPLE BROOK ROAD                                                                            BELLINGHAM        MA    02019‐1669
EDWARD A DE CLERCK & MARY KATHRYN DE CLERK JT     2202 QUAILWOOD DR                                                                               ENID              OK    73703‐2054
TEN
EDWARD A DOWNS                                    11247 PUTMAN ROAD                                                                               UNION             OH    45322‐9765
EDWARD A DROZDAL                                  79 THAYER ST                                                                                    SOUTH DEERFIELD   MA    01373‐1156

EDWARD A DULSKY                                   30337 FREDA                                                                                     WARREN            MI    48093‐2293
EDWARD A DURRENBERGER                             30 SANDELWOOD COURT                                                                             GETZVILLE         NY    14068‐1342
EDWARD A ELLSWORTH                                1201 RIVA RIDGE CT                     APT 133                                                  COLUMBUS          OH    43230‐8804
EDWARD A EY & CLAUDIA L EY JT TEN                 288 WAGNER DR                                                                                   CLAREMONT         CA    91711‐2803
EDWARD A FERGUSON                                 177 VANBUREN CIRCLE                                                                             DAVISON           MI    48423‐8563
EDWARD A FISCHER JR                               717 BARRON AVE                                                                                  WOODBRIDGE        NJ    07095‐3208
EDWARD A FRADER                                   2926 E LAUREL                                                                                   MESA              AZ    85213‐2434
EDWARD A FRITZ & NORINE FRITZ TEN ENT             825 WEST CENTER RD                                                                              ESSEXVILLE        MI    48732‐2005
EDWARD A GALLIN                                   11 LONSDALE DRIVE                      LONDON ON                              N6G 1T4 CANADA
EDWARD A GARGIULO & MARIE V GARGIULO TR UA        1013 EL RANCHO DR                                                                               SUN CITY CENTER   FL    33573‐6223
12/17/90 ROBERT G GARGIULO
EDWARD A GARMOE & MARY L GARMOE JT TEN            C/O GEORGE DRAKE                       194 JOSHUA ROAD                                          DIVIDE            CO    80814
EDWARD A GAYDOS                                   1303 PUTNAM AVE                                                                                 JANESVILLE        WI    53546‐2612
EDWARD A GAYDOS & JOAN N GAYDOS JT TEN            1303 PUTNAM AVE                                                                                 JANESVILLE        WI    53546‐2612
EDWARD A GLASER CUST LINDA K GLASER ROLDAN        6752 STEWART‐SHARON RD                                                                          BROOKFIELD        OH    44403‐9788
UTMA PA
EDWARD A GLASGOW & MARGARET ERDMANN JT TEN        1314 CATON AVE                                                                                  JOLIET            IL    60435‐5810

EDWARD A GNAT TR GNAT TRUST UA 06/20/94           9310 SO 46TH ST                                                                                 FRANKLIN          WI    53132‐9273
EDWARD A GOOD                                     PO BOX 2722                                                                                     STATELINE         NV    89449‐2722
EDWARD A GOODMAN                                  912 N MICHIGAN AVENUE                                                                           ATLANTIC CITY     NJ    08401‐2018
EDWARD A GROSSMANN                                PO BOX 478                                                                                      CRESSKILL         NJ    07626‐0478
EDWARD A GROSVENOR                                6091 S EDGE WAY                                                                                 GRAND BLANC       MI    48439‐9615
EDWARD A GUSTIS                                   PO BOX 32061                                                                                    CHICAGO           IL    60632‐0061
EDWARD A HALBLEIB                                 36 ANDREW ST                                                                                    VICTOR            NY    14564‐1206
EDWARD A HILL                                     3548 DUPONT AVE #309                                                                            MPLS              MN    55408‐4025
EDWARD A HOFFMAN TR UA 03/31/92 EDWARD A          701 FARMDALE                                                                                    FERNDALE          MI    48220‐1872
HOFFMAN TRUST
EDWARD A HUBBELL                                  234 EAST ELIZABETH DRIVE                                                                        CROWN POINT       IN    46307‐4938
EDWARD A HURDLE                                   6 PILON                                BLAINVILLE QC                          J7C 2B9 CANADA
EDWARD A HURDLE                                   6 PILON                                BLAINVILLE QC                          J7C 2B9 CANADA
EDWARD A ILGEN & MRS PATRICIA G ILGEN TEN COM     8250 BAINBRIDGE LOOP NE                                                                         LACEY             WA    98516‐6223

EDWARD A JAEGER & SANDRA L JAEGER JT TEN          240 E ROSE TREE RD                                                                              MEDIA            PA     19063‐1126
EDWARD A JEDLOWSKI                                3030 NEWPORT DR APT 8                                                                           FLINT            MI     48532‐4240
EDWARD A JIZMEJIAN & ISABELL JIZMEJIAN JT TEN     25348 LYNCASTLE LANE                                                                            FARMINGTON HILLS MI     48336‐1569
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EDWARD A JOHNSON                                  PO BOX 368                                                                                       SKANCATELES     NY    13152‐0368
EDWARD A JONES                                    116 NEEDHAM BLVD                                                                                 ROCKVALE        TN    37153‐4083
EDWARD A JOSEPH & MRS MAUREEN F JOSEPH JT TEN     665 BUTTONWOOD LANE                                                                              MIAMI           FL    33137‐3359

EDWARD A KATZENBERG                               46 BARNEY HILL RD                                                                                WAYLAND          MA   01778‐3602
EDWARD A KELLER                                   652 S MILITARY                                                                                   DEARBORN         MI   48124‐1000
EDWARD A KNAPP & JOCELYN S KNAPP JT TEN           7446 SPRING VILLAGE DR                  APT T05                                                  SPRINGFIELD      VA   22150‐4452
EDWARD A KOPKA                                    1551 RIDGE ROAD                                                                                  BAY CITY         MI   48708‐9177
EDWARD A KORNACKI JR & NANCY A KORNACKI JT TEN    29411 CRAWFORD CT                                                                                FARMINGTON HILLS MI   48331‐2422

EDWARD A KOROTNEY                                 2215 MONTIE                                                                                      LINCOLN PARK    MI    48146‐1233
EDWARD A KRESGE                                   BEAR CREEK TOWNSHIP                     750 LAUREL RUN ROAD                                      WILKES‐BARRE    PA    18702‐9459
EDWARD A KRIDER TR EDWARD A KRIDER REVOCABLE      5410 CRESTVIEW DRIVE                                                                             HIXSON          TN    37343‐3802
LIVING TRUST UA 4/10/98
EDWARD A KRZEMINSKI                               918 NEWPORT DR                                                                                   FENTON          MI    48430‐1854
EDWARD A KRZEMINSKI                               6929 LORRAINE DR                                                                                 COUNTRYSIDE     IL    60525‐4811
EDWARD A LANIS                                    15505 CO RD 30                                                                                   ELK RIVER       MN    55330‐7656
EDWARD A LEGAT                                    943 CENTER RD                                                                                    EASTLAKE        OH    44095‐2333
EDWARD A LONERGAN & NANCY D LONERGAN JT TEN       506 MAPLE AVE                                                                                    OLD SAYBROOK    CT    06475‐3035

EDWARD A LYNCH                                    2 FIRESTONE DR                                                                                   YARMOUTHPORT    MA    02675‐1616
EDWARD A MAC DERMAID                              32718 GRAND RIVER AVE                   UNIT C17                                                 FARMINGTON      MI    48336‐3151
EDWARD A MANDELKA                                 13817 SUMPTER                                                                                    CARLETON        MI    48117‐9546
EDWARD A MARTIN & LYLE E MARTIN JT TEN            80 WATERBUCK WAY                        PO BOX 1429                                              VERDI           NV    89439
EDWARD A MAS                                      6250 CROSSLAND BLVD                                                                              GURNEE          IL    60031‐4726
EDWARD A MATHEWSON                                3612 WATERLOO                                                                                    SAGINAW         MI    48603‐2075
EDWARD A MC GATHA                                 1735 E EVARSTON RD                                                                               TIPP CITY       OH    45371
EDWARD A MCCASLIN                                 9597 BRAY ROAD                                                                                   MILLINGTON      MI    48746‐9522
EDWARD A MCNAMARA                                 569 WEAVER AVE                                                                                   CHAMBERSBURG    PA    17201‐1453
EDWARD A MICHAELS CUST LUCAS EDWARD MICHAELS      8804 MOURNING DOVE COURT                                                                         GAITHERSBURG    MD    20879‐1775
UGMA MD
EDWARD A MIKLER                                   UNIT #3                                 270 BUFFALO ROAD                                         EAST AURORA     NY    14052‐1366
EDWARD A MIMA                                     1161 PORTSMOUTH DRIVE                                                                            PORT VUE        PA    15133‐3707
EDWARD A MITCHELL JR & ALVA S DRAUGHN MITCHELL    509 WHITNEY AVE                                                                                  NEW ORLEANS     LA    70114‐1341
JT TEN
EDWARD A MITCHEM                                  200 MT MISERY RD                                                                                 NEW OXFORD      PA    17350‐9511
EDWARD A MONGIAT JR                               107 HAYDEN ROWE ST                                                                               HOPKINTON       MA    01748‐2507
EDWARD A MORBITZER JR                             508 SECOND ST                                                                                    MARIETTA        OH    45750
EDWARD A MORROW                                   15 ORANGE DR S W                                                                                 WARREN          OH    44485‐4217
EDWARD A MULLIGAN                                 30 DELAWARE                                                                                      POLAND          OH    44514‐1624
EDWARD A MURPHY                                   116 E BRIG DR                                                                                    TUCKERTON       NJ    08087‐1617
EDWARD A NEAL                                     1907 N E 83RD ST                                                                                 KANSAS CITY     MO    64118‐8260
EDWARD A NOBLITT                                  55 CAPTAINS COURT                                                                                SPARTA          GA    31087‐5509
EDWARD A NOWAK                                    31764 HENNEPIN                                                                                   GARDEN CITY     MI    48135‐1450
EDWARD A NURNBERG                                 6497 BIRCHVIEW DR                                                                                SAGINAW         MI    48609‐7006
EDWARD A OBRIEN & MRS ELIZABETH OBRIEN JT TEN     1590 MIRIAM DR                                                                                   NORTH BRUNSWICK NJ    08902‐3020

EDWARD A OSENTOSKI                                2870 LOEFFLER RD RT 2                                                                            CHELSEA         MI    48118‐9638
EDWARD A PANOWITZ JR                              9 LAKE DR                                                                                        BEL AIR         MD    21014‐5942
EDWARD A PATTERSON                                2422 HILLVALE CIRCEL                                                                             LITHONIA        GA    30058
EDWARD A PAWLACZYK                                31544 SCONE ST                                                                                   LIVONIA         MI    48154‐4234
EDWARD A PELA                                     9842 QUAIL COVE CT                                                                               WINDERMERE      FL    34786‐8012
EDWARD A PELLEGRIN & JANET J PELLEGRIN JT TEN     753 OAKWOOD DR                                                                                   GATES MILLS     OH    44040‐9614

EDWARD A POSTE                                    1859 W PARK CT                                                                                   OLATHE          KS    66061‐4887
EDWARD A RALEY & MRS ELAINE M RALEY JT TEN        25914 WHISKEY CREEK RD                                                                           HOLLYWOOD       MD    20636‐2653
EDWARD A RATCLIFF                                 12400 WOLCOTT RD                                                                                 SAINT PARIS     OH    43072‐9608
EDWARD A REDMON                                   16224 ROBINDALE DR                                                                               STRONGSVILLE    OH    44136‐6362
EDWARD A REPP                                     PO BOX 3243                                                                                      COPPELL         TX    75019‐9243
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EDWARD A RICE                                   68196 FRAMPTON COURT                                                                             ROMEO            MI    48065
EDWARD A RICHTER                                111 W MILWAUKEE ST                                                                               JANESVILLE       WI    53548‐2913
EDWARD A RICO                                   1550 SOUTH BLUE ISLAND AVE UNIT        1025                                                      CHICAGO          IL    60608
EDWARD A ROBERTS                                4903 OLD CAPITAL TRAIL                                                                           WILMINGTON       DE    19808‐5211
EDWARD A ROBINSON                               11782 WHITEHILL                                                                                  DETROIT          MI    48224‐1657
EDWARD A ROMAN                                  63 LYNN ST                                                                                       LACKAWANNA       NY    14218‐2049
EDWARD A ROOF                                   1392 ELLIS RD                                                                                    YPSILANTI        MI    48197‐8946
EDWARD A ROSE                                   1270 SCHONCOIN JOHN DR                                                                           CHILOQUIN        OR    97624‐8790
EDWARD A ROZZI                                  37 JEPSON LANE                                                                                   MERIDEN          CT    06451‐5040
EDWARD A RUCKNER JR                             2988 RIVER REACH                                                                                 WILLIAMSBURG     VA    23185‐7543
EDWARD A RURADE JR                              9326 CASA GRANDE AVE                                                                             ENGLEWOOD        FL    34224‐8153
EDWARD A RYTTER & MRS PAULA L RYTTER JT TEN     19 CIDER HILL                                                                                    UPPER SADDLE     NJ    07458‐1714
                                                                                                                                                 RIVER
EDWARD A SCHADE                                 1883 HAVERHILL                                                                                   ROCHESTER HLS    MI    48306‐3239
EDWARD A SCHMIDT & MARY ALLEN P JAMES JT TEN    C/O MARK D FREEMAN                     900 MATSONFORD RD                                         WEST             PA    19428‐2706
                                                                                                                                                 CONSHOHOCKEN
EDWARD A SEIBERT                                6738 EVERGREEN CIR                                                                               DAYTON           OH    45424‐3959
EDWARD A SEITZ                                  697 W HURON                                                                                      PONTIAC          MI    48341‐1524
EDWARD A SHONKWILER                             7476 OPOSSUM RUN RD                                                                              LONDON           OH    43140‐9435
EDWARD A SIEMANS                                PO BOX 768                                                                                       BRIDGMAN         MI    49106‐0768
EDWARD A SIENICKI                               C/O MARY A SIENICKI                    4912 OLD HILL ROAD SEDGELY   FARMS                        WILMINGTON       DE    19807‐2522
EDWARD A SIMS                                   15100 ALEXANDER                                                                                  LIVONIA          MI    48154‐4000
EDWARD A SKODAK                                 233 S CANAL ST                                                                                   CHESANING        MI    48616‐1511
EDWARD A SKOWRON & OLGA SKOWRON JT TEN          1200 GLEN AVE                                                                                    PASADENA         CA    91103
EDWARD A SKROCH                                 1529 N BROADWAY                                                                                  FARGO            ND    58102‐2234
EDWARD A SLOTNICK                               1034 GRAND ISLE TERR                                                                             PALM BEACH       FL    33418‐4582
                                                                                                                                                 GARDENS
EDWARD A SPEELMAN                               709 EVANS AVE                                                                                    MIAMISBURG       OH    45342‐3311
EDWARD A STALMAH                                639 EAST 78TH LANE                                                                               MERRILLVILLE     IN    46410‐5616
EDWARD A STURM                                  129 MEADOW STREET                                                                                WINSTED          CT    06098‐1015
EDWARD A SWAN                                   RD 1                                                                                             JASPER           NY    14855
EDWARD A SWEITZER                               4344 HIGHWAY 87                                                                                  SAMSON           AL    36477‐3644
EDWARD A TEPE                                   1380 OAKHAVEN DR                                                                                 ROSWELL          GA    30075‐1824
EDWARD A THOM                                   350 S MISSISSIPPI RIVER BLVD                                                                     ST PAUL          MN    55105‐1210
EDWARD A THOMAS & ROSEMARY L THOMAS JT TEN      4513 BROY HILL CT                                                                                PEORIA           IL    61615‐2301

EDWARD A THOMPSON JR                            9616 LIBERTY RD                                                                                  FREDERICK        MD    21701‐3249
EDWARD A TICHNELL                               156 FARAH DRIVE                                                                                  ELKTON           MD    21921‐2228
EDWARD A TOMKO                                  850 HARMONY LANE                                                                                 N HUNTINGDON     PA    15642‐2425
EDWARD A TOPEL                                  332 N PALM ST                                                                                    JANESVILLE       WI    53545‐3596
EDWARD A TUMPA TR TUMPA FAM TRUST I             1518 OSTRANDER AVE                                                                               LA GRANGE PARK   IL    60526‐1354
EDWARD A TURNER                                 8659 E 150 S                                                                                     GREENFIELD       IN    46140‐9568
EDWARD A URBONOVIC                              453 S BALDWIN                                                                                    OXFORD           MI    48371‐4109
EDWARD A WACKERMAN                              10223 BRAEMAR DRIVE                                                                              POWELL           OH    43065‐9491
EDWARD A WALSH                                  1330 WINONA AVE                                                                                  AURORA           IL    60506‐3647
EDWARD A WASCHBUSCH                             629 S SARATOGA                                                                                   ST PAUL          MN    55116‐1523
EDWARD A WESTON                                 31844 BAYSHORE DR                                                                                PEQUOT LAKES     MN    56472‐3859
EDWARD A WILLE                                  7298 WESTLAW ROAD                                                                                VALLEY CITY      OH    44280‐9561
EDWARD A WILLE & BARBARA A WILLE JT TEN         7298 WESTLAW ROAD                                                                                VALLEY CITY      OH    44280‐9561
EDWARD A WILLIAMS                               820 JANET DR                                                                                     AUBURN           AL    36830‐6042
EDWARD A WILLIAMS                               210 WASHINGTON AVE                                                                               GLENDALE         OH    45246‐3718
EDWARD A WILLIAMS & HELEN B WILLIAMS JT TEN     820 JANET DRIVE                                                                                  AUBURN           AL    36830‐5042

EDWARD A WISNEWSKI CUST HANS MARTIN             4489 DETROIT ST                                                                                  SPRUCE           MI    48762‐9737
WISNEWSKI UGMA MI
EDWARD A WOLAK & MRS JOSEPHINE WOLAK JT TEN     712 WELLNER RD                                                                                   NAPERVILLE       IL    60540‐6728

EDWARD A WOLSKI                                 12184 W TORCH LK DR                                                                              RAPID CITY       MI    49676‐9330
EDWARD A ZACK                                   14823 KENTFIELD                                                                                  DETROIT          MI    48223‐2112
                                             09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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EDWARD A ZMICH & JANICE A ZMICH JT TEN             19316 WOODBINE                                                                                 DETROIT         MI    48219‐4675
EDWARD A ZURILLA                                   2044 GLENMONT DR                                                                               BRUNSWICK       OH    44212‐4092
EDWARD AARON LAYFIELD                              1914 OLD TURKEY POINT RD                                                                       ESSEX           MD    21221‐1905
EDWARD ADAM PERNICK                                221 STONEPOST ROAD                                                                             ROCK HILL       SC    29730‐7927
EDWARD ADAMOWICZ                                   1557 JARRATT DR                                                                                ROCKVALE        TN    37153‐4042
EDWARD AGUILERA                                    3820 E LUDLOW DRIVE                                                                            PHOENIX         AZ    85032‐5731
EDWARD ALBERT DZIOMBA                              11 GARY LN                                                                                     BUFFALO         NY    14227‐3234
EDWARD ALBERT SHIMANDLE                            6581 N RIVER RD                                                                                GENEVA          OH    44041‐8392
EDWARD ALEX COOPER                                 1837 JEWELL DR                                                                                 FLINT           MI    48505‐2439
EDWARD ALEXANDER SHEILDS                           6578 OLDE MILL RUN                                                                             REYNOLDSBURG    OH    43068‐1622
EDWARD ALEXANDER SHIELDS                           6578 OLDE MILL RUN                                                                             REYNOLDSBURG    OH    43068‐1622
EDWARD ALLEN COLLIER CUST TODD BENTLEY COLLIER     201 EAGLE CREEK RD                                                                             MOYOCK          NC    27958‐9365
UTMA VA
EDWARD ANSON VAN CLEEF                             419 LAKEBEND PLACE                                                                             BRANDON         MS    39042‐2265
EDWARD ANTHONY LE COCQ                             PO BOX 1321                                                                                    EASTSOUND       WA    98245‐1321
EDWARD ANTHONY TR UA 02/27/2007 EDWARD             3455 EAST MAPLE AVE                                                                            BURTON          MI    48529
ANTHONY LIVING TRUST
EDWARD ARCHIE MCMANN                               3186 MOORE ST                                                                                  MARLETTE        MI    48453‐1319
EDWARD ARNOLD KOCH                                 2200 EMILY CITI ROAD                                                                           LAPEER          MI    48446
EDWARD ARREDONDO                                   2220 SKINNER HWY                                                                               CLAYTON         MI    49235‐9682
EDWARD ASAUSKAS                                    6556 W 85TH ST                                                                                 OAK LAWN        IL    60459‐2376
EDWARD ASHOR & MARYANN ASHOR JT TEN                6633 SPRUCE DRIVE                                                                              BLOOMFIELD      MI    48301‐3055
EDWARD AUSTIN JR                                   P O BX144                                                                                      CRYSTAL CITY    MO    63019‐0144
EDWARD B ADAIR                                     13389 LANDWOOD DR                                                                              FISHERS         IN    46037
EDWARD B BOYD                                      1013 SHORE DR                                                                                  CHEBOYGAN       MI    49721‐9323
EDWARD B BYRD TR UA 08/02/93 EDWARD B BYRD         16301 SUGARLAND ROAD                                                                           BOYDS           MD    20841‐9582
REVOCABLE TRUST
EDWARD B CARTER CUST EMILY N QUEEN UGMA MI         4412 ST MARTINS DR                                                                             FLINT           MI    48507‐3727

EDWARD B CARTER CUST ERIC A QUEEN UGMA MI     4412 ST MARTINS DR                                                                                  FLINT           MI    48507‐3727
EDWARD B CARTER CUST MICHAEL E CARTER UTMA OK 12016 BLUEWAY AVE                                                                                   OKLAHOMA CITY   OK    73162‐1054

EDWARD B CARTER CUST NICOLE C QUEEN UGMA MI        4412 ST MARTINS DR                                                                             FLINT           MI    48507‐3727

EDWARD B CARTER CUST SARAH LYNN STARNES UGMA       7389 LOBDELL RD                                                                                LINDEN          MI    48451‐8765
MI
EDWARD B CARTER CUST STEVE E STARNES UGMA MI       7389 LOBDELL RD                                                                                LINDEN          MI    48451‐8765

EDWARD B COUVILLON                                 2870 WIMBELDON LN                                                                              FRIENDSWOOD     TX    77546‐5019
EDWARD B COX                                       304 OAKWOOD                                                                                    FLUSHING        MI    48433‐1881
EDWARD B CROFOOT II                                6457 WILLIAM ST                                                                                OMAHA           NE    68106‐1547
EDWARD B DEVANNEY                                  226 N REGENT ST                                                                                PORT CHESTER    NY    10573‐2624
EDWARD B DIMOCK                                    16623 COUNTY ROAD Q1                                                                           NAPOLEON        OH    43545‐5922
EDWARD B DUGGER & PATRICIA DUGGER JT TEN           300 WARBURTON AVE                                                                              HAWTHORNE       NJ    07506‐1218
EDWARD B DZIERWA                                   1126 OAK CLUSTER DR                                                                            HOWELL          MI    48843‐7351
EDWARD B ELLIOTT                                   994 BUCKSVILLE RD                                                                              AUBURN          KY    42206‐8020
EDWARD B FICK                                      23513 STONEHENGE BLVD                                                                          NOVI            MI    48375‐3774
EDWARD B FOX & PEARL H FOX TR THE PEARL & ED FOX   5205 WEST MARGUERITE RD               RT 1 BOX 750L                                            WILLCOX         AZ    85643‐9714
TRUST UA 04/06/01
EDWARD B GLASHAN                                   16 WILSON CIR W                                                                                RED BANK        NJ    07701‐5832
EDWARD B JACKSON                                   8024 SUNSET CI                                                                                 GRANDVIEW       MO    64030‐1462
EDWARD B KEARNEY                                   BOX 1161                                                                                       PONTE VEDRA     FL    32004‐1161
                                                                                                                                                  BEACH
EDWARD B KELSO                                     ROUTE 3                               BOX 3181                                                 TOWNSEND        GA    31331‐9418
EDWARD B LAKE                                      1030 CUTLASS AVE                                                                               MANAHAWKIN      NJ    08050‐2310
EDWARD B LAPAN JR & CYNTHIA L LAPAN JT TEN         4411 ALTADENA DR                                                                               BAY CITY        MI    48706‐2513
EDWARD B MINES                                     238 WILLARD DR                                                                                 HEWLETT         NY    11557‐1831
EDWARD B PETERS                                    5712 NOTTINGHAM                                                                                ST LOUIS        MO    63109‐2824
EDWARD B PREBA                                     28937 ELMWOOD                                                                                  GARDEN CITY     MI    48135‐2413
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EDWARD B ROCK III & ELIZABETH A ROCK JT TEN    PO BOX 804                                                                                       MOORE HAVEN      FL    33471‐0804
EDWARD B RUMER                                 5141 NORTH SHORE ROAD                                                                            LAPEER           MI    48446‐8069
EDWARD B SCHWARZ                               664 DIONNE CT                                                                                    CENTERVILLE      OH    45459‐1609
EDWARD B SINGLETON                             2‐270                                   6621 FANNIN                                              HOUSTON          TX    77030‐2303
EDWARD B SMITH                                 122 PACES RUN                                                                                    ATLANTA          GA    30339‐3791
EDWARD B SOUTHERLAND                           806 CENTRAL AVE                                                                                  KINSTON          NC    28504‐6250
EDWARD B STANDEN                               670 S GREENBROOK CIRCLE                                                                          SAINT JOSEPH     MI    49085
EDWARD B STRONG                                2312 CHESTNUT RD                                                                                 BIRMINGHAM       AL    35216‐1310
EDWARD B STURGES                               4363 MOONBEAM RD                                                                                 CASPER           WY    82604‐9282
EDWARD B THORNBURG                             1962 SR 227                                                                                      N RICHMOND       IN    47374
EDWARD B WALDRON                               414 NORTH JAMES STREET                                                                           PLAINFIELD       IL    60544‐1519
EDWARD B WALLACE                               2704 NW 79TH TERRACE                                                                             KANSAS CITY      MO    64151‐3761
EDWARD B WARD                                  2337 VALLEJO ST                                                                                  SAN FRANCISCO    CA    94123‐4711
EDWARD B WICKS                                 1324 W 1100 N                                                                                    SALT LAKE CITY   UT    84116‐3632
EDWARD B WILKOSZ & TAMMY L WILKOSZ JT TEN      3108 TAYLOR COURT                                                                                JOHNSBURG        IL    60051
EDWARD BADILLO                                 1323 FAIRWAY CIR                                                                                 MAYFIELD         KY    42066‐1204
EDWARD BAILEY                                  4501 N WHEELING AVE                     BLD 2 # 304                                              MUNCIE           IN    47304‐1218
EDWARD BAKER                                   3681 W GALBRAITH RD #25                                                                          CINCINNATI       OH    45247‐3790
EDWARD BAKER & MISS DIANE J BAKER JT TEN       7325 S CHAMPLAIN AVE                                                                             CHICAGO          IL    60619‐1828
EDWARD BAKER CUST ARRON BAKER UGMA CA          PO BOX 2287                                                                                      LA JOLLA         CA    92038‐2287
EDWARD BALINT CUST DONALD WEMER JR UGMA NY     22 CLUINE AVE                                                                                    HASTINGS ON      NY    10706‐4007
                                                                                                                                                HUDSON
EDWARD BALINT JR CUST JESSICA WEMER UGMA NY    22 CLUNIE AVE                                                                                    HASTINGS ON      NY    10706‐4007
                                                                                                                                                HUDSON
EDWARD BARAN                                   32108 GLEN                                                                                       WESTLAND         MI    48186‐4916
EDWARD BARR                                    1329 DEACON                                                                                      DETROIT          MI    48217‐1686
EDWARD BAXTER RUSIN                            7009 CRYSTAL SPRINGS RD                                                                          CRYSTAL LAKE     IL    60012‐1154
EDWARD BECHER VIA                              1648 DEAN RD                                                                                     ROANOKE          VA    24018‐1602
EDWARD BECHTEL & SHIRLEY BECHTEL JT TEN        341 JEWEL                                                                                        FERNDALE         MI    48220‐2563
EDWARD BECKWITH JR TOD NANCY A BECKWITH        PO BOX 56                                                                                        PALISADE         CO    81526
SUBJECT TO STA TOD RULES
EDWARD BENN                                    1012 STONEBRIDGE BLVD                                                                            NEW CASTLE       DE    19720‐6720
EDWARD BENTLEY                                 280 FIELDWOOD DRIVE                                                                              ROCHESTER        NY    14609‐2541
EDWARD BENTLEY                                 270 SHERMAN ST                                                                                   WABASH           IN    46992‐1112
EDWARD BERNARD KIRK TR EDWARD BERNARD KIRK     4610 OAK CLIMB                                                                                   SAN ANTONIO      TX    78217‐1451
REVOCABLE TRUST UA 4/06/90
EDWARD BERNARDON                               2 ANTHONY RD                                                                                     BEDFORD         MA     01730‐1647
EDWARD BIANCHI                                 146‐14 BOOTH MEMORIAL AVENUE                                                                     FLUSHING        NY     11355‐5401
EDWARD BLACKWELL                               1732 ARBOR PARK DR                                                                               WINTER PARK     FL     32789‐2551
EDWARD BLASCZIENSKI                            3953 STATE ROUTE 104                                                                             MEXICO          NY     13114‐3235
EDWARD BLECK & CAROL BLECK JT TEN              8810 REDWOOD DR                         UNIT 174                                                 SANTEE          CA     92071‐7720
EDWARD BLIZNIAK                                11 POLONIA CT                                                                                    MONROE          NJ     08831‐8562
EDWARD BODDIE                                  1886 TRENTON CT                                                                                  RIVERDALE       GA     30296‐2861
EDWARD BOTKE                                   1221 E MAIN ST                                                                                   LANSING         MI     48912‐1617
EDWARD BOYER                                   3722 CACTUS DR                                                                                   PINEVILLE       LA     71360‐6330
EDWARD BOZDECH                                 C/O KATHLEEN M BOZDECH                  1485 N CO RD 1550 E                                      VILLA GROVE     IL     61956‐9646
EDWARD BRENT HANDLEY CUST BIANCA N HANDLEY     2 STARLING CT                                                                                    AMERICAN CANYON CA     94503‐3081
UTMA VA
EDWARD BRENT HANDLEY CUST MATEJKA M HANDLEY    2 STARLING CT                                                                                    AMERICAN CANYON CA     94503‐3081
UTMA VA
EDWARD BRESNICK CUST NORMA SUE BRESNICK UGMA   100 CRAPE MYRTLE RD UNIT 133                                                                     HOLMDEL          NJ    07733‐1539
NJ
EDWARD BRION HENRY                             45 FOCHT RD                                                                                      ROBESONIA        PA    19551‐9649
EDWARD BROOKS                                  254 E GRAND BLVD                                                                                 DETROIT          MI    48207‐3740
EDWARD BROOKS                                  545 HARVEY ST                                                                                    PONTIAC          MI    48341‐2828
EDWARD BROWN                                   9448 MC AFEE RD                                                                                  MONTROSE         MI    48457‐9123
EDWARD BROWN JR                                3821 BUCHANAN                                                                                    DETROIT          MI    48208‐2303
EDWARD BRUCE                                   PO BOX 382                                                                                       ROCKWOOD         ME    04478‐0382
EDWARD BRUCE HELD                              13220 SLATERIDGE PL NE                                                                           ALBUQUERQUE      NM    87111‐8266
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EDWARD BRZEZINSKI & SHIRLEY BRZEZINSKI JT TEN      11761 CASHMERE MIST AVE                                                                         LAS VEGAS        NV    89138‐1565

EDWARD BUCKNER                                     266 SOUTH EDITH                                                                                 PONTIAC          MI    48342‐3226
EDWARD BUFFORD JR                                  255 PULLEY WAY                                                                                  BOWLING GREEN    KY    42101‐9681
EDWARD BUJACK                                      9787 DICKERSON CT                                                                               SOUTH LYON       MI    48178‐9184
EDWARD BUJALSKI                                    112 FORDHAM DRIVE                                                                               BUFFALO          NY    14216‐3144
EDWARD BUJALSKI & PATRICIA A BUJALSKI JT TEN       112 FORDHAM DR                                                                                  BUFFALO          NY    14216‐3144
EDWARD BULLARD & TERRLYON D BULLARD JT TEN         3026 CONCORD ST                                                                                 FLINT            MI    48504‐2924

EDWARD BURDA                                       4375 BEECHWOOD AVE                                                                              BURTON           MI    48509‐1101
EDWARD BURTON FELT                                 PO BOX 9081                                                                                     SALT LAKE CITY   UT    84109‐0081
EDWARD BUSTLE                                      11119 WILSON RD                                                                                 INDEPENDENCE     KY    41051‐7201
EDWARD C AUBLE                                     1469 CONIFER DR                                                                                 WEST CHESTER     PA    19380‐2117
EDWARD C BALLARD JR                                15315 ROLLAND RD                                                                                SHERWOOD         OH    43556‐9770
EDWARD C BASTILLE                                  580 CHERRY VALLEY RD                                                                            GILFORD          NH    03249‐7841
EDWARD C BELL                                      4220 HUGHES                                                                                     FT WORTH         TX    76119‐3818
EDWARD C BENNETT                                   4814 PLUM HOLLOW DR                                                                             LANSING          MI    48917‐1528
EDWARD C BERDICK                                   764 VOLUNTOWN RD                                                                                GRISWOLD         CT    06351‐2644
EDWARD C BLADORN                                   804 N PINE                                                                                      JANESVILLE       WI    53545‐2856
EDWARD C BLASIUS & VIRGINIA M BLASIUS JT TEN       122 EDGELAKE DRIVE                                                                              WATERFORD        MI    48327‐3721

EDWARD C BLONIARZ                                  158 UNION ST                                                                                    ROCKVILLE        CT    06066‐3021
EDWARD C BLOODWORTH                                3133 DELTA RIVER DR                                                                             LANSING          MI    48906‐3454
EDWARD C BLUEMER                                   3385 HELEN                                                                                      HARRISON         MI    48625‐8031
EDWARD C BUTLER                                    235 GAGE ST                                                                                     PONTIAC          MI    48342
EDWARD C CESA                                      1031 PLOVER                                                                                     HIGHLAND         MI    48357‐3945
EDWARD C CHAPMAN                                   BOX 459                                                                                         KEARNEY          MO    64060‐0459
EDWARD C COPELAND                                  3861 PENZANCE PLACE                                                                             CARMEL           IN    46032‐8325
EDWARD C CROKE                                     SEARISE 401F                           1605 S US HWY 1                                          JUPITER          FL    33477‐8436
EDWARD C DAVIS                                     6682 ELWOOD                                                                                     YOUNGSTOWN       OH    44515‐2111
EDWARD C DAVIS & SHIRLEY A DAVIS TR DAVIS FAMILY   5314 REUBEN ST                                                                                  FLINT            MI    48532‐4048
TRUST UA 11/01/05
EDWARD C DES JARDINS                               9857 CARTER                                                                                     ALLEN PARK       MI    48101‐1340
EDWARD C DIAL JR                                   18 HUNTER COURT                                                                                 GOFFSTOWN        NH    03045‐1628
EDWARD C DIETZEL & DEBORAH A DIETZEL JT TEN        10275 BRADLEY RD                                                                                FRANKENMUTH      MI    48734‐9739
EDWARD C DOUCET                                    2800 ZANZIBAR LN N                                                                              PLYMOUTH         MN    55447‐1842
EDWARD C FARNETT                                   104 WAYNE DR                                                                                    CINNAMINSON      NJ    08077‐3841
EDWARD C FISHER                                    15670 LOWELL RD                                                                                 LANSING          MI    48906‐9393
EDWARD C FLEURTON JR                               7‐09 WHITESTONE EXPY                                                                            WHITESTONE       NY    11357‐1051
EDWARD C FLOYD                                     40 KNOB HILL LN                                                                                 BRISTOL          CT    06010‐2347
EDWARD C FRASER                                    1734 K ST                                                                                       EUREKA           CA    95501‐2664
EDWARD C FRIEDMAN                                  5199 ROUTE 446                                                                                  ELDRED           PA    16731‐3823
EDWARD C FROST                                     226 HILLSIDE AVE                                                                                TORRINGTON       CT    06790‐5527
EDWARD C FULLER                                    904 STROWBRIDGE DRIVE                                                                           HURON            OH    44839‐1448
EDWARD C GENTILE                                   15 EAGLE POINTE DR                                                                              CORTLAND         OH    44410‐1922
EDWARD C GRAEBER & MRS RUTH GRAEBER JT TEN         189 HEATHER ROAD                                                                                CHEEKTOWAGA      NY    14225‐1652

EDWARD C GUILFORD & EDNA JEAN GUILFORD JT TEN      7214 NORTHEAST 153RD ST                                                                         KENMORE          WA    98028‐4611

EDWARD C H PARKER                                  P O 1446                                                                                        CHARLESTOWN      RI    02813‐0906
                                                                                                                                                   BEACH
EDWARD C HEISS                                     1840 DRENIK DRIVE                                                                               WICKLIFFE        OH    44092‐1512
EDWARD C HENDERSON                                 1024 S LINDEN RD                                                                                FLINT            MI    48532‐3405
EDWARD C HENDRICKSEN                               1482 BARTON RD                                                                                  MOUNTAINSIDE     NJ    07092‐1703
EDWARD C HOULIHAN                                  811 N WALNUT                                                                                    BAY CITY         MI    48706‐3766
EDWARD C HUFFMAN                                   734 N MAIN ST                                                                                   SHELBYVILLE      TN    37160
EDWARD C JACOB                                     1873 WEST 6TH ST                                                                                BROOKLYN         NY    11223‐2645
EDWARD C JOHNSON                                   24801 REEDS POINTE DR                                                                           NOVI             MI    48374‐2538
EDWARD C KADLEC                                    1469 MUNSON                                                                                     BURTON           MI    48509‐1835
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EDWARD C KAUFMANN                                8279 COURTLAND                                                                                 ROCKFORD           MI    49341‐9401
EDWARD C KELSO                                   3323 GRANTSBURG                                                                                LANSING            MI    48911‐2225
EDWARD C KENNADAY                                13246 FAGAN RD                                                                                 HOLLY              MI    48442‐9710
EDWARD C KNIFFEN                                 2944 CLOVERDALE DR                                                                             HIGHLAND           MI    48031
EDWARD C KOPEC                                   7297 NOBB HILL DR                                                                              PARMA              OH    44130‐5238
EDWARD C KOPEC & BERTHA B KOPEC JT TEN           7297 NOBB HILL DR                                                                              PARMA              OH    44130‐5238
EDWARD C KRAUSE JR & MRS FRANCES M KRAUSE JT     21 FLETCHER ROAD                                                                               ALBANY             NY    12203‐4961
TEN
EDWARD C KUROWICKI & DOROTHY KUROWICKI JT TEN    49 NORTH 9TH ST                                                                                KENNELWORTH        NJ    07033‐1539

EDWARD C LEDFORD                                 14914 ROTUNDA                                                                                  STERLING HEIGHTS   MI    48313‐4461

EDWARD C LENZ                                    215 DRAKE ROAD                                                                                 HAMLIN             NY    14464‐9525
EDWARD C LIEFKE JR                               1445 PERSHING BLVD                                                                             DAYTON             OH    45410‐3114
EDWARD C MAAS & JANET C MAAS JT TEN              12608 CONCORD RD                                                                               SEAFORD            DE    19973‐8279
EDWARD C MACDONALD                               1906 MOSHER ST                                                                                 BAY CITY           MI    48706‐3590
EDWARD C MARTIN                                  3088 CADWALLADER SONK RD                                                                       CORTLAND           OH    44410‐8801
EDWARD C MASKE                                   10 WORDSWORTH DRIVE                                                                            SPARTA             NJ    07871‐2536
EDWARD C MATHES                                  #4 PARK ISLAND DRIVE                                                                           NEW ORLEANS        LA    70122
EDWARD C MEYERS JR                               21601 TROMBLY                                                                                  ST CLAIR SHRS      MI    48080‐3976
EDWARD C MILEWSKI                                7453 LOVERS LANE ROAD                                                                          CATTARAUGUS        NY    14719‐9601
EDWARD C MILLER                                  172 YPSILANTI AVE                                                                              PONTIAC            MI    48340
EDWARD C MILLER & MARY ELLEN MILLER JT TEN       66 SPRING AVE                                                                                  BERGENFIELD        NJ    07621‐2620
EDWARD C MISSAVAGE & ANNIE MISSAVAGE JT TEN      ATTN EDWARD C MISSAVAGE JR            12215 ELLA LEE LN                                        HOUSTON            TX    77077‐5913

EDWARD C MITCHELL JR                              6445 ROBINDALE                                                                                DEARBORN HGTS      MI    48127‐2134
EDWARD C MODIC & VIRGINIA A MODIC JT TEN          22290 WESTWOOD AVE                                                                            CLEVELAND          OH    44126‐1051
EDWARD C MOEHLE                                   818 WASHINGTON ST                                                                             PEKIN              IL    61554‐4741
EDWARD C MOODY                                    1000 LELY PALM DR #D‐313                                                                      NAPLES             FL    34113
EDWARD C MUNGER                                   2163 BRADY AVE                                                                                BURTON             MI    48529‐2426
EDWARD C MURRAY                                   1838 COMPASS COURT                                                                            TOMS RIVER         NJ    08753‐3101
EDWARD C MURRAY & MARIE A MURRAY JT TEN           859 BOUTELL DR                                                                                GRAND BLANC        MI    48439‐1942
EDWARD C NOVAKOVICH                               1611 NORRIS                                                                                   WESTLAND           MI    48186‐4950
EDWARD C OLIVER                                   22840 TWYCKINGHAM                                                                             SOUTHFIELD         MI    48034‐6260
EDWARD C ORLOSKI                                  12WALNUT STREET                                                                               TERRYVILLE         CT    06786‐6004
EDWARD C ORLOWSKI & MARY ORLOWSKI JT TEN          30058 WARNER                                                                                  WARREN             MI    48092‐1848
EDWARD C PHELPS                                   5600 BROADLEAF RD                                                                             SUMMERFIELD        NC    27358‐7822
EDWARD C POWERS & MARIE E POWERS JT TEN           100 FIELDFARE WAY                                                                             CHARLESTON         SC    29414‐6934
EDWARD C PRATT TR EDWARD C PRATT FAM TRUST        45065 W PAGAGO RD                                                                             MARICOPA           AZ    85239‐5311
/TRUST B/ UA 03/07/74
EDWARD C PRICE JR                                 207 RABBITT RD                                                                                GAITHERSBURG       MD    20878‐1134
EDWARD C RASCHKE                                  5017 N PRESSLER                                                                               BAY CITY           MI    48706‐3211
EDWARD C RICHIE & DONNA S RITCHIE TR 06/03/88     1502 E TODD ST                                                                                MINDEN             LA    71055
RITCHIE REV FAMILY TRUST
EDWARD C RUFF & MAUREEN ANN RUFF JT TEN           6451 LAVON COURT                                                                              DAYTON             OH    45415‐1921
EDWARD C RUPP                                     7714 HARLEY HILLS DR                                                                          CLEVELAND          OH    44133‐3662
EDWARD C SABLE                                    1954 NORTHFIELD N W                                                                           WARREN             OH    44485‐1733
EDWARD C SANDORA & LESLIE SANDORA JT TEN          15 NORTHBRANCH RIVER RD                                                                       BRANCHBURG         NJ    08876‐3709
EDWARD C SARGANT                                  399 MILVERTON BLVD                   TORONTO ON                             M4J 1W1 CANADA
EDWARD C SENDALBACH TR THE SENDALBACH FAMILY 10 COVENTRY CHASE                                                                                  JOLIET             IL    60431‐9250
TRUST 12/20/86
EDWARD C SENDELBACH TR SENDELBACH FAMILY TRUST 10 COVENTRY CHASE                                                                                JOLIET             IL    60431‐9250
UA 12/30/86
EDWARD C SHEPARD                                  3587 COSEYBURN                                                                                WATERFORD          MI    48329‐4205
EDWARD C SHEPHERD                                 214 RISING SUN LN                                                                             OLD HICKORY        TN    37138‐2151
EDWARD C SHUKAITIS & CHRISTINE J SHUKAITIS JT TEN 4629 BAILEY DRIVE LIMESTONE          ACRES                                                    WILMINGTON         DE    19808‐4109

EDWARD C SMITH JR & JOE ANN B SMITH JT TEN       SMITH HILL                            368 RD                                                   NORTHFIELD         VT    05663
EDWARD C SNYDER                                  7036 WHEELER ST                                                                                PHILADELPHIA       PA    19142‐1731
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Name                                          Address1                              Address2              Address3         Address4          City              State Zip

EDWARD C SOPER & MRS BARBARA SOPER JT TEN     181 PERRY STREET                                                                               MONTROSE          MI    48457‐9168
EDWARD C STATEN                               4311 N CAMINO YERMO                                                                            TUCSON            AZ    85750‐1859
EDWARD C STEVENS                              1752 RANIER BLVD                                                                               CANTON            MI    48187‐3438
EDWARD C SUMMERS                              3394 COLWELL                                                                                   TROY              MI    48083‐5629
EDWARD C SUTEMEYER & MRS IRENE SUTEMEYER JT   2020 42ND ST                                                                                   ASTORIA           NY    11105‐1223
TEN
EDWARD C THOMPSON                             707 PRESTON CT                                                                                 ROCHESTER HILLS   MI    48307‐4596
EDWARD C VANOVER SR                           17255 WHITE MEADOWS DR                                                                         BOWLING GREEN     VA    22427‐2255
EDWARD C VONDRASEK                            19250 NIVER ROAD                                                                               OAKLEY            MI    48649‐9797
EDWARD C WAGERS                               1548 E SOCIAL ROW RD                                                                           CENTERVILLE       OH    45458‐4722
EDWARD C WARTHEN                              3104 GARROW DRIVE                                                                              ANTIOCH           CA    94509‐5019
EDWARD C WATKINS                              1944 PARKER RD                                                                                 GOSHEN            OH    45122‐9279
EDWARD C WILDE                                5160 SABRINA LANE                                                                              WARREN            OH    44483‐1278
EDWARD C WOLFE                                711 BROCKMOOR LN                                                                               BLOOMFIELD        MI    48304‐1416
EDWARD C ZYGMONT                              6126 RANCHVIEW DR                                                                              INDEPENDENCE      OH    44131‐6511
EDWARD CALSARET & MARGARET CALSARET JT TEN    242 JEFFERSON AVE                                                                              W BERLIN          NJ    08091‐1704

EDWARD CARL CHRZANOWSKI JR                    25074 LYNCASTLE                                                                                FARMINGTON HILLS MI     48336‐1565

EDWARD CASEL COLLINS                          76 AUBURN AVE                                                                                  SHELBY            OH    44875
EDWARD CAUDILL                                101 TRAVIS DR                                                                                  VAN LEAR          KY    41265‐8645
EDWARD CHAPMAN                                3117 W EUCLID AVE                                                                              TAMPA             FL    33629‐8939
EDWARD CHARKEY & RHONA CHARKEY JT TEN         47 CAPRAL LANE                                                                                 NEW CITY          NY    10956‐3523
EDWARD CHARLES FLYNN                          400 GILKEY RD                         APT 229                                                  BURLINGTON        WA    98233‐2903
EDWARD CHARLES MCGRAIN CUST JOSHUA CHARLES    4424 GRATHRINE CT                                                                              LEWIS CENTER      OH    43035‐8240
MCGRAIN UTMA OH
EDWARD CHARLES MURPHY                         58 JAMES STREET                                                                                STONINGTON        CT    06378‐2717
EDWARD CHARLES OLIVER                         33 FOXGLOVE LANE                                                                               SIDNEY            ME    04330‐1813
EDWARD CHARLES STATEN III                     186 YAUPON TRL                                                                                 SAN ANTONIO       TX    78256‐1625
EDWARD CHEATHAM                               685 S SAINT JACQUES ST                                                                         FLORISSANT        MO    63031‐6911
EDWARD CHENEVEY                               13583 FILLY CT                                                                                 GAINESVILLE       VA    20155‐2976
EDWARD CHERNY                                 168 LOWER NORTH SHORE RD                                                                       BRANCHVILLE       NJ    07826‐4086
EDWARD CHESTER GLOGOWSKI                      5861 GOODRICH RD 10C                                                                           CLARENCE CENTER   NY    14032‐9772

EDWARD CIEMIEGA & LORRAINE CIEMIEGA & MARY    2986 LEHMAN                                                                                    HAMTRAMCK         MI    48212‐3524
SKWARA JT TEN
EDWARD CLARENCE PAILLE                        3912 MAIN ST                                                                                   ANDERSON          IN    46013‐4720
EDWARD COIA CUST DEBRA L COIA UGMA OH         2972 TELBER COURT                                                                              STOW              OH    44224‐2156
EDWARD COIA CUST RENEE L COIA UGMA OH         129 HOWARD ST                                                                                  DOYLESTOWN        OH    44230‐1224
EDWARD COLLINS                                2132 WESTCHESTER WAY                                                                           LADY LAKE         FL    32162‐6712
EDWARD COMMINEY                               2319 W ALONDRA                                                                                 COMPTON           CA    90220‐4069
EDWARD CONANT EMERY TR UW EDWARD D CONANT     52 CHARTER ST                                                                                  SALEM             MA    01970‐3629

EDWARD CONNOR                                 18864 SUNSET                                                                                   DETROIT           MI    48234‐2046
EDWARD CONRAD                                 6483 ZEPHYR ST                                                                                 ARVADA            CO    80004‐3464
EDWARD CORNELIS VAN DER MEULEN                SINT‐ANNASTRAAT 24                    B‐3050 OUD‐HEVERLEE                    BELGIUM
EDWARD COX                                    3680 HEATHWOOD DRIVE                                                                           TIPP CITY     OH        45371‐8822
EDWARD COX                                    HC 62 BOX 1030                                                                                 MIRACLE       KY        40856‐9712
EDWARD CRAIG ENGLISH                          BOX 39                                                                                         NEW MATAMORAS OH        45767‐0039

EDWARD CROWLEY                                448 RIVER RD                                                                                   CALLICOON         NY    12723‐5135
EDWARD CULBERTSON                             PO BOX 22158                                                                                   CARMEL            CA    93922‐0158
EDWARD CURYLO                                 14240 MELVA ST                                                                                 WARREN            MI    48093‐4858
EDWARD D BANGS JR                             12942 NW SHORELAND DR                                                                          MEQUON            WI    53097‐2306
EDWARD D BECKNER                              918 ROCKY HILL SCHOOL RD                                                                       SMITHS GROVE      KY    42171‐9001
EDWARD D BENJAMIN JR                          4817 HERD RD                                                                                   METAMORA          MI    48455‐9760
EDWARD D BIEVRE                               PO BOX 587                                                                                     LANCASTER         CA    93584‐0587
EDWARD D BITER JR & ALICE M BITER JT TEN      320 WALKER RD                                                                                  DOVER             DE    19904‐2848
EDWARD D BOSTON                               6126 FELLOWSHIP RD                                                                             BASKING RIDGE     NJ    07920‐3909
                                           09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                             Address2             Address3          Address4          City            State Zip

EDWARD D BROWN                                  3323 HACKBERRY ST                                                                             CINCINNATI      OH    45207‐1701
EDWARD D BURTON                                 15 DEAN DR                                                                                    PEMBROKE        MA    02359‐3801
EDWARD D BUSHWAY III                            805 WILLARDSHIRE ROAD                                                                         EAST AURORA     NY    14052‐9402
EDWARD D CAIADO                                 2529 LONG BRANCH DR                                                                           MARRERO         LA    70072‐5852
EDWARD D CAUDILL                                PO BOX 235                                                                                    FOWLERVILLE     MI    48836‐0235
EDWARD D CHALFA                                 3590 SE HAWTHORNE BLVD                                                                        PORTLAND        OR    97214
EDWARD D CORBIN & FRANCES H CORBIN JT TEN       229 DERSAM ST                                                                                 PORT VUE        PA    15133‐3503
EDWARD D CROWLEY & BEVERLY A CROWLEY JT TEN     2106 RIVERS EDGE DR                                                                           RIO RANCHO      NM    87144‐5727

EDWARD D CUNNINGHAM                             154 HORTON RD                                                                                 MASSENA         NY    13662‐3221
EDWARD D DONAHUE                                29225 MEADOWLARK                                                                              LIVONIA         MI    48154‐4529
EDWARD D DROPTINY                               2994 N 391                                                                                    LAMAR           OK    74850‐9249
EDWARD D EAGLE                                  1215 MICHIGAN RD                                                                              PORT HURON      MI    48060‐4692
EDWARD D ECKER                                  4457 WOODBRIAR DR                                                                             FLINT           MI    48507‐3563
EDWARD D EDGEWORTH                              1316 GARFIELD AVE                                                                             MOUNT MORRIS    MI    48458
EDWARD D EMERSON                                PO BOX 682                                                                                    SAINT HELEN     MI    48656
EDWARD D ESTEP JR                               RR 3 BOX 266                                                                                  HOLLIDAYSBURG   PA    16648‐9773
EDWARD D FOSTER                                 4340 IRELAND DR                                                                               OWENSBORO       KY    42303‐2729
EDWARD D GASTON                                 22424 GREENVIEW                                                                               SOUTHFIELD      MI    48075‐4072
EDWARD D GILARSKI                               108 DEERWOOD DR                                                                               PITTSBURGH      PA    15235‐2621
EDWARD D GOTTBEHUET                             4112 S W AUSTIN ST                                                                            SEATTLE         WA    98136‐2110
EDWARD D GRANDOWSKI                             11200 STATESMAN CT                                                                            FREDERICKBURG   VA    22408‐2450
EDWARD D GREEN                                  603 MONTGOMERY ST                                                                             ANDALUSIA       AL    36420‐4021
EDWARD D GREEN & ROSETTA A GREEN JT TEN         4207 BROOKSIDE OAKS TRL                                                                       OWINGS MILLS    MD    21117‐5168
EDWARD D HAGOPIAN & FRANCES A HAGOPIAN JT TEN   17 HALLMARK DR                                                                                WOBURN          MA    01801‐5344

EDWARD D HARRISON                               PO BOX 5506                                                                                   FLINT           MI    48505‐0506
EDWARD D HOARD JR                               BOX 344 REHOBOTH RD                                                                           GRIFFIN         GA    30224‐0009
EDWARD D HUND                                   239 DEMPSEY WAY                                                                               ORLANDO         FL    32835‐5350
EDWARD D JAMES                                  1834 S MILLARD AVE                                                                            CHICAGO         IL    60623‐2542
EDWARD D JOHNSON JR                             106 OWENS DR                                                                                  PARIS           TN    38242
EDWARD D JONES                                  G 5135 JACKSON RD                                                                             FLINT           MI    48506
EDWARD D JONES CUST FBO JONAH GILLENWATER IRA   260 DEERFIELD ROAD                                                                            FT BLACKMORE    VA    24250

EDWARD D JONES CUST PAMELA SUKANY IRA           PO BOX 267                                                                                    WATERS          MI    49797
EDWARD D KAROLICK                               10902 BRAINARD DR                                                                             PARMA           OH    44130‐1538
EDWARD D KOWALSKI                               2825 S LIPKEY                                                                                 NORTH JACKSON   OH    44451
EDWARD D LANTZ & MRS THELMA I LANTZ JT TEN      5270 HARBORAGE DR                                                                             FORT MYERS      FL    33908‐4543
EDWARD D LANTZ JR                               5270 HARBORAGE DRIVE                                                                          FT MYERS        FL    33908‐4543
EDWARD D LEMMING                                11293 TEMPLETON DR                                                                            CINCINNATI      OH    45251‐4556
EDWARD D LEVY                                   4420 NW ROYAL QAK DRIVE                                                                       JENSEN BEACH    FL    34957‐2100
EDWARD D MARSH JR & EDWARD D MARSH III JT TEN   205 LYTLE ST                                                                                  GREER           SC    29650‐2726

EDWARD D MC CRAY                                882 REGONDA DR                                                                                DEFIANCE        OH    43512‐4015
EDWARD D MC MILLAN JR                           212 ELIZABETH CT                                                                              FORT LUPTON     CO    80621‐1292
EDWARD D MENGLE & PAMELA A MENGLE JT TEN        3631 SWIGART RD                                                                               DAYTON          OH    45440‐3525
EDWARD D MIERZWA                                796 ALLEN RD                                                                                  HOWELL          MI    48843‐9205
EDWARD D MILLER JR                              16200 DIXIE HIGHWAY                                                                           DAVISBURG       MI    48350‐1059
EDWARD D MOORE                                  2127 BERNICE ST                                                                               FLINT           MI    48532‐3912
EDWARD D NELSON                                 15763 SHUBERT RD                                                                              ALPENA          MI    49707‐8358
EDWARD D OGAS                                   N79 W22235 BRAMBLE DR                                                                         SUSSEX          WI    53089‐2105
EDWARD D PAPSUN                                 8C2 BOX 47C                                                                                   TIONESTA        PA    16353‐0047
EDWARD D PHELPS & GWEN PHELPS JT TEN            1312 N 76TH ST                                                                                OMAHA           NE    68114‐1706
EDWARD D PLASICK                                4847 FOX VALLEY DR                   APT 1A                                                   PORTAGE         MI    49024‐8106
EDWARD D PRINZ                                  21 BELLMORE PL                                                                                PALM COAST      FL    32137‐8616
EDWARD D RAFALKO                                105 ALLYSON KAY DR                                                                            KERNERSVILLE    NC    27284‐2288
EDWARD D RIEDLINGER                             861 OLD STATE RD                                                                              BERWYN          PA    19312‐1442
EDWARD D ROBERTSON                              16538 WINDING CREEK RD                                                                        PLAINFIELD      IL    60544‐9609
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EDWARD D ROBINSON & MAUREEN ROBINSON JT TEN     5227 W GEIPE RD                                                                                 CATONSVILLE     MD    21228‐4790

EDWARD D RODERIQUE & JERRINE A RODERIQUE JT TEN 912 WAVERLY CT                                                                                  AURORA          IL    60504‐9365

EDWARD D ROGERS                                 1175 E MAIN ST                                                                                  ALBERTVILLE     AL    35951‐7351
EDWARD D SALSAMEDA                              730 WHITEBOOK DR                                                                                LA HABRA        CA    90631‐6409
EDWARD D SAMPSON                                8684 SWAN CREEK                        PO BOX 312                                               NEWPORT         MI    48166‐0312
EDWARD D SHERMAN                                PO BOX 514                                                                                      SPRING LAKE     MI    49456‐0514
EDWARD D SHROBA & CAMILLE J SHROBA JT TEN       431 S MIDLAND AVE                                                                               JOLIET          IL    60436‐1905
EDWARD D SMITH                                  307 EASTWOOD CIR                                                                                WALNUT RIDGE    AR    72476‐2025
EDWARD D SMITH                                  14338 N SHERIDAN AVENUE                                                                         MONTROSE        MI    48457‐9414
EDWARD D SMITH                                  829 SOUTH ST                                                                                    MT MORRIS       MI    48458‐2028
EDWARD D STEWART                                BOX 131                                                                                         ROCHELLE        TX    76872‐0131
EDWARD D STUMPH                                 6228 HIGHWAY K                                                                                  TROY            MO    63379‐4820
EDWARD D SUMMERS                                45 TOPAZ CIR                                                                                    CANFIELD        OH    44406‐9674
EDWARD D SVITAK                                 1253 EAGLE CREST DR                                                                             LEMONT          IL    60439‐6423
EDWARD D TATE                                   9119 ORCHARD VIEW DR                                                                            GRAND BLANC     MI    48439‐8008
EDWARD D TAYLOR                                 4813 E 3RD ST LOT 1                                                                             PANAMA CITY     FL    32404‐7054
EDWARD D THOMAS                                 5288 WALTERSDORFF RD                                                                            SPRING GROVE    PA    17362‐7565
EDWARD D TULLOCH & MARY P TULLOCH JT TEN        40 STONE RD                                                                                     GRAFTON         MA    01519‐1409
EDWARD D WHELAN                                 945 FOREST LAKES CIR                                                                            CHESAPEAKE      VA    23322‐7576
EDWARD DAGOSTINO                                46 JACKSON AVE                         APT 7N                                                   EASTCHESTER     NY    10709‐3525
EDWARD DALE ARMSTRONG                           3341 RYAN AVE                                                                                   FT WORTH        TX    76110‐3826
EDWARD DALE FREEMAN                             204 KEENEY ST                                                                                   PERRY           MI    48872‐9101
EDWARD DANIELS                                  800 3RD ST                             APT C306                                                 CLEVELAND       MS    38732‐2318
EDWARD DARYL TIEDEMAN                           681 UNIT B 2 THORNTREE CT                                                                       BARTLETT        IL    60103‐7971
EDWARD DAUGHERTY JR                             18525 INVERMERE                                                                                 CLEVELAND       OH    44122‐6427
EDWARD DAVID HUTCHINSON                         BOX 37                                                                                          FRANKTON        IN    46044‐0037
EDWARD DAVIS                                    3096 BRIXTON DR E                                                                               SPRINGFIELD     OH    45503‐6636
EDWARD DECROSTA JR                              13 WAGON WHEEL LN                                                                               COLUMBUS        NJ    08022‐1100
EDWARD DELGARN                                  913 FREEMONT STREET SOUTH                                                                       GULFPORT        FL    33707‐2446
EDWARD DEMING                                   2930 WALNSLEY CIRCLE                                                                            LAKE ORION      MI    48360‐1644
EDWARD DENBURG CUST JIMMY DENBURG UGMA NJ       1716 W 9TH ST                                                                                   SEDALIA         MO    65301‐5239

EDWARD DEUTSCH                                  7726 SCHOONER CT                                                                                PARKLAND        FL    33067‐2348
EDWARD DI BENEDETTO CUST NICHOLE DI BENEDETTO   225 FOXHUNT CRESCENT                                                                            SYOSSET         NY    11791‐1709
UGMA NY
EDWARD DI BENEDETTO JR                          225 FOX HUNT CRESCENT                                                                           SYOSSET          NY   11791‐1709
EDWARD DI BENEDETTO JR                          225 FOX HUNT CRESCENT                                                                           SYOSSET          NY   11791‐1709
EDWARD DI BRACCIO                               5525 ROOSEVELT ST                                                                               HOLLYWOOD        FL   33021‐3950
EDWARD DIAMOND                                  7109 WASHBURN RD                                                                                MILLINGTON       MI   48746‐9044
EDWARD DILLON & HELGA LOUISE DILLON TR EDWARD   120 MIRAMAR DR                                                                                  COLORADO SPRINGS CO   80906‐3723
DILLON TRUST UA 12/27/91
EDWARD DON & MRS NORMA YEE DON JT TEN           6 BATES BLVD                                                                                    ORINDA          CA    94563‐2804
EDWARD DROTAR                                   38855 TYLER RD                                                                                  ROMULUS         MI    48174‐1389
EDWARD DUNCAN SMITH                             1017 NASHPORT ST                                                                                LA VERNE        CA    91750‐2431
EDWARD DUNDON                                   34 BEN MERRILL RD                                                                               CLINTON         CT    06413‐1232
EDWARD DUNIETZ & FAYE DUNIETZ JT TEN            4004 LINGLESTOWN RD                                                                             HARRISBURG      PA    17112‐1017
EDWARD E ABEL                                   5430 TRENA ST                                                                                   ANCHORAGE       AK    99507‐1624
EDWARD E ALTENDORF                              6615 AVERELL DR                                                                                 DAYTON          OH    45424
EDWARD E ANDERSON                               54874 WALNUT DR                                                                                 NEW HUDSON      MI    48165‐9500
EDWARD E ANDERSON & YVONNE P ANDERSON JT TEN    2056 PARMENTER                                                                                  ROYAL OAK       MI    48073‐4320

EDWARD E BACCUS                                 2409 S OLD OAKS DR                     #5                                                       DAYTON          OH    45431‐2409
EDWARD E BAR                                    31879 BREEZEWAY                                                                                 NEW BALTIMORE   MI    48047‐3051
EDWARD E BARBER                                 8639 TOWNSHIP RD 50                                                                             MANSFIELD       OH    44904
EDWARD E BARLOW CUST ERIN E REYNOLDS UGMA MI    2659 WILLVIEW CT                                                                                LAKE ORION      MI    48360‐1663
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EDWARD E BARLOW CUST JAMES B REYNOLDS UGMA MI 2659 WILLVIEW CT                                                                                     LAKE ORION      MI    48360‐1663

EDWARD E BARLOW CUST JASON A JACOBO UGMA MI       1700 ALABAMA DR #3                                                                               WINTER PARK     FL    32789‐2649

EDWARD E BAUGHER                                  PO BOX 208                                                                                       DE SOTO         MO    63020‐0208
EDWARD E BOGAR & IDA M BOGAR JT TEN               6733 NORTH BRANCH CT                    APT 4                                                    NORTH BRANCH    MI    48461‐9353
EDWARD E BOWLES                                   2101 MOORESVILLE HWY                    APT 1701                                                 LEWISBURG       TN    37091‐4623
EDWARD E BRETHMAN                                 4957 W 16TH ST                                                                                   INDIANAPOLIS    IN    46224‐5702
EDWARD E BRUEN                                    180 OLIVE                                                                                        ELMHURST        IL    60126
EDWARD E CARPENTER                                3883 STEVEN COURT                                                                                MILAN           MI    48160‐9762
EDWARD E CHALOM                                   608 5TH AVE                                                                                      NY              NY    10020‐2303
EDWARD E CHALUT                                   3212 LYNNE AVE                                                                                   FLINT           MI    48506‐2118
EDWARD E CLAYTON                                  4070 DICKERSONVILLE RD                                                                           RANSOMVILLE     NY    14131‐9791
EDWARD E CROSTHWAITE                              3186 LITTLE YORK RD                                                                              DAYTON          OH    45414‐1767
EDWARD E CRUM                                     BOX 775 R D #6                                                                                   MT PLEASANT     PA    15666‐8806
EDWARD E DAVIS                                    104 LAURENS DR                                                                                   MC CORMICK      SC    29835‐3202
EDWARD E DIESKO                                   521 SOUTH HEDGES                                                                                 SUGAR CREEK     MO    64054‐1030
EDWARD E DUKE & MARION W DUKE JT TEN              4148 SHOALS DR                                                                                   OKEMOS          MI    48864‐3468
EDWARD E DYSART JR                                1928 ONTARIO AVE                                                                                 DAYTON          OH    45414‐5529
EDWARD E ELLIS                                    1700 GARY ROAD                                                                                   MONTROSE        MI    48457‐9375
EDWARD E EUBANKS                                  6766 LAKE LEELANAU DR                                                                            TRAVERSE CITY   MI    49684‐9470
EDWARD E EVANS                                    1609 SW 14TH ST                                                                                  BLUE SPRINGS    MO    64015‐5305
EDWARD E EVAUL JR                                 PO BOX 9256                                                                                      TRENTON         NJ    08650‐1256
EDWARD E FISCHER & LORRAINE E FISCHER TEN ENT     732 CLEVELAND ST                        APT B14                                                  SEBASTIAN       FL    32958‐4189

EDWARD E FOURNIER                                 3501 WEST 14 MILE RD                    UNIT 9                                                   ROYAL OAK       MI    48073‐1652
EDWARD E FOURNIER CUST EDWARD E FOURNIER II       3501 WEST 14 MILE RD                    UNIT 9                                                   ROYAL OAK       MI    48073‐1652
UGMA MI
EDWARD E FOURNIER CUST MICHELLE A FOURNIER        3501 WEST 14 MILE RD                    UNIT 9                                                   ROYAL OAK       MI    48073‐1652
UGMA MI
EDWARD E FOURNIER II & EDWARD E FOURNIER JT TEN   3501 W 14 MILE RD APT 9                                                                          ROYAL OAK       MI    48073

EDWARD E FREIMUTH JR                              BOX 2                                                                                            NORTHFIELD      CT    06778
EDWARD E GALLAGHER                                44 ONEIDA ST                                                                                     PONTIAC         MI    48341‐1623
EDWARD E GEORGE                                   573 EVERGREEN AVENUE                                                                             DAYTON          OH    45402
EDWARD E GIBBONS JR & HELEN O GIBBONS JT TEN      646 MORNING GLORY DR                                                                             HANOVER         PA    17331‐7828

EDWARD E GOSSER                                   1532 GOSSER RIDGE RD                                                                             RUSSELL SPGS    KY    42642‐8913
EDWARD E GROVE                                    511 LILAC LANE                                                                                   MARTINSBURG     WV    25401‐2094
EDWARD E HAACK                                    4148 MARATHON RD                                                                                 COLUMBIAVILLE   MI    48421‐8958
EDWARD E HANDY                                    6105 BRADFORD HILL DR                                                                            NASHVILLE       TN    37211‐7901
EDWARD E HARM                                     11728 KNIGHT CRT                                                                                 NEW CARLISLE    OH    45344‐8915
EDWARD E HAUGHT                                   3544 POINTE COVE CIR                                                                             COOKEVILLE      TN    38501
EDWARD E HAYSLIP                                  7887 GRIFFITH RD                                                                                 FELICITY        OH    45120‐9648
EDWARD E JOHNSON                                  19 WOOD TRIPPLE LAKE ROAD                                                                        TIFTON          GA    31794
EDWARD E KAUFMANN                                 238 SE 15TH STREET                                                                               CAPE CORAL      FL    33990‐2052
EDWARD E KING                                     10702 SMOKEY ROW ROAD                                                                            GEORGETOWN      OH    45121‐9527
EDWARD E KLOC                                     524 GEORGES FAIRCHANCE ROAD                                                                      UNIONTOWN       PA    15401‐6308
EDWARD E KOONTZ                                   3951 ROCKROSE LN                                                                                 ZEPHYRHILLS     FL    33541
EDWARD E KUBICK                                   2581 FORESTVIEW AVENUE                                                                           RIVER GROVE     IL    60171‐1601
EDWARD E LACKI & MARY ELLEN LACKI JT TEN          212 GUM ST                                                                                       NEW LENOX       IL    60451‐1437
EDWARD E LAMB                                     PO BOX 10457                                                                                     DETROIT         MI    48210‐0457
EDWARD E LAMBERT                                  ATTN BETTY L LAMBERT                    6347 SW 111TH PL                                         OCALA           FL    34476‐8809
EDWARD E LARKIN                                   22774 STORM LAKE TR                                                                              ATLANTA         MI    49709‐9501
EDWARD E LAWRENCE                                 316 GARRETT AVE                                                                                  POINT           TX    75472‐6166
EDWARD E LEACH                                    5407 ASHBOURNE LANE                                                                              INDIANAPOLIS    IN    46226‐3232
EDWARD E LINDBERG CUST PATRICK ANTHONY            18632 BLUE SKIES G                                                                               LIVONIA         MI    48152‐2678
LINDBERG UGMA MI
EDWARD E LOSE JR                                  R D #2                                                                                           LYNDONVILLE     NY    14098
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EDWARD E MADIGAN                                5528 GLENBROOK DR                                                                               OAKLAND          CA    94618‐1720
EDWARD E MALLOY                                 94 NICHOLAS DR                                                                                  DUNEDIN          FL    34698‐2536
EDWARD E MALLOY & IVONE J MALLOY JT TEN         94 NICHOLAS DR                                                                                  DUNDIN           FL    34698‐2536
EDWARD E MARTINS & DONNA L MARTINS JT TEN       1790 DAHILL LANE                                                                                HAYWARD          CA    94541‐3112
EDWARD E MATHEWS                                BOX 42                                                                                          BETHEL           NC    27812‐0042
EDWARD E MATTHEWS                               5 BAYBERRY LANE                                                                                 SETAUKET         NY    11733‐3115
EDWARD E MC INTYRE                              2180 WEST FORK RD                                                                               LAPEER           MI    48446‐8039
EDWARD E MEECE                                  2558 MARSCOTT DR                                                                                CENTERVILLE      OH    45440‐2257
EDWARD E MULLINS                                222 CONNECTICUT DRIVE                                                                           ELYRIA           OH    44035‐7874
EDWARD E MURPHEY & MRS MARIAN D MURPHEY JT      555 GRAND CAYMAN CIRCLE                                                                         LAKELAND         FL    33803‐5615
TEN
EDWARD E MYDLER                                 7212 ROBIN RD                                                                                   DUBOIS           IL    62831‐2200
EDWARD E OWEN                                   2371 STANLEY CREEK RD                                                                           CHERRLOY         GA    30522‐3109
EDWARD E PATILLA                                7591 PINE BRANCH RD                                                                             DELMAR           DE    19940‐3207
EDWARD E PICKETT & JOYCE E PICKETT TR PICKETT   608 WESTMOUNT AVE                                                                               COLUMBIA         MO    65203‐3471
FAMILY TRUST UA 11/23/99
EDWARD E PLEASANT JR                            17166 ARDMORE                                                                                   DETROIT          MI    48235‐3922
EDWARD E PONDER                                 625 SPEAR AVE                                                                                   DULUTH           MN    55803‐2161
EDWARD E PRANGE                                 C/O ANNA M PRANGE                      1148 JOLENE DRIVE                                        BELLEFONTAINE    MO    63137‐1314
EDWARD E RAGAN                                  APT 61                                 2000 JONATHON CR                                         UTICA            MI    48317‐3846
EDWARD E RAINEY                                 14109 WINGFOOT CT                                                                               BASEHOR          KS    66007‐5202
EDWARD E RAMER                                  226 GENE DRIVE                                                                                  LEDBETTER        KY    42058‐9749
EDWARD E RANKIE                                 6624 SANDERS ROAD                                                                               LOCKPORT         NY    14094‐9521
EDWARD E RHOADS                                 9 WAKEMAN RD                                                                                    WESTPORT         CT    06880‐5212
EDWARD E RING                                   701 LINWOOD DR C53                                                                              HARRISONVILLE    MO    64701‐3351
EDWARD E ROWLAND                                71 S DAVIS ST                                                                                   ORCHARD PARK     NY    14127‐2661
EDWARD E SANDERS                                1430 FORREST DR                                                                                 CANTON           TX    75103‐2706
EDWARD E SCHECK                                 539 KELLY ST                                                                                    DESTIN           FL    32541‐1723
EDWARD E SCHENCK                                154 GRASSLAND DRIVE                                                                             GALLATIN         TN    37066‐5705
EDWARD E SCHULZ & IVY A SCHULZ JT TEN           6187 WILLOWBROOK DR                                                                             SAGINAW          MI    48638‐5493
EDWARD E SHELL                                  12155 N EMERALD RANCH LN                                                                        FORNEY           TX    75126‐7527
EDWARD E SMITH                                  634 WEST 2ND #211                                                                               ERIE             PA    16507‐1190
EDWARD E SMITH & SANDRA D WYATT & BRENDA D      1511 LONDON                                                                                     LINCOLN PARK     MI    48146‐3521
HARRIS JT TEN
EDWARD E SNYDER                                 529 WALNUT ST                                                                                   LEETONIA         OH    44431‐9704
EDWARD E STEFAN & MARY STEFAN JT TEN            16324 MARSHA                                                                                    LIVONIA          MI    48154‐1245
EDWARD E STEPHENSON                             309 VANSULL ST                                                                                  WESTLAND         MI    48185
EDWARD E TAGOE                                  1221 S W 100TH TERR                                                                             OKLAHOMA CITY    OK    73139‐2996
EDWARD E TAWIL                                  1125 DANA DR                                                                                    COSTA MESA       CA    92626‐1609
EDWARD E TENNSTEDT                              309 CAROLINE ST                                                                                 FREDERICKSBRG    VA    22401‐6011
EDWARD E TINKER                                 1310 CUMBERLAND RD                                                                              JEWETT           IL    62436‐1024
EDWARD E WALDECK                                68 HAYNES RD                                                                                    LITTLE HOCKING   OH    45742‐5245
EDWARD E WALDECK II                             133 GUERNSEY AVENUE                                                                             COLUMBUS         OH    43204‐2528
EDWARD E WARNTZ                                 5929 SOUTHWARD AVE                                                                              WATERFORD        MI    48329‐1580
EDWARD E WEAVER                                 6509 ACTHERMAN ROAD                                                                             MORROW           OH    45152‐9539
EDWARD E WENDELL JR CUST ELEANOR M WENDELL      187 RANDOLPH AVE                                                                                MILTON           MA    02186‐3537
UTMA MA
EDWARD E WHITE                                  110 STAR AVE                                                                                    WOONSOCKET       RI    02895‐1642
EDWARD E WHITE                                  12816 GLENDALE CT                                                                               FREDERICKSBRG    VA    22407‐2060
EDWARD E WHITELEY                               1211 FRANCIS MARION CIRCLE                                                                      MONCKS CORNER    SC    29461‐2962
EDWARD E WHITNEY                                2201 KALAMA                                                                                     ROYAL OAK        MI    48067‐4081
EDWARD E WILBOURN JR                            3801 CLUBVIEW DR                                                                                MEMPHIS          TN    38125‐2413
EDWARD E WILLIS                                 368 SOUTH CO RD 250 WEST                                                                        SULLIVAN         IN    47882‐7007
EDWARD E WILLLIAMS & DONNA L WILLIAMS JT TEN    1302 HOME AVE                                                                                   ANDERSON         IN    46016‐1923

EDWARD E WOOD                                   2425 COLCHESTER CT                                                                              CUMMING          GA    30041‐5839
EDWARD E WRIGHT                                 26039 HIGNUTT RD                                                                                DENTON           MD    21629‐2706
EDWARD E WROBEL                                 3836 CRESCENT DR                                                                                CINCINNATI       OH    45245‐2704
EDWARD E YOHEY                                  24 BROOKSTON CT                                                                                 COVINGTON        OH    45318‐1583
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EDWARD E YOUNG JR                              GLORIA S YOUNG                          152 PASTORAL COURT                                       MARTINSBURG      WV    25403
EDWARD E ZASTAWRNY                             78 WATTSON CIR                                                                                   LEBANON          TN    37087‐0961
EDWARD E ZIEGLER CUST ELIZABETH M TROMBA UNDER 693 STANDISH DR                                                                                  ST AUGUSTINE     FL    32086‐6830
FL GIFTS TO MINORS ACT
EDWARD E ZMUDA                                 643 HARRIS DRIVE                                                                                 EAST AURORA     NY     14052‐1515
EDWARD EARL BLAIR                              2502 HINGHAM LN                                                                                  DAYTON          OH     45459‐6649
EDWARD EARON HECK                              235 FAIRGROUND RD APT 203                                                                        LEWISBURG       PA     17837‐1289
EDWARD EDUARDO ROSS                            522 LINWOOD AVE                                                                                  BUFFALO         NY     14209‐1404
EDWARD ELIAS HARMON                            G 3479 MINERVA                                                                                   FLINT           MI     48504
EDWARD ELION                                   655 MAID MARION HILL                                                                             SHERWOOD FOREST MD     21405‐2027

EDWARD ELLINGSBURG & MARVIN ELLINGBURG JT TEN 5123 CRAIGMONT DR                                                                                 MEMPHIS          TN    38134‐2928

EDWARD ELLIS DECKER                              1481 OLD WINBERRY RD                                                                           NEWPORT          NC    28570‐6165
EDWARD ELLIS JACOBS                              2231 HOLLISTERTER                                                                              GLENDALE         CA    91206‐3032
EDWARD EMANUEL SPRINGER                          9332 SOUTH VERNA ST                                                                            CLAYPOOL         IN    46510‐9330
EDWARD EPPRIDGE & WILLIAM E EPPRIDGE JT TEN      72 CHERNISKE RD                                                                                NEW MILFORD      CT    06776‐4920

EDWARD ERIC CRAWFORD                           7520 WAVERLY ISLAND RD                                                                           EASTON           MD    21601‐8180
EDWARD EUGENE ROBERTS                          4612 ST CHARLES                                                                                  ANDERSON         IN    46013‐2458
EDWARD EVERSOLE                                319 SOUTH MAIN ST                                                                                MILAN            OH    44846‐9797
EDWARD EYRE TRAINER A MINOR U/GDNSHIP OF HELEN 448 MAULGIN AVE                                                                                  NORTH EAST       MD    21901
PRICE TRAINER
EDWARD F ALLAIRE                               17982 E23 COUNTY HOME RD                                                                         MONTICELLO       IA    52310‐8103
EDWARD F ANDERSON & MRS MARY C ANDERSON JT     32 WOODCREST DR                                                                                  LIVINGSTON       NJ    07039‐3851
TEN
EDWARD F BANNON & CAROL S BANNON JT TEN        26 10TH AVE                                                                                      CARBONDALE       PA    18407‐2453
EDWARD F BARRETT                               92 HAMMERTOWN RD                                                                                 MONROE           CT    06468‐3202
EDWARD F BENNETT                               715 COVE CT                                                                                      LOVELAND         CO    80537‐7971
EDWARD F BOOKER                                2931 W 94TH STREET                                                                               INGLEWOOD        CA    90305‐3016
EDWARD F BOSSONG                               2045 HOLLAND AVE APT 5F                                                                          BRONX            NY    10462‐2953
EDWARD F C MC GONAGLE & MARY E S MC GONAGLE JT 37200 E FAULKENBERRY RD                                                                          LONE JACK        MO    64070‐9170
TEN
EDWARD F CALCAGNI                              7 WEST POINT DRIVE                                                                               BORDENTOWN       NJ    08505‐2519
EDWARD F CALLAHAN                              7276 BIG CREEK PK                       APT PY                                                   CLEVELAND        OH    44130‐4815
EDWARD F CALLAHAN & KAREN M MASTERS JT TEN     61 EVERGREEN DR                                                                                  MARSTONS MILLS   MA    02648‐1288

EDWARD F CARNEY                                  121 TUDOR BLVD                                                                                 BUFFALO          NY    14220
EDWARD F CHMURA JR                               4100 REMSEN RD                                                                                 MEDINA           OH    44256‐9075
EDWARD F CHOLLIS & MARY LOU CHOLLIS JT TEN       99 GEORGIA RD                                                                                  PENNSVILLE       NJ    08070‐2951
EDWARD F CLAIBON                                 5154 CATER DR NO                                                                               MONTGOMERYS      AL    36108‐5302
EDWARD F COOK                                    WORONOCO ROAD                                                                                  BLANDFORD        MA    01008
EDWARD F COYLE                                   6009 MADELINE DR                                                                               WILMINGTON       DE    19808‐4826
EDWARD F CULP                                    PO BOX 22                                                                                      RAPHINE          VA    24472‐0022
EDWARD F CUNHA & RUTH E CUNHA JT TEN             200 ROGER WILLIAMS AVE                UNIT 203                                                 RUMFORD          RI    02916
EDWARD F DONLEY & MARY JEAN DONLEY JT TEN        366 ROCKFIELD RD                                                                               PITTSBURGH       PA    15243‐1400
EDWARD F DORAN JR                                C/O DORAN CHEUNCLET INC               7919 GO FORTH RD                                         DALLAS           TX    75238
EDWARD F FABRYKA & MILDRED T FABRYKA JT TEN      300 VALLEY WILLOW LAKES DR APT        D‐109                                                    WILLOW STREET    PA    17584

EDWARD F FAGAN JR & ANN H FAGAN JT TEN           162 CHESTNUT ST                                                                                GARDEN CITY      NY    11530‐6427
EDWARD F FELLA                                   25682 ALMENDRA                                                                                 VALENCIA         CA    91355‐2228
EDWARD F FLOOD                                   ATTN RITA M FLOOD                     11500 DETROIT AVE #111                                   CLEVELAND        OH    44102‐2357
EDWARD F FOX                                     501 GRAND HILL                                                                                 ST PAUL          MN    55102‐2612
EDWARD F FRALEY                                  3939 E SMITH RD                                                                                MEDINA           OH    44256‐8772
EDWARD F GASIOR & MRS FLORENCE E GASIOR JT TEN   67 JEFFERSON AVE                                                                               EDISON           NJ    08837‐3319

EDWARD F GEILOW                                  14560 MULBERRY                                                                                 SOUTHGATE        MI    48195‐2515
EDWARD F GIRARDEAU                               3417 HALL DRIVE                                                                                AIKEN            SC    29801‐1803
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EDWARD F GLEASON CUST JOHN EDWARD GLEASON       30396 LAKELAND BLVD                                                                           WICKLIFFE          OH    44092‐1748
UGMA OH
EDWARD F GRETKE                                 C/O DOROTHY GRETKE                   27986 MAPLE FOREST BLVD W                                HARRISON TWP       MI    48045‐2213
EDWARD F HAYES                                  1010 SW ORLENS                                                                                TOPEKA             KS    66604‐1724
EDWARD F HOLESKO                                3421 ST RT 534                                                                                NEWTON FALLS       OH    44444‐8759
EDWARD F HOLLINGER                              420 JERUSALEM SCHOOL RD                                                                       MOUNT WOLF         PA    17347‐9753
EDWARD F HORN                                   125 CUTTLE E‐42                                                                               MARYSVILLE         MI    48040‐1887
EDWARD F HUDY                                   7545 DEERING                                                                                  WESTLAND           MI    48185‐2614
EDWARD F HULLS & SHARLA B HULLS JT TEN          1000 SOUTH SUMMIT VIEW DRIVE                                                                  FORT COLLINS       CO    80524‐8435
EDWARD F JACQUES & MARILYN JACQUES JT TEN       4 HIGHLAND AVE                                                                                NEWPORT            ME    04953‐3229
EDWARD F JOERGER                                BOX 30                                                                                        ALTUS              AR    72821‐0030
EDWARD F JOHNSON & BARBARA L JOHNSON JT TEN     3274 E HENRY AVE                                                                              CUDAHY             WI    53110‐3059

EDWARD F JORDAN                                 6818 SNOWDON AVE                                                                              EL CERRITO         CA    94530
EDWARD F JUDNICK & JOANN ORAM & DOUGLAS M       109 SCHORIE AVE                                                                               JOLIET             IL    60433‐1407
ORAM SR JT TEN
EDWARD F JUSTIN JR                              850 PLEASANT RDG                                                                              LAKE ORION         MI    48362‐3438
EDWARD F JUSTIN JR & NANCY R JUSTIN JT TEN      850 PLEASANT RDG                                                                              LAKE ORION         MI    48362‐3438
EDWARD F KASSUBA & MINNIE F KASSUBA JT TEN      PO BOX 395                                                                                    CURTIS             MI    49820‐0395
EDWARD F KAUTZER                                4264 HIGHLAND DR                                                                              SHOREVIEW          MN    55126‐3122
EDWARD F KEEHN                                  38 CARTER ST APT I                                                                            PONTIAC            MI    48342‐2000
EDWARD F KELLEY JR                              504 HADLEY RD                                                                                 SUNDERLAND         MA    01375‐9497
EDWARD F KLENKE III                             PO BOX 656                                                                                    RED BANK           NJ    07701‐0656
EDWARD F KROLL                                  4562 W 194                                                                                    CLEVELAND          OH    44135‐1741
EDWARD F KRUITHOF                               1860 HAMPTON RUN                                                                              BROADVIEW          OH    44147‐3290
                                                                                                                                              HEIGHTS
EDWARD F LANE & MARIAN C LANE JT TEN            8122 E HUBBELL                                                                                SCOTTSDALE         AZ    85257‐2827
EDWARD F LANG JR & MRS EVELYN R LANG JT TEN     987 CHESTERTON WAY                                                                            CINCINNATI         OH    45230‐3892
EDWARD F LEBIEDZ TR EDWARD F LEBIEDZ TRUST UA   6710 REYNARD DR                                                                               SPRINGFIELD        VA    22152‐2760
1/25/05
EDWARD F LEPPIEN SR & SUANNE C LEPPIEN JT TEN   8371 FLETCHER RD                                                                              AKRON              NY    14001‐9734

EDWARD F LOUGHREY                               2125 RIVER ROAD                                                                               NIAGARA FALLS    NY      14304‐3749
EDWARD F LOVE                                   4485 BROWN RD                                                                                 VASSAR           MI      48768‐9106
EDWARD F LOVE & MARIETTA R LOVE JT TEN          4485 BROWN RD                                                                                 VASSAR           MI      48768‐9106
EDWARD F LUDLOW                                 410 ARROW WOOD CT                                                                             ABINGDON         MD      21009‐2631
EDWARD F LUNDBERG                               10750 RAYGOR RD                                                                               COLORADO SPRINGS CO      80908‐4413

EDWARD F MAGILNICKI                             1272 FRANTZKE AVE                                                                             SCHENECTADY        NY    12309‐5013
EDWARD F MANBECK TR EDWARD F MANBECK LIVING     2580 CARRINGTON WAY                                                                           FREDERICK          MD    21702
TRUST UA09/19/95
EDWARD F MARKEY JR                              1144 SAINT JAMES DR                                                                           LANGHORNE          PA    19047‐1626
EDWARD F MARTIN                                 14172 MARY GROVE DR                                                                           STERLING HEIGHTS   MI    48313‐4348

EDWARD F MC HALE & SUSAN S MC HALE JT TEN       731 BACHTEL ST SE                                                                             NORTH CANTON       OH    44720‐3203
EDWARD F MC LAUGHLIN                            1710 PICASSO PLACE                                                                            LADY LAKE          FL    32159‐8505
EDWARD F MC PHILLIPS JR                         5827 NEEDLELEAF DR                                                                            MILFORD            OH    45150
EDWARD F MCNEELY & SHIRLEY M MCNEELY JT TEN     40 EMERSON ST                        #1                                                       WAKEFIELD          MA    01880‐2215

EDWARD F MILITELLO                              8480 WOODLAND SHORE DR                                                                        BRIGHTON           MI    48114‐7303
EDWARD F MILLER CUST EMILY J MILLER UGMA MI     1097 GRAYTON                                                                                  GROSSE POINTE      MI    48230‐1424
                                                                                                                                              PARK
EDWARD F MINCHIN                                PO BOX 160                                                                                    ROCKLAND           MA    02370‐0160
EDWARD F MOLASH & JEAN D MOLASH JT TEN          125 DRUMMOND DR                                                                               WILMINGTON         DE    19808‐1314
EDWARD F MOLDENKE & PHYLLIS A MOLDENKE JT TEN   103 SHEFFEY DRIVE                                                                             FOREST             VA    24551‐2313

EDWARD F MULLAHEY CUST STEPHEN MICHAEL          PO BOX 578                                                                                    ARROYO GRANDE      CA    93421‐0578
MULLAHEY UGMA CA
EDWARD F MURPHY & DONNA M MURPHY JT TEN         79 CENTRE ST                                                                                  SOMERSET           MA    02726‐5302
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EDWARD F NAGLICH JR                             8409 S LOCKWOOD                                                                               BURBANK           IL    60459‐2649
EDWARD F NEMETH JR                              32 ELGIN AVE                         TORONTO ON                             M5R 1G6 CANADA
EDWARD F NITKA II                               10943 E COUNTY ROAD 650 N                                                                     INDPLS            IN    46234‐3055
EDWARD F NOVIS                                  3393 CORK OAK WAY                                                                             PALO ALTO         CA    94303
EDWARD F NUTT                                   2947 N CASINO BEACH DR                                                                        BAY CITY          MI    48706‐1901
EDWARD F O'GARA & JANET V O'GARA JT TEN         4 WENTWORTH STREET                                                                            WORCESTER         MA    01603‐1815
EDWARD F OCZEPEK                                3346 CHURCH ST                                                                                SAGINAW           MI    48604‐2245
EDWARD F OSTROWSKI                              116 WILLBOURN DR                                                                              CROSSVILLE        TN    38558‐2820
EDWARD F PARKER                                 820 CROTON DRIVE                                                                              NEWAYGO           MI    49337‐9001
EDWARD F RACHWAL                                5216 LAWNDALE                                                                                 DETROIT           MI    48210‐2050
EDWARD F RASPER                                 7512 W CARMEN                                                                                 MILWAUKEE         WI    53218‐2240
EDWARD F REGAN & MRS BEVERLY A REGAN JT TEN     70 MC GUIRE DRIVE                                                                             WALNUT CREEK      CA    94596‐4759

EDWARD F ROMANO JR & CANDACE P ROMANO JT TEN 2049 COLONIAL WAY                                                                                HUMMELSTOWN       PA    17036‐8918

EDWARD F ROSE                                   125 BERKSHIRE DR                                                                              COVINGTON         GA    30016‐8059
EDWARD F ROTH                                   1107 N WENONA                                                                                 BAY CITY          MI    48706‐3570
EDWARD F SABATOWSKI                             32048 GLOEDE DR                                                                               WARREN            MI    48093‐1540
EDWARD F SARGENT                                1509 LOYOLA DR                                                                                FLINT             MI    48503‐5225
EDWARD F SARGENT JR                             1128 BUCKINGHAM RD                                                                            HASLETT           MI    48840‐9729
EDWARD F SCHULZ & MRS DONNA C SCHULZ TEN ENT    173 LEGACY WOODS DR                                                                           WALLACE           NC    28466

EDWARD F SHERER                              PO BOX 2378                                                                                      ROCKPORT          TX    78381‐2378
EDWARD F SHERLOCK                            1118 MANITOULIN PIKE                                                                             BRUNSWICK         OH    44212‐2823
EDWARD F SHERMAN & ELLEN E SHERMAN JT TEN    51 SHEAFE ST                                                                                     MALDEN            MA    02148‐6017
EDWARD F SHIPLEY                             433 HOMESTEAD RD                                                                                 WILMINGTON        DE    19805‐4639
EDWARD F SHORT                               1221 E MAIN ST                                                                                   STOUGHTON         WI    53589‐1844
EDWARD F SINKO                               RFD 1 POLK ROAD                                                                                  ITHACA            MI    48847‐9801
EDWARD F SKINNER                             10 WHETSTONE CT                                                                                  SPRINGBORO        OH    45066‐9504
EDWARD F SKOTZKE                             21218 BRAVEHEART DR                                                                              LEESBURG          FL    34748‐7594
EDWARD F SMITH III                           903 N KEMPER STREET                                                                              ALEXANDRIA        VA    22304‐1501
EDWARD F SOBOTA                              2582 HAYESVILLE AVE                                                                              HENDERSON         NV    89052‐6817
EDWARD F STAHLECKER                          96 PARKER LN                            APT 1                                                    ROCHESTER         NY    14617‐5537
EDWARD F STRAITIFF                           216 2ND ST                                                                                       ALLISON           PA    15413‐9603
EDWARD F SUESSLE & GLADYS M SUESSLE JT TEN   12 MEDDAUGH RD                                                                                   PLEASANT VALLEY   NY    12569‐5308
EDWARD F SZYMASZEK                           6686 FERN ST                                                                                     DETROIT           MI    48210‐2408
EDWARD F THOMPSON                            376 CYPRESS WAY W                                                                                NAPLES            FL    34110‐1130
EDWARD F TRENA                               5725 DELLAGLEN AVE                                                                               PITTSBURGH        PA    15207‐2059
EDWARD F TRENA & STEPHANIE S TRENA JT TEN    5725 DELLAGLEN AVE                                                                               PITTSBURGH        PA    15207‐2059
EDWARD F VENERE & MARGARET K VENERE JT TEN   PO BOX 1323                                                                                      MANASSAS          VA    20108‐1323
EDWARD F VOBORIL                             PO BOX 2548                                                                                      SEDONA            AZ    86339‐2548
EDWARD F WAGNER & PROVIDENCE M WAGNER JT TEN 408 S SPRING                                                                                     LA GRANGE         IL    60525‐2747

EDWARD F WALSH JR                               57 DEKOVEN CT                                                                                 BROOKLYN          NY    11230‐1745
EDWARD F WARMUS                                 4341 AUTUMN TRAIL                                                                             CLARENCE          NY    14031‐2326
EDWARD F WEZOWICZ                               19 KING ARTHUR CT                                                                             NORTH HAVEN       CT    06473‐1043
EDWARD F WILLEVER                               514 WICKSHIRE CIR                                                                             LITITZ            PA    17543‐7666
EDWARD F WILLIAMS                               1520 GERSHWIN DR                                                                              JANESVILLE        WI    53545‐1046
EDWARD F WINKLER                                4219 HOLYOKE DR SE                                                                            GRAND RAPIDS      MI    49508‐3758
EDWARD F YAKSTA III                             11 S ARLINGTON AVE                                                                            BERLIN            NJ    08009
EDWARD F YOUNG                                  5495 PONTIAC LAKE ROAD                                                                        WATERFORD         MI    48054
EDWARD F YOUNG                                  968 KENILWORTH                                                                                PONTIAC           MI    48340‐3108
EDWARD F ZARECKI                                2844 S 106TH ST UPPR                                                                          WEST ALLIS        WI    53227
EDWARD F ZDRAVECKY                              C/O KIM CATALDE                      227 PENNOAK DRIVE                                        PITTSBURGH        PA    15235‐3055
EDWARD F ZEAMBA & DIANE J ZEAMBA JT TEN         1653 N AVENIDA DEL MANZANO                                                                    CAMARILLO         CA    93010‐1805
EDWARD FINGERS JR                               12326 KERN RD                                                                                 SPRINGVILLE       NY    14141‐9214
EDWARD FLORENCE                                 202 S COLLETT ST                                                                              LIMA              OH    45805‐3204
EDWARD FORMENTO & DOROTHY FORMENTO TR UA        8147 ROSEMERE COURT                                                                           WILLOW SPRINGS    IL    60480‐1026
06/15/89 FORMENTO TRUST
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EDWARD FOSTER JR & GLORIA D FOSTER JT TEN       11614 WEST OUTER DRIVE                                                                        DETROIT           MI    48223‐1954
EDWARD FOX                                      643 W US36                                                                                    PENDLETON         IN    46064‐9346
EDWARD FOX & ESTHER FOX TR THE EDWARD FOX REV   2647 SALCEDA DRIVE                                                                            NORTHBROOK        IL    60062‐7630
TRUST UA 06/17/99
EDWARD FRANCIS FLANAGAN                         RD 1 TALMAGE RD                                                                               MENDHAM           NJ    07945‐9801
EDWARD FRANK POGASIC                            12843 WATKINS DR                                                                              SHELBY TOWNSHIP   MI    48315‐5845

EDWARD FRANK PYTLIK                             29 KOFLER AV                                                                                  BUFFALO           NY    14207‐1822
EDWARD FRANK WINDISCH                           5912 POCOL DR                                                                                 CLIFTON           VA    20124‐1325
EDWARD FRANKLIN RIFE CUST BEVERLY RIFE U/THE    1870 46TH AVE                                                                                 VERO BCH          FL    32966‐2348
MICHIGAN U‐G‐M‐A
EDWARD FRANKLIN RIFE CUST DONALD E RIFE U/THE   35 MERIDIAN COURT                                                                             NEWTOWN           PA    18940‐1741
MICHIGAN U‐G‐M‐A
EDWARD FUST JR                                  792 LAGUNA ST                                                                                 WALLED LAKE       MI    48088
EDWARD G ADAMUSINSKI                            9 CLIFFSIDE DRIVE                                                                             STEWARTSVILLE     NJ    08886
EDWARD G AGUIRRE                                10029 HADDON ST                                                                               PACOIMA           CA    91331‐3307
EDWARD G BARNETT & GLADYS O BARNETT JT TEN      348 GLENDOLA ST                                                                               WARREN            OH    44483‐1249
EDWARD G BELLOMO & INGRID BELLOMO JT TEN        829 FENWORTH BLVD                                                                             FRANKLIN SQUARE   NY    11010‐3500

EDWARD G BLACK                                  739 E FOURTH STREET                                                                           FRANKLIN          OH    45005‐2304
EDWARD G BOZYMOWSKI                             2503 NINTH ST                                                                                 WYANDOTTE         MI    48192‐4360
EDWARD G BRANDENBERGER & DOROTHY D              2407 LANSIDE DR                                                                               WILMINGTON        DE    19810‐4510
BRANDENBERGER JT TEN
EDWARD G BROENNIMAN                             1110 DAPPLE GREY CT                                                                           GREAT FALLS       VA    22066‐2006
EDWARD G CAMIS                                  1733 N 36TH AVE                                                                               STONE PARK        IL    60165
EDWARD G CAMPION III                            201 LONGWOOD AVE                                                                              GLEN BURNIE       MD    21061‐2768
EDWARD G CASE                                   8232 RHINE WAY                                                                                CENTERVILLE       OH    45458‐3010
EDWARD G COLE & BARBARA K COLE JT TEN           15649 HARVEST MILE RD                                                                         BRIGHTON          CO    80601‐3889
EDWARD G DINNEEN                                122 CONCORD ST                                                                                BROCKTON          MA    02302‐4021
EDWARD G DODIG & MARGARET A DODIG JT TEN        9000 E BROOKSIDE RD                                                                           INDEPENDENCE      OH    44131‐6615
EDWARD G DRAKE                                  401 COUNTRY DR                                                                                TOWNSEND          DE    19734‐9792
EDWARD G DRAKE                                  401 COUNTRY DR                                                                                TOWNSEND          DE    19734‐9792
EDWARD G EICKHOLT                               0122 NANITA DR                                                                                MONTROSE          MI    48457‐9164
EDWARD G GARCIA                                 1981 BRONXDALE AVE                                                                            BRONX             NY    10462‐3351
EDWARD G GEORGE                                 5 CORTLAND DR                                                                                 SALEM             NH    03079‐4040
EDWARD G HADDAD                                 3262 DONNA DR                                                                                 STERLING HTS      MI    48310‐2904
EDWARD G HALE                                   9094 ERIE AVE                                                                                 SAINT HELEN       MI    48656‐9713
EDWARD G HARCHARIK                              13507 E FISHER RD                                                                             ARCHIE            MO    64725‐9164
EDWARD G HENNESSEY                              705 BLUE HERON RUN                                                                            MT PLEASANT       SC    29464‐2880
EDWARD G HILSCHER JR                            1401 ARMSTRONG                                                                                DESOTO            TX    75115‐2977
EDWARD G HIMES                                  4 COACH SIDE LANE                                                                             PITTSFORD         NY    14534‐9413
EDWARD G HOFFMAN                                3570 WARREN SHARON RD                                                                         VIENNA            OH    44473‐9509
EDWARD G HOLTZMAN & NELLIE D HOLTZMAN JT TEN    13900 CLAYTON RD                                                                              CHESTERFIELD      MO    63017‐8406

EDWARD G HYNES                                  56 LOWERY LN                                                                                  MENDHAM           NJ    07945‐3402
EDWARD G KELLENBENZ & JOANNE B KELLENBENZ JT    11 HUFF LN                                                                                    NEWBURGH          NY    12550‐1366
TEN
EDWARD G KELLEY                                 31 GEORGE BROWN ST                                                                            BILLERICA         MA    01821‐2258
EDWARD G KLOIDA                                 800 HIDDE DR APT 121                                                                          WATERTOWN         WI    53098‐3265
EDWARD G KNAPP JR                               39228 NOTTINGHAM                                                                              WESTLAND          MI    48186‐3730
EDWARD G KOHLER                                 5793 ALBERTA DRIVE                                                                            CLEVELAND         OH    44124‐3908
EDWARD G KOPF                                   800 RT 340                                                                                    PALISADES         NY    10964
EDWARD G KOPPMAN                                2925 FLAMETREE DR                                                                             SAINT LOUIS       MO    63129‐2416
EDWARD G LAROSE                                 21 EXETER STREET                                                                              MARLBORO          MA    01752‐3305
EDWARD G LEWIS                                  1331 BURKE ROAD                                                                               BALTIMORE         MD    21220‐4416
EDWARD G LEWIS & MRS CORA E LEWIS TEN ENT       1331 BURKE RD                                                                                 BALT              MD    21220‐4416
EDWARD G MARANDA                                461 W COUNTY RD C                                                                             ST PAUL           MN    55113‐2392
EDWARD G MC GOWAN                               8612 FLUTTERING LEAF TRAIL           UNIT 201                                                 ODENTON           MD    21113
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EDWARD G MC MAHON & MARY RUTH MC MAHON JT        7 ASHLAND ST APT 428                                                                           CALDWELL           NJ    07006
TEN
EDWARD G MCNULTY                                 1960 RAUCH ROAD                                                                                ERIE               MI    48133‐9793
EDWARD G OCONNELL CUST KAYLA E OCONNELL UTMA     49 NORTH ST                                                                                    OLD BRIDGE         NJ    08857‐3819
NJ
EDWARD G PAYNE                                   1025 EASTWOOD DR                                                                               SPARTANBURG        SC    29307‐1754
EDWARD G PENDRED                                 11143 W GLEN                                                                                   CLIO               MI    48420‐1990
EDWARD G POPRIK & PATRICIA L POPRIK JT TEN       1076 UNION AVE                                                                                 BRACKENRIDGE       PA    15014‐1215
EDWARD G POZAN                                   21 DANFORTH ST                                                                                 WHITE LAKE         MI    48386‐2410
EDWARD G PRUIM                                   PO BOX 439                                                                                     CAMPBELLSPORT      WI    53010‐0439
EDWARD G PUNTE                                   1419 N GRANT AVE                                                                               WILMINGTON         DE    19806‐2437
EDWARD G RAMSEY                                  15920 RUSTIC LN                                                                                VICKSBURG          MI    49097‐7753
EDWARD G RANTTILA                                826 BONNIE BRAE N E                                                                            WARREN             OH    44483‐5241
EDWARD G SAVOIE                                  4083 MOULTON DR                                                                                FLINT              MI    48507‐5538
EDWARD G SCHOLL                                  5014 EMSTAN HILLS RD                                                                           RACINE             WI    53406‐5438
EDWARD G SCHOLL & SHEILA C SCHOLL JT TEN         5014 EMSTAN HILLS ROAD                                                                         RACINE             WI    53406‐5438
EDWARD G SCHWARZ JR TR THOMAS J SCHWARZ UA       ATTN LISA A SCHWARZ                   313 VILLA DR                                             S ATLANTIC         FL    33462‐1319
12/30/57
EDWARD G SKIVINGTON                              173 KINIRY DRIVE                                                                               ROCHESTER          NY    14609‐3027
EDWARD G SPENCER                                 1238 DREXEL CT NE                                                                              GRAND RAPIDS       MI    49505‐5450
EDWARD G STEVENS                                 444 WOOD CT                                                                                    LANGHORNE          PA    19047‐2742
EDWARD G SWINK                                   1252 NORTHBROOK LN                                                                             TROY               OH    45373‐1542
EDWARD G TAYLOR                                  2007 CLUBVIEW DRIVE                                                                            CARROLLTON         TX    75006‐1703
EDWARD G THOMPSON                                6112 TOWNLINE ROAD                                                                             LOCKPORT           NY    14094‐9654
EDWARD G TOCZYNSKI                               1234 MCKINLEY PKWY                                                                             LACKAWANNA         NY    14218
EDWARD G VAZQUEZ                                 2154 MAPLEHURST DR                                                                             WALLED LAKE        MI    48390‐3248
EDWARD G VAZQUEZ & JANICE M VAZQUEZ JT TEN       2154 MAPLEHURST DR                                                                             WALLED LAKE        MI    48390‐3248
EDWARD G VOGT & IRMA E VOGT JT TEN               SEVEN LAKES BLDG 23 UNIT 409          1781 PEBBLE BEACH DR S W                                 FORT MYERS         FL    33907‐5700
EDWARD G VOGT JR                                 5147 E EARLL DR                                                                                PHOENIX            AZ    85018‐7960
EDWARD G VOGT JR CUST ALEXA MACKENZIE VOGT       5147 E EARLL DR                                                                                PHOENIX            AZ    85018‐7960
UTMA AZ
EDWARD G VOGT JR CUST ERIC E VOGT UTMA AZ        5147 E EARLL DR                                                                                PHOENIX            AZ    85018‐7960
EDWARD G WILEY                                   1917 MISTWOOD DRIVE                                                                            HOWELL             MI    48843‐8140
EDWARD G WILLIAMSON                              15 HEDA CT                            WHITBY ON                              L1N 5Y9 CANADA
EDWARD G WRIGHT                                  3726 LAKE OAKLAND SHORES DR                                                                    WATERFORD          MI    48329‐2153
EDWARD GALIBER                                   1742 HOLLY STREET N W                                                                          WASHINGTON         DC    20012‐1106
EDWARD GARDNER                                   131 LAMPETER RD                                                                                LANCASTER          PA    17602‐3915
EDWARD GARETH MORGAN                             5104 N GALLAGHER RD                                                                            PLANT CITY         FL    33565‐3146
EDWARD GARNER QUINBY                             1562 MADISON ST                                                                                DENVER             CO    80206‐1822
EDWARD GASPARTICH JR                             8608 IBIS COVE CIR                                                                             NAPLES             FL    34119‐7727
EDWARD GASPER & ANN GASPER JT TEN                3501 EAST VIEW DR                                                                              MURRYSVILLE        PA    15668‐2109
EDWARD GEE JR                                    8623 ROMA RD                                                                                   PALOS PARK         IL    60464‐1873
EDWARD GEIGER                                    227 E 36TH AVE                                                                                 EUGENE             OR    97405‐4747
EDWARD GEORGE HILDEBRAND                         54A RAWHITTI AVE                      MATAMATA NEW ZEALSND                   NEW ZEALAND
EDWARD GEORGE KARL TR THE KARL FAMILY TRUST UA   1876 DOOVYS ST                                                                                 AVON               OH    44011‐1112
09/04/02
EDWARD GILMAN                                    144 COURT STREET                                                                               EXETER             NH    03833‐4024
EDWARD GLEASON                                   44 HEATHER ST                                                                                  BROWNS MILLS       NJ    08014
EDWARD GLEGOLA & EDWARD J GLEGOLA JR JT TEN      2688 EVALINE                                                                                   HAMTRAMCK          MI    48212‐3214

EDWARD GNADINGER                                 8 OXFORD LN                                                                                    EATONTOWN          NJ    07724‐1417
EDWARD GOLA & MRS HELEN S GOLA JT TEN            19 GEORGETOWN ROAD                                                                             BORDENTOWN         NJ    08505‐2416
EDWARD GOLDFARB & ROSALIND M GOLDFARB JT TEN     19 CROCKER ST                                                                                  ROCKVILLE CENTRE   NY    11570‐1906

EDWARD GOLDRICK                          56 WHITTENTON ST                                                                                       TAUNTON            MA    02780‐1524
EDWARD GOLIK                             2011 DONEGAL CT                                                                                        OLDSMAR            FL    34677‐2502
EDWARD GORMAN CUST THOMAS GORMAN UTMA MD 200 ELDRID DR                                                                                          SILVER SPRING      MD    20904‐3509

EDWARD GOSFIELD III                              17 W KENSINGTON RD                                                                             ASHEVILLE          NC    28804‐1419
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EDWARD GREENBLATT                                 3257 TETON DR NW                                                                                 ATLANTA          GA    30339‐4341
EDWARD GREGA & BEATRICE E GREGA JT TEN            6107 RENWOOD DRIVE                                                                               PARMA            OH    44129‐4031
EDWARD GREGORY                                    RR 8 BOX 5010                                                                                    MONTICELLO       KY    42633‐5814
EDWARD GRIFFIN                                    2311 ELMHURST ST                                                                                 DETROIT          MI    48206‐1248
EDWARD GUT TR UA 07/25/89 EDWARD GUT              8925 N MAJOR                                                                                     MORTON GROVE     IL    60053‐2533
EDWARD GUTMAN & LESLIE GUTMAN JT TEN              7915 IVY LN                                                                                      BALTIMORE        MD    21208‐3019
EDWARD GUTOWSKI                                   6501 OSAGE AVE                                                                                   ALLEN PARK       MI    48101‐2371
EDWARD H ADELMAN & MICHELE C ADELMAN JT TEN       534 OLD STONEBROOK                                                                               ACTON            MA    01718‐1008

EDWARD H ALLEN                                    1760 OLT RD                                                                                      DAYTON           OH    45418‐1740
EDWARD H ANDERSON                                 195 LEASIDE DRIVE                       WELLAND ON                             L3C 6N4 CANADA
EDWARD H APKARIAN                                 17701 GAYLORD                                                                                    DETROIT          MI    48240‐2360
EDWARD H APKARIAN & VIOLET R APKARIAN JT TEN      17701 GAYLORD                                                                                    DETROIT          MI    48240‐2360

EDWARD H ARNOLD JR & BETTY LU V ARNOLD JT TEN     2272 VINCEMNES CT                                                                                MANSFIELD        OH    44904‐1679

EDWARD H BAERTSCHIGER                              1661 PUENTE AVE                                                                                 BALWIN PARK      CA    91706‐5962
EDWARD H BEAIRD                                    6157 MILLER RD                                                                                  SWARTZ CREEK     MI    48473‐1516
EDWARD H BILL TR UA 11/07/90 THE BILL FAMILY TRUST 1949 BEACON RIDEGE CT                                                                           WALNUT CREEK     CA    94596‐2964

EDWARD H BLEVEANS JR                              20953 WALNUT HILL RD                                                                             DANVILLE         IL    61834‐5775
EDWARD H BONACCI & NANCY A BONACCI JT TEN         9203 W ORAIBI DR                                                                                 PEORIA           AZ    85382‐0915
EDWARD H BROWN                                    6357 DAVISON RD                                                                                  BURTON           MI    48509‐1609
EDWARD H COMBS                                    237 E WEAVER ST                                                                                  NEW LEBANON      OH    45345‐1238
EDWARD H COTTRELL                                 4125 FARMER MARK RD                                                                              BRYAN            OH    43506‐9638
EDWARD H CROSS IV                                 6801 PETERS PIKE                                                                                 DAYTON           OH    45414‐2113
EDWARD H CUMMINGS                                 7129 HIGHLAND DR                                                                                 EVERETT          WA    98203‐5732
EDWARD H DYCEWICZ & ALICE E DYCEWICZ JT TEN       4419 S LAKEVIEW DRIVE                                                                            BEAVERTON        MI    48612‐8752

EDWARD H FARMER & RUTH FARMER JT TEN           INTRO DART PAPESH & CO INC                 3139 SABLAIN PKWY                                        LANSING          MI    48910‐3428
EDWARD H FIELDING TR UA 02/21/2001 EDWARD H    113 BROADBENT RD                                                                                    WILMINGTON       DE    19810
FIELDING TRUST
EDWARD H FRANKLIN JR                           5230 JACKSON                                                                                        KANSAS CITY      MO    64130‐3046
EDWARD H GALVAN                                2530 STEVES AVE                                                                                     SAN ANTONIO      TX    78210‐5507
EDWARD H GEMBARSKI & DIANNE M GEMBARSKI JT TEN 1389 AMBER CT                                                                                       GRAYSLAKE        IL    60030‐3727

EDWARD H GRAHAM                                   1101 GENESEE AVE                                                                                 FLINT            MI    48505
EDWARD H GRUSS TR EDWARD H GRUSS TRUST UA         8909 ROBIN DR                                                                                    DES PLAINES      IL    60016‐5412
5/21/03
EDWARD H GUERIN                                   12411 E WASHINGTON RD                                                                            REESE            MI    48757‐9715
EDWARD H HARLING                                  4632 S MANNING RD                                                                                HOLLEY           NY    14470‐9067
EDWARD H HENDERSON                                13908 CARILLON DR                                                                                DALALS           TX    75240‐3612
EDWARD H IOANES & SHIRLEY L IOANES JT TEN         4931 NETTLETON RD                       APT 4217                                                 MEDINA           OH    44256‐5925
EDWARD H JOHNS & JEAN S JOHNS JT TEN              706 POPLAR ST                                                                                    ISHPEMING        MI    49849‐1043
EDWARD H JOLLY                                    ATTN STACIA GILES                       RR #1 BOX 57                                             WALTON           IN    46994‐9712
EDWARD H KENNINGER & DONNA RAE KENNINGER JT       228 DAFFON DR                                                                                    INDIANAPOLIS     IN    46227‐2602
TEN
EDWARD H KOPF SR & EDWARD H KOPF JR JT TEN        312 W LAUREL STREET                                                                              GLENDORA         CA    91741‐2028
EDWARD H KRIEGER                                  788 ATKINS STREET                                                                                MIDDLETOWN       CT    06457‐1523
EDWARD H KRIEGER & EMILY H KRIEGER JT TEN         788 ATKINS ST                                                                                    MIDDLETOWN       CT    06457‐1523
EDWARD H LEDDY                                    16400 LUNNEY                                                                                     HEMLOCK          MI    48626‐9632
EDWARD H LYNCH                                    BOX 1283                                                                                         GEORGETOWN       KY    40324‐6283
EDWARD H LYNCH & MRS MARCIA S LYNCH JT TEN        331 MONTICELLO AVE                                                                               HARRISONBURG     VA    22801‐4205

EDWARD H LYONS & ALICE D LYONS JT TEN             41140 FOX RUN RD #321                                                                            NOVI             MI    48377
EDWARD H MACKEY                                   RR 1 98                                                                                          PENROSE          NC    28766‐9708
EDWARD H MARSTON                                  3433 ITHACA RD                                                                                   OLYMPIA FIELDS   IL    60461‐1344
EDWARD H MCINTYRE                                 15314 W STATE ROAD 11                                                                            ORFORDVILLE      WI    53576‐9629
EDWARD H MEHLER                                   118 MILL SPRING RD                                                                               MANHASSET        NY    11030‐3618
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EDWARD H MEHLER TR UNDER THE WILL OF HARRY R    C/O EDWARD H MEHLER                    118 MILL SPRING ROAD                                     MANHASSET          NY    11030‐3618
MEHLER
EDWARD H MEID & BETTY JEAN MEID JT TEN          18305 CYPRESS COVE RD                                                                           LUTZ               FL    33549‐5408
EDWARD H MEYERS JR                              114 S FOSTER ST                                                                                 ILLIOPLIS          IL    62539‐3612
EDWARD H MILKEWICZ                              2012 EASTER AVE                                                                                 HARLEYSVILLE       PA    19438‐3338
EDWARD H MOORADKANIAN                           54 3RD ST                                                                                       NORTH ANDOVER      MA    01845‐3626
EDWARD H OETZEL                                 3233 PERCENTUM                                                                                  TOLEDO             OH    43617‐1128
EDWARD H PAGE                                   417 TOWN PLACE CIRCLE                                                                           BUFFALO GROVE      IL    60089‐6713
EDWARD H PEARL                                  9122 CANNON AVE                                                                                 CLEVELAND          OH    44105‐3958
EDWARD H PECK III                               1627 WILBUR RD                                                                                  MEDINA             OH    44256‐8403
EDWARD H PORTER II                              3816 RIDERWOOD DR                                                                               SALISBURY          MD    21804‐2547
EDWARD H POWERS & PHYLLIS A POWERS TR UA        1071 BRIARCLIFFE                                                                                FLINT              MI    48532‐2102
12/12/07 POWERS FAMILY TRUST
EDWARD H PRICE III & EMILIE PRICE JT TEN        4065 NOTTINGHAM                                                                                 YOUNGSTONW         OH    44511‐1113
EDWARD H PROCTOR & MARY A PROCTOR JT TEN        11 MARTIN LANE                                                                                  WESTBURY           NY    11590‐6322
EDWARD H PULLEN                                 949 LENNOX                                                                                      ANN ARBOR          MI    48103‐4529
EDWARD H PULLEN III                             2727 PEMBSLY DR                                                                                 VIENNA             VA    22181‐6123
EDWARD H PURINTON                               350 BROOKTON DR                                                                                 CLEMMONS           NC    27012‐7737
EDWARD H RAMEY                                  355 BELMONT                                                                                     DETROIT            MI    48202‐1361
EDWARD H RAUSCH                                 130 QUARRY HILL EST                                                                             AKRON              NY    14001
EDWARD H RICHARDSON                             315 ALLISON LN                                                                                  BALL GROUND        GA    30107‐4533
EDWARD H RONDO                                  3380 ROCKY RIDGE RD                                                                             COSBY              TN    37722‐2970
EDWARD H ROURK                                  3380 DUNBARTON RD                                                                               WILLISTON          SC    29853‐6200
EDWARD H SCHENTZEL & GENEVIEVE G SCHENTZEL JT   7500 YORK AVE S                        APT 616                                                  EDINA              MN    55435‐4751
TEN
EDWARD H SCHOENDORFF                            4340 ST MARTINS DR                                                                              FLINT              MI    48507‐3775
EDWARD H SCHWEERS                               249 MT PLEASANT RD                                                                              LEWISBURG          KY    42256‐9128
EDWARD H SILVERMAN                              5825 COCHRAN ST                                                                                 SIMI VALLEY        CA    93063‐3644
EDWARD H SOBECK                                 913 VALLEY RD                                                                                   NEW CANAAN         CT    06840‐2814
EDWARD H SOUDERS                                1142 EAST VICTORIA VIEW                                                                         APACHE JUINCTION   AZ    85219‐9033

EDWARD H STEPHEN TOD EDWARD H STEPHEN JR        7521 BARRY RD                                                                                   TAMPA              FL    33634‐2908
EDWARD H STRAUB                                 410 KIRSCH DR                                                                                   MATTYDALE          NY    13211‐1447
EDWARD H SWARTZ & JUNE H SWARTZ JT TEN          1562 S OAKWOOD RD                                                                               OSHKOSH            WI    54904‐8157
EDWARD H THOMAS                                 20962 NORTH MILES                                                                               CLINTON TWSP       MI    48036‐1944
EDWARD H TRUNINGER                              509 HIGHVIEW DRIVE                                                                              CLINTON            IA    52732‐4844
EDWARD H TYBINKA                                6669 POPLAR DRIVE                                                                               WHITMORE LK        MI    48189‐9718
EDWARD H VAGEDES JR                             3658 CRAB ORCHARD CT                                                                            DAYTON             OH    45430‐1409
EDWARD H VARNADOE JR                            371 ARTHUR MOORE DR                                                                             GREEN COVE         FL    32043‐9528
                                                                                                                                                SPRINGS
EDWARD H WARREN & CLARA E WARREN JT TEN         ATTN HARRISON H WARREN                 51 OAKWOOD ESTATES                                       PARKERSBUR         WV    26101‐9706
EDWARD H WHITE                                  711 BLOOMFIELD                                                                                  ROYAL OAK          MI    48073‐3565
EDWARD H WILKINSON                              1800 OLD MEADOW RD #521                                                                         MCLEAN             VA    22102‐1811
EDWARD H YEUTTER                                25915 WATSON RD                                                                                 DEFIANCE           OH    43512‐8731
EDWARD HABRAT                                   41044 GLENLEVEN CT                                                                              CLINTON TWP        MI    48038‐5856
EDWARD HALL JR                                  3042 S WASHINGTON                                                                               SAGINAW            MI    48601‐4353
EDWARD HALPIN                                   552 HANON DRIVE                                                                                 WILLISTON          VT    05495‐8985
EDWARD HANS WISNEWSKI                           4489 DETROIT ST                                                                                 SPRUCE             MI    48762
EDWARD HANSON                                   1312 W 5TH ST                                                                                   ANACONDA           MT    59711‐1813
EDWARD HARRIS                                   2021 KEY LIME ST                                                                                OCOEE              FL    34761‐3932
EDWARD HARRIS JR                                3826 E 58TH TERRACE                                                                             KANSAS CITY        MO    64130‐4348
EDWARD HARRIS JR                                33 HAVEN STREET                                                                                 BUFFALO            NY    14211‐1821
EDWARD HARROLD & BETTE STARK HARROLD JT TEN     17 HARMON PL                                                                                    SMITHTOWN          NY    11788‐2711

EDWARD HARTLEY                                   182 S CALIFORNIA DR                                                                            COAL CENTER        PA    15423‐1115
EDWARD HARUTUNIAN                                3200 BASELINE RD                                                                               STOCKBRIDGE        MI    49285‐9424
EDWARD HEIDELBACH JR & SALLY F HEIDELBACH JT TEN 37725 GLENGROVE DR                                                                             FARMINGTN HLS      MI    48331

EDWARD HENNIX                                   57 BRUCE PARK DR                                                                                TRENTON            NJ    08618‐5109
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EDWARD HENRY MUELLER & MRS BEATRICE J MUELLER    3 SHERIDAN LANE                                                                                 SEA CLIFF        NY    11579‐1017
JT TEN
EDWARD HENRY TRASKO                              38 ARDMORE RD                                                                                   WEST HARTFORD    CT    06119
EDWARD HENSLEY                                   628 AUGDON DRIVE                                                                                ELYRIA           OH    44035‐3032
EDWARD HENSLEY & DONNA B HENSLEY JT TEN          628 AUGDON DR                                                                                   ELYRIA           OH    44035‐3032
EDWARD HERBERT GRAHAM                            1296 KURTZ                                                                                      FLINT            MI    48505
EDWARD HERNANDEZ                                 2100 ISABELL                                                                                    TROY             MI    48083‐2308
EDWARD HEYMAN                                    602 DESOTO DR                                                                                   TIERRA VERDE     FL    33715‐2017
EDWARD HIELSCHER                                 363 PINE ST                                                                                     ORMOND BEACH     FL    32174‐6919
EDWARD HOLBUS CUST NANCY J HOLBUS UGMA WI        8495 MOUNTAIN BELL DR                                                                           ELK GROVE        CA    95624‐4205

EDWARD HOPPER                                     4745 CHARRINGTON CI                                                                            INDIANAPOLIS     IN    46254‐9671
EDWARD HOY                                        9133 WINDING WAY                                                                               ELLICOTT CITY    MD    21043‐6437
EDWARD HULYK                                      #306                                  4350 CHATHAM DR                                          LONGBOAT KEY     FL    34228‐2342
EDWARD HULYK & BARBARA R HULYK JT TEN             #306                                  4350 CHATHAM DR                                          LONGBOAT KEY     FL    34228‐2331
EDWARD HYMAN CUST DANIEL AARON HYMAN UGMA 177 BRAMBLE CT                                                                                         WILLIAMSVILLE    NY    14221‐1715
NY
EDWARD I DANNEMILLER                              227 MILLWHEEL DR                                                                               VILLA RICA       GA    30180‐6989
EDWARD I DAVIS & MRS DORIS L DAVIS TEN COM        7454 JADE ST                                                                                   NEW ORLEANS      LA    70124‐3539
EDWARD I LEROY                                    1248 CRYSTAL POINTE CIR                                                                        FENTON           MI    48430‐2025
EDWARD I MYERS                                    5525 FAIR OAKS RD                                                                              PITTSBURGH       PA    15217‐1060
EDWARD I SHAFFER                                  2631 CAMINO PL E                                                                               DAYTON           OH    45420‐3903
EDWARD I WIGDOR                                   260 HEATH ST WEST #1004               TORONTO ON                             M5P 3L6 CANADA
EDWARD IBSEN                                      BOX 83                                                                                         LAYTON           NJ    07851‐0083
EDWARD INGRAM                                     31929 STAR 41                                                                                  PEEBLES          OH    45660
EDWARD J & LOIS J HLAVATY TR HLAVATY FAMILY TRUST 758 SUNRISE PARK ST                                                                            HOWELL           MI    48843‐8597
UA 02/28/98
EDWARD J ADAMCZYK & DELPHINE E ADAMCZYK JT TEN 8153 LINDA                                                                                        WARREN           MI    48093‐2811

EDWARD J ADAMS & JOHNNIE M ADAMS JT TEN          5569 MOCERI LANE                                                                                GRAND BLANC      MI    48439‐4363
EDWARD J ALBOSTA                                 5360 FORT RD                                                                                    SAGINAW          MI    48601‐9312
EDWARD J ALEXANDER                               13609 5TH AVE                                                                                   E CLEVELAND      OH    44112‐3107
EDWARD J ALLEN                                   625 HILLVIEW RD                                                                                 BALTIMORE        MD    21225‐1241
EDWARD J AMBROSE JR                              810 SE 22ND AVE                                                                                 POMPANO BEACH    FL    33062‐6760
EDWARD J ANDREWS JR                              35335 UNIVERSITY                                                                                WESTLAND         MI    48185‐3639
EDWARD J ANTONIO                                 310 CLINTON ST                                                                                  BROOKLYN         NY    11201‐6130
EDWARD J APLEY SR                                494 4TH AV                                                                                      PONTIAC          MI    48340‐2017
EDWARD J ARNOLD                                  11655 MAPLE                                                                                     BIRCH RUN        MI    48415‐8476
EDWARD J ARNOLD                                  5002 BREAKWATER BLVD                                                                            SPRINGHILL       FL    34607‐2480
EDWARD J BALLAS                                  833 CEDAR WAY                                                                                   BOARDMAN         OH    44512‐5109
EDWARD J BANACK                                  1022 COYNE PLACE                                                                                WILMINGTON       DE    19805‐4523
EDWARD J BANDOLA                                 1565 AUGUSTA CIR #103                                                                           DELRAY BEACH     FL    33445‐5754
EDWARD J BARNETT                                 702 AUGUSTINE ST                       BESTFIELD                                                WILMINGTON       DE    19804‐2606
EDWARD J BARRY                                   10 CLEARVIEW DRIVE                                                                              SPENCERPORT      NY    14559‐1118
EDWARD J BARRY CUST COLLEEN M BARRY UGMA VA      6402 WESTCHESTER CIR                                                                            RICHMOND         VA    23225‐1839

EDWARD J BARRY CUST KEVIN E BARRY UGMA VA      6402 WESTCHESTER CIR                                                                              RICHMOND         VA    23225‐1839
EDWARD J BARTKOWICZ & ANTOINETTE BARTKOWICZ JT 114 TIMBERLINE DR                                                                                 LEMONT           IL    60439‐4426
TEN
EDWARD J BATOR                                 26 HILLSDALE ROAD                                                                                 EAST BRUNSWICK   NJ    08816‐4318
EDWARD J BATOR & RITA M BATOR JT TEN           26 HILLSDALE RD                                                                                   EAST BRUNSWICK   NJ    08816‐4318
EDWARD J BAUMGART                              1152 W DOWNEY AVE                                                                                 FLINT            MI    48505‐1465
EDWARD J BEALE                                 38 PENDLETON COURT                                                                                NEW CASTLE       DE    19720‐3414
EDWARD J BERDYCH                               8818 FEARNE AVE                                                                                   PARKVILLE        MD    21234‐4206
EDWARD J BERNARD                               336 J STREET                                                                                      FREMONT          CA    94536‐2917
EDWARD J BERNHARDT                             3244 JESSUP RD                                                                                    CINCINNATI       OH    45239‐6213
EDWARD J BEYER                                 6906 W 107TH PL                                                                                   WORTH            IL    60482‐1322
EDWARD J BIERSACK                              2401 PATRICK BLVD                                                                                 BEAVER CREEK     OH    45431‐8497
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EDWARD J BIERSACK & NORMA A BIERSACK JT TEN        2401 PATRICK BLVD                                                                                BEAVER CREEK      OH    45431

EDWARD J BLOTKAMP                                  19433 WOODWORTH                                                                                  DETROIT           MI    48240‐1533
EDWARD J BOFFA                                     183 OLD COUNTY ROAD                     COCHECTON CTN                                            COCHECTON         NY    12726
EDWARD J BOFFA & ROSEMARY BOFFA JT TEN             183 OLD COUNTY RD                                                                                COCHECTON         NY    12726‐5721
EDWARD J BOGERT                                    17 WALNUT ST                                                                                     DENVILLE          NJ    07834‐2807
EDWARD J BONAMASE                                  5940 CRANBROOK WAY                      APT A201                                                 NAPLES            FL    34112‐8867
EDWARD J BORSKI                                    60 GAYMOND RD                                                                                    NORTH             CT    06255‐2009
                                                                                                                                                    GROSVNORDAL
EDWARD J BOUCHER                                   52 LAKEVIEW ST                                                                                   MERIDEN           CT    06451‐5229
EDWARD J BOUDREAUX JR                              366 TURTLEBACK XING                                                                              VENICE            FL    34292‐5370
EDWARD J BRAATE                                    555 92ND ST SW                                                                                   BYRON CENTER      MI    49315‐8830
EDWARD J BRECKO                                    3033 DERRY PL                                                                                    PHILADELPHIA      PA    19154‐2514
EDWARD J BRIGGS                                    111 EAST LAKESHORE DR                                                                            HOPE              MI    48628‐9312
EDWARD J BROCK & ARLENE J BROCK JT TEN             979 FISHER                                                                                       GROSSE POINT      MI    48230‐1204
EDWARD J BROWN & MIRIAM C BROWN TR UA 1/4/01       4103 OAK TREE CIR                                                                                ROCHESTER         MI    48306‐4660
BROWN LIVING TRUST
EDWARD J BRYG JR                                   2510 TRITT SPRINGS TRCE NE                                                                       MARIETTA          GA    30062‐5259
EDWARD J BURKE                                     45 OAK BLVD                                                                                      CEDAR KNOLLS      NJ    07927‐1210
EDWARD J BURNETTE                                  6 RUCKERT RD                                                                                     MORGANTOWN        WV    26508‐2754
EDWARD J BURRUSS                                   2544 BOTTOMRIDGE RD                                                                              ORANGE PARK       FL    32065‐5793
EDWARD J BUTLER                                    295 WILBAR DR                                                                                    STRATFORD         CT    06614
EDWARD J BYRNES CUST EDMUND E BYRNES UGMA NY       15 ENGLISH ST                                                                                    BINGHAMTON        NY    13904‐1739

EDWARD J BYRSKI                                    5423 W COLDWATER RD                                                                              FLINT             MI    48504‐1021
EDWARD J BYRSKI & EDWARD J BYRSKI JR JT TEN        4733 IRONWOOD ST                                                                                 SAGINAW           MI    48603‐4511
EDWARD J CAIN                                      7093 FIELDCREST DRIVE                                                                            LOCKPORT          NY    14094‐1611
EDWARD J CAIN & MARILYN J CAIN JT TEN              7093 FIELDCREST DR                                                                               LOCKPORT          NY    14094‐1611
EDWARD J CALKINS                                   1660 N LASALLE ST                                                                                CHICAGO           IL    60614‐6036
EDWARD J CAMELLI & MRS KATHLEEN J CAMELLI JT TEN   110 W 6TH ST                                                                                     NEW CASTLE        DE    19720‐5071

EDWARD J CAMERON                                   5218 MARCONI                                                                                     CLARKSTON       MI      48348‐3842
EDWARD J CAMPBELL                                  226 STRATFORD DR                                                                                 IRWIN           PA      15642‐4537
EDWARD J CAMPBELL                                  2222 N 74 STREET                                                                                 KANSAS CITY     KS      66109‐2476
EDWARD J CANARIE                                   3150 NAIA #102                                                                                   FT PIERCE       FL      34949‐8868
EDWARD J CARR                                      558 NEW BEDFORD RD                      PO BOX 192                                               ROCHESTER       MA      02770‐0192
EDWARD J CARROLL                                   5255 ELDER LANE                                                                                  GRANITE FALLS   NC      28630‐8754
EDWARD J CARSON                                    401 SW 4TH AVE APT 502                                                                           FT LAUDERDALE   FL      33315
EDWARD J CARUSO & TSUYA M CARUSO TEN ENT           287 N BROAD ST                                                                                   PENNS GROVE     NJ      08069‐1024
EDWARD J CASPER JR                                 1774 N EVERY RD                                                                                  MASON           MI      48854‐9444
EDWARD J CAVOLASKI                                 2108 E FOUNTAIN ST                                                                               MESA            AZ      85213‐5217
EDWARD J CERNIC JR                                 500 COOPER AVE                                                                                   JOHNSTOWN       PA      15906‐1102
EDWARD J CHANDLER                                  8739 HEATHER BLVD                                                                                BROOKSVILLE     FL      34613‐5173
EDWARD J CHMIELEWSKI & DONNA R CHMIELEWSKI JT      4543 HOOVER ST                                                                                   ROLLING MEADOWS IL      60008‐1115
TEN
EDWARD J CHMURA                                    42 SMITH ST                                                                                      SAYREVILLE        NJ    08872‐1546
EDWARD J CIESLUK & MRS REGINA M CIESLUK JT TEN     320 BIRDSELL VANDERCOOK LAKE                                                                     JACKSON           MI    49203

EDWARD J CLARK                                     572 NYLON STREET                                                                                 SAGINAW           MI    48604‐2121
EDWARD J CLAVE                                     47747 JEFFRY                                                                                     SHELBY TOWNSHIP   MI    48317‐2932

EDWARD J CONBOY JR                                 8168 HILLSIDE ST                                                                                 ANGOLA            NY    14006‐9765
EDWARD J CONDOLFF                                  282 SIXTH AVE                                                                                    ST JAMES          NY    11780‐2407
EDWARD J CORBETT                                   351 MAINSAIL DRIVE                                                                               HAMPTON           VA    23664
EDWARD J COSGROVE & LEONORA S COSGROVE JT TEN      39 HATFIELD PL                                                                                   SI                NY    10302‐2130

EDWARD J COUGHLIN & DAWN E COUGHLIN JT TEN         35 LAKE COURT LOOP                                                                               OCALA             FL    34472‐2785

EDWARD J CRANE                                     1306 E VISTAWOOD                                                                                 HOUSTON           TX    77077‐3231
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EDWARD J CRAPP                                   7713 PINEVIEW DR                                                                             EDGERTON        WI    53534‐9710
EDWARD J CUKIERSKI                               23 KINGS GRANT RD                   ST CATHARINES ON                       L2N 2S1 CANADA
EDWARD J CUNNIFF JR CUST GREGORY M CUNNIFF       99 WILDWOOD DR                                                                               TROY            MI    48098‐1585
UGMA MI
EDWARD J CUNNIFF JR CUST PATRICIA R CUNNIFF UGMA 99 WILDWOOD DR                                                                               TROY            MI    48098‐1585
MI
EDWARD J CUNNIFF JR CUST TIMOTHY M CUNNIFF       99 WILDWOOD DR                                                                               TROY            MI    48098‐1585
UGMA MI
EDWARD J CUNNINGHAM                              844 KRUST DR                                                                                 OWOSSO          MI    48867‐1918
EDWARD J CZYMBOR                                 240 SO THOMAS RD                                                                             SAGINAW         MI    48609‐9569
EDWARD J DA FOE                                  12073 SCHONBORN PLACE                                                                        CLIO            MI    48420‐2145
EDWARD J DACEY JR                                2706 WALKER AVE                                                                              CAMARILLO       CA    93010‐6504
EDWARD J DAILY                                   3243 N 80 W                                                                                  KOKOMO          IN    46901‐9166
EDWARD J DANDREA                                 1410 E COOKE RD                                                                              COLUMBUS        OH    43224‐7005
EDWARD J DANISZEWSKI                             127 SMEE ROAD                                                                                CROSSVILLE      TN    38572
EDWARD J DAVIS                                   114 WEST 3RD STREET                                                                          BAYONNE         NJ    07002‐2307
EDWARD J DAVIS                                   16035 E STATE FAIR ST                                                                        DETROIT         MI    48205‐2034
EDWARD J DAWSON                                  7701 GROVE ST                                                                                TUJUNGA         CA    91042‐1211
EDWARD J DAYOK                                   33479 WILLOWICK DR                                                                           EASTLAKE        OH    44095‐2853
EDWARD J DEARNLEY                                46435 HOLLOWOODE                                                                             MT CLEMENS      MI    48044‐4646
EDWARD J DEMBSKI & MRS MADGE A DEMBSKI JT TEN 4701 WILLARD AVE                       APT 834                                                  CHEVY CHASE     MD    20815‐4620

EDWARD J DEULING                               3057 WALLACE AVE                                                                               GRANDVILLE      MI    49418‐1450
EDWARD J DIGILIO                               4 REDPINE ROAD                                                                                 MEDFORD         NY    11763‐4310
EDWARD J DOBBINS                               9750 N BROOKLYN                                                                                KANSAS CITY     MO    64155‐3110
EDWARD J DOLAN                                 PO BOX 177                                                                                     WAUSEON         OH    43567‐0177
EDWARD J DOLAN                                 ATTN LILLIAN M DOLAN                  20 WOODLANDS WAY                                         BROCKPORT       NY    14420‐2651
EDWARD J DOLAN JR                              5815 BRABROOK AVE                                                                              GRANT           FL    32949‐2130
EDWARD J DOLAN JR & BARBARA J DOLAN JT TEN     5815 BRABROOK AVE                                                                              GRANT           FL    32949‐2130
EDWARD J DONAHUE                               84‐06 109TH STREET APT 8F                                                                      RICHMOND HILL   NY    11418‐1229
EDWARD J DOROBA                                128 DENOW RD                                                                                   LAWRENCEVILLE   NJ    08648‐1504
EDWARD J DOWELL                                2501 BRIER ST SE                                                                               WARREN          OH    44484
EDWARD J DOYLE                                 4295 ROLLAND RD                                                                                BLANCHARD       MI    49310‐9570
EDWARD J DUER                                  937 FLINT CT                                                                                   VLY COTTAGE     NY    10989‐2642
EDWARD J DUNN                                  5635 CORAL LAKE DR                                                                             MARGATE         FL    33063‐5850
EDWARD J DZWONKOWSKI & ARLINE C DZWONKOWSKI 1820 MARKWOOD LN NW                                                                               GRAND RAPIDS    MI    49504‐6030
JT TEN
EDWARD J EARLS                                 1234 HAMPSTEAD LN                                                                              ORMOND BEACH    FL    32174‐1448
EDWARD J EDENS                                 6029 NORTH BAY DR                                                                              CLARKSTON       MI    48346‐1725
EDWARD J EGAN                                  52 STANSBURY CRESCENT                 SCARBOROUGH ON                         M1K 4R5 CANADA
EDWARD J EIFERT                                2818 S MAIN ST                                                                                 NEWFANE         NY    14108‐1235
EDWARD J ELDER                                 7041 S LINDEN RD                                                                               SWARTZ CREEK    MI    48473‐9432
EDWARD J ENG                                   7041 MERRICK CT                                                                                W BLOOMFIELD    MI    48322‐3088
EDWARD J ERHARD                                211 JACKSON AVE                                                                                MANVILLE        NJ    08835‐2027
EDWARD J ERNST JR                              4675 E ALWARD RD R 2                                                                           LAINGSBURG      MI    48848‐9424
EDWARD J ESPOSITO                              1397 CORIELL DRIVE                                                                             BASKING RIDGE   NJ    07920
EDWARD J FAJKOS                                1001 DIXIE HWY #1                                                                              ROSSFORD        OH    43460
EDWARD J FEERER                                8430 BREWSTER LN                                                                               CANTON          MI    48187‐8205
EDWARD J FIEDOROWICZ                           325 HIGHLAND AVE                                                                               TORRINGTON      CT    06790‐4723
EDWARD J FIRCHAK                               18 CAROLE ROAD                                                                                 NEWARK          DE    19713‐1854
EDWARD J FISHER                                385 RICHARD GLEN                                                                               TIPP            OH    45371‐8827
EDWARD J FORTUNA                               528 WALNUT NE                                                                                  GRAND RAPIDS    MI    49503‐1760
EDWARD J FORTUNATO & MARGARET M FORTUNATO JT 443 N WALNUT ST                                                                                  WEST CHESTER    PA    19380
TEN
EDWARD J FOSTER                                73 HARRISON ST                                                                                 PROVIDENCE      RI    02909‐1234
EDWARD J FOYE JR TR EDWARD J FOYE JR TRUST UA  1530 W RIDGE APT 24                                                                            MARQUETTE       MI    49855‐5703
03/24/98
EDWARD J FRAMPTON JR & JANET E FRAMPTON JT TEN 8446 SURREY DR                                                                                 TINLEY PARK     IL    60477‐1161
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Name                                              Address1                              Address2             Address3          Address4          City               State Zip

EDWARD J FRANK                                 636 SE BOUTELL ROAD                                                                               BAY CITY           MI    48708‐9170
EDWARD J GAFFKA JR                             57276 11TH ST                            LOWR                                                     CALUMET            MI    49913‐1490
EDWARD J GAINER & MRS MARGARET E GAINER JT TEN 5268 WYNTERCREEK WAY                                                                              DUNWOODY           GA    30338‐3821

EDWARD J GANLEY & MRS FRANCES E GANLEY JT TEN     19 HARRIS ST                                                                                   NORWALK            CT    06850‐2031

EDWARD J GASICIEL                                 846 JUNEAU                                                                                     YPSILANTI          MI    48198‐6370
EDWARD J GEISEL                                   PO BOX 471                                                                                     BORDENTOWN         NJ    08505‐0471
EDWARD J GERULIS                                  2401 DAY AVE N W                                                                               GRAND RAPIDS       MI    49544‐1905
EDWARD J GIBSON                                   64 EAST 94TH ST                                                                                NEW YORK           NY    10028‐1345
EDWARD J GIESELER                                 9652 HALE DR                                                                                   AFTON              MO    63123‐5546
EDWARD J GLAZA                                    2509 S JEFFERSON ST                                                                            BAY CITY           MI    48708‐8752
EDWARD J GLEMBOCKI & NATALIE V GLEMBOCKI JT TEN   36 JUMPING BROOK DRIVE                                                                         LAKEWOOD           NJ    08701‐3868

EDWARD J GLIVA & BETTY J GLIVA TR GILVA FAM LIVING 3228 COLUMBINE CT                                                                             INDIANAPOLIS       IN    46224‐2021
TRUST UA 06/06/97
EDWARD J GOSTEK                                    84 JOY HAVEN DR                                                                               SEBASTIAN          FL    32958‐6282
EDWARD J GRAHAM JR                                 8117 HIGH OAKS LN                                                                             CHARLOTTE          NC    28277
EDWARD J GRANEY & BLANCHE M GRANEY JT TEN          9733 FOX AVE                                                                                  ALLEN PARK         MI    48101‐1392
EDWARD J GRANT                                     5561 SONGBIRD POINTE LN                                                                       EAST LANSING       MI    48823‐6914
EDWARD J GREENWOOD                                 5000 CHESHAM DRIVE                                                                            DAYTON             OH    45424‐3739
EDWARD J GRESHOCK                                  PO BOX 710                                                                                    HOODSPORT          WA    98548‐0710
EDWARD J GRIMES                                    PO BOX 672                                                                                    DURHAM             CT    06422‐0672
EDWARD J GRUN                                      166 WEST ROSELLE AVENUE                                                                       ROSELLE PARK       NJ    07204‐1232
EDWARD J GRUSZKA                                   14515 COLPAERT                                                                                WARREN             MI    48088‐2958
EDWARD J HACHEY                                    2020 CAMBRIDGE DR                                                                             WOODSTOCK          GA    30188
EDWARD J HAHN                                      13329 DUFFIELD RD                                                                             MONTROSE           MI    48457‐9706
EDWARD J HALL                                      5738 EDGAR HOLT DRIVE                                                                         FLINT              MI    48505‐2900
EDWARD J HANNICK                                   728 PLEASANT VIEW DR                                                                          COLUMBIA           TN    38401‐6606
EDWARD J HANSOR                                    14455 VANSYCKLE                                                                               GREGORY            MI    48137‐9547
EDWARD J HARE & RUTH A HARE JT TEN                 3060 S WHITNEY BEACH RD                                                                       BEAVERTON          MI    48612‐9452
EDWARD J HARRINGTON JR & MRS MARY V                10 LADY SLIPPER RD                                                                            BRIDGEWATER        MA    02324‐2887
HARRINGTON JT TEN
EDWARD J HART                                      PO BOX 390                                                                                    NORWALK            CT    06852‐0390
EDWARD J HAUBENSTRICKER                            6295 S BEYER RD                                                                               FRANKENMUTH        MI    48734‐9542
EDWARD J HEFFREN                                   12029 N US HWY 24                                                                             LEWISTON           IL    61542‐9333
EDWARD J HEUER                                     1504 GANSVILLE ROAD                                                                           JONESBORO          LA    71251‐4140
EDWARD J HINDE III                                 3801 SW KAKOPO ST                                                                             PORT SAINT LUCIE   FL    34953‐3628
EDWARD J HOEG & NANCY COOKSEY HOEG JT TEN          4801 AUTUMN LAKE WAY                                                                          ANNANDALE          VA    22003‐4474
EDWARD J HORSLEY & H MARILYN HORSLEY JT TEN        31 HOLIDAY DR                                                                                 FAIRHAVEN          MA    02719‐2313

EDWARD J HUM & CYNTHIA E HUM TEN ENT              1121 8TH AVE                                                                                   NEW BRIGHTON       PA    15066‐2048
EDWARD J HUSTIN                                   6701 N MAPLE RIVER RD 1                                                                        ELSIE              MI    48831‐8716
EDWARD J ISQUIERDO                                2303 S BRADLEYVILLE RD #1                                                                      REESE              MI    48757‐9217
EDWARD J JAMES & GLORIA E JAMES JT TEN            1702 MOLE AVE                                                                                  JANESVILLE         WI    53545‐1533
EDWARD J JAMES & GLORIA E JAMES JT TEN            1702 MOLE                                                                                      JANESVILLE         WI    53545
EDWARD J JEWELL                                   10111 JEWELL RD                                                                                GAINES             MI    48436‐9721
EDWARD J JOHANSON                                 4206 VAUGHAN LANE                                                                              SARASOTA           FL    34241‐6153
EDWARD J JURASEK                                  59 SAN BROOK H Q ROAD                                                                          STOCKTON           NJ    08559‐2004
EDWARD J KALEFF & JUNE KALEFF JT TEN              9690 WARWICK DR                                                                                DESERT HOT         CA    92240‐1324
                                                                                                                                                 SPRINGS
EDWARD J KAYE                                       19288 RD B‐13                                                                                CONTINENTAL        OH    45831‐9716
EDWARD J KAZMIERCZAK                                1080 GLASER                                                                                  TROY               MI    48098‐4941
EDWARD J KEFERL & PHYLLIS J KEFERL TR KEFERL LIVING 1667 RICHLAND RD                                                                             XENIA              OH    45385‐9345
TRUST UA 12/10/98
EDWARD J KELLAS & MRS NELL M KELLAS JT TEN          4634 W WARWICK ST                                                                            CHICAGO            IL    60641‐3631
EDWARD J KELLEY                                     1174 GRAY CT                                                                                 MILAN              MI    48160
EDWARD J KELLY                                      46 PONDVIEW LANE                                                                             BRISTOL            CT    06010‐3078
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

EDWARD J KEMPA JR                                  3225 FARMDALE                                                                                   STERLING HEIGHTS   MI    48314‐2834

EDWARD J KEROSON                                   8101 EASTON RD 118                                                                              NEW LOTHROP        MI    48460‐9720
EDWARD J KING & SARA B KING JT TEN                 529 GARDEN SPRINGS DR                                                                           MT STERLING        KY    40353‐1019
EDWARD J KIPPE                                     3510 S SEYMOUR RD                                                                               SWARTZ CREEK       MI    48473‐9747
EDWARD J KIPPE & LARRILEE A KIPPE JT TEN           3510 S SEYMOUR RD                                                                               SWARTZ CREEK       MI    48473‐9786
EDWARD J KISSEL                                    8 DOMINICA DRIVE                                                                                ENGLEWOOD          FL    34223‐1846
EDWARD J KNUTSON & DOROTHY M KNUTSON JT TEN        5955 N NEWVILLE RD                                                                              MILTON             WI    53563‐9441

EDWARD J KOBUS                                     624 E 260TH                                                                                     EUCLID             OH    44132‐1952
EDWARD J KOLENDA                                   19031 LAGERQUIST RD                                                                             BRETHREN           MI    49619
EDWARD J KOVACH                                    52392 POWDERHORN DR                                                                             MACOMB             MI    48042‐3446
EDWARD J KOZIKOWSKI                                133 HIGH ST                                                                                     TERRYVILLE         CT    06786
EDWARD J KRAFCIK                                   3104 LUCERNE AVE                                                                                PARMA              OH    44134‐2628
EDWARD J KREPLEY & ARLENE R KREPLEY JT TEN         60 BONEL CT                                                                                     PITTSBURGH         PA    15227‐4504
EDWARD J KRETCHMAN                                 594 E JOHN BEERS RD                                                                             ST JOSEPH          MI    49085‐9333
EDWARD J KRETLOW                                   3626 HIGHWAY P                                                                                  WENTZVILLE         MO    63385‐2317
EDWARD J KRIEG & BARBARA J KRIEG JT TEN            9601 OAK SUMMIT AVE                                                                             BALTIMORE          MD    21234‐1823
EDWARD J KRZESIAK                                  12211 EWALD COURT                                                                               STERLING HEIGHTS   MI    48312‐3138

EDWARD J KUPSOFF TR EDWARD J KUPSOFF TRUST UA      44 GREGORY ST                                                                                   MARBLEHEAD         MA    01945‐3229
12/09/04
EDWARD J KUSTIC                                    50 HIGH POINT DR UNIT 71                                                                        MEDINA             OH    44256‐3895
EDWARD J KWATERA & CAROL S KWATERA JT TEN          26640 GLENDALE                                                                                  REDFORD TWP        MI    48239‐2721
EDWARD J LABACH                                    1649 FLOTTMANN RD                                                                               GERALD             MO    63037‐1814
EDWARD J LACOUNT                                   128 WOOD HOLLOW DR                                                                              LEAGUE CITY        TX    77573‐4321
EDWARD J LAW                                       1221 WILLOW STREET                                                                              OWOSSO             MI    48867‐4922
EDWARD J LEARY                                     221 E PEASE AVE                                                                                 WEST CARROLLTON    OH    45449‐1462

EDWARD J LEARY                                     221 E PEASE AVENUE                                                                              WEST CARROLLTON OH       45449‐1462

EDWARD J LEGER                                     11472 GLENOAKS BLVD                                                                             PACOIMA            CA    91331‐1111
EDWARD J LEMMING & EUGENIA LEMMING JT TEN          10662 NORTH TERRITORIAL                                                                         PLYMOUTH           MI    48170‐5806

EDWARD J LEONARD & JEAN M LEONARD JT TEN           5300 S MAIN ST                         APT 62                                                   CEDAR FALLS        IA    50613‐7423
EDWARD J LEVIN                                     APT 2105‐F                             70 W BURTON PL                                           CHICAGO            IL    60610‐1431
EDWARD J LIENAU & JEANE M LIENAU JT TEN            8577 GARY ROAD                                                                                  CHESANING          MI    48616
EDWARD J LISKIEWICZ & SHIRLEY ANNE LISKIEWICZ JT   12245 DOLLAR LAKE DR                                                                            FENTON             MI    48430‐9732
TEN
EDWARD J LISOSKI                                   13666 BROUGHAM DRIVE                                                                            STERLING HEIGHTS   MI    48312‐4115

EDWARD J LOBA                                   664 MIDVALE                                                                                        ALMONT             MI    48003‐8472
EDWARD J LOGSDON SR                             8485 WESTMINSTER                                                                                   WARREN             MI    48089‐3046
EDWARD J LOPER                                  888 SANTA MARGARITA                                                                                GOLETA             CA    93117‐1711
EDWARD J LOUD & E JOAN LOUD TEN COM             2537 MORNINGSTAR RD                                                                                MANASQUAN          NJ    08736‐2221
EDWARD J LUCK                                   12902 MOUNT HERMON RD                                                                              ASHLAND            VA    23005‐7820
EDWARD J LUDWIG                                 5705 NE 49TH ST                                                                                    KANSAS CITY        MO    64119‐3806
EDWARD J LUNDBERG TR UA 03/25/92 THE EDWARD J 4225 GATOR TRACE AVE #9F                                                                             FT PIERCE          FL    34982‐6802
LUNDBERG LIVING TRUST
EDWARD J LUTCHA TR EDWARD J LUTCHA REV TRUST UA 57‐03 MARATHON PKWY                                                                                LITTLE NECK        NY    11362‐2035
01/06/97
EDWARD J LYNCH                                  3 ADAM DR                                                                                          NEWINGTON          CT    06111‐5143
EDWARD J LYNCH & M JANET LYNCH TR LYNCH LIVING 1200 PRISCILLA LANE                                                                                 ROCHESTER HILLS    MI    48309‐2850
TRUST UA 05/31/01
EDWARD J MAC DONALD                             5 THE LOCH                                                                                         ROCKVILLE CENTRE   NY    11570‐4522

EDWARD J MACKAY                                    87 BEACH AVE                                                                                    EDGERTON           WI    53534‐9324
EDWARD J MADEJ                                     540 STARLIGHT DR                                                                                SEVEN HILLS        OH    44131‐4040
EDWARD J MADEJ & ELEANOR M MADEJ JT TEN            540 STARLIGHT DR                                                                                SEVEN HILLS        OH    44131‐4040
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EDWARD J MAKOVEC CUST JULIE A MAKOVEC UGMA WI 3012 N 70TH STREET                                                                               MILWAUKEE          WI    53210‐1227

EDWARD J MANKOWSKI & CONSTANCE M MANKOWSKI       34 MARK TWAIN DRIVE                                                                           MORRISTOWN         NJ    07960
JT TEN
EDWARD J MARTIN                                  9400 HOPP RD                                                                                  ST JOHNS           MI    48879‐9243
EDWARD J MARTIN III                              125 EAST 72ND ST                                                                              NEW YORK           NY    10021‐4250
EDWARD J MASTERSON                               2697 BASELINE RD                                                                              GRAND ISLAND       NY    14072‐1646
EDWARD J MATUSKO                                 3338 MARINERS LANE                                                                            ARCADIA            MI    49613‐9770
EDWARD J MAZEIKO                                 36 CARROLL STREET                                                                             NAUGATUCK          CT    06770‐4607
EDWARD J MAZIARZ                                 3398 TOWER LINE RD                                                                            BRIDGEPORT         MI    48722‐9542
EDWARD J MC CARTHY                               26 MIRASOL LN                                                                                 HARWICH PORT       MA    02646‐2014
EDWARD J MC GARRY                                6121 DOVER PLACE                                                                              NEW ORLEANS        LA    70131‐4037
EDWARD J MC KIBBIN                               3333 WINDING WAY                                                                              KETTERING          OH    45419‐1249
EDWARD J MC NIFF                                 376 BENJAMIN STREET                                                                           ROMEO              MI    48065‐5004
EDWARD J MCCORMICK                               1008 AUDUBON DR                                                                               TOMS RIVER         NJ    08753‐3603
EDWARD J MCELMOYLE & MARY A MCELMOYLE TEN        301 W 10TH ST                                                                                 JIM THORPE         PA    18229‐1728
ENT
EDWARD J MCHUGH                                  57 OAK ST                                                                                     NEWINGTON          CT    06111‐3426
EDWARD J MCKENNA & JANE B MCKENNA JT TEN         108 WOOD POND RD                                                                              WEST HARTFORD      CT    06107‐3541
EDWARD J MCLAUGHLIN                              8820 WAXFORD RD                                                                               RICHMOND           VA    23235‐1465
EDWARD J MCNELLEY & JOAN E MCNELLEY JT TEN       9 BERRIDGE WAY                                                                                NORTH READING      MA    01864‐1368
EDWARD J MEDVEGY                                 153 E TEMPERANCE RD                                                                           TEMPERANCE         MI    48182‐9331
EDWARD J MELLENTINE                              307 E BROWNELL ST                                                                             BANNISTER          MI    48807
EDWARD J MIEDUCH & ANNIE MIEDUCH JT TEN          47168 TIMBERLAND PL                                                                           STERLING           VA    20165‐7608
EDWARD J MILLAGER                                1030 ST JAMES COURT                                                                           SANDIMAS           CA    91773‐3726
EDWARD J MILLIGAN                                1438 ROSEWAY DR                                                                               INDIANAPOLIS       IN    46219‐3927
EDWARD J MILLISON & PATRICIA A MILLISON JT TEN   PO BOX 828                                                                                    NELLYSFORD         VA    22958

EDWARD J MINNICH JR                              6135 S MASSASOIT                                                                              CHICAGO            IL    60638‐4515
EDWARD J MINNICH JR & ANNE T MINNICH JT TEN      6135 SO MASSASOIT                                                                             CHICAGO            IL    60638‐4515

EDWARD J MITANA II                               433 MEMORIAL AVE                                                                              GIBBSTOWN          NJ    08027
EDWARD J MITCHELL                                110 N BROAD ST                                                                                LANARK             IL    61046‐1004
EDWARD J MITORAJ                                 7057 LEAF CIRCLE                                                                              MT MORRIS          MI    48458‐9461
EDWARD J MITORAJ & VERNA G MITORAJ JT TEN        7057 LEAF CIRCLE                                                                              MT MORRIS          MI    48458‐9461
EDWARD J MONCMAN                                 4590 MURRY RD RT 2                                                                            MAYVILLE           MI    48744‐9526
EDWARD J MORAN & DOLORES MORAN JT TEN            1812 N WINTHROP RD                                                                            MUNCIE             IN    47304‐2531
EDWARD J MORECRAFT                               15 FIORE COURT                                                                                ST JAMES           NY    11780‐1701
EDWARD J MOREL                                   37516 MILANN DR                                                                               WILLOUGHBY HILLS   OH    44094‐9441

EDWARD J MORLOCK                                 87 PENNACOOK DR                                                                               LEOMINSTER         MA    01453
EDWARD J MYERSON                                 5618 SWIFT CREEK CT                                                                           HAYMARKET          VA    20169‐5423
EDWARD J MYSZKOWSKI                              5416 DAYWALT AVE                                                                              BALTIMORE          MD    21206‐4435
EDWARD J NASE & WANDA M NASE JT TEN              116 WEST 6TH ST                                                                               BRIDGEPORT         PA    19405‐1110
EDWARD J NASH                                    8909 S HIGHLAND                                                                               GARFIELD           OH    44125‐2323
EDWARD J NAWOROL                                 1610 ROLLING ROAD                                                                             BEL AIR            MD    21014‐5652
EDWARD J NEWVINE                                 6178 W FRANCES RD                                                                             CLIO               MI    48420‐8548
EDWARD J NIEMIEC                                 1630 NATHANS TRL                                                                              CHELSEA            MI    48118‐9212
EDWARD J NORCZYK & MRS RUTH S NORCZYK JT TEN     439 MARY LANE                                                                                 FRANKENMUTH        MI    48734‐1428

EDWARD J NOUFER                                  2486 SPRUCE                                                                                   GIRARD             OH    44420‐3151
EDWARD J O NEILL                                 4171 63RD ST                                                                                  SACRAMENTO         CA    95820‐3245
EDWARD J ODEA & GERTRUDE V ODEA JT TEN           285 GREVE DR                                                                                  NEW MILFORD        NJ    07646‐1512
EDWARD J ODELL                                   5370 SHERIDAN                                                                                 SAGINAW            MI    48601‐9357
EDWARD J OKONEK & LOUISE M OKONEK TEN COM        BOX 16                               E 283 OKONEK                                             GRAPEVIEW          WA    98546‐0016

EDWARD J OKRAGLESKI                              5309 LINDA                                                                                    WARREN             MI    48092‐3442
EDWARD J OLSON                                   588 HIGHWAY 73                                                                                EDGERTON           WI    53534‐9373
EDWARD J ONEILL & MRS FRANCES ONEILL JT TEN      81 DORCHESTER DR                                                                              DALY CITY          CA    94015‐3445
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Name                                            Address1                             Address2             Address3          Address4          City            State Zip

EDWARD J OROURKE                                  1225 UNIVERSITY                                                                             PONTIAC         MI    48342‐1875
EDWARD J ORSESKE                                  1008 COURTLAND AVE                                                                          MUSCLE SHOALS   AL    35661‐3002
EDWARD J OSHESKY                                  2734 MANLEY DRIVE                                                                           LANSING         MI    48910‐3724
EDWARD J OVCA ELEANOR J OVCA & MICHAEL S OVCA JT 805 MILLER ST                                                                                NOKOMIS         IL    62075‐1402
TEN
EDWARD J OWENS                                    810 VANGUARD                                                                                AUSTIN          TX    78734‐5127
EDWARD J OWENS JR                                 3261 HOTTIS RD                                                                              HALE            MI    48739‐9252
EDWARD J PAQUIN                                   4918 WEST POINT                                                                             DEARBORN HTS    MI    48125‐2133
EDWARD J PAVLIS                                   67 SOUTH MAIN STREET                                                                        UXBRIDGE        MA    01569‐1836
EDWARD J PAVLIS JR                                69 SOUTH MAIN STREET                                                                        UXBRIDGE        MA    01569‐1836
EDWARD J PAWLIK II                                26 RANKIN RD                                                                                BUFFALO         NY    14226‐4041
EDWARD J PEPER & PATRICIA A PEPER JT TEN          39706 SUZAN COURT                                                                           PLYMOUTH        MI    48170‐4716
EDWARD J PEPER JR                                 47730 FLORENCE DR                                                                           NORTHVILLE      MI    48167‐9811
EDWARD J PERSINGER                                BOX 33                                                                                      MILFORD         KY    41061‐0033
EDWARD J PETROVITCH & MARY ANN PETROVITCH JT      14012 ROANOKE ST                                                                            WOODBRIDGE      VA    22191‐2419
TEN
EDWARD J PICKETT                                  9208 BALDWIN RD                                                                             GAINES           MI   48436‐9719
EDWARD J PIENIOZEK                                3025 HAWTHORNE DRIVE                                                                        BAY CITY         MI   48706‐3176
EDWARD J PIERCE                                   PO BOX 326                                                                                  SAINT DAVID      AZ   85630‐0326
EDWARD J PIGGOTT JR                               20 BETTS RD                                                                                 STAFFORD         VA   22554‐5815
EDWARD J PILCH                                    2321 GRANGE ROAD                                                                            TRENTON          MI   48183‐2211
EDWARD J PILCH & DEBORAH K PILCH JT TEN           2321 GRANGE ROAD                                                                            TRENTON          MI   48183‐2211
EDWARD J PILZNINSKI & MRS LORETTA N PILZNINSKI JT 8639 RIVERDALE                                                                              DEARBORN HEIGHTS MI   48127‐1515
TEN
EDWARD J PISARSKI JR & SUSAN PISARSKI JT TEN      14148 CASTLE                                                                                WARREN          MI    48088‐5823
EDWARD J PITEK & ELENA V PITEK JT TEN             472 SELKIRK DR                                                                              MT MORRIS       MI    48458‐8918
EDWARD J PLATZ                                    1969 CASTLETON DR                                                                           TROY            MI    48083‐2613
EDWARD J PLATZ & MRS VIVIAN G PLATZ JT TEN        1969 CASTLETON DR                                                                           TROY            MI    48083‐2613
EDWARD J PLESNIARSKI                              13528 ANGELA DRIVE                                                                          WARREN          MI    48093‐6600
EDWARD J PLICHTA TR UA 03/04/2002 PLICHTA FAMILY 5115 N MARMORA AVE                                                                           CHICAGO         IL    60630
TRUST
EDWARD J PODREZ & MOLLIE PODREZ JT TEN            610 N 9TH AVE                                                                               WAUSAU          WI    54401‐2921
EDWARD J POGORZELSKI & DOROTHY M POGORZELSKI 140 BUTTERNUT DR                                                                                 BOLINGBROOK     IL    60440‐2612
JT TEN
EDWARD J POHODICH                                 719 HANCOCK ST                                                                              PERRYOPOLIS     PA    15473‐5375
EDWARD J POLIVKA                                  27948 S EGYPTIAN TRAIL                                                                      MONEE           IL    60449‐9455
EDWARD J POLYANSKI & MISS PATRICIA ANN POLYANSKI PO BOX 1044                         LAKE SHORE                                               PASADENA        MD    21123‐1044
JT TEN
EDWARD J PONCZEK & MRS JULIANNA M PONCZEK JT      131 ALBERTA AVE                                                                             SAN CARLOS      CA    94070‐4736
TEN
EDWARD J PRCHLIK                                  6372 HILL RD                                                                                SWARTZ CREEK    MI    48473‐8202
EDWARD J REBMANN                                  44590 BOXWOOD DRIVE                                                                         CALLAWAY        MD    20620‐2010
EDWARD J REGAN                                    352 MASSACHUSETTS AVE              APT 413                                                  BOSTON          MA    02115‐4951
EDWARD J REHM                                     4891 KECK RD                                                                                LOCKPORT        NY    14094‐3513
EDWARD J REID                                     11721 HAWTHORNE GLEN DR                                                                     GRAND BLANC     MI    48439‐1381
EDWARD J REILLY & MAY M REILLY JT TEN             131 SUMMERFIELD GARDENS                                                                     SHELTON         CT    06484‐6308
EDWARD J RETHMAN                                  RT 1 BOX 1344                                                                               MANISTIQUE      MI    49854‐9801
EDWARD J RICHARD                                  10910 DICE RD                                                                               FREELAND        MI    48623‐8522
EDWARD J RICHTER                                  5264 OAKHILL DR                                                                             SWARTZ CREEK    MI    48473‐8597
EDWARD J RIVERA JR                                10061 N HUNT CT                                                                             DAVISON         MI    48423‐3511
EDWARD J ROBINSON                                 6 FAIRVIEW ROAD                                                                             WILBRAHAM       MA    01095‐2553
EDWARD J RODICK & BRENDA J RODICK JT TEN          8076 HERMITAGE RD                                                                           PAINESVILLE     OH    44077‐9118
EDWARD J ROSATTI JR TOD SHARON K ROSATTI          6091 BROOKHAVEN LANE #22                                                                    EAST LANSING    MI    48823‐7401
EDWARD J ROSATTI JR TOD TERRI A ROSATTI           6091 BROOKHAVEN LANE #22                                                                    EAST LANSING    MI    48823‐7401
EDWARD J ROSATTI JR TOD THOMAS J ROSATTI          6091 BROOKHAVEN LANE #22                                                                    EAST LANSING    MI    48823‐7401
EDWARD J ROSATTI JR TOD TIMOTHY E ROSATTI         6091 BROOKHAVEN LANE #22                                                                    EAST LANSING    MI    48823‐7401
EDWARD J ROSS CUST TERENCE J ROSS UGMA MI         3325 HARDWOOD HOLLOW                                                                        MEDINA          OH    44256‐9697
EDWARD J ROSS TR EDWARD J ROSS TRUST UA 05/19/98 8440 COURT ST                                                                                DAVISON         MI    48423‐3397
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EDWARD J ROZMAREK                               3342 HERITAGE FARMS                                                                             HIGHLAND        MI    48356‐1630
EDWARD J RUSNICA & MRS CARLA J RUSNICA JT TEN   26 DEERFIELD DR                                                                                 GREENSBURG      PA    15601‐1010

EDWARD J RYAN JR                                6 SYCAMORE PARC                                                                                 SOUTH HADLEY    MA    01075‐1116
EDWARD J SACHENIK & LEILA SACHENIK JT TEN       33 EAGLES TRCE                                                                                  BUFFALO         NY    14221‐1483
EDWARD J SAYRE & JOAN M SAYRE JT TEN            161 SADDLE RUN CT                                                                               MACON           GA    31210‐8654
EDWARD J SCALLY JR & CORINNE SCALLY JT TEN      15201 OLIVE BLVD APT 393                                                                        CHESTERFIELD    MO    63017‐1838
EDWARD J SCHEER                                 1436 N IVY ST                                                                                   ESCONDIDO       CA    92026‐2722
EDWARD J SCHIFKO & VALERIA SCHIFKO JT TEN       8354 NEWCOMB DR                                                                                 PARMA           OH    44129‐5825
EDWARD J SCHIPRITT                              139VALLEY VIEW DR                                                                               MERIDEN         CT    06450‐4715
EDWARD J SCHULTZ & IBER A SCHULTZ JT TEN        4119 COLONY PLZ                                                                                 NEWPORT BEACH   CA    92660‐6342
EDWARD J SCOTT                                  2514 ST GEORGE ST                                                                               WILMINGTON      DE    19808‐4052
EDWARD J SEDER & LILLIAN G SEDER JT TEN         69 SHERWOOD LANE                                                                                NORWICH         CT    06360‐5251
EDWARD J SEDLACK & MRS HELEN SEDLACK JT TEN     29509 JOHN HAUK ST                                                                              GARDEN CITY     MI    48135‐2317

EDWARD J SEEFELD                                  132 W ANDERSON RD                                                                             LINWOOD         MI    48634‐9771
EDWARD J SEKMISTRZ & NICOLETTE L SEKMISTRZ JT TEN 102 UNAKA CT                                                                                  CARY            NC    27519

EDWARD J SHAUGHNESSY                            20 STRATFORD AVE                                                                                ALDAN           PA    19018‐3814
EDWARD J SHEPHERD                               BOX 5284                                                                                        SUN CITY WEST   AZ    85375
EDWARD J SIDOR & ROSEMARY SIDOR JT TEN          16 CHARTER OAKS DRIVE                                                                           PITTSFORD       NY    14534‐3152
EDWARD J SIEMASZKO JR                           15772 OAKBROOK                                                                                  ROMULUS         MI    48174‐3230
EDWARD J SIKORA JR                              220 BOBBY JONES DR                                                                              ETTERS          PA    17319‐9375
EDWARD J SILK & KATHLEEN A SILK JT TEN          202 APOLLO CIR                                                                                  BETHPAGE        NY    11714‐6501
EDWARD J SILK CUST BRIAN GEORGE REUTTER UGMA NY 29 AMY DR                                                                                       SAYVILLE        NY    11782‐3224

EDWARD J SILK CUST EMMA K KEYSER UTMA NY       66 BAYPORT AVE                                                                                   BAYPORT         NY    11705‐1854
EDWARD J SILK CUST MACLIN JAMES KEYSER SUBJECT 66 BAYPORT AVE                                                                                   BAYPORT         NY    11705‐1854
TO STA TOD RULES
EDWARD J SILK CUST SEAN EDWARD REUTTER UGMA NY 29 AMY DR                                                                                        SAYVILLE        NY    11782‐3224

EDWARD J SITARSKI                               101 MAPLE CT                           # 113                                                    ROSELLE         NJ    07203‐3019
EDWARD J SMITH                                  469 CURTIS RD                                                                                   HILTON          NY    14468‐8934
EDWARD J SOVA                                   1349 KEY WEST                                                                                   TROY            MI    48083‐1054
EDWARD J SPRINGER                               19600 NIVER RD                                                                                  OAKLEY          MI    48649‐9709
EDWARD J STADLER                                BOX 315                                9344 PITTSBURG                                           DURAND          MI    48429‐9402
EDWARD J STEBNER                                432 SOUTH SHORE DRIVE                                                                           OSPREY          FL    34229‐9196
EDWARD J SULLIVAN & DIANE L SULLIVAN JT TEN     49 SHARON ANN LN                                                                                EAST FALMOUTH   MA    02536
EDWARD J SURIANO                                17 ANDERSON RD                                                                                  POMFRET CTR     CT    06259‐2228
EDWARD J SUROWIEC JR                            42 CAREY DRIVE                                                                                  ORCHARD PARK    NY    14127‐2943
EDWARD J SWANCHARA                              ROUTE 1                                                                                         BANNISTER       MI    48807‐9801
EDWARD J TALAGA                                 2513 S JEFFERSON                                                                                BAY CITY        MI    48708‐8752
EDWARD J TAYLOR                                 8660 HWY 328 W                                                                                  CRAB ORCHARD    KY    40419‐9747
EDWARD J TEPER                                  25579 LORETTA                                                                                   WARREN          MI    48091‐1407
EDWARD J TIEDEMANN                              508 VINE WAY                                                                                    ROSEVILLE       CA    95678‐4035
EDWARD J TIMMERMAN                              18159 WATERLOO RD                                                                               AMISSVILLE      VA    20106‐2163
EDWARD J TOULOUSE TR EDWARD J TOULOUSE TRUST    10165 BRAY RD                                                                                   CLIO            MI    48420
UA 03/09/01
EDWARD J TRAINER                                216 BRUCE RD                                                                                    WASHINGTON      PA    18977‐1510
                                                                                                                                                CROSSIN
EDWARD J TRAUB & FRANCES C TRAUB JT TEN         3900 W RIVERSIDE AVE                                                                            MUNCIE          IN    47304‐3155
EDWARD J TRAUB & FRANCES C TRAUB JT TEN         3900 W RIVERSIDE AVE                                                                            MUNCIE          IN    47304‐3155
EDWARD J UCHWAT                                 161 DEERING                                                                                     GARDEN CITY     MI    48135‐3158
EDWARD J UHL                                    261 IRIS AVE                                                                                    GOLETA          CA    93117‐2040
EDWARD J UNGVARSKY                              1853 NEWTOWN ST NW                                                                              WASHINGTON      DC    20010‐1016
EDWARD J URYGA & CAMILLE C URYGA JT TEN         29333 VAN LAAN DR                                                                               WARREN          MI    48092‐4250
EDWARD J UYHAZY                                 17794 COVEY CT                                                                                  BROWNSTOWN      MI    48192‐8461
                                                                                                                                                TWP
EDWARD J VALLEY                                 2278 SALT SPRINGS ROAD                                                                          LORDSTOWN       OH    44481‐9766
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EDWARD J VERDOUW & BETTY J VERDOUW JT TEN       51 CHRISTIAN AVE                                                                                ROCHESTER        NY    14615‐2222

EDWARD J VERHAEGHE                             49502 REGATTA                                                                                    CHESTERFIELD     MI    48047‐2370
EDWARD J VOCKLER                               3639 AEROVIEW ST                                                                                 W BLOOMFIELD     MI    48324‐2601
EDWARD J VOJTEK                                40550 SLIFE RD                                                                                   LA GRANGE        OH    44050‐9735
EDWARD J WALSH                                 65 SPRING ST                                                                                     SAUNDERSTOWN     RI    02874‐3229
EDWARD J WALSH                                 4657 HUNT STREET                                                                                 WAYNE            MI    48184‐2013
EDWARD J WARE JR                               3227 DENTZLER RD                                                                                 PARMA            OH    44134‐5479
EDWARD J WASHINGTON                            4734 HASKELL AVE                                                                                 KANSAS CITY      KS    66104‐3231
EDWARD J WEITEKEMPER & DOROTHY WEITEKEMPER JT 12909 TOPPING EST NORTH                                                                           TOWN & COUNTRY   MO    63131‐1310
TEN
EDWARD J WELLDAY JR                            2465 SOUTH WASHINGTON AVE               A101                                                     TITUSVILLE       FL    32780‐5064
EDWARD J WENZEL                                6186 ELMOOR ST                                                                                   TROY             MI    48098
EDWARD J WIENERS                               W 1620 HWY 11                                                                                    BURLINGTON       WI    53105‐3067
EDWARD J WILLIAMS                              359 N AL MOSES RD                                                                                LAKE CITY        MI    49651‐9237
EDWARD J WILSON                                13800 NW 73RD ST                                                                                 KANSAS CITY      MO    64152‐1123
EDWARD J WILSON & LORETTA A WILSON JT TEN      42000 SUTTERS LN                                                                                 NORTHVILLE       MI    48168‐2052
EDWARD J WINKLER CUST LOUIS ALLEN WINKLER UGMA 4523 WOLF CREEK PARKWAY                                                                          LOUISVILLE       KY    40241‐5501

EDWARD J WITOS SR                               18 EBERLY PL                                                                                    FORDS            NJ    08863‐2118
EDWARD J WOCHENSKY                              15 BROCKETT DR                                                                                  BUFFALO          NY    14223‐1420
EDWARD J WOLSKI                                 3889 WATERBURY DR                                                                               DAYTON           OH    45439‐2440
EDWARD J YOUNG JR                               4591 17TH ST                                                                                    DORR             MI    49323‐9749
EDWARD J ZANG                                   70 HIGHLAND ST                                                                                  BRISTOL          CT    06010‐3515
EDWARD J ZIEBA JR                               764 NORTH ST                                                                                    MT MORRIS        MI    48458‐1721
EDWARD J ZUKOWSKI & MRS L JOYCE D ZUKOWSKI JT   4 NIANTIC RIVER ROAD                                                                            WATERFORD        CT    06385‐3119
TEN
EDWARD J ZWOLENSKY III                          1776 HILLSBORO AVE SE                                                                           GRAND RAPIDS     MI    49546
EDWARD JACKSON JR                               1015 ARCH ST                                                                                    YOUNGSTOWN       OH    44506‐1004
EDWARD JAFFE & MRS FRANCES JAFFE JT TEN         1615 APRICOT CT                                                                                 RESTON           VA    20190‐4403
EDWARD JAMES BISHOP                             111 GRANT ST                                                                                    HARTFORD         CT    06106‐4110
EDWARD JAMES CIZEK                              1322 SOUTH 181ST PLAZA                                                                          OMAHA            NE    68130
EDWARD JAMES HUTCHESON                          1023 VISTA GRANDE                                                                               MILLBRAE         CA    94030‐2133
EDWARD JAMES HUTCHESON CUST JOHN ELLSWORTH      2325 3RD ST SUITE 223                                                                           SAN FRANCISCO    CA    94107‐3198
HUTCHESON UGMA MI
EDWARD JAMES LESCHANSKY                         412 GRANTS TRAIL                                                                                CENTERVILLE      OH    45459‐3118
EDWARD JAMES MC KELVEY                          1414 AMAPOLA AVE                                                                                TORRANCE         CA    90501‐2505
EDWARD JAMES MONIHAN JR                         PO BOX 805                                                                                      LEWES            DE    19958‐0805
EDWARD JAMES PAYNE                              5532 OLD FRANKLIN AVE                                                                           GRAND BLANC      MI    48439
EDWARD JAMES WHITEHERSE                         865 S WARREN ROAD                                                                               OVID             MI    48866‐9517
EDWARD JAMIOLKOWSKI                             1409 ALIMA TERRANCE                                                                             LA GRANGE PARK   IL    60526
EDWARD JANOS                                    4721 BALDWIN RD                                                                                 PERRY            OH    44081‐9641
EDWARD JANUSKA                                  4521 VANDEMARK                                                                                  LITCHFIELD       OH    44253‐9112
EDWARD JANUSZKIEWICZ                            2413 PULASKI STREET                                                                             HAMTRAMCK        MI    48212
EDWARD JAWORSKI                                 30815 IROQUOIS                                                                                  WARREN           MI    48093‐5043
EDWARD JAY MARDEN                               PO BOX 466                                                                                      CAMPBELL         NY    14821‐0466
EDWARD JAY ZELNICK                              3620 N 52ND AVE                                                                                 HOLLYWOOD        FL    33021‐2248
EDWARD JESKEY & IRENE L JESKEY JT TEN           UNIT A                                 1317 S E 6TH ST                                          CAPE CORAL       FL    33990‐2640
EDWARD JOHN ALLEN                               6500 NORTH 2ND ST                                                                               PHILADELPHIA     PA    19126‐3901
EDWARD JOHN BERGER                              STILLMAN LANE                                                                                   PLEASANTVILLE    NY    10570
EDWARD JOHN GLEASON                             C/O FRANCIS X CONNOLLY ESQ             250 BLOOMFIELD AV                                        BLOOMFIELD       NJ    07003‐5689
EDWARD JOHN HOLMS JR                            20 TERRANOVA CIRCLE                                                                             WEST PORT        CT    06880‐4749
EDWARD JOHN KING                                215 DOYLE DR                                                                                    NO TONAWANDA     NY    14120‐2453
EDWARD JOHN PACAK & OLGA PACAK JT TEN           3213 MASON                                                                                      FLINT            MI    48505‐4068
EDWARD JOHN ROBARGE                             299 LAKE WINYAH RD                                                                              ALPENA           MI    49707‐8119
EDWARD JOHN SANOCKI                             3883 N PROSPECT RT 2                                                                            ANN ARBOR        MI    48105‐9318
EDWARD JOHN SULLIVAN JR & MRS DIANE LOUISE      49 SHARON ANN LN                                                                                EAST FALMOUTH    MA    02536‐6034
SULLIVAN JT TEN
EDWARD JOHNSON                                  103 HAMILTON PLACE RD                                                                           COLUMBIA         SC    29229‐7619
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EDWARD JOHNSON JR CUST EDWARD JOHNSON III         515 CITADEL CIR                                                                                 WESTMONT        IL    60559‐1281
UTMA IL
EDWARD JOHNSON JR CUST LAUREN KATHLEEN            2608 E BRADFORD AVE                                                                             MILWAUKEE       WI    53211‐4501
JOHNSON UTMA IL
EDWARD JONES                                      139 TRELLIS LANE                                                                                SEWELL          NJ    08080‐4239
EDWARD JONES                                      514 E HANNA DR                                                                                  NEWARK          DE    19702‐2702
EDWARD JONES CUST FBO DAVID BUTTERFIELD IRA       2813 WINSTON WAY                                                                                GRAND RAPIDS    MI    49505

EDWARD JONES CUST FBO GARY GOODENOW               705 CANAL ST                                                                                    MILFORD         MI    48381‐2028
EDWARD JONES CUST FBO JEANNE ROCA IRA             3211 THORNTON DRIVE                                                                             JANESVILLE      WI    53548
EDWARD JONES CUST MARY CHUBB IRA                  7818 OLD M‐78                                                                                   EAST LANSING    MI    48823
EDWARD JONES INVESTMENTS FBO OTTO GRENKE          6724 FRONTIER AVE                                                                               NIAGARA FALLS   NY    14304‐3240
EDWARD JONES TR JERRY MOORE IRA                   4454 WECKERLY RD                                                                                MONCLOVA        OH    43542‐9484
EDWARD JONES TR SANDRA ADAMS                      2771 AVONDALE DR                                                                                BOWLING GREEN   KY    42104‐8557
EDWARD JOSEPH DRELICH & BARBARA JEAN DRELICH JT   427 RT 94 FREDON TWP                                                                            NEWTON          NJ    07860‐5157
TEN
EDWARD JOSEPH DUGUAY                              7278 KNOLL DR                                                                                   NO TONAWANDA    NY    14120‐1506
EDWARD JOSEPH LIMA                                3716 SPOKANE BRIDGE RD                                                                          LIBERTY LAKE    WA    99019‐9464
EDWARD JOSEPH POKIGO                              5807 VILLAGE GROVE DR                                                                           PEARLAND        TX    77581‐2242
EDWARD JOSEPH TABIT                               7266 E CARPENTER RD                                                                             DAVISON         MI    48423‐8959
EDWARD K BROWN                                    60 OAKWOOD CT                                                                                   PALM HARBOR     FL    34683‐3011
EDWARD K DISHON                                   2859 LONGBRANCH ROAD                                                                            UNION           KY    41091‐8634
EDWARD K EICKMEIER                                1609 YOSEMITE                                                                                   BIRMINGHAM      MI    48009‐6541
EDWARD K FAKE                                     6282 STATE ROUTE 167                                                                            DOLGEVILLE      NY    13329‐2409
EDWARD K FULTON                                   28 MEADOW RD                                                                                    EDISON          NJ    08817‐5546
EDWARD K GROSS CUST ALISSA B GROSS UTMA MD        9517 REACH RD                                                                                   POTOMAC         MD    20854‐2891

EDWARD K HALIK                                    14113 ELLEN DRIVE                                                                               LIVONIA        MI     48154‐5341
EDWARD K HIRAMOTO                                 2281 EL CEJO COURT                                                                              RANCHO CORDOVA CA     95670‐3162

EDWARD K HRUSOVSKY                                12 BRIGETON WAY                                                                                 HOPKINTON       MA    01748‐3104
EDWARD K ISBEY III                                19 BLACKWOOD ROAD                                                                               ASHEVILLE       NC    28804‐2660
EDWARD K KELLEY                                   755 COLLARD VALLEY RD                                                                           CEDARTOWN       GA    30125‐2803
EDWARD K MUELLER                                  12401 14TH AVE E                                                                                TACOMA          WA    98445
EDWARD K PLATTE                                   11790 GALWAY DRIVE                                                                              JEROME          MI    49249‐9737
EDWARD K ROGGENKAMP III                           3745 STEELE RD                                                                                  VERSAILLES      KY    40383
EDWARD K ROGGENKAMP JR & KATHLEEN                 411 INDIANA AVE                                                                                 MILLTOWN        IN    47145‐2627
ROGGENKAMP JT TEN
EDWARD K ROSSER                                   3213 BROOK HILL CIRCLE                                                                          BIRMINGHAM      AL    35210‐4269
EDWARD K SELMSER                                  8717 WESTVIEW DRIVE                                                                             HOUSTON         TX    77055‐4820
EDWARD K VOYLES                                   646 PENNSGROVE AUBURN RD                                                                        CARNEYS POINT   NJ    08069
EDWARD KANCLER CUST DAVID EDWARD KANCLER          117 W ORCHARD AVE                                                                               LEBANON         OH    45036‐2181
UGMA OH
EDWARD KANE                                       1 N LEXINGTON AVE                      STE 700                                                  WHITE PLAINS    NY    10601‐1721
EDWARD KARL ROGGENKAMP JR                         411 INDIANA AVE                                                                                 MILLTOWN        IN    47145‐2627
EDWARD KARR                                       11086 HOLLAND CIR                                                                               EDEN PRAIRIE    MN    55347‐5243
EDWARD KASSAB                                     28 LONGPOINT LANE                                                                               ROSE VALLEY     PA    19063‐4948
EDWARD KEEN                                       4128 SALFORD CT                                                                                 BENSALEM        PA    19020‐4835
EDWARD KELL & STELLA M KELL JT TEN                6003 ROBINDALE                                                                                  DEARBORN HGTS   MI    48127‐3152
EDWARD KERR IV                                    18 ROTARY CIRLE DR                                                                              THOMASVILLE     NC    27360
EDWARD KESSLER & ROSEMARIE KESSLER JT TEN         241 INWOOD BLVD                                                                                 AVON LAKE       OH    44012‐1514
EDWARD KHOURI CUST ANTON E KHOURI UGMA MI         3130 WESTWOOD PARKWAY                                                                           FLINT           MI    48503‐6802

EDWARD KICK JR & CONSTANCE J KICK TEN ENT         465 FREEDOM BLVD                                                                                WEST BRANDYWINE PA    19320‐1560

EDWARD KIM SUNG FONG JR & LORI J FONG JT TEN      504 S OAHU ST                                                                                   KAHULUI         HI    96732‐2715

EDWARD KING                                       34815 WURFEL                                                                                    CLINTON TWP     MI    48035‐4748
EDWARD KIRBY                                      2551 LU AL DR                                                                                   BENTON HARBOR   MI    49022‐6913
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EDWARD KIZYMA                                  15308 SHANNONDELL DR                                                                             AUDUBON            PA    19403
EDWARD KOES                                    4768 LAWNDALE RD                                                                                 SYRACUSE           NY    13215‐2314
EDWARD KOSCIUK & MRS MARIE KOSCIUK JT TEN      50 PRESCOTT ST                                                                                   MERIDEN            CT    06450‐3316
EDWARD KOSZALKA                                4851 MIDDLESEX                                                                                   DEARBORN           MI    48126‐5015
EDWARD KOWALEWSKI                              2929 HARRISON                                                                                    SAGINAW            MI    48604‐2316
EDWARD KOZIOL                                  1301 W STANLEY ROAD                                                                              MT MORRIS          MI    48458‐2314
EDWARD KRAMER                                  312 GREGORY AVE                                                                                  WEST ORANGE        NJ    07052‐3730
EDWARD KRISTOFIK & LINDA KRISTOFIK JT TEN      7140 SW 20TH ST                                                                                  PLANTATION         FL    33317‐5016
EDWARD KRUG & SANDRA M KRUG JT TEN             10 TYLER RD                             BOX 116                                                  WEST BOXFORD       MA    01885‐0116
EDWARD KUBIRA                                  16661 W 145 PL                                                                                   LOCKPORT           IL    60441‐2339
EDWARD KULBA                                   42351 CHASE DR                                                                                   CANTON             MI    48188‐5212
EDWARD KULIK                                   1200 GRAFTON SHOP ROAD                                                                           BEL AIR            MD    21014‐2423
EDWARD KUNARSKI                                8111 ELIZABETH ANN                                                                               UTICA              MI    48317‐4319
EDWARD KUNNATH                                 4738 N CHIPPING GLEN                                                                             BLOOMFIELD HILLS   MI    48302‐2390

EDWARD KUPSOFF                                 44 GREGORY ST                                                                                    MARBLEHEAD         MA    01945‐3229
EDWARD L ADKINS                                36 STRINGTOWN RD                                                                                 WILLIAMSBURG       KY    40769‐9725
EDWARD L ALLEN                                 20431 SECLUDED LN                                                                                SOUTHFIELD         MI    48075‐7556
EDWARD L ARCURI JR                             476 S SKYLINE DR                                                                                 THOUSAND OAKS      CA    91361‐4912
EDWARD L ASHLEY JR & SHARON ASHLEY JT TEN      PO BOX 655                                                                                       WESSON             MS    39191‐0655
EDWARD L BALFE                                 535 VIA FONTANA DR                                                                               ALTAMONTE SPG      FL    32714‐6846
EDWARD L BANZ                                  2843 BARREL OAK ST                                                                               SAN ANTONIO        TX    78231‐1702
EDWARD L BARNHART                              506 E 8TH ST                                                                                     BROOKLYN           NY    11218‐5202
EDWARD L BARTKOSKI                             6426 TROUP                                                                                       KANSAS CITY        KS    66102‐1058
EDWARD L BENION                                17537 PREVOST                                                                                    DETROIT            MI    48235‐3149
EDWARD L BIERSMITH III                         1913 RICHARD CIR                                                                                 MONROE             LA    71201‐4559
EDWARD L BLATT                                 2064 TICE DRIVE                                                                                  CULLEOKA           TN    38451‐2719
EDWARD L BOSWORTH JR                           8103 VALLEY BEND DRIVE                                                                           HUNTSVILLE         AL    35802‐3978
EDWARD L BRADLEY III                           8514 SUGARBUSH COURT                                                                             ANNANDALE          VA    22003‐4540
EDWARD L BREMER                                6736 S STEEL RD                                                                                  ST CHARLES         MI    48655‐9732
EDWARD L BUCKS                                 3962 COUNTY ROAD                        300 SOUTH                                                LOGANSPORT         IN    46947
EDWARD L BUDZINSKI TR EDWARD L BUDZINSKI FAM   337 S CUSTER ST                                                                                  SANDUSKY           MI    48471‐1234
TRUST UA 07/29/93
EDWARD L CARNEY                                1500 E BOGART RD                        UNIT 1F                                                  SANDUSKY           OH    44870‐7150
EDWARD L CARPENTIER                            521 SOUTH WEST DEER RUN                                                                          PORT ST LUCIE      FL    34953‐8210
EDWARD L CASTOR                                482 SO 600 E                                                                                     WINDFALL           IN    46076‐9330
EDWARD L CHAUVAUX                              1008 ACORN COURT                                                                                 KNIGHTDALE         NC    27545‐9293
EDWARD L COX JR                                8270 DENWOOD DR                         APT 17                                                   STERLING HEIGHTS   MI    48312‐5967

EDWARD L COX JR & CHRISTINE E COX JT TEN       8270 DENWOOD DR                         APT 17                                                   STERLING HEIGHTS   MI    48312‐5967

EDWARD L CREEL                                 6045 ROCKY CREEK DR                                                                              DOUGLASVILLE       GA    30135‐3745
EDWARD L CREW & BRIAN T CREW JT TEN            3832 MOONSHINE FALLS AVE                                                                         N LAS VEGAS        NV    89085‐4486
EDWARD L DANIEL                                S 950 TWO ROD ROAD                                                                               MARILLA            NY    14102‐9730
EDWARD L DANIEL & ALICE M DANIEL JT TEN        SOUTH 950 TWO ROD RD                                                                             MARILLA            NY    14102
EDWARD L DAVIS                                 26 TEEWADDLE HILL RD                                                                             LEVERETT           MA    01054
EDWARD L DEAN                                  20074 HILLTOP DRIVE                                                                              ATHENS             AL    35614‐4544
EDWARD L DIXON                                 2630 GATSBY COURT                                                                                LANSING            MI    48906‐3670
EDWARD L DOBEK                                 1618 E PARK AVE                                                                                  RIVERTON           WY    82501‐3858
EDWARD L DOWD & FAITH L DOWD JT TEN            3720 N 44TH AVE                                                                                  MEARS              MI    49436‐9345
EDWARD L DOWDELL                               1408 W 28TH ST                                                                                   INDIANAPOLIS       IN    46208‐5260
EDWARD L DREYER                                2228 COLT RD                                                                                     INDPLS             IN    46227‐6248
EDWARD L DREYER & SHIRLEY I DREYER JT TEN      2228 COLT                                                                                        INDPLS             IN    46227‐6248
EDWARD L EAKINS                                6969 B DRIVE NORTH                                                                               BATTLE CREEK       MI    49014‐8317
EDWARD L EBERHARDT                             2410 E HARLEY ST                                                                                 INVERNESS          FL    34453‐9518
EDWARD L ECKENRODE                             724 TEAL COURT                                                                                   HAVER DE GRACE     MD    21078‐4243
EDWARD L ELLIS                                 231 EAST AVE                                                                                     HILTON             NY    14468‐1333
EDWARD L EVANS                                 6293 ROCK PORT DR                                                                                FLOWERY BRANCH     GA    30542‐4300
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EDWARD L EVANS & KAY FRANCIS EVANS JT TEN         310 E AVON RD                                                                                   ROCHESTER HILLS   MI    48307‐3106
EDWARD L FERGUSON                                 2353 SEACREST CT                                                                                SAN LEANDRO       CA    94579‐2792
EDWARD L FIRST                                    8481 E CO RD 750 S                                                                              PLAINFIELD        IN    46168‐9100
EDWARD L FONVIELLE JR                             112 TRICKLE DR                                                                                  SUMMERVILLE       SC    29483‐4922
EDWARD L GATES                                    1720 21ST ST                                                                                    BEDFORD           IN    47421‐4025
EDWARD L GLENN                                    15 TER AVE                                                                                      STAMFORD          CT    06905‐3412
EDWARD L GOODENOUGH                               464 COSTELLO RD                                                                                 AUSTIN            PA    16720‐1914
EDWARD L GROEBE                                   3900 BERNAY LN                                                                                  HOFFMAN ESTATES   IL    60195‐1660

EDWARD L GROSS                                    463 LARKSPUR LN                                                                                 MARTINSBURG       WV    25403
EDWARD L GROSS                                    1380 STATE RT 534 S W                                                                           NEWTON FALLS      OH    44444‐9520
EDWARD L HECKMAN                                  5710 HUBBARDSTON RD                                                                             HUBBARDSTON       MI    48845‐9703
EDWARD L HOLLOWAY                                 4650 BROWN RD                                                                                   DURAND            MI    48429‐9754
EDWARD L HOLTHOF                                  7544 ARBORCREST                                                                                 PORTAGE           MI    49024‐5002
EDWARD L HOOPS                                    1295 HIGHVIEW ST                                                                                CANYON LAKE       TX    78133‐4279
EDWARD L HORTON                                   150 PINEBLOOM DR                                                                                JESUP             GA    31545‐1804
EDWARD L HULING SR                                4949 STAUFFER SE AV                                                                             GRAND RAPIDS      MI    49508‐5111
EDWARD L HYDUKE & BARBARA HYDUKE JT TEN           1520 21ST ST                                                                                    MANHATTAN         CA    90266‐4039
                                                                                                                                                  BEACH
EDWARD L JACKSON                                  12654 HARVARD AVE                                                                               CEDAR SPRINGS     MI    49319‐9760
EDWARD L JELLENC                                  1428 MARION‐RUSSELL ROAD                                                                        MERIDIAN          MS    39301‐8865
EDWARD L JOHNSON                                  2146 BATES ROAD                                                                                 MT MORRIS         MI    48458‐2602
EDWARD L JOHNSON                                  18525 CORAL RD                                                                                  HOWARD CITY       MI    49329‐9427
EDWARD L JOHNSTON & TERI JOHNSTON JT TEN          43486 SQUIRREL RIDGE PL                                                                         LEESBURG          VA    20176
EDWARD L JOHNSTONE                                4372 COVEY CT                                                                                   GRAND BLANC       MI    48439‐9612
EDWARD L JONES                                    46754 LANDINGS DRIVE                                                                            MACOMB            MI    48044‐4048
EDWARD L KALMERTON                                1416 KAUFMANN AVE                                                                               SHEBOYGAN         WI    53081‐7540
EDWARD L KEITH                                    6090 BLOSS CT                                                                                   SWARTZ CREEK      MI    48473‐8877
EDWARD L KEMPER                                   216 KEMPER LANE                                                                                 GRAYSON           KY    41143‐1048
EDWARD L KINDRICK                                 2400 COUNTRY RD 417                                                                             ELLSINORE         MO    63937
EDWARD L KINDRICK & M KINDRICK JT TEN             2400 COUNTY RD 417                                                                              ELLSINORE         MO    63937‐7307
EDWARD L KLINGAMAN                                RR1                                    N 2701 RETZLOFF ROAD                                     FORT ATKINSON     WI    53538‐9754
EDWARD L KROPA JR                                 303 E WEBSTER                                                                                   MT PLEASANT       IA    52641‐2562
EDWARD L LANDRY                                   87 E YARBROUGH RD                                                                               MAYSVILLE         GA    30558‐3005
EDWARD L LANGENDERFER                             151 BRAMBLEWOOD DR                                                                              SAINT PETERS      MO    63376‐6917
EDWARD L LAUBER & NANCY L LAUBER TR UA 07/14/06   PO BOX 436                                                                                      BONSALL           CA    92003
LAUBER FAMILY TRUST
EDWARD L LEDVINA                                  1149 N SHORE DRIVE                                                                              SPRINGPORT        MI    49284‐9414
EDWARD L LOOMIS                                   4421 W DODGE ROAD                                                                               CLIO              MI    48420‐8580
EDWARD L LUDWIN & MARIANNE K LUDWIN JT TEN        11056 AVENUE O                                                                                  CHICAGO           IL    60617‐6937

EDWARD L LUMBERT JR                               12039 GRAND RIVER AVE                                                                           EAGLE             MI    48822
EDWARD L MASON                                    403 DITMAR                                                                                      PONTIAC           MI    48341‐2617
EDWARD L MASSEY                                   113 BLUE BONNET CIR                                                                             JUSTIN            TX    76247
EDWARD L MAXWELL                                  1926 RICHTON                                                                                    DETROIT           MI    48206‐1212
EDWARD L MC CABE                                  26 SEARLS                                                                                       WEBBERVILLE       MI    48892
EDWARD L MC CAULEY                                1825 HOLLINGSWORTH DR                                                                           WALLED LAKE       MI    48390‐2642
EDWARD L MCGHEE                                   10457 ALAMEDA ALMA RD                                                                           CLERMONT          FL    34711‐6344
EDWARD L MEISEL                                   2006 COLUMBIA RD NW #42                                                                         WASHINGTON        DC    20009‐1319
EDWARD L MERKER                                   20 ADAMS FARM RD                                                                                KATONAN           NY    10536‐3165
EDWARD L MONSOUR & DEBRA M MONSOUR JT TEN         27782 CUMMINS DR                                                                                LAGUNA NIGUEL     CA    92677‐4002

EDWARD L MONTGOMERY                               28330 ANN ARBOR TRAIL                                                                           WESTLAND          MI    48185‐1817
EDWARD L MOORE                                    1602 N VIRGINIA ST                                                                              FLINT             MI    48506‐4227
EDWARD L MOORMAN                                  (GM CAIRO) P O BOX 9022                                                                         WARREN            MI    48090‐9022
EDWARD L MOZEE                                    12214 CHESAPEAKE DR                                                                             FLORISSANT        MO    63033‐5208
EDWARD L MUCKENTHALER                             5209 CAPRI LANE                                                                                 FLINT             MI    48507‐4007
EDWARD L MUFF & JEANNE L MUFF JT TEN              13536 HWY NN                                                                                    LOUISIANA         MO    63353‐3839
EDWARD L MURPH                                    6538 EMBERS ROAD                                                                                DALLAS            TX    75248‐2940
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EDWARD L MUSTIAN JR                              1305 ASBURY RD                                                                                 RICHMOND           VA    23229‐5305
EDWARD L NASH TR UA 10/04/1995 EDWARD L NASH     9766 ZUKEY DR                         BOX 605                                                  LAKELAND           MI    48143
REVOCABLE LIVING TRUST
EDWARD L NEMETZ JR CUST MARGARET STRUBEL         2600 NEWPORT                                                                                   ANN ARBOR          MI    48103‐2273
NEMETZ UTMA MI
EDWARD L NEMETZ JR CUST NICHOLAS STRUBEL         2600 NEWPORT                                                                                   ANN ARBOR          MI    48103‐2273
NEMETZ UTMA MI
EDWARD L NORMAN                                  624 MAYSVILLE RD                                                                               SCOTTSVILLE        KY    42164‐9719
EDWARD L OGLE                                    7113 W CR 950N                                                                                 MIDDLETOWN         IN    47356‐9328
EDWARD L OLDHAM                                  10266 KNOB HILL DR                                                                             FLORENCE           KY    41042‐3123
EDWARD L OWENS                                   2430 AUSLEY BEND DR NW                                                                         HARTSELLE          AL    35640
EDWARD L PAUL                                    4226 HARPER CIRCLE                                                                             NORTHPORT          AL    35473
EDWARD L PELLETIER                               9476 COUNTRY CLUB LN                                                                           DAVISON            MI    48423‐8367
EDWARD L PHELPS                                  PO BOX 4571                                                                                    CALABASH           NC    28467‐9820
EDWARD L PHILLIPS & THERESA K PHILLIPS JT TEN    717 VILLA DR                                                                                   MANSFIELD          OH    44906‐4058

EDWARD L PITTS                                   358 NEPPERHAN AVE                                                                              YONKERS            NY    10701‐6524
EDWARD L PRIMALDI                                5 TARRA DR                                                                                     NEW CASTLE         DE    19720‐4048
EDWARD L RADER & DOROTHY L RADER JT TEN          2894 JEFFERSON                                                                                 PLAINFIELD         IN    46168‐9692
EDWARD L RAINS                                   122 DEEDS AVE                                                                                  DAYTON             OH    45404‐1716
EDWARD L RASKA                                   385 SCARLET DR                                                                                 GREENTOWN          IN    46936‐8794
EDWARD L REID                                    16903 BAYLIS                                                                                   DETROIT            MI    48221‐3104
EDWARD L REID TR UA 1/5/93 THE EDWARD L REID     4613 CREST ROAD                                                                                FORT COLLINS       CO    80526‐4010
TRUST
EDWARD L REILLY                                  3518 NEWPORT GAP PIKE                                                                          WILMINGTON         DE    19808‐1407
EDWARD L RICHARDS                                6000 N M123                                                                                    ECKERMAN           MI    49728
EDWARD L RICHARDSON                              742 WYNDMUIR DR                                                                                CRYSTAL LAKE       IL    60012‐3771
EDWARD L ROBERTS                                 10309 SHINNECOCK HILLS DR                                                                      AUSTIN             TX    78747‐1324
EDWARD L RODRIGUEZ & DIANA RODRIGUEZ JT TEN      8618 QUAIL MEADOW DR                                                                           IRVING             TX    75063‐7203

EDWARD L ROGERS                                  7000 ELYSEAN COURT                                                                             LOUISVILLE         KY    40291‐2736
EDWARD L ROHRER                                  8313 MAPLEVILLE RD                                                                             BOONSBORO          MD    21713‐1815
EDWARD L ROLLER                                  40 HIGHLAND AVE                                                                                GILLETTE           NJ    07933‐1930
EDWARD L ROSE                                    448 NANCY DRIVE                                                                                RIPON              CA    95366‐3348
EDWARD L ROSS                                    PO BOX 265                                                                                     NANCY              KY    42544‐0265
EDWARD L SARDEN                                  3066 COOPERS GROVE COURT                                                                       BLUE ISLAND        IL    60406‐3389
EDWARD L SCHILLING JR                            16172 RYLAND                                                                                   REDFORD            MI    48240‐2513
EDWARD L SCHROEDER                               3 LONG HILL RD                                                                                 BOLTON             MA    01740‐1423
EDWARD L SCHULTZ                                 3876 WEDGEFIELD CT                                                                             MIAMISBURG         OH    45342‐6725
EDWARD L SCHUMACHER EX UW FAYE SCHUMACHER        33 B PLAZA DR                                                                                  MOUNT VERNON       OH    43050

EDWARD L SEAMAN                                  394 EAST AVE                                                                                   BROCKPORT          NY    14420‐1514
EDWARD L SEAMAN & ROSEMARY SEAMAN JT TEN         394 EAST AVE                                                                                   BROCKPORT          NY    14420‐1514
EDWARD L SEHY                                    10909 T AVE E                                                                                  SCOTTS             MI    49088‐9327
EDWARD L SHANK                                   3100 MALLERY ST                       # 2A                                                     FLINT              MI    48504‐2928
EDWARD L SHERMAN                                 1800 YOUNGS RD                                                                                 ORLEANS            MI    48865‐9787
EDWARD L SIMON                                   1721 POLLARD PARKWAY                                                                           BATON ROUGE        LA    70808‐8855
EDWARD L SJOLINDER                               932 S TENNESSEE PL                                                                             MASON CITY         IA    50401‐5365
EDWARD L SMITH                                   1823 S WINDING WAY                                                                             ANDERSON           IN    46011‐3860
EDWARD L SMITH                                   9639 SW 90TH ST                                                                                OCALA              FL    34481‐7495
EDWARD L SMITH                                   567 CRESTMONT DR                                                                               CONCORD            NC    28025‐8790
EDWARD L SMITH                                   8831 N 425E                                                                                    PITTSBORO          IN    46167
EDWARD L SPALDING                                42778 RUTGERS DR                                                                               STERLING HEIGHTS   MI    48313‐2947

EDWARD L STACY                                   5794 LEETONIA RD                                                                               LEETONIA           OH    44431‐9751
EDWARD L STARNES CUST SARAH L STARNES UTMA MI    7389 LOBDELL RD                                                                                LINDEN             MI    48451‐8765

EDWARD L STARNES CUST SARAH LYNN STARNES UGMA 7389 LOBDELL RD                                                                                   LINDEN             MI    48451‐8765
MI
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EDWARD L STARNES CUST STEVEN E STARNES UGMA MI 7389 LOBDELL RD                                                                                  LINDEN          MI    48451‐8765

EDWARD L STARNES CUST STEVEN E STARNES UTMA MI 7389 LOBDELL RD                                                                                  LINDEN          MI    48451‐8765

EDWARD L STRATTON                               16 VISTAVIEW LN                        APT 101                                                  ENDICOTT        NY    13760‐1072
EDWARD L SUTTER JR                              54 CARSAM ST                                                                                    FANWOOD         NJ    07023
EDWARD L THERRIAULT                             4626 DEEPWOOD CT                                                                                WYOMING         MI    49509‐4917
EDWARD L THOMAS                                 3200 TYLER APT 1                                                                                DETROIT         MI    48238‐3361
EDWARD L TREVINO                                6492 MT HOPE RD                                                                                 CARSON CITY     MI    48811‐9504
EDWARD L URBANSKI                               7128 PLEASANTDALE DR                                                                            COUNTRYSIDE     IL    60525‐5071
EDWARD L VAREL JR & PETRONELLA VAREL JT TEN     2194 MAIDEN LANE                                                                                ROCHESTER       NY    14626‐1262
EDWARD L VAUPEL & MRS JOAN W VAUPEL JT TEN      512 ELKHORN TRAIL                                                                               IOWA CITY       IA    52240‐9208

EDWARD L VERMILLION                             640 TUCKER AVE                                                                                  PLAINFIELD      IN    46168‐1350
EDWARD L WARNER III                             2454 FREETONN DRIVE                                                                             RESTON          VA    20191‐2529
EDWARD L WEAVER                                 232 WALDEN CT                                                                                   EUREKA          MO    63025‐1130
EDWARD L WHITE                                  315 MCKINLEY AVE                                                                                GROSSE POINTE   MI    48236‐3420
EDWARD L WILEY                                  7538 RYAN RD                                                                                    MEDINA          OH    44256‐8852
EDWARD L WILSON & ODESSA P WILSON JT TEN        4826 SUMMERHILL DR                                                                              CNTRY CLB HLS   IL    60478‐2010
EDWARD L WOJNA                                  45865 TURTLEHEAD DRIVE                                                                          PLYMOUTH        MI    48170‐3657
EDWARD L WRIGHT                                 6530 DOUBLE EAGLE DR                   UNIT 519                                                 WOODRIDGE       IL    60517‐1159
EDWARD L Y LUCE CUST CATHERINE ELIZABETH LUCE   23 ROXBURY LANE                                                                                 PITTSFORD       NY    14534‐4202
UGMA TX
EDWARD L Y LUCE CUST CHRISTOPHER EDWARD LUCE    23 ROXBURY LANE                                                                                 PITTSFORD       NY    14534‐4202
UGMA TX
EDWARD L ZEBECK                                 1004 DEBBIE AVE                                                                                 BALTO           MD    21221‐3338
EDWARD L ZIEMBA                                 3251 HANOVER CT                                                                                 MILFORD         MI    48380‐3234
EDWARD L ZORETIC & LINDA B ZORETIC JT TEN       4552 ARLINGATE DRIVE EAST                                                                       COLUMBUS        OH    43220
EDWARD LABROSE TR EDWARD LABROSE TRUST UA       4233 HIGHLAND AVENUE                                                                            DOWNERS GROVE   IL    60515‐2132
07/09/01
EDWARD LANDER & MARLENE J LANDER JT TEN         185 LADUE PINES DR                                                                              SAINT LOUIS     MO    63141‐8168
EDWARD LAUBE CUST ELIZABETH LAUBE U/THE NEW     C/O NORA G LAUBE                       35‐26 154TH ST                                           FLUSHING        NY    11354‐5020
YORKU‐G‐M‐A
EDWARD LAUCHLAN JR & LOIS CLARK LAUCHLAN TEN    1151 S LEHIGH CIRCLE                                                                            SWARTHMORE      PA    19081‐2112
ENT
EDWARD LE PORE                                  85 WESTERN PINE DRIVE                                                                           ROCHESTER       NY    14616‐5019
EDWARD LEDERKRAMER                              285 RIVERSIDE DR                                                                                NEW YORK        NY    10025‐5276
EDWARD LEE & JUDY LEE JT TEN                    140 SOUTHWOOD DR                                                                                OLD BRIDGE      NJ    08857‐1627
EDWARD LEE CUST EDWARD MICHAEL LEE UGMA CA      4571 GROVER CT                                                                                  FREMONT         CA    94536‐5937

EDWARD LEE FLEET                                4307 LEE BLVD                                                                                   LEHIGH ACRES    FL    33971‐1727
EDWARD LEE HALL                                 507 EAST M55                                                                                    WEST BRANCH     MI    48661‐9257
EDWARD LEE TAYLOR                               2410 E MCGALLIARD RD APT 109                                                                    MUNCIE          IN    47303
EDWARD LEE WOOLF                                435 SHARPLESS ST                                                                                WEST CHESTER    PA    19382‐3538
EDWARD LEO & CHUNMEI LEO JT TEN                 120 KINGS GATE SOUTH                                                                            ROCHESTER       NY    14617‐5415
EDWARD LEON REYNOLDS II                         13963 ROSE RD                                                                                   WILLIS          TX    77378‐7351
EDWARD LEONARD JOSEPH                           2403 SAINT CLAIR AVENUE NE                                                                      CLEVELAND       OH    44114‐4010
EDWARD LESNER                                   BOX 329                                                                                         ALMONT          MI    48003‐0329
EDWARD LEVIN JR                                 34 RACHEL RD                                                                                    NEWTON CENTER   MA    02459‐2925
EDWARD LEWIS BRITTAIN SR                        463 WINSLOW AVE                                                                                 BUFFALO         NY    14211‐1337
EDWARD LEWIS JEWETT                             473 PARK STREET                                                                                 MONTCLAIR       NJ    07043‐1954
EDWARD LEWIS MCNEAL                             1056 DESERT VIEW LN                                                                             BULLHEAD CITY   AZ    86429‐5849
EDWARD LINK                                     497 SR 6 E                                                                                      TUNKHANNOCK     PA    18657‐6903
EDWARD LIU & SUZANNE LIU JT TEN                 4140 N STATE RD #7                                                                              LAUD LAKES      FL    33319
EDWARD LOKINSKI JR                              8515 DALLAS ACWORTH HWY                                                                         DALLAS          GA    30132
EDWARD LORENC                                   75 KLAUM AVE                                                                                    NO TONAWANDA    NY    14120‐4208
EDWARD LURIA CUST JOSEPH LURIA UGMA VA          11803 COLDSTREAM DR                                                                             POTOMAC         MD    20854‐3613
EDWARD LYON                                     3968 SRT 44 HWY                                                                                 JERSEY SHORE    PA    17740
EDWARD M BARTH JR                               1305 OLD NORTH POINT                                                                            BALTIMORE       MD    21222‐1419
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Name                                            Address1                             Address2              Address3         Address4          City              State Zip

EDWARD M BASINSKI JR                             183 PETERSON PL                                                                              FISHERSVILLE      VA    22939‐2056
EDWARD M BASMAJIAN                               732 SOUNDVIEW RD                                                                             OYSTER BAY        NY    11771‐1114
EDWARD M BATTESTIN JR                            52‐08 BROWVALE LANE                                                                          LITTLE NECK       NY    11362‐1747
EDWARD M BEASLEY                                 5222 LOGAN ARMS DRIVE                                                                        LIBERTY           OH    44420‐1632
EDWARD M BELE TR UA 07/07/1999 BELE FAMILY TRUST 98‐20 42 KAAHUMANU ST                                                                        PEARL CITY        HI    96782

EDWARD M BENEDICT                               220 HANOVER                                                                                   HASTINGS          MI    49058‐1938
EDWARD M BENITEZ                                101 NORTH BEACH RD                                                                            KILLEN            AL    35645‐8431
EDWARD M BORGER JR                              14810 E CERRO ALTO DRIVE                                                                      FOUNTAIN HILLS    AZ    85268‐1202
EDWARD M BOWEN TR UA 02/01/07 EDWARD M          3717 CLUB CIR                        PO BOX 8972                                              FEDHAVEN          FL    33854
BOWEN TRUST
EDWARD M BRAWLEY                                38 SALTONSTALL RD                                                                             HAVERHILL         MA    01830‐4119
EDWARD M BRENNER                                PO BOX 615                                                                                    MOUNT WOLF        PA    17347‐0615
EDWARD M BROWN                                  18245 ROSELAWN                                                                                DETROIT           MI    48221‐2114
EDWARD M BROWN                                  3503 EWINGS ROAD                                                                              LOCKPORT          NY    14094‐1039
EDWARD M BROWN & MARGARET T BROWN JT TEN        3587 MEANDER RESERVE CIR                                                                      CANFIELD          OH    44406‐8012

EDWARD M BRUSS                                  14319 GLADSTONE RD                                                                            NORTH JACKSON     OH    44451‐9611
EDWARD M BUCHER                                 78 ST JOHN'S RD                                                                               CAMP HILL         PA    17011
EDWARD M BURMILA                                506 WOODLAND HILLS DR                                                                         ATHENS            GA    30606‐5030
EDWARD M CALKINS                                215 N DANE RD                                                                                 WILLIAMSBURG      KS    66095‐8032
EDWARD M CAMPANILE                              127 LA GRANGE AVENUE                                                                          ESSINGTON         PA    19029‐1407
EDWARD M CHMIEL                                 131 RTE 130                                                                                   BORDENTOWN        NJ    08505‐2217
EDWARD M DANEK JR                               8201 STATE RD                        APT 1                                                    CHESANING         MI    48616‐9609
EDWARD M DE KRUGER                              7301 WILSON RD                                                                                OTISVILLE         MI    48463‐9473
EDWARD M DELON JR                               661 IOWA AVENUE                                                                               MCDONALD          OH    44437‐1605
EDWARD M DONWERTH                               2101 OAKRIDGE DR                                                                              NORMAN            OK    73026‐8262
EDWARD M DUFFIE                                 4059 SOMERS‐GRATIS RD                                                                         CAMDEN            OH    45311‐9558
EDWARD M EGAN                                   6705 HARWOOD PLACE                                                                            SPRINGFIELD       VA    22152‐2419
EDWARD M FARRELL                                107 PINEDALE AVE                                                                              FARMINGVILLE      NY    11738‐2611
EDWARD M FARRELLY                               PO BOX 1637                                                                                   RAMONA            CA    92065‐0900
EDWARD M FARRELLY TR EDWARD M FARRELLY TRUST    PO BOX 1637                                                                                   RAMONA            CA    92065‐0900
UA 04/16/01
EDWARD M FINNERTY                               728 SANDRA                                                                                    DEARBORN HTS      MI    48127‐4116
EDWARD M FISCHER & MYRA FISCHER JT TEN          141 20 72 AVE                                                                                 FLUSHING          NY    11367‐2332
EDWARD M FREEDMAN & MRS JUDITH A FREEDMAN JT    29 DE COTA DR                                                                                 RANDOLPH          MA    02368‐2908
TEN
EDWARD M GABRYS                                 4316 MAPLETON ROAD                                                                            LOCKPORT          NY    14094‐9652
EDWARD M GARRETT & LILLIAN G GARRETT JT TEN     634 E 50 N                                                                                    NORTH SALT LAKE   UT    84054‐1553

EDWARD M GORHAM                                 PO BOX 2455                          120 BURNING BUSH PL                                      LA PLATA          MD    20646
EDWARD M GUZOWSKI                               40BELROSE PLACE                                                                               SOUTHINGTON       CT    06489‐3602
EDWARD M GUZOWSKI & JULIA GUZOWSKI JT TEN       40 BELROSE PLACE                                                                              SOUTHINGTON       CT    06489‐3602

EDWARD M HANCOCK                                1 CHEVHILL CIRCLE                                                                             PENFIELD          NY    14526‐2916
EDWARD M HANCOCK & SHARON E HANCOCK JT TEN      1 CHEVHILL CIRCLE                                                                             PENFIELD          NY    14526‐2916

EDWARD M HANNAFORD                              30367 GRATIOT AVE                                                                             ROSEVILLE         MI    48066‐1714
EDWARD M HENSLEY                                C/O CARRIDA G HENSLEY                4706 9TH AVE                                             VIENNA            WV    26105‐3112
EDWARD M IRONSMITH III                          2043 SHADYWOOD LN                                                                             SHREVEPORT        LA    71105‐3815
EDWARD M JEFFREY & MARY JEFFREY JT TEN          7741 TERNES                                                                                   DEARBORN          MI    48126‐1017
EDWARD M JESNES & SUSAN JESNES JT TEN           56 43 196 ST                                                                                  FLUSHING          NY    11365‐2330
EDWARD M JOHNSON                                461 COUNCIL CREST LN                                                                          BATTLE CREEK      MI    49014‐8249
EDWARD M JONES                                  6028 WAYCROSS DRIVE                                                                           FORT WAYNE        IN    46816‐3849
EDWARD M KANTER & ALICE KANTER JT TEN           96 EDWARDS ROAD                                                                               CLIFTON           NJ    07013‐4022
EDWARD M KASPRISIN                              2119 ROBBINS STATION RD                                                                       NORTH             PA    15642‐2858
                                                                                                                                              HUNTINGDON
EDWARD M KAVJIAN JR                             3711 WOODBURN RD                                                                              ANNANDALE         VA    22003‐2255
EDWARD M KAVJIAN JR                             3711 WOODBURN ROAD                                                                            ANNANDALE         VA    22003‐2255
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EDWARD M KAWAKAMI                               2195 FAIRPLAIN AVE                                                                         BENTON HARBOR    MI    49022‐6849
EDWARD M KEARNS                                 53 HILL ST                                                                                 LOCKPORT         NY    14094‐2253
EDWARD M KENNEY                                 12436 CROYDON RD                                                                           MIDWEST CITY     OK    73130‐4930
EDWARD M KIMBALL TR EDWARD M KIMBALL TRUST UA 3608 WELLINGTON CROSS RD                                                                     ANN ARBOR        MI    48105‐3044
10/10/96
EDWARD M KNAPP                                  95 OAKLAND AVE                                                                             UNIONTOWN        PA    15401‐2818
EDWARD M KOLODZIEJ & MRS MARLENE R KOLODZIEJ JT 32956 ALLEN AVE                                                                            LIVONIA          MI    48154‐4110
TEN
EDWARD M KULIGOWSKI                             C/O JOANNE KULIGOWSKI             26268 OHIO AVE                                           NOVI             MI    48374‐1448
EDWARD M KURANC                                 11265 GLENIS DRIVE                                                                         STERLING HGTS    MI    48312‐4951
EDWARD M LANKFORD                               2500 MANN RD                      LOT 196                                                  CLARKSTON        MI    48346‐4278
EDWARD M LIBBY                                  4326 STONEHENGE                                                                            TROY             MI    48098‐4245
EDWARD M LIPNICKAS                              3533 WOODSDALE ROAD                                                                        ABINGDON         MD    21009‐2005
EDWARD M LOVELACE                               47594 ROLAND                                                                               UTICA            MI    48317‐2949
EDWARD M LURIA                                  11803 COLDSTREAM DR                                                                        POTOMAC          MD    20854‐3613
EDWARD M LURIA CUST CARRIE A LURIA UGMA MD      11803 COLDSTREAM DR                                                                        POTOMAC          MD    20854‐3613

EDWARD M MC INTYRE                             8820 WILD WIND PARK                                                                         SAN ANTONIO      TX    78266‐2164
EDWARD M MIKESELL & DORIS A MIKESELL JT TEN    684 BASEHOAR SCHOOL RD                                                                      LITTLESTOWN      PA    17340‐9509
EDWARD M MINER                                 2007 SAMISH CREST WAY                                                                       BELLINGHAM       WA    98229‐4909
EDWARD M MITCHELL                              #9 FOURTH ST                                                                                UPLAND           PA    19015‐2418
EDWARD M MOORE                                 408 W 12TH                                                                                  MIO              MI    48647‐9165
EDWARD M MURCKO                                718 VERNON RD                                                                               GREENVILLE       PA    16125‐8642
EDWARD M NAUGHTON                              175 BERLIN AVE UNIT 21                                                                      SOUTHINGTON      CT    06489‐3262
EDWARD M NYE & GAIL L NYE JT TEN               8537 BRANDAU RD                                                                             LEVERING         MI    49755‐9509
EDWARD M PANOSIAN                              109 STADIUM VIEW DR                                                                         GREENVILLE       SC    29609‐5113
EDWARD M PAPCIAK                               811 RON LEE LANE                                                                            YOUNGSTOWN       OH    44512‐4136
EDWARD M PAYNE & DIANA L PAYNE JT TEN          PO BOX 106                                                                                  COPPERAS COVE    TX    76522‐0106
EDWARD M PETERS                                PO BOX 348                                                                                  LAKE ORION       MI    48361‐0348
EDWARD M PUFPAFF                               5184 SHAWNEE ROAD                                                                           SANBORN          NY    14132‐9116
EDWARD M RASOWSKY                              18 VALLEY DRIVE                                                                             WEST SAND LAKE   NY    12196‐1739
EDWARD M RATAJCZAK                             2302 S GARFIELD RD                                                                          AUBURN           MI    48611‐9734
EDWARD M REIMAN                                119 FAIRELM LN                                                                              BUFFALO          NY    14227‐1365
EDWARD M ROLLINS                               PO BOX 142                                                                                  LURAY            VA    22835‐0142
EDWARD M ROONEY                                1608 ARBOR CREST DR                APT 625                                                  BEDFORD          TX    76021‐5751
EDWARD M ROSS                                  11782 SE MOUNTAIN SUN DR                                                                    CLACKAMAS        OR    97015‐9246
EDWARD M RUBY & BERNICE S RUBY JT TEN          10373 COOLEY LAKE RD                                                                        COMMERCE TWP     MI    48382‐3636
EDWARD M RUSINOWSKI & MRS JUDITH A RUSINOWSKI 23763 ANDREW BLVD                                                                            FLAT ROCK        MI    48134‐9316
JT TEN
EDWARD M SALISBURY & MRS GENEVIEVE E SALISBURY 73019 HOMESTEAD DR                                                                          TWENTY‐NINE      CA    92277‐1704
JT TEN                                                                                                                                     PALMS
EDWARD M SANOCKI JR                            503 LANGLEY BLVD                                                                            CLAWSON          MI    48017‐1332
EDWARD M SELIGA                                120 BROADLAWN DR                                                                            ELIZABETH        PA    15037‐2045
EDWARD M SEMETA                                32 HOBBS ROAD                                                                               TRENTON          NJ    08619‐3638
EDWARD M SHAPIRO CUST SHARON E SHAPIRO UNDER 133 ELDER AVE                                                                                 IMPERIAL BEACH   CA    91932‐2407
THE NEWHAMPSHIRE U‐G‐M‐L
EDWARD M SHEEHAN                               ROUTE 8                            21229 BOWMAN ROAD                                        DEFIANCE         OH    43512‐8989
EDWARD M SHOCKLEY                              221 N CHURCH ST                                                                             POTLERVILLE      MI    48876‐9790
EDWARD M SIBBLE JR                             144 RANDOLPH AVE                                                                            MILTON           MA    02186‐3509
EDWARD M SLACZKA                               2631 KRAFFT RD                     APT 209                                                  PORT HURON       MI    48060‐1540
EDWARD M SMYERS                                11208 PUTNAM RD                                                                             UNION            OH    45322‐9721
EDWARD M TANNENBAUM                            12812 BRISTOL CIRCLE                                                                        LOS ANGELES      CA    90049
EDWARD M TEGLER                                5985 COOLEY LAKE RD                                                                         WATERFORD        MI    48327‐2906
EDWARD M THORNTON                              8380 KENLOVE CT                                                                             BRIGHTON         MI    48116‐8540
EDWARD M TOBIE                                 21 TEKEHING WAY                                                                             HAMILTON         NJ    08690‐1648
EDWARD M TOOLE                                 322 LAURELTON ROAD                                                                          ROCHESTER        NY    14609‐4321
EDWARD M UMEK & BEVERLY P UMEK TR UMEK FAM     PO BOX 1437                                                                                 DIAMOND CITY     AR    72630‐1437
TRUST UA 10/02/98
EDWARD M VIOLANTE                              6018 W MONTE CRISTO AVE                                                                     GLENDALE         AZ    85306‐2313
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Name                                             Address1                              Address2             Address3          Address4          City             State Zip

EDWARD M VUYLSTEKE                               3092 BLUETT                                                                                    ANN ARBOR        MI    48105‐1424
EDWARD M WILLIAMSON                              25 NATHANIEL RD                                                                                HOLLAND          PA    18966
EDWARD M WILSON                                  135 LEXINGTON AVE                                                                              DAYTON           OH    45407‐2133
EDWARD M WINKLER                                 8580 NANCY ST                                                                                  UTICA            MI    48087
EDWARD M WINOWSKI                                27272 CAMPBELL                                                                                 WARREN           MI    48093‐4480
EDWARD M WRIGHT                                  5533 STEFFENS AVE                                                                              TOLEDO           OH    43623‐1628
EDWARD M WULBRECHT                               808 HIGHLAND AVE                                                                               LAFAYETTE        IN    47905‐1437
EDWARD M YUHAS & MONICA A YUHAS JT TEN           120 SMOCK HILL RD                     PO BOX 195                                               SMOCK            PA    15480‐0195
EDWARD M YURKIEWICZ & ANN T YURKIEWICZ JT TEN    1251 JENNIFER ST                                                                               PRESCOTT         AZ    86301‐4711

EDWARD MALICK                                39686 CAROL LANE                                                                                   ELYRIA           OH    44035‐8144
EDWARD MANNINO CUST MATTHEW E MANNINO        435 BARCLAY                                                                                        GROSSE POINTE    MI    48236‐2813
UGMA MI                                                                                                                                         FARM
EDWARD MARCOL & EDWARD MICHAEL MARCOL JT TEN PO BOX 184                                                                                         CHEROKEE VILLAGE AR    72525‐0184

EDWARD MARINKO                                   W5574 COUNTY RD H                                                                              PHILLIPS         WI    54555‐8335
EDWARD MARQUEZ                                   1926 W ORANGE AVE                                                                              ANAHEIM          CA    92804‐3502
EDWARD MARSH                                     4256 STAFFORD DRIVE                                                                            WINTER HAVEN     FL    33880‐1141
EDWARD MARSHALL JR                               PO BOX 14603                                                                                   SAGINAW          MI    48601‐0603
EDWARD MARTIN                                    75‐46 UTOPIA PKWY                                                                              FLUSHING         NY    11366‐1527
EDWARD MARTIN MORRISON                           5240 HIGHLAND RD                                                                               BATON ROUGE      LA    70808‐6530
EDWARD MARTINEZ                                  1308 VERMONT AVE                                                                               LANSING          MI    48906‐4957
EDWARD MASON                                     1500 WEISS ST AFGE LOCAL 2274                                                                  SAGINAW          MI    48602
EDWARD MAURICE KOHN                              CARROLL PARK                          204 FARWOOD RD                                           WYNNEWOOD        PA    19096‐4011
EDWARD MC CRADY PEEBLES                          3049 7TH AVE N                                                                                 ST PETERSBURG    FL    33713‐6601
EDWARD MCCOURT                                   512 4TH ST REAR HOUSE                                                                          UNION CITY       NJ    07087‐2802
EDWARD MCDOWELL & MARGARET MCDOWELL JT TEN       BOX 873                                                                                        MONTGOMERY       TX    77356‐0873

EDWARD MCHUGH                                    7 ELIZABETH TER                                                                                WAPPINGERS FALLS NY    12590‐3503

EDWARD MCLEOD                                    40 EAST SIDNEY AVE APT 14M                                                                     MT VERNON        NY    10550‐1416
EDWARD MECISLAUS KLENIEWSKI                      4 FARM LANE                                                                                    HICKSVILLE       NY    11801‐5913
EDWARD MEDEIROS JR                               224 DENHAN AVE                                                                                 SOMERSET         MA    02726‐3777
EDWARD MEDVED                                    407 WHISPERING PINES DR                                                                        WARREN           OH    44481‐9664
EDWARD MENDLOWITZ                                10 GREEN HILLS ROAD                                                                            EAST BRUNSWICK   NJ    08816‐2876
EDWARD MERSON                                    427 HANNUM DRIVE                                                                               KENNETT SQUARE   PA    19348‐2509
EDWARD MEYER & ANNA MEYER JT TEN                 C/O ROBERT LOWERY                     1065 FAIRFAX LN                                          SOUTH ELGIN      IL    60177
EDWARD MICHNA                                    52HIGHLAND AVE                                                                                 HIGHLAND PARK    NJ    08904‐3619
EDWARD MIKELL                                    1950 BIRDS NEST RD                                                                             WADMALAW IS      SC    29487‐7002
EDWARD MILEWSKI TR EDWARD MILEWSKI TRUST UA      35916 FIERIMONTE DR                                                                            CLINTON TWP      MI    48035‐2120
03/13/85
EDWARD MILLER & MISS ARLEEN MILLER JT TEN        42 PARK RD                                                                                     SPARTA           NJ    07871‐2001
EDWARD MISSAVAGE JR & FREDA A MISSAVAGE JT TEN   30001 LAHSER                                                                                   BEVERLY HILLS    MI    48025‐4827

EDWARD MITCHELL                                  957 LIBERTY GROVE ROAD                                                                         CONOWINGO        MD    21918‐1917
EDWARD MONNET                                    5311 S XANTHUS                                                                                 TULSA            OK    74105‐6444
EDWARD MONROE                                    222 FOREST ST                                                                                  METHUEN          MA    01844
EDWARD MONTGOMERY & JANET S MONTGOMERY JT        29009 WOLF RD                                                                                  BAY VILLIAGE     OH    44140‐1356
TEN
EDWARD MORIARTY                                  1171 TIMBERLAKE DR W                                                                           CORDOVA          TN    38018
EDWARD MOSKAL & IRENE MOSKAL JT TEN              13 STONE HENGE DR                                                                              OCEAN            NJ    07712‐3326
EDWARD MUELLER & GERALDINE MUELLER JT TEN        9723 DIXIE HWY                                                                                 FAIR HAVEN       MI    48023‐2325

EDWARD MULLEN                                    5592 WHIRLAWAY RD                                                                              PALM BCH GDNS    FL    33418‐7735
EDWARD MUNVES JR & MRS NORMA MUNVES JT TEN       1165 PARK AVE                                                                                  NY               NY    10028‐1303

EDWARD N ALLISON                                 3461 SULPHUR SPRINGS RD                                                                        HICKORY          NC    28601‐7710
EDWARD N ANINOS                                  2520 CHELSEA COURT                                                                             MEDEMORA         MI    48455
EDWARD N BERBENCHUK                              1630 BOULAN                                                                                    TROY             MI    48084‐1537
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Name                                          Address1                                Address2             Address3          Address4          City             State Zip

EDWARD N BROWNING                             1271 ARLINGTON AVE                                                                               COLUMBUS         OH    43212‐3202
EDWARD N CHAPMAN                              1090 SPENCERPORT RD                     #1                                                       ROCHESTER        NY    14606‐3620
EDWARD N COLE                                 PO BOX 1086                                                                                      LOCKHART         TX    78644‐1086
EDWARD N DAVIES & RUTH P DAVIES JT TEN        5210 15TH AVE W                                                                                  BRADENTON        FL    34209‐5059
EDWARD N FABULA                               208 ORCHARD AVE                                                                                  BALTIMORE        MD    21225‐2834
EDWARD N FAKHRY                               6350 N MYRTLE AVE                                                                                GLADSTONE        MO    64119‐1994
EDWARD N FINGLAS                              UNIT 3                                  6 FRANKLIN ST                                            MARBLEHEAD       MA    01945‐3576
EDWARD N GRENNON                              100 BICKNELL ST                                                                                  QUINCY           MA    02169‐6017
EDWARD N GUNN                                 10978 HWY 493                                                                                    BAILEY           MS    39320‐9791
EDWARD N HOLMES III                           4993 ADELIA DRIVE                                                                                VIRGINIA BEACH   VA    23455‐3862
EDWARD N IVERSON                              32965 LAKEVIEW TERRACE                                                                           LAKE EL SINORE   CA    92530‐4636
EDWARD N KOURY & ESTHER KOURY JT TEN          27 WEST BROADWAY                                                                                 ONEONTA          NY    13820‐2223
EDWARD N MATTHIAS JR                          118 ALTHEA AVE                                                                                   MORRISVILLE      PA    19067‐2264
EDWARD N NORTHEY JR                           2007 E DONALD ST                                                                                 WATERLOO         IA    50703‐9567
EDWARD N PARKER                               2023 PIRU ST                                                                                     COMPTON          CA    90222‐3524
EDWARD N PHILLIPS                             15250 BAILEY ST                                                                                  TAYLOR           MI    48180‐5177
EDWARD N ROBERTS                              384 SULPHUR CREEK ROAD                                                                           COLUMBIA         KY    42728‐9124
EDWARD N SARTIN & JEAN R SARTIN JT TEN        147 PERRIN ST                                                                                    SWOYERSVILLE     PA    18704‐1954
EDWARD N SCHNABEL                             7317 S WEDGEWOOD DR                                                                              LINCOLN          NE    68510‐4268
EDWARD N STEELE                               15565 S MIDWAY AVE                                                                               ALLEN PARK       MI    48101‐1117
EDWARD NAKFOOR & LILLIAN NAKFOOR JT TEN       2076 JOANNE DR                                                                                   TROY             MI    48084‐1129
EDWARD NAUKA                                  6229 DOWNINGTON RD                                                                               DECKER           MI    48426‐9722
EDWARD NAVARRO & SANDRA NAVARRO JT TEN        309 MAPLEWOOD CT                        APT D2                                                   SCHAUMBURG       IL    60193‐2147
EDWARD NEAL                                   9616 TERRY                                                                                       DETROIT          MI    48227‐2473
EDWARD NEAL & MARGARET L NEAL JT TEN          9616 TERRY                                                                                       DETROIT          MI    48227‐2473
EDWARD NEIL NEUNHERZ                          4016 S SUNCREST DR                                                                               VERADALE         WA    99037‐9188
EDWARD NICHOLAS MEYERS                        203 LOCUST STREET WEST                                                                           THREE OAKS       MI    49128‐1193
EDWARD NICHOLLS JR                            2395 E FRANCES RD                                                                                CLIO             MI    48420‐9769
EDWARD NICKSON                                PO BOX 5453                                                                                      OCEANSIDE        CA    92052
EDWARD NIEMI                                  PO BOX 545                                                                                       CAPAC            MI    48014‐0545
EDWARD NOLAN LANE                             991 LANE DRIVE                                                                                   FRIENDSVILLE     TN    37737‐2829
EDWARD NOLEN GOODING SR                       17050 OLD RIDGE RD                                                                               MONTPELIER       VA    23192‐2101
EDWARD NOLET                                  4363 MAIN STREET                                                                                 BROWN CITY       MI    48416‐9701
EDWARD NOREUS TR EDWARD NOREUS TRUST UA       28840 BOHN                                                                                       ROSEVILLE        MI    48066‐2491
11/09/89
EDWARD NORMAN                                 APT 4                                   170 TYVOLA DR                                            CHARLOTTE        NC    28210‐3680
EDWARD NORMAN SHAY                            259 KAREN DR                                                                                     ORANGE           CT    06477‐2934
EDWARD NORTHCRAFT CULLOM                      122 BLACK ANKLE CREEK RD                                                                         CHERRYLOG        GA    30522
EDWARD NOVAK                                  1222 BEAUPRE                                                                                     MADISON HGTS     MI    48071‐2621
EDWARD O ADAMS                                233 COYATEE SHRS                                                                                 LOUDON           TN    37774‐3177
EDWARD O BRYANT                               2733 LESLIE ST                                                                                   DETROIT          MI    48238‐3479
EDWARD O GARRISON JR                          172 SHOOP AVE                                                                                    DAYTON           OH    45417‐2246
EDWARD O GOODRICH JR CUST JONATHAN GOODRICH   6715 SOUTH JENTILLY LANE                                                                         TEMPE            AZ    85283‐4010
UGMA NM
EDWARD O GOTWAY JR & EDWARD O GOTWAY JT TEN   1120 BRIARHURST DR                                                                               BALLWIN          MO    63021‐6836

EDWARD O GROH                                 1420 OWEN ST                                                                                     SAGINAW          MI    48601‐2644
EDWARD O HUBER                                7648 BENHAM CT                                                                                   CINCINNATI       OH    45255‐3090
EDWARD O MEECE                                1996 MALVIN HILL CH RD                                                                           SOMERSET         KY    42501
EDWARD O VANDEBUSSCHE                         114 WEST ELM                                                                                     DESHLER          OH    43516‐1107
EDWARD O WHITE                                7228 ROMFORD WAY                                                                                 N RICHLND HLS    TX    76180‐5028
EDWARD O WOOD TR UA 09/26/88 EDWARD O WOOD    1043 DALESIDE LANE                                                                               NEW PRT RCHY     FL    34655‐4293
TRUST
EDWARD OAKES                                  43291 PECK‐WADSWORTH ROAD                                                                        WELLINGTON       OH    44090‐9666
EDWARD OBERTHIER                              731 RIVER PLANTATION DR                                                                          CONROE           TX    77302‐3747
EDWARD OBROCHTA                               7187 CRAIG RD                                                                                    BATH             NY    14810‐7536
EDWARD OGONOWSKI                              PO BOX 12                                                                                        WSHNGTN CRSNG    PA    18977‐0012

EDWARD OHLBAUM                                1205 HAGYSFORD ROAD                                                                              NARBERTH         PA    19072‐1103
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EDWARD OLIVEIRA                                     117 VAN TASSEL AVE                                                                              NORTH             NY    10591‐1943
                                                                                                                                                    TARRYTOWN
EDWARD ORTIZ                                        7759 VALE DRIVE                                                                                 WHITTIER          CA    90602‐1920
EDWARD ORTIZ & LORRAINE G ORTIZ JT TEN              7759 VALE DRIVE                                                                                 WHITTIER          CA    90602‐1920
EDWARD OSOWIEC                                      86 GHENT ST                            ST CATHARINES ON                       L2N 2C9 CANADA
EDWARD OTTO                                         5 PINECREST DRIVE                                                                               SLINGERLANDS      NY    12159‐9264
EDWARD OWEN ABBOTT                                  7895 AMSTERDAM CT                                                                               AVON              IN    46123‐9763
EDWARD P BARAN & DORIS Y BARAN JT TEN               57 COOLIDGE ST                                                                                  WINDSOR LOCKS     CT    06096‐2734
EDWARD P BARNEY                                     RR2 BOX 234B                                                                                    MIDDLEBURG        PA    17842‐9581
EDWARD P BERT                                       140 PHYLLIS AVE                                                                                 BUFFALO           NY    14215‐2826
EDWARD P BILINSKI & MRS ALICE R BILINSKI JT TEN     3750 W REICHERT RD                                                                              ERIE              PA    16509‐4348

EDWARD P BRODY                                      PO BOX 219                                                                                      ROSSVILLE         GA    30741‐0219
EDWARD P BRONCHAK                                   1316 RODGERS ST                                                                                 PITTSBURGH        PA    15207‐2269
EDWARD P CALLAGHAN                                  414 FENTON AVE                                                                                  ROMEOVILLE        IL    60446‐1328
EDWARD P CALLAGHAN & MRS GEORGIA A CALLAGHAN        2021 NEW HYDE PARK RD                                                                           NEW HYDE PARK     NY    11040
JT TEN
EDWARD P CHAMBERS                                   6082 GREENE DR                                                                                  BROOKPARK         OH    44142‐3014
EDWARD P CHURCH                                     10405 VERNON AVE                                                                                HUNTINGTON        MI    48070‐1526
                                                                                                                                                    WOODS
EDWARD P CLIFTON                               3401 WEST COLDWATER RD                                                                               MOUNT MORRIS      MI    48458‐9401
EDWARD P COTTER JR                             9721 RUSSELL ST                                                                                      OVERLAND PARK     KS    66212
EDWARD P DOLBEARE                              PO BOX 205                                                                                           LERNA             IL    62440‐0205
EDWARD P DUNN & MRS CLAIRE M DUNN JT TEN       1627 WOODMOOR LANE                                                                                   MC LEAN           VA    22101‐5160
EDWARD P EDMINSTER & SALLYANNE KREIGHBAUM JT 5325 AMINDA ST                                                                                         SHAWNEE MISSION   KS    66226‐2628
TEN
EDWARD P EDMINSTER & THOMAS J EDMINSTER JT TEN 5325 AMINDA                                                                                          SHANNEE           KS    66226‐2628

EDWARD P FILCHOCK                                   382 BROWNSVILLE ROAD                                                                            FAYETTE CITY     PA     15438‐1120
EDWARD P FLECK                                      36063 CONGRESS CT                                                                               FARMINGTON HILLS MI     48335‐1219

EDWARD P FOY                                        5136 N LINDEN RD                                                                                FLINT             MI    48504
EDWARD P FREDERICK                                  10 OWLS NEST RD                                                                                 WILMINGTON        DE    19807‐1126
EDWARD P FREEMAN                                    1279 93RD ST                                                                                    NIAGARA FALLS     NY    14304‐2607
EDWARD P GARNER                                     8046 YOLANDA                                                                                    DETROIT           MI    48234‐3318
EDWARD P GARTLAND JR & HANNELORE GARTLAND JT        7 CYPRESS ROAD                                                                                  MILFORD           NH    03055‐4606
TEN
EDWARD P HAMEL & JEANNE L HAMEL JT TEN              4501 MANATEE AVE W #122                                                                         BRADENTON         FL    34209‐3952
EDWARD P HARRIS 3RD                                 157 S EASTERN DAWN AVE                                                                          TUSCON            AZ    85748‐1710
EDWARD P HONES                                      6116 RIVERVIEW DR                                                                               JACKSON           MI    49203‐5695
EDWARD P HOOLEY                                     104 BLERIOT PL                                                                                  GRAND PRAIRIE     TX    75051‐2108
EDWARD P HUGHES                                     757 WICK BLVD                                                                                   WOODBURY          NJ    08096‐1334
EDWARD P JAKUBIK                                    7346 W 12 1/2 RD                                                                                MESICK            MI    49668‐9353
EDWARD P JOHNSON                                    PO BOX 173                                                                                      HUNT              TX    78024‐0173
EDWARD P KNYSZEK & CAROL A KNYSZEK JT TEN           14099 ARROWHEAD TR                                                                              MIDDLEBURG HTS    OH    44130‐6735

EDWARD P LEE                                        4915 ALAMEDA DR                                                                                 OCEANSIDE         CA    92056‐5488
EDWARD P LESONDAK                                   217 HUMPHREY ST                        APT 5                                                    SWAMPSCOTT        MA    01907‐2541
EDWARD P LICHVAR                                    95 FIFTH AVE                                                                                    SHARON            PA    16146‐2234
EDWARD P LOUD                                       4000 TUNLAW RD                         NW # 111                                                 WASHINGTON        DC    20007‐4809
EDWARD P MCLEOD & RAEANN MCLEOD JT TEN              528 MAPLE LANE                                                                                  SPRING VALLEY     MN    55975‐1513
EDWARD P MIKOS & HELEN MIKOS JT TEN                 3949 W KEENEY                                                                                   SKOKIE            IL    60076‐3354
EDWARD P MORRIS                                     8342 VERA DR                                                                                    BROADVIEW HTS     OH    44147‐2203
EDWARD P MORRIS & RITA S MORRIS JT TEN              8342 VERA DR                                                                                    BROADVIEW HTS     OH    44147‐2203
EDWARD P MULARONI                                   220 EAST SUNSET WAY APT 2                                                                       ISSAQUAH          WA    98027
EDWARD P MYER                                       148 HONEY HILL LN                                                                               GRANVILLE         NY    12832‐4745
EDWARD P NAGEL JR & PATRICIA A NAGEL JT TEN         3200 HARTSLOCK WOODS DR                                                                         WEST BLOOMFIELD   MI    48322‐1841
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EDWARD P NAGRANT & LAJEAN E NAGRANT JT TEN       37482 MEADOWHILL E                                                                             NORTHVILLE          MI    48167‐9018

EDWARD P NOWAK                                   16260 HUBBARD ROAD                                                                             LIVONIA             MI    48154‐3152
EDWARD P OGONOWSKI                               682 NEW CHURCHMANS RD                                                                          NEWARK              DE    19702
EDWARD P ONEIL                                   4646 KINGSTON                                                                                  DEARBORN HGTS       MI    48125‐3242
EDWARD P OSOSKI                                  273 SO EAGLE ST                                                                                TERRYVILLE          CT    06786‐6109
EDWARD P PASTERNAK                               PO BOX 9022                                                                                    WARREN              MI    48090‐9022
EDWARD P PIETRZAK & ANGELINE V PIETRZAK JT TEN   7471 AUGUST ST                                                                                 WESTLAND            MI    48185‐2584

EDWARD P RIGNEY                                  1135 CHATHAM HEIGHTS                                                                           MARTINSVILLE        VA    24112‐2149
EDWARD P SALIBA                                  13052 COLUMBIA                                                                                 REDFORD             MI    48239‐2717
EDWARD P SCHMITT                                 28421 SHEEKS BLVD N                                                                            FLAT ROCK           MI    48134‐1266
EDWARD P SHANLEY                                 4614 CAMP ROAD                                                                                 HAMBURG             NY    14075‐2502
EDWARD P SHIMKUS                                 4125 W 100TH ST                                                                                OAK LAWN            IL    60453‐3569
EDWARD P SMEADER                                 8378 GALLANT FOX TR                                                                            FLUSHING            MI    48433‐8826
EDWARD P SORKAU                                  69 LONG STREET ROAD                                                                            HOLMDEL             NJ    07733‐2062
EDWARD P SPENCER                                 PO BOX 383                            20 SHORE DRIVE                                           WRENTHAM            MA    02093‐1063
EDWARD P STANNY                                  1630 CITADEL PL                                                                                CINCINNATI          OH    45255‐2626
EDWARD P STENNIE                                 2644 S W 20TH CIRCLE                                                                           OCALA               FL    34474‐7068
EDWARD P STENNIE & KATHERINE O STENNIE JT TEN    2644 S W 20TH CIRCLE                                                                           OCALA               FL    34471

EDWARD P STINSON                                 2703 REVERE BLVD                                                                               BRIGANTINE          NJ    08203‐1753
EDWARD P SUZELIS                                 6720 HOLCOMB RD                                                                                NEWTON FALLS        OH    44444‐9217
EDWARD P TOTH JR                                 305 ARROW DR                                                                                   ELIZABETH           PA    15037‐2605
EDWARD P TRAVER                                  44200 ARLINGTON                                                                                CANTON              MI    48187‐2144
EDWARD P VAN FOSSAN                              7707 CRIMSON TRL                                                                               BOARDMAN            OH    44512‐4765
EDWARD P VANVOLKENBURG                           64 ALLENDALE ROAD                                                                              CHEEKTOWAGA         NY    14215‐1863
EDWARD P WAMPLER                                 41305 BELVIDERE                                                                                MT CLEMENS          MI    48045‐1406
EDWARD P WILBUR TR EDWARD P WILBUR REV TRUST     6291 OLD LOG TRAIL                                                                             KALAMAZOO           MI    49009‐9123
UA 11/04/97
EDWARD P ZAHORSKY                                110 GEORGE STREET                                                                              SOUTH RIVER         NJ    08882‐1214
EDWARD PANTLE                                    432 CEDAR                                                                                      LEANORDO            NJ    07737‐1111
EDWARD PARKER                                    PO BOX 50582                                                                                   SUMMERVILLE         SC    29485‐0582
EDWARD PASTERNAK                                 941 LEHIGH AVE                                                                                 VESTAL              NY    13850‐3809
EDWARD PASZKO                                    24875 JOHNSTON                                                                                 E DETROIT           MI    48021‐1427
EDWARD PATRICK SHIRLEY                           ATTN COX CASTLE & NICHOLSON           1810 PALISADES DRIVE                                     PACIFIC PALISADES   CA    90272‐2120

EDWARD PAUL KUKLINSKI                            R1 2625COUNTY LINE DRIVE                                                                       KEWASKUM            WI    53040‐9747
EDWARD PAUL MASCHARKA                            712 SEMINOLE DR                                                                                ERIE                PA    16505‐5052
EDWARD PAWLUKIEWICZ                              6856 BINGHAM ST                                                                                DEARBORN            MI    48126‐1803
EDWARD PEART                                     10 SOMERSET ST 1B                                                                              NEWARK              NJ    07103‐4147
EDWARD PENA                                      10301 EAST 30TH ST                                                                             INDEPENDENCE        MO    64052‐1409
EDWARD PENNINGTON                                5074 MAYS AVE                                                                                  DAYTON              OH    45439‐2931
EDWARD PETROSKY                                  14 FRICK AVE                                                                                   IRWIN               PA    15642‐3207
EDWARD PFISTER & KATHRYN M PFISTER JT TEN        905 ALFONSO AVE                                                                                CORAL GABLES        FL    33146‐3402
EDWARD PHETTEPLACE                               4185 LESLIE ROAD                                                                               DECKER              MI    48426‐9703
EDWARD PHILIP BRUCH                              170 DANIEL BOONE DRIVE                                                                         BOONE               NC    28607
EDWARD PHILIP SHAPIRO                            165 OLD FORD DR                                                                                CAMP HILL           PA    17011‐8399
EDWARD PIATKOWSKI & MRS CLAIRE PIATKOWSKI JT     2708 MECHANICSVILLE ROAD                                                                       BENSALEM            PA    19020‐2627
TEN
EDWARD PICKUS CUST TED PICKUS UGMA IL            345 OAKLAND DRIVE                                                                              HIGHLAND PARK       IL    60035‐5048
EDWARD PIETRZAK                                  7471 AUGUST                                                                                    WESTLAND            MI    48185‐2584
EDWARD PLAUT JR                                  10 SUNSET DR                                                                                   NEW FAIRFIELD       CT    06812‐2825
EDWARD POLAKOWSKI                                9194 DEL PRADO DR‐1‐NO                                                                         PALOS HILLS         IL    60465‐5019
EDWARD POLCAR                                    4599 EAST SPRAGUE RD                                                                           INDEPENDENCE        OH    44131‐6224
EDWARD POLLACK & MRS RUTH POLLACK JT TEN         C/O RUTH POLLACK                      950 CHERRY RD 153                                        MEMPHIS             TN    38117‐5445
EDWARD PORUBEK                                   261 BUTTONWOOD AVE                                                                             CORTLANDT           NY    10567‐4911
                                                                                                                                                MANOR
EDWARD PRAZMO                                    1950 JEANNIE CT                                                                                WARREN              MI    48091‐2150
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EDWARD PREHM & ETHEL PREHM JT TEN               109 FAIRWAY DR                                                                                HAINES CITY      FL    33844‐8887
EDWARD PROPPER CUST SERGE THEROUX UGMA NY       2502 NORTHFIELD LN                                                                            CLEARWATER       FL    33761

EDWARD Q FLORES                                 1400 SUNCREST COURT                                                                           ARLINGTON        TX    76002
EDWARD QUINN                                    2044 LABELLE                                                                                  DETROIT          MI    48238‐2942
EDWARD R AHLQUIST                               APT 102                              1141 WEST FARNUM                                         ROYAL OAK        MI    48067‐1665
EDWARD R ALBRIGHT                               4031 KENNETT PIKE                    APT 76                                                   WILMINGTON       DE    19807‐2033
EDWARD R AMICONE                                PO BOX 4341                                                                                   YOUNGSTOWN       OH    44515‐0341
EDWARD R ARTALE                                 359 ROUND HILL RD                                                                             SALEM            CT    06420‐3833
EDWARD R AUSTIN & LOUISE I AUSTIN JT TEN        10488 N EARL AVE                                                                              MONTICELLO       IN    47960‐8127
EDWARD R BARKS                                  7600 S GROVE RD                                                                               DEWITT           MI    48820‐9142
EDWARD R BEAL                                   18038 HARVEST DR                                                                              CHAGRIN FALLS    OH    44023‐1602
EDWARD R BEAM & JEAN A BEAM TR EDWARD & JEAN    5665 MCCARTY                                                                                  SAGINAW          MI    48603‐9604
BEAM TRUST UA 12/02/98
EDWARD R BOPP JR                                1195 N ELEANOR                                                                                INDIANAPOLIS     IN    46214‐3463
EDWARD R BRADEN                                 HOLIDAY TRAVEL PARK 114                                                                       HOLIDAY          FL    34690
EDWARD R BRITTON                                4265 DELINA RD                                                                                CORNERSVILLE     TN    37047‐5236
EDWARD R BURNOCK                                14895 ARLINGTON                                                                               ALLEN PARK       MI    48101‐2903
EDWARD R CAINE CUST MICHELE A CAINE UGMA OH     8335 ROYAL MELBOURNE WAY                                                                      DULUTH           GA    30097‐6633

EDWARD R CHAPMAN                                345‐B CHURCH ST                                                                               SARATOGA SPRINGS NY    12866

EDWARD R CHRISTOPHER & SUSAN B CHRISTOPHER JT   PO BOX 126                                                                                    PERRYSBURG       NY    14129‐0126
TEN
EDWARD R CLARK JR                               1618 WESTONA DRIVE                                                                            DAYTON           OH    45410‐3340
EDWARD R CLAUSON                                2844 NE 183RD ST                                                                              LK FOREST PK     WA    98155
EDWARD R COSTELLO JR                            4420 WALTHAM DR                                                                               TAMPA            FL    33634‐7346
EDWARD R COVINGTON                              128 LAKE VALLEY RD                                                                            HENDERSONVILLE   TN    37075‐4349
EDWARD R CREGO                                  2118 WILLOW OAK DR                                                                            EDGEWATER        FL    32141‐3732
EDWARD R DAVIS                                  122 LITTLE RIVER RD                                                                           HAMPTON          NH    03842‐1409
EDWARD R DEBRA                                  4361 7M RD                                                                                    BELMONT          MI    49306
EDWARD R DILL                                   13386 N LINDEN RD                                                                             CLIO             MI    48420‐8247
EDWARD R DOMINY                                 16 FOLEY LANE                                                                                 COLTON           NY    13625
EDWARD R EAGEN                                  BOX 675                                                                                       DOYLESTOWN       PA    18901‐0675
EDWARD R EARLEY                                 24 POPE AVE                                                                                   HAMILTON TWP     NJ    08619‐3728
EDWARD R FEUSTLE & JOYCE L FEUSTLE TEN ENT      1612 CAPE HORN RD                                                                             HAMPSTEAD        MD    21074‐1138
EDWARD R FOLGO                                  84 MOURNING DOVE RD                                                                           SAUNDERSTOWN     RI    02874‐2209
EDWARD R FOWLER                                 3128 MORAN DR                                                                                 BIRCH RUN        MI    48415‐9023
EDWARD R FRYER JR                               10508 SYCAMORE CLUB DR                                                                        MINT HILL        NC    28227‐6885
EDWARD R GAINSBORG JR                           34 WASH CROSS‐PENN RD                                                                         PENNINGTON       NJ    08534
EDWARD R GERKE                                  W 10721 COUNTY ROAD H                                                                         WARRENS          WI    54666‐8902
EDWARD R GRAHAM                                 704 OWL CREEK PARKWAY                                                                         ODESSA           MO    64076‐1628
EDWARD R GRAVES                                 4370 WATERLOO                                                                                 WATERFORD        MI    48329‐1466
EDWARD R GREEN                                  5002 KINGS LN                                                                                 BURTON           MI    48529‐1135
EDWARD R GUNTER                                 170 AMBERSHAM COURT                                                                           KERNERSVILLE     NC    27284
EDWARD R GUSTOWSKI                              24680 SHERMAN                                                                                 OAK PARK         MI    48237‐1841
EDWARD R HALLER                                 5450 N FOWLERVILLE                                                                            FOWLERVILLE      MI    48836‐9365
EDWARD R HAND                                   4010 NW 76TH AVE                                                                              CORAL SPRINGS    FL    33065‐2048
EDWARD R HANGEN                                 5045 TOWNSHIP ROAD 225 SE                                                                     NEW LEXINGTON    OH    43764‐9554
EDWARD R HATTER                                 3519 RANGELEY DR #7                                                                           FLINT            MI    48503‐2959
EDWARD R HEISE                                  867 RUSH‐SCOTTSVILLE RD                                                                       RUSH             NY    14543‐9780
EDWARD R HEMSCHOOT                              37 RONNEMEDE AVE                                                                              LANSDOWNE        PA    19050‐1903
EDWARD R HENRY TR EDWARD R HENRY TRUST UA       30750 HARVARD RD                                                                              CHAGRIN FALLS    OH    44022‐1311
10/03/03
EDWARD R HENSLEY & SHIRLEY A HENSLEY JT TEN     1401 MITCHELL ST                                                                              OAK GROVE        MO    64075‐9228
EDWARD R HILLER                                 7805 W 157TH ST                      APT 2N                                                   ORLAND PARK      IL    60462‐5822
EDWARD R HUTCHINSON                             35635 EW 1130                                                                                 SEMINOLE         OK    74868‐6203
EDWARD R ISLER                                  67 MILLS ROAD                                                                                 NORTH SALEM      NY    10560‐2300
EDWARD R JAYNE                                  BOX 301                                                                                       KIRKSVILLE       MO    63501‐0301
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EDWARD R JONES                                  C/O HELEN M JONES                        12900 GUARDIAN BLVD                                      CLEVELAND        OH    44135‐2262
EDWARD R KANE & NORMA K PLANT JT TEN            2237 BOARDMAN LN                                                                                  RICHMOND         VA    23233‐3742
EDWARD R KECK                                   4168 LAKE PINE DR                                                                                 MAUMEE           OH    43537‐8302
EDWARD R KEMESKY                                4794 PINETRACE DR                                                                                 YOUNGSTOWN       OH    44515‐4814
EDWARD R KOSMOSKI & JEAN F KOSMOSKI JT TEN      2746 S 15TH STREET                                                                                MILWAUKEE        WI    53215‐3702
EDWARD R KRAFT JR                               261 CROSSBOW DR                                                                                   PLOVER           WI    54467‐2103
EDWARD R KROK                                   384 SULLIVAN CT                                                                                   RAHWAY           NJ    07065‐3714
EDWARD R LEE                                    6553 HIGHVIEW                                                                                     DEARBORN HEIGHTS MI    48127‐2126

EDWARD R LOCKHART SR                            301 SUMMIT HEIGHTS CT                    APT C                                                    ELLENWOOD        GA    30294‐2973
EDWARD R LUNDBERG                               533STAFFORD AVE                                                                                   BRISTOL          CT    06010‐4621
EDWARD R MACIEJEWSKI                            37 NAGEL DRIVE                                                                                    CHEEKTOWAGA      NY    14225‐3817
EDWARD R MACKIN                                 2707 TANAGER DRIVE BRKMD III                                                                      WILMINGTON       DE    19808‐1621
EDWARD R MANDEVILLE                             5308 HICKORY HILL DR                                                                              TRUSSVILLE       AL    35173‐2620
EDWARD R MARCELLE & TANYA D MARCELLE JT TEN     30295 GREEN VALLEY RUN                                                                            MILTON           DE    19968‐3429

EDWARD R MARKOVIC                               10 LAKEVIEW DR.                                                                                   GUYTON           GA    31312
EDWARD R MATTHEWS                               384 LAKE FOREST DR                                                                                BAY VILLAGE      OH    44140‐2507
EDWARD R MAYBERGER TOD DANIEL C MAYBERGER       22 MARIE COURT                                                                                    COMMACK          NY    11725
SUBJECT TO STA TOD RULES
EDWARD R MC GLYNN                               18 SOUTH TAMARAC DR                                                                               BRIELLE          NJ    08730‐1244
EDWARD R MCAUSLAN II                            604 NORTH VIEW                                                                                    RIVERTON         WY    82501‐2628
EDWARD R MCCORVIE                               PO BOX 33                                OAKWOOD ON                             K0M 2M0 CANADA
EDWARD R MCDONOUGH                              4370 S HILLCREST CIRCLE                                                                           FLINT            MI    48506‐1424
EDWARD R MERRILL                                1133 PINEHURST                                                                                    MT MORRIS        MI    48458‐1006
EDWARD R MERRILL                                6166 W VIENNA                                                                                     CLIO             MI    48420‐9404
EDWARD R MIGNANO & FRANCES B MIGNANO JT TEN     923 TOWER RIDGE CIR                                                                               MIDDLETOWN       NY    10941‐2611

EDWARD R MULLER                                 174 MARTHA ST                                                                                     SPENCERPORT      NY    14559‐1412
EDWARD R NEUHARTH & JOAN I NEUHARTH JT TEN      14732 ELMIRA CT                                                                                   WOODBRIDGE       VA    22193‐2619

EDWARD R NOVINGER                               1460 LIGHTHOUSE PT                                                                                CICERO           IN    46034‐9645
EDWARD R PERSHE & CLOTILDE A PERSHE JT TEN      217 MALLARD STREET                                                                                ALTAMONTE        FL    32701‐7666
                                                                                                                                                  SPRINGS
EDWARD R PETRUCHA & SHIRLEY A PETRUCHA JT TEN   5171 VANVLEET RD                                                                                  SWARTZ CREEK     MI    48473‐8526

EDWARD R PLANTON & MARY L PLANTON JT TEN        1304 WINCHESTER COVE RD                                                                           HAYESVILLE       NC    28904‐7635
EDWARD R ROMBLOM                                4085 W HOWE                                                                                       DE WITT          MI    48820‐7801
EDWARD R ROMBLOM & ESTHER M ROMBLOM JT TEN      4085 W HOWE                                                                                       DE WITT          MI    48820‐7801

EDWARD R SABASKI                                8808 S CAROL CT                                                                                   OAK CREEK        WI    53154‐4146
EDWARD R SAGER                                  2959 ROUNDTREE                                                                                    TROY             MI    48083‐2335
EDWARD R SCHAAD                                 ROUTE 9 BOX 319 LOOMIS RIDGE                                                                      PARKERSBURG      WV    26101‐9113
EDWARD R SHORTER                                PO BOX 716                                                                                        HAMPDEN‐SYDNEY   VA    23943‐0716

EDWARD R SIERADZKI                              3261 MC CORMICK RD                                                                                LAPEER           MI    48446‐8764
EDWARD R SKAROST JR                             3735 AURANTIA RD                                                                                  MIAMI            FL    32754‐4910
EDWARD R SMITH                                  15135 DRYSDALE ST                                                                                 SOUTHGATE        MI    48195‐2945
EDWARD R SMITH                                  38578 MAES                                                                                        WESTLAND         MI    48186‐8061
EDWARD R SMUDSKI                                C/O BROUSSEAU                            5704 MERRIMAN ROAD                                       GARDEN CITY      MI    48135‐1835
EDWARD R STANGE                                 2520 OTSEGO                                                                                       FORT WAYNE       IN    46825
EDWARD R STARCK & JO ANN STARCK JT TEN          505 CHESTNUT STREET                                                                               WINDSOR          CO    80550‐5332
EDWARD R SUNDWALL                               6783 ORCHARD MEADOW DR                                                                            PORTAGE          MI    49024‐2225
EDWARD R SWITALA                                9 S QUINCY ST                                                                                     HINSDALE         IL    60521‐3010
EDWARD R TAYLOR                                 1011 FRANCES                                                                                      BURKBURNETT      TX    76354‐3221
EDWARD R THACKER                                3073 COUNTRY KNOLL DRIVE                                                                          ST CHARLES       MO    63303‐6368
EDWARD R THOMAS                                 PO BOX 624                                                                                        TAYLOR           MI    48180‐0624
EDWARD R TOLLE                                  1033 GEORGIAN DR                                                                                  KETTERING        OH    45429‐5631
EDWARD R ULLINGER                               11860 68TH AVENUE NORTH                                                                           SEMINOLE         FL    33772‐6105
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EDWARD R ULLINGER & CLARA M ULLINGER JT TEN      11860 68TH AVENUE NORTH                                                                       SEMINOLE         FL    33772‐6105

EDWARD R ULLINGER & CLARA M ULLINGER TEN ENT     11860 68TH AVENUE NORTH                                                                       SEMINOLE         FL    33772‐6105

EDWARD R VAIL                                    25 N 18TH ST                                                                                  KENILWORTH       NJ    07033‐1230
EDWARD R VANDERSON                               630 E BAKER ST                                                                                FLINT            MI    48505‐4357
EDWARD R VERVER                                  2845 HEDGEROW                                                                                 DALLAS           TX    75235‐7535
EDWARD R VOCE & NANCY L VOCE JT TEN              221 UTEG STREET                                                                               CRYSTAL LAKE     IL    60014‐7293
EDWARD R VSETULA                                 2198 VANDECARR RD                                                                             OWOSSO           MI    48867‐9127
EDWARD R WHEATLEY                                1502 CHAFTON RD                                                                               CHARLESTON       WV    25314‐1603
EDWARD R WHITNEY                                 765 NEWMAN ST                                                                                 EAST TAWAS       MI    48730‐9308
EDWARD R WILSON                                  42441 CASTLE CT                                                                               CANTON           MI    48188‐1118
EDWARD R WISNIEWSKI                              52 DIANE DR                                                                                   CHEEKTOWAGA      NY    14225‐3602
EDWARD R WOERNER                                 10756 CRANE DRIVE                                                                             INDIANAPOLIS     IN    46231‐1055
EDWARD R WOOD                                    103 KNOLL WAY                                                                                 JUPITER          FL    33477‐9630
EDWARD R YARBOROUGH                              2822 THOMAS RD                                                                                SANFORD          NC    27330‐9016
EDWARD R ZEMKE                                   64PINEHURST DR                                                                                MERIDEN          CT    06450‐7050
EDWARD RALPH DABROWSKI CUST CHARLES EDWARD       552 LINCOLN                                                                                   GROSSE POINTE    MI    48230‐1218
DABROWSKI
EDWARD RAMAGE & AUDREY RAMAGE JT TEN             118 FERGERSON LANE                                                                            PECK             MI    48466
EDWARD RANDOLPH EICHNER                          321 BAUDIN WAY                                                                                SONOMA           CA    95476‐5669
EDWARD RAY WILLIAMS                              3810 OLD GLASGOW RD                                                                           SCOTTSVILLE      KY    42164‐9529
EDWARD RECZEK & MRS CLAIRE ELLEN RECZEK JT TEN   94 SHADY PINES RD                                                                             ARLINGTON        VT    05250‐9798

EDWARD REYES                                     694 CAMERON ST                                                                                PONTIAC          MI    48058
EDWARD RICE                                      16187 BELMONT AVE                                                                             ALLEN PARK       MI    48101‐1745
EDWARD RICHARD HOERNER                           14 CROSSROAD                                                                                  HATTIESBURG      MS    39402
EDWARD RINGLE                                    219 S MAIN                                                                                    NORTH STAR       MI    48862
EDWARD ROBERT BULLMAN                            7276 NECHES PINES DR                                                                          FRISCO           TX    75034
EDWARD ROBERT EATON                              1635 MARTIN DRIVE STE 106            SURREY WHITEROCK BC                    V4A 6C9 CANADA
EDWARD ROBERTSON                                 1321‐2ND ST                                                                                   ORANGE           TX    77630‐4011
EDWARD ROBINSON                                  5295 BIFFLE DOWN RD                                                                           STONE MOUNTAIN   GA    30088‐3839

EDWARD ROBINSON & MARY ANN ROBINSON JT TEN       PO BOX 801                                                                                    WATERTOWN        CT    06795

EDWARD ROGOVICH CUST JASON EDWARD ROGOVICH 34 BLANCH AVE                                                                                       DEMAREST         NJ    07627‐2139
UTMA NJ
EDWARD ROMEJ & PRICILLA ROMEJ JT TEN        9033 ELM ST                                                                                        BRIGHTON         MI    48116‐6815
EDWARD ROSENBLOOM & MRS SUSAN ROSENBLOOM JT 99 NEEDHAM ST                             APT 1106                                                 NEWTON HLDS      MA    02461‐1643
TEN
EDWARD RUNO                                 28 BRENDON HILL RD                                                                                 SCARSDALE        NY    10583‐4808
EDWARD RUSNICA                              26 DEARFIELD DR                                                                                    GREENSBURG       PA    15601‐1010
EDWARD RZONCA & GILDA RZONCA JT TEN         109 HANSON PL                                                                                      BELLMORE         NY    11710‐3927
EDWARD S ABRAMS                             PO BOX 746                                                                                         NEW CASTLE       DE    19720‐0746
EDWARD S BADEAU CUST JOANNE BADEAU UGMA CT  25 DONNELLY DR                                                                                     RIDGEFIELD       CT    06877‐5610

EDWARD S BAUMBACH                                3327 JACKSON AVE                                                                              WANTAGH          NY    11793‐4139
EDWARD S BAUMGARDNER                             4820 LAYHIGH RD                                                                               HAMILTON         OH    45013‐9205
EDWARD S BRAZIS                                  3931 GREENTREE RD                                                                             STOW             OH    44224‐2430
EDWARD S BREZINA                                 8877 SW 96 AVE                                                                                MIAMI            FL    33176‐1931
EDWARD S BREZINA & WILLIAM E BEZINA JT TEN       8877 SW 96TH AV                                                                               MIAMI            FL    33176‐1931
EDWARD S BRINGARDNER                             C/O AAA BY PASS SELF STORAGE         277 QUALITY DR                                           GEORGETOWN       KY    40324‐8813
EDWARD S COOPER                                  6710 LINCOLN DR                                                                               PHILADELPHIA     PA    19119
EDWARD S CUMMINGS III                            3738 WINDING CREEK LANE                                                                       CHARLOTTE        NC    28226‐4844
EDWARD S DORSEY                                  2892 E COVE CT                                                                                MAINEVILLE       OH    45039‐9300
EDWARD S GRIZ                                    11513 WESTPOINT                                                                               TAYLOR           MI    48180‐4005
EDWARD S H BULMAN                                2045 BRULART                         SILLERY QC                             G1T 1G1 CANADA
EDWARD S HALPERN CUST RACHEL B HALPERN UTMA IL   21 S COLUMBIA                                                                                 NAPERVILLE       IL    60540‐4914
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EDWARD S HARTMANN & VIRGINIA HOPE HARTMANN 28 EAST 73RD STREET                                                                                  NEW YORK        NY    10021‐4143
JT TEN
EDWARD S HAUCH                                 15106 PILLEN                                                                                     FENTON          MI    48430‐1574
EDWARD S JARIS & PHILOMENA R JARIS JT TEN      1701 W 10TH ST APT 314                                                                           WILMINGTON      DE    19805‐2776
EDWARD S KACZOROWSKI & JOAN B KACZOROWSKI JT 8163 DEERWOOD RD                                                                                   CLARKSTON       MI    48348‐4529
TEN
EDWARD S KACZOROWSKI & JOAN B KACZOROWSKI JT 8163 DEERWOOD                                                                                      CLARKSTON       MI    48348‐4529
TEN
EDWARD S KAPINOS                               25 COOLEY AVE                                                                                    MIDDLETOWN      CT    06457‐3841
EDWARD S KAPPES                                2882 LOVERS LANE                                                                                 RAVENNA         OH    44266‐8924
EDWARD S KOLODZIE                              892 BEAUFORT CT                         OSHAWA ON                              L1G 7J7 CANADA
EDWARD S LADD                                  816 THIRD AVE                                                                                    CADILLAC        MI    49601‐1316
EDWARD S LANG                                  320 FRANKLIN PLACE                                                                               PARANUS         NJ    07652‐4912
EDWARD S LANGHOLZ                              89 LINCOLN ROAD                                                                                  PLAINVIEW       NY    11803‐5316
EDWARD S LASKO                                 604 HOLIDAY HAVEN RD                                                                             SMITHVILLE      TN    37356‐7309
EDWARD S LEE                                   825 CAHABA RD                                                                                    LEXINGTON       KY    40502‐3318
EDWARD S LEMANSKI                              4785 CRAINS RUN RD                                                                               MIAMISBURG      OH    45342‐6215
EDWARD S MALINOWSKI                            74 HUNTINGTON CT                                                                                 BUFFALO         NY    14221‐5310
EDWARD S MARGOLIS CUST JEFFREY I MARGOLIS UGMA 2027 CARLETON STREET                                                                             BERKELEY        CA    94704‐3239
MD
EDWARD S MCGREGOR                              6491 ARDMORE AVE                                                                                 JENISON         MI    49428‐9268
EDWARD S MINDLIN & ESTELLE G MINDLIN JT TEN    15 KNOLL DR                                                                                      FRANKLIN        NJ    07416
EDWARD S MURPHY & HOWARD L MURPHY JT TEN       2553 VAN BUREN AVE                                                                               OGDEN           UT    84401‐2721

EDWARD S NOVOTNEY & MARILYN D NOVOTNEY TR ESN 8 LORRAINE TERR                                                                                   WHEELING        WV    26003‐6044
TRUST UA 04/11/96
EDWARD S ODREN                                7145 W CARPENTER RD                                                                               FLUSHING        MI    48433‐9032
EDWARD S ODREN & LYDIA L ODREN JT TEN         7145 W CARPENTER RD                                                                               FLUSHING        MI    48433‐9032
EDWARD S PASTUSZKA                            845 BLACKS CORNERS                                                                                IMLAY CITY      MI    48444
EDWARD S PIPER                                1328 N KING ST                                                                                    WILMINGTON      DE    19801‐3220
EDWARD S POPLOWSKI                            32455 HALMICH DR                                                                                  WARREN          MI    48092‐1209
EDWARD S RIVETTE                              9311 LENNON RD                                                                                    LENNON          MI    48449‐9622
EDWARD S ROMAN                                290 ROUND POND LA                                                                                 ROCHESTER       NY    14626‐1732
EDWARD S RUTKOWSKI                            39 REED AVE                              RICHARDSON PARK                                          WILMINGTON      DE    19804
EDWARD S SACKLE                               7003 NIGHTINGALE                                                                                  DEARBORN HTS    MI    48127‐2132
EDWARD S SANDEL                               3 SUNNYMEADE COURT                                                                                ROCKVILLE       MD    20854‐2663
EDWARD S SHAW                                 180 PINE ST                                                                                       BRIDGE CITY     TX    77611‐4346
EDWARD S SLAUGHTER                            7 GIBBS LN                                                                                        NEWARK          DE    19711‐2959
EDWARD S SMIDDY                               1537 PERE CHENEY                                                                                  ROSCOMMON       MI    48653‐7503
EDWARD S SPANGLER                             201 MARCY AVE                                                                                     PENDLETON       IN    46064‐8805
EDWARD S STEFFEK                              8659 DUTCHER RD                                                                                   FAIRGROVE       MI    48733‐9728
EDWARD S THOMAS & JANET THOMAS JT TEN         498 W 3150 S                                                                                      BOUNTIFUL       UT    84010
EDWARD S VANE                                 4014 BALFERN AVE                                                                                  BALTIMORE       MD    21213‐2112
EDWARD S WALICK & ELIZABETH R WALICK JT TEN   7902 LANYARD DR                                                                                   PARMA           OH    44129‐4449

EDWARD S WHEATLEY                             865 MCNAUGHTON LN                                                                                 ORTANVILLE      MI    48462‐9028
EDWARD S WLODARCZYK                           10053 SHADYBROOK LN                                                                               GRAND BLANC     MI    48439‐8358
EDWARD SAIDKHANIAN                            2331 BARTON LANE                                                                                  MONTROSE        CA    91020‐1223
EDWARD SAJDAK                                 APT 2B                                   45 SEYMOUR ST                                            YONKERS         NY    10701‐6060
EDWARD SANDERS                                2218 RICHARDSON DR                                                                                CHARLOTTE       NC    28211‐3265
EDWARD SANTOS                                 36 BENTONWOOD CRES                       WHITBY ON                              L1R 1R8 CANADA
EDWARD SAXON & LINDA J SAXON JT TEN           19 HAWTHORN CR                                                                                    CROSSVILLE      TN    38555‐5732
EDWARD SCALF JR                               7073 HILL STATION RD                                                                              GOSHEN          OH    45122‐9728
EDWARD SCHENCK III                            1305 KENSINGTON DR                                                                                WASHINGTON      IL    61571‐1288
EDWARD SCHMIDT & JOYCE I SCHMIDT JT TEN       3891 MANTELL AVE                                                                                  CINCINNATI      OH    45236‐1673
EDWARD SCHWAGLE                               7124 GREENES DR                                                                                   JACKSON         MI    49201‐9249
EDWARD SCHWARTZ CUST DAVID T SCHWARTZ UGMA IL 272 N DEERE PARK DR                                                                               HIGHLAND PARK   IL    60035

EDWARD SCIARRATTA                               14 CENTRAL AVE                                                                                  MEDFORD         MA    02155‐4004
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EDWARD SCOTT SIMPSON                               690 BATH RD                                                                                    WISCASSET       ME    04578‐4824
EDWARD SEAY                                        3204 W HELENA DR NW                                                                            HUNTSVILLE      AL    35810‐3337
EDWARD SEITZ JR                                    5103 CARLTON DR                                                                                CHARLESTON      WV    25304‐2811
EDWARD SHANE PHILLIPS                              2746 OME AVE                                                                                   DAYTON          OH    45414
EDWARD SHARO                                       167 CEDARHURST ROAD                                                                            BRICKTOWN       NJ    08723‐5409
EDWARD SHAW LYNDS III TR EDWARD SHAW LYNDS III     3220 TENNYSON ST                                                                               SAN DIEGO       CA    92106‐1830
TRUST UA 08/09/99
EDWARD SHIMBORSKE                                  1320 TRUMBULL AVE SE                                                                           WARREN          OH    44484‐4580
EDWARD SIEWIERA                                    32633 W SIX MILE RD                                                                            LIVONIA         MI    48152‐3288
EDWARD SIMS                                        18272 KENTUCKY                                                                                 DETROIT         MI    48221‐2028
EDWARD SLIZEWSKI                                   6326 WOODMONT                                                                                  DETROIT         MI    48228‐3709
EDWARD SMUCKLER                                    1901 JOHN F KENNEDY BLVD              APT 2511                                                 PHILADELPHIA    PA    19103
EDWARD SOBCZAK                                     29608 ORVYLLE DR                                                                               WARREN          MI    48092‐2257
EDWARD SOOHOO                                      3981 ERVA ST                                                                                   LAS VEGAS       NV    89147‐6848
EDWARD SPENCE & MARY SPENCE JT TEN                 12819 SCHREIBER RD                                                                             CLEVELAND       OH    44125‐5429
EDWARD SPIRO                                       208 WHITEWOOD DR                                                                               MASSAPEQUA PARK NY    11762‐4050

EDWARD STACK                                       359BOULEVARD                                                                                   KENILWORTH      NJ    07033‐1538
EDWARD STACY                                       310 LINDA DR                                                                                   MOUNTAINSIDE    NJ    07092‐2116
EDWARD STAFFORD LERP JR & AGNES LERP JT TEN        2440 ALEES DR                                                                                  NEW WINDSOR     MD    21776‐8708

EDWARD STEIDLE                                     231 LORILLARD AVE                                                                              UNION BEACH     NJ    07735‐2913
EDWARD STOCK CUST ELISE MICHELE STOCK UGMA PA      3555 WINDMILL CIRCLE                                                                           HUNTINGDON      PA    19006‐3328
                                                                                                                                                  VALLEY
EDWARD SUCZEWSKI & JOSEPHINE SUCZEWSKI JT TEN      21 W 17TH ST                                                                                   BAYONNE         NJ    07002‐3603

EDWARD SULLIVAN MURPHY                             303 E EVERETT ST                                                                               DIXON           IL    61021‐2143
EDWARD SWEENEY                                     AUGHRIM                               MOYVANE LISTOWEL     CO KERRY          IRELAND
EDWARD SWEENY                                      721 WEST BROADWAY                                                                              LONG BEACH      NY    11561‐2866
EDWARD T ARENS                                     5126 N SEVEN MILE                                                                              PINCONNING      MI    48650‐8915
EDWARD T ARRINGTON                                 108 LIVEOAK ST                                                                                 BEAUFORT        NC    28516‐2237
EDWARD T BANNER                                    6 PENNSGROVE' PEDRICKTOWN RD                                                                   PEDRICKTOWN     NJ    08067
EDWARD T BODZIO                                    189 BOB BLACK RD                                                                               LAKE ARIEL      PA    18436‐4508
EDWARD T BORER                                     1175 BIRMINGHAM RD                                                                             WEST CHESTER    PA    19382‐8092
EDWARD T BOWDEN & ANDREA L BOWDEN JT TEN           1034 VICTORY DR                                                                                YARDLEY         PA    19067

EDWARD T BROOKS                                    108 COUNTRYSIDE LN                                                                             BEAR            DE    19701‐2008
EDWARD T BURKE & EDNA BURKE TR UA BURKE LIVING     5432 HOLLOW OAK CT                                                                             SAINT LOUIS     MO    63129‐3536
TRUST 12/10/91
EDWARD T CARTER                                    544 JEFFERSON ST                                                                               LAKE CHARLES    LA    70605‐6622
EDWARD T CARTER                                    61 CHURCHILL DR                                                                                WHITMORE LAKE   MI    48189‐9008
EDWARD T CHASTAIN                                  127 MIDWAY CREEK ROAD                                                                          MURPHY          NC    28906‐9040
EDWARD T CHEVERES                                  2111 8TH ST                                                                                    BERKELEY        CA    94710‐2319
EDWARD T CHRONOWSKI CUST ANDREW S SHIRLEY          PO BOX 105                                                                                     MCINTYRE        PA    15756‐0105
UTMA PA
EDWARD T CHRONOWSKI CUST EDWARD T                  PO BOX 105                                                                                     MCINTYRE        PA    15756‐0105
CHRONOWSKI III UTMA PA
EDWARD T CHRONOWSKI CUST SAMATHA L HARRELL         PO BOX 105                                                                                     MCINTYRE        PA    15756‐0105
UTMA PA
EDWARD T CLEGG CUST SYDNEY JULIAN RYPIEN UTMA      PO BOX 1243                                                                                    SUMNER          WA    98390‐0250
WA
EDWARD T DULASHAW                                  204 AUTUMNVIEW DR                                                                              HOLLIDAYSBURG   PA    16648‐9280
EDWARD T ECKMAN                                    3903 WOODBINE AVE                                                                              DAYTON          OH    45420‐2552
EDWARD T FALSEY                                    44 FOXCROFT RUN                                                                                AVON            CT    06001
EDWARD T FALSEY JR                                 7 MOUNTAIN VIEW TERRACE                                                                        NORTH HAVEN     CT    06473‐4428
EDWARD T FALSEY JR TR UA 07/27/83 ANN M FALSEY     7 MOUNTAIN VIEW TERRACE                                                                        NORTH HAVEN     CT    06473‐4428
TRUST
EDWARD T FALSEY JR TR UA 08/08/83 MARIE T FALSEY   7 MOUNTAIN VIEW TERRACE                                                                        NORTH HAVEN     CT    06473‐4428
TRUST
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Name                                              Address1                             Address2             Address3          Address4          City              State Zip

EDWARD T FARRELL                               96 EBLING AVE                                                                                    TONAWANDA         NY    14150‐7010
EDWARD T GILBERT                               100 SPADINA ROAD                        APT 1409             TORONTO ON        M5R 2T7 CANADA
EDWARD T GREEN                                 2148 MALVINA                                                                                     LINCOLN PARK      MI    48146‐3458
EDWARD T GREGORY                               11300 E CASPERSON RD                                                                             NORTHPORT         MI    49670‐9411
EDWARD T HELFRICH                              19944 SCRIMSHAW WAY                                                                              TEQUESTA          FL    33469‐2252
EDWARD T HILGRIS                               3158 ANDERSON CT PO BOX293                                                                       CLIO              MI    48420‐1041
EDWARD T HITCHMAN 3RD UNDER GUARDIANSHIP OF R D 4 BOX 129                                                                                       ELM GROVE         WV    26003‐9318
BETTY H WAGNER
EDWARD T HITCHMAN III                          1893 WARDEN RUN ROAD                                                                             WHEELING          WV    26003
EDWARD T JOHNSON                               5495 LAS BRISAS DR                                                                               VERO BEACH        FL    32967‐7319
EDWARD T KASON TR UA 03/27/2008 EDWARD T KASON 228 HICKORY LANE UNIT D                                                                          LK BARRINGTON     IL    60010
2008 REV TRUST
EDWARD T KASON TR UA 03/27/2008 EDWARD T KASON 228 HICKORY LN                          UNIT D                                                   BARRINGTON        IL    60010
2008 REVOCABLE TRUST
EDWARD T KAZIMER                               1677 STATE RT 534                                                                                NEWTON FALLS      OH    44444‐1025
EDWARD T KEARNS                                54 STONY PT                                                                                      GALENA            IL    61036‐9348
EDWARD T LIEVENSE                              125 PALMER RD                                                                                    CHURCHVILLE       NY    14428‐9439
EDWARD T LINCOLN                               24647 SCARLET OAK DRIVE                                                                          BEDFORD HEIGHTS   OH    44146‐3055

EDWARD T MALLOY                                   954 NORTH ST                                                                                  SOMERSET          MA    02726‐4929
EDWARD T MANAHAN & GERTRUDE A MANAHAN JT          20 CLEARWATER POINT                                                                           PUTNAM            IL    61560‐9503
TEN
EDWARD T MARNON                                   3725 S 28TH ST                                                                                KALAMAZOO         MI    49048‐8624
EDWARD T MARS                                     6916 CEDAR AVE                                                                                PENNISAUKEN       NJ    08109‐2714
EDWARD T MARSHALL                                 100 DEER RUN DR                                                                               WARRENTON         MO    63383‐6146
EDWARD T MASON & SANDRA L MASON JT TEN            94 EMERALD PT                                                                                 ROCHESTER         NY    14624‐3763
EDWARD T MAXIM                                    4788 FIFTH AVENUE EXT                                                                         YOUNGSTOWN        OH    44505‐1207
EDWARD T MAY & JERRE JO MAY JT TEN                9560 CARNIVAL DR                                                                              ST LOUIS          MO    63126‐3112
EDWARD T MCDONOUGH & KATHRYN MCDONOUGH JT         126 ROBERTON CROSSING                                                                         FAIRFIELD         CT    06825‐1162
TEN
EDWARD T MENSINGER & JUDY J MENSINGER JT TEN      26561 ASHTONBURY CT                                                                           FLAT ROCK         MI    48134‐1865

EDWARD T NARDOZZI                             1727 OAKWAY CIRCLE                                                                                COLUMBIA          TN    38401‐9078
EDWARD T PALIWODA & DOLORES M PALIWODA JT TEN 809 SHAGBARK RD                                                                                   NEW LENOX         IL    60451‐3102

EDWARD T PINSKY                                   4516 DEAN DR                                                                                  VENTURA           CA    93003‐3831
EDWARD T PRZYBYLA & DELPHINE C PRZYBYLA JT TEN    40 SUSAN DR                                                                                   DEPEW             NY    14043‐1411

EDWARD T PTASZNIK JR                              28021 BUCKINGHAM                                                                              LIVONIA           MI    48154‐4615
EDWARD T RACETTE                                  PO BOX 244                                                                                    MARLETTE          MI    48453‐0244
EDWARD T RUDA                                     7305 BELLFLOWER RD                                                                            MENTOR            OH    44060‐3985
EDWARD T SADLOWSKI                                106 HUNTING WY                                                                                SMYRNA            DE    19977‐9524
EDWARD T SAGAR                                    2011 SE 124TH ST                                                                              RUNNELLS          IA    50237‐1016
EDWARD T SASAKI & MRS KATHERINE K SASAKI JT TEN   4005 SKYLINE CT                                                                               FARMINGTON        NM    87401‐5706

EDWARD T SZUTER                                   164 BROWN STREET                                                                              TRENTON           NJ    08610‐6110
EDWARD T TINCKNELL                                76820 MCFADDEN RD                                                                             ARMADA            MI    48005‐2225
EDWARD T TOOLE                                    2027 GOLFVIEW                                                                                 LAPLACE           LA    70068‐2019
EDWARD T TSOI                                     16 DEVEREAUX ST                                                                               ARLINGTON         MA    02174
EDWARD T USKO                                     C/O ESTELLE SUDZNA                   51 MARYLAND                                              YOUNDSTOWN        OH    44438
EDWARD T WELCH                                    12089 CRAWFORD RD                                                                             OTISVILLE         MI    48463‐9730
EDWARD T WUBBOLDING                               2322 SYLVED LANE                                                                              CINCINNATI        OH    45238‐3264
EDWARD T WUBBOLDING & IRENE B WUBBOLDING JT       2322 SYLVED LANE                                                                              CINCINNATI        OH    45238‐3264
TEN
EDWARD T WYSOCKI                                  10770 S 10TH AVE                                                                              OAK CREEK         WI    53154‐7202
EDWARD T ZBOROWSKI                                152 GUYON AVENUE                                                                              STATEN ISLAND     NY    10306‐3945
EDWARD TABLES                                     10001 S W 141 ST                                                                              MIAMI             FL    33176‐7003
EDWARD TAGLIAFERRI                                104 HILLWOOD DRIVE                                                                            HENDERSONVILLE    TN    37075‐2216
EDWARD TALBERT                                    15550 WOODBINE‐MORGAN RD                                                                      WOODBINE          MD    21797
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EDWARD TAORMINA JR                               452 S NEILSON ST                                                                                    TUSTIN           MI    49688‐9488
EDWARD TASEY                                     4901 HOPE LANE                                                                                      SACRAMENTO       CA    95821
EDWARD TATE PARRISH                              2151 CUMBERLAND PKWY SE                  APT 723                                                    ATLANTA          GA    30339‐4597
EDWARD TEAL                                      29800 TELEGRAPH RD                                                                                  SOUTHFIELD       MI    48034‐1338
EDWARD THATCHER IV & MILDRED F THATCHER JT TEN   8074 PHIRNE RD                                                                                      GLEN BURNIE      MD    21061‐5328

EDWARD THOMAS                                    9120 HALLS FERRY RD                                                                                 SAINT LOUIS      MO    63136‐5120
EDWARD THOMAS                                    11 CHESTNUT AVE                                                                                     CARBONDALE       PA    18407‐1687
EDWARD THOMAS & EDWARD THOMAS JR JT TEN          147 REYNOLDS ST                                                                                     PLYMOUTH         PA    18651‐1635
EDWARD THOMAS & ELIZABETH THOMAS JT TEN          147 REYNOLDS ST                                                                                     PLYMOUTH         PA    18651‐1635
EDWARD THOMAS FLECK JR                           18 THOMAS FARM LN                                                                                   LANDENBERG       PA    19350‐1100
EDWARD THOMAS MATTHEWS                           603 LEXINGTON PKWY S                                                                                SAINT PAUL       MN    55116‐1770
EDWARD THORNTON & CONNIE THORNTON JT TEN         5280 N SHEPARDSVILLE RD                                                                             ELSIE            MI    48831‐9762

EDWARD TINGLEY                                   707 AZALEA                                                                                          MT PLEASANT      TN    38474‐1001
EDWARD TOMASZEWSKI                               42148 JASON                                                                                         CLINTON TOWNSHIP MI    48038‐2247

EDWARD TOPALIAN CUST ALAN E TOPALIAN UGMA MA 8 BRISTOL LANE                                                                                          ANDOVER          MA    01810‐5813

EDWARD TREMARI                                   43 CONFORTI AVENUE APT 87                                                                           WEST ORANGE      NJ    07052‐2818
EDWARD TROJAKOWSKI                               89 SUNSET BLVD                                                                                      TRENTON          NJ    08690‐3951
EDWARD TRYSZCZYLA                                4457 PHILLIPS ROAD                                                                                  METAMORA         MI    48455‐9747
EDWARD TUCKER CUST JAMES P TUCKER UGMA IL        6 SLEEPY GLEN LANE                                                                                  CARMEN           ID    83462
EDWARD TURCZYN                                   33 HEIL AVENUE                                                                                      TRENTON          NJ    08638‐3816
EDWARD TUTUNJIAN                                 40 SYLVAN AVE                                                                                       LATHAM           NY    12110‐3430
EDWARD TWAROG & ANN F TWAROG JT TEN              1420 SCHRAMM DRIVE                                                                                  WESTMONT         IL    60559‐3005
EDWARD UDE & WALTRAUD UDE JT TEN                 2746 N E WIBERG LANE                                                                                PORTLAND         OR    97213‐1253
EDWARD UDICIOUS & MRS AGNES UDICIOUS JT TEN      300 PROVINCETOWN CIR                                                                                CHERRY HILL      NJ    08034‐3649

EDWARD V ALBERT IV                               287 PEARL DRIVE                                                                                     LIVERMORE        CA    94550
EDWARD V BARTZ                                   144 CRANE CIRCLE                                                                                    NEW PROVIDENCE   NJ    07974‐1109

EDWARD V BAUER                                   13551 BURR OAK RD                        RT 3 BOX 428                                               BLOOMINGTON      IL    61704‐9518
EDWARD V BLEVINS JR                              409 N JEFFERSON ST                                                                                  HARTFORD CITY    IN    47348‐2111
EDWARD V CHERRY                                  902 CHESTNUT AVE                                                                                    DU BOIS          PA    15801‐2605
EDWARD V GENES & MRS JEAN B GENES TEN ENT        414 CRESTRIDGE DR                                                                                   GREENSBURG       PA    15601‐1256
EDWARD V KRAMER                                  3124 WATERWAY PL                                                                                    PORT ORANGE      FL    32128‐7244
EDWARD V KRUGZDA                                 59219 CONIFER CT                                                                                    WASHINGTON TWP   MI    48094‐3757

EDWARD V MC ASSEY III                            3 WYNDEMERE LAKE DR                                                                                 CHESTER SPRGS    PA    19425‐3608
EDWARD V MORSE                                   622 PARSONS VIEW                                                                                    CASHIERS         NC    28717
EDWARD V PERRIN                                  1349 RUSSELL ST                                                                                     YPSILANTI        MI    48198‐5952
EDWARD V PERRY                                   607 KEYTE ST                                                                                        OWOSSO           MI    48867‐4523
EDWARD V PITTMAN JR                              320 JEWETT AV                                                                                       STATEN ISLAND    NY    10302‐2634
EDWARD V SMITH                                   33 CENTRAL AVENUE                                                                                   HAMDEN           CT    06517‐1806
EDWARD V SUTHERLAND                              17997 SADDLEHORN LN                                                                                 MANSFIELD        TX    76063‐5356
EDWARD V THOMPSON                                18 WASHINGTON AVE                                                                                   HOPEWELL         NJ    08525‐1508
EDWARD V UTTBERG JR & KAREN L UTTBERG JT TEN     49 JEAN PLACE                                                                                       SCHENECTADY      NY    12303‐4909

EDWARD V VAN LOO                                 APARTADO NO 71                           E 29280 ANTEQUERA    MALAGA            SPAIN
EDWARD V WITKOVIC & PATRICIA A WITKOVIC JT TEN   36 HIGBY DR                                                                                         MERIDEN          CT    06450

EDWARD VALENTINE DONZE                           2944 POINT DR                                                                                       ST LOUIS         MO    63129‐5324
EDWARD VAN DRIL CUST ELIZABETH KATHLEEN VAN      6N265 FERSON WOODS DR                                                                               SAINT CHARLES    IL    60175‐6112
DRIL UGMA FL
EDWARD VAN TASSEL                                5161 VANDON TRL                                                                                     HIGHLAND         MI    48356‐1561
EDWARD VAN VOORHEES JR                           713 OVERTON PARK                                                                                    NASHVILLE        TN    37215‐2452
EDWARD VERDUZCO                                  6570 LAUREL HILL CIRCLE                                                                             PRESQUE ISLE     MI    49777‐8300
EDWARD VERESH                                    16591 BRADNER                                                                                       NORTHVILLE       MI    48167‐2099
                                                09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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EDWARD VINCE                                      440 LYNBROOK AVE                                                                                TONAWANDA       NY    14150‐8213
EDWARD W ARNDT & DOLORES ARNDT JT TEN             3831 LIDO                                                                                       HIGHLAND        MI    48356‐1746
EDWARD W BALDYGA & DONNA M BALDYGA JT TEN         866 TIPTON ROCK ROAD                                                                            SOUTHBRIDGE     MA    01550‐3986

EDWARD W BARTLETT                                 3418 BEAUMONT DR                                                                                BRUNSWICK       OH    44212‐4266
EDWARD W BIELSKI & CATHERINE A BIELSKI JT TEN     1607 32ND STREET                                                                                BAY CITY        MI    48708‐8726

EDWARD W BLACK & DEBRA K BLACK JT TEN            2219 WOODGRASS                                                                                   OVERLAND        MO    63114‐5813
EDWARD W BLACKMON JR                             24220 MANISTEE                                                                                   OAK PARK        MI    48237
EDWARD W BLECK & CAROL BLECK JT TEN              PO BOX 219                             LEGASPI CITY ALBAY RP                  4500 PHILIPPINES
EDWARD W BOEHM 3RD                               PO BOX 722                                                                                       WILLIAMS BAY    WI    53191‐0722
EDWARD W BROEKER                                 6610 NW WHITNEY RD UNIT 154                                                                      VANCOUVER       WA    98665‐7023
EDWARD W CASTEEL                                 ATTN JOYCE ASHBAUGH                    9221 CIRCLE DR                                            LAINSBURG       MI    48848‐9789
EDWARD W CHAPIN                                  631 RIDGE RD                                                                                     SALISBURY       MD    21801‐5717
EDWARD W CHRISTOFFERS                            1400 BENT CREEK BLVD                   APT 111                                                   MECHANICSBURG   PA    17050‐1863
EDWARD W CHRISTOVICH & KERI R CHRISTOVICH JT TEN 12700 BRUSHWOOD TERRACE                                                                          POTOMAC         MD    20854‐1002

EDWARD W CONWAY                                   780 WAGNER DR                                                                                   ROCHESTER HLS   MI    48307‐2745
EDWARD W CONWAY & JENNIE L CONWAY JT TEN          780 WAGNER DR                                                                                   ROCHESTER HLS   MI    48307‐2745
EDWARD W COTTRILL                                 4408 WEST 47TH ST                                                                               INDIANAPOLIS    IN    46254‐2110
EDWARD W COWLING                                  3522 S STAFFORD ST                                                                              ARLINGTON       VA    22206‐1812
EDWARD W CRAWFORD                                 100 QUAIL HOLLOW                                                                                WARREN          OH    44484‐2323
EDWARD W DAVIS                                    17311 EAST 40 HIGHWAY LOT I 27                                                                  INDEPENDENCE    MO    64055
EDWARD W DE LUCA                                  BOX 427                               26 CRESCENT ST                                            STOW            MA    01775‐1103
EDWARD W DINSTBIER TR UA 10/29/2007 EDWARD W      1159 W TAFT RD                                                                                  SAINT JOHNS     MI    48879
DINSTBIER TRUST NO 1
EDWARD W DREGER & GARY A JONES & DORANCE J        210 RUSTIC CIR                                                                                  WHITE LAKE      MI    48386‐3050
JONES TR UA 01/10/86
EDWARD W DREGER & GARY A JONES TR EDWARD W        210 RUSTIC CIR                                                                                  WHITE LAKE      MI    48386‐3050
DREGER TRUST UA 1/10/86
EDWARD W DREGER TR UA 01/10/86 EDWARD W           210 RUSTIC CIR                                                                                  WHITE LAKE      MI    48386‐3050
DREGER TRUST
EDWARD W ENGEL JR                                 21 BENNETT AVE                                                                                  OAKFIELD        NY    14125‐1101
EDWARD W ESPOSITO & MRS CAROLYN D ESPOSITO JT     250 FOREST ST EXT                                                                               HAMDEN          CT    06518‐2715
TEN
EDWARD W FARBER                                   608 LELAND ST                                                                                   FLUSHING        MI    48433‐1347
EDWARD W FOLKMAN                                  65 RUSSO AV B5                                                                                  EAST HAVEN      CT    06513‐2750
EDWARD W GABLE                                    1070 W 850 N                                                                                    FORTVILLE       IN    46040‐9741
EDWARD W GARNETT                                  2 MIDWAY RD                                                                                     WHITE PLAINS    NY    10607‐2109
EDWARD W GOW CUST BRUCE E GOW UGMA CA             2554 29TH AVE                                                                                   SF              CA    94116‐2928
EDWARD W GRABOWSKI                                355 ST PAUL AVE                       WINDSOR ON                             N8S 3L1 CANADA
EDWARD W HAMMOCK                                  70 W LUCERNE CIR                      APT 1909                                                  ORLANDO         FL    32801
EDWARD W HARDY                                    1129 ONONDAGO ST                                                                                PITTSBURGH      PA    15218‐1123
EDWARD W HERRMANN & ELAINE E HERRMANN JT TEN      437 WOLVERINE DR                                                                                WALLED LAKE     MI    48390‐2363

EDWARD W HILL                                     3635 CLAUDIA DR                                                                                 TOLEDO          OH    43614‐2367
EDWARD W HINTZ                                    5285 BIG WOLF LN                                                                                LEWISTON        MI    49756‐9003
EDWARD W HORNE                                    518 PONOKA ST                                                                                   SEBASTIAN       FL    32958‐4400
EDWARD W HOUGHTALING                              9873 SW 63RD CT                                                                                 OCALA           FL    34476‐7717
EDWARD W IRWIN & JEAN H IRWIN TEN ENT             2675 STRASBURG RD                                                                               COATESVILLE     PA    19320‐4126
EDWARD W JABLONSKI                                169 W HELMER LAKE RD                                                                            MIO             MI    48647‐9729
EDWARD W JAMES                                    2898 FALLING WATERS DRIVE                                                                       LINDENHURST     IL    60046‐6775
EDWARD W JAMES JR                                 209 SEA ISLAND DR                                                                               PONTE VEDRA     FL    32082‐3739
EDWARD W JERGER TR EDWARD W JERGER REVOCABLE      4 COBURN COURT                                                                                  BLUFFTON        SC    29909
TRUST UA 11/03/98
EDWARD W JOHNSON                                  3519 DAKOTA AVE                                                                                 FLINT           MI    48506‐3112
EDWARD W JUNTUNEN                                 7467 BRADEN                                                                                     BYRON           MI    48418‐9713
EDWARD W KARPINSKI & JOANN M KARPINSKI JT TEN     3457 IROQUOIS                                                                                   DETROIT         MI    48214‐1839
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EDWARD W KASKA                                    1134 W TUCKER BLVD                                                                             ARLINGTON       TX    76013‐7242
EDWARD W KENNEN                                   353 CLEARVIEW AVENUE                                                                           WHEELING        WV    26003‐6719
EDWARD W KIDWELL JR & BETTE JR KIDWELL JT TEN     16 MCKENNEY CIRCLE                                                                             ANDOVER         MA    01810‐1313

EDWARD W KJOLLER & MRS ELEANOR L KJOLLER JT TEN 2715 COVENTRY CT                                                                                 FLINT           MI    48503‐5431

EDWARD W KOWIT                                    4626 NORTHFIELD RD                                                                             NORTH RANDALL   OH    44128‐4522
EDWARD W KUDERNA & EDWARD KUDERNA JT TEN          9310 WHEELER DRIVE                                                                             ORLAND PARK     IL    60462‐4736

EDWARD W LACKHOUSE                                3039 44TH ST                                                                                   HIGHLAND        IN    46322‐3250
EDWARD W LACKHOUSE & KATHLEEN M LACKHOUSE JT      3039 44TH ST                                                                                   HIGHLAND        IN    46322‐3250
TEN
EDWARD W LANGSCHWAGER                             57 HUTTON CIRCLE                                                                               CHURCHVILLE      NY   14428‐9107
EDWARD W LEONARD                                  1319 KEYSTOVER TRL                                                                             DAYTON           OH   45459‐2414
EDWARD W LEVIN                                    225 INDIANA AVENUE                                                                             WESTVILLE        IL   61883‐1615
EDWARD W LOEHR & RUTH E LOEHR JT TEN              2455 N WOODLAWN                       APT 215                                                  WICHITA          KS   67220‐3952
EDWARD W MACIEJEWSKI                              914 13TH                                                                                       BAY CITY         MI   48708‐7323
EDWARD W MADORE JR                                4 DIAMOND TER                                                                                  WOLCOTT          CT   06716‐2715
EDWARD W MALECKI & JUDITH M LONG JT TEN           3001 CHESTNUT POINTE DR                                                                        NEW LENOX        IL   60451‐8617
EDWARD W MALIN III                                90 WILLIAMS RD                                                                                 TRUMBULL         CT   06611‐4350
EDWARD W MANN                                     5800 FOREST HILLS BLVD                APT B124                                                 COLUMBUS         OH   43231‐2997
EDWARD W MARSH                                    21909 MIDDLEBELT                                                                               FARMINGTON HILLS MI   48336‐4930

EDWARD W MC ELHINNY                               27900 CEDAR POINT ROAD                                                                         EASTON          MD    21601‐8212
EDWARD W MC KEE CUST ELLEN MINTON UGMA TX         4705 BARWICK DRIVE                                                                             FORT WORTH      TX    76132‐1505

EDWARD W MCKAY                                    8781 W CANYON DR                                                                               IRONS           MI    49644
EDWARD W MEHL JR                                  11 BETHANY FOREST DR                                                                           DAGSBORO        DE    19939‐9212
EDWARD W MIKOLOWSKI JR                            3305 GLENNIE RD                                                                                GLENNIE         MI    48737‐9518
EDWARD W MILLER                                   114 GROVE STREET                                                                               BUFFALO         NY    14207‐1804
EDWARD W MILLS                                    2309 SHERMAN AVENUE                                                                            WILMINGTON      DE    19804‐3828
EDWARD W MOSKAL                                   13 STONE HENGE DR                                                                              OCEAN           NJ    07712‐3326
EDWARD W OAKLEY                                   48 BLACKSTONE ST                                                                               BLACKSTONE      MA    01504‐1606
EDWARD W OXLEY                                    102 COVE RD                                                                                    SATSUMA         FL    32189‐2209
EDWARD W PAPAJ                                    56 GROTE ST                                                                                    BUFFALO         NY    14207‐2418
EDWARD W PARKER & MRS FRANCES H PARKER JT TEN     3520 NW 46TH TERR                                                                              GAINESVILLE     FL    32606

EDWARD W PENROD                              2305 BERNARD ST                            APT 325                                                  JONESBORO       AR    72401
EDWARD W PIERRITZ                            736 W BUENA AVE                            APT 308                                                  CHICAGO         IL    60613‐2245
EDWARD W PLOW JR                             25 QUAIL RUN                                                                                        ELMIRA          NY    14903‐9307
EDWARD W POTTENGER                           4431 SOCIAL ROW RD                                                                                  SPRING VALLEY   OH    45370‐9772
EDWARD W RAY                                 8342 WHITEHORN LN                                                                                   FENTON          MI    48430‐8383
EDWARD W REIBER                              67 HARTLEY RD                                                                                       LANSDOWNE       PA    19050‐1723
EDWARD W RODERICK                            615 DUPONT DR                                                                                       STOCKTON        CA    95210
EDWARD W ROE                                 12 VICAR LANE                                                                                       NEW CASTLE      DE    19720‐2342
EDWARD W S WONG & EDNA L WONG JT TEN         4319 KILAUEA AVE                                                                                    HONOLULU        HI    96816
EDWARD W SAVAGE                              4452 BUSCH ROAD                                                                                     BIRCH RUN       MI    48415‐8733
EDWARD W SCHULTZ JR                          196 CR 120                                                                                          EUREKA SPRING   AR    72631‐8954
EDWARD W SPODAR                              5189 LONGTON RD                                                                                     LYNDHURST       OH    44124‐2749
EDWARD W STURGEON                            912 SOUTH 12TH STREET                                                                               TACOMA          WA    98405‐4535
EDWARD W SWEENEY                             C/O GERALDINE SWEENEY                      790 EAGLE PARKWAY                                        BROWNSBURG      IN    46112‐9766
EDWARD W SWIDAL                              3525 SIMEN AVE                                                                                      PITTSBURGH      PA    15212‐2231
EDWARD W SWIDAL TR EDWARD W SWIDAL REVOCABLE 3525 SIMEN AVE                                                                                      PITTSBURGH      PA    15212‐2231
LIVING TRUST UA 06/21/01
EDWARD W TASHJIAN JR                         6626 HOLLAND RD                                                                                     ALGONAC         MI    48001‐3708
EDWARD W THOMPSON                            678 HEIM COURT                                                                                      ALMONT          MI    48003‐8900
EDWARD W WALRAVEN                            PO BOX 4 RD #1                                                                                      MILLINGTON      MD    21651‐0004
EDWARD W WEBBER & FRANCES WEBBER JT TEN      3964 W 129TH STREET                                                                                 CLEVELAND       OH    44111‐5110
EDWARD W WEILLS                              4524 SOUTH 20TH RD                                                                                  FAIR PLAY       MO    65649‐9279
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

EDWARD W WENCKOVSKY                         6438 CENTRALIA                                                                                        DEARBORN HTS       MI    48127‐2002
EDWARD W WENCKOVSKY & DOROTHY WENCKOVSKY JT 6438 CENTRALIA                                                                                        DEARBORN HTS       MI    48127‐2002
TEN
EDWARD W WINSLOW                            64 MOULTON AVENUE                                                                                     BUFFALO            NY    14223‐2018
EDWARD W WRIGHT JR                          70 CAMBRIDGE RD                                                                                       MONTCLAIR          NJ    07042‐5036
EDWARD W YEE & MRS TERESA L YEE JT TEN      423 FIRESTONE DR                                                                                      SILVER SPRING      MD    20905‐8011
EDWARD WADE                                 38356 LAKESHORE BLVD                                                                                  WILLOUGHBY         OH    44094‐7002
EDWARD WADLEIGH                             PO BOX 728                                   930 HUBBARDSTEM RD                                       BARRE              MA    01005‐0728
EDWARD WALDMAN CUST DAVID WALDMAN UTMA MD 1 ROLLINS CT                                                                                            ROCKVILLE          MD    20852

EDWARD WALLACE OSTRAM                            4276 US HIGHWAY 441 S                                                                            OKEECHOBEE         FL    34974‐6229
EDWARD WARD JR                                   2013 CARNEGIE LN #C                                                                              REDONDO BEACH      CA    90278‐3603
EDWARD WASHINGTON                                3832 BLACKSTONE                                                                                  MARKHAM            IL    60426‐4424
EDWARD WASILEWSKI                                393 SALT LAKE RD                                                                                 FAWN GRAVE         PA    17321‐9581
EDWARD WATERSON                                  408 CLARIDGE CT                                                                                  POINT PLEASANT     NJ    08742‐2167
EDWARD WHALLEY                                   89 LAKEVIEW AVE                                                                                  BELLINGHAM         MA    02019‐1827
EDWARD WHATLEY & DAVID X WHATLEY JT TEN          3514 WASHINGTON BLVD                                                                             UNIVERSITY         OH    44118‐2611
                                                                                                                                                  HEIGHTS
EDWARD WHEELER                                   7660 RUSTIC WOODS DR                                                                             DAYTON             OH    45424‐2427
EDWARD WILCZYNSKI                                118 COLONIAL AVE                                                                                 SADDLE BROOK       NJ    07663‐5105
EDWARD WILLIAM CHAPIN JR                         631 RIDGE RD                                                                                     SALISBURY          MD    21801‐5717
EDWARD WILLIAM DIEHL                             2974 DRUM RD                                                                                     MIDDLEPORT         NY    14105‐9732
EDWARD WILLIAM GAYESKI                           7227 COPPER CREEK DR                                                                             WASHINGTON         MI    48094‐2819
EDWARD WILLIAM LIGGETT                           5828 OLD RIDGE RD                                                                                N LAS VEGAS        NV    89031‐5038
EDWARD WILLIAM MILLER & ROSE M MILLER JT TEN     314 SHEFFIELD AVE                                                                                FLINT              MI    48503

EDWARD WILLIAM OFFUTT                        3226 RAMBLEWOOD RD                                                                                   ELLICOTT CITY      MD    21042‐2446
EDWARD WILLIAMS                              199 ROCKWELL                                                                                         PONTIAC            MI    48341‐2260
EDWARD WILLIAMS                              14217 GLASTONBURY AVE                                                                                DETROIT            MI    48223‐2980
EDWARD WISNIEWSKI                            36 PETERSBROOK CIR                                                                                   LANCASTER          NY    14086‐3244
EDWARD WITOS CUST JAMES WITOS UGMA NJ        30 LINCOLN AVE                                                                                       EDISON             NJ    08837‐3208
EDWARD WITTNER                               45801 DREXEL                                                                                         CANTON             MI    48187‐1627
EDWARD WLODARCZYK                            460 REMSEN AVE                                                                                       NEW BRUNSWICK      NJ    08901‐3149
EDWARD WOLGEMUTH & OLIVIA H WOLGEMUTH JT TEN 801 MURPHY DR                                                                                        JOLIET             IL    60435‐2833

EDWARD WOLSIEFFER CUST GLENN WOLSIEFFER UGMA 14 MAGNOLIA ST                                                                                       WILKES‐BARRE       PA    18702‐2223
PA
EDWARD WOLSIEFFER CUST NEIL WOLSIEFFER UGMA PA 14 MAGNOLIA ST                                                                                     WILKES‐BARRE       PA    18702‐2223

EDWARD WONG                                      16 FIRST ST                                                                                      ALBANY             NY    12210‐2504
EDWARD WOOD & MRS HAZEL M WOOD JT TEN            2599 W ROBIN RD                                                                                  NEW ALBANY         IN    47150‐3755
EDWARD WOODS                                     1401 BELLCREEK                                                                                   FLINT              MI    48505‐2588
EDWARD WOOTON                                    6090 N STATE ROUTE 741                                                                           SPRINGBORO         OH    45066‐7749
EDWARD WRIGHT                                    15827 WHITCOMB ST                                                                                DETROIT            MI    48227‐2668
EDWARD WYGNAL                                    1400 W ALWARD RD                                                                                 DEWITT             MI    48820‐9784
EDWARD Y MASON                                   579 RUE LAGRANDE                        PO BOX 775                                               ELIZABETHTOWN      KY    42702‐0775
EDWARD Y SAKO & JENNIFER J S SORENSON JT TEN     8760 COMANCHE GAP                                                                                SAN ANTONIO        TX    78255‐2006

EDWARD Y SANDERS                                 1154 NEEDHAM DR                                                                                  VACAVILLE          CA    95687‐6722
EDWARD Y SING & HELEN B SING JT TEN              1962 FOX RIVER DRIVE                                                                             BLOOMFIELD HILLS   MI    48304‐1022

EDWARD Y WANG                                    5323 E ROYAL VIEW DR                                                                             PHOENIX            AZ    85018
EDWARD Y WANG & REGINA Y WANG JT TEN             5323 E ROYAL VIEW DR                                                                             PHOENIX            AZ    85018
EDWARD Y WANG CUST GARRICK WANG UGMA MI          5323 E ROYAL VIEW DR                                                                             PHOENIX            AZ    85018

EDWARD YAWORSKI                                  498 W CHIP RD                                                                                    AUBURN             MI    48611‐9774
EDWARD YAZEL JR                                  525 N MORGAN STREET                                                                              RUSHVILLE          IN    46173‐1538
EDWARD YBARRA                                    5808 WIRE GRASS TRL                                                                              VALRICO            FL    33594‐9246
EDWARD YOUNG                                     18 CHAMPAGNE CRESC                      WINNIPEG MB                            R3V 1P7 CANADA
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

EDWARD YOUNG                                     1406 E 29TH ST                                                                                 WILMINGTON        DE    19802‐3728
EDWARD Z JACOBSON                                15 HILLSIDE RD                                                                                 LARCHMONT         NY    10538‐2209
EDWARD ZANGWILL CUST BRUCE ZANGWILL U/THE        2037 HAWTHORNE PLACE                                                                           PAOLI             PA    19301‐1050
PENNSYLVANIA U‐G‐M‐A
EDWARD ZAPOTOCZNY                                106 KADO STREET                                                                                WILKES‐BARRE      PA    18705‐3635
EDWARD ZARYCKYJ                                  19 HEARTHSTONE BL                                                                              PEMBERTON         NJ    08068‐1557
EDWARD ZAVATSKY                                  15 WOOD ST                                                                                     TREMONT           PA    17981‐1625
EDWARD ZEBROWSKI                                 142 NORTH 9TH ST                                                                               BROOKLYN          NY    11211‐2091
EDWARD ZIECH & FAY V ZIECH JT TEN                2465 WEST ERIC DR                                                                              CITRUS SPRINGS    FL    34434‐3935
EDWARD ZIELENIEWSKI                              1792 BRAEMAR RD                                                                                OAKLAND           MI    48363‐1801
EDWARD ZIMMERMAN                                 980 BLUE RIDGE AVE                                                                             ATLANTA           GA    30306‐4417
EDWARD ZIMMERMAN                                 14 WILLOWBROOK DR                                                                              HAZLET            NJ    07730‐2039
EDWARD ZNOY                                      312 ASHWOOD AVE                                                                                KENILWORTH        NJ    07033‐2002
EDWARD ZWIER & ROSEMARY ZWIER JT TEN             7631 WHEELER DRIVE                                                                             ORLAND PARK       IL    60462‐5049
EDWARDA ZAKSLIK                                  6490 ASPEN RIDGE                                                                               WEST BLOOMFIELD   MI    48322‐4439

EDWARDS C PHILLIPS & BARBARA L PITTMAN JT TEN    1745 WESTWOOD DR                                                                               ERIE              PA    16505‐2933

EDWARDS DIBENEDETTO CUST CHRISTINA               225 FOXHUNT CRESCENT S                                                                         SYOSSET           NY    11791‐1709
DEBENEDETTO UGMA NY
EDWIG CHAMPAGNE                                  2011 14 AV NE                                                                                  NAPLES            FL    34120‐5453
EDWIN A ADAMS                                    6310 CENTRAL                                                                                   ROMULUS           MI    48174‐4216
EDWIN A ANDERSON & PATRICIA R ANDERSON JT TEN    47 EAST GLENVIEW DR                                                                            WEST GROVE        PA    19390

EDWIN A APPLEGATE                                1981 CO ROAD 1155 R4                                                                           ASHLAND           OH    44805‐9418
EDWIN A BARANOWSKI                               111 CARNEY DR                                                                                  DUNDEE            MI    48131‐9546
EDWIN A BARANOWSKI & DONNA J BARANOWSKI JT       111 CARNEY DR                                                                                  DUNDEE            MI    48131‐9546
TEN
EDWIN A BOWE                                     2151 MACKEY PIKE                                                                               NICHOLASVILLE     KY    40356‐9645
EDWIN A DAY & DARREN E DAY JT TEN                4400 S COUNTY ROAD 900 W                                                                       DALEVILLE         IN    47334‐9745
EDWIN A DAY & DENISE D FREEMAN JT TEN            4400 S COUNTY ROAD 900 W                                                                       DALEVILLE         IN    47334‐9745
EDWIN A HARRIS                                   7854 E JACKSON RD                                                                              WHITE CLOUD       MI    49349‐9655
EDWIN A HICKSON & ADELAIDE S HICKSON JT TEN      17825 NW 21ST STREET                                                                           PEMBROKE PINES    FL    33029‐3066
EDWIN A HILTUNEN & JULIE A HILTUNEN JT TEN       N86W17837 MAIN ST                                                                              MENOMONEE FLS     WI    53051
EDWIN A HUSTON                                   4 ISLA BAHIA DRIVE                                                                             FT LAUDERDALE     FL    33316‐2308
EDWIN A JAENKE & CLAIRE L JAENKE JT TEN          R R #1 BOX 41‐P                                                                                MADISON           VA    22727‐9719
EDWIN A JIROUCH JR                               3330 DILLARDS HILL RD                                                                          UNION HALL        VA    24176
EDWIN A KIESEL                                   2322 WILLOW CIRCLE DR                                                                          GREENWOOD         IN    46143‐9348
EDWIN A LEGG                                     19035 HARMAN                                                                                   MELVINDALE        MI    48122‐1605
EDWIN A MARKHAM                                  5713 SPINDLE PL                                                                                FORT PIERCE       FL    34982‐3986
EDWIN A MCKINNEY                                 24231 EUREKA AVE                                                                               WARREN            MI    48091
EDWIN A POLIDOR                                  100 NAKOMIS TRAIL                                                                              LAKE ORION        MI    48362‐1230
EDWIN A SMITH & WILLA METTA SMITH JT TEN         1075 BOUCHELLE RD                                                                              ELKTON            MD    21921‐3050
EDWIN A SPENCE III                               1595 LINDEN PL                                                                                 SAGINAW           MI    48603‐4646
EDWIN A SPRINGER                                 261 KEENE RD                          ACHUSHNET                                                ACUSHNET          MA    02743
EDWIN A SYTSMA                                   1068 76TH ST SE                                                                                BYRON CENTER      MI    49315‐9319
EDWIN A VROMAN                                   778 BUCKINGHAM                                                                                 LINCOLN PARK      MI    48146‐3107
EDWIN A WALKER JR & LUCILLE C WALKER JT TEN      874 WADSWORTH DR                                                                               WATERFORD         MI    48328‐2051
EDWIN ACEVEDO                                    6061 PROCTOR                                                                                   DETROIT           MI    48210‐1501
EDWIN ATLEE GARRETT IV                           PO BOX 355                                                                                     BAR HARBOR        ME    04609‐0355
EDWIN B COLTIN CUST FREDERICK J COLTIN UTMA MA   9 DEBBI LN                                                                                     EPPING            NH    03042‐1802

EDWIN B COPEMAN                                  12 LIBERTY PKWY                                                                                BALTIMORE         MD    21222‐3848
EDWIN B COPEMAN & RUTH A COPEMAN JT TEN          12 LIBERTY PKWY                                                                                BALTIMORE         MD    21222‐3848
EDWIN B DIXSON                                   5767 JONES DRIVE                                                                               DUBLIN            VA    24084‐2113
EDWIN B FOCKLER III                              205 E MAIN ST                                                                                  ELKTON            MD    21921‐5769
EDWIN B GALLAHER                                 609 LAWRENCE ST                                                                                OLD HICKORY       TN    37138‐3416
EDWIN B HAMILTON                                 2765 CHARING RD                                                                                COLUMBUS          OH    43221‐3030
EDWIN B LACORTE                                  98 E COHAWKIN RD                                                                               CLARKSBORO        NJ    08020‐1342
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EDWIN B SWAIN                                     2501 GRAHAM RD                                                                                   CONWAY             SC    29526‐3926
EDWIN B WADDINGTON                                BOX 463                                 37E MAIN ST                                              ALLOWAY            NJ    08001
EDWIN B WATKOWSKI                                 5315 WEST MONTROSE                                                                               CHICAGO            IL    60641‐1307
EDWIN B WORMWOOD                                  PO BOX 1257                                                                                      GRANTHAM           NH    03753‐1257
EDWIN B ZULKEY & MRS MARIE R ZULKEY JT TEN        36433 BRIARCLIFF RD                                                                              STERLING HEIGHTS   MI    48312‐2709

EDWIN BERNARD DAVIS                               5845 GLEN EAGLES DRIVE                                                                           WEST BLOOMFIELD MI       48323‐2207

EDWIN BURR & MRS ANNE B BURR JT TEN               3000 WEMBLEY RIDGE                                                                               DORAVILLE          GA    30340‐4716
EDWIN C BILLS & VERNA J BILLS JT TEN              1131 BIRCHWOOD DR                                                                                FLUSHING           MI    48433‐1487
EDWIN C DOMMERMUTH                                7 WALNUT TERRACE                                                                                 EAST HANOVER       NJ    07936‐3062
EDWIN C FABER JR CUST EDWIN C FABER III UGMA NY   8 ROCKEFELLER LN                                                                                 RHINEBECK          NY    12572‐1623

EDWIN C GORSUCH                                   1309 OVERBROOK                                                                                   YOUNGSTOWN         OH    44505‐1241
EDWIN C HARTMAN                                   4246 BLUFF ROAD                                                                                  INDIANAPOLIS       IN    46217‐3364
EDWIN C HASKELL III                               545 TWIN DRIVE                                                                                   SPARTANBURG        SC    29302‐2743
EDWIN C HEMENWAY                                  11360 MOUNT ZION ROAD                                                                            MARCELLUS          MI    49067‐9343
EDWIN C HOUCK                                     229 ORVILLE RD                                                                                   BALTIMORE          MD    21221‐1311
EDWIN C KOHL                                      EAST PLYMOUTH ROAD                                                                               TERRYVILLE         CT    06786
EDWIN C KOHORST                                   218 ELLIOTT CT                                                                                   COLUMBIA           TN    38401‐5533
EDWIN C LAURA                                     203 PINEHURST DR                                                                                 COLUMBIA           TN    38401‐6127
EDWIN C MAY                                       0‐12810THIRD AVENUE NW                                                                           GRAND RAPIDS       MI    49544‐6807
EDWIN C MCKEE                                     2924 QUAKER ROAD                                                                                 GASPORT            NY    14067‐9447
EDWIN C MYERS JR                                  12016 G WILLINGDON ROAD                                                                          HUNTERSVILLE       NC    28078‐5681
EDWIN C O'DONNELL JR                              38075 MURDICKS                                                                                   NEW BALTIMORE      MI    48047‐1675
EDWIN C PEAREN                                    101 CARSON CITY LEGION DR                                                                        ROSCOMMON          MI    48653‐7193
EDWIN C REED & MARY K REED JT TEN                 18123 HENLEY RD                                                                                  JAMAICA            NY    11432‐2306
EDWIN C RUNNER                                    PO BOX 607                                                                                       KINGWOOD           WV    26537‐0607
EDWIN C SNYDER                                    419 FREDERICK DR                                                                                 WATSONTOWN         PA    17777‐8031
EDWIN C STEVENS                                   4285 GREGORY                                                                                     GOODRICH           MI    48438‐9604
EDWIN C TANTON                                    C/O WILLIAM F SCHLEMAN III GDN          1001 ERIE ST                                             PORT HURON         MI    48060
EDWIN C TAUGE                                     E2065 WHITE PINE LANE                                                                            BOISE              ID    83706
EDWIN C THIEMAN & DOROTHY S THIEMAN JT TEN        1616 GARDINER LANE #109                                                                          LOUISVILLE         KY    40205‐2785

EDWIN C THOMAS                                  PO BOX 4087                                                                                        SEVIERVILLE        TN    37864‐4087
EDWIN C WATSON                                  667 FRIAR DRIVE                                                                                    YARDLEY            PA    19067‐3478
EDWIN C WATSON & DOROTHY F WATSON JT TEN        667 FRIAR DRIVE                                                                                    YARDLEY            PA    19067‐3478
EDWIN CARL WEBER JR & MRS NANCY L WEBER TEN ENT 287 HILLSMERE DR                                                                                   ANNAPOLIS          MD    21403‐3712

EDWIN CHARLES BILLS                               1131 BIRCHWOOD DR                                                                                FLUSHING           MI    48433‐1487
EDWIN CLARK CARPENTER                             PO BOX 121                                                                                       RUIDOSO            NM    88355‐0121
EDWIN COONEY & IRENE COONEY JT TEN                6 ALEXANDER CT                                                                                   ORMOND BEACH       FL    32174‐3415
EDWIN D ALLEN                                     1351 NATURAL BRIDGE RD                                                                           HARTSELLE          AL    35640
EDWIN D BRANDT                                    655 E HONDO AVE                                                                                  APACHE JUNCTION    AZ    85219‐3255

EDWIN D BUTLER                                    11037 ASPEN LN W                                                                                 CLIO               MI    48420‐2406
EDWIN D MENDELS TR EDWIN D MENDELS LIVING         3701 SHANGRI LA RD                                                                               OSHKOSH            WI    54904‐9508
TRUST UA 07/08/92
EDWIN D POKORA & EUGENIA A POKORA JT TEN          11 THE AVE                                                                                       BUFFALO            NY    14225‐4619
EDWIN D POULNOTT                                  415 JARRETT RD                                                                                   TOCCOA             GA    30577‐9586
EDWIN D RACHT & EVANN M RACHT JT TEN              44 CANAAN RD                                                                                     WAYMART            PA    18472‐9202
EDWIN D REBER                                     2150 MARTINDALE AVE SW                                                                           WYOMING            MI    49509
EDWIN D SANFORD                                   5067 HEMINGWAY LK RD                                                                             OTTER LK           MI    48464‐9752
EDWIN D SCOTT & DOREEN C SCOTT JT TEN             612 HUNTERS LN                                                                                   BRENTWOOD          TN    37027‐5735
EDWIN D SOWDERS                                   BOX 81                                                                                           AVOCA              IN    47420‐0081
EDWIN DALE HARDING                                10405 KINGS GRANT DR                                                                             RICHMOND           VA    23233‐2631
EDWIN E BOARD                                     631 RAYHAM COURT                                                                                 INDIANAPOLIS       IN    46234‐2111
EDWIN E BRANDT                                    5288 HEGEL RD                                                                                    GOODRICH           MI    48438
EDWIN E BRUEGGEMANN                               6742 HARRISON                                                                                    GARDEN CITY        MI    48135‐2287
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EDWIN E COLCLOUGH                                4328 BURKHARDT ST                                                                              DAYTON          OH    45431‐1865
EDWIN E EATON                                    2908 W PINE LODGE RD                                                                           ROSWELL         NM    88201‐9473
EDWIN E GRONAU JR                                6011 ORMES RD                                                                                  VASSAR          MI    48768
EDWIN E HALL                                     PO BOX 478                                                                                     GENESEE         MI    48437‐0478
EDWIN E HEBB TR UA 03/08/74 EDWIN E HEBB TRUST   22801 ALEXANDRINE ST                                                                           DEARBORN        MI    48124‐1003

EDWIN E HILL JR                                  2626 ASHTON RD                                                                                 CLEVELAND       OH    44118‐4226
                                                                                                                                                HEIGHTS
EDWIN E HOGGATT                                  3445 MIDDLE PATTON PARK RD                                                                     MARTINSVILLE    IN    46151
EDWIN E HOLLINS                                  1405 LANARK ST                                                                                 FLOSSMOOR       IL    60422
EDWIN E KALBFLEISCH                              8080 DEANVILLE ROAD                                                                            BROWN CITY      MI    48416‐9650
EDWIN E LETCHWORTH & RUBY L ZEMO JT TEN          BOX 18                                                                                         HARDYVILLE      VA    23070
EDWIN E LOEHNE & MARY JANE LOEHNE JT TEN         4716 MOELLER DR                                                                                BAY CITY        MI    48706‐2649
EDWIN E MUNROE                                   C/O CALVIN WREN MUNROE                104 HAWTHORNE STREET                                     TALLADEGA       AL    35160‐2929
EDWIN E NELSON                                   RR1 BOX 207                                                                                    ADRIAN          MO    64720‐9718
EDWIN E PETERS                                   341 N ALEX RD                                                                                  MIAMISBURG      OH    45342‐2777
EDWIN E SACK & ELIZABETH SACK JT TEN             7023 RISING SUN AVE #M015                                                                      PHILADELPHIA    PA    19111‐0902
EDWIN E SAMUELSON & JOYCE M SAMUELSON JT TEN     1510 KEYSTONE AVE                                                                              RIVER FOREST    IL    60305‐1013

EDWIN E SCHULZ CUST PAUL E SCHULZ UGMA MI        9490 WINTERSET CIRCLE                                                                          PLYMOUTH        MI    48170
EDWIN E VOCK                                     33211 COUNTY RT 22                                                                             THERESA         NY    13691‐2239
EDWIN F CHALMERS                                 1626 CHATEAU DR                                                                                DUNWOODY        GA    30338‐6048
EDWIN F CLARK                                    14667 TULLER                                                                                   DETROIT         MI    48238‐1983
EDWIN F EAKINS                                   299 FAWN RIDGE LN                                                                              HILLSBORO       MO    63050‐4211
EDWIN F FISHER & CECELIA C FISHER JT TEN         1845 SW ST ANDREWS DR                                                                          PALM CITY       FL    34990‐2207
EDWIN F GARDNER & BARBARA D GARDNER JT TEN       1228 WEST 8450 S                                                                               WEST JORDAN     UT    84088‐9432

EDWIN F HARRADINE TR EDWIN F HARRADINE TRUST UA 115 CAMINO CABO                                                                                 SANTA FE        NM    87508‐2278
12/12/95
EDWIN F HOLDA                                   11351 MORAINE DR                                                                                PAYLESS HILLS   IL    60465‐2679
EDWIN F HUSSA JR                                27 WOODVALE RD                                                                                  QUEENSBURY      NY    12804
EDWIN F KRASINSKI                               1218 US 23                                                                                      TAWAS           MI    48673
EDWIN F LEACH                                   2400 8TH AVE                                                                                    VIENNA          WV    26105‐1402
EDWIN F MEYERS                                  3609 HUGHES RD                                                                                  LOUISVILLE      KY    40207‐4333
EDWIN F PLUMMER & KATHLEEN M PLUMMER JT TEN 31 DANAS PATH                                                                                       WEST YARMOUTH   MA    02673

EDWIN F SCHUMACHER                               226 BLACKBURN AVENUE                                                                           LOUISVILE       KY    40206‐2723
EDWIN F SLAGLE FRANCES M SLAGLE & E MICHAEL      96013 STONEY DR                                                                                FERNANDINA      FL    32034‐9054
SLAGLE JT TEN
EDWIN F SULLIVAN                                 241 ROSEWOOD AVENUE                                                                            MT STERLING     OH    43143‐1039
EDWIN F VALENTE                                  9404 82ND AVE                                                                                  HICKORY HILLS   IL    60457‐1914
EDWIN F WANGENSTEEN CUST ROSS M WANGENSTEEN      2173 WELLESLEY AVE                                                                             SAINT PAUL      MN    55105‐1234
UGMA MN
EDWIN F WERTMAN                                  265 RIDINGS CIR                                                                                MACUNGIE        PA    18062‐1809
EDWIN FITLER STEWART III                         PINEBROOK FARM                        56 WALNUT ST                                             CHALFONT        PA    18914‐1821
EDWIN FLACK & ALVINA FLACK JT TEN                1537 MARQUETTE STREET                                                                          SAGINAW         MI    48602‐1732
EDWIN FRANCIS BIELAWSKI                          75 CEIL DRIVE                                                                                  CHEEKTOWAGA     NY    14227‐1926
EDWIN G HOSKIN & EDITH HOSKIN JT TEN             863 STONE CREEK DR                                                                             RIVER HEIGHTS   UT    84321‐5633
EDWIN G JONES                                    5809 MORLAND DR N                                                                              ADAMSTOWN       MD    21710‐9455
EDWIN G MINNERLY                                 3421 SW 27TH ST                                                                                OCALA           FL    34474‐3308
EDWIN G OWENS                                    112 W WALKER DR                                                                                SUMMERVILLE     SC    29483‐4221
EDWIN G ROYALL                                   407 MEMORIAL AVE                                                                               BLUEFIELD       WV    24701‐4941
EDWIN G SAPHAR JR                                175 GIBBS ST                                                                                   ROCHESTER       NY    14605‐2907
EDWIN G WATSON                                   901 NEW YORK AVE                                                                               CHERRY HILL     NJ    08002
EDWIN GROCHWOSKI & MRS MARIANNE GROCHWOSKI       41255 POND VIEW DR                                                                             STERLING HTS    MI    48314
JT TEN
EDWIN H BARNUM                                   2840 BRODIE RD                                                                                 SOUTH BRANCH    MI    48761‐9708
EDWIN H BROWN                                    5720 VAN Y RD                                                                                  HOUGHTON LAKE   MI    48629‐9366
EDWIN H CANNON                                   2965 E LARNED                                                                                  DETROIT         MI    48207‐3905
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EDWIN H FLEMMING & JO ANNE BUICE FLEMMING JT   8833 WESTMORELAND LAKE DR                                                                    CORNELIUS       NC    28031‐5749
TEN
EDWIN H FRANK JR                               5621 BAYON GLEN RD                                                                           HOUSTON         TX    77056‐1001
EDWIN H GOOD                                   503 CHANDLER ST                     APT 101                                                  HOWELL          MI    48855
EDWIN H KISER                                  3433 DONA MARIE DR                                                                           HOWELL          MI    48843‐8965
EDWIN H MILFORD                                PO BOX 875                                                                                   JASPER          GA    30143‐0875
EDWIN H ROBERTS                                872 SPARTAN AVE                                                                              VANDALIA        OH    45377‐2835
EDWIN H SELBY & BETTY A SELBY JT TEN           PO BOX 152                                                                                   POCOMOKE CITY   MD    21851‐0152
EDWIN H SELBY & BETTY A SELBY TEN ENT          PO BOX 152                                                                                   POCOMOKE CITY   MD    21851‐0152
EDWIN H SHANBERG                               8635 NO HARDING AVENUE                                                                       SKOKIE          IL    60076‐2243
EDWIN H WARREN                                 7610 BREWER JR RD                                                                            MILLINGTON      MI    48746‐9588
EDWIN H WEGNER JR                              220 SUMAC DR                                                                                 PRUDENVILLE     MI    48651‐9505
EDWIN HAMILTON                                 8985 SANDUSKY AVE S                                                                          JACKSONVILLE    FL    32216
EDWIN HAMILTON PANTLEY                         9318 N 27TH ST                                                                               TAMPA           FL    33612‐8707
EDWIN HAMPTON SHAFER JR                        311 GRAYS LN                                                                                 HAVERFORD       PA    19041‐1818
EDWIN HENRY ODLE JR                            128 APOLLO AVE                                                                               FLUSHING        MI    48433‐9304
EDWIN HOLBROOK                                 7960 DEWITT ROAD                                                                             DEWITT          MI    48820‐9756
EDWIN I THOMAS                                 26650 RIVER ST                                                                               WILKES BARRE    PA    18702
EDWIN J AUERBACH                               124 SHELLY ST                       PO BOX 367                                               TATAMY          PA    18085‐0367
EDWIN J BEYERL                                 PO BOX 9136                                                                                  SCHENECTADY     NY    12309‐0136
EDWIN J BUMAN JR                               805 ROAD #M16                                                                                HARLAN          IA    51537‐5209
EDWIN J DUNNEBACK                              1786 7 MILE ROAD                                                                             COMSTOCK PARK   MI    49321‐9724
EDWIN J GUSTAFSON                              967 WASHTENAW ROAD #2                                                                        YPSILANTI       MI    48197‐2715
EDWIN J HARRIS                                 4079 BEACH RIDGE RD                                                                          NORTH           NY    14120‐9513
                                                                                                                                            TONAWANDA
EDWIN J HEYD & GERALDINE F HEYD JT TEN         3968 GRAFTON RD                                                                              BRUNSWICK       OH    44212‐2140
EDWIN J JANUSZKOWSKI                           27660 TRAILBROOKE CIR                                                                        WESTLAND        MI    48185
EDWIN J KARRER & KATHERINE H KARRER JT TEN     3288 S MORRISH RD                                                                            SWARTZ CREEK    MI    48473‐9789
EDWIN J KAVEN                                  3250 MARIAN DR                                                                               TRENTON         MI    48183‐3956
EDWIN J KUCERA                                 3018 FM 308                                                                                  MALONE          TX    76660
EDWIN J LOSSING                                1716 E 100 N                                                                                 KOKOMO          IN    46901‐3414
EDWIN J MC CARTHY                              3167 LINDEN RD #606                                                                          ROCKY RIVER     OH    44116‐4161
EDWIN J MEISS                                  506 W BURTON AVE                                                                             EUREKA          IL    61530‐1310
EDWIN J MORSE                                  3425 PLAINS                                                                                  DRAYTON PLAIN   MI    48020
EDWIN J NAB                                    1086 LATHRUP                                                                                 SAGINAW         MI    48603‐4734
EDWIN J NAVROTSKI                              508 LOCKESLEY CT                                                                             EIGHTY FOUR     PA    15330‐2698
EDWIN J NORTHUP                                36 ROSE LANE                                                                                 STONINGTON      CT    06378‐2809
EDWIN J OLMSTEAD                               62 CAMBRIDGE RD                                                                              BEDFORD         NH    03110‐4308
EDWIN J PAYNE RESIDUAL TRUST UA 06/07/94       2401 E EXPRESSWAY 83                                                                         WESLACO         TX    78596
EDWIN J PERRY III                              BOX 542                                                                                      BAINBRIDGE      GA    39818‐0542
EDWIN J REED                                   400 RIVER AVE                       PO BOX H                                                 EMLENTON        PA    16373‐0050
EDWIN J RYAN JR                                15 RAINBOW POND DR APT 6                                                                     WALPOLE         MA    02081‐3472
EDWIN J SCHILD                                 912 ABERDEEN DR                                                                              INDIANAPOLIS    IN    46241‐1808
EDWIN J SCHNEIDER                              1296 CHESTER RD                                                                              CHARLOTTE       MI    48813
EDWIN J SMITH JR                               5404 DORCHESTER DRIVE                                                                        FLUSHING        MI    48433‐2422
EDWIN J STACK JR & COLLEEN E STACK JT TEN      170 MIDFIELD ST                                                                              MOORESVILLE     NC    28115
EDWIN J SWIDERSKI                              311 SHELL ROAD APT 312                                                                       PENNS GROVE     NJ    08069‐2646
EDWIN J THELEN JR                              PO BOX 80385                                                                                 LANSING         MI    48908‐0385
EDWIN J TICHAVSKY                              7526 KNOB HILL                                                                               PASADENA        TX    77505‐2710
EDWIN J TOMLINSON                              38680 LAKESHORE                                                                              MOUNT CLEMENS   MI    48045‐2869
EDWIN J USKO                                   116 HIGHWAY 31                                                                               PENNINGTON      NJ    08534
EDWIN J USKO & MARJORIE D USKO JT TEN          116 HIGHWAY 31 SOUTH                                                                         PENNINGTON      NJ    08534‐3507
EDWIN J WESTON                                 694 PARKEDGE DR                                                                              GAHANNA         OH    43230‐2193
EDWIN J WESTON                                 10108 HUNT DR                                                                                DAVISON         MI    48423‐3517
EDWIN J WESTPHAL & MARY ANN WESTPHAL JT TEN    8505 DORAL DR                                                                                CLERMONT        FL    34711‐8580

EDWIN JESSE                                    48391 PECKWADSWORTH                                                                          WELLINGTON      OH    44090‐9775
EDWIN JOHNSON                                  1343 HALSTEAD RD                                                                             BALTIMORE       MD    21234‐6005
EDWIN JOSEPH LONG                              3256 SENECA ST                      APT 8                                                    BUFFALO         NY    14224‐2778
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EDWIN JOSEPH MECZYNSKI                           99 LOU ANN DRIVE                                                                                DEPEW           NY    14043‐1211
EDWIN K WASHINGTON & ANITA M WASHINGTON JT       15717 ROSEMONT                                                                                  DETROIT         MI    48223‐1329
TEN
EDWIN K WIMER II                                 602 SYCAMORE LN                                                                                 SANDUSKY        OH    44870‐3879
EDWIN K WINGER                                   7817 PENNSYLVANIA AVENUE                                                                        CONNEAUT        OH    44030‐1029
EDWIN KERINS                                     1447 LAKE RD                                                                                    YOUNGSTOWN      NY    14174
EDWIN KEVNICK                                    7600 ROSE MONT                                                                                  DETROIT         MI    48228‐3462
EDWIN KISH & COLLEEN L KISH JT TEN               1352 E SCHWARTZ BLVD                                                                            LADY LAKE       FL    32159‐2466
EDWIN KOIVUNEN & MRS LORRAINE M KOIVUNEN JT      30905 ROBERT DR                                                                                 LIVONIA         MI    48150‐2930
TEN
EDWIN L ANDERSON                                 171 ANDREW DR                                                                                   NEWTOWN        PA     18940‐2219
EDWIN L BOSTIC                                   1945 KILBOURN ST                                                                                OWOSSO         MI     48867‐3934
EDWIN L BROWER                                   23 NAVESINK DR                                                                                  MONMOUTH BEACH NJ     07750‐1131

EDWIN L BROWER & PRISCILLA BROWER JT TEN         23 NAVESINK DRIVE                                                                               MONMOUTH BEACH NJ     07750‐1131

EDWIN L BROWER JR                                25 MEADOW AVE APT 39                                                                            MONMOUTH BCH    NJ    07750
EDWIN L BURBANK                                  9194 N GENESEE RD                                                                               MT MORRIS       MI    48458‐9758
EDWIN L CINTRON                                  107 HAGERTY PL                                                                                  TOWNSEND        DE    19734‐9677
EDWIN L CRAIG                                    288 WESTCHESTER BLVD                                                                            NOBLESVILLE     IN    46060‐9072
EDWIN L DAUM                                     6231 N MONTEBELLO RD APT 338                                                                    TUCSON          AZ    85704‐2889
EDWIN L EWING                                    2835 CAMP MITCHELL RD S E                                                                       LOGANVILLE      GA    30052‐2169
EDWIN L FARMER                                   1131 OLD CORBIN PIKE RD                                                                         WILLIAMSBURG    KY    40769‐2804
EDWIN L FIGURSKI & MILDRED P FIGURSKI JT TEN     4826 UPLAND DR                                                                                  ERIE            PA    16509‐2249
EDWIN L GRABIEC                                  4520 CUMNOR ROAD                                                                                DOWNERS GROVE   IL    60515‐3133
EDWIN L HILL                                     4080 BOBBY JONES DR                                                                             FLINT           MI    48506‐1404
EDWIN L HOLLIMON                                 1237 MORGAN ST                                                                                  MOULTON         AL    35650‐5575
EDWIN L KAISER                                   611 E SHERWOOD RD                                                                               WILLIAMSTON     MI    48895‐9436
EDWIN L KAPLAN                                   PO BOX 536                                                                                      LA GRANGE       GA    30241‐0009
EDWIN L LAMBERT                                  PO BOX 2657                                                                                     WINCHESTER      VA    22604‐1857
EDWIN L LINT                                     2345 CALL RD                                                                                    STOW            OH    44224‐1538
EDWIN L MAURER                                   11 FRANKLIN ST                                                                                  PENNSGROVE      NJ    08069‐1316
EDWIN L MILNE JR                                 3133 SHERI DR                                                                                   SIMI VALLEY     CA    93063
EDWIN L PETERMAN                                 248 ABBIE ST S E                                                                                WYOMING         MI    49548‐3206
EDWIN L PHILLIPS                                 5644 SOUTH C HWY                                                                                PLATTSBURG      MO    64477‐9387
EDWIN L POHLSON & EDWIN L POHLSON JR JT TEN      1325 44TH AVE                                                                                   VERO BEACH      FL    32966‐2626

EDWIN L POHLSON JR & MRS MARIA L POHLSON JT TEN 1325 44TH AVE                                                                                    VERO BEACH      FL    32966‐2626

EDWIN L RAWLSTON                                 7618 MIDDLE VALLEY RD                                                                           HIXSON          TN    37343‐2237
EDWIN L ROSENZWEIG CUST REBECCA S ROSENZWEIG     202 PERSIMMON CT                                                                                LA PLATA        MD    20646‐9595
UGMA PA
EDWIN L SOWERS                                   17462 BELLEVUE RD                                                                               ATCHISON        KS    66002‐9536
EDWIN L SPERLING                                 7 VALLEY DR                                                                                     WEST SENECA     NY    14224‐4525
EDWIN L TRIPP                                    PO BOX 250                                                                                      CLARKSTON       MI    48347‐0250
EDWIN L WALLENHORST                              17823 COUNTY ROAD 85B                                                                           ESPARTO         CA    95627‐2124
EDWIN L ZIELINSKI                                15 TEMPLE DR                                                                                    BUFFALO         NY    14225‐3614
EDWIN L ZIELINSKI & JOANNE S ZIELINSKI JT TEN    15 TEMPLE DR                                                                                    CHEEKTOWAGA     NY    14225‐3614
EDWIN LEE                                        PO BOX 546                                                                                      CHARLOTTE       TN    37036
EDWIN LEE STANFORD                               109 SLEEPY OAKS ROAD NW                                                                         FT WALTON BCH   FL    32548
EDWIN LORD & ROBERT LORD JT TEN                  18061 TRAVERSE DR                                                                               ALVA            FL    33920‐3121
EDWIN LOUIS KROPP                                1 BRIDLEWOOD ROAD                                                                               CHARLESTON      WV    25314‐2129
EDWIN M BRODKORB & ETHEL A BRODKORB JT TEN       2000 W WILNO DRIVE                                                                              MARION          IN    46952‐1516

EDWIN M CORBETT                                  10508 RED MAPLE LANE                                                                            RICHMOND        VA    23238
EDWIN M DAHILL JR                                15 LEDYARD RD                                                                                   WEST HARTFORD   CT    06117‐1712
EDWIN M DAHILL JR TR UW MARY M DAHILL            15 LEDYARD RD                                                                                   WEST HARTFORD   CT    06117‐1712
EDWIN M DAVIS                                    BOX 199                                                                                         PELAHATCHIE     MS    39145‐0199
EDWIN M DE HART JR                               25 BURD RD                                                                                      PENNINGTON      NJ    08534‐3902
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EDWIN M EDWARDS                                   9925 FIRST ST                                                                                  JOSHUA           TX    76058‐4020
EDWIN M EZAKI                                     7395 STONYBROOK DR                                                                             CLEVELAND        OH    44130‐5556
EDWIN M HENDEL                                    3555 MILL RD                                                                                   MIDDLETOWN       OH    45042‐9625
EDWIN M HIPP                                      3542 SAINT MARTIN DRIVE                                                                        ARNOLD           MO    63010‐3976
EDWIN M JOYE JR                                   10856 ALANA CT                                                                                 WILLIS           MI    48191‐9657
EDWIN M MICHNOWICZ & MRS HEATHER HUDGINS          319 N BOWMAN AVE                                                                               MERION STA       PA    19066‐1523
MICHNOWICZ JT TEN
EDWIN M MOORE                                     405 DURAL PARK DRIVE                                                                           KOKOMO           IN    46901‐7021
EDWIN M REYNOLDS JR TR UW OF EDWIN M REYNOLDS     PO BOX 734                                                                                     BROOKLANDVILLE   MD    21022‐0734

EDWIN M ROBERTSON JR                              1706 MERRIMAC ST                                                                               DURHAM           NC    27707‐1026
EDWIN M STANDOHAR                                 423 N HIGHLAND                                                                                 GIRARD           OH    44420‐2222
EDWIN MACDONALD GAULT                             830 COUNTRY WAY APT 18                                                                         BIG RAPIDS       MI    49307‐2635
EDWIN MATHERLY                                    C/O JANET BRAGG                       6445 N 550 E                                             LEBANON          IN    46052‐9293
EDWIN MCSKIMMING                                  4563 RHODE ISLAND DR                                                                           YOUNGSTOWN       OH    44515‐4406
EDWIN MOLINA                                      68 THERESA STREET                                                                              TRENTON          NJ    08618‐1531
EDWIN MORALES                                     4777 COLUMBIA RD                      APT 101                                                  NORTH OLMSTED    OH    44070‐3601
EDWIN N BEERY JR                                  1300 MILL VILLAGE RD                                                                           CRAFTSBURY       VT    05827‐9709
                                                                                                                                                 COMMON
EDWIN N ROWLEY                                    202 UNIVERSITY BLVD                                                                            KINGSVILLE       TX    78363‐4238
EDWIN N SEARL & FLORENCE H SEARL JT TEN           8024 GLEASON DR APT 201                                                                        KNOXVILLE        TN    37919‐5567
EDWIN N SLAGETER TR UA 11/10/2007 RITA M          5686 BRIDGETOWN ROAD                                                                           CINCINNATI       OH    45248
SLAGETER FAM TRUST
EDWIN N URBANSKI                                  52 COUNTRY LN                                                                                  BUFFALO          NY    14224‐1509
EDWIN N VAN DEREN JR & IRENE T VAN DEREN JT TEN   16 SMITH LANE                                                                                  WAYNE            NJ    07470‐5354

EDWIN O BENSON                                    5123 MAPLETON ROAD R‐3                                                                         LOCKPORT         NY    14094‐9217
EDWIN O BOLLER                                    769 VISTA DEL SOL                                                                              LAPEER           MI    48446‐9105
EDWIN O DOTY                                      151 CHANNEL CT                                                                                 HOUGHTON LAKE    MI    48629‐9318
EDWIN O THOMPSON                                  29130 BEECHNUT ST                                                                              INKSTER          MI    48141‐1157
EDWIN OLIVAREZ                                    PO BOX 762                                                                                     LA BLANCA        TX    78558‐0762
EDWIN P ALYEA III                                 1677 LONGLICK PIKE                                                                             GEORGETOWN       KY    40324‐9149
EDWIN P BELLOWS                                   6 DRISKO ST                                                                                    MACHIAS          ME    04654‐1033
EDWIN P COWAN                                     1918 N LIBERTY ST                                                                              INDEPENDENCE     MO    64050‐1623
EDWIN P COWAN JR                                  1205 N VIKING DR                                                                               INDEPENDENCE     MO    64056‐1101
EDWIN P EVARTS                                    121 PAYNE AVE                                                                                  N TONAWANDA      NY    14120‐5409
EDWIN P KAMPMAN                                   10914 SHEA DR                                                                                  SAINT LOUIS      MO    63123‐4944
EDWIN P KOOPS JR                                  PO BOX 56                                                                                      ZOE              KY    41397‐0056
EDWIN P LOCHOTZKI                                 2526 W STRUB RD                                                                                SANDUSKY         OH    44870‐5366
EDWIN P SUNDERLAND JR                             301 FOREST CT                                                                                  SEVERNA PARK     MD    21146‐3605
EDWIN PARKER III                                  18600 NORTHLAWN                                                                                DETROIT          MI    48221‐2022
EDWIN PULA & JANICE M PULA JT TEN                 8424 S KOMENSKY                                                                                CHICAGO          IL    60652‐3116
EDWIN Q THEIS                                     804 GREEN STREET                                                                               PORTLAND         MI    48875‐1309
EDWIN QUANDT                                      1354 HIGHLAND VIEW                                                                             WEST BEND        WI    53095‐4524
EDWIN R BEISCHER                                  104 N WASHINGTON ST                   # 316                                                    HERKIMER         NY    13350‐2028
EDWIN R CARPENTER & RUBY B CARPENTER JT TEN       1138 ABIGAIL ST HARTVILLE                                                                      UNIONTOWN        OH    44685‐7355

EDWIN R CARPENTER & RUBY B CARPENTER JT TEN       1138 ABIGAIL ST HARTVILLE                                                                      UNIONTOWN        OH    44685‐7355

EDWIN R CARTER                                    1417 E GRAND BLANC RD                                                                          GRAND BLANC      MI    48439‐8876
EDWIN R CRUMP                                     132 MIDDLE ST                                                                                  MOBERLY          MO    65270‐4849
EDWIN R DECKER & IRENE DECKER JT TEN              PO BOX H                                                                                       CLARENCE         IA    52216
EDWIN R EISNER                                    141 MARENGO AVE                                                                                FOREST PARK      IL    60130‐1310
EDWIN R GUBBINS                                   1225 W SLOAN RD                                                                                BURT             MI    48417‐9605
EDWIN R GUBBINS & DEARAINE J GUBBINS JT TEN       1225 W SLOAN RD                                                                                BURT             MI    48417‐9605
EDWIN R HATCH & LOUISE K HATCH JT TEN             306 HICKORY PT CT                                                                              VILLA RICA       GA    30180‐7322
EDWIN R HENDRICKSON                               N4643 OAK RD                                                                                   PRINCETON        WI    54968‐8513
EDWIN R LABUZ & ELAINE R LABUZ JT TEN             103 W PARK SHORES CIRCLE APT 13                                                                VERO BEACH       FL    32963
EDWIN R MCCLELLAND                                3612 IRONLACE DR                                                                               LEXINGTON        KY    40509‐2077
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EDWIN R MCCLURE                                  PO BOX 153                                                                                     FOWLER            OH    44418‐0153
EDWIN R MCNEESE                                  5324 MANCHESTER ROAD                                                                           DAYTON            OH    45449‐1937
EDWIN R MILES                                    229 MOUNT DESALES RD                                                                           CATONSVILLE       MD    21229
EDWIN R MURPHY                                   4714 KIMBALL                                                                                   KANSAS CITY       KS    66104‐2446
EDWIN R NAJEWSKI                                 PO BOX 208                                                                                     MOKENA            IL    60448‐0208
EDWIN R ORTIZ & KATHERINE JO ORTIZ JT TEN        39792 LYNN ST                                                                                  CANTON            MI    48187‐4220
EDWIN R PRUITT                                   2617 KENWOOD DR                                                                                DULUTH            GA    30096‐3637
EDWIN R SCHMOCK JR CUST JENNIFER L SCHMOCK       4864 GENESEE RD                                                                                LAPEER            MI    48446‐3634
UGMA MI
EDWIN R SCHMOCK JR CUST SCOTT ALLEN SCHMOCK      4864 GENESEE RD                                                                                LAPEER            MI    48446‐3634
UGMA MI
EDWIN R SCHMOCK JR CUST TIMOTHY GREG SCHMOCK     4864 GENESEE RD                                                                                LAPEER            MI    48446‐3634
UGMA MI
EDWIN R SCHNUPP                                  17913 GLENSHIRE AVE                                                                            CLEVELAND         OH    44135‐4161
EDWIN R VANCOR                                   664 SUMMER ST                                                                                  LYNNFIELD         MA    01940‐2046
EDWIN R WOMMACK                                  33 PLEASANT VALLEY RD SE                                                                       MONROE            GA    30655‐7249
EDWIN RANDOLPH TURNER JR & HELEN HAWLEY          234 BYNUM PL                                                                                   BEAR              DE    19701‐1023
TURNER JT TEN
EDWIN REYES                                      125 OTTAWA DR                                                                                  PONTIAC           MI    48341‐1635
EDWIN ROSS CRAWFORD                              1818 W 14TH AVE                                                                                APACHE JUNCTION   AZ    85220‐6943

EDWIN S JANKURA JR & DEBBIE JANKURA JT TEN       12562 MCINTYRE DR                                                                              WOODBRIDGE        VA    22192‐3309
EDWIN S LEAK                                     33705 E TURQUOISE DR                                                                           BLACK CYN CTY     AZ    85324‐8692
EDWIN S RUMBAUGH & RUBY G RUMBAUGH JT TEN        4 RUMBAUGH RD                         # 30                                                     CHARLESTON        WV    25309‐2528

EDWIN S SHAFFER                                  3689 WINDING PINE DR                                                                           METAMORA          MI    48455‐8904
EDWIN S SHAFFER & SALLY L SHAFFER JT TEN         3689 WINDING PINE DR                                                                           METAMORA          MI    48455‐8904
EDWIN S SHAREK                                   220 ONEIDA                                                                                     LEWISTON          NY    14092‐1220
EDWIN S SHAW                                     1616 E TEXAS ST                                                                                DENISON           TX    75021‐8817
EDWIN S WEEKS & LONETA B WEEKS JT TEN            1980 JAMESTOWN RD                                                                              PALATINE          IL    60074‐1440
EDWIN SANCHEZ                                    12 HERTEL AVE                         APT 304                                                  BUFFALO           NY    14207‐2531
EDWIN SEAVE & PAUL LEWIS SEAVE JT TEN            2401 PENNSYLVANIA AVE                 APT 5‐C‐45                                               PHILADELPHIA      PA    19130‐3023
EDWIN SHATTLE & PRISCILLA SHATTLE JT TEN         618 2ND ST                                                                                     DUNELLEN          NJ    08812‐1052
EDWIN SKALAK                                     217 HIGHGATE RD                                                                                ITHACA            NY    14850‐1435
EDWIN SOTO                                       34 EAST 16TH ST                                                                                BAYONNE           NJ    07002‐4422
EDWIN SPENCER                                    51275 JUDD ROAD                                                                                BELLEVILLE        MI    48111‐9348
EDWIN ST AUBIN CUST JAMES ST AUBIN UGMA MI       1036 W BYRON ST                       APT 1                                                    CHICAGO           IL    60613‐5007
EDWIN T DEWS                                     11502 LAKE SHORE DRIVE                                                                         LAKEVIEW          MI    48850‐9708
EDWIN T GLAZA                                    PO BOX 822                                                                                     WARREN            MI    48090‐0822
EDWIN T HARWELL                                  2316 GROVE ROAD                                                                                GOODSPRING        TN    38460‐9801
EDWIN T MARTIN                                   721 91ST ST                                                                                    NIAGARA FALLS     NY    14304‐3529
EDWIN TAYLOR                                     427 HILLWOOD DR                                                                                AKRON             OH    44320‐2338
EDWIN THOMAS STEWART                             20130 FORT ST 101                                                                              RIVERVIEW         MI    48193‐6730
EDWIN TRACY BURNS                                14 PROSPECT ST                                                                                 HOP BOTTOM        PA    18824‐9766
EDWIN V HUNT                                     1208 W CEDAR                                                                                   ARLINGTON         TX    76012‐4605
EDWIN V MADLEY & LESLIE MADLEY JT TEN            196 FRENCHMANS HILL RD                                                                         BAR HARBOR        ME    04609‐7739
EDWIN V OHL                                      4891 MESSERLY ROAD                                                                             CANFIELD          OH    44406‐9367
EDWIN W ALLEN JR                                 7402 LAKE BREEZE DR APT 310                                                                    FORT MYERS        FL    33907‐8026
EDWIN W CARTER                                   14940 WASHBURN                                                                                 DETROIT           MI    48238‐1638
EDWIN W CHESNEY                                  8800 W 32 RD                                                                                   HARIETTA          MI    49638‐9767
EDWIN W DODDS                                    429 LEWIS AVE                                                                                  BOYNE CITY        MI    49712‐9112
EDWIN W ENGERER JR                               7 TUSCANY COURT                                                                                CAMP HILL         PA    17011‐1033
EDWIN W HALLIDAY JR & SANDRA T HALLIDAY JT TEN   BOX 987                                                                                        COLUMBIA          TN    38402‐0987

EDWIN W HIMES & BARBARA A HIMES TR HIMES FAMILY 1186 ALDERWOOD CT                                                                               YUBA CITY         CA    95991‐6559
TRUST UA 05/09/95
EDWIN W HUTCHINS                                829 HIGHWAY 138                                                                                 STOUGHTON         WI    53589‐1067
EDWIN W JAMES                                   12046 6TH N W                                                                                   SEATTLE           WA    98177‐4521
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EDWIN W JOHNSON & MRS JEAN L JOHNSON JT TEN      4953 CLINE HOLLOW RD                  APT 464                                                  MURRYSVILLE       PA    15668‐1350

EDWIN W LIEB                                     2630 MAJESTIC DR                                                                               WILMINGTON      DE      19810‐2446
EDWIN W MCGUIRE                                  5203 STURGEON CREEK PKWY                                                                       MIDLAND         MI      48640‐2269
EDWIN W PLATT                                    10 HARBOR BAY CIRCLE                                                                           LAURENCE HARBOR NJ      08879‐2920

EDWIN W PRINCE                                   127 PARKWOOD DRIVE                                                                             AYLETT            VA    23009‐2954
EDWIN W REGRUTO & ROSEANN REGRUTO JT TEN         PO BOX 418                                                                                     SEA ISLE CITY     NJ    08243‐0718
EDWIN W SCHROEDER                                40 LOWER WESTFIELD RD                                                                          HOLYOKE           MA    01040‐2750
EDWIN W STULTS JR                                1503 W COTTAGE GROVE                                                                           LINWOOD           MI    48634‐9723
EDWIN W UTTER                                    1926 MICHAEL ST                                                                                HOLT              MI    48842‐1720
EDWIN W WISNIEWSKI                               7576 GRATIOT                                                                                   COLUMBUS          MI    48063‐3310
EDWIN WARREN WALTERS JR                          4320 HYACINTH AVE                                                                              OAKLAND           CA    94619‐2814
EDWIN WASKO & JOYCE A WASKO JT TEN               1060 ALCOMA ST                                                                                 SHARON            PA    16146‐3602
EDWIN WRIGHT                                     6376 E MT MORRIS RD                                                                            MT MORRIS         MI    48458‐9704
EDWIN Y CRUZ                                     5702 GEORGETOWN COLONY DRIVE                                                                   HOUSTON           TX    77084
EDWIN ZACKERY                                    13607 ASBURY PARK                                                                              DETROIT           MI    48227‐1329
EDWINA ANN AZAR                                  2 FONTAINEBLEAU CT                                                                             MANCHESTER        NJ    08759‐6073
EDWINA B DOUD                                    89 LAMOILLE BLUFF                     UNIT 2                                                   COLCHESTER        VT    05446‐7603
EDWINA B NITZSKY                                 2949 DOVER LN                                                                                  LAKELAND          FL    33801
EDWINA BERGERSON                                 4305 GOLF COURSE ROAD                                                                          EVELETH           MN    55734‐4053
EDWINA BUTLER                                    175 DEROME DR                         #A                                                       NAPOLEON          OH    43545‐9682
EDWINA EVEREST                                   2151 SUNNYSIDE AVE                    APT 134                                                  CLOVIS            CA    93611‐4045
EDWINA FRAM                                      399 WALTERS RD                                                                                 CHAGRIN FALLS     OH    44022‐2936
EDWINA H SHELBY                                  3819 CARNEGIE PARK CT                                                                          HOUSTON           TX    77058‐1152
EDWINA JANE SAUL                                 16 WEDGEWOOD BLVD                                                                              CONROE            TX    77304‐1348
EDWINA L SANDERS                                 708 MCDONALD RD                                                                                SUGARTOWN         LA    70662
EDWINA M FLORA                                   1044 HERIGES LN                                                                                MORGANFIELD       KY    42437‐2150
EDWINA M MINKER & MATTHEW C MINKER III JT TEN    2569 ESCADA DR                                                                                 NAPLES            FL    34109‐3600

EDWINA M RAY                                     24688 VERDANT DR                      # 104                                                    FARMINGTN HLS     MI    48335‐2127
EDWINA P COOK                                    BOX 43                                6 LAKE AVE                                               QUINTON           NJ    08072‐0043
EDWINA R THIBODEAUX                              908 ARNOULT ROAD N                                                                             METAIRIE          LA    70001‐5185
EDWINA R THIBODEAUX & ERNEST J THIBODEAUX JT     908 ARNOULT RD NORTH                                                                           METAIRIE          LA    70001‐5185
TEN
EDWYNA PANNELL                                   19001 OAK DRIVE                                                                                DETROIT           MI    48221‐2263
EDYTH V PAULY                                    981 N HILL LANE                                                                                CINCINNATI        OH    45224‐1240
EDYTHE A PHELAN & JOHN PHELAN JT TEN             43 UNDERHILL AVE                                                                               SYOSSET           NY    11791‐5019
EDYTHE A SMITH                                   2454 KEY LARGO LN                                                                              FORT LAUDERDALE   FL    33312‐4604

EDYTHE C HAAKER                                  1028 E ADAMS ST                                                                                LOMBARD           IL    60148
EDYTHE GREENSPON                                 47 FLAGG RD                                                                                    WEST HARTFORD     CT    06117‐2323
EDYTHE JOYCE ALBERTS                             13971 SAGEWOOD DR                                                                              POWAY             CA    92064‐1405
EDYTHE M MILLER                                  747 FREDERICK COURT                                                                            WYCKOFF           NJ    07481‐1058
EDYTHE M SERRANO                                 2736 W PLACITA DEL HUERTO                                                                      TUCSON            AZ    85741‐3451
EDYTHE NELSON                                    531 S FIRST AVE                                                                                GALLOWAY          NJ    08205‐9517
EDYTHE T LUKAS                                   752 COOPER ST                         # 214                                                    WOODBURY          NJ    08096‐2521
EERO A NURMI                                     237 FAIR AVE                          PO BOX 29                                                MARENISCO         MI    49947‐0029
EFFIE F ESTEP                                    5195 FAIRLANE RD                                                                               COLUMBUS          OH    43207‐4942
EFFIE GAY THOMAS                                 955 SANDLE WOOD DR                                                                             PORT ORANGE       FL    32127‐4898
EFFIE JANE DE CRISTOFARO                         135 GARDNER ST                                                                                 EAST HAMPTON      NY    11937‐1560
EFFIE KIGHT                                      C/O JOHN COWIN                        3900 OLD LEEDS RD                                        BIRMINGHAM        AL    35213‐3922
EFFIE M KEITH                                    PO BOX 8212                                                                                    CARLISLE          OH    45005‐8212
EFFIE M MITCHELL                                 16407 EURO COURT                                                                               BOWIE             MD    20716‐3903
EFFIE M MITSIS                                   198‐19 30TH AVE                                                                                BAYSIDE           NY    11358‐1201
EFFIE M SELANDER                                 110 CHIPPEWA TR                                                                                PRUDENVILLE       MI    48651‐9733
EFFIE MAE BENSON                                 215 OVERLOOK DRIVE                                                                             DALLAS            GA    30157‐7487
EFFIE MIDOS TR EFFIE MIDOS TRUST UA 05/30/00     10250 W 145TH ST                                                                               ORLAND PARK       IL    60462‐8622
EFFIE N ROBINSON                                 ATTN EFFIE N KEITH                    PO BOX 8212                                              CARLISLE          OH    45005‐8212
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EFFIE SWEARINGEN IMOGENE SWEARINGEN &              312 E 4TH ST                                                                                       BELLE              WV    25015‐1502
MARJORIE E BULLINGTON JT TEN
EFFIE SWIGERT                                      2914 HARKIE ST                                                                                     MIDDLETOWN       OH      45044‐8915
EFFORD TACKETT                                     8187 HIGHWAY 931 N                                                                                 WHITESBURG       KY      41858‐8363
EFFROSINE G SEVASTOS                               2925 FOSTER DRIVE NE                                                                               WARREN           OH      44483‐5641
EFI YIANNAKI                                       860 GLENBROOK ROAD                                                                                 YOUNGSTOWN       OH      44512‐2713
EFRAIN DE LA ROSA                                  1517 WATERMAN ST                                                                                   DETROIT          MI      48209‐2033
EFRAIN GONZALEZ                                    20816 SANTORINI WAY                                                                                NORTH FORT MYERS FL      33917‐6784

EFRAIN HIDALGO                                     291 SOUTHWOOD DRIVE                                                                                TOWN OF TONA       NY    14223‐1077
EFRAIN N COLON                                     801 JORDON LAKE AVE                                                                                LAKE ODESSA        MI    48849‐1260
EFREN BARRERA                                      332 AVENIDA PINOS                                                                                  SAN JOSE           CA    95123‐1513
EFREN L ESQUIVEL                                   3918 BAGLEY                                                                                        DETROIT            MI    48216‐1422
EFTHIMIOS E DALMANIERAS                            119 PURCHASE ST                                                                                    MILFORD            MA    01757‐1152
EGBERT BETKE                                       4551 CROTON RD                                                                                     NEWAYGO            MI    49337‐9015
EGBERT C PARKS                                     1790 JACKSON CT                                                                                    CUMMING            GA    30040‐4442
EGERTON A BOYCE CUST ROBERT N BOYCE UGMA NJ        BOX 744                                                                                            TEANECK            NJ    07666‐0744

EGIDIO ROSSI                                         VIA S PELLICO 9                     PARMA                                   43100 ITALY
EGLE BELL                                            624 ENGLISH OAKS DRIVE                                                                           PORT ORANGE        FL    32127‐5995
EHRMAN D GREENAWALT JR                               2108 S SANTA ANITA AVE                                                                           ARCADIA            CA    91006‐4611
EIJI HAYASHIDA                                       AV GENL MTRS 1959                   S JOSE DOS CAMPOS    SAO PAULO BRASIL   BRAZIL
EIKO CALENDER                                        421 PARKWOOD                                                                                     MONROE             MI    48162
EIKO IHARA TAYLOR                                    27338 WILLOWBANK ROAD                                                                            DAVIS              CA    95616‐5056
EIKO K OWEN                                          9251 STONESTREET RD                 RM 103                                                       LOUISVILLE         KY    40272
EILA MEADER PAYSON                                   515 ARGYLE CT                                                                                    CLINTON            IA    52732‐5558
EILEEN A BACHNICKI                                   1666 RIDGEVIEW DRIVE                                                                             WICKLIFFE          OH    44092‐1537
EILEEN A BRACKIN                                     15416 AUBRIETA COURT                                                                             ORLAND PARK        IL    60462
EILEEN A BRAUNGARD TOD LAWRENCE C BRAUNGARD 12 LASKA CIRCLE                                                                                           JAMESTOWN          NY    14701
SUBJECT TO STA TOD RULES
EILEEN A CASSIDY                                     540 SHOREBIRD CIRCLE                # 21202                                                      REDWOOD CITY       CA    94065
EILEEN A CRANE                                       745 MIDSTREAMS RD                                                                                BRICK              NJ    08724‐4558
EILEEN A FINN                                        9 EASTLYN DR                                                                                     BARDONIA           NY    10954‐1406
EILEEN A GREISS TR EILEEN A GREISS TRUST UA 11/29/93 18010 N 132ND CT                                                                                 SUN CITY WEST      AZ    85375‐4919

EILEEN A HANSEN GDN CHARLES E STRATTON III         1904 FARNAM STREET                    SUITE 601                                                    OMAHA              NE    68102‐1909
EILEEN A HARVEY                                    600 BROOKLINE AVENUE                                                                               EUSTIS             FL    32726‐7010
EILEEN A HASKELL                                   11 CEDAR RIDGE DR                                                                                  GALES FERRY        CT    06335‐1104
EILEEN A HOUSAND                                   416 DEL RHODES AVE                                                                                 QUEENSTOWN         MD    21658‐1366
EILEEN A HUGHES                                    1709 PIERCE DR                                                                                     BEAVERCREEK        OH    45432‐2430
EILEEN A KELLY                                     BOX 623                                                                                            BLAKESLEE          PA    18610‐0623
EILEEN A KENNEDY                                   13757 PIEDMONT VISTA DR                                                                            HAYMARKET          VA    20169‐3217
EILEEN A KITSON                                    100 DIPLOMAT DRIVE #2L                                                                             MOUNT KISCO        NY    10549‐2005
EILEEN A MATEYKA                                   3726 BARG                                                                                          STERLING HEIGHTS   MI    48310‐6912

EILEEN A MURPHY & GREGORY M MURPHY JT TEN          31 HUDSON LN                                                                                       WINDSOR         CT       06095‐1840
EILEEN A PAGNUTTI‐KISH & RICHARD M KISH JT TEN     1311 KEARNEY DRIVE                                                                                 NORTH BRUNSWICK NJ       08902‐3125

EILEEN A SCHULTZ                                   406 LAUREL STREET                                                                                  YOUNGSTOWN         OH    44505‐1928
EILEEN A SHANDOR                                   212 STONEBRIDGE DR                                                                                 FINLEYVILLE        PA    15332‐1400
EILEEN A SULLIVAN                                  142 MARGUERITE AVE                                                                                 WALTHAM            MA    02452‐5713
EILEEN A SUMINSKI & THOMAS R SUMINSKI JT TEN       10 DOUGLAS DR                                                                                      LONG VALLEY        NJ    07853

EILEEN A SWEENEY                                   6556 DREXEL                                                                                        DEARBORN HTS       MI    48127‐2213
EILEEN A TAKATA                                    1106 GROSSMONT DRIVE                                                                               WHITTIER           CA    90601‐1031
EILEEN A THOMPSON                                  4155 SELKIRK‐BUSH RD                                                                               NEWTON FALLS       OH    44444‐8714
EILEEN A WECKLER & LAURA K JACOBS JT TEN           8100 PERRY RD                                                                                      GRAND BLANC        MI    48439‐9724
EILEEN AMY LEVIN                                   5379 BEACHSIDE DRIVE                                                                               MINNETOKA          MN    55343‐4119
EILEEN ANN CHRIST & ROBERT E CHRIST JT TEN         3819 CARDINAL DRIVE                                                                                STEVENS POINT      WI    54481‐9709
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EILEEN B BRICKER                                     518 ELM ST                                                                                     WATSONTOWN         PA    17777‐1504
EILEEN B BUNDY                                       10208 WILL ALLMAN RD                                                                           GEORGETOWN         OH    45121‐9229
EILEEN B TUFTE & CORWIN F TUFTE JT TEN               BOX 190                                                                                        NORTHWOOD          ND    58267‐0190
EILEEN B YEAKLEY                                     1665 19 3/4 ST                                                                                 CAMERON            WI    54822‐8711
EILEEN BAKER                                         232 ORCHARD PARK DR                                                                            NEW CASTLE         PA    16105‐3018
EILEEN BECKER                                        1306 NORTHSIDE DR                                                                              ORMOND BEACH       FL    32174‐3959
EILEEN BERTELLOTTI                                   5612 HOWARD ST                                                                                 OMAHA              NE    68106‐1258
EILEEN BLAKE                                         191 EUCLID AVE                                                                                 RIDGEFIELD PARK    NJ    07660‐1710
EILEEN BRANDA                                        8945 MC LENNAN AVE                                                                             NORTHRIDGE         CA    91343‐4009
EILEEN BRANDEL                                       526 FOXGLOVE LANE                                                                              BARRINGTON         IL    60010‐3512
EILEEN BREDEN                                        695 AIA #134                                                                                   PONTE VEDRA        FL    32082
                                                                                                                                                    BEACH
EILEEN BRIDGET COURTNEY                              2644 HAYDEN RD                                                                                 OWENSBORO          KY    42303
EILEEN BURKE                                         325 GOLDEN GATE PT                                                                             SARASOTA           FL    34236‐6670
EILEEN C BARTELS                                     1 KENDALE CT                                                                                   CINCINNATI         OH    45236‐3715
EILEEN C BEIKIRCH                                    102 GATE HOUSE TRAIL                                                                           HENRIETTA          NY    14467‐9526
EILEEN C GOLDEN                                      434 SCARSDALE RD                                                                               YONKERS            NY    10707‐2117
EILEEN C HAFFA                                       1919 N LA CANADA DR                                                                            GREEN VALLEY       AZ    85614‐4314
EILEEN C KIEFER TR EILEEN C KIEFER LIVING TRUST UA   1852 MAPLE PARK DRIVE EAST                                                                     CANTON             MI    48188
10/26/95
EILEEN C MATTINGLY                                   525 LAGARDE ST                                                                                 THIBODAUX          LA    70301‐3427
EILEEN C MURPHY                                      19 SABINA CIR                                                                                  ROCHDALE           MA    01542‐1029
EILEEN C OGRADY                                      12111 OLYMPIA DRIVE                                                                            HOUSTON            TX    77077‐6017
EILEEN C PETERSON                                    PO BOX 745                                                                                     MARTINDALE         TX    78655‐0745
EILEEN C RADE                                        13771 WINCHESTER                                                                               OAK PARK           MI    48237‐4111
EILEEN CARNEY                                        1918 MARCASTLE COURT                                                                           ROCHESTER HILLS    MI    48309
EILEEN CHALMERS                                      31021 N RIVER RD                                                                               HARRISON           MI    48045‐1460
                                                                                                                                                    TOWNSHIP
EILEEN CHECKLE                                       7435 MOCKINGBIRD                                                                               RIVERDALE          GA    30274‐3716
EILEEN CORRIGAN CUST MARGARET MARY CORRIGAN          201 E SENECA DR                                                                                NEWARK             DE    19702‐1927
UGMA DE
EILEEN D BENDTSEN                                    9108 MORGAN AVE S                                                                              MINNEAPOLIS        MN    55431‐2220
EILEEN D CARLSON                                     8348 W COLDSPRING RD                                                                           GREENFIELD         WI    53220‐2829
EILEEN D DESCHAINE                                   4084 ROUTE 9                                                                                   HUDSON             NY    12534‐4025
EILEEN D DONNELL & ROGER F DONNELL JT TEN            1311 PEACH TREE LN                                                                             PACIFIC            MO    63069
EILEEN D DUNN                                        926 MERRIVALES RD                                                                              BETHLEHEM          PA    18017‐2329
EILEEN D HATFIELD & MICHAEL HATFIELD JT TEN          P O BOX 677                                                                                    FARMINGTON         MI    48332
EILEEN D HYMANS TR EILEEN D HYMANS TR UA 3/4/99      3020 EXMOOR                                                                                    ANN ARBOR          MI    48104‐4132

EILEEN D JOHNSON                                     8195 RIVERDALE                                                                                 DEARBORN HEIGHTS MI      48127‐1574

EILEEN D LENSVELT                                    85 HARRIMAN AVE                                                                                BEDFORD            OH    44146‐3721
EILEEN D SEABOLT                                     2490 FORDHAM                                                                                   KEEGO HARBOR       MI    48320‐1412
EILEEN D SPENCER                                     92 ROSE AVE                                                                                    EASTCHESTER        NY    10709‐3833
EILEEN D WILDT                                       4187 RIVERHILL CT                                                                              ROSWELL            GA    30075‐1961
EILEEN DEPPING                                       46 50 BURLING ST                                                                               FLUSHING           NY    11355‐2209
EILEEN DIMONOSKI                                     11436 CHESTER RD                                                                               GARFIELD HEIGHTS   OH    44125‐3512

EILEEN DONOHUE                                       PO BOX 2215                           7311 OCEAN BLVD                                          BEACH HAVEN        NJ    08008‐3652
EILEEN DOWD‐DEGENNARO CUST BRYAN DEGENNARO           46 RICHFIELD ST                                                                                PLAINVIEW          NY    11803‐1439
UTMA NY
EILEEN DOWD‐DEGENNARO CUST MATTHEW                   46 RICHFIELD ST                                                                                PLAINVIEW          NY    11803‐1439
DEGENNARO UTMA NY
EILEEN E AXELROD                                     3100 LEXINGTON                        APT 201                                                  GLENVIEW           IL    60025‐5936
EILEEN E CALLERY                                     2463 COOLIDGE AVENUE                                                                           NORTH BELLMORE     NY    11710‐2649

EILEEN E CROGHAN CUST JOHN H CROGHAN A MINOR         376 MOONSHADOW LN                                                                              TREVILIANS         VA    23093‐4921
U/LAWS OF VIRGINIA
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EILEEN E CROGHAN CUST MOIRA B CROGHAN A MINOR     C/O MOIRA C CROGHEV                    10203 MANNHEIM DR                                        ASHLAND           VA    23005‐7344
U/LAWSOF VIRGINIA
EILEEN E DAHL & RONALD V DAHL JT TEN              9047 INDIAN RIVER RUN                                                                           BOYNTON BEACH     FL    33472
EILEEN E KELLEY                                   428 W HARRISON                                                                                  ROYAL OAK         MI    48067‐3118
EILEEN E LEGGATT                                  26223 MEADOWBROOK WAY                                                                           LATHRUP VILLAGE   MI    48076‐4413

EILEEN E MCCARROLL & CAROLYN J SZYDLOWSKI JT TEN 3096 MORGAN DR                                                                                   WANTAGH           NY    11793‐1750

EILEEN E MORRISON                                 120 SENECA DR                                                                                   BELLEVUE       OH       44811‐1634
EILEEN E PAPETTI                                  1024 GREENSKEEPER WAY                                                                           DAYTON         OH       45458‐3971
EILEEN E TREBESCH                                                                                                                                 DUTTON         MT       59433
EILEEN ERIKSON                                    5019 SHEBOYGAN AVE                     #312                                                     MADISON        WI       53705‐2814
EILEEN F ASHLEY ADM EST MARY PATRICIA ASHLEY      61 MILL LANE                                                                                    LEVITTOWN      NY       11756‐2634
EILEEN F CHESLA                                   49 WOODSIDE DR                                                                                  TABERNACLE     NJ       08088‐9161
EILEEN F COSE & WALTER F COSE JR JT TEN           413 1/2 JOHNSTON ROAD                                                                           PITTSBURGH     PA       15235
EILEEN F FORD                                     2336 INDIAN HILLS DR                                                                            OKEMOS         MI       48864‐2017
EILEEN F HAIKER & DONALD J HAIKER JT TEN          17150 SCOTTSDALE RD                                                                             RIVERSIDE      CA       92504‐9596
EILEEN F JACKSON                                  58‐47 41 DRIVE                                                                                  WOODSIDE       NY       11377‐4834
EILEEN F LODGE                                    201 BURRWOOD AVE                                                                                HADDONTOWNSHIP NJ       08108‐1715

EILEEN F METZGER TR EILEEN F METZGER TRUST UA     1028 DUTCH MILL DR                                                                              MANCHESTER        MO    63011‐3664
12/02/92
EILEEN F STITH                                    618 SILVERWOOD CT                                                                               MARIETTA          GA    30066
EILEEN FAHY CUST JOHN J FAHY UGMA NY              487 SEABREEZE WALK                                                                              BREEZY POINT      NY    11697‐1622
EILEEN FENNELL CUST GREGORY FENNELL UGMA NY       68 MARLBOROUGH ROAD                                                                             WEST HEMPSTEAD    NY    11552‐1714

EILEEN FENNELL CUST JENNIFER FENNELL UGMA NY      68 MARLBROUGH ROAD                                                                              WEST HEMPSTEAD    NY    11552‐1714

EILEEN FRANCES BAEHREND                           6907 S PARKSIDE AVE                                                                             COUNTRYSIDE       IL    60525‐4818
EILEEN FRASCARELLI                                7 SNOWBIRD CT                                                                                   PRINCETON         NJ    08550
                                                                                                                                                  JUNCTION
EILEEN FURNACE                                    ATTN EILEEN FURNACE SILMSDR            6522 LAKE AVE                                            WILLIAMSON        NY    14589‐9504
EILEEN G MIDDENDORF                               583 PALMER CT                                                                                   COVINGTON         KY    41017‐3482
EILEEN G MILLER                                   808 DEERFIELD ROAD                                                                              ANDERSON          IN    46012‐9625
EILEEN G RISSER                                   3312 WALTHAM AVE                                                                                KETTERING         OH    45429‐3530
EILEEN G ROBERTS                                  15316 MERLIN CT                                                                                 OAK FOREST        IL    60452‐2123
EILEEN G SANDERSON                                41 BEVERWICK LANE                                                                               SLINGERLANDS      NY    12159
EILEEN G SWANSON TR UA 02/20/92 M‐B EILEEN G      1211 CANDLEWOOD HILL RD                                                                         NORTHBROOK        IL    60062‐4407
SWANSON
EILEEN GEHRUM & JAMES GEHRUM JT TEN               225 HIGHLAND AVE                                                                                EDISON            NJ    08817
EILEEN GIGLER                                     2755 SPYGLASS DR                                                                                CARROLLTON        TX    75007‐5088
EILEEN GILLIS                                     890 TANGLEWOOD DRIVE                                                                            MEDINA            OH    44256‐1460
EILEEN GLOGOWER                                   21301 HARVARD                                                                                   SOUTHFIELD        MI    48076‐5648
EILEEN GOLDBERG FRANK                             PO BOX 34                                                                                       NORTHFORD         CT    06472‐0034
EILEEN GOLLY & LOUIS GOLLY & TIM GOLLY JT TEN     1071 NE 28TH AVE                                                                                POMPANO BEACH     FL    33062‐4229

EILEEN H ADAMS                                    410 BOATING CLUB RD                                                                             ST AUGUSTINE      FL    32095‐1542
EILEEN H BIGIO                                    539 SELBORNE RD                                                                                 RIVERSIDE         IL    60546‐1628
EILEEN H HAWKINS                                  1320 ENTERPRISE DR                     # 114                                                    LYNCHBURG         VA    24502‐5746
EILEEN H MAZZARELLA & LISA MARIE MAZZARELLA JT    20 NO 21ST ST                                                                                   KENILWORTH        NJ    07033‐1659
TEN
EILEEN HALLER                                     20221 LINDA DRIVE                                                                               EUCLID            OH    44117‐2420
EILEEN HANAST                                     168‐01 19TH AVENUE                                                                              WHITESTONE        NY    11357‐3323
EILEEN HARNEY MORROW                              123 VENDDA                                                                                      SAN RAFAEL        CA    94903
EILEEN HARRISON GREEN                             11700 PARK BLVD #A101                                                                           SEMINOLE          FL    33772‐5266
EILEEN HEIDEMAN WEST                              1651 E 240 N                                                                                    ANDERSON          IN    46012‐9205
EILEEN HENRY & DAVID M HENRY JT TEN               52705 CREEKSIDE DR                                                                              CHESTERFIELD      MI    48047‐5939
EILEEN HIGGINS                                    562 CENTRAL AVENUE                                                                              RIVERVALE         NJ    07675‐5573
EILEEN HILL HAGIE & CANDACE MATOS JT TEN          744 NW SPRUCE RIDGE DRIVE                                                                       STUART            FL    34994
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EILEEN I SULLIVAN                                  136 MORAN RD                                                                                    GROSSE POINTE     MI     48236‐3607
                                                                                                                                                   FRMS
EILEEN I WOLFE                                     1817 S RIVER RD                                                                                 JANESVILLE        WI     53546‐5677
EILEEN IDA HUDAK                                   7516 ELIZABETH CT                                                                               SWARTZ CREEK      MI     48473‐1468
EILEEN J BROWN                                     361 MANHATTAN ROAD S E                                                                          EAST GRAND RAPIDS MI     49506‐2018

EILEEN J DIXON                                     289 PINECREST DR                                                                                DELAWARE           OH    43015‐8289
EILEEN J HESLEP                                    PO BOX 675                                                                                      OWATONNA           MN    55060‐0675
EILEEN J LILE                                      16411 S 27TH AV                                                                                 PHOENIX            AZ    85045‐2299
EILEEN J MARON                                     2322 CUMBERLAND ROAD                                                                            LANSING            MI    48906
EILEEN J PALERMO                                   34 CLARIDGE CT N                                                                                PALM COAST         FL    32137‐8351
EILEEN J PAUL CUST DESTINY LEE HOGAN UGMA MA       219 GLASGOW ST #2                                                                               FALL RIVER         MA    02721

EILEEN J RAPP                                      1502 WHITEHALL DRIVE #305                                                                       FORT LAUDERDALE    FL    33324‐6605

EILEEN J STALLA                                    8900 S 51ST AVE                                                                                 OAK LAWN           IL    60453‐1306
EILEEN J WHITE                                     147 STATE PARK RD                                                                               TROUTMAN           NC    28166‐7616
EILEEN JOAN PAULOVICK CUST CARYN ANN PAULOVICK     5 MAPLE DRIVE                                                                                   COLTS NECK         NJ    07722‐1184
UGMA NY
EILEEN JONES                                       110 NW 91ST ST                                                                                  GAINESVILLE        FL    32607‐1324
EILEEN K AMENTLER                                  100 DALY BLVD APT 214                                                                           OCESNSIDE          NY    11572‐6002
EILEEN K ANDERSEN & BILLY L ANDERSEN JT TEN        5431 PINE TREE TRAIL                                                                            BRIGHTON           MI    48114‐9007
EILEEN K BETTS & THOMAS M KALIHER TR EILEEN K      1670 LAUREL #2                                                                                  ST PAUL            MN    55104‐6193
BETTS TR 3/8/72
EILEEN K JOHNS                                     335 NORTH 820 WEST                                                                              KOKOMO             IN    46901‐9534
EILEEN K MARTIN                                    583 ALBERT HORNING RD                                                                           ATWATER            OH    44201‐9788
EILEEN K ROBINSON                                  14198 WILLIAMSBURG ST                                                                           RIVERVIEW          MI    48193‐7603
EILEEN K WALTON                                    PO BOX 190                                                                                      HONEY BROOK        PA    19344‐0190
EILEEN KALTER                                      BOX 383                                                                                         SOUTH FALLSBURG    NY    12779‐0383

EILEEN KOVACS CUST EUGENE R KOVACS UTMA NJ         51 WOODBRIDGE AVE                                                                               SEWAREN            NJ    07077‐1336
EILEEN KOVACS CUST SARAH M KOVACS UTMA NJ          51 WOODBRIDGE AVE                                                                               SEWAREN            NJ    07077‐1336
EILEEN KOWALICK                                    73 W JOHNSTON ST                                                                                WASHINGTON         NJ    07882
EILEEN KRAYNAK                                     2214 HOLLY                                                                                      PORTAGE            MI    49024‐6703
EILEEN L ALEXANDER                                 7433 WOODBINE RD                                                                                WOODBINE           MD    21797‐8909
EILEEN L GRAVES                                    3979 FOREST PARK WAY                   APT 240                                                  N TONAWANDA        NY    14120‐3749
EILEEN L HIGGINS                                   632 DUQESNE TERRACE                                                                             UNION              NJ    07083‐9106
EILEEN L HOLLIDAY                                  ROUTE 2 BOX 538‐1                                                                               ELKINS             WV    26241‐9802
EILEEN L KOVIT                                     1525 WOODHURST AVE                                                                              MAYFIELD HEIGHTS   OH    44124‐3405

EILEEN L LANDRUM CUST LESLIE CAROL LANDRUM         513 REVERE CT                                                                                   HOCKESSIN          DE    19707
UGMA DE
EILEEN LYNCH                                       40 EASTWOOD LANE                                                                                SCARSDALE          NY    10583‐6402
EILEEN M ANDERSON & DENNIS L ANDERSON JT TEN       G‐7024 W POTTER RD                                                                              FLUSHING           MI    48433

EILEEN M BARAN                                     1231 MAPLE DRIVE                                                                                LORAIN             OH    44052‐2837
EILEEN M BAUER                                     35 ELM ST                                                                                       N ARLINGTON        NJ    07031‐6519
EILEEN M BAUER TR UA 05/05/93 THE CALVIN D BAUER   816 ERIE AVE                                                                                    CRYSTAL FALLS      MI    49920‐1113
IRREVOCABLE TRUST
EILEEN M BECKER                                    581 BABBLING BROOK LANE                                                                         VALLEY COTTAGE     NY    10989‐1503
EILEEN M BURNS                                     843 S E ST LUCIE BLVD                                                                           STUART             FL    34996‐1326
EILEEN M CASSIDY                                   108 OAK ST                                                                                      AVENEL             NJ    07001‐1845
EILEEN M CATHEY                                    215 OTTER LN                                                                                    BENTON             KY    42025‐6239
EILEEN M CAUPP                                     520 DAVID DR                                                                                    MIAMISBURG         OH    45342‐2620
EILEEN M CHENEY & DEBORAH L WILBURN JT TEN         617 N WATERLOO                                                                                  JACKSON            MI    49202‐3470
EILEEN M CHURCH                                    12624 AIRPORT RD                                                                                DEWITT             MI    48820‐9279
EILEEN M CLIPPERT                                  2152 WELCOME WAY                                                                                THE VILLAGES       FL    32162‐1247
EILEEN M COLLINS                                   485 ROCKINGHAM ST                                                                               ROCHESTER          NY    14620‐2517
EILEEN M CONRAD                                    1116 WELLINGTON CIR                                                                             LAURY'S STATION    PA    18059‐1130
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Name                                              Address1                                 Address2             Address3          Address4          City               State Zip

EILEEN M DIMONOSKI                                11436 CHESTER RD                                                                                  GARFIELD HEIGHTS   OH    44125‐3512

EILEEN M DORAN                                    933 FOREST AVENUE                                                                                 STATEN ISLAND      NY    10310‐2412
EILEEN M FARRELLY                                 16 WYNDHAM AVENUE                                                                                 PROVIDENCE         RI    02908‐3510
EILEEN M FLAHERTY                                 38 14 215TH STREET                                                                                BAYSIDE            NY    11361‐2128
EILEEN M GLAUZ                                    991 SUNSET HILLS N W                                                                              GRAND RAPIDS       MI    49544‐3639
EILEEN M GORMLEY                                  136 N VAN DIEN AVE                                                                                RIDGEWOOD          NJ    07450‐3436
EILEEN M GOSSETT & LAWRENCE F GOSSETT JT TEN      11433 LUCERNE                                                                                     REDFORD TWP        MI    48239‐2281

EILEEN M GRAETZ                                   183 NORWOOD AVENUE                                                                                BUFFALO            NY    14222‐1915
EILEEN M GREEN                                    P O BOX 3878                                                                                      CARMEL             IN    46082
EILEEN M HEALY                                    352 NEFF ROAD                                                                                     GROSSE POINTE      MI    48230‐1645
EILEEN M HENDERSON                                309 HOLLY DR                                                                                      SPARTANBURG        SC    29301
EILEEN M HOAGLAND                                 21 STONEY BROOK RD                                                                                SHERBORN           MA    01770‐1417
EILEEN M HOLBROOK                                 38037 CASTLE DR                                                                                   ROMULUS            MI    48174‐1015
EILEEN M KINEALY‐KROLL                            5733 GREENTON WAY                                                                                 SAINT LOUIS        MO    63128‐4421
EILEEN M LANGLOIS                                 W200S7770 PROSPECT DR                                                                             MUSKEGO            WI    53150‐8254
EILEEN M MALONEY CUST ADAM MICHAEL MALONEY        2738 RENSSELAER ST                                                                                SPRINGFIELD        OH    45503‐1235
UTMA OH
EILEEN M MC GUINN                                 521 LAWRENCE RD                                                                                   HAVERTOWN          PA    19083‐2114
EILEEN M MCCREESH                                 2807 BARCELLS AVE                                                                                 SANTA CLARA        CA    95051‐5601
EILEEN M MCGOWAN                                  2705 ANTIGUA COURT                                                                                THOMPSON           TN    37179‐5016
                                                                                                                                                    STATION
EILEEN M MENZIES                                  PO BOX 179                                                                                        JAMUL              CA    91935‐0179
EILEEN M MERRILL                                  23463 ODOM DR                                                                                     HAYWARD            CA    94541‐7205
EILEEN M MILLBURG TR EILEEN M MILLBURG            THE OAKS P.O. BOX 9005                                                                            ORANGEBURG         SC    29116
REVOCABLE TRUST UA 12/8/04
EILEEN M MILLER‐FIELD                             6 TILLMAN LN                                                                                      BREWSTER           NY    10509
EILEEN M MURTAUGH & MATTHEW F MURTAUGH JT         3935 STANTON                                                                                      LAKE ORION         MI    48362‐1056
TEN
EILEEN M NELLES TR EILEEN M NELLES REVOCABLE      3544 BAYBROOK                                                                                     WATERFORD          MI    48329‐3900
LIVING TRUST UA 01/22/98
EILEEN M NEUHARDT TR ALVIN F NEUHARDT LIVING      9091 S FOREST HILL RT 2                                                                           DEWITT             MI    48820‐8099
TRUST UA 04/25/02
EILEEN M O'HARA TR UA 05/13/92 MADE BY EILEEN M   10960 STAFFORD CIR S                                                                              BOYNTON BEACH      FL    33436‐4843
O'HARA
EILEEN M OLMSTEAD                                 1 4 ACORN LANE                                                                                    YORKTOWN HTS       NY    10598‐5329
EILEEN M PODRAZA                                  5627 N MANGO                                                                                      CHICAGO            IL    60646‐6330
EILEEN M POPPLETON                                112 CLARK AVENUE                                                                                  SANTA CRUZ         CA    95060‐6402
EILEEN M READ                                     7021 LANDOVER BLVD                                                                                SPRING HILL        FL    34608‐1320
EILEEN M RIPPEY                                   11765 WEST AVE #339                                                                               SAN ANTONIO        TX    78216‐2559
EILEEN M ROBERTS                                  PO BOX 533                                                                                        MOORHEAD           MN    56561‐0533
EILEEN M ROSINSKY                                 1874 CUSTOM VILLAGE DR                                                                            MERRICK            NY    11566‐2006
EILEEN M RYAN                                     17 EDMOND DR                                                                                      WARWICK            RI    02886‐8519
EILEEN M SCHLEMM & WILLIAM R SCHLEMM JT TEN       20 HECKELMANN STREET                                                                              UNION BEACH        NJ    07735‐3011

EILEEN M SINGLETON TOD KEVIN L SINGLETON SUBJECT 66 CANTERBURY ST                                                                                   HINGHAM            MA    02043‐1406
TO STA TOD RULES
EILEEN M SPENCER                                 2701 CALIFORNIA AVE                                                                                DAYTON          OH       45419‐1913
EILEEN M SWEZEY                                  143 HARDING ST                                                                                     MASSAPEQUA PARK NY       11762‐2044

EILEEN M WALKER                                   7000 SY ROAD                                                                                      NIAGARA FALLS      NY    14304
EILEEN M WILLEFORD                                4010 JAKES COLONY ROAD                                                                            SEGUIN             TX    78155‐0523
EILEEN MALLON                                     3622 VISTA GRANDE NW                                                                              ALBUQUERQUE        NM    87120‐1144
EILEEN MARIE JURKOVICH                            522 ALMER APT 3                                                                                   BURLINGAME         CA    94010‐3937
EILEEN MARIE KILBOURN                             1263 RIVER FOREST DRIVE                                                                           SAGINAW            MI    48603‐5934
EILEEN MARILEN KLIMA                              2915 G STREET                                                                                     EUREKA             CA    95501‐4437
EILEEN MARTELLI CUST JESSICA KUJALA UTMA VA       1012 CAROLINE STREET                                                                              WINCHESTER         VA    22601‐3317
EILEEN MARTELLI CUST NATALIE KUJALA UTMA VA       1012 CAROLINE STREET                                                                              WINCHESTER         VA    22601‐3317
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EILEEN MARTELLI CUST NICHOLAS KUJALA UTMA VA      1012 CAROLINE STREET                                                                            WINCHESTER       VA    22601‐3317

EILEEN MARY HELSON                                WESLEY ROBINS RETRMNT VILLAGE          242 N FIRST AVE      WELLAND ON        L3C 7J2 CANADA
EILEEN MARY KELLY                                 95 PINEWOOD AVE                                                                                 ALBANY           NY    12208‐2718
EILEEN MCANDREW                                   65 IDOLSTONE LANE                                                                               ABERDEEN         NJ    07747‐1754
EILEEN MCFADDEN BARRON                            PO BOX 608                                                                                      LAVALLETTE       NJ    08735
EILEEN MEAKIM                                     102 BEACH 219TH ST                                                                              BREEZY POINT     NY    11697‐1543
EILEEN METKIFF                                    165 COUNTRY RIDGE DR                                                                            PORT CHESTER     NY    10573‐1001
EILEEN MUNRO                                      387 APALACHEE DR                                                                                MAINEVILLE       OH    45039‐5067
EILEEN MURPHY                                     7834 WESTMORELAND AVE                                                                           BALTIMORE        MD    21234‐5420
EILEEN NARR DE HART                               69 8TH ST                                                                                       SALEM            NJ    08079‐1032
EILEEN NELSON                                     726 SCOTT DR                                                                                    MANSFIELD        OH    44906‐4003
EILEEN NICHOLS ZECH CUST VIRGINIA ANN ZECH UGMA   60 APPLEWOOD DRIVE                                                                              LODI             CA    95242‐8319
CA
EILEEN O COAN                                     502 PENNSYLVANIA AVE                                                                            SANDUSKY        OH     44870‐5785
EILEEN OBRIEN                                     42 MILLER DR                                                                                    STONY POINT     NY     10980‐1047
EILEEN OCONNOR & ROBERT L OCONNOR JT TEN          2705 W 24TH                                                                                     SIOUX FALLS     SD     57105‐1326
EILEEN P DONELAN                                  53 UNION PL                                                                                     LYNBROOK        NY     11563‐3340
EILEEN P MONAHAN                                  2995 INDEPENDENCE AVE                  APT 1L                                                   BRONX           NY     10463‐4642
EILEEN P SHELTON                                  1452 W HUMPHREY                                                                                 FLINT           MI     48505‐1029
EILEEN P SYKTICH                                  8552 CAMELOT DRIVE                                                                              CHESTERLAND     OH     44026‐3102
EILEEN PITCHERSKY                                 16 LUNDI CT                                                                                     SI              NY     10314‐6023
EILEEN QUINN                                      1022 KENT AVE                                                                                   CATONSVILLE     MD     21228‐1213
EILEEN R BELDEN                                   6372 ST RT 534 N W                                                                              WEST FARMINGTON OH     44491‐9788

EILEEN R DEMERS & JENNIFER E DEMERS JT TEN    48 MONTGOMERY ST                                                                                    LAWRENCE         MA    01841‐1228
EILEEN R DOBOL                                828 SUMMIT RIDGE DR                                                                                 BRIDGEWATER      NJ    08807‐1870
EILEEN R EACKER                               30 CENTER ST                                                                                        FORESTVILLE      NY    14062‐9507
EILEEN R EBERLE                               8043 STATE ROUTE 314                                                                                MANSFIELD        OH    44904‐9686
EILEEN R EMBACH CUST MAUREEN R EMBACH UGMA MI 359 SOUTH LAKE DRIVE                                                                                NOVI             MI    48377‐1950

EILEEN R HAMILTON                                 12194 BROADLEAF CT                                                                              WELLINGTON       FL    33414‐5636
EILEEN R NOLEN                                    109 SYDNOR RD                                                                                   SPARTANBURG      SC    29307‐2942
EILEEN R ST JOHN                                  27323 JEAN RD                                                                                   WARREN           MI    48093‐7506
EILEEN ROVIRA & WILLIAM P ROVIRA JT TEN           8103 N HOLLOW ST                       APT 318                                                  SAN ANTONIO      TX    78240
EILEEN RYDER                                      54 HILLPINE RD                                                                                  BUFFALO          NY    14227‐2258
EILEEN S POOLE                                    1604 CORTE VERANO                                                                               OCEANSIDE        CA    92056‐6933
EILEEN S WEST                                     8130 MILLERS FARM LN                   APT 138                                                  DAYTON           OH    45458‐7314
EILEEN SANDERS                                    1617 N CALISPEL ST                     # 203                                                    SPOKANE          WA    99205‐4819
EILEEN SCHULMAN COHEN                             2169 NW 140TH AV                                                                                PEMBROKE PINES   FL    33028‐2850
EILEEN SEIDLIN CUST DANNY SEIDLIN UTMA CA         7546 W 81ST ST                                                                                  PLAYA DEL REY    CA    90293‐8811
EILEEN SINCLAIR                                   86 ALEXANDER ST                        HOWICK               AUCKLAND          NEW ZEALAND
EILEEN SLANEC                                     14506 ROXBORO RD                                                                                CLEVELAND        OH    44111‐1331
EILEEN SLAY & ANTHONY SLAY JT TEN                 6543 CHIPPEWA ST                       # 315                                                    SAINT LOUIS      MO    63109‐4106
EILEEN SUMMERS                                    234 CHURCHILL ROAD                                                                              TURTLE CREEK     PA    15145‐1140
EILEEN SUZANNE HENDERSON                          16262 RUSHFORD ST                                                                               WHITTIER         CA    90603‐3155
EILEEN SWEARINGEN                                 9 PROSPECT ST                                                                                   MONROE           NY    10950‐3622
EILEEN SWEET                                      ATTN EILEEN M FISCHER                  1441 DARCY RD                                            MELVIN           MI    48454‐9781
EILEEN T BEEBE                                    1179 DOEBLET DR                                                                                 NORTH            NY    14120‐2838
                                                                                                                                                  TONAWANDA
EILEEN T BONO                                     ONE SANDY BROOK CIRCLE                                                                          ANDOVER          MA    01810‐5715
EILEEN T COOK                                     78 HILLTOP RD                                                                                   LEVITTOWN        NY    11756‐2214
EILEEN T COOK & EDWARD F COOK JT TEN              78 HILLTOP RD                                                                                   LEVITTOWN        NY    11756‐2214
EILEEN T COUGHLIN                                 11245 SW SPRINGTREE TER                                                                         PORT ST LUCIE    FL    34987‐2735
EILEEN T CUMMINGS                                 53 BEAR PATH LN                                                                                 HUDSON           NH    03051‐6402
EILEEN T DOYLE                                    2940 COKER DR                                                                                   KETTERING        OH    45440‐2129
EILEEN T MARKEY                                   4 PIZZULLO RD                                                                                   HAMILTON         NJ    08690‐3207
EILEEN T MASON                                    PO BOX 1275                                                                                     NORTH            NY    14120‐9275
                                                                                                                                                  TONAWANDA
                                                  09-50026-mg            Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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EILEEN T TUCKER‐IRMEN & JAMES L IRMEN JT TEN    1968 QUAIL COVE DR                                                                               KALAMAZOO        MI    49009
EILEEN T WHITE                                  1825 SHAFTSBURY RD                                                                               DAYTON           OH    45406‐3911
EILEEN TERRELL                                  47050 VICTORIAN SQUARE N                                                                         CANTON           MI    48188
EILEEN THERESA MCCLOREY                         ATTN EILEEN T GAGE                      590 LAKE ANGELUS SHORES                                  LAKE ANGELUS     MI    48326
EILEEN THERESA PRICE                            238 N LEMEN ST                                                                                   FENTON           MI    48430‐1919
EILEEN TKACIK CUST MATTHEW JAMES TKACIK UTMA PA 5745 CRAWFORD DR                                                                                 BETHLEHEM        PA    18017‐8704

EILEEN TKACIK CUST PATRICK TKACIK UTMA PA          5745 CRAWFORD DR                                                                              BETHLEHEM        PA    18017‐8704
EILEEN V ALLISON                                   3370 WEST 144TH ST                                                                            ROSEMOUNT        MN    55068‐4028
EILEEN V MONCMAN                                   2946 PHILLIPS                                                                                 BERKLEY          MI    48072‐1108
EILEEN VALENTI TR EILEEN VALENTI FAM TRUST UA      34 WEST 2ND ST                                                                                DEER PARK        NY    11729‐4206
05/30/01
EILEEN VIOLA                                       83 CUSTER AVENUE                                                                              WILLISTON PARK   NY    11596‐2302
EILEEN W FERKO                                     1105 PARK AVE                                                                                 GIRARD           OH    44420‐1803
EILEEN W REYNOLDS                                  HERITAGE VILLAGE                     913 PARK DRIVE                                           SEAFORD          DE    19973‐4254
EILEEN WISOR                                       3828 ANGELTON CT                                                                              BURTONSVILLE     MD    20866‐2061
EILEEN WORK SMILEY                                 400 4TH AVE                                                                                   BEAVER FALLS     PA    15010‐3210
EILEEN Y YOUNG                                     7201 HARNEY AVENUE                                                                            ST LOUIS         MO    63136‐1257
EILEEN ZELLER                                      777 MACE AVE APT 2D                                                                           BRONX            NY    10467‐9118
EILENE E NIELSEN                                   9674 MOSS R D                        RT 1 BOX 181                                             FOWLER           MI    48835‐9801
EILENE F WALTER                                    220 COLUMBIA DR 9                                                                             CPE CANAVERAL    FL    32920‐3640
EILENE HUFF                                        300 BRIARBRANCH TERRACE                                                                       MATTESON         IL    60443‐2141
EILENE MARIE POOLE                                 3929 OLD YORK ROAD                                                                            MONKTON          MD    21111‐1831
EILENE R GAEDE TR EILENE R GAEDE TRUST UA 02/18/97 7631 W DEVON AVE                                                                              CHICAGO          IL    60631‐1537

EIOLET E HOLBROOK                                   PARK PLACE OF TURTLE RUN            3622 TERRAPIN LN          APT 1014                       CORAL SPRINGS    FL    33067‐3167
EIRA BRITT                                          1721 BARBARA DR                                                                              FLINT            MI    48504‐3619
EIREEN GERTRUDE CARSON                              P O DRAWER 1720                                                                              ARTESIA          NM    88211‐1720
EIRSEL SMITH                                        568 TURNER STREET                                                                            ELYRIA           OH    44035‐5334
EIRTHA M DATES                                      2302 W 18TH ST                                                                               ANDERSON         IN    46016‐3603
EIRTIS MCKAY                                        11337 BRIERHALL CIR                                                                          MARYLAND         MO    63043‐5002
                                                                                                                                                 HEIGHTS
EITHEL SMITH                                        943 BROWN RD                                                                                 MOSCOW           OH    45153‐9727
EKART BIEHLMAIER                                    IN DEN KELTERSWEIDEN 5              D 65428 RUESSELSHEIM                   GERMANY
EKATERINI MEIDANIS                                  1569 LONDON ST                                                                               LINCOLN PARK     MI    48146‐3521
EKATERINI VASSIL                                    809 MAPLE ST                                                                                 NEW SMYRNA       FL    32169
EKKEHARD S SCHUBERT                                 114 GREENSPRING RD                                                                           GREENVILLE       DE    19807‐2202
EKKEHARD S SCHUBERT & MRS INGE SCHUBERT JT TEN      114 GREENSPRING RD                                                                           GREENVILLE       DE    19807‐2202

EKONG T UKO                                         10010 LIMERICK AV                                                                            CHATSWORTH       CA    91311
EKS W POLLOCK                                       PO BOX 621                                                                                   EDMOND           OK    73083‐0621
EL LEA M PARKER & LISA ANNE FOX JT TEN              7437 WRIGHT ST                                                                               OMAHA            NE    68124‐3432
ELADIO V ARANDA                                     3U FERNWOOD DR                                                                               BOLINGBROOK      IL    60440‐2944
ELAIDA TERBUSH                                      5591 BERKLEY DRIVE                                                                           WATERFORD        MI    48327‐2708
ELAINE A BARTOLOZZI CUST THOMAS ADAM                1388 CAMBRIDGE CT                                                                            ATLANTA          GA    30319‐2535
BARTOLOZZI UGMA NJ
ELAINE A DEWART                                     104 DORADO AVENUE                                                                            SEWELL           NJ    08080‐1607
ELAINE A KENYON                                     38122 ROCKHILL RD                                                                            CLINTON TWSP     MI    48036‐1770
ELAINE A KORONIK                                    16 STALLION DR                                                                               NEWARK           DE    19713‐3570
ELAINE A KURLENDA                                   0‐855 LAKE MICHIGAN DR NW                                                                    GRAND RAPIDS     MI    49534‐3346
ELAINE A LAMONTAGNE                                 PO BOX 3354                                                                                  ENFIELD          CT    06083‐3354
ELAINE A NIVEN TOD DANIEL B NIVEN                   350 NORTH 190TH STREET              APT 518C                                                 SHORELINE        WA    98133‐3856
ELAINE A NOVY                                       306 FLORENCE CT                                                                              BAY VILLAGE      OH    44140‐1213
ELAINE A PARLIMAN                                   824 S WILLOW                                                                                 SIOUX FALLS      SD    57104‐4543
ELAINE A REIBELING & CHARLES A REIBELING JT TEN     75 20 60TH LANE                                                                              GLENDALE         NY    11385‐6121

ELAINE A REITER                                     7406 P TOMAC FALL LANE                                                                       BOYNTON BEACH    FL    33437
ELAINE A RENNER CUST KELLIE A RENNER UTMA OH        528 SO BARRON ST                                                                             EATON            OH    45320‐9335
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ELAINE A SHARP                                    105 ANN ST                                                                                     DOVER            NJ   07801‐4470
ELAINE A SWANSON                                  9401 SOUTH 47TH ST                                                                             PHOENIX          AZ   85044‐7505
ELAINE A TRUSAS                                   2355 CHESTNUT STREET                                                                           REDDING          CA   96001‐3023
ELAINE A WINTERS                                  1322 CHEYENNE DR                                                                               RICHARDSON       TX   75080‐3705
ELAINE ANN BORDOVSKY                              8045 COUNTRY CLUB LANE                                                                         NORTH RIVERSIDE IL    60546‐1516
ELAINE ANN WILSON                                 ATT ELAINE ANN ANDERSON               429 LYON COURT                                           SOUTH LYON       MI   48178‐1239
ELAINE ANSBRO                                     17 ROCHELLE RD                                                                                 LAKE CARMEL      NY   10512‐6118
ELAINE ASHFORD MAMAKOS                            32700 LEVER ST NE                                                                              CAMBRIDGE        MN   55008‐4121
ELAINE B BROWN                                    2412 BEAUFORT AVE                                                                              TOLEDO           OH   43613‐4914
ELAINE B BUCHOLTZ                                 6480 ASBURY PARK                                                                               DETROIT          MI   48228‐5201
ELAINE B KAPLAN                                   7031 ISLEGROVE PLACE                                                                           BOCA RATON       FL   33433‐7462
ELAINE B MARTINDALE                               153 LAUDER AVE N W                                                                             WARREN           OH   44483‐1434
ELAINE B ROMMEL                                   1440 SOMONAUK ST                      APT 225                                                  SYCAMORE         IL   60178‐2929
ELAINE B SEEREITER                                4732 LAFAYE ST                                                                                 NEW ORLEANS      LA   70122‐6136
ELAINE B SMITH                                    5334 CLAXTON STREET                                                                            TOLEDO           OH   43615‐2828
ELAINE B WALLER                                   C/O WILBER G VANSCOIK                 950 COLLEGE HILL DR                                      CLEARWATER       FL   33765‐2312
ELAINE B WHELAN                                   6 ABRAMS CT                                                                                    SOMERSET         NJ   08873‐7322
ELAINE BARESICH                                   996 BRAINARD ROAD                                                                              HIGHLAND HEIGHTS OH   44143‐3108

ELAINE BARTLETT EX UW SEWARD J SHARP              2 LINDEN LANE                                                                                  CINCINNATI      OH    45215‐4208
ELAINE BELFUS                                     85 CAMBRIDGE RD                                                                                BROOMALL        PA    19008‐3305
ELAINE BEPKO                                      5018 N LEAVITT ST                                                                              CHICAGO         IL    60625‐1827
ELAINE BERKEBILE FACKA                            1500 WINDING WAY                                                                               RICHMOND        VA    23235‐4542
ELAINE BILLETS                                    2308 HARDIN RIDGE DR                                                                           HENDERSON       NV    89052‐7038
ELAINE BLAUT                                      127 MAIL RD                                                                                    BARRYVILLE      NY    12719‐5416
ELAINE BROCK                                      105 NORWOOD AVE                                                                                N PLAINFIELD    NJ    07060‐4317
ELAINE BROCK TR UA 10/27/93 ELAINE BROCK LIVING   OCEAN HOUSE                           2107 OCEAN AVENUE #408                                   SANTA MONICA    CA    90405‐2265
TRUST
ELAINE BROWN TR THE BROWN TRUST UA 08/05/91       1424 PAR CT                                                                                    LINDEN          MI    48451‐9403

ELAINE C BASKERVILLE TR ELAINE C BASKERVILLE FAMILY 206 HARPER DR                                                                                ORANGE          VA    22960‐1408
TRUST UA 12/01/05
ELAINE C FORREST TR ELAINE C FORREST LIVING TRUST 1419 BONNIE BRAE                                                                               RIVER FOREST    IL    60305‐1271
UA 9/1/99
ELAINE C HALL                                       11 PARTRIDGEBERRY LANE                                                                       KEENE           NH    03431‐2125
ELAINE C HART                                       608 DRURY CT                                                                                 FLUSHING        MI    48433‐1472
ELAINE C KELLY & RUSSELL C KELLY JT TEN             15010 TETHERCLIFT ST                                                                         DAVIE           FL    33331‐2907
ELAINE C LUTHER                                     5876 OLYMPIC PKWY                                                                            WATERFORD       MI    48329‐1545
ELAINE C LUTHER & DOUGLAS S LUTHER JT TEN           BOX 246                                                                                      EAST HARDWICK   VT    05836
ELAINE C LUTHER & DOUGLAS S LUTHER JT TEN           255 MOUNTAIN VIEW ROAD                                                                       EAST HARDWICK   VT    05836‐9863
ELAINE C MCNAMARA                                   816 ST VINCENT ST                                                                            PHILADELPHIA    PA    19111‐4133
ELAINE C SPEAR TR ELAINE C SPEAR LIVING TRUST UA    3601 S ADAMS RD                     APT 102                                                  ROCHESTER HLS   MI    48309‐5003
04/07/98
ELAINE C YARGER                                     901 SAVAGE RD                                                                                CHURCHVILLE     NY    14428‐9719
ELAINE CANINA CUST EMILY ROSE CANINA UTMA MA        22 HARTLEY RD                                                                                BELMONT         MA    02478‐3823

ELAINE CANTRELL                                   403 NEWPORT CT                                                                                 FORDS           NJ    08863‐1472
ELAINE CARDINALI                                  25244 RUBIN                                                                                    WARREN          MI    48089‐4657
ELAINE CAREY                                      2054 LAKEWOOD DR APT C                                                                         DAYTON          OH    45420‐2066
ELAINE CARLSON                                    21111 W BRAXTON LN                                                                             PLAINFIELD      IL    60544‐7659
ELAINE CATERINI                                   136 E HAND AVE                                                                                 WILDWOOD        NJ    08260‐4541
ELAINE CERBONE CUST MARY J CERBONE UGMA NY        78 SMITH AVE                                                                                   MOUNT KISCO     NY    10549‐2816

ELAINE CHAHULSKI                                  769 HOOVER RD                                                                                  MANSFIELD       OH    44905‐1307
ELAINE CHAMBLESS                                  114 N EAST ST                                                                                  PENDLETON       IN    46064‐1004
ELAINE CHAPMAN & NELSON B CHAPMAN JT TEN          80 MARK TWAIN LN                                                                               ROTONDA WEST    FL    33947‐2139
ELAINE CHURCH & RAMON CHURCH JT TEN               923 W CHISOLM                                                                                  ALPENA          MI    49707‐1719
ELAINE COCORDAS                                   120 96TH ST APT 3B                                                                             BROOKLYN        NY    11209‐7517
ELAINE CODY                                       101 HIGH TRAIL DR                                                                              GEORGETOWN      TX    78633
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ELAINE COLE                                     6951 ARDSLEY DR                                                                                 CANTON          MI    48187‐3000
ELAINE COLEMAN                                  752 POMANDER WALK                                                                               TEANECK         NJ    07666‐1615
ELAINE CROSS                                    4014 N RIVERVIEW DR                                                                             MC HENRY        IL    60050‐8984
ELAINE D BILL                                   260 EAST ST                                                                                     SEBEWAING       MI    48759‐9704
ELAINE D FLEMING                                1217 NEW STREET                                                                                 WILMINGTON      DE    19808‐5819
ELAINE D FLYNN                                  946 IONIA AVE                                                                                   SI              NY    10309‐2206
ELAINE D GREGORY & ROY E SHUTE JT TEN           7160 AUGUSTA BLVD                                                                               SEMINOLE        FL    33777‐4530
ELAINE D HOULE & MARILYN K FEDRAW JT TEN        3865 8TH LANE                                                                                   VERO BEACH      FL    32960‐6131
ELAINE D HULET                                  403 S SAGINAW ST                                                                                HOLLY           MI    48442‐1617
ELAINE D LOCH                                   9141 WOODRIDGE DR                                                                               DAVISON         MI    48423‐8392
ELAINE D PRUITT                                 540 HILL STREET                                                                                 BUFORD          GA    30518
ELAINE D ZYLINSKI                               1233 MESA JUNCTION DR SW                                                                        BYRON CENTER    MI    49315‐8074
ELAINE DONNER BIRD                              4582 BERRY RD                                                                                   FREDONIA        NY    14063‐1547
ELAINE DORMAN LEVINESS                          26883 MOUNT VERNON RD                                                                           PRINCESS ANNE   MD    21853‐3523
ELAINE DRAKE                                    315 SEATON AVE                                                                                  ROSELLE PARK    NJ    07204‐1515
ELAINE E BLOOMFIELD                             15722 HEMLOCK DR                                                                                MACOMB          MI    48044‐3170
ELAINE E FOY                                    11242 S E 186TH                                                                                 RENTON          WA    98055
ELAINE E HAYDUK                                 507 LAKE SHORE LANE                                                                             GROSSE POINTE   MI    48236‐2400
                                                                                                                                                WOOD
ELAINE E KILAR                                 1239 BROADWAY P O 92                                                                             MASURY          OH    44438‐0092
ELAINE E MCCULLOCH & ROBERT C MCCULLOCH JT TEN 3760 ARBORWAY DR                                                                                 MUSKEGON        MI    49441‐4758

ELAINE E SMITH & ELDA L GREENOUGH JT TEN        1639 RUMBLE CREEK RD                                                                            CONDON          MT    59826‐9022
ELAINE E SUMNER                                 9 CRAVEN CT                                                                                     TAUNTON         MA    02780
ELAINE E WESOLOWSKI                             6034 E CALICO LN                                                                                INVERNESS       FL    34452‐7075
ELAINE E YORDAN & ROBERT A YORDAN JT TEN        2 RIVERDALE DRIVE                                                                               CROMWELL        CT    06416
ELAINE EHRLICH                                  12102 METCALF CIRCLE                                                                            FAIRFAX         VA    22030‐6240
ELAINE EISBRENER                                3615 S 56TH CT                                                                                  CICERO          IL    60804‐4310
ELAINE ELLIOTT                                  463 BROWN SADDLE RD                                                                             HOUSTON         TX    77057‐1411
ELAINE ELLIOTT COLLINS                          1158 MAPIMI CT                                                                                  WINTER SPGS     FL    32708‐4844
ELAINE EUGENA WILSON TR ELAINE EUGENA WILSON    PO BOX 430                                                                                      BETHANY         MO    64424‐0430
TRUST UA 06/07/94
ELAINE F ABRAHAMSON CUST BRUCE M ABRAHAMSON     #8510                                  175 E DELAWARE PL                                        CHICAGO         IL    60611‐7750
U/THE IND U‐G‐M‐A
ELAINE F BOURQUE                                140 LAKEWOOD DR                                                                                 AVON LAKE       OH    44012‐1940
ELAINE F ETCHISON                               38623 CHERRY LANE 152                                                                           FREMONT         CA    94536‐4234
ELAINE F FISHER                                 439 W 8TH ST                                                                                    CLAREMONT       CA    91711‐4209
ELAINE F GOLDBERG                               307 PENBREE TERRACE                                                                             BALA CYNWYD     PA    19004‐2333
ELAINE F HENDERSON                              127 HANOVER ST                                                                                  MARINE CITY     MI    48039‐3575
ELAINE F HENDERSON & PAUL F HENDERSON JT TEN    127 HANOVER ST                                                                                  MARINE CITY     MI    48039‐3575

ELAINE F HENDERSON & STEVEN M HENDERSON JT TEN 127 HANOVER ST                                                                                   MARINE CITY     MI    48039‐3575

ELAINE F HILEMAN                                2239 WOODWARD AVE                                                                               LAKEWOOD        OH    44107‐5734
ELAINE F KRTIL                                  1297 FIRST AVE                                                                                  NEW YORK        NY    10021‐5503
ELAINE F WATTS                                  4041 HORIZON DR                                                                                 DAVISON         MI    48423
ELAINE F WIZNER                                 1061 HUNTER RD                                                                                  DOUGLASVILLE    GA    30134‐4603
ELAINE FASS                                     16 HAYPATH RD                                                                                   BETHPAGE        NY    11714
ELAINE FELDERMAN                                8302 OLD YORK RD B36                                                                            ELKINS PRK      PA    19027‐1548
ELAINE FERN CHISSUS                             6798 W BERRIGAN CT                                                                              HOMOSASSA       FL    34446‐1832
ELAINE FISCHHOFF                                2536 WINDBREAK LN                                                                               LANSING         MI    48910‐1926
ELAINE FITTON SCHISSLER                         707 LAMBERTS MILL RD                                                                            WESTFIELD       NJ    07090‐4735
ELAINE FORNUTO                                  326 MARINA VIEW LANE                                                                            WEBSTER         NY    14580‐1756
ELAINE FRANCES BOSHKO                           203 WASHINGTON RD                                                                               SAYREVILLE      NJ    08872‐1823
ELAINE FREEDMAN                                 UNIT 8 540 HAVERFORD RD                                                                         WYNNEWOOD       PA    19096‐2634
ELAINE G ARNESON TR ELAINE G ARNESON TRUST UA   1075 FULTON AVE                        APT 251                                                  SACRAMENTA      CA    95825‐4281
02/27/96
ELAINE G KLENK                                  2540 BOTELLO AVE                                                                                THE VILLAGES    FL    32162
ELAINE G KOHLMAN                                19119 SPOTSWOOD TRAIL                                                                           ELKTON          VA    22827‐3913
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Name                                           Address1                                Address2             Address3          Address4          City               State Zip

ELAINE G KOVAR                                 5369 PIERCE RD N W                                                                               WARREN            OH     44481‐9377
ELAINE G MICHAEL                                                                                                                                AKRON             IA     51001
ELAINE G MILLER                                16500 BADEN NAYLOR RD                                                                            BRANDYWINE        MD     20613‐8513
ELAINE G PUBAL                                 121 MARWYCK PLACE LANE                                                                           NORTHFIELD        OH     44067‐2790
                                                                                                                                                CENTER
ELAINE G TOWNSEND                              PO BOX 5                                                                                         WEST BUXTON       ME     04093‐0005
ELAINE GARNER                                  2950 JONATHAN LN                                                                                 SHREVEPORT        LA     71108‐5534
ELAINE GOODMAN                                 3303 BONNIE RD                                                                                   BALTIMORE         MD     21208‐5607
ELAINE GREENSTONE                              3616 YUMA ST NW                                                                                  WASHINGTON        DC     20008‐4230
ELAINE GREGG                                   184 CENTRAL AVE                                                                                  ENGLEWOOD         NJ     07631
ELAINE GRIFFITH KULA                           60 CHERRY HOLLOW                                                                                 NASHUA            NH     03062‐2237
ELAINE GRULKOWSKI                              332 SULLIVAN RD                                                                                  ALDEN             NY     14004‐8814
ELAINE GRUNWALD MOSKOWITZ                      1551 CHRISTMAS RUN                                                                               WOOSTER           OH     44691‐1503
ELAINE H BALES                                 9822 FERNWOOD RD                                                                                 BETHESDA          MD     20817‐1576
ELAINE H BALLENGER                             5550 EL JARDIN ST                                                                                LONG BEACH        CA     90815‐4116
ELAINE H BOHN                                  1012 6TH AVE N                                                                                   JACKSONVILLE BEAC FL     32250‐3514

ELAINE H BROWN                                 21745 WOODLAND CREST DR                                                                          WOODLAND HILLS     CA    91364‐5249

ELAINE H DUNK                                  17375 LATHERS ST                                                                                 LIVONIA            MI    48152‐3780
ELAINE H GROSSMANN                             38 UNION ST                                                                                      BRISTOL            CT    06010‐6532
ELAINE H HLAING & HTAY HLAING JT TEN           PO BOX 835                                                                                       NORTHVILLE         NY    12134‐0835
ELAINE H JALACE                                3415 E 150 N                                                                                     ANDERSON           IN    46012‐9747
ELAINE H KOEN                                  34 CHESTNUT ST                                                                                   DANVERS            MA    01923‐2256
ELAINE H SPEZIALE                              2964 WHISPERING PINES                                                                            CANFIELD           OH    44406‐9628
ELAINE H WILDE CUST JOHN F WILDE UTMA GA       3220 WATERS MILL DR                                                                              ALPHARETTA         GA    30022‐4490
ELAINE H WILLIAMS                              51 FOXDEN RD                                                                                     NEWARK             DE    19711‐4201
ELAINE HAINSWORTH                              2999 EAST VERMONT                                                                                GILBERT            AZ    85297‐6463
ELAINE HEARN                                   158 LASALLE AV                                                                                   BUFFALO            NY    14214‐1417
ELAINE HERRICK CUST RYAN WAGNER UTMA NJ        12510 LAKE JOVITA BLVD                                                                           DADE CITY          FL    33525‐8227
ELAINE HERZOG                                  251 STANDISH RD                                                                                  MERION             PA    19066‐1133
ELAINE HOFFMAN & FRED HOFFMAN JT TEN           15275 COLLIER BLVD                      201/204                                                  NAPLES             FL    34119
ELAINE HUTCHINS                                8150 E KIVA AVE                                                                                  MESA               AZ    85208‐5136
ELAINE HUTCHINS BRADLEY                        4335 BUENA VISTA RD                                                                              PRINCE FREDERICK   MD    20678‐3513

ELAINE I BOMMARITO & NORMAN BOMMARITO &            247 CRANBERRY BEACH BLVD                                                                     WHITE LAKE         MI    48386‐1940
MICHAEL PEABODY JT TEN
ELAINE I DAVIS                                     5742 BAYOU GLEN                                                                              HOUSTON            TX    77057‐1402
ELAINE I DISPENZA                                  4223 BANDURY DR                                                                              ORION              MI    48359‐1883
ELAINE I EICH                                      461 HEDGE RD                                                                                 PAW PAW            IL    61353‐9767
ELAINE I GRAHAM                                    5201 PARKSIDE DR #1                                                                          PADUCAH            KY    42001
ELAINE I JASEK                                     331 N MEADOW DR                                                                              MANNING            SC    29102‐2415
ELAINE J ALKIN                                     PO BOX 156                                                                                   SALINE             MI    48176‐0156
ELAINE J BERNDT                                    236 W ADAMS AVE                                                                              SAINT LOUIS        MO    63122‐4002
ELAINE J BOGART                                    5216 TULIP AVENUE                                                                            LANSING            MI    48911‐3764
ELAINE J GLAZE                                     970 W GROVE                                                                                  BRADLEY            IL    60915‐1530
ELAINE J HARRY                                     1972 MAHAN DENMAN ROAD NW                                                                    BRISTOLVILLE       OH    44402‐9741
ELAINE J LESSMAN                                   5649 HEATHERDALE DR                                                                          LOS ANGELES        CA    90043‐2711
ELAINE J MAY                                       1125 N MIDWAY                                                                                CLINTON            MS    39056‐9782
ELAINE J MIX                                       1412 DEL WEBB BLVD W                                                                         SUN CITY CTR       FL    33573‐5226
ELAINE J NELSON                                    600 W WALTON BLVD APT 152                                                                    PONTIAC            MI    48340
ELAINE J OBREZA                                    1377 LAKESHORE RD                   UNIT 405             BURLINGTON ON     L7S 1B1 CANADA
ELAINE J PANICH TR ELAINE J PANICH REVOCABLE TRUST 10176 SUGAR CREEK DR                                                                         PENSACOL           FL    32514‐1686
UA 08/20/98
ELAINE J POSTEMA                                   1810 COVINGTON                                                                               ANN ARBOR          MI    48103‐5641
ELAINE J SCHILLING TOD GEORG A SCHILLING SUBJECT 3735 HATCHERS CIRCLE                                                                           STOCKTON           CA    95219‐3129
TO STA TOD RULES
ELAINE J SEIBOLD                                   4131 N SMITH RD                                                                              DIMONDALE          MI    48821‐9702
ELAINE J SWEATLAND                                 1 ELSIE ST                                                                                   ROME               NY    13440‐2556
                                                 09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                              Address2             Address3          Address4          City               State Zip

ELAINE J WILLIAMS                                  2946 BLACKMORE RD                                                                              MAYVILLE           MI    48744
ELAINE JOHNSON                                     1098 REDAN WAY                                                                                 STONE MOUNTAIN     GA    30088‐2502

ELAINE JOHNSTON TR UA 07/28/94 ELAINE JOHNSTON     555 NEWBURNE POINT                                                                             BLOOMFIELD HILLS   MI    48304‐1411
TRUST
ELAINE JULIAN                                      61 SOUTHERN PINE CIR                                                                           ROCHESTER          NY    14612‐2865
ELAINE K BIRRELL                                   8844 ALTURA DR NE                                                                              WARREN             OH    44484‐1728
ELAINE K BOGAN                                     7 OAK POST RD                                                                                  WENTZVILLE         MO    63385‐5419
ELAINE K BRISTOL & STEPHEN E BRISTOL JT TEN        17 CARRIAGE DR                                                                                 ENFIELD            CT    06082‐5658
ELAINE K CARR                                      3422 70TH AVE E                                                                                ELLENTON           FL    34222
ELAINE K COVELL                                    999 KAM CT                                                                                     FOWLERVILLE        MI    48836‐8218
ELAINE K DIEGMANN & RONALD DIEGMANN JT TEN         1220 INMAN AVE                                                                                 EDISON             NJ    08820‐1130

ELAINE K GERMADNIK                                 6319 CHESTNUT RIDGE ROAD                                                                       HUBBARD            OH    44425‐2819
ELAINE K MULLER                                    3 HICKORY RD                                                                                   DENVILLE           NJ    07834‐9315
ELAINE K PAXTON & CECIL PAXTON JT TEN              5500 W IOWA AVE                                                                                LAKEWOOD           CO    80232‐7240
ELAINE KELLY MCGUIRE                               22 SHAGWONG DR                                                                                 SOUND BEACH        NY    11789
ELAINE KENNEY                                      39 KIWANEE RD                                                                                  WARWICK            RI    02888‐3451
ELAINE KENNY                                       PO BOX 26436                                                                                   ROCHESTER          NY    14626‐0436
ELAINE KIMBALL PORTER                              1609 MORNINGSIDE COURT                                                                         KANNAPOLIS         NC    28081
ELAINE L GLANTZ TR UA 03/06/86 ELAINE L GLANTZ     11201 TUREEN DR                                                                                ST LOUIS           MO    63141‐7649

ELAINE L LOMBARDO                                  318 N SAGE ST                                                                                  PEARCE             AZ    85625‐4009
ELAINE L MAHNKEN                                   20 DOGWOOD HILL RD                                                                             UPPER SADDLE RIV   NJ    07458‐2207

ELAINE L MINTZ                                       1840 PLOVER ST                                                                               NEW ORLEANS        LA    70129
ELAINE L MOLONEY                                     37739 LADYWOOD DRIVE                                                                         LIVONIA            MI    48154‐1454
ELAINE L PARKER                                      3026 N TACOMA AVE                                                                            INDIANAPOLIS       IN    46218‐2036
ELAINE L RITTER                                      140 E JEWELL ST                                                                              OAK CREEK          WI    53154‐1109
ELAINE L SONDEREGGER                                 451 PINE TREE DR                                                                             ORANGE             CT    06477
ELAINE L STETLER TR UA 12/01/92 THE ELAINE L STETLER 8831 E COPPER DR                                                                             SUN LAKE           AZ    85248‐0879
INCOME TRUST
ELAINE L TANN                                        3034 SUNDERLAND                                                                              LANSING            MI    48911‐1569
ELAINE L WEIDEL                                      2 LOUELLEN ST                                                                                HOPEWELL           NJ    08525‐1605
ELAINE LEE                                           4212 S GRAND TRAVERSE                                                                        FLINT              MI    48507‐2502
ELAINE LERNER                                        1422 SOM CENTER RD APT 103                                                                   CLEVELAND          OH    44124‐2119
ELAINE LUBARR DOBIN                                  4555 ADAMS AVE                                                                               MIAMI BEACH        FL    33140‐2931
ELAINE M BERTOLASIO                                  3903 DEVON DR SE                                                                             WARREN             OH    44484‐2633
ELAINE M BLOEMER                                     5846 N ROCKWELL ST                                                                           CHICAGO            IL    60659‐4902
ELAINE M BONARE                                      3986 SHELDON ROAD                                                                            ORCHARD PARK       NY    14127
ELAINE M BOUSHELL                                    32 SANDYBROOK DR                                                                             LANGHORNE          PA    19047
ELAINE M BRECHTING                                   919 E ROSS AV                                                                                PHOENIX            AZ    85024‐4140
ELAINE M CARPENTER                                   42645 PRINCE DRIVE                                                                           STERLING HEIGHTS   MI    48313‐2465

ELAINE M CELLA                                     6152 W GUNNISON                                                                                CHICAGO            IL    60630‐2949
ELAINE M CHRISTOPHER                               674 NEW CHURCHMANS RD                                                                          NEWARK             DE    19702
ELAINE M CIHONSKI                                  6063 REGENT DRIVE                                                                              HARRISBURG         PA    17112
ELAINE M COBLE                                     3706 SANDBERRY DR                                                                              WAXHAWS            NC    28173‐8986
ELAINE M CUSSANS & DONALD RUST JT TEN              2133 FOX HILL DR                      APT 4                                                    GRAND BLANC        MI    48439‐5227
ELAINE M DACEY                                     14 BRADFORD DR                                                                                 CHESHIRE           CT    06410‐3520
ELAINE M DEMPSEY                                   3735 E SAHUARO DR                                                                              PHOENIX            AZ    85028‐3450
ELAINE M FISCHER                                   82 HOMESTEAD RD                                                                                SCARSDALE          NY    10583‐5837
ELAINE M FRANK & ROBERT L FRANK JT TEN             6149 HAMPTON RIDGE RD                                                                          COLUMBIA           SC    29209
ELAINE M FRAZIER                                   2670 CARTER ST                                                                                 DETROIT            MI    48206‐2124
ELAINE M FUELLING TR ELAINE M FUELLING LIVING      11611 BARRINGTON BLVD                                                                          CLEVELAND          OH    44130‐4251
TRUST UA 05/19/93
ELAINE M GILBERTSON                                220 ESSEX ST                                                                                   LYNNFIELD          MA    01940‐1205
ELAINE M GRACCHI                                   3014 FLEET ST                                                                                  BROOKSVILLE        FL    34601‐8312
ELAINE M HOLECEK                                   PO BOX 21                                                                                      RONKONKOMA         NY    11779‐0021
                                             09-50026-mg               Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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ELAINE M HONART CUST CHARLES M HONART UGMA NJ 16 SPRING HOLLOW RD                                                                              RADNOR         PA    19087‐2814

ELAINE M HOOVER                                  633 CANRIGHT NE                                                                               GRAND RAPIDS   MI    49525‐2115
ELAINE M KALTZ                                   17451 N LAUREL PARK DR #106                                                                   LIVONIA        MI    48152‐3914
ELAINE M KREJSA                                  244 WALTHERY AVE                                                                              RIDGEWOOD      NJ    07450
ELAINE M KREMPASKY                               1936 CLERMONT N E                                                                             WARREN         OH    44483‐3524
ELAINE M KRUZEL                                  144 KENTON ST                                                                                 GRAND RAPIDS   MI    49548‐7723
ELAINE M KUZNIK & RUDOLPH R KUZNIK JT TEN        1790 EAST 227TH STREET                                                                        EUCLID         OH    44117‐2006
ELAINE M LANGENDERFER                            109 JOY RD                                                                                    ADRIAN         MI    49221‐1214
ELAINE M LITZELMAN                               99 ADAMS AVE                                                                                  JOHNSON CITY   NY    13790‐2930
ELAINE M MACDONALD                               9612 LINDENBROOK ST                                                                           FAIRFAX        VA    22031‐1121
ELAINE M MACLELLAN                               33 INDIAN FIELD CT                                                                            MAHWAH         NJ    07430‐2243
ELAINE M MARKUSIC                                ATTN ELAINE M MURAR                  1322 SHARONBROOK DR                                      TWINSBURG      OH    44087‐2756
ELAINE M MASON                                   1404 MONTGOMERY                                                                               EATON RAPIDS   MI    48827‐1927
ELAINE M MILLSAP                                 4875 SCHNEIDER                                                                                SAGINAW        MI    48603‐4546
ELAINE M MUSCOTT & ERNEST C MUSCOTT TR UA        3302 DELEVAN DR                                                                               SAGINAW        MI    48603‐1707
7/02/98
ELAINE M OWEN                                    15437 E OAK DRIVE NORTH                                                                       CHOCTAW        OK    73020‐7065
ELAINE M PARKER                                  4197 TURNBRIDGE DR                                                                            HOLT           MI    48842‐1858
ELAINE M PERKINS                                 225 E MARYLAND AVE WESTVIEW 3                                                                 NEWPORT        DE    19804
ELAINE M PERRY & ROGER B PERRY TR PERRY FAM      604 SCHOOL ST                                                                                 N DIGHTON      MA    02764‐1368
TRUST UA 07/14/94
ELAINE M PETIT                                   3733 WEST RIVER RD                                                                            GRAND ISLAND   NY    14072
ELAINE M PRITZLAFF & THOMAS A PRITZLAFF JT TEN   1560 FROMM DRIVE                                                                              SAGINAW        MI    48603‐4406

ELAINE M RUST & DONALD RUST JT TEN             4316 ASHLAWN DR                                                                                 FLINT          MI    48507‐5600
ELAINE M SALYER                                4333 LITTLE YORK RD                                                                             DAYTON         OH    45414‐2567
ELAINE M SCHAEFER                              25 GREAT OAK ROAD                                                                               MANHASSET      NY    11030‐3305
ELAINE M SCHWARTZ                              310 SO 69TH ST                                                                                  MILWAUKEE      WI    53214‐1612
ELAINE M SCRIBNER                              6465 US 131                                                                                     FIFE LAKE      MI    49633‐9013
ELAINE M SEARS                                 409 OAKLAND ST                                                                                  HOLLY          MI    48442‐1225
ELAINE M SIDLO CUST CHRISTINE MARIE MANNO UGMA 270 NEW BRAINTREE RD                                                                            W BROOKFIELD   MA    01585‐3218
MA
ELAINE M SMOTEL                                6790 DAVIS HWY                                                                                  GRAND LEDGE    MI    48837‐7408
ELAINE M SNIDER                                7278 EUCLID AVE                                                                                 CINCINNATI     OH    45243‐2546
ELAINE M SOUTAR                                515 CLEARVIEW AVE                                                                               WILMINGTON     DE    19809‐1617
ELAINE M STACHOWICZ                            41 POND VIEW CIR                                                                                BARNEGAT       NJ    08005‐5620
ELAINE M STOKES                                520 E PATTERSON                                                                                 FLINT          MI    48505‐4742
ELAINE M STRATTON & KELLEY M THORNELL JT TEN   1106 RISECLIFF                                                                                  GRAND BLANC    MI    48439‐8939

ELAINE M STRATTON & WENDY M TOMLINSON JT TEN     1106 RISECLIFF                                                                                GRAND BLANC    MI    48439‐8939

ELAINE M TUCKER                                  30 E HUNTER AVE                                                                               MAYWOOD        NJ    07607‐1830
ELAINE M TWOMEY                                  PO POX 2281                                                                                   TEATICKET      MA    02536‐2281
ELAINE M WEAVER & LARRY E WEAVER JT TEN          532 S MANITOU                                                                                 CLAWSON        MI    48017‐1830
ELAINE M WEBSTER                                 33 CEDAR STREET                                                                               AKRON          NY    14001‐1048
ELAINE M WELLS & WAYNE WELLS JT TEN              PO BOX 501                                                                                    CLEVELAND      TX    77328‐0501
ELAINE M WOOD                                    1066 SOUTH ST                                                                                 PORTSMOUTH     NH    03801‐5423
ELAINE M WRIGHT                                  1516 RYAN ST                                                                                  FLINT          MI    48532
ELAINE M WRIGHT & ROBERT O WRIGHT JT TEN         1013 BAILEY COURT                                                                             STAFFORD       VA    22556‐6421
ELAINE MAE BLOSS                                 2167 EAST LAKE RD                                                                             CLIO           MI    48420‐9144
ELAINE MARIE WESKE                               C/O ELAINE MAIRE WENDT               4921 WALLACE AVE                                         MONONA         WI    53716‐2655
ELAINE MARSHA IRONSMITH                          112 S HARDING ST                                                                              GREENVILLE     NC    27858‐2025
ELAINE MC CAHN                                   305 KNOBCONE DR UNIT 106                                                                      LOVELAND       CO    80538‐5723
ELAINE MORRIS                                    3435 OAKHILL PLACE                                                                            CLARKSTON      MI    48348‐1052
ELAINE NIXON                                     C/O POLLARD                          PO BOX 1571                                              CEDARTOWN      GA    30125‐1571
ELAINE O NORTON TR ROBERT R MORTON TRUST UA      18415 29TH AVE N                                                                              PLYMOUTH       MN    55447‐1522
06/17/87
ELAINE OGDEN NORTON                              18415 29TH AVE N                                                                              MINNEAPOLIS    MN    55447‐1522
                                             09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                Address1                              Address2               Address3        Address4          City            State Zip

ELAINE P CASTLEBERRY                                371 E UNION STREET                                                                             LOCKPORT        NY    14094‐2532
ELAINE P COLLINS                                    PO BOX 171                                                                                     CARBONDALE      PA    18407‐0171
ELAINE P GLISSON                                    17024 CADBURY CIRCLE                  APT 127                                                  LEWES           DE    19958
ELAINE P NICHOLS                                    255 MAYER RD                          APT 113                                                  FRANKENMUTH     MI    48734‐1337
ELAINE P PENDERGAST TOD PATRICIA L PENDERGAST       3548 BIG TREE RD                                                                               BELLBROOK       OH    45305

ELAINE P REILY                                      2221 PRYTANIA ST                                                                               NEW ORLEANS     LA    70130‐5803
ELAINE P RIGBY                                      210 S PANTOPS DR                      APT 402                                                  CHARLOTTESVLE   VA    22911
ELAINE P TESSLER                                    691 S IROLO ST                        APT 309                                                  LOS ANGELES     CA    90005‐4104
ELAINE P VOGEL                                      330 NE 26TH AVE 312                                                                            BOYNTON BEACH   FL    33435‐2037
ELAINE P WEIL & ELLEN S WEIL‐GOODMAN JT TEN         6795 E CURTIS RD                                                                               BRIGEPORT       MI    48722‐9775
ELAINE PAIGE                                        7890 NORTH FOUNTAIN PARK #B2‐215                                                               WESTLAND        MI    48185‐5652
ELAINE PARIS CUST MICHAEL R PARIS UGMA NY           258‐18 PEMBROKE AVE                                                                            GREAT NECK      NY    11020‐1040
ELAINE PELLEGRINELLI                                C/O E ODONNELL                        616 RIVER GATE RD                                        CHESAPEAKE      VA    23322‐3488
ELAINE R BAKER                                      16325 GOLF CLUB RD #210                                                                        WESTON          FL    33326‐1666
ELAINE R DOLCH & JOHN R DOLCH JR JT TEN             23281 CLIFFORD RD                                                                              NORTH OLMSTED   OH    44070‐1124
ELAINE R FISCHHABER TOD DEBRA M WEBB SUBJECT TO     9247 ELAINE DRIVE                                                                              SWARTZ CREEK    MI    48473
STA TOD RULES
ELAINE R GOLDBLATT                                  138‐25 77TH AVE                                                                                FLUSHING        NY    11367‐2824
ELAINE R GOODFRIEND                                 14709 LAKE TERR                                                                                ROCKVILLE       MD    20853‐3630
ELAINE R HARRIS                                     20029 KARN CIR                                                                                 SARATOGA        CA    95070‐3924
ELAINE R HIDY                                       2 SUMMER ST                                                                                    MERRIMAC        MA    01860‐1429
ELAINE R HILL                                       1040 COVINGTON RD C                                                                            COLUMBUS        OH    43229‐3227
ELAINE R JONES                                      747 RUTGERS RD                                                                                 ROCHESTER HLS   MI    48309‐2546
ELAINE R JONES CUST HENRY F JONES UGMA CT           405 GOOSE LANE                                                                                 GUILFORD        CT    06437‐2160
ELAINE R LOCKE                                      367 COLVIN STREET                                                                              ROCHESTER       NY    14611‐1203
ELAINE R LOVE                                       430 W M‐28                                                                                     DAFTER          MI    49724‐9506
ELAINE R PARKER                                     175 OAK STREET                                                                                 SAND LAKE       MI    49343
ELAINE R RAFFAELLI                                  1232 APPALOOSA CT                                                                              ARGYLE          TX    76226‐6392
ELAINE R SANTANA                                    2172 GRICE LANE                                                                                KETTERING       OH    45429‐4154
ELAINE R TER AVEST TR ELAINE KOLLEN TER AVEST REV   9904 PENNSYLVANIA DR                                                                           DENVER          CO    80229‐2120
TRUST UA 04/09/01
ELAINE R WILCOX & FRANK H WILCOX JT TEN             7125 M 109 HIGHWAY                                                                             EMPIRE          MI    49630
ELAINE RANDOL & RICHARD L RANDOL JT TEN             PO BOX 447                            360 HAFLICH ST                                           MARKLE          IN    46770‐0447
ELAINE RHOADS                                       911 WINDOM SQUARE                                                                              DAYTON          OH    45458‐3232
ELAINE RICHARD                                      PO BOX 1506                                                                                    STANDISH        ME    04084‐1506
ELAINE ROBERTA MERRYMAN                             7909 VICTORIA CURV                                                                             MINNEAPOLISY    MN    55426‐3069
ELAINE ROEPER & TARA R ROEPER & ZACHARY M           5 MITCHELL AVE                                                                                 PLAINVIEW       NY    11803
ROEPER JT TEN
ELAINE S ALESSANDRI                                 19425 MORDEN BLUSH DR                                                                          LUTZ            FL    33558
ELAINE S ALSON                                      GENESEE TRAIL                                                                                  HARRISON        NY    10528
ELAINE S ANDERSON CUST ERIK T ANDERSON UTMA CA      609 25TH ST                                                                                    MANHATTEN BCH   CA    90266‐2225

ELAINE S ANDERSON CUST KRISTEN E ANDERSON UTMA      1212 MONTEREY BLVD A                                                                           HERMOSA BEACH   CA    90254
CA
ELAINE S BRYLOW                                     4557 W CLAYTON CREST AVE                                                                       MILWAUKEE       WI    53220‐5054
ELAINE S DAVIS                                      824 CRESTLAND DR                                                                               BALLWIN         MO    63011‐3108
ELAINE S GOLDBERG                                   BOX 249                                                                                        GRANTHAM        NH    03753‐0249
ELAINE S MASON                                      4787 EVERETT HULL ROAD                                                                         CORTLAND        OH    44410‐9774
ELAINE S MC GREW                                    813 MARGUERITE RD                                                                              METAIRIE        LA    70003‐2453
ELAINE S MILLER                                     210 RANDOLPH RD                                                                                SILVER SPRING   MD    20904‐3535
ELAINE S REGIS                                      21 GLIDDEN ST                                                                                  BEVERLY         MA    01915‐2407
ELAINE S ROSSELL & R RAYMOND ROSSELL JT TEN         319 NORTH MCKINLEY ROAD                                                                        FLUSHING        MI    48433‐1643
ELAINE S VINSON TR ELAINE S VINSON REVOCABLE        68 JACQUELINE STREET                                                                           NEW WINDSOR     NY    12586
TRUST UA 2/18/05
ELAINE S WOOLEY                                     114 FOREST LAKE DRIVE                                                                          WARNER ROBINS   GA    31093‐1018
ELAINE SCHELLENBERGER                               UNIT 102                              7110 WEST CULLOM AVE                                     NORRIDGE        IL    60706‐1369
ELAINE SCHLACHTER CUST JOSEPH SCHLACHTER UGMA       5085 CHAMBLEE TUCKER RD                                                                        TUCKER          GA    30084‐3539
PA
                                               09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                               Address2             Address3          Address4          City              State Zip

ELAINE SCHLACHTER CUST KURT SCHLACHTER UGMA PA 4733 AARON DRIVE                                                                                    ANTIOCH           TN    37013‐4219

ELAINE SCHLACHTER CUST MARY C SCHLACHTER UGMA 1 CAMPSIDE CIRCLE DRIVE                                                                              CONESTOGA         PA    17516‐9655
PA
ELAINE SCHNGGMANN EX EST EDWARD CRAIG JAMES   PO BOX 34                                                                                            GRATON            CA    95444

ELAINE SCHWELLER                                   2413 ALDRIN DR                                                                                  SIDNEY            OH    45365‐1511
ELAINE SEIDENBERG                                  12647 CRYSTAL POINTE DR B                                                                       BOYTON BEACH      FL    33437‐5657
ELAINE SELLERS DICKINSON                           712 HARVARD CT                                                                                  EUSTIS            FL    32726‐7812
ELAINE SHAW CALLAHAN                               1200 E COTTON ST                       PO BOX 1428                                              LONGVIEW          TX    75602‐1326
ELAINE SILBERMAN                                   1270 NORTH AVENUE #3P                                                                           NEW ROCHELLE      NY    10804‐2601
ELAINE SILHA                                       506 1ST STREET S W                                                                              BOWMAN            ND    58623‐4534
ELAINE SO                                          665 SQUIRREL HILL DRIVE                                                                         YOUNGSTOWN        OH    44512‐5335
ELAINE SPADAFORA                                   5730 SPRING OAK DR                                                                              LOS ANGELES       CA    90068‐2446
ELAINE STANLEY                                     2151 E 14 MILE RD                      APT 105                                                  STERLING HTS      MI    48310‐5931
ELAINE STARZYK                                     #53596 DRYDEN                                                                                   SHELBY TOWNSHIP   MI    48316‐2410

ELAINE STEPHENS SCHAEFER                           25 GREAT OAK RD                                                                                 MANHASSET         NY    11030‐3305
ELAINE SUE PECK TR THE ELAINE S PECK INTER VIVOS   2678 BYRON PLACE                                                                                LOS ANGELES       CA    90046‐1021
TRUST UA 05/13/94
ELAINE SUSSMAN CUST ERIC SUSSMAN UGMA PA           ATTN SUSSMAN ORGANIZATION              PO BOX 374                                               JENKINTOWN        PA    19046‐0374
ELAINE T BOCK                                      C/O E T BOCK TIPTON                    BOX 3                                                    RUNNING SPRINGS   CA    92382‐0003

ELAINE T CAMPBELL & BETH ANN CAMPBELL JT TEN       6885 MONTCLAIR                                                                                  TROY              MI    48098‐1653

ELAINE T SHOEMAKER                                 1702 E CARVER DR                                                                                MUNCIE            IN    47303‐4006
ELAINE T SIAS                                      6204 EWING AVE S                                                                                MINNEAPOLIS       MN    55410‐2742
ELAINE T SMITH CUST DAX R SMITH UTMA AZ            174 ZILS ROAD                                                                                   WATSONVILLE       CA    95076
ELAINE T SMITH CUST THERRIN S SMITH UTMA AZ        174 ZILS ROAD                                                                                   WATSONVILLE       CA    95076
ELAINE T TIERNEY                                   151 ZOERB AVE                                                                                   CHEEKTOWAGA       NY    14225‐4725
ELAINE T WILLIS CUST JOSEPH B WILLIS UGMA VI       13600 PRINCE WILLIAM DR                                                                         MIDLOTHIAN        VA    23113‐4531
ELAINE T WILLIS CUST MICHAEL HAMILTON WILLIS       13600 PRINCE WILLIAM DR                                                                         MIDLOTHIAN        VA    23113‐4531
UGMA VI
ELAINE V CHERRINGTON                               PO BOX 318                                                                                      ACRA              NY    12405‐0318
ELAINE V KRAUSE                                    106 TIMBER RIDGE                                                                                POMPTON PLAINS    NJ    07444

ELAINE WADE DOLLY B WADE & AMBER ARLINGTON JT      374 REDONDO AVE                                                                                 LONG BEACH        CA    90814‐2655
TEN
ELAINE WIFFEN                                      581 DRAKE AVE                                                                                   YOUNGSTOWN       OH     44505‐3769
ELAINE WIGGINS                                     70 MCKINLEY AVE                                                                                 KENMORE          NY     14217‐2414
ELAINE WOLFF                                       127 MAIL ROAD                                                                                   BARRYVILLE       NY     12719
ELAINE WOOD                                        39769 MT ELLIOTT                                                                                CLINTON TOWNSHIP MI     48038‐4041

ELAINE WOOD                                        745 PASADENA AV                                                                                 YOUNGSTOWN        OH    44502‐2251
ELAINE WRIGHT                                      11190 SOUTH ROAD                                                                                FARWELL           MI    48622‐9309
ELAINE WUERSCHMIDT TR ELAINE WUERSCHMIDT           2810 W CARNATION PL                                                                             TUCSON            AZ    85745‐1337
FAMILY TRUST UA 09/12/03
ELAINE Z CHAPPELL                                  342 74TH ST                                                                                     NIAGARA FALLS     NY    14304‐4037
ELAINE Z COPPEDGE                                  342 74TH ST                                                                                     NIAGARA FALLS     NY    14304‐4037
ELAINE ZELLER CUST LINDSAY ZELLER UTMA NY          515 REBECCA LANE                                                                                OCEANSIDE         NY    11572‐2630
ELAINE ZELLER CUST ZACHARY ZELLER UTMA NY          515 REBECCA LANE                                                                                OCEANSIDE         NY    11572‐2630
ELAINE ZIMBLER                                     788 COLUMBUS AVE                       APT 12G                                                  NEW YORK          NY    10025‐5930
ELAM C TOONE III                                   4337 CARRIAGE LA                                                                                DESTIN            FL    32541‐3451
ELAM E HODSON                                      1610 UNIVERSITY DRIVE                                                                           ARLINGTON         TX    76013‐1777
ELAM R SPRENKLE JR & NITA M SPRENKLE TEN ENT       305 W 7TH ST                                                                                    WAYNESBORO        PA    17268‐2111

ELANA H SHAPIRO                                    1650 N 50 AVE                                                                                   HOLLYWOOD         FL    33021‐4010
ELANA SHAPIRO                                      1650 N 50TH AVE                                                                                 HOLLYWOOD         FL    33021‐4010
ELANA WEIMTRAUB                                    629 BRIAR HILL                         TORONTO ON                             M5N 1N4 CANADA
                                           09-50026-mg                     Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                                 Address2             Address3          Address4          City            State Zip

ELANDA L LESLIE                                  307 GLOUCHESTER DR                                                                                LOCUST GROVE    GA    30248‐2049
ELANIECE DOWNS                                   19303 AVON AV                                                                                     DETROIT         MI    48219‐2748
ELANOR M LANCASTER & CAROL A FOX & RICHARD K     C/O CAROL DENNETT                        RR#2                 PORT HOWE NS      B0K 1K0 CANADA
DENNETT JR JT TEN
ELANOR M NEW                                     228A LAUREL PL                                                                                    SAN RAFAEL      CA    94901‐2011
ELAX LINDSEY                                     730 N LARAMIE                                                                                     CHICAGO         IL    60644‐1225
ELAYNE B SCHOLZ & RICHARD S FAVRETTO JT TEN      35 ROBERTS AVE                                                                                    CLAYTON         NJ    08312‐2219
ELAYNE C HORN                                    20050 CIRCLE B DRIVE                                                                              DESERT HOT      CA    92241‐7506
                                                                                                                                                   SPRINGS
ELAYNE DOUGHERTY                                 2038 E 61ST STREET                                                                                BROOKLYN        NY    11234‐5908
ELAYNE DUNCAN                                    5939 PARKGLEN ROAD                                                                                GALLOWAY        OH    43119‐9102
ELBA F KETTLEWELL                                145 S LIVERNOIS RD #185                                                                           ROCHESTER       MI    48307‐1837
ELBA F ROBERTSON CUST JAMES F ROBERTSON UGMA     405 VIRGINIA AVE                                                                                  BLACKSTONE      VA    23824‐2439
VA
ELBA G CORDERO                                   PO BOX 1269                                                                                       WARREN          MI    48090‐1269
ELBA I ZAYAS                                     109 SHADY DRIVE                                                                                   COLUMBIA        TN    38401‐2075
ELBA JOHNSON                                     6925 HECKER                                                                                       CLEVELAND       OH    44103‐1940
ELBA S DOORLY & WILLIAM J DOORLY JT TEN          1046 GRANGE AVE                                                                                   COLLEGEVILLE    PA    19426‐1549
ELBERT A HAMPTON                                 725 REDDING RD                                                                                    SEYMOUR         IN    47274‐3451
ELBERT A JONES                                   310 DELMAR AVE                                                                                    UNION           MO    63084‐1323
ELBERT A PARDUE                                  823 TANGLEWOOD                                                                                    MADISON HTS     MI    48071‐2209
ELBERT A WILDMAN                                 8528 STATE ROUTE#45 NW                                                                            N BLOOMFIELD    OH    44450‐9701
ELBERT ABDULLAH                                  2709 CROSS CREEK COURT                                                                            JOLIET          IL    60435‐9352
ELBERT B SQUIRES                                 15620 MUSKINGUM BLVD                                                                              BROOKPARK       OH    44142‐2330
ELBERT BARTLEY                                   7829 STATE HYW 559                                                                                ZANESFIELD      OH    43360
ELBERT BOWIE JR                                  17371 PRAIRIE                                                                                     DETROIT         MI    48221‐2620
ELBERT BOYD                                      14607 TERRY                                                                                       DETROIT         MI    48227‐2593
ELBERT C GROSSHEIM & WANDA L GROSSHEIM JT TEN    714 CRESTWOOD DRIVE                                                                               GODFREY         IL    62035‐1802

ELBERT C HUNT JR                                 100 ROVER RD                                                                                      WILLIAMSON      GA    30292‐3612
ELBERT C MC LAURIN                               8100 GORINGWOOD LN                                                                                GERMANTOWN      TN    38138‐4101
ELBERT C MCLAURIN & MERRI J MCLAURIN JT TEN      8100 GORINGWOOD LN                                                                                GERMANTOWN      TN    38138‐4101
ELBERT C PACK & LORNA C PACK JT TEN              1460 EAST APPLE AVE                                                                               PROVO           UT    84604‐3647
ELBERT COWLING                                   18432 WHITCOMB ST                                                                                 DETROIT         MI    48235‐2842
ELBERT D HARLEY                                  812 JOHNSTON HWY                                                                                  TRENTON         SC    29847‐3519
ELBERT D HARRINGTON JR & MRS FERN C HARRINGTON   11651 S DUPONT HWY                                                                                FELTON          DE    19943‐4821
JT TEN
ELBERT D SMITH                                   2576 PETERS                                                                                       ONION           MI    48359‐1146
ELBERT D SOLOMON                                 PO BOX 173                                                                                        TALKING ROCK    GA    30175‐0173
ELBERT E ALLEN                                   PO BOX 688                                                                                        CENTERVILLE     LA    70522‐0688
ELBERT E FARLEY                                  2780 TIPPECANOE ST                                                                                LAKE STATION    IN    46405‐2442
ELBERT E HEATH                                   1085 E 240N                                                                                       ANDERSON        IN    46012‐9638
ELBERT E HOLT & ERNESTINE HOLT JT TEN            2058 CHELAN ST                                                                                    FLINT           MI    48503‐4312
ELBERT E WHITE                                   2127 PERSHING BLVD                                                                                DAYTON          OH    45420‐2432
ELBERT EARL FULLER JR & MARY W FULLER JT TEN     9852 FAIRMONT AVE                        APT 302                                                  MANASSAS        VA    20109
ELBERT F MOORE                                   1605 VALDOSTA CIR                                                                                 PONTIAC         MI    48340‐1082
ELBERT F RAKES                                   890 DOLAN STREET                                                                                  DEFIANCE        OH    43512‐3203
ELBERT FRANCE                                    10 S SHIRLEY                                                                                      PONTIAC         MI    48342‐2846
ELBERT FREEMAN                                   9336 ST LAWRENCE                                                                                  CHICAGO         IL    60619‐7423
ELBERT GESINK & MARLA GESINK JT TEN              11350 RD 102 S                                                                                    ALAMOSA         CO    81101‐9105
ELBERT H BAKER                                   23101 E 189 TH ST                                                                                 PLEASANT HILL   MO    64080‐9663
ELBERT HALEY JR & DELMARSHAE MILLER JT TEN       2435 JOSH CT SW                                                                                   MARIETTA        GA    30064‐4531
ELBERT HOGG                                      12980 CRUM RD                                                                                     PLAINWELL       MI    49080‐9016
ELBERT HUDDLESTON                                3126 O LEARY ROAD                                                                                 FLINT           MI    48504‐1763
ELBERT J WHITE                                   1237 MELANIE CT                                                                                   STONE MT        GA    30087‐3011
ELBERT J WHITE JR                                1237 MELANIE CT                                                                                   STONE MTN       GA    30087‐3011
ELBERT JACKSON ROWELL                            4500 STONEWALL TELL RT 1                                                                          COLLEGE PARK    GA    30349‐1718
ELBERT L DRISKILL                                2337 E JUDD RD                                                                                    BURTON          MI    48529‐2456
ELBERT L GRAVES                                  262 USELTON RD                                                                                    SHELBYVILLE     TN    37160‐6447
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ELBERT L WILLOUGHBY                            22 HACKNEY DR                                                                                BEAR            DE    19701‐2211
ELBERT M BROWN                                 5533 NEVIL PT                                                                                BRENTWOOD       TN    37027‐8281
ELBERT M PERRY JR                              391 DOCK ST                                                                                  RECTOR          AR    72461‐8633
ELBERT M REAVES                                PO BOX 5372                                                                                  COLUMBUS        GA    31906‐0372
ELBERT MOLETT                                  499 GOING ST                                                                                 PONTIAC         MI    48341‐3322
ELBERT NOLLIE                                  2250 EAST NEW YORK DR                                                                        ALTADENA        CA    91001
ELBERT O GRIFFITH                              11565 WILLIAM                                                                                TAYLOR          MI    48180‐4282
ELBERT O SIMS                                  3439 LYNN                                                                                    FLINT           MI    48503‐4429
ELBERT P KILBOURNE JR                          4847 E RINKER RD                                                                             MOORESVILLE     IN    46158‐6696
ELBERT P VANOVER                               710 S LAFAYETTE ST                                                                           FRANKTON        IN    46044‐9373
ELBERT R LOVIN                                 572 AUGUSTUS CT                                                                              JONESBORO       GA    30238‐5929
ELBERT ROBERTS & ANNIE ROBERTS JT TEN          13103 BRITTANY DR                                                                            SILVER SPRING   MD    20904‐3145
ELBERT RODEN                                   7800 HIGHWAY N                                                                               O FALLON        MO    63368‐6703
ELBERT S BLANKENBECKLEY                        4360 BLOOMINGGROVE RD R D 6                                                                  MANSFIELD       OH    44903‐9438
ELBERT SMITH JR                                PO BOX 7189                                                                                  ELIZABETHTOWN   NC    28337‐8099
ELBERT SPICER JR                               820 MOORELANDS DRIVE                                                                         SPRINGFIELD     OH    45506‐3718
ELBERT SPURLOCK JR                             7716 OTTAWA LN APT 240                                                                       WEST CHESTER    OH    45069‐7433
ELBERT T SPAIN                                 6470 BROOKLINE CT                                                                            CUMMING         GA    30040‐7036
ELBERT TUTT II                                 4170 WILL LEE ROAD                                                                           COLLEGE PARK    GA    30349‐1952
ELBERT V BROOKS                                PO BOX 3063                                                                                  SEATTLE         WA    98114‐3063
ELBERT W BROWN                                 2811 RULEME ST                      APT 901                                                  EUSTIS          FL    32726‐6563
ELBERT WHITE                                   3003 WEBB                                                                                    DETROIT         MI    48206‐3100
ELBERT WOOTEN                                  549 S 22ND                                                                                   SAGINAW         MI    48601‐1540
ELBERTA HERMAN                                 620 IDYLWOOD                                                                                 BRIDGE CITY     TX    77611‐3233
ELBERTA M MCCORMACK                            29637 JOY RD                                                                                 WESTLAND        MI    48185‐1726
ELBURN D JENKINS                               40 OLD BARN LN                                                                               WRIGHT CITY     MO    63390‐1633
ELCIE L ANTHONY                                3021 US ROUTE 36                                                                             GREENVILLE      OH    45331‐9584
ELCUST JACKSON II                              2330 SNELLING                                                                                SAGINAW         MI    48601‐1428
ELCUST JACKSON JR                              2330 SNELLING PL                                                                             SAGINAW         MI    48601‐1428
ELDA C LONG                                    121 W WALNUT ST                                                                              CARSON CITY     MI    48811
ELDA F CUSTER                                  356 LAKEWOOD AVENUE                                                                          BRUNSWICK       OH    44212‐1806
ELDA H STAHLSCHMIDT & RONALD W STAHLSCHMIDT JT 12162 E COLUMBINE DR                                                                         SCOTTSDALE      AZ    85259‐2814
TEN
ELDAR INC                                      C/O ELDON J STEIDINGER              406 E ELM                                                FAIRBURY        IL    61739‐1634
ELDARENE CLARK & VICKI L CLARK VERBOCY JT TEN  77 KAREN DR                                                                                  TONAWANDA       NY    14150‐5145

ELDEAN B HUNTINGTON                           1155 MISSION RIDGE DR                                                                         MANTECA         CA    95337‐6087
ELDEN E EVERETT                               4480 LAKEGROVE                                                                                WHITE LAKE      MI    48383‐1530
ELDEN F SHUCK                                 12949 W 15MILE RD RTE 2                                                                       LEROY           MI    49655‐8106
ELDEN I JOHNSON                               C/O STWDSHIP                         2051 PLAINFIELD RD                                       OSWEGA          IL    60543‐9539
ELDEN LIPPO                                   1632 83RD ST                                                                                  NEW RICHMOND    WI    54017‐6960
ELDEN R FISCHER                               1815 MT HOPE RD                                                                               LEWISTON        NY    14092‐9761
ELDEN T ROTHE                                 2110 LYONS RD                                                                                 CORUNNA         MI    48817‐9501
ELDEN W THOMAS                                3616 MARY LOU LANE                                                                            MANSFIELD       OH    44906
ELDER RAMSEY                                  C/O IVORY RAMSEY                     204 HUGHLEY RD                                           VALLEY          AL    36854‐4521
ELDERS M FOWLKES                              313 W GRACELAWN AVE                                                                           FLINT           MI    48505‐2678
ELDIN H MILLER                                8072 MONROE RD                                                                                LAMBERTVILLE    MI    48144‐9721
ELDON AUSTIN BENMARK                          10451 BAKER DR                                                                                CLIO            MI    48420‐7710
ELDON B HOOPER                                779 N 150 W                                                                                   LOGAN           UT    84321‐3219
ELDON B WYATT                                 4208 RIVERSIDE AVE                                                                            MUNCIE          IN    47304‐3652
ELDON BALL                                    7047 PINEHURST                                                                                DEARBORN        MI    48126‐1923
ELDON C HORN                                  3440 HAWTHORNE DR                                                                             FLINT           MI    48503‐4649
ELDON D FULLER                                4114 PINEDELL DR                                                                              LANSING         MI    48911
ELDON D LAKEY                                 5413 MALTESE DRIVE                                                                            COLUMBUS        GA    31904‐4940
ELDON D LURVEY                                609 SHAWNESEE AVE                                                                             FLUSHING        MI    48433‐1326
ELDON D MASTERS                               2583 VARNER DR NE                                                                             ATLANTA         GA    30345‐1571
ELDON D TEETS                                 256 EUCLID                                                                                    MT CLEMENS      MI    48043‐1724
ELDON E BROWN                                 16191 STOUT ST                                                                                DETROIT         MI    48219‐3320
ELDON E HOSEY                                 ROUTE 2                                                                                       GRAND LEDGE     MI    48837‐9802
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

ELDON E HOSEY JR                                 RT#6 W NEEDMORE                                                                                CHARLOTTE       MI    48813‐9806
ELDON E LONG                                     RT 1 BOX 262                                                                                   HAZEN           AR    72064‐9741
ELDON E SCHLICKER                                13245 FUNK RD                                                                                  HILLMAN         MI    49746
ELDON G PROSCH                                   9340 LAKE RD                                                                                   OTISVILLE       MI    48463‐9713
ELDON H RIESENBECK                               4213 FORSYTHE DR                                                                               LEXINGTON       KY    40514‐4013
ELDON H RUSTIN                                   11816 STATE ROUTE 70                                                                           PRINCETON       KY    42445‐5417
ELDON H WHITE                                    1183 CADILLAC DR                                                                               HAMILTON        OH    45013‐3806
ELDON H WHITE & BETTY J WHITE JT TEN             1183 CADILLAC DR                                                                               HAMILTON        OH    45013‐3806
ELDON HOWARD WHITE                               1183 CADILLAC DR                                                                               HAMILTON        OH    45013‐3806
ELDON J HAUGHT                                                                                                                                  SMITHVILLE      WV    26178
ELDON J LANTZ & PAULINE A LANTZ TR LANTZ FAM     6149 ADDISON WAY                                                                               FENTON          MI    48430‐8201
TRUST UA 02/07/95
ELDON J OWENS & MARILYN A OWENS TR OWENS         1623A TOWNSHIP ROAD 1323 ROUTE 1                                                               ASHLAND         OH    44805‐9266
FAMILY TRUST UA 12/20/05
ELDON L HUNT                                     501 W TAYLOR ST                                                                                ALEXANDRIA      IN    46001‐8030
ELDON L PARKER                                   2231 GLADE ST                                                                                  BURTON          MI    48509‐1026
ELDON L RESZ                                     500 MOTT DR                           APT 205A                                                 RAYMORE         MO    64083‐9150
ELDON L STEWART                                  6817 HILLSBORO HOUSE SPRINGS RD                                                                CEDAR HILL      MO    63016‐3540
ELDON LEWIS JENNINGS                             17025 CAPILLA PL                                                                               SAN DIEGO       CA    92127‐1439
ELDON M KRYDER                                   1141A WOODWARD DR                                                                              CHARLESTON      WV    25312‐9502
ELDON M PENFIELD                                 1208 JENNE                                                                                     GRAND LEDGE     MI    48837‐1811
ELDON M RAINS                                    4229 JOHNSTON AVE                                                                              RIDGECREST      CA    93555‐8355
ELDON M WYKES                                    11049 LAHRING RD                                                                               GAINES          MI    48436‐9748
ELDON MCCARTNEY                                  743 HEATHER CT                                                                                 VILLA HILLS     KY    41017‐1072
ELDON N WEAVER SR & RUBY R WEAVER JT TEN         560 HUNTER ST                                                                                  LANTANA         TX    76226‐6606
ELDON R BOHMONT                                  13200 29TH SW                                                                                  MARTELL         NE    68404‐5083
ELDON R PETERS                                   37713 CASTEL DR                                                                                ROMULUS         MI    48174‐4701
ELDON R RUSSELL                                  4935 MELODY LANE                                                                               OSCODA          MI    48750‐1020
ELDON R RUSSELL & MRS BERNADINE RUSSELL JT TEN   4935 MELODY LN                                                                                 OSCODA          MI    48750‐1020

ELDON S EBERT                                    11262 N 600 W                         APT 2                                                    FRANKTON        IN    46044‐9420
ELDON W BAUER                                    4465 TORREY RD                                                                                 FLINT           MI    48507‐3438
ELDON W SMITH                                    1038 GOLDEN ROAD                                                                               STATE ROAD      NC    28676
ELDON W STRATTON & WAYNE E STRATTON JT TEN       12640 HOLLY RD B 103                                                                           GRAND BLANC     MI    48439‐1855

ELDORA B FULLER                                  1431 WEST 500 NORTH                                                                            ANDERSON        IN    46011‐9225
ELDORADO N JOHNSON                               329 WEST WITHERBEE ST                                                                          FLINT           MI    48503‐1071
ELDORIS SIMMONS                                  1831 ECKLEY AVE                                                                                FLINT           MI    48503‐4525
ELDRED B ROBERT                                  3196 HIGHWAY 548                                                                               EROS            LA    71238‐7134
ELDRED BARDEN                                    3430 NE 14TH AVE                                                                               POMPANO BEACH   FL    33064‐6221
ELDRED D BLACK                                   109 OAK DRIVE                                                                                  BEECH ISLAND    SC    29842‐8339
ELDRED J ROVIRA                                  608 ELMEER                                                                                     METAIRIE        LA    70005‐2718
ELDRED M JONES                                   7808 WALLACE AVE                                                                               KANSAS CITY     MO    64138‐1321
ELDRED P PFAFF                                   9687 JACKSON                                                                                   BELLEVILLE      MI    48111‐1461
ELDRED WOODARD                                   654 WYOMING AVENUE                                                                             BUFFALO         NY    14215‐2630
ELDREDGE A SUMNER                                3380 WINDSOR CASTLE COUR                                                                       DECATURE        GA    30034‐5359
ELDREN G HORN                                    PO BOX 278                                                                                     RICH CREEK      VA    24147‐0278
ELDRIDGE C JONES                                 4684 N MICHELLE ST                                                                             SAGINAW         MI    48601‐6629
ELDRIDGE DOYLE ROBINSON                          3615 LUNDHOLM AVE                     #A                                                       OAKLAND         CA    94605‐1839
ELDRIDGE O LILLY                                 274 WILLOWOAK DR                                                                               PRINCETON       WV    24740‐8726
ELDRIDGE U COOK                                  3725 ALPINE DR                                                                                 LANSING         MI    48911‐2602
ELDRON S MULRONEY                                183 ELLINGTON RD                                                                               DAYTON          OH    45431‐1936
ELEANA JEAN KIM & YUNG DUK KIM JT TEN            14 LINDA LANE                                                                                  WESTPORT        CT    06880‐3945
ELEANOR A BLAQUERE                               13 TAVITIAN BLVD                                                                               MARLBOROUGH     MA    01752
ELEANOR A BLAQUERE & ROBERT W BLAQUERE JT TEN    13 TAVITIAN BLVD                                                                               MARLBORO        MA    01752‐3471

ELEANOR A BUTLER                                 450 CHANNING                                                                                   SAN ANTONIO     TX    78210‐5408
ELEANOR A EVERETT                                15 KATHLEEN DR                                                                                 ANDOVER         MA    01810‐1901
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ELEANOR A HOFF TOD KRISTIN D MICHALISKO SUBJECT 13288 W STONEBRIDGE LANE                                                                       HUNTLEY          IL    60142
TO STA TOD RULES
ELEANOR A JAWORSKI                               1660 CHESTNUT AVE                                                                             TRENTON          NJ    08611‐2604
ELEANOR A KMECIK TR UA 08/28/92 ELEANOR A KMECIK 18501 HILLIARD BLVD                  #615                                                     ROCKY RIVER      OH    44116‐2942
TRUST
ELEANOR A LOUGHLIN                               99 GRANDVIEW AVENUE                                                                           NANUET           NY    10954‐2527
ELEANOR A MESKELL                                247 GOVERNORS AVE                                                                             MEDFORD          MA    02155‐1613
ELEANOR A MILLER                                 34418 JOEL                                                                                    NEW BALTIMORE    MI    48047‐3687
ELEANOR A PELLEGRINO                             49231 HIDDEN WOODS LN                                                                         SHELBY TWP       MI    48317
ELEANOR A POWELL                                 6411 WESTERN WAY                                                                              FLINT            MI    48532‐2052
ELEANOR A REPOLE                                 52 BRADLEY RUN ROAD                                                                           ELKTON           MD    21921‐3810
ELEANOR A ROBERTSON TOD ELAINE F JAWORSKI        1782 BELLINGHAM ROAD                                                                          MAYFIELD HTS     OH    44124‐3329
SUBJECT TO STA TOD RULES
ELEANOR A ROTH                                   PO BOX 30041                                                                                  MIDDLEBURG       OH    44130‐0041
                                                                                                                                               HEIGHTS
ELEANOR A ROTH & ANDREW A ROTH JT TEN            PO BOX 30041                                                                                  MIDDLEBURG HT    OH    44130‐0041
ELEANOR A RUOFF                                  27 NICKLAUS LANE                                                                              FARMINGDALE      NJ    07727‐3861
ELEANOR A SHUTT & SANDY D SHUTT JT TEN           5653 STONEY CREEK DRIVE                                                                       BAY CITY         MI    48706‐5606
ELEANOR A SORGER                                 376 NEW VERNON RD                                                                             GILLETTE         NJ    07933‐1120
ELEANOR A STUMPF                                 9966 S CALIFORNIA AVE                                                                         EVERGREEN PARK   IL    60805‐3657
ELEANOR A WARNER                                 1027 EAST OSCEOLA ST                                                                          STUART           FL    34996‐2513
ELEANOR A WORKMAN                                #301                                 7600 SUN ISLAND DR                                       SOUTH PASADENA   FL    33707‐4468

ELEANOR ALEXANDER                             225 HINCHEY RD                                                                                   ROCHESTER        NY    14624‐2903
ELEANOR ANDERSON                              306 SO STILES ST                                                                                 LINDEN           NJ    07036‐4400
ELEANOR ANN HOST TR ELEANOR ANN HOST TRUST UA 290 DOTSI DR                                                                                     BREVARD          NC    28712‐6403
7/19/89
ELEANOR ANN HUSSEY                            2631 W ROBINO DR                                                                                 WILM             DE    19808‐2254
ELEANOR AYOTTE                                25 COURT STREET                                                                                  MILFORD          MA    01757‐3446
ELEANOR B A PACE                              917 ROYAL COURT                                                                                  CANONSBURG       PA    15317‐5043
ELEANOR B ADAMCEWICZ                          17 CHERRY HILL RD                                                                                NORWICH          CT    06360‐5201
ELEANOR B BROMBERG & THOMAS J BROMBERG JT TEN 2005 S FARRAGUT                                                                                  BAY CITY         MI    48708‐3807

ELEANOR B BROMBERG & THOMAS J BROMBERG JT TEN 2005 S FARRAGUT                                                                                  BAY CITY         MI    48708‐3807

ELEANOR B HAMLIN                                5788 BENEDICT RD                                                                               DAYTON           OH    45424‐4214
ELEANOR B JANUSCH                               7 BROOKE DRIVE                                                                                 NOVATO           CA    94947‐3711
ELEANOR B JANUSCH TR JOHN JANUSCH & ELEANOR B 7 BROOKE DRIVE                                                                                   NOVATO           CA    94947‐3711
JANUSCH TR UA 4/16/81
ELEANOR B NOWINSKI & THADDEUS S NOWINSKI JT TEN 388 PARK AVE                                                                                   WILKES‐BARRE     PA    18702‐4922

ELEANOR B OLEARY & VICKIE ANN SCHMIDT JT TEN     3564 ELMORA AVE                                                                               BALTIMORE        MD    21213‐1933

ELEANOR B PALEJCZYK                              742 INDIANA AVE                                                                               TRENTON          NJ    08638‐3918
ELEANOR B PARMENTER                              57 BOYLSTON CIR                                                                               SHREWSBURY       MA    01545‐1810
ELEANOR B PRATT                                  593 DARLINGTON LANE                  APT 34                                                   CRYSTAL LAKE     IL    60014‐7754
ELEANOR B SMITH                                  3204 DOW DR                                                                                   ROSWELL          NM    88201‐1113
ELEANOR B STACHNIK                               16877 CLUB DRIVE                                                                              SOUTHGATE        MI    48195‐6510
ELEANOR B ZEH                                    1159 WAVELL RD                                                                                SCHENECTADY      NY    12303‐2339
ELEANOR BALDWIN COATS                            1025 SAMANTHA DR                                                                              CONWAY           AR    72032‐6033
ELEANOR BEADLE                                   22533 SOUTH FRANKLIN ST                                                                       SPRING HILLS     KS    66083‐8763
ELEANOR BEATRICE SEPOS                           7805 ESTATES WAY                                                                              ROWLETT          TX    75089‐2432
ELEANOR BEILHARZ                                 13679 HERITAGE VALLEY WAY                                                                     GAINESVILLES     VA    20155‐1355
ELEANOR BENDOKAS                                 7653 WINDING WAY                                                                              BRECKSVILLE      OH    44141‐1927
ELEANOR BOGUSKI                                  2503 BISHOP ESTATES RD                                                                        JACKSONVILLE     FL    32259‐3011
ELEANOR BOWEN                                    21 GLENDALE RD                                                                                PARK RIDGE       NJ    07656‐2010
ELEANOR BRABO EX UW RALPH TROSPER                1337 ATHLONE                                                                                  OXFORD           MI    48371‐6001
ELEANOR BRADLEY CARSCADDON CUST HADLEY           2908 E HARRISON ST                                                                            SEATTLE          WA    98112
CARSCADDON UGMA MI
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ELEANOR BRADLEY CARSCADDON CUST LYDIA             2908 E HARRISON ST                                                                           SEATTLE          WA    98112
CARSCADDON UGMA MI
ELEANOR BRANDON FOSTER                            133 EAST EWING ST                                                                            LEWISBURG        TN    37091‐3320
ELEANOR BUTCHER                                   11534 COUNTRYCREEK CT                                                                        MOORPARK         CA    93021‐3725
ELEANOR C BENNETT                                 4256 LAREDO PL                                                                               BILLINGS         MT    59106‐1382
ELEANOR C CLARK TR THADDEUS S CLARK TRUST UA      7858 VIRGINIA OAKS DR                                                                        GAINESVILLE      VA    20155‐2835
04/03/87
ELEANOR C CLOWER & JOHN L CLOWER JT TEN           3171 BUSHNELL CAMPBELL RD                                                                    FOWLER           OH    44418‐9762
ELEANOR C ERICKSON TR LOVING TRUST 06/25/90 U‐A   68 PROSPECT ST                                                                               NEW LONDON       OH    44851‐1058
ELEANOR C ERICKSON
ELEANOR C KALTER                                  135 MIAMI AVENUE                                                                             ELYRIA           OH    44035‐6005
ELEANOR C LAZOWSKI                                2981 BUSCH RD                                                                                BIRCH RUN        MI    48415‐8919
ELEANOR C MARZULLO                                541 CHENEY RD                                                                                GLEN MILLS       PA    19342‐1816
ELEANOR C MILES                                   2930 LOCKPORT OLCOTT RD             PO BOX 162                                               NEWFANE          NY    14108‐0162
ELEANOR C ROEBUCK                                 1321 NORTH GRANT                                                                             WEST LAFAYETTE   IN    47906‐2463
ELEANOR C RUDY                                    PO BOX 7                                                                                     PA FURNACE       PA    16865‐0007
ELEANOR C SANDERSON                               97 CHITTENDEN RD                                                                             KILLINGWORTH     CT    06419‐2415
ELEANOR C ULKO                                    20526 VALLEY FORGE CIR                                                                       KNG OF PRUSSA    PA    19406‐1136
ELEANOR C WELLS TR WELLS FAMILY TRUST UA          7151 E HWY 60 SPACE 200                                                                      GOLD CANYON      AZ    85218‐9769
01/18/95
ELEANOR CAGNEY FITZGERALD                         98 CENTRAL BLVD                                                                              BRICK            NJ    08724‐2452
ELEANOR CARSON TR UA 05/29/92 CARSON TRUST        2133 EMORY ST                                                                                SAN JOSE         CA    95128‐1421

ELEANOR CHESHUL & JOSEPH CHESHUL JT TEN           44 WEST 27TH ST                                                                              BAYONNE          NJ    07002‐3824
ELEANOR CIEMNICKI & BARBARA A CRESPI JT TEN       17509 SE 83RD COTTONWOOD TER                                                                 THE VILLAGES     FL    32162‐2808
ELEANOR CLARK                                     1309 MISSIONARY RIDGE TRL                                                                    FORT WORTH       TX    76131‐5201
ELEANOR COCHRAN                                   139 NEW HOLLAND VILLAGE                                                                      NANUET           NY    10954‐2444
ELEANOR COHEN                                     8600 DELMAR BLVD                    APT 5C                                                   SAINT LOUIS      MO    63124‐2204
ELEANOR COLEMAN BIXBY                             424 BENDING BRANCH LN                                                                        MIAMISBURG       OH    45342‐7612
ELEANOR COLLIER                                   13046 S 46TH STREET                                                                          PHOENIX          AZ    85044‐4019
ELEANOR COUCH                                     7067 IRIS CT                                                                                 GRAND BLANC      MI    48439‐2316
ELEANOR CROUTHAMEL & WILLARD CROUTHAMEL JT        555 N BROAD ST                      APT 308A                                                 DOYLESTOWN       PA    18901‐3431
TEN
ELEANOR D BURNS                                   4349 E COUNTY ROAD 60                                                                        WELLINGTON       CO    80549‐1608
ELEANOR D COOPER                                  1710 STEAMBOAT STATION                                                                       SOUTH HAMPTON    PA    18966‐4184
ELEANOR D DOTSON                                  2229 BROWN RD                                                                                LAKEWOOD         OH    44107‐6016
ELEANOR D FIELDS                                  534 JANIE WAY                                                                                STONE MOUNTAIN   GA    30087‐4775

ELEANOR D FLEISCHMAN                            1802 HEILWOOD DR                                                                               GREENSBORO       NC    27407‐3037
ELEANOR D JONES                                 7166 SNYDER HILL RD                                                                            BATH             NY    14810‐7501
ELEANOR D KLEPPS                                292 JEROME AVE                                                                                 BURLINGTON       CT    06013‐2425
ELEANOR D KOHLMANN                              5632 CRANBERRY PL                                                                              DAYTON           OH    45431‐2803
ELEANOR D LECHMAN                               11171 IRVINGTON DR                                                                             WARREN           MI    48093‐4940
ELEANOR D LETSCH                                716 LAUREL WAY                                                                                 CASSELBERRY      FL    32707‐4811
ELEANOR D SCHWANKHAUS                           98 LAKEFIELD DR                                                                                MILFORD          OH    45150
ELEANOR D SWIFT                                 130 EAST TRACE                                                                                 FRANKLIN         NC    28734‐3112
ELEANOR D TOLBERT TR ELEANOR D TOLBERT TRUST UA 2381 EMERALD FOREST CR                                                                         EAST LANSING     MI    48823‐7214
03/22/83
ELEANOR D WOGEN & DENNIS B WOGEN JT TEN         6018 COVENTRY DR                                                                               SWARTZ CREEK     MI    48473‐8850
ELEANOR D WOGEN & KRISTIN A LAMB JT TEN         6018 COVENTRY DR                                                                               SWARTZ CREEK     MI    48473‐8850
ELEANOR D WOGEN & RANDY J WOGEN JT TEN          6018 COVENTRY DR                                                                               SWARTZ CREEK     MI    48473‐8850
ELEANOR D WOGEN & SANDRA L CARLSON JT TEN       6018 COVENTRY DR                                                                               SWARTZ CREEK     MI    48473‐8850
ELEANOR D WOGEN & SCOTT S WOGEN JT TEN          6018 COVENTRY DR                                                                               SWARTZ CREEK     MI    48473‐8850
ELEANOR D WOGEN & WENDIE R CULVER JT TEN        6018 COVENTRY DR                                                                               SWARTZ CREEK     MI    48473‐8850
ELEANOR DAVIS                                   1623 PARTRIDGE DR                                                                              AIKEN            SC    29803‐5715
ELEANOR DEGORI                                  11 SPLIT TREE                                                                                  WAPPINGER        NY    12590‐3017
ELEANOR DOBAN                                   2623 IALEAH AVE                       LADYLAKE                                                 LADY LAKE        FL    32159
ELEANOR DONESKI & DAVID J DONESKI JT TEN        6 CHASE RD                                                                                     WALTHAM          MA    02452‐6402
ELEANOR DORR                                    552A FAIRWAYS DR                                                                               OCALA            FL    34472‐4915
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ELEANOR DORR & GERTRUDE BAADEN JT TEN          7 ALPINE DR                                                                                    HOPEWELL JCT    NY    12533
ELEANOR DRISCOLL                               PO BOX 828                                                                                     EAST FALMOUTH   MA    02536‐0828
ELEANOR DUNN BROWN                             8304 KNIGHT RD                                                                                 HOUSTON         TX    77054‐3906
ELEANOR DUNN BROWN                             8304 KNIGHT RD                                                                                 HOUSTON         TX    77054‐3906
ELEANOR E BRANNON                              1097 MC LYNN AVE NE                                                                            ATLANTA         GA    30306‐3324
ELEANOR E BUZARD                               4311 E CHEERY LYNN                                                                             PHOENIX         AZ    85018‐6430
ELEANOR E CAIN                                 9 TAFT COURT                                                                                   NOVATO          CA    94947‐4440
ELEANOR E COFFEY & KAREN PERRY JT TEN          38 HILLSIDE AVE                                                                                WEST ORANGE     NJ    07052‐4505
ELEANOR E HORVATH                              C/O ELEANOR E BERTRAM                 220 PARK AVE                                             MONTICELLO      KY    42633‐1320
ELEANOR E JOHNSON & SUE A GAVETTE JT TEN       4080 LEDGESTONE DR                                                                             WATERFORD       MI    48329‐1536
ELEANOR E KORZECKI & KAREN ANN RUEHL & GREGORY 15098 WHITE AVE                                                                                ALLEN PARK      MI    48101‐2141
J KORZECKI JT TEN
ELEANOR E MANNING                              30010 WOODBROOK ST                                                                             FARMINGTON HILLS MI   48334‐3069

ELEANOR E MUNZE                                 18 WOODLAND DR                                                                                OAK RIDGE       NJ    07438‐9742
ELEANOR E PENNY TR ELEANOR E PENNY TRUST UA     565 RICHLYN DRIVE                                                                             ADRIAN          MI    49221‐9117
02/04/80
ELEANOR E RENKE & DOROTHY E HADEN JT TEN        25170 PATTOW AVE                                                                              ROSEVILLE       MI    48066‐3912
ELEANOR E SMITH                                 121 CHESTNUT ST                                                                               BELLVILLE       NJ    07109‐1926
ELEANOR E VANMALDEGHEM TR ELEANOR E             15917 BRADFORD DR                                                                             CLINTON TWP     MI    48038‐1000
VANMALDEGHEM TRUST 1UA 03/26/98
ELEANOR E WILLEY                                G‐2076 KINGSWOOD DR                                                                           FLINT           MI    48507
ELEANOR E ZADE TR ELEANOR E ZADE TRUST UA       14986 CARLISLE                                                                                DETROIT         MI    48205‐1335
09/07/89
ELEANOR ENGBERG & MERRITT E ENGBERG JT TEN      2240 HIDDEN LAKE TRAIL RD                                                                     ORTONVILLE      MI    48462‐8906
ELEANOR ENGLE                                   506 ASHLEY WAY                                                                                MILFORD         DE    19963
ELEANOR ESPENSEN                                2266 27TH ST                                                                                  SANTA MONICA    CA    90405‐1908
ELEANOR F ADAMS                                 PO BOX 113                                                                                    MALDEN ON       NY    12453‐0113
                                                                                                                                              HUDSON
ELEANOR F HICKS                                 45 BAYBERRY RD                                                                                MANCHESTER      CT    06040‐6350
ELEANOR F HOULE                                 APT 5N                               29277 LUND                                               WARREN          MI    48093‐2453
ELEANOR F JACOBS & PETER R JACOBS JT TEN        27 BREEZY HILL RD                                                                             HARWINTON       CT    06791‐1110
ELEANOR F KARAKO                                891 FIVE PINES RD                                                                             NO HUNTINGTON   PA    15642‐1627
ELEANOR F LEHNER                                1645 KELLOGG SPRING DR                                                                        DUNWOODY        GA    30338‐6007
ELEANOR F WARGO                                 2990 GRAHAM RD APT 408                                                                        STOW            OH    44224‐5243
ELEANOR FARRELL                                 37 KENNEDY DR                                                                                 WEST HAVERSTRAW NY    10993‐1025

ELEANOR FEFFER & BERTRAM FEFFER JT TEN          8 SHEPHERDS WAY                                                                               NEW FAIRFIELD    CT   06812‐2215
ELEANOR FLANNERY                                6990 KENNEDY RD                                                                               MUNITH           MI   49259‐9758
ELEANOR FUERST HARMS                            29945 FOXHILL RD                                                                              PERRYSBURG       OH   43551‐3421
ELEANOR G COUCH & ELIZABETH E COUCH JT TEN      4007 CONNECTICUT AVE NW              APT 509                                                  WASHINGTON       DC   20008
ELEANOR G COUCH & KAREN L DICKEY JT TEN         7067 IRIS CT                                                                                  GRAND BLANC      MI   48439‐2316
ELEANOR G EDMONDS                               2511 CRUMP ROAD                                                                               WINTER HAVEN     FL   33881‐8203
ELEANOR G JOLDERSMA                             2101 36TH STREET S W                                                                          WYOMING          MI   49509‐3202
ELEANOR G MERRELL                               514 OAK ST                                                                                    BREMEN           GA   30110‐2134
ELEANOR G RICHARDS                              111 EAST GLENDALE AVE                                                                         ALEXANDRIA       VA   22301
ELEANOR G SKOLNICK                              1979 TWIN OAKS DRIVE                                                                          GIRARD           OH   44420‐1655
ELEANOR G SPRITZLER                             200 S BISCAYNE BL 5120                                                                        MIAMI            FL   33131‐2333
ELEANOR G SUTTON                                2210 GRANGE RD                                                                                TRENTON          MI   48183‐2210
ELEANOR G SUVERISON                             3613 WARREN‐SHARON RD                                                                         VIENNA           OH   44473‐9534
ELEANOR GAIL YARROWS                            30700 HUNTERS DRIVE                                                                           FARMINGTON HILLS MI   48334‐1240

ELEANOR GAMBLE & FRANCES A GAMBLE JT TEN      16209 WEST PARKWAY                                                                              DETROIT         MI    48219‐3733
ELEANOR GASPER CUST CHARLES HOLLO GASPER UGMA 4837 CHRISTOBLE DR                                                                              SAINT LOUIS     MO    63129‐1582
CA
ELEANOR GRAHAM WATSON                         5184 CATALPA KNOLL NW                                                                           ACWORTH         GA    30101‐7896
ELEANOR H CARDAMONE                           18524 MICHAEL                                                                                   EAST POINTE     MI    48021‐1333
ELEANOR H CHESSER                             3151 KEENLY IVES CT                                                                             BUFORD          GA    30519
ELEANOR H HARTWIG & JOYCE L BRANCH JT TEN     106 FAIRVIEW                                                                                    ROSCOMMON       MI    48653
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ELEANOR H PAULSEN TR UA 04/11/2007 PAULSEN     5862 W BENALEX DRIVE                                                                              TOLEDO           OH    43612
FAMILY TRUST
ELEANOR H SMITH                                12701 SHAKER BLVD APT 406                                                                         CLEVELAND        OH    44120‐2027
ELEANOR H STEWART CUST MELISSA A STEWART UTMA 475 HILLCREST DRIVE                                                                                ENCINITAS        CA    92024‐1530
CA
ELEANOR H STEWART CUST MICHELLE J STEWART UTMA 475 HILLCREST DR                                                                                  ENCINITAS        CA    92024‐1530
CA
ELEANOR H TEDESCO                              PO BOX 992                                                                                        CENTER HARBOR    NH    03226
ELEANOR H TOMAN                                3710 S 92ND ST                                                                                    MILWAUKEE        WI    53228‐1612
ELEANOR H WALD & KENNETH H SLONE & SUSAN C     150 SLEEPY HOLLOW RD                                                                              PITTSBURGH       PA    15216‐1728
SLONE JT TEN
ELEANOR H WILKE                                1421 MAYLAND DR                                                                                   CINCINNATI       OH    45230‐2774
ELEANOR H WILLIAMS                             1092 W 900 N                                                                                      ALEXANDRIA       IN    46001‐8037
ELEANOR HARVEY                                 4359 TAHITIAN GARDENS CIR                APT J                                                    HOLIDAY          FL    34691‐3739
ELEANOR HELBERG                                7 SWORDFISH DR                                                                                    S YARMOUTH       MA    02664‐5152
ELEANOR HELZ & PATRICIA DULETSKY JT TEN        3891 CALIFORNIA WAY                                                                               LIVERMORE        CA    94550‐3615
ELEANOR HOELZER                                1636 FRUIT COVE WOODS DR                                                                          SAINT JOHNS      FL    32259‐2951
ELEANOR HOYT JONES U/GDNSHP OF ELAINE JONES    DRAWER 40                                                                                         SHELDON          SC    29941‐0040

ELEANOR HUI                                      515 LAKEVILLE RD                                                                                NEW HYDE PARK    NY    11040‐3005
ELEANOR HUMR TR HUMR FAMILY LIVING TRUST UA      4710 REDFERN ROAD                                                                               PARMA            OH    44134‐3508
07/22/96
ELEANOR HUNTER                                   118 LAFAYETTE DR                                                                                WSHNGTN CRSNG    PA    18977‐1412

ELEANOR HUNTER                                   9573 HICKORY HILL DR                                                                            TWINSBURG        OH    44086
ELEANOR I MATTISON                               460 HADDON AVE #409                                                                             COLLINGSWOOD     NJ    08108‐1336
ELEANOR I PITCHURE                               1270 YOUNGS RD                         UNIT F                                                   BUFFALO          NY    14221‐2669
ELEANOR I WASHINGTON                             1612 SANDY RIDGE APTS                                                                           PENNSGROVE       NJ    08069
ELEANOR J ADAMS                                  17818 SE RIVER ROAD                                                                             MILWAUKIE        OR    97267‐5819
ELEANOR J ARMSTRONG                              6912 ENGLEWOOD                                                                                  RAYTOWN          MO    64133‐6121
ELEANOR J BAZATA                                 160‐17 29TH AVE                                                                                 FLUSHING         NY    11358‐1304
ELEANOR J BELLE CUST BRIAN R SIEGEL UTMA NY      7 WAVERLY CT                                                                                    EATONTOWN        NJ    07724‐9628
ELEANOR J BROWN                                  1809 HOLLY RIDGE RD                                                                             COLUMBUS         OH    43219‐1624
ELEANOR J FLEMING                                1700 DRAKE DRIVE                                                                                XENIA            OH    45385‐3957
ELEANOR J HARMS                                  335 HIGHLAND PINES DR                                                                           PITTSBURGH       PA    15237‐2022
ELEANOR J HURFF                                  470 PEDRICKTOWN RD                                                                              LOGAN TOWNSHIP   NJ    08085‐4511

ELEANOR J HURRY & JOHN D HURRY & JOHN L HURRY JT G 9315 CLIO RD                                                                                  CLIO             MI    48420
TEN
ELEANOR J KANTOR                                 4403 WEST 227 STREET                                                                            FAIRVIEW PARK    OH    44126‐2201
ELEANOR J MCGRAW                                 38158 SLEIGH DR                                                                                 STERLING HTS     MI    48310
ELEANOR J MILLS                                  8961 WABASIS RD                                                                                 GREENVILLE       MI    48838‐9330
ELEANOR J MITCHELL                               120 W GRANT ST                                                                                  WOODSTOWN        NJ    08098‐1236
ELEANOR J SPIELMAKER                             16333 S W FOUR WOOD WAY                                                                         INDIANTOWN       FL    34956‐3621
ELEANOR J STRINGER                               ATTN ELEANOR J JADWIN                  BOX 122              110 N KIMMEL RD                     CLAYTON          OH    45315‐9704
ELEANOR J THIELEN                                9351 EAST 28TH STREET SPACE 91                                                                  YUMA             AZ    85365
ELEANOR J VANCIL                                 BOX 62                                                                                          PALMER           IL    62556‐0062
ELEANOR JANE HOLDERBAUM                          118 SHEFFIELD DRIVE                                                                             IRWIN            PA    15642‐3219
ELEANOR JANE HUBBARD TR UW WILLIAM H HUBBARD 1029 FABIOLA DRIVE                                                                                  NAPA             CA    94558‐4002
JR
ELEANOR JANE SCHEDLBOWER & CHARLES F             8264 HURON CT W                                                                                 WHITE LAKE       MI    48386‐2512
SCHEDLBOWER JT TEN
ELEANOR JEAN REESE                               6318 CHERRY RUN                                                                                 HOUSTON          TX    77084‐1583
ELEANOR JEAN SCHIEGEL                            PO BOX 363                             EMSDALE ON                             P0A 1J0 CANADA
ELEANOR JOYCE LYNN                               21400 ANDOVER                                                                                   SOUTHFIELD       MI    48076‐3194
ELEANOR JOZWIAK                                  25956 JEANETTE CT                                                                               ROSEVILLE        MI    48066‐3828
ELEANOR K BULWICZ                                52 HICKORY ST                                                                                   METUCHEN         NJ    08840‐2710
ELEANOR K HARN                                   641 DEAN CT                                                                                     CANTON           IL    61520‐2048
ELEANOR K KAREUS                                 5468 PINELAND AVE                                                                               PORT ORANGE      FL    32127‐5586
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ELEANOR K MERCIER                                 34 HOLT ST                                                                                       BRISTOL            CT    06010
ELEANOR K MOISA                                   9 FOREST GLEN ROAD                                                                               OLD SAYBROOK       CT    06475‐2605
ELEANOR K O BRIEN                                 237 TRIANON LANE                                                                                 VILLANOVA          PA    19085‐1444
ELEANOR K TYLER & STANLEY A KAROL JT TEN          661 HAMMOND STREET                                                                               BROOKLINE          MA    02467‐2117
ELEANOR KELLEY & ALFRED W KELLEY JT TEN           12796 SYCAMORE                                                                                   SOUTHGATE          MI    48195‐1336
ELEANOR KINGSLEY                                  6704 S KOA RD                                                                                    LEAVENWORTH        IN    47137‐8306
ELEANOR KNOX LARSON                               829 LARSON ROAD                                                                                  SCHWENKSVILLE      PA    19473‐1989
ELEANOR KWASNIK                                   284 PALSA AVE                                                                                    ELMWOOD PARK       NJ    07407
ELEANOR L ACKERMAN                                6284 N OCEANA DR                                                                                 HART               MI    49420‐8432
ELEANOR L ANDERSON                                2150 COLLIER ROAD                                                                                SPRINGFIELD        OH    45506
ELEANOR L CARUSO                                  17715 STRILEY DR                                                                                 ASHTON             MD    20861
ELEANOR L CURTO                                   1491 PURITAN DR                                                                                  OCEANSIDE          CA    92057‐1807
ELEANOR L DINGESS                                 6765 MADISON                                                                                     TAYLOR             MI    48180‐1775
ELEANOR L DOLENGA TR UA 02/26/93 ELEANOR L        HICKORY GROVE #207                      41110 FOX RUN RD                                         NOVI               MI    48377‐4815
DOLENGA
ELEANOR L DULONG                                  458 CHESHIRE TPK                                                                                 LANGDON            NH    03602‐8613
ELEANOR L ERICKSON & KATHLEEN E PARSCH JT TEN     881 CLEAR AVE                                                                                    ST PAUL            MN    55106‐1820

ELEANOR L HARRIS                                  3194 LAVERNE CIRCLE                                                                              HAMPSTEAD          MD    21074‐1102
ELEANOR L HAUSHEER TR UA 11/20/90 ELEANOR L       7741‐5 FOREST TRAIL                                                                              PORT RICHEY        FL    34668‐5818
HAUSHEER TRUST
ELEANOR L HEDRICK                                 HC 71 BOX 162                                                                                    AUGUSTA            WV    26704‐9531
ELEANOR L HICKEY                                  6946 DOGWOOD DR                                                                                  SEAFORD            DE    19973‐6900
ELEANOR L JOHNSON                                 51225 KINGWOOD                                                                                   SHELBY TOWNSHIP    MI    48316‐4529

ELEANOR L LEONARD                                 38 AKIN WAY NW                                                                                   CARTERSVILLE       GA    30120‐4403
ELEANOR L MARK                                    6146 N VASSAR RD                                                                                 FLINT              MI    48506‐1238
ELEANOR L MERINAR                                 RD #3 BOX 138                                                                                    WHEELING           WV    26003‐9404
ELEANOR L NIELAN                                  5 CROWNRIDGE DR                                                                                  DANVILLE           CA    94506‐1905
ELEANOR L POOLE                                   5635 PINE BRANCH RD                                                                              COLUMBIA           SC    29206‐1502
ELEANOR L SAAM                                    16 MILROSE LN                                                                                    LAKE LUZERNE       NY    12846‐2517
ELEANOR L WARRINGTON TR ELEANOR L WARRINGTON      1167 MC KEE RD APT 237                                                                           DOVER              DE    19904‐2208
TRUST UA 10/17/96
ELEANOR LANYON                                    686 COUNTY RD 4260                                                                               WOODVILLE          TX    75979
ELEANOR LEFCOWITZ                                 C/O ELEANOR LEFCOWITZ SHERIDAN          4 OLIVE AVE          TORONTO ON        M6G 1T8 CANADA
ELEANOR LEVIN                                     5 HEMLOCK DR                                                                                     ROSLYN             NY    11576‐2302
ELEANOR LEVITAN                                   53 UNDERHILL RD                                                                                  SCARSDALE          NY    10583‐1040
ELEANOR LITOW                                     110 WORDEN AVE                                                                                   ANN ARBOR          MI    48103‐4032
ELEANOR LITTLEFIELD & SIDNEY LITTLEFIELD JT TEN   24 ADAMS AVE                                                                                     ROCHESTER          NH    03867‐2803

ELEANOR LOUISE CROOKS                             101 MORGNEC ROAD APT G101                                                                        CHESTERTOWN        MD    21620‐1088
ELEANOR M AYOUB                                   PO BOX 3068                                                                                      WORCESTER          MA    01613‐3068
ELEANOR M BABUSCAK & ROBERT E BABUSCAK JT TEN     37 LESLIE ST                                                                                     UNIONTOWN          PA    15401‐4564

ELEANOR M BARCZAK                                 6870 WINTHROP                                                                                    DETROIT            MI    48228‐5232
ELEANOR M BRESLIN                                 2576 CURRIERS PL                                                                                 MANASQUAN          NJ    08736‐2236
ELEANOR M BROCKRIEDE TR UA 11/22/93 ELEANOR M     4945 MARATHON RD                                                                                 COLUMBIAVILLE      MI    48421‐9320
BROCKRIEDE TR
ELEANOR M CARETHERS                               20330 ROSELAND ST                                                                                SOUTHFIELD         MI    48076‐2464
ELEANOR M CEDARLAND                               2138 N 148TH ST                                                                                  SEATTLE            WA    98133‐6712
ELEANOR M CONDON TR UA 08/15/94 ELEANOR M         224 N KENILWORTH UNIT 4C                                                                         OAK PARK           IL    60302‐2034
CONDON
ELEANOR M CONKO & JEFFREY O CONKO & PAULA M       1641 HYNOMAN ST                                                                                  SO CONNELLSVILLE   PA    15425
TREMBA JT TEN
ELEANOR M DIERMYER BALE                           77 MILLAR PL                                                                                     LOCKPORT           NY    14094‐4952
ELEANOR M ENGLER                                  PO BOX 36                               690 FAUVER                                               RIDGEVILLE         OH    43555‐0036
                                                                                                                                                   CORNERS
ELEANOR M FALL                                    124 1/2 GARRETT AVE APT B                                                                        CHULA VISTA        CA    91910‐2556
ELEANOR M FORMICOLA                               1007 CHILI CENTER COLDWATER RD                                                                   ROCHESTER          NY    14624‐4543
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ELEANOR M GARY                                   1016 BACON STREET                                                                              DURHAM           NC    27703
ELEANOR M GIAMBELUCA                             3826 GUILFORD RD                                                                               ROCKFORD         IL    61107‐3567
ELEANOR M GLIME & WILLIAM H GLIME JT TEN         3456 MAYBERRY LN                                                                               HOWELL           MI    48843‐7966
ELEANOR M HOOVER & WILLIAM C HOOVER JT TEN       1447 RANDOLPH ST                                                                               DELTONA          FL    32725‐8436

ELEANOR M JANUARY & LAWRENCE E TILLEY JT TEN     17 PARKWIND CT                                                                                 BALTIMORE        MD    21234‐4236

ELEANOR M JEAN CUST DIANE M JEAN UGMA MA       340 RIVERSIDE AVE                                                                                MEDFORD          MA    02155‐5726
ELEANOR M JESZKE                               368 SCONE DR                                                                                     TROY             MI    48098‐1734
ELEANOR M JONES                                7098 TIMBERWOOD DR                                                                               DAVISON          MI    48423‐9549
ELEANOR M JORDAN                               1628 LEFFINGWELL AVE NE                                                                          GRAND RAPIDS     MI    49525‐4530
ELEANOR M KANE                                 338 WHITE POND RD                                                                                STORMVILLE       NY    12582‐5800
ELEANOR M KASKOUN                              EXECUTIVE TOWERS                      APT 3J                  160 ACADEMY ST                     POUGHKEEPSIE     NY    12601‐4501
ELEANOR M KAWKA                                15 LOST MOUNTAIN TRAIL                                                                           ROCHESTER        NY    14625‐2424
ELEANOR M LOOS TR LOOS CREDIT SHELTER TRUST UA 15410 S STATION ROAD BOX 932                                                                     COLUMBIA STATION OH    44028‐0932
08/26/01
ELEANOR M MC ALLISTER                          13 THE LANDMARK                                                                                  NORTHFIELD       IL    60093‐3452
ELEANOR M MILES                                19184 STAHELIN                                                                                   DETROIT          MI    48219‐2712
ELEANOR M MILITANA                             47 GREENHAVEN RD                                                                                 RYE              NY    10580‐2248
ELEANOR M MOORE & W S MOORE JT TEN             39 STIRLING WAY                                                                                  CHADDS FORD      PA    19317‐9411
ELEANOR M OCONNOR & MICHAEL OCONNOR JR JT TEN 4311 LAWSON                                                                                       SAGINAW          MI    48603‐3042

ELEANOR M PROFITT                            5590 MESA VERDA CT                                                                                 FAIRFIELD        OH    45014‐3839
ELEANOR M ROMCEA                             2541 BRANTWOOD DRIVE                                                                               WESTLAKE         OH    44145‐4804
ELEANOR M ROMCEA CUST KRISTINA M ROMCEA UGMA 138 BRUNSWICK DR                                                                                   AVON LAKE        OH    44012‐2048
OH
ELEANOR M SCHLEGEL & JAMES J SCHLEGEL JT TEN 725 MILLER AVE                          #407                                                       FREEPORT         NY    11520‐6351

ELEANOR M SMOLINSKI                              3263 BERNICE                                                                                   WARREN           MI    48091‐3922
ELEANOR M SOPKO                                  608 CHICAGO BLVD                                                                               SEA GIRT         NJ    08750‐1415
ELEANOR M SOPKO & GABRIEL SOPKO JT TEN           608 CHICAGO BLVD                                                                               SEA GIRT         NJ    08750‐1415
ELEANOR M TIDWELL                                724 ASHFORD RD                                                                                 WILMINGTON       DE    19803‐2222
ELEANOR M TRAVIS                                 33299 DUNES CT                                                                                 LEWES            DE    19958‐5309
ELEANOR M VITKUS                                 4109 W 98TH ST                      UNIT 1A                                                    OAKLAWN          IL    60453‐3428
ELEANOR M WACEK & MARY HOWARD JT TEN             808 E 117TH TERR                                                                               KANSAS CITY      MO    64131‐3819
ELEANOR M WARD                                   11 GLENBARRY DR                                                                                WILMINGTON       DE    19808‐1318
ELEANOR M WASNIEWSKI                             9627 S MILLARD AVE                                                                             EVERGREEN PARK   IL    60805‐2910
ELEANOR M WEBSTER                                WOODSTREAM CONDOMINIUM              828 SOUTH AVENUE #A‐8                                      SECANE           PA    19018‐4450
ELEANOR M YERKES                                 3164 SENECA CASTLE RD                                                                          STANLEY          NY    14561‐9547
ELEANOR M ZEGGER & ROBERT E POWERS JT TEN        20 STRAWFIELD RD                                                                               UNIONVILLE       CT    06085‐1070
ELEANOR MACK                                     1201 HARVEST GLEN DRIVE                                                                        PLANO            TX    75023
ELEANOR MAE HILL & FERMAN BARBER JT TEN          1269 NAUTICUS CIRCLE                APT 101                                                    VIRGINIA BEACH   VA    23454‐5432
ELEANOR MAE TODD                                 13200 BLUE QUAIL RD                                                                            YUKON            OK    73099‐8404
ELEANOR MAIDEN CRISPELL                          PO BOX 808                                                                                     EL GRANADA       CA    94018‐0808
ELEANOR MANERI GATTI                             53 IDUNA LN                                                                                    AMHERST          MA    01002‐3403
ELEANOR MAUGER                                   628 WILLIAMS ST                                                                                N TONAWANDA      NY    14120‐1713
ELEANOR MC COLLISTER                             229 SHELDON                                                                                    DOWNERS GROVE    IL    60515‐3923
ELEANOR MC GEORGE                                4069 STATE ROUTE 18                                                                            WAMPUM           PA    16157‐2137
ELEANOR MCCORMICK                                22312 N 148TH AVE                                                                              SUN CITY WEST    AZ    85375
ELEANOR MEIER & WILLIAM J MEIER JT TEN           PO BOX 2134                                                                                    SETAUKET         NY    11733‐0714
ELEANOR MESSINA & PATRICIA M MAURO &             13322 HAUPT DR                                                                                 WARREN           MI    48093‐1325
BENEDETTO MESSINA JT TEN
ELEANOR MESTAS                                   13711 BECKNER STREET                                                                           LA PEUNTE        CA    91746‐2022
ELEANOR MILLER                                   952 PIONEER DRIVE                                                                              N TONAWANDA      NY    14120‐2926
ELEANOR MILLER CARR                              2977 SYLVAN RAMBLE RD NE                                                                       ATLANTA          GA    30345‐2159
ELEANOR MILLER CUST JASON MARK MILLER UGMA CT    5 WOODSTOCK DR                                                                                 MANCHESTER       CT    06040‐2249

ELEANOR MORGENLENDER                             ATRIA KEW GARDENS                   11701 84TH AVE 506      KEW GARDENS                        RICHMOND HILL    NY    11418
ELEANOR MOSTY SETH                               1601 TRAFALAGAR                                                                                FT WORTH         TX    76116‐1853
                                              09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                              Address2             Address3          Address4          City             State Zip

ELEANOR MURDOCK                                  239 E CAIRO DR                                                                                TEMPE            AZ    85282‐3607
ELEANOR N BROYLES                                BOX 1194                                                                                      POCAHONTAS       AR    72455‐1194
ELEANOR N HRODY TR UA 02/22/07 ELEANOR M HRODY 1519 WENOHAH AVE                                                                                BERWYN           IL    60402
TRUST
ELEANOR NAGY GRIFFIS & JUDITH ANN GRIFFIS JT TEN 5 MAPLEWOOD CIRCLE                                                                            LONG BEACH       MS    39560‐3831

ELEANOR NAVARRE                                 5092 HARBOR OAKS DRIVE                                                                         WATERFORD        MI    48329‐1726
ELEANOR NESTOR TR ELEANOR NESTOR LIVING TRUST   3705 BOULDER DR                                                                                TROY             MI    48084

ELEANOR O WOODROW                               7053 MAPLEWOOD ROAD                                                                            PARMA HEIGHTS    OH    44130‐3724
ELEANOR P BOUDREAU                              5 PORTER AVE                                                                                   BURLINGTON       MA    01803‐3009
ELEANOR P BOUDREAU & JANICE L BOUDREAU JT TEN   5 PORTER AVE                                                                                   BURLINGTON       MA    01803‐3009

ELEANOR P BURTON TR ELEANOR P BURTON TRUST UA 9775 MCCLUMPHA RD                                                                                PLYMOUTH         MI    48170‐3419
07/24/01
ELEANOR P DIXON                                 C/O FRANCIS E MALENEY JR              1141 FYLER RD                                            KIRKVILLE        NY    13082‐9426
ELEANOR P GAINES CUST PATRICK TUNG GAINES UTMA 200 W 29TH ST                                                                                   VANCOUVER        WA    98660‐2212
WA
ELEANOR P GUZIE & SHARON G MAZZOCHI JT TEN      10 CANDLEWOOD LANE                                                                             FARMINGTON       CT    06032
ELEANOR P HELTERBRAND                           7011 BEECHWOOD RD                                                                              HILLSBORO        OH    45133‐8448
ELEANOR P KING                                  340 DIVISION ST                                                                                NEWAYGO          MI    49337‐8823
ELEANOR P MAYER TR ELEANOR P MAYER LIVING TRUST 6189 COMMADORE CT                                                                              COLUMBIA         MD    21045‐4310
UA 05/03/04
ELEANOR P YOUNG & JAMES C YOUNG JT TEN          1606 WINNERS CUP CIR                                                                           SAINT CHARLES    IL    60174
ELEANOR PAPROCKI                                1301 SOUTH PALMETTO CIRCLE                                                                     DAYTONA BEACH    FL    32114‐6125
ELEANOR PARKER                                  710 S 12TH AVE                        LAGRANGE                                                 LA GRANGE        IL    60525
ELEANOR PERRYMAN                                6033 BIRDSEYE TRL                                                                              ATLANTA          GA    30349‐8814
ELEANOR PORRITT                                 280 PATTEE HILL RD                                                                             GOFFSTOWN        NH    03045‐3115
ELEANOR PORRO TORETTA                           129 ASBYRY BROADWAY RD                                                                         ASBURY           NJ    08802‐1005
ELEANOR POWERS & RICHARD POWERS JT TEN          1987 WRENSON                                                                                   FERNDALE         MI    48220‐2037
ELEANOR PRIPADCHEFF                             15 WATERFORD COURT                                                                             STATEN ISLAND    NY    10305‐4741
ELEANOR R BELANGER                              35 W CHARLOTTE AVE                                                                             CINCINNATI       OH    45215‐2012
ELEANOR R BOHLE                                 350 W SCHAWMBURG RD                   APT D158                                                 SCHAUMBURG       IL    60194‐3455
ELEANOR R BRINDLEY                              1420 BUSH CREEK DR                                                                             GRAND BLANC      MI    48439
ELEANOR R CASEY                                 186 PINE GROVE DR                                                                              SO HADLEY        MA    01075‐2197
ELEANOR R CULIK                                 2001 HARRISBURG PIKE # 243                                                                     LANCASTER        PA    17601‐2641
ELEANOR R EDMUNDS                               121 BELMEADE ROAD                                                                              ROCHESTER        NY    14617‐3623
ELEANOR R ESSMAN                                BOX 34                                                                                         WELLSTON         OH    45692‐0034
ELEANOR R FERRUCCI                              4754 E BROWN AVE                                                                               FRESNO           CA    93703‐1623
ELEANOR R GRIMES & ROBERTA GRIMES JT TEN        130 W DOUGLAS                                                                                  NAPERVILLE       IL    60540‐4542
ELEANOR R HORN & ALBERT SPENCER HORN JR JT TEN 1262 HARBOUR POINT DRIVE                                                                        PORT ORANGE      FL    32127‐5630

ELEANOR R LINGO                                 2215 AMHERST RD                       FAIRFAX                                                  WILMINGTON       DE    19803‐3014
ELEANOR R NAZHA TR ELEANOR R NAZHA TRUST UA     12 WEXFORD LN                                                                                  LINWOOD          NJ    08221‐1382
06/21/91
ELEANOR R NUNEZ                                 1891 CARTER RD                                                                                 DUBUQUE          IA    52001‐3925
ELEANOR R WEAR                                  C/O E W ROSE                          BOX 2413                                                 VINEYARD HAVEN   MA    02568‐2413
ELEANOR R WINTER                                5818 LOUNSBURY RD                                                                              WILLIAMSTON      MI    48895‐9484
ELEANOR RANDOLPH                                14 EAST 17TH STREET                   APT 6                                                    NEW YORK         NY    10003‐1934
ELEANOR REESE CROWE                             2075 BANKS SCHOOL RD                                                                           KINSTON          NC    28504‐9180
ELEANOR RIEGLE                                  9229 E COLDWATER RD                                                                            DAVISON          MI    48423‐8901
ELEANOR RIMAS                                   PSC 473 BOX 864                                                                                FPO              AP    96349‐5555
ELEANOR ROOKS                                   115 ROOKS DR                                                                                   BROWNSVILLE      TN    38012
ELEANOR RUTH WEBER                              2360 SW 22ND AVE                                                                               DELRAY BCH       FL    33445‐7755
ELEANOR S ASHWORTH                              195 MAIN ST                                                                                    KENSINGTON       CT    06037‐2650
ELEANOR S BARNETT                               5701 PRIMROSE AVE                                                                              LISLE            IL    60532‐2745
ELEANOR S CESSNA                                9661 MARKET ST                                                                                 NORTH LIMA       OH    44452‐8564
ELEANOR S GEDUTIS                               32601 FOWLER CIRCLE                                                                            WARRENVILLE      IL    60555
ELEANOR S JONES & BYRON C JONES JR JT TEN       2237 NW 22ND ST                                                                                OKLAHOMA CITY    OK    73107‐3548
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Name                                            Address1                             Address2               Address3        Address4          City            State Zip

ELEANOR S JORDAN                                 #7A                                 550 W 125 ST                                             NEW YORK        NY    10027‐3404
ELEANOR S LEWIS TR ELEANOR S LEWIS REVOCABLE     819 LAKEWOOD AVE                                                                             SCHENECTADY     NY    12309‐6106
LIVING TRUST UA 06/05/03
ELEANOR S NEEL TR ELEANOR S NEEL REVOCABLE TRUST 835 CREST DRIVE                                                                              FAYETTEVILLE    AR    72701‐2309
UA 4/27/99
ELEANOR S RACKLEY                                ATTN ELEANOR S PROKOS               8111 S BURLINGTON DR                                     MUNCIE          IN    47302‐9646
ELEANOR S RAPELJE                                48 CIRCLE DRIVE                                                                              GLEN COVE       NY    11542‐3226
ELEANOR S RUSNAK                                 319 SPRUCE ST                                                                                MOOSIC          PA    18507‐1153
ELEANOR S SELL TR UA 09/14/07 ELEANOR SCHAEFER   203 N FRONT ST                                                                               WHEELING        WV    26003
SELL TRUST
ELEANOR S SPENCER                                33531 ATLANTIC AVE                                                                           DANA POINT      CA    92629‐4401
ELEANOR S WAMBACK                                7055 WALTON ROAD                                                                             WALTON HILLS    OH    44146‐4354
ELEANOR SANTO                                    134 ASHBROOK CIR                                                                             WEBSTER         NY    14580‐8588
ELEANOR SCHAFF TR UA 01/09/84 ELEANOR SCHAFF     6600 MACBETH DRIVE                                                                           ANCHORAGE       AK    99516‐1820
TRUST
ELEANOR SCHMIDT & JAMES J SCHMIDT JT TEN         34401 JEROME ST                                                                              CHESTERFIELD    MI    48047‐3679
ELEANOR SCHMIDT & LARRY R SCHMIDT JT TEN         34401 JEROME ST                                                                              NEW BALTIMORE   MI    48047
ELEANOR SCHNEIDER                                APT 12                              516 W MULBURY                                            KOKOMO          IN    46901‐4461
ELEANOR SCHWARTZ & JOSEPH SCHWARTZ & ROBERTA 12 WILSHIRE DR                                                                                   SHARON          MA    02067‐1526
SCHWARTZ JT TEN
ELEANOR SELNER                                   PO BOX 74                                                                                    CUTCHOGUE       NY    11935‐0074
ELEANOR SHUBIN                                   18340 YORBA LINDA BLVD              SUITE 107 BOX 115                                        YORBA LINDA     CA    92886‐4041
ELEANOR SIBOLOSKI                                3601 SODERQUIST RD                                                                           MANCELONA       MI    49659‐8932
ELEANOR SMITH                                    1552 E FOSTER MAINEVILLE                                                                     MORROW          OH    45152‐8566
ELEANOR SMITH                                    42 S MAPLE                                                                                   FOX LAKE        IL    60020‐1820
ELEANOR STANDIFORD                               7830 BROOKWOOD WAY                                                                           CUMMING         GA    30041‐8345
ELEANOR STECHER                                  1102 DAVENPORT DR                                                                            BURTON          MI    48529‐1905
ELEANOR T MOORE                                  APT 1M                              10 CRESTMONT RD                                          MONTCLAIR       NJ    07042‐1933
ELEANOR T OSULLIVAN                              11 SWAN AVE                                                                                  LOCUST          NJ    07760‐2352
ELEANOR T PETERSON                               9471 CONKLIN AVE                                                                             CINCINNATI      OH    45242
ELEANOR THEN                                     735 LORETTA ST                                                                               TONAWANDA       NY    14150
ELEANOR TULIP                                    1002 KNOX ST                                                                                 OGDENSBURG      NY    13669‐2878
ELEANOR V CONNOLLY                               5805 42TH AVE APT 223                                                                        HYATTSVILLE     MD    20781
ELEANOR V HOFFMANN TR UA 05/26/94 ELEANOR V      751 LOVEVILLE RD                                                                             HOCKESSIN       DE    19707‐9562
HOFFMANN
ELEANOR V LANGE & RICHARD L LANGE TR LANGE       3241 STUART ST                                                                               DENVER          CO    80212‐1713
LIVING TRUST UA 08/30/99
ELEANOR V TAYLOR                                 15747 NORTHLAWN                                                                              DETROIT         MI    48238‐1153
ELEANOR V WARREN                                 436 GARLAND ROAD                                                                             WILMINGTON      DE    19803‐3516
ELEANOR W HAUPTFLEISCH                           10 SHERMAN AVE                                                                               SUMMIT          NJ    07901‐1914
ELEANOR W LAUDE                                  PO BOX 979                                                                                   SANTEE          SC    29142‐0979
ELEANOR W SOLTIS                                 1884 FOREST PARK RD                                                                          MUSKEGON        MI    49441‐4512
ELEANOR WACHTER                                  825 ALDEN DR                                                                                 PITTSBURGH      PA    15220‐1033
ELEANOR WALLACE HOLDEN                           253 PROVIDENCE SQUARE DR                                                                     CHARLOTTE       NC    28270‐6567
ELEANOR WHITE                                    1701 ALCOY DR                                                                                COLUMBUS        OH    43227‐3307
ELEANOR WIERZBICKI & PAUL WIERZBICKI JT TEN      3705 COLLINWOOD LN                                                                           WEST PALM BCH   FL    33406‐4140
ELEANOR WOOD                                     416 ROSSMOUNT AVE                   OSHAWA ON                              L1J 3K6 CANADA
ELEANOR YARGER KEPHART                           6425 SHERMAN DR                                                                              LOCKPORT        NY    14094‐6533
ELEANOR ZACHER                                   235 S WELLWOOD AVE                                                                           LINDENHURST     NY    11757‐4904
ELEANOR ZENTEK                                   11 WALLING ST                                                                                SAYREVILLE      NJ    08872‐1818
ELEANOR ZOFCHAK & STEVEN ZOFCHAK JT TEN          15126 BIRD RD                                                                                BYRON           MI    48418‐9064
ELEANORA C MITCHELL                              3905 ADAMS DR                                                                                WHEATON         MD    20902‐2307
ELEANORA I LITTLEPAIGE                           708 E MADISON                                                                                DANVILLE        IL    61832‐5916
ELEANORA MARIE FELTON                            13501 STRATFORD PLACE CIR           APT 201                                                  FORT MYERS      FL    33919‐5129
ELEANORA N HOERNLE                               951 HEARD AVE                                                                                AUGUSTA         GA    30904‐4113
ELEANORA S LEE                                   9100 BON AIR CROSSINGS DR           APT 242                                                  RICHMOND        VA    23235‐4980
ELEANORE B MCMANUS                               25555 COUNTRY CLUB BLVD #7                                                                   N OLMSTED       OH    44070‐4340
ELEANORE C BARNES                                14 HOLLY LANE                                                                                MERIDEN         CT    06450‐4749
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Name                                                Address1                              Address2             Address3          Address4          City               State Zip

ELEANORE C BENO & AUDREY S VAN CUCHA JT TEN         14328 OAKLAND PARK DR                                                                          STRONGSVILLE       OH    44136‐1824

ELEANORE C MILLER                                   4151 WESTBROOK DR                                                                              ANN ARBOR          MI    48108‐9663
ELEANORE CURRY & RONALD KUVER & DIANE KUVER JT      1221 BROAD ST                         #321A                                                    FUQUAY VARINA      NC    27526‐3608
TEN
ELEANORE ELY SMITH TYSON                            5930 PAR FOUR                                                                                  HOUSTON          TX      77088‐6634
ELEANORE F GIMPEL                                   203 FOREST DR                                                                                  WILMINGTON       DE      19804‐2315
ELEANORE G CLAREN                                   1598 SHRIDER RD                                                                                COLORADO SPRINGS CO      80920‐3376

ELEANORE IWANIAK                                    98 LAKESIDE DRIVE                                                                              WEST SENECA        NY    14224‐1014
ELEANORE J FRENCH                                   10 OVERBROOK CT                                                                                WIMBERLEY          TX    78676‐2702
ELEANORE K SPENCER & CAROL L VENTOLA JT TEN         4073 S US 23                                                                                   GREENBUSH          MI    48738‐9746
ELEANORE M HAUSNER & LEONARD HAUSNER JT TEN         3173 LEHMAN                                                                                    HAMTRAMCK          MI    48212‐3525

ELEANORE MC CURRY                                12735 SCOTT RD                                                                                    DAVISBURG          MI    48350‐2927
ELEANORE O ROST                                  3155 SW SHADOW LN                                                                                 TOPEKA             KS    66604‐2540
ELEANORE O ROST LIFE TENANT U‐W FRANCIS B O DELL 3155 SW SHADOW LN                                                                                 TOPEKA             KS    66604‐2540

ELEANORE P MC CURRY & JEANNE ELLEN MC CURRY JT      12735 SCOTT RD                                                                                 DAVISBURG          MI    48350‐2927
TEN
ELEANORE R SZWARC & CARL SZWARC JT TEN              22601 CAMILLE COURT                                                                            FARMINGTN HLS      MI    48335‐3620
ELEANORE SAHAJ                                      1587 RAMAPO WAY                                                                                SCOTCH PLAINS      NJ    07076‐2315
ELEANORE T ALIOTO                                   831 EAST FOREST HILL AVE                                                                       OAK CREEK          WI    53154‐3101
ELEAZAR G SALINAS                                   129 CHEYENNE ST                                                                                CORPUS CHISTI      TX    78405‐2710
ELEAZAR MASCORRO                                    3821 W 63RD PLACE                                                                              CHICAGO            IL    60629‐4752
ELEAZER J BELMARES                                  600 EUCLID STREET                                                                              DEFIANCE           OH    43512‐2415
ELEBRETH ANNE STUTZMAN                              5271 N CARROLLTON                                                                              INDIANAPOLIS       IN    46220‐3116
ELECTA R PRUETT                                     134 ALDERSGATE RD                                                                              JACKSONVILLE       NC    28546‐5847
ELECTA WATERMAN BAILEY                              ATTN GEORGE L MOORE                   1307 EVERETT RD                                          EAGLE RIVER        WI    54521‐8737
ELECTIC LODGE NO 67 INDEPENDENT ORDER OF            BOX 115                                                                                        FARMINGTON         WV    26571‐0115
ODDFELLOWS INC
ELECTRA B QUILLIN                                   12603 RUMGATE ROAD                                                                             OCEAN CITY         MD    21842‐9783
ELECTRA S JOAQUIN                                   511 SPRUCE ST                                                                                  MANCHESTER         NH    03103
ELEEN A HOSTETLER                                   205 S 54TH ST                                                                                  SPRINGFIELD        OR    97478‐6201
ELEENE CAMPBELL                                     8936 YELLOW DAISY PL                                                                           LORTON             VA    22079
ELEFFERIOS KEKLLAS TR ELEFFERIOS KEKLLAS TRUST UA   1641 MIDNIGHT PASSWAY                                                                          CLEARWATER         FL    33765‐1821
07/06/95
ELEFTERIA TOMASIK                                   1024 TEAL RD                                                                                   PEOTONE            IL    60468‐8984
ELEFTHERIO J KOUTOUZIS                              ALEXANDROU                            IPSILANTOU 4         KOS DODECANESOS   GREECE
ELEFTHERIOS BOYATZIES & LINDA B BOYATZIES JT TEN    554 SHORE DRIVE                                                                                HARTFIELD          VA    23071‐2043

ELEK HARTMAN                                        538 N STANLEY AVE                                                                              LOS ANGELES        CA    90036‐1804
ELENA A DUNLOP                                      59 WENHAM STREET                                                                               JAMAICA PLAIN      MA    02130‐4151
ELENA AQUINO LASERNA & RUBEN COLINA LASERNA         39876 S CREEK CIR                                                                              MURRIETA           CA    92563‐2818
TEN COM
ELENA BALDASAR CUST DENA BALDASAR UTMA NJ           220 OXFORD DR                                                                                  TENAFLY            NJ    07670‐3118
ELENA BECHER                                        2370 NORTH AVE                        SUITE 5B                                                 BRIDGEPORT         CT    06604‐2329
ELENA BOLEY                                         4432 WINDOM PLACE NW                                                                           WASHINGTON         DC    20016‐2410
ELENA C DACUMOS                                     PO BOX 197                                                                                     CHICAGO            IL    60690‐0197
ELENA C DE TILLEY                                   2198 KOPER DR                                                                                  STERLING HEIGHTS   MI    48310‐5227

ELENA CVETKOVSKI                                    26453 WILSON DR                                                                                DEARBORN HEIGHTS MI      48127‐4127

ELENA FICCADENTI                                    1304 VALLEE DR                                                                                 WEST DEPTFORD      NJ    08096‐3139
ELENA G HERRERA                                     20631 KISER RD                                                                                 DEFIANCE           OH    43512‐9060
ELENA H YANEZ                                       70 FOREST RIDGE DR                                                                             COLUMBUS           OH    43235‐1411
ELENA K WALKER                                      23 ANN MARIE DRIVE                                                                             LANCASTER          NY    14086‐9440
ELENA M MILEWSKI                                    221 CORINNE S W                                                                                GRAND RAPIDS       MI    49507‐1536
ELENA M YASSO                                       49 43 166TH ST                                                                                 FLUSHING           NY    11365‐1004
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ELENA M YASSO & EUGENE F YASSO JT TEN             49‐43 166TH ST                                                                                  FLUSHING         NY    11365‐1004
ELENA MAC LEOD                                    APT 11‐C                               345 8TH AVE                                              NEW YORK         NY    10001‐4837
ELENA MISIUNAS                                    408                                    CHATHAM APT           3018 59TH ST S                     GULFPORT         FL    33707‐5726
ELENA PENATI                                      38 SMITH GARRISON RD                                                                            NEWMARKET        NH    03857
ELENA SAVOY TR MICHAEL SAVOY IRA FAMILY TRUST UA 1516 N STATE PKWY                                                                                CHICAGO          IL    60610‐1677
09/18/96
ELENA ULITA                                       1097 GAULT DRIVE                                                                                YPSILANTI        MI    48198‐6427
ELENA VOLANTE                                     10513 FLINT                                                                                     OVERLAND PARK    KS    66214‐2634
ELENDER L MARKS                                   1313 MOHAWK DR                                                                                  LAWRENCEVILLE    GA    30043‐5839
ELENDER L MARKS JR                                5308 MONUMENT ROAD                                                                              JASPER           GA    30143
ELENI BITTARELLI CUST ALEXIA E BITTARELLI UTMA MA 91 GLEN RD                                                                                      WILMINGTON       MA    01887‐1880

ELENI BITTARELLI CUST CHRISTIANNA E BITTARELLI     91 GLEN RD                                                                                     WILMINGTON       MA    01887‐1880
UTMA MA
ELENI DIMEAS                                       23255 COLUMBUS RD                                                                              COLUMBUS         NJ    08022‐1913
ELENOR B ENGLE                                     7077 SOUTH DAVIES STREET                                                                       LITTLETON        CO    80120‐3525
ELENORA MARIK                                      5086 STATE ROUTE 152                                                                           RICHMOND         OH    43944‐7943
ELENORA WATKINS                                    4101 BLACKBERRY CRK                                                                            BURTON           MI    48519‐1939
ELENORE J SMITH                                    ATTN ELENORE BARRERA                  PO BOX 864                                               ELLIJAY          GA    30539
ELEONORA C BOTTI                                   7119 SHORE RD APT 4A                                                                           BROOKLYN         NY    11209‐1832
ELEONORA MALFA                                     52 LANDAU DR                                                                                   ROCHESTER        NY    14606‐5824
ELEONORE ANN MELINE                                18112 SANDY CAPE DR                                                                            MALIBU           CA    90265‐5642
ELEONORE F HOWMILLER TR UA HOWMILLER               C/O ARTHUR B GALLUN                   19555 REDBERRY DR                                        LOS GATOS        CA    95030‐2931
REVOCABLE LIVING TRUST 07/11/90
ELEONORE JUDITH KISS GOCKEL                        6933 KENFIG DR                                                                                 FALLS CHURCH   VA      22042‐3825
ELERY T RACKLEY                                    6058 FM 103                                                                                    NOCONA         TX      76255‐6725
ELERY T RACKLEY JR                                 1137 SIMPSON DRIVE                                                                             HURST          TX      76053‐4525
ELETHA D FRANKLIN                                  905 TREVINO DR                                                                                 LADY LAKE      FL      32159
ELETHA F PFAFF                                     114 ADAMS CT                                                                                   CUMBERLAND GAP TN      37752‐3931

ELEUTERIO B CHAVEZ                                 746 SO HILLVIEW                                                                                LOS ANGELES      CA    90022‐3204
ELEUTERIO COLLAZO                                  14 PRENDERGAST CT                                                                              GARNERVILLE      NY    10923‐1854
ELEUTHERA M FRASER                                 210 PRICE ST                                                                                   WALTERBORO       SC    29488‐3229
ELEX J GADDIS                                      PO BOX 5354                                                                                    FLINT            MI    48505
ELFA M ADKINS                                      RT 2 BOX 730                                                                                   SALT ROCK        WV    25559
ELFEGO MARTINEZ JR                                 36595 OAK STREET                                                                               FREMONT          CA    94536‐4812
ELFI L HAUSER TR U‐D‐T 04‐21‐82                    400 DEER VALLEY RD                    APT 3P                                                   SAN RAFAEL       CA    94903‐5518
ELFORD W FOUNTAIN                                  10301 NE 336TH ST                                                                              CAMERON          MO    64429‐9051
ELFREDA M BACON                                    2855 ANDERSON‐MORRIS RD                                                                        NILES            OH    44446‐4329
ELFREN ENRIQUEZ                                    PO BOX 949                            MANATL PR                              674 PUERTO RICO
ELFRIED HAUS TR HAUS TRUST UA 12/17/03             13015 COMMON ROAD                                                                              WARREN           MI    48093
ELFRIEDA ROTHENHAUSER                              15785 NICOLAI                                                                                  EAST DETROIT     MI    48021‐1664
ELFRIEDE A GROSS                                   RT 10 3777 O POSSUM RUN RD                                                                     MANSFIELD        OH    44903‐7530
ELFRIEDE DEMIZIO                                   250 N MYSTIC LANE                                                                              MONROE           NJ    08831‐1712
ELFRIEDE E SCHRINER                                696 LINWOOD AVE                                                                                COLUMBUS         OH    43205‐2859
ELFRIEDE S GOTHARD                                 15356 PANTHER LN                                                                               SALE CREEK       TN    37373‐5739
ELFRIEDE S NUGENT                                  2521 DEL AIRE BLVD APT C                                                                       DELRAY BEACH     FL    33445‐5997
ELFYN JOHN RICHARDS                                C/O MRS RICHARDSON                    1853 DEO DARA DRIVE                                      BIRMINGHAM       AL    35226‐2755
ELGEAN WOODS                                       PO BOX 62                                                                                      COLONIAL HGTS    VA    23834‐0062
ELGENE W MILLER TR THE ELGENE W MILLER TRUST UA    8100 CONNECTICUT AVE                  APT 1515                                                 CHEVY CHASE      MD    20815‐2821
06/24/86
ELGIN A DUNNINGTON                                 C/O ANN C DUNNINGTON                  PO BOX 523                                               SOLOMONS         MD    20688‐0523
ELGIN COOK                                         13179 OLD MILL RD                                                                              SPENCER          OH    44275‐9517
ELGIN F MCCONNON                                   8955 ROBBINS ROAD                                                                              CLARKSVILLE      MI    48815‐9742
ELGIN H NININGER JR BETTY R NININGER               20880 RIDGE ROAD                                                                               COLONIAL BEACH   VA    22443‐6100
ELGIN L MORSE                                      6585 ANNABELLE DR                                                                              ALLENDALE        MI    49401‐8343
ELGIN R PROVOAST                                   6807 ALBASTER ROAD                                                                             WHITTEMORE       MI    48770‐9733
ELI AGRENOVITZ                                     2889 N W 24TH CT                                                                               BOCA RATON       FL    33431‐6201
ELI BRENT                                          8619 JELLICO                                                                                   NORTHRIDGE       CA    91325‐3103
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

ELI C LUBER                                      BOX 161                                                                                        WILMETTE           IL    60091‐0161
ELI C REYES                                      4516 UNION CREEK DR                                                                            SCHERTZ            TX    78154
ELI COLLINS                                      722 KINNEY RD                                                                                  PONTIAC            MI    48340‐2439
ELI CROSS                                        ATT MAMIE CROSS                       867 SPINNING RD                                          DAYTON             OH    45431‐2845
ELI D COPE                                       208 W WASHINGTON                                                                               LISBON             OH    44432‐1244
ELI DUDLEY                                       4030 GALLAGHER ST                                                                              SAGINAW            MI    48601‐4226
ELI GEORGE                                       365 N SPALDING AVE                                                                             LEBANON            KY    40033‐1520
ELI GUTIERREZ                                    12475 FORDLINE                                                                                 SOUTHGATE          MI    48195‐2303
ELI H CAMPBELL                                   9758 S BEVERLY AVE                                                                             CHICAGO            IL    60643‐1376
ELI HAMILTON                                     20005 GALLAGHER                                                                                DETROIT            MI    48234‐1655
ELI ISRAEL & MICHAELE ISRAEL JT TEN              2857 VALERIE CT                                                                                MERRICK            NY    11566‐4654
ELI J ARANDA                                     1693 GRAND TETON DR                                                                            MILPITAS           CA    95035‐6548
ELI J BALDWIN JR                                 109 MAPLE AVE                                                                                  SHELTON            CT    06484‐2115
ELI J PINHAS                                     169 CLAIRMONT RD                                                                               STERRETT           AL    35147‐7011
ELI JAMES WUEST                                  3982 N HIGH ST                                                                                 COLUMBUS           OH    43214
ELI KENJALO                                      40700 WOODWARD AVE                    STE A                                                    BLOOMFIELD         MI    48304‐5110
ELI LIKELY                                       1319 WEST BUTLER                                                                               GRAND RAPIDS       MI    49507‐1949
ELI MENCO & MRS ROSETTA MENCO JT TEN             102‐13 63RD DR                                                                                 FOREST HILLS       NY    11375‐1541
ELI MISHUCK & MRS EVELYN F MISHUCK JT TEN        7605 HILLSIDE DR                                                                               LA JOLLA           CA    92037‐3943
ELI ROBINS                                       247 WEST 35TH ST                      FLOOR 14                                                 NEW YORK           NY    10001
ELI ROCHA                                        3622 EAST AVE                                                                                  BERWYN             IL    60402‐3851
ELI S EISNER                                     5 SIDEHILL RD                                                                                  WESTPORT           CT    06880‐2318
ELI SERBINA A MINOR                              35 COOPER STREEY                      AYR ON                                 N0B 1E0 CANADA
ELI SPITZER CUST JEFFREY SPITZER UTMA NJ         60 CRESCENT AVE                                                                                PASSAIC            NJ    07055‐2406
ELI VINT                                         4411‐1 CAMINITO SANA                                                                           SAN DIEGO          CA    92122‐5415
ELI ZBOROWSKI                                    44 FLEET ST                                                                                    FOREST HILLS       NY    11375‐5173
ELI ZBOROWSKI CUST ARIEL ZBOROWSKI UGMA NY       44 FLEET ST                                                                                    FOREST HILL        NY    11375‐5173

ELI ZBOROWSKI CUST ARIEL ZBOROWSKI UGMA NY       44 FLEET ST                                                                                    FOREST HILLS       NY    11375‐5173

ELI ZBOROWSKI CUST BOAZ O ZBOROWSKI UGMA NY      44 FLEET ST                                                                                    NEW YORK           NY    11375‐5173

ELI ZBOROWSKI CUST EREZ ELIAHU ZBOROWSKI UGMA    44 FLEET ST                                                                                    FOREST HILLS       NY    11375‐5173
NY
ELIA A FIATA                                     5 PONDVIEW LN                                                                                  YONKERS            NY    10710‐2323
ELIA E HOUSE                                     5212 ESTRELLA LN                                                                               BENBROOK           TX    76126‐1676
ELIA FIATA                                       5 PONDVIEW LN                                                                                  YONKERS            NY    10710‐2323
ELIA HARRIS                                      11301 SAN JOSE                                                                                 DETROIT            MI    48239‐2373
ELIA KUBISTA                                     46 ARGYLE RD                                                                                   GLEN ROCK          NJ    07452‐2702
ELIA L KLOOCK                                    76 KNOLLWOOD TER                                                                               CLIFTON            NJ    07012‐2325
ELIA MALAGON                                     15001 S W                             18O TERRACE                                              MIAMI              FL    33187
ELIA R ALBA ADM EST ANDRES ALBA                  1805 SW 107TH AVENUE #2604                                                                     MIAMI              FL    33165‐7363
ELIAM L RAMSEY                                   19978 TRACEY                                                                                   DETROIT            MI    48235‐1535
ELIAN GRAIR                                      37309 DOWNING ST                                                                               PALMDALE           CA    93550‐7748
ELIANA S D'ADDEZIO                               2605 AYRSHIRE                                                                                  BLOOMFIELD HILLS   MI    48302‐0801

ELIANE M FECIO                                   39 MORROW AVE                                                                                  LOCKPORT           NY    14094‐5014
ELIANE M JUDD TR UA 12/06/1991 ELAINE M JUDD     615 APPLEGATE LN                                                                               GRAND BLANC        MI    48439
TRUST
ELIAS A CANCHOLA                                 117 KIRK AVE                                                                                   SAN JOSE         CA      95127‐2217
ELIAS A PASTILHA                                 776 MYERSTON CT                                                                                LAWERENCEVILLE   GA      30044‐6075
ELIAS B LANDAU                                   820 ROSCOMMON ROAD                                                                             BRYN MAWR        PA      19010‐1845
ELIAS C D MITCHELL                               PO BOX 3326                                                                                    MUSCLE SHOALS    AL      35662‐3326
ELIAS C GHANTOUS                                 9087 N CENTER RD                                                                               CLIO             MI      48420‐9715
ELIAS C NOBLE & MRS GERTRUDE N NOBLE JT TEN      12212 SE 54TH ST                                                                               BELLEVUE         WA      98006‐2815
ELIAS D POLITIS                                  4214 MADISON                                                                                   DEARBORN HEIGHTS MI      48125‐2154

ELIAS FERGUSON                                   3109 LINKSLAND RD                                                                              MT PLEASANT        SC    29466‐8976
ELIAS FISCHER & RHODA J FISCHER JT TEN           3141 CENTRAL AVENUE                                                                            WILMETTE           IL    60091‐2005
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

ELIAS J AGUILAR                                 5047 W 29TH ST                                                                                 CICERO            IL    60804‐3527
ELIAS J ANTONAS                                 517 BLOSSOM AVE                                                                                CAMPBELL          OH    44405‐1434
ELIAS J WILLIAMS                                19949 BINDER                                                                                   DETROIT           MI    48234‐1907
ELIAS K RAAD                                    446 MEADE DR                                                                                   LANSING           MI    48917‐9676
ELIAS KARAVIDAS                                 22200 HOFFMAN                                                                                  ST CLAIR SHORES   MI    48082‐1473
ELIAS LARES                                     3139 RIVERVALE DR SW                                                                           GRANDVILLE        MI    49418‐3107
ELIAS MIHALTSES & MARIA MIHALTSES JT TEN        PO BOX 265                                                                                     LOCUST VALLEY     NY    11560
ELIAS RIVERA                                    341 REDFERN ST                                                                                 HAMILTON          NJ    08610‐5319
                                                                                                                                               TOWNSHIP
ELIAS ROMO                                      3752 E LEE ST                                                                                  LOS ANGELES       CA    90023‐2303
ELIAS S FALATIC & HELEN M FALATIC JT TEN        268 MAPLE ST                                                                                   NEWTON FALLS      OH    44444‐1521
ELIAS SHOJOT                                    5047 N RIDGEWAY AVE                                                                            CHICAGO           IL    60625‐6021
ELIAS TSEKERIDES                                30 ELM ST                                                                                      NO TARRYTOWN      NY    10591‐2233
ELIAS VALDEZ‐ALVAREZ & MARIA ARAUZ JT TEN       6117 HELIOTROPE AVE APT B                                                                      MAYWOOD           CA    90270
ELIAS WILLIAM VACLAVIK                          RT 4 BOX 149                                                                                   EL CAMPO          TX    77437‐9506
ELIAZAR PENA                                    144 SANTA CLARA ST                                                                             BIRSBANE          CA    94005
ELIAZBETH L HIMPSEL                             6618 SUSTTON RD                                                                                MADISON           WI    53711‐3112
ELIBALDO P GARCES                               845 E TAYLOR                                                                                   SAN JOSE          CA    95112‐3050
ELIDA R CABRERA                                 300 BAYVIEW DR #1109                                                                           NO MIAMI BEACH    FL    33160‐4745
ELIDIA MENDOZA                                  1040 MAIN STREET RT I                                                                          MARTIN            OH    43445‐9612
ELIE BARZILAY                                   2300 THIMENS AVE APT 507              ST LAURENT QC                          H4R 2B1 CANADA
ELIE D DAMICO CUST ELIE D DAMICO JR UGMA MD     3325 GREENWAY DR                                                                               ELLICOTT CITY     MD    21042‐2419

ELIEZER DAVID SHERIZEN                          12935 VERNON                                                                                   HUNTINGTON      MI      48070
                                                                                                                                               WOODS
ELIEZER FEUER                                   13615B 68TH DRIVE                                                                              FLUSHING        NY      11367
ELIEZER SEPULVEDA                               177 WHITE PL RD BLDG 5 #28B                                                                    TARRYTOWN       NY      10591
ELIGAH BOYKIN                                   2634 W MC NICHOLS                                                                              DETROIT         MI      48221‐3132
ELIGAH BOYKIN & JOEL BOYKIN JT TEN              2634 W MCNICHOLS                                                                               DETROIT         MI      48221‐3132
ELIGAH SPRAGINS                                 APT 2                                 22115 W MC NICHOLS                                       DETROIT         MI      48219‐3230
ELIGIO E RIVERA                                 2019 RAVENSWOOD ST                                                                             HYATTSVILLE     MD      20782‐1637
ELIGIO ESCALERA JR                              3831 BELLEWATER BLVD                                                                           RIVERVIEW       FL      33569‐3101
ELIGIO TREVINO JR                               102 PROSPECT                                                                                   ST LOUIS        MI      48880
ELIHER H THOMAS                                 13991 ST MARYS                                                                                 DETROIT         MI      48227‐1723
ELIHU BAER                                      168‐07 75TH AVE                                                                                FLUSHING        NY      11366‐1324
ELIHU JONES                                     16212 THROCKLEY                                                                                CLEVELAND       OH      44128‐1374
ELIHUE GAMBLE                                   523 EDDY ROAD                                                                                  CLEVELAND       OH      44108‐1847
ELIHUE P TIMMONS                                7262 MILLBURY CT                                                                               OAKWOOD VILLAGE OH      44146‐5954

ELIHUT C COLLAZO                                885 STIRLING                                                                                   PONTIAC           MI    48340‐3166
ELIJA ARNOLD                                    6922 N BEDFORD AVE                                                                             KANSAS CITY       MO    64151‐4847
ELIJAH A CUMMINS                                3124 PENNINGTON LN                                                                             WILLIAMSBURG      OH    45176‐9550
ELIJAH BUELL & JOYCE BUELL JT TEN               STAR ROUTE 71‐A                                                                                WALLINS CREEK     KY    40873
ELIJAH C SIPLIN                                 PO BOX 1092                                                                                    MT CLEMENS        MI    48046‐1092
ELIJAH J PAULSON                                2517 D STREET                                                                                  OMAHA             NE    68107
ELIJAH MCDOUGAL                                 218 VICTORY DR                                                                                 PONTIAC           MI    48342‐2567
ELIJAH R BURNS                                  489 EMERSON                                                                                    PONTIAC           MI    48342‐1821
ELIJAH ROGERS                                   39626 KIRKLAND                                                                                 CANTON TWP        MI    48188‐1538
ELIJAH S HOLLEY JR                              3223 N 20TH ST                                                                                 PHOENIX           AZ    85016‐7242
ELIJAH SHIPP JR                                 19417 HARNED                                                                                   DETROIT           MI    48234‐1571
ELIJAH TERRELL                                  20830 REIMANVILLE                                                                              FERNDALE          MI    48220‐2228
ELIJAH VANHORN III                              1165 CALVERT                                                                                   DETROIT           MI    48202‐1209
ELIJAH W FOX                                    6721 SUNSET AVE                                                                                LA GRANGE         IL    60525‐4704
ELIJAH WARD JR & JANET J WARD JT TEN            2637 BRICKER ROAD                                                                              FENWICK           MI    48834‐9422
ELIJAH WHITT                                    PO BOX 2261                                                                                    KINGSPORT         TN    37662‐2261
ELIJAH WRIGHT                                   4438 28TH ST                                                                                   DETROIT           MI    48210‐2612
ELIJIO HERNANDEZ                                515 E VENTURA RD                                                                               SANTA MARIA       CA    93455‐1703
ELIN CECILE KUJAT                               1013 HOWARD GROVE CT                                                                           DAVIDSONVILLE     MD    21035‐1246
ELIN SUZANNE NAST                               861 GREYSTONE CT                                                                               GILROY            CA    95020‐4096
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Name                                              Address1                               Address2                         Address3   Address4          City           State Zip

ELINOR A PEACE                                    1708 S G                                                                                             ELWOOD         IN    46036‐2453
ELINOR ADAMS                                      93 GREENPORT AVE                                                                                     MEDFORD        NY    11763
ELINOR C RYAN                                     34 WADE ST                                                                                           BRIGHTON       MA    02135‐5703
ELINOR CLAGETT HOUGHTON                           6647 MADISON MCLEAN DR                                                                               MC LEAN        VA    22101‐2902
ELINOR G MULLEN TR ELINOR G MULLEN REV TRUST UA   2901 W 124TH TER                                                                                     LEAWOOD        KS    66209‐2445
12/10/01
ELINOR GLASSMAN TR RESIDUARY TR U‐W LILLIAN       600 S SHORE DR                                                                                       MIAMI BEACH    FL    33141‐2406
HIRSCH
ELINOR GLOVER                                     1581 HOUSE ROAD                                                                                      WEBBERVILLE    MI    48892‐9734
ELINOR H CAMPBELL                                 1482 THRASHERS CREEK RD                                                                              AMHERST        VA    24521‐3774
ELINOR H MCPHAIL                                  605 PRECISION PKWY                                                                                   NECEDAH        WI    54646‐8137
ELINOR J CONGDEN                                  2010 LITTELFIELD RD                                                                                  CAMDEN         NY    13316‐3533
ELINOR J MARTIN CUST JEREMY L MARTIN UGMA CA      6058 ATOLL AVE                                                                                       VAN NUYS       CA    91401‐3104

ELINOR J MARTIN CUST JONATHAN D MARTIN UGMA CA 6058 ATOLL AVENUE                                                                                       VAN NUYS       CA    91401‐3104

ELINOR J STROMING                                 PO BOX 678                                                                                           GREEN HARBOR   MA    02041
ELINOR JANE DE GOLIER                             1217 CARRIE AVENUE                                                                                   ROCHELLE       IL    61068‐1010
ELINOR L ANDERSON                                 4919 HUBNER CIR                                                                                      SARASOTA       FL    34241‐9224
ELINOR L BALL                                     3688 BREAKER ST                                                                                      WATERFORD      MI    48329‐2214
ELINOR L GORECKI                                  7047 UPTON                                                                                           LAINGSBURG     MI    48848‐9436
ELINOR L WILLIAMS                                 1924 HIGHLAND AV                                                                                     LAS CRUCES     NM    88005‐1618
ELINOR M HOYT                                     13673 WEST TULANE PLACE                                                                              MORRISON       CO    80465‐1158
ELINOR M LAREAU TOD DAVID LAREAU SUBJECT TO STA   BOX 4011                                                                                             N FT MYERS     FL    33918
TOD RULES
ELINOR M LOGAN                                    C/O 215 CAIRNS CRESCENT                FT ERIE ON                                  L2A 5M4 CANADA
ELINOR M ROBISON & CLYDE F ROBISON TR ROBISON     23408 COLLINS ST                                                                                     WOODLAND HLS   CA    91367‐3014
FAM TRUST UA 08/31/94
ELINOR M SELLWOOD                                 179 FOXBRIDGE VILLAGE RD                                                                             BRANFORD       CT    06405‐2215
ELINOR MANNING CUST ALLISON SPOTSWOOD             APT 64 COND CARRION CT                 CALLE CARRION CT 16 OCEAN PARK                                SANTURCE       PR    00911‐1265
MANNING U/THE NC U‐G‐M‐A
ELINOR MARTIN                                     4915 CAMINO REAL                                                                                     TUCSON         AZ    85718‐5923
ELINOR MIDLIK TR PROSPECT TRUST UA 01/30/98       PO BOX 88081                                                                                         CAROL STREAM   IL    60188‐0081
ELINOR MIDLIK TR RICHMOND TRUST UA 10/01/98       PO BOX 88081                                                                                         CAROL STREAM   IL    60188‐0081

ELINOR N SHOAF                                    123 MCCOLLOCH DR                                                                                     WHEELING       WV    26003‐8007
ELINOR NORDBERG                                   8589 PINEHURST                                                                                       DETROIT        MI    48204‐3043
ELINOR R EVAN & A LESTER EVEN JT TEN              2042 GRANVILLE RD                                                                                    CEDARBURG      WI    53012
ELINOR RASSOW MIDLIK TR UA 03/01/91 RASSOW        416 MISSION ST                                                                                       CAROL STREAM   IL    60188‐9414
TRUST
ELINOR RECKER                                     9417 STATE HIGHWAY 37                                                                                OGDENSBURG     NY    13669‐4462
ELINOR S KAMPERSAL & RICHARD J KAMPERSAL JT TEN   315 SOUTH ST                                                                                         HOLLISTON      MA    01746‐1449

ELINOR SCHOENFELD TR SCHOENFELD FAM TRUST UA      224‐63 77 AVE                                                                                        BAYSIDE        NY    11364‐3018
06/03/96
ELINOR T MONACO TOD BARBARA STAVNICKY SUBJECT     1530 WAYNE AVE                                                                                       LAKEWOOD       OH    44107‐3425
TO STA TOD RULES
ELINOR V SMITH                                    38716 NORTHDALE CIRCLE                                                                               FREMONT        CA    94536‐6844
ELINORE ANNE HANNA                                5101 YORKVILLE ROAD                                                                                  TEMPLE HILLS   MD    20748‐2137
ELINORE L WILSON & MURIEL C MATHESON JT TEN       10 STUYVESANT OV 7E                                                                                  NEW YORK       NY    10009‐2422

ELINORE M OCONNELL                                32302 ALIPAZ ST TRLR 175                                                                             SAN JUAN       CA    92675‐4178
                                                                                                                                                       CAPISTRAN
ELIO A FONTANA                                    7600 EL CAMINO REAL                                                                                  COLMA          CA    94014
ELIO CARLONI                                      14986 JACK PINE WAY                                                                                  MAGALIA        CA    95954‐9751
ELIO G ALFONSO                                    8812 S W 17 TERRACE                                                                                  MIAMI          FL    33165‐7818
ELIO R SANTANDREA                                 4842 REECE CHURCH RD                                                                                 COLUMBIA       TN    38401‐8461
ELIO ROMEO                                        33 STONEHAM RD                                                                                       WORCESTER      MA    01604‐3451
ELIODORO G VILLARREAL                             1939 CARMENBROOK PKWY                                                                                FLINT          MI    48507‐1445
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Name                                            Address1                                Address2              Address3         Address4          City               State Zip

ELIOISE PARSLEY                                 4517 NEVADA DR W                                                                                 COLUMBUS           OH    43207‐8716
ELIOT BATTLE III                                930 LANCASTER WAY                                                                                ATLANTA            GA    30328‐4892
ELIOT COLLINS                                   16 NORMANDIE LN                                                                                  RARITAN            NJ    08869‐1004
ELIOT GORDON DISNER                             619 TUALLITAN RD                                                                                 LA                 CA    90049‐1944
ELIOT HEILIG & REGINA HEILIG JT TEN             10414 NW 24TH PL                        BLDG 208#206                                             SUNRISE            FL    33322‐6387
ELIOT MARK LIPPMAN                              27 TWIN OAKS AVE                                                                                 SAN RAFAEL         CA    94901‐1915
ELIOT WARE                                      5101 RED GLORY DR                                                                                LAS VEGAS          NV    89130‐5385
ELIS W GIANNINI                                 125 E STATE ST                                                                                   GENEVA             IL    60134‐2214
ELISA A OLIVER                                  5750 PENDLETON LN                                                                                WARRENTON          VA    20187‐9323
ELISA BARBARA ROCCO                             494 FORREST PARK CIR                                                                             FRANKLIN           TN    37054‐8911
ELISA BENAVIDEZ                                 15802 TEMPLE AVENUE                                                                              LA PUENTE          CA    91744‐4049
ELISA C KOFF                                    911 FRUITDALE PLACE                                                                              SAN JOSE           CA    95126‐3840
ELISA DIFEO                                     405 BOSTON BLVD                                                                                  SEA GIRT           NJ    08750‐2617
ELISA E MCALLISTER                              1913 THOUSAND OAKS                                                                               BURLESON           TX    76028
ELISA GAIL SUGAR                                197 53RD N AV                                                                                    NASHVILLE          TN    37209‐3310
ELISA H HERBERG                                 15595 KAVIN LANE                                                                                 MONTE SERENO       CA    95030‐3223
ELISA KAY COWARD                                7534 ARBORCREST ST                                                                               PORTAGE            MI    49024‐5002
ELISA KAY OLIVER                                7534 ARBORCREST ST                                                                               PORTAGE            MI    49024‐5002
ELISA L DEMARY                                  1280 ARLINGTON AVE                                                                               MERRITT ISLAND     FL    32952‐5402
ELISA MARIA HICKS PETERS                        273 SOCIAL CIR FAIRPLAY RD                                                                       SOCIAL CIRCLE      GA    30025‐3811
ELISA SUZANNE LEVINE                            2536 RISING LEGEND WAY                                                                           LAS VEGAS          NV    89106‐1641
ELISA WILLIS                                    30‐21 47TH ST                                                                                    LONG ISLAND CITY   NY    11103‐1522

ELISABETH A ROBERTS & DONALD C HINDE JT TEN     1597 MENDOZA CT                                                                                  PLEASANTON         CA    94566‐5634
ELISABETH A SCHOCK                              8951 E 57TH STREET                                                                               TULSA              OK    74145‐7941
ELISABETH ANN PAYTON                            C/O ELIZABETH ANN DUREN                 7654 RILES ROAD                                          MIDDLETON          WI    53562‐3947
ELISABETH ANN SHEPPARD                          605 W ORCHARD WA                                                                                 GILBERT            AZ    85233‐5331
ELISABETH ANNE STAMM & R ELEANOR STAMM JT TEN   C/O ESMEN                               834 N RIDGELAND AVE                                      OAK PARK           IL    60302‐1440

ELISABETH AUGESTAD                                1439 VIRGINIA COURT                                                                            ANCHORAGE          AK    99501‐4927
ELISABETH BECK                                    11317 GOVERNOR AVE                                                                             CLEVELAND          OH    44111‐3673
ELISABETH BOLSON                                  86 WANAMAKER AVE                                                                               ORADELL            NJ    07649‐1932
ELISABETH C KRAFT                                 10 NICKERSON PARKWAY                                                                           LAFAYETTE          LA    70501
ELISABETH DUNN                                    77 MARIANNE ROAD                                                                               WALTHAM            MA    02452
ELISABETH ELLISOR JONES                           2814 HOPETON                                                                                   SAN ANTONIO        TX    78230‐4426
ELISABETH ERLICH HOLM                             30 EAST 71 ST                         APT 7B                                                   NEW YORK           NY    10021‐4956
ELISABETH F BURT CUST JOHN F BURT UGMA AZ         2396 COBB RD                                                                                   JACKSON            MI    49203‐3755
ELISABETH G MAHON                                 4 RUTGERS TERRACE                                                                              FAIR LAWN          NJ    07410‐3302
ELISABETH GRUSCHWITZ                              11 NEW YORK AVENUE                                                                             CONGERS            NY    10920
ELISABETH H BAKER                                 3901 NORTHBROOK DR                                                                             ZANESVILLE         OH    43701‐1135
ELISABETH H PARSON CUST FRANCIS C PARSON JR U/THE 17 E 84TH ST #4A                                                                               NEW YORK           NY    10028‐0434
CONNU‐G‐M‐A
ELISABETH HAFFNER                                 7416 DOROTHY AVE                                                                               PARMA              OH    44129‐3605
ELISABETH HOLLI KOERNER LITZZA                    3581 BUENA VISTA DR                                                                            SACRAMENTO         CA    95864‐2803
ELISABETH J BERGER                                33981 COTSWOLD RD                                                                              FARMINGTON HL      MI    48018
ELISABETH J HOMANN CUST KAITLIN EAST UTMA NJ      1435 WATER SHINE WAY                                                                           SNELLVILLE         GA    30078‐7385

ELISABETH JETT ADAMS                             83 WYCHEWOOD DR                                                                                 MEMPHIS            TN    38117‐3011
ELISABETH K FOLEY TR ELISABETH K FOLEY REVOCABLE 9916 LINDEL LN                                                                                  VIENNA             VA    22181‐4034
TRUST UA 7/20/00
ELISABETH K LEE & GEORG HOWARD LEE JT TEN        18259 PROSPECT                                                                                  MELVINDALE         MI    48122‐1519
ELISABETH K VANZURA                              5 MELVILLE WALK                                                                                 HINGHAM            MA    02043‐1349
ELISABETH L RIDOUT TR UA 01/04/84 BY ELISABETH L PO BOX 9687                                                                                     ARNOLD             MD    21012‐0687
RIDOUT
ELISABETH M DELONG TR ELISABETH M DELONG LIV     630 AUSTIN WAY                                                                                  SONOMA             CA    95476‐7118
TRUST UA 05/18/00
ELISABETH M POEHLER                              143 SPRING LANE                                                                                 PARAMUS            NJ    07652‐5301
ELISABETH OLTHETEN & THEODORE SOUGIANNIS JT TEN 2505 BEDFORD DR                                                                                  CHAMPAIGN          IL    61820
                                             09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                              Address2             Address3          Address4          City            State Zip

ELISABETH R PETRONIO                               256 WASHINGTON ST                                                                              GENEVA          NY    14456‐2746
ELISABETH R RUDERFER                               3207 38TH ST NW                                                                                WASHINGTON      DC    20016‐3728
ELISABETH ROMANO                                   148B MAIN ST #B                                                                                GARDINER        NY    12525‐5226
ELISABETH S HENNESSY                               15 SHADY LANE                                                                                  WOODBRIDGE      CT    06525‐2030
ELISABETH T SINCLAIR                               2444 AVON LEA CV                                                                               TUPELO          MS    38801‐6211
ELISABETH THERESIA GALLARDO                        8197 VANDEN DR                                                                                 WHITE LAKE      MI    48386‐2549
ELISABETH W ELLIS TR ELISABETH W ELLIS REVOCABLE   4425 MEANDERING WAY                   APT 326                                                  TALLAHASSEE     FL    32308‐5786
TR UA 5/11/00
ELISABETTA COLAROSSI                               33863 JAMES COURT                                                                              FARMINGTON      MI    48335‐4147
ELISE AMENDOLA                                     328 SUMMER ST                                                                                  NORTH ANDOVER   MA    01845‐5638
ELISE ANDREA WEBSTER                               11 RIGI CT                                                                                     SELKIRK         NY    12158‐9732
ELISE B SIEGEL                                     2‐09 SADDLE RIVER RD                                                                           FAIR LAWN       NJ    07410‐4814
ELISE BIRMINGHAM                                   4101 GUNNIN RD                                                                                 NORCROSS        GA    30092‐1951
ELISE C AUXIER CUST WILLIAM BARTHOLOMEW AUXIER     3294 HOLIDAY VIEW DR                                                                           TRAVERSE CITY   MI    49686‐3946
UGMA MI
ELISE C NORRIS                                     4511 HOLMES AVE                                                                                NORTH           SC    29405‐5215
                                                                                                                                                  CHARLESTON
ELISE C PRUITT                                     PO BOX 1037                                                                                    LIVINGSTON      AL    35470‐1037
ELISE CAROL JAMES                                  19668 GALLAGHER                                                                                DETROIT         MI    48234‐1612
ELISE DESAUTELS                                    57 MILLBURY RD                                                                                 OXFORD          MA    01540‐1313
ELISE E ALTMAN                                     PO BOX 769                                                                                     WHITE ROCK      SC    29177‐0769
ELISE E TREU                                       116 MOSSBARK LN                                                                                CHAPEL HILL     NC    27514‐1846
ELISE EISENBERG CUST LEE EISENBERG UTMA IL         2705 QUAIL LN                                                                                  NORTHBROOK      IL    60062‐7629
ELISE ERNST                                        2219 FAIRVIEW AVE E #12                                                                        SEATTLE         WA    98102‐3471
ELISE F BLACKA                                     351 LAKE ROAD                                                                                  STUARTS DRAFT   VA    24477
ELISE F MC GANN                                    104 TANGLEWOOD CT                                                                              NEW BERN        NC    28562‐2909
ELISE G JONES                                      711 SOUTH WEST 75TH STREET            #104                                                     GAINESVILLE     FL    32607‐1864
ELISE GRENIER                                      BEETHOVEN STR 38                      FRANKFORD                              60325 GERMANY
ELISE GRENIER                                      BEETHOVEN STR 38                      FRANKFORD                              60325 GERMANY
ELISE GRENIER                                      18 TWIN STREAMS RD                    WHITBY ON                              L1P 1N9 CANADA
ELISE J MC GLEW                                    PO BOX 758                                                                                     YAKIMA          WA    98907
ELISE JILL BOLASNY                                 6222 JEAN LOUISE WAY                                                                           ALEXANDRIA      VA    22310‐1645
ELISE L BEATTY                                     431 SUNSET AVENUE                                                                              CONNERSVILLE    IN    47331
ELISE LABAR                                        14 W GEORGE AVE                                                                                PEARL RIVER     NY    10965‐1801
ELISE M BREEN                                      257 MIAMI LAKES DRIVE                                                                          MILFORD         OH    45150
ELISE M CANE & RUDI E VAN ENOO JT TEN              680 RANCHO ALISAL DR                                                                           SOLVANG         CA    93463‐3018
ELISE M LEPORE                                     84 ERIE STREET                                                                                 DUMONT          NJ    07628‐3404
ELISE M LUNAS                                      19585 S MCCORD RD                                                                              OREGON CITY     OR    97045‐8934
ELISE MULVIHILL                                    4751 E COSTILLA AVE                   APT 222                                                  CENTENNIAL      CO    80122‐2395
ELISE P GORE CUST JUSTIN A GORE UTMA FL            113 NANDINA RD                                                                                 GULF BREEZE     FL    32561‐4607
ELISE P HAYNES                                     145 EAST NORTH STREET                                                                          HILLSBORO       OH    45133‐1140
ELISE P WELDON                                     1015 NEWPORT RD                                                                                MACON           GA    31210‐3308
ELISE S RAMEL                                      1407 GOLDSPUR DRIVE                                                                            FORT WAYNE      IN    46804
ELISE SIMONS DUPONT STEARNS                        746 CONOWINGO RD                                                                               CONOWINGO       MD    21918
ELISEO M RAMIREZ                                   1156 CRESTON LANE                                                                              SAN JOSE        CA    95122‐2732
ELISEO RIVERA                                      128 DINNER LAKE AVE                                                                            LAKE WALES      FL    33859‐2154
ELISHA BROWN                                       2468 WOODHILL LANE                                                                             EAST POINT      GA    30344‐2067
ELISHA C CLARK                                     4003 CLEMENTS                                                                                  DETROIT         MI    48238‐2660
ELISHA FAGAN JR                                    2407 W DAYTON                                                                                  FLINT           MI    48504‐7153
ELISHA LINDSAY                                     20557 STAHELIN                                                                                 DETROIT         MI    48219‐1536
ELISHA SUBLETT                                     2320 DELAVAN AVE                                                                               KANSAS CITY     KS    66104‐4414
ELISIO J PINTO                                     527 IVY PLACE                                                                                  BRICKTOWN       NJ    08724‐4615
ELISSA A MACCRONE                                  130 CARLEON AVE                                                                                LARCHMONT       NY    10538‐3200
ELISSA D DUBINSKY                                  5143 KINGFISHER                                                                                HOUSTON         TX    77035‐3016
ELISSA GOULD                                       2603 SOLAR DRIVE                                                                               LAKE ORION      MI    48360‐1981
ELISSA GRONKE                                      4912 SE RINEARSON                                                                              MILWAUKIE       OR    97267‐6961
ELISSA J KIRKEGARD                                 3884 STUMP RD                                                                                  DOYLESTOWN      PA    18902
ELISSA MARK CUST JEFFREY MARK UGMA NY              25 E 86TH ST #8E                                                                               NEW YORK        NY    10028‐0553
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

ELISSA MCAREE                                      1 CASH LANE                                                                                     ROCKVILLE CENTRE   NY    11570‐1312

ELISSE SCHIKLER                                    1945 BYRON RD                                                                                   MERRICK            NY    11566‐4632
ELITA GOTIERREZ                                    1 HORIZON RD APT 1031                                                                           FORT LEE           NJ    07024‐6508
ELITE INVESTMENTS LLP                              C/O ANDREW REGENBAUM                   1031 SUMMIT WOODS                                        NEW WINDSOR        NY    12553‐1143
ELIU E ROMERO                                      PO BOX 255                                                                                      TAOS               NM    87571‐0255
ELIUD LOPEZ JR                                     10618 BROOK BEND                                                                                HOUSTON            TX    77035
ELIYAHU HERSHFELD & FAIGY HERSHFELD JT TEN         24 QUEENS CT                                                                                    LAKEWOOD           NJ    08701‐2345
ELIZA A JONES                                      2188 BUTTERFIELD CT                                                                             MARYLAND           MO    63043‐2104
                                                                                                                                                   HEIGHTS
ELIZA BENNETT                                      1827 ETON LANE                                                                                  ST LOUIS           MO    63147‐1204
ELIZA FLUCKER                                      519 TENNESSEE                                                                                   DETROIT            MI    48215‐3230
ELIZA GENTRY                                       8139 RECTOR DR                                                                                  BERKELEY           MO    63134‐2220
ELIZA JANE BLAIR                                   2217 MEADOWLAWN DR                                                                              HOLT               MI    48842‐1218
ELIZA S JORDAN                                     52 DORN ROAD                                                                                    LAGRANGEVILLE      NY    12540
ELIZABET PATRIARCA                                 12 A DOVE ST                                                                                    MANCHESTER         NJ    08759‐5104
ELIZABETH A ALEXANDER                              795 WASHINGTON RD                                                                               RYE                NH    03870‐2318
ELIZABETH A ANDERSON                               1600 WELLINGTON RD                                                                              LANSING            MI    48910‐1160
ELIZABETH A BAILEY                                 1215 GREENMONT CIRCLE                                                                           VIENNA             WV    26105‐3501
ELIZABETH A BARBOUR                                70 BELCHER ST                                                                                   SHARON             MA    02067‐1347
ELIZABETH A BARDOWELL                              8605 ESTATE PLAZA                                                                               WARREN             MI    48093‐6709
ELIZABETH A BARTLETT                               1968 HUNTINGTON BLVD                                                                            GROSSE POINTE      MI    48236‐1918
ELIZABETH A BELL                                   1010 DOGWOOD DRIVE                                                                              PIGGOTT            AR    72454‐1115
ELIZABETH A BERKOBIEN                              1675 SCHUST RD                                                                                  SAGINAW            MI    48604‐1610
ELIZABETH A BERTOLOTTO                             2696 PANORAMA DR                                                                                ROCKFORD           IL    61109‐1857
ELIZABETH A BEYRAU                                 532 GREAT PARK DRIVE                                                                            NEWPORT NEWS       VA    23608‐2042
ELIZABETH A BIDDLE                                 5923 LOVEWOOD CT                                                                                CANTON             MI    48187‐5637
ELIZABETH A BLAINE                                 2600 N MILWAUKEE ST                    APT 101                                                  BOISE              ID    83704‐5007
ELIZABETH A BLUMBERG & CAROL L URIE JT TEN         521 BAYARD ST                                                                                   IONIA              MI    48846‐1801
ELIZABETH A BOETTCHER                              177 HARMONY LN                                                                                  TITUSVILLE         FL    32780‐2337
ELIZABETH A BOORACK & DIANNE M THOMAS JT TEN       226 FAYETTE ST                                                                                  WOLLASTON          MA    02170‐1621

ELIZABETH A BORSCH                                 4440 SOUTH WEST 148TH                                                                           BEAVERTON          OR    97007‐2745
ELIZABETH A BOSSONG                                1199 SCHOOL ST                                                                                  PITTSBURGH         PA    15205‐4307
ELIZABETH A BOWSER                                 328 E SECOND ST                                                                                 XENIA              OH    45385‐3422
ELIZABETH A BRETZ                                  1103 W NORWEGIAN ST                                                                             POTTSVILLE         PA    17901‐2833
ELIZABETH A BRIGGS                                 8713 HENRY ST                                                                                   DYER               IN    46311‐2845
ELIZABETH A BRIGHTON                               7565 GLEN HATT DR                                                                               LINDEN             MI    48451‐8719
ELIZABETH A BRIGHTON & VALERIE BRIGHTON JT TEN     7565 GLEN HATT DR                                                                               LINDEN             MI    48451‐8719

ELIZABETH A BRODERICK                              99‐45 67TH RD #222                                                                              FOREST HILLS       NY    11375‐3018
ELIZABETH A BRUSH                                  6112 ALDER CT                          C‐4                                                      PITTSBURGH         PA    15206‐5235
ELIZABETH A BURKHART                               PO BOX 2106                                                                                     LITCHFIELD PK      AZ    85340‐2106
ELIZABETH A BURTON BARTH                           44 GLEN AVON DR                                                                                 RIVERSIDE          CT    06878‐2029
ELIZABETH A BUSH                                   1176 TAMARACK LN                                                                                OAKLAND            MI    48363‐1250
ELIZABETH A CABELLO & ROBERT G CABELLO JR JT TEN   5431 VANALLEO DR                                                                                SAGINAW            MI    48603‐5554

ELIZABETH A CABELLO & VIRGINIA D HEIGHES JT TEN    5431 VANALLEO DR                                                                                SAGINAW            MI    48638‐5554

ELIZABETH A CALLAGHAN & LAUREN L OGLE JT TEN       11495 ORCHARDVIEW DR                                                                            FENTON             MI    48430‐2543

ELIZABETH A CALLAGHAN & MICHAEL W OGLE JT TEN      11495 ORCHARDVIEW DR                                                                            FENTON             MI    48430‐2543

ELIZABETH A CAREY                                  36760 KINGSBURY                                                                                 LIVONIA            MI    48154‐1921
ELIZABETH A CARL                                   2233 STARGRASS AVE                                                                              GROVE CITY         OH    43123‐9806
ELIZABETH A CASADY                                 725 LONG RD                                                                                     GLENVIEW           IL    60025‐3457
ELIZABETH A CATLETT                                11205 SEATONVILLE RD                                                                            LOUISVILLE         KY    40291‐3511
ELIZABETH A CENEDELLA CUST GARREN W TURNER         7535 BRIDGEGATE CT                                                                              ATLANTA            GA    30350‐4604
UNDER THE GA TRAN MIN ACT
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Name                                              Address1                                Address2             Address3          Address4          City             State Zip

ELIZABETH A CENEDELLA CUST N TRAVIS TURNER UTMA 7535 BRIDGEGATE CT                                                                                 ATLANTA          GA    30350‐4604
GA
ELIZABETH A CLARK                                 192 WHITE AVE                                                                                    SHARON           PA    16146‐3082
ELIZABETH A CLUGSTON                              180 LUMLEY AVE                                                                                   JACKSON          MI    49203‐2414
ELIZABETH A COE                                   1108 E HUNT ST                                                                                   ADRIAN           MI    49221‐2441
ELIZABETH A CONVERSE                              10 LAUREN LANE                                                                                   SUSSEX           NJ    07461‐4115
ELIZABETH A CORNELL                               206 HUDSON RD                                                                                    STOW             MA    01775‐1200
ELIZABETH A COX                                   303 E OLD SLOCUM TRL                                                                             LA FONTAINE      IN    46940‐9264
ELIZABETH A COYLE                                 10 BONNIE LN                                                                                     BORDENTOWN       NJ    08505‐2402
ELIZABETH A CZECH                                 111 PARK FOREST DR                                                                               WILLIAMSVILLE    NY    14221
ELIZABETH A DANBURG                               2673 LIBERTY HILL ROAD                                                                           POWHATAN         VA    23139‐5208
ELIZABETH A DANFORD                               2633 SHERIDAN DR                                                                                 CINCINNATI       OH    45212‐1753
ELIZABETH A DARLING                               119 DRAPER                                                                                       WATERFORD        MI    48328‐3803
ELIZABETH A DAVID CUST CLEBURN L DAVIS JR UTMA GA 4281 GREEN VALLEY DR                                                                             GAINESVILLE      GA    30506‐4601

ELIZABETH A DAVIS                                 1652 TAPPAN ST                                                                                   WOODSTOCK        IL    60098‐2578
ELIZABETH A DAVIS                                 2342 GOLDEN POND                                                                                 FENTON           MI    48430‐1097
ELIZABETH A DEAN                                  2445 LYNTZ TOWNLINE RD SW                                                                        WARREN           OH    44481‐9760
ELIZABETH A DEFELIPPI                             271 HART ST                                                                                      BRISTOL          CT    06010‐2346
ELIZABETH A DELUCIA                               260 SAILORS WAY                                                                                  LAKEWOOD         NJ    08701‐7327
ELIZABETH A DERY TR ELIZABETH A DERY TRUST UA     14297 SWANEE BEACH DR                                                                            FENTON           MI    48430‐1463
03/28/03
ELIZABETH A DILLAR                                5080 N 17TH PLC                                                                                  W TERRE HAUTE    IN    47885
ELIZABETH A DINGMAN                               3823 ROCHESTER RD                                                                                DRYDEN           MI    48428‐9721
ELIZABETH A DUDLEY                                22 ROOSEVELT BLVD                                                                                FLORHAM          NJ    07932‐2420
ELIZABETH A DULMUS & WILLIAM H DULMUS JT TEN      51 CLINTON ST                                                                                    WESTFIELD        NY    14787‐1032

ELIZABETH A DURKEE                                12 BARCOMB AVE                                                                                   MORRISONVILLE    NY    12962‐3400
ELIZABETH A DYCZEWSKI & JUDITH A HUFFMAN JT TEN   1995 WEIGL RD                                                                                    SAGINAW          MI    48609‐7052

ELIZABETH A ECKMANN                               2209 GRAPEVINE CIRCLE                                                                            VIRGINIA BEACH   VA    23456‐3552
ELIZABETH A EDGAR                                 21065 EDGAR RD                                                                                   HILLMAN          MI    49746
ELIZABETH A EDWARDS                               6011 PEMBROKE PLACE                                                                              INDIANAPOLIS     IN    46220‐5221
ELIZABETH A EDWARDS                               5803 RILEYS RIDGE RD                                                                             CHARLOTTE        NC    28226‐4355
ELIZABETH A ELLENBERGER                           8407 ROTE ROAD                                                                                   ROCKFORD         IL    61107‐5409
ELIZABETH A ELROD                                 6220 HOLLYHOCK LANE                                                                              BOSSIER CITY     LA    71112‐4993
ELIZABETH A ERAZMUS & CREGORY ERAZMUS JT TEN      931 N WOLCOTT AVE                       #3                                                       CHICAGO          IL    60622‐4941

ELIZABETH A ERAZMUS & GREG ERAZMUS JT TEN         1350 N WELLS D210                                                                                CHICAGO          IL    60610
ELIZABETH A FARRELL                               18889 BRASILIA DR                                                                                NORTHRIDGE       CA    91326‐1919
ELIZABETH A FEDDER                                510 CAMPBELL COURT                                                                               WHEATON          IL    60187
ELIZABETH A FEENEY & PAUL G SHRUHAN JT TEN        96 CRANE ST                                                                                      DEDHAM           MA    02026‐3843
ELIZABETH A FISK                                  19215 VERNA LANE                                                                                 ROMULAS          MI    48174‐9334
ELIZABETH A FLANIGAN                              6450 BEMIS RD                                                                                    YPSILANTI        MI    48197‐8924
ELIZABETH A FOGARTY                               1055 WEST JOPPA RD                      APT 408                                                  TOWSON           MD    21204‐3746
ELIZABETH A FOLLBAUM                              1005 BROOKLAWN DRIVE                                                                             TROY             MI    48084‐2648
ELIZABETH A FORTON                                2243 E MORROW DRIVE                                                                              PHOENIX          AZ    85024‐2456
ELIZABETH A FRACZKOWSKI                           1402 WOODLAWN AVE                                                                                WILMINGTON       DE    19806‐2448
ELIZABETH A FRANKE                                435 S LINE                                                                                       CHESANING        MI    48616‐1336
ELIZABETH A FRANKLIN                              3045 NORTH ST APT A                                                                              ATLANTA          GA    30344
ELIZABETH A FREEMAN                               434 CEDAR DR                                                                                     CORTLAND         OH    44410‐1322
ELIZABETH A FRITZ                                 134 MULBERRY GRV                                                                                 GALLATIN         TN    37066‐7146
ELIZABETH A GARCIA & LORENZO GARCIA JT TEN        4107 SUN SPIRIT DR                                                                               AUSTIN           TX    78735‐6367
ELIZABETH A GIBBS                                 PO BOX 1490                                                                                      CULLMAN          AL    35056‐1490
ELIZABETH A GLASNER                               C/O HOLMES                              305 GOLF RD                                              WEST PALM BCH    FL    33407‐5509
ELIZABETH A GULLEY                                15480 GREENLAWN                                                                                  DETROIT          MI    48238‐1228
ELIZABETH A GUYER                                 5805 HARVARD CT                                                                                  KOKOMO           IN    46902‐5231
ELIZABETH A GWYN                                  7344 DANBURY DR                                                                                  W BLOOMFIELD     MI    48322‐3566
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Name                                              Address1                                 Address2               Address3        Address4          City              State Zip

ELIZABETH A HAMP                                  191 BRENTWOOD DR                                                                                  NORTH          NY       14120‐4820
                                                                                                                                                    TONAWANDA
ELIZABETH A HASSDENTEUFEL                         1 UNIVERSITY PL                                                                                   NY             NY       10003‐4516
ELIZABETH A HATCH                                 14 WINTER ROAD                                                                                    HILLSBORO      NH       03244‐4530
ELIZABETH A HAWKINS                               1190 SUGDEN RD                                                                                    WHITE LAKE     MI       48386‐3770
ELIZABETH A HELMS                                 7278 SHAWNEE RD                          #2                                                       N TONAWANDA    NY       14120‐1373
ELIZABETH A HESSE                                 36 MORLEY LANE                                                                                    BLOOMFIELD     NJ       07003‐4309
ELIZABETH A HIGHLAND                              315 MARLBOROUGH RD                                                                                ROCHESTER      NY       14619‐1413
ELIZABETH A HILLIS                                5068 WINGDALE RD                                                                                  MEMPHIS        TN       38117‐6333
ELIZABETH A HOHN & RICHARD HOHN JT TEN            5447 FIESTA PASS                                                                                  GRAND BLANC    MI       48439‐9150
ELIZABETH A HOUGHTLEN                             80 HARDING HTS BLVD                                                                               MANSFIELD      OH       44906‐1318
ELIZABETH A HUGHES                                104 PIERREPONT ST                        APT 1                                                    BROOKLYN       NY       11201‐2761
ELIZABETH A HUISKINS                              1730 UTAH AVE                                                                                     FLINT          MI       48506‐4620
ELIZABETH A HUNT                                  ATTN ELIZABETH A PETRICH                 12403 COBBLESTONE DR                                     HOUSTON        TX       77024‐4904
ELIZABETH A HUNTER                                7721 BEDFORD AVE                                                                                  OMAHA          NE       68134‐5043
ELIZABETH A JENNINGS                              ATTN ELIZABETH MILLER                    3090 NOBLE RD                                            OXFORD         MI       48370‐1500
ELIZABETH A JOYCE                                 135 ACADEMY AVE                                                                                   WEYMOUTH       MA       02188‐4203
ELIZABETH A JUPA                                  55 OCEAN AVENUE                          APT 2E                                                   MONMOUTH BEACH NJ       07750‐1367

ELIZABETH A KANE                                  24 MC GILL PLACE                         LONDON ON                              N5X 1W2 CANADA
ELIZABETH A KEANE                                 APT 4J                                   3061 EDWIN AVENUE                                        FORT LEE          NJ    07024‐4811
ELIZABETH A KEISTER                               5 LAKEI RD                                                                                        MARLBOROUGH       CT    06447
ELIZABETH A KEYDASH                               5815 HERON DRIVE                                                                                  BALTIMORE         MD    21227‐4314
ELIZABETH A KIBBY                                 2608 WILLIAM NEAL PK                                                                              FORT COLLINS      CO    80525‐7631
ELIZABETH A KISH                                  16117 ALPINE                                                                                      LIVONIA           MI    48154‐2541
ELIZABETH A KNIGHT                                8081 LITTLE CIRCLE ROAD                                                                           NOBLESVILLE       IN    46060‐1071
ELIZABETH A KORTE                                 43759 CRANE CT                                                                                    ASHBURN           VA    20147‐5833
ELIZABETH A KOWALSKI                              1411 TERNBURY DRIVE                                                                               ROCHESTER HILLS   MI    48307‐3538
ELIZABETH A KOWALSKI & JOSEPH F KOWALSKI JT TEN   1411 TERNBURY DRIVE                                                                               ROCHESTER HILLS   MI    48307‐3538

ELIZABETH A KRAUSE                                1114 10TH AVE WEST                                                                                MOBRIDGE          SD    57601‐1530
ELIZABETH A KRETZER & MARY KAREN TORREY JT TEN    1851 MARIETTA                                                                                     CAPE GIRARDEAU    MO    63701‐2943

ELIZABETH A KRISCHE                            27 CARNFORTH ROAD                           LONDON ON                              N6G 4R2 CANADA
ELIZABETH A KUPSER                             58192 DEERFIELD DR                                                                                   WASHINGTON        MI    48094‐3524
ELIZABETH A LANDSMAN & DAVID A LANDSMAN JT TEN 908 SHERWOOD CT                                                                                      ROCHESTER HLS     MI    48307‐2961

ELIZABETH A LANG                                  5229 W MICHIGAN #226                                                                              YPSILANTI         MI    48197‐9182
ELIZABETH A LAUGHLIN                              6 LAUREL CT                                                                                       WASHINGTON        IL    61571‐2374
ELIZABETH A LAWHEAD                               3017 TUMBLEWEED DR                                                                                KOKOMO            IN    46901‐7054
ELIZABETH A LAWRENCE & DONALD W LAWRENCE JT       2995 W BUNO                                                                                       MILFORD           MI    48380‐4424
TEN
ELIZABETH A LAYNE                                 1916 WOOLDRIDGE FERRY RD                                                                          ELIZABETHTOWN     KY    42701‐6121
ELIZABETH A LEONARD TR UA 11/28/90 THE LEONARD    777 E VALLEY BLVD #45                                                                             ALHAMBRA          CA    91801‐0745
REVOCABLE LIVING TRUST
ELIZABETH A LINGLE                                230 E MAIN ST                                                                                     ANNVILLE          PA    17003‐1505
ELIZABETH A LOFTUS                                UNT 308VILLA BELLMONT BLDG 84                                                                     NEWARK            DE    19713
ELIZABETH A LOWERY                                7 1/2 WEST LANE                                                                                   DEARBORN          MI    48124
ELIZABETH A MAACKS                                2710 YOUNGSTOWN LOCKPORT RD                                                                       RANSOMVILLE       NY    14131‐9518
ELIZABETH A MAGUIRE                               257 PARK AVE                                                                                      BAY HEAD          NJ    08742‐5049
ELIZABETH A MAHER                                 21144 HUNT CLUB DR                                                                                HARPER WOODS      MI    48225‐1717
ELIZABETH A MAHLER                                2679 HWY 119                                                                                      MONTEVALLO        AL    35115‐8631
ELIZABETH A MARQUART & JOAN M RETCHO JT TEN       209 KINGSTON DR #PH                                                                               RIDGE             NY    11961‐2014

ELIZABETH A MARTIN                                924 S LAMKIN RD                                                                                   HARBOR SPGS       MI    49740‐9198
ELIZABETH A MARTINO                               5566 HUNTER RD                                                                                    BEAVERTON         MI    48612‐8515
ELIZABETH A MASTROIANNI                           2361 SOUTH PEWTER DRIVE                                                                           MACUNGIE          PA    18062‐9048
ELIZABETH A MCKOWN                                14490 E RADCLIFF DR                                                                               AURORA            CO    80015‐1346
ELIZABETH A MCLAUGHLIN                            4397 KITRIDGE ROAD                                                                                HUBER HEIGHTS     OH    45424‐6082
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Name                                             Address1                                 Address2                 Address3      Address4          City              State Zip

ELIZABETH A MEYERS                               BOX 61                                   9469 M68/33                                              TOWER             MI    49792‐0061
ELIZABETH A MIGDA                                24778 WILSON RD                                                                                   LOCKPORT          NY    14094
ELIZABETH A MILLER                               3090 NOBLE RD                                                                                     OXFORD            MI    48370‐1500
ELIZABETH A MISKINES                             40 FERNWOOD LANE                                                                                  GRAND ISLAND      NY    14072‐2905
ELIZABETH A MOEN                                 8 CABALLEROS RD                                                                                   ROLLING HILLS     CA    90274‐5221
ELIZABETH A MOORE                                840 COLEMAN AVE                          APT#2                                                    MENLO PARK        CA    94025‐2448
ELIZABETH A MOOSE                                2802 A IVY CIRCLE                                                                                 CORTLAND          OH    44410
ELIZABETH A NASON                                148 BUCKSPORT ROAD                                                                                ELLSWORTH         ME    04605‐2224
ELIZABETH A NEUMAN                               ATTN LISA NEUMAN                         509 CHATHAM CT                                           NEENAH            WI    54956‐4225
ELIZABETH A NEWPORT & RICHARD J NEWPORT JT TEN   5575 EBRIGHT DRIVE                                                                                WILLIAMSTON       MI    48895‐9628

ELIZABETH A NEYER                                550 PALISADO AVE                                                                                  WINDSOR          CT     06095‐2067
ELIZABETH A NIZIOLEK                             33 S MARYLAND AVE                                                                                 YOUNGSTOWN       OH     44509‐2808
ELIZABETH A NOFFSINGER                           C/O ANTHONY                              6424 47TH AVE E                                          BRADENTON        FL     34203‐9536
ELIZABETH A NUNEZA                               18880 SANDHURST DRIVE                                                                             CLINTON TOWNSHIP MI     48038‐4979

ELIZABETH A NURMIKKO                             2869 BULLARD ROAD                                                                                 HARTLAND          MI    48353‐3009
ELIZABETH A O DOWD                               PO BOX 123                                                                                        VINING            MN    56588
ELIZABETH A O'ROURKE                             503 SKYLINE LAKES DRIVE                                                                           RINGWOOD          NJ    07456‐1926
ELIZABETH A PALMER                               330 N MCKINLEY ST                                                                                 TRURO             IA    50257‐1011
ELIZABETH A PATTERSON                            4109 CHIEF DR                                                                                     CARROLLTON        TX    75007‐1474
ELIZABETH A PAZIENZA                             7162 MOUNT JULIET DR                                                                              DAVISON           MI    48423‐2362
ELIZABETH A PETERSON CUST JONATHON PETERSON      1227 BRICK ROAD                                                                                   WEST BRANCH       MI    48661‐9352
UGMA MI
ELIZABETH A PETERSON CUST SARA ANNE PETERSON     1227 BRICK ROAD                                                                                   WEST BRANCH       MI    48661‐9352
UGMA MI
ELIZABETH A PIERCE                               4411 SNODGRASS RD                                                                                 MANSFIELD         OH    44903‐8698
ELIZABETH A PILKINGTON                           17454 SMOKEY RIVER DRIVE                                                                          SONORA            CA    95370‐8925
ELIZABETH A POWELL                               PO BOX 20059                             GREELEY SQUARE STATION                                   NEW YORK          NY    10001‐0001
ELIZABETH A POWERS                               4379 JAMESTOWN COURT                                                                              FLINT             MI    48507‐5608
ELIZABETH A RASIMAS CUST PETER A RASIMAS UGMA    60 HEATHWOOD RD                                                                                   BUFFALO           NY    14221‐4616
MI
ELIZABETH A RATERMANN                            6495 BETHELVILLE RD                                                                               NEW CARLISLE      OH    45344‐8831
ELIZABETH A RAYMOND                              866 TYLER ST                                                                                      LENNON            MI    48449‐9309
ELIZABETH A REIGELUTH CUST CLAIRE TRAUTVETTER    1705 COLONIAL RD                                                                                  RALEIGH           NC    27608‐2127
UTMA MA
ELIZABETH A REILLY                               644 BEACON AVE                                                                                    PAULSBORO         NJ    08066‐1209
ELIZABETH A RETTERBUSH                           207 TATE AVE                                                                                      ENGLEWOOD         OH    45322‐1621
ELIZABETH A RHODES                               13540 STATE ROUTE 18                                                                              SHERWOOD          OH    43556‐9773
ELIZABETH A RIEDER CUST EMMA R RIEDER UTMA MI    32431 ANITA                                                                                       WESTLAND          MI    48185‐1510

ELIZABETH A RIGGIO                               24345 DOROTHY DR                                                                                  CRETE             IL    60417‐3501
ELIZABETH A RIGGS                                RT 3 BOX 123                                                                                      TOMAH             WI    54660‐9424
ELIZABETH A RISKE                                20304 GAUKLER                                                                                     ST CLAIR SHORES   MI    48080‐3771
ELIZABETH A RIZAK                                39500 WARREN RD LOT 263                                                                           CANTON            MI    48187‐4347
ELIZABETH A ROBERTSON                            67 HILTON AVE # B9                                                                                GARDEN CITY       NY    11530‐2801
ELIZABETH A ROOSA                                6 WATER ST                                                                                        NEW HAMBURG       NY    12590‐5543
ELIZABETH A ROSE & HERMAN L ROSE JT TEN          19602 HIGHWAY 59                                                                                  COUNTRY CLUB      MO    64505
ELIZABETH A SAMPLE                               29505 JERKWATER ROAD                                                                              SHERIDAN          IN    46069‐9364
ELIZABETH A SAMPSON                              25 WEST ST                                                                                        BRATTLEBORO       VT    05301‐6219
ELIZABETH A SAMPSON                              25 WEST ST                                                                                        BRATTLEBORO       VT    05301‐6219
ELIZABETH A SCANLON                              155 RAYMOND ROAD APT 212                                                                          PRINCETON         NJ    08540‐9643
ELIZABETH A SCHICK                               200 TIBET RD                                                                                      COLUMBUS          OH    43202‐1438
ELIZABETH A SCHLEICHER                           12135 HUNTOON RD                                                                                  CONCORD           OH    44077‐8815
ELIZABETH A SCHLIEMAN                            6034 WHITEFORD RD                                                                                 SYLVANIA          OH    43560‐1640
ELIZABETH A SCHULTETUS                           205 FRANCIS RD                                                                                    DECATUR           IL    62522‐9541
ELIZABETH A SCHULZ                               PO BOX 171                                                                                        WALWORTH          WI    53184‐0171
ELIZABETH A SENRICK                              3212 PARK OVERLOOK DR                                                                             SHOREVIEW         MN    55126‐4125
ELIZABETH A SHADDOCK                             PO BOX 10444                                                                                      EL DORADO         AR    71730‐0002
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ELIZABETH A SHAW                                    PO BOX 236                                                                                      CEDAR KNOLLS     NJ    07927‐0236
ELIZABETH A SIGMON                                  19965 BINDER                                                                                    DETROIT          MI    48234‐1907
ELIZABETH A SKELTON CUST MATTHEW WADE               2225 SHYROCK FERRY RD                                                                           VERSAILLES       KY    40383‐9055
HAMPTON UTMA KY
ELIZABETH A SOLIGO                                  1503 DILWORTH RD                       WILLOW RUN                                               WILMINGTON       DE    19805‐1213
ELIZABETH A SPAULDING                               7 BLOOMFEILD WAY                                                                                WEST ORANGE      NJ    07052‐4914
ELIZABETH A STANLEY & CHRISTOPHER W STANLEY JT      1220 COPPER HILL RD                                                                             WEST SUFFIELD    CT    06093‐2917
TEN
ELIZABETH A STEELE                                  PO BOX 242                                                                                      TECUMSEH         MI    49286‐0242
ELIZABETH A STEVENS                                 4773 OCALA TER                                                                                  NORTH PORT       FL    34288
ELIZABETH A STIVES CUST KIMBERLY A STIVES UGMA PA   114 AUGUSTA DR                                                                                  LINCROFT         NJ    07738‐1202

ELIZABETH A STRAGER                                 1464 BLACKSTOCK                                                                                 SIMI VALLEY      CA    93063‐3114
ELIZABETH A STRICKLAND TR JAMIESON D PARADY         14419 KATIE RD                                                                                  PHORNIX          MD    21131‐1756

ELIZABETH A STRICKLAND TR THOMAS R PARADY      14419 KATIE RD                                                                                       PHOENIX          MD    21131‐1756
ELIZABETH A STUDEBAKER                         623 MARTIN DR                                                                                        XENIA            OH    45385‐1617
ELIZABETH A SULLIVAN                           406 QUIET FIELD CT                                                                                   SAINT PETERS     MO    63376‐3865
ELIZABETH A TEMPLE                             113 CALICO CT                                                                                        WINCHESTER       VA    22602‐5327
ELIZABETH A THOMPSON                           153 COMMERCE                                                                                         GRANT            MI    49327‐9361
ELIZABETH A THORNTON TR UA 12/19/1993 THORNTON 8064 SW 108TH ST                                                                                     OCALA            FL    34481
FAMILY LIVING TRUST
ELIZABETH A TIMM                               1322 1/2 17TH AVE                                                                                    MONROE           WI    53566‐2534
ELIZABETH A TROUTMAN                           133 NEWMAN SPRINGS RD                                                                                TINTON FALLS     NJ    07724‐2647
ELIZABETH A TROWBRIDGE & GREGORY D TROWBRIDGE 768 BARRON AVE                                                                                        WOODBRIDGE       NJ    07095‐3207
JT TEN
ELIZABETH A TURNER                             4226 OAKCREST DR                                                                                     LANSING          MI    48917‐4212
ELIZABETH A TURSKI                             1536 CARDINAL RDG                                                                                    W BLOOMFIELD     MI    48324‐3418
ELIZABETH A VISOCKY                            525 SELKIRK DR                                                                                       MOUNT MORRIS     MI    48458‐8919
ELIZABETH A WALLS                              79 W GREENWOOD AVE                                                                                   LANSDOWNE        PA    19050‐1530
ELIZABETH A WEAVER                             551 STATE HIGHWAY 11C                                                                                WINTHROP         NY    13697‐3240
ELIZABETH A WEED                               1086 WYMAN DR                                                                                        WATERFORD        MI    48328‐3964
ELIZABETH A WEED                               1086 WYMAN DR                                                                                        WATERFORD        MI    48328‐3964
ELIZABETH A WELCH                              117 RIDGEWOOD RD                                                                                     FRANKLIN         TN    37064‐5276
ELIZABETH A WHITCOMBE                          242 JOHNSARBOR DR W                                                                                  ROCHESTER        NY    14620‐3631
ELIZABETH A WIDLIC                             6354 N MELVINA                                                                                       CHICAGO          IL    60646‐3721
ELIZABETH A WILCOX & RUTH VINCENT JT TEN       271 WALLOOMSAC RD                                                                                    BENNINGTON       VT    05201
ELIZABETH A WILK                               PO BOX 1029                                                                                          LA GRANGE PARK   IL    60526‐9129
ELIZABETH A WILLIAMS                           3008 E SOUTH FORK DR                                                                                 PHOENIX          AZ    85048‐8743
ELIZABETH A WILLIAMS                           343 NIPIGON ST                              OSHAWA ON                              L1J 4P1 CANADA
ELIZABETH A WILLIAMS                           343 NIPIGON ST                              OSHAWA ON                              L1J 4P1 CANADA
ELIZABETH A WILSON                             2809 RICHLAND CT                                                                                     STOCKTON         CA    95207‐1205
ELIZABETH A WILSON                             5686 YORK RD SW                                                                                      PATASKALA        OH    43062‐8506
ELIZABETH A WILSON                             22218 CHERIE CT                                                                                      RICHTON PARK     IL    60471‐1031
ELIZABETH A WIWCZAR                            31 GREENBRIER ROAD                                                                                   WADING RIVER     NY    11792‐1021
ELIZABETH A WOLF                               PO BOX 58165                                                                                         SALT LAKE CITY   UT    84158‐0165
ELIZABETH A WOODS                              1308 W 9TH ST                                                                                        WILMINGTON       DE    19806‐4621
ELIZABETH A WYMAN                              7410 W DIVERSEY                                                                                      ELMWOOD PARK     IL    60707‐1552
ELIZABETH A YARDLEY                            ATTN ELIZABETH YARDLEY BOEHME               3005 ROBINHOOD                                           HOUSTON          TX    77005‐2343
ELIZABETH A YORICK                             8931 LOUISE                                                                                          LIVONIA          MI    48150‐4015
ELIZABETH A YOUNG                              1147 MAPLE ST                                                                                        IOWA CITY        IA    52240‐5634
ELIZABETH A ZACARCHUK                          246 MCKINLEY AVENUE                                                                                  KENMORE          NY    14217‐2438
ELIZABETH ADAMS SHARP                          420 DOE RUN STATION RD                                                                               COATESVILLE      PA    19320‐4910
ELIZABETH ALBANESE                             62 DE VRIES AVE                                                                                      NORTH            NY    10593
                                                                                                                                                    TARRYTOWN
ELIZABETH ALBRIGHT SCOTT                            34 KIMBERWICK RD                                                                                LEXINGTON        OH    44904‐9667
ELIZABETH ALLAND SPERBER                            11 VIA FLORA CT                                                                                 CHICO            CA    95973‐0995
ELIZABETH ALVARADO                                  8632 WILEY WAY                                                                                  AUSTIN           TX    78747
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ELIZABETH ANDERSON & CYNTHIA E NIBLACK JT TEN     5891 DIXIE HWY #E233                                                                            CLARKSTON          MI    48346‐3314

ELIZABETH ANGELA BISCHOFF                         152 HUNDRED OAKS DR                                                                             TOMS RIVER         NJ    08755
ELIZABETH ANN ALLEN                               801 EAST WALNUT ST                                                                              AKRON              IN    46910
ELIZABETH ANN BARNES & GARY L BARNES JT TEN       5020 ATLAS RD                                                                                   GRAND BLANC        MI    48439‐9707
ELIZABETH ANN BELLEHUMEUR                         10451 SE TIMUCUAN ISLAND RD                                                                     SUMMERFIELD        FL    34491‐1912
ELIZABETH ANN CAFFERTY                            15 CHARLES ST                          APT 4                                                    BOSTON             MA    02114‐4606
ELIZABETH ANN CAMPBELL                            APT 313                                5002 SHEBOYGAN AVE                                       MADISON            WI    53705‐2816
ELIZABETH ANN CLAIR                               3857 FARHILL DR                                                                                 BLOOMFIELD HILLS   MI    48304‐3113

ELIZABETH ANN CREWS                               37 BAYLEY AVE                                                                                   YONKERS            NY    10705‐2951
ELIZABETH ANN CROSSLAND                           522 MEFFORD LN                                                                                  ALLEN              TX    75013
ELIZABETH ANN DAVIES                              ATTN ELIZABETH D PORTER                PO BOX 485                                               MILFORD            MI    48381‐0485
ELIZABETH ANN FALLIN                              160 S LYNNWOOD ST                                                                               LA GRANGE          TX    78945‐3411
ELIZABETH ANN GALLAGHER TR UA 01/10/89 THE        13405 KITTRIDGE ST                                                                              VAN NUYS           CA    91401‐1207
GALLAGHER TRUST
ELIZABETH ANN GEORGE                              130 ORTHORIDGE RD                                                                               LUTHERVILLE        MD    21093‐5420
ELIZABETH ANN GILMAN                              500 GARDENDALE RD                                                                               TERRE HAUTE        IN    47803‐1740
ELIZABETH ANN GOYDAN                              7683 BIG CEDAR CT                                                                               FLORENCE           KY    41042
ELIZABETH ANN GRAY AVILA                          11434 WICK WILDE                                                                                HELOTES            TX    78023
ELIZABETH ANN HAKE                                11 PHILLIPS ST                                                                                  MEDWAY             MA    02053‐1539
ELIZABETH ANN HALL                                17 RIPPLE TERRACE                                                                               BARNEGAT           NJ    08005‐5554
ELIZABETH ANN HARRIS                              ATTN ELIZABETH ANN SPOERL              2320 HICKORY DR                                          PLOVER             WI    54467‐2407
ELIZABETH ANN HART ADAMS                          PO BOX 65                                                                                       PAXICO             KS    66526
ELIZABETH ANN KEARNEY & LOIS FRITZ JT TEN         13430 RANGOON ST                                                                                ARLETA             CA    91331‐6322
ELIZABETH ANN KEGLEY                              1142 CASTLE ROW                                                                                 INDIANAPOLIS       IN    46220‐3255
ELIZABETH ANN LA LUZERNE                          1804 HUMBOLT AVE S                                                                              MINNEAPOLIS        MN    55403‐2813
ELIZABETH ANN MC CARTHY                           232 KILLDEER ROAD                                                                               WEBSTER            MA    01570‐3310
ELIZABETH ANN MC FARLAND                          12103 BLOSSOM HOLLOW                                                                            SAN ANTONIO        TX    78247‐4257
ELIZABETH ANN MULVANEY                            512 N WATER ST                                                                                  SPARTA             WI    54656‐1745
ELIZABETH ANN MUNGENAST                           8971 NW 7TH COURT                                                                               PEMBROKE PINES     FL    33024‐6453
ELIZABETH ANN PFROGNER                            144 MORENA DRIVE                                                                                HOLLY SPRINGS      NC    27540‐9399
ELIZABETH ANN RECKER                              PO BOX 247                                                                                      CHARLES CITY       IA    50616‐0247
ELIZABETH ANN ROBINSON                            1142 RIVER OAKS LN                                                                              CHARLOTTESVLE      VA    22901‐0637
ELIZABETH ANN ROONEY                              22 KENDALL ST                          APT 1                                                    CLEARWATER         FL    33767‐1626
ELIZABETH ANN ROSSI                               PO BOX 219                                                                                      MILL NECK          NY    11765‐0219
ELIZABETH ANN ROWLAND                             ATTN ELIZABETH ROWLAND MADON           104 LYNNWOOD TERRACE                                     PINEVILLE          KY    40977‐1436
ELIZABETH ANN SCHMIDT                             ATTN ELIZABETH A S CONNORS             3733 LOGAN AVE NW                                        CANTON             OH    44709‐1540
ELIZABETH ANN SENTMAN                             510 NORTH ST                                                                                    ELKTON             MD    21921‐5610
ELIZABETH ANN SHOUP                               1102 MAC DONALD AVE                                                                             FLINT              MI    48507‐2855
ELIZABETH ANN SMITH                               844S W COUNTY RD 242                                                                            LAKE CITY          FL    32024‐4311
ELIZABETH ANN SUTTON & ROBERT L HOLLAND JR                                                                                                        WEST UNION         WV    26456
U/GDNSHP OF MARY H HOLLAND
ELIZABETH ANN THOMAS CUST KIRK MATTHEW            990 CHAPEL HILL DR                                                                              LAWRENCEVILLE      GA    30045‐2372
THOMAS UGMA NY
ELIZABETH ANN TRAFF                               1651 9TH AVENUE                                                                                 ROCHESTER          MN    55906
ELIZABETH ANN VINCENZO                            124 JEPSON AVE                                                                                  ST CLAIRSVILLE     OH    43950‐1232
ELIZABETH ANN WELTZER                             27 PROSPECT HILL BLVD                                                                           CHESTER SPRINGS    PA    19425
ELIZABETH ANN WOLF                                BOX #58165                                                                                      SALT LAKE CITY     UT    84158‐0165
ELIZABETH ANN WOLF CUST U/THE LAWS OF OREGON      15503 SE 39TH CIR                                                                               VANCOUVER          WA    98663‐5333
FOR THERESA LYNN WOLF
ELIZABETH ANN WURST                               29 DONNEL RD                                                                                    VERNON             CT    06066‐2705
ELIZABETH ANN‐WATES TROMBLEY                      3226 W RIDGEWAY AVE                                                                             FLINT              MI    48504‐6929
ELIZABETH ANNE BERNER                             693 DARK STAR AVE                                                                               COLUMBUS           OH    43230‐3820
ELIZABETH ANNE BRYSON                             73 CHURCHILL RD                                                                                 WEST SPRINGFIELD   MA    01089‐3011

ELIZABETH ANNE CALDWELL                           1211 LONG CORNER RD                                                                             MOUNT AIRY         MD    21771‐3824
ELIZABETH ANNE CARROLL & ERVIN JAMES CARROLL JT   9172 BOOTS LANE                                                                                 JACKSONVILLE       FL    32220‐1284
TEN
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ELIZABETH ANNE DADARIO                             257 ORCHARD RD                                                                                 SPRINGFIELD        PA    19064‐2317
ELIZABETH ANNE DEW                                 PO BOX 1284                                                                                    MCALESTER          OK    74502‐1284
ELIZABETH ANNE DUFFY                               116 STIRRUP PL                                                                                 BURR RIDGE         IL    60521‐5775
ELIZABETH ANNE HOLMES                              267 WILLIS RD                                                                                  SALINE             MI    48176‐1596
ELIZABETH ANNE HUGHES & JANE B HUGHES TEN COM      2569 FORREST DRIVE                                                                             KINSTON            NC    28504‐8169

ELIZABETH ANNE MADON                               103 LYNNWOOD TERRACE                                                                           PINEVILLE          KY    40977‐1435
ELIZABETH ANNE MINISH                              RT 2 BOX 416                                                                                   CRAWFORD           GA    30630‐9802
ELIZABETH ANNE O'BRIEN                             7901 BELGARO ROAD                                                                              LAUREL             MD    20723
ELIZABETH ANNE ONEIL THOMAS                        3120 22ND ST                                                                                   LUBBOCK            TX    79410‐2116
ELIZABETH ANNE SAXTON                              1106 COYNE PLACE                                                                               WILMINGTON         DE    19805‐4525
ELIZABETH ANNE SCAGNETTI & PATRICIA SCAGNETTI JT   32431 ANITA                                                                                    WESTLAND           MI    48185‐1510
TEN
ELIZABETH ANNE SCOTT                               167 NORTH AVE                                                                                  BURLINGTON         VT    05401
ELIZABETH ANNE SLATER                              1633 MEADOWS CIR                                                                               ROCKFORD           IL    61108‐1592
ELIZABETH ANNE SMITH                               63 VICTORIA ST                        LONDON ON                              N6A 2B1 CANADA
ELIZABETH ANNE THORSON                             PO BOX 862                                                                                     MORRIS             IL    60450‐0862
ELIZABETH ANNE TOLOMEI                             20412 ARDMORE PARK DRIVE                                                                       SAINT CLAIR SHORES MI    48081‐1770

ELIZABETH ANNE WARREN                              350 OLD GREEN BAY RD                                                                           GLENCOE            IL    60022‐1937
ELIZABETH ANNE WHITE                               1319 N WABASH AVE                                                                              MARION             IN    46952‐1805
ELIZABETH ANNE WILKINSON                           106 BOULDER LANE                                                                               CHAPEL HILL        NC    27514‐2001
ELIZABETH ANNETTER BOND                            2937 LANGLOIS STREET                  WINDSOR ONTARIO ON                     N8X 4M6 CANADA
ELIZABETH ANTCZAK                                  31734 PERTH                                                                                    LIVONIA            MI    48154‐4281
ELIZABETH ARALIA                                   5320 FOXLAIR RD                                                                                CHAPEL HILL        NC    27516‐8174
ELIZABETH ARMENAT                                  14666 COWLEY RD                                                                                COLUMBIA STA       OH    44028‐9770
ELIZABETH ARMSTRONG                                20 BARTLEY AVE                                                                                 MANSFIELD          OH    44906‐3107
ELIZABETH ARNOLD                                   PO BOX 926                                                                                     HOUGHTON LAKE      MI    48629‐0926
ELIZABETH AUSTIN DAILEY                            201 JOHNSTON ST                                                                                SAVANNAH           GA    31405‐5606
ELIZABETH AVOLS                                    4955 RIVERBEND CT                                                                              FORT WORTH         TX    76109‐2439
ELIZABETH B ANDERSON                               PO BOX 76                                                                                      BROWNSBURG         VA    24415‐0076
ELIZABETH B BEISEL                                 5410 AIKEN PL                                                                                  PITTSBURGH         PA    15232‐1504
ELIZABETH B BENSON                                 119 THOMAS POINT CIRCLE                                                                        WILMINGTON         DE    19808‐1368
ELIZABETH B BOOZER                                 1617 CONCORD DRIVE                                                                             CHARLOTTESVILLE    VA    22901‐3117

ELIZABETH B BOWERS                                 3405 CHATHAM ROAD                                                                              ADELPHI            MD    20783‐1852
ELIZABETH B BROWN                                  21527 ALGER ST                                                                                 ST CLR SHORES      MI    48080‐1839
ELIZABETH B BROWN EX EST DAISY W LAMBERTON         21527 ALGER ST                                                                                 ST CLR SHORES      MI    48080‐1839

ELIZABETH B BROWN EX EST DAISY W LAMBERTON         21527 ALGER ST                                                                                 ST CLR SHORES      MI    48080‐1839

ELIZABETH B CARTER                                 240 PALMER COURT                                                                               RIDGEWOOD          NJ    07450‐2316
ELIZABETH B COATS                                  4801 NORTHGATE COURT                                                                           DAYTON             OH    45416‐1126
ELIZABETH B COIT PER REP EST PHYLLIS B COIT        10702 E CRESTVIEW LN                                                                           LAUREL             MD    20723
ELIZABETH B COLLINS                                13304 VALLEYHEART DR                  APT 209                                                  SHERMAN OAKS       CA    91423‐5131
ELIZABETH B COOK                                   2508 OAKWOOD AVE                                                                               GREEN BAY          WI    54301‐1810
ELIZABETH B DAVID CUST JONATHAN W DAVID UGMA       118 PARKWAY DRIVE                                                                              NEWPORT NEWS       VA    23606‐3650
VA
ELIZABETH B DIXON                                  3154 WEST CASS                                                                                 FLINT              MI    48504‐1208
ELIZABETH B EDGERTON                               2001 CLINTON AVE S                    APT C204                                                 ROCHESTER          NY    14618‐5708
ELIZABETH B HAIGH                                  259 BARRINGTON ST                                                                              ROCHESTER          NY    14607‐2906
ELIZABETH B HUGHES                                 2044 PINE ST                                                                                   PHILADELPHIA       PA    19103‐6536
ELIZABETH B JOESBURY                               673 CHESTNUT DR                                                                                THOMSON            GA    30824‐1820
ELIZABETH B LA ROSE                                4611 CEDAR CREST DR                                                                            SAGINAW            MI    48603‐7267
ELIZABETH B LEISEN                                 39 SMITH RD                                                                                    SOMERSET           NJ    08873‐2725
ELIZABETH B LEMIEUX                                2246 CHADDS CREEK DR                                                                           MARIETTA           GA    30062‐6060
ELIZABETH B MC GINNIS                              123 BROCKINTON DR                                                                              ST SIMONS ISLAND   GA    31522‐1637

ELIZABETH B MC INNIS                               2343 WALBASH DRIVE                                                                             MONTGOMERY         AL    36116‐2208
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ELIZABETH B MCARDLE                              1140 SHADES CREST RD                                                                           BIRMINGHAM       AL    35226‐1908
ELIZABETH B MCELWEE                              1146 DARBY LN                                                                                  UNION            NJ    07083‐7920
ELIZABETH B MURPHY                               7400 WHITE PLACE                                                                               WASHINGTON       MI    48094‐3500
ELIZABETH B NACLERIO GIFFEN                      838 FAIR ST                                                                                    CARMEL           NY    10512‐3085
ELIZABETH B PARISOT & ANNE B ROCHET JT TEN       205 MOOSE HILL RD                                                                              GUILFORD         CT    06437‐4311
ELIZABETH B PENNINGTON & PATRICIA BOGARDUS JT    26 PARK ST                                                                                     PORTSMOUTH       NH    03801‐5031
TEN
ELIZABETH B POPE                                 6415 LAKE FOREST ROAD E                                                                        CHARLOTTE        NC    28227
ELIZABETH B SCHLADENHAUFFEN                      C/O BENJAMIN G SCHLADENHAUFFEN        316 TIPPERARY WAY                                        NICEVILLE        FL    32578‐1767
ELIZABETH B SIMONS                               84 DAVIS AVE                                                                                   WHITE PLAINS     NY    10605‐1107
ELIZABETH B SINGER                               8 SUMMIT LANE                                                                                  BERKELEY         CA    94708‐2213
ELIZABETH B SULLIVAN                             207 HANTWERKER DR                                                                              DELMAR           DE    19940
ELIZABETH B WATERS                               6407 REGAL RD                                                                                  LOUISVILLE       KY    40222‐6038
ELIZABETH B WEISE                                C/O FRANCES M GAVLICK                 40 REGENCY DRIVE                                         POUGHKEEPSIE     NY    12603‐1154
ELIZABETH B WILDMAN                              8528 SR 45 NW                                                                                  N BLOOMFIELD     OH    44450‐9701
ELIZABETH BAILEY                                 1640 DUCK LAKE RD                                                                              MILFORD          MI    48381‐1422
ELIZABETH BAILEY                                 620 E WREN CIR                                                                                 BAREFOOT BAY     FL    32976‐7260
ELIZABETH BALDWIN HILL                           3168 THOMAS AVE                                                                                MONTGOMERY       AL    36106‐2426
ELIZABETH BANNAN                                 C/O ELIZABETH COWELL                  7069 PADDINGTON WAY                                      LAS VEGAS        NV    89147‐4407
ELIZABETH BARRETT ROBEY & DAVID ROBEY JT TEN     ARMED FORCES BANK                     320 KANSAS                                               FORT             KS    66027
                                                                                                                                                LEAVENWORTH
ELIZABETH BARRETT WILLS                          153 AMBER DR                                                                                   BECKLEY          WV    25801‐9144
ELIZABETH BARRY HOUGHTON                         326 ST DAVIDS RD                                                                               WAYNE            PA    19087‐4307
ELIZABETH BARTO                                  325 WHITE OAK LN                                                                               GRAND ISLAND     NY    14072‐3323
ELIZABETH BEASON                                 605 CASSEL HILLS CRT                                                                           VANDALIA         OH    45377
ELIZABETH BEDEL CUST MARISA LYN BEDEL UGMA PA    5950 RIDGE RD                                                                                  GIBSONIA         PA    15044‐9745

ELIZABETH BEL RYNECKI                               149 FLORENCE AVE                                                                            OAKLAND          CA    94618‐2248
ELIZABETH BIEGERT                                   250 BROOKWOOD AVENUE SOUTH                                                                  HAMILTON         OH    45013‐2008
ELIZABETH BIGGS                                     PO BOX 4110                                                                                 ELMIRA           NY    14904‐0110
ELIZABETH BILLUPS GRIBBLE & G DICKSON GRIBBLE JR JT 1211 LITTLE PATUXENT PKWY                                                                   COLUMBIA         MD    21044
TEN
ELIZABETH BLACK CANNON                              1117 W STANDLEY ST                                                                          UKIAH            CA    95482‐4230
ELIZABETH BLADDY                                    C/O MRS E NATITZ                   265 COLDSTREAM AVE                                       MERRITT ISLAND   FL    32953‐4681
ELIZABETH BLAIN TAYLOR                              510 MADISON ST                                                                              NATCHEZ          MS    39120‐2967
ELIZABETH BLOCK                                     3 WASHINGTON AVENUE                TORONTO ON                             M5S 1L1 CANADA
ELIZABETH BOON                                      710‐4 ZLOTKIN CIRCLE                                                                        FREEHOLD         NJ    07728‐4367
ELIZABETH BRADLEY                                   764 NORGATE                                                                                 WESTFIELD        NJ    07090‐3427
ELIZABETH BRADY MAHANNA                             4 THE PINES CT SUITE C                                                                      CREVE COEUR      MO    63141
ELIZABETH BRANCA                                    57 SHAG TERRACE                                                                             ROCHESTER        NY    14624‐2411
ELIZABETH BRIGHT                                    125 BROCKWAY DR                                                                             ROCKWALL         TX    75032‐5602
ELIZABETH BROWN                                     C/O ANDREW J BROWN                 2770 LOFTYVIEW DR                                        TORRANCE         CA    90505‐7226
ELIZABETH BROWN                                     3168 ARTHINGTON BLVD                                                                        INDIANAPOLIS     IN    46218‐2331
ELIZABETH BROWN                                     16321 PARKLANE                                                                              LIVONIA          MI    48154‐2122
ELIZABETH BUEHRER GLOR                              136 SOUTH MAIN STREET                                                                       WELLINGTON       OH    44090‐1344
ELIZABETH BURSEY                                    225 E TAYLOR ST                                                                             FLINT            MI    48505‐4985
ELIZABETH C ACHTEN                                  2722 IDA AVE                                                                                CINCINNATI       OH    45212‐4215
ELIZABETH C BALLANTYNE                              1348 ROOSEVELT AVE                                                                          SALT LAKE CTY    UT    84105
ELIZABETH C BANWELL CUST PATRICK CRONIN BANWELL 2026 CALUMET                                                                                    FLINT            MI    48503‐2809
UGMA MI
ELIZABETH C BEMIS TOD LINDA ROBERTS SUBJECT TO      G3094 CLAYWARD DR                                                                           FLINT            MI    48506
STA TOD RULES
ELIZABETH C CASH                                    ATTN MRS ELIZABETH C PROCTOR       126 ORIOLE ST                                            BARNWELL         SC    29812
ELIZABETH C COEN                                    2410 BELFORD DR                                                                             WILMINGTON       DE    19808
ELIZABETH C COLOSIMO & FEDERICO COLOSIMO JT TEN 431 STONY BROOK DR                                                                              BRIDGEWATER      NJ    08807‐1945

ELIZABETH C COPPINGER                             7810 TILMONT AVENUE                                                                           BALTIMORE        MD    21234‐5539
ELIZABETH C COPPINGER & GEORGE J COPPINGER JT TEN 7810 TILMONT AVENUE                                                                           BALTIMORE        MD    21234‐5539
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ELIZABETH C CRADDICK                             231 BROOKWAY RD                                                                               DAYTON             OH    45459‐2801
ELIZABETH C CURTIN                               65 CRISFIELD ST                      # 302                                                    YONKERS            NY    10710‐1205
ELIZABETH C CURTIN & MAURA E CURTIN JT TEN       65 CRISFIELD ST                      # 302                                                    YONKERS            NY    10710‐1205
ELIZABETH C DE PROSSE                            1007 TRIPHAMMER ROAD                                                                          ITHACA             NY    14850‐2510
ELIZABETH C DENNIS                               PO BOX 84                                                                                     BEACH LAKE         PA    18405‐0084
ELIZABETH C DOOLING                              145 PINCKNEY ST APT 435                                                                       BOSTON             MA    02114‐3272
ELIZABETH C EDGAR TR GEORGE E EDGAR FAMILY TRUST 3103 SCIOTO TRCE                                                                              COLUMBUS           OH    43221‐4733
UA 7/08/97
ELIZABETH C ERNST TR ELIZABETH C ERNST TRUST UA  4165 PAISLEY DR                                                                               STERLING HEIGHTS   MI    48314‐1977
08/20/87
ELIZABETH C ESPARZA                              PO BOX 9793                                                                                   FOUNTAIN VLY       CA    92728‐9793
ELIZABETH C FINCH                                130 E 18TH ST                        APT 1G                                                   NEW YORK           NY    10003‐2429
ELIZABETH C FURMAN                               1 PADGETT COURT                                                                               OKATIE             SC    29909‐4500
ELIZABETH C GIOVANNOZZI                          2 BLUE HERON DRIVE                                                                            LEWES              DE    19958‐2311
ELIZABETH C GOLDMAN                              9463 CORINNE                                                                                  PLYMOUTH           MI    48170‐4023
ELIZABETH C GRANT                                64 BUCKINGHAM ROAD                                                                            MILTON             MA    02186‐4418
ELIZABETH C HOLLY                                11 LESTER AVE                                                                                 PAWCATUCK          CT    06379‐2101
ELIZABETH C HOLTZCLAW                            6322 11TH ROAD NORTH                                                                          ARLINGTON          VA    22205‐1718
ELIZABETH C IGLEHEART                            1414 ST ANDREWS DR                                                                            SHELBYVILLE        KY    40065‐9037
ELIZABETH C KAYLOR                               8904 DENISON AVE                                                                              CLEVELAND          OH    44102‐4870
ELIZABETH C KILGORE                              1206 TIMBER DR                                                                                SLEEPY HOLLOW      IL    60118‐1810
ELIZABETH C KING                                 10065 RAPP RD                                                                                 NEW MIDDLETWN      OH    44442

ELIZABETH C KIRCHHUBER & LINDA J KIRCHHUBER JT    209 S JEFFERSON ST                                                                           ATHENS             AL    35611‐2546
TEN
ELIZABETH C LIST                                  92 MARKET ST                                                                                 POTSDAM            NY    13676‐1718
ELIZABETH C MARSHALL                              4135 BALLARD AVE                                                                             CINCINNATI         OH    45209‐1719
ELIZABETH C METZ                                  238 CHAMPLAIN DR                                                                             PLATTSBURGH        NY    12901‐4214
ELIZABETH C MILLER                                720 BOWSTRING RD                                                                             MONUMENT           CO    80132‐8574
ELIZABETH C MISISCO                               8708 BLUEDALE ST                                                                             ALEXANDRIA         VA    22308‐2303
ELIZABETH C MORRISON                              30 FAIRFAX TER                                                                               CHATHAM            NJ    07928‐2004
ELIZABETH C PETER                                 2926 MONTAVESTA RD                                                                           LEXINGTON          KY    40502‐3004
ELIZABETH C PETRAK                                745 COLUMBIA RD                     PO BOX 297                                               VALLEY CITY        OH    44280‐0297
ELIZABETH C PISTON                                316 E GLENSIDE AVE                                                                           GLENSIDE           PA    19038‐4523
ELIZABETH C RENOVA                                1200 KINGS CT                                                                                OKLAHOMA CITY      OK    73160‐1834
ELIZABETH C REYER                                 1628 MCDOWELL STREET                                                                         SHARON             PA    16146‐3826
ELIZABETH C ROSS                                  5742 26TH STREET                                                                             WASHINGTON         DC    20015‐1114
ELIZABETH C RUH                                   622 ALEXIAN WAY APT B3                                                                       SIGNAL MTN         TN    37377‐1986
ELIZABETH C SAUTER                                31293 SLEEPY HOLLOW LN                                                                       BEVERLY HILLS      MI    48025‐3621
ELIZABETH C SOUSA                                 153 N GRANT AVENUE                                                                           COLONIA            NJ    07067‐2226
ELIZABETH C STOUT & J ROGER STOUT & DONALD E      2421 SOUTH CRYSTAL COURT            GRAND JUNTION                                            GRAND JCT          CO    81503‐1547
STOUT JT TEN
ELIZABETH C TAYLOR & ROY E TAYLOR JT TEN          300 TAFT AVE                                                                                 WILMINGTON         DE    19805‐1303
ELIZABETH C TOYCEN                                433 DOVER ST                                                                                 CHIPPEWA FALLS     WI    54729‐2222
ELIZABETH C WARENDA                               81 MORTON ROAD                                                                               MERIDEN            CT    06450‐4834
ELIZABETH C WESTERFIELD CUST LUCY K WESTERFIELD   2669 CLERMONT ST                                                                             DENVER             CO    80207‐3042
UTMA CA
ELIZABETH C WHITE                                 3506 HAWTHORNE LN                                                                            KOKOMO         IN        46902‐4521
ELIZABETH C WILSON                                PO BOX 116                                                                                   NORTH EGREMONT MA        01252‐0116

ELIZABETH CALABRO                                 61‐46 213TH ST                                                                               BAYSIDE            NY    11364‐2127
ELIZABETH CALDWELL                                3721 HEATHERWOODS DR                                                                         VALDOSTA           GA    31605‐5236
ELIZABETH CALISTRO                                74 SYLVAN RD                                                                                 NEW BRITAIN        CT    06053‐2126
ELIZABETH CAMPOS                                  1319 COMFORT ST                                                                              LANSING            MI    48915‐1407
ELIZABETH CARIAGA STANEK & TIMOTHY J STANEK JT    1791 RED BUD CIR NW                                                                          PALM BAY           FL    32907‐8745
TEN
ELIZABETH CAROL FLACK CUST ELIZABETH VICTORIA     PO BOX 1890                                                                                  ELFERS             FL    34680‐1890
ROBERTSON UTMA VA
ELIZABETH CAROL POLIFRONI                         109 WALNUT AVE                                                                               BOGOTA             NJ    07603‐1603
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ELIZABETH CARTER                                 7 PINE AVE                                                                                             MASHPEE          MA    02649‐4701
ELIZABETH CHAPA                                  575 LAKESHORE CIR                       APT 104                                                        AUBURN HILLS     MI    48326‐4514
ELIZABETH CHEN                                   3801 N MISSION HILLS                                                                                   NORTHBROOK       IL    60062‐5729
ELIZABETH CLAIRE COURNOYER                       3 ORCHARD WAY S                                                                                        ROCKVILLE        MD    20854‐6129
ELIZABETH CLARKE                                 14300 METTETAL                                                                                         DETROIT          MI    48227‐1850
ELIZABETH COLLINS                                8848 ILEX AVE                                                                                          SUN VALLEY       CA    91352‐2510
ELIZABETH COMBS                                  3285 ROCKY POINT RD                                                                                    SPRINGFIELD      OH    45502‐9746
ELIZABETH CONGLETON                              298 LIBERTY AVE                                                                                        HILLSDALE        NJ    07642‐2226
ELIZABETH CONN                                   4218 BRANDON                                                                                           DETROIT          MI    48209‐1332
ELIZABETH COOGAN                                 395 ANGELL ST APT 5                                                                                    PROVIDENCE       RI    02906‐4067
ELIZABETH COOLEY UGGLA CUST MICHAEL CARL UGGLA   1400 JEWELL DR                                                                                         COLUMBIA         TN    38401‐5211
UGMA VA
ELIZABETH COOLEY WYDNER                          BOX 2928                                HWY 29                                                         FRENCHTOWN       NJ    08825
ELIZABETH COPES                                  1668 WESLEYAN ROAD                                                                                     DAYTON           OH    45406
ELIZABETH CORINNE COLLINS                        3120 ROSEDALE                                                                                          PORT ARTHUR      TX    77642‐2044
ELIZABETH COTTON                                 2821 N UNIVERSITY DR                    APT 203                                                        WAUKESHA         WI    53188‐1427
ELIZABETH COUDON HOOPES                          C/O MRS E H FIELD                       123 MILL ROAD                                                  NORTH HAMPTON    NH    03862‐2218

ELIZABETH COX PLUM                               FLAT 1                                  21 BRECHIN PL        LONDON            SW7 4QD GREAT BRITAIN
ELIZABETH CRANSTON BAXTER                        62 DENTON RD                                                                                           WELLESLEY        MA    02482‐6405
ELIZABETH CROSBIE                                47 PONDVIEW DRIVE                                                                                      SOUTHINGTON      CT    06489‐3947
ELIZABETH CROWE LANGTON CUST COLIN THOMAS        74 SOUTH DR                                                                                            PLANDOME         NY    11030‐1442
LANGTON UTMA NY
ELIZABETH CROWLEY CUST ALEXANDRA KATHRYN         455 BOYD DR                                                                                            CARBONDALE       CO    81623‐2188
RANKIN UGMA NY
ELIZABETH CROWLEY CUST ANDREW HAROLD RANKIN      455 BOYD DR                                                                                            CARBONDALE       CO    81623‐2188
UGMA NY
ELIZABETH CUMMINS MOORE                          3111 MANOR GROVE DR                                                                                    KINGWOOD         TX    77345‐1269
ELIZABETH CUMMINS MOORE CUST ANDREW WAYNE        3111 MANOR GROVE DR                                                                                    KINGWOOD         TX    77345‐1269
MOORE UGMA TX
ELIZABETH CUNNINGHAM                             PO BOX 1597                                                                                            NEW BRITAIN      CT    06050‐1597
ELIZABETH D ARNOLD                               5 FARM HOUSE LANE                                                                                      CAMP HILL        PA    17011
ELIZABETH D BARRETT CUST PETER ANTHONY BARRETT   1955 N MAY ST                                                                                          SOUTHERN PINES   NC    28387‐3610
UGMA PA
ELIZABETH D BINGHAM                              765 BROOKVIEW LANE                                                                                     INDIANAPOLIS     IN    46250
ELIZABETH D CONWAY TR THE CONWAY TRUST UA        131 ROLLING OAKS DRIVE                                                                                 COLLINSVILLE     IL    62234‐6001
03/06/02
ELIZABETH D COOK                                 10620 PLAINFIELD ROAD                                                                                  CINCINNATI       OH    45241‐2908
ELIZABETH D FLYNN                                37 BEVERLY RD                                                                                          CHESTNUT HILL    MA    02467‐3101
ELIZABETH D FOSTER                               2551 WINCHESTER RD NE                                                                                  HUNTSVILLE       AL    35811‐9007
ELIZABETH D GEASE                                774 ILLINI DRIVE                                                                                       MONROEVILLE      PA    15146‐1944
ELIZABETH D GOODSIR                              17 BATTLE RIDGE TRL                                                                                    TOTOWA           NJ    07512‐1621
ELIZABETH D GROTZ                                23363 SPY GLASS HILL DRI                                                                               SOUTH LYON       MI    48178‐9449
ELIZABETH D H KANE                               31 NANCY PL WYMBERLY                                                                                   SAVANNAH         GA    31406‐7556
ELIZABETH D HORNE                                PO BOX 6                                                                                               SAINT GEORGE     SC    29477‐0006
ELIZABETH D LEYBOURN                             2335 SHANKIN DR                                                                                        WOLVERINE LK     MI    48390‐2458
ELIZABETH D LOFTUS                               988 OLD BALTIMORE PIKE                                                                                 NEWARK           DE    19702‐1204
ELIZABETH D MARTINO & ROBERT J MARTINO JT TEN    4952 CARA CT                                                                                           ROYAL OAK        MI    48073‐1207

ELIZABETH D MCCORMICK & RICHARD M MCCORMICK JT R ROUTE 1 BOX 160                                                                                        SAINT JACOB      IL    62281‐9801
TEN
ELIZABETH D MORGAN                             513 EAST MCDONALD STREET                                                                                 HARTFORD CITY    IN    47348‐1401
ELIZABETH D NOBLE                              17 STANDISH RD                                                                                           NEEDHAM          MA    02492‐1115
ELIZABETH D NOBLE                              17 STANDISH RD                                                                                           NEEDHAM          MA    02492‐1115
ELIZABETH D OLMSTED                            14206 NW 10TH CT                                                                                         VANCOUVER        WA    98685‐1702
ELIZABETH D PATTERSON                          747 HOSKIN AVE                            OSHAWA ON                              L1H 2A8 CANADA
ELIZABETH D SAFFO                              309 POTOMAC ROAD                          FAIRFAX                                                        WILMINGTON       DE    19803‐3122
ELIZABETH D SAJA                               6 QUARRY RD                                                                                              STOCKTON         NJ    08559
ELIZABETH D SMITH                              38 HANCOCK ST APT 5                                                                                      BOSTON           MA    02114‐4131
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ELIZABETH D TRIPP CUST MATTHEW A TRIPP UTMA NC      121 BUENA VISTA DR                                                                             NEWPORT            NC    28570‐8119

ELIZABETH D TROUT                                   801 N LINCOLN ST                                                                               DUNCANNON          PA    17020‐1713
ELIZABETH D VAN LOO                                 2906 HERITAGE DR                                                                               DOTHAN             AL    36303‐1682
ELIZABETH D WILLIAMS                                109 MCARTHUR AVE SE                                                                            CONCORD            NC    28025‐3849
ELIZABETH D ZAHORA                                  108 BEATRICE DRIVE                                                                             DAYTON             OH    45404‐1349
ELIZABETH DAHME CUST ZACHARY R DAHME UTMA NJ        17 PINE HILL RD                                                                                ANNANDALE          NJ    08801

ELIZABETH DAWSON                                    5805 THADA LANE                                                                                COLUMBUS           OH    43229‐3475
ELIZABETH DE COURCY ANNIS                           404 LAKE ST                           APT 3E                                                   SITKA              AK    99835‐7459
ELIZABETH DE MARS GUIN                              110 TAYLOR ST                                                                                  AIKEN              SC    29803‐7358
ELIZABETH DE MICCO                                  2923 MANOR STREET                                                                              YORKTOWN           NY    10598‐2305
                                                                                                                                                   HEIGHTS
ELIZABETH DEFELICE & ANGELA DEFELICE JT TEN       5910 QUEENS BLVD #14B                                                                            WOODSIDE           NY    11377‐7743
ELIZABETH DEKLE GAY                               760 FIFTH AVE N                                                                                  NAPLES             FL    34102‐5504
ELIZABETH DELLAPAOLERA                            281 SCHOOL ST                                                                                    WATERTOWN          MA    02472‐1412
ELIZABETH DEPIERO                                 270 ARDEN RD                                                                                     PITTSBURGH         PA    15216‐1441
ELIZABETH DESIMONE                                156 SEXTON RD                                                                                    WEST BABYLON       NY    11704‐4316
ELIZABETH DESMANN                                 7756 MARTIN ROAD                                                                                 LIMA               NY    14485‐9625
ELIZABETH DI CRESCENZO                            66 N MAIN ST                                                                                     LAMBERTVILLE       NJ    08530‐1726
ELIZABETH DIANNE THOMPSON PER REPEST CHRISTINE K 414 BEECH GLEN DR                                                                                 COLUMBIA           SC    29229
WAY
ELIZABETH DIAZ CABRERA & WILLIAM C CABRERA JT TEN 2201 S OCEAN DR                         APT 2505                                                 HOLLYWOOD          FL    33019‐2525

ELIZABETH DICKENS CONNAR                            3305 JEAN CIRCLE                                                                               TAMPA              FL    33629‐5223
ELIZABETH DIVOLL NOBLE                              17 STANDISH RD                                                                                 NEEDHAM            MA    02192‐1115
                                                                                                                                                   JUNCTION
ELIZABETH DIXON MC MILLAN                           2123 ST MARYS ST                                                                               RALEIGH            NC    27608‐1333
ELIZABETH DIXON MCMILLAN & SUSAN E DIXON JT TEN     2121 ST MARY'SSTREET                                                                           RALEIGH            NC    27608

ELIZABETH DOLPHIN & NORMA JEAN DOLPHIN &            3221 NORWOOD                                                                                   FLINT              MI    48503‐2375
WINSTON DOLPHIN JT TEN
ELIZABETH DOMENICK                                  57 IDAHO LANE                                                                                  MATAWAN            NJ    07747‐1530
ELIZABETH DONOVAN                                   7 WATSON AVE                                                                                   OSSINING           NY    10562‐4410
ELIZABETH DORIS HARDIN                              7832 S SEELEY                                                                                  CHICAGO            IL    60620‐5758
ELIZABETH DOUGLAS RITCHIE                           465 PADDINGTON CRESCENT               OSHAWA ON                              L1G 7P3 CANADA
ELIZABETH DRAGOS & THERESA A MOORE JT TEN           454 N HARRIS                                                                                   YPSILANTI          MI    48198‐4121
ELIZABETH E BELLOVICH                               2075 PINE ISLE LANE                                                                            NAPLES             FL    34112‐6189
ELIZABETH E BELLOVICH & GLENNA J BELLOVICH JT TEN   2075 PINE ISLE LANE                                                                            NAPLES             FL    34112‐6189

ELIZABETH E BELLOVICH & GLENNA J BELLOVICH JT TEN   2075 PINE ISLE LANE                                                                            NAPLES             FL    34112‐6189

ELIZABETH E BELLOVICH & MICHAEL BELLOVICH JT TEN    2075 PINE ISLE LANE                                                                            NAPLES             FL    34112‐6189

ELIZABETH E BERGER                                  4153 E 450N                                                                                    LEESBURG           IN    46538‐9484
ELIZABETH E CHILDS                                  107 PEDIGREE                                                                                   RED OAK            TX    75154‐5236
ELIZABETH E COOK CUST APRIL E COOK UTMA WA          1205 ORCHARD AVE                                                                               WENATCHEE          WA    98801‐1948
ELIZABETH E COOK CUST CLARA C COOK UTMA WA          1205 ORCHARD AVE                                                                               WENATCHEE          WA    98801‐1948

ELIZABETH E COOK CUST JACOB W COOK UTMA WA          1205 ORCHARD AVE                                                                               WENATCHEE          WA    98801‐1948

ELIZABETH E COOK CUST ROSE I COOK UTMA WA           1205 ORCHARD AVE                                                                               WENATCHEE          WA    98801‐1948
ELIZABETH E COOK CUST TIMOTHY D COOK UTMA WA        1205 ORCHARD AVE                                                                               WENATCHEE          WA    98801‐1948

ELIZABETH E DANIEL & KENNETH MCALLISTER DANIEL JT PO BOX 164                                                                                       COBB               GA    31735
TEN
ELIZABETH E DIFILIPPO & LINDA HANNON JT TEN       11840 INA                                                                                        STERLING HEIGHTS   MI    48312‐5044

ELIZABETH E DOHR                                    C/O JULIA ANN FLINCHBAUGH             PO BOX 402                                               STANTON            MI    48888‐0402
                                               09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
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Name                                               Address1                            Address2                    Address3          Address4          City                 State Zip

ELIZABETH E FRONK                                  ATTN ELIZABETH E BUCHHOLZ           10311 PARKLANE CT                                               HALES CORNERS        WI    53130‐2248
ELIZABETH E GARVER                                 1388 FAIRWAY FOREST NE                                                                              CORDOVA              TN    38018‐8702
ELIZABETH E GRACZYK & DAVID S GRACZYK JT TEN       5107 OWEN RD                                                                                        LINDEN               MI    48451‐9024
ELIZABETH E GROSS                                  C/O E E MORROW                      9903 WHISPERING WIND LANE                                       KNOXVILLE            TN    37922‐5747
ELIZABETH E HITT                                   5039 RANGE HORSE LANE                                                                               ROLLING HILLS ESTS   CA    90274‐1538

ELIZABETH E HUFFAKER                               7201 AMBASSADOR PL                                                                                  KNOXVILLE            TN    37918‐5521
ELIZABETH E HUFFAKER & FRANCIS G HUFFAKER JT TEN   7201 AMBASSADOR PL                                                                                  KNOXVILLE            TN    37918‐5521

ELIZABETH E KRIEKARD                               1555 DOGWOOD DR                                                                                     PORTAGE              MI    49024
ELIZABETH E LOUD HAYWARD & CHRISTOPHER R           11 IONA PLACE                                                                                       ABERDEEN             NJ    07747‐1511
HAYWARD JT TEN
ELIZABETH E MAILLARD                               2860 AMBRIDGE LANE                                                                                  AVON                 OH    44011‐4787
ELIZABETH E MC RAE                                 480 ROCK MEADOW DR                                                                                  STONE MOUNTAIN       GA    30088‐1508

ELIZABETH E MEARS                                  2 SANDY HILL RD                                                                                     HOPEDALE             MA    01747‐1043
ELIZABETH E MORGAN                                 1099 EDEN AVE                                                                                       ATLANTA              GA    30316‐2583
ELIZABETH E PERRY & ROBERT D PERRY JT TEN          28 WINTERBURY CIR                                                                                   WILM                 DE    19808‐1429
ELIZABETH E SHEYER & SHEILA M MAGGART JT TEN       4441 OLD COLONY RD                                                                                  KALAMAZOO            MI    49008‐3200

ELIZABETH E SIXTA                                  3622 E 104TH                                                                                        KANSAS CITY          MO    64137‐1507
ELIZABETH E SMITH                                  834 HANOVER DR                                                                                      GRIFFIN              GA    30224‐5043
ELIZABETH ECKLER                                   2109 E WALKER AVE                                                                                   INDIANAPOLIS         IN    46203‐4527
ELIZABETH ELLEN THOMSON NYHEIM                     1422 VALLEDA LANE                                                                                   ENCINITAS            CA    92024‐2410
ELIZABETH F ALLEN                                  PO BOX 123                                                                                          BAKERTON             WV    25410‐0123
ELIZABETH F BAUMANN                                234‐21 88TH AVE                                                                                     QUEENS VILLAGE       NY    11427‐2707
ELIZABETH F BREECK                                 7645 STATE ROAD 32 W                                                                                ANDERSON             IN    46011‐8755
ELIZABETH F CLARK & LOIS A ARMSTRONG JT TEN        563 S TIPSICO LAKE RD                                                                               MILFORD              MI    48380‐1441
ELIZABETH F DETWILER                               63 RAILROAD AVE                                                                                     BEVERLY              NJ    08010‐3522
ELIZABETH F EWING                                  15 FINSBURY LANE                    BOYNTON LAKES                                                   BOYNTON BEACH        FL    33426
ELIZABETH F HARASEK                                4415 HOLLY LN NW                                                                                    GIG HARBOR           WA    98335‐1433
ELIZABETH F HOLROYD                                1290 BOYCE RD APT C411                                                                              PITTSBURGH           PA    15241‐3996
ELIZABETH F HUETTNER                               205 W GUERNSEY ROAD                                                                                 BIGLERVILLE          PA    17307‐9208
ELIZABETH F KING                                   317 HICKORY COURT                                                                                   APOPKA               FL    32712
ELIZABETH F KRUEGER                                1385 HUNTERSTOWN HAMPTON RD                                                                         NEW OXFORD           PA    17350‐9031
ELIZABETH F MARTIN                                 ATTN JAMES L MARTIN EXECUTOR        PO BOX 893                                                      GLENWOOD             NY    11547‐0893
                                                                                                                                                       LANDING
ELIZABETH F ROSS                                   13 FAIRLAWN CT                                                                                      HILTON HEAD          SC    29926‐1040
                                                                                                                                                       ISLAND
ELIZABETH F SIMPSON                               35 EIGHTH AVE NE                     DAUPHIN MB                                    R7N 0V5 CANADA
ELIZABETH F SUMMERHILL                            675 CLUBLAND CIRCLE                                                                                  CONYERS              GA    30094‐3657
ELIZABETH F THOMAS                                4796 SUSANNAH DR                                                                                     BLACKSBURG           VA    24060‐8970
ELIZABETH F THOMPSON                              4414 WYNNEWOOD DR                                                                                    FORT SMITH           AR    72904‐5752
ELIZABETH F WALTON TR ELIZABETH F WALTON UA       420 BERWYN                                                                                           BIRMINGHAM           MI    48009‐1583
12/19/75
ELIZABETH F WIGGINS                               6 RELLA DRIVE                                                                                        NEW CITY             NY    10956‐1135
ELIZABETH F WILSON CUST ALEXANDER E WILSON UTMA 2859 HASTINGS CT                                                                                       OAKLAND TWP          MI    48306‐4903
NJ
ELIZABETH F YKIMOFF & NICK C SMITH & LAWRENCE KIP 2242 SAINES MANOR DRIVE                                                                              JACKSON              MI    49201‐8602
SMITH JT TEN
ELIZABETH FANTINE & THERESA ANN RIES TR UW        136 CAMBON AVENUE                                                                                    ST JAMES             NY    11780‐3042
COSMO FANTINE
ELIZABETH FARICY                                  APT 5‐B                              773 CONCOURSE VILLAGE E                                         BRONX                NY    10451‐3910
ELIZABETH FAXON LATHAM                            C/O ELIZABETH LATHAM MIHELICH        145 FOREST LANE             LOGHILL VILLAGE                     RIDGWAY              CO    81432‐9788
ELIZABETH FLECK                                   RR1 BOX 20                                                                                           WAPELLA              IL    61777‐9702
ELIZABETH FORMWALT                                1550 E CLARK RD                      APT 615                                                         YPSILANTI            MI    48198‐3164
ELIZABETH FOTY                                    #315                                 550 OHIO AVE                                                    MCDONALD             OH    44437‐1860
ELIZABETH FRIDAY                                  1040 PASEO DEL PUEBLO SUR                                                                            TAOS                 NM    87571‐5968
ELIZABETH FRIEDMAN                                BOX 8443                                                                                             SANTE FE             NM    87504‐8443
                                                 09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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Name                                               Address1                              Address2             Address3           Address4                City             State Zip

ELIZABETH FRITCH                                   532 S VERNON AVE                                                                                      FLINT            MI    48503‐2252
ELIZABETH G ADAMS                                  207 YAPLE RD                                                                                          ITHACA           NY    14850‐8649
ELIZABETH G ARCHER                                 226 BERT LANE                                                                                         INKSTER          MI    48141‐1018
ELIZABETH G BOGACKI                                616 NANCY JANE LANE                                                                                   DOWNING TOWN     PA    19335‐1670
ELIZABETH G BREDOW & CHARLES W BREDOW JT TEN       8 BROADALE ROAD                                                                                       DOYLESTOWN       PA    18901‐3306

ELIZABETH G BURLESON                               50 OVERLOOK LANE                                                                                      DUNLAP           TN    37327
ELIZABETH G BURROWS & JAMES H BURROWS JT TEN       5213 FOREST HILL AVE                                                                                  RICHMOND         VA    23225‐2916

ELIZABETH G COLLIER & MICHAEL A COLLIER JT TEN     924 E SAN JOSE AVE                                                                                    BURBANK          CA    91501‐1320

ELIZABETH G DESANCTIS CUST JESSICA FRANCES        43 HUCKLEBERRY LANE                                                                                    DARIEN           CT    06820‐2211
DESANCTIS UGMA CT
ELIZABETH G DESANCTIS CUST SARAH ISABEL DESANCTIS 43 HUCKLEBERRY LANE                                                                                    DARIEN           CT    06820‐2211
UGMA CT
ELIZABETH G ETHEREDGE                             335 GRINGLEY HILL RD                                                                                   FORT MILL        SC    29708
ELIZABETH G FAVALORO                              3889 BROOKLINE AVE                                                                                     SEAFORD          NY    11783‐2343
ELIZABETH G GIBSON & MARIE MACDONALD & BRENDA 15215 GARFIELD ST CONDO #1                                                                                 REDFORD          MI    48239‐3475
BRADLEY & PAUL BRADLEY &
ELIZABETH G GUCCION                               10313 DICKENS AVE                                                                                      BETHESDA         MD    20814‐2131
ELIZABETH G HENDRICK                              186 SOUTH THIRD ST                                                                                     MARINE CITY      MI    48039‐1702
ELIZABETH G HENDRIX                               136 HAMPTON RD                                                                                         EASLEY           SC    29640‐9558
ELIZABETH G HILDEBRAND                            1095 KOOGLE RD #123                                                                                    MANSFIELD        OH    44903
ELIZABETH G JOHNSON                               6606 NORWAY DR                                                                                         LOUISVILLE       KY    40214‐1129
ELIZABETH G JONES                                 31225 PORTSIDE DR                      APT 12207                                                       NOVI             MI    48377‐4255
ELIZABETH G KANARAS                               847 CONCORD AVE                                                                                        DREXEL HILL      PA    19026‐2602
ELIZABETH G KENNEDY                               619 MORENO RD                                                                                          NARBERTH         PA    19072‐1618
ELIZABETH G KING                                  BOX 1264                                                                                               CLEVELAND        TX    77328‐1264
ELIZABETH G KRIER & ROXANNE J GROEBNER JT TEN     11 SOUTHWAY                            NORTH HARROW         MIDDLESEX LONDON   HA2 6EP GREAT BRITAIN

ELIZABETH G LARSON                                 849 E 8TH ST                                                                                          TRAVERSE CITY    MI    49686‐2747
ELIZABETH G MAXTON                                 6940 BEJAY DR                                                                                         TIPP CITY        OH    45371
ELIZABETH G MILLER                                 23 DANVERS CIRCLE                                                                                     NEWARK           DE    19702‐2722
ELIZABETH G OELKERS                                6130 WILLOW CREEK CT                                                                                  COLORADO SPGS    CO    80919‐2103
ELIZABETH G POLCZER & SANDRA BROM JT TEN           9489 WHISPER RIDGE TRAIL                                                                              BROOKSVILLE      FL    34613‐6466
ELIZABETH G RICE & WILLIAM B RICE JT TEN           1079 REDDING RD                                                                                       SUMNER           ME    04292‐5001
ELIZABETH G RICKER                                 125 MOUNTAIN VIEW RD                                                                                  ELIZABETHVILLE   PA    17023‐8745
ELIZABETH G ROEHRIG                                186 S THIRD                                                                                           MARINE CITY      MI    48039‐1702
ELIZABETH G ROSLAN TR JAIME LYNN WILSON UA         59 COLE ROAD                                                                                          TOWNSEND         DE    19734‐9678
09/03/82
ELIZABETH G ROSLAN TR MATTHEW R WILSON UA          59 COLE RD                                                                                            TOWNSEND         DE    19734‐9678
09/03/82
ELIZABETH G ROSLAN TR MICHAEL D RUTHERFORD UA      316 PARKWAY DRIVE                                                                                     NEWPORT NEWS     VA    23606‐3730
09/03/82
ELIZABETH G ROSLAN TR ROBERT A WILSON JR UA        59 COLE RD                                                                                            TOWNSEND         DE    19734‐9678
09/03/82
ELIZABETH G ROWAND                                 25 MARLTON STREET                                                                                     WOODSTOWN        NJ    08098‐1229
ELIZABETH G SIMPSON                                1228 WHEATLAND AVE                                                                                    LANCASTER        PA    17603‐2514
ELIZABETH G SMITH                                  185 ARGONE DR                                                                                         KENMORE          NY    14217‐2431
ELIZABETH G W GARDINER                             20 PINE ACRES DR                                                                                      CANTON           CT    06019‐2156
ELIZABETH G WALSH & RICHARD H WALSH JT TEN         1400 CREVALLE AVE                                                                                     MERRITT ISLAND   FL    32952‐5785
ELIZABETH G WIRTH                                  9627 E GOLD DUST AVE                                                                                  SCOTTSDALE       AZ    85258‐4749
ELIZABETH GABRIEL WORKS                            211 HENRY ST                                                                                          GRAND RAPIDS     MI    49503
ELIZABETH GALE MINOR                               5561 ROLANDA                                                                                          LONG BEACH       CA    90815‐2038
ELIZABETH GANNON                                   5 LYONS MALL #319                                                                                     BASKING RIDGE    NJ    07920‐1928
ELIZABETH GARDINER                                 1117 W 13TH SQ                                                                                        VERO BEACH       FL    32960‐2119
ELIZABETH GASPARI                                  41 MILL POND RD                                                                                       JACKSON          NJ    08527
ELIZABETH GERARD GIBSON                            111 EDISTO AV                                                                                         COLUMBIA         SC    29205‐3011
ELIZABETH GODRI                                    10371 RIVER ROCK LN                                                                                   CLEVELAND        OH    44133‐6081
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ELIZABETH GOODRICH & ROBERT P GOODRICH JT TEN    12490 GLASGOW DR                                                                               ROMEO           MI    48065‐4479

ELIZABETH GORANIN & EDWARD GORANIN JT TEN        4800 HAWKSBURY RD                                                                              BALTIMORE       MD    21208‐2130
ELIZABETH GRACE                                  2720 REDWOOD DRIVE                                                                             APTOS           CA    95003‐2504
ELIZABETH GREEN                                  PO BOX 22062                                                                                   LANSING         MI    48909‐2062
ELIZABETH GREEN & JOHN GREEN JT TEN              6 EASTBROOK CIR                                                                                SHREWSBURY      PA    17361‐1816
ELIZABETH GREEN WEBER                            7330 S JAY ST                                                                                  LITTLETON       CO    80128‐4661
ELIZABETH GREGORY                                12 WINDWOOD LN                                                                                 WOODSTOCK       NY    12498‐2526
ELIZABETH GRIGG                                  318 DUDLEY AVE                                                                                 NARBERTH        PA    19072‐2108
ELIZABETH GROSINSKY                              3435 GENESEE ST                                                                                NATIONAL CITY   MI    48748‐9690
ELIZABETH GUERTIN                                555 7TH ST                                                                                     AVALON          NJ    08202‐2516
ELIZABETH GUSHWA CUST JUSTIN GUSHWA UTMA IN      911 REDDICK ST                                                                                 MISHAWAKA       IN    46544‐4673

ELIZABETH GUSHWA CUST STEPHANIE GUSHWA UTMA      911 REDDICK ST                                                                                 MISHAWAKA       IN    46544‐4673
IN
ELIZABETH GUSSAK                                 308 S BLUFF BLVD                                                                               CLINTON         IA    52732‐4745
ELIZABETH GUTHRIE                                200 BRIDGE ST                                                                                  SHOREVIEW       MN    55126‐2152
ELIZABETH GYENGE                                 95 RIDGWAY DR                                                                                  BORDENTOWN      NJ    08505
ELIZABETH H BADY                                 657 FILMORE ST                                                                                 GARY            IN    46402‐2136
ELIZABETH H BECKER                               321 BRANDY HILL RD                                                                             THOMPSON        CT    06277‐2406
ELIZABETH H BRACKNELL                            1525 30TH ST ENSLEY                                                                            BIRMINGHAM      AL    35218‐3311
ELIZABETH H BROWN                                451 E SLOCUM ST                                                                                PHILADELPHIA    PA    19119‐1946
ELIZABETH H BRYANT                               1728 LAKEWOOD DRIVE                                                                            HIXSON          TN    37343
ELIZABETH H BUMER                                4391 NARRAGANSETT AVE                                                                          SAN DIEGO       CA    92107
ELIZABETH H EIKENBURG                            1419 WEST CLAY ST                                                                              HOUSTON         TX    77019‐4911
ELIZABETH H FULTON                               28300 TOWNSHIP ROAD 1502                                                                       WARSAW          OH    43844‐9575
ELIZABETH H GUERRIERO & ANTHONY S GUERRIERO JT   24920 NEWTON PL                                                                                DEARBORN        MI    48124‐1558
TEN
ELIZABETH H GUNN                                 281 DAVIS ST                                                                                   HAMDEN          CT    06517‐3605
ELIZABETH H GUONJIAN                             7108 BRISTOL RD                                                                                BALTIMORE       MD    21212‐1603
ELIZABETH H HETZEL                               10064 N CHURCH DRIVE                                                                           PARMA HEIGHTS   OH    44130‐4066
ELIZABETH H HOSTRANDER                           C/O M C HOPKINS                       52 ORCHARD TERRACE                                       SODUS           NY    14551‐1124
ELIZABETH H JACKSON TR UA 03/23/84 ELIZABETH H   PO BOX 1132                                                                                    KAILUA          HI    96734‐1132
JACKSON TRUST
ELIZABETH H JOLLY                                1005 IREDELL ST                                                                                DURHAM          NC    27705
ELIZABETH H KELLY                                1309 BRADFORD ROAD                                                                             ORELAND         PA    19075‐2414
ELIZABETH H KIMBROUGH                            1120 NICHOLS LANE                                                                              ADAMS           TN    37010‐9103
ELIZABETH H LANGWORTHY                           1000 GLEN LAKE BLVD                                                                            PITMAN          NJ    08071
ELIZABETH H LEASE                                59 LANDERS LANE                       SWANWYCK                                                 NEW CASTLE      DE    19720‐2041
ELIZABETH H LEWIS                                811 COACH ROAD                        WHITMAN SQUARE                                           TURNERSVILLE    NJ    08012‐1205
ELIZABETH H LOVE                                 1450 NORTHVIEW DR #J3                                                                          ANCHORAGE       AK    99504‐2870
ELIZABETH H LOWE & SPENCER B LOWE JT TEN         7050 CYPRESS BRIDGE DRIVE SOUTH                                                                PONTE VEDRA     FL    32082‐2513
                                                                                                                                                BEACH
ELIZABETH H MAGEE                                3600 RIVIERA ST                                                                                TEMPLE HILLS    MD    20748‐1706
ELIZABETH H MARTENS & MERLYN L MARTENS JT TEN    9298 MIDDLEFORD RD                                                                             SEAFORD         DE    19973‐7847

ELIZABETH H MATHENA                              2001 FOX RUN RD                                                                                DAYTON          OH    45459‐3415
ELIZABETH H MCELROY                              3618 FAIRLANE ST                                                                               HIGH POINT      NC    27265‐1320
ELIZABETH H MITCHELL                             1018 E DIANA AVE                                                                               PHOENIX         AZ    85020‐3224
ELIZABETH H MONELL JAMES                         21136 MEDICINE SPRINGS RD                                                                      COURTLAND       VA    23837‐2468
ELIZABETH H MORIN                                57 SAWMILL LANE                                                                                GREENWICH       CT    06830‐4027
ELIZABETH H NORMAN                               623 NORTH ST CLAIR                                                                             GIRARD          OH    44420‐2256
ELIZABETH H PRUETT                               1037 VALLEY HILL LOOP                                                                          KING GEORGE     VA    22485‐7677
ELIZABETH H REUTHER                              414 COMANCHE TR                                                                                LOUISVILLE      KY    40207
ELIZABETH H RODNEY                               407 W SPRING ST                                                                                SWANSBORO       NC    28584‐9670
ELIZABETH H SHAHENN & CHARLES SHAHEEN JT TEN     47 JAMESTOWN ROAD                                                                              BELLE MEAD      NJ    08502‐5224

ELIZABETH H SHANNON                              923 FAIR ST                                                                                    NEWBERRY        SC    29108‐2403
ELIZABETH H SIMON                                10381 CHAMPIONS CIR                                                                            GRAND BLANC     MI    48439‐9442
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Name                                                 Address1                                Address2             Address3          Address4          City             State Zip

ELIZABETH H SPAKE                                 13 SANDIA LN                                                                                        PLACITAS         NM    87043
ELIZABETH H VERBECK                               8 CENTER STRE E T                                                                                   RIDGWAY          PA    15853
ELIZABETH H VOTYPKA                               APT 303                                    6085 BALBOA CIR                                          BOCA RATON       FL    33433‐8111
ELIZABETH H WARING                                17 WORTHINGTON DR                                                                                   SOUTH HADLEY     MA    01075‐3320
ELIZABETH H WHITE                                 2816 LAMOREAUX LANE                                                                                 HOLT             MI    48842‐9775
ELIZABETH HALSALL CUST CUSTODIANFO JOHN MUIR      1886 BAYARD AVE                                                                                     SAINT PAUL       MN    55116‐1257
HALSALL UTMA MN
ELIZABETH HAPPER SMYTHE                           633 LOOK AVE                                                                                        MARION           VA    24354‐1658
ELIZABETH HARRIETT HERTZBERG                      2552 VALENCIA AVE                                                                                   SANTA ANA        CA    92706‐1733
ELIZABETH HARRIS GUTHRIE                          901 STEWART PLACE                                                                                   MORGANTOWN       WV    26505‐3688
ELIZABETH HARTMANN                                1401 SWORDFISH WAY                                                                                  KITTY HAWK       NC    27949‐6055
ELIZABETH HAYHOW HEMMING                          21669 HAMPTON ST                                                                                    FRANKLIN         MI    48025‐3658
ELIZABETH HAZZARD TUTTLE                          1005 LAKE AVE                                                                                       GREENWICH        CT    06831‐2712
ELIZABETH HELD SPRAGUE & RICHARD H FERRRIS EX EST 5305 FERRIS RD                                                                                      EATON RAPIDS     MI    48827‐9617
EDWARD E FERRIS
ELIZABETH HERRICK TR ELIZABETH HERRICK FAMILY     1367 E 3090 N                                                                                       NORTH OGDEN      UT    84414‐1873
TRUST UA 04/09/99
ELIZABETH HERTZ                                   190 JOHN TARR RD                                                                                    BOWDOIN          ME    04287‐7145
ELIZABETH HEWITT OLSON                            317 S IOWA AVE                                                                                      PAYETTE          ID    83661‐3137
ELIZABETH HIGGINS CLARK                           52 TIMBERLAKE DR                                                                                    FAYETTEVILLE     TN    37334‐7060
ELIZABETH HILL                                    400 MAGNOLIA DRIVE                                                                                  OWENSBORO        KY    42303‐6117
ELIZABETH HILTON                                  6700 ELKHEART LANE                                                                                  KNOXVILLE        TN    37919‐2600
ELIZABETH HOBBS NORDEEN                           319 TOWNSHIP ROAD 1202                                                                              CHESAPEAKE       OH    45619‐8065
ELIZABETH HODGES                                  8534 S KINGSTON                                                                                     CHICAGO          IL    60617
ELIZABETH HOFMANN CUST ERIN HOFMANN UGMA TX 5760 S HOLLADAY BLVD                                                                                      SALT LAKE CITY   UT    84121‐1510

ELIZABETH HOLCOMB WAYNE TR WAYNE TRUST UA            3620 LITTLEDALE RD APT 318                                                                       KENSINGTON       MD    20895‐3449
02/03/94
ELIZABETH HOLT                                       5250 N GERHART RD                                                                                TUCSON          AZ     85745‐9135
ELIZABETH HOOD                                       PO BOX 271                                                                                       ROSE CITY       MI     48654‐0271
ELIZABETH HORN                                       11904 SCOVELL TERRACE                                                                            GERMANTOWN      MD     20874‐2532
ELIZABETH HORTON GERSON                              2247 WROXTON                                                                                     HOUSTON         TX     77005‐1535
ELIZABETH HOYT                                       2825 10TH PL                                                                                     KENOSHA         WI     53140‐1186
ELIZABETH HUBLER                                     1109 LINWOOD AVE                                                                                 COLLINGSWOOD    NJ     08108‐3351
ELIZABETH HULICK                                     925 N WILL                                                                                       SHELBYVILLE     IL     62565‐1057
ELIZABETH HUNT                                       1963 CAMEO DR                                                                                    TROY            MI     48098‐2407
ELIZABETH HUNTER GOODING                             3907 CHANEL ROAD                                                                                 ANNANDALE       VA     22003
ELIZABETH I BERGNER                                  36 PAXSON AVE                                                                                    HAMILTON SQUARE NJ     08690‐1907

ELIZABETH I CENTILLI                                 4247 HARBOR CRK                                                                                  BURTON           MI    48519‐2844
ELIZABETH I CENTILLI & STANLEY J CENTILLI JT TEN     4247 HARBOR CRK                                                                                  BURTON           MI    48519‐2844
ELIZABETH I CONNOLLY TR ELIZABETH I CONNOLLY         7444 SPRING VILLAGE DR                  APT 322                                                  SPRINGFIELD      VA    22150‐4460
TRUST UA 02/03/05
ELIZABETH I FOY                                      4893 WESTCHESTER DR APT 5                                                                        AUSTIN TOWN      OH    44515‐6530
ELIZABETH I GREEN                                    ATTN ELIZABETH GREEN CAVANAGH           PO BOX 1963                                              PINEDALE         WY    82941‐1963
ELIZABETH I HORTON                                   4247 HARBOR CREEK LANE                                                                           BURTON           MI    48519‐2844
ELIZABETH I KUCZER                                   5397 CLOISTER DR                                                                                 TROY             MI    48098‐4088
ELIZABETH I NORRIS                                   324 LOWER STONE AVENUE                                                                           BOWLING GREEN    KY    42101‐9103
ELIZABETH I RITCHIE                                  335 WISE CREEK LN APT 242                                                                        AIKEN            SC    29801
ELIZABETH I STARR                                    17174 SANDY LN                                                                                   MINNETONKA       MN    55345‐3353
ELIZABETH I WOODEN                                   32414 HEATHSTONE                                                                                 FARMINGTON HILLS MI    48334‐3439

ELIZABETH J & HENRY GUNTHER TR UA 01/07/97        2204 W 18TH ST                                                                                      WILMINGTON       DE    19806‐2402
MARGARET E DUNLAP REVOCABLE
ELIZABETH J ALECCI CUST ADRIA LYNN ALECCI UGMA NJ 241 WILTON ROAD                                                                                     WESTPORT         CT    06880‐2337

ELIZABETH J ALLEN & ROBERT J KEHOE JT TEN            204 CARNATION DRIVE                                                                              CLARKS SUMMIT    PA    18411‐2104
ELIZABETH J ASHBOURNE                                2800 WOODLEY RD NW APT 212                                                                       WASHINGTON       DC    20008‐4139
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Name                                              Address1                                Address2              Address3         Address4          City            State Zip

ELIZABETH J BALLEW CUST BAILEY SCOTT ALLEN UTMA   2503 NEWPORT DR UNIT #9087                                                                       ELLIJAY         GA    30540‐5002
GA
ELIZABETH J BEDFORD CUST JASON PAUL BEDFORD       582 N GREECE RD                                                                                  HILTON          NY    14468‐8975
UGMA NY
ELIZABETH J BELLIVEAU & PAUL J BELLIVEAU JT TEN   53H ROBERT PITT DR                                                                               MONSEY          NY    10952‐3113

ELIZABETH J BENNETT                             730 4TH AVENUE                                                                                     FAIRMONT        NE    68354‐0305
ELIZABETH J BRAGG                               4156 N CENTER RD                                                                                   FLINT           MI    48506‐1436
ELIZABETH J BRANAGAN                            18 WARD STREET                                                                                     HINGHAM         MA    02043‐4804
ELIZABETH J BROQUET                             110 S NEWMAN                                                                                       LAKE ORION      MI    48362‐2129
ELIZABETH J CARLSON                             134 N PARK ST                             APT 1                                                    CEDAR SPRINGS   MI    49319‐8382
ELIZABETH J CHRISTIE                            PO BOX 1797                                                                                        EUSTIS          FL    32727‐1797
ELIZABETH J CHRISTY                             879 BEECHWOOD DR                                                                                   GIRARD          OH    44420‐2136
ELIZABETH J CLAIN                               501 RIVERVIEW BOULEVARD                                                                            DAYTONA BEACH   FL    32118‐3838
ELIZABETH J COLEMAN TOD SCOTT H COLEMAN SUBJECT 124 DANNYN GROVE COURT                                                                             MOORESVILLE     NC    28117
TO STA TOD RULES
ELIZABETH J COLLINS                             34 EDDYSTONE WAY                                                                                   MOUNT LAUREL    NJ    08054‐3022
ELIZABETH J COOPER                              33 RANGER CREEK RD                                                                                 BOERNE          TX    78006‐5623
ELIZABETH J CROTHERS                            4141 SIEFER DR                                                                                     ROOTSTOWN       OH    44272‐9615
ELIZABETH J CUGLIETTA                           6 WINFIELD CIRCLE                                                                                  SEWELL          NJ    08080‐3607
ELIZABETH J DARLINGTON                          747 COURSES LANDING ROAD                                                                           CARNEYS POINT   NJ    08069‐2957
ELIZABETH J DAVIS                               416 SYCAMORE LN                                                                                    MARTINSBURG     WV    25401‐2406
ELIZABETH J DELOUGHARY                          680 LYONS RD                                                                                       NEW HOPE        AL    35760‐9326
ELIZABETH J DEWALL                              9474 BINNEY ST                                                                                     OMAHA           NE    68134‐4616
ELIZABETH J DIEMERT                             7126 CHESTNUT RIDGE ROAD                                                                           LOCKPORT        NY    14094‐3519
ELIZABETH J DREWS                               6367 RUESS RD                                                                                      VESPER          WI    54489‐9748
ELIZABETH J EVON                                6820 GLEASON RD                                                                                    EDINA           MN    55439‐1601
ELIZABETH J EYESTONE                            310 BENNETT DR                                                                                     WEIRTON         WV    26062‐2011
ELIZABETH J FEITNER                             2590 S NEWTON ST                                                                                   DENVER          CO    80219‐5743
ELIZABETH J FOGG                                65 LONGBRIDGE ROAD                                                                                 SALEM           NJ    08079‐9436
ELIZABETH J FOGLE                               816 CHRISTOPHER GREENUP                                                                            OWENSBORO       KY    42303‐0633
ELIZABETH J FOWLER                              4012 LEBANON CHURCH RD                                                                             WEST MIFFLIN    PA    15122‐2715
ELIZABETH J GOINS                               9814 LAKESHORE DRIVE                                                                               WEST OLIVE      MI    49460‐9553
ELIZABETH J GORE                                20 CUMMINGS COURT                                                                                  METUCHEN        NJ    08840‐1408
ELIZABETH J GORE                                20 CUMMINGS CT                                                                                     METUCHEN        NJ    08840‐1408
ELIZABETH J GRAHAM                              LOT #145                                  1800 RESERVOIR RD                                        LIMA            OH    45804‐2964
ELIZABETH J GRAHAM                              424 KIRKWOOD COVE                                                                                  BURR RIDGE      IL    60521‐6337
ELIZABETH J GUNTHER                             2204 W 18TH ST                                                                                     WILMINGTON      DE    19806‐2402
ELIZABETH J HAMSTRA & ALAN J HAMSTRA JT TEN     715 15TH AVE NW                                                                                    CLINTON         IA    52732‐5105
ELIZABETH J HAMSTRA & PAUL L HAMSTRA JT TEN     715 15TH AVE N.W.                                                                                  CLINTON         IA    52732‐5105
ELIZABETH J HENDERSON                           20 QUASHNET WAY                                                                                    WAQUOIT         MA    02536‐7735
ELIZABETH J HIGGINS                             1126 MANITO RD                                                                                     MANASQUAN       NJ    08736‐2017
ELIZABETH J HINE CUST BRIAN E HINE UGMA IN      5475 W 106 ST                                                                                      ZIONSVILLE      IN    46077‐9265
ELIZABETH J HUBBARD                             ATTN ELIZABETH HUBBARD BRADY              7680 50TH ST NO                                          LAKE ELMO       MN    55042‐9593
ELIZABETH J JANOVIC TOD VERA JOYCE GRAGNANI     1499 SUTTER ST STE 332                                                                             SAN FRANCISCO   CA    94109
SUBJECT TO STA TOD RULES
ELIZABETH J JEAN                                611 SO WILLIAMS ST                                                                                 BAY CITY        MI    48706‐4687
ELIZABETH J KALABUS & JOHN A KALABUS JT TEN     2141 OLD PARKSVILLE RD                                                                             CLEVELAND       TN    37323‐5021
ELIZABETH J KATTOUAH & ELIAS KATTOUAH JT TEN    26303 CUNNINGHAM                                                                                   WARREN          MI    48091‐4023

ELIZABETH J KEATY                                 101 UNDERWOOD DRIVE                                                                              HILTON          NY    14468‐1128
ELIZABETH J KOPFF                                 8 HARBOR POINTE CIRCLE                                                                           BLOOMINGTON     IL    61704‐1438
ELIZABETH J KOPYSCINSKI                           RD2                                     5 LORI LYNNE CIRCLE                                      NEWTOWN         CT    06470‐2713
ELIZABETH J KOPYSCINSKI CUST DAVID KENT           5 LORI LYNNE CIRCLE                                                                              NEWTOWN         CT    06470‐2713
KOPYSCINSKI UGMA CT
ELIZABETH J LACELLS                               205 ALEXANDER RD                                                                                 NEW BRITAIN     CT    06053‐1060
ELIZABETH J LEANZA                                15111 GLADE DR 1B                                                                                SILVER SPRING   MD    20906
ELIZABETH J LEE                                   9073 WHITFIELD DR                                                                                ESTERO          FL    33928‐4409
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Name                                                 Address1                               Address2             Address3          Address4          City              State Zip

ELIZABETH J LEE TR ELIZABETH J LEE REVOCABLE TRUST   960 SCHEMP RD                                                                                   LUPTON            MI    48635‐9748
UA 01/19/99
ELIZABETH J LEONARD                                  1 LEONARD DRIVE                                                                                 PELHAM           NH     03076‐3320
ELIZABETH J LUCCIO                                   14070 WILDWOOD DR                                                                               BIG RAPIDS       MI     49307‐8782
ELIZABETH J MANIFOLD                                 26 NORTHVIEW DR                                                                                 HANOVER          PA     17331‐4521
ELIZABETH J MC MULLAN                                8212 LOCK RD                                                                                    CENTERBURG       OH     43011‐9403
ELIZABETH J MCMILLAN                                 33 DAVIS LAKE RD                                                                                LAPEER           MI     48446‐1470
ELIZABETH J MILLINGTON TR ELIZABETH J MILLINGTON     37300 TIMBERVIEW LANE                                                                           FARMINGTON HILLS MI     48331‐3077
TRUST UA 04/16/98
ELIZABETH J MISKELLA                                 215 BELLE AVENUE                                                                                DE PERE           WI    54115‐1901
ELIZABETH J MORRIS                                   50 DEERWOOD MANOR                                                                               NORWALK           CT    06851‐2630
ELIZABETH J MUSHER EX EST WILLIAM H STANISZWSKI      128 KIOWA WOOD LANE                                                                             ZELIENOPLE        PA    16063

ELIZABETH J MYERS                                    8175 MELVILLE                                                                                   DETROIT           MI    48209‐2700
ELIZABETH J NEHRENBERG & GARY O NEHRENBERG JT        3722 TOLAND AVENUE                                                                              LOS ALAMITOS      CA    90720‐2258
TEN
ELIZABETH J OKONSKI                                  720 W 65TH ST #3                                                                                WESTMONT          IL    60559‐2847
ELIZABETH J OOSTENDORP                               2623 GOLF VIEW DR                                                                               RIVER FALLS       WI    54022‐7506
ELIZABETH J ORBECK                                   1958 MILDRED DRIVE                                                                              WEST BRANCH       MI    48661
ELIZABETH J PETERBURS                                19910 LATIGO                                                                                    PARKER            CO    80138‐7338
ELIZABETH J PIRO                                     504 FOREST DRIVE                                                                                N SYRACUSE        NY    13212
ELIZABETH J QUINLAN & BRIAN T QUINLAN JT TEN         47‐15 243RD ST                                                                                  DOUGLASTON        NY    11362‐1103
ELIZABETH J RIOPELLE                                 12006 FRANCESCA                                                                                 GRANND BLANC      MI    48439‐1519
ELIZABETH J RIORDAN                                  89 OVERHILL RD                                                                                  SUMMIT            NJ    07901‐4128
ELIZABETH J ROSEN                                    6 SOUTH LEXINGTON DR                                                                            JANESVILLE        WI    53545‐2139
ELIZABETH J SCALLON                                  PO BOX 83                                                                                       KATONAH           NY    10536‐0083
ELIZABETH J SCHMIDT                                  2409 DEWEY AVE                                                                                  NORTHAMPTON       PA    18067‐1132
ELIZABETH J SHAKER                                   9423 CHARTER GATE DRIVE                                                                         MECHANICSVILLE    VA    23116‐5171
ELIZABETH J SHAUL & MARK W SHAUL JT TEN              345 E OHIO ST                          APT 3105                                                 CHICAGO           IL    60611‐4072
ELIZABETH J SHELLMAN                                 42212 TODDMARK LN                                                                               CLINTON TWP       MI    48038‐6823
ELIZABETH J SOMERS                                   25732 SE 27TH STREET                                                                            SAMMAMISH         WA    98075‐7902
ELIZABETH J SPEICHER                                 122 CAROLYN DRIVE                                                                               NICHOLASVILLE     KY    40356‐9340
ELIZABETH J ST CLAIR & THOMAS R ST CLAIR JT TEN      4630 AVENIDA MERNIA                                                                             PENSACOLA         FL    32504‐8506

ELIZABETH J STEVENSON TR ELIZABETH J STEVENSON       1519 TREELINE CT                                                                                NAPERVILLE        IL    60565‐2010
TRUST UA 05/13/94
ELIZABETH J STEWART & PAUL E STEWART JT TEN          6203 WALSH ST                                                                                   ST LOUIS          MO    63109‐3126
ELIZABETH J STOVER                                   5379 ERNEST ROAD                                                                                LOCKPORT          NY    14094‐5406
ELIZABETH J SUMMERS & JERRY B SUMMERS JT TEN         317 JACKSON RD                                                                                  HIXSON            TN    37343

ELIZABETH J TIMMERBERG                               5520 HIGHWAY T                                                                                  AUGUSTA           MO    63332‐1418
ELIZABETH J TYNDALE                                  1108 N JENISON                                                                                  LANSING           MI    48915‐1414
ELIZABETH J WAGNER                                   8 MAPLEVALE DRIVE                                                                               YARDLEY           PA    19067‐1308
ELIZABETH J WALLS                                    692 CHEAT RD                                                                                    MORGANTOWN        WV    26508‐4210
ELIZABETH J WHITE                                    5750 COUNTRY LN                                                                                 CEDAR RAPIDS      IA    52411‐7902
ELIZABETH J WILKINSON                                5 DOROTHY CT                                                                                    HAWTHORNE         NY    10532‐2109
ELIZABETH J WILLE & RICHARD J WILLE JT TEN           4150 MIDDLEDALE AVE                                                                             WEST BLOOMFIELD   MI    48323‐1154

ELIZABETH J WOLF                                     1732 ROSEMONT AVE                                                                               COLUMBUS          OH    43223‐2515
ELIZABETH J YEATES TR ELIZABETH J YEATES TRUST UA    10201 GROSVENOR PLACE 802                                                                       ROCKVILLE         MD    20852
10/12/90
ELIZABETH JAN KNOX & JANET LEE CRITZER JT TEN        204 VIRGINIA AVE                                                                                WILMINGTON        DE    19805‐1141
ELIZABETH JANE BATES LOCKE                           6924 STEFANI                                                                                    DALLAS            TX    75225‐1744
ELIZABETH JANE DANIELI                               12511 QUARTERHORSE LANE                                                                         WOODBRIDGE        VA    22192‐6371
ELIZABETH JANE FROCK                                 1411 ATTLEBORO AVENUE                                                                           SPRINGFIELD       OH    45503‐2004
ELIZABETH JANE JAHNKE                                ATTN ELIZABETH JANE SHOOK              36 MITCHELL DR                                           RINCON            GA    31326‐9083
ELIZABETH JANE ROSA                                  108 BURGER RD                                                                                   TERRYVILLE        CT    06786‐4803
ELIZABETH JANE SMITH                                 19 COACHMAN PIKE                                                                                LEDYARD           CT    06339‐1306
ELIZABETH JANE THURSTON                              9058 GARDENDALE                                                                                 BELLFLOWER        CA    90706‐2059
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Name                                             Address1                            Address2             Address3          Address4          City             State Zip

ELIZABETH JEAN CUKIERSKI                         23 KINGS GRANT RD                   ST CATHARINES ON                       L2N 2S1 CANADA
ELIZABETH JEAN GLASSELL                          19564 NORTH SAGAMORE DRIVE                                                                   FAIRVIEW PARK    OH    44126‐1663
ELIZABETH JEAN HARGREAVES                        213 WARE ST                                                                                  MANSFIELD        MA    02048‐2918
ELIZABETH JEAN KOZMA                             1015 SE 8TH ST                                                                               OCALA            FL    34471‐3970
ELIZABETH JEAN MOLNAR                            1588 E 40TH ST APT 2C                                                                        CLEVELAND        OH    44103‐2394
ELIZABETH JEAN SMITH                             3347 DARVANY DR                                                                              DALLAS           TX    75220‐1615
ELIZABETH JEAN VON ESCHEN                        160 DESAULNIERS                     SAINT LAMBERT QC                       J4P 2M3 CANADA
ELIZABETH JEAN WARTENBERG                        1423 WOODBRIDGE RD                  APT 2C                                                   JOLIET           IL    60436‐1352
ELIZABETH JENNINGS MILLER                        3090 NOBLE RD                                                                                OXFORD           MI    48370‐1500
ELIZABETH JO CLARKSON                            639 W TREMOLO LN                                                                             TUCSON           AZ    85737‐3772
ELIZABETH JOAN JAY                               737 QUAIL CIRCLE                                                                             ANAHEIM          CA    92807
ELIZABETH JOHNSON                                6309 CROMWELL RD                                                                             INDIANAPOLIS     IN    46250‐2715
ELIZABETH JOHNSON HUGHES                         445 WESTCLOVERHURST AVE                                                                      ATHENS           GA    30606‐4213
ELIZABETH JONES                                  12752 STOEPPEL                                                                               DETROIT          MI    48238‐4208
ELIZABETH JUNE STRAUS                            760 HOMER AVENUE                                                                             PALO ALTO        CA    94301‐2907
ELIZABETH K A GORDINIER                          3420 LUANNE DR                                                                               COMMERCE TWP     MI    48382‐1610
ELIZABETH K BERTRAND                             PO BOX 3133                                                                                  KETCHUM          ID    83340
ELIZABETH K CAHILL                               2023 E 29TH ST                                                                               BROOKLYN         NY    11229‐5049
ELIZABETH K CROOKHAM                             3565 SW COUNCIL CREST DRIVE                                                                  PORTLAND         OR    97239‐1403
ELIZABETH K D'AMBROSIO                           3421 CREEKVIEW DR                                                                            BONITA SPRINGS   FL    34134‐2626
ELIZABETH K DAVIS                                1 LAKELAND PARK DR                                                                           BRIDGEPORT       WV    26330‐9245
ELIZABETH K EDGMON CUST MICHAEL FRANK EDGMON     10230 HWY 70E                                                                                MCEWEN           TN    37101
U/THE TENN U‐G‐M‐A
ELIZABETH K FAFNIS                               1490 MCGONAGLE RD                                                                            SELAH            WA    98942
ELIZABETH K FEE                                  2038 PALM ST                        SPC 141                                                  LAS VEGAS        NV    89104‐4899
ELIZABETH K FENYAK                               19 CROPSEY ST 3B                                                                             WARWICK          NY    10990‐3579
ELIZABETH K FERBER                               3275 34TH ST                        APT 77                                                   BOULDER          CO    80301‐1975
ELIZABETH K GABRIEL                              1482 15TH STREET                                                                             FORT LEE         NJ    07024‐2134
ELIZABETH K GAZLEY                               13954 EDGEWATER DR                                                                           LAKEWOOD         OH    44107‐1412
ELIZABETH K GOULDTHORPE                          254 MONROE ST                                                                                WARRENTON        VA    20186‐3706
ELIZABETH K GRIBBLE & CHARLES E GRIBBLE JT TEN   3494 MANCHESTER DR                                                                           POWELL           OH    43065‐8469

ELIZABETH K HELMER                               7116 SAN JUAN CT                                                                             HUBER HEIGHTS    OH    45424‐3125
ELIZABETH K KAGAN                                2930 DOMINGO AVE #177                                                                        BERKELEY         CA    94705
ELIZABETH K KOTYNSKI                             2455 CAMBRIDGE RD                                                                            TRENTON          MI    48183‐2634
ELIZABETH K LEEPER                               2420 COUNTRY CLUB DR N                                                                       QUINCY           IL    62301‐6153
ELIZABETH K LITSCHAUER                           565 BOUGHER HILL RD                                                                          EASTON           PA    18042‐8723
ELIZABETH K LOEFFEL                              34433 DOGWOOD RD                                                                             MILLSBORO        DE    19966‐6387
ELIZABETH K MARTIN                               24 SHELTON ST                                                                                ARDSLEY          NY    10502‐2500
ELIZABETH K NAUGHTON                             13286 W CANTER DR                                                                            LAKEWOOD         CO    80228
ELIZABETH K RAY                                  138 WEST MIDDLEBURY LANE SW                                                                  AIKEN            SC    29803‐8019
ELIZABETH K SCHUPPAN                             113 UPPER FERRY ROAD                                                                         TRENTON          NJ    08628‐1528
ELIZABETH K SHERBIN                              233 W EARLY AVE                                                                              COALDALE         PA    18218‐1129
ELIZABETH K THOMAS                               1864 SCOTTSDALE AVE                                                                          COLUMBOS         OH    43235‐2521
ELIZABETH K VAN PELT & JAMES W VAN PELT JT TEN   6247 E GARY CIR                                                                              MESA             AZ    85205‐4814

ELIZABETH KACZMAREK                             681 OVERHILL                                                                                  BLOOMFIELD       MI    48301‐2569
ELIZABETH KALAMARIDES & MARK KALAMARIDIS JT TEN 102 W80 STREET                       APT 14                                                   NEW YORK         NY    10024‐6332

ELIZABETH KATHERINE KOPPERT                      PSC 811 BOX 388                                                                              FPO              AE    09609‐1001
ELIZABETH KAY BERNER                             15 HICKORY HILL ROAD                                                                         NORTH HAVEN      CT    06473‐2916
ELIZABETH KAY DIXON                              7252 S MOUNT HOLY CROSS                                                                      LITTLETON        CO    80127‐3205
ELIZABETH KEEN                                   2360 N UNION ROAD                                                                            MIDDLETOWN       OH    45044‐8828
ELIZABETH KEEN SMITH                             76 FARMSTEAD RD                                                                              WETHERSFIELD     CT    06109‐3611
ELIZABETH KELMINSON                              217 LAVERNE AVE                     #B                                                       LONG BEACH       CA    90803‐3516
ELIZABETH KEYISHIAN                              24‐23 33RD STREET                                                                            ASTORIA          NY    11102‐1136
ELIZABETH KIERNAN                                PO BOX 125                                                                                   NEW CITY         NY    10956‐0125
ELIZABETH KIRWAN                                 20034 FARMINGTON RD                                                                          LIVONIA          MI    48152‐1408
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Name                                               Address1                            Address2             Address3          Address4          City             State Zip

ELIZABETH KOEPPEN CUST SAMUEL WILLIAM KOEPPEN PO BOX 316                                                                                        ESPARTO          CA    95627‐0316
UTMA CA
ELIZABETH KOSSOFF                               9 CORTLAND PLACE                                                                                TENAFLY          NJ    07670‐1623
ELIZABETH KREBSBACH                             917 VALE VIEW DR                                                                                VISTA            CA    92083‐6728
ELIZABETH KREULEN                               3567 ELK CT                                                                                     ZEELAND          MI    49464‐8625
ELIZABETH KRUSE RAJEAN CUST MARTIN J KRUSE UGMA 508 TEAKWOOD                                                                                    OXNARD           CA    93033‐6021
CA
ELIZABETH KUNTZ                                 PO BOX 92                                                                                       RINGOES          NJ    08551‐0092
ELIZABETH KUONI                                 2101 MEDHURST DR                                                                                GREENSBORO       NC    27410‐2223
ELIZABETH KURKJIAN HENRY CUST JOHN HENRY III    15 CANTERBURY RD                                                                                WINCHESTER       MA    01890‐3812
UGMA MA
ELIZABETH L ALBINSON                            1210 MAGNOLIA ST                                                                                NEW SMYRNA       FL    32168‐7765
                                                                                                                                                BEACH
ELIZABETH L ANDORFER & JOSEPH L ANDORFER JT TEN    4262 WEST 215TH ST                                                                           FAIRVIEW PARK    OH    44126‐1855

ELIZABETH L BACHERT                                126 WHITTAKER DR                                                                             STONINGTON       CT    06378‐1723
ELIZABETH L BAKER & STEVE STITH JT TEN             12007 MARINE ST                     LOS ANGELIS                                              LOS ANGELES      CA    90066
ELIZABETH L BENEDICT                               PO BOX 92                                                                                    ROOSEVELTOWN     NY    13683‐0092
ELIZABETH L BERK TR ELIZABETH L BERK REV TRUS UA   5547 MARTIN AVE                                                                              VERMILION        OH    44089‐1239
01/09/02
ELIZABETH L BIESTER                                1923 LOWER MOUNTAIN ROAD                                                                     FURLONG          PA    18925‐1216
ELIZABETH L BLANEY                                 114 AUTUMN LANE                                                                              HARRISBURG       NC    28075‐9499
ELIZABETH L BONKOWSKY                              3638 MILLIKIN AVE                                                                            SAN DIEGO        CA    92122
ELIZABETH L BURKE                                  9004 HORTON RD                                                                               LAUREL           MD    20708‐2806
ELIZABETH L CARTIER                                169 BRAYMAN HOLLOW RD                                                                        POMFRET CENTER   CT    06259‐1109
ELIZABETH L COURTNEY                               207 NORTH MIAMI AVE                                                                          CLEVES           OH    45002‐1020
ELIZABETH L DERION & EDWARD L DERION JT TEN        1450 ST LAWRENCE DRIVE                                                                       GRAND ISLAND     FL    32735‐9734
ELIZABETH L FOSTER                                 826 MURRAY HILL LANE                                                                         BASSETT          VA    24055‐6068
ELIZABETH L FRANKLIN                               807 IRIS CRT                                                                                 COLUMBIA         TN    38401
ELIZABETH L FRESCOLN                               316 BAPTIST RD                                                                               CANTERBURY       NH    03224‐2512
ELIZABETH L GREEN                                  2142 HEATHER GREEN DR               APT D                                                    HOUSTON          TX    77062‐4737
ELIZABETH L HAYNES & MARY ELIZABETH SATTLER JT     7220 N EASTWEN AVE                                                                           KANSAS CITY      MO    64119‐5359
TEN
ELIZABETH L HELD                                   9008 KENNETH AVENUE                                                                          SKOKIE           IL    60076
ELIZABETH L HELLER & SUSAN O CONNOR JT TEN         3050 E OVERLOOK RD                                                                           CLEVELAND HTS    OH    44118‐2438
ELIZABETH L HUSSEY                                 6379 RUTTMAN CT                                                                              SAGINAW          MI    48603‐3477
ELIZABETH L ISAKSON                                700 S KENWOOD AVE                                                                            ROYAL OAK        MI    48067‐4082
ELIZABETH L JEFFERY                                8171 VAN VLEET RD                                                                            GAINES           MI    48436‐9789
ELIZABETH L KEE                                    5915 ELM ST                                                                                  HOUSTON          TX    77081
ELIZABETH L KEY                                    1109 VIRESCENT CT                                                                            CINCINNATI       OH    45224‐2789
ELIZABETH L KLAIR                                  C/O E L DARLINGTON                  2106 LYNCH DR                                            WILM             DE    19808‐4825
ELIZABETH L KLOPFER                                4004 LOCUS BEND DRIVE                                                                        DAYTON           OH    45440‐4049
ELIZABETH L KOSSACK                                807 MEADE ST                                                                                 MONONGAHELA      PA    15063‐2247
ELIZABETH L LO                                     2607 CREEK BEND                                                                              TROY             MI    48098‐2321
ELIZABETH L LUPETIN                                12 STONE AVE                                                                                 OSSINING         NY    10562‐3707
ELIZABETH L MACFARLANE                             26 TANGLEWOOD DR                    MONCTON NB                             E1G 2H6 CANADA
ELIZABETH L MACFARLANE                             26 TANGLEWOOD DR                    MONCTON NB                             E1G 2H6 CANADA
ELIZABETH L MADEMANN                               8111 LANDINGS LANE                                                                           ENCLEWOOD        FL    34224‐8596
ELIZABETH L MANGIONE                               C/O CARROLL W MANGIONE              310 HUTCHISON RD                                         PARIS            KY    40361‐9005
ELIZABETH L MARCUSON                               622 NORTH ELMWOOD AVE                                                                        OAK PARK         IL    60302‐1726
ELIZABETH L MEYERS                                 245 CLINTON PLACE                                                                            HACKENSACK       NJ    07601
ELIZABETH L MIDDLETON & MICHAEL D MIDDLETON JT     210 S 8TH ST                                                                                 MIDDLETOWN       IN    47356‐1312
TEN
ELIZABETH L MULLINIX                               13900 HOWARD RD                                                                              DAYTON           MD    21036‐1021
ELIZABETH L MUSCARELLA TR UA 10/18/91 ELIZABETH    3882 HILLSDALE DR                                                                            AUBURN HILLS     MI    48326‐4300
MUSCARELLA TRUST
ELIZABETH L OTT                                    4600 BELCREST WAY                                                                            SACRAMENTO       CA    95821
ELIZABETH L PARADISE & LOUIS PARADISE JT TEN       720 E M30                                                                                    GLADWIN          MI    48624‐7926
ELIZABETH L PORTER                                 2 REVERE RUN                                                                                 ZIONSVILLE       IN    46077‐1174
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Name                                               Address1                             Address2                 Address3      Address4          City               State Zip

ELIZABETH L RISHER                                 FOUNTAIN VIEW                        29187 GLOEDE DR APT. A                                   WARREN             MI    48088‐4083
ELIZABETH L ROLINSKI                               17117 MAPLEWOOD DR                                                                            PORT SHELDON       MI    49460‐9320
ELIZABETH L SAWYER                                 168 PARK ST                                                                                   EASTHAMPTON        MA    01027‐2162
ELIZABETH L SGRO                                   10 DANFORTH LANE                                                                              WEST HARTFORD      CT    06110‐2431
ELIZABETH L SMITH                                  2904 PLACID AVENUE                                                                            BALTIMORE          MD    21234‐1145
ELIZABETH L STILES & JOSEPH C STILES JT TEN        BOX 1597                                                                                      ASHLAND            VA    23005‐4597
ELIZABETH L STRICKER                               9 W LEVERT DR                                                                                 LULING             LA    70070‐3103
ELIZABETH L THOMAS                                 425 HARRIET ST                                                                                DAYTON             OH    45408‐2023
ELIZABETH L VALADE & CAROLYN M GODDARD JT TEN      4609 W HARRAND RD                                                                             BUCKLEY            MI    49620‐9423

ELIZABETH L VAN HORN & JAMES A VAN HORN JT TEN     15311 NW 32ND AVE                                                                             OPA LOCKA          FL    33054‐2522

ELIZABETH L WALKOWIAK & ROBERT J MCGRATH JT TEN 21707 RICHMAN RD                                                                                 MATTESON           IL    60443

ELIZABETH L WASYLSHYN                              152 RESERVE CIR                                                                               WELLINGTON         OH    44090‐9311
ELIZABETH L WEIR                                   2314 W SHERMAN DR                                                                             MUNCIE             IN    47304‐2174
ELIZABETH L WELKER                                 PO BOX 12                                                                                     VERSAILLES         KY    40383‐0012
ELIZABETH L WILSON                                 1140 APALACHEE TRCE                                                                           BISHOP             GA    30621‐1179
ELIZABETH L WOLFE                                  1238 JERRY LN                                                                                 CINCINNATI         OH    45208‐3114
ELIZABETH L ZABLOCKI                               389 SHELTER ROAD                                                                              RONKONKOMA         NY    11779‐4926
ELIZABETH LADON KERRY                              602 NANCY DR                                                                                  COLUMBIA           MO    65203‐0145
ELIZABETH LANGTON CUST QUIUNLAN THOMAS             74 S DR                                                                                       PLANDOME           NY    11030‐1442
LANGTON UTMA NY
ELIZABETH LANNER & SANFORD LANNER JT TEN           1 NEW DORP PL                                                                                 MELVILLE           NY    11747‐1219
ELIZABETH LANTZ                                    11921 CARAVEL CIR                                                                             FORT MYERS         FL    33908‐3929
ELIZABETH LAURA RUSSELL                            2 CLARK COURT                                                                                 LARCHMONT          NY    10538‐3710
ELIZABETH LE CLAIR & TED P LE CLAIR JT TEN         3705 COMMANCHE                                                                                FLINT              MI    48507‐4315
ELIZABETH LEE CHARLES                              4223 ROBINA AVE                                                                               BERKLEY            MI    48072‐3468
ELIZABETH LEE NIXON                                4223 ROBINA AVE                                                                               BERKLEY            MI    48072‐3468
ELIZABETH LEE STAMPER                              1261 LINDEN ST                                                                                PLYMOUTH           MI    48170‐2011
ELIZABETH LEE STERNBERG                            325 TAPPAN ST                        #2                                                       BROOKLINE          MA    02445‐5333
ELIZABETH LETTIERI                                 7022 W 72ND PLACE                                                                             CHICAGO            IL    60638‐5913
ELIZABETH LEVINGSON EX UW BARBARA J LEVINGSON      8 FITZROY STREET                     SURRY HILLS              NSW           2010 AUSTRALIA

ELIZABETH LEVINS CUST KATHERINE ANNE LEVINS ZIEN   825 E DONGES RD                                                                               MILWAUKEE          WI    53217‐1421
UTMA WI
ELIZABETH LEWIS                                    20735 INDIAN CREEK DR                                                                         FARMINGTN HLS      MI    48335‐5502
ELIZABETH LITTLETON ALLEN                          10508 PROPOSAL POINTE WAY                                                                     FORTVILLE          IN    46040‐8105
ELIZABETH LIVINGSTON KIEB DIANO                    6351 MONTEGO COURT                                                                            FORT WORTH         TX    76116‐1628
ELIZABETH LLKU                                     5575 WESTWOOD LN                                                                              BLOOMFIELD HILLS   MI    48301‐1246

ELIZABETH LOU LONG & LELAND S LONG JT TEN      2571 GUTHRIE AVE APT 306 A                                                                        DES MOINES         IA    50317‐3019
ELIZABETH LOUISE BALDWIN                       768 PRIMROSE                                                                                      GREENVILLE         OH    45331‐2416
ELIZABETH LOUISE CARDINI                       2763 JULIET DR                                                                                    DELTONA            FL    32738‐2434
ELIZABETH LOUISE LOVE                          3915 SOUTHWINDS DRIVE                    WINDSOR ON                             N9G 2S8 CANADA
ELIZABETH LOUISE RESNICK                       340 ANDRETTA LANE                                                                                 PADUCAH            KY    42003‐8776
ELIZABETH LOUISE SCHLEGEL                      1231 EIGHTH STREET                                                                                HUNTINGTON         WV    25701‐3405
ELIZABETH LUDWIG                               5500 S 96TH PLACE                                                                                 LINCOLN            NE    68526‐9608
ELIZABETH LUMB RAMSAY                          24 WHITMAR CIRCLE                                                                                 PLYMOUTH           MA    02360
ELIZABETH LYNCH CUST ANNIE LYNCH UTMA VA       6283 OCCOQUAN FOREST DR                                                                           MANASSAS           VA    20112‐3013
ELIZABETH LYNNE MURRAY‐KOBY                    1013 TSATANUGA ROAD                                                                               HIXSON             TN    37343‐2175
ELIZABETH M AINSWORTH & THOMAS M AINSWORTH JT 1628 ANDOVER                                                                                       E GRAND RAPIDS     MI    49506‐4710
TEN
ELIZABETH M ALLEN & GEORGE H ALLEN JT TEN      49 ROSE ST APT 109                                                                                BRANFORD           CT    06405‐3795
ELIZABETH M ANDERSON & GEORGE S ANDERSON JR JT 10845 CONTINENTAL DR                                                                              TAYLOR             MI    48180‐6904
TEN
ELIZABETH M AUMER TR UA 02/01/89 AUMER FAMILY 19638 ROMAR ST                                                                                     NORTHRIDGE         CA    91324‐1031
REVOCABLE TRUST
ELIZABETH M AUSTIN                             2595 FREMBES RD                                                                                   WATERFORD          MI    48329‐3612
                                               09-50026-mg              Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                             Address2             Address3          Address4          City              State Zip

ELIZABETH M BANACH                                4 FLEURY CT                                                                                   EASTHAMPTON       MA    01027‐2003
ELIZABETH M BARRY                                 19 ROSE AVE                                                                                   ADDISON           IL    60101‐3425
ELIZABETH M BAUMAN                                1606 NUTHATCH CT                                                                              MARIETTA          GA    30062‐2854
ELIZABETH M BEALL                                 11 W HOWELL AVE                                                                               ALEXANDRIA        VA    22301‐1505
ELIZABETH M BERNOTAS                              102 ELGER COURT                                                                               COLUMBIA          TN    38401‐5912
ELIZABETH M BOGGS                                 2590 S GILPIN ST                                                                              DENVER            CO    80210‐5135
ELIZABETH M BRAZEE                                7077 E MC DONALD DR                                                                           SCOTTSDALE        AZ    85253‐5328
ELIZABETH M BROWN & GEORGE W KITCHEN JT TEN       323 W JAMIESON ST                                                                             FLINT             MI    48505‐4057

ELIZABETH M CHAPPELL & MISS KIM E CHAPPELL JT TEN 77 W CATAWISSA ST                                                                             NEW RINGGOLD      PA    17960‐9567

ELIZABETH M COON                               1108 KEMPER AVENUE                                                                               DAYTON            OH    45420‐2268
ELIZABETH M DAILEY                             PO BOX 493                                                                                       ROCKPORT          ME    04856‐0493
ELIZABETH M DE WOLFF MORRIS & CHAD ALAN MORRIS 1452 LEISURE DR                                                                                  FLINT             MI    48507‐4057
JT TEN
ELIZABETH M DEE                                631 N HILTON ROAD                                                                                APACHE JUNCTION   AZ    85219‐8022

ELIZABETH M DEELY                                 789 WELLINGTON WAY COVE                                                                       COLLIERVILLE      TN    38017‐1393
ELIZABETH M DOMINICK                              21 REED RD                                                                                    ALTON BAY         NH    03810‐4305
ELIZABETH M DUMANIAN TR ELIZABETH M DUMANIAN      4921 CRESTWOOD AVE                                                                            SYRACUSE          NY    13215‐1314
REV LVG TRUST UA 12/8/98
ELIZABETH M EASTBURN TR UA 12/06/91 ELIZABETH M   1020 LA PALOMA BLVD                                                                           N FT MYERS        FL    33903‐1343
EASTBURN TRUST
ELIZABETH M EGENRIEDER                            503 N BLUE RIBBON AVE                                                                         HARRISBURG        PA    17112‐2336
ELIZABETH M EGGLESTON                             2279 BRANT STREET                                                                             ARROYO GRANDE     CA    93420‐6586
ELIZABETH M ERWIN                                 416 GARLAND ST                                                                                MEMPHIS           TN    38104‐7027
ELIZABETH M FELZKE                                13153 WARNER RD                                                                               PERRY             MI    48872‐9134
ELIZABETH M FLYNN EX ESTATE JOHN B MOVELLE        141 N LOVETT AVENUE                                                                           LITTLE SILVER     NJ    07739
ELIZABETH M FORTINO                               52060 WOODSEDGE DR                                                                            GRANGER           IN    46530‐8214
ELIZABETH M GABLE                                 995 W 130TH ST                                                                                HINCKLEY          OH    44233‐9515
ELIZABETH M GANDOLFO & MYRTLE PUGH JT TEN         15270 TWIST RD                                                                                JAMESTOWN         CA    95327‐9530
ELIZABETH M GAROFALO                              831 A HERITAGE VILLAGE                                                                        SOUTHBURY         CT    06488‐1304
ELIZABETH M GARVEY                                109 DRAKE RD                                                                                  PLEASANT VALLEY   NY    12569‐7340
ELIZABETH M GIANQUINTO                            BOX 500                                                                                       NORWAY            ME    04268‐0500
ELIZABETH M GLAVE & ANN E GLAVE JT TEN            136 HONEYSUCKLE DR                                                                            WHITE HOUSE       TN    37188‐8050
ELIZABETH M GLAVE & JOHN C GLAVE JT TEN           1743 RIVERBEND DRIVE                                                                          ALLEGAN           MI    49010
ELIZABETH M GLAVE & MARK W GLAVE JT TEN           136 HONEYSUCKLE DR                                                                            WHITE HOUSE       TN    37188‐8050
ELIZABETH M GLOGOWSKI                             1008 E KERR AVE                      APT 306                                                  URBANA            IL    61802‐2089
ELIZABETH M GRASHOF                               90 CRAFTWOOD LN                                                                               HILTON            NY    14468
ELIZABETH M GROVE                                 49319 MACKINAW CT                                                                             SHELBY TWP        MI    48315‐3955
ELIZABETH M HAAKE                                 230 MORGAN CT                        APT 1D                                                   MANHATTAN         IL    60442‐9358
ELIZABETH M HAMPSTEN                              2901 UNIVERSITY AVE STOP 7208                                                                 GRAND FORKS       ND    58202‐7208
ELIZABETH M HANSEL & HERBERT ALAN HANSEL JT TEN   3300 STAFFORD ROAD                                                                            PORT HOPE         MI    48468‐9311

ELIZABETH M HANSEL & MARIE L STIEBE JT TEN        3300 STAFFORD ROAD                                                                            PORT HOPE         MI    48468‐9311
ELIZABETH M HARLAN                                7769 CLEARWATER DR                                                                            WILLIAMSBURG      MI    49690‐9579
ELIZABETH M HELM                                  1210 JOSLYN                                                                                   PONTIAC           MI    48340‐2059
ELIZABETH M HIRSCHEY                              6804 SOUTHDALE RD                                                                             EDINA             MN    55435‐1661
ELIZABETH M HOCK                                  410 KATHERINE AVE                                                                             BALTIMORE         MD    21221‐1628
ELIZABETH M HOPKINS                               2000 E COMMERCE RD                                                                            COMMERCE TWP      MI    48382‐1233
ELIZABETH M HUMPHRIES                             112 DARLING AVE                                                                               BLOOMFIELD        NJ    07003‐5408
ELIZABETH M ISAAC                                 19406 DEQUINDRE                                                                               DETROIT           MI    48234‐1210
ELIZABETH M JOLLIFF & GARTH A JOLLIFF JT TEN      22161 LUAU LN                                                                                 HUNTINGTN BCH     CA    92646‐8331
ELIZABETH M KOCIBA                                2975 E ORANGE RD                                                                              LEWIS CENTER      OH    43035‐9302
ELIZABETH M KRIPAS                                17903 ENGLISH RD                                                                              MANCHESTER        MI    48158‐9644
ELIZABETH M KRIX SCHAAF                           12815 74TH AVE                                                                                SEMINOLE          FL    33776‐4002
ELIZABETH M KUNZ                                  36 ENGLISH STATION ROAD                                                                       ROCHESTER         NY    14616
ELIZABETH M LEAHY                                 PO BOX 1117                                                                                   PT REYES STA      CA    94956‐1117
ELIZABETH M LETOURNEAU                            200 RIVER LANDING DR B307                                                                     DANIEL ISLAND     SC    29492
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Name                                               Address1                             Address2             Address3          Address4          City              State Zip

ELIZABETH M LINTON                              4866 S 81ST ST                                                                                   GREENFIELD        WI    53220‐4245
ELIZABETH M LOHSE                               16108 KENSINGTON CT                                                                              MINNETONKA        MN    55345‐2724
ELIZABETH M LYNCH                               2 JUNIPER DR                                                                                     LAFAYETTE         CA    94549‐3321
ELIZABETH M MALONEY                             65 SPORT HILL PKWY                                                                               EASTON            CT    06612‐2239
ELIZABETH M MARKUSIC                            2432 VENLOE DR                                                                                   YOUNGSTOWN        OH    44514‐1747
ELIZABETH M MARNELL                             C/O ELIZABETH YANOS                     9118 SECOR ROAD                                          TEMPERANCE        MI    48182‐9463
ELIZABETH M MARSHALL                            1053 LOCHLAND RD                                                                                 GENEVA            NY    14456‐3244
ELIZABETH M MC DONALD & DENNIS L MC DONALD JT 43 WAGON LANE                                                                                      CHERRY HILL       NJ    08002‐1561
TEN
ELIZABETH M MC LAURIN                           1205 YMCA LANE                                                                                   COUNCE            TN    38326‐4552
ELIZABETH M MCMAHAN                             8 MC KINLEY DR                                                                                   MILLVILLE         NJ    08332‐4478
ELIZABETH M MERTI & FRANCIS E MERTI JT TEN      105 SUTTON AVE                                                                                   HOPWOOD           PA    15445‐2034
ELIZABETH M MERTI & LISA A MERTI JT TEN         105 SUTTON AVE                                                                                   HOPWOOD           PA    15445‐2034
ELIZABETH M MERTI & MARCY M MERTI JT TEN        RD 1 BOX 70‐A                                                                                    HOPWOOD           PA    15445‐9714
ELIZABETH M MERTI & MARK A MERTI JT TEN         105 SUTTON AVE                                                                                   HOPWOOD           PA    15445‐2034
ELIZABETH M MILES                               3893 ORR DR                             APT 3B                                                   NORTH BRANCH      MI    48461‐9377
ELIZABETH M NICHOLS TR UA 06/17/85 ELIZABETH M  809 N PALM WAY                                                                                   LAKE WORTH        FL    33460‐2713
NICHOLS TRUST
ELIZABETH M O'CONNOR & KATHLEEN L AUGUST JT TEN 144 HERRING POND CT                                                                              BEAUFORT          NC    28516

ELIZABETH M O'MEARA & DENNIS O'MEARA JT TEN        2 NIBLICK COURT                                                                               HILTON HEAD       SC    29928
ELIZABETH M O'MEARA & ELIZABETH MONDA JT TEN       2 NIBLICK COURT                                                                               HILTON HEAD       SC    29928

ELIZABETH M O'MEARA & GERALD B O'MEARA JR JT TEN 2 NIBLICK COURT                                                                                 HILTON HEAD       SC    29928

ELIZABETH M O'MEARA & JULIA STANTON JT TEN         2 NIBLICK COURT                                                                               HILTON HEAD       SC    29928
ELIZABETH M PAYNE TR REVOCABLE TRUST 11/21/91 U‐   4620 SHORES DRIVE                                                                             BAY HARBOR        MI    49770
A ELIZABETH M PAYNE
ELIZABETH M PIERCE                                 193 KENNEDY RD                                                                                HOOKSTOWN         PA    15050‐1705
ELIZABETH M POARCH                                 132 SCARBOROUGH PL                                                                            CHARLOTTESVILLE   VA    22903‐6546

ELIZABETH M POWERS                                 1407 MIDDLE RD                                                                                CALVERTON       NY      11933‐1435
ELIZABETH M PROCTOR                                448 SERRA                                                                                     WHITE LAKE      MI      48386‐2158
ELIZABETH M RITZ                                   13117 MILLHAVEN PL                   UNIT J                                                   GERMANTOWN      MD      20874‐6345
ELIZABETH M ROBBINS                                21 PLATINUM PLN                                                                               BARRE           VT      05641‐9049
ELIZABETH M RUHLMAN                                90 HARBOR LANE                                                                                MASSAPEQUA PARK NY      11762‐3902

ELIZABETH M SAMUELSON                              3213 DRYBROOK ROAD                                                                            FALCONER          NY    14733‐9734
ELIZABETH M SANDUSKY                               882 FAWN MEADOWS DR                                                                           COPLEY            OH    44321‐1410
ELIZABETH M SCHEUERMAN                             220 BLACKMAN ST                                                                               WILKES BARRE      PA    18702‐4577
ELIZABETH M SEILER                                 148 WAHSINGTON ST                                                                             LOCKPORT          NY    14094‐2261
ELIZABETH M SMITH                                  2004 CHERRY ROAD                                                                              EDGEWOOD          MD    21040‐2412
ELIZABETH M SMITH                                  607 RIVERVIEW                                                                                 BOISE             ID    83712‐8242
ELIZABETH M SMITH & CHRISTOPHER SMITH JT TEN       12501 EDGERTON AVE                                                                            CEDAR SPRINGS     MI    49319‐9423

ELIZABETH M SOLES                                  364 MARBURY DR                                                                                NORTH             PA    15642‐1640
                                                                                                                                                 HUNTINGDON
ELIZABETH M ST HENRI                               6525 DOME DR                                                                                  MALIBU            CA    90265‐4218
ELIZABETH M STRAUB                                 304 ESSEX PARK DR                                                                             O FALLON          MO    63366‐4845
ELIZABETH M TEVERE                                 27 PERRI PLACE                                                                                DIX HILLS         NY    11746‐6564
ELIZABETH M THOMAS                                 235 TRENTON AVE                                                                               MERCERVILLE       NJ    08619‐1939
ELIZABETH M TINGLEY                                1111 11TH AVE                                                                                 PORT HURON        MI    48060‐3411
ELIZABETH M TREBES                                 1111 MEADOW LARK DR                                                                           BALTIMORE         MD    21227‐4320
ELIZABETH M TUTTLE & JOANNE C TUTTLE &             92 TATE AVENUE                                                                                BUCHANAN          NY    10511‐1306
JACQUELINE TUTTLE SMALL JT TEN
ELIZABETH M WAGNER                                 600 E CATHEDRAL RD                   APT D207                                                 PHILADELPHIA      PA    19128‐1928
ELIZABETH M WELSH                                  1910 BIG CRANE LOOP                                                                           PORT ORANGE       FL    32128‐2529
ELIZABETH M WHITMORE                               118 NORTH LEGION ST                                                                           POMPTON LAKES     NJ    07442‐1739
ELIZABETH M WILSON                                 10600 MOUNT VERNON ST                APT 204                                                  TAYLOR            MI    48180‐6913
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Name                                               Address1                             Address2                   Address3             Address4          City            State Zip

ELIZABETH M WITTON                          10792 GLEN MIST LN                                                                                            FAIRFAX         VA    22030‐4578
ELIZABETH M YARBORO                         102 DEERBORN DR                                                                                               GOLDSBORO       NC    27534‐8978
ELIZABETH M ZACHARCHUK                      401 BLVD                                                                                                      KENILWORTH      NJ    07033‐1538
ELIZABETH M ZUBROFF                         15 CROSMOUR ROAD                                                                                              RHINEBECK       NY    12572
ELIZABETH MALEK‐ZADEH                       8623 SPRING CREEK CT                                                                                          SPRINGFIELD     VA    22153‐3727
ELIZABETH MALYSKO PALAGYI                   3 ELMWOOD DR                                                                                                  MILLTOWN        NJ    08850‐1607
ELIZABETH MANN BRIDGERS                     246 ATKINS                                                                                                    SHREVEPORT      LA    71104‐4538
ELIZABETH MANNO CUST LAUREN M MANNO UGMA NY 47 REMINGTON RD                                                                                               RIDGEFIELD      CT    06877‐4323

ELIZABETH MARA BAHR                                7772 MAPLE ST                                                                                          KIRTLAND        OH    44094‐9268
ELIZABETH MARCH                                    C/O ELIZABETH BAKER                  7 EASTERN AVE                                                     WILLIAMSBURG    MA    01096‐9702
ELIZABETH MARGARET GUTOWSKI                        8440 ARBUTUS RD                                                                                        PASADENA        MD    21122‐2828
ELIZABETH MARIE MILLER                             23 CAMPBELL CT                                                                                         DEAL            NJ    07723‐1205
ELIZABETH MARIE WEBER                              3901 EAGLE LAKE DR                                                                                     CHARLOTTE       NC    28217‐3055
ELIZABETH MARION CHAMBERS & ARCHIE WILLIAM         64 HARRISON AVE                                                                                        NEWPORT         RI    02840‐3881
CHAMBERS JT TEN
ELIZABETH MARSCHNER                                287 MC KINLEY PKWY                                                                                     BUFFALO         NY    14220‐2205
ELIZABETH MARSHALL                                 366 PROSPECT AVE                                                                                       W SPRINGFIELD   MA    01089‐4559
ELIZABETH MAY                                      PO BOX 285                           5140 AUSABLE VALLEY ROAD                                          JOHANNESBURG    MI    49751‐0285
ELIZABETH MAY HARRIS                               APT 8G                               CAPITOL TOWERS                                                    MONTGOMERY      AL    36104
ELIZABETH MAYNARD                                  179 WHITNEY RD                                                                                         ASHBY           MA    01431‐2218
ELIZABETH MC BRIDE WALLACE                         1355 S LAFAYETTE                                                                                       DENVER          CO    80210‐2321
ELIZABETH MC NAB TARANTO                           805 SHADOWLAWN DR                                                                                      WESTFIELD       NJ    07090‐4412
ELIZABETH MCALEES TR UA 05/10/94 ELIZABETH         1444 S HUGHES RD                                                                                       HOWELL          MI    48843‐9138
MCALEES LIVING TRUST
ELIZABETH MCCANTS                                  2865 SALMON AVE SE                                                                                     ATLANTA         GA    30317‐3448
ELIZABETH MCFARLANE                                12001 MARKET STREET #201                                                                               RESTON          VA    20190
ELIZABETH MCPHILLIPS                               2 MEADOW LARK DR                                                                                       CARMEL          NY    10512‐1610
ELIZABETH MERTI                                    SUTTON AV                                                                                              HOPWOOD         PA    15445
ELIZABETH METTING                                  247 GORDEN DR                                                                                          PARAMUS         NJ    07652‐3323
ELIZABETH MEYER                                    605 W NAOMI ST                                                                                         PHILADELPHIA    PA    19144‐3710
ELIZABETH MIAKININ                                 8228 TALBOT RD                                                                                         EDMONDS         WA    98026‐5042
ELIZABETH MICHENER                                 PO BOX 508                           10141 FRONT ST                                                    EMPIRE          MI    49630‐9418
ELIZABETH MILLER                                   C/O ANN BULSKIS                      PO BOX 473                                                        WELAKA          FL    32193‐0473
ELIZABETH MILLER                                   207 CORDELL CIRCLE                                                                                     JACKSONVILLE    NC    28540‐2904
ELIZABETH MINDEL                                   120 GARFIELD PLACE #D3                                                                                 BROOKLYN        NY    11215‐2006
ELIZABETH MODIE                                    1900 WASHINGTON AVE                                                                                    PARKERSBURG     WV    26101‐3608
ELIZABETH MOEHLE JOHNSON                           1224 W ANN ARBOR TRAIL                                                                                 PLYMOUTH        MI    48170‐1559
ELIZABETH MOLUMBY REEVES                           12717 53RD ST N                                                                                        STILLWATER      MN    55082‐1051
ELIZABETH MORGAN & ANN E JAMES JT TEN              3628 VISTA DEL VALLE                                                                                   SAN JOSE        CA    95132‐3144
ELIZABETH MOSCATO                                  GM DE ARGENTINA                      AV EDURDO MADERO 900 P15   BUENOS AIRES ARGEN   ARGENTINA
ELIZABETH MOUL                                     BOX 90006                                                                                              SAN JOSE        CA    95109‐3006
ELIZABETH MULKEY CLEARY                            104 FALLEN LOG                                                                                         CHAPEL HILL     NC    27516
ELIZABETH MULLENS                                  562 ONESQUETHAW CREEK                                                                                  FEURA BUSH      NY    12067‐2033
ELIZABETH MURPHY                                   15 E WHITE CHAPEL                                                                                      MAZOMANIE       WI    53560‐9577
ELIZABETH N ALLEN                                  2 APPLE MILL LN                                                                                        NORTH SALEM     NY    10560‐9758
ELIZABETH N ALLEN & GREGORY ALLEN JT TEN           2 APPLE MILL LN                                                                                        NORTH SALEM     NY    10560‐9758
ELIZABETH N CORRY                                  2125 SMOKEWOOD AVE                                                                                     FULLERTON       CA    92831‐1037
ELIZABETH N HEDEMAN                                2525 POT SPRING RD                   APT S 323                                                         TIMONIUM        MD    21093
ELIZABETH N MALONE                                 1810 BRENTWOOD DRIVE                                                                                   ANDERSON        IN    46011‐4039
ELIZABETH N NOUFER                                 2486 SPRUCE ST                                                                                         GIRARD          OH    44420‐3151
ELIZABETH N PAYETTE                                PO BOX 279                                                                                             MONT ALTO       PA    17237‐0279
ELIZABETH N PEREZ                                  1824 MARINE ROAD                                                                                       BOLINGBROOK     IL    60490‐4590
ELIZABETH N REA                                    905 VISTA OAKS LN                                                                                      KNOXVILLE       TN    37919‐4445
ELIZABETH N WELLS                                  941 KEPLER RD                                                                                          POTTSTOWN       PA    19464‐3000
ELIZABETH NABORS                                   47 OLD ALBANY POST ROAD                                                                                OSSINING        NY    10562‐1926
ELIZABETH NASH ZALEWSKI TR UA 12/27/93 ELIZABETH   2731 VINTAGE RESERVE LN                                                                                MARIETTA        GA    30066‐3352
NASH ZALEWSKI TRUST
ELIZABETH NEEL VAIDEN                              4545 THE FOXES                                                                                         WILLIAMSBURG    VA    23188‐2423
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Name                                               Address1                                Address2             Address3          Address4          City              State Zip

ELIZABETH NELL BROUSSEAU BERGERON                  1437 BON DURANT DR                                                                               BATON ROUGE       LA    70806‐8655
ELIZABETH NESBITT                                  4816 PINE HILL RD                                                                                ALBION            NY    14411‐9211
ELIZABETH NICOLLE WADE                             401 AUDRAINE DR                                                                                  GLENDALE          CA    91202‐1101
ELIZABETH NOBLE DALBY                              3300 NORTH PASEO DE LOS RIOS            APT 15106                                                TUCSON            AZ    85712
ELIZABETH NOBLE SPARKS                             517 OXFORD ROAD                                                                                  ANDERSON          IN    46012‐3928
ELIZABETH NYREEN & MICKEY L NYREEN JT TEN          3821 SW MYRTLE ST                                                                                SEATLE            WA    98126‐3209
ELIZABETH O FAWKES CUST ANDREW B FAWKES UTMA       20513 STRAHAM WAY                                                                                POTOMAC FALLS     VA    20165‐4799
VA
ELIZABETH O FAWKES CUST MICHAEL M FAWKES UTMA      20513 STRAHAM WAY                                                                                POTOMAC FALLS     VA    20165‐4799
VA
ELIZABETH O FISHER                                 32673 GORDY RD                                                                                   LAUREL            DE    19956‐4508
ELIZABETH O MAXWELL CUST WILLIAM A MAXWELL         739 CHIMNEY ROCK RD                                                                              MARTINSVILLE      NJ    08836‐2238
UGMA NJ
ELIZABETH O'KEEFE                                  #3 COVINGTON MEADOWS DRIVE                                                                       ST LOUIS          MO    63132
ELIZABETH O'KIPNEY                                 302 DEEP SPRINGS DR                                                                              CHITTENANGO       NY    13037‐9793
ELIZABETH OBRIEN PERSON CUST ROBERT MICHAEL        211 CRESTWOOD LANE                                                                               LARGO             FL    33770‐4558
PERSON UTMA FL
ELIZABETH OLWEN LOUDEN                             K3                                      250 TANGLEWOOD LN                                        KING OF PRUSSIA   PA    19406‐2351
ELIZABETH ORTIZ                                    1063 GENELLA ST                                                                                  WATERFORD         MI    48328‐1334
ELIZABETH OSTRANDER                                3110 46TH STREET                                                                                 MOLINE            IL    61265‐5632
ELIZABETH OVEN                                     1922 GREENBRIAR LANE                                                                             FLINT             MI    48507‐2284
ELIZABETH OVERTON SNOWDEN                          231 WEST CHERRY CIRCLE                                                                           MEMPHIS           TN    38117‐3001
ELIZABETH OWENS                                    PO BOX 1753                                                                                      MARTINSBURG       WV    25402‐1753
ELIZABETH P B BINGHAM                              C/O MRS C WITZGALL                      20 WALKER AVE                                            GAITHERSBURG      MD    20877‐2704
ELIZABETH P CHAUNCEY                               C/O HENRY CHAUNCEY JR                   42 HAWTHORN DR                                           SHELBURNE         VT    05482‐7513
ELIZABETH P DRUMMOND                               245 BEECHNUT LN                                                                                  ACCIDENT          MD    21520‐1146
ELIZABETH P DUFFY                                  388 SPRINGFIELD RD                                                                               MOUNT PLEASANT    SC    29464‐6239

ELIZABETH P EBERHART & JAMES F EBERHART JT TEN     1785 WINDSOR DR                                                                                  WHEATON           IL    60187‐8508

ELIZABETH P GREGG TR ELIZABETH P GREGG TRUST UA    1105 N RIVER CRT                                                                                 TECUMSEH          MI    49286‐1108
03/31/95
ELIZABETH P GRIFFIN                                3414 OVERBROOK                                                                                   HOUSTON           TX    77027‐4140
ELIZABETH P HEARD                                  2022 COTTONWOOD VALLEY CIRCLE SOUTH                                                              IRVING            TX    75038‐5927
ELIZABETH P KEANE                                  9432 LEILANI DR                                                                                  HUNTINGTN BCH     CA    92646‐8330
ELIZABETH P MACKE EX EST GRANVILLE P POWERS        60 LONGWOOD LN                                                                                   NEWNAN            GA    30263
ELIZABETH P MACPHERSON                             15 SAN MATEO COURT                                                                               SAN RAFAEL        CA    94903‐3737
ELIZABETH P MARTIN                                 87 N COLLIER BLVD                       APT R1                                                   MARCO ISLAND      FL    34145‐3779
ELIZABETH P NADHERNY                               36 VILLAGE RD #302                                                                               MIDDLETON         MA    01949‐1219
ELIZABETH P NECASTRO                               728 SPENCER AVE                                                                                  SHARON            PA    16146‐3158
ELIZABETH P R ZELLERBACH JR                        ATTN P ROSPIGLIOSI                      239 CLAY ST                                              ASHLAND           OR    97520‐1317
ELIZABETH P SINCLAIR                               C/O ELIZABETH S TIFFANY                 RD 3                 BOX 40 H                            FRANKFORD         DE    19945‐9510
ELIZABETH P WARE TR UA 04/19/89 ELIZABETH P WARE   966 CRESTON RD                                                                                   BERKELEY          CA    94708
TRUST
ELIZABETH PALUMBO                                  130 EAST FOREST AVE                                                                              OLEAN             NY    14760‐1409
ELIZABETH PALUMBO                                  57 PARK ST                                                                                       FLORHAM PARK      NJ    07932‐1201
ELIZABETH PANO                                     508 N MASON ST                                                                                   BLOOMINGTON       IL    61701‐2852
ELIZABETH PANTELIS                                 425 N GRANDVIEW BLVD                                                                             WAUKESHA          WI    53188‐3261
ELIZABETH PARK THOMPSON                            2435 COVENTRY ROAD                                                                               COLUMBUS          OH    43221‐3753
ELIZABETH PARKE SIMPSON                            200 RIVER NORTH DR NW                                                                            ATLANTA           GA    30328‐1113
ELIZABETH PARKER WHITTET                           16 PRINCETON ROAD                                                                                WELLESLEY         MA    02482‐2208
ELIZABETH PATRICK PAGE                             3500 CARNOUSTIE CT                                                                               GASTONIA          NC    28056‐6632
ELIZABETH PETRAVICZ TR ELIZABETH PETRAVICZ TRUST   7841 WEST 157TH ST #108                                                                          ORLAND PARK       IL    60462‐6010
UA 3/16/04
ELIZABETH PFEFFER                                  1800 OCONNOE DR                         TORONTO ON                             M4A 1W7 CANADA
ELIZABETH PICKERING                                1208 DALE DR                                                                                     SILVER SPRING     MD    20910‐1609
ELIZABETH PIEGALSKI                                1112 ARUNDEL DR                                                                                  WILMINGTON        DE    19808‐2135
ELIZABETH PILLSBURY HOFFMAN                        13431 MASON VALLEY COURT                                                                         ST LOUIS          MO    63131‐1221
ELIZABETH PITCHER & WALTER PITCHER JT TEN          24 CHESTER LANE                                                                                  NANUET            NY    10954‐3836
                                             09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2                 Address3      Address4          City              State Zip

ELIZABETH POLLOCK                                  636 WASHINGTON AVE                                                                            EGG HARBOR CITY   NJ    08215‐1522
ELIZABETH POPE GRANTHAM ALFORD                     PO BOX 279                                                                                    MULLINS           SC    29574‐0279
ELIZABETH PULLIAM & ALVIN M PULLIAM JT TEN         10 POLK PL                                                                                    WHITE PLAINS      NY    10603‐2919
ELIZABETH Q BIRD TR RESIDUAL TRUST ARTICLE V11 U‐W 2865 HOWELL MILL ROAD                                                                         ATLANTA           GA    30327‐1333
JOHN E BIRD
ELIZABETH R BAKER                                  ATTN ELIZABETH R BAKER VOLK          26 HAMMOND CIRCLE                                        SUDBURY           MA    01776‐2764
ELIZABETH R COLEMAN                                164 CO RD 183                                                                                 WOODVILLE         AL    35776‐7805
ELIZABETH R COLLARD                                11 MINNESINK RD                                                                               MANASQUAN         NJ    08736‐3513
ELIZABETH R CSINTYAN & TIMOTH Y L CSINTYAN JT TEN 353 LAIRD ST                                                                                   MOUNT MORRIS      MI    48458‐8871

ELIZABETH R DEPAULO CUST MARIANNE HELEN           C/O PLANT                             18 PINEWOOD FARM COURT                                   OWINGS MILLS      MD    21117‐2339
DEPAULO UGMA MD
ELIZABETH R EDWARDS CUST WILLIAM NILES EDWARDS    1602 ACKER PL                                                                                  ANNISTON          AL    36207‐3922
UGMA AL
ELIZABETH R FEULNER & MARK S FEULNER JT TEN       11777 THERESA DR                                                                               CORNING           NY    14830‐3687
ELIZABETH R GACSI                                 1534 BURNS RD                                                                                  JAMESTOWN         PA    16134‐5308
ELIZABETH R GAROFALO                              410 GREENHILL RD                                                                               WILLOW GROVE      PA    19090‐2815
ELIZABETH R GEORGE                                333 ST PAUL ST W                      ST CATHARINES ON                       L2R 6P7 CANADA
ELIZABETH R HENDRICKSON                           6746 E HANNA AVE                                                                               INDIANAPOLIS      IN    46203‐6176
ELIZABETH R HICKS                                 9 LENART PLACE                                                                                 HOPEWELL          NY    12533‐5350
                                                                                                                                                 JUNCTION
ELIZABETH R HUHN                                  714 50 NORTHEAST DR                                                                            DAVIDSON          NC    28036
ELIZABETH R JORGENSEN                             8805 29TH ST E                                                                                 PARRISH           FL    34219‐8310
ELIZABETH R KNOWLTON                              63 PARKER RIDGE LANE                  APT 308                                                  BLUE HILL         ME    04614‐6105
ELIZABETH R KOVACH                                1381 KENSINGTON                                                                                GROSSE POINTE     MI    48230‐1103
                                                                                                                                                 PARK
ELIZABETH R LEEVER                                409 E 35TH STREET                                                                              ANDERSON          IN    46013‐4627
ELIZABETH R MCCOY                                 57BASSWOOD ST                                                                                  PLAINVILLE        CT    06062‐3106
ELIZABETH R MONTANARELLA                          1900 CLINTON AVE S                    SUITE 13                                                 ROCHESTER         NY    14618
ELIZABETH R MORGAN                                MORGAN RD                             PO BOX 132                                               MARCY             NY    13403‐0132
ELIZABETH R PALAIA                                135 LEXINGTON ST                                                                               BRISTOL           CT    06010‐3649
ELIZABETH R PAXTON & RALPH HEIGL JT TEN           225 REDMOND RIDGE CIR                                                                          ALPHARETTA        GA    30022‐4786
ELIZABETH R POSTNER                               1670 PENBROOKE TRL                                                                             DAYTON            OH    45459
ELIZABETH R REDDY                                 1320 QUEEN ANNES GATE                                                                          WESTLAKE          OH    44145‐2632
ELIZABETH R RICHARD                               36100 24 MILE RD                                                                               NEW BALTIMORE     MI    48047‐1522
ELIZABETH R RICHARDSON EX UW JAMES MACARTHUR      PO BOX 57                                                                                      BANGOR            ME    04402‐0057

ELIZABETH R RIEWERTS                              60 MARCOTTE LANE                                                                               BERGENFIELD       NJ    07621‐3209
ELIZABETH R SERVIS                                12196 SOUTH BLOSSOM LEA                                                                        ALDEN             NY    14004‐9440
ELIZABETH R SHANNON                               100 N MOORELAND RD                                                                             RICHMOND          VA    23229‐7710
ELIZABETH R SHORT                                 601 VINCENT WAY                                                                                LEXINGTON         KY    40503‐3589
ELIZABETH R SILVER                                8058 RED FOX RD                                                                                STANWOOD          MI    49346‐9641
ELIZABETH R STUDER                                16 ORCHID LANE                                                                                 BRICK             NJ    08724‐5403
ELIZABETH R THOMPSON                              3831 W 88TH ST                                                                                 BLAINE            WA    98230
ELIZABETH R WATTS                                 14753 BALTUSROL DR                                                                             ORLANDO           FL    32828‐8045
ELIZABETH R WETZEL                                2564 CHAREL COURT                                                                              WEST BLOOMFIELD   MI    48324‐1912

ELIZABETH RAE BIELE                               150 SEELEY ST                                                                                  BROOKLYN          NY    11218‐1116
ELIZABETH RAE PARKER                              716 CALLE BEATRICE                                                                             SANTA FE          NM    87501‐2972
ELIZABETH RAINEY                                  1717 WEST FLORK RD                                                                             CINCINNATI        OH    45223
ELIZABETH RATHBURN & ANN E OBEAY JT TEN           440 W RUSSELL ST                      # G28                                                    SALINE            MI    48176‐1184
ELIZABETH REDMOND TR ELIZABETH REDMOND            1238 PARADISE WAY                                                                              VENICE            FL    34285‐6411
REVOCABLE TRUST UA 03/29/05
ELIZABETH REEVES WIGGINTON                        21605 WHITE'S NECK RD                                                                          BUSHWOOD          MD    20618‐2326
ELIZABETH REIFSNYDER                              1201 CASTLE HILL ST #101                                                                       AUSTIN            TX    78703‐4164
ELIZABETH RENEE SCOTT                             4215 LAKESHORE AVE                                                                             OAKLAND           CA    94610‐1137
ELIZABETH REYES & PETER REYES JT TEN              5230 AUDUBON                                                                                   DETROIT           MI    48224‐2661
ELIZABETH RHEA MARRA                              2111 WATERSIDE WAY                                                                             COHOES            NY    12047‐4733
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ELIZABETH RHODES TR ELIZABETH RHODES LIVING         28081 CALLE VALDES                                                                             MISSION VIEJO     CA    92692‐1556
TRUST UA 12/20/95
ELIZABETH RICE                                      3959 W 129TH ST                                                                                CLEVELAND         OH    44111‐5131
ELIZABETH RODACK                                    107 W CHESTNUT ST                                                                              WILKES‐BARRE      PA    18705‐1747
ELIZABETH RODGERS                                   98‐120 QUEENS BLVD APT 3K                                                                      FOREST HILLS      NY    11374‐4343
ELIZABETH ROFRITS                                   5233 CYNTHIA LN                                                                                DAYTON            OH    45429‐2018
ELIZABETH ROSE MOTTLEY & JANET ALBERTA STAGMER      2150 TROON OVERLOOK                  APT G5                                                    WOODSTOCK         MD    21163‐1456
JT TEN
ELIZABETH ROSENMAN                                  8260 AVALON DR                                                                                 MERCER ISLAND     WA    98040
ELIZABETH ROSS WARREN                               144 HILLCREST AVE                                                                              CONCORD           NC    28025‐3662
ELIZABETH RUDD BENNETT                              580 GARDEN DR                                                                                  LOUISVILLE        KY    40206‐2968
ELIZABETH RYAN                                      24 VALLEY STREET                                                                               NORTHAMPTON       MA    01060‐3324
ELIZABETH RYAN                                      81165 COLE                                                                                     MEMPHIS           MI    48041‐4481
ELIZABETH S BAINE                                   1634 ASHLEY PLACE                                                                              VANDALIA          OH    45377
ELIZABETH S BEAMER                                  894 SMITH RD                                                                                   CHARLES TOWN      WV    25414‐4633
ELIZABETH S BUTTERFIELD                             27 FAIRVIEW CRESENT ROCKY BAY        AUCKLAND             NEW ZELAND        NEW ZEALAND
ELIZABETH S BUTTERFIELD                             101 TARARU ROAD                      THAMES                                 3500 NEW ZEALAND
ELIZABETH S CHAFFIN                                 182 FORT ADAMS POND RD                                                                         WOODVILLE         MS    39669‐4013
ELIZABETH S CHAPIN TR ELIZABETH S CHAPIN TRUST UA   15523 PATRONELLA AVE                                                                           GARDENA           CA    90249‐4449
08/08/96
ELIZABETH S CLARK                                   7603 FOREST RIDGE TRL                                                                          SACHSE            TX    75048
ELIZABETH S COLLIER                                 23260 WALNUT ST                                                                                HIGGINSVILLE      MO    64037‐1179
ELIZABETH S DALZIEL                                 915 E CAPITOL BLVD                                                                             SALT LAKE CITY    UT    84103‐2217
ELIZABETH S DANIEL                                  289 BRIAN DANIEL LN                                                                            TAZEWELL          TN    37879‐5553
ELIZABETH S GANS                                    9822 SCRIM AVENUE                                                                              LOUISVILLE        KY    40272‐3367
ELIZABETH S HARTMAN                                 1142 KINGS COVE WAY                                                                            CINCINNATI        OH    45230‐3809
ELIZABETH S HENNING                                 4914 DONEGAL CLIFFS DRIVE                                                                      DUBLIN            OH    43017‐9189
ELIZABETH S HILL                                    409 DENVER ROAD                      WESTVIEW                                                  WILMINGTON        DE    19804‐3028
ELIZABETH S JOSLIN                                  25 HAMPDEN PL                                                                                  WINDSOR           CT    06095‐1477
ELIZABETH S KIRALIS                                 PO BOX 75                                                                                      EAST VASSALBORO   ME    04935‐0075

ELIZABETH S KUMMER                                  1448 CRESTVIEW AVE                                                                             TALLAHASSEE       FL    32303‐5814
ELIZABETH S KURAS                                   57 LUCINDA LANE                                                                                ROCHESTER         NY    14626‐1286
ELIZABETH S LAYNE                                   4000 GREAT HARVEST CT                                                                          DUMFRIES          VA    22025‐3625
ELIZABETH S MC CULLOUGH                             181 GREENLAWN DRIVE                                                                            MERIDIANVILLE     AL    35759‐2426
ELIZABETH S MCKEE                                   28 WEST COURT STREET                                                                           PLATTSBURGH       NY    12901‐2302
ELIZABETH S MORE                                    57 BRONXVILLE RD                                                                               BRONXVILLE        NY    10708‐6114
ELIZABETH S NOBLE                                   2 APPLE MILL LN                                                                                NORTH SALEM       NY    10560‐9758
ELIZABETH S O'BRIEN                                 266 SANGER AVE                                                                                 WATERVILLE        NY    13480‐1122
ELIZABETH S PHELPS                                  3050 MILITARY RD NW #221                                                                       WASHINGTON        DC    20015‐1344
ELIZABETH S RILEY                                   PO BOX 116                                                                                     JAMISON           PA    18929‐0116
ELIZABETH S RODITAKIS                               89 RAYMOND HALL DR                                                                             NORTH ATTLEBORO   MA    02760‐3523

ELIZABETH S RODNEY                                  2003 E SEVENTH ST                                                                              ANDERSON          IN    46012‐3503
ELIZABETH S SCHARETT                                2719 FLAGAMI LN                                                                                NORTH PORT        FL    34286‐6113
ELIZABETH S SORG                                    22660 REMINGTON CT                                                                             ELKHART           IN    46514‐4674
ELIZABETH S THREATT                                 1843 ETTERS LANE                                                                               CASSATTS          SC    29032‐9266
ELIZABETH S TYSON                                   22881 CAMINITO PLUMAS #34                                                                      LAGUNA HILLS      CA    92653‐1121
ELIZABETH S VINCENT                                 22 WILLIAMSBURG DR                                                                             ORANGE            CT    06477‐1230
ELIZABETH S WEAVER                                  2975 STONEQUARRY ROAD                                                                          DAYTON            OH    45414‐1415
ELIZABETH S WHEELOCK                                1405 W NEWTON ST                                                                               DOTHAN            AL    36303‐3924
ELIZABETH S WHITE                                   952 CHEROKEE RD                                                                                CHARLOTTE         NC    28207‐2242
ELIZABETH SANG SHECHTMAN                            22 BAYSIDE DR                                                                                  GREAT NECK        NY    11023‐2027
ELIZABETH SARAH BERGER                              510 N REXFORD DRIVE                                                                            BEVERLY HILLS     CA    90210‐3310
ELIZABETH SARAH QUIGLEY & WILLIAM DAVID QUIGLEY     101 SMITH ST                                                                                   WAKEFIELD         MI    49968‐1030
JT TEN
ELIZABETH SARTORI                                   29054 ELMWOOD                                                                                  GARDEN CITY       MI    48135‐2414
ELIZABETH SAUNDERS TROUTMAN                         601 ROOSEVELT ST                                                                               WESTFIELD         NJ    07090‐4172
ELIZABETH SAVAGE                                    18640 INDIANA ST                                                                               DETROIT           MI    48221‐2050
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Name                                              Address1                               Address2                       Address3   Address4          City               State Zip

ELIZABETH SAVOY                                   434 S GUIDRY ST                                                                                    CHURCH POINT       LA    70525‐3612
ELIZABETH SCHULZ                                  43 WRIGHTS MILL ROAD                                                                               ARMONK             NY    10504‐1136
ELIZABETH SCHUNEMAN SHEROD                        5695 NEWBERRY AVE N                                                                                STILLWATER         MN    55082‐5483
ELIZABETH SELLARS                                 10 MORRIS TERR                                                                                     GLASSBORO          NJ    08028‐1630
ELIZABETH SETA                                    36630 TULANE                                                                                       STERLING HEIGHTS   MI    48312‐2865

ELIZABETH SEWELL WROTAN                           5695 S KENNETH AVE                                                                                 BEAUMONT           TX    77705‐5925
ELIZABETH SHEPHERD                                1359 WARNER AVE                                                                                    LOS ANGELES        CA    90024‐5125
ELIZABETH SHERIDAN                                C/O ELIZABETH CONNORS                  PO BOX 632                                                  POINT LOOKOUT      NY    11569‐0632
ELIZABETH SHERRER BROWN                           PO BOX 492                                                                                         RYE BEACH          NH    03871‐0492
ELIZABETH SHIMANOVSKY                             49121 CONWAY COURT                                                                                 SHELBY TOWNSHIP    MI    48315‐3916

ELIZABETH SKELTON                                 2225 SHRYOCK FERRY ROAD                                                                            VERSAILLES         KY    40383‐9055
ELIZABETH SKORA                                   1801 E VALENCIA DR APT 4                                                                           CROWN POINT        IN    46307‐2171
ELIZABETH SMALL                                   10191 JUDD RD                                                                                      WILLIS             MI    48191‐9748
ELIZABETH SMITH                                   525 MEADOWBRIAR RD                                                                                 ROCHESTER          NY    14616‐1117
ELIZABETH SMITH                                   2319 KENDALL ST                                                                                    DETROIT            MI    48238‐2938
ELIZABETH SMITH                                   44251 PINE DR                                                                                      STERLING HTS       MI    48313‐1245
ELIZABETH SOYAK TR UA 11/17/88 THE SOYAK TRUST    5084 MENTMORE AVENUE                                                                               SPRING HILL        FL    34606‐1539

ELIZABETH STEGMAN                                 2710 WHISPERING CT                                                                                 SUGAR LAND         TX    77478‐1984
ELIZABETH STERRETT RASHID                         1607 PAINTERS XING                                                                                 CHADDS FORD        PA    19317‐9657
ELIZABETH STEUART MOORE                           5005 ROCKMERE COURT                                                                                BETHESDA           MD    20816‐2449
ELIZABETH STEWARD CUST ANNA STEWARD UGMA PA       15570 MEADOW WOOD DR                                                                               WELLINGTON         FL    33414‐9009

ELIZABETH STEWARD CUST CATHERINE STEWARD UGMA 15570 MEADOW WOOD DRIVE                                                                                WELLINGTON         FL    33414‐9009
PA
ELIZABETH STOCK CUST MICHAEL MANN STOCK UTMA 521 COLORADO AVE                                                                                        PALO ALTO          CA    94306‐2509
CA
ELIZABETH STOKES                              19497 SORRENTO ST                                                                                      DETROIT            MI    48235‐1235
ELIZABETH STOKOWSKI                           14224 SCHREIBER ROAD                                                                                   MAPLE HEIGHTS      OH    44137‐4738
ELIZABETH STOLFUS                             4841 E FREMONT CIR                                                                                     LITTLETON          CO    80122‐2444
ELIZABETH STONE GDN RICHARD STONEMAN          PO BOX 6860                                                                                            TACOMA             WA    98406‐0383
ELIZABETH STREVEL                             C/O NORDQUIST                              11874 CANTERBURY                                            STERLING HEIHGTS   MI    48312‐3019

ELIZABETH STUART STANDLEY CUST JAMES JACKSON      2035 URBAN DR                                                                                      LAKEWOOD           CO    80215‐1132
STANDLEY UGMA TX
ELIZABETH STUART STANDLEY CUST JAMES JACKSON      2035 URBAN DR                                                                                      LAKEWOOD           CO    80215‐1132
STANDLEY UGMA VA
ELIZABETH STUBBS MOTT                             C/O ELIZBETH STURBS MOTT               PO BOX 660                                                  MATHEWS            VA    23109‐0660
ELIZABETH SUE FAIR                                710 LINCOLN AVE                                                                                    SAINT PAUL         MN    55105
ELIZABETH SULLIVAN                                SCARBOROUGH MANNOR                     P O BOX 307 APT 5R BUILDING2                                SCARBOROUGH        NY    10510
ELIZABETH SUSAN AHLERS                            2411 E 114TH ST                                                                                    BURNSVILLE         MN    55337‐1109
ELIZABETH SZABO & BERT L SZABO JT TEN             730 W CURRY STREET                                                                                 CHANDLER           AZ    85225
ELIZABETH SZABO & RICHARD M SZABO JT TEN          3858 RED ARROW RD                                                                                  FLINT              MI    48507‐5402
ELIZABETH SZABO & RONALD L SZABO JT TEN           3858 RED ARROW RD                                                                                  FLINT              MI    48507‐5402
ELIZABETH SZAKMEISTER                             1959 SPRINGFIELD LAKE BLVD                                                                         AKRON              OH    44312‐3073
ELIZABETH T BALL                                  13220 RIDGEVIEW DR                     APT H                                                       NEWPORT NEWS       VA    23608‐1288
ELIZABETH T BEAVER                                593 BONNY EAGLE RD                                                                                 STANDISH           ME    04084‐6250
ELIZABETH T BENSEN & BRUCE S BENSEN JT TEN        1547 HOLLY ST                                                                                      WEST LINN          OR    97068‐3326
ELIZABETH T COON                                  5243 E BLANCHE DR                                                                                  SCOTTSDALE         AZ    85254‐2324
ELIZABETH T CZERSKI                               2615 PECKSNIFF RD                                                                                  WILM               DE    19808‐3026
ELIZABETH T HOSLEY                                25 SUNDROP COURT                                                                                   COVINGTON          GA    30016
ELIZABETH T HOULIHAN TR UA 10/30/92 ELIZABETH T   113 PINE STREET                                                                                    GARDEN CITY        NY    11530‐6618
HOULIHAN LIVING TRUST
ELIZABETH T LINDSTROM                             12880 CARDINAL CREST DR                                                                            BROOKFIELD         WI    53005‐6584
ELIZABETH T MUGLER                                232 W GILBERT ST                       APT 131                                                     HAMPTON            VA    23669
ELIZABETH T MUSIAL TR ELIZABETH T MUSIAL          16722 WHITE HAVEN DR                                                                               NORTHVILLE         MI    48167‐2330
REVOCABLE TRUST UA 11/26/97
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

ELIZABETH T NASH                                 109 E MIMOSA CIRCLE                                                                            SAN MARCOS         TX    78666
ELIZABETH T RYAN TR ELIZABETH T RYAN TRUST UA    2401 RYAN PLACE                                                                                WALLED LAKE        MI    48390‐4136
12/09/03
ELIZABETH T SEEGER PAYNE                         6650 RUTLEDGE DRIVE                                                                            FAIRFAX STATION    VA    22039‐1700
ELIZABETH T WALKER TR ELIZABETH T WALKER TRUST   2501 SUMMIT AVE                       #333                                                     WAUKESHA           WI    53188‐2772
UA 06/15/94
ELIZABETH T WILLIAMSON                           11528 SNOWFIELD CT                                                                             TRAVERSE CITY      MI    49686‐9249
ELIZABETH T ZEMLA                                495 E GARRISON ROAD                                                                            OWOSSO             MI    48867‐9760
ELIZABETH TAILLIE                                4560 NINE MILE POINT RD               APT 168                                                  FAIRPORT           NY    14450‐8791
ELIZABETH TEENEY ROCKENBACH                      17 N PENN ST                                                                                   CLIFTON HEIGHTS    PA    19018‐1616
ELIZABETH TEMPLETON                              14555 CYPRESS ST                                                                               SAN LEANDRO        CA    94579‐1024
ELIZABETH TERESE CARPENTER                       38 EAST 64TH ST #6                                                                             NEW YORK           NY    10021‐7353
ELIZABETH THOMAS & DOUGLAS THOMAS JT TEN         990 CHAPEL HILL DR                                                                             LAWRENCEVILLE      GA    30045‐2372
ELIZABETH THOMPSON                               546 PARK AVE                                                                                   GALION             OH    44833‐1240
ELIZABETH TONEY                                  713 ADDISON PL                                                                                 CRESTVIEW          FL    32536‐3205
ELIZABETH TORRES                                 647 MULFORD RD                                                                                 WYNCOTE            PA    19095‐1109
ELIZABETH TUCKER EDDY                            3013 KENDAL WAY                                                                                SLEEPY HOLLOW      NY    10591‐1064
ELIZABETH TUTTLE CUST MILES MCCLELLAN TUTTLE     1005 LAKE AVE                                                                                  GREENWICH          CT    06831‐2712
UGMA CT
ELIZABETH TWEED VOIGT                            37334 ST HWY 65                                                                                NASHWAUK           MN    55769‐4074
ELIZABETH TYLER HINSON                           98 QUEEN STREET                                                                                CHARLESTON         SC    29401‐2427
ELIZABETH U KRATTINGER                           84 BROOK ST                                                                                    GARDEN CITY        NY    11530‐6313
ELIZABETH USHOCK                                 10 NORTH WOOD AVE                     UNIT 502                                                 LINDEN             NJ    07036‐5228
ELIZABETH V A SHELDON                            160 MALDEN BRIDGE RD                                                                           NASSAU             NY    12123‐2002
ELIZABETH V BEYNON                               6209 BARBARA LANE                                                                              LINCOLN            NE    68512‐1908
ELIZABETH V BEYNON TR ZINAIDA & JOHN & PETER     6209 BARBARA LANE                                                                              LINCOLN            NE    68512‐1908
BENYON TRUST UA 11/03/86
ELIZABETH V BRANTL                               4 ORCHAID LANE                                                                                 BRICK              NJ    08724‐5403
ELIZABETH V DOMBROWSKI                           3727 WHITE AVE                                                                                 BLASDELL           NY    14219‐2560
ELIZABETH V GOINS                                4440 BEATTIE RD                                                                                MUSKEGON           MI    49445‐9541
ELIZABETH V HEMBROOK                             189 S COLLIER BLVD                    APT C203                                                 MARCO ISLAND       FL    34145
ELIZABETH V MUCKENTHALER                         2447 OAKWOOD DRIVE                                                                             FLINT              MI    48504‐6508
ELIZABETH V REGAN                                104 MYRTLE AVE                                                                                 EDGEWATER          NJ    07020‐1406
ELIZABETH V WHITNEY                              942 PARK PL                                                                                    NILES              OH    44446‐3555
ELIZABETH VAN DE WATER                           1725 WALNUT STREET                                                                             LANSDALE           PA    19446‐1136
ELIZABETH VAN HORN C GORDON                      39 MIMOSA DR                                                                                   COS COB            CT    06807‐1402
ELIZABETH VATES TR UA 12/27/93 ELIZABETH VATES   803 BROWNSVILLE RD                                                                             PITTSBURGH         PA    15210‐2347
TRUST
ELIZABETH VEAL                                   117 E SHERMAN                                                                                  FLINT              MI    48505‐2701
ELIZABETH VERHOVEN                               5375 QUEST DR SW                                                                               WYOMING            MI    49418‐8355
ELIZABETH W ANDERSON                             201 S CHESTER RD                                                                               SWARTHMORE         PA    19081‐1929
ELIZABETH W APPLING                              3473 SADDLEBROOK DR                                                                            LOGANVILLE         GA    30052‐4363
ELIZABETH W COFFMAN                              760 W 9TH ST                                                                                   CLAREMONT          CA    91711‐3743
ELIZABETH W DAVIS                                1198 EASTBROOK AVE NW                                                                          ORANGEBURG         SC    29115‐4510
ELIZABETH W DOZIER                               9303 ARROWWOOD DRIVE                                                                           SHREVEPORT         LA    71118‐3500
ELIZABETH W DUNKERLEY CUST KEITH WILLIAM         1015 LIBERTY LANE                                                                              WARRINGTON         PA    18976‐1735
DUNKERLEY UGMA PA
ELIZABETH W EASTHAM FAMILY LIMITED PARTNERSHIP   PO BOX 27944                                                                                   HOUSTON            TX    77227‐7944

ELIZABETH W GILROY                                C/O SUMMIT PACKAGING SYS INC         BOX 5304                                                 MANCHESTER         NH    03108‐5304
ELIZABETH W GILROY TR ELIZABETH W GILROY TRUST UA 221 MOUNTAIN RD                                                                               CONCORD            NH    03301‐6934
07/11/91
ELIZABETH W GILROY TR ELIZABETH W GILROY TRUST UA 221 MOUNTAIN RD                                                                               CONCORD            NH    03301‐6934
12/29/94
ELIZABETH W HENRY & ROBERT E HENRY TEN ENT        269 BRODHEAD AVE                                                                              EAST STROUDSBURG PA      18301‐2904

ELIZABETH W JACKSON                              3931 LINCOLN RD                                                                                BLOOMFIELD HILLS   MI    48301‐3964

ELIZABETH W LENNEY                               423 PROSPECT ST                                                                                HERKIMER           NY    13350‐1912
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

ELIZABETH W LOUGHRAN & MARY CAVANAUGH             125 QUAKER HILL LN APT 233                                                                      PORTSMOUTH      RI    02871‐4074
CASHMAN JT TEN
ELIZABETH W MCDONALD                              1725 DORCHESTER DRIVE                                                                           OKLAHOMA CITY   OK    73120‐1005
ELIZABETH W MILLER                                5954 OCEAN GTWY                                                                                 TRAPPE          MD    21673‐2003
ELIZABETH W MONROE                                298 W COLUMBIA                                                                                  PONTIAC         MI    48340‐1710
ELIZABETH W MORRISON                              3292 CARDINAL CT                                                                                MURRYSVILLE     PA    15668‐1412
ELIZABETH W PATTON                                14 WELLINGTON ST #2                                                                             ARLINGTON       MA    02476
ELIZABETH W REID                                  2558 MASSILLON RD                                                                               AKRON           OH    44312‐5359
ELIZABETH W REYNOLDS                              189 JACKSON AVE                                                                                 SYOSSET         NY    11791‐4218
ELIZABETH W SALE                                  4304 CHESAPEAKE AVE                                                                             HAMPTON         VA    23669‐4638
ELIZABETH W SCHOFIELD                             313 QUEENSBERRY CIRCLE                                                                          PITTSBURGH      PA    15234‐1048
ELIZABETH W SCHONITZER                            2626 N LAKEVIEW UNIT 1008                                                                       CHICAGO         IL    60614‐1811
ELIZABETH W SMITH                                 BOX 183                                                                                         WOODSTOWN       NJ    08098‐0183
ELIZABETH W SMITH                                 1380 MARICE DR APT 252                                                                          EAGAN           MN    55121‐2138
ELIZABETH W TYRRELL                               6601 W 131ST ST                                                                                 OVERLAND PARK   KS    66209‐4001
ELIZABETH WAGERS & EVELYN SHIREL JT TEN           2670 GARLAND RD                                                                                 BURNSIDE        KY    42519‐9521
ELIZABETH WALTER                                  162 N HERMAN AVE                                                                                AUBURN          NY    13021‐2914
ELIZABETH WANG                                    577 FALETTI WAY                                                                                 RIVER VALE      NJ    07675‐6037
ELIZABETH WASKIEWICZ                              7800 RIVERDALE AVE                                                                              BALTIMORE       MD    21237‐2719
ELIZABETH WEEDEN                                  104 VICTORY                                                                                     PONTIAC         MI    48342‐2561
ELIZABETH WELLS TAYLOR                            24 SPRING VALLEY DR                                                                             HOLMDEL         NJ    07733‐2334
ELIZABETH WENDY TRACHTE                           PO BOX 867                                                                                      BELLVILLE       TX    77418‐0867
ELIZABETH WEST                                    10143 MONARCH DR                                                                                ST LOUIS        MO    63136‐5603
ELIZABETH WHITNEY SANGER                          19 E HARDING AVE                                                                                LA GRANGE PK    IL    60526‐5625
ELIZABETH WICK                                    2159 HWY 6                                                                                      ADEL            IA    50003‐8154
ELIZABETH WILLIAMS MOODY                          OLD BEDFORD RD                                                                                  NEW BOSTON      NH    03070
ELIZABETH WILSON                                  707 PINE TERRACE CT                    ALTAMONTE SPGS                                           ALTAMONTE SPG   FL    32714‐1802
ELIZABETH WINTHROP                                32 CLUBHOUSE DR                                                                                 WOODBURY        CT    06798‐3205
ELIZABETH WIRTH                                   9627 E GOLD DUST AVE                                                                            SCOTTSDALE      AZ    85258
ELIZABETH WOMACK                                  PO BOX 86804                                                                                    BATON ROUGE     LA    70879‐6804
ELIZABETH WORD                                    20379 WHATLEY RD                                                                                OKOLONA         MS    38860‐9405
ELIZABETH WRIGHT                                  2668 ABBEY KNOLL DR                                                                             LEWIS CENTER    OH    43035‐8744
ELIZABETH WYCKOFF                                 2732 BAYWATER CT                                                                                GREENWOOD       IN    46143
ELIZABETH Y GENTRY                                216 RUTHERFORD ST                                                                               SALISBURY       NC    28144‐2734
ELIZABETH Y KIELBASINSKI                          1480 N BROAD ST                                                                                 MERIDEN         CT    06450‐2444
ELIZABETH YATES                                   3303 N LAKEWOOD AVE                                                                             CHICAGO         IL    60657‐1407
ELIZABETH Z ASHLEY TR UA 07/14/93 ELIZABETH Z     1240 BABLER PARK DRIVE                                                                          WILDWOOD        MO    63038‐1311
ASHLEY
ELIZABETH ZACHARKO                                2174 3RD ST                                                                                     BAY CITY        MI    48708‐6303
ELIZABETH ZACHARKO & ELLEN SPENCE JT TEN          2174 3RD ST                                                                                     BAY CITY        MI    48708‐6303
ELIZABETH ZACHARKO & KEVIN ZACHARKO JT TEN        2174 3RD ST                                                                                     BAY CITY        MI    48708‐6303
ELIZABETH ZACHARKO & MARY ANNETTE LARKIN JT TEN   2174 3RD ST                                                                                     BAY CITY        MI    48708‐6303

ELIZABETH ZACHARKO & PAUL T ZACHARKO JT TEN       2174 3RD ST                                                                                     BAY CITY        MI    48708‐6303

ELIZABETH ZACHARKO & PETER T ZACHARKO JT TEN      2174 3RD ST                                                                                     BAY CITY        MI    48708‐6303

ELIZABETH ZAREK & JOHN V ZAREK JT TEN             4376 PARKINSON                                                                                  DETROIT         MI    48210‐2874
ELIZABETHANN COOK                                 800 WEST 1ST ST #2805                                                                           LOS ANGELES     CA    90012‐2436
ELIZBETH GRAY TR UA 03/04/94 ELIZABETH GRAY       1612 SW 12TH S                                                                                  MIAMI           FL    33135‐5322
REVOCABLE TRUST
ELKA L ROTTMAN CUST ELIYAHU ROTTMAN UTMA MD       6905 PARK HEIGHTS AVE                                                                           BALTIMORE       MD    21215‐1607

ELKE PROVITZ TR ELKE PROVITZ REVOCABLE TRUST UA   41965 KING EDWARD CT                                                                            CLINTON TWP     MI    48038‐4525
10/03/00
ELKHART COUNTY 4‐H SADDLE CLUB                    C/O STAN KNAFEL                        17746 C R 34                                             GOSHEN          IN    46526‐9261
ELKINS W DAHLE JR                                 3314 ROSALIE AVE                                                                                BALTIMORE       MD    21234‐7929
ELLA A SCOTT                                      5655 COACH DR E #I                                                                              KETTERING       OH    45440‐2769
ELLA ADKINS                                       2050 SHARON                                                                                     DETROIT         MI    48209‐1431
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ELLA B KASPAR                                      C/O OFFICE OF THE PUBLIC ADMIN         320 W TEMPLE ST                                          LOS ANGELES       CA   90012‐3208
ELLA C WALKER                                      3504 RIDGEFIELD RD                                                                              LANSING           MI   48906‐3547
ELLA D NASTWOLD                                    748 RIDECREST DR                                                                                FENTON            MI   48430‐4152
ELLA D RELERFORD                                   4144 TOWNVIEW DR                                                                                FLINT             MI   48532‐2731
ELLA E GARASIC                                     9533 SEAWAY DR                                                                                  ALGONAC           MI   48001‐4380
ELLA E HART                                        6659 OAKLAND RD                                                                                 LOVELAND          OH   45140‐6044
ELLA E HATCH & STEVEN W HATCH JT TEN               4774 HIAWATHA DRIVE                                                                             GAINESVILLE       GA   30506‐2678
ELLA E ROSENGREN                                   1000 PAVILLIONS CIR                                                                             TRAVERSE CITY     MI   49684‐3198
ELLA E SCHMIDT                                     29406 MAURICE COURT                                                                             CHESTER FIELD TWP MI   48047‐3752

ELLA E WEBB                                        100 WHITE HORSE AVE                                                                             MERCERVILLE      NJ    08610‐2624
ELLA ELIZABETH CRAWFORD                            2200 NIAGARA ST                                                                                 DENVER           CO    80207‐4025
ELLA F DOLAN                                       8675 MULLWOOD DRIVE                                                                             ESTERO           FL    33928‐4025
ELLA F MCCRAY                                      PO BOX 206                                                                                      LAURENS          SC    29360‐0206
ELLA FORD MOORE                                    PO BOX 889                                                                                      GEORGETOWN       SC    29442‐0889
ELLA G FOX                                         4 SHEFFIELD DR                                                                                  MANALAPAN        NJ    07726‐3619
ELLA G HEAD                                        1865 CALSTOCK ST                                                                                CARSON           CA    90746‐2906
ELLA GONZALES                                      402 ASHLAND AVE APT B‐02                                                                        WAPAKONETA       OH    45895‐8377
ELLA GORELICK CUST YISROEL GORELICK UTMA NJ        190 REGENT DR                                                                                   LAKEWOOD         NJ    08701‐3074
ELLA GRAF                                          208 N FOREST RD                                                                                 WILLIAMSVILLE    NY    14221‐5235
ELLA H KALAS                                       2584 GARDNER BARKLEY                                                                            N BLOOMFIELD     OH    44450‐9791
ELLA H MILLS                                       PO BOX 342                                                                                      SODDY DAISY      TN    37384‐0342
ELLA HAMMOND                                       4001 CLARKS LN 505                                                                              BALTIMORE        MD    21215‐2684
ELLA HEYWARD PALMER                                PO BOX 1213                                                                                     MT PLEASANT      SC    29465‐1213
ELLA HOPSON                                        11145 SW 6TH ST                        APT 204                                                  PEMBROKE PNS     FL    33025‐6978
ELLA J WILKINSON & WILLIAM M WILKINSON JT TEN      ATTN MRS E LELLELID                    P O DRAWER B                                             COLMAN           SD    57017‐0232

ELLA J WOLFF & SUSAN A DURNELL JT TEN              5306 MARTINGALE LN                                                                              APOPKA           FL    32712‐5147
ELLA J WOODRUFF                                    13536 MAIN ST                                                                                   BATH             MI    48808‐9464
ELLA JACOBS                                        39 REO DR                                                                                       ROWLAND          NC    28383‐9752
ELLA JANE WITTENAUER                               446 E PARK AVE                                                                                  HUBBARD          OH    44425‐1627
ELLA JEFFERS                                       9679 E DREYFUS AVE                                                                              SCOTTSDALE       AZ    85260‐4462
ELLA JUNE CLARK TR UA WALTON FAMILY TRUST          3117 BROCKER RD                                                                                 METAMORA         MI    48455‐9700
11/08/80
ELLA KORENMAN                                      176 E 71ST ST                                                                                   NEW YORK         NY    10021‐5159
ELLA KUDLAK                                        7 AYERS LANE                                                                                    CLARK            NJ    07066
ELLA L CLAYTON                                     PO BOX 22244                                                                                    OAKLAND          CA    94623
ELLA L DUVAL                                       57 CASA WAY                                                                                     SAN FRANCISCO    CA    94123‐1206
ELLA L EMBRY                                       18696 WASHBURN                                                                                  DETROIT          MI    48221‐1916
ELLA L HAGER                                       1185 VEACHS CT                                                                                  PERU             IN    46970‐3000
ELLA L JACKSON                                     14153 PIEDMONT                                                                                  DETROIT          MI    48223‐2946
ELLA L LEE & GLENN E LEE JT TEN                    18633 GEORGE WASHINGTON                                                                         SOUTHFIELD       MI    48075‐2506
ELLA L SIMMONS                                     PO BOX 71464                                                                                    MADISON HTS      MI    48071‐0464
ELLA L WALTERS                                     2505 FOREST AVE                                                                                 LANSING          MI    48910‐3107
ELLA LOUISE BELL                                   630 SHAWS CORNER RD                                                                             DOVER            DE    19904‐4451
ELLA M BOWERS                                      PO BOX 99676                                                                                    TROY             MI    48099‐9676
ELLA M CANADA                                      174 DAWSON COURT                                                                                WESTLAND         MI    48186
ELLA M CARPENTER TOD ONEIDA F MUSIC SUBJECT TO     556 CIDER MILL WAY                                                                              TIPP CITY        OH    45371
STA TOD RULES
ELLA M COWART                                      458 BLOOMFIELD                                                                                  PONTIAC          MI    48341‐2804
ELLA M DES PAR0IS TOD BRIAN D DES PAROIS SUBJECT   5149 BETLO CT                                                                                   SAN JOSE         CA    95130‐1906
TO STA TOD RULES
ELLA M DOTSON                                      455 POWDER HORN RD                                                                              SAINT MARYS      GA    31558‐2609
ELLA M DOYLE                                       APT 10                                 1720 W BAYSHORE RD                                       PALO ALTO        CA    94303‐2405
ELLA M GREENWAY                                    206 OLD WHISKEY RD SW                                                                           NEW ELLENTON     SC    29809‐1416
ELLA M KIRKBY                                      8875 LIKOLA RD                                                                                  TUSTIN           MI    49688‐9615
ELLA M LE MOINE                                    S2447 JESSOP RD                                                                                 LA VALLE         WI    53941‐9508
ELLA M MALONE CUST LASHAWN R LOVE UGMA MI          1070 E KURTZ AVE                                                                                FLINT            MI    48505‐1512
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Name                                             Address1                                 Address2             Address3          Address4          City            State Zip

ELLA M MAYON                                     1595 KENSINGTON CIRCLE                                                                            LOS ALTOS       CA    94024‐6030
ELLA M MEDLIN                                    8629 S LECLAIRE                                                                                   BURBANK         IL    60459‐2846
ELLA M OLMSTEAD                                  1449 E BALDWIN RD                                                                                 GRAND BLANC     MI    48439‐8361
ELLA M OSTERMAN                                  436 NORTH FOREST RD                                                                               BUFFALO         NY    14221‐5062
ELLA M PATTERSON                                 15007 HIAWATHA ST                                                                                 MISSION HILLS   CA    91345‐2512
ELLA M ROSCH                                     3098 BLYTHEWOOD CT                                                                                BALDWINSVILLE   NY    13027‐1816
ELLA M SPRINGFIELD                               ATTN E GILES                             3334 COREY ROAD                                          TOLEDO          OH    43615‐1659
ELLA M TRUITT                                    706 GARNET RD                                                                                     WILMINGTON      DE    19804
ELLA M WEYMON                                    2344 SUNSET BLUFF DRIVE                                                                           HOLLAND         MI    49424‐2235
ELLA M WILHOIT                                   8415 N INDIAN CREEK PKWY                                                                          MILWAUKEE       WI    53217‐2343
ELLA M WILLIAMS                                  1323 OAKRIDGE DR                                                                                  DAYTON          OH    45417‐2450
ELLA MAE BURTON                                  9380 ST CLAIR AVE                        APT 201                                                  CLEVELAND       OH    44108‐1976
ELLA MAE HALKA                                   4392 W REID ROAD                                                                                  SWARTZ CREEK    MI    48473‐8858
ELLA MAE HARLOW                                  24 BOOTH ST                                                                                       NORTH ANDOVER   MA    01845‐5409
ELLA MAE HUBER                                   830 NW 60TH ST                                                                                    GAINESVILLE     FL    32605‐4137
ELLA MAE WALKER                                  6288 LANCASTER PLACE                                                                              ZIONSVILLE      IN    46077‐9168
ELLA MARIE NALLS                                 1863 E ABBOTTSON ST                                                                               CARSON          CA    90746‐2901
ELLA MEYERS TONY MEYERS & MARLENE M VERLICH JT   58966 TRAVIS ROAD                                                                                 NEW HUDSON      MI    48165‐9578
TEN
ELLA MEYROSE                                     1112 BANANA RIVER DRIVE                                                                           INDIAN HARBOR   FL    32937‐4103
                                                                                                                                                   BCH
ELLA N BURFORD & ELTON R BURFORD JT TEN           5235 PINE VIEW DR                                                                                CHARLESTON      WV    25313‐1629
ELLA NEWSOME                                      1423 TOWN HALL RD                                                                                DAYTON          OH    45432‐2648
ELLA R GILL                                       3383 HAMMERBERG                                                                                  FLINT           MI    48507‐3257
ELLA R JONES                                      1177 N VALLEYBROOK RD                                                                            DECATUR         GA    30033‐3801
ELLA R MOORE                                      1059 AYERS ST                                                                                    MEMPHIS         TN    38107
ELLA RUTH BUNCH                                   8723 PROMENADE LN                       APT 104                                                  SAINT PAUL      MN    55125‐9607
ELLA S PERKINS                                    8 HEATHER LN                                                                                     KENSINGTON      CT    06037‐2050
ELLA STANDFIELD                                   7316 MAPLELAWN DR                                                                                YPSILANTI       MI    48197‐1883
ELLA STRATTON                                     8 FAIRFIELD AVE                                                                                  OCEANPORT       NJ    07757‐1202
ELLA STROHMEIER                                   60 BLOSSOM RD                                                                                    WEST SENECA     NY    14224‐2502
ELLA W HORN                                       PO BOX 464                                                                                       OAK CREEK       WI    53154‐0464
ELLA Y MARGERUM                                   475 4TH AVE                                                                                      WARMINSTER      PA    18974‐4407
ELLABELLE S CONLEY                                813 TWIN OAKS ST                                                                                 DAYTON          OH    45431
ELLAINE MURRAY LA COURSE                          10073 OSGOOD WAY                                                                                 SAN DIEGO       CA    92126‐5112
ELLAJANE S RUNDLES TR ELLAJANE S RUNDLES TRUST UA 2304 GOLDEN POND                                                                                 FENTON          MI    48430‐1097
06/08/95
ELLAMARIE SAVIDGE                                 6947 NIUMALU LOOP                                                                                HONOLULU        HI    96825‐1637
ELLAN RUBIN                                       509 PUTNAM RD                                                                                    MERION          PA    19066‐1038
ELLARD HAWKINS                                    30584 SOUTHFIELD RD                     APT 256                                                  SOUTHFIELD      MI    48076‐1224
ELLARD JOSEPH PEXA JR                             8 MONROE LN                                                                                      AVON            CT    06001‐4524
ELLE BOLOVEN                                      8647 EVANGELINE                                                                                  DEARBORN HTS    MI    48127‐1257
ELLEANE RAJI                                      555 COPEMAN BLVD                                                                                 FLINT           MI    48503‐1115
ELLEN A BUFFINGTON                                2134 ONTARIO AVE                                                                                 SPRINGFIELD     OH    45505‐4736
ELLEN A CANLON                                    ROUTE 5 RD #1                           BOX 5                                                    WELLS RIVER     VT    05081‐0005
ELLEN A CAVALLA                                   51 OAK GROVE RD                                                                                  FLEMINGTON      NJ    08822‐5904
ELLEN A CROW                                      3417 ALCOTT ROAD                                                                                 VIRGINIA BCH    VA    23452
ELLEN A FELCH                                     36853 RIDGE RD APT 403                                                                           WILLOUGHBY      OH    44094‐4167
ELLEN A FRANK                                     6538 DONLEN DR                                                                                   ELLICOTTVILLE   NY    14731
ELLEN A GRUSECK                                   487 MARTELLO RD                                                                                  FRANKLIN        MA    02038‐2956
ELLEN A JACKSON                                   16219 FAIRFIELD ST                                                                               DETROIT         MI    48221‐3073
ELLEN A LILLIQUIST                                558 MAITLAND DR                         APT 28                                                   CHIPPEWA FLS    WI    54729‐4716
ELLEN A LORANGER TR UA 04/06/2010 ELLEN A         41 RUSSELL ST                                                                                    NASHUA          NH    03060
LORANGER REVOCABLE TRUST
ELLEN A NOEL                                      PO BOX 293                                                                                       NORTH JACKSON   OH    44451‐0293
ELLEN A RUDOLPH                                   4953 CLINE HOLLOW RD                    APT 163                                                  MURRYSVILLE     PA    15668‐1591
ELLEN ALLEN TOD VIOLETTE E BASKERVILLE            10095 ASTORIA RD                                                                                 HUGGINS         MO    65484
ELLEN ANITA JEAN ASHTON                           350 ANNAPOLIS AVE                       OSHAWA ON                              L1J 2Y2 CANADA
ELLEN ANITA SHAPIRO PRIETO                        12 BRICK CHURCH RD                                                                               PIPERSVILLE     PA    18947‐9313
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Name                                               Address1                                Address2             Address3          Address4          City               State Zip

ELLEN ANN MCCLAIN MCKINLAY                         1116 EASTERN VALLEY RD                                                                           BESSEMER           AL    35020‐8605
ELLEN ANNE COOPER                                  BOX 58                                                                                           WILTON             CT    06897‐0058
ELLEN ANNE PANETTA                                 41452 WATERFALL                                                                                  NORTHVILLE         MI    48167‐2245
ELLEN ANSLEY                                       780 POLO CLUB DRIVE                                                                              AUSTIN             TX    78737
ELLEN ARESTY CUST JOSHUA F ARESTY UGMA MA          728 SALEM END RD                                                                                 FRAMINGHAM         MA    01702‐5545
ELLEN AUGUSTINE MARGARET KERR                      250 FOXLEY WAY                                                                                   ROSWELL            GA    30075‐1789
ELLEN B BROWN                                      4130 KENDALL                                                                                     DETROIT            MI    48238‐3739
ELLEN B EADES                                      4814 NW 18TH PL                                                                                  GAINESVILLE        FL    32605‐5709
ELLEN B GETEK                                      6397 FOUR OAKS LN                                                                                BURKE              VA    22015‐4052
ELLEN B GRANT                                      1346 ALEGRIANO AVE                                                                               CORAL GABLES       FL    33146‐1102
ELLEN B HOBBS                                      3620 HENDRICK DR                                                                                 PLANO              TX    75074‐4210
ELLEN B KANNER                                     109 DUMBARTON DR                                                                                 HUNTINGTON         NY    11743‐2411
ELLEN B KENNEDY                                    116 DRIFTWOOD PLACE                                                                              ST SIMONS ISLAND   GA    31522‐1413

ELLEN B KENNEDY CUST KAREN E KENNEDY UTMA GA       116 DRIFTWOOD PL                                                                                 ST SIMONS IS       GA    31522‐1413

ELLEN B KENNEDY CUST TRACEY E KENNEDY UTMA GA      116 DRIFTWOOD PL                                                                                 ST SIMONS IS       GA    31522‐1413

ELLEN B MAC LELLAN                                 38 LAUREL CT                                                                                     BURLINGTON         VT    05401‐2651
ELLEN B SPEIER                                     2513 CENTRAL PARK BLVD                                                                           DENVER             CO    80238‐2744
ELLEN BARBARA BLANK                                ATTN ELLEN BARBARA EHRLICH              27 E 65TH ST                                             NEW YORK           NY    10065
ELLEN BERNICE EVENSEN & ROBERT G EVENSEN JT TEN    3695 BUTLER AVE                                                                                  KINGMAN            AZ    86401‐2322

ELLEN BLACK DEER                                   PO BOX 126                                                                                       ULMER              SC    29849‐0126
ELLEN BLOOMGARDEN CUST EVE D BLOOMGARDEN           1645 TUCKERSTOWN RD                                                                              DRESHER            PA    19025‐1306
UGMA PA
ELLEN BLOOMGARDEN CUST JANE F BLOOMGARDEN          1645 TUCKERSTOWN RD                                                                              DRESHER            PA    19025‐1306
UGMA PA
ELLEN BOLTON BERLAGE                               455 WINDSOR DRIVE S W                                                                            MARIETTA           GA    30064‐2944
ELLEN BOND SHEARER                                 46 BETHUNE BLVD                         SCARBOROUGH ON                         M1M 3C1 CANADA
ELLEN BORROWMAN                                    1505 SPRUCE ST                                                                                   BERKELEY           CA    94709‐1522
ELLEN BRANTLEY                                     3201 SAN ANDREAS DR                                                                              UNION CITY         CA    94587
ELLEN BRAVO                                        9 HEATHER HILL WAY                                                                               MENDHAM            NJ    07945
ELLEN BRITTON CUST ALEXANDER BRITTON KING UTMA     557 ELAINE DR                                                                                    NASHVILLE          TN    37211‐3629
TN
ELLEN BRITTON CUST CAROLINE BRITTON KING UTMA      557 ELAINE DRIVE                                                                                 NASHVILLE          TN    37211‐3629
TN
ELLEN BROCK                                        47553 SHELBY RD                                                                                  UTICA              MI    48317‐3161
ELLEN BROCK TR ELLEN BROCK REVOCABLE LIVING        47555 SHELBY RD                                                                                  SHELBY TWP         MI    48317‐3161
TRUST UA 02/04/99
ELLEN BROWN CUST CHRISTOPHER EDWARD BROWN          32 STIHMAN AVE                                                                                   BERGENFIELD        NJ    07621‐3018
UGMA NJ
ELLEN BURNS                                        7624 MELBOURNE ROAD                                                                              SAGINAW            MI    48604‐9781
ELLEN C DONDERS                                    8595 S COOLIDGE AVE                                                                              FARWELL            MI    48622‐8500
ELLEN C EGGERT TR ELLEN C EGGERT LIVING TRUST UA   344 D AVENIDA SEVILLA                                                                            LAGUNA HILLS       CA    92653‐3890
08/15/00
ELLEN C HALL                                       5132 AMERICO LN                                                                                  ELKTON             FL    32033‐4027
ELLEN C HEANEY CUST LYNN MARIE HEANEY UGMA PA      610 MEADOW LANE                                                                                  CLARKS SUMMIT      PA    18411‐2410

ELLEN C INGOLD                                     3700 BRANDYWINE DR                                                                               GREENSBORO     NC        27410‐2204
ELLEN C KALCHTHALER                                141 PRESCOTT DR                                                                                  PITTSBURGH     PA        15235‐4645
ELLEN C MILAN                                      57449 NICHOLAS DR                                                                                WASHINGTON TWP MI        48094‐3159

ELLEN C MOONEY                                     286 MEETING ST                          APT D                                                    CHARLESTON         SC    29401‐1564
ELLEN C PLAYER                                     646 W FOSS AVE                                                                                   FLINT              MI    48505
ELLEN C PROCELL                                    2820 CRESTVIEW ST                                                                                TYLER              TX    75701‐7011
ELLEN C REYNOLDS                                   41 CAMP STREET                                                                                   PAXTON             MA    01612‐1522
ELLEN C SCHWAB                                     PO BOX 937                                                                                       SIERRA VISTA       AZ    85636‐0937
ELLEN C STEELE                                     1524 E DIVOT DRIVE                                                                               TEMPE              AZ    85283‐5123
                                            09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

ELLEN C YOUNKINS                                  60 BENTWOOD CT E                                                                                ALBANY             NY    12203‐4810
ELLEN CAMPBELL                                    3454 WEST SCHUBERT                                                                              CHICAGO            IL    60647‐1227
ELLEN CAMPBELL BRANDOM                            115 GREENBRIER                                                                                  SIKESTON           MO    63801‐4807
ELLEN CASALS‐ARIET                                25 CLAREMONT AVE                                                                                NEW YORK           NY    10027‐6813
ELLEN CHAN                                        17 PERKINS DRIVE                                                                                ARCADIA            CA    91006‐1854
ELLEN CHAPIN                                      48 CRANFORD LN                                                                                  GROSSE POINTE      MI    48230
ELLEN CHAPMAN WILKEN                              36 WATERFORD CT                                                                                 GRANVILLE          OH    43023‐9501
ELLEN CHRISTIAN & JOHN CHRISTIAN JT TEN           619 BEVERLY RD                                                                                  PITTSBURGH         PA    15243‐1133
ELLEN COPELAND LOTT                               4403 ACACIA                                                                                     BELLAIRE           TX    77401‐4301
ELLEN CUMMINGS                                    15 PERRY AVE A‐12                                                                               NORWALK            CT    06850‐1699
ELLEN CURSON                                      115 ROULOER RD                                                                                  PLYMOUTH           PA    19462
                                                                                                                                                  MEETING
ELLEN D BALDWIN                                   533 CRERAR AVE                         OSHAWA ON                              L1H 2W6 CANADA
ELLEN D BALDWIN                                   533 CRERAR AVE                         OSHAWA ON                              L1H 2W6 CANADA
ELLEN D BRAGGS                                    2980 E LAFAYETTE                                                                                DETROIT            MI    48207‐3827
ELLEN D FITZGERALD                                105 S RIDGE ST                                                                                  SOUTHERN PINES     NC    28387‐6129
ELLEN D O RODGERS SMITH                           1408 7TH ST N                                                                                   COLUMBUS           MS    39701‐3429
ELLEN D WITCHER                                   302 E GATEHOUSE #C                                                                              METAIRIE           LA    70001
ELLEN DAVID NELSON                                3961 S MOSSY ROCK                                                                               EVERGREEN          CO    80439‐8516
ELLEN DAWN DUNAWAY                                1521 FALLEN LEAF DR NW                                                                          MARIETTA           GA    30064‐4856
ELLEN DONOVAN                                     C/O MRS ELLEN RONCKETTI                14 S GLENWOOD AVE                                        CLEARWATER         FL    33755‐6303
ELLEN DULANEY                                     2164 IVYLGAIL DR E                                                                              JACKSONVILLE       FL    32225‐2036
ELLEN E APPLEWHITE                                PO BOX 73                                                                                       ABITA SPRINGS      LA    70420‐0073
ELLEN E BACHARACH                                 C/O E B ARMSTRONG                      PO BOX 45                                                GRIMES             CA    95950‐0045
ELLEN E BACKARACK                                 C/O E B ARMSTRONG                      PO BOX 45                                                GRIMES             CA    95950‐0045
ELLEN E BASSO                                     33 DONCASTER AVE                                                                                WEST ISLIP         NY    11795‐1220
ELLEN E BLIGH                                     1907 GLENWOOD DRIVE                                                                             OCEAN CITY         NJ    08226‐2610
ELLEN E BUXTON CUST EMILY JANE BUXTON UTMA NH     16 HIGH RIDGE DRIVE                                                                             PAWCATUCK          CT    06379‐1264

ELLEN E CUNNINGHAM                                15126 PINE VALLEY TRL                                                                           CLEVELAND          OH    44130‐5527
ELLEN E ENGLISH                                   99 HARLAND ROAD                                                                                 NORWICHTOWN        CT    06360‐2430
ELLEN E FORSMAN                                   1694 INVERNESS COURT                                                                            ANN ARBOR          MI    48108
ELLEN E JORDAN                                    2030 WOODHAVEN LANE                                                                             DULUTH             MN    55803‐2447
ELLEN E KING                                      711 QUINN RD                                                                                    WEST ALEX          OH    45381‐8341
ELLEN E OESTREICH                                 1135 IVYGLEN CIR                                                                                BLOOMFIELD HILLS   MI    48304‐1236

ELLEN E PHILLIPS                                  3037 FERNHEATH                                                                                  COSTA MESA         CA    92626‐2726
ELLEN E RAY CUST JOHN ANDREW QUINLISK UNDER       2640 MAPLE TREE DR                                                                              ST CHARLES         MO    63303‐4460
THEMO TRANSFERS MINORS LAW
ELLEN E STUDEBAKER & MARGARET A JENCKS &          6314 ANDERSONVILLE RD                                                                           WATERFORD          MI    48329
VIRGINIA M COVENTRY JT TEN
ELLEN E TRENOLONE                                 703 REDWOOD DRIVE                                                                               INDEPENDENCE       MO    64056‐1938
ELLEN E WALTERS                                   709 MELEAR RD                                                                                   BOWDEN             GA    30108‐2041
ELLEN EMELY SEPE                                  C/O PETER A SEPE                       83 TODDY HILL RD                                         SANDY HOOK         CT    06482
ELLEN ERNST KOSSEK                                8751 WOODRIDGE DR                                                                               WILLIAMSBURG       MI    49690‐9556
ELLEN ESTHER LEVIN                                SOUNDVIEW AVE                                                                                   SOUTHOLD           NY    11971
ELLEN F COLBURN TR UA 10/11/1994 COLBURN LIVING   2243 LARCHMONT DRIVE                                                                            WICKLIFFE          OH    44092
TRUST
ELLEN F HAICL                                     PO BOX 67                                                                                       SAINT HELEN        MI    48656‐0067
ELLEN F HARVEY                                    8 HOLLY ST                                                                                      SALEM              MA    01970‐4611
ELLEN F RYAN                                      429 MILLTOWN RD                                                                                 BREWSTER           NY    10509‐5214
ELLEN F WARREN                                    1003 WELLINGTON ROAD                                                                            JENKINTOWN         PA    19046‐3827
ELLEN FAK PRINCE                                  232 WETHERBY ST                                                                                 VENICE             FL    34293‐8217
ELLEN FORMAN LASSER CUST JONATHAN MATTHEW         31 ROBERTA DR                                                                                   CORTLANDT MNR      NY    10567
LASSER UGMA NY
ELLEN FRANCIS BOROVSKY                            C/O ELLEN B CARMELL                    1 BANEBERRY LN                                           DEERFIELD          IL    60015‐3534
ELLEN FRANK TR UW LEON FRANK                      919 N CENTRAL AVE                                                                               WOODMERE           NY    11598
ELLEN G COX                                       30460 VINES CREEK RD                                                                            DAGSBORO           DE    19939‐9609
ELLEN G DEFOOR                                    2381 N PARK AVE                                                                                 WARREN             OH    44483‐3443
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Name                                              Address1                                Address2             Address3          Address4                 City             State Zip

ELLEN G DRESCHEL                                  1222 GREENWOOD ROAD                                                                                     RINGGOLD         GA    30736
ELLEN G HAMILL                                    8605 LANCOME DR                                                                                         PLANO            TX    75025
ELLEN G HUGO                                      961 REGATTA DR                                                                                          SACRAMENTO       CA    95833
ELLEN G JACKSON                                   480 NORTHRIDGE DR                                                                                       LAFAYETTE        GA    30728‐4737
ELLEN G MORROW & GARY KENT MORROW JT TEN          13309 KINGS GLEN DRIVE                  ST LOUIS                                                        SAINT LOUIS      MO    63131

ELLEN G OLSON WATSON                                110 ARBON LANE                                                                                        NEW BERN         NC    28562‐8729
ELLEN GALLIVAN                                      705 ELM ST                                                                                            ROME             NY    13440‐3218
ELLEN GOLDFIELD KURNIT                              PO BOX 5513                                                                                           SANTA FE         NM    87502‐5513
ELLEN GONECONTI                                     12 CARLTON CT                                                                                         NEW CITY         NY    10956‐5830
ELLEN GRACE JONES                                   302 MCLEAN ST                                                                                         WILKES BARRE     PA    18702‐4519
ELLEN GRIMES                                        49 LILAC LN                                                                                           S BURLINGTON     VT    05403‐9200
ELLEN H MCEVILY                                     21 LINCOLN ST                                                                                         LARCHMONT        NY    10538‐2705
ELLEN HAFELE                                        10 N MAIN ST                          PO BOX 487                                                      SELBYVILLE       DE    19975‐0487
ELLEN HANICK                                        9 HALLISEY DR                                                                                         NEWBURYPORT      MA    01950‐6518
ELLEN HART                                          1511 COUNTRY CLUB LN                                                                                  SPENCER          IA    51301‐2648
ELLEN HART                                          1511 COUNTRY CLUB LANE                                                                                SPENCER          IA    51301‐2648
ELLEN HOPKINS SCOTT                                 6136 DAN PATCH CT                                                                                     INDIANAPOLIS     IN    46237‐3132
ELLEN I BROWN                                       4773 RIDGE ROAD                                                                                       LOCKPORT         NY    14094‐9719
ELLEN I ISAAC                                       204 WEST TRENTON                                                                                      SHARPSVILLE      IN    46068‐9343
ELLEN I MISURELLA                                   664 CLIFFWOOD AVE                                                                                     CLIFFWOOD        NJ    07735‐5109
ELLEN ISABEL GEHEEB                                 3159 KNOLLWOOD DR                     APT 86                                                          MOBILE           AL    36693‐2756
ELLEN J ANDERSON                                    8248 EVERGREEN                                                                                        SAGAMORE HILLS   OH    44967
ELLEN J DILDINE TR REVOCABLE LIVING TRUST OF ELLEN 3689 CRYSTAL VALLEY DR                                                                                 HOWELL           MI    48843‐5404
J DILDINE UA 6/1/05
ELLEN J GILLINGS & HARLOW E GILLINGS JT TEN         4026 W MAIN ST RD                                                                                     STERLING         MI    48659‐9429
ELLEN J HYMES                                       1140 CONCORD                                                                                          NORTHVILLE       MI    48167‐3309
ELLEN J KLUCK                                       ATTN ELLEN J MEADOWS                  104 STOCKWOOD CT                                                WOODSTOCK        GA    30188‐3863
ELLEN J MENDELSON                                   PO BOX 1332                                                                                           PALATINE         IL    60078‐1332
ELLEN J MOORE TR 11/04/97 ELLEN J MOORE REV         5738 BRYANT RD                                                                                        LUDINGTON        MI    49431‐1582
LIVING TRUST
ELLEN J SMITH                                       ATTN ELLEN J RAMSEY                   27191 ACADEMY                                                   ROSEVILLE        MI    48066‐4748
ELLEN J STAPLETON                                   510 MITCHELL RIDGE ROAD               PO BOX 531                                                      BAINBRIDGE       OH    45612‐0531
ELLEN J SWEENEY                                     1132 WOODGLEN AVENUE                                                                                  YPSILANTI        MI    48198‐6216
ELLEN J WOJTON                                      161 FERNWOOD DR                                                                                       HARRINGTON       DE    19952‐6002
ELLEN JABLON MAYNARD                                23 KNOLLWOOD DR                                                                                       LIVINGSTON       NJ    07039‐3137
ELLEN JANE FISCHER                                  215 E 68TH ST                                                                                         NEW YORK         NY    10021‐5718
ELLEN JARRETT TR ELLEN JARRETT 1994 TRUST UA        14 THE DELL                           LALESTON MID GLAM    SO WALES          CF32 0HR GREAT BRITAIN
02/11/94
ELLEN JEAN BEACHLEY                                 CO ELLEN B JENKINS                    100 GREENBRIAR LN                                               DILLSBURG        PA    17019‐1316
ELLEN JEAN BERGMAN                                  7 HEATHER LANE                                                                                        HACKETTSTOWN     NJ    07840‐4801
ELLEN JOAN BOYD                                     3426 BONNYVIEW DRIVE                                                                                  CARSON CITY      NV    89701‐5598
ELLEN JOHNSON SILLS                                 126 SHADY LANE                                                                                        FAYETTEVILLE     NY    13066‐1531
ELLEN JUNE RICE                                     4822 SELKIRK DR                                                                                       SOUTH BEND       IN    46614‐3425
ELLEN K ADLER CUST SARAH E ADLER UGMA PA            PO BOX 11933                          125 LOCUST ST                                                   HARRISBURG       PA    17108‐1933
ELLEN K BARTON                                      711 SPLITRAIL DRIVE                                                                                   BRENTWOOD        TN    37027‐5751
ELLEN K COOPER                                      124 S CHIPMAN                                                                                         OWOSSO           MI    48867‐3326
ELLEN K GRIFFITHS                                   268 GRANITEVILLE RD                                                                                   CHELMSFORD       MA    01824‐1028
ELLEN K HYLAND TR ELLEN K HYLAND REVOCABLE LIVING 236 20TH AVE SE                                                                                         ST PETERSBURG    FL    33705‐2816
TRUST UA 09/05/03
ELLEN K KUHL                                        G 6441 W POTTER RD                                                                                    FLUSHING         MI    48433
ELLEN K MEADE                                       9907 RANCHWOOD CIR                                                                                    BRADENTON        FL    34202‐9413
ELLEN K MIRE                                        321 BONHAM LOOP                                                                                       GEORGETOWN       TX    78633
ELLEN K MORA                                        3442 NORTH GREENVIEW                                                                                  CHICAGO          IL    60657‐1308
ELLEN KATZ                                          4420 FERRAN DRIVE                                                                                     METAIRIE         LA    70002
ELLEN KAY SIMMONS                                   2460 LYONNESSE LN                                                                                     BROOKFIELD       WI    53045‐3940
ELLEN KELLEY TR UA 08/13/2008 ELLEN L KELLEY LIVING 1096 OAK POINTE DRIVE                                                                                 WATERFORD        MI    48327
TRUST
ELLEN L ARTHUR                                      4438 W DODGE ROAD                                                                                     CLIO             MI    48420‐8580
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Name                                               Address1                              Address2             Address3               Address4          City             State Zip

ELLEN L CAVERLY                                      1804 KIMBER AV                                                                                    MARQUETTE        MI    49855‐1508
ELLEN L COPE                                         909 CLINTON PL                                                                                    RIVER FOREST     IL    60305‐1503
ELLEN L ENOCHS                                       PO BOX 39                                                                                         THREE FORKS      MT    59752
ELLEN L FOX                                          903 DERBY LN                                                                                      N VERSAILLES     PA    15137‐1439
ELLEN L GAWRISCH                                     N73 W 27077 KETTLE CORE LANE                                                                      SUSSEX           WI    53089
ELLEN L GEVRY                                        7 DUDLEY HILL ROAD                                                                                DUDLEY           MA    01571
ELLEN L HATCH TR ELLEN L HATCH REV TRUST UA          1003 SYMES COURT                                                                                  ROYAL OAK        MI    48067‐1509
06/17/04
ELLEN L KETTINGER                                    3355 WEST ALBAIN RD                                                                               MONROE           MI    48161‐9512
ELLEN L LEE                                          615 PASADENA AVE                                                                                  YOUNGSTOWN       OH    44502‐2249
ELLEN L LORENZ                                       310 MAGOWAN AVE                                                                                   IOWA CITY        IA    52246‐3514
ELLEN L MACWILLIAM                                   2905 GARDEN CREEK RD                                                                              CASPER           WY    82601‐6626
ELLEN L MORIN                                        412 HIGH ST                                                                                       DRESDEN          OH    43821‐9586
ELLEN L PAVKOVICH                                    G‐4115 W COURT ST                                                                                 FLINT            MI    48532
ELLEN L S OLSZEWSKI                                  330 ROCKWELL CIR                                                                                  LAKE MARY        FL    32746‐3803
ELLEN L SCHNEIDER TR ELLEN L SCHNEIDER TRUST UA      1592 WYANDOTTE AVE                                                                                LAKEWOOD         OH    44107‐4736
12/01/00
ELLEN L SESTAK                                       5537 WILCOX                                                                                       DOWNERS GROVE    IL    60516‐1510
ELLEN L SHIVELY TR ELLEN L SHIVELY TRUST UA 07/08/97 11890 QUARTERHORSE CT                                                                             CINCINNATI       OH    45249‐1278

ELLEN L WADE                                       794 TOD SW AV                                                                                       WARREN           OH    44485‐3859
ELLEN L WILLIAMS                                   631 E GOLF ROAD                                                                                     LIBERTYVILLE     IL    60048‐3439
ELLEN L ZIELINSKI                                  11080 FAIR LAWN DRIVE                                                                               PARMA            OH    44130‐1216
ELLEN LEEDY CUST MICHAEL LEEDY UTMA NJ             401 STONEWOOD DR                                                                                    PEACHTREE CITY   GA    30269‐6640
ELLEN LEIPPE                                       24 WOODSIDE DR                                                                                      PENFIELD         NY    14526‐2231
ELLEN LEKISCH                                      1403 P ST                                                                                           ANCHORAGE        AK    99501‐4934
ELLEN LICHTIG                                      1420 CORNELL AVE                                                                                    BERKELEY         CA    94702‐1002
ELLEN LOKEN                                        26530 WEST PINE ST APT 8                                                                            ELEVA            WI    54738
ELLEN LOU APOSTOLOS                                205 GREEN BAY RD                      STE 204                                                       THIENSVILLE      WI    53092‐1664
ELLEN LOUISE DISHAROON CHAPPELL                    2307 JUNIPER STREET                                                                                 NORFOLK          VA    23513‐3939
ELLEN LOUISE JACKSON                               97 BOILING SPRING RD                                                                                DANVILLE         IL    61832‐1155
ELLEN LOUISE SCHNITZKER                            2837 COURT STREET                                                                                   ASHLAND          KY    41101‐6201
ELLEN LOVELLO                                      902 TIERRA LARGO WAY                                                                                NAPLES           FL    34119
ELLEN M ANDERSON                                   APT 30                                1000 E BOSTON ST                                              SEATTLE          WA    98102‐4100
ELLEN M BEGLEY & NANCY E BEGLEY JT TEN             25 RUSSETT LN                                                                                       MELROSE          MA    02176‐2936
ELLEN M BENSON                                     2224 HERMITAGE DRIVE                                                                                DAVISON          MI    48423‐2069
ELLEN M BORDINHAO CUST JANSEN BRENNAN              122 E 11TH AVE                                                                                      COLUMBUS         OH    43201
BORDINHAO
ELLEN M BRIGGS                                     12 MOUNT HURON CT                                                                                   FARMINGVILLE     NY    11738‐2820
ELLEN M BROOME & HOYLE S BROOME JT TEN             ELLEN M BROOME & HOYLE S BROOME       JT TEN               129 DEERWOOD LAKE DR                     HARPERSVILLE     AL    35078‐9753
ELLEN M CASEY                                      14482 HILLSHIRE DR                                                                                  WILLIS           TX    77318‐4478
ELLEN M COLLINS                                    7249 SOUTH JENNINGS ROAD                                                                            SWARTZ CREEK     MI    48473‐8873
ELLEN M CONLAN                                     PO BOX 153                                                                                          HAVERFORD        PA    19041‐0153
ELLEN M EITEN CUST JOHN N EITEN UGMA IL            202 S CHICAGO ST                                                                                    LADD             IL    61329
ELLEN M FINN TR UA 02/24/90 RUTH J FINN TRUST      570 RIVERSHIRE PLACE                                                                                LINCOLNSHIRE     IL    60069‐3813

ELLEN M FOY                                        RT 1 BOX 190N                                                                                       MARTINSBURG      WV    25401‐9725
ELLEN M GONZALES TR ELLEN M GONZALES LIVING        3115 CHESTNUT                                                                                       DEARBORN         MI    48124‐4313
TRUST UA 03/25/94
ELLEN M GUENTHER TR ELLEN M GUENTHER TRUST UA 21358 EATON RD                                                                                           FAIRVIEW PARK    OH    44126‐2727
5/15/92
ELLEN M GUYOTT                                     PO BOX 978                                                                                          KENNEBUNKPORT    ME    04046‐0978
ELLEN M HARRIS TR ELLEN HARRIS REV TRUST UA 1/3/00 1003 GRAYLYN RD                                                                                     WILMINGTON       DE    19803‐3332

ELLEN M HINTON                                     5406 ARROWHEAD BLVD                                                                                 KOKOMO           IN    46902‐5404
ELLEN M HIRSCHEY                                   6804 SOUTHDALE RD                                                                                   EDINA            MN    55435‐1661
ELLEN M HURTT                                      53359 LORINA CT                                                                                     CHESTERFIELD     MI    48047‐6120
ELLEN M JOHNSTON                                   25 OLD WAGON RD                                                                                     OLD GREENWICH    CT    06870‐1105
ELLEN M KELLEY                                     PO BOX 612                                                                                          WENTZVILLE       MO    63385‐0612
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Name                                             Address1                                Address2                Address3       Address4          City              State Zip

ELLEN M LABRECQUE                                163 PINE GROVE DR                                                                                SO HADLEY         MA    01075‐3201
ELLEN M LADY                                     4249 WOODCLIFF RD                                                                                SHERMAN OAKS      CA    91403‐4339
ELLEN M LAWSON                                   33 MICAH HAMLIN ROAD                                                                             CENTERVILLE       MA    02632
ELLEN M LODGE                                    150 CALLE ELJARDIN 204                                                                           SAINT AUGUSTINE   FL    32095‐6888
ELLEN M MARTIN                                   2315 TANGLEWOOD DR                                                                               BIRMINGHAM        AL    35216‐2425
ELLEN M MILLER                                   12836 DICE RD                                                                                    FREELAND          MI    48623‐9283
ELLEN M MURPHY                                   APT 4D                                  525 WEST 238TH STREET                                    BRONX             NY    10463‐1821
ELLEN M NELSON                                   4191 S KIVA HILL DRIVE                                                                           ST GEORGE         UT    84790‐4773
ELLEN M OSULLIVAN                                22319 LYNDON ST                                                                                  DETROIT           MI    48223‐1854
ELLEN M PACAK                                    1064 MATTANDE LN                                                                                 NAPERVILLE        IL    60540‐4836
ELLEN M PICCOLO & CARMEN J PICCOLO JR JT TEN     123 PASSAIC ST                                                                                   NEW PROVIDENCE    NJ    07974‐1715

ELLEN M R DELOCIS                                2 FLETCHER DRIVE                                                                                 HOPEWELL          NY    12533‐5623
                                                                                                                                                  JUNCTION
ELLEN M RACUSIN                                  25541 COLLEEN                                                                                    OAK PARK          MI    48237‐1301
ELLEN M RAINEY                                   7346 CRYSTAL LAKE DR 1                                                                           SWARTZ CREEK      MI    48473‐8952
ELLEN M RINESS                                   PO BOX 644                                                                                       LOLETA            CA    95551‐0644
ELLEN M ROPIAK & JOSEPH ROPIAK JT TEN            11111 RIVER HILLS DR                    APT 132                                                  BURNSVILLE        MN    55337‐3268
ELLEN M ROTH                                     240 VILLA OAKS LANE                                                                              GAHANNA           OH    43230
ELLEN M ROWE                                     3318 BRONSON BLVD                                                                                KALAMAZOO         MI    49008‐2926
ELLEN M SCHAUB & ALBERT J SCHAUB JT TEN          14 CRAGMERE RD                                                                                   SUFFERN           NY    10901‐7516
ELLEN M SEALE & CYNTHIA A RILEY JT TEN           2490 BOUGHNER LAKE RD                                                                            PRESCOT           MI    48756‐9371
ELLEN M SIMPSON                                  536 RTE 10                                                                                       PIERMONT          NH    03779‐3312
ELLEN M STEWART                                  5541 WESTWOOD NORTHERN BLVD             APT 8                                                    CINCINNATI        OH    45248‐2346
ELLEN M SWEERS & JUDY A CLARK JT TEN             804 JEFFERSON STREET                                                                             MT MORRIS         MI    48458‐3218
ELLEN M WALDO                                    428 R D 3 NINHAM RD                                                                              CARMEL            NY    10512‐9803
ELLEN M WUESTHOFF                                2118 OAK ORCHARD RIVER RD                                                                        WATERPORT         NY    14571‐9746
ELLEN MAE ERVIN                                  G5101 MARILYN DR                                                                                 FLINT             MI    48506
ELLEN MAE SWEERS & CARL G SWEERS JT TEN          804 JEFFERSON ST                                                                                 MT MORRIS         MI    48458‐3218
ELLEN MAE SWEERS & GLENN L SWEERS JT TEN         804 JEFFERSON ST                                                                                 MT MORRIS         MI    48458‐3218
ELLEN MAE SWEERS & LARRY S SWEERS JT TEN         804 JEFFERSON ST                                                                                 MT MORRIS         MI    48458‐3218
ELLEN MAE SWEERS & PAMELA J HOTTOIS JT TEN       804 JEFFERSON ST                                                                                 MT MORRIS         MI    48458‐3218
ELLEN MANCINI                                    PO BOX 3744                                                                                      FORT PIERCE       FL    34948‐3744
ELLEN MANSER & CLARK M MANSER JT TEN             1382 NEWTOWN LANGHORNE RD                                                                        NEWTOWN           PA    18940‐2401
ELLEN MANSER & NORRIS J G MANSER JT TEN          1382 NEWTOWN LANGHORN RD                                                                         NEWTOWN           PA    18940‐2401
ELLEN MARCH                                      PO BOX 978                                                                                       KENNEBUNKPORT     ME    04046‐0978
ELLEN MARIE CROMPTON                             146 PLEASANT VIEW ST                                                                             METHUEN           MA    01844‐3918
ELLEN MARIE HENDRICKS                            876 WEST SHORE RD                                                                                BRONSON           MI    49028
ELLEN MARIE MASCHKA & DANIEL R MASCHKA JT TEN    4643 N 83RD AVENUE CIR                                                                           OMAHA             NE    68134‐3211

ELLEN MARIE MURPHY                               3 HAMDEN HEIGHTS CT                                                                              NEW CITY          NY    10956‐6805
ELLEN MARIE RAMIREZ                              11806 ROSETON AVE                                                                                NORWALK           CA    90650‐7950
ELLEN MARIE SCHAUB                               14 CRAGMERE ROAD                                                                                 SUFFERN           NY    10901‐7516
ELLEN MARIE SCHAUB CUST JUSTIN LYNN SCHAUB       14 CRAGMERE RD                                                                                   SUFFERN           NY    10901‐7516
UGMA NY
ELLEN MARIE WARD & MARGO JEAN WARD WILLIAMS      11949 RIVERSIDE DR                      HOME # 139                                               LAKESIDE          CA    92040‐2318
JT TEN
ELLEN MARKOWITZ & MITCHELL MARKOWITZ JT TEN      26 MOHEGAN LANE                                                                                  RYE BROOK         NY    10573‐1429

ELLEN MARY KENNARY                               ATTN ELLEN KENNARY DOYLE                276 RIDGE RD                                             GROSSE POINTE     MI    48236‐3152
ELLEN MASCARENAS                                 420 ARGYLE RD                                                                                    EAST MEADOW       NY    11554‐4205
ELLEN MATHILDA LEE                               2309 SEBRING ST                                                                                  SIMI VALLEY       CA    93065‐2745
ELLEN MEIER                                      72 40 INGRAM ST                                                                                  FOREST HILLS      NY    11375
ELLEN MEYERS                                     157 MYRTLE ST                                                                                    WALTHAM           MA    02453‐5809
ELLEN MITCHELL                                   755 PARK AVE                            # 7B                                                     NEW YORK          NY    10021‐4255
ELLEN MORSE                                      316 RAES CREEK DR                                                                                GREENVILLE        SC    29609‐1989
ELLEN MOST                                       APT 8C                                  BOX 387                 888 8TH AVE                      NEW YORK          NY    10019‐5704
ELLEN N FITZGERALD                               434 GILPIN ST                                                                                    DENVER            CO    80218‐4016
ELLEN N WITTE                                    523 4 MILE ROAD N W                                                                              COMSTOCK PARK     MI    49321‐8520
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ELLEN NAUJOKS                                  8 LAFAYETTE ST                                                                                 SAUGERTIES       NY    12477
ELLEN O BURCHELL CUST GRANT P BURCHELL UGMA OH 9174 GREGORY COURT                                                                             MENTOR           OH    44060‐4429

ELLEN O'CONNELL                                  47 BALLYKEEFE ESTATE                LIMERICK                               IRELAND
ELLEN ODRISCOLL                                  10 RIPLEY LANE                                                                               SOUTH BEL MAR    NJ    07719‐2922
ELLEN ODRISCOLL & GRACE O DRISCOLL JT TEN        10 RIPLEY LANE                                                                               SOUTH BEL MAR    NJ    07719‐2922
ELLEN OPPENHEIM                                  2724 STARR MEADOWS LOOP                                                                      RENO             NV    89509‐7357
ELLEN P BRENNAN                                  5 REYNOLDS TERRACE                                                                           SPARTA           NJ    07871‐2824
ELLEN P GLICKFIELD                               415 EAST 2ND ST                                                                              BROOKLYN         NY    11218‐3905
ELLEN P MANSER                                   1382 NEWTON LANGHORNE RD                                                                     NEWTON           PA    18940‐2401
ELLEN P MINOR                                    3217 FORDHAM RD                                                                              WILMINGTON       DE    19807‐3117
ELLEN P STANTON                                  5079 STRATFORD ROAD                                                                          BIRMINGHAM       AL    35242‐3131
ELLEN P SULLIVAN                                 103 DALE ST                         APT 1030                                                 DEDHAM           MA    02026‐3428
ELLEN P URQUHART                                 149 WARREN AVE                                                                               BOSTON           MA    02116‐5917
ELLEN P VIGNEAUX                                 98 MAC GREGOR AVE                                                                            ROSLYN HEIGHTS   NY    11577‐1909
ELLEN PARKER                                     PO BOX 18                                                                                    NEW YORK         NY    10024‐0018
ELLEN PARKS                                      1954 SHAWN WAYNE CIR SE                                                                      ATLANTA          GA    30316‐3786
ELLEN PATRICIA PERRY                             104 ADDISON DR                                                                               ORMOND BEACH     FL    32174‐2652
ELLEN PENNER DICKS                               4621 E 44TH ST                                                                               STILLWATER       OK    74074
ELLEN PETERSON MORRIS                            12 LAKE RD                                                                                   SHORT HILLS      NJ    07078‐3208
ELLEN PORTER                                     212 E 600 N                                                                                  ALEXANDRIA       IN    46001‐8612
ELLEN PRATTS & SAMANTHA PRATTS JT TEN            18221 SW 22 STREET                                                                           PEMBROKE PNES    FL    33029
ELLEN R BRANHAM                                  1638 PIGEON RIDGE RD                                                                         CROSSVILLE       TN    38555
ELLEN R FECHER                                   228 MERRIWEATHER RD                                                                          GROSSE POINTE    MI    48236‐3534
ELLEN R HOLCOMBE                                 10478 MCWAIN RD                                                                              GRAND BLANC      MI    48439‐8321
ELLEN R JAFFE                                    12 BIRCH GROVE DR                                                                            ARMONK           NY    10504‐2521
ELLEN R KACKLEY                                  904 SUNSET LANE                                                                              COLUMBIA         MO    65203‐2777
ELLEN R SNYDER CUST ANTHONY J SNYDER UGMA PA     404 W BIDDLE ST                     PO BOX 286                                               GORDON           PA    17936‐0286

ELLEN R SNYDER CUST JACQUELINE M SNYDER UGMA PA 404 W BIDDLE ST                      PO BOX 286                                               GORDON           PA    17936‐0286

ELLEN RAIS SCHREYER                              50 WOODLAND BLVD                                                                             CENTEREACH       NY    11720‐3649
ELLEN RANNEY WOLF                                19 LEACLIFF LN                                                                               WEST SENECA      NY    14224‐3517
ELLEN RHODEN                                     604 W MYSTIC DR                                                                              BEAUFORT         SC    29902‐6021
ELLEN ROBERTS                                    70‐25 YELLOWSTONE BLVD                                                                       FOREST HILLS     NY    11375‐3164
ELLEN ROSENBERG CUST AARON S ROSENBERG UTMA      1357 E 50TH STREET                                                                           CHICAGO          IL    60615
WI
ELLEN ROSENBERG CUST MATTHEW ROSENBERG UTMA      1357 E 50TH STREET                                                                           CHICAGO          IL    60615
WI
ELLEN RUBIN                                      9715 DEEP SMOKE                                                                              COLUMBIA         MD    21046‐2807
ELLEN RUTH EVANS                                 135 E 71 ST                                                                                  NEW YORK         NY    10021‐4258
ELLEN S CRABB                                    4344 N PENNSYLVANIA ST                                                                       INDIANAPOLIS     IN    46205‐1726
ELLEN S ERVIN                                    10656 RONDO                                                                                  BATON ROUGA      LA    70815‐4846
ELLEN S FELDPAUSCH                               315 N PINE                                                                                   FOWLER           MI    48835‐9293
ELLEN S GREVES                                   3316 NUTLEY CIRCLE                                                                           YORKTOWN         NY    10598‐1207
                                                                                                                                              HEIGHTS
ELLEN S HARRIS                                602 E MAIN ST                                                                                   GREENTOWN        IN    46936‐1305
ELLEN S HASHIMOTO & NATHAN M HASHIMOTO JT TEN 406 UHINI PL                                                                                    HONOLULU         HI    96813‐1105

ELLEN S MC NAMARA & MICHAEL J MC NAMARA JT TEN 69 KELLY COURT                                                                                 LANCASTER        NY    14086‐3062

ELLEN S MCNIFF                                   3526 URBAN WOODS TRAILS                                                                      HOUSTON          TX    77008
ELLEN S QUINLAN TR UA 06/13/83 ELLEN S QUINLAN   C/O ELLEN S QUINLAN                 797 FISHER RD                                            GROSSE POINTE    MI    48230‐1203

ELLEN S TAYLOR RICHARDSON                        2313 COLISEUM ST                                                                             NEW ORLEANS      LA    70130‐5768
ELLEN SALOMON                                    C/O ELLEN S LEMBERGER               6744 HEATHVIEW                                           WORTHINGTON      OH    43085‐2953
ELLEN SARDILLI                                   HACHALIAH BROWN DRIVE                                                                        SOMERS           NY    10589
ELLEN SARGENT                                    11245 COVINGTON BRADFORD RD                                                                  BRADFORD         OH    45308‐9738
ELLEN SHERK PERTLER                              2120 GREENTREE RD E T 12                                                                     PITTSBURGH       PA    15220‐1406
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ELLEN SILVER CUST ISAAC MORGAN SILVER UGMA TN     220 ROBIN HILL RD                                                                               NASHVILLE       TN    37205‐3535

ELLEN SINCLAIR LITTLE                             419 JERSEY STREET                                                                               SAN FRANCISCO   CA    94114‐3632
ELLEN SMEDLEY                                     73 CHEWS LANDING RD                                                                             HADDENFIELD     NJ    08033‐3710
ELLEN SOCCI                                       198 ELIZABETH STREET                                                                            STATEN ISLAND   NY    10310
ELLEN SPIRO                                       1755 NEW YORK AVENUE N E                                                                        ATLANTA         GA    30307‐2225
ELLEN STANLEY & RICHARD STANLEY JT TEN            366 ARDSLEY ST                                                                                  STATEN ISLAND   NY    10306‐1630
ELLEN STEVENSON                                   1220 INVERNESS DRIVE                                                                            DUNEDIN         FL    34698‐2703
ELLEN STEVENSON WILLIAMS                          #305                                 3311 WARRENSVILLE CENTER RD                                SHAKER HEIGHTS  OH    44122‐3708
ELLEN STONEBERG                                   91 BRIARCLIFF RD                                                                                WESTBURY        NY    11590‐1636
ELLEN SUE ELIAS                                   139 NORTH FIFTH AVENUE                                                                          HIGHLAND PARK   NJ    08904‐2924
ELLEN SUE HOWER                                   ATTN ELLEN S HOWER‐SCHAUT            15921 RILEY STREET                                         HOLLAND         MI    49424‐6109
ELLEN SUE SCHAUT                                  15921 RILEY                                                                                     HOLLAND         MI    49424‐6109
ELLEN T EVANS                                     469 COUNTRY CLUB DR                  APT 8                                                      LAKE GENEVA     WI    53147‐1981
ELLEN T LURA CUST JEFFREY LURA UTMA GA            3822 VINYARD TRACE                                                                              MARRIETTA       GA    30062‐5228
ELLEN T MAGUIRE                                   622 W OLIVE ST                                                                                  LONG BEACH      NY    11561‐2916
ELLEN T ROY                                       S75 W22380 KNOLL DR                                                                             BIG BEND        WI    53103
ELLEN T STRAUB                                    1349 PATTERSON RD                                                                               AUSTIN          TX    78733
ELLEN T STRMSEK                                   926 E FOREST HILL                                                                               OAK CREEK       WI    53154‐3104
ELLEN THEBERT                                     40 BRIGHTON ST                                                                                  MASSENA         NY    13662‐2207
ELLEN TOUB                                        36 VAN NESS AVE                                                                                 POMPTON HEIGHTS NJ    07444‐1256

ELLEN TRANAAS GRANT & BARBARA JOANN GRANT JT    5971 TEAKWOOD                                                                                     TROY            MI    48085‐3895
TEN
ELLEN TRANAAS GRANT & RICHARD ALAN GRANT JT TEN 884 JENNINGS RD                                                                                   WHITMORE LAKE   MI    48189‐9265

ELLEN TRANAAS GRANT & SUSAN GRANT JT TEN           7618 KEARNEY                                                                                   WHITMORE LAKE   MI    48189‐9572
ELLEN V BLACK                                      490 HAVENS COVE ROAD                                                                           BRICKTOWN       NJ    08723‐6938
ELLEN V ESPOSTE                                    PO BOX 71                                                                                      NASHUA          NH    03061‐0071
ELLEN V GINZBURG                                   323 S 17TH ST                                                                                  PHILADELPHIA    PA    19103‐6726
ELLEN V SKAIFE & BERNARD D SKAIFE & ROGER A SKAIFE C/O ELLEN V SKAIFE                  233 ROOSEVELT AVE                                          JANESVILLE      WI    53546‐3205
JT TEN
ELLEN VAE DUTCHER                                  54 UPPER RAINBOW TRAIL                                                                         DENVILLE        NJ    07834‐3320
ELLEN VIRGINIA WARNER                              5350 S JAY CIRCLE                   UNIT 3B                                                    DENVER          CO    80123
ELLEN W LEVY                                       9220 WHITNEY ST                                                                                SILVER SPRING   MD    20901‐3534
ELLEN W MCCABE                                     1821 DRIVER AVE                                                                                LANCASTER       PA    17602‐4803
ELLEN WALDRON                                      1146 S STATE RD                                                                                DAVISON         MI    48423‐1906
ELLEN WATSON WARFFORD                              PO BOX 572                                                                                     BIG SUR         CA    93920‐0572
ELLEN WELLER                                       5420 HANNA ST                                                                                  SAN DIEGO       CA    92105‐5435
ELLEN WILKINSON & HENRY STROBINO JT TEN            4 SPRINGDALE COURT                                                                             CLIFTON         NJ    07013‐3414
ELLEN WOODWORTH                                    6401 MIDDLE RIDGE RD                                                                           MADISON         OH    44057‐2907
ELLEN WRIGHT                                       5333 BASELINE RD                                                                               WHITE CLOUD     MI    49349‐9117
ELLEN Y YANG                                       11 TWIN BORO LANE                                                                              BERGENFIELD     NJ    07621‐1245
ELLEN Z HOOKER                                     115 REGENCY PLACE                                                                              MILLSTADT       IL    62260‐2253
ELLEN Z HOOKER                                     115 REGENCY PLACE                                                                              MILLSTADT       IL    62260‐2253
ELLEN Z WEAVER                                     200 LENSDALE AVENUE                                                                            DAYTON          OH    45427‐2325
ELLENA C CARUBBA                                   2012 HARVARD AVE                                                                               METAIRIE        LA    70001
ELLENE E GREER                                     4320 SW CRESTWOOD DR                                                                           PORTLAND        OR    97225‐2224
ELLENE N BRUIN                                     136 SUNRISE CT                                                                                 LODA            IL    60948‐9749
ELLENE P FOORE                                     5034 NORTHFIELD DR                                                                             MONROE          MI    48161‐3641
ELLENOR P GILBERT                                  442 CUNNINGHAM AVE                  OSHAWA ON                                L1J 3C2 CANADA
ELLER E PETERSON                                   9342 HILLSIDE CT                                                                               DAVISON         MI    48423‐8420
ELLERY M HESS                                      122 MARK ST                                                                                    PONTIAC         MI    48341‐1350
ELLERY Q KING                                      27 S CENTENNIAL RD                                                                             HOLLAND         OH    43528‐9702
ELLERY T NITCHER                                   1025 E CASS AV                                                                                 FLINT           MI    48505‐1629
ELLHUE S BOWLES                                    PO BOX #175                                                                                    ASHFORD         WV    25009‐0175
ELLI E KUNKEWITZ                                   2416 LYONS LN                                                                                  SODDY DAISY     TN    37379‐3254
ELLIC B DANIEL                                     34 TREY CT                                                                                     CARROLLTON      GA    30117‐5305
ELLICE A THOMPSON                                  10724 HOLCOMB ROAD                                                                             NEWTOWN FALLS   OH    44444‐9226
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ELLIE H ROACH                                      20406 RYAN                                                                                     DETROIT         MI    48234‐1966
ELLIE KESSLER TR LIVING TRUST 07/25/91 U‐A ELLIE   160 SADDLEFORD DR                                                                              CHESTERFIELD    MO    63017‐2720
KESSLER
ELLIE LEW SPRECHMAN                                179 GOLDEN BEACH DRIVE                                                                         MIAMI           FL    33160‐2223
ELLIE SCHMITT & BRIAN SCHMITT JT TEN               1210 UNIVERSITY BAY DR                                                                         MADISON         WI    53705‐2253
ELLIJAH WINSTON                                    C/O BRENDA J WINSTON                  73 MEECH AVE                                             BUFFALO         NY    14208‐1029
ELLIN A OPPENHIEMER                                3316 BURGOYNE DR                                                                               DAYTON          OH    45405‐2004
ELLIN S SALTZMAN CUST ELIZABETH SCOTT SALTZMAN     50 E 77TH ST 12A                                                                               NEW YORK        NY    10075‐1826
U/THENY U‐G‐M‐A
ELLIN TAYLOR BLACK                                 4056 REDONDO DR                                                                                EL DORADO HLS   CA    95762‐7554
ELLINGSEN & CO                                     1521 LEE ST                                                                                    MELROSE PARK    IL    60160‐2336
ELLIOT B ARONSON EX UW WILLIAM ARONSON             5001 HARBORD DRIVE                                                                             OAKLAND         CA    94618‐2508
ELLIOT B FARMER                                    921 MAGIE AVENUE                                                                               FAIRFIELD       OH    45014‐1819
ELLIOT BATES CRAVER                                89 WILSONVILLE ROAD                                                                            NORTH           CT    06255‐1228
                                                                                                                                                  GROSVENORDAL
ELLIOT BLAU D O LTD                                7002 E OSBORN DR                                                                               SCOTTSDALE      AZ    85251‐6325
ELLIOT H THOMAS                                    4811 CITY VIEW TERR                                                                            SYRACUSE        NY    13215‐2113
ELLIOT J RAMPULLA & MRS ANNA C RAMPULLA JT TEN     4822 RED OAK LN                                                                                TUSCALOOSA      AL    35405‐5439

ELLIOT L HOLDEN                                    7571 FOXGLOVE PL                                                                               MACUNGIE        PA    18062‐9341
ELLIOT L KAPLAN CUST MYLES D KAPLAN UTMA NJ        56 BRYANT AVE                                                                                  EDISON          NJ    08820‐3675
ELLIOT L NELSON & LEOLA NELSON JT TEN              32610 W CHICAGO ST                                                                             LIVONIA         MI    48150‐3735
ELLIOT M PERMAN                                    1462 MORGAN RD                                                                                 DOVER           AR    72837‐7918
ELLIOT MARC STERN                                  322 COUNTRY CLUB DR                   APT D                                                    SIMI VALLEY     CA    93065‐7643
ELLIOT NICHOLSON JR                                453C DEWDROP CIRCLE                                                                            CINCINNATI      OH    45240‐3783
ELLIOT R FARLOW                                    PO BOX 3971                                                                                    CHAMPAIGN       IL    61826‐3971
ELLIOT S AZOFF                                     12 DORSET CT                                                                                   BEACHWOOD       OH    44122‐7588
ELLIOT SILVERMAN                                   36 MIRADOR                                                                                     IRVINE          CA    92612‐2980
ELLIOT WOLFSON                                     56 ARDELL ROAD                                                                                 BRONXVILLE      NY    10708‐6502
ELLIOT YAMPELL CUST SAMUEL YAMPELL UGMA NJ         415 PEYTON AVE                                                                                 HADDONFIELD     NJ    08033‐2646

ELLIOTT A MORSE                                      1151 RIVER ROAD                                                                              WOOLWICH        ME    04579‐4003
ELLIOTT ANDREW MEDRICH                               121 MANDALAY RD                                                                              OAKLAND         CA    94618‐2223
ELLIOTT B FARMER                                     2593 UTICA AVE                                                                               HAMILTON        OH    45011‐5011
ELLIOTT BURKA & MRS MICHELLE BURKA JT TEN            805 S WALTER REED DR                                                                         ARLINGTON       VA    22204‐2307
ELLIOTT C STOCKERT                                   2335 NE SMOKEY HILL DR                                                                       LEES SUMMIT     MO    64086‐7019
ELLIOTT D VIZANSKY                                   33 RIVERSIDE DR #7A                                                                          NEW YORK        NY    10023‐8025
ELLIOTT F GOULD                                      ATT ELLIOT FORREST                  122 CASTLE HGTS AVE                                      NYACK           NY    10960‐1503
ELLIOTT GREEN                                        7042 PALISADE GROVE CT                                                                       LAS VEGAS       NV    89113‐3085
ELLIOTT H WOOD                                       12 REGENCY DR                                                                                VOORHEES        NJ    08043‐2849
ELLIOTT HAINES                                       5543 BARKLEY AVE                                                                             YOUNGSTOWN      OH    44515‐2309
ELLIOTT J BATES                                      PO BOX 1048                                                                                  JACKSON         NJ    08527‐1048
ELLIOTT J BURRELL TR ELLIOTT J BURRELL REV LVG TRUST 608 S GEORGE ST                                                                              MT PROSPECT     IL    60056‐3916
UA 6/12/92
ELLIOTT J FINK                                       310 GREENWICH ST APT 16D                                                                     NEW YORK        NY    10013‐2711
ELLIOTT J NELSON                                     5316 53RD AVE E                     LOT Q103                                                 BRADENTON       FL    34203
ELLIOTT J STORK                                      111 BEAN CREEK ROAD                 UNIT 99                                                  SCOTTS VALLEY   CA    95066‐4147
ELLIOTT JAMES                                        2109 TURNBERRY LANE                                                                          CORONA          CA    92881‐7440
ELLIOTT L MANKE & LOUISE K MANKE JT TEN              1570 LAKELAND AVE                                                                            LAKEWOOD        OH    44107‐3817
ELLIOTT N DECRUMPE & BARBARA A DECRUMPE JT TEN 18815 PEPPERDINE DR                                                                                CARSON          CA    90746‐3905

ELLIOTT N LANGSTON                                 5504 HWY 311                                                                                   HOLLY SPRINGS   MS    38635‐9509
ELLIOTT NORWALK                                    875 W END AVE                         APT 6A                                                   NEW YORK        NY    10025‐4952
ELLIOTT P MAXWELL                                  4145 ARKLOW                                                                                    TALLAHASSEE     FL    32308‐2803
ELLIOTT R COHOON                                   540 FREDRICK ST                                                                                FRANKENMUTH     MI    48734‐1604
ELLIOTT R HERRING JR                               56928 SILVERSTONE DR                                                                           THREE RIVERS    MI    49093‐9002
ELLIOTT RICHARDSON                                 402 MIDWAY AVE                                                                                 RIVERTON        NJ    08077
ELLIOTT RIVO                                       20 WILLOW CRESCENT                                                                             BROOKLINE       MA    02445‐4132
ELLIOTT S CURTIS                                   35520 MARGURITE LANE                                                                           PAW PAW         MI    49079‐9663
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ELLIOTT S ROGERS                                   PO BOX 96                                                                                    WARRENTON       MO   63383‐0096
ELLIOTT SHIELDS                                    29223 ADAMS                                                                                  GILBRATAR       MI   48173‐9725
ELLIOTT T HAMMOND                                  45 MASSACHUSETTS                                                                             HIGHLAND PK     MI   48203‐3536
ELLIS B KING                                       1068 S MORRISH ROAD                                                                          FLINT           MI   48532‐3034
ELLIS C LEBO                                       PO BOX 4244                                                                                  AUBURN HILLS    MI   48321
ELLIS COUTEE                                       343 BURGESS PLACE                                                                            BATON ROUGE     LA   70815‐5101
ELLIS COX                                          27903 ELWELL                                                                                 BELLEVILLE      MI   48111‐9640
ELLIS D BIERBOWER                                  137 SHEFFIELD                                                                                TROY            MI   48083‐1073
ELLIS D BROWN                                      3945 PAXTON AVE                                                                              CINCINNATI      OH   45209‐1801
ELLIS D HARPER                                     3937 WILDWOOD LK DR SW                                                                       ATLANTA         GA   30331‐4317
ELLIS D KANE JR & JUNE C KANE JT TEN               1630 FLOWER CIRCLE NORTH                                                                     PHOENIX         AZ   85015‐5838
ELLIS E BATEMAN                                    23486 D H BATEMAN RD                                                                         FRANKLINTON     LA   70438‐5138
ELLIS E BATEMAN & MARY N BATEMAN JT TEN            23486 D H BATEMAN RD                                                                         FRANKLINTON     LA   70438‐5138
ELLIS E REPLOGLE                                   8014 JEFF RD                                                                                 INDIANAPOLIS    IN   46217‐4544
ELLIS E WINBORN                                    504 LYLBURN RD                                                                               MIDDLETOWN      OH   45044‐5049
ELLIS F RIOS                                       43 CHARTLEY BROOK RD                                                                         ATTLEBORO       MA   02703‐5303
ELLIS G SMITH                                      677 COOLEY RD                                                                                MEYERSVILLE     TX   77974
ELLIS H FOGLE                                      200 SKELLEY LANE                                                                             COLUMBIA        TN   38401‐2041
ELLIS H KNIGHT                                     RR 3                                                                                         SHOALS          IN   47581‐9803
ELLIS H MARTIN                                     1570 YEAKEL WAY                                                                              LANSDALE        PA   19446‐4815
ELLIS H MILLER & SANDRA B MILLER JT TEN            1316 BARTON DR                                                                               FORT WASHINGTON PA   19034‐1612

ELLIS HANDLEY                                      41 SIR CHARLES DR                                                                            BEDFORD        IN    47421
ELLIS L COPELAND & MAXINE C COPELAND JT TEN        BOX 245                                                                                      ST JAMES       MO    65559‐0245
ELLIS L FRENCH                                     8812 W 1050 S                                                                                FORTVILLE      IN    46040‐9218
ELLIS L MCELWAIN                                   RT 3 BOX 231                                                                                 ADRIAN         MO    64720‐9803
ELLIS LESLIE JOURDAIN & RENATO L CANIGLIA JT TEN   1424 COOKE RD                                                                                JOHNS ISLAND   SC    29455‐4915

ELLIS M IVEY III                                   367 KOERBER DRIVE                                                                            DEFIANCE       OH    43512‐3350
ELLIS M IVEY III                                   367 KOERBER DR                                                                               DEFIANCE       OH    43512‐3350
ELLIS M JOINER                                     170 MILITARY ROAD                                                                            HERNDON        KY    42236‐8301
ELLIS M REAVES JR                                  21840 PARKLAWN                                                                               OAK PARK       MI    48237‐2637
ELLIS MILNER                                       370 CRABAPPLE LOOP                                                                           WAVERLY HALL   GA    31831
ELLIS O'BRIANT                                     605 REALM CT W                                                                               ODENTON        MD    21113‐1596
ELLIS P GOLDEN JR & MRS MARTHA J GOLDEN JT TEN     8018 CAROLYN LANE                                                                            MORRIS         AL    35116‐1761

ELLIS PARKS                                        1181 WENDY LANE                                                                              ANN ARBOR      MI    48103‐3175
ELLIS R GUEST                                      11114 W ALAURA DR                                                                            ALDEN          NY    14004‐9571
ELLIS R SAXON & ALICE SAXON JT TEN                 11410 E BIRCH RUN ROAD                                                                       BIRCH RUN      MI    48415‐9480
ELLIS RAYMOND WEIDENHAMMER                         4333 E MICHIGAN AVE                                                                          AUGRE          MI    48703‐9463
ELLIS RIFE                                         PO BOX 264                                                                                   CLAY CITY      KY    40312‐0264
ELLIS ROSENBERG                                    3952 GREEN ST                                                                                HARRISBURG     PA    17110‐1545
ELLIS ROY SAXON                                    11410 E BIRCH RUN                                                                            BIRCH RUN      MI    48415‐9480
ELLIS S BERGER & DEMETRA J BERGER JT TEN           367 SUNSET HLL RD EAST                                                                       FISHKILL       NY    12524‐2820
ELLIS S BURTON                                     4697 DREXEL                                                                                  DETROIT        MI    48215‐2006
ELLIS S FRANKE                                     APT 605                             69‐39 YELLOWSTONE BLVD                                   FORST HILL     NY    11375‐3736
ELLISA M RIPBERGER                                 5013 SHELBYVILLE RD                                                                          INDIANAPOLIS   IN    46237‐1938
ELLISE M DIXON                                     4100 N BROWN ROAD                                                                            INDIANAPOLIS   IN    46226‐4420
ELLISON ADGER JR                                   10465 DIXON ROAD                                                                             BELCHER        LA    71004‐8701
ELLISON D COOPER III                               3215 DELTA RIVER DR                                                                          LANSING        MI    48906‐3456
ELLISON JACKSON                                    2046 INNES AVE                                                                               CINCINNATI     OH    45224‐1826
ELLISWORTH CALLUM                                  APT 6E                              1450 PARKCHESTER RD                                      BRONX          NY    10462‐7625
ELLIVE M BASISTA TOD RACHEL L WOLF & ROBERT G      PO BOX 217                                                                                   BLAIRSVILLE    GA    30514‐0217
STEPP
ELLO GAINES                                        C/O ELLO DENNIS                     275 THURSTON RD                                          ROCHESTER      NY    14619‐1534
ELLON D CARPENTER                                  2146 E ROSARITA DRIVE                                                                        TEMPE          AZ    85281‐7424
ELLONE S WATKINS                                   705 WEST 14TH STREET                                                                         ANDERSON       IN    46016‐3504
ELLOREE DEANE                                      507 PARKVIEW ST                                                                              MANSFIELD      OH    44903‐2020
ELLOW BELL JR                                      1943 WALNUT HILL PARK DR                                                                     COLUMBUS       OH    43232‐3050
                                                09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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ELLSWORTH ARTHUR PATTERSON                            7508 N 13TH AVE                                                                                PHOENIX        AZ    85021‐8010
ELLSWORTH B COURTE                                    RR 1 230A                                                                                      SASAKWA        OK    74867‐9741
ELLSWORTH D WARE JR                                   2958 VICTOR                                                                                    KANSAS CITY    MO    64128‐1170
ELLSWORTH E WILLIAMS & CATHERINE J WILLIAMS TEN       C/O ALIGNED PARTNERS                  707 GRANT ST STE 2800                                    PITTSBURGH     PA    15219
ENT
ELLSWORTH F MEIER                                     602 MARION DR                         #3                                                       ARLINGTON      MN    55307‐2166
ELLSWORTH H JOHNSON & MARY C JOHNSON JT TEN           9997 CREEKWOOD TRAIL                                                                           DAVISBURG      MI    48350‐2058

ELLSWORTH HINKLE                                      7714 TWIN OAK RD                                                                               SEVERN         MD    21144‐1133
ELLSWORTH L ORCUTT & NEOMA M ORCUTT JT TEN            2500 COUNTY ROAD 22 NW                                                                         ALEXANDRIA     MN    56308‐9070

ELLSWORTH O JOHNSON                                   1815 W SELDON LANE                                                                             PHOENIX        AZ    85021‐4354
ELLSWORTH R ERB II                                    31 PLAINFIELD ROAD                                                                             PEPPEREL       MA    01463‐1103
ELLSWORTH R HARRIS                                    9783 STATE RD                                                                                  GLENWOOD       NY    14069‐9622
ELLSWORTH T FOLAND                                    7960 WENGER MDWS                                                                               CLAYTON        OH    45315‐7912
ELLSWORTH T WALTERS                                   13425 LONDON RD                                                                                ORIENT         OH    43146‐9527
ELLWOOD E HOFFMAN                                     HC RO1 BOX 727                                                                                 SKANEE         MI    49962
ELLWOOD F WILT                                        C/O IRENE J WILT                      647 W OHIO                                               SEBRING        OH    44672‐1131
ELLWOOD KIRKPATRICK                                   15544 BELMONT                                                                                  ALLEN PARK     MI    48101‐1742
ELLYN J WIRA                                          67 RIVERVIEW TERRACE                                                                           HILLSBOROUGH   NJ    08844
ELLYN S MARTENSON & RONALD H MARTENSON JT TEN         26 W 202 MOHICAN                                                                               WHEATON        IL    60187

ELMA C ALEXANDER                                      804 WILDBRIAR                                                                                  LUFKIN         TX    75904‐4454
ELMA C SHROYER                                        RR 1                                                                                           SELMA          IN    47383‐9801
ELMA F HIRVONEN                                       PO BOX 77                                                                                      TROUT CREEK    MI    49927
ELMA G SELL                                           BOX 33                                                                                         GLEN HOPE      PA    16645‐0033
ELMA J BONK                                           11426 TERRY                                                                                    PLYMOUTH       MI    48170‐4520
ELMA JEPEWAY DE JIBRAN                                OBISPO MERCADILLO 2271                VILLA CENTENARIO        5009 CORDOBA   ARGENTINA
ELMA K GRAY & EVERETT L GRAY JT TEN                   17 DELAWARE AVE                                                                                FRANKFORD      DE    19945
ELMA MULLINS                                          6478 W SMITH RD                                                                                MEDINA         OH    44256‐8952
ELMA N JOHNSON                                        3608 BLUE RIVER DR                                                                             LANSING        MI    48911‐1933
ELMA P HAYES                                          67 BLAND RD                                                                                    BASSETT        VA    24055‐5716
ELMA P RICHARDSON                                     BOX 33133                                                                                      INDIANAPOLIS   IN    46203‐0133
ELMA SPRAGUE & FREDERICK FLINT‐MONTERO &              PO BOX 916                                                                                     TONASKET       WA    98855‐0916
VICTORIA A EMERY JT TEN
ELMA STOWERS                                          3345 EAST 143 ST                                                                               CLEVELAND      OH    44120‐4014
ELMALEE I BARR                                        300 SHULL DRIVE                                                                                NORTH VERNON   IN    47265‐1038
ELMAN GREGORY                                         5710 DILLON RD                                                                                 HIGH RIDGE     MO    63049‐1749
ELMAR C STUTE                                         535 CAMINO SUR                                                                                 PALM SPRINGS   CA    92262‐4154
ELMAR PAEVA                                           3736 PEACH ST                                                                                  SAGINAW        MI    48601‐5557
ELMER A ALEXANDER                                     2323 26TH AVE N                       APT 105                                                  MINNEAPOLIS    MN    55411‐1760
ELMER A BENNETT                                       29443 GRANDVIEW                                                                                INKSTER        MI    48141‐1003
ELMER A BRAUN                                         5820 MOHICAN LANE                                                                              CINCINNATI     OH    45242‐3639
ELMER A BROCKRIEDE & EUNICE L BROCKRIEDE JT TEN       2460 S ELMS ROAD                                                                               SWARTZ CREEK   MI    48473‐9717

ELMER A DEAN                                          19669 IRONWOOD COURT                                                                           NORTHVILLE     MI    48167‐2514
ELMER A LESUER IV & LESLIE A PHILLIPS‐LESUER JT TEN   PO BOX 3873                                                                                    KINGSTON       NY    12402‐3873

ELMER A OBERST 3RD                                    1401 W CEMETERY RD                                                                             CANYON         TX    79015‐6431
ELMER A SHORT                                         7850 HOERTZ RD                                                                                 CLEVELAND      OH    44134‐6406
ELMER AUSTIN GOODWIN                                  236 N CHESTNUT ST                                                                              WESTFIELD      NJ    07090‐2411
ELMER B HAYNAL                                        6726 WHITTEMORE RD                                                                             WHITTEMORE     MI    48770‐9769
ELMER B ROWAN                                         6564 N WAVERLY                                                                                 DEARBORN HTS   MI    48127‐2208
ELMER BATES                                           1020 FORREST                                                                                   SMITHVILLE     TN    37166‐2423
ELMER BLACK                                           2000 SUN CLIFFS ST                                                                             LAS VEGAS      NV    89134‐5551
ELMER BROWN                                           1260 W 300 N                                                                                   ANDERSON       IN    46011‐9265
ELMER BROWN                                           53 HAMMOCK ROAD                                                                                LONDON         KY    40744‐9436
ELMER BULLERDICK JR                                   220 E GLENEAGLES RD APT D                                                                      OCALA          FL    34472‐3375
ELMER C CHURCHILL                                     6 CLOVERFIELD CT                                                                               LANCASTER      NY    14086‐1109
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ELMER C FREIS & ELSIE FREIS & EDWARD G FREIS JT TEN N5935 US HWY #41                                                                                 WALLACE          MI    49893‐9300

ELMER C FREIS & ELSIE FREIS & JANET ZILINSKY JT TEN   N5935 US HWY #41                                                                               WALLACE          MI    49893‐9300

ELMER C FREIS & ELSIE FREIS & ROGER A FREIS JT TEN    N5935 US HWY #41                                                                               WALLACE          MI    49893‐9300

ELMER C GROSE                                         39254 SUPERIOR                                                                                 ROMULUS          MI    48174‐1034
ELMER C HUTCHISON                                     1204 EBINPORT RD                                                                               ROCK HILL        SC    29732‐2017
ELMER C LAURIA                                        3913 MAES ROAD                                                                                 WEST BRANCH      MI    48661‐9691
ELMER C NEHLS                                         C/O CHARLOTTE E NORTHRUP              319 GAYLE DR                                             SHEFFIELD LK     OH    44054
ELMER C OSWALD & JOHN D OSWALD JT TEN                 60799 US 131                                                                                   THREE RIVERS     MI    49093‐9250
ELMER C SCHMALENBERGER & SALLY                        4380 BRYANTS POND LN                                                                           SARASOTA         FL    34233‐1900
SCHMALENBERGER JT TEN
ELMER C SMITH                                         PO BOX 90155                                                                                   BURTON           MI    48509‐0155
ELMER C VICKERS & MARY R VICKERS TEN ENT              6203 TREVA ST                                                                                  FINLEYVILLE      PA    15332‐1027
ELMER C VICKERS & MARY T VICKERS JT TEN               6203 TREVA ST                                                                                  FINLEYVILLE      PA    15332‐1027
ELMER C WENDELL                                       915 CLINTON ST                                                                                 FLINT            MI    48507‐2544
ELMER CAUDELL                                         132 EDGEWOOD DR                                                                                BEDFORD          IN    47421‐3980
ELMER CHANDLER JR                                     7595 W DECKARD DR                                                                              BLOOMINGTON      IN    47403‐9566
ELMER CHARLES DAVIS                                   20165 MITCHELL                                                                                 DETROIT          MI    48234‐1525
ELMER COLLINS                                         1154 S DREXEL AV                                                                               INDIANAPOLIS     IN    46203‐2301
ELMER COX                                             343 NORTH DRIVE                                                                                DAVISON          MI    48423‐1628
ELMER D BRAY                                          978 HIBISCUS LANE                                                                              SAN JOSE         CA    95117‐2320
ELMER D CHRISTENSEN                                   595 WOOD LANE                                                                                  KATY             TX    77494‐1233
ELMER D COMSTOCK                                      20179 COUNTY ROAD 46                                                                           NEW PARIS        IN    46553‐9619
ELMER D CROY                                          6605 EAST US 136                                                                               BROWNSBURG       IN    46112‐8708
ELMER D CWACH & DOROTHY D CWACH JT TEN                1725 BEVERLY BLVD                                                                              GERING           NE    69341‐1900
ELMER D JOHNSON                                       5181 EDGEVIEW RD                                                                               COLUMBUS         OH    43207‐4933
ELMER D KEY                                           3507 E 1400 N                                                                                  SUMMITVILLE      IN    46070‐9056
ELMER D LEE                                           2204 PROGRESS                                                                                  LINCOLN PARK     MI    48146‐2555
ELMER D MITCHELL                                      44650 JUDD RD                                                                                  BELLEVILLE       MI    48111‐9107
ELMER D MONROE                                        6446 ELMS RD                                                                                   FLUSHING         MI    48433‐9039
ELMER D RITTENBERRY                                   5299 SMITH HAVEN LANE                                                                          LA GRANGE        KY    40031‐8093
ELMER D SMITH                                         2450 EVON RD                                                                                   SAGINAW          MI    48601‐9704
ELMER DAVIS                                           270 HONEYSUCKLE WAY                                                                            NICEVILLE        FL    32578‐2115
ELMER DREHER                                          374 HOLLYWOOD AVE                                                                              TUCKAHOE         NY    10707‐1330
ELMER E BRANDT                                        3718 N HACKBARTH RD                                                                            JANESVILLE       WI    53548‐8332
ELMER E CLARK                                         3607BEATTY AVE                                                                                 SANDUSKY         OH    44870‐5509
ELMER E CLAYCOMB                                      887 WALNUT DR                                                                                  LAKE ORION       MI    48362‐2461
ELMER E CLEMSON                                       7710 NE JACKSONVILLE RD #9                                                                     OCALA            FL    34479‐1328
ELMER E ECKERT & HELEN A ECKERT JT TEN                10785 STONE RIDGE WAY                                                                          HARRISON         OH    45030‐4909
ELMER E FITZSIMMONS                                   407 EAST AVENUE LYNFORD                                                                        WILMINGTON       DE    19804
ELMER E FRANK                                         211 GAYLORD ST                                                                                 LODI             OH    44254‐1443
ELMER E GEAN                                          1539 DORELLEN AVE                                                                              FLINT            MI    48532‐5341
ELMER E HARWOOD                                       3846 E ISABELLA AVE                                                                            MESA             AZ    85206‐3805
ELMER E LOVE                                          1166 BRISTOW ROAD                                                                              BOWLING GREEN    KY    42101‐9503
ELMER E LUTTRELL                                      9339 N CARMEL RIDGE                                                                            MORGANTOWN       IN    46160‐9478
ELMER E MARTIN & MRS GENEVA M MARTIN JT TEN           2021 FAIRWAY DR                                                                                SUFFOLK          VA    23433‐1114

ELMER E OSBORNE                                       18 WEST HARRY                                                                                  HAZEL PK         MI    48030‐2038
ELMER E RAPP & FRANCES M RAPP JT TEN                  179 E WASHINGTON AVE                                                                           WOODBRIDGE       NJ    07095‐2446
ELMER E SCHMIDTCHEN                                   1550 E WEBB RD                                                                                 DEWITT           MI    48820‐8363
ELMER E TAYLOR                                        113 PARKGROVE DR                                                                               UNION            OH    45322‐3238
ELMER E WOOD                                          2121 LAYER RD                                                                                  LEAVITTSBURG     OH    44430‐9733
ELMER E YOUNG                                         341 E GLASS RD                                                                                 ORTONVILLE       MI    48462‐8877
ELMER EAKLE                                           1241 CENTRAL AVE                                                                               INDIANAPOLIS     IN    46202‐2613
ELMER F HOLL                                          PELEE ISLAND ON                                                              N0R 1M0 CANADA
ELMER F RING                                          298 INDIAN TR                                                                                  SHEPHERDSVILLE   KY    40165‐7087
ELMER F ROCKERS                                       RR 1                                                                                           GREELEY          KS    66033‐9801
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ELMER F SCOTT                                        PO BOX 253                                                                                  LEWISTON           MI    49756‐0253
ELMER F TURNER                                       1890 E 107TH ST                    APT 901                                                  CLEVELAND          OH    44106‐2252
ELMER F WENG                                         5440 WAGONER FORD ROAD                                                                      DAYTON             OH    45414‐3668
ELMER G LEEDY                                        33 CALLOWAY DR                                                                              CROSSVILLE         TN    38555‐5361
ELMER G LINDBERG                                     2915 NORTH 79TH TERRACE                                                                     KANSAS CITY        KS    66109‐1511
ELMER G MARCHI                                       2050 W WARM SPRINGS RD             UNIT 3823                                                HENDERSON          NV    89014‐5536
ELMER G MUSOLF                                       1239 SEARLS RD N                                                                            WEBBERVILLE        MI    48892‐9799
ELMER GRIGSBY                                        4665 SHEPHARD ROAD                                                                          BATAVIA            OH    45103‐1034
ELMER GRIGSBY                                        809 E 7TH ST                                                                                SUMMERDALE         AL    36580‐3604
ELMER GYORI                                          538 GORDON ST                                                                               PIQUA              OH    45356‐3414
ELMER H BECK                                         54 OAKWOOD DR                                                                               OSWEGO             IL    60543‐9768
ELMER H COUNTS                                       8096 TAUNTON RD                                                                             INDIANAPOLIS       IN    46260‐4939
ELMER H PALACH                                       20540 ALEXANDER ST                                                                          ST CLR SHORES      MI    48081‐1783
ELMER H PALMER CUST RICHARD L H PALMER UGMA RI       7919 POST RD                                                                                N KINGSTOWN        RI    02852‐4406

ELMER H SHIPMAN                                      415 N MARKET ST                                                                             HOOPESTON          IL    60942‐1321
ELMER H SMITH                                        453 COALFIELD CAMP RD                                                                       OLIVER SPRINGS     TN    37840‐3518
ELMER H TAPPEN                                       4472 BARD RD                                                                                BEAVERTON          MI    48612‐9740
ELMER H WITTBRODT                                    5653 S MELVINA ST                                                                           CHICAGO            IL    60638‐3505
ELMER HAHN                                           ROUTE 2                                                                                     EDGERTON           OH    43517‐9802
ELMER HARRIS                                         1001 S ED CAREY DR                 UNIT 120                                                 HARLINGEN          TX    78552‐1711
ELMER HENRY                                          PO BOX 4401                                                                                 LAKEWOOD           CA    90711‐4401
ELMER HILL                                           194 THOMAS ST                                                                               GLEN RIDGE         NJ    07028‐2215
ELMER HOLLAND                                        6432 WHITAKER FARMS DR                                                                      INDIANAPOLIS       IN    46237‐8509
ELMER I LUTZ & WILMA R LUTZ JT TEN                   PO BOX 293                                                                                  FINDLAY            IL    62534‐0293
ELMER IRL LUTZ JR & WILMA LUTZ JT TEN                BOX 293                                                                                     FINDLAY            IL    62534‐0293
ELMER J AHRENS                                       11306 N HWY 26                                                                              MILTON             WI    53563‐9131
ELMER J BAILEY                                       2308 HASLER LAKE ROAD                                                                       LAPEER             MI    48446‐9734
ELMER J BOERNER                                      511 MCKEE                                                                                   BATAVIA            IL    60510‐1860
ELMER J BOIK & JEAN R BOIK TR UA 10/17/93 THE BOIK   556 BROOKHAVEN CIR                                                                          SUGAR GROVE        IL    60554‐9433
FAMILY TRUST
ELMER J DARNELL                                      1157 RANSON                                                                                 FLINT              MI    48507‐4217
ELMER J DIEMERT                                      7828 ORCHARD                                                                                DEARBORN           MI    48126‐1012
ELMER J DOBROVALSKI                                  4021 18TH STREET                                                                            WYANDOTTE          MI    48192‐6920
ELMER J DREHER                                       374 HOLLYWOOD AVE                                                                           TUCKAHOE           NY    10707‐1330
ELMER J EGELKRAUT                                    224 HUSSEY AVE                                                                              BATTLE CREEK       MI    49017‐1318
ELMER J FILO                                         9657 YANKEETOWN                    CHENOWETH ROAD                                           MOUNT STERLING     OH    43143
ELMER J JONNET CUST GLEN R JONNET U/THE PA           201 DEER MEADOW DRIVE                                                                       PITTSBURGH         PA    15241‐2253
UNIFORM GIFTS TO MINORS ACT
ELMER J LOEHNE                                       4841 KEMPF                                                                                  WATERFORD          MI    48329‐1739
ELMER J MCRAE                                        2615 W FAYETTE ST                                                                           BALTIMORE          MD    21223‐1409
ELMER J MILLER                                       2044 AUDUBON AVE                   APT 405                                                  NAPERVILLE         IL    60563‐4274
ELMER J MILLER & MARILYN N MILLER JT TEN             2044 AUDUBON AVE                   APT 405                                                  NAPERVILLE         IL    60563‐4274
ELMER J MILLER & MARILYN N MILLER JT TEN             2044 AUDUBON AVE                   APT 405                                                  NAPERVILLE         IL    60563‐4274
ELMER J PERSE & ROSEMARY PERSE JT TEN                38370 ROGERS RD                                                                             WILLOUGHBY HILLS   OH    44094‐9410

ELMER J PERTZ                                        7330 BRACKENWOOD CIRCLES                                                                    INDIANAPOLIS       IN    46260‐5444
ELMER J POOL                                         1002 APPLEGATE                                                                              AUSTIN             TX    78753‐3906
ELMER J PRYOR                                        839 LITTLE VALLEY RD                                                                        MAYNARDVILLE       TN    37807‐4629
ELMER J SANDLIN                                      8364 VILLA MANOR                                                                            GREENTOWN          IN    46936‐1445
ELMER J ZELENKA JR                                   9051 E OBISPO AVE                                                                           MESA               AZ    85212‐2806
ELMER JOHN LEISTIKOW                                 PO BOX 81341                                                                                FAIRBANKS          AK    99708‐1341
ELMER JOSEPH KVARTEK                                 594 WOOD AVE                                                                                NORTH BRUNSWI      NJ    08902‐2544
ELMER K VAUGHAN                                      1422 NW 100 ROAD                                                                            HOLDEN             MO    64040‐9442
ELMER L ANDERSON                                     4028 SHASTA CT                                                                              PRESCOTT           MI    48756‐9634
ELMER L ANDERSON                                     4427 VENOY RD                                                                               WAYNE              MI    48184
ELMER L AUSTIN                                       8961 SEASONS RD                                                                             STREETSBORO        OH    44241‐5755
ELMER L BARKER                                       4134 DEACON LANE                                                                            CHAMBLEE           GA    30341‐1612
ELMER L BRENNING                                     204 EAST 3RD                                                                                SPARTA             IL    62286‐1829
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Name                                              Address1                             Address2             Address3          Address4          City               State Zip

ELMER L CROSIER                                   29266 SUNSET DRIVE                                                                            WESTLAKE           OH    44145‐1914
ELMER L CROSIER & JACQUELYN A CROSIER JT TEN      29266 SUNSET DRIVE                                                                            WESTLAKE           OH    44145‐1914
ELMER L DAVIS                                     11620 ROBERTSON ST                                                                            CLEVELAND          OH    44105‐6221
ELMER L FRANCIS                                   964 DUBOIS RD                        APT J                                                    FRANKLIN           OH    45005‐3734
ELMER L GIERTZ & HILDA H GIERTZ JT TEN            BOX 132                              165 MARION CT                                            CHEBANSE           IL    60922‐9658
ELMER L HERBALY & MRS LORNA M HERBALY JT TEN      1832 W CAPE COD WAY                                                                           LITTLETON          CO    80120‐5518

ELMER L HUESTON                                   150 W WARREN ST                      APT 61                                                   PERU               IN    46970‐2759
ELMER L MAGEE                                     54 CHURCHTOWN ROAD                                                                            PENNSVILLE         NJ    08070‐1344
ELMER L MATHE                                     8479 NEFF ROAD                                                                                MT MORRIS          MI    48458‐1045
ELMER L PHIFER                                    4509 STILLWELL                                                                                LANSING            MI    48911‐2656
ELMER L PHIFER & RUBY B PHIFER JT TEN             4509 STILLWELL                                                                                LANSING            MI    48911‐2656
ELMER L ROBINSON                                  20258 HEYDEN                                                                                  DETROIT            MI    48219‐1449
ELMER L SMITH                                     26094 N 115TH PLACE                                                                           SCOTTSDALE         AZ    85255‐5777
ELMER L TEMPLIN                                   BOX 34                                                                                        PROSPER            TX    75078‐0034
ELMER L TESSMER & JOYCE J TESSMER JT TEN          3042 WHITETAIL LANE                                                                           JANESVILLE         WI    53545‐9647
ELMER L TURNER                                    1058 SEA MOUNTAIN HWY                UNIT 3102                                                N MYRTLE BCH       SC    29582‐2264
ELMER L VINCENT                                   6452 W REID RD                                                                                SWARTZ CREEK       MI    48473‐9420
ELMER LEE                                         2116 KEMPER LN                                                                                CINCINNATI         OH    45206‐2717
ELMER LEE BACORN                                  6235 STATE ROUTE 819                                                                          MT PLEASANT        PA    15666‐2614
ELMER LITTLE                                      57 PETUNIA LN                                                                                 WILLINGBORO        NJ    08046
ELMER LOUDERMILK MRS WILMA LOUDERMILK & DALE      125 SPRING CREEK RD                                                                           ESTILL SPRINGS     TN    37330‐3218
E LOUDERMILK JT TEN
ELMER M ALLGEIER & LUCILLE M ALLGEIER JT TEN      17103 PRESTON RD STE 190                                                                      DALLAS             TX    75248‐1375
ELMER M FAUSS                                     2057 N CAMBRIDGE AVE                                                                          MILWAUKEE          WI    53202‐1011
ELMER M HOUSE                                     PO BOX 374                                                                                    MANCHESTER         KY    40962‐0374
ELMER M NACCA & JOSEPH D NACCA JT TEN             109 CHAPEL ST                                                                                 CANADAIGUA         NY    14424‐1103
ELMER M PETERS                                    230 ALICE ST                                                                                  BLOOMFIELD HILLS   MI    48302‐0504

ELMER M SCHLENSKER                                511 BROADWAY                                                                                  MILLTOWN           IN    47145‐2647
ELMER M SCHNELL                                   610 DELTA RD                                                                                  FREELAND           MI    48623‐9330
ELMER M SCHRANZ                                   PO BOX 723                                                                                    MONTICELLO         IN    47960‐0723
ELMER M STANFILL                                  143 N SHORE DR W                                                                              CADILLAC           MI    49601‐8208
ELMER M SUTTON & GLADYS L SUTTON JT TEN           13561 HOLLAND ROAD                                                                            CLEVELAND          OH    44142‐3916
ELMER M ZURAKOWSKI                                31537 MORGAN DR                                                                               WARREN             MI    48088‐7332
ELMER MAKAY & FRANCES M MAKAY JT TEN              9126 W LAKE RD PO BOX 87                                                                      LAKE CITY          PA    16423‐0087
ELMER MARTIN                                      2058 HWY 721                                                                                  HAZARD             KY    41701‐7108
ELMER MAURICE HOUSE JR                            PO BOX 82                                                                                     MANCHESTER         KY    40962‐0082
ELMER N KRANZ                                     PO BOX 112                                                                                    SWARTZ CREEK       MI    48473‐0112
ELMER NATHAN CURTIS                               4064 PIERCE RD                                                                                LAPEER             MI    48446‐9062
ELMER O HISKE                                     4880 ROSALIE                                                                                  DEARBORN           MI    48126‐4122
ELMER O NIX                                       417 SMITH MILL RD                                                                             WINDER             GA    30680‐4331
ELMER O VILLEME & MARILYN J VILLEME JT TEN        22505 RAYMOND CT                                                                              ST CLAIR SHRS      MI    48082‐2735
ELMER P BACHSTADT & THERESA M BACHSTADT JT TEN    PO BOX 768                                                                                    CARSON CITY        NV    89702‐0768

ELMER P HORSLEY                                   33 ROCKWOOD PARK RD                                                                           BASSETT            VA    24055‐4633
ELMER P HORSLEY SR & JOSEPHINE R HORSLEY JT TEN   33 ROCKWOOD PARK RD                                                                           BASSETT            VA    24055‐4633

ELMER P LERETTE                                   1060 WILLARD RD                                                                               BIRCH RUN          MI    48415‐9420
ELMER P STAGGS                                    207 N SPARTA ST                                                                               OKAWVILLE          IL    62271‐1727
ELMER PROFITT                                     4527 EISENHOWER PLACE                                                                         MIDDLETOWN         OH    45042‐3837
ELMER R AUSTIN                                    2595 FREMBES RD                                                                               DRAYTON PLNS       MI    48020
ELMER R BETTS                                     510 N PEASE RD                                                                                VERMONTVILLE       MI    49096‐9515
ELMER R BUTLER                                    9766 ROSEHILL RD                     APT 13                                                   BERRIEN SPRGS      MI    49103‐1287
ELMER R CURRIDEN                                  19 PENNSYLVANIA AVENUE                                                                        PENNSVILLE         NJ    08070‐1712
ELMER R MORRIS 3RD                                7271 GRACE LANE                                                                               MECHANICSVILLE     VA    23111‐1207
ELMER R MORRIS JR                                 PO BOX 1                                                                                      KING GEORGE        VA    22485‐0001
ELMER R MORRIS JR & MRS MARCELINE WEATHERLY       PO BOX 1                                                                                      KING GEORGE        VA    22485‐0001
MORRIS JT TEN
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ELMER R MOWERY                                    11708 CHAPMAN RD SOUTH                                                                                KINGSVILLE     MD    21087‐1522
ELMER R PERKINS & LOIS J PERKINS JT TEN           1419 HOWELL RD                                                                                        BEAVERCREEK    OH    45434‐6829
ELMER R ROBERTS                                   6401 BLOSSOM PARK DRIVE                                                                               DAYTON         OH    45449‐3022
ELMER R SWANSEY                                   8616 HIGHLAND RD                                                                                      WHITE LAKE     MI    48386‐2022
ELMER R THOMPSON                                  1949 W 115TH ST                                                                                       LOS ANGELES    CA    90047‐5007
ELMER R WAITS                                     388 HCR 1207                                                                                          WHITNEY        TX    76692
ELMER R WAITS & AUDREY N WAITS JT TEN             388 HCR1207                                                                                           WHITNEY        TX    76692‐4599
ELMER R WILDER                                    1547 SILVER CITY RD                                                                                   WHITESBURG     TN    37891‐8812
ELMER R WYATT                                     830 S EIGHTH ST                                                                                       UPLAND         IN    46989‐9160
ELMER RAY TIDD                                    1802 PINECREST DR                                                                                     DAYTON         OH    45414‐5320
ELMER RUDOLPH STEGNER                             710 SW 500TH RD                                                                                       CENTERVIEW     MO    64019‐9258
ELMER RUMSEY                                      31395 SIOUX ROAD                                                                                      COURSEGOLD     CA    93614‐9739
ELMER S FRASCH TR UA 05/15/98 FRASCH FAMILY TRUST 5008 PALM CT                                                                                          MIDLAND        MI    48640‐2835

ELMER S MONROE TR ELMER S MONROE REVOCABLE        5110 HIGHPOINT DR                                                                                     SWARTZ CREEK   MI    48473‐8902
TRUST UA 04/23/98
ELMER S ROBERTSON                                 1000 W DURWOOD CRES                                                                                   RICHMOND       VA    23229‐6703
ELMER SAKEY                                       1770 MORAN                                                                                            LINCOLN PK     MI    48146‐3856
ELMER SANDERS & MRS BETTY C SANDERS TEN ENT       104 ELINOR AVE                                                                                        BALTIMORE      MD    21236‐4305

ELMER SCAGGS                                      2704 TIM AVE                                                                                          BRIGHTON       MI    48114‐7301
ELMER SCHMIDT                                     5135 GOLFVIEW DR                                                                                      AU GRES        MI    48703‐9798
ELMER SHEDD & ROBERTA SHEDD JT TEN TOD SARAH      3829 17TH ST                                                                                          WYANDOTTE      MI    48192‐6429
SHEDD
ELMER SPRAGGINS                                   9558 S LOOMIS                                                                                         CHICAGO        IL    60643‐1313
ELMER STEPHENS                                    988 WILTSHIRE RD                                                                                      COLUMBUS       OH    43204‐2378
ELMER STRASSBURG & MRS DONNA STRASSBURG JT        7914 18TH AVE                                                                                         KENOSHA        WI    53143‐5841
TEN
ELMER STRICKLAND                                  19313 MANOR                                                                                           DETROIT        MI    48221‐1403
ELMER SWIFT & MRS JOAN SWIFT JT TEN               139 SOUTH ARNAZ                                                                                       OJAI           CA    93023‐2107
ELMER T BROOKS                                    306 W MAIN ST                         APT 210                                                         MT STERLING    KY    40353
ELMER T FULLER                                    721 14TH AVE                                                                                          UNION GROVE    WI    53182‐1417
ELMER T POLLOCK & ELIZABETH L POLLOCK JT TEN      17 SHRUB LN N                                                                                         N FT MYERS     FL    33917‐5494

ELMER T ZEIGLER                                   3304 FRANKLIN ST                                                                                      SALEM          VA    24153‐6625
ELMER V AMY                                       2400 E TOWNLINE RD                                                                                    BIRCH RUN      MI    48415‐8900
ELMER VALENTINE                                   3515 W HADLEY STREET APT 203                                                                          MILWAUKEE      WI    53210‐2564
ELMER W ALFANTA                                   7937 SETTLERS RIDGE LN 3112                                                                           LAS VEGAS      NV    89145‐2910
ELMER W BEMIS JR                                  889 WINDSTAR BL                                                                                       FRANKLIN       IN    46131‐7103
ELMER W BOWMAN                                    707 WOODSEDGE ROAD                                                                                    WILMINGTON     DE    19804‐2625
ELMER W COUNCE & MARILUCILE D COUNCE JT TEN       643 ELM ST                                                                                            MARTIN         TN    38237‐3401

ELMER W CROPPER JR                                1863 CHOPTANK RD                                                                                      PASADENA       MD    21122‐5828
ELMER W DAY JR                                    210 GORDON AVE                                                                                        WILMINGTON     DE    19809‐3114
ELMER W GAUGER                                    9212 BREISH COURT                                                                                     EL PASO        TX    79925‐5119
ELMER W GOUGH & NANCY C GOUGH TR UA 11/11/92      16616 ON PAR BLVD                                                                                     FORT MYERS     FL    33908‐2874
GOUGH FAMILY TRUST
ELMER W PALMER                                    3033 FRANKLIN PARK DR                                                                                 STERLING HTS   MI    48310‐2478
ELMER W SELNAU & LOIS B SELNAU JT TEN             23 TANGLEWOOD ROAD                                                                                    FARMINGTON     CT    06032‐1162
ELMER W SNOWDEN JR                                1286 CAPE SAINT CLAIRE RD                                                                             ANNAPOLIS      MD    21409‐4941
ELMER W WATERHOUSE & LEONA C WATERHOUSE JT        13 CLARENCE ST                        STALYBRIDGE          CHESHIRE          SK1S 1GP GREAT BRITAIN
TEN
ELMER W YOEST TR ELMER W YOEST TRUST UA 8/06/93   195 SUNSET DR                                                                                         WESTERVILLE    OH    43081‐1411

ELMER WILLARD SMITH SR                            10473 GLADSTONE ROAD                                                                                  N JACKSON      OH    44451‐9609
ELMER WILLIAM MERZ                                2093 WALLER DR                                                                                        HUNTINGDON     PA    19006‐6017
                                                                                                                                                        VALLEY
ELMER WORLEY                                      472 E GRISSON AVE                                                                                     MITCHELL       IN    47446‐9763
ELMER WRIGHT & HAZEL L WRIGHT JT TEN              900 E PASEO EL MIRADOR                                                                                PALM SPRINGS   CA    92262‐4851
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ELMER YORK                                      1122 SUMMERSET DRIVE                                                                           ELYRIA            OH    44035
ELMIRA G QUERNS                                 R D 1 20 BEAUMONT DR                                                                           NEWTOWN           PA    18940‐9801
ELMIRA HARRINGTON                               PO BOX 189                                                                                     NORTH NEW         ME    04961‐0189
                                                                                                                                               PORTLAND
ELMO B LEWIS                                    24646 ROXANA                                                                                   EAST DETROIT      MI    48021‐4207
ELMO BIRDOW                                     13406 STAN CLIFF                                                                               HOUSTON           TX    77045‐4135
ELMO BOWLING                                    147 ROCAY POINT                                                                                BRONSTON          KY    42518
ELMO C WALKER                                   4047 ROOSEVELT                                                                                 DETROIT           MI    48208‐2326
ELMO COVINGTON                                  8404 CHALONS COURT                                                                             ST LOUIS          MO    63134‐1102
ELMO D TERRY                                    2482 W SHIAWASSEE AVE                                                                          FENTON            MI    48430‐1742
ELMO GOLDEN                                     14318 CAINE AVE                                                                                CLEVELAND         OH    44128‐2367
ELMO J YOEMANS JR                               7916 E 127TH TERR                                                                              GRANDVIEW         MO    64030‐2103
ELMO M HAMILTON                                 12832 BROKEN SADDLE RD                                                                         KNOXVILLE         TN    37934‐1332
ELMO M KENNEDY                                  PO BOX 153                                                                                     PAYNESVILLE       WV    24873‐0153
ELMO MARZETT                                    1801 E 16TH                                                                                    KANSAS CITY       MO    64127‐2513
ELMO SCIPIONE                                   35792 HATHERLY PL                                                                              STERLING HTS      MI    48310‐5143
ELMO W HYATT                                    2387 BEAR CREEK RD                                                                             COLUMBIA          TN    38401‐7667
ELMO WILEY                                      705 N PAGE ST                                                                                  COMANCHE          TX    76442‐1637
ELMON C WILLIAMS                                4440 W KESSLER COWLESVILLE RD                                                                  WEST MILTON       OH    45383‐8729
ELMON E ROSE                                    3172 WOODHAVEN DR                                                                              FRANKLIN          OH    45005‐4863
ELMON E ROSE & CAROL S ROSE JT TEN              3172 WOODHAVE DR                                                                               FRANKLIN          OH    45005‐4863
ELMOND E SMITH & GRACE B SMITH JT TEN           303 W DICKERSON LN                                                                             MIDDLETOWN        DE    19709‐8827
ELMONT CHEESMAN                                 21 CADWALLADER COURT                                                                           YARDLEY           PA    19067‐1514
ELMORE BRYANT                                   5723 W OHIO ST                                                                                 CHICAGO           IL    60644‐1408
ELMORE CARTHAN                                  711 W MCCLELLAN                                                                                FLINT             MI    48504‐2629
ELMORE COLLINS                                  PO BOX 28112                                                                                   DETROIT           MI    48228‐0112
ELMORE H BILES JR                               73 RYBURY HILLWAY                                                                              NEEDHAM           MA    02492‐4305
ELMORE INGRAM                                   93 HEDLEY PLACE                                                                                BUFFALO           NY    14208‐1062
ELMORE JACKSON                                  20500 FENELON                                                                                  DETROIT           MI    48234‐2259
ELMORE JENKINS                                  1554 LUXOR ROAD                                                                                CLEVELAND         OH    44118‐1018
ELMORE MCBEE                                    PO BOX 513                                                                                     WENTZVILLE        MO    63385‐0513
ELMORE SPENCER JR                               205 GROVER TURNER WAY                                                                          MCDONOUGH         GA    30253‐5952
ELMORE STANDBERRY JR                            15884 EVERGREEN RD                                                                             DETROIT           MI    48223‐1239
ELMOUS L STANLEY                                1066 CRITES RD                                                                                 ATKINS            AR    72823‐8098
ELNA CARLSON                                    C/O CARL E CARLSON                    402 IDLEWOOD LN                                          WILLIAMSBURG      VA    23185‐4029
ELNA E GODBURN                                  924 QUINNIPIAC                                                                                 NEW HAVEN         CT    06513‐3334
ELNA E RIDGWAY & EVAN L RIDGWAY JT TEN          403 S 7TH                                                                                      ATWOOD            KS    67730‐2021
ELNA L MCMURRAY & HARVEY MCMURRAY & JUDY        6030 BORTNER LANE                                                                              WEST ALEXANDRIA   OH    45381‐1242
HITTLE JT TEN
ELNA L MCMURRAY & HARVEY MCMURRAY & JUDY        6030 BORTNER LN                                                                                W ALEXANDRIA      OH    45381‐1242
HITTLE JT TEN
ELNA M KANYAK                                   11441 VISTA DR                                                                                 FENTON            MI    48430
ELNA W HAINES                                   1500 VILLA RD                         APT 234                                                  SPRINGFIELD       OH    45503‐1665
ELNER B REEVES                                  4409 DANADA DR                                                                                 DAYTON            OH    45406‐1417
ELNOEL L FUNCHES JR                             PO BOX 55                                                                                      TOUGALOO          MS    39174‐0055
ELNORA A ROBERTS & GARY A ROBERTS & LINDA E     113 GREGORY CIRCLE                                                                             PORT ORANGE       FL    32127‐6216
ROBERTS JT TEN
ELNORA B SMITH                                  11904 INGOMAR AVENUE                                                                           CLEVELAND         OH    44108‐4007
ELNORA B TURNER                                 458 SCENIC DR                                                                                  ST LOUIS          MO    63137‐3608
ELNORA C BURGESS                                3296 QUINCEY XING                                                                              CONYERS           GA    30013‐6385
ELNORA COBB                                     345 OSWEGO ST                                                                                  PARK FOREST       IL    60466
ELNORA G HOBBS                                  154 ROCK SPRINGS RD                                                                            MILNER            GA    30257‐3308
ELNORA HIGHTOWER                                218 LANSDOWN                                                                                   YOUNGSTOWN        OH    44506‐1139
ELNORA J BRANSON                                2305 EDINBURGH DR                                                                              ELVERTA           CA    95626‐9724
ELNORA J BROWN                                  34021 JOAN CT                                                                                  ROMULUS           MI    48174‐1886
ELNORA J PIATT                                  2852 WINCHESTER RD                                                                             ZENIA             OH    45385‐9770
ELNORA LAWSON TR ELNORA LAWSON TRUST UA         3313 SHERWOOD DR                                                                               FLINT             MI    48503‐2358
03/21/00
ELNORA M PONTREMOLI                             246 LANE STREET N W                                                                            GRAND RAPIDS      MI    49504‐5414
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Name                                                Address1                                Address2             Address3          Address4            City            State Zip

ELNORA MACK‐VESTER                                  24723 HEARTHSIDE ST                     APT 209                                                    FARMINGTN HLS   MI    48335‐2354
ELNORA MILLER & YOLANDA L MILLER JT TEN             7505 BURNETTE                                                                                      DETROIT         MI    48210‐3304
ELNORA MOORMAN                                      5028 WHIFIELD                                                                                      DETROIT         MI    48204‐2135
ELNORA N BRYANT                                     1077 SHERWOOD DR                                                                                   MC COMB         MS    39648‐9262
ELNORA PORTER                                       PO BOX 7713                                                                                        GRAND RAPIDS    MI    49510‐7713
ELNORA R ROBY                                       6313 LAFLEUR DRIVE                                                                                 SHREVEPORT      LA    71119‐6214
ELNORA S CRAWFORD TR ELNORA S CRAWFORD TRUST        4539 GLEN MARTIN DR                                                                                DAYTON          OH    45431‐1814
UA 06/22/94
ELNORA T KELSEY                                     PO BOX 336                                                                                         NEWELL          IA    50568‐0336
ELNORA W SAUNDERS                                   2037 GRUBBY RD                                                                                     HALIFAX         VA    24558‐2437
ELODIA GONZALES                                     2220 TANNER LK RD                                                                                  HASTINGS        MI    49058‐9272
ELODIE K PEARSON TR UA 05/22/90 ELODIE K PEARSON    8617 MATTERHORN DR                                                                                 SANTEE          CA    92071‐3413
TRUST
ELOINO G CARDONA                                    HC02‐BOX 7907                           AIBONITO                               00705 PUERTO RICO                         ‐9604
ELOIS IRVIN                                         255‐48 147 RD                           APT 1                                                      ROSEDALE        NY    11422
ELOIS T BANKS CUST LAURA MARIE HENDERSON UGMA       222 W 138TH ST                                                                                     NEW YORK        NY    10030‐2108
NY
ELOISA VALDEZ GARCIA                                410 E TAYLOR                                                                                       HARLINGEN       TX    78550‐6923
ELOISA W KILGORE                                    PO BOX 166                                                                                         HARRISON        MT    59735‐0166
ELOISE A FOLEY                                      C/O PETER NOLAN                         1070 MAIN ST                                               COVENTRY        RI    02816‐5707
ELOISE A KRUMWIDE                                   19617 LONGCOR ROAD                                                                                 COTTONWOOD      CA    96022‐9340
ELOISE A LATHROP                                    3165 WARBLER WAY                                                                                   CUMMING         GA    30041‐9773
ELOISE ALDRIDGE                                     52 KIRKPATRICK ST                                                                                  BUFFALO         NY    14215‐3833
ELOISE B ESSER                                      620 COUNTRY CLUB DR                                                                                PRESCOTT        AZ    86303‐4060
ELOISE B FOPPIANO                                   446 MARLBORO ROAD                                                                                  WOOD RIDGE      NJ    07075‐1216
ELOISE B HODGES                                     3605 N CREDE DR                                                                                    CHARLESTON      WV    25302‐4626
ELOISE B LYON                                       5028 81ST AVENUE TER E                                                                             SARASOTA        FL    34243‐4305
ELOISE B PERKINSON & DAVID W PERKINSON JT TEN       377 EASTVIEW DRIVE                                                                                 PARKERSBURG     WV    26104‐8433

ELOISE BELTZ‐DECKER                                 4829 W FERDINAND ST                                                                                CHICAGO         IL    60644‐2009
ELOISE BRINSON                                      PO BOX 44031                                                                                       SHREVEPORT      LA    71134‐4031
ELOISE D RUNNER                                     7607 MINES RD SE                                                                                   WARREN          OH    44484‐3840
ELOISE DOYLE                                        1338 DONOVAN ST                                                                                    BURTON          MI    48529‐1235
ELOISE EVANS & DOUGLAS R EVANS JT TEN               5290 ROYALWOOD RD                                                                                  N ROYALTON      OH    44133‐4022
ELOISE F WILLIAMS                                   315 S DOGWOOD LN                                                                                   BYRAM           MS    39272‐9444
ELOISE FOSTER                                       1507 E 106TH ST                                                                                    CLEVELAND       OH    44106‐1104
ELOISE G HOUSEFIELD                                 3661 HAVERHILL DRIVE                                                                               INDIANAPOLIS    IN    46240‐3645
ELOISE G SHAW                                       1449WAMAJO DRIVE                                                                                   SANDUSKY        OH    44870‐4351
ELOISE HADDAD & AYOUB D HADDAD JT TEN               5312 CAPRI                                                                                         TROY            MI    48098‐2416
ELOISE HORSEY CANNOLES                              1125 WESTERN BLVD                                                                                  ARLINGTON       TX    76013‐3838
ELOISE J HENDERSON                                  8514 SO LOOMIS BLVD                                                                                CHICAGO         IL    60620‐4027
ELOISE J PIERCE                                     2106 N GERRARD                                                                                     INDIANAPOLIS    IN    46224‐5038
ELOISE JACKSON                                      5721 BALDWIN BLVD                                                                                  FLINT           MI    48505‐5153
ELOISE JAMAINE REDMOND                              736 E MYRTLE ST                                                                                    FLINT           MI    48505‐3939
ELOISE K PATRICK                                    800 MARSHALL ST                                                                                    PORTLAND        MI    48875‐1374
ELOISE K POPP                                       1291 SMITH RD                                                                                      E AMHERST       NY    14051‐1137
ELOISE L HEDRICK                                    2728 N MERIDIAN RD                                                                                 APACHE JCT      AZ    85220‐9455
ELOISE L SIMS                                       3918 KELLAR AVE                                                                                    FLINT           MI    48504‐3729
ELOISE LAIRD SHAW                                   407 HILLCREST DRIVE                                                                                WORLAND         WY    82401‐3131
ELOISE M BAILEY                                     3812 ELM TREE RD                                                                                   WAYNESVILLE     OH    45068‐9201
ELOISE M CAUTHEN                                    11 MIMOSA LN                                                                                       TEAGUE          TX    75860‐1023
ELOISE M HILGEFORD                                  48 QUINBY LANE                                                                                     DAYTON          OH    45432‐3414
ELOISE M MASSARO                                    978 COUNTY RTE 43                       PO BOX 36                                                  FT COVINGTON    NY    12937‐0036
ELOISE M MILLER & JAN S MILLER & JON T MILLER &     10370 OLD 3C HWY                                                                                   CLARKSVILLE     OH    45113
DAVID C MILLER JT TEN
ELOISE M STEPHENS                                   434 PINKNEY DR                                                                                     GRAND CANE      LA    71032‐5914
ELOISE NORMAN                                       1022 APACHE FALLS                                                                                  KATY            TX    77450‐3702
ELOISE PASSMORE                                     15330 MARLOWE                                                                                      DETROIT         MI    48227‐2953
ELOISE PERSON                                       1653 TILLOTSON AVENUE                                                                              BRONX           NY    10469‐2746
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ELOISE REEVES LEWIS                                 404 LOCKSLEY CT                                                                                  GEORGETOWN      KY    40324‐9409
ELOISE RIDGEWAY                                     1900 LAUDERDALE DR                      APT C‐216                                                HENRICO         VA    23238‐3971
ELOISE S BAILEY                                     705 PARK LANE                                                                                    FULTONDALE      AL    35068‐1911
ELOISE T SMITH                                      1277 GREENRIDGE AVE                                                                              LITHONIA        GA    30058
ELOISE VAUGHAN                                      513 FOREST VIEW RD                                                                               LINTHICUM       MD    21090‐2817
                                                                                                                                                     HEIGHTS
ELOISE W KEY                                        518 SE 6TH TER                                                                                   CAPE CORAL      FL    33990‐1142
ELOISE W PLETCHER                                   2880 RUN A ROUND RD                                                                              JUNCTION CITY   OH    43748‐9709
ELOISE W SMITH                                      745 E RUSSELL AVE                                                                                FLINT           MI    48505‐2219
ELOISE WIDOM                                        11211 NW 10TH PL                                                                                 CORAL SPRINGS   FL    33071‐5128
ELOISE YOUNG WILLIAMS                               BOX 635 HOLLY RIDGE RD                                                                           MOUTH OF WILSON VA    24363

ELOISE ZECH                                     127 STONYRIDGE DR #211                                                                               SANDUSKY        OH    44870‐6611
ELOM DANIELS JR                                 2317 NORTH B STREET                                                                                  ELWOOD          IN    46036‐1751
ELON EMERY STADLER                              548 S EAST ST                                                                                        BUCYRUS         OH    44820‐2834
ELON F WOLF                                     C/O EDVETA K WOLF                           4741 CHURCH AVE                                          WISC RAPIDS     WI    54494
ELON P SPENCER                                  ATTN ELON P ALLEN                           3203 PINE RIDGE RD                                       BIRMINGHAM      AL    35213‐3907
ELON TIFFANY OLDACRES                           78 COLETTE AVE                                                                                       BUFFALO         NY    14227‐3402
ELONZO COLEMAN JR                               24817 MARYLAND                                                                                       SOUTHFIELD      MI    48075‐3039
ELONZO SMITH                                    305 JAMES                                                                                            BAY CITY        MI    48706‐3927
ELOUISE WARNER                                  PO BOX 1163                                                                                          BUCKHANNON      WV    26201
ELOYCE PACKER                                   1220 E 28TH ST                                                                                       OAKLAND         CA    94610‐4023
ELOYOUS K PALM                                  1933 S TOPEKA                                                                                        WICHITA         KS    67211‐4139
ELRETTA B SMITH                                 20261 CONLEY                                                                                         DETROIT         MI    48234‐2257
ELRETTA J HAMMOND                               9340 LOCHMOOR DR                                                                                     DAVISON         MI    48423‐8711
ELRO CURRY                                      108 THATCHER AVE                                                                                     BUFFALO         NY    14215‐2236
ELROSE L FIGG                                   7227 RENNER ROAD SUITE 200                                                                           SHAWNEE         KS    66217
ELROY B MOGG                                    2737 N HURON RD                                                                                      PINCONNING      MI    48650‐7920
ELROY D POWLEY                                  28 MINARD ST                                                                                         LOCKPORT        NY    14094‐4804
ELROY L RICE                                    1806 E RIVER RD                                                                                      KAWKAWLIN       MI    48631‐9421
ELROY M LEMKE                                   N1131 COUNTY ROAD K                                                                                  FORT ATKINSON   WI    53538‐9361
ELROY PRATER                                    8295 MORROW CIRCLE                                                                                   DETROIT         MI    48204‐3137
ELROY R PETERSON CUST ELIZABETH A PETERSON UGMA 3615 IDAHO AVE N W                                                                                   WASHINGTON      DC    20016‐3121
IA
ELROY REIMAN & JANETTE REIMAN JT TEN            11100 THRUSH AVE                                                                                     CLEVELAND       OH    44111‐4838
ELROY ROBLEY & ALICE ROBLEY JT TEN              35 ANNE ST APT 308                                                                                   CLINTONVILLE    WI    54929‐2201
ELROY S JOHNSON                                 1700 SHELBY CT                                                                                       SEVERN          MD    21144‐1070
ELROY SUDECK                                    1205 FARRELL AVE                            TRLR 14                                                  CHERRY HILL     NJ    08002‐2714
ELROY T LETTERLE                                5231 LARSON WEST RD                                                                                  WEST FARMINGTON OH    44491‐9777

ELROY T LETTERLE & BILLIE R LETTERLE JT TEN         5231 LARSON WEST RD                                                                              WEST FARMINGTON OH    44491‐9777

ELROY W SANDER                                      PO BOX 654                                                                                       PIERRON         IL    62273‐0654
ELSA B STEELE                                       2704 NE 87TH                                                                                     SEATTLE         WA    98115‐3456
ELSA C VON BRIESEN                                  95 HOBSON ST                            APT 4B                                                   SAN JOSE        CA    95110‐2259
ELSA D GARNIER                                      3852 SHARP RD                                                                                    ADRIAN          MI    49221‐9639
ELSA G YERMAN                                       8829 GREENHILL LN                                                                                GREENDALE       WI    53129‐1548
ELSA I HOGUE                                        1111 32ND ST                            APT 35                                                   ANACORTES       WA    98221‐4254
ELSA M BRANDAO                                      511 CADIMA AVE                                                                                   CORAL GABLES    FL    33134‐7117
ELSA M NICKERSON & BRUCE A NICKERSON JT TEN         9349 NAVAJO PL                                                                                   SUNLAKES        AZ    85248‐7022
ELSA N ARCHULETA                                    1260 AVENIDA ESPLENDIDA                                                                          LOS LUNAS       NM    87031‐8352
ELSA N SALINAS                                      5903 VERDOME LN                                                                                  HOUSTON         TX    77092
ELSA R STALLINGS                                    1921 W 9TH ST                                                                                    ANDERSON        IN    46016‐2708
ELSA S BECKER TR ELSA S BECKER REVOC LIV TRUST UA   303 SURF RD                                                                                      MELBOURNE BCH   FL    32951‐2649
04/29/98
ELSA SAUGA                                          19‐141 WELLAND VALE RD                  ST CATHARINES ON                       L2S 3S7 CANADA
ELSA SAVO                                           2566 RIVER WOODS DR N                                                                            CANTON          MI    48188‐3285
ELSA SOTO                                           3103 SW 14TH CT                                                                                  CAPE CORAL      FL    33914‐8200
ELSA VAN BOSKIRK                                    255 E WATER ST                                                                                   MIDDLETOWN      PA    17057
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ELSA WOLSCHINA                                    21 RT 635                                                                                        HAMPTON         NJ    08827‐4011
ELSE K BOTNE & HELEN I BOTNE JT TEN               52 SCHEFFELIN AVE                                                                                STATEN ISLAND   NY    10306‐1248
ELSE R HOLT & ALFORD W HOLT JT TEN                805 S HAWTHORNE ST                                                                               EMMETT          ID    83617
ELSE SCHUSTER                                     336 W PASSAIC ST                                                                                 ROCHELLE PARK   NJ    07662‐3027
ELSEBETH KAY THOMSEN                              30 BLUEBERRY HILL RD PVT                                                                         ACCORD          NY    12404‐5201
ELSENIA PORTERFIELD                               3023 SALINA                                                                                      SAGINAW         MI    48601‐3716
ELSER H DEQUACH                                   34611 SUMMERSET DRIVE                                                                            SOLON           OH    44139‐5637
ELSIA MITCHELL & JOE MITCHELL JT TEN              PO BOX 2812                             2103 E 10TH STREET                                       PORT ARTHUR     TX    77643‐2812
ELSIE A ELLENBERGER                               2528 HASTINGS DRIVE                                                                              BELMONT         CA    94002‐3322
ELSIE A GUTIERREZ                                 3109 SE CARD TERR                                                                                PORT ST LUCIE   FL    34984‐6327
ELSIE A KAMINKER                                  22B E 49TH ST                                                                                    BEACH HAVEN     NJ    08008‐3907
ELSIE A MANGLES                                   20737 ROSCO BLVD                                                                                 CANOGA PARK     CA    91306‐1753
ELSIE A SIMEK TR SIMEK FAMILY TRUST UA 6/2/92     20 ARBORETUM DR                                                                                  LOMBARD         IL    60148‐7113
ELSIE ANN IMMEL                                   121 WETMORE RD                                                                                   COLUMBUS        OH    43214‐2111
ELSIE AOUATE                                      7184 HOLMES CT                                                                                   CANTON          MI    48187‐1655
ELSIE AOUATE & HENRY NORBERT AOUATE JR JT TEN     7184 HOLMES CT                                                                                   CANTON          MI    48187‐1655

ELSIE B NICKOLOFF                                 105 GENERAL SMITH PL                                                                             HENDERSONVLLE   TN    37075‐4620
ELSIE B RANZENBACH                                279 COLE AVE                                                                                     ROCHESTER       NY    14606‐3806
ELSIE B WAGNER TR ELSIE B WAGNER REV LIVING TRUST 4200 7 MILE RD APT 305                                                                           NORTHVILLE      MI    48167‐2478
UA 12/21/92
ELSIE BARRY                                       331 MYRTLE AVE                                                                                   CHELTENHAM      PA    19012‐2035
ELSIE BUSCAGLIA                                   4 HIGHVIEW DR                                                                                    HUNTINGTON      NY    11743‐1429
ELSIE C DIXON                                     10303 BURNT STORE RD                    #99                                                      PUNTA GORDA     FL    33950‐7964
ELSIE C HIGGINS & LINDA C LAVARETTO JT TEN        4506 S KOMENSKY                                                                                  CHICAGO         IL    60632‐4032
ELSIE C MALESKO                                   96 WINNET DR                                                                                     DAYTON          OH    45415‐2930
ELSIE C TAYLOR                                    3302 SCANDIA DR                                                                                  CUSHING         MN    56443‐2092
ELSIE D BARTOLOME                                 59 STONEHILL RD                                                                                  HYDE PARK       MA    02136‐1236
ELSIE D MORIN                                     42248 SARATOGA CIRCLE                                                                            CANTON          MI    48187‐3596
ELSIE D ROBART HORACE G ROBART & PATRICIA G       705 CRESTWOOD DR                                                                                 WINTER HAVEN    FL    33881‐2919
SUMERIX JT TEN
ELSIE D TROUTMAN                                  154 CHAPEL ST                                                                                    PORTER          ME    04068‐3454
ELSIE DANIELS                                     26376 QUARRY ROAD                                                                                WELLINGTON      OH    44090
ELSIE E BLUM TR UA 10/23/91 ELSIE E BLUM TRUST    502 PARK ST                                                                                      MARSHFIELD      WI    54449‐3651

ELSIE E COTHERN & MELVIN COTHERN JT TEN         RR                                                                                                 RAMSEY          IL    62080
ELSIE E GILLBERG                                388 FORDHAM PKWY                                                                                   BAY VILLAGE     OH    44140‐2909
ELSIE E HARROW                                  RT #2 BOX 488                                                                                      COMANCHE        OK    73529‐9674
ELSIE E KENNEDY                                 70 CARTER DR                                                                                       FRAMINGHAM      MA    01701
ELSIE E SCOTT                                   PO BOX 2050 PO BOX 2050                                                                            TIJERAS         NM    87059
ELSIE E SMITH                                   17 PERKINS ST                                                                                      PLAINS          PA    18705‐1528
ELSIE E TATRO                                   10 TEAKWOOD CT                                                                                     E GREENWICH     RI    02818‐2118
ELSIE E WU                                      3053 LOMBARDY RD                                                                                   PASADENA        CA    91107‐5572
ELSIE E YUHASZ                                  1427 WEST 38TH ST                                                                                  LORAIN          OH    44053‐2805
ELSIE E ZIEGLER                                 850 JOYCE ROAD                                                                                     CLEVELAND       OH    44143‐3305
ELSIE F CARDAMONE                               2150 BLEECKER ST                                                                                   UTICA           NY    13501‐1738
ELSIE F KEISER                                  1601 ABACO DR #M1                                                                                  COCONUT CREEK   FL    33066‐1440
ELSIE F SAIENNI                                 16 MARSDEN AVENUE                                                                                  PENNS GROVE     NJ    08069‐1512
ELSIE F WEBB                                    BOX 494                                                                                            PARKSLEY        VA    23421‐0494
ELSIE FINK JO ANN MARKHAM & THOMAS EARL ZINDARS 32 S PICKETT DR                                                                                    FISHER          IL    61843‐9437
JT TEN
ELSIE G EMERSON                                 27 EMMET ST                                                                                        SPRINGFIELD     MA    01119‐2815
ELSIE G KENNEDY                                 1330 MASSACHUSETTS AVE NW                 APT 404                                                  WASHINGTON      DC    20005‐4172
ELSIE G KENNEDY                                 1330 MASSACHUSETTS AVE NW #404                                                                     WASHINGTON      DC    20005‐4172
ELSIE GRAY                                      4148 COYOTE DR                                                                                     JOPLIN          MO    64804‐8796
ELSIE H BIXLER                                  3020 W CLARK RD                                                                                    BENSON          AZ    85602‐7600
ELSIE H KRIST & DORIS A KRIST JT TEN            14194 MEADOW HILL LANE                                                                             PLYMOUTH        MI    48170‐3173
ELSIE H POLLINO                                 112 ROCKY COURT SOUTH                                                                              CHALFONT        PA    18914‐2017
ELSIE H TENNISON                                420 BALDWIN AVE                           APT 95                                                   ROCHESTER       MI    48307‐2118
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ELSIE J CHALKER                                    4408 NORTHWEST 2ND ST                                                                            PLANTATION         FL    33317‐3105
ELSIE J DICKTY & PAULA M CANGEMI & DENNIS S DICKTY 14588 LEDDS COURT 210‐A                                                                          SHELBY TOWNSHIP    MI    48315‐3767
JT TEN
ELSIE J KLUMP TR ELSIE J KLUMP LIVING TRUST UA     W 8007 S US 2 #246                                                                               IRON MOUNTAIN      MI    49801
10/04/95
ELSIE J LJUBI                                      33951 MARCUM BLVD                                                                                WILLOUGHBY HILLS OH      44092‐1327

ELSIE J MONAHAN                                     91 TUNNEL RD                                                                                    TERRYVILLE         CT    06786‐6507
ELSIE J PARSONS                                     209 HAZE ST                                                                                     LANSING            MI    48917‐3828
ELSIE JANE CHAPMAN & JAMES B CHAPMAN IV JT TEN      204 LIGHTHOUSE DRIVE                                                                            HAMPTON            VA    23664‐1918

ELSIE JEAN MARTIN TOD KATHLEEN KEHOE & DONALD J 2157 MOUNT SHASTA                                                                                   SAN PEDRO          CA    90732‐1334
MARTIN & SUSAN COSTA
ELSIE JONES                                        310 S GRAND                                                                                      MC PHERSON         KS    67460‐4911
ELSIE K HOFFMAN                                    1826 BEAVER MEADOW ROAD                                                                          JAVA CENTER        NY    14082‐9624
ELSIE K MOORE                                      902 MILLARD ST                                                                                   THREE RIVERS       MI    49093‐9588
ELSIE KERR & KATHLEEN MCFARLAND JT TEN             41120 FOX RUN RD APT 409                                                                         NOVI               MI    48377‐4826
ELSIE KORTREY                                      21 CEDAR GROVE RD                                                                                CONSHOHOCKEN       PA    19428‐2118
ELSIE L BEEBE                                      3144 STRATFORD ST                                                                                FLINT              MI    48504
ELSIE L DICKERSON                                  17758 ALTA VISTA PLACE                                                                           SOUTHFIELD         MI    48075‐1938
ELSIE L HODGES                                     28 STEEP HOLLOW LN                                                                               WEST HARTFORD      CT    06107‐3520
ELSIE L KENNEDY TR ELSIE L KENNEDY LIVING TRUST UA 20529 ARDMORE PARK                                                                               ST CLAIR SHORES    MI    48081‐1773
03/05/93
ELSIE L LEACH                                      6068 FURNAS OGLESBY RD                                                                           WAYNESVILLE        OH    45068‐9714
ELSIE L LIVINGSTON                                 13214 ACLARE ST                                                                                  CERRITOS           CA    90703
ELSIE L MAGULICK & PAULINE M KUMER JT TEN          2899 MAPLE ST                                                                                    BETHEL PARK        PA    15102‐2519
ELSIE L PANDILIDIS                                 8049 PADDINGTON LANE                                                                             CINCINNATI         OH    45249‐1542
ELSIE L YACAPRARO                                  3612 COLUMBUS RD                                                                                 WOOSTER            OH    44691‐8427
ELSIE LAZAR & LEA MANDEL JT TEN                    99‐15 66TH AVE                                                                                   FOREST HILLS       NY    11374‐3660
ELSIE M BASENESE                                   19 PARTRIDGE DR                                                                                  BLAIRSTOWN         NJ    07825‐2315
ELSIE M CEDARLEAF TR UA 12/17/90 ELSIE M CEDARLEAF 7132 WEATHERED OAK LN                                                                            ROCKFORD           IL    61107‐6219
TRUST
ELSIE M CREASMAN                                   3925 DIAMOND LOCH W                                                                              FT WORTH           TX    76180‐8725
ELSIE M FETTY                                      5985 MUNSON HWY                                                                                  HUDSON             MI    49247‐9576
ELSIE M GRAMMAR                                    C/O ELSIE GRAMMAR                       886 KENILWORTH                                           PONTIAC            MI    48340‐3104
ELSIE M GRIFFITH & RICHARD B GRIFFITH JT TEN       1800 SO RUNDLE AVE                                                                               LANSING            MI    48910‐9028
ELSIE M JACKSON                                    2137 E DESERT BROOM DR                                                                           CHANDLER           AZ    85286‐2341
ELSIE M KNIGHT TR ELSIE M KNIGHT TRUST UA 05/03/91 2904 TANGLEWOOD DRIVE                                                                            WAYNE              MI    48184‐2815

ELSIE M LEWIS                                       34854 SW 187TH CT                                                                               HOMESTEAD        FL      33034‐4537
ELSIE M MARTIN & STEPHEN R MARTIN JT TEN            158 EAST LAKESHORE DR                                                                           CHEROKEE VILLAGE AR      72529‐4232

ELSIE M MERRIWETHER                                 2030 MC AVOY ST                                                                                 FLINT              MI    48503‐4248
ELSIE M MILAK                                       723 INDIANA AVE                                                                                 MCDONALD           OH    44437‐1822
ELSIE M MIZE                                        36844 ARLENE DRIVE                                                                              STERLING HEIGHTS   MI    48310‐4311

ELSIE M MUKO                                        4379 WEST 189TH ST                                                                              CLEVELAND          OH    44135‐1866
ELSIE M RETH TR UA 03/15/94 ELSIE M RETH LIVING     2015 HILLCREST ST                                                                               LANSING            MI    48910
TRUST
ELSIE M SAATHOFF                                    715 S BROAD ST                                                                                  MIDDLETOWN         DE    19709‐1434
ELSIE M SIRUTIS                                     248 21 THORNHILL AVE                                                                            DOUGLASTON         NY    11362
ELSIE M SMITH                                       9796 PROTOFINO DR                                                                               ORLANDO            FL    32832
ELSIE M STEPHENSON                                  1900 MT VERNON ROAD                                                                             SOUTHINGTON        CT    06489‐1066
ELSIE M WARREN                                      5114 N LINDEN RD                                                                                FLINT              MI    48504‐1144
ELSIE M WIERSMA                                     C/O YVONNE FRY                         1955 LEE ST SW                                           WYOMING            MI    49509‐1738
ELSIE M WINTON                                      244 KYSER BLVD                         APT 1302                                                 MADISON            AL    35758‐3125
ELSIE M YOKLEY                                      3886 WISEWOOD ST NW                                                                             UNIONTOWN          OH    44685‐9122
ELSIE MAE HOGG                                      1155 DE CAMP ST                                                                                 BURTON             MI    48529‐1105
ELSIE MAE ONEAL                                     208 GREAT HOUSE CIRCLE                                                                          MIDLAND            TX    79707‐1202
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ELSIE MEREDITH SHY                                 235 PARKWAY DR                                                                                             ATHENS          GA    30606‐4949
ELSIE MORRIS                                       2044 21ST DR                                                                                               BROOKLYN        NY    11214‐6373
ELSIE O GREEN TR GREEN LIVING TRUST UA 11/08/99    39975 CEDAR BLVD UNIT 142                                                                                  NEWARK          CA    94560‐5335

ELSIE O NEFF                                       435 INDIANA AVE                                                                                            MCDONALD        OH    44437‐1923
ELSIE P BRYAN                                      1104 GREENTURF RD                                                                                          SPRING HILL     FL    34608‐8438
ELSIE P FERRON                                     43 B STODDARD DR                                                                                           MERIDEN         CT    06451‐3741
ELSIE P KOENIG                                     7858 SOUTH ZANTE CT                                                                                        AURORA          CO    80016‐7117
ELSIE P LYONS & DRUSILLA MCNEIL JT TEN             41 MORNINGSIDE DR W                                                                                        BRISTOL         CT    06010‐4550
ELSIE P ODONNELL                                   121 E WALNUT ST                                                                                            CHATSWORTH      GA    30705‐2547
ELSIE PAULINE KING                                 1005 E WALNUT ST                                                                                           KOKOMO          IN    46901‐4881
ELSIE R CORELL                                     10930 VALENCIA TER                                                                                         SEMINOLE        FL    33772‐4732
ELSIE R GIGLIOTTI                                  1407 ROBERTSVILLE RD                                                                                       PUNXSATAWNEY    PA    15767‐3536
ELSIE R TRIVETT & R SCOTT TRIVETT JT TEN           13244 GLENHILL ROAD                                                                                        SILVER SPRING   MD    20904‐3259
ELSIE RICE                                         199 CHELMSFORD ST                     APT 217                                                              CHELMSFORD      MA    01824‐2317
ELSIE ROBINSON TRIVETT & RICHARD ANADALE TRIVETT   13244 GLENHILL ROAD                                                                                        SILVER SPRING   MD    20904‐3259
JT TEN
ELSIE ROWLEY TR ELSIE ROWLEY TRUST UA 03/26/96     606 E TUSCOLA ST                                                                                           DURAND          MI    48429‐1375

ELSIE S LEHMAN                                     4703 WREN CT                                                                                               LEBANON         OH    45036‐9543
ELSIE S SHIPLEY                                    18 VINE ST                                                                                                 CLAYTON         NJ    08312‐1632
ELSIE S UPCHURCH                                   BOX 242                                                                                                    FRONT ROYAL     VA    22630‐0005
ELSIE STREET                                       7915 OAKSDALE AVE                                                                                          BALTIMORE       MD    21237‐2758
ELSIE T DARDEN                                     1106 EUGENE STREET                                                                                         INDIANAPOLIS    IN    46208‐4933
ELSIE T DAVIS                                      394 HOOK RD                                                                                                PENNSVILLE      NJ    08070
ELSIE T MERY                                       1508 FREMONT                                                                                               LAREDO          TX    78040‐7207
ELSIE VAN TASSELL                                  1305 N PARKER DR                                                                                           JANESVILLE      WI    53545‐0713
ELSIE W BOLINGER & JAMES E BOLINGER JT TEN         3430 GALT OCEAN DRIVE                 APT 1412                                                             FT LAUDERDALE   FL    33308‐7018
ELSIE W HARTLIEB                                   3123 GC & P ROAD                                                                                           VALLEY GROVE    WV    26060‐8932
ELSIE W HOWARD                                     2134 ARBOR OAKS DR                                                                                         MARIETTA        GA    30062‐7761
ELSIE W MAC LEOD                                   C/O FIRST UNION NATIONAL BANK         1525 WEST W T HARRIS BLVD 3A4   INCOME SERVICING                     CHARLOTTE       NC    28262‐8522
ELSIE WILLIAMS                                     4331 FULLERTON ST                                                                                          DETROIT         MI    48238‐3234
ELSIE Z CARPENTER                                  C/O MARCELLA C GRAFFIN                19120 STAGG ST                                                       RESEDA          CA    91335‐1733
ELSIE'S INVESTMENT CLUB LP                         16462 BUCKNER POND WAY                                                                                     CREST HILL      IL    60435
ELSMERE FIRE CO NO I                               1107 NEW ROAD                         ELSMERE                                                              WILMINGTON      DE    19805
ELSON MARK RIEGEL                                  BOX 241                                                                                                    MILL CREEK      WV    26280‐0241
ELSWORTH F BENSON III & JOANN M BENSON TR UA       218 STAMFORD AVE                                                                                           STAMFORD        CT    06902‐8034
02/08/83 JILL M BENSON
ELSY HADDAD                                        17294 37TH PL N                                                                                            LOXAHATCHEE     FL    33470
ELSYE ECKER                                        10 EDINBURGH DR                                                                                            RANDOLPH        NJ    07869‐2137
ELTA SUE BURNS                                     1630 SPRINGDALE DR                                                                                         OWENSBORO       KY    42301‐6860
ELTHER B VAUGHAN                                   109 GALAX LANE                                                                                             DURHAM          NC    27703‐9273
ELTON A NEWTON                                     548 GOLD CREST DR                                                                                          BRASELTON       GA    30517‐1811
ELTON D WAGGONER                                   4990 HARVEY LAKE ROAD                                                                                      HIGHLAND TWP    MI    48356‐1025
ELTON D WILLIAMS                                   70 ASHLEY CIR                                                                                              SWARTZ CREEK    MI    48473‐1174
ELTON E CROWE                                      BOX 326                               5750 CARLISLE HWY                                                    CHARLOTTE       MI    48813‐8865
ELTON F JACKSON                                    8218 WHITAKER VALLEY BLVD                                                                                  INDIANAPOLIS    IN    46237‐8564
ELTON H SAGE                                       2423 E ALAMEDA DR                                                                                          TEMPE           AZ    85282‐3007
ELTON J LAFRAMBOISE                                7570 HILLTOP RIDGE RD                                                                                      STANWOOD        MI    49346‐9725
ELTON J RYNEARSON JR & JANE J RYNEARSON JT TEN     30981 ADAMS DR                                                                                             ROCKWOOD        MI    48173‐9533

ELTON L ANDERSON & ELNA M ANDERSON TR UA           36694 S STONEY FLOWER DR                                                                                   TUCSON          AZ    85739‐1671
05/20/91
ELTON L BRILEY                                     904 RIVER ACRES DR                                                                                         TECUMSEH        MI    49286‐1141
ELTON L TUCKER                                     4505 HWY 64                                                                                                BARNWELL        SC    29812
ELTON M WILSON                                     2120 TWO NOTCH RD                                                                                          LEXINGTON       SC    29072‐8992
ELTON R SLIGER                                     PO BOX 169                                                                                                 BARRY           TX    75102‐0169
ELTON THOMASON & DIANE THOMASON JT TEN             3160 HOLLIE HUTCHINSON RD                                                                                  UNION CITY      TN    38261
ELTON TONDU & DONNA MAE TONDU JT TEN               4034 LEITH ST                                                                                              FLINT           MI    48509‐1031
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ELTON W FORS                                     12962 PRAIRIEWOOD DR                                                                        ABERDEEN        SD    57401‐8104
ELTON WETZEL JR                                  3102 EAST 11TH ST                                                                           ANDERSON        IN    46012‐4512
ELTRUDES M BOWDEN                                APT L                              9607 VAN NUYS BLVD                                       PANORAMA CITY   CA    91402‐1070
ELVA A SUTHERLIN                                 8418 S STATE RD 39                                                                          CLAYTON         IN    46118‐9179
ELVA BRETSNYDER & BRUCE BRETSNYDER JT TEN        200 ALMA ST                                                                                 PITTSBURG       PA    15223‐1111
ELVA E BROWN                                     1415 EAST PAT PLACE                                                                         ANAHEIM         CA    92805‐5737
ELVA E FITZGERALD                                95 LAMONT DR                                                                                EGGERTSVILLE    NY    14226‐2939
ELVA E YEAGER                                    1532 MARY FRANCES CT                                                                        MIAMISBURG      OH    45342‐2642
ELVA FISHER                                      66 RALPH AVE                                                                                WHITE PLAINS    NY    10606‐3609
ELVA G DEYARMAN                                  PO BOX 447                                                                                  MORNING SUN     IA    52640‐0447
ELVA H SMITH                                     153 MAGENS WAY                                                                              SWANSBORO       NC    28584‐8044
ELVA H WHITE & HEATHER ANN WHITE JT TEN          9714 W 975 N                                                                                MIDDLETOWN      IN    47356
ELVA HASLEY                                      738 1/2 EAST OLIVE ST                                                                       WEST MONROE     LA    71292‐6429
ELVA I TURNER                                    34 DEVONSHIRE DRIVE                                                                         RIDGEWAY        VA    24148‐3441
ELVA IRIS TEJEIRO                                2008 TARAS TRACE DR                                                                         STATESVILLE     NC    28625‐8288
ELVA KATHLEEN MITCHUM DAY                        1211 OLD FORT ROAD                                                                          MONCKS CORNER   SC    29461‐9270
ELVA L FORNERIS                                  201 NORTH 63RD AVE W                                                                        DULUTH          MN    55807‐1928
ELVA L THORNTON                                  PO BOX 07344                                                                                COLUMBUS        OH    43207‐0344
ELVA LAUREN RYAN & HENRY MUNNOCH JT TEN          C/O DENTON                         205 S 3RD ST                                             WATERFORD       WI    53185‐4370
ELVA M ABBATH CUST KENNETH ABBATH UGMA IL        1010 HOUSTON DR LOT 7                                                                       PALMYRA         MO    63461‐1232
ELVA M BRANT TR ELVA M BRANT REV LIVING TRUST UA 548 NEPONSIT DR                                                                             VENICE          FL    34293‐1118
07/28/03
ELVA M BUCKHALTER                                1850 ALICE ST                      APT 1010                                                 OAKLAND         CA    94612‐4128
ELVA M EMBERTON                                  4195 CENTER PT RD                                                                           TOMPKINSVILLE   KY    42167‐8805
ELVA NICKLE HERZOG                               141 E THIRD ST                                                                              NEW CASTLE      DE    19720‐4536
ELVA PAUL FISHER                                 66 RALPH AVE                                                                                WHITE PLAINS    NY    10606‐3609
ELVA PEREZ                                       8485 WEST FRANCES RD                                                                        FLUSHING        MI    48433‐8810
ELVA R LEPPLA                                    334 W IVY ST                                                                                MESA            AZ    85201‐2300
ELVA R RINNERT                                   8273 ILENE DRIVE                                                                            CLIO            MI    48420‐8517
ELVA T KLINEFELTER                               163 SECURITY DR                                                                             WASHINGTON      PA    15301‐9221
ELVA ULANSKI & ARTHUR ULANSKI & MARY CATHERINE 8489 MAPLEVIEW DR                                                                             DAVISON         MI    48423‐7806
A THOMPSON JT TEN
ELVA ZAMORA                                      C/O SAN LUIS POTOSI                PO BOX 9022                                              WARREN          MI    48090
ELVERA A MAGEE & WILLIAM L MAGEE JT TEN          51 BROOK LN                        APT 51                                                   BERLIN          MA    01503‐1671
ELVERA B MANGIAFESTO                             64 ROGERS AVENUE                                                                            LOCKPORT        NY    14094‐2550
ELVERA GIRARD & ROBERT C GIRARD JT TEN           201 E ELIZABETH ST                 APT 110                                                  FENTON          MI    48430‐2384
ELVERA R REHLING TR REHLING FAMILY LIVING TRUST  5790 DENLINGER RD                  APT 387                                                  DAYTON          OH    45426‐1838
UA 6/11/92
ELVERNA A MATTHEES                               BOX 1034                                                                                    WINONA          MN    55987‐7034
ELVERNA ABNEY                                    5448 TOMAHAWK AVE                                                                           FAIRFIELD       OH    45014‐3334
ELVERT H PUFFENBARGER JR                         109 PEBBLE BEACH DR                                                                         BENTON          LA    71006‐9556
ELVIA A DAWSON                                   PO BOX 2403                                                                                 TEMECULA        CA    92593‐2403
ELVIA C PINDEL                                   147 CORTONA DR                                                                              SAN RAMON       CA    94583‐4627
ELVIA GIPSON                                     1038 CICILION AVE                                                                           DAYTON          OH    45407‐1143
ELVIE AITKENS                                    RT 3 BOX 301                                                                                NEWPORT         AR    72112‐9803
ELVIE MELLAN                                     1314 MEADOW GREEN LN                                                                        LINDEN          MI    48451‐9402
ELVIN BROWN JR                                   20231 RIOPELLE                                                                              DETROIT         MI    48203‐1251
ELVIN BROWN JR                                   PO BOX 476                                                                                  NEWNAN          GA    30264‐0476
ELVIN C DOWNER JR                                73 N GLENWOOD RD                                                                            FANWOOD         NJ    07023‐1422
ELVIN C WRIGHT                                   20 S MIDLAND                                                                                PONTIAC         MI    48342‐2960
ELVIN F DUGALECH                                 15885 PEET RD                                                                               OAKLEY          MI    48649‐9783
ELVIN H MURPHY JR                                1101 SW 44TH STREET                                                                         OKLAHOMA CITY   OK    73109‐3601
ELVIN JENKINS JR                                 4431 CLARKSDALE                                                                             RIVERSIDE       CA    92505‐3409
ELVIN L GREEAR                                   24481 KAMMEYER RD                                                                           DEFIANCE        OH    43512‐9137
                                                                                                                                             JUNCTION
ELVIN M LAWSON                                  7156 CROSSWINDS DR                                                                           SWARTZ CREEK    MI    48473‐9778
ELVIN N CHAPMAN                                 615 N PENNSYLVANIA                                                                           INDIANAPOLIS    IN    46204‐1348
ELVIN OLSON                                     363 LA RUE RD                                                                                MASSENA         NY    13662
ELVIN P YARBROUGH JR                            124 MARINE ST                                                                                ST AGUSTINE     FL    32084‐5041
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ELVIN R RAGSDALE                               11608 LANESBOROUGH WAY              APT 711                                                  FARRAGUT         TN    37934
ELVIN SPINKS                                   1582 4H CLUB RD                                                                              DENHAM SPRINGS   LA    70726‐4935

ELVIN V KELSON                                 3 OTTO WAY                                                                                   FREDERICKSBURG   VA    22406‐7439
ELVIN W PIERCE                                 305 KROEGER                                                                                  DUPO             IL    62239‐1305
ELVINA B JACKSON                               11388 WARD                                                                                   DETROIT          MI    48227‐3769
ELVINA M VOLDSNESS                             E4511 WOODFIELD RD                                                                           EAU CLAIRE       WI    54701‐2410
ELVINIA S WEIR                                 5584 N COUNTY ROAD 850 W                                                                     MIDDLETOWN       IN    47356‐9726
ELVIRA A NICHOLSON                             699 LOWER TY TY RD                                                                           TY TY            GA    31795‐3135
ELVIRA B BARIS                                 P O BOX 1667                                                                                 MACCLENNY        FL    32063
ELVIRA B NAGY                                  ATTN GEORGE R NAGY                  1191 PIERMONT ROAD                                       SOUTH EUCLID     OH    44121‐2936
ELVIRA C JONES II                              ATTN ELVIRA J HANSON                2393 TALLAHASSEE DR                                      TALLAHASSEE      FL    32308‐3146
ELVIRA E KULTZOW                               405 WARBURTON AVE                                                                            HASTINGS ON      NY    10706‐2842
                                                                                                                                            HUDSON
ELVIRA ELAINE HALL                             12101 YELLOW JASMINE DR                                                                      SIMPSONVILLE     SC    29681‐3278
ELVIRA G CARDIN TR UA 04/12/88 ELVIRA G CARDIN 1010 TIMOTHY LANE                                                                            LAFAYETTE        CA    94549‐2935
TRUST
ELVIRA G TAMELIER                              3497 ST MARYS RD                                                                             LAFAYETTE        CA    94549‐5033
ELVIRA MILLER                                  4686 US ROUTE 422                                                                            SOUTHINGTON      OH    44470‐9720
ELVIRA MILLER                                  1525 WARING AVE                                                                              BRONX            NY    10469
ELVIRA P BARROSO                               2 REDWOOD DR                                                                                 MILFORD          MA    01757‐1902
ELVIRA R BOZOKI TR UA 03/28/94 ELVIRA R BOZOKI 4166 SHERATON DRIVE                                                                          FLINT            MI    48532‐3555
LIVING TRUST
ELVIRA TOELKES                                 TUCHOLSKY STR 18                    60598 FRANKFURT                        GERMANY
ELVIRA W HARRISON                              420 DELAWARE ST                                                                              STURGEON BAY     WI    54235‐2341
ELVIRA WILLIAMS                                2409 PLAINVIEW DR                                                                            FLUSHING         MI    48433
ELVIS D HARDIN                                 845 SKYLINE DR                                                                               COVINGTON        GA    30014‐4895
ELVIS E DAY                                    6470 CORN DR                                                                                 CUMMING          GA    30040‐3246
ELVIS LOCKHART                                 2501 N PARK AVE                                                                              INDIANAPOLIS     IN    46205‐4250
ELVIS MAY                                      1001 SUGAR CREEK CT                 #A                                                       SAINT PETERS     MO    63376‐7425
ELVIS R ANDERSON                               1219 OLD HIGHWAY 99                                                                          COLUMBIA         TN    38401‐7723
ELVOID WALKER & KATHY J WALKER JT TEN          1142 NE 15TH                                                                                 KNOB NOSTER      MO    65336‐2135
ELVUE C WASHINGTON                             1540 GIESEKING LANE                                                                          ST LOUIS         MO    63147‐1320
ELVY KAIK                                      4985 BOUNTY LOOP                                                                             FREELAND         WA    98249‐9770
ELWANDA FOSTER                                 921 SE 5TH STREET                                                                            LEE'S SUMMIT     MO    64063‐2910
ELWANDA J DEUTH                                1236 BLUFF RD                                                                                PLAINFIELD       IN    46168‐9352
ELWANDA RAE SIMPSON                            177 WARREN AVENUE                                                                            NEW SMYRNA       FL    32168
ELWIN A SUBOCH                                 5784 BERWYN                                                                                  DEARBORN HGTS    MI    48127‐2927
ELWIN C CROUCH                                 4918 HAUGHY S W                                                                              GRAND RAPIDS     MI    49548‐4269
ELWIN D GREEN                                  G8394 CLIO RD                                                                                MT MORRIS        MI    48458
ELWIN G KITTLE JR & BARBARA J KITTLE JT TEN    5239 OTSEGO                                                                                  BURTON           MI    48509‐2023
ELWIN I BROWN & LORRAINE C BROWN TR THE BROWN 1001 W RIDGEWOOD RD                                                                           PHARR            TX    78577
FAMILY TRUST UA 8/20/99
ELWIN L HAIGH                                  817 PEALER STREET                                                                            THREE RIVERS     MI    49093‐2265
ELWIN L LINDLEY                                122 SCHOOL ST                                                                                MADRID           NY    13660‐3150
ELWIN R SMITH                                  5339 CORONET DRIVE                                                                           JACKSONVILLE     FL    32205‐7247
ELWIN S SERRELS                                7705 MOYER ROAD                                                                              CHARLOTTE        MI    48813‐8819
ELWIN T EVANS                                  210 HELFREDS LNDG                                                                            BRIDGEWATER      NJ    08807‐1518
ELWIN WURL                                     3206 ALLEN RD                                                                                ORTONVILLE       MI    48462‐8434
ELWOOD A JOHNSTON                              2323 KIRKLAND DR                                                                             GRAYLING         MI    49738‐7242
ELWOOD A JOHNSTON & VALERIE L JOHNSTON JT TEN  2323 KIRKLAND DR                                                                             GRAYLING         MI    49738‐7242

ELWOOD A LOHELA & VIVIAN M LOHELA JT TEN       27245 AUDREY                                                                                 WARREN           MI    48092‐2676
ELWOOD A PIERCE                                2217 S ORCHARD                                                                               JANESVILLE       WI    53546‐5985
ELWOOD A SCHULTZ                               308 S JOHNSON ST                                                                             PENNS GROVE      NJ    08069‐2318
ELWOOD BRUCKNER & ROXANNA BRUCKNER JT TEN      2415 ADELE                                                                                   JOPLIN           MO    64804‐1533

ELWOOD C HERRIMAN                              5130 N GALE ROAD                                                                             DAVISON          MI    48423‐8955
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ELWOOD C HERRIMAN & MARGARET J HERRIMAN JT       5130 N GALE RD                                                                                  DAVISON          MI    48423‐8955
TEN
ELWOOD C JONES                                   59 VINE WAY                                                                                     BORDENTOWN       NJ    08505‐2729
ELWOOD C SCHAADT                                 1524 JARVIS ST                                                                                  RALEIGH          NC    27608‐2211
ELWOOD D GENGE                                   885 MACKINAW                                                                                    KAWKAWLIN        MI    48631‐9430
ELWOOD E HOUSTON                                 10205 DECOURSEY PIKE                                                                            RYLAND HEIGHTS   KY    41015‐9309
ELWOOD E LEATHLEY                                26 PEREGRINE CROSSING                                                                           SAVANNAH         GA    31411‐2819
ELWOOD E OWENS JR & PATTY W OWENS JT TEN         1025 CARVER ST                                                                                  LAKE WALES       FL    33853‐5031
ELWOOD E SWARTZ                                  718 MAPLE AVE                                                                                   HONESDALE        PA    18431‐1450
ELWOOD F WILKINS JR CUST CATHERINE E WILKINS     11380 HOLLY CT                                                                                  FOWLER           MI    48835‐9142
UGMA FL
ELWOOD F WILKINS JR CUST ELWOOD F WILKINS III    11380 HOLLY CT                                                                                  FOWLER           MI    48835‐9142
UGMA FL
ELWOOD HESTER                                    4412 CARMANWOOD DR                                                                              FLINT            MI    48507‐5653
ELWOOD J BOS                                     5436 PINE VIEW DRIVE                                                                            YPSILANTI        MI    48197‐8963
ELWOOD J NILES                                   10186 HWY 2                                                                                     RAPID RIVER      MI    49878‐9237
ELWOOD J OGUINN                                  2524 WABASH AVE                                                                                 KANSAS CITY      MO    64127‐3952
ELWOOD L HOOK                                    812 EGRET CT                                                                                    EDGEWATER        FL    32141‐4142
ELWOOD L JONES                                   2271 NORTHEAST FIFTY FIRST ST                                                                   SEATTLE          WA    98105
ELWOOD M BEACH                                   7317 VALLEY LAKE DR                                                                             RALEIGH          NC    27612‐6935
ELWOOD MARBLE & MYRNA MARBLE JT TEN              1900 COPPER CREEK RD                                                                            MURPHY           NC    28906‐5509
ELWOOD MESECAR                                   9082 84TH STREET                                                                                ALTO             MI    49302‐9501
ELWOOD PHILLIPS & MICHAEL R PHILLIPS JT TEN      11455 PEACHSTONE LN                                                                             ORLANDO          FL    32821‐7972
ELWOOD PRIDGEN                                   5921 ESHBAUGH ROAD                                                                              DAYTON           OH    45418‐1723
ELWOOD R BRUMBLEY                                363 GLENHOPE RD                                                                                 OXFORD           PA    19363‐2250
ELWOOD R FRAZIER                                 7514 COOK JONES RD                                                                              WAYNESVILLE      OH    45068‐8808
ELWOOD R ORR                                     1120 GREENACRES                                                                                 ANDERSON         SC    29621‐4012
ELWOOD ROLPH JR & FLORENCE B ROLPH JT TEN        14 CORNELL ROAD                                                                                 WILMINGTON       DE    19808‐3102
ELWOOD S BOSWELL & ANNA B BOSWELL JT TEN         2813 QUAIL HOLLOW RD W                                                                          CLEARWATER       FL    33761‐3223
ELWOOD S WILKINS III                             2 CONNELL CIR                                                                                   NEWARK           DE    19711‐3503
ELWOOD S WILKINS JR                              2 CONNELL CIR                                                                                   NEWARK           DE    19711‐3503
ELWOOD S WILKINS JR & MARIE C B WILKINS JT TEN   2 CONNELL CIR                                                                                   NEWARK           DE    19711‐3503

ELWOOD V DEAN & DOROTHY I DEAN JT TEN            13555 ALDRIN AVENUE                                                                             POWAY            CA    92064
ELWOOD W BEAUDIN                                 1623 S OAKHILL                                                                                  JANESVILLE       WI    53546‐5765
ELWOOD W LEWIS TR ELWOOD W LEWIS LIVING TRUST    2230 ODETTE DRIVE                                                                               WATERFORD        MI    48328‐1819
UA 06/13/96
ELWOOD W MICHAEL & MARJERY E MICHAEL JT TEN      3734 SHILOH RD                                                                                  HAMPSTEAD        MD    21074

ELWOOD W TRAYLOR                                 2032 NEELYS BEND RD                                                                             MADISON          TN    37115‐5814
ELWOOD WALKER ONEAL                              655 E MAIN ST                                                                                   RUSSIAVILLE      IN    46979‐9131
ELWORTH W HILL                                   3298 HILLPOINT LN                                                                               DAYTON           OH    45414‐5423
ELWYN C HITCHCOCK                                334 RUSSELL STREET                                                                              CORTLAND         OH    44410‐1244
ELWYN C WAGNER                                   3701 GEECK RD                                                                                   CORUNNA          MI    48817‐9712
ELWYN F TANK & DORTHEY P TANK JT TEN             7585 WEST TUSCOLA RD                                                                            FRANKENMUTH      MI    48734‐9575
ELWYN J HILLIKER                                 10387 CARMER RD                                                                                 FENTON           MI    48430‐2416
ELWYN R GEISERT                                  3125 TELFORD LN                                                                                 DELTONA          FL    32738‐5386
ELWYN T PATCH                                    15 TRAHERN TERRACE                                                                              CLARKSVILLE      TN    37040‐4530
ELWYN W WHITE                                    ATTN STEPHEN L THOMAS                  PO BOX 918                                               GREENVILLE       MS    38702‐0918
ELWYNE L COTTON                                  3685 DETMERS RD R 3                                                                             IONIA            MI    48846‐9530
ELWYNN L MC DOWELL                               9385 MAPLE ST                                                                                   NEW LOTHROP      MI    48460‐9811
ELWYNN V MURDY                                   903 S COMMERCIAL AVE                                                                            EMMETT           ID    83617‐3567
ELY GONICK                                       611 MILLERSVILLE ROAD                                                                           LANCASTER        PA    17603‐6025
ELY H SCHLESS                                    1348 PROSPECT ST                                                                                ASHLAND          OR    97520‐3348
ELY QUESENBERRY                                  12888 W NEUGEBAUER RD                                                                           STOCKTON         CA    95206‐9663
ELYANOR G STEPHENS                               2657 HAVERSTRAW AVE                                                                             DAYTON           OH    45414‐2238
ELYAS SOLOOKI                                    33 WESSEX RD                                                                                    NEWTON CENTER    MA    02459‐1624
ELYCE E EDDINGS A MINOR                          902 WEBSTER ST NW                                                                               WASHINGTON       DC    20011‐7130
ELYN S DUPEE                                     14228 CERVANTES AVE                                                                             DARNESTOWN       MD    20874‐3353
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ELYNOR L KATZEN TR REVOCABLE TRUST 09/14/89 U‐A 1725 DAYTONA RD                                                                                  MIAMI BEACH     FL    33141‐1734
ELYNOR L KATZEN
ELYNORE B GOERZ & ROBERT J GOERZ SR JT TEN      595 PARKSIDE DRIVE                                                                               BAY VILLAGE     OH    44140‐2552
ELYSABETH HALL                                  11279 TAYLOR DRAPER LN                  APT 327                                                  AUSTIN          TX    78759‐3965
ELYSE B HAYES & MICHAEL V HAYES JT TEN          34 WOODLAND ST                                                                                   HUNTINGTON      NY    11743‐4339
ELYSE BAKLENKO TR ELYSE BAKLENKO TRUST UA       11052 LORMAN DR                                                                                  STERLING HTS    MI    48312‐4962
06/19/95
ELYSE JAMES                                     18 WESCOTT ST                                                                                    RIVERSIDE       CT    06878‐1407
ELYSE N ALPER                                   92 OAK HILL DR                                                                                   SHARON          MA    02067‐2309
ELYSE N ALPER                                   C/O FREEDMAN                            PO BOX 1304                                              RICHLANDS       VA    24641‐1304
ELYSSA S KATES                                  401 FIRST AVE APT 13D                                                                            NEW YORK        NY    10010‐4049
ELZA A STEPHENS                                 1022 GREENWOOD DR                                                                                JAMESTOWN       TN    38556‐6137
ELZA BRYAN THOMPSON                             BOX 281                                                                                          RIPLEY          WV    25271‐0281
ELZA C FORBIS                                   201 N DECATURE                                                                                   MALDEN          MO    63863‐2017
ELZA L CANNADAY & MARILYN CANNADAY JT TEN       147 WARDEN AVENUE                                                                                ELYRIA          OH    44035‐2557
ELZA L MCMILLIAN                                C/O JORDAN                              27 NEPONSET AVE                                          ROSLINDALE      MA    02131‐2140
ELZA L SHIELDS                                  38721 GRANGER LN                                                                                 ZEPHYRHILLS     FL    33540‐1602
ELZA W PHILLIPS                                 8675 BIG CREEK PARKWAY                                                                           STRONGSVILLE    OH    44149‐1614
ELZA W PHILLIPS & JANILE S PHILLIPS JT TEN      8675 BIG CREEK PKWY                                                                              STRONGSVILLE    OH    44149‐1614
ELZIE NELSON                                    14410 EAST STATE FAIR STREET                                                                     DETROIT         MI    48205‐1842
ELZIE P OSBORNE                                 2687 WILSHIRE PARKWAY                                                                            WESTLAND        MI    48185‐5479
ELZIE SPARKS                                    473 PATTERSON ST                                                                                 FAIRBORN        OH    45324‐3052
EM0RY E CANTRELL                                136 BUSHEY AVE                                                                                   YONKERS         NY    10710‐5508
EMAGENE HAWLEY RIDDLE & KAROL RIDDLE SCHRECK JT 8137 CEDAR POINT DR                     E‐110                                                    CROWN POINT     IN    46307‐1039
TEN
EMALINE HOLLEMAN                                1503 HWY 193                                                                                     WYNNE           AR    72396‐7537
EMANNUEL WERT & MARY WERT JT TEN                16430 NW 82ND CT                                                                                 MIAMI           FL    33016‐3474
EMANUEL A KOSTAS                                PO BOX 557                                                                                       WHITESVILLE     WV    25209‐0557
EMANUEL ABRAMSON                                C/O DSCM                                320 CENTRAL SW SUITE 200                                 ALBUQUERQUE     NM    87102‐3279
EMANUEL ANTON                                   C/O MATT P BARON                        6620 WILLOW ROAD NE                                      MANDAN          ND    58554‐5406
EMANUEL B SPERO CUST MISS GENIA M SPERO UGMA 1045 VISTA GRANDE PVT                                                                               BERBANK         CA    91501‐1014
CA
EMANUEL BROOKINS                                25615 HICKORY HILL                                                                               SOUTHFIELD     MI     48034‐2983
EMANUEL C SPITZER                               2 OAK CIRCLE CASTLE ROCK                                                                         NEWTOWN SQUARE PA     19073

EMANUEL CARL COOPER                              3013 TELKA LYNN DRIVE                                                                           TITUSVILLE      FL    32796‐2343
EMANUEL D POLAK & MRS RHODA POLAK JT TEN         327 HEATHCLIFFE RD                                                                              HUNTINGDON      PA    19006‐8705
                                                                                                                                                 VALLEY
EMANUEL F HENDRIX                                8431 WAHRMAN ST                                                                                 ROMULUS         MI    48174‐4161
EMANUEL FLIEGEL                                  2411 JOSEPH STREET                                                                              NEW ORLEANS     LA    70115‐6515
EMANUEL GETTINGER                                194 RIVERSIDE DR                                                                                NEW YORK        NY    10025‐7259
EMANUEL H MCGREGOR                               13957 GAR HWY                                                                                   CHARDON         OH    44024‐9501
EMANUEL H WALKER                                 20260 ROSEMONT                                                                                  DETROIT         MI    48219‐1540
EMANUEL HYDEN                                    5208 HEADGATES RD                                                                               HAMILTON        OH    45011‐2041
EMANUEL J TRAMONTANA                             12 WHITMAN RD                                                                                   TRENTON         NJ    08619‐1434
EMANUEL KAROUZAKIS                               36349 JARED DR                                                                                  STERLING HGTS   MI    48312‐3239
EMANUEL KUSION & MRS CONCETTA KUSION JT TEN      2 SCHOOL HOUSE LANE                    PO BOX 551                                               TUXEDO PARK     NY    10987‐0551

EMANUEL L NEAL JR                                18473 COYLE                                                                                     DETROIT         MI    48235‐2829
EMANUEL M ROBALO                                 PO BOX 1603                                                                                     WAPPINGERS FL   NY    12590
EMANUEL MORENO                                   725 HILLCLIFF DRIVE                                                                             WATERFORD       MI    48328‐2526
EMANUEL PODHORETZ                                66‐36 YELLOWSTONE BLVD                 APT 23K                                                  FOREST HILLS    NY    11375‐2539
EMANUEL PRITCHETT                                15080 DOGWOOD CIR                                                                               BRIDGEVILLE     DE    19933‐2651
EMANUEL R DI CECCO & ALMA A DI CECCO JT TEN      21 IADAROLA AVE                                                                                 MILFORD         MA    01757‐2315
EMANUEL SANFILIPPO                               301 RIVERVIEW AVE                                                                               N ARLINGTON     NJ    07031‐5514
EMANUEL WALKER                                   11228 FOREST PASS CT                                                                            LIVE OAK        TX    78233‐7236
EMANUELE A TACCIA                                527 E MORENO DR                                                                                 ROCHESTER       NY    14626
EMBRY MILLER                                     20256 ARCHER                                                                                    DETROIT         MI    48219‐1170
EMEKA E OKEKE & ANTONIA OKEKE JT TEN             120 FOXHUNT CRESCENT                                                                            SYOSSET         NY    11791‐1706
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EMELDA GATT & SOPHIA M MILLER JT TEN             9437 CONTINENTAL DR                                                                           TAYLOR          MI    48180‐3083
EMELIA RESCHKE                                   1199 S SHELDON RD                    APT 44F                                                  PLYMOUTH        MI    48170‐2162
EMELIE MCALISTER & DALE W MCALISTER JT TEN       804 S 2ND ST                                                                                  ODESSA          MO    64076‐1368
EMELIE MCALISTER & DAVID M MCALISTER JT TEN      804 S 2                                                                                       ODESSA          MO    64076
EMELIE MCALISTER & LONNIE D MCALISTER JT TEN     804 S 2ND ST                                                                                  ODESSA          MO    64076‐1368

EMELINA FERNANDEZ                                90 PLAINVIEW DR                                                                               STRATFORD       CT    06614‐3916
EMELINE TROUTMAN HUNTER                          224 E LINDEN AVE                                                                              COLLINGSWOOD    NJ    08108‐1837
EMELIO G JAMES                                   914 E ST                                                                                      UNION CITY      CA    94587‐2327
EMER J DAVIS                                     27268 CRAWFORD RD                                                                             ROMULUS         MI    48174‐9512
EMERAL RITTER                                    15714 LA FORTUNA DR                                                                           LA MIRADA       CA    90638‐5137
EMERALD M FAULKNER                               621 BARBADOS DR                      APT 3                                                    INDIANAPOLIS    IN    46227‐2280
EMERENCE L LABUS                                 7555 KATY FWY # 69                                                                            HOUSTON         TX    77024‐2119
EMERICK GROSS                                    2086 W 5TH ST                        #1                                                       BROOKLYN        NY    11223‐3801
EMERICK N KISH                                   3111 TODD RD                                                                                  WHITEHALL       MI    49461‐9411
EMERICO GUERRA                                   508 CLOVER AVE                                                                                PATTERSON       CA    95363‐9110
EMERSON A MOSELEY                                C/O GENEVA MOSELEY                   1 PRESTBURY DR                                           GREENVILLE      SC    29605‐6142
EMERSON A PARTRIDGE                              4869 GREENVILLE ROAD                                                                          FARMDALE        OH    44417‐9771
EMERSON BRYANT & REMONA BRYANT JT TEN            4309 CODDINGVILLE RD                                                                          MEDINA          OH    44256‐8484
EMERSON C BRETH & MRS AUDREY E BRETH JT TEN      7929 HARRINGTON WOODS RD                                                                      CHARLOTTE       NC    28269‐0775

EMERSON CLOYD & MARY J CLOYD JT TEN              2211 BLUE SPRINGS ROAD                                                                        SPARTA          TN    38583‐2716
EMERSON D CROSS                                  519 CHESTNUT ST                                                                               FLUSHING        MI    48433‐1437
EMERSON D HOLMAN                                 1142 LICKING VALLEY ROAD NE                                                                   NEWARK          OH    43055‐9433
EMERSON E CLAAR                                  407 LINCOLN AVE                                                                               NILES           OH    44446‐3128
EMERSON G HAKE                                   3476 CURTIS AVE APT 6E                                                                        WARREN          OH    44484‐3604
EMERSON HARMAN                                   194 BUCKEYE AVE                                                                               MANSFIELD       OH    44906‐2414
EMERSON J BUCK                                   2372 W DUSTIN CIRCLE                                                                          SPRINGHILL      FL    34608‐4516
EMERSON J STEAD                                  1431 LYNN ST                                                                                  OWOSSO          MI    48867‐3337
EMERSON J TAVES                                  11 VIRGINIA ROAD                                                                              NATICK          MA    01760‐3201
EMERSON K STOCKWELL                              301 S BAKER ST                                                                                SAINT JOHNS     MI    48879
EMERSON L YOUNG                                  2048 MURDOCK RD                                                                               LYNDONVILLE     NY    14098‐9724
EMERSON LEIDY                                    953WALNUT STREET                                                                              ELIZABETH       NJ    07201‐1317
EMERSON M GRAY                                   BOX 25                                                                                        MILFORD         VA    22514‐0025
EMERSON M VANDEVER                               522 MILLWOOD MEADOWS DR                                                                       ENGLEWOOD       OH    45322‐2573
EMERSON O MARTIN & JEAN C MARTIN JT TEN          BOX 293                                                                                       BLOOMFIELD      IN    47424‐0293
EMERSON R JEHNSEN                                16303 LYNS SCHOOL RD APT 205                                                                  SPRING          TX    77379‐7259
EMERSON R WILCOXON JR                            9177 N 750 E                                                                                  WILKINSON       IN    46186‐9730
EMERSON ROGERS                                   17256 STAHELIN                                                                                DETROIT         MI    48219‐3597
EMERSON S FIGARD                                 7928 RAYS TOWN RD                                                                             SAXTON          PA    16678‐9306
EMERSON W MAYER                                  77 FREBIS AVE                                                                                 COLUMBUS        OH    43206‐3613
EMERSON WILLIAMS                                 C O AUDREY WILLIAMS                  27450 TIGHE ST                                           ROSEVILLE       MI    48066‐3079
EMERY ALEXANDER                                  64149 DEQUINDRE RD                                                                            OAKLAND         MI    48363‐2502
EMERY BART SMITH JR & MAYE A SMITH JT TEN        207 WOODBURY COURT                                                                            FLORENCE        AL    35630‐6668
EMERY C CHRISTOFF                                6520 RIDGE DR                                                                                 CHICAGO RIDGE   IL    60415‐1827
EMERY C HARMON                                   132 HOLLOWAY RD                                                                               BALLWIN         MO    63011‐3205
EMERY C SMITH                                    PO BOX 1028                                                                                   BEUNA VISTA     CO    81211‐1028
EMERY D FULFORD                                  814 MORRISON AVE                                                                              WATERLOO        IL    62298‐2869
EMERY E THOMAS                                   PO BOX 216                                                                                    MARION          MA    02738‐0004
EMERY J BIROSCHAK                                4465 ARREL RD                                                                                 POLAND          OH    44514‐2315
EMERY J NEWELL                                   630 LAKESIDE DR                                                                               NORTH PALM      FL    33408‐4608
                                                                                                                                               BEACH
EMERY L QUIGGLE                                  5345 GRIDLE RD NW                                                                             W FARMINGTON    OH    44491‐9754
EMERY L SOUTHARD                                 4612 UTAH AVE                                                                                 NASHVILLE       TN    37209‐4603
EMERY M CLARK                                    320 N MAIN ST                                                                                 MIAMISBURG      OH    45342‐1608
EMERY M MAPES JR                                 20490 SUGAR RIDGE LANE                                                                        LAWRENCEBURG    IN    47025‐8467
EMERY P DANIEL                                   1913 EAST 35TH ST                                                                             INDIANAPOLIS    IN    46218‐1008
EMERY S WARGO & OLGA WARGO JT TEN                7078 SOUTHWEST DR                                                                             STANWOOD        MI    49346‐9734
EMERY V WILLS                                    00416 WEBBS MILL RD                                                                           RAYMOND         ME    04071‐6320
                                              09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                               Address2             Address3          Address4          City            State Zip

EMEZA WHYTE                                        1471 E 51 ST                                                                                    BROOKLYN        NY    11213
EMIDIO J MARCHEGIANO                               1100 BIRCHWOOD DR                      BIRCHWOOD PARK                                           NEWARK          DE    19713‐3202
EMIDIO S DIPIERO                                   4305 EUCLID BLVD                                                                                YOUNGSTOWN      OH    44512‐1314
EMIKO ADACHI                                       10625 S HOYNE AVE                                                                               CHICAGO         IL    60643‐3105
EMIKO KLUCZYNSKI                                   2304 IDA DR                                                                                     TOLEDO          OH    43613‐2148
EMIL A DVORACEK                                    10227 W COLUMBIA RD                                                                             EATON RAPIDS    MI    48827‐9326
EMIL A FRANZ III & DOROTHY ANN FRANZ JT TEN        10508 EAST RD                                                                                   BURT            MI    48417‐9783
EMIL A HURLIMAN                                    5935 EASTMAN LAKE DR                                                                            SAN JOSE        CA    95123‐2463
EMIL A KALEYTA & MRS LILLIAN T KALEYTA JT TEN      1788 E PACKARD DR                                                                               SAGINAW         MI    48638‐4530
EMIL A NOTHOFER                                    599 LINCOLN AVE                                                                                 GLEN ROCK       NJ    07452‐2008
EMIL A OUELLETTE                                   PO BOX 2096                                                                                     DERRY           NH    03038‐8296
EMIL A PRZEDWOJEWSKI                               64510 HARTWAY                                                                                   RAY             MI    48096‐2624
EMIL A SCHMIDT                                     64220 WINDSOR DR                                                                                WASHINGTON      MI    48065
EMIL A SCHMIDT & DORIS B SCHMIDT JT TEN            64220 WINDSOR DR                                                                                WASHINGTON      MI    48095‐2598
EMIL ANDREW YSONA                                  #86                                    160 CABRINI BLVD                                         NEW YORK        NY    10033‐1144
EMIL C BIAS                                        7786 CUNNINGHAM RD                                                                              NORTH MADISON   OH    44057‐2214
EMIL C LEMKE                                       36530 KELLY                                                                                     CLINTON TWP     MI    48035‐1319
EMIL C RODE & DOLORES E RODE JT TEN                7510 OCTAVIA AVE                                                                                CHICAGO         IL    60631‐4437
EMIL CICCOTELLI                                    245 E 238TH ST                                                                                  BRONX           NY    10470‐1804
EMIL CIOLEK                                        1862 EAST CURTIS RD                                                                             BIRCH RUN       MI    48415
EMIL CULEN & SARAH CULEN JT TEN                    95 SCOOTER LN                                                                                   HICKSVILLE      NY    11801‐6418
EMIL D BRUBACHER JR                                8 BRIARWOOD CT                                                                                  ALAMOGORDO      NM    88310‐9585
EMIL DUVERNEY JR                                   310 CHERRY COURT                                                                                BANGOR          MI    49013‐1143
EMIL E ENGEL JR & MRS JOAN H ENGEL JT TEN          7194 WINDING TRAIL                                                                              BRIGHTON        MI    48116‐5110
EMIL F DE PETRIS                                   29 ELM ST                                                                                       SOUTHAMPTON     NY    11968‐3406
EMIL F KALOC                                       125 WALLACE AVENUE                                                                              BALTIMORE       MD    21225‐3624
EMIL F KOKOTAYLO                                   17305 LARCHWOOD AVE                                                                             CLEVELAND       OH    44135‐1229
EMIL F ROTH                                        138 VANDERBILT CIR                                                                              GREENVILLE      SC    29609‐4011
EMIL G MORRIS                                      1010 NOVAK ROAD                                                                                 GRAFTON         OH    44044‐1226
EMIL G STENDER                                     1950 ENGLE                                                                                      HUNTINGTON      IN    46750‐3933
EMIL GEORGE SCHARNOWSKE                            306 BIRCH ST                                                                                    ANDERSON        IN    46012‐2407
EMIL GREENGARD                                     14430 KINGSBURRY ST                                                                             MISSION HILLS   CA    91345‐2309
EMIL H MCCAMMACK                                   5531 W HENRY ST                                                                                 INDIANAPOLIS    IN    46241‐0619
EMIL HIPSKY TR EMIL HIPSKY REVOCABLE TRUST UA      47147 MILONAS DR                                                                                SHELBY TWP      MI    48315‐5035
03/01/02
EMIL J CLARKE                                      11 G STREET                                                                                     WOODBURY        NJ    08096‐1412
EMIL J IORIO                                       103 NORTHGATE PARK                                                                              RINGWOOD        NJ    07456‐2132
EMIL J KRULIK                                      764 NORTHEAST 77TH ST                                                                           MIAMI           FL    33138‐5274
EMIL J SCHIRANO & JOYCE SCHIRANO JT TEN            1236 LAKE WALK                                                                                  WEBSTER         NY    14580‐9026
EMIL J SEKETA                                      1764 ARBUTUS DR                                                                                 HUDSON          OH    44236‐3807
EMIL J SEKETA & VIOLET M SEKETA JT TEN             1764 ARBUTUS DRIVE                                                                              HUDSON          OH    44236‐3807
EMIL J SIERENS & PAULINE V SIERENS JT TEN          14721 SOUTHWEST 82ND COURT                                                                      MIAMI           FL    33158‐1911
EMIL J SKOCIK                                      350 HORIZONS E                         APT 208                                                  BOYNTON BEACH   FL    33435‐5155
EMIL KNOPF                                         1517 NORIEGA ST                                                                                 SAN FRANCISCO   CA    94122‐4433
EMIL KRATOFIL                                      15715 SAN JOSE ST                                                                               GRANADA HILLS   CA    91344‐7238
EMIL L JANTZ JR                                    2824 SOUTHWEST 107TH ST                                                                         OKLAHOMA CITY   OK    73170‐2464
EMIL L WEBER & MRS SHARON J WEBER JT TEN           10135 BROWNING ROAD                                                                             EVANSVILLE      IN    47711‐9014
EMIL LAZICH                                        362 RAE LANE                                                                                    MAYVILLE        WI    53050‐1131
EMIL M POHODICH                                    6066 RAMSGATE DR                                                                                BETHEL PARK     PA    15102‐2620
EMIL M POHODICH CUST AMY L POHODICH UTMA PA        6066 RAMSGATE DR                                                                                BETHEL PARK     PA    15102‐2620

EMIL M POHODICH CUST KRISTY A POHODICH UTMA PA 6066 RAMSGATE DR                                                                                    BETHEL PARK     PA    15102‐2620

EMIL M RIOS                                        8151 MELVILLE                                                                                   DETROIT         MI    48209‐2700
EMIL MACIONSKI TR LIVING TRUST 02/22/91 U‐A EMIL   99 EAGLE RIDGE RD                                                                               LAKE ORION      MI    48360‐2612
MACIONSKI
EMIL MOSKOWITZ                                     1522 51ST STREET                                                                                BROOKLYN        NY    11219‐3737
EMIL O FISCH                                       SONNEGGSTR 86                          8006 ZURICH                            SWITZERLAND
EMIL P UMAN                                        5251 SW RAINTREE PKWY                                                                           LEES SUMMIT     MO    64082‐4529
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EMIL POHODICH & DOROTHY V POHODICH JT TEN         408 OBERDICK DR                                                                                 MC KEESPORT       PA    15135‐2218
EMIL R HARRIS                                     3148 E BAUMBAUER RD                                                                             LAGRO             IN    46941‐9597
EMIL R IHNAT                                      4291 E TRAIL                                                                                    PORT CLINTON      OH    43452‐9769
EMIL R LIDDELL & MARIAN B LIDDELL JT TEN          RR 8 BOX 163                                                                                    FAIRMONT          WV    26554‐8722
EMIL R SALVINI                                    11 VIZCAYA CT                                                                                   WAYNE             NJ    07470‐6279
EMIL REMETO                                       1007 DIAMOND OAKS CT                                                                            BEL AIR           MD    21014‐1876
EMIL S ANDERSON & LEONA J ANDERSON JT TEN         14678 SHEPARD DRIVE                                                                             DOLTON            IL    60419‐2348
EMIL S MELENSKI & DAVID MELENSKI JT TEN           POLAND BROOK RD                                                                                 TERRYVILLE        CT    06786
EMIL S SUTTER JR & MRS MARJORIE H SUTTER JT TEN   43 PALISADES AVE                                                                                PISCATAWAY        NJ    08854‐5258

EMIL SLAMKA                                       16672 EDMORE DRIVE X                                                                            DETROIT           MI    48205‐1514
EMIL SLAMKA & VIRGINIA J SLAMKA JT TEN            16672 EDMORE DRIVE                                                                              DETROIT           MI    48205‐1514
EMIL T BEJSOVEC CUST PATRICIA LOUISE BEJSOVEC     ATTN PATRICIA LOUISE BEJSOVEC          BACKMAN               ONE DOE RUN                        STOCKHOLM         NJ    07460‐1405
U/THENY U‐G‐M‐A
EMIL T STRANDQUIST                                6725 W 88TH PLACE                                                                               OAK LAWN          IL    60453‐1020
EMIL TAKACH                                       150 KIEL AVE                                                                                    KINNELON          NJ    07405‐2547
EMIL VOSTRIANCKY                                  13527 VERONICA DR                                                                               HUDSON            FL    34667‐1572
EMIL WASIL                                        14761 INDIAN CREEK DR                                                                           MIDDLEBURG HT     OH    44130‐6662
EMILE ALHADDAD & FREDERICK I ALHADDAD JT TEN      2407 TEEL AVE                                                                                   LANSING           MI    48910‐3122

EMILE C TISSOT                                    ATTN MARJORIE TISSOT                   640 FIVE POINT ROAD                                      SARDINIA          OH    45171
EMILE DE LAY HORACE                               10950 CHURCH ST                        APT 624                                                  RCH CUCAMONGA     CA    91730‐8068

EMILE JACKSON                                    987 BLV WASHINGTON                                                                               NEW RIVER         AZ    85027
EMILE LOUIS MORIN                                340 BIRCH ST                                                                                     BRISTOL           CT    06010
EMILE PAUCO                                      62 ROEHAMPTON AVE/#1004                 ST CATHARINES ON                       L2M 7P9 CANADA
EMILEE G HEWITT                                  3290 KENMORE RD                                                                                  CLEVELAND         OH    44122‐3457
EMILIA DE BIASE                                  964 HILLCREST                                                                                    ELMHURST          IL    60126‐5311
EMILIA DIRISIO                                   28 BITTERSWEET LANE                                                                              RANDOLPH          MA    02368‐3969
EMILIA GONZALES                                  616 BLUFF ST                                                                                     WAUKEGAN          IL    60085
EMILIA H MOORE                                   3745 MISSISSIPPI ST                     UNIT 1                                                   SAN DIEGO         CA    92104‐5902
EMILIA J DANDELSKI & LOUISE ANN MCDERMOTT JT TEN 410 E MAIN ST                           APT 703                                                  MERIDEN           CT    06450‐6050

EMILIA JUOCYS                                     5689 CARROLLTON CT                                                                              ROCHESTER HILLS   MI    48306‐2397
EMILIA M SMULSKI                                  5667 CIDER MILL XING                                                                            YOUNGSTOWN        OH    44515‐4275
EMILIA MIA SORDILLO                               78 E 79TH ST                                                                                    NEW YORK          NY    10075
EMILIA PASZKIEWICZ                                30227 BROOKVIEW                                                                                 LIVONIA           MI    48152‐3452
EMILIA PIMENTA                                    5418 POST ROAD                                                                                  BRONX             NY    10471‐2607
EMILIA RODRIGUEZ                                  201 COMMONWEALTH CIRCLE                                                                         GRAND PRAIRIE     TX    75052‐3355
EMILIA SOBOCIEWSKI                                683 S PARKSIDE DR                                                                               ROUND LAKE        IL    60073‐4264
EMILIANO CRUZ JR                                  27915 URSULINE                                                                                  ST CLAIR SHORES   MI    48081‐3646
EMILIANO R INIEGO                                 1072 MAYFIELD DR                                                                                GLENDALE HTS      IL    60139‐3711
EMILIE A DOWNING                                  ATTN EMILIE A NICKLAWSKY               900 23RD ST SE                                           WILLMAR           MN    56201‐4887
EMILIE A HINES                                    ATTN EMILIE HINES HORSFIELD            1707 W KITTLE ROAD                                       MIO               MI    48647‐9749
EMILIE D KANITZ TR EMILIE D KANITZ TRUST UA       4556 MARGARET LANE                                                                              SAGINAW           MI    48603‐5835
11/18/87
EMILIE E WELCH                                    2472 W FOSTER AVE                      APT 302                                                  CHICAGO           IL    60625
EMILIE ELWERT & PHILIP ELWERT JT TEN              1519 THIRD AE                                                                                   NEW YORK          NY    10028‐2307
EMILIE ISENHOUR                                   2040 E 47TH ST                                                                                  ANDERSON          IN    46013‐2718
EMILIE J DAVENPORT                                5507 QUARTER POLE LN                                                                            HOPE MILLS        NC    28348‐9008
EMILIE L POTRAL                                   246‐16 UNION TPKE                                                                               BELLEROSE         NY    11426‐1833
EMILIE M WRIGHT & LESLIE D WRIGHT JT TEN          8056 E VIRGINIA AVE                                                                             SCOTTSDALE        AZ    85257‐1735
EMILIE PAXTON                                     4262 GREGOR BOX 203                                                                             GENESEE           MI    48437‐0203
EMILIE RADO                                       7160 E GOSPEL ISLAND RD                                                                         INVERNESS         FL    34450‐3531
EMILIE T JABLONSKI                                105 GLEN MAR DRIVE                                                                              LENOIR CITY       TN    37772
EMILIE T JABLONSKI & EMILIE A DOVLE JT TEN        105 GLEN MAR DR                                                                                 LENOIR CITY       TN    37772‐3979
EMILIEN PITRE                                     320 WOOD AVE                                                                                    WOONSOCKET        RI    02895‐2128
EMILINA A MELENCIO FERNANDO                       C/O EMILIO M FERNANDO                  PO BOX 337                                               FAR HILLS         NJ    07931‐0337
EMILIO C SILVINO                                  12 LYONS                                                                                        TROY              MI    48083‐1014
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Name                                            Address1                            Address2             Address3          Address4          City              State Zip

EMILIO CABAN                                    2648 N AVERS AVE                    #2                                                       CHICAGO           IL    60647‐1006
EMILIO CASTANEDA                                1797 ROCKTREE CT                                                                             SAN JOSE          CA    95131‐1962
EMILIO ESPARZA GALLEGOS                         EJERCITO NACIONAL #843              COLONIA GRANADA                        MEXICO
EMILIO F CHAVEZ                                 784 W FERNFIELD DR                                                                           MONTEREY PARK     CA    91754‐6809
EMILIO G OLIVAREZ                               180 S COLONY DR                     APT 224                                                  SAGINAW           MI    48638‐6057
EMILIO P MARTINS                                33 CHERRY ROAD                                                                               FRAMINGHAM        MA    01701‐7842
EMILIO RUSSO                                    18974 BAINBRIDGE                                                                             LIVONIA           MI    48152‐3320
EMILIO SANCHEZ & CLOTILDE SANCHEZ JT TEN        34 BARKWOOD LANE                                                                             PALM COAST        FL    32137‐8834
EMILIO T GALVAN                                 1927 E LAFAYETTE                                                                             STOCKTON          CA    95205‐6331
EMILIO TUCCI                                    10257 PAINTBRUSH DR                                                                          KELLER            TX    76248‐6655
EMILIOS K MARKAKIS                              925 PERKINSWOOD SE                                                                           WARREN            OH    44484‐4472
EMILY A BEYER & WILLIAM G BEYER JT TEN          2603 MIDWAY ST                                                                               FALLS CHURCH      VA    22046‐1928
EMILY A FELDER                                  4764 SHALIMAR DR                                                                             COLUMBIA          SC    29206‐1049
EMILY A GORMAN                                  8721 S ERIE AVENUE                                                                           KNIGHTSTOWN       IN    46148‐9630
EMILY A GRAY                                    26954 FORD RD                                                                                DEARBORN HGTS     MI    48127‐2857
EMILY A HAYNES                                  236 CHILDS RD                                                                                BASKING RIDGE     NJ    07920‐3327
EMILY A KABINE TAX                              PO BOX 2298                                                                                  GLEN ROSE         TX    76043‐2298
EMILY A KUBISZEWSKI                             9232 SPROAT AVE                                                                              OAK LAWN          IL    60453
EMILY A LENNON                                  6166 SUNSET DR                                                                               BEDFORD HEIGHTS   OH    44146‐3121

EMILY A MCCARROLL                             1160 W ROWLAND ST                                                                              FLINT             MI    48507‐4015
EMILY A MILLER                                700 SOUTH ST                                                                                   OWOSSO            MI    48867‐8908
EMILY A SCHWENZFEIER                          3102 NOTTINGHAM BLVD                                                                           HOUSTON           TX    77005‐2330
EMILY AFFRICA                                 2300 CANTON ST                        APT 1305                                                 DALLAS            TX    75201‐8424
EMILY ANN OGDEN TR EMILY ANN OGDEN            2228 WEST GILBERT AVE                                                                          PEORIA            IL    61604‐2332
DECLARATION TRUST UA 07/11/05
EMILY ANNE BURROUGHS & EVELYN H VAN NORMAN JT PO BOX 2124                                                                                    TALLAHASSEE       FL    32316‐2124
TEN
EMILY ARBONA HEDGECOCK                        7415 CAMALE DRIVE                                                                              PENSACOLA         FL    32504‐6751
EMILY ARMISTEAD PEYTON                        315 W 23 STREET APT MA                                                                         NEW YORK          NY    10011‐2248
EMILY ASTRID JACQUE                           6 ORCHARD LN                                                                                   DOYLESTOWN        PA    18901‐4729
EMILY B DULD                                  DEPT OF ADMINISTRATIVE SERVICES       165 CAPITOL AVE                                          HARTFORD          CT    06103‐1658
EMILY B FORD                                  123 STADIUM OAKS DR                                                                            CLEMMONS          NC    27012
EMILY B KNOPP                                 424 CRESCENT CT                                                                                RALEIGH           NC    27609‐4538
EMILY B MC COY                                4031 KENNETT PIKE APT 66                                                                       GREENVILLE        DE    19807‐2033
EMILY B TAMUK                                 15 WILLIAM ST                                                                                  HASTINGS‐ON‐      NY    10706‐2860
                                                                                                                                             HUDSON
EMILY B WALKER                                   1300 TIDWELL ST S W                                                                         CULLMAN           AL    35055‐4626
EMILY B WICKHAM                                  1599 ARBOR GREEN COURT                                                                      KENNESAW          GA    30152
EMILY BAUSCH & JAMES H BAUSCH JT TEN             2150 CANDLEMAKER DR                                                                         CINCINNATI        OH    45244‐3753
EMILY BLAIR                                      7624 WHITLY WAY                                                                             LORTON            VA    22079
EMILY BRODER                                     ATTN EMILY B FRAZIER               405 GLEN PARK DR                                         BAY VILLAGE       OH    44140‐2422
EMILY BROWN YALE                                 4265 WICKERSHAM DR NW                                                                       ATLANTA           GA    30327‐3653
EMILY BUCZYNSKI TOD MARY BLUMETTI SUBJECT TO STA 409 WARD AVE                                                                                SOUTH AMBOY       NJ    08879
TOD RULES
EMILY C CREAL                                    520 TWIN DRIVE                                                                              SPARTANBURG       SC    29302‐2702
EMILY C GAFFRON                                  629 W MAIN ST                                                                               BROWNSVILLE       TN    38012‐2534
EMILY C HARRIS                                   3 LOSSON GARDEN DR 1                                                                        CHEEKTOWAGA       NY    14227
EMILY C KARAM                                    2021 PEPPERMINT CT                                                                          RESTON            VA    20191‐1323
EMILY C MCWHINNEY                                BOX 321                                                                                     KENT              CT    06757‐0321
EMILY C STAMBAUGH                                750 STERLING CT                                                                             ENOLA             PA    17025‐2655
EMILY C WILSON                                   756 BROADWAY AVE EAST #206                                                                  SEATTLE           WA    98102‐4648
EMILY CHOJNICKI                                  7 ALGIERS LN                                                                                CHEEKTOWAGA       NY    14225‐4703
EMILY CHRISTOFF                                  7066 AIRPORT RD                                                                             VANDERBILT        MI    49795‐9363
EMILY CLAY SMITH                                 8010 SEA HERO RUN                                                                           VERSAILLES        KY    40383‐9199
EMILY D CIFICHIELLO                              104 LOGGING TRAIL RD                                                                        DANBURY           CT    06811‐2626
EMILY D HERNDON                                  ROUTE 2                                                                                     CROZET            VA    22932‐9802
EMILY D WILLIAMS                                 3033 TRILLIUM COURT EAST                                                                    AURORA            IL    60506‐8898
EMILY DMEO                                       64 CHRISTINE DRIVE                                                                          EAST HANOVER      NJ    07936
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Name                                              Address1                              Address2             Address3          Address4          City               State Zip

EMILY DRESSEL                                     368 COUNTRY LN                                                                                 ORANGE             CT    06477‐2706
EMILY E LEPORE                                    82 GORDON AVENUE                                                                               DUMONT             NJ    07628‐1515
EMILY F BAKER CUST BENJAMIN C BAKER UTMA FL       1209 WILKINSON                                                                                 ORLANDO            FL    32803‐1138
EMILY F JOHNSON                                   19131 SANTA BARBARA                                                                            DETROIT            MI    48221‐1624
EMILY F JOHNSON & WESLEY D JOHNSON JT TEN         19131 SANTA BARBARA                                                                            DETROIT            MI    48221‐1624
EMILY FLOYD STEPHENS                              BOX 3217                                                                                       N MYRTLE BEACH     SC    29582‐0217
EMILY G HITE                                      1055 BRUSHY RD                                                                                 CENTERVILLE        TN    37033‐4546
EMILY G HITE CUST AARON Q HITE UTMA IN            1055 BRUSHY RD                                                                                 CENTERVILLE        TN    37033‐4546
EMILY G JURINAK                                   16913 CREEKSIDE AVE                                                                            TINLEY PARK        IL    60487
EMILY G JURINAK & MARGE G JURINAK JT TEN          16913 CREEKSIDE AVE                                                                            TINLEY PARK        IL    60487
EMILY G KONOPKA                                   31434 EDGEWORTH DR                                                                             MADISON HTS        MI    48071‐1051
EMILY G MAYNARD                                   638 MAGNOLIA DR                                                                                LOGANVILLE         GA    30052‐5542
EMILY G ROWE                                      4435 SHERMAN ROAD                                                                              RICHMOND           VA    23234‐4133
EMILY GARRETT                                     BOX 1182                                                                                       NILES              MI    49120‐8082
EMILY GOODWIN KEMP                                740 N HAPPY HOLLOW BLVD                                                                        OMAHA              NE    68132‐2132
EMILY GUILLEBEAU HELANDER                         3222 N CLIFTON AVE                    APT 3F                                                   CHICAGO            IL    60657‐3344
EMILY GUNSENHOUSER                                ATTN EMILY G HITE                     1055 BRUSHY RD                                           CENTERVILLE        TN    37033‐4546
EMILY H BROWN & EVELYN A HALICKI & ATHANASIOS     34281 LAMOYNE                                                                                  LIVONIA            MI    48154
KOIKAS JT TEN
EMILY H CRAUTHAMEL                                6227 SYLVIA DR                                                                                 BROOK PARK         OH    44142‐1424
EMILY H DICKEY                                    5300 ZEBULON RD #21                                                                            MACON              GA    31210‐9122
EMILY H MAHON                                     11 PROSPECT STREET                                                                             HAWTHORNE          NJ    07506‐3717
EMILY HANEN CUST JASON COX UTMA AZ                13967 E PLACITA ZORRA SOLIT                                                                    VAIL               AZ    85641
EMILY HART ANDERSON                               3004 WINDCOVE PLACE                                                                            RALEIGH            NC    27612
EMILY HEALY                                       1765 W ALTGELD D                                                                               CHICAGO            IL    60614‐1953
EMILY HWEE                                        6330 MAPLEWOOD APT 203                                                                         MAYFIELD HEIGHTS   OH    44124‐1838

EMILY J CACUCCI                                   C/O LINDA VAN DYKE                    636 61ST ST                                              DOWNERS GROVE      IL    60516‐1937
EMILY J EASTHOUSE                                 1800 BLACK FOREST DRIVE                                                                        HOLLISTER          CA    95023‐5693
EMILY J EBERHART                                  80 WOODGLEN CT                                                                                 OLDSMAR            FL    34677‐2059
EMILY J GRACIA & THEODORE R GRACIA JT TEN         50 SOUTHGATE CRSE                                                                              SAINT CHARLES      IL    60174‐1429
EMILY J HIMES                                     2580 RIDGE RD                                                                                  HARRISON           MI    48625‐9234
EMILY J KATZER                                    PO BOX 1508                                                                                    MC CORMICK         SC    29835‐1508
EMILY J MCAULEY                                   101 W JULES VERNE WAY                                                                          CARY               NC    27511‐6397
EMILY J MIRAVET                                   1301 LUCILLE AVE                                                                               VENICE             CA    90291‐4020
EMILY J SKOWRONSKI                                PO BOX 327                                                                                     TWIN LAKE          MI    49457‐0327
EMILY J WILKINSON CUST GERALD L WILKINSON III     532 RYANS WOODS LN                                                                             PALM HARBOR        FL    34683‐5279
UTMA OH
EMILY JANE BLACKWOOD FOSTER                       9828 THORNRIDGE DRIVE                                                                          INDIAN TRAIL       NC    28079‐6536
EMILY JANE FAST                                   233 W LIBERTY ST                                                                               ASHLAND            OH    44805‐3121
EMILY JANE HICKSON                                735 WILLIAMS ST                                                                                CONFLUENCE         PA    15424‐1052
EMILY JANE TANNER TABB                            3904 BARBOUR MANOR COURT                                                                       LOUISVILLE         KY    40241‐1509
EMILY JONES                                       C/O PERCY JONES                       4057 PINGREE                                             DETROIT            MI    48204‐2450
EMILY JONES                                       HC 66 BOX 51                                                                                   DRYFORK            WV    26263‐9504
EMILY K SINGER                                    845 CRITTENDEN ST NE.                                                                          WASHINGTON         DC    20017
EMILY K TRANSOU                                   3704 WEDGEDALE PL                                                                              GREENSBORO         NC    27403‐1068
EMILY KATHLEEN OCONNELL                           29 WEST MULLICA RD                                                                             MYSTIC ISLANDS     NJ    08087‐1123
EMILY KITCHEN                                     331 W 106TH STREET                                                                             CHICAGO            IL    60628‐2533
EMILY L BURN                                      127 HIBBEN ST                                                                                  MOUNT PLEASANT     SC    29464‐4308

EMILY L CARRICO & PATRICIA C YOUNG JT TEN         207 FRANKLIN CT                                                                                ELKTON             MD    21921‐6152
EMILY L CARRICO & WILLIAM A CARRICO JT TEN        207 FRANKLIN CT                                                                                ELKTON             MD    21921‐6152
EMILY L CLEM                                      220 KIMBERLING ST                                                                              NARROWS            VA    24124‐2008
EMILY L COLLINS                                   10 ARCH STREET                                                                                 NEW BEDFORD        MA    02740‐3631
EMILY L GLASS                                     29 MARY ANN LN                                                                                 TRUSSVILLE         AL    35173‐4346
EMILY L LE BLANC                                  ATTN EMILY L REECH                    2204 RIMROCK DR                                          AUSTIN             TX    78738‐5498
EMILY L MASTERS                                   8092 FOX HOLLOW STREET                                                                         GOODRICH           MI    48348
EMILY L SMILOR                                    8435 NC 306 S                                                                                  ARAPAHOE           NC    28510
EMILY L VOSS                                      304 SOUTHBROOK DRIVE                                                                           NICHOLASVILLE      KY    40356
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EMILY L WILSON                                  7709 CLAYTON COVE PWKY                                                                        PINSON           AL    35126
EMILY LYNNE WILCOX                              PO BOX 5825                                                                                   BERKELEY         CA    94705‐0825
EMILY M ADAMS                                   1020 W WALL                                                                                   JANESVILLE       WI    53545‐3574
EMILY M BALIK & PATRICIA L BALIK JT TEN         614 E 31ST STREET                                                                             LAGRANGE PARK    IL    60526‐5407
EMILY M CASALINO                                2218 BERWYN ST                                                                                UNION            NJ    07083‐5802
EMILY M CHASTAIN                                1867 S STONE MAPLE LN                                                                         ELKHART          IN    46514‐9258
EMILY M COOK                                    PO BOX 27768                                                                                  DETROIT          MI    48227‐0768
EMILY M DIERKERS                                75 WOODFIELD PL                                                                               DAYTON           OH    45459‐4627
EMILY M ERNST                                   1236 ATLANTIC AVE                    APT 313                                                  BROOKLYN         NY    11216
EMILY M HITCHCOCK                               307 S MICHIGAN AVE                                                                            OMER             MI    48749‐9785
EMILY M KLAIBER                                 1819 S W 22ND ST                                                                              FT LAUDERDALE    FL    33315‐1838
EMILY M KOLUPSKI                                171 FLORAL DRIVE                                                                              ROCHESTER        NY    14617‐5124
EMILY M MITCHELL                                87 STEWART DR                        UNIT 205                                                 EDGEWATER        MD    21037
EMILY M RICHARDS                                3035 COUNTRYSIDE BLVD                APT B10                                                  CLEARWATER       FL    33761
EMILY M SCHULER                                 37 ASH TERRACE                                                                                PARLIN           NJ    08859‐1101
EMILY M SUTER                                   3333 CREIGHTON LANE                                                                           FLEMING ISLAND   FL    32003
EMILY N DUPUIS                                  414 LIMOGES TERR                                                                              HENDERSON        NV    89014
EMILY NUSCA                                     1303 MALBA DRIVE                                                                              WHITESTO         NY    11357‐2309
EMILY O NEFF                                    PO BOX 402                                                                                    ROSE HILL        VA    24281‐0402
EMILY P HAMPSTEAD TOD DAVID A HAMPSTEAD         409 MERKLE DR                                                                                 NORMAN           OK    73069‐6431
SUBJECT TO STA TOD RULES
EMILY P MC GUIGAN                               106 W PULTENEY ST                    APT 201                                                  CORNING          NY    14830‐2130
EMILY P STICKLE                                 1 FORDYCE MONOR DR                                                                            SAINT LOUIS      MO    63131‐3118
EMILY P SWEETON                                 200 ARNOLD AVE                                                                                TULLAHOMA        TN    37388‐2184
EMILY PACHECO & MARY C PACHECO JT TEN           112 EVERGREEN DR                                                                              SWANSEA          MA    02777‐4306
EMILY PERRY REED                                ROUTE BOX 316                        507 CHESTNUT ROAD                                        HINTON           WV    25951
EMILY QUARTARARO                                735 DUNNE CT                                                                                  BROOKLYN         NY    11235‐6122
EMILY R GUITH & MARK G GUITH JT TEN             9349 BURNING TREE DR                                                                          GRAND BLANC      MI    48439‐9539
EMILY R HANSHAW                                 PO BOX 536                                                                                    OAKMONT          PA    15139‐0536
EMILY R HARRIS                                  4132 COLTER DR                                                                                KOKOMO           IN    46902‐4494
EMILY R MOBLEY                                  10010 LOST HOLLOW LN                                                                          MISSOURI CITY    TX    77459‐2490
EMILY R VANHORNE                                461 MILLERS CORNERS RD                                                                        AMSTERDAM        NY    12010‐7844
EMILY R WILSON                                  2885 LILLINGTON DR                                                                            SUMTER           SC    29150‐2249
EMILY RACHEL DEUTSCH                            208 VILLARD AVE                                                                               HASTINGS HDSN    NY    10706
EMILY RICE HARDER                               1724 GLENMORE DR                                                                              LIBERTYVILLE     IL    60048‐1517
EMILY RIEHM                                     1030 18TH ST S                                                                                ARLINGTON        VA    22202‐1608
EMILY ROSE CURTIN                               654 WEST MAPLE AVENUE                                                                         EL SEGUNDO       CA    90245‐2005
EMILY RUTH BROWN                                7126 LAS VENTANAS DR                                                                          AUSTIN           TX    78731
EMILY RUTH HOBERG                               11 HUDSON ST                                                                                  MILTON           MA    02186
EMILY S GRANTHAM                                1716 BURNT BRANCH RD                                                                          HARTSVILLE       SC    29550‐6612
EMILY S HAMILTON & DON H SAMDAHL JR JT TEN      995 SHENANDOAH RD                                                                             LEXINGTON        VA    24450‐2218
EMILY S ROACH                                   357 JOHNS WAY                                                                                 TALKING ROCK     GA    30175‐1682
EMILY S WARE                                    10208 STONEHAM                                                                                OKLAHOMA CITY    OK    73120‐3948
EMILY S WHALEN                                  5301 HANOVER DR                                                                               WESCOSVILLE      PA    18106‐9452
EMILY SCHAEFER                                  9036 LARSTON                                                                                  HOUSTON          TX    77055‐6509
EMILY SEKAN                                     8201 SO MASON AVE                                                                             BURBANK          IL    60459‐1955
EMILY SEWELL                                    3637 MCCAIN RD APT B                                                                          JACKSON          MI    49203
EMILY SHEKO                                     32643 GLEN                                                                                    WESTLAND         MI    48186‐4917
EMILY SOUZA TR UA 11/21/2006 EMILY & RICHARD    16302 MATEO ST                                                                                SAN LEANDRO      CA    94578
SOUZA FAMILY TRUST
EMILY STIPES WATTS                              937 CHESHIRE DRIVE                                                                            CHAMPAIGN        IL    61821
EMILY SUE JOHNSON & MATTHEW A JOHNSON JT TEN    11425 E 15TH                                                                                  INDEPENDENCE     MO    64052‐3913

EMILY SUE LAWRENCE MARTINEZ & TIMOTHY NORBERT   8516 HANNETT AVE NE                                                                           ALBUQUERQUE      NM    87112‐3833
MARTINEZ JT TEN
EMILY T BARNING                                 1229 WOODHAVEN DR                                                                             WATERFORD        MI    48327‐4219
EMILY T BARTELS                                 C/O EMILY C BARTELS                  434 WALNUT LANE                                          PRINCETON        NJ    08540‐3467
EMILY T REDMON CUST BYRON T REDMON UGMA KY      418 CEDAR WAY                                                                                 FRANKFORT        KY    40601‐9001
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EMILY TARNE                                         1278 WEDGEWOOD MANOR WAY                                                                          RESTON          VA    20194‐1329
EMILY THALHEIMER                                    1310 MONK RD                                                                                      GLADWYNE        PA    19035‐1313
EMILY THURSTON SHAW                                 712 COURT ST                                                                                      KEENE           NH    03431‐1711
EMILY V SIEMION                                     9312 CONTINENTAL DR                                                                               TAYLOR          MI    48180‐3018
EMILY VERHAGEN                                      1418 SILVERGREEK DR                                                                               MECHANICSBURG   PA    17055
EMILY VIRGINIA HARRIS                               20 SOUTH FORKLANDING ROAD                                                                         MAPLE SHADE     NJ    08052‐2746
EMILY ZITZELBERGER & JOSEPH H ZITZELBERGER JT TEN   14263 POPLAR ST                                                                                   SOUTHGATE       MI    48195‐3702

EMILY‐ANN FLINT STANDLEY                            3939 WALNUT AVE                       #283                        CARMICHEAL                      CARMICHAEL      CA    95608‐7305
EMIT JOHNSON                                        1086 WARDEN AVE                                                                                   MANSFIELD       OH    44905‐1445
EMLORY W HARRIS                                     1730 MCTAGGART DR                                                                                 AKRON           OH    44320‐3220
EMMA A CANTERO                                      C/O CONDOMINIO UNIVERSITARIO          ESTEBAN GONZALEZ 862 12‐C   RIO PIEDRAS   925 PUERTO RICO
EMMA A EDGE                                         35659 OLD HURON RIVER DR                                                                          NEW BOSTON      MI    48164‐9730
EMMA A FAIELLA                                      22 EASTERN AVE                                                                                    OSSINING        NY    10562‐5011
EMMA A PHIFER                                       3097 DUQUESNE                                                                                     WESTMIFFLIN     PA    15122‐1470
EMMA A PHISKO & VALERIE REUTER JT TEN               32544 BRIDGE ST                                                                                   GARDEN CITY     MI    48135‐1601
EMMA A ROZAS                                        33 DOGWOOD LN                                                                                     PRINCETON       NJ    08540‐5628
EMMA A STANO                                        2404 REEVES RD                                                                                    WARREN          OH    44483‐4334
EMMA A WRIGHT                                       1635 BAY MEADOWS DR                                                                               FLORISSANT      MO    63033‐2632
EMMA ALLEN                                          1032 TAHOE TRL                                                                                    FLINT           MI    48532‐3565
EMMA B NICHOLS                                      429 2ND ST S W                                                                                    WARREN          OH    44483‐6405
EMMA B TURNER                                       4300 GLENFALL AVE                                                                                 CHARLOTTE       NC    28210‐6818
EMMA BELLE ROAN FARMER                              1401 S FERNCREEK AVE                                                                              ORLANDO         FL    32806‐2301
EMMA BENOIT TOD CINDY BENOIT WILLIAMS SUBJECT       305 LITTLEFIELD                                                                                   CHEBOYGAN       MI    49721
TO STA TOD RULES
EMMA BOXMANN                                        5319 BOWERS HILL DR                                                                               HAYMARKET       VA    20169‐4507
EMMA BRANDSTATER                                    245 EAST 62ND ST                                                                                  NEW YORK        NY    10021‐7619
EMMA BYSTERBUSCH                                    188 NORTH HALEDON AVENUE                                                                          HALEDON         NJ    07508
EMMA C BLACK                                        20201 PLYMOUTH RD APT 502                                                                         DETROIT         MI    48228‐1203
EMMA C BRENNER                                      ATTN NORMAN A BRENNER                 3221 MORAINE DR                                             BRIGHTON        MI    48114‐9223
EMMA C CLARK                                        38589 LANCASTER ST                                                                                LIVONIA         MI    48154‐1314
EMMA C CLARKE                                       1312 E CORNELL AVE                                                                                FLINT           MI    48505‐1751
EMMA C DULIN                                        5258 MCFARLAND RD                                                                                 INDIANAPOLIS    IN    46227‐6613
EMMA C GARDNER & PAUL E GARDNER JT TEN              2457 S IRISH RD                                                                                   DAVISON         MI    48423‐8362
EMMA CROUCH WILSON                                  3984 JUPITER BLVD SE                                                                              PALM BAY        FL    32909‐3861
EMMA D LEWIS                                        622 EDMUND ST                                                                                     FLINT           MI    48505‐3854
EMMA D REIDENBACH                                   1224 LAKE FOREST DR                                                                               FORT WAYNE      IN    46815
EMMA E BATES                                        8535 TOWNE MANOR CT                                                                               ALEXANDRIA      VA    22309‐4512
EMMA E BLUM                                         2324 BURNING TREE DR SE                                                                           GRAND RAPIDS    MI    49546‐5515
EMMA E CURRY                                        3971 NEVERMIND WAY                                                                                GREENWOOD       IN    46142‐8541
EMMA E GOINS                                        3115 BEECH CREEK RD                                                                               MANCHESTER      KY    40962‐6172
EMMA E HABURN                                       1051 DIANEWOOD DRIVE                                                                              MANSFIELD       OH    44903‐8830
EMMA E PAYNE                                        C/O EMMA P LUNDY                      6611 LAUREL DRIVE                                           BALTIMORE       MD    21207‐6330
EMMA F KAPSALA TR EMMA F KAPSALA TRUST UA           15582 CALLE ASTURTAS                                                                              SAN DIEGO       CA    92128‐4422
08/21/89
EMMA G MURPHY                                       15450 18 MILE RD APT C‐302                                                                        CLINTON TWP     MI    48038‐5820
EMMA H FIELD                                        327 E WILLIAMS ST                                                                                 WATERLOO        NY    13165‐1627
EMMA H KEENE                                        18703 WOODINGHAM                                                                                  DETROIT         MI    48221
EMMA H KEENE                                        18703 WOODINGHAM                                                                                  DETROIT         MI    48221
EMMA H WILLIAMS                                     2500 SALEM AVENUE                                                                                 DAYTON          OH    45406‐2929
EMMA HARRIS                                         20044 BILTMORE                                                                                    DETROIT         MI    48235‐2429
EMMA HOLDEN                                         2815 ATHENS AV                                                                                    DAYTON          OH    45406‐4325
EMMA HOZIAN                                         303 DEERPATH DR                                                                                   MINOOKA         IL    60447
EMMA HUBBARD TR EMMA HUBBARD TRUST UA               3717 PEMERTON AVE                                                                                 RICHMOND        VA    23222‐2425
08/06/01
EMMA J BAXLEY                                       425 MEIGS ST                                                                                      SANDUSKY        OH    44870‐2929
EMMA J BOYD                                         495 PINE ST                                                                                       WARRENVILLE     SC    29851‐2023
EMMA J BRANNON                                      900 E SHOCKLEY RD                                                                                 MUNCIE          IN    47302‐9515
EMMA J BUIS                                         159 EAST WALNUT ST                                                                                MARTINSVILLE    IN    46151‐1958
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Name                                          Address1                              Address2             Address3          Address4          City              State Zip

EMMA J BURKHAMMER                             1575 OLD STATE RD                                                                              COOLVILLE         OH    45723
EMMA J CROCKETT                               1930 FERN ST                                                                                   ROYAL OAK         MI    48073‐4184
EMMA J DEGRAFFENREID                          1311 MIDLAND DR                                                                                ST LOUIS          MO    63130‐1839
EMMA J DILLARD                                99 TOMAHAWK TR                                                                                 HENRIETTA         NY    14467‐9542
EMMA J GALLOWAY                               19126 SUNNYBROOK AV                                                                            LATHRUP VILLAGE   MI    48076‐3226

EMMA J GIPSON                                 20048 WESTBROOK                                                                                DETROIT           MI    48219‐1320
EMMA J GLOVER                                 5015 WAINWRIGHT                                                                                LANSING           MI    48911‐2854
EMMA J GRAY                                   1585 PARAN GLEN RD NW                                                                          ATLANTA           GA    30327‐2930
EMMA J GREEN                                  10 SPRING RD                                                                                   WOLCOTT           CT    06716‐1616
EMMA J GRIFFIN                                12005 LEATHERBARK WAY                                                                          GERMANTOWN        MD    20874‐1982
EMMA J HALE                                   2315 BRADDISH AVE                                                                              BALTIMORE         MD    21216‐2918
EMMA J HALL                                   14924 EVANSTON                                                                                 DETROIT           MI    48224
EMMA J HALL                                   1990 PRE EMPTION ST                                                                            GENEVA            NY    14456‐9507
EMMA J JOHNSON                                1820 RUTLAND AVE                      APT 228                                                  CINCINNATI        OH    45207‐1250
EMMA J KEY                                    4836 S EATON DR                                                                                INDIANPOLIS       IN    46239‐1606
EMMA J KEYS                                   1870 BURNETTE                                                                                  CLEVELAND         OH    44112‐2017
EMMA J MANTHEY                                17800 BURBANK BLVD #206                                                                        ENCINO            CA    91316‐1664
EMMA J MEAD                                   PO BOX 1475                                                                                    BROOKSVILLE       FL    34605‐1475
EMMA J MILLS LONDEREE                         3611 FLORAL PARK RD                                                                            BRANDYWINE        MD    20613‐9125
EMMA J NUNNALLY                               2441 GORNO                                                                                     TRENTON           MI    48183‐2540
EMMA J NUNNALLY & BYRON L NUNNALLY JT TEN     2441 GORNO                                                                                     TRENTON           MI    48183‐2540
EMMA J PRESLEY                                2604 HARDWOOD AVE                                                                              LANCASTER         OH    43130
EMMA J RIVERS DELK                            PO BOX 194                                                                                     STANTON           TN    38069‐0194
EMMA J ROBERTS                                3402 MACKIN RD                                                                                 FLINT             MI    48504‐3278
EMMA J SMITH                                  2336 SURREY LN                                                                                 FRANKLIN          TN    37067‐5001
EMMA J VINYARD & SANDRA M GEISERT JT TEN      861 BEACH BUGGY LANE                                                                           LINDEN            MI    48451‐9692
EMMA JEAN B DICKERSON                         5016 MEEKS DR                                                                                  ORANGE            TX    77632‐1207
EMMA JEAN BERQUIST CUST SAMANTHA J BERQUIST   PO BOX 181                                                                                     DAVISBURG         MI    48350‐0181
UGMA MI
EMMA JEAN BERWICK                             5016 MEEKS DR                                                                                  ORANGE            TX    77632‐1207
EMMA JEAN BONNES                              20 SOULICE PLACE                                                                               NEW ROCHELLE      NY    10804
EMMA JEAN CARTER                              148 CARTER RD                                                                                  ADVANCE           NC    27006‐7631
EMMA JEAN ERICKSON                            15875 JENNIFER DR                                                                              MACOMB            MI    48044‐2430
EMMA JEAN GRADY                               1603 COLLIER DR W                                                                              WHITEHALL         MI    49461‐1905
EMMA JEAN LAIRD                               4200 WILLIAMSON RD                                                                             SAGINAW           MI    48601‐5950
EMMA JEAN VALLEY                              5777 BEUNA PKWY                                                                                HASLETT           MI    48840‐8206
EMMA K GAITER                                 3240 LEXINGTON DRIVE                                                                           SAGINAW           MI    48601
EMMA K KEATING TR KEATING LIVING TRUST UA     5201 IVYWOOD DR                                                                                LA PALMA          CA    90623‐1742
01/20/88
EMMA K NORRIS                                 3322 N RILEY AVE                                                                               INDIANAPOLIS      IN    46218‐2353
EMMA L ALLISON                                1207 MT VERNON DR                                                                              BLOOMINGTON       IL    61704‐2225
EMMA L ANDERSON                               2201 FAIRPORT AVE                                                                              DAYTON            OH    45406‐2537
EMMA L CAPLES                                 229 BRIARWOOD LN                                                                               ROGERSVILLE       MO    65742‐9774
EMMA L CATON                                  7450 NE 23                                                                                     OKLAHOMA CITY     OK    73141‐1421
EMMA L LASTER                                 483 THORS                                                                                      PONTIAC           MI    48342‐1968
EMMA L LESTINA                                5105 CLOUD AVE                                                                                 LA CRESCENTA      CA    91214‐1906
EMMA L MCCLENDON                              2414 SNELLING PL                                                                               SAGINAW           MI    48601‐1430
EMMA L MENIFEE                                40 N MAIN ST                          STE 800                                                  DAYTON            OH    45423‐1025
EMMA L MOORE & WILLIAM E MOORE JT TEN         14271 MARK TWAIN                                                                               DETROIT           MI    48227‐2848
EMMA L MORRIS                                 2008 WILLIAMS ST                                                                               GARY              IN    46404‐2563
EMMA L MORRIS                                 6588 OLD BETHANY RD                                                                            CHARLESTOWN       IN    47111‐8880
EMMA L NICHOLS                                3018 E MEYER BLVD                                                                              KANSAS CITY       MO    64132‐1222
EMMA L ROSS                                   3660 MANN                                                                                      CLARKSTON         MI    48346‐4037
EMMA L STOUT                                  164 OHIO AVE                                                                                   WADSWORTH         OH    44281‐1774
EMMA L TUFTS                                  19 WINCHESTER DR                                                                               TOMS RIVER        NJ    08753‐2221
EMMA L WILHITE                                437 WOOD ST                                                                                    PETERSBURG        MI    49270‐9508
EMMA LAFLEUR                                  815 ROWLINSON LANE                                                                             ORTONVILLE        MI    48462‐8559
EMMA LEE ANDERSON                             3012 GRAMMONT                                                                                  MONROE            LA    71201‐7271
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EMMA LEE MILLER & STEPHEN J MILLER JT TEN         7229 STONEGATE DR                                                                                ST LOUIST         MO    63123‐1625
EMMA LEE MOSS                                     26770 ISLEWORTH PT                                                                               SOUTHFIELD        MI    48034‐5671
EMMA LESLIE                                       4260 E CITY LIMITS RD                                                                            STANDISH          MI    48658‐9685
EMMA LOU DEMORY                                   225 HERITAGE POINT                                                                               MORGANTOWN        WV    26505‐2831
EMMA LOU EATON                                    3328 ELEANOR                                                                                     FLINT             MI    48532‐3623
EMMA LOU HEIDBREDER                               120 EMERY DR                                                                                     QUINCY            IL    62301‐4405
EMMA LOUISE HOSKINS                               1234 TWENTIETH STREET                                                                            PARKERSBURG       WV    26101‐3420
EMMA M BROWN                                      126 S PRAIRIE RD                       APT 101                                                   NEW LENOX         IL    60451‐1887
EMMA M CIPPA & ELIZABETH M CIPPA & ANNE R CIPPA   508 SILLIMAN ST                                                                                  SAN FRANCISCO     CA    94134‐1155
JT TEN
EMMA M KOONTZ & DONALD J KOONTZ JR JT TEN         4346 W DENVER                                                                                    WEIDMAN           MI    48893
EMMA M MCCARTY & ROGER A MCCARTY JT TEN           803 CHIPPEWA TRAIL                                                                               NILES             MI    49120‐3157
EMMA M PLETCHER                                   107 LARGE                                                                                        MEYERSDALE        PA    15552‐1114
EMMA M WEDDLE                                     4012 CARTER AVE                                                                                  CINCINNATI        OH    45212
EMMA M WILLIAMS                                   13601 ROSELAWN                                                                                   DETROIT           MI    48238‐2467
EMMA MARIE BENARD                                 RR 1 BOX 35                                                                                      SIMPSON           IL    62985‐9603
EMMA MARY LARKIN                                  PO BOX 926                                                                                       MANCHESTER        VT    05254‐0926
EMMA MAXINE GLASS                                 PO BOX 6066                                                                                      KOKOMO            IN    46904‐6066
EMMA MAY HARRINGTON                               1829 SUMMIT PLACE APT 102                                                                        WASHINGTON        DC    20009‐2341
EMMA MAYNARD                                      81 FRUITVILLE RD                                                                                 POTTSTOWN         PA    19464‐3307
EMMA MCADOO                                       20035 KLINGER ST                                                                                 DETROIT           MI    48234‐1741
EMMA MCLAUGHLIN                                   2903 VALLEY STREET                     LIBERTY BORO                                              MCKEESPORT        PA    15133‐2312
EMMA P STIDHAM                                    62 CLOVER STREET                                                                                 DAYTON            OH    45410‐1420
EMMA PARKER COLLINS TR UA COLLINS FAMILY TRUST    1101 FURMAN PL                                                                                   GLENDALE          CA    91206‐1521
11/11/77
EMMA R DAVIS                                      79 JONES BRIDGE RD                                                                               BLACKVILLE      SC      29817‐2519
EMMA R HALL                                       7275 FIRST ST                                                                                    WEST BLOOMFIELD MI      48324‐3703

EMMA R HUFF                                       1401 S FERNCREEK AVE                                                                             ORLANDO           FL    32806‐2301
EMMA R SCHAENING & GLENN E SCHAENING JT TEN       7640 AUGUST                                                                                      WESTLAND          MI    48185‐2577

EMMA R WHITNEY                                  77 HOOVER AVE                                                                                      KENMORE           NY    14217‐2501
EMMA RAYE BAKER                                 428 THOMAS LANE                                                                                    GRAND BLANC       MI    48439‐1526
EMMA RIVERA                                     970 COTTO AVE                            ARECIBO                                PUERTO RICO
EMMA RUPPERT                                    PO BOX 577                                                                                         BELLEVUE          OH    44811‐0577
EMMA S MCDOWELL                                 3735 S CO RD 1100 E                                                                                GREENTOWN         IN    46936
EMMA S PATTEE TR EMMA S PATTEE REVOCABLE LIVING 30 ROSEPETAL CT                                                                                    MT CLEMENS        MI    48043‐1400
TRUST UA 03/13/98
EMMA S TALTON                                   3429 GLENN AVE                                                                                     ROBBINS           IL    60472‐2205
EMMA SANTILLI                                   54545 CAMBRIDGE DR                                                                                 SHELBY TOWNSHIP   MI    48315‐1609

EMMA SCOTT                                        2 CHERRY LN                            BALCLUTHA                              9230 NEW ZEALAND
EMMA SUE JOHNSON                                  BOX 27                                                                                           MORRISVILLE      NC     27560‐0027
EMMA SUE OHLER                                    231 CALVARY CHURCH RD                                                                            CORBIN           KY     40201
EMMA T MIARS                                      2501 CANTERBURY RD                                                                               WILMINGTON       NC     28403‐6101
EMMA TURNER                                       7637 OAKVALE DR                                                                                  DOUGLASVILLE     GA     30134‐3789
EMMA W MESSICK                                    3717 WILDCHERRY LN                                                                               WILMINGTON       DE     19808‐4611
EMMAD JISHI                                       26096 TIMBER TRAIL                                                                               DEARBORN HEIGHTS MI     48127‐4148

EMMAGENE E HARRINGTON                             501 VIA CASITAS                        TAMAL PIAS           APT 914                              GREENBRAE         CA    94904‐2016
EMMAJEAN FISHER                                   1445 SEYMOUR RD                                                                                  FLUSHING          MI    48433‐9448
EMMANUEL A LUCIA & MRS DOLORES LUCIA JT TEN       6 WYNNGATE CT                                                                                    FREDERICKSBURG    VA    22405‐2851

EMMANUEL C MIFSUD                                 14233 SEMINOLE                                                                                   REDFORD           MI    48239‐3035
                                                                                                                                                   TOWNSHIP
EMMANUEL D HARRIS                                 5271 OLYMPIA DRIVE                                                                               INDIANAPOLIS      IN    46228‐2238
EMMANUEL D PAPADOPOULOS & MRS PAGONA              5174 LONGTON RD                                                                                  LYNDHURST         OH    44124‐2750
PAPADOPOULOS JT TEN
EMMANUEL E DUNHAM                                 8858 TRINITY                                                                                     DETROIT           MI    48228‐1631
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EMMANUEL E ETIM                                 47612 ROYAL PNT DR                                                                           CANTON TOWNSHIP MI       48187‐5463

EMMANUEL FYSSAS                                 6624 LINDY LN                                                                                HOUSTON            TX    77023‐4807
EMMANUEL G BETINIS                              8349 I MONTGOMERY RUN RD                                                                     ELLICOTT CITY      MD    21043‐7436
EMMANUEL GONZALES JR                            3902 CIRCLE DRIVE                                                                            FLINT              MI    48507‐2717
EMMANUEL J ANGELIS & MARGARITA ANGELIS JT TEN   3240 REEVES RD NE                                                                            WARREN             OH    44483‐3651

EMMANUEL J FRAZIER                              5890 SW 62ND ST                                                                              MIAMI              FL    33143‐2338
EMMANUEL J SKOPOS                               1689 NORTH RD SE                                                                             WARREN             OH    44484‐2906
EMMANUEL L BASHAKES & CRYSTAL L BASHAKES JT TEN 103 TAPESTRY TRACE                                                                           PEACHTREE CITY     GA    30269‐2452

EMMANUEL N BROKOS                               217 WEST 3RD ST                                                                              ABERDEEN           WA    98520‐3915
EMMANUEL N ELLINOS                              5087 BIRCHCREST AVENUE                                                                       AUSTINTOWN         OH    44515‐3920
EMMANUEL R RAPHAEL                              35018 VITO DRIVE                                                                             STERLING HEIGHTS   MI    48310‐5000

EMMANUEL V GARCIA                               3064 GLOUCESTER                                                                              STERLINGS HEIGHTS MI     48310‐2959

EMMANUEL VAL VERDE                              C/O HOWARD GOSS                     PO BOX 679                                               DEERFIELD          IL    60015
EMMANUEL W BARNES                               707 SHAWSWICK STATION RD                                                                     BEDFORD            IN    47421‐7653
EMMAUEL MCCOWAN                                 3777 MALCOLM AVE                                                                             OAKLAND            CA    94605‐5357
EMMER N FORD                                    2337 FRANK GORE RD                                                                           LITTLE RIVER       SC    29566‐9607
EMMERT FARMS INC                                50931 LINCOLNSHIRE TRAIL                                                                     GRANGER            IN    46530‐8768
EMMET A ROSE                                    2612 SW 63 STREET                                                                            OKLAHOMA CITY      OK    73159‐1716
EMMET E ACORD                                   700 W MAIN ST                                                                                DURAND             MI    48429‐1538
EMMET J FARNAND                                 6616 PROVIDENCE CIRCLE                                                                       ROCHESTER          NY    14616
EMMET J PRITCHARD                               208 PROSPECT AVE                                                                             MEDINA             NY    14103‐1234
EMMET JULIUS WITT                               849 LAKE SHORE DRIVE                                                                         GLADWIN            MI    48624‐8065
EMMET M HUNDLEY                                 82 CADILLAC ST                                                                               PONTIAC            MI    48342‐1222
EMMET O HUSSAR                                  103‐A KENT DRIVE                                                                             CATLIN             IL    61817‐9619
EMMET S SUMMERS                                 1715 1/2 WEST 82ND ST                                                                        LOS ANGELES        CA    90047‐2738
EMMETT B MOORE JR                               2323 GREENBROOK BLVD                                                                         RICHLAND           WA    99352‐8427
EMMETT B PRESLEY                                254 BOOHER RD                       APT C3                                                   BRISTOL            TN    37620‐2644
EMMETT C BEAVERS CUST TIMOTHY C BEAVERS UGMA    2467 KIMBERLY DR                                                                             TOLEDO             OH    43615‐2740
OH
EMMETT C FOSTER                                 PO BOX 211                                                                                   PLEASANT GROVE     AR    72567‐0211
EMMETT CHILDERS JR                              215 RAM DRIVE                                                                                COVINGTON          GA    30014‐1959
EMMETT CRONNELLY & NITA MARIE ATKINS & DONNA    139 MISSOULA AVE                                                                             BUTTE              MT    59701‐8415
LEE CARLSON JT TEN
EMMETT E BRENNAN                                3627 JOSLYN ROAD                                                                             ORION              MI    48359‐1217
EMMETT E BRENNAN & LOIS MAE BRENNAN JT TEN      3627 JOSLYN ROAD                                                                             ORION              MI    48359‐1217

EMMETT E HIXON & MARIE J HIXON JT TEN           900 N HARRISON RD                                                                            EAST LANSING       MI    48823‐3021
EMMETT E SHERMAN                                1850 W RENAISSANCE AVE                                                                       APACHE JCT         AZ    85220
EMMETT E VENTRESS                               PO BOX 1828                                                                                  LK HAVASU CTY      AZ    86405‐1828
EMMETT F BAILEY                                 215 E MARIAM ST                                                                              ALEXANDRIA         IN    46001‐8645
EMMETT FAULKNER JR                              19691 DEQUINDRE                                                                              DETROIT            MI    48234‐1255
EMMETT G BOLAND & DONNA M BOLAND JT TEN         310 7TH ST NO                                                                                GREAT FALLS        MT    59401‐2434
EMMETT GOUDY                                    1734 HIGHWAY 496                                                                             MERIDIAN           MS    39301‐8970
EMMETT H DOTSON                                 15‐2684 N AWA STREET                                                                         PAHOA              HI    96778‐9631
EMMETT H FLORENCE                               105 PINE ST                                                                                  ATLANTA            TX    75551‐2540
EMMETT H MARTIN                                 7117 CR 406                                                                                  GRANDVIEW          TX    76050‐9804
EMMETT H NEWPORT                                153 COUNTY ROAD 294                                                                          PHILADELPHIA       TN    37846‐2131
EMMETT H TANGEMAN                               ROUTE 1                                                                                      SENECA             KS    66538‐9801
EMMETT H WASS TR EMMETT H WASS REVOCABLE        6518 AIKEN RD                                                                                LOCKPORT           NY    14094‐9647
LIVING TRUST UA 3/3/97
EMMETT J MONTGOMERY                             3650 DEMOONEY ROAD                                                                           COLLEGE PARK       GA    30349‐1140
EMMETT J SATTERLA                               PO BOX 630                                                                                   WHITMORE LAKE      MI    48189‐0630
EMMETT J SCULLY                                 311 TURKEY PT CIR                                                                            COLUMBIA           SC    29223‐8140
EMMETT J SCULLY & CATHRINE T SCULLY JT TEN      311 TURKEY PT CIR                                                                            COLUMBIA           SC    29223‐8140
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EMMETT J SMITH                                   61 BURNING TREE LANE                  PENNFIELD                                                PENFIELD       NY     14526
EMMETT JOHN ROBINSON                             3975 IVERNESS LN                                                                               W BLOOMFIELD   MI     48323‐1712
EMMETT JONES                                     8320 MCKENIZE PL                                                                               LITHONIA       GA     30058‐5290
EMMETT L BARNETT                                 1206 W ZARTMAN ROAD                                                                            KOKOMO         IN     46902‐3219
EMMETT L BARNETT & KAREN S BARNETT JT TEN        1206 W ZARTMAN RD                                                                              KOKOMO         IN     46902‐3219
EMMETT L BUHLE                                   535 GRADYVILLE RD APT A 210                                                                    NEWTOWN SQUARE PA     19073‐2815

EMMETT L PRICE                                   2821 APACHE DR                                                                                 ANDERSON        IN    46012‐1403
EMMETT L SCHMUCK & NANCY A SCHMUCK JT TEN        1417 PLEASANT VALLEY RD                                                                        FAIRMONT        WV    26554‐9210

EMMETT LAVIN                                       1414 SW 158TH                                                                                SEATTLE         WA    98166‐2154
EMMETT LYNN JOHNSON CUST JASON BRYAN JOHNSON 5011 TARNBROOK                                                                                     HOUSTON         TX    77084‐2362
UGMA TX
EMMETT MONROE SPIERS                               1210 TANNERY CIRCLE                                                                          MIDLOTHIAN      VA    23113
EMMETT P MONAHAN JR                                6351 E VALLEY GREEN RD                                                                       FLOURTOWN       PA    19031‐1317
EMMETT R RHODES                                    16595 ROUTE 28                                                                               BROOKVILLE      PA    15825‐4407
EMMETT S ELLIOTT JR & JANET W ELLIOTT JT TEN       82 CREEK DRIVE                                                                               MONRGOMERY      AL    36117‐4100
EMMETT SORRELL                                     26 S STATE RD 9                                                                              ANDERSON        IN    46012‐3103
EMMETT SPENCER                                     9361 S 6TH ST                                                                                KALAMAZOO       MI    49009‐8937
EMMETT TRAVIS ARMSTRONG                            3815 ZIMMERMAN                                                                               FLINT           MI    48532‐5085
EMMETT W SCHMIDT                                   11795 BOHM RD                                                                                BYRON           MI    48418‐9630
EMMETT WILLIAMS                                    1741 WILLAMET RD                                                                             KETTERING       OH    45429‐4250
EMMETT WILLIAMS JR                                 253 RAPID STREET                                                                             PONTIAC         MI    48341‐2256
EMMETTE E BURNS JR                                 451 E GRAND RIVER ROAD                                                                       OWOSSO          MI    48867‐9717
EMMETTE WARD CORNELIUS                             PO BOX 46 DELMAR                                                                             TOUGALOO        MS    39174‐0046
EMMIE M ROTERMUND                                  1031 LIGHTHOUSE DR                                                                           SCHAUMBURG      IL    60193‐3837
EMMIE MOORE LANSDELL                               ATTN JOHN ROBERT MOORE II           709 WORTHINGTON MILL RD                                  NEWTOWN         PA    18940‐9649
EMMIETT R THRIST                                   135 MERCER AVE                                                                               BUFFALO         NY    14214‐1811
EMMIT E PRICE & JULIA C PRICE TR UA 04/29/93 PRICE 2642 NEWTON AVE                                                                              FORT MYERS      FL    33901‐5831
TRUST
EMMIT E PRICE & JULIA C PRICE TR UA 04/29/93 PRICE 2642 NEWTON AVE                                                                              FORT MYERS      FL    33901‐5831
TRUST
EMMIT E RIDENER                                    9885 FOX                                                                                     ALLEN PARK      MI    48101‐1320
EMMIT J ADCOCK                                     32 TATUM CAMP ROAD                                                                           PURVIS          MS    39475‐3210
EMMIT T LAUDERDALE                                 3829 N CAPITOL                                                                               INDIANAPOLIS    IN    46208‐3908
EMMITT B MARTIN                                    5555 SERENE DRIVE                                                                            BEAUMONT        TX    77706‐3431
EMMITT E GREGORY                                   7008 WALROND                                                                                 KANSAS CITY     MO    64132‐3268
EMMITT J ARMOUR                                    5112 CHATHAM PL                                                                              INDIANAPOLIS    IN    46226‐2272
EMMITT JONES JR                                    12419 S ASHLAND AVE                 APT 5                                                    CALUMET PARK    IL    60827‐5744
EMMITT MARKS                                       PO BOX 775                                                                                   MARSHA          TX    75670
EMMITT R SMITH                                     413 LYNDA LANE                                                                               ARLINGTON       TX    76010‐4354
EMMITT RICHARDSON                                  6551 RACQUET CLUB DR 118                                                                     LAUDERHILL      FL    33319‐5095
EMMITT SIMON                                       706 EDGEWOOD ST SW                                                                           DECATUR         AL    35601‐5648
EMMITT W FRY                                       61154 ABERDEEN DR                                                                            JOSHA TREE      CA    92252‐1204
EMMITTE J PRINCE                                   22 TIMBERLAND DR                                                                             FORISTELL       MO    63348‐1447
EMMOR L SMITH                                      10422 CEDAR DR                                                                               FISHERS         IN    46038‐8891
EMMOTT SHARP                                       1085 TASMAN AVE #596                                                                         SUNNYVALE       CA    94089‐5695
EMMY B GOETSCH & FREDRICK W GOETSCH TEN COM        PO BOX 142                                                                                   INTERLACHEN     FL    32148‐0142

EMMY L DEAN                                      123 S HOME RD                                                                                  MANSFIELD       OH    44906‐2333
EMMY LOU FISHER DE HAVEN                         6470 THORNHILL DR                                                                              OAKLAND         CA    94611‐1225
EMO SIMONI                                       G‐9300 W CARPENTER RD                                                                          FLUSHING        MI    48433
EMOGENE H MCGHEE                                 502 FAIRWAY DRIVE                                                                              LA PLACE        LA    70068‐2004
EMOGENE M HOPPER                                 4027 OLD HIGHWAY 63                                                                            SPEEDWELL       TN    37870‐7238
EMOGENE POSEY                                    3496 TODDS RUN TWIN BRIDGE                                                                     WILLIAMSBURG    OH    45176‐9722
EMOGENE POSICK                                   114 BRANCH AVE                                                                                 BELLE VERNON    PA    15012‐2308
EMOGENE T BENSON                                 9621 SAGE MEADOW CT                                                                            DAYTON          OH    45458‐5516
EMOGENE WEISMAN                                  864 KNIGHTSBRIDGE DR                                                                           AKRON           OH    44313‐4798
EMORY A MALLETTE                                 10730 15 MILE RD                                                                               CEDAR SPRINGS   MI    49319‐8745
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EMORY A MONTGOMERY                                  3318 RIDGEMILL CIR                                                                           DACULA          GA    30019‐3226
EMORY A ROCKAFELLOW                                 1438 MANISTEE DR                                                                             GRAND BLANC     MI    48439‐2505
EMORY A STANTS                                      RD #1 BOX 299                                                                                SCOTTDALE       PA    15683‐9528
EMORY C SPENCER                                     187 WATKINS                                                                                  JACKSON         GA    30233‐2615
EMORY CHAPEL METHODIST CHURCH                       ATTN HOWARD I OHL                   121 HOWES RUN RD                                         SARVER          PA    16055‐9620
EMORY D HAMMONDS                                    1120 CABOT DR                                                                                FLINT           MI    48532‐2634
EMORY E GRIFFITH                                    4754 RIDGETOP RD                                                                             HAMPSHIRE       TN    38461
EMORY E HUTSON                                      902 WILLOW OAK ST                                                                            DIBOLL          TX    75941‐9773
EMORY E MC GINNIS                                   1009 SW 103RD TERRACE                                                                        OKLAHOMA CITY   OK    73139‐2976
EMORY EGLER & JOSEPHINE EGLER JT TEN                916 BURSUM PL                                                                                SOCORRO         NM    87801‐4711
EMORY G REED                                        4131 ELLISON FARM RD                                                                         BRASELTON       GA    30517‐1513
EMORY G WENZEL                                      G1387 HEATHERCREST                                                                           FLINT           MI    48504
EMORY H KIDWILER                                    2559 ENGLE MOLERS RD                                                                         HARPERS FERRY   WV    25425‐5426
EMORY HAGERMAN                                      404 N CLINTON ST                                                                             DEFIANCE        OH    43512‐1605
EMORY M HOVANEC                                     5307 GLENMOORE WAY                                                                           MEDINA          OH    44256‐6844
EMORY M JOHNSON                                     1068 SPARTA DR                                                                               CROSSVILLE      TN    38555‐5138
EMORY NESTOR                                        912 NORTH SCHEURMANN RD APT B‐21                                                             ESSEXVILLE      MI    48732
EMORY O LUNDY                                       6554 LUNDY DRIVE                                                                             KEWADIN         MI    49648‐8925
EMORY P RUMBLE                                      8749 WHEELER RD                                                                              UBLY            MI    48475‐8790
EMORY P SMITH CUST LINDSEY ANN SMITH UGMA DE        2835 MCKINLEY AVENUE                                                                         CINCINNATI      OH    45211

EMORY S CARTER & KATHERINE CARTER TEN ENT      645 PENN AVE                                                                                      WASHINGTON      PA    15301‐1871
EMORY V FRALEY                                 4403 E GALBRAITH                                                                                  CINCINNATI      OH    45236‐2715
EMORY V MAIDEN JR & MRS MARTHA B MAIDEN JT TEN 652 ISAACS BRANCH RD                                                                              SUGAR GROVE     NC    28679‐9688

EMORY W ADAMS                                       1090 MARTINS GROVE RD                                                                        DAHLONEGA       GA    30533‐3853
EMPETOKLIS L SCLEPARIS & FRANCES SCLEPARIS JT TEN   3 ELLIOT ST                                                                                  RANDOLPH        MA    02368‐3109

EMPSEY CUNNINGHAM JR                                23440 WILDWOOD                                                                               OAK PARK        MI    48237‐2425
EMRA P KURRE                                        704 N HIGH ST                                                                                JACKSON         MO    63755
EMRED STEELE JR                                     8200 E JEFFERSON                                                                             DETROIT         MI    48214‐3974
EMRIE D METHVIN                                     16416 34TH AVE                                                                               CLEARLAKE       CA    95422‐9090
EMRY RAPAPORT CUST MICHAEL RAPAPORT UGMA CA         5044 W CACTUS RD                    # D143                                                   GLENDALE        AZ    85304‐2243

EMSY CUNNINGHAM                                14960 HUBBELL                                                                                     DETROIT         MI    48227‐2981
EMY LOU THOMPSON                               BOX 45                                                                                            BELT            MT    59412‐0045
EMY SAKAMOTO                                   13612 MC MAINS STREET                                                                             GARDEN GROVE    CA    92844‐2728
EMY TOKITSU                                    1735‐16TH AVE S                          LETHBRIDGE AB                          T1K 0Y9 CANADA
EMZY BOEHM                                     13101 FM 1660                                                                                     TAYLOR          TX    76574‐5275
ENA BIEN‐AIME                                  APT 2‐B                                  711 AMSTERDAM AVE                                        NY              NY    10025‐6910
ENA BOREA BERGTON                              11 ESTHER ANN WAY                                                                                 REISTERSTOWN    MD    21136‐5846
ENA D CRANE                                    525 BERRYMAN DR                                                                                   BUFFALO         NY    14226‐4658
ENA HANNA                                      27‐35 ERICSSON ST                                                                                 EAST ELMHURST   NY    11369‐1941
ENA KAHAN                                      1640 E 4TH ST                                                                                     BROOKLYN        NY    11230‐6905
ENA N ALLEN                                    6 SADDLE BRIDGE RD                                                                                NEWTOWN         CT    06470‐2417
ENCARNACIOT ARELLANO & SOCORRO ARELLANO JT TEN 13714 FILMORE ST                                                                                  PACOIMA         CA    91331‐2911

ENDIA PHILLANE WARREN                               PO BOX 267                                                                                   COLFAX          NC    27235‐0267
ENDORA C BACH                                       28 OAKWOOD VILLAGE #2                                                                        FLANDERS        NJ    07836‐9029
ENDOWMENT FUND OF THE NORTH TEN MILE                C/O JUDITH A IAMS                   119 IKES RD                                              AMITY           PA    15311‐1217
CEMETERY ASSOCIATION INC
ENE J CRONK                                         3302 PATIO DRIVE                                                                             ERIE            PA    16506
ENESE L PALERMO                                     63 MAXINE RD                                                                                 BRISTOL         CT    06010‐2354
ENGELBERT HAMBLOCH                                  HOLZBUTTERGENER STR 2               41462 NEUSS                            GERMANY
ENGIL R SAULS                                       1081 CLEARVIEW DR                                                                            OXFORD          MI    48371‐5976
ENGINEERED COMPONENT SALES INC                      8041 HOSBROOK RD                    STE 208                                                  CINCINNATI      OH    45236‐2909
ENGLAND WALLACE                                     489 W PRINCETON AVE                                                                          YOUNGSTOWN      OH    44511‐2416
ENID BENNETT                                        4225 SHIMERVILLE ROAD                                                                        CLARENCE        NY    14031‐1830
ENID D APSELOFF                                     4811 ADAMS ST                                                                                HOLLYWOOD       FL    33021‐7612
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ENID D TORLUCCI                                       ATTN R FREEMAN                        1843 JEFFERSON STREET                                    CONCORD         CA    94521‐1329
ENID F GREEN                                          159 S 5TH ST                                                                                   BEECH GROVE     IN    46107‐1926
ENID HAIK                                             1807 BELLEVUE AVENUE                                                                           NORFOLK         VA    23509‐1105
ENID J FRIE TR ENID J FRIE LIVING TRUST UA 12/21/00   204 5TH STREET                                                                                 BRODHEAD        WI    53520‐1146

ENID K GERLING                                        60 E 8TH ST                           APT 27J                                                  NEW YORK        NY    10003‐6527
ENID M HOLMES TR ENID M HOLMES 2006 REVOCABLE         54 OLD MOUNTAIN ROAD                                                                           MOULTONBORO     NH    03254‐3508
TRUST UA 05/03/06
ENID MAE FELDMAN                                      3427 LANDSDOWNE                                                                                MONTGOMERY      AL    36111‐2114
ENID MARLENE CLINE                                    4257 HEATH RD                                                                                  SOUTH BRANCH    MI    48761
ENID MARY HANEL                                       21 HASLEMERE AVE                      BRAMPTON ON                            L6W 2X3 CANADA
ENID S MORIN RODRIGUEZ & ANDREA MORIN JT TEN          PO BOX 67169                                                                                   CHESTNUT HILL   MA    02467

ENID S TOPE                                           1327 DEERFIELD DR                                                                              ALLENTOWN       PA    18104‐2034
ENID S WOOLSEY                                        1022 AUDUBON DRIVE                                                                             PEKIN           IL    61554‐6106
ENID SUSAN STERN                                      CO ENID FORSTER                       55 NORTH BROADWAY       UNIT 1‐19                        WHITE PLAINS    NY    10601
ENID WINIKOFF                                         19600 PLANTERS POINT DR                                                                        BOCA RATON      FL    33434‐5167
ENNIO J JACOMINE & CAROLE JACOMINE JT TEN             56 TANAGER RD                                                                                  MAHOPAC         NY    10541‐2356
ENNIO MARCHIONDA                                      7007 CLINGAN RD                       UNIT 53                                                  POLAND          OH    44514‐2483
ENNIO SIVILOTTI                                       1505 ADELAIDE ST N                    LONDON ON                              N5X 1K5 CANADA
ENNIO SIVILOTTI                                       1505 ADELAIDE ST N                    LONDON ON                              N5X 1K5 CANADA
ENNIO ZOPPOLI                                         2835 BEARS DEN CT                                                                              YOUNGSTOWN      OH    44511‐1213
ENNIS A FRUHAUF                                       PO BOX 22043                                                                                   SANTA BARBARA   CA    93121‐2043
ENNIS BENNETT                                         379 COUNTY RD 1845                                                                             ARAB            AL    35016‐2440
ENNIS E RUFUS                                         139 N JAMESON AVE                     APT 103                                                  LIMA            OH    45805‐2748
ENNIS MCGINLEY                                        2357 MIDVALE AVE                                                                               LOS ANGELES     CA    90064‐2103
ENNIS O COWSER                                        PO BOX 101                                                                                     MOUNT MORRIS    MI    48458‐0101
ENO FORRESTER                                         5811 GRABURNS FORD DR                                                                          CHARLOTTE       NC    28269‐7122
ENOCENCIO G GONZALES                                  6726 N WEBSTER RD                                                                              FLINT           MI    48505‐2459
ENOCH BARKER                                          925 MIDWAY ST                                                                                  MIDDLETOWN      OH    45042‐2524
ENOCH C GREEN                                         1249 VINEWOOD                                                                                  PONTIAC         MI    48326‐1648
ENOCH EVERSOLE                                        60 FIELDS LANE                                                                                 BUSY            KY    41723‐8849
ENOCH GORDIS                                          5 FARM HAVEN COURT                                                                             ROCKVILLE       MD    20852‐4231
ENOCH H KAISER JR                                     PO BOX 226                                                                                     BERTRAND        MO    63823‐0226
ENOCH JOHNSON                                         3106 RED BARN RD                                                                               FLINT           MI    48507‐1212
ENOCH OLIVER                                          94 STANELLE RD                                                                                 RUSSELL SPGS    KY    42642‐8938
ENOCH P CARLTON                                       2 FALCON CR                                                                                    SOUTHWICK       MA    01077‐9346
ENOCH PORTER                                          1109 N PENNSYLVANIA                                                                            LANSING         MI    48906‐5327
ENOCH W COLLINS                                       3832 ROSEFINCH CIR                                                                             INDIANAPOLIS    IN    46228‐1090
ENOLA BYRD & JEANNE Y BYRD JT TEN                     2822 HANDY DR NW                                                                               ATLANTA         GA    30318‐7237
ENOLA E MANIFOLD TR ENOLA E MAINFOLD TRUST UA         2230 WEST ROWLAND AVENUE                                                                       SANTA ANA       CA    92704‐6033
01/22/97
ENOLA L WILLEY                                        1011 N SULLIVAN                                                                                ALEXANDRIA      IN    46001‐1235
ENOS M MACY                                           27 EAST POPLAR ST BOX 121                                                                      PHILLIPSBURG    OH    45354‐0121
ENOS M MACY                                           27 E POPLAR ST                        BOX 121                                                  PHILLIPSBURG    OH    45354‐0121
ENRICA TROPIN                                         37 OAK DR                                                                                      MONROE          NY    10950‐1032
ENRICO ALIBERTE & MRS CONCETTA ALIBERTE JT TEN        3 GOODWIN AVE                                                                                  MALDEN          MA    02148‐1519

ENRICO ANTONUCCI                                      6 HIGH MEADOW RD                                                                               NORTH HAVEN     CT    06473‐2006
ENRICO CHIARILLO JR                                   87 KNOLLWOOD RD                                                                                FARMINGTON      CT    06032‐1032
ENRICO DE CICCO                                       1076 LIVINGSTON RD                                                                             ELIZAVILLE      NY    12523‐1026
ENRICO DIMARO                                         214 WEST ST                                                                                    MALDEN          MA    02148‐6526
ENRICO REMIGE                                         510 6TH ST                                                                                     IRWIN           PA    15642‐3602
ENRICO VOLPINI                                        10820 FACTORY RD                                                                               GLEN ARM        MD    21057‐9220
ENRIQUE A ROSAL                                       MANZANARES 2080 13‐D                  1429 CAPITAL FEDERAL                   ARGENTINA
ENRIQUE ANDRADE                                       1971 E HARRISON ST                                                                             CHANDLER        AZ    85225
ENRIQUE ARAIZA                                        C/O ELSIE ARAIZA                      1928 S MILLER ST                                         CHICAGO         IL    60608‐3324
ENRIQUE ARTAGAVEYTIA                                  PINEYRO                               ISABELINO BOSCH 2585    MONTEVIDEO     11600 URUGUAY
ENRIQUE AVILA                                         13731 GERSHAN PL                                                                               SANTA ANA       CA    92705‐2633
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ENRIQUE B ESPARZA                                11614 KINTBURY                                                                                          SAN ANTONIO     TX    78253‐5993
ENRIQUE DABDOUB GOMEX                            DANUBIO NO 51                         COL CUAUHTEMOC           MEXICO CITY 5 MEXICO   MEXICO
ENRIQUE DRIESSEN                                 BOGOTA #654 COL LINDAVISTA                                                            7300 MEXICO
ENRIQUE E RODRIQUEZ                              1135 CRETE STREET                                                                                       NEW ORLEANS     LA    70119‐3308
ENRIQUE ESTREMERA                                4580 W 190TH ST                                                                                         CLEVELAND       OH    44135‐1715
ENRIQUE EUGENIO RANGEL BELDEN                    VILLA PORTIO 116                      VILLAS DE SAN PATRICIO                          MEXICO
ENRIQUE FULGENCIO                                5126 TREE TOP ST                                                                                        SAN ANTONIO     TX    78250‐4748
ENRIQUE G CONSTENLA                              1904 WEST STREET                                                                                        UNION CITY      NJ    07087‐3308
ENRIQUE G MARTINEZ                               8506 ARIZONA TRAIL                                                                                      WILLOW SPGS     IL    60480‐1074
ENRIQUE G MENCHACA                               15424 TOBARRA RD                                                                                        FONTANA         CA    92337‐9016
ENRIQUE GUZMAN                                   159 DEPEISTER ST                      APT 3                                                             NORTH TERRYTOWN NY    10591‐2442

ENRIQUE J DRIESSEN YZERMAN                       BOGOTA #654 COL LINDAVISTA            MEXICO CITY MEXICO                              MEXICO
ENRIQUE J VELASQUEZ                              4424 CASPER                                                                                             DETROIT         MI    48210‐2733
ENRIQUE LARRUCEA & MRS TEODORA A LARRUCEA JT     57‐091 LALO KUILIMA PL                APT 53                                                            KAHUKU          HI    96731‐2129
TEN
ENRIQUE LUIS LABADIE CUST MARC‐LOUIS LABADIE     5140 E CALLE DOS CABEZAS                                                                                TUCSON          AZ    85718‐7009
UTMA AZ
ENRIQUE MENDOZA                                  2031 MOFFITT ST                                                                                         LANSING         MI    48911‐3520
ENRIQUE NOVO                                     200 HARVARD ROAD                                                                                        LINDEN          NJ    07036‐3805
ENRIQUE O REYES                                  413 BONNIE VIEW                                                                                         MOORPARK        CA    93021‐1203
ENRIQUE ORTIZ                                    12934 GOLETA STREET                                                                                     PACOIMA         CA    91331‐3244
ENRIQUE P ALVAREZ                                834 OAKCREST LN                       # 9B                                                              JENISON         MI    49428‐8354
ENRIQUE PENABAD & DOLORES PENABAD JT TEN         2655 COLLINS AVE APT 2106                                                                               MIAMI BEACH     FL    33140‐4725
ENRIQUE PEREZ                                    57 CHAPARRAL RD                                                                                         OAK VIEW        CA    93022‐9302
ENRIQUE PEREZ GARCIA                             APARTADO 107 BIS                      MEXICO 1 DF                                     MEXICO
ENRIQUE VICENTENO                                6137 W 64TH PL                        APT 202                                                           CHICAGO         IL    60638‐5331
ENRIQUE ZARAGOZA                                 1122 WOLF RUN                                                                                           LANSING         MI    48917‐9780
ENZO CIARDI                                      449 PELLETT RD                                                                                          WEBSTER         NY    14580‐1525
ENZO FAVA                                        GM DE MEXICO                          PO BOX 9022                                                       WARREN          MI    48090‐9022
ENZO RASTELLI & MARY JANE RASTELLI JT TEN        8440 AKRON RD                                                                                           LOCKPORT        NY    14094‐9345
ENZOR GREEN                                      93 LONG LANE                                                                                            BRISTOL         CT    06010‐2681
EOLA WILLIAMS                                    15016 WINTHROP                                                                                          DETROIT         MI    48227‐2319
EOLINE R SOCIA & JACQUELINE R METCALFE JT TEN    1555 PINE CREST DR                                                                                      CARO            MI    48723‐9316

EOLINE R SOCIA & JANET LEE HUNT JT TEN           1555 PINE CREST DR                                                                                      CARO            MI    48723‐9316
EPATIA A CORCODILOS                              303 SUMMIT ST                                                                                           HIGHTSTOWN      NJ    08520‐4301
EPHRAIM J HOBBS III                              412 SONDLEY WOODS PL                                                                                    ASHEVILLE       NC    28805‐1155
EPHRAIM S KOBAY & DIANE G KOBAY TR KOBAY TRUST   5778 CRYSTAL SHORES DR #406                                                                             BOYNTON BEACH   FL    33437‐7222
UA 01/17/96
EPHREM E AZZOPARDI                               36781 LADYWOOD                                                                                          LIVONIA         MI    48154‐1703
EPHRIAM LYLE                                     1811 RUTLAND DR                                                                                         DAYTON          OH    45406‐4620
EPIFANIO C RIOS                                  10434 KESTER AVE                                                                                        MISSION HILLS   CA    91345‐2119
EPIFANIO CRESPO                                  401 CANDLEWICK CIRCLE EAST                                                                              LEHIGH ACRES    FL    33936‐7706
EPIFANIO H FLORES                                3157 WARREN DRIVE                                                                                       WATERFORD       MI    48329‐3544
EPIFANIO TORREZ                                  10563 TAMARACK AVE                                                                                      PACOIMA         CA    91331‐3044
EPIGMENIO GONZALES                               6606 BLOSSMAN ROAD                                                                                      TOLEDO          OH    43617‐1016
EPIMEGNIO PORTALATIN                             1770 BRUCKNER BLVD 2C                                                                                   BRONX           NY    10473‐3771
EPIMENIO SOSA                                    151 W TENNYSON                                                                                          PONTIAC         MI    48340‐2673
EPIPHANY CHURCH                                  1018 CENTRE AVE                                                                                         PITTSBURGH      PA    15219‐3502
EPISCOPAL COMMUNITY SERVICES                     PO BOX 126                                                                                              BATON ROUGE     LA    70821‐0126
EQUITABLE TR FBO BARBARA TEENIER                 6220 MORELAND LN                                                                                        SAGINAW         MI    48603‐2725
EQUITABLE TR FBO SHEARON Y NEWLAND               6213 W BLACKHAWK DR                                                                                     GLENDALE        AZ    85308‐6795
EQUITABLE TR FBO W J VERNON                      2120 GLENCREST DR                                                                                       FORT WORTH      TX    76119‐4516
EQUITABLE TTEE NANCY B COLEMAN UNDER IRA PLAN    170 KELSEY AVE                                                                                          WEST HAVEN      CT    06516‐5230
DTD 08‐30‐94
ERA CONLEY                                       5805 DEERVIEW LN                                                                                        MEDINA          OH    44256‐8030
ERA ELAINE DARDEN                                3287 STONEWALL DRIVE                                                                                    KENNESAW        GA    30152‐2527
ERA G SMITH                                      1798 E HANNA AVE                                                                                        INDIANAPOLIS    IN    46227‐3657
                                             09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
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Name                                              Address1                                Address2                   Address3            Address4          City            State Zip

ERA M DOERGELOH                                   PO BOX 33495                                                                                             INDIANAPOLIS    IN    46203‐0495
ERA M SHELEPETS & JOHN SHELEPETS JT TEN           R 44 N MANNING ST                                                                                        MCADOO          PA    18237
ERA MAE BANKS                                     6 BEVERLY RD                                                                                             BUFFALO         NY    14208‐1217
ERADIO GARZA JR                                   26551 N PARKER RD                                                                                        LA FERIA        TX    78559‐6024
ERAINIA L WILLIAMS EX EST GILBERTA IRENE LUTMAN   2916 DADE SCHOOL RD                                                                                      ODESSA          MO    64076‐6361

ERALDO MATTEI & LEONA G MATTEI JT TEN             2540 W 40TH ST                          JT TEN                                                           LORAIN          OH    44053‐2318
ERASMO HERNANDEZ                                  1517 INDIANA                                                                                             LANSING         MI    48906‐4610
ERASMO S CHAPA                                    403 SYCAMORE LANE                                                                                        LAREDO          TX    78041‐3657
ERBIN P CELESTIN                                  1203 61TH AVE                                                                                            OAKLAND         CA    94621‐3915
ERCEL G KERNER                                    7129 INVERNESS DR                                                                                        FT WAYNE        IN    46804‐1479
ERCELL HAMPTON                                    5800 BROWN RD                                                                                            MADISONVILLE    KY    42431‐8930
ERCELL M BRASKETT                                 6 RICHMOND AVE                                                                                           LONDON          OH    43140‐1234
ERCIE E WILLIAMS                                  2096 N STATE ROAD 75                                                                                     THORNTOWN       IN    46071‐9234
ERCLE BENTLEY                                     11750 BRIDGEWATER DR                                                                                     PICKERINGTON    OH    43147
ERCOLE F SCOLA                                    23 CARTER RD                                                                                             WORCESTER       MA    01609‐1037
ERCOLE MARZIANI                                   332 E KLINE ST                                                                                           GIRARD          OH    44420‐2624
ERDENE K WEYMOUTH                                 19 NORTH MAIN ST                                                                                         MORRILL         ME    04952‐5000
ERENERO VALDEZ                                    252 N FLORENCE ST                                                                                        BURBANK         CA    91505‐3618
ERHARD BOHN                                       2808 CLEMENCEAU                         WINDSOR ON                                     N8T 2P8 CANADA
ERHARD D YAEGER                                   7323 N 82ND AVE                                                                                          GLENDALE        AZ    85303‐1832
ERHARD K GREULACH                                 MELIBOKUSWEG 16                         RUESSELSHEIM               GERMANYD‐           GERMANY
ERHARD PAULAT                                     GMAC AUSTRALIA LEVEL 17                 499 S KILDA RD MELBOURNE   VICTORIA            AUSTRALIA
ERHARD SCHUBERT                                   ZUM MANNTAL 12                          D‐67728 MUNCHWEILER                            GERMANY
ERHARD W VOSS                                     OPEL POWERTRAIN                         IPC 81‐09 POSTFACH         RUESSELSHEIM GERM   GERMANY
ERHARD WILHELM VOSS                               ADAM OPEL AG                            IPC A5‐02 D‐65423          RUSSELSHEIM         GERMANY
ERHARDT BALLSCHMIDT                               9638 S STATE RD 19                                                                                       AMBOY           IN    46911‐9427
ERHARDT IMHOFF & MARIA IMHOFF JT TEN              1386 E ROBINSON ST                                                                                       N TONAWANDA     NY    14120‐4867
ERIAS A HARE JR                                   11501 SANFORD ST                                                                                         DETROIT         MI    48205‐3795
ERIC A ALLISON                                    1805 LONG PRAIRIE RD                                                                                     ALLEN           TX    75002‐1544
ERIC A BARRON                                     4183 N EAST TORCH LAKE DR                                                                                CENTRAL LAKE    MI    49622‐9613
ERIC A BURTNER                                    9318 KNIGHTWOOD LN                                                                                       CHESTERFIELD    VA    23832‐9272
ERIC A DICCIANNI                                  113 BAILEY DRIVE                                                                                         NORTH WALES     PA    19454
ERIC A ELIAS                                      5411 HAWKEYE TRL                                                                                         MACHESNEY PK    IL    61115‐8322
ERIC A ENGBLOM                                    3415 BENJAMIN AVE                       APT 202                                                          ROYAL OAK       MI    48073‐2238
ERIC A ENGELHARD                                  2007 HARLEY AVE                                                                                          SARASOTA        FL    34235
ERIC A GONZALES                                   250 MYSTIC MEADOWS CT                                                                                    HOWELL          MI    48843‐6307
ERIC A GREENE                                     7941 LOLA CIR                                                                                            NAVARRE         FL    32566
ERIC A HOLBUS                                     5738 SANDY LANE                                                                                          RACINE          WI    53406‐2227
ERIC A LUNDBERG                                   17620 ROGER DR                                                                                           GERMANTOWN      MD    20874‐2214
ERIC A MILLER                                     110 BLUEBIRD RD                                                                                          FORT EDWARD     NY    12828
ERIC A NESRSTA                                    1201 TALL PINES DR                                                                                       FRIENDSWOOD     TX    77546‐4623
ERIC A NOHR & MARK J NOHR JT TEN                  N19121 PEACOCK RD                                                                                        ETTRICK         WI    54627‐9008
ERIC A PINTO                                      1712 N 75TH CT                                                                                           ELMWOOD PARK    IL    60707
ERIC A QUEEN                                      6201 W 320 S                                                                                             RUSSIAVILLE     IN    46979‐9711
ERIC A QUEEN & KARA N QUEEN JT TEN                6201 W 320 S                                                                                             RUSSIAVILLE     IN    46979‐9711
ERIC A VISGER                                     1816 FOSTER AVENUE                                                                                       JANESVILLE      WI    53545‐0878
ERIC A WEITH                                      802 BRITTANY                                                                                             BOWLING GREEN   OH    43402‐1511
ERIC A WHITE & ANGUS WHITE JT TEN                 2920 ACORN RD                                                                                            BLOOMFIELD      MI    48302‐1004
ERIC A WOOD & CATHERINE M WOOD JT TEN             16 OAKMONT COURT                                                                                         SIMPSONVILLE    SC    29681
ERIC ALAN NAGDEMAN & JUDITH MILLUS JT TEN         1137 WILLOWOOD ROAD                                                                                      KNOXVILLE       TN    37922
ERIC ALAN ROGERS                                  1154 RIVERWAY CT                                                                                         PEWAUKEE        WI    53072‐2575
ERIC ALBERT WILTFANG TR ERIC WILTFANG REVOCABLE   1157 CHERYLAWN                                                                                           PONTIAC         MI    48340‐1705
TRUST UA 10/22/03
ERIC ALLEN                                        1724 H ST                                                                                                WALL TWP        NJ    07719‐3140
ERIC ANDERSON                                     2883 WILSON AVE                                                                                          BELLMORE        NY    11710‐3446
ERIC ANDERSON GLOHR                               139 RICHARD AVE                                                                                          LANSING         MI    48917‐3433
ERIC ARTHUR ROY                                   3445 RIVERSIDE DR EAST                  APT 704                    WINDSOR ON          N8Y 1A9 CANADA
ERIC ARVID MATTSON                                5700 11TH AVE SW                                                                                         ROCHESTER       MN    55902‐1805
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Name                                            Address1                             Address2             Address3          Address4          City            State Zip

ERIC ATCHLEY DOERINGER                          736 PARK PL                          APT 4L                                                   BROOKLYN        NY    11216‐3990
ERIC B ANDERSON                                 30 WILD WIND RD                                                                               MONTGOMERY CITY MO    63361‐4614

ERIC B BECK                                     40 CAMPUS LN                                                                                  JANESVILLE      WI    53545
ERIC B GREENBERG                                103 SURREY ROAD                                                                               ELKINS PARK     PA    19027‐2931
ERIC B HOPF                                     724 W BAFFIN DR                                                                               VENICE          FL    34293‐5689
ERIC B JOHNSON                                  112 JOHNSON HOUGH RD NW                                                                       HADDOCK         GA    31033‐2009
ERIC B JORGENSEN                                989 OLD GREEN BAY RD                                                                          WINNETKA        IL    60093‐1729
ERIC B LEAR                                     513 CINNAMON PL                                                                               NASHVILLE       TN    37211‐8586
ERIC B PIPER                                    207 S WASHINGTON STREET                                                                       SNOW HILL       MD    21863‐1232
ERIC B SHEN                                     3614 LOUVRE LN                                                                                HOUSTON         TX    77082‐6690
ERIC B SLACK                                    1976 HAWTHORNE RD                                                                             GROSSE POINTE   MI    48236‐1432
                                                                                                                                              WOOD
ERIC BERMAN                                      132 SOUTH MARKET STREET                                                                      MOUNT JOY       PA    17552‐3108
ERIC BESSELS CUST DANIEL CHARLES BESSELS UGMA NY 1408 CAMPING RD                                                                              GILBERT         SC    29054‐9586

ERIC BESSELS CUST ERIC SAMUEL BESSELS UGMA NY   1408 CAMPING RD                                                                               GILBERT         SC    29054‐9586

ERIC BIRCHBAUER & DONNA BIRCHBAUER JT TEN     1221 S 95 ST                                                                                    WEST ALLIS      WI    53214‐2727
ERIC BRADV LYNN                               4117 IROQUOIS                                                                                   MADISON         WI    53711‐3743
ERIC BRUM TR UA 08/12/92 ERIC BRUM SETTLOR    24033 PIERCE                                                                                    SOUTHFIELD      MI    48075‐3101
ERIC BRYSON                                   PO BOX 27919                                                                                    OMAHA           NE    68127
ERIC BUESING                                  14 W 69TH ST                           APT 6                                                    NEW YORK        NY    10023‐5248
ERIC BURCH CUST ALEXANDER BURCH UTMA VA       80 FOXFIRE ROAD                                                                                 WIRTZ           VA    24184‐3511
ERIC BURCH CUST SARAH BURCH UTMA VA           80 FOXFIRE ROAD                                                                                 WIRTZ           VA    24184‐3511
ERIC C EBERLE                                 742 FOX RUN DR                                                                                  GENEVA          IL    60134‐2866
ERIC C GAZICA                                 2700 HAMILTON AVE                                                                               GLENSHAW        PA    15116‐1545
ERIC C GORRIE                                 1405 ELMWOOD RD                                                                                 LANSING         MI    48917‐1541
ERIC C HILL                                   123 WEST AVENIDA SANTIAGO                                                                       SAN CLEMENTE    CA    92672‐4228
ERIC C HINES                                  18061 STRATHMOOR                                                                                DETROIT         MI    48235‐2728
ERIC C LAMBART                                PO BOX 52 2817                                                                                  MIAMI           FL    33152‐2817
ERIC C LANGE                                  2542 GRAPPA PL                                                                                  PLEASANTON      CA    94566‐6476
ERIC C NOEL                                   15155 SALEM CT                                                                                  REDFORD         MI    48239‐3441
ERIC C OLSEN                                  1160 LEWISON DR                                                                                 TOMS RIVER      NJ    08753‐3021
ERIC C POWELL                                 3831 WESTWICK WAY NW                                                                            KENNESAW        GA    30152‐3196
ERIC C SENARD                                 425 S WHITMORE RD                                                                               HASTINGS        MI    49058‐9794
ERIC C SKAAR                                  216 PEA RIDGE RD                                                                                CENTRAL         SC    29630‐9514
ERIC C TIMMERMAN                              PO BOX 4906                                                                                     NEW YORK        NY    10163‐4906
ERIC C WHALEN                                 706 SPINNAKER ST                                                                                MIDDLETOWN      DE    19709‐8975
ERIC CAIN JR                                  707 WALNUT STREET                                                                               HOUSTON         TX    77002
ERIC CAMBROOK                                 THE LODGE LEASOWE CASTLE               LEASOWD ROAD                           GREAT BRITAIN
ERIC CHOWN                                    48 REACH RD                                                                                     HARPSWELL       ME    04079‐2246
ERIC CHRISTIAN HESS                           10 CARLTON RD                                                                                   FLANDERS        NJ    07836‐4406
ERIC COOKE WOGLOM                             430 NORTH STREET                                                                                HARRISON        NY    10528‐1118
ERIC COOKE WOGLOM & JAN WOGLOM JT TEN         430 NORTH STREET                                                                                HARRISON        NY    10528‐1118
ERIC CORDELL BUCY                             9605 ROSELAND ST                                                                                LIVONIA         MI    48150‐2737
ERIC COWAN CUST LAUREN DANIELLE COWAN UTMA PA 369 BASSWOOD CIR                                                                                FSTRVL TRVOSE   PA    19053‐7223

ERIC CYPRUS                                     16 TOWNSEND LN                                                                                BREWSTER        NY    10509
ERIC D BAROFSKY                                 15090 PEPPER CREEK RD                                                                         HARVEST         AL    35749
ERIC D BROOKS                                   313 BELL AVE                                                                                  NEW CASTLE      PA    16101‐2027
ERIC D CABIE & MICHAEL CABIE JT TEN             124 SUMMER LANE                                                                               NORTH HAVEN     CT    06473
ERIC D EDELMAN                                  97 BEAVER RUN RD                                                                              LAFAYETTE       NJ    07848‐3112
ERIC D HUTCHISON                                3313 LORAL DRIVE                                                                              ANDERSON        IN    46015
ERIC D MARTIN                                   6433 ROCK FOREST DR                  APT 312                                                  BETHESDA        MD    20817‐7884
ERIC D PRIEVER                                  11118 CLIFTON BLVD                                                                            CLEVELAND       OH    44102‐1462
ERIC D RICE & MRS PAULINE B RICE JT TEN         1601 E US HIGHWAY 98                                                                          CALEXICO        CA    92231‐9502
ERIC D ROSENBERG                                227 CHANTICLEER                                                                               CHERRY HILL     NJ    08003
ERIC D SCOTT                                    213‐55 COLLINSGROVE ROAD             WESTHILL ON                            M1E 4Z2 CANADA
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Name                                                Address1                                Address2                  Address3     Address4          City               State Zip

ERIC D SMITH                                        948 CREEK DR                                                                                     ANNAPOLIS          MD    21403‐2310
ERIC D STENSON                                      25745 LINCOLN ST                                                                                 NOVI               MI    48375‐2037
ERIC D TAFT                                         8220 CLEBURNE CT                                                                                 FT SMITH           AR    72903‐4362
ERIC D WARD                                         9455 PECK RD                                                                                     GREENVILLE         MI    48838‐9534
ERIC DAVID LOMBARDI                                 2001 MCALLISTER ST                      APT 115                                                  SAN FRANCISCO      CA    94118‐4442
ERIC DAVID NORTH                                    2701 WOODMERE DR                                                                                 PANAMA CITY        FL    32405‐4377
ERIC DEBORD CUST WILLIAM SAIL DEBORD UTMA IL        4N799 HONEY HILL CIR                                                                             WAYNE              IL    60184‐2235

ERIC DELL WESTERGREN EX UW MELINDA JANE             169 PORTSMOUTH ST APT 146                                                                        CONCORD            NH    03301‐5842
WESTERGREN
ERIC DEUBLE CUST KARL DEUBLE UTMA NY                3929 PAWNEE DR                                                                                   LIVERPOOL          NY    13090
ERIC DONALD FREUDIGMAN                              1519 GROTON RD                                                                                   BLOOMFIELD HILLS   MI    48302‐1846

ERIC DONALD GOESCH                                  1348 MARIGOLD ST NE                                                                              KEIZER             OR    97303‐3553
ERIC E ABRAHAMSON                                   63 WOODFIELD RD                                                                                  BRISTOL            CT    06010‐2655
ERIC E COOPER                                       C/O ROBERT R COOPER                     1216 E ATLANTIC BLVD #6                                  POMPANO BEACH      FL    33060
ERIC E DANKEWICZ                                    884 WILLYS DRIVE                                                                                 ARNOLD             MD    21012‐1439
ERIC E DARLING                                      23 NEWMAN                                                                                        WILLIAMSTON        MI    48895‐9454
ERIC E DOLATA                                       295 LIBERTY GROVE ROAD                                                                           PORT DEPOSIT       MD    21904‐1003
ERIC E HABERSTROH & MRS VIRGINIA HABERSTROH JT      21 ELKTON COURT                                                                                  TOMS RIVER         NJ    08757‐6010
TEN
ERIC E HARTMAN                                      112 JOHN ALLEN DR                                                                                SEWANEE            TN    37375
ERIC E LUNDBERG                                     PROMISE LAND RD                                                                                  OLEAN              NY    14760
ERIC E MERLO                                        1050 BRISTOL AVE                                                                                 STOCKTON           CA    95204‐3006
ERIC E NIELSEN & CHRISTINE R NIELSEN JT TEN         1876 LEDBURY DR                                                                                  BLOOMFIELD HILLS   MI    48304‐1253

ERIC E ULMER & ELLEN M ULMER TR ELLEN M ULMER       1083 N COLLIER BLVD #306                                                                         MARCO ISLAND       FL    34145‐2539
LIVING TRUST UA 12/31/93
ERIC EDWARD MOILANEN & HEIDI SUE MOILANEN JT        8357 VAN AKIN BOX 254                                                                            IDA                MI    48140‐0254
TEN
ERIC ELTON                                          1419 SHALLCROSS AVE                                                                              ORLANDO            FL    32828‐6841
ERIC F CHEUNG                                       3313 S MAY ST                                                                                    CHICAGO            IL    60608‐6413
ERIC F COLBY                                        1586 COUNTRY RD 1095                                                                             ASHLAND            OH    44805‐9592
ERIC F CONN & BONNIE P PERKINS JT TEN               7440 JACKSON PARK DR                                                                             BLOOMFIELD         MI    48301
ERIC F EBERT                                        715 SHAMAN ST                                                                                    HAYSVILLE          KS    67060‐2600
ERIC F FUEGEL SR                                    706 VASSAR RD                                                                                    POUGHKEEPSIE       NY    12603‐6023
ERIC F HOFFMANN TR UA 04/27/94 ERIC F HOFFMANN      166‐12 69TH AVE                                                                                  FRESH MEADOWS      NY    11365‐3246
FAMILY TRUST
ERIC F J LUTZ                                       PO BOX 1004                                                                                      CHARLESTOWN        NH    03603‐1004
ERIC F KNISLEY & DONNA J KNISLEY JT TEN             2850 WINDMILL RANCH RD                                                                           WESTON             FL    33331‐3039
ERIC F ROLOFF                                       400 S RICE ST                           UNIT 2                                                   WHITEWATER         WI    53190‐2168
ERIC F SMITH                                        7 BARNWOOD CT                                                                                    FLORENCE           KY    41042‐9110
ERIC F VITELLI                                      94 E VIOLETTE DR                                                                                 NEW CASTLE         DE    19720‐7610
ERIC F WEBBER                                       6525 W 83RD PL                                                                                   BURBANK            IL    60459‐2430
ERIC FRIED                                          6502 HEATHER BROOK CT                                                                            MC LEAN            VA    22101‐1607
ERIC G BENGEYFIELD                                  1607 COLDWELL CORNERS RD                                                                         TOWNSEND           DE    19734‐9259
ERIC G BERRY                                        11 PACIFIC BLVD                         BEAUMARIS                 MELBOURNE    3193 AUSTRALIA
ERIC G BLACKMORE                                    863 YELL ROAD                                                                                    LEWISBURG          TN    37091‐4134
ERIC G GULLICKSON                                   1238 WEFEL STREET                                                                                FORT WAYNE         IN    46808‐3451
ERIC G KAZANIS CUST LUCAS E KAZANIS UTMA LA         4820 LAKE LOUISE AVE                                                                             METAIRIE           LA    70006‐1243
ERIC G KAZANIS CUST STEPHANIE E KAZANIS A UTMA LA   4820 LAKE LOUISE AVE                                                                             METAIRIE           LA    70006‐1243

ERIC G LIEBERT                                      51 VILLAGE HILL RD 206                                                                           NORTHAMPTON        MA    01060‐3620
ERIC G MYERS                                        1328 LE ANNE MARIE CIR                                                                           COLUMBUS           OH    43235‐7594
ERIC G ROHN                                         27538 PASEO VERANO                                                                               SAN JUAN CAPO      CA    92675‐5314
ERIC GEORGE MARCUS                                  3476 RIVA CT                                                                                     BEAVERCREEK        OH    45430‐1700
ERIC GIDSEG                                         68 DUBOIS ROAD                                                                                   NEW PALTZ          NY    12561‐3820
ERIC GIVEN CUST MARC A GIVEN UGMA MD                7124 BURKITTSVILLE RD                                                                            MIDDLETOWN         MD    21769‐6918
ERIC GOEBEL U/GDNSHP OF VIOLET L GOEBEL             639 24TH AVE                                                                                     SAN FRANCISCO      CA    94121‐2910
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ERIC GOLDLUST                                    7 LYNFORD COURT                                                                                 CHERRY HILL      NJ    08003‐1993
ERIC GORDON DRIVER                               556 STAGE RD                                                                                    CUMMINGTON       MA    01026‐9648
ERIC GOTTESMAN                                   APT 3C                                 97‐37 63RD                                               REGO PARK        NY    11374‐1628
ERIC GRANTZ                                      2521 SCOTT ST                                                                                   SAN FRANCISCO    CA    94115‐1137
ERIC GROSKIND                                    6162 E CALLE ALTA VIS                                                                           TUCSON           AZ    85715‐3101
ERIC H BURGHARDT & SHIRLEY A BURGHARDT JT TEN    5244 N VASSAR RD                                                                                FLINT            MI    48506‐1755

ERIC H CLARKE & E ESTHER CLARKE TR UA 03/01/91   1921 EL REY ROAD                                                                                SAN PEDRO        CA    90732‐3321
CLARKE FAMILY TRUST
ERIC H CLAUSON                                   2300 PLYMOUTH LANE                                                                              CUYAHOGA FALLS   OH    44221‐3643
ERIC H ENG & JIM W ENG JT TEN                    87 SYCAMORE AVE                                                                                 LIVINGSTON       NJ    07039‐4722
ERIC H GASSENFEIT                                1266 YORKSHIRE RD                                                                               GROSSE POINTE    MI    48230‐1106
ERIC H KAYNE                                     52 ACKLEY AVENUE                                                                                MALVERNE         NY    11565‐1902
ERIC H MCKAY & RITA MCKAY JT TEN                 3 DAWN WAY                                                                                      TOMS RIVER       NJ    08757‐6536
ERIC H MOELLER                                   30841 IRIS CT                                                                                   NORTH OLMSTED    OH    44070‐6321
ERIC H NELSON & MRS CAROL ADATTO NELSON JT TEN   1736 MARSHAL                                                                                    HOUSTON          TX    77098

ERIC H SCHAEFER                                  883 HOAGERBURGH RD                                                                              WALLKILL         NY    12589‐3414
ERIC H STANFORD                                  20500 BLOOM                                                                                     DETROIT          MI    48234‐2411
ERIC H ULIN & SUSAN B ULIN JT TEN                541 E LIBERTY                                                                                   MILFORD          MI    48381‐2054
ERIC HANCOCK                                     337 FORREST AVE                                                                                 NORFOLK          VA    23505
ERIC HECKELMAN                                   4465 WILLOWGLEN                                                                                 ROCKLAND         CA    95677‐2355
ERIC HILL                                        PO BOX 22182                                                                                    BALTIMORE        MD    21203‐4182
ERIC HOBBS                                       3051 N MARIETTA AVE                                                                             MILWAUKEE        WI    53211‐3424
ERIC HOLLANDSWORTH                               32218 CAMBORNE LN                                                                               LIVONIA          MI    48154‐3176
ERIC HUTTON                                      6612 FLEETWOOD DR                                                                               NASHVILLE        TN    37209‐4215
ERIC J BEACH                                     110 SUNCREST DRIVE                                                                              GREENWOOD        IN    46143‐1019
ERIC J BERGSTROM                                 100 JEFFERSON ST                                                                                BRAINTREE        MA    02184‐7408
ERIC J BROWN                                     3965 ISLA CUIDAD CT                                                                             NAPLES           FL    34109‐0332
ERIC J BUNTY                                     4250 SMITHVILLE RD                                                                              EATON RAPIDS     MI    48827‐9732
ERIC J COLLINS & ANN D COLLINS JT TEN            1640 WEST RIDGE ST                                                                              WYTHEVILLE       VA    24382‐1527
ERIC J COOPER                                    5249 PHEASANT RUN DR                   APT 1                                                    SAGINAW          MI    48638‐6352
ERIC J CUNNINGHAM                                1758 MUSTANG TRL                                                                                FRISCO           TX    75034‐1469
ERIC J DANIELS                                   11360 AUBURN                                                                                    DETROIT          MI    48228‐1303
ERIC J EICHNER                                   2513 E RIVERSIDE DR                                                                             EVANSVILLE       IN    47714‐4415
ERIC J FICKBOHM                                  5667 NORTH RD                                                                                   OWASCO           NY    13021‐9100
ERIC J FISHER                                    10211 EATON STREET                                                                              WESTMINSTER      CO    80020
ERIC J FITZGERALD                                4087 HIDDEN VIEW CIR                                                                            FORT WORTH       TX    76109‐4626
ERIC J GLOGOWSKI                                 40 HERITAGE DR                                                                                  LANCASTER        NY    14086‐1022
ERIC J HAGEN                                     1282 E ATWATER ST                                                                               ULBY             MI    48475‐9771
ERIC J HAWTHORNE TOD ANGELA T HAWTHORNE          11513 SHORT AVE                                                                                 LARGO            FL    33774‐3846
SUBJECT TO STA TOD RULES
ERIC J HELGEMO                                   4433 FREDRO                                                                                     DETROIT          MI    48212‐2836
ERIC J JOHANNISSON                               58 JOHNSON RD APT 3                                                                             ROCHESTER        NY    14616‐5146
ERIC J LUNDGREN                                  630 24TH AVE                                                                                    LEWISTON         ID    83501‐3878
ERIC J MAPLE                                     2‐172 BOTANY ST KINGSFORD              NEW SOUTH WALES                        2032 AUSTRALIA
ERIC J MCDOWELL & CHRISTY D MCDOWELL JT TEN      272 ELMDALE CT                                                                                  FLORISSANT       MO    63031‐6936

ERIC J OPPERMAN                               109 N MAIN ST                             SUITE 1406                                               DAYTON           OH    45402
ERIC J PELTONEN                               8132 CASTLEWARD DRIVE                                                                              DAVISON          MI    48423‐9555
ERIC J PETERSON                               154 ELEU PL                                                                                        KIHEI            HI    96753‐8210
ERIC J PIERCE                                 4105 BEACH RD                                                                                      TROY             MI    48098‐4273
ERIC J ROUSSEAU                               1933 SPENCER RD                                                                                    STERLING         MI    48659‐9719
ERIC J SCHICK                                 1358 GLADYS AVE                                                                                    LAKEWOOD         OH    44107‐2512
ERIC J SUTTMAN                                3948 SOLDIERS HOME‐MIAMISBURG             RD                                                       MIAMISBURG       OH    45342‐1042
ERIC J WURMLINGER                             212 PARKWOOD PL                                                                                    POST FALLS       ID    83854‐7009
ERIC J WURMLINGER CUST DANE J WURMLINGER UTMA 212 PARKWOOD PL                                                                                    POST FALLS       ID    83854‐7009
ID
                                               09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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ERIC J WURMLINGER CUST JILLIAN R WURMLINGER       212 PARKWOOD PLACE                                                                              POST FALLS         ID    83854‐7009
UTMA ID
ERIC JACOBS                                       RTE 17 BOX 408A                                                                                 FORTWORTH          TX    76126‐9817
ERIC JACOBY                                       5858 DOVETAIL DRIVE                                                                             AGOURA HILLS       CA    91301‐1404
ERIC JACOBY CUST IAN D JACOBY UTMA CA             5858 DOVETAIL DRIVE                                                                             AGOURA HILLS       CA    91301‐1404
ERIC JAMES VAN VEELEN CUST ALLYSON LYNN VAN       17120 SE 71ST HERMITAGE AVE                                                                     THE VILLAGES       FL    32162‐5365
VEELEN UGMA MI
ERIC JAY SOWDERS                                  3845 SCHROEDER DR                                                                               HAMILTON           OH    45011‐9022
ERIC JENSEN & SHIRLEY P JENSEN JT TEN             412 S LEWIS                                                                                     LOMBARD            IL    60148‐2937
ERIC JOHN TANNER & JANA MARIE TANNER JT TEN       2780 TWP RD 179                                                                                 BELLEFONTAINE      OH    43311‐9465
ERIC JOHNSON                                      1286 LAKE VIEW AVENUE                                                                           WINONA             MN    55987‐5340
ERIC JOSEPH DANKEWICZ                             884 WILLYS DR                                                                                   ARNOLD             MD    21012‐1439
ERIC JOSEPH SEDAR                                 2611 PIKE CREEK ROAD                                                                            WILMINGTON         DE    19808‐3609
ERIC JOSEPH WOLFFBRANDT                           3907 RESEDA RD                                                                                  WATERFORD          MI    48329‐2558
ERIC K CASSADY CUST ANDREW G CASSADY UGMA MI      3355 BARLYN LANE                                                                                BLOOMFIELD HILLS   MI    48302‐1401

ERIC K CASSADY CUST BRETT E CASSADY UGMA MI       3355 BARLYN LN                                                                                  BLOOMFIELD HILLS   MI    48302‐1401

ERIC K HOLLISTER                                  36568 UNION ST                                                                                  NEW BOSTON         MI    48164‐9218
ERIC K LARSH                                      1921 N SHILOH ROAD                                                                              INDIANAPOLIS       IN    46234‐9034
ERIC K MINER                                      82 BARBOURTOWN RD                                                                               CANTON             CT    06019‐3703
ERIC K MIYAMOTO                                   1789 HAMLET ST                                                                                  SAN MATEO          CA    94403‐1141
ERIC K OLSEN & DIANE E DEUSSEN‐OLSEN JT TEN       2159 SPINNAKER LN                                                                               WEST BLOOMFIELD    MI    48324‐1888

ERIC K STAHL CUST KIYA EVERETT STAHL UGMA PA      9861 LITTLE CLUB WAY N                                                                          TEQUESTA           FL    33469‐1358
ERIC K VOLD                                       1324 SHADE TREE LN                                                                              JANESVILLE         WI    53545‐7828
ERIC KENNETH ALBURY                               2712 SW 135TH AVE                                                                               MIRAMAR            FL    33027‐3884
ERIC KERSTETTER                                   860 WAYLAND CT                                                                                  SMYRNA             GA    30080
ERIC KING                                         6700 METROPOLITAN CENTER DR            APT 814                                                  SPRINGFIELD        VA    22150‐4588
ERIC KOZIAL                                       830 REBA PL                            APT 3S                                                   EVANSTON           IL    60202‐2694
ERIC KURTZMAN & DEBBI KURTZMAN JT TEN             3 WHITE PINE RD                                                                                 SLOATSBURG         NY    10974‐2650
ERIC L ABRAHAM                                    2152 HOLLYDALE AVE                                                                              BATON ROUGE        LA    70808‐2193
ERIC L ANNIS CUST EMILY L ANNIS UGMA MA           PO BOX 128                                                                                      DOVR FOXCROFT      ME    04426‐0128
ERIC L BROWN                                      22100 CHATSFORD CIRCUIT ST                                                                      SOUTHFIELD         MI    48034‐6237
ERIC L CARLSON                                    501 RIDGE RD                                                                                    JOHNSTON           SC    29832
ERIC L CHAU JR                                    32664 INKSTER ROAD                                                                              FRANKLIN           MI    48025‐1024
ERIC L GREENE II                                  2941 FREEBORN ST                                                                                DUARTE             CA    91010‐1404
ERIC L GRIMES                                     1509 COUNTY ROAD 231                                                                            MOULTON            AL    35650
ERIC L JACOBIAK CUST CHRISTOPHER FIELDS UTMA OH   5086 ADELLA                                                                                     TOLEDO             OH    43613‐2702

ERIC L JACOBIAK CUST DUSTIN FIELDS UTMA OH        5086 ADELLA                                                                                     TOLDEO             OH    43613‐2702
ERIC L JACOBIAK CUST ELYSSA R FIELDS UTMA OH      5086 ADELLA STREET                                                                              TOLEDO             OH    43613‐2702
ERIC L JONES                                      123 WAKEFIELD DR                                                                                MACON              GA    31210‐1655
ERIC L JORGENSEN JR                               29638 JANETS WAY                                                                                EASTON             MD    21601‐4786
ERIC L MAYBERRY                                   9480 SASHABAW RD                                                                                CLARKSTON          MI    48348‐2026
ERIC L MILLER                                     3182 FAIRVIEW AVENUE SE                                                                         WARREN             OH    44484‐3217
ERIC L NELSON                                     4816 GREAT DIVIDE DR                                                                            FORT WORTH         TX    76137‐5128
ERIC L PRICE                                      901 BAY ST                                                                                      PONTIAC            MI    48342‐1905
ERIC L ROGERS                                     13900 COOPER ORBIT COVE                                                                         LITTLE ROCK        AR    72210‐1806
ERIC L SODERBERG                                  980 W CANAL DR                                                                                  CHEBOYGAN          MI    49721‐9297
ERIC L SUTHERLIN                                  1690 ST RD 47 N                                                                                 CRAWFORDSVL        IN    47933‐8404
ERIC L WHEATER                                    6839 MCALPINE ST                                                                                LYONS FALLS        NY    13368
ERIC L WOODRUFF                                   3360 GROUSE WAY                                                                                 SAINT JOHNS        MI    48879‐8241
ERIC L WOOLLEY                                    8377 FLEMMING PKY                                                                               GOODRICH           MI    48438‐9435
ERIC L YOUNG                                      4 OATKA PLACE                                                                                   SCOTTSVILLE        NY    14546‐1320
ERIC LANNING                                      1650 RIVER OAKS DR SE                                                                           ADA                MI    49301‐9353
ERIC LARSON                                       12 AQUEDUCT RD                                                                                  GARRISON           NY    10524‐1165
ERIC LEWIS SHIRLEY                                228 E SHANNON AVE                                                                               DAYTON             OH    45449‐1234
ERIC LINDER                                       PO BOX 638                                                                                      SCOBEY             MT    59263
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ERIC LITT                                          5304 ASHMONTE CT                                                                                      ROCHESTER         MI    48306‐4797
ERIC LORENZ PETSCH & MELISSA J PETSCH JT TEN       PO BOX 92775                                                                                          SOUTHLAKE         TX    76092‐0775
ERIC M BUCK                                        866 WESTERN                                                                                           NEW LENOX         IL    60451‐3397
ERIC M CASKEY                                      11569 ST RT 73N                                                                                       NEW VIENNA        OH    45159‐9791
ERIC M E BROMBAUGH & JILL L KUESTER JT TEN         1534 W JACINTO                                                                                        MESA              AZ    85202‐5850
ERIC M EVANS                                       516 BUFFALO RUN DR                                                                                    INDIANAPOLIS      IN    46227‐2864
ERIC M FORMILLER                                   PO BOX 1002                                                                                           WARREN            MI    48090‐1002
ERIC M FRECKMAN                                    1358 SCARBORO RD                                                                                      SCHAUMBURG        IL    60193‐3136
ERIC M GAMBERG                                     2111 DEVONSHIRE ROAD                                                                                  ANN ARBOR         MI    48104‐4059
ERIC M GANSHAW                                     4335 N RIDGE ROAD                                                                                     LOCKPORT          NY    14094‐9774
ERIC M GRAHAM                                      PO BOX 845                                                                                            MILWAUKEE         WI    53201
ERIC M LESSER                                      331 TRIGGS AVE                                                                                        ELGIN             IL    60123‐3251
ERIC M PROUD                                       248 N EVERGREEN AVE                                                                                   ELMHURST          IL    60126‐2650
ERIC M RIZZO & GLORIA H RIZZO JT TEN               57 CAYUGA RD                                                                                          FORT LAUDERDALE   FL    33303

ERIC M SASAKI                                  502 SUNBERRY CT                                                                                           BRENTWOOD         TN    37027‐2907
ERIC M SWANSON TR UA 10/20/2009 ERIC M SWANSON 1456 PARK AVE                                                                                             FORT DODGE        IA    50501
TRUST
ERIC M WILSON                                  136 WEDGEPORT CIR                                                                                         ROMEOVILLE        IL    60446‐3746
ERIC MARK VAN BUHLER                           235 SUNSET RD                                                                                             ANN ARBOR         MI    48103‐2911
ERIC MASI CUST DANIEL A MASI UTMA MA           68 LOWELL DR                                                                                              STOW              MA    01775‐1074
ERIC MASI CUST DAVID L MASI UTMA MA            68 LOWELL DR                                                                                              STOW              MA    01775‐1074
ERIC MASI CUST TYLER F MASI UTMA MA            68 LOWELL DR                                                                                              STOW              MA    01775‐1074
ERIC MATTHEW RING                              27317 PARK VISTA ROAD                                                                                     AGOURA HILLS      CA    91301‐3638
ERIC MERLAU                                    PO BOX 651                                                                                                NEW PALESTINE     IN    46163‐0651
ERIC MINSHEW                                   7111 LOUISVILLE ST                                                                                        NEW ORLEANS       LA    70124‐3427
ERIC MONROE NELSON                             1839 EAGLE DR                                                                                             NEENAH            WI    54956‐1281
ERIC MUDD                                      35 DAVIDS CRESCENT                          ORONO ON                               L0B 1M0 CANADA
ERIC MYERS CUST JARED W MYERS UTMA AZ          12619 W SEGOVIA CT                                                                                        LITCHFIELD PARK   AZ    85340
ERIC MYERS CUST KEEGAN B MYERS UTMA AZ         12619 W SEGOVIA                                                                                           LITCHFIELD PK     AZ    85340
ERIC N BENNETT                                 1946 CHELSEA JO LN                                                                                        SEVIERVILLE       TN    37876‐7021
ERIC N THOMPSON & DEBORAH A THOMPSON JT TEN    BOX 1242                                                                                                  RUIDOSO           NM    88355‐1242

ERIC NELSON NEWBERG & CAROL ANN LEWIS‐NEWBERG CO SOUTHERN CROSS COLLEGE                    PO BOX 125           CHESTER HILL      NEW SOUTH WALES 2162
JT TEN                                                                                                                            AUSTRALIA
ERIC O EARNEST                                2101 WELCH BL                                                                                              FLINT           MI      48504‐2911
ERIC O GILLILAND                              548 HUNT CLUB DRIVE                                                                                        GINTER          PA      16651
ERIC OLSEN                                    2159 SPINNAKER LANE                                                                                        WEST BLOOMFIELD MI      48324‐1888

ERIC OMAN CUST RICHARD OMAN UTMA MO                14 BURGUNDY DR                                                                                        LAKE ST LOUIS    MO     63367
ERIC OSTBY                                         1111 CADERCREST DRIVE                                                                                 SCHAUMBURG       IL     60193‐3907
ERIC OUELLETTE                                     159 PLAIN RD                                                                                          WESTFORD         MA     01886‐1831
ERIC P DESELICH                                    14001 LOOKOUT DR                                                                                      KANSAS CITY      MO     64139‐1305
ERIC P FELDMANN                                    16 HAMPSHIRE RD                                                                                       ROCKVILLE CENTRE NY     11570‐2228

ERIC P GARTNER                                     49 NEW ST                                                                                             SOUTH RIVER       NJ    08882‐2479
ERIC P LITTMAN & JAYNE L LITTMAN JT TEN            6050 ROLLING DR                                                                                       PINECREST         FL    33156
ERIC P NEIHEISER                                   9311 HIGHWAY T                                                                                        FREDERICKTOWN     MO    63645‐9245
ERIC P ROSS TOD SLYVIA B ROSS SUBJECT TO STA TOD   31595 BEAR CREEK DR                                                                                   WARREN            MI    48093‐5521
RULES
ERIC P SAUCIER CUST ETHAN P SAUCIER UTMA LA        1251 WILSHIRE DR                                                                                      ALEXANDRIA        LA    71303
ERIC P STOCKER & LAURA A STOCKER JT TEN            432 VOELKER DR                                                                                        SAN MATEO         CA    94403‐4211
ERIC PAUL OLSON                                    1127 DRURY LN                                                                                         FLUSHING          MI    48433‐1421
ERIC PAUL WALIN                                    11221 CANTERBURY                                                                                      WARREN            MI    48093‐1778
ERIC PERRY                                         6054 HILL RD                                                                                          SWARTZ CREEK      MI    48473‐8203
ERIC PERRY JOAN PERRY & CHARLES DOUGLAS PERRY JT   6054 HILL RD                                                                                          SWARTZ CREEK      MI    48473‐8203
TEN
ERIC PRICE                                         1722 SPRING HILL CV 37                                                                                LITHONIA          GA    30058‐7018
ERIC Q SMITH                                       55 HIGHLAND AVE                                                                                       YONKERS           NY    10705‐1339
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ERIC R BATES                                     840 CHERRYSTONE                                                                             ANN ARBOR       MI    48105‐3038
ERIC R CHRISTOPHERSON & SARA H CHRISTOPHERSON JT 130 JAMES AVE                                                                               WAYNESBORO      VA    22980‐3725
TEN
ERIC R DANIELS                                   8501 LONDON‐GROVEPORT RD                                                                    GROVE CITY      OH    43123‐9765
ERIC R FARRAR                                    1563 CROFT COURT APT G                                                                      INDIANAPOLIS    IN    46260
ERIC R GOODMAN                                   3833 BLUEBERRY HOLLOW ROAD                                                                  COLUMBUS        OH    43230‐1002
ERIC R GRIES                                     4684 DENWOOD DR                                                                             LAS VEGAS       NV    89147‐5159
ERIC R HAGG                                      13104 PEMBROOK CT                                                                           BAYONETT PT     FL    33567
ERIC R HETTLINGER                                10268 E DAVIS AVE                                                                           TERRE HAUTE     IN    47805‐9724
ERIC R HORSLEY                                   3614 ARKHAM LN                                                                              MILFORD         MI    48380‐3122
ERIC R JOHNSTONE                                 2140 HIDDEN OAK DR                                                                          DANVILLE        CA    94506‐2024
ERIC R KESLING                                   7261 US HIGHWAY 23 S                                                                        OSSINEKE        MI    49766‐9549
ERIC R LACEY                                     5386 MILLERTOWN RD                                                                          URBANA          OH    43078‐9658
ERIC R MATHIS & WILLIAM R MATHIS & VIRGINIA A    3348 S 107TH AVE                                                                            OMAHA           NE    68124‐2456
MATHIS JT TEN
ERIC R MUELLER CUST ARIANNA J MUELLER UTMA‐CT    34 WHEELER DRIVE                                                                            WEST SUFFIELD   CT    06093‐2827

ERIC R MUELLER CUST ROBERT E MUELLER UTMA‐CT   34 WHEELER DRIVE                                                                              WEST SUFFIELD   CT    06093‐2827

ERIC R SCHODDE                                 2513 SW BUCHANAN ST                                                                           TOPEKA          KS    66611‐1308
ERIC R SHEETS                                  19903 VERMONT LANE                                                                            HUNTINGTON      CA    92646‐4037
                                                                                                                                             BEACH
ERIC R SHUTLER                                8917 BRAEBURN DR                                                                               ANNANDALE       VA    22003‐3904
ERIC R SMITH                                  3865 OAKWOOD RD                                                                                ORTONVILLE      MI    48462‐9758
ERIC R WINTER                                 310 STAMFORD DR                                                                                NEWARK          DE    19711‐2761
ERIC RASMUSSEN CUST KATHRYN RASMUSSEN UTMA VA 43694 FROST CT                                                                                 ASHBURN         VA    20147‐5834

ERIC REID WILSON                               5865 WATER ST                                                                                 POLAND          OH    44514‐1784
ERIC RINTELL                                   72 PARK ROW                                                                                   LAWRENCE        NY    11559‐2524
ERIC ROBERTS                                   2151 BECKETT DR                                                                               EL DORADO HLS   CA    95762‐5201
ERIC S ALYEA CUST DEVON ALYEA UGMA TX          2506 LYNNWOOD DR                                                                              COLUMBIA        MO    65203‐2935
ERIC S ALYEA CUST SHANNON ALYEA UGMA TX        2506 LYNNWOOD DR                                                                              COLUMBIA        MO    65203‐2935
ERIC S BENDERSON                               11501 BEECHGROVE LANE                                                                         POTOMAC         MD    20854‐1804
ERIC S FREY                                    230 CHIMNEY OAK DR                                                                            JOPPA           MD    21085‐4728
ERIC S GUTZAIT                                 7016 W 83RD WAY                                                                               ARVANA          CO    80003‐1611
ERIC S HELTER                                  PO BOX 455                                                                                    TARENTUM        PA    15084‐0455
ERIC S HOYER                                   63 HAMPTON                                                                                    TROY            MO    63379‐2959
ERIC S KIDDER                                  2119 TICE DR                                                                                  CULLEOKA        TN    38451‐2739
ERIC S LAMB                                    PO BOX 986                                                                                    STANARDSVILLE   VA    22973‐0986
ERIC S MARSHALL                                21 N MAIN ST                                                                                  PORT CHESTER    NY    10573‐4246
ERIC S NELOMS                                  24860 LOIS LN                                                                                 SOUTHFIELD      MI    48075‐1043
ERIC S SCHANK                                  5404 REDFIELD DRIVE                                                                           ATLANTA         GA    30338
ERIC S VAN GILDER                              3280 CHULA VISTA DR                                                                           WILLIAMSTON     MI    48895‐9598
ERIC SANDERS                                   7682 WINFIELD DR                                                                              BRIGHTON        MI    48116‐1791
ERIC SAVICKI                                   1534 FAWNVISTA LN                                                                             CINCINNATI      OH    45246‐2038
ERIC SCHILLING                                 3720 MONTEREY PINE ST #D‐202                                                                  SANTA BARBARA   CA    93105‐3236
ERIC SCHOTT                                    BOX 959                                                                                       HONOKAA         HI    96727‐0959
ERIC SCOTT CREDLE                              604 HOLLYRIDGE DRIVE                                                                          DURHAM          NC    27712‐2762
ERIC SCOVILLE                                  33 DANE RD                                                                                    NEW BOSTON      NH    03070‐4607
ERIC SEELANDT CUST ETHAN SEELANDT UTMA NJ      2039 NEW BEDFORD RD                                                                           SPRING LAKE     NJ    07762
ERIC SEIJI NAKAMURA                            22619 DRAILLE DR                                                                              TORRANCE        CA    90505
ERIC SHAPIRO & ELIZABETH ELICK JT TEN          1524 YALE ST                                                                                  SANTA MONICA    CA    90404‐3665
ERIC SKEIDE JR                                 299 KOENIG RD                                                                                 TONAWANDA       NY    14150‐7503
ERIC SKLAREW                                   6208 POINDEXTER LANE                                                                          N BETHESDA      MD    20852‐3643
ERIC SNOEY                                     95 WESTMINSTER DR                                                                             OAKLAND         CA    94618
ERIC SOMMER & MRS HANNA SOMMER JT TEN          205 PINEHURST AVE                                                                             NY              NY    10033‐1848
ERIC STEVENS                                   2564 CHIPPEWA TRL                                                                             HASTINGS        MI    49058‐9598
ERIC STOCKWELL                                 22930 SHERIDAN                                                                                DEARBORN        MI    48128‐1895
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ERIC STONEKING CUST CHARLES STONEKING UTMA WV 522 PENNSYLVANIA AVE                                                                                       BRIDGEPORT       WV    26330‐1233

ERIC STONEKING CUST QUINTON STONEKING UTMA WV 522 PENNSYLVANIA AVE                                                                                       BRIDGEPORT       WV    26330‐1233

ERIC SYLVESTER SMITH                                BOWOOD CARLTON LN                    GUISELEY                               LS20 9NL GREAT BRITAIN
ERIC T BREITFELD                                    4480 LANCASTER DR                                                                                    CLARKSTON        MI    48348‐3654
ERIC T DOUGLAS I LOREN D WATSON JR UTMA GA          C/O IDA MILLER                       7700 E 13TH ST N     NO 79                                      WICHITA          KS    67206‐1289
ERIC T DOUGLASS I CUST ERIC T DOUGLASS II UTMA GA   C/O IDA MILLER                       7700 E 13TH ST N     NO 79                                      WICHITA          KS    67206‐1289

ERIC T EDMAN                                        17 SUPPLE ROAD                                                                                       DORCHESTER       MA    02121‐3303
ERIC T HOVANKY                                      20801 FAIRWAY VIEW DRIVE                                                                             LAYTONSVILLE     MD    20882
ERIC T LINDER                                       133 DEAN RD                                                                                          SPENCERPORT      NY    14559
ERIC T RIPPERT & MARY E RIPPERT JT TEN              PO BOX 774                                                                                           ELLENVILLE       NY    12428
ERIC T WILLIAMS                                     3709 LAYMEN AVE                                                                                      INDIANAPOLIS     IN    46218‐1849
ERIC T WOMACK                                       PO BOX 44150                                                                                         NOTTINGHAM       MD    21236‐6150
ERIC TAYLOR HAAS                                    7406 SW 169TH TERR                                                                                   MIAMI            FL    33157‐4892
ERIC THEODORE ANDERSON JR                           203 OAK ST                                                                                           LOG LANE VLG     CO    80705‐4820
ERIC V BOATWRIGHT                                   1522 PACES FERRY NORTH DR SE                                                                         SMYRNA           GA    30080‐8202
ERIC VAN LANDEGHEM                                  LOUIS VERVOORTLAAN 23                B‐2900 SCHOTEN                         BELGIUM
ERIC VARADY CUST BRADLEY MATOS UTMA PA              5523 TANNERY ROAD                                                                                    SCHNECKSVILLE    PA    18078‐2142
ERIC W ALCHIN                                       11500 RUESS RD                                                                                       PERRY            MI    48872‐8107
ERIC W ALCHIN & PHYLLIS M ALCHIN JT TEN             11500 RUESS ROAD                                                                                     PERRY            MI    48872‐8107
ERIC W ALEXANDER                                    524 GENTLE BREEZE DR                                                                                 SAINT PETERS     MO    63376‐3877
ERIC W ANDERSON & VICKI S ANDERSON JT TEN           PO BOX 1715                                                                                          OKEECHOBEE       FL    34973‐1715
ERIC W DAY JR                                       7910 WRENWOOD BLVD                   STE A                                                           BATON ROUGE      LA    70809‐1721
ERIC W FIKE                                         2233 STARGRASS AVE                                                                                   GROVE CITY       OH    43123‐9806
ERIC W G ZETTERHOLM CUST ANDREW W ZETTERHOLM        SUITE 2100                           800 SUPERIOR AVE                                                CLEVELAND        OH    44114‐2601
UGMA MI
ERIC W GARTNER                                      3755 RIVERSIDE DR                                                                                    SHADYSIDE        OH    43947‐1373
ERIC W GRUBBS                                       443 W SLIPPERY ROCK RD                                                                               CHICORA          PA    16025‐2905
ERIC W LEWIS                                        4107 ROCHDALE                                                                                        FLINT            MI    48504‐1131
ERIC W MURCHISON                                    8418 FALCONE POINTE WAY                                                                              VIENNA           VA    22182‐5322
ERIC W PORTER                                       3336 WIDGEON DR                                                                                      JANESVILLE       WI    53546
ERIC W RICE                                         2330 WADE PL                                                                                         TROY             OH    45373‐8450
ERIC W SIMMS                                        912 CHESTNUT                                                                                         DESLOGE          MO    63601‐3016
ERIC W SKUSA & MARY SKUSA JT TEN                    4408 ARBOR                                                                                           OKEMOS           MI    48864‐3062
ERIC W STEWART                                      824 JEFFREY PINE DR                                                                                  BEAR             DE    19701‐2162
ERIC W THOMPSON                                     4825 ALDRICH DRIVE N                                                                                 PRESCOTT         AZ    86305
ERIC W THORNBURG & MELISSA O THORNBURG JT TEN       21 ROCKLEDGE DR                                                                                      MADISON          CT    06443‐2919

ERIC W VOGT                                         2431 NORTH 95TH STREET                                                                               WAUWATOSA        WI    53226‐1747
ERIC W VOIGHT JR CUST ANDRAI L VOIGHT UGMA NJ       247 DAVIDSONS MILL RD                                                                                MONROE TWP       NJ    08831‐3012

ERIC WALL                                           14639 W 50TH ST                                                                                      SHAWNEE          KS    66216
ERIC WELLS KING                                     132 PINE VALLEY DR                                                                                   MEDFORD          NJ    08055‐9214
ERIC WILLIAM GUENTHER                               21021 LARCHMONT DRIVE                                                                                EL TORO          CA    92630‐5816
ERIC WILLIAM HARRIS                                 5717 TULANE AVE                                                                                      YOUNGSTOWN       OH    44515‐4227
ERIC WILLIAM MOKRENSKI                              30 E HURON ST                        APT 2309                                                        CHICAGO          IL    60611‐4702
ERIC WORTH                                          209 SLEEPY HOLLOW TRAIL                                                                              FREDERICKSBURG   VA    22405‐6133
ERIC ZANE SHAPIRA                                   511 EIGHTH ST                                                                                        MONTANA          CA    94037
ERIC‐JOHN COSWAY                                    89 WESTBROOK DR                      EDMONTON AB                            T6G 2L8 CANADA
ERICA AYERS U/GDNSHP OF KAREN ANN AYERS             6257 1/2 CARR ST                                                                                     ARVADA           CO    80004‐3449
ERICA B FROST                                       PO BOX 411                                                                                           WILLOW STREET    PA    17584‐0411
ERICA BRUNKER CUST AIDEN RYAN BRUNKER UTMA WI       4330 TYDL DR                                                                                         JANESVILLE       WI    53546‐2115

ERICA BURCHETT                                      164 CAUDILL FORK                                                                                     STAFFORDSVILLE   KY    41256‐9112
ERICA CATHERINE WEBB                                5120 RICHARDSON DR                                                                                   FAIRFAX          VA    22032‐2808
ERICA D WATKINS                                     9 KESWICK DR                                                                                         NEW ALBANY       OH    43054‐8075
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ERICA FLECK                                     859 ORIOLE LN                                                                                HUNTINGTON       PA    19006‐3432
                                                                                                                                             VALLEY
ERICA GARAY                                     69 EAST MALL DRIVE                                                                           MELVILLE         NY    11747‐2325
ERICA J KELLEHER                                10 COUNTRY LANE                                                                              SOUTH HADLEY     MA    01075‐2112
ERICA L MASON                                   222 LANGFIELD DR                                                                             BUFFALO          NY    14215‐3428
ERICA M BLAGA                                   7090 PINE KNOB RD                                                                            CLARKSTON        MI    48348‐4822
ERICA MCMILLAN                                  941 HAVENHURST DR                                                                            W HOLLYWOOD      CA    90046‐6919
ERICA MLINAZ                                    5468 CONGRESS AVE                   APT 2                                                    MADISON          WI    53718‐2225
ERICA MONDRO                                    11826 STANWOOD DR                                                                            LOS ANGELES      CA    90066‐1122
ERICA N KELLY CUST STEVEN M KELLY UTMA (IA)     411 WILDER DR SE                                                                             CEDAR RAPIDS     IA    52403‐3235
ERICA SWADLEY                                   8805 N SCENIC DRIVE                                                                          TUCSON           AZ    85743‐8786
ERICA TRAMUTA                                   221 ELLIS ROAD                                                                               HAVERTOWN        PA    19083‐1011
ERICH A KRAMMER                                 7637 WALNUT CREEK COURT                                                                      WEST CHESTER     OH    45069‐1186
ERICH C BAUER                                   4902 3 MILE RD                                                                               BAY CITY         MI    48706‐9026
ERICH C HOLMSTEN                                129 WILLIAMSBURG LN                                                                          FORT WORTH       TX    76107‐1737
ERICH C WITT                                    1126 SE 19TH ST                                                                              CAPE CORAL       FL    33990‐4573
ERICH DEPPER                                    AMSELSTRASSE 21                     65428 RUSSELSHEIM                      GERMANY
ERICH E RASSOW                                  PO BOX 927                                                                                   NEW YORK         NY    10013‐0861
ERICH ERLBACH & EDITH ERLBACH JT TEN            66 OVERLOOK TERR                                                                             NEW YORK         NY    10040‐3824
ERICH GRAMS                                     11320 E LENNON ROAD                                                                          LENNON           MI    48449‐9666
ERICH H SCHETTER                                ADAM OPEL AG                        IPC A5‐02 D‐65423    RUSSELSHEIM       GERMANY
ERICH HUETHER                                   6262 TALL CYPRESS CIR                                                                        GREENACRES       FL    33463‐8311
ERICH J FESER                                   HINTER DEN WIESEN 8                 D 55127 MAINZ                          GERMANY
ERICH J ROCK                                    10640 SHERWOOD TRAIL                                                                         NORTH ROYALTON   OH    44133‐1978

ERICH J VON KELSCH                              38 CLARK ST                                                                                  FRAMINGHAM       MA    01702‐6446
ERICH JOST & INGRID MARY JOST JT TEN            9330 NORMANDY                                                                                MORTON GROVE     IL    60053‐1451
ERICH L WILFINGER                               2262 OVERBROOK                                                                               HIGHLAND         MI    48357‐4232
ERICH M HARTZ                                   120 CREEKWOOD DR                                                                             MOORESVILLE      NC    28117‐8512
ERICH O SCHNEIDER CUST DYLAN EDWARD GARDNER     434 E GAYWOOD                                                                                HOUSTON          TX    77079‐7211
UGMA TX
ERICH O SCHNEIDER CUST SEAN SCOTT GARDNER UGMA 434 E GAYWOOD                                                                                 HOUSTON          TX    77079‐7211
TX
ERICH OTTO MEIER & ALICE KLARA MEIER JT TEN     33000 PERTH                                                                                  LIVONIA          MI    48154‐4135
ERICH R EGGERT                                  23243 DOREMUS                                                                                ST CLR SHORES    MI    48080
ERICH SCHLUTER                                  600 GOLDEN DR #325                                                                           KALAMAZOO        MI    49001‐3795
ERICH TROTZMULLER & BRIGITTE TROTZMULLER JT TEN 25075 ANCHORAGE                                                                              HARRISON TWP     MI    48045

ERICHA R BENSHOFF                               5827 RIVOLI DR                                                                               MACON            GA    31210‐1449
ERICK A HAWKINS                                 1052 W 84TH PL                                                                               LOS ANGELES      CA    90044
ERICK CLARK                                     2303 MINTGLADE LN                                                                            HOUSTON          TX    77014
ERICK D MC CURDY                                1300 PORTESUELLO AVE                                                                         SANTA BARBARA    CA    93105‐4623
ERICK D PEARSON                                 1981 ROODS LAKE ROAD                                                                         LAPEER           MI    48446‐8300
ERICK J GITSCHLAG                               23007 LINNE                                                                                  CLINTON TWP      MI    48035
ERICK LOZADA                                    3112 BARRINGTON AVE 133                                                                      LOS ANGELES      CA    90066‐1167
ERICK M WATSON                                  UNITED STATES                       2108 PLEASANT VIEW                                       LANSING          MI    48910‐0350
ERICKSON FARMS INC                              3011 JOHN PATTERSON RD                                                                       DES MOINES       IA    50317‐3138
ERIE ART CENTER                                 ERIE ART MUSEUM                     411 STATE STREET                                         ERIE             PA    16501‐1106
ERIE L DRAPER                                   2128 N ELMWOOD APT 3B                                                                        WAUKEGON         IL    60087‐4725
ERIE L SUMMERS                                  226 W PULASKI AVE                                                                            FLINT            MI    48505‐6400
ERIK ARTHUR BERG                                40 OAK DR                                                                                    DOYLESTOWN       PA    18901
ERIK BAELUM & YELVA BAELUM JT TEN               516 SHERMER RD                                                                               GLENVIEW         IL    60025‐4960
ERIK BERG                                       12752 AMETHYST ST                                                                            GARDEN GROVE     CA    92845‐2806
ERIK C NILSEN                                   44 JERSEY ST #2                                                                              ROCHESTER        NY    14609‐7222
ERIK D SOLSVIK                                  3261 OAK KNOLL DR                                                                            ROSSMOOR         CA    90720‐4357
ERIK DEROSSETT                                  2087 WETSTONE CT                                                                             THOUSAND OAKS    CA    91362‐1545
ERIK E REICHARDT                                1530 PORTERS MILL RD                                                                         MIDLOTHIAN       VA    23114‐1203
ERIK E SPALVINS                                 2781 ORION DR                                                                                DECATUR          GA    30033‐5014
ERIK J JOHANSON                                 2415 ASHTON RD                                                                               SARASOTA         FL    34231‐5152
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ERIK K WIITANEN                                   14570 SE 154TH ST                                                                                    RENTON            WA    98058‐8117
ERIK KUPCHIK                                      1487 GREENFIELD LN                                                                                   PAINESVILLE       OH    44077‐6115
ERIK LINDQVIST                                    C/O METTA LUNDQUIST                 ODENGATAN 14              S 216 14 LIMHAMN   SWEDEN
ERIK M COHEN                                      733 RUSTLING LEAF COURT                                                                              ELDERSBURG        MD    21784‐8530
ERIK M HANISCH                                    6723 21ST AVE NW                                                                                     SEATTLE           WA    98117‐5746
ERIK M PENTON                                     PO BOX 333                                                                                           MALOTT            WA    98829‐0333
ERIK M POINTER                                    10306 BEAVER RUN COVE                                                                                COLLIERVILLE      TN    38017‐8950
ERIK MALPICA CUST JONATHAN MALPICA UGMA NY        145 TAMBOER DRIVE                                                                                    NORTH HALEDON     NJ    07508‐2944

ERIK MALPICA CUST RACHEL MALPICA UGMA NY          145 TAMBOER DR                                                                                       NORTH HALEDON     NJ    07508‐2944
ERIK MICHAEL JOHNSON                              HC 01 BOX 6187‐B                                                                                     PALMER            AK    99645‐9603
ERIK MIILU                                        10901 BRIGHTON BAY BLVD NE          APT 2311                                                         ST PETERSBURG     FL    33716‐3449
ERIK MUNROE                                       PMB 263                             743 GOLDHILLS PL S                                               WOODLAND PARK     CO    80863

ERIK R MAY                                        914 MITCHELL FARM LANE                                                                               KENNETT SQUARE    PA    19348‐1320
ERIK R PRESTEGAARD                                3358 59TH AVE SW                                                                                     SEATTLE           WA    98116‐3005
ERIK REISTROM                                     97B 2ND AV 2                                                                                         RARITAN           NJ    08869‐1554
ERIK ROBERT ENGDAHL                               2619 LAVINE LANE                                                                                     WAUKESHA          WI    53189‐6831
ERIK S MILLER                                     2525 EAGLE AVE                                                                                       ALAMEDA           CA    94501‐1526
ERIK S MUNSON                                     824 GLEN GARRY DRIVE                                                                                 FLOWER MOUND      TX    75022
ERIK S STRASEL & JENNIFER L STRASEL JT TEN        6638 32ND ST N                                                                                       ARLINGTON         VA    22213‐1608
ERIK WEYDAHL                                      PO BOX 25                           1680 SKJAERHALDEN                            NORWAY
ERIKA BLOOMFIELD                                  81‐10 135TH ST                                                                                       KEW GARDENS       NY    11435‐1050
ERIKA BURNS SULLIVAN CUST ALYSSA MARIA SULLIVAN   830 MC PHERSON ST                                                                                    OXFORD            AL    36203
UTMA AL
ERIKA BURNS SULLIVAN CUST TYLER DUANE SULLIVAN    830 MC PHERSON ST                                                                                    OXFORD            AL    36203
UTMA AL
ERIKA D MAY & WINSTON MAY JT TEN                  1720 COUNTY RD 3550                                                                                  CLARKSVILLE       AR    72830‐6443
ERIKA GRAY                                        1778 MELTON                                                                                          BURMINGHAM        MI    48009‐7276
ERIKA H OSTROM                                    ATTN ERIKA H WRIGHT                 3254 VAN CAMPEN                                                  WATERFORD         MI    48329‐4171
ERIKA HOF                                         C/O NILOLAIDIS                      GEERE 16 GUNTHERSHAUSEN   8572 BERG          TG SWITZERLAND
ERIKA I KRUEGER                                   226 WIMPOLE                                                                                          ROCHESTER HILLS   MI    48309‐2148
ERIKA IRENE HOFER                                 VIA GIORDANO BRUNO NO3              06055 MARSCIANO PG                           ITALY
ERIKA L BAUMBACH                                  17 CROSSBOW DR                                                                                       PENFIELD          NY    14526‐9757
ERIKA L KOENIG                                    PO BOX 776                                                                                           BLESSING          TX    77419‐0776
ERIKA L O'BAR                                     104 FALLSGROVE BLVD                 APT 3302                                                         ROCKVILLE         MD    20850‐4764
ERIKA L SHAPIRO                                   10336 CONGRESSIONAL CT                                                                               ELLICOTT CITY     MD    21042‐2123
ERIKA M CHRISTMAN & KENNETH I CHRISTMAN JT TEN    3331 MORNING GLORY ROAD                                                                              DAYTON            OH    45449‐3030

ERIKA M POWELL                                    650 WILLOW VALLEY SQUARE K‐407                                                                       LANCASTER         PA    17602‐4872
ERIKA MILIZIANO                                   26 ADAMS DR                                                                                          WHIPPENY          NJ    07981‐2051
ERIKA R ROSERA                                    1430 TERRILL RD                                                                                      SCOTCH PLAINS     NJ    07076‐2507
ERIKA VEGTER                                      735 KAPPOCH ST                                                                                       BRONX             NY    10463‐4606
ERIKA VESTERLING TAYLOR                           131 MAPLEGROVE AVE                                                                                   TONAWANDA         NY    14150‐9148
ERIN AMSLER BRITTON                               2630 PROSPERITY OAKS CT                                                                              PALM BEACH        FL    33410‐4423
                                                                                                                                                       GARDEN
ERIN ANN BROERMAN                                 9632 INDIAN WELL DR                                                                                  LONE TREE         CO    80124
ERIN BECKLEY                                      29 LUNSFORD LN                                                                                       ROCHESTER         NY    14608
ERIN BOEDIGHEIMER                                 31540 HENNEPIN                                                                                       GARDEN CITY       MI    48135‐1478
ERIN BRADLEY                                      192 LUCAS AVE                                                                                        KINGSTON          NY    12401‐4314
ERIN BULKLEY                                      251 7TH ST                          APT 3D                                                           BROOKLYN          NY    11215‐3296
ERIN C JAMES                                      1901 ROSS RD                                                                                         MARIETTA          GA    30066‐6561
ERIN C KLINK                                      263 EL CERRITO DRIVE                                                                                 BAKERSFIELD       CA    93305‐1327
ERIN C LENNERT                                    2593 COOMER RD                                                                                       BURT              NY    14028‐9738
ERIN COONEY LILLY                                 5016 OHIO ST                                                                                         S CHARLESTON      WV    25309
ERIN D ALLEY                                      ATTN VICKI D ALLEY                  511 HIBISCUS AVE                                                 STUART            FL    34996‐2551
ERIN D GLOGOWSKI                                  1344 SULLIVAN RD                                                                                     ALDEN             NY    14004‐9442
ERIN DUNIVAN GRASS                                4045 WATERFORD DR                                                                                    SWANEE            GA    30024‐1481
ERIN E HOGUE                                      4107 FRANCIS AVE NORTH                                                                               SEATTLE           WA    98103‐7730
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Name                                           Address1                              Address2              Address3         Address4           City            State Zip

ERIN E SCILEPPI                                278 W END AVE                                                                                   SHIRLEY         NY    11967‐1609
ERIN ELAINE ROGERS                             1196 N STEPHEN                                                                                  CLAWSON         MI    48017‐1251
ERIN ELIZABETH MURPHY                          517 WYCLIFF WAY                                                                                 ALEX            LA    71303‐2943
ERIN F BOLMER                                  31 SWAMP RD                                                                                     NEWTOWN         CT    06470‐2723
ERIN FAUST                                     333 W 21ST N ST 23                                                                              WICHITA         KS    67203‐2455
ERIN FORD & HELEN D FORD JT TEN                8547 MANNINGTON RD                                                                              CANTON          MI    48187‐2029
ERIN FRITZLER                                  541 S LINWOOD BEACH RD                                                                          LINWOOD         MI    48634
ERIN H NOTTON                                  24280 STARR CREEK ROAD                                                                          CORVALLIS       OR    97333‐9541
ERIN H SCHMIDT                                 15482 PASADENA AVE                    #178                                                      TUSTIN          CA    92780
ERIN HOVANCSEK CUST ASHLEY HOVANCSEK UTMA OH   1187 LEDGEVIEW RD                                                                               MACEDONIA       OH    44056‐1315

ERIN K DUFFY                                   36211 N TARA COURT                                                                              INGLESIDE       IL    60041‐9660
ERIN KAY DECHER                                2268 TAFT ST                                                                                    SAGINAW         MI    48602‐3855
ERIN KLINGENSMITH                              614 N WILLOW ST                                                                                 PAULS VALLEY    OK    73075‐2228
ERIN L WAUGH                                   ATTN ERIN LESLIE                      2465 HOLLAND STREET                                       LAKE ORION      MI    48360‐2219
ERIN LEA REIKOFSKI                             3119 WHITE ELM DRIVE                                                                            LOVELAND        CO    80538
ERIN LYNN HOIS                                 4405 OAKWOOD AVE                                                                                DOWNERS GROVE   IL    60515‐2712
ERIN LYNN MALLOCH                              5938 JUNIPER AA LN                                                                              RAPID RIVER     MI    49878‐9267
ERIN M DOMBROSKY                               16 W HOLLAND ST                                                                                 SUMMIT HILL     PA    18250‐1406
ERIN M HOTRUM                                  56 HOLBROOKE AVE                      TORONTO ON                             M8Y 3B4 CANADA
ERIN M JOHNSON                                 RR #1                                 CASTLETON ON                           K0K 1M0 CANADA
ERIN M JOHNSTON                                R ROUTE #1                            CARTLETON ON                           K0K 1M0 CANADA
ERIN M JOHNSTON                                RR 1                                  CASTLETON ON                           K0K 1M0 CANADA
ERIN M NIGL                                    4295 BROCKWAY RD                                                                                SAGINAW         MI    48603‐4778
ERIN M NOWICKI                                 2933 CHELTENHAM RD                                                                              TOLEDO          OH    43606‐3042
ERIN M RYAN                                    609 N ROOSEVELT ST                                                                              BOISE           ID    83706‐1973
ERIN M SCHULTE                                 1302 CAREW ST                                                                                   SAN DAMIUS      CA    91773‐2302
ERIN MARIE WAGNER                              29270 SW PARKWAY CT                   APT 64                                                    WILSONVILLE     OR    97070‐7428
ERIN MC CARTHY MC CULLOUGH                     1413 JOYNER                                                                                     TUPELO          MS    38801‐1713
ERIN NOBLE                                     16 BARNSTABLE RD                                                                                NORFOLK         MA    02056‐1816
ERIN NOTTON KAHLE                              24280 STARR CREEK RD                                                                            CORVALLIS       OR    97333‐9541
ERIN O'BRIEN CHAVEZ                            28291 PINYON PINE CT                                                                            MENIFEE         CA    92585‐9040
ERIN OWEN & KYLE OWEN JT TEN                   200 ROCKINGSTONE AVE                                                                            LARCHMONT       NY    10538‐1544
ERIN P CHILDERS                                870 WEST PEAKVIEW CIRCLE                                                                        LITTLETON       CO    80120‐3324
ERIN P MARROCCO                                165 HANTON CRESCENT                   BOLTON ON                              L7E 2C8 CANADA
ERIN SHAWN PALMER                              8009 N NEWPORT AVENUE                                                                           TAMPA           FL    33604‐3942
ERIN SMITH                                     1813 EDWARD LANE                                                                                ANDERSON        IN    46012‐1918
ERIN SMITKA                                    18874 BRIGHTON DR                                                                               MACOMB          MI    48042
ERIN STOTTLEMYER CUST NOLAN RYAN STOTTLEMYER   3304 LAVIANA ST                                                                                 TUSTIN          CA    92782
UTMA CA
ERIN SULLIVAN                                  19 RHODA AVE                                                                                    HAVERSTRAW      NY    10927‐1007
ERIN T CAUSEY                                  6850 SHARLANDS AVE                    UNIT U1124                                                RENO            NV    89523‐2765
ERINSON FEBLES & INOCENCIA FEBLES JT TEN       290 WATER ST                                                                                    PERTH AMBOY     NJ    08861‐4427
ERIS JUNE NORVELL                              17916 GOLF VIEW DR                                                                              HAGERSTOWN      MD    21740‐7955
ERISTEO E GUZMAN                               5604 PEPPERTREE PKWY                                                                            AUSTIN          TX    78744‐3626
ERITH E RHODES                                 PO BOX 2228                                                                                     BLUE RIDGE      GA    30513‐0039
ERITHA YARDLEY                                 505 EDGEVALE RD                                                                                 BALTIMORE       MD    21210‐1901
ERKINBEK SHOMBINOV                             81 35 BABAYEV STREET                  ALMATY                                 50060 KAZAKHSTAN
ERLA A ABBOTT                                  14 WHITEHOUSE RD                                                                                ROCHESTER       NH    03867‐4565
ERLA E MATTSON                                 405 W WALTON BLVD                                                                               PONTIAC         MI    48340‐1046
ERLAN WENTWORTH & ROBERTA P WENTWORTH JT       BOX 14                                                                                          NEWFIELD        ME    04056‐0014
TEN
ERLAND G SMITH                                 C/O MARILYN RUSSO                     148 ELM AV            WINDSOR ON       N9A 5G8 CANADA
ERLE B ARNOLD JR & NANCY S ARNOLD TEN ENT      13402 RABBIT RUN TER                                                                            UNION BRIDGE    MD    21791‐8702
ERLE E EHLY                                    509 FOULKEWAYS                                                                                  GWYNEDD         PA    19436‐1023
ERLE R JARVIS                                  281 FAIRHAVEN CIRCLE                  LONDON ON                              N5W 1E4 CANADA
ERLE THOMAS WILLIAMS III                       1646 HOGE AVE                                                                                   ZANESVILLE      OH    43701‐2304
ERLE W BOONE                                   3097 FARMERS CREEK                                                                              METAMORA        MI    48455‐9791
ERLEAN F GILBERT & VERLE B GILBERT JT TEN      3193 BRIDLE PATH                                                                                FLINT           MI    48507‐1201
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ERLENA R SPEIGHT TR UA SPEIGHT LIVING TRUST     4719 MAJORCA WAY                                                                                 OCEAN HILLS       CA    92056‐5116
09/22/89
ERLENE M OREILLY                                231 PIONEER                                                                                      PONTIAC           MI    48341‐1850
ERLINDA MCGILL                                  5918 LIBERTY GLADE COURT                                                                         FORT WAYNE        IN    46804‐4217
ERLINDA S BARRERAS                              PO BOX 2814                                                                                      CAPO BEACH        CA    92624‐0814
ERLING H OLLILA                                 4105 DAWSON                                                                                      WARREN            MI    48092‐4318
ERLING PEDERSEN & PEGGY ANN PEDERSEN JT TEN     24 KENMORE ST                                                                                    WEST BABYLON      NY    11704‐8112

ERMA A BERBAUM & MARK W BERBAUM JT TEN          7026 W CONGRESS STREET                                                                           MILWAUKEE         WI    53218‐5415
ERMA A SCHULTZ                                  1116 HARMONY CIRCLE NE                                                                           JANESVILLE        WI    53545‐2006
ERMA C ALLEGOET & DAVID C ALLEGOET & ALFRED E   5247 PTE TREMBLE ROAD                                                                            ALGONAC           MI    48001‐4366
ALLEGOET JT TEN
ERMA C ROEMER                                   840 ROCK BEACH RD                                                                                ROCHESTER         NY    14617‐1323
ERMA C ZICKAFOOSE                               2021 MARSHALL ST                                                                                 FLINT             MI    48506‐2386
ERMA D ISENBERG                                 1736 MONTGOMERY CT B                                                                             HASLETT           MI    48840‐8661
ERMA D MITCHELL                                 20138 MENDOTA                                                                                    DETROIT           MI    48221‐1048
ERMA D SPELICH                                  3707 WARREN‐SHARON RD                                                                            VIENNA            OH    44473‐9510
ERMA D WARMACK                                  620 STONESTILE TRCE                                                                              SUWANEE           GA    30024‐1543
ERMA E LONG                                     RTE 1 BOX 262                                                                                    HAZEN             AR    72064‐9741
ERMA E PARKS                                    816 BROKEN RIDGE DR                                                                              LANSING           MI    48917‐8855
ERMA E TINCH                                    160 NO BELMAR DR S W                                                                             REYNOLDSBURG      OH    43068‐9620
ERMA F DOVE                                     2551 JEFFERSON HWY                                                                               WAYNESBORO        VA    22980‐6500
ERMA F EVANS                                    PO BOX 151                                                                                       VANDALIA          OH    45377‐0151
ERMA H BEDSAUL & DORIS J BEDSAUL JT TEN         2110 MOUNT VIEW RD                                                                               MARRIOTTSVILLE    MD    21104‐1635
ERMA I HUBER TR ERMA L HUBER LIVING TRUST UA    PO BOX 178                                                                                       LEWISTON          MI    49756‐0178
07/12/95
ERMA J ASKEW                                    217 NW 82ND ST                                                                                   OKLAHOMA CITY     OK    73114
ERMA J HANNON                                   7625 E TILLMAN RD                                                                                FORT WAYNE        IN    46816‐4343
ERMA J MASTEN                                   1323 CLIFFORD RD                        OAK HILL                                                 WILMINGTON        DE    19805‐1347
ERMA J WARE                                     PO BOX 4232                                                                                      FLINT             MI    48504‐0232
ERMA J WICKWARE                                 2941 BEGOLE ST                                                                                   FLINT             MI    48504‐3049
ERMA JEAN EADES                                 2303 NORWALK DR                                                                                  COLLEYVILLE       TX    76034‐5420
ERMA K AQUILINA                                 150 SAWKA DR                                                                                     EAST HARTFORD     CT    06118‐1323
ERMA K SIMONS                                   719 MAIDEN CHOICE LN                    APT H R 119                                              CATONSVILLE       MD    21228‐6234
ERMA L BLATTNER TR ERMA L BLATTNER TRUST UA     1012 TURTLE DOVE TRAIL                                                                           WATERLOO          IL    62298
07/30/98
ERMA L EVANS                                    100 SPRING ST                                                                                    GALETON           PA    16922‐1010
ERMA L LOY                                      12047 W 179TH ST                                                                                 MOKENA            IL    60448‐9593
ERMA L MORGAN TR UA 05/26/94 ERMA L MORGAN      1632 INDIANA                            STREET                                                   LAWRENCE          KS    66044‐4046
TRUST
ERMA L PEARSE                                   325 N RICHARDS AVE                                                                               MIDWEST CITY      OK    73130‐3420
ERMA LUKONITS                                   3824 N PAULINA                                                                                   CHICAGO           IL    60613‐2716
ERMA M BORING                                   PO BOX 423                              348 E HIGH ST2                                           OVID              MI    48866‐0423
ERMA M JOHNSON                                  217 JASMINE DRIVE                                                                                JACKSON           MS    39212
ERMA MARTIN RAUCH TR UA 8/3/93 ERMA MARTIN      1710 MALCOLM #203                                                                                LOS ANGELES       CA    90024‐5756
RAUCH REV TR
ERMA O PUNDT                                    45 NEWFIELD DR                                                                                   ROCHESTER         NY    14616‐3039
ERMA OCH                                        4301 EAST 56TH STREET                                                                            INDIANAPOLIS      IN    46220‐5707
ERMA P DAVIS COMM EST CHARLES E DAVIS           925 N BENTLEY AVE                                                                                NILES             OH    44446‐5217
ERMA POJE                                       5846 REPUBLIC RD                                                                                 OSKALOOSA         KS    66066‐4066
ERMA R WERTH                                    41 E BUFFALO ST                                                                                  CHURCHVILLE       NY    14428‐9323
ERMA R WICKS                                    37 DELAWARE AVE                                                                                  LAMBERTVILLE      NJ    08530‐1634
ERMA S FORGACS                                  4411 EVERGREEN WA                                                                                WASHOUGAL         WA    98671‐9176
ERMA S LEISTER                                  RR 2 BOX 1630                                                                                    MC ALISTERVILLE   PA    17049‐9720
ERMA SINGER                                     1057 RUSHMORE AVE                                                                                MAMARONECK        NY    10543‐4530
ERMA W JOHNSON                                  52 MAPLE AVE                                                                                     KEANSBURG         NJ    07734‐1440
ERMA WENZEL                                     5295 SW 31ST ST                                                                                  DAVIE             FL    33314‐1906
ERMA WILLIAMS                                   1117 EAST HICKORY ST                                                                             DENTON            TX    76205‐4421
ERMA WILLIS & ROBERT EARL SMITH JT TEN          PO BOX 22                               7830 FIVE PT HWY                                         EATON RAPIDS      MI    48827‐9062
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ERMA Z BOBAK & MICHAEL BOBAK JT TEN               5232 DELAWARE                                                                                  KC                MO    64133‐3162
ERMAL L DAILY                                     2 CONCORD AVENUE                                                                               ROMEOVILLE        IL    60446‐1314
ERMAL NOAH KUHNS                                  129 NORRIS DR                                                                                  ANDERSON          IN    46013‐3961
ERMAN F DOUGHERTY                                 40 RAILROAD ST                                                                                 MOULTRIE          GA    31768‐4356
ERMAN HALL JR                                     PO BOX 482                                                                                     CARMEL            IN    46082‐0482
ERMAN L COLE                                      201 PINNACLE DR SE                   APT 3412                                                  RIO RANCHO        NM    87124‐0467
ERMAN L COLE II                                   201 PINNACLE DR SE                   APT 3412                                                  RIO RANCHO        NM    87124‐0467
ERMAN L COLE II CUST CAMARON ADRIEL COLE UTMA     201 PINNACLE DR SE                   APT 3412                                                  RIO RANCHO        NM    87124‐0467
OH
ERMEL F HARRIS                                    RT 1 BOX 274                                                                                   WAVERLY           WV    26184‐9760
ERMELINDA R CECCARELLI                            1 UNAMI LN                                                                                     SCOTCH PLAINS     NJ    07076‐2933
ERMEZINDO F GONCALVES                             5 FERN ST                                                                                      MILFORD           MA    01757‐2303
ERMIL L BRATCHER & EDITH L BRATCHER TR BRATCHER   4320 W HOLLOWAY RD                                                                             ADRIAN            MI    49221‐9338
FAM TRUST UA 05/21/96
ERMINE E RODDEN                                   107 WHISPERING PINES DR                                                                        TUTTLE           OK     73089‐8396
ERMINIA L IELPI                                   14 MILLER AVE                                                                                  ROCKAWAY         NJ     07866‐2207
ERMINIO J SAPIO                                   56 SUNSET LANE                                                                                 ORCHARD PARK     NY     14127
ERMINIO PALMISANO                                 69 PEACE STREET                                                                                EDISON           NJ     08820‐2401
ERMIONE S GRYPARIS                                29160 BRIARBANK CT                                                                             SOUTHFIELD       MI     48034‐4601
ERNA A COOPER                                     6161 ASCENSION                                                                                 CLARKSTON        MI     48348‐4701
ERNA B BAVARSKAS                                  ATTN MRS ERNA CHAVEZ                 6474 LAFAYETTE                                            DEARBORN HEIGHTS MI     48127‐2123

ERNA BOWLING                                    326 OAK STREET                                                                                   FREEPORT          MI    49325‐9782
ERNA D DUDLEY                                   414 LIPAN TRL                                                                                    WEATHERFORD       TX    76087‐9630
ERNA E JOHNSTON TR UA 12/21/93 ERNA E JOHNSTON 37783 GLENMOOR DR                                                                                 FREMONT           CA    94536‐6671
TRUST
ERNA GROSS & REGINALD G GROSS JT TEN            9 JANSEN CT                                                                                      WALDEN            NY    12586‐3050
ERNA HESSEN TR HESSEN FAMILY TRUST 01/15/88     5104 OAKWOOD AVE                                                                                 LA CANADA         CA    91011‐2452
ERNA L WARDIN & DONALD WARDIN JT TEN            9396 WEBSTER RD                                                                                  FREELAND          MI    48623‐8603
ERNA M DOLAHAN & ROBERT P DOLAHAN & DANIEL F    4 SUNSET TERRACE                                                                                 WAYNE             NJ    07470‐4217
DOLAHAN JT TEN
ERNA M REARDON                                  371 SAGEWOOD DR                                                                                  PORT ORANGE       FL    32127‐6718
ERNA MARIE CARLSON                              3900 HAMMERBERG RD APT 212                                                                       FLINT             MI    48507‐6024
ERNA MC NAMARA                                  PO BOX 17234                           HUDSON CITY STATION   392 CENTRAL AVE                     JERSEY CITY       NJ    07307‐3922
ERNA MUELLER TR UA 04/13/93 THE ERNA MUELLER    20481 GARDEN CT                                                                                  ROSEVILLE         MI    48066‐2282
TRUST
ERNA NASH TR UA 07/31/87 M‐B ERNA NASH          2525 NEBRASKA STREET #209                                                                        SIOUX CITY        IA    51104‐3509
ERNA R OLSON CUST CHRISTINA OLSON UGMA CT       2 PRATT ISLAND                                                                                   DARIEN            CT    06820‐5726
ERNA ROBINETT                                   4549 KNOLLCROFT RD                                                                               TROTWOOD          OH    45426‐1936
ERNA SWEET                                      749 JUNIPER COURT                      OSHAWA ON                               L1G 3C8 CANADA
ERNAN VEGA                                      PO BOX 16                                                                                        BRONX             NY    10451‐0016
ERNEST A AMICI                                  947 HANNAH                                                                                       TROY              MI    48085‐1642
ERNEST A BORUSHKO                               427 BIDDLE                                                                                       WYANDOTTE         MI    48192‐2703
ERNEST A BORUSHKO & RUTH ELAINE BORUSHKO JT TEN 427 BIDDLE                                                                                       WYANDOTTE         MI    48192‐2703

ERNEST A BRADY JR & CAROLYN W BRADY JT TEN        STE 102                              120 N BROAD ST                                            BROOKSVILLE        FL   34601‐2922
ERNEST A BURGUIERES III                           631 ST CHARLES AVE                                                                             NEW ORLEANS        LA   70130‐3411
ERNEST A CARLO JR                                 23104 DETOUR STREET                                                                            SAINT CLAIR SHORES MI   48082‐2027

ERNEST A CURREY JR                                BOX 235                                                                                        HOLLANDALE        MS    38748‐0235
ERNEST A DESANTIS                                 1535 WOODLAND AVE NE                                                                           WARREN            OH    44483‐5301
ERNEST A FESCO & ELEANOR N FESCO JT TEN           3011 SW 46TH CT                                                                                FT LAUDERDALE     FL    33312‐5641
ERNEST A FESCO TOD ERNEST A FESCO II              3011 S W 46 CT                                                                                 FT LAUDERDALE     FL    33312‐5641
ERNEST A FITE                                     212 HARRINGTON LANE                                                                            FLORENCE          AL    35630‐6614
ERNEST A FLORES                                   2012 SPRING MEADOW CIRCLE                                                                      SPRINGHILL        TN    37174‐9273
ERNEST A GARBAUSKAS JR                            2787 MUGLONE LN                                                                                NORTH PORT        FL    34286‐4328
ERNEST A HILBERG & MARY T HILBERG TR UA HILBERG   17133 VANGOGH ST                                                                               GRANADA HILLS     CA    91344‐1218
FAMILY TRUST 04/02/92
ERNEST A KENT JR                                  122 WALLACE RD                                                                                 LOCUST GROVE      GA    30248‐5022
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ERNEST A KOHL & LINDA J KOHL JT TEN              5 BREEZEWOOD LANE                                                                            WALPOLE         MA    02081‐1601
ERNEST A KUCHARSKI JR                            47 WANDA ST                                                                                  CHEEKTOWAGA     NY    14211‐2824
ERNEST A LAKATOS & STELLA R LAKATOS JT TEN       211 COMMONWEALTH AVE                                                                         WEST MIFFLIN    PA    15122‐1927
ERNEST A MAYFIELD                                4272 LAVINIA AVE                                                                             LYNWOOD         CA    90262‐4543
ERNEST A MC CULLOCH                              480 SUMMERHILL AVE                  TORONTO ON                             M4W 2I4 CANADA
ERNEST A MC NAB                                  23 PINE CIRCLE                                                                               CHEET TOWAK     NY    14225‐3911
ERNEST A MELICHAR                                PO BOX 275                          11151 MARQUETTE RD                                       NEW BUFFALO     MI    49117‐9227
ERNEST A PHILLIPS                                224 BATTALION WAY                                                                            MOUNT JULIET    TN    37122‐6135
ERNEST A PRESTON SR & RITA J PRESTON TEN COM     132 BALTIC DR                                                                                SHREVEPORT      LA    71115‐2903

ERNEST A SCHULTZ                                 185 CHURCH                                                                                   ROMEO           MI    48065‐4608
ERNEST A SCOTT                                   2004 CROWN AVE                                                                               NORWOOD         OH    45212‐2111
ERNEST A SESSUMS JR                              3202 NANTUCKET DR                                                                            SAN ANTONIO     TX    78230
ERNEST A SIEBERT                                 711 S LINCOLN                                                                                HILLSBORO       KS    67063‐1721
ERNEST A SIEBERT & IRMGARD SIEBERT JT TEN        711 S LINCOLN                                                                                HILLSBORO       KS    67063‐1721
ERNEST A SPIESS                                  98 GREGORY ROAD                                                                              BRISTOL         CT    06010‐3237
ERNEST A SPIESS & IRENE S SPIESS JT TEN          98 GREGORY RD                                                                                BRISTOL         CT    06010‐3237
ERNEST A SPIESS & MRS IRENE M SPIESS JT TEN      98 GREGORY RD                                                                                BRISTOL         CT    06010‐3237
ERNEST A STRUTZ                                  PO BOX 6573                                                                                  SAGINAW         MI    48608‐6573
ERNEST A SWANSON                                 539 POINT FIELD DR                                                                           MILLERSVILLE    MD    21108‐2052
ERNEST A SWITANOWSKI                             813 ALICE ST                                                                                 WHITEHALL       MI    49461‐1417
ERNEST A TOWERS & MARGARET B TOWERS JT TEN       1402 BUCKNELL ROAD GREEN ACRES                                                               WILMINGTON      DE    19803‐5114

ERNEST A WAGNER                                  11442 SKYLINE DR                                                                             FENTON          MI    48430‐8823
ERNEST ABRAHAM                                   3670 TRESSLA                                                                                 VASSAR          MI    48768‐9453
ERNEST ADERS WEATHERSBY                          9268 FAUST AVE                                                                               DETROIT         MI    48228‐1813
ERNEST ADOLPH BERNARD JR                         324 CEDARWOOD DRIVE                                                                          MANDIVILLE      LA    70471‐2850
ERNEST ALANIZ & ROBIN ALANIZ JT TEN              PO BOX 1418                                                                                  GOLIAD          TX    77963
ERNEST ALFRED FRANK                              N75W34140 BRICE RD                                                                           OCONOMOWOC      WI    53066‐1302
ERNEST ALFRED LEVESQUE                           PO BOX 682                                                                                   AGAWAM          MA    01001‐0682
ERNEST ALLEN RISCHE SR                           2704 HELENA ST                                                                               HOUSTON         TX    77006‐1538
ERNEST ANDERSON                                  812 24TH ST CT E                                                                             BRADENTON       FL    34208‐3017
ERNEST ANDREW KOHL                               5 BREEZEWOOD LANE                                                                            WALPOLE         MA    02081‐1601
ERNEST ARNOLD                                    28 COVINGTON ROAD                                                                            BUFFALO         NY    14216‐2102
ERNEST ASHBAUGH JR                               9221 CIRCLE DR                                                                               LAINGSBURGS     MI    48848‐9789
ERNEST B BENNETT                                 92 E GRAND AVE                                                                               HIGHLAND PARK   MI    48203‐3104
ERNEST B CLEMENS                                 ATTN FRANKIE J CLEMENS              PO BOX 8435                                              TOLEDO          OH    43623
ERNEST B DE CAMP                                 605 E WOODLAND                                                                               SPRINGFIELD     MO    65807‐3609
ERNEST B GOLLAN                                  R D NO 2                                                                                     VIENNA          OH    44473‐9804
ERNEST B HELIN & KAREN J HELIN JT TEN            PO BOX 5150                                                                                  NORMAN          OK    73070‐5150
ERNEST B KETZLER                                 6015 S MAIN                                                                                  CLARKSTON       MI    48346‐2360
ERNEST B PIERCE                                  8025 E CIRCLE DR                                                                             CLARKSTON       MI    48348‐3907
ERNEST B RIDDLE JR                               11270 SUFFOLK DR                                                                             SOUTHGATE       MI    48195‐2816
ERNEST B SNIDER JR & MAILA M SNIDER JT TEN       9325 YUCCA BLOSSOM DR                                                                        LAS VEGAS       NV    89134‐8921
ERNEST B TONKIN                                  3828 MARLA CIRCLE                                                                            CLARKSVILLE     TN    37042‐7236
ERNEST B WILLIAMS JR                             1756 FERNDALE                                                                                WARREN          OH    44485‐3951
ERNEST BACA                                      43226 MONTROSE AVE                                                                           FREMONT         CA    94538‐6002
ERNEST BERRY                                     3095 SUNBURY RIDGE DR                                                                        COLUMBUS        OH    43219‐5500
ERNEST BIKTIMIROV                                34 MASTERSON DRIVE                  ST CATHARINES ON                       L2T 3P4 CANADA
ERNEST BLAKE JR                                  144 MAIN ST                                                                                  ANDOVER         NH    03216‐3622
ERNEST BORUSHKO                                  427 BIDDLE                                                                                   WYANDOTTE       MI    48192‐2703
ERNEST BROOKS JR                                 67 TRIANGLE LANE                                                                             WILLINGBORO     NJ    08046‐3730
ERNEST BROTHERS JR                               4316 RANDALL PLACE                                                                           ST LOUIS        MO    63107‐1934
ERNEST BROWN                                     PO BOX 763                                                                                   CASTLE HAYNE    NC    28429‐0763
ERNEST BRUNNER                                   5844 SYCAMORE STREET                DUNCAN BC                              V9L 3E4 CANADA
ERNEST BUEL MOORE JR                             311 OAK POINT TER                                                                            MOUNT JULIET    TN    37122‐4011
ERNEST C BENTLEY                                 4900 MALTBY HILL RD                                                                          SOUTH BRANCH    MI    48761‐9509
ERNEST C BOHLMAN JR                              4190 CONRAD CIR                                                                              LAKE WORTH      FL    33463‐4508
ERNEST C BROCK & MRS HANNAH C BROCK JT TEN       1308 INDIAN HILLS                                                                            TUSCALOOSA      AL    35406
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ERNEST C CLAY                                    2458 KINGSCLIFF DR NE                                                                           ATLANTA            GA    30345‐2124
ERNEST C CLIFTON                                 4434 LUXEMBURG DRIVE                                                                            DECATUR            GA    30034‐5429
ERNEST C CROSS                                   512 LONGVIEW DR                                                                                 JOHNSON CITY       TN    37604‐3808
ERNEST C EWING & BONNIA L EWING TR EWING FAM     31213 FIRESTONE ST                                                                              TEMECULA           CA    92591
TRUST UA 05/02/97
ERNEST C KARRAS TR CONSTANCE C KARRAS FAMILY     PO BOX 4613                                                                                     OAK BROOK          IL    60522‐4613
TRUST UA 07/09/99
ERNEST C LEYENDECKER                             PSC 78 971                                                                                      S SAN FRANCISCO    CA    94080
ERNEST C MARLEY                                  5148 LARKSPUR LN                                                                                MASON              OH    45040
ERNEST C MARSHALL                                3721 RONALD DR                                                                                  CASTALIA           OH    44824‐9719
ERNEST C MOOREHEAD                               9211 S BELL AVE                                                                                 CHICAGO            IL    60620
ERNEST C MOSER                                   P O BOX 220                                                                                     HUMESTON           IA    50123
ERNEST C MURRAY & JOYCE W MURRAY JT TEN          8103 CHIVALRY RD                                                                                ANNANDALE          VA    22003‐1335
ERNEST C PETTY JR                                7220 CHATHAM RD                                                                                 N RICHLAND HILLS   TX    76180‐5009

ERNEST C PURCELL                                 51 OLDFIELD LN                         # 18                                                     WEST LIBERTY       KY    41472‐7971
ERNEST C RAUCH                                   PO BOX 85                                                                                       CEDARVILLE         MI    49719‐0085
ERNEST C SCHUETTE & SANDRA L SCHUETTE JT TEN     533 RIVERWALK DR                                                                                MASON              MI    48854‐9361

ERNEST C VAUGHAN                                 778 ALMOND RD                                                                                   WALNUTPORT         PA    18088‐9754
ERNEST C WALTON & JANE C WALTON JT TEN           8103 GLENBROOK COURT                                                                            MECHANICSVILLE     VA    23111‐2220
ERNEST C WEBER TOD CHESTER E WEBER SUBJECT TO    7327 DEVONSHIRE AVENUE                                                                          GREENDALE          WI    53129
STA TOD RULES
ERNEST C WEIRICK & JUNE G WEIRICK JT TEN         210 WILLOW MILL PARK RD                                                                         MECHANICSBURG      PA    17055‐1764
ERNEST CAPRARO                                   147 HALIFAX                                                                                     VANDALIA           OH    45377
ERNEST CECIL SARGENT JR & DOROTHY SARGENT JT TEN PO BOX 647                                                                                      NAVASOTA           TX    77866

ERNEST CHARLESTON                                PO BOX 1505                                                                                     SAGINAW            MI    48605‐1505
ERNEST CHASTAIN                                  16658 COVELLO                                                                                   VAN NUYS           CA    91406‐2811
ERNEST CHAW                                      3895 ALICE DRIVE                                                                                BRUNSWICK          OH    44212‐2701
ERNEST CSENDES                                   PO BOX 761                                                                                      PACIFIC PLSDS      CA    90272‐0761
ERNEST CUPP                                      1410 HWY 1481                                                                                   WILLIAMSBURG       KY    40769‐8163
ERNEST D BARRETT                                 8298 RT 123                                                                                     BLANCHESTER        OH    45107‐9805
ERNEST D BROOKS                                  6033 NATCHEZ DRIVE                                                                              MT MORRIS          MI    48458‐2742
ERNEST D BROWN                                   550 ROBERTSON CT                                                                                LAKE ORION         MI    48362‐2042
ERNEST D CARTER JR                               12858 RIVERVIEW ST                                                                              DETROIT            MI    48223‐3022
ERNEST D DAVIS                                   11357 FAIRMONT ST                                                                               ORANGE             VA    22960‐4542
ERNEST D HILLEGAS                                4415 N 635 W                                                                                    HUNTINGTON         IN    46750‐8981
ERNEST D ISENHOWER JR & PATTY S ISENHOWER JT TEN 2674 W FRENCH                                                                                   ST JOHNS           MI    48879‐9488

ERNEST D JOHNSON                                 4651 MANCHESTER RD                                                                              MOUND              MN    55364‐9141
ERNEST D JOHNSON                                 6369 SQUIRE LAKE DR                                                                             FLUSHING           MI    48433‐2382
ERNEST D MOULTON                                 5321 VALLEY VIEW                                                                                SWARTZ CREEK       MI    48473‐1037
ERNEST D PARSONS                                 227 MCARTHUR RIVER                                                                              EATON RAPIDS       MI    48827‐1533
ERNEST D PRATT CUST JOSHUA S PRATT UTMA KS       PO BOX 297                                                                                      PAOLA              KS    66071‐0297
ERNEST D RAY & CHRISTINE RAY JT TEN              4918 PALMER                                                                                     LANSING            MI    48910‐5331
ERNEST D SCAGNI & MARY P SCAGNI JT TEN           14 MCLELLAN DR                                                                                  HOLYOKE            MA    01040‐1419
ERNEST D SCHLEICHER                              9 ORANGE SW                                                                                     WARREN             OH    44485‐4217
ERNEST D TEEMS                                   3900 FORESTER RD                                                                                GREER              SC    29651‐8844
ERNEST D TEEMS                                   3900 FORRESTER RD                                                                               GREER              SC    29651‐8844
ERNEST D VERNON JR                               133 BIG BEAVER CREEK RD                                                                         SAINT MATHEWS      SC    29135‐7643
ERNEST D WALKER                                  14700 TERMINAL AVE                                                                              CLEVELAND          OH    44135‐2042
ERNEST DANIEL                                    2942 W FIFTH ST                        APT#10R                                                  BROOKLYN           NY    11224‐3817
ERNEST DANIEL & BETTY DANIEL JT TEN              2942 WEST 5TH ST APT 10‐R                                                                       BROOKLYN           NY    11224‐3817
ERNEST DARBY                                     4500 1ST AVE TRLR 10                                                                            NITRO              WV    25143‐1051
ERNEST DARGET JR                                 9607 PREST                                                                                      DETROIT            MI    48227‐2072
ERNEST DAVIDSON                                  1434 BROWN STATION ROAD                                                                         BEDFORD            IN    47421‐7581
ERNEST DAVIS                                     38MIDWAY AVE                                                                                    BUFFALO            NY    14215
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ERNEST DEFRONZO & ROSEANNE DEFRONZO JT TEN       677 SPRINGFIELD AVE                                                                           BERKELEY HTS    NJ    07922‐1014

ERNEST DEL SIMONE & ANNITA DEL SIMONE JT TEN     1504 DOUGLAS DR                                                                               EL CERRITO      CA    94530‐2008

ERNEST DENENFELD & RUTH DENENFELD JT TEN         29112 LANCASTER DR                   APT 101                                                  SOUTHFIELD      MI    48034‐1439
ERNEST DUVALL                                    10010 BRIDGEGATE CIRCLE                                                                       DALLAS          TX    75243
ERNEST E ABNEY                                   3902 FOREST HIGHLAND DR                                                                       CHATTANOOGA     TN    37415‐3511
ERNEST E ALLEN                                   3206 WEST 82 ST                                                                               CLEVELAND       OH    44102‐4904
ERNEST E ALVREZ                                  925 COUGHLAN DR                                                                               PONTIAC         MI    48057
ERNEST E ANDERSON                                1975 SOLDIERS HOME WC RD                                                                      DAYTON          OH    45418‐2334
ERNEST E ANGLEWICZ                               4942 CHURCH ROAD                                                                              CASCO           MI    48064‐3005
ERNEST E AUTERY                                  7336 FLORA                                                                                    ST LOUIS        MO    63143‐3219
ERNEST E BATMAN                                  4173 PIRATES LNDG                                                                             WINTER HAVEN    FL    33884‐2475
ERNEST E BOWMAN                                  1140 BALDWIN RD                                                                               LAPEER          MI    48446‐3012
ERNEST E BREWER                                  12111 GLENFIELD                                                                               DETROIT         MI    48213‐4100
ERNEST E CARR                                    2743 HERMITAGE                                                                                ST LOUIS        MO    63143‐3428
ERNEST E CARR JR                                 2743 HERMITAGE AVE                                                                            ST LOUIS        MO    63143‐3428
ERNEST E CHATMAN                                 108 LEXINGTON ST                                                                              BRUCETON        TN    38317‐2413
ERNEST E CORY                                    10600 ETOWAH RD                                                                               NOBLE           OK    73068‐7616
ERNEST E DALTON                                  1508 BUCKSKIN TRCE                                                                            MARTINSVILLE    IN    46151‐6499
ERNEST E DARLING                                 795 GILLIAM RD                                                                                GREER           SC    29651‐6343
ERNEST E ERWIN                                   6174 SUNNY VALE DR                                                                            COLUMBUS        OH    43228‐9738
ERNEST E ETTLINGER                               6 SNOLLEY DR                                                                                  MONSEY          NY    10952‐2021
ERNEST E EYNON II & JOAN B EYNON JT TEN          3313 SHERIDAN RD                                                                              PORTSMOUTH      OH    45662‐2335
ERNEST E GOLDEN                                  18301 LAUREL                                                                                  LIVONIA         MI    48152‐2997
ERNEST E GREEN                                   1905 GREAT FALLS DR                                                                           PLAINFIELD      IL    60544‐5517
ERNEST E HALLAM & NANCY J HALLAM TEN COM         25 BEACON DR                                                                                  COLTS NECK      NJ    07722‐1701
ERNEST E HARRIS                                  1710 NORTHBOURNE RD                                                                           BALTO           MD    21239‐3721
ERNEST E JEWELL & JUNE M JEWELL JT TEN           20 WIGWAM PATH                                                                                NEW RICHMOND    OH    45157‐9032
ERNEST E JOHNSON                                 1744 SUNVALE DR SW                                                                            WYOMING         MI    49519‐6548
ERNEST E JOST                                    157 N FORREST AVE                                                                             CAMDEN          TN    38320‐1279
ERNEST E LANGE                                   4717 WOODVALLEY CT NE                                                                         ROCKFORD        MI    49341‐9799
ERNEST E LINGLE                                  BOX 964                                                                                       CLEARFIELD      PA    16830‐0964
ERNEST E MACKEY JR & ANDRE L MACKEY JT TEN       P O BOX 72254                                                                                 NEWNAN          GA    30271
ERNEST E MACKEY JR & NORRIS Y MACKEY JT TEN      P O BOX 72254                                                                                 NEWNAN          GA    30271
ERNEST E MAURER & CYNTHIA B MAURER TR UA         1167 FIRESIDE TRL                                                                             BROADVIEW HTS   OH    44147‐3628
MAURER FAMILY TRUST 04/14/92
ERNEST E MCCLELLAN                               6251 TOWNSHIP RD 80                                                                           BELLVILLE       OH    44813‐9534
ERNEST E MEGEE JR                                715 E MARKET ST                                                                               GEORGETOWN      DE    19947‐2221
ERNEST E MINGERINK                               7801 HEARTHWAY                                                                                JENISON         MI    49428‐9184
ERNEST E MORRELL                                 5 LYON CT                                                                                     MANCHESTER      NJ    08759‐6284
                                                                                                                                               TOWNSHIP
ERNEST E MORRISON                                PO BOX 7811                                                                                   SPANISH FORT    AL    36577‐7811
ERNEST E MYERS                                   PO BOX 334                                                                                    FOWLER          MI    48835‐0334
ERNEST E NEWBERY                                 13230 WASHBURN RD                                                                             OTTER LAKE      MI    48464‐9748
ERNEST E NUNN                                    10070 E BLOOMFIELD RD                                                                         SCOTTSDALE      AZ    85260‐5160
ERNEST E OBRIAN                                  3409 HILLCREST DR                                                                             PANAMA CITY     FL    32405‐6754
ERNEST E PETERS                                  5501 MALMBURY ROAD                                                                            KNOXVILLE       TN    37921‐4938
ERNEST E REED                                    3785 TRAVER DR                                                                                NATIONAL CITY   MI    48748‐9551
ERNEST E RIDLEY                                  3502 HICKS AVE                                                                                SPENCER         OK    73084‐5726
ERNEST E ROLLS                                   712 GONZOLEZ BLVD APT 108                                                                     HUACHUCA CITY   AZ    85616
ERNEST E SCHRADER                                69 WOODLAND LAKES                                                                             SULLIVAN        MO    63080‐9317
ERNEST E SISSON                                  14384 FENTON                                                                                  REDFORD         MI    48239‐3303
ERNEST E SLUSHER                                 12326 RILEY RD                                                                                INDIANAPOLIS    IN    46236
ERNEST E STREIFTHAU                              323 NORTH MARSHALL RO                                                                         MIDDLETOWN      OH    45042‐3825
ERNEST E TESSMER & LINDA L TESSMER JT TEN        634 SO 5TH AVE                                                                                WAUSAU          WI    54401‐5358
ERNEST E THOMAS JR                               BOX 113                                                                                       INDIANOLA       IL    61850‐0113
ERNEST E TYRRASCH                                20 EAST 74TH ST                                                                               NEW YORK        NY    10021‐2654
ERNEST E VANNESS & KAREN E VANNESS TEN ENT       6190 ELKHORN DRIVE                                                                            ALGER           MI    48610‐9413
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ERNEST E WORLEY                                  1902 QUEENS CT E                                                                               ARLINGTON       TX    76014‐1640
ERNEST EDWARD BALDWIN                            PO BOX 994                                                                                     CLAREMONT       NC    28610‐0994
ERNEST EDWARD CZAPLA                             6 CREEK WALK                                                                                   BUFFALO         NY    14227‐2376
ERNEST ELLIS                                     23247 15 MILE RD                      APT 211                                                  CLINTON TWP     MI    48035
ERNEST F BIERSCHENK                              PO BOX 1928                                                                                    EDMOND          OK    73083‐1928
ERNEST F DOELLNER JR                             4459 ASHLAWN DRIVE                                                                             FLINT           MI    48507‐5655
ERNEST F GASSMANN                                5158 SANDALWOOD CIRCLE                GRANDBANK                                                GRAND BLANC     MI    48439
ERNEST F HERRIG & JENNIFER L HERRIG JT TEN       4963 LAUREL DR                                                                                 ROSWELL         GA    30075‐4014
ERNEST F HOFFNER & DOROTHY L HOFFNER JT TEN      751 INTERCHANGE RD                                                                             LEHIGHTON       PA    18235‐9251

ERNEST F PAVLICA                                 1272 W WINEGAR RD                                                                              MORRICE         MI    48857‐9688
ERNEST F PEKA                                    3618 COREY LN                                                                                  LAPEER          MI    48446‐9696
ERNEST F PEKA & DIANA L PEKA JT TEN              3618 COREY LN                                                                                  LAPEER          MI    48446‐9696
ERNEST F PERRY                                   2816 HIGNITE STREET                                                                            MIDLAND         MI    48640‐4125
ERNEST F PETERSON & BETTY A PETERSON JT TEN      569 PENNSYLVANIA AVE                                                                           RENOVO          PA    17764‐1604
ERNEST F PETERSON & BETTY ANN PETERSON TEN ENT   569 PENNSYLVANIA AVE                                                                           RENOVO          PA    17764‐1604

ERNEST F ROSSI                                   1125 BERKSHIRE RD                                                                              GROSSE POINTE   MI    48230‐1342
ERNEST F STRAUCH                                 4131 CLEMATIS DR                                                                               SAGINAW         MI    48603‐1164
ERNEST F SZYPER                                  1360 LEXINGTON AVE                                                                             N TONAWANDA     NY    14120‐2342
ERNEST F TALAVERA                                5725 OLEANDER DR                                                                               NEWARK          CA    94560‐4832
ERNEST F TOMCZAK TR ERNEST F TOMCZAK TRUST UA    1410 FOXBORO LN                                                                                FLINT           MI    48532‐3701
11/16/00
ERNEST FANTIN                                    5822 LAUR RD                                                                                   NORTH BRANCH    MI    48461‐9736
ERNEST FEIBELMAN CUST JON FEIBELMAN UGMA MD      2300 BAYTHORNE CT                                                                              BALTIMORE       MD    21209‐1604

ERNEST FERENCY                                   3008 WINTHROP LN                                                                               KOKOMO          IN    46902‐4578
ERNEST FERRIGNO                                  1317 TASKER STREET                                                                             PHILA           PA    19148‐1034
ERNEST FISCHER                                   3636 ENFIELD                                                                                   SKOKIE          IL    60076‐2200
ERNEST FISHER                                    1240 FLAMINGO DR                                                                               MT MORRIS       MI    48458‐2842
ERNEST FLOREZ JR                                 8187 RATHBONE                                                                                  DETROIT         MI    48209‐1981
ERNEST FORD                                      131 VAUGHN LANE                                                                                SPRUCE PINE     NC    28777
ERNEST FRANK STESLICK                            46822 BALBOA RD                                                                                CANTON          MI    48187‐1426
ERNEST G ALEXANDER JR & BEVERLY C ALEXANDER JT   301 HASSELLWOOD DR                                                                             CARY            NC    27518
TEN
ERNEST G AMONENO JR                              59 W PINES DR                                                                                  MONTGOMERY      TX    77356‐8290
ERNEST G ATKIN & MRS FERN A ATKIN JT TEN         4800 FILLMORE AVE APT 251                                                                      ALEXANDRIA      VA    22311
ERNEST G BRANCA                                  9151 SPRINGFIELD RD                   UNIT 1403                                                YOUNGSTOWN      OH    44514‐3184
ERNEST G BRUNO                                   2268 SAND HILL DR                                                                              CAPE CHARLES    VA    23310‐1960
ERNEST G CAUSTON & MARTHA O CAUSTON JT TEN       15 LYDIAN DR                                                                                   WILLIAMSTOWN    NJ    08094

ERNEST G DAVIS                                   1501 LODGE CT                                                                                  BOULDER         CO    80303‐8112
ERNEST G DAVIS III                               6966 CARTER TRAIL                                                                              BOULDER         CO    80301‐3840
ERNEST G DIMARZIO                                777 BAYSHORE DRIVE                    UNIT # 604                                               FT LAUDERDALE   FL    33304‐3930
ERNEST G DURAN                                   20311 TRAILS END RD                                                                            WALNUT          CA    91789‐1838
ERNEST G JONES                                   4 RIDGE LANE                                                                                   DAWSONVILLE     GA    30534‐5362
ERNEST G KOHLBACHER TOD LAUNA KOHLBACHER         517 KOERNER AVE                                                                                ENGLEWOOD       OH    45322‐2007
SUBJECT TO STA TOD RULES
ERNEST G LAZARUS & PATRICIA E LAZARUS JT TEN     100 GRAPE ST                                                                                   RIDGECREST      LA    71334‐3622
ERNEST G MATCHULAT & ANNE‐MARIE MATCHULAT JT     37226 BERKLEIGH CT                                                                             FARMINGTN HLS   MI    48331‐3787
TEN
ERNEST G VICK                                    16111 SOKE SPRINGS RANCH ROAD                                                                  SUTTER CREEK    CA    95685‐9700
ERNEST G WALKER                                  1722 SHANE DR                                                                                  SPRING HILL     TN    37174‐9502
ERNEST G WEHNER                                  8413 EMERSON AVE S                                                                             BLOOMINGTON     MN    55420‐2119
ERNEST G WHEELER & CATHERINE M WHEELER JT TEN    7 EVELYN TERRACE                                                                               WAYNE           NJ    07470‐3446

ERNEST G WHITE                                   6097 ELIZABETH DR                                                                              POWELL          OH    43065‐8976
ERNEST GANGL & PAMELA GANGL JT TEN               3442 MALAGA WAY                                                                                NAPLES          FL    34105‐2808
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ERNEST GANSCHOW & VIOLA C GANSCHOW JT TEN          725 W GENESEE ST                                                                               FRANKENMUTH    MI    48734‐1316

ERNEST GEORGE KATSMEDAS                            15154 LESLEY LANE                                                                              EDEN PRAIRIE   MN    55346‐2532
ERNEST GIAMPOLI & MRS DOROTHY GIAMPOLI JT TEN      10244 SOUTH BELL AVE                                                                           CHICAGO        IL    60643‐1902

ERNEST GODFREY JR                                  1053 WORCTER DR                                                                                VIRGINIA BCH   VA    23455‐4644
ERNEST GOINS                                       803 SENNETT ST                                                                                 MIAMISBURG     OH    45342‐1852
ERNEST GRAHAM                                      1016 NW 13TH AVE                                                                               OCALA          FL    34475‐5070
ERNEST H AYSCUE                                    1320 QUONDARY LAKE LANE                                                                        GRAHAM         NC    27253‐8526
ERNEST H BRIDGE JR                                 392 LEAR HILL RD                                                                               NEWPORT        NH    03773‐3291
ERNEST H BURRELL                                   1787 PASADENA                                                                                  YPSILANTI      MI    48198‐9212
ERNEST H CALVIN                                    790 N STINE RD                                                                                 CHARLOTTE      MI    48813‐7803
ERNEST H CREEK                                     8224 SOUTH 250 WEST                                                                            TRAFALGAR      IN    46181‐9258
ERNEST H ECKERDT                                   5019 BRADY ST                                                                                  SWARTZ CREEK   MI    48473‐1301
ERNEST H ECKERDT & SHIRLEY A ECKERDT JT TEN        5019 BRADY ST                                                                                  SWARTZ CREEK   MI    48473‐1301
ERNEST H ELLIOTT                                   2 IVORY GULL PL                                                                                HILTON HEAD    SC    29926‐2657
                                                                                                                                                  ISLAND
ERNEST H FERGUSON                                  11381 W COOK ROAD                                                                              GAINES         MI    48436‐9742
ERNEST H HILL                                      1370 DEBORAH DRIVE                                                                             CLARKDALE      AZ    86324‐3231
ERNEST H HOBBS                                     150 MATHY HOBBS RD                                                                             BUCHANAN       GA    30113‐4646
ERNEST H MARTINELLI                                236 MASON ST                                                                                   WOONSOCKET     RI    02895‐8607
ERNEST H MEADORS                                   113 WOODMORE AVE                                                                               LOUISVILLE     KY    40214‐3655
ERNEST H MYSHOCK & BERNADETTE F MYSHOCK JT TEN     31940 RUSH                                                                                     GARDEN CITY    MI    48135‐1758

ERNEST H NELSON                                    401 E 12TH ST                                                                                  FLINT          MI    48503‐4092
ERNEST H POWELL JR                                 1237 EDGEORGE ST                                                                               WATERFORD      MI    48327‐2012
ERNEST H PRICE                                     4766 LOGAN ARMS                                                                                YOUNGSTOWN     OH    44505‐1217
ERNEST HAROLD MITCHELL                             PO BOX 1083                                                                                    RAYMOND        MS    39154‐1083
ERNEST HERNANDEZ                                   6720 FLAMEWOOD DRIVE                                                                           ARLINGTON      TX    76001‐7824
ERNEST HODGES JR                                   221 E PAGE                                                                                     FLINT          MI    48505‐4639
ERNEST HOUSTON BOYD JR                             PO BOX 1397                                                                                    COOKEVILLE     TN    38503
ERNEST I CALABRIA                                  121 CHALFORD PL                                                                                LEBANON        TN    37087
ERNEST I GIFFORD & M JANET GIFFORD JT TEN          614 S TROY ST                         UNIT 109                                                 ROYAL OAK      MI    48067
ERNEST J ANDREJAK & BERNICE E ANDREJAK JT TEN      23369 HOLLWEG                         PO BOX 458                                               ARMADA         MI    48005‐0458

ERNEST J BADDER                                    10363 CORUNNA ROAD                                                                             SWARTZ CREEK   MI    48473‐9702
ERNEST J BRAND                                     115 HILLTOP DR                                                                                 AMHERST        OH    44001‐1037
ERNEST J BROWN & GENEVA BROWN JT TEN               580 LEWIS ST                                                                                   SOMERSET       NJ    08873‐3035
ERNEST J BROWN JR                                  64 MARTIN ST                                                                                   SOMERSET       NJ    08873‐3112
ERNEST J BUCCINI & MRS FLORENCE L BUCCINI JT TEN   190 ORIENT WAY                                                                                 RUTHERFORD     NJ    07070‐2410

ERNEST J BURMESTER                                 1282 CRICKLEWOOD SW                                                                            WYOMING PARK   MI    49509‐2745
ERNEST J BURNS SR                                  11421 S LIBERTY STREET                                                                         CLIO           MI    48420‐1403
ERNEST J COOPER                                    7001 CREEKSIDE CIR                                                                             FAIRBORN       OH    45324‐6164
ERNEST J CROLL                                     23251 SW RAINBOW LAKES BLVD                                                                    DUNNELLON      FL    34431‐3928
ERNEST J DECUF                                     9805 MIDLAND RD                                                                                FREELAND       MI    48623‐9725
ERNEST J FERIN JR                                  3000 SUMMIT VISTA DR                                                                           DES MOINES     IA    50321‐2224
ERNEST J FERIN JR & THERESA M FERIN JT TEN         3000 SUMMIT VISTA DRIVE                                                                        DES MOINES     IA    50321‐2224
ERNEST J FERNANDEZ                                 2310 W 72ND TER                                                                                PRAIRIE VLG    KS    66208‐3347
ERNEST J FINIZIO JR                                281 MONTEREY CIR                                                                               LAVALLETTE     NJ    08735‐1618
ERNEST J FINIZIO JR & DOROTHY G FINIZIO JT TEN     281 MONTEREY CIRCLE                                                                            LAVALLETTE     NJ    08735‐1618
ERNEST J FINK JR & VICTORIA F FINK JT TEN          267 LAKE RD                                                                                    ONTARIO        NY    14519‐9338
ERNEST J GAISER                                    3324 BOTTLE BRUSH CT                                                                           KISSIMMEE      FL    34746‐3604
ERNEST J GOMEZ                                     5932 CLIPPERT ST                                                                               TAYLOR         MI    48180‐1377
ERNEST J GOSSEL JR                                 901 DIVISION ST                                                                                IRON RIVER     MI    49935‐1637
ERNEST J HALLMARK                                  34320 ROSSLYN                                                                                  WESTLAND       MI    48185‐3662
ERNEST J HALLMARK & MARGARET A HALLMARK JT TEN     34320 ROSSLYN                                                                                  WESTLAND       MI    48185‐3662

ERNEST J HARRIS                                    1612 TARTAN CT                                                                                 BRENTWOOD      TN    37027‐7914
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ERNEST J HARRIS EX UW RICHARD M HARRIS           1134 WARRIOR DRIVE                                                                               FRANKLIN        TN    37064‐5030
ERNEST J JIDAS                                   4425 OAKVISTA AVE                                                                                CLARKSTON       MI    48346‐3816
ERNEST J KLADDER                                 5931 N WOODBRIDGE RD                                                                             WHITE CLOUD     MI    49349‐9418
ERNEST J LAMBERTI CUST MATTHEW ERNEST LAMBERTI   14 BROADWAY RD                                                                                   PLATTSBURGH     NY    12901‐1308
UGMA NY
ERNEST J LLOYD JR & KATHLEEN S LLOYD TEN ENT     1805 EASTRIDGE RD                                                                                TIMONIUM        MD    21093‐5217
ERNEST J LOPEZ                                   831 W 33RD PL                                                                                    CHICAGO         IL    60608‐6701
ERNEST J MACHADO                                 1263 FLICKINGER AVE                                                                              SAN JOSE        CA    95131‐2819
ERNEST J MAENZ                                   534 W 6TH STREET                                                                                 SALEM           OH    44460‐2114
ERNEST J MAMMARELLA                              2506 FOULK WOODS RD                                                                              WILMINGTON      DE    19810‐3625
ERNEST J MAMMARELLA TR ERNEST J MAMMARELLA       2506 FOULK WOODS RD                                                                              WILMINGTON      DE    19810‐3625
REV TRUST UA 12/19/91
ERNEST J NAPIER                                  33 BEACON HILL DR                                                                                DAYTON          OH    45440‐3533
ERNEST J NAWROCKI                                27148 MERIDETH DRIVE                                                                             WARREN          MI    48092‐3034
ERNEST J NAWROCKI & BARBARA J NAWROCKI JT TEN    27148 MERIDETH DR                                                                                WARREN          MI    48092‐3034

ERNEST J NICHOLAS                                4346 W DODGE RD                                                                                  CLIO            MI    48420‐8555
ERNEST J PETERS                                  66 NORTH 3RD ST                                                                                  GREENVILLE      PA    16125‐2439
ERNEST J PICO                                    105 W SOLA ST                                                                                    SANTA BARBARA   CA    93101‐3006
ERNEST J POGANY                                  515 16TH AVE NORTH                                                                               JACKSONVILLE    FL    32250‐4800
                                                                                                                                                  BEACH
ERNEST J REED                                    4041 MAGNOLIA AVENUE                                                                             SAINT LOUIS     MO    63110‐3913
ERNEST J RIEDL & MRS EMILY L RIEDL JT TEN        3527 S ELMWOOD AVE                                                                               BERWYN          IL    60402‐3841
ERNEST J RIGGS JR                                6013 ELEANOR ST                                                                                  FAIRFAX         OH    45227‐4222
ERNEST J RODRIGUEZ                               312 GLENARBOR DR                                                                                 ROCKFORD        MI    49341‐1188
ERNEST J SEROCKI                                 8816 S MAPLE CITY RD                    PO BOX 0092                                              MAPLE CITY      MI    49664‐0092
ERNEST J SEROCKI & VIRGINIA R SEROCKI JT TEN     8816 S MAPLE CITY RD                    PO BOX 0092                                              MAPLE CITY      MI    49664‐0092
ERNEST J SITTARO TR ERNEST J SITTARO TRUST UA    12930 MASONIC                                                                                    WARREN          MI    48093‐6143
09/08/99
ERNEST J THOMPSON JR                             26 MEADOW DR                                                                                     HIGHTSTOWN      NJ    08520‐3410
ERNEST J TOZER & STEPHANIE J TOZER JT TEN        9200 HANNAN RD                                                                                   WAYNE           MI    48184‐3101
ERNEST J TROSKI                                  505 CURRANT DR                                                                                   NOBLESVILLE     IN    46060‐8837
ERNEST J TURMELL JR                              2961 FRASER ROAD                                                                                 PINCONNING      MI    48650‐9429
ERNEST J VERRIER JR & EILEEN R VERRIER JT TEN    2380 SAPPHIRE CIR                                                                                WEST PALM BCH   FL    33411‐5198
ERNEST J VOGEL                                   575 PRIVATE RD A58                                                                               PLEASANTON      TX    78064‐6311
ERNEST J WALOWSKI                                162 NORTON LANE                                                                                  BERLIN          CT    06037‐4004
ERNEST J WOJCIK                                  79 FAWN GULLY LANE                                                                               PONTE VEDRA     FL    32081
ERNEST JACKSON                                   1249C KIRTS RD                                                                                   TROY            MI    48084‐4863
ERNEST JAMES GAUGHAN & MONICA MULCAHY            1902 TOYON WAY                                                                                   VIENNA          VA    22182‐3355
GAUGHAN JT TEN
ERNEST JOHN HUBER & M MICHELE HUBER TEN ENT      3622 TERRAPIN LN APT 1004                                                                        POMPANO BEACH   FL    33067

ERNEST JOHNSON                                   13 CHARLES LN                                                                                    PONTIAC         MI    48341‐2926
ERNEST JONES                                     8823 AURORA ST                                                                                   DETROIT         MI    48204‐1925
ERNEST K GLADDING II                             1991 KILBURNIE                                                                                   GERMANTOWN      TN    38139‐3421
ERNEST K HANSEN JR                               1873 CORREGIDOR ST                                                                               JOLIET          IL    60435‐8516
ERNEST K KOEHLER                                 829 HIGHLAND PL                                                                                  HIGHLAND PARK   IL    60035‐4844
ERNEST K KOEHLER & BARBARA E KOEHLER JT TEN      829 HIGHLAND PLACE                                                                               HIGHLAND PARK   IL    60035‐4844
ERNEST KEYLON                                    1735 STEWART ST                                                                                  CEDAR HILL      TX    75104
ERNEST KRAJEWSKI JR                              12140 RATTALEE LAKE RD                                                                           DAVISBURG       MI    48350‐1220
ERNEST KROHER                                    257 MAPLE STREET                                                                                 EAST HARTFORD   CT    06118‐2732
ERNEST KRUSHLIN                                  21861 FENSTER                                                                                    BELLEVILLE      MI    48111‐8989
ERNEST L ANDERSON                                W7535 M69                                                                                        IRON MOUNTAIN   MI    49801‐9804
ERNEST L BLAIR                                   439 E 305TH ST                                                                                   WILLOWICK       OH    44095‐3743
ERNEST L BLUE                                    47 ELDRIDGE ST                                                                                   WATERBURY       CT    06704‐2511
ERNEST L BRADY                                   8320 OXFORD DR                                                                                   TYLER           TX    75703‐5165
ERNEST L BRAZEAL                                 RT 1 BOX 443                                                                                     ADRIAN          MO    64720‐9751
ERNEST L BROOKS                                  641 SCALES RD                                                                                    SUWANEE         GA    30024‐1833
ERNEST L CHAVES                                  1515 BRASSWOOD ST                                                                                LAS VEGAS       NV    89110‐5916
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ERNEST L CROSS                                     2800 W MEMORIAL DR LOT 220                                                                     MUNCIE              IN    47302‐6418
ERNEST L FARESE                                    38 BAILEY RD                                                                                   ARLINGTON           MA    02476‐6323
ERNEST L FIKE                                      1219 48TH STREET                                                                               BALTIMORE           MD    21222‐1223
ERNEST L GRAY                                      10 BOATSWAIN WAY                                                                               SALEM               SC    29676
ERNEST L HACKETT                                   119 SPRING ST                                                                                  SAINT REGIS FALLS   NY    12980‐2806

ERNEST L HARRIS                                    3018 BRANDON                                                                                   FLINT               MI    48503‐6609
ERNEST L HICKEY                                    217 W HOPKINS STREET                                                                           PONTIAC             MI    48340‐1825
ERNEST L HILL                                      1532 BELMAR AVE                                                                                E CLEVELAND         OH    44118‐1123
ERNEST L HOLLY                                     14240 MANSFIELD                                                                                DETROIT             MI    48227‐4905
ERNEST L HOWARTH & RALPH T HOWARTH JT TEN          2339 FISHER                                                                                    STERLING HEIGHTS    MI    48310‐2833

ERNEST L HOWARTH & STANLEA K CUNEAZ JT TEN         2339 FISHER DR                                                                                 STERLING HGTS       MI    48310‐2833
ERNEST L HUDSON                                    11319 STEEL ST                                                                                 DETROIT             MI    48227‐3766
ERNEST L JOHNSON                                   4044 ASHFORD WAY                                                                               GAINESVILLE         GA    30507‐9506
ERNEST L KRUEGER                                   3509 COUNTY ROAD G LOT 50                                                                      WISCONSIN DELLS     WI    53965‐8679

ERNEST L LUTTRELL                                  2241 ZENIA ST                                                                                  TROY                MI    48083‐6131
ERNEST L MC GAFFEY II & KALED MC GAFFEY JT TEN     3036 DILLON RD                                                                                 FLUSHING            MI    48433‐9704

ERNEST L MCCLELLAND                                1311 WILLOW DR                                                                                 BRAZIL              IN    47834‐3347
ERNEST L MCPHERON                                  RR 1 BOX 1111                                                                                  AVINGER             TX    75630‐9701
ERNEST L MECHAM & MARILOU W MECHAM JT TEN          746 SPENCER LN                                                                                 LINDEN              MI    48451‐8507

ERNEST L NAYLOR                                    5161 COLE RD                                                                                   SAGINAW             MI    48601‐9759
ERNEST L NAYLOR & HENRIETTA L NAYLOR JT TEN        5161 COLE RD                                                                                   SAGINAW             MI    48601‐9759
ERNEST L NEELEY                                    2390 BOBO RD                                                                                   DALLAS              GA    30132‐3091
ERNEST L ORTIZ                                     576 MORAY WAY                                                                                  PATTERSON           CA    95363‐9115
ERNEST L PECK                                      7 KIMBERLY LN                                                                                  CLEVELAND           OH    44138‐3013
ERNEST L SCHAEFFER                                 91 MEMORIAL PKWY                                                                               ATL HIGHLANDS       NJ    07716‐1601
ERNEST L SMITH                                     PO BOX 465                                                                                     NORWAY              SC    29113‐0465
ERNEST L SWEAT                                     26218 CR 3640                                                                                  STONEWALL           OK    74871‐2400
ERNEST L THAXTON                                   904 HOLLY ST W                                                                                 HAMPTON             SC    29924‐3036
ERNEST L WEBB                                      800 BOWER STREET                                                                               LINDEN              NJ    07036‐2539
ERNEST L WERLE                                     241 SPRINGBEAUTY ST                   APT 307                                                  ROANOKE             VA    24012‐1952
ERNEST L WHEELER                                   4649 SHIRLEY PL                                                                                ST LOUIS            MO    63115‐2545
ERNEST L WHITAKER                                  142 HEATH DR                                                                                   LONGS               SC    29568‐7228
ERNEST L WILSON                                    23 ALDRICH RD                                                                                  KENDALL PARK        NJ    08824‐1213
ERNEST LANEY III & CYNTHIA L LANEY JT TEN          2965 SHAMROCK ST N                    APT J35                                                  TALLAHASSEE         FL    32309‐2237
ERNEST LAVIN & JENNIE LAVIN JT TEN                 5433 PUEBLO CT                                                                                 COMMERCE            CA    90040‐1529
ERNEST LESTER HOWELL III                           134 2ND AVE                                                                                    DECATUR             GA    30030‐3548
ERNEST LUDWIG                                      5886 FISK RD                                                                                   LOCKPORT            NY    14094‐9224
ERNEST LYTTLE                                      PO BOX 26176                                                                                   DAYTON              OH    45426‐0176
ERNEST M BELCHER                                   35886 WIDENER VALLEY RD                                                                        GLADE SPRING        VA    24340‐3514
ERNEST M ECHOLS                                    2575 WILLIAMSBURG DR                                                                           DECATUR             GA    30034‐1351
ERNEST M FAULKNER                                  5126 CHERRINGTON ROAD                                                                          TOLEDO              OH    43623‐2711
ERNEST M HAMPEL                                    38203 CHANEL CT                                                                                CLINTON TWP         MI    48038‐3121
ERNEST M HELIDES JR                                58 OLD SALT WORKS ROAD                                                                         CHATHAM             MA    02633‐1429
ERNEST M HORSTMAN                                  6633 JACKSON ST                                                                                NEW PORT RICHEY     FL    34653‐2616

ERNEST M LANDRY                                    1901 S OGEMAW TRL                                                                              WEST BRANCH         MI    48661‐9728
ERNEST M LEWIS                                     32 WILLIAMS ST                                                                                 MASSENA             NY    13662‐2416
ERNEST M LINDLEY                                   934 BOWING LANE                                                                                ROCKLEDGE           FL    32955‐4016
ERNEST M PAGE JR & MARGARET B PAGE TEN ENT         P O DRAWER 90                                                                                  MADISON             FL    32341‐0090
ERNEST M PAREDEZ                                   36656 DUGAN COURT                                                                              NEWARK              CA    94560‐3158
ERNEST M PATINO                                    1504 DOWNEY                                                                                    LANSING             MI    48906‐2817
ERNEST M PHILLIPS                                  49 SHELLEY RD                                                                                  OLD BRIDGE          NJ    08857‐3607
ERNEST M SWEENEY & CATHERINE J SWEENEY JT TEN      PO BOX 744                                                                                     MANCHESTER          MI    48158‐0744
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ERNEST M VITALIANI                                  109 LAGOON LAIR                                                                             AIKEN            SC    29803‐6919
ERNEST M WIEDYK JR                                  2449 11 MILE RD                                                                             AUBURN           MI    48611‐9752
ERNEST M WRIGHT JR                                  4009 POPLAR GROVE RD                                                                        MIDLOTHIAN       VA    23112‐4736
ERNEST MARESCO                                      148 BOULEVARD                                                                               SCARSDALE        NY    10583‐5536
ERNEST MASTORIDES                                   1973 BECKETT LAKE DR                                                                        CLEARWATER       FL    33763‐4408
ERNEST MELVIN FLEISCHER TR SAMUEL FLEISCHER TR UA 10 S BROADWAY STE 2000                                                                        ST LOUIS         MO    63102‐1747
6/18/59 ART FIFTH
ERNEST MESEC                                        C/O VICTOR MESEC                   4691 SAN FRANCISCO DR NE                                 SALEM            OR    97305‐2635
ERNEST MICHAEL TROUTMAN TR ERNEST H TROUTMAN 725 4TH STREET NE                                                                                  HICKORY          NC    28601‐3809
FAMILY TRUST UA 10/07/03
ERNEST MIGLIOZZI & THERESA MIGLIOZZI JT TEN         52 SUBURBIA DRIVE                                                                           JERSEY CITY      NJ    07305‐1228
ERNEST MUCCI                                        14220 N 46TH DRIVE                                                                          GLENDALE         AZ    85306
ERNEST N CLUTTER                                    2026 BRSTL‐CHMPION TWNLNE RD                                                                BRISTOLVILLE     OH    44402‐9664
ERNEST N COLDEN                                     1026 STELLARS JAY RD                                                                        RIDGELAND        SC    29936‐7438
ERNEST N HALL                                       43 CHESTER ST                                                                               ANDOVER          MA    01810‐5839
ERNEST N HITE TR ERNEST D HITE LIVING TRUST 3/14/94 2109 E MEMORY LN                                                                            ANDERSON         IN    46013‐9623

ERNEST N MAYES                                    135‐C WINDING WAY                                                                             LEESBURG         GA    31763‐5507
ERNEST NEAL HILLAKER                              1206 GLASTONBURY DR                                                                           SAINT JOHNS      MI    48879‐2498
ERNEST NELSON                                     16133 ROSELAWN ST                                                                             DETROIT          MI    48221‐2957
ERNEST NOBLE                                      C/O ALVESTER NOBLE                   16545 STRATHMOOR                                         DETROIT          MI    48235‐4070
ERNEST O PITSCHEL & MRS VIOLA C PITSCHEL JT TEN   9 MOFFAT COURT                                                                                PAGOSA SPRINGS   CO    81147‐8349

ERNEST ONEAL                                      520 REGENCY PARK DR SW                                                                        ATLANTA          GA    30331‐2073
ERNEST OTT                                        582 DESOTA PL                                                                                 PONTIAC          MI    48342‐1614
ERNEST P BLANTON                                  703 PLANTATION DR                                                                             RINCON           GA    31326‐9709
ERNEST P KISH                                     7 DOGWOOD CIR                                                                                 EDISON           NJ    08817‐3307
ERNEST P LOVITT TR UA 12/30/94                    1580 SHERMAN AVE                     UNIT 510                                                 EVANSTON         IL    60201‐4482
ERNEST P LUDLOW                                   30 COUNTY ROUTE 11                                                                            WEST MONROE      NY    13167‐3102
ERNEST P MOECKEL                                  2124 VAN LEAR ST                                                                              CINCINNATI       OH    45210‐1029
ERNEST P SCIULLO & ELIZABETH SCIULLO JT TEN       1438 SILVERTHORN DR                                                                           ORLANDO          FL    32825‐5883
ERNEST P SVOLTO                                   1385 SURREY PARK                                                                              PORT ORANGE      FL    32128‐3765
ERNEST PATRICK MC DANIEL JR                       937 KINGSTON DR                                                                               HIGH POINT       NC    27262‐7048
ERNEST PAUL GOLDENBERG                            36 AMHERST RD                                                                                 WABAN            MA    02468‐2302
ERNEST PEDRI & CATHERINE A PEDRI JT TEN           48150 SUGARBUSH                                                                               NEW BALTIMORE    MI    48047‐3300
ERNEST PENA                                       4109 N CEMETERY RD                                                                            CASS CITY        MI    48726‐1400
ERNEST PERRY                                      2645 E RIVERSIDE DR                                                                           INDIANAPOLIS     IN    46208‐5273
ERNEST PETTY                                      26628 LORENZ                                                                                  MADISON HGHTS    MI    48071‐3708
ERNEST PLOTT & MRS ELANOR PLOTT JT TEN            6267 RIVERVIEW RD                                                                             PENINSULA        OH    44264‐9624
ERNEST POTTER & MONICA POTTER JT TEN              4424 WOLVERINE WAY                                                                            ANTIOCH          CA    94531‐7669
ERNEST POWELL                                     15374 BAYLIS STREET                                                                           DETROIT          MI    48238‐1558
ERNEST PROMMER & MARTHA PROMMER JT TEN            25643 S KLEMME RD                                                                             CRETE            IL    60417‐4293
ERNEST R BLAKE                                    3825 BAGLEY STREET                                                                            DETROIT          MI    48216‐1419
ERNEST R BLONDIS                                  4425 ARTHUR AVE                                                                               BROOKFIELD       IL    60513‐2309
ERNEST R BOSETTI                                  1026 WELDIN CIRCLE                                                                            WILMINGTON       DE    19803‐3204
ERNEST R BOSETTI & JEANNE M BOSETTI JT TEN        1026 WELDIN CIRCLE                                                                            WILMINGTON       DE    19803‐3204
ERNEST R BURGESS SR                               3087 WEST HUCKLEBERRY TRAIL                                                                   FARWELL          MI    48622‐9680
ERNEST R BURROUGHS                                HC 17 BOX 41A                                                                                 CLAY             WV    25043‐9401
ERNEST R CLINE                                    BALL BROS BLDG APT 219               690 STATE ST                                             FRANKLIN         IN    46131‐2553
ERNEST R CROUSE                                   432 GORITZ ROAD                                                                               MILFORD          NJ    08848‐2025
ERNEST R CRUTHERS                                 2426 APRIL DR                                                                                 MT MORRIS        MI    48458‐8205
ERNEST R DAURAY JR                                1410 RUFFNER ROAD                                                                             ALEXANDRIA       VA    22302‐4217
ERNEST R EATON III                                111 THRIFT ST                                                                                 GAITHERSBURG     MD    20878
ERNEST R GARCIA JR                                6688 LOWELL RD                                                                                ST JOHNS         MI    48875
ERNEST R HICKS                                    21951 CHUBB RD                                                                                NORTHVILLE       MI    48167‐8704
ERNEST R HINSDALE & MARY JUNE HINSDALE JT TEN     734 CLYMER SHERMAN RD                                                                         CLYMER           NY    14724‐9758

ERNEST R HOWARD                                   11059 EEDGEBROOK LN                                                                           LA GRANDE        IL    60525‐6975
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ERNEST R JOHNSTON & SANDRA J JOHNSTON JT TEN     222 ROBINHOOD DRIVE                                                                           FLORENCE         AL    35633‐1615

ERNEST R JONES                                     RR 1 BOX 68                                                                                 ST MARYS         WV    26170‐9708
ERNEST R KIRKMAN TR UA 10/22/92 ERNEST R KIRKMAN 16151 SOUTHAMPTON                                                                             LIVONIA          MI    48154‐2515
REVOCABLE TRUST
ERNEST R LANZER & JUNE F LANZER JT TEN             71 BERG AVE                                                                                 KINGS PARK       NY    11754‐1502
ERNEST R LEADY                                     8128 HARRISBURG LONDON RD                                                                   ORIENT           OH    43146‐9461
ERNEST R MOORE                                     7 COMMODORE DRIVE                                                                           MORGANS POINT    TX    76513‐6331
ERNEST R PFEFFERLE TR ERNEST R PFEFFERLE REV TRUST 614 KILLARNEY DR                                                                            CHEYENNE         WY    82009‐3506
UA 3/16/98
ERNEST R PHILPOT                                   7202 FOREST PARK DRIVE                                                                      INDIANAPOLIS     IN    46217‐4127
ERNEST R PLAGENS                                   PO BOX 74                                                                                   MAURICEVILLE     TX    77626‐0074
ERNEST R STOLZER SR & ERNEST R STOLZER JR JT TEN   58 LAKESHORE DR S                                                                           BROOKFIELD       CT    06804‐1429

ERNEST R STRICKLAND                            3030 HUMPHRIES DR                                                                               ATLANTA          GA    30354‐2438
ERNEST R VAN ALSTINE                           8412 ERMA DR                                                                                    LYONS            MI    48851‐9615
ERNEST R VOGEL                                 18550A STONEHEDGE DR                                                                            BROOKFIELD       WI    53045‐3651
ERNEST R WEEMS                                 14811 KENTUCKY                                                                                  DETROIT          MI    48238‐1759
ERNEST R WHITE                                 11808 W ELECTRA LN                                                                              SUN CITY         AZ    85373‐5049
ERNEST R WHITWORTH                             349 BIG BUCK TR                                                                                 JACKSON          GA    30233‐6620
ERNEST RAYMOND HOKINSON                        1852 PARKER BLVD                                                                                TONAWANDA        NY    14150‐8828
ERNEST ROBERY & ANN MARIE ROBERY JT TEN        31 PLEASANT ST                                                                                  PLAINVILLE       MA    02762‐2663
ERNEST ROBINSON JR                             PO BOX 462                                                                                      ROCKPORT         IN    47635‐0462
ERNEST ROLAND RICHTER JR                       214 BROWN ROAD                                                                                  DAYTON           TX    77535
ERNEST ROMERO TR ERNEST ROMERO LIVING TRUST UA 9927 WALNUT DRIVE                      #201                                                     KANSAS CITY      MO    64114‐4319
09/06/94
ERNEST S AUGHENBAUGH                           309 W WALKER ST                                                                                 ST JOHNS         MI    48879‐1455
ERNEST S BALLA                                 PO BOX 456                                                                                      COLUMBIAVILLE    MI    48421‐0456
ERNEST S HILDEBRAND                            BOX 126                                                                                         SEDGWICK         ME    04676‐0126
ERNEST S TROST                                 8603 SCENICVIEW DR APT 101                                                                      CLEVELAND        OH    44147‐3469
ERNEST S WHITE                                 1822 HANSON RD                                                                                  EDGEWOOD         MD    21040‐2533
ERNEST SAM HEARD                               98‐715 IHO PL APT 101                                                                           AIEA             HI    96701‐2506
ERNEST SANCHEZ                                 PO BOX 2153                                                                                     CLINTWOOD        VA    24228
ERNEST SCHICK                                  17 LA COSTA DR                                                                                  HOLIDAY ISLAND   AR    72631
ERNEST SEIDLER CUST RONNIE SEIDLER UGMA NY     7714 MAJESTIC PALM DR                                                                           BOYNTON BEACH    FL    33437‐5410
ERNEST SHELDON                                 2874 SINGERLY ROAD                                                                              ELKTON           MD    21921‐2631
ERNEST SONYE                                   2251 KERSHNER RD                                                                                DAYTON           OH    45414‐1211
ERNEST STANDOKES                               2706 CLEMENT                                                                                    FLINT            MI    48504‐7371
ERNEST STAUDT                                  354 CORNELL STREET                                                                              WYCKOFF          NJ    07481‐3108
ERNEST STELLKE                                 25 HUNTERS CIRCLE                                                                               LEBANON          NJ    08833‐4395
ERNEST STEWART                                 2375 ACORN FORK RD                                                                              FLAT LICK        KY    40935‐6419
ERNEST STREETS                                 63 ST LOUIS AVE                                                                                 YOUNGSTOWN       OH    44507‐1452
ERNEST STRUNK                                  11932 VANHERP COURT                                                                             INDIANAPOLIS     IN    46236‐8348
ERNEST STUNEK                                  4237 S AUSTIN ST                                                                                MILWAUKEE        WI    53207‐5039
ERNEST SYMOENS JR                              325 W 53RD ST                                                                                   ANDERSON         IN    46013‐1505
ERNEST T BEGAY                                 PO BOX 3025                                                                                     FLAGSTAFF        AZ    86003‐3025
ERNEST T COFFMAN                               804 MERRY LANE                                                                                  GREENWOOD        IN    46142‐3845
ERNEST T KASHIWAMURA & MRS JANICE H            215 PUIWA ROAD                                                                                  HONOLULU         HI    96817‐1173
KASHIWAMURA JT TEN
ERNEST T NAKAMURA CUST BRANDON TADAYOSHI       2595 ROBINHOOD PL                                                                               ORANGE           CA    92867‐1834
NAKAMURA UGMA HI
ERNEST T PARNELL                               16703 COLLINGHAM DR                                                                             DETROIT          MI    48205‐1509
ERNEST T SMITH                                 3356 INDIANVIEW DR                                                                              WATERFORD        MI    48329‐4317
ERNEST TAFFLIN                                 2107 PALMA SOLA BLVD                   LOT 81                                                   BRADENTON        FL    34209‐4862
ERNEST TAMBURRINI                              GMHA                                   241 SALMON PT MELBOURNE   VICTORIA     3207 AUSTRALIA
ERNEST TAMBURRINI                              HOLDEN LTD 600 LORIMER ST              PORT MELBOURNE            VICTORIA     AUSTRALIA
ERNEST TAYLOR                                  44017 HUNTERS GREEN DR                                                                          CALLAHAN         FL    32011
ERNEST TEMPLE & KAIA DEITCH JT TEN             14955 SATICOY ST 223                                                                            VAN NUYS         CA    91405‐1150
ERNEST TRAYLOR                                 9531 S EMERALD AVE                                                                              CHICAGO          IL    60628‐1025
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ERNEST TUCKER                                    20010 MONICA ST                                                                                     DETROIT          MI    48221‐1210
ERNEST V BARKER                                  6507 PICADILLY RD                                                                                   MUNCIE           IN    47303‐4575
ERNEST V COPPLE                                  3425 BANDO CT W                                                                                     INDIANAPOLIS     IN    46220‐3722
ERNEST V NAPIER                                  4671 17TH ST                                                                                        DETROIT          MI    48208‐2136
ERNEST V RODGERS & VIRGINIA D RODGERS JT TEN     99 W PLUM ST                                                                                        WESTERVILLE      OH    43081‐2018

ERNEST V SMITH                                   22900 HOLLANDER                                                                                     DEARBORN         MI    48128‐1369
ERNEST V WATSON CUST RICHARD E WATSON U/THE      ATTN RICHARD WEISSMAN                  5959 TOPANGA CANYON BLVD #255                                WOODLAND HILLS   CA    91367‐7547
CAL U‐G‐M‐A
ERNEST VAUGHN JR                                 504 LITTLE YORK RD                                                                                  DAYTON           OH    45414‐1332
ERNEST VIRGA                                     1466 ASTOR AVENUE                                                                                   BRONX            NY    10469‐5847
ERNEST VISNICKY                                  4860 LANDER ROAD                                                                                    CHAGRIN FALLS    OH    44022‐2145
ERNEST W BELAND                                  993 PEMART AVENUE                                                                                   PEEKSKILL        NY    10566‐2235
ERNEST W BERNHARDT                               415 SAINT NICK DR                                                                                   MEMPHIS          TN    38117‐4115
ERNEST W BICKEL JR                               200 BROM BONES LANE                                                                                 LONGWOOD         FL    32750‐3822
ERNEST W BRUNAULT JR & MRS THERESA BRUNAULT JT   C/O ERNEST W BRUNAULT JR               53 BROOKLINE AVE                                             HOLYOKE          MA    01040‐1804
TEN
ERNEST W ELAM                                    532 PEARSALL                                                                                        PONTIAC          MI    48341‐2663
ERNEST W ESHMAN                                  217 OAK RD                                                                                          BALTIMORE        MD    21221‐3022
ERNEST W FORTNER                                 1921‐27 PLAZA DR                       APT 210                                                      BEDFORD          IN    47421‐3544
ERNEST W GIBSON 3RD                              11 BALDWIN ST                                                                                       MONTPELIER       VT    05602‐2110
ERNEST W GOSWICK                                 13624 PIEDMONT                                                                                      DETROIT          MI    48223‐3432
ERNEST W HARRIS                                  804 WEEPING WAY LANE                                                                                AVON             IN    46123‐8179
ERNEST W HATNEY                                  C/O MINNIE J JACKSON                   2200 E 101ST ST                                              CLEVELAND        OH    44106‐3508
ERNEST W HAUSMANN III                            7 APGAR AVE                                                                                         GLADSTONE        NJ    07934‐2015
ERNEST W HINZ & SARAH D HINZ JT TEN              4637 DIANE MARIE LANE                                                                               CLARKSTON        MI    48346‐4172
ERNEST W KISH JR                                 387 HINMAN AVE                                                                                      BUFFALO          NY    14216‐1016
ERNEST W MARTIKAINEN                             17 HARLOQUIN DRIVE                                                                                  SMITHTOWN        NY    11787‐3309
ERNEST W MOON                                    848 FUHRMANN TERRACE                                                                                GLENDALE         MO    63122‐3222
ERNEST W NICHOLAS                                3093 CLARENDON ST                                                                                   FLINT            MI    48504‐4406
ERNEST W ONEAL                                   2532 FORD ST                                                                                        DETROIT          MI    48238‐2900
ERNEST W ORIENTE & AUDREY E ORIENTE JT TEN       1 JADE HILL RD                                                                                      AUBURN           MA    01501‐3214
ERNEST W PAUL                                    5066 SPAHR ROAD                                                                                     JAMESTOWN        OH    45335‐9734
ERNEST W PYLE & BARBARA L PYLE JT TEN            109 LOONEY LN                          PO BOX 64                                                    ALMA             CO    80420‐0064
ERNEST W REYNOLDS & MARIE T REYNOLDS JT TEN      950 KIRKWOOD PIKE                                                                                   QUARRYVILLE      PA    17566‐9510

ERNEST W RICHARDSON                              4250 EASTON RD                                                                                      OWOSSO           MI    48867‐9639
ERNEST W RYDER & DAVID W RYDER JT TEN            300 COMMERCIAL ST 901                                                                               BOSTON           MA    02109‐1158
ERNEST W SAUER TR ERNEST W SAUER TRUST UA        21422 VIA STRAITS LN                                                                                HUNTINGTON       CA    92646‐7530
08/06/91                                                                                                                                             BEACH
ERNEST W SCHOUTEN                                1801 W MAIN                                                                                         DURANT           OK    74701‐4913
ERNEST W SHIVERS                                 3435 SAINT CATHERINE ST                                                                             FLORISSANT       MO    63033‐3832
ERNEST W SMITH                                   165 N ADAM STREET                                                                                   LOCKPORT         NY    14094‐2446
ERNEST W THOMPSON & JANET THOMPSON JT TEN        1437 CHURCH STREET                                                                                  HAGERSTOWN       MD    21740‐3504

ERNEST W TORAIN                                  412 6TH AVE NW                                                                                      DECATUR          AL    35601‐1534
ERNEST W VALYOCSIK                               960 RANDOLPH DR                                                                                     YARDLEY          PA    19067‐4208
ERNEST W WALTERS                                 1419 S SEYMOUR RD                                                                                   FLINT            MI    48532‐5517
ERNEST W WALTERS & BILLY J WALTERS JT TEN        1419 S SEYMOUR RD                                                                                   FLINT            MI    48532‐5517
ERNEST W WALTERS & BILLY WALTERS JT TEN          1419 SEYMOUR ROAD                                                                                   FLINT            MI    48532‐5517
ERNEST W ZELLNER JR                              738 BLOOR WOODS CT                                                                                  ZIONSVILLE       IN    46077‐1186
ERNEST WALLS                                     4095 JULIE KIM LANE                                                                                 GOODRICH         MI    48438‐9629
ERNEST WHITTAKER                                 5967 COPLIN                                                                                         DETROIT          MI    48213‐3607
ERNEST WILLIAMS                                  418 E STEWART AVE                                                                                   FLINT            MI    48505‐3422
ERNEST WYATT                                     BOX 177EAST MAIN STREET                                                                             TOWNSEND         DE    19734
ERNEST ZEITER & JOY ANN ZEITER JT TEN            86 TRELLIS DRIVE                                                                                    TERRA LINDA      CA    94903‐3328
ERNESTINA L CERVANTES                            1530 PRIDE AVE                                                                                      SIMI VALLEY      CA    93065‐3322
ERNESTINA PACHECO                                4405 N WILLIS                                                                                       PORTLAND         OR    97203‐3660
ERNESTINA STOVALL                                2230 BOONE PL                                                                                       SNELLVILLE       GA    30078‐4145
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ERNESTINE A CHAVEZ                                4624 SORRENTO PARK COURT                                                                         FREMONT          CA    94538‐4054
ERNESTINE A DRISCOLL                              31375 LYONS CIRCLE EAST                                                                          WARREN           MI    48092‐1716
ERNESTINE A DRISCOLL TOD DONNA L DRISCOLL         31375 LYONS CIRCLE EAST                                                                          WARREN           MI    48092‐1716
SUBJECT TO STA TOD RULES
ERNESTINE A HENSLER & KATHY T HENSLER JT TEN      707 MAIDEN CHOICE LANE # 7316                                                                    BALTIMORE        MD    21228‐4093
ERNESTINE ARMIJO                                  698 PLATA DR                                                                                     RIO RANCHO       NM    87124‐3237
ERNESTINE BARBARICK                               901 TEMPLE CLIFF RD                                                                              BALTIMORE        MD    21208‐4631
ERNESTINE BLANCHARD                               921 DIAMONDALE DR                                                                                CARSON           CA    90746‐3019
ERNESTINE BOARDS                                  12765 MARK TWAIN                                                                                 DETROIT          MI    48227‐2807
ERNESTINE BRANCHE                                 566 JEROME ST                                                                                    BROOKLYN         NY    11207‐5618
ERNESTINE CASTILLO                                1574 BRYN MAWR                                                                                   SAGINAW          MI    48603‐4302
ERNESTINE DAVE TOD DERRICK K DAVE & RONALD C      10947 SW 76TH AVE                                                                                OCALA            FL    34476‐3724
DAVE
ERNESTINE E GRAY                                  8740 SOUTH LAFLIN ST                                                                             CHICAGO          IL    60620‐4843
ERNESTINE EVANS CUST TAYLOR EVANS UTMA MD         5301 ANDERSON COURT                                                                              BRYANS ROAD      MD    20616
ERNESTINE F RIZER                                 218 AZALEA RD                                                                                    WALTERBORO       SC    29488‐2607
ERNESTINE F TANNER                                PO BOX 1077                          120 HILLTOP CR                                              CANTON           GA    30169
ERNESTINE FAILING                                 5356 E AURELIA                                                                                   SIMI VALLEY      CA    93063‐4102
ERNESTINE G ALLEN                                 5180 CALLA AV NW                                                                                 WARREN           OH    44483‐1220
ERNESTINE G ROGERS                                101 N CLEVELAND MASSILLON RD         # 309                                                       AKRON            OH    44333‐2422
ERNESTINE GARNER                                  4832 TENSHAW DR                      PO BOX 17491                                                DAYTON           OH    45418‐1932
ERNESTINE GRANVILLE                               PO BOX 9083                                                                                      KANSAS CITY      MO    64168‐9083
ERNESTINE H PFEIFFER                              274 IKERD DRIVE                                                                                  CONCORD          NC    28025‐3800
ERNESTINE H TONER                                 13 WILSON AVE                                                                                    FAIRBORN         OH    45324‐2827
ERNESTINE HAWKINS SKINNER                         845 PARK AVE                                                                                     HENDERSON        NC    27536‐3101
ERNESTINE HOWELL                                  1204 GRAND OAKS CV                                                                               BESSEMER         AL    35022‐7243
ERNESTINE HYMES                                   9 BRYN MAWR RD                                                                                   ROCHESTER        NY    14624‐3338
ERNESTINE I MICHAEL                               9200 BAILEY ROAD                                                                                 HOWARD CITY      MI    49329‐9521
ERNESTINE JORDAN                                  26979 GLENDALE                                                                                   REDFORD          MI    48239‐2726
ERNESTINE LATHAM                                  531 BELMONTE PARK N APT 301                                                                      DAYTON           OH    45405‐4709
ERNESTINE M ROBERTS                               1459 RUSKIN ROAD                                                                                 DAYTON           OH    45406‐4652
ERNESTINE M VALENTINE & SANDRA L MCMILLAN JT      3665 DERBYSHIRE DR                                                                               BRUNSWICK        OH    44212‐4110
TEN
ERNESTINE M WALKER                                1922 E 166TH PL                                                                                  SOUTH HOLLAND    IL    60473‐2657
ERNESTINE P LEACH                                 PO BOX 556                                                                                       BOLTON           MS    39041‐0556
ERNESTINE P WIESE TR ERNESTINE P WIESE TRUST UA   404 LOMA PASEO DR                                                                                LADY LAKE        FL    32159‐0083
08/31/00
ERNESTINE PADUCH                                  7 LATOURETTE ST                                                                                  SO BOUND BROOK   NJ    08880‐1306

ERNESTINE PARLOR                                C/O ERNESTINE PARLOR JOHNSON           2302 CANNIFF ST                                             FLINT            MI    48504‐2050
ERNESTINE PAYNE WASHINGTON                      946 E RUTH ST                                                                                      FLINT            MI    48505‐2288
ERNESTINE PEREZ                                 201 N MCKENZIE STREET                                                                              ADRIAN           MI    49221‐1905
ERNESTINE R BACA                                2440 OSCEOLA STREET                                                                                DENVER           CO    80212‐1155
ERNESTINE R SMITH                               3728 WORCHESTER DR                                                                                 FLINT            MI    48503‐4557
ERNESTINE ROSEMOND                              250 HARBORTOWN DR E APT 1308                                                                       DETROIT          MI    48207‐5013
ERNESTINE ROZARIO                               241 SALMON ST                          PORT MELBOURNE                 VICTORIA   AUSTRALIA
ERNESTINE SOUTH                                 1156 LESTER                                                                                        YPSILANTI        MI    48198‐6434
ERNESTINE T BARNES                              970 OLD SAN ANTONIO RD                                                                             BUDA             TX    78610‐9702
ERNESTINE T CUMMINS                             45 CHESTNUT STREET                                                                                 AVENEL           NJ    07001‐2141
ERNESTINE V BYRD                                805 E TROTWOOD BLVD                                                                                TROTWOOD         OH    45426‐3121
ERNESTINE V SWEENEY & KEITH A SWEENEY & AUDRA D 3701 KENT ST                                                                                       FLINT            MI    48503‐4580
SWEENEY JT TEN
ERNESTINE VIRGIN                                PO BOX 35046                                                                                       DUNDALK          MD    21222‐7046
ERNESTINE W BREAKLEY                            1009 MADISON ST                                                                                    CHESTER          PA    19013‐5922
ERNESTINE WRIGHT                                3856 FERNGLEN DR                                                                                   JACKSONVILLE     FL    32277‐1650
ERNESTINE ZIMMERMAN CUST WARREN JAY PERNICK     19 ELDORADO DR                                                                                     EAST NORTHPORT   NY    11731‐5621
UGMA NY
ERNESTO ACOSTA                                  VILLA LOS SANTOS                       N‐20 CALLE SANTA ROSA STREET   ARECIBO    PUERTO RICO
ERNESTO ALCARAS                                 15 ASCOT CIRCLE                                                                                    EAST AMHERST     NY    14051‐1808
                                           09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit E
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Name                                            Address1                             Address2                       Address3           Address4              City              State Zip

ERNESTO B DACPANO                               1524 HIGH OAKS CT                                                                                            BRENTWOOD         TN    37027‐6926
ERNESTO BARRERA JR & JANET P BARRERA JT TEN     19007 SE RIVER ROAD                                                                                          MULWAUKIE         OR    97267‐6737
ERNESTO C VILLANUEVA                            330 W 45TH ST                                                                                                NEW YORK          NY    10036‐3853
ERNESTO CONFEITEIRO                             PORTO DE MOS/ RIBEIRA DE CIMA                                                          PORTUGAL
ERNESTO D AMICO                                 1030 PEACHCREEK ROAD                                                                                         CENTERVILLE       OH    45458‐3259
ERNESTO E PERALTA                               1316 LA PUARTA ST                                                                                            LOS ANGELES       CA    90023‐3135
ERNESTO G AVARELLO                              11290 IVY PLACE                                                                                              W LOS ANGELES     CA    90064‐3917
ERNESTO G TOTANES & MAE MARIETTA V TOTANES JT   555 HIBISCUS DRIVE                                                                                           S SAN FRANCISCO   CA    94080‐2261
TEN
ERNESTO GOMEZ                                   1510 LANSING AVENUE                                                                                          LANSING           MI    48915‐2215
ERNESTO H PEREZ                                 3705 DELAWARE AVE                                                                                            FLINT             MI    48506‐3170
ERNESTO HERNANDEZ                               GM DE MEXICO                         LAGO VICTORIA #74              11520 MEXICO D F   MEXICO
ERNESTO HERNANDEZ                               EJERCITO NACIONAL 843                COLONIA GRANADA                MEXICO DF MEXICO   MEXICO
ERNESTO J GUTIERREZ                             119 RUE MADELINE                                                                                             AMHERST           NY    14221‐3232
ERNESTO J MEJER                                 1088 PARK AVE                                                                                                NEW YORK          NY    10128‐1132
ERNESTO J VILLANUEVA                            4927 COLLOMIA CT                                                                                             SAN JOSE          CA    95111‐3806
ERNESTO LUIS ARAOZ Y MENENDEZ                   COMPUTERSHARE                        LEGAL/COMPLIANCE/OFAC 3A       250 ROYALL ST      CANTON MA 2021 CUBA
ERNESTO M PANTOJA                               1640 CORONEL ST                                                                                              SAN FERNANDO      CA    91340‐3128
ERNESTO P RAMOS                                 4158 ALVIN ST                                                                                                SAGINAW           MI    48603‐3021
ERNESTO QUESADA                                 401 FRANKLIN                                                                                                 BAY CITY          MI    48708‐7034
ERNESTO R LUERA                                 1764 E PARK ST                                                                                               PHOENIX           AZ    85040‐5758
ERNESTO R SORIANO & MARY M SORIANO JT TEN       213 NEPTUNE DRIVE                                                                                            GROTON            CT    06340‐5416
ERNESTO RIOPEDRE                                MANSIONES #47                        SABANA GRANDE PR                                  637 PUERTO RICO
ERNESTO RODRIGUEZ                               3226 GLENNWOOD                                                                                               SAGINAW           MI    48601‐4442
ERNESTO SANCHEZ                                 4146 GLENBURNE BLVD                                                                                          LANSING           MI    48911‐2538
ERNESTO SANCHO‐ULLDEMOLINS                      OPEL ESPANA DE AUTO S L              APARTADO 375                   ZARAGOZA           SPAIN
ERNESTO TATA                                    14 WINTER HAZEL CT                                                                                           ROCHESTER         NY    14606‐4943
ERNESTO TORAL                                   4630 EL CAPTAIN DR                                                                                           WICHITA FALLS     TX    76310‐2515
ERNESTO TREVINO                                 6290 BLYTHFIELD                                                                                              ROCKFORD          MI    49341‐8565
ERNESTO V PALLARES                              10425 VIA ABOLINA                                                                                            MORENA VALLEY     CA    92557‐2717
ERNESTYNE V CLINE                               7540 W DIVISION RD                                                                                           TIPTON            IN    46072‐8656
ERNETT CAYTON                                   510 DITMAR ST                                                                                                PONTIAC           MI    48053
ERNIE BULLOCK                                   5814 TRAVIS RD                                                                                               GREENWOOD         IN    46143‐9019
ERNIE C WHEELER                                 17765 1ST ST                                                                                                 ATLANTA           MI    49709‐9509
ERNIE E MAYES & CHRISTINE P MAYES JT TEN        1412 IRWIN DR                                                                                                WATERFORD         MI    48327‐2027
ERNIE HARMASTKI                                 634 PORTAGE AVE                      WINNIPEG MB                                       R3C 0G7 CANADA
ERNIE HOVIZI                                    371 GENESSEE                                                                                                 RIVER ROUGE       MI    48218‐1512
ERNIE L STONE                                   PO BOX 235                                                                                                   PHILLIPSBURG      OH    45354‐0235
ERNIE M MC CUTCHEN JR                           23540 RADCLIFT                                                                                               OAK PARK          MI    48237‐2481
ERNIE O SOLSVIK & KATHRYN G SOLSVIK JT TEN      3261 OAK KNOLL DR                                                                                            ROSSMOOR          CA    90720‐4357
ERNIE P COMBS                                   11045 APPALOOSA DR                                                                                           WALTON            KY    41094‐9593
ERNIE S GONZALEZ                                PO BOX 69                                                                                                    SAN YGNACIO       TX    78067‐0069
ERNIE W PYLE                                    1584 JOSLYN                                                                                                  PONTIAC           MI    48340‐1315
ERNITA GREEN                                    PO BOX 663                                                                                                   BUFFALO           NY    14215
ERNITA JONES                                    15 CALVIN DR                                                                                                 MARLBORO          NY    12542‐6319
ERNST A BORUSHKO & RUTH F BORUSHKO JT TEN       427 BIDDLE                                                                                                   WYANDOTTE         MI    48192‐2703
ERNST A HEMME & MRS RUTH B HEMME JT TEN         2821 TOPICHILLS DRIVE                                                                                        CINCINNATI        OH    45248‐6290
ERNST BACHARACH                                 4455 DOUGLAS AVE                                                                                             BRONX             NY    10471‐3519
ERNST DE HAAS & CLAUDIA DE HAAS JT TEN          PO BOX 264                                                                                                   KINGSTON          NJ    08528‐0264
ERNST DIETRICH & ROSA DIETRICH JT TEN           C/O ELVA J DIETRICH                  8850 RED ARROW HIGHWAY APT 5                                            BRIDGMAN          MI    49106‐9524
ERNST E DRAWERT                                 7312 PLAYERS CLUB DRIVE                                                                                      LANSING           MI    48917‐9656
ERNST F KUJAWA                                  GEORGE‐MARSHALL‐STR 7                D65197 WIESBADEN               REPL OF            GERMANY
ERNST GESCHEIDLE                                CLAUDIUSSTRASSE 13                   6080 GROSS‐GERAU                                  GERMANY
ERNST HIERSCHBIEL                               4567 EL DORADO WAY                   #217                                                                    BELLINGHAM        WA    98226‐1200
ERNST J EFFENBERGER                             936 TAHITI RD E                                                                                              JACKSONVILLE      FL    32216‐3212
ERNST MCDOUGALD JUHL                            585 ROUTE 306                                                                                                SUFFERN           NY    10901‐1807
ERNST O EKROTH                                  VEDEVAGSLINGAN 9                     S‐124 74 BANDHAGEN                                SWEDEN
ERNST S PASTA                                   3S348 JUNIPER LANE                                                                                           GLEN ELLYN        IL    60137‐7418
ERNST TRUNINGER                                 PO BOX 471                           NIDAU                                             SWITZERLAND
                                                09-50026-mg             Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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ERNST W JOHNSON III & TERESA G JOHNSON JT TEN     804 ARVILLE AVE                                                                               BARSTOW            CA    92311‐3804

ERNST W ZWART & C MARIE ZWART JT TEN              PO BOX 6160                                                                                   DIAMONDHEAD        MS    39525‐6002
ERON MOORE JR                                     128 BAILEY ST                                                                                 LAWRENCEVILLE      GA    30045‐5820
EROS A NEDD                                       4028 19TH STREET                                                                              ECORSE             MI    48229‐1245
EROY D SANCHEZ                                    8223 NOBLET                                                                                   DAVISON            MI    48423‐8618
ERRIN NEWBERRY                                    11904 PORT RD                                                                                 FRISCO             TX    75035‐6356
ERROL C FLETCHER                                  160 JEANMOOR DR                                                                               AMHERST            NY    14228‐3038
ERROL D PARSONS                                   5740 E 1050S                                                                                  FAIRMOUNT          IN    46928‐9599
ERROL E LIEBOWITZ & ROBYN L FRIEDMAN JT TEN       1505 DEDHAM CIRCLE                                                                            VIRGINIA BEACH     VA    23456‐5030
ERROL G CROLL                                     103 THE ESPLANADE CRIB POINT         3919 VICTORIA                          AUSTRALIA
ERROL H ROSS                                      12627 E CANADA RD #1                                                                          BIRCH RUN          MI    48415‐9726
ERROL K COE                                       44 GARDEN PL #2                                                                               EDGEWATER          NJ    07020
ERROL R KOVITCH                                   48 GREENGROVE WAY                    WHITBY ON                              L1R 2N4 CANADA
ERROL R PAYER                                     7987 RIDGE RD                                                                                 PARMA            OH      44133‐1844
ERROL W HANNA                                     27514 BRIDLE HILLS DR                                                                         FARMINGTON HILLS MI      48336‐3010

ERSEL L BROWNING                                  33653 CLIFTON DRIVE                                                                           STERLING HEIGHTS   MI    48310‐6010

ERSEL L BROWNING & GLADYS M BROWNING JT TEN       33653 CLIFTON DRIVE                                                                           STERLING HEIGHTS   MI    48310‐6010

ERSIE M LIVINGSTON                                2426 N BELL                                                                                   KOKOMO           IN      46901‐1409
ERSILLA J THOMPSON                                4889 CUB RUN HWY                                                                              MUNFORDVILLE     KY      42765‐8120
ERSKIN R BURRELL                                  3960 WELLINGTON                                                                               INKSTER          MI      48141‐3178
ERSKINE B FALLS JR                                3 BRADFORD COURT                                                                              LITTLE ROCK      AR      72227
ERSKINE BROWNING                                  2438 HAMMEL                                                                                   SAGINAW          MI      48601‐2435
ERSKINE NELSON                                    45804 HEATHERWOODE LN                                                                         MACOMB           MI      48044‐4167
ERSKINE RANDOLPH                                  15702 WHIPPLE                                                                                 MARKHAM          IL      60428‐3968
ERSON L RELIGIOSO & ELOISA P RELIGIOSO JT TEN     110 SUNVIEW AVE                                                                               JEANNETTE        PA      15644‐2948
ERVIL E WILSON                                    2435 SO MAIN ST                                                                               HIGHLAND HEIGHTS KY      41076‐1210

ERVILLE W HUGHES TRUSEE UNDER DECLARATION OF      7326 N 61ST ST                                                                                PARADISE VALLEY    AZ    85253‐3501
TRUST DTD 08‐06‐90
ERVIN A DAUGHERTY JR                              1113 STAGECOACH PL                                                                            OLATHE             KS    66062
ERVIN A KINSER                                    ROUTE 1 BOX 1                                                                                 HELTONVILLE        IN    47436‐9767
ERVIN B ESTEP                                     11337 GERMANY RD                                                                              FENTON             MI    48430‐9576
ERVIN C REEP                                      2220 HOLLIS CROSSING ROAD                                                                     CUMBERLAND         TN    37051‐5120
                                                                                                                                                FURNANC
ERVIN D CLARK                                     PO BOX 6151                                                                                   GOODYEAR           AZ    85338‐0620
ERVIN D HARRIS                                    7905 E 117TH PL                                                                               KANSAS CITY        MO    64134‐4030
ERVIN D SCHWARTZMILLER                            1416 NATIONAL WAY                                                                             ZANESVILLE         OH    43701‐5753
ERVIN E CARPENTER                                 207 CEDAR BROOK LANE                                                                          SANDUSKY           OH    44870‐5434
ERVIN E CROUSE                                    715 W 3RD ST #C‐11                                                                            BOONE              IA    50036‐4008
ERVIN E FRANZ JR                                  24423 TRAILRIDGE PASS RD                                                                      CLEVELAND          MO    64734‐9008
ERVIN E GRANT                                     BOX 162                                                                                       EL DORADO          KS    67042‐0162
ERVIN E KETTERLING                                1020 STRAWBERRY AVE                                                                           BILLINGS           MT    59105‐1962
ERVIN E PAGE                                      ARROWHEAD POINT                      P O BOX#586                                              SHELL KNOB         MO    65747‐0586
ERVIN F MILLER                                    6189 CLAY RD                                                                                  EFFINGHAM          KS    66023‐4014
ERVIN F SKINNER                                   RT 8 BOX 127 HALL RD                                                                          BUCKHANNON         WV    26201
ERVIN G KRUSYNA                                   12469 JENNINGS RD                                                                             LINDEN             MI    48451‐9433
ERVIN GERENSER & LOUISA S GERENSER TEN ENT        4320 RT 212 RD 1                                                                              RIEGELSVILLE       PA    18077‐9530
ERVIN GERENSER & MRS LOUISA S GERENSER JT TEN     4320 RT 212 RD 1                                                                              RIEGELSVILLE       PA    18077‐9530

ERVIN H BAUMEYER & MRS JUDITH M BAUMEYER JT TEN 2706 LAURE GARDEN                                                                               KINGWOOD           TX    77339‐2505

ERVIN H BLANKENSHIP                               185 ERVIN LN                                                                                  AUGUSTA            WV    26704
ERVIN H SCHUETTE JR                               PO BOX 1691                                                                                   CASEVILLE          MI    48725‐1691
ERVIN J BARCHENGER                                2205 ALBION AVE                                                                               FAIRMONT           MN    56031‐3210
ERVIN J BINGHAM                                   6900 W GRANT RANCH BLV                                                                        DENVER             CO    80123
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ERVIN J BLUEMNER                                 7022 SOUTH 118TH ST                                                                             FRANKLIN           WI    53132‐1373
ERVIN J DELSMAN                                  4307 CHEYENNE AVE                                                                               FLINT              MI    48507‐2823
ERVIN J MANKOWSKI                                41255 POND VIEW DRIVE                                                                           STERLING HTS       MI    48314‐3847
ERVIN J MANKOWSKI                                4116 BLOOMFIELD                                                                                 STERLING HEIGHTS   MI    48310‐3306

ERVIN J MONTGOMERY                               PO BOX 742                                                                                      LAFAYETTE          OR    97127‐0742
ERVIN J WIRICK                                   388 HOWELL ROAD                                                                                 ALLENTON           MI    48002‐4213
ERVIN JOHNSON                                    585 SECOND                                                                                      PONTIAC            MI    48340‐2830
ERVIN KUYKENDOLL JR                              718 FRED ST                                                                                     LANSING            MI    48911‐3914
ERVIN L BELGER                                   8609 STONEVIEW DR                                                                               FRISCO             TX    75034‐5832
ERVIN L BURD                                     17430E 2880 NORTH RD                                                                            ALVIN              IL    61811‐3075
ERVIN L JACKSON                                  PO BOX 213                                                                                      WHEATLAND          MO    65779‐0213
ERVIN L MILLER                                   928 KENSINGTON AVE                                                                              FLINT              MI    48503‐5312
ERVIN L POSTIER & SHARI B POSTIER JT TEN         1341 E 34TH ST                                                                                  TULSA              OK    74105‐2609
ERVIN M BIGELOW                                  13250 DECK DR                                                                                   TEMPLE             TX    76502‐6808
ERVIN M NORGREN                                  9023 EARLY APRIL WAY                                                                            COLUMBIA           MD    21046
ERVIN MC LEAN                                    912 WIGGINS RD                                                                                  DOTHAN             AL    36303‐9211
ERVIN NMI RICH                                   9975 HWY 79                                                                                     PINSON             AL    35126‐2072
ERVIN O GUNNELS                                  1025 SONOMA AVE                                                                                 MODESTO            CA    95355‐4625
ERVIN OWENS                                      4397 HUNTING TRAIL                                                                              LAKE WORTH         FL    33467‐3505
ERVIN STITT                                      506 E DEWEY                                                                                     FLINT              MI    48505‐4242
ERVIN T JESKE                                    1709 POWDER RIDGE DR                                                                            VALRICO            FL    33594‐4040
ERVIN T SHIPP                                    PO BOX 1152                                                                                     DALLAS             GA    30132‐0020
ERVIN T SMITH                                    1402 S CAGE BLVD                                                                                PHARR              TX    78577
ERVIN T YOUNG                                    3500 TAMARACK TRAIL                                                                             MT MORRIS          MI    48458‐8211
ERVIN V ADOLF JR                                 805 RALSTON AVENUE                                                                              DEFIANCE           OH    43512‐1505
ERVIN W BAKER                                    300 CHETALOU #38                                                                                DRY RIDGE          KY    41035‐7456
ERVIN W WINKLER                                  N6561 WAUCEDAH                                                                                  FOREST CITY        MI    49834‐9731
ERVIN WALTER & MARLENE WALTER JT TEN             PO BOX 235                                                                                      HIGGINS LAKE       MI    48627‐0235
ERVING J HOBSON                                  943 BOULEVARD ST                                                                                SHREVEPORT         LA    71104‐2111
ERVING ROBINSON                                  C/O L ROBINSON                         2325 TAMARIND DR                                         EDGEWATER          FL    32141
ERWIN A WILSON                                   7133 D'LAINE DRIVE                                                                              WEBSTER            FL    33597
ERWIN AND VIRGINIA HAASS FOUNDATION INC          80 MORAN RD                                                                                     GROSSE PTE FM      MI    48236‐3607
ERWIN BRAUCHLER                                  2675 LYDIA DR SW                                                                                WARREN             OH    44481‐9622
ERWIN BROSER                                     APT 7P                                 35 SEACOAST TERRACE                                      BROOKLYN           NY    11235‐6007
ERWIN D BEARUP & JANET A BEARUP JT TEN           G 3253 HERRICK                                                                                  FLINT              MI    48532‐5127
ERWIN D WIGGINS                                  PO BOX 17                                                                                       COLUMBIAVILLE      MI    48421‐0017
ERWIN EDWARD BROWN & JOANN S BROWN JT TEN        8008 CHERINGTON DRIVE                                                                           INDIANAPOLIS       IN    46227‐5915

ERWIN F FRANKLIN JR                              3254 GREENWICH LANE                                                                             ST CHARLES         MO    63301‐1042
ERWIN F LISKE                                    5503 RUSHMORE PASS                                                                              GRAND BLANC        MI    48439‐9149
ERWIN F WROBLEWSKI                               46628 BONAPARTE DR                                                                              MACOMB             MI    48044‐3631
ERWIN G GRUPPEN                                  2775 HOPE STREET                                                                                HUDSONVILLE        MI    49426‐9308
ERWIN G RAPSKE                                   21701 REVERE ST                        ST CLAIR SHORES                                          ST CLR SHORES      MI    48080‐3954
ERWIN G RAPSKE                                   21701 REVERE ST                                                                                 ST CLR SHORES      MI    48080
ERWIN GONZALES                                   5536 WEISS ST                                                                                   SAGINAW            MI    48603‐3759
ERWIN H MAGEL                                    1264 MERRY ROAD                                                                                 WATERFORD          MI    48328‐1237
ERWIN HARTGE & MRS ANNAMARIE HARTGE JT TEN       SPACE 37                               11596 SIERRA DAWN BLVD                                   SURPRISE           AZ    85374‐9712

ERWIN K WOEHRLING                                180 ROLLINGWOOD ST                                                                              BUFFALO            NY    14221‐1854
ERWIN L ENGEL                                    1620 N PERRY CREEK ROAD                                                                         MIO                MI    48647‐9734
ERWIN L MONROE                                   1049 TAXI WAY KING                                                                              LAKE CITY          MI    49651‐9215
ERWIN L SHELDON JR                               1401 N PACKARD AVE                                                                              BURTON             MI    48509‐1644
ERWIN L SHELDON JR & KATHLEEN A SHELDON JT TEN   1401 N PACKARD AVE                                                                              BURTON             MI    48509‐1644

ERWIN M BLANT                                    750 KAPPOCK ST                         APT 605                                                  BRONX              NY    10463‐4817
ERWIN M KOERITZ                                  2110 GARTH ROAD                                                                                 CHARLOTTESVILLE    VA    22901‐5412
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Name                                             Address1                                Address2             Address3            Address4          City               State Zip

ERWIN MARINE                                     2926 WINDING LANE                                                                                  WESTLAKE VILLAGE CA      91361‐3211

ERWIN O KUNZE                                   3146 JUNIPER CT NE                                                                                  GRAND RAPIDS       MI    49525
ERWIN P SCHLUCKEBIER & BETTY L COLES & HAROLD W 6349 COOK RD                                                                                        SWARTZ CREEK       MI    48473‐8407
COLES II JT TEN
ERWIN R SPARKS & MRS MARIAN E SPARKS JT TEN     6 DEERFIELD DR                                                                                      CLINTON            CT    06413‐1012
ERWIN W LAUFFER                                 556 RANSOM RD                                                                                       LANCASTER          NY    14086‐9642
ERWIN W LOEFFLER                                131 S 4TH                                                                                           SEBEWAING          MI    48759‐1503
ERWIN W REGIER                                  5112 BUSCH                                                                                          WARREN             MI    48091‐1286
ERY J SAINT GERMAIN                             1334 EAST 35TH ST                                                                                   BROOKLYN           NY    11210‐5430
ERZSEBET SCHARMAN                               111‐09 76TH RD                                                                                      FOREST HILLS       NY    11375‐6424
ESAU WILLIAMS TOD LUREATHER WILLIAMS VERISECHA 2205 BROOKWOOD DR                                                                                    EDMOND             OK    73034‐4843
WILLIAMS
ESCOE R ELLIS                                   7146 STATE RTE Y                                                                                    BLOOMSDALE         MO    63627‐9060
ESERAL YOUNG                                    7554 MONTEGA CT                                                                                     RIVERDALE          GA    30274‐3618
ESHAEL JOHNSON                                  851 N GLEBE RD UNIT 706                                                                             ARLINGTON          VA    22203
ESI SECURITIES COMPANY                          1633 BROADWAY #48FL                                                                                 NEW YORK           NY    10019‐6708
ESIQUIEL L CARDENAS                             7480 MELODY LN SW                                                                                   JENISON            MI    49428‐9746
ESIQUIEL P OLIVAREZ                             1012 E BUTLER                                                                                       FT WORTH           TX    76110‐5705
ESJAYE WHITERS                                  4591 S OAKENWALD AVE                                                                                CHICAGO            IL    60653
ESKEL D RAY                                     11037 RENE                                                                                          LENEXA             KS    66215‐2039
ESKO JOKIMAKI                                   3172 MAES RD                                                                                        WEST BRANCH        MI    48661‐9232
ESMERALLDA R VIDEIRA                            10 DIANA CIRCLE                                                                                     MILFORD            MA    01757‐3283
ESMET WALLEY & ROSE MARIE WALLEY TR WALLEY FAM 2111 CYPRESS DR                                                                                      MCKEESPORT         PA    15131‐1809
TRUST UA 12/29/97
ESPERANZA AYALA                                 1770 SAUK LN                                                                                        SAGINAW            MI    48638‐4435
ESPERANZA FERNANDEZ & EVA FERNANDEZ JT TEN      22755 CENTER RIDGE ROAD                                                                             ROCKY RIVER        OH    44116‐3076
ESPERANZA LOPEZ                                 8080 BOULDER DR                                                                                     DAVISON            MI    48423‐8628
ESPIRIDION P LONGORIA                           3107 ERIE ST                                                                                        TOLEDO             OH    43611‐3212
ESRA BLEICHFELD                                 14844 DICKENS ST                         APT 307                                                    SHERMAN OAKS       CA    91403‐5202
ESRENEE C WALKER                                2420 HUNTER AVE                          APT 6F                                                     BRONX              NY    10475‐5641
ESS & VEE ACOUSTICAL CONTRACTING INC            23‐30 50TH AVE                                                                                      LONG ISLAND CITY   NY    11101‐4525

ESSA F SACKLLAH                                  29926 MARQUETTE ST                                                                                 GARDEN CITY        MI    48135‐2654
ESSEX E JOHNSON                                  19189 WOODCREST ST                                                                                 HARPER WOODS       MI    48225‐2015
ESSIE B BOYD                                     1105 EBENEZER AVE EXT                                                                              ROCK HILL          SC    29732
ESSIE B GOLDSMITH                                115 HAMLIN RD                                                                                      BUFFALO            NY    14208‐1618
ESSIE C HOLSTON                                  881 RUCKER LN                                                                                      MURFREESBORO       TN    37128‐4623
ESSIE COLLINS                                    259 RUCKER ST                                                                                      FLEMINGSBURG       KY    41041‐1415
ESSIE L DOLPHIN                                  1550 KIPLING DR                                                                                    DAYTON             OH    45406‐4227
ESSIE LEE DAVIS                                  112 GREELEY LANE                                                                                   YOUNGSTOWN         OH    44505‐4822
ESSIE M CURRY                                    114 HURON                                                                                          LANSING            MI    48915‐1748
ESSIE M GRIFFIN                                  2224 GOLFSIDE DR                        APT 307                                                    YPSILANTI          MI    48197
ESSIE M RIDDLE                                   5640 FOREST GLEN DR SE                                                                             ADA                MI    49301‐9111
ESSIE MARIE O HARRIS & JAMES D HARRIS JT TEN     1395 SPRING VALLEY                                                                                 STONE MOUNTAIN     GA    30087‐3151

ESSIE P JOHNSON                                  1414 SHERMAN ST                                                                                    ANDERSON           IN    46016‐3546
ESSIE P O'NEAL                                   PO BOX 771                                                                                         PINE LEVEL         NC    27568‐0771
ESSIE P SCRUGGS                                  3216 ILLINOIS ST                                                                                   FT WORTH           TX    76110‐4517
ESSIE R COX                                      2474 HIGHWAY 80 WEST                                                                               DEMOPOLIS          AL    36742
ESSIE R FERGUSON                                 1018 MICHAEL RD                                                                                    MONROE             GA    30656‐4456
ESSIE RINGOLD                                    1525 LAPEER                                                                                        SAGINAW            MI    48601‐1741
ESSIE SCOTT                                      PO BOX 541                                                                                         BELLWOOD           IL    60104‐0541
ESSIE YELDER                                     11430 DORA DR                                                                                      STERLING HEIGHTS   MI    48314‐1589

ESSOLEAN HADDEN                                  1208 KINGS CI 15                                                                                   WEST CHICAGO       IL    60185‐4909
ESSUE COVINGTON & IVY COVINGTON JT TEN           816 GOLDWIRE WAY SW                                                                                BIRMINGHAM         AL    35211‐2832
ESSYE FRANK                                      ATTN LOUIS L FRANK                      UNIT 8‐G             201 W 74TH STREET                     NEW YORK           NY    10023‐2102
EST CAROLYN L AIKENS                             C/O ROBERT S SUPPLEE                    329 SOUTH HIGH ST                                          WEST CHESTER       PA    19382‐3336
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Name                                               Address1                               Address2                  Address3     Address4          City              State Zip

EST CHARLES H DAVIS                                C/O JAMES MASI                         240 S CHESTNUT ST STE A                                  RAVENNA           OH    44266
EST CLARENCE R JOLLEY SR OMADELL JOLLEY EX         36280 BEHRN DRIVE                                                                               N RIDGEVILLE      OH    44039
EST FRITZNER ALEXIS                                C/O GELLMAN & MANDELL ATTORNEYS        280 MERRICK RD                                           LYNBROOK          NY    11563
EST GORDON BARRIE STONE                            PO BOX 1035                                                                                     GRAND BLANC       MI    48480
EST OF ALICE K JOHNSON                             8246 WHITCOMB                                                                                   DETROIT           MI    48228‐2254
EST OF ANDREW R KLOSOWSKI                          816 W LAKESIDE PL                                                                               HOFFMAN ESTATES   IL    60195‐2932

EST OF ANDREW V HERNANSKEY                         PO BOX 7704                                                                                     TEMPE             AZ    85281‐0024
EST OF BETTY BECKWITH                              427 RIVERVIEW CIRCLE                                                                            FLORENCE          AL    35630‐6019
EST OF BRUCE A WOOD                                ATTN RETHA J WOOD                      47‐734 HUI KELU #8                                       KANEOHE           HI    96744‐4577
EST OF CARL H GRINNEWALD                           1362 E‐M 89 LOT 53                                                                              OTSEGO            MI    49078‐9302
EST OF CHARLES F SMITH JR                          3021 HENRYDALE                                                                                  AUBURN HILLS      MI    48326‐3622
EST OF CHARLIE JACKSON JR                          18336 GREENWALD                                                                                 SOUTHFIELD        MI    48075‐5836
EST OF CLARENCE R BLAKEMORE                        431 W IROQUOIS                                                                                  PONTIAC           MI    48341‐2020
EST OF DANA C JUSTICE                              2297 S FENTON RD                                                                                HOLLY             MI    48442‐8333
EST OF DENNIS W DANIEL                             8290 N LINDEN RD                                                                                MT MORRIS         MI    48458‐9325
EST OF DORIS M HOWARD                              212 EVANS ST                                                                                    GLEN BURNIE       MD    21060‐6331
EST OF EARL FLYNN ROBERT EARL FLYNN & BETTY JEAN   PO BOX 75                                                                                       CANTON            IL    61520‐0075
KOST EX
EST OF EDGAR DALE WILLIAMS                         RURAL ROUTE 2                          BOX 114                                                  BELINGTON         WV    26250‐9530
EST OF FERRALD FRED WALLER JR                      C/O MARSHA WALLER BASNER               3324 E 30TH PL N                                         TULSA             OK    74115
EST OF FIDEL P GONZALES                            14931 PATTERSON DR                                                                              SHELBY TWP        MI    48315‐4940
EST OF FREDERICK LEE BLACKMON                      6210 BELLTREE                                                                                   FLINT             MI    48504‐1646
EST OF GERALD V HAGGADONE                          8877 HOLLAND                                                                                    TAYLOR            MI    48180‐1447
EST OF GORDAN J DOUGLAS                            29129 SOUTHGATE                                                                                 SOUTHFIELD        MI    48076‐1720
EST OF GORDON M GOODSON                            460 W BOLERO DR                                                                                 TEMPE             AZ    85284‐5237
EST OF HARRY WEST                                  15801 QUINCY                                                                                    DETROIT           MI    48238‐1386
EST OF IVAN L MOORED                               6655 JACKSON RD                        UNIT 461                                                 ANN ARBOR         MI    48103‐9578
EST OF JOHN MIKORYAK                               6435 WINONA                                                                                     ALLEN PARK        MI    48101‐2321
EST OF JOSEPH MAYWOOD                              2770 ATHENA DR                                                                                  TROY              MI    48083‐2411
EST OF KENNETH C MCLAUGHLIN                        18814 ROAD K R R 2                                                                              CLOVERDALE        OH    45827‐9652
EST OF LILLIAN PIPER                               C/O SMITH                              1607 S DRIVE SOUTH                                       FULTON            MI    49052‐9603
EST OF LONNIE C COMBS                              844 SHANEY LANE                                                                                 BROOKVILLE        OH    45309
EST OF LOUIS LOPRESTI                              4 VISTA VIEW CT                                                                                 KINGSVILLE        MD    21087‐1216
EST OF MARVIN PURIFOY III                          C/O JOYCE PURIFOY                      20201 CARRIE                                             DETROIT           MI    48234‐3075
EST OF MINLEY J COLLINS                            5048 IROQUIS                                                                                    DETROIT           MI    48213‐2948
EST OF NAPOLEAN NORMAN                             C/O CARR 485 ORCHARD LK RD                                                                      PONTIAC           MI    48053
EST OF NAPOLEON LEE ANTHONY JR                     3522 HOOVER AVE                                                                                 DAYTON            OH    45407‐1227
EST OF NORBERT L KAMINSKI                          4103 16TH ST                                                                                    DORR              MI    49323‐9401
EST OF PATRICIA M HARRIS                           3104 PARADISE DR                                                                                ANDERSON          IN    46012
EST OF PAUL CONWAY                                 2708 S 198TH AVE                                                                                BUCKEYE           AZ    85326‐6612
EST OF PETER J GRADY CLETA GRADY & PAUL A GRADY    177 MIDDLE RD                                                                                   BLUE POINT        NY    11715
EX
EST OF PHILLIP A LONG                              8270 DENWOOD DR                        APT 14                                                   STERLING HTS      MI    48312‐5966
EST OF RICHARD C PELTON                            213 SIERRA DRIVED                                                                               ST PETERSS        MO    63376‐4123
EST OF RICHARD E PRICE                             4695 E PICKERD                                                                                  MT PLEASANT       MI    48858‐2077
EST OF ROBERT L CARGILE                            1148 HOLLYWOOD AVE                                                                              CINCINNATI        OH    45224‐1561
EST OF SANDRA M FITZHUGH                           ATTN TONYA HILL                        PO BOX 207                                               SANDERSON         FL    32087‐0207
EST OF SHERRELL OLIVER LEWING                      4640 VOSS                                                                                       BOSSIER CITY      LA    71111‐2750
EST OF THOMAS G TALBOT                             236 KELL AVE                                                                                    STATEN ISLAND     NY    10314‐4114
EST OF THOMAS HUGH ADDY                            142 NUTTAL BRANCH                                                                               FENTON            MI    48430‐8798
EST OF VIRGIL D ROBERTS                            5461 WHIPPLE LAKE ROAD                                                                          CLARKSTON         MI    48348‐3058
EST OF WILLIAM F CLEEVE ELIZABETH M CLEEVE &       MIA MIA                                TEXAS QUEENSLAND                       4385 AUSTRALIA
WILLIAM J CLEEVE EX
ESTA F MANUEL                                      354 ROLLING HILLS DR                   WAVERLEY NS                            B2R 1B5 CANADA
ESTA GOLDMAN                                       7 ASTER DRIVE                                                                                   HICKSVILLE LI     NY    11801‐2002
ESTA HUNTER                                        811 GINGER LN                          #B                                                       SHERIDAN          IN    46069‐1701
ESTA M PADEN                                       115 CABRINI BOULEVARD                                                                           NEW YORK          NY    10033‐3425
ESTA MAYERSOHN                                     115 CABRINI BLVD                                                                                NEW YORK          NY    10033‐3425
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ESTA MERLE ADAMS                                 2752 EAST 150 S                                                                                          ANDERSON        IN    46017‐9583
ESTA N HAUGHEY                                   C/O DOROTHY W HAUGHEY                5661 SHARP RD                                                       DAYTON          OH    45432‐1744
ESTA SUE SWIFT                                   639 HOLLOWS CIR                                                                                          DEERFIELD BCH   FL    33442
ESTA W BROWN                                     BOX 15 ROUTE 2                                                                                           EMINENCE        MO    65466
ESTALENA JONES                                   621 ARMSTRONG ST                                                                                         TIPTON          IN    46072‐1510
ESTALENE D ALLEN                                 2411 HARRIS ST                                                                                           FERNDALE        MI    48220‐3018
ESTANISLAD HERNANDEZ                             1201 KINGSTON AVE                                                                                        FLINT           MI    48507‐4786
ESTANISLAO R CARBALLO                            2485 S W 25 ST                                                                                           MIAMI           FL    33133‐2206
ESTATE OF A GORDON WILLIS A GORDON WILLIS JR &   700 MADISON RD                                                                                           CULPEPER        VA    22701‐3326
LUCY W BAREFORD EXEC
ESTATE OF ALBERT A WETTENGEL                     C/O ALFRED C BOSSER                  115 N APPLETON ST                                                   APPLETON        WI    54911‐4701
ESTATE OF ALBERT G DUDASH                        20265 THOROFARE RD                                                                                       GROSSE ILE      MI    48138‐1228
ESTATE OF ASA F TODD                             1201 AVENUE F                                                                                            GARLAND         TX    75040‐6920
ESTATE OF AUGUSTAS P LARIMER                     1079 SOUTHERN HILLS DR                                                                                   BANNING         CA    92220‐5161
ESTATE OF BASIL N NICHOLS WITH BESSIE NICHOLS    20 BENNINGTON ST                                                                                         NEWTON          MA    02458‐1902
ADMRX
ESTATE OF BRUCE VANDERVEEN WITH ALICE M          APT 1‐A                              7932 W 93RD ST                                                      HICKORY HILLS   IL    60457‐2148
VANDERVEEN ADMIN
ESTATE OF CARL SCHULZE                           LISA SCHULZE                         C/O ANNEMARIE HOFFMANN   GRAF‐GERLACH‐STR 1 A   D‐65191 WIESBADEN
                                                                                                                                      GERMANY
ESTATE OF CHARLES L FREEMAN JR                   PO BOX 147                                                                                               JERSEY          GA    30018‐0147
ESTATE OF CHARLES R MEYER                        141 CR 1741                                                                                              LONGBRANCH      TX    75669‐3805
ESTATE OF CHARLES SOUDRIETTE WITH SARAH C        5874 BULLARD                                                                                             FENTON          MI    48430‐9410
CHRISTIE ADM
ESTATE OF CHARLES W DAUGHERTY                    716 GLEN AV                                                                                              MARSEILLES      IL    61341‐1130
ESTATE OF EVERETT L GULLIFORD                    5130 MC LAIN ST                                                                                          SWARTZ CREEK    MI    48473‐1217
ESTATE OF FRANK W WHITEHEAD                      C/O JEAN R SHAWYER                   2525 ELAM RD                                                        MURFREESBORO    TN    37127‐6134
ESTATE OF GEORGE FINE                            ATTN FINE                            50 GRAHAM ROAD                                                      SCARSDALE       NY    10583‐7256
ESTATE OF GEORGE FINE MINNIE ELKIN FINE &        50 GRAHAM ROAD                                                                                           SCARSDALE       NY    10583‐7256
FREDERICK D FINE EXEC
ESTATE OF IRVING T WRIGHT WITH DEBORAH H MC      17 MOUNT DR                                                                                              HOLMDEL         NJ    07733‐1335
GRATH EXTRX
ESTATE OF JAY E HOWERTER                         ATTN MRS K HOWERTER                  21380 ROBINSON                                                      FARMINGTON HILLS MI   48336‐5249

ESTATE OF JEAN C BASSETT WITH THOMAS CAMPBELL    PO DRAWER H                                                                                              ALBUQUERQUE     NM    87103‐0206
BASSETT EXTR
ESTATE OF JOHN C BOARD WITH ROSE CATHERINE       ROUTE 4 BOX 69‐B                                                                                         CHARLESTON      WV    25312‐9347
BURFORD AS ADM DBN
ESTATE OF JOHN LATOSKI                           C/O GENEVIEVE LATOSKI                4496 WARREN STREET                                                  BRIDGEPORT      MI    48722
ESTATE OF JOHN P BRISCOE                         DRAWER 40                                                                                                CHARLES TOWN    WV    25414‐0040
ESTATE OF JOSEPH F WENZEL                        HCR 1 BOX 367B                                                                                           BLUE EYE        MO    65611‐9624
ESTATE OF JULIA M SWOPE                          C/O RUSITZKY & RUSSELL               324 UNION ST                                                        NEW BEDFORD     MA    02740‐3664
ESTATE OF KENNETH H NELSON                       512 HUMBOLDT AVE                                                                                         SAINT PAUL      MN    55107‐4001
ESTATE OF LEOPOLD DE FUSCO                       35 CATHERINE ST                                                                                          TRUMBULL        CT    06611‐2403
ESTATE OF LESLIE M STONE                         5356 PACIFIC                                                                                             DETROIT         MI    48204‐4223
ESTATE OF LESTER E ECKLEY                        C/O IRMA E ECKLEY                    45 WETHERSTONE DRIVE                                                WEST SENECA     NY    14224‐2538
ESTATE OF MARGUERITE HUDDLE SLAUGHTER WITH       8314 SUMMERWOOD DRIVE                                                                                    AUSTIN          TX    78759‐8225
JAMES V ROBINSON IND EXTR
ESTATE OF MARION LEWIS MURDOCH WITH MARNIE       PO BOX 122                                                                                               SOUTH LYME      CT    06376‐0122
MURDOCH BRANN ADMR CTA
ESTATE OF MISS ANNA HOFER                        195 GARRETSON CIR                                                                                        MILLTOWN        NJ    08850‐1006
ESTATE OF MISS ANNE M DEVANNY                    C/O BEATRICE T HEVERAN               PO BOX 56                                                           DALTON          PA    18414‐0056
ESTATE OF MISS KATHERINE BRISCOE                 DRAWER 40                                                                                                CHARLESTOWN     WV    25414‐0040
ESTATE OF MORTON SELIGMAN WITH MARION            3701 W MCNAB RD 316                                                                                      POMPANO BEACH   FL    33069‐4936
SELIGMAN EXTRX
ESTATE OF OLGA C MOUNT                           ATTN ROBERT H MOUNT                  308 MESNARD ST                                                      HANCOCK         MI    49930‐2022
ESTATE OF PAUL E WOODARD                         1068 SUNSET HEIGHTS RD                                                                                   ESCONDIDO       CA    92026‐3345
ESTATE OF PEDRO RIVERA                           BLOQUE 29 1 SANTA ROSA               CALLE 11                 BAYAMON                619 PUERTO RICO
ESTATE OF RALPH E MILLER                         C/O MARY J MC GREEHAN                1045 EGAN AVE                                                       PACIFIC GROVE   CA    93950‐2407
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ESTATE OF RANDY SANTOS EXECUTOR                  SUITE 800                              17 ACADEMY ST                                                               NEWARK          NJ    07102‐2905
ESTATE OF ROLAND S FLEENER                       909 WASHINGTON PKWY #101                                                                                           ELWOOD          IN    46306
ESTATE OF ROSALIO TRUJILLO                       CALLE ARTEAGA #88                      SAN PEDRO COAHUILA         CP                    27800 MEXICO
ESTATE OF ROY F ANNETT                           81 W HUNTERS CREEK                                                                                                 LAPEER          MI    48446‐9468
ESTATE OF SAMUEL A MAILMAN ATTN SEAVEST INC      707 WESTCHESTER AVENUE                                                                                             WHITE PLAINS    NY    10604‐3102

ESTATE OF SILVESTRO MADDALENA                    VIA S PIETRO N 1                       CASTROPIGNANO CAMPOBASSO                         ITALY
ESTATE OF STEPHEN PECK                           ATTN MC CRACKEN ET AL                  LEVEL 3                    501 LA TROBE STREET   MELBOURNE 3000 AUSTRALIA

ESTATE OF SUE E WILLIAMS WITH WALLACE L WILLIAMS 258 SPRINGVIEW DR                                                                                                  GRAY            TN    37615‐3349
ADMR
ESTATE OF THOMAS G BYRNES WITH HENRY R BYRNES C/O MR H BYRNES                           66 MANOR AVE                                                                WATERBURY       CT    06705‐1204
AS ADM
ESTATE OF THOMAS H NEWSOME                       12 REVIVAL ST                                                                                                      ROSWELL         GA    30075‐4801
ESTATE OF THOMAS W SHULER                        PO BOX 21                                                                                                          CABIN CREEK     WV    25035‐0021
ESTATE OF U F BICKLEY                            C/O FRANK F WESSEL                     314 RENTSCHLER BLDG                                                         HAMILTON        OH    45011
ESTATE OF VINCENT DOBOSZ                         6044 S RUTHERFORD                                                                                                  CHICAGO         IL    60638‐4020
ESTATE OF WILBUR M SADLER WITH HARRIET H SADLER 11512 SOUTH 2950 WEST                                                                                               SOUTH JORDAN    UT    84095‐7958
ADMR
ESTATE OF WILLARD G ARNER                        ATTN RUTH H ARNER                      54 FOREST ST                                                                SAUGUS          MA    01906‐3238
ESTEBAN DAVILA                                   1641 E 36TH ST                                                                                                     LORAIN          OH    44055‐2501
ESTEBAN M JIMENEZ                                401 1ST AVE                                                                                                        PONTIAC         MI    48340‐2802
ESTEBAN O RAMOS                                  13410 SW 4TH TERR                                                                                                  MIAMI           FL    33184‐1153
ESTEBAN R SANCHEZ                                3525 FLAG DR                                                                                                       CENTERVILLE     TN    37033‐9387
ESTEBAN S CARDENAS                               3311 G ST                                                                                                          LORAIN          OH    44052‐2615
ESTEBAN SANDOVAL                                 3222 S PULASKI                                                                                                     CHICAGO         IL    60623‐4919
ESTEBAN VASQUEZ                                  12051 MORNING AVE                                                                                                  DOWNEY          CA    90242‐2323
ESTEE M BRAND & LINDA M BRAND JT TEN             526 VISTA GRANDE                                                                                                   NEWPORT BEACH   CA    92660‐4006
ESTEFANA CRUZ                                    C/O ANGELA ZELLER                      3436 ROREST GROVE                                                           TOLEDO          OH    43623
ESTEL DAVIS                                      865 ROCKCASTLE LAKESHORE DR                                                                                        CADIZ           KY    42211‐8041
ESTEL GOLDEN HUNT                                1630 CHARLES ST                                                                                                    ANDERSON        IN    46013‐2720
ESTEL L COOPER                                   36847 COTTONWOOD ST                                                                                                WINCHESTER      CA    92596‐8820
ESTEL LEE PARKS                                  765 CAPITOL BLVD                                                                                                   CORYDON         IN    47112‐1326
ESTEL S SEGAR                                    31658 STATE HWY CC                                                                                                 HAMILTON        MO    64644‐8143
ESTELA L DUENAS                                  327 KINGFISHER LANE                                                                                                ARLINGTON       TX    76002‐3391
ESTELA S PADILLA                                 16711 MARSH CREEK RD SPC 116                                                                                       CLAYTON         CA    94517‐9736
ESTELA T PANER                                   71 FT SAN LUIS AVE JUBILEEVILLE        MASAYA BAY LAGUNA                                4033 PHILIPPINES
ESTELITA JAVINEZ                                 32 KATE CIR                                                                                                        MIDDLE ISLAND   NY    11953‐2678
ESTELL MC GLOTHIN                                8 WEYMOUTH COURT                                                                                                   SAGINAW         MI    48601‐6950
ESTELL MCBRIDE                                   1937 PRINCETON AVE                                                                                                 LAWRENCEVILLE   NJ    08648‐4539
ESTELL RISBY                                     11606 ABLEWHITE                                                                                                    CLEVELAND       OH    44108‐1506
ESTELLA A IRBY                                   3716 PROVIDENCE PR                                                                                                 FLINT           MI    48503‐4549
ESTELLA E GROENKE TR LEONARD L & ESTELLA E       10566 MANDARINO AVE                                                                                                LAS VEGAS       NV    89135‐2402
GROENKE TRUST UA 06/03/92
ESTELLA G BUCKEL                                 2089 POINTER ROAD                                                                                                  WEST BRANCH     MI    48661
ESTELLA G ELLIOTT                                BOX 277                                                                                                            LEBANON         VA    24266‐0277
ESTELLA G VENUTO                                 18 ATLANTIC RD                                                                                                     PENNSVILLE      NJ    08070‐2722
ESTELLA GOULD                                    3228 WOLCOTT                                                                                                       FLINT           MI    48504‐3293
ESTELLA L ESTRADA                                4285 INDIANTOWN RD                                                                                                 SAGINAW         MI    48601‐9627
ESTELLA L FROST                                  425 EUCLID ST                                                                                                      SAINT LOUIS     MI    48880‐1929
ESTELLA L GOULD                                  3228 WOLCOTT                                                                                                       FLINT           MI    48504‐3293
ESTELLA L GOULD TOD LOUIS A GOULD                3228 WOLCOTT                                                                                                       FLINT           MI    48504‐3293
ESTELLA M DORSEY                                 821 W 15TH ST                                                                                                      ANDERSON        IN    46016‐3512
ESTELLA M STEVENS                                9770N 50W                                                                                                          FORTVILLE       IN    46040‐9312
ESTELLA OUSLEY                                   1968 AMERICAN WAY                                                                                                  HERMITAGE       PA    16148‐7706
ESTELLE A FORTIN TR ESTELLE A FORTIN TRUST UA    55 OAK CREEK DR                                                                                                    YORKVILLE       IL    60560‐9779
3/07/97
ESTELLE ALLEN                                    25596 SHIAWASSEE RD BLD 35 963                                                                                     SOUTHFIELD      MI    48033
ESTELLE AUTHIER DOHERTY                          10 WIGGINS POND LANE                                                                                               KENNEBUNK       ME    04043‐6701
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ESTELLE B GILLIKIN & O VINCENT GILLIKIN JT TEN      3366 WALNUT LN                                                                                   VIRGINIA BEACH    VA    23452‐6028
ESTELLE B LEMONS                                    476 LEE FORD CAMP RD                                                                             RIDGEWAY          VA    24148‐3602
ESTELLE B MOZICK                                    25 BETHMONT DR                                                                                   CLENDENIN         WV    25045‐9724
ESTELLE BRENMAN                                     648 W TIMBER BRANCH PKWY                                                                         ALEXANDRIA        VA    22302‐3614
ESTELLE C SETZER TR ESTELLE C SETZER REVOC LIVING   15723 DEERFIELD                                                                                  ORLAND PARK       IL    60462‐5951
TRUST UA 08/03/01
ESTELLE C STARK                                     6609 VIA CANADA                                                                                  RANCHO P V      CA      90275‐6556
ESTELLE CLIFFORD                                    704 JACKSON AVE                                                                                  ARDSLEY         PA      19038‐2605
ESTELLE D ALBERTS                                   41 CRANFORD TER                                                                                  CRANFORD        NJ      07016‐3453
ESTELLE DAMBERGER                                   389 E 271 ST ST                                                                                  EUCLID          OH      44132‐1709
ESTELLE DENNIS                                      2809 9TH AVE                                                                                     SOUTH MILWAUKEE WI      53172‐3219

ESTELLE E ANDERSON                                  150 ROYALL STREET                                                                                CANTON            MA    02021‐1031
ESTELLE E KEITH                                     500 RIVER PLACE DR                      APT 5423                                                 DETROIT           MI    48207‐5051
ESTELLE F KOOK                                      623 KENDALL DR                                                                                   BEAR              DE    19701‐3505
ESTELLE G CHITWOOD CUST W ESTELLE CHITWOOD          1907 SHUNNOR DRIVE                                                                               COLUMBUS          GA    31901
UGMA AL
ESTELLE G COHEN                                     220‐28 67TH AVE                                                                                  BAYSIDE           NY    11364‐2602
ESTELLE GOLDBERG                                    37 SOUTHWICK CT                                                                                  CHESHIRE          CT    06410‐3495
ESTELLE GOLDIN CUST MARTIN GOLDIN UGMA NY           466 FIRST ST                                                                                     BROOKLYN          NY    11215‐2606
ESTELLE H RUSTEBAKKE                                2563 42ND ST NE                                                                                  LARIMORE          ND    58251‐9512
ESTELLE H WINN                                      11 WREN GLEN COURT                                                                               HENDERSONVILLE    NC    28792‐2834
ESTELLE HILL                                        734 CASE AVE                                                                                     ELYRIA            OH    44035‐7206
ESTELLE I JUSSAUME                                  GILBOA ST                               PO BOX 567                                               EAST DOUGLAS      MA    01516‐0567
ESTELLE ISAACS & ROBERT ISAACS JT TEN               67‐62 SPRINGFIELD BLVD                                                                           BAYSIDE           NY    11364‐2630
ESTELLE J KELSEY TR ESTELLE J KELSEY UA 1/23/73     5008 LAKERIDGE TERR E                                                                            RENO              NV    89509‐5831
ESTELLE J OSTROVE                                   35 PEACOCK DRIVE                                                                                 ROSLYN            NY    11576‐2522
ESTELLE JENKINS & LINDA L KENDRICK JT TEN           2860 JACOB RD                                                                                    ATLANTIC BCH      FL    32233‐3000
ESTELLE K YARBROUGH CUST ELVIN P YARBROUGH IV       124 MARINE                                                                                       ST AUGUSTINE      FL    32804
UTMA FL
ESTELLE KACZMARSKI                                  324 ZIMMERMAN BLVD                                                                               BUFFALO           NY    14223‐1024
ESTELLE L DICK                                      3700 MIDDLETOWN ROAD                                                                             WAYNESVILLE       OH    45068‐9541
ESTELLE L SACH                                      551 BERRYPATCH LN                                                                                WHITE LAKE        MI    48386‐2006
ESTELLE L SACH & CYNTHIA J DELANO JT TEN            551 BERRYPATCH LN                                                                                WHITE LAKE        MI    48386‐2006
ESTELLE L SALBERG TR HENRY O SALBERG TRUST UA       6443 PETIT AVE                                                                                   VAN NUYS          CA    91406‐5621
10/24/89
ESTELLE L WHITE                                     866 ADAMSGROVE AVE                                                                               WALNUT            CA    91789‐3101
ESTELLE LEVITAS                                     3031 FAKKSTAFF RD APT 305                                                                        BALTIMORE         MD    21209
ESTELLE M HALLORAN                                  31467 SUNSET DRIVE                                                                               BEVERLY HILLS     MI    48025‐5108
ESTELLE M HANNA                                     51 RAMSGATE RD                                                                                   SAVANNAH          GA    31419‐3238
ESTELLE M LANDRY                                    8 ATLANTIC STREET                                                                                LOWELL            MA    01851
ESTELLE M TENCER CUST KARYNNE TENCER UGMA MI        7452 PEPPER CREEK                                                                                WEST BLOOMFIELD   MI    48322‐1072

ESTELLE MORE                                      3145 MURRAY HILL DR                                                                                SAGINAW           MI    48601‐5634
ESTELLE MURR                                      3 KENSINGTON COURT                                                                                 GARDEN CITY       NY    11530‐5305
ESTELLE N KONESNI                                 48 WRIGHTS CROSSING RD                                                                             POMFRET CENTER    CT    06259‐2224
ESTELLE OHNMEISS                                  933 FOREST AVE                            2ND                                                      STATEN ISLAND     NY    10310
ESTELLE R DE JARNETTE                             1285 CORNWALL RD                                                                                   DECATUR           GA    30032‐2525
ESTELLE W BRIGHT                                  629‐B WINDSOR WAY                                                                                  MONROE TWSP       NJ    08831‐2032
ESTELLE WALKER                                    5525 HILLSBORO                                                                                     DETROIT           MI    48204‐2937
ESTELLE WATERS BELL & GARRISON WARFIELD BELL JT 19310 CLUBHOUSE RD                                                                                   GAITHERSBURG      MD    20886‐3029
TEN
ESTELLE WEITZNER TR UA 06/12/86 BY ESTELLE        111 N POMPANO BEACH BLVD                  APT 1103                                                 POMPANO BEACH     FL    33062‐5716
WEITZNER
ESTELLE WILLIAMS TR ESTELLE WILLIAMS FAMILY TRUST 3135 TOWN SQUARE DR                                                                                ROLLING MEADOWS IL      60008‐2673
UA 11/09/95
ESTER B BRADFORD                                  285 RIDGE LAKE DR                                                                                  MONTGOMERY        TX    77316‐6865
ESTER C TANURY                                    630 LIVE OAK DRIVE                                                                                 ROCHESTER         MI    48309‐2318
ESTER G GUFFEY                                    7100 W CR 600 S                                                                                    DALEVILLE         IN    47334‐8925
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ESTER GARCIA                                     558 SUMMERVILLE DR                                                                            LAWRENCEVILLE      GA    30045‐4369
ESTER HONIG & JULES HONIG JT TEN                 7 PRINCETON DR                                                                                MANALAPAN          NJ    07726‐3226
ESTER JAFFE                                      APT D5                               1425 51ST ST                                             BROOKLYN           NY    11219‐3619
ESTER M JONES                                    4126 MILBOURNE AVE                                                                            FLINT              MI    48504‐3553
ESTER M SOWELL                                   3712 HASKEL                                                                                   KANSAS CITY        KS    66104‐3648
ESTER R GONZALEZ                                 9706 ANNETTA AVE                                                                              SOUTH GATE         CA    90280‐5144
ESTER V GAULDEN                                  421 BEECH PARK DR                                                                             GREENWOOD          IN    46142‐4055
ESTER V LYONS                                    24879 SAMOSET TUL                                                                             SOUTH FIELD        MI    48034
ESTERINA M HEITZMAN                              1949 BONA VISTA DR                                                                            CHARLESTON         WV    25311‐1335
ESTERLENE COLLIER                                1401 LOGAN ST S E                                                                             GRAND RAPIDS       MI    49506‐2706
ESTES E REECE                                    2118 HAMPTON‐LOCUST GROVE RD                                                                  LOCUST GROVE       GA    30248‐2007
ESTES F BONSOR                                   484 CONCORD STAGE RD                                                                          WEARE              NH    03281‐4742
ESTES GREGORY                                    6745 N COUNTY RD                     800 E                                                    LOSANTVILLE        IN    47354‐9628
ESTEVAN GARCIA JR                                702 N MAIN                                                                                    PAULDING           OH    45879‐1014
ESTEVAN REYES                                    4893 PONTIAC LAKE RD                                                                          WATERFORD          MI    48328‐2056
ESTEVAN VELA JR                                  670 W CARLA VISTA DRIVE                                                                       CHANDLER           AZ    85224‐4404
ESTEVAN VELA JR & JOYCE A VELA JT TEN            670 W CARLA VISTA DRIVE                                                                       CHANDLER           AZ    85224‐4404
ESTHER A COLLETT                                 816 BROAD ST                         # 10                                                     MERIDEN            CT    06450‐4364
ESTHER A FAITH                                   1441 N PINE ST                                                                                ROCHESTER HLS      MI    48307‐1137
ESTHER A GOODCHILD                               2272 N ELLSWORTH                                                                              SALEM              OH    44460‐9308
ESTHER A GORNY                                   622 RIVERVIEW DR                                                                              FRANKLIN           TN    37064‐5513
ESTHER A HOUSTINA & DARLENE F FAWCETT & NANCY C 1475 WINTHROP ROAD                                                                             BLOOMFIELD HILLS   MI    48302‐0682
HEATHMAN
ESTHER A LABIN                                   PO BOX 842                                                                                    WILLIAMSVILLE      NY    14231‐0842
ESTHER A LEWIS                                   8369 WINDSOR WAY                                                                              BROADVIEW HTS      OH    44147‐1793
ESTHER A ROUTSON                                 547 S MAIN ST                                                                                 MONROE             OH    45050‐1416
ESTHER A SLEDZINSKI                              4664 HOLMES DRIVE                                                                             WARREN             MI    48092‐1743
ESTHER A SODONIS TR UA 10/26/92 ESTHER A SODONIS 2709 BUCKINGHAM                                                                               BIRMINGHAM         MI    48009‐7555
REVOCABLE TRUST
ESTHER A ZYLSTRA‐MORSE                           5622 LONDONAIRY BLVD                                                                          HUDSON             OH    44236‐4317
ESTHER ALLEN                                     PO BOX 30006                                                                                  LOS ANGELES        CA    90030‐0006
ESTHER ANN DUROY                                 42 WALNUT                                                                                     NEWALLA            OK    74857‐8071
ESTHER ANNA SCHLEA                               APT B                                1010 CARRIAGE DRIVE                                      AIKEN              SC    29803‐5506
ESTHER B BOURASSA                                11027 DODGE RD                                                                                OTISVILLE          MI    48463‐9739
ESTHER B BRANDT                                  107 MAIN STREET                      PO BOX 344                                               MIDDLEBURG         PA    17842‐0344
ESTHER B LOSCHKE                                 9719 SAGAMORE RD                                                                              LEAWOOD            KS    66206‐2313
ESTHER B PRATHER                                 C/O MONICA A PATTY                   21900 FOXDEN LANE                                        LEESBURG           VA    20175‐6359
ESTHER B YATER                                   10191 TEN HIGH RD                                                                             POLAND             IN    47868‐7478
ESTHER BAKLENKO TR ESTHER BAKLENKO TRUST UA      11052 LORMAN DR                                                                               STERLING HTS       MI    48312‐4962
06/19/95
ESTHER BATTLE                                    1450 PRESIDENT ST                                                                             YELLOW SPRINGS     OH    45387‐1301
ESTHER BEHR IRVING BEHR & LYNDA J HORWITZ JT TEN 1174 LOS ALTOS AVE                   APT 264                                                  LOS ALTOS          CA    94022‐1065

ESTHER BIBERFELD                                4824 11TH AVE                                                                                  BROOKLYN           NY    11219‐2931
ESTHER BLOOM                                    1796 LKE AVE                                                                                   HIGHLAND PARK      IL    60035‐3360
ESTHER BROWN & STANLEY E BROWN & GEORGE         4108 EDMONDSON AVENUE                                                                          BALTIMORE          MD    21229‐1806
RUDOLPH BROWN JR JT TEN
ESTHER C BRADLEY                                216 NYS ROUTE 34B                                                                              KING FERRY         NY    13081
ESTHER C BROWN                                  6416 OCONNOR DR                                                                                LOCKPORT           NY    14094‐6516
ESTHER C FRANCE                                 3508 W RIVERSIDE AVE                                                                           MUNCIE             IN    47304‐3865
ESTHER C JANOWSKY                               235 HUNTINGTON DRIVE                                                                           CHAPEL HILL        NC    27514‐2419
ESTHER C PERKINS                                45 NORTH BARTRAM AVE                                                                           ATLANTIC CITY      NJ    08401‐3305
ESTHER C SCHRUMPF & ERWIN L SCHRUMPF JT TEN     60 HUDSON LN                                                                                   WINDSOR            CT    06095‐1845

ESTHER CERONE                                   3293 JESSICA ST                                                                                NEWBURY PARK       CA    91320‐4402
ESTHER CLIFFORD CUST MICHAEL CLIFFORD UGMA NY   205 WILLIAM FEATHER DR                                                                         VOORHEES           NJ    08043‐2995

ESTHER COLBRAN CUST EMMA V B COLBRAN UTMA NY    172 BREWSTER RD                                                                                SCARSDALE          NY    10583
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ESTHER CORDING DAVIS                              5 GRANDVIEW AVE                                                                                 PITTSBURGH         PA    15211‐1610
ESTHER CORNDIA HOOKS                              1910 SOUTH AVERILL                                                                              FLINT              MI    48503‐4404
ESTHER CYBULSKI                                   25308 MARSHALL                                                                                  DEARBORN           MI    48124‐1217
ESTHER D MURRAY                                   429 KETCHIKAN                                                                                   FAIRBANKS          AK    99701‐3736
ESTHER D RAMSEY & ELIZABETH RAMSEY O'CONNOR JT    30 SURREY FIELD DR                                                                              QUEENSBURY         NY    12804‐8708
TEN
ESTHER D TODD                                     9373 W ESCUDA DR                                                                                PEORIA             AZ    85382‐0979
ESTHER DOLORES EDWARDS                            6777 BUCKING HAM CT                                                                             NAPLES             FL    34104‐8369
ESTHER E DIEHL                                    1663 CARTER LN                                                                                  BOWLING GREEN      KY    42103‐9039
ESTHER E HORVATH                                  524 LINCOLN                                                                                     LINCOLN PK         MI    48146‐2818
ESTHER E LOMBARDI & ANDREW R WANGELIN JT TEN      3851 MILL RD                                                                                    SEAFORD            NY    11783

ESTHER E LOMBARDI & ELLEN J WANGELIN JT TEN       3851 MILL RD                                                                                    SEAFORD            NY    11783
ESTHER E LOMBARDI & EMILY A WANGELIN JT TEN       3851 MILL RD                                                                                    SEAFORD            NY    11783
ESTHER E LOMBARDI & PAUL J LOMBARDI JT TEN        3851 MILL RD                                                                                    SEAFORD            NY    11783
ESTHER E LOMBARDI & ZACHERY J LOMBARDI JT TEN     3851 MILL ROAD                                                                                  SEAFORD            NY    11783

ESTHER E MILLER & DIANE L PISCIOTTO JT TEN       2 CLUB HOUSE LN                                                                                  MANORVILLE         NY    11949‐2825
ESTHER E NEALE                                   160 RAILROAD AVENUE                                                                              MONROEVILLE        NJ    08343‐2813
ESTHER E NEWS TOD TIMOTHY B HERSH SUBJECT TO STA 20451 POWELL RD LOT 48                                                                           DUNNELLON          FL    34431
TOD RULES
ESTHER E OKADA TR ESTHER E OKADA REV TRUST UA    754 EKELA AVENUE APT 502                                                                         HONOLULU           HI    96822
04/07/00
ESTHER E RICHARDSON                              3811 MALCOLM AVE                                                                                 OAKLAND            CA    94605‐5462
ESTHER ESCKELSON                                 652 HAZEL RD                                                                                     VASSAR             MI    48768‐1417
ESTHER F BENNETT                                 219 LODY LANE                                                                                    KOKOMO             IN    46901‐4103
ESTHER F RICHARDSON                              19 EASTON CT                                                                                     ORINDA             CA    94563‐3608
ESTHER FISCHER                                   3520 S DRUMM                                                                                     INDEPENDENCE       MO    64055‐3532
ESTHER G MEYER                                   APT 11E                                 230 S BRENTWOOD BLVD                                     CLAYTON            MO    63105‐1637
ESTHER GAINES                                    600 LAKEVIEW AVE                                                                                 ROCKVILLE CENTRE   NY    11570‐3224

ESTHER GARBINSKI                                  6121 GRAYSFORD PL                                                                               FORT WAYNE         IN    46835‐4719
ESTHER GERRARD LEATHERS                           602 INDIANA AVE                                                                                 ANDERSON           IN    46012‐2314
ESTHER GERTRUDE RODGERSON                         4525 SO‐HI BLVD                                                                                 KINGMAN            AZ    86401
ESTHER GILES GDN MOSHE AARON WILNER               73‐70 199TH ST                                                                                  FLUSHING           NY    11366‐1823
ESTHER GILLIES RALLEY                             51 BRAECREST AVE                       WESTON ON                              M9P 1Z6 CANADA
ESTHER GONZALEZ                                   112 ROLLING DRIVE                                                                               NEWARK             DE    19713‐2022
ESTHER GRACE BARBANI & ADELINE BARBANI JT TEN     31046 GLOEDE DR                                                                                 WARREN             MI    48088‐2051

ESTHER GRADY                                     3319 S 100TH ST APT 23                                                                           MILWAUKEE          WI    53227‐4265
ESTHER GREEN                                     1‐D VIA CASTILLA                                                                                 LAGUNA HILLS       CA    92653‐3701
ESTHER GUZZARDO TR BENNIE A GUZZARDO TRUST UA 3108 E 19TH ST                                                                                      STERLING           IL    61081
11/02/87
ESTHER H REGAN TR ESTHER H REGAN REVOCABLE       1509 LECLAIR CT                                                                                  SILVER SPRING      MD    20906‐2167
TRUST UA 05/06/99
ESTHER H WALLACE TR UA 10/21/92 ESTHER H WALLACE 95 JOHANNA CIR                                                                                   SOUTHINGTON        CT    06489‐1223

ESTHER HEATH GRIFFIN                               90 LISA LANE DHR                                                                               OKEECHOBEE         FL    34974
ESTHER I KESSLER TR ESTHER I KESSLER TRUST UA      2323 F ST                                                                                      EUREKA             CA    95501‐4131
07/24/02
ESTHER I MARTIN TR ESTHER I MARTIN LIVING TRUST UA 100 ELM STREET                                                                                 HILLSIDE           IL    60162‐1580
06/17/04
ESTHER I STILL                                     1252 BARTON LN                                                                                 LEBANON            OH    45036‐7933
ESTHER I TORPEY TOD JUDY K YOKOM SUBJECT TO STA 5486 SHERIDAN AVE                                                                                 FLUSHING           MI    48433‐9713
TOD RULES
ESTHER J EARLEY                                    2060 LA MER LN                                                                                 HASLETT            MI    48840‐9565
ESTHER J ELLIS                                     2569 WILLIAMSBURG DR                                                                           DECATUR            GA    30034‐1351
ESTHER J FARNUM                                    19 BLACK ISLAND RD                                                                             OXFORD             ME    04270‐4819
ESTHER J JACQUEZ                                   16726 SPRING BARKER DR                                                                         CYPRESS            TX    77429‐6934
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

ESTHER J JOHNSON                                  25 QUAIL NEST RUN                                                                               HARWICH            MA    02645‐2001
ESTHER J PETERSEN                                 665 ARDMORE DR                                                                                  GOLETA             CA    93117
ESTHER J RUSSELL                                  11 ALMOND DR                                                                                    OCALA              FL    34472‐9008
ESTHER JARANIAN & ALAN BRUCE JARANIAN JT TEN      24 BRENTWOOD RD                                                                                 CHELMSFORD         MA    01824‐1334

ESTHER JEAN BERICK                                 74 LAURIE MEADOWS DR APT 3                                                                     SAN MATEO          CA    94403‐4678
ESTHER JOHNSON                                     3 JEFFERSON ST                                                                                 LAMBERTVILLE       NJ    08530‐1603
ESTHER K LEE TR UA 05/10/2004 LEE FAMILY REVOCABLE 2362 N SANDUSKY RD                                                                             SANDUSKY           MI    48471
TRUST
ESTHER K LEPPICH                                   14558 NE 4TH PL                                                                                BELLEVUE           WA    98007‐4913
ESTHER K PATTON                                    726 MAPLE AVE                                                                                  ATCO               NJ    08004
ESTHER K WALKER                                    8923 S UNIVERSITY AVE                                                                          CHICAGO            IL    60619‐7021
ESTHER KAPLINSKY & MARK KAPLINSKY JT TEN           1444 E 15TH ST                                                                                 BROOKLYN           NY    11230‐6602
ESTHER KARZEWSKI & DONNA M KARCZEWSKI JT TEN       121 CONCORD DR                                                                                 CHEEKTOWAGA        NY    14215‐1944

ESTHER KASSAB TR ESTHER KASSAB REVOCABLE LIVING   5044 CHARING CROSS RD                                                                           BLOOMFIELD HILLS   MI    48302
TRUST UA 01/29/98
ESTHER KESSLER                                    1 74TH ST                                                                                       BROOKLYN           NY    11209‐1858
ESTHER KOURY & EDWARD N KOURY JT TEN              27 WEST BROADWAY                                                                                ONEONTA            NY    13820‐2223
ESTHER KOURY & EDWARD N KOURY JT TEN              27 WEST BROADWAY                                                                                ONEONTA            NY    13820‐2223
ESTHER L BELL                                     520 HANOVER DR                                                                                  ALLEN              TX    75002‐4029
ESTHER L BERGDOLT & HAROLD M BERGDOLT JT TEN      6075 S DEHMEL RD                                                                                FRANKENMUTH        MI    48734‐9527

ESTHER L BOYER & GREGORY G SKINNER JT TEN         1 MARCH WINDS CT                                                                                GREER              SC    29650‐3214
ESTHER L BUCHE                                    4680 OLDS RD                                                                                    ONONDAGA           MI    49264‐9706
ESTHER L CADDELL                                  437 LINDA VISTA                                                                                 PONTIAC            MI    48342‐1745
ESTHER L CHUBOFF                                  PO BOX 151                                                                                      CLINTON            CT    06413‐0151
ESTHER L DOLMAN                                   402 VERMONTVILLE HWY                                                                            POTTERVILLE        MI    48876
ESTHER L FRIEL                                    PO BOX 182                                                                                      LESLIE             MI    49251‐0182
ESTHER L GOLDMAN TR HILLEL GOLDMAN UA 3/16/76     3 LAKECREST DR                                                                                  DANBURY            CT    06811‐4251

ESTHER L GOLVER                                   1250 W PIONEER PKWY APT 1510                                                                    ARLINGTON          TX    76013‐6291
ESTHER L HATTER                                   2018 E SPINNING WHEEL LANE                                                                      BLMFIELD HLS       MI    48013
ESTHER L HOKE                                     2706 SAN JACINTO                                                                                PASADENA           TX    77502‐4432
ESTHER L JACKSON                                  560 KINNEVILLE RD                                                                               LESLIE             MI    49251
ESTHER L KARNS                                    2921 VILLAGE GREEN LANE                                                                         NORRISTOWN         PA    19403‐1238
ESTHER L KOBOLDT & HARLAN W KOBOLDT JT TEN        2877 CLAYBURN ST                                                                                SAGINAW            MI    48603‐3156

ESTHER L LA JOY                                  10165 CARLEE JUNE DRIVE                                                                          FENTON             MI    48430‐9445
ESTHER L LARSON                                  1253 NIBLOCK                                                                                     WARREN             OH    44485‐2138
ESTHER L MIDGETT                                 PO BOX 1004                                                                                      JONES              OK    73049‐1004
ESTHER L SEGEL                                   1133 MICHIGAN AVE                                                                                WILMETTE           IL    60091‐1975
ESTHER L SEGEL & RALPH E SEGEL TR UW JOHN F      1133 MICHIGAN AVE                                                                                WILMETTE           IL    60091‐1975
SPRENKEL
ESTHER L SMITH                                   720 W 4TH ST                                                                                     ADA                OK    74820‐3206
ESTHER L SONNEFELD                               1276 NATIONAL RD                        APT 208                                                  WHEELING           WV    26003‐5771
ESTHER L TANNEHILL & VERLAND DON WILLIAMS JT TEN 3151 ALBA HWY                                                                                    MANCELONA          MI    49659‐8786

ESTHER L TEMPLE                                    59 MAYRANT BLUFF LN #62                                                                        GEORGETOWN         SC    29440‐7518
ESTHER L THRASHER                                  2712 N 500 W                                                                                   ANDERSON           IN    46011‐8786
ESTHER L TUPINO                                    3509 FLAGLER AVE                                                                               KEY WEST           FL    33040‐4609
ESTHER L WENNER TR WENNER FAM TRUST UA             3185 E FLAMINGO RD                    APT 221                                                  LAS VEGAS          NV    89121‐7435
04/02/93
ESTHER LORRAINE BURGOYNE                           16 PORTSIDE DRIVE                                                                              MASHPEE            MA    02649
ESTHER LOUISE SEGEL & RALPH E SEGEL TR UW ESTHER L 1133 MICHIGAN AVE                                                                              WILMETTE           IL    60091‐1975
SPRENKEL
ESTHER LYLES                                       606 CLINTON ST                        APT 3A                                                   BROOKLYN           NY    11231
ESTHER M ARSENAULT                                 191 WISWALL RD                                                                                 NEWTON CENTER      MA    02459‐3530
ESTHER M BLAKESLEE                                 3030 SANGRA AVE SW                    STE 105                                                  GRANDVILLE         MI    49418‐2723
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Name                                                 Address1                               Address2                    Address3   Address4          City            State Zip

ESTHER M BONILLA                              ATTN ESTHER M HERNANDEZ                       4266 MONROE                                              WATERFORD       MI    48329‐4135
ESTHER M BROWN                                10536 ELK AVE                                                                                          CLEVELAND       OH    44108‐1312
ESTHER M ELSTON                               75 WILLOWBROOK RD                                                                                      ROCHESTER       NY    14616‐2801
ESTHER M FALDE                                PO BOX 432                                                                                             CAPTIVA         FL    33924‐0432
ESTHER M GRISSOM                              3817 CLEAR BROOK CIRCLE                                                                                FORT WORTH      TX    76123
ESTHER M HOLLAND                              538 LANKAMP ST N W                                                                                     GRAND RAPIDS    MI    49544‐1941
ESTHER M HUNTER                               36 BITTERSWEET RD                                                                                      FAIRPORT        NY    14450‐3233
ESTHER M JACKSON                              4919 ETNA RD                                                                                           COLUMBUS        OH    43213‐2437
ESTHER M KELLY                                4494 PEKIN RD                                                                                          WAYNESVILLE     OH    45068‐9546
ESTHER M KING                                 1301 N RITTER AVE APT 114                                                                              INDAIANAPOLIS   IN    46219‐3056
ESTHER M LANGDON                              1110 GRAHAM RD                                                                                         FLINT           MI    48532‐3533
ESTHER M MAST                                 991 PHODES AVE                                                                                         SARASOTA        FL    34237
ESTHER M NONNI                                245 COTTAGE PARK ROAD                                                                                  WINTHROP        MA    02152‐2212
ESTHER M OSBORN & RONALD G OSBORN JT TEN      5112 TORREY RD                                                                                         FLINT           MI    48507
ESTHER M ROLANDO                              3616 N HURON RD                                                                                        PINCONNING      MI    48650‐7914
ESTHER M ROZELLE                              1287 WILD GOOSE CT                                                                                     CENTERVILLE     OH    45458‐2776
ESTHER M SELHORST                             4838 RD 7 RT 2                                                                                         LEIPSIC         OH    45856‐9496
ESTHER M TINNON                               10130 CROCUSLAWN                                                                                       DETROIT         MI    48204‐2593
ESTHER M VERLICH & MARLENE M V CRAIG JT TEN   4002 NOTTINGHAM WAY                                                                                    HAMELTON SQR    NJ    08690‐3808
ESTHER M WASHBURN TOD CAROL RAGUSA SUBJECT TO 4495 CALKINS RD                               APT 232                                                  FLINT           MI    48532‐3576
STA TOD RULES
ESTHER M WILSON                               16 ENCORE LN                                                                                           DOVER           DE    19901
ESTHER M ZUBER                                104 SIMPSON ST                                                                                         WILKES BARRE    PA    18702‐1422
ESTHER MAE FELDMANN                           625 EVERETT ST                                                                                         LAKEWOOD        CO    80215‐5416
ESTHER MARIE MARTYN                           18 BRIARCLIFF LANE                                                                                     GLEN COVE       NY    11542‐3100
ESTHER MARTINEZ                               1340 RING RD                                  APT 510                                                  CALUMET CITY    IL    60409‐5424
ESTHER MARY DIAZ                              58220 MAIN ST BOX 342                                                                                  NEW HAVEN       MI    48048‐0342
ESTHER MASTERS                                5185 ST AMBROSE CHURCH ROAD                                                                            ELKTON          FL    32033‐2816
ESTHER MEYER                                  HERCYNIASTR 21                                D‐75173 PFORZHEIM/GERMANY              GERMANY
ESTHER N BEAL                                 110 FERRIS HLS                                                                                         CANANDAIGUA     NY    14424‐3202
ESTHER N ETHRIDGE                             3526 ARLINGTON CT                                                                                      LAPEER          MI    48446‐2801
ESTHER NASH                                   7420 E QUINCY AVE SUITE 401                                                                            DENVER          CO    80237
ESTHER NEERENBERG                             6389 REFLECTION POINT CIRCLE                                                                           BOYNTON BEACH   FL    33437
ESTHER O WYNDER                               825 FIRST ST                                                                                           FENTON          MI    48430‐4104
ESTHER OLSON                                  24728 S MELISSA DR                                                                                     DETROIT LAKES   MN    56501‐7236
ESTHER P COTRISS                              11630 RIDGE RD                                                                                         MEDINA          NY    14103‐9635
ESTHER P ENGSTER                              3490 ATLANTIC ST NE                                                                                    WARREN          OH    44483‐4543
ESTHER P MYERS                                5414 PATTERSON LN                                                                                      ANDERSON        IN    46017‐9567
ESTHER Q LAWRENCE                             6732 S CRANDON AVE                                                                                     CHICAGO         IL    60649‐1215
ESTHER R ARCO                                 26030 DOVER                                                                                            WARREN          MI    48089
ESTHER R BLONDIN                              3971 WHIPPERWILL                                                                                       SPRUCE          MI    48762‐9752
ESTHER R CARPENTER & DAVID G CARPENTER JT TEN 4795 WESTNEDGE AVE NW                                                                                  COMSTOCK PARK   MI    49321‐9318

ESTHER R HARIG                                       1042 1ST ST NW                                                                                  GRAND RAPIDS    MI    49504‐5083
ESTHER R HERDEG                                      37 HOWARD ST                                                                                    HAMILTON        MA    01982‐1649
ESTHER R KENNUTH                                     24 PRAIRIE AVE                                                                                  BUFFALO         NY    14207‐1418
ESTHER R LAWRENCE                                    473 CALISTA ROAD                                                                                WHITE HOUSE     TN    37188‐9156
ESTHER R WOOD                                        3985 37TH ST EXTN                                                                               BEAVER FALLS    PA    15010‐1173
ESTHER ROSE AUGUST TR ESTHER ROSE AUGUST TRUST       4748 HALBRENT AVE                                                                               SHERMAN OAKS    CA    91403‐2420
UA 11/09/93
ESTHER ROSS                                          706 CLAFLIN AVE                                                                                 MAMARONECK      NY    10543‐4405
ESTHER S PAGE                                        PO BOX 688                                                                                      PENNS GROVE     NJ    08069‐0688
ESTHER S SHIFF TR ESTHER S SHIFF TRUST UA 05/08/91   340 W DIVERSEY PKWY                    APT2816                                                  CHICAGO         IL    60657

ESTHER S SHIFF TR UA 11/01/85 ESTHER S SHIFF TRUST   1167 PELTON RD                                                                                  FOSTORIA        OH    44830‐9760

ESTHER S STOOPS                                      725 ALPINE DR                                                                                   ANDERSON        IN    46013‐5001
ESTHER S TAJIMA                                      235 E 40TH STREET 31D                                                                           NEW YORK        NY    10016‐1754
ESTHER S TANDY                                       PO BOX 3261                                                                                     LEXINGTON       OH    44904‐0261
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ESTHER S TISDALLE                                  1516 CANYON LAKE                                                                                        SANTA ANA         CA    92705‐6910
ESTHER SATHER                                      300 10TH AVE SE                       #3                                                                FAIRFAX           MN    55332‐2149
ESTHER SEIDEN                                      APT 10                                8 SHIMONI ST               92623 JERUSALEM   ISRAEL
ESTHER SIA                                         589 BARDINI DR                                                                                          MELVILLE          NY    11747‐5263
ESTHER SIMON FRIEDLAND                             43 STANFORD AVE                                                                                         WEST ORANGE       NJ    07052
ESTHER SUGAWARA & MAY BARROWS JT TEN               3711 SUNDALE RD                                                                                         LAFAYETTE         CA    94549‐3503
ESTHER SWANSON & ABBIEGAIL ISENHATH JT TEN         609 WOODWORTH AVENUE                                                                                    ALMA              MI    48801‐1746
ESTHER T JONES                                     2207 PICKERING ST                                                                                       E LIVERPOOL       OH    43920‐1362
ESTHER T MERLO                                     25 HARRISON TERR                                                                                        ROCHESTER         NY    14617‐1205
ESTHER T MURIEL                                    VILLA PRADES                          681 A CHAVIER ST                                                  SAN JUAN          PR    00924‐2214
ESTHER T ROCHE                                     7027 MAPLE TER                                                                                          WAUWATOSA         WI    53213‐3127
ESTHER T TORRALVA‐BEAK                             319 SYRINGA DR                                                                                          LANSING           MI    48910‐7447
ESTHER THOMAS TR UA 07/12/1996 THOMAS FAMILY       905 1ST AVE N W                                                                                         LARGO             FL    33770
TRUST
ESTHER TRUITT DUNCAN                               686 SPRINGLINE DR                                                                                       NAPLES            FL    34102‐5061
ESTHER V BULLOCK                                   420 SOUTH ST                                                                                            GENEVA            IL    60134‐2659
ESTHER V PUTMAN                                    1440 N LAKE SHORE DR #29A                                                                               CHICAGO           IL    60610‐1626
ESTHER V STROEBEL                                  1309 MONROE VILLAGE                                                                                     MONROE            NJ    08831‐1930
                                                                                                                                                           TOWNSHIP
ESTHER VIOLA REESE                                 16809 FENMORE ST                                                                                        DETROIT           MI    48235‐3339
ESTHER W BERG                                      22341 N BROOKSIDE WAY                                                                                   LAKE BARRINGTON   IL    60010‐5943

ESTHER W CHURCH                                    686 42ND ST                                                                                             LOS ALAMOS        NM    87544‐1803
ESTHER W GELLENBECK                                671 LAKESIDE CIRCLE #203                                                                                POMPANO BEACH     FL    33060‐3712
ESTHER W PETERS‐WILSON                             6440 AFTON                                                                                              DAYTON            OH    45415‐1834
ESTHER WELLES GREENE                               172 HODSDON RD                                                                                          POWNAL CENTER     ME    04069‐6402
ESTHER WIGLE & JOSEFINA DE PAZ JT TEN              9840 CARTER                                                                                             ALLEN PARK        MI    48101‐1341
ESTIE MARIE PHIPPS TOD R KEITH PHIPPS SUBJECT TO   303 DOWNING PLACE                                                                                       ENGLEWOOD         OH    45322
STA TOD RULES
ESTIL G DUNCAN                                     2076 W 32 ST                                                                                            CLEVELAND         OH    44113‐4018
ESTIL R COLEMAN                                    1305 DIANA                                                                                              MADISON HTS       MI    48071‐2916
ESTILL B CRAWFORD TR CATHERINE C CRAWFORD FAM      PO BOX 35901                                                                                            LAS VEGAS         NV    89133‐5901
TRUST UA 06/11/96
ESTILL E SMITH                                     1146 BEAUMONT AVE                                                                                       DAYTON            OH    45410‐1916
ESTILL JOHNSON                                     18981 KENOSHA                                                                                           HARPER WOODS      MI    48225‐2129
ESTILL L MALLORY                                   5391 E Q AVE                                                                                            KALAMAZOO         MI    49048‐9779
ESTINE ESTES                                       2139 OWENDALE DR                                                                                        DAYTON            OH    45439‐2635
ESTINE T WALLS                                     9920 W GREENVILLE FALLS RD                                                                              COVINGTON         OH    45318‐8903
ESTLE STOUGHTON                                    BOX 103                                                                                                 SEDALIA           OH    43151‐0103
ESTO JACKSON                                       7341 COLLEGE                                                                                            KANSAS CITY       MO    64132‐1975
ESTON L RODGERS III                                403 DELLROSE CIRCLE                                                                                     TAYLORS           SC    29687‐3809
ESTRELLITA YOUNG                                   1103 EAST WILSON AVE                                                                                    LOMBARD           IL    60148‐3763
ESTUS J HUMPHREY                                   223 ABRAMS ROAD                                                                                         ROCKFORD          TN    37853‐3233
ESTUS S PACK                                       441 W FIRST ST                                                                                          BLUE RIDGE        GA    30513‐4582
ESTYNE HACHENBURG                                  FORGE HILL                            4 FORGE HILL RD APT 1154                                          FRANKLIN          MA    02038‐3179
ETALO VAI & ANN VAI JT TEN                         2116 E WHEAT ROAD                                                                                       VINELAND          NJ    08361‐2575
ETERNAL LIFE LUTHERAN CHURCH                       7025 E MAIN ST                                                                                          MESA              AZ    85207‐8211
ETHAN A COLSON                                     423 W OLIVE ST                                                                                          FORT COLLINS      CO    80521‐2631
ETHAN DAVID IRWIN                                  35 INTERLAKEN DR                                                                                        EAST CHESTER      NY    10709‐1529
ETHAN J BROCK                                      979 FISHER RD                                                                                           GROSSE POINTE     MI    48230‐1204
ETHAN JACKSON                                      1311 MAYFIELD DR                      UNIT 307                                                          AMES              IA    50014‐5551
ETHAN JON BERGER                                   256 PENBROOKE DR                                                                                        PENFIELD          NY    14526‐2022
ETHAN LOUIS WESTERBURG                             1792 WILTON RD                                                                                          CLEVELAND         OH    44118‐1627
ETHAN S OSER                                       106 JAY DR                                                                                              ROCKVILLE         MD    20850‐4709
ETHAN SNIDER                                       119 THELMA DR                                                                                           ROTONDA WEST      FL    33947‐3818
ETHEL A CROCKFORD                                  35 FLAT ROCK ROAD EXT                                                                                   BRANFORD          CT    06405‐3357
ETHEL A DAVIS                                      3008 LAKE TERRACE DR                                                                                    CORINTH           MS    38834‐2011
ETHEL A DE VINCENT                                 8190 EDINBORO RD                                                                                        ERIE              PA    16509‐4469
ETHEL A DILLON                                     440 RICHARD RD                                                                                          COLLINSVILLE      VA    24078
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Name                                               Address1                             Address2             Address3          Address4          City            State Zip

ETHEL A LEMONS                                     243 E AIKEN RD                                                                                EDEN            NC    27288‐2203
ETHEL A MACAULAY                                   4206 W 220TH ST                                                                               CLEVELAND       OH    44126‐1816
ETHEL A NOVAK CUST PAMELA NOVAK UGMA IL            21102 LILY LAKE COURT                                                                         CREST HILL      IL    60435‐0749
ETHEL A PAPASTRAT                                  10 SPRUCE ST                                                                                  SIDNEY          NY    13838‐1627
ETHEL A TATAR                                      4843 CALAIS DR                                                                                HOLIDAY         FL    34690‐5845
ETHEL ADKINS                                       626 NORTH WAYNE STREET                                                                        WARREN          IN    46792‐9457
ETHEL ADKINS                                       14987 ELWELL RD                                                                               BELLEVILLE      MI    48111‐4292
ETHEL B ARMOUR                                     119 W CHAPPELL ST                                                                             GRIFFIN         GA    30223‐2922
ETHEL B HICKS & EDWARD HICKS JR JT TEN             243 W CONGRESS ST                    STE 350                                                  DETROIT         MI    48226‐3262
ETHEL B MOORE                                      558 SOUTH AVE                                                                                 BRIDGETON       NJ    08302‐3251
ETHEL B WASHINGTON TR UA 10/31/92 ETHEL B          26 PEASE ST                                                                                   MT VERNON       NY    10553‐1402
WASHINGTON FAMILY TRUST
ETHEL BEVERLY                                      821 E REMINGTON                                                                               SAGINAW         MI    48601‐2656
ETHEL BEVIS                                        C‐O RIVERHEAD CARE CENTER            1146 WOODCREST AVE                                       RIVERHEAD       NY    11901
ETHEL BURNS CUST BRIANNA GREEN UGMA MI             5629 JUSTIN CT                                                                                YPSILANTI       MI    48197‐6778
ETHEL C BIERUT & SHIRLEY R KRISE JT TEN            8929 SW 94TH STREET UNIT G                                                                    OCALA           FL    34481
ETHEL C FLIPPIN                                    1060 SHOWALTER DR APT 311                                                                     BLACKSBURG      VA    24060‐6243
ETHEL C KIMBALL TR UA 09/07/2007 ETHEL C KIMBALL   PO BOX 1365                                                                                   HILLSBOROUGH    NH    03244
REVOCABLE TRUST
ETHEL C MORRIS                                     32149 TREFRY CT                                                                               UNION CITY      CA    94587‐2920
ETHEL C NELSON & ARLENE M REMNANT JT TEN           2557 NEPTUNE PLACE                                                                            PORT HUENEME    CA    93041
ETHEL C PENTZ                                      14409 SUNRISE CT                     # 102                                                    LEO             IN    46765‐9515
ETHEL CARLYN & ETHEL CARLYN TRUST UA 11/06/95      5280 LAS VERDES CIR                  APT 312                                                  DELRAY BEACH    FL    33484‐8086

ETHEL CARMICHAEL GARNER                        12314 NORTH 125 W                                                                                 ALEXANDRIA      IN    46001‐8528
ETHEL CAUDILL                                  7865 42 WAY N                                                                                     PINELLAS PARK   FL    33781‐2517
ETHEL CAVERLY                                  75 REGENCY DR                                                                                     GRAND ISLAND    NY    14072‐3203
ETHEL CHRISTIAN                                5648CROWN                                                                                         WESTLAND        MI    48185‐2245
ETHEL CHRISTOPHER                              214 LOCUST ST                                                                                     ANACONDA        MT    59711‐2218
ETHEL D APPERSON                               21 RIVER RD                                                                                       MATTAPOISETT    MA    02739‐1408
ETHEL D DELBEKE & GARY P DELBEKE JT TEN        54473 CAMBRIDGE DR                                                                                SHELBY TWP      MI    48315‐1610
ETHEL D WENG                                   1123 STONEHENGE RD                                                                                FLINT           MI    48532‐3222
ETHEL DAVIS & CHRISTINE H PAHOLSKY JT TEN      2672 HOMEWOOD                                                                                     TROY            MI    48098‐2344
ETHEL E CRAMER                                 670 WEST 2ND ST                                                                                   MESA            AZ    85201‐6407
ETHEL E CRESSMAN                               3 PAMELA DRIVE                           THOROLD ON                             L2V 2X7 CANADA
ETHEL E FARNHAM & DUANE R FARNHAM SR & CLAUDIA 3114 NEW HALL RD                                                                                  GREENBRIER      TN    37073‐4871
D EMMERICK JT TEN
ETHEL E FARNHAM & DUANE ROGER FARNHAM SR JT    3114 NEW HALL RD                                                                                  GREENBRIER      TN    37073‐4871
TEN
ETHEL E HAAKENSON                              14445 HWY 23 C9                                                                                   SPICER          MN    56288‐9370
ETHEL E MARCUM                                 1867 W ST RD 38                                                                                   NEW CASTLE      IN    47362‐9768
ETHEL EVANS                                    4345 LAKE DRIVE                                                                                   LONDON          OH    43140‐8789
ETHEL F ERICSON                                9375 COLORADO                                                                                     LIVONIA         MI    48150‐3760
ETHEL F KAUFMAN & STEPHEN KAUFMAN JT TEN       5 WHITE OAK FARM RD                                                                               NEWTOWN         CT    06470‐2501
ETHEL F LINDLE                                 28 MELLON AVE                                                                                     GIBBSTOWN       NJ    08027‐1571
ETHEL F MOORE                                  RTE 2 BOX 2905                                                                                    MONTICELLO      KY    42633‐3209
ETHEL FILCHOCK                                 94 ASHLAND LANE                                                                                   AURORA          OH    44202‐8858
ETHEL G CATHER                                 STE B                                    800 E WARDLOW RD                                         LONG BEACH      CA    90807‐4651
ETHEL G RICHTER                                1125 N BALDWIN RD                                                                                 OXFORD          MI    48371‐3003
ETHEL GANGWER WINNER                           139 COUNTRY LANE                                                                                  FRANKFORT       KY    40601‐3839
ETHEL GOLDBERG                                 7400 STONECLIFF DRIVE                    APT 104                                                  RALEIGH         NC    27615‐7748
ETHEL GRAY                                     3636 JARVIS AVE                                                                                   WARREN          MI    48091
ETHEL H BRASSFIELD & SANDRA K GADDIS JT TEN    324 MONTANA DR                                                                                    ARLINGTON       TX    76002‐4476
ETHEL H PREHM                                  109 FAIRWAY DR                                                                                    HAINES CITY     FL    33844‐8887
ETHEL H SMITH                                  133 GREYSON ST                                                                                    MARTINSVILLE    VA    24112‐1415
ETHEL H STEPP                                  221 N OLIVE ST                                                                                    MEDIA           PA    19063‐2810
ETHEL HOFMANN                                  11420 KIMBLE DR                                                                                   FORT MYERS      FL    33908‐4026
ETHEL HOOPER & MYRTLE V AVIS JT TEN            2370 COUNTRY ROAD 41                                                                              FREMONT         OH    43420‐8691
ETHEL HUNTER                                   514 MARLAY RD                                                                                     DAYTON          OH    45405‐1949
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Name                                                Address1                               Address2                     Address3   Address4          City                State Zip

ETHEL I ANDERSON                                    7970 FLETCHER ROAD                                                                               AKRON               NY    14001‐9435
ETHEL I HARVEY                                      1473 SIOUX DR                                                                                    XENIA               OH    43585
ETHEL I LABO & BRIAN M LABO TR ETHEL I LABO TRUST   6363 MARSH RD                                                                                    SHELBYVILLE         MI    49344‐9632
UA 10/14/04
ETHEL I MCCLAIN                                     46 BERRY PATCH                                                                                   SOUTH WINDSOR       CT    06074‐5518
ETHEL INGRAM                                        2423 MOUNDS RD                                                                                   ANDERSON            IN    46016‐5852
ETHEL J BOGLE                                       192 WEST COLUMBIA                                                                                BELLEVILLE          MI    48111‐2720
ETHEL J DE TOLVE                                    6742 N NAVAJO                                                                                    LINCOLNWOOD         IL    60712‐3113
ETHEL J HITSON                                      7593 C R 247                                                                                     LAKE PANASOFFKEE    FL    33538‐3045

ETHEL J HOLT                                        8163 MORTENVIEW                                                                                  TAYLOR              MI    48180‐2582
ETHEL J LEWIS & RANDY S LEWIS JT TEN                3543 SE 76 AVE                                                                                   PORTLAND            OR    97206‐2441
ETHEL J MCCARTY & TERRY W MCCARTY JT TEN            3242 C HUNTINGTON WOODS DR SE          APT C                                                     KENTWOOD            MI    49512‐8134
ETHEL J MCCARTY & THOMAS C MCCARTY JT TEN           3242 C HUNTINGTON WOODS DR SE          APT C                                                     KENTWOOD            MI    49512‐8134
ETHEL J MORRIS                                      44498 BRIARWOOD CT                                                                               VAN BUREN TWP       MI    48111‐5144
ETHEL J PUCKETT                                     PO BOX 1901                                                                                      BUFORD              GA    30515‐8901
ETHEL J RUSH & RICHARD L RUSH JT TEN                8941 MANOR AVE                                                                                   ALLEN PARK          MI    48101‐1421
ETHEL J STOTTS                                      521 N DURHAM                                                                                     ULYSSES             KS    67880‐1955
ETHEL J TRUITT TOD PAMELA J DAZEY SUBJECT TO STA    145 N SPRING ST #6                                                                               GREENFIELD          IN    46140‐2160
TOD RULES
ETHEL J WELCH                                       33787 ORBAN DR                                                                                   STERLING HGTS       MI    48310‐6354
ETHEL JEAN FIDDLER                                  22038 VISNAW ST                                                                                  ST CLR SHORES       MI    48081‐1246
ETHEL JEAN MATTHEWS                                 16150 MURRAY HILL                                                                                DETROIT             MI    48235‐3635
ETHEL JOANNE WITTUM                                 4495 CALKINS RD                        APT 121                                                   FLINT               MI    48532‐3574
ETHEL JOHNSON BENIASH TR ETHEL JOHNSON BENIASH      2378 RAVENNA BLVD #201                                                                           NAPLES              FL    34109‐0373
TRUST UA 11/3/98
ETHEL K DANIELS TR ETHEL K DANIELS REVOCABLE        887 SOUTH 300 WEST                                                                               KOKOMO              IN    46902‐5845
LIVING TRUST UA 07/03/97
ETHEL K DUNK                                        PO BOX 248                                                                                       LAND O'LAKES        FL    34639‐0248
ETHEL K FETCHKO                                     107 TENNWOOD CT                                                                                  DURHAM              NC    27712‐8913
ETHEL K HORSEY                                      5800 OLD CAPITAL TRAIL                                                                           WILMINGTON          DE    19808‐4835
ETHEL K MOHLER                                      10906 W JACKSON STREET                                                                           MUNCIE              IN    47304‐9657
ETHEL K ORMOND                                      ATTN ETHEL K O MOHLER                  10906 W JACKSON STREET                                    MUNCIE              IN    47304‐9657
ETHEL KAPLAN                                        28 LEEDS LN                                                                                      JAMESBURGH          NJ    08831‐2609
ETHEL L BAILEY                                      5681 COBBLEGATE DR                                                                               DAYTON              OH    45449‐2837
ETHEL L BIEBER                                      251 ROSEWOOD LANE                                                                                PORT READING        NJ    07064‐1240
ETHEL L BROWNLEE                                    6 SHERWOOD LN                                                                                    BEAUFORT            SC    29907‐1355
ETHEL L CHATFIELD                                   2742 DELLA DR                                                                                    DAYTON              OH    45408‐2432
ETHEL L CLAY                                        5635 QUEBEC DR                                                                                   COLUMBUS            GA    31907‐6741
ETHEL L FIORE                                       50 ROCK ROAD APT A‐8                                                                             HAWTHORNE           NJ    07506‐1570
ETHEL L GRIFFITHS                                   65 NESTING ROCK LANE                                                                             LEVITTOWN           PA    19054‐3809
ETHEL L HOVINGTON                                   ATTN GRACE L ASHE                      5051 12TH ST NE                                           WASHINGTON          DC    20017‐2851
ETHEL L KENT                                        5910 FLORES AVE                                                                                  LOS ANGELES         CA    90056‐1617
ETHEL L LADE & GERALD E LADE JT TEN                 11746 SUNFIELD HWY                                                                               SUNFIELD            MI    48890‐9042
ETHEL L LAMAR                                       PO BOX 276                                                                                       NIAGARA FALLS       NY    14302‐0276
ETHEL L LAWRENCE                                    4620 LINCOLN PARK AVE                                                                            MONROE              LA    71202‐5953
ETHEL L MANOR & COLLENE S SPOONMORE JT TEN          5230 N COUNTY ROAD 300 E                                                                         NEW CASTLE          IN    47362‐9311

ETHEL L QUALLS                                      7724 W 7 MILE RD                                                                                 DETROIT             MI    48221‐2102
ETHEL L REESE                                       PO BOX 4341                                                                                      OVERLAND PARK       KS    66204
ETHEL L RUCKER                                      19362 PRAIRIE                                                                                    DETROIT             MI    48221‐1710
ETHEL L TANSIL                                      908 CLAYTON ST                         PO BOX 13101                                              LANSING             MI    48901‐3101
ETHEL L VERDUN & EDWARD R VERDUN JT TEN             3416 KELLAR AVE                                                                                  FLINT               MI    48504‐2148
ETHEL L VERNEY                                      ST MARY'S COURT                        725 24TH STREET NW APT 804                                WASHINGTON          DC    20037
ETHEL LOUISE HAYDON                                 14227 SUNSET BLVD                                                                                PACIFIC PALISADES   CA    90272‐3916

ETHEL LOUISE LLEWELLYN                              5104 FULTON STREET NW                                                                            WASHINGTON          DC    20016
ETHEL LUNNEY                                        129 BARBOUR DR                                                                                   PITTSBURGH          PA    15209‐1003
ETHEL LUTTINGER                                     135 W 16TH ST                          APT 20                                                    NEW YORK            NY    10011‐6237
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Name                                            Address1                            Address2             Address3          Address4          City             State Zip

ETHEL M ARTIS 3636 COACHLIGHT COM                                                                                                            LANSING          MI    48911‐4406
ETHEL M AYRES                                   536 INDIANA AVE                                                                              NILES            OH    44446‐1036
ETHEL M BAKER                                   640 CLEARWATER PL                                                                            LAWRENCEVILLE    GA    30044‐6834
ETHEL M BRODIN                                  798 N PINE RD                       APT 422                                                  ESSEXVILLE       MI    48732‐2136
ETHEL M CAIRNS & JILL HOCKERMAN JT TEN          N6581 VILLA PARKWAY RM 18                                                                    WESTFIELD        WI    53964
ETHEL M CAREY                                   9732 RIDGE RD                                                                                MIDDLEPORT       NY    14105‐9709
ETHEL M COLES                                   626 PENNSYLVANIA AVE                                                                         MCDONALD         OH    44437‐1840
ETHEL M COOPER                                  4530 MARIE DRIVE                                                                             HAMBURG          NY    14075‐3910
ETHEL M DLUZANSKY LE VASSEUR                    20680 TOWNSHIP ROAD #120                                                                     SENECAVILLE      OH    43780‐9608
ETHEL M EAGLIN                                  3361 E WINDSONG DR                                                                           PHOENIX          AZ    85044‐7886
ETHEL M ESLICK                                  26241 LAKE SHORE BLVD               APT 352                                                  EUCLID           OH    44132‐1140
ETHEL M HEBBARD                                 4300 GLENRIDGE ST                                                                            KENSINGTON       MD    20895‐3713
ETHEL M HENDERSON                               1020 CAPITOL AVE                                                                             LINCOLN PARK     MI    48146‐2932
ETHEL M HENSON                                  120 ALDEA DR                                                                                 SEBASTIAN        FL    32958‐6949
ETHEL M JACKSON                                 9969 GRANDVILLE                                                                              DETROIT          MI    48228‐1316
ETHEL M JOHNSON                                 PO BOX 87887                                                                                 CANTON           MI    48187‐0887
ETHEL M JOHNSON                                 661 NORFOLK AVENUE                                                                           BUFFALO          NY    14215‐2763
ETHEL M KELLY                                   3601 CONNECTICUT AVENUE NW          APT 511                                                  WASHINGTON       DC    20008‐2449
ETHEL M KIMBROUGH                               1511 HARRISON LN                                                                             BIRMINGHAM       AL    35215‐5115
ETHEL M LAGANDO                                 114 TIFFIN AV                                                                                HURON            OH    44839‐1735
ETHEL M LEWIS                                   3164 MARTHAROSE COURT                                                                        FLINT            MI    48504‐1234
ETHEL M LLEWELLYN                               1050 W PERRY ST                     APT 105                                                  SALEM            OH    44460‐3580
ETHEL M LONG                                    6948 STONE RIDGE DR                 APT 55                                                   MEMPHIS          TN    38115‐5398
ETHEL M MADDOX                                  4319 PREBLE COUNTY LINE RD S                                                                 WEST ALEXANDERIA OH    45381‐9565

ETHEL M MCCORMICK                               376 MUIRWOOD DR                                                                              LONDON           OH    43140‐2118
ETHEL M MCDANIEL                                7929 WYNBROOK LANE                                                                           MECHANICSVILLE   VA    23111‐3518
ETHEL M NAHOUM & NICHOLAS C SVALUTO JT TEN      1595 GLEN LANE                                                                               TRENTON          MI    48183‐1724

ETHEL M SMALL                                   187 PATERSON AVENUE                                                                          MIDLAND PARK     NJ    07432‐1855
ETHEL M SMITH                                   1856 RUSKIN RD                                                                               DAYTON           OH    45406‐4018
ETHEL M STODDARD                                7957 SIOUX LN                                                                                LAKELAND         FL    33810‐2181
ETHEL M STOLTE                                  195 LINCOLN STREET                                                                           S AMBOY          NJ    08879‐2138
ETHEL M SUMMERS                                 4508 COLO SPRING RD                                                                          INDIANAPOLIS     IN    46208‐3019
ETHEL M TROMBLEY WILLIAM R TROMBLEY III & LARRY 124 LITTLE KILLARNEY BEACH                                                                   BAY CITY         MI    48706‐1114
JAMES TROMBLEY JT TEN
ETHEL M WHITE                                   1315 MIDDLE AVE                                                                              ELYRIA           OH    44035‐7010
ETHEL M WRIGHT                                  8556 HUBBARD DR                                                                              WESTLAND         MI    48185‐1534
ETHEL MANNING BATES                             6400 STOLL LANE                                                                              CINCINNATI       OH    45236‐4033
ETHEL MAY MATTHEWS TR UA 07/25/90 THE ETHEL MAY 10551 ELMCREST ST                                                                            EL MONTE         CA    91731‐1223
MATTHEWS TRUST
ETHEL MEYER                                     C/O DENA M WEKER                    1229 KNOX ROAD                                           WYNNEWOOD        PA    19096‐2459
ETHEL MOSER                                     21 GREEN COURT                                                                               NEWPORT NEWS     VA    23601
ETHEL N HUTCHISON                               1320 VALLEY ST                                                                               DAYTON           OH    45404‐2272
ETHEL NEMETH                                    4010 PONDEROSA                                                                               TRENTON          MI    48183‐3939
ETHEL NIELSON                                   970 67 ST                                                                                    BROOKLYN         NY    11219‐5818
ETHEL OBRIEN                                    53 JUSTAMERE DR                                                                              OSSINING         NY    10562‐3901
ETHEL P ATHOS                                   9811 BELHAVEN ROAD                                                                           BETHESDA         MD    20817‐1731
ETHEL P CROSSAN                                 591 OLD SCHOOL HOUSE RD                                                                      LANDENBERG       PA    19350‐1525
ETHEL P FLEMING                                 1912 MARSH RD #HC138                                                                         WILMINGTON       DE    19810‐3954
ETHEL P RAUNIO                                  2824 EAST PENNWOOD CIRCLE                                                                    GREEN BAY        WI    54301
ETHEL P WADE                                    2702 HICKORY DR                                                                              DAYTON           OH    45426‐2075
ETHEL PRUITT                                    15764 MANSFIELD                                                                              DETROIT          MI    48227‐1907
ETHEL R DOBBS                                   4113 GLENDALE STREET                                                                         METAIRIE         LA    70002‐3037
ETHEL R HOWARD                                  6107 ELSINORE CIRCLE                                                                         LAKE WORTH       FL    33463‐3028
ETHEL R JONES                                   519 W 10TH ST                                                                                JONESBORO        IN    46938‐1346
ETHEL R MCFALL                                  14711 IVORYSTONE DRIVE                                                                       CEDAR SPRINGS    MI    49319
ETHEL R MEMORY                                  4412 LORRAINE DR                                                                             MONROEVILLE      PA    15146‐1032
ETHEL R STOVER                                  734 BEULAH STREET                                                                            CHARLESTON       WV    25302‐3409
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Name                                               Address1                               Address2               Address3        Address4            City               State Zip

ETHEL R WORTH                                      320 ABERDEEN ST                                                                                   ROCHESTER       NY       14619‐1217
ETHEL S BUCHANAN                                   15 LIVINGSTON PLACE                                                                               LOCKPORT        NY       14094‐2517
ETHEL S COLLIER                                    926 BENTWATER PKWY                                                                                CEDAR HILL      TX       75104‐8269
ETHEL S CRONLUND                                   1003 EASTON ROAD 802C                                                                             WILLOW GROVE    PA       19090‐2021
ETHEL S GUIRE                                      2804 APPLEWOOD DRIVE                                                                              FREEHOLD        NJ       07728‐3987
ETHEL S LEATHERS                                   298 ATWOOD ST N W                                                                                 WARREN          OH       44483‐2115
ETHEL S MCWHORTER                                  4200 MIDWAY AVE                                                                                   DAYTON          OH       45417‐1314
ETHEL T HENDERSON                                  865 BROOKDALE DRIVE                                                                               WEST JEFFERSO   OH       43162‐1081
ETHEL T JACKSON                                    510 WEST 39TH ST                                                                                  WILMINGTON      DE       19802‐2118
ETHEL V BARNHART                                   4981 S R 534 N W                                                                                  WEST FARMINGTON OH       44491‐9742

ETHEL V BUTLER                                    1755 GRAY TWIG LN                                                                                  MILFORD            MI    48381‐4435
ETHEL W COBB GARY R COBB & VIVIAN R SCHIFFGENS JT 432 COBBLER LANE                        FORKSTON TOWNSHIP                                          MEHOOPANY          PA    18629‐8050
TEN
ETHEL Y JOHNSON                                   85 SOUTH RIDGEWOOD                                                                                 ORMOND BEACH       FL    32174‐6352
ETHEL YOUNG                                       13644 CASTLETON ST                                                                                 DETROIT            MI    48227‐3036
ETHEL ZIMMERMANN & GEORGE ZIMMERMANN JT TEN 30 STRATFORD ROAD                                                                                        SEEKONK            MA    02771‐3417

ETHELBERT B JONES JR & AARON S JONES & ETHELBERT   174 COUNTY RD 129                                                                                 BREMEN             AL    35033
B JONES III JT TEN
ETHELBERT E BUTLER                                 2850 CALVIN BL                                                                                    EAST SAINT LOUIS   IL    62206‐2743
ETHELDA M RIEMAN & MICHAEL L RIEMAN & RONALD       2304 PARKVIEW LN                                                                                  ELWOOD             IN    46036
W RIEMAN JT TEN
ETHELDA P SHAAK                                    1628 KINGSTON RD                                                                                  KOKOMO             IN    46901‐5279
ETHELEAN COLE                                      3638 STONEGATE DR                                                                                 FLINT              MI    48507‐2169
ETHELEE JARVIS                                     PO BOX 4                                                                                          DUCK               WV    25063‐0004
ETHELEEN F HERNDON                                 2401 KINGS RD                                                                                     MOORE              OK    73160‐1137
ETHELINDA KATZ CUST DAVID KATZ UGMA NY             29 EDGEMERE AVE                                                                                   MT ARLINGTON       NJ    07856‐1160
ETHELINE G MAYER                                   34 CONCORD DR                                                                                     PITTSFORD          NY    14534‐4036
ETHELREDA BENDER                                   40 W VILLAGE RD                                                                                   NEWARK             DE    19713
ETHELREDA HELEN GRIFFIN                            601 SEQUOIA DR                                                                                    EDGEWOOD           MD    21040‐2823
ETHELYN D RANKIN                                   1521 MONTGOMERY AVE                    VICTORIA BC                            V8S 1T5 CANADA
ETHELYN GOLDBERG                                   136 BROOKSIDE DRIVE                                                                               HOLLAND            PA    18966‐2256
ETHELYN J WILMES                                   3265 THUNDERCLOUD DRIVE                                                                           LAKE HAVASO CITY   AZ    86406‐7867

ETHELYN L LYON & JEFFREY G LYON JT TEN             4785 W COLUMBIA RD                                                                                MASON              MI    48854‐9553
ETHELYN LADORA LYON & JEFFERY GLENN LYON JT TEN    4785 W COLUMBIA RD                                                                                MASON              MI    48854‐9553

ETHELYN M MCGHEE                                   437 MULFORD AVENUE                                                                                DAYTON             OH    45417‐2035
ETHELYN PETTY                                      9400 WHITCOMB                                                                                     DETROIT            MI    48228‐2276
ETHELYN R WALKER                                   401 E HIGHMAN ST                                                                                  ST JOHNS           MI    48879‐1605
ETHELYNN C SWAN                                    PO BOX 621                                                                                        BILOXI             MS    39533‐0621
ETHER M SCOTT                                      278 KENWOOD AVE                                                                                   ROCHESTER          NY    14611‐3030
ETHERINE E HEIDEN                                  36836 MARGARETA                                                                                   LIVONIA            MI    48152‐2893
ETHLENE HARRIET HORWITZ                            2672 CAPELLA WAY                                                                                  THOUSAND OAKS      CA    91362‐4955
ETHLYN N STEPHAN                                   310 VASSAR AVE                                                                                    STRATFORD          NJ    08084‐1112
ETHNA HAGGERTY                                     1615 WILLOW CREEK DR                                                                              LANSING            MI    48917‐9643
ETHON A BOYER                                      4600 REED ST                                                                                      FT WORTH           TX    76119‐2144
ETHRIDGE P UNDERWOOD                               493 LAKESIDE DR                                                                                   CANTON             GA    30115‐9043
ETHYL E KNOLL & AUGUST KNOLL JT TEN                PO BOX 458                                                                                        LINDEN             MI    48451‐0458
ETOLA A FLOWERS & NANCY L WILK JT TEN              6109 ATKINS DRIVE                                                                                 TROY               MI    48098‐1328
ETSUKO HIDAKA MIYOSHI                              191 3 CHOME OHHASHI                    MIYAZAKI SHI KEN 880                   JAPAN
ETTA A HARPER                                      2301 SW 53RD TERRACE                                                                              CAPE CORAL         FL    33914
ETTA B BROWN                                       170 FAYETTE AVE                                                                                   JONESBORO          GA    30236‐4941
ETTA C LEAHY TR ETTA C LEAHY UA 8/20/73            28675 ELDORADO PLACE                                                                              LATHRUP VILLAGE    MI    48076‐7001

ETTA CLARKSON                                      1320 ALEX RD                                                                                      W CARROLLTON       OH    45449‐2145
ETTA F ETTLINGER                                   1761 SEA CATS DR                                                                                  ATLANTIC BEACH     FL    32233‐5828
                                               09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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ETTA F JOHNSON TOD BONNIE PRESTON SUBJECT TO        25045 NE 133RD ST                                                                               SALT SPRINGS       FL    32134
STA TOD RULES
ETTA G ENDERS & HOWARD J CORNWELL TR ETTA G         BOX 265                                                                                         CENTRAL BRIDGE     NY    12035‐0265
ENDERS TR
ETTA G STEWART                                      1541 SWEET                                                                                      GRAND RAPIDS       MI    49505‐5466
ETTA J SMITH                                        2101 LAFAYETTE ROAD                                                                             INDIANAPOLIS       IN    46222‐2326
ETTA J WILLIAMSON                                   2624 EUCLID AVE                                                                                 KANSAS CITY        MO    64127‐3731
ETTA L EDWARDS                                      5037 RETFORD DR                                                                                 DAYTON             OH    45418‐2044
ETTA L FIORE                                        28 RUSSELL ST                                                                                   BROOKLYN           NY    11222‐5008
ETTA L HIGGINS & LOIS A SHERWOOD JT TEN             265 IVES RD                                                                                     MASON              MI    48854‐9240
ETTA L WILLIAMS                                     1829 SPRINGFIELD ST                                                                             FLINT              MI    48503‐4579
ETTA LOUISE BARBECK TR U‐A WITH D A LITTLE 5/1/47   3301 GREENBRIER                                                                                 DALLAS             TX    75225‐4818

ETTA M BILYEU                                       24 DURBIN MEADOWS RD                                                                            FOUNTAIN INN       SC    29644‐6500
ETTA M WILLS                                        2608 VISTA DR                                                                                   HUNTSVILLE         AL    35803
ETTA MAE JENKINS                                    1502 BARBARA DRIVE                                                                              FLINT              MI    48505‐2550
ETTA P CARTER                                       4771 PENNSYLVANIA STREET                                                                        DETROIT            MI    48214‐1438
ETTA P WARREN                                       8904 PINEWOOD RD                                                                                LYLES              TN    37098‐1758
ETTA Y HUNTER                                       172 BURGESS AVE                                                                                 DAYTON             OH    45415‐2604
ETTIA F GRIMA                                       2105 TIMBER RIDGE CT                                                                            HIGHLAND           MI    48357‐4310
ETTIE L BUICE                                       2645 CANARY DR                                                                                  BRUNSWICK          GA    31520‐3702
ETTORE SCARCHILLI                                   29260 CONGRESS                                                                                  ROSEVILLE          MI    48066‐2271
ETUSKO TAKIZAWA                                     156 ROBERTA RD                                                                                  ORMOND BEACH       FL    32176‐3220
EUAL E HAYES                                        325 CO RD 467                                                                                   POPLAR BLUFF       MO    63901‐9088
EUAL H KINNEY                                       3174 LAWRENCE COVE ROAD                                                                         EVA                AL    35621‐7806
EUCARIO VAZQUEZ                                     7011 HEWERS DR                                                                                  DEL VALLE          TX    78617
EUCHARIST BUTTIGIEG                                 2044 WABASH                                                                                     DETROIT            MI    48216‐1564
EUCLID D Y LEE                                      3903 PILI PLACE                                                                                 HONOLULU           HI    96816‐3942
EUCOLA NADENE WASHINGTON                            1608 BROAD COURT                                                                                FLINT              MI    48503‐4001
EUDENE M ROSS                                       4285 BRIDLEPATH RD                                                                              COTTONWOOD         AZ    86326‐7603
EUDENE P ADAMS TR UA 04/30/84 EUDENE P ADAMS        32953 WHISPERING LANE                                                                           CHESTERFIELD TWP   MI    48047‐3389
TRUST
EUDORA P ELLIOTT                                    320 RIBLETT LANE                                                                                WILMINGTON         DE    19808‐1302
EUEL H HENDERSON                                    5500 S GENESEE RD                                                                               GRAND BLANC        MI    48439‐7602
EUEL WALDRIP                                        2226 BRITT STREET SW                                                                            GRAYSON            GA    30017‐1645
EUFAULA B JACKSON                                   19169 MONICA                                                                                    DETROIT            MI    48221‐1705
EUFAULA JACKSON                                     19169 MONICA                                                                                    DETROIT            MI    48221‐1705
EUFORD J WEDDLE                                     5362 HICKORY TRAIL LN                                                                           CINCINNATI         OH    45242‐4860
EUGEN W KONRAD                                      3498 LONG GROVE DR SE                                                                           GRAND RAPIDS       MI    49512‐9371
EUGENE A ADAMS                                      83 SCRIVER CREEK RD                                                                             GARDEN VALLEY      ID    83622‐5135
EUGENE A AMBROSO & PATRICIA T AMBROSO JT TEN        10825 E WATFORD DR                                                                              SUN LAKES          AZ    85248‐8203

EUGENE A BETTIOL                                    111 BETTIOL LN                                                                                  ONEONTA            NY    13820‐3717
EUGENE A BORG                                       25625 MCDONALD                                                                                  DEARBORN HGTS      MI    48125‐1534
EUGENE A BOSKEN                                     132 S WESTLINK DR                                                                               WICHITA            KS    67209‐1446
EUGENE A BOYLAN                                     PO BOX 919                                                                                      HUMMELS WHARF      PA    17831

EUGENE A BRODOCK                                    6784 D DR N                                                                                     BATTLE CREEK      MI     49014‐8550
EUGENE A BROWN                                      9606 FOX SHORES DRIVE                                                                           ALGONQUIN         IL     60102‐9645
EUGENE A DANIELSON                                  5130 DRIFTON                                                                                    WATERFORD         MI     48327‐2818
EUGENE A DELANEY                                    25 LAKE SUPERIOR DR                                                                             LITTLE EGG HARBOR NJ     08087‐1671

EUGENE A DEMONET & PATRICIA B DEMONET JT TEN        535 W CEDAR DR                                                                                  HAMILTON           GA    31811‐3730

EUGENE A DOKUM                                      340 HARVEST LANE                                                                                LANSING            MI    48917‐3519
EUGENE A DOMMER                                     4480 NW 7TH ST                                                                                  COCONUT CREEK      FL    33066‐1552
EUGENE A EICK                                       4237 FREEMAN RD                                                                                 MIDDLEPORT         NY    14105‐9640
EUGENE A EICK & DOLORES J EICK JT TEN               4237 FREEMAN RD                                                                                 MIDDLEPORT         NY    14105‐9640
EUGENE A ESPARROS JR                                1241 MELODY DR                                                                                  METAIRIE           LA    70002‐1911
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EUGENE A FISHER                                    443 N RHODES AVE                                                                                NILES             OH    44446‐3823
EUGENE A GILFILLIN II                              137 ANGEL OAK DR                                                                                PAWLEYS ISLAND    SC    29585‐5622
EUGENE A GOEKE                                     741 LINCOLN DR                                                                                  IMPERIAL          MO    63052‐1729
EUGENE A HACKEL                                    6345 EUCLID ST                                                                                  MARLETTE          MI    48453
EUGENE A HALL                                      24409 COLUMBUS AVE                                                                              WARREN            MI    48089‐2116
EUGENE A HENRY                                     100‐17 BENCHLEY PLACE                                                                           BRONX             NY    10475‐3302
EUGENE A JANICKE                                   1571 W OGDEN AVE                       APT 1129                                                 LA GRANGE PK      IL    60526‐1716
EUGENE A KNICK                                     6189 N AKRON DR                                                                                 ALEXANDRIA        IN    46001‐8638
EUGENE A KOPETSKY                                  13467 FM1940                                                                                    FRANKLIN          TX    77856‐3871
EUGENE A LACASSE                                   140 MT EUSTIS RD                       RURAL BOX 140                                            LISBON            NH    03585‐7300
EUGENE A LANDYON                                   10303 ORANGELAWN ST                                                                             DETROIT           MI    48204‐2561
EUGENE A MAMMOSER                                  5561 SOUTH ABBOTT RD                                                                            ORCHARD PARK      NY    14127‐4513
EUGENE A MARTIN & MARILYN F MARTIN JT TEN          344 E SAGINAW ST                                                                                AU GRES           MI    48703‐9637
EUGENE A MATTHEWS JR                               236 LITTLE JOHN TRAIL                                                                           HOT SPRINGS       AR    71913‐7620
EUGENE A NAGY                                      215 LISBON ROAD                                                                                 BEAVER            PA    15009‐8554
EUGENE A NAPARST                                   3327 LAS PALMAS                                                                                 HOUSTON           TX    77027‐6346
EUGENE A NORTON JR                                 3 NEER DR                                                                                       PARK RIDGE        NJ    07656‐1416
EUGENE A PARANICK                                  1040 CEDARVIEW LN                                                                               FRANKLIN          TN    37067‐4068
EUGENE A PINIARSKI                                 3 CARDY LANE                                                                                    DEPEW             NY    14043‐1956
EUGENE A PINKARD                                   8214 GARLAND AVE                                                                                TAKOMA PARK       MD    20912‐6850
EUGENE A RHODY & ARRETTA B RHODY JT TEN            3473 S IRISH RD                                                                                 DAVISON           MI    48423‐2441
EUGENE A RIVETT & LEONA M RIVETT JT TEN            210 N 4TH ST                                                                                    CHESANING         MI    48616‐1024
EUGENE A RODOWICZ & MARY JANE RODOWICZ JT TEN      545 SHAKOPEE DR                                                                                 ANACONDA          MT    59711‐9057

EUGENE A ROMAN                                     60 LITCHFIELD W LN                                                                              MARTINSBURG       WV    25401‐9643
EUGENE A ROUTSON                                   1702 GULFCITY RD #331                                                                           RUSKIN            FL    33570‐2726
EUGENE A SHRAKE                                    375 LAKEWOOD CT                                                                                 AVON              IN    46123‐8772
EUGENE A STRAUB                                    33 CRANE ST                                                                                     CALDWELL          NJ    07006‐5313
EUGENE A SULLIVAN & DONNA J SULLIVAN JT TEN        906 BREA LANE                                                                                   SAN JOSE          CA    95138‐1361
EUGENE A THOMPSON                                  114 STONEPOINTE DR                                                                              BEREA             OH    44017‐1094
EUGENE A TOMBLER                                   24512 GREENHILL                                                                                 WARREN            MI    48091‐1671
EUGENE A WARD & EVA F WARD JT TEN                  3282 STACEY CIRCLE                                                                              OXFORD            MI    48371
EUGENE A WELLS                                     4362 MEADOWCROFT RD                                                                             DAYTON            OH    45429‐5129
EUGENE A WITVOET                                   17011 KENWOOD AV                                                                                SOUTH HOLLAND     IL    60473
EUGENE A ZASTROW                                   373 ORCHARD DRIVE                                                                               BUFFALO           NY    14223‐1040
EUGENE ALDERMAN                                    1001 TERRA MAR DR                                                                               TAMPA             FL    33613‐2052
EUGENE ALLEN MARKET                                1811 ASYLUM AVE                                                                                 WEST HARTFRD      CT    06117‐2602
EUGENE ARCAMONTE & JOYCE C ARCAMONTE JT TEN        290 LILAC DR                                                                                    LOS OSOS          CA    93402‐3618

EUGENE ARTHUR MCCARTHY                             297 SANDOWNE DRIVE                     WATERLOO ON                            N2K 2C1 CANADA
EUGENE AUTRY                                       4101 S SHERIDAN RD                     LOT 599                                                  LENNON            MI    48449‐9432
EUGENE B ALEXANDER                                 16171 CHATHAM ST                                                                                DETROIT           MI    48219‐3706
EUGENE B BISHOP                                    1992 HOPPE RD                                                                                   CHELSEA           MI    48118‐9313
EUGENE B CIOTTI TR UA 02/06/2009 EUGENE B CIOTTI   167 CHESHIRE WAY                                                                                NAPLES            FL    34110
REVOCABLE TRUST
EUGENE B ELLISON                                   26160 W RAVINE WOODS DR                                                                         CHANNAHON         IL    60410‐3426
EUGENE B FANNIN                                    2082 HAMLET DR                                                                                  KETTERING         OH    45440‐1625
EUGENE B FLETCHER & MRS CLAIRE M FLETCHER JT TEN   BOX 821                                                                                         RANCHO SANTA FE   CA    92067‐0821

EUGENE B GACH CUST ROBERT E GACH UGMA NJ           109 RUSTY LANE                                                                                  HENDERSONVILLE    NC    28791‐1029
EUGENE B GARNER                                    435 RONJO DRIVE                                                                                 MARYVILLE         TN    37803‐7926
EUGENE B JEFFREY & KAREN JEFFREY JT TEN            209 MCLEOD RD                                                                                   CHAPIN            SC    29036‐8598
EUGENE B JEFFREY & KAREN JEFFREY TEN COM           209 MCLEOD RD                                                                                   CHAPIN            SC    29036‐8598
EUGENE B KOPOWSKI & GUADALUPE KOPOWSKI JT TEN      5115 LAKE AVE                          APT 210                                                  SHEFFIELD LAKE    OH    44054‐1733

EUGENE B LEGLER & MRS LORAYNE LEGLER JT TEN        2802 TYSON AVE                                                                                  TAMPA             FL    33611‐4535
EUGENE B MERRITT                                   5397 UNIVERSITY DRIVE                                                                           SANTA BARBARA     CA    93111‐1632
EUGENE B MONTGOMERY                                14363 WEST GOLF AIR DRIVE                                                                       EVANSVILLE        WI    53536‐9360
EUGENE B NESS                                      2370 NORTHFIELD                                                                                 KINGMAN           AZ    86401‐1748
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EUGENE B NEWCOMB                                    2378 OAKDALE DRIVE NW                                                                            WARREN           OH    44485‐1764
EUGENE B POOLE                                      249 DAVISON RD                          APT 7                                                    LOCKPORT         NY    14094‐3966
EUGENE B SCHMIDT                                    917 W LINDEN CIRCLE                                                                              MANSFIELD        OH    44906‐3003
EUGENE B WALP                                       716 SHARPSBURG DR                                                                                DAVIDSONVILLE    MD    21035‐1926
EUGENE BADY                                         535 S 26TH                                                                                       SAGINAW          MI    48601‐6416
EUGENE BADY JR                                      1168 OLEANDER DR                                                                                 MOUNT MORRIS     MI    48458‐2820
EUGENE BALMAS                                       31025 ROSSLYN                                                                                    GARDEN CITY      MI    48135‐1367
EUGENE BARTELL                                      18500 MUIRLAND                                                                                   DETROIT          MI    48221‐2235
EUGENE BEGALSKE                                     107 RAMLEN COURT                                                                                 APPLETON         WI    54915‐1830
EUGENE BENSON                                       15823 LA PENA AVENUE                                                                             LA MIRADA        CA    90638‐3419
EUGENE BIALEK & SHEILA BIALEK TR BIALEK FAM TRUST   17900 CALVERT ST                                                                                 ENCINO           CA    91316‐7133
UA 11/11/98
EUGENE BLANE                                        101 FENWAY DR                                                                                    SYRACUSE         NY    13224‐1024
EUGENE BOMBER                                       34312 VICEROY                                                                                    STERLING HTGS    MI    48310‐5266
EUGENE BOROWSKI                                     3291 CHRISTOPHER LN                     APT 203                                                  KEEGO HARBOR     MI    48320‐1367
EUGENE BOTTIGLIERI JR & JOSEPHINE BOTTIGLIERI JT    7 VISTA PLACE                                                                                    STATEN ISLAND    NY    10305‐2707
TEN
EUGENE BOWMAN                                       3626 W GEORGETOWN RD                                                                             LOGANSPORT       IN    46947‐7229
EUGENE BOWYER                                       50359 CALCUTTA SMITHSFERRY                                                                       E LIVERPOOL      OH    43920‐8904
EUGENE BRACH                                        5105 KELSEY LN                                                                                   CLARKSTON        MI    48348
EUGENE BRADLEY & MARILYN BRADLEY JT TEN             PO BOX 687                                                                                       DANVILLE         AR    72833‐0687
EUGENE BREWER                                       8896 SHEPARD RD                                                                                  MACEDONIA        OH    44056‐1931
EUGENE BROWN                                        741 E HOLBROOK AVE                                                                               FLINT            MI    48505‐2236
EUGENE BRUSKO                                       53 LENAPE AVE                                                                                    NEWTON           NJ    07860‐9752
EUGENE BULLOCK & MRS CLAUDETTE BULLOCK JT TEN       PO BOX 865                                                                                       MANOMET          MA    02345‐0865

EUGENE BURCHIANTI & EVELYN BURCHIANTI TEN ENT       309 LEWIS DRIVE                                                                                  UNIONTOWN        PA    15401‐9206

EUGENE BURDEN & MARIE BURDEN JT TEN                 19 W RIDGE PL                                                                                    SOUTH NEWPORT    KY    41071‐2633
EUGENE C ABBOTT JR                                  17800 THUNDERBIRD HILL RD                                                                        NEWALLA          OK    74857‐9427
EUGENE C ANGELIDIS                                  331 LAKE FRONT                                                                                   ROCHESTER        NY    14617‐1247
EUGENE C AUER JR                                    32 MARTIN LANE                                                                                   WESTBURY         NY    11590‐6323
EUGENE C BELL                                       140 HASTINGS WAY                                                                                 ST CHARLES       MO    63301‐5506
EUGENE C BENNETT TR UA 11/06/90 BENNETT TRUST       PO BOX 541                                                                                       BELFAST          NY    14711‐0541

EUGENE C CARANO                                     34523 LYTLE                                                                                      FARMINGTON HILLS MI    48335‐4054

EUGENE C CLOUSE                                     7158 WOODLEA RD                                                                                  OSCODA           MI    48750‐9722
EUGENE C COMPTON                                    7205 SERPENTINE DR                                                                               DAYTON           OH    45424‐2315
EUGENE C CRAIG                                      2305 N HARDING ST                                                                                INDIANAPOLIS     IN    46208‐5206
EUGENE C CRAWLEY                                    16175 WILDEMERE                                                                                  DETROIT          MI    48221‐3158
EUGENE C CUSANO                                     224 THOMPSON ST #204                                                                             HENDERSONVILLE   NC    28792‐2806
EUGENE C DESJARLAIS                                 38 DULUDE AVE                                                                                    WOONSOCKET       RI    02895‐3402
EUGENE C DUGAL                                      #94                                     812 CLOVER RD                                            TRACY            CA    95376‐1770
EUGENE C EASTWAY                                    1609 MANITOWOC AVE                                                                               S MILWAUKEE      WI    53172‐2909
EUGENE C FORCE                                      3650 CANAL RD                                                                                    DIMONDALE        MI    48821‐9714
EUGENE C FORD JR                                    PO BOX 514                                                                                       CAVE CITY        KY    42127‐0514
EUGENE C GIBSON JR                                  5 LINDEN LANE                                                                                    SPRINGFIELD      IL    62707‐8986
EUGENE C GORDON                                     8938 ROSE HILL DRIVE                                                                             JACKSONVILLE     FL    32221
EUGENE C GRDEN SR & JUNE V GRDEN JT TEN             4148 NORRISVILLE ROAD                                                                            WHITE HALL       MD    21161‐9309
EUGENE C GROSS                                      N 51 W 27888 WILLOW CREEK DR                                                                     PEWAUKEE         WI    53072‐1022
EUGENE C HANSBROUGH                                 686 LESTER ST                                                                                    POPLAR BLUFF     MO    63901‐5025
EUGENE C KLINE                                      15684 RIVERVIEW RD                      SE #4                                                    GRAYLING         MI    49738‐6815
EUGENE C LAMBERT & MANETTE P LAMBERT JT TEN         2245 W ROHR AVE                                                                                  MILWAUKEE        WI    53209‐5056

EUGENE C LANGMESSER                                 1343 EAST WILSHIRE AVE                                                                           SANTA ANNA       CA    92705‐4420
EUGENE C LANGMESSER & KAREN L LANGMESSER JT         1343 EAST WILSHIRE AVE                                                                           SANTA ANNA       CA    92705‐4420
TEN
EUGENE C OSBORNE                                    PO BOX 10302                                                                                     WILMINGTON       DE    19850‐0302
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EUGENE C PATRICE                               C/O JOHN CHUTE                         1300 CAROLINA DRIVE                                      SANFORD         NC    27330‐8304
EUGENE C REZNER                                8 TARTAN CT                                                                                     LAWRENCEVILLE   NJ    08648‐4621
EUGENE C RHODES                                8465 OLD ORCHARD ROAD                                                                           WARREN          OH    44484‐3048
EUGENE C RINGLEY JR                            BOX 194                                                                                         LAKE GEORGE     MI    48633‐0194
EUGENE C SHEARN                                5866 S 50 W                                                                                     TRAFALGAR       IN    46181
EUGENE C SHEFFER CUST RODNEY LYNN SHEFFER UGMA 717 FERN AVE                                                                                    FRANKLIN        PA    16323‐2701
PA
EUGENE C SHREWSBERRY                           102 PORTER ST                                                                                   BECKLEY         WV    25801‐4830
EUGENE C WESTELL                               1211 PEARTREE LANE                                                                              HOUSTON         TX    77073‐1237
EUGENE C WESTELL                               1211 PEAR TREE LANE                                                                             HOUSTON         TX    77073‐1237
EUGENE C WHITE & DOLORES M WHITE JT TEN        2430 EAST BLVD                                                                                  BETHLEHEM       PA    18017‐4014
EUGENE CAROLLO & DEAN ALLAN CAROLLO JT TEN     540 LK ANTOINE RD                                                                               IRON MOUNTAIN   MI    49801

EUGENE CAROLLO & GENE KEITH CAROLLO JT TEN      RTE 1 BOX 362                         LAKE ANTOINE DRIVE                                       IRON MOUNTAIN   MI    49801‐9610
EUGENE CAROLLO & JAMES ROY CAROLLO JT TEN       506 WEST B ST                                                                                  IRON MOUNTAIN   MI    49801‐2722
EUGENE CAROLLO & KAREN LEE CAROLLO JT TEN       W9321 H LUCAS DR                                                                               IRON MOUNTAIN   MI    49801‐9485
EUGENE CAROLLO & KAY ANNE CAROLLO JT TEN        453 RIVERHILL ROAD                                                                             KINGSFORD       MI    49802‐6609
EUGENE CECCHINI                                 29701 MINGLEWOOD                                                                               FARMINGTON      MI    48334‐3023
EUGENE CHANEY                                   26996 WATER EDGE DR                                                                            ELKHART         IN    46514‐9493
EUGENE CHARLES THOMAS                           17 DOGWOOD ROAD                                                                                WHIPPANY        NJ    07981‐1904
EUGENE CHRISTMANN III                           14 CHIPPENHAM DR                                                                               NEWARK          DE    19711‐2012
EUGENE CIONGOLI                                 334 ROEHRIG ST                                                                                 TRENTON         MI    48183‐1228
EUGENE CLAUDE BENT                              1529 STEPHENSON RD                    NEWCASTLE ON                           L1B 1L9 CANADA
EUGENE CLEMONS                                  890 E LINDEN CIR                                                                               MANSFIELD       OH    44906‐2965
EUGENE COLEMAN SCHWARTZ                         2603 BRIDGEWOOD LN                                                                             SNELLVILLE      GA    30078‐2261
EUGENE COLLINS                                  1009 KAREN RIDGE CT                                                                            KISSIMMEE       FL    34747‐1254
EUGENE COLLINS JR                               447 INDEPENDENCE DR                                                                            SAN JOSE        CA    95111‐2273
EUGENE COOK                                     403 E ALLEN LN                                                                                 HUACHUCA CITY   AZ    85616‐8249
EUGENE COUCH                                    861 WISMAR DR                                                                                  CINCINNATI      OH    45255‐4521
EUGENE CRAWFORD LONG                            5029 LAKE HIGHLANDS                                                                            WACO            TX    76710‐2941
EUGENE CZYZEWSKI                                29 TIMBER LANE DRIVE                                                                           PENNINGTON      NJ    08534‐1404
EUGENE D ALKIRE                                 1104 EMERALD AVE                                                                               CHICAGO HEIGH   IL    60411‐2714
EUGENE D ARMSTRONG                              6825 RIVERSIDE ROAD                                                                            EVART           MI    49631‐7913
EUGENE D BRYANT                                 6320 VERNMOOR                                                                                  TROY            MI    48098‐1843
EUGENE D BUSH                                   4546 KAYNER RD                                                                                 GASPORT         NY    14067‐9273
EUGENE D COPELAND                               10580 15 MILE ROAD                                                                             CEDAR SPRINGS   MI    49319‐8744
EUGENE D COPELAND JR                            6177 N VASSAR RD                                                                               FLINT           MI    48506‐1237
EUGENE D CORKERY CUST KEVIN PATRICK CORKERY     4902 RIVER ROAD                                                                                BETHESDA        MD    20816‐2824
UGMA MD
EUGENE D DEARMAN                                BOX 4183                                                                                       MERIDIAN         MS   39304‐4183
EUGENE D DIDYK                                  16088 WROTHAM CT                                                                               CLINTON TOWNSPIP MI   48038‐4089

EUGENE D DOLLARD                                2323 N HAMLIN RD                                                                               HAMLIN          NY    14464‐9760
EUGENE D DOLLARD                                LAKE ROAD                                                                                      HAMLIN          NY    14464
EUGENE D FOLTZ                                  3185 W MARKET ST BOX 56                                                                        LIBERTY CENTE   IN    46766‐9701
EUGENE D JACKOVICH                              5273 WYNDEMERE COMMON SQ                                                                       SWARTZ CREEK    MI    48473‐8913
EUGENE D JOHNSON                                4668 BEECH DR                                                                                  LAKEVIEW        MI    48850
EUGENE D KOSHOCK                                6381 TERRE DR                                                                                  BROOKPARK       OH    44142‐4049
EUGENE D REID                                   14519 NORTH ROAD                                                                               FENTON          MI    48430‐1383
EUGENE D REPPENHAGEN CUST DOUGLAS ROBERT        99 2ND AVE                                                                                     GLOVERSVILLE    NY    12078‐2412
COOK UTMA NY
EUGENE D RINEHART                               2677 BURTON TR                                                                                 MARTINSVILLE    IN    46151‐6891
EUGENE D SCHULTZ                                45 TERRACE DRIVE                                                                               WORCESTER       MA    01609‐1415
EUGENE D SORTMAN & MRS DOROTHY M SORTMAN JT     24418 ALLARD DR                                                                                HARRISON TWP    MI    48045‐1001
TEN
EUGENE D VASILOFF                               31581 ROAD 144                                                                                 VISALIA         CA    93292‐9316
EUGENE D WILSON                                 PO BOX 14042                                                                                   BRADENTON       FL    34280‐4042
EUGENE DALLAS COPELAND                          10580 15 MILE RD                                                                               CEDAR SPRINGS   MI    49319‐8744
EUGENE DANIELS                                  460 ELM STREET                                                                                 PONTIAC         MI    48342‐3424
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EUGENE DANYLUK                                 RD #2 HOLMES RD BOX 220A                                                                       WEEDSPORT        NY    13166‐9802
EUGENE DE VITO                                 28 SUBURBAN DR                                                                                 WEST ORANGE      NJ    07052‐3419
EUGENE DEL PRETE                               18 KENSINGTON DR                                                                               CHAMBERSBURG     PA    17201‐8729
EUGENE DENT                                    949 MAYNARD DRIVE                                                                              INDIANAPOLIS     IN    46227‐2315
EUGENE DEXTRASE                                BOX 1200                              HIGH LEVAL AB                          T0H 1Z0 CANADA
EUGENE DONALDSON                               22 CHARLOTTE ROAD                                                                              EAST WALPOLE     MA    02032‐1014
EUGENE DORRIS                                  216 CRYSTAL LAKE RD                                                                            PONTIAC          MI    48053
EUGENE DOYLE                                   5026 SWAFFER RD                                                                                MILLINGTON       MI    48746‐9114
EUGENE DUDLEY JR                               621 FLEETFOOT AVE                                                                              DAYTON           OH    45408‐1107
EUGENE DUMETZ                                  1136 ATKINSON                                                                                  DETROIT          MI    48202‐1522
EUGENE E BAKER                                 BOX 128                                                                                        LAURA            OH    45337‐0128
EUGENE E BARNETT & JODY L BARNETT JT TEN       3195 HOFFMAN CR                                                                                WARREN           OH    44483‐3015
EUGENE E BEACH                                 4700 W 61 ST                                                                                   MISSION          KS    66205
EUGENE E BEVIS                                 6660 LAWBG ROAD                                                                                HARRISON         OH    45030
EUGENE E BEYMAN                                7769 PEACHMONT AVE NW                                                                          NORTH CANTON     OH    44720‐7871
EUGENE E BICKELL                               671 FAIRVIEW PL                                                                                ALLIANCE         OH    44601‐2722
EUGENE E BORING                                208 DORAL PARK                                                                                 KOKOMO           IN    46901‐7016
EUGENE E BRACKEN                               1016 COLONIAL MEADOWS WAY                                                                      VIRGINIA BEACH   VA    23454‐3147
EUGENE E BRENNAN JR                            12060 STANLEY ROAD                                                                             COLUMBIAVILLE    MI    48421‐8804
EUGENE E BURRIS                                101 WEST ST                                                                                    LAUREL           DE    19956‐1050
EUGENE E DAVOLIO                               2 MAGNOLIA WAY                        APT 221                                                  PEABODY          MA    01960‐8816
EUGENE E DITTMAN                               612 OPHELIA STREET                                                                             NEWTON FALLS     OH    44444‐1471
EUGENE E DUNAWAY                               27112 WINSLOW                                                                                  WARREN           MI    48092‐3999
EUGENE E ELLIS                                 51438 CART DR                                                                                  MACOMB           MI    48042‐4342
EUGENE E GAWLE                                 1909 HAVENHILL DR                     KENDALL RIDGE                                            PLAINFIELD       IL    60586
EUGENE E GLOSS                                 12890 FOX RUN CT N                                                                             PICKERINGTON     OH    43147‐9168
EUGENE E GOEBEL & ELAINE C GOEBEL JT TEN       7061 COND PLAYA SERENA EDIF           #1503                                  FRANCE
EUGENE E GRAY                                  4165 WILLARD RD                                                                                BIRCH RUN        MI    48415‐8605
EUGENE E HICKSON CUST MICHAEL E HUGHES UTMA PA 145 N REBECCA                                                                                  SAXONBURG        PA    16056‐9549

EUGENE E HIKA                                  19863 BEAULIEU CT                                                                              FORT MYERS       FL    33908‐4832
EUGENE E HURD                                  1537 MARYLAND AVE                                                                              FLINT            MI    48506‐2746
EUGENE E JOHNSON                               1025 N MARION AVE                                                                              JANESVILLE       WI    53545‐2334
EUGENE E JONES                                 1434 W FRENCH RD                                                                               ST JOHNS         MI    48879‐9406
EUGENE E KILBOURNE                             8416 43RD AVE TER W                                                                            BRADENTON        FL    34209‐6426
EUGENE E KUBUSKE                               1875 TURNER BLVD                                                                               ELYRIA           OH    44035‐4671
EUGENE E LAIGON JR                             834 CHESTNUT STREET #1416                                                                      PHILADELPHIA     PA    19107
EUGENE E LAW                                   ATTN JANIS LAW NICHOLS                PO BOX 4143                                              TALLAHASSEE      FL    32315‐4143
EUGENE E MATT                                  1628 BROOK RIDGE CIRCLE DR                                                                     LAWRENCEBURG     IN    47025‐8840
EUGENE E MATTER                                82 JUDITH DRIVE                                                                                CHEEKTOWAGA      NY    14227‐3428
EUGENE E MAYLE                                 713 FOREST GROVE AVE                                                                           DAYTON           OH    45406‐4437
EUGENE E MC MAHON & PATRICIA A MC MAHON JT TEN 2400 RAWNSDALE RD                                                                              KETTERING        OH    45440‐1918

EUGENE E MCGUIRE & C MADALEN MCGUIRE JT TEN    1136 PLEASANTVIEW DR                                                                           FLUSHING         MI    48433‐1438

EUGENE E MELVIN                                26504 LEWES GEORGETOWN HWY                                                                     HARBESON         DE    19951‐2858
EUGENE E PFAFFENBERGER                         818 HADLEIGH PASS                                                                              WESTFIELD        IN    46074‐5900
EUGENE E PRASCHAN                              2253 MAC FARM CIR                                                                              MILFORD          MI    48380‐4358
EUGENE E REAVER                                594 WESTWOOD DR                                                                                FAIRBORN         OH    45324‐6422
EUGENE E ROBERTS                               2‐8917 SH 64                                                                                   SWANTON          OH    43558
EUGENE E ROBINSON & BETTE JEAN ANN ROBINSON    1521 WILSON AVE                                                                                SAGINAW          MI    48603‐4757
TEN ENT
EUGENE E RUDD                                  4104 ADRIENNE DR                                                                               ALEXANDRIA       VA    22309‐2610
EUGENE E RUSH III & REBECCA N RUSH JT TEN      1601 TIMBERLAND ROAD NE                                                                        ATLANTA          GA    30345‐4164
EUGENE E SACHSE                                3945 S ILLINOIS ST                                                                             MARION           IN    46953‐5159
EUGENE E SNYDER                                3350 N DICKERSON ST                                                                            ARLINGTON        VA    22207‐2906
EUGENE E SPONSKI                               20146 BALFOUR                                                                                  HARPER WOODS     MI    48225‐1735
EUGENE E SPONSKI & ROSEMARY A SPONSKI JT TEN   20146 BALFOUR                                                                                  HARPER WOODS     MI    48225‐1735
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EUGENE E STORMER                                  2800 WALFORD DR                                                                               DAYTON            OH    45440‐2235
EUGENE E VAN DE WALKER                            386 CONLIN RD E R R 2                OSHAWA ON                              L1H 7K5 CANADA
EUGENE E VATCH                                    700 ROSEDALE AVE                                                                              ROSELL            IL    60172‐2958
EUGENE E WARD                                     1810 N WILDFLOWER LN                                                                          CASA GRANDE       AZ    85222‐2443
EUGENE E WITT TR DAVID WITT UA 5/17/67            65 11 OCLOCK ROAD                                                                             WESTON            CT    06883‐2502
EUGENE E ZARECKI TR EUGENE E ZARECKI REVOCABLE    18329 FREMONT                                                                                 LIVONIA           MI    48152‐3439
TRUSTUA 8/31/04
EUGENE EARL ANDREWS                               3800 COACHLIGHT COMMON ST                                                                     LANSING           MI    48911‐4410
EUGENE EDWARD BAKER                               14541 LOWER GRATIS RD                                                                         FARMERSVILLE      OH    45325‐9253
EUGENE EDWARD KERBER & KATHRYN THERESA KERBER R R 1                                                                                             COOKSVILLE        IL    61730‐9801
JT TEN
EUGENE EDWARDS                                    8805 WEST 30TH ST                                                                             INDIANAPOLIS      IN    46234‐1602
EUGENE EDWIN FANNING III                          624 BLUEJAY CIRCLE                                                                            BLUEFIELD         VA    24605‐9408
EUGENE EMERSON BYERS                              1887 INDIANWOOD TRL                                                                           WEST BRANCH       MI    48661‐9731
EUGENE ETTINGER                                   8145 PROLE RD EXT                                                                             BYRON             NY    14422‐9724
EUGENE F AIKMAN                                   7819 BOHMS RD                                                                                 IMLAY CITY        MI    48444‐8947
EUGENE F ALEXANDER                                2440 S LAYTON RD                                                                              ANDERSON          IN    46011‐2938
EUGENE F ATKISSON                                 13310 ROSEMARY ST                                                                             DETROIT           MI    48213‐1452
EUGENE F BEACH                                    6632 ALBION ROAD                                                                              OAKFIELD          NY    14125‐9764
EUGENE F BIELEN & RUTH B TARACKA JT TEN           33 MADISON AVE                                                                                ROCHELLE PARK     NJ    07662‐4314
EUGENE F CAMPBELL                                 303 WITMER ROAD                                                                               N TONAWANDA       NY    14120‐1642
EUGENE F CUNNINGHAM                               22304 W 74TH                                                                                  SHAWNEE           KS    66227‐2121
EUGENE F CURLEY                                   194 BARTON ROAD                                                                               STOW              MA    01775‐1527
EUGENE F DIX SR CUST ISABELLA H LEPENDORF UTMA LA BOX 15915                                                                                     NEW ORLEANS       LA    70175‐5915

EUGENE F DIX SR CUST JAMAL F DIX UTMA LA         BOX 15915                                                                                      NEW ORLEANS       LA    70175‐5915
EUGENE F FABIAN                                  131 HIDDEN COURT RD                                                                            HOLLYWOOD         FL    33023‐7465
EUGENE F FALCONER                                421 ESSEX DR                                                                                   ROCHESTER HILLS   MI    48307‐3511
EUGENE F FISHER                                  2580 CUMBERLAND TRL                                                                            CLEARWATER        FL    33761‐1107
EUGENE F FRAS & CLARA FRAS JT TEN                7278 PIERSON                                                                                   DETROIT           MI    48228‐3238
EUGENE F GROVE                                   7 HICKORY LN                                                                                   SPENCERPORT       NY    14559‐2511
EUGENE F HADEL JR                                13246 LONG ST                                                                                  OVERLAND PARK     KS    66213‐5030
EUGENE F HELD                                    3801 GRANT AVE                                                                                 DAYTON            OH    45431‐1991
EUGENE F HINES                                   215 FOLLY HOLLOW RD                                                                            BUMPASS           VA    23024‐2411
EUGENE F JAMES & MARY JANE JAMES JT TEN          11727 THE BLUFFS                                                                               STRONGSVILLE      OH    44136‐3510
EUGENE F KOLB & MRS EUNICE I KOLB JT TEN         7018 HEATHCOAT DRIVE                                                                           KINGSVILLE        MD    21087‐1412
EUGENE F LONGO                                   509 TERRACE AVE                                                                                TOMS RIVER        NJ    08753‐7733
EUGENE F MALINOWSKI                              3500 PERCH DR                                                                                  MANSFIELD         OH    44903‐9142
EUGENE F MARCHAND                                PO BOX 2459                                                                                    TEATICKET         MA    02536‐2459
EUGENE F MARIN                                   5810 WOODCRAFT                                                                                 SAN ANTONIO       TX    78218‐4729
EUGENE F MC KENNA                                200 CABRINI BLVD                      APT 109                                                  NEW YORK          NY    10033‐1121
EUGENE F MC KENNA CUST MICHAEL E MC KENNA        200 CABRINI BLVD                      APT 109                                                  NEW YORK          NY    10033‐1121
UGMA NY
EUGENE F MEYER                                   14566 US 24                                                                                    SHERWOOD          OH    43556‐9761
EUGENE F MILLER                                  8110 CRESTWOOD DR                                                                              BOISE             ID    83704‐3025
EUGENE F PERRIZO & MRS AUDREY PERRIZO JT TEN     2623 WEST 6TH PLACE                                                                            KENNEWICK         WA    99336‐4728

EUGENE F PETERSON JR                            504 DRAYTON RD                                                                                  ORELAND           PA    19075‐2013
EUGENE F RICHARDSON JR                          927 WAVERLY BLUFF CT                                                                            ORANGE PARK       FL    32065‐2200
EUGENE F SACHARA TR EUGENE FRANCIS SACHARA 2005 8825 8TH AVE                                                                                    HESPERIA          CA    92345
TRUST UA 01/03/05
EUGENE F SAUNDERS                               10802 SKYLINE DRIVE                                                                             CORNING           NY    14830
EUGENE F SCHADEN                                19924 W WILLIAM CT                                                                              GROSSE POINTE     MI    48236‐2441
EUGENE F STESLICKI                              23111 WILSON                                                                                    DEARBORN          MI    48128‐2809
EUGENE F STESLICKI & ROSE C STESLICKI JT TEN    23111 WILSON                                                                                    DEARBORN          MI    48128‐2809
EUGENE F STUESSY                                500 5TH AVE                                                                                     NEW GLARUS        WI    53574‐8816
EUGENE F SUNDERMANN                             10427 PLAINS RD                                                                                 EATON RAPIDS      MI    48827‐9784
EUGENE F THOMPSON                               1272 HAMPTON RD                                                                                 ESSEXVILLE        MI    48732‐9603
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EUGENE F WEIDEL JR                              52911 BURGESS DR                                                                                CHESTERFIELD TWSP MI   48047‐5941

EUGENE FALCONE JR                               5 LANDING ROAD                                                                                  OLD LYME         CT    06371‐1446
EUGENE FELIX FINKIN                             19500 TURNBERRY WAY APT 19B                                                                     AVENTURA         FL    33180
EUGENE FOREST                                   9503 HOLLY OAK DR                                                                               SHREVEPORT       LA    71118‐4734
EUGENE FRANK                                    13 AMBER CT                                                                                     POUGHKEEPSIE     NY    12603‐1063
EUGENE FULLER JR                                PO BOX 2899                                                                                     ANDERSON         IN    46018‐2899
EUGENE FUNCHES                                  2208 W DAYTON                                                                                   FLINT            MI    48504‐2713
EUGENE G ALTENBURGER & BEULAH NOW               4817 GLAN VALLEY DRIVE                                                                          LITTLE ROCK      AR    72223
ALTENBURGER JT TEN
EUGENE G ALVARADO                               1406 W LOCHER RD                                                                                DEWITT           MI    48820‐8474
EUGENE G BARRON III                             1325 WADSWORTH DR                                                                               FLORISSANT       MO    63031‐8329
EUGENE G BATTENFELD JR                          215B HERITAGE VILLAGE                                                                           SOUTHBURY        CT    06488‐1456
EUGENE G BRAUN PER REP EST DOROTHY C BRAUN      846 JACKSON ST                                                                                  MANITOWOC        WI    54220

EUGENE G COOPER                                6431 W COOK RD                                                                                   SWARTZ CREEK     MI    48473‐9102
EUGENE G FRAME                                 RT 2 BOX 44                                                                                      FRAMETOWN        WV    26623
EUGENE G FRIEND                                9390 LEHRING RD                                                                                  DURAND           MI    48429‐9475
EUGENE G GAGNON                                1609 SAN SILVESTRO DRIVE                                                                         VENICE           FL    34292‐4574
EUGENE G HARDY                                 53 TYLER HOLLOW                                                                                  MONROE           MI    48161‐4537
EUGENE G KOVACS & LEEANNA KOVACS TR KOVACS     47098 MANHATTAN CIR                                                                              NOVI             MI    48374‐1832
FAMILY TRUST UA 10/25/02
EUGENE G MICHALSKI                             701 NEWBERRY AVE                                                                                 LA GRANGE PK     IL    60526‐1655
EUGENE G NYKAZA                                18940 BOULDER CT                                                                                 HOMEWOOD         IL    60430‐4164
EUGENE G PARSLEY                               206 PACIFIC AVE                                                                                  DEPTFORD         NJ    08096‐5305
EUGENE G SCHWAIGER & MRS MARILYN M SCHWAIGER 3848 REMEMBRANCE ROAD N W                                                                          GRAND RAPIDS     MI    49544‐2260
TEN COM
EUGENE G SMITH                                 1004 MC CULLOUGH ST                                                                              LANSING          MI    48912‐2451
EUGENE GACHEWICZ                               36575 RIDGECROFT                                                                                 STERLING HGTS    MI    48312‐2852
EUGENE GARROW                                  45 GIFFORD AVE                                                                                   JERSEY CITY      NJ    07304‐1903
EUGENE GASIORKIEWICZ & EYVONNE D GASIORKIEWICZ 2932 N WESTERN AVE                                                                               RACINE           WI    53404‐2249
JT TEN
EUGENE GIBBS                                   1814 ANTIOCH GREGGS RD                                                                           ADEL             GA    31620‐9650
EUGENE GIFFORDS CUST HUGH DAVID GIFFORDS UGMA 72 THE HELM                                                                                       EAST ISLIP       NY    11730‐2916
NY
EUGENE GILDER                                  39302 CAMELOT WAY                                                                                AVON             OH    44011‐3658
EUGENE GIST                                    104 OAK STREET                                                                                   NEWARK           NJ    07106‐1204
EUGENE GITELSON CUST MARK‐WINTER GITELSON      328 WEST 44TH STREET                    APT. 43                                                  NEW YORK         NY    10036
UTMA NJ
EUGENE GOLD                                    9704 E 65TH ST                                                                                   RAYTOWN          MO    64133‐4927
EUGENE GOODENOUGH                              5216 RIDGE RD                                                                                    JOELTON          TN    37080
EUGENE GOODFELLOW                              3785 BUTLER RD                                                                                   MARLETTE         MI    48453‐9334
EUGENE GRANT                                   169 TRINITY AVE SW                                                                               ATLANTA          GA    30303‐3648
EUGENE GREEN                                   BOX 244                                                                                          FLOWERY BRANC    GA    30542‐0005
EUGENE GREGORY TR 12/30/92 W PATRIC GREGORY    BOX 358                                                                                          GLASTONBURY      CT    06033‐0358
TRUST FOR HIS
EUGENE GRITTON                                 2700 S HACKLEY                                                                                   MUNCIE           IN    47302‐5249
EUGENE GUARINI                                 94 CLARK ST                                                                                      NORTH BABYLON    NY    11704‐2926
EUGENE GUREVICH & LARISA GUREVICH JT TEN       30585 SUNDRERLAND                                                                                FARMINGTON HILLS MI    48331‐5910

EUGENE H BAXTER CUST MISS ABIGAIL BAXTER UGMA   1704 SUGAR CANE CT                                                                              MOBILE           AL    36695‐2726
NY
EUGENE H BLANKENSHIP                            2032 GRANGE HALL RD                                                                             FENTON           MI    48430‐1628
EUGENE H BOYLE                                  6 SEAVIEW COURT                                                                                 BAYONNE          NJ    07002‐2346
EUGENE H CALLAHAN                               8100 HALTON RD                                                                                  TOWSON           MD    21204‐1817
EUGENE H CALLAHAN & CORINNE E CALLAHAN JT TEN   8100 HALTON RD                                                                                  TOWSON           MD    21204‐1817

EUGENE H CASE                                   RR 6 BOX 439                                                                                    HENDERSONVILLE   NC    28792‐9477
EUGENE H DEGNER & MRS IRMA D DEGNER JT TEN      1120 15TH CT                                                                                    REEDSBURG        WI    53959‐1009
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EUGENE H DILLON                                  5673 WAGENER ROAD                                                                               WAGENER          SC    29164‐9110
EUGENE H ELKINS                                  6267 E RENO                            APT D                                                    MIDWEST CITY     OK    73110‐2053
EUGENE H ELLIOTT & MRS FANNETTE M ELLIOTT JT TEN 3604 N VERMILION                                                                                DANVILLE         IL    61832‐1129

EUGENE H HAGENE & ANNALEE HAGENE TR HAGENE       14728 VERDUN ESTATES DR                                                                         FLORISSANT       MO    63034‐2370
REVOCABLE TRUST UA 07/09/97
EUGENE H HARMS                                   29945 FOXHILL RD                                                                                PERRYSBURG       OH    43551‐3421
EUGENE H KORZYM                                  1418 S HUGHES RD                                                                                HOWELL           MI    48843‐9138
EUGENE H MILLER                                  4459 WICKFIELD CIRCLE                                                                           FLINT            MI    48507
EUGENE H MILLER & AMANDA E MILLER JT TEN         4459 WICKFIELD CIRCLE                                                                           FLINT            MI    48507
EUGENE H MILLER & MRS AMANDA E MILLER JT TEN     4459 WICKFIELD CIRCLE                                                                           FLINT            MI    48507

EUGENE H MILLER & RALPH J MILLER JT TEN          4459 WICKFIELD CIRCLE                                                                           FLINT            MI    48507
EUGENE H MOORE & SANDRA B MOORE & ROBERT E       PO BOX 1664                                                                                     SKYLAND          NC    28776
MOORE JT TEN
EUGENE H NOVACICH                                2695 HYDE OAKFIELD RD                                                                           BRISTOLVILLE     OH    44402‐9623
EUGENE H REED & VISITACION S REED JT TEN         12759 ELKWOOD ST                                                                                N HOLLYWOOD      CA    91605‐2033
EUGENE H ROTH                                    25375 HILLIARD BLVD                                                                             WESTLAKE         OH    44145‐3534
EUGENE H SCHMIEGEL                               4971 WINDGATE RD                                                                                LIVERPOOL        NY    13088‐4741
EUGENE H SHAW                                    17015 BUCKLEY ROAD S E                                                                          CUMBERLAND       MD    21502‐8620
EUGENE H SMITH & MARIE L SMITH JT TEN            20632 WOODSIDE ST                                                                               HARPER WOODS     MI    48225‐2210
EUGENE H WACHI & ELAINE REIKO WACHI JT TEN       10213 MONTGOMERY AVENUE                                                                         SEPULVEDA        CA    91343‐1438
EUGENE H WACHI CUST BRADLEY H WACHI UTMA CA      10213 MONTGOMERY AVE                                                                            SEPULVEDA        CA    91343‐1438

EUGENE H WALKER                                  45794 PRIMROSE CT                                                                               PLYMOUTH         MI    48170‐3576
EUGENE H WALKER & MICHELLE A WALKER JT TEN       45794 PRIMROSE CT                                                                               PLYMOUTH         MI    48170‐3576
EUGENE H WITKOWSKI                               406 MILLER AVE                                                                                  TRENTON          NJ    08610‐4819
EUGENE H WOJTOWICZ TR UA 6/5/90 EUGENE H         15 SUN SWEPT DR                                                                                 CREVE COEUR      MO    63141‐7846
WOJTOWICZ TRUST
EUGENE HAROLD WALSH TR EUGENE HAROLD WALSH       701 WALNUT AVE                                                                                  BURBANK          CA    91501‐1727
TRUST UA 10/07/04
EUGENE HELTON                                    1763 LANCASTER DR                                                                               YOUNGSTOWN       OH    44511‐1038
EUGENE HENRY                                     5067 RUSSELL LN                                                                                 GREENWOOD        IN    46143‐8849
EUGENE HENRY TYLER                               1014 TACKEN ST                                                                                  FLINT            MI    48532‐5076
EUGENE HENSLEY                                   6611 RISING SUN CT                                                                              WAYNESVILLE      OH    45068‐8015
EUGENE HO                                        186 CONCORD ST                                                                                  NEWTON           MA    02462‐1314
EUGENE HODGES                                    2326 MONROE AVE                                                                                 MACON            GA    31206‐2848
EUGENE HOROWITZ CUST BERNARD HOROWITZ UGMA       7 CROWL RD                                                                                      NEW SALEM        MA    01355‐9552
NY
EUGENE HOUSE                                     2821 BUNTEN RD                                                                                  DULUTH           GA    30096‐3703
EUGENE HOVANEC & VICTORIA HOVANEC JT TEN         5196 OXLEY PLACE                                                                                WESTLAKE VILLAGE CA    91362‐4741

EUGENE HOWARD                                    406 CRESTVIEW DR                                                                                KENDALLVILLE     IN    46755‐2287
EUGENE HOWELL & JERLINE B HOWELL JT TEN          215 COUNTY RD                          # 1145                                                   CULLMAN          AL    35057‐5315
EUGENE HUBBARD                                   BOX 11822                                                                                       MARINA DEL REY   CA    90295‐2822
EUGENE HUM                                       37 EASTBROOK DRIVE                                                                              RIVER EDGE       NJ    07661‐1041
EUGENE HUPPENBAUER                               308 SENA DR                                                                                     METAIRIE         LA    70005
EUGENE I DANAHER & BETTY L DANAHER JT TEN        76 WEST 29TH AVE APT 2106                                                                       EUGENE           OR    97405
EUGENE I KAZAN TR THE KAZAN FAMILY TR U/T        12535 HESBY ST                                                                                  NORTH            CA    91607‐2930
05/02/79 E I KAZAN & E KAZAN                                                                                                                     HOLLYWOOD
EUGENE IVANOFF                                   PO BOX 71451                                                                                    MADISON HTS      MI    48071‐0451
EUGENE J ABADIE                                  5024 WADE DR                                                                                    METAIRIE         LA    70003‐2750
EUGENE J BARANOWSKI                              2770 WALKER RD                                                                                  CARSONVILLE      MI    48419‐9437
EUGENE J BARBATO JR & JANET E BARBATO JT TEN     754 PEARSON POINT PL                                                                            ANNAPOLIS        MD    21401
EUGENE J BARKER & SHIRLEY C BARKER JT TEN        PO BOX 14014                                                                                    NORFOLK          VA    23518‐0014
EUGENE J BARRINGTON                              6724 RICHMAN RD                                                                                 CHATHAM          OH    44275‐9727
EUGENE J BERTONE                                 2951 SHAWNEE LN                                                                                 WATERFORD        MI    48329‐4338
EUGENE J BOHN & MARILYN J BOHN JT TEN            316 THIRD ST                           BOX 453                                                  KEWASKUM         WI    53040‐0453
EUGENE J BOHN & MARILYN J BOHN JT TEN            PO BOX 453                                                                                      KEWASKUM         WI    53040‐0453
                                           09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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EUGENE J BRADFORD                                103 PLEASANT VALLEY WAY                RM 2022                                                  WEST ORANGE       NJ    07052
EUGENE J BRIGGS                                  1148 E VERNE ROAD                                                                               BURT              MI    48417‐9714
EUGENE J BRIGGS                                  7407 PINEGROVE DR                                                                               JENISON           MI    49428
EUGENE J BUCHTA                                  2823 HARFORD RD                                                                                 FALLSTON          MD    21047‐2519
EUGENE J CANCELLIERI                             54 ISLAND GREEN                                                                                 GLASTONBURY       CT    06033
EUGENE J CASSIDY                                 2991 HOPKINS RD                                                                                 AMHERST           NY    14228‐1414
EUGENE J CLUBB                                   3 CHAPEL CT                                                                                     COLLINSVILLE      IL    62234‐4330
EUGENE J D ARPE                                  167 TOMAHAWK ST                                                                                 YORKTOWN          NY    10598‐6316
EUGENE J DE PINTO                                2464 APPALOOSA AVE                                                                              BRIGHTON          CO    80601‐6221
EUGENE J DONDERO & SALLY W DONDERO JT TEN        288 LONG AVE                                                                                    HAMBURG           NY    14075‐6228
EUGENE J DOTTS & BETTY R DOTTS TR DOTTS FAM      2119 GORMAN ST                                                                                  CAMARILLO         CA    93010‐4622
TRUST UA 11/13/96
EUGENE J DUTZY & PATRICIA R DUTZY JT TEN         1852 BRAEMAR                                                                                    OAKLAND           MI    48363‐1803
EUGENE J ERVANS                                  7075 S MISSION                                                                                  MT PLEASANT       MI    48858‐9141
EUGENE J EXLEY                                   4118 E PINON WAY                                                                                HIGLEY            AZ    85236‐3513
EUGENE J FEARING                                 13714 COIT ROAD                                                                                 CLEVELAND         OH    44110‐2216
EUGENE J GLEBA & MRS NANCY M GLEBA JT TEN        29 ROSE WAY                                                                                     HOLBROOK          MA    02343‐1124
EUGENE J GOODWIN                                 2774 DEWEY AVE 1C                                                                               BRONX             NY    10465
EUGENE J GRIMES                                  38 TILDEN ROAD                                                                                  SCITUATE          MA    02066‐3924
EUGENE J GROVE                                   611 IRONWOOD CT                                                                                 MORRO BAY         CA    93442‐1687
EUGENE J HALE                                    4606 N TROOST AVE                                                                               KANSAS CITY       MO    64116‐1926
EUGENE J HALEY                                   9460 WEBB                                                                                       WALES             MI    48027‐1210
EUGENE J HINMAN CUST KATHLEEN MARY HINMAN        8719 SE 176TH SUMMIT ST                                                                         LADY LAKE         FL    32162‐0894
UGMA MD
EUGENE J HUBER                                   8993 PEPPER RIDGE                                                                               BROOKLYN          OH    44144‐1228
EUGENE J IANAZONE                                140 CLEARWATER CV S                                                                             YOUNGSTOWN        OH    44515‐2159
EUGENE J IANAZONE & NANCY J IANAZONE JT TEN      140 CLEARWATER CV S                                                                             YOUNGSTOWN        OH    44515‐2159
EUGENE J KENDZIOREK                              1824 ELIZABETH BLVD                                                                             NEWPORT           MI    48166‐8803
EUGENE J KRENTKOWSKI & RITA MARY KRENTKOWSKI JT 28300 RYAN                                                                                       WARREN            MI    48092‐2570
TEN
EUGENE J KRIVICK JR & CHRISTINE A KRIVICK JT TEN 4475 DOW RIDGE RD                                                                               ORCHARD LAKE      MI    48324‐2323

EUGENE J KROSNOWSKI & PATRICIA A KROSNOWSKI JT   9312 RAMBLEBROOK RD                                                                             BALTIMORE         MD    21236‐1755
TEN
EUGENE J LA TARTE & RUTH E LA TARTE JT TEN       9803 MELBOURNE AVE                                                                              ALLEN PARK        MI    48101‐1387
EUGENE J LAFAVE TR EJL REVOCABLE TRUST UA        3701 E CLAIREMONT AVE                                                                           EAU CLAIRE        WI    54701‐4900
03/02/95
EUGENE J LUKASIK                                 2385 HAMATA                                                                                     FERNDALE          MI    48220‐1549
EUGENE J LUKEY                                   7822 BELLEFONTAINE RD                                                                           DAYTON            OH    45424‐1545
EUGENE J LYSACK                                  23223 FRONT BEACH RD C1‐304                                                                     PANAMA CITY       FL    32413‐8029
                                                                                                                                                 BEACH
EUGENE J MARK                                 1328 MILLVALE CT                                                                                   LAWRENCEVILLE     GA    30044‐6237
EUGENE J MIDDLETON                            551 GRACE ST                              LOT 24                                                   FARWELL           MI    48622‐8419
EUGENE J MONAGAN                              374 E RIDGEWOOD AVE                                                                                RIDGEWOOD         NJ    07450‐3349
EUGENE J MONTAGNE                             58 MERRYHILL DRIVE                                                                                 ROCHESTER         NY    14625‐1165
EUGENE J MONTAGNE & FRANCES A MONTAGNE JT TEN 58 MERRYHILL DR                                                                                    ROCHESTER         NY    14625‐1165

EUGENE J MOORE                                   280 HAYNES RD                                                                                   CANTON            GA    30114‐3501
EUGENE J NASAL & ELAINE M NASAL JT TEN           27053 MARY COURT                                                                                FLAT ROCK         MI    48134‐1870
EUGENE J NEUBECKER & ROSE M NEUBECKER JT TEN     81 FARGO AVE                                                                                    BUFFALO           NY    14201‐1137

EUGENE J NOWAK                                   51143 PEACH TREE LANE                                                                           SHELBY TOWNSHIP   MI    48316‐4533

EUGENE J NOWAK & MARJORIE A NOWAK JT TEN         51143 PEACH TREE LANE                                                                           SHELBY TOWNSHIP   MI    48316‐4533

EUGENE J NOWAK & WILLIAM P NOWAK JT TEN          121 WOODSIDE DRIVE                                                                              GREENWITCH        CT    06830‐6731
EUGENE J OTREMBA                                 4651 BUCHANAN                                                                                   WARREN            MI    48092‐1704
EUGENE J PALM                                    3708 CIRCLE DR                                                                                  FLINT             MI    48507‐1879
EUGENE J PAWLIK                                  13452 BELFAIR RD                                                                                MIDDLEBURG HT     OH    44130‐2703
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EUGENE J PETERSON                                 944 COUNTRY CLUB BLV                                                                           CHESAPEAKE        VA    23322
EUGENE J RICHIE                                   8103 E SOUTHERN AVE #239                                                                       MEZA              AZ    85208‐3519
EUGENE J RUTKOSKI                                 2709 SAINT ALBANS DR                                                                           WEST LAWN         PA    19609‐1133
EUGENE J SADLER                                   2254 CASCADE RIDGE DR                                                                          JACKSON           MI    49203‐3782
EUGENE J SCHULTZ & SHIRLEY K SCHULTZ JT TEN       4615 TOLLAND AVE                                                                               HOLT              MI    48842‐1127
EUGENE J SCHWARTZFISHER                           APT 25                                4809 GULL RD                                             LANSING           MI    48917‐4187
EUGENE J SHIFTER JR                               12385 DIXIE HWY                                                                                BIRCH RUN         MI    48415‐9323
EUGENE J SINEGAL                                  18262 STAHELIN AVE                                                                             DETROIT           MI    48219‐2840
EUGENE J SINEGAL JR                               7509 TAPPAN                                                                                    DETROIT           MI    48234‐4127
EUGENE J SLIWINSKI & MARY ANN SLIWINSKI JT TEN    21513 TROMBLY ST                                                                               ST CLAIR SHORES   MI    48080‐1207

EUGENE J SLUSIEWICZ                               3245 SAN AMADEO O                                                                              LAGUNA WOODS     CA     92637‐3002
EUGENE J SMYK                                     25712 21 MILE RD                                                                               CHESTERFIELD     MI     48051‐2705
EUGENE J SNOPKOWSKI                               767 CASTLEBAR DRIVE                                                                            NORTH            NY     14120‐2909
                                                                                                                                                 TONAWANDA
EUGENE J STRATE & MELINDA L STRATE JT TEN         1375 SW 700TH RD                                                                               HOLDEN           MO     64040‐9190
EUGENE J SZABO                                    9221 E CITRUS LANE S                                                                           SUN LAKES        AZ     85248‐7005
EUGENE J SZAWARA                                  13352 KARL                                                                                     SOUTHGATE        MI     48195‐2415
EUGENE J SZYMANSKI & BERNICE V SZYMANSKI JT TEN   28609 MARC DR                                                                                  FARMINGTON HILLS MI     48336‐3061

EUGENE J TERCHA                                   49406 FERRISBURG CT                                                                            SHELBY TOWNSHIP   MI    48315‐3922

EUGENE J THOMAS                                3280 ADAMS DR                            PO BOX 91                                                FREDRICKS         MI    49733‐0091
EUGENE J TRIMBERGER                            6260 BLYTHEFIELD NE                                                                               ROCKFORD          MI    49341‐8565
EUGENE J TRIMBERGER CUST JACKSON L BENNETT     6260 BLYTHEFIELD NE                                                                               ROCKFORD          MI    49341‐8565
UTMA MI
EUGENE J VACCAREZZA                            3335 SCOTT ST                                                                                     SAN FRANCISCO     CA    94123‐2013
EUGENE J WAGNER                                1402 PARK MEADOW WAY                                                                              BEECH GROVE       IN    46107‐1970
EUGENE J WALKLING                              1943 GLENFIELD RD                                                                                 ORTONVILLE        MI    48462‐8443
EUGENE J WALRAVEN                              211 SPENGLER DRIVE                                                                                BAY CITY          MI    48708‐7650
EUGENE J WALRAVEN & GERTRUDE R WALRAVEN JT TEN 211 SPENGLER DRIVE                                                                                BAY CITY          MI    48708‐7650

EUGENE J WALSH & JEANETTE R WALSH JT TEN          712 MOYGARA ROAD                                                                               MADISON           WI    53716‐3406
EUGENE J WARDYNSKI                                1209 S WARNER                                                                                  BAY CITY          MI    48706‐5169
EUGENE J WASZKIEWICZ                              15231 THOMAS AVE                                                                               ALLEN PARK        MI    48101‐1918
EUGENE J ZLYDASEK & DEBORAH ZLYDASEK JT TEN       160 PATTY ANN BLVD                                                                             PALM HARBOR       FL    34683
EUGENE JACKSON                                    1137 REGENT ST                                                                                 LANSING           MI    48912‐2522
EUGENE JANESKO                                    163 VOLEK RD                                                                                   SMITHFIELD        PA    15478‐1351
EUGENE JANOWICZ                                   21613 SUNNYVIEW ST                                                                             CLINTON TWP       MI    48035‐2880
EUGENE JERKATIS & MRS MARLENE M JERKATIS JT TEN   8437 TEEBROOK                                                                                  ORLAND PARK       IL    60462‐4029

EUGENE JONES                                      7375 CARLETON AVE                                                                              ST LOUIS          MO    63130‐1714
EUGENE JOSEPH MANDRICK & SANDRA B MANDRICK JT     251 COLLEGE PLACE                                                                              NORFOLK           VA    23510‐1227
TEN
EUGENE K DIEBOLD                                  756 PADDOCK PL                                                                                 NORTH WALES       PA    19454‐2706
EUGENE K GOODELL & SHARON E GOODELL JT TEN        5342 JENNIFER DRIVE                                                                            FAIRFAX           VA    22032‐3813

EUGENE K RUMPLIK                                  6837 NE CUBITIS AVE                   # 346                                                    ARCADIA           FL    34266‐5675
EUGENE K UNGVARSKY                                10 BOUTWELL ST                                                                                 WILMINGTON        MA    01887‐2603
EUGENE K WONG                                     131 TYNEBOURNE PLACE                                                                           ALAMEDA           CA    94502‐6457
EUGENE KASZTAN                                    671 FRANKLIN DR                                                                                PERTH AMBOY       NJ    08861‐1813
EUGENE KERBY                                      102 VIRGINIA DR                                                                                CHAPEL HILL       NC    27514‐6635
EUGENE KIRCHNER                                   1213 GREEN ST                                                                                  FORT COLLINS      CO    80524
EUGENE KLINE & MRS HELEN J KLINE TEN ENT          18905 DOVER DR                                                                                 HAGERSTOWN        MD    21742‐2476
EUGENE KOMAN                                      48 RACE ST                                                                                     BUFFALO           NY    14207‐1829
EUGENE KOZIOL & STEPHANIE KOZIOL JT TEN           653 PULASKI ST                                                                                 ELIZABETH         NJ    07202‐2744
EUGENE KRALOWSKI & MRS SOPHIE M KRALOWSKI JT      15770 GOLFVIEW                                                                                 LIVONIA           MI    48154‐2301
TEN
EUGENE L AMLEY                                    3215 W LAKE RD                                                                                 CLIO              MI    48420‐8819
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Name                                              Address1                                Address2             Address3          Address4          City            State Zip

EUGENE L BAKER                                    4414 BARCLAY PL                                                                                  LANSING          MI   48911‐2651
EUGENE L BARITOT & PATRICIA J BARITOT JT TEN      20 NYE HILL RD                                                                                   EAST AURORA      NY   14052‐2650
EUGENE L BAUER                                    4018 E ROTAMER RD                                                                                JANESVILLE       WI   53546‐9344
EUGENE L BENTLEY                                  405 W GRAND RIVER RD                                                                             LAINGSBURG       MI   48848‐9692
EUGENE L BERCHENI & JANET M BERCHENI JT TEN       19720 FORT ST APT 202                                                                            RIVERVIEW        MI   48192‐8750
EUGENE L BISPING                                  823 EAGLE CREEK RD                                                                               ELWOOD           IL   60421‐6040
EUGENE L BRINK                                    3267 STEPHEN DRIVE SOUTH                                                                         COLUMBUS         OH   43204‐1752
EUGENE L BURNHEIMER                               263 BLAIR ADKINS ST                                                                              ELKHORN CITY     KY   41522‐8427
EUGENE L CHAPMAN                                  2742 ELSWORTH RD R 2                                                                             PERRY            MI   48872‐8537
EUGENE L CREPAGE                                  PO BOX 173                                                                                       VIENNA           OH   44473‐0173
EUGENE L CROMWELL                                 2526 OLIVER AVE                                                                                  OAKLAND          CA   94605‐4821
EUGENE L DIPKA & MRS LENORE J DIPKA JT TEN        17037 N NUNNELEY                                                                                 CLINTON TOWNSHIP MI   48036‐3608

EUGENE L DUNBAR                                   2227 VARELMAN AVE                                                                                NORWOOD         OH    45212‐1148
EUGENE L ESCKELSON                                3370 CHAMBERS RD R 2                                                                             CARO            MI    48723‐9272
EUGENE L GARVIE                                   212 MIDDLE ST                                                                                    NASHVILLE       MI    49073‐8520
EUGENE L GRUBB                                    19 DOWNING HILL LANE                                                                             COLTS NECK      NJ    07722‐1414
EUGENE L HANNAH TR HANNAH FAMILY TRUST UA         2407 BEVERLY LN                                                                                  KIRKSVILLE      MO    63501‐5303
01/10/96
EUGENE L HAYES                                    2190 DEMARIT DRIVE                                                                               DUNEDIN         FL    34698‐2279
EUGENE L HUDDLESTON & MARY LOU HUDDLESTON JT      3926 RALEIGH DR                                                                                  OKEMOS          MI    48864‐3642
TEN
EUGENE L KARWOWICZ                                27540 EL CAPITAN                                                                                 WARREN          MI    48092‐5104
EUGENE L KIJOWSKI                                 309 CONNOR AVE                                                                                   LOCKPORT        IL    60441‐4708
EUGENE L KLENDER & SYLVIA S KLENDER JT TEN        4120 GRANGER RD                                                                                  ORTONVILLE      MI    48462‐9249
EUGENE L KRACHENFELS                              8299 GRAY                                                                                        WESTLAND        MI    48185‐1138
EUGENE L LANDRY                                   980 KETTERING                                                                                    PONTIAC         MI    48340‐3257
EUGENE L LOBODZINSKI                              1011 HAROLD ST                                                                                   BAY CITY        MI    48708‐7564
EUGENE L MARION                                   661 PARKVIEW DR                                                                                  SEVEN HILLS     OH    44131‐3906
EUGENE L MCMILLIAN                                1435 COUNTRY RIDGE DR                                                                            DE SOTO         TX    75115‐7423
EUGENE L METZGER & DOUGLAS E METZGER & GARY M     5830 PRATT RD                                                                                    LAPEER          MI    48446‐9601
METZGER JT TEN
EUGENE L MULDERINK & BARBARA A MULDERINK JT       21426 S HILLSIDE RD                                                                              FRANKFORT       IL    60423‐9195
TEN
EUGENE L NEEDHAM                                  4900 HIGHWAY 78                                                                                  LOGANVILLE       GA   30249‐3700
EUGENE L NEELY                                    10805 SUNSET OFFICE DR                  STE 100                                                  SAINT LOUIS      MO   63127‐1028
EUGENE L QUINTO & CAROL QUINTO JT TEN             132 BUCKLEY HWY                                                                                  STAFFORD SPRINGS CT   06076‐4407

EUGENE L RAMA & MARGARET M RAMA JT TEN           37312 MORAVIAN DR                                                                                 MT CLEMENS      MI    48036‐3604
EUGENE L RICHARDSON & THERESA R RICHARDSON JT    303 N MILDRED AVE                                                                                 KING CITY       CA    93930‐3214
TEN
EUGENE L SENTER JR                               5809 HUBERVILLE RD                                                                                DAYTON          OH    45431‐1218
EUGENE L SUDZEKO                                 218 WEST FAIRCHILD DRIVE                                                                          MIDWEST CITY    OK    73110‐5518
EUGENE L TAIT                                    609N INTAKE PARK RD                                                                               MANISTIGUE      MI    49854‐8984
EUGENE L TOPOLEWSKI & VIRGINIA TOPOLEWSKI JT TEN 4357 FERNBROOK XING                                                                               EVANS           GA    30809‐4601

EUGENE L WAIBEL                                   363 STATE PARK DRIVE                                                                             BAY CITY        MI    48706‐1339
EUGENE L WOOSTER                                  8780 E WEST BRANCH RD                                                                            SAINT HELEN     MI    48656‐8545
EUGENE LATTIMORE                                  1639 NORTH GATE RD                                                                               BALTO           MD    21218‐1642
EUGENE LAWSON                                     5520 TUBBS ROAD                                                                                  WATERFORD       MI    48327‐1365
EUGENE LESLIE MCLEAN & SYLVIA BERNICE MCLEAN JT   BOX 99                                  LOREBURN SK                            S0H 2S0 CANADA
TEN
EUGENE LEVERETTE                                  602 W BISHOP AVE                                                                                 FLINT           MI    48505‐6307
EUGENE LIEN                                       42‐31 COLDEN ST # 135                                                                            FLUSING         NY    11355
EUGENE LINCOURT                                   PO BOX 538                                                                                       COOPERSTOWN     NY    13326‐0538
EUGENE LITMAN CUST KENNETH SAMUEL LITMAN          11 WOODLAND RD                                                                                   ROSLYN          NY    11576
UGMA NY
EUGENE LLOYD CHAPMAN                              2742 ELSWORTH RD R 2                                                                             PERRY           MI    48872‐8537
EUGENE LOFTSPRING                                 7588 TRAILWIND DR                                                                                CINCINNATI      OH    45242‐5954
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Name                                             Address1                                Address2             Address3          Address4          City              State Zip

EUGENE LORNE PRATT                               311 NORTHLAND DR                                                                                 PRUDENVILLE      MI     48651‐9537
EUGENE M ANTKU                                   2800 E MOORE RD                                                                                  SAGINAW          MI     48601‐9344
EUGENE M ARENS                                   487 STARBOARD LANDING                                                                            FERNANDINA BEACH FL     32034‐2779

EUGENE M AUSTIN                                  814 FLAT ROCK RD                                                                                 BELLEVUE         OH     44811‐9410
EUGENE M CRAFT & PATRICA CRAFT JT TEN            5586 FERRIS RD                                                                                   EATON RAPIDS     MI     48827‐9671
EUGENE M DELVA                                   7356 FM 2625 E                                                                                   MARSHALL         TX     75672‐1900
EUGENE M DEWHIRST                                7168 WEDWORTH                                                                                    WATERFORD        MI     48327‐3760
EUGENE M DUERK & CAROLE D DUERK JT TEN           5404 ALLIGATOR LAKE RD                                                                           SAINT CLOUD      FL     34772‐9343
EUGENE M HANLEY                                  1706 CONDE ST                                                                                    JANESVILLE       WI     53546‐5860
EUGENE M KILGORE & DORIS E KILGORE TEN ENT       389 MC CALLS FERRY RD                                                                            AIRVILLE         PA     17302‐9126
EUGENE M LEWIS                                   G1037 N MORRISH ROAD                                                                             FLINT            MI     48504
EUGENE M MALEC & IRENE R MALEC JT TEN            24115 JOANNE                                                                                     WARREN           MI     48091‐3353
EUGENE M MANNING                                 423 BASSETTS BRIDGE RD                  PO BOX 207                                               MANSFIELD CENTER CT     06250‐0207

EUGENE M MARKHAM                                 4323 BRENTWOOD                                                                                   INDEPENDENCE      MO    64055‐5142
EUGENE M MCWAY SR                                8817 SIGRID RD                                                                                   RANDALLSTOWN      MD    21133‐4012
EUGENE M OROSZ                                   153 BUCKBOARD RD                                                                                 DUXBURY           MA    02332‐4740
EUGENE M PARA                                    42573 HAMILTON WAY                                                                               FREMONT           CA    94538‐5534
EUGENE M SAVAGE                                  4528 NOHL CREST DRIVE                                                                            FLOWERY BRANCH    GA    30542‐4608

EUGENE M SMITH & SHARON E SMITH JT TEN           151 AUGUSTA ST FLOOR 1                                                                           IRVINGTON         NJ    07111‐3442
EUGENE M TALAGA                                  1700 S MONROE                                                                                    BAY CITY          MI    48708‐4102
EUGENE M WILLIFORD                               3011 W SITKA ST                                                                                  TAMPA             FL    33614‐2845
EUGENE M WONG & WINIFRED J WONG TR WONG          313 LA CASA AVE                                                                                  SAN MATEO         CA    94403‐5016
TRUST UA 03/05/86
EUGENE M ZIDEK & JOANN ZIDEK TR ZIDEK FAMILY     117 TRAUBE AVENUE                                                                                DOWNERS GROVE     IL    60515‐5816
TRUST UA 12/09/03
EUGENE MARKHASIN                                 3546 74TH ST APT 406                                                                             JACKSON HEIGHTS   NY    11372

EUGENE MATTER & DOROTHY MATTER JT TEN            82 JUDITH DR                                                                                     CHEEKTOWAGA       NY    14227‐3428
EUGENE MATTHEWS & VERMELLE MATTHEWS JT TEN       168 LITTLE CAPERS RD                                                                             BEAUFORT          SC    29902‐2607

EUGENE MILES                                     5400 LAKE VISTA DR                                                                               WATERFORD         MI    48327‐3047
EUGENE MITTELMAN & MRS GEORGIA MITTELMAN JT      3400 S OCEAN BLVD                       APT 7CN                                                  PALM BEACH        FL    33480‐6614
TEN
EUGENE MOORE                                     2001 S NORVAL                                                                                    LIMA              OH    45804‐2250
EUGENE MOORE                                     1310 AVON PARK DR APT 8                                                                          FLINT             MI    48503‐2799
EUGENE MORGULIS                                  82 JOANIE LANE                                                                                   AMHERST           NY    14228‐1917
EUGENE MOSLEY                                    2015 S DEXTER ST                                                                                 FLINT             MI    48503‐4523
EUGENE N APPLEGATE                               163 DURST DR NW                                                                                  WARREN            OH    44483‐1156
EUGENE N BITTNER                                 7304 CROCKER RD                                                                                  VALLEY CITY       OH    44280‐9549
EUGENE N DESTATTE                                8183 TELEGRAPH ROAD                                                                              TEMPERANCE        MI    48182‐9578
EUGENE N GAUTHIER                                PO BOX 46                                                                                        GARDEN            MI    49835‐0046
EUGENE N MANASTERSKI                             1805 MADISON DR                                                                                  CORAOPOLIS        PA    15108‐1198
EUGENE N NEEMAN                                  34535 LAKEWOOD                                                                                   NEW BALTIMORE     MI    48047‐2047
EUGENE N STARBECKER                              9145 SLIGO CREEK PKWY                                                                            SILVER SPRING     MD    20901‐3399
EUGENE N TANCRETI                                3452 MAYER DR                                                                                    MURRYSVILLE       PA    15668
EUGENE N ZACKIEWICZ                              15155 REECK RD                                                                                   SOUTHGATE         MI    48195‐3270
EUGENE NAPIER                                    829 JENNIFER DR                                                                                  GREENWOOD         IN    46143‐8457
EUGENE NEITZKE                                   BOX 322                                                                                          BRECKENRIDGE      MI    48615‐0322
EUGENE NELSON                                    PO BOX 454                                                                                       KEOTA             OK    74941‐0454
EUGENE NELSON                                    6375 COVERED WAGONS TRAIL                                                                        FLINT             MI    48532
EUGENE NORMAN                                    1348 MAPLEGROVE DR                                                                               FAIRBORN          OH    45324‐3519
EUGENE O BOYD                                    2613 NO BUCKLES                                                                                  MUNCIE            IN    47303‐1835
EUGENE O DUNN                                    15714 HELEN                                                                                      SOUTHGATE         MI    48195‐2070
EUGENE O GINGRICH                                3300 SHORE DR                           APT 23‐A                                                 CUMMING           GA    30040‐7435
EUGENE O MAUCH                                   13721 COLPAERT                                                                                   WARREN            MI    48093‐5729
EUGENE O STAFFORD                                215 N COTTAGE AVE                                                                                CONNELLSVILLE     PA    15425‐3308
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EUGENE O STINSON                                  814 BROADWAY                                                                                    OWOSSO             MI    48867‐4506
EUGENE O THOMPSON & IONE E THOMPSON JT TEN        5966 CROSS CREEK BLVD                                                                           INDIANAPOLIS       IN    46217‐3700

EUGENE OBRIEN                                     65 SPRUCE ST                                                                                    STRATFORD          CT    06615‐7904
EUGENE OLIVARES                                   65 BENTON                                                                                       SAGINAW            MI    48602‐1905
EUGENE OSBORN                                     1825 N E 48TH ST                                                                                OKLAHOMA CITY      OK    73111‐6255
EUGENE P BOVENZI                                  45 GLENVILLE DRIVE                                                                              ROCHESTER          NY    14606‐4615
EUGENE P CALKINS                                  PO BOX 142                                                                                      CEDAR SPRINGS      MI    49319‐0142
EUGENE P CAVANAUGH                                8438 LAKE RD                                                                                    BARKER             NY    14012‐9608
EUGENE P CONNELL & CAROL CONNELL JT TEN           38 SHERWOOD RD                                                                                  TENAFLY            NJ    07670‐2759
EUGENE P CRAWLEY                                  3917 RAINBOW VIEW DR                                                                            INDIANAPOLIS       IN    46221‐2812
EUGENE P CUFF                                     721 MORNING GLORY LN                                                                            BELOIT             WI    53511‐1634
EUGENE P DAVIES                                   1810 BOND PL                                                                                    JANESVILLE         WI    53545‐3414
EUGENE P DUDASH & CHERYL A DUDASH JT TEN          2135 S W 97 LANE                                                                                FORT LAUDERDALE    FL    33324‐4748

EUGENE P FOOTE                                6421 E CHURCH ST                           PO BOX 476                                               CLARKSTON          MI    48347‐0476
EUGENE P GUTKA                                1421 SUMMIT DRIVE                                                                                   MAYFIELD           OH    44124‐1520
EUGENE P HARDING & JOYCE B HARDING JT TEN     1424 14TH ST                               APT 3                                                    SANTA MONICA       CA    90404‐2733
EUGENE P JORDAN                               3469 E 100 SOUTH                                                                                    KOKOMO             IN    46902‐2839
EUGENE P KOVERMAN                             ATTN PATRICK K SMITH                       4638 EASTGATE AVE                                        DAYTON             OH    45420‐3310
EUGENE P KUEHN                                4214 CORONADO PKWY                                                                                  CAPE CORAL         FL    33904‐7311
EUGENE P LINTNER                              977 DORIS JANE LANE                                                                                 FAIRFIELD          OH    45014‐2813
EUGENE P MAJCHER                              28421 LEROY                                                                                         ROMULUS            MI    48174‐3007
EUGENE P MC GINTY                             543 OLD ELM ST                                                                                      CONCHOHOCKEN       PA    19428‐1047
EUGENE P MCGLAUFLIN & DOROTHY W MCGLAUFLIN JT 315 CAMBRIDGE PL                                                                                    LITTLE ROCK        AR    72227‐2160
TEN
EUGENE P MILLER JR                            PO BOX 69                                                                                           BUTLER             MO    64730
EUGENE P QUINN                                260 MIDDLE ROAD                                                                                     EAST GREENWICH     RI    02818‐2808
EUGENE P RAMSEY                               4062 ANTHONY                                                                                        STERLING HEIGHTS   MI    48310‐5057

EUGENE P RUSSELL                                  10700 WEST 38TH AVE                    APT 311                                                  WHEATRIDGE         CO    80033‐3954
EUGENE P SALVATI & LAURA D SALVATI JT TEN         165 MORRIS ISLAND RD                                                                            CHATHAM            MA    02633‐2529
EUGENE P SIROSKEY & DOLORES V SIROSKEY JT TEN     7531 FREDA                                                                                      DEARBORN           MI    48126‐1684

EUGENE P SMOLINSKI                                513 S BARCLAY ST                                                                                BAY CITY           MI    48706‐4229
EUGENE P STANKOWSKI                               207 IDLEWOOD DR                                                                                 TONAWANDA          NY    14150‐6429
EUGENE PASSMAN                                    2949 W WESCOTT DR                                                                               PHOENIX            AZ    85027‐4936
EUGENE PATRICK                                    217 W BAKER ST                                                                                  FLINT              MI    48505
EUGENE PAYNE                                      59140 VAN DYKE                                                                                  WASHINGTON         MI    48094‐2203
EUGENE PEDRI                                      28447 JAMES DRIVE                                                                               WARREN             MI    48092‐5614
EUGENE PETER KURLONKO                             2350 ROOF LAKE ROAD                                                                             LAPEER             MI    48446
EUGENE PETRA                                      294 TAYLOR RD S                                                                                 SHORT HILLS        NJ    07078
EUGENE PETRA & ISABELLA V PETRA JT TEN            294 TAYLOR RD S                                                                                 SHORT HILLS        NJ    07078‐2316
EUGENE PETTIT JR                                  1487 S JOHNSVILLE FARMERS                                                                       NEW LEBANON        OH    45345‐9731
EUGENE PIPER                                      417 RED BUD CIRCLE                                                                              LUTTRELL           TN    37779‐1719
EUGENE POTTS                                      830 WAVERLY                                                                                     KANSAS CITY        KS    66101‐1564
EUGENE R ALENT & FLOY C ALENT JT TEN              1083 S COLLON DRIVE                                                                             BAD AXE            MI    48413‐9173
EUGENE R ANDRE                                    26405 HENDRIE BLVD                                                                              HUNTINGTON         MI    48070‐1254
                                                                                                                                                  WOODS
EUGENE R ARMSTRONG                                12795 LAUDER                                                                                    DETROIT            MI    48227‐2512
EUGENE R AUER JR                                  6326 E NASSAU CT                                                                                HIGHLANDS RANCH    CO    80130‐3343

EUGENE R BAUER                                    922 LA RUE AVE                                                                                  LA VERNE           CA    91750‐1840
EUGENE R BEARDEN                                  623 CENTER POINT RD                                                                             CARROLLTON         GA    30117‐9321
EUGENE R BINKOWSKI                                1254 PULLMAN RD 207                                                                             ROMEOVILLE         IL    60446‐4183
EUGENE R BLEECKER CUST EUGENE TIMOTHY BLEECKER    6000 HUNT CLUB LANE                                                                             BALTIMORE          MD    21210‐1302
UTMA MD
EUGENE R BLEECKER CUST KARIN ABIGAIL BLEECKER     6000 HUNT CLUB LANE                                                                             BALTIMORE          MD    21210‐1302
UTMA MD
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EUGENE R BLUE                                  33750 PINE RIDGE DR W                                                                         FRASER           MI   48026‐5019
EUGENE R BOWER                                 4556 SHERWOOD DRIVE                                                                           INDIAN RIVER     MI   49749‐9329
EUGENE R BROWN                                 2949 MALLERY ST                                                                               FLINT            MI   48504‐3001
EUGENE R BUDKEWICZ                             242 GREAT OAKS TRL                   APT B                                                    WADSWORTH        OH   44281‐9483
EUGENE R CALLENS                               41571 WESTMEATH CIRCLE                                                                        MT CLEMENS       MI   48038‐5814
EUGENE R CAMPAGNO                              3 FAT FRIARS RETREAT                                                                          SAVANNAH         GA   31411‐1705
EUGENE R CAREY                                 514 FERNVALE N W                                                                              GRAND RAPIDS     MI   49504‐3530
EUGENE R CLINGENPEEL                           PO BOX 372                                                                                    NORTH LIBERTY    IN   46554‐0372
EUGENE R CULLER                                PO BOX 96                                                                                     SALEM            OH   44460‐0096
EUGENE R DAVIS                                 10507 FELTON ST                                                                               SUGAR CREEK      MO   64054‐1022
EUGENE R DE RATH                               5933 SUGARBUSH LANE                                                                           GREENDALE        WI   53129‐2624
EUGENE R DEMPSEY                               97 WEST DRAHNER RD                                                                            OXFORD           MI   48371‐5004
EUGENE R DREYER                                PO BOX 1193                                                                                   SOUTHGATE        MI   48195‐0193
EUGENE R DURBIN                                1033 WINDSOR ST                                                                               FLINT            MI   48507‐4238
EUGENE R DZIEKAN                               1874 STEVENSON AVE                                                                            CLEARWATER       FL   33755‐1854
EUGENE R ECKERT JR                             30 WESTWOOD DR                                                                                FREMONT          OH   43420‐9636
EUGENE R ELLIOTT                               25348 BRIARWYKE DR                                                                            FARMINGTON HILLS MI   48336‐1653

EUGENE R ERBY                                  734 CHEROKEE LANE                                                                             OSAGE BEACH     MO    65065‐3402
EUGENE R FLADHAMMER                            4707 SUMPTER DRR                                                                              MILTON          WI    53563‐8420
EUGENE R GARBE                                 12807 NW 78TH TER                                                                             PARKVILLE       MO    64152‐5405
EUGENE R GORNY & THERESA M GORNY JT TEN        21045 FOREST VILLA DR                                                                         MACOMB          MI    48044‐2234
EUGENE R GRACE                                 2494 GLEN CANYON RD                                                                           ALTADENA        CA    91001‐3548
EUGENE R HARBERT                               140 SPRUCE STREET                                                                             ELYRIA          OH    44035‐3357
EUGENE R HECHT                                 8180 BRADLEY RD R 4                                                                           SAGINAW         MI    48601‐9432
EUGENE R KLEMM                                 5700 N 600 E                                                                                  LAFAYETTE       IN    47905‐9763
EUGENE R KUTT                                  20974 LARKSPUR                                                                                FARMINGTON      MI    48336‐5041
EUGENE R LOWERY                                1078 N PASADENA AVE                                                                           ELYRIA          OH    44035‐2966
EUGENE R MAGNAN                                16117 HIGHWAY 101 S                  APT 77                                                   BROOKINGS       OR    97415‐9430
EUGENE R METZGER                               1650 W 800 N                                                                                  LEBANON         IN    46052‐8224
EUGENE R MOJZESZ                               4375 BAILEY AVE                                                                               AMHERST         NY    14226‐2131
EUGENE R MOJZESZ & RITA L MOJZESZ JT TEN       4375 BAILEY AVE                                                                               AMHERST         NY    14226‐2131
EUGENE R NAGY JR                               7082 RIEGLER ST                                                                               GRAND BLANC     MI    48439‐8519
EUGENE R NIEMEYER & ELAINE G NIEMEYER JT TEN   1224 BARDS AVE                                                                                NAPERVILLE      IL    60564‐3158
EUGENE R NOLAN                                 107 ROUGE RD                                                                                  ROCHESTER       NY    14623‐4127
EUGENE R O HARA                                510 GREENVIEW DR                                                                              NORTHAMPTON     PA    18067‐1969
EUGENE R ROSE                                  7566 HURON                                                                                    TAYLOR          MI    48180‐2609
EUGENE R ROSS                                  605 W 20TH ST                                                                                 WILMINGTON      DE    19802‐3901
EUGENE R SCHWARZOTT JR                         2626 MURDOCK ROAD                                                                             MEDINA          NY    14103‐9451
EUGENE R SMITH                                 4514 EMORY DRIVE                                                                              BUFORD          GA    30518‐4894
EUGENE R STEELE                                3301 F M 1417 NORTH APT 913                                                                   SHERMAN         TX    75092
EUGENE R STELTER                               RTE #1 BOX 273 S                                                                              FERRYVILLE      WI    54628‐9791
EUGENE R STRUBHART                             747 IVYGATE DR                                                                                ST LOUIS        MO    63129‐2662
EUGENE R SWALLOW JR & ELIZABETH A SWALLOW JT   424 SOUTH 76TH TERRACE                                                                        KANSAS CITY     KS    66111‐2603
TEN
EUGENE R TURK                                  1255 E INDIAN WELLS CT                                                                        CHANDLER        AZ    85249‐8781
EUGENE R VAN SICKEL                            564 VILLAGE GREEN LOOP                                                                        WESTERVILLE     OH    43082‐9348
EUGENE R VRABEL                                16 ALBRECHT CT                                                                                MORGANTOWN      PA    19543‐9325
EUGENE R WALTERS                               1206 MATHESON ST                                                                              JANESVILLE      WI    53545‐1816
EUGENE R WALTERS & BERTHA L WALTERS JT TEN     1206 MATHESON ST                                                                              JANESVILLE      WI    53545‐1816
EUGENE R WHITCHER JR                                                                                                                         WARREN          NH    03279
EUGENE R WYDRA                                 216 MICHIGAN AVE                                                                              GLADSTONE       MI    49837‐1914
EUGENE R YOUNG                                 11515 BUNTON RD                                                                               WILLIS          MI    48191‐9731
EUGENE R ZALEWSKI                              2843 CAPEHORN CT                                                                              TAVARES         FL    32778‐9243
EUGENE R ZANDER                                980 FULLER                           PO BOX 95                                                LYONS           MI    48851‐0095
EUGENE RAMSDEN TR EUGENE RAMSDEN TRUST UA      17977 ABIQUA RD NE                                                                            SILVERTON       OR    97381
07/27/94
EUGENE RANDALL MC CARTHY                       252 TORONTO AVE                                                                               MASSAPEQUA      NY    11758‐4037
EUGENE RAY BALDWIN                             17 OAKRIDGE NORTH                                                                             TRINITY         TX    75862
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Name                                              Address1                                Address2             Address3          Address4          City               State Zip

EUGENE REED                                       1060 COLONY RD                                                                                   GRIMSLEY           TN    38565‐5087
EUGENE REIBER                                     7308 S ROYSTON RD                                                                                EATON RAPIDS       MI    48827‐9564
EUGENE RICHARDSON                                 2408 NORTHGLEN                                                                                   FT WORTH           TX    76119‐2724
EUGENE RISNER                                     15 MILLBRIDGE DR                                                                                 ST PETERS          MO    63376‐7005
EUGENE ROBERSON                                   21503 LIBBY                                                                                      MAPLE HGTS         OH    44137‐2940
EUGENE ROBY                                       2107 FRUEH ST                                                                                    SAGINAW            MI    48601‐4108
EUGENE ROEBUCK & PATRICIA ROEBUCK JT TEN          2701 SHAKESPEARE LN                                                                              AVON               OH    44011‐1947
EUGENE RUDD                                       1465 LENROOT RD                                                                                  BETHEL             OH    45106‐8402
EUGENE RUSINEK                                    5094 FOREST SIDE DR                                                                              FLINT              MI    48532‐2326
EUGENE RUTKOWSKI                                  137 MESSER AVENUE                                                                                DEPEW              NY    14043‐4431
EUGENE S BODUCK                                   88 HUNT STREET                                                                                   ISELIN             NJ    08830‐1723
EUGENE S BOVENZI                                  47 MERLIN ST                                                                                     ROCHESTER          NY    14613‐2121
EUGENE S DOMAN & JEAN ANN DOMAN & SUELLEN         707 S CAMBRIDGE                                                                                  SCHAUMBURG         IL    60193‐2664
DOMAN JT TEN
EUGENE S HALL                                     18417 BETTY WAY                                                                                  CERRITOS           CA    90703‐6318
EUGENE S HERTEL SR & MRS RACHEL T HERTEL JT TEN   549‐A HERITAGE VILLAGE                                                                           SOUTHBURY          CT    06488‐1617

EUGENE S MCCORMICK                                322 SKUSE RD                                                                                     GENEVA             NY    14456‐9513
EUGENE S MIKOS & MRS MARGARET MIKOS JT TEN        123 S MARILYN AVE                                                                                NORTHLAKE          IL    60164‐2513

EUGENE S MITCHELL                              8604 E 92 PLACE                                                                                     KANSAS CITY        MO    64138‐4660
EUGENE S MURPHY                                317 FOX ST                                                                                          HARRISBURG         PA    17109‐3818
EUGENE S RAPP                                  12015 MUDDELTY VALLEY ROAD                                                                          SUMMERSVILLE       WV    26651
EUGENE S SANCHEZ                               242 E LIVINGSTON AVE                                                                                FLINT              MI    48503‐4154
EUGENE S WHEELER                               2309 KINGS LAKE BLVD                                                                                NAPLES             FL    34112‐5300
EUGENE S WHEELER TR EUGENE S WHEELER REVOCABLE 2309 KINGS LAKE BLVD                                                                                NAPLES             FL    34112‐5300
LIVING TRUST UA10/30/95
EUGENE S ZDUN                                  6562 FENTON                                                                                         DEARBORN HTS       MI    48127‐2115
EUGENE SAMBROOK                                4404 PARKER                                                                                         DEARBORN           MI    48125‐2235
EUGENE SCHOENDORF & MARY JANE SCHOENDORF JT PO BOX 397                                    240 E PINE ST                                            ELSIE              MI    48831‐0397
TEN
EUGENE SCOTT WISSINGER                         2004 D WEST 14TH ST                                                                                 HOUSTON            TX    77008‐3412
EUGENE SEILER                                  74 WEST COURT DR                                                                                    CENTEREACH         NY    11720‐2309
EUGENE SEPT                                    408 MALIBU CANVON DR                                                                                COLUMBIA           TN    38401‐6801
EUGENE SHAW                                    5200 N SHERATON RD                         APT 226                                                  CHICAGO            IL    60640
EUGENE SHOOK & CONSTANCE JEAN KNAUFF JT TEN    2601 DORSET DR                                                                                      VALPARAISO         IN    46383

EUGENE SIERAKOWSKI                                555 WETHERSFIELD AVE                                                                             HARTFORD           CT    06114‐1944
EUGENE SIMINSKI                                   1911 S GRANT ST                                                                                  BAY CITY           MI    48708‐3810
EUGENE SINGER & MARVIN A SINGER JT TEN            3558 WASHINGTON BLVD                                                                             UNIVERSITY HEIGH   OH    44118‐2611

EUGENE SINK                                       1206 E 37TH ST                                                                                   ANDERSON           IN    46013‐5326
EUGENE STAHNKE                                    N 1201 CTY BB                                                                                    REESEVILLE         WI    53579
EUGENE STALNAKER & DELORA J STALNAKER JT TEN      5611 80TH STREET                                                                                 LUBBOCK            TX    79424‐2627

EUGENE STAN                                     3945 ALEESA DR SE                                                                                  WARREN             OH    44484‐2913
EUGENE STAN CUST ELLEN J STAN UGMA OH           3945 ALEESA DR SE                                                                                  WARREN             OH    44484‐2913
EUGENE STANLEY POKIGO                           5807 VILLAGE GROVE DR                                                                              PEARLAND           TX    77581‐2242
EUGENE T BRANIGAN CUST CATHERINE MARY           96‐07 91ST RD                                                                                      WOODHAVEN          NY    11421‐2723
BRANIGAN UGMA NY
EUGENE T BRANIGAN CUST CHRISTINE JANET BRANIGAN 96‐07 91 RD                                                                                        WOODHAVEN          NY    11421‐2723
UGMA NY
EUGENE T BRANIGAN CUST EUGENE T BRANIGAN III    96‐07 91ST RD                                                                                      WOODHAVEN          NY    11421‐2723
UGMA NY
EUGENE T BUCKLEY                                BOX 1851                                                                                           EAST LANSING       MI    48826‐1851
EUGENE T BUDD                                   3255 WEST BURT RD                                                                                  BURT               MI    48417‐9619
EUGENE T CALERIS                                2031 BEDFORD RD                                                                                    LOWELLVILLE        OH    44436‐9753
EUGENE T GRIFFITH                               C/O DARYL R DOUPLE ATTORNEY AT LAW        130 W SECOND ST      STE 1900                            DAYTON             OH    45402
EUGENE T HICKS                                  4304 E 164TH                                                                                       CLEVELAND          OH    44128‐2412
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EUGENE T HOLLENBACK                               5185 SEYMOUR RD                                                                                OWOSSO            MI    48867‐9454
EUGENE T HORAN                                    416 HAWARDEN ROAD                                                                              SPRINGFIELD       PA    19064
EUGENE T HUNT & CYNTHIA J HUNT JT TEN             1149 AUTUNVIEW DR                                                                              ROCHESTER         MI    48307‐6061
EUGENE T MC KENNA                                 915 SE 23RD FL APT B                                                                           CAPE CORAL        FL    33909
EUGENE T MENDYK                                   11497 ARMSTRONG DR S                                                                           SAGINAW           MI    48609‐9691
EUGENE T O'CONNOR                                 1560 PINNACLE EAST SW                                                                          WYOMING           MI    49509‐5042
EUGENE T SPITZLEY                                 6510 W GRAND RIVER                                                                             LANSING           MI    48906‐9118
EUGENE T VOGEL                                    2918 ROCK CREEK TER                                                                            JEFFERSON CTY     MO    65109
EUGENE T WHITE                                    454 S EDITH ST                                                                                 PONTIAC           MI    48341‐3313
EUGENE TEREBA                                     9637 KELLEY DR                                                                                 HUNTSVILLE        UT    84317‐9674
EUGENE THOMAS                                     3524 EAST 114 ST                                                                               CLEVELAND         OH    44105‐1832
EUGENE THOMAS                                     810 N MC NEIL                                                                                  MEMPHIS           TN    38107‐4433
EUGENE TOLES                                      150 E FOSS                                                                                     FLINT             MI    48505‐2116
EUGENE TURNER                                     1530 HAMILTON ST                                                                               TOLEDO            OH    43607‐4333
EUGENE U SAUVE                                    244 HOUSEMAN ST                                                                                MAYFIELD          NY    12117‐3947
EUGENE UNDERWOOD                                  3718 38TH AVE SW                                                                               SEATTLE           WA    98126‐2408
EUGENE V BARTHAUER                                2934 GRIFFINVIEW DR LOT 149                                                                    LADY LAKE         FL    32159‐4668
EUGENE V DIPZINSKI                                5071 JOY DR                                                                                    SWARTZ CREEK      MI    48473‐8527
EUGENE V FRIEND                                   10694 DAUGHERTY LN                                                                             RICHWOODS         MO    63071‐2409
EUGENE V MACIOL                                   5821 NE 17TH AV                                                                                FORT LAUDERDALE   FL    33334‐5932

EUGENE V PELLEGRINI                               11020 NELSON ST                                                                                WESTCHESTER       IL    60154
EUGENE V PILLOT                                   105 WEST CONWAY ST                                                                             BALTIMORE         MD    21201‐2422
EUGENE V PRONEK                                   320 LILIUOKALANI AVE 1404                                                                      HONOLULU          HI    96815
EUGENE V WILLIAMS                                 329 SOUTH POINTE DR                                                                            CHARLESTON        WV    25314‐2486
EUGENE V WILLIAMS & LA RUE WILLIAMS JT TEN        329 SOUTH POINTE DR                                                                            CHARLESTON        WV    25314‐2486
EUGENE V WISNIEWSKI & ELLEN C WISNIEWSKI JT TEN   6201 DEWHIRST DRIVE                                                                            SAGINAW           MI    48603‐4306

EUGENE VARY                                       759 LONGSTRETH RD                                                                              WARMINSTER        PA    18974‐2917
EUGENE VERNACHIO                                  467 STEUBEN AVENUE                                                                             FORKED RIVER      NJ    08731‐1633
EUGENE VIGH                                       184 QUIMBY AVENUE                                                                              TRENTON           NJ    08610‐2204
EUGENE VINCENT RUCHHEISTER & LINDA K              1008 LINCOLN ST                                                                                WAMEGO            KS    66547‐1502
BUCHHEISTER JT TEN
EUGENE W BELANGER                                 3283 HAWKS NEST DR                                                                             KISSIMMEE         FL    34741‐7524
EUGENE W BESOK & JUDY S BESOK JT TEN              2857 RHETT BUTLER DR                                                                           LOUISVILLE        TN    37777‐3549
EUGENE W DAVIDSON & MRS NORMA E DAVIDSON JT       871 BRITTANY LN                                                                                CONCORD           CA    94518‐3409
TEN
EUGENE W DERR                                     200 N SHORE TRAIL                                                                              PRINEVILLE        OR    97754‐9619
EUGENE W DUNNING & MARTHA M DUNNING JT TEN        488 KRESNAK RD                                                                                 MANCELONA         MI    49659‐8639

EUGENE W ECKMAN                                   551 SOUTH WASHINGTON DRIVE            SAINT ARMANDS KEY                                        SARASOTA          FL    34236‐1725
EUGENE W ECKMAN & HILDEGARD M ECKMAN JT TEN       SAINT ARMANDS KEY                     551 S WASHINGTON DRIVE                                   SARASOTA          FL    34236‐1725

EUGENE W ESCHBACHER & MRS VIRGINIA W          1029 W MAIN ST                                                                                     CARLINVILLE       IL    62626‐9110
ESCHBACHER JT TEN
EUGENE W FIORANELLI                           12308 FERNWOOD COVE                                                                                GULFPORT          MS    39503‐2709
EUGENE W FLETCHER                             15877 SO 2ND ST                                                                                    SCHOOLCRAFT       MI    49087‐9728
EUGENE W GORDON                               2107 VALLEYBROOK RD                                                                                STREETSBORO       OH    44241‐5832
EUGENE W HANBUCH                              5790 DENLINGER ROAD                                                                                TROTWOOD          OH    45426‐1838
EUGENE W HELDERMAN                            1178 YORKTOWN RD                                                                                   COLLIERVILLE      TN    38017‐1229
EUGENE W HELMS & NORMA J HELMS JT TEN         6550 GREENWICH LANE                                                                                DALLAS            TX    75230‐2840
EUGENE W HIGGINS                              138 LEE ST                                                                                         BELPRE            OH    45714‐2365
EUGENE W HINER                                4004 WATER PARK COURT                                                                              RIVERVIEW         FL    33569‐3038
EUGENE W KLOSSNER                             315 W BANK ST                                                                                      ALBION            NY    14411‐1221
EUGENE W KLOSSNER CUST KATELYNNE M KLOSSNER   315 WEST BANK ST                                                                                   ALBION            NY    14411‐1221
UGMA NY
EUGENE W KLOSSNER CUST TRAVIS W KLOSSNER UGMA 315 WEST BANK ST                                                                                   ALBION            NY    14411‐1221
NY
EUGENE W LAUSCH & CAROLYN F LAUSCH JT TEN     4248 WASHINGTON BLVD                                                                               INDPLS            IN    46205‐2619
                                              09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                Address1                              Address2             Address3          Address4          City               State Zip

EUGENE W MANETZ                                     9127 W WESCOTT DR                                                                              PEORIA             AZ    85382‐2656
EUGENE W MAUGHON                                    1620 BAINBRIDGE WAY                                                                            ROSWELL            GA    30076‐1621
EUGENE W MCCALL                                     8875 CLOVERLAWN                                                                                DETROIT            MI    48204‐2728
EUGENE W MELNYCZUK EX EST PAULINE MELNYCZUK         PO BOX 416                                                                                     EAGLE BAY          NY    13331‐0416

EUGENE W MILLER & MICHAEL LEE MILLER JT TEN         1784 SILVER MAPLE DR                                                                           BLAIRSVILLE        GA    30512‐3859
EUGENE W PAXTON                                     22338 JOLLY ROGER DR                                                                           CUDJOE KEY         FL    33042‐4236
EUGENE W RIGG                                       332 N GROVE                           PO BOX 711                                               STANDISH           MI    48658‐0711
EUGENE W SHAY                                       964 TORRENCE DR                                                                                SPRINGFIELD        OH    45503‐1941
EUGENE W SIMPSON                                    620 BEDFORD PLACE                                                                              GRAND BLANC        MI    48439‐1208
EUGENE W TYACK                                      1220 BEECHLAND                                                                                 WATERFORD          MI    48328‐4727
EUGENE W VONDUNN                                    123 PEQUA PL                                                                                   MASSAPEQUA         NY    11758
EUGENE WALKER                                       2621 DEEPHILL CIRCLE                                                                           DALLAS             TX    75233‐4005
EUGENE WALLACE JR                                   2283 RIDGECREST LN                                                                             EAST POINT         GA    30344‐2140
EUGENE WALTER                                       822 E SAND HILL DR                                                                             CEDAR              MI    49621‐9728
EUGENE WALTERS                                      1716 24TH STREET                                                                               BEDFORD            IN    47421‐4708
EUGENE WALTHALL JR                                  120 CLIFFSIDE DR                                                                               SAN ANTONIO        TX    78231‐1509
EUGENE WATSON                                       2021 STANFORD                                                                                  FLINT              MI    48503‐4010
EUGENE WHITE                                        6328 BROWNS MILL RD                                                                            LITHONIA           GA    30038‐4209
EUGENE WILLIAMS                                     PO BOX 1503                                                                                    VALRICO            FL    33595‐1503
EUGENE WILLIAMS                                     3282 ALPINE DR                                                                                 ANN ARBOR          MI    48108‐1766
EUGENE WOYAK                                        6913 MARILYN NE                                                                                ALBUQUERQUE        NM    87109‐3661
EUGENE Y HOTTA & EMIKO HOTTA JT TEN                 2660 TIPPERARY AVE                                                                             SO SAN FRANCISCO   CA    94080‐5356

EUGENE Y S WONG                                     17108 S STARK AVE                                                                              CERRITOS           CA    90703‐1820
EUGENE ZAIRE                                        726 JEFFERIES RD                                                                               SHADY DALE         GA    31085‐3354
EUGENE ZELENSKY                                     2362 W CERULEAN DR                                                                             KUNA               ID    83634‐3490
EUGENIA A BEDSOLE                                   114 BLAKELY AVE                                                                                LAURENS            SC    29360‐3702
EUGENIA A POOLE                                     652 CLINTON                                                                                    BUFFALO            NY    14210‐1026
EUGENIA ANN NOBLE                                   PO BOX 658                                                                                     BETHEL             NC    27812‐0658
EUGENIA B HAMLIN                                    17045 ADDISON ST                                                                               SOUTHFIELD         MI    48075‐2954
EUGENIA BELEJACK                                    777 NORTHFIELD AVE                                                                             WEST ORANGE        NJ    07052‐1131
EUGENIA BUSH MURPHY & JOSEPH P MURPHY JT TEN        8268 WOOD STREET SE                                                                            COVINGTON          GA    30014‐3967

EUGENIA C PHILLIPS TR ENGENIA C PHILLIPS 1997 FAM   1535 GARDEN ST                                                                                 REDLANDS           CA    92373‐7107
TRUST UA 01/07/97
EUGENIA C SZESZULSKI                                1615 S KIESEL                                                                                  BAY CITY           MI    48706‐5296
EUGENIA C WILSON                                    PO BOX 1119                                                                                    APEX               NC    27502‐3119
EUGENIA CARR HARBACK                                10318 TRACEWOOD DR                                                                             LITTLETON          CO    80130
EUGENIA CLARK WALTON                                3671 DAVIS RD SE                                                                               DEARING            GA    30808‐4004
EUGENIA DICKERSON                                   13216 W MESA VERDE DR                                                                          SUN CITY WEST      AZ    85375‐3208
EUGENIA FONDA JOHNS                                 14000 MAPLE CIRCLE                                                                             STRONGSVILLE       OH    44136
EUGENIA G HOWARD                                    4618 BARRINGTON DRIVE                                                                          FORT WAYNE         IN    46806‐2671
EUGENIA HITT LYON                                   1824 LINDENWOOD DR                                                                             ORANGE             TX    77630‐2818
EUGENIA J HAYDEN                                    10518 SOUTH COUNTY RD 400 W                                                                    STILESVILLE        IN    46180‐9461
EUGENIA L CARDINALE                                 55 NISA LN APT 4                                                                               ROCHESTER          NY    14606‐4013
EUGENIA L DABNEY                                    5259 W SLAUSON AVE                                                                             LOS ANGELES        CA    90056‐1335
EUGENIA LIPKA                                       1241 CHESTNUT ST                                                                               ROSELLE            NJ    07203‐2949
EUGENIA M BARTO HOMESTEAD LLC                       409 S WASHINGTON ST                                                                            EASTON             MD    21601‐2808
EUGENIA M BREIDT                                    117 POPLAR WAY                                                                                 BRICK              NJ    08724‐2501
EUGENIA M CRAIG                                     5373 CASTLE PINES                                                                              COLUMBUS           OH    43235‐5020
EUGENIA M STROHM                                    315 BUCK CREEK BLVD                                                                            INDIANAPOLIS       IN    46227
EUGENIA NILSEN                                      C/O BRECHKA                           33 CENTRAL AVE       APARTMENT 5D                        STATEN ISLAND      NY    10301‐2522
EUGENIA P FRATANGELO                                4727 MEADOWGREEN DR                                                                            PITTSBURGH         PA    15236‐1848
EUGENIA PANOS                                       2915 SOISSONS AVE                     MONTREAL QC                            H3S 1W1 CANADA
EUGENIA R ESPINOZA                                  11233 GAYNOR AVE                                                                               GRANADA HILLS      CA    91344‐3913
EUGENIA S SAFKO                                     RR 2 BOX 149                                                                                   WAPWALLOPEN        PA    18660‐9675
EUGENIA S SIEGLER                                   3503 LELAND ST                                                                                 CHEVY CHASE        MD    20815‐3903
EUGENIA SEPE                                        52 KNOLLWOOD DR                                                                                ROCHESTER          NY    14618‐3513
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Name                                            Address1                               Address2             Address3          Address4            City              State Zip

EUGENIE A DUDDING                               9317 MOSS HAVEN DRIVE                                                                             DALLAS            TX    75231‐1413
EUGENIE ARIAS                                   1176 RIDGEFIELD AVE                                                                               POINT PLEASANT    NJ    08742‐2947
EUGENIE T ANDERSON                              3628 THERONDUNN CT                                                                                PLANO             TX    75023‐6012
EUGENIE VANN                                    9468 SWANSEA LANE                                                                                 WEST PALM BEACH   FL    33411‐5163

EUGENIO GARMENDIA MERINO                        PASEO INFANTES DE ESPANA 8             CASA 37              ZARAGOZA          SPAIN
EUGENIO L SANCHEZ                               726 CAYWOOD                                                                                       LANSING           MI    48915‐1315
EUGENIO MOSCARDI                                29 N FIRST STREET                                                                                 CORTLANDT         NY    10567‐5256
                                                                                                                                                  MANOR
EUGENIO RIPOLINO                                806 GRAND AVE                                                                                     WESTFIELD         NJ    07090‐2323
EUGENIO S RAMIREZ                               1829 MAYFLOWER DR SW                                                                              WYOMING           MI    49519‐9663
EUGENIO SALOMON BIGELMAN & MRS ANA BIGELMAN     9509 HARDING AVE                                                                                  SURFSIDE          FL    33154‐2501
JT TEN
EUGINA SIECK                                    3973 POLARIS AVE                                                                                  LOMPOC            CA    93436‐1434
EULA A SANCHEZ                                  11720 DOWNING RD                                                                                  BIRCH RUN         MI    48415‐9793
EULA B MURRAY                                   5810 E 98 COURT                                                                                   KANSAS CITY       MO    64134‐1214
EULA C MCCLINTIC                                248 S LIBERTY ST                                                                                  RUSSIAVILLE       IN    46979‐9134
EULA CHILTON                                    703 2ND ST                                                                                        ALBANY            KY    42602‐1523
EULA DAVISON                                    5475 CHRISTIE AVE SE                                                                              GRAND RAPIDS      MI    49508‐6164
EULA FRAZIER JR                                 20830 TRACY AVENUE                                                                                EUCLID            OH    44123‐3051
EULA G PELFREY & LINDA S JERNIGAN JT TEN        4135 IVANHOE AVENUE                                                                               NORWOOD           OH    45212‐3540
EULA GREGORY PIERCE                             2716 E LYNN STREET                                                                                ANDERSON          IN    46016‐5545
EULA H COLE & SARA COLE JT TEN                  7706 E PLEASANT RUN                                                                               SCOTTSDALE        AZ    85258‐3197
EULA H HILL                                     109 LAKESIDE DR                                                                                   MILLINGTON        MD    21651‐1543
EULA I GREEN                                    2757 STATE ROUTE 93 N                                                                             KUTTAWA           KY    42055‐5819
EULA M BORTON                                   852 BRIXHAM RD                                                                                    COLUMBUS          OH    43204‐1002
EULA M COBB TR EULA MAE COBB REVOCABLE LIVING   PO BOX 4444                                                                                       BRYAN             TX    77805‐4444
TRUST UA 8/19/99
EULA M FRANKLIN                                 6626 PARKBELT DRIVE                                                                               FLINT             MI    48505‐1931
EULA M GODEK                                    31301 TUTTLE DR                                                                                   BAY VILLAGE       OH    44140‐1513
EULA M GOODENOUGH                               328 JOSLYN STREET                                                                                 PONTIAC           MI    48058
EULA M HORNBECK & MARK D BROWN JT TEN           2760 CHEROKEE DR                       APT 28                                                     WATERFORD         MI    48328‐3155
EULA M JOHNSON                                  2 HONEYSUCKLE DRIVE                                                                               MONROE            LA    71202
EULA M KIRK                                     1555 BANANA DR                                                                                    TITUSVILLE        FL    32780‐3872
EULA M MAYESWEBB                                11413 N SOLAR AVENUE                                                                              MEQUON            WI    53097‐3236
EULA M NICKELSON                                BOX 5311                                                                                          SHREVEPORT        LA    71135‐5311
EULA M SCHONEMAN                                70 TOWER HILL RD                                                                                  MOUNTAIN LKS      NJ    07046‐1251
EULA MAE FRANKLIN                               6626 PARKBELT DR                                                                                  FLINT             MI    48505‐1931
EULA MAE JONES                                  1801 S HIGHWAY 7                                                                                  DEMA              KY    41859‐9009
EULA MAE L ROLLINS & MICHAEL L KAUFMAN JT TEN   407 29TH ST W                                                                                     CHARLESTON        WV    25312

EULA PAMELA FERRELL                             760 10TH ST                                                                                       CHARLESTON        IL    61920‐2103
EULA R EMBRY                                    814 N WILSON                                                                                      ROYAL OAK         MI    48067‐2046
EULA THOMAS                                     7935 S LOOMIS ST                                                                                  CHICAGO           IL    60620‐3842
EULA V COCHRAN                                  7447 STONE BRIDGE RD                                                                              CARNESVILLE       GA    30521‐3637
EULA W GUERIN                                   9425 HORSESHOE BEND                                                                               BATON ROUGE       LA    70817‐8434
EULA WELCH                                      PO BOX 119                                                                                        MCKEE             KY    40447‐0119
EULAH C COPENHAVER                              5131 PIERCE RD NW                                                                                 WARREN            OH    44481‐9308
EULAH C MEZEY                                   6342 WOLVERINE TRAIL                                                                              ALGER             MI    48610‐9424
EULAH F FOREN                                   19175 HARLOW STREET                                                                               MELVINDALE        MI    48122‐1831
EULALA MARIE MOSER                              1864 NORFOLK ST                                                                                   INDIANAPOLIS      IN    46224‐5529
EULALIAH K GRINNELL                             1247 HEMINGWAY                                                                                    LAKE ORION        MI    48360‐1231
EULALIE K HAMMOND                               19900 HAMIL CIR                                                                                   GAITHERSBURG      MD    20886‐5651
EULALIO G REYES                                 8903 AUBURN ST                                                                                    DETROIT           MI    48228‐2958
EULALIO S AGUIRRE                               542 DEL PUERTO                                                                                    PATTERSON         CA    95363‐9306
EULAS H SANDERS                                 4202 EAST 40TH ST                                                                                 INDIANAPOLIS      IN    46226
EULELA LORRAINE VEST                            16619 96TH AVE CT E                                                                               PUYALLUP          WA    98375‐2044
EULEN R WALKER & SHARON M WALKER JT TEN         14316 N 200 W                                                                                     SUMMITVILLE       IN    46070‐9369
EULENE SINGO                                    532 ALTA AVENUE                                                                                   ENGLEWOOD         OH    45322‐1801
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Name                                             Address1                             Address2             Address3          Address4          City           State Zip

EULICE E WHEELER                                 5454 SPARKSVILLE FAIRPLAY RD                                                                  COLUMBIA       KY    42728‐8602
EULIS CARPENTER                                  2201 W CARPENTER RD                  APT 108A                                                 FLINT          MI    48505‐1929
EULIS H HICKS                                    197 WASHINGTON AVENUE                                                                         CAMDEN         TN    38320‐1129
EULIS REYNOLDS                                   182 WESTWOOD DR                                                                               NANCY          KY    42544‐8803
EULIS S SAYLOR                                   PO BOX 13393                                                                                  HAMILTON       OH    45013‐0393
EULIUS SHELDON DOWNS WALLBROWN                   137 DEPOT RD                                                                                  HARWICH        MA    02645
EULOGIO RIAL                                     2114 COUNTRY CLUB BLVD                                                                        CAPE CORAL     FL    33990‐2500
EULOJIO M CERVANTES                              1530 PRIDE ST                                                                                 SIMI VALLEY    CA    93065‐3322
EULOS L WATKINS                                  7229 APPLEGATE DRIVE                                                                          ZEPHYRHILLS    FL    33540‐1030
EULUS G BEASLEY                                  917 WARBURTON DR                                                                              TROTWOOD       OH    45426‐2269
EUNA R SMITH                                     14871 SPRINGFORD DRIVE                                                                        LA MIRADA      CA    90638‐4545
EUNEICE MCGILL‐WILLIAMS                          132 ALFONSO DR                                                                                ROCHESTER      NY    14626‐2053
EUNICE A BURGESS                                 3835 S VANDECAR RD                                                                            MT PLEASANT    MI    48858‐9554
EUNICE A KELLY                                   1112 HONEYSUCKLE WAY                                                                          LOMPOC         CA    93436‐3262
EUNICE A ROYER                                   214 SE 101 AVE                                                                                VANCOUVER      WA    98664‐3910
EUNICE A SEIBERT                                 3910 NEW SHEPHERDSVILLE RD                                                                    BARDSTOWN      KY    40004‐9036
EUNICE A WRIGHT                                  1288 IVA AVE                                                                                  BURTON         MI    48509‐1525
EUNICE ANDERSON & CRAIG ANDERSON JT TEN          18 GARDEN DRIVE                                                                               LINCOLN        RI    02865‐1540
EUNICE B FROST & RALPH R FROST JT TEN            117 LAKE RIDGE DR                                                                             LAKE PLACID    FL    33852‐5532
EUNICE B POETHIG                                 1000 E 53RD ST APT 613                                                                        CHICAGO        IL    60015‐4380
EUNICE B SKEATES                                 95 JEFFERSON AVE                                                                              FAIRPORT       NY    14450‐1956
EUNICE BARRETT                                   53 BOCK AVE                                                                                   NEWARK         NJ    07112‐2115
EUNICE BREWER                                    8669 HEMPLE RD                                                                                GERMANTOWN     OH    45327‐9520
EUNICE C GRINER                                  305 VICKI LN                                                                                  STATESBORO     GA    30461‐8229
EUNICE C SNAVELY                                 PO BOX 363                                                                                    REDLANDS       CA    92373‐0121
EUNICE C WICK                                    206 SAILBOAT DR                                                                               NASHVILLE      TN    37217
EUNICE D JACKSON                                 1027 APPERSON WAY N                                                                           KOKOMO         IN    46901‐2935
EUNICE D JERNIGAN CUST TIFFANY M JERNIGAN UTMA 6 WASHINGTON AVE                                                                                WHITE PLAINS   NY    10606‐1411
NY
EUNICE DOUCETTE                                  6100 W STONE HEDGE DR #300                                                                    GREENFIELD     WI    53220‐4601
EUNICE E BUNTING                                 5550 PIPERS MEADOW DR                                                                         COLUMBUS       OH    43228‐3299
EUNICE E HUNTER                                  PO BOX 491                                                                                    TROY           NC    27371‐0491
EUNICE ELLIS                                     7304 HUNGRY HOLLOW RD                                                                         HORNELL        NY    14843‐9463
EUNICE F POOLE & ROBERT C POOLE & DONALD B POOLE 13 HAWTHORNE ST                                                                               SPRINGFIELD    MA    01105‐1511
JT TEN
EUNICE FAUK                                      4405 N 161ST ST                                                                               BROOKFIELD     WI    53005‐1008
EUNICE G BARNES                                  95 SOUTHEAST RD                                                                               NEW HARTFORD   CT    06057‐3624
EUNICE GILL                                      8226 MOLENA ST                                                                                DETROIT        MI    48234
EUNICE GRIFFITH                                  PO BOX 715                                                                                    ATHENS         WV    24712‐0715
EUNICE H FEHLING TR EUNICE FEHLING TRUST UA      1330 N 119TH ST                                                                               MILWAUKEE      WI    53226‐3238
06/22/04
EUNICE H RUPPRECHT                               12224 RIDGEFAIR PLACE                                                                         DALLAS         TX    75234‐7806
EUNICE H SAMSPON                                 91 10TH ST                                                                                    MATAMORAS      PA    18336‐1930
EUNICE H SCHULTZ                                 3304 BEXLEY COURT                                                                             EVANSVILLE     IN    47711‐2521
EUNICE HUGUENIN                                  295 RHODE ISLAND AVE                                                                          EAST ORANGE    NJ    07018‐1832
EUNICE I THOMPSON                                937 CHAPMAN LAKE DRIVE                                                                        WARSAW         IN    46580‐7833
EUNICE J BROWN TR THE BROWN FAMILY TRUST UA      18847 LA AMISTAD PLACE                                                                        TARZANA        CA    91356‐5211
02/26/90
EUNICE JONES                                     9799 S TAILWATER DR                                                                           BLOOMINGTON    IN    47401‐8527
EUNICE L DANIELL                                 3462 BIRCHWOOD TRL                                                                            SNELLVILLE     GA    30078‐2872
EUNICE L KEELY & RODNEY C KEELY JT TEN           2251 LAUDERDALE ST                                                                            FLINT          MI    48532‐4146
EUNICE L LA BERGE                                118 ROBINSON DR MANOR PK                                                                      NEW CASTLE     DE    19720‐1824
EUNICE L MILLER                                  1832A 1ST AVE                                                                                 GRAFTON        WI    53024‐2288
EUNICE LEONE & PATRICIA MISTRETTA & MARILYN TISA 16 HILLTOP DRIVE                                                                              PITTSFORD      NY    14534
JT TEN
EUNICE LESTER                                    2821 ATTAPULGUS HWY                                                                           QUINCY         FL    32352‐6961
EUNICE LINDSAY                                   307 W MOWRY ST                                                                                CHESTER        PA    19013‐4938
EUNICE M ASHBY                                   232 N CAMERON CT                                                                              STERLING       VA    20164‐1906
EUNICE M BENSON                                  5302 HAXTON DR                                                                                DAYTON         OH    45440
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

EUNICE M BISHOP                                   3654 COLLINS ST                                                                                SARASOTA          FL    34232‐3112
EUNICE M COYNE                                    319 CHAMBERLAIN ST                                                                             FLUSHING          MI    48433‐1605
EUNICE M HOWELL & ROBERT A LOWERY JR JT TEN       39 ELMER HOWELL ROAD                                                                           JAYESS            MS    39644

EUNICE M KOWALSKE                                 548 E FOX DALE CT                                                                              MILWAUKEE         WI    53217‐3928
EUNICE M KREGER                                   280 COLONIAL DR                                                                                SANDUSKY          MI    48471‐1005
EUNICE M LIGHT                                    342 KIRKSWAY                                                                                   LAKE ORION        MI    48362‐2279
EUNICE M LOKKEN TR EUNICE M LOKKEN TR UA          7362 S FORK DR                                                                                 SWARTZ CREEK      MI    48473‐9760
05/23/88
EUNICE M MCCLENDON                                15733 MEYERS                                                                                   DETROIT           MI    48227‐4050
EUNICE M OSSIAN TR UA 03/08/2004 OSSIAN TRUST     6743 N BRENTMEAD AVE                                                                           ARCADIA           CA    91007

EUNICE M OWENS                                    786 MARTHA DR                                                                                  FRANKLIN          OH    45005‐2020
EUNICE M STANLEY                                  14290 BRAMELL ST                                                                               DETROIT           MI    48223‐2527
EUNICE MARIE MILNE TR UA 09/10/92 EUNICE MARIE    623 PARK CIR                                                                                   CLIO              MI    48420‐1482
MILNE TRUST
EUNICE MASSEY                                     4230 LITTLEFIELD ST                                                                            SAN DIEGO         CA    92110‐3540
EUNICE ONALEE RESH                                2040 DEERFIELD SW                                                                              WARREN            OH    44485‐3945
EUNICE P CONNER ELLIOTT                           1720 W CRESTLINE DR                                                                            LITTLETON         CO    80120‐1222
EUNICE P MACLENNAN                                346 MIRAMONTE PL                                                                               SANTA ROSA        CA    95409‐6433
EUNICE P MACLENNAN TR SURVIVING GRANTOR'S         346 MISAMONTE PLACE                                                                            SANTA ROSA        CA    95409‐6492
TRUST UA 03/22/94
EUNICE R BARRIBEAU                                5798 ORIOLE AVE                                                                                GREENDALE         WI    53129‐2539
EUNICE R MCLAUGHLIN                               87 WARNER ST                                                                                   FORDS             NJ    08863‐2034
EUNICE S THOMAS                                   7910 E CAMELBACK RD                   UNIT 202                                                 SCOTTSDALE        AZ    85251‐8609
EUNICE SCHMIDT                                    2306 BUCKINGHAM AVE                                                                            WESTCHESTER       IL    60154‐5144
EUNICE T LEE                                      2776 COUNTY ST 2970                                                                            ALEX              OK    73002‐2216
EUNICE T SAMER                                    820 ALYSON DRIVE                                                                               FORT COLLINS      CO    80524‐1513
EUNICE TRANES                                     105 PLATT AVE                                                                                  NORWICH           CT    06360‐3628
EUNICE V JOHNSON                                  2220 ARLINGTON TERRACE                                                                         ALEXANDRIA        VA    22303‐1504
EUNICE V STONE & BELINDA S REAUME JT TEN          3400 TRAT HWY                                                                                  ADRIAN            MI    49221‐9763
EUNICE V WALKER                                   603 HORIZON VIEW DR                                                                            PITTSBURGH        PA    15235‐4534
EUNICE WATSON                                     27209 PRINCETON                                                                                INKSTER           MI    48141‐2315
EUPHA M CALMES                                    50 JOHN STREET                                                                                 FRANKLIN          OH    45005‐1903
EUPHEMIA M BLYE                                   20 SPRINGDALE DR                                                                               AVON              NY    14414‐9522
EURA A MORSE                                      231 TRUMPET DR                                                                                 DAYTON            OH    45449‐2254
EURA B BARNETT                                    2113 CANNIFF ST                                                                                FLINT             MI    48504‐2009
EURA L PRUITT                                     828 MIDDLE                                                                                     LANSING           MI    48915‐1018
EURAL ALEXANDER                                   7166 PEBBLE PARK DR                                                                            W BLOOMFIELD      MI    48322‐3505
EURCILE LYMON                                     9655 RUTLAND                                                                                   DETROIT           MI    48227‐1094
EURE C PULLIAM                                    357 ALCATRAZ AVE                                                                               OAKLAND           CA    94618‐1369
EUREAL A GARDNER                                  78‐11 35TH AVENUE                                                                              JACKSON HEIGHTS   NY    11372‐2565

EUREALDEAN L BRACKEN                              313 GOLDEN HARVEST DR                                                                          NEW MARKET        AL    35761‐7743
EURETTIE PAYNE                                    6719 DEERING                                                                                   GARDEN CITY       MI    48135‐2295
EURITH HARTNETT                                   5800 MERRYMOUNT ROAD                                                                           FORT WORTH        TX    76107‐3530
EURN WALKER JR                                    7806 S THROOP                                                                                  CHICAGO           IL    60620‐3757
EURON DEAL GDN CEDRIC DEAL                        UNIT 24503                                                                                     APO               AE    09172
EURSHEL D MURPHY                                  21 WARDER ST                                                                                   DAYTON            OH    45405‐4306
EURSKIN M GARTEN                                  701 KLINE RD                                                                                   OAKLAND           MI    48363‐1225
EURUTH B STROUSE                                  103 LAFAYETTE RD                                                                               COATESVILLE       PA    19320‐1230
EUSEBIO C RUFIAN‐ZILBERMANN & MIYUKI KAIKAWA JT   16 ALBERT RD                                                                                   HICKSVILLE        NY    11801‐6533
TEN
EUSEBIO GALINDO JR                                1223 E JEFFERSON                                                                               KOKOMO            IN    46901‐4931
EUSTACCHIO S VECCHIA                              99 BRIAR HILLS CIR                                                                             SPRINGFIELD       NJ    07081‐3421
EUSTACE FREDERICK III                             611 MOUNTAIN VIEW AVE                                                                          BLUEFIELD         WV    24701‐4222
EUSTACE GRIVJACK                                  360 EAST 234TH ST                                                                              BRONX             NY    10470‐2240
EUSTACE H GANE II                                 6306 DIAMOND HEAD CIR                 APT 109                                                  DALLAS            TX    75225‐3434
                                                09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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EUSTACE H GANE II TR U‐DECL OF TRUST 11/21/86       6306 DIAMOND HEAD CI                     APT 109                                                  DALLAS           TX    75225‐3434
EUSTACE H GANE II
EUSTACIO T VILLAREAL                                2015 MORRIS ST                                                                                    SAGINAW          MI    48601‐3920
EUSTAQUIO MARTIN                                    116 HAGAR CT                                                                                      SANTA CRUZ       CA    95064‐1031
EUSTASIA B REYNA                                    1055 TRACY ST                                                                                     OWOSSO           MI    48867‐4065
EUSTIS L POLAND JR                                  623 MAGNOLIA DR                                                                                   TUPELO           MS    38804‐1929
EUTIMIO H LIENDO                                    34547 SANSBURN ST                                                                                 WAYNE            MI    48186‐4328
EUVA L GRUBB                                        4469 MARKS RD                                                                                     MEDINA           OH    44256‐7014
EUVA N GIBBS                                        1123 RIVER PARK                                                                                   SAN ANTONIO      TX    78216‐7813
EVA A COLGROVE                                      1618 TERRA CEIA BAY CIR                                                                           PALMETTO         FL    34221‐5947
EVA A HOBSON                                        301 STATE RD                                                                                      NORTH            MA    02747‐4313
                                                                                                                                                      DARTMOUTH
EVA A LANGE                                         2506 S HOWELL AVENUE                                                                              MILWAUKEE        WI    53207‐1605
EVA A LOMUSCIO                                      7283 KINGSBURY                                                                                    DEARBORN HEIGHTS MI    48127‐1753

EVA A MC INTOSH                                                                                                                                       BOVINA CENTER    NY    13740
EVA A OLIVA & LINDA C OLIVA & JAMES W OLIVA &       1835 W WOODLAND AVE                                                                               ADDISON          IL    60101‐1750
ELISA S NALLEN JT TEN
EVA A SHIDELER                                      7333 E 32ND CT N                                                                                  WICHITA          KS    67226‐1238
EVA A THOMSON                                       325 CENTRUM BLVD APT 208                 OTTAWA ON                              K1E 3W8 CANADA
EVA ALLEN KENNEDY                                   4 PANORAMA DR                                                                                     NEWARK           DE    19711‐7432
EVA B BIRD & JERRY W BIRD & FREDDIE L BIRD JT TEN   465 NEEDMORE                                                                                      ALBERTVILLE      AL    35950‐9424

EVA B COCHRAN & RICHARD J COCHRAN JR JT TEN      5945 REDDMAN ROAD APT 107                                                                            CHARLOTTE        NC    28212
EVA B ECKMAN                                     2244 UNION RD                               APT 115                                                  WEST SENECA      NY    14224‐1479
EVA B JIROVSKY TR EVA B JIROVSKY REVOCABLE TRUST BOX 51                                                                                               ONAWA            IA    51040‐0051
UA 06/30/00
EVA B MAZZELLA                                   215 PLEASANT VALLEY RD                                                                               TITUSVILLE       NJ    08560‐2106
EVA B ORECHONEG                                  5701 SHERIDAN RD                            APT 3                                                    YOUNGSTOWN       OH    44514‐1302
EVA B SCHMIERER                                  403 SAVANNAH ROAD                                                                                    LEWES            DE    19958‐1439
EVA BATES                                        8076 KEY WEST LANE                                                                                   BOYNTON BEACH    FL    33472
EVA BERG TR UA 12/28/92 EVA BERG REVOCABLE TRUST 1300 SW 130 AVE F213                                                                                 PEMBROKE PINES   FL    33027

EVA C HAYES & KAREN ANN FARTHING JT TEN             389 SO 3RD                                                                                        LANDER           WY    82520‐3313
EVA C HEIKKINEN                                     5 EAST OXFORD RD                                                                                  SOUTH PARIS      ME    04281‐6018
EVA C NORDGREN                                      43 HOWELLS RD                                                                                     BELMONT          MA    02478‐2035
EVA CHAMBERS                                        2959 BUNTING DR                                                                                   WEST BRANCH      MI    48661‐9395
EVA CHENEY                                          149 W HATMAKER RD                                                                                 COLDWATER        MI    49036‐9734
EVA CHERTOV                                         130 GALE PL                              APT 3A                                                   BRONX            NY    10463‐2850
EVA COCOCCIA                                        145 FIELD LANE                                                                                    PEEKSKILL        NY    10566‐4864
EVA COPSEY KOOGLER                                  3431 CRAB ORCHARD AVE                                                                             DAYTON           OH    45430‐1406
EVA CUTLER BENEDICT                                 211 WEST OAK STREET                                                                               LOUISVILLE       KY    40203‐2800
EVA D JOHNSON                                       3739 N 58TH BLVD                                                                                  MILWAUKEE        WI    53216‐2850
EVA D WILLIAMS                                      1870 NORTHWOOD C R                                                                                JACKSON          MS    39213‐7819
EVA E HOUSE                                         PO BOX 277                               QUEMODO                                                  QUEMADO          TX    78877
EVA E MARTIN                                        11 SOUTH AVONDALE RD                                                                              AVONDALE ESTATES GA    30002‐1302

EVA E NAZELROD                                      4454 O'HEREN ST                                                                                   BURTON           MI    48529‐1829
EVA ELAINE PETIPRIN                                 961 ABSEQUAMI DRIVE                                                                               LAKE ORION       MI    48035
EVA F DOBRESKI TOD JOHN FISCHER SUBJECT TO STA      4251 E LINDA DRIVE                                                                                PORT CLINTON     OH    43452‐9131
TOD RULES
EVA F DOBRESKI TOD JUDITH A HINES SUBJECT TO STA    4251 E LINDA DRIVE                                                                                PORT CLINTON     OH    43452‐9131
TOD RULES
EVA F DOBRESKI TOD WILLIAM RIEMER SUBJTECT TO       4251 E LINDA DRIVE                                                                                PORT CLINTON     OH    43452‐9131
STA TOD RULES
EVA FOLTIN                                          19 DOGWOOD PLACE                                                                                  MASSAPEQUA       NY    11758‐2726
EVA FORD                                            49 ILLEROY AVE                           KILLARA NSW                            2071 AUSTRALIA
EVA G AGNEW WOODARD                                 13916 BRINGARD                                                                                    DETROIT          MI    48205‐1284
EVA H HENRY                                         3193 MORROW DR                                                                                    CORTLAND         OH    44410‐9340
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EVA H REED                                         3352 PARAMOUNT AVE                                                                               DAYTON           OH    45424‐6233
EVA H ROSSEEL TR EVA H ROSSEEL TRUST UA 09/30/99   18433 CRANBROOK                                                                                  CLINTON TWP      MI    48038‐2133

EVA HEIDEN                                         20 RUBENSLEI                            ANTWERP                                BELGIUM
EVA HESS KAPULKA TR UA 12/20/01 EVA HESS KAPULKA 8400 ROXBORO DR                                                                                    HUDSON           FL    34667‐6933
REV LIVING TRUST
EVA HEUSER                                         306 LA FREMONTIA                                                                                 SAN CLEMENTE     CA    92672‐7518
EVA I BRISCOE CUST JENNIFER L BRISCOE UTMA IL      2335 W TRUHY AVE APT 304                                                                         CHICAGO          IL    60645
EVA I ROHRBACHER & JENNIFER J SEAGREN & DAWNE J 161 GERMANY RD                                                                                      WILLIAMSTON      MI    48895‐9661
WAHBY JT TEN
EVA J CSENDES                                      R R #2                                  2502 VAN LUVEN ROAD   BALTIMORE ON     K0K 1C0 CANADA
EVA J FITZGERALD TR EVA FITZGERALD REVOCABLE       1610 EAST SCHWARTZ                                                                               LADY LAKE        FL    32159‐2250
TRUST UA 10/05/05
EVA J LEMMERS TR UA 4/6/95 THE EVA J LEMMERS REV 1069 LEMMERS ROAD                                                                                  CASPER           WY    82601
TRUST
EVA J REYNOLDS & GEORGE G REYNOLDS JT TEN          146 ALEXANDER RD                                                                                 NEW BRITAIN      CT    06053‐1062
EVA J ST JOHN                                      70 TEMPLE DR                                                                                     XENIA            OH    45385‐1324
EVA J THAYER                                       2030 RACCOON RD                                                                                  RACCOON          KY    41557‐8308
EVA J WARD                                         HC 66 BOX 374                                                                                    MARBLE HILL      MO    63764‐9301
EVA JO HILL                                        514 FIFTH STREET                                                                                 CARROLLTON       KY    41008‐1204
EVA JOYCE BETTS TR EVA JOYCE BETTS LIVING TRUST UA 511 GARLAND ST                                                                                   DAVISON          MI    48423‐1328
03/04/02
EVA JOYCE SOUCH                                    88 CENTRAL PARK BLVD S                  OSHAWA ON                              L1H 5W4 CANADA
EVA K BOETTCHER & BRADLEY A BOETTCHER JT TEN       14414 SWANEE BEACH                                                                               FENTON           MI    48430‐1467

EVA K SAWICKI                                       1005 N FRANKLIN ST                     APT 507                                                  WILMINGTON       DE    19806‐4543
EVA K WILSON                                        3781 EASTERN HILLS LANE APT 203                                                                 CINCINNATI       OH    45209‐2413
EVA KLACZKO                                         20 WATERTREE DR                                                                                 EAST SYRACUSE    NY    13057‐1904
EVA KONDOR                                          480 E NORTH ST                                                                                  SOMONAUK         IL    60552‐3198
EVA KOTECZ                                          6805 E. VALLEY RD.                                                                              MT PLEASANT      MI    48858
EVA KUSZCZAK                                        28130 LIBERTY DR                                                                                WARREN           MI    48092‐2585
EVA L DILUCIANO                                     690 BRADFORD DR                                                                                 KOKOMO           IN    46902‐8409
EVA L DUNN                                          1851 SPRINGVALE RD                                                                              DULUTH           MN    55811‐3150
EVA L EMERSON                                       14465 PROMENADE                                                                                 DETROIT          MI    48213‐1533
EVA L FRANCE                                        117 INDIAN TR                                                                                   BALD KNOB        AR    72010‐9604
EVA L HAMILTON                                      3841 MEYENS                                                                                     SHREVEPORT       LA    71119‐7008
EVA L LEVINE TR UA 09/30/2003 OTIS H SHAO & MARIE S 1784 CURTNER AVE                                                                                SAN JOSE         CA    95124
SHAO FAMILY TRUST
EVA L NATTRASS                                      33278 PENNSYLVANIA AVE                                                                          DADE CITY         FL   33523‐9040
EVA L ROMEL                                         1845 NW 5TH ST                                                                                  GRESHAM           OR   97030‐6630
EVA L SEATON                                        7800 E JEFFERSON AVE APT 332                                                                    DETROIT           MI   48214‐3715
EVA L SUTTON & ALEXANDER E SUTTON JT TEN            7750 YEOMALT PL NE                                                                              BAINBRIDGE ISLAND WA   98110‐1911

EVA L TARPLEY                                      101 ASHLAND TRAILS                                                                               FARMERSVILLE     OH    45325‐1058
EVA LABBY                                          6530 S W GRIFFIN DRIVE                                                                           PORTLAND         OR    97223‐7577
EVA LESZCZYNSKI                                    5120 SW PORTULACA CT                                                                             DUNNELLON        FL    34431‐3916
EVA LONG                                           238 S THIRD ST                                                                                   SEBEWAING        MI    48759‐1531
EVA LOUISE STEFFES                                 2418 ACACIA ST                                                                                   SANTA MARIA      CA    93458‐9008
EVA M BELLANTI                                     34050 N 43RD ST                                                                                  CAVE CREEK       AZ    85331‐4018
EVA M BLANKENBECKLER                               2907 WELCH ROAD                                                                                  WALLED LAKE      MI    48390‐1561
EVA M BRONSON                                      416 N CARLAND ST                                                                                 MARION           MI    49665‐9688
EVA M DAVIS                                        386 SEVEN PINES DRIVE                                                                            PICKERINGTON     OH    43147‐1064
EVA M DAVIS                                        28555 KARR                                                                                       BELLEVILLE       MI    48111‐9641
EVA M DEVORMER                                     8771 EASTERN AVE                                                                                 BYRON CENTER     MI    49315‐9318
EVA M DITEODORO & KATHRYN N JONES JT TEN           44 S DUPONT RD                          APT 209                                                  PENNS GROVE      NJ    08069‐1853
EVA M DUCHYNS                                      38 CANTERBURY TRAIL                                                                              FAIRPORT         NY    14450‐8783
EVA M FLETCHER                                     9688 BRYDEN                                                                                      DETROIT          MI    48204‐2048
EVA M FRONK                                        10311 PARKLANE CT                                                                                HALES CORNERS    WI    53130‐2248
EVA M FULTON                                       1639 FULTON APT 1C                                                                               BRONX            NY    10457‐8167
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

EVA M GONDEK                                    677 ALICE PLACE                                                                               ELGIN            IL    60123‐2500
EVA M GRAHAM                                    8054 DAVISON ROAD                                                                             DAVISON          MI    48423‐2029
EVA M GUY                                       205 NORTH MURRAY BLVD #50                                                                     COLORADO SPRINGS CO    80916‐1104

EVA M H CASAMENTO                               12 STANDISH DRIVE                                                                             CANTON          MA     02021‐1238
EVA M HAYES                                     APT 1                                464 SWEET                                                BUFFALO         NY     14211‐3267
EVA M HAYWARD                                   1305 RAE ST                                                                                   MT MORRIS       MI     48458‐1728
EVA M HERNANDEZ                                 1261 5TH AVE                         APT 601                                                  NEW YORK        NY     10029‐3862
EVA M HINNENDAEL                                4288 BLACKSTONE CT                                                                            MIDDLETON       WI     53562‐4300
EVA M HOPPE CUST MICHAEL E HOPPE UGMA WI        N48 W16226 LONE OAK LANE                                                                      MENOMONEE FALLS WI     53051‐7528

EVA M LESSIG CUST STEVEN R LESSIG UGMA PA       312 VICTORIA GARDENS DR                                                                       KENNETT SQUARE   PA    19348‐4115
EVA M LUCAS                                     462 WRIGHTS MILL RD                                                                           AIKEN            SC    29801‐9188
EVA M MARZOCCO                                  60 N GRANT AVE                                                                                COLONIA          NJ    07067‐2225
EVA M MESZAROS                                  11303 ARMSTRONG DR N                                                                          SAGINAW          MI    48609‐9683
EVA M MOORE                                     3285 SHARP RD                                                                                 ADRIAN           MI    49221‐9669
EVA M PARKER                                    3790 WEBB                                                                                     DETROIT          MI    48206‐1430
EVA M SMITH                                     300 ROYAL OAKS BLVD APT 1703                                                                  FRANKLIN         TN    37067
EVA M TOWNSEND CUST KATHRYN NOEL TOWNSEND       5030 NE 180TH ST                                                                              SEATTLE          WA    98155‐4327
UTMA IL
EVA M WAGNER                                    6258 EAGLE POINT DR                                                                           HAMILTON         OH    45011‐9257
EVA M WILLIAMS                                  323 OSPREY DR                                                                                 GRANITE CITY     IL    62040‐6446
EVA M WOOD                                      305 MASSINGILL DR                                                                             RAINSVILLE       AL    35986‐5706
EVA MAE CATTEY                                  3139 HUMMEL RD                       RT 2                                                     SHELBY           OH    44875‐9097
EVA MAE HUDSON & SHIRLEY ANN BROWN JT TEN       13938 BIRWOOD                                                                                 DETROIT          MI    48238‐2204
EVA MAE MORSE & TINA M CUNNINGHAM JT TEN        4745 LAKE BORN                                                                                WHITE LAKE       MI    48383‐1547
EVA MAE PINKERTON                               1345 SHERRY DR                                                                                ALPHARETTA       GA    30004‐1129
EVA MAE TURLEY                                  13 CHESTER STREET                                                                             BUFFALO          NY    14208‐1750
EVA MARIE BUCKNER                               35721 BAL CLAIR                                                                               NEW BALTIMORE    MI    48047‐2409
EVA MAY MASSEY                                  18 CHESTNUT ST                                                                                SALEM            NJ    08079‐1426
EVA MERLE MINCH                                 6300 CLARENDON HILLS RD                                                                       WILLOWBROOK      IL    60527‐2133
EVA MORTENSEN                                   274 S PASTORIA AVE                                                                            SUNNYVALE        CA    94086‐5923
EVA N ROSENBUSH                                 PO BOX 5264                                                                                   BRADENTON        FL    34281‐5264
EVA N SCOTTON                                   521 GREENHILL RD                                                                              DOVER            DE    19901‐3766
EVA N SIMONE & GARY H SIMONE JT TEN             601 DRIFTWOOD DR                                                                              PITTSBURGH       PA    15238‐2515
EVA NELL JONES DUNNE                            3278 CHATSWORTH HGHY                 PO BOX 3384                                              DALTON           GA    30719‐0384
EVA O ROPER                                     2858 RANDOLPH NW                                                                              WARREN           OH    44485‐2521
EVA O'BRIEN HALLENBECK                          3535 CO RT 57                                                                                 OSWEGO           NY    13126‐6431
EVA OAKES                                       723 OTTILIE                                                                                   KERRVILLE        TX    78028‐5010
EVA P NELSON KNECHT                             225 KNECHT ST                                                                                 MARION           VA    24354‐6633
EVA PICK                                        253 SIMSBURY RD                      W HARTFORD                                               WEST HARTFRD     CT    06117‐1453
EVA PIRICH & EVA M PIRICH JT TEN                1242 W VIENNA RD                                                                              CLIO             MI    48420‐1710
EVA R BAIN                                      1922 JACOLYN PLACE N E                                                                        ATLANTA          GA    30329‐3316
EVA R BUSH TOD DALE E BUSH SUBJECT TO STA TOD   8413 EE HIGHWAY                                                                               LIBERTY          MO    64068
RULES
EVA R CHUDICEK                                  2511 GRANDVIEW AVE                                                                            AMBRIDGE         PA    15003‐1436
EVA R COLEMAN                                   4430 RUSK STREET                                                                              HOUSTON          TX    77023‐1136
EVA R COLIP                                     507 MIDDLETON CT                                                                              BUCHANAN         MI    49107‐1156
EVA R JONES & GREGORY A JONES JT TEN            5033 MONTCREST DR                                                                             CHATTANOOGA      TN    37416‐1219
EVA R MARCHIORI                                 MARCHIORI RD                                                                                  BROCKPORT        PA    15823
EVA R MONCRIEF                                  1608 JOY ST                                                                                   SAGINAW          MI    48601‐6820
EVA R MORGAN                                    813 LAURA LEE DR                                                                              OFALLON          MO    63366‐2152
EVA R RUSSO                                     455 VAN LAWN ST                                                                               WESTLAND         MI    48186‐4517
EVA R TOBERGTA & JOHN H TOBERGTA JT TEN         4393 STATE ROUTE 46                                                                           WEST HARRISON    IN    47060‐8767
EVA R WAGONER                                   8773 NORTH CITY ROAD APT# 1050 E                                                              BROWNSBURG       IN    46112
EVA RACZKOWSKI                                  19825 W CLARENDON AVE                                                                         BUCKEYE          AZ    85396‐8336
EVA RAY JONES                                   5033 MONTCREST DR                                                                             CHATTANOOGA      TN    37416‐1219
EVA REHFELD                                     5315 SANGAMORE ROAD                                                                           BETHESDA         MD    20816‐2323
EVA RODRIGUEZ                                   33644 4TH ST                                                                                  UNION CITY       CA    94587‐2415
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Name                                               Address1                              Address2             Address3          Address4          City             State Zip

EVA ROSE HORN                                      14512 MOWERY RD                                                                                LAURELVILLE      OH    43135‐9717
EVA RUTH HANCOCK                                   BOX 110                                                                                        EL CAMPO         TX    77437‐0110
EVA S ATKINSON                                     20548 DELAWARE                                                                                 REDFORD          MI    48240‐1178
EVA S HALL                                         PO BOX 371                                                                                     WILLISTON        SC    29853‐0371
EVA S LYNCH                                        11141 E NORTH LN                                                                               SCOTTSDALE       AZ    85259‐4853
EVA S OZAKI TR LIVING TRUST 04/08/88 EVA S OZAKI   2329 BINGHAM ST                                                                                HONOLULU         HI    96826‐1421

EVA S SANDERS                                      5279 N CO RD 525 W                                                                             MIDDLETOWN       IN    47356‐9745
EVA SALIK                                          34 WINSLOW RD                                                                                  TRUMBULL         CT    06611‐3414
EVA SAMUELS CAREY                                  10 CHERRYWOOD LN                                                                               RICHMOND         IN    47374‐2893
EVA SCHREIBER                                      2557 PARTRIDGE DR                                                                              PITTSBURGH       PA    15241‐2821
EVA STEC                                           7391 PRINCETON CIR                                                                             HANOVER PARK     IL    60103‐2657
EVA STERN                                          220 EAST 57TH ST                      APT 9H                                                   NEW YORK         NY    10022‐2820
EVA SUE BRADY                                      5853 S HAVANA COURT                                                                            ENGLEWOOD        CO    80111‐3929
EVA T SANDOVAL                                     1311 W ROBERTS AVE                                                                             MARION           IN    46952‐1947
EVA TEWEL                                          100‐16 DREISER LOOP APT 16 B                                                                   BRONX            NY    10475
EVA THOMAS                                         1017 SHERIDAN AVE                                                                              SAGINAW          MI    48601‐2359
EVA TRIPLETT FOX                                   1924 WOODSTOCK WAY                                                                             SACRAMENTO       CA    95825‐1111
EVA V FANTAUZZO                                    526 BAYVIEW RD                                                                                 ROCHESTER        NY    14609‐1936
EVA V ZAMORA                                       245 S W 48 COURT                                                                               MIAMI            FL    33134‐1264
EVA W BUNDENS                                      241 SWEDESBORO RD                                                                              GIBBSTOWN        NJ    08027‐1503
EVA W FAY & DIANA GOLDFARB JT TEN                  1200 SW 125 AVE                                                                                PEMBROKE PINES   FL    33027‐4000
EVA WALTER                                         167 ALDER ROAD                        THUNDER BAY ON                         P7B 5E4 CANADA
EVA WATKINS                                        2814 E GENESEE AVE APT 605                                                                     SAGINAW          MI    48601‐4050
EVA WYODA & TONY WYODA JT TEN                      3511 MONROE                           PO BOX 415                                               LAKE GEORGE      MI    48633‐0415
EVA Y ALBERTS                                      165 WINSOR AVE                                                                                 WATERTOWN        MA    02472‐1482
EVA Y HSUEH                                        1029 FOXHILLS                                                                                  EAST LANSING     MI    48823‐1345
EVADEAN C BAINTER                                  1454 MCCLARDY ROAD                                                                             CLARKSVILLE      TN    37042‐6741
EVADEANE J GRAY TR EVADEANE J GRAY TRUST UA        4197 SOUTH 1865 EAST                                                                           SALT LAKE CITY   UT    84124‐2629
02/11/97
EVAL NAPIER                                        1731 CALUMET                                                                                   DETROIT          MI    48208‐2746
EVALENA FARBAR                                     132 CAMP AVE                                                                                   TRENTON          NJ    08610‐4804
EVALIA D DARLING                                   1716 BATH AVE                                                                                  OKLAHOMA CITY    OK    73111‐1312
EVALIN B BATES                                     PO BOX 234                                                                                     RUSSIAVILLE      IN    46979‐0234
EVALOIS DONAHUE                                    1376 W CO RD 450 N                                                                             KOKOMO           IN    46902
EVALOU D PERKINS & WALTER B PERKINS JT TEN         3249 E 10TH STREET                                                                             ANDERSON         IN    46012‐4572
EVALYN A HUNTLEY                                   510 W WADE ST                                                                                  WADESBORO        NC    28170‐2145
EVALYN COULTER                                     210 MISSION                                                                                    DENTON           TX    76205‐7604
EVALYN D HOOVER                                    3074 E SAGINAW WAY                                                                             FRESNO           CA    93726‐4212
EVALYN GLADDYS                                     7 SANDRA DR                                                                                    BRANFORD         CT    06405‐6137
EVALYN M STOREY                                    203 HEDGEMERE DR                                                                               DEVON            PA    19333‐1853
EVAMARIA E BERRY                                   613 ROYAL SAGE DR                                                                              SEGUIN           TX    78155
EVAMARIE J CLINQUE                                 98 OLD BROOK RD                                                                                DIX HILLS        NY    11746‐6461
EVAN ANDERSON                                      3029 LOWREY AVE                       APT 3216                                                 HONOLULU         HI    96822‐1869
EVAN ANSLEM GATTI                                  414 S FOURTH ST                                                                                MEBANE           NC    27302‐3122
EVAN B NELSON                                      704 SAINT AGNES LN                                                                             WEST MIFFLIN     PA    15122‐2927
EVAN C HUMPHREY                                    4993 HARVARD                                                                                   CLARKSTON        MI    48348‐2233
EVAN C LAMB & MRS VONCEIL H LAMB JT TEN            110 EXCHANGE ST                                                                                ATTICA           NY    14011‐1260
EVAN C WALDEN CUST BONNIE JO WALDEN UGMA KY        1211 WESTERN AVE                                                                               ALBANY           NY    12203

EVAN D CLEGHORN                                    2141 GERALDINE                                                                                 PRESCOTT         MI    48756‐9352
EVAN D KOLODNY                                     1951 NE 2ND AVE                       APT I‐216                                                WILTON MANORS    FL    33305‐2067
EVAN DOUGLAS KOFFLER                               112 RIPPLEWOOD CV                                                                              COPPELL          TX    75019‐2037
EVAN E JAMES JR                                    1096‐F WAINIHA ST                                                                              HONOLULU         HI    96825‐2670
EVAN ELISABETH MINGLE                              2013B NAUDAIN ST                                                                               PHILADELPHIA     PA    19146‐1316
EVAN F ATKINSON                                    43462 MINK MEADOWS ST                                                                          CHANTILLY        VA    20152‐2502
EVAN F BORNHOLTZ                                   9090 CREEKWOOD LAKE TRAIL                                                                      GRAND BLANC      MI    48439‐9326
EVAN F BORNHOLTZ & DOROTHY L BORNHOLTZ JT TEN      9090 CREEKWOOD LAKE TRAIL                                                                      GRAND BLANC      MI    48439‐9326
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EVAN F TUCKER                                     5554 M‐35 P O BOX 148                                                                            PERKINS          MI      49872‐0148
EVAN G JACKSON                                    510 26 STREET                                                                                    VIRGINIA BEACH   VA      23451‐4024
EVAN H WILLIAMS JR                                9413 SEYMOUR RD                                                                                  SWARTZ CREEK     MI      48473‐9129
EVAN HIRN                                         610 NINTH ST                            UNIT C                                                   HERMOSA BEACH    CA      90254‐3923
EVAN J JICKLING                                   718 VAN DYKE                                                                                     MARLETTE         MI      48453
EVAN KRIEGER & ELAINE KRIEGER JT TEN              751 LAUREL STREET #847                                                                           SAN CARLOS       CA      94070‐3113
EVAN L FLEMING                                    PO BOX 808                                                                                       YELLVILLE        AR      72687‐0808
EVAN L KREFSKY & FLORRI J KREFSKY JT TEN          2 DEMOTT PL                                                                                      ROCKVILLE CENTRE NY      11570‐5801

EVAN LEVY CUST TAYLOR GEORGE LEVY UGMA NY         14 THE BLVD                                                                                      SEA CLIFF          NY    11579‐1028
EVAN M EIDSVOOG                                   301 SOUTH 6TH STREET RM 104                                                                      WATERFORD          WI    53185
EVAN M WRIGHT                                     815 ALBERT HART DRIVE                                                                            BATON ROUGE        LA    70808‐5807
EVAN MAKOVSKY                                     225 S GLENCOE                                                                                    DENVER             CO    80246‐1154
EVAN MEADE & LOURDES A MEADE JT TEN               2701 SOUTH 14TH                                                                                  LINCOLN            NE    68502‐3629
EVAN NISONSON                                     10589 WILKINS AVE                                                                                LOS ANGELES        CA    90024‐6034
EVAN P LA FOLLETTE                                C/O HELEN LA FOLLETTE SCOTT             4512 CHICKASAW RD                                        KINGSPORT          TN    37664‐2110
EVAN P SAMPATACOS                                 3530 N HAWES RD                         UNIT 13                                                  MESA               AZ    85207‐1008
EVAN R HAYDEN                                     6 HAYLOFT CRT                                                                                    WILMINGTON         DE    19808‐1934
EVAN RICHARD BARLAGE                              2275 CHALET                                                                                      ROCHESTER HILLS    MI    48309‐2050
EVAN RICHARD FOSTER                               1524 LINHART AVE                                                                                 FORT MYERS         FL    33901‐6615
EVAN RICHARD KOZLOWSKI                            41625 TETLEY                                                                                     STERLING HEIGHTS   MI    48313‐3379

EVAN S EDELIST                                    5554 LITTLE FAWN CT                                                                              WESTLAKE VLG       CA    91362‐5269
EVAN SCOTT KUNES                                  5800 WOODBINE RD                        PO BOX 14                                                WOODBINE           MD    21797
EVAN SILVER                                       606 ROSEMONT AVE                                                                                 FREDERICK          MD    21701
EVAN T YEAGER                                     119 TIGER LN                                                                                     TRENTON            TX    75490
EVAN TODD RUSSELL                                 5336 FOX RUN                                                                                     TOLEDO             OH    43623‐2720
EVAN W DARNELL                                    8 OLD WEATHERSFIELD ROAD                                                                         WAYSIDE            NJ    07712‐3325
EVAN WUESTER                                      927 CHIPAWAY DR                                                                                  APOLLO BEACH       FL    33572‐2708
EVANA LANE LUTZ & JENNIFER LUTZ JT TEN            1716 PALM BEACH DR                                                                               APOPKA             FL    32712‐2472
EVANA S SIMONS                                    5362 ELMSFORD DRIVE                                                                              FLINT              MI    48532‐4021
EVANELL F PRITT                                   2227 TUNNEL HILL RD                                                                              MILLBORO           VA    24460‐3039
EVANGEL L BUMPUS                                  1627 W 1ST ST                                                                                    DAYTON             OH    45402‐6520
EVANGELICAL UNITED BRETHREN ZION CHURCH           C/O LINDA REESE                         8935 GOODS DAM RD                                        WAYNESBURG         PA    17268‐9504
FETTERHOFF CHAPEL
EVANGELINA EDGERLY                                1947 W CLEARBROOK LN                                                                             ANAHEIM            CA    92804‐3518
EVANGELINA MELO                                   1302 FENNER CT                                                                                   FRANKLIN           TN    37067‐8537
EVANGELINE AYALA                                  3881 W BEECHER ROAD                                                                              ADRIAN             MI    49221‐9778
EVANGELINE B GEARING                              12822 SPICKLER RD                                                                                CLEAR SPRING       MD    21722‐1425
EVANGELINE BANKS                                  504 WALNUT CT NW                                                                                 DECATUR            AL    35601‐1271
EVANGELINE BROWN                                  834 N DRAKE AVE                                                                                  CHICAGO            IL    60651‐4048
EVANGELINE CATHERINE JACQUES                      1321 WOODLEY RD                                                                                  DAYTON             OH    45403‐1629
EVANGELINE DEAN & CHRISTINE M KINYON JT TEN       611 TICKNER ST                                                                                   LINDEN             MI    48451‐9072
EVANGELINE DEAN TR REVOCABLE TRUST 12/31/91 U‐A   611 TICKNER ST                                                                                   LINDEN             MI    48451‐9072
EVANGELINE DEAN
EVANGELINE ENDERLE                                2612 WEST CREEKSTONE COURT                                                                       MERIDIAN           ID    83646
EVANGELINE G BOUVETTE                             61 PADDLECREEK AVE                                                                               CHARLESTON         SC    29412‐2584
EVANGELINE G MOUTIS                               2790 54TH ST NORTH                                                                               ST PETERSBURG      FL    33710‐3453
EVANGELINE GIGIAKOS                               9406 AVENUE M                                                                                    BROOKLYN           NY    11236‐5017
EVANGELINE GLASS                                  2 MOUNTAIN ST APT 3                     THE STEEPLES                                             CAMDEN             ME    04843‐1649
EVANGELINE HILL                                   1052 WEST 90TH STREET                                                                            LOS ANGELES        CA    90044‐3310
EVANGELINE J DEAN                                 4936 WATERS RD                                                                                   ANN ARBOR          MI    48103‐9651
EVANGELINE J VON KORFF                            PO BOX 246                                                                                       OXFORD             MI    48371‐0246
EVANGELINE JOHNSON CUST RASHAWNA M BURTIS         408 OGLETHORP                                                                                    LAPEER             MI    48446‐2772
UTMA MI
EVANGELINE KARIADAKIS                             PO BOX 1023                                                                                      WINCHESTER         MA    01890‐0323
EVANGELINE L ALEXANDER                            150 HIGHLAND AVE #532                                                                            ROCHESTER          NY    14620
EVANGELINE L PULLIAM                              PO BOX 50303                                                                                     FORT WAYNE         IN    46805‐0303
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EVANGELINE M BENKINNEY & WAYNE J BENKINNEY JT     1436 KELLY DR                                                                                  BURTON            MI    48509‐1627
TEN
EVANGELINE N KIRKENDALL                           2841 DUNSTAN DR NW APT 3                                                                       WARREN            OH    44485‐1511
EVANGELINE PACIFIC                                14027 ALEXANDER                                                                                LIVONIA           MI    48154‐4501
EVANGELINE WAGONER                                8773 N COUNTY ROAD 1050 E                                                                      BROWNSBURG        IN    46112‐9655
EVANGELOS DIMOLIS                                 119 W JOLIET ST                                                                                CROWN POINT       IN    46307‐3927
EVANGELOS PAPAKIRISTIS                            91‐403 POHAKUPUNA RD                                                                           EWA BEACH         HI    96706
EVANNA M STOVES                                   12206 SHANNONDELL DR                                                                           NORRISTOWN        PA    19403‐5619
EVANS A GODWIN                                    2700 DARIEN ST                                                                                 SHREVEPORT        LA    71109‐2816
EVANS BUTLER                                      1605 PINE ST                                                                                   ROCKINGHAM        NC    28379‐2751
EVANS D FLETCHER & CAROLYN B FLETCHER JT TEN      6860 HOSFORD HIGHWAY                                                                           QUINCY            FL    32351‐8417

EVANS GRIFFIN SMITH                               3614 CARMONA AVE #A                                                                            LOS ANGELES       CA    90016‐5137
EVANS MANOLIDES JR                                110 JAMES ST                          APT 303                                                  EDMONDS           WA    98020‐8432
EVANS MEMORIAL LIBRARY ASSOCIATION                105 N LONG ST                                                                                  ABERDEEN          MS    39730‐2575
EVANS N FISHEL                                    PO BOX 347                                                                                     RED LION          PA    17356‐0347
EVANS O SCHWARZ JR                                10 JACQUELINE DR                                                                               HOCKESSIN         DE    19707‐1007
EVANS REALTY CO INC                               2 ALEXANDER ST                                                                                 LONACONING        MD    21539‐1103
EVANS TRUE VALUE HARDWARE INC                     1823 MUIRFIELD DR                                                                              ADA               OK    74820‐8578
EVANS W MOSHER 2ND                                223 HILLARY LANE                                                                               PENFIELD          NY    14526‐1635
EVANS W TSOULES                                   16 HERBERT RD                                                                                  WORCESTER         MA    01602‐2617
EVANTHIA DECTIS & JACK DECTIS JT TEN              3904 FAIRFAX RD                                                                                BETHLEHEM         PA    18017
EVARISTE KARANGWA                                 4810 BRADDOCK KNOLL WAY                                                                        FAIRFAX           VA    22030‐4577
EVARISTO A HERNANDEZ                              5161 CALVINE RD                                                                                SACRAMENTO        CA    95823‐7200
EVE ANNA BEDNAL                                   249 BROOKLINE BLVD                                                                             HAVERTOWN         PA    19083‐3920
EVE ARIEL SAMUELS                                 2024 POST ROAD                                                                                 VIENNA            VA    22181
EVE C LIEBERMAN & JOEL T LIEBERMAN & IRA S        6700 W MAPLE APT 250                                                                           W BLOOMFIELD      MI    48322‐3008
LIEBERMAN JT TEN
EVE CHENEY & ROBERT CHENEY & CAROLYN COPPLE JT    149 W HATMAKER RD                                                                              COLDWATER         MI    49036‐9734
TEN
EVE HUPPERT & IRWIN HUPPERT JT TEN                PMB 6623                              166 RAINBOW DRIVE                                        LIVINGSTON        TX    77399‐1066
EVE J MINYARD                                     208 N PINECREST ROAD                                                                           BOLINGBROOK       IL    60440
EVE J SHUMAN                                      10231 WOOD WORK LN                                                                             LAS VEGAS         NV    89135‐2312
EVE KOZAK                                         106 OVERLOOK COURT                                                                             ST CLAIRSVILLE    OH    43950‐1014
EVE MARY LINDO & DELROY LEWIS JT TEN              1461 BLUE JAY CIRCLE                                                                           WESTON            FL    33327‐2012
EVE MERZ                                          867 ROSEWOOD DRIVE                                                                             BRUNSWICK         OH    44212‐2620
EVE S CHIN                                        755 TENNESSEE ST 3                                                                             SAN FRANCISCO     CA    94107‐3066
EVE S KLIGMAN TR EVE S KLIGMAN TRUST NO 1 UA      154 LEXINGTON AVE                                                                              E LANSING         MI    48823‐4623
07/06/01
EVE SARLE & JAMES P SARLE JT TEN                  251 MANHASSET STREET                                                                           ISLIP TERRACE     NY    11752‐2403
EVE SINGER                                        704 WASHINGTON ST                     #1A                                                      NEW YORK          NY    10014‐2316
EVE SOLOMON                                       1504 BUNKER HILL                                                                               CHARLOTTESVILLE   VA    22901‐3010

EVE WILLIAMS NOONAN                               910 S MICHIGAN AVE                    APT 401                                                  CHICAGO           IL    60605‐2266
EVE ZEVIN                                         333 EAST 56TH STREET APT 10H                                                                   NEW YORK          NY    10022‐3762
EVE‐MARIE RICHARDS & MICHAEL C RICHARDS JT TEN    8356 BROOKSTONE LN                                                                             CLARKSTON         MI    48348‐4477

EVELIA EMILIANI CUST GISILLA EMILIANI UGMA VA     2211 MONUMENT AVE                                                                              RICHMOND          VA    23220‐2709

EVELINA C RAMELLI                                 208 GATES POND ROAD                                                                            BERLIN RFD        MA    01503‐1305
EVELINA JOANN CZYRKA                              4117 ROOSEVELT                                                                                 DEARBORN HTS      MI    48125‐2532
EVELINA M JURASEK                                 9688 TECUMSEH‐CLINTON RD                                                                       TECUMSEH          MI    49286
EVELINA V THOMPSON                                1020 PRINCE ST                                                                                 ALEXANDRIA        VA    22314‐2933
EVELINA WARLIX                                    5 N VISTA #2                                                                                   AUBURN HILLS      MI    48326
EVELINE ANDERS                                    74 OLD CHURCH OF GOD RD                                                                        CANDLER           NC    28715‐9104
EVELO M FULTON & ROBERT FULTON JT TEN             411 E LOVETTE                                                                                  CHARLOTTE         MI    48813‐1607
EVELYN A BARNETT                                  1423 USHER ST                                                                                  LOGANSPORT        IN    46947‐4447
EVELYN A BRADFIELD                                2502 SHASTA                                                                                    PARCHMENT         MI    49004‐1027
EVELYN A BURKETT                                  9067 JAMES STREET                                                                              PICAYUNE          MS    39466‐9713
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EVELYN A BURRESS                                   LELY PALMS RETIREMENT COMMUNITY     1000 LELY PALMS DR ‐E322                                 NAPLES             FL    34113
EVELYN A DIEGNAN                                   C/O EVELYN A DIEGNAN GORMAN         145 DAY ST                                               SOUTH PLAINFIELD   NJ    07080‐3146

EVELYN A HERBIG & JAMES C HERBIG TR U‐W‐O PAUL R   1450 BENNETT AVE                                                                             SAINT LOUIS        MO    63122‐1608
HERBIG JR
EVELYN A HORNE                                     1080 BAL HARBOUR BLVD #6‐C                                                                   PUNTA GORDA        FL    33950‐6556
EVELYN A JOSS TOD LYNNE M BORS SUBJECT TO STA      PO BOX 685                                                                                   WESTFIELD CTR      OH    44251‐0685
TOD RULES
EVELYN A KERGAN                                    2592 RIVER RD                                                                                WILLOUGHBY       OH      44094‐9616
EVELYN A LONG                                      7 FORDHAM HILL OVAL APT 7F                                                                   BRONX            NY      10468‐4834
EVELYN A MARCH                                     2817 COUNTRYWAY ST                                                                           DANVILLE         IL      61832
EVELYN A MAURICE                                   C/O PAUL G IZZO                     100 SHOCKOE SLIP                                         RICHMOND         VA      23219‐4164
EVELYN A MCKISSICK                                 4 SIERRA DR                                                                                  CHELMSFORD       MA      01824‐4423
EVELYN A MOELLER                                   1234 CENTER ST                                                                               E AURORA         NY      14052‐3039
EVELYN A MOHNEY & ANN L COOK JT TEN                289 WYKLE RD                                                                                 GREENEVILLE      TN      37743‐2249
EVELYN A ROTH                                      26581 BEAMER                                                                                 MT CLEMENS       MI      48045‐2515
EVELYN A SALGAT & DIANE BENNETT JT TEN             7374 BENNETT LK RD                                                                           FENTON           MI      48430‐8993
EVELYN A SNIDER & ROWE W SNIDER JT TEN             8454 HIGHWAY E                                                                               BONNE TERRE      MO      63628‐3775
EVELYN A STARGELL                                  455 CATHERINE ST                                                                             YOUNGSTOWN       OH      44505‐1507
EVELYN A SUBACH & ALBERT J SUBACH JR JT TEN        48692 MEDORA CT                                                                              SHELBY TWP       MI      48315‐4276
EVELYN ABLER                                       2627 PLANET                                                                                  SAGINAW          MI      48601‐7023
EVELYN ABRAMS                                      8410 DIVOT WAY                                                                               PORT RICHEY      FL      34668‐2756
EVELYN ANDERSON                                    1008 THAMES STREET                                                                           WILMINGTON       DE      19804‐2855
EVELYN ATLINE RUTLEDGE                             1563 APPLE CREEK TR                                                                          GRAND BLANC      MI      48439‐4963
EVELYN B ALIBOZAK                                  454 MAPLE AVENUE                                                                             BRISTOL          CT      06010‐2696
EVELYN B BARTOLD                                   750 DE WITT RD                                                                               WEBSTER          NY      14580‐1454
EVELYN B CAREY                                     6149 FAIRWOOD                                                                                DEARBORN HEIGHTS MI      48127‐2806

EVELYN B CRAMER                                    309 BRIDGEBORO RD                   APT# 1113                                                MOORESTOWN         NJ    08057‐1420
EVELYN B JAZAK                                     13731 FRANSISCAN DRIVE                                                                       SUN CITY WEST      AZ    85375‐5220
EVELYN B KOERNER TR REVOCABLE TRUST 08/06/87 U‐A 2954 NEAL AVE                                                                                  SAN JOSE           CA    95128‐3331
EVELYN B KOERNER
EVELYN B MARTIN                                    914 E TAYLOR                                                                                 KOKOMO             IN    46901‐4786
EVELYN B MARTIN                                    660 LAKE DR                                                                                  PRINCETON          NJ    08540‐5652
EVELYN B PANKOK                                    6304 HYDE GROVE AVE                                                                          JACKSONVILLE       FL    32210‐2834
EVELYN B PROVINCE                                  1730 GIHON RD                                                                                PARKERSBURG        WV    26101‐9655
EVELYN B REDMOND & JUNE E JOYCE JT TEN             7015 CARNATION ST APT 204                                                                    RICHMOND           VA    23225‐5232
EVELYN B STEPHENS TR EVELYN B STEPHENS TRUST UA 9415 BLIND PASS RD 801                                                                          ST PETE BEACH      FL    33706‐1340
11/23/98
EVELYN B WALKER                                    101 HUNTINGTON AVE                  STE 500                                                  BOSTON             MA    02199‐7674
EVELYN BARGER                                      1000 WIGGINS PASS                                                                            NAPLES             FL    34110‐6300
EVELYN BARNES                                      C/O MARY L BENEDICT                 4519 CASCADE RD SE                                       GRAND RAPIDS       MI    49546‐3666
EVELYN BARRETT                                     77 KAY ST                                                                                    NEWPORT            RI    02840‐2844
EVELYN BERSON                                      APT 6S                              245 EAST 54TH STREET                                     NEW YORK           NY    10022‐4717
EVELYN BOGDZEWICZ                                  1328 INDIANA AVE                                                                             TRENTON            NJ    08648‐4634
EVELYN BRATCHER                                    6900 GRAYMOOR RD                                                                             LOUISVILLE         KY    40222‐6657
EVELYN BRENNAN BAIRD & CHARLES NEVIN BAIRD JT      408 1/2 CASTLE DR                                                                            WILMINGTON         NC    28401
TEN
EVELYN BURNARDINE KEELEY                           380 E WALKER RD                                                                              LAKE CITY          MI    49651‐9123
EVELYN C ANDERSON                                  4828 COLE ROAD                                                                               MEMPHS             TN    38117‐4104
EVELYN C COBB                                      101 LONDON VLG                      APT 4                                                    LONDON             KY    40741‐9829
EVELYN C COOPER & DORIS ROWE & HYLAN COOPER TR C/O WENDY COOPER GABRENYA               29 PARTRIDGE RD                                          LEXINGTON          MA    02420
UW BETTY COHEN
EVELYN C D'ANZA TR D'ANZA LIVING TRUST UA 08/01/01 8413 IRONSIDE AVE NE                                                                         ALBUQUERQUE        NM    87109‐5047

EVELYN C GRAHAM TR JOHN F & EVELYN C GRAHAM        9076 WATERWAY CT                                                                             MIAMISBURG         OH    45342‐0501
LIVING TRUST UA 09/28/95
EVELYN C HICKS                                     1530 MURDOCK RD                                                                              MARIETTA           GA    30062‐4825
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EVELYN C HOLZBERGER & GARRETT C LANDAHL JT TEN    1813 EDGEWOOD AVE                                                                               SO MILWAUKEE      WI    53172‐3446

EVELYN C HOMUTH TR LIVING TRUST UA 03/07/06       1125 S EUCLIO AVE                                                                               OAKPARK           IL    60304

EVELYN C HUTCHINSON                           670 GEORGIA AVE                                                                                     SEWANEE           TN    37375‐2311
EVELYN C LAMBERG                              732 SUMMIT AVE                                                                                      WESTFIELD         NJ    07090‐3232
EVELYN C LEHMAN CUST JOHN FRANCIS LEHMAN UGMA 1898 WICKLOW WAY                                                                                    GERMANTOWN        TN    38139‐3233
MI
EVELYN C MOON                                 PO BOX 389                                                                                          DRYDEN            MI    48428‐0389
EVELYN C PAGE                                 30 BEECHWOOD LANE                                                                                   BRISTOL           CT    06010
EVELYN C PYSZKA                               5730 CHADBOURNE CIR                                                                                 ROCKFORD          IL    61114
EVELYN C REVORD                               526 N GARFIELD ROAD                                                                                 LINWOOD           MI    48634‐9729
EVELYN C SCHMITT                              11841 W PRICE RD                                                                                    WESTPHALIA        MI    48894‐9229
EVELYN C TUCKER                               2585 LORETTO ROAD                                                                                   JACKSONVILLE      FL    32223‐1393
EVELYN C WALKER                               4911 PINE RIDGE RD                                                                                  CHARLOTTE         NC    28226‐5719
EVELYN C WEISSGERBER CUST LYN S CUDA UGMA PA  620 S 14TH AVE                                                                                      WASHINGTON        IA    52353‐3113

EVELYN CARRAH                                     67 BRACKENRIDGE DR                                                                              WATERBURY         CT    06706‐2806
EVELYN CASEY                                      74 ELM ST                                                                                       BYFIELD           MA    01922‐2812
EVELYN CATHEY JOHNSON                             #15                                    800 S STATE ST                                           SUTHERLIN         OR    97479‐9536
EVELYN CLARK TR EVELYN CLARK DECLARATION TRUST    13818 N 600TH ST                                                                                WHEELER           IL    62479‐2318
UA 03/06/96
EVELYN COLPEAN & DONALD J COLPEAN JT TEN          3506 COMPSON CIRLCE                                                                             RUSKIN            FL    33570‐5932
EVELYN CROPP COCHRAN                              37861 BAKER MILL RD                                                                             PURCELLVILLE      VA    20132‐2201
EVELYN D BATTISTE                                 601 SAINT CLOUD DRIVE                                                                           ANTIOCH           TN    37013‐3612
EVELYN D BIERBOWER                                450 N C STREET                                                                                  CHEBOIGHN         MI    49721‐1245
EVELYN D BROWN                                    MAPLE VILLAGE                          2815 BYBERRY RD #3903                                    HATBORO           PA    19040‐2806
EVELYN D GAVIN                                    C/O JOANN G REYNOLDS                   1606 CANTON DR                                           WEST BLOOMFIELD   MI    48324‐3811

EVELYN D GILLESPIE                                PO BOX 362                                                                                      AKRON             OH    44309‐0362
EVELYN D JONES                                    2650 MACOMB ST                                                                                  DETROIT           MI    48207‐3807
EVELYN D SMITH                                    PO BOX 42143                                                                                    ATLANTA           GA    30311‐0143
EVELYN D SMITH GDN FBO JACK SMITH                 1358 NORTHWOOD DR                      SARNIA ON                              N7S 2K6 CANADA
EVELYN D SMITH GDN FBO KATHERINE SMITH            1358 NORTHWOOD DR                      SARNIA ON                              N7S 2K6 CANADA
EVELYN D THOMPSON                                 455 HURFFVILLE CROSSKEYS RD            APT 334                                                  SEWELL            NJ    08080‐2331
EVELYN D WHITE TR UW NATHANIEL E WHITE            118 FOXCROFT LN                                                                                 FAYETTEVILLE      NY    13066
EVELYN DANIELS                                    174 WEST FLORENCE AVE                  SYRACUS                                                  SYRACUSE          NY    13205
EVELYN DAVIS                                      12818 BROAD ST                                                                                  DETROIT           MI    48238‐3250
EVELYN DAY BUTLER                                 P O BOX 1410                                                                                    ANGEL FIRE        NM    87710
EVELYN DELBRIDGE                                  2456 ANNA CLARA CT                                                                              SWARTZ CREEK      MI    48473‐9792
EVELYN DELISLE SHELDON                            97 WEST MAIN ST UNIT 96                                                                         NIANTIC           CT    06357‐1732
EVELYN DONOVAN                                    29 PARK EAST                                                                                    NEW HYDE PARK     NY    11040‐3501
EVELYN E BARNES & PATRICIA B RIGGLEMAN JT TEN     4404 WILMAR AVE                                                                                 RANDALLSTOWN      MD    21133‐1408

EVELYN E BARTLEY & ELIZABETH D KOHLER JT TEN      9 HIMMELMAN DR                                                                                  ZELIENOPLE        PA    16063‐1574
EVELYN E BARTLEY & JAMES E BARTLEY JT TEN         9 HIMMELMAN DR                                                                                  ZELIENOPLE        PA    16063‐1574
EVELYN E BARTLEY & JOHN H BARTLEY JT TEN          9 HIMMELMAN DR                                                                                  ZELIENOPLE        PA    16063‐1574
EVELYN E BARTLEY & NANCY L BARTLEY JT TEN         9 HIMMELMAN DR                                                                                  ZELIENOPLE        PA    16063‐1574
EVELYN E BARTLEY & TERRENCE E BARTLEY JT TEN      9 HIMMELMAN DR                                                                                  ZELIENOPLE        PA    16063‐1574
EVELYN E BOYD                                     16 CONEWANGO PLACE                                                                              WARREN            PA    16365‐2627
EVELYN E CLEVELAND                                705 RENAISSANCE DR                     APT 101                                                  WILLIAMSVILLE     NY    14221‐8029
EVELYN E DAVISON                                  9733 AMANDA DRIVE                                                                               FOWLERVILLE       MI    48836‐9607
EVELYN E DIDIEGO                                  119 MACARTHUR DRIVE                    PLEASANT HILL ESTATES                                    WILMINGTON        DE    19804‐3534
EVELYN E ELLIOTT                                  1621 E COMMONWEALTH AVE                # 128                                                    FULLERTON         CA    92831‐4027
EVELYN E FERGEN                                   30 ALICE LN                                                                                     BROCKPORT         NY    14420‐1402
EVELYN E FOLAND                                   75 SW 75TH ST                          APT A10                                                  GAINESVILLE       FL    32607‐1601
EVELYN E HARRIS EX EST JAMES C HARRIS             307 MILL ROAD                                                                                   ROCHESTER         NY    14626‐1035
EVELYN E KACKMEISTER & GARY W KACKMEISTER &       2883 RUMSEY RD                                                                                  AUGRES            MI    48703‐9488
GAIL A SURDOCK
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EVELYN E KOCAN                                  2052 E STATE HIGHWAY 46                                                                             SPENCER           IN    47460‐6804
EVELYN E LINTON                                 670 LINCREST DR                                                                                     NORTH             PA    15642‐3122
                                                                                                                                                    HUNTINGDON
EVELYN E MC COY                                   3102 COFFEY                                                                                       VICTORIA          TX    77901‐7427
EVELYN E MCLAUGHLIN                               341 8TH ST S UNIT 2                                                                               BRIGANTINE        NJ    08203‐2366
EVELYN E NAYLOR                                   4705 OLD SOPER RD                                                                                 CAMP SPRINGS      MD    20746‐4011
EVELYN E OLSON                                    603 WILLIAMS STREET                                                                               JANESVILLE        WI    53545‐2455
EVELYN E OROURKE                                  ATTN DONALD A O'ROURKE             2659 TENNYSON ST                                               THOUSAND OAKS     CA    91360‐1629
EVELYN E PAPPAS TOD NANCY J PAPPAS SUBJECT TO STA 4617 JOHN MOORE RD                                                                                BRANDON           FL    33511
TOD RULES
EVELYN E PIERCE & CATHY G BOWLES & CARA G PIERCE 23520 GROVE                                                                                        ST CLAIR SHORES   MI    48080‐1139
JT TEN
EVELYN E SEDLAK                                   18293 SOUTH DR                                                                                    STRONGSVILLE      OH    44136‐1649
EVELYN E THOMPSON                                 4684 CLAUDIA DR                                                                                   WATERFORD         MI    48328
EVELYN E WISNIEWSKI                               115 STANLEY DR                                                                                    BAY CITY          MI    48708‐9118
EVELYN E WRIGHT TR UA 07/23/90 EVELYN E WRIGHT    2254 GERSPACHER RD                                                                                DAYTON            OH    45431‐2509
TRUST
EVELYN E YATES                                    7267 E ATHERTON ROAD                                                                              DAVISON           MI    48423‐2405
EVELYN ELIZABETH BELL                             23540 HAMILTON AVE                                                                                GERBER            CA    96035‐9612
EVELYN ESTES                                      227 PORTER DR                                                                                     ENGLEWOOD         OH    45322‐2449
EVELYN F BEARD                                    3514 MERRICK                                                                                      HOUSTON           TX    77025‐1930
EVELYN F EMBERSON                                 8888 W CRUM RD                                                                                    BLOOMINGTON       IN    47403‐9511
EVELYN F HICKS                                    2016 AVIGNOM PLACE                                                                                HALF MOON BAY     CA    94019‐1431
EVELYN F HILL                                     C/O DELWICHE & VON DOLLEN          ATTORNEYS AT LAW     1114 STATE ST STE 256                     SANTA BARBARA     CA    93101‐2728
EVELYN F HODGSON                                  11790 LIBERIA ROAD                                                                                EAST AURORA       NY    14052‐9578
EVELYN F JENKINS                                  2017 JUNIPER CREEK RD                                                                             QUINCY            FL    32351‐5751
EVELYN F LUTZ                                     1 LINDA LANE                                                                                      TINTON FALLS      NJ    07724‐2772
EVELYN F MALONE                                   108 SPOKANE DR                                                                                    PONTIAC           MI    48341‐1163
EVELYN F MC MILLION                               1604 MOLL ST                                                                                      N TONAWANDA       NY    14120‐2242
EVELYN F MEGGINSON                                226 HAMROCK                                                                                       CAMPBELL          OH    44405‐1101
EVELYN F RIZZO                                    150 TOWNGATE RD                                                                                   ROCHESTER         NY    14626‐3019
EVELYN F ROTIER                                   2001 SWEETBRIAR                                                                                   NASHVILLE         TN    37212‐5411
EVELYN F SKILLINGTON                              1180 JACKS CORNER RD                                                                              HOPEWELL          PA    16650‐7932
EVELYN F STAGG                                    364 MAPLE ST #2                                                                                   KEARNY            NJ    07032
EVELYN F STAROBIN & AMY STAROBIN JT TEN           107 HIGHLAND AVENUE                                                                               NORWALK           CT    06853‐1316
EVELYN F VALERIO & RAYMOND VALERIO JT TEN         4438 RICHMOND AVE                                                                                 FREMONT           CA    94536‐6852
EVELYN FERRELL                                    2015 W 42ND PL                                                                                    LOS ANGELES       CA    90062‐1444
EVELYN FLINN CUST KARA FLINN UTMA NJ              106 CRESCENT AV                                                                                   LEONIA            NJ    07605‐1905
EVELYN FLINN CUST PAMELA FLINN UTMA NJ            106 CRESCENT AVE                                                                                  LEONIA            NJ    07605‐1905
EVELYN FRANCES SIMES                              250‐9 INDIAN MOUND PARKWAY                                                                        WHITEWATER        WI    53190‐1561
EVELYN FRANKOVICH                                 1109 MONROE AVE                                                                                   MC KEESPORT       PA    15133‐3832
EVELYN FRIED LAZEAR                               2218 MCCLENDON                                                                                    HOUSTON           TX    77030‐2020
EVELYN G ASTON                                    10645 SILICA SAND                                                                                 WINDHAM           OH    44288‐9716
EVELYN G BANASZAK                                 714 FILMORE PL                                                                                    BAY CITY          MI    48708‐5573
EVELYN G CAFFREY TR EVELYN G CAFFREY LIVING TRUST 5052 4TH AVE NORTH                                                                                ST PETERSBURG     FL    33710‐8216
UA 11/05/98
EVELYN G DOWLER                                   336 LINTON RUN RD                                                                                 PORT DEPOSIT      MD    21904‐1646
EVELYN G FANER & PATRICIA CZARNIK JT TEN          45494 WHITE PINES DR                                                                              NOVI              MI    48374‐3719
EVELYN G GOINGS                                   PO BOX 35                                                                                         LATTY             OH    45855‐0035
EVELYN G HARMAN                                   6425 COLEBROOK DRIVE                                                                              INDIANAPLOIS      IN    46220‐4265
EVELYN G OLLIEN & PATTY LEE CAFARELLA JT TEN      113 BELL PLACE                                                                                    WINTER PARK       FL    32792‐3101
EVELYN G SHANNON                                  2057 WHISPERING CV                                                                                LEWISVILLE        TX    75067‐6131
EVELYN G WELKER                                   716 W WATER ST                                                                                    SHAMOKIN          PA    17872‐5131
EVELYN G WILLFORTH                                2468 ANDREWS DRIVE                                                                                WARREN            OH    44481‐9342
EVELYN G WOIDA                                    135 PENILE DR                                                                                     DECHERD           TN    37324‐4139
EVELYN GAMMEL                                     8021 CHRISTIAN CT                  APT 325                                                        LOUISVILLE        KY    40222‐9035
EVELYN GARELLICK                                  348‐B JUTLAND DRIVE                                                                               MONROE            NJ    08831‐3929
                                                                                                                                                    TOWNSHIP
EVELYN GARRETT FERNUNG                          PO BOX 834                                                                                          FRANKTON          IN    46044‐0834
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EVELYN GIBSON                                    4430 GREENTREE TRL                                                                              COLLEGE PARK     GA    30349‐1743
EVELYN GIFFORD                                   470 PIAGET AVE APT A6                                                                           CLIFTON          NJ    07011‐3016
EVELYN GOUDY                                     2125 TIFFIN AVE                                                                                 SANDUSKY         OH    44870‐1962
EVELYN GRACE DUVALL                              10522 FLORA VERDA CT                                                                            SANTEE           CA    92071
EVELYN GREEN                                     PO BOX 297                                                                                      ROCKLAND         ME    04841‐0297
EVELYN H BEASLEY                                 3142 GRACEFIELD ROAD                   APT 503                                                  SILVER SPRING    MD    20904‐5857
EVELYN H BRANTLEY                                706 EDGEHILL RD                                                                                 WILMINGTON       DE    19807
EVELYN H EILER                                   18399 N ST RD 37                                                                                ELWOOD           IN    46036‐9278
EVELYN H HIRT                                    PO BOX 4277                                                                                     WEST RICHLAND    WA    99353‐4004
EVELYN H KRAFT & DANIEL R KRAFT JT TEN           BOX 24                                                                                          OTTER            MT    59062‐0024
EVELYN H MC BRIDE                                10895 OAK LN                           APT 15216                                                BELLEVILLE       MI    48111‐4748
EVELYN H MCNALL                                  450 DECATUR AVE                                                                                 PITTSBURGH       PA    15221‐4002
EVELYN H REZNITSKY & RHONDA ROCHKIND TEN ENT     1014 SCOTTS HILL DR                                                                             BALTIMORE        MD    21208‐3521

EVELYN H ROBERTS                                 PO BOX 22606                                                                                    HOUSTON          TX    77227‐2606
EVELYN H ROBINSON                                4223 OLD BRANDON ROAD                                                                           PEARL            MS    39208‐3012
EVELYN H SHAFER                                  203 NORTH CHURCH ST                                                                             NAZARETH         PA    18064‐1423
EVELYN H SHOUP & RONALD E SHOUP JT TEN           3167 RED BARN ROAD                                                                              FLINT            MI    48507‐1211
EVELYN H SIMMS                                   2708 CRESTWOOD N W                                                                              WARREN           OH    44485‐1227
EVELYN H TUCKER TR EVELYN H TUCKER REV TR        PO BOX 550                                                                                      WINDERMERE       FL    34786‐0550
10/16/78
EVELYN H TUTTLE TR EVELYN H TUTTLE TRUST UA      286 COUNTRY CLUB DR                                                                             PROSPECT HEIGHTS IL    60070‐2583
08/04/87
EVELYN HALBERT                                   105 TASMEN COURT                                                                                ANTIOCH          TN    37013‐3614
EVELYN HAMPTON                                   2045 SALT MYRTLE LN                                                                             ORANGE PARK      FL    32003
EVELYN HANYOK                                    10375 AUBURN ROAD                                                                               CHARDON          OH    44024‐8620
EVELYN HAUGHTON                                  21195 WOODMONT ST                                                                               HARPER WOODS     MI    48225‐1815
EVELYN HEFNER                                    3320 N W 31ST AVE                                                                               GAINESVILLE      FL    32605‐2176
EVELYN HUFZIGER                                  20 MARLIN RD                                                                                    SANDY HOOK       CT    06482‐1359
EVELYN HUTCHINS TR UA 10/06/92 EVELYN ALTHEA     2692 FISH LAKE RD                                                                               LAPEER           MI    48446‐8381
HUTCHINS TRUST
EVELYN I HART                                    2320 QUAIL HOLLOW LN                                                                            SANDUSKY         OH    44870
EVELYN I KETCHUM TOD MARLENE A O'TOOLE SUBJECT   121 MUHLEN PLATZ UNIT B                                                                         FREEHOLD         NJ    07728
TO STA TOD RULES
EVELYN INEZ HANSEN                               3100 TYRRELL PARKWAY DRIVE                                                                      PORT ARTHUR      TX    77642‐2025
EVELYN IRENE HATTON                              1005 LIMB CT                                                                                    GURNEE           IL    60031‐1726
EVELYN J BARBERY                                 300 VERMILLION ST                      PO BOX 487                                               ATHENS           WV    24712‐0487
EVELYN J BELINSKY                                8438 CLIO RD                                                                                    MT MORRIS        MI    48458‐8202
EVELYN J BOVEE                                   31 PARK                                                                                         OXFORD           MI    48371‐4837
EVELYN J BRENNAN                                 454 BRISCO RD                                                                                   MARION           TX    78124‐2067
EVELYN J BUCKLER                                 612 LYON PLACE                                                                                  FLINT            MI    48503‐2410
EVELYN J BURNETT                                 1450 VALLEY NW                                                                                  GRAND RAPIDS     MI    49504‐2949
EVELYN J CORDRAY                                 33804 E 283RD ST                                                                                GARDEN CITY      MO    64747‐8365
EVELYN J DAVIDSON                                572 N POINT PRAIRIE RD                                                                          WENTZVILLE       MO    63385
EVELYN J DRISCOLL                                42 IVY LN                                                                                       NEW CASTLE       DE    19720‐2339
EVELYN J EDWARDS                                 2471 S BROAD ST                                                                                 ALBERTVILLE      AL    35950‐8809
EVELYN J FOWLER & SHARON L TEMPLE & EDWIN D      173 S HWY 7                                                                                     CLINTON          MO    64735‐9517
FOWLER JT TEN
EVELYN J GEORGE                                  1428 RINGOLD ST                                                                                 GUNTERSVILLE     AL    35976‐1044
EVELYN J GEORGIS & CHARLES N GEORGIS JT TEN      3851 MISSION HILLS RD                  UNIT 208                                                 NORTHBROOK       IL    60062‐5723
EVELYN J HANCOCK & LEWIS F HANCOCK JT TEN        810 WINSTON CT                                                                                  JEFFERSON CITY   MO    65101‐2869
EVELYN J HOWELL                                  41 EAST AUBURNDALE AVENUE                                                                       YOUNGSTOWN       OH    44507‐1802
EVELYN J HOYER                                   8811 SUTPHIN BLVD                      STE 61                                                   JAMAICA          NY    11435‐3716
EVELYN J HULL                                    401 CHESTNUT DR                                                                                 CARMEL           NY    10512‐2609
EVELYN J KELLY                                   8603 HAVEN ST                                                                                   MT MORRIS        MI    48458‐1305
EVELYN J LAFRANCE                                21970 ROOSEVELT RD                                                                              MERRILL          MI    48637‐9707
EVELYN J LAVINDER                                3592 LONGVIEW DR                                                                                COLLINSVILLE     VA    24078‐2828
EVELYN J LAWRENCE                                3182 IVY LN                                                                                     GRAND BLANC      MI    48439‐8198
EVELYN J LEWIS                                   1818 HUNTERS CT                                                                                 STEAMBOAT SPR    CO    80487‐2331
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EVELYN J MC NALLY                                  42250 HAYES RD                        APT 916                                                   CLINTON TWNSHPS MI        48038‐3640

EVELYN J NELSON                                    10150 E VIRGINIA AVE                  BLDG 15 APT 103                                           DENVER              CO    80231‐1350
EVELYN J O'HARA                                    510 GREEN VIEW DR                                                                               NORTHAMPTON         PA    18067‐1969
EVELYN J PITTS                                     1166 PEACHTREE DR                                                                               MOUNT MORRIS        MI    48458‐2834
EVELYN J RECORE & FREDERICK E RECORE JT TEN        1801 HOADLEY RD                                                                                 DECKER              MI    48426‐9702
EVELYN J SAGE                                      S 14315 MURPHY RD                                                                               CHENEY              WA    99004‐9041
EVELYN J SEIDENBERG                                930 E HEDGELAWN WY                                                                              SOUTHERN PINES      NC    28387‐7613
EVELYN J SMITH                                     2431 THOM ST                                                                                    FLINT               MI    48506‐2849
EVELYN J STANDRING TR UA 11/06/91 TRUST 1991 THE   2586 BAYSHORE AVE                                                                               VENTURA             CA    93001‐3914
EVELYN J STANDRING
EVELYN J WRIGHT DAVID H WRIGHT & ELIZABETH ANN     612 N OCEAN BLVD                      APT 103                                                   SURFSIDE BCH        SC    29575‐4069
LINDSAY JT TEN
EVELYN JACKSON                                     841 LANDSDOWNE N W                                                                              WARREN              OH    44485‐2227
EVELYN JAGUSCH AUGUSTE                             VIKTORIA ALLEE 48 D‐13403             BERLIN                                  GERMANY
EVELYN JANE CALCHARY & SAMUEL DENNIS CALCHARY      42768 LEDGEVIEW DR                                                                              NOVI                MI    48377‐2710
JT TEN
EVELYN JEAN ELLIOTT DELANO OTIS                    308 RIVERVIEW RD                                                                                WARSAW              VA    22572‐3630
EVELYN JEAN STRACKE                                651 E TANGELO DR                                                                                TUCSON              AZ    85737‐6629
EVELYN JOHN                                        1815 BELLSHIRE WAY                                                                              BOWLING GREEN       KY    42104
EVELYN JOHNSON KIRK                                3334 WAGNER HEIGHTS RD                APT 2                                                     STOCKTON            CA    95209‐4862
EVELYN JUDITH STERN                                10 HILLTOP                            HAMPSTEAD GARDEN SUBURB   LONDON NW11   GREAT BRITAIN
EVELYN JUNE SHORT                                  113 S BARNES ST                                                                                 MASON               MI    48854‐1619
EVELYN K COLLINS                                   31 CARAWAY CT                                                                                   LUMBERTON           NJ    08048‐4231
EVELYN K DAVIDSON                                  24720 N 109TH ST                                                                                SCOTTSDALE          AZ    85255‐8088
EVELYN K LUSTBADER TR UA 05/05/95                  6420 MILL POINT CIRCLE                                                                          DELRAY BEACH        FL    33484
EVELYN K MALARCIK                                  3671 HIGHMEADOW DR                                                                              CANFIELD            OH    44406‐9211
EVELYN K OXLEY                                     8665 BIRCH BROOK LN                                                                             PICKERINGTON        OH    43147‐7867
EVELYN K PERRY                                     13 WESTDALE DR                        ST CATHARINES ON                        L2S 2R9 CANADA
EVELYN K SPENCER                                   9886 W 300 S                                                                                    SWAYZEE             IN    46986‐9749
EVELYN K THOMAS                                    C/O JOSEPH L THOMAS                   14 BURLINGTON AVE                                         MELVILLE            NY    11747‐2721
EVELYN K WESTOVER                                  514 N BRIDGE ST                                                                                 VISALIA             CA    93291
EVELYN KIRESEN                                     6065 VERDE TRAIL SOUTH                APT G321                                                  BOCA RATON          FL    33433‐4422
EVELYN KUEHNLENZ                                   1408 WHITEWATER DR                                                                              LITTLE ELM          TX    75068‐7332
EVELYN L BALLENTINE                                6205 61ST ST E                                                                                  PALMETTO            FL    34221‐7050
EVELYN L BAXTER                                    PO BOX 373                                                                                      BELLWOOD            PA    16617‐0373
EVELYN L BOWLING                                   3241 TURTLE CREEK RD                                                                            ST AUGUSTINE        FL    32086‐5905
EVELYN L BURKINS                                   25 ROYAL POINTE DR                                                                              HILLTON HEAD ISLD   SC    29924‐1166

EVELYN L DEPUE                                     219 GULL DR                                                                                     ELYRIA              OH    44035‐2618
EVELYN L EPTING                                    1231 NEWNHAM DRIVE                                                                              COLUMBIA            SC    29210‐3935
EVELYN L EPTING & HAROLD E EPTING JT TEN           1231 NEWNHAM DRIVE                                                                              COLUMBIA            SC    29210‐3935
EVELYN L FAERBER                                   537 W MOSELEY ST                                                                                FREEPORT            IL    61032‐5470
EVELYN L GENTRY                                    300 S CHURCH ST                                                                                 ENFIELD             NC    27823‐1500
EVELYN L GULLATTE                                  PO BOX 394 BRIDGE                                                                               NIAGARA FALLS       NY    14305‐0394
EVELYN L HOUSE                                     755 MINER RD                                                                                    ORINDA              CA    94563‐1530
EVELYN L KING CUST JANET M KING UGMA MI            700 NORMANDY                                                                                    ROYAL OAK           MI    48073‐5209
EVELYN L KING CUST SANDRA G KING UGMA MI           700 NORMANDY                                                                                    ROYAL OAK           MI    48073‐5209
EVELYN L LANDGRAF TR UA 08/13/91 EVELYN L          9702 N COUNTY RD B                                                                              HAYWARD             WI    54843
LANDGRAF TRUST
EVELYN L LEETH                                     266 JAMES FRAIZER RD                                                                            LACEYS SPRING       AL    35754‐7309
EVELYN L LONDRIGAN                                 9068 WILLOWGATE                                                                                 GOODRICH            MI    48438‐9100
EVELYN L NEWELL & EMILY C NEWELL JT TEN            2447 CARLTON PL                                                                                 RIVERSIDE           CA    92507
EVELYN L OMARA                                     2351 HARTFORD AVE                                                                               WATERFORD           MI    48327‐1117
EVELYN L PAINTER                                   3707 RANCH ROAD 1320                                                                            JOHNSON CITY        TX    78636‐4538
EVELYN L PARKS                                     2615 BENJAMIN                                                                                   WICHITA             KS    67204‐5523
EVELYN L RINALDI                                   109 BOSQUE LOOP                                                                                 BERNALILLO          NM    87004‐6193
EVELYN L SEAY                                      2925 THRUSH DR                                                                                  ST CHARLES          MO    63301‐1280
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EVELYN L SHEHADI & ELIZABETH M SHEHADI JT TEN     333 BRAZILIAN AVE                                                                               PALM BEACH      FL    33480‐4622

EVELYN L SLAYTON                                  1233 GORDON ST                                                                                  MT MORRIS       MI    48458‐1716
EVELYN L SOBCZAK                                  4687 BRADFORD LN                                                                                RENO            NV    89509‐0933
EVELYN L VICE                                     625 IMY LN                                                                                      ANDERSON        IN    46013‐3870
EVELYN L WALKER                                   3322 SWANEE DRIVE                                                                               LANSING         MI    48911‐3325
EVELYN L WHITE                                    2207 W SARATOGA ST                                                                              BALTIMORE       MD    21223‐1509
EVELYN L WIBIRT TR EVELYN L WIBIRT TRUST UA       1119 ZOSCHKE RD                                                                                 BENTON HARBOR   MI    49022
11/23/94
EVELYN L WINDHAM                                  2360 WINGFIELD HILLS DR APT 273                                                                 SPARKS          NV    89436
EVELYN L ZAREMSKI                                 24500 METROPOLITAN PARKWAY             ATP 315                                                  CLINTON TWP     MI    48035
EVELYN LAMBTON                                    PO BOX 283                                                                                      EAGAR           AZ    85925‐0283
EVELYN LANCE                                      PO BOX 15                                                                                       OXFORD          MI    48371‐0015
EVELYN LANGHOLZ TR EVELYN LANGHOLZ REVOCABLE      3808 VISTA CAMPANA S UNIT 54                                                                    OCEANSIDE       CA    92057‐8138
TRUST UA 10/06/96
EVELYN LE BRUN & ALBERT O LE BRUN JT TEN          4 CLOVER DR                                                                                     COVENTRY        RI    02816‐4633
EVELYN LEE WOLFE                                  1100 QUINCY AVENUE 5G                                                                           DUNMORE         PA    18510
EVELYN LYDIA ISHEL                                11090 W14 RD                                                                                    MESICK          MI    49668‐8712
EVELYN M ADAMS & LYN E DADE JT TEN                2325 KNOLLWOOD CT                                                                               SCHAUMBURG      IL    60194‐4895
EVELYN M ASKWIG                                   10485 HILL RD                                                                                   GOODRICH        MI    48438‐9712
EVELYN M BAK TR THE EVELYN M BAK DECL OF TRUST    10316 CAMBRIDGE ST                                                                              WESTCHESTER     IL    60154‐3502
UA 02/04/93
EVELYN M BAKER                                    4060 RT 21                                                                                      SCHODACK        NY    12156
                                                                                                                                                  LANDING
EVELYN M BALKOVETZ & FRANCIS D BALKOVETZ & FRED   2020 ARGYLE                                                                                     BUTTE           MT    59701‐5508
J BALKOVETZ JR JT TEN
EVELYN M BARONI                                   13 HARRINGTON FARMS WAY                                                                         SHREWSBURY      MA    01545‐4039
EVELYN M BATES                                    2003 LOCKPORT‐OLCOTT RD                                                                         BURT            NY    14028‐9701
EVELYN M BENSON CUST NATHANIEL J BENSON UTMA      541 EMORY AVE                                                                                   TRENTON         NJ    08611
NJ
EVELYN M BOBB TR E M BOBB TRUST UA 11/21/96       8280 FOX KNOLL CT                                                                               W CHESTER       OH    45069‐2894
EVELYN M BOEYER TR EVELYN M BOEYER TRUST UA       1515 72ND ST W                                                                                  BRADENTON       FL    34209‐4472
10/30/85
EVELYN M BORGMAN                                  139 MIDDLESEX ROAD                                                                              MERRIMACK       NH    03054‐2779
EVELYN M BOSTICK                                  PO BOX 76                                                                                       DAYTON          OH    45417
EVELYN M CARGILL                                  7498 E CARPENTER RD                                                                             DAVISON         MI    48423‐8914
EVELYN M CARTER                                   2287 BATES RD                                                                                   MT MORRIS       MI    48458‐2603
EVELYN M CHERESON                                 14680 VERONICA AVE                                                                              EASTPOINTE      MI    48021‐2848
EVELYN M CONOVER                                  181 APPLEGATE DR                                                                                TRENTON         NJ    08690
EVELYN M COOKE                                    3504 MILFORD MILL RD                                                                            WINDSOR MILL    MD    21244
EVELYN M DAHL                                     6939 N SR 19                                                                                    DENVER          IN    46926
EVELYN M DAUBERMAN                                PO BOX 277                                                                                      SYRACUSE        NY    13212‐0277
EVELYN M DOMAN                                    4649 BURR OAK ST                                                                                CINCINNATI      OH    45232
EVELYN M EDDY TR EVELYN M EDDY LIVING TRUST UA    3580 RIVERSIDE DR                                                                               AUBURN HILLS    MI    48326‐4311
9/2/97
EVELYN M FITZKE                                   1502 N 26TH ST                                                                                  MESA            AZ    85213‐4114
EVELYN M FOLEY                                    1707 WILLOW DR                                                                                  OCEAN           NJ    07712
EVELYN M FOWLER                                   PO BOX 252                                                                                      HURON           OH    44839‐0252
EVELYN M GARRETT                                  1209 FIELD OAK CT                                                                               ANTIOCH         TN    37013‐5715
EVELYN M GRIFFIS & JEANETTE DUNLAP & AVIE J       19521 NW 42ND AVE                                                                               STARKE          FL    32091‐5211
BRANTLEY JT TEN
EVELYN M HALL                                     816 TURWILL LN                                                                                  KALAMAZOO       MI    49006‐2743
EVELYN M HAMILTON TR UA 10/31/89 EVELYN M         1224 W BRISTOL RD                                                                               FLINT           MI    48507‐5520
HAMILTON TRUST
EVELYN M HANNEMAN                                 124 JEFFERSON ZONE 10                                                                           HOUGHTON LAKE   MI    48629
EVELYN M HART TR HART FAMILY TR 09/11/85          21952 BUENA SUERTE                                                                              RANCHO SANTA    CA    92688‐3875
                                                                                                                                                  MARGA
EVELYN M HARTILL                                  8160 ANDERSON N E                                                                               WARREN          OH    44484‐1533
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EVELYN M HASS & KAREN S BROHMAN & MARILYN R        615 N CAPITOL AVE                                                                              LANSING          MI    48933‐1230
NELSON JT TEN
EVELYN M HELLMAN                                   4106 ROHR RD                                                                                   LAKE ORION      MI     48359‐1930
EVELYN M JOHNSTON                                  4848 PELICAN WAY                                                                               WEST BLOOMFIELD MI     48323‐2052

EVELYN M KNIGHT                                    5569 CAGNEY LOOP                                                                               HOMOSASSA        FL    34448‐2138
EVELYN M KOCHER                                    16 POINSETT AVE                                                                                GREENVILLE       SC    29601‐1614
EVELYN M KOVL & GERALD L KOVL JT TEN               8083 W FARRAND                                                                                 MONTROSE         MI    48457‐9725
EVELYN M KRISHKE                                   C/O E M FASBENDER                     1944 DINIUS RD                                           TECUMSEH         MI    49286‐9713
EVELYN M KUNST                                     11270 W MAPLE RAPIDS RD                                                                        FOWLER           MI    48835‐9610
EVELYN M KURFESS TR UA 04/13/92 THE EVELYN M       RR 3 ‐ 56 WATERGATE DR                                                                         BARRINGTON       IL    60010‐9562
KURFESS TRUST
EVELYN M LIARAKOS                                  901 W 22ND ST                                                                                  WILMINGTON       DE    19802‐3303
EVELYN M MATIJEGA                                  101 W WHITEFEATHER RD                                                                          PINCONNING       MI    48650‐7948
EVELYN M MATTHEWS                                  1600 N W CRISTA SHORES LANE           APT 121                                                  SILVERDALE       WA    98383‐9101
EVELYN M MC CARTY                                  9 SHAW PLACE                                                                                   ST LOUIS         MO    63110‐3724
EVELYN M MERSHIMER                                 263 POWERS AVE                                                                                 GIRARD           OH    44420‐2237
EVELYN M MURRAY                                    610 N HARRISON ST                                                                              ALEXANDRIA       IN    46001‐1408
EVELYN M NYKLEWICZ                                 3156 S 16TH STREET                                                                             MILWAUKEE        WI    53215‐4525
EVELYN M OCASIO                                    C/O E CABANAS                         23 E VALLEY STREAM BLVD                                  VALLEY STREAM    NY    11580‐5830
EVELYN M PEACOCK & ROY E PEACOCK TR UA 12/27/90    201 S ORR                                                                                      NORMAL           IL    61761‐3223
EVELYN M PEACOCK TRUST
EVELYN M PIGG                                      RT 4 BOX 133                                                                                   DECATUR          AL    35603‐9324
EVELYN M REED                                      25180 5TH ST APT 179                                                                           SAN BERNARDINO   CA    92410‐5162
EVELYN M RENO                                      15440 CHURCHILL                                                                                SOUTHGATE        MI    48195‐2632
EVELYN M RHODES                                    PO BOX 72                                                                                      NASHVILLE        MI    49073‐0072
EVELYN M RICHARDSON                                2852 S US 35                                                                                   LOGANSPORT       IN    46947‐8174
EVELYN M SABUCO                                    859 AZALEA ST                                                                                  HOUSTON          TX    77018‐4409
EVELYN M SCOTT                                     BOX 204                                                                                        NEY              OH    43549‐0204
EVELYN M SKOUDRIS                                  11559 SW 70TH CT                                                                               OCALA            FL    34476‐9481
EVELYN M THOMPSON                                  3255 56TH AVE S W                                                                              SEATTLE          WA    98116‐3101
EVELYN M VAN HOUTEN                                5070 HIGHPOINT DR                                                                              SWARTZ CREEK     MI    48473‐8966
EVELYN M WATSON TR UA 10/08/2007 EVELYN M          420 HARRISON CIRCLE                                                                            LOCUST GROVE     VA    22508
WATSON TRUST
EVELYN M WERBEACH                                  213 CUMINGS RD                                                                                 PAINESVILLE      OH    44077‐3712
EVELYN M WHITE                                     1157 BOWMAN RD                                                                                 BIRMINGHAM       AL    35235‐2506
EVELYN M WORTHINGTON                               17 PROSPECT AVE                                                                                CORFU            NY    14036‐9545
EVELYN M ZAJAC                                     10 DALE RD                                                                                     HOPEWELL JUNCT   NY    12533‐5826

EVELYN MAE FURTAW                                  PO BOX 1906                                                                                    FRIENDSWOOD      TX    77549‐1906
EVELYN MAE GRUEBNER & DOUGLAS E DIXON JT TEN       3110 WILBER AVE                                                                                FLUSHING         MI    48433‐2353

EVELYN MANDELLA                                    46 MAIDEN LANE                                                                                 JERICHO          NY    11753‐1721
EVELYN MARIE KOVL CUST KELLY LYNN KOVL UGMA MI     8083 WEST FARRAND RD                                                                           MONTROSE         MI    48457‐9725

EVELYN MARUNA                                      5548 CAROL JEAN BLVD                                                                           GARFIELD HTS     OH    44125‐4175
EVELYN MARY DILAY & DANIEL MICHAEL DILAY & DIANE   48127 LAFAYETTE DR                                                                             MACOMB           MI    48044‐5641
MARIE BLUHM JT TEN
EVELYN MATIAS                                      PO BOX 1568                                                                                    AGUADA           PR    00602‐1568
EVELYN MAWHORTER                                   18453 UNIVERSITY PARK DR                                                                       LIVONIA          MI    48152‐2629
EVELYN MAXINE HAGGERTY                             5448 E STANLEY RD                                                                              FLINT            MI    48506‐1107
EVELYN MAY ANTRUP                                  18175 HILDA DR                                                                                 FORT MYERS       FL    33967‐6141
EVELYN MC CARTHY & CLARICE POLLACK JT TEN          19 SOUTH BROADWAY                     APT 2D                                                   TARRYTOWN        NY    10591
EVELYN MC CLURE DUNAWAY                            15211 PARK ESTATES LN                                                                          HOUSTON          TX    77062‐3657
EVELYN MC FARLIN                                   6031 MARIETTA WAY                                                                              EAST LANSING     MI    48823‐9227
EVELYN MCFADDEN                                    1087 ST RT 133                                                                                 BETHEL           OH    45106‐8418
EVELYN MILLEGE                                     3035 S WASHINGTON AVE                                                                          SAGINAW          MI    48601‐4354
EVELYN MODZELEWSKI                                 20 CROWN ST                                                                                    NAUGATUCK        CT    06770‐2815
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EVELYN MODZELEWSKI CUST MARK MODZELEWSKI           20 CROWN ST                                                                                   NAUGATUCK        CT    06770‐2815
UGMA CT
EVELYN MUNZAK                                      1615 ROBENHOOD LANE                                                                           LA GRANGE PARK   IL    60526‐1112
EVELYN N BAXTER & GEORGE S BAXTER JT TEN           APT 301                              41 JONES HILL ROAD                                       WEST HAVEN       CT    06516‐7042
EVELYN N FORD                                      9438 ROSEBUD CIR                                                                              PORT CHARLOTTE   FL    33981‐3209
EVELYN N WALKER                                    109 TARBELL LANE                                                                              EDINBORO         PA    16412‐2259
EVELYN NETA FLOWERS                                2500 GOLDEN SHORE DRIVE                                                                       FENTON           MI    48430‐1052
EVELYN NEWTON CARTER                               2102 CRESTWOOD DR                                                                             OWENSBORO        KY    42301‐3412
EVELYN O'KEEFFE TR EVELYN O'KEEFFE LIVING TRUST UA 245 RIVER DR                                                                                  MORICHES         NY    11955‐1718
02/08/91
EVELYN OBAR                                        57 PRIMROSE LN                                                                                NORTH BABYLON    NY    11703‐3243
EVELYN OLIVER                                      417 NORTH RACE ST                                                                             GLASGOW          KY    42141‐2911
EVELYN OLIVER & ARNOLD OLIVER JT TEN               21805 WINCHESTER                                                                              SOUTHFIELD       MI    48076‐4829
EVELYN OVERBEY                                     6432 HIGHVIEW ST                                                                              SOUTH PARK       PA    15129‐9753
EVELYN P CHILDS TR EVELYN P CHILDS TRUST UA        5500 BROAD BRANCH ROAD N W                                                                    WASHINGTON       DC    20015‐1704
01/23/01
EVELYN P JOHNSON                                   7400 LINDEN RD                                                                                FENTON           MI    48430‐9375
EVELYN P LIVINGSTON CUST LEE ASHLEY LIVINGSTON     402 FLAMINGO WAY                                                                              SPARTANBURG      SC    29316‐5352
UGMA SC
EVELYN P MARZEC                                    8672 HIDDEN OAKS CIR                                                                          SALT LAKE CITY   UT    84121‐6127
EVELYN P NOWLAND                                   17 VALLEY CIRCLE                                                                              NEWARK           DE    19711‐6720
EVELYN P PASSO                                     15 DEER TRL                                                                                   PORTAGE          IN    46368‐8700
EVELYN P PAULSEN                                   69‐23 65TH DRIVE                                                                              MIDDLE VLG       NY    11379‐1707
EVELYN P RABEY                                     203 TAMASSEE DR                                                                               CLEMSON          SC    29631‐1842
EVELYN P SCHONBERG                                 5075 CROFTON AVE                                                                              SOLON            OH    44139‐1218
EVELYN P SERGENT                                   12125 BRIDGEPORT LANE                                                                         CINCINATTI       OH    45240‐1211
EVELYN P SMITH                                     1278 GRIFFEN ST SW                                                                            NEWTON FALLS     OH    44444‐9539
EVELYN P STELTER                                   1000 W CANTERBURY CT                                                                          OAK CREEK        WI    53154‐5560
EVELYN P SWEENEY                                   1502 WICKLOW DR                                                                               PALM HARBOR      FL    34684‐2432
EVELYN P TAYLOR                                    PO BOX 8396                                                                                   KENTWOOD         MI    49518
EVELYN P VICE                                      1017 PINETREE COURT                  OSHAWA ONTARIO ON                      L1K 1P4 CANADA
EVELYN PAZIK & CYNTHIA KROLL JT TEN                26418 ANN ARBOR TRAIL                                                                         DEARBORN HEIGHTS MI    48127‐1179

EVELYN PEPE & LORELEI PEPE & JOHN PEPE JT TEN      14927 SW 90TH TER                                                                             MIAMI            FL    33196‐1463
EVELYN PETRICK                                     144 CRARY AVE APT 1                                                                           BINGHAMTON       NY    13905‐3831
EVELYN PRITCHETT EWING                             2203 MC CULLOUGH                                                                              AUSTIN           TX    78703‐1718
EVELYN PUI KEE LAM TR UA 05/17/91 THE EVELYN PUI   1433 APONA STREET                                                                             HONOLULU         HI    96819‐1614
KEE LAM TRUST
EVELYN R ANDERSON                                  9170 W HIGHLAND PARK AVE             APT 428                                                  FRANKLIN         WI    53132‐8004
EVELYN R BEALS TR EVELYN R BEALS TR UA 6/24/80     2173 S CENTER RD APT 118                                                                      BURTON           MI    48519‐1153

EVELYN R BOONBER                                 315 S SHORESIDE DR                                                                              GRAND RAPIDS     MI    49548‐7007
EVELYN R CHITWOOD                                5216 BUCKNER DR                                                                                 HUBER HEIGHTS    OH    45424‐6133
EVELYN R CONNELL                                 1006 DOCKWAY DR                                                                                 HURON            OH    44839‐1930
EVELYN R CZERNIAK                                5917 W BENALEX                                                                                  TOLEDO           OH    43612‐4411
EVELYN R DETZEL                                  9835 RIDGLEY                                                                                    ST LOUIS         MO    63123‐6239
EVELYN R GROSS                                   7618 LABYRINTH RD                                                                               BALTIMORE        MD    21208‐4426
EVELYN R HELLER                                  APT 30                                 107 SULLIVAN ST                                          NEW YORK         NY    10012‐3612
EVELYN R HESSLER                                 554 W BLUFF DR                                                                                  BLUFF POINT      NY    14478‐9748
EVELYN R HURD TR EVELYN R HURD TRUST UA 12/14/01 30744 GLADYS                                                                                    WESTLAN          MI    48185‐1789

EVELYN R KOERITZ                                   342 IROQUOIS RD                                                                               HILLSIDE         IL    60162‐1628
EVELYN R LESLIE                                    2905 CLUBHOUSE DR                                                                             PLANT CITY       FL    33567‐7273
EVELYN R LITKOWSKI                                 5944 MACKINAW RD                                                                              SAGINAW          MI    48604‐9765
EVELYN R MARTUCCI & FRANK MARTUCCI JT TEN          1216 WEST 69TH TERR                                                                           KANSAS CITY      MO    64113‐2055
EVELYN R MCPARLAND                                 649 PURDY ST                                                                                  BIRMINGHAM       MI    48009‐1738
EVELYN R MICHEL                                    6506 BRILLIANT WAY                                                                            DAYTON           OH    45459‐1919
EVELYN R MILLER                                    760 W DRAYTON                                                                                 FERNDALE         MI    48220‐2733
EVELYN R ROSA                                      885 N EASTON RD                      APT 4A7                                                  GLENSIDE         PA    19038‐5213
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EVELYN R SIMMONS                                 921 AFTON RD                                                                                 SAN MARINO      CA    91108‐2417
EVELYN R TERRY                                   9240 PIEDMONT ST                                                                             DETROIT         MI    48228‐1727
EVELYN RATAJCZAK & GERALD R RATAJCZAK JT TEN     1801 33RD ST                                                                                 BAY CITY        MI    48708‐8145

EVELYN RATTERREE LIFE TENANT U‐W JOHN RATTERREE 3050 M MITCHELL DR NW TARA 33                                                                 ATLANTA         GA    30327

EVELYN REBECCA CHERRY                           2844 BRIDGESTONE CIR                                                                          KOKOMO          IN    46902‐7008
EVELYN REED                                     13563 ARLINGTON                                                                               DETROIT         MI    48212‐2121
EVELYN REPP                                     6436 SOLANDRA DR S                                                                            JACKSONVILLE    FL    32210
EVELYN REYNOLDS                                 5572 BETTY LN                                                                                 MILFORD         OH    45150‐2862
EVELYN RONDINA                                  7192 LANCREST TERR                   PO BOX 265           LANTZVILLE BC     V0R 2H0 CANADA
EVELYN ROSE DATZ                                1077 DAY RD                                                                                   VASSAR          MI    48768‐1154
EVELYN ROSNER                                   4912 55TH PL                                                                                  HYATTSVILLE     MD    20781‐2603
EVELYN RUSH                                     65 ELM ST                                                                                     COLONIA         NJ    07067‐4035
EVELYN S ANGST                                  7444 OLD TIMBER TRL                                                                           NEW LOTHROP     MI    48460
EVELYN S COOK                                   82 GENUNG RD                                                                                  ITHACA          NY    14850‐9602
EVELYN S DOW                                    999 BRICKELL BAY DR APT 208                                                                   MIAMI           FL    33131‐2912
EVELYN S EVANS                                  2400 N BRAESWOOD BLVD 116                                                                     HOUSTON         TX    77030‐4345
EVELYN S HANDCOX                                #201                                 1404 OAK ROCK DR                                         LAS VEGAS       NV    89128‐8090
EVELYN S HENDRIX                                1721 E HENRY ST                                                                               SAVANNAH        GA    31404‐2314
EVELYN S KREAFLE                                13806 NORTHCREST RD                                                                           HAGERSTOWN      MD    21742
EVELYN S LANEY                                  1369 E LINDO AVE                     APT 13                                                   CHICO           CA    95926‐7390
EVELYN S MATIX                                  3314 BELMONT ROAD                                                                             LOUISVILLE      KY    40218‐1217
EVELYN S NEEDLE CUST LYNN NEEDLE UGMA SC        9914 WOODFORD RD                                                                              POTOMAC         MD    20854‐5035
EVELYN S NEEDLE CUST PEGGY MARIE NEEDLE UGMA SC 29 EAST BATTERY                                                                               CHARLESTON      SC    29401‐2739

EVELYN S REIBEL                                 7212 HORROCKS ST                                                                              PHILADELPHIA    PA    19149‐1219
EVELYN S SMITH                                  5116 MINERS CREEK WAY                                                                         LITHONIA        GA    30038‐3822
EVELYN S TREVINO                                6248 ROWLEY                                                                                   WATERFORD       MI    48329‐3041
EVELYN S VECSERNYES                             2800 BLANCHE                                                                                  MELVINDALE      MI    48122‐1802
EVELYN S WORLEY                                 46 APPLEBY ROAD                                                                               NEW CASTLE      DE    19720‐3748
EVELYN SARJEANT                                 43 SCHOOL HOUSE RD                   APT 151                                                  WEYMOUTH        MA    02188‐4159
EVELYN SARNOFF & DIANE GUSACK JT TEN            97‐37 63RD RD                        APT 1D                                                   REGO PARK       NY    11374
EVELYN SCERRI & MIRIAM JOHNSON JT TEN           7700 DONNA ST                                                                                 WESTLAND        MI    48105‐2497
EVELYN SMERDON                                  5226 PARKWAY DRIVE                                                                            BAY CITY        MI    48706‐3347
EVELYN SMIEJA                                   BOX 206                                                                                       INDEPENDENCE    WI    54747‐0206
EVELYN SMITH                                    257 JEFFERSON AVE                    APT 1                                                    BROOKLYN        NY    11216‐1713
EVELYN SNOWDON                                  RR 5 BOX 436                                                                                  DALLAS          PA    18612‐9113
EVELYN STAR & BRIAN PRUSHIK JT TEN              187 SOMERSET DR                                                                               MASSAPEQUA      NY    11758‐3758
EVELYN STEPHENS                                 26445 SOMERSET                                                                                INKSTER         MI    48141‐1376
EVELYN STUVEN LLOYD                             3006 GREY CLIFF WAY                                                                           MILFORD         PA    18337‐9493
EVELYN SUNDAY                                   30135 ROSEMOND CT                                                                             FRANKLIN        MI    48025‐1424
EVELYN SWAN & PHILIP G SWAN JT TEN              8148 CANTALOUPE AVE                                                                           PANORAMA CITY   CA    91402‐5411
EVELYN T BEAN                                   BOX 81                                                                                        BRYANT POND     ME    04219‐0081
EVELYN T CARROLL                                1018 GEORGE WARREN DRIVE                                                                      RUFFIN          SC    29475‐5089
EVELYN T DAMICO                                 1701 BALTIMORE PIKE                                                                           AVONDALE        PA    19311‐9793
EVELYN T GOODRICH TR EVELYN T GOODRICH TRUST UA 1838 ZOLA GLEN                                                                                ESCONDIDO       CA    92026‐3336
10/16/89
EVELYN T GUYTON                                 1990 DAVIS RD                                                                                 TERRY           MS    39170‐8757
EVELYN T NESSRALLA & JO‐ANN NESSRALLA JT TEN    220 BRAEMOOR ROAD                                                                             BROCKTON        MA    02301
EVELYN T OLSON                                  PO BOX 1328                                                                                   HARRISON        TN    37341‐1328
EVELYN T PARKER                                 713 VALLEY VIEW DR                                                                            ARLINGTON       TX    76010‐2826
EVELYN TEAMKIN TR EVELYN TEAMKIN REVOCABLE      524 OLEANDER DRIVE                                                                            HALLANDALE      FL    33009‐6530
LIVING TRUST UA 12/12/94
EVELYN THOMAS                                   4300 TILLIE DR                                                                                FLINT           MI    48504‐1032
EVELYN TRAMMELL                                 4817 INGRAM AV                                                                                COLUMBUS        GA    31904‐5940
EVELYN TRICE                                    4686 RIDGEMOOR DR                                                                             BELDEN          MS    38826‐9574
EVELYN TYNES                                    1036 NASHVILLE AVE                                                                            NEW ORLEANS     LA    70115‐4324
EVELYN V BOYER & JOSEPH R BOYER JT TEN          1198 WILLOW BEND DR                                                                           MEDINA          OH    44256‐4128
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EVELYN V LOWE                                     43154 COUNTY RD 19                                                                                      COSHOCTON       OH    43812‐9605
EVELYN V MADDOX                                   27 LEE DRIVE                                                                                            WILMINGTON      DE    19808‐4973
EVELYN V MOTE                                     1009 S COOPER                                                                                           KOKOMO          IN    46902‐1836
EVELYN V RUSSO & HELEN V RUSSO JT TEN             7008 DOREEN ST                                                                                          TAMPA           FL    33617‐8437
EVELYN V WATKINS TR UA 04/28/94 EVELYN V WATKINS 212 MABLE CT                                                                                             MASON           MI    48854‐9202
TRUST
EVELYN VESELY TR UA 12/12/08 EVELYN VESELY LIVING 3434 S HIGHLAND AVE                                                                                     BERWYN          IL    60402
TRUST
EVELYN W BEDWELL                                  7271 E SALT CREEK DR                                                                                    BLOOMINGTON     IN    47401‐9733
EVELYN W BURKS                                    6305 FRANKLIN DESERT                                                                                    EL PASO         TX    79912
EVELYN W GIBSON                                   1744 W MAIN ST                                                                                          WAYNESBORO      VA    22980‐2338
EVELYN W HOGAN & DAN HOGAN ARNOLD TR UW           7312 SALE BLVD                                                                                          PANAMA CITY     FL    32409‐1348
EDGAR P HOGAN II
EVELYN W KANE                                     647 HENSHAW RD                                                                                          BUNKER HILL     WV    25413‐2426
EVELYN W STYLES                                   7116 FORT HUNT RD APT 114                                                                               ALEXANDRIA      VA    22307‐1961
EVELYN WANNAMAKER RICHARDS                        2 WAHRFSIDE ST APT 4F                                                                                   CHARLESTON      SC    29401‐1596
EVELYN WARD                                       1801 CHELAN                                                                                             FLINT           MI    48503‐4307
EVELYN WEAVER                                     420 CLIFTON DR NE                                                                                       WARREN          OH    44484‐1808
EVELYN WILLIAMS DECKER                            102 GORDON RD                                                                                           GLENSIDE        PA    19038‐8221
EVELYN WILLIFORD TOD ROBERT CLOMMONS SUBJECT 5648 UNDERWOOD                                                                                               DETROIT         MI    48204‐4809
TO STA TOD RULES
EVELYN WILSON                                     2276 CLAIRMOUNT ST                                                                                      DETROIT         MI    48206‐2019
EVELYN WOMACK & JAMES CURTIS WOMACK JR JT TEN 16821 ARDMORE                                                                                               DETROIT         MI    48235‐4054

EVELYN Y DAVIS                                     WATERGATE OFFICE BUILDING            SUITE 215            2600 VIRGINIA AVENUE N W                     WASHINGTON      DC    20037‐1905
EVELYN Y DAWAHARE                                  BOWLES ADDITION                      148 CHERRY LANE                                                   PIKEVILLE       KY    41501‐1410
EVELYN YELLIN & LAWRENCE YELLIN JT TEN             303 LAWNDALE AVE                                                                                       AURORA          IL    60506‐3132
EVELYN YOSAI                                       4105 INDINAPOLIS BLVD                                                                                  EAST CHICAGO    IN    46312‐2561
EVELYN ZALIS                                       1810 AVENUE N APT 4G                                                                                   BROOKLYN        NY    11230‐6161
EVELYN ZEBROWSKI                                   EVELYN ZEBROWSKI BRUMFIELD           95 MONARCH BAY       DANAPOINT                                    DANA POINT      CA    92629
EVELYNE BENTLEY & LINDA DIANE GEKELER JT TEN       2410 GALION RD                                                                                         NATIONAL CITY   MI    48748‐9534
EVELYNE E MILLER CUST ROBERT CHRISTOPHER MILLER    1712 WESTGATE PKWY                                                                                     GAUTIER         MS    39533
UTMA MS
EVELYNE G HOFFMAN                                  2330 MAPLE RD                        APT 252                                                           BUFFALO         NY    14221‐4058
EVELYNE M HODINA & ANTON I HODINA JT TEN           3619 S HARVEY AVE                                                                                      BERWYN          IL    60402‐3832
EVELYNN R MILLER                                   29 OLD ROCKINGHAM ROAD                                                                                 SALEM           NH    03079‐2117
EVELYNN Z TOTH                                     246 HIGHLAND DR                                                                                        WILLIAMSVILLE   NY    14221‐6855
EVELYNNE I LEE                                     700 13TH ST SW #4                                                                                      HUMBOLDT        IA    50548‐2451
EVEO LANDINI & MRS ELVIRA LANDINI JT TEN           1201 WILLIAMSPORT DR                 UNIT 2                                                            WESTMONT        IL    60559
EVERARD G RICHARDSON JR EX UW EVERARD G            28 MONUMENT HILL RD                                                                                    CHELMSFORD      MA    01824‐1014
RICHARDSON
EVERARD WEISBURD                                   120 ROSS AVE                                                                                           WEST MEMPHIS    AR    72301‐3040
EVERARDO D OLMOS                                   929 ALFRED PL                                                                                          MONTEBELLO      CA    90640‐2506
EVERARDO VELA JR                                   6521 MCGRAW                                                                                            DETROIT         MI    48210‐1614
EVERELL K BROWN                                    1303 S HANOVER ST                                                                                      HASTINGS        MI    49058‐2542
EVERETT A AUSTIN                                   800 UTOPIA PL                                                                                          DAYTON          OH    45431‐2730
EVERETT A BEAL JR                                  3208 LANHAM DRIVE                                                                                      ABINGDON        MD    21009‐3036
EVERETT A CLARK                                    213 DUNCASTER RD                                                                                       BLOOMFIELD      CT    06002‐1140
EVERETT A GODFREY & ALICE A GODFREY JT TEN         68 W GENESEE STREET                                                                                    CLYDE           NY    14433‐1145
EVERETT A KERR                                     RR2                                  PORT PERRY ON                                   L9L 1B3 CANADA
EVERETT A MARVIL                                   BOX 272 GOV AVE                                                                                        GREENWOOD       DE    19950‐0272
EVERETT A PIERSON                                  5627 LOIS ST                                                                                           PANAMA CITY     FL    32404‐6426
EVERETT A WEBB                                     690 HONEY HILL RD                                                                                      SEARCY          AR    72143‐9376
EVERETT ALAN AUXIER & MRS ALTA MAE AUXIER JT TEN   1412 WELLS                                                                                             CLINTON         OK    73601‐1738

EVERETT ALLEN TIMM                                 3107 CORAL LN SW                                                                                       CEDAR RAPIDS    IA    52404‐3844
EVERETT B DAVIS                                    278 CIRCLE DR                                                                                          BEAN STATION    TN    37708‐5210
EVERETT B GREENE                                   282 DORCHESTER                                                                                         CINTI           OH    45219‐3066
EVERETT B PITZER                                   4105 STONERIDGE LANE #211                                                                              DUBLIN          OH    43017‐2080
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EVERETT B ROBERTS JR                               605 MISSISSIPPI AVE                                                                           SIGNAL MOUNTAIN TN       37377‐2233

EVERETT B SHERRICK & PRISCILLA C SHERRICK JT TEN   7127 5TH AVE                                                                                  KENOSHA            WI    53143‐5514

EVERETT B SMITH                                    15 LOOKOUT ST                                                                                 SPRINGBORO         OH    45066‐1415
EVERETT B THOMPSON TR EVERETT B THOMPSON           741 SYCAMORE AVE                                                                              SAN BRUNO          CA    94066‐3319
REVOCABLE TRUST UA 05/06/98
EVERETT B YELTON III                               BOX 244                                                                                       LONDONDERRY        VT    05148‐0244
EVERETT BACK                                       1784 FLAT GAP RD                                                                              BONNYMAN           KY    41719‐9043
EVERETT BRANSON                                    45925 JUDD RD                                                                                 BELLEVILLE         MI    48111‐8913
EVERETT BROWN                                      11404 90TH AVE                                                                                MECOSTA            MI    49332‐9746
EVERETT C DEWOLFE                                  122 WAGON TRAIL RD                                                                            SAN ANTONIO        TX    78231‐1240
EVERETT C JENDREZAK                                1315 WALKER AVE NW APT 6110                                                                   GRAND RAPIDS       MI    49504‐7400
EVERETT C MARTIN                                   1174 DUNKIRK ST                                                                               MT MORRIS          MI    48458‐2570
EVERETT C MEHNER                                   2510 HORTON AVE                                                                               SAN DIEGO          CA    92101‐1350
EVERETT C RECKLEY                                  10559 MONETA ROAD                                                                             BEDFORD            VA    24523‐4449
EVERETT C ROWE                                     1715 HICKS DR                                                                                 GODFREY            IL    62035‐1524
EVERETT COLE                                       7061 JERRY DRIVE                                                                              WEST CHESTER       OH    45069‐4035
EVERETT D CALLOWAY                                 10321 ROAD 456                                                                                PHILADELPHIA       MS    39350‐7063
EVERETT D CALLOWAY & EVELYN R CALLOWAY JT TEN      10321 ROAD 456                                                                                PHILADELPHIA       MS    39350‐7063

EVERETT D GUTZMAN                                  2231 N CLAREMONT DR                                                                           JANESVILLE         WI    53545‐0500
EVERETT D LAWSON                                   12221 VINCE DR                                                                                DOYLESTOWN         OH    44230‐9764
EVERETT D MOSELEY                                  4988 VIMVILLE CAUSEYVILLE RD                                                                  MEREDIAN           MS    39301‐8491
EVERETT D YODER                                    15021 BERLIN STATION RD                                                                       BERLIN CENTER      OH    44401
EVERETT DANIEL BALL                                2019 TAMARACK RD                                                                              ANDERSON           IN    46011‐2715
EVERETT DUNN & BETTY C DUNN JT TEN                 BOX 340                                                                                       MONTREAT           NC    28757‐0340
EVERETT E CHAPMAN                                  352 LINEBROOK RD                                                                              IPSWICH            MA    01938‐1056
EVERETT E CHRISTOPHER JR                           475 HEBERTON AVENUE                                                                           STATEN ISLAND      NY    10302‐2125
EVERETT E DEHART & MARIA T SEMCHUK JT TEN          31 DUBLIN ST                                                                                  OSWEGO             NY    13126‐1932
EVERETT E EMERICK                                  6293 PRINCES CT                                                                               FLUSHING           MI    48433
EVERETT E JORDAN                                   9730 MENDOZA RD                                                                               RANDALLS TOWN      MD    21133‐2531
EVERETT E KAELBER                                  20 BRINSMADE LANE                                                                             SHERMAN            CT    06784
EVERETT E LUCAS                                    32 NORTH JERSEY STREET                                                                        DAYTON             OH    45403‐1302
EVERETT E MATHESON                                 4437 RUTGERS AVE                                                                              WEST VALLEY CITY   UT    84120‐6019
EVERETT E MORRISS                                  910 MCCAMPBELL WAY                                                                            KODAK              TN    37764‐1693
EVERETT E NUNN                                     10496 CO RD 607                                                                               DEXTER             MO    63841‐8111
EVERETT E PASS                                     110 FORRESTER                                                                                 SWANTON            OH    43558‐1420
EVERETT E SCHROEDER                                1322 FOREST AVE                                                                               BELOIT             WI    53511‐5926
EVERETT E TORRENCE JR                              19401 OAK PARK CT                                                                             BATON ROUGE        LA    70809‐6760
EVERETT EDWARD DU BRAY III                         6318 NORTH ST                                                                                 JACKSONVILLE       FL    32219‐2537
EVERETT ELMER RANDALL                              938 STOCKER ST                                                                                FLINT              MI    48503‐3060
EVERETT F DONELL                                   1174 ST RT 125                                                                                HAMMERSVILLE       OH    45130‐9524
EVERETT F JACOBUS JR                               PO BOX 99                                                                                     DAVIDSON           NC    28036‐0099
EVERETT F LAWSON JR                                9013 PATTON CT                                                                                SPRING HILL        FL    34606‐2262
EVERETT F MALONE                                   30824 LA MIRANDA UNIT 125                                                                     RCHO STA MARG      CA    92688‐5811
EVERETT F WYMAN & BRYAN RILEY & PEGGY RILEY &      652 BUENA VISTA                                                                               MT MORRIS          MI    48458‐1910
DOUGLAS WYMAN JT TEN
EVERETT FOSTER RICHEY                              PO BOX 2231                                                                                   LEBANON            OR    97355‐0947
EVERETT G BETTS                                    8361 FALCONVIEW PKWY                                                                          FREELAND           MI    48623
EVERETT G CORNETT                                  6385 30TH AVE                                                                                 REMUS              MI    49340‐9710
EVERETT G STINSON                                  4418 WEST 143 ST                                                                              CLEVELAND          OH    44135‐2004
EVERETT H HOLLE                                    4557 DOLLY RIDGE ROAD                                                                         BIRMINGHAM         AL    35243‐2203
EVERETT H VANNOY & ANNA L VANNOY JT TEN            2336 BLOCKTON RD                                                                              ROCHESTER HILLS    MI    48306‐3900
EVERETT H WALKER                                   90 FORK BRIDGE RD                                                                             PITTSGROVE         NJ    08318‐4523
EVERETT HOEFLE                                     1101 SO ELLSWORTH RD #261                                                                     MESA               AZ    85208‐2927
EVERETT I DOHRMAN                                  406 N MAIN ST                                                                                 WEST MILTON        OH    45383‐1904
EVERETT J BREWER                                   RR 4 BOX 371                                                                                  PERRYVILLE         MO    63775‐9423
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EVERETT J CORDREY TR UA 06/30/89 EVERETT J        321 HERMOSA ST                                                                               SOUTH PASADENA      CA    91030‐1650
CORDREY
EVERETT J GIVENS                                  8909 ST ANDREWS PL                                                                           LOS ANGELES         CA    90047‐3547
EVERETT J JOHNSON                                 15664 US HWY 278W                                                                            CULLMAN             AL    35057‐6112
EVERETT JAMES CHANDLER                            34 WINTER ST                                                                                 NEWBURYPORT         MA    01950‐2427
EVERETT JARNAGIN JR                               2431 SPECK AVE COURT                                                                         INDEPENDENCE        MO    64057‐2419
EVERETT JENKINS                                   702 MARSHALL AVE                                                                             SANDUSKY            OH    44871
EVERETT L BALL & GLORIA F BALL JT TEN             5487 RUDY DR                                                                                 SAN JOSE            CA    95124‐6329
EVERETT L BARNETT & PAMELA K BELK JT TEN          2505 SOUTH GRAND AVENUE                                                                      SEDALIA             MO    65301‐8027
EVERETT L CLINE                                   301 WEST CENTER ST                                                                           FARMERSVILLE        OH    45325‐1011
EVERETT L COATE                                   6895 N ST RT 48                                                                              COVINGTON           OH    45318‐9604
EVERETT L CONLEY                                  12534 S NEW GARDEN ROAD                                                                      EXCELSIOR SPRINGS   MO    64024‐6250

EVERETT L HALE                                    12051 N 300 EAST                                                                             ALEXANDRIA          IN    46001
EVERETT L HOCKETT                                 816 S PARK DR                                                                                RAYMORE             MO    64083‐8409
EVERETT L JACKSON                                 2343 DASHWOOD AVE                                                                            OAKLAND             CA    94605‐2726
EVERETT L JORDAN & CONNIE M JORDAN JT TEN         4401 TURQUOISE ST                                                                            ST LOUIS            MO    63123‐6611
EVERETT L KING & CATHY K KING JT TEN              1707 PALMER DR                                                                               LARAMIE             WY    82070
EVERETT L LINK & SHERYL S LINK JT TEN             4019 W EL CAMINO DR                                                                          PHOENIX             AZ    85051‐4627
EVERETT L MIHLFELD                                467 S FARM RD #89                                                                            SPRINGFIELD         MO    65802‐8717
EVERETT L MINTO                                   4631 WEBB RD                                                                                 YOUNGSTOWN          OH    44515‐1218
EVERETT L OWENS                                   3540 S FOLTZ                                                                                 INDIANAPOLIS        IN    46221‐2400
EVERETT L PAULSEN                                 123 METHODIST ROAD RD#1                                                                      WESTBROOK           ME    04092‐3204
EVERETT L RATHSMAN JR                             452 N GLADSTONE AVE                                                                          COLUMBUS            IN    47201‐6533
EVERETT L ROBERTS                                 PO BOX 203                                                                                   FORT COVINGTON      NY    12937‐0203
EVERETT L SIMMONS                                 6817 BOSTON STATE RD                                                                         HAMBURG             NY    14075‐6604
EVERETT L SMITH                                   600 MAIN ST                         APT 122                                                  ANDERSON            IN    46016‐1534
EVERETT L STEWART & CONCETTINA A STEWART JT TEN   1461 E 3RD ST                                                                                MESA                AZ    85203‐8117

EVERETT L WASHINGTON                              3407 WILCOX                                                                                  BELLWOOD            IL    60104‐2172
EVERETT LEE WARD                                  1523 DELAWARE                                                                                LEAVENWORTH         KS    66048‐2241
EVERETT LEHMAN                                    7291 PELLINORE DR                                                                            PFAFFTOWN           NC    27040‐9212
EVERETT LEMASTER                                  13203 LAKE SHORE DR                                                                          FENTON              MI    48430‐1019
EVERETT LEROY CRANDALL                            C/O MARY L CRANDALL                 240 C OAK ST                                             MONTROSE            MI    48457‐9101
EVERETT LLOYD SELBY                               4543 MC INTOSH LANE                                                                          SARASOTA            FL    34232‐5309
EVERETT M BROWN                                   4216 S COUNTY RD 250 W                                                                       CLAYTON             IN    46118‐9040
EVERETT M WYANT                                   7257 N 1150 W                                                                                COLFAX              IN    46035‐9634
EVERETT MARCELL WEST                              PO BOX 407                          4460 FLAT SHOALS RD                                      UNION CITY          GA    30291‐1509
EVERETT MC ATEE                                   11211 SUMMERSET DR                                                                           ELYRIA              OH    44035‐7550
EVERETT MERRILL                                   569 MAMMOTH RD                                                                               LONDONDERRY         NH    03053‐2118
EVERETT MITCHELL                                  5558 N STATE ROAD 9                                                                          SHELBYVILLE         IN    46176‐9460
EVERETT N CAES                                    7500 GLENHURST DR                                                                            DAYTON              OH    45414‐2226
EVERETT N LOEB JR & NAOMI G LOEB JT TEN           5209 EASTBOURNE DR                                                                           INDIANAPOLIS        IN    46226‐1532
EVERETT N PACHECO TR EVERETT N PACHECO            483 BROOK ST                                                                                 DIGHTON             MA    02715‐1130
REVOCABLE TRUST UA 03/16/01
EVERETT P CUNNINGHAM                              37022 HIGHLANDS COURT                                                                        DADE CITY           FL    33523‐3279
EVERETT P ROSS                                    10045 NICARAGUA DR                                                                           MIAMI               FL    33189‐2336
EVERETT P TRITTSCHUH III                          5753 US ROUTE 40 E                                                                           LEWISBURG           OH    45338
EVERETT R ALBRIGHT                                9237 CR 35                                                                                   MILLERSBURG         OH    44654‐9637
EVERETT R EASTMAN                                 204 SLEEPY HOLLOW DR                                                                         LAKE JACKSON        TX    77566‐3122
EVERETT R FANNIN                                  213 IRONWOOD DR                                                                              DAYTON              OH    45449‐1542
EVERETT R HALL                                    55315 S THOMPSON LN                                                                          THREE RIVERS        MI    49093‐9000
EVERETT R LERWICK                                 40 PORTLAND PL                                                                               SAINT LOUIS         MO    63108‐1242
EVERETT R LUDIKER JR                              # 602                               G 5201 WOODHAVEN CT                                      FLINT               MI    48532
EVERETT RAY CUST WILLIAM J ANDERSON UTMA LA       597 MICHE RD                                                                                 ARNAUDVILLE         LA    70512‐6016

EVERETT RUSSELL                                   116 WEBRE DRIVE                                                                              THIBODAUX           LA    70301‐8047
EVERETT S ANDERSON & IRENE A ANDERSON JT TEN      3450 AMBERWAY CT                                                                             CINCINNATI          OH    45251‐3317
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EVERETT S GREEN                                  RR1 BOX 11775                                                                                   WINNSBORO         TX    75494‐9306
EVERETT S HICKAM                                 969 VALLEY VIEW DR                                                                              TRAVERSE CITY     MI    49684‐8744
EVERETT S HOPKINS                                10 PINE ST                                                                                      OAKFIELD          NY    14125
EVERETT SEAMAN JR                                7070 E CO R 1700 N                                                                              HUMBOLDT          IL    61931‐9618
EVERETT T HANCOCK                                101 BATISTE GARDEN CI                                                                           JONESBORO         GA    30236‐4962
EVERETT T STANGLAND                              288 TOWER RD                                                                                    UNION LAKE        MI    48386‐3065
EVERETT T TURVEY                                 PO BOX 9022                                                                                     WARREN            MI    48090
EVERETT T WOOTON                                 8399 E MAIN ST                                                                                  ALEXANDRIA        KY    41001‐1289
EVERETT T YARBROUGH                              101 BUSH HOLLOW LN                                                                              ELMWOOD           TN    38560‐4051
EVERETT U CROSBY                                 BOX 7212                                                                                        CHARLOTTESVILLE   VA    22906‐7212

EVERETT V NELSON                                 127 MUNSTER DR                                                                                  FAYETTEVILLE      OH    45118‐9414
EVERETT W ALLEN CUST DUANE W ALLEN UGMA NY                                                                                                       SCIPIO CENTER     NY    13147

EVERETT W BENNETT                                210 PARK ST                                                                                     EAST HAMPTON      MA    01027‐2108
EVERETT W BROWN                                  3097 S ELMS RD                                                                                  SWARTZ CREEK      MI    48473‐7926
EVERETT W KORTH                                  5736 EVARIT DR                                                                                  RACINE            WI    53406‐5238
EVERETT W MC MAHON                               7696 FARM ROAD #9‐SOUTH                                                                         WASCOM            TX    75692‐6422
EVERETT W PARROTT                                14341 S SHAFTSBURG RD                                                                           PERRY             MI    48872‐9128
EVERETT W RICHARDS                               BOX 387                                                                                         LUCASVILLE        OH    45648‐0387
EVERETT W SCARBOROUGH                            10141 ELLENDALE RD                                                                              EDGERTON          WI    53534‐9014
EVERETT W SHAVER                                 6010 FRY RD                                                                                     BROOKPARK         OH    44142‐2723
EVERETT W SHEPHERD                               2793 HUBBLE RD                                                                                  HASTINGS          MI    49058‐8606
EVERETT W STURDY                                 1961 UPLAND ST                                                                                  RANCHO PALOS      CA    90275‐1119
                                                                                                                                                 VERDE
EVERETT WARD PENTZ JR                            1819 IVY ROAD                                                                                   OCEANSIDE         CA    92054‐5642
EVERETT WILLIAM MILLER JR CUST JENNIFER LOUISE   6171 APPAMATOX LN                                                                               HOMOSASSA         FL    34448‐1643
MILLER UTMA FL
EVERETT WILLIAMS & OLLIE WILLIAMS JT TEN         60148 MIRIAM                                                                                    WASHINGTON        MI    48094‐2136
EVERETTE A HARVILLE                              268 HOCH ST                                                                                     DAYTON            OH    45410‐1516
EVERETTE A MC CLELLAND                           496 E GLASS                                                                                     ORTONVILLE        MI    48462‐8878
EVERETTE B HARMON JR                             1245 HALIBURTON AVE                                                                             LAWRENCEVILLE     GA    30045‐4331
EVERETTE E IRWIN                                 7504 BERKSHIRE BLVD                                                                             POWELL            TN    37849‐3727
EVERETTE E THARPE                                6755 COLLEEN DRIVE                                                                              YOUNGSTOWN        OH    44512‐3832
EVERETTE F SHAULIS                               4150 HALLOCK YOUNG ROAD                                                                         NEWTON FALLS      OH    44444‐9716
EVERETTE FIELDS                                  5680 HWY 931 S                                                                                  WHITEBURG         KY    41858‐8987
EVERETTE G PARKER SR                             17403 WOODINGHAM DR                                                                             DETROIT           MI    48221‐4505
EVERETTE HALL                                    BOX 62                                                                                          DOVER             MO    64022‐0062
EVERETTE HERRIN                                  HWY 28N BOX 21                         C/O IRMA HERRIN                                          ALMOND            NC    28702‐0021
EVERETTE J WEBER                                 103 N TERRACE ST                                                                                JANESVILLE        WI    53545‐3567
EVERETTE L COMMODORE                             180 WESTBOURNE CT                                                                               HAMILTON          OH    45011‐8063
EVERETTE L VARNEY                                1110 NATHANIEL CT                                                                               GEORGETOWN        KY    40324‐1069
EVERETTE MIDDLETON                               2324 SHARPSHIRE LANE                                                                            ARLINGTON         TX    76014‐3528
EVERETTE V WILLIAMS                              1914 CALVERT                                                                                    DETROIT           MI    48206‐1530
EVERGREEN CEMETERY ASSOCIATION OF MILBRIDGE      247 KANSAS RD                                                                                   MILBRIDGE         ME    04658‐3121
MAINE
EVERGREEN COMMUNITY PRESBYTERIAN CHURCH          C/O ALICE GARRETT                      3272 COOK UNDERWOOD RD                                   COOK              WA    98605‐9066
EVERITT L PIPKINS                                PO BOX 1002                                                                                     BLANCHARD         LA    71009‐1002
EVERLEE M DOUGHTON                               20034 WARD ST                                                                                   DETROIT           MI    48235‐1139
EVERLENA GIBBS                                   409 W PIERSON RD                                                                                FLINT             MI    48505‐3393
EVERLENA GOULD                                   160 WOODBURY ST                                                                                 ROCHESTER         NY    14605‐2252
EVERLENE T HALL                                  330 DUNBAR ST                                                                                   JACKSON           MS    39216‐3105
EVERLYN M STROTHER                               2702 LYNDHURST AVE                                                                              BALTIMORE         MD    21216‐1701
EVERSON HALL                                     901 ARMSTRONG LN                       APT 4                                                    E LIVERPOOL       OH    43920‐1200
EVERT C ESTEP                                    1905 43RD ST                                                                                    PARKERSBURG       WV    26104‐1235
EVERT E RUTHERFORD                               2312 N LOCKE                                                                                    KOKOMO            IN    46901‐1680
EVERT L BONDURANT                                HC31 BOX1326                                                                                    HAPPY JACK        AZ    86024
EVERT L KOTOWICZ                                 5552 CHATHAM LANE                                                                               GRAND BLANC       MI    48439‐9742
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EVERT L VANDERWAL & PATRICIA A VANDERWAL JT TEN 8543 ELKWOOD                                                                                          BYRON CENTER      MI    49315‐9723

EVERT VANDER WALL                                 8543 ELKWOOD                                                                                        BYRON CENTER      MI    49315‐9723
EVERT W CLARK                                     2387 MOFFETT RD                                                                                     LUCAS             OH    44843‐9774
EVERTON C HAWKINS JR                              8025 W RUSSELL RD                     APT 2081                                                      LAS VEGAS         NV    89113‐1578
EVERTON G BARKER JR                               4708 DOTY EAST RD                                                                                   SOUTHINGTON       OH    44470‐9706
EVERTON L CAAUWE                                  9030 SHANER AVE NE                                                                                  ROCKFORD          MI    49341‐8388
EVERTON SMITH                                     513 PINE ST                                                                                         MULLINS           SC    29574‐1913
EVESTER CARTER JR                                 13282 FOREST VIEW DR                                                                                SHELBY TOWNSHIP   MI    48315‐3505

EVETA KNIGHT                                       17365 GALLAGHER                                                                                    DETROIT           MI    48212‐1027
EVEY L SAYLOR                                      305 HERNDON AVE                                                                                    STANFORD          KY    40484
EVGENIOS MAROULITSAS                               442 VILLAGE DR                                                                                     TARPON SPGS       FL    34689‐2878
EVI AAVIK                                          222 ABBINGTON AVE                                                                                  BUFFALO           NY    14223‐1659
EVIE L LACY                                        3232 HORTON RD                                                                                     ALBERTVILLE       AL    35950‐0307
EVLYN D ESTACIO                                    13021 N 113TH AVE                    G                                                             YOUNGTOWN         AZ    85363
EVLYNE O SILSBY TR EVLYNE O SILSBY REVOCABLE TRUST 745 NORMAN                                                                                         WICHITA           KS    67212‐4459
UA 04/20/98
EVMORFIA TOURIKIS                                  APT 507                              16400 DIX                                                     SOUTHGATE         MI    48195
EVON HAYNES                                        2002 BALTIMORE RD                    ROOM 31                                                       DEFIANCE          OH    43512
EVONNE M DEVOLD TOD MONICA M DEVOLD SUBJECT 729 TROPICAL CIRCLE                                                                                       SARASOTA          FL    34242‐1438
TO STA TOD RULES
EVONNE PIGG                                        ATTN EVONNE LEWIS                    8521 MORGANTOWN RD                                            INDIANAPOLIS      IN    46217‐4412
EVORIA J HENSON                                    2400 SHADY WILLOW LN                 UNIT 15B                                                      BRENTWOOD         CA    94513‐3717
EVORN EDWARDS                                      12066 MONICA                                                                                       DETROIT           MI    48204‐1227
EVORN KENDRICH                                     25019 STONYCROFT                                                                                   SOUTHFIELD        MI    48034‐2717
EVRIDGE B CHAPMAN                                  31 HAMLIN ROAD                                                                                     BUFFALO           NY    14208‐1537
EVVA SCHUSTER                                      7600 33 MILE RD                                                                                    BRUCE             MI    48065‐3608
EWA J BOCHENEK                                     20 CHAMBORD CT                                                                                     TRENTON           NJ    08619‐4702
EWA PISKOR                                         2999 SPRING MEADOW CIR                                                                             YOUNGSTOWN        OH    44515‐4952
EWALD E BITTCHER & ERMELINDA BITTCHER JT TEN       1517 VICTORIA AVE                                                                                  ARNOLD            PA    15068‐4103

EWALD K BIEMANS                                   PO BOX 1299                           ARUBA                                  NETHERLANDS ANTILLES
EWELL R VIGDORTH                                  192 HILLCREST RD                                                                                    MANCHESTER        TN    37355‐5914
EWELL VERNARD BIRMINGHAM                          3191 PERRY COURT                                                                                    GRAND BLANC       MI    48439‐8151
EWELL W BURKE                                     3266 BECHTEL DRIVE                                                                                  FRANKLIN          OH    45005‐4882
EWHEN WERNER & HELENA WERNER JT TEN               429 LIVERMORE AVENUE                                                                                STATEN ISLAND     NY    10314‐2181
EWIN L TUCKER                                     PO BOX 341                                                                                          GERALDINE         AL    35974‐0341
EWING LEE HURDLE JR                               210 E POPLAR                                                                                        COLLIERVILLE      TN    38017‐2641
EWING O SHIELDS                                   2566 SOUTH RITTER                                                                                   INDIANAPOLIS      IN    46203‐5652
EWING RICE                                        2290 ALPINE RD                                                                                      OSCODA            MI    48750‐9287
EWING W HARRIS                                    28104 UNIVERSAL DRIVE                                                                               WARREN            MI    48092‐2430
EXCEL NEWTON                                      2165 LEMAY                                                                                          DETROIT           MI    48214‐3143
EXCELL THOMPSON & CLOTEE THOMPSON JT TEN          33 SOUTH MIDLAND                                                                                    PONTIAC           MI    48342‐2961
EXDINE R GREEN & HERBERT R GREEN JT TEN           1350 SEMINOLE DR                                                                                    HOLLAND           MI    49424‐2632
EXIE QUARLES                                      3732 MYRTLE AVE                                                                                     KANSAS CITY       MO    64128‐2747
EXIE R WANN                                       920 SOUTH SAINT AUGUSTINE                                                                           DALLAS            TX    75217‐9001
EXIE V JONES                                      7875 MELVILLE                                                                                       DETROIT           MI    48209‐2957
EYVONNE BRIGHT                                    1682 NORTH LOS ROBLES                                                                               PASADENA          CA    91104‐1047
EZEGUIEL VALLEJO                                  10514 SAN LUIS AVE                                                                                  SOUTH GATE        CA    90280‐6630
EZEKIEL HARRIS                                    1106 N LAFOUNTAIN                                                                                   KOKOMO            IN    46901‐2909
EZELL GALLMAN                                     191 ORLEANS ST APT A1                                                                               BUFFALO           NY    14215
EZELL JORDAN                                      PO BOX 361                                                                                          TAMMS             IL    62988‐0361
EZELL MORRIS                                      317 NW 84TH ST                                                                                      OKLAHOMA CITY     OK    73114‐3403
EZELLA SLOVER                                     6166 TURNER DR                                                                                      CLAYTON           IN    46118‐9332
EZELLE L CASTEEL                                  155 CHEROKEE CIR                                                                                    BUCHANAN          GA    30113‐5188
EZEQUIEL BERMUDEZ                                 15236 BLACK SHADOW                                                                                  MORENO VALLEY     CA    92551‐4041
EZEQUIEL F BARRERO EX EST JUDITH MCLEAN BARRERO   262A AGAWAM DRIVE                                                                                   STRATFORD         CT    06614
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EZIO ANTONELLI & YOLANDA ANTONELLI JT TEN       2202 ST JAMES DRIVE PENDREW                MANOR                                                    WILMINGTON        DE    19808‐5219
EZIO BONOMO                                     2085 RIVERBEND RD                                                                                   ALLENTOWN         PA    18103‐9621
EZIO H MAESTRANZI & MRS MARGARET L MAESTRANZI 10 SUMMER CT                                 PO BOX 951                                               SAUGUS            MA    01906‐0151
JT TEN
EZIO J ANTONELLI                                2202 ST JAMES DRIVE                                                                                 WILMINGTON        DE    19808‐5219
EZIO P BIANCO                                   3931 STRATHCONA DR                                                                                  HIGHLAND          MI    48031
EZION UNITED METHODIST CHURCH                   800 N WALNUT ST                                                                                     WILM              DE    19801‐3516
EZRA A BURNETT                                  2013 CENTRAL AVE                                                                                    ANDERSON          IN    46016‐4330
EZRA C CARVER                                   9707 ST RT 350                                                                                      CLARKSVILLE       OH    45113‐9445
EZRA D HODGE                                    ATTN ELMER BATTLES                         4086 E DODGE RD                                          CLIO              MI    48420‐9714
EZRA D MURRELL & SHIRLEY A WIMSATT JT TEN       5420 S 400 W                                                                                        MARION            IN    46953‐9313
EZRA E MCCLURE                                  5372 REGENCY DR                                                                                     PARMA             OH    44129‐5961
EZRA J FIELDS                                   3667 BREAKER                                                                                        WATERFORD         MI    48329‐2215
EZRA L STANLEY                                  882 CLEVELAND                                                                                       LINCOLN PARK      MI    48146‐2725
EZRA MURRELL JR                                 5420 S 400 W                                                                                        MARION            IN    46953‐9313
EZRA N BRAHAM TOD LOVENIA A BRAHAM              8412 NW 26 DRIVE                                                                                    POMPANO BEACH     FL    33065
EZRA R STEPHENS SR                              23000 HALL RD                                                                                       WOODHAVEN         MI    48183‐3206
EZRA S BROWN                                    3402 MALLERY ST                                                                                     FLINT             MI    48504‐2416
EZRA SUBERI                                     218 N OAKHURST DR                                                                                   BEVERLY HILLS     CA    90210‐4912
EZRA W GEDDES & CLEONE L GEDDES TR GEDDES TRUST 330 22ND ST                                                                                         SANTA MONICA      CA    90402‐2508
UA 01/27/93
EZRA YUSAF CUST MICHAEL AGUSTINE YUSAF UGMA MI 5275 COLONY DR N                                                                                     SAGINAW           MI    48603‐7157

EZRA YUSAF CUST TANIA EZRA YUSAF UGMA MI            5275 COLONY DR N                                                                                SAGINAW           MI    48603‐7157
EZRIA L BURT                                        3615 LOCHMOOR DRIVE                                                                             LANSING           MI    48911‐2610
EZZARD C BELL                                       2105 APPLE DR                                                                                   EUCLID            OH    44143‐1610
EZZARD C JOHNSON                                    20066 ARDMORE ST                                                                                DETROIT           MI    48235‐1505
EZZIE D MILLINER                                    369 DEEP CREEK CIR                                                                              NORTHFIELD        OH    44067‐5005
F A CAMACHO                                         2190 BOSTON RD APT 2H                                                                           BRONX             NY    10462‐1247
F A GOSSETT III & CATHY GOSSETT JT TEN              2602 N 159TH ST                                                                                 OMAHA             NE    68116‐2034
F A HATFIELD RONALD R HATFIELD & BRIAN K HATFIELD   8214 W ENGER LANE                                                                               RIVER GROVE       IL    60171‐1106
JT TEN
F A MARKOWSKY                                       ATTN MRS ANN MARKOWSKY                 27 RUES LANE                                             EAST BRUNSWIC     NJ    08816‐3840
F A STARNO                                          6809 WILLITS AVE                                                                                NEW PORT RICHEY   FL    34655‐3335

F A TAORMINA                                        1207 E WALNUT AVE                                                                               EL SEGUNDO        CA    90245‐2637
F ACERRA                                            76 SUNNY LN                                                                                     STORMVILLE        NY    12582‐5002
F ALEX KAUTZ                                        650 WOODLAND DR                                                                                 PADUCAH           KY    42001‐5338
F ALEXAI                                            615 MAPLE AVENUE                                                                                LINDEN            NJ    07036‐2737
F ALLEN GILL                                        4219 WILLINGHAM DR                                                                              COLUMBIA          SC    29206‐1444
F ALLEN MILLER                                      5000 W FRANKLIN ST                                                                              RICHMOND          VA    23226‐1509
F B REIMER                                          2723 COLBY AVE                                                                                  LOS ANGELES       CA    90064‐3815
F BALDASSARRE                                       405 VICTORY BOULEVARD                                                                           STATEN ISLAND     NY    10301‐3049
F BARRY MC WILLIAMS                                 72 LAMOREE ROAD                                                                                 EAST CHATHAM      NY    12060‐3703
F BARTON JACQUES                                    2454 SOUTH 61ST ST                                                                              WEST ALLIS        WI    53219‐2137
F BRUNO                                             29 HILLCREST AVE                                                                                CORTLANDT         NY    10567‐1147
                                                                                                                                                    MANOR
F C DEJOHN JR                                   9463 MAPLE AVE                                                                                      DAVISON           MI    48423‐8739
F C JESSA FU & C H JANET FU JT TEN              6580 MOUNTVIEW COURT                                                                                BRIGHTON          MI    48116‐9778
F CARTER CRAIN CUST JAMES DAWSON CRAIN U/THE    2811 SUN COVE LN                                                                                    PEARLAND          TX    77584‐2412
TEXASU‐G‐M‐A
F D ALESSANDRO                                  2 PAULIN PLACE                                                                                      MIDDLESEX         NJ    08846‐1631
F D DYE                                         4349 MARCOTT CIRCLE                                                                                 SARASOTA          FL    34253‐5035
F D HENNESSY JR & CHARLENE C HENNESSY JT TEN    55 N LANSDOWNE AVE APT 2S                                                                           LANSDOWNE         PA    19050‐2055
F DANIEL KIRSCH                                 6650 HEATHER DR                                                                                     LOCKPORT          NY    14094‐1112
F DANIEL LYONS JR CUST KATHLEEN M LYONS UGMA NC 12744 SPIRIT BOUND WAY                                                                              CHARLOTTE         NC    28273

F DANIEL TARDIFF                                    2970 E SCOTT RD                                                                                 EAST TAWAS        MI    48730‐9410
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F DAVID MURBACH & MARY ANN MURBACH JT TEN            44 GROSSE PINES DRIVE                                                                           ROCHESTER HILLS   MI    48309‐1826

F DAVID PERILLO                                      708 HIDDEN LAKE ROAD                                                                            NAPERVILLE        IL    60565‐2815
F DAVID PERILLO & PAMELA J PERILLO JT TEN            708 HIDDEN LAKE ROAD                                                                            NAPERVILLE        IL    60565‐2815
F DAVID RIEDEL CUST DAVID F RIEDEL UGMA NJ           1463 BOX 208 HYW 57                                                                             PORT MURRAY       NJ    07865‐0208
F DON FORESEE                                        930 E 14TH STREET                                                                               CUSHING           OK    74023‐5154
F DONALD LEIGH                                       3410 MERCER ST                                                                                  HOUSTON           TX    77027‐6508
F DOUGLAS NOVOTNY                                    27 MALLARDS LANDING S                                                                           WATERFORD         NY    12188‐1037
F E BURGENER                                         1151 ROAD 13 ROUTE 3                                                                            POWELL            WY    82435‐9312
F E FOLSOM                                           2710 N GIRASOL AVE                                                                              PALM SPRINGS      CA    92262‐1822
F EARL ROBERTSON & MRS MAUDE L ROBERTSON TEN         PO BOX 6118                                                                                     ALEXANDRIA        LA    71307‐6118
COM
F EDWARD HEAD                                        4009 S TROY AVE                                                                                 MARION            IN    46953‐9391
F ELIZABETH WRIGHT                                   21 TERRACE AVE                                                                                  ALBANY            NY    12203‐1916
F FERRELL                                            5108 LA MANCHA CT NC                                                                            ORLANDO           FL    32822‐2346
F G GERARD CUST DAVID R GERARD UGMA PA               4024 SANLEANDRO ST                                                                              OAKLAND           CA    94601‐4042
F G JACKSON                                          11106 S LOWE AVE                                                                                CHICAGO           IL    60628‐4008
F G WELCH                                            1413 ELIZABETH LANE                                                                             EAST POINT        GA    30344‐1726
F GERARD FITZPATRICK II & LINDA FITZPATRICK JT TEN   1061 SILVERHILL DR                                                                              LAFAYETTE         CA    94549‐1734

F GERARD FITZPATRICK JR                              1061 SILVERHILL DR                                                                              LAFAYETTE         CA    94549‐1734
F H ALEXANDER                                        208 WATSON STREET                                                                               ALBION            MI    49224‐1159
F H VASSARI                                          865 HURD AVENUE                                                                                 FINDLAY           OH    45840‐3019
F I ABUKHDEIR                                        1221 TIMBERLAND DRIVE                                                                           MARIETTA          GA    30067‐5122
F J BURR & BERNADEEN L BURR JT TEN                   PO BOX 5014                                                                                     CLEARWATER        FL    33758‐5014
F J CAPUZELLO                                        96 GRIMM HEIGHTS                                                                                STRUTHERS         OH    44471‐2133
F J FOX                                              11515 UNION                                                                                     MT MORRIS         MI    48458‐2214
F J GRISWOLD                                         D‐11                                   245 CHERRY AVE                                           WATERTOWN         CT    06795‐2841
F J JOZAPAITIS                                       32 RIDGEWOOD AVENUE                                                                             LAKE HIAWATHA     NJ    07034‐1015
F J PAPAYIK                                          2827 WILD VALLEY DRIVE                                                                          HIGH RIDGE        MO    63049‐1544
F J SCOTT                                            19243 RYAN                                                                                      DETROIT           MI    48234‐1968
F J SULLIVAN                                         1024 S INDIANA                                                                                  KOKOMO            IN    46902‐6222
F JACKSON                                            1000 LAFAYETTE SE                                                                               GRAND RAPIDS      MI    49507‐1107
F JACQUELINE PIJANOWSKI                              25725 SOUTH RIVER RD 2                                                                          MT CLEMENS        MI    48045‐5634
F JAMES SENSENBRENNER JR                             609 FORT WILLIAMS PKWY                                                                          ALEXANDRIA        VA    22304‐1813
F JAY HODGES                                         BOX 71571                                                                                       FAIRBANKS         AK    99707
F JEAN DECLERCK                                      5254 FRANKWILL                                                                                  CLARKSTON         MI    48346
F JOE LARCHER                                        9309 BENT TREE CIR                                                                              WICHITA           KS    67226‐1530
F JOSEPH BEOTSCH                                     1289 OXFORD RD                                                                                  BRIDGEWATER       NJ    08807‐1424
F JOSEPH DORAN & SHARON M DORAN JT TEN               828 LA CHULA RD                                                                                 PINECLIFFE        CO    80471‐9547
F JOSEPH FLECK CUST F ROBERT FLECK UGMA MI           3980 STRATHMORE BLVD                                                                            OAKLAND           MI    48363‐2826
F JOSEPH IDZIOREK & DOROTHY E IDZIOREK JT TEN        1016 EAST MOUNTAIN SAGE DR                                                                      PHOENIX           AZ    85048‐4403

F JOSEPH LFLECK CUST MICHAEL B FLECK UGMA MI         3685 EDINBOROUGH                                                                                ROCHESTER HLS     MI    48306‐3633

F JOSEPH STRUNK                                      6525 SHAW BAKER RD                                                                              WINCHESTER        OH    45697‐9540
F KEE ROBINSON                                       428 BROWN MOUNTAIN LOOP                                                                         KNOXVILLE         TN    37920‐6406
F L GAUTHIER                                         C/O JUAN R GONZALES                    #24 PO BOX 372       RIO GRANDE        PUERTO RICO
F L HARBAUGH & MARILYNN D HARBAUGH JT TEN            3314 OWEN CMN                                                                                   FREMONT           CA    94536‐6025
F L JOHNSON                                          8210 PEMBROKE                                                                                   DETROIT           MI    48221‐1160
F L WHITLOW                                          12322 SORRENTO BLVD                                                                             STERLING HTS      MI    48312‐1366
F LEE                                                139 SHORE BLVD                                                                                  KEANSBURG         NJ    07734‐1822
F LOUISE DAVID                                       400 W 119TH STREET APT 4 H                                                                      NEW YORK          NY    10027
F LOYAL GREER                                        1401 17TH ST N W #912                                                                           WASHINGTON        DC    20036‐6440
F LUCILLE TIPTON                                     1101 SETTLEMIRE RD                                                                              LEBANON           OH    45036‐8777
F M COURTER                                          5354 N VANATTA RD                                                                               OKEMOS            MI    48864‐1336
F M FIELDS                                           6393 CROSSBRIDGE RD                                                                             HOLLY             MI    48442‐9728
F M FLOYD                                            438 RIEDER LN                                                                                   DECHERD           TN    37324‐6019
F M GALLEGO                                          451 CELESTIAL DR                                                                                CLARKDALE         AZ    86324‐3362
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F M T C TR FREDA M ROBERTSON IRA UA 05/01/96       1349 FOXFIRE ST                                                                                 EAST LANSING       MI    48823
F MARCELLA KERBER                                  5000 PROVIDENCE DR                     APT 115                                                  SANDUSKY           OH    44870‐4576
F MARGARET WALKER                                  P OB OX 266                                                                                     BRUIN              PA    16022
F MARTIN STREB                                     11 ED CLARK RD                                                                                  HUBBARDSTON        MA    01452‐1130
F MICHAEL GERBER TOD JANE GERBER SUBJECT TO STA    PO BOX 1301                                                                                     LAURIE             MO    65038‐1301
TOD RULES
F MINSON SESSOMS & LUCILLE J SESSOMS JT TEN        581 CONCORD SCHOOL RD                                                                           CLINTON            NC    28328‐1162
F MOH ANWARI & LEONIE ANWARI TR UA ANWARI          16114 CHIPPEWA RD                                                                               APPLE VALLEY       CA    92307‐2443
FAMILY TRUST 11/08/90
F MURPHY NELSON                                    1419 RIDGEHAVEN                                                                                 AUSTIN             TX    78723‐2528
F N BONEY                                          525 BROOKWOOD DR                                                                                ATHENS             GA    30605‐3852
F P MOSLEY                                         917 GLEN EAGLE LANE                                                                             FORT WAYNE         IN    46845‐9501
F P ONEAL                                          5231 MAFFITT                                                                                    ST LOUIS           MO    63113‐1012
F P VON MEYER                                      3005 SHERWOOD DRIVE                                                                             LORAIN             OH    44053‐1445
F PATRICK DERAMO                                   2413 OLDE BRIDGE LN                                                                             LEXINGTON          KY    40513‐9740
F PROCTOR JONES                                    40 WHITTIER RD                                                                                  WELLESLEY          MA    02481‐5237
F R WILSON                                         2275 MARIPOSA DR                                                                                OXNARD             CA    93030‐1527
F RALPH RICH & MAXINE I RICH JT TEN                4111 TONI DR                                                                                    KOKOMO             IN    46902‐4452
F RAOUL MARTIN                                     PO BOX 16485                                                                                    SEATTLE            WA    98116‐0485
F RICHARD BROOKINS TOD LYNN B SEIDELMAN SUBJECT    42600 CHERRY HILL RD                   APT 316                                                  CANTON             MI    48187‐3788
TO STA TOD RULES
F ROBERT CARROLL                                   633 SCHOOL LINE DR                                                                              GULPH MILLS        PA    19406‐3508
F ROBERT DEFAZIO                                   PO BOX 4242                                                                                     TRENTON            NJ    08610‐0242
F ROGER TELLEFSEN                                  454 HICKORY LANE                                                                                BERWYN             PA    19312‐1433
F RUSSELL ABRAMS                                   8410 DIVOT WAY                                                                                  PORT RICHEY        FL    34668‐2756
F S SCHOTTERS                                      322 KAREN AVE                          UNIT 2807                                                LAS VEGAS          NV    89109‐0442
F SANDS WOODRUFF                                   PO BOX 66327                                                                                    HOUSTON            TX    77266‐6327
F STANLEY                                          142 GOULDING AVE                                                                                BUFFALO            NY    14208‐1606
F STANLEY WOJCIK & HARRIET R WOJCIK TR WOJCIK      4747 SWASHINGTON AVE                   UNIT 112                                                 TITUSVILLE         FL    32780
FAMILY TRUST UA 05/23/05
F STEPHEN MUSSELMAN                                112 ROBIN RD                                                                                    NEW HOLLAND        PA    17557‐9102
F STEVEN SCHOTTERS                                 322 KAREN AVE                          UNIT 2807                                                LAS VEGAS          NV    89109‐0442
F SUSANNE VAN MATER                                16 MUSSEY ST                           APT 107                                                  SOUTH PORTLAND     ME    04106‐2033

F T MONAHAN                                        561 GEORGE RD GLFD PARK                                                                         TOMS RIVER         NJ    08753‐6070
F T MORRIS                                         2160 KARIBROOK DR                                                                               MONROE             GA    30655‐5817
F THOMAS & R THOMAS TR UA 09/15/76 FILLMORE        1577 PEPPERMILL RD                                                                              LAPEER             MI    48446
THOMAS REV LIVING TRU
F THOMAS HOFF                                      270 PAWNEE COURT                                                                                GIRARD             OH    44420‐3656
F THOMAS WESTCOTT                                  95 MECHANIC ST                         APT 8                                                    ATTLEBORO          MA    02703‐2055
F TRAVIS HOPKINS III                               HICKORY RIDGE ROAD                                                                              BREWSTER           NY    10509
F TRAVISANO                                        15878 W SUMMERWALK DR                                                                           SURPRISE           AZ    85374‐6144
F VILLANUEVA                                       605 E 23RD ST #3                                                                                PATERSON           NJ    07514‐2514
F W BAUMGART                                       3125 LEITH ST                                                                                   FLINT              MI    48506‐3038
F W LAMPSON                                        4365 APPLE CROSS DR                                                                             INDINAPOLIS        IN    46254‐3629
F W MAYES                                          76 ALVIN SLOAN AVE                                                                              WASHINGTON         NJ    07882‐4175
F W OSTERMAYER JR                                  28 BERKSHIRE DRIVE                                                                              BERKELEY HEIGHTS   NJ    07922‐2605

F WALTER TURNER TR F WLTER TURNER REVOCABLE        N67 W30587 RED FOX RUN                                                                          HARTLAND           WI    53029‐9187
TRUST UA 12/14/04
F WALTER WESTRUP                                   3360 ARGONAUT AVE                                                                               ROCKLIN            CA    95677‐1827
F WANCEA                                           18‐B WAVECREST AVE                                                                              WINFIELD PARK      NJ    07036‐6616
F WARREN BREIG III CUST DUNCAN JENNINGS BREIG      850 R LILY LAKE ROAD                                                                            DALTON             PA    18414‐9601
UTMA PA
F WARREN BREIG III CUST REILLY THOMAS BREIG UTMA   850 R LILLY LAKE ROAD                                                                           DALTON             PA    18414‐9601
PA
F WILLIAM BAXANDALL                                1107 NORTH ELEVATION STREET                                                                     HANCOCK            MI    49930‐1151
F WILLIAM RATH & CORINNE A RATH JT TEN             13150 MADONNA LANE                                                                              FAIRFAX            VA    22033‐3706
F WILLIAM THEWALT                                  7046 IRIS COURT                                                                                 GRAND BLANC        MI    48439‐2316
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FABER R BREWER                                    PO BOX 231                                                                                   PIEDMONT        OK    73078‐0231
FABIAN G CORTEZ                                   18134 SACRAMENTO                                                                             HOMEWOOD        IL    60430‐1422
FABIAN J BADER                                    12340 SPENCER RD                                                                             SAGINAW         MI    48609‐9797
FABIAN PEREZ JR                                   PO BOX 56                                                                                    MEDORA          IN    47260‐0056
FABIO GARAYCOCHEA                                 PO BOX 13                                                                                    OMAHA           NE    68101‐0013
FABIO OCHOA & BEATRIZ OCHOA JT TEN                PO BOX 293                                                                                   CHAGRIN FALLS   OH    44022‐0293
FABIOLA LEVESQUE                                  5420 LARCHMONT CT                                                                            PINELLAS PARK   FL    33782
FABRETTO CHILDRENS FOUND INC                      C/O ALEX GARCIA                     4039 NORTH 17TH STREET                                   ARLINGTON       VA    22207
FABRICIO DIAZ                                     APT 323                             130 POST AVE                                             NEW YORK        NY    10034‐3420
FACUNDO CRUZ                                      1118 SE 5TH PL                                                                               CAPE CORAL      FL    33990‐2893
FADEL A BAKIR                                     1544 POWELLS TAVERN PL                                                                       HERNDON         VA    20170‐2833
FADY RECHDAN                                      44 SHERMAN PL ‐ 1ST FL                                                                       CLIFTON         NJ    07011
FAE R TAYLOR & CALVIN L TAYLOR JT TEN             4767 BLACKISTON CV                                                                           MEMPHIS         TN    38109‐6116
FAGELE HOLTZMAN                                   4625 BREWSTER DR                                                                             TARZANA         CA    91356‐4801
FAGG M SHAWVER                                    1142 VOLCO RD                                                                                EDGEWATER       FL    32141‐6907
FAHIMEH TAHVILDARI & MOHAMOND TAHVILDARI TEN      6736 PIKES LANE                                                                              BATON ROUGE     LA    70808‐4274
COM
FAHNESTOCK & CO INC CUST MARLENE C CORSAUT IRA    2018 CASS BLVD                                                                               BERKLEY         MI    48072‐1944

FAIRFAX CHRISTIAN CHURCH                          PO BOX 22391                                                                                 INDIANAPOLIS    IN    46222‐0391
FAIRLESS E PEPPERS & WANDA SUE PEPPERS JT TEN     201 OVERLOOK DR                                                                              OPELIKA         AL    36801‐2305

FAIRLEY H RHODEN TR FAIRLEY H RHODEN TRUST UA     PO BOX 81                                                                                    MACCLENNY       FL    32063‐0081
05/08/96
FAIRLEY R AUTRY                                   3153 MONTANA                                                                                 FLINT           MI    48506‐2539
FAIRVIEW CEMETERY ASSOCIATION                     405 DIAMOND ST                                                                               SLATINGTON      PA    18080‐1310
FAIRVIEW PRESBYTERIAN CHURCH                      PO BOX 1664                                                                                  FOUNTAIN INN    SC    29644‐1061
FAISAL A KASSEM                                   15355 PROSPECT ST                                                                            DEARBORN        MI    48126‐2955
FAITH A MILLER                                    730 MARY ANN PLACE                                                                           RIDGEWOOD       NJ    07450‐2807
FAITH A NIIARYEE                                  809 UTA BLVD                                                                                 ARLINGTON       TX    76013‐6933
FAITH ANN LEE                                     2181 BERT RD                                                                                 HARRISON        MI    48625
FAITH C ROBINSON                                  2 BALSAM DR                                                                                  TOPSHAM         ME    04086
FAITH CENTER CHURCH A CALIFORNIA NON PROFIT       ATTN GARY CRANE                     1615 GLENDALE AVENUE                                     GLENDALE        CA    91205‐3317
CHURCH CORPORATION
FAITH D LESAUVAGE                                 1 WILLOW DRIVE                                                                               PORT WASHINGTON NY    11050‐4110

FAITH DORSEY ADAMS                                C/O FAITH YOUNG                     1004 DIXON SPRINGS HWY                                   DIXON SPRINGS   TN    37057‐4031
FAITH E ST CLAIR                                  P O BOX 44218                                                                                RIO RANCHO      NM    87174
FAITH F PIRAINO                                   6554 SWARTZ RD                                                                               DANSVILLE       NY    14437‐9773
FAITH FARRELL                                     PO BOX 224                                                                                   BRISTOLVILLE    OH    44402‐0224
FAITH FLUGRAD & RUSSELL C FLUGRAD JT TEN          229 CANAL ST                                                                                 PLANTSVILLE     CT    06479‐1734
FAITH GILPIN                                      C/O FAITH GILPIN CAMP               626 N E NORTON AVE                                       BEND            OR    97701‐4327
FAITH H DEVLIN & JOSEPH J DEVLIN JT TEN           2415 N ATLANTIC BLVD                                                                         FT LAUDERDALE   FL    33305‐1909
FAITH L BISSELL                                   ATTN FAITH L NEDDERMEYER            PO BOX 6467                                              MARYVILLE       TN    37802‐6467
FAITH L TAIT & LENA TAIT JT TEN                   403 MISSION RD                                                                               SAULT SAINTE    MI    49783‐2517
                                                                                                                                               MARIE
FAITH M DEZERGA                                   14 WILLIS DR                                                                                 CLOSTER         NJ    07624‐1635
FAITH M HARDESTY                                  3660 BOULDER HWY                    TRLR 200                                                 LAS VEGAS       NV    89121‐1644
FAITH M SPENCER                                   BOX 4358                                                                                     TOPEKA          KS    66604‐0358
FAITH MANDEIK                                     924 GRAND                                                                                    OSHKOSH         WI    54901‐3873
FAITH N MATSUMURA CUST MARC K MATSUMURA           4139A HARDY STREET                                                                           LIHUE           HI    96766‐1357
UTMA HI
FAITH N MATSUMURA CUST SCOTT M MATSUMURA          4139A HARDY ST                                                                               LIHUE           HI    96766‐1357
UTMA HI
FAITH PRUCHNICKI                                  17640 FOXWOOD WAY                                                                            BOCA RATON      FL    33487‐2217
FAITH R GEIST & WILLIAM J GEIST JT TEN            122 DOWD ST                                                                                  NEWINGTON       CT    06111‐2609
FAITH S PIERCY                                    600 E 900 S                                                                                  FAIRMOUNT       IN    46928‐9384
FAITH SHEPTO SKI‐FORBUSH & DON FORBUSH JT TEN     PO BOX 74688                                                                                 ROMULUS         MI    48174‐0688
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FAITH T DEATON CUST ZACHARY REX DEATON UTMA AL 2743 RASCO RD E                                                                                    SOUTHAVEN         MS    38672‐6625

FAIZ E FAKHOURI                                   6555 OAKMAN                                                                                     DEARBORN          MI    48126‐1824
FAIZ K SADIQ                                      54 PLEASANT CT                                                                                  FOSTER CITY       CA    94404‐3965
FALLON T RITSEMA                                  2126 LINDEN AVE                                                                                 JANESVILLE        WI    53545‐2370
FAMAH M MITCHELL                                  467 ASHLEY DR                                                                                   GRAND BLANC       MI    48439‐1571
FAMOUS L WHITE                                    7800 E JEFFERSON AVE                   APT 309                                                  DETROIT           MI    48214‐3715
FAN JOE FLEISCHER                                 1604 S MAIN ST                                                                                  GREENVILLE        MS    38701‐7323
FANCES SCOTT                                      4184 W OUTER DR                                                                                 DETROIT           MI    48221
FANCHION F COWLES                                 4633 HANOVER AV                                                                                 PORTAGE           MI    49002‐2237
FANCHON A OLESON                                  10800 FOX HUNT LANE                                                                             POTOMAC           MD    20854‐1527
FANESTER J GREGORY                                4982 LAKELAND DR                                                                                MARIETTA          GA    30068‐4325
FANG YUH CHOU                                     400 E LEMON AVE                                                                                 ARCADIA           CA    91006
FANNIE B GIBSON                                   15 EL PASO BLVD LOW #46                                                                         MANITOU SPRINGS   CO    80829

FANNIE B IRICK                                    2700 NORTH WASHINGTON LOT‐135                                                                   KOKOMO            IN    46901‐7805
FANNIE B MANNING                                  606 COUNTRY RD                                                                                  SAXE              VA    23967‐5929
FANNIE B SPANGLER                                 377 WHITE ST PO BOX 108                                                                         BRANCH HILL       OH    45140‐8867
FANNIE B WILLIFORD                                1792 WILENE DR                                                                                  DAYTON            OH    45432
FANNIE BARON                                      144 BEACH 139TH ST                                                                              ROCKAWAY PARK     NY    11694‐1212
FANNIE C SCOTT                                    8075 DAVIS ST                                                                                   MASURY            OH    44438‐1110
FANNIE C WADE                                     2164 THORNBURY LN                                                                               AKRON             OH    44319‐5521
FANNIE D FREY                                     3157 SYCAMORE GROVE RD                                                                          CHAMBERSBURG      PA    17201‐7927
FANNIE D MAGGARD                                  210 GROVEVIEW AVE                                                                               DAYTON            OH    45415‐2305
FANNIE EDNA GRAHAM                                3526 DELPHOS AVE                                                                                DAYTON            OH    45417‐1644
FANNIE ELLIOTT QUICK CUST JOHN QUICK U/THE NEW    ATTN JOHN QUICK                        53 SMITH RD                                              MIDDLETOWN        NY    10941‐3010
YORK U‐G‐M‐A
FANNIE G MCAFEE                                   9800 LOCHFIELD DR                                                                               PIKE ROAD         AL    36064‐2280
FANNIE G VANCE                                    56 MURRAY HILL DR                                                                               DAYTON            OH    45403‐1727
FANNIE GIVOT                                      1101 36TH ST                                                                                    SIOUX CITY        IA    51104‐1939
FANNIE HARDY                                      C/O JAMES O IRONS                      117 W LAKESIDE DR                                        FLORENCE          AL    35630‐3238
FANNIE J BAILEY                                   3102 CASHWELL DRIVE                    UNIT 1                                                   GOLDSBORO         NC    27534‐4448
FANNIE JONES                                      623 MELBA LANE                                                                                  BAKERSFIELD       CA    93307‐1653
FANNIE L ALEXANDER                                916 SOUTH 20TH STREET                                                                           NEWARK            NJ    07108‐1126
FANNIE L HOLLOWAY                                 2685 BURNABY DRIVE                                                                              COLUMBUS          OH    43209‐3201
FANNIE L WILLIAMS                                 1311 FOREST RD                                                                                  EDEN              NC    27288‐5824
FANNIE LUCAS LIFE TENANT UNDER THE WILL OF ANNA   1403 SMILEY LANE                                                                                COLUMBIA          MO    65202
D FISH
FANNIE M BENNETT                                  1144 RIDGETOP DR                                                                                CHATTANOOGA       TN    37421‐4054
FANNIE M GODDARD                                  127 KARRH DR                                                                                    SWAINSBORO        GA    30401‐5526
FANNIE M GOSTON                                   566 HAGUE                                                                                       DETROIT           MI    48202‐2125
FANNIE M JOHNSON                                  6401 9TH STREET N W                                                                             WASHINGTON        DC    20012‐2603
FANNIE M MINOR                                    6718 COUNTY ROAD 15                                                                             FLORENCE          AL    35633‐5501
FANNIE M PEARSON                                  135 ELMFIELD DR                                                                                 JACKSON           TN    38305‐3519
FANNIE M STANLEY                                  3951 GULF SHORE BLVD N                 PH 1A                                                    NAPLES            FL    34103‐3639
FANNIE RINGER                                     701 TAPESTRY LN                                                                                 DAYTON            OH    45426‐3740
FANNIE S LATTANZIO                                627 BRINKER AVE                                                                                 LATROBE           PA    15650
FANNIE SHAW                                       6020 RIDGEACRES DR                     APT B                                                    CINCINNATI        OH    45237‐4719
FANNIE STEWART                                    419 LORENZ AVE                                                                                  DAYTON            OH    45417‐2339
FANNIE THOMAS POWELL                              1121 GLENELLE DR                                                                                DAYTON            OH    45408‐2434
FANNIE WILLIAMS                                   42 EAST BLVD SOUTH                                                                              PONTIAC           MI    48342‐2923
FANNY C PEPPARD                                   3367 BLOOMING GROVE RD                                                                          WOODLAWN          TN    37191‐9315
FANNY CRENSHAW KERSCHEN                           1818 BISCAYNE DR                                                                                LITTLE ROCK       AR    72227‐3950
FANNY FRANCES PING                                6217 CROXTEN DR                                                                                 DAYTON            OH    45424
FANNY KLIFOUNIS                                   144 YORKTOWN DR                                                                                 WEBSTER           NY    14580‐2234
FANNY S WARREN                                    895 JEFFERSON WAY                                                                               WEST CHESTER      PA    19380‐6910
FANNY WORKMAN                                     3120 SUGAR CAMP RD                                                                              COVINGTON         KY    41017
FARAGALLAH N TAHAN                                29376 DEQUINDRE #102                                                                            WARREN            MI    48092‐2144
FARAR MARTIN TRULY                                BOX 426                                                                                         FAYETTE           MS    39069‐0426
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FAREEDA SNOW CUST KYHA VALENTINE UGMA MA          62 FAIRLAWN AVE                                                                                      MATTAPAN        MA    02126‐1635

FARHAD GHANNADIAN                            3905 W SANTIAGO ST                                                                                        TAMPA           FL    33629‐7813
FARHAD PARHAM                                1011 MADISON ST                                                                                           BIRMINGHAM      MI    48009‐5750
FARHAT A HUSAIN & AFSAR A HUSAIN JT TEN      2020 COLTSNECK RD #11C                                                                                    RESTON          VA    20191‐2020
FARID A TOKH                                 208 HALBERTON DRIVE                                                                                       FRANKLIN        TN    37069‐4338
FARID ANABTAWI                               OPEL SOUTHEAST EUROPE                        117C SZABADSAG UT    BUDAORS            2040 HUNGARY (REP)
FARIS MESALAM & MRS NAHIA MESALAM JT TEN     12986 CHESNEY DR                                                                                          FISHERS         IN    46037‐7252
FARLEY G RAY                                 717 WEST BRICKLEY                                                                                         HAZEL PARK      MI    48030‐1039
FARM BUREAU FINANCIAL CUST FBO DANIEL NELSON 2128 KINGSWOOD DRIVE                                                                                      FLINT           MI    48507
IRA
FARMER HOSKINS JR                            2550 W LOWER SPRINGBORO RD                                                                                SPRINGBORO      OH    45066‐7701
FARMER MITCHELL                              5085 SIMON ROAD                                                                                           YOUNGSTOWN      OH    44512‐1741
FARMERS STATE BANK TR UA 10/28/92 LEWIS M    PO BOX 538                                                                                                PITTSFIELD      IL    62363‐0538
GRIGSBY SR
FARMERS WAREHOUSE AND OIL MILL INC           BOX 57                                                                                                    MOORESVILLE     NC    28115‐0057
FAROL L TEMKIN BRIFMAN                       10531 AMBERWOOD LANE                                                                                      NORTHRIDGE      CA    91326‐3941
FARON D MOUNCE CUST AMANDA K MOUNCE UTMA PQ 5479 FOREST DRIVE                                                                                          ORANGE PARK     FL    32065‐7232

FAROOQ H SIDDIQI & PHYLLIS B SIDDIQI JT TEN       107 RIVER RD                                                                                         BARBOURSVILLE   WV    25504‐1205
FAROUK H MANNI                                    7570 W STATE AVE                                                                                     GLENDALE        AZ    85303‐1903
FARR CO                                           C/O CAMFIL FARR INC                     2201 PARK PLACE                                              EL SEGUNDO      CA    90245‐4909
FARRAND VALDRY                                    20182 HANNA                                                                                          DETROIT         MI    48203‐1223
FARREL A PERSMAN & FARREL J VIKMAN JT TEN         3067 S GARFIELD ST                                                                                   DENVER          CO    80210‐6627
FARRELL B WEBSTER                                 2440 N STATE HIGHWAY 208                                                                             ROBERT LEE      TX    76945
FARRELL G KEESLING                                3505 WHITE RIVER COURT                                                                               ANDERSON        IN    46012‐4649
FARRELL J FULTZ                                   1445 NAGLEY ST                                                                                       SPRINGFIELD     OH    45505‐3937
FARRELL J PALAZZOLO & EILEEN M PALAZZOLO JT TEN   59297 MOUNTAIN ASH COURT                                                                             WASHINGTON      MI    48094

FARRELL KLEIST                                    C/O MENOMIN ENERGY                      2512 WILSON ST                                               MENOMIE         WI    54751‐1235
FARRELL L HEWGLEY                                 2001 MUCKLE BRANCH                                                                                   ETHRIDGE        TN    38456‐7012
FARRELL M CURTIS                                  2115 HENDON RD                                                                                       WOODSTOCK       GA    30188‐3050
FARRELL S STINSON                                 4200 N BALDWIN RD R#3                                                                                OWOSSO          MI    48867‐9420
FARRELL W MARTIN                                  912 NORTH EATON STREET                                                                               ALBION          MI    49224‐1215
FARRIS E CUMMINGS                                 2331 SANTA BARBARA                                                                                   FLINT           MI    48504‐2027
FARRIS J SPRINGFIELD                              RT #6                                   1027 BROWN RD                                                BOAZ            AL    35957‐4524
FARRIS L WEAVER                                   9105 LOCH LEA LANE                                                                                   LOUISVILLE      KY    40291‐1446
FARRIS MORRISON                                   9 ELLIS AVE                             BOX 39                                                       CHAUNCEY        OH    45719‐0039
FARROW J JACKSON                                  4517 CRANFILL                                                                                        DALLAS          TX    75216‐7312
FARSHID PARVIZI CUST KAYVON A PARVIZI UGMA MI     3387 S LINDEN RD                                                                                     FLINT           MI    48507‐3007

FARYN STARRS                                      C/O DOUGLAS HERBERT                     84 PARKWAY DR        ST CATHARINES ON   L2M 4J3 CANADA
FAT Y TOY                                         4151 MONROE                                                                                          DEARBORN HTS    MI    48125‐2516
FATE L NELSON                                     4168 MC4                                                                                             DODGERIDGE      AR    71834‐1532
FATECHAND A SHAH CUST KANAN SHAH UGMA NY          11732 ENGLISH MILL CT                                                                                OAKTON          VA    22124‐2253
FATHER THOMAS A RYAN & EDWARD M RYAN JT TEN       PO BOX 123                              527 NORTH 19TH ST                                            ORD             NE    68862‐1016

FATIMA FAKIR                                      PO BOX 27881                                                                                         DETROIT         MI    48227‐0881
FATIMA M ABOUCHABAB                               2413 MISSION BL                                                                                      WEST BLOOMFIELD MI    48324‐3310

FATIME MOHAMAD MAKKI                              7717 FREDA ST                                                                                        DEARBORN        MI    48126‐1288
FAUD KANDALAFT & KATHLEEN KANDALAFT JT TEN        16289 ST HWY AF                         TWIN OAKS FARM                                               DEXTER          MO    63841‐8572

FAUNA BULLOCK                                     6765 MANNING ROAD                                                                                    MIAMISBURG      OH    45342‐1623
FAUST F ROSSI                                     210 FOREST HOME DR                                                                                   ITHACA          NY    14850‐2708
FAUST F ROSSI & CHARLINE N ROSSI JT TEN           210 FOREST HOME DRIVE                                                                                ITHACA          NY    14850‐2708
FAUSTENIA MORROW                                  87 WELKER STREET APT 2                                                                               BUFFALO         NY    14208‐1734
FAUSTINA M KALNASI                                6720 BROADMOOR                                                                                       OVERLAND PARK   KS    66204‐1313
FAUSTINO D ALEXANDRE                              3 COLLINS DR                                                                                         HUDSON          MA    01749‐3108
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FAUSTINO H PINON                                   3751 HUBBARD ST                                                                                    LOS ANGELES      CA    90023‐1817
FAUSTO COLON JR                                    9360 CRAVEN RD APT 807                                                                             JACKSONVILLE     FL    32257‐8037
FAUSTO ESPINAL                                     4420 BROADWAY APT3H                                                                                NEW YORK         NY    10040‐2933
FAUSTO H DASILVA & MARIA R DASILVA JT TEN          91 WYNNFIELD DR                                                                                    PALM COAST       FL    32164‐4213
FAUSTO IULIANELLI                                  4534 TEAL COURT                                                                                    HIGHLAND         MI    48357‐2140
FAUSTO RAMIREZ                                     1580 EMERALD PINES DR                                                                              CANTON           MI    48188‐2231
FAWN R WILLIAMS CUST EBONY N WILLIAMS UTMA MI      18518 LINDSAY                                                                                      DETROIT          MI    48235‐3079

FAWZI FAWAZ                                        598 SOUTH 2ND STREET                  #2                                                           DEFUNIAK SPRINGS FL    32435‐2708

FAWZI M CHARARA                                    5110 HORGER                                                                                        DEARBORN         MI    48126‐3113
FAY A LEGAULT                                      66 HENEKER #1                         SHERBROOKE QC                              J1J 3G3 CANADA
FAY A SCHULTHEIS                                   7122 ABBEY LANE                                                                                    SWARTZ CREEK     MI    48473‐1567
FAY A SCHULTHEIS & EDGAR O SCHULTHEIS JT TEN       7122 ABBEY LANE                                                                                    SWARTZ CREEK     MI    48473‐1567
FAY ANNA FEDERICI                                  ATTN ELIZABETH MEYER                  2100 S SWOPE DR #D358                                        INDEPENDENCE     MO    64057‐2808
FAY ASSELSTINE‐BURKE CUST RYLEE M BURKE UTMA MI    13100 HYDE ROAD                                                                                    HARTLAND         MI    48353

FAY B KNICKERBOCKER                                6721 WINTERSET GARDENS ROAD                                                                        WINTER HAVEN     FL    33884‐3154
FAY BIEBER                                         271 QUAIL HOLLOW                                                                                   EAST AMHERST     NY    14051‐1633
FAY BOCK                                           PO BOX 153                                                                                         ALLEN            NE    68710‐0153
FAY BRADLEY                                        2800 TERRA VISTA # 102                                                                             INDEPENDENCE     KS    67301
FAY C KNAPP                                        1176 W FORK LAKE RD                                                                                HAMLIN           NY    14464‐9601
FAY E BAKER & FRANCIS P BAKER JR JT TEN            7429 VALERIE CT                                                                                    TERRE HAUTE      IN    47802‐9568
FAY E DAVIS                                        PO BOX 1342                                                                                        FLINT            MI    48501‐1342
FAY E GILBERT                                      9915 FULMER RD                                                                                     MILLINGTON       MI    48746‐9704
FAY E RUOFF                                        5741 RUTH DR                                                                                       FT MOHAVE        AZ    86426‐8828
FAY E WALKER                                       4815 CAT LAKE RD                                                                                   MAYVILLE         MI    48744‐9731
FAY F YEE & EDWARD GOW JT TEN                      311 E HACKBERRY DR                                                                                 ARLINGTON        IL    60004‐1514
                                                                                                                                                      HEIGHTS
FAY H VILLA                                       2951 ADMIRAL DR                                                                                     STOCKTON         CA    95209‐1610
FAY HILL                                          5454 ROUNDUP ST                                                                                     BOISE            ID    83709‐6460
FAY HUNLEY                                        2870 STANTON ROAD                                                                                   OXFORD           MI    48371‐5826
FAY J GROUT                                       PO BOX 812                                                                                          MENDON           MI    49072
FAY JOYCE LOWENTHAL                               13960 D NESTING WAY                                                                                 DEL RAY BEACH    FL    33484‐8725
FAY L ALKIRE                                      323 ETLER DR                                                                                        CRESTLINE        OH    44827‐1954
FAY L FINCHER                                     10068 N GENESEE RD                                                                                  MOUNT MORRIS     MI    48458
FAY L HYSINGER TOD JACQUELINE S DARR SUBJECT TO 5751 NEW MEADOW DR                                                                                    YPSILANTI        MI    48197‐8326
TOD STA RULES
FAY L ROBERTS                                     APT 4                                  BLDG 104                104 SUNSET COURT                     HAMBURG          NY    14075‐4248
FAY LEHRER                                        136‐48 72ND AVE                                                                                     FLUSHING         NY    11367‐2328
FAY LUCILE HYSINGER TOD JACQUELINE S DARR SUBJECT 5751 NEW MEADOW DR                                                                                  YPSILANTI        MI    48197‐8326
TO STA TOD RULES
FAY M LEMUEL                                      1102 OREGON ST                                                                                      THE DALLES       OR    97058‐3134
FAY M MICKEWICH                                   APT 1B                                 219 SCHRADE ROAD                                             BRIARCLIFF MANOR NY    10510‐1432

FAY M SCHLESINGER                                  ATTN FAY S FRIEDMAN                   1000 CABRO RIDGE                                             NOVATO           CA    94947‐3714
FAY M SCHOENENBERGER                               312 W LIBERTY                                                                                      EVANSVILLE       WI    53536‐1224
FAY M SHROYER                                      130 POPLAR DR                                                                                      SALIX            PA    15952‐9427
FAY MAXINE LIND                                    1187 NORWAY HOPE                                                                                   HOPE             MI    48628‐9801
FAY S GUEST & FRED E GUEST JT TEN                  4019 WINDSWEPT DR                                                                                  MADISON          AL    35757
FAY S GUEST & SHARON SUE WEEKS & MELANIE FINE JT   4019 WINDSWEPT DR NW                                                                               MADISON          AL    35757
TEN
FAY SMITH                                          20551 MOTOR DR APT B 4                                                                             DETROIT          MI    48235‐1860
FAYE A CRADDOCK                                    10305 LITTLE CREEK PLACE                                                                           DOVER            FL    33527‐3654
FAYE A DECAPUA                                     833 CRESTWOOD DRIVE                                                                                BROOKFIELD       OH    44403‐9607
FAYE A IGNASH                                      2710 DORCHESTER                                                                                    BIRMINGHAM       MI    48009‐7423
FAYE A JONES                                       185 E VERMONT AVE                                                                                  SEBRING          OH    44672‐1438
FAYE A LUKOWSKI                                    713 WOODSIDE LANE                                                                                  BAY CITY         MI    48708‐5556
FAYE A WAGNER                                      39311 RICHLAND                                                                                     LIVONIA          MI    48150‐2474
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FAYE A ZORSCH                                     380 W SEMINOLE DR                                                                              VENICE           FL     34293‐3181
FAYE ANN ADAM & WAYNE ADAM JT TEN                 4150 WEST SNOVER ROAD                                                                          SNOVER           MI     48472‐9778
FAYE B MOUNTFORD                                  34 PEPPERGRASS DR NORTH                                                                        MT LAUREL        NJ     08054‐6908
FAYE C ROLFE                                      15521 BROOKSTONE DR 54                                                                         CLINTON TOWNSHIP MI     48035‐1060

FAYE COCKRILL                                     1093 W HARVARD AVENUE                                                                          FLINT             MI    48505‐1272
FAYE CONSENTINO                                   301 BEECH ST APT 7J                                                                            HACKENSACK        NJ    07601‐2139
FAYE D DRAWDY                                     PO BOX 421                                                                                     HARTWELL          GA    30643‐0421
FAYE D MARTIN                                     PO BOX #777                                                                                    WATERLOO          IA    50704‐0777
FAYE DIANE JOHNSON                                2721 SHIELD                                                                                    NORTH LAS VEGAS   NV    89030‐3891

FAYE E DURHAM                                       28 E BRYANT AVE                                                                              FRANKLIN          OH    45005‐1506
FAYE E GREENHOWARD                                  3803 KINGS CT                                                                                OKLAHOMA CITY     OK    73121‐2046
FAYE E GULLEY                                       1814 CHERRYLAWN DR                                                                           FLINT             MI    48504‐2018
FAYE E JAMISON                                      15812 DAN MAR LN                                                                             WILLIAMSPORT      MD    21795‐2029
FAYE E MASON                                        5720 SO LAKESHORE DR                                                                         SHREVEPORT        LA    71119‐3945
FAYE E MOTHS TR FAYE E MOTHS REVOCABLE TRUST UA 225 LK DESTINY TRAIL                                                                             ALTAMONTE         FL    32714‐3460
06/11/93                                                                                                                                         SPRINGS
FAYE F DUDEK                                        12 DOUGLAS COURT                                                                             WALLINGFORD       CT    06492‐3031
FAYE F TAYLOR TR UA 06/11/2002 FAYE F TAYLOR LIVING 719 SCHOOL ST                                                                                COSHOCTON         OH    43812
TRUST
FAYE G CULBRETH                                     3364 HIGHWAY 357                                                                             INMAN             SC    29349‐7817
FAYE H BERNDT                                       3682 SPER ONE DRIVE                                                                          CANFIELD          OH    44406‐9575
FAYE J BANKS                                        3505 MICHIGAN AVE                                                                            DAYTON            OH    45416‐1926
FAYE J SUMLIN                                       138 KIRKWOOD RD NE                  APT 21                                                   ATLANTA           GA    30317‐1157
FAYE JOHNSON                                        16184 MONTE VISTA                                                                            DETROIT           MI    48221‐2831
FAYE JOYCE RINGEL                                   6 TAYLOR DRIVE                                                                               NORWICH           CT    06360‐4235
FAYE KING                                           7400 CRESTWAY                       APT 1016                                                 SAN ANTONIO       TX    78239‐3095
FAYE KISSELBURG ROLLINS                             HC 66 BOX 845                                                                                SAWYER            OK    74756‐9720
FAYE L KRAUS                                        1802 ROCKDALE AVE                                                                            LANSING           MI    48917‐1440
FAYE L MEDER TR U‐DECL OF TRUST 08/11/89 FAYE L     31883 CARLELDER                                                                              BIRMINGHAM        MI    48025‐3941
MEDER
FAYE L POWELL                                       7759 BRIDGE RD                                                                               WATERFORD         MI    48329‐1007
FAYE LANDIS                                         ATTN FAYE B SLANE                   107 GENERAL NELSON DR                                    RICHMOND          KY    40475‐8698
FAYE M KIVISTO                                      W234N6877 SALEM DR                                                                           SUSSEX            WI    53089‐3267
FAYE M MC KINNEY                                    3728 T ST NW                                                                                 WASHINGTON        DC    20007‐2119
FAYE M MC KINNEY & BETH E MC KINNEY JT TEN          3728 T ST NW                                                                                 WASHINGTON        DC    20007‐2119
FAYE M MORGAN                                       7581 S W DENVER RD                                                                           POLO              MO    64671‐7726
FAYE M PERRIN                                       PO BOX 648                                                                                   TRINITY           TX    75862‐0648
FAYE M RICE                                         5837 MITCHELL CANYON CT                                                                      CLAYTON           CA    94517
FAYE M STOKES                                       616 DOUGLAS RD                                                                               MARTINSBURG       WV    25401
FAYE P LONG                                         141 CANTERBURY LANE                                                                          MATTHEWS          NC    28104
FAYE PERAZA CUST JAKE PERAZA UTMA FL                20207 PEACHLAND BLVD                                                                         PT CHARLOTTE      FL    33954‐2972
FAYE PLOWDEN                                        141 CANTERBURY LANE                                                                          MATTHEWS          NC    28104‐6086
FAYE R JOHNSON TR FAYE F JOHNSON LIVING TRUST UA 1109 COCKLIN ST                                                                                 MECHANICSBURG     PA    17055‐3959
07/18/96
FAYE R LE CESNE                                     1814 TANGER TER                                                                              NEW BRAUNFELS     TX    78130‐1236
FAYE R MYERS                                        3112 BROMLEY ROWE DR                                                                         DULUTH            GA    30096‐3505
FAYE S SHUPE                                        4910 RIDGEWAY ROAD                                                                           LOGANVILLE        GA    30052‐3108
FAYE T JONES                                        711 DARLEY RD                                                                                CLAYMONT          DE    19703‐1613
FAYE TATE                                           BOX 63                                                                                       JAMESTOWN         PA    16134‐0063
FAYEALA SANDERS                                     2013 BARBARA DRIVE                                                                           FLINT             MI    48504‐1641
FAYEE JEANETTE BARTZ                                1505 BUTTS AVE                      # 43                                                     TOMAH             WI    54660‐2405
FAYETTE B CAIN                                      192 BIBLE HILL RD                                                                            HOLLADAY          TN    38341‐4002
FAYETTE HUGHEY                                      G‐14316 LEWIS RD                                                                             CLIO              MI    48420
FAYEZ F KHIRFAN                                     G‐3045 VANSLYKE RD                                                                           FLINT             MI    48507
FAYNE A KEARNS & JOHN F KEARNS JT TEN               30 CONARD DRIVE                                                                              WEST HARTFORD     CT    06107‐3620
FAYNE M HODGMAN                                     11441 NORA DRIVE                                                                             FENTON            MI    48430‐8702
FAYRENE BUTLER                                      1777 S BUCHANAN ST                                                                           GILBERT           AZ    85233‐8617
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FAYTHE S THORNTON                              370 TRILIUM TRL                                                                                     PENDERGRASS       GA    30567‐3496
FAYTHE S THORNTON & ANGELINA F THORNTON JT TEN 370 TRILIUM TRL                                                                                     PENDERGRASS       GA    30567‐3496

FCI USA INC                                      825 OLD TRAIL RD                                                                                  ETTERS            PA    17319‐9392
FD & J LTD                                       1509 CRESCENT DR                                                                                  SWEETWATER        TX    79556
FED A WILLIAMS                                   2669 FM 2625 W                                                                                    MARSHALL          TX    75672‐6225
FEDELITY INVESTMENTS CUST HERMON L TINCHER IRA   504 BRYAN DR                                                                                      WINCHESTER        TN    37398

FEDERIC UMANE CUST BRADLEY UMANE UGMA NY         250 E 87TH ST                                                                                     NEW YORK          NY    10028‐1320

FEDERICO ANDAVERDE JR                          1624 RIO DE JANIERO                                                                                 EDINBURG          TX    78539‐7636
FEDERICO CASTRO EX EST KATHLEEN M RISSO        4420 BRAEBURN RD                                                                                    SAN DIEGO         CA    92116
FEDERICO G DURANA & EVANGELINE D DURANA JT TEN 2 CLEMENTS PL                                                                                       IRVINGTON         NJ    07111‐1503

FEDERICO PERRUZZA                                359 LONG POND RD                                                                                  MAHOPAC           NY    10541‐2616
FEE H YEE & YUK S YEE & WILLIAM H YEE JT TEN     25851 MIDWAY                                                                                      DEARBORN HTS      MI    48127
FEE SHU SOOHOO & NGAR YING SOOHOO JT TEN         57 PROVIDENCE BLVD PH                                                                             KENDALL PARK      NJ    08824
FELDER COWART                                    9717 WYOMING                                                                                      DETROIT           MI    48204‐2514
FELECIA SNYDER                                   1008 PEMBROOK RD                                                                                  CLEVE HTS         OH    44121‐1404
FELES M ORTEGA                                   2394 S GENESEE RD                                                                                 BURTON            MI    48519‐1234
FELICE B EKELMAN                                 #4                                     8 E 12 ST                                                  NEW YORK          NY    10003‐4470
FELICE CAPPUCCIA                                 8 HUBERT CT                                                                                       NORTH HALEDON     NJ    07508‐2741
FELICE FORER AXELROD                             7 HUBERT ST                            APT 7B                                                     NEW YORK          NY    10013‐2065
FELICE M OLSZEWSKI                               119 GRAMERCY ROAD                                                                                 TOLEDO            OH    43612‐2540
FELICE OCHS PUGLIA & MARIANNE G PUGLIA TR UW     41 DONALD AVE                                                                                     KENDALL PARK      NJ    08824
GIACOMO PUGLIA
FELICIA A BARWICK                                14541 HAMILTON RD                                                                                 ROANOKE           IN    46783‐9604
FELICIA A KUKULA                                 15146 E TWO BAR X RANCH PLACE                                                                     VAIL              AZ    85641
FELICIA B GREEN                                  PO BOX 844                                                                                        MARIETTA          GA    30061‐0844
FELICIA B LEE                                    11645 LUMBERJACK DR APT 75                                                                        CINCINNATI        OH    45240‐2098
FELICIA BROWN & ROBERT R BROWN JT TEN            4317 BRISTOLWOOD DR                                                                               FLINT             MI    48507
FELICIA DELONIS & RICHARD L DELONIS JT TEN       6795 KENNSWAY COURT                                                                               WEST BLOOMFIELD   MI    48322‐3275

FELICIA E BELL CUST R'DANIEL D KYLES UTMA MS     134 MATTIE BURNETT CIRCLE                                                                         BRANDON           MS    39047‐7853
FELICIA K CAPUTO                                 105 BRADLEY DR                                                                                    OLEAN             NY    14760‐3935
FELICIA L WIERTEL                                79 FALLEN OAK LANE                                                                                CHAPEL HILL       NC    27516
FELICIA LENNON                                   15 PEACOCK LANE                                                                                   LEVITTOWN         NY    11756
FELICIA MARY ODONNELL                            62 GRAND PRIX DR                                                                                  BUFFALO           NY    14227‐3653
FELICIA MORGAN                                   590 HEWITT AVENUE                                                                                 WASHINGTON        PA    15301‐1400
FELICIA N ALEXANDER CUST CHRISTIAN A ALEXANDER   16949 KNOLLWOOD DR                                                                                GRANADA HILLS     CA    91344
UTMA CA
FELICIA P ZATARSKI & BETH A ZATARSKI JT TEN      5353 S 48TH ST                                                                                    GREENFIELD       WI     53220‐5050
FELICIA PEZZOPANE                                26840 GULFVIEW DR                                                                                 DEARBORN HEIGHTS MI     48127‐1634

FELICIA S MORGAN CUST JAYDE E MORGAN UTMA PA     590 HEWITT                                                                                        WASHINGTON        PA    15301‐1400

FELICIA T WERNER                                 2753 S 58TH ST                                                                                    MILWAUKEE         WI    53219‐3148
FELICIA W HARRISON                               ATTN HARRIET HARRISON                  RICHARDSON           2 SUNNY HILL ROAD                     VILLANOVA         PA    19085‐1312
FELICIA W PERRY                                  22131 HARDING                                                                                     OAK PARK          MI    48237‐2563
FELICIANO C VELASQUEZ                            3220 CORONADO ST                                                                                  DONNA             TX    78537‐5591
FELICIANO GIAMMARCO & DILIA GIAMMARCO JT TEN     1860 E COOK RD                                                                                    COLUMBUS          OH    43224‐2208

FELICIANO RODRIGUEZ                              6763 GREENVIEW                                                                                    DETROIT           MI    48228‐3434
FELICIEN PERRIN                                  61 PARK LN                                                                                        FOLSOM            LA    70437‐7721
FELICITA H TREVINO                               2067 ROYAL PALM AVENUE                                                                            DEFIANCE          OH    43512‐3531
FELICITA M CORDOVA                               2808 WILLING                                                                                      FORT WORTH        TX    76110‐3036
FELICITAS B CRONQUIST                            271 MARTLING AVE                                                                                  TARRYTOWN         NY    10591‐4700
FELICITAS R LEWIS                                411 WALNUT ST UNIT 3599                                                                           GREEN COVE        FL    32043‐3443
                                                                                                                                                   SPRINGS
                                              09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
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Name                                              Address1                              Address2                   Address3       Address4             City              State Zip

FELICITY J SMITH                                  0295 DEER RUN                                                                                        CARBONDALE        CO    81623‐8776
FELIKS PERSOLJA                                   609 S ELMHURST RD                                                                                    MOUNT PROSPECT    IL    60056‐3733

FELIKSA P BURNAGIEL                               26543 HARVEST DRIVE                                                                                  CHESTERFIELD      MI    48051‐1980
FELIMON A JIMENEZ                                 4211 BETTY LEE BLVD                                                                                  GLADWIN           MI    48624‐7600
FELIPA C GARCIA                                   2329 LEE AVE                                                                                         S EL MONTE        CA    91733
FELIPE A GUZMAN                                   455 JOSSMAN RD                                                                                       ORTONVILLE        MI    48462
FELIPE C ROVERA NETO                              GM BRASIL AV GOIAS 1805               SAO CAETANO DO SUL         BRAZIL09551‐   BRAZIL
FELIPE D IGLESIAS                                 C/O RACHEL LOMBARDO                   2468 PINE LAKE AVENUE                                          KEEGO HARBOR      MI    48320‐1429
FELIPE DIAZ                                       111 MARSAC ST                                                                                        BAY CITY          MI    48708‐7054
FELIPE HERNANDEZ                                  129 SWALLOW RD                                                                                       SY AUGUSTINE      FL    32086‐6169
FELIPE HERRERA                                    510 NORTHWOOD TRL                                                                                    SOUTHLAKE         TX    76092‐7426
FELIPE M CARRANZA & JOSEPHINE CARRANZA TEN ENT    PO BOX 20014                                                                                         SAGINAW           MI    48602‐0014

FELIPE MENDEZ                                     509 W 161ST ST                        APT 1A                                                         NEW YORK         NY     10032‐6100
FELIPE ORTIZ                                      952 WILEMAN ST                                                                                       FILLMORE         CA     93015‐1751
FELIPE P LEDESMA                                  11255 RUNNYMEDE                                                                                      SUN VALLEY       CA     91352‐4743
FELIPE P MARTINEZ                                 2705 SIERRA RD                                                                                       SAN JOSE         CA     95132‐2642
FELIPE P REYES                                    3120 S EMERALD                                                                                       CHICAGO          IL     60616‐3013
FELIPE PEREZ                                      735 NE 94TH ST                                                                                       MIAMI SHORES     FL     33138‐2914
FELIPE POSADA‐MONTES                              8621 WEBSTER DR NE.                                                                                  OLYMPIA          WA     98516‐6294
FELIPE SANCHEZ                                    335 N BOUTELL RD                                                                                     KAWKAWLIN        MI     48631‐9717
FELIPE VELEZ                                      4774 WILD FLOWER DRIVE                                                                               LAKELAND         FL     33811‐1564
FELIPE VILLARREAL                                 1210 DRAGOON                                                                                         DETROIT          MI     48209‐2385
FELIS S MATA                                      2716 W LORAINE                                                                                       FT WORTH         TX     76106‐5252
FELISA M ROBERTS                                  512 W CAROLINA ST                                                                                    TALLAHASSEE      FL     32301‐1010
FELIX A BANACH                                    20953 RIVER BEND S                                                                                   CLINTON TOWNSHIP MI     48038‐2488

FELIX A GOTI                                      2744 GARDEN GROVE RD                                                                                 GRAND PRAIRIE     TX    75052‐4431
FELIX A MERCADO                                   207 MOONEY POND RD                                                                                   SELDEN            NY    11784‐3401
FELIX A REYES                                     27800 SW 162ND AVE                                                                                   HOMESTEAD         FL    33031‐2908
FELIX ASHER PAULI & CRYSTAL PAULI JT TEN          34 KATELYN PLACE                                                                                     EAST GREENBUSH    NY    12061‐1760
FELIX BEDNAREK                                    33854 KING RICHARD                                                                                   STERLING HGTS     MI    48310‐6346
FELIX BENJAMIN & SONDRA BENJAMIN JT TEN           9036 W WEST OAKS AVE                                                                                 DES PLAINES       IL    60016‐4250
FELIX BURRIS                                      1221 COLUMBUS 61                                                                                     MAGNOLIA          AR    71753
FELIX C HERNANDEZ                                 C/O VIVVANA HERNANDEZ                 205 KIRMAN                                                     ROMEOVILLE        IL    60446‐1739
FELIX C HILL                                      177 GARNER DR                                                                                        RUSSELL SPRINGS   KY    42642‐9554
FELIX CANALES SANROMAN                            GM FIAT APTDO CORREOS 375             ZARAGOZA                                  SPAIN
FELIX CHIARELLI & MRS MARGARET CHIARELLI JT TEN   241 NEW CENTRAL AVE                                                                                  JACKSON           NJ    08527‐2952

FELIX D PICCIRILLI                                1625 BRIDGEBORO DRIVE                                                                                WEBSTER           NY    14580‐9737
FELIX E ARCENEAUX III                             3305 PLAZA DR                                                                                        CHALMETTE         LA    70043‐2421
FELIX E CABRERA                                   386 AUTUMNWOOD ST                                                                                    THOUSAND OAKS     CA    91360‐2805
FELIX F BROWN                                     1219 UPPER COVE ROAD                                                                                 WOODBURY          GA    30293‐4338
FELIX FERRARA                                     44231 CONSTELLATION DR                                                                               STERLING HTS      MI    48314‐3171
FELIX G MENDEZ                                    13030 NEWPORT ST                                                                                     HESPERIA          CA    92344‐3824
FELIX G PEREZ                                     10338 EAST AVENUE S‐4                                                                                LITTLEROCK        CA    93543‐2016
FELIX GARNCARZ JR                                 4616 LANTANA S E                                                                                     KENTWOOD          MI    49512‐5325
FELIX GATICA                                      3217 E HEMPHILL RD                                                                                   BURTON            MI    48529‐1434
FELIX GOMEZ                                       48‐50 FIDDLERS GREEN RD               LONDON ON                                 N6H 4T4 CANADA
FELIX GULLICK                                     535 MADISON S E                                                                                      GRAND RAPIDS    MI      49503‐5399
FELIX H DAVIS & EMMA E DAVIS JT TEN               C/O PHILLIP DAVIS                     6925 COTTONWOOD KNOLL ST                                       WEST BLOOMFIELD MI      48322‐4043

FELIX H PASCUALMD                                 25181 NOCTURNE LN                                                                                    PUNTA GORDA       FL    33983‐5920
FELIX J JARZABEK                                  95NO RIDGELAND RD                                                                                    WALLINGFORD       CT    06492‐2927
FELIX J MALINOWSKI & MRS JUDY K MALINOWSKI JT TEN 5592 HIGHLANDS VISTA CIRCLE                                                                          LAKELAND          FL    33812‐5217

FELIX J PETILLO                                   495 WINCHESTER AVE                                                                                   STATEN ISLAND     NY    10312‐5137
FELIX J PINGOT                                    4510 W CEDAR LAKE RD                                                                                 GREENBUSH         MI    48738‐9614
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FELIX J PINGOT & LONA M PINGOT JT TEN              4510 W CEDAR LAKE RD                                                                             GREENBUSH        MI    48738‐9614
FELIX J PINGOT & LOREN M SCHNEIDER TR PINGOT       4510 W CEDAR LAKE RD                                                                             GREENBUSH        MI    48738‐9614
FAMILY TRUST UA 11/13/96
FELIX K JOHNSON                                    909 E 27 STREET                                                                                  WILMINGTON       DE    19802‐4435
FELIX KONOPKA                                      6120 MOREY HWY                                                                                   CLAYTON          MI    49235‐9724
FELIX L ROBERTS                                    701 HARSEN RD                                                                                    LAPEER           MI    48446‐2786
FELIX MARK BOYAK & MARGARET CAROLYN BOYAK JT       33761 PADRO                                                                                      GARDEN CITY      MI    48135‐1171
TEN
FELIX MARZULLI                                     276 MERRICK RD                                                                                   FARMINGDALE      NJ    07727‐3586
FELIX NORDYKE                                      BOX 1061                                                                                         WILLOWS          CA    95988‐1061
FELIX ORTIZ                                        520 STONEY CT                                                                                    GILROY           CA    95020‐6234
FELIX P CHESTERS                                   9005 S TROY AV                                                                                   EVERGREEN PARK   IL    60805‐1335
FELIX PEREZ                                        9602 DEBRA JOY LN                                                                                SHREVEPORT       LA    71106‐7511
FELIX PEREZ                                        5480 SPRINGWELLS                                                                                 DETROIT          MI    48210‐2167
FELIX R BRUNOT                                     2876 WEST 300 SOUTH                                                                              MARION           IN    46953‐9345
FELIX R DINUNZIO JR                                53 FANCHER AVE                                                                                   KENMORE          NY    14223‐1710
FELIX R DINUNZIO JR & ALICE M DINUNZIO JT TEN      53 FANCHERAVE                                                                                    KENMORE          NY    14223‐1710
FELIX R PRINKLETON                                 3783 E 151 STREET                                                                                CLEVELAND        OH    44128‐1105
FELIX R RATAJCZAK                                  5651 YOUNG RD                                                                                    LOCKPORT         NY    14094‐1227
FELIX RAMOS                                        2309 XENOPS                                                                                      MCALLEN          TX    78504‐5522
FELIX RIVERA                                       728 EARLY ROAD                                                                                   YOUNGSTOWN       OH    44505‐3957
FELIX S MITCHELL                                   1342 LAUREL                                                                                      ST LOUIS         MO    63112‐3704
FELIX S THAXTON                                    624 LILAC ST                                                                                     ORANGE           TX    77630‐4228
FELIX SERRANO                                      HCO 3 BOX 14297                       UTUADO                                   PUERTO RICO
FELIX T KROWINSKI                                  55 ELM ST                                                                                        RUTLAND          VT    05701‐3420
FELIX T WRONKOWSKI                                 2118 BUCKMAN ST                                                                                  JACKSONVILLE     FL    32206‐4125
FELIX W MORRISON & PATRICE C MORRISON JT TEN       25256 CALVERT DR                                                                                 GREENSBORO       MD    21639‐1240

FELIX WAXMAN CUST JANET S WAXMAN UGMA CT           68 EGMONT STREET                                                                                 BROOKLINE        MA    02446‐3123

FELIX YSTURIZ & MARGARET YSTURIZ COMMUNITY         1420 JEFFERSON ST                                                                                SAN FRANCISCO    CA    94123‐1211
PROPERTY
FELTON E PITTS                                     5363 MARDALE AVE                                                                                 BEDFORD HTS      OH    44146‐1518
FELTON LACKLAND                                    6988 WOODROW AVE                                                                                 ST LOUIS         MO    63121‐5118
FELTON U WALKER                                    5590 UNDERWOOD ST                                                                                DETROIT          MI    48204‐2131
FELYSSE INES GOLDMAN                               111 SOUTHVIEW ROAD                                                                               RANDOLF          NJ    07869
FEMIA S A ALBERTS                                  16250 12 MILE ROAD E #8                                                                          ROSEVILLE        MI    48066‐5061
FENTON G MCKENZIE                                  2544 KEY ST APT 25                                                                               TOLEDO           OH    43614‐4825
FENWICK C WILLIAMS                                 C/O WILLIAM PETERSON                  JONES COVE           48 JONES POINT RD                     SOUTH BRISTOL    ME    04568‐4310
FENWOOD DEVELOPMENTS LIMITED                       240 MAINT ST EAST                     SUITE 2000           HAMILTON ON         L8N 1H5 CANADA
FENWOOD DEVELOPMENTS LIMITED                       240 MAIN ST EAST                      SUITE 2000           HAMILTON ON         L8N 1H5 CANADA
FENWOOD DEVELOPMENTS LTD                           240 MAIN ST EAST STE 2000             HAMILTON ON                              L8N 1H5 CANADA
FEODORA H CLARK                                    RT 2 BOX 2367                                                                                    BURGAW           NC    28425‐9802
FERALEE LONG                                       1256 JODECO RD                                                                                   STOCKBRIDGE      GA    30281‐5110
FERD D RING & LAURA J RING JT TEN                  4306 LAPEER ST                                                                                   COLUMBIAVILLE    MI    48421‐9389
FERD E SKOLA & VELMA SKOLA JT TEN                  PO BOX 753                                                                                       KALONA           IA    52247‐0753
FERD R PATTON TR LILLIE SEGER PATTON REV TR UA     17842 MITCHELL #100                                                                              IRVINE           CA    92614‐6834
05/06/81
FERDI KAHN & ELAINE ZOLDAN JT TEN                  20 TAMMY RD                           WESLEY HILL                                                SPRING VALLEY    NY    10977‐1318
FERDINAND C RITTER & SHIRLEY A RITTER JT TEN       305 WESTGATE RD                                                                                  HIXSON           TN    37343‐3098
FERDINAND E PFEIFFER                               16834 RIVERSIDE                                                                                  LIVONIA          MI    48154‐2408
FERDINAND H BURMEISTER                             8531 E GREENBRIAR CT                                                                             WICHITA          KS    67226‐1817
FERDINAND J HAUSBECK                               4740 N BRENNAN RD                                                                                HEMLOCK          MI    48626‐9671
FERDINAND J KOPP III                               1629 REDBUSH AVE                                                                                 KETTERING        OH    45420‐1347
FERDINAND J MILANO                                 663 S 5TH AVE                                                                                    MT VERNON        NY    10550‐4961
FERDINAND L KOBOLT                                 6346 MAPLE DR                                                                                    MISSION          KS    66202‐4314
FERDINAND LAUTENSCHLAGER                           14 MOONSTONE DRIVE                    WHITBY ON                                L1P 1L5 CANADA
FERDINAND M BERGHOLZ                               BOX 1518                                                                                         CAPITOLA         CA    95010‐1518
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FERDINAND M COMOLLI & ANNETTA M COMOLLI JT TEN PO BOX 671                                                                                          BETHANY BEACH    DE    19930‐0671

FERDINAND M FAHRIG                                 4208 WILLIAMSPORT DR                                                                            DAYTON           OH    45430‐1837
FERDINAND P MALONE & DOROTHY O MALONE JT TEN       6385 26TH AVE N                                                                                 ST PETERSBURG    FL    33710‐4164

FERDINAND PLOETZENEDER                             DORFERSTRASSE 35                      A‐6065 THAUR BEI INNSBRUCK              AUSTRIA
FERDINAND S KACZKA                                 1108 PARSONS PLACE                                                                              GREENSBORO       NC    27410‐4186
FERDINAND STOJ                                     63 BLOOMER RD                                                                                   MAHOPAC          NY    10541‐3709
FERDINAND STOJ & IRMGARD STOJ JT TEN               63 BLOOMER RD                                                                                   MAHOPAC          NY    10541‐3709
FERDINAND W SENSMEYER                              217 N SUMMIT ST                                                                                 HOYLETON         IL    62803‐2137
FERDINAND W TOCZEK                                 74 SUNNYSIDE                                                                                    BUFFALO          NY    14207‐2237
FERDINANDO FONTANA & LUCILLE ROSE FONTANA TR       119 TALBERT ST                                                                                  SAN FRANCISCO    CA    94134‐2914
FONTANA TRUST UA 01/20/96
FERDINANDO FONTANA & MRS LUCILLE R FONTANA JT      119 TALBERT ST                                                                                  SF               CA    94134‐2914
TEN
FERDINANDO RUSSO                                   55700 WHITNEY CT                                                                                SHELBY TWP       MI    48315‐6672
FERENC G NEMETH                                    358 N CLEVELAND AVE                                                                             MOGADORE         OH    44260‐1207
FERENC V BORKA                                     48387 APPLE LANE                                                                                MATTAWAN         MI    49071‐9758
FEREYDOON JAMZADEH                                 7407 SHADOW WOOD DR                                                                             INDIANAPOLIS     IN    46254‐9611
FERGAL HASSETT                                     C/O PATRICK STREET                    DURROW COUNTY                LAOIS      IRELAND
FERGUS COLEMAN GROVES III                          5957 BRUNERSTOWN RD                                                                             SHELBYVILLE      KY    40065‐9156
FERLIN U ROOP                                      550 CULLEN RD                                                                                   LINCOLN          PA    19352‐1709
                                                                                                                                                   UNIVERSITY
FERMAN HAMPTON                                     3626 E 58 TERR                                                                                  KANSAS CITY      MO    64130‐4229
FERMIN G BENTANCUR                                 421 OAK ST BOX 723                                                                              HOLGATE          OH    43527‐0723
FERMIN M SANCHEZ                                   8517 KESTER AVE                                                                                 PANORAMA CITY    CA    91402‐2722
FERN A ELKINS TR UA 04/30/90 F/B/O FERN A ELKINS   3701 DOROTHY LN                                                                                 WATERFORD        MI    48329‐1110

FERN A GOTTA                                       22863 KNOLLWOOD LN                                                                              PELICAN RAPIDS   MN    56572‐7162
FERN C SCHULTZ & CAROL E KEPLER JT TEN             4682 CLINTON DR                                                                                 CLARKSTON        MI    48346‐3801
FERN C SCHULTZ & JONATHON A SCHULTZ JT TEN         4682 CLINTON DR                                                                                 CLARKSTON        MI    48346‐3801
FERN C SCHULTZ & LUTHER SCHULTZ JR JT TEN          4682 CLINTON DR                                                                                 CLARKSTON        MI    48346‐3801
FERN C SCHULTZ & ROBERT E SCHULTZ JT TEN           4682 CLINTON DR                                                                                 CLARKSTON        MI    48346‐3801
FERN C SEULEAN TOD G JEFFREY SEULEAN SUBJECT TO    1806 DAPHNE DRIVE                                                                               ANDERSON         IN    46013‐2590
STA TOD RULES
FERN C SHELL & ARLENE A SHELL JT TEN               2036 ROLAND AVE                                                                                 FLINT            MI    48532‐3919
FERN CHASIN GUTMAN CUST MICHAEL J GUTMAN           7141 N KEDZIE AVE APT 206                                                                       CHICAGO          IL    60645
UTMA IL
FERN D HOFFMAN                                     2177 E THOUSAND OAKS BLVD             # 310                                                     THOUSAND OAKS    CA    91362‐2904
FERN DENIS TR U‐W‐O BLANCHE MEYEROVITZ F‐B‐O       9650 N KEELER                                                                                   SKOKIE           IL    60076‐1128
CHARLES Z MEYERS TRUST
FERN E CLARKE                                      7213 ORIOLE AVE                                                                                 SPRINGFIELD      VA    22150‐3506
FERN E DARLING                                     2254 CALDWELL AVE                                                                               SIMI VALLEY      CA    93065‐2012
FERN E FIRESTONE                                   1215 W 193RD ST                                                                                 SHERIDAN         IN    46069
FERN E REICHOLD                                    8125 MARIO DR                                                                                   COMMERCE         MI    48382‐2357
FERN E WELLS TR WELLS LIVING TRUST UA 07/15/93     2217 WOODBRIDGE ST                                                                              BOSSIER CITY     LA    71111‐5615

FERN G SCHINDLER                                   2900 FERNWALD RD                                                                                PITTSBURGH       PA    15217‐3119
FERN G SHANKWEILER CUST COREY SCOTT MUTTER         3210 FULTON ST                                                                                  LAURELDALE       PA    19605
UGMA PA
FERN H VIA                                         2478 VIAS ORCHARD RD                                                                            CRITZ            VA    24082‐3053
FERN HOFFNER                                       RURAL ROUTE #3                                                                                  GREEN CITY       MO    63545‐9803
FERN IMOGENE ABSHER TR FERN IMOGENE ABSHER         15866 MOELLERS RD                                                                               MARION           IL    62959‐6329
TRUST UA 10/09/91
FERN J DILLEY                                      6841 SPRINGTREE LANE                                                                            LANSING          MI    48917‐9663
FERN K BIERNAT                                     1952 N WARREN AVE                                                                               MILWAUKEE        WI    53202‐1640
FERN L GALLES JR                                   1601 LOMAS NE                                                                                   ALBUQUERQUE      NM    87102‐2710
FERN L SOWDER                                      2981 WASHINGTON AVE                                                                             LINCOLN PARK     MI    48146
FERN LEMAY                                         302 E KENILWORTH                                                                                ROYAL OAK        MI    48067‐3716
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FERN M CARLSON & ALLEN L CARLSON JT TEN        5729 HERBERT ST                                                                                                     BURKE           VA    22015‐3631
FERN M HILL                                    3220 SCHULTZ ST                                                                                                     LANSING         MI    48906‐3240
FERN M MYRE                                    3719 DAVID K DR                                                                                                     WATERFORD       MI    48329‐1320
FERN MCCATTY CUST RODERIC MORRIS UTMA NY       110 DALE AVE                                                                                                        CORTLANDT MNR   NY    10567
FERN PACKWOOD                                  118 ELIZABETH DRIVE                                                                                                 TIPTON          IA    52772‐1356
FERN R HAINES                                  6040 TANEYTOWN PIKE                                                                                                 TANEYTOWN       MD    21787‐1937
FERN RICHARD HAINES                            6040 TANEYTOWN PIKE                                                                                                 TANEYTOWN       MD    21787‐1937
FERN RUMFELT & ANGELA L RUMFLET JT TEN         3238 E HEMPHILL RD                                                                                                  BURTON          MI    48529‐1435
FERN WAGNER                                    1155 BENTON PLACE                                                                                                   PITTSBURGH      PA    15212‐1532
FERNAND ALPAERTS                               LEEUWERIKENLEI 12                     2900 SCHOTEN                     ANTWERPEN               2900 BELGIUM
FERNAND J TOUSSAINT                            821 CANDLEWOOD LAKE                                                                                                 NEW MILFORD     CT    06776‐4706
FERNAND LANDRY                                 C/O NOELLA LANDRY                     194 ALPINE KNOLL                                                              FAIRPORT        NY    14450
FERNAND V DEMARET TR LIVING TRUST 10/23/92 U‐A GOODWIN HOUSE                         3440 SOUTH JEFFERSON ST # 1218                                                FALLS CHURCH    VA    22041
FERNAND V DEMARET
FERNANDA AUGUSTA TAVARES                       MONTE MURTOSA                                                                                  PORTUGAL
FERNANDO A BUATHIER                            2909VALLEY LANE                                                                                                     SANDUSKY        OH    44870‐5953
FERNANDO A CANOVAS                             RUA INDIANA 217 APTO 91               BROOKLIN                         SAO PAULO SP CEP04562   BRAZIL
FERNANDO A CANOVAS                             RUA INDIANA 217‐APTO 91               BROOKLIN                         SAO PAULO BRAZIL0       BRAZIL
FERNANDO A CISNEROS                            3175 SATURN AVE                                                                                                     HUNTINGTON PA   CA    90255‐5347
FERNANDO A LAZARO                              1301 KENT PL                                                                                                        LINDEN          NJ    07036‐5930
FERNANDO C PAZ JR                              1046 SAINT ANDREWS DR                                                                                               BURLESON        TX    76028‐6332
FERNANDO CAMBEROS JR                           10876 WOLCOTT PL                                                                                                    MISSION HILLS   CA    91345‐1850
FERNANDO D GARCES                              427 MIGNOT LN 1                                                                                                     SAN JOSE        CA    95111‐2417
FERNANDO DURAN LOPEZ                           (MEXICO CITY) PO BOX 9022                                                                                           WARREN          MI    48090‐9022
FERNANDO E LOPEZ & DORA LOPEZ JT TEN           7512 NW 113TH ST                                                                                                    OKLAHOMA CITY   OK    73162‐2501
FERNANDO F GIANGRANDE                          10901 GRATIOT                                                                                                       CASCO           MI    48064‐1007
FERNANDO F MALLONE CUST JOSEPH R STEAD UGMA NY 867 SUN VLY                                                                                                         N TONAWANDA     NY    14120

FERNANDO F MALLONE CUST NICHOLAS BERRY          867 SUN VLY                                                                                                        N TONAWANDA     NY    14120
STANISTRECT UGMA NY
FERNANDO F MALLONE CUST SAMANTHA MARIE          867 SUN VLY                                                                                                        N TONAWANDA     NY    14120
MALLONE UGMA NY
FERNANDO F MALLONE CUST TIMOTHY C STEAD UGMA    867 SUN VLY                                                                                                        N TONAWANDA     NY    14120
NY
FERNANDO G CABRALES                             934 BURLWOOD COURT                   BANOS                                                                         LOS BANOS       CA    93635
FERNANDO H FRANQUI                              7113 OWL RD                                                                                                        WEEKI WACHEE    FL    34613‐6323
FERNANDO H LARA                                 1610 PARK AVENUE UNIT A                                                                                            LONG BEACH      CA    90815‐3891
FERNANDO HADDAD                                 252 SHADOW MOUNTAIN DR               APT F1                                                                        EL PASO         TX    79912‐4713
FERNANDO J CORREIA                              206 BELGROVE DR                                                                                                    KEARNY          NJ    07032‐1510
FERNANDO J LOPEZ                                8423 S 79TH CT                                                                                                     JUSTICE         IL    60458‐2323
FERNANDO J TERRAZAS                             7006 FOREST WAY                                                                                                    SAN ANTONIO     TX    78240‐3360
FERNANDO J TERRAZAS                             1000 NORTHRIDGE RD                                                                                                 MOORE           OK    73160‐8922
FERNANDO LEIRAS                                 PO BOX 840                                                                                                         PLATTEKILL      NY    12568‐0840
FERNANDO M DEANDRADE                            196 BLUE JAY LANE                                                                                                  E TAUNTON       MA    02718‐5130
FERNANDO NARCIO                                 248 RIVERBEND DR                                                                                                   FRANKLIN        TN    37064‐5517
FERNANDO P CAMBEROS                             10876 WOLCOTT PL                                                                                                   MISSION HILLS   CA    91345‐1850
FERNANDO P ESPINOSA                             247 GABLE DR                                                                                                       FREMONT         CA    94539‐7516
FERNANDO RIOS                                   4701 4TH STREET CT                                                                                                 EAST MOLINE     IL    61244‐4210
FERNANDO RISURI & BRUNA RISURI JT TEN           12901 PARTRIDGE RUN                                                                                                SHELBY TWP      MI    48315‐1383
FERNANDO S ASCENSO                              2160 GREENWOOD AVE                                                                                                 YORKTOWN HGTS   NY    10598‐4322
FERNANDO S CHAVEZ                               PO BOX 648                                                                                                         MIRA LOMA       CA    91752‐0648
FERNANDO S CHAVEZ                               PO BOX 648                                                                                                         MIRA LOMA       CA    91752‐0648
FERNANDO S MONTANEZ                             PO BOX 29563                                                                                                       SHREVEPORT      LA    71149‐9563
FERNANDO S PONCE                                13217 DROXFORD                                                                                                     CERRITOS        CA    90703‐6201
FERNANDO SENATORE                               546 CENTRAL AVE                                                                                                    NEEDHAM         MA    02494‐1410
FERNANDO SIERRA                                 119 KARLYN DRIVE                                                                                                   NEW CASTLE      DE    19720‐1308
FERNANDO SKIP PORTILLA                          3352 CARDINAL FLOWER AVE                                                                                           MODESTO         CA    95355‐8607
FERNANDOL T DAFONTE                             6 BAKER SLIP                                                                                                       MILFORD         MA    01757‐3309
FERNARD C MCMAN                                 RTE 3 1923 FOSTER ST                                                                                               BIRCH RUN       MI    48415‐9803
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FERNE GIDDINGS GIRARD & ELAINE GIRARD JONES JT      16819 N 42ND AVE APT 145                                                                         PHOENIX        AZ    85053‐2739
TEN
FERNE I GIRARD                                      16819 N 42ND AVE APT 145                                                                         PHOENIX        AZ    85053‐2739
FERNE J DALE                                        PO BOX 122                              7598 LOUVIERS BLVD                                       LOUVIERS       CO    80131‐0122
FERNE VAN HORN                                      15100 BIRCHAVEN APT 127                                                                          FINDLAY        OH    45840
FERNON P FEENSTRA                                   16803 SHREWSBURY COURT                                                                           LIVONIA        MI    48154‐3155
FERNON P FEENSTRA CUST ALYSON M FEENSTRA UGMA       16803 SHREWSBURY CT                                                                              LIVONIA        MI    48154‐3155
MI
FERREL L RUTHERFORD                                 5066 STATE ROUTE 82                                                                              NEWTON FALLS   OH    44444‐8507
FERRELL F MACK                                      4762 N VANCOUVER AVE                                                                             PORTLAND       OR    97217‐2822
FERRELL JONES BLAZER                                690 NORTH 200 WEST                                                                               PORTLAND       IN    47371‐8064
FERRIL C WILLIAMSON & PHYLLIS K WILLIAMSON JT TEN   200 WESTWOOD                                                                                     WEWOKA         OK    74884‐3452

FERRILL GIDSON BROWN                                1125 ERNEST PIPKINS RD                                                                           LUCEDALE       MS    39452‐8615
FERRIS A JABURY                                     2000 32ND ST SE                         # 454                                                    GRAND RAPIDS   MI    49508‐1592
FERRIS B THOMAS                                     1913 STE HWY 28                                                                                  EUCHA          OK    74342‐3213
FERRIS D POWELL                                     2964 FLINT RIVER ROAD                                                                            LAPEER         MI    48446‐9045
FERRIS H PARKER JR                                  6998 SPEARSVILLE RD                                                                              MORGANTOWN     IN    46160‐8728
FERRIS H RICH                                       6092 LOCUST TRL                                                                                  GRAND BLANC    MI    48439‐9034
FERRIS MALOOF CUST MATHEW MALOOF UGMA TN            PO BOX 908                                                                                       COPPERHILL     TN    37317‐0908

FERRIS MALOOF CUST MERRITT MALOOF UGMA TN           244 COUNTY RD 671                                                                                CEDAR BLUFF    AL    35959‐2637

FERRIS V CURTIS                                     5191 WOODHAVEN CT                       APT 818                                                  FLINT          MI    48532‐4192
FERRIS WILLIAMS                                     4429 S BELSAY RD                                                                                 GRAND BLANC    MI    48439‐9120
FERRIS WILLIAMS & ALICIA EDGAR JT TEN               4429 BELSAY RD                                                                                   GRAND BLANC    MI    48439‐9120
FESS E ROSE JR                                      12062 CONWAY STREET                                                                              SPRING HILL    FL    34609‐2820
FESTUS H KNIGHT                                     310 N SAYERS RD                                                                                  TROY           OH    45373‐9675
FIDEL D WATERS                                      28762 ZELLMER                                                                                    ROMULUS        MI    48174‐3077
FIDEL ESPINO                                        SIDNEY 549 OCEANIA                      SALTILLO COAHUILA                      25290 MEXICO
FIDEL GONZALES                                      240 N GREEN SPRINGS RD                                                                           INDIANAPOLIS   IN    46214‐3811
FIDEL P FLORES                                      876 W FIREBAUGH AVE                                                                              EXETER         CA    93221‐1452
FIDEL P GONZALES                                    14931 PATTERSON DR                                                                               SHELBY TWP     MI    48315‐4940
FIDEL S RAMIREZ                                     4401 BECKETT PLACE                                                                               SAGINAW        MI    48603‐2083
FIDEL VEGA                                          521 NORTH ST                                                                                     FARMINGTON     MO    63640‐3214
FIDELILTY INVESTMENTS CUST JUNE D HANNAH‐YOUNG      76 KEATING DR                                                                                    ROCHESTER      NY    14622‐1522

FIDELIS ET VERUS INC                                4881 GRIFFIN RD #324                                                                             DAVIE          FL    33314
FIDELIS HOOD PAYNE                                  3308 MELVIN DRIVE                                                                                WYLIE          TX    75098
FIDELITY ADVISOR GROWTH OPP TR JOHN E PLEVA IRA     500 NORDBERG NW                                                                                  GRAND RAPIDS   MI    49504‐4730
UA 09/01/95
FIDELITY FMTC TR THOMAS W MAGGARD IRA               PO BOX 26                                                                                        W JEFFERSON    OH    43162‐0026
FIDELITY INVESTEMENTS CUST MORRIS G MULLINS IRA     50770 WILLIS RD                                                                                  BELLEVILLE     MI    48111

FIDELITY INVESTMENST CUST ROBIN LEE ROZARIO         105 JAYNE RD                                                                                     FENTON         MI    48430‐2932
FIDELITY INVESTMENT CUST CLARENCE L BROCK IRA       1526 CARLSBORG RD                                                                                SEQUIM         WA    98382‐9425

FIDELITY INVESTMENT CUST MARILYNN M GODFREY IRA 9611 ROYAL CALCUTTA PL                                                                               BRADENTON      FL    34202

FIDELITY INVESTMENT CUST RAYMOND SAPP               26 GRENEWOOD LN                                                                                  HAINES CITY    FL    33844‐8812
FIDELITY INVESTMENT CUST RONALD R SCHUSTER IRA      214 TUSCARORA LANE                                                                               LOUDON         TN    37774

FIDELITY INVESTMENT CUST WILLIAM C GREGORY IRA      4780 MEADOWVIEW LN                                                                               MILFORD        MI    48380

FIDELITY INVESTMENT INC TR CATHERINE A LACEY IRA    802 SPRUCE ST                                                                                    TRUTH/CONSEQUEN NM   87901‐1554
                                                                                                                                                     CES
FIDELITY INVESTMENTS CUST                           FBO DEBORAH L WINFORD IRA               2222 FM 1827                                             MCKINNEY        TX   75071
FIDELITY INVESTMENTS CUST                           FBO TARO SUZUKI IRA                     805 SHEPARDBUSH                                          BIRMINGHAM      MI   48009
FIDELITY INVESTMENTS CUST                           FBO LUCINDA W WILLIAMS IRA              1223 MORNINGSIDE DR                                      ANDERSON        IN   46011
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FIDELITY INVESTMENTS CUST                           FBO CLAYTON WILLIAMS IRA               1223 MORNINGSIDE DR                                      ANDERSON        IN    46011
FIDELITY INVESTMENTS CUST                           FBO BARBARA J BUCHANAN IRA             1331 ST ALBANS                                           YOUNGSTOWN      OH    44511
FIDELITY INVESTMENTS CUST                           KILBY B WILLIAMSON IRA                 909 W WASHINGTON STE 81                                  CHICAGO         IL    60607
FIDELITY INVESTMENTS CUST                           FBO ROBERT L KENYON IRA                6152 RAYMOND RD                                          LOCKPORT        NY    14094
FIDELITY INVESTMENTS CUST                           FBO THERESA MARI BOSS IRA              8650 ST FRANCIS RD                                       FRANKFORT       IL    60423
FIDELITY INVESTMENTS CUST                           FBO LUIS M SANCHEZ IRA                 609 PARKERS DR                                           PORTLAND        MI    48875
FIDELITY INVESTMENTS CUST                           FBO CHARLES A REAY II                  2477 CARTWRIGHT RD                                       RENO            NV    89521
FIDELITY INVESTMENTS CUST                           FBO RONALD VAN DRIESSCHE IRA           1551 W MUNGER RD                                         BAY CITY        MI    48708
FIDELITY INVESTMENTS CUST                           FBO WENDEL L GOOCH IRA                 2975 HIGH ROCK DR                                        MARTINSVILLE    IN    46151
FIDELITY INVESTMENTS CUST                           FBO MICHAEL A JENDRASIAK IRA           1414 RECTOR                                              SPARTA          MI    49345
FIDELITY INVESTMENTS CUST                           FBO GENE D COLEMAN IRA                 9863 CROOKED CREEK BLVD                                  BYRAM           MS    39272
FIDELITY INVESTMENTS CUST                           FBO LOIS B WILLIAMS IRA                3307 WALDECK PL                                          DAYTON          OH    45405
FIDELITY INVESTMENTS CUST                           FBO KATHLEEN J BALOTA IRA              S97W23695 PAR AVE                                        BIG BEND        WI    53103
FIDELITY INVESTMENTS CUST                           FBO MEHANNA K KAIS IRA                 3288 COLUMBINE DR                                        SAGINAW         MI    48603
FIDELITY INVESTMENTS CUST                           FBO ROBERT F HENSLEY JR IRA            14160 MILLERS MILL RD                                    CONSTANTINE     MI    49042
FIDELITY INVESTMENTS CUST                           FBO ALFREDO MOLINA CHAURAND IRA        5100 FOXRIDGE DR            APT 723                      MISSION         KS    66202
FIDELITY INVESTMENTS CUST                           FBO ROBERT D PERKINS IRA               9065 LINDEN RD                                           SWARTZ CREEK    MI    48473
FIDELITY INVESTMENTS CUST                           FBO DARNELL SMITH IRA                  3345 JEANETTE AVE                                        TOLEDO          OH    43608
FIDELITY INVESTMENTS CUST                           FBO SYLVESTER F FABINY IRA             10400 SE 55TH ST                                         OKLAHOMA CITY   OK    73150
FIDELITY INVESTMENTS CUST                           FBO ARVIL BRYANT                       167 ERVIN JONES CEMENTARY                                STEARNS         KY    42647
FIDELITY INVESTMENTS CUST ALBERT YGLESIAS IRA       5966 BINGHAM ST                                                                                 DEARBORN        MI    48126

FIDELITY INVESTMENTS CUST ALFONSO L WILBURN JR      605 HIDDEN BROOKE                                                                               DE SOTO         TX    75115‐3850

FIDELITY INVESTMENTS CUST ALFRED J HASTINGS III     2188 FULLER RD                                                                                  BURT            NY    14028‐9716

FIDELITY INVESTMENTS CUST ALICE V FISHER IRA        4334 HARDISON MILL ROAD                                                                         COLUMBIA        TN    38401‐7673
FIDELITY INVESTMENTS CUST ALLEN G DETTER IRA        2268 ROYAL OAK AVE                                                                              DEFIANCE        OH    43512
FIDELITY INVESTMENTS CUST ALLISON M HANS IRA        3635 WATERFALL LANE                                                                             TUSCALOOSA      AL    35406‐2935

FIDELITY INVESTMENTS CUST ALVIN C SCHUBERT IRA      PO BOX 222                                                                                      SHERWOOD        OH    43556‐0222

FIDELITY INVESTMENTS CUST AMEDEO SPADAFORA          1114 FAIRWAY LANE                                                                               LANSING         MI    48912‐5010

FIDELITY INVESTMENTS CUST AMIN F BISHARA IRA        723 S BROADWAY                         APT D                                                    REDONDO BEACH   CA    90277‐4674
FIDELITY INVESTMENTS CUST AN T MA IRA               201 TONKAWA RIDGE                                                                               HUTTO           TX    78634‐5431
FIDELITY INVESTMENTS CUST ANGELO L JONES            907 MAJESTIC DR                                                                                 ROCHESTER HLS   MI    48306‐3575
FIDELITY INVESTMENTS CUST ANNIE P BURSEY            6365 BURKWOOD DR                                                                                CLAYTON         OH    45315‐9601
FIDELITY INVESTMENTS CUST ANTHONY E COSTA IRA       39447 HEATHERHEATH DR                                                                           CLINTON TWP     MI    48038‐2644

FIDELITY INVESTMENTS CUST ANTHONY GIULIANO IRA      3009 PHILIP AVE                                                                                 BRONX           NY    10465‐2332

FIDELITY INVESTMENTS CUST ANTHONY J MANZARDO        408 FITZNER DR                                                                                  DAVISON         MI    48423‐1950
IRA
FIDELITY INVESTMENTS CUST ARLINE L ALLEN            3580 W WALTON BLVD                                                                              WATERFORD       MI    48329‐4263
FIDELITY INVESTMENTS CUST ARMANDO L LABASTIDA       2712 N MAPLE RD                                                                                 ANN ARBOR       MI    48103‐2159

FIDELITY INVESTMENTS CUST ARVIS S WILLIAMS          9822 CREEKWOOD TRAIL                                                                            DAVISBURG       MI    48350‐2057
FIDELITY INVESTMENTS CUST BALA N MURTHY             2064 OAKWOOD DR                                                                                 TROY            MI    48098
FIDELITY INVESTMENTS CUST BARBARA A BRUCE           7204 NORMAN RD                                                                                  NO TONAWANDA    NY    14120‐4909
FIDELITY INVESTMENTS CUST BARRY H HURT IRA          1910 BIRKDALE RD                                                                                TOLEDO          OH    43615
FIDELITY INVESTMENTS CUST BERNARD L PRZYBOCKI       2675 BLACK FOX WAY                                                                              BUFORD          GA    30519‐7664

FIDELITY INVESTMENTS CUST BERNICE L COOK IRA        2312 CLEVELAND AVE SW                                                                           DECATUR         AL    35601‐6240
FIDELITY INVESTMENTS CUST BETTY MARSHA BOWDLE       453 HIGHWAY 29 SOUTH                                                                            DELIGHT         AR    71940‐8263
IRA
FIDELITY INVESTMENTS CUST BOBBY J SELLS IRA         128 MILL ST                                                                                     PRAIRIE HOME    MO    65068
FIDELITY INVESTMENTS CUST BRADLEY L STINE IRA       2815 FRANKLIN DRIVE                                                                             COLUMBUS        IN    47201
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FIDELITY INVESTMENTS CUST BRENDA B SKIPPER IRA     114 WEST ARLINGTON HEIGHTS                                                                      NORTH AUGUSTA    SC    29841

FIDELITY INVESTMENTS CUST BRIAN A UMLAUF IRA       333 SOUTH ASHLAND AVE                                                                           LA GRANGE        IL    60525

FIDELITY INVESTMENTS CUST BRIAN W HUFFMAN IRA      5220 N CR 500 WEST                                                                              MUNCIE           IN    47304

FIDELITY INVESTMENTS CUST BRUCE L ORR              502 W 36TH ST                                                                                   WILMINGTON       DE    19802‐2013
FIDELITY INVESTMENTS CUST BRYCE M HYATT IRA        2122 SANDLEWOOD DR                                                                              BURTON           MI    48519‐1113
FIDELITY INVESTMENTS CUST CARL L GALLOWAY IRA      1838 W MARSHALL RD                                                                              SAINT JOHNS      MI    48879‐9413

FIDELITY INVESTMENTS CUST CAROL A HATFIELD         2345 HANNAN RD                                                                                  WESTLAND         MI    48186‐3773
FIDELITY INVESTMENTS CUST CAROL E BADGER IRA       5513 NEW MEADOW DR                                                                              YPSILANTI        MI    48197

FIDELITY INVESTMENTS CUST CARSON BRIDGES JR     2846 CHESHIRE WAY                                                                                  GRAND PRAIRIE    TX    75052‐8386
FIDELITY INVESTMENTS CUST CHARLES E MANTOCK IRA 1429 SILVER LINDEN                                                                                 FORT WAYNE       IN    46804

FIDELITY INVESTMENTS CUST CHARLES H CARMAN IRA     770 BIRCH TREE LANE                                                                             ROCHESTER HLS    MI    48306‐3304

FIDELITY INVESTMENTS CUST CHARLES K RITTER         4240 E HURT COURT                                                                               MARTINVILLE      IN    46151‐6168
FIDELITY INVESTMENTS CUST CHARLES L CRIDER         8355 MILL RD                                                                                    TROY             OH    45373‐9672
FIDELITY INVESTMENTS CUST CHARLES L FLETCHER IRA   200 LINCOLN RD                                                                                  FITZGERALD       GA    31750‐6058

FIDELITY INVESTMENTS CUST CHARLES T CAMERON IRA 1218 HOLLY SPRING LANE                                                                             GRAND BLANC      MI    48439

FIDELITY INVESTMENTS CUST CHARLYNE A DONAHOE       9017 E BLUEWATER DR                                                                             CLARKSTON        MI    48348‐4255
IRA
FIDELITY INVESTMENTS CUST CHERYL J NORDMANN        23429 W VAN HORN LANE                                                                           PLAINFIELD       IL    60544

FIDELITY INVESTMENTS CUST CHLOE E BOEHM            442 DEERHAVEN LANE                                                                              HENDERSONVILLE   NC    28739‐8613
FIDELITY INVESTMENTS CUST CLARENCE BUTTS           5643 OLIVE ST                                                                                   KANSAS CITY      MO    64130‐3506
FIDELITY INVESTMENTS CUST CLARENCE JOHNSON JR      14900 ARTESIAN                                                                                  HARVEY           IL    60426‐1306
IRA
FIDELITY INVESTMENTS CUST CLARK T MASON            6660 LE BLANC RD                                                                                WATERFORD        MI    48329‐1213
FIDELITY INVESTMENTS CUST CLEMENTINE TAYLOR IRA    5349 PENNSYLVANIA ST                                                                            DETROIT          MI    48213‐3143

FIDELITY INVESTMENTS CUST CLIFTON KENNEBREW IRA 1024 SUMMER PL NW                                                                                  ACWORTH          GA    30102

FIDELITY INVESTMENTS CUST CONNIE S SMILEY          PO BOX 262                                                                                      GRAFTON          OH    44044‐0262
FIDELITY INVESTMENTS CUST CURTIS K GILLIAM IRA     C/O GMODC/IES                          MIDDLE EAS           PO BOX 902                          WARREN           MI    48090

FIDELITY INVESTMENTS CUST DANIEL B HARRIS          1381 COOLIDGE ST                                                                                CONKLIN          MI    49403‐8708
FIDELITY INVESTMENTS CUST DANIEL F CLEARY          2456 GREENBRIER COURT                                                                           WESTON           FL    33327‐1438
FIDELITY INVESTMENTS CUST DANIELE PESSIA IRA       106 BLUE BIRCH DRIVE                                                                            ROCHESTER        NY    14612
FIDELITY INVESTMENTS CUST DARYL W SPAULDING IRA    6112 KINGS SHIRE RD                                                                             GRAND BLANC      MI    48439‐8712

FIDELITY INVESTMENTS CUST DAVE GROLL IRA           452 FARMRIDGE CT                                                                                ROCHESTER HLS    MI    48307‐3420
FIDELITY INVESTMENTS CUST DAVID B EHATT IRA        4501 FORGE RD                                                                                   PERRY HALL       MD    21128‐9547
FIDELITY INVESTMENTS CUST DAVID B PARKER           4118 MODOC RD                                                                                   SANTA BARBARA    CA    93110‐1808
FIDELITY INVESTMENTS CUST DAVID E FELLER IRA       7259 E COLDWATER RD                                                                             DAVISON          MI    48423‐8944
FIDELITY INVESTMENTS CUST DAVID E MILLER           508 WILD WILLOW DR                                                                              EL PASO          TX    79922‐2211
FIDELITY INVESTMENTS CUST DAVID H ONG IRA          1903 FLEETWOOD DR                                                                               TROY             MI    48098
FIDELITY INVESTMENTS CUST DAVID L HANKERSON IRA    18100 ARCHDALE                                                                                  DETROIT          MI    48235‐3285

FIDELITY INVESTMENTS CUST DAVID M TRAINOR IRA      BOX 34557 ROUTE D                                                                               SANTA FE         MO    65282

FIDELITY INVESTMENTS CUST DAVID MOSLEY IRA         236 E TAYLOR ST                                                                                 FLINT            MI    48505‐4984
FIDELITY INVESTMENTS CUST DAVID TOBABEN            2346 KRONNER RD                                                                                 COLUMBUS         MI    48063‐3404
FIDELITY INVESTMENTS CUST DAVID VALDEZ IRA         4730 GLENALDA DR                                                                                CLARKSTON        MI    48346‐3640
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FIDELITY INVESTMENTS CUST DAWN L WILLIAMS IRA      204 DANA LANE                                                                                  BOSSIER CITY   LA    71111‐6330

FIDELITY INVESTMENTS CUST DEBORAH B DOLAN          10865 LUNA PT RD                                                                               TALLAHASSEE    FL    32312‐7015
FIDELITY INVESTMENTS CUST DENIS R HINCE            46 HILL ST                                                                                     MEDWAY         MA    02053‐2411
FIDELITY INVESTMENTS CUST DENISE COLEMAN           5917 HAVERHILL                                                                                 DETROIT        MI    48224‐3248
FIDELITY INVESTMENTS CUST DENNIS B DECATOR         1904 SOUTH DELANO ST                                                                           SAINT CLAIR    MI    48079‐5555
FIDELITY INVESTMENTS CUST DEVAKI GANESAN MD        13908 PLANTATION WAY                                                                           EDMOND         OK    73013‐7268

FIDELITY INVESTMENTS CUST DIANE L SWANSON          7705 HARCOURT DR                                                                               FORT WAYNE     IN    46835‐4110
FIDELITY INVESTMENTS CUST DIANE W MORETTI          5111 E VIOLA AVE                                                                               YOUNGSTOWN     OH    44515‐1750
FIDELITY INVESTMENTS CUST DIEDERIK LOT IRA         BEERSELSESTRAAT                       BEERSEL                                BELGIUM
FIDELITY INVESTMENTS CUST DOMINIC CERCONE IRA      6610 HARVEST RIDGE                                                                             YOUNGSTOWN     OH    44515

FIDELITY INVESTMENTS CUST DONALD A RICE IRA        PO BOX 233                                                                                     BYRON          MI    48418‐0233
FIDELITY INVESTMENTS CUST DONALD C TOOMEY IRA      3040 N FLEMING RD                                                                              FOWLERVILLE    MI    48836

FIDELITY INVESTMENTS CUST DONALD D ELLIOTT IRA     5585 RENDON NEW HOPE RD                                                                        FORT WORTH     TX    76140‐8111

FIDELITY INVESTMENTS CUST DONALD F BARTA           26655 AKINS RD                                                                                 COLUMBIA STA   OH    44028‐9725
FIDELITY INVESTMENTS CUST DONALD G MASSEY IRA      33361 W LAKE DRIVE                                                                             STERLING HTS   MI    48312

FIDELITY INVESTMENTS CUST DONALD J KARL IRA        30 WALNUT ST                                                                                   EAST AURORA    NY    14052‐2330
FIDELITY INVESTMENTS CUST DONALD M CARLSON IRA     14743 RONNIE LANE                                                                              LIVONIA        MI    48154

FIDELITY INVESTMENTS CUST DONALD P SURPRENANT      545 E MCARTHUR ST                                                                              CORUNNA        MI    48817‐1787

FIDELITY INVESTMENTS CUST DONALD PHILLIPS IRA      176 SOUTH 8TH                                                                                  WOOD RIVER     IL    62095

FIDELITY INVESTMENTS CUST DONALD R GEROW IRA       3216 N WASHBURN RD                                                                             DAVISON        MI    48423

FIDELITY INVESTMENTS CUST DONNA L BERRY IRA     370 TEMPLE DRIVE                                                                                  HARRISON       MI    48625
FIDELITY INVESTMENTS CUST DONNA M WESOLOSKI IRA 2392 DERBY RD                                                                                     BIRMINGHAM     MI    48009‐5817

FIDELITY INVESTMENTS CUST DORIS J RISER IRA        20081 COOLEY ST                                                                                DETROIT        MI    48219‐1208
FIDELITY INVESTMENTS CUST DOROTHY NELSON           6802 FLEMING ROAD                                                                              FLINT          MI    48505
FIDELITY INVESTMENTS CUST DWIGHT A SMALL           4800 RIM ROCK WAY                                                                              FORT COLLINS   CO    80526‐4617
FIDELITY INVESTMENTS CUST DYANNE K MURRAY IRA      145 WALKER STREET                                                                              IMLAY CITY     MI    48444‐1442

FIDELITY INVESTMENTS CUST EAMON A POWER IRA        71760 CAMPGROUND                                                                               ROMEO          MI    48065

FIDELITY INVESTMENTS CUST EDWARD SROKA IRA         118 ROSSITER AVE                                                                               YONKERS        NY    10701
FIDELITY INVESTMENTS CUST ELDON G LEAPHART         23680 OAK GLEN DR                                                                              SOUTHFIELD     MI    48034‐3497
FIDELITY INVESTMENTS CUST ELWYNN L MCDOWELL        PO BOX 158                                                                                     NEW LOTHROP    MI    48460‐0158

FIDELITY INVESTMENTS CUST EMMA M BUCKLAND          3806 KIAMENSI AVE                                                                              WILMINGTON     DE    19808‐6012

FIDELITY INVESTMENTS CUST ERIC F LUTZ              BOX 1004                                                                                       CHARLESTOWN    NH    03603‐1004
FIDELITY INVESTMENTS CUST ERIC P DIENER            1084 WINDSOR ST                                                                                FLINT          MI    48507‐4239
FIDELITY INVESTMENTS CUST ERWIN D CUMMINGS IRA     219 FORGE RD                                                                                   COLLEGEVILLE   PA    19426‐1707

FIDELITY INVESTMENTS CUST EUGENE R GRIMM IRA       1695 WESTWIND PL                                                                               YOUNGSTOWN     OH    44515‐5541

FIDELITY INVESTMENTS CUST EVAN C TSANG IRA         3840 KINGS POINT DR                                                                            TROY           MI    48083
FIDELITY INVESTMENTS CUST FAY SALMACI IRA          14301 ROBERTSON STREET                                                                         DEARBON        MI    48126‐3418
FIDELITY INVESTMENTS CUST FBO ALAN T POPILEK IRA   7488 SILVER FOX RUN                                                                            SWARTZ CREEK   MI    48473

FIDELITY INVESTMENTS CUST FBO ALBERT A DEPRIEST    6 JONATHON LN                                                                                  YOUNGSTOWN     OH    44511
IRA
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FIDELITY INVESTMENTS CUST FBO ALBERT J RENCHKO    1476 JUDY LANE                                                                                  MONROEVILLE     PA    15146
IRA
FIDELITY INVESTMENTS CUST FBO ALBERT WILLIAMS IRA 5504 SAVINA AVE                                                                                 DAYTON          OH    45415

FIDELITY INVESTMENTS CUST FBO ALISON A KAUFFMAN 108 RECOVERY DR                                                                                   CENTREVILLE     MD    21617
IRA
FIDELITY INVESTMENTS CUST FBO ALONDRA BARNES IRA 8820 SADDLEHORN DR                      APT 153                                                  IRVING          TX    75063

FIDELITY INVESTMENTS CUST FBO ALVIN L KINNEBREW 2675 COLDSPRING TRL SW                                                                            MARIETTA        GA    30064
IRA
FIDELITY INVESTMENTS CUST FBO ANETTE D GOTHA IRA 9434 PERRY ROAD                                                                                  ERIE            MI    48133

FIDELITY INVESTMENTS CUST FBO ANGELA M GALLI IRA 19 WILLELA PLACE                                                                                 NEWBURGH        NY    12550

FIDELITY INVESTMENTS CUST FBO ANGELO FALLONE IRA 2283 HICKORY CIRCLE DR                                                                           HOWELL          MI    48855

FIDELITY INVESTMENTS CUST FBO ANTHONY             PO BOX 9                                                                                        CASEVILLE       MI    48725
MANGIAPANE IRA
FIDELITY INVESTMENTS CUST FBO ANTHONY P KEMPA     7665 EDDY ROAD                                                                                  COLDEN          NY    14033‐9744
IRA
FIDELITY INVESTMENTS CUST FBO ANTOINE V ARNOLD    16220 N 7TH STREET APT 2389                                                                     PHOENIX         AZ    85022

FIDELITY INVESTMENTS CUST FBO ARNOLD FLORES IRA   936 N 103RD STREET                                                                              MESA            AZ    85207‐3216

FIDELITY INVESTMENTS CUST FBO AUBREY L BARKER IRA 8070 DOUTHIT RD                                                                                 HIGGINSVILLE    MO    64037‐1793

FIDELITY INVESTMENTS CUST FBO BARBRA A CARSON   PO BOX 4163                                                                                       FLINT           MI    48504
IRA
FIDELITY INVESTMENTS CUST FBO BARRY A MASON IRA 2850 REGENT                                                                                       DAYTON          OH    45409

FIDELITY INVESTMENTS CUST FBO BERTHA M WILLIAMS 6730 BROWNS MILL RD                                                                               LITHONIA        GA    30038
IRA
FIDELITY INVESTMENTS CUST FBO BRENDA E KIMBLE IRA 619 ASHLEY CIRCLE                                                                               ROCHESTER HLS   MI    48307

FIDELITY INVESTMENTS CUST FBO BRIAN K ERNST IRA   6246 SIMLER DR                                                                                  CLARKSTON       MI    48346

FIDELITY INVESTMENTS CUST FBO BRIAN M LOCKHART 366 MERION DRIVE                                                                                   CARY            IL    60013
IRA
FIDELITY INVESTMENTS CUST FBO BRYAN C HAMILTON 31019 DORCHESTER APT 280                                                                           NEW HUDSON      MI    48165
IRA
FIDELITY INVESTMENTS CUST FBO CALVIN C WILCOX IRA 108 COFFEE ST                                                                                   FITZGERALD      GA    31750

FIDELITY INVESTMENTS CUST FBO CANARY E MALONE     425 MAXWELL                                                                                     PONTIAC         MI    48342
IRA
FIDELITY INVESTMENTS CUST FBO CARL M PEREZ IRA    14436 E WILLIS RD                                                                               GILBERT         AZ    85296

FIDELITY INVESTMENTS CUST FBO CAROL A BRENNAN    41130 FOX RUN RD #517                                                                            NOVI            MI    48377
IRA
FIDELITY INVESTMENTS CUST FBO CAROL A MONBERG 22637 E 11 MILE RD                                                                                  ST CLR SHORES   MI    48081‐2536
IRA
FIDELITY INVESTMENTS CUST FBO CAROL A ORANGE IRA 789 SHIRL DRIVE                                                                                  TIPP CITY       OH    45371

FIDELITY INVESTMENTS CUST FBO CAROL A SNOWDEN     28675 SAN CARLOS                                                                                SOUTHFIELD      MI    48076
IRA
FIDELITY INVESTMENTS CUST FBO CAROL E FREY IRA    1 WILLARD STREET                                                                                WAREHAM         MA    02571

FIDELITY INVESTMENTS CUST FBO CAROL M             305 HEMLOCK                                                                                     S MILWAUKEE     WI    53172
GRUSZCYNSKI IRA
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FIDELITY INVESTMENTS CUST FBO CAROLE A GUNDRY    9220 SE 136TH PLACE                                                                                SUMMERFIELD     FL    34491
IRA
FIDELITY INVESTMENTS CUST FBO CAROLYN E ROSS IRA 20239 ORLEANS STREET                                                                               HIGHLAND PARK   MI    48203

FIDELITY INVESTMENTS CUST FBO CAROLYN W DEAN IRA 6205 GREENGATE LANE                                                                                WAXHAW          NC    28173

FIDELITY INVESTMENTS CUST FBO CARTER W WELCH IRA 19427 PIERSON                                                                                      DETROIT         MI    48219

FIDELITY INVESTMENTS CUST FBO CEE SCHERB IRA        3175 JENNELLA DRIVE                                                                             WALLED LAKE     MI    48390
FIDELITY INVESTMENTS CUST FBO CHARLES M             9132 E GRANDVIEW DR                                                                             MESA            AZ    85207
THOMPSON IRA
FIDELITY INVESTMENTS CUST FBO CHARLES MILLER IRA    1090 DYEMEADOWS LANE                                                                            FLINT           MI    48532

FIDELITY INVESTMENTS CUST FBO CHARLES P HILL IRA    16500 FAIRMOUNT DR                                                                              DETROIT         MI    48205

FIDELITY INVESTMENTS CUST FBO CHARLES W BUMPASS 216 MILL CREEK LANE                                                                                 HAUGHTON        LA    71037
IRA
FIDELITY INVESTMENTS CUST FBO CHARLIE L GROSS IRA 6499 LAHRING RD                                                                                   HOLLY           MI    48442

FIDELITY INVESTMENTS CUST FBO CHERI C GRIFFIN IRA   13924 S TRACY AVE                                                                               RIVERDALE       IL    60827

FIDELITY INVESTMENTS CUST FBO CHRIS D THELEN IRA    15 PRAIRIE EDGE WAY                                                                             MADISON         WI    53711

FIDELITY INVESTMENTS CUST FBO CLIFFORD R SHEAR IRA 4075 GOTFREDSON RD                                                                               PLYMOUTH        MI    48170

FIDELITY INVESTMENTS CUST FBO CLYDE H FREIBURGER 4350 MARCUS                                                                                        WATERFORD       MI    48329
IRA
FIDELITY INVESTMENTS CUST FBO CLYDE J STEVENS IRA 3100 VIEWMONT COURT                                                                               EDMOND          OK    73003‐2138

FIDELITY INVESTMENTS CUST FBO COLLEEN P DODD IRA 2237 DEADORA DRIVE                                                                                 BEL AIR         MD    21015

FIDELITY INVESTMENTS CUST FBO CORNELIUS W         10121 LINDEN RD                                                                                   FENTON          MI    48430
LEONARD IV IRA
FIDELITY INVESTMENTS CUST FBO CURTIS CALDWELL IRA 1022 MEANDERING WAY                                                                               FRANKLIN        TN    37067

FIDELITY INVESTMENTS CUST FBO CYNTHIA A PRINE IRA 383 HICKORY DR                                                                                    TROY            MI    48083‐1621

FIDELITY INVESTMENTS CUST FBO DANIEL F CLARK SR    221 S 4TH ST                                                                                     MIAMISBURG      OH    45342
IRA
FIDELITY INVESTMENTS CUST FBO DANIEL R FERRIER IRA 12312 CAMP CREEK LN                                                                              HUDSON          FL    34667

FIDELITY INVESTMENTS CUST FBO DARWIN L WAYNE IRA 923 BEACHWAY DRIVE                                                                                 WHITE LAKE      MI    48383

FIDELITY INVESTMENTS CUST FBO DAVID B ROSS IRA      4663 BONNIE AVE SE                                                                              KENTWOOD        MI    49508

FIDELITY INVESTMENTS CUST FBO DAVID E CHISMARK      2 INNER DRIVE                                                                                   VIENNA          OH    44473
IRA
FIDELITY INVESTMENTS CUST FBO DAVID E HALL IRA      910 BRIDGESTONE DRIVE                                                                           ROCHESTER       MI    48309‐1620

FIDELITY INVESTMENTS CUST FBO DAVID R ANDERSON 42475 PARKHURST RD                                                                                   PLYMOUTH        MI    48170‐2525
IRA
FIDELITY INVESTMENTS CUST FBO DAVID S ROZANSKI    794 JENNIE DR                                                                                     SEVERN          MD    21144
IRA
FIDELITY INVESTMENTS CUST FBO DAVID S WEBSTER IRA 25841 ARCADIA DR                                                                                  NOVI            MI    48374

FIDELITY INVESTMENTS CUST FBO DAVID W HAWKINS       3733 FALCON RIDGE                                                                               JANESVILLE      WI    53545
IRA
FIDELITY INVESTMENTS CUST FBO DAYNA J YOLISH IRA    7 GOLDENROD COURT                                                                               CHESHIRE        CT    06410‐3323
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FIDELITY INVESTMENTS CUST FBO DEBORAH A            PO BOX 7088                                                                                    FLINT           MI    48507
THOMPSON IRA
FIDELITY INVESTMENTS CUST FBO DEBRA I UDE IRA      6700 EAST 101ST                                                                                KANSAS CITY     MO    64134

FIDELITY INVESTMENTS CUST FBO DENNIS J HELFMAN     15 VALLEY VIEW TERR                                                                            MONTVALE        NJ    07645‐1022
IRA
FIDELITY INVESTMENTS CUST FBO DENNIS L JOST IRA    250 REAVIS PL                                                                                  WEBSTER GRVS    MO    63119‐4036

FIDELITY INVESTMENTS CUST FBO DIANE M BUDZYN IRA 27308 ROAN                                                                                       WARREN          MI    48093

FIDELITY INVESTMENTS CUST FBO DIANE R WILKINS IRA 19 N MANOR RD                                                                                   BROOMALL        PA    19008

FIDELITY INVESTMENTS CUST FBO DONALD HILL IRA      2005 MARLINDATE RD                                                                             CLEVELAND HTS   OH    44118

FIDELITY INVESTMENTS CUST FBO DONALD L DELONG   2225 ROSS HANOVER RD                                                                              HAMILTON        OH    45013
IRA
FIDELITY INVESTMENTS CUST FBO DONALD L SANTMYER 3500 MILLSBORO RD W                                                                               MANSFIELD       OH    44903
IRA
FIDELITY INVESTMENTS CUST FBO DONALD R GIBSON   970 LAVER RD                                                                                      MANSFIELD       OH    44905
IRA
FIDELITY INVESTMENTS CUST FBO DONNA L ABNEY IRA 2446 N LAFOUNTAIN ST                                                                              KOKOMO          IN    46901

FIDELITY INVESTMENTS CUST FBO DOROTHY M LARK IRA 6329 EAST RAYMOND ST                                                                             INDIANAPOLIS    IN    46203

FIDELITY INVESTMENTS CUST FBO DOUGLAS L            10181 E RICHFIELD RD                                                                           DAVISON         MI    48423
FAIRCLOTH IRA
FIDELITY INVESTMENTS CUST FBO DWIGHT R LAWLER      8119 FENTON RD                                                                                 GRAND BLANC     MI    48439

FIDELITY INVESTMENTS CUST FBO ELIHER H THOMAS IRA 13991 ST MARYS                                                                                  DETROIT         MI    48227‐1723

FIDELITY INVESTMENTS CUST FBO ELLIOT D BERRY IRA   2506 FLEETWOOD AVE                                                                             CINCINNATI      OH    45211

FIDELITY INVESTMENTS CUST FBO EMERY E COON JR IRA 5301 TANGELO STREET                                                                             LEESBURG        FL    34748

FIDELITY INVESTMENTS CUST FBO ENRICA               5 CENTENNIAL COURT                                                                             TOTOWA          NJ    07512‐1652
MONTEMURRO IRA
FIDELITY INVESTMENTS CUST FBO EZIO I BISOGNI IRA   6523 PARK VALLEY DR                                                                            CLARKSTON       MI    48348

FIDELITY INVESTMENTS CUST FBO FELIX MONROE JR IRA 2317 LAKE RIDGE DR                                                                              GRAND BLANC     MI    48439

FIDELITY INVESTMENTS CUST FBO FORD C JEFFERSON   281 SUGARHILL                                                                                    ALVATON         KY    42122
IRA
FIDELITY INVESTMENTS CUST FBO FRANK ANDERSON     710 GRAN HERITAGE WAY                                                                            DACULA          GA    30019
IRA
FIDELITY INVESTMENTS CUST FBO FREDERICK D COOPER 2523 LAWNSHIRE DRIVE                                                                             AKRON           OH    44321‐2317
IRA
FIDELITY INVESTMENTS CUST FBO GALE L CONARTON    4280 PRESIDENTS WAY                                                                              DEWITT          MI    48820
IRA
FIDELITY INVESTMENTS CUST FBO GARRETT O WILLIAMS 5310 VERMILLION PLACE                                                                            KEITHVILLE      LA    71047
IRA
FIDELITY INVESTMENTS CUST FBO GARY R SIMON IRA   6530 PAUL REVERE LN                                                                              CANTON          MI    48187

FIDELITY INVESTMENTS CUST FBO GEORGE A LOCASCIO 24 SAINT KITTS                                                                                    MONARCH BEACH   CA    92629
IRA
FIDELITY INVESTMENTS CUST FBO GERALD D ANDERSON PO BOX 341                                                                                        FREELAND        MI    48623
IRA
FIDELITY INVESTMENTS CUST FBO GLORIA A WEBER IRA 1018 JANCEY ST                                                                                   PITTSBURGH      PA    15206‐1339
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FIDELITY INVESTMENTS CUST FBO GLORIA B BLANK IRA     12572 MEDALIST PKWY                                                                           CARMEL          IN    46033

FIDELITY INVESTMENTS CUST FBO GREGORY J BROWN        932 HARRINGTON LN                                                                             EAST LANSING    MI    48823
IRA
FIDELITY INVESTMENTS CUST FBO GREGORY M              5800 DEARBORN PKWY                                                                            DOWNERS GROVE   IL    60516
MCCAMBRIDG IRA
FIDELITY INVESTMENTS CUST FBO GREGORY R              4850 S BILL RD                                                                                DURAND          MI    48429
MIDDLETON IRA
FIDELITY INVESTMENTS CUST FBO GREGORY T              221 CUYAHOGA COURT                                                                            SOUTH LYON      MI    48178
SCHROEDER IRA
FIDELITY INVESTMENTS CUST FBO GUISEPPE PADALINO      141 PENDRAGON WAY                                                                             MANTUA          NJ    08051
IRA
FIDELITY INVESTMENTS CUST FBO HENRY C LYTLE JR IRA   452 WEST GLENHAVEN AVENUE                                                                     YOUNGSTOWN      OH    44511

FIDELITY INVESTMENTS CUST FBO HORACE BYFIELD IRA 35 LEGENDS WAY                                                                                    ROCHESTER       NY    14612

FIDELITY INVESTMENTS CUST FBO HOWARD L STEWART 1601 LEAIRD DR                                                                                      ANN ARBOR       MI    48105
IRA
FIDELITY INVESTMENTS CUST FBO IKEDA K EVANS IRA 2525 CARNEGIE STREET                                                                               DAYTON          OH    45406

FIDELITY INVESTMENTS CUST FBO IRA EDWARDS IRA        12098 COOLIDGE RD                                                                             GOODRICH        MI    48438

FIDELITY INVESTMENTS CUST FBO JACK T FORYSTEK IRA 9403 N BOWERS LAKE RD                                                                            MILTON          WI    53563

FIDELITY INVESTMENTS CUST FBO JACQUELINE E DAVIS     47062 HIDDEN RIVER CIR N                                                                      CANTON          MI    48188
IRA
FIDELITY INVESTMENTS CUST FBO JAMES A MILLER IRA     9839 ARN DRIVE                                                                                CENTERVILLE     OH    45458

FIDELITY INVESTMENTS CUST FBO JAMES C OTTO IRA       708 NE CORONADO                                                                               LEES SUMMIT     MO    64086

FIDELITY INVESTMENTS CUST FBO JAMES C            13809 ROCKY RIDGE                                                                                 HARTLAND        MI    48353
WITHERSPOON IRA
FIDELITY INVESTMENTS CUST FBO JAMES D THOMAS IRA 1008 PAR 4 CIRCLE                                                                                 KALAMAZOO       MI    49008

FIDELITY INVESTMENTS CUST FBO JAMES H DAVISON IRA 1535 NESTER DRIVE                                                                                WINCHESTER      VA    22601

FIDELITY INVESTMENTS CUST FBO JAMES H THOMAS IRA 17007 CORAL GABLES DR                                                                             SOUTHFIELD      MI    48076‐4782

FIDELITY INVESTMENTS CUST FBO JAMES J DIFAZIO IRA    1000 WOODLAND AVE                                                                             GLENDORA        NJ    08029

FIDELITY INVESTMENTS CUST FBO JAMES R BROWN IRA 520 JEAN LN                                                                                        BATTLE CREEK    MI    49015

FIDELITY INVESTMENTS CUST FBO JAMES SWAIN JR IRA     9419 NEWGATE                                                                                  NEW HAVEN       IN    46774

FIDELITY INVESTMENTS CUST FBO JAMIE L HOFF IRA       108 ZENGEL DR                                                                                 CENTERVILLE     OH    45459

FIDELITY INVESTMENTS CUST FBO JANE L CURRAN IRA      502 ELIZABETH RD                                                                              GLEN BURNIE     MD    21061‐4638

FIDELITY INVESTMENTS CUST FBO JANE M PERRAULT        8310 SEYMOUR ROAD                                                                             GAINES          MI    48436

FIDELITY INVESTMENTS CUST FBO JEAN A STEWART IRA 5038 BONNIE BRAE                                                                                  INDIANAPOLIS    IN    46228

FIDELITY INVESTMENTS CUST FBO JEFFERY A MCMANN 560 GROVENBURG RD                                                                                   MASON           MI    48854
IRA
FIDELITY INVESTMENTS CUST FBO JEFFERY S BRIDGES  9200 STANFORD RD                                                                                  ATHENS          AL    35611
IRA
FIDELITY INVESTMENTS CUST FBO JEFFREY P SCHROEDL 635 MONROE STREET                                                                                 FORT ATKINSON   WI    53538
IRA
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FIDELITY INVESTMENTS CUST FBO JEFFREY P THOMAS  16022 SECRETARIAT                                                                                ROSEVILLE       MI    48066
IRA
FIDELITY INVESTMENTS CUST FBO JEROME C CHAUMLEY 485 FERRY                                                                                        PONTIAC         MI    48341
IRA
FIDELITY INVESTMENTS CUST FBO JOANN POWERS IRA 216 DRAWYERS                                                                                      MIDDLETOWN      DE    19709

FIDELITY INVESTMENTS CUST FBO JOHN A MOSES JR IRA PO BOX 9                                                                                       NEWPORT         MI    48166

FIDELITY INVESTMENTS CUST FBO JOHN A PENNOYER       13733 85TH PLACE NORTH                                                                       MAPLE GROVE     MN    55369‐9235
IRA
FIDELITY INVESTMENTS CUST FBO JOHN BURNS JR IRA     2078 WOODROW WILSON BLVD                                                                     W BLOOMFIELD    MI    48324

FIDELITY INVESTMENTS CUST FBO JOHN C JORDAN IRA     6200 TALLADAY RD                                                                             MILAN           MI    48160

FIDELITY INVESTMENTS CUST FBO JOHN D EDWARDS IRA 7904 LANSFAIRE                                                                                  MUNCIE          IN    47304

FIDELITY INVESTMENTS CUST FBO JOHN J ZEILSTRA IRA   200 S PLEASANT ST                   FLOOR 2                                                  ROYAL OAK       MI    48067

FIDELITY INVESTMENTS CUST FBO JOHN L SUTHERLAND 10946 W WILBUR HWY                                                                               EATON RAPIDS    MI    48827
IRA
FIDELITY INVESTMENTS CUST FBO JOHN SCHAVE JR IRA PO BOX 1                               5800 BRINGING RD                                         PORT HOPE       MI    48468

FIDELITY INVESTMENTS CUST FBO JOHN W AUSTIN IRA     10873 WEST POINTE                                                                            TAYLOR          MI    48180

FIDELITY INVESTMENTS CUST FBO JOHN YASCHEN IRA      347 WALNUT DRIVE                                                                             EAST CHINA      MI    48054‐4193

FIDELITY INVESTMENTS CUST FBO JON E BEAM IRA     6617 SWEET POTATO RIDGE RD                                                                      ENGLEWOOD       OH    45322
FIDELITY INVESTMENTS CUST FBO JOSE ARREDONDO IRA 704 HERITAGE COURT                                                                              FRANKLIN        TN    37067

FIDELITY INVESTMENTS CUST FBO JOSEPH A RODGERS 8948 BROOKSHIRE COURT                                                                             JACKSONVILLE    FL    32257
IRA
FIDELITY INVESTMENTS CUST FBO JOSEPH B VANSTON 65 BONIFACE DR                                                                                    ROCHESTER       NY    14620
IRA
FIDELITY INVESTMENTS CUST FBO JOSEPH HORVATH IRA 4985 TRUMAN MT RD                                                                               GAINESVILLE     GA    30506

FIDELITY INVESTMENTS CUST FBO JOSEPH J MISURACA 1085 WYCOMB DR                                                                                   FLORISSANT      MO    63033
IRA
FIDELITY INVESTMENTS CUST FBO JOSEPH K WILKINS IRA 7770 BEAVER RD                                                                                SAINT CHARLES   MI    48655

FIDELITY INVESTMENTS CUST FBO JOSEPH KRASCELL IRA 318 NORTH DRIVE                                                                                MOUNT MORRIS    MI    48458

FIDELITY INVESTMENTS CUST FBO JOSEPH W           4020 SABLE RIDGE DR                                                                             BELLBROOK       OH    45305
LOEFFELMAN IRA
FIDELITY INVESTMENTS CUST FBO JOSHUA B WICKS IRA 531 VICTORIAN LANE                                                                              BELLEVILLE      MI    48111

FIDELITY INVESTMENTS CUST FBO JUDY B OLSZYK IRA     501 E MARYLAND AVE                                                                           CREWE           VA    23930

FIDELITY INVESTMENTS CUST FBO JULIA E ANTONELLI     1096 ISLAND DR                                                                               COMMERCE TWP    MI    48382
IRA
FIDELITY INVESTMENTS CUST FBO KAREN MURPHY IRA      15606 CONNIE LN                                                                              MONTGOMERY      TX    77316

FIDELITY INVESTMENTS CUST FBO KAY B WARD IRA        21928 WILSHIRE CIR                                                                           MACOMB          MI    48044‐3718

FIDELITY INVESTMENTS CUST FBO KAY J MCMAHON IRA 13214 EXETER RD                                                                                  CARLETON        MI    48117

FIDELITY INVESTMENTS CUST FBO KEITH D LEWIS IRA     7740 E MAWSON RD                                                                             MESA            AZ    85207‐1219

FIDELITY INVESTMENTS CUST FBO KENNETH G MILLETT     21 FOREST RD                                                                                 ACTON           MA    01720‐4508
IRA
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FIDELITY INVESTMENTS CUST FBO KENNETH JACKSON    650 W SIEBENTHALER AVE                                                                           DAYTON          OH    45405
IRA
FIDELITY INVESTMENTS CUST FBO KENNETH M KING IRA 9470 GARFORTH ST                                                                                 WHITE LAKE      MI    48386

FIDELITY INVESTMENTS CUST FBO KEVIN A KIDAWA IRA 103 SHEPHERD RD                                                                                  CHERRY HILL     NJ    08034

FIDELITY INVESTMENTS CUST FBO KEVIN J BOLAND IRA    10824 LUDLOW AVE                                                                              HUNTINGTN WDS   MI    48070

FIDELITY INVESTMENTS CUST FBO LAMAR B STARNES       8633 WOODBURN‐ALLEN SPRG                                                                      ALVATON         KY    42122‐9773
IRA
FIDELITY INVESTMENTS CUST FBO LARRY J ALLEN IRA     6 DAYTON ST                                                                                   OXFORD          MI    48371

FIDELITY INVESTMENTS CUST FBO LARRY J SMITH IRA     7114 TALLMAN RD                                                                               WESTPHALIA      MI    48894

FIDELITY INVESTMENTS CUST FBO LENIDA J RAMSAY IRA 731 LYNNDALE DR                                                                                 ROCHESTER       MI    48309

FIDELITY INVESTMENTS CUST FBO LENVI TENNESSEE JR    2829 WABASH DR                                                                                NEW ORLEANS     LA    70114‐6435
IRA
FIDELITY INVESTMENTS CUST FBO LEROY W               10 E ESPLANADE                                                                                BRICK           NJ    08723
HUELSENBECK IRA
FIDELITY INVESTMENTS CUST FBO LESLIE H BRAEKEVELT   4425 BETHUY RD                                                                                CASCO           MI    48064‐2304
IRA
FIDELITY INVESTMENTS CUST FBO LIZ S WEE IRA         1740 MACKWOOD RD                                                                              ROCHESTER       MI    48307
FIDELITY INVESTMENTS CUST FBO LOUIS O ROLLINS IRA   1240 TYLER RD                                                                                 LEXINGTON       TN    38351

FIDELITY INVESTMENTS CUST FBO LYNDA BRINKLEY IRA    7473 KIPLING                                                                                  DETROIT         MI    48206

FIDELITY INVESTMENTS CUST FBO MARCIA M BOONE      1720 OXLEY DR                                                                                   FLINT           MI    48504‐7026
IRA
FIDELITY INVESTMENTS CUST FBO MARCIA S            11661 FROST ROAD                                                                                TIPP CITY       OH    45371
ARMSTRONG IRA
FIDELITY INVESTMENTS CUST FBO MARIA A ROBERTS IRA 17611 SOUTH DRIVE                                                                               CYPRESS         TX    77433

FIDELITY INVESTMENTS CUST FBO MARIAM ADAMS IRA 4403 WESTCHESTER                                                                                   DECATUR         GA    30035

FIDELITY INVESTMENTS CUST FBO MARIANNA          234 FENTON STREET                                                                                 BUFFALO         NY    14206
HUDYMIAK IRA
FIDELITY INVESTMENTS CUST FBO MARK C MAZZULLO   4356 SUNDANCE CIRCLE                                                                              HOWELL          MI    48843
IRA
FIDELITY INVESTMENTS CUST FBO MARK J MCHUGH IRA 2171 BEECHNUT TRAIL                                                                               HOLT            MI    48842

FIDELITY INVESTMENTS CUST FBO MARVIN E BAUCOM 643 PINE BROW TRL                                                                                   CHATTANOOGA     TN    37421
IRA
FIDELITY INVESTMENTS CUST FBO MARY O STEMPLE IRA 1305 EDGEHILL DRIVE SE                                                                           WARREN          OH    44484‐4519

FIDELITY INVESTMENTS CUST FBO MAURICE J DUBEAU      151 LAKE SHORE DR                                                                             BLACKSTONE      MA    01504‐1402
IRA
FIDELITY INVESTMENTS CUST FBO MERL NAUMOWICZ        962 BURNS RD                                                                                  MILFORD         MI    48381
IRA
FIDELITY INVESTMENTS CUST FBO MERLE W FALK IRA      10346 KING RD                                                                                 DAVISBURG       MI    48350

FIDELITY INVESTMENTS CUST FBO MERLIN J NICHOLS IRA 6910 LONGVIEW                                                                                  SHAWNEE         KS    66218

FIDELITY INVESTMENTS CUST FBO MICHAEL A KOVIACK 18800 SHARON RD                                                                                   OAKLEY          MI    48649
IRA
FIDELITY INVESTMENTS CUST FBO MICHAEL F MCGARRY 5786 REDBIRD COURT                                                                                DAYTON          OH    45431
IRA
FIDELITY INVESTMENTS CUST FBO MICHAEL J SHAFFER PO BOX 272                                                                                        SCHOOLCRAFT     MI    49087
IRA
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FIDELITY INVESTMENTS CUST FBO MIKE A SANCHEZ IRA 15060 CUTLER DR                                                                                    LINDEN          MI    48451

FIDELITY INVESTMENTS CUST FBO MILBURN D DECKER 17239 HWY 196                                                                                        NANCY           KY    42544
IRA
FIDELITY INVESTMENTS CUST FBO NICOLAS BIDNIUK IRA 1410 HARDLEY                                                                                      BEL AIR         MD    21014

FIDELITY INVESTMENTS CUST FBO NINA M HERVEY IRA     19301 COOLEY ST                                                                                 DETROIT         MI    48219‐1895

FIDELITY INVESTMENTS CUST FBO NIRMAL K DAS IRA      769 SANDALWOOD DRIVE                                                                            TROY            MI    48085

FIDELITY INVESTMENTS CUST FBO NORMAN R           2121 CLAIBORNE COURT                                                                               BRIGHTON        MI    48114‐7357
TURNROSE IRA
FIDELITY INVESTMENTS CUST FBO OLE T GUNDERSON JR PO BOX 457                                                                                         LOS OLIVOS      CA    93441‐0457
IRA
FIDELITY INVESTMENTS CUST FBO PATHUMWAN          2136 CLINTON VIEW CIRCLE                                                                           ROCHESTER       MI    48309‐2986
CHUMSAI IRA
FIDELITY INVESTMENTS CUST FBO PETER E GRANT IRA  5176 ESTELLA LANE                                                                                  SHELBY TWP      MI    48316

FIDELITY INVESTMENTS CUST FBO PHILIP H BONINE IRA   410 WESTVIEW                                                                                    UNION           MO    63084

FIDELITY INVESTMENTS CUST FBO PHILLIP A MAYES IRA   11057 FALLS CHURCH DR                                                                           INDIANAPOLIS    IN    46229

FIDELITY INVESTMENTS CUST FBO RAMONA C BARILE       13639 MIDDLEBURY                                                                                SHELBY TWP      MI    48315
IRA
FIDELITY INVESTMENTS CUST FBO RANDALL E             521 ROSLYN ROAD                                                                                 GROSSE POINTE   MI    48236
RENNPAGE IRA
FIDELITY INVESTMENTS CUST FBO RAY R NOVAK IRA       7588 MAPLE ROAD                                                                                 FRANKENMUTH     MI    48734

FIDELITY INVESTMENTS CUST FBO RICHARD A CURVIN     3213 NASHVILLE HIGHWAY                                                                           LEWISBURG       TN    37091
IRA
FIDELITY INVESTMENTS CUST FBO RICHARD J JANCASZ 407 E MICHIGAN AVE                                                                                  WHITE PIGEON    MI    49099
IRA
FIDELITY INVESTMENTS CUST FBO RICHARD L JERVIS IRA 1311 N 400 E                                                                                     ANDERSON        IN    46012

FIDELITY INVESTMENTS CUST FBO RICHARD L           10411 TAMRYN                                                                                      HOLLY           MI    48442
PETHERBRIDGE IRA
FIDELITY INVESTMENTS CUST FBO RICHARD R SHEPARD 1336 KENNEBEC RD                                                                                    GRAND BLANC     MI    48439‐4976
IRA
FIDELITY INVESTMENTS CUST FBO RICHARD T SMITH IRA 3102 EVREUX DRIVE                                                                                 MURFREESBORO    TN    37129

FIDELITY INVESTMENTS CUST FBO RICHARD V             1369 BUCKINGHAM RD                                                                              GROSSE POINTE   MI    48230
WALKOWSKI IRA
FIDELITY INVESTMENTS CUST FBO RICK E MITCHELL IRA   15612 MICHAEL STREET                                                                            TAYLOR          MI    48180‐5018

FIDELITY INVESTMENTS CUST FBO RITA E LAHMAYER IRA 10666 2ND AVE                                                                                     ALMOND          WI    54909‐9257

FIDELITY INVESTMENTS CUST FBO RITA M BARNA IRA      117 MARTINS RUN                                                                                 MEDIA           PA    19063‐1023

FIDELITY INVESTMENTS CUST FBO ROBERT B POHODICH 7284 MILL RUN DR                                                                                    WARRENTON       VA    20187
IRA
FIDELITY INVESTMENTS CUST FBO ROBERT BRINKMAN 240 SOUTH ARCADE                                                                                      GLADWIN         MI    48624
IRA
FIDELITY INVESTMENTS CUST FBO ROBERT C MOORE IRA 915 BISCHOFF RD                                                                                    NEW CARLISLE    OH    45344

FIDELITY INVESTMENTS CUST FBO ROBERT E PASTER IRA 2734 DENALI PARK DRIVE                                                                            GRAND PRAIRIE   TX    75050

FIDELITY INVESTMENTS CUST FBO ROBERT H WINKLER      4359 SILVERDALE RD                                                                              NORTH OLMSTED   OH    44070‐2620
IRA
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FIDELITY INVESTMENTS CUST FBO ROBERT J WILLEY IRA 9059 BIRCH RUN RD                                                                                   MILLINGTON      MI    48746

FIDELITY INVESTMENTS CUST FBO ROBERT M BAUER IRA 3382 CHERYL DRIVE                                                                                    HOWELL          MI    48855

FIDELITY INVESTMENTS CUST FBO ROBERT W               13551 E COUNTRY ROAD 150S                                                                        PARKER CITY     IN    47368‐9608
WALRADTH
FIDELITY INVESTMENTS CUST FBO RODNEY D COHOON        16177 KNOBHILL DR                                                                                LINDEN          MI    48451
IRA
FIDELITY INVESTMENTS CUST FBO ROMANETHAH             2981 E OUTER DRIVE                                                                               DETROIT         MI    48234
OLIVER IRA
FIDELITY INVESTMENTS CUST FBO RONALD E BOLDEN        2921 SCOTTWOOD RD                                                                                COLUMBUS        OH    43209
IRA
FIDELITY INVESTMENTS CUST FBO RONALD E JARRETT       PO BOX 131                                                                                       UPLAND          IN    46989‐0131
IRA
FIDELITY INVESTMENTS CUST FBO RONALD H LOCK IRA      1066 MUELLER RD                                                                                  O FALLON        MO    63366

FIDELITY INVESTMENTS CUST FBO RONALD L GARRITY       438 BERNADETTE LN                                                                                BATAVIA         IL    60510‐3538
IRA
FIDELITY INVESTMENTS CUST FBO RONNIE L BAILEY IRA    12398 ISAACS ROAD                                                                                ELLENDALE       DE    19941

FIDELITY INVESTMENTS CUST FBO ROY E JOHNSON IRA      3337 BEACON ST                                                                                   PT CHARLOTTE    FL    33980‐8589

FIDELITY INVESTMENTS CUST FBO ROY E SHEPHERD IRA 1904 MAPLE ST                                                                                        HOLT            MI    48842

FIDELITY INVESTMENTS CUST FBO RUDY J                 1114 VANLEAR                                                                                     COLUMBUS        OH    43229
NOTTURNIANO
FIDELITY INVESTMENTS CUST FBO SALLY L PHILLIPS IRA   7736 JODI LYNN DR                                                                                TAMPA           FL    33615

FIDELITY INVESTMENTS CUST FBO SAM SORAYA IRA         4225 KLAIS DR                                                                                    CLARKSTON       MI    48348

FIDELITY INVESTMENTS CUST FBO SARAH M WOODMAN 2437 E MILWAUKEE ST                                                                                     JANESVILLE      WI    53545
IRA
FIDELITY INVESTMENTS CUST FBO SEAN T SCHUTZ IRA 5813 PINYON DRIVE                                                                                     MCKINNEY        TX    75070‐2718

FIDELITY INVESTMENTS CUST FBO SELINA RAHMAN IRA      650 TURTLE CREEK DRIVE                                                                           CREVE COEUR     MO    63141

FIDELITY INVESTMENTS CUST FBO SHARON F RATUSZNIK 44040 CADBURRY                                                                                       CLINTON TWP     MI    48038
IRA
FIDELITY INVESTMENTS CUST FBO SHEILA C BOWERS IRA 2 LAFFERTY LANE                            BON‐MONT                                                 NEWARK          DE    19711

FIDELITY INVESTMENTS CUST FBO SHERRY E RUKS IRA      3111 SANTORINI COURT                                                                             NAPLES          FL    34119

FIDELITY INVESTMENTS CUST FBO SHRIKANT L             1960 KITTY HAWK DR                                                                               WATERLOO        IA    50701
KHANDEKAR IRA
FIDELITY INVESTMENTS CUST FBO SIDNEY W LONG IRA      3591 BOULDER CIR                                                                                 ELLENWOOD       GA    30294

FIDELITY INVESTMENTS CUST FBO STEPHANIE L BUFFA 13101 MILL CROSSING CT                       UNIT 203                                                 CREVE COEUR     MO    63141
IRA
FIDELITY INVESTMENTS CUST FBO STEPHEN A NASH IRA 205 RED FOX COURT                                                                                    MIDDLETOWN      DE    19709

FIDELITY INVESTMENTS CUST FBO STEPHEN D CARROLL      20228 WHITE OAKS                                                                                 CLINTON TWP     MI    48036
IRA
FIDELITY INVESTMENTS CUST FBO STEVEN D JONES IRA     1518 SHADOWMOSS CIRCLE                                                                           LAKE MARY       FL    32746

FIDELITY INVESTMENTS CUST FBO STEVEN E CHATMAN 665 LAKEWOOD DRIVE                                                                                     LAKE ST LOUIS   MO    63367
IRA
FIDELITY INVESTMENTS CUST FBO STEVEN P FORSLUND 4502 EMPIRE LANE                                                                                      WATERFORD       WI    53185
IRA
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FIDELITY INVESTMENTS CUST FBO SUNDEEP AGRAWAL      10 RUE CEZANNE                                                                                   SOMERSET        NJ    08873
IRA
FIDELITY INVESTMENTS CUST FBO SUZAN A WENZLICK     16130 KNOBHILL DR                                                                                LINDEN          MI    48451
IRA
FIDELITY INVESTMENTS CUST FBO SUZANNE SEVIT IRA    2250 SOUTH VAUGHN WAY                                                                            AURORA          CO    80014

FIDELITY INVESTMENTS CUST FBO TERRY D JOHNSON     39683 TWENLOW                                                                                     CLINTON TWP     MI    48038
IRA
FIDELITY INVESTMENTS CUST FBO TERRY E PROTSMAN 97 NEPTUNE PL                                                                                        MIDDLETOWN      NJ    07748‐5639
IRA
FIDELITY INVESTMENTS CUST FBO TERRY L STATHAM IRA 1223 HIGHWAY 469 S                                                                                COLUMBUS        MS    39703‐9071

FIDELITY INVESTMENTS CUST FBO THOMAS CREASEY       PO BOX 237                                                                                       LOCKPORT        NY    14095

FIDELITY INVESTMENTS CUST FBO TODD M PEGG IRA      907 NEW HARMONY DRIVE                                                                            INDIANAPOLIS    IN    46231

FIDELITY INVESTMENTS CUST FBO TRACI L NORTON IRA   378 CRESTWOOD DR                                                                                 OXFORD          MI    48371

FIDELITY INVESTMENTS CUST FBO VENUS D MEREDITH 2314 BLUE BONNET DR                                                                                  OKLAHOMA CITY   OK    73159
IRA
FIDELITY INVESTMENTS CUST FBO VICTOR A LARSEN IRA 3733 POTTERS ROAD                                                                                 IONIA           MI    48846

FIDELITY INVESTMENTS CUST FBO VICTOR T GOMEZ IRA 12595 HAWKINS RD                                                                                   BURT            MI    48417

FIDELITY INVESTMENTS CUST FBO WALTER E BANKS IRA 120 MAPLE ROW RD                                                                                   LAPEER          MI    48446‐8768

FIDELITY INVESTMENTS CUST FBO WALTER L LASHLEY 41175 JUSTIN DR                                                                                      CLINTON TWP     MI    48038‐2072
IRA
FIDELITY INVESTMENTS CUST FBO WARREN C TRANSOU 29 SILVERCREST COVE                                                                                  JACKSON         TN    38305

FIDELITY INVESTMENTS CUST FBO WARREN K HUGHES 389 BERNHARDT DR                                                                                      SNYDER          NY    14226‐4727
IRA
FIDELITY INVESTMENTS CUST FBO WAYNE C FITZNER IRA 138 LITTLE TURKEY TRAIL                                                                           TUPELO          MS    38804

FIDELITY INVESTMENTS CUST FBO WENDELL L AYERS IRA 8302 JACK PINE DRIVE                                                                              YPSILANTI       MI    48197

FIDELITY INVESTMENTS CUST FBO WILLIAM A HURLEY     24371 HAMPTON HILL ST                                                                            NOVI            MI    48375
IRA
FIDELITY INVESTMENTS CUST FBO WILLIAM C PLATTE     15471 LEHMAN RD                                                                                  WESTPHALIA      MI    48894
IRA
FIDELITY INVESTMENTS CUST FBO WILLIAM F HENGEL JR PO BOX 9                                                                                          EAST JORDAN     MI    49727
IRA
FIDELITY INVESTMENTS CUST FBO WILLIAM J PAUL JR    5319 N NOTTINGHAM DR                                                                             SAGINAW         MI    48603
IRA
FIDELITY INVESTMENTS CUST FBO WILLIAM L MOORE      16955 ENGLISH RD                                                                                 MANCHESTER      MI    48158
IRA
FIDELITY INVESTMENTS CUST FBO WILLIAM M BRIGHT 1710 E 22ND ST                                                                                       MUNCIE          IN    47302
IRA
FIDELITY INVESTMENTS CUST FBO WILLIAM R OLIVER IRA 6250 LANWAY RD                                                                                   KINGSTON        MI    48741‐9786

FIDELITY INVESTMENTS CUST FBO WILLIE M BRAY IRA    913 W RIDGEWAY AVE                                                                               FLINT           MI    48505‐5170

FIDELITY INVESTMENTS CUST FBO WILLIE M FORBERS     19500 NORTHROP STREET                                                                            DETROIT         MI    48219‐1884
IRA
FIDELITY INVESTMENTS CUST FLORA NG IRA             20 LIVINGSTON AVE #405                                                                           NEW BRUNSWICK   NJ    08922
FIDELITY INVESTMENTS CUST FRANCIS J GRZYBEK IRA    2524 GRANT DRIVE                                                                                 ANN ARBOR       MI    48108

FIDELITY INVESTMENTS CUST FRANCIS KOTCH            2006 WILLIAMSON ST                                                                               SAGINAW         MI    48601‐4437
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FIDELITY INVESTMENTS CUST FRANK A GURSKEY IRA      4227 SEYMOUR ST                                                                                DEARBORN         MI    48126‐2927

FIDELITY INVESTMENTS CUST FREDERICK LOCKHART       146 BRADBURN ST                                                                                ROCHESTER        NY    14619‐1908

FIDELITY INVESTMENTS CUST GALEN A MORROW IRA       5111 NETHERLAND AVE                                                                            DENVER           CO    80249

FIDELITY INVESTMENTS CUST GARNETTA E STURKEY‐      915 CRESSWELL                                                                                  SAGINAW          MI    48601‐3335
LONG IRA
FIDELITY INVESTMENTS CUST GARRY D KEEFER           1136 LANTERN LN                                                                                NILES            OH    44446‐3506
FIDELITY INVESTMENTS CUST GARRY D KEEFER IRA       1136 LANTERN LN                                                                                NILES            OH    44446‐3506
FIDELITY INVESTMENTS CUST GARY BOWERS IRA          32822 SHEFFIELD                                                                                FRASER           MI    48026
FIDELITY INVESTMENTS CUST GARY E LEWANDOWSKI       280 PEPPER TREE LANE                                                                           ROCHESTER        MI    48309
IRA
FIDELITY INVESTMENTS CUST GARY GRATES IRA          12 RIDGE COURT                                                                                 CARMEL           NY    10512
FIDELITY INVESTMENTS CUST GARY J LIESE IRA         38 NANTUCKET RD                                                                                ROCHESTER        NY    14626‐2323
FIDELITY INVESTMENTS CUST GARY J OGONOWSKI         553 SUNLIGHT DR                                                                                ROCHESTER HILS   MI    48308
FIDELITY INVESTMENTS CUST GARY L O'CONNELL         235 CHERRY ST                                                                                  FRANKENMUTH      MI    48734‐1704
FIDELITY INVESTMENTS CUST GEORGE D DANIEL IRA      1025 EVELYN AVE                                                                                YPSILANTI        MI    48198

FIDELITY INVESTMENTS CUST GEORGE H WIEWIURA IRA 6467 MAYBURN ST                                                                                   DEARBORN HTS     MI    48127

FIDELITY INVESTMENTS CUST GEORGE M LENTZ           PO BOX 2077                                                                                    BIRMINGHAM       MI    48012‐2077
FIDELITY INVESTMENTS CUST GEORGE XANTHOPOULOS      13 SHADOWRIDGE DR                                                                              SAINT PETERS     MO    63376‐2352
IRA
FIDELITY INVESTMENTS CUST GERALD A DUGAR           1414 WAGON WHEEL RD                                                                            CANTON           MI    48188‐1197
FIDELITY INVESTMENTS CUST GERALD D RAFFA IRA       5241 BACKUS RD                                                                                 LIVONIA          NY    14487‐9428

FIDELITY INVESTMENTS CUST GERALD E VOECKS          2408 JANET LEE DR                                                                              LA CRESCENTA     CA    91214‐2234
FIDELITY INVESTMENTS CUST GIRISH C SHAH            39857 BAROQUE BLVD                                                                             CLINTON TWP      MI    48038‐2615
FIDELITY INVESTMENTS CUST GLORIA J WILSON          721 LARONA RD                                                                                  TROTWOOD         OH    45426‐2556
FIDELITY INVESTMENTS CUST GORDON A STERLING        1210 EDMONSON CIRCLE                                                                           NASHVILLE        TN    37211‐7231

FIDELITY INVESTMENTS CUST GREGORY M SCHMERSAL      1720 SEARFOSS RD                                                                               COLUMBUS GRV     OH    45830‐9435
IRA
FIDELITY INVESTMENTS CUST GWENDOLYN M MORTON       12865 ARCHDALE                                                                                 DETROIT          MI    48227
IRA
FIDELITY INVESTMENTS CUST H M GILES                3707 WAYCROSS COURT                                                                            ARLINGTON        TX    76016‐3041
FIDELITY INVESTMENTS CUST HAROLD H KRUEGER         1511 KERN RD                                                                                   REESE            MI    48757‐9439
FIDELITY INVESTMENTS CUST HAROLD R ORNER IRA       130 ERVIN AVE                                                                                  LINWOOD          PA    19061‐4314

FIDELITY INVESTMENTS CUST HARRY L HAMILTON IRA     1017 CHEW ROAD                                                                                 MANSFIELD        OH    44903

FIDELITY INVESTMENTS CUST HELEN M BRANNIGAN        5216 HAXTON DR                                                                                 CENTERVILLE      OH    45440‐2215

FIDELITY INVESTMENTS CUST HENRY S MCLIMORE IRA     10549 COPPERGATE DR W                                                                          CARMEL           IN    46032

FIDELITY INVESTMENTS CUST HERBERT E KENDRICK IRA   PO BOX 1358                                                                                    CLINTON          MS    39060

FIDELITY INVESTMENTS CUST HORACE A ALCORN          472 RED OAK LANE                                                                               WRIGHT CITY      MO    63390‐2814
FIDELITY INVESTMENTS CUST HOWARD A BOWKER IRA      7409 REMBRANDT CIR                                                                             NEWARK           DE    19702‐3064

FIDELITY INVESTMENTS CUST HOWARD O KITCHEN JR      345 HINMAN AVE                                                                                 BUFFALO          NY    14216‐1042
IRA
FIDELITY INVESTMENTS CUST HOWARD R EVERETT IRA     PO BOX 18193                                                                                   PITTSBURGH       PA    15236‐0193

FIDELITY INVESTMENTS CUST IDA KOCSIS               450 TANTON WAY APT C                                                                           WEBSTER          NY    14580‐4075
FIDELITY INVESTMENTS CUST J L HITCH IRA            3303 OAK HILL DR                                                                               MARYVILLE        TN    37804‐5531
FIDELITY INVESTMENTS CUST JACK EARL JONES          2793 WARRIOR DR                                                                                WIXOM            MI    48393‐2177
FIDELITY INVESTMENTS CUST JAMES A MASS IRA         223 GRANADA AVE                                                                                YOUNGSTOWN       OH    44504‐1819
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FIDELITY INVESTMENTS CUST JAMES A STEELE IRA       2466 DORIS DR                                                                                    BRIGHTON        MI    48114‐4914
FIDELITY INVESTMENTS CUST JAMES C BOONE            7648 CLIPPERT ST                                                                                 TAYLOR          MI    48180‐2569
FIDELITY INVESTMENTS CUST JAMES F BERRY IRA        6113 STARK DR                                                                                    BROOKPARK       OH    44142‐3051
FIDELITY INVESTMENTS CUST JAMES H HUBBARD IRA      41314 FORTUNA DR E                                                                               CLINTON TWP     MI    48038‐2235

FIDELITY INVESTMENTS CUST JAMES H MAC CLOUD IRA 21 BOCK BLVD                                                                                        HOWELL          NJ    07731‐1343

FIDELITY INVESTMENTS CUST JAMES J KRAMER           32 MITCHELL DRIVE                                                                                TOMS RIVER      NJ    08755‐5178
FIDELITY INVESTMENTS CUST JAMES J TIGHE            3109 SPRING DR                                                                                   ANDERSON        IN    46012‐9544
FIDELITY INVESTMENTS CUST JAMES N PHILLIPS         15 RIDGE BLVD                                                                                    WILMINGTON      DE    19808‐1033
FIDELITY INVESTMENTS CUST JAMES R WALTERS IRA      3317 TIMBERBROOK                                                                                 DANVILLE        IN    46122

FIDELITY INVESTMENTS CUST JAMES T PRENDERGAST      8462 WILLOW GLEN CT                                                                              HOLLAND         OH    43528‐8305

FIDELITY INVESTMENTS CUST JAMES TEMPLE JR IRA      19610 ANGLIN ST                                                                                  DETROIT         MI    48234‐1452

FIDELITY INVESTMENTS CUST JAMES V STEFANO IRA      3915 PENNIMITE RD                                                                                LIVONIA         NY    14487‐9607

FIDELITY INVESTMENTS CUST JAMI L DEBORD IRA        408 OLD MT PLEASANT SCHOOL RD                                                                    ALVATON         KY    42122
FIDELITY INVESTMENTS CUST JAMIE H CLARK IRA        PO BOX 223                                                                                       RAYMONDVILLE    NY    13678
FIDELITY INVESTMENTS CUST JEFFREY J BISON          6602 S COUNTY LINE RD                                                                            DURAND          MI    48429‐9410
FIDELITY INVESTMENTS CUST JENNIFER BERNUDEZ        6751 BERWICK DR                                                                                  CLARKSTON       MI    48346‐4715

FIDELITY INVESTMENTS CUST JENNIFER M DHOLAKIA      3087 HIDDEN TIMBER DR                                                                            ORION           MI    48359‐1579

FIDELITY INVESTMENTS CUST JERRY GIBBS JR IRA       16724 FORRER ST                                                                                  DETROIT         MI    48235‐3606
FIDELITY INVESTMENTS CUST JERRY J FULLER IRA       78 BROOKDALE AVE                                                                                 ROCHESTER       NY    14619‐2208
FIDELITY INVESTMENTS CUST JERRY K CAVETTE IRA      1609 LIBERTY ST                                                                                  FLINT           MI    48503‐4035
FIDELITY INVESTMENTS CUST JERRY L SPRINGER         300 W ELM ST                                                                                     FARMLAND        IN    47340‐9114
FIDELITY INVESTMENTS CUST JESSICA L BELMAN         11630 NE 145TH ST                                                                                KIRKLAND        WA    98034‐1115
FIDELITY INVESTMENTS CUST JIMMIE D POOLE           3078 EAST GOLDFITCH WAY                                                                          CHANDLER        AZ    85249‐5728
FIDELITY INVESTMENTS CUST JIMMY F LANE             2112 SPRING HOLLOW DRIVE                                                                         JONESBORO       AR    72404‐8064
FIDELITY INVESTMENTS CUST JOANN L WILLIAMS IRA     3309 N PHILLIPS                                                                                  KOKOMO          IN    46901‐9170

FIDELITY INVESTMENTS CUST JOANNE URBAN IRA         25036 MILL RIVER                                                                                 OLMSTED FALLS   OH    44138‐2025
FIDELITY INVESTMENTS CUST JODY PIAGENTINI          1329 48TH ST                                                                                     DES MOINES      IA    50311‐2450
FIDELITY INVESTMENTS CUST JOFFRE'T JOHNSON         3412 THORNWOOD DR                                                                                DORAVILLE       GA    30340‐4026
FIDELITY INVESTMENTS CUST JOHN A KERN              401 NORTH WASHINGTON ST AP                                                                       VAN WERT        OH    45891‐1260
FIDELITY INVESTMENTS CUST JOHN E NOLAN             2547 SANDY CREEK DR                                                                              SHELBY TWP      MI    48316‐3854
FIDELITY INVESTMENTS CUST JOHN J MAGGIO            139 WELLINGTON RD                                                                                GARDEN CITY     NY    11530‐1239
FIDELITY INVESTMENTS CUST JOHN K SIEROTA           47624 W HURON RIVER DR                                                                           BELLEVILLE      MI    48111‐4451
FIDELITY INVESTMENTS CUST JOHN KRYWY IRA           357 EASY ST                                                                                      HOWELL          NJ    07731
FIDELITY INVESTMENTS CUST JOHN P SACO IRA          22059 ORCHARD ST                                                                                 TRENTON         MI    48183‐1420
FIDELITY INVESTMENTS CUST JOHN P SCHULTZ IRA       886 CHADS WAY                                                                                    CHARLOTTE       MI    48813‐8757

FIDELITY INVESTMENTS CUST JOHN P WHITMAN IRA       332 ZIMMERMAN ST                                                                                 N TONAWANDA     NY    14120‐4517

FIDELITY INVESTMENTS CUST JOHN R STOLT IRA         20491 SUMNER                                                                                     REDFORD         MI    48240‐1032
FIDELITY INVESTMENTS CUST JOHN S SILOY IRA         7142 PITTS BLVD                                                                                  N RIDGEVILLE    OH    44039
FIDELITY INVESTMENTS CUST JOHN T DOLNEY            8275 47 ST CIRCLE EAST                                                                           PALMETTO        FL    34221‐8510
FIDELITY INVESTMENTS CUST JOSEPH A FERRANTI IRA    405 GATEFORD                                                                                     BALLWIN         MO    63021

FIDELITY INVESTMENTS CUST JOSEPH F MORELLI IRA     PO BOX 221                                                                                       BEDFORD         IN    47421

FIDELITY INVESTMENTS CUST JOSEPH F RHEKER JR IRA   11337 WARREN BLVD                                                                                WARREN          MI    48089

FIDELITY INVESTMENTS CUST JOSEPH L RHODES          108 RIPLEY ROAD                                                                                  LINDEN          MI    48451‐8955
FIDELITY INVESTMENTS CUST JOSEPH W TARABA          916 MEADOW CREEK DR                     APT 3107                                                 IRVING          TX    75038‐6958
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FIDELITY INVESTMENTS CUST JOSEPHINE HARGIS           7020 BERWYN                                                                                      DEARBORN HEIGHTS MI      48125‐2048

FIDELITY INVESTMENTS CUST JOSHUA E DAVIDSON IRA      3430 VINTAGE VALLY RD                                                                            ANN ARBOR          MI    48105‐2545

FIDELITY INVESTMENTS CUST JOYNER L SAUSEDA IRA       R3 15 BOX 4152                                                                                   LAKE CITY          FL    32024‐8925

FIDELITY INVESTMENTS CUST JUANITA N DANIEL           5400 SAINT MARY'S CT                                                                             LANSING            MI    48911‐3628
FIDELITY INVESTMENTS CUST JULIANA L D'GAMA IRA       439 YORK ST                                                                                      BOLINGBROOK        IL    60440

FIDELITY INVESTMENTS CUST JULIO E AVILA              PO BOX 55587                                                                                     DEL CITY           OK    73155‐0587
FIDELITY INVESTMENTS CUST KAREN V SANFORD IRA        25741 ARDEN PARK DR                                                                              FARMINGTON         MI    48336

FIDELITY INVESTMENTS CUST KARI E WELLER          391 RED PINE                                                                                         FOWLERVILLE        MI    48836‐8517
FIDELITY INVESTMENTS CUST KATHALEEN M TURLEY IRA 1815 OBLOCK RD                                                                                       PITTSBURGH         PA    15239‐2331

FIDELITY INVESTMENTS CUST KATHERINE V BOSKOVITCH 10491 QUEENS WAY                                                                                     NORTH ROYALTON     OH    44133‐1971
IRA
FIDELITY INVESTMENTS CUST KATHLEEN J MOORE IRA   3066 LINDENWOOD DR                                                                                   DEARBORN           MI    48120

FIDELITY INVESTMENTS CUST KATHLEEN M NICELY          9913 VILLA RIDGE DR                                                                              LAS VEGAS          NV    89134‐7635
FIDELITY INVESTMENTS CUST KATINA MOUZAKIS            5861 JULIE ST                                                                                    HUDSONVILLE        MI    49426‐9552
FIDELITY INVESTMENTS CUST KENNETH A MERIQUE          21184 PARKCREST DR                                                                               HARPERWOODS        MI    48225‐1710

FIDELITY INVESTMENTS CUST KENNETH E KARPINEN         30140 WESTWOOD DR                                                                                MADISON HTS        MI    48071‐2247

FIDELITY INVESTMENTS CUST KENNETH L KIST             12 QUAIL RIDGE DR                                                                                OXFORD             OH    45056‐9201
FIDELITY INVESTMENTS CUST KENNETH W WALDIE IRA       831 LANGDON RD                                                                                   STANDISH           MI    48658

FIDELITY INVESTMENTS CUST KHALIL M AFJEH             5876 RAVEN RD                                                                                    BLOOMFIELD HILLS   MI    48301‐1052

FIDELITY INVESTMENTS CUST KLEPPEER P SONDRALEE       4354 TUSCANY LANE                                                                                HOLT               MI    48842
IRA
FIDELITY INVESTMENTS CUST LANA J KANTOSKY IRA        5236 GREEN LEAF DRIVE                                                                            NASHVILLE          TN    37211

FIDELITY INVESTMENTS CUST LANDON B HARKINS IRA       2677 ADDISON DR                                                                                  DORAVILLE          GA    30340‐1835

FIDELITY INVESTMENTS CUST LANETTE A SQUARE           1024 STATE RT 37                                                                                 AKWASESNE          NY    13655‐1825
FIDELITY INVESTMENTS CUST LARRY N KIMMEL             616 OLD FAYETTEVILLE RD                                                                          FREEBERG           IL    62243‐1802
FIDELITY INVESTMENTS CUST LAURA A WENNINGER          5829 TWIN OAKS DR                                                                                STERLING HEIGHTS   MI    48314‐3153

FIDELITY INVESTMENTS CUST LEAR H PIGG IRA            6255 HILHAM RD                                                                                   COOKEVILLE         TN    38506‐7230
FIDELITY INVESTMENTS CUST LEON A SCOTT IRA           547 SW 93RD ST APT 204                                                                           OKLAHOMA CITY      OK    73159
FIDELITY INVESTMENTS CUST LEROY HOWARD IRA           5468 ROBIN AVE                                                                                   SAINT LOUIS        MO    63120
FIDELITY INVESTMENTS CUST LESLIE P ROYCE             322 MAYBERRY ST                                                                                  TOLEDO             OH    43609‐1843
FIDELITY INVESTMENTS CUST LESTER J WILLIAMS JR IRA   1111 GARDNER ROAD                                                                                PITTSFORD          MI    49271

FIDELITY INVESTMENTS CUST LLOYD S EDWARDS IRA        ROUTE 1 BOX 264‐C                                                                                MONTICELLO         KY    42633‐9708

FIDELITY INVESTMENTS CUST LOLITA M HERNANDEZ         1419 NICOLET PL                                                                                  DETROIT            MI    48207‐2804

FIDELITY INVESTMENTS CUST LORI R MELTON              5428 WILLOWRUN LN                                                                                MILFORD            OH    45150‐9628
FIDELITY INVESTMENTS CUST LORRAINE PAYNE IRA         1335 ALGER ST                                                                                    SAGINAW            MI    48601

FIDELITY INVESTMENTS CUST LYNN GORDON IRA            28118 UNIVERSAL DRIVE                                                                            WARREN             MI    48092‐2431
FIDELITY INVESTMENTS CUST MARGARET A DOWIE           24249 HERITAGE DR                                                                                WOODHAVEN          MI    48183‐3776

FIDELITY INVESTMENTS CUST MARGARET KELLER IRA        4675 S MCLELLAND RD                                                                              ASHLEY             MI    48806‐9352
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FIDELITY INVESTMENTS CUST MARGIE H CRAVEN IRA      3888 WHISPER TRAIL                                                                               GREEN CV SPGS   FL    32043

FIDELITY INVESTMENTS CUST MARILYN S DIZIK IRA      7152 PEBBLE PARK DRIVE                                                                           WEST BLOOMFIELD MI    48322‐3505

FIDELITY INVESTMENTS CUST MARIO A DE LA CRUZ IRA   41953 RIDGE RD EAST                                                                              NOVI            MI    48375‐2670

FIDELITY INVESTMENTS CUST MARK W LUCAS IRA         5085 MARTON RD                                                                                   ANN ARBOR       MI    48108‐9730
FIDELITY INVESTMENTS CUST MARTHA G SWEANY          8732 SILVER STRND ROAD                                                                           LEVERING        MI    49755‐9101
FIDELITY INVESTMENTS CUST MARTIN D NAZARETH        2286 FERNSPRING DR                                                                               ROUND ROCK      TX    78664‐5635

FIDELITY INVESTMENTS CUST MARY J RUMPS IRA         1926 FLAGSTONE CIRCLE                                                                            ROCHESTER       MI    48307‐6096
ROLLOVER
FIDELITY INVESTMENTS CUST MARY LOU MAYO            412 EDMONDS WAY                                                                                  DESOTO          TX    75115‐5610
FIDELITY INVESTMENTS CUST MARY SUMMERS             1174 A SOUTH LINCOLN                                                                             SALEM           OH    44460‐3718
FIDELITY INVESTMENTS CUST MARYLEE A GERVIN IRA     9983 CREEKWOOD TRAIL                                                                             DAVISBURG       MI    48350‐2058

FIDELITY INVESTMENTS CUST MAURICE R COLLIN         333 NIKOMAS WAY                                                                                  MELBOURNE BEACH FL    32951‐3528

FIDELITY INVESTMENTS CUST MEREDITH PADDEN IRA      1136 OHIO AVE                                                                                    DUNEDIN         FL    34698‐3832

FIDELITY INVESTMENTS CUST MICHAEL A NORTON IRA     218 BROOKDALE PARK                                                                               ROCHESTER       NY    14609‐1525

FIDELITY INVESTMENTS CUST MICHAEL A PERKINS IRA    7302 SECOR RD                                                                                    PETERSBURG      MI    49270

FIDELITY INVESTMENTS CUST MICHAEL E JOHNSON        2925 LYNN                                                                                        WHITE LAKE      MI    48386‐1430

FIDELITY INVESTMENTS CUST MICHAEL E JOHNSON IRA    925 W SHAFFMASTER AVE                                                                            CEDARVILLE      MI    49719‐9761

FIDELITY INVESTMENTS CUST MICHAEL I POTTER         2624 BOYLAN CT                                                                                   ROCKFORD        IL    61101‐5235
FIDELITY INVESTMENTS CUST MICHAEL J HEALY IRA      4411 SUNDERLAND PL                                                                               FLINT           MI    48507‐3719

FIDELITY INVESTMENTS CUST MICHAEL J ROUSSEAU       2166 HAGADORN RD                                                                                 MASON           MI    48854‐9414

FIDELITY INVESTMENTS CUST MICHAEL J WARDA          8320 NORTH PORT                                                                                  GRAND BLANC     MI    48439‐8064
FIDELITY INVESTMENTS CUST MICHAEL P QUINN IRA      1439 WOODVIEW RD                                                                                 MORRISVILLE     PA    19067

FIDELITY INVESTMENTS CUST MICHAEL R WHITE IRA      1920 CEMETERY LANE                                                                               DAYTON          OH    45429

FIDELITY INVESTMENTS CUST MONTE L RYTEL IRA        3945 KIOKA AVE                                                                                   COLUMBUS        OH    43220‐4540
FIDELITY INVESTMENTS CUST MURREL R FRANCIS IRA     19559 IMPERIAL HWY                                                                               REDFORD         MI    48240‐1350

FIDELITY INVESTMENTS CUST NADINE MC WILLIE IRA     14518 FREELAND                                                                                   DETROIT         MI    48277‐0001

FIDELITY INVESTMENTS CUST NANCY HOLIWAY IRA        3131 GOVERNORS AVE                                                                               DULUTH          GA    30096‐3593

FIDELITY INVESTMENTS CUST NATHANIEL HUBBERT IRA 2569 SHIRLEY AVE                                                                                    JENNINGS        MO    63136‐2627

FIDELITY INVESTMENTS CUST NICHOLINA A TRINCA       164 FERGUSON DR                                                                                  HILTON          NY    14468‐9504

FIDELITY INVESTMENTS CUST NORMA L MADERA           695 ANDAMAR WAY                                                                                  GOLETA          CA    93117‐2165
FIDELITY INVESTMENTS CUST NORMAN L NGUYEN IRA      1200 HEIRLOOM VW                                                                                 OKEMOS          MI    48864‐1230

FIDELITY INVESTMENTS CUST OCIE V MILLER            8650 S OCEAN DR APT 306                                                                          JENSEN BEACH    FL    34957‐2152
FIDELITY INVESTMENTS CUST OTIS PARHAM JR IRA       3210 VILLAGE COURT DR                                                                            FORT WAYNE      IN    46806
FIDELITY INVESTMENTS CUST PAMELA D MENAFEE IRA     92C THOBURN CT                                                                                   STANFORD        CA    94305‐7406

FIDELITY INVESTMENTS CUST PATRICIA ANN BUTCHER     98 WELLINGTON RD                                                                                 BUFFALO         NY    14216‐2809
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FIDELITY INVESTMENTS CUST PATRICIA I ROMAN IRA    21151 GARDNER ST                                                                              OAK PARK        MI    48237‐3810

FIDELITY INVESTMENTS CUST PATRICIA L ROBERTSON    7920 HICKORY RD                                                                               BROWNSBURG      IN    46112‐8585
IRA
FIDELITY INVESTMENTS CUST PATRICIA VAE SANDER     1840 HADLEY COHRON ROAD                                                                       BOWLING GREEN   KY    42101‐4227
DUCK IRA
FIDELITY INVESTMENTS CUST PATRICK FIELD IRA       8030 STUART PLACE                                                                             WESTMINSTER     CO    80031‐4334
FIDELITY INVESTMENTS CUST PATRICK J OMALLEY       304 MAPLE AVE                                                                                 DELANCO         NJ    08075‐4828
FIDELITY INVESTMENTS CUST PATTI H PATTERSON IRA   1824 FOREST BEND LN                                                                           KELLER          TX    76248‐5393

FIDELITY INVESTMENTS CUST PAUL D MURR IRA         5153 PEPPERMILL CT                                                                            SARASOTA        FL    34241‐7174
FIDELITY INVESTMENTS CUST PAUL T GIBSON           424 HERITAGE BLVD                                                                             EDMOND          OK    73003‐2764
FIDELITY INVESTMENTS CUST PEARLEY B BROOKS IRA    16610 CHRIS DR                                                                                CLINTON TWP     MI    48038‐1934

FIDELITY INVESTMENTS CUST PEGGY A BUCKMAN IRA     19516 BURT RD                                                                                 DETROIT         MI    48219‐1983

FIDELITY INVESTMENTS CUST PENNY L TARRANT IRA     8920 DUNNSTON DR                                                                              AMELIA COURT    VA    23002‐4888
                                                                                                                                                HOUSE
FIDELITY INVESTMENTS CUST PETE R LOPEZ IRA        14294 E LOS ANGELES AVE                                                                       MOORPARK        CA    93021‐9732
FIDELITY INVESTMENTS CUST RAM A SHARMA            2951 HOMEWOOD DR                                                                              TROY            MI    48098‐2389
FIDELITY INVESTMENTS CUST RAUL MUNIZ IRA          9241 E CD AVE                                                                                 RICHLAND        MI    49083
FIDELITY INVESTMENTS CUST RAYMOND A NASH IRA      7976 SUNNYSIDE RD                                                                             INDIANAPOLIS    IN    46236‐8371

FIDELITY INVESTMENTS CUST REBA WILKINS IRA        24768 ALICIA                                                                                  FLAT ROCK       MI    48134‐9544
FIDELITY INVESTMENTS CUST RICHARD A QUADERER      15591 BISHOP RD                                                                               CHESANING       MI    48616‐9466

FIDELITY INVESTMENTS CUST RICHARD E CHAMBERLAIN 515 N LINCOLN ST                                                                                DURAND          MI    48429‐1106

FIDELITY INVESTMENTS CUST RICHARD J IRWIN         41113 KENSINGTON                                                                              CLINTON TWP     MI    48038‐4648
FIDELITY INVESTMENTS CUST RICHARD L FAUST IRA     PO BOX 394                                                                                    CLINTON         MI    49236‐0394

FIDELITY INVESTMENTS CUST RICHARD L MOORE       8410 CR 20                                                                                      LEXINGTON       OH    44904‐9613
FIDELITY INVESTMENTS CUST RICHARD L PRINTUP     4790 UPPER MOUNTAIN RD                                                                          LOCKPORT        NY    14094‐9606
FIDELITY INVESTMENTS CUST RICHARD M KENNEDY IRA 560 GREENDALE DR                                                                                JAMESVILLE      WI    53546‐1943

FIDELITY INVESTMENTS CUST RICHARD R DEAN IRA      7349 WATSON HILL RD                  BOX 118                                                  ELLICOTTVILLE   NY    14731‐0118

FIDELITY INVESTMENTS CUST RICHARD W GAINES        913 BIG THICKET ST                                                                            GEORGETOWN      TX    78628‐5080
FIDELITY INVESTMENTS CUST RICHARD W STEWART       2355 W WATTLES RD                                                                             TROY            MI    48098‐4269

FIDELITY INVESTMENTS CUST ROBERT F WANEK IRA      2608 FLEETWOOD AVE                                                                            CINCINNATI      OH    45211‐7821

FIDELITY INVESTMENTS CUST ROBERT J ATKINS IRA     4356 E 100 SOUTH                                                                              KOKOMO          IN    46902‐9335

FIDELITY INVESTMENTS CUST ROBERT J POPOVICH       101 WAE TRAIL                                                                                 CORTLAND        OH    44410‐1636
FIDELITY INVESTMENTS CUST ROBERT L WILLIAMS IRA   7320 DIXON ST                                                                                 FOREST PARK     IL    60130

FIDELITY INVESTMENTS CUST ROBERT M CARROLL IRA    7873 CARRAWAY                                                                                 MAINEVILLE      OH    45039

FIDELITY INVESTMENTS CUST ROBERT R WALKER IRA     4839 WOODLAND CIR                                                                             HIXSON          TN    37343

FIDELITY INVESTMENTS CUST ROBERT W RAU            3972 MAIN STREET RD                                                                           STANDISH        MI    48658‐9743
FIDELITY INVESTMENTS CUST ROBIN M SCOTT           6924 HOLLOW CORNERS RD                                                                        ALMONT          MI    48003‐7907
FIDELITY INVESTMENTS CUST ROGER MOUAFO            5302 EMERALD DR                                                                               WATCHUNG        NJ    07069‐7419
FIDELITY INVESTMENTS CUST RONALD C BOSS IRA       8200 HOWE RD                                                                                  EAGLE           MI    48822
FIDELITY INVESTMENTS CUST RONALD J SEAY IRA       149 BLOOMFIELD BLVD                                                                           BLOOMFIELD      MI    48302
FIDELITY INVESTMENTS CUST RONALD L BECKER         4256 DRIFTWOOD DR                                                                             COMMERCE        MI    48382‐1310
                                                                                                                                                TOWNSHIP
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FIDELITY INVESTMENTS CUST RONALD L EDWARDS       419 NORTHWOOD DR                                                                                BEDFORD           IN    47421‐3929

FIDELITY INVESTMENTS CUST RONNIE J SMITH         2 MORNING GLORY CT                                                                              HOMOSASSA         FL    34446‐5419
FIDELITY INVESTMENTS CUST ROOSEVELT GRANT JR IRA 10910 S WALLACE ST                                                                              CHICAGO           IL    60628‐3247

FIDELITY INVESTMENTS CUST ROSALIE M ACKERMAN IRA 1757 BURNHAM                                                                                    SAGINAW           MI    48602‐1114

FIDELITY INVESTMENTS CUST ROSALIND S DAVIDSON    22404 CALIFORNIA                                                                                ST CLAIR SHORES   MI    48080‐3819

FIDELITY INVESTMENTS CUST ROY CANADA IRA         836 CERNAN DR                                                                                   BELLWOOD          IL    60104
FIDELITY INVESTMENTS CUST ROY LACEY              20657 PROMETHIAN WAY                                                                            OLYMPIA FLDS      IL    60461‐1517
FIDELITY INVESTMENTS CUST RUDOLPH J DOBESH       8241 TURNSTONE DR                                                                               MANLIUS           NY    13104‐2138
FIDELITY INVESTMENTS CUST RUDY A BORR IRA        5955 BAYPOINTE BLVD                                                                             CLARKSTON         MI    48346
FIDELITY INVESTMENTS CUST RUSS W POOLE IRA       14224 EAST BUFFALO STREET                                                                       GILBERT           AZ    85296‐5904
FIDELITY INVESTMENTS CUST SALVATORE R VENTIMIGLI 30236 BARBARY COURT                                                                             WARREN            MI    48093
IRA
FIDELITY INVESTMENTS CUST SANDRA T RADTKE        5268 EDGEWOOD SHORES                                                                            HOWELL            MI    48843‐6839
FIDELITY INVESTMENTS CUST SHARON K ANDERSON IRA 2375 SIX POINTS RD                                                                               SHERIDAN          IN    46069

FIDELITY INVESTMENTS CUST SHARON L HARMSWORTH 711 N KENILWORTH                                                                                   OAK PARK          IL    60302‐1516

FIDELITY INVESTMENTS CUST SHIRLEY A DOUGLASS     377 E 6TH ST                                                                                    PERU              IN    46970‐2507

FIDELITY INVESTMENTS CUST STANLEY G HARRISON IRA 3745 FRIENDSHIP RD                                                                              BUFORD            GA    30519‐1815

FIDELITY INVESTMENTS CUST STANLEY W BROWN         7968 TIMBERWOOD CT                                                                             PLAINFIELD        IN    46168‐9023
FIDELITY INVESTMENTS CUST STEPHEN C CALLICOAT IRA 70 KENT DR                                                                                     TIPP CITY         OH    45371‐2511

FIDELITY INVESTMENTS CUST STEPHEN R TELLA        23 CUMBERLAND ROAD                                                                              HAMILTON SQUARE NJ      08690‐2124

FIDELITY INVESTMENTS CUST STEPHEN R TOKISH IRA   7940 CLAIBORNE DR                                                                               BRIGHTON          MI    48114

FIDELITY INVESTMENTS CUST STEVE HUSTON IRA       342 MICHIGAN ST                                                                                 LOCKPORT          NY    14094‐1725
FIDELITY INVESTMENTS CUST STEVEN R CARLSON       1436 S GRANT AVE                                                                                JANESVILLE        WI    53546‐5409
FIDELITY INVESTMENTS CUST STEVEN T SECHLER IRA   2096 GOLF CREST DRIVE                                                                           COMMERCE TWP      MI    48382

FIDELITY INVESTMENTS CUST SUNITA DAS             6727 SHADOWOOD DR                                                                               WEST BLOOMFIELD MI      48322‐3297

FIDELITY INVESTMENTS CUST SUSAN L RENAUD        4485 EDGEWOOD ST                                                                                 DEARBORN HTS      MI    48125‐3227
FIDELITY INVESTMENTS CUST SUSAN MARIE EMERY IRA 2600 NICHOLS COURT                                                                               WESTLAND          MI    48186‐9376

FIDELITY INVESTMENTS CUST SUZANNE L NUNN         10225 MILL POINTE DR                                                                            GOODRICH          MI    48438‐9312
FIDELITY INVESTMENTS CUST SYDNEY J HALL          1366 GREENLEAF DR                                                                               ROCHESTER HILLS   MI    48309‐1725
FIDELITY INVESTMENTS CUST TED J THOMPSON         16064 EGO                                                                                       EASTPOINTE        MI    48021‐2941
FIDELITY INVESTMENTS CUST TED L LISBY IRA        13855 RUE CHARLOT LANE                                                                          MC CORDSVILLE     IN    46055
FIDELITY INVESTMENTS CUST THEODORE D MCAFEE      4137 NANCY DR                                                                                   SAGINAW           MI    48601‐5011

FIDELITY INVESTMENTS CUST THOMAS C BENNETT       8130 FARRANT ST                                                                                 COMMERCE TWP      MI    48382‐2323
FIDELITY INVESTMENTS CUST THOMAS M BAILEY IRA    PO BOX 26                                                                                       IDEAL             GA    31041‐0026

FIDELITY INVESTMENTS CUST THOMAS W ZAWERUCHA     3385 ROSSMAN RD                                                                                 CARO              MI    48723‐9440
IRA
FIDELITY INVESTMENTS CUST TIM K NG IRA           265 DEVILLE CIRCLE                                                                              SUWANEE           GA    30024
FIDELITY INVESTMENTS CUST TIMOTHY H OTT IRA      395 W CALLE DEL ESTRIBO                                                                         SAHUARITA         AZ    85629
FIDELITY INVESTMENTS CUST TOM M RODGERS IRA      6515 HIDDEN CREEK RD                                                                            RACINE            WI    53402‐9406

FIDELITY INVESTMENTS CUST TRACEY R SMEDLEY IRA   11007 MILL CENTRE DR                                                                            OWINGS MILLS      MD    21117‐3275

FIDELITY INVESTMENTS CUST TUCKER J JOHNSON       2027 N LAKE ANGELUS RD W                                                                        LAKE ANGELUS      MI    48326‐1043
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FIDELITY INVESTMENTS CUST ULYSSES POLK             3514 LEGEND LN                                                                                 SHREVEPORT        LA    71118‐4246
FIDELITY INVESTMENTS CUST VIJAY SARIHAN            9419 N 53RD PL                                                                                 PARADISE VALLEY   AZ    85253‐1611
FIDELITY INVESTMENTS CUST VINCENT ALONZI JR IRA    737D PERRY LAKE RD                                                                             CLARKSTON         MI    48348

FIDELITY INVESTMENTS CUST VIOLETA L ALLEN          1353 N 30TH                                                                                    GALESBURG         MI    49053‐9747
FIDELITY INVESTMENTS CUST WALTER L BICE IRA        17525 PAVER & BARNES RD                                                                        MARYSVILLE        OH    43040‐8609
FIDELITY INVESTMENTS CUST WARREN R ALCOCK IRA      3699 SPERONE CT                                                                                CANFIELD          OH    44406‐8000

FIDELITY INVESTMENTS CUST WAYNE J HAWES IRA        8277 ELLIS CREEK DR                                                                            CLARKSTON         MI    48348‐2621
FIDELITY INVESTMENTS CUST WILLIAM CARR IRA         PO BOX 14107                                                                                   DETROIT           MI    48214‐0107
FIDELITY INVESTMENTS CUST WILLIAM D HAUHN IRA      331 MARTINDALE LANE                                                                            FOREST HILL       MD    21050

FIDELITY INVESTMENTS CUST WILLIAM F MARTICH        2201 AMBER RD                                                                                  OKLAHOMA CITY     OK    73170‐3210

FIDELITY INVESTMENTS CUST WILLIAM FLYNN JR         8933 INVERRARY DR SE                                                                           WARREN            OH    44484‐2552
FIDELITY INVESTMENTS CUST WILLIAM L FOWLER IRA     5395 WEST FARRAND RD                                                                           CLIO              MI    48420

FIDELITY INVESTMENTS CUST WILLIAM M LEROY IRA      1841 W D AVE                                                                                   KALAMAZOO         MI    49009‐5241

FIDELITY INVESTMENTS CUST WILLIAM S BOYD           3166 ADELE                                                                                     COMMERCE TWP      MI    48382‐4400
FIDELITY INVESTMENTS CUST WILLIAM S YOUNGS IRA     450 CLOVER DRIVE                                                                               YORK              PA    17402‐7602

FIDELITY INVESTMENTS CUST WILLIE H FALKNER IRA     6497 W CIMARRON TRL                                                                            FLINT             MI    48532‐2022

FIDELITY INVESTMENTS CUST WILLIE L ROBERTS IRA     1010 STONE                                                                                     JOPPA             MD    21085

FIDELITY INVESTMENTS CUST WOFFORD E YOUNG IRA      5323 RENE DR                                                                                   WARREN            MI    48091‐4194

FIDELITY INVESTMENTS CUST YVONNE E JENSEN IRA      12673 VERGENNES ST                                                                             LOWELL            MI    49331‐9162

FIDELITY INVESTMENTS FBO ALFRED B CANDELARIA       3212 NE 89TH ST                                                                                GLADSTONE         MO    64119

FIDELITY INVESTMENTS FBO ANN KUDWA                 3073 CANDLESTICK LANE                                                                          BAY CITY          MI    48706‐2303
FIDELITY INVESTMENTS FBO ANTHONY VEDRODY           743 TODD AVE                                                                                   LEWISBURG         TN    37091‐5000
FIDELITY INVESTMENTS FBO APRIL E SHOWS             17573 MARGATE AVE                                                                              LATHRUP VLLGE     MI    48076‐4619
FIDELITY INVESTMENTS FBO BARBARA S STEVENS         6047 N COUNTY ROAD 850 W                                                                       MIDDLETOWN        IN    47356‐9774
FIDELITY INVESTMENTS FBO BETTY S BAGWELL           5987 SHADBURN FERRY ROAD                                                                       BUFORD            GA    30518‐1313
FIDELITY INVESTMENTS FBO BRIAN CLOUGH              1819 TIMBERLINE CT                                                                             DUCANVILLE        TX    75137‐4580
FIDELITY INVESTMENTS FBO BRUCE A FRANKFORD         PO BOX 311                                                                                     GIRARD            OH    44420‐0311
FIDELITY INVESTMENTS FBO CALVIN S HARRIS           555 MARY ST                                                                                    FLINT             MI    48503‐1564
FIDELITY INVESTMENTS FBO CAROL A WALTERS           35897 ORANGELAWN                                                                               LIVONIA           MI    48150‐2540
FIDELITY INVESTMENTS FBO CAROL J SPARKS            41603 RAMBLER AVE                                                                              ELYRIA            OH    44035
FIDELITY INVESTMENTS FBO CAROLYN C EICKEL          3566 PRATT RD                                                                                  METAMORA          MI    48455‐9713
FIDELITY INVESTMENTS FBO CHARLES B STELL           3374 SOL VIS                                                                                   FALLBROOK         CA    92028‐2600
FIDELITY INVESTMENTS FBO CHARLES GILBERT JR        1006 CLAIRON                                                                                   AUSTELL           GA    30106
FIDELITY INVESTMENTS FBO CHRISTINE A ALEXANDER     11419 KALTZ                                                                                    WARREN            MI    48089‐1809

FIDELITY INVESTMENTS FBO COLLEEN E CORBIN          743 LA REGAL DRIVE                                                                             HEMET             CA    92545‐1112
FIDELITY INVESTMENTS FBO COMFORT NYAMADI‐          47432 GLENGARRY BLVD                                                                           CANTON            MI    48188‐6272
AMABLE
FIDELITY INVESTMENTS FBO DALE A YOCUM              2268 SAWYER RD                                                                                 KENT              NY    14477‐9763
FIDELITY INVESTMENTS FBO DAVIE L WAGNER            15530 ELDERWOOD ST                                                                             ROSEVILLE         MI    48066‐4054
FIDELITY INVESTMENTS FBO DENNIS J JESKE            9766 BERRY HILL DR                                                                             CINCINNATI        OH    45241‐3683
FIDELITY INVESTMENTS FBO DENNIS L ROGERS           1392 FAY RD                                                                                    LOVELAND          OH    45140‐9473
FIDELITY INVESTMENTS FBO DONALD D MCCULLY          2202 GASCONY DR                                                                                LAKE ST LOUIS     MO    63367‐1124
FIDELITY INVESTMENTS FBO DONNA A PRIBE             6954 ELDEN DRIVE                                                                               SYLVANIA          OH    43560‐1280
FIDELITY INVESTMENTS FBO EDDIE HARRIS JR           19392 REVERE ST                                                                                DETROIT           MI    48234‐1710
FIDELITY INVESTMENTS FBO EDWARD J PENNINGTON       473 TIMBERLINE DR                                                                              ROCHESTER         MI    48309‐1310
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Name                                              Address1                               Address2             Address3          Address4          City              State Zip

FIDELITY INVESTMENTS FBO EVERTON C HAWKINS JR     3327 VIOLA                                                                                      LANSING           MI    48911‐3322

FIDELITY INVESTMENTS FBO FRANK J PALFALVI JR   60 W MICKEY MANTLE PATH                                                                            HERNANDO          FL    34442‐5187
FIDELITY INVESTMENTS FBO FRANK J ROSITANI      1825 LODGEPOLE RD                                                                                  SAN MARCOS        CA    92078‐5409
FIDELITY INVESTMENTS FBO FRANK VOLGI           150 CANVASBACK LANE                                                                                BLOOMINGDALE      IL    60108‐5402
FIDELITY INVESTMENTS FBO GARRY D WILSON        803 J ALEXANDE RD                                                                                  LOGANSPORT        LA    71049‐2327
FIDELITY INVESTMENTS FBO GARY P KAUTZ          4062 WOODROW AVE                                                                                   BURTON            MI    48509‐1012
FIDELITY INVESTMENTS FBO GARY W BLAYLOCK       4471 YORK ROAD NUMBER #1                                                                           MILLERS           MD    21102‐2149
FIDELITY INVESTMENTS FBO GEORGE J WARD         1425 RIDLEY DR                                                                                     FRANKLIN          TN    37064‐9616
FIDELITY INVESTMENTS FBO GISELA E CASEY        13435 BASS RD                                                                                      FORT WAYNE        IN    46818‐9609
FIDELITY INVESTMENTS FBO GRAHAM G BILLEY       6064 WENDY DR                                                                                      FLINT             MI    48506‐1069
FIDELITY INVESTMENTS FBO GWENDOLYN P PENNYWELL 1180 YOUNG ST                                                                                      MOUNT VERNON      AL    36560

FIDELITY INVESTMENTS FBO JACK V TAYLOR            1712 CHARLES ST                                                                                 ANDERSON       IN       46013‐2722
FIDELITY INVESTMENTS FBO JAMES J RING             12851 MAPLE AVE                                                                                 BLUE ISLAND    IL       60406‐1952
FIDELITY INVESTMENTS FBO JEANETTE PRIAULX         59407 HOLLY COURT                                                                               WASHINGTON TWF MI       48094‐3719

FIDELITY INVESTMENTS FBO JERRY D TIMS             6442 WOODACRE CT                                                                                ENGLEWOOD         OH    45322‐3641
FIDELITY INVESTMENTS FBO JOHN I FREY              54811 WHITBY WAY                                                                                SHELBY TOWNSHP    MI    48316‐1269

FIDELITY INVESTMENTS FBO JOHN W TAYLOR            PO BOX 46                                                                                       SILVERHILL        AL    36576‐0046
FIDELITY INVESTMENTS FBO JOSEPH E VALENTINE       6587 EMERALD LAKE DR                                                                            TROY              MI    48085‐1447
FIDELITY INVESTMENTS FBO JULIE M SPANGLER         413 NIES AVE                                                                                    ENGLEWOOD         OH    45322‐2009
FIDELITY INVESTMENTS FBO LAWRENCE L FERSTL        670 SHADY LANE                                                                                  ALVATON           KY    42122‐9709
FIDELITY INVESTMENTS FBO LEETRA J HARRIS          502 MCGILL PLACE NE                                                                             ATLANTA           GA    30312‐1026
FIDELITY INVESTMENTS FBO LEO OPERTI               29567 GILCHREST ST                                                                              FARMINGTN HLS     MI    48334‐1613
FIDELITY INVESTMENTS FBO LEONARD BURT JR          58 CR 352                                                                                       OXFORD            MS    38655‐8235
FIDELITY INVESTMENTS FBO LINDA L MODEN            1324 BRENDA CT                                                                                  UPLAND            CA    91786‐2502
FIDELITY INVESTMENTS FBO M K VANN                 180 ACADEMY CIRCLE                                                                              PELL CITY         AL    35128‐4944
FIDELITY INVESTMENTS FBO MARILYN K COLE           2240 E CLYDE RD                                                                                 HOWELL            MI    48855‐9714
FIDELITY INVESTMENTS FBO MARK C MATTIX            3423 BLOCKER DR                                                                                 KETTERING         OH    45420‐1015
FIDELITY INVESTMENTS FBO MELVIN P KELLY           638 SUNFLOWER DR                                                                                CANTON            GA    30114
FIDELITY INVESTMENTS FBO MICHALENE KARAS          14295 OAKWOOD DRIVE                                                                             SHELBY TOWNSHIP   MI    48315‐1449

FIDELITY INVESTMENTS FBO NANETTE JEFFERIS         17807 W STELLA LN                                                                               WADDELL           AZ    85355‐9642
FIDELITY INVESTMENTS FBO NASSIF W HADDAD          38 LOST FEATHER DR                                                                              FAIRPORT          NY    14450‐8928
FIDELITY INVESTMENTS FBO NATHAN L LOVE            3017 AUTUMN SAGE TRAIL                                                                          FLOWER MOUND      TX    75022‐1045
FIDELITY INVESTMENTS FBO NEGILLE C CAMERON        3226 9TH AVE N                                                                                  ST PETERSBERG     FL    33713‐6510
FIDELITY INVESTMENTS FBO OSMAN B HABIB            5150 BANTRY DR                                                                                  W BLOOMFIELD      MI    48322‐1532
FIDELITY INVESTMENTS FBO PATRICIA A JENNINGS      PO BOX 439                                                                                      AVONDALE          GA    30002‐0439
FIDELITY INVESTMENTS FBO PATRICK G RICHARDSON     730 W 300 S                                                                                     TIPTON            IN    46072‐8939

FIDELITY INVESTMENTS FBO PEGGY F NOWICKI          4220 HARVEY LAKE RD                                                                             HIGHLAND          MI    48356‐1151
FIDELITY INVESTMENTS FBO RAY K SCHUBERT           1717 PEONY LANE                                                                                 SAN JOSE          CA    95124
FIDELITY INVESTMENTS FBO RICHARD W BARTON         10239 W 300 S                                                                                   DUNKIRK           IN    47336‐9004
FIDELITY INVESTMENTS FBO RICKY H SOLES            61 VALLEY AVENUE                                                                                WALDEN            NY    12586‐1436
FIDELITY INVESTMENTS FBO ROBERT D TREADWELL       2255 FULLERTON CIRCLE                                                                           INDIANPOLIS       IN    46214‐2032

FIDELITY INVESTMENTS FBO RONALD E MORAVEC         5935 BROOKBANK                                                                                  DOWNERS GROVE     IL    60516‐1851
FIDELITY INVESTMENTS FBO SANDRA D O CONNOR        1364 YUKON WAY APT 48                                                                           NOVATO            CA    94947

FIDELITY INVESTMENTS FBO SEAN C DUSEK             10294 DAYFLOWER DR                                                                              TWINSBURG         OH    44087‐3305
FIDELITY INVESTMENTS FBO SHEILETHA E MC‐NEAL‐     8073 PARK VIEW DRIVE                                                                            BROWNSBERG        IN    46112‐7849
SMITH
FIDELITY INVESTMENTS FBO SHIRLEY A ROBERTS        10060 MANISTEE WAY                                                                              CINCINNATI        OH    45251‐1746
FIDELITY INVESTMENTS FBO SHIVAKUMARAN             3182 WILDFLOWER CIR FOXPNT                                                                      SAGINAW           MI    48603
VENKATARAM
FIDELITY INVESTMENTS FBO TARA D JONES             18079 STONEBROOK DR                                                                             NORTHVILLE        MI    48167‐4345
FIDELITY INVESTMENTS FBO TERRY L MCLARY           2659 W 900 S                                                                                    PENDLETON         IN    46064‐8916
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FIDELITY INVESTMENTS FBO THERESA D TRAVNIKAR         7257 SILVERWOOD ROAD                                                                           NORTH BRANCH      MI    48461‐9307

FIDELITY INVESTMENTS FBO TOMMY SYKES                 514 SUNSET PL                                                                                  HILLSBORO         AL    35643‐3927
FIDELITY INVESTMENTS FBO VIOLA E PARKER              7251 N PALMYRA RD                                                                              CANFIELD          OH    44406‐9711
FIDELITY INVESTMENTS FBO WILLIAM J ALEXANDER         5267 HAROLD DR                                                                                 FLUSHING          MI    48433‐2506

FIDELITY INVESTMENTS FBO WILLIAM R DUNCAN            2450 FIFTH AVE                                                                                 YOUNGSTOWN        OH    44505‐2224
FIDELITY INVESTMENTS INC CUST DIANE LYTLE IRA        373 MILL RUN DR                                                                                ROCHESTER         NY    14626‐1173
FIDELITY INVESTMENTS INC CUST DONALD E JUBB IRA      3226 INGERSOLL RD                                                                              LANSING           MI    48906‐9149

FIDELITY INVESTMENTS INC CUST DONALD E PORTER IRA 322 S MACOMB                                                                                      MANCHESTER        MI    48158‐9639

FIDELITY INVESTMENTS INC CUST LEROY F GEHRKE IRA     870 NANTUCKET DR                                                                               JANESVILLE        WI    53546‐1756

FIDELITY INVESTMENTS INC CUST LLOYD M COULTHARD 1017 S WASHINGTON ST                                                                                JANESVILLE        WI    53546‐5328
IRA
FIDELITY INVESTMENTS INC CUST MARGARET L         274 HUDSON RD                                                                                      POULAN            GA    31781‐3523
TRIBULAK IRA
FIDELITY INVESTMENTS INC CUST NAKANE TAKESHI IRA 2028 FASHION AVE                                                                                   LONG BEACH        CA    90810‐4130

FIDELITY INVESTMENTS INC CUST NINA L RANTA IRA       15427 DELAWARE                                                                                 REDFORD           MI    48239‐3973

FIDELITY INVESTMENTS INC TR BILLIE J MC INTOSH IRA   6820 ORANGE LANE                                                                               FLINT             MI    48505‐1943

FIDELITY INVESTMENTS INC TR CLAUDE S REED JR IRA     1683 RIDGEWOOD                                                                                 SALEM             OH    44460‐3945

FIDELITY INVESTMENTS INC TR DONNA K HETZEL IRA       22667 REVERE ST                                                                                ST CLAIR SHORES   MI    48080‐2883

FIDELITY INVESTMENTS INC TR DORIS D LEE IRA          12830 W RADISSON DR                                                                            NEW BERLIN        WI    53151‐7625
FIDELITY INVESTMENTS INC TR GARRY A VANCE IRA        4101 RAY RD                                                                                    GRAND BLANC       MI    48439‐9309

FIDELITY INVESTMENTS INC TR JASWANT A SINGH IRA      632 ROLLING GREEN                                                                              ROCHESTER HILLS   MI    48309‐1262

FIDELITY INVESTMENTS INC TR LINDA F BRADEN IRA       2320 E CROSS ST                                                                                ANDERSON          IN    46012‐1910

FIDELITY INVESTMENTS INC TR MARK A MC KENZIE IRA     1595 E MELTON RD                                                                               BIRMINGHAN        MI    48009‐7275

FIDELITY INVESTMENTS INC TR STIRLING D KODAMA IRA 11160 AMESTOY AVE                                                                                 GRANADA HILLS     CA    91344‐4110

FIDELITY INVESTMENTS INC TR THOMAS H ELDRIDGE IRA 17323 WOODINGHAM                                                                                  DETROIT           MI    48221‐2556

FIDELITY INVESTMENTS INC TR WILLIAM D HAPNER IRA     3892 VAIL AVE NW                                                                               GRAND RAPIDS      MI    49544‐9423

FIDELITY INVESTMENTS TR ALISON I KANAI               7315 HIDEAWAY DR                                                                               YPSILANTI         MI    48197
FIDELITY INVESTMENTS TR ALMA J FITZGERALD            907 KAY ST                                                                                     DAVISON           MI    48423‐1015
FIDELITY INVESTMENTS TR ANITA BALIC                  1761 HOLDENS ARBOR RUN                                                                         WESTLAKE          OH    44145‐2039
FIDELITY INVESTMENTS TR ANN M GOLASKI                279 BITTERSWEET DR                                                                             NEW WHITELAND     IN    46184
FIDELITY INVESTMENTS TR ANTHONY W BARNARD IRA        6213 MEADOWWOOD DR                                                                             GRAND BLANC       MI    48439‐9026

FIDELITY INVESTMENTS TR BERT B STEPHENSON            2331 W G AVE                                                                                   KALAMAZOO         MI    49009‐5411
FIDELITY INVESTMENTS TR BRIAN P PAVLISCAK            66 PEARL ST                                                                                    OXFORD            MI    48371‐4963
FIDELITY INVESTMENTS TR CAROL ANN BLANCH             15 LEE DRIVE                                                                                   YOUNGSTOWN        OH    44514‐1913
FIDELITY INVESTMENTS TR CAROLE HAMILTON IRA          7300 AKRON RD                                                                                  LOCKPORT          NY    14094‐6263
FIDELITY INVESTMENTS TR CAROLYN A RADFORD            9465 FAIR OAKS DR                                                                              GOODRICH          MI    48438‐9474
FIDELITY INVESTMENTS TR CATHERINE CONSIGLIO          15618 KEPPEN                                                                                   ALLEN PARK        MI    48101‐2785
FIDELITY INVESTMENTS TR CELESTE FARRAR               4 SONGBIRD COURT                                                                               CARMEL            IN    46033‐3947
FIDELITY INVESTMENTS TR CHARLES A BRIGHT JR          145 LEWIS DR                                                                                   DAVENPORT         FL    33837‐8459
FIDELITY INVESTMENTS TR CHESTER A MANCZAK            2419 KOPKA CT                                                                                  BAY CITY          MI    48708‐8167
FIDELITY INVESTMENTS TR CHESTER L HAKANSON           BOX 565                                                                                        APO               AP    96558
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FIDELITY INVESTMENTS TR CHRISTINE V LOMBARDI      102 DURSO DR                                                                                  NEWARK            DE    19711‐6904

FIDELITY INVESTMENTS TR CHRISTOPHE R FERZO        35665 SIMON DRIVE                                                                             CLINTON TWP      MI     48035‐5010
FIDELITY INVESTMENTS TR DAVID A DOWLER            9448 N MEADOWLARK LN                                                                          ELWOOD           IN     46036‐8844
FIDELITY INVESTMENTS TR DAVID J GROFF             5529 EAST STATION ROAD                                                                        ROANOKE          IN     46783‐9166
FIDELITY INVESTMENTS TR DAVID W WALTERS           11447 MARTIN RD                                                                               WARREN           MI     48093‐4409
FIDELITY INVESTMENTS TR DAWN M STARIN             1120 GIILMAN                                                                                  GARDEN CITY      MI     48135‐3017
FIDELITY INVESTMENTS TR DEANNE K WARNER           612 SOMMERSET LN                                                                              WEST FARGO       ND     58078‐2169
FIDELITY INVESTMENTS TR DEANNE R GUTIERREZ        22893 GRAND TERRACE RD                                                                        GRAND TERRACE    CA     92313‐4923
FIDELITY INVESTMENTS TR DEBRA GAY BROWN           29126 GREENING ST                                                                             FARMINGTON HILLS MI     48334‐2942

FIDELITY INVESTMENTS TR DELORES S NEMET           8573 RED OAK DR NE                                                                            WARREN            OH    44484‐1631
FIDELITY INVESTMENTS TR DONALD G KOURDOUVELIS     26620 CAYMAN DR                                                                               TAVARES           FL    32778‐9727

FIDELITY INVESTMENTS TR DONALD J FITZPATRICK      9285 ALPINE AVE NW                                                                            SPARTA            MI    49345‐8443
FIDELITY INVESTMENTS TR DONALD W MORROW           10275 RAVENNA RD                                                                              NEWTON FALLS      OH    44444‐9216
FIDELITY INVESTMENTS TR DORIS JEAN RAY            624 N GIRLS SCHOOL RD                                                                         INDIANAPOLIS      IN    46214‐3658
FIDELITY INVESTMENTS TR EARLENE E FREEMAN         4434 W STANLEY ROAD                                                                           MT MORRIS         MI    48458‐9329
FIDELITY INVESTMENTS TR EDWARD R ECKERT           30412 RIDGEFIELD AVE                                                                          WARREN            MI    48093‐3155
FIDELITY INVESTMENTS TR ELIZABETH V ADAIR         1120 5TH AVE S APT 1                                                                          EDMONDS           WA    98020‐4665
FIDELITY INVESTMENTS TR GARY R HANNA              5329 GREENVIEW DR                                                                             CLARKSTON         MI    48348‐3718
FIDELITY INVESTMENTS TR GLENN W TURNER JR         9096 STATE ROUTE 571                                                                          ARCANUM           OH    45304‐9647
FIDELITY INVESTMENTS TR IRENE Y TSAI              28 8TH STREET                                                                                 HICKSVILLE        NY    11801‐5402
FIDELITY INVESTMENTS TR JAMES A CONSTABLE IRA     7881 WAXWING CIRCLE W                                                                         FORT WORTH        TX    76137‐1089

FIDELITY INVESTMENTS TR JAMES M FAGAN             8505 S RUSSELL RD RR 2                                                                        OAK GROVE         MO    64075‐7261
FIDELITY INVESTMENTS TR JANET E GOFF              855 QUARRY RD                                                                                 JAMESTOWN         OH    45335‐1442
FIDELITY INVESTMENTS TR JANET S BORRON            130 THERESE STREET                                                                            DAVENPORT         FL    33837‐5456
FIDELITY INVESTMENTS TR JANICE E SULLIVAN         1247 STYER DRIVE                                                                              NEW CARLISLE      OH    45344‐2723
FIDELITY INVESTMENTS TR JEANNE M DUGAN            PO BOX 86‐1169 OAK LANE                                                                       BRIDGEPORT        NY    13030
FIDELITY INVESTMENTS TR JEFFREY C GINDLESPERGER   121 NORTHPOINT DR APT 1305                                                                    LEXINGTON         SC    29072‐2167

FIDELITY INVESTMENTS TR JENNIFER ADAMS            51 NORTH FULS RD                                                                              NEW LEBANON       OH    45345‐9400
FIDELITY INVESTMENTS TR JOAN L CANAN              10 CARRAGE CROSSING WAY                                                                       TROY              OH    45373‐8936
FIDELITY INVESTMENTS TR JON W MERKLE              128 REBECCA COURT                                                                             FRANKLIN          TN    37064‐2970
FIDELITY INVESTMENTS TR KAREN J WONDERLY          7524 NW 74TH TERRACE                                                                          KANSAS CITY       MO    64152‐4437
FIDELITY INVESTMENTS TR KATHLEEN A ZALEWSKI       31511 BIRCHWOOD                                                                               WESTLAND          MI    48186‐5245
FIDELITY INVESTMENTS TR KATHLEEN MAJESKI          821 VW SPRING VALLEY PIKE                                                                     CENTERVILLE       OH    45458
FIDELITY INVESTMENTS TR KATHLEEN S GUNNELL        6445 MILANO                                                                                   BURTON            MI    48519‐1363
FIDELITY INVESTMENTS TR KENNETH G CROFT           5131 TWINWOOD AVE                                                                             MEMPHIS           TN    38134‐5231
FIDELITY INVESTMENTS TR KENNETH L BASS            13547 BIRRELL ST                                                                              SOUTHGATE         MI    48195‐1720
FIDELITY INVESTMENTS TR LEN A HOVARTER IRA        3128 BRIGHTON RD                                                                              HOWELL            MI    48843‐7409
FIDELITY INVESTMENTS TR LINDA A BLONSKI           7378 ALOE DR                                                                                  WEEKI WACHEE      FL    34607‐2409
FIDELITY INVESTMENTS TR LORA E WRIGHT             42277 WATERWHEEL ROAD                                                                         NORTHVILLE        MI    48167‐3269
FIDELITY INVESTMENTS TR LOURDES M MONTAGANO       2942 EAGLE COURT                                                                              ROCHESTER HILLS   MI    48309‐2855

FIDELITY INVESTMENTS TR LOWELL E SPENCER III      7805 LINCOLN TRAIL                                                                            PLAINFIELD        IN    46168‐9338
FIDELITY INVESTMENTS TR MABEL C SHORT             PO BOX 131                                                                                    CLAYTON           IN    46118‐0131
FIDELITY INVESTMENTS TR MARGARET H CHRISTIE IRA   45505 TEAL COURT                                                                              NEW BALTIMORE     MI    48047‐5385
ROLLOVER
FIDELITY INVESTMENTS TR MARK E SKILES             11476 TEFT RD                                                                                 SAINT CHARLES     MI    48655
FIDELITY INVESTMENTS TR MARK L HANSEN             4739 VIA ALTAMIRA                                                                             NEWBURY PARK      CA    91320
FIDELITY INVESTMENTS TR MARY ALEXAND SCHMIT       2116 SUNRIDGE CIR                                                                             BROOMFIELD        CO    80020‐1084

FIDELITY INVESTMENTS TR MELVIN J REITZEL          7789 M 71                                                                                     DURAND            MI    48429‐9777
FIDELITY INVESTMENTS TR MICHAEL S OLIANSKY        11365 BELLWOOD                                                                                PLYMOUTH          MI    48170‐3557
FIDELITY INVESTMENTS TR MOVEDA K CROFT            5131 TWINWOOD AVE                                                                             MEMPHIS           TN    38134‐5231
FIDELITY INVESTMENTS TR NEALE R SMITH             1928 HOWLAND WILSON ROAD                                                                      WARREN            OH    44484‐3917
FIDELITY INVESTMENTS TR NELLIE J HOUSTON          547 LOWER MIAMISBURG RD                                                                       MIAMISBURG        OH    45342‐3024
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FIDELITY INVESTMENTS TR ORLANDO SANTIAGO           17667 BEACH LANE                                                                                 LAKE MILTON     OH    44429‐9742
FIDELITY INVESTMENTS TR PATRICIA T LAPILA          834 RTE 148                                                                                      KILLINGWORTH    CT    06419‐1016
FIDELITY INVESTMENTS TR RAY C BUTLER               6375 WILDCAT ROAD                                                                                CROSWELL        MI    48422
FIDELITY INVESTMENTS TR RIAD J ZOOROB              10420 BICKNELL CIR                                                                               NOBLESVILLE     IN    46060‐8192
FIDELITY INVESTMENTS TR ROBERT TRAYLOR             1431 W GRAND BLVD                                                                                DETROIT         MI    48208‐1803
FIDELITY INVESTMENTS TR RONALD W LUTZE             5185 W WILSON                                                                                    CLIO            MI    48420‐9461
FIDELITY INVESTMENTS TR ROSIE J YOKUM              5928 STILLPONDS PLACE                                                                            COLOMBUS        OH    43228‐8817
FIDELITY INVESTMENTS TR RUDY K IKEMIRE             800 BONNIE BRAE CT                                                                               BOLINGBROOK     IL    60440‐1128
FIDELITY INVESTMENTS TR SAM C AIELLO IRA           21886 SAN JOAQUIN DR W                                                                           CANYON LAKE     CA    92587‐7843
FIDELITY INVESTMENTS TR SHARI L TRUSSONI‐CUSICK    1105 E CONNIE LN                                                                                 OAK CREEK       WI    53154‐7058

FIDELITY INVESTMENTS TR SHARON L ROGERS‐HENRY      3515 ALICE AVE                                                                                   DEFIANCE        MO    63341‐3023

FIDELITY INVESTMENTS TR SHARON S CONNOR            872 BUCKNER RD                                                                                   MABLETON        GA    30126‐2702
FIDELITY INVESTMENTS TR SHIRLEY ANN WILLIAMS       943 BURLEIGH AVE                                                                                 DAYTON          OH    45407‐1208

FIDELITY INVESTMENTS TR STEPHEN C FOUT             61284 LOCKER PLANTE RD                                                                           MCARTHUR        OH    45651‐8620
FIDELITY INVESTMENTS TR TAMI LEE BIELSKI           51461 FORSTAR LANE                                                                               SHELBY TWP      MI    48316‐3880
FIDELITY INVESTMENTS TR TAMMY J VAHLBUSCH          29974 MONTMORENCY DR                                                                             NOVI            MI    48377‐2155
FIDELITY INVESTMENTS TR TERRI GOLUB                5199 TIMBER RIDGE TRAIL                                                                          CLARKSTOWN      MI    48346‐3854
FIDELITY INVESTMENTS TR TIEN H QUACH               875 SHEFFIELD RD                                                                                 AUBURN HILLS    MI    48326‐3532
FIDELITY INVESTMENTS TR VELIMIR STEVANOVIC         26499 DIXBORO RD                                                                                 SOUTH LYON      MI    48178‐9104
FIDELITY INVESTMENTS TR WILLIAM L BARTLETT IRA     8 SUNLIT DR E                                                                                    SANTA FE        NM    87508‐8992

FIDELITY INVESTMENTS TR WILLIAM R ADAMS            4682 DESMOND CIR                                                                                 OCEANSIDE       CA    92056‐4963
FIDELITY INVESTMENTS TR WILLIAM R MCCOY            9005 S MELVINA                                                                                   OAK LAWN        IL    60453‐1550
FIDELITY INVESTMENTS TR WINONA LOCKE               1112 SUNNYSIDE DR                                                                                COLUMBIA        TN    38401‐5320
FIDELITY INVESTMENTS WAYNE E BROWN                 233 N ROSEMARY ST                                                                                LANSING         MI    48917‐4914
FIDELITY INVSTMENTS CUST FBO GARY S DAVIS IRA      1471 S SHERIDAN RD                                                                               LENNON          MI    48449

FIDELITY INVSTMENTS CUST FBO THOMAS Z TAKACS IRA 2105 GREENWICH MILAN TL RD                                                                         GREENWICH       OH    44837

FIDELITY MANAGEMENT TRUST COMPANY TR FLORENCE 248 WREN DR                                                                                           GREENSBURG      PA    15601‐4741
E PASKO IRA UA 06/25/96
FIDELITY MGMT TRUST CO TR GERMAINE PRYBYS‐      PO BOX 424                                                                                          DULUTH          GA    30096‐0009
JACKSON IRA
FIDENCIO C ORTIZ                                14011 OAKHILL WAY                                                                                   SAN ANTONIO     TX    78231‐1601
FIDENCIO MIRELEZ                                8473 ROSCOMMON CT                                                                                   ONSTED          MI    49265‐9466
FIELDEN B GRAY                                  3371 WEST 135 ST                                                                                    CLEVELAND       OH    44111‐2403
FIELDING LEE                                    R # 16 BOX 182                                                                                      BEDFORD         IN    47421‐9317
FIELDING LEE & FRANCES JEANNIE LEE JT TEN       RR 16 BOX 182                                                                                       BEDFORD         IN    47421‐9317
FIELDING WESLEY FEATHERSTON IV                  194 ROWLAND RD                                                                                      VERMILION       OH    44089‐2150
FIFI A KUSHNER & GEORGE J KUSHNER JR JT TEN     17845 KERCHEVAL                                                                                     GROSSE POINTE   MI    48230‐1641
FIIOC TR FBO CHRISTOPHER BLAHUT IRA UA 10/10/05 7410 SHADY PALM DR                                                                                  SPRINGFIELD     VA    22153‐1816

FIIOC TR FBO KAREN J GERTZ                         625 HURON DR                                                                                     ROMEOVILLE      IL    60446‐1285
FIL FILIPOV                                        100 E HURON 4703                                                                                 CHICAGO         IL    60611
FILBERTO S CLAROS                                  10010 SIDEVIEW DR                                                                                DOWNEY          CA    90240‐3546
FILDEN EDWARD HARDIN                               ATTN LOYCE HARDIN                    809 COXSPUR                                                 ZEIGLER         IL    62999‐1014
FILIALKIRCHENSTIFTUNG OBERELLENBACH                C/O KATHOLISCHES PFARRAMT/305        84066 MALLESDORF‐PFALLENBERG              GERMANY
FILIBERTO BOLANOS                                  9387 ROSEDALE                                                                                    ALLEN PARK      MI    48101‐1649
FILIP RAY COREY                                    19801 N 200 E                                                                                    EATON           IN    47338
FILIPPA C MILITELLO                                32 STERLING LANE                                                                                 SMITHTOWN       NY    11787‐4722
FILIPPO COLAPRETE                                  14 BARNEY LANE                                                                                   ROCHESTER       NY    14606‐5316
FILIPPO G PARATORE                                 1040 TITUS AVE                                                                                   ROCHESTER       NY    14617‐4030
FILIPPO VELLA                                      1010 PLANK RD                                                                                    WEBSTER         NY    14580‐9350
FILIZ TAYLOR                                       7301 DUFFIELD DR                                                                                 DALLAS          TX    75248‐7425
FILMORE CRONK                                      8316 CLIPPERT ST                                                                                 TAYLOR          MI    48180‐2853
FILMORE WALKER III                                 PO BOX 3599                                                                                      BATTLE CREEK    MI    49016‐3599
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Name                                              Address1                               Address2                    Address3                       Address4            City             State Zip

FILOMENA DRAZETIC                                 140 E 204 ST                                                                                                          EUCLID           OH    44123‐1049
FILOMENA M ORLANDO                                355 CLINTON STREET                                                                                                    LOCKPORT         NY    14094‐1501
FILOMENA NICOTINA                                 20 CARRINGTON DR                                                                                                      ROCHESTER        NY    14626‐4462
FILOMENA SILVESTRI                                413 WEST 47TH ST OFF 1A                                                                                               NEW YORK         NY    10036‐2308
FILTHY MCNASTY                                    BOX 2953                                                                                                              HOLLYWOOD        CA    90078‐2953
FIN KIERULFF                                      H C LUMBYESVEJ 15                      8000 AARHUS C                                              DENMARK
FINAS J SMELLEY                                   3604 E CEDAR LAKE DRIVE                                                                                               GREENBUSH        MI    48738‐9720
FINAT & CO                                        1900 POLARIS PKWY                                                                                                     COLUMBUS         OH    43240‐4035
FINCH J YELLIOTT                                  1327 CLOVERDALE CIRCLE                                                                                                HIXSON           TN    37343‐4442
FINESSA GARDNER                                   11116 WILLOW MEADOW LN                 APT 838                                                                        CHARLOTTE        NC    28277‐2260
FINIAS J JACKSON                                  1361 WILHELMINA DR                                                                                                    VANDALIA         OH    45377‐1738
FINIS KIRK JR                                     420 STULMAN DR                                                                                                        MILPITAS         CA    95035‐6029
FINLEY E CAMPBELL                                 779 REDMAN AVE                                                                                                        HADDONFIELD      NJ    08033‐2743
FINLEY FELTNER                                    5871 SOUTH STATE RD ROUTE #39                                                                                         CLAYTON          IN    46118
FINLEY L HENSLEY                                  4310 EAST 600 SOUTH                                                                                                   GAS CITY         IN    46933
FINLEY LEE HARBERT                                5125 MERIT DR                                                                                                         FLINT            MI    48506‐2186
FINLEY NAPIER                                     117 LU LU AVE                                                                                                         HAMILTON         OH    45011
FINLEY P HANSFORD                                 5285 UPTON RD                                                                                                         HASTINGS         MI    49058‐7604
FINLEY S JAMES                                    BOX 507                                                                                                               DARLINGTON       SC    29540‐0507
FINN M PETERSEN                                   #103                                   6240 E MIRROR LK DR                                                            SEBASTIAN        FL    32958‐8476
FIORE J RUFFOLO & BETTINA RUFFOLO JT TEN          P.O. BOX 1367                                                                                                         N RIVERSIDE      IL    60546
FIORENZO G D AGOSTINI                             PARONVAG 16                            17549 JARFALLA                                             SWEDEN
FIRDLES A ULRICH                                  17391 SW 35TH ST                                                                                                      MIRAMAR          FL    33029‐1608
FIRMIN ELGART                                     1409 E BEVERLY ST                                                                                                     ADA              OK    74820‐2605
FIRMINO J BATISTA                                 857 CANDLEBARK DR                                                                                                     JACKSONVILLE     FL    32225‐5324
FIRST BAPTIST CHURCH                              502 HIGHLAND                                                                                                          WINNSBORO        LA    71295‐3220
FIRST BAPTIST CHURCH                              WARREN RAMSEY TREAS                    PO BOX 23                                                                      HARBOR BEACH     MI    48441‐0023
FIRST BAPTIST CHURCH OF CENTRAL SQUARE            PO BOX 476                                                                                                            CENTRAL SQUARE   NY    13036‐0476
FIRST BAPTIST CHURCH OF FREEHOLD N J              ATT TREASURER                          81 W MAIN ST                                                                   FREEHOLD         NJ    07728‐2114
FIRST BAPTIST CHURCH OF MADISON INDIANA           416 VINE ST                                                                                                           MADISON          IN    47250‐3121
FIRST BAPTIST CHURCH OF MILAN TENNESSEE                                                                                                                                 MILAN            TN    38358
FIRST BAPTIST CHURCH OF NEWPORT                   BOX 641                                                                                                               NEWPORT          NH    03773‐0641
FIRST BAPTIST CHURCH OF SAWGER                    609 O ST                                                                                                              SANGER           CA    93657‐2416
FIRST BAPTIST CHURCH WHEATON MD                   10914 GEORGIA AVE                                                                                                     WHEATON          MD    20902‐4700
FIRST CHICAGO NBO INVEST SVCS TR CAROLYN JEAN     1434 PEBBLECREEK                                                                                                      METAMORA         MI    48455‐8711
HALL
FIRST CHICAGO TR JOHN D DE VINE III UA 07/21/98   2823 A S MICHIGAN                                                                                                     CHICAGO          IL    60616‐3229

FIRST CHRISTIAN CHURCH                            C/O GRANT COUNTY BANK                  PO BOX 85                                                                      MEDFORD          OK    73759‐0085
FIRST CHRISTIAN CHURCH OF CAMERON W VA            7 NORTH AVE                                                                                                           CAMERON          WV    26033‐1120
FIRST CHURCH OF CHRIST SCIENTIST                  104 E KELSEY ST                                                                                                       THREE RIVERS     MI    49093‐1539
FIRST CLEARING CUST FBO SCOT RUNKE IRA            5580 MARTELL DR                                                                                                       TROY             MI    48085
FIRST CLEARING LLC FBO P M SCAFURI                5863 ROLLING RIDGE DR                                                                                                 TRENTON          MI    48183‐5815
FIRST CONGREGATIONAL CHURCH                       PO BOX 2                                                                                                              ORLANDO          IN    46776‐0002
FIRST EVANGELICAL & REFORMED CHURCH               280 EAST MARKET ST                                                                                                    WARREN           OH    44481‐1204
FIRST INVESTORS TR FRANK J CONSIGLIO IRA UA       86 SAMSONDALE AVE                                                                                                     W HAVERSTRAW     NY    10993‐1232
02/22/99
FIRST METHODIST CHURCH OF GLENWOOD                BOX 158                                                                                                               GLENWOOD CITY    WI    54013‐0158
FIRST METHODIST CHURCH OF VIRGIL                  ATTN TREASURER                         1194 CHURCH STREET VIRGIL                                                      CORTLAND         NY    13045
FIRST METHODIST EPISCOPAL CHURCH OF NEWARK        88 N FIFTH ST                          PO BOX 729                                                                     NEWARK           OH    43058‐0729

FIRST NATIONAL BANK OF                            MONTEREY TRUSTEE U/A DTD               12‐31‐81 FOR CHARLES B      KEITZER AND LENORE M KEITZER   MEMORIAL TRUST C    MONTEREY         IN    46960
FIRST NATIONAL NOMINEES PROPRIETARY LIMITED       PO BOX 7713                            JOHANNESBURG                                               2000 SOUTH AFRICA

FIRST PRESBYTERIAN CHURCH                         89‐60 164TH ST                                                                                                        JAMAICA          NY    11432‐5142
FIRST PRESBYTERIAN CHURCH                         99 WAYNE                                                                                                              PONTIAC          MI    48342‐2072
FIRST PRESBYTERIAN CHURCH                         224 NORTH MAIN STREET                                                                                                 BEL AIR          MD    21014‐3500
FIRST PRESBYTERIAN CHURCH FREEHOLD N J            118 W MAIN ST                                                                                                         FREEHOLD         NJ    07728‐2050
FIRST PRESBYTERIAN CHURCH OF CHAUMONT             PO BOX 264                                                                                                            CHAUMONT         NY    13622‐0264
                                             09-50026-mg                  Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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FIRST PRESBYTERIAN CHURCH OF HUDSON FALLS         C/O SUSAN GILBERT                      20 ELM DR                                                LAKE GEORGE     NY    12845‐4436
FIRST STRIKE MANAGEMENT CONSULTING INC            ATTN J D LEWIS                         4001 LOBLOLLY AVE                                        LITTLE RIVER    SC    29566‐9307
FIRST UNION BANK CUST LARRY W FLOWERS IRA         6847 LAKECREST CT                                                                               DENVER          NC    28037‐8356
FIRST UNION SECURITIES CUST YVONNE A MORRISON     7246 W WABASH AVE                                                                               MILWAUKEE       WI    53223‐2609
IRA
FIRST UNION SECURITIES TR DOROTHY A KONCZAL IRA   8595 SCENICVIEW DRIVE                  APT 103                                                  BROADVIEW       OH    44147‐3464
                                                                                                                                                  HEIGHTS
FIRST UNITED CHURCH OF CHRIST OF WARREN OHIO      280 E MARKET ST                                                                                 WARREN          OH    44481‐1204

FIRST UNITED METHODIST CHURCH                     BOX 39                                                                                          COTTONWOOD      KS    66845‐0039
                                                                                                                                                  FALLS
FISHBURNE MILITARY SCHOOL ALUMNI ASSOC            225 SOUTH WAYNE AVENUE                                                                          WAYNESBORO      VA    22980‐4621
FISHING FOR INVESTMENTS CLUB                      ATTN ROC                               11922 PARKBROOK                                          BATON ROUGE     LA    70816‐4672
FITCHBURG HARDWARE                                ATTN SAMUEL MARTINO JR                 692 N MAIN ST                                            LEOMINSTER      MA    01453‐1839
FITZ H MC KENZIE                                  8664 OLD HIGHWAY 75                                                                             PINSON          AL    35126‐2129
FITZGERALD B PINE                                 4400 MURDOCK AVE                                                                                BRONX           NY    10466‐1109
FITZGERALD CAMPBELL HUGHES                        2636 MONTGOMERY AVE SW                                                                          ROANOKE         VA    24015‐4206
FITZROY B SAWYERS                                 90 LEHIGH AVE                                                                                   ROCHESTER       NY    14619‐1625
FITZROY DAY                                       5291 LEONOXND                                                                                   DETROIT         MI    48213
FITZSIMMONS HOOD JR                               24056 WOODRIDGE LN                                                                              NOVI            MI    48374
FLATLANDERS SKI CLUB                              BOX 60835                                                                                       MIDLAND         TX    79711
FLATONIA METHODIST CHURCH                         ATTN LEONARD HAYNE                     PO BOX 386                                               FLATONIA        TX    78941‐0386
FLATOP & COMPANY                                  BOX 950                                                                                         BLUEFIELD       WV    24701‐0950
FLAVIA LEONA BURTON                               BOX 1859                                                                                        FERNLEY         NV    89408‐1859
FLAVIA M PIEROTTI                                 PO BOX K200                                                                                     HENRICO         VA    23288‐0200
FLAVIA WALPATICH & JOANN DAVIDSON JT TEN          7404 SIGLER ROAD                                                                                S ROCKWOOD      MI    48179‐9794
FLEET BANK TR CARMEN F ZEOLLA IRA PLAN 03/01/94   5077 STAGECOACH RD                                                                              CAMILLUS        NY    13031‐9794

FLEET SECURITIES                                  114 W 47TH ST                          STE C‐1                                                  NEW YORK         NY   10036‐1594
FLEETWOOD JACKSON                                 69200 HENRY ROSS DR                                                                             BRUCE TWP        MI   48065‐4019
FLEM E SELLARS                                    5031 TAYLOR CREEK ROAD                                                                          CHRISTMAS        FL   32709‐9136
FLEMING EUGENE SMITH                              119 MAPLEWOOD DR                                                                                GRIFFIN          GA   30224‐7438
FLEMING H BOWDEN                                  1403 WENTWORTH AVE                                                                              JACKSONVILLE     FL   32259‐3832
FLENARD MCALPINE SR                               1419 COCHISE LANE                                                                               BIRMINGHAM       AL   35214‐3909
FLENOID GREER                                     16813 WHITCOMB                                                                                  DETROIT          MI   48235‐3721
FLENORD K BAKER                                   22184 LUJON                                                                                     FARMINGTON HILLS MI   48167‐9371

FLETCHER A LAMKIN                                 521 FEDERAL DR                                                                                  ANDERSON        IN    46013‐4713
FLETCHER CLARK III                                7426 BRIARPATCH LANE                                                                            CINCINNATI      OH    45236‐2108
FLETCHER E COBBS                                  8115 LANGLEY AVE                                                                                CHICAGO         IL    60619‐5018
FLETCHER E COBBS                                  8115 LANGLEY ST                                                                                 CHICAGO         IL    60619‐5018
FLETCHER J WHITE                                  240 WAVERLY                                                                                     HIGHLAND PK     MI    48203‐3271
FLETCHER L HILLMAN                                175 MORAINE ST                                                                                  BROCKTON        MA    02301‐3626
FLETCHER R JONES JR                               1611 W 15TH ST                                                                                  ANDERSON        IN    46016‐3205
FLETCHER S GOOSBY                                 16904 STOCKBRIDGE                                                                               CLEVELAND       OH    44128‐1534
FLETCHER SPEARS III                               3142 W FARRAND RD                                                                               CLIO            MI    48420‐8836
FLINT CULTURAL CENTER CORP                        1198 ROBERT T LONGWAY BLVD                                                                      FLINT           MI    48503‐1851
FLO ANN SHOCKEY                                   6331 JEAN DR                                                                                    RAVENNA         OH    44266‐1325
FLO SLONE                                         526 EAST GRAND BLVD                                                                             YPSILANTI       MI    48198‐4129
FLODENA COOPER                                    3027 MAYFAIR DR                                                                                 KOKOMO          IN    46902‐3932
FLONNIE HUTSON                                    112 TWIN BRIDGE RD                                                                              DEER LODGE      TN    37726‐3700
FLONZIE R BOND                                    1775 S JESSIE                                                                                   PONTIAC         MI    48342
FLOR S FELICIANO                                  5150 ST LAWRENCE                                                                                DETROIT         MI    48210‐2163
FLOR SALTIEL                                      17 CLUBWAY                                                                                      HARTSDALE       NY    10530‐3614
FLORA A DURNAN                                    G‐3492 BRANCH RD                                                                                FLINT           MI    48506‐2079
FLORA A FIELDS                                    765 W LACLEDE                                                                                   YOUNGSTOWN      OH    44511‐1453
FLORA A HANSEN                                    3150 WEST FIR AVENUE                   APT# 110                                                 FRESNO          CA    93711‐0274
FLORA A ROCKWELL                                  2598 LITCHFIELD DR                                                                              WATERFORD       MI    48329‐3959
FLORA ALFORD                                      6 FISHERS HILL DRIVE                                                                            ST PETERS       MO    63376‐5971
                                              09-50026-mg               Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

FLORA ANDREASON & JUEL ANDREASON JT TEN         BOX 3                                                                                           HOWE              ID    83244‐0003
FLORA ANN SANFORD                               4650 EMORY RD                                                                                   EL PASO           TX    79922‐1820
FLORA B DAME                                    830 OSCEOLA DRIVE                                                                               BOCA RATON        FL    33432‐8017
FLORA B LEWIS                                   5900 E EMORY RD                                                                                 KNOXVILLE         TN    37938‐3315
FLORA B RAY                                     206 3RD AVE BOX 171                                                                             ROUSEVILLE        PA    16344‐0171
FLORA BLOUSE POTENCIANO CAVILES                 4934 PASAY ROAD                        DASMARINAS VILLAGE   MAKATI CITY       PHILIPPINES
FLORA BOWERS                                    PO BOX 28                                                                                       SIDNAW            MI    49961‐0028
FLORA C AKERS TOD TOWANA FRASURE SUBJECT TO STA 3212 KENTUCKY ROUTE #979                                                                        HAROLD            KY    41635
TOD RULES
FLORA C CATHELL                                 1200 MEETINGHOUSE RD                                                                            GWYNEDD          PA     19436‐1001
FLORA C FOX                                     3936 DOGWOOD DR                                                                                 ANDERSON         IN     46011
FLORA C TUCKER                                  550 WESTFORD RD                                                                                 JAMESTOWN        PA     16134‐8614
FLORA D GILLIAM                                 1518 GARFIELD AVE                                                                               BELOIT           WI     53511‐3329
FLORA D HARRISON                                12 FURMAN DR                                                                                    AIKEN            SC     29803‐6611
FLORA D LAYOW                                   124 WELLS                                                                                       SOUTH LYON       MI     48178
FLORA DAVIS                                     2401 S TURNER RD                                                                                YOUNGSTOWN       OH     44515‐5525
FLORA E HALL                                    517 MISTY LN                                                                                    NORTH FORT MYERS FL     33903‐5672

FLORA E MOSS                                      22783 LAKE SOUTH DR                                                                           FOLEY             AL    36535‐9367
FLORA F MARION & FLORA M HARTFORD & DONALD        360 SW SOUTH RIVER DR 102                                                                     STUART            FL    34997‐3015
HARTFORD JT TEN
FLORA F SCHNEIDER                                 18641 PASEO NUEVO DRIVE                                                                       TARZANA           CA    91356‐5317
FLORA G MC COLLUM                                 BOX 567                                                                                       CLEARWATER        KS    67026‐0567
FLORA G WILSON                                    1545 LANGDON DR                                                                               DAYTON            OH    45459‐5006
FLORA HOLLIS ATKINSON                             97 W 900 N                                                                                    ALEXANDRIA        IN    46001‐8389
FLORA J CONLEY                                    2406 TRINITY DR                                                                               MIDDLETOWN        OH    45044‐8804
FLORA J KIBLER                                    129 E CLEVELAND AVE                                                                           NEWARK            DE    19711‐2213
FLORA J LEWIS                                     PO BOX 13425                                                                                  DETROIT           MI    48213‐0425
FLORA J PENN                                      4203 CRUM ROAD                                                                                YOUNGSTOWN        OH    44515‐1422
FLORA J WILLIAMS                                  3367 GILBERT RD S E                                                                           ATLANTA           GA    30354‐2830
FLORA L GILBERT                                   10047 S CARPENTER                                                                             CHICAGO           IL    60643‐2247
FLORA L JOHNSON                                   609 E MASON ST                                                                                OWOSSO            MI    48867‐3260
FLORA L TROUPE                                    1801 14TH ST                                                                                  ATHENS            AL    35611‐4159
FLORA LESLIE & GEORGE JOHN LESLIE JT TEN          1123 MARQUETTE COURT                                                                          ROCHESTER HILLS   MI    48307‐3032
FLORA LIEBERMAN                                   10791 TEA OLIVE LN                                                                            BOCA RATON        FL    33498‐4844
FLORA M BRAWLEY                                   1219 RAILROAD ST                                                                              COULTERVILLE      IL    62237‐3311
FLORA M DUNLAP TR FLORA M DUNLAP TRUST UA         2516 BRADLEY RD                                                                               ROCKFORD          IL    61107‐1105
05/16/86
FLORA M GOLIAS                                    1421 GUARNIERI DR NE                                                                          WARREN            OH    44483
FLORA M HIXENBAUGH                                7411 E COLDWATER RD                                                                           DAVISON           MI    48423‐8904
FLORA M LOVE                                      4800 KEATS AVE                                                                                CHARLOTTE         NC    28212‐5318
FLORA M MORTON                                    317 MCCASKILL AVE                                                                             MAXTON            NC    28364‐1829
FLORA M RICHARDSON                                1604 WESTERN SHORE DR                                                                         NASHVILLE         TN    37214‐4316
FLORA M WARD                                      1703 DONALD ST                                                                                FLINT             MI    48505‐4645
FLORA MALPELI                                     46‐37 188TH ST                                                                                FLUSHING          NY    11358‐3817
FLORA R DIPALMA                                   5668 DESCARTES CIR                                                                            BOYNTON BEACH     FL    33437‐2426
FLORA R PODLESAK TR FLORA R PODLESAK LIVING TRUST 3907 W MARQUETTE RD                                                                           CHICAGO           IL    60629‐4115
UA 10/30/97
FLORA R QUIROGA                                   1290 MAURER                                                                                   PONTIAC           MI    48342‐1960
FLORA ROOKS                                       502 ELM ST                                                                                    KALAMAZOO         MI    49007‐3233
FLORA S PAULK                                     341 WINN WAY APT 313                                                                          DECATUR           GA    30030‐2113
FLORA S ROMONTO                                   11464 SPRING RD                                                                               CHESTERLAND       OH    44026‐1310
FLORA S ROMONTO & DOMENIC A ROMONTO JT TEN        11464 SPRING ROAD                                                                             CHESTERLAND       OH    44026‐1310

FLORA V JOYCE                                    249 N WINDING DRIVE                                                                            WATERFORD         MI    48328‐3072
FLORA V STUMP                                    3940 FRAZIER RD E                                                                              COLUMBUS          OH    43207‐4185
FLORA W SIMMONS                                  284 MARYLAND N W                                                                               WARREN            OH    44483‐3240
FLORADAHL SACKS TR 11/10/98 FLORADAHL SACKS      9055 SW 73 CT                         APT 1906                                                 MIAMI             FL    33156
TRUST
                                                09-50026-mg                 Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
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Name                                               Address1                                Address2             Address3          Address4             City            State Zip

FLORANCE H CAVANAUGH                            4176 RAMBLEWOOD                                                                                        TROY            MI    48098‐3624
FLORANTE P JAYME                                5821 BLVD EXT RD SE                                                                                    OLYMPIA         WA    98501‐4767
FLOREAN NICHOLSON                               1209 S BOOTS ST                                                                                        MARION          IN    46953‐2220
FLORECE M CARROLL                               16865 HANS COURT                                                                                       FRASER          MI    48026‐1848
FLORECE M CARROLL & ROBERT E CARROLL JT TEN     16865 HANS COURT                                                                                       FRASER          MI    48026‐1848
FLOREE ASHCRAFT                                 514 BOLT AVE                                                                                           GREENWOOD       SC    29646‐4406
FLOREEN D TEETERS                               7465 W 300 S                                                                                           LAPEL           IN    46051‐9708
FLORENA M LINTON                                3945 PHILLIPS RD                                                                                       KINGSTON        MI    48741‐9762
FLORENA WERDLOW                                 8411 CARRIE ST                                                                                         DETROIT         MI    48211‐1773
FLORENCE A BARE                                 9348 MERRICK                                                                                           TAYLOR          MI    48180‐3845
FLORENCE A BROWN                                142 TOKARCIK LN                                                                                        BROCKWAY        PA    15824‐7426
FLORENCE A COLLINS                              4502 READING RD                                                                                        DAYTON          OH    45420
FLORENCE A COOK                                 15102 GOLDEN EAGLE WAY                                                                                 TAMPA           FL    33625‐1545
FLORENCE A COTTER                               42 BARTLEY ST                                                                                          WAKEFIELD       MA    01880‐3130
FLORENCE A CRAWFORD                             19127 PINEHURST                                                                                        DETROIT         MI    48221‐3221
FLORENCE A EASTERBY                             6613 WICKS RD                                                                                          LOCKPORT        NY    14094‐9452
FLORENCE A EVERS                                5680 S MADELINE                                                                                        MILWAUKEE       WI    53221‐3948
FLORENCE A GARMAN & GARY D GARMAN & BARBARA L 1019 PARK AVE                                                                                            ROYAL OAK       MI    48067‐2230
GARMAN JT TEN
FLORENCE A HANKE                                623 PRINCETON CT                                                                                       MANSFIELD       OH    44904
FLORENCE A HAYS TOD LARRY HAYS SUBJECT TO STA   4611 HANNAFORD ST                                                                                      DAYTON          OH    45439‐2719
TOD RULES
FLORENCE A HAYS TOD PATRICIA MCELWEE SUBJECT TO 4611 HANNAFORD ST                                                                                      DAYTON          OH    45439‐2719
STA TOD RULES
FLORENCE A INGLISA                              1963 WELLINGTON DR                                                                                     LANGHORN        PA    19047‐1313
FLORENCE A KACZMAREK                            1601 S GRANT ST                                                                                        BAY CITY        MI    48708
FLORENCE A KELLY                                C/O FLORENCE A MARKAKIS                    750 VANESSA LANE                                            NESHANIC STA    NJ    08853
FLORENCE A MIZIKAR & RICHARD R MIZIKAR JT TEN   4050 VEZBER DR                                                                                         SEVEN HILLS     OH    44131‐6232

FLORENCE A MOSCHINI                                4 LINDEN ST                                                                                         HOPKINTON       MA    01748‐1917
FLORENCE A NISHIMOTO                               7409 HOLLY AVE                                                                                      TAKOMA PARK     MD    20912‐4219
FLORENCE A POUMP                                   14127 LOWE DR                                                                                       WARREN          MI    48088‐5735
FLORENCE A SCHAEFFER                               1219 SPRINGFIELD ST                                                                                 DAYTON          OH    45403‐1422
FLORENCE A SOLIN TR ALBERT W SOLIN RESIDUARY       8710 N SPRINGFIELD AVE                                                                              SKOKIE          IL    60076‐2257
TRUST UA 04/01/99
FLORENCE A SOLIN TR UA 05/06/93 FLORENCE A SOLIN   8710 SPRINGFIELD AVE                                                                                SKOKIE          IL    60076‐2257
TRUST
FLORENCE A TAYLOR                                  1506 S ARMSTRONG ST                                                                                 KOKOMO          IN    46902‐2038
FLORENCE ALEXANDER                                 12 JABOTINSKY ST                        JERUSALEM                              ISRAEL
FLORENCE ALEXANDER & KENNETH O PHILLIPS JT TEN     900 W LAKE RD APT C‐100                                                                             PALM HARBOR     FL    34684‐3190

FLORENCE ANN DORAN                                 104 SNUGHAVEN CT                                                                                    TONAWANDA       NY    14150‐8570
FLORENCE ANN SCHAFFER                              9734 PLACID DRIVE                                                                                   CINCINNATI      OH    45241‐1218
FLORENCE ANNE JAEGER                               1140 PILGRIM PKWY                                                                                   ELM GROVE       WI    53122‐2026
FLORENCE ARMETHA SNIDER                            1034 TUDOR RD                                                                                       DAYTON          OH    45419‐3721
FLORENCE ARNDT & EDWIN A ARNDT JR JT TEN           147 KLEBER AVE                                                                                      YOUNGSTOWN      OH    44515‐1736
FLORENCE B BROWN                                   C/O ROBERT D BROWN JR                   404 NEALE CT                                                SILVER SPRING   MD    20901‐4436
FLORENCE B CARLO & DONA L DAPIRAN & JAMIE A        71 WINDJAMMER COURT                                                                                 BAYVILLE        NJ    08721‐1412
FERREIRA JT TEN
FLORENCE B DONALDSON                               126 FIRST ST EAST UNIT 103                                                                          TIERRA VERDE    FL    33715‐1791
FLORENCE B FEUERBORN                               17641 CHATHAM DR                                                                                    TUSTIN          CA    92780‐2304
FLORENCE B HLAVATY                                 3385 MARONEAL                                                                                       HOUSTON         TX    77025‐2007
FLORENCE B LIEN                                    9163 SKYLINE BLVD                                                                                   OAKLAND         CA    94611‐1745
FLORENCE B MAZZUCA                                 4227 TERRACE AVE                                                                                    PENNSAUKEN      NJ    08109‐1627
FLORENCE B TREMPE                                  9105 PARLIAMENT DR                                                                                  BURKE           VA    22015‐2156
FLORENCE B URBANCE                                 1251 TOWER DR                                                                                       OTTAWA          IL    61350‐9145
FLORENCE B VIETRO & ARTHUR T VIETRO JT TEN         310 LOCKWOOD AVE                                                                                    NEW ROCHELLE    NY    10801‐4802
FLORENCE B VIETRO & CATHERINE L VIETRO JT TEN      310 LOCKWOOD AVE                                                                                    NEW ROCHELLE    NY    10801‐4802
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FLORENCE B VIETRO & JAMES N VIETRO JT TEN        310 LOCKWOOD AVE                                                                                    NEW ROCHELLE    NY    10801‐4802
FLORENCE BARRINGTON TR LIVING TRUST 04/29/92 U‐A 301 E HEWITT                                                                                        MARQUETTE       MI    49855‐3711
FLORENCE BARRINGTON
FLORENCE BIELASKI                                320 DRAKE DRIVE                                                                                     N TONAWANDA      NY   14120‐1606
FLORENCE C DAGLE                                 7 STOWE DR                                                                                          SHELTON          CT   06484‐4834
FLORENCE C FICK                                  3579 KINGS POINT                                                                                    TROY             MI   48083‐5314
FLORENCE C FREDERICK TR FLORENCE C FREDERICK     8539 NORBORNE                                                                                       DEARBORN HEIGHTS MI   48127‐1189
TRUST UA 09/14/99
FLORENCE C KRUG                                  8211 KIMBROOK DRIVE                                                                                 GERMANTOWN      TN    38138‐2454
FLORENCE C MADIGAN & MAUREEN M MADIGAN JT TEN 911 OAKRIDGE                                                                                           ROYAL OAK       MI    48067‐4905

FLORENCE C MAJOR                               5011 PERSHING AVE                                                                                     PARMA           OH    44134‐2327
FLORENCE C MCCLELLAND                          PO BOX 285                                                                                            FREDONIA        NY    14063‐0285
FLORENCE C MCHUGH                              3427 AMESBURY LANE                                                                                    BRUNSWICK       OH    44212‐2295
FLORENCE C NAROZNY & CAROLYN C NAROZNY‐SHAW JT 7206 FLAMINGO                                                                                         ALGONAC         MI    48001
TEN
FLORENCE C PEFFALL                             SPRING HOUDE ESTATES                         APT C 209                                                LAWER GWYNEDD   PA    19002

FLORENCE C ROHRBAUGH                               262 AVONDALE RD                                                                                   ROCHESTER       NY    14622‐1963
FLORENCE C ROSS                                    6984 HARBOUR WOODS OVERLOOK                                                                       NOBLESVILLE     IN    46060‐6692
FLORENCE C VENDRYES CUST KENNETH E VENDRYES        1508 MARY LANE                                                                                    CELINA          OH    45822‐9796
UGMA OH
FLORENCE C WHITTY                                  40 WILLOW POND WAY                       APT 104                                                  PENFIELD        NY    14526‐2681
FLORENCE CAWLEY                                    40 146 AVE                               ILE PERROT QC                          J7V 8P4 CANADA
FLORENCE CELIA LEWIS                               10101 W CARPENTER RD                                                                              FLUSHING        MI    48433‐1047
FLORENCE CHAFFEE‐KING                              PO BOX 35                                                                                         SCIO            NY    14880‐0035
FLORENCE CHALKER                                   4408 NORTH WEST 2ND ST                                                                            PLANTATION      FL    33317‐3105
FLORENCE CHU                                       70‐18 KESSEL STREET                                                                               FOREST HILLS    NY    11375‐5844
FLORENCE CLAYTON TOLSON                            36 MILL POND RD                                                                                   DURHAM          NH    03824‐2720
FLORENCE CROSLAND SIBLEY                           PO BOX 169                                                                                        AIKEN           SC    29802‐0169
FLORENCE D CONWAY                                  6855 S PRINCE CIR                                                                                 LITTLETON       CO    80120‐3537
FLORENCE D COREY & DARLENE COREY JT TEN            7721 SW 22ST                                                                                      MIAMI           FL    33155‐6536
FLORENCE D FARRAR                                  PO BOX 205                                                                                        MADISON         OH    44057‐0205
FLORENCE D FIFE TR UA 02/25/86 FLORENCE D FIFE     8824 W STAYTON RD SOUTHEAST                                                                       AUMSVILLE       OR    97325‐9432
TRUST
FLORENCE D GIBSON                                  5115 E 53 PARKWAY                                                                                 ANDERSON        IN    46013‐2919
FLORENCE D GUY                                     5612 BELMONT AVE                                                                                  YOUNGSTOWN      OH    44505‐1040
FLORENCE D KITTREDGE                               1550 E RIVER ROAD                        APT 364                                                  TUCSON          AZ    85718‐5899
FLORENCE D PINDER                                  401 ROSEWOOD DR                                                                                   NEWARK          DE    19713‐3350
FLORENCE D STEEL                                   105 CHEWS LANDING ROAD                                                                            HADDONFIELD     NJ    08033‐3835
FLORENCE D STERLING                                105 KERBYPARKWAY                                                                                  FORT WASHINGTON MD    20744‐4737

FLORENCE D WILLIAMS                                790 NOTTINGHAM RD                                                                                 ELKTON          MD    21921
FLORENCE DANIEL LONG                               PO BOX 329                                                                                        QUITMAN         GA    31643‐0329
FLORENCE DAVIS                                     2472 64 AVE                                                                                       OAKLAND         CA    94605‐1945
FLORENCE DAVIS WEST                                3140 S KINNICKINNIC AVE                  APT 3                                                    MILWAUKEE       WI    53207‐2977
FLORENCE DE FILIPPO                                10 CHARTER OAK AVE                                                                                EAST HAVEN      CT    06512‐2707
FLORENCE DEFINO & GEORGE DEFINO JT TEN             57 GASTON AVE                                                                                     RARITAN         NJ    08869‐1707
FLORENCE DELIGHT ROBERTS                           244 SUNNYHILL AVE                                                                                 FRANKLINVILLE   NJ    08322‐2727
FLORENCE DI CRESCE                                 400 ROCK RD                                                                                       BERNE           NY    12023‐2319
FLORENCE DIAZ & SHARON FRAILE JT TEN               24501 SEATON CIRCUIT E                                                                            WARREN          MI    48091‐1679
FLORENCE DORSCH & DENISE D DORSCH PULLIAM JT       21180 LA SALLE BLVD                                                                               WARREN          MI    48089‐3415
TEN
FLORENCE DURNAL                                    1756 DEL CERRO                                                                                    JEFFERSON CTY   MO    65101‐5536
FLORENCE E BECKWITH                                1625 TORO DRIVE                                                                                   BULLHEAD CITY   AZ    86442‐7242
FLORENCE E BORST & ROBERT E BORST TEN ENT          120 S CORBIN ST                                                                                   HOLLY           MI    48442‐1737
FLORENCE E COYLE                                   804 HIGHFIELD DR                                                                                  NEWARK          DE    19713‐1104
FLORENCE E DEY TR FLORENCE EILEEN DEY LIVING       715 MCDOUGAL AVE                                                                                  WATERFORD       MI    48327‐3054
TRUSTUA 05/06/98
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FLORENCE E EDMONDS                                 634 HAZEL ST                                                                                  VASSAR             MI    48768‐1417
FLORENCE E FAITH                                   4059 PANOLA RD                                                                                LITHONIA           GA    30038‐3828
FLORENCE E GIRARD & GENE GIRARD JT TEN             PO BOX 431                                                                                    ROCKY POINT        NC    28457‐0431
FLORENCE E GRAHAM                                  1735 WENDELL AVE                                                                              SCHENECTADY        NY    12308‐2030
FLORENCE E JARVIE                                  749 PUTNAM AVE                                                                                TRENTON            NJ    08648‐4652
FLORENCE E LEAHY                                   1908 CARRBRIDGE WAY                                                                           RALEIGH            NC    27615‐2576
FLORENCE E MATHEWS                                 9739 SUNBEAM DR                                                                               NEW PORT RICHEY    FL    34654‐2526

FLORENCE E MEYER & RAYMOND L MEYER JT TEN          39 BEAUVOIR CIRCLE                                                                            ANDERSON           IN    46011‐1906
FLORENCE E NEARY                                   3646 E 1000 N                                                                                 ROANOKE            IN    46783‐9433
FLORENCE E PASKO                                   248 WREN DR                                                                                   GREENBURG          PA    15601‐4741
FLORENCE E PATE                                    428 SHADOWBROOK DR                                                                            BURLINGTON         NC    27215‐4775
FLORENCE E PERRY                                   278 JACLYN BLVD                                                                               WHITE LAKE         MI    48386‐1997
FLORENCE E RIZZI TR FLORENCE E RIZZI TRUST UA      5776 WOODVIEW DR                                                                              STERLING HEIGHTS   MI    48314‐2068
03/11/99
FLORENCE E STOVEL & JEAN A STOVEL JT TEN           31362 SCHOENHERR RD                  APT 3                                                    WARREN             MI    48088‐1950
FLORENCE E STRICKLAND & KIMBERLY A STRICKLAND JT   3536 BARGAINTOWN RD                                                                           EGG HARBOR TWP     NJ    08234‐8316
TEN
FLORENCE E TREVETHAN                               PO BOX 298                                                                                    CONVERSE           LA    71419‐0298
FLORENCE E UNDERWOOD                               1814 RENOVO RD                                                                                MILL HALL          PA    17751‐8528
FLORENCE E ZAIDEL & KAREN MITCHELL JT TEN          185 BERNHARDT DR                                                                              SNYDER             NY    14226‐4450
FLORENCE EILEEN DOLAN & EUNICE JOAN BEACOM JT      C/O ROBERT DOLAN                     RR1 BOX 186                                              BERESFORD          SD    57004‐9789
TEN
FLORENCE EILEEN DOLAN & MARY MARGARET SMIT JT      RR 1 BOX 186                                                                                  BERESFORD          SD    57004‐9789
TEN
FLORENCE ELNORA CALLAHAN                           12301 OAK RD                                                                                  OTISVILLE          MI    48463‐9722
FLORENCE F GOODYEAR TR FLORENCE F GOODYEAR         PO BOX 246                                                                                    HASTINGS           MI    49058‐0246
TRUST UA 10/04/91
FLORENCE F HILL                                    1021 SIMONTON DR                                                                              WATKINSVILLE       GA    30677‐2579
FLORENCE F ROSHEK & JANET M YADAO & ROBERT A       13748 ELMBROOK DR                                                                             SHELBY TWP         MI    48315
ROSHEK TR UA 04/27/2001
FLORENCE F RUSSELL                                 2024 KARL‐ANN DR                                                                              SANDUSKY           OH    44870‐7703
FLORENCE F VOSBURG TR FLORENCE F VOSBURG TR        231 BREWER DR                                                                                 BATTLECREEK        MI    49015‐3863
12/23/76
FLORENCE FEIPEL                                    20011 CUMBERLAND CT                                                                           ESTERO             FL    33928‐2617
FLORENCE FELDMAN                                   15 OAKLEY PLACE                                                                               GREAT NECK         NY    11020‐1013
FLORENCE FORCHHEIMER HALPERN                       BOX 1017                                                                                      ALPINE             TX    79831‐1017
FLORENCE FRANCIS                                   71 HAMILTON LANE                                                                              WATERTOWN          CT    06795‐2404
FLORENCE FRESSOLA                                  C/O CHERICO                          2465 KENNEDY BLVD APT 7A                                 JERSEY CITY        NJ    07304‐1956
FLORENCE G BROWN                                   108 DUPLESSIS ST                                                                              METAIRIE           LA    70005‐4110
FLORENCE G CHOTKOWSKI                              90 GLENVIEW DRIVE                                                                             NEWINGTON          CT    06111‐3816
FLORENCE G CHRISTIANSEN                            5320 S NEW ENGLAND AVE                                                                        CHICAGO            IL    60638‐1112
FLORENCE G ERICSON                                 215 GROTON LONG POINT ROAD                                                                    GROTON             CT    06340‐4863
FLORENCE G GUTAWESSKY                              25009 DONALD                                                                                  DETROIT            MI    48239‐3329
FLORENCE G JONES                                   612 W LINCOLN RD                                                                              KOKOMO             IN    46902‐3462
FLORENCE G JONES & JOHN GEORGE & MARY GEORGE       14246 SOUTH 3600 WEST                                                                         BLUFFDALE          UT    84065‐5421
JT TEN
FLORENCE G LEWIN                                   5312 SOUTHWOOD DR                                                                             MEMPHIS            TN    38120‐1904
FLORENCE GENEVIVE EDWARDS & DAVID J EDWARDS JT     31675 S RIVER                        HARRISON TWSP                                            HARRISON TWP       MI    48045
TEN
FLORENCE GENTES CUST HOLLY KRISTEN GENTES UTMA     23335 DEW WOOD LN                                                                             SPRING             TX    77373‐6979
NJ
FLORENCE GENTES CUST TRACY LOUISE GENTES UTMA      23335 DEW WOOD LN                                                                             SPRING             TX    77373‐6979
NJ
FLORENCE GRIGSBY                                   PO BOX 2277                                                                                   HAWTHORNE          CA    90251
FLORENCE GROMAN ARKIN                              6 HAMILTON RD                                                                                 PEABODY            MA    01960‐2131
FLORENCE H DAURIA                                  5329 OAKWOOD DR                                                                               TONAWANDA          NY    14120‐9619
FLORENCE H DEPP                                    2131 OVERLAND N E                                                                             WARREN             OH    44483‐2812
FLORENCE H DRISKILL & W N DRISKILL JR JT TEN       26 EDGEHILL ROAD                                                                              HOMEWOOD           AL    35209‐4302
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FLORENCE H FARRELL                                 8 CASTLE DR                                                                                     KETTERING        OH    45429‐1720
FLORENCE H KENT                                    94 JONES AVE                           OSHAWA ON                              L1G 3A2 CANADA
FLORENCE H LERSCH                                  1309 N E 137TH AVE                                                                              PORTLAND         OR    97230‐3232
FLORENCE H WISNIEWSKI & JAMES OMILIAN JT TEN       2430 WOODWARD HEIGHTS                                                                           FERNDALE         MI    48220‐1523

FLORENCE HANNAPEL                                  940 HOLBROOK RD                        APT 32‐C                                                 HOMEWOOD         IL    60430‐4532
FLORENCE HARE                                      RR 6                                   3781 LATHAM RD                                           ROCKFORD         IL    61101‐7615
FLORENCE HAZEL BEST                                456 TRAFALGAR RD SUITE 308             OAKVILLE ON                            L6J 7X1 CANADA
FLORENCE HOBYAK                                    7700 NEMCO WAY                         APT 309                                                  BRIGHTON         MI    48116‐9469
FLORENCE I ARMSTRONG & JUDY A MILLER JT TEN        2408 DORCHESTER                        APT 105                                                  TROY             MI    48084‐3741
FLORENCE I JOHN                                    28792 SOUTH KANSAS CITY RD                                                                      LA FERIA         TX    78559‐4208
FLORENCE I MIELEWSKI                               1365 AUDREY ST                                                                                  BURTON           MI    48509‐2102
FLORENCE I WILCOX                                  3501 AUTUMN WOODS LN                                                                            SEVIERVILLE      TN    37862‐9008
FLORENCE ILIEVSKI                                  16 CHI‐MAR DR                                                                                   ROCHESTER        NY    14624‐4015
FLORENCE IWAMOTO                                   105 HOLLYWOOD AVE                                                                               HO HO KUS        NJ    07423‐1410
FLORENCE J ALLEN                                   9400 MARGUERITE DR                     APT 1                                                    PLYMOUTH         MI    48170‐3958
FLORENCE J BLESSING                                1850 MAVIE DR                                                                                   DAYTON           OH    45414‐2104
FLORENCE J BUTLER                                  4441 BIG HORN N DR                                                                              NESBIT           MS    38651‐9289
FLORENCE J HARLA                                   13077 CLINTON ST                                                                                ALDEN            NY    14004‐9304
FLORENCE J JOHNSON                                 APT A26                                1250 FARMINGTON AVENUE                                   WEST HARTFORD    CT    06107‐2631
FLORENCE J KRUTMAN                                 1403 BOYER BLVD                                                                                 NORRISTOWN       PA    19401‐2644
FLORENCE J O'KEEFE                                 520 DOWLAN ROAD APT 24                                                                          BEAUMONT         TX    77706‐6032
FLORENCE J SCHLAFLIN                               2153 OLD MILL RD                                                                                SEA GIRT         NJ    08750‐1204
FLORENCE JACKSON                                   15035 MANOR ST                                                                                  DETROIT          MI    48238‐1618
FLORENCE JANE                                      815 WEST VISTA WAY                                                                              VISTA            CA    92083‐4418
FLORENCE JEAN LIN                                  5947 ARMAGA SPRING RD                  UNIT B                                                   RCH PALOS VRD    CA    90275‐4849
FLORENCE JEAN OLIVER                               215 EVERINGHAM ROAD                                                                             SYRACUSE         NY    13205‐3236
FLORENCE JONES                                     1128E PARISH ST                                                                                 SANDUSKY         OH    44870‐4333
FLORENCE JONES BAKER                               1315 W 3RD ST                                                                                   ANDERSON         IN    46016‐2441
FLORENCE JOSEPHINE BELL                            2 BOURDETTE PLACE                                                                               AMITYVILLE       NY    11701‐3621
FLORENCE JOSEPHINE MC CAFFERY                      19921 SALTEE AVE                                                                                TORRANCE         CA    90503‐1932
FLORENCE K BUCOLO                                  494 SOUTH ST                           APT C                                                    LOCKPORT         NY    14094
FLORENCE K COUGHLIN                                1250 MAPLE AVE RM 205                                                                           ELMIRA           NY    14904‐2812
FLORENCE K HELLWITZ                                79 DELHAM AVE                          #1                                                       BUFFALO          NY    14216‐3308
FLORENCE K MURPHY                                  14897 STEEL                                                                                     DETROIT          MI    48227‐3957
FLORENCE K PILARSKI & JOHN H PILARSKI JT TEN       11553 JACOBS ST                                                                                 ORR              MN    55771‐8027
FLORENCE K RICE                                    2269 COUNTY HIGHWAY 22                                                                          RICHFLD SPGS     NY    13439‐4525
FLORENCE KOZIKOWSKI                                83 GREGORY RD                                                                                   BRISTOL          CT    06010‐3239
FLORENCE L CARROLL                                 729 CLOSSEY DRIVE                                                                               INDIANAPOLIS     IN    46227‐2527
FLORENCE L COYLE LIFE TENANT U‐W WILFRED J COYLE   4337 BOLIVAR RD                                                                                 WELLSVILLE       NY    14895‐9378

FLORENCE L DYSART                                  1928 ONTARIO AVE                                                                                DAYTON           OH    45414
FLORENCE L FRAZIER                                 26601 COOLIDGE HWY                                                                              OAK PARK         MI    48237‐1135
FLORENCE L HUDDLESTON                              6807 STONE VALLEY DR                                                                            EDMOND           OK    73034‐9574
FLORENCE L JONES & HERBERT E JONES JT TEN          5209 NE 34TH ST                        APT B5                                                   VANCOUVER        WA    98661‐6497
FLORENCE L KIRACOFE                                229 NIXON RD                                                                                    WYTHEVILLE       VA    24382‐5524
FLORENCE L LAMOREAUX & LEE V LAMOREAUX JT TEN      BOX 61                                                                                          WASHBURN         WI    54891‐0061

FLORENCE L MONTENERI                               96 OLDE HARBOUR TRAIL                                                                           ROCHESTER        NY    14612‐2930
FLORENCE L MOYER                                   90 ARLENE COURT                                                                                 PEARL RIVER      NY    10965‐1903
FLORENCE L PATOCKA & JANICE L PATOCKA JT TEN       1021 CHARING CROSS                                                                              LOMBARD          IL    60148‐3943

FLORENCE L PISTININZI                              36947 LAKE SHORE BLVD                                                                           EASTLAKE         OH    44095‐1101
FLORENCE L REITER                                  PO BOX 543                                                                                      SANDUSKY         OH    44871‐0543
FLORENCE L RYAN & MICHAEL RYAN JT TEN              RR 1                                                                                            RANSOM           IL    60470‐9801
FLORENCE L SIEMEN                                  312 HERON POINT                                                                                 CHESTERTOWN      MD    21620
FLORENCE L SIEVER TR SIEVER FAM TRUST UA 05/1/95   5208 18TH AVENUE WEST                                                                           BRADENTON        FL    34209‐5012

FLORENCE L SMITH & CAROLYN STAFFORD JT TEN         6737 LARCHMONT AVE                                                                              NEW PORT RICHY   FL    34653‐5924
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FLORENCE L SMITH & JO ANN CALANO JT TEN          6737 LARCHMONT AVE                                                                              NEW PORT RICHY   FL    34653‐5924
FLORENCE L VAVREK                                10 CROSS GATES RD                                                                               MADISON          NJ    07940‐2653
FLORENCE L WOODWARD                              349 TELLING DR                                                                                  GENEVA           OH    44041‐8104
FLORENCE L WOODWARD TR FLORENCE L WOODWARD       7200 SUNSHINE SKYWAY LN S APT10E                                                                ST PETERSBURG    FL    33711‐4970
TRUST UA 03/16/88
FLORENCE LANE                                    81 CENTRAL PARK RD                                                                              PLAINVIEW        NY    11803‐2011
FLORENCE LEACH                                   316 FERN PLACE                                                                                  BETHPAGE         NY    11714‐4712
FLORENCE LIMERICK & EUGENE LIMERICK JT TEN       29 FOREST AVE                                                                                   VALLEY STREAM    NY    11581‐1307
FLORENCE M ALLEN                                 10153 TORREY RD                                                                                 FENTON           MI    48430‐9794
FLORENCE M AXTELL                                65 AXTELL RD                                                                                    MASONVILLE       NY    13804‐2039
FLORENCE M BISANZ & JEFFREY H BISANZ JT TEN      250 FOREST VIEW TRAIL                                                                           SEDONA           AZ    86336‐4024
FLORENCE M BLAZINA                               2114 MONONGAHELA AVE                                                                            PITTSBURGH       PA    15218‐2512
FLORENCE M BROWN                                 2069 RIVERSIDE DR                                                                               PLAINFIELD       IL    60586‐7851
FLORENCE M BUDRAITIS                             9 SHERMAN RD                                                                                    GLEN COVE        NY    11542‐3229
FLORENCE M CARROLL                               161 SUMMER STREET                                                                               KINGSTON         MA    02364‐1275
FLORENCE M CASTLE TR FLORENCE M CASTLE           1348 MAXFIELD RD                                                                                HARTLAND         MI    48353‐3628
REVOCABLE TR UA 07/10/03
FLORENCE M CHAMBERS                              1700 3RD AVE W                         APT 420                                                  BRADENTON        FL    34205‐5932
FLORENCE M CORMAS                                810 ROBBIN STATION RD                                                                           NORTH            PA    15642‐2953
                                                                                                                                                 HUNTINGDON
FLORENCE M DE CASTRO                             14 WALDIN PLACE                                                                                 MONTCLAIR        NJ    07042‐1745
FLORENCE M DEL PLATO                             APT 1‐A                                2 WEST 67TH ST                                           NEW YORK         NY    10023‐6241
FLORENCE M DOWLER                                21 SIERRA WAY                                                                                   W YARMOUTH       MA    02673‐2622
FLORENCE M DUNCAN & ROBERT E DUNCAN JT TEN       3938 FOUR SEASONS DR                                                                            GLADWIN          MI    48624‐9734

FLORENCE M FRITZ TOD BARBARA A MCNAMARA           10925 JOHNSON RD                                                                               ROSCOMMON        MI    48653
SUBJECT TO STA TOD RULES
FLORENCE M FRITZ TOD EDWARD J FRITZ SUBJECT TO    10925 JOHNSON RD                                                                               ROSCOMMON        MI    48653
STA TOD RULES
FLORENCE M FRITZ TOD JAMES M FRITZ SUBJECT TO STA 10925 JOHNSON RD                                                                               ROSCOMMON        MI    48653
TOD RULES
FLORENCE M FRITZ TOD JOAN F HOOVER SUBJECT TO     10925 JOHNSON RD                                                                               ROSCOMMON        MI    48653
STA TOD RULES
FLORENCE M FRITZ TOD KATHLEEN M FRITZ SUBJECT TO 10925 JOHNSON RD                                                                                ROSCOMMON        MI    48653
STA TOD RULES
FLORENCE M FRITZ TOD LUCY A FRITZ SUBJECT TO STA 10925 JOHNSON RD                                                                                ROSCOMMON        MI    48653
TOD RULES
FLORENCE M FRITZ TOD MARY FRITZ JORDAN SUBJECT 10925 JOHNSON RD                                                                                  ROSCOMMON        MI    48653
TO STA TOD RULES
FLORENCE M FRITZ TOD SUSAN M COCKMAN SUBJECT 10925 JOHNSON RD                                                                                    ROSCOMMON        MI    48653
TO STA TOD RULES
FLORENCE M FRODYMA TOD WALTER A FRODYMA           907 ALPINE RIDGE BALLWIN                                                                       BALLWIN          MO    63021
SUBJECT TO STA TOD RULES
FLORENCE M GIROUX TOD DAWN N FOSSATI              5771 NW 24                                                                                     POMPANO BEACH    FL    33063
FLORENCE M GOERINGER                              BOX 248                               BEAR CREEK VILLAGE                                       BEAR CREEK       PA    18602‐0248
FLORENCE M GONIEA                                 2348 VENTURA                                                                                   WALLED LAKE      MI    48390‐2461
FLORENCE M HOSACK                                 103 NORTH RADFORD DR                                                                           HOPEWELL         VA    23860‐1738
FLORENCE M HUEBNER                                530 HORIZONS EAST                     302                                                      BOYNTON BEACH    FL    33435‐5129
FLORENCE M JAKOBE                                 22958 MAPLE RIDGE #210                                                                         NORTH OLMSTED    OH    44070‐1441
FLORENCE M KNITTLE                                PO BOX 75                                                                                      KIRKVILLE        NY    13082‐0075
FLORENCE M KRAUS TOD LAWRENCE L KRAUS             3353 DEXTER DELL SE                                                                            WINTER HAVEN     FL    33884‐2463
FLORENCE M LEONARD                                3549 FOX                                                                                       INKSTER          MI    48141‐2011
FLORENCE M LEWIS                                  394 CASSIDY LN                                                                                 MITCHELL         IN    47446‐5210
FLORENCE M LIERMANN                               122 SMITH CREEK DR                                                                             LOS GATOS        CA    95030‐2139
FLORENCE M LONG                                   927 PIERCE RD                                                                                  LANSING          MI    48910‐5272
FLORENCE M MACARTHUR                              967 TIFFANY CIRCLE                    OSHAWA ON                              L1G 7S1 CANADA
FLORENCE M MACERA                                 106 ONDISH CT                                                                                  MT ARLINGTON     NJ    07856‐2324
FLORENCE M MARTIN                                 2376 CEDAR ST                                                                                  SEAFORD          NY    11783‐2905
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FLORENCE M MC CLENNEN & SHIRLEY F ARRA JT TEN   PO BOX 754                                                                                    CAPE NEDDICK    ME    03902‐0754

FLORENCE M MCCOLLUM                             704 ASH ST                                                                                    ESSEXVILLE      MI    48732‐1501
FLORENCE M MOSS                                 4046 INDIGO RIDGE DRIVE                                                                       CHARLESTON      SC    29420‐8214
FLORENCE M ROBERTS & RONALD B ROBERTS JT TEN    2655 NEBRASKA AVE                    APT 519                                                  PALM HARBOR     FL    34684‐2610

FLORENCE M SHUTT                                2767 MAPLE AVENUE                                                                             NEWFANE         NY    14108‐1326
FLORENCE M SKORUPA TOD JANET CICCONE‐SZEJNER    24 LAWRENCE AVENUE                                                                            LAWRENCEVILLE   NJ    08648
SUBJECT TO STA TOD RULES
FLORENCE M SLEZAK                               21 COOLIDGE ROAD                                                                              AMSTERDAM       NY    12010‐2407
FLORENCE M SMITH                                985 E RAHN RD                                                                                 DAYTON          OH    45429
FLORENCE M SMITH TOD JANICE M MILLER SUBJECT TO 985 E RAHN RD                                                                                 DAYTON          OH    45429‐5927
STA TOD RULES
FLORENCE M TAPP                                 705 FARGO ST                                                                                  OWENSBORO       KY    42301‐1549
FLORENCE M TERMYNA                              3304 GLENROSE AVE                                                                             BRISTOL         PA    19007‐6515
FLORENCE M THOMAS                               100‐I WALDON RD                                                                               ABINGDON        MD    21009‐2136
FLORENCE M VORNSAND                             45284 WOODMAN DR                     LAKE CORA                                                PAWPAW          MI    49079‐9011
FLORENCE M WAGENHURST                           402 W FORNANCE ST                                                                             NORRISTOWN      PA    19401‐2908
FLORENCE M WALDER                               441 RISING SUN RD                                                                             BORDENTOWN      NJ    08505‐4711
FLORENCE MACKEY                                 571 RICKETTS MILL RD                                                                          ELKTON          MD    21921‐5060
FLORENCE MANNO                                  240 DE GRAY ST                                                                                NORTH HALEDON   NJ    07508
FLORENCE MARIE COX                                                                                                                            BELL CITY       LA    70630
FLORENCE MARIE GARRETT                          1700 ROSE ROAD                                                                                TYLER           TX    75701‐4577
FLORENCE MARIE JOHNSON                          13741 LAKESIDE AVE                                                                            BEAR LAKE       MI    49614‐9615
FLORENCE MASSING                                5 MASSING PLACE                                                                               MILLTOWN        NJ    08850‐2131
FLORENCE MAXINE THOMPSON                        1136 MIRAMONT DR                                                                              FORT COLLINS    CO    80524‐1902
FLORENCE MC CORMICK                             721 REDLAND DR                                                                                MADISON         WI    53714‐1720
FLORENCE MCCANN & KEVAN MCCANN & SHARI GAI      35211 LEON                                                                                    LIVONIA         MI    48150‐5625
MCCANN JT TEN
FLORENCE MCCRANDALL                             4170 E COOK RD                                                                                GRAND BLANC     MI    48439‐8346
FLORENCE MEYERS                                 2314 PINE GROVE DRIVE                                                                         NEW ERA         MI    49446‐9624
FLORENCE MIKULAK                                1204 E VERLEA DR                                                                              TEMPE           AZ    85282‐2537
FLORENCE MITCHELL SWISS                         23 MAPLE RD                                                                                   FRANKLIN        NJ    07416‐1310
FLORENCE MORRIS                                 320 W 100TH TERRACE #205                                                                      KANSAS CITY     MO    64114‐4448
FLORENCE N GRANT                                223 6TH ST N E                                                                                STAPLES         MN    56479‐2431
FLORENCE N SMITH                                5537 WILLYS AV 1 NORTH                                                                        BALTIMORE       MD    21227‐2832
FLORENCE NASENBENY TOD DANE NASENBENNY          1001 CURTIS AVE                                                                               JOLIET          IL    60435
SUBJECT TO STA TOD RULES
FLORENCE NEWMAN & PATRICIA N QUINN TR UW        6 CEDAR PL                                                                                    MASSAPEQUA PARK NY    11762‐1402
CHARLOTTE BALZ
FLORENCE NOVAK                                  2557 MONTANA                                                                                  SAGINAW         MI    48601‐5423
FLORENCE OATES                                  5830 BURTON S E                                                                               GRAND RAPIDS    MI    49506
FLORENCE P BARRETT                              11851 HIAWATHA DR                                                                             SHELBY TWP      MI    48315‐1242
FLORENCE P BYRD                                 458 RIDGE ROAD                                                                                COLLINSVILLE    VA    24078‐2163
FLORENCE P JEFFERY                              8230 SPRINGPORT ROAD                                                                          EATON RAPIDS    MI    48827‐9568
FLORENCE P LARRIMORE                            18 CLERMONT RD                                                                                WILMINGTON      DE    19803‐3945
FLORENCE P RYAN TOD FLORENCE T STAMM SUBJECT TO PO BOX 1650                                                                                   VENICE          FL    34284‐1650
STA TOD RULES
FLORENCE PAMELA REEVE                           13110 SE ANKENY ST                                                                            PORTLAND        OR    97233‐1560
FLORENCE PATRICIA MATTHEWS                      110 W HAMPSHIRE ST                                                                            PIEDMONT        WV    26750‐1122
FLORENCE PEARLMAN & IRA BRUCE PEARLMAN & GARY 3210 NO LEISURE WORLD BLVD #508                                                                 SILVER SPRING   MD    20906‐7602
NEIL PEARLMAN JT TEN
FLORENCE R BOWDEN                               2286 N STEEL RD                                                                               MERRILL         MI    48637‐9519
FLORENCE R BUNDY                                33650 CEDAR RD                                                                                CLEVELAND       OH    44124‐4233
FLORENCE R DOMANSKI                             1067 BARRINGTON NW                                                                            GRAND RAPIDS    MI    49534‐2177
FLORENCE R GAMBLE                               RACEBROOK RD                                                                                  WOODBRIDGE      CT    06525
FLORENCE R GRAHAM                               85 JERSEY ST                                                                                  DENVER          CO    80220
FLORENCE R HAMILTON                             923 PANTHER AVE                                                                               SHEBOYGAN       WI    53081‐8116
FLORENCE R HOPPS                                211 EASTER ST                                                                                 BAKERSFIELD     CA    93307‐2825
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FLORENCE R KAYE                                    169 DEZENZO LN                                                                                  WEST ORANGE       NJ    07052‐4127
FLORENCE R KEENAN                                  3008 PINE NEEDLE RD                                                                             AUGUSTA           GA    30909‐3048
FLORENCE R KLIMEK                                  20 MARTIN ST                                                                                    SAYREVILLE        NJ    08872‐1529
FLORENCE R LINGLE                                  3480 OAKLEAF AVE                                                                                PAHRUMP           NV    89048‐9440
FLORENCE R MCCAGUE                                 94G MOLLY PITCHER LANE                                                                          YORKTOWN          NY    10598‐1554
                                                                                                                                                   HEIGHTS
FLORENCE R MUELLER                                 237 BROOKLAKE RD                                                                                FLORHAM PARK      NJ    07932‐2205
FLORENCE R OAKS                                    80 CREST ESTATES DR                                                                             ALAMO             CA    94507‐2624
FLORENCE R OHARA TOD MICHAEL A OHARA SUBJECT       7147 SONORA AVE                                                                                 NEW PORT RICHEY   FL    34653‐4043
TO STA TOD RULES
FLORENCE R OSBORNE                                 11 EAST SPUR RD                                                                                 MOULTONBORO      NH     03254‐4605
FLORENCE R PHILLIPS                                16029 SHAREWOOD DRIVE                                                                           TAMPA            FL     33618‐1404
FLORENCE R RAUCH                                   30928 BALMORAL                                                                                  GARDEN CITY      MI     48135‐1982
FLORENCE R ROSSI                                   73 MINTURN RD                                                                                   WARWICK          NY     10990‐2615
FLORENCE R TRIEBES                                 1031 VALLEY FORGE DRIVE                                                                         SUNNYVALE        CA     94087‐2042
FLORENCE RADETSKY                                  300 HUDSON STREET                      APT 210                                                  DENVER           CO     80220‐5836
FLORENCE RAE DEL MARCO                             513 PICKETTS DR                                                                                 MESQUITE         TX     75149‐8712
FLORENCE RAKOWSKI                                  199 SPLIT ROCK RD                                                                               SYOSSET          NY     11791‐2130
FLORENCE RICH                                      17 N 700 EAST UNIT#29                                                                           AMERICAN FORK    UT     84003‐2283
FLORENCE S BABINEC                                 6492 LAKE PEMBROKE PLACE                                                                        ORLANDO          FL     32829‐7616
FLORENCE S BLACK                                   605 ELAINE DR                                                                                   PITTSBURGH       PA     15236‐2420
FLORENCE S DE OCAMPO                               ATTN MARIA F KAIN                      1546 CARRIAGE CIR                                        LIBERTY          MO     64068‐3470
FLORENCE S GRIFFITHS                               145 CRUMLIN AVENUE                                                                              GIRARD           OH     44420‐2918
FLORENCE S HOUK                                    340 BAILEY ST                                                                                   SAFETY HARBOR    FL     34695‐3121
FLORENCE S MASSERANG                               6706 MOCCASIN                                                                                   WESTLAND         MI     48185‐2809
FLORENCE S MCCURDY                                 1320 YANKEE RUN RD NE                                                                           MASURY           OH     44438‐8723
FLORENCE S TERNES                                  6384 ELSEY                                                                                      TROY             MI     48098‐2062
FLORENCE SANDISON WILLIAMS                         1477 COUNTY HIGHWAY 18                                                                          SOUTH NEW BERLIN NY     13843‐3130

FLORENCE SANDOVAL                                  3734 LAKE BLUE DRIVE NORTH WEST                                                                 WINTER HAVEN      FL    33881‐1085
FLORENCE SCHAEFFER TR THE FLORENCE SCHAEFFER       9477 CREEK BEND TRL                                                                             DAVISON           MI    48423‐8626
TRUST UA 10/03/00
FLORENCE SCHECHTMAN TR FLOSSIE B SCHECTMAN         627 RICE ST                                                                                     HIGHLAND PARK     IL    60035‐5011
TRUST UA 05/18/96
FLORENCE SHINKAWA & BETSEY SHINKAWA JT TEN         1330 ALEWA DR                                                                                   HONOLULU          HI    96817‐1201

FLORENCE SLATKIN                                   106 W 69TH ST                          APT 4D                                                   NEW YORK          NY    10023‐5131
FLORENCE SMITH                                     3536 GLASER DR                                                                                  KETTERING         OH    45429‐4112
FLORENCE SUESHOLTZ                                 15 FENIMORE DRIVE                                                                               HARRISON          NY    10528
FLORENCE SWANICK                                   15 CRESCENT TER                                                                                 BELLEVILLE        NJ    07109‐2065
FLORENCE T BRISTOW                                 151 STILLWELL AVENUE                                                                            KENMORE           NY    14217‐2123
FLORENCE T HOUNSELL                                37 CALUMET ST                                                                                   ROXBURY           MA    02120‐2823
FLORENCE T OWNES                                   106 PROVINCETOWN CT                                                                             FLEMINGTON        NJ    08822‐2024
FLORENCE T STILLER                                 6228 WEST 91ST STREET                                                                           OAK LAWN          IL    60453
FLORENCE T TAYLOR                                  8335 S PREBLE COUNTY                   LANE ROAD                                                GERMANTOWN        OH    45327‐9415
FLORENCE T TOMKOWSKI                               3871 SHELDON RD                                                                                 ORCHARD PARK      NY    14127‐2105
FLORENCE TANNOURJI                                 94 CLUNIE AVE                                                                                   YONKERS           NY    10703‐1002
FLORENCE TEMPLE                                    1106 2ND ST 344                                                                                 ENCINITAS         CA    92024‐5008
FLORENCE TERRELL TR TERRELL CREDIT SHELTER TRUST   1688 BLUEBELL ROAD                                                                              WILLIAMSTOWN      NJ    08094‐3825
UA 02/12/97
FLORENCE TETRO & JOSEPH TETRO JT TEN               3120 WILKINSON AVE APT 2B                                                                       BRONX             NY    10461‐4623
FLORENCE V KALANQUIN                               4950 MARYHILL RD                                                                                SYLVANIA          OH    43560‐2622
FLORENCE V PAGE                                    5257 FARM RD                                                                                    WATERFORD         MI    48327‐2421
FLORENCE VARLEY                                    17516 MACARTHUR                                                                                 REDFORD           MI    48240‐2241
FLORENCE VENETUCCI & JUSTIN VENETUCCI JT TEN       C/O HENRY ANUSIAK                      69‐63 CALDWELL AVE                                       MASPETH           NY    11378‐2634

FLORENCE VOLKERING MILLER                          224 S 15TH ST                                                                                   LEWISBURG         PA    17837‐1653
FLORENCE W GOULD                                   1215 MEADOW LANE                                                                                ANDERSON          IN    46011‐2447
FLORENCE W KING & NANCY KINNAMAN JT TEN            RR 1 BOX 31 LEEDS ATHENS RD                                                                     ATHENS            NY    12015‐9704
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FLORENCE W MC CUTCHAN                          521 RORARY DRIVE                                                                                 RICHARDSON         TX    75081‐3418
FLORENCE W REDMON                              1411 HOME AVE                                                                                    ANDERSON           IN    46016‐1924
FLORENCE WARYASZ                               2425 FRED                                                                                        WARREN             MI    48092‐1822
FLORENCE WILLIS FARNSWORTH & DAVID S           610 E CENTER STREET                                                                              CENTERVILLE        UT    84014‐2304
FARNSWORTH JT TEN
FLORENCE WOZNIAK & DONALD D WOZNIAK JT TEN     4439 S SHUNK RD                                                                                  SAULT S MARIE      MI    49783‐9524

FLORENCE WOZNIAK & ROGER M WOZNIAK JT TEN      4439 S SHUNK RD                                                                                  SAULT S MARIE      MI    49783‐9524

FLORENCE WREGE                                  2020 HILAND                                                                                     SAGINAW            MI    48601‐3505
FLORENCE Y LAZARUIS                             7301 W COUNTRY CLUB DRIVE            NORTH #211                                                 SARASOTA           FL    34243‐4539
FLORENCE YOUNG WONG                             811 15TH AVE                                                                                    HON                HI    96816‐3613
FLORENCE Z ALPINER TR UA 4/25/94 FLORENCE Z     939 N HOBART BLVD APT 1                                                                         LOS ANGELES        CA    90029‐3228
ALPINER LIVING TRSUT
FLORENCE Z FULMER & MARTHA R FULMER JT TEN      1221 3RD AVE                                                                                    SAN FRANCISCO      CA    94122‐2704
FLORENCE ZAVILA                                 5318 MONROE VLG                                                                                 MONROE TWP         NJ    08831‐1924
FLORENCE ZUCHLEWSKI                             5 RUHL DR                                                                                       BUFFALO            NY    14207‐1830
FLORENE HICKS                                   634 E STEWART AVE                                                                               FLINT              MI    48505‐5324
FLORENT J VANDYCK                               3116 HIDDEN LAKE DR                                                                             WOODSTOCK          IL    60098‐9608
FLORENTIEN BRIDEAU                              4394 BOLD ST ROSE O                  FRABREVILLE LAVAL QC                   H7R 5N2 CANADA
FLORENTIN VASILIU                               598 NEPTUNE BLVD                                                                                LONG BEACH         NY    11561‐2429
FLORENTINO J RAMIREZ                            14220 HARRIS RD                                                                                 MILLINGTON         MI    48746‐9219
FLORENTINO QUIROGA                              7560 CROSWELL ROAD S                                                                            CROSWELL           MI    48422‐9126
FLORENTINO RAMIREZ                              1631 DAKOTA                                                                                     FLINT              MI    48506‐2756
FLORETTA NORTON                                 8429 BROADWAY                        APT 35                                                     LEMON GROVE        CA    91945‐2060
FLORETTE L BUCHWALTER & SIEGFRIED BUCHWALTER JT 6503 PARK HEIGHTS AVE                APT 1K                                                     BALTIMORE          MD    21215‐3004
TEN
FLORIAN BOBEK                                   15610 GILBERTON DR                                                                              TOMBALL            TX    77375‐8653
FLORIAN F BUZALSKI                              2221 GRASS LAKE AV 316                                                                          LAKE               MI    48632‐8519
FLORIAN GUTOWSKI                                3993 LYNN MARIE COURT                                                                           STERLING HEIGHTS   MI    48314‐1995

FLORIAN L SMITH                                3216 CARR ST                                                                                     FLINT              MI    48506‐1939
FLORIAN LAVOIE                                 121 PIUTE DR #96                                                                                 THOUSAND OAK       CA    91362‐3231
FLORIAN S BERNACKI                             2510 NIAGARA FALLS BLVD                                                                          TONAWANDA          NY    14150‐2922
FLORIAN S CHRZANOWSKI                          5430 DUBOIS AVE                                                                                  PORT ORANGE        FL    32127‐5518
FLORIANA GIUFFRE MONTAGNESE                    VIA DEIVERDI 5 ISOLATO 283            98100 MESSINA                          ITALY
FLORICE T BUTLER                               7085 WOODS WEST DR                                                                               FLUSHING           MI    48433‐9463
FLORIE KNIGHT                                  PO BOX 183                                                                                       STOCKBRIDGE        GA    30281‐0183
FLORIETTA MCGLOTHLIN                           4645 WILLIAMS RD                                                                                 MARTINSVILLE       IN    46151‐8221
FLORINE BELTON                                 4773 TUSCARORA ROAD                                                                              NIAGARA FALLS      NY    14304‐1161
FLORINE BENOMAR                                14651 PENROD                                                                                     DETROIT            MI    48223‐2363
FLORINE EDDINGTON                              2108 E FAIR                                                                                      ST LOUIS           MO    63107‐1022
FLORINE JONES & WILLIE JONES JT TEN            640 COUNTY RD 14                                                                                 HEIDELBERG         MS    39439‐3582
FLORINE KELLEY                                 3508 FULTON                                                                                      SAGINAW            MI    48601‐3156
FLORINE M KING                                 PO BOX 40                                                                                        POLLOCK            LA    71467‐0040
FLORINE O MC MAHON                             130 MAXWELL LANE                                                                                 NEWPORT NEWS       VA    23606‐1636
FLORINE P FAUSEL                               2905 FAIR ACRES DRIVE #I                                                                         BURLINGTON         IA    52601‐2309
FLORINE RUTTAN                                 16514 POPLAR                                                                                     SOUTHGATE          MI    48195‐2156
FLORINE STAATS                                 510 TAYLOR STREET                                                                                WILMINGTON         DE    19801‐4227
FLORINE WEATHERSPOON                           2328 KELLAR AVENUE                                                                               FLINT              MI    48504‐7103
FLORITA SONNENKLAR                             5000 5TH AVE                          APT 301                                                    PITTSBURGH         PA    15232‐2150
FLORONT WOODS                                  306 KING OAK DRIVE                                                                               MONROE             LA    71202‐6941
FLORYAN KIWAK                                  2061 S LAKE SHORE DR                                                                             LAKE LEELANAU      MI    49653‐9774
FLORZELL HOOKS                                 1722 W CLAIRMOUNT                                                                                DETROIT            MI    48206‐2098
FLOSSIE DAVIS                                  98 STILLWATER RD                                                                                 STONE RIDGE        NY    12484‐5012
FLOSSIE E BERRY                                ATTN CAROLYN PERRY                    PO BOX 887                                                 STANDISH           MI    48658‐0887
FLOSSIE E CALLIHAN                             6482 WEDDEL                                                                                      TAYLOR             MI    48180‐1925
FLOSSIE E HUNT                                 673 PATTON RD                                                                                    FRANKLIN           KY    42134
FLOSSIE E WEAVER                               2102 HUNTINGTON AVENUE                                                                           FLINT              MI    48507‐3519
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FLOSSIE J DISNEY EX UW BILLY RAY DISNEY          15950 LEBANNON CRTDN ROAD                                                                     VERONA          KY    41092‐8224
FLOSSIE J KERN CUST DWAYNE F DODD UGMA MI        23137 LEIGHWOOD                                                                               WOODHAVEN       MI    48183‐2772
FLOSSIE LAMBERT                                  8905 S PHILLIPS                                                                               CHICAGO         IL    60617‐3860
FLOSSIE M DUPONT                                 140 HUMMINGBIRD DR                                                                            RIDGELAND       SC    29936‐7860
FLOSSIE M FRAZIER                                703 CARLTON PARK DR                                                                           FLOWOOD         MS    39232‐5524
FLOSSIE M STACY & AVIS A BOWEN JT TEN            6175 E MAPLE AVE                                                                              GRAND BLANC     MI    48439‐9192
FLOSSIE M TRAPP & ILA M RAYMOND JT TEN           PO BOX 774                                                                                    ASHTON          ID    83420‐0774
FLOSSIE M TRAPP & RICHARD W TRAPP JT TEN         PO BOX 774                                                                                    ASHTON          ID    83420‐0774
FLOSSIE R PHILLIPS                               4845 CRESTVIEW DR                                                                             CARMICHAEL      CA    95608‐1058
FLOSSIE S CAMPBELL                               4545 N 1000 E                                                                                 BROWNSBURG      IN    46112
FLOSSIE V GONZALES & TAMMIE L MOHOLLAND JT TEN   1973 AUBURN AVE                                                                               HOLT            MI    48842

FLOSSIE V GONZALES TOD TAMMIE L MOHOLLAND        1973 AUBURN LANE                                                                              HOLT            MI    48842
SUBJECT TO STA TOD RULES
FLOUNDER LLC                                     1640 S STAPLEY DR                    STE 129                                                  MESA            AZ    85204‐6665
FLOWERREE J JACKSON                              814 W OLIVE ST                                                                                VANDALIA        MO    63382‐1626
FLOY D GOUDY                                     108 RIDGE WAY                                                                                 BRASELTON       GA    30517‐1875
FLOY E LUNT                                      C/O FLOY E LETSON                    23 EVERGREEN RD                                          SUDBURY         MA    01776‐2712
FLOY F OSBORN                                    2626 W HEARN RD                                                                               PHOENIX         AZ    85023‐5958
FLOY L DOUGLAS                                   2212 HARRY ARNOLD RD                                                                          MONROE          GA    30655‐4833
FLOY W EISKINA                                   1622 SW HOOK ROAD                                                                             LEES SUMMIT     MO    64082‐2703
FLOYD A BORING                                   116A CREEK TRL                                                                                COLUMBIA        TN    38401‐2124
FLOYD A BRUMMEL                                  28 EAGLE GREENS CT                                                                            PLAINWELL       MI    49080‐9129
FLOYD A BUCKLAND                                 7700 CHESTNUT RIDGE ROAD                                                                      LOCKPORT        NY    14094‐3510
FLOYD A DANIEL                                   PO BOX 1636                                                                                   SOUTHGATE       MI    48195
FLOYD A ELLIOTT                                  PO BOX 36                                                                                     CHESTER         SC    29706‐0036
FLOYD A ESKRIDGE                                 5102 WOODMERE CT                                                                              PLAINFIELD      IL    60586‐5450
FLOYD A GAINER & JOYCE A MCCLINTOCK JT TEN       PO BOX 513                                                                                    LINDEN          MI    48451‐0513
FLOYD A HAMMOND                                  504 HIGH ST                                                                                   CHARLOTTE       MI    48813‐1246
FLOYD A HERRELL                                  27718 SO STATE DD                                                                             HARRISONVILLE   MO    64701
FLOYD A HERRELL & JOHN M HERRELL JT TEN          27718 S STATE ROUTE DD                                                                        HARRISONVILLE   MO    64701‐8332
FLOYD A HERRELL & PHYLLIS A HERRELL JT TEN       27718 SO STATE DD                                                                             HARRISONVILLE   MO    64701
FLOYD A JACKSON                                  1618 JAMIE DR                                                                                 COLUMBIA        TN    38401‐5432
FLOYD A KISSER JR                                4675 HACKETT RD                                                                               SAGINAW         MI    48603‐9677
FLOYD A MCCUMBER                                 3475 LIBERTY PARKWAY                                                                          BALTIMORE       MD    21222‐6045
FLOYD A MIDDLETON                                1140 N SMITH RD                                                                               EATON RAPIDS    MI    48827‐9327
FLOYD A MINKS                                    202 CARTERS MILL RD                                                                           BRINSON         GA    39825‐1959
FLOYD A NORBURG JR                               222 CELIA SE                                                                                  WYOMING         MI    49548‐1236
FLOYD A NORTH                                    8810 SUNNYHILL                                                                                DES MOINES      IA    50325‐5444
FLOYD A OWEN JR                                  6044 W COURT ST                                                                               FLINT           MI    48532‐3210
FLOYD A PEABODY & MRS VELVERY I PEABODY JT TEN   9028 MORNING STAR TRAIL                                                                       CRESTWOOD       MO    63126‐2210

FLOYD ALEXANDER III                              4000 TEMPLETON ROAD                                                                           WARREN TOWNSHIP OH    44481‐9130

FLOYD ALLEN WAGNER TOD DARLENE GWILT SUBJECT     902 CORUNNA AVE                                                                               OWOSSO          MI    48867‐3732
TO STA TOD RULES
FLOYD ALVETRO JR                                 2310 MC CLEARY JACOBY RD                                                                      CORTLAND        OH    44410‐9417
FLOYD B CARTER                                   PO BOX 4                                                                                      ELLSINORE       MO    63937‐0004
FLOYD B ELSTEN                                   7200 COUNTY ROAD 90                                                                           MOULTON         AL    35650‐4682
FLOYD B FARRAR                                   557 MCCURDY RD                                                                                VILLA RICA      GA    30180‐4556
FLOYD B HUNT                                     1196 TUGGLE DR                                                                                STONE MOUNTAI   GA    30083‐2229
FLOYD B ILLIG                                    3601 NORTH TERM STREET                                                                        FLINT           MI    48506‐2625
FLOYD B MC CLINTOCK                              11917 CONQUEST ST                                                                             BIRCH RUN       MI    48415‐9701
FLOYD B SCHRAMM                                  308 US RT 150                                                                                 OAKWOOD         IL    61858‐9576
FLOYD B WHITE                                    11203 KENMOOR                                                                                 DETROIT         MI    48205‐3219
FLOYD BARNES & AUDREY L BARNES JT TEN            3200 TAYLOR                                                                                   DETROIT         MI    48206‐1928
FLOYD BELL                                       83 NORTH NINTH STREET                                                                         MIAMISBURG      OH    45342‐2425
FLOYD BOWLING                                    1412 BRADFORD DR                                                                              COLUMBIA        MO    65203‐2302
FLOYD BRADLEY JR                                 1971 DEWEY AVE                                                                                BELOIT          WI    53511‐3035
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FLOYD C BELL TR UA 12/12/08 FLOYD C BELL REVOCABLE 22131 CLEVELAND ST #101                                                                          DEARBORN        MI    48124
LIVING TRUST
FLOYD C DUNCAN                                     177 N INDIANA ST                                                                                 MOORESVILLE     IN    46158‐1504
FLOYD C GENOW JR                                   871 TACEY DR                                                                                     ESSEXVILLE      MI    48732‐9709
FLOYD C HARGIS                                     1675 MEECE RD                                                                                    SOMERSET        KY    42501‐5452
FLOYD C NORMAN                                     2801 NEW KENT HWY                                                                                QUINTON         VA    23141‐1728
FLOYD CHARLES DANIEL                               2887 SHARON                                                                                      ANN ARBOR       MI    48108‐1810
FLOYD CLARK                                        43 PINE STREET SE                                                                                CARTERSVILLE    GA    30120‐3706
FLOYD CLEMENTS                                     4323 KENWOOD AVE                                                                                 LOS ANGELES     CA    90037‐2322
FLOYD COOPER                                       5317 DOVE CREEK DR                                                                               KELLER          TX    76248‐4570
FLOYD CRANDALL & MRS BETTY LOU CRANDALL JT TEN 100 HAMILTON ROAD                                                                                    LANDENBERG      PA    19350‐9353

FLOYD CRAWFORD                                      17121 REDFORD ST                       APT 221                                                  DETROIT         MI    48219‐3273
FLOYD D ADAMS                                       8170 LINDEN RD                                                                                  FENTON          MI    48430‐9228
FLOYD D BROOKS II                                   18475 SE 60TH ST                                                                                OCKLAWAHA       FL    32179‐3413
FLOYD D CAMPBELL & GERALDINE C CAMPBELL &           9577 PORTAGE LAKE AVE                                                                           PINCKNEY        MI    48169
DENISE A CAMPBELL JT TEN
FLOYD D CLOSSER                                     8643 N 150 EAST                                                                                 ALEXANDRIA      IN    46001‐8338
FLOYD D ELDRIDGE                                    419 SIGNALEIRE DR                                                                               DAYTON          OH    45458‐3637
FLOYD D GLASS                                       2401 N YOCUM ROAD                                                                               INDEPENDENCE    MO    64058‐3042
FLOYD D GOOLSBY                                     ROUTE 1                                BOX 565                                                  MOUNT VERNON    TX    75457‐9723
FLOYD D LEE                                         400 LAKESIDE                                                                                    WATERFORD       MI    48328‐4038
FLOYD D MOSLEY                                      2615 YUMA DRIVE                                                                                 BOWLING GREEN   KY    42104‐4270
FLOYD D PHILLIPS JR                                 331 LARAMIE LN                                                                                  KOKOMO          IN    46901‐4047
FLOYD D SHIREY & VERA M SHIREY JT TEN               120 DANETT CL                                                                                   RENO            NV    89511
FLOYD D VOLTZ                                       710 GLENDALE                                                                                    PORT CLINTON    OH    43452‐2323
FLOYD D WILLIAMS                                    12713 CEDAR RIDGE DR                                                                            HUDSON          FL    34669‐2712
FLOYD DOWDEY                                        PO BOX 8                                                                                        TRENTON         GA    30752
FLOYD E ASHBY                                       BOX 255                                                                                         PERCY           IL    62272‐0255
FLOYD E BALLARD                                     242 SERRA                                                                                       WHITE LAKE      MI    48386‐2156
FLOYD E BOLLINGER & DONNA BOLLINGER JT TEN          2815 REECE CREEK CT                                                                             BLAIRSVILLE     GA    30512‐1394
FLOYD E BRENT                                       1829 PLEASANT RUN RD                                                                            CARROLLTON      TX    75006‐7569
FLOYD E CORN                                        173 CLINTON AVE                                                                                 ELYRIA          OH    44035‐3109
FLOYD E DAVIS                                       27590 BRUSH AVE 104‐K                                                                           EUCLID          OH    44132‐3825
FLOYD E DENNEY                                      605 HERMITAGE DR                                                                                FLORENCE        AL    35630‐3658
FLOYD E FRITTS                                      RR 2                                                                                            BUTLER          MO    64730‐9802
FLOYD E GARLAND                                     PO BX 85                                                                                        LIZTON          IN    46149‐0085
FLOYD E GARNSEY JR                                  5250 E FARRAND ROAD                                                                             CLIO            MI    48420‐9126
FLOYD E GARNSEY JR & CONSTANCE M GARNSEY JT TEN     5250 E FARRAND ROAD                                                                             CLIO            MI    48420‐9126

FLOYD E HAZEN                                       6344 MANSFIELD CT                                                                               HUDSONVILLE     MI    49426‐8735
FLOYD E HICKS                                       ROUTE 3                                BOX 22                                                   PIEDMONT        MO    63957‐9803
FLOYD E HOLBROOK                                    2116 GARFIELD ST                                                                                LORAIN          OH    44055‐3432
FLOYD E HOUGHTON                                    1605 NE SCARBOROUGH DR                                                                          BLUE SPRINGS    MO    64014‐1888
FLOYD E HOWARD                                      RR 9 #1225                                                                                      GATEWOOD        MO    63942‐9026
FLOYD E HURD                                        PO BOX 53                                                                                       LA JOSE         PA    15753‐0053
FLOYD E LAMPHIER                                    7213 JORDAN RD                                                                                  GRAND BLANC     MI    48439‐9765
FLOYD E LOUDERMILL                                  7525 NUTWOOD PL                                                                                 FORT WORTH      TX    76133‐7512
FLOYD E MIKOLAIZYK                                  3241 JOHANN DRIVE                                                                               SAGINAW         MI    48609‐9707
FLOYD E MILLER TR MILLER LIVING TRUST UA 08/31/92   8942 W 30TH ST                         BOX 34396                                                CLERMONT        IN    46234‐0396

FLOYD E PINTLER & TRILBY G PINTLER JT TEN           25 MAPLE RIDGE PK                                                                               MANTENO         IL    60950‐1369
FLOYD E ROBERTS                                     1150 NE COLBERN RD                                                                              LEES SUMMIT     MO    64086‐5813
FLOYD E SARVER                                      2225 CHESAPEAKE CITY RD                                                                         BEAR            DE    19701‐3332
FLOYD E SMITH                                       197 SUMMIT                                                                                      SARANAC         MI    48881‐9532
FLOYD E SMITH                                       815 WALLBRIDGE DR                                                                               INDIANAPOLIS    IN    46241‐1736
FLOYD E SPEER JR                                    4047 LOTUS DRIVE                                                                                WATERFORD       MI    48329‐1231
FLOYD E VAN NIMAN                                   29501 48TH AVE                                                                                  PAW PAW         MI    49079‐9418
FLOYD E WASINGER & HAZEL A WASINGER JT TEN          2123 BELL CT                                                                                    DENVER          CO    80215‐1713
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Name                                                Address1                               Address2             Address3          Address4          City             State Zip

FLOYD E WISENBAUGH                                  124 KEIFER ST                                                                                   OWOSSO           MI    48867‐1345
FLOYD E YOUNG                                       6970 OX BOW LANE                                                                                FLINT            MI    48506
FLOYD E YOUNG & MRS THELMA L YOUNG JT TEN           2126 E DODGE RD                                                                                 CLIO             MI    48420‐9746
FLOYD EASTER                                        2520 CHRYSTAL WOODS DR                                                                          KOKOMO           IN    46901‐5883
FLOYD EDMONDS                                       608 MAPLESIDE DR                                                                                TROTWOOD         OH    45426‐2538
FLOYD EDWIN IVEY JR                                 N 404 UNDERWOOD                                                                                 KENNEWICK        WA    99336‐3024
FLOYD ELLIS VIETH                                   6110 SPRINGBROOK DRIVE                                                                          PADUCAH          KY    42001‐9657
FLOYD EUGENE WILCOX                                 11091 HEGEL RD                                                                                  GOODRICH         MI    48438‐9287
FLOYD F BEST & MRS VIRGINIA W BEST JT TEN           1803 FOREST GLEN RD                                                                             SILVER SPRING    MD    20910‐1411
FLOYD F CHRISTENSEN                                 1900 GRACE AVE #2508                                                                            HARLINGER        TX    78550‐3530
FLOYD F PEACOCK                                     1215 S DELPHOS                                                                                  KOKOMO           IN    46902‐1726
FLOYD F WHITAKER                                    1842 INDIANAPOLIS ROAD                                                                          CRAWFORDSVILLE   IN    47933‐3133

FLOYD FLETCHER                                      4109 LEERDA ST                                                                                  FLINT            MI    48504‐3714
FLOYD G BUTTERFIELD                                 10080 S 17 RD                                                                                   CADILLAC         MI    49601
FLOYD G HARDEN                                      2735 NORTH LATSON ROAD                                                                          HOWELL           MI    48843‐9785
FLOYD G LIVERMORE JR & PHYLLIS J LIVERMORE JT TEN   2579 PEMBROKE                                                                                   BIRMINGHAM       MI    48009‐7511

FLOYD G MUSSER & SHIRLEY ANN MUSSER JT TEN          1418 S VENTURA CRT                                                                              SPRINGFIELD      MO    65804
FLOYD GAINER                                        PO BOX 1054                                                                                     WARREN           OH    44482‐1054
FLOYD GELDER LIVERMORE JR                           2579 PEMBROKE                                                                                   BIRMINGHAM       MI    48009‐7511
FLOYD GREEN CUST INDRED NASH WHITAKER UTMA KY       BOX 196                                                                                         MONTICELLO       KY    42633

FLOYD H BREAUX                                      2414 15TH ST                                                                                    PORT NECHES      TX    77651‐4602
FLOYD H BROWN                                       BOX 277                                                                                         MINNEOLA         FL    34755‐0277
FLOYD H FORD                                        9814 ELMAR AVE                                                                                  OAKLAND          CA    94603‐2820
FLOYD H MADDOX                                      1111 E FIRMIN                                                                                   KOKOMO           IN    46902‐2319
FLOYD H MADDOX & BETTY C MADDOX JT TEN              1111 E FIRMIN                                                                                   KOKOMO           IN    46902‐2319
FLOYD H MORGAN & OMA C MORGAN JT TEN                51 MAJESTIC CT                         APT 208                                                  MOORPARK         CA    93021‐2177
FLOYD H MYERS                                       402 ORCHARD                                                                                     WEBSTER          TX    77598‐4108
FLOYD H SIMRELL & MRS RUTH E SIMRELL JT TEN         1186 HEART LAKE RD                                                                              JERMYN           PA    18433‐3133
FLOYD H WORLINE JR                                  1683 MYSTIC COVE                                                                                DEFIANCE         OH    43512‐3698
FLOYD H YATES                                       16 BELGIAN TRAILS                                                                               ST PETERS        MO    63376‐3785
FLOYD HARRIS                                        3947 NORTH 53RD STREET                                                                          MILWAUKEE        WI    53216‐2203
FLOYD HENDERSON                                     12223 FAIRBURY DR                                                                               HOUSTON          TX    77089‐6611
FLOYD HERMANN                                       7656 MANCHESTER RD                                                                              SOUTH BELOIT     IL    61080‐9780
FLOYD HOOKS                                         5423 W 80 S                                                                                     KOKOMO           IN    46901‐8700
FLOYD HUDNALL CHRISTOPHER                           2837 REYNOLDS DR                                                                                WINSTON‐SALEM    NC    27104‐1903
FLOYD HULL                                          2965 CHAUCER DR NE                                                                              CANTON           OH    44721‐3610
FLOYD I KEYS                                        5697 CHEVIOT RD                        APT 5                                                    CINCINNATI       OH    45247‐7096
FLOYD I STEVENS                                     BOX 119BOX 119                                                                                  KINSMAN          OH    44428
FLOYD J BERTHIAUME                                  800 JANE                                                                                        PINCONNING       MI    48650‐9404
FLOYD J BOYCE                                       3166 TRUMBULL AVE                                                                               MACDONALD        OH    44437‐1333
FLOYD J COLLINS                                     985 MERIT ST                                                                                    WHITE LAKE       MI    48386‐3842
FLOYD J CORTNER                                     5131 W BELLFORT ST                                                                              HOUSTON          TX    77035‐3134
FLOYD J CORTNER & LILLIE M CORTNER JT TEN           5131 W BELLFORT ST                                                                              HOUSTON          TX    77035‐3134
FLOYD J DOBSON                                      4860 LAKEVIEW BLVD                                                                              CLARKSTON        MI    48348‐3832
FLOYD J DOBSON & CAROL J DOBSON JT TEN              4860 LAKEVIEW BLVD                                                                              CLARKSTON        MI    48348‐3832
FLOYD J FORCIA                                      FT 88                                                                                           LANSE            MI    49946
FLOYD J KERRY                                       1709 FENTON RD                                                                                  FLINT            MI    48507‐1695
FLOYD J MADEWELL                                    70 E WEYMER DR                                                                                  PIQUA            OH    45356‐9211
FLOYD J MCCALLUM                                    18038 W HYLAND RD                                                                               BRODHEAD         WI    53520
FLOYD J MCCREE                                      1602 NORTH BALLENGER HWY                                                                        FLINT            MI    48504‐3070
FLOYD J MUNSON & MARIAN B MUNSON TR MUNSON          2546 MOUNTAIN DRIVE                                                                             UPLAND           CA    91784‐1169
FAMILY TRUST UA 7/9/93
FLOYD J NICELY                                      RR # 4 09983 INDEPENDENCE RD                                                                    DEFIANCE         OH    43512‐9034
FLOYD J POLLARD & MRS EVELYN M POLLARD JT TEN       4172 RURAL                                                                                      WATERFORD        MI    48329‐1649

FLOYD J RITTHALER                                   13327 US HIGHWAY 23 S                                                                           OSSINEKE         MI    49766‐9749
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FLOYD J SQUIRES                                    2414 BALDWIN                                                                                  DETROIT           MI    48214‐1751
FLOYD J STRALEY                                    6162 N LOGGERS LN                                                                             LUDINGTON         MI    49431‐9219
FLOYD J WIESZCZECINSKI                             1612 MICHIGAN AVE                                                                             BAY CITY          MI    48708‐8455
FLOYD J YOUNG JR & MARY SUE YOUNG JT TEN           5736 NE QUARTZ DR                                                                             LEE'S SUMMIT      MO    64064‐1149
FLOYD JACKSON                                      14614 LAQUINTA AV                                                                             GRANDVIEW         MO    64030‐4112
FLOYD K DUNN & CATHERINE DUNN TR UA 8/30/93 THE    18 LOS FLORES AVE                                                                             S SAN FRANCISCO   CA    94080‐2236
DUNN FAMILY TRUST
FLOYD K SWOPE JR                                   6 DUNNING CT                                                                                  NEW CASTLE        DE    19720‐3805
FLOYD K TURLAND                                    6680 BUNKER HILL DR                                                                           LANSING           MI    48906‐9135
FLOYD L BROWN                                      430 CHEYENNE DRIVE                                                                            SIMPSONVILLE      SC    29680‐2728
FLOYD L DAVIS JR                                   602 LYNDHURST ST                                                                              BALTIMORE         MD    21229‐1949
FLOYD L DEAN                                       1376 N HOSPITAL RD                                                                            WATERFORD         MI    48327‐1524
FLOYD L DIHEL TR UA 08/09/79 FLOYD L DIHEL TRUST   PO BOX 575                                                                                    LAKE BLUFF        IL    60044‐0575

FLOYD L FULTZ & JEAN M FULTZ JT TEN              1122 EAST 3RD ST 7                                                                              O FALLON          IL    62269
FLOYD L GILKES                                   4023 SHADOWBROOK PL                                                                             DECATUR           GA    30034‐2239
FLOYD L HADDIX & WILMA J HADDIX TR HADDIX FAMILY 8234 POTTER RD                                                                                  DAVIDSON          MI    48423‐8146
TRUST UA 9/02/04
FLOYD L HILL TR HILL FAMILY TRUST UA 12/14/95    10401 W CHARLESTON                     APT A105                                                 LAS VEGAS         NV    89135‐1174
FLOYD L HOLLINGSWORTH & SUSAN HOLLINGSWORTH 3841 KENT ROAD                                                                                       FREELAND          MI    48623‐9409
JT TEN
FLOYD L KLINKERT                                 65 HILLTOP ROAD                                                                                 MAINSFIELD        OH    44906‐1319
FLOYD L PECKMAN                                  1801 CREST BROOK LANE                                                                           FLINT             MI    48507‐5336
FLOYD L POWELL                                   3508 STONEVIEW DR                                                                               KOKOMO            IN    46902‐5955
FLOYD L REEVES                                   1029 COUNTY RD 1120                                                                             RAVENNA           TX    75476‐5405
FLOYD L SARGENT                                  10081 GIBBS RD                                                                                  CLARKSTON         MI    48348‐1513
FLOYD L TRUXALL                                  9907 DUPONT DR                                                                                  COLUMBIA STA      OH    44028‐9618
FLOYD L WALLS JR                                 1966 NEWBURG HEIGHTS                                                                            RICHMOND          VA    22903‐7823
FLOYD L WALTON                                   105 N MAIN BOX 45                                                                               FAIRMOUNT         IL    61841‐0045
FLOYD L WOODS                                    6028 MERLE ST                                                                                   TOLEDO            OH    43623‐1147
FLOYD L YOUNT & OLIEDA G YOUNT JT TEN            6034 LYMBAR                                                                                     HOUSTON           TX    77096‐4713
FLOYD LEON WEBB                                  125 SWAIN ST                                                                                    INGALLS           IN    46048‐9759
FLOYD M CLARK                                    3933 PICEA CT                                                                                   HAYWARD           CA    94542‐1724
FLOYD M COLE                                     1372 RED BARN DRIVE                                                                             OXFORD            MI    48371‐6038
FLOYD M DAVIS & SHAN R DAVIS JT TEN              8711 N CHRISTINE DR                                                                             BRIGHTON          MI    48114‐4911
FLOYD M GOODE                                    5268 HIGHWAY 135 N                                                                              PARAGOULD         AR    72450
FLOYD M HOLLAND JR                               776 LEXINGTON ONTARIO RD                                                                        MANSFIELD         OH    44903
FLOYD M KANNY & PATRICIA A KANNY JT TEN          33265 CLOVERDALE                                                                                FARMINGTON        MI    48336‐3909
FLOYD M MOORE CUST ERIC T WHEELER UGMA TX        1914 N HARRISON ST                                                                              SAN ANGELO        TX    76901‐1364
FLOYD M MOORE CUST REBECCA M WHEELER UTMA OR 16019 SE POWELL BLVD                                                                                PORTLAND          OR    97236‐1719

FLOYD M MOORE CUST STEPHANIE WHEELER UTMA OR 16019 SE POWELL BLVD                                                                                PORTLAND          OR    97236‐1719

FLOYD M MOORE CUST TRISTAN R WATERHOUSE UTMA 1081 LAS BANCAS COURT                                                                               CHULA SISTA       CA    91911‐2303
CA
FLOYD M PARKS & EVELYN S PARKS JT TEN         19645 WILSHIRE BLVD                                                                                BEVERLY HILLS     MI    48025‐5138
FLOYD M STEWART CUST TRACY LEE STUART UGMA OH 6609 BROOKFIELD PL                                                                                 CHARLOTTE         NC    28270‐2815

FLOYD MC AFOOSE                                    5942 VICTOR CIR                                                                               ALIQUIPPA         PA    15001‐4848
FLOYD MILLER                                       RR 2 BOX 208                                                                                  ORLANDO           KY    40460
FLOYD MOHR                                         RD #1 BOX 207                                                                                 LINCOLN           DE    19960‐9801
FLOYD N BOWERSOCK                                  2475 STEWART RD                                                                               XENIA             OH    45385‐9307
FLOYD O GILHAM                                     2846 LNCOLN AVE                                                                               CAMDEN            NJ    08105‐4425
FLOYD O KIRKLAND                                   204 CREEK RD                                                                                  OTTO              NC    28763‐9358
FLOYD OREAR                                        21970 CLOVERLAWN                                                                              OAK PK            MI    48237‐2676
FLOYD P THORNTON                                   3271 DREXEL AVE                                                                               FLINT             MI    48506‐1934
FLOYD PALMER JR                                    615 PARK LAWN                                                                                 CLIO              MI    48420‐1477
FLOYD PARRISH                                      702 VESTA ST                                                                                  INGLEWOOD         CA    90302‐3317
FLOYD PARTIN                                       9895 LAURENCE                                                                                 ALLEN PK          MI    48101‐1324
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Name                                                Address1                                Address2              Address3         Address4          City            State Zip

FLOYD PORTER                                        10 CYNTHIA ROAD                                                                                  CORTLANDT       NY    10567‐1404
                                                                                                                                                     MANOR
FLOYD R ARNETT                                      6420 STATE RTE 154                                                                               TAMAROA         IL    62888‐2429
FLOYD R BEACH                                       1005 CARDINAL WAY                                                                                ANDERSON        IN    46011‐1407
FLOYD R BEST                                        3404 NW CERRITO LN                                                                               RIVERSIDE       MO    64150‐9513
FLOYD R BOND & CHARLOTTE S BOND JT TEN              3000 VALERIE ARMS DR APT 1                                                                       DAYTON          OH    45405‐2027
FLOYD R BRYAN                                       11651 MONROE ROAD                                                                                GLADWIN         MI    48624‐9323
FLOYD R BUTTS                                       18399 THOMPSON                                                                                   LAURELVILLE     OH    43135
FLOYD R DOTSON                                      3332 GEORGETOWN DR NW                                                                            CLEVELAND       TN    37312‐1522
FLOYD R FESMIRE                                     103 SCHOOL ST                                                                                    MARKLEVILLE     IN    46056‐9420
FLOYD R FISSELL                                     116 HILLCREST ST                                                                                 MANSFIELD       OH    44907‐1606
FLOYD R GRIFFITH TR FLOYD R GRIFFITH LIVING TRUST   C/O PEGGY L ALLEN                       2792 SOUTH UINTA ST                                      DENVER          CO    80231‐4166
UA 07/30/97
FLOYD R SEDER                                       6140 MARTIN DR                                                                                   DURAND          MI    48429‐1721
FLOYD R SMITH                                       1180 N 3RD ST                                                                                    HAMILTON        OH    45011‐1514
FLOYD R TALLEY & RETHA L TALLEY JT TEN              12517 S LINCOLN                                                                                  OLATHE          KS    66061‐6307
FLOYD R THAXTON                                     21 MCDOWELL RD                                                                                   ROCKMART        GA    30153‐4260
FLOYD R THORNTON                                    632 ALLEN AVE                                                                                    ST LOUIS        MO    63125‐3201
FLOYD R TINKER                                      1009 AVERY CREEK DR                                                                              WOODSTOCK       GA    30188‐2313
FLOYD R WENTZ JR                                    1300 W HARRISON ST                                                                               HARTFORD CITY   IN    47348‐2348
FLOYD RHODES & PHYLLIS RHODES JT TEN                17126 MORRISON ST                                                                                SOUTHFIELD      MI    48076‐2059
FLOYD ROACH                                         3089 W HAYDEN WAY                                                                                TAYLORSVILLE    UT    84118‐2257
FLOYD ROBERTS                                       331 ITASKA STREET                                                                                HILLSIDE        NJ    07205‐1340
FLOYD S COUCH                                       5342 BAYONNE AVENUE                                                                              SPRING HILL     FL    34608‐1920
FLOYD S ENGLAND                                     5144 KENWOOD DR                                                                                  NEWBURGH        IN    47630‐3048
FLOYD S FLIPPIN CUST CLINT KIRBY FLIPPIN UTMA TN    ADAMS RYAL & FLIPPIN                    BOX 160                                                  HUMBOLT         TN    38343‐0160

FLOYD S JEWELL                                      2916 BAY CITY RD                                                                                 MIDLAND         MI    48642‐5921
FLOYD S PARSONS                                     34243 RICHLAND ST                                                                                LIVONIA         MI    48150‐5617
FLOYD SMILEY JR                                     16180 COWLEY RD                                                                                  GRAFTON         OH    44044‐9678
FLOYD SPEARS                                        5083 HENDERSON RD                                                                                DAVISON         MI    48423‐8513
FLOYD T BRADFORD                                    16910 CASTILE AVE                                                                                PANAMA CITY     FL    32413‐2333
                                                                                                                                                     BEACH
FLOYD T BROUSSARD & MRS ROSE MARIE BROUSSARD        1 CIRCLE E                                                                                       ORANGE          TX    77630‐4665
JT TEN
FLOYD T BUCHANAN                                    1201 DRY POINT COURT                                                                             LAS VEGAS       NV    89144‐1123
FLOYD T FOWLER                                      367 ELIZABETH ST                        OSHAWA ON                              L1J 5S7 CANADA
FLOYD T FRANCIS                                     1905 WILSHIRE                                                                                    PIQUA           OH    45356‐4472
FLOYD T SEARCY                                      157 N CHESTNUT ST                                                                                NILES           OH    44446‐1702
FLOYD T WEIKLE                                      RT# 7 MOCK RD                                                                                    MANSFIELD       OH    44904‐9807
FLOYD T WILSON JR                                   1316 FARWELL ST                                                                                  SAGINAW         MI    48601‐1160
FLOYD V POSEY                                       3518 BOWEN PL                                                                                    INDIANAPOLIS    IN    46221‐2116
FLOYD W BROWN                                       5267 RADFORD DR                                                                                  MORROW          OH    45152‐1331
FLOYD W BUSWELL JR                                  3919 LITTLE JOHN DR N                                                                            WILSON          NC    27896‐8802
FLOYD W DICKSON                                     127 S KENDALL DRIVE                                                                              INDEPENDENCE    MO    64056‐1663
FLOYD W DUNBAR                                      31 ELM ST                                                                                        MAYVILLE        NY    14757‐1118
FLOYD W EDWARDS                                     3400 SWEET HOME ROAD                                                                             BUFFALO         NY    14228‐1335
FLOYD W ESTES & WANDA B ESTES TEN ENT               1807 REDFIELD ROAD                                                                               BEL AIR         MD    21015‐4891
FLOYD W GRONA                                       4384 ROTA CIR                                                                                    FT WORTH        TX    76133‐5484
FLOYD W KUHNS                                       2705 W G TALLEY RD                                                                               ALVATON         KY    42122‐9664
FLOYD W MILES                                       630 PLEASANT ST S E                                                                              GRAND RAPIDS    MI    49503‐5531
FLOYD W MITCHELL                                    3837 CR 204                                                                                      ALVARADO        TX    76009‐7247
FLOYD W PETERSON                                    SCHLEISSHEIMER STR 264                  MUNICH                                 D‐80809 GERMANY
FLOYD W PITTMAN                                     3546 WESTGATE DRIVE                                                                              GAINESVILLE     GA    30504‐5728
FLOYD W SCHULTZ                                     1601 N RANDALL AVE                      APT 17                                                   JANESVILLE      WI    53545‐1138
FLOYD W STROOP                                      125 WILLOW RUN RD                                                                                MOUNT ORAB      OH    45154‐8000
FLOYD W TAYLOR                                      852 LIBERTY ST                                                                                   ALBANY          IN    47320‐1538
FLOYD W WILLIAMS                                    5819 NORTHRIDGE CIR                                                                              WATERFORD       MI    48327‐1869
FLOYD WAGERS                                        839 LEA AVE                                                                                      MIAMISBURG      OH    45342‐3411
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FLOYD WARSZAWSKI                                   3437 ADA DRIVE                                                                                   BAY CITY         MI     48706‐1710
FLOYD WELLONS JR                                   11849 OHIO                                                                                       DETROIT          MI     48204‐5407
FLOYD WILLIAM CLEMENTS                             5570 LONGLEAF DR                                                                                 NORTH FORT MYERS FL     33917‐3466

FLOYD WILLIS                                       23111 CLOVERLAWN                                                                                 OAK PARK          MI    48237‐2402
FLOYDE A WALKER                                    3301 VERMONTVILLE                                                                                CHARLOTTE         MI    48813
FLUSHING PRESBYTRIAN CHURCH                        G‐5010 N MCKINLEY RD                                                                             FLUSHING          MI    48433
FLY BY KNIGHTS INVESTMENT CLUB A PARTNERSHIP       C/O DAN CANFIELD                        1102 W 5TH ST S                                          LADYSMITH         WI    54848‐2142

FMTC CUST                                          FBO LINDA SLADE IRA                     44443 PENNY                                              CANTON            MI    48187
FMTC CUST FBO CYNTHIA STOUT IRA                    1323 E LORETTA DRIVE                                                                             INDIANAPOLIS      IN    46227
FMTC CUST FBO LISA BERG IRA                        2621 GLASSHOUSE RD                                                                               JAMESTOWN         NC    27282
FMTC CUST FBO STEPHEN MOORE IRA                    12028 WINESAP TERRACE                                                                            NORTH POTOMAC     MD    20878‐2379
FMTC CUST FBO VICKIE CAVERLY‐FARMER IRA            151 VALLEY CREEK RD                                                                              MOUNTAIN CITY     TN    37683
FMTC TR FBO BERNADETTE E SENSOR IRA                13390 ENID BLVD                                                                                  FENTON            MI    48430‐1100
FMTC TR FBO DANNY L JOHNSON IRA                    11296 N 200 E                                                                                    ALEXANDRIA        IN    46001‐9052
FMTC TR FBO DENNIS CECIL JOSEY                     1002 W WALKER ST                                                                                 DOUGLAS           GA    31533‐3448
FMTC TR FBO LALITYA C DEVKOTA                      136 SKIPWYTH CIRCLE                                                                              CARY              NC    27513‐2415
FMTC TR FBO SUZANNE M THOMPSON                     4550 MAST RD                                                                                     DEXTER            MI    48130‐9300
FMTC TR FBO WILLIAM J BODDY IRA                    4519 MAPLECREST                                                                                  PARMA             OH    44134‐3529
FMTC TR FBO WILLIS E SCHULZ IRA                    3651 HWY 27 SO LOT 198                                                                           SEBRING           FL    33870
FOCUS OPTICAL PENSION FUND                         2256 MT CARMEL AVE                      PO BOX 429                                               GLENSIDE          PA    19038
FODIES R MC BRIDE                                  3145 EUCLID DR                                                                                   S CHICAGO HTS     IL    60411‐5322
FOH ON LIEW                                        203 ELSON STREET                        MARKHAM ON                             L3S 3C1 CANADA
FOIEST W STORIE                                    1705 RYAN ROAD                                                                                   SPRINGBORO        OH    45066‐7737
FOLA L FLETCHER AS LIFE TENANT UNDER THE WILL OF   ROUTE #2                                BOX 9A                                                   BARRY             IL    62312‐9504
HOMER E FLETCHER
FOLCO SILVESTRI                                    10 BUTTONWOOD COURT                                                                              CONGERS           NY    10920‐2102
FOLETTE LOWRY                                      28184 ADLER DR                                                                                   WARREN            MI    48093‐4267
FOLEY BENTLEY                                      PO BOX 180                                                                                       HELLIER           KY    41534‐0180
FOLKE A BOMAN                                      5457 GINA DR                                                                                     SWARTZ CREEK      MI    48473‐8829
FOOK HO CHUNG & MRS MARY CHUNG JT TEN              108‐32 47TH AVE 3RD FL                                                                           CORONA            NY    11368‐2931
FOON MING WONG                                     2104 PORTSMOUTH DR                                                                               EL DORADO HILLS   CA    95762‐6906
FORBES W BURDETTE                                  15715 CASTLEWOODS DR                                                                             SHERMAN OAKS      CA    91403‐4808
FORD A MANSFIELD                                   6116 TREND ST PO BOX 473                                                                         MAYVILLE          MI    48744‐0473
FORD A MANSFIELD & MRS IONA A MANSFIELD JT TEN     6116 TREND ST PO BOX 473                                                                         MAYVILLE          MI    48744‐0473

FORD B GUDGELL                                     4911 WOODBINE AVE                                                                                DAYTON            OH    45432‐3217
FORD C EWALDSEN                                    903 PARLIAMENT ST                                                                                HIGH POINT        NC    27265‐2146
FORD COLES                                         662 WINDING BROOK LN                                                                             CALIFON           NJ    07830‐4174
FORD ELLIS                                         HC77 BOX 574                                                                                     PITTSBURG         MO    65724‐9716
FORD H COTTON III                                  PO BOX 1543                                                                                      BRIGHTON          MI    48116‐5343
FORD J FEGERT                                      509 RIVER DRIVE                                                                                  VERO BEACH        FL    32963‐2127
FORD L WARNER                                      ROUTE 4                                                                                          IONIA             MI    48846‐9804
FORD W COMSTOCK                                    4301 CUTHBERTSON                                                                                 FLINT             MI    48507‐2512
FORDON E HARRIS & EDITH T HARRIS JT TEN            248 COCONUT ST                          PLANTATION VILLAGE                                       BRADENTON         FL    34207‐4927
FORDSON CHAND CURTIS                               3032 W WILLARD RD                                                                                BIRCH RUN         MI    48415‐9404
FOREST ADAMS                                       4897 GERMANTOWN PIKE                                                                             DAYTON            OH    45418‐2210
FOREST B TODD & JACQUELINE TODD JT TEN             4408 BRENDA DR                                                                                   ANDERSON          IN    46013‐1404
FOREST D BENAWAY                                   3910 WADSWORTH RD                                                                                SAGINAW           MI    48601‐9676
FOREST E KIENTZ & JUDITH A KIENTZ JT TEN           8925 E 600 N                                                                                     BROWNSBURG        IN    46112
FOREST E MARSDEN II & CATHERINE F MARSDEN JT TEN   468 HICKORY RD                                                                                   SARCOXIE          MO    64862‐9294

FOREST E PARKER                                    6251 EVERGREEN DR                                                                                NEWAYGO           MI    49337‐9797
FOREST E PLACER                                    1365 SIOUX ST                                                                                    GLADWIN           MI    48624‐8354
FOREST G DENNIS                                    721 BEVERLY WAY                                                                                  MARTINSVILLE      VA    24112‐5403
FOREST H BARBER                                    4566 MONROE                                                                                      ECORSE            MI    48229‐1455
FOREST HENRY RAY                                   2602 THOMAS ST                                                                                   FLINT             MI    48504‐4528
FOREST HILL PRESBYTERIAN CHURCH                    192 BROAD STREET                                                                                 BLOOMFIELD        NJ    07003‐2606
                                                09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                                Address2             Address3          Address4          City              State Zip

FOREST HOLMAN                                     923 LONGFELLOW                                                                                   DETROIT           MI    48202‐1570
FOREST J KULWIN                                   655 CAREN DR                                                                                     BUFFALO GROVE     IL    60089‐1025
FOREST K CARMICHAEL                               3490 E MEADOW LN                                                                                 DECATUR           IL    62521‐2423
FOREST L GOINGS                                   3099 S BEECHGROVE ROAD                                                                           WILMINGTON        OH    45177‐9175
FOREST M BOSLEY                                   1594 WINDSOR ROAD                                                                                MANSFIELD         OH    44905‐1749
FOREST M RICHWINE & D MAXINE RICHWINE JT TEN      8293 TROY ROAD                                                                                   GREENFIELD        IN    46140‐9026

FOREST M SHANNON                                  BOX 987                                                                                          CULVER CITY       CA    90232‐0987
FOREST MOSLEY II CUST ABIGAIL L MOSLEY UTMA LA    431 MORNING MEADOW CIR                                                                           WEST MONROE       LA    71292‐6141

FOREST N PIERCE                                   702 BIGGS TERR                                                                                   ARLINGTON         TX    76010‐4433
FOREST O KOHL                                     1202 E 4TH AVE                                                                                   BRODHEAD          WI    53520‐1555
FOREST OSBORNE                                    255 BERRYVILLE RD                                                                                COLUMBUS          OH    43207‐6052
FOREST R OCKERMAN JR & SHARON K OCKERMAN JT       6424 OAKHURST PLACE                                                                              DAYTON            OH    45414‐2866
TEN
FOREST R TAGUE                                    804 PARK AVE                                                                                     ATTICA           IN     47918‐1218
FOREST T HAMILTON                                 200 CARAVEL DRIVE                                                                                BEAR             DE     19701‐1629
FOREST TRIPLETT                                   102 CLARKSON ROAD                                                                                HOT SPRINGS      AR     71901‐3342
FOREST W COTTER                                   RR3                                                                                              MANSFIELD        OH     44903‐9803
FOREST W PHILLIPS SR                              4227 10TH ST                                                                                     MENOMINEE        MI     49858‐1311
FORESTINE A THORNTON                              PO BOX 26492                                                                                     DAYTON           OH     45426‐0492
FORREST A ABBOTT                                  807 ALTAMONT RD                                                                                  GREENVILLE       SC     29609‐6503
FORREST A HENRY SR                                5439 MIDDLESEX                                                                                   DEARBORN         MI     48126‐3108
FORREST A SMITH                                   7010 PARIS RD                                                                                    BALTO            MD     21207‐4461
FORREST A WILEDEN & NANCY R WILEDEN JT TEN        564 PLEASANT GROVE DRIVE                                                                         WINTER SPRINGS   FL     32708‐6153
FORREST B FISHER                                  416 DAHLIA DR                                                                                    BRENTWOOD        TN     37027
FORREST B SECORD                                  265 LANE DR                                                                                      MABLETON         GA     30126‐3429
FORREST BODDIE                                    2 KOSMO DR                              APT 326                                                  DAYTON           OH     45402‐8365
FORREST C BROWN                                   6615 BANDERA AVE APT 1F                                                                          DALLAS           TX     75225‐4029
FORREST C DALEY & DAISEY J DALEY JT TEN           12419 E NIGHTINGALE LN                                                                           CHANDLER         AZ     85286‐2218
FORREST C NICHOLAS                                240 SW 37TH LN                                                                                   CAPE CORAL       FL     33914‐7859
FORREST D BUSH                                    9992 BROOKS CARROLL RD                                                                           WAYNESVILLE      OH     45068‐8660
FORREST D GABEL                                   132 S CT ST                                                                                      ALMA             MI     48801‐2410
FORREST E HALTOM JR & BO PEEP HALTOM JT TEN       BOX 128                                                                                          NEWTON           TX     75966‐0128
FORREST E KISSINGER & EFFIE P KISSINGER JT TEN    241 SHATTO DR                                                                                    CARLISLE         PA     17013‐2122
FORREST E KNIGHT                                  13692 FERN TRAIL DR                                                                              NORTH FORT MYERS FL     33903‐7202

FORREST E MILLER                                  438 BERYL AVENUE                                                                                 MANSFIELD         OH    44907‐1420
FORREST E RHINEHART                               PO BOX 142                                                                                       BUFFALO           NY    14226‐0142
FORREST E SMITH                                   52 HARRIETTE DR                                                                                  SHELBY            OH    44875‐1814
FORREST E WILLIS JR                               3404 CHADBURY RD                                                                                 MOUNT LAUREL      NJ    08054‐4251
FORREST EDWARD JOHNSON                            4010 GREENFIELD DRIVE                                                                            ANDERSON          IN    46013‐5029
FORREST G GRIFFIN                                 1468 NEWMAN AVENUE                                                                               LAKEWOOD          OH    44107‐5118
FORREST G KIRBY                                   24088 FINDLEY RD                                                                                 STURGIS           MI    49091‐9370
FORREST G NUCKOLS                                 6914 WASHINGTON RD                                                                               WEST PALM BEACH   FL    33405‐4760

FORREST H ALLISON II & SUSAN S ALLISON JT TEN     413 S HENRY ST                                                                                   ALEXANDRIA        VA    22314‐5901
FORREST H COX                                     1191 VICKERS LAKE DR                                                                             OCOEE             FL    34761‐2536
FORREST H LOONEY                                  5073 NIAGARA                                                                                     WAYNE             MI    48184‐2639
FORREST H PURDY & GERALDINE L PURDY JT TEN        22249 QUAIL DRIVE                                                                                LEWES             DE    19958
FORREST H RODDEN                                  160 MANSFIELD BLVD N                    BELLEMOOR                                                CHERRY HILL       NJ    08034‐3609
FORREST H WATSON                                  4826 HWY 62                                                                                      BUNA              TX    77612
FORREST J FEGERT                                  582 DEMERY BLVD                                                                                  SHREVEPORT        LA    71115
FORREST J STEPHENS JR                             11560 BLUEBIRD DR                                                                                LAKEVIEW          MI    48850‐9455
FORREST L HATFIELD                                34 N MELODY DR                                                                                   LESLIE            MO    63056‐2417
FORREST L ISAAC                                   5414 BOLAND DR                                                                                   GRAND BLANC       MI    48439‐5102
FORREST L MILLER                                  803 OLD 7 HWY                                                                                    GARDEN CITY       MO    64747
FORREST L STEUERWALD                              9675 E COUNTY RD 400 N                                                                           BROWNSBURG        IN    46112‐9303
FORREST L TARR                                    40659 W 88TH ST                                                                                  RICHMOND          MO    64085‐8521
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FORREST L TAYLOR                                  406 SLOCUM                                                                                            AUBURN HILLS        MI    48326‐3838
FORREST L TUCKER                                  586 YOUNG LANE                                                                                        WINCHESTER          TN    37398‐3760
FORREST L WALDY                                   14998 S GLEN EYRIE ST                                                                                 OLATHE              KS    66061‐8518
FORREST LEE CLAYTON                               3128 SPRINGWOOD DR                                                                                    SHARPSVILLE         PA    16150‐9272
FORREST LEON SAPP                                 3339 COUNTY ROAD 327                                                                                  MOULTON             AL    35650‐6905
FORREST M SCRUGGS JR                              26220 H HWY                                                                                           EXCELSIOR SPRINGS   MO    64024‐8310

FORREST M SMITH JR                             101 GATEWOOD COURT                                                                                       SAN ANTONIO         TX    78209‐5427
FORREST MOCK                                   1224 WILLOW COVE TERR                                                                                    TYLER               TX    75703‐3957
FORREST P GAUNTNER                             169 CAROLINE ST                                                                                          ELYRIA              OH    44035‐3905
FORREST P GAUNTNER & ANTHONY J GAUNTNER JT TEN 169 CAROLINE ST                                                                                          ELYRIA              OH    44035‐3905

FORREST R MARSHALL JR                             145 ANDERSON PLACE                                                                                    MARTINSVILLE        IN    46151‐1302
FORREST RAY VANCE                                 178 ANGELA DRIVE                                                                                      GERMANTOWN          OH    45327‐8334
FORREST S HANCOCK                                 5311 S ILLINOIS                                                                                       INDIANAPOLIS        IN    46217‐3525
FORREST S HANCOCK & MARY C HANCOCK JT TEN         5311 S ILLINOIS ST                                                                                    INDIANAPOLIS        IN    46217‐3525
FORREST SNEED JR                                  BOX 2                                                                                                 GREENSBORO          IN    47344‐0002
FORREST SOUTHWICK                                 2177 GARDEN DRIVE                                                                                     WICKLIFFE           OH    44092‐1114
FORREST T ADAMS                                   615 LIBERTY RD                                                                                        YOUNGSTOWN          OH    44505‐4258
FORREST T GOOD                                    631 MOONLIGHT TRAIL                                                                                   SPARTA              TN    38583‐2854
FORREST W BARKER & MRS OLIVE M BARKER JT TEN      4100 TONEY CIRCLE                                                                                     HUNTSVILLE          AL    35802‐1220

FORREST W MILLER                                  13622 GRACE DRIVE                                                                                     EAGLE               MI    48822‐9622
FORREST W MILLER & JACQUELINE D MILLER JT TEN     13622 GRACE DRIVE                                                                                     EAGLE               MI    48822‐9622

FORREST W NORBERG                                 5 HEMLOCK PT RD                                                                                       SEBAGO              ME    04029
FORREST WALKER                                    1575 FRENO DR N W                                                                                     ATLANTA             GA    30318‐3343
FORRESTER D POTTER                                580 N OLD STATE RD                                                                                    DELAWARE            OH    43015‐8905
FORRESTINE W GRAY                                 PO BOX 2375                                                                                           WARREN              OH    44484‐0375
FORRIST D CURREN                                  901 S MARKET ST                                                                                       GALION              OH    44833‐3210
FORSYTH CITY                                      1450 FAIRCHILD DRIVE                                                                                  WINSTON SALEM       NC    27105‐4560
FORSYTH CO                                        4H                                     1450 FAIRCHILD DR                                              WINSTON‐SALEM       NC    27106
FORSYTH COUNTY 4‐H                                C/O JACKIE L HELTON                    1450 FAIRCHILD DRIVE                                           WINSTON SALEM       NC    27105‐4560
FORT ORANGE PRESS                                 11 SAND CREEK RD                                                                                      ALBANY              NY    12205‐1409
FORTUNATO CRUZ                                    8168 MAGOUN DR                                                                                        SAINT JOHN          IN    46373‐8887
FORTUNATO P WEE                                   18 ROCHELLE DRIVE                                                                                     KENDALL PARK        NJ    08824‐1405
FORTUNATO V GUTIERREZ                             3844 SENECA AVE                                                                                       LOS ANGELES         CA    90039‐1637
FORTUNE 4‐H'ERS                                   BROWARD COUNTY 4‐H                     FOUNDATION INC         3245 COLLEGE AVENUE                     DAVIE               FL    33314‐7719
FORTUNE P RYAN JR                                 5 NORTH ROAD                           PO BOX 459                                                     TIVOLI              NY    12583‐0459
FORTUNEE REICHER & PHILIP REICHER JT TEN          896 NORMANDY S                                                                                        DELRAY BEACH        FL    33484‐4806
FORTY FORT PRESBYTERIAN CHURCH                    92 BEDFORD STREET                                                                                     FORTY FORT          PA    18704‐4145
FOSS AVE BAPTIST CHURCH                           1159 E FOSS AVE                                                                                       FLINT               MI    48505‐2324
FOSTER BENSON III                                 6627 SCOTTEN                                                                                          DETROIT             MI    48210‐1380
FOSTER C SMITH JR                                 11865 W 600 N                                                                                         RUSSIAVILLE         IN    46979‐9316
FOSTER F WARR                                     17438 W ELIZABETH AVE                                                                                 GOODYEAR            AZ    85338‐1991
FOSTER FORREST FRABLE JR                          79 STRATFORD AVE                                                                                      WHITE PLAINS        NY    10605‐2403
FOSTER H MOUSER JR                                10701 S HARVEY                                                                                        OKLAHOMA CITY       OK    73170‐6415
FOSTER LEBENGOOD DEIBERT JR                       JOSEF THORY STR 22                     41352 KORSCHENBROICH                         GERMANY
FOSTER N TAYLOR                                   6387 CLOVIS AVE                                                                                       FLUSHING            MI    48433‐9003
FOSTER O KING                                     PO BOX 203                                                                                            HORNBECK            LA    71439‐0203
FOSTER R MURPHY                                   8277 CONOVER DR                                                                                       WILLIS              MI    48191‐9663
FOSTER WILSON JR                                  4119 LOUIS DR                                                                                         FLINT               MI    48507‐1207
FOSTINA MURRAY                                    30 TALLWOOD DR                                                                                        HILTON              NY    14468‐1052
FOUAD M SAAD                                      6360 OAKMAN BLVD                                                                                      DEARBORN            MI    48126‐2373
FOUAD N SALIM                                     2196 KEPPEN BLVD                                                                                      LINCOLN PARK        MI    48146
FOUAD S HADDAD                                    29 SAHARA DRIVE                                                                                       ROCHESTER           NY    14624‐2252
FOUNDERS TRUST COMPANY EX UW THOMAS P             2000 MORRIS AVE APT 1210                                                                              BIRMINGHAM          AL    35203
WILLIAMS SR
FOUNT DEATON                                      2706 MIAMI VILLAGE DR                                                                                 MIAMISBURG          OH    45342‐4580
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FOUR WHEELS CO A PARTNERSHIP                     666 GARLAND PLACE                                                                              DES PLAINES     IL    60016‐4725
FOW GONG TOM                                     5994 AIMLESS ST                                                                                HENDERSON       NV    89011‐1639
FOWLER K KIRBY                                   C/O GLORIA LINNUM                     2670 SATURN DR                                           LAKE ORION      MI    48360‐1735
FOX H HARMON JR & JACQUELINE W HARMON JT TEN     1504 GALWAY BAY CIRCLE                                                                         NORTHPORT       AL    35473‐1543

FOX H HENDERSON                                  4479 KENFIELD RD                                                                               COLUMBUS        OH    43224‐1128
FOX RIVER GARDENERS                              ATTN ANNE ENGELHARDT                  312 BLACKBERRY LANE                                      YORKVILLE       IL    60560‐1006
FOYE M BEASLEY                                   PO BOX 64                                                                                      MANSFIELD       TX    76063‐0064
FOYSTER BANKS                                    1607 S BRITTON ST                                                                              MARION          IN    46953‐1713
FOYSTER W ROBERTS                                RR1 BOX 368                                                                                    BLACKWATER      VA    24221‐9729
FRA G WELLMAN                                    6173 ECHO CT                          APT 1D                                                   PORTAGE         MI    49002‐7992
FRACISCO J BORRAYO                               155 UTICA ST                                                                                   BROCKPORT       NY    14420‐2231
FRAILAN I GARCIA                                 5023 DIANNA DRIVE                                                                              LANSING         MI    48917‐3377
FRAME A STOCK INC                                140 CORTEZ ST                                                                                  MELBOURNE BCH   FL    32951‐3811
FRAN ELENA SANTANGELO                            118 E GERMANTOWN PIKE                                                                          PLYMOUTH MTNG   PA    19462‐1507

FRAN HUTCHINGS THORPE                            3910 BATTERSEA RD                                                                              COCONUT GROVE   FL    33133‐6706
FRAN JONES & DAVID JONES TR UA 08/12/54 JONES    32783 FOOTHILL RD                                                                              LUCERNE VLY     CA    92356‐7652
FAMILY LIVING TRUST
FRAN KRATHEN CUST MICHAEL S KRATHEN UTMA FL      3467 DERBY LANE                                                                                FT LAUDERDALE   FL    33331‐3510

FRAN LOWITZ & MARNI LOWITZ JT TEN                2770 OCEAN AVE                        #4R                                                      BROOKLYN        NY    11229
FRAN STORPER                                     10535 SW 128TH TERR                                                                            MIAMI           FL    33176‐5545
FRANC C BROOKS & BETTY A BROOKS JT TEN           10642 W U AVE                                                                                  SCHOOLCRAFT     MI    49087‐9440
FRANCE L N TANGUAY                               50 FOSTMERE CT                                                                                 WARWICK         RI    02889‐6319
FRANCE M CERCHEZ                                 258 RICHARDSON ST                     PICKERING ON                           L1V 6B8 CANADA
FRANCEE JO STANCHINA                             8396 S LINDEN RD                                                                               SWARTZ CREEK    MI    48473‐9151
FRANCENE E SILCOX                                14340 BRISTOL BAY PL #102                                                                      FT MYERS        FL    33912‐0862
FRANCES A ADAMS                                  729 OAKLEIGH RD NW                                                                             GRAND RAPIDS    MI    49504‐4611
FRANCES A ARMSTRONG                              RTE 7                                                                                          POWNAL          VT    05261
FRANCES A BECKWITH                               71 ASHWELL DR                                                                                  PLANTSVILLE     CT    06479‐1000
FRANCES A BLOCH                                  739 SHOOK CT                                                                                   BAY CITY        MI    48708‐6983
FRANCES A BRADLEY                                77 HOFFMAN RD                                                                                  PINE PLAINS     NY    12567‐5237
FRANCES A BUERGER TR UA 06/05/90 FRANCES A       7055 VERDE VISTA DR NE                                                                         ROCKFORD        MI    49341‐9680
BUERGER
FRANCES A CLARK                                  7333A MERRICK CREEK RD                                                                         HUNTINGTON      WV    25702
FRANCES A CUTHBERTSON & ANN M FORD JT TEN        8269 MANCHESTER DR                                                                             GRAND BLANC     MI    48439‐9559
FRANCES A CUTHBERTSON & JANE P CAINE JT TEN      8269 MANCHESTER DR                                                                             GRAND BLANC     MI    48439‐9559
FRANCES A CUTHBERTSON & PEGGY S CUTHBERTSON JT   8269 MANCHESTER DR                                                                             GRAND BLANC     MI    48439‐9559
TEN
FRANCES A CUTHBERTSON & SALLY R SMITH JT TEN     8269 MANCHESTER DR                                                                             GRAND BLANC     MI    48439‐9559

FRANCES A EASTBURN                               1170 BOARDMAN STREET                                                                           SHEFFIELD       MA    01257
FRANCES A FERGUSON                               130 JANE'S WAY                                                                                 HARTLY          DE    19953‐1900
FRANCES A FOX                                    4602 SHEPHERD RD                                                                               TIPTON          MI    49287‐9789
FRANCES A FRANCICA                               902 GOTHAM CT S                                                                                ST JAMES        NY    11780‐3353
FRANCES A FRAZIER                                750 HARMONY STATION RD                                                                         PHILLIPSBURG    NJ    08865‐9445
FRANCES A GILBERT                                29 PEORIA STREET                                                                               BUFFALO         NY    14207‐2013
FRANCES A GUILI                                  305 BEAM RD                                                                                    ENTERPRISE      AL    36330‐1054
FRANCES A HANEY                                  3801 W 74TH ST                                                                                 PRAIRIE VLG     KS    66208‐2922
FRANCES A HERRINGTON                             PO BOX 963                                                                                     MC COMB         MS    39649‐0963
FRANCES A HICKS                                  3429 CHALMERS DR                                                                               WILM            NC    28409‐6909
FRANCES A HIGGINS                                2910 HEATHER LANE NW                                                                           WARREN          OH    44485‐1242
FRANCES A HOLLAND                                10805 F M 1004 S                                                                               BUNA            TX    77612
FRANCES A KLAUBERG                               PO BOX 1692                                                                                    JULIAN          CA    92036‐1692
FRANCES A LIPOVSKY                               115 DOUGLAS ST                                                                                 STRATFORD       CT    06614
FRANCES A MARKS                                  400 PARK DRIVE                                                                                 KENSINGTON      CT    06037‐3821
FRANCES A MATTISON TR FRANCES A MATTISON TRUST   39463 VILLAGE RUN DRIVE                                                                        NORTHVILLE      MI    48167‐3465
UA 06/14/96
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FRANCES A MERVAK                                 1431 NW RICHMOND BEACH RD #12                                                                  SHORELINE          WA    98177‐2755
FRANCES A MIGIELICZ                              9 AZELA COURT                                                                                  SAVOY              IL    61874‐9750
FRANCES A MOE                                    102 E 18TH ST                         APT 3                                                    MARYSVILLE         CA    95901‐4249
FRANCES A MONTAGNE                               58 MERRY HILL DRIVE                                                                            ROCHESTER          NY    14625‐1165
FRANCES A MOORE                                  1606 KINGSTON DR                                                                               SAGINAW            MI    48603‐5400
FRANCES A OSULLIVAN                              610 WILLIS AVE APT 3B                                                                          WILLISTON PARK     NY    11596‐1224
FRANCES A PALKO & G JAMES PALKO JR JT TEN        181 HANNUM AVE                                                                                 ROSSFORD           OH    43460‐1109
FRANCES A PARNELL                                3221 BARBARA LN                                                                                FAIRFAX            VA    22031‐2718
FRANCES A PATRYJAK                               2751 KENTWOOD DR                                                                               SHELBY TWP         MI    48316
FRANCES A PLATEK                                 213 MASCOT DRIVE                                                                               ROCHESTER          NY    14626‐1705
FRANCES A PROVENCE TR FRANCES A PROVENCE TRUST   9130 WISTER DR                                                                                 LA MESA            CA    91941‐4104
UA 11/27/95
FRANCES A ROBINETT                               220 FREEDOM WA                                                                                 ANDERSON           IN    46013‐1018
FRANCES A ROZOLOSKY                              3070 FIRESTONE DRIVE                                                                           STERLING HEIGHTS   MI    48310‐6024

FRANCES A ROZOLOSKY & THEODORE A ROZOLOSKY JT 3070 FIRESTONE DRIVE                                                                              STERLING HEIGHTS   MI    48310‐6024
TEN
FRANCES A RUSSELL                              24274 HILL                                                                                       WARREN             MI    48091‐4450
FRANCES A SARKIS                               7060 LOCKWOOD BLVD                                                                               YOUNGSTOWN         OH    44512
FRANCES A SPARKS                               9028 BELVOIR DR                                                                                  BIRMINGHAM         AL    35206
FRANCES A STROCK                               21418 N 138TH AVE                                                                                SUN CITY WEST      AZ    85375‐5812
FRANCES A WEST & ADAM J WEST & SHAUNESSEY J    3107 CAROLINE DR                                                                                 JOLIET             IL    60435‐1107
WEST JT TEN
FRANCES A ZIDAN & DALE JOHN ZIDAN JT TEN       34190 STEVENS BOULEVARD                                                                          EASTLAKE           OH    44095‐2907
FRANCES ALFRIEDA EDWARDS & CHRIS E EDWARDS JT  7423 VAN VLEET RD                                                                                SWARTZ CREEK       MI    48473‐8605
TEN
FRANCES ALFRIEDA EDWARDS & DAVID A EDWARDS JT 7423 VAN VLEET RD                                                                                 SWARTZ CREEK       MI    48473‐8605
TEN
FRANCES ALFRIEDA EDWARDS & LINDA D EDWARDS JT 7423 VANVLEET RD                                                                                  SWARTZ CREEK       MI    48473‐8605
TEN
FRANCES ALINE CORSON CUST EVERETT H CORSON III 4432 SAN CARLOS                                                                                  DALLAS             TX    75205‐2054
UGMA TX
FRANCES ALINE CORSON CUST KIMBERLY CORSON      ATTN FRANCES A CORSON COLLINS           4408 DRUID LN                                            DALLAS             TX    75205‐1031
UGMA TX
FRANCES AMBERY                                 42‐40 247TH ST                                                                                   LITTLE NECK        NY    11363‐1641
FRANCES ANN BURKA                              5630 WISCONSIN AVENUE APT 1502                                                                   CHEVY CHASE        MD    20815‐4458
FRANCES ANN ENGLISH                            FLAG SWAMP RD                                                                                    SOUTHBURY          CT    06488
FRANCES ANN HARPER TAYLOR                      865 NORTH MOUNTAIN RD                                                                            WARDENSVILLE       WV    26851‐8228
FRANCES ANNE GAFFNEY CONSERVATOR FOR REGINA M ATTN REGINA DOYLE STERNLICHT             11 RAILROAD AVE APT 1                                    ROCKPORT           MA    01966‐1464
DOYLE
FRANCES ANNETTE RICHARD BARBIER                11801 ST IVES COURT                                                                              WOODBRIDGE         VA    22192‐1101
FRANCES ARMENTO                                2504 SW NATURA BL                                                                                DEERFIELD BEACH    FL    33441‐3289
FRANCES ARNETT                                 4 WILTON CIR                                                                                     RYE BROOK          NY    10573
FRANCES B ALEXANDER                            7368 MORRISH RD                                                                                  SWARTZ CREEK       MI    48473‐7624
FRANCES B DAVIS & ROSEANN SULLIVAN JT TEN      7046 ROOT ST                                                                                     MOUNT MORRIS       MI    48458
FRANCES B DENA & BARBARA T HUGHES JT TEN       917 PARK AVE                                                                                     ELIZABETH          NJ    07208‐1131
FRANCES B DIMARCO                              8069 FAIRVIEW OVAL                                                                               BRECKSVILLE        OH    44141‐1206
FRANCES B DYER                                 7913 WESTGATE DRIVE                                                                              LENEXA             KS    66215‐2636
FRANCES B GAINES                               204 LAKESIDE RANCH CIR                                                                           WINTER HAVEN       FL    33881‐9212
FRANCES B GREEN                                BOX 177                                                                                          PALO PINTO         TX    76484‐0177
FRANCES B HARGISS                              2816 PIN OAK DR                                                                                  ANDERSON           IN    46012‐4592
FRANCES B HOLLIS                               5111 W POINT RD                                                                                  LA GRANGE          GA    30240‐8656
FRANCES B HUBERT                               25 RARITAN RD                                                                                    LINDEN             NJ    07036‐3631
FRANCES B LEARY                                111 OLSON LANE                                                                                   SANDSTON           VA    23150‐2116
FRANCES B MONTROSSO                            256 HILLSDALE AVE                                                                                SYRACUSE           NY    13206‐2954
FRANCES B MOREHOUSE & GEORGE W MOREHOUSE JT PO BOX 284                                                                                          LONG LAKE          MI    48743‐0284
TEN
FRANCES B NEILSON                              400 W 15TH ST                           STE 720                                                  AUSTIN             TX    78701‐1661
                                             09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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FRANCES B ROHLMAN                                 26018 FELICITY LANDING                                                                           HARRISON         MI    48045
                                                                                                                                                   TOWNSHIP
FRANCES B SANDS TR DECEDENT'S TRUST 4/18/96       4720 PARK ENCINO LANE                   UNIT 220                                                 ENCINO           CA    91436
FRANCES B SMITH                                   16 PATRICIA CT                                                                                   HOWELL           NJ    07731‐2858
FRANCES B SULLIVAN & LORAN E SULLIVAN JT TEN      11 PILLSBURY                                                                                     GEORGETOWN       MA    01833
FRANCES B TRENT                                   6081 DUFFIELD RD                                                                                 SWARTZ CREEK     MI    48473‐8515
FRANCES B WAGEMAN                                 16 SULLIVAN WAY                                                                                  E BRUNSWICK      NJ    08816‐1309
FRANCES B WHITSEL & THEODORE D WHITSEL JT TEN     2204 AUTUMN WOOD DR                                                                              HUNTINGDON       PA    16652‐2218

FRANCES B WOODS                                   36 WOODROW ST                                                                                    WEST HARTFORD    CT    06107‐2723
FRANCES BACON                                     725 LAKE DRIVE                                                                                   COLDWATER LAKE   MI    49036‐8516

FRANCES BAILEY BROOKE                             405 JACKSON AVE                                                                                  LEXINGTON        VA    24450‐1905
FRANCES BANNON CUST SPENCER ANTHONY BANNON 898 SOUTH WEST 9TH TERRACE                                                                              BOCA RATON       FL    33486
UTMA FL
FRANCES BANNON CUST VENESSA JAY BANNON UTMA 898 SOUTH WEST 9TH TERRACE                                                                             BOCA RATON       FL    33486
FL
FRANCES BLAKE                                     16041 S W 81 AVE                                                                                 MIAMI            FL    33157‐3701
FRANCES BLAKNEY                                   67 LORRAINE TE 313                                                                               MOUNT VERNON     NY    10553‐1238
FRANCES BRONDYKE                                  101 BLACK OAK DR                                                                                 CHESWICK         PA    15024‐9307
FRANCES BROUGHTON                                 23782 PLUMBROOKE DRIVE                                                                           SOUTHFIELD       MI    48075‐3250
FRANCES BUGG                                      966 WHIPPOORWILL RD                                                                              BRADYVILLE       TN    37026‐5403
FRANCES BURCHALEWSKI                              30 GREEN TER                                                                                     DEPEW            NY    14043‐1312
FRANCES BURHANS                                   454 COLUMBIA E                                                                                   PONTIAC          MI    48340‐2039
FRANCES C BATES                                   4305 E 103RD ST                                                                                  TULSA            OK    74137‐5942
FRANCES C BUCKMAN CUST JACOB D BUCKMAN UTMA 2810 DELOR AVE                                                                                         LOUISVILLE       KY    40217‐2004
KY
FRANCES C COLLINS                                 8330 E JEFFERSON AV 604                                                                          DETROIT          MI    48214‐2740
FRANCES C DAUGHERTY                               150 CHANTILLY CT                                                                                 HAGERSTOWN       MD    21740‐2013
FRANCES C DAUGHERTY                               124 FRANKLIN AVE                                                                                 NILES            OH    44446‐5119
FRANCES C DEAN                                    1102 WESTWOOD DR                                                                                 ABILENE          TX    79603‐4533
FRANCES C EAST                                    1334 S OHIO ST                                                                                   KOKOMO           IN    46902‐1862
FRANCES C ERICKSON & SHERYL HAKENJOS & JAMES E 1540 W RIDGE ST APT 4                                                                               MARQUETTE        MI    49855
ERICKSON JT TEN
FRANCES C GAGLIANO                                397 BAKER DR                                                                                     MECHANICSBURG    PA    17055‐4004
FRANCES C HARDY                                   4901 CONNECTICUT AVE NW                                                                          WASHINGTON       DC    20008‐2022
FRANCES C HEATH                                   1104 HOBBS ROAD                                                                                  GREENSBORO       NC    27410‐4820
FRANCES C HILL                                    3115 SORRENTO CIRCLE SW                                                                          ATLANTA          GA    30331‐2715
FRANCES C LAFLEUR TR JOSEPH & FRANCES LAFLEUR REV 25 SOUSA ST                                                                                      BRISTOL          RI    02809‐4401
TRUST UA 10/22/97
FRANCES C MC ENENY                                10640 S RIDGELAND AVE APT 2‐A                                                                    CHICAGO RIDGE    IL    60415‐1889
FRANCES C MIKOTA                                  3872 MOREFIELD RD                                                                                HERMITAGE        PA    16148‐3774
FRANCES C NORONHA                                 2132 GREAT HWY                                                                                   SAN FRANCISCO    CA    94116‐1553
FRANCES C PACE                                    7556 BOYCE DR                                                                                    BATON ROUGE      LA    70809‐1157
FRANCES C PAGLIANTE & DOMINIC J PAGLIANTE JT TEN 1512 GOVERNOR COURT                                                                               WEST CHESTER     PA    19380‐7105

FRANCES C PETRONELLA                              PO BOX 985                                                                                       POCONO PINES     PA    18350‐0985
FRANCES C SCHWARTZ                                1806 SPENCER AVENUE                                                                              NEW BERN         NC    28560
FRANCES C SMOOT                                   8215 MANOR                                                                                       DETROIT          MI    48204‐3024
FRANCES C SUTE                                    808 W AZALEA AVENUE                                                                              FOLEY            AL    36535‐1219
FRANCES C TRAUB                                   3900 W RIVERSIDE AVE                                                                             MUNCIE           IN    47304‐3155
FRANCES C WYDRA                                   214 MARDALE DR                                                                                   SOMERDALE        NJ    08083‐2624
FRANCES C YATZ                                    2319 WESTVIEW DR                                                                                 CORTLAND         OH    44410‐9465
FRANCES CADENA                                    14082 WOODVIEW DR                                                                                FENTON           MI    48430‐3311
FRANCES CARADONNA                                 17045 S ELEANOR DR                      #20B                                                     CLINTON TWP      MI    48038‐6515
FRANCES CHAMBERLAIN DUNCAN                        1216 LARONDE CT                                                                                  ALEXANDRIA       VA    22307‐2034
FRANCES CHESSIN                                   3‐25 CYRIL AVE                                                                                   FAIRLAWN         NJ    07410‐2051
FRANCES CHESTER                                   124 STONEBRIDGE WAY                                                                              BERLIN           CT    06037
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FRANCES CLARA SOLEY TOD DIANE J FLICKINGER    2674 QUARTER LANE                                                                                HAMPTON COVE     AL    35763‐8621
SUBJECT TO STA TOD RULES
FRANCES CLARY CUST DOMENIC J CLARY UTMA PA    670 LYLE DRIVE                                                                                   HERMITAGE        PA    16148‐1626
FRANCES CLEVELAND WICKES                      4973 ORTEGA BLVD                                                                                 JACKSONVILLE     FL    32210‐8341
FRANCES CLIFFORD HAMILTON & THOMAS C HAMILTON 91 WINTHROP AVE                                                                                  BRAINTREE        MA    02184‐8007
JT TEN
FRANCES CONOVER                               ATTN FRANCES CONOVER BARKER             9245 EL JAMES DRIVE                                      FAIRFAX          VA    22032‐2110
FRANCES COREY KATZ CUST TYLER KATZ UTMA NJ    7 ELM PLACE                                                                                      NORTH CALDWELL   NJ    07006‐4512

FRANCES CORNDORF TR FRANCES CORNDORF               518 W 30 ST                                                                                 MIAMI BEACH      FL    33140‐4338
REVOCABLE TRUSTUA 05/11/98
FRANCES COTTRELL                                   5863 DAYTON FARMERSVILLE RD                                                                 DAYTON           OH    45418‐1801
FRANCES CRAWFORD JUNG                              16260 CALIFORNIA AVE                                                                        BELLFLOWER       CA    90706‐5002
FRANCES CUNNINGHAM & MICHAEL CUNNINGHAM JT 110 EQUESTRIAN PLACE                                                                                GLEN MILLS       PA    19342‐2210
TEN
FRANCES D CHILDERS                                 823 GLENHURST                                                                               WILLOWICK        OH    44095‐4312
FRANCES D DAVIS                                    PO BOX 5793                                                                                 TITUSVILLE       FL    32783‐5793
FRANCES D DEMAURO                                  145 DEXTER AVE                                                                              MERIDEN          CT    06450‐6112
FRANCES D HAMILTON                                 91 WINTHROP AVE                                                                             BRAINTREE        MA    02184‐8007
FRANCES D HINSHAW                                  113 DEBBIE DR                                                                               EATON            OH    45320‐1047
FRANCES D JESEL                                    225 KNOXVIEW LANE                                                                           MOOREVILLE       NC    28117‐9689
FRANCES D JOHNSON                                  3716 EAST 142ND ST                                                                          CLEVELAND        OH    44120‐4859
FRANCES D JOSWIAK                                  1875 IMPERIAL DRIVE                                                                         HIGHLAND         MI    48356‐1158
FRANCES D KIDWELL                                  1219 W HAVENS ST                                                                            KOKOMO           IN    46901‐2631
FRANCES D MARKS                                    12010 INDIANA                                                                               DETROIT          MI    48204‐1084
FRANCES D PEAK                                     6635 BOOTH RD                                                                               NORTH BRANCH     MI    48461‐9719
FRANCES D SHAWHAN                                  2912 1/2 SHELBY ST                                                                          INDIANAPOLIS     IN    46203‐5235
FRANCES D SMYTH                                    4745 ROUNDTREE                                                                              BRIGHTON         MI    48116‐5140
FRANCES D SOMMERHALTER                             148 RIDGE ROAD                                                                              CEDAR GROVE      NJ    07009‐2000
FRANCES D STAPLETON                                4408 PULASKI HIGHWAY                                                                        CULLEOKA         TN    38451‐2024
FRANCES D WHIGHAM                                  12506 EMERY AVE                                                                             CLEVELAND        OH    44135‐2244
FRANCES DUKE PUGHSLEY                              4545 WIEUCA RD NE UNIT 16                                                                   ATLANTA          GA    30342‐3345
FRANCES DUNN                                       1225 EAST DOROTHY LANE                                                                      KETTERING        OH    45419‐2112
FRANCES DURHAM LEWIS                               894 BRECKENRIDGE LANE                                                                       LOUISVILLE       KY    40207‐4528
FRANCES DYER HICKMAN                               104 WESTWOOD                       CIRCLE                                                   MCKINNEY         TX    75070‐3706
FRANCES DYER TR UA 06/04/87 FRANCES DYER           7913 WESTGATE DR                                                                            LENEXA           KS    66215‐2636
FRANCES E ALBRECHT                                 652 SEDGE MEADOW CT                                                                         ROMEOVILLE       IL    60446‐4819
FRANCES E ALOCCI                                   323 TULIP CIR                                                                               CLARKS SUMMIT    PA    18411‐2133
FRANCES E BAESE TR FRANCES E BAESE LIVING TRUST UA 110 27TH AVE NW                                                                             GIG HARBOR       WA    98335‐7809
05/13/96
FRANCES E BAILEY                                   10597 ALDORA DR                                                                             MIAMISBURG       OH    45342‐4807
FRANCES E BOSLEY                                   6732 BUHR                                                                                   DETROIT          MI    48212‐1412
FRANCES E BRIGGS                                   29 FRENCH ROAD                                                                              ROCHESTER        NY    14618‐3825
FRANCES E CAIN                                     205 SOUTH STEWART                  APT 264                                                  MISSION          TX    78572
FRANCES E CATANIA                                  PO BOX 430                         75 WEST RD                                               POUND RIDGE      NY    10576‐2136
FRANCES E CRIDER                                   1920 WHITT ST                                                                               XENIA            OH    45385
FRANCES E DAVIS                                    385 LAKEMOORE DR NE                                                                         ATLANTA          GA    30342‐3830
FRANCES E DUNN                                     PO BOX 454                                                                                  ALFRED           ME    04002‐0454
FRANCES E EMERY CUST ROBERT L EMERY JR UGMA OH 145 W TINMOUTH RD                                                                               WELLS            VT    05774‐9736

FRANCES E ENGMAN & DALE C ENGMAN & BARBARA A     3274 BRISTOL NW                                                                               GRAND RAPIDS     MI    49544‐9785
ENGMAN JT TEN
FRANCES E GAVIN                                  298 USTORIT DRIVE                                                                             SENECA           SC    29672‐7582
FRANCES E GOTTNER                                1608 2ND ST NE                                                                                AUBURN           WA    98002‐5134
FRANCES E HIMES                                  3596 WATT RD                                                                                  COLUMBUS         OH    43230‐1157
FRANCES E KALUSHA                                2039 MOUNT CALVARY RD                                                                         HAMER            SC    29547‐7094
FRANCES E KAMPANS                                93 SPRING LAKE DR                                                                             STAFFORD         VA    22554‐6558
FRANCES E KAUERZ                                 PO BOX 2587                                                                                   LITTLETON        CO    80161‐2587
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FRANCES E KECHIS                                  ATTN FRANCES E DROUIN                  37023 EAST ARAGONA DR                                    CLINTON TOWNSHIP MI   48036‐2006

FRANCES E LATOZA & ALBERT J LATOZA JT TEN     5920 WARBLER DR                                                                                     CLARKSTON       MI    48346‐2974
FRANCES E MADDEN CUST JAMES J MADDEN 3RD UGMA 15 IROQUOIS TRL                                                                                     NORTH CREEK     NY    12853‐1723
NY
FRANCES E MURPHY                              PO BOX 614                                                                                          HURLOCK         MD    21643‐0614
FRANCES E NELSON                              10208 FORD DR                                                                                       SAINT HELEN     MI    48656‐8202
FRANCES E PERROS                              2500 CAROL PL                                                                                       FALLS CHURCH    VA    22046‐1914
FRANCES E PLOUCHA & GERALD E PLOUCHA JT TEN   4600 ALLEN RD                              APT 509                                                  ALLEN PARK      MI    48101‐2771

FRANCES E POWELL                                  2204 EL CENTRO FAMILIAR BLVD SW        #H                                                       ALBUQUERQUE      NM   87105‐4578
FRANCES E RHODES & JAMES D RHODES JT TEN          PO BOX 8354                                                                                     KETCHIKAN        AK   99901‐3354
FRANCES E RODGERS                                 4000 GULF TERRACE DR                   UNIT 180                                                 DESTIN           FL   32541‐2972
FRANCES E SALIBA TR VICTOR J SALIBA TRUST UA      17900 GULF BLVD                        APT 10B                                                  REDINGTON SHORES FL   33708‐1103
12/05/74
FRANCES E SALON & JAMES ROBERT FRENCH JT TEN      255 E BOLIVAR 180                                                                               SALINAS         CA    93906‐1743

FRANCES E SCHREIBER                               1967 HWY 54 W STE 313                                                                           FAYETTEVILLE    GA    30214‐4747
FRANCES E SCHWABAUER                              5270 VAN SLYKE ROAD                                                                             FLINT           MI    48507‐3956
FRANCES E TENNERY                                 13422 QUERY MILL RD                                                                             N POTOMAC       MD    20878‐3962
FRANCES E TOLLAND & FREDERICK TOLLAND JT TEN      136 MANNING ST                                                                                  NEEDHAM         MA    02494‐1541

FRANCES E WOODS                                   14070 6 1/2 MILE RD                                                                             BATTLE CREEK    MI    49014‐8567
FRANCES E ZOLLINGER TR FRANCES E ZOLINGER         3738 N OLNEY                                                                                    INDIANAPOLIS    IN    46218‐1345
REVOCABLE TRUST UA 04/03/05
FRANCES ELIZABETH METZ                            219 HUMMEL AVE                                                                                  LEMOYNE         PA    17043‐1949
FRANCES ELLEN CLARK FIELDER                       2803 COTTONWOOD DR                                                                              KATY            TX    77493‐1150
FRANCES ELLEN SCHLAUDT                            10034 SUGAR HILL DR                                                                             HOUSTON         TX    77042‐1540
FRANCES EMOGENE TRUXAL                            215 E HILL CREST DR                                                                             CARLISLE        PA    17013‐1130
FRANCES F BRIGUGLIO                               4935 CENTENNIAL                                                                                 SAGINAW         MI    48603‐5621
FRANCES F JONES                                   1990 NEW BRUCE ROAD                                                                             GREER           SC    29651‐5163
FRANCES F MAYFIELD TR UA 10/19/2007 FRANCES F     1000 PLAINFIELD AVE                                                                             ORANGE PARK     FL    32073
MAYFIELD LIVING TRUST
FRANCES F PAVEY                                   8650 SHAWNEE RUN ROAD                                                                           CINCINNATI      OH    45243‐2812
FRANCES F ROSSMAN                                 18635 N 41ST PLACE                                                                              PHOENIX         AZ    85050‐3759
FRANCES F TERRY                                   11505 FRANKFORT RD                                                                              WADDY           KY    40076‐6034
FRANCES F TIPPS                                   904 WEST 14TH STREET                                                                            PORTALES        NM    88130‐6740
FRANCES FARINELLA                                 9 DUDLEY CRT                                                                                    WAYNE           NJ    07470
FRANCES FAYE MILLER & DENNIE MILLER JR JT TEN     14898 N GALLATIN BLVD                                                                           BROOKPARK       OH    44142‐2425

FRANCES FLEISHER TR FRANCES FLEISHER REV TRUST UA 4223 2ND ST NE                                                                                  MINNEAPOLIS     MN    55421‐2734
07/21/99
FRANCES FLORENCE REEL                             PO BOX 16                                                                                       YOUNG AMERICA   IN    46998‐0016
FRANCES FORSTER                                   9942 KELTON DRIVE                                                                               SAN ANTONIO     TX    78250‐3192
FRANCES FREDERICKS                                PO BOX 605                                                                                      LEWES           DE    19958‐0605
FRANCES FREED                                     99 10 60TH AVE                                                                                  REGO PARK       NY    11368‐4439
FRANCES FRIEDMAN                                  7 HENAGE LANE                                                                                   HANOVER         NH    03755‐1619
FRANCES G CALIRI CHUBATY                          438 NORTH GREECE ROAD                                                                           HILTON          NY    14468‐8974
FRANCES G CHEESEMAN                               668 S STATE ROAD 67                                                                             MARTINSVILLE    IN    46151‐6238
FRANCES G DUDAS CUST RICHARD J DUDAS UGMA MI      21924 LEYTE ST                                                                                  FARMINGTON      MI    48336

FRANCES G HARLEY                                  540 W FIVE NOTCH RD                                                                             NORTH AUGUSTA   SC    29860‐9363
FRANCES G HART                                    1310 HIGHFIELD CT                                                                               OKLAHOMA CITY   OK    73159‐7721
FRANCES G HUGULEY                                 10 BROADMOOR DR                                                                                 GREENVILLE      SC    29615‐1406
FRANCES G MERINSKY                                9423 LENNON RD                                                                                  SWARTZ CREEK    MI    48473‐9783
FRANCES G MILLS & JAMES E MILLS JT TEN            20357 SUN VALLEY DR                                                                             LAGUNA BEACH    CA    92651‐1169
FRANCES G MONACO                                  522 WILLIAM ST                                                                                  MAYWOOD         NJ    07607
FRANCES G MORATTI & ROBERT A TYLER JT TEN         C/O ROBERT A TYLER                     2000 TOWN CENTER        SUITE 900                        SOUTHFIELD      MI    48075‐1142
FRANCES G MORRISSEY                               5 BEAR MOUNTAIN ROAD                                                                            NEW FAIRFIELD   CT    06812‐5127
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FRANCES G MORRISSEY TR ART 6 U‐W THOMAS D      5 BEAR MOUNTAIN ROAD                                                                               NEW FAIRFIELD      CT    06812‐5127
ABRAHAM
FRANCES G PAPAC TOD ELIZABETH MICHELLE W       3125 PEBBLE BAY DR                                                                                 LEAGUE CITY        TX    77573
SWEENEY
FRANCES G WILCOX                               106 CAROL AVENUE                                                                                   BOONVILLE          NY    13309‐1202
FRANCES G WILLIAMS                             1106 SCHLEY AVE                                                                                    CORDELE            GA    31015‐1968
FRANCES GARY SMITH                             554 11TH ST                                                                                        SANTA MONICA       CA    90402‐2902
FRANCES GARZA                                  5036 LAUR RD                                                                                       NORTH BRANCH       MI    48461‐9782
FRANCES GDOWSKI                                3310 VAN HORN RD                        APT 139                                                    TRENTON            MI    48183‐4014
FRANCES GEORGE                                 2941 OLDEN OAK LN                       APT 203                                                    AUBURN HILLS       MI    48326‐2174
FRANCES GLORIA MCTOPY MASON                    4112 JEFFERSON HWY                      APT 125                                                    JEFFERSON          LA    70121
FRANCES GOON TR FRANCES GOON TRUST UA 01/02/96 44 EASTERN DR                                                                                      WATSONVILLE        CA    95076‐3828

FRANCES GOULD CUST DOROTHY GOULD UGMA MA           RR2 BOX 236F                        11 DAGGETT AVE                                             VINEYARD HAVEN     MA    02568‐5319

FRANCES GREYSON                               23154 LIBERTY ST                                                                                    ST CLAIR SHORES    MI    48080‐1503
FRANCES GRIZ                                  5690 BLISS DR                                                                                       OXFORD             MI    48371‐2143
FRANCES GROESCHKE                             APT 11‐C                                 449 EAST 14TH ST                                           NEW YORK           NY    10009‐2736
FRANCES H BERGER                              15A HILLSBOROUGH DR                                                                                 MONROE TWP         NJ    08831
FRANCES H CASEY & JILL F MACMILLAN JT TEN     100 KNOLLWOOD RD                                                                                    SQUANTUM           MA    02171‐1413
FRANCES H FLETCHER                            28016 SOMERSET                                                                                      INKSTER            MI    48141‐1167
FRANCES H GARGAS                              13035 S BALTIMORE AVE                                                                               CHICAGO            IL    60633‐1316
FRANCES H GREEN                               101 RIDGE RD                                                                                        TORRINGTON         WY    82240‐2208
FRANCES H HALL                                113 COBB RD                                                                                         PANAMA CITY        FL    32413‐2001
FRANCES H HARRIS                              4318 LAWNWOOD LANE                                                                                  BURTON             MI    48529‐1931
FRANCES H HEDLUND                             41191 CARDINAL FLOWER DR                                                                            MURRIETA           CA    92562‐2017
FRANCES H MANSFIELD                           3004 HOLLY BROOK DR                                                                                 WILLIAMSBURG       VA    23185‐8718
FRANCES H POLLARD                             43 DESHLER LANE                                                                                     FT THOMAS          KY    41075‐1751
FRANCES H ROJAHN                              1925 MT ZION ROAD                                                                                   YORK               PA    17402‐9095
FRANCES H SCHAEFER                            910 HIGHLAND AVE                                                                                    METAIRIE           LA    70001‐5621
FRANCES H TAFEL                               4642 8 MILE RD                                                                                      AUBURN             MI    48611‐9750
FRANCES H TOWNSEND                            949 E PLAINS PT HUDSON                                                                              ZACHARY            LA    70791
FRANCES H VANDEMARK                           621 CEDAR ST                                                                                        DEFIANCE           OH    43512‐2955
FRANCES H WADDELL TR UA 08/09/2004 FRANCES H  35 W 275 CRESCENT DR                                                                                DUNDEE             IL    60118
WADDELL TRUST
FRANCES H ZAWALICH                            C/O F Z MOREIRA                          206 HARRISON GARDENS                                       HARRISON           NJ    07029‐1635
FRANCES HALVORSEN CUST SEVERIN HALVORSEN UTMA 2373 NETHERSTONE DR                                                                                 MARIETTA           GA    30066‐1498
GA
FRANCES HAMMOND                               11783 SHENANDOAH DR                      APT 157                                                    SOUTH LYON         MI    48178‐9129
FRANCES HANDLEY                               PO BOX 120                                                                                          WATERBORO          ME    04087‐0120
FRANCES HARRIS                                641 N COLES AVE                                                                                     MAPLE SHADE        NJ    08052‐2206
FRANCES HAYWARD                               288 GARFIELD ST                                                                                     BERKELEY HEIGHTS   NJ    07922‐1126

FRANCES HELEN MALONE CUST ERIC BLOGG UGMA MI       4318 LAWNWOOD LANE                                                                             BURTON             MI    48529

FRANCES HELEN RUSSO                             15701 E 9 MILE RD                      APT 412                                                    EASTPOINTE         MI    48021‐2279
FRANCES HELEN WILSON                            #1116                                  WASHINGTON PLZ         1420 CENTRE AVE                     PITTSBURGH         PA    15219‐3537
FRANCES HERD & DIANA K KEEFE JT TEN             3213 KIPLING                                                                                      BERKLEY            MI    48072‐1639
FRANCES HICKEY                                  10 JONATHAN DRIVE                                                                                 PHOENIXVILLE       PA    19460‐2073
FRANCES HOFFMANN                                184 MURRAY AVE BOX 58                                                                             GOSHEN             NY    10924‐1113
FRANCES HOLLAND                                 16560 TIMBERVIEW CT                                                                               CLINTON TWSP       MI    48036‐1649
FRANCES HUTTON                                  3401 CABRILLO CT                                                                                  TRACY              CA    95376‐2045
FRANCES I ANDRYKOVICH & JOHN ANDRYKOVICH JT TEN 16300 SILVER PKWY                      APT 125                                                    FENTON             MI    48430‐4427

FRANCES I ELLIS TR UA 03/09/2000 ELLIS FAMILY TRUST 609 S SEMINARY                                                                                GEORGETOWN         IL    61846

FRANCES I FLAGG & JAMES F FLAGG JT TEN             933 CENTRAL ST                                                                                 FRAMINGHAM         MA    01701‐4813
FRANCES I IZAK                                     44‐012 KAIMALU WAY                                                                             KANEOHE            HI    96744‐2550
FRANCES I MILLER                                   645 BALTIMORE BLVD                                                                             FLINT              MI    48505
                                             09-50026-mg                   Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                                Address2             Address3          Address4          City              State Zip

FRANCES I MORTON                                  84 POPLAR STR                                                                                    RIDGEFIELD PARK   NJ    07660‐1557
FRANCES I ROBERTS                                 200 KEDRON PKWY APT 181                                                                          SPRING HILL       TN    37174‐2481
FRANCES I SCHULTZ                                 10421 W COGGINS DR                                                                               SUN CITY          AZ    85351‐3409
FRANCES I SMITH & SIENA A FITTING JT TEN          4346 IDLEWILD LN                                                                                 CARMEL            IN    46033‐4715
FRANCES I TRIMNELL                                CO JOHN TRIMNELL                        RT 1 BOX 235                                             GRAY              GA    31032‐9709
FRANCES INGEMANN                                  615 TENNESSEE ST                                                                                 LAWRENCE          KS    66044‐2367
FRANCES J ASHBACHER                               6550 KINGSBRIDGE DR                                                                              SYLVANIA          OH    43560‐3434
FRANCES J BARON                                   74 MALDINER ST                                                                                   TONAWANDA         NY    14150‐4024
FRANCES J COOPER                                  614 LOVEVILLE RD                        COFFEE RUN B‐3‐C                                         HOCKESSIN         DE    19707‐1622
FRANCES J DI LORENZO                              8519 PARLIAMENT DR                                                                               SPRINGFIELD       VA    22151‐1510
FRANCES J FALK                                    108 WAVERLY RD                                                                                   WYNCOTE           PA    19095‐1322
FRANCES J FARNSWORTH                              6783 PALMER POND RD                                                                              W ALMOND          NY    14804‐9735
FRANCES J FINNAN                                  205 MARTIN CROSSING WAY NE              CALGARY AB                             T3J 3V4 CANADA
FRANCES J FITZGERALD                              3718 BROOKSIDE ROAD                                                                              RICHMOND          VA    23225‐4730
FRANCES J FRANCIS                                 602 DEVON RD                                                                                     RICHMOND          VA    23229‐6761
FRANCES J GARTEN                                  3699 WESTWIND DR                                                                                 DAYTON            OH    45440‐3529
FRANCES J GATES                                   2000 RAMAR RD 172                                                                                BULLHEAD CITY     AZ    86442‐9306
FRANCES J GUARINO                                 APT 2‐K                                 70‐31 108TH STREET                                       FOREST HILLS      NY    11375‐4418
FRANCES J HARRISON                                813 HOUSTON AVE                                                                                  GRANTS            NM    87020‐3016
FRANCES J HAVENS                                  4515 NEPTUNE DR                                                                                  ALEXANDRIA        VA    22309‐3129
FRANCES J IRWIN                                   2220 JOSSMAN RD                                                                                  HOLLY             MI    48442‐8836
FRANCES J JANUCHAWSKI                             11697 HIGHWAY 17                                                                                 SUCCESS           MO    65570‐9728
FRANCES J LETTOW TR FRANCES J LETTOW TRUST UA     7697 HIGH PINE RD                                                                                ORLANDO           FL    32819‐5166
07/12/91
FRANCES J LOSIE & RAYMOND J CHRISNER JT TEN       24513 PINE GROVE                                                                                 FARMINGTON HILLS MI     48335‐2310

FRANCES J MARTIN                                  2400 S OCEAN DR                         APT 3214                                                 FORT PIERCE       FL    34949‐7933
FRANCES J MCGEE                                   4799 CEMETERY RD                                                                                 ACWORTH           GA    30101‐4808
FRANCES J MONROE                                  131 MALLARD RD                                                                                   PERRYSBURG        OH    43551
FRANCES J NAZER                                   69 CLEMENT HILL RD                                                                               DEERING           NH    03244‐6100
FRANCES J PETERS                                  3101 STONEWOOD LN                                                                                HUDSONVILLE       MI    49426‐7624
FRANCES J PURNELL                                 4008 GILLON                                                                                      DALLAS            TX    75205‐3119
FRANCES J RENSHAW                                 2841 BRIDGESTONE CIR                                                                             KOKOMO            IN    46902‐7007
FRANCES J ROBISON                                 3877 HEMMINGWAY                                                                                  OKEMOS            MI    48864‐3760
FRANCES J SIZEMORE                                8451 LAKEVIEW DR                                                                                 HALE              MI    48739‐8926
FRANCES J SMITH                                   17325 MUIRLAND                                                                                   DETROIT           MI    48221‐2708
FRANCES J SNOWE TR SNOWE LIVING TRUST UA          7511 W COUNTY LINE RD S                                                                          ROANOKE           IN    46783‐9319
10/13/94
FRANCES J SWANN                                   E14395 BALTIC AVE                                                                                MERRIMAC          WI    53561‐9552
FRANCES J TOMSIC & DIANE TOMSIC MARKOSKY JT TEN   512 LEWIS RUN RD APT 234                                                                         PITTSBURGH        PA    15122‐3063

FRANCES J TOMSIC & JANICE K NOSKY JT TEN          512 LEWIS RUN RD APT 234                                                                         PITTSBURGH        PA    15122‐3063
FRANCES J TOMSIC & MARGARET F JANOSIK JT TEN JTEN 512 LEWIS RUN RD APT 234                                                                         PITTSBURGH        PA    15122‐3063

FRANCES J TROOST                                  5473 GREENBORO DR SE                                                                             KENTWOOD          MI    49508‐6043
FRANCES J VENTIMIGLIA                             420 KENEE DR                                                                                     MIDDLETOWN        OH    45042‐3947
FRANCES J WESTRAY                                 7836 ALLISON AVE                                                                                 DAYTON            OH    45415‐2201
FRANCES J WILLIAMS                                2714 MCELROY DR                                                                                  CHARLOTTESVILLE   VA    22903‐4143

FRANCES JACKSON                                   6101 34TH ST W APT 26D                                                                           BRADENTON         FL    34210‐3719
FRANCES JARVIS CUST MARTIN JARVIS UTMA OH         422 TOWNSEND PL                                                                                  RIVERSIDE         OH    45431‐2135
FRANCES JEAN BAKER                                507 SPRING                                                                                       GRAND LEDGE       MI    48837‐1403
FRANCES JEAN CONDER                               1338 W CURRY ROAD                                                                                GREENWOOD         IN    46143
FRANCES JEAN DEBARTOLA                            2758 BELAIRE CIRCLE                                                                              DORAVILLE         GA    30340‐3214
FRANCES JEAN FASS                                 5465 NORTHFIELD CT                      APT 109                                                  SAGINAW           MI    48601‐7331
FRANCES JEAN MC CRACKEN                           1345 FREEDOM BLVD                                                                                COATESVILLE       PA    19320‐1581
FRANCES JEAN PLUMMER                              201 BALTIMORE ST                                                                                 DAYTON            OH    45404‐1903
FRANCES JEAN URBANEK                              1939 FAR NIENTE                                                                                  SAN ANTONIO       TX    78258‐4517
FRANCES JEAN VOGTMANN                             7639 CANDLEWOOD S E                                                                              ADA               MI    49301‐9348
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Name                                           Address1                               Address2             Address3          Address4          City               State Zip

FRANCES JEANNINE VAWTER                          5781 DANNY CV                                                                                 HORN LAKE          MS    38637‐9573
FRANCES JOHNSON                                  241 SIMMONS RD                                                                                ST IGNACE          MI    49781‐9729
FRANCES JOHNSON                                  822 W BARNES RD                                                                               FOSTORIA           MI    48435
FRANCES JONES ALLEN                              4841 LEEDS CT                                                                                 DUNWOODY           GA    30338‐5025
FRANCES JONES HAVENS                             4515 NEPTUNE DRIVE                                                                            ALEXANDRIA         VA    22309‐3129
FRANCES JUDITH GRAY                              PO BOX 96                                                                                     PETERSBURG         IN    47567‐0096
FRANCES JULIUS                                   5558 RALEIGH ST                                                                               PITTSBURGH         PA    15217‐1535
FRANCES JULLIEN LIEBERTZ                         640 WESTOVER ROAD                                                                             STAMFORD           CT    06902‐1321
FRANCES JUNE WYLIE                               2513 FREEDOM HTS                                                                              COLORADO SPGS      CO    80904
FRANCES JURSKI                                   630 MAUI DR                                                                                   WILLIAMSTOWN       NJ    08094‐3066
FRANCES K ADAMS                                  1708 ROSECRANS PLACE                                                                          BRENTWOOD          TN    37027‐1705
FRANCES K ALSTON                                 64 E 94TH ST                                                                                  NEW YORK           NY    10128‐0773
FRANCES K BALL                                   4612 S W LEWIS DR                                                                             BAY CITY           MI    48706
FRANCES K BENES                                  2851 CARAMBOLA CIRCLE S                                                                       COCONUT CREEK      FL    33066‐2557
FRANCES K BONK EX EST MARIANNA D WARREN          13 TOR RD                                                                                     WAPPINGERS FL      NY    12590
FRANCES K FRAZIER                                9019 MILTON CARLISLE RD                                                                       NEW CARLISLE       OH    45344‐9244
FRANCES K HUEY & CHARLES K HUEY JT TEN           180 PANOLA ROAD                                                                               LONOKE             AR    72086‐8424
FRANCES K HURLEY                                 5870 STEARNS RD                                                                               NORTH OLMSTED      OH    44070‐4103
FRANCES K MARTIN                                 1 AUBURN ST                                                                                   WESTFIELD          MA    01085‐1503
FRANCES K NICKLASON                              PO BOX 154                                                                                    REMER              MN    56672‐0154
FRANCES K PENTECOST                              ATTN FRANCES V KOEHLER               529 RIDGELEY LN                                          RICHMOND           VA    23229‐7235
FRANCES K PEREZ TR UA 03/22/88 FRANCES K PEREZ   2268 DEVONSHIRE RD                                                                            BLOOMFIELD HILLS   MI    48302‐0623
TRUST
FRANCES K PRESNELL                               22685 CEDAR COURT                                                                             HAZEL PARK         MI    48030
FRANCES K RASNAKE TOD SHARON A LEWIS SUBJECT TO 3741 KINGSWOOD DRIVE                                                                           KETTERING          OH    45452‐4319
STA TOD RULES
FRANCES K REED                                   1811 KENSINGTON DRIVE                                                                         MURFREESBORO       TN    37127‐5992
FRANCES K REYNOLDS                               6 PLACID LAKE LANE                                                                            WESTPORT           CT    06880‐2250
FRANCES K ROGALSKI                               701 RIDGE VALLEY RD                                                                           SELLERSVILLE       PA    18960‐3109
FRANCES K SCOTT                                  206 2ND ST                                                                                    HARLAN             KY    40831‐2329
FRANCES K TOMAZIN                                3106 ABRAMS DR                                                                                TWINSBURG          OH    44087‐3271
FRANCES KELLEY LLOYD TR FRANCES KELLEY LLOYD     1411 HEATHERFIELD WAY                                                                         TRACY              CA    95376‐5391
TRUST UA 08/12/86
FRANCES KEMP SIMMS                               4221 WEATHERWOOD ESTATES DR                                                                   JACKSONVILLE       FL    32223‐4036
FRANCES KIRKLAND                                 5345 ROYAL OAK ST                                                                             SOUTHSIDE          AL    35907‐6018
FRANCES KISELAK & JOHN P KISELAK SR JT TEN       3868 NE OHIO STREET                                                                           BARTLESVILLE       OK    74006
FRANCES KISELAK & THOMAS F KISELAK JT TEN        1971 HACKBERRY RD                                                                             VAN ALSTYNE        TX    75495‐2389
FRANCES KOLDOZIEJ & VICTORIA ANDERSON & ROBERT 4221 JOSELYN COURT                                                                              ANN ARBOR          MI    48103
KOLODZIEJ JT TEN
FRANCES KRUGER CONSERVATOR OF THE ESTATE OF      2260 WEST M 21                                                                                OWOSSO             MI    48867‐9318
SEAN TROMBLEY A MINOR
FRANCES KRUSS                                    18487 MANOR LN                                                                                LIVONIA            MI    48152‐3902
FRANCES KURAS                                    435 LORD ST                                                                                   DUNKIRK            NY    14048
FRANCES L BOVENZI TOD MARY JO A MUNGENAST        191 UTICA ST                                                                                  BROCKPORT          NY    14420‐2233
FRANCES L BOVENZI TOD ROSE ANN M BOVENZI         191 UTICA ST                                                                                  BROCKPORT          NY    14420‐2233
FRANCES L BUTTERFIELD & MICHAEL K BUTTERFIELD JT 1656 E LARK STREET                                                                            SPRINGFIELD        MO    65804‐4317
TEN
FRANCES L COMSTOCK                               261 FAIRPORT RD                                                                               E ROCHESTER     NY       14445‐1918
FRANCES L CROUT                                  1709 HILLVIEW DR                                                                              JACKSON         MS       39211‐5721
FRANCES L DEFRANGE                               1060 HILLSIDE DR                                                                              NORTH BRUNSWICK NJ       08902‐3241

FRANCES L FOX                                  266 TARA WOODS DR                                                                               RIVERDALE          GA    30274‐3184
FRANCES L FROST                                217 RAVINE RIDGE DR N                                                                           POWELL             OH    43065‐9352
FRANCES L GANT                                 9408 HARDY                                                                                      KANSAS CITY        MO    64138‐4952
FRANCES L GREENEBAUM                           34 WAYSIDE LANE                                                                                 SCARSDALE          NY    10583‐4335
FRANCES L GREENHALGH                           16962 CANYON LANE                                                                               HUNTINGTON         CA    92649‐4013
                                                                                                                                               BEACH
FRANCES L HALLAM                               127 PATTERSONAVE                                                                                STRATFORD          CT    06614‐5121
FRANCES L KLINE                                25765 ROSE ST                                                                                   ROSEVILLE          MI    48066‐3606
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Name                                             Address1                             Address2                   Address3    Address4          City              State Zip

FRANCES L LAWSON                                 9527 SWEET POTATO RIDGE RD                                                                    BROOKVILLE        OH    45309‐9610
FRANCES L LEARN                                  706 ELETSON DR                                                                                CRYSTAL LAKE      IL    60014‐7437
FRANCES L LYNCH                                  10547 PUTNEY ROAD                                                                             LOS ANGELES       CA    90064‐3368
FRANCES L MARSHALL                               1120 MILLVILLE AVE                                                                            HAMILTON          OH    45013‐3935
FRANCES L MCINTYRE                               7542 NORTHWEST 44TH COURT                                                                     CORAL SPRINGS     FL    33065‐2058
FRANCES L MILLER                                 12489 TORREY RD                                                                               FENTON            MI    48430‐9610
FRANCES L MURONE                                 1529 PAMELA CREST                                                                             REDLANDS          CA    92373‐6422
FRANCES L ORRIS                                  3521 WHIPPLE AVE NW                                                                           CANTON            OH    44718‐3036
FRANCES L PAILTHORP & PATRICIA K TANNER JT TEN   10292 E POTTER RD                                                                             DAVISON           MI    48423‐8110

FRANCES L PHILLIPS                               10810 CRIPPEN VALE CT                                                                         RESTON            VA    20194‐1419
FRANCES L PIKE                                   4918 WAH WAH SOO DRIVE                                                                        GAYLORD           MI    49735‐9539
FRANCES L PITCOCK                                3647 PINOAK ST                                                                                CLARKSTON         MI    48348‐1376
FRANCES L POPLIN                                 1836 FERRIS ROAD                                                                              COLUMBUS          OH    43224‐2247
FRANCES L PRENTISS                               C/O FRANCES L LAUBNER                6 BUTTERNUT AVE                                          WEST PEABODY      MA    01960‐4604
FRANCES L SOUTHLAND                              1361 RANDOLPH RD                     APT 3                                                    MIDDLETOWN        CT    06457‐5148
FRANCES L SPICER & DAVID L SPICER JT TEN         4775 VILLAGE DR                      #239 INDEPENTANT VILLAGE                                 GRAND LEDGE       MI    48837‐8107
FRANCES L STACEY                                 4542 GARNET R T4‐106                                                                          NEW PORT RICHEY   FL    34652‐3382

FRANCES L TERRIAN                                7511 ELIZABETH CT                                                                             SWARTZ CREEK      MI    48473‐1468
FRANCES L THAI                                   909 RACE ST                                                                                   PHILADELPHIA      PA    19107‐1805
FRANCES L WARNER TR UA 11/08/85 DEBORAH          2339 THOMPSON RD                                                                              FENTON            MI    48430‐9768
BOSWELL & CHERI KEAWN
FRANCES L WILHOITE                               1952 LYNWOOD DR                                                                               KOKOMO            IN    46901‐1833
FRANCES LABASH LOWERY                            2823 NW 43RD PL                                                                               CAPE CORAL        FL    33993‐8051
FRANCES LANE                                     7574 GARY RD                                                                                  CHESANING         MI    48616‐9453
FRANCES LEE CUTCHIN HARTUNG                      300 E COLLINS DR                     # 306                                                    CASPER            WY    82601‐2867
FRANCES LEVANGIE                                 4590 ELDYWOOD LN                                                                              BATAVIA           OH    45103‐1172
FRANCES LITZ                                     PO BOX 29869                                                                                  RICHMOND          VA    23242‐0869
FRANCES LLOYD MONTGOMERY                         189 MT JOY ROAD                                                                               GREENSBORO        PA    15338‐1601
FRANCES LOUISE LETCHER WEEKS                     3920 MORRIS DR                                                                                ANNISTON          AL    36207‐6427
FRANCES LOUISE MOORE                             39 HOLIDAY LANE                                                                               CANANDAIGUA       NY    14424‐1457
FRANCES M AREGOOD                                15 W LOWERY AVE                                                                               W CARROLLTON      OH    45449‐1749
FRANCES M BATES                                  4781 GREEN ST                                                                                 DULUTH            GA    30096‐4417
FRANCES M CALL                                   212 ELLISON RD                                                                                LA FOLLETTE       TN    37766‐3013
FRANCES M CALLOW                                 6595 WICKERT RD                                                                               HALE              MI    48739‐9562
FRANCES M CANNARIATO                             16 S 20TH ST                                                                                  KENILWORTH        NJ    07033‐1610
FRANCES M CARPENTER                              2011 BEEKMAN CT                                                                               FLINT             MI    48532‐2409
FRANCES M COX                                    4180 BOWMAN                                                                                   LIMA              OH    45806‐9742
FRANCES M DAILEY                                 309 E GAY ST                                                                                  CHARLESTON        MS    38921‐1614
FRANCES M DUNN                                   15707 HUNTER GRV                                                                              LIVONIA           MI    48154‐1722
FRANCES M FAVATA                                 28 WIND WAY CIR                                                                               ROCHESTER         NY    14624‐2465
FRANCES M FOSTER TR UA 05/06/81 FRANCES M FOSTER PO BOX 100                                                                                    BELLE RIVE        IL    62810‐0100
TRUST
FRANCES M FOX & ROBERT L FOX JT TEN              6414 EDGEHURST DR                                                                             BROOK PARK        OH    44142‐3722
FRANCES M GORDON                                 2575 PALISADE AVE APT 3H                                                                      BRONX             NY    10463
FRANCES M GRUBER                                 10442 E 126TH ST                                                                              FISHERS           IN    46038‐9417
FRANCES M HARRISON                               33 WELDRICK RD EAST APT 205          RICHMOND HILL ON                       L4C 8W4 CANADA
FRANCES M HARTLEY TR FRANCES M HARTLEY REV       1201 WALNUT ST                       STE 2900                                                 KANSAS CITY       MO    64106‐2178
TRUST UA 10/06/00
FRANCES M HENDERSON                              9184 COTTONWOOD DR                                                                            JENISON           MI    49428‐9514
FRANCES M HERRON                                 PO BOX 135                                                                                    NOVA              OH    44859‐0135
FRANCES M HODGE                                  1358 FOREST HILL RD                                                                           MARYVILLE         TN    37803‐2823
FRANCES M HURLEY                                 214 PATAPSCO AVE                                                                              BALTIMORE         MD    21222‐4212
FRANCES M HURLEY & JOHN G HURLEY JT TEN          214 PATAPSCO AVE                                                                              BALTIMORE         MD    21222‐4212
FRANCES M JONES                                  302 MCLEAN ST                                                                                 WILKES BARRE      PA    18702‐4519
FRANCES M KIMMELL‐BRUCE                          5480 INDEPENDENCE COLONY                                                                      GRAND BLANC       MI    48439‐9113
FRANCES M KING                                   146 HUMPHREY DR                                                                               OXFORD            MI    48371‐5219
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

FRANCES M KITCHEN                                2993 OAKLAND OAKS                                                                               OAKLAND          MI    48363‐2845
                                                                                                                                                 TOWNSHIP
FRANCES M KNIGHT                                 212 LEE ST                                                                                      HONEA PATH       SC    29654‐9577
FRANCES M KRAYER & JOHN D KRAYER JT TEN          5207 MOUNTAIN RD                                                                                BRIGHTON         MI    48116‐9735
FRANCES M KYZER                                  1926 TENTH ST                                                                                   PORT NECHES      TX    77651‐3234
FRANCES M LAMPARELLI                             144 SIERRA VISTA LANE                                                                           VLY COTTAGE      NY    10989‐2702
FRANCES M LANDOWSKI & MICHAEL G LANDOWSKI JT     1380 EDDY ST                                                                                    MERRITT ISLAND   FL    32952‐5795
TEN
FRANCES M LAWRENCE                               4145 ROSELAWN DR                                                                                INDIANAPOLIS     IN    46226‐4445
FRANCES M LEGGETT                                1110 NEWYORK AVE                                                                                MCCOMB           MS    39648‐3840
FRANCES M LEONARDO                               59 FLOWERDALE CIR                                                                               ROCHESTER        NY    14626‐1606
FRANCES M LESKO & BERNARD C LESKO JT TEN         12 E MADISON AVE                                                                                WEST HAZLETON    PA    18201‐2637
FRANCES M LEVEY                                  4825 WASHINGTON ST                                                                              HOLLYWOOD        FL    33023‐7651
FRANCES M LOPEZ                                  9316 EAST ROAD                                                                                  BURT             MI    48417‐9782
FRANCES M LOWE                                   1728 PRINCETON                                                                                  STOCKTON         CA    95204‐2923
FRANCES M LYONS                                  13 OAK PLACE CT WEST                                                                            HARLEYESVILLE    PA    19438‐2974
FRANCES M MACHYNSKI                              130 BROADWAY RD                                                                                 BUFFALO          NY    14224‐1729
FRANCES M MAGI                                   3511 CAMPBELL ST                                                                                SANDUSKY         OH    44870‐7239
FRANCES M MARCIN                                 APT 2‐M                                2201 SOUTH STEWART                                       LOMBARD          IL    60148‐5520
FRANCES M MATHERLY & JEFFREY A MATHERLY JT TEN   8085 ALLISONS WAY                                                                               LUMBERTON        TX    77657‐6857

FRANCES M MC CARROLL                             239 68TH ST                                                                                     BROOKLYN         NY    11220‐5208
FRANCES M MC DONALD                              1000 SOUTHERN ARTERY                   APT 406                                                  QUINCY           MA    02169‐8501
FRANCES M MILLER                                 396 EDGEWATER DR                                                                                PLANT CITY       FL    33565‐9268
FRANCES M MONTGOMERY                             742 WATERVLIET AVE                                                                              DAYTON           OH    45420‐2547
FRANCES M NAVARRA TR UA 11/18/92 FRANCES M       1214 IRONWOOD DR W                                                                              CARMEL           IN    46033
NAVARRA REV TRUST
FRANCES M NOVALANY & ANDREA KAUFMAN JT TEN       300 SE 2ND ST                          STE 740                                                  FT LAUDERDALE    FL    33301‐1950

FRANCES M NOVALANY & ANN ROKOSKI JT TEN          300 SE 2ND ST                          STE 740                                                  FT LAUDERDALE    FL    33301‐1950
FRANCES M NOVALANY & BARBARA GRIFFITH JT TEN     100 WASHINGTON AVE S STE# 700                                                                   MINNEAPOLIS      MN    55401‐2136

FRANCES M O'HARA                                 1111 16TH ST                                                                                    BELLEPLAINE      IA    52208‐1240
FRANCES M OLESKY & RICHARD S OLESKY JT TEN       BOX 92                                                                                          HILLER           PA    15444‐0092
FRANCES M PUCKETT & HAROLD PUCKETT JR & ROBERT 172 PRINCESS HILL AVE                                                                             BARRINGTON       RI    02806
T PUCKETT JT TEN
FRANCES M REED                                   2785 AVERY RD                                                                                   SAINT JOHNS      MI    48879‐9047
FRANCES M RENNELS                                14 MARTIN DR                                                                                    DANVILLE         IN    46122‐1501
FRANCES M RICHARDSON                             5347 BRADMORE LN                                                                                WARREN           MI    48092‐6323
FRANCES M RODRIGUEZ                              1333 S DYE RD                                                                                   FLINT            MI    48532‐3342
FRANCES M RUDDELL                                2806 BLUE RIDGE                                                                                 KANSAS CITY      MO    64129‐1425
FRANCES M RUSSELL                                4351 PORTER HOLLOW DR NE               APT B                                                    ROCKFORD         MI    49341‐7305
FRANCES M RYAN                                   155 BUTLER AVE                                                                                  STATEN ISLAND    NY    10307‐1206
FRANCES M SHLOSS TR UA 11/02/88 FRANCES M SHLOSS 124‐A SOUTH MAPLE DR                                                                            BEVERLY HILLS    CA    90212‐3340

FRANCES M SLEETH                                 5501 LINCOLN AVE                       #209                                                     MORTON GROVE     IL    60053‐3404
FRANCES M SMITH                                  1114 BLAINE AVE                                                                                 COOKEVILLE       TN    38501‐2085
FRANCES M SMITH                                  122 CAROL DR                                                                                    ROCHESTER        NY    14617‐4744
FRANCES M SOPRYCH                                11265 S ROBERTS RD APT D                                                                        PALOS HILLS      IL    60465‐2670
FRANCES M STANISCI & MICHAEL STANISCI JT TEN     216A POMPTON AVE                                                                                CEDAR GROVE      NJ    07009‐2020
FRANCES M STUCHELL                               23507 WOODSHIRE COURT                                                                           NOVI             MI    48375‐3781
FRANCES M STUDNICKI                              409 LAWN ST                                                                                     PITTSBURGH       PA    15213
FRANCES M TAYLOR                                 ATTN FRANCES M TAYLOR PRINCE           131 ST AUGUSTINE                                         MADISON          MS    39110‐9639
FRANCES M VENNARD                                ATTN FRANCES M CHARLIER                9535 IRENE DR                                            MIAMI            FL    33157‐8733
FRANCES M WALDYNSKI                              852 CHASEWOOD DR                                                                                SOUTH ELGIN      IL    60177‐3224
FRANCES M WRIGHT                                 5801 HURD ROAD                                                                                  ORTONVILLE       MI    48462‐8714
FRANCES M WRIGHT                                 533 PARK AVE                                                                                    QUARRYVILLE      PA    17566‐9382
FRANCES MABEN CUST JACBO LEE NEISLER UTMA CA     1226 ASTORIA DRIVE                                                                              FAIRFIELD        CA    94533
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Name                                             Address1                               Address2             Address3          Address4          City            State Zip

FRANCES MAGRETA                                15450 NORTHVILLE FOREST DR               APT 85                                                   PLYMOUTH        MI    48170‐4932
FRANCES MANCINELLI CUST CHRISTOPHER MANCINELLI 526 RIVERVIEW RD                                                                                  POMPTON LAKES   NJ    07442‐1928
UTMA NJ
FRANCES MANDUCK TR JEFFREY MANDUCK UA 3/29/65 2 JASON CT                                                                                         SCOTCH PLAINS   NJ    07076‐2857

FRANCES MARCHESI                                 3273 POPLAR ST                                                                                  YORK TOWN HIGHTS NY   10598‐2621

FRANCES MARIE KEMPF                              4791 ATTICA RD                                                                                  ATTICA          MI    48412‐9701
FRANCES MARIE MARTINSON                          4519 E 82ND ST APT 40                                                                           INDIANAPOLIS    IN    46250‐4215
FRANCES MARIE MIDDLETON TR UA 06/24/1992 W       15161 FORD RD                          APT 506                                                  DEARBORN        MI    48126
MITCHELL MIDDLETON TRUST
FRANCES MARIE NAVARRA                            1214 IRONWOOD DR W                                                                              CARMEL          IN    46033‐9416
FRANCES MARIE REESON                             3267 HESS RD                                                                                    LOCKPORT        NY    14094‐9470
FRANCES MARIE WATTS GINN                         1404 CHURCH ST                                                                                  COLUMBIA        MS    39429‐3206
FRANCES MARION KERSTING                          510 PRAGUE ST                                                                                   COVINGTON       KY    41011‐2919
FRANCES MARION STODOLINK                         585 B PEQUOT LN                                                                                 STRATFORD       CT    06614‐8309
FRANCES MATHEWS                                  4016 BRANTLEY DR                                                                                AUSTELL         GA    30106‐1559
FRANCES MAURIZIO                                 5 BACON ST                                                                                      MERIDEN         CT    06451‐2919
FRANCES MC N WILLIAMS                            2677 REDWOOD RD                                                                                 NAPA            CA    94558‐4358
FRANCES MCKINSTERY & CAROL LYNNE BOWERS JT TEN   6034 ROBIN HILL RD                                                                              NASHVILLE       TN    37205‐3234

FRANCES MEYERS                                   46 W JIMMIE LEEDS RD                                                                            GALLOWAY        NJ    08205‐9401
FRANCES MILLER                                   14536 TRISKETT RD                                                                               CLEVELAND       OH    44111‐2268
FRANCES MOOSBRUGGER                              6810 STILLMORE DR                                                                               ENGLEWOOD       OH    45322
FRANCES MORRISON BAIRD                           4804 BAKER ST                                                                                   NORMAN          OK    73072‐3858
FRANCES MORTON STONE                             1560 STABLEVIEW DR                                                                              GASTONIA        NC    28056‐1657
FRANCES MROZEK MC KISSICK                        2866 BOB WHITE DRIVE                                                                            DULUTH          GA    30096‐3912
FRANCES MURRAY                                   PO BOX 395                                                                                      COLUMBIA STA    OH    44028‐0395
FRANCES MUSTACIVOLO & VINCENT MUSTACIVOLO JT     339 BRYSON AVE                                                                                  STATEN ISLAND   NY    10314‐1924
TEN
FRANCES N BAIRE                                  2249 TENNESSEE DRIVE                                                                            XENIA           OH    45385‐4729
FRANCES N BARRINGTON                             75 WILCOX AVENUE                                                                                MERIDEN         CT    06451‐2038
FRANCES N CALDERWOOD                             409 N PINE RD                                                                                   STERLING        KS    67579‐1718
FRANCES N MORGAN                                 41 WEST 14TH ST                                                                                 DEER PARK       NY    11729‐4019
FRANCES NANOSKY                                  4100 CRYSTAL LAKE DR                                                                            POMPANO BEACH   FL    33064‐1290
FRANCES NOE DAVIES TR FRANCES NOE DAVIES TRUST   2411 WOOD POINTE DR                                                                             HOLIDAY         FL    34691‐7801
UA 10/03/91
FRANCES NOLA MARKLE                              1928 BAYOU                                                                                      BLOOMFIELD      MI    48302‐1207
FRANCES NORA KING                                6538 TUCKER AVENUE                                                                              MC LEAN         VA    22101
FRANCES NORA STRYKER                             44 FARNWORTH CLOSE                                                                              FREEHOLD        NJ    07728‐3859
FRANCES NOVICKI                                  9 BERLANT AVE                                                                                   LINDEN          NJ    07036‐3671
FRANCES O OLSON & DAVID JOHN WILLEM & BRADLEY    21968 SANDY HILL CT                                                                             SOUTH BEND      IN    46628‐9527
ALLEN WILLEM JT TEN
FRANCES O PEREZ                                  10238 SABLE MEADOW LANE                                                                         HOUSTON         TX    77064‐4278
FRANCES OLSZEWSKI & CHRISTINE M BIDWELL JT TEN   1381 CHURCH AVE                                                                                 BROCKWAY        PA    15824‐2103

FRANCES OWEN CAMPBELL                           34 BEECHWOOD RD                                                                                  FORT MITCHELL   KY    41017‐2716
FRANCES P BROCKETT                              235 N GRANBY ROAD ROUTE 3                                                                        GRANBY          CT    06035‐1305
FRANCES P CONKLIN                               54 HYBRID DR                                                                                     CRANSTON        RI    02920‐5807
FRANCES P DUCEY CUST F BRIAN DUCEY UTMA CA      2000 VAN NESS AVE STE 506                                                                        SAN FRANCISCO   CA    94109‐3017
FRANCES P ENYEART                               PO BOX 2                                                                                         LAUPAHOEHOE     HI    96764‐0002
FRANCES P FROHLICH TR FRANCES P FROHLICH LIVING 237 OAK LAWN DR                                                                                  ROCHESTER       NY    14617‐1505
TRUST UA 01/17/96
FRANCES P HOGAN                                 510 STAFFORD AVENUE APT 4‐A                                                                      BRISTOL         CT    06010‐4644
FRANCES P MANN                                  337 SHORE DR                                                                                     FT MYERS        FL    33905‐2634
FRANCES P MARCHINCHIN & JOSEPH E MARCHINCHIN JT 444 EAST 260TH ST                                                                                EUCLID          OH    44132‐1460
TEN
FRANCES P OUTLAW                                1604 DUBOSE DR                                                                                   KINSTON         NC    28504‐2655
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FRANCES P PERRY CUST ALISSA CLARK PERRY UGMA CT    5 NOONATCH ROAD                                                                                           WESTERLY        RI    02891‐5511

FRANCES P PERRY CUST THEODORE D PERRY UGMA CT      17 CHESTNUT ST                                                                                            DEDHAM          MA    02026‐4105

FRANCES P PRIM                                     7300 MCEWEN RD                                                                                            DAYTON           OH   45459‐3903
FRANCES P YEARGAN                                  3508 VESTA DRIVE                                                                                          RALEIGH          NC   27603‐3838
FRANCES PAZUR                                      37631 DORCHESTER DRIVE                                                                                    FARMINGTON HILLS MI   48331‐1864

FRANCES PEEBLES & RODDIE PEEBLES JT TEN            831 REDWOOD DR                                                                                            NASHVILLE       TN    37220‐1822
FRANCES PETRAT                                     14995 PLYMOUTH CROSSING                                                                                   PLYMOUTH        MI    48170‐2588
FRANCES PHILBROOK                                  195 CABRILLO BLVD                     HOLIDAY CITY OF BERKELEY‐WEST                                       TOMS RIVER      NJ    08757‐5913
FRANCES PICKLE KEMP                                607 SPENCER DRIVE                                                                                         MURFREESBORO    TN    37129‐2021
FRANCES POPOLIZIO                                  8 WILLOUGHBY PATH                                                                                         E NORTHPORT     NY    11731‐6324
FRANCES PROTZEL & STACY PROTZEL JT TEN             1228 ARROWHEAD DRIVE                                                                                      ST LOUIS        MO    63132‐2402
FRANCES Q SIMON                                    3418 KINGSWOOD FOREST LN                                                                                  BEAVERCREEK     OH    45440‐3650
FRANCES R BLACKSON                                 103 WEST KETSTONE AVE                                                                                     WILMINGTON      DE    19804‐2029
FRANCES R BUYCK                                    20 PLANTATION DR                                                                                          MANNING         SC    29102‐9040
FRANCES R DALY                                     62 CHERVIL COMMONS                                                                                        LAKE JACKSON    TX    77566‐5663
FRANCES R DE MEO                                   410 WINCHESTER AVE                                                                                        STATEN ISLAND   NY    10312‐5109
FRANCES R EIKLEBERRY                               39381 SKINNER‐GRIMES RD                                                                                   JERUSALEM       OH    43747‐9628
FRANCES R FREEBORN                                 91 HAW CREEK CIR                                                                                          ASHEVILLE       NC    28805‐1104
FRANCES R GENTILE                                  1318 HURD SE                                                                                              GRAND RAPIDS    MI    49506‐1615
FRANCES R INBODY                                   1161 MAPA RDG                                                                                             DAYTON          OH    45458‐6018
FRANCES R KRIEG                                    207 OLD YORK ROAD                                                                                         FLEMINGTON      NJ    08822‐1985
FRANCES R MROZEK                                   74 WILMA DR                                                                                               LANCASTER       NY    14086‐2720
FRANCES R RINALDI & ALBERT B RINALDI JT TEN        300 LAKE AVENUE N E                   APT 332                                                             LARGO           FL    33771
FRANCES R ROBSON                                   33849 JAMES COURT                                                                                         FARMINGTON      MI    48335‐4147
FRANCES R ROCHON                                   2157 ARCH ROCK DR                                                                                         SEVIERVILLE     TN    37876‐6219
FRANCES R SCHNEIDER TR UNDER DECLARATION OF        808 EAST WASHINGTON                                                                                       MARENGO         IL    60152‐3477
TRUST 12/14/89
FRANCES R TAYLOR                                   3720 DAUPHIN ST                       MCAULEY PLACE # 231                                                 MOBILE          AL    36608‐1725
FRANCES R TUCKER & MARK A ROSENTHAL JT TEN         100 E BELLEVUE PL                     APT 24C                                                             CHICAGO         IL    60611‐5190
FRANCES R VAN KIRK                                 1 ORCHARD PARK APT 2                                                                                      PHELPS          NY    14532
FRANCES R WARD                                     125 FISH SPRINGS RD                                                                                       HAMPTON         TN    37658‐3904
FRANCES R WINKLER                                  24 RAY PL 1‐4                                                                                             SCARSDALE       NY    10583‐5462
FRANCES RAPPAZZO & FORTUNATO RAPPAZZO JT TEN       BOX 314                                                                                                   BREWERTON       NY    13029‐0314

FRANCES REED BEAMAN & JOHN ANNA BEAMAN‐SMITH 9315 GODSTONE LANE                                                                                              SPRING          TX    77379
JT TEN
FRANCES REISMAN CUST MARK REISMAN U/THE PA    175 RIVERSIDE DR #8K                                                                                           NEW YORK        NY    10024‐1616
UNIFORM GIFTS TO MINORS ACT
FRANCES RING TR FRANCES RING TR OF 79 8/30/79 9805 YOAKUM DR                                                                                                 BEVERLY HILLS   CA    90210‐1437

FRANCES RITA CIANCIOLO                             21140 SEABURY AVE                                                                                         CLEVELAND       OH    44126‐2753
FRANCES ROCK & MARCIA BRUCE JT TEN                 60 LINDBERGH RD                                                                                           RINGOES         NJ    08551‐1508
FRANCES ROCKICIOLI ADM EST RALPH ROCKICIOLI        29‐31 166TH ST                                                                                            FLUSHING        NY    11358

FRANCES ROTHENBERG                                 18 ORCHARD RD                                                                                             WINDSOR         CT    06095‐3403
FRANCES RUDGE TAYLOR                               20 N FERNWAY                                                                                              MEMPHIS         TN    38117‐2714
FRANCES RUTH BAUERLE                               125 TIPPERARY RD                                                                                          ATHENS          GA    30606‐3832
FRANCES S ATKINSON                                 822 MILL ST                                                                                               CAMDEN          SC    29020‐4417
FRANCES S BARNES                                   23 COURT ST                                                                                               BELMONT         NY    14813‐1001
FRANCES S BEERS                                    38042 YACHT BASIN RD                                                                                      OCEANVIEW       DE    19970
FRANCES S BENDALL                                  131 WESTMINISTER DR                                                                                       FISHERVILLE     VA    22939‐2107
FRANCES S COX TOD DONALD G COX JR SUBJECT TO STA   3500 W CHESTER PIKE                   UNIT 102 B                      NEW TOWN SQUARE                     NEWTOWN SQ      PA    19073
TOD RULES
FRANCES S COX TOD LYNN E COX SUBJECT TO STA TOD    3500 W CHESTER PIKE UNIT 102B                                                                             NEWTOWN SQ      PA    19073
RULES
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FRANCES S COX TOD RANDALL C COX SUBJECT TO STA      3500 W CHESTER PIKE UNIT 102B                                                                   NEWTOWN SQ       PA    19073
TOD RULES
FRANCES S CRYER                                     35540 ARMY NAVY DRIVE                                                                           MECHANICSVILLE   MD    20659‐2928
FRANCES S DILLARD                                   3259 VINEVILLE AVE                                                                              MACON            GA    31204‐2380
FRANCES S HAY & JOHN W HAY TR UA 04/25/85           1214 HILLTOP DR                                                                                 ROCK SPRINGS     WY    82901‐5819
FRANCES S HAY TRUST
FRANCES S HAYWARD                                   5206 GOBBLER CT                                                                                 RICHMOND         VA    23231‐6661
FRANCES S HENDERSON                                 1484 NILES RD S E                                                                               WARREN           OH    44484‐5107
FRANCES S HICKS & NELSON HICKS JR JT TEN            2100 QUAIL DRIVE SE                                                                             BESSEMER         AL    35022‐5113
FRANCES S JANOS                                     16 REVERE ROAD                                                                                  FISHKILL         NY    12524‐1424
FRANCES S JARRETT SR                                5956 KEENSBURG DR                                                                               INDIANAPOLIS     IN    46228‐1398
FRANCES S LYTLE TR UA LYTLE FAMILY TRUST 10/13/92   11 CROSS ST                                                                                     LITTLETON        NH    03561‐4900

FRANCES S MATHEWS                                   2013 LONG FALLS DAM RD                                                                          HIGHLAND PLT     ME    04961‐6001
FRANCES S MICOCCI                                   66 AVENROWE CT                                                                                  FAIRLESS HLS     PA    19030‐4409
FRANCES S OWENS                                     PO BOX 71                                                                                       HILLSBORO        AL    35643‐0071
FRANCES S PARKER                                    5124 COUNTY ROAD 434                                                                            TRINITY          AL    35673‐4410
FRANCES S POPOVICH                                  2536 EAST LAKE RD                                                                               SKANEATELES      NY    13152‐9347
FRANCES S RAFFETTO & THOMAS S RAFFETTO JT TEN       509 VISTA FLORA                                                                                 NEWPORT BEACH    CA    92660‐4016

FRANCES S RAMMING                                   23 BRAMLEIGH ROAD                                                                               LUTHERVILLE      MD    21093‐5708
FRANCES S SHARKEY TR FRANCES S SHARKEY REVOCABLE 4211 SANTIAGE ST                                                                                   SEBRING          FL    33872‐2255
TRUST UA 08/21/98
FRANCES SAS & JOHN C SAS JT TEN                     3354 MERRICK                                                                                    DEARBORN         MI    48124‐3847
FRANCES SAU KUEN LEE                                215 CYPRESS ST                                                                                  BROOKLINE        MA    02445‐6752
FRANCES SAUERBIER                                   18 S LACKAWANNA ST #1                                                                           WAYLAND          NY    14572‐1436
FRANCES SCASNY & MICHAEL SCASNY JT TEN              19851 SW 93 LN RD                                                                               DUNNELLON        FL    34432‐4126
FRANCES SCHNEPP                                     6830 RENO ST                                                                                    LANSING          MI    48911‐7123
FRANCES SCHOLZ MISS FRANCES SCHOLZ & FRANK          18 WINONA ST                                                                                    AUBURNDALE       MA    02466
SCHOLZ 3RD JT TEN
FRANCES SERBEL                                      12 GRACE ST                                                                                     SWOYERSBILLE     PA    18704‐3007
FRANCES SHORT MOHLE                                 5900 HAMPTON RIDGE RD                                                                           RALEIGH          NC    27603‐9260
FRANCES SHOUDY & STEVEN SHOUDY JT TEN               23572 SUTTONS BAY DR                                                                            CLINTON TWP      MI    48036‐1270
FRANCES SIMON BOLEY                                 523 BEACON RD                                                                                   PORTSMOUTH       VA    23702‐1007
FRANCES SISSON HIGGINS                              1805 RIVERVIEW DR                                                                               MELBOURNE        FL    32901‐4711
FRANCES SMITH KING                                  1515 E SALES YARD RD                                                                            EMMETT           ID    83617‐9421
FRANCES SPARKMAN OWEN                               PO BOX 7228                                                                                     TYLER            TX    75711‐7228
FRANCES SPURGUS & LINDA M SPURGUS & STEVEN M 4242 OAKLAND DR                                                                                        NEW PRT RICHEY   FL    34653‐6658
SPURGUS JT TEN
FRANCES STAPELFELDT                                 2844 NO 72 COURT                                                                                ELMWOOD PARK     IL    60707‐1507
FRANCES STEVENSON SIDOVAR                           4425 BAYARD ST                                                                                  EASTON           PA    18045‐4905
FRANCES STIGLICH TR JOE STIGLICH & FRANCES STIGLICH 11534 GALE                                                                                      HAWTHORNE        CA    90250‐2111
TRUST UA 06/20/95
FRANCES SYVERSON TR UA 05/05/93 FRANCES             3719 OLD CREEK RD                                                                               TROY             MI    48084‐1654
SYVERSON LIVING TRUST
FRANCES SZPONT                                      23340 EUREKA                                                                                    WARREN           MI    48091‐4504
FRANCES T BELLAY                                    4160 FAWN TRAIL NE                                                                              WARREN           OH    44483‐3663
FRANCES T CAMPBELL                                  3561 WESTFIELD AVE                                                                              FORT WORTH       TX    76133‐1343
FRANCES T FEERICK & ERIN FEERICK JT TEN             485 S SAMUEL DR                                                                                 ZANESVILLE       OH    43701‐1520
FRANCES T FOOTE                                     383 MADISON AVE                                                                                 WEST HEMPSTEAD   NY    11552‐2352

FRANCES T GALLAGHER                                 237 CLEARWATER CIRCLE                                                                           ROCHESTER        NY    14612‐3082
FRANCES T HERRINGTON                                9608 LAFAYETTE AVE                                                                              MANASSAS         VA    20109‐3312
FRANCES T HORNER                                    3612 NAAMANS DRIVE                                                                              WILMINGTON       DE    19703‐2101
FRANCES T LEWANDOWSKI & MARLENE F MONTINI JT        4336 MAYA LN                                                                                    SWARTZ CREEK     MI    48473
TEN
FRANCES T PAPPA                                     117 BETTE RD                                                                                    WILM             DE    19803‐3430
FRANCES T REED                                      1253 N 35TH ST                                                                                  EAST ST LOUIS    IL    62204‐3066
FRANCES T ROSS CUST GRAHAM J ROSS UGMA PA           610 BRIGHTON AVE                                                                                READING          PA    19606‐1402
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FRANCES T SAJDA                                    319 PARKHURST BLVD                                                                              BUFFALO          NY    14223‐2513
FRANCES T SIMMONS                                  802 NORTH SPRING ST                                                                             ALDERSON         WV    24910‐9314
FRANCES T THOMPSON                                 C/O FRANCES RUNKLE                     418 COTTAGE LANE                                         MONROEVILLE      PA    15146‐1004
FRANCES THERESA PIETRUNTI                          42 PIAVE AVE                                                                                    SI               NY    10305‐4434
FRANCES THRONDSET                                  102 INDIAN CREEK DR                                                                             PARIS            TN    38242
FRANCES TRAGER                                     303 RODMAN AVE                                                                                  JENKINTOWN       PA    19046‐2014
FRANCES U LAGER                                    PO BOX 271                                                                                      FOLEY            AL    36536‐0271
FRANCES V DEUSTER                                  N 8556 LINDEN BEACH ROAD                                                                        FOND DU LAC      WI    54935‐9524
FRANCES V FOLTA                                    9823 SAVAGE RD                                                                                  HOLLAND          NY    14080‐9640
FRANCES V MC BRYDE                                 19437 TRANSHIRE RD                                                                              MONTGOMRY VLG    MD    20886‐5018

FRANCES V NOWAKOWSKI                               366 W ST JOSEPH ST 14                                                                           GREEN BAY        WI    54301
FRANCES V SLAUBAUGH                                8035 RODGERS ROAD                                                                               MEDINA           OH    44254‐9615
FRANCES V TIDWELL                                  32 TIDWELL ROAD S E                                                                             CARTERSVILLE     GA    30120‐7100
FRANCES V ULMER & GARY ALAN ULMER JT TEN           5140 TILDEN ST NW                                                                               WASHINGTON       DC    20016‐1942
FRANCES V WALLS                                    421 BONNIE BRAE S E                                                                             WARREN           OH    44484‐4208
FRANCES V WATSON                                   PO BOX 38810                                                                                    DETROIT          MI    48238‐0810
FRANCES VENETIS                                    3 COLUMBUS AVE                                                                                  TENAFLY          NJ    07670‐1619
FRANCES W BURGE                                    11 EAST REDDING ST                                                                              MIDDLETOWN       DE    19709‐1437
FRANCES W CARRILL                                  4482 OLD CARRIAGE RD                                                                            FLINT            MI    48507‐5622
FRANCES W CLAY                                     1313 LEE ST                                                                                     ALBANY           GA    31701‐3535
FRANCES W CREECH                                   10299 WATERFORD RD                                                                              COLLIERVILLE     TN    38017‐8962
FRANCES W DUPREE                                   4263 PINEY GROVE RD                                                                             ANGIER           NC    27501‐8346
FRANCES W GLOVER                                   1447 TABERNACLE RD                                                                              COLUMBUS         MS    39702‐9598
FRANCES W GUYER                                    4305 ELEANOR ST                                                                                 NORTHPORT        AL    35473‐2841
FRANCES W LILLY                                    144 PATTON FARM RD                                                                              STUARTS DRAFT    VA    24477‐2631
FRANCES W PORTEN                                   1041 GRANDEVIEW BLVD                   APT 422                                                  HUNTSVILLE       AL    35824‐1462
FRANCES W POTTER                                   112 MAPLE AVE                                                                                   SPRINGVILLE      NY    14141
FRANCES W REILEY                                   28 RIDGE WOOD DR                                                                                MONROE           OH    45050‐1092
FRANCES W SCHMIDT FBO SCHMIDT FAM TRUST UA         3350‐C BAHIA BLANCA E                                                                           LAGUNA HILLS     CA    92653‐2544
09/25/86
FRANCES W SCHMIDT TR UA SCHMIDT REVOCABLE          3350‐C BAHIA BLANCA E                                                                           LAGUNA HILLS     CA    92653‐2544
FAMILY TRUST 03/04/86
FRANCES W SIEDEL                                   21260 WESTWOOD DR                                                                               STRONGSVILLE     OH    44136‐2906
FRANCES WARNER                                     1234 MOHEGAN DR                                                                                 WILLOUGHBY       OH    44094‐7310
FRANCES WELLS DOHERTY                              253 E LAKEVIEW ST                                                                               UMATILLA         FL    32784‐9525
FRANCES WHITE                                      7533 SAGE ST                                                                                    MANASSAS         VA    20109‐7211
FRANCES WIDENER                                    722 TALON CV                                                                                    BIRMINGHAM       AL    35242‐1904
FRANCES WINER ZALLEN                               1 ELEANOR RD                                                                                    SALEM            MA    01970‐4205
FRANCES WINTER UTLEY                               129 SOUTH HIGH                                                                                  LANCASTER        OH    43130‐3847
FRANCES WORKMAN WILLIAMS                           10101 GLENCARRIE LN                                                                             AUSTIN           TX    78750‐4017
FRANCES WORLEY HUDDLE                              900 NE LOOP 410 D406                                                                            SAN ANTONIO      TX    78209‐1409
FRANCES Y PIERCE                                   2 N W 82ND ST                                                                                   KANSAS CITY      MO    64118‐1124
FRANCES Y SCHIMP                                   469 GARLAND DR                                                                                  NILES            OH    44446‐1106
FRANCES Z CAPLIN TR CAPLIN FAM TRUST UA 11/20/96   26 MCADAMS RD                                                                                   FRAMINGHAM       MA    01701‐3877

FRANCES Z DESMOND                                  80 W HOLLYWOOD                                                                                  DETROIT          MI    48203‐1936
FRANCES Z MOREIRA                                  14 LONGWOOD DR                                                                                  SICKLERVILLE     NJ    08081‐4025
FRANCES Z VUKOVIC                                  211 LONSDALE AVE                                                                                DAYTON           OH    45419‐3247
FRANCES ZAREF                                      520 VICTOR ST UNIT 24                                                                           SADDLE BROOK     NJ    07663
FRANCESCA ANTONETTE PLATT                          3531 AMARILLO AVE                                                                               SIMI VALLEY      CA    93063‐1207
FRANCESCA ARCHER                                   1218 SHATTUCK                                                                                   BERKELEY         CA    94709‐1413
FRANCESCA DROWN HOPKINS                            1053 VILLA GROVE                                                                                PACIFIC PLSDS    CA    90272
FRANCESCA HABICHT                                  KAISERSTR 38                           80801 MUNICHEN       REPL OF           GERMANY
FRANCESCA K HURLEY                                 16 GARDEN LANE                                                                                  YAPHANK          NY    11980‐1102
FRANCESCA L O'BAR                                  6947 EVERHART                          APT 1203                                                 CORPUS CHRISTI   TX    78417
FRANCESCA L UMOH                                   5825 PHILIDELPHIA DR                                                                            DAYTON           OH    45415‐3049
FRANCESCA N MOUNT                                  200 CLOVE RD                                                                                    NEW ROCHELLE     NY    10801‐1203
FRANCESCA SAVIERI                                  990 WILDCAT CANYON RD                                                                           BERKELEY         CA    94708‐1556
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FRANCESCO A MARINO                                31 CHARTER CIRCLE                                                                              ROCHESTER        NY    14606‐4916
FRANCESCO CONIGLIARO                              1548 N MEADOWLARK DR                                                                           JENISON          MI    49428‐9205
FRANCESCO FIORANTE                                8279 W CARMEN AVE                                                                              NORRIDGE         IL    60706‐3024
FRANCESCO G CIFFA                                 244 W BEND DR                                                                                  ROCHESTER        NY    14612‐3226
FRANCESCO MASELLI                                 20 ANN ST                                                                                      GLEN COVE        NY    11542‐3911
FRANCESCO MAZUHN                                  EISENACHER STRASSE 89                 D‐10781              BERLIN            GERMANY
FRANCESCO MONTALBANO                              95 CHELTENHAM RD                                                                               ROCHESTER        NY    14612‐5711
FRANCESCO MORGERA                                 101 LINSTONE AVENUE                                                                            NEW CASTLE       DE    19720‐2026
FRANCESCO PALERMO                                 56 SASKATOON DR                       ETOBICOKE ON                           M9P 2G2 CANADA
FRANCESCO PELLEGRINO                              VIALEA MAGNO 383                      ROME                                   124 ITALY
FRANCESCO PELLEGRINO                              VIALE A MAGNO 383                     ROME                                   ITALY
FRANCESCO PORCO                                   1250 KIMBERLY DR                                                                               LANSING          MI    48912‐4816
FRANCESCO SPADAFORA                               4415 CHANCELLOR DR                                                                             DEWITT           MI    48820‐7861
FRANCH CODY                                       5395 WEST 200 SOUTH                                                                            NEW PALESTINE    IN    46163‐8810
FRANCHESKA HOWARD                                 14070 GREENBRIAR ST                                                                            OAK PARK         MI    48237‐2738
FRANCHIE RILEY JR                                 5161 DARLINGTON DR                                                                             MEMPHIS          TN    38118‐2522
FRANCHINE G MERL                                  363 E 76TH ST                                                                                  NEW YORK         NY    10021‐2421
FRANCHON K HOFFMAN                                1460 HUNTERS RIDGE CT                                                                          DAVISON          MI    48423‐2207
FRANCIA M COSS                                    600B OLD SUNNYSIDE LN                                                                          COLUMBIA         TN    38401‐5219
FRANCIA N MINA                                    22378 PINEAPPLE WALK DR                                                                        BOCA RATON       FL    33433‐5550
FRANCIE S TAYLOR                                  9008 NE 95TH ST                                                                                VANCOUVER        WA    98662‐2037
FRANCINA C FRIEND                                 1507 REGENCY WOODS ROAD                                                                        RICHMOND         VA    23233‐4516
FRANCINA C WILLIAMS                               1507 REGENCY WOODS ROAD               APT 303                                                  RICHMOND         VA    23233‐4547
FRANCINA FAISON                                   200 SETH GREEN DR                     APT 1221                                                 ROCHESTER        NY    14621‐2107
FRANCINA T SMRDEL                                 9633 OMEGA CT                                                                                  MENTOR           OH    44060‐4530
FRANCINE A BOCCIO                                 1075 ARBOR CREEK DR                                                                            ROSWELL          GA    30076‐1289
FRANCINE A FOTI                                   1517 E 56TH ST                                                                                 BROOKLYN         NY    11234‐4001
FRANCINE A PELLEGRINI                             7333 NAVARRE CIR                                                                               GRANTWOOD        MO    63123‐2021
FRANCINE B BLAKE                                  1579 HOMEWOOD S E                                                                              WARREN           OH    44484‐4912
FRANCINE BECKER                                   606 MOHAWK COURT                                                                               SUFFERN          NY    10901‐4136
FRANCINE BRATERMAN                                2779 CLUBHOUSE RD                                                                              MERRICK          NY    11566‐4805
FRANCINE D BELL & ABIGAIL I BELL JT TEN           75 ORANGE STREET                                                                               ABINGTON         MA    02351‐1952
FRANCINE DELANGIS                                 1187 JOSEPH                           PO BOX 598           PREVOST QC        J0R 1T0 CANADA
FRANCINE E COLUMBO                                3538 KANHI DRIVE                                                                               YORKTOWN HGTS    NY    10598‐1012
FRANCINE EKELMAN                                  38 W 9TH ST                                                                                    NEW YORK         NY    10011‐8914
FRANCINE FOOTE & DARWIN FOOTE JT TEN              415 KENSINGTON                                                                                 FERNDALE         MI    48220‐2361
FRANCINE G THOMAS                                 2057 EWALD CIRCLE                                                                              DETROIT          MI    48238‐2723
FRANCINE GUSOFF                                   2500 HORACE COURT                                                                              BELLMORE         NY    11710‐4810
FRANCINE JEFFRIES CUST FRANK PASSARELLI UGMA NY   4005 P WESTFAX DR                                                                              CHANTILLY        VA    20151‐1547

FRANCINE JEFFRIES CUST STEVEN PASSARELLI UGMA NY 4005‐P WESTFAX DR                                                                               CHANTILLY        VA    20151‐1547

FRANCINE JEFFRIES CUST THOMAS PASSARELLI UGMA     6731 WHITTIER AVENUE                  SUITE A300                                               MCLEAN           VA    22010
NY
FRANCINE KALB                                     95 RIDGE AVE                                                                                   PASSAIC          NJ    07055‐2418
FRANCINE L SIEGEL & JOSHUA M SIEGEL JT TEN        23912 FRIAR ST                                                                                 WOODLAND HILLS   CA    91367‐1236

FRANCINE M BESKO                              2670 SORORITY LN                                                                                   HOLT            MI     48842‐8743
FRANCINE M DURHAM TR FRANCINE M DURHAM TRUST 455 DIXON DR                                                                                        HOFFMAN ESTATES IL     60195
UA 12/10/00
FRANCINE P BUONO CUST COLE STANLEY FLETCHER   8832 FRY CIRCLE                                                                                    HUNTINGTON       CA    92646
UTMA CA                                                                                                                                          BEACH
FRANCINE P BUONO CUST DEMI JANE BUONO UTMA CA 8832 FRY CIRCLE                                                                                    HUNTINGTON       CA    92646
                                                                                                                                                 BEACH
FRANCINE P BUONO CUST GIANNA SOPHIE FLETCHER      8832 FRY CIRCLE                                                                                HUNTINGTON       CA    92646
UTMA CA                                                                                                                                          BEACH
FRANCINE P BUONO CUST LAUREN NICOLINA BUONO       8832 FRY CIRCLE                                                                                HUNTINGTON       CA    92646
UTMA CA                                                                                                                                          BEACH
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FRANCINE P BUONO CUST SAMANTHA LUCIA BUONO     8832 FRY CIRCLE                                                                                    HUNTINGTON       CA    92646
UTMA CA                                                                                                                                           BEACH
FRANCINE R DE MASTER                           635 ASPEN AVE                                                                                      OOSTBURG         WI    53070‐1455
FRANCINE S TERRELL                             101 S DOWNING ST                          UNIT 4                                                   DENVER           CO    80209‐2452
FRANCINE SAVIN                                 30975 POINTE OF WOODS DR                  APT 2                                                    FARMINGTN HLS    MI    48334‐1267
FRANCINE SUSAN YUDELL                          12 CANTERBURY RD S                                                                                 HARRISON         NY    10528‐2316
FRANCINE T DUFFEE                              651 LAKE PINE DRIVE                                                                                SHOREVIEW        MN    55126‐1256
FRANCINE TARGOVNIK CUST HARRIS TARGOVNIK UGMA 1314 VERNON NORTH DR                                                                                ATLANTA          GA    30338‐4214
NJ
FRANCINE WILLIS RICH                           ATTN R KENT RICH                          4239 JUPITER DRIVE                                       SALT LAKE CITY   UT    84124‐3374
FRANCIS A BASTONE                              1111 MAPLE AVE                                                                                     VERONA           PA    15147‐1803
FRANCIS A BELLINI                              20 ASHLEY RD                                                                                       BRISTOL          CT    06010‐2603
FRANCIS A BOROWSKI & SURELLA S BOROWSKI JT TEN 1212 5TH ST                                                                                        NORTH BERGEN     NJ    07047‐1709

FRANCIS A BURNE                                  1522 PENN AVE                                                                                    SCRANTON         PA    18509‐2303
FRANCIS A BYRNE JR                               99 PINEKNOB TERRACE                                                                              MILFORD          CT    06460‐1638
FRANCIS A CALVETTI JR                            7 KATHLYN CT                                                                                     WILMINGTON       DE    19808‐3817
FRANCIS A CARNEGIE JR CUST MISS BARBARA CARNEGIE 21 KEANSBURG RD                                                                                  PARSIPPANY       NJ    07054‐3508
UGMA NJ
FRANCIS A CORDER                                 415 LINDEN WAY                                                                                   SANDUSKY         OH    44870‐6312
FRANCIS A DI MATTEO & MRS MARY ANN DI MATTEO JT 10238 KELSO COURT                                                                                 CHARLOTTE        NC    28278
TEN
FRANCIS A DUFFY & BARBARA DUFFY JT TEN           3360 CAMPBELL                                                                                    DEARBORN        MI     48124‐3714
FRANCIS A ENGLISH                                2222 AMERICUS BLVD                      #42                                                      CLEARWATER      FL     33763‐2706
FRANCIS A FALLAT                                 4406 WEST 189 ST                                                                                 CLEVELAND       OH     44135‐1806
FRANCIS A FLOMERFELT                             121 CRESTWOOD RD                                                                                 LANDENBERG      PA     19350‐9133
FRANCIS A FOX                                    1059 N STATE ROAD                                                                                IONIA           MI     48846‐9502
FRANCIS A FOX & ALICE A FOX JT TEN               1059 N STATE RD                                                                                  IONIA           MI     48846‐9502
FRANCIS A FRAPPIER                               813 S LYNN ST                                                                                    BRYAN           OH     43506‐2044
FRANCIS A GARITEE & KAREN L GARITEE JT TEN       2024 FRUSH VALLEY RD                                                                             TEMPLE          PA     19560‐9778
FRANCIS A GARITEE & KAREN L GARITEE TEN ENT      2024 FRUSH VALLEY RD                                                                             TEMPLE          PA     19560‐9778
FRANCIS A GAYON                                  W152 N 8337 ELM LANE                                                                             MENOMONEE FALLS WI     53051‐3803

FRANCIS A GIDDINGS & ARLINE C GIDDINGS JT TEN      12789 MANCHESTER DR                                                                            CHESTERLAND      OH    44026‐2916

FRANCIS A GRIFFIN & MRS CAROL ANN GRIFFIN JT TEN   1576 NE 104TH ST                                                                               MIAMI            FL    33138‐2666

FRANCIS A HOLDEN                                   21274 SR 251                                                                                   LYNCHBURG        OH    45142‐9506
FRANCIS A JAMES                                    89 GROVE ST                                                                                    WELLS            ME    04090‐4448
FRANCIS A JONES JR                                 PO BOX 39                                                                                      EASTMAN          GA    31023‐0039
FRANCIS A KASHUBOSKY                               404 HAMPTON                                                                                    DURAND           MI    48429‐1412
FRANCIS A KINNEY & LEE ANN KINNEY JT TEN           80 PEPPERTREE LANE                                                                             TOPEKA           KS    66611‐2072
FRANCIS A LA GROW                                  206 CLARKSON CT                                                                                CAPAC            MI    48014‐3118
FRANCIS A MANNING CUST SHANE PATRICK MURPHY        90 APPLE GATE                                                                                  SOUTHINGTON      CT    06489‐2083
UGMA CT
FRANCIS A MARCHESE                                 BOX 623                                                                                        WINDSOR          CT    06095‐0623
FRANCIS A MCGINNIS JR                              PO BOX 10336                                                                                   FORT WORTH       TX    76114‐0336
FRANCIS A MONCRIEF                                 ROUTE 1 BOX 277‐G                                                                              MONTGOMERY       AL    36105‐9707
FRANCIS A MONDZELEWSKI                             618 HOWELL SCHOOL RD                                                                           BEAR             DE    19701‐2328
FRANCIS A NEWTON                                   4024 COUNTY RD 98                                                                              BRIDGEPORT       AL    35740‐6826
FRANCIS A NORTON & RUTHE B NORTON TEN ENT          116 FAIRVIEW AVE N                    UNIT 905                                                 SEATTLE          WA    98109‐5366
FRANCIS A SCHIMA                                   #601                                  141 N LA GRANGE RD                                       LA GRANGE PARK   IL    60525‐2042
FRANCIS A SHERIDAN                                 29250 W 10 MILE RD                    APT 82                                                   FARMINGTN HLS    MI    48336‐2874
FRANCIS A SMITH                                    602 BRISTOL PL                                                                                 CRANBERRY TWP    PA    16066‐6502
FRANCIS A SOUZA                                    17000 WEDGE PKWY                      APT 1324                                                 RENO             NV    89511‐3230
FRANCIS A UCHANSKI                                 7611 MILLER RD                                                                                 DEARBORN         MI    48126‐1249
FRANCIS A WILLIAMS                                 1709 HAMPSTEAD DR                                                                              MUSKEGON         MI    49445‐3518
FRANCIS A YORKE & MARIAN R YORKE JT TEN            3900 HAMMERBERG RD                    APT 242                                                  FLINT            MI    48507‐6026
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FRANCIS A ZAMBORSKY & MILDRED R ZAMBORSKY JT        747 ST JOHN'S WAY                                                                                HENDERSONVILLE     NC    28791‐2991
TEN
FRANCIS A ZEISZ                                     52 SCHULER AV 1                                                                                  TONAWANDA          NY    14150‐3718
FRANCIS ALLEN STAHL & FRANCIS BLAKE STAHL JT TEN    1227 NORTH COLLIER BLVD                                                                          MARCO ISLAND       FL    34145

FRANCIS ALLEN WINSTON                               9516 DAVE WINSTON RD                                                                             BULLOCK            NC    27507‐9776
FRANCIS ARCHIBALD                                   509 HARRISON                                                                                     VILLA GROVE        IL    61956‐1017
FRANCIS ARDITE                                      8901 MAN OF WAR DR                                                                               WAXHAW             NC    28173‐6661
FRANCIS ARTHUR LAYMAN                               1812 S COLLEGE RD                                                                                MASON              MI    48854‐9748
FRANCIS B BOLDA                                     11114 INGLIS HWY                                                                                 MILLERSBURG        MI    49759‐9777
FRANCIS B BRUSO & ELLEN R BRUSO TR 03/07/97 F T     4618 WOODMARK TRAILS                                                                             CHESAPEAKE         VA    23321‐6151
BRUSO FAMILY TRUST
FRANCIS B BUTCHER & VIRGINIA E BUTCHER JT TEN       848 FAIRWOOD BLVD                                                                                ELYRIA             OH    44035‐1808

FRANCIS B CAPPUCCIO                                 10 TANNER ST                                                                                     MANCHESTER         CT    06040‐3263
FRANCIS B DELANEY                                   87 GODDARD STREET                                                                                QUINCY             MA    02169‐7805
FRANCIS B ELLISON                                   604 SOUTH ST                                                                                     BRIELLE            NJ    08730
FRANCIS B HILTON                                    490 MAINVEIW COURT                                                                               GLEN BURNIE        MD    21061‐6119
FRANCIS B LORSON                                    500 LORSON RD                                                                                    WILLIAMSPORT       PA    17702‐8899
FRANCIS B MALLOY JR                                 3571 SAGAMORE DR                                                                                 HUNTINGTON         CA    92649‐2517
                                                                                                                                                     BEACH
FRANCIS B PETERS                                    3707 RED OAK LANE                                                                                ELLICOTT CITY      MD    21042‐1327
FRANCIS B PIPER TR UW JESSIE E GRISWOLD                                                                                                              WHITE HALL         IL    62092
FRANCIS B VOLPE & JACQUELINE L VOLPE JT TEN         1510 CHESTNUT COVE RD                                                                            CHAPEL HILL        TN    37034‐2055
FRANCIS BONER                                       6502 TEAROSE DR                                                                                  LOUISVILLE         KY    40258‐2640
FRANCIS BOUSQUET                                    680 COUNTY RD                                                                                    WOODSTOCK          CT    06281‐1802
FRANCIS BRITT                                       765 MERCER AVE                                                                                   KINGSTON           PA    18704‐3844
FRANCIS BUHLER                                      2212 TRILLIUM TRAIL                                                                              ROCKFORD           IL    61108‐8155
FRANCIS C BRICKEY                                   311 WORTH ST                                                                                     COUNCIL BLUFFS     IA    51503‐6565
FRANCIS C CLELAND & SANDRA I CLELAND TEN COM        930 JOHN R RD APT 2127                                                                           TROY               MI    48083‐4318

FRANCIS C DUSTIN                                    RT 11 P O BOX 461                                                                                NORTH BANGOR       NY    12966
FRANCIS C FREY                                      1845 INDIAN HILL ROAD                                                                            BIRMINGHAM         AL    35216‐2253
FRANCIS C GARDNER                                   4170 DAWNCLIFF DR                                                                                CLEVELAND          OH    44144‐1219
FRANCIS C GARDNER                                   201 BUTTERNUT LANE                                                                               CLARKS SUMMIT      PA    18411‐1329
FRANCIS C HARTFORD & SALLY B HARTFORD JT TEN        1810 STATE RD                                                                                    ELIOT              ME    03903‐1088

FRANCIS C HENRICK                                   6700 APPROACH RD                                                                                 SARASOTA           FL    34238‐5116
FRANCIS C HUMPHRIES                                 209 N DARLINGTON AVE                                                                             LAMAR              SC    29069‐9301
FRANCIS C HURD                                      #88 BETH MOR RR #3                      750 S MORELAND RD                                        BETHALTO           IL    62010‐2172
FRANCIS C KOBYLARZ & KATHY L KOBYLARZ JT TEN        3997 ST JAMES CT                                                                                 SHELBY TWP         MI    48316‐4843
FRANCIS C LOEHR                                     PO BOX 397                                                                                       CURTIS             MI    49820‐0397
FRANCIS C LOW                                       10 RED COAT LANE                                                                                 UNIONVILLE         CT    06085‐1425
FRANCIS C MALOY                                     36838 BUTTERNUT RIDGE RD                                                                         NORTH RIDGEVILLE   OH    44039‐8536

FRANCIS C PHILLIPS                                  7832 WENDOVER AVE                                                                                BALTIMORE          MD    21234‐5418
FRANCIS C ROHMAN JR & HELEN L ROHMAN JT TEN         15 S LIBERTY ST                                                                                  CUMBERLAND         MD    21502‐3003

FRANCIS C SMITH                                 216 NO ADAM ST                                                                                       LOCKPORT           NY    14094‐2420
FRANCIS C SMOLINSKI                             3479 RICHMOND CT                                                                                     ANN ARBOR          MI    48105‐1521
FRANCIS C WILSECK                               7396 AFFELDT                                                                                         WESTLAND           MI    48185‐2625
FRANCIS C ZEVNIK CUST VERONCEE M ZEVNIK UGMA DE 2800 NEWPORT GAP PIKE                                                                                WILMINGTON         DE    19808‐2375

FRANCIS C ZEVNIK TR FRANCIS C ZEVNIK LIVING TRUST   6327 HOBBTON HWY                                                                                 CLINTON            NC    28328‐5839
UA 03/18/96
FRANCIS CHARLES ANDERSON JR                         415 S 17TH ST                                                                                    ESCANABA           MI    49829‐2425
FRANCIS CHARLES SCHAD                               1332 HANOVER ST                                                                                  OWOSSO             MI    48867‐4911
FRANCIS COLLINS SR                                  39 WALKER ST                                                                                     SOUTH PORTLAND     ME    04106‐4730
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FRANCIS COLVIN                                     208 COGSHALL ST                                                                                HOLLY           MI    48442‐1715
FRANCIS COSE & ELENA G COSE JT TEN                 1931 ROUTE 9                                                                                   TOMS RIVER      NJ    08755‐1211
FRANCIS COULTER JR                                 12337 TUSCOLA RD                                                                               CLIO            MI    48420‐1062
FRANCIS COUTELLIER                                 40 CHEMIN DE L'AIGLE                  SHEDIAC BRIDGE NB                      E4R 1G6 CANADA
FRANCIS D BOLAND & CAROL A BOLAND JT TEN           5399 COUNTY ROAD MS                                                                            BOSCOBEL        WI    53805‐9508
FRANCIS D BOYLL                                    5113 KICKAPOO DRIVE                                                                            KOKOMO          IN    46902‐5334
FRANCIS D BUSSER                                   1836 S 7TH ST                                                                                  ALHAMBRA        CA    91803‐3411
FRANCIS D CANTERBURY                               G5041 CARPENTER ROAD                                                                           FLINT           MI    48506
FRANCIS D CONZO                                    4682 WEBB DRIVE                                                                                ANDOVER         OH    44003‐9612
FRANCIS D DUFFIN                                   9 CROWFOOT CIRCLE N W                 CALGARY AB                             T3G 3J8 CANADA
FRANCIS D FERRARO & MRS ETHEL M FERRARO JT TEN     4608 B LOWERY ROAD                                                                             MILTON          FL    32583‐2506

FRANCIS D GREEN                                    1053 BURNS ST                                                                                  MOUNT MORRIS    MI    48458‐1107
FRANCIS D HACKETT                                  20789 MILLARD                                                                                  TAYLOR          MI    48180‐2940
FRANCIS D HACKETT TR FRANCIS D HACKETT TRUST UA    20789 MILLARD                                                                                  TAYLOR          MI    48180‐2940
02/04/03
FRANCIS D HEIMERMAN                                PO BOX 623                                                                                     NASHUA          IA    50658‐0623
FRANCIS D HIPKINS & KATHLEEN A HIPKINS JT TEN      4013 GRANDVIEW DR                                                                              FLUSHING        MI    48433‐2315

FRANCIS D JAMISON                                  PO BOX 496                                                                                     CATLIN          IL    61817‐0496
FRANCIS D MANZELLA                                 48765 BELLTOWER DR                                                                             MACOMB          MI    48044‐2140
FRANCIS D MASHBURN                                 RT 1 BOX 233D                                                                                  WEAUBLEAU       MO    65774‐9801
FRANCIS D MCMILLAN                                 8480 GRANGE RD                                                                                 HUBBARDSTON     MI    48845‐9201
FRANCIS D RINEER & KATHLEEN C RINEER TEN ENT       322 W ORANGE ST                                                                                LANCASTER       PA    17603‐3749
FRANCIS D RYAN TR FRANCIS D RYAN LIVING TRUST UA   9213 LOVEJOY RD                                                                                LINDEN          MI    48451‐9636
07/13/01
FRANCIS D SUTTON                                   164 N MAIN ST                                                                                  KENT CITY       MI    49330‐9114
FRANCIS D VIEUX                                    89‐26 HOLLIS CT BLVD                                                                           QUEENS VILLGE   NY    11427‐2316
FRANCIS D WEHR                                     871 HCR 1212                                                                                   BLUM            TX    76627‐3056
FRANCIS DAJNOWICZ                                  7619 CAPRI DRIVE                                                                               CANTON TWP      MI    48187‐1853
FRANCIS DANIELS & VERNETTE DANIELS JT TEN          2807 LAUREL AVE                                                                                CHEVERLY        MD    20785‐3148
FRANCIS DAVIS                                      725 BALDWIN ST                                                                                 JENISON         MI    49428‐9754
FRANCIS DONALD LUCAS                               G‐5017 NORTH VASSAR ROAD                                                                       FLINT           MI    48506
FRANCIS DUDLEY MCGLYNN                             133 CARTER STREET                                                                              AUBURN          AL    36830‐6320
FRANCIS E ASTON                                    406 BROWNING DR                                                                                HOWELL          MI    48843‐2061
FRANCIS E AUBE                                     5680 PRECOUR RD                                                                                ALPENA          MI    49707‐9572
FRANCIS E BEDARD                                   11610 CARTERS CROSSING WAY                                                                     CHESTERFIELD    VA    23838‐3061
FRANCIS E BOUDRO                                   914 W 11TH ST                                                                                  MIO             MI    48647‐9160
FRANCIS E CAFFERTY & ANNETTE M CAFFERTY JT TEN     4557 PARKSIDE BOULEVARD                                                                        ALLEN PARK      MI    48101‐3203

FRANCIS E CAFFERTY TR FRANCIS E CAFFERTY LIVING    4557 PARKSIDE BLVD                                                                             ALLEN PARK      MI    48101‐3203
TRUST UA 08/20/02
FRANCIS E COMPTON TR FRANCIS E COMPTON             2238 E RIDGECREST ST                                                                           OZARK           MO    65721‐9618
REVOCABLE TRUST UA 6/19/00
FRANCIS E ECKENRODE                                173 TOMAHAWK DR                                                                                AVON LAKE       OH    44012‐1923
FRANCIS E FOLEY                                    NORTH STREET BOX 474                                                                           AMENIA          NY    12501‐0474
FRANCIS E GIFFEL                                   538 E FLINT STREET                                                                             DAVISON         MI    48423‐1223
FRANCIS E GOFF                                     1819 BARKS                                                                                     FLINT           MI    48503‐4301
FRANCIS E GREEN III                                2283 HIGBY RD                                                                                  FRANKFORT       NY    13340‐4542
FRANCIS E KENT                                     6100 SLEIGHT RD                                                                                BATH            MI    48808‐9485
FRANCIS E KIMBALL                                  1427 HILLTOP DR                                                                                YPSILANTI       MI    48197‐8957
FRANCIS E KRATOCHVIL                               710 N RILEY RD                                                                                 MUNCIE          IN    47304‐3849
FRANCIS E MATZURA                                  89 SO INMAN AVENUE                                                                             AVENEL          NJ    07001‐1526
FRANCIS E MCRAE & BERNICE MCRAE JT TEN             135 WABASSO                                                                                    WALLED LAKE     MI    48390‐2464
FRANCIS E MERTI                                    7356 KINDLER ROAD                                                                              COLUMBIA        MD    21046‐1218
FRANCIS E MEYERS                                   13933 BENNINGTON BLVD                                                                          MIDDLEBURG      OH    44130‐7008
                                                                                                                                                  HEIGHTS
FRANCIS E NAPLETON                                 15 AMBRIANCE                                                                                   BURR RIDGE      IL    60521‐6493
FRANCIS E OWENS                                    52 WOODHILL COURT                     FAIRFIELD CREST                                          NEWARK          DE    19711‐7015
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Name                                               Address1                              Address2             Address3          Address4          City           State Zip

FRANCIS E PEICKERT                                 1818 S RIVERSIDE DR                                                                            AUGRES         MI    48703‐9796
FRANCIS E PESSEFALL                                8320 OPENLANDER RD                                                                             SHERWOOD       OH    43556‐9750
FRANCIS E PRINCE                                   10960 E SONRISA AVE                                                                            MESA           AZ    85212
FRANCIS E RICHWINE                                 9950 W STATE ROAD 234                                                                          JAMESTOWN      IN    46147‐9596
FRANCIS E RUSSELL                                  4351 PORTER HOLLOW DR NE              APT B                                                    ROCKFORD       MI    49341‐7305
FRANCIS E SAFRANEK                                 PO BOX 431                                                                                     VALDEZ         NM    87580‐0431
FRANCIS E SALB                                     2602 WESTLEIGH DRIVE E                                                                         INDIANAPOLIS   IN    46268‐2038
FRANCIS E SCHINDLER                                RR 1 13572 ST RT 249 BOX 182                                                                   NEY            OH    43549‐9738
FRANCIS E SCHMIDT                                  6507 34TH ST WEST                                                                              BRADENTON      FL    34210‐4206
FRANCIS E SCHMIDT & MARY K SCHMIDT TR SCHMIDT      53330 NADINE ST                       # 100                                                    SOUTH BEND     IN    46637‐5121
TRUST UA 11/21/95
FRANCIS E SMITH                                    1820 WHEATLAND CENTER RD                                                                       SCOTTSVILLE    NY    14546‐9723
FRANCIS E SMITH                                    16375 HEATHER LN APT 202                                                                       CLEVELAND      OH    44130‐8322
FRANCIS E SWAIM & JOYCE A SWAIM JT TEN             2419 E 360 N                                                                                   ANDERSON       IN    46012‐9239
FRANCIS E SWAN                                     303 DEARING DR                                                                                 SHEPHERD       MI    48883‐9001
FRANCIS E SWANSON                                  1397 MCKENDRIE STREET                                                                          SAN JOSE       CA    95126‐1411
FRANCIS E THURN                                    21309 FAUCET ROAD                                                                              EDGEWOOD       IA    52042‐8133
FRANCIS E TVAROCH                                  118 ROYAL TROON DR SE                                                                          WARREN         OH    44484‐4664
FRANCIS E VANCE                                    3423‐2 SOUTH SHORE DR                                                                          DELAVAN        WI    53115
FRANCIS E WAKELY                                   1252 WHITES TOWN RD                                                                            PROSPECT       PA    16052‐2318
FRANCIS E WAKELY CUST JEAN CATHERINE WAKELY        1252 WHITESTOWN RD                                                                             PROSPECT       PA    16052‐2318
UGMA NY
FRANCIS E WENDELL                                  P.O. BOX 112                                                                                   CAPE CHARLES   VA    23310‐2802
FRANCIS E WENDELL SR & BERNICE D WENDELL JT TEN    PO BOX 112                                                                                     CAPE CHARLES   VA    23310‐0112

FRANCIS E WILLIAMS                                 APT B                                 401 E MADISON ST                                         DEWITT         MI    48820‐8987
FRANCIS EARL LINDSAY                               802 FAIRFIELD AVE                                                                              WESTMINSTER    MD    21157‐5914
FRANCIS EDWARD OLCHASKEY                           54 WEBER AVE                                                                                   SAYREVILLE     NJ    08872‐1048
FRANCIS ELLSWORTH HARTFORD                         714 PARK BUD LANE                                                                              KATY           TX    77450‐4001
FRANCIS EUGENE CASEY & MRS JOANNE E CASEY JT TEN   427 OLD TOWN WAY                                                                               HANOVER        MA    02339‐1527

FRANCIS F BURCHARD                                 1361 BEACH DR                                                                                  LAKE ORION     MI    48360‐1207
FRANCIS F MENTER                                   1213 E SLOAN RD                                                                                BURT           MI    48417‐9716
FRANCIS F PACINELLI                                18527 W 250TH ST                                                                               PAOLA          KS    66071‐5724
FRANCIS F PURDY                                    6712 MARTHA VINEYARD DR                                                                        ARLINGTON      TX    76001‐5508
FRANCIS F QUIGLEY                                  494 MAIN ST                                                                                    FARMINGTON     CT    06032‐2911
FRANCIS F QUIGLEY TOD ALLEN T QUIGLEY SUBJECT TO   494 MAIN STREET                                                                                FARMINGTON     CT    06032‐2911
STA TOD RULES
FRANCIS F SHETZLER                                 6 BERKMAN STREET                                                                               MIDDLETOWN     DE    19709‐1402
FRANCIS FARKASH & PAUL FARKASH JT TEN              PO BOX 688                                                                                     GLEN ALPINE    NC    28628‐0688
FRANCIS FERNANDES                                  771 N MAIN STREET                                                                              RAYNHAM        MA    02767‐1745
FRANCIS FULARA                                     3146 S GRAHAM RD                                                                               SAGINAW        MI    48609
FRANCIS G BARONI TR FRANCIS G BARONI TRUST UA      6 S 280 CORNWALL RD                                                                            NAPERVILLE     IL    60540‐3631
07/29/96
FRANCIS G DONNELLY                                 485 WALES AVE                                                                                  PORT ORANGE    FL    32127‐6021
FRANCIS G DUFFY                                    45 PULASKI DR                                                                                  N ARLINGTON    NJ    07031‐5323
FRANCIS G FRY                                      7842 24TH STREET                                                                               WESTMINSTER    CA    92683‐3259
FRANCIS G GRAUGNARD                                1808 BAYOU RD                                                                                  THIBODAUX      LA    70301‐6034
FRANCIS G HECKMAN                                  PO BOX 146                                                                                     PEWAMO         MI    48873‐0146
FRANCIS G HELFRICK                                 5584 JUDY DR                                                                                   NEWPORT        MI    48166‐9328
FRANCIS G JORDAN CUST SCOTT A JORDAN UGMA NY       29 PARK AVE                                                                                    DEPEW          NY    14043‐4444

FRANCIS G LE ZOTTE                                 795 RED RUN DR                                                                                 TROY           MI    48085‐1353
FRANCIS G LEE & CELINE A LEE JT TEN                14 NORTH DREXEL AVE                                                                            HAVERTOWN      PA    19083‐4912
FRANCIS G MAC DONALD & ESTELLE M MAC DONALD JT     185 STOKES RD                                                                                  SHAMONG        NJ    08088‐8212
TEN
FRANCIS G MULLANE                                  453 HARVARD AVE                                                                                PALMERTON      PA    18071
FRANCIS G SCHASCHECK                               6465 E FRANCES RD                                                                              MOUNT MORRIS   MI    48458‐9701
FRANCIS G SHEEHAN                                  324 LIBERTY ST                                                                                 BRAINTREE      MA    02184‐6030
                                                09-50026-mg                Doc 7123-44    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                Address1                              Address2             Address3          Address4          City             State Zip

FRANCIS G TATE                                      PO BOX 1417                                                                                    DANA             IN    47847‐1417
FRANCIS GARTNER OPEL POWERTRAIN GMBH                52 E RUE DESELESTAT                   OBERNAI                                F 67210 FRANCE
FRANCIS GEORGE RORICK                               204 DEXTER TERRACE                                                                             TONAWANDA        NY    14150‐4721
FRANCIS GROVE MILLER JR & ARLENE KELL MILLER TEN    64 GROVE MILLER ROAD                                                                           NORTH EAST       MD    21901‐1319
ENT
FRANCIS H AUFFENBERG                                129 E CLINTON PL                      APT 3C                                                   SAINT LOUIS      MO    63122
FRANCIS H CARMICKLE                                 PO BOX 268                                                                                     ROSICLARE        IL    62982‐0268
FRANCIS H GASPARI                                   213 STEPHENS WAY                                                                               DOUGLASSVILLE    PA    19518‐1305
FRANCIS H HANLEY & MARILYN G HANLEY JT TEN          14 SUMMER ST                                                                                   MILFORD          NH    03055‐3929
FRANCIS H HODGMAN                                   13394 ELMS RD                                                                                  CLIO             MI    48420‐8230
FRANCIS H HONEYCUTT                                 41160 REDWOOD CT                                                                               CLINTON TWP      MI    48038‐4623
FRANCIS H PHILLIPS                                  1426 PEARSON                                                                                   FERNDALE         MI    48220‐3119
FRANCIS H RENWICK & MRS DORIS J RENWICK JT TEN      1142 JEFFERSON AVE                                                                             UTICA            NY    13501‐3302

FRANCIS H RICHEY                                    147 TREMONT AVE                                                                                KENMORE          NY    14217‐2333
FRANCIS H RILEY                                     13105 CRESTVIEW LN                                                                             CULPEPER         VA    22701‐4834
FRANCIS H RILEY & CAROL A RILEY JT TEN              13105 CRESTVIEW LN                                                                             CULPEPER         VA    22701‐4834
FRANCIS H ROSE                                      985 S DELANEY ROAD R#5                                                                         OWOSSO           MI    48867‐9122
FRANCIS H SCHIFFER III                              6441 OAKEN DRIVE                                                                               COLUMBIA         MD    21045
FRANCIS H SILVERNAIL                                3856 MAYFIELD                                                                                  JACKSON          MI    49203‐1110
FRANCIS H SKINNER                                   9382 BRISTOL ROAD                                                                              DAVISON          MI    48423‐8768
FRANCIS H STAFFORD                                  3533 W 98TH ST                                                                                 CLEVELAND        OH    44102‐4607
FRANCIS H STEWART JR                                3217 WHITEFIELD RD                                                                             CHURCHVILLE      MD    21028‐1301
FRANCIS H STOERMAN                                  32307 BEECHWOOD                                                                                WARREN           MI    48093‐1596
FRANCIS H TASSARO & ELVIRA F TASSARO JT TEN         25‐13 CRESCENT ST                                                                              ASTORIA          NY    11102‐2937
FRANCIS H WALTERS JR & KATHRYN S WALTERS JT TEN     15927 E THISTLE DR                                                                             FOUNTAIN HILLS   AZ    85268‐4348

FRANCIS H YELL JR                                   11259 E ATHERTON RD                                                                            DAVISON          MI    48423‐9111
FRANCIS HELFRICK                                    11458 COMMON RD                                                                                WARREN           MI    48093‐6508
FRANCIS HOLLOWAY                                    189 IVY CIR                                                                                    ADVANCE          NC    27006
FRANCIS HOLT MONTGOMERY                             183 COUNTY ROAD 3088                                                                           OXFORD           MS    38655‐9334
FRANCIS HOWARD SPENCER                              2210 SILVER ST                                                                                 ANDERSON         IN    46012‐1618
FRANCIS HYDE                                        935 N COLONY RD                                                                                MERIDEN          CT    06450‐2326
FRANCIS I PERSINGER                                 4122 WOODVALE DR SW                                                                            ROANOKE          VA    24018‐4721
FRANCIS IRENE BAIN                                  760 CHANGING SEASON RD                                                                         WESTMINSTER      MD    21157‐8363
FRANCIS J ANTONIO                                   802 W 13TH ST                                                                                  NEW CASTLE       DE    19720‐4942
FRANCIS J ARBOUR                                    8949 MISSION DR                                                                                BRIGHTON         MI    48116‐2069
FRANCIS J BIZELLI                                   226 LINDENWOOD                                                                                 ST CHARLES       MO    63301‐1605
FRANCIS J BONGEN & THERESA A UHRICK JT TEN          7633 GUNYON DRIVE                                                                              INDIANAPOLIS     IN    46237‐9376
FRANCIS J BRENNAN                                   333 STAFFORD AVE                                                                               WATERVILLE       NY    13480‐1143
FRANCIS J BRITTON & GLENDA F BRITTON JT TEN         8533 TOWLE ST                                                                                  DYER             IN    46311‐2859
FRANCIS J BYRNE                                     11334 W RIVER RD                                                                               COLUMBIA STATION OH    44028‐9526

FRANCIS J CARE & MRS ELIZABETH A CARE JT TEN        3003 PAXTON KNOLL LN                                                                           CINCINNATI       OH    45208‐2867
FRANCIS J COLICCHIO                                 6325 EAST RIDGE DR                                                                             SHREVEPORT       LA    71106
FRANCIS J CONWAY                                    PO BOX 3088                                                                                    HARVEY           LA    70059‐3088
FRANCIS J COONEY JR                                 10941 CRESCENT RIDGE LOOP                                                                      CLERMONT         FL    34711‐6774
FRANCIS J COUGHLIN JR                               BOX C                                                                                          MARLBORO         MA    01752‐0833
FRANCIS J DANIELEWICZ                               5830 MEAHL RD                                                                                  LOCKPORT         NY    14094‐9628
FRANCIS J DOLAN & ELLEN R DOLAN JT TEN              5 DICKINSON LANE                      WESTHAVEN                                                WILMINGTON       DE    19807‐3100
FRANCIS J DOODY & SANDRA F GOGAL JT TEN             1067 WESTERN AVE                                                                               WESTFIELD        MA    01085‐2527
FRANCIS J DOUGLAS JR                                212 PARK RIDGE DR                                                                              O'FALLON         MO    63366‐1085
FRANCIS J ELLIOTT & MRS PATRICIA A ELLIOTT JT TEN   85 HARRETON RD                                                                                 ALLENDALE        NJ    07401‐1317

FRANCIS J FITZPATRICK                               48590 METAMORA CT                                                                              MACOMB           MI    48044‐1966
FRANCIS J GALLIEN & MRS GERTRUDE GALLIEN JT TEN     12 BARROWS ST                                                                                  LEBANON          NH    03766‐1001

FRANCIS J GALVAN                                    115 W SAN CARLOS                                                                               LAREDO           TX    78041‐4917
FRANCIS J GAY                                       11 MARITIME DR                                                                                 WAREHAM          MA    02571‐2611
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FRANCIS J GRAVES                                    16 RICHARD ROAD                                                                                 NEW CASTLE       DE    19720‐1730
FRANCIS J GREEN                                     2757 STATE ROUTE 93 N                                                                           KUTTAWA          KY    42055‐5819
FRANCIS J GRIFFITHS & JAMES F GRIFFITHS & CHRYSTE G 500 LENOIR RD APT 420                                                                           MORGANTON        NC    28655
KRAUSE JT TEN
FRANCIS J GRZYBEK                                   2524 GRANT DR                                                                                   ANN ARBOR        MI    48108‐1254
FRANCIS J HAFF                                      6839 N HARTEL RD                                                                                POTTERVILLE      MI    48876‐8739
FRANCIS J HALTERMAN JR                              6324 PIONEER TR                                                                                 HIRAM            OH    44234‐9744
FRANCIS J HANLON                                    3606 E ROTAMAR RD                                                                               JANESVILLE       WI    53546‐9334
FRANCIS J HEREL                                     99 FERNWOOD DR                                                                                  OLD SAYBROOK     CT    06475‐3014
FRANCIS J HIPPLE                                    6N820 GILMORE DR                                                                                SAINT CHARLES    IL    60175‐8308
FRANCIS J HUBBS SR                                  WINDING CREEK VLG                      309 POND RD                                              MILLSBORO        DE    19966‐9540
FRANCIS J HUGHES & MRS MATILDA HUGHES JT TEN        2912 ALVORADO SQUARE                                                                            BALTIMORE        MD    21234‐7604

FRANCIS J JOHNSTON                                1570 CON 7 RR #1                         ENNISKILLEN ON                         L0B 1J0 CANADA
FRANCIS J KASINOWSKI                              186 TURPIN ST                                                                                     ROCHESTER        NY    14621‐3962
FRANCIS J KELLY & SYLVIA C KELLY JT TEN           60 PINEHAVEN DRIVE                                                                                DALY CITY        CA    94015‐3547
FRANCIS J KORFMANN                                240 SMULL AVE                                                                                     NORTH CALDWELL   NJ    07006‐4036

FRANCIS J KOWALIK                                 2902 STRATFORD CT                                                                                 ARLINGTON        TX    76015‐2357
FRANCIS J KRYCIA & DIANE K KRYCIA JT TEN          45731 HEATHERWOODE LN                                                                             MACOMB           MI    48044‐4166
FRANCIS J KUJAWA                                  6730 CRANBERRY DR                                                                                 NEW PRT RCHY     FL    34653‐4587
FRANCIS J LA VOIE & MRS JANE H LA VOIE JT TEN     31400 NARRAGANSETT LANE                                                                           BAY VILLAGE      OH    44140‐1068
FRANCIS J LABRECQUE                               311 HAGEL AVE                                                                                     LINDEN           NJ    07036‐1021
FRANCIS J LACHEY                                  2171 VIENNA PKY                                                                                   DAYTON           OH    45459‐1367
FRANCIS J LIETZ                                   5868 SUGARBUSH LANE                                                                               GREENDALE        WI    53129‐2621
FRANCIS J MAHALIC                                 90 PEORIA AVE                                                                                     CHEEKTOWAGA      NY    14206‐2633
FRANCIS J MAHONEY CUST KATHLEEN L MAHONEY         8500 CEDAR HOLLOW LN                                                                              HUNTERSVILLE     NC    28078‐6867
UGMA PA
FRANCIS J MC CALLUM & DEE ANN MC CALLUM JT TEN    705 BROADWAY ST                                                                                   MARSEILLES       IL    61341‐2003

FRANCIS J MCCLURE & NANCY J MCCLURE JT TEN        1900 BEN HALL CT                                                                                  FT WORTH         TX    76110‐1248
FRANCIS J MCLAUGHLIN                              200 LOCHLAND CIR                                                                                  ROSWELL          GA    30075‐6701
FRANCIS J MCPHARLIN & CAROL J MCPHARLIN JT TEN    4170 CARBARY CT                                                                                   ROCHESTER        MI    48306‐4654

FRANCIS J MCPHEE                                  102 EDGELL DRIVE                                                                                  FRAMINGHAM       MA    01701‐3180
FRANCIS J MCPHEE & GERALDINE D MCPHEE JT TEN      102 EDGELL DR                                                                                     FRAMINGHAM       MA    01701‐3180

FRANCIS J MOLONEY                                 28 WILLOWBROOK DRIVE                     WHITBY ON                              L1R 1S7 CANADA
FRANCIS J MURPHY                                  BOX 3335                                                                                          GRAND RAPIDS     MI    49501‐3335
FRANCIS J NASTALI                                 6417 KRUEGER DR                                                                                   BELOIT           WI    53511‐9065
FRANCIS J NELSON                                  14155 GRANDMOUNT                                                                                  DETROIT          MI    48227‐1309
FRANCIS J NORDLINGER                              1122 MASS AVE                            BOX 541                                                  LUNENBURG        MA    01462‐0541
FRANCIS J NOVACEK                                 6508 WINN ST                                                                                      FT WORTH         TX    76133‐5131
FRANCIS J OSIKA JR                                9152 E M21                                                                                        CORUNNA          MI    48817‐9521
FRANCIS J PABST SR CUST SUSAN MARIE PABST UGMA    ATTN FURR                                53 DAVIS ST                                              CLOVERDALE       IN    46120‐9146
NJ
FRANCIS J PAINTER                                 978 W CENTER RD                                                                                   ESSEXVILLE       MI    48732‐2006
FRANCIS J PARENTE                                 10 CAROLYN DRIVE                                                                                  WEST WARWICK     RI    02893‐5463
FRANCIS J PECHAUER & JOAN E PECHAUER JT TEN       2528 COVENTRY ROAD                                                                                COLUMBUS         OH    43221‐3756
FRANCIS J PIESCZAK                                2057 WEST BROWN RD                                                                                MAYVILLE         MI    48744‐9608
FRANCIS J PONGRACZ                                30836 JOHN HAUK                                                                                   GARDEN CITY      MI    48135‐1464
FRANCIS J QUINN                                   4602 NORTHERN CIR                                                                                 DAYTON           OH    45424‐5735
FRANCIS J QUINN & MRS IRENE E QUINN JT TEN        349 N SHORE RD                                                                                    CUBA             NY    14727‐9227
FRANCIS J REBEC                                   14028 ROCK CREEK RD                                                                               CHARDON          OH    44024‐9194
FRANCIS J REICKS & LUCILLE M REICKS TEN COM       205 S OWL ST                                                                                      LAWLER           IA    52154‐9300
FRANCIS J REIDMILLER                              1094 PINEWOOD RD                                                                                  IRWIN            PA    15642‐7005
FRANCIS J RINDGEN                                 63 CLAUDIA STREET                                                                                 ISELIN           NJ    08830‐1936
FRANCIS J ROBISON                                 3877 HEMMINGWAY                                                                                   OKEMOS           MI    48864‐3760
FRANCIS J RONCO                                   562 EUCLID STREET                                                                                 ALLENTOWN        PA    18103‐6759
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Name                                              Address1                              Address2             Address3          Address4          City             State Zip

FRANCIS J SANT                                    1299 LAKE JASON DR                                                                             WHITE LAKE       MI    48386‐3840
FRANCIS J SCHMUCK                                 3158 E SR 236                                                                                  ANDERSON         IN    46017‐9773
FRANCIS J SCHUMACHER                              6920 CEDAR ST                                                                                  AKRON            NY    14001‐9669
FRANCIS J SEALS & MARY E SEALS JT TEN             81 KENVIL AVE                                                                                  KENVIL           NJ    07847‐2593
FRANCIS J SHEEHAN & JOAN A SHEEHAN TEN ENT        312 FIRST ST                                                                                   PINE GROVE       PA    17963‐1605
FRANCIS J SIRIANNI                                225 HOWARD AVE WE                                                                              JAMESTOWN        NY    14701‐5811
FRANCIS J SITAR                                   415 AUDUBON CIRCLE                                                                             BELVEDERE        SC    29841‐2686
FRANCIS J SOPKO                                   4502 TRAPANI LN                                                                                SWARTZ CREEK     MI    48473‐8817
FRANCIS J STREET JR                               2635 CHURCHILL LN #2                                                                           SAGINAW          MI    48603‐6917
FRANCIS J SULLIVAN & MARGARET C SULLIVAN JT TEN   169 BORDER ST                                                                                  COHASSET         MA    02025‐2022

FRANCIS J SVITAK                                  100 MOORES HILL RD                                                                             NEW WINDSOR      NY    12553‐7237
FRANCIS J THIEGS                                  333 EAST 79TH STREET                  APT 15‐S                                                 NEW YORK         NY    10075
FRANCIS J TOFIL                                   26326 DOXTATOR                                                                                 DEARBORN HEIGHTS MI    48127‐3394

FRANCIS J TOY JR                                  2124 LORI DRIVE                       ALBERTSON PARK                                           WILMINGTON       DE    19808‐4706
FRANCIS J WAHL                                    55 S ESTATE DR                                                                                 WEBSTER          NY    14580
FRANCIS J WARD                                    STE 200                               31700 MIDDLBELT RD                                       FARMINGTON HILLS MI    48334‐2375

FRANCIS J WECKERLE                            42317 PROCTOR RD                                                                                   CANTON           MI    48188‐1165
FRANCIS J WECKERLE JR                         42317 PROCTOR ROAD                                                                                 CANTON           MI    48188‐1165
FRANCIS J WESNOSKI                            1333 LAUER ST                                                                                      POTTSVILLE       PA    17901‐3813
FRANCIS J WHITMAN & MARGARET R WHITMAN JT TEN                                                                                                    LANSE            MI    49946

FRANCIS J WITKOWSKI                               3 YELLOWJACKET LANE                                                                            TRENTON          NJ    08619‐1318
FRANCIS JACK DALKA                                21 STEPHANIA DRIVE                                                                             MIDDLETOWN       PA    17057‐4200
FRANCIS JAMES LEDUKE                              1801 LAKE JAMES DR                                                                             PRUDENVILLE      MI    48651‐9496
FRANCIS JAMES MILLER                              422 STONEWALL AVENUE                                                                           WINCHESTER       VA    22601‐3838
FRANCIS JEFFORDS CUST JOHN WHEATLEY JEFFORDS      300 W ASH LN                                                                                   EULESS           TX    76039‐2806
UGMA IL
FRANCIS JOHN KIERAN LENNON                        23 MOORE COURT                                                                                 BURLINGTON       VT    05408
FRANCIS JOHNSTON                                  948 ASHTON DRIVE                                                                               DAVENPORT        FL    33837
FRANCIS JOSEPH BELANGER                           6084 OLD STATE RD                                                                              WHITTEMORE       MI    48770‐9729
FRANCIS JOSEPH CALNAN                             7619 GULF HIGHLAND DRIVE                                                                       PORT RICHEY      FL    34668‐1528
FRANCIS JOSEPH CATALON                            1330 WEST DONOVAN ST                                                                           HOUSTON          TX    77225‐0704
FRANCIS JOSEPH TODOSCIUK                          3601 E MARSHALL RD                                                                             ELSIE            MI    48831‐9746
FRANCIS K ROSIER                                  6632 DUCK CREEK RD                                                                             BERLIN CTR       OH    44401‐9615
FRANCIS K SIDWELL                                 13865 BROOKDALE                                                                                BROOKPARK        OH    44142‐2636
FRANCIS KELLY MCLEOD                              3330 COUNTRY SQUARE DR APT 501                                                                 CARROLLTON       TX    75006‐6713
FRANCIS KOSCHIER                                  8 TARYN CT                                                                                     WOODCLIFF LAKE   NJ    07677
FRANCIS KUNKEL                                    7557 TOWER RD                                                                                  MEDINA           OH    44256
FRANCIS L BALDWIN                                 1325 S COURTLAND AVE                                                                           KOKOMO           IN    46902‐6208
FRANCIS L CAPERS 4TH                              RODNEY BAY 2483                       WEST INDIES                            SAINT LUCIA
FRANCIS L CHERRY & THERESA M CHERRY JT TEN        42 10TH ST                                                                                     DU BOIS          PA    15801‐8970
FRANCIS L COUNSELMAN                              7320 SHIRLAND AVE                                                                              NORFOLK          VA    23505‐2940
FRANCIS L CRANE                                   416 GARFIELD AVE                                                                               E ROCHESTER      NY    14445‐1318
FRANCIS L DORAN                                   30 BROOKWOOD DRIVE                                                                             STANHOPE         NJ    07874‐3206
FRANCIS L FEDERHEN                                18 RANGE RD                                                                                    PITTSFIELD       NH    03263‐3001
FRANCIS L FISHER                                  57 SCHOOL ST                                                                                   WAYLAND          MA    01778‐4542
FRANCIS L FLEISCHMANN                             7047 DORIS DR                                                                                  INDIANAPOLIS     IN    46214‐3208
FRANCIS L FOLEY                                   240 WHEATON RD                                                                                 SYRACUSE         NY    13203‐1447
FRANCIS L FRYE                                    105 FABRIS LANE                                                                                CLARKSTON        MI    48348
FRANCIS L GODWIN & THERESA A GODWIN JT TEN        104 LAMPLIGHTER WAY                                                                            O FALLON         MO    63368‐7323
FRANCIS L HARRIS                                  32915 CAMBRIDGE                                                                                WARREN           MI    48093‐6114
FRANCIS L HENIGE                                  21492 DOUGLASIS CT                                                                             MORENO VALLEY    CA    92557‐8613
FRANCIS L JOHNSON                                 8847 RYNN ROAD                                                                                 AVOCA            MI    48006‐4109
FRANCIS L KIGAR & ELLA M KIGAR TR KIGAR LIVING    3703 HIDDEN COVE CIRCLE                                                                        LEWIS CENTER     OH    43035‐8315
TRUST UA 10/12/04
FRANCIS L LEEDY JR                                1302 W 105TH ST                                                                                CLEVELAND        OH    44102‐1508
